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                                                                                                              Current General                                            Current 503(b)(9)
                                                                                                                                   Current Priority   Current Secured                         Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                  Amount                                                     Amount
CURTIDOS TREVIÑO S.A. DE C.V.
CARRETERA MONTERREY MONCLOVA KM 17.5
EL CARMEN, NUEVO LEON C.P. 66550
MEXICO                                                1       6/28/2017     TK Holdings Inc.                                                                                         $0.00                               $0.00
MANUFACTURING SUPPORT & SUPPLIES CORPORATION
8 WHATNEY, SUITE 110
IRVINE, CA 92618                                      2       7/6/2017      TK Holdings Inc.                                                                                         $0.00                               $0.00
OFFICE DEPOT
6600 N MILITARY TRAIL ‐ S413G
BOCA RATON, FL 33496                                  3       7/7/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
MIXED PROMOTIONS, LLC
100 ENGELWOOD DRIVE, SUITE C
ORION, MI 48359                                       4       7/10/2017     TK Holdings Inc.                              $0.00                                                                                          $0.00
OFFICE DEPOT
6600 N MILITARY TRAIL ‐ S413G
BOCA RATON, FL 33496                                  5       7/7/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
RYDER TRUCK RENTAL INC
ATTN: JENNIFER MORRIS
6000 WINDWARD PARKWAY
ALPHARETTA, GA 30005                                  6       7/11/2017     TK Holdings Inc.                              $0.00                                                                                          $0.00
MITUTOYO AMERICA CORPORATION
ATTN: ACCOUNTS RECEIVABLE
965 CORPORATE BLVD
AURORA, IL 60502‐9176                                 7       7/14/2017     TK Holdings Inc.                              $0.00                                                                                          $0.00
SHINSHO AMERICA CORP
COMPLIANCE DEPT
26200 TOWN CENTER DR, #160
NOVI, MI 48375                                        8       7/14/2017     TK Holdings Inc.                              $0.00                                                                                          $0.00
AMERICAN HONDA FINANCE CORPORATION
P.O. BOX 168088
IRVING, TX 75016‐8088                                 9       7/10/2017     TK Holdings Inc.                                                                     $0.00                                                   $0.00
FAUST, MAX
SOLOFF & ZERVANOS, P.C.
JOHN N. ZERVANOS, ESQ.
1525 LOCUST ST., 8TH FLOOR
PHILADELPHIA, PA 19102                                10      7/7/2017      TK Holdings Inc.                      $10,000,000.00                                                                                $10,000,000.00
TYCO INTEGRATED SECURITY, LLC
10405 CROSSPOINT BLVD
INDIANAPOLIS, IN 46256                                11      7/11/2017     TK Holdings Inc.                              $0.00                                                                                          $0.00
SHINSHO K'MAC PRECISION PARTS, LLC
C/O SHINSHO AMERICAN CORPORATION, INC.
JOHN F ONTKO, GENERAL MANAGER
COMPLIANCE AND ADMINISTRATION
26200 TOWN CENTER DRIVE #160
NOVI, MI 48375                                        12      7/17/2017     TK Holdings Inc.                              $0.00                                                      $0.00                               $0.00
CREATIVE FOAM CORPORATION
300 N ALLOY
BUILDING B
FENTON, MI 48430                                      13      7/18/2017     TK Holdings Inc.                              $0.00                                                      $0.00                               $0.00
STT USA INC.
TANABE LAW
KESHA TANABE, ESQ.
4304 34TH AVE S
MINNEAPOLIS, MN 55406                                 14      7/3/2017      TK Holdings Inc.                              $0.00                                                      $0.00                               $0.00



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                    Creditor Name and Address                       Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                                   Amount                                                   Amount
RICE LAKE WEIGHING SYSTEMS, INC.
230 W. COLEMAN STREET
RICE LAKE, WI 54868                                                    15      7/21/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
STT INC.
TANABE LAW
KESHA TANABE, ESQ.
4304 34TH AVE S
MINNEAPOLIS, MN 55406                                                  16      7/3/2017      TK Holdings Inc.                             $0.00                                                     $0.00                                $0.00
LECO CORPORATION
ATTN: CORPORATE CREDIT MANAGER
3000 LAKEVIEW AVE
ST. JOSEPH, MI 49085                                                   17      7/21/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
DEPARTMENT OF THE TREASURY ‐ INTERNAL REVENUE SERVICE
PO BOX 7346
PHILADELPHIA, PA 19101‐7346                                            18      7/20/2017     TK Holdings Inc.                                                $0.00                                                                       $0.00
FIBERS MUNDIAL, LLC
PO BOX 144177
CORAL GABLES, FL 33114                                                 19      7/17/2017     TK Holdings Inc.                                                                                       $0.00                                $0.00
SHERIDAN CHEVROLET CADILLAC LTD., PICKERING AUTO MALL LTD., URLIN
RENT A CAR LTD.
SOTOS LLP
JEAN‐MARC LECLERC
180 DUNDAS STREET WEST, SUITE 1200
TORONTO, ON M5G 1Z8
CANADA                                                                 20      6/30/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
FUTURE ELECTRONICS
DIANE SVENDSEN
41 MAIN ST
BOLTON, MA 01740                                                       21      7/5/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
FORD MOTOR CREDIT COMPANY, LLC
PO BOX 62180
COLORADO SPRINGS, CO 80962‐4400                                        22      7/5/2017      TK Holdings Inc.                                                                   $0.00                                                    $0.00
FORD MOTOR CREDIT COMPANY, LLC
PO BOX 62180
COLORADO SPRINGS, CO 80962‐4400                                        23      7/5/2017      TK Holdings Inc.                                                                   $0.00                                                    $0.00
VL ELECTRONICS, INC.
125 N. SUNSET AVE
CITY OF INDUSTRY, CA 91744                                             24      7/7/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
AUTOMATION INTERNATIONAL LIMITED
13006 MULA LANE
STAFFORD, TX 77477                                                     25      7/11/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
TYCO INTEGRATED SECURITY, LLC
10405 CROSSPOINT BLVD
INDIANAPOLIS, IN 46256                                                 26      7/11/2017     TK Holdings Inc.                                                                                                          $0.00             $0.00
CDW, LLC
ATTN: VIDA KRUG
200 N. MILWAUKEE AVE
VERNON HILLS, IL 60061                                                 27      7/12/2017     TK Holdings Inc.                             $0.00              $0.00                                                                       $0.00
TIGER‐VAC, INC.
73 SW 12TH AVE., STE 107
DANIA, FL 33004                                                        28      7/13/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
PASTERNACK ENTERPRISES
17802 FITCH
IRVINE, CA 92614                                                       29      7/14/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00



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                                                                                                                                                Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address                Claim No. Claim Date              Debtor                         Unsecured Claim                                           Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                 Amount                                                   Amount
ACE FORWARDING, INC
PO BOX 74158
ROMULUS, MI 48174                                              30      7/17/2017          TK Holdings Inc.                              $0.00                                                                                         $0.00
YAZAKI NORTH AMERICAN, INC
ATTN: MITCH ERICKSON
ACCOUNTS RECEIVABLE
6801 HAGGERTY ROAD
CANTON, MI 48187                                               31      7/19/2017          TK Holdings Inc.                                                                                        $0.00                               $0.00
DEPARTMENT OF THE TREASURY ‐ INTERNAL REVENUE SERVICE
P.O. BOX 7346
PHILADELPHIA, PA 19101‐7346                                    32      7/20/2017         Takata Americas                                                   $0.00                                                                      $0.00
DEPARTMENT OF THE TREASURY ‐ INTERNAL REVENUE SERVICE
PO BOX 7346
PHILADELPHIA, PA 19101‐7346                                    33      7/20/2017   Takata Protection Systems Inc.                                          $0.00                                                                      $0.00
DEPARTMENT OF TREASURY ‐ INTERNAL REVENUE SERVICE
PO BOX 7346
PHILADELPHIA, PA 19101‐7346                                    34      7/20/2017       Interiors in Flight Inc.                         $0.00              $0.00                                                                      $0.00
PRODUCTION TOOL SUPPLY
8655 E. EIGHT MILE RD.
WARREN, MI 48089                                               35      7/21/2017          TK Holdings Inc.                              $0.00                                                                                         $0.00
STT INC.
TANABE LAW
KESHA TANABE, ESQ.
4304 34TH AVE S
MINNEAPOLIS, MN 55406                                          36      7/24/2017          TK Holdings Inc.                              $0.00                                                     $0.00                               $0.00
MIXED PROMOTIONS, LLC
100 ENGELWOOD DRIVE, SUITE C
ORION, MI 48359                                                37      7/25/2017          TK Holdings Inc.                              $0.00                                                                                         $0.00
INSIGHT DIRECT USA, INC.
MICHAEL L. WALKER
6820 S. HARL AVE.
TEMPE, AZ 85283                                                38      7/25/2017          TK Holdings Inc.                              $0.00                                                                                         $0.00
BEXAR COUNTY
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
711 NAVARRO STREET, STE 300
SAN ANTONIO, TX 78205                                          39      7/25/2017          TK Holdings Inc.                                                                    $0.00                                                   $0.00
SHALTZ AUTOMATION, INC.
5190 EXCHANGE DRIVE
FLINT, MI 48507                                                40      7/27/2017          TK Holdings Inc.                              $0.00                                                                                         $0.00
DAGUER, JUAN
HAYGOOD LAW FIRM
522 NORTH GRANT AVE.
ODESSA, TX 79761                                               41      7/26/2017          TK Holdings Inc.                              $0.00                                                                                         $0.00
ALPS ELECTRIC (NORTH AMERICA), INC.
MEYERS LAW GROUP, P.C.
ATTN: MERLE C. MEYERS, ESQ.
44 MONTGOMERY ST., STE. 1010
SAN FRANCISCO, CA 94104                                        42      7/18/2017          TK Holdings Inc.                              $0.00                                                     $0.00                               $0.00
INSIGHT DIRECT USA, INC.
MICHAEL L. WALKER
6820 S. HARL AVE.
TEMPE, AZ 85283                                                43      7/25/2017          TK Holdings Inc.                              $0.00                                                                                         $0.00
TENNESSEE DEPARTMENT OF REVENUE
C/O ATTORNEY GENERAL
PO BOX 20207
NASHVILLE, TN 37202‐0207                                       44      7/24/2017          TK Holdings Inc.                                                 $0.00                                                                      $0.00
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                  Creditor Name and Address       Claim No. Claim Date         Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                 Amount                                                  Amount
NEW PIG CORP
ONE PORK AVE
TIPTON, PA 16684                                     45      7/24/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
JOHNSON, IV, SAMUEL M.
BROWN KING LAW LLC
PERCY A. KING, ESQ.
25 N. MARKET STREET
JACKSONVILLE, FL 32202                               46      7/31/2017     TK Holdings Inc.                       $300,000.00                                                                                  $300,000.00
HIS COMPANY, INC.DBA "HISCO"
6650, CONCORD PARK DRIVE
HOUSTON, TX 77040                                    47      7/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
CONSUMERS ENERGY COMPANY
ATTN: LEGAL DEPT.
ONE ENERGY PLAZA
JACKSON, MI 49201                                    48      7/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
KERN LIEBERS PIERON INC
24505 INDOPLEX CIRCLE
FARMINGTON HILLS, MI 48335                           49      8/1/2017      TK Holdings Inc.                             $0.00                                                    $0.00                               $0.00
KERN LIEBERS TEXAS INC
400 E. NOLANA LOOP
PHARR, TX 78577                                      50      8/1/2017      TK Holdings Inc.                             $0.00                                                    $0.00                               $0.00
CREATIVE FOAM CORPORATION
300 N ALLOY
BUILDING B
FENTON, MI 48430                                     51      8/2/2017      TK Holdings Inc.                             $0.00                                                    $0.00                               $0.00
ELEMENT MATERIALS TECHNOLOGY WARREN INC
32424 COLLECTION CENTER DRIVE
CHICAGO, IL 60693                                    52      8/3/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
ELEMENT MATERIALS TECHNOLOGY WARREN INC
27485 GEORGE MERRELLI DRIVE
WARREN, MI 48092                                     53      8/3/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
KERN LIEBERS MÉXICO, S.A. DE C.V.
MIGUEL GARCIA ARANDA, FINANCE DIRECTOR
11080 EL TEPEYAC AV PARQUE INDUSTRIAL
O´DONELL QUERÉTARO INTERNATIONAL AIRPORT
EL MARQUES, QUERETARO 76250
MEXICO                                               54      8/3/2017      TK Holdings Inc.                                                                                      $0.00                               $0.00
KERN LIEBERS MÉXICO, S.A. DE C.V.
11080 EL TEPEYAC
AV PARQUE INDUSTRIAL O´DONELL
QUERÉTARO INTERNATIONAL AIRPORT
QUERETARO 76250
MEXICO                                               55      8/3/2017      TK Holdings Inc.                                                                                      $0.00                               $0.00
KERN LIEBERS MÉXICO, S.A DE C.V.
11080 EL TEPEYAC
AV PARQUE INDUSTRIAL O´DONELL
QUERETARO INTERNATIONAL AIRPORT
EL MARQUES, QUERETARO 76250
MEXICO                                               56      8/3/2017      TK Holdings Inc.                                                                                      $0.00                               $0.00
ELEMENT MATERIALS TECHNOLOGY WIXOM INC
51229 CENTURY COURT
WIXOM, MI 48393‐2074                                 57      8/4/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
NISSIN TRANSPORT (CANADA) INC.
5598 MCADAM ROAD
MISSISSAUGA, ON L4Z1P1
CANADA                                               58      8/4/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
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                                                                                                                            Current General                                         Current 503(b)(9)
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                   Creditor Name and Address                Claim No. Claim Date              Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                Amount                                                  Amount
SAFETY‐KLEEN/CLEAN HARBORS
42 LONGWATER DRIVE
NORWELL, MA 02061                                              59      7/31/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
CARLTON‐BATES A DIVISION OF WESCO DISTRIBUTION INC
WESCO DISTRIBUTION
7049 BROOKHOLLOW WEST DRIVE
HOUSTON, TX 77040                                              60      8/3/2017           TK Holdings Inc.                             $0.00                                                    $0.00                               $0.00
CREATIVE FOAM CORPORATION
300 N ALLOY
BUILDING B
FENTON, MI 48430                                               61      8/7/2017           TK Holdings Inc.                             $0.00                                                    $0.00                               $0.00
FERRELLGAS INC
ONE LIBERTY PLAZA MD 40
LIBERTY, MO 64068                                              62      8/8/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
NBHX TRIM USA CORPORATION
ATTN: JULIE B. TEICHER, ESQUIRE
ERMAN, TEICHER, ZUCKER & FREEDMAN PC
28400 NORTHWESTERN HWY STE 200
SOUTHFIELD, MI 48034‐8348                                      63      8/8/2017           TK Holdings Inc.                             $0.00                                                    $0.00                               $0.00
AIRGAS USA, LLC
110 WEST 7TH STREET, SUITE 1300
TULSA, OK 74119                                                64      8/9/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
AIRGAS USA, LLC
110 WEST 7TH STREET, SUITE 1300
TULSA, OK 74119                                                65      8/9/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
DEPARTMENT OF THE TREASURY ‐ INTERNAL REVENUE SERVICE
P.O. BOX 7346
PHILADELPHIA, PA 19101‐7346                                    66      8/8/2017    Takata Protection Systems Inc.                      $0.00              $0.00                                                                     $0.00
METTLER TOLEDO LLC
ATTN HEIDI COLE
1900 POLARIS PKWY
COLUMBUS, OH 43214                                             67      8/9/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
JAMECO ELECTRONICS
1355 SHOREWAY ROAD
BELMONT, CA 94002                                              68      8/9/2017           TK Holdings Inc.                                                                                      $0.00                               $0.00
YOTTABYTE, LLC
1750 S. TELEGRAPH RD, STE 200
BLOOMFIELD TWP, MI 48302                                       69      8/10/2017          TK Holdings Inc.                             $0.00                                                    $0.00                               $0.00
CREATIVE FOAM CORPORATION
300 N ALLOY
BUILDING B
FENTON, MI 48430                                               70      8/9/2017           TK Holdings Inc.                             $0.00                                                    $0.00                               $0.00
SENTRY SECURITY SERVICE
P.O. BOX 1512
DEL RIO, TX 78840                                              71      8/9/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
EWERT, DARREN
CFM LAWYERS
MICHELLE SEGAL
400‐856 HOMER STREET
VANCOUVER, BC V6B 2W5
CANADA                                                         72      8/9/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00




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                                                                                                                                       Current Priority   Current Secured                        Current Admin     Total Current
                   Creditor Name and Address             Claim No. Claim Date         Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                                        Amount                                                  Amount
SHANGHAI FORMEL D TECHNOLOGY AND ENGINEERING CO., LTD.
FORMEL D GMBH
CREDITMANAGEMENT
HUNSRUCKSTR. 1
TROISDORF 53842
GERMANY                                                     73      8/10/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SHANGHAI FORMEL D TECHNOLOGY AND ENGINEERING CO., LTD.
FORMEL D GMBH
CREDITMANAGEMENT
HUNSRÜCKSTR. 1
TROISDORF 53842
GERMANY                                                     74      8/10/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CPS ENERGY
BANKRUPTCY SECTION
145 NAVARRO, MAIL DROP 110909
SAN ANTONIO, TX 78205                                       75      8/11/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MCMASTER‐CARR SUPPLY CO
PO BOX 7690
CHICAGO, IL 60680                                           76      8/7/2017      TK Holdings Inc.                             $0.00                                                                       $0.00             $0.00
J.N. EBERLE FEDERNFABRIK GMBH
HOECHFELDSTRASSE 6‐8, D‐86830
SCHWABMUNCHEN
GERMANY                                                     77      8/11/2017     TK Holdings Inc.                        $24,944.10                                                    $0.00                           $24,944.10
J.N. EBERLE FEDERNFABRIK GMBH
HOECHFELDSTRASSE 6‐8, D‐86830
SCHWABMUNCHEN
GERMANY                                                     78      8/11/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CEVA LOGISTICS
ATTN: KATHERIN MOORE‐DEVOE
15350 VICKERY DRIVE
HOUSTON, TX 77032                                           79      8/15/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
COLD HEADING COMPANY
ATTN: NICOLE CORNMAN
21777 HOOVER ROAD
WARREN, MI 48089                                            80      8/15/2017     TK Holdings Inc.                                                                                      $0.00                                $0.00
SHOSHIBA MEXICANA SA DE C
CARRETERA 45 NORTE KM 14.3
#325 A JESUS GOMEZ PORTUGAL
JESUS MARIA
AGUASCALIENTES 20909
MEXICO                                                      81      8/15/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
RJ LEE GROUP INC
ATTN: ACCOUNTING
350 HOCHBERG RD
MONROEVILLE, PA 15146                                       82      8/15/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HALLETT, BRYAN
2355 LAKE SHORE BLVD. WEST
APT. 404
ETOBICOKE, ON M8V 1C1
CANADA                                                      83      8/15/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BUCHALTER, A PROFESSIONAL CORPORATION
PAMELA KOHLMAN WEBSTER, ESQ.
1000 WILSHIRE BLVD., SUITE 1500
LOS ANGELES, CA 90017                                       84      8/16/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                       Amount                                                    Amount
KONECRANES, INC.
ATTN: CATHY DILLON
4400 GATEWAYS BLVD.
SPRINGFIELD, OH 45502                                      85      8/15/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
JORDHEIM, FAYE
LANGDON & EMISON LLC
J. KENT EMISON
911 MAIN STREET
LEXINGTON, MO 64067                                        86      8/23/2017     Takata Americas                              $0.00                                                                                          $0.00
DORADO, KARINA
LANGDON & EMISON LLC
J. KENT EMISON
911 MAIN STREET
LEXINGTON, MO 64067                                        87      8/23/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
DORADO, KARINA
LANGDON & EMISON LLC
J. KENT EMISON
911 MAIN STREET
LEXINGTON, MO 64067                                        88      8/23/2017     Takata Americas                              $0.00                                                                                          $0.00
BIER, APRIL
LANGDON & EMISON LLC
J. KENT EMISON
911 MAIN STREET
LEXINGTON, MO 64067                                        89      8/23/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
BIER, APRIL
LANGDON & EMISON LLC
J. KENT EMISON
911 MAIN STREET
LEXINGTON, MO 64067                                        90      8/23/2017     Takata Americas                              $0.00                                                                                          $0.00
BENNETT, SUSAN CURTRIGHT
LANGDON & EMISON LLC
J. KENT EMISON
911 MAIN STREET
LEXINGTON, MO 64067                                        91      8/23/2017     TK Holdings Inc.                      $2,500,000.00                                                                                 $2,500,000.00
BENNETT, SUSAN CURTRIGHT
LANGDON & EMISON LLC
J. KENT EMISON
911 MAIN STREET
LEXINGTON, MO 64067                                        92      8/23/2017     Takata Americas                              $0.00                                                                                          $0.00
BLUESTONE, GRETA
SREBOLOW LEBOWITZ SPADAFORA PC
JIM SREBROLOW
439 UNIVERSITY AVENUE, 12TH FLOOR
TORONTO, ON M5G1Y8
CANADA                                                     93      8/23/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
BLUESTONE, ALAN
SREBOLOW LEBOWITZ SPADAFORA PC
JIM SREBROLOW
439 UNIVERSITY AVENUE, SUITE 1200
TORONTO, ON M5G 1Y8
CANADA                                                     94      8/23/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
U.S. BANK, N.A. D/B/A U.S. BANK EQUIPMENT FINANCE
1310 MADRID STREET
MARSHALL, MN 56258                                         95      8/23/2017     TK Holdings Inc.                             $0.00                                  $0.00                                                   $0.00



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                                                                                                                         Current General                                         Current 503(b)(9)
                                                                                                                                            Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address                Claim No. Claim Date          Debtor                         Unsecured Claim                                          Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                             Amount                                                  Amount
JORDHEIM, FAYE
LANGDON & EMISON LLC
J. KENT EMISON
911 MAIN STREET
LEXINGTON, MO 64067                                            96      8/23/2017     TK Holdings Inc.                               $0.00                                                                                        $0.00
ASSELIN, SERGE
SISKINDS, DESMEULES, AVOCATS, S.E.N.C.R.L.
ME BARBARA ANN CAIN
43, RUE DE BUADE, BUREAU 320
QUÉBEC, QC G1R 4A2
CANADA                                                         97      8/23/2017     TK Holdings Inc.                               $0.00                                                                                        $0.00
SHEPARD CONTROLS AND ASSOCIATES
203 SOUTH JUPITER ROAD
SUITE A
ALLEN, TX 75002                                                98      8/23/2017     TK Holdings Inc.                               $0.00                                                                                        $0.00
FRISCHMAN, REBECCA
LAW OFFICES OF MARSHALL E. ROSENBACH
11430 U.S. HIGHWAY 1
NORTH PALM BEACH, FL 33408                                     99      8/25/2017     TK Holdings Inc.                               $0.00                                                                                        $0.00
BROWN, KATHLEEN
LAW OFFICE OF BRADLEY JOHNSON
49 N. FEDERAL HWY, STE. 136
POMPANO BEACH, FL 33062                                       100      8/25/2017     TK Holdings Inc.                               $0.00                                                                                        $0.00
BROWN, AUSTIN
LAW OFFICE OF BRADLEY JOHNSON
49 N. FEDERAL HWY, STE. 136
POMPANO BEACH, FL 33062                                       101      8/25/2017     TK Holdings Inc.                         $250,000.00                                                                                  $250,000.00
FIROOZ, DAVID
ANDREW RAUCH APC
ANDREW K. RAUCH
110 WEST "C" STREET SUITE 2200
SAN DIEGO, CA 92101                                           102      8/25/2017     TK Holdings Inc.                         $500,000.00                                                                                  $500,000.00
NAVEX GLOBAL, INC.
5500 MEADOWS ROAD
LAKE OSWEGO, OR 97035                                         103      8/24/2017     TK Holdings Inc.                               $0.00                                                                                        $0.00
ASSELIN, SERGE
SISKINDS, DESMEULES, AVOCATS, S.E.N.C.R.L.
ME BARBARA ANN CAIN
43, RUE DE BUADE, BUREAU 320
QUÉBEC, QC G1R 4A2
CANADA                                                        104      8/24/2017     TK Holdings Inc.                               $0.00                                                                                        $0.00
JUDITH DEAL ( 9/1975)
BRADLEY JOHNSON, ESQ.
LAW OFFICE BRADLEY JOHNSON
49 N. FEDERAL HWY., STE. 136
POMPANO BEACH, FL 33062                                       105      8/25/2017     TK Holdings Inc.                         $500,000.00                                                                                  $500,000.00
DEPARTMENT OF THE TREASURY ‐ INTERNAL REVENUE SERVICE
P.O. BOX 7346
PHILADELPHIA, PA 19101‐7346                                   106      8/28/2017   Interiors in Flight Inc.                         $0.00              $0.00                                                                     $0.00
DEPARTMENT OF THE TREASURY ‐ INTERNAL REVENUE SERVICE
P.O. BOX 7346
PHILADELPHIA, PA 19101‐7346                                   107      8/28/2017   Interiors in Flight Inc.                         $0.00              $0.00                                                                     $0.00
DEPARTMENT OF THE TREASURY ‐ INTERNAL REVENUE SERVICE
P.O. BOX 7346
PHILADELPHIA, PA 19101‐7346                                   108      8/28/2017     TK Holdings Inc.                               $0.00                                                                                        $0.00


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                                                                                                                                Current Priority   Current Secured                        Current Admin     Total Current
                  Creditor Name and Address       Claim No. Claim Date         Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                                 Amount                                                  Amount
DEAL, JUDITH
LAW OFFICE OF BRADLEY JOHNSON
49 N. FEDERAL HWY, STE. 136
POMPANO BEACH, FL 33062                             109      8/28/2017     TK Holdings Inc.                       $500,000.00                                                                                   $500,000.00
BROWN, AUSTIN
LAW OFFICE OF BRADLEY JOHNSON
49 N. FEDERAL HWY, STE. 136
POMPANO BEACH, FL 33062                             110      8/28/2017     TK Holdings Inc.                       $250,000.00                                                                                   $250,000.00
BROWN, KATHLEEN
LAW OFFICE OF BRADLEY JOHNSON
49 N. FEDERAL HWY., STE. 136
POMPANO BEACH, FL 33062                             111      8/28/2017     TK Holdings Inc.                         $8,000.00                                                                                     $8,000.00
SCHLESINGER AUTOMOTIVE GMBH
GEWERBERING 20
SCHALKSMÜHLE 58579
GERMANY                                             112      8/30/2017     TK Holdings Inc.                             $0.00                                                    $0.00                                $0.00
NALCO COMPANY LLC
1601 W. DIEHL RD
NAPERVILLE, IL 60563                                113      8/30/2017     TK Holdings Inc.                             $0.00                                                    $0.00                                $0.00
FLUKE ELECTRONICS
6920 SEAWAY BLVD
EVERETT, WA 98203                                   114      8/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
AMERASORTING, LLC
PAUL G. VALENTINO, J.D., P.C.
43494 WOODWARD AVENUE, SUITE 203
BLOOMFIELD HILLS, MI 48302                          115      8/31/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
ESPEC NORTH AMERICA, INC
4141 CENTRAL PARKWAY
HUDSONVILLE, MI 49426                               116      8/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ENGLEMAN, MONIQUE
JESSE S. TURNER ESQ.
JOHN KEVIN CROWLEY ESQ
125 S. MARKET STREET, STE 1200
SAN JOSE, CA 95113                                  117      9/1/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GRACO HIGH PRESSURE EQUIPMENT INC
2955 WEST 17TH ST. STE 6
ERIE, PA 16505                                      118      9/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
VOLLMANN (SACHSEN) GMBH & CO.KG
ELTERLEINER STRASSE 4
SCHEIBENBERG 09481
GERMANY                                             119      9/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ATLAS COPCO COMPRESSORS LLC
48434 MILMONT DR
FREMONT, CA 94538                                   120      9/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HANKYU HANSHIN EXPRESS (USA) INC.
1561 BEACHEY PLACE
CARSON, CA 90746                                    121      9/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
NORTH COAST ELECTRIC COMPANY
HERSHNER HUNTER, LLP
ATTN: GSL
180 EAST 11TH AVENUE
EUGENE, OR 97401                                    122      9/8/2017      TK Holdings Inc.                             $0.00                                                    $0.00                                $0.00
EVANS, III, ROBERT B.
THE EVANS LAW CORPORATION
3445 N. CAUSEWAY BLVD., SUITE 707
METAIRIE, LA 70002                                  123      9/8/2017      TK Holdings Inc.                             $0.00              $0.00                                                    $0.00             $0.00
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                                                                                                                                            Current Priority   Current Secured                         Current Admin    Total Current
                  Creditor Name and Address                   Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                             Amount                                                   Amount
AT&T CORP
C/O AT&T SERVICES INC
KAREN A CAVAGNARO‐LEAD PARALEGAL
ONE AT&T WAY, ROOM 3A104
BEDMINSTER, NJ 07921                                            124      9/12/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
QWEST CORPORATION DBA CENTURYLINK QC
CENTURYLINK COMMUNICATIONS, LLC ‐BANKRUPTCY
931 14TH STREET SUITE 900
DENVER, CO 80202                                                125      9/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CENTURYLINK COMMUNICATIONS, LLC (F/K/A QWEST COMMUNICATIONS
COMPANY, LLC)
BANKRUPTCY
931 14TH STREET SUITE 900
DENVER, CO 80202                                                126      9/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
JJO LLC
1300 MCDOWELL DRIVE
GREENSBORO, NC 27408                                            127      9/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FIDELITY INVESTMENTS INSTITUTIONAL OPERATIONS COMPANY
JENNIFER FESSLER
100 MAGELLAN
COVINGTON, KY 41015                                             128      9/11/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
STRASBURGER & PRICE, LLP
ROBERT P. FRANKE
901 MAIN STREET, SUITE 6000
DALLAS, TX 75202                                                129      9/14/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PANASONIC AUTOMOTIVE SYSTEMS COMPANY OF AMERICA, A DIVISION
OF PANASONIC CORPORATION OF NORTH AMERIC
ATTN: KELLIE SETSUDA
37101 CORPORATE DRIVE
FARMINGTON HILLS, MI 48331                                      130      9/14/2017     TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
VERA, JOELLE
C/O PETER SAUER
722 N. CLOVIS AVENUE
SUITE 270
CLOVIS, CA 93611                                                131      9/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00

SAT RADIOS COMMUNICATIONS LTD DBA INDUSTRIAL COMMUNICATIONS
1019 E. EUCLID AVE
SAN ANTONIO, TX 78212                                           132      9/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CROWN CREDIT COMPANY
SEBALY SHILLITO + DYER LPA
C/O ROBERT G. HANSEMAN
1900 KETTERING TOWER
40 N. MAIN ST.
DAYTON, OH 45423                                                133      9/21/2017     TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
FEDEX CORPORATE SERVICES INC.
AS ASSIGNEE OF FEDEX EXPRESS/GROUND/FREIGHT/OFFICE
3965 AIRWAYS BLVD, MODULE G, 3RD FLOOR
MEMPHIS, TN 38116‐5017                                          134      9/26/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DE LAGE LANDEN FINANCIAL SERVICES, INC.
ATTN: T. VEITZ
1111 OLD EAGLE SCHOOL ROAD
WAYNE, PA 19087                                                 135      9/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00




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                                                                                                                                    Current General                                            Current 503(b)(9)
                                                                                                                                                         Current Priority   Current Secured                         Current Admin     Total Current
                     Creditor Name and Address                      Claim No. Claim Date              Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                                        Amount                                                     Amount
MARTINEZ, DAISY
CHILD & MARTON, LLP
BRADFORD T. CHILD
1055 W. 7TH STREET, 33RD FLOOR
LOS ANGELES, CA 90017                                                 136      9/27/2017          TK Holdings Inc.                      $12,000,000.00                                                                                 $12,000,000.00
CONTREAS, JOSE
CHILD & MARTON, LLP
BRADFORD T. CHILD
1055 W. 7TH STREET, 33RD FLOOR
LOS ANGELES, CA 90017                                                 137      9/27/2017          TK Holdings Inc.                              $0.00                                                                                           $0.00
MARTINEZ, JESSICA
CHILD & MARTON, LLP
BRADFORD T. CHILD
1055 W. 7TH STREET, 33RD FLOOR
LOS ANGELES, CA 90017                                                 138      9/27/2017          TK Holdings Inc.                      $12,000,000.00                                                                                 $12,000,000.00
GREATAMERICA FINANCIAL SERVICES CORPORATION
ATTN: PEGGY UPTON
PO BOX 609
CEDAR RAPIDS, IA 52406                                                139      9/28/2017          TK Holdings Inc.                              $0.00                                                                                           $0.00
SIEMENS PRODUCT LIFECYCLE MANAGEMENT SOFTWARE INC.
2000 EASTMAN DRIVE
MILFORD, OH 45150                                                     140      9/28/2017   Takata Protection Systems Inc.                       $0.00                                                                                           $0.00
TOYOTA INDUSTRIES COMMERCIAL FINANCE, INC.
CHIESA SHAHINIAN & GIANTOMASI PC
FRANK PERETORE, ESQ.
ONE BOLAND DRIVE
WEST ORANGE, NJ 07052                                                 141      9/29/2017          TK Holdings Inc.                                                                     $0.00                                  $0.00             $0.00
HARRINGTON INDUSTRIAL PLASTICS, LLC
MACELREE HARVEY, LTD.
ASHLEY B. STITZER, ESQUIRE
17 W. MINER STREET
WEST CHESTER, PA 19382                                                142      9/27/2017          TK Holdings Inc.                              $0.00                                                      $0.00                                $0.00
CRG FINANCIAL LLC (AS ASSIGNEE OF ASKI GASETECHNIK GMBH)
100 UNION AVENUE
CRESSKILL, NJ 07626                                                   143      9/29/2017          TK Holdings Inc.                                                                                         $0.00                                $0.00
CRG FINANCIAL LLC (AS ASSIGNEE OF DESERT EDM)
100 UNION AVENUE
CRESSKILL, NJ 07626                                                   144      9/29/2017          TK Holdings Inc.                                                                                         $0.00                                $0.00
CRG FINANCIAL LLC (AS ASSIGNEE OF HANNA INSTRUMENTS USA)
100 UNION AVENUE
CRESSKILL, NJ 07626                                                   145      9/29/2017          TK Holdings Inc.                              $0.00                                                                         $0.00             $0.00
CRG FINANCIAL LLC (AS ASSIGNEE OF HANNA INSTRUMENTS USA)
100 UNION AVENUE
CRESSKILL, NJ 07626                                                   146      9/29/2017          TK Holdings Inc.                                                                                         $0.00                                $0.00
CRG FINANCIAL LLC (AS ASSIGNEE OF METROPOLITAN AIR COMPRESSOR
CO. INC.)
100 UNION AVENUE
CRESSKILL, NJ 07626                                                   147      9/29/2017          TK Holdings Inc.                                                                                         $0.00                                $0.00

CRG FINANCIAL LLC (AS ASSIGNEE OF QUALITY CONTROL SERVICES, INC.)
100 UNION AVENUE
CRESSKILL, NJ 07626                                                   148      9/29/2017          TK Holdings Inc.                                                                                         $0.00                                $0.00
CRG FINANCIAL LLC (AS ASSIGNEE OF SUN PLASTECH INC.)
100 UNION AVENUE
CRESSKILL, NJ 07626                                                   149      9/29/2017          TK Holdings Inc.                                                                                         $0.00                                $0.00


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                                                                                                                          Current General                                         Current 503(b)(9)
                                                                                                                                             Current Priority   Current Secured                        Current Admin     Total Current
                    Creditor Name and Address                  Claim No. Claim Date         Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                                              Amount                                                  Amount
CRG FINANCIAL LLC (AS ASSIGNEE OF ARIZONA PNEUMATIC SYSTEMS)
100 UNION AVENUE
CREESKILL, NJ 07626                                              150      9/29/2017     TK Holdings Inc.                                                                                      $0.00                                $0.00
CRG FINANCIAL LLC (AS ASSIGNEE OF ASBURY GRAPHITE MILLS)
100 UNION AVENUE
CRESSKILL, NJ 07626                                              151      9/29/2017     TK Holdings Inc.                                                                                      $0.00                                $0.00
CRG FINANCIAL LLC (AS ASSIGNEE OF DESERT EDM)
100 UNION AVENUE
CRESSKILL, NJ 07626                                              152      9/29/2017     TK Holdings Inc.                                                                                                         $0.00             $0.00
CRG FINANCIAL LLC (AS ASSIGNEE OF HIGH PRESSURE EQUIPMENT)
100 UNION AVENUE
CRESSKILL, NJ 07626                                              153      9/29/2017     TK Holdings Inc.                                                                                                         $0.00             $0.00
CRG FINANCIAL LLC (AS ASSIGNEE OF HIGH PRESSURE EQUIPMENT)
100 UNION AVENUE
CRESSKILL, NJ 07626                                              154      9/29/2017     TK Holdings Inc.                                                                                      $0.00                                $0.00
CRG FINANCIAL LLC (AS ASSIGNEE OF NATOLI ENGINEERING CO. ML)
100 UNION AVENUE
CRESSKILL, NJ 07626                                              155      9/29/2017     TK Holdings Inc.                                                                                      $0.00                                $0.00
CRG FINANCIAL LLC (AS ASSIGNEE OF SAFEWAY SUPPLY INC.)
100 UNION AVENUE
CRESSKILL, NJ 07626                                              156      9/29/2017     TK Holdings Inc.                                                                                      $0.00                                $0.00
SLOBODIAN, RODNEY
BROOKS WILKINS SHARKEY & TURCO PLLC
MATTHEW E. WILKINS
401 S. OLD WOODWARD AVENUE, SUITE 400
BIRMINGHAM, MI 48009                                             157      10/3/2017     TK Holdings Inc.                        $41,700.00                                                                                    $41,700.00
STT INC.
TANABE LAW
KESHA TANABE, ESQ.
4304 34TH AVE S
MINNEAPOLIS, MN 55406                                            158      10/3/2017     TK Holdings Inc.                             $0.00                                                    $0.00                                $0.00
WILSON, DENISE ANTIONETTE
WERB & SULLIVAN
BRIAN A. SULLIVAN, ESQ.
P.O. BOX 25046
WILMINGTON, DE 19899                                             159      10/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
NORTHWEST PNEUMATICS INC DBA NORTHWEST AUTOMATION
PRODUCTS
7190 SW SANDBURG ST SUITE 20
PORTLAND, OR 97223                                               160      10/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
REX SUPPLY COMPANY
8655 E EIGHT MILE RD
WARREN, MI 48089                                                 161      9/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
IRON FORCE INDUSTRIAL CO., LTD.
13 INDUSTRY NORTH RD.
NAN‐KANG INDUSTRIAL PARK
NAN‐TOU CITY 54066
TAIWAN, R.O.C.                                                   162      10/9/2017     TK Holdings Inc.                             $0.00                                                    $0.00                                $0.00
GEOCORP, INC.
ATTN: NOREEN ROTH
9010 RIVER ROAD
HURON, OH 44839                                                  163     10/11/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LAKESIDE DISPOSAL & RECYCLING
MIKE DOYLE
2000 W BROADWAY
MOSES LAKE, WA 98837                                             164     10/11/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
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                   Creditor Name and Address              Claim No. Claim Date                   Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                   Amount                                                    Amount
LAKESIDE DISPOSAL & RECYCLING
MIKE DOYLE
2000 W BROADWAY
MOSES LAKE, WA 98837                                        165     10/11/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
ODW ‐ ELEKTRIK GMBH
MARBORNER WARTE 1‐3
STEINAU ANDER STRAS 36396
GERMANY                                                     166     10/12/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
EVANS, III, ROBERT B.
THE EVANS LAW CORPORATION
3445 N. CAUSEWAY BLVD., SUITE 707
METAIRIE, LA 70002                                          167     10/12/2017              TK Holdings Inc.                          $77,850.00               $0.00                                 $0.00                          $77,850.00
ODW ‐ ELEKTRIK GMBH
MARBORNER WARTE 1‐3
STEINAU ANDER STRAS 36396
GERMANY                                                     168     10/12/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
ODW ‐ ELEKTRIK GMBH
MARBORNER WARTE 1‐3
STEINAU ANDER STRAS 36396
GERMANY                                                     169     10/12/2017                TK China, LLC                                $0.00                                                                                         $0.00
MANCINI, ERNEST
CLARK FOUNTAIN LAVISTA PRATHER KEEN & LITTKY‐RUBIN
ATTN: DON FOUNTAIN, BEN J. WHITMAN
1919 N. FLAGLER DRIVE
WEST PALM BEACH, FL 33407                                   170     10/13/2017              TK Holdings Inc.                         $500,000.00                                                                                   $500,000.00
LAWRENCE PRINTING (82467) ACT# 102742
PO BOX 886
GREENWOOD, MS 38935‐0886                                    171     10/13/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
TFT GLOBAL INC.
SUE FRIESEN
25 TOWNLINE ROAD, SUITE 200
TILSONBURG, ON N4G 2R5
CANADA                                                      172     10/13/2017   Industrias Irvin de Mexico, S.A. de C.V.                  $0.00                                                                                         $0.00
RIVERA‐GARCIA, ROBERTO CARLOS
BISNAR & CHASE
ONE NEWPORT PLACE
1301 DOVE STREET, SUITE 120
NEWPORT BEACH, CA 92660                                     173     10/13/2017              TK Holdings Inc.                       $30,000,000.00                                                                               $30,000,000.00
S.S. A MINOR BY HER PARENT POLANCO, VERONICA
KESSLER, DIGIOVANNI & JESUELE, LLP
P.O. BOX 2429
WESTFIELD, NJ 07091                                         174     10/13/2017              TK Holdings Inc.                         $100,000.00                                                                                   $100,000.00
SANCHEZ, MALIA & RAUL
SOLOUKI & SAVOY LLP
316 W. 2ND STREET, SUITE 1200
LOS ANGELES, CA 90012                                       175     10/13/2017              TK Holdings Inc.                        $2,000,000.00                                                                                $2,000,000.00
SYNTEL INC
JOGINDER MARTHARU
525 E BIG BEAVER ROAD
SUITE 300
TROY, MI 48083                                              176     10/13/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
XTRA LEASE LLC
C/O BRYAN CAVE LLP
ATTN: DAVID UNSETH
211 N. BROADWAY, STE. 3600
ST. LOUIS, MO 63102                                         177     10/13/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
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                                                                                                                       Current General                                          Current 503(b)(9)
                                                                                                                                           Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address                Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                           Amount                                                   Amount
HERNANDEZ, WILSON (ON BEHALF OF THE ESTATE OF GLADYS
MONTERROSO)
SAM AGUIAR INJURY LAWYERS, PLLC
ATTN: DAVID COWLEY
1201 STORY AVENUE
SUITE 301
LOUISVILLE, KY 40206                                          178     10/16/2017     TK Holdings Inc.                      $3,000,000.00                                                                                $3,000,000.00
CARLTON FIELDS JORDEN BURT, P.A.
P.O. BOX 3239
TAMPA, FL 33601‐3239                                          179     10/16/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LS WATERS LLC
CLAUDIA BRISENO
P.O. BOX 450158
LAREDO, TX 78045                                              180     10/17/2017     TK Holdings Inc.                                                                                       $0.00                               $0.00
MOCAP LLC
409 PARKWAY DRIVE
PARK HILLS, MO 63601                                          181     10/17/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KONICA MINOLTA SENSING AMERICA
DANIELLE SORICE
101 WILLIAMS DRIVE
RAMSEY, NJ 07446                                              182     10/17/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MARCHESKIE, LEE
155 DUNCAN TRAIL
LONGWOOD, FL 32779                                            183     10/18/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GILBRIDE JR, JOHN NELSON
418 NE 25TH TERRACE
CAPE CORAL, FL 33909                                          184     10/18/2017     TK Holdings Inc.                                                 $0.00                                                                     $0.00
MENDEZ, AUREA E
5 FIRETHORN LANE
PALM COAST, FL 32137                                          185     10/18/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BEARE, PETER JOHN
16941 MAGNOLIA ISLAND BLVD
CLERMONT, FL 34711                                            186     10/18/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
THOMPSON, STEPHEN
11602 E. ARBOR DR.
LOUISVILLE, KY 40223‐2354                                     187     10/18/2017     TK Holdings Inc.                           $250.00                                                                                       $250.00
SAMSEL, RUSSELL
1808 SE VAN LOON TERRACE
CAPE CORAL, FL 33990                                          188     10/18/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KOVACS, SANDY
239 CUNARD ST.
FULTON, OH 43321                                              189     10/18/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KOPLOWITZ, BRADFORD
624 MORNINGSIDE DRIVE
NORMAN, OK 73071                                              190     10/18/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GILCREASE, TANEA
2223 KILBOURNE AVENUE
COLUMBUS, OH 43229                                            191     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
RAUCH FERTIGUNGSTECHNIK GMBH
FICHTENWEG 3
GMUNDEN 4810
AUSTRIA                                                       192     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
STEWART, ASHLEY
116 SHIRLEY COURT
EAGLE LAKE, FL 33839                                          193     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00


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                                                                                                               Current General                                          Current 503(b)(9)
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                   Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
AZUA, LUIS
9965 NW 25TH TERRACE
MIAMI, FL 33172                                       194     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
OLSON, CAITLIN M.
1202 E. HANNA AVENUE
TAMPA, FL 33604                                       195     10/19/2017     TK Holdings Inc.                          $500.00                                                                                        $500.00
AZUA, LUIS R
12954 SW 49TH TERRACE
MIAMI, FL 33172                                       196     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ALL SAINTS AMERICAN CATHOLIC CHURCH INC
7010 N 18TH ST.
TAMPA, FL 33610‐1224                                  197     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GAMEZ, CARLOS ALBERTO
326 FOX LAKE DRIVE
LAKELAND, FL 33809                                    198     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DAVIS, LINDA
4901 EAGLE DR
FT PIERCE, FL 34951                                   199     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MARZEC, SHAWNA
203 46TH ST W
BRADENTON, FL 34209                                   200     10/19/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
MILLER, LYNDA KAY
5438 DOVEREL HWY
DAWSON, GA 39842‐2645                                 201     10/19/2017     TK Holdings Inc.                         $8,000.00                                 $0.00                                               $8,000.00
CURETON, MICHAEL
1236 HOLLYWOOD AV
CINCINNATI, OH 45224                                  202     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
EVANS, DONALD CHARLES
19432 NW 23 PL.
PEMBROKE PINES, FL 33029                              203     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MURDOCK, LORI
2592 BLUE ROCK BLVD
GROVE CITY, OH 43123                                  204     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KISSEL, GREGORY J
3193 BOUDINOT AVE
CINCINNATI, OH 45211‐7022                             205     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LONG, DENNIS
202 ST ANDREWS CIRCLE
MILFORD, OH 45150                                     206     10/19/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
MURDOCK, ED
2592 BLUE ROCK BLVD
GROVE CITY, OH 43123                                  207     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MILLS, PATRICIA
817 TURNER CIRCLE
HOMESTEAD, FL 33030                                   208     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
TURNER, ADGENDA M.
300 CYPRESS BAY DRIVE
JACKSONVILLE, NC 28546                                209     10/19/2017     TK Holdings Inc.                          $300.00                                                                                        $300.00
M&M CLEANING SERVICE
817 TURNER CIRCLE
HOMESTEAD, FL 33030                                   210     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MILLS, MARK
817 TURNER CIRCLE
HOMESTEAD, FL 33030                                   211     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00



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                   Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
HOFSTADTER, CANDACE
5038 COLLEGE TRAILS DR
KINGMAN, AZ 86409                                     212     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MARTIN, JUSTIN DANE
2212 SANDY CREEK TRAIL
EDMOND, OK 73013                                      213     10/19/2017     TK Holdings Inc.                        $30,766.00              $0.00                                                                 $30,766.00
COLWELL, BRITTANY
1130 CAMBRIDGE CT
NEW CARLISLE, OH 45344                                214     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
JOHNSON, SCHONTYLE
10300 KOCH DR
OKLAHOMA CITY, OK 73130                               215     10/20/2017     TK Holdings Inc.                         $1,275.00                                                                                     $1,275.00
LUBMAN, MYRON SANDOR
619 WOODLING PLACE
ALTAMONTE SPRINGS, FL 32701‐6462                      216     10/19/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MUHAMMAD‐TURNER, TAIKEIS JANEL
3323 LOMA LINDA LANE
LAS VEGAS, NV 89121                                   217     10/20/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
AVANCE, ROMAINE
3027 ENTERPRISE AVE APT. E
FAYETTEVILLE, NC 28306                                218     10/19/2017     TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00
MARTIN, NANCY
6034 LAS COLINAS CIRCLE
LAKE WORTH, FL 33463                                  219     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DRAKE, TIFFANY
4626 SAINT FRANCIS LANE
COLUMBUS, OH 43213                                    220     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WELLS, STEPHEN
27930 SUMMER PLACE DRIVE
WESLEY CHAPEL, FL 33544                               221     10/20/2017     TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
COLLINS, CHERI ANN
2719 ANTONE PARKWAY
LOUISVILLE, KY 40220                                  222     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ROJAS, YAMILET MARIA
370 NW 102 TERRACE
PEMBROKE PINES, FL 33026                              223     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MCDONALD, PATRICIA A.
757 CRICKET CIRCLE
CANTONMENT, FL 32533                                  224     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ABDALLAH, DONALD G
1494 DEER RUN DR
FORT GIBSON, OK 74434                                 225     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
TFT GLOBAL INC.
SUE FRIESEN
25 TOWNLINE ROAD, SUITE 200
TILSONBURG, ON N4G 2R5
CANADA                                                226     10/13/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MASON, TAMMY A
927 SUNSET DRIVE
SAINT ALBANS, WV 25177                                227     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
OTERO, JOSE
2430 MARCASITE LOOP
KISSIMMEE, FL 34743                                   228     10/20/2017     TK Holdings Inc.                        $16,038.05                                                                                    $16,038.05
MOSCATO, KAREN ANN
2359 SHADOW CANYON DRIVE
BULLHEAD CITY, AZ 86442                               229     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                           Amount                                                   Amount
CARTWRIGHT, MELODY
713 JEFFERSON STREET
MARTINSVILLE, VA 24112                                  230     10/20/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
FUSSELL, DAVID W
641 22 ST NE
NAPLES, FL 34120‐3638                                   231     10/20/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
SUICO, ANTONIO RAMON P
150 FRAPUCCINO AVENUE
NORTH LAS VEGAS, NV 89084                               232     10/20/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
SANSONE, LORETTA M.
10514 NEWBURY COURT
LEHIGH ACRES, FL 33936                                  233     10/20/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
MSC INDUSTRIAL SUPPLY CO.
75 MAXESS ROAD
MELVILLE, NY 11747                                      234     10/19/2017           TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
MSC INDUSTRIAL SUPPLY CO.
75 MAXESS ROAD
MELVILLE, NY 11747                                      235     10/19/2017           TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
OK TIRE STORES
LYNETTE DAVIS
1706 W BROADWAY AVE
MOSES LAKE, WA 98837                                    236     10/16/2017           TK Holdings Inc.                                                                                       $0.00                               $0.00
VALLEY FASTENER GROUP LLC
1490 MITCHELL ROAD
AURORA, IL 60507                                        237     10/17/2017           TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
CITY OF PIQUA, OHIO, UTILITIES BUSINESS OFFICE
STACY M. WALL, LAW DIRECTOR
201 WEST WATER ST.
PIQUA, OH 45356                                         238     10/20/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
DUDICH, THOMAS ANTHONY
11950 NW 32 MANOR
SUNRISE, FL 33323                                       239     10/20/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
HOWELL TWP UTILITIES
3525 BYRON ROAD
HOWELL, MI 48855                                        240     10/17/2017           TK Holdings Inc.                                                                   $0.00                                                   $0.00
SOUTHWESTERN INDUSTRIES
2615 HOMESTEAD PLACE
RANCHO, CA 90220                                        241     10/17/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
BUGGS, BYRON
1104 EAST DIXIE AVENUE APT A
LEESBURG, FL 34748                                      242     10/18/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
HARRELL TR FBO, JAMES D.
623 WEST 23RD STREET
ADA, OK 74820                                           243     10/18/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
MANNOR, ROBYN
2921 STANHOPE AVE
LAKELAND, FL 33803                                      244     10/18/2017           TK Holdings Inc.                                                                   $0.00                                                   $0.00
REECE, DANIEL
510 CHEVAL DRIVE
VENICE, FL 34292                                        245     10/18/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
AUTOMOTIVE QUALITY & LOGI
JUSTIN MILLER
PO BOX 703150
PLYMOUTH, MI 48170                                      246     10/17/2017   Strosshe‐Mex, S. de R.L. de C.V.                     $0.00                                                                                         $0.00



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                                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
HENDERSON SEWING MACHINE
P.O. BOX 967
ANDALUSIA, AL 36420                                   247     10/18/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
CAVARETTA, PETER PAUL
17012 SW SAPRI WAY
PORT SAINT LUCIE, FL 34986                            248     10/19/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MSC INDUSTRIAL SUPPLY CO.
75 MAXESS ROAD
MELVILLE, NY 11747                                    249     10/19/2017   Takata Protection Systems Inc.                                                                                $0.00                               $0.00
WHITE, CURTIS
1142 PARTRIDGE WAY
ELIZABETHTOWN, KY 42701                               250     10/19/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BRENT, MELVIN L.
320 HIDDEN VALLEY RD.
KINGSPORT, TN 37663                                   251     10/20/2017          TK Holdings Inc.                                                $0.00                                                                      $0.00
GULF COAST PAPER CO. INC.
JIM SORET
8655 NE LOOP 410
SAN ANTONIO, TX 78219                                 252     10/19/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
EDEN, ROBERT A
4373D TAHITIAN GARDEN CIRCLE
HOLIDAY, FL 34691                                     253     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
HENDERSON SEWING MACHINE
P.O. BOX 967
ANDALUSIA, AL 36420                                   254     10/18/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
HABERLIN, JAMES
1023 JUDITH AVE
NICEVILLE, FL 32578                                   255     10/19/2017          TK Holdings Inc.                          $250.00                                                                                        $250.00
MILNER, MAXINE
1347 TEAKWOOD AVE
CINCINNATI, OH 45224                                  256     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
WARREN, KYLE AND KELLIE
6126 DOE COURT
LOVELAND, OH 45140                                    257     10/19/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
CAMPER, BRETT KEITH
1413 ANGLERS DR NE
PALM BAY, FL 32905                                    258     10/19/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
SPIEGEL, TERRI
77 SUFFOLK B
BOCA RATON, FL 33434‐4970                             259     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BURKINSHAW, ROBERT T.
132 COUNTRY CLUB DRIVE
UNICOI, TN 37692                                      260     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
GRIMMETT, DONNIE
4574 STATE ROUTE 775
PROCTORVILLE, OH 45669                                261     10/19/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
THOMAS, JOEL H
415 A W 3RD ST
GREENVILLE, NC 27834                                  262     10/20/2017          TK Holdings Inc.                         $7,960.00                                 $0.00                                               $7,960.00
JDM SYSTEMS CONSULTANTS
33117 HAMILTON COURT
SUITE 200
FARMINGTON HILLS, MI 48334                            263     10/19/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MSC INDUSTRIAL SUPPLY CO.
75 MAXESS ROAD
MELVILLE, NY 11747                                    264     10/19/2017          TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
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                                                                                                                                  Current General                                           Current 503(b)(9)
                                                                                                                                                      Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address                Claim No. Claim Date                   Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                      Amount                                                    Amount
MSC INDUSTRIAL SUPPLY CO.
75 MAXESS ROAD
MELVILLE, NY 11747                                             265     10/19/2017              TK Holdings Inc.                              $0.00                                                      $0.00                               $0.00
GARY, TERESA BALDWIN
472 BEDFORD PARK DRIVE
WINSTON SALEM, NC 27107                                        266     10/20/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
FASTENAL COMPANY
2001 THEURER BLVD.
WINONA, MN 55987                                               267     10/20/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                      $0.00                               $0.00
MSC INDUSTRIAL SUPPLY CO.
75 MAXESS ROAD
MELVILLE, NY 11747                                             268     10/19/2017              TK Holdings Inc.                              $0.00                                                      $0.00                               $0.00
MSC INDUSTRIAL SUPPLY CO.
75 MAXESS ROAD
MELVILLE, NY 11747                                             269     10/19/2017              TK Holdings Inc.                              $0.00                                                      $0.00                               $0.00
MILLER, ERIC AND ANNETTE
6008 76TH STREET
LUBBOCK, TX 79424                                              270     10/19/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
REICHEL & PARTNER GMBH
EDWIN REICHEL
ARCHENWEYERER WEG 1
STEINWEILER 76872
GERMANY                                                        271     10/20/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
RIVERO, MARY ELIZABETH
5424 PONCE DE LEON BLVD
SEBRING, FL 33872                                              272     10/20/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
ANDERSON, CHRISTOPHER FORSTER
4607 JARVIS
LUBBOCK, TX 79416                                              273     10/20/2017              TK Holdings Inc.                                                  $0.00                                                                      $0.00
HUFFMAN, BOBBIE & WILLIAM
622 S. AJO RD
GOLDEN VALLEY, AZ 86413                                        274     10/20/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
FRIEDMAN, RICHARD JACK
7035 HORIZON CIRCLE
WINDERMERE, FL 34786                                           275     10/20/2017              TK Holdings Inc.                                                                                         $0.00                               $0.00
PUGH, DWAYNE LESHAN
6501 OLEASTER COURT
JACKSONVILLE, FL 32244                                         276     10/20/2017              TK Holdings Inc.                              $0.00               $0.00              $0.00                                                   $0.00
PEGASUS‐SHIMAMOTO AUTOPARTS VIETNAM CO., LTD
GAKUJI HARAGUCHI
LONG DUC INDUSTRIAL PARK
LONG DUC WARD, LONG THANH DISTRICT
DONG NAI PROVINCE
VIETNAM                                                        277     10/20/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
FASTENAL COMPANY
2001 THEURER BLVD.
WINONA, MN 55987                                               278     10/20/2017              TK Holdings Inc.                              $0.00                                                      $0.00                               $0.00
RUSH TRUCK CENTERS OF ARIZONA, INC., RUSH TRUCK CENTERS OF
CALIFORNIA, ET AL. AND THOSE SIMILARLY SI
DUANE MORRIS LLP
WAYNE A. MACK
J. MANLY PARKS
30 S. 17TH STREET
PHILADELPHIA, PA 19103                                         279     10/20/2017              TK Holdings Inc.                       $8,000,000.00                                                                                 $8,000,000.00



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                                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
THE SHEILA MILNE REVOCABLE TRUST
1425 CROSSLAND RD
CLOVER, SC 29710                                      280     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MCLAUGHLIN, BRIAN MILES
1713 FRIAR RD
JACKSONVILLE, FL 32211                                281     10/20/2017          TK Holdings Inc.                                                $0.00                                                                      $0.00
FASTENAL MEXICO
2001 THEURER BLVD.
WINONA, MN 55987                                      282     10/20/2017   Takata de Mexico, S.A. de C.V.                      $0.00                                                     $0.00                               $0.00
MARCRIE, FRANK A
12377 SEAGATE ST
SPRINGHILL, FL 34609                                  283     10/20/2017          TK Holdings Inc.                        $15,000.00                                 $0.00                                              $15,000.00
RANDALL, DECEASED, STEVEN E
647 PINDAR STREET
URBANA, OH 43078                                      284     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
WOODWARD, D R
PO BOX 982
MIMS, FL 32780                                        285     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
WHITE, CRAIG
393 WENTWORTH COURT
MELBOURNE, FL 32934                                   286     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
FASTENAL COMPANY
2001 THEURER BLVD.
WINONA, MN 55987                                      287     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
SALVADOR TITONE, LLC D/B/A HRAOK
1913 WEST TACOMA STREET
SUITE 'A'
BROKEN ARROW, OK 74012                                288     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
HARRISON, JAMES
922 TWIN OAKS DR
RIVERSIDE, OH 45431                                   289     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
TYTENICZ, GENEVA
516 OLD BUGLE ROAD
EDMOND, OK 73003                                      290     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MAPPE, CARLOS
6609 HIDDEN COVE DRIVE
DAVIE, FL 33314                                       291     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
TYTENICZ, LEO
516 OLD BUGLE ROAD
EDMOND, OK 73003                                      292     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
HARRISON, JAMES
922 TWIN OAKS DR
RIVERSIDE, OH 45431                                   293     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
GOODFELLOW, PENNY V
1715 PALM WARBLER LN
RUSKIN, FL 33570                                      294     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MEYER, TEUNA J
322 BROOKMONT DR.
MYRTLE BEACH, SC 29588                                295     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MAZUR, KATARZYNA
579 DEER RUN N
PALM HARBOR, FL 34684                                 296     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
FRANCISCO HARDWARE
7901 SW 8TH STREET
NORTH LAUDERDALE, FL 33068                            297     10/20/2017          TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00


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                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
WILLIAMS, TEVIN
7901 SW 8TH STREET
NORTH LAUDERDALE, FL 33068                            298     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GUY, JENNIFER
3445 LOCUST LN
CINCINNATI, OH 45238                                  299     10/20/2017     TK Holdings Inc.                          $500.00                                                                                        $500.00
BARBIERI, ANTHONY ALDO
3635 S FORT APACHE SUITE 200/434
LAS VEGAS, NV 89147                                   300     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
POWELL, CLAUDIA LEE
8704 NEW RIVER CIRCLE
RALEIGH, NC 27603                                     301     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FISHER, CHARLES
6619 OAKLAND HILLS DRIVE
LAKEWOOD RANCH, FL 34202                              302     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DAVIS, TROY
3405 CRICKLEWOOD
KILLEEN, TX 76542                                     303     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LANE, APRIL
3709 ASHCROFT DR
WINTERVILLE, NC 28590                                 304     10/20/2017     TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
HODGES, LINDA M
1690 PANAMA CT
DELTONA, FL 32725                                     305     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LITSCH, CHARLOTTE
763 TUMBLEBROOK DR.
PORT ORANGE, FL 32127                                 306     10/21/2017     Takata Americas                                                 $0.00                                  $0.00                               $0.00
PHOENIX, CORTNEY A
3715 COKER ST #202
IRVING, TX 75062                                      307     10/21/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
TUDOR, JONI
13021 EARLY RUN LANE
RIVERVIEW, FL 33578                                   308     10/20/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
JENKINS, LINWOOD JEROME
1626 PEREGRINE CIR UNIT 206
ROCKLEDGE, FL 32955‐5241                              309     10/21/2017     TK Holdings Inc.                        $26,763.49                                                                                    $26,763.49
GABEL, JOHN
2645 S. 284TH E. AVE.
BROKEN ARROW, OK 74014                                310     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SPIESS, JEFFREY
12302 SILTON PEACE DR
RIVERVIEW, FL 33579                                   311     10/20/2017     TK Holdings Inc.                          $500.00                                                                                        $500.00
EASTER, CAROL ANN
1050 SE 5 COURT
POMPANO BEACH, FL 33060                               312     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WILSON, JOSHUA
2025 MAISON WAY
CARSON CITY, NV 89703                                 313     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SALVADOR TITONE, LLC D/B/A HRAOK
1913 WEST TACOMA STREET
SUITE 'A'
BROKEN ARROW, OK 74012                                314     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BOOKER, LORENA G
690 LAKESIDE DR
ROCK HILL, SC 29730                                   315     10/20/2017     TK Holdings Inc.                          $500.00                                                                                        $500.00


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                                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
MCSWEENEY, LORI
403 OLD ECHO RD
GENOA, WV 25517                                      316     10/21/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
GALLARDO, ARTURO
1205 LONE LANE SE
PALM BAY, FL 32909                                   317     10/21/2017           TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00
SCHAEPER, KIMBERLY S
1562 CORY CT
HAMILTON, OH 45013                                   318     10/21/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
ARNIERI, MARGARET
805 N. PALMWAY
LAKE WORTH, FL 33460                                 319     10/21/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
DEGAN, MIKE
1509 HIGHLAND DR
LITTLE ELM, TX 75068                                 320     10/21/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
KRATZ, JERRY
1920 DEAN ROAD APARTMENT 37
JACKSONVILLE, FL 32216                               321     10/21/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
TOUTOUTE, CHERLEDA
2242 NW 75TH STREET
MIAMI, FL 33147                                      322     10/21/2017   Strosshe‐Mex, S. de R.L. de C.V.                     $0.00                                                                                         $0.00
STALLION AUTO SALES INC
1709 W. DIVISION ST.
ARLINGTON, TX 76012                                  323     10/21/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
OEHLERTS, RICHARD EUGENE
145 GRAND OAK CIR
VENICE, FL 34292                                     324     10/21/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
TAYLOR, TIFFANY
2532 SMITHLAND ROAD
SHELBYVILLE, IN 46176                                325     10/21/2017           TK Holdings Inc.                                                $0.00                                                                      $0.00
BUNCH III, WILLIAM
816 CHURCHILL DRIVE
SHELBY, NC 28150                                     326     10/21/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
GRIER, PETER NEWTON
13240 SW 73RD AVENUE ROAD
OCALA, FL 34473                                      327     10/21/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
TILLMAN, JOHANNAH LAVONNE
PO BOX 284
CHERRYVILLE, NC 28021                                328     10/21/2017           TK Holdings Inc.                         $3,019.00                                                                                     $3,019.00
JONES, ROBERT EARL
4047 SW 159 AVENUE #53
MIRAMAR, FL 33027                                    329     10/21/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
SCHNEIDERMAN, MARK
878 WEST END AVE #16C
NEW YORK, NY 10025                                   330     10/22/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
LALAN, BIKEN
15409 FERNHILL DR
AUSTIN, TX 78717                                     331     10/22/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
THOMAS, CHARLIE
277 COUGAR DR
WAGENER, SC 29164                                    332     10/22/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
KLEIN, JOANNA C
3114 DOUGLAS FIR DRIVE
NEW BRAUNFELS, TX 78130                              333     10/22/2017           TK Holdings Inc.                                                                   $0.00                                                   $0.00



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                   Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
OPPENHEIMER, ALAN
3828 ARIZONA PLACE
PLANO, TX 75023                                       334     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BOWEN, CRAIG
4350 HOPEWELL CHURCH RD SW
LANCASTER, OH 43130                                   335     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HOWARD, CARL T
7781 LINDELL LANE
POWELL, OH 43065                                      336     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MASON, RONALD L
P.O. BOX 398
DUBLIN, OH 43017                                      337     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LIVINGSTON, MARLENA
995 BILLYVILLE ROAD
WOODBINE, GA 31569                                    338     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DUPREE, NIKKI NAOMI
4619 SE 138TH STREET
SUMMERFIELD, FL 34491                                 339     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ALSUP & ALSUP, INC.
PO BOX 1251
DEL RIO, TX 78841                                     340     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BURZAWA, DONALD J
261 FOX HAVEN DR UNIT 5
SOMERSET, KY 42501                                    341     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MORENO, MICHAEL
6447 BASILWOOD DRIVE
FRISCO, TX 75035                                      342     10/22/2017     TK Holdings Inc.                         $5,500.00              $0.00                                                                  $5,500.00
ROSE, HEATHER
BOX 271
RAYSAL, WV 24879                                      343     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
RUIZ, CARLOS ARTURO
3097 BARRETT AVE.
NAPLES, FL 34112‐4460                                 344     10/20/2017     TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
PURDY, WRETHA
432 ELM STREET
CLINTON, IN 47842                                     345     10/20/2017     TK Holdings Inc.                        $28,195.00                                 $0.00                                              $28,195.00
ROUSSEAU, THOMAS
321 ALAMOSA DR
CHAPARRAL, NM 88081                                   346     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HEMYARI, KEYAVASH
COLSON HICKS EIDSON
255 ALHAMBRA CIRCLE PH
CORAL GABLES, FL 33134                                347     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GONYE, EDWARD R
5130 BRITTANT DR. S UNIT 607
SAINT PETERSBURG, FL 33715                            348     10/20/2017     TK Holdings Inc.                         $3,000.00                                                                                     $3,000.00
CAMP, DAVID W
2717 PICKERTON DR.
DEER PARK, TX 77536                                   349     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SHAPIRO, JAY ALAN
21101 NE 38 AVENUE
MIAMI, FL 33180                                       350     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
TRAIL, KEVIN
COLSON HICKS EIDSON
255 ALHAMBRA CIRCLE PH
CORAL GABLES, FL 33134                                351     10/20/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
HILL, MICHAEL
16117 WINDRUSH PL
EDMOND, OK 73013                                      352     10/22/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
SUTTON, DOUG
1714 SIMERICK LANE
MELBOURNE, FL 32940                                   353     10/22/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
CURRY, MICHEL
1202 W GOLF COURSE RD
MIDLAND, TX 79701                                     354     10/22/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
EDWARDS, JEFFERY ALAN
1155 OLD MONROVIA RD NW
APT 9C
HUNTSVILLE, AL 35806                                  355     10/22/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MORRIS, ARNOLDA
7349 FOREST MERE DR.
RIVERVIEW, FL 33578                                   356     10/22/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
FOSTER, DAVID
905 SOUTHWOOD DRIVE
INDIANAPOLIS, IN 46227                                357     10/22/2017          TK Holdings Inc.                                                                   $0.00                                                   $0.00
BRANCH, BRADLEY R.
5000 YATES MILL POND ROAD
RALEIGH, NC 27606                                     358     10/23/2017          TK Holdings Inc.                          $240.00               $0.00                                                                    $240.00
LITSCH, CHARLOTTE
763 TUMBLEBROOK DR.
PORT ORANGE, FL 32127                                 359     10/23/2017   Takata Protection Systems Inc.                                         $0.00                                                                      $0.00
WOODY, GWEN
PO BOX 273412
BOCA RATON, FL 33427                                  360     10/23/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
HOLZBERG, LARRY
PO BOX 854
LARCHMONT, NY 10538                                   361     10/23/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
SANCHEZ, JESUS
10500 SW 46 TER
MIAMI, FL 33165                                       362     10/22/2017          TK Holdings Inc.                                                $0.00                                                                      $0.00
DALESSANDRO, MELISSA PILLON
6219 PALMA DEL MAR S
#503
ST PETERSBURG, FL 33715                               363     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
ATLAS COPCO COMPRESSORS LLC
48434 MILMONT DR
FREMONT, CA 94538                                     364     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BOWNE, KEZIAH
2500 S ROCKPORT ROAD APT 2804
BLOOMINGTON, IN 47403                                 365     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BROWN, LEONARD ANTHONY
15724 MASON LAKES DR.
JACKSONVILLE, FL 32218                                366     10/20/2017          TK Holdings Inc.                                                                   $0.00                                                   $0.00
GAST, ELITA PENDORA
10046 DAHLIA AVENUE
PALM BEACH GARDENS, FL 33410                          367     10/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
COLE, JOHN
114 AUTUMN CREEK TRAIL
SUMMERVILLE, SC 29486                                 368     10/23/2017          TK Holdings Inc.                                                                   $0.00                                                   $0.00
YASTE, BRIAN
357 SILAS PIKE
CYNTHIANA, KY 41031                                   369     10/23/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
RICHBOURG, CALVIN Y
2800 BACHMAN ROAD
GASTON, SC 29053                                       370     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
PARKER, KIMBERLY ANN
48 CYPRESS CIRCLE
SOUTHERN PINES, NC 28387                               371     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
JAMES, DESIREE DAWN
4113 NE COLIN KELLY HWY.
MADISON, FL 32340                                      372     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
WILLIAMS, DOUG
118 W 700 N
MALAD, ID 83252                                        373     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
LANCER, SAMANTHA
4271 KISER WOODS DR SEE
CONCORD, NC 28025                                      374     10/21/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
LANCER, RICHARD
4271 KISER WOODS DR SEE
CONCORD, NC 28025                                      375     10/21/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
ROBLES JR., FERNANDO
216 EAST MAIN STREET
UNION CITY, OH 45390                                   376     10/21/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
GEARHEADS GARAGE HHI, LLC
47 GOETHE RD
BLUFFTON, SC 29910                                     377     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
BRANGERS, MICHAEL
1305 LEXINGTON RD
LOUISVILLE, KY 40204                                   378     10/23/2017     TK Holdings Inc.                                                $0.00                                                                     $0.00
LANKFORD, SHANNA
193 PICKENS BRIDGE RD
JOHNSON CITY, TN 37615                                 379     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
VAUGHN, FRANCHOT
1050 DOOLEY DR.
CHARLOTTE, NC 28227                                    380     10/23/2017     TK Holdings Inc.                                                $0.00                                                                     $0.00
DORFMAN, ROBERT ALAN
6421 SW 109 ST
MIAMI, FL 33156                                        381     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
LUKE, KIM
12721 NW 83RD CT
PARKLAND, FL 33076                                     382     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
BAUER, DANNA L
108 COUNTY ROAD 4012
DAYTON, TX 77535                                       383     10/23/2017     TK Holdings Inc.                                                $0.00                                                                     $0.00
SCHWARTZOTT, PAUL R
379 YACHT ROAD
MOORESVILLE, NC 28117                                  384     10/23/2017     TK Holdings Inc.                        $10,000.00                                                                                   $10,000.00
EDDY, ELAINE
572 COZYBROOK LANE
FLEMING ISLAND, FL 32003                               385     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MORROW, CHARMAINE
24 GREENBRIAR
TUSCALOOSA, AL 35405                                   386     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
GRANT COUNTY PUBLIC UTILITY DISTRICT
P.O. BOX 878
EPHRATA, WA 98823                                      387     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00



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                    Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                    Amount                                                   Amount
RICHARDSON, MYRETTA F.
702 SUMMIT AVE
ALBEMARLE, NC 28001                                    388     10/21/2017     TK Holdings Inc.                         $7,000.00              $0.00              $0.00                                                $7,000.00
BARBIERI, ANTHONY ALDO
3635 S FORT APACHE SUITE 200/434
LAS VEGAS, NV 89147                                    389     10/20/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
PITTMAN ENTERPRISE & SERV., INC.
4365 SE 40TH LN
OCALA, FL 34480                                        390     10/23/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
BUERGER, ROBERT E.
902 VAN EATON RD.
XENIA, OH 45385                                        391     10/21/2017     TK Holdings Inc.                             $0.00                                                     $0.00              $0.00             $0.00
SCHWARTZOTT, PAUL
379 YACHT ROAD
MOORESVILLE, NC 28117                                  392     10/23/2017     TK Holdings Inc.                        $10,000.00                                                                                     $10,000.00
BROOKS, VINCENT
1050 SUMMIT WAY
LEWISVILLE, TX 75077                                   393     10/23/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
GEARHEADS GARAGE HHI, LLC
47 GOETHE RD
BLUFFTON, SC 29910                                     394     10/23/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
MADDOX, TIMOTHY A
1572 VIRGINIA ST E.
CHARLESTON, WV 25311                                   395     10/23/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
BAILEY, SHANA
1040 MOUNTAINVIEW RD. NE
APT. 5E
HARTSELLE, AL 35640‐4619                               396     10/23/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
BAPTISTE, ALIA
12842 UNIVERSITY CLUB DR APT 102
TAMPA, FL 33612                                        397     10/20/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
JOHNSON, ERNEST
4808 AMOS STREET
JACKSONVILLE, FL 32209                                 398     10/22/2017     TK Holdings Inc.                                                $0.00                                                                       $0.00
MCCRAY, LATANYA
4808 AMOS STREET
JACKSONVILLE, FL 32209                                 399     10/22/2017     TK Holdings Inc.                                                $0.00              $0.00               $0.00                                $0.00
GEDIK, MESUT
2664 CARAMBOLA CIR N
COCONUT CREEK, FL 33066‐2417                           400     10/23/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
GLENN, STEVIE L
4869 PLANTERS RIDGE DR
TALLAHASSEE, FL 32311                                  401     10/23/2017     TK Holdings Inc.                          $500.00                                                                                         $500.00
GLENN, TIFFANY
4869 PLANTERS RIDGE DR
TALLAHASSEE, FL 32311                                  402     10/23/2017     TK Holdings Inc.                          $500.00                                                                                         $500.00
WESTWOOD II, JAMES DOUGLAS
185 INDIAN CREEK PARKWAY 107
JUPITER, FL 33458                                      403     10/24/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
VARGAS HARDWARE & SUPPLY INC.
JAIME S. VALDEZ
439 COMMERCIAL STREET
EAGLE PASS, TX 78852                                   404     10/23/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
WRIGHT, CHRISTIE
1002 HOLLY LANE
EAST DUBLIN, GA 31027                                  405     10/23/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
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                                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                         Amount                                                   Amount
BAKER, JENNIFER
2851 COMPASS COURT #204
FORT BRAGG, NC 28307                                  406     10/23/2017           TK Holdings Inc.                         $3,200.00                                                                                     $3,200.00
BROOKS, LISA
THE LAW OFFICE OF DONALD SCOTT MACKENZIE
DONALD SCOTT MACKENZIE
9535 FOREST LANE
SUITE 117
DALLAS, TX 75243                                      407     10/23/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
TRAN, BICHLOAN
9246 LOWERY POINT CT
LAS VEGAS, NV 89147                                   408     10/23/2017           TK Holdings Inc.                                                                   $0.00                                                   $0.00
GRIMES, NATASHA
1405 CARRINGTON DRIVE
STATESBORO, GA 30458                                  409     10/24/2017           TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
HERBOLD, DARVIN WAYNE
309 STONEHAM CIR
SEGUIN, TX 78155                                      410     10/23/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
WILLIAMS, ELNORA
3800 SQUAW VALLEY DR SW 1B
HUNTSVILLE, AL 35805                                  411     10/24/2017   Strosshe‐Mex, S. de R.L. de C.V.                     $0.00                                                                                         $0.00
RICE, TERRI
2509 MARATHON DRIVE
COLUMBIA, SC 29209                                    412     10/24/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
HAMPSON, RANDALL S
4963 NE 124TH ROAD
OXFORD, FL 34484                                      413     10/24/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
ANDERSON, PATTI
2836 MADERIA CIRCLE
MELBOURNE, FL 32935                                   414     10/24/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
WIATREK, ERNEST
703 MOSS SPRINGS RD
ALBEMARLE, NC 28001                                   415     10/24/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
WILLIAMS, KENNETH RAY
6019 WHITE PINE DRIVE
MIDLAND, GA 31820                                     416     10/24/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
MUELLER, PO ERIC
801 WIND FLOWER DRIVE
SUNSET, SC 29685‐2258                                 417     10/24/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
PINCKNEY, PAULA R
304 OLIVE STREET
HINESVILLE, GA 31313                                  418     10/24/2017           TK Holdings Inc.                             $0.00              $0.00              $0.00               $0.00                               $0.00
WOOLLS, TAMMY
208 W CENTER ST
EAGLE LAKE, TX 77434                                  419     10/24/2017           TK Holdings Inc.                                                $0.00              $0.00               $0.00                               $0.00
ROLDAN, GLORIA
3902 PERDEW DR
LAND O LAKES, FL 34638                                420     10/24/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
PATEL, PRAVINCHANDRA
13627 57TH ROAD
FLUSHING, NY 11355‐5224                               421     10/23/2017           TK Holdings Inc.                                                                                       $0.00                               $0.00
SANDERLIN, EMILY
GROW FINANCIAL FEDERAL CREDIT UNION
P.O. BOX 89909
TAMPA, FL 33689‐0415                                  422     10/23/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00


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                                                                                                                    Current General                                          Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                         Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date               Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
GLENNON, BRENDA STEVENS
471 PURCELL DR
JACKSONVILLE, FL 32221                               423     10/21/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
SCOFIELD, BARBARA
2300 DICKERSON RD #81
RENO, NV 89503                                       424     10/24/2017           TK Holdings Inc.                                                $0.00                                                                      $0.00
SUKLOFF, COLLEEN
2906 WILD TREE DRIVE
APARTMENT 102
RIVERVIEW, FL 33578                                  425     10/24/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
MAULT, NANCY
6440 22ND ST SOUTH
ST. PETERSBURG, FL 33712                             426     10/23/2017           TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
WOLFF, JERRY A
1005 RUSSELL DRIVE, APT 4
HIGHLAND BEACH, FL 33487                             427     10/21/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
LICEA, ILEANA
3375 W 76 ST # 131
HIALEAH, FL 33018                                    428     10/21/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
CHAPMAN, MICHAEL
6015 HWY 52 SOUTH
CHERAW, SC 29520                                     429     10/24/2017           TK Holdings Inc.                                                $0.00                                                                      $0.00
BARTRON, BRUCE
1120 NW 94 AVE
PLANTATION, FL 33322                                 430     10/24/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
VICCOS SUPPLY
JOSE VICTOR GONZALEZ
2952 PATZCUARO DRIVE
EAGLE PASS, TX 78852                                 431     10/24/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
INSPEC INC
7282 HAGGERTY ROAD
CANTON, MI 48187                                     432     10/24/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
DUNCAN CRANE SERVICE
P.O. BOX 582
MOSES LAKE, WA 98837                                 433     10/23/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
MICCO‐MODULAR INDUSTRIAL COMPONENTS CO.
25831 COMMERCE DRIVE
MADISON HEIGHTS, MI 48071                            434     10/24/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
ENVIRONMENTAL EXPRESS
SARAH MILLER
2345A CHARLESTON REG. PKWY
CHARLESTON, SC 29492                                 435     10/24/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
MOREHOUSE, DAVID A
5850 S.E.194 LN.
INGLIS, FL 34449                                     436     10/24/2017           TK Holdings Inc.                         $1,800.00                                                                                     $1,800.00
SHARKEY, VALERIE
11732 BUTTONHOOK DRIVE
CLERMONT, FL 34711                                   437     10/24/2017           TK Holdings Inc.                         $8,000.00                                                                                     $8,000.00
HOSTON, CAROLINE
196 EAST ROCKHILL DRIVE
AMERICUS, GA 31719                                   438     10/24/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
GEASLEN, MARY K.
1859 FLINTWOOD DR.
MACON, GA 31211                                      439     10/24/2017   Strosshe‐Mex, S. de R.L. de C.V.                     $0.00                                                                                         $0.00



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                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                  Amount                                                  Amount
PATTERSON, DENNIS L
313 JACQUELYN CT.
DAYTON, OH 45415                                     440     10/21/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
WEEKS, LINDA
1919 FRAZIER HARRIS ROAD NE
LUDOWICI, GA 31316                                   441     10/24/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
PITTMAN (NAIL), ELLEN TAMBERIE
2335 CARTWRIGHT RD
RENO, NV 89521                                       442     10/22/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
SOPER, JOHN E
5006 LUPREESE LANE
VERSAILLES, KY 40383                                 443     10/24/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
EL PASO INDUSTRIAL SUPPLIES
119 N. COTTON
EL PASO, TX 79901                                    444     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
GRONEMAN, BELINDA
124 DOCK ROAD
EAST ISLIP, NY 11730                                 445     10/24/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
ARLEY, TERRY
115 RILEY'S CREEK RD
KINGSTON, TN 37763                                   446     10/24/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
AUTOMATION INTERNATIONAL LIMITED
13006 MULA LANE
STAFFORD, TX 77477                                   447     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MARTINEZ, DAMARIS MONTES
1719 WHITNEY ISLES DR.
WINDERMERE, FL 34786                                 448     10/22/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
CLARK, FREDERICK P.
61 LEXINGTON PLACE SOUTH
DURHAM, CT 06422‐1915                                449     10/24/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
VERSAFAB CORP
DEBRA WILSON
15919 BROADWAY
GARDENA, CA 90248                                    450     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
STRAUS, DAVID
827 BURWELL LN
COLUMBIA, SC 29205                                   451     10/24/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HENENSON, AMANDA
717 FLANDERS O
DELRAY BEACH, FL 33484                               452     10/24/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
COX, GLENN BENNETT
169 CRESCENT DR.
NEWNAN, GA 30265                                     453     10/24/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
GEARHEADS GARAGE HHI, LLC
47 GOETHE RD
BLUFFTON, SC 29910                                   454     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
ZIESENHEIM, KENNETH
3690 LAKEVIEW DR
SEBRING, FL 33870                                    455     10/24/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
GEARHEADS GARAGE HHI, LLC
47 GOETHE RD
BLUFFTON, SC 29910                                   456     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
GEARHEADS GARAGE HHI, LLC
47 GOETHE RD
BLUFFTON, SC 29910                                   457     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00


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                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
MASON, DEBORAH SCOTT
549 TURQUOISE BEACH DR.
SANTA ROSA BEACH, FL 32459                            458     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PIN, DELFIN
1577 PRESIDIO DRIVE
WESTON, FL 33327                                      459     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MCCRAE, DAVE
GUSHY.DECLARATION.POSERS
350 CEE RUN
BERTRAM, TX 78605                                     460     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WATSON‐ROBINSON, TONYA
309 FRIENDSHIP DRIVE
ROCKHILL, SC 29730                                    461     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KOBELCO ADVANCED COATING (AMERICA) INC.
VICKY WANG
1007 COMMERCE CT.
BUFFALO GROVE, IL 60089                               462     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MILLER, KAREN N.
7079 DEMEDICI CIRCLE
DELRAY BEACH, FL 33446                                463     10/21/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FAITH, CHERYL A.
491 MONROE STREET
INDIANAPOLIS, IN 46229                                464     10/21/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WELLINGTON, SHARIMA
1946 IRON STREET
APT.10
NORTH CHARLESTON, SC 29406                            465     10/21/2017     TK Holdings Inc.                        $10,037.59                                 $0.00                                              $10,037.59
TRACY, CHARLES RITCHIE
656 BEAVER PARK DRIVE
ELGIN, SC 29045‐8291                                  466     10/21/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
METRON POWDERCOATING INC
2000 E WHEELER RD
MOSES LAKE, WA 98837                                  467     10/21/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GOLDBERG, FRANKLIN MARK & NANCY
11345 SW 46TH TERRACE
MIAMI, FL 33175‐3919                                  468     10/21/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HALL, PATRICIA TEAGLE
624 SEA VIEW DRIVE
DESTIN, FL 32541                                      469     10/21/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BEDORE, JOAN M.
13206 SAN BLAS LOOP
LARGO, FL 33774                                       470     10/21/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PRICE, CHANDRA
780 FASHION DR., #2201
COLUMBIA, SC 29229                                    471     10/21/2017     TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
BABSON, THERESA HEWETT
5070 OWENS RD. NW
ASH, NC 28420                                         472     10/21/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DOUGLAS, SHEILA J.
480 NW 45 AVENUE
PLANTATION, FL 33317                                  473     10/22/2017     TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
LITSCH, CHARLOTTE
763 TUMBLEBROOK DR.
PORT ORANGE, FL 32127                                 474     10/22/2017     TK Holdings Inc.                                                $0.00                                  $0.00                               $0.00



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                  Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                  Amount                                                   Amount
BARROW, PHILLIP
210 METHODIST DR. WEST
FRANKLIN, IN 46131                                   475     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BROUSSARD, HELEN L.
6753 BIG SPRINGS DRIVE
ARLINGTON, TX 76001                                  476     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DAVIS, ROBERT M.
9120 SARANAC TRAIL
FORT WORTH, TX 76118                                 477     10/22/2017     TK Holdings Inc.                                                $0.00                                  $0.00                               $0.00
PSIHOULIS, CONSTANCE
17318 LADERA ESTATES BLVD
LUTZ, FL 33548                                       478     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ADORNO, ROBERT
10107 ASHLEY DRIVE
SEMINOLE, FL 33772                                   479     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LEBRON, CARLOS
584 BOXWOOD PL.
ST. AUGUSTINE, FL 32086                              480     10/22/2017     Takata Americas                              $0.00                                                                                         $0.00
DIALS, HOUSTON R.
7513 GLENSTONE STREET
ROWLETT, TX 75089                                    481     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SPRINGFIELD, PAUL L.
608 WHITE OAK STREET
ALLEN, TX 75002                                      482     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ROBERTS‐ALLEYNE, JOAN
2131 NW 166 STREET
OPA LOCKA, FL 33054                                  483     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MCKEEHAN, DEBORAH K.
8679 ELMTREE AVENUE
CINCINNATI, OH 45231                                 484     10/22/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
STUBBS, CURTIS
1562 CHAIN FERN WAY
FLEMING ISLAND, FL 32003                             485     10/24/2017     TK Holdings Inc.                        $50,000.00                                                                                    $50,000.00
STRATOSPHERE QUALITY
SCOTT SAMPSON
CINDY EVANS
12024 EXIT FIVE PARKWAY
FISHERS, IN 46037                                    486     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FABRE, ROBERT
817 N HERITAGE, APT 1
MESA, AZ 85201                                       487     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PACKENHAM, GEORGE THOMAS
118 PRINCE WILLIAM LANE
CARY, NC 27511                                       488     10/24/2017     TK Holdings Inc.                         $4,000.00                                                                                     $4,000.00
OWENS, STEVEN P.
240 ANDERSON ROAD
FLEMING, OH 45729                                    489     10/24/2017     TK Holdings Inc.                          $128.34                                                                                        $128.34
DICKS, RYAN
518 LINCOLNSHIRE WAY
KAYSVILLE, UT 84037                                  490     10/24/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
OWENS, STEVE
240 ANDERSON ROAD
FLEMING, OH 45729                                    491     10/24/2017     TK Holdings Inc.                          $225.25                                                                                        $225.25
GREEN, JAMES R
4409 PANORAMA DRIVE
COHUTTA, GA 30710                                    492     10/24/2017     TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
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                                                                                                                                   Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
MEDINA, CECILIA CARIDAD
5344 SW 159TH AVENUE
MIRAMAR, FL 33027‐4995                                 493     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GABLE, SHARON
4923 WARD STREET
HOUSTON, TX 77021                                      494     10/25/2017     TK Holdings Inc.                         $7,000.00                                                                                     $7,000.00
SHOOK, STEVEN K
301 LONG BOW ROAD
KNOXVILLE, TN 37934                                    495     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KIESTLER, CASSIE
PO BOX 7122
KNOXVILLE, TN 37921                                    496     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LESHIN, LARRY
1216 INDIANA ST. NE
ALBUQUERQUE, NM 87110                                  497     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ALVAREZ, FRANCISCO
11544 VILLA DEL MAR
EL PASO, TX 79927                                      498     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CAMBRON, KIMBERLY
FRESH START LAW OFFICE, PC
1400 N 6TH AVE. STE C‐3
KNOXVILLE, TN 37917                                    499     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BIRCH, NIGEL
2212 CANERIDGE CRT
MARIETTA, GA 30064                                     500     10/24/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
CRAWFORD, SANDY K
8306 TOWN CREEK DRIVE
HOUSTON, TX 77095                                      501     10/25/2017     TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
HOHAUS, NATALIA
4586 SOUTHERN PLACE
PACE, FL 32571                                         502     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
EDWARD, DESIREE
408 TUDOR DRIVE, APT #1B
CAPE CORAL, FL 33904                                   503     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GOW, BRENDAN
4404 FOREST WALK DR
GREENSBORO, NC 27455                                   504     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ANDERSON, GARY
3020 36TH ST SW
LEHIGH ACRES, FL 33976                                 505     10/24/2017     TK Holdings Inc.                                                $0.00              $0.00               $0.00                               $0.00
MORRIS, CAMILLE
4207 GRANDOVER DRIVE
RALEIGH, NC 27610                                      506     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MILLER, JOHN H.
3240 N.E. 106TH ST.
ANTHONY, FL 32617                                      507     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
COTTO, STEFANIE
109 PICKWICK LANE
NORTH BABYLON, NY 11703                                508     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MCCRAY, LATANYA
4808 AMOS STREET
JACKSONVILLE, FL 32209                                 509     10/22/2017     TK Holdings Inc.                        $13,845.24              $0.00              $0.00               $0.00                          $13,845.24
WOODS & UTICA SEPTIC SVC
68730 CAMPGROUND ROAD
ROMEO, MI 48095                                        510     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00


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                                                                                                                Current General                                          Current 503(b)(9)
                                                                                                                                   Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
KIZER, ANN COX
2308 CHADBOURNE DR.
PLANO, TX 75023                                        511     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CARTER, CLIFTON
1016 PENFIELD DRIVE
BIRMINGHAM, AL 35217                                   512     10/24/2017     TK Holdings Inc.                                                $0.00                                  $0.00                               $0.00
ITS ENCLOSURES
271 WESTECH DR.
MT. PLEASANT, PA 15666                                 513     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ROXBERRY, MAUREEN E.
874 SW 159 LANE
PEMBROKE PINES, FL 33027                               514     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LEY, ERIC K
2788 NORTHWEST BLVD
COLUMBUS, OH 43221‐3321                                515     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GREENE, GLENN A
531 HUNTERDALE ROAD
EVANS, GA 30809                                        516     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HAYES, SHLEEN HUMPHERY
38 DEANNA GREEN LANE
MIDWAY, FL 32343                                       517     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WALKER, WILLIAM EUGENE
2634 BELLFIELD RD
RIDGEWAY, SC 29130                                     518     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
THOMPSON, JOHN D.
2032 COTSWOLD DR.
ORLANDO, FL 32825                                      519     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WOODY, JAMES A.
PO BOX 273412
BOCA RATON, FL 33427                                   520     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
STEFFEN, DANIEL G
5229 CHASE OAKS DR
SARASOTA, FL 34241                                     521     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HAND, AMANDA
8638 LEYLAND DR
SAN ANTONIO, TX 78239                                  522     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BASS, CRYSTAL
3302 WESTGATE DR
ALBANY, GA 31721                                       523     10/24/2017     TK Holdings Inc.                                                $0.00              $0.00               $0.00                               $0.00
FIELDS, VINETA A
2038 BELLA VISTA WAY
PORT SAINT LUCIE, FL 34952                             524     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SCHULTZ, MICHAEL R
4200 HARCOURT DR
AUSTIN, TX 78727                                       525     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HANLON, TIFFANY NASBY
1533 ROCK SPRING STREET
GREENSBORO, NC 27405                                   526     10/23/2017     TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
TURNER, ELLIS RAY
1604 RIVERWIND DR. APT F.
COLUMBIA, SC 29210                                     527     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MCCARTHY, RICHARD HENRY
2450 SW OMEGA WAY
STUART, FL 34997                                       528     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                 Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                 Amount                                                   Amount
SMEAD, JOHN
1401 NE 2ND AVE.
DELRAY BEACH, FL 33444                              529     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LARKIN, EDWARD J.
7503 E SWEETWATER AVE
SCOTTSDALE, AZ 85260                                530     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ZURITA, HORACIO
8903 RUSHING WINDS
SAN ANTONIO, TX 78254                               531     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SAUNDERS, DAVID
137 WILLIS DRIVE
ROGERSVILLE, TN 37857                               532     10/24/2017     TK Holdings Inc.                         $1,000.00                                                                                     $1,000.00
HAMILTON, DANIEL REX
556 FAWN LANE
AVINGER, TX 75630                                   533     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ROBINSON, ROBERT
13500 N. RANCHO VISTOSO BLVD
APT. 200
ORO VALLEY, AZ 85755                                534     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BARRINGTON, KATHRYN M
61 SHEEP CREEK RD
NORTH FORK, ID 83466                                535     10/25/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
GREEN MOUNTAIN ENERGY COMPANY
PO BOX 1046
HOUSTON, TX 77251                                   536     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GARCIA, CARLOS
307 ALASTAIR DR.
PASADENA, TX 77506                                  537     10/23/2017     TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
BERRYHILL, JAMES S.
245 LAKE DR.
PHIL CAMPBELL, AL 35581                             538     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MILES, TIMOTHY
618 CENTER AVENUE
APT C
BURLINGTON, NC 27215                                539     10/23/2017     TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
GEARHEADS GARAGE HHI, LLC
47 GOETHE RD
BLUFFTON, SC 29910                                  540     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HERBOLD, DARVIN
309 STONEHAM CIR
SEGUIN, TX 78155                                    541     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DRAUGHN, GWENDOLYN RENEE
36289 NC HWY 903
SCOTLAND NECK, NC 27874                             542     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HELLERMANN TYTON
7930 N FAULKNER RD
PO BOX 245017
MILWAUKEE, WI 53224                                 543     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DUNSTAN III, FREDERICK MILLER
144 CANDLEWOOD RD
ROCKY MOUNT, NC 27804                               544     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PLASENCIA, RICHARD JOSEPH
12500 S.W. 93 AVENUE
MIAMI, FL 33176‐5013                                545     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                  Amount                                                   Amount
DONAHUE, BRIDGETT
135 WEXFORD CT.
MACON, GA 31210                                      546     10/23/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
REYNA, BARBARA
1107 S MAXEY
SHERMAN, TX 75090                                    547     10/23/2017     TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
BALDERRAMA, JESUS F
5845 ESSEX LANE
SANTA TERESA, NM 88008                               549     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FARNSWORTH, JOSEPH
34 PINE STREET
HOMOSASSA, FL 34446                                  550     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ODOM, RICKY
915 ARLINGTON ST.
ROCKY MOUNT, NC 27801                                551     10/24/2017     TK Holdings Inc.                                                $0.00                                  $0.00                               $0.00
PAVICEVICH, MILKA
18752 EAST SUPERSTITION DRIVE
QUEEN CREEK, AZ 85142                                552     10/24/2017     TK Holdings Inc.                         $5,000.00              $0.00              $0.00                                               $5,000.00
FORD, PATRICK
1626 26TH STREET
ORLANDO, FL 32805                                    553     10/24/2017     TK Holdings Inc.                        $60,000.00              $0.00              $0.00                                              $60,000.00
MEANS, HARRIETTE
793 ABERDEEN DRIVE
STONE MOUNTAIN, GA 30083‐4307                        554     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MAR AUTO PARTS & SALES LLC
3520 MELBA AVE.
MCALLEN, TX 78503                                    555     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
THORNTON, ANDREA
2601 NW 23RD BLVD., #204
GAINESVILLE, FL 32605                                556     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HIND, JIM G
644 ISLE OF PINES RD.
MOORESVILLE, NC 28117                                557     10/23/2017     TK Holdings Inc.                         $3,000.00                                                                                     $3,000.00
COLE‐PARMER INSTRUMENTS COMPANY LLC
625 E BUNKER CT.
VERNON HILLS, IL 60061‐1844                          558     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HEATTEK INC
DYAN BRINKMAN
PO BOX 347
IXONIA, WI 53036                                     559     10/23/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SALLOT, TAMARA
933 W 27TH
ERIE, PA 16508                                       560     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
RYAN, PATRICK J
1463 SW 48TH TERRACE
DEERFIELD BEACH, FL 33442                            561     10/24/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
ATLAS COPCO COMPRESSORS LLC
GABRIELA DAVALOS
22649 83RD AVE. SOUTH
KENT, WA 98032                                       562     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SMITH, HERBERT
106 MARIE CIRCLE
MADISON, AL 35758                                    563     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CULBERTSON, KIMBERLY
15570 HIGHWAY 221
ENOREE, SC 29335                                     564     10/24/2017     TK Holdings Inc.                        $10,000.00              $0.00              $0.00               $0.00                          $10,000.00
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                                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                          Amount                                                   Amount
NORTH, JOSEPH J
810 PEBBLEBROOK RD.
MABLETON, GA 30126                                           565     10/25/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
GRIM, CONNIE
BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
ATTN: CHRISTOPHER GLOVER
218 COMMERCE ST. (36104)
P.O. BOX 4160
MONTGOMERY, AL 36103                                         566     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LECLAIR, SUSAN
PO BOX 706
ST. ALBANS, VT 05478                                         567     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HIGH PRESSURE TECHNOLOGIES
PETER DUFFY
24895 AVE ROCKEFELLER
VALENCIA, CA 91355                                           568     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BELLOWS, CHARLES
4408 STEEPLEWOOD TRL
ARLINGTON, TX 76016                                          569     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DME COMPANY LLC
LINDA QUINTANO
29111 STEPHENSON HWY
MADISON HEIGHTS, MI 48071                                    570     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GOWDY, BRANDI
1835 OAK TREE HOLLOW
ALPHARETTA, GA 30005                                         571     10/25/2017     TK Holdings Inc.                         $8,000.00                                 $0.00                                               $8,000.00
TOBIAS, MARY A
4603 WHEATSTONE CT.
RICHMOND, TX 77469                                           572     10/24/2017     TK Holdings Inc.                                                $0.00              $0.00               $0.00                               $0.00
BROWN, DOUGLAS S
18A PUMPKIN LANE
WESTFIELD, MA 01085                                          573     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SCOTT, SANDRA LYNNE
138 BAYBORO CIRCLE
GOOSE CREEK, SC 29445                                        574     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BROWN, DOUGLAS
18A PUMPKIN LANE
WESTFIELD, MA 01085                                          575     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CHAPMAN, TYLER
8211 CHAMPION TRAIL
FAIRBURN, GA 30213                                           576     10/25/2017     TK Holdings Inc.                          $400.00                                                                                        $400.00
STRATOSPHERE QUALITY LLC
SCOTT SAMPSON
CINDY EVANS
12024 EXIT FIVE PARKWAY
FISHERS, IN 46037                                            577     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BOZEMAN, MELLANIE
109 WALKER RD.
NEW BRITAIN, CT 06053                                        578     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
JONES, SKYLA
411 23RD ST.
TUSCALOOSA, AL 35401                                         579     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BUNFIELD, HOWARD W.
3044 MONA LISA BLVD
NAPLES, FL 34119‐7736                                        580     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00


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                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
BASS, CYNTHIA
3302 WESTGATE DR.
ALBANY, GA 31721                                      581     10/24/2017     TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
MUHAMMAD, FATIMAH C
1277 WEST 5TH ST.
TEMPE, AZ 85281                                       582     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ARCHILA, NICOLAS
6904 COLONIAL GARDEN DR.
HUNTERSVILLE, NC 28078                                583     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SANCHEZ, DANIEL
7419 KINGFISHER CT. NW
ALBUQUERQUE, NM 87114                                 584     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
TEMPRESS ASSOCIATES, INC
12042 SE SUNNYSIDE RD #550
CLACKAMAS, OR 97015                                   585     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HENDERSON, ERIC
312 CAVE HILL ROAD UNIT 302
BLOUNTVILLE, TN 37617                                 586     10/24/2017     TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
CURRIE, JAMES
102 BETHEL FOREST DRIVE SOUTH
SARALAND, AL 36571                                    587     10/25/2017     TK Holdings Inc.                         $2,000.00                                                                                     $2,000.00
ZIEGLER, DEBORAH M
14700 SOUTH HIGHWAY 475
SUMMERFIELD, FL 34491                                 588     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HENDERSON, HELEN
8985 S. DURANGO DR. #1147
LAS VEGAS, NV 89113‐6126                              589     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BROGREN, BRENDAN
17 RONALDO COURT
RUTLAND, VT 05701                                     590     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MILLER, LYNDA KAY
5438 DOVEREL HWY
DAWSON, GA 39842‐2645                                 591     10/25/2017     TK Holdings Inc.                         $8,000.00                                 $0.00                                               $8,000.00
HAARKE, ADRIAN
2870 NORTH WADING RIVER ROAD
WADING RIVER, NY 11792                                592     10/25/2017     TK Holdings Inc.                          $500.00                                                                                        $500.00
STRATOSPHERE QUALITY
SCOTT SAMPSON
CINDY EVANS
12024 EXIT FIVE PARKWAY
FISHERS, IN 46037                                     593     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DOTT, JR., DONALD S.
164 BUETEL LANE
WADDY, KY 40076                                       594     10/24/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
TUNNEY, JONATHAN WELLS
7791 E. OSBORN RD.
APT.147 E
SCOTTSDALE, AZ 85251                                  595     10/24/2017     TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
PAEZ, RAUL
4621 E SODALITE ST.
SAN TAN VALLEY, AZ 85143‐6093                         596     10/24/2017     TK Holdings Inc.                          $500.00                                  $0.00                                                 $500.00
WHITE, J. ANDREW
723 ELSMERE CIRCLE
LOUISVILLE, KY 40223                                  597     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
COTE, MICHAEL
721 W. SHADOW WOOD
GREEN VALLEY, AZ 85614                                 598     10/25/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
PATEL, RAMESHCHANDRA
387 AUTUMN PARK TRCE
LAWRENCEVILLE, GA 30044                                599     10/25/2017     TK Holdings Inc.                                                $0.00                                 $0.00                               $0.00
LOWERY, KAREN SAXON
427 BLUE RIDGE DR., APT. G106
MARTINEZ, GA 30907                                     600     10/25/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
GUTHRIE, BRENNAN
12114 OSWALD CT
JACKSONVILLE, FL 32258                                 602     10/25/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
TURMAN, JACQUELINE
1321 PHYLLIS DRIVE
ANDERSON, SC 29621                                     603     10/25/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
O'BRIEN, DANIELLE
18 LORING RD.
BRISTOL, RI 02809                                      604     10/25/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
CROWLEY, PATRICIA
P.O. BOX 386
GLENDALE, SC 29302                                     605     10/24/2017     TK Holdings Inc.                                                $0.00                                                                     $0.00
MILLER, CHARLES G.
3634 MELROSE COTTAGE DRIVE
MATTHEWS, NC 28105                                     606     10/25/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
SMITH, SHANNON
730 HALEY WOODS DR.
KODAK, TN 37764                                        607     10/25/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
VALERIO, VINCENT
1158 GREENFIELD DRIVE
ERIE, PA 16509                                         608     10/25/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
WALKER, NEIL BRIAN
234 BAILEY ISLAND DR
HENDERSON, NV 89074                                    609     10/25/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
OLSON, JOHN D
110 MONTERREY PINES DR
MONTGOMERY, TX 77316                                   610     10/25/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
TAYLOR, RACHEL A.
18 JEFFERSON AVENUE
TENAFLY, NJ 07670                                      611     10/25/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
BATT, BRYAN
7701 WEST USTICK RD #64
BOISE, ID 83704                                        612     10/25/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
DYSON, MYA
1004 CANDELA LANE
SMYRNA, GA 30082                                       613     10/25/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HERBOLD, DARVIN
309 STONEHAM CIR
SEGUIN, TX 78155‐4031                                  614     10/23/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HALLMAN, CAROLINE ELIZABETH
716 W. MULBERRY ST. #13
DENTON, TX 76201                                       615     10/25/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MCKNIGHT, JANET
3734 SOUTHLAWN APT 4
HOUSTON, TX 77021                                      616     10/25/2017     TK Holdings Inc.                       $100,000.00              $0.00                                                               $100,000.00



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                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                    Amount
JOHNSON, JORDAN
2 RAVINIA DR, STE 120
ATLANTA, GA 30346                                      617     10/25/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
ALPERT, STANLEY
26‐09 WARREN RD APT C
FAIR LAWN, NJ 07410                                    618     10/25/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
SYMONS, JOHN
182 NUN DR
CRESTVIEW, FL 32536                                    619     10/25/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
ANDREA, PAMELA B.
6149 KISSENGEN SPRINGS CT
JACKSONVILLE, FL 32258‐5136                            620     10/24/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
PISZCZEK, RACHEL
5219 ZEBRA COURT
NORTH LAS VEGAS, NV 89031                              621     10/25/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
ABELARD, JESSICA
14 VESEY STREET APT. 1
BROCKTON, MA 02301                                     622     10/26/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
MURPHY, KEVIN
5 PROSPECT STREET
SAUGERTIES, NY 12477                                   623     10/26/2017     TK Holdings Inc.                           $500.00                                                                                        $500.00
RUZICH, JOHN
59 HUYLER LANDING ROAD
CRESSKILL, NJ 07626                                    624     10/26/2017     TK Holdings Inc.                        $10,000.00                                                                                     $10,000.00
WALTERS, TIMOTHY
553 SWEETONS COVE ROAD
SOUTH PITTSBURG, TN 37380                              625     10/26/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
EGLENTOWICZ, MILDRED
10 VALLEY RD
RANDOLPH, NJ 07869                                     626     10/26/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
DIBELLA, FRANK
14 CANDLEWOOD DRIVE
WASHINGTON TWP, NJ 07882                               627     10/26/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
DEHERRERA, KATHLEEN
2979 HARDING AVE
BRONX, NY 10465                                        628     10/25/2017     TK Holdings Inc.                           $750.00               $0.00                                                                    $750.00
WORLEY, RICHARD F.
7821 E. IOWA AVE
DENVER, CO 80231                                       629     10/25/2017     TK Holdings Inc.                      $3,000,000.00              $0.00                                                              $3,000,000.00
MOODY, BILLY
623 HIWASSEE ROAD
MADISONVILLE, TN 37354                                 630     10/25/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
HALLING, C.B. AND BETH
304 REID AVENUE
APT B
TROY, IL 62294                                         631     10/26/2017     TK Holdings Inc.                             $0.00               $0.00                                                                      $0.00
CURTIS, CHRISTOPHER
1995 WEST LUCAS
BEAUMONT, TX 77706                                     632     10/25/2017     TK Holdings Inc.                                                 $0.00              $0.00                                                   $0.00
MACALUSO, LEONARD
211 SHERMAN AVE APT 4C
NEW YORK, NY 10034                                     633     10/26/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
BENZENBERG, KRYSTA
22150 MAJESTIC WOODS WAY
BOCA RATON, FL 33428                                   634     10/25/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00


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                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                  Amount                                                   Amount
VALLE, CARL
623 WESTBOROUGH PLACE
WEBSTER GROVES, MO 63119                             635     10/25/2017     TK Holdings Inc.                        $95,000.00                                                                                    $95,000.00
MATTIS, NICOLE D
7 RIDGEVIEW CIR
VALDOSTA, GA 31602                                   636     10/26/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ALEXANDER, SIDNEY
471 PINNACLE PEAK LANE
FLAT ROCK, NC 28731                                  637     10/26/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WILLIAMS, ALVEN
3386 WOODLAUREL DR
SNELLVILLE, GA 30078                                 638     10/26/2017     TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
WINNIER, STEPHANIE MARIE
300 E ROUND GROVE RD 1922
LEWISVILLE, TX 75067                                 639     10/26/2017     TK Holdings Inc.                                                                                       $0.00                               $0.00
MAHAN, VIRGINIA F.
3115 WROXTON ROAD
HOUSTON, TX 77005                                    640     10/26/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WEBSTER, PATTIE
6303 WENZEL RD.
SAN ANTONIO, TX 78233                                641     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SCOTT, EDRICA
2849 MEADOWVIEW DRIVE
ATLANTA, GA 30316                                    642     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HUTTENES‐ALBERTUS CHEMISCHE WERKE GMBH
WIESENNTRABE 23
DUSSELDORF 40549
GERMANY                                              643     10/25/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SMITH, JAMES T.
3410 ROYAL RIDGE DR.
ROCKWALL, TX 75087                                   644     10/26/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LASHER, DANIEL W.
1836 GRAYBARK AVE
CHARLOTTE, NC 28205                                  645     10/26/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
STOCKER, JENNIFER
231 GRANTWOOD AVE
STATEN ISLAND, NY 10312                              646     10/26/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LAMBACKER, JUSTIN
6004 W ROSIE LANE SE
MABLETON, GA 30126                                   647     10/26/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WILLIAMSON‐BRANCH, SHEILA
224 SEARCY STREET
DANVILLE, VA 24541                                   648     10/26/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DENCKLA, LEWIS
1431 OHIO STREET
QUINCY, IL 62301                                     649     10/26/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BLYMAN, S KATHLEEN
10704 WORTON ROAD
WORTON, MD 21678                                     650     10/26/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WELTHER, THOMAS
33161 CARDINAL COURT
LOS FRESNOS, TX 78566                                651     10/26/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
TAYLOR, ALTREASE
9163 PLACER BULLION AVENUE
LAS VEGAS, NV 89178                                  652     10/26/2017     TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00


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                                                                                                               Current General                                             Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                              Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                      Amount
LEJUNE, DANA ANDREW
6525 WASHINGTON AVENUE, SUITE 300
HOUSTON, TX 77007‐2112                                653     10/26/2017     TK Holdings Inc.                                $0.00                                                                                         $0.00
FELDMAN, ANDREW
240 BEACH 122ND STREET
ROCKAWAY PARK, NY 11694                               654     10/26/2017     TK Holdings Inc.                              $50.00                                                                                         $50.00
BARRY, THOMAS W.
16114 WESTDALE AVENUE
CLEVELAND, OH 44135                                   655     10/26/2017     TK Holdings Inc.                            $1,000.00                                                                                     $1,000.00
BUSTAMANTE, LAURA
1324 JENKINS AVENUE
BROWNSVILLE, TX 78520                                 656     10/26/2017     TK Holdings Inc.                               $0.00                                                                                          $0.00
PEREZ, HECTOR ENRIQUE
8629 COACH ROAD
TALLAHASSEE, FL 32309‐9266                            657     10/26/2017     TK Holdings Inc.                           $10,000.00                                                                                    $10,000.00
PITTMAN, DAVID D
1725 WIGGINS AVENUE
SPRINGFIELD, IL 62704                                 658     10/26/2017     TK Holdings Inc.                                $0.00                                                                                         $0.00
CAROLYN J. RUTH LIVING TRUST
150 LEGENDS DRIVE
DURANGO, CO 81301                                     659     10/26/2017     TK Holdings Inc.                             $500.00                                                                                        $500.00
ZAMUDIO, JOHN
4827 ORANGE BLOSSOM LN
HAZELWOOD, MO 63042                                   660     10/26/2017     TK Holdings Inc.                               $0.00                                                                                          $0.00
DATAFORTH
3331 E HEMISPHERE LOOP
TUCSON, AZ 85706                                      661     10/26/2017     TK Holdings Inc.                                                                                          $0.00                               $0.00
SHEPHERD CONTROLS & ASSOCIATES
230A SOUTH JUPITER RD
ALLEN, TX 75002                                       662     10/26/2017     TK Holdings Inc.                                $0.00                                                                                         $0.00
LLOYD, WILLIAM DAVID
114 SEAGULL LANE
SARASOTA, FL 34236                                    663     10/26/2017     TK Holdings Inc.                            $5,000.00                                                                                     $5,000.00
LLOYD, ANNETTE MARY
114 SEAGULL LANE
SARASOTA, FL 34236                                    664     10/26/2017     TK Holdings Inc.                            $5,000.00                                                                                     $5,000.00
CJC INC
130 GOLDEN EAGLE DR
HAILEY, ID 88333                                      665     10/26/2017     TK Holdings Inc.                               $0.00                                                                                          $0.00
WOOD, LINDA WHITE
1546 BULLARD PLACE
POWDER SPRINGS, GA 30127                              666     10/26/2017     TK Holdings Inc.                                $0.00                                 $0.00                                                   $0.00
DYER, ROBERT
507 MARCEL PARK
STATHAM, GA 30666                                     667     10/26/2017     TK Holdings Inc.                                $0.00                                                                                         $0.00
CHALKER & CHALKER, P.C.
3550 GEORGE BUSBEE PKWY. SUITE 100
KENNESAW, GA 30144                                    668     10/26/2017     TK Holdings Inc.                                $0.00                                                                                         $0.00
ESTRADA, DAISY Y.
23 TAYLOR AVE
WESTFIELD, MA 01085                                   669     10/26/2017     TK Holdings Inc.                      $125,000,000.00                                 $0.00                                         $125,000,000.00
PITTMAN, ANNA C
1725 WIGGINS AVE
SPRINGFIELD, IL 62704                                 670     10/26/2017     TK Holdings Inc.                               $0.00                                                                                          $0.00



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                   Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                   Amount                                                  Amount
MCGARRY, SUSAN TULLY
903 GLENWOOD AVENUE
JOLIET, IL 60435                                      671     10/26/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
IRELAND, ZACHARY
1839 N. 15TH ST.
LAFAYETTE, IN 47904                                   672     10/26/2017     TK Holdings Inc.                                                $0.00                                                                     $0.00
GAUTHIA, YOLANDA
6119 OLD FARMHOUSE LANE
KATY, TX 77449                                        673     10/26/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
GAUTHIA, YOLANDA
6119 OLD FARMHOUSE LANE
KATY, TX 77449                                        674     10/26/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
GAUTHIA, JUDY
6119 OLD FARMHOUSE LANE
KATY, TX 77449                                        675     10/26/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
FARTHING, ROBERT
1088 HANCOCK MILL LANE
HEPHZIBAH, GA 30815                                   676     10/26/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MARTIROSSIAN, GARREN
4819 S. POTTER DR.
TEMPE, AZ 85282                                       677     10/26/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
KALEMARIS, JR, STANLEY G
6 BURLINGTON AVE
MELVILLE, NY 11747                                    678     10/26/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
FOGAH, KELLY
9276 BRIDGECREEK DR
CINCINNATI, OH 45231                                  679     10/26/2017     TK Holdings Inc.                         $1,000.00                                                                                    $1,000.00
CLIFFORD, JOHN J
3 BRITTANY DRIVE
WAREHAM, MA 02571‐1556                                680     10/26/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HILDEBRANDT, CHARLES M.
7012 BELTEAU LANE
DALLAS, TX 75227                                      681     10/26/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
FREBERIA, RICK A
918 N ROCKWALL AVE
TERRELL, TX 75160                                     682     10/26/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
GREEN BARNES, LAKAYSHA
4576 BIG BEND STREET
SIERRA VISTA, AZ 85650                                683     10/26/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
CARLSON, STEVEN
1620 BICKERSTAFF BLVD
KNOXVILLE, TN 37922                                   684     10/26/2017     TK Holdings Inc.                         $1,800.00                                                                                    $1,800.00
JONES, CYNTHIA H.
1213 NORTHVIEW ROAD
BALTIMORE, MD 21218                                   685     10/26/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
PATEL, MANSUKHLAL M.
10 CRAWFORD ROAD
MORRIS PLAINS, NJ 07950                               686     10/26/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
LOW, LEONE Y
5410 CYNTHIA LN
DAYTON, OH 45429                                      687     10/26/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
WARD, JAMES SCOTT
703 CHESELDEN DRIVE
DURHAM, NC 27713                                      688     10/26/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00



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                  Creditor Name and Address        Claim No. Claim Date              Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
TANG, KIRANJIT
3264 FENMORE LANE
REMINDERVILLE, OH 44202                              689     10/26/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
VICKREY, DONALD
10318 E LAMBERT DR
SUN LAKES, AZ 85248                                  690     10/26/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
HOLBROOK, DEBORAH
215 DONALD TENNANT CIRCLE
NORTH ATTLEBOROUGH, MA 02760                         691     10/26/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
JENKINS, HATTIE MAE
400 RACE STREET
CHARLESTON, SC 29403                                 692     10/26/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
PRICE SR, WILLIAM EDWARD
607 PINE OAK AVENUE
EDGEWOOD, MD 21040                                   693     10/26/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
SHEN, JOE G
42‐68 78TH STREET
ELMHURST, NY 11373                                   694     10/26/2017          TK Holdings Inc.                         $1,400.00                                                                                    $1,400.00
SHEIKH, ASIM
14 BANCROFT LANE
SOUTH WINDSOR, CT 06074                              695     10/26/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
DRAYER, ABRAHAM
9204 MERRILL AVE.
MORTON GROVE, IL 60053                               696     10/26/2017          TK Holdings Inc.                          $100.00                                                                                       $100.00
SHEIKH, ASIM
14 BANCROFT LANE
SOUTH WINDSOR, CT 06074                              697     10/26/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
ARNOLD, KENYON
5601 FESTIVAL AVENUE
FAIRBURN, GA 30213                                   698     10/26/2017   Takata Protection Systems Inc.                      $0.00                                                                                        $0.00
DRAYER, ESTHER
9234 MERRILL AVE
MORTON GROVE, IL 60053                               699     10/26/2017          TK Holdings Inc.                          $100.00                                                                                       $100.00
MUGO, VICTORIA
583 S MOBILE PL
AURORA, CO 80017                                     700     10/26/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
CRENSHAW, CADIJAH
2416 PIERING DRIVE
LITHONIA, GA 30038                                   701     10/26/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
BARRON, DANIEL MICHAEL
7675 EAST VISAO DRIVE
SCOTTSDALE, AZ 85266                                 702     10/26/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
ZHANG, YONGPENG
4502 TREMONT GLEN LN
KATY, TX 77494                                       703     10/26/2017          TK Holdings Inc.                                                $0.00                                                                     $0.00
SEAY, MICHAEL LAMARR
804 W. HIGHLAND AVE.
ALBANY, GA 31701                                     704     10/26/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
DAVIS, FRANK
2660 HARLAN ST.
APT 2
WHEAT RIDGE, CO 80214                                705     10/27/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
SMITH, KATRINIA
4220 TALBOT LANE
LORAIN, OH 44055                                     706     10/26/2017          TK Holdings Inc.                                                $0.00                                                                     $0.00


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                    Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
MILLINOCKET FABRICATION & MACH
432 KATAHDIN AVE
MILLINOCKET, ME 04462                                  707     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LAURY, YARQUIS
405 SILVER BEECH COURT
BEL AIR, MD 21015                                      708     10/26/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
JACKSON, JAMES CHARLES
6443 WOODBRIAR LANE
MIDLAND, GA 31820                                      709     10/26/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CARLONE, KRISTEN
42 SHEFFIELD AVE
WEST WARWICK, RI 02893                                 710     10/27/2017     TK Holdings Inc.                         $1,000.00                                                                                     $1,000.00
BRACE, SUSAN
6531 E. CASA DE RISCO LANE
GOLD CANYON, AZ 85118                                  711     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LARKINS, TRACY RENEE
3058 HIGHWAY 51 SOUTH
MIDWAY, AL 36053                                       712     10/27/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
CERBO, MARK
12 COLUMBIA DRIVE
BERNARDSVILLE, NJ 07924                                713     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DOWNS, BIANCA
1702 CLOVER HILL RD
MANSFIELD, TX 76063                                    714     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ROGERS, ALBERT
126 BARREN RIVER BLVD
GEORGETOWN, KY 40324                                   715     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
RUTHENBERG, ANGELA
10705 PIMLICO CIRCLE
INDIANAPOLIS, IN 46280                                 716     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WOOD, PANZEGNA
13364 SW 108 STREET CIRCLE
MIAMI, FL 33186                                        717     10/27/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
OGORZALEK, JEFFREY MICHAEL
12240 SUMMER SKY PATH
CLARKSVILLE, MD 21029                                  718     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PINELLAS COUNTY SHERIFF'S OFFICE
ATTN: GENERAL COUNSEL
10750 ULMERTON RD.
LARGO, FL 33778                                        719     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GROETZINGER JR, JON
11 DOMINICA DR
ENGLEWOOD, FL 34223                                    720     10/26/2017     TK Holdings Inc.                        $10,000.00                                                                                    $10,000.00
TOOMER, CORNELIA L.
4020 LAVISTA CIRCLE #210
JACKSONVILLE, FL 32217                                 721     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
COLLETTE, BERNADETTE
10 MOORE AVE
WORCESTER, MA 01602                                    722     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
JOHNSON, KARA
2 OLD STAGE TRAIL
LAKE WYLIE, SC 29710                                   723     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
VERITY, JOHN
179 TANGLEWOOD DRAW
PRINCETON, TX 75407                                    724     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00


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                   Creditor Name and Address        Claim No. Claim Date              Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
BURSAC, JANELL
76 GREEN NUMBER 8 DR
SAINT CHARLES, MO 63303‐1800                          725     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
JEATER, ANTHONY
502 SE 3RD AVE
DELRAY BEACH, FL 33483                                726     10/27/2017   Takata Protection Systems Inc.                      $0.00                                                                                         $0.00
SORRENTINO, RANDALL
2113 W KATHLEEN RD
PHOENIX, AZ 85023                                     727     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
HENNINGER, RICHARD
166 LIVE OAKS DRIVE
MILLBROOK, AL 36054                                   728     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
VERITY, JENNA
179 TANGLEWOOD DRAW
PRINCETON, TX 75407                                   729     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
THOMAS, YVETTE M
58 SO CLINTON AVENUE
APT B1
BAY SHORE, NY 11706‐8634                              730     10/27/2017          TK Holdings Inc.                         $2,850.00              $0.00                                                                  $2,850.00
SUTHERLAND, LAWRENCE
1906 BAXLEY CIRCLE
CARROLLTON, TX 75006‐5858                             731     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
GREENE, MARYJO
349 NEW BOSTON RD
BEDFORD, NH 03110‐4321                                732     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
CASTELOES, JOSEPH
4813 HIGHWAY 268 E
AMBROSE, GA 31512                                     733     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MOLINA, ERICK
1729 E. RICHARDS ST.
TYLER, TX 75702                                       734     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MIRAND, IRENE
P.O. BOX 880584
PORT ST LUCIE, FL 34988                               735     10/27/2017          TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
SULLIVAN, MICHAEL
30 HOBOMACK ROAD
QUINCY, MA 02169‐2508                                 736     10/27/2017          TK Holdings Inc.                          $700.00                                  $0.00                                                 $700.00
SCHINDLER, CASEY
1692 W HOPI DR
CHANDLER, AZ 85224                                    737     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
CUNNINGHAM, RENA
762 GAYLORD AVE
MASURY, OH 44438                                      738     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
CAPUTO, SAMUEL
41820 W GRANADA DR
MARICOPA, AZ 85138                                    739     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BURNS, JONATHAN
6 COTTONWOOD DR
DOVER, NH 03820‐6035                                  740     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
OSHO, ANASTASIA
14422 MARKHURST DRIVE
CYPRESS, TX 77429                                     741     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
WALDHELM, MARK
26 MARKWOOD DRIVE
HOWELL, NJ 07731                                      742     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00


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                                                                                                                                        Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date              Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                         Amount                                                   Amount
PASS PLUS DRIVING SCHOOL LLC
4021 EASTERN AVE APT 1
BALTIMORE, MD 21224                                    743     10/26/2017          TK Holdings Inc.                                                                   $0.00                                                   $0.00
NAWROCKI, JESSICA
518 WARNER AVE
LEMONT, IL 60439                                       744     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MAYOR, TIFFANY
6738 NW 192ND LANE
HIALEAH, FL 33015                                      745     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
DRAKE, ROBERT
16680 ELDERDALE DR
MIDDLEBURG HTS, OH 44130                               746     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BRENEGAN, BRIAN
W156 N5382 BETTE DRIVE
MENOMONEE FALLS, WI 53051                              747     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
DIXON, CAROL
1919 SHERMAN SQUARE DRIVE
SAINT CHARLES, MO 63303‐3835                           748     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
CARTER, CHRIS
2247 W NOPAL CIR
MESA, AZ 85202                                         749     10/27/2017   Takata Protection Systems Inc.                      $0.00                                                                                         $0.00
CERBO, MARK
12 COLUMBIA DRIVE
BERNARDSVILLE, NJ 07924                                750     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
JOSEPH F & LUCINDA E SCHMIDT LIVING TRUST
2116 CLEVELAND BLVD.
GRANITE CITY, IL 62040‐3332                            751     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
DEVINE, ROBERT BERNARD
40 STANLEY LOOP
FREDERICKSBURG, VA 22406                               752     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
DEVINE, NIKKI FRANCES
40 STANLEY LOOP
FREDERICKSBURG, VA 22406                               753     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
COLON, ERICA BAEZ
1035 TOWNSHIP CIRCLE
ALPHARETTA, GA 30004                                   754     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
HANSON‐STITT, VALERIE
930 N LEXINGTON DR
JANESVILLE, WI 53545                                   755     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BRIZENDINE, ROBERT
3091 MOYER RD
POWHATAN, VA 23139                                     756     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
GROVE, ALESA A
1427 DOUGLAS AVE
FLOSSMOOR, IL 60422                                    757     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BRAVES, NICKOLAS C
21 HUNTINGTON PLACE
WATERBURY, VT 05676                                    758     10/27/2017          TK Holdings Inc.                          $250.00               $0.00                                                                    $250.00
BROOKS, CARMEN BRANDI
402 GEESE LANDING
GLEN ALLEN, VA 23060                                   759     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
STOTT, ASHANTI
500 SAINT THOMAS LN
EAST SAINT LOUIS, IL 62206                             760     10/27/2017          TK Holdings Inc.                         $2,000.00                                                                                     $2,000.00



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                                                                                                                                 Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                  Amount                                                  Amount
BELLINGER, WILLIAM M
2503 ROSWELL AV
UNIT 302
CHARLOTTE, NC 28209                                  761     10/27/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MUELLER, DAVID
16905 VANDERBILT ST
BROOKFIELD, WI 53005                                 762     10/27/2017     TK Holdings Inc.                          $500.00                                                                                       $500.00
HAKEEM, OMARI
390 STOVALL ST. SE. #1414
ATLANTA, GA 30316                                    763     10/27/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
NOLTE, KRYSTLE
MAMMANO, ALOI & MULVIHILL, APC
82 S. WHITE HORSE PIKE
SUITE 200
BERLIN, NJ 08009                                     764     10/27/2017     TK Holdings Inc.                        $75,000.00                                                                                   $75,000.00
TAYLOR, JULIE
1432 SUZANNE DRIVE
ALLEN, TX 75002                                      765     10/27/2017     TK Holdings Inc.                                                $0.00                                                                     $0.00
STERNIG‐MORRISON, DEBRA
220 EDISON GLEN TERRACE
EDISON, NJ 08837                                     766     10/27/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
CERBO, MARK
12 COLUMBIA DRIVE
BERNARDSVILLE, NJ 07924                              767     10/27/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HUSTED, MARK A.
3816 N. SHORE DR.
AKRON, OH 44333                                      768     10/27/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
RAYFIELD, BENJAMIN
2905 OAKLEIGH TOWNSHIP DRIVE
KNOXVILLE, TN 37921                                  769     10/27/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
ALBERT, ANNE D
748 RED MILLS ROAD
FREEHOLD, NY 12431                                   770     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
LARSON, CHRIS G
16438 TETON DRIVE
LOCKPORT, IL 60441                                   771     10/28/2017     TK Holdings Inc.                                                $0.00                                                                     $0.00
POORE, NANCY RUTH
5538 MISTY RIDGE WAY
BOISE, ID 83713                                      772     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HOLTZ, RANDAL
1609 BEVERLY ST.
HAMMOND, IN 46324                                    773     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
EDWARDS, SUSAN E
2054 ARKANSAS AVE
GROVE CITY, FL 34224                                 774     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
POSCH, MICHAEL J
412 W. EDWARD ST.
LOMBARD, IL 60148                                    775     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
JONES, TAYNA
P.O. BOX 2465
JACKSONVILLE, FL 32203                               776     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
GRALEN, DONALD J
113 CLOVER MEADOW
BURR RIDGE, IL 60527                                 777     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00



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                                                                                                                                  Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
DONALD, STANLEY
3719 STATE RT 15
FREEBURG, IL 62243                                    778     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HATCH, BRYAN W
2334 OVERTON ROAD SUITE A2
AUGUSTA, GA 30904                                     779     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HARRIMAN, ROBERT
1403 LANGBROOK PL
ROCKVILLE, MD 20851                                   780     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MCCRACKEN, SARAH
4267 S 1ST PLACE
MILWAUKEE, WI 53207                                   781     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
EISNER, MATTHEW S
436A COOLIDGE AVENUE
ORTLEY BEACH, NJ 08751                                782     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ARDEN, DON
981 TURKEY CREEK RD
CARNESVILLE, GA 30521                                 783     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HALL, ROSEMARY C.
10732 MIDDLE OAK DRIVE
MOBILE, AL 36695                                      784     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MORAH, OBI
5048 180TH ST
COUNTRY CLUB HILLS, IL 60478                          785     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SALING, PETER H
40 PINCKNEY ROAD APT C
RED BANK, NJ 07701‐2131                               786     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SACCO, STEPHEN
110 MITCHELL AVENUE
LONG BEACH, NY 11561                                  787     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CEREZO, WENCESLAO FLORES
10723 NORMAN AVE
FAIRFAX, VA 22030                                     788     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
TYLER JR, RICHARD LEE
3730 E SAN MATEO WAY
CHANDLER, AZ 85249                                    789     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MILLER, WILLIAM
98 W 850 N
VALPARAISO, IN 46385                                  790     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FEOLA, STEPHEN
13 WATERVIEW LANE
NORTH PROVIDENCE, RI 02904‐2939                       791     10/28/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
NMAC
1721 OAK STREET
MORRISTOWN, TN 37813                                  792     10/28/2017     TK Holdings Inc.                                                $0.00              $0.00               $0.00                               $0.00
MIKLOS, PAULINE
23 E OAKLAND AVENUE
APT. 1‐E
DOYLESTOWN, PA 18901                                  793     10/28/2017     TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
WEKONY, GLENN
5604 ELEANOR CT
ALEXANDRIA, VA 22303‐1115                             794     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HOGAN, CLINTON
411 MONROE ST
MANSFIELD, LA 71052                                   795     10/28/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00


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                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                  Amount                                                   Amount
MCCRIMON, MARCUS
1161 PYRAMID DR
GARY, IN 46407                                       796     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MILLER, BENJAMIN
191 EMMANUEL DRIVE
LAKEWOOD, NJ 08701                                   797     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HOGAN, CLINTON
411 MONROE ST
MANSFIELD, LA 71052                                  798     10/28/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
RICE, JASON
13289 ALLENTOWN AVE
PORT CHARLOTTE, FL 33981                             799     10/28/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
GREGOIRE, ERICA
37 PRENTICE ST
1ST FLOOR
SPRINGFIELD, MA 01104                                800     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
STEPHENS, STEPHANIE
P.O. BOX 9915
AUGUSTA, GA 30916                                    801     10/28/2017     TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
HORN, NEAL D
144 EXETER RIVER LANDING
EXETER, NH 03833‐4123                                802     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
VACEK, JEROME C.
9206 SANDSTONE ST.
HOUSTON, TX 77036                                    803     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
NACHMAN, DAVID
368 GLENWOOD ROAD
RIDGEWOOD, NJ 07450                                  804     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SCHRUM, MELISSA
315 W. MAPLE ST
RED LION, PA 17356                                   805     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ALANSKY, MARILYN GERTRUDE
10821 GRANDE BLVD
WEST PALM BEACH, FL 33412                            806     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SAUNDERS, WILLIAM B
52 BENNETT ST SOUTH
GLOUCESTER, MA 01930                                 807     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SCHRENZEL, JEFF
49 CHERYL CIRCLE
BELCHERTOWN, MA 01007                                808     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BIERMAN, LORRIE A
1518 RUDY AVE
MATTOON, IL 61938                                    809     10/29/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
BERDINE, MICHAEL A.
1090 HYDE PARK
CROWN POINT, IN 46307                                810     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BIERMAN, LORRIE
1518 RUDY AVE
MATTOON, IL 61938                                    811     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
VOGES, MELANIE C.
496 TOWER ROAD
RIO, WI 53960                                        812     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BALLWEG, LINDA A
208 DORN DR
WAUNAKEE, WI 53597                                   813     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00


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                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
FOWLER, KIMBERLY D
778 REECE FOWLER DRIVE
ROYSTON, GA 30662                                     814     10/29/2017     TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
DETHOMAS, CHRIS
2851 S FAIRFAX ST
DENVER, CO 80222                                      815     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
VOGES, MELANIE C.
496 TOWER ROAD
RIO, WI 53960                                         816     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KASBERGEN, ADRIAN
6903 AUGUSTA PINES COVE
SPRING, TX 77389                                      817     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
VANDEKAR, DANIEL
10409 OAK POND CIRCLE
CHARLOTTE, NC 28277                                   818     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CREIGHTON, JAMES FRANKLIN
15211 CYPRESS POST LANE
CYPRESS, TX 77429                                     819     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CREIGHTON, JAMES F
15211 CYPRESS POST LANE
CYPRESS, TX 77429                                     820     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
THOM, SHARON
90888 EVERGREEN LANE
COOS BAY, OR 97420                                    821     10/29/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
DUVALL, AARON
135 W. 71ST AVE
GRIFFITH, IN 46319                                    822     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HEDRICK, MONICA
314 DEWITT RD
GLADE VALLEY, NC 28627                                823     10/29/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
FOSTER, LAPRINCESS
223 TUCKER ROAD
LIZELLA, GA 31052                                     824     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ZHOU, RAYMOND
9 STOCKWELL LANE
SOUTHBOROUGH, MA 01772                                825     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WAGNER, FRANK NORBERT
10286 JAMESTOWN DR. UNIT B
ANCHORAGE, AK 99507                                   826     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ETHEREDGE, CHARLES BROOKS
1218 WILKERSON CIRCLE
HELENA, AL 35080                                      827     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CHISHOLM, DWAN S.
910 TROY AVENUE
BROOKLYN, NY 11203                                    828     10/29/2017     TK Holdings Inc.                        $13,000.00                                                                                    $13,000.00
ALMENDAREZ, JORGE
10814 LEAVELLS RD
FREDERICKSBURG, VA 22407                              829     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MARTIN, LISA
9 NANCY DR
ENFIELD, CT 06082                                     830     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
APAZIDIS, ALEXIOS
6 TIDE MILL ROAD
SAINT JAMES, NY 11780                                 831     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
DAVIS, ELIZABETH REGGIO
607 STONEY SPRING DRIVE
BALTIMORE, MD 21210                                   832     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HASSAN, RUMEZA
10006 ORANGEVALE DR
SPRING, TX 77379                                      833     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SWAMY, SHILPA P
36 CLIFFE AVE
LEXINGTON, MA 02420                                   834     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ELLIOTT, RICHARD
904 PAINTER ROAD
JONES BOROUGH, TN 37659                               835     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SKRILOFF, LESLIE G.
5 LAMBERT RIDGE
CROSS RIVER, NY 10518                                 836     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PARSONS, PAIGE
10 CONNORS AVE B307
MANSFIELD, MA 02048                                   837     10/30/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
JILES, DESTINY
7825 OREBO ST.
HOUSTON, TX 77088                                     838     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SOBAT, DENNIS R.
2550 DOMBEY ROAD
PORTAGE, IN 46368‐1824                                839     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PERRY, KECIA
6757 TOWN BLUFF DRIVE
DALLAS, TX 75248‐5411                                 840     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ODOM, DEBRA
1820 LASALLE AVENUE
APT. 1
NORFOLK, VA 23509                                     841     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FELDMAN, E
3109 BABASHAW CT.
FAIRFAX, VA 22031                                     842     10/30/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
THOMAS, RODELL B
120 HANFORD PLACE
TRENTON, NJ 08609                                     843     10/30/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
GIBBONS, JOHN A
23 CARROLTON ROAD
WEST ROXBURY, MA 02132                                844     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SANDREW, NADINE LENORE
211 CURRITUCK LANE
DURHAM, NC 27703                                      845     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
REYNOLDS, TERRY
626 BELMONT AVE
HALEDON, NJ 07508                                     846     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PASSALAQUA, CAROL L.
24072 N. LAKESIDE DRIVE
LAKE ZURICH, IL 60047                                 847     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ARTIST, LORI DENISE
7607 WEATHER WORN WAY
UNIT D
COLUMBIA, MD 21046                                    848     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SLAUGHTER, CHRYSTAL
8102 TROPHY PLACE DR
HUMBLE, TX 77346                                      849     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                   Amount                                                  Amount
AITKEN, BRIAN
208 CARDINAL RD
LITITZ, PA 17543                                      850     10/30/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
JUHAS, MARGARET
54 VALLEY VIEW DR
MOUNTAIN TOP, PA 18707‐1208                           851     10/30/2017     TK Holdings Inc.                         $1,500.00                                                                                    $1,500.00
JILES, DESTINY
7825 OREBO ST.
HOUSTON, TX 77088                                     852     10/30/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
WHITFIELD, TREVA J.
1013 HIGHLAND VILLAGE TRAIL
BIRMINGHAM, AL 35242                                  853     10/30/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
WALTERS, JOHN M
1258 SHORECREST CIRCLE
CLERMONT, FL 34711                                    854     10/30/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
FALCONE, ADAM
7425 CASTLEGATE BLVD.
KNOXVILLE, TN 37918‐9031                              855     10/30/2017     Takata Americas                              $0.00                                                                                        $0.00
CICCONE, JAMES
1258 MOUNT HOREB ROAD
MARTINSVILLE, NJ 08836                                856     10/30/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
DROZKOWSKI, DENIS
260 SPRING CHURCH RD.
TROY, MO 63379                                        857     10/30/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
FALCONE, ADAM
7425 CASTLEGATE BLVD.
KNOXVILLE, TN 37918                                   858     10/30/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
BAUER, DANNA L
108 COUNTY ROAD 4012
DAYTON, TX 77535                                      859     10/27/2017     TK Holdings Inc.                         $2,500.00              $0.00                                                                 $2,500.00
JINKS, TANICHE N
6116 PLAINVILLE LANE
WOODBRIDGE, VA 22193                                  860     10/30/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MARES, BERNADETTE LEONORA
170 S ZUNI ST
DENVER, CO 80223                                      861     10/30/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
CONNELLY, JAMES
3401 EBENEZER CHASE DR
FLORENCE, SC 29501‐8012                               862     10/27/2017     TK Holdings Inc.                                                $0.00                                                                     $0.00
TAPE CRAFT CORPORATION
YKK CORPORATION OF AMERICA
KEY WYNN, SENIOR CORPORATE COUNSEL
1850 PARKWAY PLACE, S.E., SUITE 300
MARIETTA, GA 30067                                    863     10/24/2017     TK Holdings Inc.                                                                                      $0.00                               $0.00
LA POINTE JR, STANLEY EARLE
4077 WEST HAMMER LANE
NORTH LAS VEGAS, NV 89031                             864     10/26/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
KOKOT, ARTHUR
210 W 82 ST, APT 4E
NEW YORK, NY 10024                                    865     10/26/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
COLLIER, WILLIAM ALLEN
1551 N.E. 47 CT
POMPANO BCH., FL 33064                                866     10/26/2017     TK Holdings Inc.                                                $0.00                                 $0.00                               $0.00
BROWN SR, AUBREY
3809 CARRINGTON DR
HAZEL CREST, IL 60429                                 867     10/30/2017     TK Holdings Inc.                                                $0.00                                                                     $0.00
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                                                                                                                                         Current Priority   Current Secured                         Current Admin    Total Current
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                                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                          Amount                                                   Amount
LA POINTE JR., STANLEY EARLE
4077 WEST HAMMER LANE
NORTH LAS VEGAS, NV 89031                              868     10/26/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
CARLSON, WILLIAM
5 CATALINA COURT
HILTON HEAD ISLAND, SC 29926                           869     10/30/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
BECK, TIMOTHY A
606 EAST 5TH AVENUE
KENBRIDGE, VA 23944                                    870     10/29/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
SHAW, VOYNELL
297 WILSON ST
CAMP HILL, AL 36850                                    871     10/30/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
MAMBE, ATUM
3711 BERLEIGH HILL CT
BURTONSVILLE, MD 20866                                 872     10/30/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
SCHUERMANN, JOE
542 HALL RD
EOLIA, MO 63344                                        873     10/29/2017           TK Holdings Inc.                                                                   $0.00                                                   $0.00
DERGHAM, LORI
4A LEGION DRIVE
PLAINVILLE, MA 02762                                   874     10/30/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
MCNALLY, BRIAN F.
805 LAWRENCE LANE
NEWTOWN SQUARE, PA 19073                               875     10/29/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
GAUTHIA, TAYLOR
6119 OLD FARMHOUSE LANE
KATY, TX 77449                                         876     10/26/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
SENE, SADIO
6119 OLD FARMHOUSE LN
KATY, TX 77449                                         877     10/26/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
GOUDIN, GAYLE
2320 IDA ST
PAHRUMP, NV 89060                                      878     10/26/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
FALCONE, ADAM
7425 CASTLEGATE BLVD
KNOXVILLE, TN 37918‐9031                               879     10/30/2017   Strosshe‐Mex, S. de R.L. de C.V.                     $0.00                                                                                         $0.00
GAUTHIA, GERMAINE
6119 OLD FARMHOUSE LANE
KATY, TX 77449                                         880     10/26/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
INNOVITAL SYSTEMS INC
DEBRISHA MCDOW
3901 CALVERTON BLVD
SUITE 155
CALVERTON, MD 20785                                    881     10/26/2017           TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
COMBS, ELI B.
PO BOX 180013
AUSTIN, TX 78718‐0013                                  882     10/27/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
HUSTED, MARK A.
3816 N. SHORE DR.
AKRON, OH 44333                                        883     10/27/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
SHAW, DENISE
4429 CARDINAL GROVE BLVD
RALEIGH, NC 27616                                      884     10/26/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
MOUTOPOULOS, JIMMY
52‐35 69TH PL
MASPETH, NY 11378                                      885     10/26/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                   Current General                                          Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                         Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date              Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                       Amount                                                   Amount
FLORES, KEZIA ANN BEATRICE
1820 S. GROVE ST APT. 202
DENVER, CO 80219                                     886     10/26/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MALLA, KASI VISWANADH
7314 PARKRIDGE BLVD, APT 43
IRVING, TX 75063                                     887     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MARTINEZ, CESAR
9832 MERTON AVE.
OAK LAWN, IL 60453                                   888     10/27/2017          TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
DAVIS, JAMAR
374 WETHERSFIELD AVE APT. A
HARTFORD, CT 06114                                   889     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
CLIFTONLARSONALLEN
227 WEST TRADE STREET
SUITE 800
CHARLOTTE, NC 28202                                  890     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BARNETT, TAMEEKA AND TYMOTHI
32 SONNET COURT
WENTZVILLE, MO 63385                                 891     10/26/2017          TK Holdings Inc.                                                                                                                           $0.00
SCOTT, WILLIAM
7 KINGHILL ROAD
HIGH BRIDGE, NJ 08829                                892     10/27/2017          TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
KNOX, VICTOR
1040 ULMSTEAD CIRCLE
ARNLD, MD 21012                                      893     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
SHEAFFER, STEPHANIE
1304 FIELDSTONE RD
SINKING SPRING, PA 19608                             894     10/30/2017          TK Holdings Inc.                                                $0.00                                                                      $0.00
LEONTIDIS, PAUL G.
400 WEST 43RD STREET APT. 22D
NEW YORK, NY 10036                                   895     10/27/2017          TK Holdings Inc.                         $2,500.00                                                                                     $2,500.00
LARKINS, DON C
3058 HIGHWAY 51 SOUTH
MIDWAY, AL 36053                                     896     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BURMAN, DAVID
10646 CORY LAKE DRIVE
TAMPA, FL 33647                                      897     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MIH‐NGHA, NEYNSIA MEGAN
8641 WANDERING CREEK WAY
CHARLOTTE, NC 28227                                  898     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
WILLIS, JOSEPH P
16327 GOANNA COURT
SUGAR LAND, TX 77498                                 899     10/30/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
STARKEY, ROBERT
109 OLDE HICKORY CIR
BONAIRE, GA 31005                                    900     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
DORSAINVIL, RACHELLE
502 SE 3RD AVE.
DELRAY BEACH, FL 33483                               901     10/27/2017   Takata Protection Systems Inc.                      $0.00                                                                                         $0.00
SZARY, JASON
5712 PARKSTONE CROSSING DRIVE
JACKSONVILLE, FL 32258                               902     10/27/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
PHILLIPS, SEANDREA
481 DEWDROP CIRCLE TOWNHOUSE E
CINCINNATI, OH 45240                                 903     10/27/2017          TK Holdings Inc.                          $800.00                                                                                        $800.00


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                   Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
HENDERSON, HOWARD
820 DUNLEWY STREET
ASBURY PARK, NJ 07712                                 904     10/28/2017     TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
VAJDA, LILLIAN
THOMAS A. VAJDA
125 ISLAND HAMMOCK WAY
ST. AUGUSTINE, FL 32080                               905     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PAVELKA, ALLEN
283 CALGROVE ST.
LAS VEGAS, NV 89138                                   906     10/27/2017     TK Holdings Inc.                          $871.20                                                                                        $871.20
BUCHANAN, KAREN
1460 E BELL RD #2138
PHOENIX, AZ 85022                                     907     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BURK, DANIEL R.
9206 WHITE CHIMNEY LANE
GREAT FALLS, VA 22066                                 908     10/27/2017     TK Holdings Inc.                         $1,600.00                                                                                     $1,600.00
COHEN, GERALD D.
49 HILLTOP RD
SHORT HILLS, NJ 07078                                 909     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DELIA, GINA
1244 GOLDENROD LANE
HOFFMAN EST, IL 60192                                 910     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
COMFORTBROWN, CHERYL
1546 WEST RIVER DRIVE
PENNSAUKEN, NJ 08110                                  911     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FIELDS, JUSTIN GREGORY
1532 CAMERON ST
FORT WORTH, TX 76115                                  912     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MIRAND, IRENE
PO BOX 880584
PORT ST. LUCIE, FL 34988                              913     10/27/2017     TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
TORRUELLA, IGNACIO
1540 SW 61ST AVENUE
NORTH LAUDERDALE, FL 33068                            914     10/27/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
STEIGERWALD, AMY
3401 W PARMER LN #2826
AUSTIN, TX 78727                                      915     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KUZAK, REBECCA LYNN
701 BROAD ST C‐11
ELYRIA, OH 44035                                      916     10/30/2017     TK Holdings Inc.                         $2,595.00                                                                                     $2,595.00
BASKIN ENTERPRISES
JOE BASKIN
18881 SAVAGE ROAD
BELLEVILLE, MI 48111                                  917     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LANKFORD, PAUL
320 CAMBRIDGE ROAD
CAMDEN, DE 19934                                      918     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MANIPHONH, MANIVANH
3511 OHIO AVE
ST. LOUIS, MO 63118                                   919     10/27/2017     TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
HORAN, MICHELLE
191 MAIN ST.
SOUTHBOROUGH, MA 01772                                920     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PERRY, CRAIG E
2863 CIRCLE DR
ALTON, IL 62002                                       921     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
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                   Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
IGLESIA, DANIEL
3417 THORNEWOOD DRIVE
ATLANTA, GA 30340                                     922     10/30/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
RAINEY, VERA DIANIA
3625 PULASKI STREET APT. # 504
EAST CHICAGO, IN 46312‐2229                           923     10/27/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
LARATRO, RICHARD
70 LAKE ROAD
MANHASSET, NY 11030                                   924     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DEVINE, ROBERT BERNARD
40 STANLEY LOOP
FREDERICKSBURG, VA 22406                              925     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LOUISSAINT, VINSKEY
3700 RACHEL TERR. #8
PINE BROOK, NJ 07058                                  926     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BLANKEMEYER, ERIC
1037 SONNET HILL DR
N.CHESTERFIELD, VA 23236                              927     10/30/2017     TK Holdings Inc.                          $500.00               $0.00                                                                    $500.00
STRATOSPHERE QUALITY
SCOTT SAMPSON
CINDY EVANS
12024 EXIT FIVE PARKWAY
FISHERS, IN 46037                                     928     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PARKER, GEORGEATTA J
5708 COLTER COURT
VIRGINIA BEACH, VA 23462                              929     10/27/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
BRIZENIDNE, CLORENE ALLS
3091 MOYER RD
POWHATAN, VA 23139                                    930     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
AUDIGE, MELINDA
50 MAPLE AVE.
APT. 205
SPRINGFIELD, NJ 07081                                 931     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GOOCH, STEPHANIE
PO BOX 52251
SAINT LOUIS, MO 63136                                 932     10/30/2017     TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
LARATRO, RICHARD
70 LAKE RD
MANHASSET, NY 11030                                   933     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ROBBINS, JENNIFER
126 RED DEER WAY
HUNTSVILLE, TX 77320                                  934     10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ROBBINS, STEVEN M
7509 RAIN FLOWER WAY
COLUMBIA, MD 21046                                    935     10/27/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
PAWIGON, DEBRA
15 SAUPE DR
MANALAPAN, NJ 07726                                   936     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ADKINS ENTERTAINMENT SERVICES, LLC
540 POWDER SPRINGS STREET, STE B‐9
MARIETTA, GA 30064                                    937     10/28/2017     TK Holdings Inc.                          $629.00               $0.00                                                                    $629.00
STRATOSPHERE QUALITY LLC
SCOTT SAMPSON
CINDY EVANS
12024 EXIT FIVE PARKWAY
FISHERS, IN 46037                                     938     10/27/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
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                     Creditor Name and Address             Claim No. Claim Date         Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                          Amount                                                    Amount
ERICKSON, MICHAEL
7909 LOWTIDE COURT
PASADENA, MD 21122                                           939     10/30/2017     TK Holdings Inc.                                                                    $0.00                                                   $0.00
KIMBROUGH, DONTANIEL J.
503 CARDINAL AVE.
OSWEGO, IL 60543                                             940     10/27/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
WERNER, PETE
415 MAPLE DRIVE
LOS ALAMOS, NM 87544                                         941     10/30/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
TURPIN, TERESA
PO BOX 906
BUFFALO, NY 14205                                            942     10/31/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
DIEHL, JENNIFER
1634 BLUE JAY DR
DOVER, PA 17315                                              943     10/30/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
HERNANDEZ‐GONZALES, ANNA M
8921 RUTGERS ST
WESTMINSTER, CO 80031                                        944     10/31/2017     TK Holdings Inc.                           $100.00                                                                                        $100.00
HALL, DOROTHY
806 CHERLYNE DR
CEDAR HILL, TX 75104                                         945     10/30/2017     TK Holdings Inc.                                                 $0.00              $0.00                                                   $0.00
MITCHELL, DEVIN
BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
ATTN: CHRISTOPHER GLOVER
218 COMMERCE ST.
MONTGOMERY, AL 36104                                         946     10/30/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
WILLIAMS, REGINA
BEASLEY, ALLEN, CROW, METHVIN PORTIS & MILES, P.C.
CHRISTOPHER D. GLOVER
218 COMMERCE ST
MONTGOMERY, AL 36104                                         947     10/30/2017     TK Holdings Inc.                       $250,000.00                                                                                    $250,000.00
BROOKS, KEVIN
402 GEESE LANDING
GLEN ALLEN, VA 23060                                         948     10/30/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
ELLIS, MARY HOWARD
BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
ATTN: CHRISTOPHER GLOVER
218 COMMERCE ST.
MONTGOMERY, AL 36103                                         949     10/30/2017     TK Holdings Inc.                      $1,000,000.00                                                                                 $1,000,000.00
YERIAN, RALPH
471 MULBERRY STREET
LEITCHFIELD, KY 42754                                        950     10/30/2017     TK Holdings Inc.                                                                                                                            $0.00
WEBSTER, HARRY B
850 NORMANDY TRACE ROAD
TAMPA, FL 33602‐5923                                         951     10/30/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
SANDERS, REBECCA
6511 57TH AVENUE
KENOSHA, WI 53142                                            952     10/31/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
SANDERS, REBECCA
6511 57TH AVENUE
KENOSHA, WI 53142                                            953     10/31/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
TUCKER, VALERIE GORDON
RICHARD TUCKER
1719 MAPLETON AVENUE
BOULDER, CO 80304                                            954     10/27/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00


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                  Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                  Amount                                                  Amount
GATHERS‐NICHOLAS, VALARIE
101 WEST 147TH STREET, APT# 24C
NEW YORK, NY 10039                                   955     10/31/2017     TK Holdings Inc.                                                $0.00                                                                     $0.00
SALINAS, MIGUEL
4310 JUNIPER BAY
BAYTOWN, TX 77521                                    956     10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
POTTER, STEVEN R
PO BOX 1703
GRAPEVINE, TX 76099                                  957     10/27/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
ZERASCHI, SANDRA
95 WEST EMERSON STREET
MELROSE, MA 02176                                    958     10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MERCER, FRIEDA
6401 BLUE SPRINGS RD.
GREENWOOD, FL 32443                                  959     10/27/2017     TK Holdings Inc.                        $35,000.00                                                                                   $35,000.00
KUNDL, JUDITH
22 LEE ROAD
SOUTH DEERFIELD, MA 01373                            960     10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
VOGES, MELANIE C
496 TOWER ROAD
RIO, WI 53960                                        961     10/29/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
CADY, JOHN STANTON
76 ALBERGE LANE
MIDDLE RIVER, MD 21220‐1350                          962     10/27/2017     TK Holdings Inc.                         $1,000.00                                                                                    $1,000.00
NOLTE, KRYSTLE
MAMMANO, ALOI & MULVIHILL, APC
82 S. WHITE HORSE PIKE, SUITE 200
BERLIN, NJ 08009                                     963     10/27/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
WILLIAMS, CAROL
1826 DALLAS RD
PHILADELPHIA, PA 19126                               964     10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MUHLE, FORREST MARK
8621 KATHLEEN DR
ANCHORAGE, AK 99502‐5440                             965     10/27/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
KISSIK, KATHY
1544 MICHIGAN AVENUE APARTMENT #2
MIAMI BEACH, FL 33139                                966     10/27/2017     TK Holdings Inc.                             $0.00              $0.00                                                                     $0.00
PAPARIELLO, MICHAEL
502 COUNTRY CLUB DRIVE
SOUTH BURLINGTON, VT 05403                           967     10/27/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
KIRCHER CONSTRUCTION
310 SYCAMORE STREET
BROOKVILLE, OH 45309                                 968     10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
JOHNSON, JAMES
8200 HAMPTON GLEN DR
CHESTERFIELD, VA 23832                               969     10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HINDMAN, KIM
3668 RAIN CROW LANE CCR 651
CAPE GIRARDEAU, MO 63701                             970     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
PERSON, WILTON A.
24330 LESKI LANE
PLAINFIELD, IL 60585                                 971     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
LINDBLOM, LINDA H
11256 BIG CANOE
BIG CANOE, GA 30143‐5104                             972     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00


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                    Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
VIRGIES, BERNICE
1650 ANDERSON MILL ROAD
APARTMENT 5306
AUSTELL, GA 30106                                      973     10/27/2017     TK Holdings Inc.                                                $0.00                                                                     $0.00
LOPER, MICHELLE
66 OLD NEW RD
FELTON, DE 19943                                       974     10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
RITTER, WAYNE ALLEN
8844 WALKING STICK TRAIL
RALEIGH, NC 27615                                      975     10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HARRIS, VICTORIA
2900 LANDRUM DRIVE APT. #93
ATLANTA, GA 30311                                      976     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
PIKARSKI, DANIEL G
6175 N KEATING AVE
CHICAGO, IL 60646                                      977     10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
NESSIM, DANIEL
100 WEST 89TH STREET, 6L
NEW YORK, NY 10024                                     978     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
SUTPHIN, PHYLLIS L
3508 SAINSBURY LN
GREENSBORO, NC 27409                                   979     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HAIR, SHAWN P
6742 KENWOOD AVENUE
KANSAS CITY, MO 64131                                  980     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
KUNDL, JUDITH
22 LEE ROAD
SOUTH DEERFIELD, MA 01373                              981     10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
EDER, LORETTA
2050 W STATE ROUTE 89A LOT 76
COTTONWOOD, AZ 86326                                   982     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
THOMAS, MATT
2346 NE COAL VALLEY RD.
WEIR, KS 66781                                         983     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
ROBBINS, PHILIP
2789 MURRAYHILL LN
LAS VEGAS, NV 89142                                    984     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
BAKER, RUSSELL
PO BOX 7672
FORT GORDON, GA 30905                                  985     10/28/2017     TK Holdings Inc.                         $4,000.00                                                                                    $4,000.00
GOLDBERG, ROBIN JENNIFER
12449 LAGUNA VALLEY TERR
BOYNTON BEACH, FL 33473                                986     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
BILLY, IRWIN M
157 ELLWOOD AVENUE
MOUNT VERNON, NY 10552                                 987     10/31/2017     TK Holdings Inc.                         $2,000.00              $0.00                                 $0.00                           $2,000.00
SIDDIQI, AAMIR
8854 W CALLAWAY CT
FRANKLIN, WI 53132                                     988     10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
ORTON, JOHN F
49 MURPHY DAM ROAD
DADEVILLE, AL 36853‐3822                               989     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MISKOFF, LORI
41 WILK ROAD
EDISON, NJ 08837                                       990     10/28/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00


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                     Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
HASS, DAVID M
38 DANIEL ST.
NEWTON, MA 02459                                        991     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BRYANT, ELISHA
NO ADDRESS ON FILE
                                                        992     10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
RIO, RICHARD
71 BURNET STREET
MAPLEWOOD, NJ 07040                                     993     10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WHITMAN, GERTRUDE
1667 COLES MILL RD
FRANKLINVILLE, NJ 08322                                 994     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DEWBERRY, MONIQUE N
5115 BRIDLE POINT PKWY
SNELLVILLE, GA 30039                                    995     10/28/2017     TK Holdings Inc.                         $2,000.00                                                                                     $2,000.00
MCKINNEY, PAMELA A
7308 EUNICE AVENUE
ST LOUIS, MO 63136                                      996     10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
EVANS, TYLER
1315 WEST 35TH ST.
LORAIN, OH 44052                                        997     10/28/2017     TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
ALLY
1721 OAK STREET
MORRISTOWN, TN 37813                                    998     10/28/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
TAYLOR, WILLIAM D
6335 WILLIAM CIRCLE
COTTONDALE, AL 35453                                    999     10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
NEALY, TONYA
9219 DAWN DRIVE
GEORGETOWN, IN 47122                                    1000    10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BUCHSBAUM, JODY KANTER
630 LOS ANGELES AVENUE
JENKINTOWN, PA 19046                                    1001    10/31/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
BALLWEG, RICHARD A
208 DORN DR
WAUNAKEE, WI 53597                                      1002    10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ELLIOTT, MALEAHA
904 PAINTER RD.
JONESBOROUGH, TN 37659                                  1003    10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
JONES, BARRY
243 VICEROY STREET
BILLINGS, MT 59101                                      1004    10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
RICHARDS, JASON B.
RICHARDS LAW GROUP, P.C.
2568 WASHINGTON BLVD. STE 200
OGDEN, UT 84025                                         1005    10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
YIM, SUNG
19 GEORGE RD.
GLEN ROCK, NJ 07452                                     1006    10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ROBINSON, BROOKE MABEL
1387 MASARDIS RD.
MASARDIS, ME 04732                                      1007    10/28/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
YOUNG, PORSCHIA
1214 PLEASANT KNOLL DR.
JOLIET, IL 60435                                        1008    10/29/2017     TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00


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                    Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
GREEN, LONNIE
210 VICTOR AVE
NORTH SIOUX CITY, SD 57049                             1009    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
RATTLEY, CHARLES
985 STONINGTON DRIVE
ARNOLD, MD 21012                                       1010    10/29/2017     TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
DEJULIS, MARY
857 UNION STREET #2B
BROOKLYN, NY 11215                                     1011    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LOPER, MICHELLE
66 OLD NEW RD
FELTON, DE 19943                                       1012    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SMITH, STEPHANIE
1380 SCHEURING RD
DE PERE, WI 54115                                      1013    10/31/2017     TK Holdings Inc.                                                                                                                           $0.00
DENNO, LANCE
310 BRADFORD PKWY
SYRACUSE, NY 13224                                     1014    10/31/2017     TK Holdings Inc.                         $1,257.98              $0.00                                                                  $1,257.98
MITCHELL, LATASHA
PO BOX 9446
FORT LAUDERDALE, FL 33310‐9446                         1015    10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
RUDIN, CINDY EUSTER
7465 SW 106 ST
MIAMI, FL 33156                                        1016    10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
NORRIS, JAMES AND RENEE
7249 SPRINGSIDE
DOWNERS GROVE, IL 60516                                1017    10/28/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CHAVEZ, MICHAEL
4304 RANCHO GRANDE PL NW
ALBUQUERQUE, NM 87120                                  1018    10/29/2017     TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
WILK‐DAVIS, ROSA
111 SHERWOOD DRIVE
ROYAL PALM BEACH, FL 33411                             1019    10/31/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
FOLKEN, JOHN
107 EAST MAIN ST. #206
MARSHALL, MN 56258                                     1020    10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
AHMED, SYED TALAL
10006 ORANGEVALE DR
SPRING, TX 77379                                       1021    10/29/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
BURK, TERRY
2327 EMPIRE DRIVE
WILMINGTON, DE 19810                                   1022    10/31/2017     TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
ROMESBURG, DAN
1816 REBECCA ROAD
LUTZ, FL 33548                                         1023    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DUCHON, WILLIAM
1553 WEST BROAD STREET
STRATFORD, CT 06615                                    1024    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WINKLE, SHELLY LYNN
717 MUIRFIELD DRIVE
WINDER, GA 30680                                       1025    10/31/2017     TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
SANLORENZO, DAVID
34 HAZELWOOD CT.
GRAND ISLAND, NY 14072                                 1026    10/31/2017     TK Holdings Inc.                          $900.00                                                                                        $900.00



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                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
DULIK, KENNETH E.
12767 RICHMOND LANE
ABERDEEN, SD 57401                                     1027    10/31/2017     TK Holdings Inc.                                                 $0.00                                                                     $0.00
KEENE, BOBBY
ATTN: BLUE TRUCK STUFF RECALL STUFF
110 GLADWYNE CT
MILTON, GA 30004                                       1028    10/31/2017     TK Holdings Inc.                           $500.00                                                                                       $500.00
CADESCA, JIMMY
600 SKYLINE DR APT 2
ALLENTOWN, PA 18103                                    1029    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
THOMPSON, PAUL
3516 GLENGATE DRIVE
SPRINGFIELD, IL 62711                                  1030    10/31/2017     TK Holdings Inc.                           $550.00                                                                                       $550.00
MCINTOSH, ANTHONY
3111 MIDDLETOWN RD.
PITTSBURGH, PA 15204                                   1031    10/31/2017     TK Holdings Inc.                                                 $0.00                                                                     $0.00
REECE, JR, ROBERT C.
104 LONGHUNTERS TRAIL
GLASGOW, KY 42141                                      1032    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FIELITZ, LYNN
293 ROCK CUT ROAD
WALDEN, NY 12586                                       1033    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PAESANO, FRANK JAMES
1531 JAMES STREET
UNIT 101
PRESCOTT, WI 54021                                     1034    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LIEBERMAN, ROBIN
607 ABINGTON AVENUE
GLENSIDE, PA 19038                                     1035    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CORY, JUSTIN T.
2299 LAKE OTTAWA RD
IRON RIVER, MI 49935                                   1036    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DAGUER, JUAN
HAYGOOD LAW FIRM
522 NORTH GRANT AVE.
ODESSA, TX 79761                                       1037    10/31/2017     TK Holdings Inc.                      $2,369,530.16                                                                                $2,369,530.16
CASPER, JAMES C
9736 ASCOT DRIVE
OMAHA, NE 68114‐3846                                   1038    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BOONE, FARRAH
1981 LEMONWOOD ROAD
CHESAPEAKE, VA 23323                                   1039    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SWEETLAND, DEBRA BERNARD
300 S 6TH ST APT C2000
MINNEAPOLIS, MN 55487‐0999                             1040    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HAMMOND, MICHAEL
2909 HOXIE GORGE RD
MARATHON, NY 13803                                     1041    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
RICHARD, LORENZO
1045 CHERRY ST.
MANTENO, IL 60950                                      1042    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MONTGOMERY, GERRY
1981 LEMONWOOD ROAD
CHESAPEAKE, VA 23323                                   1043    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                  Amount                                                   Amount
ZIEGLER, LINDA ANN
421 CRAWFORD'S KNOB LANE
AFTON, VA 22920                                      1044    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MONTGOMERY, GERRY
1981 LEMON WOOD ROAD
CHESAPEAKE, VA 23323                                 1045    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BLAZEK, ALLEN
P.O. BOX 5
BRUCE, WI 54819                                      1046    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FIELITZ, LYNN
293 ROCK CUT ROAD
WALDEN, NY 12586                                     1047    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MCQUINN, MICHAEL LYNN
9046 LEASIDE DRIVE
DALLAS, TX 75238                                     1048    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ADAMES, CLARIBEL
2318 W ALLEN ST
ALLENTOWN, PA 18104                                  1049    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LOPEZ, PRISSILLA M
18071 GOLDEN RIDGE DR
HOUSTON, TX 77084                                    1050    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BROWN, ELLEN
1145 HWY 81
LOGANVILLE, GA 30052                                 1051     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PADUA, KELLY
7961 ROCK DOVE DR
WINTER GARDEN, FL 34787                              1052    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MAZE, DANIELLE
503 S 7TH ST
AKRON, PA 17501                                      1053     11/1/2017     TK Holdings Inc.                        $18,900.00                                 $0.00                                              $18,900.00
REED, TRESSIE
833 A DENZIL AVE
BOWLING GREEN, KY 42104                              1054     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GELOSO‐MAZARESE, JOANNE MARIE
487 OUTLOOK AVENUE
WEST BABYLON, NY 11704‐4313                          1055     11/1/2017     TK Holdings Inc.                                                                                                                           $0.00
COHEN, ROBERT PAUL
40 APRIL DRIVE
EASTON, CT 06612                                     1056     11/1/2017     TK Holdings Inc.                          $500.00                                                                                        $500.00
ALTIERI, NICHOLAS
4045 MARLTON CIRCLE
LIVERPOOL, NY 13090                                  1057     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GILMAN, IRENE
122 FRANKLIN AVE.
OAKHURST, NJ 07755                                   1058     11/1/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
BURNS, KRISTY
1963 ANDERSON RD
MONTEREY, TN 38574                                   1059     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SMITH, CHEVONNE
1152 VERNON ODOM BLVD
AKRON, OH 44307                                      1060    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KENT, GRACE
4534 MAGES AVE
PHILADELPHIA, PA 19135                               1061     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00



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                  Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                  Amount                                                  Amount
NORTHRUP, TANJI J
6551 BOUCHELLE LN
COTTONWOOD HEIGHTS, UT 84121                         1062     11/1/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
JACKSON, DION
2210 MITCH CT W
SANFORD, FL 32771                                    1063     11/1/2017     TK Holdings Inc.                         $3,750.00                                                                                    $3,750.00
VALENTIN, EDITH
602 OTLOWSKI COURT
PERTH AMBOY, NJ 08861                                1064     11/1/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
JOHNSON, MELISSA S
4200 BROOKVIEW DRIVE SE
ATLANTA, GA 30339                                    1065     11/1/2017     TK Holdings Inc.                         $2,500.00              $0.00                                                                 $2,500.00
REYNOLDS, LELA
904 POPLAR LANE
GROVE, OK 74344                                      1066     11/1/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
LUCAS, JAMES
126 LOOKOUT POINT
COMFORT, TX 78013                                    1067     11/1/2017     TK Holdings Inc.                          $700.00                                                                                       $700.00
SANDERS, YVONNE JONES
6320 DALEBROOK DRIVE
NORTH CHESTERFIELD, VA 23234                         1068     11/1/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
FORD, MICHELLE
1134 BLAIR AVENUE
ST PAUL, MN 55104                                    1069     11/1/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
CANNON, CHAZ D
3525 DUNN RD.
EASTOVER, NC 28312                                   1070    10/31/2017     TK Holdings Inc.                                                $0.00                                                                     $0.00
NAVARRO, LOUIS A
1360 CHESTNUT CROSSING
LEMONT, IL 60439                                     1071    10/29/2017     TK Holdings Inc.                                                $0.00                                 $0.00                               $0.00
MONAHAN, PATRICIA JANE
9375 BRYSON CITY ROAD
FRANKLIN, NC 28734                                   1072     11/1/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
BAIN, ADAM
1108 W ARROW LAKE COURT
FORT MILL, SC 29707                                  1073     11/1/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HENDERSON, PRISCILLA LAVELL
1ST AVENUE. DOGWOOD TERRACE 2104
AUGUSTA, GA 30901                                    1074    10/30/2017     TK Holdings Inc.                         $3,500.00                                                                                    $3,500.00
CARROLL, PATRICIA E
819 JACKSON AVENUE
GLENSIDE, PA 19038‐2705                              1075     11/1/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HANSBERRY, GRACE A
1322 GABES PLACE
HYATTSVILLE, MD 20785                                1076     11/1/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
BLESSING, BRYAN
23723 SAN BARRIA DR
KATY, TX 77493                                       1077     11/1/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
SHEDD, CURTISSA J
17938 STATE HWY 106
EMINENCE, MO 65466                                   1078     11/1/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
PICCININNI, PAUL
88 FISHER ROAD
MAHWAH, NJ 07430                                     1079     11/1/2017     TK Holdings Inc.                          $423.00                                                                                       $423.00



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                   Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
INTISO, KATHLEEN
P.O. BOX 15504
WILMINGTON, NC 28408                                  1080     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DANON, KATRINA
10939 SW BLUE MESA WAY
PORT ST LUCIE, FL 34987                               1081     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PUTTERMAN, BRUCE S.
687 HANDWERG DRIVE
RIVER VALE, NJ 07675                                  1082    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HASSAN, RUMEZA
10006 ORANGEVALE DR
SPRING, TX 77379                                      1083    10/29/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
FRONTEO USA, INC. DBA EVOLVE DISCOVERY
JEFFER MANGELS BUTLER & MITCHELL LLP
RICHARD A. ROGAN, ESQ.
TWO EMBARCADERO CENTER, FIFTH FLOOR
SAN FRANCISCO, CA 94111                               1084     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BOGGS, KATHERINE LYNN
6458 RAVENSWOOD RD
RAVENSWOOOD, WV 26164                                 1085    10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
RUTHERFORD, JAMES C.
6 GREGORY COURT
DOVER, DE 19904                                       1086    10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LADD, PEGGY
27 DOGWOOD DRIVE
RICHMOND, IN 47374                                    1087     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
VAIS, TIBOR
35 GROVE HILL AVE
NEWTON, MA 02460                                      1088    10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MACINTYRE, DAVID S.
32 NELSON STREET
CLINTON, MA 01510‐2913                                1089     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CHANG, DANNY
8915 SENECA LN
BETHESDA, MD 20817                                    1090     11/1/2017     TK Holdings Inc.                          $480.00                                                                                        $480.00
KLINMAN, RICHARD
1580 FLINT HILL ROAD
COOPERSBURG, PA 18036                                 1091     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MCCONICO, DAVID LEROY
12474 EAST WESLEY AVENUE
AURORA, CO 80014‐1992                                 1092    10/29/2017     TK Holdings Inc.                       $500,000.00              $0.00                                                                $500,000.00
GREEN, DEBORAH
732 NASHUA CT
CRYSTAL LAKE, IL 60012                                1093     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
VARELLIE, JAMES
311 KENNEDY DRIVE
WHITE HOUSE, TN 37188                                 1094     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FLANNERY, RITA M
3 BRAMLEY RD
MOORESTOWN, NJ 08057                                  1095    10/29/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KAY, KIM
4909 VEGA COURT EAST
FORT WORTH, TX 76133                                  1096     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MCDONALD, JOHN
9001 BRICKYARD RD
POTOMAC, MD 20854                                     1097    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                                         Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address          Claim No. Claim Date              Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                          Amount                                                   Amount
HONEYWELL INTERNATIONAL INC BUILDING SOLUTIONS
950 KEYNOTE CIRCLE
BROOKLYN HEIGHTS, OH 44131                              1098     11/1/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
ROSS, PAUL MARTIN
3871 MOUNT OXFORD STREET
WELLINGTON, CO 80549                                    1099    10/30/2017          TK Holdings Inc.                         $2,000.00                                                                                     $2,000.00
PITTS, MARVIN
929 THOMAS STREET
UNION SPRINGS, AL 36089                                 1100     11/1/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
THOMPSON, PAUL
4268 RT. 167
JEFFERSON, OH 44047                                     1101     11/1/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MARTIN, DAN WARREN
DAN AND DOROTHY MARTIN
6139 LONG KEY LANE
BOYNTON BEACH, FL 33472                                 1102    10/30/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
RIDDLE, NEDRA
7365 BILL WILSON ROAD
LULA, GA 30554                                          1103    10/30/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
TYNES, AUBREY C
68509 ABNEY DR.
MANDEVILLE, LA 70471                                    1104     11/1/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
DOTSON, BOBBI NICOLE
30615 SOUTH HIGHWAY 82
STIGLER, OK 74462                                       1105    10/30/2017          TK Holdings Inc.                                                                   $0.00                                                   $0.00
HOLMAN, KEVIN
1139 FILLMORE STREET
DENVER, CO 80206                                        1106    10/30/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
SNYDER, SHAUNA MARIE
2A FAWN TRAIL
FAIRFIELD, PA 17320                                     1107    10/30/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
WEIGELT, ABIGAIL
7 WINFIELD CT
MEDFORD, NJ 08055                                       1108    10/30/2017          TK Holdings Inc.                        $15,700.00              $0.00                                                                 $15,700.00
FALCONE, ADAM
7425 CASTLEGATE BLVD.
KNOXVILLE, TN 37918‐9031                                1109    10/30/2017   Takata Protection Systems Inc.                      $0.00                                                                                         $0.00
SULLIVAN, LAURA
2805 CHICAGO BLVD
FLINT, MI 48503                                         1110     11/1/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BINNEBOESE, DAVID A.
13109 E. 59TH TER.
KANSAS CITY, MO 64133                                   1111     11/1/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
LOPEZ, ANGELA MARIE
6646 MCGRATH PL
FREDERICK, MD 21703                                     1112     11/1/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
CHRISTIAN, VICTOR MARQUETTE
301 W 4TH ST #2
LEADVILLE, CO 80461                                     1113     11/1/2017          TK Holdings Inc.                          $500.00                                                                                        $500.00
FRANK, JAMES
2018 VINEWOOD LANE APT 9
PUEBLO, CO 81005                                        1114     11/1/2017          TK Holdings Inc.                                                $0.00                                                                      $0.00
PRINCE, JERI
8201 46TH AVENUE N. #204
NEW HOPE, MN 55428                                      1115     11/1/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00


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                                                                                                                      Current General                                           Current 503(b)(9)
                                                                                                                                          Current Priority   Current Secured                         Current Admin    Total Current
                     Creditor Name and Address             Claim No. Claim Date         Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                          Amount                                                    Amount
GALLION, LEE
419 BROADVIEW DR
JACKSON, MS 39209                                            1116     11/1/2017     TK Holdings Inc.                                                 $0.00              $0.00                                                   $0.00
CHEVIRON, DENNIS L
3418 BOBBY AVE SW
CANTON, OH 44706                                             1117     11/1/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
GILLIGAN, SARA
1 BEAVER CIRCLE
STRATFORD, NJ 08084                                          1118     11/1/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
MARKOWITZ, GIDEON
73 FRONTENAC AVE.
BUFFALO, NY 14216                                            1119    10/30/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
VAQUERA, RUDOLPH
2321 RAVENWOOD DR
GRAND PRAIRIE, TX 75050                                      1120    10/30/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
WOBRAK, AUTUMN
107 BILLIGEN ST.
ALIQUIPPA, PA 15001                                          1121     11/1/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
WEATHERSPOON, RAY
12501 S. WENTWORTH AVE.
CHICAGO, IL 60628                                            1122    10/30/2017     TK Holdings Inc.                           $500.00                                                                                        $500.00
ALVARADO, OLIVIA
P.O. BOX 1159
VALPARAISO, IN 46384                                         1123     11/1/2017     TK Holdings Inc.                        $10,000.00                                                                                     $10,000.00
CLARK, FREDERICK P.
61 LEXINGTON PLACE SOUTH
DURHAM, CT 06422‐1915                                        1124    10/30/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
SUCKOW, MATTHEW
2504 AVERY LANE
ALTOONA, WI 54720                                            1125     11/1/2017     TK Holdings Inc.                        $10,000.00               $0.00                                                                 $10,000.00
PIERCE, EVONDA M
2210 MITCH CT W
SANFORD, FL 32771                                            1126     11/1/2017     TK Holdings Inc.                         $3,750.00                                                                                      $3,750.00
MCCHESNEY, NANCI P.
1916 MADISON STREET
EUGENE, OR 97405                                             1127     11/1/2017     TK Holdings Inc.                                                 $0.00                                                                      $0.00
BEXAR COUNTY
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
711 NAVARRO STREET, STE 300
SAN ANTONIO, TX 78205                                        1128    10/30/2017     TK Holdings Inc.                                                                    $0.00                                                   $0.00
MORGAN, LISA
438 TURNPIKE ROAD
MOUNT PLEASANT, PA 15666                                     1129     11/2/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
ALVAREZ, JUAN
20307 KNIGHTS BANNER
SAN ANTONIO, TX 78258                                        1130     11/2/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
FITE, RORY
BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
ATTN: CHRISTOPHER GLOVER
218 COMMERCE ST
MONTGOMERY, AL 36103                                         1131    10/30/2017     TK Holdings Inc.                      $2,000,000.00                                                                                 $2,000,000.00
MEDINA, FRANK
1060 SW 46TH AVE APT 105
POMPANO BEACH, FL 33069                                      1132     11/2/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00



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                                                                                                                Current General                                          Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
MORRIS, RICHARD
2646 BELMONT LANE EAST
NORTH SAINT PAUL, MN 55109                             1133     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MANSOURIAN, RAFFI
19824 AHWANEE LANE
PORTER RANCH, CA 91326                                 1134     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
JEFFERSON, LATOYA
19733 SW 121 AVE
MIAMI, FL 33177                                        1135     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LAZARUS, JACK
118 N TEMPLE ROAD
NATCHEZ, MS 39120                                      1136     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LAZDAN, VALERIYA
11622 PORTER VALLEY DR.
PORTER RANCH, CA 91326                                 1137     11/2/2017     TK Holdings Inc.                             $0.00               $0.00                                                                     $0.00
SMITH, KAREN LEE
BEASLEY, ALLEN, CROW, METHVIN & MILES, P.C.
CHRISTOPHER D. GLOVER
218 COMMERCE ST
MONTGOMERY, AL 36104                                   1138    10/30/2017     TK Holdings Inc.                      $5,000,000.00                                                                                $5,000,000.00
KING, CHARLES
4326 HWY 9
SPRINGFIELD, AR 72157                                  1139     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CARRANZA, JOEL
3526 PEORIA ST.
STEGER, IL 60475                                       1140     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LISSEMAN, JASON
49500 BARTON DRIVE
MACOMB, MI 48044                                       1141    10/30/2017     TK Holdings Inc.                                                 $0.00                                                                     $0.00
BURROUGHS, ROBERT
2104 WOLF RIDGE RD. APT. 18
WHISTLER, AL 36612                                     1142    10/30/2017     TK Holdings Inc.                                                 $0.00                                                                     $0.00
TROIANO, JOSEPH
49 SALISBURY AVENUE
STEWART MANOR, NY 11530                                1143     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PRESSLEY, STEVEN TODD
27 PATTON ST
FALKVILLE, AL 35622                                    1144     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
POGACH, SHARI R.
4141 N. HENDERSON RD., #522
ARLINGTON, VA 22203                                    1145    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SABAJ, THOMAS J
5218 E. THUNDER HAWK RD
CAVE CREEK, AZ 85331                                   1146    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
VALOIS, ROBERT EDWARD
2008 MEANDER RD
WINDSOR, CO 80550                                      1147    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MACKOWIAK, TIM
509 CLARK AVE
WEBSTER GROVES, MO 63119                               1148     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ROVNER, DAVID P.
407 GROVE PLACE
NARBERTH, PA 19072‐2322                                1149    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GOODMAN, MALCOLM
945 FLAGPOLE HILL
MARION, OH 43302                                       1150    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                          Current General                                         Current 503(b)(9)
                                                                                                                                             Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date                   Debtor                         Unsecured Claim                                          Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                              Amount                                                  Amount
MACKOWIAK, LEA
509 CLARK AVE
WEBSTER GROVES, MO 63119                              1151     11/2/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
BUNNELL, VICTORIA/ROBERT
121 VISTA DR
FREEPORT, IL 61032                                    1152    10/30/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
SMITH, SAUNDRA
2355 RUSHING DR
MOBILE, AL 36617                                      1153    10/30/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
KINDER, GARY
27304 IVORY ROAD
MARYVILLE, MO 64468                                   1154    10/30/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
ROBERTSON, ALEC
40 VALENCIA ROAD
ROCKLEDGE, FL 32955                                   1155     11/2/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
DIEDERICH, MATHEW ALBERT
4637 BREAKWATER WAY
MARIETTA, GA 30066                                    1156     11/2/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
DIXIE TOOL CRIB INC
613 INDUSTRIAL BLVD
AUSTIN, TX 78745                                      1157     11/2/2017              TK Holdings Inc.                               $0.00                                                    $0.00                               $0.00
NGO, JOHN
13206 ONION CREEK DRIVE
MANCHACA, TX 78652                                    1158     11/2/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
FALCONE, ADAM
7425 CASTLEGATE BLVD
KNOXVILLE, TN 37918‐9031                              1159    10/30/2017               TK Finance, LLC                               $0.00                                                                                        $0.00
FALCONE, ADAM
7425 CASTLEGATE BLVD
KNOXVILLE, TN 37918‐9031                              1160    10/30/2017            Interiors in Flight Inc.                         $0.00                                                                                        $0.00
FALCONE, ADAM
7425 CASTLEGATE BLVD
KNOXVILLE, TN 37918‐9031                              1161    10/30/2017   TK Holdings de Mexico S. de R.L. de C.V.                  $0.00                                                                                        $0.00
WALTERS, LIZABETH LAJEUNESSE
1258 SHORECREST CIRCLE
CLERMONT, FL 34711                                    1162    10/30/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
FALCONE, ADAM
7425 CASTLEGATE BLVD
KNOXVILLE, TN 37918‐9031                              1163    10/30/2017                TK China, LLC                                $0.00                                                                                        $0.00
DOUGLAS, MICHAEL S.
8 CARDINAL COURT
WEST WARWICK, RI 02893                                1164    10/30/2017              TK Holdings Inc.                           $1,500.00                                                                                    $1,500.00
HORIST, MICHELLE J
6212 N. AVONDALE AVE.
CHICAGO, IL 60631                                     1165    10/30/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
VIOLA, ROBIN
120 ACKLINS CIR
APT 304
DAYTONA BEACH, FL 32119                               1166     11/2/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
THRONE, ROBIN M
165 SEAMAN AVENUE
APT 5C
NEW YORK, NY 10034                                    1167    10/30/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
HORIST, MICHELLE J
6212 N. AVONDALE AVE.
CHICAGO, IL 60631                                     1168    10/30/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
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                                                                                                                Current General                                          Current 503(b)(9)
                                                                                                                                   Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
FALCONE, ADAM
7425 CASTLEGATE BLVD
KNOXVILLE, TN 37918‐9031                               1169    10/30/2017     TK Mexico Inc.                               $0.00                                                                                         $0.00
WOOLEY, DONNA
886 GOODSON RD
BRENT, AL 35034                                        1170    10/30/2017     TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
MASHE, DANIEL A.
76 THREE LAKES DRIVE
STAMFORD, CT 06902‐8333                                1171    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MILLER, BARBARA
10027 E CICERO ST
MESA, AZ 85207                                         1172    10/30/2017     TK Holdings Inc.                         $1,000.00              $0.00                                  $0.00                           $1,000.00
HIGDON, TAMARELLA T
719 MERRIMAC RIDGE LN
SPRING, TX 77373                                       1173    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LEDER, EDWARD
423 E. MAGNOLIA DR
MORRISVILLE, PA 19067                                  1174    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BIDDLE, TOBY
P. O. BOX 173
LAFAYETTE HILL, PA 19444                               1175     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LEWIS, YUMIKO
5168 POOLA ST
HONOLULU, HI 96821                                     1176     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KERNS, HEIDI
5468 OLD GRIFFIN ROAD
CHESNEE, SC 29323                                      1177     11/2/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
RIGGS, JEFFREY
19805 AYESHIRE DR
MACOMB TWP, MI 48044                                   1178    10/31/2017     TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
CHIOMA, MERCY
2324 NICOL CIR.
BOWIE, MD 20721                                        1179     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WRIGHT JENKINS, CAROLYN
243 N. LIND
HILLSIDE, IL 60162                                     1180    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SANTORA, CHERI
4509 SHAW ST., # 105
METAIRIE, LA 70001                                     1181     11/2/2017     TK Holdings Inc.                                                                                                                           $0.00
CANTRELL, MICHAEL S
1007 N ALABAMA STREET
INDIANAPOLIS, IN 46202                                 1182    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LENOIR, JON D
509A SPRINGRIDGE RD
CLINTON, MS 39056                                      1183     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MCELVEEN, MONIQUE
839# A WINTHROP STREET
LADSON, SC 29456                                       1184    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DIEHL, JENNIFER
1634 BLUE JAY DR
DOVER, PA 17315                                        1185    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BAILEY, JOYCE
50 REDLAND WAY
JACKSONVILLE, FL 32218                                 1186     11/2/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00



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                                                                                                                                 Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                  Amount                                                  Amount
SANDS, RICHARD A.
7374 NW 112TH TER.
PARKLAND, FL 33076                                   1187    10/30/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HIBLER‐PEVSNER, KARIN
66 OVERLEA STREET SOUTH
MASSAPEQUA PARK, NY 11762                            1188     11/2/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
KALINOWSKI, BEN WALLACE
3716 CASS ELIZABETH
WATERFORD, MI 48328                                  1189     11/2/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
WILLIAMS, MAL J.
6015 ARCHSTONE WAY APT 302
ALEXANDRIA, VA 22310                                 1190     11/2/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
FINNEGAN, MICHAEL P
2130 WOODMOOR DRIVE
GREENVILLE, NC 27858                                 1191     11/2/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
KIM, TAEHYUN
250 TOSCANA BLVD
GRANGER, IN 46530                                    1192     11/2/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
WILLIAMS, AKILAH
64 ELM ST
BEDFORD, MA 01730                                    1193    10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HOUSTON, CARL
3067 COURTLAND CIRCLE
BATON ROUGE, LA 70814                                1194    10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
POTTS, SARAH J.
1113 OAKWOOD ROAD
EAST PEORIA, IL 61611                                1195     11/2/2017     TK Holdings Inc.                                                                                                                          $0.00
MALDONADO NURSERY & LANDSCAPING INC.
FRANK SPROUT
16348 NACODOCHES ROAD
SAN ANTONIO, TX 78247                                1196    10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
BRYANT, TIFFANY
2048 CONLYN STREET
PHILADELPHIA, PA 19138                               1197    10/30/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
LEONE, MICHAEL
31 EAST OGDEN AVENUE
UNIT 103
LA GRANGE, IL 60525                                  1198    10/30/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
COLLINS, SHELTON
7000 SOUTH SOUTH SHORE DRIVE
#2B
CHICAGO, IL 60649                                    1199    10/31/2017     TK Holdings Inc.                         $3,000.00                                                                                    $3,000.00
CARTER, CHARLES
7448 TALLGRASS DR.
TEMPERANCE, MI 48182                                 1200     11/2/2017     TK Holdings Inc.                         $3,500.00                                                                                    $3,500.00
DOMBROSKY, BRIAN
5438 LIBRARY STREET
BREWERTON, NY 13029                                  1201     11/2/2017     TK Holdings Inc.                             $0.00              $0.00                                                                     $0.00
MUTZ, KATHY ANN
6024 ELI CIRCLE
MACUNGIE, PA 18062                                   1202     11/2/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MEIJER, PHOEBE M
1367 HARWOOD LANE
MACEDON, NY 14502                                    1203     11/2/2017     TK Holdings Inc.                          $500.00                                                                                       $500.00



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                   Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
FIELDS, BENJAMIN
46 SHERMAN STREET
ROOSEVELT, NY 11575                                   1204     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KORTH, CHRISTOPHER S.
12115 MCGEE ST
KANSAS CITY, MO 64145                                 1205     11/2/2017     TK Holdings Inc.                         $9,500.00                                                                                     $9,500.00
CHANG, MING
8327 RICHARD AVE
SAINT LOUIS, MO 63162                                 1206     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MELEDONIAN, NAZIK
8915 DUARTE RD
SAN GABRIEL, CA 91775                                 1207     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KORTH, CHRISTOPHER S.
2526 HOLMES STREET
KANSAS CITY, MO 64108                                 1208     11/2/2017     TK Holdings Inc.                        $17,750.00                                                                                    $17,750.00
SAULTER, TAWANDA
1508 TOURO ST.
NEW ORLEANS, LA 70116                                 1209     11/2/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
JOHNSON, TERRY
140 WEST MUIR AVE.
HAZLETON, PA 18201                                    1210    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PRISTERA, VALENTINE
1030 N GLENVIEW CT
PALATINE, IL 60067‐0628                               1211    10/31/2017     TK Holdings Inc.                                                                                                                           $0.00
AIDA‐AMERICA CORPORATION
JOHN BUSCH
7660 CENTER POINT 70 BLVD
DAYTON, OH 45424‐6380                                 1212    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KNOX, LISA
1615 HOOVER AVE.
SOUTH BEND, IN 46615‐1312                             1213     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ZWICK, JONATHAN E
W361 S2730 LISA LANE
DOUSMAN, WI 53118                                     1214     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ZUBER, DAVID
64 GETTYSBURG WAY
LINCOLN PARK, NJ 07035                                1215    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
STREETER, KENDREA L.
632 HADDOCK DRIVE
SAINT LOUIS, MO 63137                                 1216    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
OXENDINE, ANDREA
PO BOX 1462
PEMBROKE, NC 28372                                    1217    10/30/2017     TK Holdings Inc.                                                $0.00              $0.00               $0.00                               $0.00
GUNNER JR, HERBERT M
15817 CENTENNIAL DRIVE
ORLAND PARK, IL 60462                                 1218    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FRALEY, ROBERT W
9413 E. 400 N.
BROWNSBURG, IN 46112                                  1219    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WINTER, ELIZABETH ANN
17338 E. CALAVERAS AVE.
FOUNTAIN HILLS, AZ 85268                              1220    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
JOHNSON, DAVID
1406 PETRONIA STREET
KEY WEST, FL 33040                                    1221    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00


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                   Creditor Name and Address        Claim No. Claim Date              Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
SCOTT, JOSHUA JAMES
3222 W. HEARN RD
PHOENIX, AZ 85053                                     1222    10/30/2017          TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
LASALDE, MELISSA
5526 HUDDLESTON ST
HALTON CITY, TX 76137                                 1223     11/2/2017          TK Holdings Inc.                                                $0.00              $0.00               $0.00                               $0.00
DJAFARNIA, FARZIN
5550 COLUMBIA PIKE
APT #1023
ARLINGTON, VA 22204                                   1224     11/2/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
CENTENO MENDEZ, JOSE R
640 FIRST ST
LOS BANOS, CA 93635                                   1225     11/2/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
FALCONE, ADAM
7425 CASTLEGATE BLVD.
KNOXVILLE, TN 37918‐9031                              1226    10/30/2017   Takata de Mexico, S.A. de C.V.                      $0.00                                                                                         $0.00
NAFE, ABDALLAH
5300 JAYCEE AVE, APT 34
ASHTABULA, OH 44004                                   1227     11/2/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BANKS, FREDERICK
#120759, 8E
950 SECOND AVENUE
PITTSBURGH, PA 15219                                  1228    10/30/2017          TK Holdings Inc.                        $48,712.00                                                                                    $48,712.00
NB COATINGS
2701 EAST 170TH STREET
LANSING, IL 60438                                     1229    10/30/2017          TK Holdings Inc.                                                                                       $0.00                               $0.00
DOBRZECHOWSKI, MICHAEL FRANCIS
1090 ANITA AVENUE
GROSSE POINTE WOODS, MI 48236‐1417                    1230     11/2/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
ROCK, CHRISTINA E
205 SE PARADISE ST APT A
PULLMAN, WA 99163                                     1231     11/2/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
FALCONE, ADAM
7425 CASTLEGATE BLVD.
KNOXVILLE, TN 37918‐9031                              1232    10/30/2017          TK Mexico LLC                                $0.00                                                                                         $0.00
BEARD, TREYSHAD
100 CANDLEWICK PL
HENDERSONVILLE, TN 37075                              1233     11/2/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
CIRRITO, MICHAEL A
2323 SAPPHIRE LN
EAST LANSING, MI 48823                                1234     11/2/2017          TK Holdings Inc.                          $100.00                                                                                        $100.00
CELESTINE, ASHLEY
505 BRUCE DRIVE
LAKE CHARLES, LA 70615                                1235     11/2/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
PRITCHARD, DAVID J
23 OSAGE TRAIL
SPENCERPORT, NY 14559                                 1236     11/2/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
KOPP, DENISE
21749 CANTERBURY AVENUE
GROSSE ILE, MI 48138                                  1237     11/2/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
HATAMIPOUR, SHEILA
41 GRANDVIEW ST #305
SANTA CRUZ, CA 95060                                  1238     11/2/2017          TK Holdings Inc.                                                                   $0.00                                                   $0.00
WOOD, MATTHEW
951‐2 OLD COUNTY RD #2 #248
BELMONT, CA 94002                                     1239     11/3/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                Current General                                          Current 503(b)(9)
                                                                                                                                   Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
HOWARD, RUFUS F
417 N ROAD 52
PASCO, WA 99301                                        1240     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DONA, ANGELA C
6546 W BAKER CIR
COCOA, FL 32927                                        1241     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SCHNELLE, DALE
17009 BRADSHAW ST
OVERLAND PARK, KS 66221                                1242     11/2/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
PIANALTO, ANTHONY E
13910 MOHAWK RD
LEAWOOD, KS 66224                                      1243     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PULLEN, CLAUDE F
1206 SANDY STONE LANE
CORDOVA, TN 38016                                      1244     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
OLIVER, YVETTE E.
1600 THETFORD ROAD
BALTIMORE, MD 21286                                    1245     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SCOTT, ANITA KONTOH
768 LINDSEY LANE
BOLINGBROOK, IL 60440                                  1246     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WILLIAMS, JOHN L
4124 OAKLAWN DR.
JACKSON, MS 39206                                      1247     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ROBERTS, LYNN
7130 EDGEFIELD DR
NEW ORLEANS, LA 70128                                  1248     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BARRON, CONNIE SUE
1926 SE 8TH STREET
CAPE CORAL, FL 33990                                   1249     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GARCIA, RAMON
2005 BELMONT LN #A
REDONDO BEACH, CA 90278                                1250     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CRUZ, PAUL R
598 DONEGAL CIRCLE
SHOREVIEW, MN 55126                                    1251     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PATTON, KAREN SUE
416 MARENGO AVE., #5
FOREST PARK, IL 60130                                  1252     11/3/2017     TK Holdings Inc.                        $14,500.00                                                                                    $14,500.00
KWALLEK, TANNER J
6651 STONE VIEW COURT
GILLETTE, WY 82718                                     1253     11/3/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
GRANT, TOBIAS
149 PISGAH BOTTOM RD
CANTON, MS 39046                                       1254     11/3/2017     TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
BAKE, DENNIS
13730 CRESTON HILLS CT.
MISHAWAKA, IN 46544                                    1255     11/3/2017     TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
NGUYEN, HIEN VAN
3587 CEDAR BROOK DR
ROCHESTER HILLS, MI 48309‐4073                         1256     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DRAGOO, ROBERT
136 SILVER FOX CT
GREENWOOD VILLAGE, CO 80121                            1257     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                         Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date               Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                          Amount                                                   Amount
VILLA, LORENA
3290 W ASHLAN AVENUE
APT 152
FRESNO, CA 93722                                       1258     11/3/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
WOOD, LARVY
951‐2 OLD COUNTY RD #2 #248
BELMONT, CA 94002                                      1259     11/3/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
WILLIAMS, ELLIS
39505 LINCOLN AVE
ZEPHYRHILLS, FL 33542                                  1260     11/3/2017           TK Holdings Inc.                         $1,000.00                                                                                     $1,000.00
WILLIAMSON, BARBARA
2303 PEBBLE BEACH DRIVE
AUSTIN, TX 78747                                       1261     11/3/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
MARRIS, DALE E.
4322 BRICKYARD FALLS ROAD
MANLIUS, NY 13104                                      1262     11/3/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
CRUME III, ROBERT D.
10408 DUKE CT
FAIRDALE, KY 40118                                     1263     11/3/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
CHOI, HAN
250 GORGE ROAD, #19F
CLIFFSIDE PARK, NJ 07010                               1264     11/3/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
WADE, MARY ANN
13347 HENDERSON COURT
HAMPTON, GA 30228                                      1265     11/3/2017           TK Holdings Inc.                          $250.00                                                                                        $250.00
RANDHAWA, GURSHANA KAUR
9949 PHOENICIAN WAY
SACRAMENTO, CA 95829                                   1266     11/3/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
CAMPOS, ELIZABET
1908 VICTORIA DR
BROWNSVILLE, TX 78521                                  1267     11/3/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
GOVAN, KATHY
3215 CHERRY FOREST DR.
HOUSTON, TX 77088                                      1268     11/3/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
MCNEIL, ASHLEY
6025 OAK GLEN COVE
MILLINGTON, TN 38053                                   1269     11/3/2017   Strosshe‐Mex, S. de R.L. de C.V.                     $0.00                                                                                         $0.00
TENNANT, JEAN A
4016 CORTA ROAD
SANTA BARBARA, CA 93110                                1270     11/3/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
FLORES, RENEE M
2069 HIGHLAND DRIVE
CONCORD, CA 94520                                      1271     11/3/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
PETRIE, KENTON D.
1852 OAK GROVE RD
DAHLONEGA, GA 30533‐4494                               1272     11/3/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
MEREDITH, STEPHANIE
1724 CARDINAL CT
LOUISVILLE, KY 40216‐2701                              1273     11/3/2017           TK Holdings Inc.                                                $0.00                                                                      $0.00
CECE, ROSE M
24 FAIRWAY AVE
WEST LONG BRANCH, NJ 07764                             1274     11/3/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
HORWITZ, SCOTT
2020 STOCKTON DR
SANFORD, FL 32771                                      1275     11/3/2017           TK Holdings Inc.                                                                   $0.00                                                   $0.00


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                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
ACEVEDO, JEANNETTE
4703 LANSING STREET
PHILADELPHIA, PA 19136                                1276     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MEREDITH, STEPHANIE R
1724 CARDINAL CT
LOUISVILLE, KY 40216                                  1277     11/3/2017     TK Holdings Inc.                                                $0.00              $0.00               $0.00                               $0.00
LEWIS, HOPE
18752 QUEENS ROAD
HOMEWOOD, IL 60430                                    1278     11/3/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
THOMPSON, TOMMIE LEI
2101 KINSINGTON STREET
WEST SACRAMENTO, CA 95691                             1279     11/3/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
CARDENAS, DAVID
6157 N. SHERIDAN RD. APT3M
CHICAGO, IL 60660                                     1280     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MERVYN, MELANIE
518 CAMERON AVE
PONTIAC, MI 48342                                     1281     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PHILLIP, TERESA
2008 CENWOOD DR.
JONESBORO, AR 72401                                   1282     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DOSIER, JAMIE
1038 NORTH SIERRA NEVADA ST
STOCKTON, CA 95205                                    1283     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MANSFIELD, MICHAEL
1139 HARMS AVE
LIBERTYVILLE, IL 60048                                1284    10/30/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BERMUDEZSANTOS, RENE F
127 EVERGREN AVE
DALY CITY, CA 94014                                   1285     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
RUBIN, DAVID E
1675 CHEVY KNOLL PLACE
GLENDALE, CA 91206                                    1286     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
JOUBERT, LORI
934 SOUTH MARKET STREET
OPELOUSAS, LA 70570                                   1287     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
STACK, SAUNDRA MARIE
1717 MIDVALE ST
BIRMINGHAM, MI 48009                                  1288     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KLINGEBIEL, DANIEL
60 MERCED AVE
SAN FRANCISCO, CA 94127                               1289     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HOGARTH, LEUKESHIA M.
50 WEDGEWORTH POINT
WEST MONROE, NY 13167                                 1290     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HUDDLESTON, KENNETH
1083A WOODLAND DRIVE
HENDERSON, TN 38340                                   1291     11/3/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
HUGHES, CYNTHIA
C/O PATRICK HUGHES
1221 MCKINNEY STREET
SUITE 2100
HOUSTON, TX 77010                                     1292     11/3/2017     TK Holdings Inc.                         $2,500.00                                                                                     $2,500.00
BOUGEOIS, STANLEY
2605 CHESTER STREET
METAIRIE, LA 70001                                    1293     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                                           Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date                   Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                            Amount                                                  Amount
SHINE, MARIO
57 NORTH ROAD
HOLLY SPRINGS, MS 38635                              1294     11/3/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
PREECE, WILLIAM
4406 BLACKLOG RD
INEZ, KY 41224                                       1295     11/3/2017              TK Holdings Inc.                          $2,500.00                                                                                    $2,500.00
EMERICH, JENNIFER
103 N RICHMOND ST
FLEETWOOD, PA 19522                                  1296     11/1/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
ANDERSON, ROY
203 WOODSONG WAY
TERRY, MS 39170                                      1297     11/2/2017              TK Holdings Inc.                                                 $0.00                                                                     $0.00
OQUENDO, ANGEL
711 COVINGTON CT
LOS BANOS, CA 93635                                  1298     11/3/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
JOHNSON OIL COMPANY
P.O. DRAWER 1959
GONZALES, TX 78629                                   1299     11/3/2017              TK Holdings Inc.                              $0.00                                                    $0.00                               $0.00
GW PLASTICS INC.
ART BENNERT, VP AND COO
901 PAULSUN
SAN ANTONIO, TX 78209                                1300     11/3/2017              TK Holdings Inc.                                                                                       $0.00                               $0.00
BALLSUN, JOHN TAYLOR
21606 DEVONSHIRE BLVD., #3001
CHATSWORTH, CA 91311‐2901                            1301     11/3/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
RUBIN, DAVID E
1675 CHEVY KNOLL PLACE
GLENDALE, CA 91206                                   1302     11/3/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
MILLER, TERESA C.
706 BROADMOOR BLVD.
LAFAYETTE, LA 70503                                  1303     11/4/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
ESLINGER, MELVIN C
132 COQUILLE DR
MADISONVILLE, LA 70447                               1304     11/4/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
BLACKMAN, RICHARD
225 VIA LOS ALTOS
REDONDO BEACH, CA 90277                              1305     11/4/2017   Industrias Irvin de Mexico, S.A. de C.V.              $700.00                                                                                       $700.00
HARRINGTON, YOSHITA RENEE
5850 CAMERON RUN TERRACE #1617
ALEXANDRIA, VA 22303                                 1306    10/31/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
PRO SCIENTIFIC INC
PAT YACKO
99 WILLENBROCK ROAD
OXFORD, CT 06478                                     1307    10/30/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
STEPHENSEN, SCOTT W
10660 CAPITOL PEAK AVENUE
LAS VEGAS, NV 89166                                  1308    10/31/2017              TK Holdings Inc.                           $850.00                                                                                       $850.00
BOUDREAU, TIARA C.
224 ALBION ST. #2
WAKEFIELD, MA 01880                                  1309    10/31/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
O'BRIEN, KEVIN
7970 NE RIVER RD
RICE, MN 56367                                       1310    10/31/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
RITTER, WAYNE ALLEN
8844 WALKING STRICK TRAIL
RALEIGH, NC 27615                                    1311    10/31/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
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                                                                                                              Current General                                          Current 503(b)(9)
                                                                                                                                 Current Priority   Current Secured                         Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                  Amount                                                   Amount
DAVIS SR, PIERRE V
8419 TALLY HO DR
HAZELWOOD, MO 63042                                  1312    10/31/2017     TK Holdings Inc.                        $16,000.00                                                                                    $16,000.00
ALMEIDA, KRISTEN
360A PENDAR ROAD
NORTH KINGSTOWN, RI 02852                            1313    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KILEY, STEVEN W.
405 BOYCE AVE
ALAMOGORDO, NM 88310                                 1314    10/31/2017     TK Holdings Inc.                             $0.00              $0.00                                  $0.00                               $0.00
RHOADES, JONATHAN C.
100 HCR 3402
BYNUM, TX 76631                                      1315    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FUJII, DUANE
91‐2048 LAAKONA PLACE
EWA BEACH, HI 96706                                  1316     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
TRICOMI, STEPHANIE
9104 THISTLEDOWN RD #475
OWINGS MILLS, MD 21117                               1317    10/31/2017     TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
BRILLHART, MACGREGOR JOHN
341 PINE HILL LANE
YORK, PA 17403                                       1318    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PORTER, STEPHEN THOMAS
1420 CANOOCHEE DR.
BROOKHAVEN, GA 30319                                 1319    10/31/2017     TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00
HARTGRAVES, ALONZO L.
1752 LAUREL GLEN PLACE
LAKELAND, FL 33803                                   1320    10/31/2017     TK Holdings Inc.                          $500.00                                                                                        $500.00
A RAYMOND TINNERMAN AUTOMOTIVE INC.
2350 AUSTIN DRIVE, STE 200
ROCHESTER HILLS, MI 48309                            1321    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
YALAMANCHILI, SRINIVASA
5216 WINDSTONE DR
KELLER, TX 76244                                     1322     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FERGUSON, ANGELA AND JOHN
9605 CRESCENT DR.
ODESSA, FL 33556‐4501                                1323     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
VESSELS, DAVID
2045 WOODWARD AVE
PITTSBURGH, PA 15226                                 1324    10/31/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
SOBON, MARY THERESA
190 COUNTY ROUTE 67
STILLWATER, NY 12170                                 1325    10/31/2017     TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
STRAUSS, MARK I
60 E SHARON RD
CINCINNATI, OH 45246                                 1326    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GRAHAM, RICKY WALTER
751 COWAN ROAD
COVINGTON, GA 30016                                  1327    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HAWKS, JANET M
17745 UMATILLA TRAIL
LOS GATOS, CA 95033                                  1328     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ANGLIN, VALESHIA
2104 NW 75TH ST APT 107
MIAMI, FL 33147                                      1329    10/31/2017     TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00



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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                   Amount                                                    Amount
DAVIS, ROBERT KENNETH
6710 COLLINS RD, APT 2117
JACKSONVILLE, FL 32244                                1330     11/4/2017     TK Holdings Inc.                      $28,991,510.00                                                                               $28,991,510.00
MUENCH, EDWARD R.
1806 EDENSIDE AVENUE
LOUISVILLE, KY 40204                                  1331     11/4/2017     TK Holdings Inc.                              $0.00                                                                                         $0.00
TOPOLSKI, MARK EDWARD
27922 CEDAR VIEW CT
MECHANICSVILLE, MD 20659                              1332     11/4/2017     TK Holdings Inc.                              $0.00                                                                                         $0.00
PAPINCHAK, DARRELL J.
1203 MAPLE STREET EXTENSION
MOON TOWNSHIP, PA 15108                               1333     11/4/2017     TK Holdings Inc.                              $0.00                                                                                         $0.00
SMITH, KUTAKA
5643 MARION AVNEUNE
KANNAPOLIS, NC 28081                                  1334     11/4/2017     TK Holdings Inc.                              $0.00                                                                                         $0.00
PAPINCHAK, DARRELL J.
1203 MAPLE ST. EXTENSION
MOON TOWNSHIP, PA 15108                               1335     11/4/2017     TK Holdings Inc.                              $0.00                                                                                         $0.00
RICH, MARISA L.
1580 TUCKER STREET
OAKLAND, CA 94603‐3876                                1336     11/4/2017     TK Holdings Inc.                              $0.00                                                                                         $0.00
DANNER, PATRICIA
212 NOBLE ST
BATESVILLE, MS 38606                                  1337     11/4/2017     TK Holdings Inc.                              $0.00                                                                                         $0.00
SMITH, KUTAKA
5643 MARION AVENUE
KANNAPOLIS, NC 28081                                  1338     11/4/2017     TK Holdings Inc.                              $0.00                                                                                         $0.00
WEINBERG, NATHAN
23113 DOLOROSA ST
WOODLAND HILLS, CA 91367                              1339     11/4/2017     TK Holdings Inc.                         $20,000.00                                                                                    $20,000.00
CICOGNA, HOLLIE
215 W ALTERN STREET
MONROVIA, CA 91016                                    1340     11/4/2017     TK Holdings Inc.                         $10,000.00                                                                                    $10,000.00
WEAVER, STEPHEN E.
8 COPPERFIELD DR
WATERFORD, NY 12188‐1092                              1341     11/4/2017     TK Holdings Inc.                              $0.00                                                                                         $0.00
PAPINCHAK, DARRELL J.
1203 MAPLE ST. EXTENSION
MOON TOWNSHIP, PA 15108                               1342     11/4/2017     TK Holdings Inc.                              $0.00                                                                                         $0.00
O'BRIEN, SHANNON
3233 PORTLAND AVE
MINNEAPOLIS, MN 55407                                 1343     11/4/2017     TK Holdings Inc.                                                                                        $0.00                               $0.00
SHENEMAN, DONALD
11482 HICKORY DRIVE
LAKEVIEW, MI 48850                                    1344     11/4/2017     TK Holdings Inc.                              $0.00                                                                                         $0.00
HUGHES, MATTHEW J.
330 BRANDON AVE.
GLEN ELLYN, IL 60137                                  1345    10/31/2017     TK Holdings Inc.                              $0.00                                                                                         $0.00
HUGHES, MATTHEW J.
330 BRANDON AVE.
GLEN ELLYN, IL 60137                                  1346    10/31/2017     TK Holdings Inc.                              $0.00                                                                                         $0.00
MURRAY, DEBORAH A.
14 SOUTH BAUMS COURT
LIVINGSTON, NJ 07039                                  1347    10/31/2017     TK Holdings Inc.                                                  $0.00                                                                     $0.00



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                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                   Amount                                                  Amount
THOMAN, JAMES C.
C/O HODGSON RUSS LLP
140 PEARL STREET
BUFFALO, NY 14202                                     1348    10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
SAMPAIO, OSCAR
120 S. MAIN ST
NEWTOWN, CT 06470                                     1349     11/4/2017     TK Holdings Inc.                                                                                                                          $0.00
GAROFALO, STEPHEN
300 EAST 40TH ST, 10M
NEW YORK, NY 10016                                    1350    10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
INNOVATIVE IDM LLC
ALAN SCOTT
13770 HOLLISTER
SUITE 100
HOUSTON, TX 77086                                     1351    10/31/2017     Takata Americas                              $0.00                                                                                        $0.00
BISCHOFF, KENNETH
219 14TH AVE SE
DEVILS LAKE, ND 58301‐3405                            1352    10/31/2017     TK Holdings Inc.                                                $0.00                                                                     $0.00
HOLLAND, ANDREW
8 BOYLE ROAD
SCOTIA, NY 12302                                      1353    10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
LEE, CHEUNG
24 BARBARBA DRIVE
SYOSSET, NY 11791                                     1354     11/4/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
DURBIN, STEPHEN V.
1027 RANDY ROAD
CEDAR HILL, TX 75104‐3035                             1355    10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HALL, JOHN K.
2544 JOANN COURT
NIAGARA FALLS, NY 14304                               1356     11/4/2017     TK Holdings Inc.                                                                                                                          $0.00
GOMEZ, CLAUDIA
15730 COBALT ST
SYLMAR, CA 91342                                      1357     11/4/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
DAVIS‐DICKERSON, GINA C
13621 E. EVANS AVE
AURORA, CO 80014                                      1358    10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
BROWN, WAYNE E.
105 S. UPAS ST
ESCONDIDO, CA 92025                                   1359     11/4/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
SMITH, DENISE L
6524 WATCHSPRING COURT
NORTH CHESTERFIELD, VA 23234                          1360     11/4/2017     TK Holdings Inc.                                                                                                                          $0.00
ZHANG, JOHN
2712 BROADMOOR DRIVE
ROCHESTER HILLS, MI 48309                             1361    10/31/2017     TK Holdings Inc.                         $1,000.00                                                                                    $1,000.00
GHORBANIAN, SOHEILA
6184 MARTINS LANDING COURT
BURKE, VA 22015                                       1362    10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
ZIEGLER, KURT JOHN
421 CRAWFORD'S KNOB LANE
AFTON, VA 22920                                       1363    10/31/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
SCHMIDT, JEFFREY J.
800 RED MILLS ROAD
WALLKILL, NY 12589                                    1364    10/31/2017     TK Holdings Inc.                                                $0.00                                                                     $0.00



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                   Creditor Name and Address                  Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                             Amount                                                   Amount
ATKINSON, KEN
9579 VELVET LEAF CIRCLE
SAN RAMON, CA 94582                                             1365     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CANZANO, KIRK
651 W EL REPETTO DR
MONTEREY PARK, CA 91754                                         1366     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SCHNITZLER, THERESA ALBOSTA
301 MEADOW KNOLL DRIVE
DOUBLE OAK, TX 75077                                            1367    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DAGUER, JUAN
LAW OFFICES OF STEVEN L. CLACK
241 EARL GARRETT ST.
KERRVILLE, TX 78029                                             1368    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
RIGGS, JEFFREY
19805 AYESHIRE DR
MACOMB TWP, MI 48044                                            1369    10/31/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
WEISBERG, DAVID EVELYN
105 RATTLE SNAP CT
CARY, NC 27519                                                  1370     11/4/2017     TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00
SALAAM, SUDAN
301 NOBLE OAKS DRIVE #2803
SAVANNAH, GA 31406                                              1371    10/31/2017     TK Holdings Inc.                        $70,000.00                                 $0.00                                              $70,000.00
CANZANO, KIRK
651 W EL REPETTO DR
MONTEREY PARK, CA 91754                                         1372     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CITY OF SAN ANTONIO ACTING BY AND THROUGH SAN ANTONIO WATER
SYSTEM
SAWS C/O
LAW OFFICES OF ELIZABETH G. SMITH
655 FIRST PARK TEN, STE. 240
SAN ANTONIO, TX 78213                                           1373    10/31/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DAVIDSON, KENNETH MICHAEL
1420 JOE STEPHENS ROAD
MORRISTOWN, TN 37814                                            1374     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
TAYLOR, MICHAEL
4024 COUDERSPORT PIKE
LOCK HAVEN, PA 17745                                            1375     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CAMP, RANDY C.
P.O. BOX 401
GADSDEN, TN 38337                                               1376     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GREEN, RONALD
1903 W 3RD ST
CEDAR FALLS, IA 50613                                           1377     11/1/2017     TK Holdings Inc.                         $1,500.00                                                                                     $1,500.00
TAYLOR, KATHY
4024 COUDERSPORT PIKE
LOCK HAVEN, PA 17745                                            1378     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DE BARTOLO, CAROLINA
15 BANK ST
SAN ANSELMO, CA 94960                                           1379     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CORBIN, DAPHNE PRISCILLA
402 WHITLOCK COURT BELLE
MEAD, NJ 08502                                                  1380     11/2/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
LOEBNER, NEIL
3305 BARRINGTON DRIVE
WEST LINN, OR 97068                                             1381     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00


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                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                  Amount                                                   Amount
HUBER, IRVING
902 DENSTON DRIVE
AMBLER, PA 19002                                     1382     11/1/2017     TK Holdings Inc.                          $200.00                                                                                        $200.00
WALTHER, ROSANNE MARIE
C/O LINDA WALTHER
992 LAUREL AVENUE
SAINT PAUL, MN 55104                                 1383     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
RINKUS, DONALD
3018 W. 42ND ST.
CHICAGO, IL 60632                                    1384     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MCCARTY, KATHLEEN
11028 WEST SHELBY RD.
MEDINA, NY 14103                                     1385     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
NORTHRUP, ROBERT D
6551 BOUCHELLE LN
COTTONWOOD HEIGHTS, UT 84121                         1386     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ROSENBERG, KENNETH A.
99 NORTH ROCKLEDGE DRIVE
LIVINGSTON, NJ 07039                                 1387     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SMITH, JOHN
5124 SEDGEBROOK ROAD
KERNERSVILLE, NC 27284                               1388     11/1/2017     TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
SALDIVAR, PAUL ALBERT
PABLO SALDIVAR
DBA TEXAS S & S LIFT
25 PEPPER LANE
DEL RIO, TX 78840                                    1389     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FELDER, QUINTINA
29 DEEPSPRING COURT
REISTERSTOWN, MD 21136                               1390     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DORADO, NATALIE ADRIENNE
683 NORTHEAST TERRY COURT
HILLSBORO, OR 97124                                  1391     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CASAS, RUBEN C
16767 E. BENWOOD ST.
COVINA, CA 91722                                     1392     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KERBER, KURT
261 SHERWOOD FOREST ROAD
RIVER FALLS, WI 54022                                1393     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SOBOCINSKI, STEPHEN
3 CHATEAU CIRCLE
MARLTON, NJ 08053                                    1394     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MCMANUS, SHANNON
2317 DRAKES FORK RD
PITKIN, LA 70656                                     1395     11/4/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
SANCILIO, MICHAEL FRANK
1221 WEST COUNTY ROAD C2
ROSEVILLE, MN 55113                                  1396     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KERBER, KURT E.
261 SHERWOOD FOREST ROAD
RIVER FALLS, WI 54022                                1397     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MONDINO, LAURA
108 WEST 55TH STREET
AUSTIN, TX 78751                                     1398     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
SOBOCINSKI, JOAN W
3 CHATEAU CIRCLE
MARLTON, NJ 08053                                      1399     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
EUBANKS, MICHAEL
336 MICHELE DRIVE
PANAMA CITY, FL 32404                                  1400     11/4/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SCHAFFER, HENRIETTA
2219 DEXTER WAY
HAYWARD, CA 94541                                      1401     11/4/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
MCCLUNG, EVELYN
700 PENN CENTER BLVD #202
PITTSBURGH, PA 15235                                   1402     11/4/2017     TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
SHEN, MINGZHAO
353 SOUTH 5TH STREET #2
BROOKLYN, NY 11211                                     1403     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SALTES, OLAND
61 JACKSON STREET, #1C
NEW YORK, NY 10002                                     1404     11/5/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
MILNER, GLEN
3227 NE 198TH PLACE
LAKE FOREST PARK, WA 98155‐1559                        1405     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LEWIS, SHARON
7060 HIGHPOINT BLVD
HAMILTON, OH 45011                                     1406     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ANDERSON, SHARON K.
228 DAVIS ST.
MANKATO, MN 56001
USA                                                    1407     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HALL, GLORIA D.
8964 ROCKPOND MEADOWS DRIVE
JACKSONVILLE, FL 32221                                 1408     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SMITH, CHRISTOPHER
10651 DARDEN HILL RD
AUSTIN, TX 78737                                       1409     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PURDY, WILLIAM
20345 TAMARA PL.
SAUGUS, CA 91350                                       1410     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BUNTY, RICHARD
18 SYLVAN RD
HIGH BRIDGE, NJ 08829                                  1411     11/5/2017     TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
HACKERT, MICHAEL
2213 PRESCOTT DRIVE
TROY, MI 48083                                         1412     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SINGH, PRITPAL
1040 OLD STATE ROUTE 22
DOVER PLAINS, NY 12522                                 1413     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PRESTON, JONATHAN
25738 SUMMERGREEN LANE
GOLDEN, CO 80401                                       1414     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MILLER, DARREL
4608 MAYO CT
REDDING, CA 96001                                      1415     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SHOOK JR., RANDOLPH K
1697 DELLA DRIVE
SANDWICH, IL 60548                                     1416     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00


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                    Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
KRISCHANOVICH, ELENA
3131 83 STREET
EAST ELMHURST, NY 11370                                1417     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SHEMANSKI, LINDSAY
4849 N. MICHIGAN AVE.
SAGINAW, MI 48604                                      1418     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MILLER, ALYSSA
503 EASTERN AVENUE
MARENGO, IA 52301                                      1419     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PURDY, BILL
20345 TAMARA PL.
SAUGUS, CA 91350                                       1420     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BALKIN, DANIEL JAMES
11006 GAITHER FARM RD
ELLICOTT CITY, MD 21042                                1421     11/5/2017     TK Holdings Inc.                         $3,055.31                                                                                     $3,055.31
TORRES, JOSE
10364 25TH ST
RANCHO CUCAMONGA, CA 91730                             1422     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SHOTTS, GREGORY
N6674 FROG HILL DRIVE
SPOONER, WI 54801                                      1423     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
AHMADPOUR, JALAL
2539 GUMTREE LN
FALLBROOK, CA 92028                                    1424     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HOLLARS, HOWARD J
3205 CAREY PLACE
MOORE, OK 73160                                        1425     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
PEREZ, DAVID
514 S WILLARD AVE #5
SAN JOSE, CA 95126                                     1426     11/5/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
HOLLARS, JASON M
5500 RESERVOIR RD
GEORGETOWN, CA 95634                                   1427     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HOLLARS, JANIE L
3205 CAREY PLACE
MOORE, OK 73160                                        1428     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FORD, STEPHEN
1010 N PHIPPS WOODS CT
GLEN MILLS, PA 19342                                   1429     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CLARK, LEE
3012 SE KELLY STREET
PORTLAND, OR 97202                                     1430     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LUKASZEWSKI, MARGARET
11 OVERLOOK ROAD
NANTICOKE, PA 18634                                    1431     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MULLINS, STEFIN KAY
1543 CLIFTON AVE
COLUMBUS, OH 43203                                     1432     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LUKASZEWSKI, CLEMENT
11 OVERLOOK ROAD
NANTICOKE, PA 18634                                    1433     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
YU, SANDY
2627 OAK VALLEY DRIVE, APT 208
ANN ARBOR, MI 48103                                    1434     11/5/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00



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                   Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
STAIERT, JENNIFER LEE
11012 S WHITETAIL LANE
OLATHE, KS 66061                                      1435     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DODD, RANDY
PO BOX 651
ROSEVILLE, CA 95661                                   1436     11/5/2017     TK Holdings Inc.                         $1,200.00                                                                                     $1,200.00
EVERHART, BRYAN
171 ALBERT STREET
HOMER CITY, PA 15748                                  1437     11/6/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
HREH, MUHANAD
4045 3RD AVE SOUTH
MINNEAPOLIS, MN 55409                                 1438     11/5/2017     TK Holdings Inc.                       $100,000.00                                                                                   $100,000.00
SCHNEIDER, RYAN
4640 MOUNT PARAN PARKWAY
ATLANTA, GA 30327                                     1439     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SHOEMAKER, JAY W.
306 INDIAN LAKES ROAD NW
SPARTA, MI 49345                                      1440     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SUMMERVILLE, DANIEL C
2026 BRANDON AVE
POLAND, OH 44514                                      1441     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BLAND, LARWENCE
9308 CHERRY HILL RD. #808
COLLEGE PARK, MD 20740                                1442     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MORGAN, NORMALIA
2860 BEAR VALLEY RD
CHULA VISTA, CA 91915                                 1443     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KLENNER, EDWARD E
23150 COLLINS ST
WOODLAND HILLS, CA 91367                              1444     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SANDERS, VINCENT EDWARD
6320 DALEBROOK DRIVE
NORTH CHESTERFIELD, VA 23234                          1445     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HEAPHY, GARY
14196 EASTVIEW DR.
FENTON, MI 48430                                      1446     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LONG, MELVIN
2111 BRANDYWINE RD APT 223
WEST PALM BEACH, FL 33409                             1447     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
JONES, CAROLYN
5357 BENITO ST
MONTCLAIR, CA 91763                                   1448     11/5/2017     TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
SCHNEIDER, RYAN A.
4640 MOUNT PARAN PARKWAY
ATLANTA, GA 30327                                     1449     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MEAUX, HARRIS
532 ENGLISH OAK DRIVE
MADISONVILLE, LA 70447                                1450     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CLARK, KEISLA
1657 ROBIN HOOD DRIVE
BURLINGTON, NC 27217                                  1451     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
JONES, KIMBERLY
2747 CROSSHAVEN WAY
CONROE, TX 77304                                      1452     11/5/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date         Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
COX, MARVA S
512 E MAIN
MULVANE, KS 67110‐1734                                  1453     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
BROWN, RADIAH
15172 SW 156TH STREET
MIAMI, FL 33187                                         1454     11/5/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HUGHES, GLENN
505 MAPLE ST.
OREGON, MO 64473                                        1455     11/5/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
SPRATT, PAUL
PO BOX 580845
ELK GROVE, CA 95758                                     1456     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MCGINNESS, THOMAS LEE
9802 LONGSTONE LN
CHARLOTTE, NC 28277                                     1457     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
FAMILY MORTGAGE COMPANY OF HAWAII INC
762 KANOELEHUA AVE
HILO, HI 96720                                          1458     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
PEARSON, ANDREA
6618 WESTMORELAND AVE.
TAKOMA PARK, MD 20912                                   1459     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
BOARDLEY, GRETTA
11 LEE AVE.
HOPELAWN, NJ 08861                                      1460     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
GLOVER‐STATEN, MESHANDRA
P O BOX 43124
JACKSONVILLE, FL 32203                                  1461     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
BROUGH, CRYSTAL
36 EAST BLAINE STREET
LANSDALE, PA 19446                                      1462     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
JOHNELL L. SCHRUPP (ESTATE OF JOHNELL SCHRUPP)
10505 48TH AVENUE NORTH
PLYMOUTH, MN 55442                                      1463     11/1/2017     TK Holdings Inc.                          $500.00                                                                                       $500.00
MATEYUNAS, WILLIAM
39 CAIRO AVE
NORTHPORT, NY 11768                                     1464     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MURRAY, ELLENMARIE
19040 PILKINGTON RD
LAKE OSWEGO, OR 97035                                   1465     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MALLETT, EDDIE
5635 SCHAFER RD.
LANSING, MI 48911                                       1466     11/1/2017     TK Holdings Inc.                                                $0.00                                 $0.00                               $0.00
MCCUBBIN, JAMES D
3804 SUGAR PINE LANE
ZIONSVILLE, IN 46077                                    1467     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HICKS, MARVIN LAMONT LEE
3301 WEST 104TH ST. APT. 1
INGLEWOOD, CA 90303                                     1468     11/1/2017     TK Holdings Inc.                                                $0.00                                 $0.00                               $0.00
BEKEREDJIAN, HARRY HRACH
20260 STAGG ST
WINNETKA, CA 91306                                      1469     11/6/2017     TK Holdings Inc.                                                $0.00                                                                     $0.00
RENDA, TODD R.
4913 61ST AVE CT WEST
UNIVERSITY PLACE, WA 98467                              1470     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00



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                                                                                                                                                 Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                 Amount                                                   Amount
SCHAFER, BRENT
1400 SW SCHAEFFER RD
WEST LINN, OR 97068                                            1471     11/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BURKS, JOSEPH E.
JOSEPH & CHANDA BURKS
2770 S. ELMIRA STREET, TOWNHOUSE 4
DENVER, CO 80231                                               1472     11/1/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
RIOS, RAFAEL
4811 N. OLCOTT AVE
UNIT 611
HARWOOD HEIGHTS, IL 60706                                      1473     11/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MCALEER, SUSAN KATHERINE
2211 SPRUCE ST.
PORT TOWNSEND, WA 98368                                        1474     11/6/2017          TK Holdings Inc.                                                                   $0.00                                                   $0.00
CARTER, TONY M.
107 3RD AVE. N.
ST. JAMES, MN 56081                                            1475     11/1/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
GERMANY, TOMMY
13055 S MASON AVENUE
PALOS HEIGHTS, IL 60463                                        1476     11/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BRUM, CATHERINE E
133 HOLLYHOCK CT
HERCULES, CA 94547                                             1477     11/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
SIMMONS, TRACY
BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
CHRISTOPHER D. GLOVER
218 COMMERCE ST
MONTGOMERY, AL 36104                                           1478     11/2/2017          TK Holdings Inc.                       $200,000.00                                                                                   $200,000.00
FAVRE, HEATHER
309 W. SOUTH ST.
WELSH, LA 70591                                                1479     11/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
THOMAS, PERPETUA MARY
11700 W. CHARLESTON BLVD. #170‐145
LAS VEGAS, NV 89135                                            1480     11/1/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
JAMES, JAQUISE
2885 PITZER CIRCLE
WEST SACRAMENTO, CA 95691                                      1481     11/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
DEPARTMENT OF THE TREASURY ‐ INTERNAL REVENUE SERVICE
P.O. BOX 7346
PHILADELPHIA, PA 19101‐7346                                    1482     11/6/2017   Takata Protection Systems Inc.                      $0.00                                                                                         $0.00
BEAUREGARD, RENE J
8187 SANFORDS CREEK DR.
COLFAX, NC 27235                                               1483     11/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
FEG HOLDINGS LLC
1739 CHESHIRE BRIDGE RD
ATLANTA, GA 30324                                              1484     11/6/2017          TK Holdings Inc.                       $100,000.00                                                                                   $100,000.00
WILLIAMS, AUSTIN
611 S. WATER ST.
WARREN, IL 61087                                               1485     11/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
KASSNER, MARK A
8 MARIA COURT
REXFORD, NY 12148                                              1486     11/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
ACEVES MEDINA, RODRIGO ANTONIO
1730 MINNESOTA AVE
BRENTWOOD, CA 94513                                            1487     11/6/2017          TK Holdings Inc.                                                $0.00                                                                      $0.00


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                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                   Amount                                                  Amount
HARRIS, E.
3104 ABBEY DRIVE SW
ATLANTA, GA 30331                                     1488     11/1/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
PRICE, VALERIE A.
76 PARK VIEW ROAD S
POUND RIDGE, NY 10576                                 1489     11/1/2017     Takata Americas                              $0.00                                                                                        $0.00
CROSSCON INDUSTRIES
ART ARGEROS
2889 BOND STREET
ROCHESTER HILLS, MI 48309                             1490     11/1/2017     TK Holdings Inc.                             $0.00                                                    $0.00                               $0.00
KASSNER, EILEEN B
8 MARIA COURT
REXFORD, NY 12148                                     1491     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
WITTMAN, ROBERT
622 INDIANA ST
LAWRENCE, KS 66044                                    1492     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
SANDERS, JAMU KIMYAKKI
8380 ROCKY RIVER ROAD
HARRISBURG, NC 28075                                  1493     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MOON, MARY
P.O. BOX 345
OCEAN SHORES, WA 98569                                1494     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
FARES, ANNE M
1669 PEPPER DRIVE
EL CAJON, CA 92021                                    1495     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
CARTER, ANITA
3916 W. 112TH ST #B
INGLEWOOD, CA 90303‐2604                              1496     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
THOMPSON, LORNE
4421 CORKWOOD CT
CONCORD, CA 94521                                     1497     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
WILLIAMS, JAMES
1311 14TH ST DR NE
HICKORY, NC 28601                                     1498     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
GANTZER, JOHN
14 JAY BIRD LOOP
LOS LUNAS, NM 87031                                   1499     11/1/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
LYONS, DANIELLE
248 CROMBIE STREET
HUNTINGTON STATION, NY 11746                          1500     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
LAWRENCE, BILLY GLENN
3107 S CHATSWORTH CIR
MESA, AZ 85212                                        1501     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
WRIGHT, DONECIA
6242 N. CECELIA #101
FRESNO, CA 93722                                      1502     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HUNTINGTON, NANCIE
17646 KINGSTON WAY
CASTRO VALLEY, CA 94546                               1503     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MOHAMMED, MOSES
PO BOX 227
BOTSFORD, CT 06404                                    1504     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MURPHY, JOYCE TYRRELL
16831 SADDLEWOOD TRAIL
MINNETONKA, MN 55345‐2671                             1505     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00


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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                              Amount                                                  Amount
STRIETER, FREDERICK J
7814 FALLMEADOW LANE
DALLAS, TX 75248‐5328                                  1506     11/6/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
FARES, ANNE MARIE
1669 PEPPER DRIVE
EL CAJON, CA 92021                                     1507     11/6/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
DOOLEY, JOANN
2546 MILBOURNE DR
PORT NORRIS, NJ 08349                                  1508     11/6/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
RANGE, PATRICIA
60 MULLIS ST
FAIRBURN, GA 30213                                     1509     11/6/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
DEMATTIA, ROBERT S
110 LOWELL RD #207
NORTH READING, MA 01864                                1510     11/6/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
TRAWICK, FELICIA
401 CENTURY 21 DR APT G31
JACKSONVILLE, FL 32216                                 1511     11/6/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
TOOR, HARINDER S.
1017 N CANYON DR.
MODESTO, CA 95351                                      1512     11/6/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
KOSTEN, ILYA
1223 S. ROXBURY DRIVE #204
LOS ANGELES, CA 90035                                  1513     11/6/2017              Takata Americas                                                  $0.00                                                                     $0.00
BARTON, RONALD
4736 LOLLY DRIVE
MONROEVILLE, PA 15146                                  1514     11/6/2017              TK Holdings Inc.                                                 $0.00                                                                     $0.00
KOSTEN, ILYA
1223 S. ROXBURY DRIVE #204
LOS ANGELES, CA 90035                                  1515     11/6/2017   TK Holdings de Mexico S. de R.L. de C.V.                                    $0.00                                                                     $0.00
DOOLEY, JOANN
2546 MILBOURNE DR
PORT NORRIS, NJ 08349                                  1516     11/6/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
RIEGLER, RICHARD
37810 S ROLLING HILLS DR
TUCSON, AZ 85739‐1069                                  1517     11/6/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
DILATUSH, JOHN
4341 WINSLOW CT
BELLINGHAM, WA 98226                                   1518     11/6/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
OMALLEY, CARYN
38 DEACONS WAY
NEW CANAAN, CT 06840                                   1519     11/6/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
MICHNEVICH, CORENA
8471 OLD OAK ROAD
WINDSOR, CA 95492                                      1520     11/6/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
STERLING SPRING CORP
ANNE F.
5432 W 54TH STREET
CHICAGO, IL 60638                                      1521     11/6/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
YOUNG, DUANE
4610 ALTURA ST
EUGENE, OR 97404                                       1522     11/6/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
SIMS, KAREN
21620 CLYDE AVE.
SAUK VILLAGE, IL 60411                                 1523     11/6/2017              TK Holdings Inc.                                                 $0.00                                                                     $0.00


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                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                   Amount                                                  Amount
RANGE, PATRICIA
60 MULLIS ST
FAIRBURN, GA 30213                                    1524     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
JOHNSON, SHANTRELL
1545 FOY STREET #7021
NEW ORLEANS, LA 70122                                 1525     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
RANGE, LORENZO
60 MULLIS ST
FAIRBURN, GA 30213                                    1526     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
RANGE, PATRICIA
60 MULLIS ST
FAIRBURN, GA 30213                                    1527     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
KOSTEN, MARINA TALESNIK
1223 S. ROXBURY DRIVE #240
LOS ANGELES, CA 90035                                 1528     11/6/2017     TK Holdings Inc.                                                $0.00                                                                     $0.00
CARDENAS, MICHELLE
2202 MORTIMER ST.
HUNTINGTON PARK, CA 90255                             1529     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
ALLEN, ROXANNE S
1225 LASALLE AVENUE
#1402
MINNEAPOLIS, MN 55403                                 1530     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
WHITE, JACQUES
4222 WEST SLAUSON AVENUE
LOS ANGELES, CA 90043                                 1531     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MICHELE AND MALCOLM MCBEE
1816 ROBERTS AVE.
GULFPORT, MS 39501                                    1532     11/6/2017     TK Holdings Inc.                                                $0.00                                                                     $0.00
CHOW, RANDALL
1930 BAROSSA DR
SAN RAMON, CA 94582                                   1533     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
RANGE, LORENZO
60 MULLIS ST
FAIRBURN, GA 30213                                    1534     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
RANGE, TOMIKA
60 MULLIS ST
FAIRBURN, GA 30213                                    1535     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
GALLAGHER, JOE
415 13TH STREET SW
PUYALLUP, WA 98371                                    1536     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
HEITMEYER, STEPHANIE
1240 JOSHUA STREET
DELPHOS, OH 45833                                     1537     11/6/2017     TK Holdings Inc.                          $100.00                                                                                       $100.00
RANGE, LORENZO
60 MULLIS ST
FAIRBURN, GA 30213                                    1538     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
BANDI, SRILATHA
9676 KATHLEEN DR
CYPRESS, CA 90630                                     1539     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
MEDINA, SYLVIA
CHRISTENSEN LAW OFFICES, LLC
1000 S. VALLEY VIEW BLVD
LAS VEGAS, NV 89107                                   1540    10/30/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
SHUBERT, CHRISTINE
821 WESLEY AVENUE
OCEAN CITY, NJ 08226                                  1541     11/6/2017     TK Holdings Inc.                             $0.00                                                                                        $0.00
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                                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                       Amount                                                     Amount
KOSTEN, ILYA
1223 S. ROXBURY DRIVE #204
LOS ANGELES, CA 90035                                     1542     11/6/2017     TK Holdings Inc.                                                  $0.00                                                                      $0.00
SAMUELS, TIFFANY A
2122 E COLUMBIA ST
SEATTLE, WA 98122                                         1543     11/6/2017     TK Holdings Inc.                              $0.00                                                                                          $0.00
EVANS, JACQUELINE
432 LITTLE I‐20RD
LAWRENCE, MS 39336                                        1544     11/6/2017     TK Holdings Inc.                              $0.00                                                                                          $0.00
THOMAS, ROBERT D
28638 VISTA MADERA
RANCHO PALOS VERDES, CA 90275                             1545     11/6/2017     TK Holdings Inc.                              $0.00                                                                                          $0.00
FREEMAN, DAVID
14247 55TH AV S
TUKWILA, WA 98168                                         1546     11/6/2017     TK Holdings Inc.                                                  $0.00                                  $0.00                               $0.00
GRIGORYAN, HAYK
123 WHITMAN RD
WALTHAM, MA 02453                                         1547     11/6/2017     TK Holdings Inc.                              $0.00                                                                                          $0.00
LEWIS, IAN
2603 WINDSOR AVE
ALTADENA, CA 91001                                        1548     11/6/2017     TK Holdings Inc.                              $0.00                                                                                          $0.00
ROBERTS, KEVIN
7344 BLOOMINGTON AVE
RICHFIELD, MN 55423                                       1549     11/6/2017     TK Holdings Inc.                              $0.00                                                                                          $0.00
SMITH, GUANESSA
541 HINSON DRIVE 538
MYRTLE BEACH, SC 29579                                    1550     11/6/2017     TK Holdings Inc.                              $0.00                                                                                          $0.00
RUBI, PAUL D.
960 VALLEY STREAM DR.
PINGREE GROVE, IL 60140                                   1551     11/6/2017     TK Holdings Inc.                              $0.00                                                                                          $0.00
GOLDEN, MARK
3958 ARBOLEDA DR.
COLLEGE STATION, TX 77845                                 1552     11/6/2017     TK Holdings Inc.                              $0.00                                                                                          $0.00
FERRER, CHRISTIAN
W. HAMPTON KEEN / CLARK FOUNTAIN LAVISTA PRATHER
KEEN & LITTKY‐RUBIN
1919 N. FLAGLER DRIVE, 2ND FLOOR
WEST PALM BEACH, FL 33407                                 1553     11/1/2017     TK Holdings Inc.                      $10,000,000.00                                                                                $10,000,000.00
EASTSIDE WELDING & FABRICATION INC.
JOHN STOWERS
10828 RD. 5.2.NE
MOSES LAKE, WA 98837                                      1554     11/6/2017     TK Holdings Inc.                              $0.00                                                                                          $0.00
SANKO MEXICO S.A. DE C.V.
MR. PEDRO ELIZONDO
BLVD APODACA 600‐A
TECHNOLOGY PARK
APODACA, NL 66600
MEXICO                                                    1555     11/1/2017     TK Holdings Inc.                                                                     $0.00               $0.00                               $0.00
BLUITT, MANUEL
1907 HEMLOCK ST.
TOMBALL, TX 77375                                         1556     11/6/2017     TK Holdings Inc.                              $0.00                                                                                          $0.00
NOSANCHUK, JOEL
28400 NORTHWESTERN HWY STE 200
SOUTHFIELD, MI 48034‐8348                                 1557     11/1/2017     TK Holdings Inc.                              $0.00                                                                                          $0.00



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                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
KASSIS, LORENE
5706 N. MOZART ST.
CHICAGO, IL 60659                                     1558     11/6/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WITHERELL, VICTORIA
630 OUTLOOK AVE.
CHESHIRE, MA 01225                                    1559     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WITHERELL, VICTORIA
630 OUTLOOK AVE.
CHESHIRE, MA 01225                                    1560     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HUBBART, SUSAN MICHELLE
19270 PATILLO RD
MOUNT VERNON, AL 36550                                1561     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BAEZ COLON, ERICA
1035 TOWNSHIP CIRCLE
ALPHARETTA, GA 30004                                  1562     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SMITH, KAREN B
447 PROBACO RD
EAST WINDSOR, NJ 08520                                1563     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MAZZA, BIAGIO
10513 CLEVELAND AVE.
KANSAS CITY, MO 64137                                 1564     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ROBBINS, MATTHEW STEPHEN
1628 BACON AVE
PORTAGE, MI 49002                                     1565     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KOTHARI, NAVNEET K.
215 OLD COUNTRY RD
DEER PARK, NY 11729                                   1566     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BERGANDER, LINN LEW
791 POLK ST.
EUGENE, OR 97402                                      1567     11/1/2017     TK Holdings Inc.                          $500.00                                                                                        $500.00
ARROYO, EDWARD
1242 TORERO DRIVE
OXNARD, CA 93030                                      1568     11/6/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HAMILTON, DARRELL
3020 MOUNT VERNON AVE
EVANSVILLE, IN 47712‐5826                             1569     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
NEUHAUS, EDWARD
133 TWO TAVERNS RD
LITTLESTOWN, PA 17340                                 1570     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SHUGART, ANNA E
2457 PARKER PLACE
HONOLULU, HI 96822                                    1571     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
OSTRAND, CRIS
150 MONASTERY HILL DRIVE
OCONOMOWOC, WI 53066                                  1572     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SCOTT, CHARLES M
4309 NORMANDY AVENUE
DALLAS, TX 75205                                      1573     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DEWITT, MARILYN
2538 CHELSEA DRIVE
TROY, MI 48084                                        1574     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FUAMATU, IUTA
2937 E COOLIDGE ST
LONG BEACH, CA 90805                                  1575     11/7/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00



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                                                                                                                Current General                                          Current 503(b)(9)
                                                                                                                                   Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
JONES, TANYA
820 CIMA VISTA PT
COLORADO SPRINGS, CO 80916                             1576     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
TORMEY, DOLORES
20 REDWOOD LANE
RINGWOOD, NJ 07456                                     1577     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FAUNCE, SHARON LYNN
PO BOX 312
CARROLLTON, VA 23314                                   1578     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
EWING, CHRISTOPHER
9 WOODCREST DRIVE
ABERDEEN, MS 39730                                     1579     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
OLEARY, KELLEY
344 PONCE DE LEON AVE
VENICE, FL 34285                                       1580     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MONIKAS AUTO TRIM
12 MARKET STREET
KITCHENER, ON N2K 1H2
CANADA                                                 1581     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MARQUARDT SWITCHES
HANCOCK ESTABROOK, LLP
ATTN: R. JOHN CLARK
1500 AXA TOWER I
100 MADISON STREET
SYRACUSE, NY 13202                                     1582     11/1/2017     TK Holdings Inc.                                                                                       $0.00                               $0.00
SMITH, JACK D.
12415 E 128TH ST N
COLLINSVILLE, OK 74021                                 1583     11/7/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
MATTOX, TONYA
214 MARY'S AVE
FLEMINGSBURG, KY 41041                                 1584     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BLESSING, CONSTANCE L.
1647 RICE AVENUE
TITUSVILLE, FL 32796                                   1585     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BAKER, SARAH L.
950 SCHILLER AVENUE
LOUISVILLE, KY 40204                                   1586     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LIGHT, VALARY
11507 HEATHERMILL
HOUSTON, TX 77066                                      1587     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MARQUARDT GMBH
HANCOCK ESTABROOK, LLP
ATTN.: R. JOHN CLARK, ESQ.
1500 AXA TOWER 1, 100 MADISON ST.
SYRACUSE, NY 13202                                     1588     11/1/2017     TK Holdings Inc.                                                                                       $0.00                               $0.00
NERISON, DIANE K
196 N SOLMAR DR
SEQUIM, WA 98382                                       1589     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
VERNER, ALEXANDER
2037 CASTRO ST.
SAN FRANCISCO, CA 94131                                1590     11/7/2017     TK Holdings Inc.                        $50,000.00                                                                                    $50,000.00
FERNANDEZ, KIMBERLY
802 S. BURKETT AVE
STOCKTON, CA 95205                                     1591     11/7/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00



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                                                                                                               Current General                                          Current 503(b)(9)
                                                                                                                                  Current Priority   Current Secured                         Current Admin    Total Current
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                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
HUTSON, ROBERT C
309 N RIDGEVIEW DRIVE
WARRENSBURG, MO 64093                                 1592     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GUIDRY, JASON
2706 KATHERINE ST
LA MARQUE, TX 77568                                   1593     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BRODRICK, DAVID
825 PALM OAK DRIVE
APOPKA, FL 32712                                      1594     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BALVIN, SHEILA M
12001 N 162ND STREET
WAVERLY, ME 68462                                     1595     11/1/2017     TK Holdings Inc.                                                $0.00              $0.00               $0.00                               $0.00
LEIBINGER, JUDITH A.
3612 FAIRHILLS DR.
OKEMOS, MI 48864                                      1596     11/1/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MASEK, LEONARD F
1535 MCCAUSLAND DRIVE
HUDSON, OH 44236                                      1597     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WENNERBERG, ERNEST W
711 ALMAR AVE.
PACIFIC PALISADES, CA 90272                           1598     11/2/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
POLK, AHMAD
2721 N. DORGENOIS ST.
NEW ORLEANS, LA 70117                                 1599     11/2/2017     TK Holdings Inc.                             $0.00              $0.00              $0.00               $0.00                               $0.00
LOWE, REGINALD
2601 E. VICTORIA ST
SPC. 235
RANCHO DOMINGUEZ, CA 90220                            1600     11/7/2017     TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
ALCALA, JAVIER
6585 YOUNGSTOWN ST
CHINO, CA 91710                                       1601     11/7/2017     TK Holdings Inc.                                                $0.00                                  $0.00                               $0.00
BAMFORD, VALERIE
6165 LAKE LIZZIE DR
HARMONY, FL 34771                                     1602     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WILLIAMS, THOMAS
19 EMS B20A LANE
PIERCETON, IN 46562                                   1603     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LOARING, ESTHER A
529 ESTHER WAY
REDLANDS, CA 92373                                    1604     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DREW, ROBERT
3128 STEVENS CIRCLE S.
ERIE, CO 80516                                        1605     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CROTTY, DENNIS E
7208 NE 62 AVE
VANCOUVER, WA 98661                                   1606     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KENNARD, DAVID
225 RHONDA WAY
MILL VALLEY, CA 94941                                 1607     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BENITEZ, MARCO ADRIAN
11640 MAPLEDALE ST.
NORWALK, CA 90650                                     1608     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LANDIS, GREGORY P
203 SILVER LEAF RIDGE
HARRISBURG, PA 17110                                  1609     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00


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                                                                                                                                Current Priority   Current Secured                         Current Admin    Total Current
                 Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                 Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                 Amount                                                   Amount
SCHULTZ, DOUGLAS R.
2991 HARLOW ROAD
EUGENE, OR 97401                                    1610     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SMITH, ERNEST M.
7539 DICKENSON PLACE
PHILADELPHIA, PA 19153                              1611     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MANSFIELD, JOHN
1135 DUBLIN CT
WILLIAMSTOWN, NJ 08094                              1612     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
YARWOOD, LISA AND SCOTT
3520 GALLANT FOX DR.
ELGIN, IL 60124                                     1613     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WILSON, LUCINDA
450 N HIBBERT APT 207
MESA, AZ 85201                                      1614     11/2/2017     TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
WILK, CHARLES
1212 FEDERAL AVE EAST
SEATTLE, WA 98102                                   1615     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LAWSON, GREGORY
7511 GREENBROOK DRIVE
GREENBELT, MD 20770                                 1616     11/7/2017     TK Holdings Inc.                          $500.00               $0.00                                                                    $500.00
RAWLS, KAREN
2761 ROBERTSON ST.
RAMONA, CA 92065                                    1617     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GRACA, DIANE
258 OLYMPIC ROAD
SOMERSET, MA 02726                                  1618     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WERTZ, KURT J
2100 HARVARD AVE
WILLIAMSPORT, PA 17702                              1619     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
BARBER, DERRICK
4201 KILBOURNE DRIVE
FORT WASHINGTON, MD 20744                           1620     11/2/2017     TK Holdings Inc.                             $0.00                                 $0.00               $0.00                               $0.00
LIU, MICHAEL
12249 SPLIT REIN DR
RANCHO CUCAMONGA, CA 91739                          1621     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
HATTON, PAUL F.
8128 CASEY COURT
ELKRIDGE, MD 21075                                  1622     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MATHES, ANGELA M.
1210 WALKER ST.
FLINT, MI 48503                                     1623     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
CECE, ANTHONY
24 FAIRWAY AVE
W. LONG BRANCH, NJ 07764                            1624     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MADDEN, ANGELA DIONNE
3200 CATHLINDA DRIVE
WINFIELD, KS 67156                                  1625     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SCHOCK, THOMAS CRAIG
11986 NORTH MEADOW CURVE
LINDSTROM, MN 55045                                 1626     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GREER, EUGENE L.
480 NW CASANOVA CIRCLE
PORT ST. LUCIE, FL 34986                            1627     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                              Current Priority   Current Secured                         Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date                   Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                               Amount                                                   Amount
WESTERLUND, MICHAEL
6285 LINKYTHORN LN.
CLARKSVILLE, MD 21029                                   1628     11/2/2017              TK Holdings Inc.                                                 $0.00                                  $0.00                               $0.00
HUMPHREY, DONISHA
11623 1ST AVE S.
BURIEN, WA 98168                                        1629     11/7/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
WARREN, TYRONE
780 BRIARBRAE DRIVE
ST LOUIS, MO 63138                                      1630     11/7/2017              TK Holdings Inc.                                                 $0.00              $0.00               $0.00                               $0.00
THORNTON, HOWARD EDWARD
30399 PAVILION DRIVE
UNIT 1304
OCEAN VIEW, DE 19970                                    1631     11/2/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
FUJII, DENISE
91‐2048 LAAKONA PLACE
EWA BEACH, HI 96706                                     1632     11/3/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
COLON, ANGEL
4703 LANSING STREET
PHILADELPHIA, PA 19136                                  1633     11/3/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
JOST CHEMICAL COMPANY
DANNA MCKITRICK, P.C.
A. THOMAS DEWOSKIN
7701 FORSYTH BLVD., SUITE 800
ST. LOUIS, MO 63105                                     1634     11/2/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
SCHLICK, DENNIS E.
10771 RETREAT LANE
APT. N105
WOODBURY, MN 55129‐6918                                 1635     11/2/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
SCHAEFER, KORI ANN
NO ADDRESS ON FILE
                                                        1636     11/7/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
GOLDMAN, ARNETTA
80 WATERVIEW AVE
MASSAPEQUA, NY 11758                                    1637     11/2/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
AHIKPO, KATIE
745 W. E ST APT 105
LINCOLN, NE 68522                                       1638     11/7/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
AGATSTEIN, EUGENIA M
PO BOX 2644
COVINA, CA 91722                                        1639     11/7/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
MADUKA, BENJAMIN O.
2625 SOUTHLAWN DR. N.
MAPLEWOOD, MN 55109                                     1640     11/2/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
KERNS, HEIDI
5468 OLD GRIFFIN ROAD
CHESNEE, SC 29323                                       1641     11/2/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
DEAN, SAMANTHA MARIE
2787 FIVE MILE ROAD
ALLEGANY, NY 14706                                      1642     11/7/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
DELAHANTY, MICHAEL J
4833 N KEELER AVE
CHICAGO, IL 60630                                       1643     11/7/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
BAILEY, CHARLES S.
70 GREEN STREET
CANTON, MA 02021                                        1644     11/2/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                         $0.00


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                                                                                                                 Current General                                          Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                         Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
THE DEBRA A. OUTWATER TRUST
1121 DURANGO DRIVE
LANSING, MI 48917                                       1645     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ROMAN, JASON
1674 LA BONITA WAY
CONCORD, CA 94519                                       1646     11/2/2017     TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
RAYBON, JENNIFER
13126 TRACEWOOD DRIVE B
GULFPORT, MS 39503                                      1647     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
USAA
9800 FREDICKSBURG RD
SAN ANTONIO, TX 78288                                   1648     11/2/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
MARCIANO, PETER
2485 W.WIGWAM AVE.#93
LAS VEGAS, NV 89123                                     1649     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
SMITH, SUSAN M.
1256 E. AVENIDA KINO
CASA GRANDE, AZ 85122‐1000                              1650     11/2/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
SIGALA, CARLY
421 FIRST
ISHPEMING 49849                                         1651     11/2/2017     TK Holdings Inc.                                                $0.00              $0.00               $0.00                               $0.00
KOPP, DENISE
21749 CANTERBURY AVENUE
GROSSE ILE, MI 48138                                    1652     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ITANI, RAJA
27 SILVER SADDLE LANE
ROLLING HILLS ESTATES, CA 90274                         1653     11/2/2017     TK Holdings Inc.                                                $0.00                                  $0.00                               $0.00
POLLARD, TIMOTHY C
C.E. POLLARD
13575 AUBURN ST
DETROIT, MI 48223                                       1654     11/2/2017     TK Holdings Inc.                                                                   $0.00               $0.00                               $0.00
A.V. GAUGE & FIXTURE INC
4000 DELDUCA DRIVE
OLDCASTLE, ON NOR 1LO
CANADA                                                  1655     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GRAGIRENE, MORRISA
449 MAIN ST APT 17
HAVERHILL, MA 01830                                     1656     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
GARCIA, PRENDINELLYS
145 EAST 27TH STREET, 1A
NEW YORK, NY 10016                                      1657     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
KEYES, ALBERT
5323 BLANEY WAY
DALLAS, TX 75227                                        1658     11/3/2017     TK Holdings Inc.                        $46,000.00                                                                                    $46,000.00
HINES, STEPHEN L.
1290 LAGRANGE DOWNS RD.
CORDOVA, TN 38018                                       1659     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ROMANI, CHARLOTTE
2 VIOLA CIRCLE
SEABROOK, NH 03874                                      1660     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MCLEAN, JACQUELINE
1031 N. KENWOOD AVE.
BALTIMORE, MD 21205                                     1661     11/2/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
DEFUSCO, LEOPOLD P.
35 CATHERINE STREET
TRUMBULL, CT 06611                                      1662     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
MYERS, MICHAEL K.
4 QUAIL RUN RD.
SANFORD, ME 04073                                      1663     11/3/2017     TK Holdings Inc.                                                $0.00                                                                      $0.00
HOUGH‐WOODS, BRIDGETTE
3675 FIDDLERS GLENN COURT
WINSTON SALEM, NC 27127                                1664     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
YANCEY, TYLA
475 PULASKI PL.
DALLASTOWN, PA 17313                                   1665     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
ROSE, KENTON R.
1535 WOODLARK DRIVE
NORTHBROOK, IL 60062                                   1666     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FRANKLIN, BRAD
23535 EHLERS DR.
CHATSWORTH, CA 91311                                   1667     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MAY, DIANNA
7206 BEATY AVE
FORT WAYNE, IN 46809                                   1668     11/3/2017     TK Holdings Inc.                                                                   $0.00                                                   $0.00
RAMOS, ANDREA
252 MASSOLO COURT
SALINAS, CA 93907                                      1669     11/3/2017     TK Holdings Inc.                        $10,000.00                                                                                    $10,000.00
RANDI KISH & JOSEPH LEVINE
520 W. 110 ST.
APT. 4C
NEW YORK, NY 10025                                     1670     11/3/2017     TK Holdings Inc.                          $952.05                                                                                        $952.05
WARREN, MICHAEL
491 CR 3348
CLARKSVILLE, AR 72830                                  1671     11/3/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
XP VEHICLES GROUP
601 VAN NESS AVE, SUITE E3613
SAN FRANCISCO, CA 94102                                1672     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
JANCZAREK, ANNA
3446 N HARLEM AVE #1
CHICAGO, IL 60634                                      1673     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
JOHNSON, SHARON
3462 HUNTERWOOD DR
COLORADO SPRINGS, CO 80916                             1674     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
FERGUSSON, CHRISTINE
2023 11TH ST.
ROCK ISLAND, IL 61201                                  1675     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LAWLEY, DEIDRE
2816 HALEY STREET
BAKERSFIELD, CA 93305                                  1676     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
MORA, VINCENT
709 ROUND HILL DR
MERCED, CA 95348                                       1677     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
WAGNER, STANLEY E
17685 SEVILLE AVE.
FONTANA, CA 92335                                      1678     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00
LIM, EDEN L.
6933 SHEPHERD CANYON RD.
OAKLAND, CA 94611                                      1679     11/7/2017     TK Holdings Inc.                             $0.00                                                                                         $0.00




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                                                                                                               Current General                                           Current 503(b)(9)
                                                                                                                                   Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date         Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                    Amount
VAKHSHOURI, ARASH
C/O JEREMY POINTE RENTALS
ATTN: CASS DEWEY KETNER, COUNSELOR
10528 JEREMY POINTE AVE.
LAS VEGAS, NV 89144                                   1680     11/7/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
SASSENBERG, JAN P.
138 OTAY AVE.
SAN MATEO, CA 94403                                   1681     11/8/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
MIZRAHI, MARK
19 DARIEN DRIVE
WEST LONG BRANCH, NJ 07764                            1682     11/8/2017     TK Holdings Inc.                         $1,000.00                                                                                      $1,000.00
MICHAEL, THOMAS WILLIAM
2868 NW CROSSING DR.
APT. 102
BEND, OR 97703                                        1683     11/7/2017     TK Holdings Inc.                      $1,000,000.00                                                                                 $1,000,000.00
ELQUZA, SAMI
12902 REINDEER COURT
RIVERSIDE, CA 92503                                   1684     11/8/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
RIVERA, VANESSA
20426 SATICOY ST. #38
WINNETKA, CA 91306                                    1685     11/8/2017     TK Holdings Inc.                                                 $0.00              $0.00                                                   $0.00
KAHNIS, KEVIN
1251 MANZANITA DR
EL CENTRO, CA 92243                                   1686     11/8/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
NELSON, JANET
18862 JEWELL RD
COTTONWOOD, CA 96022                                  1687     11/8/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
FORTENBERRY, JEFFREY
313 BREEMEN CIRCLE
LAFAYETTE, LA 70508                                   1688     11/8/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
CARANGI, MATTHEW
319 HALL ST
PHOENIXVILLE, PA 19460                                1689     11/8/2017     TK Holdings Inc.                           $500.00                                  $0.00                                                 $500.00
SPRATT, SCOTT
39 NEW MASHIPACONG RD
MONTAGUE, NJ 07827                                    1690     11/8/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
SPRATT, SCOTT F
39 NEW MASHIPACONG RD.
MONTAGUE, NJ 07827                                    1691     11/8/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
STONE HILL CONTRACTING LLC
6950 146TH ST. W. #124
APPLE VALLEY, MN 55124                                1692     11/8/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
SPRATT, SCOTT F
39 NEW MASHIPACONG RD
MONTAGUE, NJ 07827                                    1693     11/8/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
TOOLCRAFT
140 GRANGER STREET
RUTLAND, VT 05701                                     1694     11/8/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
SPIRE, GREGORY
1421 W THOME APT 2S
CHICAGO, IL 60660                                     1695     11/8/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00
BENNETT, MICHELLE M.
4890 SHERIDAN STREET
HOLLYWOOD, FL 33021                                   1696     11/8/2017     TK Holdings Inc.                             $0.00                                                                                          $0.00



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                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
PAR‐10 COMPANIES
6950 146TH ST. W. #124
APPLE VALLEY, MN 55124                                1697     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RABBITT, MARY M
91 W. PROSPECT ST.
HOPEWELL, NJ 08525                                    1698     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SALTER, AUNDREA LATRICE
400 BIRCHALL LANE
UNIT 302
HOOVER, AL 35226                                      1699     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GRECO, ELEANOR
26 MARTIN ROAD
HOPEWELL JUNCTION, NY 12533                           1700     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ZGRAGGEN, DEBORAH ANNE
3050 MULLINEAUX LN.
ELLICOTT CITY, MD 21042‐2152                          1701     11/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PANDYA, SANDEEP
1226 GRANITE SPRINGS DRIVE
CHULA VISTA, CA 91915                                 1702     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MURRAY, RUSSELL E
3710 W CANYON LAKES DR
APT E‐104
KENNEWICK, WA 99337                                   1703     11/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GALLEGOS, MICHAEL A.
235 W. BUCHANAN RD
APT 66
PITTSBURG, CA 94565                                   1704     11/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BAILEY, RICHARD T
444 MISTY LANE
BOAZ, AL 35956‐5752                                   1705     11/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DRISCOLL, LISA
357 CLARESCASTLE WAY
VACAVILLE, CA 95688                                   1706     11/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
JACKSON, WARREN J.
715 BIRCHWOOD RD.
SAVANNAH, GA 31419                                    1707     11/3/2017      TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
MANN, CHRISTOPHER ANTWOINE
953 ROLLING GREEN DRIVE
ROCK HILL, SC 29730                                   1708     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LINCOLN, LARISSA
28311 18TH AVE S UNIT A102
FRDERAL WAY, WA 98003                                 1709     11/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GARCIA, JULIETA V
3208 ORTHELLO WAY
SANTA CLARA, CA 95051‐3762                            1710     11/3/2017      TK Holdings Inc.                          $300.00                                                                                        $300.00
BELL, AUDRIENE
3210 ADAMS
APT 203
AUBURN HILL, MI 48336                                 1711     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ABEL, KELLY
118 LAKEVIEW COURT
PIERRE, SD 57501                                      1712     11/4/2017      TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
BROOKS, LAMONTE
24284 CABRILLO ST
VALENCIA, CA 91355                                    1713     11/4/2017      TK Holdings Inc.                                                $0.00              $0.00               $0.00                               $0.00


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                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
MCINROY, KEVIN
5212 32ND ST. N
ARLINGTON, VA 22207                                    1714     11/3/2017      TK Holdings Inc.                         $3,000.00                                                                                    $3,000.00
MUSE, MECCA
19 PENDLETON DRIVE
BERLIN, NJ 08009                                       1715     11/4/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
BABA, GREGORY
PO BOX 773
LOS GATOS, CA 95031                                    1716     11/4/2017      TK Holdings Inc.                         $1,000.00                                                                                    $1,000.00
DERINS, COLLEEN
1135 DUBLIN CT
WILLIAMSTOWN, NJ 08094                                 1717     11/8/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
LUCERO, MARIA CHRISTINA
4202 N. STEWART AVE
BALDWIN PARK, CA 91706                                 1718     11/8/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
HELMUTH, DWAYNE
31010 CORTE ARROYO VISTA
TEMECULA, CA 92592                                     1719     11/8/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
WELSH, CHARRAY
2086 FENTON ST
HAMILTON, OH 45011                                     1720     11/8/2017      TK Holdings Inc.                        $25,000.00                                                                                   $25,000.00
AMEY, LORNA
1374 ARBOR LAKE DR. N.
HORN LAKE, MS 38637                                    1721     11/8/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
WEBB SR, COLEDALE
4020 BLEDSOE AVE I‐8
BREMERTON, WA 98310                                    1722     11/8/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
CORTEZ, CARYN M
3933 FORT BUFORD LANE
LARAMIE, WY 82070                                      1723     11/4/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
DUREN, ANTONEKE
6005 GREEN GLEN WAY
SACRAMENTO, CA 95842                                   1724     11/8/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
DISANTI, LINDA J.
1056 N. FLETCHER AVENUE
N. VALLEY STREAM, NY 11580                             1725     11/8/2017      Takata Americas                              $0.00                                                                                        $0.00
DISANTI, LINDA J.
1056 N. FLETCHER AVENUE
N. VALLEY STREAM, NY 11580                             1726     11/8/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
DUREN, LEILA
6005 GREEN GLEN WAY
SACRAMENTO, CA 95842                                   1727     11/8/2017      TK Holdings Inc.                                                $0.00                                                                     $0.00
DE LA TOBA, CLAUDIA
2772 BEAR VALLEY RD
CHULA VISTA, CA 91915                                  1728     11/3/2017      TK Holdings Inc.                                                $0.00                                                                     $0.00
VANKANEGAN, THOMAS J.
263 S. CLUBHOUSE DRIVE, UNIT 122
PALATINE, IL 60074‐6436                                1729     11/3/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
KATZ, EILEEN G
2019 S. HOLLYWOOD STREET
PHILADELPHIA, PA 19145                                 1730     11/3/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
SCHOOT, STEVEN W
6611 W NORWOOD CT.
APT. GN
HARWOOD HEIGHTS, IL 60706                              1731     11/3/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00


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                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
WALTER, MARYELLEN
438 DOLORES DRIVE
COLLEGEVILLE, PA 19426                                1732     11/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BARNETT, DAVID M.
1032 WEST HOMESTEAD RD.
SUNNYVALE, CA 94087‐5223                              1733     11/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DE LEPINE, LESLIE
1612 ROUNDHILL DRIVE
NASHVILLE, TN 37211                                   1734     11/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
STAR, MARK P.
3004 E.BOONE #5
SPOKANE, WA 99202                                     1735     11/3/2017      TK Holdings Inc.                                                $0.00                                  $0.00                               $0.00
FINCH, LEROY D
2421 W. JOHANNSEN RD.
SPOKANE, WA 99208                                     1736     11/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SHEPHERD, DEBORAH J
6039 WHITSETT AVE #307
NORTH HOLLYWOOD, CA 91606                             1737     11/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ADDONA, MARK
36 CLEARVIEW DRIVE
WALLINGFORD, CT 06494                                 1738     11/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GW PLASTICS INC.
ART BENNERT, VP AND COO
901 PAULSUN
SAN ANTONIO, TX 78209                                 1739     11/3/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
RUBIN, DAVID E
1675 CHEVY KNOLL PLACE
GLENDALE, CA 91206                                    1740     11/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DISANTI, ANGELO
1056 N. FLETCHER AVENUE
N. VALLEY STREAM, NY 11580                            1741     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ONASEGUN, ADE
443 EAST SUNSET ST
LONG BEACH, CA 90805                                  1742     11/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SIVIA, PETER J
2425 N JEFFERSON ROAD
MIDLAND, MI 48642                                     1743     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TALLEY, LAURA MEILINK
312 4TH ST SE APT 1
CHARLOTTESVILLE, VA 22902                             1744     11/5/2017      TK Holdings Inc.                          $100.00                                                                                        $100.00
LATOUR, RANDALL D
6974 BEERY LANE
DUBLIN, OH 43017                                      1745     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
COLEY, JAMES BOWLIN
16203 WAITING SPRING CIRCLE
HOUSTON, TX 77095‐4547                                1746     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GEPNER, AMY
8415 CHAMPIONS CT.
WICHITA, KS 67226                                     1747     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HERZOG, JOHN
6223 33RD ST
EAST BRADENTON, FL 34203                              1748     11/5/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
HUGHES, PATRICK L.
1221 MCKINNEY STREET
SUITE 2100
HOUSTON, TX 77010                                     1749     11/3/2017      TK Holdings Inc.                         $2,500.00                                                                                     $2,500.00
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                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
KARAM, WILLIAM V
64 BUNCE SCHOOL RD
LYONS, CO 80540                                       1750     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DULTZ, MICHAEL D
7 CLIVEDEN DRIVE
NEWTOWN, PA 18940                                     1751     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PAPINCHAK, DARRELL J.
1203 MAPLE ST. EXTENSION
MOON TOWNSHIP, PA 15108                               1752     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RIES, PAULA
4625 N WOODBURN ST.
WHITEFISH BAY, WI 53211                               1753     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WILSON, CHARLYNN
3708 N MAIN ST
AKRON, MI 48701                                       1754     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ALEXANDER‐GREEN, SHIRLEY J
6720 RANCH PICO WAY
SACRAMENTO, CA 96828                                  1755     11/3/2017      TK Holdings Inc.                         $2,500.00              $0.00                                                                  $2,500.00
O'NEIL 3RD, EDWARD FRANCIS
17 STONECREST DRIVE
SAUGUS, MA 01906                                      1756     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BROWN JR, JAMES A
101 LOST ISLAND ROAD
BEAUFORT, SC 29907                                    1757     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BROWN, KEITH & MYESHIA
755 CEMENT HILL RD.
FAIRFIELD, CA 94533                                   1758     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
EGERMAN, JAMES
18041 FOREMAN COURT
LINDEN, CA 95236                                      1759     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DAVIS, CHRISTOPHER TIMOTHY
1831 WINDING OAK ST.
LODI, CA 95242                                        1760     11/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KRAMER, ROBERT M.
5251 N. NORTHGATE PEAKS DR.
ST. GEORGE, UT 84770                                  1761     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BEVERLY, JOANNE
3086 DURAND DR
LOS ANGELES, CA 90068                                 1762     11/4/2017      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
MCWOODSON, CRYSTAL
5 ECHO CIRCLE
ANTIOCH, CA 94509                                     1763     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LIPKA, STANLEY EDWARD
2628 DESMOND ROAD
WATERFORD, MI 48329                                   1764     11/4/2017      TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
SMITH, ANNETTE LOUISE
5133 THRALL ROAD
ELLENSBURG, WA 98926                                  1765     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LOEBNER, NEIL
3305 BARRINGTON DRIVE
WEST LINN, OR 97068                                   1766     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MOLLO, RANDI
430 FAIRWAY OAKS DRIVE
UNIT A
SEDONA, AZ 86351                                      1767     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00


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                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
ARMSTRONG, JANIS M.
29100 AVE 16
MADERA, CA 93636‐2002                                 1768     11/4/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
LATOUR, RANDALL D
6974 BEERY LANE
DUBLIN, OH 43017                                      1769     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RIES, JOHN
4625 N WOODBURN ST
WHITEFISH BAY, WI 53211                               1770     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KERBER, ELIZABETH ANN
261 SHERWOOD FOREST ROAD
RIVER FALLS, WI 54022                                 1771     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WEBB SR, COLEY
8658 NEPPELL RD
MOSES LAKE, WA 98837                                  1772     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WOLFE, IMA KATE
101 WEST HILLS DR
ROGERSVILLE, TN 37857                                 1773     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BUCHHEIT, TASHA M
304 S STATE ST
PRAIRIE DU CHIEN, WI 53821                            1774     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HOSEY, DAVID A
253 OVERBECK LANE
ROMANCE, AR 72136                                     1775     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GALAMB, ANNAMARIE
7924 ATOLL AVENUE
NORTH HOLLYWOOD, CA 91605                             1776     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
POLLACK, RICHARD
880 PRINCETON DRIVE
SONOMA, CA 95476                                      1777     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BOWEN, TALAIA T
1104 SIBLEY MEMORIAL HWY
MENDOTA HEIGHTS, MN 55118                             1778     11/4/2017      TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
VOSICKY, JUSTIN
23 SHAGBARK LN
NEWARK, IL 60541                                      1779     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PARKER, SHERRY W
300 W 8TH ST #332
VANCOUVER, WA 98660                                   1780     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SMITH, PAUL W
104 OAKHILL RD
MIDLAND CITY, AL 36350                                1781     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CRAIG, AGNES LONO
37127 ELM STREET
NEWARK, CA 94560                                      1782     11/4/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
FOX PUTNAM, ANGELA MARIE
3783 BURTON STREET
SHERRILLS FORD, NC 28673                              1783     11/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DIAL, JOHN CHRISTOPHER
4743 HARTWELL DRIVE
DOUGLASVILLE, GA 30135                                1784     11/4/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
SUMMERVILLE, DANIEL C
2026 BRANDON AVE
POLAND, OH 44514                                      1785     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                    Creditor Name and Address                   Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                Amount                                                   Amount
ALLEY FINANCE COMPANY
RICKY BAXTER
2405 STONE LINKS DR
NORTH LITTLE ROCK, AR 72117                                       1786     11/5/2017      TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
HEAPHY, GARY EDWARD
14196 EASTVIEW DR.
FENTON, MI 48430                                                  1787     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HOTALING, ANNE
3645 SCHOHARIE TURNPIKE
DELANSON, NY 12053                                                1788     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MA, CHANG
2124 HIDDEN FALLS DRIVE
FOLSOM, CA 95630                                                  1789     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MONTGOMERY, RONALD D.
147 TIVOLI LANE
DANVILLE, CA 94506                                                1790     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BABINEC, EUGENE A
POST OFFICE BOX 1287
WESTON, CT 06883                                                  1791     11/5/2017      TK Holdings Inc.                         $1,800.00                                                                                     $1,800.00
LUKE, CHARLOTTE T
2718 BRIARWOOD BOULEVARD
EAST POINT, GA 30344‐5317                                         1792     11/4/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
TOURIAL, JENNIFER
4640 MOUNT PARAN PARKWAY
ATLANTA, GA 30327                                                 1793     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GENNARO, NATHANIEL PETER
835 HARTLEY ROAD
FAIRVIEW, PA 16415                                                1794     11/6/2017      TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
GREGSON, GARY A
2145 WOODS CREEK CT
GOLD RIVER, CA 95670                                              1795     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ALLEN, ERNEST
4842 SUMMERHILL DRIVE
COUNTRY CLUB HILLS, IL 60478                                      1796     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
C M WAY SERVICES
8421 WRIGHT ST
ARVADA, CO 80005                                                  1797     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CHAVEZ, LIZA
2457 LEAFDALE AVE.
EL MONTE, CA 91732                                                1798     11/5/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
ANDERSON, GREAN
5357 BENITO ST
MONTCLAIR, CA 91763                                               1799     11/5/2017      TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
SIOXSON, CHELSEA
1515 PADRES CT.
SAN JOSE, CA 95125                                                1800     11/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CAMPOMIZZI, BLAIR A.
4029 WASHINGTON BLVD
UNIVERSITY HTS, OH 44118                                          1801     11/6/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
RANDALL B. CHRISTISON, TRUSTEE OF THE CHRISTISON FAMILY TRUST
6326 CASTEJON DRIVE
LA JOLLA, CA 92037                                                1802     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HEAPHY, GARY EDWARD
14196 EASTVIEW DR.
FENTON, MI 48430                                                  1803     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00


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                                                                                                                    Current General                                          Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date              Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
BINFORD, MICHAEL
932 S ARMOUR ST
WICHITA, KS 67207                                     1804     11/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
ROARK, BENJAMIN
26315 LITTLE MACK AVE.
SAINT CLAIR SHORES, MI 48081                          1805     11/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MILEY, RAMONA
41 WEST MAPLE AVE
DENVER, CO 80223                                      1806     11/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
RAZZANO, CATHERINE
102 DULANY PLACE
FALLS CHURCH, VA 22046                                1807     11/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
TOMAINO, PETER M.
180 PROCTOR BLVD.
UTICA, NY 13501                                       1808     11/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
LAWLESS, DAVID
3657 S TOWNLINE RD. #6
PALMYRA, NY 14522                                     1809     11/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
SILVA, BRANDY
64 HERON DR.
SANGER, TX 76266                                      1810     11/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
REED, WILLIAM
1422 DARROW
EVANSTON, IL 60201                                    1811     11/6/2017          TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
WANG, JAMES
7219 FERMO PLACE
RANCHO CUCAMONGA, CA 91701                            1812     11/5/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
RAJAN, KUMARARAJAN
239 MASKEL ROAD
SOUTH WINDSOR, CT 06074                               1813     11/6/2017          TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
CARTER, TERRY
5720 RUSTIC TRAIL
HUNTSVILLE, AL 35811                                  1814     11/6/2017          TK Holdings Inc.                        $14,000.00                                                                                    $14,000.00
BORSOOK, LANA
10430 WILSHIRE BOULEVARD #1503
LOS ANGELES, CA 90024                                 1815     11/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
HONG, JANE
436 N OXFORD AVE #206
LOS ANGELES, CA 90004                                 1816     11/8/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
LANDIS, GREGORY P
203 SILVER LEAF RIDGE
HARRISBURG, PA 17110                                  1817     11/7/2017          TK Mexico Inc.                               $0.00                                                                                         $0.00
LANDIS, GREGORY P
203 SILVER LEAF RIDGE
HARRISBURG, PA 17110                                  1818     11/7/2017         Takata Americas                               $0.00                                                                                         $0.00
LANDIS, GREGORY P
203 SILVER LEAF RIDGE
HARRISBURG, PA 17110                                  1819     11/7/2017          TK Finance, LLC                              $0.00                                                                                         $0.00
LANDIS, GREGORY P
203 SILVER LEAF RIDGE
HARRISBURG, PA 17110                                  1820     11/7/2017           TK China, LLC                               $0.00                                                                                         $0.00
LANDIS, GREGORY P
203 SILVER LEAF RIDGE
HARRISBURG, PA 17110                                  1821     11/7/2017   Takata Protection Systems Inc.                      $0.00                                                                                         $0.00



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                                                                                                                         Current General                                          Current 503(b)(9)
                                                                                                                                            Current Priority   Current Secured                         Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date                   Debtor                         Unsecured Claim                                           Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                             Amount                                                   Amount
LANDIS, GREGORY P
203 SILVER LEAF RIDGE
HARRISBURG, PA 17110                                 1822     11/7/2017            Interiors in Flight Inc.                         $0.00                                                                                         $0.00
PALLER, ROCHELLE W
2518 VENETIAN COURT
BOYNTON BEACH, FL 33426                              1823     11/8/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
LANDIS, GREGORY P
203 SILVER LEAF RIDGE
HARRISBURG, PA 17110                                 1824     11/7/2017               TK Mexico LLC                                 $0.00                                                                                         $0.00
LANDIS, GREGORY P
203 SILVER LEAF RIDGE
HARRISBURG, PA 17110                                 1825     11/7/2017   TK Holdings de Mexico S. de R.L. de C.V.                  $0.00                                                                                         $0.00
ROSENBERGER, MICHAEL E
1307 SEMINOLE
KALAMAZOO, MI 49006                                  1826     11/4/2017              TK Holdings Inc.                               $0.00                                 $0.00                                                   $0.00
CARSON, WYLENE
1484 WEST ST 11ST APT #B
POMONA, CA 91766                                     1827     11/4/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
PORTER, JONATHAN
24600 PINE RD
LUCEDALE, MS                                         1828     11/8/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
WILLIAMS, DAVID
4123 WORTH ROAD
PINCONNING, MI 48650                                 1829     11/8/2017              TK Holdings Inc.                           $6,000.00                                                                                     $6,000.00
LANDIS, GREGORY P
203 SILVER LEAF RIDGE
HARRISBURG, PA 17110                                 1830     11/7/2017   Industrias Irvin de Mexico, S.A. de C.V.                  $0.00                                                                                         $0.00
LANDIS, GREGORY P
203 SILVER LEAF RIDGE
HARRISBURG, PA 17110                                 1831     11/7/2017       Takata de Mexico, S.A. de C.V.                        $0.00                                                                                         $0.00
BOLDEN, LISA MARIA
1999 BOWLES AVENUE
CREEDMOOR, NC 27522                                  1832     11/7/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
CERDEN, DAVID
4394 LAMAR DR
DOUGLASVILLE, GA 30134                               1833     11/8/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
BROWN, ROBERT JOSEPH
2304 CHOCTAW DR
PLANO, TX 75093                                      1834     11/8/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
SCHULTZ, JEFF
P.O. BOX 634
SOUTH ELGIN, IL 60177                                1835     11/7/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
BROWN, ROBERT JOSEPH
2304 CHOCTAW DR
PLANO, TX 75093                                      1836     11/8/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
KELLER, CHRISTIAN
86 SEACOUNTRY LANE
RANCHO SANTA MARGARITA, CA 92688                     1837     11/8/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
KENNY, LYNN MARIE
C/O BRITTANY GREAT
9212 W. RUSSELL #205, BLDG 3
LAS VEGAS, NV 89148                                  1838     11/8/2017              TK Holdings Inc.                         $200,000.00                                                                                   $200,000.00
HALL, KRISTIN
603 33RD ST.
EVERETT, WA 98201                                    1839     11/8/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00


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                  Creditor Name and Address        Claim No. Claim Date              Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                       Amount                                                   Amount
KUZMINSKI, ROXY
1837 NORTH 176TH COURT
OMAHA, NE 68118                                      1840     11/8/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MAZARD, CARLINE J
3078 RED MANGROVE LANE SOUTH
FT. LAUDERDALE, FL 33312                             1841     11/7/2017          TK Holdings Inc.                                                $0.00                                                                      $0.00
WAITE, CAROL
2937 TORREYA WAY SE
MARIETTA, GA 30067                                   1842     11/5/2017          TK Holdings Inc.                                                                   $0.00                                                   $0.00
HENDRICKS, DOUGLAS C.
107 PARKSIDE DRIVE
DUBLIN, PA 18917                                     1843     11/4/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
RAMIREZ, JORGE C.
6050 N MARKS AVENUE APT # 105
FRESNO, CA 93711                                     1844     11/4/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
VIPOND, ELDON DEAN
352 HEMPHILL WAY
ROSEVILLE, CA 95678                                  1845     11/8/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
TAYLOR COMMUNICATIONS
600 ALBANY ST
DAYTON, OH 45417                                     1846     11/8/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
COUSIN, SHERRILYNN G.
P. O. BOX 557952
CHICAGO, IL 60655                                    1847     11/8/2017          TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
RONQUILLO, MANUEL DAVID
467 NEWTON STREET
#304
SEATTLE, WA 98109                                    1848     11/8/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
PURDY, CARLEY JEAN
20345 TAMARA PL.
SAUGUS, CA 91350                                     1849     11/5/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BOYD, RODNEY
450 SOUTH SECOND AVE.
MOUNT VERNON, NY 10550                               1850     11/8/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
DELLORTO, NICHOLAS SEAN
1319 LUDINGTON LANE
DYER, IN 46311                                       1851     11/8/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
TUNIS, STEVE
2640 REAR OLYPHANT AVE
SCRANTON, PA 18509                                   1852     11/8/2017   Takata Protection Systems Inc.                      $0.00                                                                                         $0.00
HOCH, JESSE
4721 ADLER PASS
RALEIGH, NC 27612                                    1853     11/5/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BROWN, ROBERT JOSEPH
2304 CHOCTAW DR
PLANO, TX 75093                                      1854     11/8/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
ELSON, PAUL L
5516 NW 199TH ST
RIDGEFIELD, WA 98642                                 1855     11/8/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BELL, ALBERT ALFONSO
3514 LYNNE HAVEN DR
WINDSOR MILL, MD 21244                               1856     11/8/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
DEBRUYN, JASON
2575 STEELE ROAD
APT.104
SAN BERNARDINO, CA 92408                             1857     11/8/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                                   Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
BOUCLIN, EDWARD
2097 LOGGIA
NEWPORT BEACH, CA 92660                               1858     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MAPES, APRIL
720 CARMEL DR
LEMOORE, CA 93245                                     1859     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KACZMAR, PATRICK
7201 OHIO AVE
HANOVER, MD 21076                                     1860     11/8/2017      TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00
DUVAL, RICHARD
23241 CAVANAUGH RD
LAKE FOREST, CA 92630                                 1861     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WONG, CHRISTOPHER A.
12340 83RD AVENUE, APT. 7E
KEW GARDENS, NY 11415                                 1862     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
OTT, CONSTANCE L
28 NOHOANA PLACE
WAILUKU, HI 96793                                     1863     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BYNUM, CURTIS
3420 TAYLOR ST
FORT WAYNE, IN 46806                                  1864     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WELLS FARGO DEALER SERVICES
MAC T9017‐026
P.O.BOX 168048
IRVING, TX 75016‐8048                                 1865     11/5/2017      TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
DILLON, HARRY J.
69801 RAMON RD. #137
CATHEDRAL CITY, CA 92234                              1866     11/8/2017      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
LAFLER, JOSEPH
54 BROOKSIDE MNR
GOSHEN, IN 46526                                      1867     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BROWNFIELD, MARGARET JEAN
505 PICCADILLY PLACE
WINDSOR, CA 95492                                     1868     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
POWELL, DONNA MITCHELL
109 BATTERY POINT RD
RIDGELAND, SC 29936                                   1869     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
JOHNSON, JAMES THEODORE
734 COUNTY ROAD 784
MOUNTAIN HOME, AR 72653                               1870     11/5/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
SCHENK, RONALD
7111 TWIN TREE LANE
DALLAS, TX 75214                                      1871     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FELTON, SHANE
755 E 19TH AVE.
APT. 414
DENVER, CO 80203                                      1872     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WINKLER, ANTHONY
1013 STONEOAK LN
AUSTIN, TX 78745                                      1873     11/5/2017      Takata Americas                              $0.00                                                                                         $0.00
SADA, KRISTEN AKEMI
20333 NORTHCOVE SQ
CUPERTINO, CA 95014                                   1874     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ROBERTSON, DEREK C
1823 W BALBOA BLVD APT #4
NEWPORT BEACH, CA 92663                               1875     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                 Current General                                          Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
MEINSTER, HOWARD
1508 WINFIELDS LANE
GAMBRILLS, MD 21054                                    1876     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ALAMEDDIN, DAVID JOHN
115 W. LAWRENCE RD.
PHOENIX, AZ 85013                                      1877     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BRIDGES, DEMETRIUS
30061 WREN VILLAGE DR
ABERDEEN, MS 39730                                     1878     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CHAN, BRENDA Y
1673 E BRANDON LANE
FRESNO, CA 93720                                       1879     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MCNERNEY, JOHN PATRICK
57 BRAKEMAN DRIVE
STEWARTSTOWN, PA 17363                                 1880     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TRAN, SANH
PO BOX 28135
SEATTLE, WA 98118‐8135                                 1881     11/5/2017      TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
VENABLE, CHAQUITA
7706 ABILENE RD
FARMVILLE, VA 23901                                    1882     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FIRETTO, LIBORIO
1026 LAKE AVE
CLARK, NJ 07066                                        1883     11/5/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
AVILES, CHARLES STEPHEN
30025 ALICIA PKWY G255
LAGUNA NIGUEL, CA 92677                                1884     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DORTCH, SHAWAN
18277 LITTLEFIELD
DETROIT, MI 48235                                      1885     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
OLIVER, GAROLD LEWIS
20615 W 108TH STREET
OLATHE, KS 66061                                       1886     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SWANSON, ZACHARY J.
1026 ORCHID DRIVE NE
SAUK RAPIDS, MN 56379                                  1887     11/5/2017      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
HERNDON, MICHAEL
797 HOOVER RD
CLEVELAND, OH 44119                                    1888     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BOOKLEINER, MARK C.
207 KEY GARDEN DRIVE
CORAOPOLIS, PA 15108                                   1889     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FORD, STEPHEN D
1010 N PHIPPS WOODS CT
GLEN MILLS, PA 19342                                   1890     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WEISS, JUSTIN J
4919 AMERICANA DRIVE #211
ANNANDALE, VA 22003                                    1891     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PETTIS, DARLA DEE
1558 RAY SOWELL, RD
AUSTIN, AR 72007                                       1892     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BATISTE, MANDY
125 RIDGEVIEW DRIVE APT D6
BROUSSARD, LA 70518                                    1893     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                    Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
HALL, GERALD
15436 DREXEL AVENUE
DOLTON, IL 60419                                       1894     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KAROLLE‐BERG, JULIA
MATTHEW BERG
3270 BRADFORD ROAD
CLEVELAND HEIGHTS, OH 44118                            1895     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LOPEZ, JOYCE
P.O.BOX 156
LAVACA, AR 72941                                       1896     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KOENIG, MARY JEAN
4769 BOHANNON STREET NE
SALEM, OR 97305                                        1897     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BELTON, RALPH
125 VASQUEZ AVE
SAN FRANCISCO, CA 94127                                1898     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MCMILLEN, JANICE E.
19 HARBOR LANE
CUSHING, ME 04563                                      1899     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
YAMAMOTO, DIANE W.
2651 NW HILTON COURT
BEND, OR 97703‐5920                                    1900     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DAVEY, ALLEN N.
520 LUNALIL HOME RD. UNIT 8410
HONOLULU, HI 96825                                     1901     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RAY, LATANYA
5113 W. 58TH PLACE
LOS ANGELES, CA 90056                                  1902     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ZHANG, LI
6785 MOUNT PATRON DRIVE
SAN JOSE, CA 95120                                     1903     11/5/2017      TK Holdings Inc.                         $1,000.00                                                                                     $1,000.00
VARIS, TARJA ANITA
259 BERESFORD AVENUE
REDWOOD CITY, CA 94061                                 1904     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
UKACHUKWU, CHIEDOZIE
1729 NE 17TH AVENUE
APT 25
PORTLAND, OR 97212                                     1905     11/5/2017      TK Holdings Inc.                             $0.00              $0.00         $10,000.00                                              $10,000.00
SCOTT, SHERITA
3306 HANNA AVE.
CINCINNATI, OH 45211                                   1906     11/9/2017      TK Holdings Inc.                         $5,000.00              $0.00                                                                  $5,000.00
MILLER, DOROTHY
330 KITTY HAWK RD
APT. 1305
UNIVERSAL CITY, TX 78148                               1907     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CROUSE, EUGENE LEROY
7627 PHILADELPHIA ROAD
BALTIMORE, MD 21237                                    1908     11/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KARAS, MELISSA
7354 DARTMOUTH AVENUE
UNIVERSITY CITY, MO 63130                              1909     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CHEN, JINGJIANG
60 MICHELLE LN
HILLSBOROUGH, NJ 08844                                 1910     11/6/2017      TK Holdings Inc.                          $500.00                                                                                        $500.00



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                   Creditor Name and Address             Claim No. Claim Date            Debtor                         Unsecured Claim                                           Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                            Amount                                                   Amount
PIZANA, GUADALUPE
8953 FENTON
REDFORD, MI 48239                                          1911     11/5/2017       TK Holdings Inc.                                                                     $0.00                                                   $0.00
BROWN, SHANNON B
101 LOST ISLAND ROAD
BEAUFORT, SC 29907                                         1912     11/5/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
DEPARTMENT OF THE TREASURY ‐ INTERNAL REVENUE SERVICE
P.O. BOX 7346
PHILADELPHIA, PA 19101‐7346                                1913     11/6/2017     Interiors in Flight Inc.                         $0.00                                                                                         $0.00
LEE, WINNIE
10385 WESTACRES DR.
CUPERTINO, CA 95014                                        1914     11/6/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
RANGE, PATRICIA
60 MULLIS ST
FAIRBURN, GA 30213                                         1915     11/6/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
CASON, DARLENE R
3302 CLEARVIEW DRIVE
SAN ANGELO, TX 76904‐7358                                  1916     11/6/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
KIEFFER, NATHAN ANDREW
2600 UNIVERSITY AVE S.E #400
MINNEPOLIS, MN 55414                                       1917     11/9/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
SCHILDER, MADELINE
1058 HI POINT STREET
LOS ANGELES, CA 90035                                      1918     11/6/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
SMILO, MATTHEW
109 REYNOLDS AVE.
DUBOIS, PA 15801                                           1919     11/9/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
MONCADA‐GIL, MARIA ELSA
CRAM VALDEZ BRIGMAN & NELSON
ROGER M. CRAM, ESQ.
DANIEL M. DASTRUP, ESQ.
2451 S. BUFFALO DR., #120
LAS VEGAS, NV 89117                                        1920     11/6/2017       Takata Americas                                $0.00                                                                                         $0.00
HUDINA, CHUCK
P.O. BOX 774
BOLINAS, CA 94924                                          1921     11/6/2017       TK Holdings Inc.                               $0.00                                 $0.00                                                   $0.00
MCCOOEY, KEVIN C.
11 PLYMOUTH ROAD
RYE, NY 10580                                              1922     11/9/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
JOHNSON, KARMEN M
10357 CARACARA DR
ASHLAND, VA 23005                                          1923     11/6/2017       TK Holdings Inc.                                                                                                                             $0.00
TAYLOR, JOHN
3720 SOUTH 279TH PLACE
AUBURN, WA 98001                                           1924     11/6/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
MONCADA‐GIL, MARIA ELSA
CRAM VALDEZ BRIGMAN & NELSON
ROGER M. CRAM, ESQ.
DANIEL M. DASTRUP, ESQ.
2451 S. BUFFALO DR., #120
LAS VEGAS, NV 89117                                        1925     11/6/2017       TK Holdings Inc.                         $500,000.00                                                                                   $500,000.00
MILEWSKY, SCOTT
220 DOHERTY RD
BRIGHTON, MI 48116                                         1926     11/6/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
LAROCQUE, STEVEN
9070 CHESTNUT DRIVE
HICKORY HILLS, IL 60457                                1927     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
ROBERTS, DONALD LEE
175 FISHING ROCK DRIVE
DEPOE BAY, OR 97341                                    1928     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
RANGE, LORENZO
60 MULLIS ST
FAIRBURN, GA 30213                                     1929     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
RATTON, ROBERT DAVID
201 GARY DR
WINTER GARDEN, FL 34787                                1930     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
MARSHALL, JOHN
103 HICKORY COURT
SMITHFIELD, VA 23430                                   1931     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
WALTER, MICHAEL
5617 SEASONS RIDGE
SMITHTON, IL 62285                                     1932     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
SCHOLTE, GORDON
C/O FERRUZZO & FERRUZZO LLP
3737 BIRCH STREET, SUITE 400
NEWPORT BEACH, CA 92660                                1933     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
SAMUDIA, TERESA
1135 HELIX STREET APT 2
SPRING VALLEY, CA 91977                                1934     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
WADE, PHAEDRA
2523 S. 45TH STREET
KANSAS CITY, KS 66106                                  1935     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
BALCERAK, FRANK
6433 YALE ST.
WINDSOR, CA 95492                                      1936     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
MEIERS, STEVEN
161 S. WOODBURN DRIVE
LOS ANGELES, CA 90049                                  1937     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
BEGAJ, LUTFIE
10 CHESTNUT ST
BEVERLY, MA 01915                                      1938     11/9/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
HERRERA, VERONICA
2048 W AVE H8
LANCASTER, CA 93536                                    1939     11/9/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
MELLO, CHRISTOPHER CHARLES
7 ADELAIDE AVE
BRISTOL, RI 02809                                      1940     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
MELLO, CHRISTOPHER C
7 ADELAIDE AVE
BRISTOL, RI 02809                                      1941     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
TILLERY, WILLIAM MARK
9991 54TH AVENUE NORTH
ST. PETERSBURG, FL 33708                               1942     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
ORTON, ESSIE
6725 RHODE ISLAND DR. E.
JACKSONVILLE, FL 32209                                 1943     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
KING, THOMAS JAMES
415 S. MEADOW ST.
OSHKOSH, WI 54902                                      1944     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00


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                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
KIRBY, NU LE
201 S KINGSLEY ST
ANAHEIM, CA 92806                                    1945     11/9/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
AN, JEMMA
2357 DEMEYER STREET
BRONX, NY 10469                                      1946     11/6/2017          TK Holdings Inc.                         $5,000.00                                                                                    $5,000.00
MONCADA‐GIL, MARIA ELSA
CRAM VALDEZ BRIGMAN & NELSON
ROGER M. CRAM, ESQ.
DANIEL M. DASTRUP, ESQ.
2451 S. BUFFALO DR., #120
LAS VEGAS, NV 89117                                  1947     11/6/2017   Takata Protection Systems Inc.                      $0.00                                                                                        $0.00
BASIN PALLET, INC. ML
ROY
PO BOX 1939
MOSES LAKE, WA 98837                                 1948     11/6/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
PRE‐EMPLOY.COM, INC.
P.O. BOX 491570
REDDING, CA 96049                                    1949     11/6/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
MELLO, CHRISTOPHER C
7 ADELAIDE AVE
BRISTOL, RI 02809                                    1950     11/6/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
FAIRBANK, ANNE M
33 BARTLETT STREET
CHARLESTOWN, MA 02129                                1951     11/6/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
SHAYEB, MOHAMMAD A
11970 SEVEN PINE DR
HOLLAND, MI 49424                                    1952     11/6/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
CORSON, MICAH
5855 HORTON STREET, APT. 724
EMERYVILLE, CA 94608                                 1953     11/6/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
GLASSMAN, ARNOLD
84 BIRCHWOOD AVE
OAK PARK, CA 91377                                   1954     11/6/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
GARCIA, RODOLFO
400 W. BROADVIEW
SAN ANTONIO, TX 78228                                1955     11/6/2017         Takata Americas                               $0.00                                                                                        $0.00
MOORE, LENICKI SMITH
118 CLOVERHILL DR
GREENVILLE, AL 36037                                 1956     11/6/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
FRANKLIN, CASSANDRA L.
P.O. BOX 139
RIPTON, VT 05766                                     1957     11/6/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
THOMAS, MATTHEW DAVID
28638 VISTA MADERA
RANCHO PALOS VERDES, CA 90275                        1958     11/6/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
BRADY, JAMES A
2236 CASCADE WAY
LONGVIEW, WA 98632                                   1959     11/9/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
COHEN, STEPHEN Z
1420 NW 20TH AVE APT 101
DELRAY BEACH, FL 33445                               1960     11/9/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
ROBERTS, ARTHUR S
7500 RIGGING CT.
CITRUS HEIGHTS, CA 95621                             1961     11/6/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00


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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                     Amount                                                  Amount
VALDEZ, JOSE
106 1/2 JUDGE JOHN AISO #136
LOS ANGELES, CA 90012                                             1962     11/9/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
RODARTE, ISAAC A.
900 E. LURAY STREET
LONG BEACH, CA 90807                                              1963     11/6/2017           TK Holdings Inc.                                                $0.00                                                                     $0.00
KAUR, NAGINDER KAUR
1017 N CANYON DR.
MODESTO, CA 95351                                                 1964     11/6/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
DEPARTMENT OF THE TREASURY ‐ INTERNAL REVENUE SERVICE
P.O. BOX 7346
PHILADELPHIA, PA 19101‐7346                                       1965     11/6/2017           TK Holdings Inc.                                                $0.00                                                                     $0.00
PIEPER JR., WILLAIM C.
1405 EL TEJON WAY
SACRAMENTO, CA 95864                                              1966     11/6/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
ERDMAN, JEAN I.
415 S. MEADOW ST.
OSHKOSH, WI 54902                                                 1967     11/6/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
SECIC, HASIB
9040 RADIOM DR.
ST. LOUIS, MO 63123                                               1968     11/6/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
MATUSZEWSKI, PAUL
39 OPAL STREET
HOLBROOK, NY 11741                                                1969     11/6/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
DAVIS, AUTUMN MAY
33533 COLONY PARK DR
FARMINGTON HILLS, MI 48331                                        1970     11/6/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
HUNGERFORD, NICHOLE
1735 HERMOSA DRIVE
HIGHLANDS RANCH, CO 80126                                         1971     11/7/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
JENNIFER
JENNIFER CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                               1972     11/8/2017   Strosshe‐Mex, S. de R.L. de C.V.                     $0.00                                                                                        $0.00
CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
JENNIFER
JENNIFER CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                               1973     11/8/2017            TK Mexico LLC                               $0.00                                                                                        $0.00
FAMILY MORTGAGE COMPANY OF HAWAII INC
762 KANOELEHUA AVE SUITE2
HILO, HI 96720                                                    1974     11/6/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
MUZAC JR, PIERRE
2942 DALTON AVE.
LOS ANGELES, CA 90018                                             1975     11/6/2017           TK Holdings Inc.                        $10,534.00              $0.00                                                                $10,534.00
CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
JENNIFER
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                               1976     11/8/2017           TK Mexico Inc.                               $0.00                                                                                        $0.00
BRENNECKE, DARRELL FRANK
1302 W. NORTH WATER ST.
NEW LONDON, WI 54961                                              1977     11/6/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
MOON, MARY
P.O. BOX 345
OCEAN SHORES, WA 98569                                            1978     11/6/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
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                                                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                         Amount                                                   Amount
STRIETER, FREDERICK J
7814 FALLMEADOW LANE
DALLAS, TX 75248‐5328                                             1979     11/6/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
KOSTEN, ILYA
1223 S. ROXBURY DRIVE #204
LOS ANGELES, CA 90035                                             1980     11/6/2017       Takata Protection Systems Inc.                                          $0.00                                                                      $0.00
MORGAN, RODESHA
2538 PLANTATION PLACE
STOCKTON, CA 95209                                                1981     11/6/2017              TK Holdings Inc.                                                 $0.00                                                                      $0.00
BROUSSARD, KAREN BERTRAND
PO BOX 344
EGAN, LA 70531                                                    1982     11/6/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
ZOBEL, FAITH A
27684 ELDERBERRY STREET
MURRIETA, CA 92562                                                1983     11/9/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
GORDON, DESMOND
MIKHAILITCHENKO LAW OFFICE
150 CONSUMERS ROAD
SUITE 206
TORONTO, ON M2J IP9
CANADA                                                            1984     11/6/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
SALAAM, SUDAN G.
301 NOBLE OAKS DRIVE #2803
SAVANNAH, GA 31406                                                1985     11/6/2017              TK Holdings Inc.                         $72,500.00              $0.00              $0.00                                              $72,500.00
BEALL , ROBERT (BOB)
10800 E. SAINT CHARLES RD
COLUMBIA, MO 65202                                                1986     11/6/2017              TK Holdings Inc.                         $23,974.62                                                                                    $23,974.62
GANAL, JULIE
5772 CALLE CASAS BONITAS
SAN DIEGO, CA 92139                                               1987     11/9/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
FALCONE, ADAM
7425 CASTLEGATE BLVD.
KNOXVILLE, TN 37918‐9031                                          1988     11/6/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                         $0.00
STERNCHOS, DOREEN W
315 PLEASANT DRIVE
CHERRY HILL, NJ 08003‐3527                                        1989     11/6/2017              TK Holdings Inc.                          $4,666.00                                                                                     $4,666.00
GIBBS, PRISKA
5226 E OLIVE AVE APT 147
FRESNO, CA 93727                                                  1990     11/6/2017              TK Holdings Inc.                                                 $0.00                                                                      $0.00
HEPNER, DAVID
1001 S. BAYSHORE BLVD #103
SAFETY HARBOR, FL 34695                                           1991     11/6/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
POLHAMUS, SUZANNA M.
2281 KNAPP DRIVE
RAHWAY, NJ 07065                                                  1992     11/6/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
COMBS FAMILY TRUST
16639 ALMADEN DRIVE
FONTANA, CA 92336                                                 1993     11/7/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
JENNIFER
JENNIFER CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                               1994     11/8/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                         $0.00




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                                                                                                                               Current General                                          Current 503(b)(9)
                                                                                                                                                  Current Priority   Current Secured                         Current Admin    Total Current
                     Creditor Name and Address                  Claim No. Claim Date            Debtor                         Unsecured Claim                                           Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                   Amount                                                   Amount
CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
JENNIFER
JENNIFER CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                               1995     11/8/2017     Interiors in Flight Inc.                         $0.00                                                                                         $0.00
ZIMMERMAN, JULIE
4259 STERN AVE
SHERMAN OAKS, CA 91423                                            1996     11/8/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
MUNOZ, MARGARET
161 S E STREET
OXNARD, CA 93030                                                  1997     11/9/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
ORF, KIMBERLY
706 TINSLEY COURT
COTTLEVILLE, MO 63304                                             1998     11/9/2017       TK Holdings Inc.                            $750.00                                                                                        $750.00
GIBSON, PHILLIYAH
1811 WILD WOOD LN
GLENN HEIGHTS, TX 75154                                           1999     11/9/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
MOLINARO, MICHAEL
2250 SALISBURY DRIVE
NAPERVILLE, IL 60565                                              2000     11/9/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
YOO, MARY
11410 HUTTON ROAD
CORONA, CA 92883                                                  2001     11/9/2017       TK Holdings Inc.                           $1,000.00                                                                                     $1,000.00
COLLINS, GEORGE E.
10302 LAKEVIEW AVE SW TRLR 11
LAKEWOOD, WA 98499                                                2002     11/9/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
WILLIAMS, BARBARA
109 BROOKTER ST
SLIDELL, LA 70461                                                 2003     11/9/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
YBARRA, CHRISTOPHER RAYMOND
2053 SAN MIGUEL DRIVE
WALNUT CREEK, CA 94596‐5448                                       2004     11/9/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
BLAIR, PATRICIA
1272 E. ELM AVE.
MONROE, MI 48162                                                  2005     11/9/2017       TK Holdings Inc.                                                                     $0.00                                                   $0.00
MUNOZ, MARGARET
161 S E ST
OXNARD, CA 93030                                                  2006     11/9/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
CAPPS, TIMOTHY J.
P.O. BOX 148
ENERGY, IL 62933                                                  2007     11/9/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
STACK, DEBORAH
18620 BURKE DRIVE
PLYMOUTH, CA 95669                                                2008     11/9/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
PRINCE, GILFRED
11103 SADDLE COURT
UPPER MARLBORO, MD 20772                                          2009     11/9/2017       TK Holdings Inc.                                                  $0.00              $0.00                                                   $0.00
MCGRATH, ROBERT
17101 ALEXANDRA WAY
GRASS VALLEY, CA 95949                                            2010     11/9/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
PIERCEY WEST, INC. DBA HONDA WORLD DOWNEY
16901 MILLIKAN AVE.
IRVINE, CA 92606                                                  2011     11/9/2017       TK Holdings Inc.                                                                                         $0.00                               $0.00
PW SURPRISE, LLC DBA SURPRISE HONDA
16901 MILLIKAN AVE
IRVINE, CA 92606                                                  2012     11/9/2017       TK Holdings Inc.                                                                                         $0.00                               $0.00
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                                                                                                                               Current General                                         Current 503(b)(9)
                                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current
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                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                   Amount                                                  Amount
LIVIO, JULIA
17101 ALEXANDRA WAY
GRASS VALLEY, CA 95949                                            2013     11/9/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
REGGIENA ABACA/SIMI DENTAL CARE
5732 E. LOS ANGELES AVE
SIMI VALLEY, CA 93063                                             2014     11/9/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
ALANIZ‐MUNOZ, GINA L
4058 E. LOWE AVE.
FRESNO, CA 93702                                                  2015     11/9/2017       TK Holdings Inc.                                                                                        $0.00                               $0.00
OLIVIER, SAMUEL STEPHEN
3323 E. CASSELLE AVE
ORANGE, CA 92869                                                  2016     11/9/2017       TK Holdings Inc.                                                  $0.00                                                                     $0.00
WELLS, JAMES T.
PO BOX 505
CALIMESA, CA 92320‐0505                                           2017     11/9/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
JONES, CHARLOTTE WILLIAMS
P. O. BOX 3186
SHEREVEPORT, LA 71133                                             2018     11/9/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
BEROSIK, RICHARD A
17891 SAN CARLOS DRIVE
SONOMA, CA 95476                                                  2019     11/9/2017       Takata Americas                                $0.00              $0.00                                                                     $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
KATELYN
KATELYN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                               2020     11/9/2017     Interiors in Flight Inc.                         $0.00                                                                                        $0.00
FUJII, DENISE
91‐2048 LAAKONA PLACE
EWA BEACH, HI 96706                                               2021    11/10/2017       TK Holdings Inc.                          $14,900.00                                                                                   $14,900.00
FUJII, DARRELL
91‐2048 LAAKONA PLACE
EWA BEACH, HI 96706                                               2022    11/10/2017       TK Holdings Inc.                          $14,900.00                                                                                   $14,900.00
HUDSON, SHERRY
7974 NOLPARK COURT
APT 202
GLEN BURNIE, MD 21061                                             2023     11/9/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
GIROD, GRETCHEN M
440 SOUTH BROAD STREET
UNIT 1201
PHILADELPHIA, PA 19146                                            2024    11/10/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
SMITH, MARY
INGA D. LEWIS‐SHANNON
4629 MELTON ROAD, SUITE C
GARY, IN 46403                                                    2025     11/9/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
HOLMES, DAVID ALLEN
1905 CRYSTAL CT. APT #144
ROCKLEDGE, FL 32955                                               2026    11/10/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
NELLAS, LOUIS
1627 SHENANGO ROAD
NEW GALILEE, PA 16141                                             2027     11/9/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
HOLLY, PAMALA
6524 DOUGLAS AVE
FONTANA, CA 92336                                                 2028    11/10/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
BLACK, JOHNETTA
42 NELLIE BROOK DR
MABLETON, GA 30126                                                2029    11/10/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
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                                                                                                                            Current General                                         Current 503(b)(9)
                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address                  Claim No. Claim Date          Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                Amount                                                  Amount
BEROSIK, RICHARD A
17891 SAN CARLOS DRIVE
SONOMA, CA 95476                                                  2030     11/9/2017      TK Holdings Inc.                             $0.00              $0.00                                                                     $0.00
MURPHY, DIANE
307 OAKCREST BLVD
ROSEAU, MN 56751                                                  2031     11/9/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
HOLMES, BARBARA
923 STANDARD ST
ROCK HILL, SC 29730                                               2032    11/10/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
SUMPTER, ALEXANDRIA
9404 78TH STREET
OZONE PARK, NY 11416                                              2033    11/10/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
WATT, JOSEPH J
210 RIDGE AVE. APT. 1
ALTOONA, PA 16602                                                 2034    11/10/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
MEALEY, GEOFFREY D
1383 COUNTY ROAD 8
SHORTSVILLE, NY 14548                                             2035    11/10/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
KATELYN
KATELYN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                               2036     11/9/2017      TK Finance, LLC                              $0.00                                                                                        $0.00
KLAHN, ANDREW
34805 SWEET BELLS DRIVE
WINCHESTER, CA 92596                                              2037    11/10/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
WILHOITE, RAYMOND
3239 HUMMINGBIRD DR
NASHVILLE, TN 37218                                               2038     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
BOURGEOIS, CLAIRE
644 METAIRIE LAWN DRIVE
METAIRIE, LA 70001                                                2039     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
RUBIN, PAULA JAN
1675 CHEVY KNOLL PLACE
GLENDALE, CA 91206                                                2040    11/10/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
KHANDHADIA, PARESH
C/O MOSS LAW, PLC
ATTN: LEIGH D. MOSS, ESQ.
4190 TELEGRAPH RD., SUITE 3000
BLOOMFIELD HILLS, MI 48302                                        2041    11/10/2017      TK Holdings Inc.                             $0.00              $0.00                                                                     $0.00
COFIELD, CATHY M.
2041 S. TUPMAN AVENUE
FRESNO, CA 93706                                                  2042     11/6/2017      TK Holdings Inc.                         $2,000.00                                                                                    $2,000.00
GUPTA, SATISH STEVE
1930 LOMBARDY DRIVE
LA CANADA, CA 91011                                               2043     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
SCOTT, KATHLEEN A
1925 CASA DRIVE
ARNOLD, MO 63010                                                  2044     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
LITLE, SHERIKA S
2067 CANADA FALLS CT
LITHONIA, GA 30058                                                2045     11/6/2017      TK Holdings Inc.                        $10,000.00                                                                                   $10,000.00
SHEPPARD, REBECCA C
2742 OAK ROAD APT. 229
WALNUT CREEK, CA 94597‐2913                                       2046     11/6/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00


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                                                                                                                 Current General                                          Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
MEIERS, STEVEN
161 S. WOODBURN DRIVE
LOS ANGELES, CA 90049                                  2047     11/6/2017      Takata Americas                              $0.00                                                                                         $0.00
AMBROSE, STACY
980 FAYETTE CORNER DR
SOMERVILLE, TN 38068                                   2048     11/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SANTOS, IRMA
3130 ARGYLE DR. S.
SALEM, OR 97302                                        2049     11/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RANGE, LORENZO
60 MULLIS ST
FAIRBURN, GA 30213                                     2050     11/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GULLION JR, WENDELL
141 DUSTIN LN
RINGGOLD, GA 30736                                     2051     11/6/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
RODARTE, SERENITY LA SAUNDRA
900 E. LURAY STREET
LONG BEACH, CA 90807                                   2052     11/6/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
GREENBAUM, SHELDON M.
GOLDMAN & GREENBAUM, P.C.
60 EAST 42ND ST
47TH FLOOR
NEW YORK, NY 10165                                     2053    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
COLEMAN, DIANNE GRAY
631 EL PRADO COURT
STONE MOUNTAIN, GA 30083                               2054     11/6/2017      TK Holdings Inc.                          $500.00                                                                                        $500.00
WOLF, LYNN
134 WALLACE COURT
GREEN BROOK, NJ 08812                                  2055     11/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GOODALL, RICHARD
2700 LAS VEGAS BLVD
#3808
LAS VEGAS, NV 89109                                    2056     11/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BAILEY, BRIAN AND TERRI
280 KING DANIEL LN.
GOLETA, CA 93117                                       2057     11/7/2017      TK Holdings Inc.                         $5,000.00                                 $0.00                                               $5,000.00
JOBELIUS, DAVID A
1024 N 8TH AVE.
WAUSAU, WI 54401                                       2058     11/7/2017      TK Holdings Inc.                         $4,500.00                                                                                     $4,500.00
MCCARTY, ERICA K
2613 E 17TH ST
BREMERTON, WA 98310                                    2059     11/7/2017      TK Holdings Inc.                          $500.00                                  $0.00                                                 $500.00
BUNITSKY, GREGORY N.
2108 SWINNEN DRIVE
WILMINGTON, DE 19810                                   2060     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
EIS, INC
2018 POWERS FERRY RD SUITE 500
ATLANTA, GA 30339                                      2061     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HARVEY, CAMI
516 ALBARELLA
CIBOLO, TX 78108                                       2062    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GREENBAUM, SUSAN M.
GOLDMAN & GREENBAUM, P.C.
60 EAST 42ND ST
47TH FLOOR
NEW YORK, NY 10165                                     2063    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address                         Claim No. Claim Date              Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                          Amount                                                  Amount
RUBIN, D
1675 CHEVY KNOLL PLACE
GLENDALE, CA 91206                                                      2064    11/10/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
MILANI, SHAHNAZ
1000 EATON DRIVE
MCLEAN, VA 22102                                                        2065    11/10/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
BERNAU, DAVID M
179 N 66TH STREET
MILWAUKEE, WI 53213                                                     2066     11/7/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
WERTZ, RITA DOLOROSA
2100 HARVARD AVE
WILLIAMSPORT, PA 17702                                                  2067     11/7/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, JOHN
JOHN CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2068     11/7/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, CHLOE
CHLOE CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2069     11/7/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
KATELYN
KATELYN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2070     11/7/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
JENNIFER
JENNIFER CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2071     11/7/2017   Takata Protection Systems Inc.                      $0.00                                                                                        $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, JOHN
JOHN CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2072     11/7/2017   Takata Protection Systems Inc.                      $0.00                                                                                        $0.00
CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
JENNIFER
JENNIFER CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2073     11/7/2017         Takata Americas                               $0.00                                                                                        $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, JOHN
JOHN CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2074     11/7/2017         Takata Americas                               $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
MADELINE
MADELINE KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2075     11/7/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00




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                     Creditor Name and Address                        Claim No. Claim Date              Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                          Amount                                                  Amount

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, CHLOE
CHLOE CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2076     11/7/2017         Takata Americas                               $0.00                                                                                        $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, CHLOE
CHLOE CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2077     11/7/2017   Takata Protection Systems Inc.                      $0.00                                                                                        $0.00
LIEBHAUSER, JOHN
190 HOFFMAN AVE
APT 56
AUBURN, CA 95603                                                        2078    11/10/2017          TK Holdings Inc.                                                $0.00                                                                     $0.00

KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, COLIN
COLIN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2079     11/7/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
KATELYN
KATELYN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2080     11/7/2017         Takata Americas                               $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
MADELINE
MADELINE KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2081     11/7/2017         Takata Americas                               $0.00                                                                                        $0.00

KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, COLIN
COLIN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2082     11/7/2017         Takata Americas                               $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
MADELINE
MADELINE KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2083     11/7/2017   Takata Protection Systems Inc.                      $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
KATELYN
KATELYN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2084     11/7/2017   Takata Protection Systems Inc.                      $0.00                                                                                        $0.00
PHAM, NGOC THUY
2810 S. WASHINGTON ST.
AMARILLO, TX 79109                                                      2085     11/7/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
TAYLOR, NATASHA
1745 CONCERT RD
DELTONA, FL 32738                                                       2086     11/7/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
RICHMAN, EVAN
446 ROY STREET
WEST HEMPSTEAD, NY 11552                                                2087     11/7/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
LEACH, BEVERLY ANN
3239 COUNTRY OAKS DR
ORANGE PARK, FL 32065                                                   2088     11/7/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
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                                                                                                                            Current General                                          Current 503(b)(9)
                                                                                                                                               Current Priority   Current Secured                         Current Admin    Total Current
                     Creditor Name and Address                  Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                Amount                                                   Amount
CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
JENNIFER
JENNIFER CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                               2089     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CASTILLE, CARLTON
54 ROLLING MEADOWS
GOODLETSVILLE, TN 37072                                           2090     11/6/2017      TK Holdings Inc.                         $1,000.00                                                                                     $1,000.00
DENNY, RAYMOND
1220 TASMAN DR
SPC 210
SUNNYVALE, CA 94089‐2404                                          2091     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WEPPNER, ROBERT ARTHUR
3604 SE CLINTON STREET
PORTLAND, OR 97202                                                2092     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BLAKE, LISA KRYGLIK.
512 RAPPOLLA ST
BALTIMORE, MD 21224                                               2093     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
AUTREY, BROOKS B
PO BOX 182
WETUMPKA, AL 36092                                                2094     11/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
OLSEN, THEODORE
PO BOX 480092
FORT LAUDERDALE, FL 33348                                         2095     11/7/2017      TK Holdings Inc.                        $13,755.00              $0.00              $0.00                                              $13,755.00
MULVAHILL, MICHAEL JOHN
3109 SW 1ST AVE
GRAND RAPIDS, MN 55744                                            2096    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GOLDER, ROBIN
8526 E. HEATHERVIEW LANE
ORANGE, CA 92869                                                  2097    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DESMOND, CHERYL T
1518 MARIETTA AVENUE
LANCASTER, PA 17603                                               2098     11/8/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
KELSEY, RIAN
25212 AQUA DRIVE
ELKHART, IN 46514                                                 2099     11/7/2017      TK Holdings Inc.                                                $0.00              $0.00               $0.00                               $0.00
RAVENCAMP, ROBERT L.
1705 NW FAWN CT
BLUE SPRINGS, MO 64015                                            2100     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GOODE, MICHAEL A
4930 ARBOR MEADOWS DRIVE
CUMMING, GA 30040                                                 2101     11/7/2017      TK Holdings Inc.                        $30,000.00                                 $0.00                                              $30,000.00
BROCKINGTON, CLARA LEWIS
P.O. BOX 3232
FLORENCE, SC 29502                                                2102     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
AINSWORTH, MARK S
100 BELLE MEADE DRIVE
EADS, TN 38028                                                    2103     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SCHULTZ, MALINDA A.
2991 HARLOW ROAD
EUGENE, OR 97401                                                  2104     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SMITH, CHARLES M
6625 ALVARADO RD #7105
SAN DIEGO, CA 92120                                               2105     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                              Current General                                          Current 503(b)(9)
                                                                                                                                 Current Priority   Current Secured                         Current Admin    Total Current
                 Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                  Amount                                                   Amount
MAHONEY, ROBERTA BOMBONATO
24037 SW NAUTILUS BLVD
DUNNELLON, FL 34431                                 2106     11/7/2017      TK Holdings Inc.                                                                   $0.00               $0.00                               $0.00
BERKOWITZ, MARCY A.
1353 CANARY ISLAND DR.
WESTON, FL 33327                                    2107     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BARTELME, KATHRYN
706 E GRUBB
MESQUITE, TX 75149                                  2108     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DEWITT, MARILYN
2538 CHELSEA DRIVE
TROY, MI 48084                                      2109     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
JACKSON, LINDA JUNE
16 COUNTRY RIDGE ROAD
POMONA, CA 91766                                    2110     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PERSOVSKI, SHARON
9152 ALDEN DRIVE #1
BEVERLY HILLS, CA 90210                             2111     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HUGGINS, BRENDA K
116 ROTARY COURT
AUBURN HILLS, MI 48326                              2112     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WORRELL, MICHELLE
3141 ANN STREET
BALDWIN, NY 11510                                   2113     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WILEY, STEVIE JOE
1924 DOBBINS AVE.
ANDERSON, SC 29625                                  2114     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DAVEY, BRIAN
1315 SUNSET
COWICHE, WA 98923                                   2115     11/7/2017      TK Holdings Inc.                            $68.86                                                                                        $68.86
SMITH, SUSAN
7194 STILES DR.
ANN ARBOR, MI 48103‐9642                            2116     11/7/2017      TK Holdings Inc.                         $1,000.00                                                                                     $1,000.00
RHODUS, ELIZABETH R
300 OUTRIGGER LANE
COLUMBIA, SC 29212                                  2117     11/7/2017      TK Holdings Inc.                         $2,800.00              $0.00                                                                  $2,800.00
HANDLE, DANIEL
8755 NORTH DEAN CIRCLE
RIVER HILLS, WI 53217                               2118     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RODRIGUEZ, ALBERTO
7179 HALF MOON LAKE DR
WINTER GARDEN, FL 34787                             2119     11/7/2017      TK Holdings Inc.                                                $0.00          $5,000.00                                               $5,000.00
GUERRERO, HIPOLITO
320 EVEREST ST
OXNARD, CA 93030                                    2120     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ABACA, REGGIENA
5732 E. LOS ANGELES AVE
SIMI VALLEY, CA 93063                               2121     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GOLPHIN, REGINALD
6310 N FAIRHILL STREET
PHILADELPHIA, PA 19126                              2122     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GEREMONTE, YVONNE
1789 STATE ROUTE 27 #119
EDISON, NJ 08817                                    2123     11/7/2017      TK Holdings Inc.                         $2,000.00                                                                                     $2,000.00



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                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
THERTULIEN, KETTLY
401 WYNNEFIELD CIRCLE
BEAR, DE 19701                                        2124     11/7/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
SWANEY, JACK D
24202 27TH AVE NE
ARLINGTON, WA 98223                                   2125     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
AALSTEC DATA CORPORATION
PO BOX 43555
RENAISSANCE CENTER
DETROIT, MI 48243                                     2126     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RAMIREZ, IRENE
PO BOX 154192
WACO, TX 76715                                        2127     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SCHAEFER, MARK J
12021 W. ELMHURST PKWY
WAUWATOSA, WI 53226                                   2128     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WESTERN SURETY COMPANY
LAW OFFICES OF MICHAEL P. O'CONNOR
MICHAEL P. O'CONNOR, ESQ.
10 ESQUIRE ROAD, SUITE 14
NEW CITY, NY 10956                                    2129     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GOWER, TYLA
39201 SAN IGNACIO RD
HEMET, CA 92544                                       2130     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CNG ADVISORS
48 OXTON CIR
PINEHURST, NC 28374‐8880                              2131     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BREED, MARTHA H.
1285 CLOVER LN.
WALNUT CREEK, CA 94595                                2132     11/7/2017      TK Holdings Inc.                          $500.00                                                                                        $500.00
PHAM, DAVID M.
2810 S. WASHINGTON ST.
AMARILLO, TX 79109                                    2133     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BUCHANAN, ANTONIO D.
5 MOUNTAIN OAK
LITTLETON, CO 80127                                   2134     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LATARCHA, TAWANI LATARCHA
909 ENTERPRISE COVE AVE UNIT 203
ORANGE CITY, FL 32763                                 2135     11/7/2017      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
PORTER, JAMES L.
155 E SANNER ST
SOMERSET, PA 15501                                    2136     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SIMPSON, TRACIE CHERNAE
1105 S. CHICAGO AVE.
FORT WORTH, TX 76105                                  2137     11/7/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
KELLY, TAMMY L.
7916 NORRITON CIRCLE NW
NORTH CANTON, OH 44720                                2138     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SALAZAT, CLAUDIA GUADALUPE ALBA
DIAGONAL DE LAS FUENTES
249 VILLAS LA MERCED TORREÓN
COAHUILA
MEXICO                                                2139     11/7/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
REYES, ERENDIRA
5509 SARA JANE ST
BAKERSFIELD, CA 93313                                 2140     11/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
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                     Creditor Name and Address                  Claim No. Claim Date               Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                     Amount                                                    Amount
SIMON, CLIFFORD
22 OAK TRAIL ROAD
ENGLEWOOD, NJ 07631                                               2141     11/7/2017           TK Holdings Inc.                             $0.00                                                                                          $0.00
ARTIGAS, PATRICIA MERCEDES
5291 W 22ND CT
HIALEAH, FL 33016                                                 2142    11/10/2017           TK Holdings Inc.                             $0.00                                                                                          $0.00
LANDIS, GREGORY P
203 SILVER LEAF RIDGE
HARRISBURG, PA 17110                                              2143     11/7/2017   Strosshe‐Mex, S. de R.L. de C.V.                     $0.00                                                                                          $0.00
HESS, BERTIL F.
59 ROSEBRIAR AVE
WAKEFIELD, RI 02879                                               2144     11/8/2017           TK Holdings Inc.                           $800.00                                                                                        $800.00
ULINE SHIPPING SUPPLIES
12575 ULINE DRIVE
PLEASANT PRAIRIE, WI 53158                                        2145     11/7/2017           TK Holdings Inc.                             $0.00                                                      $0.00                               $0.00
MCQUEEN, DEXTER B
BILLIE CHESTON
PO BOX 22642
TRENTON, NJ 08607                                                 2146     11/8/2017           TK Holdings Inc.                                                 $0.00                                                                      $0.00
TAYLOR, JANITA
3414 PINEWOOD DR. NE
PALM BAY, FL 32905                                                2147    11/10/2017           TK Holdings Inc.                                                 $0.00                                                                      $0.00
KARPEL, ALAN & ARLENE
LAW OFFICE OF ZELNER & KARPEL
DONALD E. KARPEL, ESQ.
16633 VENTURA BLVD.
SUITE 735
ENCINO, CA 91436                                                  2148     11/8/2017           TK Holdings Inc.                      $3,500,000.00                                                                                 $3,500,000.00
SAMO, JOSEPH
2221 CAMINO DEL RIO SOUTH, #305
SAN DIEGO, CA 92108                                               2149     11/8/2017           TK Holdings Inc.                             $0.00               $0.00                                                                      $0.00
HALE, AIAN JEFFREY
23209 HIGHLINE ROAD
SPIRO, OK 74959                                                   2150     11/8/2017           TK Holdings Inc.                             $0.00                                                                                          $0.00
GLADFELTER, PHILLIP E
725 NINTH AVE APT 2108
SEATTLE, WA 98104‐2080                                            2151     11/8/2017           TK Holdings Inc.                             $0.00                                                                                          $0.00
MORENO, JUANITA
1817 W. BUENA VISTA AVS
VISALIA, CA 93291                                                 2152     11/8/2017           TK Holdings Inc.                             $0.00               $0.00                                                                      $0.00
BRYAN, BRADLEY K.
852 3RD STREET
MANHATTAN BEACH, CA 90266                                         2153     11/8/2017           TK Holdings Inc.                             $0.00                                                                                          $0.00
CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
JENNIFER
JENNIFER CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                               2154     11/8/2017            TK Mexico LLC                               $0.00                                                                                          $0.00
SWANIGAN, DENISE
1912 N. LOCKWOOD AVE
CHICAGO, IL 60639                                                 2155     11/8/2017           TK Holdings Inc.                                                 $0.00              $0.00               $0.00                               $0.00
ANDERSON, TAMMY
27068 LA PAZ ROAD
ALISO VIEJO, CA 92656                                             2156     11/8/2017           TK Holdings Inc.                             $0.00               $0.00                                                                      $0.00



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                     Creditor Name and Address                        Claim No. Claim Date                   Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                               Amount                                                   Amount
CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
JENNIFER
JENNIFER CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2157     11/8/2017   TK Holdings de Mexico S. de R.L. de C.V.                 $0.00                                                                                         $0.00
MICHAELS, ROSE A.
507 LIGONIER PIKES
JOHNSTOWN, PA 15905                                                     2158     11/8/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
KATELYN
KATELYN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2159     11/8/2017   TK Holdings de Mexico S. de R.L. de C.V.                 $0.00                                                                                         $0.00
MITCHEM, PATRICIA L
7820 E 103RD TERR
KANSAS CITY, MO 64134                                                   2160    11/10/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00

KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, COLIN
COLIN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2161     11/8/2017       Takata Protection Systems Inc.                       $0.00                                                                                         $0.00
TAYLOR, JANITA
3414 PINEWOOD DR. NE
PALM BAY, FL 32905                                                      2162    11/10/2017              TK Holdings Inc.                              $0.00              $0.00              $0.00                                                   $0.00
CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
JENNIFER
JENNIFER CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2163     11/8/2017               TK Finance, LLC                              $0.00                                                                                         $0.00
CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
JENNIFER
JENNIFER CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2164     11/8/2017                TK China, LLC                               $0.00                                                                                         $0.00
CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
JENNIFER
JENNIFER CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2165     11/8/2017       Takata de Mexico, S.A. de C.V.                       $0.00                                                                                         $0.00
ALASKA USA FEDERAL CREDIT UNION
308 E VERDUGO AVE UNIT C
BURBANK, CA 91502                                                       2166    11/10/2017              TK Holdings Inc.                         $37,459.00              $0.00              $0.00               $0.00                          $37,459.00
SALTER, AUNDREA L.
400 BIRCHALL LANE
UNIT 302
HOOVER, AL 35226                                                        2167     11/8/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
KEYES, ALBERT
5323 BLANEY WAY
DALLAS, TX 75227                                                        2168     11/3/2017              TK Holdings Inc.                         $46,000.00                                                                                    $46,000.00
WINGFIELD, DAMION
1906 WESTOVER LANE
KENNESAW, GA 30152                                                      2169     11/8/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
BAYLESS, DAVE
8231 HOLLY OAK ST
CITRUS HEIGHTS, CA 95610‐0632                                           2170     11/8/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00


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                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
SCHMIT, CATHERINE
1320 S. MOUNT PROPSECT ROAD
DES PLAINES, IL 60018                                  2171     11/8/2017      TK Holdings Inc.                         $1,000.00                                                                                     $1,000.00
PIERCEY NORTH, INC. DBA PIERCEY TOYOTA
16901 MILLIKAN AVE.
IRVINE, CA 92606                                       2172     11/8/2017      TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
WALKER, NICOLAS
522 W 127TH ST #324
LOS ANGELES, CA 90044                                  2173     11/8/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
ROBERSON, JIMMIE
1860 COPPER LANTERN DRIVE
HACIENDA HEIGHTS, CA 91745                             2174     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RODRIGUEZ‐DÍAZ, ROSABEL
CALLE C D‐16
URB. EL DORADO
SAN JUAN, PR 00926‐3481                                2175     11/8/2017      TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
DISANTI, ANGELO
1056 N. FLETCHER AVENUE
N. VALLEY STREAM, NY 11580                             2176     11/8/2017      Takata Americas                              $0.00                                                                                         $0.00
SMITH, ANNETTE LOUISE
5133 THRALL ROAD
ELLENSBURG, WA 98926                                   2177     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HARDING, ANDRONIC
903 EDFIE KIRK CT
RICHMOND, TX 77469                                     2178     11/8/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
PRO WEST WALL PRODUCTS
2661 DEL MONTE STREET
WEST SACRAMENTO, CA 95691                              2179     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
NUGENT, SELLAR BULLARD
61 EAGLE VIEW DRIVE
EAGLE POINT, OR 97524                                  2180     11/8/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
AUSTIN, CHRISTOPHER
21516 43RD AVE CT E
SPANAWAY, WA 98387‐6842                                2181     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KHARADJIAN, HARUTYUN H.
7932 ALLOTT AVENUE
PANORAMA CITY, CA 91402                                2182     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RICHARDS, MATTHEW
166 SUSSEX STREET
SAN FRANCISCO, CA 94131                                2183     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
REEVES, JAMILA
1215 SOUTH TUCKER BLVD
ST LOUIS, MO 63104                                     2184     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LYON, FRANK W.
101 PINE ST
LEICESTER, MA 01524                                    2185     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WATKINS, HUGH
2552 MORELLO HEIGHTS CIRCLE
MARTINEZ, CA 94553                                     2186     11/8/2017      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
MURRAY, CRAIG F.
32 LOWELL DR.
MARLTON, NJ 08053                                      2187     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SANCHEZ, MANUEL
1770 N NANCI LN
SAN JACINTO, CA 92583                                  2188     11/8/2017      TK Holdings Inc.                             $0.00              $0.00              $0.00               $0.00                               $0.00


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                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
NOONAN, SUSAN J.
4716‐25TH AVENUE NE PMB 105
SEATTLE, WA 98105                                     2189     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FRY, ANNETTE
1500 NE 114TH STREET
KC, MO 64155‐1471                                     2190     11/8/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
HIRSCH, ROSALYN
307 CYNWYD RD.
BALA CYNWYD, PA 19004                                 2191     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FOWKES, ANTHONY
4491 WESTMONT ST
VENTURA, CA 93003‐3815                                2192     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HALE, LORETTA HONEYCUTT
23209 HIGHLINE RD
SPIRO, OK 74959                                       2193     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FAWN PLASTICS COMPANY, INC.
GORDON FEINBLATT, LLC
LAWRENCE D. COPPEL, ESQUIRE
233 E. REDWOOD STREET
BALTIMORE, MD 21202‐3332                              2194     11/8/2017      TK Holdings Inc.                                                                                       $0.00                               $0.00
FERNANDEZ, JUSTIN
ARTURO SANTANA, ESQ.
754 N. CITRUS AVENUE
COVINA, CA 91723                                      2195     11/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SANCHEZ, JOSEPHINE
6541 ELM AVE
SAN BERNARDINO, CA 92404                              2196     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MOORE, DANNY A
4226 ABERCORN ROAD
KNOXVILLE, TN 37921                                   2197     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WEISSMAN, PHILIP
61 VICHY DRIVE
SARATOGA SPRINGS, NY 12866                            2198     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TOYOTA MOTOR CREDIT CORP
AMY KOPPELMAN
12525 GLENHURST AVE. #305
BURNSVILLE, MN 55337                                  2199     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
METZNER, CLAUS S
19 HARBOR LANE
CUSHING, ME 04563                                     2200     11/9/2017      TK Holdings Inc.                          $303.50                                                                                        $303.50
JENKINS, TERRY
18107 ZEMMA LANE
HAGERSTOWN, MD 21740                                  2201     11/9/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
STEELE, BOBBY
1 CHEMIN COURT
LITTLE ROCK, AR 72223                                 2202     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CYNTHIA A GOLSON‐STEELE
PO BOX 2422
EVANS, GA 30809                                       2203     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SEGURA, ROBERTO R
11850 PEPPER ST
BLOOMINGTON, CA 92316                                 2204     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MESSINEO, SALVATORE
PO BOX 130916
BIG BEAR LAKE, CA 92315                               2205     11/9/2017      TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00


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                                                                                                                                                Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                Amount                                                   Amount
FOLEY, JOEL K.
100 PLANTATION DR
RICHMOND, KY 40475‐7966                                           2206     11/9/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
BP NORTH SPRINGS, INC. DBA FREEDOM HONDA
16901 MILIKAN AVE.
IRVINE, CA 92606                                                  2207     11/9/2017      TK Holdings Inc.                                                                                       $0.00                               $0.00
PARTIDA, MANUEL J
1824 ELM
DETROIT, MI 48216                                                 2208     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
STACK, NANCY K
18620 BURKE DRIVE
PLYMOUTH, CA 95669                                                2209     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CASTELLANOS‐PEREZ, NORMA
PO BOX 3451
VISALIA, CA 93278                                                 2210     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SCHOOLS FIRST CREDIT UNION
603 N EASTWOOD
SANTA ANA, CA 92701                                               2211     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
VU LAM, NGOC BINH
26715 19TH AVE SOUTH
DES MOINES, WA 98198                                              2212     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LIVINGSTON INTERNATIONAL
PO BOX 5640
TERMINAL A
TORONTO, ON M5W 1P1
CANADA                                                            2213     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MARK & SANDRA PRESLER
320 E LOS FELIS AVE.
STOCKTON, CA 95210                                                2214     11/9/2017      TK Holdings Inc.                        $12,343.41                                                                                    $12,343.41
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
KATELYN
KATELYN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                               2215     11/9/2017      TK Mexico Inc.                               $0.00                                                                                         $0.00
PIERCEY FONTANA, LLC DBA ROCK HONDA
16901 MILLIKAN AVE.
IRVINE, CA 92606                                                  2216     11/9/2017      TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
MIDORI AUTO LEATHER NORTH AMERICA
KENICHIRO IWAO
MUNEO OSHIMA
25893 MEADOWBROOK RD.
NOVI, MI 48375                                                    2217     11/9/2017      TK Holdings Inc.                                                                                       $0.00                               $0.00
CRUZ, HECTOR S
1300 GLENNCROSS CT #49
LOS ANGELES, CA 90023                                             2218     11/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WESTMINSTER AUTOMOTIVE GROUP, INC. DBA HONDA WORLD
16901 MILLIKAN AVE.
IRVINE, CA 92606                                                  2219     11/9/2017      TK Holdings Inc.                                                                                       $0.00                               $0.00
BULLOCK, RONNIE
2531 HARPERS CREEK CT.
FRESNO, TX 77545                                                  2220     11/9/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
GRAY, DEAN G
33901 HARVEST WAY
WILDOMAR, CA 92595                                                2221     11/9/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00



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                     Creditor Name and Address                  Claim No. Claim Date                   Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                         Amount                                                   Amount
KANTER, ELIZABETH B.
700 46TH STREET
SACRAMENTO, CA 95819                                              2222     11/9/2017              TK Holdings Inc.                                                 $0.00                                                                      $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
KATELYN
KATELYN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                               2223     11/9/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                         $0.00
CAVALIER, MATT F.
303 MARIGOLD DRIVE
GREENSBURG, PA 15601                                              2224    11/10/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
RIDDICK, RUTH
1021 JOHN BRANCH ROAD
BATESVILLE, MS 38606                                              2225    11/10/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
MCLEAN, VICTOR
43 EAST PARK ST
APT 1
EAST ORANGE, NJ 07017                                             2226    11/10/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
RIES, PAULA
4625 N WOODBURN ST.
WHITEFISH BAY, WI 53211                                           2227     11/4/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
KOLE, DENNIS
1 LUCINDA LANE
NEW MILFORD, CT 06776                                             2228     11/4/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
KAPIC, ZIJA
10317 MUSTANG WELLS DRIVE
FORT WORTH, TX 76126                                              2229     11/4/2017              TK Holdings Inc.                                                 $0.00                                  $0.00                               $0.00
BURTON, WILLIAM
25041 OLD COLUMBIA ROAD
FRANKLINTON, LA 70438                                             2230     11/6/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
GATES, ABRAHAM
505 WISTER DRIVE
BELZONI, MS 39038                                                 2231     11/6/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
HIGH, SUZANNE MARIE
1638 SWEET BRIAR PLACE
THOUSAND OAKS, CA 91362‐1252                                      2232    11/10/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
ANDERSON, DOROTHY
2690 TANGLEWOOD CR
BELTON, TX 76513                                                  2233     11/6/2017              TK Holdings Inc.                              $0.00              $0.00                                                                      $0.00
BINFORD, MICHAEL
932 S ARMOUR ST
WICHITA, KS 67207‐2703                                            2234     11/6/2017              TK Holdings Inc.                              $0.00                                 $0.00                                                   $0.00
MARTIN, JOHN T.
643 WILSON DRIVE
XENIA, OH 45385                                                   2235    11/10/2017              TK Holdings Inc.                                                                    $0.00                                                   $0.00
GARCIA, ELEAZAR
1611 W MAIN ST
RIO GRANDE CITY, TX 78582                                         2236    11/10/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
KATELYN
KATELYN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                               2237     11/9/2017                TK China, LLC                               $0.00                                                                                         $0.00




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                                                                                                                Current General                                          Current 503(b)(9)
                                                                                                                                   Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
W.W. GRAINGER, INC.
7300 N. MELVINA AVE
MWX822879147593
NILES, IL 60714                                       2238    11/10/2017      TK Holdings Inc.                             $0.00                                 $0.00               $0.00                               $0.00
STOLL, JOHN
2735 SHERIDAN WAY
SACRAMENTO, CA 95821                                  2239    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CAMBEIS, GREGORY M
51 NORMANDY CT
MIDDLETOWN, NJ 07748                                  2240    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SCHNEIDER, GARY M
1631 BRYCE CT
NAPA, CA 94558                                        2241    11/10/2017      TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00
HAMPTON, CHAZ
8907 SABINA AVE
HESPERIA, CA 92345                                    2243    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
JONGEPIER, CORNELSI J.
37012 CALLE BONITA
PALMDALE, CA 93550‐6679                               2244    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RAGAN, MARILYN L
309 E 4TH STREET
STREATOR, IL 61364                                    2245    11/10/2017      TK Holdings Inc.                        $38,274.37                                 $0.00                                              $38,274.37
CULBERTSON, PATRICIA M.
3476 LAKESHORE DRIVE
TALLAHASSEE, FL 32312                                 2246    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MILLS, SHARON
3322 RUCKER AVE
EVERETT, WA 98201                                     2247    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SPENCER, WILLIAM E
625 NORTHSHORE ROAD
LAKE OSWEGO, OR 97034                                 2248    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DAVIS, SIDONIE
4025 BRUSHY CREEK WAY
SUWANEE, GA 30024                                     2249    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HANCIK, SHILETHA
6631 COYOTE STREET
CHINO HILLS, CA 91709                                 2250    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MURRAY, GARY
309 E 4TH STREET
STREATOR, IL 61364                                    2251    11/10/2017      TK Holdings Inc.                        $26,459.00                                 $0.00                                              $26,459.00
HANCIK, SHILETHA
6631 COYOTE STREET
CHINO HILLS, CA 91709                                 2252    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PACE BUSINESS SOLUTIONS
297 ROUTE 72 WEST
SUITE35‐PMB238
MANAHAWKIN, NJ 08050                                  2253    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DWYER, WALTER
PO BOX 2841
BIG BEAR LAKE, CA 92315                               2254    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TENNIES, MARK
2906 FAIRFIELD ST
SAN DIEGO, CA 92110                                   2255    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00




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                  Creditor Name and Address             Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
BATTLE, SAMANTHA
6242 WARNER AVE
APT 27F
HUNTINGTON BEACH, CA 92647                                2256    11/10/2017      TK Holdings Inc.                          $500.00                                                                                        $500.00
JOHN GREGORY MCCULLOUGH, EXECUTOR U/W OF MARY G.
MCCULLOUGH, DECEASED
303 BRITON PARK COURT
DULUTH, GA 30097                                          2257    11/10/2017      TK Holdings Inc.                         $2,500.00                                                                                     $2,500.00
STIRITZ, KAREN D
1800 NE 40TH ST E302
RENTON, WA 98056                                          2258    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
JONES, DIANE
2111 BIRDIE CT
PEARLAND, TX 77581                                        2259    11/11/2017      TK Holdings Inc.                        $50,000.00                                                                                    $50,000.00
MARAAN, JESSE
12807 JEANIE CT
FORT WASHINGTON, MD 20744                                 2260    11/11/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
JACOBSON, DIANA L
6649 STEINER DRIVE
SACRAMENTO, CA 95823                                      2261    11/11/2017      TK Holdings Inc.                                                $0.00                                  $0.00                               $0.00
JANOWIAK, ANTHONY R
2418 N. PETERSON DR.
SANFORD, MI 48657                                         2262    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BOYDEN, CAROLYN E
185 HOGAN AVE
VALLEJO, CA 94589‐1919                                    2263    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SULLIVAN, ANNAMARY
1933 HILLSIDE DRIVE
FALLS CHURCH, VA 22043                                    2264     11/2/2017      TK Holdings Inc.                          $500.00                                                                                        $500.00
SHIELDS, KRYSTLE BROOKE
3116 NOAH COURT
GREENVILLE, NC 27834                                      2265    11/11/2017      TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
HATFIELD, DAVID
6105 BUENA VISTA AVE
OAKLAND, CA 94618                                         2266    11/11/2017      TK Holdings Inc.                          $500.00                                                                                        $500.00
HINTON, MARTINA
6023 WOODCREST AVE
PHILADELPHIA, PA 19131                                    2267    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
AULWURM, DAVID STEPHEN
1515 HEAVENLY VIEW TRAIL
RENO, NV 89523                                            2268    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DRAKE, SHARRON
1875 BIRCHWOOD LANE
TRACY, CA 95376                                           2269    11/11/2017      TK Holdings Inc.                        $90,106.72              $0.00              $0.00               $0.00                          $90,106.72
BOSWORTH, KAI
2549 11TH AVE S #2
MINNEAPOLIS, MN 55404                                     2270    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DE BOE, ANNE
913 N LOUISE ST
SANTA ANA, CA 92703                                       2271    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
JONES, DIANE
2111 BIRDIE CT
PEARLAND, TX 77581                                        2272    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ROBERTS, HAROLD DARNELL
5222 COSUMNES DRIVE APT 168
STOCKTON, CA 95219‐7215                                   2273    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                Current General                                          Current 503(b)(9)
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                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
MCCULLOR, DANIEL
6164 MONTECITO DRIVE UNIT 4
PALM SPRINGS, CA 92264                                2274    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CARDENAS, DANIEL
9303 NEW FOREST RD
SPRING, TX 77379                                      2275    11/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
REINDESMA, GABRIELE
3755 AVOCADO BLVD, #430
LA MESA, CA 91941                                     2276    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MA, SHUK
18686 MT LASSEN DR
CASTRO VALLEY, CA 94552                               2277    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GRAYSON, CHRISTIAN
13115 LARKHAVEN DR
MORENO VALLEY, CA 92553                               2278    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ROSENBERG, ANDRIA
99 NORTH ROCKLEDGE DRIVE
LIVINGSTON, NJ 07039                                  2279    11/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CROSHIER, MARK
4070 PORTE DE PALMAS #13
SAN DIEGO, CA 92122‐5149                              2280    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WRIGHT, SHANDA
2039 W. 99TH STREET
LOS ANGELES, CA 90047                                 2281    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GUTIERREZ, ESTHER
10190 WARNER AVENUE APT B
FOUNTAIN VALLEY, CA 92708                             2282    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GRUNWALD, PRISCILLA M
10190 WARNER AVENUE APT B
FOUNTAIN VALLEY, CA 92708                             2283    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PURI, RAJINDER
302 OXFORD DR
NEW CASTLE, PA 16105                                  2284    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MODICA, STEPHEN
63 CHAMBERLAIN RD
UXBRIDGE, MA 01569                                    2285    11/12/2017      TK Holdings Inc.                          $920.00               $0.00                                                                    $920.00
GRASSI, MARLA
8820 29TH STREET CT E
EDGEWOOD, WA 98371                                    2286    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KAMM, DAVID
164 CAPTAIN EAMES CIRCLE
ASHLAND, MA 01721                                     2287    11/11/2017      TK Holdings Inc.                         $1,100.00                                                                                     $1,100.00
ZAMORA JR, HERNANDO
2800 ESPANA LANE
MODESTO, CA 95355                                     2288    11/11/2017      TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
CARDENAS, PERLA
9303 NEW FOREST RD
SPRING, TX 77379                                      2289    11/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MAKARYAN, SHUSHANIK
4321 LOS FELIZ BLVD APT 206
LOS ANGELES, CA 90027                                 2290    11/11/2017      TK Holdings Inc.                                                $0.00                                  $0.00                               $0.00
MORGAN, MICHAEL
1555 HOGAN COURT
NIPOMO, CA 93444                                      2291    11/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                     Amount                                                  Amount
SHMURAK, IGOR JOSEPH
40 ARBORSIDE
IRVINE, CA 92603                                                  2292    11/12/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
RHEDRICK, YVONNE TIANA
85 BURNSIDE AVE
SHARON HILL, PA 19079                                             2293    11/11/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
DOLAN, BRIAN J
885 STONE STORE ROAD
MIDDLEBURGH, NY 12122                                             2294    11/12/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
CAPITAL ONE AUTO FINANCE
PO BOX 60511
CITY OF INDUSTRY, CA 91716‐0511                                   2295     11/6/2017           TK Holdings Inc.                        $26,414.38                                                                                   $26,414.38
MEHLMAN, STEFANIE
5707 W. 79TH STREET
LOS ANGELES, CA 90045                                             2296     11/6/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
FANT, SAMENTA
1406 BECKER DR
KILLEEN, TX 76543                                                 2297    11/12/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
ACREE, CLARK
1807 S HWY 281
EVANT, TX 76525                                                   2298    11/12/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
HUDINA, CHUCK
P.O. BOX 774
BOLINAS, CA 94924                                                 2299     11/6/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
GAL, O DANIEL
256 SOUTH ROBERTSON BOULEVARD #330
BEVERLY HILLS, CA 90211                                           2300    11/12/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
PERSON, ANTONIO
152 TREE CREST RD
DOTHAN, AL 36301                                                  2301     11/6/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
SPURLOCK, WENDELL
11640 CANDACE DR
BATON ROUGE, LA 70807                                             2302     11/7/2017           TK Holdings Inc.                             $0.00              $0.00                                                                     $0.00
CARDENAS, DANIEL
9303 NEW FOREST RD
SPRING, TX 77379                                                  2303    11/12/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
BENITEZ, MARCO ADRIAN
11640 MAPLEDALE ST.
NORWALK, CA 90650                                                 2304     11/7/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
HUHTA, GORDON
2011 EAST 8TH ST
SUPERIOR, WI 54880                                                2305    11/12/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00
BENITEZ, MARCO ADRIAN
11640 MAPLEDALE ST
NORWALK, CA 90650                                                 2306     11/7/2017           TK Holdings Inc.                         $6,000.00                                                                                    $6,000.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
KATELYN
KATELYN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                               2307     11/9/2017   Strosshe‐Mex, S. de R.L. de C.V.                     $0.00                                                                                        $0.00
KIRCHDORFER, ROBERT
631 CHERRY STREET
DENVER, CO 80220                                                  2308    11/12/2017           TK Holdings Inc.                             $0.00                                                                                        $0.00




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                                                                                                                                                   Current Priority   Current Secured                         Current Admin    Total Current
                     Creditor Name and Address                  Claim No. Claim Date              Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                    Amount                                                   Amount
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
KATELYN
KATELYN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                               2309     11/9/2017   Takata de Mexico, S.A. de C.V.                      $0.00                                                                                         $0.00
WEINGUS, CLIFFORD S.
83 MONTELL STREET
OAKLAND, CA 94611                                                 2310    11/10/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
CODY, HOWARD
207 OAKRIDGE TRL
KENNEDALE, TX 76060                                               2311    11/12/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MULVAHILL, MICHAEL JOHN
3109 SW 1ST AVE
GRAND RAPIDS, MN 55744                                            2312    11/10/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MULVAHILL, MICHAEL JOHN
3109 SW 1ST AVE
GRAND RAPIDS, MN 55744                                            2313    11/10/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
PATEL, MUKESHBHAI
2037 TWAIN RIDGE DRIVE
LEXINGTON, KY 40514                                               2314    11/12/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
SCHUETTPELZ, LINDA M
2730 SCENIC HILLS DR
CLARKSTON, WA 99403                                               2315    11/12/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
FANT, SAMENTA
1406 BECKER DR
KILLEEN, TX 76543                                                 2316    11/12/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
HENRY, TELVIS
142 PHILLIP STREET
JACKSON, TN 38301                                                 2317    11/10/2017          TK Holdings Inc.                                                $0.00                                                                      $0.00
AC ELECTRIC OF KERNERSVILLE
PO BOX 1625
KERNERSVILLE, NC 27285                                            2318    11/10/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MORENO, RUBEN
9063 FLORENCE AVE. #208
DOWNEY, CA 90240                                                  2319    11/10/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
ARCHER, ANTOINETTE
1236 BOULDER CREEK RD
RICHMOND, VA 23225                                                2320    11/12/2017          TK Holdings Inc.                                                $0.00                                                                      $0.00
KIRCHDORFER, ROBERT
631 CHERRY ST
DENVER, CO 80220                                                  2321    11/12/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
TORRI, THOMAS L.
8223 VILLAVERDE DR.
WHITTIER, CA 90605                                                2322    11/12/2017          TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
BINDLER, JULIAN
10207 S SHERMAN RD.
SPOKANE, WA 99442                                                 2323    11/11/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MALESPIN, DAVID
576 WILDWOOD WAY
SAN FRANCISCO, CA 94112                                           2324    11/12/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MAZOROL, ERNEST J.
2015 NW FLANDERS #211
PORTLAND, OR 97209                                                2325    11/12/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
SAULS, RITA
1023 MERCED RIVER ROAD
CHULA VISTA, CA 91913                                             2326    11/12/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                   Amount                                                  Amount
KOUMISS, DIANA
811 MORNINGTON CT
SAN RAMON, CA 94582                                  2327    11/12/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
KOUMISS, ALEXANDER
811 MORNINGTON CT
SAN RAMON, CA 94582‐5787                             2328    11/12/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
WEIDING, LARRY
3824 SOUTH 316TH STREET
AUBURN, WA 98001                                     2329    11/12/2017      TK Holdings Inc.                                                $0.00                                                                     $0.00
FORBES, VINCENT
PO BOX 132
CHESTERTOWN, NY 12817                                2330    11/12/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
BAILEY, STEVEN C
21933 ARBOR LN
NOVI, MI 48375                                       2331    11/12/2017      TK Holdings Inc.                         $4,536.84              $0.00                                                                 $4,536.84
VOGLER, CLIFFORD
2 CANAL ST. APT 6
FT PLAIN, NY 13339                                   2332    11/12/2017      TK Holdings Inc.                         $5,000.00                                                                                    $5,000.00
NEEDHAM, DIANNE LEE
17916 N. 93RD WAY
SCOTTSDALE, AZ 85255                                 2333    11/12/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
FOSTER, MARQUITA
P.O. BOX 478
RUNNING SPRINGS, CA 92382                            2334    11/12/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
ALAMEDDINE, ABIR
2549 EASTBLUFF DRIVE #193
NEWPORT BEACH, CA 92660                              2335    11/12/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
SKIBSKI, RICHARD
1441 YOSEMITE PARKWAY
ALGONQUIN, IL 60102                                  2336    11/12/2017      TK Holdings Inc.                          $250.00                                                                                       $250.00
SCHUETTPELZ, DANIEL D
2730 SCENIC HILLS DR
CLARKSTON, WA 99403                                  2337    11/12/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
BORMAN, JOHN
915 KLISH WAY
DEL MAR, CA 92014                                    2338    11/12/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
STEINBERG, SAMUEL
4511 CHARMION LANE
ENCINO, CA 91316                                     2339    11/12/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
LAYTON, SANDRA T.
5300 CHESTER AVE
APT 22
PHILADELPHIA, PA 19143‐4929                          2340    11/12/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
BYRD, VIRGINIA M
153 BANKSTON ST
PINEVILLE, LA 71360                                  2341    11/12/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
RAY, CHARLES THOMAS
214 NORTH WASHINGTON STREET
BELCHERTOWN, MA 01007                                2342    11/13/2017      TK Holdings Inc.                       $150,000.00                                                                                  $150,000.00
VELAZQUEZ, JENNIFER
54‐11 92ND STREET
ELMHURST, NY 11373‐4639                              2343    11/12/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
GRANADOS, JOSE
1829 FOSTER RD
LAS CRUCES, NM 88001                                 2344    11/13/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00


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                    Creditor Name and Address        Claim No. Claim Date              Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
STEINBERG, SAMUEL KEVEN
4511 CHARMION LANE
ENCINO, CA 91316                                       2345    11/12/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
KWEI, DAVID
1308 SIMMONS LANE
NOVATO, CA 94945                                       2346    11/13/2017          TK Holdings Inc.                                                $0.00                                 $0.00                               $0.00
SOJTARIC, EZIB
1346 JOPLIN DR #2
SAN JOSE, CA 95118                                     2347    11/13/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
WAITS, SONDRA
927 BOONE CIRCLE
VALLEY VIEW, TX 76272                                  2348    11/12/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
MCCARTY, DAVID
6480 109TH AVE.
SOUTH HAVEN, MI 49090                                  2349    11/10/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
CARTER, CHRISTINA M.
42 GLADWIN AVE
CLAWSON, MI 48017                                      2350    11/10/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
FLAME, ANDREW
118 SPYGLASS DRIVE
BLUE BELL, PA 19422                                    2351    11/10/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
BROOKS, MONICA D
139 E DEAN STREET
FREEPORT, NY 11520                                     2352    11/13/2017   Takata Protection Systems Inc.                      $0.00                                                                                        $0.00
GRIGORENKO, SERGIY
934 E 96TH STREET
BROOKLYN, NY 11236                                     2353    11/12/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
HART, GLENN
130 SYLVAN RD
BLOOMFIELD, NJ 07003                                   2354    11/13/2017          TK Holdings Inc.                        $20,000.00                                                                                   $20,000.00
BETTENCOURT, SCOTT E
333 TREMONT STREET
DUXBURY, MA 02332                                      2355    11/13/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
FOOTMAN, ARNELL
5364 KATHERINE VILLAGE DRIVE
ELLENWOOD, GA 30294                                    2356    11/13/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
SMITH, ROBIN J
384 SURREY LANE
FAIRFIELD, CT 06824                                    2357    11/10/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
ROANTREE, MICHAEL
366 NEW CASTLE LANE
SWEDESBORO, NJ 08085                                   2358     11/8/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
VERNON, BLOSSOM
97 NORTH FULTON STREET
BLOOMFIELD, NJ 07003                                   2359    11/12/2017          TK Holdings Inc.                                                $0.00                                                                     $0.00
ZIMMERMAN, JULIE
4259 STERN AVE
SHERMAN OAKS, CA 91423                                 2360     11/8/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
CONWAY, MEREDITH R.
92 LORING AVENUE
WINCHESTER, MA 01890                                   2361    11/13/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
MARIANI, WARNER
522 ROCKLAND DR.
PITTSBURGH, PA 15239                                   2362    11/13/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00



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                                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
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                                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                         Amount                                                  Amount
CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
JENNIFER
JENNIFER CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                               2363     11/8/2017               TK Mexico LLC                                $0.00                                                                                        $0.00
NIFCO AMERICA
NANCY TRAINER
8015 DOVE PARKWAY
CANAL WINCHESTER, OH 43110                                        2364    11/13/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
GALINDO, ROYA
1373 ARMSTEAD LN
FULLERTON, CA 92833                                               2365    11/11/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
BRIDGES, DEMETRIUS
30061 WREN VILLAGE DR
ABERDEEN, MS 39730                                                2366     11/8/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                        $0.00
KHANG, TONG
192 WHEELOCK PKWY W
SAINT PAUL, MN 55117‐3658                                         2367     11/9/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
KRAUSS MAFFEI DE MEXICO S DE RL DE CV
PIRINEOS 515 13. PARQUE
SANTIAGO
QUERETARO C.P. 76115
MEXICO                                                            2368    11/10/2017       Takata de Mexico, S.A. de C.V.                       $0.00                                                                                        $0.00
TICONA POLYMERS, INC.
222 W. LAS COLINAS BLVD. STE. 900N
IRVING, TX 75039                                                  2369    11/13/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
ERDMANN, RONALD R
7778 BAY LANE
FREMONT, WI 54940‐9351                                            2370    11/13/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
DAWKINS, DELONDA
2841 UTAH AVE
SACRAMENTO, CA 95822                                              2371     11/9/2017              TK Holdings Inc.                          $3,091.42              $0.00                                 $0.00                           $3,091.42
WESTFALL, ROXANNE WELLS
13127 OVERLOOK PASS
ROSWELL, GA 30075                                                 2372    11/13/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
TAYLOR, BARBARA A
648 BURNS AVE.
FLOSSMOOR, IL 60422                                               2373    11/10/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
MEHLE, CLARENCE J
1096 WHITETAIL DRIVE
MANDEVILLE, LA 70448                                              2374    11/13/2017              TK Holdings Inc.                                                                                                                           $0.00
NEGRI, CRISTIANO
40 AUVERGNE
NEWPORT BEACH, CA 92657                                           2375    11/13/2017              TK Holdings Inc.                                                 $0.00                                                                     $0.00
VEGA MUNOZ, PEDRO ADRIAN
2305 W. 92ND AVE #220
WESTMINSTER, CO 80260                                             2376     11/9/2017              TK Holdings Inc.                          $4,000.00                                                                                    $4,000.00
REYES, MISTY G.
3929 GREENLEAF DR.
LAS VEGAS, NV 89120                                               2377    11/13/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
BUNKER STEEL BUILDINGS INC
PO BOX 48287
SPOKANE, WA 99228                                                 2378    11/13/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
ARNETT, JIM
14029 FONTANA
LEAWOOD, KS 66224                                                 2379    11/13/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
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                                                                                                                                              Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                              Amount                                                   Amount
SIMPSON, DEBORAH M.
111 OAK LN
CEDAR CREEK, TX 78612                                           2380    11/13/2017      TK Holdings Inc.                                                                                                                            $0.00
HICKEY, JUDITH
19541 MOUNTAINEER DRIVE
SENECA ROCKS, WV 26884                                          2381    11/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
NATIONAL UNION FIRE INSURANCE CO. OF PITTSBURGH, PA. ET AL.
AIG PROPERTY CASUALTY, INC.
ATTN: KEVIN J. LARNER
80 PINE STREET, 13TH FLOOR
NEW YORK, NY 10005                                              2382    11/13/2017      TK Mexico Inc.                               $0.00                                 $0.00                                  $0.00             $0.00
WILSON, BRANDEN
1050 N. POINT ST. APT 705
SAN FRANCISCO, CA 94109                                         2383    11/13/2017      TK Holdings Inc.                          $500.00                                                                                         $500.00
BLOXHAM, MICHAEL KEITH
6105 MASSEY CROSSING ROAD
WILLARDS, MD 21874                                              2384    11/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
MESSNER, THOMAS W
6329 KNOB HILL COURT
GRAND BLANC, MI 48439                                           2385    11/13/2017      TK Holdings Inc.                             $0.00              $0.00                                                                       $0.00
ESTEPP, JACK
17235 VENDOR PL
POWAY, CA 92064                                                 2386    11/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
NIEDERER, KIRSTEN
5222 LAXITA DR
LAPORTE, IN 46350                                               2387    11/13/2017      TK Holdings Inc.                          $500.00                                                                                         $500.00
DAVIS, MARY E.
10901 BRIGHT FOX DRIVE,103
INDIANAPOLIS, IN 46234                                          2388    11/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
SALT EXCHANGE INC.
4231 DIRECTOR DRIVE
SAN ANTONIO, TX 78219                                           2389    11/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
AA JANSSON INC
2070 AIRPORT ROAD
WATERFORD, MI 48327                                             2390    11/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
NELSON, KATHLEEN
840 LINDA VISTA AVE
PASADENA, CA 91103                                              2391    11/10/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
PROCTOR, JAMES N
150 TERA LEE CT.
RACINE, WI 53402                                                2392    11/11/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
PARKER, AMBER
2080 HYDRANGEA LANE
AUSTELL, GA 30106                                               2393    11/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
HAVENS, EDWIN W
10816 CASH VALLEY RD NW
LAVALE, MD 21502‐6047                                           2394    11/10/2017      TK Holdings Inc.                         $5,000.00                                                                                      $5,000.00
LIU, JESSIE
15421 HOOVER LN
FONTANA, CA 92336                                               2395    11/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
HANCIK, THOMAS
6631 COYOTE STREET
CHINO HILLS, CA 91709                                           2396    11/10/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
MWANIKA, KOMORA M.
44 RICKARD ST., APT. A11
CORTLAND, NY 13045                                              2397    11/10/2017      TK Holdings Inc.                         $3,000.00              $0.00                                  $0.00                            $3,000.00
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                                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                                  Amount                                                   Amount
ARIZONA AUTO PARTNERSHIP
15901 E EAGLE ROCK DR.
FOUNTAIN HILLS, AZ 85268                                        2398    11/13/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
NAMAZIE, MITRA
5846 MCDONIE AVE.
WOODLAND HILLS, CA 91367‐5501                                   2399    11/10/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
WADE, DEVIN
5215 SHELBORNE CIRCLE APT1
MEMPHIS, TN 38134                                               2400    11/13/2017          TK Holdings Inc.                                                $0.00                                  $0.00                                $0.00
BARNGROVER, TISHAN
422 PAGE AVENUE UNIT B
YUBA CITY, CA 95991                                             2401     11/8/2017         Takata Americas                               $0.00              $0.00              $0.00               $0.00                                $0.00
NATIONAL UNION FIRE INSURANCE CO. OF PITTSBURGH, PA. ET AL.
AIG PROPERTY CASUALTY, INC.
ATTN: KEVIN J. LARNER
80 PINE STREET, 13TH FLOOR
NEW YORK, NY 10005                                              2402    11/10/2017         Takata Americas                               $0.00                                 $0.00                                  $0.00             $0.00
KENNEDY, CHERITHA
1900 OAKDALE ROAD APT 123
MODESTO, CA 95355                                               2403    11/10/2017          TK Holdings Inc.                             $0.00              $0.00              $0.00                                                    $0.00
MONCADA‐GIL, MARIA ELSA
CRAM VALDEZ BRIGMAN & NELSON
ROGER M. CRAM, ESQ.
DANIEL M. DASTRUP, ESQ.
2451 S. BUFFALO DR., #120
LAS VEGAS, NV 89117                                             2404    11/13/2017   Takata Protection Systems Inc.                      $0.00                                                                                          $0.00
NATIONAL UNION FIRE INSURANCE CO. OF PITTSBURGH, PA. ET AL.
AIG PROPERTY CASUALTY, INC.
ATTN: KEVIN J. LARNER
80 PINE STREET, 13TH FLOOR
NEW YORK, NY 10005                                              2405    11/10/2017          TK Finance, LLC                              $0.00                                 $0.00                                  $0.00             $0.00
MILLS, SHARON
3322 RUCKER AVE
EVERETT, WA 98201                                               2406    11/10/2017          TK Holdings Inc.                             $0.00              $0.00                                                                       $0.00
MILLS, SHARON
3322 RUCKER AVE
EVERETT, WA 98201                                               2407    11/10/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
NATIONAL UNION FIRE INSURANCE CO. OF PITTSBURGH, PA. ET AL.
AIG PROPERTY CASUALTY, INC.
ATTN: KEVIN J. LARNER
80 PINE STREET, 13TH FLOOR
NEW YORK, NY 10005                                              2408    11/10/2017           TK China, LLC                               $0.00                                 $0.00                                  $0.00             $0.00
JONES, DEMETRIUS
11011 PASO BLANCO AVE
ADELANTO, CA 92301                                              2409    11/10/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
PADILLA, PRISCILLA
375 DENTON LN
SOUTH ELGIN, IL 60177                                           2410    11/13/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
NATIONAL UNION FIRE INSURANCE CO. OF PITTSBURGH, PA. ET AL.
AIG PROPERTY CASUALTY, INC.
ATTN: KEVIN J. LARNER
80 PINE STREET, 13TH FLOOR
NEW YORK, NY 10005                                              2411    11/10/2017   Takata Protection Systems Inc.                      $0.00                                 $0.00                                  $0.00             $0.00
SMITH, ROGER E.
7629 S. MARSHFIELD AVE.
CHICAGO, IL 60620                                               2412    11/10/2017          TK Holdings Inc.                                                $0.00              $0.00                                                    $0.00
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                                                                                                                                 Current General                                          Current 503(b)(9)
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                                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                                     Amount                                                   Amount
WHITLEY, JAMES ROBERT
4433 LEM DAVIS RD.
CUNNINGHAM, TN 37052                                                   2413    11/10/2017      TK Holdings Inc.                         $1,000.00              $0.00                                                                   $1,000.00
IGLINSKY, CHARLES M.
6528 BANBURY DR
FOREST HILL, TX 76119                                                  2414    11/10/2017      TK Holdings Inc.                        $10,839.79                                 $0.00                                               $10,839.79

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, JOHN
JOHN CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                    2415    11/10/2017       TK China, LLC                               $0.00                                                                                          $0.00
ANDREWS, RENE T
4835 SCHINDLER DR
NEW ORLEANS, LA 70127                                                  2416    11/13/2017      TK Holdings Inc.                             $0.00                                 $0.00                                                    $0.00
DUERSON, JOHN W.
12647 S. 45TH STREET EAST
MUSKOGEE, OK 74403                                                     2417    11/10/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
POWELL, LAURA
12713 VERBENA AVENUE
CHINO, CA 91710                                                        2418    11/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
KESTERSON, TERRY L
126 PINEHAVEN PL
HOT SPRINGS, AR 71913                                                  2419    11/10/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
TAYLOR, MICHAEL
1000 STREETER LANE
RALEIGH, NC 27614                                                      2420    11/10/2017      TK Holdings Inc.                         $6,000.00                                                                                      $6,000.00
NATIONAL UNION FIRE INSURANCE CO. OF PITTSBURGH, PA. ET AL.
AIG PROPERTY CASUALTY, INC.
ATTN: KEVIN J. LARNER
80 PINE STREET, 13TH FLOOR
NEW YORK, NY 10005                                                     2421    11/10/2017      TK Holdings Inc.                             $0.00                                                                        $0.00             $0.00
ABDULRAHIM, CAROLYN
245 BARING ST.
LANCASTER, CA 93535                                                    2422    11/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
STAGG‐HOURIGAN, KAREN
10285 BURGUNDY WAY
SEBASTOPOL, CA 95472                                                   2423    11/10/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
GARCIA, RODOLFO
400 W. BROADVIEW
SAN ANTONIO, TX 78228                                                  2424    11/10/2017      TK Holdings Inc.                        $35,000.00                                                                                     $35,000.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, JOHN
JOHN CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                    2425    11/10/2017      TK Finance, LLC                              $0.00                                                                                          $0.00
SHARIFI, MANOOCHEHR
32880 N. STONE MANOR DRIVE
GRAYSLAKE, IL 60030                                                    2426    11/10/2017      TK Holdings Inc.                         $2,100.00                                                     $0.00                            $2,100.00
CAPP, MARTHA P
26395 MARE LN
MORENO VALLEY, CA 92555                                                2427    11/10/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00




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                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                    Amount
MONCADA‐GIL, MARIA ELSA
CRAM VALDEZ BRIGMAN & NELSON
ROGER M. CRAM, ESQ.
DANIEL M. DASTRUP, ESQ.
2451 S. BUFFALO DR., #120
LAS VEGAS, NV 89117                                   2428    11/13/2017      TK Holdings Inc.                       $500,000.00                                                                                    $500,000.00
PALLUS, JANICE
130 STATE ROUTE 208
NEW PALTZ, NY 12561                                   2429    11/12/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
UPHOLD, JAMES D.
5561 TOPA TOPA DRIVE
VENTURA, CA 93003‐1149                                2430    11/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
LUIS ANDINO AND EMILY HARRISON‐ANDINO
2548 DUANESBURG RD
DUANESBURG, NY 12056                                  2431    11/13/2017      TK Holdings Inc.                             $0.00               $0.00                                                                      $0.00
STANTON, NICOLE
9806 28TH AVE SW A102
SEATTLE, WA 98126                                     2432    11/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
IMPASTATO, DEAN E.
719 NORTH HAMILTON STREET
MARISSA, IL 62257‐1105                                2433    11/13/2017      TK Holdings Inc.                                                                    $0.00                                                   $0.00
CONKLIN, LISA M
17 ARGONNE RD WEST
HAMPTON BAYS, NY 11946                                2434    11/14/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
KIVO, PATRICIA A
162 BROADWAY
BETHPAGE, NY 11714                                    2435    11/14/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
BRUNGARD, JOSEPH
5709 DERBY CT.
OCEANSIDE, CA 92057                                   2436    11/14/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
FISHMAN, RENEE F
210 W CRYSTAL LAKE AVE 258B
HADDONFIELD, NJ 08033                                 2437    11/14/2017      TK Holdings Inc.                                                                    $0.00                                                   $0.00
FOX BUS LINES INC
BRIAN FOX
3 SILVER FOX DRIVE
MILLBURY, MA 01527                                    2438    11/14/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
ADAMS, DAVID
94 EASTWICK DRIVE
WILLIAMSVILLE, NY 14221                               2439    11/14/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
WALKER, VERONICA
5739 GOLDFINCH COURT
ELLICOTT CITY, MD 21043                               2440    11/14/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
ADAMS, DAVID
94 EASTWICK DRIVE
WILLIAMSVILLE, NY 14221                               2441    11/14/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
HO, KA‐CHUN
4379 HERITAGE GLEN CT.
MARIETTA, GA 30068                                    2442    11/14/2017      TK Holdings Inc.                        $30,000.00                                                                                     $30,000.00
TARLANO, SHARON LYNN
JOHN P. TARLANO
210 LONGMEAD DR
FAYETTEVILLE, GA 30215                                2443    11/13/2017      TK Holdings Inc.                      $5,000,000.00                                                                                 $5,000,000.00
HADDAD, NANCY
4306 JORDAN RANCH DR
DUBLIN, CA 94568                                      2444    11/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
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                                                                                                                                    Current Priority   Current Secured                         Current Admin    Total Current
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                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
HENRY, MONTY L.
530 CALLE LA RODA APT# 210
CAMARILLO, CA 93010                                    2445    11/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HISSAM, JOSEPH DEAN
515 WEST 4TH STREET APT 4
KIMBALL, NE 69145                                      2446    11/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ARCE, GUADALUPE
PO BOX 50466
AMARILLO, TX 79159                                     2447    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DIAMOND, BYRON
35662 FREDERICK ST.
WILDOMAR, CA 92595                                     2448    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TAYLOR, TICKO
1725 PHILLIPS LN
MOBILE, AL 36618                                       2449    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ACEVES, ERIKA
6913 BOULDER LAKE RD
MCKINNEY, TX 75070                                     2450    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GADBURY, RUEL A
978 S PENCIL AVE
KUNA, ID 83634                                         2451    11/14/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
FARMER, JOANNA GRACE
10504 WALLACE AVE
KANSAS CITY, MO 64134                                  2452    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SAVAGE, ROSE
4557 N. COLORADO STREET
PHILADELPHIA, PA 19140‐1138                            2453    11/14/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
KAHL‐CONWAY, RHONDA
1402 8TH ST
ANACORTES, WA 98221                                    2454    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PETERSON, ANEATHA JENKINS
3349 CLIFTON CHURCH RD, S.E.
ATLANTA, GA 30316                                      2455    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KOLAKOWSKI, CLIFFORD
86 SABBATH DAY POINT RD
SILVER BAY, NY 12874                                   2456    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
THOMCO SPECIALTY PRODUCTS
JIM THOMPSON
1100 NORTHBROOK PARKWAY
SUWANEE, GA 30024                                      2457    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RUBIN, PAULA JAN
1675 CHEVY KNOLL PLACE
GLENDALE, CA 91206                                     2458    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SOLOMON, WILLIAM E.
10301 SW 114 TERRACE
MIAMI, FL 33176‐4037                                   2459    11/11/2017      TK Holdings Inc.                         $3,000.00                                                                                     $3,000.00
NICOLLE, ALLISON J
640 GLEN IRIS DR NE
APT 320
ATLANTA, GA 30308                                      2460    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DANIEL, ANGELO L
461 MADELINE ROSE CT
FAYETTEVILLE, GA 30215                                 2461    11/11/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00




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                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
BEETHE, BERNIE
6795 BELLE VALE DR.
APT 1011
ADDIS, LA 70710                                       2462    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MATTORANO, JOSEPH WAYNE
22709 WINCHELL AVE
SNYDER, CO 80750                                      2463    11/11/2017      TK Holdings Inc.                                                $0.00                                  $0.00                               $0.00
TAL, YORAM
2000 BROADWAY STR
APT 1006
SAN FRANCISCO, CA 94115                               2464    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MATTORANO, JOSEPH WAYNE
22709 WINCHELL AVE
SNYDER, CO 80750                                      2465    11/11/2017      TK Holdings Inc.                                       $6,000,000.00                                                               $6,000,000.00
PARKER, SHARON
1739 W.WABANSIA AVENUE
CHICAGO, IL 60622                                     2466    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TUCKER, THOMAS L
1100 N. GATEWAY BLVD.
APT. 3139
FORNEY, TX 75126                                      2467    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WILLIAMS, LARRY AND TINA
3262 PARTRIDGE WAY
SPRINGFIELD, OR 97477‐7536                            2468    11/11/2017      Takata Americas                              $0.00                                 $0.00                                                   $0.00
ROGERS, CHERESE
2310 WEST BALTIMORE STREET
BALTIMORE, MD 21223                                   2469    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DAUM, THOMAS
8270 HUFF RD
BELLEVUE, MI 49021                                    2470    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MEDINA, SANDRA
62‐600 LINCOLN AVE.
#3202
MECCA, CA 92254                                       2471    11/11/2017      TK Holdings Inc.                                                                                       $0.00                               $0.00
SOULON, JASON
15701 RICHMOND AVE
BELTON, MO 64012                                      2472    11/11/2017      TK Holdings Inc.                         $3,000.00                                                                                     $3,000.00
WAGNER, KAREN M
8640 GULANA AVE # J 3014
PLAYA DEL REY, CA 90293                               2473    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MOORE, JOEY P.
2802 ORENSE
SAN CLEMENTE, CA 92673                                2474    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MCBRIDE, FLORINE WILSON AND VERNAL L.
10 SUNHURST CT
SUMTER, SC 29154                                      2475    11/13/2017      TK Holdings Inc.                       $151,400.00              $0.00                                  $0.00                         $151,400.00
HINTON, MARTINA
6023 WOODCREST AVE.
PHILADELPHIA, PA 19131                                2476    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RYAN, SALLY ANN
1327 S. GLENCROFT RD
GLENDORA, CA 91740                                    2477    11/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MAGOUIRK, SANDRA EVELYEEN
P O BOX 305
ATHENS, TX 75751                                      2478    11/11/2017      TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00


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                                                                                                                                                       Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                                       Amount                                                   Amount
LAMBING, ORVAL WAYNE
218 AUBURN ST.
PITTSBURGH, PA 15235                                            2479    11/12/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
GONZALEZ, MARIA RENTERIA
6861 FRY ST APT A
BELL GARDENS, CA 90201                                          2480    11/12/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
PIKE, DAVID
1807 NOVATO BLVD APT H
NOVATO, CA 94947                                                2481    11/12/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
ACOVIO, JEANETTE R.
P.O. BOX 217
CROOK, CO 80726                                                 2482    11/12/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
ESTES, KEN
409 E WILDER HILL LN
MONTESANO, WA 98563                                             2483    11/12/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
BUTLER, STEPHANIE
6675 OLD CANTON RD APT 2143
RIDGELAND, MS 39156                                             2484    11/12/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
ROBINSON, KATIE
P O BOX 305
HAMPTON, VA 23669                                               2485    11/14/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
ACUNA, JOSE HUMBERTO
178 W POWELL WAY
CHANDLER, AZ 85248                                              2486    11/12/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
CHOI, MICHAEL
5 TURNPIKE RD 331
TOWNSEND, MA 01469                                              2487    11/12/2017              TK Holdings Inc.                          $5,400.00                                                                                      $5,400.00
STEINBERG, MELISSA KENT
4511 CHARMION LANE
ENCINO, CA 91316                                                2488    11/12/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
RANDHAWA, TANMEET
3220 ALLAN ADALE DR
MODESTO, CA 95355                                               2489    11/12/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
BAILEY‐WALKER, LOUISE
PO BOX 371352
LAS VEGAS, NV 89137                                             2490    11/12/2017              TK Holdings Inc.                         $14,132.00              $0.00                                  $0.00                           $14,132.00
LITT, ARNOLD D.
11 ALDRIN DRIVE
WEST CALDWELL, NJ 07006                                         2491    11/12/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
BUCKSAR, RICHARD WILLIAM
7218 SW 257TH CT.
VASHON, WA 98070                                                2492    11/13/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
GIRARDI, MIRANDA
4861 SHERWOOD DR.
LAKESIDE, AS 85929                                              2493    11/13/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
MARIANI, WARNER
522 ROCKLAND DR.
PITTSBURGH, PA 15239                                            2494    11/13/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
NATIONAL UNION FIRE INSURANCE CO. OF PITTSBURGH, PA. ET AL.
AIG PROPERTY CASUALTY, INC.
ATTN: KEVIN J. LARNER
80 PINE STREET, 13TH FLOOR
NEW YORK, NY 10005                                              2495    11/13/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                 $0.00                                  $0.00             $0.00
WILLIAMSON, CHARLENE M
86‐20 208TH STREET APT 3H
QUEENS VILLAGE, NY 11427                                        2496    11/13/2017              TK Holdings Inc.                                                 $0.00                                                                       $0.00
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                    Creditor Name and Address                 Claim No. Claim Date                   Debtor                         Unsecured Claim                                           Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                                        Amount                                                   Amount
BERTRAM, MARC
707 PLEASANT CT
ONALASKA, WI 54650                                              2497    11/13/2017              TK Holdings Inc.                               $0.00                                                                                          $0.00
SMOLOSKY, MARK I
19955 EAST GREENWOOD DR
AURORA, CO 80013                                                2498    11/13/2017              TK Holdings Inc.                               $0.00                                                                                          $0.00
NATIONAL UNION FIRE INSURANCE CO. OF PITTSBURGH, PA. ET AL.
AIG PROPERTY CASUALTY, INC.
ATTN: KEVIN J. LARNER
80 PINE STREET, 13TH FLOOR
NEW YORK, NY 10005                                              2499    11/13/2017       Takata de Mexico, S.A. de C.V.                        $0.00                                 $0.00                                  $0.00             $0.00
PICKETT, GEORGE B.
217 BRAE BURN DR.
JACKSON, MS 39211                                               2500    11/13/2017              TK Holdings Inc.                               $0.00                                                                                          $0.00
NATIONAL UNION FIRE INSURANCE CO. OF PITTSBURGH, PA. ET AL.
AIG PROPERTY CASUALTY, INC.
ATTN: KEVIN J. LARNER
80 PINE STREET, 13TH FLOOR
NEW YORK, NY 10005                                              2501    11/13/2017            Interiors in Flight Inc.                         $0.00                                 $0.00                                  $0.00             $0.00
NATIONAL UNION FIRE INSURANCE CO. OF PITTSBURGH, PA. ET AL.
AIG PROPERTY CASUALTY, INC.
ATTN: KEVIN J. LARNER
80 PINE STREET, 13TH FLOOR
NEW YORK, NY 10005                                              2502    11/13/2017   TK Holdings de Mexico S. de R.L. de C.V.                  $0.00                                 $0.00                                  $0.00             $0.00
RODRIGUEZ, MARIA G
989 FM 457
BAY CITY, TX 77414                                              2503    11/13/2017              TK Holdings Inc.                                                  $0.00                                  $0.00                                $0.00
SERAFIN, JUDITH
7 JUMPING BROOK PLACE
ANNANDALE, NJ 08801                                             2504    11/13/2017              TK Holdings Inc.                               $0.00                                                                                          $0.00
NATIONAL UNION FIRE INSURANCE CO. OF PITTSBURGH, PA. ET AL.
AIG PROPERTY CASUALTY, INC.
ATTN: KEVIN J. LARNER
80 PINE STREET, 13TH FLOOR
NEW YORK, NY 10005                                              2505    11/13/2017               TK Mexico LLC                                 $0.00                                 $0.00                                  $0.00             $0.00
D'ANGELO, DAWN LEWIS
200 BELLINGRATH DRIVE
HOUMA, LA 70360                                                 2506    11/13/2017              TK Holdings Inc.                               $0.00                                                                                          $0.00
BLAKE, MONICA A
42 OLD FARM RD
ORCHARD PARK, NY 14127                                          2507    11/13/2017              TK Holdings Inc.                               $0.00                                                                                          $0.00
SOUTHWESTERN BELL TELEPHONE COMPANY
C/O AT&T SERVICES, INC
KAREN A. CAVAGNARO‐LEAD PARALEGAL
ONE AT&T WAY, ROOM 3A104
BEDMINSTER, NJ 07921                                            2508    11/13/2017              TK Holdings Inc.                               $0.00                                                                                          $0.00
WISNER, JOHN PAUL
11947 GREENGATE DR
HUDSON, FL 34669                                                2509    11/13/2017              TK Holdings Inc.                           $1,000.00                                                                                      $1,000.00
D'ANGELO, MICHAEL P.
200 BELLINGRATH DRIVE
HOUMA, LA 70360                                                 2510    11/13/2017              TK Holdings Inc.                               $0.00                                                                                          $0.00
ROGGMANN, JACK C
733 KENSINGTON DRIVE
NEWPORT NEWS, VA 23602‐6557                                     2511    11/13/2017              TK Holdings Inc.                               $0.00                                                                                          $0.00


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                     Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
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                                                                                                                      Amount                                                   Amount
BINFORD, MICHAEL
932 S ARMOUR ST
WICHITA, KS 67207                                       2512    11/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BRADLEY, COREAL
5431 EVENING MIST DRIVE
ARLINGTON, TN 38002                                     2513    11/13/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
D'ANGELO, DAWN LEWIS
200 BELLINGRATH DRIVE
HOUMA, LA 70360                                         2514    11/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GAULT, JAMES H. & MARY C.
6 SOUTH MCKEAN AVE
DONORA, PA 15033                                        2515    11/13/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
ALLEGAR, LORRAINE D.
16441 GRAYSTONE CT.
BROOMFIELD, CO 80023                                    2516    11/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HENKLE, STEPHEN L.
253 N. MAGNOLIA ST.
ORANGE, CA 92866‐1709                                   2517    11/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ADAMS, RANDALL E
364 AERIE CIRCLE
NORTH SALT LAKE, UT 84054                               2518    11/13/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
WHITE, JEFFREY ALAN
5737 KANAN RD #334
AGOURA, CA 91301                                        2519    11/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ENGLEMAN, MONIQUE
C/O JESSE S. TURNER ESQ.
PO BOX 1251
SOQUEL, CA 95073                                        2520    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LAYTON, SANDRA T.
5300 CHESTER AVE
APT 22
PHILADELPHIA, PA 19143‐4929                             2521    11/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DIPALMA, CHRIS
2700 CAPLES AVE
UNIT 1641
VANCOUVER, WA 98668                                     2522    11/13/2017      TK Holdings Inc.                         $1,237.90                                                                                     $1,237.90
WRIGHT, JACQUE
3104 E. CAMELBACK RD. ‐ SUITE 504
PHOENIX, AZ 85016                                       2523    11/13/2017      TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
LABARRE, LAUREN M.
6824 SE 19TH AVE.
PORTLAND, OR 97202‐5638                                 2524    11/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SHAND, ARTHUR CRAIG
2128 WOODFIN ROAD
SYLVA, NC 28779                                         2525    11/13/2017      TK Holdings Inc.                         $1,000.00                                                                                     $1,000.00
SCOTT, NANCY LEE
PO BOX 621
LINN CREEK, MO 65052‐0621                               2526    11/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KAJIOKA, TODD
499 ORLANDO DR
CAMBRIA, CA 93428                                       2527    11/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ALLEGAR, STEPHEN C.
16441 GRAYSTONE CT.
BROOMFIELD, CO 80023                                    2528    11/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                    Creditor Name and Address                 Claim No. Claim Date               Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                                   Amount                                                   Amount
YUST, BRADLEY ERIC
P.O. BOX 5349
SANTA ROSA, CA 95402                                            2529    11/13/2017           TK Holdings Inc.                             $0.00                                                                                          $0.00
WISE, ANDREA MICHELLE
3345 KENDALL ST.
DETROIT, MI 48238                                               2530    11/13/2017           TK Holdings Inc.                             $0.00                                                                                          $0.00
GERGAY, PETER A.
78 DELMAR STREET
SAN FRANCISCO, CA 94117‐4006                                    2531    11/13/2017           TK Holdings Inc.                         $1,000.00                                                     $0.00                            $1,000.00
BARGANDER, MATTHEW
11756 PLEASANT RD
MARSHFIELD, WI 54449                                            2532    11/13/2017           TK Holdings Inc.                        $40,000.00                                                                                     $40,000.00
TAKATA PHILIPPINES CORPORATION
106 EAST MAIN AVENUE, SPECIAL
ECONOMIC PROCESSING ZONE LAGUNA
TECHNOPARK INC.
BINAN LAGUNA 4024
PHILIPPINES                                                     2533    11/13/2017           TK Holdings Inc.                             $0.00                                                     $0.00                                $0.00
BROWN JR., ROBERT N.
110 CHESTNUT AVENUE
ATLANTIC HIGHLANDS, NJ 07716                                    2534    11/13/2017           TK Holdings Inc.                             $0.00                                                                                          $0.00
MONCADA‐GIL, MARIA ELSA
C/O CRAM VALDEZ BRIGMAN & NELSON
ATTN: ROGER M. CRAM, ESQ., DANIEL M. DASTRUP, ESQ.
2451 S. BUFFALO DR., #120
LAS VEGAS, NV 89117                                             2535    11/13/2017          Takata Americas                               $0.00                                                                                          $0.00
KEARNS, BRENT
22138 PHOENIX CT.
FARMINGTON HILLS, MI 48336                                      2536    11/13/2017           TK Holdings Inc.                             $0.00                                                                                          $0.00
PRATT, THOMAS
PO BOX 385
MURPHYS, CA 95247                                               2537    11/14/2017           TK Holdings Inc.                             $0.00                                                                                          $0.00
TAKATA ‐ TOA CO., LTD.
WELLGROW INDUSTRIAL ESTATE
159 MOO 5 BANGNA‐TRAD ROAD, KM. 36
T. BANGSAMAK, A. BANGPAKONG
CHACHOENGSAO 24180
THAILAND                                                        2538    11/13/2017           TK Holdings Inc.                             $0.00              $0.00                                                                       $0.00
STUBBLEFIELD, TAMMY
2140 BROOKS DR APT 521
DISTRICT HEIGHTS, MD 20747                                      2539    11/13/2017           TK Holdings Inc.                                                $0.00              $0.00               $0.00                                $0.00
JOHNSON, REBECCA
4024 N PORT DR.
ROCKFORD, IL 61109                                              2540    11/13/2017           TK Holdings Inc.                         $1,260.79              $0.00                                                                   $1,260.79
NATIONAL UNION FIRE INSURANCE CO. OF PITTSBURGH, PA. ET AL.
AIG PROPERTY CASUALTY, INC.
ATTN: KEVIN J. LARNER
80 PINE STREET, 13TH FLOOR
NEW YORK, NY 10005                                              2541    11/13/2017   Strosshe‐Mex, S. de R.L. de C.V.                     $0.00                                 $0.00                                  $0.00             $0.00
MIRABAL, MERLINDA
205 BEAR CREEK LANE
GEORGETOWN, TX 78633                                            2542    11/13/2017           TK Holdings Inc.                                                                   $0.00                                                    $0.00
GROW, KURT M
PO BOX 60394
COLORADO SPRINGS, CO 80960                                      2543    11/13/2017           TK Holdings Inc.                             $0.00                                                                                          $0.00


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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                           Amount                                                  Amount
CISSE, MICKYE M.
717 LEE STREET SW, APT 306
ATLANTA, GA 30310                                        2544    11/13/2017          TK Holdings Inc.                             $0.00                                                    $0.00                               $0.00
WATKINS, KENNETH
P.O. BOX 245901
SACRAMENTO, CA 95824‐5901                                2545    11/13/2017          TK Holdings Inc.                             $0.00              $0.00                                                                     $0.00
DANIELS, JUDITH AND THE ESTATE OF DAVID DANIELS
DANIELS, JUDITH
ANDERSON & ANDERSON CO.
BRIGHAM A. ANDERSON
408 PARK AVENUE
IRONTON, OH 45638                                        2546    11/13/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
JELLEY, DARREL
2922 GRANGE AVE.
STOCKTON, CA 95204                                       2547    11/13/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
ESPINOSA, FERNANDO VAZQUEZ
1920 SHERRY LANE #19
SANTA ANA, CA 92705                                      2548    11/14/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
DICKIRSON, GENE DAVID
9000 PINE TRAIL COURT
PLYMOUTH, MI 48170                                       2549    11/14/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
BARDUNIAS, DONNA J
13 HALLEY CT
POUGHKEEPSIE, NY 12601                                   2550    11/14/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
ADAMS, JENNIFER S
94 EASTWICK DRIVE
WILLIAMSVILLE, NY 14221                                  2551    11/14/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
CHEUNG HO, BING YING
4379 HERITAGE GLEN CT.
MARIETTA, GA 30068                                       2552    11/14/2017          TK Holdings Inc.                         $8,000.00                                                                                    $8,000.00
PARKER, MYRON
2080 HYDRANGEA LANE
AUSTELL, GA 30106                                        2553    11/13/2017          TK Holdings Inc.                                                $0.00                                                                     $0.00
AT&T CORP
C/O AT&T SERVICES INC
KAREN A CAVAGNARO‐LEAD PARALEGAL
ONE AT&T WAY, ROOM 3A104
BEDMINSTER, NJ 07921                                     2554    11/14/2017   Takata Protection Systems Inc.                      $0.00                                                                                        $0.00
SLUE, LEONORA
40042 CAMBRIDGE ST APT 202
CANTON, MI 48187‐4540                                    2555    11/14/2017          TK Holdings Inc.                       $150,000.00                                                                                  $150,000.00
WAGENECHT, STEVEN R
22 HIGHLAND CT
DAVENPORT, LA 52803                                      2556    11/14/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
COOK, ELIZABETH
4409 EATON PL.
ALEXANDRIA, VA 22310                                     2557    11/14/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
ROBINSON, KATIE
PO BOX 305
HAMPTON, VA 23669                                        2558    11/14/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
MANZANO, YVETTE
6405 EGLISE AVE.
PICO RIVERA, CA 90660                                    2559    11/14/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
SCHULTZ, THOMAS
104 WINDJAMMER COURT
RICHMOND, CA 94804                                       2560    11/14/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
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                                                                                                                                    Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
ABDULKARIM, RASHIDAH A
306 NEPTUNE AVE UNIT 2
JERSEY CITY, NJ 07305                                  2561    11/14/2017      TK Holdings Inc.                        $25,000.00                                                                                    $25,000.00
KELLY, GREGORY M
242 GARFIELD AVE
GRAND FORKS, ND 58201                                  2562    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SABO, EMILY
PO BOX 55
NORTH BONNEVILLE, WA 98639                             2563    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
INLAND MECHANICAL, INC.
SCOTT HARPER
13222 E WHEELER ROAD
MOSES LAKE, WA 98837                                   2564    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PRATT, THOMAS V
PO BOX 385
MURPHYS, CA 95247                                      2565    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ENGLEMAN, MONIQUE
C/O JESSE S. TURNER ESQ.
PO BOX 1251
SOQUEL, CA 95073                                       2566    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DORSEY, KENNETH
P.O. BOX 245
LOWER LAKE, CA 95457                                   2567    11/14/2017      TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00
VAN MOORLEHEM, ROGER
602 N GRANT ST
MINNEOTA, MN 56264                                     2568    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
VARGAS, MARY
8010 RIVERWALK DRIVE
UNIT 4F
LYONS, IL 60534                                        2569    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HARTMAN, CINDY L
3337 NORTH POINTE AVE.
TERRE HAUTE, IN 47805                                  2570    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
EBBESON, HELEN
509 LITERARY RD
CLEVELAND, OH 44113                                    2571    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PEREZ, LYNNETTE
11092 MAGDA LANE
LA HABRA, CA 90631                                     2572    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DINGESS, RHONDA L
3074 E 13TH AVENUE
COLUMBUS, OH 43219                                     2573    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
3R RANCH LLC
18798 70TH AVENUE
CHIPPEWA FALLS, WI 54729‐6412                          2574    11/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FOLEY, JOEL K.
100 PLANTATION DR
RICHMOND, KY 40475‐7966                                2575    11/14/2017      TK Holdings Inc.                        $15,000.00                                 $0.00                                              $15,000.00
ABBOTT, TIMOTHY
ALVIN C. PAULSON
5111 WEST MAIN STREET
BELLEVILLE, IL 62226                                   2576    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
O'NIEL 3RD, EDWARD FRANCIS
17 STONECREST DRIVE
SAUGUS, MA 01906                                       2577    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00


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                                                                                                                 Current General                                          Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
VASQUEZ, JOHN
59 DAMONTE RANCH B418
RENO, NV 89521                                         2578    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BROOKS, SHEILA
520 SCOTT STREET
SAN FRANCISCO, CA 94117                                2579    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
IHS GLOBAL INC
KRISTEN BALASIA
INFORMATION HANDLING SYST
15 IVERNESS WAY EAST
EANGLEWOOD, CO 80112                                   2580    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SLADE, PAUL D
4381 SOUTHERN OAK
HIGH POINT, NC 27265                                   2581    11/14/2017      TK Holdings Inc.                                                $0.00                                  $0.00                               $0.00
PATEL, KAMAL
176 HERMANN STREET
SAN FRANCISCO, CA 94102                                2582    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SHAHBAZ, RAYMOND
NO ADDRESS ON FILE
                                                       2583    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GRAY, SUSAN J
7407 CREEKWOOD DRIVE
NORTH ROYALTON, OH 44133                               2584    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MAIMON, ELIOR
5202 LUBAO AVE
WOODLAND HILLS, CA 91364                               2585    11/15/2017      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
RICHARDSON, PAMELA LEE
6901 BOWMAN LANE NE
CEDAR RAPIDS, IA 52402‐1577                            2586    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
THOMPSON, ELAINE L.
PO BOX 26126
TAMPA, FL 33685                                        2587    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RANDLE, CHARLETTA
13907 S SCHOOL ST.
RIVERDALE, IL 60827                                    2588    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RODRIGUEZ, ISAAC X
533 GUIBERSON ST
SANTA PAULA, CA 93060                                  2589    11/14/2017      TK Holdings Inc.                                                $0.00                                  $0.00                               $0.00
RIGONI, CORINNE MARY
5200 BROWN ROAD
PARMA, MI 49269                                        2590    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MAIMON, ORIT BRIDGETTE
5202 LUBAO AVE.
WOODLAND HILLS, CA 91364                               2591    11/15/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
SANTANA, PAUL
11 TERRACE CR., APT 3B
GREAT NECK, NY 11021                                   2592    11/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CAVINDER, KRISTINE
16623 CARAVAGGIO LOOP
MONTVERDE, FL 34756                                    2593    11/15/2017      TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00
TAYLOR, MICHAEL
1000 STREETER LANE
RALEIGH, NC 27614                                      2594    11/14/2017      Takata Americas                              $0.00                                                                                         $0.00
RUSSELL, MICHAEL R
1280 SUNNYSLOPE DR
VARNA, IL 61375                                        2595    11/15/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                Current General                                           Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                    Amount
LAM, OI CHI
917 HART STREET
BROOKLYN, NY 11237                                    2596    11/14/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
VEMULAPALLI, SURESH BABU
3204 KILBRENNAN CT.
HERNDON, VA 20171                                     2597    11/14/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
LYONS, EARLE
9985 SCRIPPS WESTVIEW WAY
#42
SAN DIEGO, CA 92131                                   2598    11/14/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
COSTELLO, JOSEPH
517 CALLE BARANDA
SAN CLEMENTE, CA 92673                                2599    11/14/2017      TK Holdings Inc.                        $31,247.93                                                                                     $31,247.93
JENNINGS, DIANA L.
8827 W. VALLEY PALMS DR.
SPRING, TX 77379                                      2600    11/14/2017      TK Holdings Inc.                        $18,865.01                                                                                     $18,865.01
DANSEREAU, CHRISTINE R.
10762 DURWARD AVENUE
BATON ROUGE, LA 70809                                 2601    11/15/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
MENDOZA, ELISA
602 AVONDALE RD.
OAK GROVE, KY 42262                                   2602    11/14/2017      TK Holdings Inc.                             $0.00               $0.00                                                                      $0.00
SUSA S. SAUER GMBH & CO KG
AN DER NIEDERMUHLE 4
DRESDEN GR 1257
GERMANY                                               2603    11/14/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
HILLMON, DERWIN L.
P.O. BOX 214
STOCKTON, CA 95201                                    2604    11/14/2017      TK Holdings Inc.                             $0.00               $0.00              $0.00                                                   $0.00
PATEL, HEMANGINI
220 LAKELAND AVE
#J5
SAYVILLE, NY 11782                                    2605    11/14/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
WISS, JUDY C.
522 SHORE ROAD
APT 6AA
LONG BEACH, NY 11561                                  2606    11/14/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
EASON, JEFF
6815 MANSION ROAD
CHATHAM, IL 62629                                     2607    11/15/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
LOUIS, SONJA
194 N. COLUMBUS AVE
MOUNT VERNON, NY 10553‐1137                           2608    11/14/2017      TK Holdings Inc.                         $5,000.00                                                                                      $5,000.00
JACKSON, JOYCE MCGEE
P. O. BOX 1243
NATALBANY, LA 70451                                   2609    11/15/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
ELGART, JESSE
107 82 STREET
BROOKLYN, NY 11209                                    2610    11/15/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
GARCIA, LARE
8909 HARVEST HILL WAY
ELK GROVE, CA 95624                                   2611    11/15/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
CONNELL, LOUIS WAYNE
1035 ANDERSON AVENUE APT. 3A
BRONX, NY 10452                                       2612    11/14/2017      TK Holdings Inc.                      $1,000,000.00                                                                                 $1,000,000.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                    Amount
FIELDER, CHRISTINE
16719 QUAIL BRIAR DRIVE
MISSOURI CITY, TX 77489                               2613    11/14/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
VIERRA, WILLIAM STEVEN
P.O. BOX 27
DEPOE BAY, OR 97341                                   2614    11/15/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
MERKEL, JADE LYN
180 HARDT HILL ROAD
BECHTELSVILLE, PA 19505                               2615    11/15/2017      TK Holdings Inc.                                                                                                                            $0.00
PETTIT, DIANA C.
221 SOUTH FREMONT STREET #208
SAN MATEO, CA 94401                                   2616    11/15/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
DE ROSAS, ANTHONY
BISNAR CHASE
1301 DOVE STREET, SUITE 120
NEWPORT BEACH, CA 92660                               2617    11/14/2017      TK Holdings Inc.                      $25,000,000.00                                                                               $25,000,000.00
NULL, MARCY
847 WASHINGTON BLVD. #B1
OAK PARK, IL 60302                                    2618    11/15/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
SLADE, PAUL D
4381 SOUTHERN OAKS DR
HIGH POINT, NC 27265                                  2619    11/14/2017      TK Holdings Inc.                                                  $0.00                                 $0.00                               $0.00
BATTLES, HEATHER
PO BOX 27
FOSS, OK 73647                                        2620    11/15/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
LUDWIG, DEBORAH J.
PO BOX 60
LONDONDERRY, NH 03053                                 2621    11/15/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
SIMORA, VLADIMIR
8614 72ND AVE E
PUYALLUP, WA 98371                                    2622    11/15/2017      TK Holdings Inc.                                                  $0.00                                                                     $0.00
VAUGHAN, JUSTIN PATRICK QUINONES
BISNAR & CHASE
ONE NEWPORT PLACE
1301 DOVE STREET, SUITE 120
NEWPORT BEACH, CA 92660                               2623    11/14/2017      TK Holdings Inc.                      $25,000,000.00                                                                               $25,000,000.00
POTMESIL, CLIFTON SCOTT
2672 396TH TRL.
ALLIANCE, NE 69301                                    2624    11/15/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
POTMESIL, BECKY R
2672 396TH TRL.
ALLIANCE, NE 69301                                    2625    11/15/2017      TK Holdings Inc.                            $130.50                                                                                       $130.50
COMPREHENSIVE LOGISTICS CO., LLC
ERIN WHITEHOUSE
4944 BELMONT AVE
YOUNGSTOWN, OH 44505                                  2626    11/14/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
MORRIS, ODESSA
100 W. CHESTNUT STREET, #406
CHICAGO, IL 60610                                     2627    11/14/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
SOUHAITE, HUGUENS C.
PO BOX 280194
QUEENS VILLAGE, NY 11428                              2628    11/14/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
ARREDONDO, SALVADOR
2215 W. GARDEN CT.
PORTERVILLE, CA 93257                                 2629    11/11/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00


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                                                                                                                Current General                                          Current 503(b)(9)
                                                                                                                                   Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
SPENCER, DECA
907 REDBIRD DR
IRVING, TX 75061                                      2630    11/15/2017      TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
KARGAPOLOV, DMITRIY
11 LITTLE BROOK LN
MONROE, NJ 08831                                      2631    11/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GURBAL, DANIEL J
901 LONGMEADOW DR
GENEVA, IL 60134‐1618                                 2632    11/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MUGLIA, MICHAEL ALBERT
860 PEACHTREE STREET
UNIT 2110
ATLANTA, GA 30308                                     2633    11/15/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KELLER, EVE
3727 E PLEASANT RUN PKWY SOUTH DR
INDIANAPOLIS, IN 46201                                2634    11/15/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MCLEAN, SEIXAS DEJUAN
9453 FIRST VIEW ST APT A
NORFOLK, VA 23503                                     2635    11/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HARRIS, LEON T
4728 MALLARD CRESCENT
PORTSMOUTH, VA 23703                                  2636    11/15/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DEMO, DANIELLE
125 ONE MILL RD
SHILOH, NC 27974                                      2637    11/15/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FIELDS, STEPHANIE
996 SPRINGFIELD STREET #B
UPLAND, CA 91786                                      2638    11/15/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CULPEPPER, MARCUS
8835 WILLMON WAY Y 7
SAN ANTONIO, TX 78239                                 2639    11/15/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
FLAME, ANDREW J.
118 SPYGLASS DRIVE
BLUE BELL, PA 19422                                   2640    11/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MIZE, RONALD G.
9811 POTOMAC RIDGE DR.
MOBILE, AL 36695                                      2641    11/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
O'BOYLE, MICHAEL
305 MYSTIC MEADOWS CT.
HOWELL, MI 48843                                      2642    11/13/2017      TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
SIDWELL, GREGORY
1721 JAMES BASFORD PL.
MT. PLEASANT, SC 29466                                2643    11/14/2017      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
HAYAKAWA ELECTRONICS AMERICA INC.
10 INDUSTRIAL DRIVE
OXFORD, MS 38655                                      2644    11/14/2017      TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
ORTH, STEPHEN EARL
6608 SOUTHCREST DR
EDINA, MN 55435                                       2645    11/15/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FLOWERS, FREDERICK W.
2 ORIOLE ROAD
ORINDA, CA 94563                                      2646    11/14/2017      TK Holdings Inc.                        $10,000.00                                                                                    $10,000.00
CULPEPPER, MARCUS
8835 WILLMON WAY Y 7
SAN ANTONIO, TX 78239                                 2647    11/15/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00


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                                                                                                                     Current General                                          Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date              Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                         Amount                                                   Amount
MYHAND, ANDRE L.
8309 MAPLE TRAILS WAY
SACRAMENTO, CA 95828                                   2648    11/15/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
CULPEPPER, MARCUS DION
8835 WILLMON WAY Y 7
SAN ANTONIO, TX 78239                                  2649    11/15/2017          TK Holdings Inc.                                                $0.00                                                                      $0.00
SULLIVAN, HOLLY
3928 PROSPECT ST
KENSINGTON, MD 20895                                   2650    11/15/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
TRIALON CORPORATION
1477 WALLI STRASSE DR.
BURTON, MI 48509                                       2651    11/15/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
GALASSO, MARCO
5829 ARLINGTON BLVD
RICHMOND, CA 94805                                     2652    11/15/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
HERNANDEZ, ALICIA RENDON
1126 ELITE CT
BAKERSFIELD, CA 93307                                  2653    11/15/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
STANLEY, RONALD
1375 LATHRUP
SAGINAW, MI 48638                                      2654    11/15/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MORRIS, LATASHA D
4326 S INDIANA AVE
CHICAGO, IL 60653                                      2655    11/15/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
HAIRE, BARBARA
26086 SAND CANYON RD
SANTA CLARITA, CA 91387                                2656    11/15/2017          TK Holdings Inc.                                                                                       $0.00                               $0.00
SELLERS, KEYARA J
319 SHERRILL AVE
LINCOLNTON, NC 28092                                   2657    11/15/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
TRW AUTOMOTIVE ELECTRONICS & COMPONENTS GMBH
INDUSTRIESTR. 2‐8
RADOLFZELL 78315
GERMANY                                                2658    11/15/2017          TK Holdings Inc.                                                                   $0.00                                                   $0.00
LAMBERT, SHANNON
308 N RAPPAHANNOCK ST
REMINGTON, VA 22734                                    2659    11/16/2017          TK Holdings Inc.                         $2,000.00                                                                                     $2,000.00
BRADDOCK, PATSY R.
230 CR 338
FALKNER, MS 38629                                      2660    11/15/2017          TK Holdings Inc.                                                                   $0.00                                                   $0.00
SELLERS, IRMA E
319 SHERRILL AVE
LINCOLNTON, NC 28092                                   2661    11/15/2017          TK Holdings Inc.                                                                                                                           $0.00
SHAHBAZ, RAYMOND
NO ADDRESS ON FILE
                                                       2662    11/15/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MISHALOV, NEIL
1330 STANNAGE AVENUE
BERKELEY, CA 94702                                     2663    11/15/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
JENKINS, JOANN
P.O. BOX 6324
FORT LAUDERDALE, FL 33310                              2664    11/15/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
FIELDS, STEPHANIE
996 SPRINGFIELD STREET #B
UPLAND, CA 91786                                       2665    11/15/2017   Takata Protection Systems Inc.                      $0.00                                                                                         $0.00


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                                                                                                                                    Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                    Amount
FIELDS, STEPHANIE
996 SPRINGFIELD STREET #B
UPLAND, CA 91786                                      2666    11/15/2017       TK China, LLC                               $0.00                                                                                          $0.00
FIELDS, STEPHANIE
996 SPRINGFIELD STREET #B
UPLAND, CA 91786                                      2667    11/15/2017      Takata Americas                              $0.00                                                                                          $0.00
PIERCE, SHARON
44799 MALOW AVENUE
STERLING HEIGHTS, MI 48314                            2668    11/16/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
FIELDS, STEPHANIE
996 SPRINGFIELD STREET #B
UPLAND, CA 91786                                      2669    11/15/2017      TK Finance, LLC                              $0.00                                                                                          $0.00
REVELES, EVA
5845 S LAND PARK DRIVE
SACRAMENTO, CA 95822                                  2670    11/16/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
LADRON DE GUEVARA, REBEKA
10040 SW 111TH STREET
MIAMI, FL 33176                                       2671    11/16/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
ROCK, NICHOLETTE M
5304 EDMONDSON PIKE #1
NASHVILLE, TN 37211                                   2672    11/15/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
PAYNE, HARRY
274 GORDON RD APT 302
ROBBINSVILLE, NJ 08691                                2673    11/16/2017      TK Holdings Inc.                        $20,850.00               $0.00              $0.00               $0.00                          $20,850.00
ROSENWASSER, SARAH B.
DREYER BOYAJIAN LLP
75 COLUMBIA ST.
ALBANY, NY 12210                                      2674    11/15/2017      TK Holdings Inc.                      $5,000,000.00                                                                                 $5,000,000.00
DAWSON, JAMES
324 35TH STREET
MANHATTAN BEACH, CA 90266                             2675    11/15/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
ELGART, BRIAN
107 82 STREET
BROOKLYN, NY 11209                                    2676    11/15/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
CARRINGTON, GLORIA JEAN
1205 CULVERHOUSE STREET
LUFKIN, TX 75904                                      2677    11/15/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
WHITNEY, TRAVIS
1161 HARDROCK
BILLINGS, MT 59105                                    2678    11/15/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
INDIANA AUTOMOTIVE FASTENERS, INC.
TAFT STETTINIUS & HOLLISTER LLP
MICHAEL P ONEIL
ONE INDIANA SQUARE, SUITE 3500
INDIANAPOLIS, IN 46204                                2679    11/15/2017      TK Holdings Inc.                                                                                        $0.00                               $0.00
CARMOUCHE, DARREN DUSTIN
6833 N MISTY COVE AVE.
BOISE, ID 83714                                       2680    11/15/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
THOMAS, LYNN
4118 DAHLIA COURT
MOUNT JOY, PA 17552                                   2681    11/15/2017      TK Holdings Inc.                                                 $0.00                                                                      $0.00
HAIRE, BARBARA
26086 SAND CANYON RD
SANTA CLARITA, CA 91387‐4013                          2682    11/15/2017      TK Holdings Inc.                                                                                        $0.00                               $0.00



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                                                                                                                 Current General                                          Current 503(b)(9)
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                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
GOUGH, LEILA
6212 AUBURN AVE
OAKLAND, CA 94618                                      2683    11/15/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CASTELLANOS, ENRIQUE
3707 AMUR MAPLE DRIVE
BAKERSFIELD, CA 93311                                  2684    11/16/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BARNES JR, WAYNE
3280 BELLERIVE DR.
PICKERINGTON, OH 43147                                 2685    11/16/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WIGGINS, KIM M.
2584 FAXON AVENUE
MEMPHIS, TN 38112                                      2686    11/15/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
ANDERSON QUALITY SPRING MANUFACTURING, INC.
125 S. HAZEL DELL WAY
CANBY, OR 97013                                        2687    11/15/2017      TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
MITCHELL, CATHERINE PATTERSON
267 ROCK HILL ROAD
ASHEVILLE, NC 28803                                    2688    11/15/2017      TK Holdings Inc.                             $0.00              $0.00              $0.00               $0.00                               $0.00
SHEETS, GARRETT L.
P.O. BOX 165
WILMAR, AR 71675                                       2689    11/15/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
NISSAN TRADING CORPORATION AMERICAS
2555 MERIDIAN BLVD., SUITE 100
FRANKLIN, TN 37067                                     2690    11/15/2017      TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
PROCTOR, NORM
7750‐43RD AVE NE
SEATTLE, WA 98115                                      2691    11/15/2017      TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
LASLEY, MARKS
10818 SKAGIT DR. SE
OLYMPIA, WA 98501‐9515                                 2692    11/15/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SMITH, ANNETTE LOUISE
5133 THRALL ROAD
ELLENSBURG, WA 98926                                   2693    11/15/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FUJII, DUANE
91‐2048 LAAKONA PLACE
EWA BEACH, HI 96706                                    2694    11/16/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ALCANTARA, EDWIN L.
4980 HILLTOP DRIVE
EL SOBRANTE, CA 94803                                  2695    11/16/2017      TK Holdings Inc.                            $11.02              $0.00                                                                     $11.02
THOMPSON, CAMERON A
23608 ISLE PLACE
OCEAN PARK, WA 98671                                   2696    11/16/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
GIBSON, KEVIN D
702 SILVER OAK DRIVE
GLENWOOD SPRINGS, CO 81601                             2697    11/16/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KNIPP, DIANA
9430 RIVERVIEW AVE.
LAKESIDE, CA 92040                                     2698    11/16/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LACEY, JAMES
NO ADDRESS ON FILE
                                                       2699    11/16/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GILLIAM, RAYMOND
1447 W 103 ST APT 9
LOS ANGELES, CA 90047                                  2700    11/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                     Current Priority   Current Secured                         Current Admin    Total Current
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                                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                     Amount
TAIT, THOMAS
212 SLOAN CT.
MATAWAN, NJ 07747                                     2701    11/16/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
RHODES, YOLANDRA
2072 82ND AVE
OAKLAND, CA 94621                                     2702    11/14/2017      TK Holdings Inc.                                                                                         $0.00                               $0.00
SANTOS, SONNETTE
1876 AMBER CT
PRESCOTT, AZ 86301‐4803                               2703    11/14/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
KIRBY, JACQUELINE
4258 BURKHART WEST DR APT A
INDIANAPOLIS, IN 46227                                2704    11/14/2017      TK Holdings Inc.                                                                     $0.00                                                   $0.00
BURTON, JOSEPH
PO BOX 1262
WILDOMAR, CA 92595                                    2705    11/16/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
DAVIS III, FRANK T.
24 DAVID RD.
MILLVILLE, NJ 08332                                   2706    11/16/2017      TK Holdings Inc.                                                  $0.00                                                                      $0.00
TRESCAL DBA DYNAMIC TECHNOLOGY
1200 N. OLD US 23
PO BOX 559
HARTLAND, MI 48353‐0559                               2707    11/16/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
SHAHBAZ, RAYMOND
NO ADDRESS ON FILE
                                                      2708    11/16/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
HANDLEY, SANDRA
159 TUCKER AVE.
SAN FRANCISCO, CA 94134                               2709    11/16/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
STALCUP, MICHELE
3206 NORFOLK STREET
APT # 14104
HOUSTON, TX 77098                                     2710    11/16/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
BARNES, LANDON
6205 CREEK LANE
GIBSONVILLE, NC 27249                                 2711    11/17/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
ELIZARRARAZ, ANTONIO
PO BOX 330781
PACOIMA, CA 91333                                     2712    11/16/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
HARRIS, EDDIE JAMES
2444 N VERNAL AVE
FRESNO, CA 93722‐6847                                 2713    11/16/2017      TK Holdings Inc.                            $344.01                                                                                        $344.01
CHAPMAN, BINTA A.
3413 WILLOW MEADOW LANE
DOUGLASVILLE, GA 30135                                2714    11/16/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
RHOTEN, MARTY D
85 HORSLEY DRIVE
ODENVILLE, AL 35120                                   2715    11/17/2017      TK Holdings Inc.                                                                     $0.00                                                   $0.00
MAYNES, LINDA J.
9 STANWYCK ROAD
MOUNT LAUREL, NJ 08054                                2716    11/16/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
CHRIS ROBLES, INDIVIDUALLY
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                 2717    11/16/2017      TK Holdings Inc.                      $10,000,000.00                                                                                $10,000,000.00


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                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                     Amount
SCHROEDER, JR., ALAN T.
42150 MADISON CT
QUARTZ HILL, CA 93536                                 2718    11/14/2017      TK Holdings Inc.                         $25,000.00                                                                                     $25,000.00
ROBLES, MARK
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                 2719    11/16/2017      TK Holdings Inc.                      $10,000,000.00                                                                                $10,000,000.00
WOODS, CLAY L.
1914 WINDING HOLLOW DRIVE
GROVE CITY, OH 43123                                  2720    11/17/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
THE BANK OF TOKYO‐MITSUBISHI UFJ, LTD.
ATTN: AMERICAS LEGAL DEPARTMENT
1251 AVENUE OF THE AMERICAS
NEW YORK, NY 10020                                    2721    11/17/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
DURA AUTOMOTIVE SYSTEMS, LLC
BROOKS WILKINS SHARKEY & TURCO PLLC
MATTHEW E. WILKINS
401 S. OLD WOODWARD AVENUE, SUITE 400
BIRMINGHAM, MI 48009                                  2722    11/17/2017      TK Holdings Inc.                                                                                         $0.00                               $0.00
DAVIS, BECKY
C/O TINSMAN & SCIANO, INC.
DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                 2723    11/16/2017      Takata Americas                               $0.00                                                                                          $0.00
VALEO NORTH AMERICA, INC.
SETH A. DRUCKER
DEPUTY GENERAL COUNSEL, NORTH AMERICA
150 STEPHENSON HIGHWAY
TROY, MI 48083                                        2724    11/16/2017      TK Holdings Inc.                              $0.00                                                      $0.00                               $0.00
DAWKINS, DELONDA
2841 UTAH AVE
SACRAMENTO, CA 95822                                  2725    11/17/2017      TK Holdings Inc.                           $9,274.26              $0.00              $0.00               $0.00                           $9,274.26
DUNPHY, AMY NORSWORTHY
3141 NORTH DAFFODIL DRIVE
BILLINGS, MT 59102                                    2726    11/17/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
WENDLER, SHIRLEY
W18028 STATE HWY 153
WITTENBERG, WI 54499                                  2727    11/17/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
CZUPKOWSKI, JOHN
3649 MOONGLO ST. NW
UNIONTOWN, OH 44685                                   2728    11/14/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
GROSS, TRUSS & HERSTIK, P.C.
ATTN: CAROL J. TRUSS, PRESIDENT
63 WEST MAIN STREET
PO BOX 5008
FREEHOLD, NJ 07728                                    2729    11/17/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
BARAJAS, JOSE
8654 CAVA DR
RANCHO CUCAMONGA, CA 91730                            2730    11/14/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
GOMEZ GALIARDI, JANINE TAALA
1699 N DOWNING ST #402
DENVER, CO 80218                                      2731    11/15/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00




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                                                                                                                                          Current Priority   Current Secured                         Current Admin    Total Current
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                                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                         Amount                                                     Amount
GALVAN, BEATRIZ
TINSMAN & SCIANO, INC.
C/O DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                  2732    11/16/2017   Takata de Mexico, S.A. de C.V.                  $62,883.00                                                                                     $62,883.00
FLORES, ANTONIO
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                  2733    11/16/2017         Takata Americas                                $0.00                                                                                          $0.00
ROBLES, SOFIA
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                  2734    11/16/2017         Takata Americas                                $0.00                                                                                          $0.00
COMERICA BANK
BODMAN PLC
ATTN: MARC M. BAKST
6TH FLOOR AT FORD FIELD
1901 ST. ANTOINE STREET
DETROIT, MI 48226                                      2735    11/17/2017          TK Holdings Inc.                                                               $750,000.00                                             $750,000.00
PENNSYLVANIA DEPARTMENT OF REVENUE
BANKRUPTCY DIVISION
PO BOX 280946
HARRISBURG, PA 17128‐0946                              2736    11/16/2017          TK Holdings Inc.                              $0.00               $0.00                                                                      $0.00
CHRIS ROBLES, INDIVIDUALLY
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                  2737    11/16/2017   Takata de Mexico, S.A. de C.V.               $10,000,000.00                                                                                $10,000,000.00
ROBLES, SOFIA
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                  2738    11/11/2017   Takata de Mexico, S.A. de C.V.               $10,000,000.00                                                                                $10,000,000.00
SGS U.S. TESTING COMPANY, INC.
FLORIO PERRUCCI STEINHARDT & FADER, LLC
SETH TIPTON, ESQ.
235 BROUBALOW WAY
PHILLIPSBURG, NJ 08865                                 2739    11/16/2017          TK Holdings Inc.                       $6,429,148.00                                                                                 $6,429,148.00
FLORES, ERNEST
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                  2740    11/16/2017   Takata de Mexico, S.A. de C.V.                 $586,904.00                                                                                    $586,904.00
ROBLES, MARK
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                  2741    11/16/2017   Takata de Mexico, S.A. de C.V.               $10,000,000.00                                                                                $10,000,000.00
RODRIGUEZ, MARIA GUADALUPE
TINSMAN & SCIANO, INC.
C/O DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                  2742    11/16/2017   Takata de Mexico, S.A. de C.V.                 $104,804.00                                                                                    $104,804.00


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                                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                      Amount                                                   Amount
HOWARD AND HOWARD ATTORNEYS PLLC
ATTN: LISA S. GRETCHKO
450 W. 4TH STREET
ROYAL OAK, MI 48067‐1483                            2743    11/16/2017          TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
JASON, MARY
TINSMAN & SCIANO, INC.
C/O DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                               2744    11/16/2017   Takata de Mexico, S.A. de C.V.                $335,374.00                                                                                   $335,374.00
FLORES, ANTONIO
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                               2745    11/16/2017   Takata de Mexico, S.A. de C.V.                 $62,883.00                                                                                    $62,883.00
RODRIGUEZ, JUAN
TINSMAN & SCIANO, INC.
C/O DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                               2746    11/16/2017   Takata de Mexico, S.A. de C.V.                $419,217.00                                                                                   $419,217.00
GALVAN, JOSE LUIS
TINSMAN & SCIANO, INC.
C/O DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                               2747    11/16/2017   Takata de Mexico, S.A. de C.V.                $461,139.00                                                                                   $461,139.00
PULIDO, ARMANDO
7317 ARROYO WAY
CROWLEY, TX 76036                                   2748    11/17/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
LOPEZ, ALBERT A. R.
1015 S TOWNE AVE
POMONA, CA 91766                                    2749    11/17/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
ROSE‐ROBINSON, SIA
2717 WASHINGTON AVENUE
CHEVY CHASE, MD 20815                               2750    11/17/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
PULIDO, ARMANDO
7317 ARROYO WAY
CROWLEY, TX 76036                                   2751    11/17/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
WONG, LINA
6281 CHARING STREET
SAN DIEGO, CA 92117                                 2752    11/18/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
PULIDO, ARMANDO
7317 ARROYO WAY
CROWLEY, TX 76036                                   2753    11/17/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
ZARAGOZA, LISA
PO BOX 23375
PLEASANT HILL, CA 94523                             2754    11/17/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
FORSHEY, JERRY
169 ALBATROSS ST
GWINN, MI 49841                                     2755    11/18/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
REYES, ANTONIO
1231 NOLAN AVE
CHULA VISTA, CA 91911                               2756    11/18/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MCCLARY, DARREN M.
12626 COLBORNE DRIVE
FRISCO, TX 75033                                    2757    11/18/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
RUCKER, LESLEY
2307 E. JOLLY RD APT 7
LANSING, MI 48910                                      2758    11/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
WILLIAMS, RENEE
1105 SASKATOON LANE
LEWISVILLE, NC 27023                                   2759    11/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
KOUTRIS, THOMAS
48 FIFTH AVE
CHAMBERSBURG, PA 17201                                 2760    11/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
CLAYMORE, MICHAEL T.
8509 12TH PL NE
LAKE STEVENS, WA 98258                                 2761    11/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
CLAYMORE, MICHAEL T.
8509 12TH PL NE
LAKE STEVENS, WA 98258                                 2762    11/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
RHINESMITH, ROBERT D.
3350 LAUDERDALE LANE
SUMTER, SC 29154                                       2763    11/18/2017      TK Holdings Inc.                         $2,000.00                                                                                    $2,000.00
MCCLARY, KANIKA
12626 COLBORNE DRIVE
FRISCO, TX 75033                                       2764    11/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
EVANS, MARJORIE
1715 W 107TH STREET
LOS ANGELES, CA 90047                                  2765    11/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
RHINESMITH, ROBERT D
3350 LAUDERDALE LANE
SUMTER, SC 29154                                       2766    11/18/2017      TK Holdings Inc.                         $2,000.00                                                                                    $2,000.00
DE LUCCA, ELENITA
4120 CABRILHO DRIVE
MARTINEZ, CA 94553                                     2767    11/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
ELLIS‐GAILLIARD, SHIRLEY
2110 COUNTRY CLUB DR.
ST. CLAIR SHORES, MI 48082                             2768    11/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
GUTHRIE, ANGELA YVONNE
5657 MOUNT ATHOS STREET
NORTH LAS VEGAS, NV 89031                              2769    11/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
JENSEN, PETER C
53 ATWOOD AVE
SAUSALITO, CA 94965                                    2770    11/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
PRANGER, KENNETH M.
23301 WESTBURY
ST CLAIR SHORES, MI 48080                              2771    11/19/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
YAO, QINGSONG
9263 228TH WAY NE
REDMOND, WA 98053                                      2772    11/19/2017      TK Holdings Inc.                          $250.00                                                                                       $250.00
BROWN, STACEY
1731 JUDY WAY
EDGEWOOD, MD 21040                                     2773    11/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
ROBINSON, CHADWICK
50 CEDAR ROAD
AMITYVILLE, NY 11701                                   2774    11/19/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
GOOSEN, FREDERICK
117 MIST FLOWER LANE
SUNSET, SC 29685                                       2775    11/19/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00



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                                                                                                                            Current General                                          Current 503(b)(9)
                                                                                                                                               Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address               Claim No. Claim Date              Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                Amount                                                   Amount
CATALAN, JOSE LUIS
200 ADAMS STREET
BAKERSFIELD, CA 93307‐3702                                    2776    11/18/2017          TK Holdings Inc.                                                $0.00                                                                      $0.00
MCINTYRE, JOHN FRANCIS
1800 BROOKSTONE COURT
VIENNA, VA 22182                                              2777    11/19/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BAJAJ, RAJEEV K
3245 W FULLERTON AVE
CHICAGO, IL 60647                                             2778    11/19/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MURPHY, KEITH E
724 EAST TOWNSEND STREET
MILWAUKEE, WI 53212                                           2779    11/19/2017          TK Holdings Inc.                        $12,555.00                                                                                    $12,555.00
SANDERS, STEVE
2012 HWY 79
BIG ROCK, TN 37023                                            2780    11/19/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
CHAPEK, JOSHUA
416 OAK ST
DAVID CITY, NE 68632                                          2781    11/19/2017          TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
KELLEY, SHEILA K.
102 FAIRHAVEN ROAD #12
MATTAPOISETT, MA 02739                                        2782    11/19/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
STEELE, JESSICA L.
5039 STATE ROUTE 80
TULLY, NY 13159                                               2783    11/19/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
WOLBACH, RICHARD
43 COUNTRYSIDE DRIVE, #2
ESSEX JCT., VT 05452‐4352                                     2784    11/20/2017          TK Holdings Inc.                                                $0.00                                                                      $0.00
WOLBACH, RICHARD
43 COUNTRYSIDE DRIVE
ESSEX JUNCTION, VT 05452                                      2785    11/20/2017          TK Holdings Inc.                         $2,850.00              $0.00                                                                  $2,850.00
NGUYEN, HUNG MINH
1178 VIKING PL
ESCONDIDO, CA 92027                                           2786    11/20/2017          TK Holdings Inc.                          $100.00                                                                                        $100.00
KHALIL, ALI
20854 RICHMOND DR.
NORTHVILLE, MI 48167                                          2787    11/19/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
WOLBACH, RICHARD
43 COUNTRYSIDE DR.
ESSEX JCT., VT 05452                                          2788    11/20/2017          TK Holdings Inc.                          $500.00               $0.00                                                                    $500.00
KRAUSSER, JUDY K
12559 N WAYFARER WAY
ORO VALLEY, AZ 85755‐8956                                     2789    11/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BELLSOUTH TELECOMMUNICATIONS, INC.
AT&T SERVICES, INC.
KAREN CAVAGNARO, ESQ.
ONE AT&T WAY, ROOM 3A104
BEDMINSTER, NJ 07921                                          2790    11/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
ROSA FLORES, PARENT AND NEXT FRIEND OF J.D., A MINOR
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                         2791    11/16/2017   Takata de Mexico, S.A. de C.V.                $251,530.00                                                                                   $251,530.00
NGUYEN, VU MINH
1178 VIKING PL
ESCONDIDO, CA 92027                                           2792    11/20/2017          TK Holdings Inc.                          $100.00                                                                                        $100.00


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                    Creditor Name and Address                 Claim No. Claim Date              Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                  Amount                                                   Amount
DAVIS, STAN
C/O TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                           2793    11/16/2017   Takata de Mexico, S.A. de C.V.                 $83,843.00                                                                                    $83,843.00
ROSA FLORES, PARENT OF E.D., A MINOR
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                           2794    11/16/2017   Takata de Mexico, S.A. de C.V.                $251,530.00                                                                                   $251,530.00
RODRIGUEZ, MATILDA
C/O TINSMAN & SCIANO, INC
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                           2795    11/16/2017   Takata de Mexico, S.A. de C.V.                $104,804.00                                                                                   $104,804.00
IRVIN ACQUISITION LLC AND IRVIN AUTOMOTIVE LLC (F/K/A IRVIN
AUTOMOTIVE, INC.)
ATTN: JOSEPH R. FINN
2600 CENTERPOINT PARKWAY
PONTIAC, MI 48341                                               2796    11/16/2017          TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
RODRIGUEZ, MARIA GUADALUPE
C/O TINSMAN & SCIANO, INC
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                           2797    11/16/2017         Takata Americas                               $0.00                                                                                         $0.00
DAVIS, BECKY
C/O TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                           2798    11/16/2017   Takata de Mexico, S.A. de C.V.                 $83,843.00                                                                                    $83,843.00
JOHN, KANDY Y.
13330 BLUES FARM RD
APT 5
LAURINBURG, NC 28352                                            2799    11/16/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
CRIFASI, JESSE R.
370 N. PRINCE HENRY WAY
CAMERON, NC 28326                                               2800    11/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
WILLIAMS, STANLEY
2708 RIVERWOOD TRAIL
FORT WORTH, TX 76109                                            2801    11/19/2017          TK Holdings Inc.                        $27,500.00                                                                                    $27,500.00
COMPTON, ELITTA K
7640 HOPKINS RD
PALMETTO, GA 30268                                              2802    11/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
AFX INDUSTRIES, LLC
LAMBERT LESER
KEITH A. SCHOFNER
755 W. BIG BEAVER RD.
SUITE 410
TROY, MI 48084                                                  2803    11/20/2017          TK Holdings Inc.                                                                                       $0.00                               $0.00
LAVOIE, JEFFREY T.
P.O. BOX 274
ORLEANS, MA 02653                                               2804    11/16/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
FOX, NANCY ANN
P.O. BOX 2595
WEAVERVILLE, CA 96093‐2595                                      2805    11/16/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00


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                    Creditor Name and Address                         Claim No. Claim Date                   Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                                  Amount
BLACKWOOD, WAYNE S.
14301 DELCASTLE DR
BOWIE, MD 20721                                                         2806    11/20/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
LAMPO, HEATHER
4916 AVRON BLVD.
METAIRIE, LA 70006                                                      2807    11/20/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
IMBODEN, WILLIAM JOHN
6916 PIONEER ROAD
WEST PALM BEACH, FL 33413                                               2808    11/20/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
FISCHER, TRAVIS
1451 N EAST ST
YORK, PA 17406                                                          2809    11/20/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
THOMPSON HINE LLP
3900 KEY CENTER
127 PUBLIC SQUARE
CLEVELAND, OH 44114                                                     2810    11/16/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
BRONISZEWSKI, URSZULA
404 HULME ST.
BURLINGTON, NJ 08016                                                    2811    11/16/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
DAVIS, BECKY
C/O TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                                   2812    11/16/2017              TK Holdings Inc.                         $83,843.00                                                                                   $83,843.00
DAVIS, STAN
TINSMAN & SCIANO, INC.
C/O DANIEL J.T. SCIANO
10107 MCALLISTER FREEWAY
SAN ANTONIO, TX 78216                                                   2813    11/16/2017              TK Holdings Inc.                         $83,843.00                                                                                   $83,843.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, CHLOE
CHLOE CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2814    11/19/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                        $0.00
ROSA FLORES, PARENT OF J.D., A MINOR
C/O TINSMAN & SCIANO, INC
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                                   2815    11/16/2017              TK Holdings Inc.                        $251,530.00                                                                                  $251,530.00
FLORES, ROSA
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                                   2816    11/16/2017              TK Holdings Inc.                        $670,747.00                                                                                  $670,747.00
RODRIGUEZ, MARIA GUADALUPE
C/O TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FREEWAY
SAN ANTONIO, TX 78216                                                   2817    11/16/2017              TK Holdings Inc.                        $104,804.00                                                                                  $104,804.00
PATTERSON, SHARNIESA M.
5414 NORTH DYEWOOD DRIVE
FLINT, MI 48532                                                         2818    11/16/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
BLACKWELL, SHANI D.
126 JUANITA BLACKWELL DRIVE
BEAUMONT, MS 39423                                                      2819    11/16/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00


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                   Creditor Name and Address                      Claim No. Claim Date          Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                  Amount                                                    Amount
FLORES, ERNEST
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                               2820    11/16/2017      TK Holdings Inc.                        $586,904.00                                                                                   $586,904.00
IKEH, BIRAELOR D
2816 MERAMEC STREET
SAINT LOUIS, MO 63118                                               2821    11/16/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
SHAHBAZ, RAYMOND
NO ADDRESS ON FILE
                                                                    2822    11/16/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
ALEXANDER, ARNITA
2140 N.E 28TH ST.
OKLAHOMA CITY, OK 73111                                             2823    11/20/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
HISS, SAHRA
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                                              2824    11/16/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
ATKINS, TRACY LITTLE
920 LIBERTY LN
FAYETTEVILLE, NC 28311                                              2825    11/16/2017      TK Holdings Inc.                                                  $0.00                                                                     $0.00
HALDEMAN, DANIEL D.
PO BOX 1585
LANGLEY, WA 98260                                                   2826    11/16/2017      TK Holdings Inc.                             $50.00               $0.00                                 $0.00                              $50.00
RODRIGUEZ, MATILDA
C/O TINSMAN & SCIANO, INC
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                               2827    11/16/2017      TK Holdings Inc.                        $104,804.00                                                                                   $104,804.00
REINDERSMA, GABRIELLE
3755 AVOCADO BLVD, #430
LA MESA, CA 91941                                                   2828    11/16/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
ROSA FLORES, PARENT OF E.D., A MINOR
C/O TINSMAN & SCIANO, INC
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                               2829    11/16/2017      TK Holdings Inc.                        $251,530.00                                                                                   $251,530.00
ROBLES, SOFIA
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                               2830    11/16/2017      TK Holdings Inc.                      $10,000,000.00                                                                               $10,000,000.00
JASON, MARY
TINSMAN & SCIANO, INC.
C/O DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                               2831    11/16/2017      TK Holdings Inc.                        $335,374.00                                                                                   $335,374.00
CHRIS ROBLES, INDEPENDENT ADMINISTRATOR OF THE ESTATE OF LUCILA
ROBLES
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                               2832    11/16/2017      TK Holdings Inc.                      $10,000,000.00                                                                               $10,000,000.00




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                                                                                                                                            Current General                                         Current 503(b)(9)
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                    Creditor Name and Address                         Claim No. Claim Date                   Debtor                         Unsecured Claim                                          Admin Priority
                                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                                  Amount

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, CHLOE
CHLOE CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2833    11/19/2017   TK Holdings de Mexico S. de R.L. de C.V.                  $0.00                                                                                        $0.00
WHITTINGHAM, THOMAS A
12 METCALFE DR.
TOPSHAM, ME 04086‐1449                                                  2834    11/16/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                                                  2835    11/16/2017               TK Mexico LLC                                 $0.00                                                                                        $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                                                  2836    11/16/2017               TK Finance, LLC                               $0.00                                                                                        $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                                                  2837    11/16/2017                TK China, LLC                                $0.00                                                                                        $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                                                  2838    11/16/2017   TK Holdings de Mexico S. de R.L. de C.V.                  $0.00                                                                                        $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                                                  2839    11/16/2017            Interiors in Flight Inc.                         $0.00                                                                                        $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                                                  2840    11/16/2017              Takata Americas                                $0.00                                                                                        $0.00
GALVAN, BEATRIZ
TINSMAN & SCIANO, INC.
C/O DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                                   2841    11/16/2017              TK Holdings Inc.                          $62,883.00                                                                                   $62,883.00
GALVAN, JOSE LUIS
TINSMAN & SCIANO, INC.
C/O DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                                   2842    11/16/2017              TK Holdings Inc.                         $461,139.00                                                                                  $461,139.00
CHRIS ROBLES, INDIVIDUALLY
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                                   2843    11/16/2017              Takata Americas                                $0.00                                                                                        $0.00
VIRGINIA ROCHELL OFFICE
196 JEFF RD. NW, APT. 906
HUNTSVILLE, AL 35806                                                    2844    11/17/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
FLORES, ROSA
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                                   2845    11/16/2017              Takata Americas                                $0.00                                                                                        $0.00
RODRIGUEZ, JUAN
TINSMAN & SCIANO, INC.
C/O DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                                   2846    11/16/2017              TK Holdings Inc.                         $419,217.00                                                                                  $419,217.00



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                                                                                                                                      Current General                                         Current 503(b)(9)
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                    Creditor Name and Address                        Claim No. Claim Date              Debtor                         Unsecured Claim                                          Admin Priority
                                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                          Amount                                                  Amount
JASON, MARY
TINSMAN & SCIANO, INC.
C/O DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                                  2847    11/16/2017         Takata Americas                                $0.00                                                                                        $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, JOHN
JOHN CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                    2848    11/19/2017   Takata de Mexico, S.A. de C.V.                       $0.00                                                                                        $0.00
GALVAN, BEATRIZ
C/O TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                                  2849    11/16/2017         Takata Americas                                $0.00                                                                                        $0.00
GALVAN, JOSE LUIS
C/O TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                                  2850    11/16/2017         Takata Americas                                $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
KATELYN
KATELYN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                    2851    11/19/2017   Takata Protection Systems Inc.                       $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
MADELINE
MADELINE KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                    2852    11/19/2017       Interiors in Flight Inc.                         $0.00                                                                                        $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                                                 2853    11/16/2017   Takata Protection Systems Inc.                       $0.00                                                                                        $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                                                 2854    11/16/2017          TK Mexico Inc.                                $0.00                                                                                        $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                                                 2855    11/17/2017   Takata de Mexico, S.A. de C.V.                       $0.00                                                                                        $0.00
STIKEMAN ELLIOTT LLP
KATHERINE KAY
5300 COMMERCE COURT WEST, 199 BAY STREET
TORONTO, ON M5L 1B9
CANADA                                                                 2856    11/17/2017          TK Holdings Inc.                              $0.00                                                                                        $0.00
BAATZ, DAWN J
408 S CHERRY STREET
WESTFIELD, IN 46074                                                    2857    11/20/2017          TK Holdings Inc.                              $0.00                                                                                        $0.00
PHIPPS, KIMBERLY
1918 W. JAY AVE
SPOKANE, WA 99208                                                      2858    11/20/2017          TK Holdings Inc.                              $0.00                                                                                        $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, JOHN
JOHN CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                    2859    11/19/2017   Takata Protection Systems Inc.                       $0.00                                                                                        $0.00


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                                                                                                                                          Current General                                          Current 503(b)(9)
                                                                                                                                                             Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address                        Claim No. Claim Date                   Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                              Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                              Amount                                                   Amount

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, JOHN
JOHN CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                    2860    11/19/2017               TK Mexico Inc.                               $0.00                                                                                         $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, JOHN
JOHN CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                    2861    11/19/2017               TK Mexico LLC                                $0.00                                                                                         $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, JOHN
JOHN CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                    2862    11/19/2017   TK Holdings de Mexico S. de R.L. de C.V.                 $0.00                                                                                         $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, JOHN
JOHN CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                    2863    11/19/2017              Takata Americas                               $0.00                                                                                         $0.00
BERRY, DOUGLAS H.
1227 E. MARDELL AVE
ORANGE, CA 92866                                                       2864    11/20/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
ALESSANDRO, STEVE
457 BEACH 123RD STREET
ROCKAWAY PARK, NY 11694                                                2865    11/20/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
BARAN, KATHRYN
21002 BARBADOS CIR
HUNTINGTON BEACH, CA 92646                                             2866    11/20/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, JOHN
JOHN CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                    2867    11/19/2017      Strosshe‐Mex, S. de R.L. de C.V.                      $0.00                                                                                         $0.00
RUDISILL, JAMES LEE
7939 WEST 82ND PLACE
ARVADA, CO 80005‐2503                                                  2868    11/20/2017              TK Holdings Inc.                              $0.00              $0.00                                  $0.00                               $0.00
TAYLOR, SCOTT A
1425 MORNING SKY CT
LAKE OSWEGO, OR 97034‐6352                                             2869    11/20/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
KWON, MIN
2333 DULLES STATION BLVD. APT 419
HERNDON, VA 20171                                                      2870    11/20/2017              TK Holdings Inc.                                                 $0.00                                                                      $0.00
UBEROI, RINKU
5669 ASPEN HEIGHTS DR
LAS VEGAS, NV 89118                                                    2871    11/21/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
DARROW, JONATHAN
10 PEMBROKE DRIVE
ENDICOTT, NY 13760                                                     2872    11/20/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
GARCIA, MARY
13641 3 STREET
PARLIER, CA 93648                                                      2873    11/20/2017              TK Holdings Inc.                                                 $0.00              $0.00                                                   $0.00
REED, BILLY G
301 EAST 12TH STREET
LITTLEFIELD, TX 79339                                                  2874    11/20/2017              TK Holdings Inc.                              $0.00                                 $0.00                                                   $0.00


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                                                                                                                                           Current General                                         Current 503(b)(9)
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                     Creditor Name and Address                        Claim No. Claim Date                   Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                                  Amount

KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, COLIN
COLIN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2875    11/19/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
CHASE, LISA A
11 CAROLINE STREET
CUMBERLAND, RI 02864                                                    2876    11/20/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00

KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, COLIN
COLIN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2877    11/19/2017   TK Holdings de Mexico S. de R.L. de C.V.                 $0.00                                                                                        $0.00

KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, COLIN
COLIN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2878    11/19/2017               TK Mexico Inc.                               $0.00                                                                                        $0.00
YERXA, CHERYL
7557 GREENHAVEN DRIVE #416
SACRAMENTO, CA 95831                                                    2879    11/20/2017              TK Holdings Inc.                          $1,000.00                                                                                    $1,000.00
INDIANA PRECISION FORGE, L.L.C.
ATTN: HIROSHI KUMAGAI, PRESIDENT
302 NORTHBROOK DRIVE
SHELBYVILLE, IN 46176                                                   2880    11/20/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
RUTHERFORD, BRIAN
34 NW 525TH RD
WARRENSBURG, MO 64093                                                   2881    11/20/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
SLOAN, IAN
21225 MINNETONKA RD
APPLE VALLEY, CA 92308                                                  2882    11/20/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
KATELYN
KATELYN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2883    11/19/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
MADELINE
MADELINE KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2884    11/19/2017              Takata Americas                               $0.00                                                                                        $0.00
QUALITY LIAISON SERVICES OF NORTH AMERICA, INC.
131 MAPLE ROW BLVD
SUITE E500
HENDERSONVILLE, TN 37075                                                2885    11/20/2017              Takata Americas                               $0.00                                                                                        $0.00
CLARK, COURTNEY L
PO BOX 7801 (310 STEVENS ST)
ASPEN, CO 81612                                                         2886    11/20/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
MADELINE
MADELINE KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2887    11/19/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00




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                     Creditor Name and Address                  Claim No. Claim Date              Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                    Amount                                                    Amount
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
MADELINE
MADELINE KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                               2888    11/19/2017   Takata de Mexico, S.A. de C.V.                      $0.00                                                                                          $0.00
NORTHERN TOOL & EQUIPMENT
TIM, MGR. 996‐8655
BLUETARP FINANCIAL, INC
PO BOX 105525
ATLANTA, GA 30348‐5525                                            2889    11/20/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
SUTTON, DAREE
LAW OFFICES OF JASON TURCHIN
2883 EXECUTIVE PARK DRIVE, SUITE 103
WESTON, FL 33331                                                  2890    11/21/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
PENNISI, ELIZABETH
7970 STEEPLECHASE COURT
PORT ST LUCIE, FL 34986                                           2891    11/21/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
FORD, ALLISON MD
161 JULLIEN DRIVE
SANTA MARIA, CA 93455‐5402                                        2892    11/20/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
COVENTRY, BRUCE D
610 SOUTH TROY ST
SUITE 104
ROYAL OAK, MI 48067                                               2893    11/20/2017          TK Holdings Inc.                                                 $0.00                                                                      $0.00
ELHAISSOUNI, RACHID
JASON TURCHIN, ESQ.
2883 EXECUTIVE PARK DRIVE
SUITE 103
WESTON, FL 33331                                                  2894    11/21/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
THOMAS, WESLEY
P.O. BOX 531181
NEW ORLEANS, LA 70153                                             2895    11/20/2017          TK Holdings Inc.                        $40,000.00                                  $0.00                                              $40,000.00
STILES, RICKY
P.O. BOX 247
SHAWNEE, OK 74802                                                 2896    11/20/2017          TK Holdings Inc.                        $14,000.00                                                                                     $14,000.00
SWEELEY, MEGAN ANNE
2419 SUMMERCREEK DRIVE
SANTA ROSA, CA 95404                                              2897    11/20/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
WRIGHT, SHANDA
2039 W. 99TH STREET
LOS ANGELES, CA 90047                                             2898    11/20/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
TOLLEN, ROBERTA KAY
2801 SW SPRING GARDEN ST
PORTLAND, OR 97219                                                2899    11/20/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
TRAN, MYKAEL
3411 S. MAIN #A
SANTA ANA, CA 92707                                               2900    11/20/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
HALL, JUDITH P.
4 GREENBRIAR
IRVINE, CA 92604                                                  2901    11/20/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
SMITH, MAELOA AND DONNELL
ALVIN SIMES
P.O. BOX 1248
FORREST CITY, AR 72336                                            2902    11/17/2017          TK Holdings Inc.                      $2,500,000.00                                                                                 $2,500,000.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date              Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
SCHECHTER FAMILY TRUST
6315 EL CAMINO DEL TEATRO
LA JOLLA, CA 92037                                     2903    11/20/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
DAVIS, STAN
C/O TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                  2904    11/16/2017         Takata Americas                               $0.00                                                                                        $0.00
VAN KAMPEN, MARK
6255 ALTA PRADERA LN
ATASCADERO, CA 93422                                   2905    11/18/2017          TK Holdings Inc.                          $117.00                                                                                       $117.00
FLORES, ERNEST
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                  2906    11/16/2017         Takata Americas                               $0.00                                                                                        $0.00
SCAGLIARINI, TOM
3712 ROLLING MEADOWS
BELLEVILLE, IL 62221                                   2907    11/18/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
FLORES, ANTONIO
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                  2908    11/16/2017          TK Holdings Inc.                        $62,883.00                                                                                   $62,883.00
LÓPEZ, DALILA PRADO
270 UPSALA ST. COLLEGE PARK EXT
SAN JUAN, PR 00921                                     2909    11/18/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
RHINESMITH, ROBERT D.
3350 LAUDERDALE LANE
SUMTER, SC 29154                                       2910    11/18/2017          TK Holdings Inc.                         $2,000.00                                                                                    $2,000.00
FLORES, ROSA
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                  2911    11/16/2017   Takata de Mexico, S.A. de C.V.                $670,747.00                                                                                  $670,747.00
ROSA FLORES, PARENT OF E.D., A MINOR
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                  2912    11/16/2017         Takata Americas                               $0.00                                                                                        $0.00
CHOU, SHEENA
22 MIRABELLA
BUENA PARK, CA 90620                                   2913    11/18/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
NEWTON, BRIGID M.
5349 VIA RAMON RD.
YORBA LINDA, CA 92887‐2562                             2914    11/19/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
MCFARLAND, YVETTE
141 LA FONTENAY DRIVE
LOUISVILLE, KY 40223                                   2915    11/19/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
RILEY, SHAWN W
420 N VALLEY STREAM DR
DERBY, KS 67037                                        2916    11/20/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00




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                   Creditor Name and Address                      Claim No. Claim Date              Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                      Amount                                                   Amount
RODRIGUEZ, MATILDA
C/O TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                               2917    11/16/2017         Takata Americas                               $0.00                                                                                         $0.00
RODRIGUEZ, JUAN
TINSMAN & SCIANO, INC.
C/O DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                               2918    11/16/2017         Takata Americas                               $0.00                                                                                         $0.00
FALCI, THOMAS
7376 EASTGATE CIR
LIVERPOOL, NY 13090                                                 2919    11/20/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
ROBLES, MARK
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                               2920    11/16/2017         Takata Americas                               $0.00                                                                                         $0.00
ROSA FLORES, PARENT OF J.D., A MINOR
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                               2921    11/16/2017         Takata Americas                               $0.00                                                                                         $0.00
CHRIS ROBLES, INDEPENDENT ADMINISTRATOR OF THE ESTATE OF LUCILA
ROBLES
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                               2922    11/16/2017         Takata Americas                               $0.00                                                                                         $0.00
WOMACK, ROGER L.
2502 SYLVAN DRIVE
GARLAND, TX 75040                                                   2923    11/17/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
THR3ESCOMPANY LLC
1409 S. LAMAR ST., STE. 711
DALLAS, TX 75215                                                    2924    11/17/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
BAKER, AMY
32421 TOWNLINE RD.
ONTONAGON, MI 49953                                                 2925    11/17/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
CHRIS ROBLES, INDEPENDENT ADMINISTRATOR OF THE ESTATE OF LUCILA
ROBLES
TINSMAN & SCIANO, INC.
ATTN: DANIEL JT SCIANO
10107 MCALLISTER FRWY.
SAN ANTONIO, TX 78216                                               2926    11/16/2017   Takata de Mexico, S.A. de C.V.               $5,000,000.00                                                                                $5,000,000.00
DELL MARKETING, L.P.
DELL, INC
ONE DELL WAY, RR1, MS 52
ROUND ROCK, TX 78682                                                2927    11/17/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
UNITED PARCEL SERVICE, INC.
C/O LAWRENCE SCHWAB/KENNETH LAW
BIALSON, BERGEN & SCHWAB
633 MENLO AVE., SUITE 100
MENLO PARK, CA 94025                                                2928    11/17/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00




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                                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                         Amount                                                   Amount
GLOBAL AUTOMOTIVE SYSTEMS METAL SYSTEMS OF MEXICO
MATTHEW E. WILKINS
BROOKS WILKINS SHARKEY & TURCO PLLC
401 S. OLD WOODWARD AVENUE, SUITE 400
BIRMINGHAM, MI 48009                                       2929    11/17/2017      TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
SAMS, JR., JEWEL
2901 MCKENZIE DRIVE
SAN PABLO, CA 94806‐2612                                   2930    11/17/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
JACKSON, WALTER
1921 W 18TH STREET
COMPTON, CA 90222                                          2931    11/17/2017      TK Holdings Inc.                          $500.00                                                                                        $500.00
ATLANTIC TOOL & DIE
19963 PROGRESS DR.
CLEVELAND, OH 44149                                        2932    11/17/2017      TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
KOELZER, JUANITA M.
8343 N SPRUCE AVE.
KANSAS CITY, MO 64119                                      2933    11/17/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WINFIELD, WILLIAM E.
300 EAST ESPLANADE DRIVE
SUITE 1980
OXNARD, CA 93036                                           2934    11/17/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GUANZHOU ATLANTIC TOOL AND DIE COMPANY LIMITED
MIKE BISCARDI
5801 PROGRESS DRIVE
HARLINGEN, TX 78550‐0696                                   2935    11/17/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CHU, VIVIAN
2022 44TH AVE
SAN FRANCISCO, CA 94116                                    2936    11/21/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
VOESTALPINE ROTEC SUMMO CORP.
TIMOTHY E. GALLIGAN, PLLC
4041 NORTH SERVICE ROAD
BURLINGTON, ON L7L 4X6
CANADA                                                     2937    11/21/2017      TK Holdings Inc.                             $0.00                                 $0.00               $0.00                               $0.00
MARTINEZ, KIMBERLY
18019 WEST EL CAMINITO DRIVE
WADDELL, AZ 85355                                          2938    11/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RIGHTPOINT CONSULTING LLC
ATTN: ACCOUNTING
29 N WACKER DRIVE
4TH FLOOR
CHICAGO, IL 60606                                          2939    11/17/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LAGRISOLA, JEROME R.
474 ZACHARY DRIVE
VACAVILLE, CA 95687                                        2940    11/17/2017      TK Holdings Inc.                        $12,000.00              $0.00                                  $0.00                          $12,000.00
MICROSYS TECHNOLOGIES INC
3710 NASHUA DRIVE UNIT 1
MISSISSAUGA, ON L4V 1M5
CANADA                                                     2941    11/17/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
THAMES, BRUCE W
4022 RIVER RIDGE ROAD
BROWN SUMMIT, NC 27214                                     2942    11/17/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CARES, ARNOLD E
24548 PAPPAS RD
RAMONA, CA 92065‐4910                                      2943    11/17/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                   Current General                                           Current 503(b)(9)
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                    Creditor Name and Address                 Claim No. Claim Date                   Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                       Amount                                                    Amount
PIETSCH, DAWN
2146 CALDWELL ST
CONWAY, AR 72034                                                2944    11/17/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
HOWARD AND HOWARD ATTORNEYS PLLC
ATTN: LISA S. GRETCHKO
450 W. 4TH STREET
ROYAL OAK, MI 48067‐1483                                        2945    11/17/2017              TK Holdings Inc.                              $0.00                                  $0.00                                                   $0.00
PULIDO, ARMANDO
7317 ARROYO WAY
CROWLEY, TX 76036                                               2946    11/17/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
MELTON, HENRY
2755 CHOKECHERRY AVE.
HENDERSON, NV 89074                                             2947    11/21/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
BURKE, GAIL
1107 POCONO TRL UNIT B
BALLWIN, MO 63021                                               2948    11/21/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
KLEIN, LESLEY
LAW OFFICES OF JASON TURCHIN
2883 EXECUTIVE PARK DRIVE, SUITE 103
WESTON, FL 33331                                                2949    11/21/2017              TK Holdings Inc.                        $750,000.00                                                                                    $750,000.00
HOELSCHER, MICHAEL
LAW OFFICES OF JASON TURCHIN
ATTN: JASON TURCHIN
2883 EXECUTIVE PARK DRIVE, SUITE 103
FORT LAUDERDALE, FL 33331                                       2950    11/21/2017              TK Holdings Inc.                       $1,500,000.00                                                                                 $1,500,000.00
BRAIT, PAULA
85 LASALLE AVE
FRAMINGHAM, MA 01701                                            2951    11/21/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
THOMPSON HINE LLP
3900 KEY CENTER
127 PUBLIC SQUARE
CLEVELAND, OH 44114                                             2952    11/21/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
METCHEVA, IVELINA
2908 FLOYD AVE
RICHMOND, VA 23221                                              2953    11/17/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
SFS INTEC INC.
1045 SPRING STREET
WYOMISSING, PA 19610                                            2954    11/21/2017              TK Holdings Inc.                                                                                         $0.00                               $0.00
KURUNATHAPILLAI, KATHIRGAMATHAS
204 STEPHENS LANE
MAHWAH, NJ 07430                                                2955    11/21/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
IRVIN ACQUISITION LLC AND IRVIN AUTOMOTIVE LLC (F/K/A IRVIN
AUTOMOTIVE, INC.)
ATTN: JOSEPH R. FINN
2600 CENTERPOINT PARKWAY
PONTIAC, MI 48341                                               2956    11/16/2017   TK Holdings de Mexico S. de R.L. de C.V.                                     $0.00              $0.00                                                   $0.00
COUTURE, DANIEL
THOMAS J. HENRY
521 STARR STREET
CORPUS CHRISTI, TX 78401                                        2957    11/21/2017       Takata de Mexico, S.A. de C.V.                       $0.00                                                                                          $0.00
IRVIN ACQUISITION LLC AND IRVIN AUTOMOTIVE LLC (F/K/A IRVIN
AUTOMOTIVE, INC.)
ATTN: JOSEPH R. FINN
2600 CENTERPOINT PARKWAY
PONTIAC, MI 48341                                               2958    11/16/2017               TK Mexico LLC                                                    $0.00              $0.00                                                   $0.00


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                     Creditor Name and Address                  Claim No. Claim Date          Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                Amount                                                  Amount
HASKETT, AMANDA
10831 WHISPER HOLLOW COVE
COLLIERVILLE, TN 38017                                            2959    11/19/2017      TK Holdings Inc.                        $12,850.00              $0.00                                                                $12,850.00
MENDELSOHN, MARK B
8076 CRYSTAL PLACE
VENTURA, CA 93004                                                 2960    11/21/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
MADELINE
MADELINE KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                               2961    11/19/2017      TK Finance, LLC                              $0.00                                                                                        $0.00
ECHEVERRIA, JORGE
2339 N. JANSSEN AVE.
CHICAGO, IL 60614‐3019                                            2962    11/21/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
NOVELL, DENISE
2895 W. KENSINGTON LANE
FRESNO, CA 93711                                                  2963    11/17/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
TICKNER, NATALIE
121 RIVERSIDE LANE
OLD FORGE, NY 13420‐0658                                          2964    11/17/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
FIGUEROA, NELSON
NEWSOME MELTON, PA
R. FRANK MELTON, II, ESQ.
WILLIAM C. OURAND, ESQ.
201 S. ORANGE AVE., SUITE 1500
ORLANDO, FL 32801                                                 2965    11/21/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
RIVERA, KEYSHA M
61 ARLINGTON ST
APT 7
LAWRENCE, MA 01841                                                2966    11/17/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
KIM, CATHERINE
17092 EDGEWATER LANE
HUNTINGTON BEACH, CA 92649                                        2967    11/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
FUJII, HELEN
91‐1117 HANALOA STREET
EWA BEACH, HI 96706                                               2968    11/17/2017      TK Holdings Inc.                        $14,900.00                                                                                   $14,900.00
CLAYMORE, MICHAEL T.
8509 12TH PL NE
LAKE STEVENS, WA 98258                                            2969    11/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
DOMIS, KRAG R.
2100 21ST AVE. SOUTH APT. 107
FARGO, ND 58103                                                   2970    11/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
SEXTON, RODGER D
528 E. SEMINOLE DR.
BYRON, GA 31008                                                   2971    11/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
DAVIS, BETTY J
281 MADERIA DR.
COLUMBUS, MS 39702‐9252                                           2972    11/19/2017      TK Holdings Inc.                         $3,649.84                                                                                    $3,649.84
NGUYEN VINH, MINH DAVID
1178 VIKING PL
ESCONDIDO, CA 92027                                               2973    11/20/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
ATF INC.
3550 W. PRATT AVE
LINCOLNWOOD, IL 60712                                             2974    11/21/2017      TK Holdings Inc.                             $0.00                                                    $0.00                               $0.00



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                     Creditor Name and Address                        Claim No. Claim Date                   Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                                Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                               Amount                                                    Amount
RILEY, SHAWN W
420 N VALLEY STREAM DR
DERBY, KS 67037                                                         2975    11/20/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
MARY MICHELLE WINERY & VINEYARD LLC
RR # 2 BOX 7A
CARROLLTON, IL 62016                                                    2976    11/20/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
CROSBY, ROBERT W
PO BOX 1226
KETCHUM, ID 83343                                                       2977    11/20/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
MATILDE KUFFO AS PERSONAL REPRESENTATIVE OF THE ESTATE OF
RAMON KUFFO, DECEASED
ACOSTA LAW FIRM
301 ALMERIA AVE., SUITE 100
CORAL GABLES, FL 33134                                                  2978    11/20/2017              TK Holdings Inc.                       $1,450,000.00                                                                                 $1,450,000.00
MICHIGAN BELL TELEPHONE COMPANY
C/O AT&T SERVICES, INC
KAREN CAVAGNARO, ESQ.
ONE AT&T WAY, SUITE 3A104
BEDMINSTER, NJ 07921                                                    2979    11/20/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
PORT CITY GROUP
LAURA LAGUIRE
1985 E. LAKETON AVENUE
MUSKEGON, MI 49442                                                      2980    11/20/2017              TK Holdings Inc.                                                                                         $0.00                               $0.00
BEAUBIEN, FRANCESKA
NEWSOME MELTON, PA
R. FRANK MELTON II, ESQ.
WILLIAM C. OURAND, ESQ.
201 S. ORANGE AVE., SUITE 1500
ORLANDO, FL 32801                                                       2981    11/20/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
CASTELO, LEE CHARLES
WANDA CASTELO
19 S. FRANKLIN CIRCLE
GREENWOOD VILLAGE, CO 80121                                             2982    11/20/2017              TK Holdings Inc.                                                  $0.00                                                                      $0.00
WYETH, LEAH A
1429 BAYWOOD DR.
MODESTO, CA 95350                                                       2983    11/20/2017              TK Holdings Inc.                                                  $0.00                                                                      $0.00
ANDERSON, GLEASON J.
1780 SWALLOWTAIL ROAD
ENCINITAS, CA 92024                                                     2984    11/20/2017              TK Holdings Inc.                                                                     $0.00                                                   $0.00
HENDRICKSON, JOHN C
4910 NORTH CENTRAL PARK AVENUE
CHICAGO, IL 60625‐5614                                                  2985    11/20/2017              TK Holdings Inc.                         $10,000.00                                                                                     $10,000.00
NAUMANN HOBBS
4335 E WOOD ST
PHOENIX, AZ 85040‐2045                                                  2986    11/20/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
TEMPCHIN, JOYCE MARIE
3748 WOODLANE RD.
GAINESVILLE, GA 30506                                                   2987    11/20/2017              TK Holdings Inc.                          $1,000.00                                                                                      $1,000.00
HISS, SAHRA
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                                                  2988    11/17/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                          $0.00

KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, COLIN
COLIN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     2989    11/19/2017              Takata Americas                               $0.00                                                                                          $0.00
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                                                                                                                    Current General                                          Current 503(b)(9)
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                  Creditor Name and Address        Claim No. Claim Date               Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
HEADER PRODUCTS ‐ AN ATF COMPANY
ATF INC.
3550 W. PRATT AVE
LINCOLNWOOD, IL 60712                                2990    11/21/2017           TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
OSIECKI, LILLIAN
85 VISCOUNT DRIVE UNIT 15A
MILFORD, CT 06460‐5779                               2991    11/20/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
WESTBY, KENNETH
3552 RAINEY RD
HIBBING, MN 55746                                    2992    11/21/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
ST‐AMAND, JAMIE
2437 ROWLAND AVE
ROYAL OAK, MI 48067‐4711                             2993    11/21/2017           TK Holdings Inc.                                                $0.00                                                                      $0.00
BALLAM, ROBERT J
163 COLERIDGE ST.
EAST BOSTON, MA 02128                                2994    11/21/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
TRAXLER, MYRA
1223 N SARA RD
TUTTLE, OK 73089                                     2995    11/21/2017           TK Holdings Inc.                                                $0.00                                  $0.00                               $0.00
GARCIA, BENJAMIN
PO BOX 3055
MISSION, TX 78573                                    2996    11/22/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
GOMEZ, MADELINE
305 SIXTH AVENUE 5E
PELHAM, NY 10803                                     2997    11/22/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
ALFARO‐TORRES, JUAN C.
13745 56TH AVE. S #B207
TUKWILA, WA 98168                                    2998    11/22/2017           TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00
TAKATA SIBIU S.R.L.
FLORIAN RIEGER STR. 3
SIBIU 550018
ROMANIA                                              2999    11/22/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
MOORE, DONNA K
1028 UTICA INSTITUTE ROAD
UTICA, MS 39175‐9709                                 3000    11/21/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
RUBENSTEIN, MITCHEL
7452 KARLOV AVE
SKOKIE, IL 60076                                     3001    11/22/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
RUTHERFORD, ELIZABETH ANN
34 NW 525TH RD
WARRENSBURG, MO 64093                                3002    11/21/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
BASKIN, JASMINE
1523 MANSS AVE
CINCINNATI, OH 45205                                 3003    11/20/2017           TK Holdings Inc.                         $7,000.00                                 $0.00                                               $7,000.00
WEAVER, DEBORAH J
1318 LINCOLN AVE
CINCINNATI, OH 45206                                 3004    11/21/2017           TK Holdings Inc.                          $180.00               $0.00                                                                    $180.00
COX, DORA E
2009 NW 30TH ST.
BELL, FL 32619                                       3005    11/18/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
HISS, SAHRA L.
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                               3006    11/17/2017   Strosshe‐Mex, S. de R.L. de C.V.                     $0.00                                                                                         $0.00
MERCADO‐ZAMBRANA, JANET
PO BOX 195673
SAN JUAN, PR 00919‐5673                              3007    11/20/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
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                     Creditor Name and Address                        Claim No. Claim Date                   Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                                  Amount
ARNOLD, JR., ARTHUR H.
13198 RIVERLAKE DR.
COVINGTON, LA 70435                                                     3008    11/21/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
JACKSON, BRENDA
2017 EAST RIDGE CIRCLE
MADISON, MS 39110                                                       3009    11/20/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
RUTHERFORD, BRIAN DAVID
34 NW 525TH RD
WARRENSBURG, MO 64093                                                   3010    11/21/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00

KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, COLIN
COLIN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3011    11/19/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                        $0.00

KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, COLIN
COLIN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3012    11/19/2017      Strosshe‐Mex, S. de R.L. de C.V.                      $0.00                                                                                        $0.00
CANCOM DIDAS GMBH
ELISABETH‐SELBERT‐STRAßE 4A
LANGENFELD 40764
GERMANY                                                                 3013    11/22/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, CHLOE
CHLOE CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3014    11/19/2017               TK Finance, LLC                              $0.00                                                                                        $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, CHLOE
CHLOE CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3015    11/19/2017               TK Mexico LLC                                $0.00                                                                                        $0.00

KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, COLIN
COLIN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3016    11/19/2017       Takata Protection Systems Inc.                       $0.00                                                                                        $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, CHLOE
CHLOE CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3017    11/19/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00

KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, COLIN
COLIN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3018    11/19/2017           Interiors in Flight Inc.                         $0.00                                                                                        $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, CHLOE
CHLOE CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3019    11/19/2017                TK China, LLC                               $0.00                                                                                        $0.00




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                     Creditor Name and Address                        Claim No. Claim Date                   Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                                  Amount

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, CHLOE
CHLOE CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3020    11/19/2017              Takata Americas                               $0.00                                                                                        $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, CHLOE
CHLOE CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3021    11/19/2017               TK Mexico Inc.                               $0.00                                                                                        $0.00

KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, COLIN
COLIN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3022    11/19/2017       Takata de Mexico, S.A. de C.V.                       $0.00                                                                                        $0.00

KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, COLIN
COLIN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3023    11/19/2017                TK China, LLC                               $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
KATELYN
KATELYN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3024    11/19/2017              Takata Americas                               $0.00                                                                                        $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, JOHN
JOHN CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3025    11/19/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, JOHN
JOHN CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3026    11/19/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
MADELINE
MADELINE KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3027    11/19/2017      Strosshe‐Mex, S. de R.L. de C.V.                      $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
MADELINE
MADELINE KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3028    11/19/2017       Takata Protection Systems Inc.                       $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
MADELINE
MADELINE KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3029    11/19/2017   TK Holdings de Mexico S. de R.L. de C.V.                 $0.00                                                                                        $0.00
DELEON, CANDELARIO
NEWSOME MELTON, PA
C. RICHARD NEWSOME, ESQ.
R. FRANK MELTON, II, ESQ.; WILLIAM C. OURAND, ESQ.
201 S. ORANGE AVE., SUITE 1500
ORLANDO, FL 32801                                                       3030    11/21/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00
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                     Creditor Name and Address                        Claim No. Claim Date                   Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                                  Amount
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
KATELYN
KATELYN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3031    11/19/2017               TK Finance, LLC                              $0.00                                                                                        $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, CHLOE
CHLOE CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3032    11/19/2017       Takata Protection Systems Inc.                       $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
MADELINE
MADELINE KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3033    11/19/2017                TK China, LLC                               $0.00                                                                                        $0.00
AT&T MOBILITY II LLC
C/O AT&T SERVICES, INC
KAREN A. CAVAGNARO‐LEAD PARALEGAL
ONE AT&T WAY, ROOM 3A104
BEDMINSTER, NJ 07921                                                    3034    11/21/2017              TK Holdings Inc.                              $0.00                                                                                        $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, CHLOE
CHLOE CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3035    11/19/2017           Interiors in Flight Inc.                         $0.00                                                                                        $0.00

KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, COLIN
COLIN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3036    11/19/2017               TK Finance, LLC                              $0.00                                                                                        $0.00
CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
JENNIFER
JENNIFER CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3037    11/19/2017      Strosshe‐Mex, S. de R.L. de C.V.                      $0.00                                                                                        $0.00

KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, COLIN
COLIN KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3038    11/19/2017               TK Mexico LLC                                $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
MADELINE
MADELINE KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3039    11/19/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                        $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, CHLOE
CHLOE CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3040    11/19/2017       Takata de Mexico, S.A. de C.V.                       $0.00                                                                                        $0.00
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
MADELINE
MADELINE KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                     3041    11/19/2017               TK Mexico LLC                                $0.00                                                                                        $0.00


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                                                                                                                                                        Current Priority   Current Secured                         Current Admin    Total Current
                     Creditor Name and Address                       Claim No. Claim Date            Debtor                         Unsecured Claim                                            Admin Priority
                                                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                        Amount                                                    Amount
KLEIS, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS,
MADELINE
MADELINE KLEIS
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                    3042    11/19/2017        TK Mexico Inc.                                $0.00                                                                                          $0.00
QCL INC.
ATTN: TANYA SCHEELKE
PO BOX 1058
EPHRATA, WA 98823                                                      3043    11/20/2017       TK Holdings Inc.                               $0.00                                                                                          $0.00

CROLL, AS SUCCESSOR‐IN‐INTEREST TO THE ESTATE OF PETER KLEIS, JOHN
JOHN CROLL
34 NORTH SANTA CRUZ AVENUE
LOS GATOS, CA 95030                                                    3044    11/19/2017     Interiors in Flight Inc.                         $0.00                                                                                          $0.00
AMIROV, SAMIR
8841 MOUNTAIN LAKE DRIVE SOUTH
JACKSONVILLE, FL 32221                                                 3045    11/20/2017       TK Holdings Inc.                                                   $0.00              $0.00                                                   $0.00
MILLER, DALE W & MARGARET RUTH
6311 CLAIR DRIVE
HUNTINGDON, PA 16652                                                   3046    11/20/2017       TK Holdings Inc.                               $0.00                                                                                          $0.00
MINOR, JANICE
4232 DRUMMOND ST
EAST CHICAGO, IN 46312                                                 3047    11/20/2017       TK Holdings Inc.                               $0.00                                                                                          $0.00
HOYT, JACKLINE
CHILD & JACKSON
A PROFESSIONAL LAW CORPORATION
101 PARKSHORE DRIVE, STE., 205
FOLSOM, CA 95630                                                       3048    11/21/2017       TK Holdings Inc.                               $0.00                                                                                          $0.00
BROADGATE, HERLINDA & ROY
HC 1 BOX 5279
KEAAU, HI 96749                                                        3049    11/20/2017       TK Holdings Inc.                               $0.00                                                                                          $0.00
AGNEW, KAREN
3 FIELD DRIVE
ELLINGTON, CT 06029                                                    3050    11/22/2017       TK Holdings Inc.                               $0.00                                                                                          $0.00
GREER, KEOSHA
310 SCALF DRIVE APT. G
MADISON, TN 37115                                                      3051    11/20/2017       TK Holdings Inc.                               $0.00                                                                                          $0.00
VELASQUEZ, PAUL J.
1627 ESSEX DR.
HOFFMAN ESTATES, IL 60192                                              3052    11/20/2017       TK Holdings Inc.                               $0.00                                                                                          $0.00
ROBERTS, DENISE
4605 FOWLER AVE
EVERETT, WA 98203                                                      3053    11/22/2017       TK Holdings Inc.                               $0.00                                                                                          $0.00
ZHU, JANINE AND YUNPING
2250 MEADOW LANE
FULLERTON, CA 92831                                                    3054    11/20/2017       TK Holdings Inc.                               $0.00                                                                                          $0.00
TAKATA PARTS POLSKA SP.Z.O.O.
UL. BETLEJEMSKA 16
KRZESZOW 58‐405
POLAND                                                                 3055    11/21/2017       TK Holdings Inc.                               $0.00                                                                                          $0.00
HAYES, JERROD
LAW OFFICES OF JASON TURCHIN
ATTN: JASON TURCHIN
2883 EXECUTIVE PARK DRIVE
SUITE 103
FORT LAUDERDALE, FL 33331                                              3056    11/21/2017       TK Holdings Inc.                        $1,500,000.00                                                                                 $1,500,000.00
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                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address                    Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                Amount                                                   Amount
INTERNATIONAL DEVELOPMENT CORPORATION
7124 BAKER LANE
CHAGRIN FALLS, OH 44023                                           3057    11/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
COUTURE, DANIEL
THOMAS J. HENRY
521 STARR STREET
CORPUS CHRISTI, TX 78401                                          3058    11/21/2017      TK Finance, LLC                              $0.00                                                                                         $0.00
CODY, HOWARD
207 OAKRIDGE TRL
KENNEDALE, TX 76060                                               3059    11/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SETLEY, WILLIAM
NEWSOME MELTON, P.A.
R. FRANK MELTON, II, ESQ./WILLIAM C. OURAND, ESQ.
C. RICHARD NEWSOME
201 S. ORANGE AVE., SUITE 1500
ORLANDO, FL 32801                                                 3060    11/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HIGUCHI MANUFACTURING AMERICA LLC.
HIDETOSHI TANIMOTO
14901 SOUTHTON ROAD
ELMENDOLF, TX 78112                                               3061    11/20/2017      TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
LAMBING, ORVAL WAYNE
218 AUBURN ST.
PITTSBURGH, PA 15235                                              3062    11/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BRYAN, GONZALES VARGAS Y GONZALES BAZ, S. C.
P.O. BOX 1501
EL PASO, TX 79948                                                 3063    11/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ADLER, JERRY
JASON TURCHIN, ESQ.
2883 EXECUTIVE PARK DRIVE, SUITE 103
WESTON, FL 33331                                                  3064    11/21/2017      TK Holdings Inc.                       $900,000.00                                                                                   $900,000.00
MYERS, HILRY DANNETTE
DAVIDSON BOWIE, PLLC
2506 LAKELAND DRIVE, SUITE 501
POST OFFICE BOX 321405
FLOWOOD, MS 39232                                                 3065    11/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MARIANI, WARNER
522 ROCKLAND DR.
PITTSBURGH, PA 15239                                              3066    11/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MCDONALD HOPKINS PLC
JOSHUA GADHARF
39533 WOODWARD AVE
SUITE 318
BLOOMFIELD HILLS, MI 48304                                        3067    11/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
JOHNSON, IMANI ROSE (A MINOR, BY AND THROUGH HER NEXT FRIEND,
JULIA ROSE JOHNSON)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                              3068    11/21/2017      TK Holdings Inc.                      $2,500,000.00                                                                                $2,500,000.00
ANDJELKOVICH, PATRICIA
PETER ANDJELKOVICH & ASSOCIATES
135 SOUTH LASALLE STREET
SUITE 3950
CHICAGO, IL 60603                                                 3069    11/21/2017      TK Holdings Inc.                        $42,000.00                                                                                    $42,000.00



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                     Creditor Name and Address        Claim No. Claim Date                   Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                               Amount                                                   Amount
WOOLEY, DONNA
886 GOODSON RD
BRENT, AL 35034                                         3070    11/21/2017              TK Holdings Inc.                          $5,000.00               $0.00                                 $0.00                           $5,000.00
STEINBERG, RICKY D.
2525 N. 124TH STREET, STE. 101
BROOKFIELD, WI 53005                                    3071    11/20/2017              TK Holdings Inc.                         $10,000.00                                                                                    $10,000.00
COUTURE, DANIEL
THOMAS J. HENRY
521 STARR STREET
CORPUS CHRISTI, TX 78401                                3072    11/21/2017      Strosshe‐Mex, S. de R.L. de C.V.                      $0.00                                                                                         $0.00
MARIANI, WARNER
522 ROCKLAND DR.
PITTSBURGH, PA 15239                                    3073    11/20/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
COUTURE, DANIEL
THOMAS J. HENRY
521 STARR STREET
CORPUS CHRISTI, TX 78401                                3074    11/21/2017               TK Mexico Inc.                               $0.00                                                                                         $0.00
COUTURE, DANIEL
THOMAS J. HENRY
521 STARR STREET
CORPUS CHRISTI, TX 78401                                3075    11/21/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
PACE INDUSTRIES ‐ B&C DIVISION
PO BOX 1198
HARRISON, AR 72601                                      3076    11/20/2017              TK Holdings Inc.                                                                                        $0.00                               $0.00
COUTURE, DANIEL
THOMAS J. HENRY
521 STARR STREET
CORPUS CHRISTI, TX 78401                                3077    11/21/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                         $0.00
COUTURE, DANIEL
THOMAS J. HENRY
521 STARR STREET
CORPUS CHRISTI, TX 78401                                3078    11/21/2017       Takata Protection Systems Inc.                       $0.00                                                                                         $0.00
PERMINT, LUDMILLA
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                    3079    11/20/2017              TK Holdings Inc.                       $2,500,000.00                                                                                $2,500,000.00
DANHIL CONTAINERS, LLC
HALEY & OLSON, P.C.
SHAD ROBINSON
100 N. RITCHIE ROAD, SUITE 200
WACO, TX 76712                                          3080    11/21/2017              TK Holdings Inc.                                                                                        $0.00                               $0.00
COUTURE, DANIEL
THOMAS J. HENRY
521 STARR STREET
CORPUS CHRISTI, TX 78401                                3081    11/21/2017           Interiors in Flight Inc.                         $0.00                                                                                         $0.00
COUTURE, DANIEL
THOMAS J. HENRY
521 STARR STREET
CORPUS CHRISTI, TX 78401                                3082    11/21/2017              Takata Americas                               $0.00                                                                                         $0.00
COUTURE, DANIEL
THOMAS J. HENRY
521 STARR STREET
CORPUS CHRISTI, TX 78401                                3083    11/21/2017               TK Mexico LLC                                $0.00                                                                                         $0.00



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                                                                                                                 Current General                                          Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
CECH, LEONARD S
5082 WALNUT HILLS DRIVE
BRIGHTON, MI 48116                                     3084    11/22/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
LEWIS, DENNIS JAMES
366 NORTH 15TH STREET
PORT ALLEN, LA 70767                                   3085    11/21/2017      TK Holdings Inc.                         $4,000.00                                                                                     $4,000.00
TIFFANY RAMNARINE, DECEASED
NEWSOME MELTON, PA
R. FRANK MELTON, II, ESQ.
WILLIAM C. OURAND, ESQ.
201 S. ORANGE AVE., SUITE 1500
ORLANDO, FL 32801                                      3086    11/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TAKATA AKTIENGESELLSCHAFT
BAHNWEG 1
ASCHAFFENBURG D‐63743
GERMANY                                                3087    11/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TAKATA MAROC S.A.R.L.
ATTN: MR. NABIL LAKHLIFI
LOT. 17 B2 TFZ
TANGIER 90000
MOROCCO                                                3088    11/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TAKATA SAFETY SYSTEMS HUNGARY KFT.
ATTN: LÁSZLÓ TALÁROVICS, LEGAL COUNSEL
TAKATA UT 1
MISKOLC 3516
HUNGARY                                                3089    11/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TAKATA ROMANIA S.R.L.
ZONA INDUSTRIAL VEST
ATTN: CHRISTIAN WIENANDS
STR. III NR. 9
ARAD 310375
ROMANIA                                                3090    11/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TAKATA SACHSEN GMBH
ATTN: BERT LEICHSENRING
SCHEIBENBERGER STR. 88
ELTERLEIN 09481
GERMANY                                                3091    11/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
VOLLMANN (SACHSEN) GMBH & CO.KG
ELTERLEINER STRASSE 4
SCHEIBENBERG 09481
GERMANY                                                3092    11/22/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
TAKATA SOUTH AFRICA (PTY) LTD.
ATTN: KERVIN PILLAY
2, POWER DRIVE
PROSPECTON
DURBAN 4133
SOUTH AFRICA                                           3093    11/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MORRIS, STEVE
BOX 8
ELGIN, OK 73538                                        3094    11/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HAYNSWORTH SINKLER BOYD, PA
STANLEY H. MCGUFFIN, ESQ.
PO BOX 11889
COLUMBIA, SC 29211                                     3095    11/22/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                   Creditor Name and Address              Claim No. Claim Date                   Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                   Amount                                                    Amount
ENGLEMAN, MONIQUE
JESSE S. TURNER ESQ.
JOHN KEVIN CROWLEY ESQ
125 S. MARKET STREET, STE 1200
SAN JOSE, CA 95113                                          3096    11/21/2017              TK Holdings Inc.                       $15,000,000.00                                                                               $15,000,000.00
JOSH WHITLEY AND RENZA BIRDIE
407 LOWER WOODVILLE ROAD
NATCHEZ, MS 39120                                           3097    11/21/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
CLARIANT PLASTICS & COATINGS USA INC.
CLARIANT CORPORATION
ATTN: LARRY PARKER, SENIOR CREDIT MANAGER
4000 MONROE ROAD
CHARLOTTE, NC 28205                                         3098    11/21/2017              TK Holdings Inc.                               $0.00                                                     $0.00                               $0.00
LEONG, WING
JASON TURCHIN, ESQ.
2883 EXECUTIVE PARK DRIVE
SUITE 103
WESTON, FL 33331                                            3099    11/21/2017              TK Holdings Inc.                        $2,000,000.00                                                                                $2,000,000.00
BURNETT, ANASTASIA
1781 SW 82 TERRACE
MIRAMAR, FL 33025                                           3100    11/22/2017              TK Holdings Inc.                          $15,500.00                                                     $0.00                          $15,500.00
JOHNSON, IMANI ROSE (A MINOR, BY AND THROUGH JULIA ROSE
JOHNSON)
JIMMY CHONG, ESQUIRE
THE CHONG LAW FIRM, PA
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                        3101    11/22/2017               TK Finance, LLC                        $2,500,000.00                                                                                $2,500,000.00
INLAND MECHANICAL, INC.
SCOTT HARPER
13222 E WHEELER ROAD
MOSES LAKE, WA 98837                                        3102    11/21/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
COUTURE, DANIEL
THOMAS J. HENRY
521 STARR STREET
CORPUS CHRISTI, TX 78401                                    3103    11/21/2017   TK Holdings de Mexico S. de R.L. de C.V.                  $0.00                                                                                         $0.00
STRONG, THOMAS
23292 NE STATE RD 69
BLOUNTSTOWN, FL 32424                                       3104    11/21/2017              TK Holdings Inc.                            $2,599.46                                                                                    $2,599.46
MICROSTRATEGY SERVICE CORPORATION
1850 TOWERS CRESCENT PLAZA
TYSONS CORNER, VA 22182                                     3105    11/21/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
SCHRAMM COATINGS GMBH
KETTERSTRABE 100
OFFENBACH
HESSEN 63075
GERMANY                                                     3106    11/21/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
APS (ARIZONA PUBLIC SERVICE)
MAIL STATION 3209
BLDG. M
2043 W. CHERYL DR.
PHOENIX, AZ 85021‐1915                                      3107    11/21/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
TEAL, KATELYN
17438 JB AVERETT RD
LIVINGSTON, LA 70754                                        3108    11/21/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00



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                                                                                                                                  Current General                                          Current 503(b)(9)
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                   Creditor Name and Address                      Claim No. Claim Date              Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                                                      Amount                                                   Amount
SFS INTEC INC.
1045 SPRING STREET
WYOMISSING, PA 19610                                                3109    11/21/2017          TK Holdings Inc.                                                                                       $0.00                                $0.00
KEMP & PEYERK‐STERLING, LLC
SILVERMAN & MORRIS, P.L.L.C,
GEOFFREY L. SILVERMAN, ESQ.
30500 NORTHWESTERN HWY., #200
FARMINGTON HILLS, MI 48334                                          3110    11/21/2017          TK Holdings Inc.                             $0.00                                                                        $0.00             $0.00
PERMINT, LUDMILLA
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3111    11/21/2017          TK Finance, LLC                       $2,500,000.00                                                                                 $2,500,000.00
PERMINT, LUDMILLA, AS ADMINISTRATRIX OF THE ESTATE OF CHARLES
PERMINT, JR.
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3112    11/21/2017          TK Finance, LLC                       $2,500,000.00                                                                                 $2,500,000.00
DANHIL DE MEXICO S.A. DE C.V.
HALEY & OLSON, P.C.
SHAD ROBINSON
100 N. RITCHIE ROAD, SUITE 200
WACO, TX 76712                                                      3113    11/21/2017   Takata de Mexico, S.A. de C.V.                      $0.00                                                     $0.00                                $0.00
PERMINT, LUDMILLA, AS ADMINISTRATRIX OF THE ESTATE OF CHARLES
PERMINT, JR.
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3114    11/21/2017         Takata Americas                        $2,500,000.00                                                                                 $2,500,000.00
PERMINT, CHARLES DANIEL (A DISABLED INDIVIDUAL, BY AND THROUGH
HIS NEXT FRIEND, PERMINT, LUDMILLA)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3115    11/21/2017          TK Holdings Inc.                      $2,500,000.00                                                                                 $2,500,000.00
DANHIL DE MEXICO S.A. DE C.V.
HALEY & OLSON, P.C.
SHAD ROBINSON
100 N. RITCHIE ROAD, SUITE 200
WACO, TX 76712                                                      3116    11/21/2017          TK Holdings Inc.                             $0.00                                                     $0.00                                $0.00
JOHNSON, JULIA ROSE, INDIVIDUALLY AND AS THE PARENT AND NATURAL
GUARDIAN OF IMANI ROSE JOHNSON, A MI
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQ.
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3117    11/22/2017          TK Holdings Inc.                      $2,500,000.00                                                                                 $2,500,000.00
PERMINT, LUDMILLA
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3118    11/21/2017         Takata Americas                        $2,500,000.00                                                                                 $2,500,000.00




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                   Creditor Name and Address                     Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                 Amount                                                   Amount
PERMINT, LUDMILLA, AS ADMINISTRATRIX OF THE ESTATE OF CHARLES
PERMINT, JR.
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3119    11/21/2017      TK Holdings Inc.                      $2,500,000.00                                                                                $2,500,000.00
MICROSOFT CORPORATION AND MICROSOFT LICENSING GP, ITS
SUBSIDIARY
FOX ROTHSCHILD LLP
C/O JOSEPH E. SHICKICH, JR.
1001 4TH AVE. SUITE 4500
SEATTLE, WA 98154                                                  3120    11/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PERMINT, CHARLES DANIEL (A DISABLED INDIVIDUAL, BY AND THROUGH
HIS NEXT FRIEND, PERMINT, LUDMILLA)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3121    11/21/2017      Takata Americas                       $2,500,000.00                                                                                $2,500,000.00
COUTURE, DANIEL
THOMAS J. HENRY
521 STARR STREET
CORPUS CHRISTI, TX 78401                                           3122    11/21/2017       TK China, LLC                               $0.00                                                                                         $0.00
ANDJELKOVICH, PETER
PETER ANDJELKOVICH & ASSOCIATES
135 SOUTH LASALLE STREET
SUITE 3950
CHICAGO, IL 60603                                                  3123    11/21/2017      TK Holdings Inc.                        $52,000.00                                                                                    $52,000.00
GREEN, SUZANNE H
5926 WISH AVE.
ENCINO, CA 91316                                                   3124    11/22/2017      TK Holdings Inc.                                                 $0.00                                                                     $0.00
WESTGARD, KERRI
1002 6TH AVE NE
DILWORTH, MN 56529                                                 3125    11/22/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
JOHNSON, IMANI ROSE (A MINOR, BY AND THROUGH JULIA ROSE
JOHNSON)
JIMMY CHONG, ESQUIRE
THE CHONG LAW FIRM, PA
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3126    11/22/2017      Takata Americas                       $2,500,000.00                                                                                $2,500,000.00
HODGE, DAWNE
C/O LAW OFFICES OF TIMOTHY DONAHUE
ATTN: TIMOTHY J. DONAHUE
374 S. GLASSELL ST.
ORANGE, CA 92866                                                   3127    11/22/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DNV GL BUSINESS ASSURANCE ZERTIFIZIERUNG UND UMWELTGUTACHTER
GMBH
HENRICUS DE GOOIJER, MANAGING DIRECTOR
SCHNIERINGSHOF 14
ESSEN D‐45329
GERMANY                                                            3128    11/22/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LEWIS, SHANICE
686 SELFRIDGE RD
MCDONOUGH, GA 30252                                                3129    11/22/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00




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                   Creditor Name and Address                      Claim No. Claim Date                   Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                           Amount                                                   Amount
JOHNSON, JULIA ROSE, INDIVIDUALLY AND AS THE PARENT AND NATURAL
GUARDIAN OF IMANI ROSE, A MINOR
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQ.
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3130    11/22/2017              Takata Americas                        $2,500,000.00                                                                                $2,500,000.00
BICKLE, KEVIN
1327 E PALO VERDE DRIVE
CASA GRANDE, AZ 85122                                               3131    11/22/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
JOHNSON, JULIA ROSE, INDIVIDUALLY AND AS THE PARENT AND NATURAL
GUARDIAN OF IMANI ROSE JOHNSON
JIMMY CHONG, ESQUIRE
THE CHONG LAW FIRM, PA
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3132    11/22/2017               TK Finance, LLC                       $2,500,000.00                                                                                $2,500,000.00
O'BOYLE, MICHAEL
305 MYSTIC MEADOWS CT.
HOWELL, MI 48843                                                    3133    11/22/2017              TK Holdings Inc.                              $0.00               $0.00                                                                     $0.00
EMERALD CAPITAL ADVISORS CORP., AS LIQUIDATING TRUSTEE FOR THE
FAH LIQUIDATING TRUST
C/O BRIAN RICE, ESQ.
BROWN RUDNICK LLP
ONE FINANCIAL CENTER
BOSTON, MA 02111                                                    3134    11/22/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
STOKES, GERALD
1344 NORTH PRIMROSE AVENUE
RIALTO, CA 92376                                                    3135    11/22/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
RING SCREW LLC
ACUMENT GLOBAL TECHNOLOGIES
JENNIFER BAINBRIDGE
CREDIT ‐ A/R MANAGER
6125 18 MILE ROAD
STERLING HEIGHTS, MI 48314                                          3136    11/22/2017              TK Holdings Inc.                              $0.00                                                     $0.00                               $0.00
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS ON BEHALF OF THE STATE OF
TEXAS AND LOCAL SALES TAX JURISDICTIO
OFFICE OF THE ATTORNEY GENERAL ‐ BANKRUPTCY & COLLECTIONS
DIVISION
PO BOX 12548, MC‐008
AUSTIN, TX 78711                                                    3137    11/22/2017              TK Holdings Inc.                              $0.00               $0.00                                                                     $0.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                  3138    11/22/2017   TK Holdings de Mexico S. de R.L. de C.V.                 $0.00                                                                                         $0.00
PERMINT, CHARLES DANIEL (A DISABLED INDIVIDUAL, BY AND THROUGH
HIS NEXT FRIEND, PERMINT, LUDMILLA)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3139    11/21/2017               TK Finance, LLC                       $2,500,000.00                                                                                $2,500,000.00




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                                                                                                                                        Current General                                          Current 503(b)(9)
                                                                                                                                                            Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address                      Claim No. Claim Date                   Debtor                         Unsecured Claim                                           Admin Priority
                                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                            Amount                                                   Amount
JOHNSON, JULIA ROSE, INDIVIDUALLY AND AS THE PARENT AND NATURAL
GUARDIAN OF IMANI ROSE JOHNSON
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3140    11/22/2017            Interiors in Flight Inc.                  $2,500,000.00                                                                                $2,500,000.00
JOHNSON, JULIA ROSE, INDIVIDUALLY AND AS THE PARENT AND NATURAL
GUARDIAN OF IMANI ROSE JOHNSON
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3141    11/22/2017       Takata Protection Systems Inc.                 $2,500,000.00                                                                                $2,500,000.00
JOHNSON, JULIA ROSE, INDIVIDUALLY AND AS THE PARENT AND NATURAL
GUARDIAN OF IMANI ROSE JOHNSON, A MI
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQ.
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3142    11/22/2017               TK Mexico LLC                          $2,500,000.00                                                                                $2,500,000.00
TEIG, RICHARD
15302 STRATHEARN DRIVE APT 11303
DELRAY BEACH, FL 33446                                              3143    11/22/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
CAMCAR DE MEXICO, S.A. DE C.V.
JENNIFER BAINBRIDGE
CREDIT ‐ A/R MANAGER
ACUMENT GLOBAL TECHNOLOGIES
6125 18 MILE ROAD
STERLING HEIGHTS, MI 48314                                          3144    11/22/2017              TK Holdings Inc.                                                                                         $0.00                               $0.00
PERMINT, LUDMILLA
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3145    11/22/2017   TK Holdings de Mexico S. de R.L. de C.V.           $2,500,000.00                                                                                $2,500,000.00
CAMCAR LLC
ACUMENT GLOBAL TECHNOLOGIES
JENNIFER BAINBRIDGE
CREDIT ‐ A/R MANAGER
6125 18 MILE ROAD
STERLING HEIGHTS, MI 48314                                          3146    11/22/2017              TK Holdings Inc.                                                                                         $0.00                               $0.00
TOUCH, WHITNEY G
1608 ALMORA CT.
WILLOW SPRING, NC 27592                                             3147    11/22/2017              TK Holdings Inc.                               $0.00               $0.00                                                                     $0.00
WEISBERG, ROBERT E.
CURTIS B. MINER, ESQ.
LATOYA C. BROWN, ESQ.
COLSON HICKS EIDSON
255 ALHAMBRA CIRCLE, PENTHOUSE
CORAL GABLES, FL 33134                                              3148    11/22/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
JOHNSON, JULIA ROSE, INDIVIDUALLY AND AS THE PARENT AND NATURAL
GUARDIAN OF IMANI ROSE JOHNSON, A MI
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3149    11/22/2017               TK Mexico Inc.                         $2,500,000.00                                                                                $2,500,000.00




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                                                                                                                                        Current General                                          Current 503(b)(9)
                                                                                                                                                            Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address                      Claim No. Claim Date                   Debtor                         Unsecured Claim                                           Admin Priority
                                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                            Amount                                                   Amount
MAURO, HEIDI LANTIER
COLSON HICKS EIDSON
CURTIS B. MINER, ESQ.
LATOYA C. BROWN, ESQ.
255 ALHAMBRA CIRCLE, PENTHOUSE
CORAL GABLES, FL 33134                                              3150    11/22/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
PERMINT, LUDMILLA
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3151    11/22/2017            Interiors in Flight Inc.                  $2,500,000.00                                                                                $2,500,000.00
CLARK, THERESA
6759 HURSTON COURT
JUPITER, FL 33458                                                   3152    11/22/2017              TK Holdings Inc.                               $0.00               $0.00                                                                     $0.00
FERKO, WILLIAM G.
7419 CEDAR BLUFF CT
PROSPECT, KY 40059                                                  3153    11/22/2017              TK Holdings Inc.                           $3,000.00                                                                                     $3,000.00
WILLIAMS, JENNIFER M.
14909 HEALTH CENTER DRIVE, #336
BOWIE, MD 20716                                                     3154    11/22/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
GIBSON, ANGELLA
C/O REINER, SLAUGHTER, MCCARTNEY & FRANKEL LLP
411 THEODORE FREMD AVENUE ‐ STE. 206 SOUTH
RYE, NY 10580                                                       3155    11/22/2017              TK Holdings Inc.                         $500,000.00                                                                                   $500,000.00
JOHNSON, JULIA ROSE, INDIVIDUALLY AND AS THE PARENT AND NATURAL
GUARDIAN OF IMANI ROSE JOHNSON
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQ.
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3156    11/22/2017                TK China, LLC                         $2,500,000.00                                                                                $2,500,000.00
JOHNSON, JULIA ROSE, INDIVIDUALLY AND AS THE PARENT AND NATURAL
GUARDIAN OF IMANI ROSE JOHNSON
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQ.
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3157    11/22/2017                TK China, LLC                         $2,500,000.00                                                                                $2,500,000.00
JOHNSON, JULIA ROSE, INDIVIDUALLY AND AS THE PARENT AND NATURAL
GUARDIAN OF IMANI ROSE JOHNSON, A MI
JIMMY CHONG, ESQUIRE
THE CHONG LAW FIRM, PA
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3158    11/22/2017   TK Holdings de Mexico S. de R.L. de C.V.           $2,500,000.00                                                                                $2,500,000.00
PERMINT, LUDMILLA
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3159    11/22/2017       Takata Protection Systems Inc.                 $2,500,000.00                                                                                $2,500,000.00
PERMINT, LUDMILLA
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3160    11/22/2017                TK China, LLC                         $2,500,000.00                                                                                $2,500,000.00




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                                                                                                                                       Current General                                          Current 503(b)(9)
                                                                                                                                                           Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address                      Claim No. Claim Date                   Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                           Amount                                                   Amount
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                  3161    11/22/2017       Takata Protection Systems Inc.                       $0.00                                                                                         $0.00
SHUMAN, ROBERT E
4133 GUILFORD ROAD
BIRMINGHAM, AL 35242                                                3162    11/22/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
DANHIL DE MEXICO S.A. DE C.V.
SHAD ROBINSON
HALEY & OLSON, P.C.
100 N. RITCHIE ROAD, SUITE 200
WACO, TX 76712                                                      3163    11/22/2017              TK Holdings Inc.                                                                                        $0.00                               $0.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                  3164    11/22/2017              Takata Americas                               $0.00                                                                                         $0.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                  3165    11/22/2017                TK China, LLC                               $0.00                                                                                         $0.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                  3166    11/22/2017       Takata de Mexico, S.A. de C.V.                       $0.00                                                                                         $0.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                  3167    11/22/2017               TK Mexico Inc.                               $0.00                                                                                         $0.00
JOHNSON, INDIVIDUALLY AND AS THE PARENT AND NATURAL GUARDIAN
OF IMANI ROSE JOHNSON, A MINOR, JULIA ROSE
JIMMY CHONG, ESQUIRE
THE CHONG LAW FIRM, PA
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3168    11/22/2017   Industrias Irvin de Mexico, S.A. de C.V.          $2,500,000.00                                                                                $2,500,000.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                  3169    11/22/2017           Interiors in Flight Inc.                         $0.00                                                                                         $0.00
JOHNSON, JULIA ROSE, INDIVIDUALLY AND AS THE PARENT AND NATURAL
GUARDIAN OF IMANI ROSE JOHNSON, A MI
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQ.
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3170    11/22/2017       Takata de Mexico, S.A. de C.V.                $2,500,000.00                                                                                $2,500,000.00
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                                                                                                                                      Current General                                           Current 503(b)(9)
                                                                                                                                                          Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address                     Claim No. Claim Date                   Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                          Amount                                                    Amount
PERMINT, CHARLES DANIEL (A DISABLED INDIVIDUAL, BY AND THROUGH
HIS NEXT FRIEND, PERMINT, LUDMILLA)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3171    11/22/2017   TK Holdings de Mexico S. de R.L. de C.V.          $2,500,000.00                                                                                 $2,500,000.00
PERMINT, LUDMILLA
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3172    11/22/2017               TK Mexico LLC                         $2,500,000.00                                                                                 $2,500,000.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                 3173    11/22/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                          $0.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                 3174    11/22/2017               TK Mexico LLC                                $0.00                                                                                          $0.00
HIGUCHI MFG
44 KINZOKU‐DANCHI
KAKAMIGAHARA CITY
GIFU 504‐0957
JAPAN                                                              3175    11/22/2017              TK Holdings Inc.                              $0.00                                                      $0.00                               $0.00
LIBERTY MUTUAL INSURANCE COMPANY, INDIVIDUALLY AND ON BEHALF
OF ITS AFFILIATES (SEE ALSO ATTACHED ST
ATTN: KATE DUFFY
175 BERKELEY STREET, MAIL STOP M01G
BOSTON, MA 02116                                                   3176    11/22/2017              TK Holdings Inc.                              $0.00                                  $0.00                                                   $0.00
ANGELOV, IVELIN
5899 KILLARNEY CIRCLE
SAN JOSE, CA 95138                                                 3177    11/22/2017              TK Holdings Inc.                              $0.00                                                                                          $0.00
CONFIDENTIAL WHISTLEBLOWER A
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                            3178    11/22/2017              Takata Americas                                                                      $0.00                                                   $0.00
PERMINT, CHARLES DANIEL (A DISABLED INDIVIDUAL, BY AND THROUGH
HIS NEXT FRIEND, PERMINT, LUDMILLA)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3179    11/22/2017                TK China, LLC                        $2,500,000.00                                                                                 $2,500,000.00
PERMINT, LUDMILLA
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3180    11/22/2017               TK Mexico Inc.                        $2,500,000.00                                                                                 $2,500,000.00




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                                                                                                                                      Current General                                           Current 503(b)(9)
                                                                                                                                                          Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address                   Claim No. Claim Date                   Debtor                         Unsecured Claim                                            Admin Priority
                                                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                          Amount                                                    Amount
CONFIDENTIAL WHISTLEBLOWER A
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                           3181    11/22/2017   TK Holdings de Mexico S. de R.L. de C.V.                                                         $0.00                                                   $0.00
CONFIDENTIAL WHISTLEBLOWER A
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                           3182    11/22/2017            Interiors in Flight Inc.                                                                $0.00                                                   $0.00
CONFIDENTIAL WHISTLEBLOWER A
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                           3183    11/22/2017       Takata Protection Systems Inc.                                                               $0.00                                                   $0.00
POBERZYN, CARISSA
THE GILBERT LAW GROUP, P.C.
C/O ANNE M. DIERUF
5400 WARD ROAD, BLDG. IV, STE. 200
ARVADA, CO 80002                                                  3184    11/22/2017              TK Holdings Inc.                        $1,195,544.02                                                                                 $1,195,544.02
NISSEI AMERICA, INC.
1480 NORTH HANCOCK STREET
ANAHEIM, CA 92807                                                 3185    11/22/2017              TK Holdings Inc.                               $0.00                                                                                          $0.00
CONFIDENTIAL WHISTLEBLOWER A
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                           3186    11/22/2017               TK Finance, LLC                                                                      $0.00                                                   $0.00
BENSEL, DAVID K
22981 RINGTAIL DR
CALIFORNIA, MD 20619                                              3187    11/22/2017              TK Holdings Inc.                               $0.00                                                                                          $0.00
PERMINT, LUDMILLA
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                              3188    11/22/2017   Industrias Irvin de Mexico, S.A. de C.V.           $2,500,000.00                                                                                 $2,500,000.00
CONFIDENTIAL WHISTLEBLOWER A
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                           3189    11/22/2017   Industrias Irvin de Mexico, S.A. de C.V.                                                         $0.00                                                   $0.00
PERMINT, LUDMILLA, AS ADMINISTRATRIX OF THE ESTATE OF CHARLES
PERMINT, JR.
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                              3190    11/22/2017            Interiors in Flight Inc.                  $2,500,000.00                                                                                 $2,500,000.00
CONFIDENTIAL WHISTLEBLOWER A
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                           3191    11/22/2017               TK Mexico LLC                                                                        $0.00                                                   $0.00




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                                                                                                                                 Current General                                            Current 503(b)(9)
                                                                                                                                                      Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address                    Claim No. Claim Date               Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                     Amount                                                     Amount
MEUNIER CARLIN & CURFMAN LLC
ATTN: JOHN W. HARBIN, ESQ.
GREGORY J. CARLIN, ESQ.
LAWRENCE AARONSON, REGISTERED AGENT
999 PEACHTREE STREET NE, SUITE 1300
ATLANTA, GA 30309                                                 3192    11/22/2017           TK Holdings Inc.                              $0.00                                                                                          $0.00
PERMINT, LUDMILLA
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                              3193    11/22/2017   Takata de Mexico, S.A. de C.V.                 $2,500,000.00                                                                                 $2,500,000.00
JOHNSON, IMANI ROSE (A MINOR, BY AND THROUGH HER NEXT FRIEND,
JULIA ROSE JOHNSON)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                              3194    11/22/2017           TK Mexico Inc.                         $2,500,000.00                                                                                 $2,500,000.00
MCCARY, JOHN
THE GILBERT LAW GROUP, P.C.
C/O ANNE M. DIERUF
5400 WARD ROAD, BLDG. IV, STE. 200
ARVADA, CO 80002                                                  3195    11/22/2017           TK Holdings Inc.                      $11,955,440.22                                                                                $11,955,440.22
CONFIDENTIAL WHISTLEBLOWER A
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                           3196    11/22/2017   Takata de Mexico, S.A. de C.V.                                                               $0.00                                                   $0.00
CONFIDENTIAL WHISTLEBLOWER A
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                           3197    11/22/2017   Strosshe‐Mex, S. de R.L. de C.V.                                                             $0.00                                                   $0.00
JOHNSON, IMANI ROSE (A MINOR, BY AND THROUGH HER NEXT FRIEND,
JULIA ROSE JOHNSON)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                              3198    11/22/2017   Takata Protection Systems Inc.                 $2,500,000.00                                                                                 $2,500,000.00
JOHNSON, IMANI ROSE (A MINOR, BY AND THROUGH HER NEXT FRIEND,
JULIA ROSE JOHNSON)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                              3199    11/22/2017            TK China, LLC                         $2,500,000.00                                                                                 $2,500,000.00
CONFIDENTIAL WHISTLEBLOWER A
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                           3200    11/22/2017           TK Mexico Inc.                                                                       $0.00                                                   $0.00
PARKS, MEGAN
2417 INDEPENDENCE TRAIL
PLUMAS LAKE, CA 95961                                             3201    11/22/2017           TK Holdings Inc.                                                  $0.00                                                                      $0.00
WILLIAMS, STANLEY
2708 RIVERWOOD TRAIL
FORT WORTH, TX 76109                                              3202    11/22/2017           TK Holdings Inc.                              $0.00                                                                                          $0.00


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                                                                                                                                    Current General                                           Current 503(b)(9)
                                                                                                                                                        Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address                       Claim No. Claim Date               Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                        Amount                                                    Amount
MILLS, LYNETTE
16914 MELISSA ANN DRIVE
LUTZ, FL 33558                                                       3203    11/22/2017           TK Holdings Inc.                             $0.00                                                                                          $0.00
CAASI, RAQUEL
C/O FLORENDO LAW OFFICES
GLORIA FLORENDO
1625 THE ALAMEDA, STE. 710
SANJOSE, CA 95126                                                    3204    11/22/2017           TK Holdings Inc.                             $0.00                                                                                          $0.00
HONDA NORTH AMERICA, INC., ON BEHALF OF ITSELF AND/OR CERTAIN OF
ITS AFFILIATES
TIFFANY STRELOW COBB VORYS, SATER, SEYMOUR AND PEASE LLP
ATTN: ROBERT A. BELL
52 E. GAY STREET
COLUMBUS, OH 43215                                                   3205    11/22/2017           TK Holdings Inc.                                                          $162,072,203.00                                         $162,072,203.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                   3206    11/22/2017   Strosshe‐Mex, S. de R.L. de C.V.                     $0.00                                                                                          $0.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                   3207    11/22/2017           TK Finance, LLC                              $0.00                                                                                          $0.00
PERMINT, LUDMILLA
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                 3208    11/22/2017   Strosshe‐Mex, S. de R.L. de C.V.              $2,500,000.00                                                                                 $2,500,000.00
LIBERTY MUTUAL INSURANCE COMPANY, INDIVIDUALLY AND ON BEHALF
OF ITS AFFILIATES (SEE ALSO ATTACHED ST
ATTN: KATE DUFFY
175 BERKELEY STREET, MAIL STOP M01G
BOSTON, MA 02116                                                     3209    11/22/2017           TK Holdings Inc.                                                                    $0.00                                                   $0.00
BURD, PATRICIA A
8301 TUMBLEWEED TRAIL #4401
FORT WORTH, TX 76108                                                 3210    11/22/2017           TK Holdings Inc.                             $0.00                                                                                          $0.00
PERMINT, LUDMILLA, AS ADMINISTRATRIX OF THE ESTATE OF CHARLES
PERMINT, JR.
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                 3211    11/22/2017            TK China, LLC                        $2,500,000.00                                                                                 $2,500,000.00
PERMINT, LUDMILLA, AS ADMINISTRATRIX OF THE ESTATE OF CHARLES
PERMINT, JR.
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                 3212    11/22/2017            TK Mexico LLC                        $2,500,000.00                                                                                 $2,500,000.00
BECERRA, JOSEPHINE
15433 PRICHARD STREET
LA PUENTE, CA 91744                                                  3213    11/22/2017           TK Holdings Inc.                             $0.00                                                                                          $0.00



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                                                                                                                                       Current General                                          Current 503(b)(9)
                                                                                                                                                           Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address                      Claim No. Claim Date                   Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                           Amount                                                   Amount
JOHNSON, JULIA ROSE, INDIVIDUALLY AND AS THE PARENT AND NATURAL
GUARDIAN OF IMANI ROSE JOHNSON, A MI
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQ.
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3214    11/22/2017      Strosshe‐Mex, S. de R.L. de C.V.               $2,500,000.00                                                                                $2,500,000.00
LOUCH, ROBERT
LOUGHREN & DOYLE, PA
506 SOUTHEAST 8TH STREET
FORT LAUDERDALE, FL 33316                                           3215    11/22/2017              TK Holdings Inc.                         $15,000.00                                                                                    $15,000.00
MURUGESAN, ANAND
300 LENORA STREET
P 136
SEATTLE, WA 98121                                                   3216    11/22/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
HYTECH SPRING & MACHINE
950 LINCOLN PARKWAY
PLAINWELL, MI 49080                                                 3217    11/22/2017              TK Holdings Inc.                                                                                        $0.00                               $0.00
PERMINT, LUDMILLA, AS ADMINISTRATRIX OF THE ESTATE OF CHARLES
PERMINT, JR.
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3218    11/22/2017       Takata Protection Systems Inc.                $2,500,000.00                                                                                $2,500,000.00
KING, LISA
3525 KIDD LANE
CHARLOTTE, NC 28216                                                 3219    11/22/2017              TK Holdings Inc.                              $0.00                                                                                         $0.00
PERMINT, CHARLES DANIEL (A DISABLED INDIVIDUAL, BY AND THROUGH
HIS NEXT FRIEND, PERMINT, LUDMILLA)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3220    11/22/2017       Takata Protection Systems Inc.                $2,500,000.00                                                                                $2,500,000.00
PERMINT, CHARLES DANIEL (A DISABLED INDIVIDUAL, BY AND THROUGH
HIS NEXT FRIEND, PERMINT, LUDMILLA)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3221    11/22/2017           Interiors in Flight Inc.                  $2,500,000.00                                                                                $2,500,000.00
PERMINT, LUDMILLA, AS ADMINISTRATRIX OF THE ESTATE OF CHARLES
PERMINT, JR.
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3222    11/22/2017   Industrias Irvin de Mexico, S.A. de C.V.          $2,500,000.00                                                                                $2,500,000.00
PERMINT, LUDMILLA, AS ADMINISTRATRIX OF THE ESTATE OF CHARLES
PERMINT, JR.
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                                3223    11/22/2017       Takata de Mexico, S.A. de C.V.                $2,500,000.00                                                                                $2,500,000.00
SIEGFRIED, TODD WILLIAM
5821 HAWKWOOD COURT
LITHIA, FL 33547                                                    3224    11/22/2017              TK Holdings Inc.                            $125.00                                                                                       $125.00




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                                                                                                                                      Current General                                           Current 503(b)(9)
                                                                                                                                                          Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address                     Claim No. Claim Date                   Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                          Amount                                                    Amount
PERMINT, LUDMILLA, AS ADMINISTRATRIX OF THE ESTATE OF CHARLES
PERMINT, JR.
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3225    11/22/2017               TK Mexico Inc.                        $2,500,000.00                                                                                 $2,500,000.00
CONFIDENTIAL WHISTLEBLOWER A
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                            3226    11/22/2017              TK Holdings Inc.                                                                     $0.00                                                   $0.00
PERMINT, LUDMILLA, AS ADMINISTRATRIX OF THE ESTATE OF CHARLES
PERMINT, JR.
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3227    11/22/2017   TK Holdings de Mexico S. de R.L. de C.V.          $2,500,000.00                                                                                 $2,500,000.00
LIBERTY MUTUAL INSURANCE COMPANY, INDIVIDUALLY AND ON BEHALF
OF ITS AFFILIATES (SEE ALSO ATTACHED ST
ATTN: HEATHER BOLLINGER, MS02S‐167
100 LIBERTY DRIVE
DOVER, NH 03820                                                    3228    11/22/2017              TK Holdings Inc.                                                                     $0.00                                                   $0.00
PERMINT, CHARLES DANIEL (A DISABLED INDIVIDUAL, BY AND THROUGH
HIS NEXT FRIEND, PERMINT, LUDMILLA)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3229    11/22/2017               TK Mexico Inc.                        $2,500,000.00                                                                                 $2,500,000.00
PERMINT, CHARLES DANIEL (A DISABLED INDIVIDUAL, BY AND THROUGH
HIS NEXT FRIEND, PERMINT, LUDMILLA)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3230    11/22/2017       Takata de Mexico, S.A. de C.V.                $2,500,000.00                                                                                 $2,500,000.00
LIBERTY MUTUAL INSURANCE COMPANY, INDIVIDUALLY AND ON BEHALF
OF ITS AFFILIATES (SEE ALSO ATTACHED ST
LIBERTY MUTUAL INSURANCE COMPANY
ATTN: HEATHER BOLLINGER, MS02S‐167
100 LIBERTY DRIVE
DOVER, NH 03820                                                    3231    11/22/2017              TK Holdings Inc.                              $0.00                                  $0.00                                                   $0.00
PERMINT, LUDMILLA, AS ADMINISTRATRIX OF THE ESTATE OF CHARLES
PERMINT, JR.
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3232    11/22/2017      Strosshe‐Mex, S. de R.L. de C.V.               $2,500,000.00                                                                                 $2,500,000.00
PERMINT, CHARLES DANIEL (A DISABLED INDIVIDUAL, BY AND THROUGH
HIS NEXT FRIEND, PERMINT, LUDMILLA)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3233    11/22/2017      Strosshe‐Mex, S. de R.L. de C.V.               $2,500,000.00                                                                                 $2,500,000.00
GOVERNOR BUSINESS SOLUTIONS
MIKE O'HALLORAN
15260 COMMERCE DRIVE S.
DEARBORN, MI 48120                                                 3234    11/22/2017              TK Holdings Inc.                              $0.00                                                      $0.00                               $0.00
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                                                                                                                                   Current General                                           Current 503(b)(9)
                                                                                                                                                       Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address                    Claim No. Claim Date               Debtor                         Unsecured Claim                                            Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                       Amount                                                    Amount
CONFIDENTIAL WHISTLEBLOWER A
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                            3235    11/22/2017            TK China, LLC                                                                       $0.00                                                   $0.00
JOHNSON, IMANI ROSE (A MINOR, BY AND THROUGH HER NEXT FRIEND,
JULIA ROSE JOHNSON)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3236    11/22/2017   Strosshe‐Mex, S. de R.L. de C.V.               $2,500,000.00                                                                                 $2,500,000.00
UTTER, HAISA
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                                  3237    11/22/2017           TK Holdings Inc.                       $1,000,000.00                                                                                 $1,000,000.00
JOHNSON, IMANI ROSE (A MINOR, BY AND THROUGH HER NEXT FRIEND,
JULIA ROSE JOHNSON)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3238    11/22/2017   Takata de Mexico, S.A. de C.V.                 $2,500,000.00                                                                                 $2,500,000.00
FELTON, SHANE
755 E 19TH AVE APT 414
DENVER, CO 80203                                                   3239    11/23/2017           TK Holdings Inc.                            $200.00                                                                                        $200.00
PERMINT, CHARLES DANIEL (A DISABLED INDIVIDUAL, BY AND THROUGH
HIS NEXT FRIEND, PERMINT, LUDMILLA)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3240    11/22/2017            TK Mexico LLC                         $2,500,000.00                                                                                 $2,500,000.00
MALONE JR, EUGENE
1350 FOOT OF TEN ROAD
DUNCANSVILLE, PA 16635                                             3241    11/24/2017           TK Holdings Inc.                              $0.00                                                                                          $0.00
LANDIS, NICHOLAS M
1445 BEACON ST
KEYSER, WV 26726                                                   3242    11/24/2017           TK Holdings Inc.                              $0.00                                                                                          $0.00
CONFIDENTIAL WHISTLEBLOWER B
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                            3243    11/22/2017          Takata Americas                                                                       $0.00                                                   $0.00
CONFIDENTIAL WHISTLEBLOWER B
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                            3244    11/22/2017        Interiors in Flight Inc.                                                                $0.00                                                   $0.00
CONFIDENTIAL WHISTLEBLOWER B
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                            3245    11/22/2017           TK Holdings Inc.                                                                     $0.00                                                   $0.00




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                                                                                                                                      Current General                                           Current 503(b)(9)
                                                                                                                                                          Current Priority   Current Secured                         Current Admin     Total Current
                    Creditor Name and Address                    Claim No. Claim Date                   Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                           Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                                          Amount                                                    Amount
CONFIDENTIAL WHISTLEBLOWER B
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                            3246    11/22/2017       Takata de Mexico, S.A. de C.V.                                                              $0.00                                                    $0.00
CONFIDENTIAL WHISTLEBLOWER B
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                            3247    11/22/2017               TK Mexico LLC                                                                       $0.00                                                    $0.00
CONFIDENTIAL WHISTLEBLOWER B
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                            3248    11/22/2017                TK China, LLC                                                                      $0.00                                                    $0.00
SMITH, JOHN
1234 SMITH LANE
PHILADELPHIA, PA 19111                                             3249    11/24/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
GUPTA, AMIT
PO BOX 303
ELKINS, NH 03233                                                   3250    11/22/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
MOORE, ANGELIA M.
2233 ORCHID STREET
LAKE CHARLES, LA 70601                                             3251    11/22/2017              TK Holdings Inc.                              $0.00               $0.00              $0.00               $0.00                                $0.00
DAICEL SAFETY SYSTEMS AMERICA, LLC
HUGHES HUBBARD & REED LLP
ATTN: JACOB H. GARTMAN, ESQ.
ATTN: CHRISTOPHER KIPLOK, ESQ.
ONE BATTERY PARK PLAZA
NEW YORK, NY 10004                                                 3252    11/22/2017              TK Holdings Inc.                              $0.00                                                      $0.00                                $0.00
CONFIDENTIAL WHISTLEBLOWER B
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                            3253    11/22/2017               TK Finance, LLC                                                                     $0.00                                                    $0.00
PERMINT, CHARLES DANIEL (A DISABLED INDIVIDUAL, BY AND THROUGH
HIS NEXT FRIEND, PERMINT, LUDMILLA)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3254    11/22/2017   Industrias Irvin de Mexico, S.A. de C.V.          $2,500,000.00                                                                                  $2,500,000.00
JOHNSON, IMANI ROSE (A MINOR, BY AND THROUGH HER NEXT FRIEND,
JULIA ROSE JOHNSON)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                               3255    11/22/2017           Interiors in Flight Inc.                  $2,500,000.00                                                                                  $2,500,000.00
PACIFIC SINTERED METALS, INC.
C/O NOSSAMAN LLP
ALLAN H. ICKOWITZ, ESQ.
777 S. FIGUEROA STREET, 34TH FLOOR
LOS ANGELES, CA 90017                                              3256    11/22/2017              TK Holdings Inc.                                                                                         $0.00              $0.00             $0.00
WEBSTER, CHANDRIELLE
9942 S ELECTRA LN.
SANDY, UT 84094                                                    3257    11/24/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00


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                                                                                                                                     Current General                                           Current 503(b)(9)
                                                                                                                                                         Current Priority   Current Secured                         Current Admin     Total Current
                   Creditor Name and Address                    Claim No. Claim Date                   Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                          Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                                         Amount                                                    Amount
CONFIDENTIAL WHISTLEBLOWER B
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                           3258    11/22/2017   Industrias Irvin de Mexico, S.A. de C.V.                                                        $0.00                                                    $0.00
PEGASUS AUTO PARTS MONTERREY S.A. DE C.V.
MR. HIROSHI MIYAGAWA
ARCO VIAL KM. 3.8 # 3810 INT. 2
SANTA CATARINA, NUEVO LEON 66100
MEXICO                                                            3259    11/22/2017              TK Holdings Inc.                              $0.00                                                      $0.00                                $0.00
TORRES, GREGORY D.
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                                 3260    11/22/2017              TK Holdings Inc.                       $1,000,000.00                                                                                  $1,000,000.00
DOCKETT, ANITA
723 N LEAMINGTON AVE
CHICAGO, IL 60644                                                 3261    11/24/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                3262    11/22/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
M.U., A MINOR CHILD (GENNISE MARQUEZ, PARENT)
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                                 3263    11/22/2017              TK Holdings Inc.                       $1,000,000.00                                                                                  $1,000,000.00
JOHNSON, IMANI ROSE (A MINOR, BY AND THROUGH HER NEXT FRIEND,
JULIA ROSE JOHNSON)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                              3264    11/22/2017               TK Mexico LLC                         $2,500,000.00                                                                                  $2,500,000.00
CLARK, DWAINE
1689 SLATE RD
CONLEY, GA 30288                                                  3265    11/24/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
JOHNSON, IMANI ROSE (A MINOR, BY AND THROUGH HER NEXT FRIEND,
JULIA ROSE JOHNSON)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                              3266    11/22/2017   TK Holdings de Mexico S. de R.L. de C.V.          $2,500,000.00                                                                                  $2,500,000.00
G/S SOLUTIONS; G/S LEASING
C/O THOMAS BUDZYNSKI, ESQ.
PO BOX 590
LEONARD, MI 48367                                                 3267    11/22/2017              TK Holdings Inc.                              $0.00                                                                         $0.00             $0.00
GRAJALES, JULIO
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE STREET
HOUSTON, TX 77002                                                 3268    11/22/2017              TK Holdings Inc.                       $1,000,000.00                                                                                  $1,000,000.00




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                                                                                                                                        Current General                                            Current 503(b)(9)
                                                                                                                                                            Current Priority   Current Secured                          Current Admin     Total Current
                   Creditor Name and Address                       Claim No. Claim Date                   Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                             Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                            Amount                                                     Amount
GENERAL MOTORS DE MEXICO S. DE R.L. DE C.V.
C/O HONIGMAN MILLER SCHWARTZ AND COHN
JOSEPH R. SGROI
660 WOODWARD AVE.
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                               3269    11/24/2017      Strosshe‐Mex, S. de R.L. de C.V.                                                  $6,501,000,000.00                                         $6,501,000,000.00
PEREZ, JOSE ALBERTO
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                                    3270    11/22/2017              TK Holdings Inc.                       $1,000,000.00                                                                                   $1,000,000.00
HERRMANN, MICHAEL J
1524 ORIOLE DRIVE
HARTFORD, WI 53027                                                   3271    11/24/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
CAASI, SAMUEL
C/O FLORENDO LAW OFFICES
GLORIA FLORENDO
1625 ALAMEDA, SUITE 710
SAN JOSE, CA 95126                                                   3272    11/22/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
HONDA NORTH AMERICA, INC., ON BEHALF OF ITSELF AND/OR CERTAIN OF
ITS AFFILIATES
TIFFANY STRELOW COBB VORYS, SATER, SEYMOUR AND PEASE LLP
ATTN: ROBERT A. BELL
52 E. GAY STREET
COLUMBUS, OH 43215                                                   3273    11/22/2017   Industrias Irvin de Mexico, S.A. de C.V.                                              $162,072,203.00                                           $162,072,203.00
PENA, JESUS
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                                    3274    11/22/2017              TK Holdings Inc.                       $1,000,000.00                                                                                   $1,000,000.00
MASON, BOBBY J.
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                                    3275    11/22/2017              TK Holdings Inc.                       $1,000,000.00                                                                                   $1,000,000.00
DAICEL SAFETY SYSTEMS AMERICA ARIZONA, INC.
HUGHES HUBBARD & REED LLP
JACOB H. GARTMAN
ONE BATTERY PARK PLAZA
NEW YORK, NY 10004                                                   3276    11/22/2017              TK Holdings Inc.                              $0.00                                                       $0.00                                $0.00
TAKATA AUTOMOTIVE ELECTRONICS (SHANGHAI) CO.,LTD
BUILDING 71 A, 17 HAN CHENG ROAD
PILOT FREE TRADE ZONE
SHANGHAI 200131
CHINA                                                                3277    11/23/2017              TK Holdings Inc.                       $4,294,172.87                                                                                   $4,294,172.87
SPECIAL DEVICES, INC.
HUGHES HUBBARD & REED LLP
CHRISTOPHER KIPLOK, ESQ.
JACOB H. GARTMAN, ESQ.
ONE BATTERY PARK PLAZA
NEW YORK, NY 10004                                                   3278    11/22/2017              TK Holdings Inc.                              $0.00                                                       $0.00                                $0.00
GALINDO, ROLANDO
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
ATTN: MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                                    3279    11/22/2017              TK Holdings Inc.                       $1,000,000.00                                                                                   $1,000,000.00
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                                                                                                                                     Current General                                            Current 503(b)(9)
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                   Creditor Name and Address                    Claim No. Claim Date                   Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                          Claim Amount       Claim Amount                           Priority Amount     Claim Amount
                                                                                                                                         Amount                                                     Amount
JOHNSON, IMANI ROSE (A MINOR, BY AND THROUGH HER NEXT FRIEND,
JULIA ROSE JOHNSON)
THE CHONG LAW FIRM, PA
JIMMY CHONG, ESQUIRE
2961 CENTERVILLE RD., STE. 350
WILMINGTON, DE 19808                                              3280    11/22/2017   Industrias Irvin de Mexico, S.A. de C.V.          $2,500,000.00                                                                                    $2,500,000.00
TAKATA KOREA CO., LTD
22 JANGANGONGDAN 6 GIL
JANGAN MYEON, HWASEONG SI
GYEONGGI DO

SOUTH KOREA                                                       3281    11/22/2017              TK Holdings Inc.                        $324,251.03                                                $821,540.85         $861,365.58      $2,007,157.46
PEREZ, JESUS JAIME
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TEXAS 77002                                              3282    11/22/2017              TK Holdings Inc.                       $1,000,000.00                                                                                    $1,000,000.00
GALINDO, HOMERO H.
ABRAHAM, WATKINS, NICHOLS,SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                                 3283    11/22/2017              TK Holdings Inc.                       $1,000,000.00                                                                                    $1,000,000.00
GENERAL MOTORS DE MEXICO S. DE R.L. DE C.V.
C/O HONIGMAN MILLER SCHWARTZ AND COHN
JOSEPH R. SGROI
660 WOODWARD AVE.
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                            3284    11/24/2017   Industrias Irvin de Mexico, S.A. de C.V.                                             $6,501,000,000.00                                          $6,501,000,000.00
MARQUEZ, GENNISE
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE STREET
HOUSTON, TX 77002                                                 3285    11/22/2017              TK Holdings Inc.                       $1,000,000.00                                                                                    $1,000,000.00
GENERAL MOTORS DE MEXICO S. DE R.L. DE C.V.
C/O HONIGMAN MILLER SCHWARTZ AND COHN
JOSEPH R. SGROI
660 WOODWARD AVE.
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                            3286    11/24/2017              TK Holdings Inc.                                                          $6,501,000,000.00                                          $6,501,000,000.00
GALINDO, JR., HOMERO H.
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                                 3287    11/22/2017              TK Holdings Inc.                       $1,000,000.00                                                                                    $1,000,000.00
LANGLEY, ELVIRA VEGA
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                                 3288    11/22/2017              TK Holdings Inc.                       $1,000,000.00                                                                                    $1,000,000.00
CARRNELSON, JAMES
2747 MCALLISTER STREET
SAN FRANCISCO, CA 94118                                           3289    11/24/2017              TK Holdings Inc.                            $500.00                                                                                           $500.00




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                   Creditor Name and Address                       Claim No. Claim Date                   Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                             Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                            Amount                                                     Amount
TORRES, ANA MARIA
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                                    3290    11/22/2017              TK Holdings Inc.                       $1,000,000.00                                                                                   $1,000,000.00
HONDA NORTH AMERICA, INC., ON BEHALF OF ITSELF AND/OR CERTAIN OF
ITS AFFILIATES
TIFFANY STRELOW COBB VORYS, SATER, SEYMOUR AND PEASE LLP
ATTN: ROBERT A. BELL
52 E. GAY STREET
COLUMBUS, OH 43215                                                   3291    11/22/2017       Takata de Mexico, S.A. de C.V.                                                    $162,072,203.00                                           $162,072,203.00
AMERICAN HONDA MOTOR CO. INC. ON BEHALF OF ITSELF AND/OR
CERTAIN OF ITS SUBSIDIARIES AND/OR AFFILIAT
TIFFANY STRELOW COBB VORYS, SATER, SEYMOUR AND PEASE LLP
ROBERT A. BELL
52 EAST GAY STREET
COLUMBUS, OH 43215                                                   3292    11/24/2017              TK Holdings Inc.                                                          $5,641,726,816.00                                         $5,641,726,816.00
AMERICAN HONDA MOTOR CO. INC. ON BEHALF OF ITSELF AND/OR
CERTAIN OF ITS SUBSIDIARIES AND/OR AFFILIAT
TIFFANY STRELOW COBB VORYS, SATER, SEYMOUR AND PEASE LLP
ROBERT A. BELL
52 EAST GAY STREET
COLUMBUS, OH 43215                                                   3293    11/24/2017   Industrias Irvin de Mexico, S.A. de C.V.                                             $5,641,276,816.00                                         $5,641,276,816.00
LANGLEY, HAROLD DEAN
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                                    3294    11/22/2017              TK Holdings Inc.                       $1,000,000.00                                                                                   $1,000,000.00
GENERAL MOTORS LLC
C/O HONIGMAN MILLER SCHWARTZ AND COHN LLP
JOSEPH R. SGROI
660 WOODWARD AVENUE
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                               3295    11/24/2017              TK Holdings Inc.                                                          $6,501,000,000.00                                         $6,501,000,000.00
AMERICAN HONDA MOTOR CO. INC. ON BEHALF OF ITSELF AND/OR
CERTAIN OF ITS SUBSIDIARIES AND/OR AFFILIAT
TIFFANY STRELOW COBB VORYS, SATER, SEYMOUR AND PEASE LLP
ROBERT A. BELL
52 EAST GAY STREET
COLUMBUS, OH 43215                                                   3296    11/24/2017       Takata de Mexico, S.A. de C.V.                                                   $5,641,276,816.00                                         $5,641,276,816.00
GENERAL MOTORS LLC
C/O HONIGMAN MILLER SCHWARTZ AND COHN LLP
JOSEPH R. SGROI
660 WOODWARD AVENUE
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                               3297    11/24/2017   Industrias Irvin de Mexico, S.A. de C.V.                                             $6,501,000,000.00                                         $6,501,000,000.00
GENERAL MOTORS LLC
C/O HONIGMAN MILLER SCHWARTZ AND COHN LLP
JOSEPH R. SGROI
660 WOODWARD AVENUE
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                               3298    11/24/2017       Takata de Mexico, S.A. de C.V.                                                   $6,501,000,000.00                                         $6,501,000,000.00




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                    Creditor Name and Address                   Claim No. Claim Date                   Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                          Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                         Amount                                                     Amount
GENERAL MOTORS DE MEXICO S. DE R.L. DE C.V.
C/O HONIGMAN MILLER SCHWARTZ AND COHN
JOSEPH R. SGROI
660 WOODWARD AVE.
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                            3299    11/24/2017       Takata de Mexico, S.A. de C.V.                                                   $6,501,000,000.00                                         $6,501,000,000.00
GENERAL MOTORS LLC
C/O HONIGMAN MILLER SCHWARTZ AND COHN LLP
JOSEPH R. SGROI
660 WOODWARD AVENUE
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                            3300    11/24/2017      Strosshe‐Mex, S. de R.L. de C.V.                                                  $6,501,000,000.00                                         $6,501,000,000.00
KATTEN & TEMPLE LLP
542 S. DEARBORN ST. 14TH FL.
CHICAGO, IL 60605                                                 3301    11/22/2017              TK Holdings Inc.                                                                     $0.00                                                     $0.00
TAKATA (SHANGHAI) AUTOMOTIVE COMPONENT CO.,LTD.
NO.8000, SONGZE AVE., QINGPU
INDUSTRIAL ZONE, SHANGHAI 201701
CHINA                                                             3302    11/22/2017              TK Holdings Inc.                        $344,882.23                                                                                      $344,882.23
HONEYWELL INTERNATIONAL INC.
ATTN: PETER GLOCK
115 TABOR ROAD
MORRIS PLAINS, NJ 07950                                           3303    11/23/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
TAKATA (SHANGHAI) VEHICLE SAFETY SYSTEMS TECHNICAL CENTER CO,
LTD.
NO.8000, SONGZE AVENUE, QINGPU
INDUSTRIAL ZONE
SHANGHAI, CHINA 201707
CHINA                                                             3304    11/23/2017              TK Holdings Inc.                         $40,222.81                                                                                       $40,222.81
COGAN, JAMES
25800 SUN CITY BLVD
SUN CITY, CA 92586                                                3305    11/24/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
GOMEZ, HUGO
236 S. LOS ANGELES ST. #B312
LOS ANGELES, CA 90012                                             3306    11/22/2017              TK Holdings Inc.                                                  $0.00                                                                        $0.00
TAKATA (SHANGHAI) AUTOMOTIVE COMPONENT CO.,LTD
NO.8000, SONGZE AVENUE, QINGPU
INDUSTRIAL ZONE
SHANGHAI 201707
CHINA                                                             3307    11/23/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
TAKATA (CHANGXING) SAFETY SYSTEMS CO.,LTD.
AGRICULTURE RESEARCH INSTITUTE WU SHAN
GANG CHANGXING, ZHEJIANG PROVINCE 313104                          3308    11/23/2017              TK Holdings Inc.                       $8,293,700.00                                                                                   $8,293,700.00
CONFIDENTIAL WHISTLEBLOWER B
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                           3309    11/22/2017      Strosshe‐Mex, S. de R.L. de C.V.                                                             $0.00                                                     $0.00
GENTOSI, PATRICIA
801 BRONX RIVER ROAD
BRONXVILLE, NY 10708                                              3310    11/23/2017              TK Holdings Inc.                                                  $0.00                                                                        $0.00
CONFIDENTIAL WHISTLEBLOWER B
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                           3311    11/22/2017   TK Holdings de Mexico S. de R.L. de C.V.                                                        $0.00                                                     $0.00
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                                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                             Amount                                                     Amount
FAUST, MAX
C/O SOLOFF & ZERVANOS, P.C.
1525 LOCUST STREET, 8TH FLOOR
PHILADELPHIA, PA 19102                                     3312    11/22/2017          TK Holdings Inc.                      $10,000,000.00                                                                                $10,000,000.00
RODRIGUEZ, SAN JUANITA MARISELA
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                          3313    11/22/2017          TK Holdings Inc.                       $1,000,000.00                                                                                 $1,000,000.00
TARPY, LYNN
1111 N. NORTHSHORE DR.
STE. N‐290
KNOXVILLE, TN 37919                                        3314    11/24/2017          TK Holdings Inc.                           $2,500.00                                                                                     $2,500.00
MOTT, RICHARD WALTER
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                          3315    11/22/2017          TK Holdings Inc.                       $1,000,000.00                                                                                 $1,000,000.00
GALINDO, ARGELIA A.
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                          3316    11/22/2017          TK Holdings Inc.                       $1,000,000.00                                                                                 $1,000,000.00
CONFIDENTIAL WHISTLEBLOWER B
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                    3317    11/22/2017          TK Mexico Inc.                                                                       $0.00                                                   $0.00
DAVIS, PATRICIA
PO BOX 65328
BATON ROUGE, LA 70896                                      3318    11/24/2017          TK Holdings Inc.                                                  $0.00              $0.00                                                   $0.00
CONFIDENTIAL WHISTLEBLOWER B
CONSTANTINE CANNON LLP
WAYNE LAMPREY
150 CALIFORNIA STREET, SUITE 1600
SAN FRANCISCO, CA 94111                                    3319    11/22/2017   Takata Protection Systems Inc.                                                              $0.00                                                   $0.00
MILLER, DALE W & MARGARET RUTH
6311 CLAIR DR
HUNTINGDON, PA 16652                                       3320    11/24/2017          TK Holdings Inc.                              $0.00                                                                                          $0.00
JACKSON, JEANNE MARIE
1717 CARVER STREET
LAKE CHARLES, LA 70615                                     3321    11/24/2017          TK Holdings Inc.                              $0.00                                  $0.00               $0.00                               $0.00
PEREZ, SANDRA
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                          3322    11/22/2017          TK Holdings Inc.                       $1,000,000.00                                                                                 $1,000,000.00
HERNANDEZ MOTT, ROXANA
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
ATTN: MO AZIZ
800 COMMERCE STREET
HOUSTON, TX 77002                                          3323    11/22/2017          TK Holdings Inc.                       $1,000,000.00                                                                                 $1,000,000.00
CLARK, DWAINE
1689 SLATE RD.
CONLEY, GA 30288                                           3324    11/24/2017          TK Holdings Inc.                              $0.00                                                                                          $0.00


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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                             Amount                                                   Amount
CASEY, BERNARD N.
2251 K STREET
SAN DIEGO, CA 92102                                            3325    11/24/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PEREZ, OLGA G.
C/O ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
ATTN: MO AZIZ, ESQ.
800 COMMERCE
HOUSTON, TX 77002                                              3326    11/22/2017      TK Holdings Inc.                      $1,000,000.00                                                                                $1,000,000.00
AHMAD, MUHAMMAD
8151 CIVIC CENTER DRIVE, APT. 2128
ELK GROVE, CA 95757                                            3327    11/23/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TURK, TONYA
C/O MORRIS HAYNES WHEELES KNOWLES & NELSON
ATTN: EMILY NELSON
3500 COLONNADE PARKWAY, SUITE 100
BIRMINGHAM, AL 35243                                           3328    11/22/2017      TK Holdings Inc.                         $8,700.00                                                                                     $8,700.00
NAVEJAS, NADIA
C/O ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
ATTN: MO AZIZ, ESQ.
800 COMMERCE STREET
HOUSTON, TX 77002                                              3329    11/22/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PEREZ, JUAN
C/O ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
ATTN: MO AZIZ, ESQ.
800 COMMERCE
HOUSTON, TX 77002                                              3330    11/22/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ALMAGUER, MIGUEL ANGEL
C/O ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
ATTN: MO AZIZ, ESQ.
800 COMMERCE ST.
HOUSTON, TX 77002                                              3331    11/22/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LOPEZ, PHILLIP
C/O ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
ATTN: MO AZIZ, ESQ.
800 COMMERCE ST.
HOUSTON, TX 77002                                              3332    11/22/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PENA, MARIA
C/O ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
ATTN: MO AZIZ, ESQ.
800 COMMERCE ST.
HOUSTON, TX 77002                                              3333    11/22/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
JUNCO, PEDRO D
6574 N STATE ROAD 7 #334
COCONUT CREEK, FL 33073                                        3334    11/24/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KLU, PETER
4817 MANITOBA DR #203
ALEXANDRIA, VA 22312                                           3335    11/24/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GRISHAM, LARRY D
7794 WARNER RD
SALINE, MI 48176                                               3336    11/24/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GRISHAM, LARRY DALE
7794 WARNER RD
SALINE, MI 48176                                               3337    11/24/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00




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                                                                                                                                Current General                                           Current 503(b)(9)
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                   Creditor Name and Address                    Claim No. Claim Date              Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                    Amount                                                    Amount
DEMENT, DARWIN
ROBERT BURNS, ATTORNEY
4877 VOLTAIRE STREET
P.O. BOX 7263
SAN DIEGO, CA 92107                                               3338    11/24/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
BROOKS, CATHERINE
2093 STEEPLE PLACE
WOODBRIDGE, VA 22192‐2242                                         3339    11/24/2017          TK Holdings Inc.                         $2,000.00                                                                                      $2,000.00
LONG, NACHE
1041 SNAPDRAGON CT
CORONA, CA 92880                                                  3340    11/24/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
BYUN, DANNY K
399 11TH STREET, APT 201
PALISADES PARK, NJ 07650                                          3341    11/26/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
WYATT, BARON T
20906 S HIDE CT
HOUSTON, TX 77073                                                 3342    11/25/2017          TK Holdings Inc.                                                 $0.00              $0.00                                                   $0.00
EXPLOSIVES BUREAU INC.
407 HARTSHORN DR.
SHORT HILLS, NJ 07078                                             3343    11/25/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
MAYO, LEEVALLA
PAUL KOMYATTE
THE KOMYATTE LAW FIRM LLC
1536 COLE BLVD. SUITE 300
LAKEWOOD, CO 80401                                                3344    11/25/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
JOHNSON, SEDRICK
THE KOMYATTE LAW FIRM LLC
PAUL J. KOMYATTE
1536 COLE BLVD. SUITE 300
LAKEWOOD, CO 80401                                                3345    11/25/2017          TK Holdings Inc.                      $5,000,000.00                                                                                 $5,000,000.00
EXPLOSIVES BUREAU INC.
407 HARTSHORN DR.
SHORT HILLS, NJ 07078                                             3346    11/25/2017   Takata de Mexico, S.A. de C.V.                      $0.00                                                                                          $0.00
EXPLOSIVES BUREAU INC.
407 HARTSHORN DR.
SHORT HILLS, NJ 07078                                             3347    11/25/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
KING, BRENDEN
1408 ARTHUR ST APT H
KLAMATH FALLS, OR 97603                                           3348    11/25/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
ROGERS, CARLA
PO BOX 49105
JACKSONVILLE BEACH, FL 32240                                      3349    11/25/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
Z'NIYLA GALLASPY, THROUGH HER MOTHER AND NEXT FRIEND LAKEISHA
TOMLIN
PAUL J. KOMYATTE
THE KOMYATTE LAW FIRM LLC
1536 COLE BLVD. SUITE 300
LAKEWOOD, CO 80401                                                3350    11/25/2017          TK Holdings Inc.                      $5,000,000.00                                                                                 $5,000,000.00
BUBIER, TIMOTHY ALAN
19 FLEMMING CT
OROVILLE, CA 95966                                                3351    11/25/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00
VILLEGAS, CLIFTON
3323 TAVERN OAKS STREET
SAN ANTONIO, TX 78247                                             3352    11/26/2017          TK Holdings Inc.                             $0.00                                                                                          $0.00



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                    Creditor Name and Address                     Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                  Amount                                                   Amount
MAKRIS, DEBRA
7 MARC DRIVE
WANTAGE, NJ 07461                                                   3353    11/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FARMER, PRECIOUS
2049 BARNSBORO RD. APT G1
BLACKWOOD, NJ 08012                                                 3354    11/26/2017      TK Holdings Inc.                                                                                                                           $0.00
SHYKES, KELLY
14636 N 98TH ST
SCOTTSDALE, AZ 85260                                                3355    11/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
THOMPSON, KRISTINA MCGINNIS
1115 COUNTRY HILL DRIVE
HARRISBURG, PA 17111                                                3356    11/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LEMIRE, COURTNEY
3245 RED SCOTT CIRCLE
LAS VEGAS, NV 89117                                                 3357    11/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BRINDLE, BRITTANY
DOUGLAS S. HARRIS
1698 NATCHEZ TRACE
GREENSBORO, NC 27455                                                3358    11/24/2017      TK Holdings Inc.                      $2,500,000.00                                                                                $2,500,000.00
RIJO, EDDIE
5129 PIAZZA LOOP
SAINT CLOUD, FL 34771                                               3359    11/26/2017      TK Holdings Inc.                                                                                       $0.00                               $0.00
BERNAL, DOUGLAS
2707 NEWTON STREET
SILVER SPRING, MD 20902                                             3360    11/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DE LOS SANTOS OLVEDA, RENE
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TEXAS 77002                                                3361    11/22/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WITHYCOMBE, WILLIAM C
2801 SEPULVEDA BLVD
UNIT 118
TORRANCE, CA 90505                                                  3362    11/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
I.M., A MINOR CHILD (NADIA NAVEJAS, PARENT)
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                                   3363    11/22/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
M.G., A MINOR CHILD (ARGELIA GALINDO, PARENT, 92 OCONNELL ROAD,
QUEMADO, TX 78877)
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                                   3364    11/22/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CLARK, DWAINE
1689 SLATE RD
CONLEY, GA 30288                                                    3365    11/24/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
STEWART, STEPHEN
2212 DR SANDERS ROAD
AUBREY, TX 76227                                                    3366    11/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WILMERHALE
ATTN: CRAIG GOLDBLATT
1875 PENNSYLVANIA AVENUE NW
WASHINGTON, DC 20006                                                3367    11/22/2017      TK Holdings Inc.                       $249,545.45                                                                                   $249,545.45


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                                                                                                                                         Current General                                            Current 503(b)(9)
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                    Creditor Name and Address                       Claim No. Claim Date                   Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                             Amount                                                     Amount
UTTER, PEDRO
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                                     3368    11/22/2017              TK Holdings Inc.                               $0.00                                                                                          $0.00
3D PLASTICS, LLC
FOLEY & LARDNER, LLP
ATTN: JOHN A. SIMON
500 WOODWARD AVE., STE. 2700
DETROIT, MI 48226                                                     3369    11/22/2017              TK Holdings Inc.                                                                                          $0.00                               $0.00
HONDA DE MEXICO, S.A. DE C.V., ON BEHALF OF ITSELF AND/OR CERTAIN
OF ITS AFFILIATES
VORYS, SATER, SEYMOUR AND PEASE LLP
ROBERT A. BELL
TIFFANY STRELOW COBB
52 E. GAY STREET
COLUMBUS, OH 43215                                                    3370    11/26/2017   Industrias Irvin de Mexico, S.A. de C.V.                                                $66,384,366.00                                          $66,384,366.00
MILLER, CHRISTOPHER
333 ESCUELA AVE APT 144
MOUNTAIN VIEW, CA 94040                                               3371    11/22/2017              TK Holdings Inc.                               $0.00                                                                                          $0.00
SABRINA TURK, INDIVIDUALLY; SABRINA TURK, AS NEXT BEST FRIEND OF
LYSANDER SMITH
CROSS & SIMON, LLC
MR. KEVIN MANN
1105 NORTH MARKET STREET
SUITE 901
WILMINGTON, DE 19801                                                  3372    11/22/2017              TK Holdings Inc.                       $22,500,000.00                                                                                $22,500,000.00
M.M., A MINOR CHILD (NADIA NAVEJAS, PARENT 19012 US HIGHWAY 27,
QUEMADO, TEXAS 78877)
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                                     3373    11/22/2017              TK Holdings Inc.                        $1,000,000.00                                                                                 $1,000,000.00
TAKATA KOREA CO. LTD.
22, JANGANG ONGDAN 6‐GIL
JANG‐AN‐MYEON
HWASEONG‐SI, GYEONGGI‐DO
S. KOREA                                                              3374    11/23/2017              TK Holdings Inc.                               $0.00                                                      $0.00                               $0.00
BRIGHT, ROBERT & CINDY
3508 MUNGALL DR #1
ANAHEIM, CA 92804                                                     3375    11/23/2017              TK Holdings Inc.                               $0.00                                                                                          $0.00
MABREY, KYA
520 METTLER ST
TOLEDO, OH 43608                                                      3376    11/22/2017              TK Holdings Inc.                                                                      $0.00                                                   $0.00
JEAN‐MARIE, MAURIOT
5 RUE DU CADRES ST. PIERRE
REINS, FRANCE 51100
FRANCE                                                                3377    11/24/2017              TK Holdings Inc.                         $300,000.00                                                                                    $300,000.00
REBEKAH OGLESBY AS ADMINISTRATRIX FOR THE ESTATE OF CHANDLER
KEITH OGLESBY, DECEASED
MARSH, RICHARD & BRYAN, P.C.
RICHARD RILEY ESQ.
800 SHADES CREEK PARKWAY; SUITE 600‐D
BIRMINGHAM, AL 35209                                                  3378    11/24/2017              TK Holdings Inc.                       $10,000,000.00                                                                                $10,000,000.00



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                   Creditor Name and Address             Claim No. Claim Date          Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                         Amount                                                    Amount
MOTT, MERLE J.
ABRAHAM, WATKINS, NICHOLS, SORRELS, AGOSTO & AZIZ
MO AZIZ
800 COMMERCE
HOUSTON, TX 77002                                          3379    11/22/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
KOCO AUTOMOTIVE GMBH
NIEDERESCHACHER STRASSE #52
DAUCHINGEN D‐78083
GERMANY                                                    3380    11/24/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
MALETTA, PETER C.
DUFFY & DUFFY, PLLC
1370 RXR PLAZA
UNIONDALE, NY 11556                                        3381    11/24/2017      TK Holdings Inc.                       $250,000.00                                                                                    $250,000.00
GRISHAM, LARRY D.
7794 WARNER RD
SALINE, MI 48176                                           3382    11/24/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
CROWLEY, JAMES W.
4149 MAYSTAR WAY
HILLIARD, OH 43026‐3012                                    3383    11/26/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
SANTARSIERO, AGNES A.
C/O VERONICA R.S. BAUER
308 ARABIAN ROAD
PALM BEACH, FL 33480                                       3384    11/24/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
RATHMANN, CAROLYN L
8913 PRINDLE RD.
NORTH EAST, PA 16428                                       3385    11/24/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
SMITH, DONALD GORDON
2919 124TH CIRCLE NE
BLAINE, MN 55449                                           3386    11/25/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
KREPEL, TERRY D.
109 S ROSE LN
COLUMBUS, NE 69601‐3681                                    3387    11/25/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
RILEY, JULIANN AND KEITH
6020 CULLEN DRIVE
LINCOLN, NE 68506                                          3388    11/25/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
ESTRADA, SAMARIS
8456 SIERRA AVE
FONTANA, CA 92335                                          3389    11/25/2017      TK Holdings Inc.                                                                    $0.00                                                   $0.00
FLOWERS, JOHARA
THE KOMYATTE LAW FIRM LLC
PAUL J, KOMYATTE
1536 COLE BLVD. SUITE 300
LAKEWOOD, CO 80401                                         3390    11/25/2017      TK Holdings Inc.                      $5,000,000.00                                                                                 $5,000,000.00
SKHAL, LISA
5719 KNOLLVIEW DR
WATERLOO, LA 50701                                         3391    11/25/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
SINGSTOCK, TIMOTHY
4910 LIVE OAKS CT
DUMFRIES, VA 22025                                         3392    11/27/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
HARTHORN, ROY WAYNE
3017 HERMOSA RD
SANTA BARBARA, CA 93105                                    3393    11/26/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
RUIZ, VANESSA
2120 WILCREST DRIVE, 129
HOUSTON, TX 77042                                          3394    11/25/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00


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                  Creditor Name and Address                    Claim No. Claim Date              Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                   Amount                                                     Amount
ANTOINE THOMPSON, THROUGH HIS NEXT FRIEND AND FATHER ANTHONY
THOMPSON
THE KOMYATTE LAW FIRM, LLC
PAUL J. KOMYATTE
1536 COLE BLVD. SUITE 300
LAKEWOOD, CO 80401                                               3395    11/25/2017          TK Holdings Inc.                      $5,000,000.00                                                                                   $5,000,000.00
THOMPSON, ANTHONY
THE KOMYATTE LAW FIRM LLC
PAUL J. KOMYATTE
1536 COLE BLVD. SUITE 300
LAKEWOOD, CO 80401                                               3396    11/25/2017          TK Holdings Inc.                      $5,000,000.00                                                                                   $5,000,000.00
LEE, DEAN
22213 MCCLARREN STREET
GRAND TERRACE, CA 92313                                          3397    11/27/2017          TK Holdings Inc.                             $0.00                                                                                            $0.00
ROBERT, GARY
17329 RIVERSIDE LANE
TICKFAW, LA 70466                                                3398    11/27/2017          TK Holdings Inc.                             $0.00               $0.00              $0.00                $0.00                                $0.00
SINGSTOCK, TIMOTHY
4910 LIVE OAKS CT
DUMFRIES, VA 22025                                               3399    11/27/2017          TK Holdings Inc.                             $0.00                                                                                            $0.00
ROBERTS, THOMAS
25422 TRABUCO RD 105‐398
LAKE FOREST, CA 92630                                            3400    11/26/2017          TK Holdings Inc.                             $0.00                                                                                            $0.00
EKECHUKWU, OWEN
7410 ADMIRALTY DRIVE
CANTON, MI 48187                                                 3401    11/26/2017          TK Holdings Inc.                             $0.00                                                                                            $0.00
SUN, CHENLIANG
10590 NE 12TH ST UNIT 102
BELLEVUE, WA 98004                                               3402    11/27/2017          TK Holdings Inc.                         $2,800.00                                                                                        $2,800.00
SINGSTOCK, TIMOTHY
4910 LIVE OAKS CT
DUMFRIES, VA 22025                                               3403    11/27/2017          TK Holdings Inc.                             $0.00                                                                                            $0.00
MAZDA CANADA INC.
ATTN: AGNES DI LEONARDI, GENERAL COUNSEL
55 VOGELL ROAD
RICHMOND HILL, ON L4B 3K5
CANADA                                                           3404    11/26/2017          TK Holdings Inc.                             $0.00                                                                                            $0.00
LITTLE, MEGHAN MARY
2708 HARVARD AVE.
BUTTE, MT 59701                                                  3405    11/27/2017          TK Holdings Inc.                             $0.00                                  $0.00                                                     $0.00
BERCHTOLD, GINNY M.
1212 34TH AVE SE #68
ALBANY, OR 97322                                                 3406    11/26/2017          TK Holdings Inc.                             $0.00                                                                                            $0.00
MAZDA MOTOR CORPORATION
ATTN: NAOYA KISUI, LEGAL DEPT. MANAGER
3‐1 SHINCHI, FUCHU‐CHO, AKI‐GUN
HIROSHIMA 730‐8670
JAPAN                                                            3407    11/26/2017   Takata de Mexico, S.A. de C.V.                                                  $2,294,553,618.65                                         $2,294,553,618.65
MEUNIER CARLIN & CURFMAN LLC
ATTN: JOHN W. HARBIN, ESQ.
GREGORY J. CARLIN, ESQ.
LAWRENCE AARONSON, REGISTERED AGENT
999 PEACHTREE STREET NE, SUITE 1300
ATLANTA, GA 30309                                                3408    11/27/2017   Takata Protection Systems Inc.                      $0.00                                                                                            $0.00



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                    Creditor Name and Address                       Claim No. Claim Date               Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                         Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                         Amount                                                    Amount
KATERS, MICHAEL G
2484 MANITOWOC RD
GREEN BAY, WI 54311                                                   3409    11/26/2017           TK Holdings Inc.                             $0.00                                                                                           $0.00
NIE, RUOYI
475 CORNELL
IRVINE, CA 92612                                                      3410    11/26/2017           TK Holdings Inc.                             $0.00                                                                                           $0.00
SINGSTOCK, TIMOTHY
4910 LIVE OAKS CT
DUMFRIES, VA 22025                                                    3411    11/27/2017           TK Holdings Inc.                             $0.00                                                                                           $0.00
BRADLEY, ANTOINE
11471 MAGNOLIA AVE
APT 690
RIVERSIDE, CA 92505                                                   3412    11/26/2017           TK Holdings Inc.                             $0.00                                                                                           $0.00
GALLAGHER, KEVIN
1647 MONONGAHELA AVE
PITTSBURGH, PA 15218                                                  3413    11/27/2017           TK Holdings Inc.                             $0.00                                                                                           $0.00
HONDA CANADA INC., ON BEHALF OF ITSELF AND/OR CERTAIN OF ITS
AFFILIATES
VORYS, SATER, SEYMOUR AND PEASE LLP
ROBERT A. BELL
TIFFANY STRELOW COBB
52 E. GAY STEET
COLUMBUS, OH 43215                                                    3414    11/26/2017           TK Holdings Inc.                                                         $495,632,169.00                                           $495,632,169.00
SPIESS, CHRISTOPHER LEE
11181 W. 17TH AVE
APT. 305
LAKEWOOD, CO 80215                                                    3415    11/26/2017           TK Holdings Inc.                             $0.00                                                                                           $0.00
HONDA DE MEXICO, S.A. DE C.V., ON BEHALF OF ITSELF AND/OR CERTAIN
OF ITS AFFILIATES
VORYS, SATER, SEYMOUR AND PEASE LLP
ROBERT A. BELL
TIFFANY STRELOW COBB
52 E. GAY STREET
COLUMBUS, OH 43215                                                    3416    11/26/2017   Takata de Mexico, S.A. de C.V.                                                    $66,384,366.00                                            $66,384,366.00
DIALS, CANDI
20072 PITTS RD
WELLINGTON, OH 44090                                                  3417    11/26/2017           TK Holdings Inc.                             $0.00                                                                                           $0.00
SUBARU OF INDIANA AUTOMOTIVE, INC. (F/K/A SUBARU‐ISUZU
AUTOMOTIVE, INC.)
ATTN: DOUGLAS R. MEYER, SENIOR MANAGER AND GENERAL COUNSEL
LEGAL/HR/CSR
5500 STATE ROAD 38 E
LAFAYETTE, IN 47905                                                   3418    11/26/2017   Strosshe‐Mex, S. de R.L. de C.V.                                                $1,322,898,641.10                                         $1,322,898,641.10
SUBARU OF AMERICA, INC.
ATTN: TERRI WOODARD CLAYBROOK, DIRECTOR‐ASSOCIATE GENERAL
COUNSEL
2235 MARLTON PIKE W.
CHERRY HILL, NJ 08002                                                 3419    11/26/2017   Strosshe‐Mex, S. de R.L. de C.V.                                                  $68,262,257.00                                            $68,262,257.00
SUBARU OF INDIANA AUTOMOTIVE, INC. (F/K/A SUBARU‐ISUZU
AUTOMOTIVE, INC.)
ATTN: DOUGLAS R. MEYER, SENIOR MANAGER AND GENERAL COUNSEL
LEGAL/HR/CSR
5500 STATE ROAD 38 E
LAFAYETTE, IN 47905                                                   3420    11/26/2017   Takata de Mexico, S.A. de C.V.                                                  $1,322,898,641.10                                         $1,322,898,641.10



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                   Creditor Name and Address                    Claim No. Claim Date               Debtor                        Unsecured Claim                                              Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                     Amount                                                      Amount
SINGSTOCK, TIMOTHY
4910 LIVE OAKS CT
DUMFRIES, VA 22025                                                3421    11/27/2017           TK Holdings Inc.                              $0.00                                                                                            $0.00
MAZDA MOTOR OF AMERICA, INC. (D/B/A MAZDA NORTH AMERICAN
OPERATIONS)
ATTN: CHARLES S. KIM, ASSISTANT GENERAL COUNSEL, PRODUCT
LITIGATION
200 SPECTRUM CENTER DRIVE, SUITE 100
IRVINE, CA 92618                                                  3422    11/26/2017   Takata de Mexico, S.A. de C.V.                                                      $85,979,156.82                                            $85,979,156.82
MAZDA MOTOR CORPORATION
ATTN: NAOYA KISUI, LEGAL DEPT. MANAGER
3‐1 SHINCHI, FUCHO‐CHO, AKI‐GUN
HIROSHIMA 730‐8670
JAPAN                                                             3423    11/26/2017   Strosshe‐Mex, S. de R.L. de C.V.                                                  $2,294,553,618.65                                         $2,294,553,618.65
MAZDA MOTOR OF AMERICA, INC. (D/B/A MAZDA NORTH AMERICAN
OPERATIONS)
ATTN: CHARLES S. KIM, ASSISTANT GENERAL COUNSEL, PRODUCT
LITIGATION
200 SPECTRUM CENTER DRIVE, SUITE 100
IRVINE, CA 92618                                                  3424    11/26/2017   Strosshe‐Mex, S. de R.L. de C.V.                                                    $85,979,156.82                                            $85,979,156.82
LITTLE, FRANCIS XAVIER
2708 HARVARD AVE.
BUTTE, MT 59701                                                   3425    11/27/2017           TK Holdings Inc.                              $0.00                                  $0.00                                                     $0.00
MAZDA MOTOR MANUFACTURING DE MEXICO S.A. DE C.V. (D/B/A MAZDA
DE MEXICO VEHICLE OPERATION)
ATTN: OSVALDO BARRAGAN, MANAGER ‐ LEGAL AND INTERNAL CONTROL
& AUDIT GR.
AV. HIROSHIMA NO. 1000
COMPLEJO INDUSTRIAL SALAMANCA
SALAMANCA, GTO. C.P. 36875
MÉXICO                                                            3426    11/26/2017   Takata de Mexico, S.A. de C.V.                                                      $30,227,802.00                                            $30,227,802.00
ZAMBOLE, NICHOLAS
4548 INGALLS DRIVE
WELLINGTON, CO 80549                                              3427    11/27/2017           TK Holdings Inc.                              $0.00                                                                                            $0.00
NEJAT, NADAR
C/O THE GILBERT LAW GROUP, PC
ATTN: ANNE DIERUF
5400 WARD, BLDG IV, SUITE 200
ARVADA, CO 80004                                                  3428    11/27/2017           TK Holdings Inc.                      $20,000,000.00                                                                                  $20,000,000.00
SUBARU CORPORATION (F/K/A FUJI HEAVY INDUSTRIES, LTD.)
NAOKO TANIGUCHI
GENERAL MANAGER ‐ LEGAL DEPARTMENT
EBISU SUBARU BLDG., 1‐20‐8, EBISU
SHIBUYA‐KU
TOKYO 150‐8554
JAPAN                                                             3429    11/26/2017           TK Holdings Inc.                                                          $2,282,895,917.83                                         $2,282,895,917.83
MAZDA MOTOR MANUFACTURING DE MEXICO S.A. DE C.V. (D/B/A MAZDA
DE MEXICO VEHICLE OPERATION)
ATTN: OSVALDO BARRAGAN, MANAGER ‐ LEGAL AND INTERNAL CONTROL
& AUDIT GR.
AV. HIROSHIMA NO. 1000
COMPLEJO INDUSTRIAL SALAMANCA
SALAMANCA, GTO 36875
MEXICO                                                            3430    11/26/2017           TK Holdings Inc.                                                            $30,227,802.00                                            $30,227,802.00



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                                                                                                                                 Current General                                             Current 503(b)(9)
                                                                                                                                                      Current Priority   Current Secured                          Current Admin     Total Current
                   Creditor Name and Address                    Claim No. Claim Date               Debtor                        Unsecured Claim                                              Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                     Amount                                                      Amount
MAZDA MOTOR MANUFACTURING DE MEXICO S.A. DE C.V. (D/B/A MAZDA
DE MEXICO VEHICLE OPERATION)
ATTN: OSVALDO BARRAGAN, MANAGER ‐ LEGAL AND INTERNAL CONTROL
& AUDIT GR.
AV. HIROSHIMA NO. 1000
COMPLEJO INDUSTRIAL SALAMANCA
SALAMANCA, GTO 36875
MEXICO                                                            3431    11/26/2017   Strosshe‐Mex, S. de R.L. de C.V.                                                    $30,227,802.00                                            $30,227,802.00
SUBARU CANADA, INC.
ATTN: BRIAN HAWKINS
SENIOR VICE PRESIDENT AND CFO
560 SUFFOLK COURT
MISSISSAUGA, ON L5R4J7
CANADA                                                            3432    11/26/2017   Strosshe‐Mex, S. de R.L. de C.V.                      $0.00                                                                                            $0.00
MAZDA MOTOR CORPORATION
ATTN: NAOYA KISUI, LEGAL DEPT. MANAGER
3‐1 SHINCHI, FUCHO‐CHO, AKI‐GUN
, HIROSHIMA 730‐8670
JAPAN                                                             3433    11/26/2017           TK Holdings Inc.                                                          $2,294,553,618.65                                         $2,294,553,618.65
DEHART, HAILEY
2728 RYAN RD.
SUITE A
LAKE CHARLES, LA 70605                                            3434    11/27/2017           TK Holdings Inc.                              $0.00                                                                                            $0.00
SIGWORTH, SOON U.
6242 WILMETTE DRIVE
BURKE, VA 22015                                                   3435    11/26/2017           TK Holdings Inc.                              $0.00                                                                                            $0.00
WASSIL, J PHILIP
5544 S. CENTERVILLE RD.
CENTERVILLE, IN 47330                                             3436    11/27/2017           TK Holdings Inc.                              $0.00                                                                                            $0.00
EDRALIN, FERDINAND MARK
12065 ALBERT AVE.
OROSI, CA 93647                                                   3437    11/26/2017           TK Holdings Inc.                              $0.00                                                                                            $0.00
LEDFORD, CHRISTA
230 WAVERLY WAY
BURLINGTON, NC 27215                                              3438    11/27/2017           TK Holdings Inc.                            $131.68                                                                                          $131.68
LEWIS III, ROSS EARL
208 COPELAND DRIVE
CEDAR HILL, TX 75104                                              3439    11/26/2017           TK Holdings Inc.                              $0.00                                  $0.00                                                     $0.00
ALEXANDER, REMONA
4477 MARTIN LUTHER KING JR BLVD
GARFIELD HEIGHTS, OH 44105                                        3440    11/27/2017           TK Holdings Inc.                           $5,000.00                                                                                       $5,000.00

NI. N., A MINOR BY AND THROUGH HER NATURAL FATHER NADAR NEJAT
C/O THE GILBERT LAW GROUP
ATTN: ANNE M. DIERUF
5400 WARD RD, BLDG IV, SUITE 200
ARVADA, CO 80002                                                  3441    11/27/2017           TK Holdings Inc.                      $20,000,000.00                                                                                  $20,000,000.00
WASHAM, SHAWN
1711 KATYE ST
MOBILE, AL 36617                                                  3442    11/27/2017           TK Holdings Inc.                              $0.00               $0.00              $0.00                                                     $0.00
TE CONNECTIVITY CORPORATION
SAUL EWING ARNSTEIN & LEHR LLP
SHARON L. LEVINE
1037 RAYMOND BLVD., SUITE 1520
NEWARK, NJ 07102                                                  3443    11/27/2017           TK Holdings Inc.                              $0.00                                                       $0.00                                $0.00


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                                                                                                                                         Current General                                            Current 503(b)(9)
                                                                                                                                                             Current Priority   Current Secured                          Current Admin      Total Current
                    Creditor Name and Address                       Claim No. Claim Date                   Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                              Claim Amount       Claim Amount                           Priority Amount     Claim Amount
                                                                                                                                             Amount                                                     Amount
MERCEDES‐BENZ U.S. INTERNATIONAL, INC.
RICHARD CLEMENTZ
1 MERCEDES DRIVE
VANCE, AL 35490‐9310                                                  3444    11/27/2017              TK Holdings Inc.                              $0.00                                                                                             $0.00
HONDA DE MEXICO, S.A. DE C.V., ON BEHALF OF ITSELF AND/OR CERTAIN
OF ITS AFFILIATES
VORYS, SATER, SEYMOUR AND PEASE LLP
ROBERT A. BELL
TIFFANY STRELOW COBB
52 E. GAY STREET
COLUMBUS, OH 43215                                                    3445    11/26/2017              TK Holdings Inc.                                                            $66,384,366.00                                             $66,384,366.00
DAIMLER TRUCKS NORTH AMERICA LLC
WELLS TALMADGE
ASSOCIATE GENERAL COUNSEL
4555 N. CHANNEL AVENUE
PORTLAND, OR 97217                                                    3446    11/27/2017              TK Holdings Inc.                       $4,234,584.29                                 $0.00                                              $4,234,584.29
MAZDA MOTOR OF AMERICA, INC. (D/B/A MAZDA NORTH AMERICAN
OPERATIONS)
ATTN: CHARLES S. KIM, ASSISTANT GENERAL COUNSEL, PRODUCT
LITIGATION
200 SPECTRUM CENTER DRIVE, SUITE 100
IRVINE, CA 92618                                                      3447    11/26/2017              TK Holdings Inc.                                                            $85,979,156.82                                             $85,979,156.82
GENERAL MOTORS OF CANADA COMPANY
C/O HONIGMAN MILLER SCHWARTZ AND COHN
JOSEPH R. SGROI
660 WOODWARD AVE.
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                                3448    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                                             $6,501,000,000.00                                          $6,501,000,000.00
MCCANN, PHILIP P
4704 JEFFERSON WOOD CT
GREENSBORO, NC 27410‐3555                                             3449    11/27/2017              TK Holdings Inc.                              $0.00                                                                                             $0.00
AUDI MÉXICO S.A. DE C.V.
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY 10017                                                    3450    11/27/2017              TK Holdings Inc.                              $0.00                          $8,100,000.00                                              $8,100,000.00
AT&T INC. AND ITS SUBSIDIARIES AND AFFILIATES
JAMES W. GRUDUS
ONE AT&T WAY, ROOM 3A115
BEDMINSTER, NJ 07921                                                  3451    11/27/2017               TK Finance, LLC                              $0.00                                                                          $0.00              $0.00
MEUNIER CARLIN & CURFMAN LLC
ATTN: JOHN W. HARBIN, ESQ.
GREGORY J. CARLIN, ESQ.
LAWRENCE AARONSON, REGISTERED AGENT
999 PEACHTREE STREET NE, SUITE 1300
ATLANTA, GA 30309                                                     3452    11/27/2017               TK Finance, LLC                              $0.00                                                                                             $0.00
SUBARU CORPORATION (F/K/A FUJI HEAVY INDUSTRIES, LTD.)
NAOKO TANIGUCHI
GENERAL MANAGER ‐ LEGAL DEPARTMENT
EBISU SUBARU BLDG., 1‐20‐8, EBISU, SHIBUYA‐KU,
TOKYO 150‐8554
JAPAN                                                                 3453    11/26/2017      Strosshe‐Mex, S. de R.L. de C.V.                                                  $2,282,895,917.83                                          $2,282,895,917.83




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                                                                                                                             Current General                                          Current 503(b)(9)
                                                                                                                                                Current Priority   Current Secured                         Current Admin    Total Current
                  Creditor Name and Address                 Claim No. Claim Date               Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                 Amount                                                   Amount
SUBARU OF AMERICA, INC.
ATTN: TERRI WOODARD CLAYBROOK
DIRECTOR‐ASSOCIATE GENERAL COUNSEL
2235 MARLTON PIKE WEST
CHERRY HILL, NJ 08002                                         3454    11/26/2017   Takata de Mexico, S.A. de C.V.                                                    $68,262,257.00                                          $68,262,257.00
REICHART, RICHARD
351 EVERGREEN AVE
VILLAS, NJ 08251                                              3455    11/24/2017           TK Holdings Inc.                         $1,500.00                                                                                     $1,500.00
MAZDA CANADA INC.
ATTN: AGNES DI LEONARDI, GENERAL COUNSEL
55 VOGELL ROAD
RICHMOND HILL, ON L4B 3K5
CANADA                                                        3456    11/26/2017   Takata de Mexico, S.A. de C.V.                       $0.00                                                                                         $0.00
JONES, BONNIE K.
5259 EDITH AVE
KANSAS CITY, KS 66104                                         3457    11/24/2017           TK Holdings Inc.                        $75,000.00              $0.00              $0.00                                              $75,000.00
KING, ERNEST G
3609 TATTERSHALL DRIVE
GREENSBORO, NC 27410                                          3458    11/27/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
MAZDA AUSTRALIA PTY. LTD.
ATTN: MICHAEL ROBINS, LEGAL COUNSE
211A WELLINGTON ROAD
MULGRAVE, VICTORIA 3170
AUSTRALIA                                                     3459    11/26/2017   Takata de Mexico, S.A. de C.V.                       $0.00                                                                                         $0.00
MAZDA CANADA INC.
ATTN: AGNES DI LEONARDI, GENERAL COUNSEL
55 VOGELL ROAD
RICHMOND HILL, ON L4B 3K5
CANADA                                                        3460    11/26/2017   Strosshe‐Mex, S. de R.L. de C.V.                     $0.00                                                                                         $0.00
MAZDA AUSTRALIA PTY. LTD.
ATTN: MICHAEL ROBINS, LEGAL COUNSEL
211A WELLINGTON ROAD
MULGRAVE, VICTORIA 3170
AUSTRALIA                                                     3461    11/26/2017   Strosshe‐Mex, S. de R.L. de C.V.                     $0.00                                                                                         $0.00
FRAUNHOFER‐GESELLSCHAFT ZUR FOERDERUNG DER ANGEWANDTEN
FORSCHUNG E.V.
KLAUS LETZELTER
POSTFACH 200733
MUNICH 80007
GERMANY                                                       3462    11/27/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
DICKEY, AMY J.
1291 NE 88TH ST
ALTOONA, IA 50009                                             3463    11/26/2017           TK Holdings Inc.                             $0.00                                                                                         $0.00
SUBARU OF AMERICA, INC.
ATTN: TERRI WOODARD CLAYBROOK, DIRECTOR‐ASSOCIATE GENERAL
COUNSEL
2235 MARLTON PIKE WEST
CHERRY HILL, NJ 08002                                         3464    11/26/2017           TK Holdings Inc.                                                          $68,262,257.00                                          $68,262,257.00
FRANKLIM, ANITA
3012 N ARSENAL AVE
INDIANAPOLIS, IN 46218‐1921                                   3465    11/27/2017           TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00




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                                                                                                                                    Current General                                           Current 503(b)(9)
                                                                                                                                                       Current Priority   Current Secured                          Current Admin     Total Current
                   Creditor Name and Address                   Claim No. Claim Date                   Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                        Amount                                                    Amount
TAKATA CORPORATION
ATTN: HIKOTO WATANABE
TOKYO FRONT TERRACE
2‐3‐14 HIGASHISHINAGAWA, SHINAGAWA‐KU
TOKYO 140‐0002
JAPAN                                                            3466    11/26/2017              TK Holdings Inc.                              $0.00                                 $0.00                $0.00                                $0.00
WILLIAMS, SAMIA
3550 EAST OVERTON RD, APT.1082
DALLAS, TX 75216                                                 3467    11/27/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
SWANSBROUGH, CORTNEY
116 FAIRWAY RIDGE APT #B
AIKEN, SC 29803                                                  3468    11/27/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
MAZDA AUSTRALIA PTY. LTD.
ATTN: MICHAEL ROBINS, LEGAL COUNSEL
211A WELLINGTON ROAD
MULGRAVE, VIC 3170
AUSTRALIA                                                        3469    11/26/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
CALHOUNE, PATRICK F.
JOSEPH TITONE, ESQ.
621 SE 5TH ST.
POMPANO BEACH, FL 33060                                          3470    11/27/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
HONDA CANADA INC., ON BEHALF OF ITSELF AND/OR CERTAIN OF ITS
AFFILIATES
VORYS, SATER, SEYMOUR AND PEASE LLP
ROBERT A. BELL
TIFFANY STRELOW COBB
52 E. GAY STREET
COLUMBUS, OH 43215                                               3471    11/26/2017   Industrias Irvin de Mexico, S.A. de C.V.                                             $495,632,169.00                                           $495,632,169.00
HONDA CANADA INC., ON BEHALF OF ITSELF AND/OR CERTAIN OF ITS
AFFILIATES
VORYS, SATER, SEYMOUR AND PEASE LLP
ROBERT A. BELL
TIFFANY STRELOW COBB
52 E. GAY STREET
COLUMBUS, OH 43215                                               3472    11/26/2017       Takata de Mexico, S.A. de C.V.                                                   $495,632,169.00                                           $495,632,169.00
LEDFORD, CHRISTA
230 WAVERLY WAY
BURLINGTON, NC 27215                                             3473    11/27/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
WHITE, MARY P.
464 NASSAU
BOLINGBROOK, IL 60440                                            3474    11/27/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
FORD MOTOR COMPANY, FOR ITSELF AND ON BEHALF OF THE ENTITIES
IDENTIFIED ON THE CLAIMANT LIST ATTACHE
MCGUIREWOODS LLP
JOHN H. THOMPSON
2001 K STREET, NW
SUITE 400
WASHINGTON, DC 20006                                             3475    11/27/2017              TK Holdings Inc.                                                         $2,596,242,760.00                                         $2,596,242,760.00
SUBARU OF INDIANA AUTOMOTIVE, INC. (F/K/A SUBARU‐ISUZU
AUTOMOTIVE, INC.)
ATTN: DOUGLAS R. MEYER, SENIOR MANAGER AND GENERAL COUNSEL
LEGAL/HR/CSR
5500 STATE ROAD 38 E
LAFAYETTE, IN 47905                                              3476    11/26/2017              TK Holdings Inc.                                                         $1,322,898,641.10                                         $1,322,898,641.10



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                                                                                                                                    Current General                                           Current 503(b)(9)
                                                                                                                                                       Current Priority   Current Secured                          Current Admin     Total Current
                   Creditor Name and Address                   Claim No. Claim Date                   Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                        Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                        Amount                                                    Amount
SIMARD, PHILPE
JOSEPH TITONE, ESQ.
621 SE 5TH STREET
POMPANO BEACH, FL 33060                                          3477    11/27/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
SUBARU CANADA, INC.
ATTN: BRIAN HAWKINS, SENIOR VICE PRESIDENT AND CFO
560 SUFFOLK COURT
MISSISSAUGA, ON L5R4J7
CANADA                                                           3478    11/26/2017       Takata de Mexico, S.A. de C.V.                       $0.00                                                                                           $0.00
SUBARU CANADA, INC.
ATTN: BRIAN HAWKINS, SENIOR VICE PRESIDENT AND CFO
560 SUFFOLK COURT
MISSISSAUGA, ON L5R4J7
CANADA                                                           3479    11/26/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
MEUNIER CARLIN & CURFMAN LLC
ATTN: JOHN W. HARBIN, ESQ.
999 PEACHTREE STREET, NE, SUITE 1300
ATLANTA, GA 30309                                                3480    11/27/2017               TK Mexico Inc.                               $0.00                                                                                           $0.00
FORD MOTOR COMPANY, FOR ITSELF AND ON BEHALF OF THE ENTITIES
IDENTIFIED ON THE CLAIMANT LIST ATTACHE
MCGUIREWOODS LLP
JOHN H. THOMPSON
2001 K STREET, NW
SUITE 400
WASHINGTON, DC 20006                                             3481    11/27/2017      Strosshe‐Mex, S. de R.L. de C.V.                                                 $2,596,242,760.00                                         $2,596,242,760.00
SUBARU CORPORATION (F/K/A FUJI HEAVY INDUSTRIES, LTD.)
NAOKO TANIGUCHI
GENERAL MANAGER ‐ LEGAL DEPARTMENT
EBISU SUBARU BLDG., 1‐20‐8, EBISU, SHIBUYA‐KU
TOKYO 150‐8554
JAPAN                                                            3482    11/26/2017       Takata de Mexico, S.A. de C.V.                                                  $2,282,895,917.83                                         $2,282,895,917.83
MEUNIER CARLIN & CURFMAN LLC
ATTN: JOHN W. HARBIN, ESQ.
GREGORY J. CARLIN, ESQ.
LAWRENCE AARONSON, REGISTERED AGENT
999 PEACHTREE STREET NE, SUITE 1300
ATLANTA, GA 30309                                                3483    11/27/2017       Takata de Mexico, S.A. de C.V.                       $0.00                                                                                           $0.00
VOLKSWAGEN GROUP OF AMERICA, INC.
DAVIS POLK & WARDWELL
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY                                                     3484    11/27/2017              TK Holdings Inc.                                                          $354,600,000.00                                           $354,600,000.00
MEUNIER CARLIN & CURFMAN LLC
ATTN: JOHN W. HARBIN, ESQ.
GREGORY J. CARLIN, ESQ.
LAWRENCE AARONSON, REGISTERED AGENT
999 PEACHTREE STREET NE, SUITE 1300
ATLANTA, GA 30309                                                3485    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                           $0.00
VOLKSWAGEN GROUP OF AMERICA, INC.
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY 10017                                               3486    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                                             $354,600,000.00                                           $354,600,000.00




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                                                                                                                                   Current General                                              Current 503(b)(9)
                                                                                                                                                         Current Priority   Current Secured                          Current Admin     Total Current
                   Creditor Name and Address                  Claim No. Claim Date                   Debtor                        Unsecured Claim                                               Admin Priority
                                                                                                                                                          Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                       Amount                                                       Amount
MITSUBISHI MOTORS CORPORATION
DAN YOUNGBLUT
1285 AVENUE OF THE AMERICAS
NEW YORK, NY 10019                                              3487    11/27/2017              TK Holdings Inc.                       $634,931,506.40                                                                                 $634,931,506.40
LATTERELL, ARTHUR
10508 SE MALDEN ST
PORTLAND, OR 97266                                              3488    11/27/2017              TK Holdings Inc.                                                                                                                                 $0.00
NUNEZ, JOSE
2605 DUNRAVEN CT
KISSIMMEE, FL 34743                                             3489    11/27/2017              TK Holdings Inc.                              $500.00                                                                                          $500.00
AUDI MÉXICO S.A. DE C.V.
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY 10017                                              3490    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.            $8,100,000.00                                                                                   $8,100,000.00
GENERAL MOTORS OF CANADA COMPANY
C/O HONIGMAN MILLER SCHWARTZ AND COHN
JOSEPH R. SGROI
2290 FIRST NATIONAL BUILDING
660 WOODWARD AVE.
DETROIT, MI 48226‐3506                                          3491    11/27/2017      Strosshe‐Mex, S. de R.L. de C.V.                                                    $6,501,000,000.00                                         $6,501,000,000.00
N.N. A MINOR BY AND THROUGH HER NATURAL FATHER, NEDAR NEJAT
C/O ANNE M. DIERUF
THE GILBERT LAW GROUP
5400 WARD RD, BLDG IV, SUITE 200
ARVADA, CO 80002                                                3492    11/27/2017              TK Holdings Inc.                        $20,000,000.00                                                                                  $20,000,000.00
VOLKSWAGEN DE MEXICO S.A. DE C.V.
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY 10017                                              3493    11/27/2017       Takata de Mexico, S.A. de C.V.                                                      $144,500,000.00                                           $144,500,000.00
VOLKSWAGEN DE MEXICO S.A. DE C.V.
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY 10017                                              3494    11/27/2017      Strosshe‐Mex, S. de R.L. de C.V.                                                     $144,500,000.00                                           $144,500,000.00
SENFELD, SHELLEY
9177‐F SW 22 STREET
BOCA RATON, FL 33428                                            3495    11/27/2017              TK Holdings Inc.                                $0.00                                                                                            $0.00
MEUNIER CARLIN & CURFMAN LLC
ATTN: JOHN W. HARBIN, ESQ.
GREGORY J. CARLIN, ESQ.
LAWRENCE AARONSON, REGISTERED AGENT
999 PEACHTREE STREET NE, SUITE 1300
ATLANTA, GA 30309                                               3496    11/27/2017                TK China, LLC                                  $0.00                                                                                           $0.00
VOLVO GROUP NORTH AMERICA LLC
BAKER HOSTETLER LLP
KEY TOWER
MR. ERIC GOODMAN
127 PUBLIC SQUARE, SUITE 2000
CLEVELAND, OH 44114                                             3497    11/27/2017              TK Holdings Inc.                                                              $10,108,665.61                                            $10,108,665.61




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                                                                                                                                 Current General                                            Current 503(b)(9)
                                                                                                                                                     Current Priority   Current Secured                          Current Admin      Total Current
                    Creditor Name and Address                  Claim No. Claim Date               Debtor                         Unsecured Claim                                             Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                           Priority Amount     Claim Amount
                                                                                                                                     Amount                                                     Amount
GENERAL MOTORS OF CANADA COMPANY
C/O HONIGMAN MILLER SCHWARTZ AND COHN
JOSEPH R. SGROI
660 WOODWARD AVE.
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                           3498    11/27/2017   Takata de Mexico, S.A. de C.V.                                                    $6,501,000,000.00                                          $6,501,000,000.00
DAIMLER TRUCKS NORTH AMERICA LLC
BRIAN BURTON
4555 NORTH CHANNEL AVE
PORTLAND, OR 97217‐7649                                          3499    11/27/2017           TK Holdings Inc.                              $0.00                                                                                             $0.00
AT&T INC. AND ITS SUBSIDIARIES AND AFFILIATES
JAMES W. GRUDUS
ONE AT&T WAY, ROOM 3A115
BEDMINSTER, NJ 07921                                             3500    11/27/2017          Takata Americas                                $0.00                                                                          $0.00              $0.00
GARRISON, ALVERNIA
180 MARTIN LANE
PORT SULPHUR, LA 70083                                           3501    11/27/2017           TK Holdings Inc.                              $0.00                                                                                             $0.00
VOLKSWAGEN GROUP OF AMERICA CHATTANOOGA OPERATIONS, LLC
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY 10017                                               3502    11/27/2017   Strosshe‐Mex, S. de R.L. de C.V.                                                   $354,600,000.00                                            $354,600,000.00
LOUCH, ROBERT
LOUGHREN & DOYLE, PA
506 SOUTHEAST 8TH STREET
FORT LAUDERDALE, FL 33316                                        3503    11/22/2017           TK Holdings Inc.                              $0.00                                                                                             $0.00
VOLKSWAGEN DE MEXICO S.A. DE C.V.
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY                                                     3504    11/27/2017   Takata de Mexico, S.A. de C.V.                                                     $354,600,000.00                                            $354,600,000.00
MEUNIER CARLIN & CURFMAN LLC
ATTN: JOHN W. HARBIN, ESQ.
GREGORY J. CARLIN, ESQ.
LAWRENCE AARONSON, REGISTERED AGENT
999 PEACHTREE STREET NE, SUITE 1300
ATLANTA, GA 30309                                                3505    11/27/2017          Takata Americas                                $0.00                                                                                             $0.00
MEUNIER CARLIN & CURFMAN LLC
ATTN: JOHN W. HARBIN, ESQ.
GREGORY J. CARLIN, ESQ.
LAWRENCE AARONSON, REGISTERED AGENT
999 PEACHTREE STREET NE, SUITE 1300
ATLANTA, GA 30309                                                3506    11/27/2017        Interiors in Flight Inc.                         $0.00                                                                                             $0.00
MITSUBISHI MOTORS CORPORATION
DAN YOUNGBLUT
1285 AVENUE OF THE AMERICAS
NEW YORK, NY 10019                                               3507    11/27/2017   Takata de Mexico, S.A. de C.V.                        $0.00                                                                                             $0.00
CRG FINANCIAL LLC (AS ASSIGNEE OF CREATIVE FOAM CORPORATION)
100 UNION AVENUE
CRESSKILL, NJ 07626                                              3508    11/27/2017           TK Holdings Inc.                                                                                          $0.00                                 $0.00
LUCAS, MICHAEL
SHENKAN INJURY LAWYERS, LLC
RICHARD SHENKAN
6550 LAKESHORE ST.
WEST BLOOMFIELD, MI 48323                                        3509    11/27/2017           TK Holdings Inc.                       $5,000,000.00                                                                                    $5,000,000.00


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                                                                                                                          Current General                                            Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date                   Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                           Priority Amount     Claim Amount
                                                                                                                              Amount                                                     Amount
GENERAL MOTORS OF CANADA COMPANY
C/O HONIGMAN MILLER SCHWARTZ AND COHN
JOSEPH R. SGROI
660 WOODWARD AVE.
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                 3510    11/27/2017              TK Holdings Inc.                                                          $6,501,000,000.00                                          $6,501,000,000.00
MARQUEZ, ELAINE N.
3840 B SANDSTONE PL SE
ALBUQUERQUE, NM 87116                                  3511    11/22/2017              TK Holdings Inc.                              $0.00                                                                                             $0.00
AT&T INC. AND ITS SUBSIDIARIES AND AFFILIATES
JAMES W. GRUDUS
ONE AT&T WAY, ROOM 3A115
BEDMINSTER, NJ 07921                                   3512    11/27/2017              TK Holdings Inc.                              $0.00                                                                          $0.00              $0.00
MEUNIER CARLIN & CURFMAN LLC
ATTN: JOHN W. HARBIN, ESQ.
GREGORY J. CARLIN, ESQ.
LAWRENCE AARONSON, REGISTERED AGENT
999 PEACHTREE STREET NE, SUITE 1300
ATLANTA, GA 30309                                      3513    11/27/2017   TK Holdings de Mexico S. de R.L. de C.V.                 $0.00                                                                                             $0.00
MEUNIER CARLIN & CURFMAN LLC
ATTN: JOHN W. HARBIN, ESQ.
GREGORY J. CARLIN, ESQ.
LAWRENCE AARONSON, REGISTERED AGENT
999 PEACHTREE STREET NE, SUITE 1300
ATLANTA, GA 30309                                      3514    11/27/2017      Strosshe‐Mex, S. de R.L. de C.V.                      $0.00                                                                                             $0.00
MAYO, LEEVELLA
C/O THE KOMYATTE LAW FIRM LLC
ATTN: PAUL KOMYATTE
1536 COLE BLVD. SUITE 300
LAKEWOOD, CO 80401                                     3515    11/27/2017              TK Holdings Inc.                       $5,000,000.00                                                                                    $5,000,000.00
AT&T INC. AND ITS SUBSIDIARIES AND AFFILIATES
JAMES W. GRUDUS
ONE AT&T WAY, ROOM 3A115
BEDMINSTER, NJ 07921                                   3516    11/27/2017               TK Mexico LLC                                $0.00                                                                          $0.00              $0.00
ROLF, SHANE
412 EAST MAIN
SPRINGVILLE, NY 14141                                  3517    11/27/2017              TK Holdings Inc.                                                                                          $0.00              $0.00              $0.00
VOLKSWAGEN DE MEXICO S.A. DE C.V.
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY 10017                                     3518    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                                              $144,500,000.00                                            $144,500,000.00
DANIELSON, REBECCA
1855 MARSH CREEK DRIVE
LAWRENCEVILLE, GA 30043                                3519    11/22/2017              TK Holdings Inc.                              $0.00                                                                                             $0.00
AUTO DEALER CLAIMANTS (SEE EXHIBIT A)
MANTESE HONIGMAN, P.C.
JORDAN B. SEGAL
1361 E. BIG BEAVER RD
TROY, MI 48083                                         3520    11/27/2017              TK Holdings Inc.                              $0.00                                                                                             $0.00
MERCEDES‐BENZ USA, LLC
C/O ANTHONY D. ZEPF
ASSISTANT GENERAL COUNSEL ‐ LEGAL DEPARTMENT
303 PERIMETER CENTER NORTH ‐ SUITE 202
ATLANTA, GA 30346                                      3521    11/27/2017              TK Holdings Inc.                   $3,652,966,252.86                                                                                 $3,652,966,252.86


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                                                                                                                                    Current General                                             Current 503(b)(9)
                                                                                                                                                         Current Priority   Current Secured                          Current Admin     Total Current
                    Creditor Name and Address                      Claim No. Claim Date               Debtor                        Unsecured Claim                                              Admin Priority
                                                                                                                                                          Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                        Amount                                                      Amount
MERCEDES‐BENZ CANADA INC.
CYNTHIA GRELIK
ASSISTANT GENERAL COUNSEL
98 VANDERHOOF AVENUE
TORONTO, ON M4G4C9                                                   3522    11/27/2017           TK Holdings Inc.                              $0.00                                                                                            $0.00
HONDA MOTOR CO., LTD., ON BEHALF OF ITSELF AND/OR CERTAIN OF ITS
AFFILIATES
NISHIMURA & ASAHI
YURI SUGANO
OTEMON TOWER, 1‐1‐2 OTEMACHI, CHIYODA‐KU
TOKYO 100‐8124
JAPAN                                                                3523    11/27/2017           TK Holdings Inc.                  $3,712,975,810.00                                                                                 $3,712,975,810.00
MEADOWS, ROBERT
17134 NE 8TH PLACE
BELLEVUE, WA 98008                                                   3524    11/27/2017           TK Holdings Inc.                              $0.00                                                                                            $0.00
MILLER, JAMACIA
438 S. EVANGELINE STREET
NEW IBERIA, LA 70560                                                 3525    11/27/2017           TK Holdings Inc.                              $0.00                                                                                            $0.00
GM KOREA COMPANY
C/O HONIGMAN MILLER SCHWARTZ AND COHN
JOSEPH R. SGROI
660 WOODWARD AVE.
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                               3526    11/27/2017   Takata de Mexico, S.A. de C.V.                                                    $6,501,000,000.00                                         $6,501,000,000.00
MEUNIER CARLIN & CURFMAN LLC
ATTN: JOHN W. HARBIN, ESQ.
GREGORY J. CARLIN, ESQ.
LAWRENCE AARONSON, REGISTERED AGENT
999 PEACHTREE STREET NE, SUITE 1300
ATLANTA, GA 30309                                                    3527    11/27/2017            TK Mexico LLC                                $0.00                                                                                            $0.00
VOLKSWAGEN GROUP OF AMERICA, INC.
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY 10017                                                   3528    11/27/2017   Strosshe‐Mex, S. de R.L. de C.V.                                                   $354,600,000.00                                           $354,600,000.00
NISSAN NORTH AMERICA, INC.
ATTN: DONALD P. PARSHALL, JR.
39001 SUNRISE
FARMINGTON HILLS, MI 48331                                           3529    11/27/2017           TK Holdings Inc.                                                          $2,119,687,316.07                                         $2,119,687,316.07
MITSUBISHI CHEMICAL PERFORMANCE POLYMERS, INC.
SAUL EWING ARNSTEIN & LEHR LLP
SHARON L. LEVINE
1037 RAYMOND BLVD., SUITE 1520
NEWARK, NJ 07102                                                     3530    11/27/2017           TK Holdings Inc.                              $0.00                                                       $0.00                                $0.00
COMUSA INC.
SAUL EWING ARNSTEIN & LEHR LLP
SHARON L. LEVINE
1037 RAYMOND BLVD., SUITE 1520
NEWARK, NJ 07102                                                     3531    11/27/2017           TK Holdings Inc.                              $0.00                                                       $0.00                                $0.00
DUNLEAVY, PAUL
SHENKAN INJURY LAWYERS, LLC
RICHARD SHENKAN
6550 LAKESHORE STREET
WEST BLOOMFIELD, MI 48323                                            3532    11/27/2017           TK Holdings Inc.                      $10,000,000.00                                                                                  $10,000,000.00



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                                                                                                                                                           Current Priority   Current Secured                          Current Admin     Total Current
                    Creditor Name and Address                     Claim No. Claim Date                   Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                            Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                           Amount                                                     Amount
SCHROTH SAFETY PRODUCTS LLC
C/O BRIAN COOPER
1371 SW 8TH STREET #3
POMPANO BEACH, FL 33069                                             3533    11/27/2017              TK Holdings Inc.                              $0.00                                                       $0.00                                $0.00
RODRIGUEZ, THALIA
3729 WEST CASS STREET
TAMPA, FL 33609                                                     3534    11/27/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
JACKSON, JEANNE
1717 CARVER STREET
LAKE CHARLES, LA 70615                                              3535    11/27/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
IRVIN, GEORGE A
326 FIRST HOPEWELL RD
SUMRALL, MS 39482                                                   3536    11/27/2017              TK Holdings Inc.                          $3,028.12                                                                                        $3,028.12
FCA US LLC, ON BEHALF OF ITSELF AND ITS SUBSIDIARIES
SIG HUBER
800 CHRYSLER DRIVE
AUBURN HILLS, MI 48326                                              3537    11/27/2017      Strosshe‐Mex, S. de R.L. de C.V.                                                  $2,844,142,119.00                                         $2,844,142,119.00
AUDI MÉXICO S.A. DE C.V.
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY 10017                                                  3538    11/27/2017       Takata de Mexico, S.A. de C.V.                                                      $8,100,000.00                                             $8,100,000.00
LUCAS, AMY
SHENKAN INJURY LAWYERS, LLC
RICHARD SHENKAN
6550 LAKESHORE ST.
WEST BLOOMFIELD, MI 48323                                           3539    11/27/2017              TK Holdings Inc.                       $5,000,000.00                                                                                   $5,000,000.00
GENERAL MOTORS DO BRASIL LTDA.
C/O HONIGMAN MILLER SCHWARTZ AND COHN
JOSEPH R. SGROI
660 WOODWARD AVE.
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                              3540    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                                             $6,501,000,000.00                                         $6,501,000,000.00
WU, TERESA
123 GALEWOOD CIRCLE
SAN FRANCISCO, CA 94131                                             3541    11/27/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
FCA MEXICO, S.A. DE C.V.
ROSA MARÍA GARCÍA JIMÉNEZ
LITIGATION & CORPORATE STAFF COUNSEL
1240 PROLONGACIÓN PASEO DE LA REFORMA
COLONIA SANTA FE CUAJIMALPA
CIUDAD DE MÉXICO, DELEGACIÓN CUAJIMALPA 05348
MEXICO                                                              3542    11/27/2017      Strosshe‐Mex, S. de R.L. de C.V.                                                  $2,844,142,119.00                                         $2,844,142,119.00
DAIHATSU MOTOR CO., LTD., FOR AND ON BEHALF OF ITSELF, DAIHATSU
MOTOR KYUSHU CO., LTD., AND PT. ASTR
ORRICK, HERRINGTON & SUTCLIFFE LLP
LORRAINE S. MCGOWEN
51 WEST 52ND STREET
NEW YORK, NY 10019‐6142                                             3543    11/27/2017              TK Holdings Inc.                                                           $320,782,250.74                                           $320,782,250.74
GUARANTY RV, INC.
HERSHNER HUNTER LLP
ATTN: GSL
180 EAST 11TH AVE
EUGENE, OR 97401                                                    3544    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                            $0.00



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                                                                                                                                Current General                                           Current 503(b)(9)
                                                                                                                                                   Current Priority   Current Secured                          Current Admin      Total Current
                  Creditor Name and Address                Claim No. Claim Date                   Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                           Priority Amount     Claim Amount
                                                                                                                                    Amount                                                    Amount
SIGMA INTERNATIONAL
SUSIE KIM
36800 PLYMOUTH ROAD
LIVONIA, MI 48150                                            3545    11/27/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
MOORE, ANGELIA M.
2233 ORCHID STREET
LAKE CHARLES, LA 70601                                       3546    11/27/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
TE CONNECTIVITY CORPORATION
SAUL EWING ARNSTEIN & LEHR LLP
SHARON L. LEVINE
1037 RAYMOND BLVD., SUITE 1520
NEWARK, NJ 07102                                             3547    11/27/2017              TK Holdings Inc.                              $0.00                                                      $0.00                                 $0.00
BMW OF NORTH AMERICA, LLC AND BMW MANUFACTURING CO., LLC
NORTON ROSE FULBRIGHT US LLP
DAVID A. ROSENZWEIG
1301 AVENUE OF THE AMERICAS
NEW YORK, NY 10019‐6022                                      3548    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                                    $0.00              $0.00                        $3,868,932,224.00 $3,868,932,224.00
FCA FIAT CHRYSLER AUTOMÓVEIS BRASIL LTDA.
FELIPE FALCONE PERRUCI
#175 RUE MILTON CAMPOS
NOVA LIMA, MG 34.000‐000
BRAZIL                                                       3549    11/27/2017              Takata Americas                                                                     $0.00                                                      $0.00
MAZDA CANADA INC.
ATTN: AGNES DI LEONARDI, GENERAL COUNSEL
55 VOGELL ROAD
RICHMOND HILL, ON L4B 3K5
CANADA                                                       3550    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                            $0.00
AT&T INC. AND ITS SUBSIDIARIES AND AFFILIATES
JAMES W. GRUDUS
ONE AT&T WAY, ROOM 3A115
BEDMINSTER, NJ 07921                                         3551    11/27/2017           Interiors in Flight Inc.                         $0.00                                                                         $0.00              $0.00
NISSAN MEXICANA, S.A. DE C.V.
JONES DAY
ATTN: PEDRO A. JIMENEZ
600 BRICKELL AVENUE, SUITE 3300
MIAMI, FL 33131                                              3552    11/27/2017      Strosshe‐Mex, S. de R.L. de C.V.                                                 $2,022,008,175.07                                          $2,022,008,175.07
GUARANTY RV, INC.
HERSHNER HUNTER LLP
ATTN: GSL
180 EAST 11TH AVE.
EUGENE, OR 97401                                             3553    11/27/2017      Strosshe‐Mex, S. de R.L. de C.V.                      $0.00                                                                                            $0.00
DEBORAH O. ADAMS AND MARCELLE O'QUAIN
11276 TRICHE ROAD
GONZALES, LA 70737                                           3554    11/27/2017              TK Holdings Inc.                          $1,000.00                                                                                        $1,000.00
AT&T INC. AND ITS SUBSIDIARIES AND AFFILIATES
JAMES W. GRUDUS
ONE AT&T WAY, ROOM 3A115
BEDMINSTER, NJ 07921                                         3555    11/27/2017       Takata de Mexico, S.A. de C.V.                       $0.00                                                                         $0.00              $0.00
GM KOREA COMPANY
C/O HONIGMAN MILLER SCHWARTZ AND COHN
JOSEPH R. SGROI
660 WOODWARD AVE
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                       3556    11/27/2017              TK Holdings Inc.                                                         $6,501,000,000.00                                          $6,501,000,000.00



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                                                                                                                                    Current General                                             Current 503(b)(9)
                                                                                                                                                         Current Priority   Current Secured                          Current Admin      Total Current
                    Creditor Name and Address                  Claim No. Claim Date                   Debtor                        Unsecured Claim                                              Admin Priority
                                                                                                                                                          Claim Amount       Claim Amount                           Priority Amount     Claim Amount
                                                                                                                                        Amount                                                      Amount
ALPS ELECTRIC (NORTH AMERICA), INC.
MEYERS LAW GROUP, P.C.
ATTN: MERLE C. MEYERS, ESQ.
44 MONTGOMERY ST., STE. 1010
SAN FRANCISCO, CA 94104                                          3557    11/27/2017              TK Holdings Inc.                               $0.00                                                       $0.00                                 $0.00
AUTO DEALER CLAIMANTS (SEE ATTACHED EXHIBIT A)
MANTESE HONIGMAN, P.C.
JORDAN B. SEGAL
1361 E BIG BEAVER RD
TROY, MI 48083                                                   3558    11/27/2017              TK Holdings Inc.                       $16,800,000.00                                                                                   $16,800,000.00
NISSAN MEXICANA, S.A. DE C.V.
JONES DAY
ATTN: PEDRO A. JIMENEZ
600 BRICKELL AVENUE, SUITE 3300
MIAMI, FL 33131                                                  3559    11/27/2017       Takata de Mexico, S.A. de C.V.                                                    $2,022,008,175.07                                          $2,022,008,175.07
DEMENT, DARWIN
ROBERT BURNS, ATTORNEY
4877 VOLTAIRE STREET
P.O. BOX 7263
SAN DIEGO, CA 92107                                              3560    11/27/2017       Takata Protection Systems Inc.                        $0.00                                                                                             $0.00
AT&T INC. AND ITS SUBSIDIARIES AND AFFILIATES
JAMES W. GRUDUS
ONE AT&T WAY, ROOM 3A115
BEDMINSTER, NJ 07921                                             3561    11/27/2017   TK Holdings de Mexico S. de R.L. de C.V.                  $0.00                                                                          $0.00              $0.00
I.J., THROUGH HIS GUARDIAN YOLANDA JOHNSON MAGEE
THE KOMYATTE LAW FIRM LLC
PAUL J. KOMYATTE
1536 COLE BLVD., SUITE 300
LAKEWOOD, CO 80401                                               3562    11/27/2017              TK Holdings Inc.                        $5,000,000.00                                                                                    $5,000,000.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                               3563    11/27/2017       Takata Protection Systems Inc.                        $0.00                                                                                             $0.00
COUSIN, KHRISTIE
123 OAKHURST AVENUE
CLARKSDALE, MS 38614                                             3564    11/27/2017              TK Holdings Inc.                          $37,000.00                                                                                        $37,000.00
FORD, ALLISON MD
161 JULLIEN DRIVE
SANTA MARIA, CA 93455‐5402                                       3565    11/27/2017              TK Holdings Inc.                               $0.00                                                                                             $0.00
STARK, CRAIG S.
14112 BRADBURY ROAD
ORLANDO, FL 32828                                                3566    11/27/2017              TK Holdings Inc.                               $0.00                                                                                             $0.00
MAZDA AUSTRALIA PTY. LTD.
ATTN: MICHAEL ROBINS, LEGAL COUNSEL
211A WELLINGTON ROAD
MULGRAVE, VICTORIA 3170
AUSTRALIA                                                        3567    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                  $0.00                                                                                             $0.00
GENERAL MOTORS DO BRASIL LTDA.
C/O HONIGMAN MILLER SCHWARTZ AND COHN JOSEPH R. SGROI
ATTN: JOSEPH R. SGROI
660 WOODWARD AVE.
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                           3568    11/27/2017              TK Holdings Inc.                                                           $6,501,000,000.00                                          $6,501,000,000.00


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                                                                                                                                    Current General                                             Current 503(b)(9)
                                                                                                                                                         Current Priority   Current Secured                          Current Admin     Total Current
                   Creditor Name and Address                   Claim No. Claim Date                   Debtor                        Unsecured Claim                                              Admin Priority
                                                                                                                                                          Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                        Amount                                                      Amount
HCL AMERICA, INC.
ARCHER & GREINER, PC
JERROLD S. KULBACK, ESQUIRE
THREE LOGAN SQUARE, SUITE 3500
PHILADELPHIA, PA 19103                                           3569    11/27/2017              TK Holdings Inc.                               $0.00                                                                                            $0.00
TESLA, INC.
C/O IRELL & MANELLA LLP
ATTN: JEFFREY M. REISNER
840 NEWPORT CENTER DR., SUITE 400
NEWPORT BEACH, CA 92660                                          3570    11/27/2017              TK Holdings Inc.                       $35,262,591.51                                                                                  $35,262,591.51
NUNEZ, REBECCA
2605 DUNRAVEN CT.
KISSIMMEE, FL 34743                                              3571    11/27/2017              TK Holdings Inc.                               $0.00                                                                                            $0.00
NISSAN MEXICANA, S.A. DE C.V.
JONES DAY
ATTN: PEDRO A. JIMENEZ
600 BRICKELL AVENUE, SUITE 3300
MIAMI, FL 33131                                                  3572    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                                                         $0.00                                                     $0.00
RAMIREZ, TAMMI
4287 MAIN RD WEST
EMMAUS, PA 18049                                                 3573    11/27/2017              TK Holdings Inc.                               $0.00                                                                                            $0.00
WILLIAMS & CONNOLLY LLP
SAMUEL DAVIDOFF
725 TWELFTH STREET NW
WASHINGTON, DC 20005                                             3574    11/27/2017              TK Holdings Inc.                               $0.00                                                                                            $0.00
NORLIFT INC
512 N FANCHER WAY
SPOKANE, WA 99211                                                3575    11/27/2017              TK Holdings Inc.                               $0.00                                                                                            $0.00
NISSAN NORTH AMERICA, INC.
ATTN: DONALD P. PARSHALL, JR.
39001 SUNRISE
FARMINGTON HILLS, MI 48331                                       3576    11/27/2017       Takata de Mexico, S.A. de C.V.                                                    $2,119,687,316.07                                         $2,119,687,316.07
GUARANTY RV, INC.
HERSHNER HUNTER LLP, ATTN: GSL
180 EAST 11TH AVE.
EUGENE, OR 97401                                                 3577    11/27/2017              TK Holdings Inc.                               $0.00                                                                                            $0.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                               3578    11/27/2017      Strosshe‐Mex, S. de R.L. de C.V.                       $0.00                                                                                            $0.00
FORD MOTOR COMPANY, FOR ITSELF AND ON BEHALF OF THE ENTITIES
IDENTIFIED ON THE CLAIMANT LIST ATTACHE
JOHN H. THOMPSON
MCGUIREWOODS LLP
2001 K STREET, NW
SUITE 400
WASHINGTON, DC 20006                                             3579    11/27/2017       Takata de Mexico, S.A. de C.V.                                                    $2,596,242,760.00                                         $2,596,242,760.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                               3580    11/27/2017               TK Mexico LLC                                 $0.00                                                                                            $0.00


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                                                                                                                                        Current General                                            Current 503(b)(9)
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                    Creditor Name and Address                      Claim No. Claim Date                   Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                              Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                                            Amount                                                     Amount
FRISCHMAN, REBECCA
LAW OFFICES OF MARSHALL E. ROSENBACH
11430 U.S. HIGHWAY 1
NORTH PALM BEACH, FL 33408                                           3581    11/27/2017              TK Holdings Inc.                               $0.00                                                                                           $0.00
GORDON REES SCULY MANSUKHANI LLP
1111 BROADWAY, SUITE 1700
OAKLAND, CA 94607                                                    3582    11/27/2017              TK Holdings Inc.                               $0.00                                                                                           $0.00
BEAM’S INDUSTRIES INC, FINDLAY INDUSTRIES, INC., AND NM HOLDINGS
COMPANY, LLC AND ALL OTHER SIMILARL
GRANT & EISENHOFER, P.A.
GORDON Z. NOVOD
485 LEXINGTON AVE.
NEW YORK, NY 10017                                                   3583    11/27/2017              TK Holdings Inc.                       $84,000,000.00                                                                                 $84,000,000.00
THOMPSON, CLARISSA
PETERS, MURDAUGH, PARKER, ELTZROTH & DETRICK, P.A.
P.O. BOX 457
HAMPTON, SC 29924                                                    3584    11/27/2017              TK Holdings Inc.                         $500,000.00                                                                                     $500,000.00
VOLKSWAGEN GROUP OF AMERICA CHATTANOOGA OPERATIONS, LLC
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY 10017                                                   3585    11/27/2017              TK Holdings Inc.                                                            $354,600,000.00                                          $354,600,000.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                   3586    11/27/2017   TK Holdings de Mexico S. de R.L. de C.V.                  $0.00                                                                                           $0.00
HODGE, DAWNE
C/O LAW OFFICES OF TIMOTHY DONAHUE
ATTN: TIMOTHY J. DONAHUE
374 S. GLASSELL ST.
ORANGE, CA 92866                                                     3587    11/27/2017              TK Holdings Inc.                               $0.00                                                                                           $0.00
ZJ2 THROUGH HIS GUARDIAN YOLANDA JOHNSON MAGEE
THE KOMYATTE LAW FIRM LLC
PAUL J. KOMYATTE
1536 COLE BLVD. SUITE 300
LAKEWOOD, CO 80401                                                   3588    11/27/2017              TK Holdings Inc.                        $5,000,000.00                                                                                  $5,000,000.00
ZJ1 THROUGH HIS GUARDIAN YOLANDA JOHNSON MAGEE
KOMYATTE LAW FIRM LLC
PAUL J. KOMYATTE
1536 COLE BLVD. SUITE 300
LAKEWOOD, CO 80401                                                   3589    11/27/2017              TK Holdings Inc.                        $5,000,000.00                                                                                  $5,000,000.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                   3590    11/27/2017                TK China, LLC                                $0.00                                                                                           $0.00
BMW OF NORTH AMERICA, LLC AND BMW MANUFACTURING CO., LLC
DAVID ROSENZWEIG, ESQ.
NORTON ROSE FULBRIGHT US LLP
1301 AVENUE OF THE AMERICAS
NEW YORK, NY 10019‐6022                                              3591    11/27/2017              TK Holdings Inc.                                                   $0.00 $3,868,932,224.00                                          $3,868,932,224.00



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                   Creditor Name and Address                     Claim No. Claim Date                   Debtor                        Unsecured Claim                                              Admin Priority
                                                                                                                                                            Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                          Amount                                                      Amount
GUARANTY CHEVROLET, INC.
HERSHNER HUNTER LLP, ATTN: GSL
180 EAST 11TH AVE.
EUGENE, OR 97401                                                   3592    11/27/2017      Strosshe‐Mex, S. de R.L. de C.V.                       $0.00                                                                                            $0.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                 3593    11/27/2017               TK Mexico Inc.                                $0.00                                                                                            $0.00
HINO MOTORS, LTD., FOR AND ON BEHALF OF ITSELF AND HINO MOTORS
MANUFACTURING(THAILAND) CO.,LTD.
ORRICK, HERRINGTON & SUTCLIFFE LLP
LORRAINE S. MCGOWEN
51 WEST 52ND STREET
NEW YORK, NY 10019                                                 3594    11/27/2017              TK Holdings Inc.                       $18,438,001.00                                                                                  $18,438,001.00
FORD MOTOR COMPANY, FOR ITSELF AND ON BEHALF OF THE ENTITIES
IDENTIFIED ON THE CLAIMANT LIST ATTACHE
JOHN H. THOMPSON
MCGUIREWOODS LLP
2001 K STREET, NW
SUITE 400
WASHINGTON, DC 20006                                               3595    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                                              $2,596,242,760.00                                         $2,596,242,760.00
DUNLEAVY, KELLY
SHENKAN INJURY LAWYERS, LLC
RICHARD SHENKAN
6550 LAKESHORE ST.
WEST BLOOMFIELD, MI 48323                                          3596    11/27/2017              TK Holdings Inc.                       $10,000,000.00                                                                                  $10,000,000.00
GENERAL MOTORS DO BRASIL LTDA.
C/O HONIGMAN MILLER SCHWARTZ AND COHN
JOSEPH R. SGROI
660 WOODWARD AVE.
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                             3597    11/27/2017      Strosshe‐Mex, S. de R.L. de C.V.                                                   $6,501,000,000.00                                         $6,501,000,000.00
VW CREDIT, INC.
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY 10017                                                 3598    11/27/2017      Strosshe‐Mex, S. de R.L. de C.V.                       $0.00                                                                                            $0.00
YASGUR, BRANDON
49 W. PATENT ROAD
BEDFORD HILLS, NY 10507                                            3599    11/24/2017              TK Holdings Inc.                               $0.00                                                                                            $0.00
GUARANTY CHEVROLET, INC.
HERSHNER HUNTER LLP, ATTN: GSL
180 EAST 11TH AVE.
EUGENE, OR 97408                                                   3600    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                  $0.00                                                                                            $0.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                 3601    11/27/2017       Takata de Mexico, S.A. de C.V.                        $0.00                                                                                            $0.00




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                    Creditor Name and Address                     Claim No. Claim Date                   Debtor                        Unsecured Claim                                              Admin Priority
                                                                                                                                                             Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                           Amount                                                      Amount
DEMENT, DARWIN
ROBERT BURNS, ATTORNEY
4877 VOLTAIRE STREET
P.O. BOX 7263
SAN DIEGO, CA 92107                                                 3602    11/27/2017              TK Holdings Inc.                               $0.00                                                                                            $0.00
HALL, JULIE MARIE
4044 PERRY AVE N
ROBBINSDALE, MN 55422                                               3603    11/24/2017              TK Holdings Inc.                               $0.00                                                                                            $0.00
MCCLOSKEY, R. MICHAEL
324 SKYLINE DR NE
GREAT FALLS, MT 59404                                               3604    11/27/2017              TK Holdings Inc.                               $0.00                                                                                            $0.00
TAKATA CORPORATION
TOKYO FRONT TERRACE
ATTN: HIKOTO WATANABE
2‐3‐14 HIGASHISHINAGAWA, SHINAGAWA‐KU
TOKYO 140‐0002
JAPAN                                                               3605    11/27/2017              TK Holdings Inc.                               $0.00                                  $0.00                $0.00                                $0.00
KUMAR, PRIYANKA
430 NAVARO PL
#106
SAN JOSE, CA 95134                                                  3606    11/27/2017              TK Holdings Inc.                               $0.00                                                                                            $0.00
NISSAN MEXICANA, S.A. DE C.V.
JONES DAY
ATTN: PEDRO A. JIMENEZ
600 BRICKELL AVENUE, SUITE 3300
MIAMI, FL 33131                                                     3607    11/27/2017              TK Holdings Inc.                                                           $2,022,008,175.07                                         $2,022,008,175.07
HITTNER, HARVEY M
4215 66TH TERRACE EAST
SARASOTA, FL 34243                                                  3608    11/24/2017              TK Holdings Inc.                            $1,800.00                                                                                       $1,800.00
THE MURRAY LAW GROUP P.C.
31780 TELEGRAPH ROAD
SUITE 200
BINGHAM FARMS, MI 48025‐3409                                        3609    11/27/2017              TK Holdings Inc.                               $0.00                                                                                            $0.00
LIMA, LORRANY
SOUTHEAST LAW, LLC
2107 BULL STREET
SAVVANNAH, GA 31401                                                 3610    11/27/2017              TK Holdings Inc.                               $0.00                                                                                            $0.00
END‐PAYOR PLAINTIFFS IN IN RE OCCUPANT SAFETY SYSTEMS, CASE NO.
2:12‐CV‐00603 (ED MICH.)
ROBIN KAPLAN LLP
ATTN: HOLLIS SALZMAN
399 PARK AVENUE, 36TH FLOOR
NEW YORK, NY 10022                                                  3611    11/27/2017              TK Holdings Inc.                       $53,200,000.00                                                                                  $53,200,000.00
KARMA AUTOMOTIVE LLC
THE DRAGICH LAW FIRM PLLC
17000 KERCHEVAL AVE, SUITE 210
GROSSE POINTE, MI 48230                                             3612    11/27/2017              TK Holdings Inc.                               $0.00                                                                                            $0.00
VOLKSWAGEN GROUP OF AMERICA CHATTANOOGA OPERATIONS, LLC
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY 10017                                                  3613    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                                               $354,600,000.00                                           $354,600,000.00




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                                                                                                                                        Current General                                             Current 503(b)(9)
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                   Creditor Name and Address                       Claim No. Claim Date                   Debtor                        Unsecured Claim                                              Admin Priority
                                                                                                                                                              Claim Amount       Claim Amount                           Priority Amount     Claim Amount
                                                                                                                                            Amount                                                      Amount
FCA US LLC, ON BEHALF OF ITSELF AND ITS SUBSIDIARIES
FCA US LLC
SIG HUBER
800 CHRYSLER DRIVE
AUBURN HILLS, MI 48326                                               3614    11/27/2017              TK Holdings Inc.                                                           $2,844,142,119.00                                          $2,844,142,119.00
FCA US LLC, ON BEHALF OF ITSELF AND ITS SUBSIDIARIES
SIG HUBER
GLOBAL DIRECTOR, PURCHASING
SUPPLIER RELATIONS & RISK MANAGEMENT
800 CHRYSLER DRIVE
AUBURN HILLS, MI 48326                                               3615    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                                              $2,844,142,119.00                                          $2,844,142,119.00
WENATCHEE VALLEY HOSPITAL
820 N. CHELAN AVE.
WENATCHEE, WA 98807‐0489                                             3616    11/27/2017              TK Holdings Inc.                               $0.00                                                                                             $0.00
CANADIAN ANTI‐TRUST CLASS ACTION CLAIMANTS IN ALL CANADIAN ANTI‐
TRUST CLASS ACTIONS (SHERIDAN CHEVRO
SOTOS LLP
JEAN‐MARC LECLERC
180 DUNDAS STREET WEST, SUITE 1200
TORONTO, ON M5G 1Z8
CANADA                                                               3617    11/27/2017              TK Holdings Inc.                        $7,000,000.00                                                                                    $7,000,000.00
CRG FINANCIAL LLC (AS ASSIGNEE OF SIGNS NOW OF MOSES LAKE)
100 UNION AVENUE
CRESSKILL, NJ 07626                                                  3618    11/27/2017              TK Holdings Inc.                                                                                           $0.00              $0.00              $0.00
OETIKER, INC.
DEAN & FULKERSON
ATTN: KEVIN N. SUMMERS, ESQ.
801 W. BIG BEAVER ROAD
5TH FLOOR
TROY, MI 48084                                                       3619    11/27/2017       Takata Protection Systems Inc.                        $0.00                                                                                             $0.00
LONG SR., DONALD RAY
8448 RAYMOND AV.
LOS ANGELES, CA 90044                                                3620    11/27/2017              TK Holdings Inc.                               $0.00                                                                                             $0.00
MR. AND MRS. ROBERT C. FISHER
2645 LONG WINTER LANE
OAKLAND, MICHIGAN 48363                                              3621    11/27/2017              TK Holdings Inc.                         $732,056.90               $0.00                                                                   $732,056.90
OETIKER, INC.
DEAN & FULKERSON
ATTN: KEVIN N. SUMMERS, ESQ.
801 W. BIG BEAVER ROAD
5TH FLOOR
TROY, MI 48084                                                       3622    11/27/2017       Takata de Mexico, S.A. de C.V.                        $0.00                                                                                             $0.00
O&S CALIFORNIA, INC.
ALLEN MATKINS LECK GAMBLE MALLORY & NATSIS LLP
ATTN: DEBRA A. RILEY, ESQ.
600 WEST BROADWAY
27TH FLOOR
SAN DIEGO, CA 92101‐0903                                             3623    11/27/2017              TK Holdings Inc.                               $0.00                                                       $0.00                                 $0.00
TESLA, INC.
IRELL & MANELLA LLP
JEFFREY REISNER
840 NEWPORT CENTER DR., SUITE 400
NEWPORT BEACH, CA 92660                                              3624    11/27/2017              TK Holdings Inc.                       $35,262,591.51                                                                                   $35,262,591.51
PARKER, MICHAEL
PO BOX 3398
LISLE, IL 60352                                                      3625    11/27/2017              TK Holdings Inc.                               $0.00                                                                                             $0.00
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                  Creditor Name and Address               Claim No. Claim Date                   Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                   Claim Amount       Claim Amount                           Priority Amount     Claim Amount
                                                                                                                                   Amount                                                    Amount
AT&T INC. AND ITS SUBSIDIARIES AND AFFILIATES
JAMES W. GRUDUS
ONE AT&T WAY, ROOM 3A115
BEDMINSTER, NJ 07921                                        3626    11/27/2017      Strosshe‐Mex, S. de R.L. de C.V.                      $0.00                                                                         $0.00              $0.00
INTERNATIONAL DEVELOPMENT CORPORATION
7124 BAKER LANE
CHAGRIN FALLS, OH 44023                                     3627    11/27/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
SUBARU CANADA, INC.
ATTN: BRIAN HAWKINS
SENIOR VICE PRESIDENT AND CFO
560 SUFFOLK COURT
MISSISSAUGA, ON L5R4J7
CANADA                                                      3628    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                            $0.00
VOLKSWAGEN DE MEXICO S.A. DE C.V.
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY 10017                                          3629    11/27/2017              TK Holdings Inc.                                                          $144,500,000.00                                            $144,500,000.00
VOLKSWAGEN GROUP OF AMERICA CHATTANOOGA OPERATIONS, LLC
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE.
NEW YORK, NY 10017                                          3630    11/27/2017       Takata de Mexico, S.A. de C.V.                                                   $354,600,000.00                                            $354,600,000.00
GENERAL DYNAMICS OTS
ATTN: TERRY SCODELLER
9256 RANDOLPH RD NE
MOSES LAKE, WA 98837                                        3631    11/27/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
WILSON, ZIEMETHIA
4788 RAVEN MOON TRL
TALLAHASSEE, FL 32311                                       3632    11/27/2017              TK Holdings Inc.                                                 $0.00                                   $0.00                                 $0.00
OETIKER LIMITED
DEAN & FULKERSON
ATTN: KEVIN N. SUMMERS, ESQ.
801 W. BIG BEAVER ROAD
5TH FLOOR
TROY, MI 48084                                              3633    11/27/2017              TK Holdings Inc.                                                                                         $0.00                                 $0.00
GM KOREA COMPANY
C/O HONIGMAN MILLER SCHWARTZ AND COHN
JOSEPH R. SGROI
660 WOODWARD AVE.
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                      3634    11/27/2017      Strosshe‐Mex, S. de R.L. de C.V.                                                 $6,501,000,000.00                                          $6,501,000,000.00
OETIKER, INC.
DEAN & FULKERSON
ATTN: KEVIN N. SUMMERS, ESQ.
801 W. BIG BEAVER ROAD
5TH FLOOR
TROY, MI 48084                                              3635    11/27/2017              TK Holdings Inc.                              $0.00                                                      $0.00                                 $0.00
GM KOREA COMPANY
C/O HONIGMAN MILLER SCHWARTZ AND COHN
JOSEPH R. SGROI
660 WOODWARD AVE.
2290 FIRST NATIONAL BUILDING
DETROIT, MI 48226‐3506                                      3636    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                                            $6,501,000,000.00                                          $6,501,000,000.00



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                                                                                                                                       Current General                                           Current 503(b)(9)
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                    Creditor Name and Address                     Claim No. Claim Date                   Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                           Claim Amount       Claim Amount                           Priority Amount     Claim Amount
                                                                                                                                           Amount                                                    Amount
SEPRO ROBOTIQUE
RUE HENRY BESSEMER, ZONE ACTI‐EST
LA ROCHE SUR YON 85000
FRANCE                                                              3637    11/27/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
SUBARU OF INDIANA AUTOMOTIVE, INC. (F/K/A SUBARU‐ISUZU
AUTOMOTIVE, INC.)
ATTN: DOUGLAS R. MEYER
5500 STATE ROAD 38 EAST
LAFAYETTE, IN 47905                                                 3638    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                                            $1,322,898,641.10                                          $1,322,898,641.10
IGB AUTOMOTIVE LTD.
MILLER CANFIELD PADDOCK & STONE PLC
STEPHEN S. LAPLANTE
150 WEST JEFFERSON AVE., SUITE 2500
DETROIT, MI 48226                                                   3639    11/27/2017              TK Holdings Inc.                              $0.00                                                      $0.00                                 $0.00
SUBARU OF AMERICA, INC.
ATTN: TERRI WOODARD CLAYBROOK
DIRECTOR‐ASSOCIATE GENERAL COUNSEL
2235 MARLTON PIKE WEST
CHERRY HILL, NJ 08002                                               3640    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                                              $68,262,257.00                                             $68,262,257.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                  3641    11/27/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
MAZDA MOTOR OF AMERICA, INC. (D/B/A MAZDA NORTH AMERICAN
OPERATIONS)
ATTN: CHARLES S. KIM, ASSISTANT GENERAL COUNSEL, PRODUCT
LITIGATION
200 SPECTRUM CENTER DRIVE, SUITE 100
IRVINE, CA 92618                                                    3642    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                                              $85,979,156.82                                             $85,979,156.82
INFORMÁTICA ALTAIR MEXICO S DE R L DE C V
OTTMAR KAPPES
MIGUEL ANGEL DE QUEVEDO #696
VILLA COYOACÁN
MEXICO CITY 04000
MEXICO                                                              3643    11/27/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
MUS, TAMMY
BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES P.C.
ATTN: CHRISTOPHER GLOVER
218 COMMERCE ST. (36104)
P.O. BOX 4160
MONTGOMERY, AL 36103                                                3644    11/22/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
LUSK, PAMELA R. AND TIMOTHY M.
HAMILTON, BURGESS, YOUNG & POLLARD, PLLC
POST OFFICE BOX 959
FAYETTESVILLE, WV 25840                                             3645    11/27/2017              TK Holdings Inc.                        $100,000.00                                                                                      $100,000.00
GUARANTY RV, INC.
HERSHNER HUNTER LLP, ATTN: GSL
180 EAST 11TH AVE.
EUGENE, OR 97401                                                    3646    11/27/2017       Takata de Mexico, S.A. de C.V.                       $0.00                                                                                            $0.00

CRG FINANCIAL LLC (AS ASSIGNEE OF RAUCH FERTIGUNGSTECHNIK GMBH)
100 UNION AVENUE
CRESSKILL, NJ 07626                                                 3647    11/27/2017              TK Holdings Inc.                                                                                                            $0.00              $0.00


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                    Creditor Name and Address                  Claim No. Claim Date               Debtor                        Unsecured Claim                                              Admin Priority
                                                                                                                                                      Claim Amount       Claim Amount                           Priority Amount     Claim Amount
                                                                                                                                    Amount                                                      Amount
CHEP RECYCLED PALLET SOLUTIONS LLC
CREDIT & COLLECTIONS
8517 SOUTH PARK CIRCLE
ORLANDO, FL 32819                                                3648    11/27/2017           TK Holdings Inc.                              $0.00                                                                                             $0.00
XPO LOGISTICS WORLDWIDE, INC.
FISHERBROYLES, LLP
DEBORAH L. FLETCHER, ESQ.
6000 FAIRVIEW ROAD, SUITE 1200
CHARLOTTE, NC 28210                                              3649    11/27/2017           TK Holdings Inc.                              $0.00                                                                                             $0.00
GUARANTY CHEVROLET, INC.
HERSHNER HUNTER LLP
ATTN: GSL
180 EAST 11TH AVE.
EUGENE, OR 97401                                                 3650    11/27/2017   Takata de Mexico, S.A. de C.V.                        $0.00                                                                                             $0.00
AT&T INC. AND ITS SUBSIDIARIES AND AFFILIATES
JAMES W. GRUDUS
ONE AT&T WAY, ROOM 3A115
BEDMINSTER, NJ 07921                                             3651    11/27/2017            TK China, LLC                                $0.00                                                                          $0.00              $0.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                               3652    11/27/2017           TK Finance, LLC                               $0.00                                                                                             $0.00
FAUST, MAX
SOLOFF & ZERVANOS, P.C.
1525 LOCUST STREET, 8TH FLOOR
SUITE 800
PHILADELPHIA, PA 19102                                           3653    11/27/2017           TK Holdings Inc.                      $10,000,000.00                                                                                   $10,000,000.00
AUDI MÉXICO S.A. DE C.V.
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY 10017                                               3654    11/27/2017   Strosshe‐Mex, S. de R.L. de C.V.               $8,100,000.00                                                                                    $8,100,000.00
MUNDIE, TRACIE
551 CEDAR GROVE RD.
RUCKERSVILLE, VA 22968                                           3655    11/27/2017           TK Holdings Inc.                              $0.00                                                                                             $0.00
GENERAL MOTORS DO BRASIL LTDA.
C/O HONIGMAN MILLER SCHWARTZ
AND COHN JOSEPH R. SGROI
660 WOODWARD AVE.
2290 FIRST NATIONAL BULIDING
DETROIT, MI 48226‐3506                                           3656    11/27/2017   Takata de Mexico, S.A. de C.V.                                                    $6,501,000,000.00                                          $6,501,000,000.00
AT&T INC. AND ITS SUBSIDIARIES AND AFFILIATES
JAMES W. GRUDUS
ONE AT&T WAY, ROOM 3A115
BEDMINSTER, NJ 07921                                             3657    11/27/2017           TK Mexico Inc.                                $0.00                                                                          $0.00              $0.00
AUTOLIV ROMANIA SRL
MORRISON & FOERSTER LLP
ATTN: MARK LIGHTNER
250 WEST 55TH STREET
NEW YORK, NY 10019‐9601                                          3658    11/27/2017           TK Holdings Inc.                                                                                          $0.00                                 $0.00




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                    Creditor Name and Address                      Claim No. Claim Date                   Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                             Claim Amount       Claim Amount                           Priority Amount     Claim Amount
                                                                                                                                            Amount                                                     Amount
AUTOLIV CANKOR OTOMOTIV
MORRISON & FOERSTER LLP
ATTN: MARK LIGHTNER
250 WEST 55TH STREET
NEW YORK, NY 10019‐9601                                              3659    11/27/2017              TK Holdings Inc.                              $0.00                                                       $0.00                                 $0.00
NISSAN NORTH AMERICA, INC.
ATTN: DONALD P. PARSHALL, JR.
39001 SUNRISE
FARMINGTON HILLS, MI 48331                                           3660    11/27/2017      Strosshe‐Mex, S. de R.L. de C.V.                                                  $2,119,687,316.07                                          $2,119,687,316.07
GUARANTY CHEVROLET, INC.
HERSHNER HUNTER LLP
ATTN: GSL
180 EAST 11TH AVE.
EUGENE, OR 97408                                                     3661    11/27/2017              TK Holdings Inc.                              $0.00                                                                                             $0.00
MAZDA MOTOR MANUFACTURING DE MEXICO S.A. DE C.V. (D/B/A MAZDA
DE MEXICO VEHICLE OPERATION)
ATTN: OSVALDO BARRAGAN, MANAGER ‐ LEGAL AND INTERNAL CONTROL
& AUDIT GR.
AV. HIROSHIMA NO. 1000
COMPLEJO INDUSTRIAL SALAMANCA
SALAMANCA, GTO. 36875
MÉXICO                                                               3662    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                                               $30,227,802.00                                             $30,227,802.00
HONDA MOTOR CO., LTD., ON BEHALF OF ITSELF AND/OR CERTAIN OF ITS
AFFILIATES
NISHIMURA & ASAHI
YURI SUGANO
OTEMON TOWER, 1‐1‐2 OTEMACHI, CHIYODA‐KU
TOKYO 100‐8124
JAPAN                                                                3663    11/27/2017       Takata de Mexico, S.A. de C.V.            $3,712,975,810.00                                                                                 $3,712,975,810.00
AT&T INC. AND ITS SUBSIDIARIES AND AFFILIATES
JAMES W. GRUDUS
ONE AT&T WAY, ROOM 3A115
BEDMINSTER, NJ 07921                                                 3664    11/27/2017       Takata Protection Systems Inc.                       $0.00                                                                          $0.00              $0.00
HENRIQUES, MICHAEL
PO BOX 7333
TAHOE CITY, CA 96145                                                 3665    11/27/2017              TK Holdings Inc.                            $200.00                                                                                           $200.00
ARC AUTOMOTIVE, INC.
FOLEY & LARDNER LLP
ATTN: JOHN A. SIMON
500 WOODWARD AVE., STE. 2700
DETROIT, MI 48226                                                    3666    11/27/2017              TK Holdings Inc.                              $0.00                                                $179,998.61                            $179,998.61
AT&T INC. AND ITS SUBSIDIARIES AND AFFILIATES
JAMES W. GRUDUS
ONE AT&T WAY, ROOM 3A115
BEDMINSTER, NJ 07921                                                 3667    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                          $0.00              $0.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                                   3668    11/27/2017              Takata Americas                               $0.00                                                                                             $0.00
SIMMONDS, MARCIA LORRIANE
CHRISTINA A. MCKINNON, P.A.
THE VENETO BUILDING
3600 RED ROAD, STE. 402
MIRAMAR, FL 33025                                                    3669    11/27/2017              TK Holdings Inc.                              $0.00                                                                                             $0.00
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                                                                                                                                Current General                                           Current 503(b)(9)
                                                                                                                                                   Current Priority   Current Secured                          Current Admin     Total Current
                  Creditor Name and Address                Claim No. Claim Date                   Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                    Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                    Amount                                                    Amount
BATTS, KAREN J
3806 N 7TH ST.
TACOMA, WA 98406                                             3670    11/27/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
BOATMAN, NANCY
2083 3RD ST E
ST. PAUL, MN 55119                                           3671    11/27/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
CENTRAL TRANSPORT, LLC
12225 STEPHENS RD.
WARREN, MI 48089                                             3672    11/27/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
TOMASHEFSKI, JOSEPH
5031 WINDING HILLS LANE
WOODSTOCK, GA 30189                                          3673    11/28/2017              TK Holdings Inc.                              $0.00                                 $0.00                                                     $0.00
ADAMS, LATANGLIA
136 PLUMMER CIR
JACKSON, MS 39212‐2314                                       3674    11/27/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
VW CREDIT, INC.
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY 10017                                           3675    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                           $0.00
MCLELLAN, ANNE
1330 E. FOOTHILL BLVD. # 52
GLENDORA, CA 91741                                           3676    11/27/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
SIMONCINI, JEFFREY KEITH
2225 45TH AVE SW
SEATTLE, WA 98116‐2115                                       3677    11/28/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
VW CREDIT, INC.
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY 10017                                           3678    11/27/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
TOMASHEFSKI, MARIANNE
5031 WINDING HILLS LANE
WOODSTOCK, GA 30189                                          3679    11/28/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
CUEVAS, VICTOR
11602 KAY LN.
HANFORD, CA 93230                                            3680    11/28/2017              TK Holdings Inc.                              $0.00                                                                                           $0.00
VW CREDIT, INC.
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY 10017                                           3681    11/27/2017       Takata de Mexico, S.A. de C.V.                       $0.00                                                                                           $0.00
FCA US LLC, ON BEHALF OF ITSELF AND ITS SUBSIDIARIES
SIG HUBER
800 CHRYSLER DRIVE
AUBURN HILLS, MI 48326                                       3682    11/27/2017       Takata de Mexico, S.A. de C.V.                                                  $2,844,142,119.00                                         $2,844,142,119.00
BMW OF NORTH AMERICA, LLC AND BMW MANUFACTURING CO., LLC
NORTON ROSE FULBRIGHT US LLP
DAVID A. ROSENZWEIG
1301 AVENUE OF THE AMERICAS
NEW YORK, NY 10019‐6022                                      3683    11/27/2017       Takata de Mexico, S.A. de C.V.                                                  $3,868,932,224.00                                  $0.00 $3,868,932,224.00




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                                                                                                                                    Current General                                            Current 503(b)(9)
                                                                                                                                                        Current Priority   Current Secured                          Current Admin     Total Current
                   Creditor Name and Address                   Claim No. Claim Date                   Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                         Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                        Amount                                                     Amount
FCA MEXICO, S.A. DE C.V.
ROSA MARÍA GARCÍA JIMÉNEZ
LITIGATION & CORPORATE STAFF COUNSEL
1240 PROLONGACIÓN PASEO DE LA REFORMA
COLONIA SANTA FE CUAJIMALPA
CIUDAD DE MÉXICO, DELEGACIÓN CUAJIMALPA 05348
MÉXICO                                                           3684    11/27/2017              TK Holdings Inc.                                                          $2,844,142,119.00                                         $2,844,142,119.00
FCA MEXICO, S.A. DE C.V.
ROSA MARÍA GARCÍA JIMÉNEZ
LITIGATION & CORPORATE STAFF COUNSEL
1240 PROLONGACIÓN PASEO DE LA REFORMA
COLONIA SANTA FE CUAJIMALPA
CIUDAD DE MÉXICO, DELEGACIÓN CUAJIMALPA 05348
MEXICO                                                           3685    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                                             $2,844,142,119.00                                         $2,844,142,119.00
FCA MEXICO, S.A. DE C.V.
ROSA MARÍA GARCÍA JIMÉNEZ
LITIGATION & CORPORATE STAFF COUNSEL
1240 PROLONGACIÓN PASEO DE LA REFORMA
COLONIA SANTA FE CUAJIMALPA
CIUDAD DE MÉXICO, DELEGACIÓN CUAJIMALPA 05348
MEXICO                                                           3686    11/27/2017       Takata de Mexico, S.A. de C.V.                                                   $2,844,142,119.00                                         $2,844,142,119.00
SUNNARBORG, JULIE
6860 BERGSTRAND ROAD
DULUTH, MN 55803                                                 3687    11/27/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
FCA FIAT CHRYSLER AUTOMÓVEIS BRASIL LTDA.
FELIPE FALCONE PERRUCI
LEGAL AFFAIRS
#175 RUE MILTON CAMPOS
NOVA LIMA, MG 34.000‐000
BRAZIL                                                           3688    11/27/2017              TK Holdings Inc.                                                                     $0.00                                                     $0.00
NISSAN DO BRASIL AUTOMÓVEIS LTDA.
JONES DAY
ATTN: PEDRO A. JIMENEZ
600 BRICKELL AVENUE, SUITE 3300
MIAMI, FL 33131                                                  3689    11/27/2017              Takata Americas                               $0.00                                                                                            $0.00
TOYOTA MOTOR ENGINEERING & MANUFACTURING NORTH AMERICA,
INC., FORMERLY KNOWN AS TOYOTA MANUFACTURING
ORRICK, HERRINGTON & SUTCLIFFE LLP
LORRAINE S. MCGOWEN
51 WEST 52ND STREET
NEW YORK, NY 10019                                               3690    11/27/2017       Takata de Mexico, S.A. de C.V.            $2,724,174,863.00                                                                                $2,724,174,863.00
INLAND MECHANICAL, INC.
SCOTT HARPER
13222 E WHEELER ROAD
MOSES LAKE, WA 98837                                             3691    11/22/2017              TK Holdings Inc.                              $0.00                                                                                            $0.00
MAZDA MOTOR CORPORATION
ATTN: NAOYA KISUI, LEGAL DEPT. MANAGER
3‐1 SHINCHI, FUCHU‐CHO, AKI‐GUN
HIROSHIMA 730‐8670
JAPAN                                                            3692    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                                             $2,294,553,618.65                                         $2,294,553,618.65
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                               3693    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                            $0.00
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                                                                                                                                      Current General                                             Current 503(b)(9)
                                                                                                                                                           Current Priority   Current Secured                          Current Admin     Total Current
                   Creditor Name and Address                     Claim No. Claim Date                   Debtor                        Unsecured Claim                                              Admin Priority
                                                                                                                                                            Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                          Amount                                                      Amount
TOYOTA MOTOR CORPORATION FOR AND ON BEHALF OF ITSELF AND THE
ENTITIES IDENTIFIED ON THE CLAIMANT LIS
ORRICK, HERRINGTON & SUTCLIFFE LLP
LORRAINE S. MCGOWEN
51 WEST 52 STREET
NEW YORK, NY 10019                                                 3694    11/27/2017       Takata de Mexico, S.A. de C.V.                                                    $7,562,332,531.00                                         $7,562,332,531.00
TOYOTA MOTOR CORPORATION FOR AND ON BEHALF OF ITSELF AND THE
ENTITIES IDENTIFIED ON THE CLAIMANT LIS
ORRICK, HERRINGTON & SUTCLIFFE LLP
LORRAINE S. MCGOWEN
51 WEST 52 STREET
NEW YORK, NY 10019                                                 3695    11/27/2017              TK Holdings Inc.                                                           $7,562,332,531.00                                         $7,562,332,531.00
CRG FINANCIAL LLC (AS ASSIGNEE OF SIGNS NOW OF MOSES LAKE)
100 UNION AVENUE
CRESSKILL, NJ 07626                                                3696    11/27/2017              TK Holdings Inc.                               $0.00                                                       $0.00                                $0.00

CRG FINANCIAL LLC (AS ASSIGNEE OF RAUCH FERTIGUNGSTECHNIK GMBH
100 UNION AVENUE
CRESSKILL, NJ 07626                                                3697    11/27/2017              TK Holdings Inc.                                                                                           $0.00                                $0.00
HINO MOTORS, LTD., FOR AND ON BEHALF OF ITSELF AND HINO MOTORS
MANUFACTURING (THAILAND) CO., LTD.
ORRICK, HERRINGTON & SUTCLIFFE LLP
LORRAINE S. MCGOWEN
51 WEST 52ND STREET
NEW YORK, NY 10019                                                 3698    11/27/2017       Takata de Mexico, S.A. de C.V.                $18,438,001.00                                                                                  $18,438,001.00
AUTOLIV ‐ AS NORMA (ESTONIA)
MORRISON & FOERSTER LLP
ATTN: MARK LIGHTNER
250 WEST 55TH STREET
NEW YORK, NY 10019‐9601                                            3699    11/27/2017              TK Holdings Inc.                               $0.00                                                       $0.00                                $0.00
TOYOTA MOTOR ENGINEERING & MANUFACTURING NORTH AMERICA,
INC., FORMERLY KNOWN AS TOYOTA MOTOR MANUFAC
LIST ATTACHED HERE TO AS ANNEX 2
LORRAINE S. MCGOWEN
ORRICK, HERRINGTON & SUTCLIFFE LLP
51 WEST 52ND STREET
NEW YORK, NY 10019                                                 3700    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.      $2,724,174,863.00                                                                                 $2,724,174,863.00
SUBARU CORPORATION (F/K/A FUJI HEAVY INDUSTRIES, LTD.)
NAOKO TANIGUCHI
GENERAL MANAGER ‐ LEGAL DEPARTMENT
SUBARU CORPORATION
EBISU SUBARU BLDG., 1‐20‐8, EBISU, SHIBUYA‐KU
TOKYO 150‐8554
JAPAN                                                              3701    11/27/2017   Industrias Irvin de Mexico, S.A. de C.V.                                              $2,282,895,917.83                                         $2,282,895,917.83
CRG FINANCIAL LLC (AS ASSIGNEE OF PEPSI‐COLA BOTTLING OF PASCO
CENTRAL VENDING AS SUCCESSOR IN INTER
100 UNION AVENUE
CRESSKILL, NJ 07626                                                3702    11/27/2017              TK Holdings Inc.                                                                                           $0.00                                $0.00
TOYOTA MOTOR ENGINEERING & MANUFACTURING NORTH AMERICA,
INC., FORMERLY KNOWN AS TOYOTA MOTOR MANUFAC
LIST ATTACHED HERETO AS ANNEX 2.
LORRAINE S. MCGOWEN
ORRICK, HERRINGTON & SUTCLIFFE LLP
51 WEST 52ND STREET
NEW YORK, NY 10019                                                 3703    11/27/2017              TK Holdings Inc.                   $2,724,174,863.00                                                                                 $2,724,174,863.00


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                                                                                                                              Current General                                         Current 503(b)(9)
                                                                                                                                                 Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address                  Claim No. Claim Date            Debtor                         Unsecured Claim                                          Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                  Amount                                                  Amount
HODGE, DAWNE
C/O LAW OFFICES OF TIMOTHY DONAHUE
ATTN: TIMOTHY J. DONAHUE
374 S. GLASSELL ST.
ORANGE, CA 92866                                                 3704    11/28/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
IRVIN, JOSEPHINE
4778 HEATHERFIELD CT
FAIRFIELD, CA 94534                                              3705    11/28/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
OPTIMUS OE SOLUTIONS, LLC
C/O THOMPSON HINE LLP
ATTN: JEREMY CAMPANA
127 PUBLIC SQ.
3900 KEY CENTER
CLEVELAND, OH 44114                                              3706    11/27/2017       TK Holdings Inc.                               $0.00                                                    $0.00                               $0.00
TERRY ORTEGO, WANDA ORTEGO AND MATT MCCONNELL, LLC
MCCONNELL LAW OFFICES
MATT D. MCCONNELL
P.O. BOX 52024
LAFAYETTE, LA 70505                                              3707    11/27/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
BYRD, EDDIE
BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
ATTN: CHRISTOPHER GLOVER
218 COMMERCE ST. (36104)
P.O. BOX 4160
MONTGOMERY, AL 36103‐4160                                        3708    11/27/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
TRIALON CORPORATION
1477 WALLI STRASSE DR.
BURTON, MI 48509                                                 3709    11/27/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
TRIALON CORPORATION
1477 WALLI STRASSE DR.
BURTON, MI 48509                                                 3710    11/27/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
SMITH, MELISSA
PO BOX 11170
HILO, HI 96721                                                   3711    11/25/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
BUYUK, FERYAL
1735 PORT PLACE APT # 302
RESTON, VA 20194                                                 3712    11/26/2017       TK Holdings Inc.                          $25,000.00              $0.00                                                                $25,000.00
KEVIN HERLIHY, INTENDED ADMINISTRATOR OF THE ESTATE OF DENIS
HERLIHY, DECEASED
SULLIVAN PAPAIN BLOCK MCGRATH & CANNAVO P.C.
FRANK V. FLORIANI
120 BROADWAY
NEW YORK, NY 10271                                               3713    11/27/2017     Interiors in Flight Inc.                         $0.00                                                                                        $0.00
MOORE, SHARLINE O
1343 ELMHURST CIR
ATLANTA, GA 30316                                                3714    11/27/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
SAKALARIOS, ANTHONY
7701
49 TIDEWATER ROAD
HATTIESBURG, MS 39402                                            3715    11/28/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
VAN NUIS, ROSALIE P.
1 BURTON WOODS LANE
CINCINNATI, OH 45229                                             3716    11/26/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
VAN NUIS, ROSALIE P.
1 BURTON WOODS LANE
CINCINNATI, OH 45229                                             3717    11/26/2017       TK Holdings Inc.                               $0.00                                                                                        $0.00
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                                                                                                                                   Current General                                           Current 503(b)(9)
                                                                                                                                                      Current Priority   Current Secured                          Current Admin     Total Current
                    Creditor Name and Address                     Claim No. Claim Date               Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                                       Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                                       Amount                                                    Amount
BMW OF NORTH AMERICA, LLC AND BMW MANUFACTURING CO., LLC
NORTON ROSE FULBRIGHT US LLP
DAVID A. ROSENZWEIG
1301 AVENUE OF THE AMERICAS
NEW YORK, NY 10019‐6022                                             3718    11/27/2017   Strosshe‐Mex, S. de R.L. de C.V.                                                $3,868,932,224.00                                  $0.00 $3,868,932,224.00
DAIHATSU MOTOR CO., LTD., FOR AND ON BEHALF OF ITSELF, DAIHATSU
MOTOR KYUSHU CO., LTD., AND PT. ASTR
ORRICK, HERRINGTON & SUTCLIFFE LLP
LORRAINE S. MCGOWEN
51 WEST 52ND STREET
NEW YORK, NY 10019‐6142                                             3719    11/27/2017   Takata de Mexico, S.A. de C.V.                                                   $320,782,250.74                                           $320,782,250.74
MOTION INDUSTRIES INC
P.O. BOX 1477
BIRMINGHAM, AL 35201‐1477                                           3720    11/28/2017           TK Holdings Inc.                             $0.00                                                      $0.00                                $0.00
SUBARU OF INDIANA AUTOMOTIVE, INC. (F/K/A SUBARU‐ISUZU
AUTOMOTIVE, INC.)
ATTN: DOUGLAS R. MEYER
SENIOR MANAGER AND GENERAL COUNSEL, LEGAL/HR/CSR
5500 STATE ROAD 38 EAST
LAFAYETTE, IN 47905                                                 3721    11/27/2017   Strosshe‐Mex, S. de R.L. de C.V.                                                $1,322,898,641.10                                         $1,322,898,641.10
ADAM FINKELSTEIN & HILARY MARSTON
9006 SHAD LANE
POTOMAC, MD 20854                                                   3722    11/28/2017           TK Holdings Inc.                             $0.00                                                                                           $0.00
KRAMER, KARA
5945 ETHAN DR
BURLINGTON, KY 41005                                                3723    11/28/2017           TK Holdings Inc.                             $0.00                                                                                           $0.00
BEAULIEU, GAETAN
P.O. BOX 61 15 SLADE AVE
OAKVILLE, CT 06779                                                  3724    11/28/2017           TK Holdings Inc.                             $0.00                                                                                           $0.00
NORCO INC.
1125 AMITY DRIVE
BOISE, ID 83705                                                     3725    11/28/2017           TK Holdings Inc.                             $0.00                                                                                           $0.00
MESSINA, DOROTHY
22314 BUSTING ST.
BOCA RATON, FL 33428                                                3726    11/28/2017           TK Holdings Inc.                             $0.00                                                                                           $0.00
VOLKSWAGEN GROUP OF AMERICA, INC.
DAVIS POLK & WARDWELL LLP
ATTN: TIMOTHY GRAULICH AND ARYEH FALK
450 LEXINGTON AVE
NEW YORK, NY                                                        3727    11/27/2017   Takata de Mexico, S.A. de C.V.                                                   $354,600,000.00                                           $354,600,000.00
STEWART, BARBARA
7809 ROCKWOOD ROAD
JOSHUA TREE, CA 92252                                               3728    11/28/2017           TK Holdings Inc.                             $0.00                                                                                           $0.00
GANZEL, KIRSTEN E
1822 CHANDLER RD APT 44
STATESBORO, GA 30458                                                3729    11/28/2017           TK Holdings Inc.                             $0.00                                                                                           $0.00
TESCH, TAMMY L
N4171 COUNTY RD O
NEW LONDON, WI 54961                                                3730    11/28/2017           TK Holdings Inc.                             $0.00                                                                                           $0.00
KIEL, TONYA
7720 THOMAS RD. APT . 1701
MOBILE, AL 36695                                                    3731    11/28/2017           TK Holdings Inc.                             $0.00                                                                                           $0.00
BUSH, DEBRA C.
185 IDLE WILD DRIVE
HOPE HULL, AL 36043                                                 3732    11/28/2017           TK Holdings Inc.                             $0.00                                                                                           $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CALDWELL BUSH, DEBRA
185 IDLE WILD DRIVE
HOPE HULL, AL 36043                                     3733    11/28/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
WANG, JUNKUN
4474 BUENA VISTA DR
LAS VEGAS, NV 89102                                     3734    11/28/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
JOHNSON, LAQUISHA
1014 DIVISION AVE
EAST ST LOUIS, IL 62201                                 3735    11/29/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
MEHDIPOUR, CAROLINE
11349 HOMEDALE STREET
LOS ANGELES, CA 90049                                   3736    11/28/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
MCDAVID, ELIJAH
640 JOHN CARLYLE ST. UNIT 304
ALEXANDRIA, VA 22314                                    3737    11/29/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
MCDAVID, ELIJAH
640 JOHN CARLYLE ST. UNIT 304
ALEXANDRIA, VA 22314                                    3738    11/29/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
BENNETT, CHRISTOPHER
65 N 224TH LN
BUCKEYE, AZ 85326                                       3739    11/29/2017      TK Holdings Inc.                         $3,000.00                                                                                    $3,000.00
MAC ARTHUR CORPORATION
ATTN: WENDI LLOYD
3190 TRI PARK DRIVE
GRAND BLANC, MI 48439                                   3740    11/29/2017      TK Holdings Inc.                             $0.00                                                    $0.00                               $0.00
PARSONS, BELINDA ANN
2410 LOU LANE, UNIT W
WICHITA FALLS, TX 76308                                 3741    11/29/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
PAIR, DAVID MICHAEL
126 KATY CIRCLE
BIRMINGHAM, AL 35242                                    3742    11/29/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
THORN, STEVEN P
837 5TH ST APT 4
HERMOSA BEACH, CA 90254                                 3743    11/28/2017      TK Holdings Inc.                        $10,000.00                                                                                   $10,000.00
WALKER, LONNIE
533 54TH AVE
MERIDIAN, MS 39307                                      3744    11/28/2017      TK Holdings Inc.                                                $0.00                                 $0.00                               $0.00
HUNT, LISA
5351 EAGAN CT
ROHNERT PARK, CA 94928                                  3745    11/29/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
STEELE, KATRINA
1073 SPANISH OAK DR.
PEARL, MS 39208                                         3746    11/29/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
WRIGHT, STEVEN
148 DUVALL RD.
BEAVER DAM, KY 42320                                    3747    11/29/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
MOONAN, CHRISTOPHER
2518 GROVE AVE
CORONA, CA 92882                                        3748    11/29/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
NANIA, BRENDAN
35 UNDER MOUNTAIN RD
FALLS VILLAGE, CT 06031                                 3749    11/29/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
BRYAN, NIKKIA I
807 WESTCHESTER BLVD.
WESTCHESTER, IL 60154                                   3750    11/29/2017      TK Holdings Inc.                                                $0.00                                                                     $0.00


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                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                           Priority Amount    Claim Amount
                                                                                                                     Amount                                                    Amount
FABELA, STEPHANIE
2518 GROVE AVE
CORONA, CA 92882                                       3751    11/29/2017      TK Holdings Inc.                             $0.00                                                                                           $0.00
COUSIN, ANGELA
123 OAKHURST AVENUE
CLARKSDALE, MS 38614                                   3752    11/27/2017      TK Holdings Inc.                         $6,500.00                                                                                       $6,500.00
GRAHAM, MIKE OR AMY
107 APACHE LANE
CLINTON, TN 37716                                      3753    11/29/2017      TK Holdings Inc.                             $0.00                                                                                           $0.00
DALTON, STACEY D
3708 RIDGE POINTE LOOP NE
ALBUQUERQUE, NM 87111                                  3754    11/29/2017      TK Holdings Inc.                             $0.00                                                                                           $0.00
NUNEZ, JOEL
753 HELEN ST
FAYETTEVILLE, NC 28303                                 3755    11/29/2017      TK Holdings Inc.                             $0.00              $0.00                                                                        $0.00
SAPA EXTRUSIONS NORTH AMERICA, LLC
400 ROUSER ROAD, SUITE 300
MOON TOWNSHIP, PA 15108                                3756    11/29/2017      TK Holdings Inc.                             $0.00                                                                                           $0.00
MERCEDES‐BENZ U.S. INTERNATIONAL, INC.
RICK CLEMENTZ
GENERAL COUNSEL
1 MERCEDES DRIVE
VANCE, AL 35490                                        3757    11/27/2017      TK Holdings Inc.                             $0.00                      $3,652,966,252.86                                         $3,652,966,252.86
PARKER, LINDA
PO BOX 4315
LISLE, IL 60532                                        3758    11/27/2017      TK Holdings Inc.                             $0.00                                                                                           $0.00
LUBO, BRITTNEY
1514 CORTE ROBERTO
OCEANSIDE, CA 92056                                    3759    11/29/2017      TK Holdings Inc.                             $0.00                                                                                           $0.00
FINN, MEAGAN
54 RAINBOW DRIVE
BRADFORD, MA 01835                                     3760    11/29/2017      TK Holdings Inc.                                                $0.00                                                                        $0.00
SPIVEY, KAREN R
7711 N 60TH STREET, 201
MILWAUKEE, WI 53223                                    3761    11/29/2017      TK Holdings Inc.                         $1,500.00                                                                                       $1,500.00
WOODFINE, DONNA
647 ALBANY AVENUE APT # 1N
BROOKLYN, NY 11203                                     3762    11/28/2017      TK Holdings Inc.                             $0.00                                                                                           $0.00
DABNEY, STACEY
6721 WOLKE COURT
MONTGOMERY, AL 36116                                   3763    11/29/2017      TK Holdings Inc.                                                                   $0.00                                                     $0.00
VAN DYKE, KEVIN P
125 RIVERVIEW CIRCLE
SALINE, MI 48176                                       3764    11/30/2017      TK Holdings Inc.                             $0.00                                                                                           $0.00
BROWN, RICHARD
6721 WOLKE COURT
MONTGOMERY, AL 36116                                   3765    11/29/2017      TK Holdings Inc.                                                                   $0.00                                                     $0.00
DOHERTY, MICHAEL
31 SIXTH ST APT 6
DOVER, NH 03820                                        3766    11/29/2017      TK Holdings Inc.                             $0.00              $0.00              $0.00                                                     $0.00
HOFFMANN, TIMOTHY J.
24 CLARET
IRVINE, CA 92614                                       3767    11/29/2017      TK Holdings Inc.                             $0.00                                                                                           $0.00
BRYAN, NIKKIA I
807 WESTCHESTER BLVD
WESTCHESTER, IL 60154                                  3768    11/29/2017      TK Holdings Inc.                                                $0.00                                                                        $0.00
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                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
DIAZ, MILEDYS
JACOBS & JACOBS, ATTORNEYS AT LAW
ATTN: TOM JACOBS
114 EAST MEEKER AVENUE
PUYALLUP, WA 98372                                    3769    11/28/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PUGH, MONAE
27042 PAM PL
MORENO VALLEY, CA 92555                               3770    11/30/2017      TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
ALCORN, DARNELL
2602 ELLIOTT AVE
WILLOW GROVE, PA 19090                                3771    11/30/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MUIR, WILLIAM S
1360 30TH AVE #104
SANTA CRUZ, CA 95062                                  3772    11/29/2017      TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
ALSHEIMER, RICHARD
27035 HUNTINGTON DR
WARREN, MI 48088                                      3773    11/29/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CARR, DERICK
925 N PARKVIEW PLACE
BATON ROUGE, LA 70815                                 3774    11/30/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ALCORN, DARNELL
2602 ELLIOTT AVE
WILLOW GROVE, PA 19090                                3775    11/30/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CANCOM DIDAS GMBH
ELISABETH‐SELBERT‐STRAßE 4A
LANGENFELD 40764
GERMANY                                               3776    11/30/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GIRAN, GURPREET
902 N. NORTHWOOD AVENUE
COMPTON, CA 90220                                     3777    11/30/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
THORPE, BRANDI
240 INDIGO SPRINGS DR
COLUMBIA, SC 29229                                    3778    11/30/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CLARK, THERESA
6759 HURSTON COURT
JUPITER, FL 33458                                     3779    11/30/2017      TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
MINARCINE, LESLIE B
704 PLANTATION CV
WOODSTOCK, GA 30188                                   3780     12/1/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
STECK, PAUL R
36 MANCHESTER ST
WESTBURY, NY 11590                                    3781     12/1/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HENDERSON, GLADYS
3702 BOLDEN FIELDS
CONVERSE, TX 78109                                    3782     12/1/2017      TK Holdings Inc.                         $4,831.55                                 $0.00                                               $4,831.55
THOMAS, HELEN
1914 MAIZE CT
BRENHAM, TX 77833                                     3783    11/30/2017      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
HOLDER, BONNIE GOLDSTEIN
1723 IRON MILL DRIVE
WENDELL, NC 27591                                     3784     12/1/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
GARLAND JR, JOHN
6005 CROWN RIDGE COURT
FAYETTEVILLE, NC 28314                                3785    11/29/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                    Creditor Name and Address               Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                            Amount                                                   Amount
LYNN J. ROYER, EXECUTOR FOR THE ESTATE OF FAYE E. ROYER
C/O SCANLON & ELLIOTT
57 S. BROADWAY ST., THIRD FL.
AKRON, OH 44308                                               3786     12/1/2017      TK Holdings Inc.                      $2,000,000.00                                                                                $2,000,000.00
LYNN J. ROYER, EXECUTOR FOR THE ESTATE OF JAMES L. ROYER
C/O SCANLON & ELLIOTT
57 S. BROADWAY ST., THIRD FL.
AKRON, OH 44308                                               3787     12/1/2017      TK Holdings Inc.                      $1,000,000.00                                                                                $1,000,000.00
REGINALD L. BAKER AND (SON J.B.)
250 DOC‐DARBYSHIRE RD. STE. 1
MOULTRIE, GA 31788‐4168                                       3788     12/1/2017      TK Holdings Inc.                                                 $0.00                                                                     $0.00
SMITH, MARTIN
3700 TOONE ST. APT 2475
BALTIMORE, MD 21224                                           3789     12/1/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SIMON, CASEY J.
283 LAKE SHERWOOD DR
WESTLAKE VILLAGE, CA 91361                                    3790     12/2/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MCLEAN, MICHAEL
2490 RIDGEBROOK PLACE
THOUSAND OAKS, CA 91362                                       3791     12/2/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LEWIS, AARON
7 GROVE ST
FAIRHAVEN, MA 02719                                           3792     12/2/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
AGEE, LAKESHA
PO BOX 1245
BAY SPRINGS, MS 39422                                         3793     12/2/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GREEN, JANELLE MAYA
2415 7TH AVENUE
LOS ANGELES, CA 90018                                         3794     12/2/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WAHI, JATIN
16500 HARBOUR TOWN DR.
SILVER SPRING, MD 20905                                       3795     12/2/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FLORES, JOSEPH
308 RISING STAR CHURCH RD
JACKSON, GA 30233                                             3796     12/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DOMANN, SHERRY
909 N. 11TH
ATCHISON, KS 66002                                            3797     12/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
VAZQUEZ, PORFIRIA GARCIA
1724 MARKET AVE
SAN PABLO, CA 94806                                           3798     12/1/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MOUNT, KARL
2805 NORTH OAKS BLVD
NORTH BRUNSWICK, NJ 08902                                     3799     12/2/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BONILLA, NANETTE
6912 SHADY PLACE
TAMPA, FL 33634                                               3800     12/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KIJANKO, ELIZABETH E
7 APPLEWOOD DR
SHELTON, CT 06484                                             3801     12/2/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WAHI, JATIN
16500 HARBOUR TOWN DR.
SILVER SPRING, MD 20905                                       3802     12/2/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MCCOLL, NAOMI LYNN
2794 FOXHILL DRIVE
CARSON CITY, NV 89706                                         3803     12/3/2017      TK Holdings Inc.                       $100,000.00                                                                                   $100,000.00
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                                                                                                               Current General                                          Current 503(b)(9)
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                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
LEAL, LINDA E
304 ANGUS DRIVE
CEDAR PARK, TX 78613                                 3804     12/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SANTIAGO, MARIBEL
22 CANTON STREET
SPRINGFIELD, MA 01104                                3805     12/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ROBINSON, LORI A
43615 SAN FERMIN PLACE
TEMECULA, CA 92592                                   3806     12/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
JULIAN, JOHN
348 GATES ST.
PALM BAY, FL 32908                                   3807     12/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SHODIEV, AZAMAT
12522 E EVANS CIR, UNIT D
AURORA, CO 80014                                     3808     12/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LEUNG, SAMSON
18911 SYDNEY CIRCLE
CASTRO VALLEY, CA 94546                              3809     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PANOS, SPYROS
120 ROUNDHILL ROAD
HOPEWELL JUNCTION, NY 12533                          3810     12/4/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
HOUGE, MICHELE
821 KINGSWOOD PATH
MIDDLETOWN, DE 19709                                 3811     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DRISCOLL, CASSANDRA
1049 IDLEWILD DR S
DUNEDIN, FL 34698‐3106                               3812     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WOODIN, DORCAS ANN
1819 HISTORIC COLUMBIA RVR HWY
TROUTDALE, OR 97060                                  3813     12/1/2017      TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00
ANDERSON, CYNTHIA
8820 KENDALE DRIVE
ST. LOUIS, MO 63121                                  3814     12/2/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
REESE, MYRON
12467 NORTH HILL DRIVE
HAMPTON, GA 20228                                    3815     12/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WILSON, NANCY JOANNE
35573 STILLMEADOW LN.
CLINTON TWP., MI 48035                               3816     12/3/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HITZ, RICHARD F.
17012 ORCHARD AVENUE
OMAHA, NE 68135                                      3817     12/1/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
JENKINS, DAPHNE
1279 DANSKIN ON ME
SILVERDALE, WA 98383                                 3818     12/2/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
THEBEAU, STACY
3501 CATALINA DR
ARNOLD, MO 63010                                     3819     12/3/2017      TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
MALONE, JOE L.
2439 RED BUD LANE, HSE
AURORA, IL 60502                                     3820     12/3/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
THAKKAR, SHAILESH
6385 TERRACINA AVE
RANCHO CUCAMONGA, CA 91737‐6986                      3821     12/1/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                     Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                      Amount                                                   Amount
KENNEDY, ROSALIND ANN
9653 STONECREST BLVD.
SAN DIEGO, CA 92123                                     3822     12/3/2017      TK Holdings Inc.                        $10,000.00                                                                                    $10,000.00
BYES, CLARA
MARION D. FLOYD
14 CALCASIEU CT
KENNER, LA 70065                                        3823     12/1/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HOFFMAN, JOSEPH DOYLE
6309 NC HWY 87 S
FAYETTEVILLE, NC 28306                                  3824     12/1/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ILANO, CONNIE JAVIER
2534 E BETHEL DRIVE
ANAHEIM, CA 92806‐4703                                  3825     12/2/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
OTOOLE, PATRICK
2 PORTOFINO DR.
SUITE 1007
PENSACOLA BEACH, FL 32561                               3826     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WILLIAMS, BRIAN L
16301 KINGSBURY ST.
GRANADA HILLS, CA 91344                                 3827     12/4/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
LARSELL, DYAN MARIE
PO BOX 47
THE DALLES, OR 97058                                    3828     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WHETTER, VICTORIA
219 2ND STREET EAST
BOTTINEAU, ND 58318                                     3829     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HEAD, SERGENET W.
15700 DOBSON AVENUE
DOLTON, IL 60419                                        3830     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DIOSDADO, LISA
22951 PENASCO CIR.
NUEVO, CA 92567                                         3831     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RAWLS, IRENE
965 WINEBROOK WAY
FOUNTAIN, CO 80817                                      3832     12/4/2017      TK Holdings Inc.                        $28,244.25              $0.00              $0.00                                              $28,244.25
LEWIS, AARON
7 GROVE ST
FAIRHAVEN, MA 02719                                     3833     12/2/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
STEFFEN, ERIN O
737 ELM STREET #3
SAN CARLOS, CA 94070                                    3834     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GANT, ROBERT NIGEL
1409 S. LAMAR ST., STE. 711
DALLAS, TX 75215                                        3835     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
STALDER, COURTNEY
737 ELM STREET #3
SAN CARLOS, CA 94070                                    3836     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HOLBERT, ALISHA VEREEN
355 BIRCHRUN DR
DURHAM, NC 27712                                        3837     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GANT, NIGEL FOOTMAN
1409 S. LAMAR ST., STE. 711
DALLAS, TX 75215                                        3838     12/4/2017      TK Holdings Inc.                          $500.00                                                                                        $500.00
FUSCO, DOMENICA
5382 BLUEBELL DRIVE
BOSSIER CITY, LA 71112                                  3839     12/4/2017      TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00
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                                                                                                                                  Current Priority   Current Secured                         Current Admin    Total Current
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                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
BENTLEY, NOAH
PO BOX 4124
EL DORADO HILLS, CA 95762                            3840     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MITTIGA, ROBERT J
1290 GREENSBURG RD.
UNIONTOWN, OH 44685                                  3841     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HIGHBARGER, THOMAS AND DANIEL
5906 N MICHIGAN PLACE
GLADSTONE, MO 64118                                  3842     12/4/2017      TK Holdings Inc.                          $500.00                                                                                        $500.00
SCHAU, JOHN
1556 MADRID DR
VISTA, CA 92081                                      3843     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CASTILLO, RICARDO A
8905 144TH STREET
JAMAICA, NY 11435                                    3844     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
QUINN‐ALLEN, DENISE L
3142 PALO VERDE AVE
LONG BEACH, CA 90808‐4055                            3845     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HARRIS, MAY
7015 GLENMORE AVE
SAINT LOUIS, MO 63121‐5113                           3846     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CRITCHLOW, LEIGH E.
P.O. BOX 1067
MOUNTAIN VIEW, HI 96771                              3847     12/4/2017      TK Holdings Inc.                         $8,000.00                                                                                     $8,000.00
QUINN‐ALLEN, COLLEEN
3142 PALO VERDE AVE
LONG BEACH, CA 90808‐4055                            3848     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MILLER, EDWARD
792 TRIPLETT BLVD
AKRON, OH 44306                                      3849     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
STALLINGS, CRYSTAL
14511 EGGLESTONE DR.
PINEVILLE, NC 28134                                  3850     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TAYLOR, JOSIE R.
6808 IVY LOG DRIVE
AUSTELL, GA 30168                                    3851     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PEAK, LINDSAY
155 OAK MANOR COURT, APT. 2
UKIAH, CA 95482                                      3852     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TAYLOR, JOSIE
6808 IVY LOG DRIVE
AUSTELL, GA 30168                                    3853     12/4/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
CLAY, TRACY A
80 HOLDEN ROAD
PAXTON, MA 01612                                     3854     12/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BRITO, JORGE JESUS
1618 SUMMIT RDG
AUBURN, GA 30011‐3615                                3855     12/5/2017      TK Holdings Inc.                         $2,850.00              $0.00                                                                  $2,850.00
GARDNER, DAN N.
BOX 92
ROSANKY, TX 78953                                    3856     12/4/2017      TK Holdings Inc.                         $2,500.00              $0.00                                                                  $2,500.00
SALMON, THOMAS
24 SPRINGS DRIVE
DOYLESTOWN, PA 18901                                 3857     12/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                        Current General                                         Current 503(b)(9)
                                                                                                                                           Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address        Claim No. Claim Date                   Debtor                         Unsecured Claim                                          Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                            Amount                                                  Amount
IACONO, KOLBY
11328 NE 51ST CIRCLE
VANCOUVER, WA 98682                                 3858     12/5/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
WEIDMAN, IRINA
222 LOS PRADOS DRIVE
SAFETY HARBOR, FL 34695                             3859     12/5/2017              TK Holdings Inc.                                                  $0.00                                                                     $0.00
MARTIN, FELISA
18418 FAIRWOOD MEADOW COURT
HOUSTON, TX 77084                                   3860     12/5/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
SPALEVIC, MIRKO
310 W CHICAGO AVE
WESTMONT, IL 60559                                  3861     12/5/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
MONTGOMERY, BRANDIE
4315 MEADOW LANE
LORAIN, OH 44055                                    3862     12/5/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
DALY, NICOLE
504 GREENWICH DRIVE
ALBANY, NY 12203                                    3863     12/5/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
WRIGHT, TRAVIS
506 61ST ST. SE
EVERETT, WA 98203‐3532                              3864     12/5/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
HISS, SAHRA L.
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                              3865     12/5/2017   TK Holdings de Mexico S. de R.L. de C.V.                  $0.00                                                                                        $0.00
HISS, SAHRA L.
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                              3866     12/5/2017       Takata de Mexico, S.A. de C.V.                        $0.00                                                                                        $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                              3867     12/5/2017            Interiors in Flight Inc.                         $0.00                                                                                        $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                              3868     12/5/2017               TK Mexico LLC                                 $0.00                                                                                        $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                              3869     12/5/2017   Industrias Irvin de Mexico, S.A. de C.V.                  $0.00                                                                                        $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                              3870     12/5/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                              3871     12/5/2017      Strosshe‐Mex, S. de R.L. de C.V.                       $0.00                                                                                        $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                              3872     12/5/2017              Takata Americas                                $0.00                                                                                        $0.00
MCELHENNY, LYNN S
18 WEXFORD COURT
PHILLIPSBURG, NJ 08865                              3873     12/6/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
MCELHENNY, JAMES E
18 WEXFORD COURT
PHILLIPSBURG, NJ 08865                              3874     12/6/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
MCELHENNY, JAMES E
18 WEXFORD COURT
PHILLIPSBURG, NJ 08865                              3875     12/6/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00



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                                                                                                                    Current General                                          Current 503(b)(9)
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                   Creditor Name and Address        Claim No. Claim Date              Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
FLORES, ROBERT LARKIN
PO BOX 61775
RENO, NV 89506                                        3876     12/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
DRAKE, SHARRON
1875 BIRCHWOOD LANE
TRACY, CA 95376                                       3877     12/4/2017          TK Holdings Inc.                             $0.00              $0.00              $0.00               $0.00                               $0.00
REED, THOMAS P.
P.O.B. 465
VAUGHN, WA 98394                                      3878     12/6/2017          TK Holdings Inc.                                                $0.00                                                                      $0.00
HANSEN, MARCIE
118 TRINITY LANE
SEGUIN, TX 78155                                      3879     12/6/2017          TK Holdings Inc.                         $7,500.00              $0.00                                                                  $7,500.00
SHAPIRO, CHELSEA
I DAWN COURT
FLORHAM PARK, NJ 07932                                3880     12/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
KLOB, TIMOTHY MINTHORN
KLOB & LARRISON ATTORNEYS
145 LEE BYRD ROAD
LOGANVILLE, GA 30052                                  3881     12/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
MAGGIO, NEERIA
28160 MCBEAN PKWY
UNIT 24203
VALENCIA, CA 91354                                    3882     12/6/2017          TK Holdings Inc.                          $500.00                                                                                        $500.00
FIRST FINANCIAL CREDIT UNION
1407 WASHINGTON AVE
ST. LOUIS, MO 63103                                   3883     12/5/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
SPALEVIC, CHARLIE
310 W CHICAGO AVE
WESTMONT, IL 60559                                    3884     12/5/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
KLOB, KECIA GWYNNE
KLOB & LARRISON ATTORNEYS
TIMOTHY M. KLOB, ESQ.
145 LEE BYRD ROAD
LOGANVILLE, GA 30052                                  3885     12/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                                3886     12/5/2017          TK Finance, LLC                              $0.00                                                                                         $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                                3887     12/5/2017          TK Mexico Inc.                               $0.00                                                                                         $0.00
WILSON, KIMBERLY L.
819 SOLOMON DRIVE
JACKSONVILLE, NC 28546                                3888     12/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                                3889     12/5/2017           TK China, LLC                               $0.00                                                                                         $0.00
HISS, SAHRA L
423 WEST 350 SOUTH
SPANISH FORK, UT 84660                                3890     12/5/2017   Takata Protection Systems Inc.                      $0.00                                                                                         $0.00
FIELDS, ALEATHA W
3326 MOUNTAINBROOK AVENUE
NORTH CHARLESTON, SC 29420                            3891     12/6/2017          TK Holdings Inc.                             $0.00                                                                                         $0.00
LIMA, LORRANY
SOUTHEAST LAW, LLC
2107 BULL STREET
SAVANNAH, GA 31401                                    3892     12/4/2017          TK Holdings Inc.                       $250,000.00                                                                                   $250,000.00
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                                                                                                                       Current General                                          Current 503(b)(9)
                                                                                                                                          Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address               Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                           Amount                                                   Amount
PIANTEK, MANNY
ANTHONY E. KALIKAS, ATTORNEY AT LAW
3936 HORTENSIA STREET
SAN DIEGO, CA 92110                                          3893     12/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SAMUELS, MANNIS REEVES
1409 KNOWLES ROAD
PHENIX CITY, AL 36869‐6965                                   3894     12/4/2017      TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
XI, YUE
1612 19TH AVE
SAN FRANCISCO, CA 94122                                      3895     12/5/2017      TK Holdings Inc.                                                                                                                           $0.00
TAYLOR, TONY RAY
6808 IVY LOG DRIVE
AUSTELL, GA 30168                                            3896     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TAKATA MAROC S.A.R.L.
MOUSTAHY SIHAM
LOT 1F B2 ZONE FRANCHE
D'EXPORTATION BOUKHALEF
TANGER, MR 90000
MOROCCO                                                      3897     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PERRIN JR., SAMUEL W.
40 SOUTH MORRIS ST.
NEWARK, OH 43055                                             3898     12/1/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
STEFFEN, ERIN O
737 ELM STREET #3
SAN CARLOS, CA 94070                                         3899     12/4/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
COLLINS, ANGELA
24827 FAIR DAWN LANE
MORENO VALLEY, CA 92557                                      3900     12/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
A.W JR. (A MINOR CHILD) [KIMBERLY L. WILSON PARENT]
819 SOLOMON DRIVE
JACKSONVILLE, NC 28546                                       3901     12/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BRIDGEMAN, SUSAN ANNE
12412 PENROSE TRAIL
RALEIGH, NC 27614                                            3902     12/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BRIDGEMAN, BENET EUGENE
12412 PENROSE TRAIL
RALEIGH, NC 27614                                            3903     12/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
A. W. (A MINOR CHILD) [KIMBERLY L. WILSON ‐ PARENT]
819 SOLOMON DRIVE
JACKSONVILLE, NC 28546                                       3904     12/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
VALVERDE, SADIE
5621 W. INDIAN SCHOOL ROAD
PHOENIX, AZ 85031                                            3905     12/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
OFFICE OF THE ATTORNEY GENERAL, STATE OF NEW MEXICO
408 GALISTEO STREET
VILLAGRA BUILDING
SANTA FE, NM 87501
NEW MEXICO                                                   3906     12/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HUNTER, PAMELA
PO BOX 305
STRATHMORE, CA 93267                                         3907     12/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
JACKSON, KIMBERLY
1620 N GRAPE AVE
COMPTON, CA 90222                                            3908     12/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
GREEN, VIVICA
3720 TATE RD.
COLLEGE PARK, GA 30349                                3909     12/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CHRISTENSEN, CAROL
6519 E MARJORIE ST
WICHITA, KS 67206                                     3910     12/6/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SMITH, KIM
8445 BEAR TRAIL DRIVE
TOBYHANNA, PA 18466                                   3911     12/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
POWELL, FLORINE
2657 E 93RD STREET
CHICAGO, IL 60617                                     3912     12/6/2017      TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
KRAFTFAHRT‐BUNDESAMT
HERR BURGKHARDT
FORDESTRASE 16
FLENSBURG, GM 24944
GERMANY                                               3913    11/28/2017      TK Holdings Inc.                            $15.00                                                                                        $15.00
GIOVANNETTI, SHAW JOESPH
11067 BALTIMORE STREET
WEEKI WACHEE, FL 34614                                3914     12/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
NEUSTEIN, LENORE
568 DONALD LANE
WOODMERE, NY 11598                                    3915     12/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WESTERN TECHNOLOGY CENTER DIST. NO. 12
ATTN: PAMELA CLARK
P.O. BOX 1469
BURNS FLAT, OK 73624‐1469                             3916     12/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
THOMPSON, TANYA D.
203 LAUREL AVENUE
NEWARK, DE 19711                                      3917     12/7/2017      TK Holdings Inc.                        $25,000.00                                 $0.00                                              $25,000.00
BAILEY, CATHERINE
P.O. BOX 39
ITTA BENA, MS 38941                                   3918     12/6/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
HOWARD, JOYCE A
P.O. BOX 7012
BELLE CHASSE, LA 70037‐7012                           3919     12/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CLARK, PAULA M.
1260 MAPLEWOOD RD
BELMAR, NJ 07719                                      3920     12/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GONZALEZ CZERNIAK, LUIS
2338 HARVESTER AVE
FORT MILL, SC 29708                                   3921     12/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HERTER, CAROL
2448 BLACKBURN BRIDGE ROAD
MAIDEN, NC 28650                                      3922     12/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MOORE, CHRISTINA K
1939 MAIN STREET
MOHRSVILLE, PA 19541                                  3923     12/7/2017      TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
STILWELL, LEISA
PO BOX 371257
LAS VEGAS, NV 89137                                   3924     12/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GRANT, BURTON F.
522 HILLSIDE DRIVE
HIGHLAND PARK, IL 60035                               3925     12/5/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                   Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
SERRANO RIVERA, HECTOR M.
16 ESPANA, JARD. DE MONACO
MANATI, PR 00674                                      3926     12/5/2017      TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00
DUNN, KAMILAH
735 53RD AVE
MERIDIAN, MS 39307                                    3927     12/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MOST, ALIAH
PO BOX 5067
KAILUA KONA, HI 96745                                 3928     12/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GROSSMAN, GARY S
49 GRACE DRIVE
RICHBORO, PA 18954                                    3929     12/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FRANCHISE TAX BOARD
BANKRUPTCY SECTION MS A340
PO BOX 2952
SACRAMENTO, CA 95812‐2952                             3930     12/7/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
SMITH, MARCUS
6005 FIR CT
MCKINNEY, TX 75070                                    3931     12/7/2017      TK Holdings Inc.                         $1,000.00              $0.00                                                                  $1,000.00
DERFLINGER, BRADLEY
1714 SUTTON AVE
CINCINNATI, OH 45230                                  3932     12/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HOLLAND, ROGER T
444 W. BROAD ST.
UNIT 326
FALLS CHURCH, VA 22046                                3933     12/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
OBEY, PAMELA ROSE
829 NICOLET AVE
GREEN BAY, WI 54304                                   3934     12/7/2017      TK Holdings Inc.                         $7,200.00                                 $0.00                                               $7,200.00
TAYLOR, VANESSA
32 CASIMIR COURT
NEW CASTLE, DE 19720                                  3935     12/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LORANGER, JOHN
2548 SANDY TERRACE
MEDFORD, OR 97504                                     3936     12/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BALLARD, JEFFREY
PO BOX 173
WHITE HORSE BEACH, MA 02381                           3937     12/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LORANGER, JACOB
2548 SANDY TERRACE
MEDFORD, OR 97504                                     3938     12/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FIDDELMAN, JEFFREY
12 BONNIE BRIAR LANE
LARCHMONT, NY 10538                                   3939     12/7/2017      TK Holdings Inc.                          $646.00                                                                                        $646.00
GROSSMAN, LORI E
49 GRACE DRIVE
RICHBORO, PA 18954                                    3940     12/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GIL, ISIDRA
7044 S 16TH DR
PHOENIX, AZ 85041                                     3941     12/8/2017      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
DENTON, ROBERT L
116 HORN DR.
LILLIAN, AL 36549                                     3942     12/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HEALEY, AMY
3411 S. MAIN #A
SANTA ANA, CA 92707                                   3943     12/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                                    Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
PRITCHAUD, MARK WILLIAM
P.O. BOX 385
THURMONT, MD 21788‐0385                                3944     12/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TESKE, VALERIE ELLIS
P.O. BOX 385
THURMONT, MD 21788                                     3945     12/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LORANGER, JOHN EPHREM
2548 SANDY TERRACE
MEDFORD, OR 97504                                      3946     12/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TERAN, IRENE
34880 BENTON ROAD
HEMET, CA 92544                                        3947     12/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HERR, ZACHARY T.
6252 27TH AVENUE NE
SEATTLE, WA 98115                                      3948     12/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BRUTON, GILDA
4612 BRISTOL BAY WAY APT. 103
TAMPA, FL 33619                                        3949     12/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LANE, LAURA L
2044 SWAN DRIVE
COSTA MESA, CA 92626                                   3950     12/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MCDONALD, SARAH J
27564 ERMINE AVE
TOMAH, WI 54660                                        3951    12/10/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
CHAMBERS, CAMILLE
12 DREW DR
EASTPORT, NY 11941                                     3952    12/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CARR, KRISTA K
7406 MOSLEY ST
AMARILLO, TX 79119                                     3953    12/11/2017      TK Holdings Inc.                         $4,583.02              $0.00                                                                  $4,583.02
MAY, CEDREONA NAOMIE
3405 RAINBOW LANE
HIGHLAND, CA 92346                                     3954     12/8/2017      TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
DREHER, RONALD P.
2502 THOMAS JEFFERSON DR.
RENO, NV 89509                                         3955     12/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DOSSOU, ANNITRA A.
9701 SILVERSTONE CT.
JONESBORO, GA 30238                                    3956     12/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DOSSOU, ANNITRA A
9701 SILVERSTONE CT.
JONESBORO, GA 30238                                    3957     12/8/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BROOKS, WILLIAM LESLIE
P.O. BOX 146
ST. STEPHENS CHURCH, VA 23148                          3958     12/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CHAVIERS, LUTHER A.
2726 14TH STREET PL SW
PUYALLUP, WA 98373‐6042                                3959     12/9/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TINO, JR., FRANK V.
8345 N.W. 66TH STREET
UNIT # C3980
MIAMI, FL 33166                                        3960     12/9/2017      TK Holdings Inc.                            $65.38                                                                                        $65.38
GOSA, MELANIE
2799 NOTTINGHILL ROW, APT K
FLORISSANT, MO 63033                                   3961     12/9/2017      TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00


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                                                                                                                                     Current Priority   Current Secured                         Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                      Amount                                                   Amount
ELLIS, B.
NO ADDRESS ON FILE
                                                        3962    12/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
STREDER, PAMELA B.
2110 HIGH COUNTRY DRIVE
CARROLLTON, TX 75007‐2044                               3963    12/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LIN, CHIA CHIEH
16302 WEDGEWORTH DR.
HACIENDA HEIGHTS, CA 91745                              3964    12/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SALMON, JAY W
MARGIE A SALMON
411 WESLEY AVENUE
SAVOY, IL 61874‐9419                                    3965    12/10/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CARDIFF, JOHN
2601 MOUNT ROYAL BLVD.
GLENSHAW, PA 15116                                      3966    12/10/2017      TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
EVANS, WILLIAM B.
2459 NORTH WAKEFIELD COURT
ARLINGTON, VA 22207                                     3967    12/11/2017      TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00
BLOOMBERG, WENDY ANN
489 E TENAYA WAY
FRESNO, CA 93710                                        3968    12/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
NEWTON, EDMUND
619 LAWRENCE AVE
READING, PA 19609                                       3969     12/9/2017      TK Holdings Inc.                          $500.00                                                                                        $500.00
GARRETT, BETH
7 CALAMITY JANE
BELTON, TX 76513                                        3970    12/11/2017      TK Holdings Inc.                         $1,000.00                                                                                     $1,000.00
PALMER, SAMARIA
601 PIONEER CT
WAUKEGAN, IL 60085                                      3971    12/11/2017      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
LEE, MICHAEL
3524 OCEAN DRIVE
OXNARD, CA 93035                                        3972    12/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
JOHNSON, RYANT LEE
1040 HEBERT AVE
BREAUX BRIDGE, LA 70517                                 3973     12/7/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PELOSI, DONNA M.
C/O JOSEPH R. PELOSI
24 TERN ROAD
NARRAGANSETT, RI 02882                                  3974    12/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FELICIANO, AWILDA N.
URB PUNTO ORO
4519 LA GOLONDRINA
PONCE, PR 00728‐2050                                    3975    12/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PARK, JONGMIN
10634 ABUNDANTE CT
SAN DIEGO, CA 92127                                     3976    12/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MATHIS, MAHOGANY
51 HURLBURT ST
NEW HAVEN, CT 06519                                     3977    12/11/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
MCCALL, DOREEN A.
212 HAMILTON STREET
HARRISBURG, PA 17102                                    3978    12/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                 Current General                                          Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
GARCIA, RONALD
543 FELTON WAY
SAN LUIS OBISPO, CA 93405                              3979    12/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GRIFFIN, EDWARD
20182 EGYPT RD
ABERDEEN, MS 39730                                     3980    12/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KING, SHIRLEY
807 WESTCHESTER BLVD
WESTCHESTER, IL 60154                                  3981    12/11/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
WELLS, JESSICA
1421 PRINCETON AVE, SW
BIRMINGHAM, AL 35211                                   3982    12/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WELLS, JESSICA
1421 PRINCETON AVE, SW
BIRMINGHAM, AL 35211                                   3983    12/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FORN, CRAIG
3329 TARECO DRIVE
LOS ANGELES, CA 90068                                  3984     12/8/2017      TK Holdings Inc.                        $27,000.00                                                                                    $27,000.00
CORNETT, JASON
237 N NETTLETON AVE
BONNER SPRINGS, KS 66012                               3985     12/9/2017      TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
SEARS, FRANKIE
PO BOX 35
GUTHRIE, OK 73044                                      3986    12/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MITTAL, SUDEEP
1706 SUTTON DRIVE
DALTON, GA 30721                                       3987    12/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BECKER, SONA & WARREN
4823 MARATHON WAY
OCEANSIDE, CA 92056                                    3988    12/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ARD, LINSEY
1479 CR 4720
SILSBEE, TX 77656                                      3989    12/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LEAVELL, CLINT
9050 CR173
IOLA, TX 77861                                         3990    12/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MOULTON, JEFFREY
5 TAYLOR BROOK LN
DERRY, NH 03038                                        3991    12/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BRYAN, NIKKIA I
807 WESTCHESTER BLVD
WESTCHESTER, IL 60154                                  3992    12/11/2017      TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
GOINS, REV. MELVIN
8828 S. CONSTANCE
CHICAGO, IL 60619                                      3993    12/12/2017      TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00
TSENG, WEN
6836 KYLE RIDGE POINTE
CANFIELD, OH 44406                                     3994    12/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MCGEE, DANIELLE
112 FREEMAN ST
STARKVILLE, MS 39759                                   3995    12/12/2017      TK Holdings Inc.                          $705.00               $0.00                                  $0.00                             $705.00
SEIDER, SCOTT J.
308 E BRADLEY RD
FOX POINT, WI 53217                                    3996    12/12/2017      TK Holdings Inc.                         $2,312.00                                                                                     $2,312.00



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                    Creditor Name and Address         Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                      Amount                                                   Amount
MALCHAR, VICTORIA
292 NEW LONDON AVE
WEST WARWICK, RI 02893                                  3997    12/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CHI, FANG C
20052 ILUSO AVE
WALNUT, CA 91789                                        3998    12/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
POITEVINT, BILLY
1926 STAGECOACH ROAD
PELHAM, GA 31779                                        3999    12/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GIL, ISIDRA
7044 S 16TH DR
PHOENIX, AZ 85041                                       4000    12/12/2017      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
DEBOLT, KELSIE LYNN
217 SOUTH BARNEBURG
MEDFORD, OR 97504                                       4001    12/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LEE, HOLDEN CHEW GICK
477 41ST AVENUE
SAN FRANCISCO, CA 94121                                 4002    12/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
COLLIER‐MORRIS, MONIQUE D
344 NAPOLEON DR
DELAND, FL 32720                                        4003    12/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CIBRIAN, GABRIELA
926 NORTH SAN ANTONIO AVE
ONTARIO, CA 91762                                       4004    12/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SADDLER, WALTER
6474 HOMEWOOD CIRCLE
JACKSON, MS 39213                                       4005    12/12/2017      TK Holdings Inc.                            $25.00                                                                                        $25.00
LONGWORTH, JAMES
4911 HOWELLSVILLE RD
FRONT ROYAL, VA 22630                                   4006    12/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MUHAMMAD, OMAR
14924 BAINS CT.
BAKER, LA 70714                                         4007    12/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BURNEY, KATHLEEN URRESTI
4228 N. SANDCASTLE PL.
BOISE, ID 83703                                         4008    12/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KRON, NATHAN
215 I ST. NE 409
WASHINGTON, DC 20002                                    4009    12/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FORERO‐NINO, LINA DEL PILAR
278 LEGENDS DR.
LEWISVILLE, TX 75057                                    4010    12/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
OLIVER, PATRICIA DIANE
23434 ‐ 5 1/2 AVENUE
CORCORAN, CA 93212                                      4011    12/11/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BRENNER, DAVID M.
25920 WARRINGTON
DEARBORN HEIGHTS, MI 48127                              4012    12/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MYHAND, ANDRE L
8309 MAPLE TRAILS WAY
SACRAMENTO, CA 95828                                    4013    12/12/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ORBIS PLASTIC MOLDING DE MEXICO SA DE RL DE CV
C/O ORBIS CORPORATION
1055 CORPORATE CENTER DRIVE
OCONOMOWOC, WI 53066                                    4014    12/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00


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                                                                                                                                    Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                    Amount
ELEPHANT INSURANCE COMPANY
SAUNDERS, PATTERSON & MACK
PAUL R MACK
10620 TRADE RD
N CHESTERFIELD, VA 23236                              4015    12/13/2017      TK Holdings Inc.                       $250,000.00                                                                                    $250,000.00
CORBETT, T.L.
P.O. BOX 396
CANAL POINT, FL 33438‐0396                            4016    12/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
BRENNING, JANELLE ROSE
DAVID M. DUREE
312 SOUTH LINCOLN AVENUE
O'FALLON, IL 62269                                    4017    12/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
COLE PARMER INSTRUMENTS
625 E BUNKER COURT
VERNON HILLS, IL 60061‐1844                           4018    12/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
FIELDS, DELORES JAN
451 CONSTELLATION BLVD. APT. 502
LEAGUE CITY, TX 77573                                 4019    12/12/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
HARTMAN, DOYLE
500 N MAIN ST
MIDLAND, TX 79701                                     4020    12/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
COBB, HOWARD
1862 LYNN LEA RD
LOUISVILLE, KY 40216                                  4021    12/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
HARTMAN, MARGARET M
500 N MAIN ST
MIDLAND, TX 79701                                     4022    12/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
HARTMAN, DOYLE
500 N MAIN ST
MIDLAND, TX 79701                                     4023    12/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
SCOTT JR, RICHARD A
3229 KYLEMORE RD
TOLEDO, OH 43606                                      4024    12/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
HARTMAN, DOYLE
500 N MAIN ST
MIDLAND, TX 79701                                     4025    12/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
UPPER PENINSULA POWER COMPANY
STEPHEN R. SERRAINO
1002 HARBOR HILLS DRIVE
MARQUETTE, MI 49855                                   4026    12/13/2017      TK Holdings Inc.                         $1,041.31                                                                                      $1,041.31
TOMECEK, HOLLIE BETH
7 CALAMITY JANE
BELTON, TX 76513                                      4027    12/13/2017      TK Holdings Inc.                         $1,000.00                                  $0.00                                               $1,000.00
GARRETT, BETH
7 CALAMITY JANE
BELTON, TX 76513                                      4028    12/13/2017      TK Holdings Inc.                           $500.00                                                                                        $500.00
LOREN, DANIEL S.
99 NESBIT STREET
PUNTA GORDA, FL 33950                                 4029    12/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
THOMAS, MARY
PO BOX 1258
CLINTON, MD 20735                                     4030    12/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
MARQUEZ, JACLYN
33050 BLACK RANCH ROAD
WILDOMAR, CA 92595                                    4031    12/13/2017      TK Holdings Inc.                      $1,000,000.00                                                                                 $1,000,000.00


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                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
BECERRA, FRANCISCO
15433 PRICHARD STREET
LA PUENTE, CA 91744                                    4032    12/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BELL, ANGELA
208 E COMMERCIAL ST
PO BOX 305
WAVERLY, MO 64096                                      4033    12/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BERMAN, J
PO BOX 742294
BOYNTON BEACH, FL 33474                                4034    12/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LONG II, JOSEPH E
700 ARDSLEY RD
WINNETKA, IL 60093                                     4035    12/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
THOMAS, ERNEST
3660 EAST 400 ROAD
EL DORADO SPRINGS, MO 64744                            4036    12/13/2017      TK Holdings Inc.                        $12,000.00              $0.00                                                                 $12,000.00
PHILLIPS, PEGGY I.
60 DEE RD.
SOMERVILLE, TN 38068                                   4037    12/13/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
DELOE, CAROLYN
150 RIDGEWOOD DRIVE
GETTYSBURG, PA 17325                                   4038    12/13/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
UPPER PENINSULA POWER COMPANY
STEPHEN R. SERRAINO
1002 HARBOR HILLS DRIVE
MARQUETTE, MI 49855                                    4039    12/13/2017      TK Holdings Inc.                         $1,041.31                                                                                     $1,041.31
STJERNSTROM, MAGNUS
213 CRAFTSMAN DRIVE
DOTHAN, AL 36303                                       4040    12/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KIDWELL, CHRISTINA L.
5824 W. 117
CARKONDALE, KS 66414                                   4041    12/13/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LONG, TERESA L
700 ARDSLEY RD.
WINNETKA, IL 60093                                     4042    12/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
THORPE, TRISHA LUCILLE
456 BENTLEYVILLE ROAD
BENTLEYVILLE, PA 15314                                 4043    12/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CROMTRYCK INC
DON MOSNER
31980 INGLEWOODET
BEVERLY HILLS, MI 48025                                4044    12/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BETANCOURT, JEREMY
230 NW 61 AVE
MIAMI, FL 33126                                        4045    12/14/2017      TK Holdings Inc.                         $2,850.00              $0.00              $0.00                                               $2,850.00
DENNEMEYER
2 NORTH RIVERSIDE PLAZA SUITE 1500
CHICAGO, IL 60606                                      4046    12/14/2017      TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
GARROW, MARY
4684 W. LINDENTHAL LN
TUCSON, AZ 85742                                       4047    12/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BEILGARD, STEPHEN R.
BOX 18175
COFFMAN COVE, AK 99918                                 4048    12/14/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
STATE OF IDAHO ‐ ATTORNEY GENERAL'S OFFICE
CONSUMER PROTECTION DIVISION
P.O. BOX 83720
BOISE, ID 83720‐0010                                   4049    12/14/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
MALCHAR, VICTORIA
292 NEW LONDON AVE
WEST WARWICK, RI 02893                                 4050    12/14/2017      TK Holdings Inc.                        $22,472.63                                                                                   $22,472.63
ELMORE, ROYCE
68177 MOUNTAIN VIEW RD.
CATHEDRAL CITY, CA 92234                               4051    12/13/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
LANDSBERG, BARRY S.
610 23RD STREET
SANTA MONICA, CA 90402                                 4052    12/14/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
PETRICKO, DENISA
1190 ENCINITAS BLVD D112
ENCINITAS, CA 92024                                    4053    12/14/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
THE ROY FAMILY LIVING TRUST
PAUL ROY
8029 WATTERSON TR
LOUISVILLE, KY 40291                                   4054    12/15/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
PANTANO, RICHARD W
27 CHARLOTTE ST.
CARTERET, NJ 07008                                     4055    12/15/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
EARNEST, DAVID
8524 HORSESHOE BEND LN
OOLTEWAH, TN 37363                                     4056    12/14/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
LUGO, MIGUEL
1816 W UNION ST
ALLENTOWN, PA 18104                                    4057    12/15/2017      TK Holdings Inc.                         $6,712.96                                                                                    $6,712.96
DEVINE, ROBERT E.
49 KNIGHTLY ROAD
HADLEY, MA 01035                                       4058    12/15/2017      TK Holdings Inc.                          $357.84                                                                                       $357.84
GAMARRA, JAVIER
8938 S. ERIE AVE
TULSA, OK 74137                                        4059    12/15/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
GORELICK, LAURIE
4 WHITRIDGE ROAD
NATICK, MA 01760                                       4060    12/15/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
APRIA HEALTHCARE LLC
ATTN: LEGAL DEPARTMENT
26220 ENTERPRISE COURT
LAKE FOREST, CA 92630                                  4061    12/15/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
HILLERSON, ERIC
4334 LONE OAK RD. SE
SALEM, OR 97302                                        4062    12/17/2017      TK Holdings Inc.                                                                                                                          $0.00
VO, ANH
668 KENNETH LN
NORCROSS, GA 30093                                     4063    12/17/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
GARCIA, LOUIE
7328 VISTA DEL MONTE AVE #6
VAN NUYS, CA 91405                                     4064    12/17/2017      TK Holdings Inc.                                                $0.00                                                                     $0.00
BARTLETT, ROY
P.O. BOX 438
CASCADE, ID 83611‐0438                                 4065    12/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00



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                                                                                                                                              Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address                  Claim No. Claim Date          Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                              Amount                                                    Amount
DELAWARE DIVISION OF CORPORATIONS
ATTN: AMI JUDD
401 FEDERAL STREET, STE 4
DOVER, DE 19904                                                 4066    12/15/2017      TK Holdings Inc.                                                 $0.00                                                                      $0.00
CHEN, YOU
7966 CAMINO KIOSCO
SAN DIEGO, CA 92122                                             4067    12/17/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
DELAWARE DIVISION OF CORPORATIONS
ATTN: AMI JUDD
401 FEDERAL STREET, STE 4
DOVER, DE 19904                                                 4068    12/15/2017      TK Finance, LLC                                                  $0.00                                                                      $0.00
COMMONWEALTH OF VIRGINIA, EX REL. MARK R. HERRING, ATTORNEY
GENERAL
OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA
C/O STEPHEN JOHN SOVINSKY
202 NORTH 9TH STREET
RICHMOND, VA 23219                                              4069    12/18/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
CARBONELL, NELSON
9243 SW 215 TERRACE
CUTLER BAY, FL 33189                                            4070    12/18/2017      TK Holdings Inc.                             $0.00                                  $0.00                                                   $0.00
CAIN, WENDY J.
40 HILLTOP VIEW WAY
ELIZABETHTOWN, PA 17022                                         4071    12/18/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
WIDENER, CARLA
1001 WESTERN AVE
JOLIET, IL 60435                                                4072    12/18/2017      TK Holdings Inc.                         $5,000.00                                                                                      $5,000.00
JOHNSON, WADE L.
104 MOODY'S RUN
WILLIAMSBURG, VA 23185                                          4073    12/16/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
WRIGHT, DENISE R
535 NJ‐38
CHERRY HILL, NJ 08002                                           4074    12/16/2017      TK Holdings Inc.                                                                    $0.00               $0.00                               $0.00
DAVIS, MICHAEL J
51 SHONGUM ROAD
RANDOLPH, NJ 07869                                              4075    12/16/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
ARNOLD, JODY
12 HUNLEY LANE
GREENVILLE, SC 29605                                            4076    12/16/2017      TK Holdings Inc.                             $0.00               $0.00              $0.00               $0.00                               $0.00
CENTEIO, MARIA L
9 COREY AVENUE
BROCKTON, MA 02301                                              4077    12/18/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
MONTEIRO, OSCAR
9 COREY AVENUE
BROCKTON, MA 02301                                              4078    12/18/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
JOHNSON, LADONNA JEANNIE
2721 BUR OAK DR.
LITTLE ELM, TX 75068                                            4079    12/18/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
LMC INDUSTRIES, INC.
ATTN: KEITH A. SUELLENTROP
100 MANUFACTURERS DRIVE
ARNOLD, MO 63010                                                4080    12/13/2017      TK Holdings Inc.                             $0.00                                                      $0.00                               $0.00
TARLANO, SHARON LYNN
JOHN P. TARLANO
210 LONGMEAD DR
FAYETTEVILLE, GA 30215                                          4081    12/11/2017      TK Holdings Inc.                      $5,000,000.00                                                                                 $5,000,000.00


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                                                                                                                  Current General                                           Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                         Current Admin    Total Current
                  Creditor Name and Address           Claim No. Claim Date          Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                      Amount                                                    Amount
SAVAGE, DONALD P.
76856 DEL OAK WAY
SACRAMENTO, CA 95831                                    4082    12/13/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
HEWITT, JOSEPH A.
LAW OFFICE MATTHEW A CURIALE
124 VANNEAR AVE
GREENSBURG, PA 15601                                    4083    12/15/2017      TK Holdings Inc.                                                                    $0.00                                                   $0.00
PIERSON, SAMMANTHA AND COOPER HURLEY INJURY LAWYERS
JOHN COOPER
125 ST PAULS BLVD, STE. 510
NORFOLK, VA 23510                                       4084    12/15/2017      TK Holdings Inc.                      $1,000,000.00                                                                                 $1,000,000.00
MCCALL, DOREEN A.
212 HAMILTON STREET
HARRISBURG, PA 17102                                    4085    12/15/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
DELAWARE DIVISION OF CORPORATIONS
ATTN: AMI JUDD
401 FEDERAL STREET, STE 4
DOVER, DE 19904                                         4086    12/15/2017      Takata Americas                                                  $0.00                                                                      $0.00
HENDRICKS, BOBBY E
214 MISTLETOE LN
EASLEY, SC 29640                                        4087    12/15/2017      Takata Americas                              $0.00                                                                                          $0.00
ROUNTREE, CAROLYN LEE
1712 ROCHELLE DRIVE
DUNWOODY, GA 30338                                      4088    12/17/2017      TK Holdings Inc.                           $250.00                                                                                        $250.00
ROUNTREE, CAROLYN LEE
1712 ROCHELLE DRIVE
DUNWOODY, GA 30338                                      4089    12/17/2017      TK Holdings Inc.                           $250.00                                                                                        $250.00
WAITE, JESSICA LYNN
135 FLAMINGO DRIVE
SAINT LOUIS, MO 63123                                   4090    12/17/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
MCCOY, GREG
7406 REDSTART COURT
CHARLOTTE, NC 28269                                     4091    12/18/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
HASTINGS, SHARON
426 LOVERS LANE
HAMILTON, AL 35570                                      4092    12/16/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
JOSEPH, GISLAINE
P.O. BOX 600922
NORTH MIAMI BEACH, FL 33160                             4093    12/18/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
WIN, CHUCK C
4048 HILLTOP ROAD, UNIT B
ORCUTT, CA 93455                                        4094    12/18/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
LAVINE, PAUL
5285 S. JERICHO WAY
CENTENNIAL, CO 80015                                    4095    12/18/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
LEUNG, VIVIAN
15122 SHINING STAR LN.
SAN LEANDRO, CA 94579                                   4096    12/18/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
BELL, LAKEITHA
1808 BARTON SPRINGS DR
LITTLE ELM, TX 75068                                    4097    12/18/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
BELL, LAKEITHA
1808 BARTON SPRINGS DR
LITTLE ELM, TX 75068                                    4098    12/18/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00



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                                                                                                                             Current General                                         Current 503(b)(9)
                                                                                                                                                Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address                Claim No. Claim Date              Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                                 Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                 Amount                                                  Amount
U.S. CUSTOMS AND BORDER PROTECTION
ATTN: REVENUE DIVISION, BANKRUPTCY TEAM
6650 TELECOM DR., SUITE 100
INDIANAPOLIS, IN 46278                                         4099    12/18/2017   Takata Protection Systems Inc.                                         $0.00                                                                     $0.00
SCHNEIDER, DANIEL JAMES
1611 NORMAN AVENUE
SAN JOSE, CA 95126                                             4100    12/18/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
HAMPTON, ANDRAE
45 YOUTZ AVE.
AKRON, OH 44301                                                4101    12/18/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
COX, WENDY
5217 HARTSON
KYLE, TX 78640                                                 4102    12/19/2017          TK Holdings Inc.                        $17,420.00                                                                                   $17,420.00
VITE, JEAN
14717 SAN MARSALA COURT
TAMPA, FL 33626                                                4103    12/18/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
D&D MACHINERY MOVERS INC.
29469 GROESBECK HWY
ROSEVILLE, MI 48066                                            4104    12/18/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
COX, WENDY
5217 HARTSON
KYLE, TX 78640                                                 4105    12/19/2017          TK Holdings Inc.                        $21,360.00                                                                                   $21,360.00
U.S. CUSTOMS AND BORDER PROTECTION
ATTN: REVENUE DIVISION, BANKRUPTCY TEAM
6650 TELECOM DR., SUITE 100
INDIANAPOLIS, IN 46278                                         4106    12/18/2017          TK Holdings Inc.                             $0.00              $0.00                                                                     $0.00
STATE OF HAWAII, BY ITS OFFICE OF CONSUMER PROTECTION
THOMAS G. MACAULEY, ESQ.
MACAULEY LLC
300 DELAWARE AVENUE, SUITE 760
WILMINGTON, DE 19801                                           4107    12/19/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
MARTIN, DEBRA J
9229 VILLAGE GLEN DR
UNIT 135
SAN DIEGO, CA 92123                                            4108    12/17/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
COHEN, ANDREW TODD
PO BOX 1253
MI WUK VILLAGE, CA 95346‐1253                                  4109    12/18/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
GOVERNMENT OF THE UNITED STATES VIRGIN ISLANDS
MOTLEY RICE LLC
ATTN: LINDA SINGER
401 9TH ST. NW
SUITE 1001
WASHINGTON, DC 20004                                           4110    12/18/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
WOLFINGER, RICHARD J.
19388 MICKEL LANE
YORBA LINDA, CA 92886‐3531                                     4111    12/18/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
ZANGER, JOHN
764 TEAL ST.
SHELBYVILLE, IN 46176                                          4112    12/18/2017          TK Holdings Inc.                             $0.00              $0.00                                                                     $0.00
OLOUGHLIN, JOSEPH J
908 SALEM DR
HURON, OH 44839                                                4113    12/18/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00




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                                                                                                                            Current General                                         Current 503(b)(9)
                                                                                                                                               Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address                   Claim No. Claim Date          Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                Amount                                                  Amount
ROMER, ERIC R.
7348 N. RIDGE BLVD
#16C
CHICAGO, IL 60645                                                 4114    12/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
PAYNE, PATRICIA A.
P.O. BOX 542
ANNISTON, AL 30202                                                4115    12/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
HAYS, ANTOINETTE
25836 LAKE SHORE LN
MORENO VALLEY, CA 92551‐1650                                      4116    12/18/2017      TK Holdings Inc.                        $20,000.00                                                                                   $20,000.00
STATE OF WISCONSIN
WISCONSIN DEPARTMENT OF JUSTICE
POST OFFICE BOX 7857
17 WEST MAIN STREET
MADISON, WI 53707‐7857                                            4117    12/19/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
HENNEKE, GARY
4536 54TH SW
SEATTLE, WA 98116                                                 4118    12/19/2017      TK Holdings Inc.                                                $0.00                                                                     $0.00
STATE OF OHIO ‐ OFFICE OF OHIO ATTORNEY GENERAL
CONSUMER PROTECTION SECTION
30 E. BROAD ST., 14TH FLOOR
COLUMBUS, OH 43215                                                4119    12/19/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
DAGNENICA, DONNA
365 GARDEN EDGE POINTE # 119
FERN PARK, FL 32730                                               4120    12/18/2017      TK Holdings Inc.                                                                                      $0.00                               $0.00
TORRES, JANNET
11601 NELSON ST
LOMA LINDA, CA 92354                                              4121    12/18/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
STATE OF MISSOURI, EX REL. JOSHUA D. HAWLEY, ATTORNEY GENERAL
MICHAEL SCHWALBERT
P.O. BOX 861
SAINT LOUIS, MO 63188                                             4122    12/19/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
HURLEY, MICHAEL
FREDERICK | GANDERTON LLP
5350 S. ROSLYN ST.
SUITE 430
GREENWOOD VILLAGE, CO 80111                                       4123    12/19/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
VAZQUEZ, ADRIANA C
PO BOX 2745
CATHEDRAL CITY, CA 92235                                          4124    12/19/2017      TK Holdings Inc.                         $5,000.00                                                                                    $5,000.00
WATSON, KALI
820 CEDARWOOD DR.
LA HABRA, CA 90631                                                4125    12/19/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
OLMO, MICHAEL
191 BROADWAY APT. 3D
DOBBS FERRY, NY 10522                                             4126    12/19/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
STATE OF CONNECTICUT
CONSUMER PROTECTION DEPT.
OFFICE OF THE ATTORNEY GENERAL
BRENDAN T. FLYNN, AAG
110 SHERMAN STREET
HARTFORD, CT 06105                                                4127    12/20/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
DONOGHUE, DENNIS
PO BOX 285
SAG HARBOR, NY 11963                                              4128    12/19/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00


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                                                                                                                         Current General                                            Current 503(b)(9)
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                   Creditor Name and Address                 Claim No. Claim Date          Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                             Amount                                                     Amount
CHODYNIECKI, STEPHANIE
10312 NANKA RD.
LOUISVILLE, KY 40272                                           4129    12/19/2017      TK Holdings Inc.                                                  $0.00                                                                      $0.00
CLARK, ANDREW MYRL
3342 S. LLOYD VISTA
TUCSON, AZ 85713                                               4130    12/19/2017      TK Holdings Inc.                            $500.00                                                                                        $500.00
BALIN, LESYA
601 DOGWOOD DRIVE
DOWNINGTOWN, PA 19335                                          4131    12/19/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
HUGHLEY, BILLY J
2516 BURNS STREET SE, UNIT 203
WASHINGTON, DC 20020                                           4132    12/18/2017      TK Holdings Inc.                              $0.00                                  $0.00                                                   $0.00
OFFICE OF THE NEBRASKA ATTORNEY GENERAL
2115 STATE CAPITOL BUILDING
LINCOLN, NE 68508                                              4133    12/20/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
THE STATE OF UTAH, BY AND THROUGH THE DIVISION OF CONSUMER
PROTECTION
UT AG, WHITE COLLAR & COMM. ENFORCEMENT
PO BOX 140872
SALT LAKE CITY, UT 84114‐0972                                  4134    12/19/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
WHEELER INDUSTRIES, INC.
RANDALL DANSKIN, P.S.
ATTN: J. TODD TAYLOR
601 W. RIVERSIDE AVE, SUITE 1500
SPOKANE, WA 99201                                              4135    12/19/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
US DEPARTMENT OF TRANSPORTATION, NATIONAL HIGHWAY TRAFFIC
SAFETY ADMINISTRATION
KERRY KOLODZIEJ, SENIOR TRIAL ATTORNEY
1200 NEW JERSEY AVE. SE, W41‐221
WASHINGTON, DC 20590                                           4136    12/19/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
STATE OF KANSAS, EX REL. DEREK SCHMIDT, ATTORNEY GENERAL
OFFICE OF THE KANSAS ATTORNEY GENERAL
120 SW 10TH AVE., 2ND FLOOR
TOPEKA, KS 66612                                               4137    12/20/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
US DEPARTMENT OF TRANSPORTATION, NATIONAL HIGHWAY TRAFFIC
SAFETY ADMINISTRATION
KERRY KOLODZIEJ, SENIOR TRIAL ATTORNEY
1200 NEW JERSEY AVE. SE, W41‐221
WASHINGTON, DC 20590                                           4138    12/19/2017      TK Holdings Inc.                      $50,000,000.00                                                                                $50,000,000.00
AHERN, AARAN CURTIS
NO ADDRESS PROVIDED
                                                               4139    12/18/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
STATE OF NEW JERSEY
NJ DEPARTMENT OF LAW AND PUBLIC SAFETY
DIVISION OF LAW
PATRICIA SCHIRIPO, DAG
124 HALSEY STREET, 5TH FLOOR
NEWARK, NJ 07101                                               4140    12/20/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
WASHINGTON STATE ATTORNEY GENERAL'S OFFICE
CONSUMER PROTECTION DIVISION
800 FIFTH AVENUE, STE. 2000, TB‐14
SEATTLE, WA 98104‐3188                                         4141    12/20/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00




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                                                                                                                              Current General                                          Current 503(b)(9)
                                                                                                                                                 Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address                      Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                  Amount                                                   Amount
OFFICE OF THE ATTORNEY GENERAL, STATE OF FLORIDA, DEPARTMENT OF
LEGAL AFFAIRS
C/O SCOTT HUNT
107 WEST GAINES ST
TALLAHASSEE, FL 32399                                               4142    12/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
THE PEOPLE OF THE STATE OF NEW YORK
OFFICE OF THE NEW YORK STATE ATTORNEY GENERAL
CONSUMER FRAUDS & PROTECTION BUREAU
120 BROADWAY
THIRD FLOOR
NEW YORK, NY 10271                                                  4143    12/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ALLEVA, MICHAEL
226 STONY FORD DRIVE
PONTE VEDRA, FL 32081                                               4144    12/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SWANSON, TERRIE S
1459 LEE PEARSON RD
GRANITE FALLS, NC 28630                                             4145    12/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WILLIAMS, THERESA P.
21 WOODLAND LANE
SAINT MATTHEWS, SC 29135                                            4146    12/20/2017      TK Holdings Inc.                         $1,500.00                                                                                     $1,500.00
THE DISTRICT OF COLUMBIA
OFFICE OF THE ATTORNEY GENERAL FOR D.C.
C/O GARY TAN
441 FOURTH STREET, NW, SUITE 600 SOUTH
WASHINGTON, DC 20001                                                4147    12/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
STONE, PHYLLIS
85 HORSLEY DRIVE
ODENVILLE, AL 35120                                                 4148    12/21/2017      TK Holdings Inc.                         $8,000.00                                                                                     $8,000.00
THERIAULT, JENNIFER
4304 BABCOCK AVENUE #301
STUDIO CITY, CA 91604                                               4149    12/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SORRENTINO, SUZETTE
1418 WILLOWTREE COURT
SAN JOSE, CA 95118                                                  4150    12/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
COLE PARMER INSTRUMENTS
625 E BUNKER COURT
VERNON HILLS, IL 60061‐1844                                         4151    12/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RIVERA RIVERA, LUZ M
PO BOX 654
LAS MARIAS, PR 00670                                                4152    12/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
STATE OF ALABAMA, ALABAMA ATTORNEY GENERAL'S OFFICE
TINA COKER HAMMONDS
CONSUMER INTEREST DIVISION
501 WASHINGTON AVENUE
MONTGOMERY, AL 36130                                                4153    12/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SHELIA R. HOLMES WITHOUT PREJUDICE UCC 1‐207/1‐308
313 OAK GROVE CHURCH RD.
PEARL, MS 39208                                                     4154    12/19/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
JOHNSON, JUDY A
PO BOX 7618
BEND, OR 97708                                                      4155    12/20/2017      TK Holdings Inc.                         $2,000.00                                                                                     $2,000.00
MICHIGAN DEPARTMENT OF ENVIRONMENTAL QUALITY
ENRA DIVISION
MEGEN E. MILLER (P78901), ASST ATTORNEY GENERAL
P.O. BOX 30755
LANSING, MI 48909                                                   4156    12/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                        Current General                                          Current 503(b)(9)
                                                                                                                                           Current Priority   Current Secured                         Current Admin    Total Current
                  Creditor Name and Address                 Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                            Amount                                                   Amount
NOEL, JENNIFER
8038 MILLERGROVE DRIVE
WHITTIER, CA 90606                                            4157    12/21/2017      TK Holdings Inc.                          $440.00               $0.00                                                                    $440.00
KEATING, KENNETH J.
3111 S. 9TH AVE
ARCADIA, CA 91006                                             4158    12/18/2017      TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
SAMMANTHA PIERSON AND COOPER HURLEY INJURY LAWYERS
JOHN COOPER
125 ST PAULS BLVD, STE. 510
NORFOLK, VA 23510                                             4159    12/18/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FRAZIER, ANTONIO
25836 LAKE SHORE LN
MORENO VALLEY, CA 92551‐1650                                  4160    12/18/2017      TK Holdings Inc.                        $20,000.00                                                                                    $20,000.00
FASCHAN, EDWARD
5510 W DRY CREEK CT
MARANA, AZ 85658                                              4161    12/19/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
WOLF, CARMEIN M.
PO BOX 7586
WESTLAKE VILLAGE, CA 91359                                    4162    12/19/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
OFFICE OF THE ATTORNEY GENERAL OF THE STATE OF ILLINOIS,
CONSUMER FRAUD BUREAU
500 SOUTH SECOND ST.
SPRINGFIELD, IL 62706                                         4163    12/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MUHAMMAD, OMAR
14924 BAINS CT.
BAKER, LA 70714                                               4164    12/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RYWAK, WALTER Z.
150 S. OAK PARK AVE., #408
OAK PARK, IL 60302                                            4165    12/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MICHIGAN ATTORNEY GENERAL BILL SCHUETTE, ON BEHALF OF THE
PEOPLE OF THE STATE OF MICHIGAN
CORPORATE OVERSIGHT DIVISION
PO BOX 30755
LANSING, MI 48909                                             4166    12/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
THE PEOPLE OF THE STATE OF CALIFORNIA
C/O CA ATTORNEY GENERAL (MICHELLE BURKART)
300 S. SPRING ST., SUITE 1702
LOS ANGELES, CA 90013                                         4167    12/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
COMMONWEALTH OF PA, OFFICE OF ATTORNEY GENERAL, BUREAU OF
CONSUMER PROTECTION
15TH FLOOR, STRAWBERRY SQUARE
HARRISBURG, PA 17120                                          4168    12/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
YANOWSKY, THOMAS NICHOLAS
7 BRAINTREE COMMON
FEASTERVILLE TREVOSE, PA 19053‐1532                           4169    12/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
YANOWSKY, VICKI L.
7 BRAINTREE COMMON
FEASTERVILLE TREVOSE, PA 19053                                4170    12/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MELTON, MARY
23 LONGMEADOW DRIVE
NEWTOWN, PA 18940                                             4171    12/21/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MEIER, TYLER J.
POWER ROGERS & SMITH, LLP
BRIAN LACIEN
70 W. MADISON STREET, 55TH FLOOR
CHICAGO, IL 60602                                             4172    12/21/2017      TK Finance, LLC                              $0.00                                                                                         $0.00
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                                                                                                                          Current General                                         Current 503(b)(9)
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                   Creditor Name and Address        Claim No. Claim Date                   Debtor                         Unsecured Claim                                          Admin Priority
                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                              Amount                                                  Amount
HOIBY, JORDAN ALLAN
11336 OLIVE STREET NW
COON RAPIDS, MN 55448                                 4173    12/21/2017              TK Holdings Inc.                            $250.00                                                                                       $250.00
STATE OF IOWA
OFFICE OF THE ATTORNEY GENERAL OF IOWA
CONSUMER PROTECTION DIVISION
1305 E WALNUT ST.
DES MOINES, IA 50319                                  4174    12/21/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
WHEATLEY III, RUSSELL E
4887 CASA GRANDE DR
AMMON, ID 83406                                       4175    12/21/2017              TK Holdings Inc.                           $5,600.00                                                                                    $5,600.00
CONVERGEPOINT INC
AJU KOSHY
1011 HIGHWAY 6 SOUTH
SUITE 105
HOUSTON, TX 77077                                     4176    12/20/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
MEIER, TYLER J.
POWER ROGERS & SMITH, LLP
BRIAN LACIEN
70 W. MADISON STREET, 55TH FLOOR
CHICAGO, IL 60602                                     4177    12/21/2017            Interiors in Flight Inc.                         $0.00                                                                                        $0.00
TITTLE, TAWANA
2637 W RANDOL MILL RD APT B
ARLINGTON, TX 76012                                   4178    12/20/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00
MEIER, TYLER J.
POWER ROGERS & SMITH, LLP
BRIAN LACIEN
70 W. MADISON STREET, 55TH FLOOR
CHICAGO, IL 60602                                     4179    12/21/2017              Takata Americas                                $0.00                                                                                        $0.00
MEIER, TYLER J.
POWER ROGERS & SMITH, LLP
BRIAN LACIEN
70 W. MADISON STREET, 55TH FLOOR
CHICAGO, IL 60602                                     4180    12/21/2017               TK Mexico LLC                                 $0.00                                                                                        $0.00
MEIER, TYLER J.
POWER ROGERS & SMITH, LLP
BRIAN LACIEN
70 W. MADISON STREET, 55TH FLOOR
CHICAGO, IL 60602                                     4181    12/21/2017                TK China, LLC                                $0.00                                                                                        $0.00
MEIER, TYLER J.
POWER ROGERS & SMITH, LLP
BRIAN LACIEN
70 W. MADISON STREET, 55TH FLOOR
CHICAGO, IL 60602                                     4182    12/21/2017               TK Mexico Inc.                                $0.00                                                                                        $0.00
MEIER, TYLER J.
POWER ROGERS & SMITH, LLP
BRIAN LACIEN
70 W. MADISON STREET, 55TH FLOOR
CHICAGO, IL 60602                                     4183    12/21/2017   TK Holdings de Mexico S. de R.L. de C.V.                  $0.00                                                                                        $0.00
JOHNSON, TANGYNIKA
320 WOODSWORTH RD
HENDERSON, NC 27537                                   4184    12/21/2017              TK Holdings Inc.                               $0.00                                                                                        $0.00




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                                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                         Amount                                                    Amount
MEIER, TYLER J.
POWER ROGERS & SMITH, LLP
BRIAN LACIEN
70 W. MADISON STREET, 55TH FLOOR
CHICAGO, IL 60602                                                 4185    12/21/2017   Industrias Irvin de Mexico, S.A. de C.V.          $10,000,000.00                                                                               $10,000,000.00
AHRENS, JAMES FRANCIS
#201
8536 KERN CANYON ROAD
BAKERSFIELD, CA 93306                                             4186    12/21/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
MEIER, TYLER J.
POWER ROGERS & SMITH, LLP
BRIAN LACIEN
70 W. MADISON STREET, 55TH FLOOR
CHICAGO, IL 60602                                                 4187    12/21/2017       Takata de Mexico, S.A. de C.V.                $10,000,000.00                                                                               $10,000,000.00
KIM, YOUMEE
14107 DEANNA CT
GARDENA, CA 90247                                                 4188    12/21/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
MEIER, TYLER J.
POWER ROGERS & SMITH, LLP
BRIAN LACIEN
70 W. MADISON STREET, 55TH FLOOR
CHICAGO, IL 60602                                                 4189    12/21/2017              TK Holdings Inc.                       $10,000,000.00                                                                               $10,000,000.00
FERRY, SCOTT
2 RALEIGH PL
CHARLESTON, WV 25313‐2604                                         4190    12/21/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
WHEELS, INC.
ATTN: JAMIE SHAFFER
666 GARLAND PLACE
DES PLAINES, IL 60016                                             4191    12/21/2017              TK Holdings Inc.                         $329,386.15                                                                                   $329,386.15
CARRUTHERS, ROBERT
400 CAPITAL CIR. SE, STE.18207
TALLAHASSEE, FL 32301                                             4192    12/22/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
MEIER, TYLER J.
POWER ROGERS & SMITH, LLP
BRIAN LACIEN
70 W. MADISON STREET, 55TH FLOOR
CHICAGO, IL 60602                                                 4193    12/21/2017       Takata Protection Systems Inc.                        $0.00                                                                                         $0.00
HARVIL, TRACY
307 W. EL ALBA WAY
CHANDLER, AZ 85225                                                4194    12/22/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
TAC INSUMOS INDUSTRIALES
AVE. INOVACION 2615
IMPULSO
CHIHUAHUA, CHIHU 31183
MEXICO                                                            4195    12/21/2017       Takata de Mexico, S.A. de C.V.                        $0.00                                                                                         $0.00
STATE OF GEORGIA, IN THE PUBLIC INTEREST, BY AND THROUGH THE
ATTORNEY GENERAL OF THE STATE OF GEORGI
GEORGIA DEPARTMENT OF LAW
C/O LAUREN VILLNOW, ASST ATTORNEY GENERAL
2 MARTIN LUTHER KING JR. DRIVE, SE
ATLANTA, GA 30334                                                 4196    12/22/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
CONSUMER PROTECTION DIVISION, OFFICE OF THE ATTORNEY GENERAL,
STATE OF MARYLAND
ELIZABETH J. STERN
200 ST. PAUL PLACE, 16TH FLOOR
BALTIMORE, MD 21202                                               4197    12/22/2017              TK Holdings Inc.                               $0.00                                                                                         $0.00
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                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                              Amount                                                    Amount
STATE OF ARKANSAS, BY AND THROUGH THE ATTORNEY GENERAL'S
OFFICE
PUBLIC PROTECTION DEPARTMENT
323 CENTER ST., STE. 200
LITTLE ROCK, AR 72201                                           4198    12/20/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
LEVI, MARC
5549 STANFORD STREET
VENTURA, CA 93003                                               4199    12/20/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
THERIAULT, JENNIFER
4304 BABCOCK AVE, #301
STUDIO CITY, CA 91604                                           4200    12/21/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
WISELY, MARY CATHERINE
8863 HOLLYWOOD HILLS RD.
LOS ANGELES, CA 90046                                           4201    12/20/2017      TK Holdings Inc.                            $107.00                                                                                       $107.00
HENRY, ROBERTA ANNE
6208 BEVERLY CT.
HUNTINGTON, WV 25705                                            4202    12/21/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
TAYLOR, JOAN
120 SEVEN OAK RD
APT A
LELAND, MS 38756                                                4203    12/21/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
PATTISON, ABBY
PO BOX 1043
WINTHROP, WA 98862                                              4204    12/21/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
ARRINGTON, VERONICA L.
8564 BOBOLINK AVE.
CINCINNATI, OH 45231                                            4205    12/22/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
WHEELS LT
ATTN: JAMIE SHAFFER
666 GARLAND PLACE
DES PLAINES, IL 60016                                           4206    12/22/2017      TK Holdings Inc.                      $44,960,902.18                                                                               $44,960,902.18
STERNLICHT, PHYLLIS
5778 CRYSTAL SHORES DRIVE, APT 204
BOYNTON BEACH, FL 33437                                         4207    12/21/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
COGSWELL, PATRICIA NEWELL
3546 MIRANO TERRACE
NEW SMYRNA BEACH, FL 32168                                      4208    12/21/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
OFFICE OF THE MAINE ATTORNEY GENERAL, CONSUMER PROTECTION
DIVISION
6 STATE HOUSE STATION
AUGUSTA, ME 04333                                               4209    12/21/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
SOUTH DAKOTA ATTORNEY GENERAL’S OFFICE, CONSUMER PROTECTION
DIVISION
1302 E. HIGHWAY 14, STE. 1
PIERRE, SD 57501                                                4210    12/21/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
STATE OF ALABAMA, ALABAMA ATTORNEY GENERAL'S OFFICE
TINA COKER HAMMONDS
CONSUMER INTEREST DIVISION
501 WASHINGTON AVENUE
MONTGOMERY, AL 36130                                            4211    12/21/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00
NORTH CAROLINA DEPARTMENT OF JUSTICE
CONSUMER PROTECTION DIVISION
ATTN: TORREY DIXON
P.O. BOX 629
RALEIGH, NC 27610                                               4212    12/21/2017      TK Holdings Inc.                              $0.00                                                                                         $0.00


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                                                                                                                                              Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                              Amount                                                  Amount
NORTH CAROLINA DEPARTMENT OF JUSTICE
CONSUMER PROTECTION DIVISION
ATTN: TORREY DIXON
P.O. BOX 629
RALEIGH, NC 27602                                               4213    12/21/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
OLOKUN, TAIWO A.
1310 E CHAPMAN AV #124
FULLERTON, CA 92831                                             4214    12/21/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
COMMONWEALTH OF PUERTO RICO
THE LAW OFFICES OF ANDRES W. LOPEZ, PSC
ANDRES W. LOPEZ
PO BOX 13909
SAN JUAN, PR 00908                                              4215    12/21/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
RAY, BRIAN
73 BAILEYS COURT
HAVERHILL, MA 01832                                             4216    12/21/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
GIBSON, KENNETH M.
3027 HORNE‐TWITTY RD.
HEATH SPRINGS, SC 29058                                         4217    12/22/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
ROGERS, TODD A.
1304 MANOR DR.
DECATUR, IL 62526                                               4218    12/22/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
STATE OF INDIANA
OFFICE OF THE INDIANA ATTORNEY GENERAL
302 W. WASHINGTON ST.
IGCS‐5TH FLOOR
INDIANAPOLIS, IN 46204                                          4219    12/21/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
STATE OF INDIANA
OFFICE OF THE INDIANA ATTORNEY GENERAL
302 W. WASHINGTON ST.
IGCS‐5TH FLOOR
INDIANAPOLIS, IN 46204                                          4220    12/21/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
OFFICE OF THE NEVADA ATTORNEY GENERAL BUREAU OF CONSUMER
PROTECTION
100 N. CARSON ST.
CARSON CITY, NV 89701‐4717                                      4221    12/20/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
STATE OF SOUTH CAROLINA, OFFICE OF THE ATTORNEY GENERAL
ATTN: JARED LIBET
POST OFFICE BOX 11549
COLUMBIA, SC 29211                                              4222    12/21/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
MISSOURI DEPARTMENT OF NATURAL RESOURCES
OFFICE OF THE ATTORNEY GENERAL
ATTN: MARY LONG
PO BOX 861
ST. LOUIS, MI 63188                                             4223    12/21/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
ARIZONA ATTORNEY GENERAL'S OFFICE‐CIVIL LITIGATION DIVISION
2005 N CENTRAL AVE
PHOENIX, AZ 85004                                               4224    12/21/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
HAMILTON, RALPH E.
49 FOURTH ST
SOUTH SHORE, KY 41175                                           4225    12/21/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
TENNESSEE DEPARTMENT OF COMMERCE AND INSURANCE‐DIVISION OF
CONSUMER AFFAIRS
C/O TN ATTORNEY GENERAL, BANKRUPTCY DIVISION
PO BOX 20207
NASHVILLE, TN 37202‐0207                                        4226    12/21/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
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                                                                                                                                                 Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                 Amount                                                   Amount
W.W. GRAINGER, INC.
7300 N. MELVINA AVE
MWX822879147593
NILES, IL 60714                                                 4227    12/21/2017       TK Holdings Inc.                               $0.00                                 $0.00               $0.00                               $0.00
ENTERPRISE PRODUCTS OPERATING LLC
ATTN: JAMIE SHAFFER
666 GARLAND PLACE
DES PLAINES, IL 60016                                           4228    12/22/2017       TK Holdings Inc.                         $552,696.77                                                                                   $552,696.77
THE PEOPLE OF THE STATE OF CALIFORNIA
C/O CA ATTORNEY GENERAL (MICHELLE BURKART)
300 S. SPRING ST., SUITE 1702
LOS ANGELES, CA 90013                                           4229    12/21/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
BLACK, REGINALD
2549 N LARAMIE AVE
CHICAGO, IL 60639                                               4230    12/22/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
UNITED STATES ON BEHALF OF U.S. EPA
DEPARTMENT OF JUSTICE/ENRD/EES
C/O ROBERT W. DARNELL
P.O. BOX 7611, BEN FRANKLIN STATION
WASHINGTON, DC 20044                                            4231    12/22/2017       Takata Americas                                $0.00                                                                                         $0.00
RENTOKIL NORTH AMERICA, INC.
ATTN: JAMIE SHAFFER
666 GARLAND PLACE
DES PLAINES, IL 60016                                           4232    12/22/2017       TK Holdings Inc.                         $418,835.49                                                                                   $418,835.49
LANE, KEVIN
455 GAINES CIRCLE
COTTAGEVILLE, SC 29435                                          4233    12/22/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
OFFICE OF THE KENTUCKY ATTORNEY GENERAL‐CONSUMER PROTECTION
DIVISION
1024 CAPITAL CENTER DRIVE
SUITE 200
FRANKFORT, KY 40601                                             4234    12/22/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
UNITED STATES ON BEHALF OF U.S. EPA
C/O ROBERT W. DARNELL
P.O. BOX 7611, BEN FRANKLIN STATION
WASHINGTON, DC 20044                                            4235    12/22/2017     Interiors in Flight Inc.                         $0.00                                                                                         $0.00
STATE OF OKLAHOMA BY AND THROUGH THE OKLAHOMA ATTORNEY
GENERAL
ATTN: JULIE BAYS/CONSUMER PROTECTION UNIT
313 NE 21ST STREET
OKLAHOMA CITY, OK 73105                                         4236    12/22/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
OFFICE OF THE MINNESOTA ATTORNEY GENERAL
FRANCES L. KERN
445 MINNESOTA STREET, SUITE 1200
ST. PAUL, MN 55101                                              4237    12/22/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
ESTATE OF DAVID LEE MANNING
ALAN W MANNING
BOX 444
CULBERTSON, MT 59218                                            4238    12/22/2017       Takata Americas                                $0.00                                                                                         $0.00
WOLFF, JILL M
404 ANNAQUATUCKET RD
NORTH KINGSTOWN, RI 02852                                       4239    12/22/2017       TK Holdings Inc.                               $0.00                                                                                         $0.00
MANNING, ALAN WEST
BOX 444
CULBERTSON, MT 59218                                            4240    12/22/2017       Takata Americas                                $0.00                                                                                         $0.00


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                                                                                                                                               Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                               Amount                                                  Amount
MANNING, ALAN WEST
BOX 444
CULBERTSON, MT 59218                                             4241    12/22/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
STATE OF LOUISIANA IN THE PUBLIC INTEREST BY AND THROUGH THE
LOUISIANA ATTORNEY GENERAL
LOUISIANA DEPARTMENT OF JUSTICE
STACIE LAMBERT DEBLIEUX, ASST ATTORNEY GENERAL
1885 N. 3RD ST
BATON ROUGE, LA 70802                                            4242    12/22/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
STATE OF OREGON
CAROLYN G. WADE
1162 COURT STREET NE
SALEM, OR 97301                                                  4243    12/22/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
INTERDONATO, ANDREW P.
2225 BRANCH AVENUE, S.E.
WASHINGTON, DC 20020‐3339                                        4244    12/22/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
HALPIN, KEVIN
1617 STONEHENGE WAY
PETALUMA, CA 94954                                               4245    12/22/2017      TK Holdings Inc.                         $2,800.00              $0.00                                                                 $2,800.00
CHAN, CHUNG
20465 E. WALNUT DRIVE NORTH
CITY OF INDUSTRY, CA 91789                                       4246    12/22/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
KATOGIR, RENE
1200 COUNTRY CLUB DRIVE
UNIT 3205
LARGO, FL 33771                                                  4247    12/22/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
VIS RACING SPORTS INC. C/O CHUNG CHAN
20465 E. WALNUT DRIVE NORTH
CITY OF INDUSTRY, CA 91789                                       4248    12/22/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
JAMES, PAULETTE
114 CREEK BEND ROAD
DOVER, DE 19904                                                  4249    12/22/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
WANG, DAVID
P.O. BOX 643142
LOS ANGELES, CA 90064                                            4250    12/23/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
REEVES, MACHELLE
5009 S. COUNTY RD. 1138
MIDLAND, TX 79706                                                4251    12/23/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
MCCRACKEN, JASON
NO ADDRESS ON FILE
                                                                 4252    12/23/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
PRICE, DAWN J.
10912 SHALLOW CREEK DRIVE
GREAT FALLS, VA 22066                                            4253    12/23/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
MCCRACKEN, JASON
NO ADDRESS ON FILE
                                                                 4254    12/23/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
MCCRACKEN, JASON V
NO ADDRESS ON FILE
                                                                 4255    12/23/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
LOWERY, STEPHANIE
C/O JOHN P. BLACKBURN, ESQ.
100 W 4TH ST
YANKTON, SD 57078                                                4256    12/23/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00



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                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
FAZZARI, RICHARD D
2015 AUSTIN PL
RICHLAND, WA 99354                                     4257    12/23/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
DEESE, JO ANN
1119 WASHINGTON DR.
MOODY, AL 35004                                        4258    12/23/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SNIDER, DIANA M
166 SW LANCELOT LANE
MAYO, FL 32066‐4076                                    4259    12/23/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
NGUYEN, NGOC
517 VIDALIA CT.
HASLET, TX 76052                                       4260    12/23/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WILSON, STEPHEN
624 DUNBERRY DRIVE
ARNOLD, MD 21012                                       4261    12/24/2017      TK Holdings Inc.                          $400.00                                                                                        $400.00
STEWART, MICO
6775 MERRYDALE AVENUE
BATON ROUGE, LA 70812                                  4262    12/24/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LANDREVILLE, STEVE
884 DOUGLASS ST
SAN FRANCISCO, CA 94114                                4263    12/24/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
MITCHELL, CHRISTOPHER
PO BOX 128
LA WARD, TX 77970                                      4264    12/24/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
SKON, MERRIE CLAIRE
5809 SOLTERRA PL NE
ALBUQUERQUE, NM 87111                                  4265    12/24/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RIVERA, DAVID
6622 E COOPERSTOWN DR
TUCSON, AZ 85756                                       4266    12/24/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SCHWARTZMAN, DON
8812 N.W. 56TH STREET
CORAL SPRINGS, FL 33067                                4267    12/24/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BALOGUN, SHENEKA T.
1926 BOHEMIA DRIVE
CORDOVA, TN 38016                                      4268    12/24/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GURDON, CHARLES M
405 GRENFELL AVE
VIRGINIA BEACH, VA 23462                               4269    12/24/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CORBITT, CISSY
801 E. FERGUSON AVE
VISALIA, CA 93292                                      4270    12/24/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HERBST, RICH
711 DUNMOORE LN
WEST CHESTER, PA 19380                                 4271    12/25/2017      TK Holdings Inc.                                                $0.00                                  $0.00                               $0.00
CHOUAIB, HOUSSAM
2112 MESA VERDE DR
MILPITAS, CA 95035                                     4272    12/25/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MONTGOMERY, CRYSTAL
3589 LUDGATE ROAD
CLEVELAND, OH 44120                                    4273    12/25/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
PAVILONIS, STEPHANIE
205 ARSENAL ST #397
WATERTOWN, MA 02472                                    4274    12/25/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
STUBBS, LAUREL
5979 S 2825 W
ROY, UT 84067                                         4275    12/25/2017      TK Holdings Inc.                         $3,791.70                                                                                     $3,791.70
MARCELIN, ROOSEVELT
6008 DOWNING STREET
PARLIN, NJ 08859                                      4276    12/25/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
CABRERA, JOSE
112 LAKE NANUET DRIVE
NANUET, NY 10954                                      4277    12/25/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PERRELLI, LOUIS
83 FLORENCE RD #2C
BRANFORD, CT 06405                                    4278    12/25/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
NAGLE, LINDSEY
7530 BRIDGEGATE CT
ATLANTA, GA 30350                                     4279    12/25/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
VUJS, DAVID J
40 WINDMILL SPRINGS
GRANBY, CT 06035                                      4280    12/25/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
DAVENPORT, MARJORIE
2515 NORWOOD DRIVE SW
DECATUR, AL 35603                                     4281    12/25/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FLESZEWSKI, SARA
12517 W MOORLAND DRIVE
HOMER GLEN, IL 60591                                  4282    12/25/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PERSON, EUNICA
29W459 BLACKTHORN LN
WARRENVILLE, IL 60555                                 4283    12/25/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DENNIS, CHARLES
101 OXFORD BROOK WAY
LAWENCEVILLE, GA 30046                                4284    12/26/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
DENNIS, CHARLES
101 OXFORD BROOK WAY
LAWRENCEVILLE, GA 30046                               4285    12/26/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                             4286    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
COLE, CHARLEAN NEWMAN
P.O BOX 65
FT. DAVIS, AL 36031                                   4287    12/26/2017      TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
VUJS, DAVID
40 WINDMILL SPRINGS
GRANBY, CT 06035                                      4288    12/25/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
SMITH, KIMBERLY WEAVER
P.O. BOX 119
PALMERDALE, AL 35123                                  4289    12/25/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                             4290    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                             4291    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                             4292    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                           Amount                                                  Amount
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                                    4293    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                                    4294    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
LOWRY, JONATHAN A.
15602 WINDING CREEK DRIVE
MONTCLAIR, VA 22025                                          4295    12/26/2017      TK Holdings Inc.                         $7,000.00                                                                                    $7,000.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                                    4296    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                                    4297    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
LOWRY, JONATHAN A.
15602 WINDING CREEK DR.
MONTCLAIR, VA 22025                                          4298    12/26/2017      TK Holdings Inc.                         $5,000.00                                                                                    $5,000.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                                    4299    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
PETERSON, RUSSELL
6917 BLUFF POINT DRIVE
MADISON, WI 53718                                            4300    12/26/2017      TK Holdings Inc.                         $2,052.00              $0.00                                                                 $2,052.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                                    4301    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
RABOT, JEFFREY E.
7 BROAD STREET
NEWBURYPORT, MA 01950                                        4302    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
MCCLENTIC, ALEXANDER HERBERT
11325 OLD BEULAH ROAD
KENLY, NC 27542                                              4303    12/22/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
UNITED STATES ON BEHALF OF U.S. EPA
DEPARTMENT OF JUSTICE/ENRD/EES
C/O ROBERT W. DARNELL
P.O. BOX 7611, BEN FRANKLIN STATION
WASHINGTON, DC 20044                                         4304    12/22/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                                    4305    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                                    4306    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
VANDERPOST, LAURA MARIE
1908 LONGCOME DRIVE
WILMINGTON, DE 19810‐3822                                    4307    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
COMMONWEALTH OF MASSACHUSETTS, THROUGH THE OFFICE OF THE
ATTORNEY GENERAL
ATTN: LISA DYEN
ONE ASHBURTON PLACE, 18TH FLOOR
BOSTON, MA 02108                                             4308    12/22/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
HORNUNG, BERNADETTE
3175 PISGAH RD
TROY, PA 16947                                               4309    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00


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                                                                                                                                                Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                Amount                                                  Amount
MIL, IWONA M
1519 SW 40TH TER
CAPE CORAL, FL 33914‐5667                                     4310    12/22/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
UNITED STATES ON BEHALF OF U.S. EPA
DEPARTMENT OF JUSTICE/ENRD/EES
C/O ROBERT W. DARNELL
P.O. BOX 7611
BEN FRANKLIN STATION
WASHINGTON, DC 20044                                          4311    12/22/2017   Takata Protection Systems Inc.                      $0.00                                                                                        $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                                     4312    12/26/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                                     4313    12/26/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
THOMPSON, BRETT ANDREW
11325 OLD BEULAH ROAD
KENLY, NC 27542‐8671                                          4314    12/22/2017          TK Holdings Inc.                          $300.00                                                                                       $300.00
CHAN, CHUNG
20465 EAST WALNUT DRIVE NORTH
CITY OF INDUSTRY, CA 91789                                    4315    12/22/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                                     4316    12/26/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
WILSON, WILLIAM R.
716 PATTERSON AVENUE
AUSTIN, TX 78703                                              4317    12/23/2017          TK Holdings Inc.                         $3,000.00                                                                                    $3,000.00
ALARCON, EDWARD GEORGE
524 SILVER TREE CT
RIO LINDA, CA 95673                                           4318    12/23/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
REEVES, CIRBY
50090 S. COUNTY RD. 1138
MIDLAND, TX 79706                                             4319    12/23/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
SOUTHWORTH, MICHAEL
10912 SHALLOW CREEK DRIVE
GREAT FALLS, VA 22066                                         4320    12/23/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
TORRES, FELICIA L.
7220 HERBOSO
GRAND PRAIRIE, TX 75054                                       4321    12/23/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
NEMECEK, MARCIA
4648 SANCOLA AV
TOLUCA LAKE, CA 91602                                         4322    12/22/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
CLARIDA, TRENDON
1013 SOUTH 13TH STREET
WILMINGTON, NC 28401                                          4323    12/25/2017          TK Holdings Inc.                         $5,000.00                                                                                    $5,000.00
HUTTON, RAYMOND
7530 BRIDGEGATE CT
ATLANTA, GA 30350                                             4324    12/25/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
OFFICE OF THE MAINE ATTORNEY GENERAL, CONSUMER PROTECTION
DIVISION
6 STATE HOUSE STATION
AUGUSTA, ME 04333                                             4325    12/22/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                                     4326    12/26/2017          TK Holdings Inc.                             $0.00                                                                                        $0.00


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                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
BLISS, LINDA
987 SE BRIGADE PLACE
COLLEGE PLACE, WA 99324                                4327    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SARASOTA COUNTY GOVERNMENT
C/O SCOTT BOSSARD, ASSISTANT CO ATTY
1660 RINGLING BLVD, SECOND FLOOR
SARASOTA, FL 34236                                     4328    12/22/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RAMADOSS, VINODH
8 LONDONDERRY CT
AVON, CT 06001                                         4329    12/25/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MOORE, TERRENCE J. & NADIA M.
1010 N. ROSS ST., #200
SANTA ANA, CA 92701                                    4330    12/26/2017      TK Holdings Inc.                         $1,517.00                                                                                     $1,517.00
LAURITA, ALAN J.
4463 BAYVIEW ROAD
BEMUS POINT, NY 14712                                  4331    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                              4332    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                              4333    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MCGEE, JACKIE A.
101 BARRINGER DR. #4
RICHMOND, KY 40475                                     4334    12/26/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                              4335    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                              4336    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BLUE, MARTHA J
2309 ARCADIA STREET
HATTIESBURG, MS 39402                                  4337    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KONDASH, DARREN WADE
1728 OLDSTONE COURT
RANCHO PALOS VERDES, CA 90275                          4338    12/21/2017      TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
AUGOUSTATOS, PATRICIA WINKLE
521 SALIDA ROAD
HASLET, TX 76052                                       4339    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                              4340    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SHAHAN, JAMES
3121 NE 10 AVE
POMPANO BEACH, FL 33064                                4341    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SZALAD, LLC
BOX 727
LIBERTY LAKE, WA 99019                                 4342    12/26/2017      TK Holdings Inc.                         $2,200.00                                                                                     $2,200.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                              4343    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                              4344    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00


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                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
FIANO, MARK ALLEN
1718 ROSEYTOWN ROAD
GREENSBURG, PA 15601‐7000                             4345    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
WATSON (RODRIGO), GERALDO
43142 DARBY ST.
LANCASTER, CA 93535                                   4346    12/26/2017      TK Holdings Inc.                         $2,000.00                                                                                    $2,000.00
LAURITA, ALAN J.
4463 BAYVIEW ROAD
BEMUS POINT, NY 14712                                 4347    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
LAURITA, ALAN J.
4463 BAYVIEW ROAD
BEMUS POINT, NY 14712                                 4348    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
VIERA, OLGA L
225 SW 3RD ST
BOYNTON BEACH, FL 33435                               4349    12/22/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
CHAE, SHARLENE
801 S. KING ST. APT 3410
HONOLULU, HI 96813                                    4350    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
LITREAL, MARYANN
1465 DUCK RUN ROAD
LUCASVILLE, OH 45648                                  4351    12/26/2017      TK Holdings Inc.                        $39,744.54                                                                                   $39,744.54
MARTINEZ, MARICELA
11394 EARLYWOOD DR.
DALLAS, TX 75218                                      4352    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
BRIOLAT, ANNETTE M.
13504 OAK ROAD
OTISVILLE, MI 48463                                   4353    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
ALTMAN, MARY G
7402 MISSION HILLS DRIVE
LAS VEGAS, NV 89113‐1301                              4354    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
TWILLEGAR, PAUL M.
1172 SANTA OLIVIA ROAD
CHULA VISTA, CA 91913                                 4355    12/26/2017      TK Holdings Inc.                             $0.00              $0.00                                                                     $0.00
MARTINEZ, JESSIE J.
379 CEDAR AVE
BRIGHTON, CO 80601                                    4356    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
JURTA, MARY L
91 MAPLE STREET
ANDOVER, NH 03216                                     4357    12/26/2017      TK Holdings Inc.                         $1,000.00                                                                                    $1,000.00
COHEN, STEVE
1331 NE FAILING STREET
PORTLAND, OR 97212                                    4358    12/26/2017      TK Holdings Inc.                         $2,000.00                                                                                    $2,000.00
ATKINS, DAVID W.
208 PEACH TREE LN
DOBSON, NC 27017                                      4359    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
GOREN, RALPH
155 LONDON CT
EGG HARBOR TWP, NJ 08234                              4360    12/26/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
ESTATE OF DAVID LEE MANNING
ALAN W MANNING
BOX 444
CULBERTSON, MT 59218                                  4361    12/22/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
SWANSON, RANDOLPH R.
1459 LEE PEARSON ROAD
GRANITE FALLS, NC 28630                               4362    12/21/2017      TK Holdings Inc.                                                                                                                          $0.00


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                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                    Amount
ODUNEYE, DOREEN S
113 MEADOW LANE
RAEFORD, NC 28376                                     4363    12/26/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
GILLESPIE, JOEY
2624 VICKSBURG DR
HAMER, SC 29547                                       4364    12/26/2017      TK Holdings Inc.                                                                    $0.00                                                   $0.00
PATTEN, CHRISTINE
3928 BONITA SPRINGS DR.
FORT WORTH, TX 76123                                  4365    12/26/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
YOUNG, JOSEPH
1318 MARTINIQUE DRIVE
AUGUSTA, GA 30909                                     4366    12/26/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
SPRATLEN, JOAN CHERYL
1286 BRICKLEY RD
EUGENE, OR 97401                                      4367    12/26/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
ROTH, SHARON L.
5030 OVERLOOK DR
ELM CITY, NC 27822                                    4368    12/26/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
CLEAVER, CHARLES
# 31 POINT WEST CIR.
LITTLE ROCK, AR 72211                                 4369    12/20/2017      TK Holdings Inc.                         $1,000.00                                                                                      $1,000.00
PANTOJA, VICTORIANO JR.
PO BOX 7810104
ORLANDO, FL 32878‐1014                                4370    12/22/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
BROCKMAN, HAL
1901 NE 54TH PLACE
HILLSBORO, OR 97124                                   4371    12/26/2017      TK Holdings Inc.                           $500.00                                                                                        $500.00
HATTEN, GEORGE GRETCHEN
195 DEFUNIAK LOOP
LILLIAN, AL 36549                                     4372    12/22/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
PAUL, MARY LINDA
1661 PEE ROAD
STE. 1‐104
KOLOA, HI 96756                                       4373    12/22/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
BAILY, JOHN THOMAS
14 SALISBURY WAY
FARMINGTON, CT 06032‐1440                             4374    12/22/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
CUMMINGS, DARRELL LEE
TOM RHODES LAW FIRM, P.C.
WAYNE COLODNY
126 VILLITA STREET
SAN ANTONIO, TX 78205                                 4375    12/22/2017      TK Holdings Inc.                      $1,000,000.00                                                                                 $1,000,000.00
NISSIN INTERNATIONAL TRANSPORT USA INC
1540 WEST 190TH STREET
TORRANCE, CA 90501                                    4376    12/22/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
STATE OF INDIANA
OFFICE OF THE INDIANA ATTORNEY GENERAL
302 W. WASHINGTON ST.
IGCS‐5TH FLOOR
INDIANAPOLIS, IN 46204                                4377    12/22/2017      TK Holdings Inc.                             $0.00                                                                                          $0.00
TURTLE, QUENTIN C.
48 GARDEN HILLS DR.
CRANSTON, RI 02920                                    4378    12/22/2017      TK Holdings Inc.                                                 $0.00                                                                      $0.00




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                                                                                                                                                 Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                                 Amount                                                   Amount
RODRIGUEZ, RODNEY
STABINSKI & FUNT, P.A.
DANIEL GRISSOM
757 NW 27TH AVE, 3RD FLOOR
MIAMI, FL 33125                                                    4379    12/22/2017      TK Holdings Inc.                       $500,000.00                                                                                   $500,000.00
THOMPSON, LACHANA L AND ROBERT G
474 N. STAR RD.
MOOERS, NY 12958‐3615                                              4380    12/22/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
STATE OF TEXAS IN THE PUBLIC INTEREST BY AND THROUGH THE TEXAS
ATTORNEY GENERAL'S OFFICE
HAL MORRIS/ASHLEY BARTRAM, BANKR.DIV., OAG
300 WEST 15TH STREET, 8TH FLOOR
AUSTIN, TX 78701                                                   4381    12/22/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
DORAN, ALICIA Y.
PO BOX 373
8058 MIDDLEBRANCH AVENUE NE APT. 2
MIDDLEBRANCH, OH 44652                                             4382    12/25/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
NAGO, DAMON
44 TREMONT PL
MONTCLAIR, NJ 07042                                                4383    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PATTI, RONALD JOSEPH
36516 SAMOA
STERLING HEIGHTS, MI 48312                                         4384    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ELIZA A. HAUN AND WILLIAM CASELA
MAYER & MAYER
POB 59
SOUTH ROYALTON, VT 05068                                           4385    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BORROEL, RAMIRO R.
THE LAW OFFICES OF NIGEL BURNS
800 WEST 1ST STREET, SUITE #401‐12
LOS ANGELES, CA 90012                                              4386    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
REICH, PAMELA A.
1850 N. CLARK ST.
CHICAGO, IL 60614                                                  4387    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GREER, NEYSA
404 S. ANZA ST. APT#35
EL CAJON, CA 92020                                                 4388    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ESTEP, NORA F
267 FRAZIER WAY
SCOTT DEPOT, WV 25560                                              4389    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
THOMPSON, HAYWOOD
18732 GIBBONS DRIVE
DALLAS, TX 75287                                                   4390    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ZUNIGA, LISA
2853 EDINBURGH DRIVE
CARROLLTON, TX 75006                                               4391    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HEAD, JAMES
11548 HILL MEADE LANE
WOODBRIDGE, VA 22192                                               4392    12/26/2017      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
LEFFEW, AARON
175 LYNN DR
BATTLE CREEK, MI 49037                                             4393    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BONEY, ANTONIO C.
12305 JUSTICE PLACE
GLENN DALE, MD 20769                                               4394    12/26/2017      TK Holdings Inc.                          $457.48                                                                                        $457.48


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                  Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
RIVERA RIVERA, LUZ M.
RD. 352 KM 5.0
LEGUISAMO WARD
MAYAGUEZ, PR 00680                                   4395    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
YANG, HUADONG
107 FENLEY AVE, APT V6
LOUISVILLE, KY 40207‐2580                            4396    12/27/2017      TK Holdings Inc.                         $7,025.00                                                                                     $7,025.00
GONZALEZ, NANCY E
PO BOX 32243
SAN JOSE, CA 95152                                   4397    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BRYSON, EUGENE
3862 SUMMIT PARK RD
CLEVELAND HTS, OH 44121                              4398    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HODGE, APRIL
3491 MILLARD RD.
MEMPHIS, TN 38109                                    4399    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
NEWTON, RONALD J.
PO BOX 2898
KEY WEST, FL 33045                                   4400    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FLOYD, CLARA LEE
213 CHINOOK COURT
NEWPORT NEWS, VA 23608                               4401    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GOODMAN, JR., DANNY
2616 REAGAN TRAIL
LAKE MARY, FL 32746                                  4402    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PIGOTT, JOHN
5815 SHOOKSTOWN RD
FREDERICK, MD 21702                                  4403    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
VELOZ, RICHARD G.
7375 JENKINS AVENUE
HESPERIA, CA 92345                                   4404    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LAKE, SUNNY
75 BATTLE STREET
PHILIPPI, WV 26416                                   4405    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FORCIER, JAMES A.
41 DOUGLAS CIRCLE
GREENVILLE, RI 02828                                 4406    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GRAHAM, KIMBERLY
1937 CAHABA CREST DRIVE
BIRMINGHAM, AL 35242                                 4407    12/27/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
KELLETT, RONALD J
314 PINE AVE
AURORA, IL 60505                                     4408    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GREEN, ANDREW M
4013 SADDLEBROOK CREEK DR
MARIETTA, GA 30060                                   4409    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GREENBERG, SHELDON AND BEATRICE
707 ADMIRAL COURT
OAK PARK, CA 91377‐4755                              4410    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GOODMAN, JR., DANNY
2616 REAGAN TRAIL
LAKE MARY, FL 32746                                  4411    12/27/2017      TK Holdings Inc.                         $2,500.00                                                                                     $2,500.00
MENGHI, GEORGE
47 GILEAD ROAD
WATERFORD, CT 06385‐1343                             4412    12/27/2017      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00


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                                                                                                                                             Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                           Amount                                                     Amount
FREEMAN, ARNETTA
5810 WASHINGTON AVE
PHILADELPHIA, PA 19143                                       4413    12/27/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
MELEAR, JENNIFER LYNN
8222 LE MESA STREET
ORLANDO, FL 32827                                            4414    12/26/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
BRIOLAT, ANNETTE M.
13504 OAK ROAD
OTISVILLE, MI 48463                                          4415    12/26/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
LINDA CROSWELL ON BEHALF OF TERRY CROSWELL DECEASED
2060 STAHLHEBER RD.
HAMILTON, OH 45013                                           4416    12/26/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
HUPP, THOMAS E
1102 SWEETBRIAR DRIVE
MORRISVILLE, PA 19067                                        4417    12/27/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
PAYNE, STARKISHA
LANGDON & EMISON LLC
911 MAIN STREET
LEXINGTON, MO 64067                                          4418    12/27/2017      TK Holdings Inc.                      $10,000,000.00                                                                                $10,000,000.00
BILLAH, MAKID
635 A CENTER STREET
MANCHESTER, CT 06040                                         4419    12/27/2017      TK Holdings Inc.                                                                     $0.00                                                   $0.00
JUAREZ, LISA
4623 CRESTRIDGE AVE NW
ALBUQUERQUE, NM 87114                                        4420    12/27/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
MARTIN, COURICE
43 RIPARIAN LANE
RANSON, WV 25438                                             4421    12/26/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
MAXSON, THOMAS DRAPER
200 THOMPSON DR
PITTSBURGH, PA 15229                                         4422    12/27/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
PATTEN, CAROL
26701 QUAIL CREEK
UNIT 215
LAGUNA HILLS, CA 92653                                       4423    12/27/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
BATHOLOMEW, DEBRA A
7699 NORTH MAIN STREET
BATH, NY 14810                                               4424    12/27/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
BRIGHTWELL, REBECCA
13095 BETHEL TERRACE
PLATTE CITY, MO 64079                                        4425    12/27/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
LANDRY, TAMMY
7511 LAKEWOOD DRIVE
ERATH, LA 70533                                              4426    12/27/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
SCHIFFER, FRANCIS
5242 BEACH ROAD
CINCINNATUS, NY 13040                                        4427    12/27/2017      TK Holdings Inc.                                                                     $0.00                                                   $0.00
SMITH, ROSS
2405 WEST COUNTRY CLUB DR
FARGO, ND 58013                                              4428    12/27/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
PETERMANN, JOEL J
626 GREENS LOOP
CHESHIRE, CT 06410                                           4429    12/27/2017      TK Holdings Inc.                           $3,000.00                                                                                     $3,000.00
BRYSON, EUGENE A.
3862 SUMMIT PARK
CLEVELAND HTS, OH 44121                                      4430    12/27/2017      TK Holdings Inc.                              $0.00                                                                                          $0.00
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                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
CARPENTER, MEI
5223 PROVIDENCE RIDGE DR.
LIBERTY TWP., OH 45011                                4431    12/27/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
MURPHY, LEE
133 BEACH SUMMIT COURT
JUPITER, FL 33477                                     4432    12/27/2017      TK Holdings Inc.                        $31,516.00                                                                                   $31,516.00
BRYSON, EUGENE
3862 SUMMIT PARK
CLEVELAND HEIGHTS, OH 44121                           4433    12/27/2017      TK Holdings Inc.                         $1,369.00                                                                                    $1,369.00
CARPENTER, R SHELDON
5223 PROCIDENCE RIDGE DRIVE
LIBERTY TOWNSHIP, OH 45011                            4434    12/27/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
OWENS, MICHAEL
9041 S COMANCHE CIRCLE
WILLIS, TX 77378                                      4435    12/27/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
PATTEN, CAROL
26701 QUAIL CREEK
UNIT 215
LAGUNA HILLS, CA 92653                                4436    12/27/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
COTTER, CLAIRE E.
45969 IRON OAK TERRACE
STERLING, VA 20166                                    4437    12/27/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
MURPHY, LEE
133 BEACH SUMMIT COURT
JUPITER, FL 33477                                     4438    12/27/2017      TK Holdings Inc.                        $31,516.00                                                                                   $31,516.00
HUGHES, JOSHUA B.
4856 FIREBROOK BLVD.
LEXINGTON, KY 40513                                   4439    12/27/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
BECKWITH, CYNTHIA D
11147 SETON PLACE
WESTMINSTER, CO 80031                                 4440    12/27/2017      TK Holdings Inc.                       $250,000.00                                                                                  $250,000.00
HERNANDEZ, ABEL
146 MASCASA
SAN ANTONIO, TX 78237                                 4441    12/27/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
PATTEN, CAROL
26701 QUAIL CREEK
UNIT 215
LAGUNA HILLS, CA 92653                                4442    12/27/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
VITHAL, JOSHNA
708 W. ACACIA AVE
EL SEGUNDO, CA 90245‐2018                             4443    12/27/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
TAYLOR, MARCIA ANTOINETTE
1221 SW 34 TERRACE
CAPE CORAL, FL 33914                                  4444    12/27/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
DOUTHIT, RONALD SCOTT
5245 EAST THOMAS RD, APT 35
PHOENIX, AZ 85018‐8025                                4445    12/27/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
SWEETING, TINESSA
9950 LAKE ELMHURST LANE, 214
OVIEDO, FL 32765                                      4446    12/27/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
DAVIS, DWRIGHT
410 NELSON AVE
MAGNOLIA, NJ 08049                                    4447    12/27/2017      TK Holdings Inc.                             $0.00                                                                                        $0.00
GRIFFIN, MICHAEL
1311 N VALLEJO WAY
UPLAND, CA 91786                                      4448    12/27/2017      TK Holdings Inc.                          $608.00                                                                                       $608.00
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                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
LANE, GARY
2801 ALTON PARKWAY #109
IRVINE, CA 92606                                       4449    12/27/2017      TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
FENLEY, DERRICK JAY
834 E. 4TH ST #32
LONG BEACH, CA 90802                                   4450    12/27/2017      TK Holdings Inc.                        $50,000.00                                                                                    $50,000.00
BALCARCEL, ARLENE
20687 AMAR RD. STE. 2 #317
WALNUT, CA 91789                                       4451    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BEZERJIAN, GERARD
6200 DE SOTO AVE
APT 32304
WOODLAND HILLS, CA 91367                               4452    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
NEWTON, ERIC LEE
4932 ASHLOCK DRIVE
THE COLONY, TX 75056                                   4453    12/27/2017      TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
DAVERSA, SUSIE ADAMS
5232 SE GRAHAM DR.
STUART, FL 34997                                       4454    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ABRAHAM, ALFRED
1300 ELMER STREET, SUITE D
BELMONT, CA 94002                                      4455    12/27/2017      TK Holdings Inc.                         $2,500.00                                                                                     $2,500.00
ROSS, GERALD WAYNE
12614 POINT SOUND
SAN ANTONIO, TX 78253                                  4456    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ZAMORA, TIFFANY
4481 N GLENWAY ST
WAUWATOSA, WI 53225                                    4457    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ABDALLAH, DAN M.
P.O. BOX 1122
STOCKTON, CA 95201                                     4458    12/27/2017      TK Holdings Inc.                          $609.55                                                                                        $609.55
MOORE SR., MCDONALD
460 S DEARBORN ST
MOBILE, AL 36603                                       4459    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
POLONAISE, RENATA
23125 LIBERTY ST
ST CLAIR SHORES, MI 48080                              4460    12/27/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
SARAY, CEHAKANAK
4214 E N STREET
TACOMA, WA 98404                                       4461    12/27/2017      TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
COX, KEVIN
108 HAMRICK RD
BALD KNOB, AR 72010                                    4462    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SPENCER, MARY P
21915 PLANK RD
ZACHARY, LA 70791                                      4463    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TAVAREZ VEGA, ANA M
HC 05 BOX 25167
CAMUY, PR 00627                                        4464    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BARRETO TAVAREZ, ANABEL
HC05 BOX 25167
CAMUY, PR 00627                                        4465    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ADAMS, JOYCE THOMPSON
530 SE WOODS EDGE TRAIL
STUART, FL 34997                                       4466    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00


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                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
STIELER, DONNA
297 FRANKLIN WRIGHT BLVD.
LAKE ORION, MI 48362                                  4467    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SMITH, QUENTIN
3339 WOODWARD DOWN TRAIL
BUFORD, GA 30519                                      4468    12/27/2017      TK Holdings Inc.                        $75,000.00                                                                                    $75,000.00
GRAY, CARILYN
674 CHANDLER WALK
UPLAND, CA 91786                                      4469    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
JOSEPH, GISLAINE
P.O. BOX 600922
NORTH MIAMI BEACH, FL 33160                           4470    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MCELROY, MORRIS
1835 BRALY LANE
PULASKI, TN 38478                                     4471    12/27/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
SMITH, QUENTIN
3339 WOODWARD DOWN TRAIL
BUFORD, GA 30519                                      4472    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SPENCER, MARY P
21915 PLANK RD
ZACHARY, LA 70791                                     4473    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ABRAHAM‐MILLIN, KASAI
2033 CULLODEN DR
SUMMERVILLE, SC 29483                                 4474    12/27/2017      TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
BUSH, DEBRA
405 W 15TH ST
CHICAGO HEIGHTS, IL 60411                             4475    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HUBSMITH, EDWARD J.
11 ORCHARD RD
KINNELON, NJ 07405‐2730                               4476    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LOGAN‐HURT, TAWANDA
210 AMANDA DRIVE APT 2A
GREENWOOD, MS 38930                                   4477    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GENO, KERRI HARDY
113 CAROL ANN DRIVE
EDGEWATER, FL 32132                                   4478    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
JEFFERS, KYLE
357 FORBES DRIVE
VINELAND, NJ 08360                                    4479    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PETERMANN, JOEL J
626 GREENS LOOP
CHESHIRE, CT 06410                                    4480    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KOBZEFF, SUZANNE
PO BOX 50502
IRVINE, CA 92619                                      4481    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BESLOW, LAUREN
2047 N HALSTED
UNIT B
CHICAGO, IL 60614                                     4482    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KIM, EUN J
5155 VAN KLEECK ST
APT 7E
ELMHURST, NY 11373                                    4483    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WIEDEMAN, TIM
2639 PEMBERLY AVE
HIGHLANDS RANCH, CO 80126                             4484    12/27/2017      TK Holdings Inc.                        $15,000.00                                                                                    $15,000.00
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                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
QUEVEDO, LILIANA M.
2580 PO BOX
WILKES BARRE, PA 18703                                 4485    12/27/2017      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
WELL, BRADLEY E.
PO BOX 734
LUCERNE VALLEY, CA 92356                               4486    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SANCHEZ, MICHELLE
1001 ATLANTA AVENUE
HARLINGEN, TX 78550                                    4487    12/27/2017      TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
FISHEL, TOBIAS
11461 ALASKA STREET
TACOMA, WA 98444                                       4488    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SARAY, CEHAKANAK
4214 E N STREET
TACOMA, WA 98404                                       4489    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SCOTT, AMY JOAN
1702 46TH STREET
DES MOINES, IA 50310                                   4490    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RICH, CHRISTOPHER
1333 WINFIELD DRIVE
SWARTZ CREEK, MI 48473                                 4491    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SOLER, ALICE K
1450 MELROSE AVENUE #81
CHULA VISTA, CA 91911                                  4492    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ALLEGRETTI, MICHAEL J.
1000 N SAN VICENTE BLVD. APT #5
WEST HOLLYWOOD, CA 90069                               4493    12/27/2017      TK Holdings Inc.                        $49,125.60                                 $0.00                                              $49,125.60
ANGULO, STEPHANIE NICOLE
918 SABLE CHASE PL
HENDERSON, NV 89011                                    4494    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MEHTA, JINESH ULLAS
2565 RADBURN LANE
CONCORD, NC 28027                                      4495    12/27/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
JONES, ROBIN REAVES‐BEY
931 COTTON EXCHANGE DRIVE
SAVANNAH, TX 76227                                     4496    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
IMPERIALE, MICHAEL
1320 LANCEWOOD TERRACE
PALM CITY, FL 34990                                    4497    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WRIGHT, KATHY
35 OWE GO STREET
SPNCER, NY 14883                                       4498    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LEIBOLD, STEVEN
0S579 JEFFERSON STREET
WINFIELD, IL 60190                                     4499    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WILSON, JOSCELYNE
149 STAFFORD AVE
SYRACUSE, NY 13206                                     4500    12/27/2017      TK Holdings Inc.                        $22,070.00                                 $0.00                                              $22,070.00
WHITMORE, GALE
3263 FAIRBANKS ST.
MEMPHIS, TN 38128                                      4501    12/27/2017      TK Holdings Inc.                         $2,200.00              $0.00                                                                  $2,200.00
PERRY, AMANDA
1643 S LULU ST.
WICHITA, KS 67211                                      4502    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                 Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                  Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                  Amount                                                   Amount
MILLER, SHARAKA
9909 KANIS RD
LITTLE ROCK, AR 72205                               4503    12/28/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LITTLES, TERRI
1094 OAK GROVE CR.
LAWRENCEVILLE, GA 30043                             4504    12/27/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
ROYER, LYNN
402 PARK STREET
WOODBINE, IA 51579                                  4505    12/27/2017      TK Holdings Inc.                            $50.00                                                                                        $50.00
ALSTON, HIOLA
7923 S. BISHOP
CHICAGO, IL 60620                                   4506    12/28/2017      TK Holdings Inc.                                                $0.00              $0.00               $0.00                               $0.00
VELLAITHURAI, CEEMAN BRIGHTSON
1915 NE TERRE VIEW DR, APT 56A
PULLMAN, WA 99163                                   4507    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SUKUMARAN, KRISHNAKUMAR VALAKADAVIL
3392 BROOKSHEAR CIR
AUBURN HILLS, MI 48326                              4508    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WARD, HENRY
64 SHAUNA RD.
OCHLOCKNEE, GA 31773                                4509    12/26/2017      TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
DIXON BROWN, SHIRLEY
1921 HAMLIN ST. NE
WASHINGTON, DC 20018                                4510    12/27/2017      TK Holdings Inc.                         $7,500.00                                                                                     $7,500.00
QUINTANILLA, ISABEL
1031 QUAIL HILL DR.
SPRING BRANCH, TX 78070                             4511    12/26/2017      TK Holdings Inc.                         $6,000.00                                                                                     $6,000.00
PURYEAR, BEVERLY SUTTON
2580 EDMOND MATTHIS ROAD
CLINTON, NC 28328                                   4512    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CAMPBELL, SUSAN SHARP
683 DWYER LANE
LEWISBURG, WV 24901                                 4513    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KAY, JACK
5635 WARREN ‐ SHARON RD.
BROOKFIELD, OH 44403                                4514    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
COOPER, GLENN M.
11848 BEEKMAN PLACE
POTOMAC, MD 20854                                   4515    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LEE, SHAYLA S.
340 WILLOW BAY DRIVE
BYRAM, MS 39272                                     4516    12/26/2017      TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
WILSON NEUMANN, BRENDA
4801 OSPREY DRIVE SOUTH
UNIT 603
ST. PETERSBURG, FL 33711                            4517    12/27/2017      TK Holdings Inc.                         $9,090.45              $0.00                                                                  $9,090.45
WORLEY, ROBIN M
P.O. BOX 50
OAKDALE, CA 95361                                   4518    12/27/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
HAYNES, JUSTIN
3909 BRADDOCK RD.
HIGH POINT, NC 27265                                4519    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
NEVILLE, JAMES P.
309 M STREET
MT. LAKE PARK, MD 21550                             4520    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00


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                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
WATSON, RANDY
11827 EAST ROCKY HILL RD
PO BOX 691
HUMBOLDT, AZ 86329‐0691                               4521    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CRIBB, MA'SHAELA D.
8735 FREE AVENUE
JACKSONVILLE, FL 32211                                4522    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BAHRAMI, NASRIN
4319 DAUNTLESS DR
R.P.V., CA 90275                                      4523    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CITY OF WATERTOWN
245 WASHINGTON STREET
SUITE 203
WATERTOWN, NY 13601                                   4524    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CHAN, PEGGY
2226 SALEROSO DRIVE
ROWLAND HEIGHTS, CA 91748‐4175                        4525    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
PEARSON, KAYSON
C/O #04‐A‐4176
F.P.C.F, P.O. BOX 119
ROMULUS, NY 14541                                     4526    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RIVERA, TEODORO
CALLE ESMERALDA 808
LA ALAMEDA
SAN JUAN, PR 00926                                    4527    12/27/2017      TK Holdings Inc.                                                 $0.00                                 $0.00                               $0.00
OLSEN, THEODORE
PO BOX 480092
FORT LAUDERDALE, FL 33348                             4528    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
TRUONG, VAN
PO BOX 25798
SANTA ANA, CA 92799                                   4529    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
HELTON, ERIC L.
P.O. BOX 18
CORBIN, KY 40702                                      4530    12/26/2017      TK Holdings Inc.                      $1,000,000.00                                                                                $1,000,000.00
GIDDENS, SHERRILL
C/O NOTEBOOM ‐‐ THE LAW FIRM
ATTN: J. MARK SUDDERTH, ATTORNEY
669 AIRPORT FREEWAY, SUITE 100
HURST, TX 76053                                       4531    12/27/2017      TK Holdings Inc.                        $22,716.26                                                                                    $22,716.26
HEATH, KATHLEEN
1617 N. 21ST ST.
SPRINGFIELD, IL 62702                                 4532    12/27/2017      TK Holdings Inc.                         $7,550.00                                                                                     $7,550.00
MINK, JENNIFER AND DOUGLAS
6999 EMERY CT.
WEST CHESTER, OH                                      4533    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RIDDICK, WILLIE DEREK
1245 FENTRESS ROAD
CHESAPEAKE, VA 23322                                  4534    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GONZALEZ, NANCY E
PO BOX 32243
SAN JOSE, CA 95152                                    4535    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LOWERY, DANIEL C
112 LAFAYETTE ST
OGDENSBURG, NY 13669                                  4536    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                      Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                    Amount                                                     Amount
PHELAN‐MORRELL, D'ARCY
1107 AUSTIN MANOR CT.
SPRING, TX 77379‐3995                                 4537    12/26/2017      TK Holdings Inc.                      $14,600,411.40                                                                                 $14,600,411.40
MARTINEZ, JOSEPH
PO BOX 722002
ORLANDO, FL 32872                                     4538    12/27/2017      TK Holdings Inc.                              $0.00                                                                                           $0.00
BEZERJIAN, GERARD
6200 DE SOTO AVE
APT 32304
WOODLAND HILLS, CA 91367                              4539    12/27/2017      TK Holdings Inc.                              $0.00                                                                                           $0.00
PICKETT, KENNETH
THE LAW OFFICE OF SANDRA J. WORTHAM, LLC
SANDRA J. WORTHAM
203 NORTH LASALLE
SUITE 2100
CHICAGO, IL 60601                                     4540    12/26/2017      TK Holdings Inc.                        $265,000.00                                                                                     $265,000.00
DUDLEY, RONALD
8021 MOLLYE ROAD APT‐E
PIKESVILLE, MD 21208                                  4541    12/27/2017      TK Holdings Inc.                                                  $0.00                                                                       $0.00
SARAY, CEHAKANAK
4214 E N ST
TACOMA, WA 98404                                      4542    12/27/2017      TK Holdings Inc.                              $0.00                                                                                           $0.00
BEZERJIAN, GERARD
6200 DE SOTO AVE
APT 32304
WOODLAND HILLS, CA 91367                              4543    12/27/2017      TK Holdings Inc.                              $0.00                                                                                           $0.00
JACKSON, JEANNE
1717 CARVER STREET
LAKE CHARLES, LA 70615                                4544    12/27/2017      TK Holdings Inc.                              $0.00               $0.00              $0.00               $0.00              $0.00             $0.00
GIDDENS, COURTNIE
C/O NOTEBOOM ‐‐ THE LAW FIRM
ATTN: J. MARK SUDDERTH, ATTORNEY
669 AIRPORT FREEWAY, SUITE 100
HURST, TX 76053                                       4545    12/27/2017      TK Holdings Inc.                       $8,000,000.00                                                                                  $8,000,000.00
HARDY, PATRICK M AND ANDREA HIBBS
58 OAKVIEW CIRCLE
ORMOND BEACH, FL 32176                                4546    12/27/2017      TK Holdings Inc.                              $0.00                                                                                           $0.00
GONZALEZ GARCIA, MAYRA C
8110 WATAUGA AVE
LAS VEGAS, NV 89119                                   4547    12/27/2017      TK Holdings Inc.                              $0.00                                                                                           $0.00
TOOMBS, ALFRED LAWRENCE
215 NO. COLUMBUS ST.
ALEXANDRIA, VA 22314‐2411                             4548    12/27/2017      TK Holdings Inc.                              $0.00                                                                                           $0.00
TANKERSLEY, STEVE
692 PLUTO RD
SHADY SPRING, WV 25918                                4549    12/26/2017      TK Holdings Inc.                              $0.00                                                                                           $0.00
MOORE, TERRENCE J. & NADIA M.
1010 N. ROSS ST., #200
SANTA ANA, CA 92701                                   4550    12/26/2017      TK Holdings Inc.                              $0.00                                                                                           $0.00
TOWNSEND, RONNIE WM.
2701 MADONNA DRIVE
FULLERTON, CA 92835                                   4551    12/26/2017      TK Holdings Inc.                              $0.00                                                                                           $0.00
CALHOUN, MATTHEW J.
114 S. RITTER AVE
INDIANAPOLIS, IN 46219                                4552    12/26/2017      TK Holdings Inc.                              $0.00                                                                                           $0.00


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                     Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                      Amount                                                   Amount
DAVIS, DALEPHINE
1315 N. JEFFERSON STREET APT. 120
JACKSON, MS 39202                                       4553    12/27/2017      TK Holdings Inc.                         $2,850.00              $0.00                                                                  $2,850.00
VAUGHN, WANDA R.
14 LEE ROAD 519
PHENIX CITY, AL 36870                                   4554    12/27/2017      TK Holdings Inc.                         $1,000.00                                                                                     $1,000.00
S & L LIFTMASTERS
3915 SEGUIN RD
SAN ANTONIO, TX 78219                                   4555    12/26/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MARTINEZ, JOSEPH
P.O. BOX 722002
ORLANDO, FL 32872                                       4556    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GOODMAN, JR., DANNY
2616 REAGAN TRAIL
LAKE MARY, FL 32746                                     4557    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GONZALEZ‐GARCIA, GRACIANO
PO BOX 32243
SAN JOSE, CA 95152                                      4558    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WHEELER, WILLIAM J & CAROL VOLZ
147 BRITE AVENUE
SCARSDALE, NY 10583                                     4559    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MORGAN, CHRISTOPHER JOHN
6934 MEADOW STREET UNIT 403
ANCHORAGE, AK 99507                                     4560    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LOBNER, JOSEPH HENRY
8960 ARPIN RICHFIELD ROAD
ARPIN, WI 54410                                         4561    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
AMERICAN HONDA FINANCE CO.
MARLENA LATIF
172 SUMPTER STREET BOX 6
BROOKLYN, NY 11233                                      4562    12/28/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
WOOD, DAVID M.
10 MOUNTAIN VIEW AVENUE
RIDGEFIELD, CT 06877                                    4563    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LEE, CLAUDIA MARIE
626 RIVERSIDE DRIVE
UNIT 20N
NEW YORK, NY 10031                                      4564    12/27/2017      TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
GATES, TIMOTHY J.
26976 TAMSEN AVE., NW
POULSBO, WA 98370                                       4565    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MERJANIAN, ARA M.
607‐A NELRAY BLVD.
AUSTIN, TX 78751                                        4566    12/27/2017      TK Holdings Inc.                          $522.00                                                                                        $522.00
LEWIS, CALVIN
6 HILL ST
OAKLAND, ME 04963                                       4567    12/27/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
SCHIFFER, FRANCIS
5242 BEACH ROAD
CINCINNATUS, NY 13040                                   4568    12/27/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
KRAGES, KIMBERLY SCOTT
21 MOOD AVE
SUMTER, SC 29150                                        4569    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
AAGARD, LUREANE
2210 N 143RD ST
SEATTLE, WA 98133                                       4570    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                 Current General                                          Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
LOPEZ, PHILIP
945 WYCLIFFE
IRVINE, CA 92602                                       4571    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BRAKOB, MARGARET R
6 BAYCREST COURT
NEWPORT BEACH, CA 92660‐2918                           4572    12/27/2017      TK Holdings Inc.                         $2,190.00                                                                                     $2,190.00
MUNOZ, URIEL MARTINEZ
3051 CHILCOOT DR
SPARKS, NV 89434                                       4573    12/28/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
AAGARD, LUREANE
2210 N 143RD ST.
SEATTLE, WA 98133                                      4574    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RADFAR, ATA
1756 CARMEL DRIVE
#233
WALNUT CREEK, CA 94596                                 4575    12/28/2017      TK Holdings Inc.                         $4,750.00              $0.00              $0.00                                               $4,750.00
BRICENO, PATRICIA
1749 S. LAGUNA
VISALIA, CA 93292                                      4576    12/28/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
NAGASAWA, TAMAMI
4929 CHINA GARDEN DRIVE
AUSTIN, TX 78730                                       4577    12/28/2017      TK Holdings Inc.                                                                   $0.00                                                   $0.00
SURA, MONALI
19 PEBBLE BEACH DR
LIVINGSTON, NJ 07039                                   4578    12/28/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
COCA, MARIA T.
PO BOX 3201
LAS VEGAS, NM 87701                                    4579    12/28/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
ARNOLD, PATRICIA
HOUSSIERE DURANT & HOUSSIERE LLP
1990 POST OAK BLVD. SUITE 800
HOUSTON, TX 77056                                      4580    12/28/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
RUIZ, DULCE JANET
8226 REDFORD WAY
SACRAMENTO, CA 95829                                   4581    12/28/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LEYVA, DULCE
13178 FORDHAM DR
EL PASO, TX 79928                                      4582    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LAU, LEONARD
2075 LEILOKE DRIVE
HONOLULU, HI 96822                                     4583    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
GAY, GERARD
DAVID L. PERKINS
HOFFMAN, LARIN & AGNETTI, P.A.
909 N. MIAMI BEACH BLVD., STE. 201
N. MIAMI BEACH, FL 33162                               4584    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KASTAN, ALIZA
DAVID L. PERKINS
909 N. MIAMI BEACH BLVD., STE. 201
N. MIAMI BEACH, FL 33162                               4585    12/27/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
LARA, ARCHIBALDO
1443 E. WASHINGTON BLVD., #187
PASADENA, CA 91104                                     4586    12/20/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00




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                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
FOOTE, KENNETH
HOUSSIERE, DURANT & HOUSSIERE, LLP
RANDAL A. KAUFFMAN
1990 POST OAK BLVD., SUITE 800
HOUSTON, TX 77056                                      4587    12/28/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
KURTANICH ENGINEERS & ASSOCIATES, INC.
1126 E STATE ST
SHARON, PA 16146‐3338                                  4588    12/29/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
SPATAFORA JR, LOUIS C
527 HALF HOLLOW RD
DEER PARK, NY 11729                                    4589    12/29/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
MARKS, SHARON M
3334 E. COAST HIGHWAY #429
CORONA DEL MAR, CA 92625                               4590    12/28/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
WRIGHT, PATRICIA
477 MAPLE AVENUE
VALLEJO, CA 94591                                      4591    12/29/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
PRIVETT, JACQUELINE
374 KEELSON DRIVE
DETROIT, MI 48215                                      4592    12/31/2017      TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
ECHAVARRIA, BRIAN
10381 MOJESKA SUMMIT ROAD
CORONA, CA 92883                                       4593    12/30/2017      TK Holdings Inc.                                                $0.00                                                                      $0.00
HEROUX, RUTH
9402 MORWIN STREET
NORFOLK, VA 23503                                      4594    12/31/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
FERGUSON, JEANNE
9402 MORWIN STREET
NORFOLK, VA 23503                                      4595    12/31/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
BRUGGEMAN, PENNY
5226 ERASTUS DURBIN RD
COLDWATER, OH 45828                                    4596     1/1/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
BRUGGEMAN, PENNY
5226 ERASTUS DURBIN RD.
COLDWATER, OH 45282                                    4597     1/1/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
BANKS, GABRIELLE
3003 NORHILL BLVD
HOUSTON, TX 77009                                      4598     1/1/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
PANTANO, LOUIS
P.O. BOX 932
NAPLES, ME 04055                                       4599     1/1/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
DAVIS, COURTNEY
P.O. BOX 932
NAPLES, ME 04055                                       4600     1/1/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
ELOWITZ, LAWRENCE B
2222 HARVARD AVENUE EAST
SEATTLE, WA 98102                                      4601     1/1/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
MCGINNIS, NICOLE C
424 STOKES RD.
SHAMONG, NJ 08088                                      4602     1/1/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
GONZALES, MARY H
18620 MINGO RD
APPLE VALLEY, CA 92307                                 4603     1/2/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
VAZQUEZ, MELINDA
3569 FOREST HILL BLVD APT. 99
WEST PALM BEACH, FL 33406                              4604     1/2/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
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                      Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                       Amount                                                   Amount
MARREN, COLEEN V
1176 YOSEMITE DRIVE
ENGLEWOOD, FL 34223                                      4605     1/2/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
SANFORD, MICHAEL R.
29111 PAPER FLOWER LANE
MENIFEE, CA 92584                                        4606    12/29/2017      TK Holdings Inc.                        $23,500.00                                                                                    $23,500.00
GLENNON, ROBERT C.
P.O. BOX 84
RAY BROOK, NY 12977                                      4607    12/29/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
CLARK, EDWARD F.
4267 MARINA CITY DR. UNIT 108
MARINA DEL REY, CA 90292                                 4608    12/29/2017      TK Holdings Inc.                         $5,000.00                                                                                     $5,000.00
RYALES, THOMAS
PO BOX 3429
AMBLER, PA 19002                                         4609    12/30/2017      TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
DEMATTEO, TRAVIS
12429 DRAYTON DRIVE
SPRING HILL, FL 34609                                    4610    12/31/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
AUSTIN, ADAM
6011 GASTON AVE. #202
DALLAS, TX 75214                                         4611     1/1/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
RICHMOND, MICHAEL
9300 S. KEDZIE AVE. APT. 1 EAST
EVERGREEN PARK, IL 60805                                 4612     1/1/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
VASQUEZ, JAMES M
18620 MINGO RD
APPLE VALLEY, CA 92307                                   4613     1/2/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
BEACH, PETER
35687 N. DONOVAN DR.
SAN TAN VALLEY, AZ 85142                                 4614     1/2/2018       TK Holdings Inc.                        $10,850.00              $0.00              $0.00                                              $10,850.00
STEWARD, ALLAN
5168 ELDERHALL AVE
LAKEWOOD, CA 90712                                       4615    12/31/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
STEWARD, GWEN
5168 ELDERHALL AVE
LAKEWOOD, CA 90712                                       4616    12/31/2017      TK Holdings Inc.                             $0.00                                                                                         $0.00
THOMAS, LILLIE
297 POWELL AVE.
NEWBURGH, NY 12550                                       4617    12/30/2017      TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
BRUGGEMAN, PENNY
5226 ERASTUS DURBIN RD.
COLDWATER, OH 45828                                      4618     1/1/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
BRUGGEMAN, PENNY
5226 ERASTUS DURBIN RD.
COLDWATER, OH 45828                                      4619     1/1/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
JACKSON, DION
2210 MITCH CT W
SANFORD, FL 32771                                        4620     1/2/2018       TK Holdings Inc.                         $4,350.00                                                                                     $4,350.00
JACKSON, DION
2210 MITCH CT W
SANFORD, FL 32771                                        4621     1/2/2018       TK Holdings Inc.                         $3,150.00                                                                                     $3,150.00
SHAIK, REZUAN
7042 WINNETKA AVE.
CANOGA PARK, CA 91306                                    4622     1/2/2018       TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00



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                                                                                                                                                 Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                               Amount                                                     Amount
COPLEN, WILLIAM HOWARD
304 ARRINGTON COURT
HUBERT, NC 28539                                                 4623     1/2/2018       TK Holdings Inc.                                                  $0.00              $0.00               $0.00                               $0.00
DWYER, TODD E
PO BOX 493
PALM SPRINGS, CA 92263                                           4624     1/2/2018       TK Holdings Inc.                         $40,000.00                                                                                     $40,000.00
MODRIGAL, ANDY
4785 BUCKNELL CT
SACRAMENTO, CA 95841                                             4625     1/2/2018       TK Holdings Inc.                              $0.00                                                                                          $0.00
STUBBS, LAUREL
5979 S 2825 W
ROY, UT 84067                                                    4626     1/2/2018       TK Holdings Inc.                           $3,791.70                                                                                     $3,791.70
COHEN, THOMAS
3 MERCURY CIRCLE
SOUTH AMBOY, NJ 08879                                            4627     1/2/2018       TK Holdings Inc.                              $0.00                                                                                          $0.00
BRONFMAN, SAMUEL
3888 E LAKE CREEK RD
EDWARDS, CO 81632                                                4628     1/2/2018       TK Holdings Inc.                              $0.00                                                                                          $0.00
WALLACE, NAKIA
5404 LIONS GATE LN
KILLEEN, TX 76549                                                4629     1/2/2018       TK Holdings Inc.                         $20,000.00                                                                                     $20,000.00
VASQUEZ, JAMES M
18620 MINGO RD
APPLE VALLEY, CA 92307                                           4630     1/2/2018       TK Holdings Inc.                              $0.00                                                                                          $0.00
GOGOSHIAN, NANNETTE AND PAUL
22013 PARTHENIA ST
WEST HILLS, CA 91304                                             4631     1/2/2018       TK Holdings Inc.                         $60,777.38                                                                                     $60,777.38
TAYLOR, MARCIA ANTOINETTE
1221 SW 34 TERRACE
CAPE CORAL, FL 33914                                             4632     1/2/2018       TK Holdings Inc.                              $0.00                                                                                          $0.00
ELLIS, BRANDON
HILLER LAW, LLC
ADAM HILLER (NO. 4105)
1500 NORTH FRENCH STREET, 2ND FLOOR
WILMINGTON, DE 19801                                             4633     1/2/2018       TK Holdings Inc.                      $20,000,000.00                                                                                $20,000,000.00
STEVETTE DUKES, AS PLENARY GUARDIAN OF THE PROPERTY OF KIARA
SHANIES DUKES, AN INCAPACITATED PERSON
HILLER LAW, LLC
ADAM HILLER (NO. 4105)
1500 NORTH FRENCH STREET, 2ND FLOOR
WILMINGTON, DE 19801                                             4634     1/2/2018       TK Holdings Inc.                      $60,000,000.00                                                                                $60,000,000.00
DANFORD, K R
252 COUNTY RD. 544
ELBA, AL 36323                                                   4635     1/2/2018       TK Holdings Inc.                         $25,000.00                                                                                     $25,000.00
STOWE, MONICA
13 BROWN ST.
UNION CITY, PA 16438                                             4636     1/2/2018       TK Holdings Inc.                              $0.00                                  $0.00                                                   $0.00
IPM INC
3837 BERMUDA COURT
PUNTA GORDA, FL 33950                                            4637     1/3/2018       TK Holdings Inc.                              $0.00                                                                                          $0.00
GOLDEN, TIMOTHY
951 MANSFIELD ST
CHIPPEWA FALLS, WI 54729                                         4638     1/3/2018       TK Holdings Inc.                              $0.00                                                                                          $0.00
MIYAGI, NADINE N
3289 PACIFIC HTS. RD.
HONOLULU, HI 96813                                               4639     1/3/2018       TK Holdings Inc.                              $0.00                                                                                          $0.00
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                                                                                                                                              Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                              Amount                                                   Amount
LASICH, DEBRA
1 PINE WOODS LN APT 512
SUTTER CREEK, CA 95685                                4640     1/3/2018               TK Holdings Inc.                               $0.00                                                                                         $0.00
SALAZAR, MICHAEL
6310 HEREFORD DR
LOS ANGELES, CA 90022                                 4641     1/3/2018               TK Holdings Inc.                          $38,633.57                                                                                    $38,633.57
SALAZAR, MICHAEL
6310 HEREFORD DR
LOS ANGELES, CA 90022                                 4642     1/3/2018               Takata Americas                                $0.00                                                                                         $0.00
SALAZAR, MICHAEL
6310 HEREFORD DR
LOS ANGELES, CA 90022                                 4643     1/3/2018        Takata de Mexico, S.A. de C.V.                        $0.00                                                                                         $0.00
SALAZAR, MICHAEL
6310 HEREFORD DR
LOS ANGELES, CA 90022                                 4644     1/3/2018                 TK China, LLC                                $0.00                                                                                         $0.00
SALAZAR, MICHAEL
6310 HEREFORD DR
LOS ANGELES, CA 90022                                 4645     1/3/2018                TK Finance, LLC                               $0.00                                                                                         $0.00
SALAZAR, MICHAEL
6310 HEREFORD DR
LOS ANGELES, CA 90022                                 4646     1/3/2018       Strosshe‐Mex, S. de R.L. de C.V.                       $0.00                                                                                         $0.00
SALAZAR, MICHAEL
6310 HEREFORD DR
LOS ANGELES, CA 90022                                 4647     1/3/2018        Takata Protection Systems Inc.                        $0.00                                                                                         $0.00
SALAZAR, MICHAEL
6310 HEREFORD DR
LOS ANGELES, CA 90022                                 4648     1/3/2018    TK Holdings de Mexico S. de R.L. de C.V.                  $0.00                                                                                         $0.00
SALAZAR, MICHAEL
6310 HEREFORD DR
LOS ANGELES, CA 90022                                 4649     1/3/2018             Interiors in Flight Inc.                         $0.00                                                                                         $0.00
SALAZAR, MICHAEL
6310 HEREFORD DR
LOS ANGELES, CA 90022                                 4650     1/3/2018                TK Mexico LLC                                 $0.00                                                                                         $0.00
SALAZAR, MICHAEL
6310 HEREFORD DR
LOS ANGELES, CA 90022                                 4651     1/3/2018                TK Mexico Inc.                                $0.00                                                                                         $0.00
NOLAN, KEVIN
9421 PRYOR DR
SANTEE, CA 92071                                      4652     1/4/2018               TK Holdings Inc.                               $0.00                                                                                         $0.00
GINELLI, BARBARA
31852 POOLE CT
TEMECULA, CA 92591                                    4653     1/5/2018               TK Holdings Inc.                               $0.00                                                                                         $0.00
ZIELIKE, RICHARD
5720 LOIS LANE
EDINA, MN 55439                                       4654     1/5/2018               TK Holdings Inc.                          $10,396.00                             $2,604.00                                              $13,000.00
PHELPS, BRIAN
218 MAIN STREET #131
KIRKLAND, WA 98033                                    4655     1/7/2018               TK Holdings Inc.                               $0.00                                                                                         $0.00
EDWARDS JR, HENRY B
1040 HUFF RD NW
APT 3430
ATLANTA, GA 30318                                     4656     1/8/2018               TK Holdings Inc.                               $0.00                                                                                         $0.00
STELTENKAMP, PAULA
52 GUNPOWDER RIDGE
FORT THOMAS, KY 41075                                 4657     1/7/2018               TK Holdings Inc.                               $0.00                                                                                         $0.00


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                                                                                                                                              Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                             Amount                                                    Amount
TYCO INTEGRATED SECURITY, LLC
10405 CROSSPOINT BLVD
INDIANAPOLIS, IN 46256                                4658     1/2/2018               Takata Americas                               $0.00                                                                                          $0.00
DAVIS III, FRANK T.
24 DAVID RD.
MILLVILLE, NJ 08332                                   4659     1/2/2018        Takata Protection Systems Inc.                                           $0.00        $139,000.00                                             $139,000.00
DAVIS III, FRANK T.
24 DAVID RD.
MILLVILLE, NJ 08332                                   4660     1/2/2018                TK Finance, LLC                        $139,000.00               $0.00              $0.00                                             $139,000.00
DAVIS III, FRANK T.
24 DAVID RD.
MILLVILLE, NJ 08332                                   4661     1/2/2018               Takata Americas                         $139,000.00               $0.00                                                                $139,000.00
DAVIS III, FRANK T.
24 DAVID RD.
MILLVILLE, NJ 08332                                   4662     1/2/2018            Interiors in Flight Inc.                         $0.00               $0.00              $0.00                                                   $0.00
DAVIS III, FRANK T.
24 DAVID RD.
MILLVILLE, NJ 08332                                   4663     1/2/2018                TK Finance, LLC                        $139,000.00               $0.00                                  $0.00                         $139,000.00
KE, HUI
10200 COLECHESTER STREET
FREDERICKSBURG, VA 22408‐9951                         4664     1/8/2018               TK Holdings Inc.                              $0.00               $0.00              $0.00                                                   $0.00
SALAZAR, MICHAEL
6310 HEREFORD DR
LOS ANGELES, CA 90022                                 4665     1/3/2018    Industrias Irvin de Mexico, S.A. de C.V.                 $0.00                                                                                          $0.00
PERKINS JR., CHARLES H.
3608 CASTLEFIELD LANE
FAYETTVILLE, NC 28306                                 4666     1/4/2018               TK Holdings Inc.                              $0.00                                                                                          $0.00
SINGLETON, T. ANTROY
3293 SHEFFIELD CIRCLE
DECATUR, GA 30032                                     4667     1/5/2018               TK Holdings Inc.                              $0.00                                                                                          $0.00
KORYCKI, MARY A.
14 MCNAMARA LN.
GOSHEN, NY 10924                                      4668     1/5/2018               TK Holdings Inc.                              $0.00                                                                                          $0.00
DEMERCHANT, HERBERT
351 STATION RD
EASTON, ME 04740                                      4669     1/7/2018               TK Holdings Inc.                                                  $0.00                                                                      $0.00
SALANG, MANUEL
6226 ROUDSBY LANE
ALEXANDRIA, VA 22315                                  4670     1/8/2018               Takata Americas                                                   $0.00                                                                      $0.00
DESISTO, DAVID
9048 BROOKS RD. S #307
WINDSOR, CA 95492                                     4671     1/8/2018               TK Holdings Inc.                              $0.00                                                                                          $0.00
RAMIREZ, JAVIER
2508 ALTURAS DRIVE
BAKERSFIELD, CA 93305                                 4672     1/10/2018              TK Holdings Inc.                                                                     $0.00                                                   $0.00
WALL, PHILLIP WALLACE
THE WEST LAW FIRM
S. SCOTT WEST, LAWYER
1600 HIGHWAY SIX, SUITE 450
SUGAR LAND, TX 77478                                  4673     1/9/2018               TK Holdings Inc.                       $1,000,000.00                                                                                 $1,000,000.00
WASHINGTON, KRYSTLE
6922 GARMAN ST
PHILADELPHIA, PA 19142                                4674     1/9/2018               TK Holdings Inc.                                                  $0.00                                                                      $0.00




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                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
ADAMKOWSKI, JOSEPH
BASCH & KEEGAN, LLP
JOHN A. DEGASPERIS, ESQ.
307 CLINTON AVENUE
P.O. BOX 4235
KINGSTON, NY 12402                                    4675     1/9/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
WILKINS, ALYCHIA
715 JOE JONES BLVD
WEST PLAINS, MO 65775                                 4676     1/8/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
REYNA, THOMAS
1710 S 30TH
MOUNT VERNON, WA 98274                                4677     1/11/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
BONNER, PORTIA
29131 GERTRUDE CT
INKSTER, MI 48141                                     4678     1/11/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
METELSKI, JOSEPH
P.O.BOX 373
BEDMINSTER, NJ 07921                                  4679     1/12/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
SHASTEEN JR, SAMUEL R
5530 MERANGO AVE
LA MESA, CA 91942                                     4680     1/12/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
LUTZ, KOLINA
100 CHILPANCINGO PKWY., #2309
PLEASANT HILL, CA 94523                               4681     1/12/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
MAQUIVAR JR, JACOB
1035 S. CASTLE HILL DR
AVON PARK, FL 33825                                   4682     1/13/2018      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
DEARING, JR, RONALD
8051 SOLDIERWOOD STREET
WINTER GARDEN, FL 34787                               4683     1/13/2018      TK Holdings Inc.                                                                   $0.00                                                   $0.00
PALOW, JOHN
3850 SALTERS LN
SACRAMENTO, CA 95835                                  4684     1/13/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
STELTENKAMP, PAULA
52 GUNPOWDER RIDGE
FORT THOMAS, KY 41075                                 4685     1/12/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
SALYERS, ADAM J
865 EAST POINT ROAD
CEDARTOWN, GA 30125                                   4686     1/12/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
HULSHOF, CINDY
36 CAMELLIA DRIVE
CAPE GIRARDEAU, MO 63703                              4687     1/13/2018      TK Holdings Inc.                                                                   $0.00                                                   $0.00
VESCERA, SUSAN
1 PHEASANT RUN ROAD
NEW HOPE, PA 18938                                    4688     1/13/2018      TK Holdings Inc.                        $22,000.00              $0.00              $0.00                                              $22,000.00
RICKSON, ODESHA
9179 LAKE AVON DR
ORLANDO, FL 32829                                     4689     1/14/2018      TK Holdings Inc.                                                $0.00                                                                      $0.00
GREEN, ALFRED DEVON
5340 WILLIAMS DR.
JACKSON, MS 39209                                     4690     1/13/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
HILL, QUENTIN
P.O. BOX 14
BOYLSTON, VA 23917                                    4691     1/14/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
JAYACHANDRAN, KIRUTHI
769 PARK MANOR DR SE
SMYRNA, GA 30082                                      4692     1/15/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
MCMILLIAN, ANDREW E
816 N GRANITE DR
PAYSON, AZ 85541                                      4693     1/15/2018      TK Holdings Inc.                                                $0.00                                                                      $0.00
NITSCHKE, RANDALL MARK
W5059 CLEARWATER LANE
ELKHORN, WI 53121                                     4694     1/15/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
COOPER, LATOYA
156 CANON CIRCLE
SPRINGFIELD, MA 01118                                 4695     1/16/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
YELLOCK, CHARLOTTE ANTOINETTE
2254 WILLIE PACE ROAD
BURLINGTON, NC 27217                                  4696     1/15/2018      TK Holdings Inc.                                                                   $0.00                                                   $0.00
MORGAN, JESSICA
940 MULBERRY STREET
LOUISVILLE, KY 40217                                  4697     1/16/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
CARTER, BARRY K.
8596 NC 205 HWY
OAKBORO, NC 28129                                     4698     1/16/2018      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
DICKLER, WILLIAM D
10830 FOX GLEN DRIVE
BOCA RATON, FL 33428                                  4699     1/16/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
GORGOL, DEBRA L
705 MAPLE ST
OAKLAND, IL 61943                                     4700     1/16/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
TROTTER, ALI
1328 ASH ST.
HAYWARD, CA 94541                                     4701     1/16/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
BERRA, JOHN MICHAEL
PO BOX 53781
IRVINE, CA 92619                                      4702     1/16/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
MARTINS, JOSEPH
17 HELEN AVE
PEDRICKTOWN, NJ 08067                                 4703     1/16/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
NAVE, MARK
P.O. BOX 472
MANDEVILLE, LA 70470                                  4704     1/16/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
CONTI, ROBERT W.
2121 MAINE AVE.
LONG BEACH, CA 90806                                  4705     1/17/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
JASPER, PENNY MARIE
19A WASHINGTON AVE
NORTH PLAINFIELD, NJ 07062                            4706     1/11/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
JOHNSON, SHAD
312 PEPPERTREE CV
BRANDON, MS 39047                                     4707     1/13/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
STALLWORTH, KATINA
1122 BROAD VIEW CT
NORTH LAS VEGAS, NV 89032                             4708     1/14/2018      TK Holdings Inc.                                                                                       $0.00                               $0.00
MENDONZA, LINDA B
2016A WEST AVE 135TH
SAN LEANDRO, CA 94577                                 4709     1/15/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                      Amount                                                   Amount
BLOOM, ADAM
3 SCULPS HILL RD
ORWIGSBURG, PA 17961                                    4710     1/17/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
SCHAUMBERG, CHARLENE
411 OLIVE STREET
CHIPPEWA FALLS, WI 54729                                4711     1/17/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
GALLAGHER, JOE
415 13TH STREET SW
PUYALLUP, WA 98371                                      4712     1/16/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
PARADA, JOSE A
7800 TAYLOE DRIVE TRLR 31
MANASSAS, VA 20112                                      4713     1/17/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
DAVIS, TANIKA HODGE
42 SURREY LANE
WILLINGBORO, NJ 08046                                   4714     1/17/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
LAVINE, PAUL
5285 S. JERICHO WAY
CENTENNIAL, CO 80015                                    4715     1/10/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
JACKSON, DION
2210 MITCH CT W
SANFORD, FL 32771                                       4716     1/10/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
O&S CALIFORNIA, INC.
ALLEN MATKINS LECK GAMBLE MALLORY & NATSIS LLP
ATTN: DEBRA A. RILEY, ESQ.
ONE AMERICA PLAZA
600 WEST BROADWAY, 27TH FLOOR
SAN DIEGO, CA 92101‐0903                                4717     1/11/2018      TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
MICHALEK, JANET C
10541 SHARON LANE
MOKENA, IL 60448                                        4718     1/17/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
TAYLOR, GREGORY
3200 ANNEEWAKEE FALLS PKWY
DOUGLASVILLE, GA 30135                                  4719     1/17/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
VASQUEZ, WHITNEY
1950 TAMARIND AVENUE
APARTMENT 233
HOLLYWOOD, CA 90068                                     4720     1/17/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
ORE, GAMANIEL
9515 CLIPPERWOOD PLACE
HOUSTON, TX 77083                                       4721     1/17/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
LOPEZ, ADRIAN
20 GLADYS ST
ROCHESTER, NY 14621                                     4722     1/17/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
FRIAR, NAOMI
1900 W. ARBUTUS ST
COMPTON, CA 90220                                       4723     1/18/2018      TK Holdings Inc.                                                                   $0.00                                                   $0.00
HESS, CARYL A.
33481 LYONS GATE RUN
AVON, OH 44011                                          4724     1/18/2018      TK Holdings Inc.                        $27,000.00              $0.00              $0.00                                              $27,000.00
POLLOCK, DAVID E.
4385 SUGAR MAPLE DRIVE
ACWORTH, GA 30101                                       4725     1/17/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
FOX, TIREKA
6139 E. 2ND STREET
TUCSON, AZ 85711                                        4726     1/17/2018      TK Holdings Inc.                                                $0.00                                                                      $0.00


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                                                                                                                                   Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
HOLDOSI, ALEXANDER F
800 SE 145TH ST
LOT 5
SUMMERFIELD, FL 34491                                 4727     1/18/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
PALMER, LIERAN
1812 TRINITY AVENUE #110
WALNUT CREEK, CA 94596                                4728     1/18/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
JOHNSON, RUTH E.
27429 PARKVIEW BLVD. #5207
WARREN, MI 48092                                      4729     1/18/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
JONES, GILBERT
517 DOVE PARK ROAD
COLUMBIA, SC 29223                                    4730     1/18/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
C.H. ROBINSON WORLDWIDE, INC.
14701 CHARLSON ROAD
EDEN PRAIRIE, MN 55347                                4731     1/16/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
WAYNE, STONEY
13 WILDWOOD LANE
SUMMERSVILLE, WV 26651‐9370                           4732     1/18/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
MCINTOSH, VOKESHA
121 RD 128
SHANNON, MS 38868                                     4733     1/18/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
MUNOZ, DIEGO V
4117 DENMAN ST
ELMHURST, NY 11373                                    4734     1/18/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
SNIDER, DEIDRA
4340 ALEXANDRIA JACKSONVILLE HWY
JACKSONVILLE, AL 36265                                4735     1/19/2018      TK Holdings Inc.                                                $0.00                                                                      $0.00
CASTEDO‐GARCIA, HANS
7871 SW 127TH DRIVE
MIAMI, FL 33183                                       4736     1/19/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
HUGHES, JEVAUGHN MARCELLUS
16411 LAURELFIED DRIVE
HOUSTON, TX 77059                                     4737     1/18/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
HUGHES, JEVAUGHN MARCELLUS
16411 LAURELFIED DRIVE
HOUSTON, TX 77059                                     4738     1/18/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
RIVERA, PABLO
PO BOX 25
OXFORD, PA 19363                                      4739     1/18/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
LERNER, LARRY
6928 ORION AVE.
VAN NUYS, CA 91406                                    4740     1/19/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
GREENE, ARTHUR
48 HIGBIE DRIVE EAST
HARTFORD, CT 06108                                    4741     1/22/2018      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
PEARSON, MARKEICE DEVON
120 WELLS COURT
HAMPTON, VA 23666                                     4742     1/22/2018      TK Holdings Inc.                         $9,000.00              $0.00                                  $0.00                           $9,000.00
JONES, RANDY D
5070 CEDAR CREEK DRIVE
HOUSTON, TX 77056                                     4743     1/19/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
COOPERWOOD, KALESSIA
3966 OTTER DAM CT
ATLANTA, GA 30349                                     4744     1/22/2018      TK Holdings Inc.                         $5,000.00                                 $0.00                                               $5,000.00


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                                                                                                                                   Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
STYERS, GEORGE‐DEVON L.
1307 WRIGHT STREET
LLANO, TX 78643                                       4745     1/23/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
WAGGONER, SHERRI LYNNETTE
204 ELWOOD ST
JACKSONVILLE, AR 72076                                4746     1/23/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
ZALL, ALAN S.
14771 PLAZA DRIVE, SUITE K
TUSTIN, CA 92780                                      4747     1/19/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
GOMEZ, JOSEPH
6825 RIVIERA DRIVE
CORAL GABLES, FL 33146                                4748     1/23/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
DUCK, TAMIKA
619 CHESTNUT ST
COLUMBUS, MS 39702                                    4749     1/24/2018      TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
BENNETT, DESHONDA
5739 BELCREST ST.
HOUSTON, TX 77033                                     4750     1/24/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
SODERBERG, KENDRA
6981 MOUNT NIMBUS ST
WELLINGTON, CO 80549                                  4751     1/24/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
DEBORD, ALEXIS
1277 STRATFORD AVE APT BB
BRONX, NY 10472                                       4752     1/24/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
AGUILAR, MERILIDA
1257 LA CANADA WAY
SALINAS, CA 93901                                     4753     1/25/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
HAWKINS, CRYSTAL DENA'E
34 WETZEL COURT
FORT RUCKER, AL 36362                                 4754     1/24/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
GROOVER, LAZETTA
138 DEVANE ST
SAVANNAH, GA 31408‐1623                               4755     1/25/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
RIVERA, PABLO
PO BOX 25
OXFORD, PA 19363                                      4756     1/25/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
GARNER, AMANDA
100 GRAYS CIRCLE
LIBERTY HILL, TX 78642                                4757     1/26/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
KUBOTA, PRISCILA PARAS
1942 DEL CIERVO PLACE
CAMARILLO, CA 93012                                   4758     1/26/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
KHAN, SAIRA
10232 HICKORY RIDGE RD #402
COLUMBIA, MD 21044                                    4759     1/26/2018      TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
KUCK, DARREN
P.O. BOX 1063
LAUREL, MT 59044                                      4760     1/26/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
SHOCKLEY, MILTON
120 HIGHWOOD CIRCLE
MURRELLS INLET, SC 29576                              4761     1/28/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
WILLIAMS, LEONARD
708 E 122ND STREET
LOS ANGELES, CA 90059                                 4762     1/28/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                         Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                         Amount                                                   Amount
JAMISON, MELISSA
303 EAST 22ND STREET
BALTIMORE, MD 21218                                   4763     1/29/2018           TK Holdings Inc.                             $0.00                                                                                         $0.00
WHEELER, NATHAN
2989 E LOON CREEK ST.
MERIDIAN, ID 83642                                    4764     1/28/2018           TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
HUDGEN, QUENTON
3500 RED BLUFF RD. #198
PASADENA, TX 77503                                    4765     1/27/2018   Takata Protection Systems Inc.                                                                                 $0.00                               $0.00
DAGNENICA, DONNA
365 GARDEN EDGE POINTE # 119
FERN PARK, FL 32730                                   4766     1/28/2018           TK Holdings Inc.                             $0.00                                                                                         $0.00
BELLAMY, LAWANDA
P.O. BOX 2346
EATONVILLE, FL 32751                                  4767     1/29/2018           TK Holdings Inc.                                                $0.00                                  $0.00                               $0.00
BUSCH, RICHARD STEPHEN
545 EL BOSQUE ROAD, COTTAGE J
SANTA BARBARA, CA 93106                               4768     1/29/2018   Strosshe‐Mex, S. de R.L. de C.V.                     $0.00                                                                                         $0.00
HAWKINS, ADDONIS SYLVESTER
34 WETZEL COURT
FORT RUCKER, AL 36362                                 4769     1/29/2018           TK Holdings Inc.                             $0.00                                                                                         $0.00
KLOS, KENNETH
383 CASTLETON CIRCLE
TALLAHASSEE, FL 32312                                 4770     1/29/2018           TK Holdings Inc.                             $0.00                                                                                         $0.00
SMALLEY, DIANE SCIULLO
4140 N. CENTRAL AVENUE #1070
PHOENIX, AZ 85012                                     4771     1/29/2018          Takata Americas                               $0.00                                                                                         $0.00
STEGER, GORDON
2412 CHIEF VICTOR CAMP RD
VICTORIA, MT 59875                                    4772     1/29/2018           TK Holdings Inc.                             $0.00                                                                                         $0.00
BRENNTAG SOUTHWEST, INC
PO BOX 970230
DALLAS, TX 75397                                      4773     1/29/2018           TK Holdings Inc.                             $0.00                                                                                         $0.00
FRANCHISE TAX BOARD
BANKRUPTCY SECTION MS A340
PO BOX 2952
SACRAMENTO, CA 95812‐2952                             4774     1/30/2018           TK Holdings Inc.                                                $0.00                                                                      $0.00
KUBOTA, PRISCILA PARAS
1942 DEL CIERVO PLACE
CAMARILLO, CA 93012                                   4775     1/30/2018           TK Holdings Inc.                             $0.00                                                                                         $0.00
CHOU, JESSICA
16353 VERIDIAN CIRCLE
SAN DIEGO, CA 92127                                   4776     1/30/2018           TK Holdings Inc.                             $0.00                                                                                         $0.00
LOUIE, ANGUS
123 WOODLAKE DR W
WOODBURY, NY 11797                                    4777     1/31/2018           TK Holdings Inc.                             $0.00                                                                                         $0.00
SMITH, NAOMI
15 SEMINARY STREET #3
MIDDLEBURY, VT 05753                                  4778     1/31/2018           TK Holdings Inc.                             $0.00                                                                                         $0.00
MURRAY, GIOVANNI
14430 SOUTH WOODLAND
CLEVELAND, OH 44120                                   4779     1/31/2018           TK Holdings Inc.                                                $0.00                                                                      $0.00
CUEVAS, CYNTHIA
3978 PAI ST
KALAHEO, HI 96741                                     4780     2/1/2018            TK Holdings Inc.                                                $0.00                                                                      $0.00


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                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
CUEVAS, CYNTHIA
3978 PAI ST
KALAHEO, HI 96741                                     4781     2/1/2018       Takata Americas                                                 $0.00                                                                      $0.00
MENDIVIL, EDWARD
1319 E 53RD ST
LONG BEACH, CA 90805‐6113                             4782     1/31/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
MENDIVIL, EDWARD
1319 E 53RD ST
LONG BEACH, CA 90805‐6113                             4783     1/31/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
MENDIVIL JR., EDWARD
10440 N LYNN CIR APT N
MIRA LOMA, CA 91752‐1338                              4784     1/31/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
MENDIVIL, EDWARD
1319 E 53RD ST
LONG BEACH, CA 90805‐6113                             4785     1/31/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
MENDIVIL, EDWARD
1319 E 53RD ST
LONG BEACH, CA 90805‐6113                             4786     1/31/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
WADE, SHAWANDA
3200 LAKEVIEW PL
APT 100
ATLANTA, GA 30337                                     4787     1/27/2018      TK Holdings Inc.                                                                   $0.00                                                   $0.00
TERRY, PATRICK J
1235 AGUIRRE DR
CHULA VISTA, CA 91910                                 4788     2/1/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
ODOM JR, H. DAVID
1728 WEBSTER STREET, NE
WASHINGTON, DC 20017                                  4789     2/1/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
GOBBI , GIVIORNO
ALINARI 24 ORE S.P.A.
LARGO ALINARI, 15
FIRENZE 50123
ITALY                                                 4790     2/1/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
BETTINE, MARIE
CENTRAL LAW OFFICE PC
PO BOX 720633
NORMAN, OK 73070                                      4791     1/30/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
GUADAGNOLI, PETER
1917 W LA OSA DR
TUCSON, AZ 85705                                      4792     2/1/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
ADDIS, THOMAS ADGER
6743 QUEENSBERRY DRIVE
CHARLOTTE, NC 28226                                   4793     2/4/2018       TK Holdings Inc.                        $16,500.00                                                                                    $16,500.00
WOODRUFF, NATHAN
2380‐2 EAST ARAGON BLVD
SUNRISE, FL 33313                                     4794     2/3/2018       TK Holdings Inc.                                                                   $0.00                                                   $0.00
JACKSON JR., EDWARD
2192 SCENIC DR.
BIRMINGHAM, AL 35214                                  4795     2/4/2018       TK Holdings Inc.                        $24,000.00                                 $0.00                                              $24,000.00
JACKSON JR., EDWARD
2192 SCENIC DR.
BIRMINGHAM, AL 35214                                  4796     2/4/2018       TK Holdings Inc.                        $18,000.00              $0.00              $0.00                                              $18,000.00
HAIMERL, STEPHEN M
212 PRESTON HOLLOW DR
SPRING HILL, FL 34609                                 4797     2/4/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00


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                                                                                                                                   Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                    Amount                                                   Amount
FIGG, PATSY A
751 PHELPS JOHNSON RD.
LEITCHFIELD, KY 42754                                 4798     2/5/2018       TK Holdings Inc.                                                $0.00                                                                      $0.00
CHELEMEN, DAVID J.
14892 WHITE AVE
ALLEN PARK, MI 48101                                  4799     2/5/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
PORTER, ROYA
6938 MAPLETON COURT
INDIANAPOLIS, IN 46214                                4800     2/5/2018       TK Holdings Inc.                                                                   $0.00                                                   $0.00
ELLIS, RICHARD
8469 S OLIVE
LOS ANGELES, CA 90003                                 4801     2/5/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
NGUYEN, SHERRY THI
8666 LONGWOOD STREET
SAN DIEGO, CA 92126                                   4802     2/5/2018       TK Holdings Inc.                                                $0.00                                                                      $0.00
HUNT, DARSHA
3420 NW 196 LN
MIAMI GARDENS, FL 33056                               4803     2/6/2018       TK Holdings Inc.                                                $0.00                                                                      $0.00
CASTELO, LEE CHARLES
WANDA CASTELO
19 S. FRANKLIN CIRCLE
GREENWOOD VILLAGE, CO 80121                           4804     2/5/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
ADDIS, ANN YARBOROUGH
6743 QUEENSBERRY DRIVE
CHARLOTTE, NC 28226                                   4805     2/6/2018       TK Holdings Inc.                         $3,350.00              $0.00                                                                  $3,350.00
ADDIS, ANN YARBOROUGH
6743 QUEENSBERRY DRIVE
CHARLOTTE, NC 28226                                   4806     2/6/2018       TK Holdings Inc.                         $2,850.00                                                                                     $2,850.00
BROWN, LAWANDA
2807 WILLOW RD
HOMEWOOD, IL 60430                                    4807     2/6/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
MEYERS, DONALD J
2510 SPARGER RD
DURHAM, NC 27705                                      4808     2/6/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
MONTOYA, ROGER
14282 IVY ST.
ADELANTO, CA 92301                                    4809     2/6/2018       TK Holdings Inc.                                                $0.00                                                                      $0.00
LE, THO V.
PURDUE UNIVERSITY
LYLES SCHOOL OF CIVIL ENGINEERING
HAMP G167. 550 STADIUM MALL DRIVE
WEST LAFAYETTE, IN 47907‐2051                         4810     2/6/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
MOORE, YVETTE
2040 HALSEY ROAD
SOUTH EUCLID, OH 44118                                4811     2/5/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
SANTANDER USA
JASMINA HERRERA
3635 BALI DR
SARASOTA, FL 34232                                    4812     2/5/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
CASTELO, LEE CHARLES
WANDA CASTELO
19 S. FRANKLIN CIRCLE
GREENWOOD VILLAGE, CO 80121                           4813     2/5/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
DAGENAIS, LOUIS G
114 OLKO CIRCLE
CHICOPEE, MA 01020‐4886                               4814     2/6/2018       Takata Americas                              $0.00                                                                                         $0.00
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                                                                                                                                       Current Priority   Current Secured                         Current Admin     Total Current
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                                                                                                                                        Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                        Amount                                                   Amount
POULIS, JASON MICHAEL
3335 STOCKER STREET APT#4
LOS ANGELES, CA 90008                                 4815     2/6/2018           TK Holdings Inc.                             $0.00              $0.00                                                                       $0.00
STEWART, VICKIE D
1905 PINE AVE APT #7
LONG BEACH, CA 90806                                  4816     2/6/2018           TK Holdings Inc.                                                $0.00                                                                       $0.00
BEXAR COUNTY
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
DON STECKER
711 NAVARRO, SUITE 300
SAN ANTONIO, TX 78205                                 4817     2/6/2018           TK Holdings Inc.                                                                                                          $0.00             $0.00
HARRIS, JAMAR
35 3RD ST.
CLEVELAND, MS 38732                                   4818     2/6/2018           TK Holdings Inc.                             $0.00                                                                                          $0.00
ACURA FINANCIAL SERVICES
P.O. BOX 49070
CHARLOTTE, NC 28277                                   4819     2/7/2018           TK Holdings Inc.                             $0.00                                                                                          $0.00
FELL, ERIK
6723 WOODLAND DR
DALLAS, TX 75225                                      4820     2/8/2018           TK Holdings Inc.                             $0.00                                                                                          $0.00
KEATING, KENNETH JAMES
3111 S. 9TH AVE
ARCADIA, CA 91006                                     4821     2/8/2018    Takata Protection Systems Inc.                                         $0.00              $0.00                                                    $0.00
MOSES, J JUANITA
PO BOX 1386
MORRISVILLE, PA 19067                                 4822     2/8/2018           TK Holdings Inc.                             $0.00                                                                                          $0.00
DEBORAH M. LANCASTER LTD
114 KILCHURN LN
INVERNESS, IL 60067                                   4823     2/8/2018           TK Holdings Inc.                             $0.00                                                                                          $0.00
MALDONADO, THOMAS PATRICK
8071 N LAMAR BLVD #281
AUSTIN, TX 78753                                      4824     2/8/2018           TK Holdings Inc.                        $19,796.77                                                                                     $19,796.77
KEATING, KENNETH J.
3111 S. 9TH AVE
ARCADIA, CA 91006                                     4825     2/8/2018          Takata Americas                                                  $0.00              $0.00                                                    $0.00
HAWJ, YIA YANG
2241 ITHACA ST.
OROVILLE, CA 95966                                    4826     2/9/2018           TK Holdings Inc.                             $0.00                                                                                          $0.00
KEATING, KENNETH J.
3111 S. 9TH AVE
ARCADIA, CA 91006                                     4827     2/9/2018           TK Finance, LLC                         $15,560.00              $0.00              $0.00                                               $15,560.00
GREEN, FREDERICK N
2345 E. WILLOW HILLS DR.
SANDY, UT 94093                                       4828     2/12/2018          TK Holdings Inc.                             $0.00                                                                                          $0.00
DENNEMEYER & CO. LLC
FOX SWIBEL LEVIN AND CARROLL, LLP
ATTN: RYAN SCHULTZ
200 W. MADISON, SUITE 3000
CHICAGO, IL 60606                                     4829     2/6/2018           TK Holdings Inc.                             $0.00                                                     $0.00                                $0.00
OPTIMAS OE SOLUTIONS, LLC
THOMPSON HINE LLP
JEREMY CAMPANA
127 PUBLIC SQ.
3900 KEY CENTER
CLEVELAND, OH 44114                                   4830     2/9/2018           TK Holdings Inc.                                                                                       $0.00                                $0.00


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                                                                                                                                               Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                              Amount                                                    Amount
MOSES, J. JUANITA
PO BOX 1386
MORRISVILLE, PA 19067                                           4831     2/12/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
BARKER, LILLIAN
P.O. BOX 133
OTIS, MA 01253                                                  4832     2/12/2018      Takata Americas                              $0.00                                                                                          $0.00
MARCANO‐REIK, AMY JO
8133 MAPLEWAY DRIVE
OLMSTED FALLS, OH 44138                                         4833     2/13/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
DEJEAN, KADYN
2050 POLO GARDENS DRIVE
APT 107
WELLINGTON, FL 33414                                            4834     2/13/2018      TK Holdings Inc.                                                 $0.00                                                                      $0.00
KOZIOL, FRANK
61 MONTICELLO DR
HILTON HEAD ISLAND, SC 29926                                    4835     2/13/2018      TK Holdings Inc.                                                 $0.00                                                                      $0.00
BEDWELL, JR., WILLIAM F.
8924 PUERTO DEL RIO DRIVE, UNIT 504
CAPE CANAVERAL, FL 32920                                        4836     2/14/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
CENTURYLINK COMMUNICATIONS, LLC (F/K/A QWEST COMMUNICATIONS
COMPANY, LLC)
BANKRUPTCY
931 14TH STREET SUITE 900
DENVER, CO 80202                                                4837     2/16/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
THOMPSON, JASON B
500 POINDEXTER RD.
MICHIE, TN 38357                                                4838     2/20/2018      TK Holdings Inc.                                                 $0.00                                                                      $0.00
BUCKHALTER, TROY
510 MONROE AVE
WIGGINS, MS 39577                                               4839     2/20/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
PATASHVILI, DANIIL
1111 ODDSTAD BLVD
PACIFICA, CA 94044                                              4840     2/14/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
PATASHVILI, DANIEL
1111 ODDSTAD BLVD.
PACIFICA, CA 94044                                              4841     2/14/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
LEE CHARLES CASTELO TRUST
WANDA CASTELO
19 S. FRANKLIN CIRCLE
GREENWOOD VILLAGE, CO 80121                                     4842     2/15/2018      TK Holdings Inc.                      $5,000,000.00                                                                                 $5,000,000.00
SMYTH, SEAN
2300 W. BYRON ST.
CHICAGO, IL 60618                                               4843     2/15/2018      TK Holdings Inc.                           $500.00                                                                                        $500.00
GIFFORD, GREGORY
865 PEARSE RD
NISKAYUNA, NY 12309                                             4844     2/19/2018      TK Holdings Inc.                                                 $0.00                                                                      $0.00
NORTHRUP, ROBERT D
6551 BOUCHELLE LN
COTTONWOOD HEIGHTS, UT 84121                                    4845     2/19/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
COX, MARGARET M
35 C OAKWOOD DRIVE
MAPLE SHADE, NJ 08052                                           4846     2/20/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
MCKINNEY, PARRISH
1550 CORNELL CIRCLE
HOFFMAN ESTATES, IL 60169                                       4847     2/20/2018      TK Holdings Inc.                        $29,600.00                                  $0.00               $0.00                          $29,600.00


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                                                                                                               Current General                                           Current 503(b)(9)
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                                                                                                                                    Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                    Amount
FERRANDO, SHANNON
140 PARKVIEW DR
AURORA, OH 44202                                     4848     2/20/2018      TK Holdings Inc.                                                 $0.00                                                                      $0.00
FERRANDO, DINO
140 PARKVIEW DR
AURORA, OH 44202                                     4849     2/20/2018      TK Holdings Inc.                                                 $0.00                                                                      $0.00
MULLIS, WENDY E
15 KNOLL RIDGE DR.
ASHEVILLE, NC 28804                                  4850     2/21/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
BABICK, NANCY
P.O. BOX 923
BELLINGHAM, WA 98227                                 4851     2/20/2018      TK Holdings Inc.                         $2,092.00               $0.00              $0.00                                               $2,092.00
TRICOMI, STEPHANIE
9104 THISTLEDOWN ROAD #475
OWINGS MILLS, MD 21117                               4852     2/21/2018      TK Holdings Inc.                        $18,800.00                                  $0.00                                              $18,800.00
PENNSYLVANIA DEPARTMENT OF REVENUE
BANKRUPTCY DIVISION
PO BOX 280946
HARRISBURG, PA 17128‐0946                            4853     2/21/2018      TK Holdings Inc.                             $0.00               $0.00                                                                      $0.00
CULVER, VICTOR
PO BOX 155
BURNET, TX 78611                                     4854     2/21/2018      TK Holdings Inc.                         $6,000.00                                                                                      $6,000.00
FRIEDLANDER, MARLENE
33 SAINT ANDREWS WAY
NORTH CHELMSFORD, MA 01863                           4855     2/25/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
HAYNES, JOHN ERIK
2998 EVANS WOODS DR.
ATLANTA, GA 30340                                    4856     2/25/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
WATSON, SHIRLEY
5305 TERSK WAY
ELK GROVE, CA 95757                                  4857     2/26/2018      TK Holdings Inc.                                                                                                                            $0.00
GRACE, RAYMOND E
5901 E CORRINE DR
SCOTTSDALE, AZ 85254                                 4858     2/17/2018      TK Holdings Inc.                           $500.00                                                                                        $500.00
KANTER, STANLEY J.
8 OVERLOOK ROAD
BARRINGTON, RI 02806                                 4859     2/20/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
JACKSON, TOMMY R.
AUBURN CORRECTIONAL FACILITY
135 STATE STREET; 07B1084
PO BOX 618
AUBURN, NY 13024                                     4860     2/20/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
SCHECHTER FAMILY TRUST
6315 EL CAMINO DEL TEATRO
LA JOLLA, CA 92037                                   4861     2/21/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
HERTZ VEHICLE FINANCING LLC
C/O SEYFARTH SHAW LLP
ATTN: JORDAN VICK
233 S. WACKER DRIVE
SUITE 8000
CHICAGO, IL 60606                                    4862     2/23/2018      TK Holdings Inc.                      $8,428,260.00                                                                                 $8,428,260.00
POLLACK, RICHARD
880 PRINCETON DRIVE
SONOMA, CA 95476                                     4863     2/26/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00



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                    Creditor Name and Address                Claim No. Claim Date          Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                             Amount                                                  Amount
TAYLOR, ASHLEY M
433 GALVESTON ST.
LAS VEGAS, NV 89110                                            4864     2/28/2018      TK Holdings Inc.                             $0.00                                                                                        $0.00
PAYTON, RONALD JAMES
2120 S 11TH ST
LOS BANOS, CA 93635                                            4865     2/28/2018      TK Holdings Inc.                             $0.00                                                                                        $0.00
GERACCI, PATRICK
1443 ELDERBERRY PL
NIAGARA FALLS, NY 14304                                        4866     2/28/2018      TK Holdings Inc.                             $0.00                                                                                        $0.00
WYNN, CYNTHIA
326 W CENTER ST
SPOKANE, WA 99208                                              4867     2/28/2018      TK Holdings Inc.                             $0.00                                                                                        $0.00
THOMPSON, ROXANNE
PO BOX 23264
HOUSTON, TX 77228                                              4868     3/1/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
ANTONIO CONTRERAS/ ALVAREZ DAVID
713 W. GAGE AVE
FULLERTON, CA 92832                                            4869     3/1/2018       TK Holdings Inc.                                                $0.00                                                                     $0.00
BOLLES, RICHARD
1005 HIGHLAND DRIVE
FAYETTEVILLE, TN 37334                                         4870     3/1/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
TAYLOR, JEAN C
109 QUAIL RUN COURT
FRANKFORT, KY 40601‐9717                                       4871     3/1/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR. PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4872     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR. PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4873     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
MEYER, JENNIFER
13 ST. MARTHA CT.
FLORISSANT, MO 63031                                           4874     3/4/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
BRADIX, ELIZABETH AND SHARI
1080 WILDWOOD AVENUE
DALY CITY, CA 94015                                            4875     2/28/2018      TK Holdings Inc.                             $0.00                                                                                        $0.00
JOHNSON, LEATHA
262 W BOMFORD ST
RICHWOOD, OH 43344                                             4876     3/1/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
GOECKERITZ, RODGER
PO BOX 744
DRAPER, UT 84020                                               4877     3/1/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4878     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4879     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
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                    Creditor Name and Address                Claim No. Claim Date          Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                             Amount                                                  Amount
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4880     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4881     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4882     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4883     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4884     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4885     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4886     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4887     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4888     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4889     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
REEVES, MANNIS
MANNIS R. SAMUELS
1409 KNOWLES ROAD
PHENIX CITY, AL 36869‐6965                                     4890     3/6/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00



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                                                                                                                         Current General                                         Current 503(b)(9)
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                    Creditor Name and Address                Claim No. Claim Date          Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                             Amount                                                  Amount
COUNTS, JAMES
2800 ASHLAND AVE
ST JOSEPH, MO 64506                                            4891     3/9/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
SIMERLY, ALLEN
1115 CR 2102
LOMETA, TX 76853                                               4892     3/9/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
SHELTON, SHURON
2935 S PERKINS RD
MEMPHIS, TN 38118                                              4893     3/12/2018      TK Holdings Inc.                                                $0.00                                                                     $0.00
NORTHRUP, ROBERT D
6551 BOUCHELLE LN
COTTONWOOD HEIGHTS, UT 84121                                   4894     2/19/2018      TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4895     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4896     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4897     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4898     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4899     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR.
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4900     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
JERALD JANUARY, SR., PR FOR THE ESTATE OF NADINE PAUL
FIEGER LAW
DONALD H. DAWSON, JR
19390 W. 10 MILE RD.
SOUTHFIELD, MI 48075                                           4901     3/2/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
ABERNATHY, ROBERT L
222 S HIGH ST.
PARIS, IL 61944                                                4902     3/5/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
ABERNATHY, JOYCE A.
609 SHAW AVE.
PARIS, IL 61944                                                4903     3/5/2018       TK Holdings Inc.                             $0.00                                                                                        $0.00
CARTNER, GRANT
7777 OLD MILL FOREST DRIVE
ROANOKE, VA 24018                                              4904     3/12/2018      TK Holdings Inc.                                                $0.00                                                                     $0.00
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                                                                                                                                     Current Priority   Current Secured                         Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                      Amount                                                   Amount
HARRELL, DAVID
136 WORTHING CT
DISCOVERY BAY, CA 94505                                 4905     3/15/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
HURLEY, COLETTE
1208 EDNOR ROAD
SILVER SPRING, MD 20905                                 4906     3/21/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
PUMA, TERESA
30 STONELAKE DRIVE
GRABITE FALLS, NC 28630                                 4907     3/21/2018      TK Holdings Inc.                                                $0.00              $0.00                                                   $0.00
SOUTHERN LAKES ELECTRIC, INC.
JAFFE RAITT HEUER & WEISS, P.C.
JONATHAN C. MYERS, ESQ.
27777 FRANKLIN RD., STE. 2500
SOUTHFIELD, MI 48034                                    4908     3/16/2018      TK Holdings Inc.                             $0.00                                                     $0.00                               $0.00
CHESBRO, JOHN
8845 S 51ST ST UNIT 1
PHOENIX, AZ 85044                                       4909     3/17/2018      TK Holdings Inc.                             $0.00                                 $0.00                                                   $0.00
GOVEE, ROWENA D.
3806 S SHADY
VISALIA, CA 93277                                       4910     3/19/2018      TK Holdings Inc.                                                $0.00                                                                      $0.00
BROWN, LEANNE
19737 LOWELL ST. NW
ELK RIVER, MN 55330                                     4911     3/19/2018      TK Holdings Inc.                         $5,791.00                                                                                     $5,791.00
GRIFFIN, TAHEERA
6 NETCONG HEIGHTS APT 7
NETCONG, NJ 07857                                       4912     3/20/2018      TK Holdings Inc.                       $250,000.00                                                                                   $250,000.00
MRKONIC, MIKE
PO BOX 716
COOS BAY, OR 97420                                      4913     3/21/2018      Takata Americas                              $0.00                                                                                         $0.00
MCLAIN, CARLA
613 N HARRISON ST
WEST, TX 76691                                          4914     3/21/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
BIEDRON, JONATHAN
12523 HAWKS NEST LANE
GERMANTOWN, MD 20876                                    4915     3/23/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
BIEDRON, MELISA
12523 HAWKS NEST LANE
GERMANTOWN, MD 20876                                    4916     3/23/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
PEARCE, HEATHER M
737 WIZARD AVENUE
STOCKTON, CA 95205                                      4917     3/21/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
MCDONALD, JESSE
6255 ARCTIC LOON WAY
ROCKLIN, CA 95765                                       4918     3/26/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
PEOPLES, DEBRA H
1350 PARK BROOKE CIRCLE SW
MARIETTA, GA 30008                                      4919     3/26/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
WILLIAMS, DEBORAH RENE
822 DRAYMORE LANE
ELGIN, SC 29045                                         4920     3/28/2018      TK Holdings Inc.                                                $0.00                                                                      $0.00
GUERRERO, YVETTE
556 KING GEORGE AVENUE
SAN JOSE, CA 95136                                      4921     3/29/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
COOKS, SHEREIDA
3070 S NELLIS BLVD APT 1164
LAS VEGAS, NV 89121                                     4922     1/18/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                                     Current Priority   Current Secured                         Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                    Amount
CICA, ZORAN
3032 ARLINGTON DR
APTOS, CA 95003                                        4923     1/26/2018      Takata Americas                              $0.00                                                                                          $0.00
HOLT, JANA DENISE
3585 COOPER ST
LITHIA SPRINGS, GA 30122                               4924     2/8/2018       TK Holdings Inc.                             $0.00                                                                                          $0.00
TAYLOR, ASHLEY M
433 GALVESTON ST.
LAS VEGAS, NV 89110                                    4925     1/28/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
BARBOSA, YVONNE
9179 LAKE AVON DR
ORLANDO, FL 32829                                      4926     1/14/2018      TK Holdings Inc.                                                 $0.00                                  $0.00                               $0.00
RICKSON, ODESHA
9179 LAKE AVON DR
ORLANDO, FL 32829                                      4927     1/15/2018      TK Holdings Inc.                                                 $0.00                                                                      $0.00
ZUNIGA, ESMERALDA
PO BOX 397
STOWELL, TX 77661                                      4928     1/20/2018      TK Holdings Inc.                                                                    $0.00                                                   $0.00
MENDEZ, RAUL DANIEL
4711 S. 15TH AVE A1
PHOENIX, AZ 85041                                      4929     1/18/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
MARTIN, KATHARINE
174 PALISADES DRIVE
DALY CITY, CA 94015                                    4930     1/30/2018      TK Holdings Inc.                                                 $0.00                                  $0.00                               $0.00
STANCIL, TOMMY RAY
2220 DEEP CREEK DR
MARIETTA, GA 30068                                     4931     2/3/2018       TK Holdings Inc.                             $0.00                                                                                          $0.00
BELL, CHARLES
11621 DENNIS ROAD #1073
DALLAS, TX 75229                                       4932     2/1/2018       TK Holdings Inc.                             $0.00                                                                                          $0.00
MCSWEENEY, SEAN
1065 BLANCH AVENUE
NORWOOD, NJ 07648                                      4933     3/14/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
RICKSON, ODESHA
9179 LAKE AVON DR
ORLANDO, FL 32829                                      4934     1/14/2018      TK Holdings Inc.                                                 $0.00                                                                      $0.00
JEAN, LOUIS MAXENE
PO BOX 2187
IMMOKALEE, FL 34143                                    4935     1/19/2018      TK Holdings Inc.                                                 $0.00                                                                      $0.00
LLOYD, SERENA
1180 MISS KIMBERLYS LANE
PFLUGERVILLE, TX 78660‐3939                            4936     2/6/2018       TK Holdings Inc.                                                 $0.00                                                                      $0.00
FREEMAN‐SMITH, ADRIENNE
P.O. BOX 7734
CHESAPEAKE, VA 23324                                   4937     2/10/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
PALMORE, WEEDA
2424 GLENWAY AVE APT 2
CINCINNATI, OH 45204                                   4938     2/6/2018       TK Holdings Inc.                             $0.00                                                                                          $0.00
TAYLOR, ASHLEY
433 GALVESTON ST
LAS VEGAS, NV 89110                                    4939     2/14/2018      TK Holdings Inc.                      $4,822,800.00        $27,200.00         $150,000.00                                           $5,000,000.00
DAVIS, SHANTI
15455 EASTBURN
DETROIT, MI 48205                                      4940     2/21/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00



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                                                                                                                    Current General                                          Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                         Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date              Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
GALAMB, ANNAMARIE
7924 ATOLL AVENUE
NORTH HOLLYWOOD, CA 91605                             4941     3/26/2018          TK Holdings Inc.                             $0.00                                                                                         $0.00
CARDOZA, ALEXANDRA
2120 SOUTH 11TH ST
LOS BANOS, CA 93635                                   4942     2/28/2018          TK Holdings Inc.                             $0.00                                                                                         $0.00
GASKILL, GRETCHAN
3750 A HWY 175
LAKEPORT, CA 95435                                    4943     2/15/2018          TK Holdings Inc.                                                $0.00                                                                      $0.00
ORAHOOD, RICHARD
568 MAYJO COURT SE
MARIETTA, GA 30067‐7306                               4944     4/1/2018           TK Holdings Inc.                             $0.00                                                                                         $0.00
PEOPLES, DEBRA H
1350 PARK BROOKE CIRCLE SW
MARIETTA, GA 30008                                    4945     3/26/2018          TK Holdings Inc.                        $10,000.00                                                                                    $10,000.00
CONTRERAS, ANTONIO
713 W. GAGE AVE
FULLERTON, CA 92832                                   4946     3/1/2018           TK Holdings Inc.                                                $0.00                                                                      $0.00
CHARLES, RICHARD V.
1109 PERRY AVE
PERRY, OK 73077                                       4947     4/2/2018           TK Holdings Inc.                             $0.00                                                                                         $0.00
GEKOV, VINCENT
2437 MORNING GLORY
HOLIDAY, FL 34691                                     4948     2/19/2018          TK Holdings Inc.                         $3,000.00                                                                                     $3,000.00
WILLIAMS, BRANDICE
3741 OLMSTED AVE.
LOS ANGELES, CA 90018                                 4949     1/17/2018          TK Holdings Inc.                             $0.00                                                                                         $0.00
RICE, TERRI
2509 MARATHON DRIVE
COLUMBIA, SC 29209                                    4950     3/30/2018          TK Holdings Inc.                                                                   $0.00                                                   $0.00
RUSSO, JOSEPH
17 APPEL DRIVE
SHIRLEY, NY 11967                                     4951     3/17/2018         Takata Americas                               $0.00                                                                                         $0.00
WOLFE, JUAN
2109 10TH ST
BERKELEY, CA 94710                                    4952     3/26/2018   Takata Protection Systems Inc.                                         $0.00                                                                      $0.00
BASNIGHT BLOUNT, DEVELYN
351 NC HWY 45 N
PLYMOUTH, NC 27962                                    4953     3/1/2018           TK Holdings Inc.                             $0.00                                                                                         $0.00
HILL, TODD M.
3735 WOODLAND AVE.
DREXEL HILL, PA 19026‐3106                            4954     4/6/2018           TK Holdings Inc.                                                $0.00                                                                      $0.00
BOIS, ANDREW
701 NW 19TH STREET
APT # 404
FORT LAUDERDALE, FL 33311                             4955     4/14/2018          TK Holdings Inc.                             $0.00                                                                                         $0.00
SHELTON, DIANE
PO BOX 101
FREDERICK, MD 21705                                   4956     4/16/2018          TK Holdings Inc.                                                $0.00                                                                      $0.00
TORRES, JOSE A.
5825 ANNUNCIATION ST.
HOUSTON, TX 77016                                     4957     4/16/2018          TK Holdings Inc.                                                                   $0.00                                                   $0.00
BOIS, ANDREW
701 NW 19TH STREET
APT # 404
FORT LAUDERDALE, FL 33311                             4958     4/17/2018          TK Holdings Inc.                             $0.00                                                                                         $0.00
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                                                                                                                           Current General                                          Current 503(b)(9)
                                                                                                                                              Current Priority   Current Secured                         Current Admin     Total Current
                   Creditor Name and Address                   Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                               Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                               Amount                                                   Amount
BRACH, ERIC
1616 12TH AVENUE
LOS ANGELES, CA 90019                                            4959     4/23/2018      TK Holdings Inc.                          $250.00                                                                                         $250.00
MICHIGAN DEPARTMENT OF TREASURY
3030 W. GRAND BLVD ‐ CADILLAC PLACE
STE 10‐200
DETROIT, MI 48202                                                4960     4/24/2018      TK Holdings Inc.                        $26,670.00              $0.00                                                                  $26,670.00
DEPARTMENT OF THE TREASURY ‐ INTERNAL REVENUE SERVICE
P.O. BOX 7346
PHILADELPHIA, PA 19101‐7346                                      4961     4/25/2018      Takata Americas                                                 $0.00                                                                       $0.00
DUNCAN, KATHERINE E
7090 NW 163 PL
TRENTON, FL 32693                                                4962     4/14/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
RICE, TERRI A.
2509 MARATHON DRIVE
COLUMBIA, SC 29209                                               4963     4/17/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
SCHAEFER, CHRISTOPHER
408 HAZEL ST
TAMAQUA, PA 18252                                                4964     4/19/2018      TK Holdings Inc.                                                $0.00                                                                       $0.00
WARD, JESSE B.
396 OLDTOWN CREEK RD NE
LELAND, NC 28451‐7302                                            4965     4/24/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
ORACLE AMERICA, INC.
C/O DOSHI LEGAL GROUP, P.C.
ATTN: AMISH R. DOSHI, ESQ.
1979 MARCUS AVENUE, SUITE 210E
LAKE SUCCESS, NY 11042                                           4966     5/10/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
LEE, KRISTEN LINDA
1115 MONTEREY BOULEVARD
SAN FRANCISCO, CA 94127‐2505                                     4967     5/5/2018       TK Holdings Inc.                             $0.00                                                                                          $0.00
MCFARLANE, SCOTT
6376 RANCHO MISSION RD #412
SAN DIEGO, CA 92108                                              4968     5/8/2018       TK Holdings Inc.                             $0.00                                                                                          $0.00
LIBERTY MUTUAL INSURANCE COMPANY, INDIVIDUALLY AND ON BEHALF
OF ITS AFFILIATES (SEE ALSO ATTACHED ST
ATTN: HEATHER BOLLINGER, MS02S‐167
100 LIBERTY DRIVE
DOVER, NH 03820                                                  4969     5/9/2018       TK Holdings Inc.                                                                   $0.00                                                    $0.00
MCLEAN, LILO
325 N. PAL DR., APT. H
BEVERLY HILLS, CA 90210                                          4970     5/14/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
ARNOLD, JULIA
24151 CHURCH STREET
PLAQUEMINE, LA 70764                                             4972     5/28/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
VALDEZ, IVON
785 JANE DR.
PORT HUENEME, CA 93041                                           4973     5/24/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
ASSA SERVICIOS Y MANUFACTURACION SA DE CV
CARRETERA 30KM 19
COL 18 DE FEBRERO
SAN BUENAVENTURA, COAHUILA 25500
MEXICO                                                           4974     5/31/2018      TK Holdings Inc.                                                                                                          $0.00             $0.00




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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin     Total Current
                     Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                                      Amount                                                  Amount
GLOBAL TEK CO., LTD.
BUILDING C, 15F., NO. 94, SEC. 1, XINTAI
5TH RD., XIZHI DIST.
NEW TAIPEI CITY 22175
TAIWAN R.O.C.                                           4975     6/1/2018       TK Holdings Inc.                                                                                                         $0.00             $0.00
ASSA SERVICIOS Y MANUFACTURA SA DE CV
CARRETERA 30 KM 19
COL 18 DE FEBRERO
SAN BUENAVENTURA, COAHUILA 25500
MEXICO                                                  4976     5/31/2018      TK Holdings Inc.                                                                                                         $0.00             $0.00
GLOBAL TEK CO., LTD.
BUILDING C, 15F., NO. 94, SEC. 1
XINTAI 5TH RD., XIZHI DIST.
NEW TAIPEI CITY 22175
TAIWAN R.O.C.                                           4977     6/1/2018       TK Holdings Inc.                                                                                                         $0.00             $0.00
TRUELOVE AND MACLEAN, INC.
C/O DAN MOFFA
57 CALLENDER ROAD
WATERTOWN, CT 06795                                     4978     6/5/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
ECLIPSE MOLD INC.
50300 PATRICIA AVE
CHESTERFIELD, MI 48051                                  4979     6/5/2018       TK Holdings Inc.                                                                                                         $0.00             $0.00
TRUELOVE & MACLEAN
ATTN: DAN MOFFA
57 CALENDAR ROAD
WATERTOWN, CT 06795                                     4980     6/5/2018       TK Holdings Inc.                             $0.00                                                                                         $0.00
KALKASKA SCREW PRODUCTS INC
775 RABOURN ROAD NE
KALKASKA, MI 49646                                      4981     6/5/2018       TK Holdings Inc.                                                                                                         $0.00             $0.00
MICO INDUSTRIES, INC.
2929 32ND STREET S.E.
KENTWOOD, MI 49512                                      4982     6/5/2018       TK Holdings Inc.                                                                                                         $0.00             $0.00
ACS INDUSTRIES, INC.
ATTN: PAUL PIMENTEL
1 NEW ENGLAND WAY
LINCOLN, RI 02865                                       4983     6/6/2018       TK Holdings Inc.                                                                                                         $0.00             $0.00
CROSSCON INDUSTRIES LLC
2889 BOND STREET
ROCHESTER HILLS, MI 48309                               4984     6/8/2018       TK Holdings Inc.                                                                                                         $0.00             $0.00
MOLEX, LLC
ATTN: JOSHUA M. WIERSMA
2222 WELLINGTON COURT
LISLE, IL 60532                                         4985     6/11/2018      TK Holdings Inc.                                                                                                         $0.00             $0.00
R.F. CARLSON CO.
2010 COBB INTERNATIONAL BLVD
SUITE F
KENNESAW, GA 30152                                      4986     6/11/2018      TK Holdings Inc.                                                                                                         $0.00             $0.00
UEHARA NAMEPLATE INDUSTRY CO., LTD.
3‐13‐14 MOTOASAKUSA, TAITO‐KU
TOKYO 111‐0041
JAPAN                                                   4987     6/7/2018       TK Holdings Inc.                                                                                                         $0.00             $0.00
MJ CELCO, INC.
ATTN: T. MEYERS
3900 WESLEY TERRACE
SCHILLER PARK, IL 60176                                 4988     6/7/2018       TK Holdings Inc.                                                                                                         $0.00             $0.00


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                                                                                                                                          Current Priority   Current Secured                         Current Admin     Total Current
                    Creditor Name and Address              Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                           Amount                                                   Amount
OLSON METAL PRODUCTS, LLC
511 W. ALGONQUIN ROAD
ARLINGTON HEIGHTS, IL 60005                                  4989     6/8/2018       TK Holdings Inc.                                                                                                          $0.00             $0.00
BUHRKE INDUSTRIES, LLC
511 W ALGONQUIN ROAD
ARLINGTON HEIGHTS, IL 60005                                  4990     6/8/2018       TK Holdings Inc.                                                                                                          $0.00             $0.00
PROTO GAGE TOOL & DIE INC.
ATTN. WALLACE H BIRD
35320 BEATTIE
STERLING HGTS., MI 48312‐2610                                4991     6/8/2018       TK Holdings Inc.                                                                                                          $0.00             $0.00
SANKO MEXICO S.A. DE C.V.
MR. PEDRO ELIZONDO
BLVD APODACA 600‐A
TECHNOLOGY PARK
APODACA, NL 66600
MEXICO                                                       4992     6/11/2018      TK Holdings Inc.                                                                                                          $0.00             $0.00
STANDARD REGISTER LATINOAMERICCA S. DE R.L. DE C.V.
1725 ROE CREST DRIVE
NORTH MANKATO, MN 56003                                      4993     6/11/2018      TK Holdings Inc.                                                                                                          $0.00             $0.00
SOUHAITE, HUGUENS C.
PO BOX 280194
QUEENS VILLAGE, NY 11428                                     4994     5/25/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
PRECISION DIE & STAMPING, INC.
1704 W. 10TH STREET
TEMPE, AZ 85281                                              4995     6/6/2018       TK Holdings Inc.                             $0.00                                                                                          $0.00
ABC KUNSTSTOFF‐ U. EXTRUSIONSTECHNIK GMBH
MRS. PIA LEHNERT
LINDENSTRAßE 125
SIEGBURG D‐53721
GERMANY                                                      4996     6/7/2018       TK Holdings Inc.                                                                                                          $0.00             $0.00
KNITMESH TECHNOLOGIES
GREENFIELD
FLINTSHIRE CH8 9DP
UNITED KINGDOM                                               4997     6/8/2018       TK Holdings Inc.                                                                                                          $0.00             $0.00
HY‐GRO CHEMICALS PHARMTEK PRIVATE LIMITED
203&204, 2ND FLOOR, ASHOKA
BHOOPAL CHAMBERS, SP ROAD
SECUNDERABAD 500 033
INDIA                                                        4998     6/8/2018       TK Holdings Inc.                                                                                                          $0.00             $0.00
TRUELOVE AND MACLEAN, INC.
C/O DAN MOFFA
57 CALLENDER ROAD
WATERTOWN, CT 06795                                          4999     6/8/2018       TK Holdings Inc.                             $0.00                                                                                          $0.00
ITD PRECISION
ATTN: ANNA GAUDET
9719 TELGE RD
HOUSTON, TX 77095                                            5000     6/8/2018       TK Holdings Inc.                                                                                                          $0.00             $0.00
HAMLIN TOOL & MACHINE CO., INC.
1671 E. HAMLIN ROAD
ROCHESTER HILLS, MI 48307                                    5001     6/11/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
ANDERSON QUALITY SPRING MANUFACTURING, INC.
125 S. HAZEL DELL WAY
CANBY, OR 97013                                              5002     6/11/2018      TK Holdings Inc.                                                                                                          $0.00             $0.00
TELAMON CORPORATION
1000 EAST 116TH ST
CARMEL, IN 46032                                             5003     6/11/2018      TK Holdings Inc.                                                                   $0.00                                                    $0.00
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                                                                                                                        Current General                                         Current 503(b)(9)
                                                                                                                                           Current Priority   Current Secured                        Current Admin     Total Current
                   Creditor Name and Address            Claim No. Claim Date              Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                                            Amount                                                  Amount
R.F. CARLSON CO.
2010 COBB INTERNATIONAL BLVD
SUITE F
KENNESAW, GA 30152                                        5004     6/11/2018   Takata Protection Systems Inc.                                                                                                  $0.00             $0.00
METAL SYSTEMS OF MEXICO
GLOBAL AUTOMOTIVE SYSTEMS, LLC
ANN MARIE WALSH
1780 POND RUN
AUBURN HILLS, MI 48326                                    5005     6/11/2018          TK Holdings Inc.                                                                                                         $0.00             $0.00
THOMCO SPECIALTY PRODUCTS, INC
1100 NORTHBROOK PKWY
SUWANEE, GA 30024                                         5006     6/12/2018          TK Holdings Inc.                                                                                                         $0.00             $0.00
ITD PRECISION
ATTN: ANNA GAUDET
9719 TELGE RD
HOUSTON, TX 77095                                         5007     6/12/2018          TK Holdings Inc.                                                                                                         $0.00             $0.00
VAUGHN, JOHN
SAM MORGAN
30500 NORTHWESTERN HIGHWAY
SUITE 425
FARMINGTON HILLS, MI 48334                                5008     6/11/2018          TK Holdings Inc.                             $0.00                                                                                         $0.00
QSS PRECISION COMPONENTS INC.
56 VAN KIRK DRIVE
BRAMPTON, ON L7A 1B1
CANADA                                                    5009     6/8/2018           TK Holdings Inc.                                                                                                         $0.00             $0.00
QSS PRECISION COMPONENTS INC.
56 VAN KIRK DRIVE
BRAMPTON, ON L7A 1B1
CANADA                                                    5010     6/8/2018           TK Holdings Inc.                                                                                                         $0.00             $0.00
MATSUJU MEXICANA S.A. DE C.V.
CTO. SAN ROQUE SUR 323 PARQUE
INDUSTRIAL SANTA FE AMPLIACION
C.P. 36275
SILAO, GTO.
MEXICO                                                    5011     6/8/2018           TK Holdings Inc.                                                                                                         $0.00             $0.00
WAYNE WIRE AIRBAG COMPONENTS ‐ JUAREZ (VENDOR 026160)
200 E. DRESDEN STREET
KALKASKA, MI 49646                                        5012     6/8/2018           TK Holdings Inc.                                                                                                         $0.00             $0.00
WAYNE WIRE AIRBAG COMPONENTS ‐ JUAREZ (VENDOR 026160)
200 E. DRESDEN STREET
KALKASKA, MI 49646                                        5013     6/8/2018           TK Holdings Inc.                                                                                                         $0.00             $0.00
WAYNE WIRE AIRBAG COMPONENTS ‐ JUAREZ (VENDOR 026160)
200 E. DRESDEN STREET
KALKASKA, MI 49646                                        5014     6/8/2018           TK Holdings Inc.                                                                                                         $0.00             $0.00
WAYNE WIRE AIRBAG COMPONENTS ‐ JUAREZ (VENDOR 026160)
200 E. DRESDEN STREET
KALKASKA, MI 49646                                        5015     6/8/2018           TK Holdings Inc.                                                                                                         $0.00             $0.00
IRON FORCE INDUSTRIAL CO., LTD.
13 INDUSTRY NORTH RD.
NAN‐KANG INDUSTRIAL PARK
NAN‐TOU CITY 54066
TAIWAN, R.O.C.                                            5016     6/11/2018          TK Holdings Inc.                                                                                                         $0.00             $0.00




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                                                                                                                                         Current Priority   Current Secured                        Current Admin     Total Current
                       Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                                        Amount                                                    Amount
VOESTALPINE ROTEC SUMMO CORP.
TIMOTHY E. GALLIGAN, PLLC
4041 NORTH SERVICE ROAD
BURLINGTON, ON L7L 4X6
CANADA                                                    5017     6/11/2018      TK Holdings Inc.                                                                                                           $0.00             $0.00
GLOBAL TEK CO., LTD.
BUILDING C, 15F., NO. 94, SEC. 1, XINTAI
5TH RD., XIZHI DIST.
NEW TAIPEI CITY 22175
TAIWAN R.O.C.                                             5018     6/11/2018      TK Holdings Inc.                                                                                                           $0.00             $0.00
GLOBAL SAFETY TEXTILES LLC
ATTN: DK LIM
1556 MONTGOMERY STREET
SOUTH HILL, VA 23970                                      5019     6/13/2018      TK Holdings Inc.                                                                                                           $0.00             $0.00
GABRIELE, RACHEL LYNN
30 GLENVILLE ST. #2
GREENWICH, CT 06831                                       5020     6/15/2018      TK Holdings Inc.                      $10,005,000.00                                                                                $10,005,000.00
GILBERT, SABRINA
33 KIT CARSON LANE
HENDERSONVILLE, NC 28791                                  5021     7/10/2018      TK Holdings Inc.                              $0.00                                                                                          $0.00
HOFFMAN, MARY M
2154 HAWLEY DR.
VISTA, CA 92084                                           5022     6/30/2018      TK Holdings Inc.                           $1,082.84                                                                                     $1,082.84
SISCO, LAQUITA
8632 WINDERSGATE DRIVE
OLIVE BRANCH, MS 38654                                    5023     7/3/2018       TK Holdings Inc.                              $0.00                                                                                          $0.00
BURCHETTE, REBECCA
115 NORTH JACK GQ STREET
SALISBURY, NC 28146                                       5024     7/6/2018       TK Holdings Inc.                              $0.00                                                                                          $0.00
MORGAN, FRANCES H.
1015 EMBASSY ROW WAY
JOHNS ISLAND, SC 29455                                    5025     7/10/2018      TK Holdings Inc.                            $910.00                                                                                        $910.00
HARTZELL, JEFF
3342 SYLVAN RD.
BETHEL PARK, PA 15102                                     5026     7/10/2018      TK Holdings Inc.                            $800.00                                                                                        $800.00
MCCLELLAN, MICHELLE
420 RICHMOND LANE
VILLAGE OF LAKEWOOD, IL 60014                             5027     6/22/2018      TK Holdings Inc.                           $3,500.00                                                                                     $3,500.00
REDFIELD, TRACY S
1 MERRITT ST
APT 1
ANSONIA, CT 06401                                         5028     7/16/2018      TK Holdings Inc.                              $0.00                                                                                          $0.00
MORALES, ASHLEY M
18012 GLACIER BAY ST
PFLUGERVILLE, TX 78660                                    5029     7/3/2018       TK Holdings Inc.                         $30,000.00                                                                                     $30,000.00
MCKEE, JACQUELINE
34 QUINTON ALLOWAY ROAD
SALEM, NJ 08079                                           5030     7/26/2018      TK Holdings Inc.                           $1,000.00                                                                                     $1,000.00
RAMIREZ, ERICK
4422 W. CAMILLE ST.
APT. A
SANTA ANA, CA 92704                                       5031     7/26/2018      TK Holdings Inc.                              $0.00                                                                                          $0.00
CAMP, DAVID W.
2717 PICKERTON DR
DEER PARK, TX 77536                                       5032     7/24/2018      TK Holdings Inc.                        $209,100.00                                                                                    $209,100.00


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                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                   Amount                                                   Amount
ACS INDUSTRIES, INC.
ATTN: PAUL PIMENTEL
1 NEW ENGLAND WAY
LINCOLN, RI 02865                                    5033     8/2/2018       TK Holdings Inc.                                                                                                          $0.00             $0.00
BIZZELL, TAMIKA
814 EAST E ST
BUTNER, NC 27509                                     5034     8/2/2018       TK Holdings Inc.                                                                   $0.00                                                    $0.00
CITY OF WILSONVILLE
ATTN: LEGAL DEPARTMENT
29799 SW TOWN CENTER LOOP E
WILSONVILLE, OR 97070                                5035     8/8/2018       TK Holdings Inc.                          $225.00                                                                                         $225.00
DRIGGERS, JONATHAN RUSSELL
2409 MASON WALLACE DR
APT 404
CHARLOTTE, NC 28212                                  5036     8/8/2018       TK Holdings Inc.                        $21,214.40                                                                                     $21,214.40
JONES, TIMOTHY L
984 MAYS LANE
ATLANTA, GA 30336                                    5037     8/14/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
DAGNENICA, DONNA
365 GARDEN EDGE POINTE # 119
FERN PARK, FL 32730                                  5038     8/8/2018       TK Holdings Inc.                             $0.00                                                                                          $0.00
TAYLOR, ASHLEY M
433 GALVESTON ST.
LAS VEGAS, NV 89110                                  5039     8/13/2018      TK Holdings Inc.                             $0.00              $0.00                                                                       $0.00
HAYES, TYRAN
5004 PRESTWICK DR
ARLINGTON, TX 76001                                  5040     8/25/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
KNOWLES, RACHEL
1109 LAUREL AVE
PALO ALTO, CA 94303                                  5041     8/27/2018      TK Holdings Inc.                                                $0.00                                                                       $0.00
KNOWLES, RACHEL
1109 LAUREL AVE
PALO ALTO, CA 94303                                  5042     8/27/2018      TK Holdings Inc.                                                $0.00                                                                       $0.00
GABRIELE, GERALD
30 GLENVILLE ST. APT #2
GREENWICH, CT 06831                                  5043     8/26/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
ODETTO, TIMOTHY
560 ROHNERT PARK EXPY W
APT 132
ROHNERT PARK, CA 94928                               5044     8/27/2018      TK Holdings Inc.                                                $0.00                                                                       $0.00
AMERICAN HONDA FINANCE CORPORATION
P.O. BOX 168088
IRVING, TX 75016‐8088                                5045     8/29/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
JOHNSON, KEVIN
1763 CYPRESS SPRINGS LANE
COLLIERVILLE, TN 38017                               5046     9/7/2018       TK Holdings Inc.                             $0.00                                                                                          $0.00
JACKSON SR., KELVIN L.
2113 52ND STREET SOUTH
GULFPORT, FL 33707                                   5047     9/25/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00
WEBB, COLEDALE
8658 NEPPEL R
MOSES LAKE, WA 98837                                 5048     10/2/2018      TK Holdings Inc.                                                $0.00                                                                       $0.00
MULLINS, KIM
3265 STATE ROUTE 7
SOUTH SHORE, KY 41175                                5049     10/5/2018      TK Holdings Inc.                             $0.00                                                                                          $0.00


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                                                                                                                                     Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                   Amount
DAVENPORT, DARCY LEE
1008 S PROSPECT DR LOT 31
TOLEDO, IA 52342                                       5050    10/10/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
HARRIS, MARY
1073 COTTONWOOD CIR
GOLDEN, CO 80401                                       5051    10/14/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
BRACAMONTE, RUTH
468 HICKORY ST.
KEARNY, NJ 07032                                       5052    10/15/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
KIRKNER, MAUREEN S.
405 ANN ST.
PHOENIXVILLE, PA 19460                                 5053    10/16/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
BOWEN, VENETTA
212 THIA CT
COATESVILLE, PA 19320                                  5054    10/12/2018      TK Holdings Inc.                                                                   $0.00                                                   $0.00
JEAN, ELVIS
523 E SHORE TRAIL
SPARTA, NJ 07871                                       5055    10/19/2018      TK Holdings Inc.                                                $0.00                                                                      $0.00
KIM, WONAE
17307 SANTA CLARA ST.
FOUNTAIN VALLEY, CA 92708                              5056    10/22/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
RYU, HYOUNGSUN
17307 SANTA CLARA ST.
FOUNTAIN VALLEY, CA 92708                              5057    10/22/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
SCOTHERN, ANGELA
1324 DAVID DRIVE
SYRACUSE, UT 84075                                     5058    10/29/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
SALAAM, SUDAN
301 NOBLE OAKS DRIVE #2803
SAVANNAH, GA 31406                                     5059    10/24/2018      TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
SCOTHERN, ANGELA
1324 DAVID DRIVE
SYRACUSE, UT 84075                                     5060    10/29/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
SCOTHERN, ANGELA
1324 DAVID DRIVE
SYRACUSE, UT 84075                                     5061    10/29/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
BLOUNT, DEMITROUS
25267 COLTRANE DR
DAMASCUS, MD 20872                                     5062     11/1/2018      TK Holdings Inc.                         $3,420.50                                                                                     $3,420.50
ASSASEPA, KOJO
PO BOX 21164
WINSTON SALEM, NC 27120                                5063     11/5/2018      TK Holdings Inc.                                                $0.00                                                                      $0.00
SUGAMELI, PAULINE
1644 LINCOLNSHIRE DR
ROCHESTER HILLS, MI 48309                              5064     11/6/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
PRICE, JAMES
9763 BARTH DRIVE
ZIONSVILLE, IN 46077                                   5065     11/8/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
PALADA, PURISIMA PALACIOS
5577 ROSWELL STREET
SAN DIEGO, CA 92114                                    5066    11/13/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00
PALADA, PURISIMA PALACIOS
5577 ROSWELL STREET
SAN DIEGO, CA 92114                                    5067    11/13/2018      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                                                                                                                                       Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                     Amount                                                     Amount
DINGLE, STEPHANIE
94‐1122 HOOHELE ST
WAIPAHU, HI 96797                                      5068     11/9/2018      TK Holdings Inc.                              $0.00                                                                                          $0.00
SHOKRANI, ANDREA
16802 HAWKGLEN PLACE
LITHIA, FL 33547‐5893                                  5069    11/10/2018      TK Holdings Inc.                              $0.00                                                                                          $0.00
LOVATO, BRANDY
10648 HURON ST APT 309
NORTHGLENN, CO 80234                                   5070    11/27/2018      TK Holdings Inc.                              $0.00                                                                                          $0.00
HOUBERG‐LAWTON, MARK R.
9076 S ENCHANTED OAK LN
SANDY, UT 84094‐3079                                   5071     12/1/2018      TK Holdings Inc.                              $0.00                                                                                          $0.00
NORRIS, SPENCER DEAN
1574 WEEPING WILLOW CT
KISSIMMEE, FL 34744‐2826                               5072     12/2/2018      TK Holdings Inc.                                                                     $0.00               $0.00                               $0.00
ECKHARDT, SETH
408 WALKER WAY
PELHAM, AL 35124                                       5073     12/5/2018      TK Holdings Inc.                              $0.00                                                                                          $0.00
CAROTHERS, AARON LEE
LANGDON & EMSION, LLC
PO BOX 220
LEXINGTON, MO 64067                                    5074    12/12/2018      TK Holdings Inc.                      $15,000,000.00                                                                                $15,000,000.00
SALAAM, SUDAN G.
301 NOBLE OAKS DRIVE #2803
SAVANNAH, GA 31406                                     5075    12/13/2018      TK Holdings Inc.                              $0.00               $0.00              $0.00                                                   $0.00
SALAAM, SUDAN G.
301 NOBLE OAKS DRIVE #2803
SAVANNAH, GA 31406                                     5076    12/13/2018      TK Holdings Inc.                              $0.00               $0.00              $0.00                                                   $0.00
KEPHART, MELISSA ANN
PO BOX 2286
6675 EAST ALSEA HWY
WALDPORT, OR 97394                                     5077     1/3/2019       TK Holdings Inc.                              $0.00                                                                                          $0.00
JOHNSON, ALEX SCOTT
94 N. MERIDITH AVENUE
PASADENA, CA 91106                                     5078     1/11/2019      TK Holdings Inc.                              $0.00                                                                                          $0.00
GRANT, KAREN
90 AMANDA DR
LONDON, KY 40744                                       5079     1/14/2019      TK Holdings Inc.                              $0.00                                                                                          $0.00
ADAMS HARE, LESLEY
PO BOX 91
EVADALE, TX 77615                                      5080     1/15/2019      TK Holdings Inc.                              $0.00                                                                                          $0.00
BERRY, JEFFREY B.
6313 CONSTANCE AVENUE
BARTLETT, TN 38134                                     5081     1/21/2019      TK Holdings Inc.                              $0.00                                                                                          $0.00
SALAAM, SUDAN G.
301 NOBLE OAKS DRIVE #2803
SAVANNAH, GA 31406                                     5082     1/11/2019      TK Holdings Inc.                              $0.00               $0.00              $0.00                                                   $0.00
JACKSON, LISA NICOLE
4500 LAUREL CANYON BLVD
APT 105
STUDIO CITY, CA 91607                                  5083     2/1/2019       TK Holdings Inc.                              $0.00                                                                                          $0.00
SALAAM, SUDAN G.
301 NOBLE OAKS DRIVE #2803
SAVANNAH, GA 31406                                     5084     1/28/2019      TK Holdings Inc.                              $0.00               $0.00              $0.00                                                   $0.00



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                                                                                                                                  Current Priority   Current Secured                         Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date          Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                   Claim Amount       Claim Amount                          Priority Amount   Claim Amount
                                                                                                                   Amount                                                   Amount
SALAAM, SUDAN G.
301 NOBLE OAKS DRIVE #2803
SAVANNAH, GA 31406                                   5085     1/31/2019      TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
SALAAM, SUDAN
301 NOBLE OAKS DRIVE #2803
SAVANNAH, GA 31406                                   5086     2/8/2019       TK Holdings Inc.                             $0.00              $0.00              $0.00                                                   $0.00
GREENE, MARVIN V.
112314 BONITA AVENUE
OWINGS MILLS, MD 21117                               5087     2/17/2019      TK Holdings Inc.                             $0.00                                                                                         $0.00
QUIROZ, TRACI ANN
909 5TH AVENUE, UNIT 1802
SEATTLE, WA 98164                                    5088     3/6/2019       TK Holdings Inc.                             $0.00              $0.00                                                                      $0.00
MANTIONE, JOHN
285 SILVER MAPLE ROAD
GROVELAND, FL 34736                                  5089     3/2/2019       TK Holdings Inc.                             $0.00                                                                                         $0.00
ZAMORA, JARED FLORES
DOMICILIO CONOCIDO
EJIDO EL PACÍFICO
MATAMOROS, COAHUILA 27478
MÉXICO                                               5090     3/10/2019      TK Holdings Inc.                             $0.00                                                                                         $0.00
BUERGEL, MARK
11302 E SUNDOWN DR
SPOKANE VALLEY, WA 99206                             5091     3/26/2019      TK Holdings Inc.                             $0.00                                                                                         $0.00
AGUAYO‐HAMPTON, ROBERTA
5753 DANISH GARDEN ST.
LAS VEGAS, NV 89148                                  5092     3/22/2019      TK Holdings Inc.                                                $0.00                                                                      $0.00
FERRISE, LINDA
1530 WESTPORT DR
ST LOUIS, MO 63146                                   5093     3/28/2019      TK Holdings Inc.                             $0.00                                                                                         $0.00
BAUMGARTNER, ROBERT IGNATIUS
7135 SUNTIDE PLACE
COLORADO SPRINGS, CO 80919                           5094     3/29/2019      TK Holdings Inc.                             $0.00                                                                                         $0.00
NUCULAJ, TOM
18762 NOVA DR
MACOMB, MI 48042                                     5095     4/23/2019      TK Holdings Inc.                             $0.00                                                                                         $0.00
SHARP, KRISTY
210 N. 10TH STREET
HIGHLANDS, TX 77562                                  5096     5/14/2019      TK Holdings Inc.                         $3,000.00                                                                                     $3,000.00
GAUNA, BRENDA
2723 S MESA AVE
YUMA, AZ 85364                                       5097     5/26/2019      TK Holdings Inc.                                                $0.00                                                                      $0.00
ELLIS, AIMEE
PO BOX 5
MCCLELLANDTOWN, PA 15458                             5098     6/10/2019      TK Holdings Inc.                             $0.00                                                                                         $0.00
SMITH, SHAMECIA
700 ARNDT AVENUE
APT. B25
RIVERSIDE, NJ 08075                                  5099     6/20/2019      TK Holdings Inc.                             $0.00                                                                                         $0.00
DAVIS, UHURA
1448 VANDERBILT DRIVE
PLANO, TX 75023                                      5100     7/10/2019      TK Holdings Inc.                             $0.00                                                                                         $0.00
HAGER, CANDIS
3140 N 46TH
LINCOLN, NE 68504                                    5101     7/26/2019      TK Holdings Inc.                             $0.00                                                                                         $0.00



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                    Creditor Name and Address        Claim No. Claim Date                   Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                                Claim Amount       Claim Amount                          Priority Amount    Claim Amount
                                                                                                                              Amount                                                     Amount
MARCHAN, AUDILIA
2241 WHISTLERS PARK CIR # 8
KISSIMMEE, FL 34743                                    5102     7/27/2019              TK Holdings Inc.                               $0.00                                                                                           $0.00
COGAR, AUSTIN & CHRISTOPHER M.
8645 VIA NAPOLEONE CIR
LAS VEGAS, NV 89143                                    5103     8/6/2019               TK Holdings Inc.                       $10,000,000.00                                                                                 $10,000,000.00
SALAAM, SUDAN
301 NOBLE OAKS DRIVE #2803
SAVANNAH, GA 31406                                     5104     8/7/2019               TK Holdings Inc.                               $0.00               $0.00              $0.00                                                    $0.00
SALAAM, SUDAN
301 NOBLE OAKS DRIVE #2803
SAVANNAH, GA 31406                                     5105     8/7/2019               TK Holdings Inc.                               $0.00               $0.00              $0.00                                                    $0.00
DEBOUNO JR., JAMES F.
26 GLEN DRIVE
VOORHEES, NJ 08043                                     5106     8/12/2019              TK Holdings Inc.                                                                                                         $7,062.80         $7,062.80
ROLLE, JAMELLA
905 N. 17TH STREET
FORT PIERCE, FL 34950                                  5107     8/29/2019              TK Holdings Inc.                            $7,067.47                             $7,067.47                                               $14,134.94
LUJAN JR, MANUEL
8000 MILO WAY
KYLE, TX 78640                                         5108     9/8/2019               TK Holdings Inc.                               $0.00                                                                                           $0.00
HIOTT, TERRI M
PO BOX 572
FOREST CITY, NC 28043                                  5109     9/15/2019              TK Holdings Inc.                                              $4,790.00                                                                    $4,790.00
ROLLE, JAMELLA
905 N. 17TH STREET
FORT PIERCE, FL 34950                                  5110     9/11/2019              TK Holdings Inc.                            $7,067.47                                                                                      $7,067.47
BRYAN, GONZALEZ VARGAS Y GONZALEZ BAZ, S.C.
TORRE PUNTO ALPHA
AVE. CAMPOS ELISEOS #1961, FLOOR 2
INTERIOR 2C AND 2D
FRACC. CAMPOS ELISEOS
CIUDAD JUAREZ, CHIHUAHUA 32472
MEXICO                                                 5111     10/1/2019   TK Holdings de Mexico S. de R.L. de C.V.             $57,648.73                                                                                      $57,648.73
BRYAN, GONZALEZ VARGAS Y GONZALEZ BAZ, S.C.
TORRE PUNTO ALPHA
AVE. CAMPOS ELISEAOS # 1961, FLOOR 2
INTERIOR 2C AND 2D
FRACC. CAMPOS ELISEOS
CIUDAD JUAREZ, CHIHUAHUA 32472                         5112     10/4/2019              TK Holdings Inc.                          $57,648.73                                                                                      $57,648.73
RODRIGUEZ, MARY CELIA
630 RESACA SHORES BLVD.
SAN BENITO, TX 78586                                   5113    10/26/2019              TK Holdings Inc.                               $0.00                                                                                           $0.00
VICTORIAN, MELODY
2950 NORTH LOOP WEST
SUITE 570
HOUSTON, TX 77092                                      5114    10/30/2019              TK Holdings Inc.                        $1,021,109.70                                                                                  $1,021,109.70
NORDSON CORPORATION
ATTN: ALEX GARDNER, AR SUPERVISOR
300 NORDSON DR.
AMHERST, OH 44001                                      5115    12/11/2019              TK Holdings Inc.                             $373.40                                                                                         $373.40
BURGESS, TIDALUX
307 HARBOR BLVD
DESTIN, FL 32541                                       5116    12/15/2019              TK Holdings Inc.                            $8,000.00                                                                                      $8,000.00



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                                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                  Amount                                                    Amount
TALL, HESMAN W.
10721 GRAELOCH RD
LAUREL, MD 20723                                                  5117    12/10/2019       TK Holdings Inc.                         $420,000.00                                                                                   $420,000.00
VERNON LEE CAROTHERS, AS SPECIAL ADMINISTRATOR FOR THE ESTATE
OF AARON LEE CAROTHERS, DECEASED.
LANGDON & EMISON, LLC
911 MAIN STREET
P.O. BOX 220
LEXINGTON, MO 64067                                               5118     1/15/2020       TK Holdings Inc.                       $15,000,000.00                                                                               $15,000,000.00
SHARP, KRISTY
210 N. 10TH STREET
HIGHLANDS, TX 77562                                               5119     1/28/2020       TK Holdings Inc.                               $0.00                                                                                         $0.00
VERNON LEE CAROTHERS, SPECIAL ADMINISTRATOR OF THE ESTATE OF
AARON LEE CAROTHERS, DECEASED
LANGDON & EMISON, LLC
P.O BOX 220
911 MAIN STREET
LEXINGTON, MO 64067                                               5121     5/26/2020       TK Holdings Inc.                       $15,000,000.00                                                                               $15,000,000.00
VERNON LEE CAROTHERS, AS SPECIAL ADMINISTRATOR FOR THE ESTATE
OF AARON LEE CAROTHERS, DECEASED
LANGDON & EMISON, LLC
PO BOX 220
911 MAIN STREET
LEXINGTON, MO 64067                                               5122     5/26/2020       TK Holdings Inc.                       $15,000,000.00                                                                               $15,000,000.00
JOANNIDES, CHRIS
524 MARBLEWOOD CT
FORT MILL, SC 29708                                             P‐0000001 10/17/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
LOVELOCK, STACEY W.
LOVELOCK, TIMOTHY P.
2830 STRATFORD POINTE DR
MELBOURNE, FL 32904                                             P‐0000002 10/18/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
LOVELOCK, TIMOTHY P.
LOVELOCK, STACEY W.
2830 STRATFORD POINTE DR
MELBOURNE, FL 32904                                             P‐0000003 10/18/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
MAXIMO, MARY
2573 REFLECTIONS PL
WEST MELBOURNE, FL 32904                                        P‐0000004 10/18/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
MYERS, LARRY K.
136 KEY COLONY CT
DAYTONA BEACH SH, FL 32118                                      P‐0000005 10/18/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
WEAVER, KATHLEEN A.
1903 MANGO TREE DRIVE
EDGEWATER, FL 32141                                             P‐0000006 10/18/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
WHITE, CAROL
SUNTIME COLLECTIONS
718 TREELINE PLACE
SANFORD, FL                                                     P‐0000007 10/18/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
PERRY, STEVEN H.
12507 S 12TH ST
JENKS, OK 74037                                                 P‐0000008 10/18/2017    TK Holdings Inc., et al .                        $11.02                                                                                        $11.02
HOLGUIN, LAURIE H.
1411 NW SMITH AVE
LAWTON, OK 73507                                                P‐0000009 10/18/2017    TK Holdings Inc., et al .                    $20,000.00                                                                                    $20,000.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SARIDIS, JAMES
4 ERICKSON PL
PALM COAST, FL 32164                                 P‐0000010 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWELL, NISSI
56 ORCHARD DR.
GAITHERSBURG, MD 20878                               P‐0000011 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMON, PHILIP D.
3068 WYNDHAM WAY
MELBOURNE, FL 32940                                  P‐0000012 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, ALEXANDER F.
617 W SMITH ST
ORLANDO, FL 32804                                    P‐0000013 10/18/2017    TK Holdings Inc., et al .                    $1,400.00                                                                                    $1,400.00
ST HILAIRE, WENDY J.
ST HILAIRE, NICHOLAS J.
509 S. BAYVIEW BLVD.
OLDSMAR, FL 34677                                    P‐0000014 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUHR, PHILIP
10574 FUCHSIA CIRCLE
SANTA FE SPRINGS, CA 90670                           P‐0000015 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUHR, PHILIP
10574 FUCHSIA CIRCLE
SANTA FE SPRINGS, CA 90670                           P‐0000016 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OERLINE, MICHELE C.
OERLINE, GEORGE W.
2702 S. 7TH ST., APT 1201
ABILENE, TX 79605‐3091                               P‐0000017 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, REGINALD R.
PHILLIPS, LAURA
8275 ANTHONY WAYNE AVE
CINCINNATI, OH                                       P‐0000018 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEAVER, DAVID C.
60 THOMAS TRACE
FISHERVILLE, KY 40023                                P‐0000019 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEAVER, GWEN H.
60 THOMAS TRACE
FISHERVILLE, KK 40023                                P‐0000020 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVILA‐CALLAHAN, SUSAN F.
CALLAHAN, LAWRENCE B.
4300 RIVERSIDE DR LOT 123
PUNTA GORDA, FL 33982                                P‐0000021 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUHR, PHILIP
10574 FUCHSIA CIRCLE
SANTA FE SPRINGS, CA 90670                           P‐0000022 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRATHER, DONNA R.
1637 NE 32ND STREET
OKLAHOMA CITY, OK 73111                              P‐0000023 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEAN, HEATHER
2180 KNOX AVE
VINE GROVE, KY 40175                                 P‐0000024 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHAEFER, JANICE A.
4950 RAYS CIR
DUBLIN, OH 43016                                     P‐0000025 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIELE, ROBERT W.
4585 CITRUS BLVD
COCOA, FL 32926                                      P‐0000026 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LEGETTE, SHERON
2905 HICKORY CREEK DR
ORLANDO, FL 32818                                    P‐0000027 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SISSON, REBECCA A.
12954 SARAH LANE
LARGO, FL 33773                                      P‐0000028 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRIVETT, LYNN A.
426 LINCOLN AVENUE
TITUSVILLE, FL 32796                                 P‐0000029 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORRIS, RUSSELL K.
NORRIS, JOAN M.
5628 DEVON ST
PORT ORANGE, FL 32127                                P‐0000030 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARIDGE, KYLE J.
857 HONEYSUCKLE DR
ROCKLEDGE, FL 32955                                  P‐0000031 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EARLE, FRANCES M.
30000 LOBLOLLY PINE DRIVE
PUNTA GORDA, FL 33982                                P‐0000032 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PACARRO, CRYSTAL D.
45 BURNING BUSH DRIVE
PALM COAST, FL 32137                                 P‐0000033 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUGLER, WOLF S.
GUGLER, LINDA S.
16720 CLEARPOND LN
SHAWNEE, OK 74801                                    P‐0000034 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOTZ, EDWARD L.
211 BAY PLAZA
TREASURE ISLAND, FL 33706                            P‐0000035 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, DANNY L.
387 STEINER ROAD
CHILLICOTHE, OH 45601                                P‐0000036 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHAEFER, PHILIP S.
4950 RAYS CIR
DUBLIN, OH 43016                                     P‐0000037 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, KATHY L.
387 STEINER ROAD
CHILLICOTHE, OH 45601                                P‐0000038 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, AHMAD
PETERSON, JULIE
40250 ORANGE CIR
LADY LAKE, FL 32159                                  P‐0000039 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN VREEDE, BRUCE J.
30 ESSINGTON LANE
PALM COAST, FL 32164                                 P‐0000040 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTH, SHERRY
11727 NW 47 DR
CORAL SPRINGS, FL 33076                              P‐0000041 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, BRYAN F.
872 OAKWOOD DR
MELBOURNE, FL 32940                                  P‐0000042 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, EDWARD J.
3508 RICHWOOD LINK
SARASOTA, FL 34235‐7011                              P‐0000043 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BURNS, KENNETH M.
5807 GREAT EGRET DRIVE
SANFORD, FL 32773                                    P‐0000044 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DAVID F.
6866 BAY FOREST DRIVE
WESTERVILLE, OH 43082‐8668                           P‐0000045 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOZACKA, KELLEE J.
KOZACKA, ROBERT F.
#4815
FIORAZANTE AVE
ORLANDO, FL 32839                                    P‐0000046 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, MARK E.
409 DANA LN
MCLOUD, OK 74851‐8620                                P‐0000047 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIAZ, JAMES
3338 LENOX MILL RD
TALLAHASSEE, FL 32309                                P‐0000048 10/18/2017    TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
GUNNLAUGSSON, JULIE A.
2702 RIDGE RD
DAYTONA BEACH, FL 32118                              P‐0000049 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTELLO, JOHN G.
6 VALENCIA STREET
PALM COAST, FL 32137                                 P‐0000050 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBOSA, JOEL E.
7807 MYRTLE OAK LANE
KISSIMMEE, FL 34747                                  P‐0000051 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OXFORD, NELLIE
740 NE LEMON STREET
DAWSON, GA 39842                                     P‐0000052 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDBERG, RANDY J.
GOLDBERG, BARI
5029 MALLARDS PLACE
COCONUT CREEK, FL 33073                              P‐0000053 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAGER, JIM R.
6801 SANDLEWOOD DR
OKLAHOMA CITY, OK 73132                              P‐0000054 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOTZ, EDWARD L.
211 BAY PLAZA
TREASURE ISLAND, FL 33706                            P‐0000055 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, DEREK A.
2647 NW 49TH ST
OKLAHOMA CITY, OK 73112                              P‐0000056 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STROPES, BRANDALON
STROPES, JEREMY L.
14507 E 110TH PL N
OWASSO, OK 74055                                     P‐0000057 10/18/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
KIM, ELLIOTT S.
1112 E OAK ST.
LOUISVILLE, KY 40204                                 P‐0000058 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENZING, MARC A.
1206 SE 5TH STREET
CAPE CORAL, FL 33990                                 P‐0000059 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILCHMAN, MARC S.
807 PARK LAKE ST
ORLANDO, FL 32803                                    P‐0000060 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SANFORD, MICHAEL
2307 KYLE DR
HEBRON, KY 41048                                     P‐0000061 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, BARBARA J.
6866 BAY FOREST DRIVE
WESTERVILLE, OH 43082‐8668                           P‐0000062 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAROUDAS, ANDREW
MAROUDAS, JUDITH
6233 OSPREY TER
COCONUT CREEK, FL 33073                              P‐0000063 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAROUDAS, ANDREW
MAROUDAS, JUDITH
6233 OSPREY TER
COCONUT CREEK, FL 33073                              P‐0000064 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, ANGELA
1412 NW 107TH ST
OKC, OK 73114                                        P‐0000065 10/18/2017    TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
JOHNSON, LEATHA G.
262 W BOMFORD ST
RICHWOOD, OH 43344                                   P‐0000066 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINER, LUCINDA E.
612 BELTREES STREET
DUNEDIN, FL 34698                                    P‐0000067 10/18/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
MITCHELL, PATRICIA A.
17 COLBY ROAD
STAR LAKE, NY 13690                                  P‐0000068 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOYSON, MARGUERITE M.
1511 NW 31ST PL
CAPE CORAL, FL 33993                                 P‐0000069 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBS, PETER J.
1658 ARASH CIRCLE
PORT ORANGE, FL 32128                                P‐0000070 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERNANDEZ, GIL C.
4069 MISTY MORNING PL
                                                     P‐0000071 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROOTENBOER, MARINUS M.
112 S COOPERS HAWK WAY
PALM COAST, FL 32164                                 P‐0000072 10/18/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
GORDON, JEFFREY
REICH, REBECCA
P.O. BOX 132
OLUSTEE OK 735
                                                     P‐0000073 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STINARD‐WATERS, TINA M.
145 MONEBRAKE DRIVE
PICKERINGTON, OH 43147                               P‐0000074 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUCHER, KIM M.
FARNE, WILLIAM
5329 WOODVALE DRIVE
SARASOTA, FL 34232                                   P‐0000075 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COTSAMIRE, MARIA E.
694 BREAKAWAY TRL
TITUSVILLE, FL 32780                                 P‐0000076 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
DENNIS, ROBERT A.
DENNIS, BOB
4754 CYPRESS GROVE DRIVE
GROVEPORT, OH 43125                                 P‐0000077 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFNER, RUSSELL J.
HOFFNER, CHRISTINE A.
1242 CREEK SIDE CIR
ROCKLEDGE, FL 32955                                 P‐0000078 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLLOY, DOUGLAS E.
457 LONG AVE S
LEHIGH ACRES, FL 33974                              P‐0000079 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RINER, SUSAN C.
4705 GREENHILL ST
COCOA, FL 32927                                     P‐0000080 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDAN, JEKERA
MITCHELL, JOYCE
1805 FAIRLANE DR
TITUSVILLE, FL 32780                                P‐0000081 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, EMMA S.
5308 PINEBURY CT
ORLANDO, FL 32808                                   P‐0000082 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAMA, UDAY SEKHAR
5764 EBNER CIR
DUBLIN, OH 43016                                    P‐0000083 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VONGMANY, SENGSOURIYA
4910 ROSE AVE
ORLANDO, FL 32808                                   P‐0000084 10/18/2017    TK Holdings Inc., et al .                   $17,500.00                                                                                   $17,500.00
HEAVIN, WAYLON G.
29113 COUNTY STREET 2730
VERDEN, OK 73092                                    P‐0000085 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LADEBUSH, BEVERLY
3104 PLUTO CIRCLE
NORTH FORT MYERS, FL 33903                          P‐0000086 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WACHIRA, JEDIDA N.
7560 AGUILA DR
7560 AGUILA DR
SARASOTA, FL 34240                                  P‐0000087 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HART, SUSAN D.
207 BRAIRWOOD CT
WESTERVILLE, OH 43081                               P‐0000088 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIM, CAROL R.
2601 MIKOL TERRACE SOUTH
ST. PETERSBURG, FL 33712                            P‐0000089 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHONG, LENARD
WONG, VIVIAN
7992 HE 109 LANE
PARKLAND, FL 33076                                  P‐0000090 10/18/2017    TK Holdings Inc., et al .                   $35,000.00                                                                                   $35,000.00
VALLEJO, ANGELA
176 NW 7 PLACE
CAPE CORAL, FL 33993                                P‐0000091 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIELDS, VENSON E.
505 E STATE AVE
ENID, OK 73701                                      P‐0000092 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, SHEILA M.
NO ADDRESS PROVIDED
                                                    P‐0000093 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PORTER, JASON A.
1744 LOOKOUT LANDING CIRCLE
WINTER PARK, FL 32789                               P‐0000094 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAINES, VICTOR R.
491 BLOCKER CIRCLE
TALLAHASSEE, FL 32312                               P‐0000095 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRONE, STEPHANIE
440 DEER POINTE CIRCLE
CASSELBERRY, FL 32707                               P‐0000096 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YIN, MUSEN
SUN, WEI
951 FARMINGTON LANE
DELAWARE, OH 43015                                  P‐0000097 10/18/2017    TK Holdings Inc., et al .                   $14,000.00                                                                                   $14,000.00
RUSSO, SANRA E.
810 STARBOARD AVE
EDGEWATER, FL 32141                                 P‐0000098 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISBERG, HERBERT F.
WEISBERG, JUDITH A.
742 GATEHOUSE LN
COLUMBUS, OH 43235                                  P‐0000099 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOOKER, DERRICK O.
3012 SAVANNAH LANE
                                                    P‐0000100 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, RICHARD
3417 NW 44TH ST
OKLAHOMA CITY, OK 73112                             P‐0000101 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAMM, JENNY
7433 FAIRLINKS CT
SARASOTA, FL 34243                                  P‐0000102 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRICKLIN, JAMES D.
5888 UNIVERSITY HEIGHTS DR
ATHENS, OH 45701                                    P‐0000103 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGAR, JENIFER A.
1501 SE 13TH ST.
MOORE, OK 73160                                     P‐0000104 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUACH, MANH C.
14849 CABLESHIRE WAY
ORLANDO, FL 32824                                   P‐0000105 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FROST, ALLEN D.
11042 STATE ROUTE 125
WEST UNION, OH 45693                                P‐0000106 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEFFORGE, KELLY
274 CRIMSON CREEK DR
MOUNT WASHINGTON, KY 40047                          P‐0000107 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KWON, TAEGUN
401 WILLOWRIDGE ST APT E1
ARDMORE, OK 73401                                   P‐0000108 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHOLEDICE, BEVERLY C.
2132 NW SMITH AVE.
LAWTON, OK 73505                                    P‐0000109 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIFFORD, JAMES L.
2807 TULANE DRIVE
COCOA, FL 32926                                     P‐0000110 10/18/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REILLY, MARY L.
5253 FOREST EDGE COURT
SANFORD, FL 32771                                   P‐0000111 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
PERALA, CHERYL L.
5725 MONITOR PL
SARASOTA, FL 34231                                   P‐0000112 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUTCH, WILLIAM N.
FUTCH, NANCY B.
5831 COVEVIEW CT.
LAKELAND, FL 33813                                   P‐0000113 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLIS, KEITH A.
HOLLIS, MARNIE M.
8062 NW 112TH TERRACE
PARKLAND, FL 33076                                   P‐0000114 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLIS, KEITH A.
HOLLIS, MARNIE M.
8062 NW 112TH TERRACE
PARKLAND, FL 33076                                   P‐0000115 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERLAZZO, GAETANO
11365 RABUN GAP DRIVE
NORTH FORT MYERS, FL 33917                           P‐0000116 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, ERIN L.
9045 BLUE RAVEN AVE.
LAS VEGAS, NV 89143‐1150                             P‐0000117 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, KIMBERLY D.
7107 ED WILSON LANE
TALLAHASSEE, FL 32312                                P‐0000118 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAHN, STEPHEN H.
1352 BRINKLEY LANE
THE VILLAGES, FL 32163                               P‐0000119 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRIEST, MELINDA M.
14931 PARK LAKE DRIVE PH 11
FORT MYERS, FL 33919                                 P‐0000120 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEAN, MICHAEL L.
8966 LAKE RIDGE DRIVE
LEWIS CENTER, OH 43035                               P‐0000121 10/19/2017    TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
WILLIAMSON, JACKY K.
27500 COUNTY ROAD 175
STILLWATER, OK 74075                                 P‐0000122 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSH, CAROLYN T.
1030 CLEARPOINTE WAY
LAKELAND, FL 33813                                   P‐0000123 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINNEY, TYLER J.
630 BEECHWOOD STREET
CHILLICOTHE, OH 45601                                P‐0000124 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBB, AMY J.
5146 TWINE STREET
ORLANDO, FL 32821                                    P‐0000125 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADFORD, SAMUEL E.
NO ADDRESS PROVIDED
                                                     P‐0000126 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, JOYCE
1906 HOFFNER AVENUE
ORLANDO, FL 32809                                    P‐0000127 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMM, PAUL
11807 SHASTA LANE
OKLAHOMA CITY, OK 73162                              P‐0000128 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LUPTON, THOMAS B.
4091 SAN BELUGA WAY
ROCKLEDGE, FL 32955                                  P‐0000129 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSENBLUM, HARREN D.
217 MEADOW BEAUTY TER
SANFORD, FL 32771                                    P‐0000130 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELLERS, VALERIE R.
35 TAYLOR RD
MOUNT VERNON, OH 43050                               P‐0000131 10/19/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MATTEAU, RENEE F.
HOCKEBORN, EDWARD H.
66 EMERSON DR
PALM COAST, FL 32164‐6106                            P‐0000132 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORONA, ARTURO
343 SAVANNAH HOLLY LN
SANFORD, FL 32771                                    P‐0000133 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRACKENS, TERRON L.
3009 BLUE WING COURT
LOUISVILLE, KY 40216                                 P‐0000134 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSENBLUM, ELYSE D.
ROSENBLUM, HARREN D.
217 MEADOW BEAUTY TER
SANFORD, FL 32771                                    P‐0000135 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELLS, STEPHANIE R.
WELLS, ADDIE R.
11704 N. 150TH E. AVE.
COLLINSVILLE, OK 74021                               P‐0000136 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELLS, GORDON A.
WELLS, STEPHANIE R.
11704 N. 150TH E. AVE.
COLLINSVILLE, OK 7402Q1                              P‐0000137 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARRIS, CASEY A.
12020 N 107TH EAST AVE
COLLINSVILLE, OK 74021                               P‐0000138 10/19/2017    TK Holdings Inc., et al .                   $35,000.00                                                                                   $35,000.00
WELLS, GORDON A.
WELLS, STEPHANIE R.
11704 N. 150TH E. AVE
COLLINSVILLE, OK 74021                               P‐0000139 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEY, ELEANOR
11108 BROOKLEY DR
LOUISVILLE, KY 40229                                 P‐0000140 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIN, HEUNGSOO
7718 HENRY DAVID CT
DUBLIN, OH 43016                                     P‐0000141 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, DOMERIS B.
823NW 2ND STREET
CAPE CORAL, FL 33993                                 P‐0000142 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, PETER R.
917 E SHANNON CT
VENICE, FL 34293                                     P‐0000143 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDGINGTON, RONALD J.
2995 LAURA LEE LANE
HEBRON, KY 41048                                     P‐0000144 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOGLIO, EDMUND J.
92 ROBINSON DRIVE
PALM COAST, FL 32164                                 P‐0000145 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HAPLEA, KEVIN P.
3400 AVE. OF THE ARTS
APT. F220
COSTA MESA, CA 92626‐7174                             P‐0000146 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, DOMERIS B.
823 NW 2ND STREET
CAPE CORAL, FL 33993                                  P‐0000147 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORONA, ARTURO
343 SAVANNAH HOLLY LN
SANFORD, FL 32771                                     P‐0000148 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADY, SUSAN B.
2207 COURTNEY DR
LA GRANGE, KY 40031                                   P‐0000149 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARAVELLA, DANIELLE
407 GOLF BLVD
DAYTONA BEACH, FL 32118                               P‐0000150 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUNNY, VICKI J.
610 S HIAWATHA ST
SAPULPA, OK 74066                                     P‐0000151 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAVADA, JOHN
2226 NW 2ND STREET
CAPE CORAL, FL 33993                                  P‐0000152 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELLS, GORDON A.
WELLS, STEPHANIE R.
11704 N. 150TH E. AVE.
COLLINSVILLE, OK 74021                                P‐0000153 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, WENDY T.
1290 NORTH RIDGE BLVD
#2323
CLERMONT, FL 34711                                    P‐0000154 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, THOMAS E.
ALLEN, MARIANNE
1046 EVANS ST
OSHKOSH, WI 54901‐3967                                P‐0000155 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, ROD
RICHARDSON, ROD
13106 HAMPTON CIRCLE
GOSHEN, KY 40026                                      P‐0000156 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABDO‐GOMEZ, MAGDA
GOMEZ, MICHAEL E.
P.O. BOX 65‐4112
MIAMI, FL 33265‐4112                                  P‐0000157 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEORGES, MARIE S.
215 NE 7TH AVENUE
CAPE CORAL, FL 33909                                  P‐0000158 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICKS, KEVIN G.
4124 PURPLE RIDGE CT
LAS VEGAS, NV 89129                                   P‐0000159 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAUSE, DONALD A.
KRAUSE, MILLICENT E.
800 S BREVARD AVE UNIT 222
COCOA BEACH, FL 32931‐2473                            P‐0000160 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAPIN SEPTIC TANK SERVICE INC
3031 W. 40TH STREET
ORLANDO, FL 32839                                     P‐0000161 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
KIVETT, HOLLEY D.
KIVETT, HOBART J.
801 E 24TH ST
LYNN HAVEN, FL 32444                                 P‐0000162 10/19/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
SIDDIQUE, MUHAMMAD
4159 NW 43RD PL
COCONUT CREEK, FL 33073                              P‐0000163 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECEIRO, ALEXIS
ALEXIS BECEIRO PA
1410 SW 99 AVE
MIAMI, FL 33174                                      P‐0000164 10/19/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
LAPIN SEPTIC TANK SERVICE INC
3031 W. 40TH STREET
ORLANDO, FL 32839                                    P‐0000165 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIDDIQUE, MUHAMMAD
4159 NW 43RD PL
COCONUT CREEK, FL 33073                              P‐0000166 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, JOHN W.
MORRIS, PAMELA J.
1524 CAPE FEAR NATIONAL DR
LELAND, NC 28451                                     P‐0000167 10/19/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
LAPIN SEPTIC TANK SERVICE INC
3031 W. 40TH STREET
ORLANDO, FL 32839                                    P‐0000168 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOOLEY, ANDREW K.
708 BRIARWOOD CT
BROKEN ARROW, OK 74011                               P‐0000169 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRADO, ARTURO L.
2222 EAST 66TH PLACE # 1201
TULSA, OK 74136‐1168                                 P‐0000170 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, RACHAEL L.
OLIVER, KAREN L.
2609 BEDFORD CIRCLE
EDMOND, OK 73034                                     P‐0000171 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RESSLER, GARY N.
13802 FOURTH STREET
FORT MYERS, FL 33905‐2116                            P‐0000172 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUENROSTRO, OMAR J.
BUENROSTRO, DELFINA G.
11411 TANGERINE DR
BONITA SPRINGS, FL 34135                             P‐0000173 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TONNESSEN, GUNNAR O.
818 HEWITT DRIVE
PORT ORANGE, FL 32127‐5957                           P‐0000174 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODWIN, BRUCE A.
2909 SW 64TH STREET
OKLAHOMA CITY, OK 73159‐1313                         P‐0000175 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
USUGA, MATEO
FUTURE OPTION REALTY
10020 NW 74 TE
DORAL, FL 33178                                      P‐0000176 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACKEY, JONATHAN A.
5146 TWINE STREET
ORLANDO, FL 32821                                    P‐0000177 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
FRIEDMAN, STEVEN J.
2509 N OCEAN BLVD 478
FORT LAUDERDALE, FL 33305                           P‐0000178 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLIMENKO, TETYANA
KLABENES, TODD
5943 E 96TH COURT
TULSA, OK 74137                                     P‐0000179 10/19/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
WILLIAMS, REGINA E.
201 S. VINE ST. APT #2
MARION, OH 43302                                    P‐0000180 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLOWAY, NICHOLE D.
528 W WINTER PARK ST
ORLANDO, FL 32804                                   P‐0000181 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURALIDHARAN, RAYARATHIL
445 MAPLE POINTE DR
SEFFNER, FL 33584                                   P‐0000182 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, JOYCE
1906 HOFFNER AVENUE
ORLANDO, FL 32809                                   P‐0000183 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVAREZ, LEIDY
412 SW 10TH AVE #6
MIAMI, FL 33130                                     P‐0000184 10/19/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
BEENER, COLLEEN E.
BEENER, JOHN J.
2147 FALLBROOKE CT.
TALLAHASSEE, FL 32308                               P‐0000185 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISBERG, HERBERT F.
WEISBERG, JUDITH A.
742 GATEHOUSE LN
COLUMBUS, OH 43235                                  P‐0000186 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEEKS, ROSETTA B.
3550 NW 7TH STREET
LAUDERHILL, FL 33311                                P‐0000187 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODFORK, GLOIA A.
1567 W LATIMER CT
TULSA, OK 74127                                     P‐0000188 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, SHAWN
7614 OHIO RIVER RD
APT B BOX 11
WHEELERSBURG, OH 45694                              P‐0000189 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWELL, ELIZABETH D.
511 25TH AVE E
BRADENTON, FL 34208                                 P‐0000190 10/19/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
DINGESS, KRISTEN N.
721 EAST ALLEN STREET
LANCASTER, OH 43130                                 P‐0000191 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HK ELECTRIC
420 N MAIN
MIAMI, OK 74354                                     P‐0000192 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDMAN, STEVEN J.
2509 N OCEAN BLVD 478
FORT LAUDERDALE, FL 33305                           P‐0000193 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COSENTINO, LAURA M.
2260 WASON ROAD
SARASOTA, FL 34231                                  P‐0000194 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HK ELECTRIC
420 N MAIN
MIAMI, OK 74354                                     P‐0000195 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUERRERA, CHRISTY
526 ANTRY PL.
CATOOSA, OK 74015                                   P‐0000196 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOLER, GEORGE N.
COOLER, BARBARA A.
1339 RICHWOOD CIRCLE
ROCKLEDGE, FL 32955                                 P‐0000197 10/19/2017    TK Holdings Inc., et al .                   $27,000.00                                                                                   $27,000.00
SWEARENGEN, MONTE L.
900 WEST AVE
AUSTIN, TX 78701                                    P‐0000198 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, GARY
173 TALL TIMBER DRIVE
LOVELAND, OH 45140                                  P‐0000199 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COONS, ADRIENNE
12700 LAKE RIDGE CIRCLE
CLERMONT, FL 34711                                  P‐0000200 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODARMEL, JODY M.
RODARMEL, TIPPI
4660 LEON DE ORO DRIVE
LAS VEGAS, NV 89129                                 P‐0000201 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FENIELLO, DEBRA E.
1470 CARRINGTON AVENUE
SEBRING, FL 33875                                   P‐0000202 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGES, LOUIS
HODGES FAMILY TRUST
6920 NW 66TH AVENUE
PARKLAND, FL 33067                                  P‐0000203 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEDOSOV, GARRI V.
2620 SALORN WAY
ROUND ROCK, TX 78681                                P‐0000204 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, JOYCE A.
8506 NW 59TH COURT
TAMARAC, FL 33321                                   P‐0000205 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYFORD, ANDREA S.
1256 TAYLOR AVE
DUNEDIN, FL 34698                                   P‐0000206 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYER, JOHN H.
BOYER, JUDITH A.
10536 AZZURRA DR
FORT MYERS, FL 33913                                P‐0000207 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, JILL
20904 ISOLA BELLA CIR.
VENICE, FL 34292                                    P‐0000208 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYOR, CRAIG C.
3315 NE 14TH CT
FT LAUDERDALE, FL 33304                             P‐0000209 10/19/2017    TK Holdings Inc., et al .                    $2,424.00                                                                                    $2,424.00
ALLEN, ROBERT
400 SW GOLFVIEW TER
APT 101
BOYNTON BEACH, FL 33426                             P‐0000210 10/19/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
EMERICK, AMBER R.
119 ADAMS ST
DAYRON, OH 45410                                    P‐0000211 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
FUGETT, MEGAN N.
10440 DELWOOD PL.
POWELL, OH 43065                                   P‐0000212 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AJOUE, NORA M.
AJOUE, GEORGE H.
3508 BERGER ROAD
LUTZ, FL 33548                                     P‐0000213 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENNEFORTH, CHRISTOPHER J.
10440 DELWOOD PL.
POWELL, OH 43065                                   P‐0000214 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALTZER, MAUREEN E.
10659 SW WEST PARK AVE
PORT ST LUCIE, FL 34987                            P‐0000215 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEMPA, ROBERT
33117 MEADOW/ GREEN COURT
LEESBURG, FL 347                                   P‐0000216 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUDGET DOOR OF CINCINNATI
633 NORTH WAYNE AVE
CINCINNATI, OH 45215                               P‐0000217 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, CHRISTOPHER J.
6113 ASHLEYLYNN COURT
DUBLIN, OH 43016                                   P‐0000218 10/19/2017    TK Holdings Inc., et al .                    $3,100.00                                                                                    $3,100.00
BUDGET DOOR OF CINCINNATI
633 NORTH WAYNE AVE
CINCINNATI, OH 45215                               P‐0000219 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEARNE, MARK
18304 BANKSTON PLACE
TAMPA, FL 33647                                    P‐0000220 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBS, HARRY F.
SNYDER‐JACOBS, SHERRY A.
117 DRAGONFLY DR
TITUSVILLE, FL 32780                               P‐0000221 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUDGET DOOR OF CINCINNATI
633 NORTH WAYNE AVE
CINCINNATI, OH 45215                               P‐0000222 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELLER, JEANE
10178 DOVER CARRIAGE LANE
WELLINGTON, FL 33449                               P‐0000223 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEARNE, MARK K.
18304 BANKSTON PLACE
TAMPA, FL 33647                                    P‐0000224 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUDGET DOOR OF CINCINNATI
633 NORTH WAYNE AVE
CINCINNATI, OH 45215                               P‐0000225 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURROUGHS, CLEM
BURROUGHS, PATSY
POST OFFICE BOX 211
HEAVENER, OK 74937‐0211                            P‐0000226 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAVIN, GLEN M.
8217 SEDONA SUNSET DRIVE
LAS VEGAS, NV 89128                                P‐0000227 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORNASIERO, BARBARA G.
10538 GOLD SHADOW AVE
10538 GOL SHADOW AVE.
LAS VEGAS, NV 89129                                P‐0000228 10/19/2017    TK Holdings Inc., et al .                   $18,000.00                                                                                   $18,000.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BUDGET DOOR OF CINCINNATI
633 NORTH WAYNE AVE
CINCINNATI, OH 45215                                P‐0000229 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERILLA, CHRISTIAN
1535 FALCON AVE
SEBRING, FL 33872                                   P‐0000230 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUCHNIK, JEFF
MUCHNIK, MARINA
206 FLINN STREET
HUTTO, TX 78634                                     P‐0000231 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUDGET DOOR OF CINCINNATI
633 NORTH WAYNE AVE
CINCINNATI, OH 45215                                P‐0000232 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKRZYNSKI, MARK
1421 SE 36TH TER
CAPE CORAL, FL 33904                                P‐0000233 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUDGET DOOR OF CINCINNATI
633 NORTH WAYNE AVE
CINCINNATI, OH 45215                                P‐0000234 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOGLER, RICHARD H.
5076 W. JACKSON RD.
ENON, OH 45323                                      P‐0000235 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODWARD, CHRISTINA M.
4209 PECOS DR
NEW PORT RICHEY                                     P‐0000236 10/19/2017    TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
MCCARTHY, SUZANNE
25257 PUNTA MADRYN
PUNTA GORDA, FL 33983                               P‐0000237 10/19/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
TIWARI, PRATIMA
2125 BETHEL RD SE
BREMEN, OH 43107                                    P‐0000238 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIEGLER, STEVEN N.
13618 BRETON LANE
DELRAY BEACH, FL 33446                              P‐0000239 10/19/2017    TK Holdings Inc., et al .                   $14,760.00                                                                                   $14,760.00
CASTILLO, MEL
13446 LANDFAIR ROAD
SAN DIEGO, CA 92130                                 P‐0000240 10/19/2017    TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
CASTILLO, CHARLIE
1942 WYATT STREET
PENSACOLA, FL 32514                                 P‐0000241 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERDINI, JULIANN
JEFFREY
2 EDINBURGH DR
HAINES CITY, FL 33844                               P‐0000242 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERCADO, JOSE A.
12825 MONTANA WOODS LN
ORLANDO, FL 32824                                   P‐0000243 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, SCOTTY E.
4118 HOSKINS STREET
PANAMA CITY, FL 32404                               P‐0000244 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEHN, JOSH C.
WALTZ BUSINESS SOLUTIONS
730 CENTRE VIEW BLVD
CRESTVIEW HILLS, KY 41017                           P‐0000245 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MEEKS, ANNA L.
267 DARBY CREEK DR
GALLOWAY, OH 43119                                  P‐0000246 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOEHM, THOMAS R.
3000 JACARANDA AVENUE
LAKE PLACID, FL 33852                               P‐0000247 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAZILE, PHINEASTRE
4831 NW 19TH STREET
LAUDERHILL, FL 33313                                P‐0000248 10/19/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
BUDGET DOOR OF CINCINNATI
633 NORTH WAYNE AVE
CINCINNATI, OH 45215                                P‐0000249 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEYMORE, JO ANN
304 SAND OAK BLVD
PANAMA CITY BEAC, FL 32413                          P‐0000250 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLF, TYLER D.
461 N MIAMI ST
WEST MILTON, OH 45383                               P‐0000251 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTHY, SUZANNE
25257 PUNTA MADRYN
PUNTA GORDA, FL 33983                               P‐0000252 10/19/2017    TK Holdings Inc., et al .                    $9,500.00                                                                                    $9,500.00
MAQUIVAR JR, JACOB
MAQUIVAR, JACOB
1035 S. CASTLE HILL DR.
AVON PARK, FL 33825                                 P‐0000253 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE ZEE, AMANDA A.
DE ZEE, REBECCA A.
1121 OLD POLK CITY RD
LAKELAND, FL 33809                                  P‐0000254 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIRANDA, JACQUELINE
275 NORTHWEST BLVD.
MIAMI, FL 33126                                     P‐0000255 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STADLER, TONYA L.
408 CERROMAR CIRCLE SOUTH
UNIT 331
VENICE, FL 34293                                    P‐0000256 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHOUP, ALEX
1716 BENNIGAN DR
HILLIARD, OH 43026                                  P‐0000257 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRITIKOS, ANTHONY
3946 EAST EDEN ROC CIRCLE
TAMPA, FL 33634‐7418                                P‐0000258 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGLETON, LAKISHA N.
8790 COLONIAL DRIVE
WINTER HAVEN, FL 33884                              P‐0000259 10/19/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
MARKOVICH, PAUL
17550 SW 93 AVE.
PALMETTO BAY, FL 33157                              P‐0000260 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYNIAK, RONALD M.
RYNIAK, GAIL A.
2993 CONIFER DR
FT. PIERCE, FL 34951                                P‐0000261 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARKOVICH, KRISTEN
17550 SW 93 AVE.
PALMETTO BAY, FL 33157                              P‐0000262 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
UTZINGER, SHIRLEY E.
324 JONES STREET
DAYTON, OH 45410                                     P‐0000263 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ DE LOS SAN, GINO
1101 S EVERS ST
PLANT CITY, FL 33563                                 P‐0000264 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, JANNETTE
5781 DAWLEY DRIVE
FITCHBURG, WI 53711                                  P‐0000265 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUER, JAMES R.
176 HULL CT
DELAWARE, OH 43015                                   P‐0000266 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, JACOB Z.
1900 FOLLOW THRU RD N
ST.PETERSWBURG, FL 33710                             P‐0000267 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUER, JAMES R.
NO ADDRESS PROVIDED
                                                     P‐0000268 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELTOUM BARKAT, AMAL
10144 LONG BEACH STREET
PORT CHARLOTTE, FL 33981                             P‐0000269 10/19/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
BECEIRO, ALEXIS
ALEXIS BECEIRO PA
1410 SW 99 AVE
MIAMI, FL 33174                                      P‐0000270 10/19/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MILLER, DOUGLAS S.
MILLER, AMANDA L.
2871 ERIN CT
LOVELAND, OH 45140                                   P‐0000271 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, WILLIAM M.
KING, MISTY D.
1204 ALABAR LN
CAPE CORAL, FL 33909                                 P‐0000272 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LABONTE, DAXZENOS
624 SUNWAY LANE
WINTER HAVEN, FL 33880                               P‐0000273 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETTY, STEPHAN M.
4610 CLAREMONT PARK DR
BRADENTON, FL 34211                                  P‐0000274 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS‐FLINT, MARY K.
2001 DELVIN LANE
AUSTIN, TX 78728                                     P‐0000275 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINNERAN, DAVID W.
5300 SW 9TH CT
PLANTATION, FL 33317                                 P‐0000276 10/19/2017    TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
GRABLE, JOHN W.
4521 SW 39 ST
WEST PARK, FL 33023                                  P‐0000277 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, DOUGLAS S.
2871 ERIN CT
LOVELAND, OH 45140                                   P‐0000278 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORDES, MELANIE D.
4321 SW 1ST PLACE
CAPE CORAL, FL 33914                                 P‐0000279 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
COONTZ, JAMES A.
COONTZ, LINDA K.
6443 34TH PLACE
VERO BEACH, FL 32966                                 P‐0000280 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDEN, SCOTT M.
4181 BROOKGROVE DRIVE
GROVE CITY, OH 43123                                 P‐0000281 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVANZO, MARY L.
DAVANZO, THOMAS A.
9303 SE HAWKS NEST CT
HOBE SOUND, FL 33455                                 P‐0000282 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRUSS, LEWIS
9421 SEA TURTLE MANOR
PLANTATION, FL 33324                                 P‐0000283 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOYCE, JOHN
2199 INDIAN AVE N
BELLEAIR BLUFFS, FL 33770                            P‐0000284 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWAIM, RANDY E.
SWAIM, CARAOL A.
2736 LERKIM LANE
NORMAN, OK 73069                                     P‐0000285 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCOY, DARION A.
MCCOY, DARION A.
DANA MOTORS
7750 ISLEY AVENUE
LAS VEGAS, NE 89147                                  P‐0000286 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REISS, WILLIAM R.
411 WINDMARK WAY
PORT ST. JOE
, FL 32456                                           P‐0000287 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLF, JAY M.
175 WEST 12TH STREET
APT 9F
NEW YORK, NY 10011                                   P‐0000288 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAVITZ, LEONARD R.
11922 KIPPER DRIVE
ORLANDO, FL 32827                                    P‐0000289 10/19/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
JOYCE, JOHN J.
2199 INDIAN AVE N
BELLEAIR BLUFFS, FL 33770                            P‐0000290 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELTOUM BARKAT, AMAL
10144 LONG BEACH STREET
PORT CHARLOTTE, FL 33981                             P‐0000291 10/19/2017    TK Holdings Inc., et al .                    $8,500.00                                                                                    $8,500.00
LAWLOR, ELLEN F.
206 FOUR KNOT LANE
OSPREY, FL 34229                                     P‐0000292 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIGA, DAVID
21621 REFLECTION LN
BOCA RATON, FL 33428                                 P‐0000293 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER‐GWIN, RACHEL R.
2743 THUNDER BAY AVENUE
HENDERSON, NV 89052                                  P‐0000294 10/19/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
GANTS, MELINDA A.
1113 HYDE PARK DR.
ROUND ROCK, TX 78665                                 P‐0000295 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LILJA, CAROL A.
157 ZURCHER AVE
BULLHEAD CITY, AZ 86429                               P‐0000296 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KITTENDORF, KATHRINE E.
565 BROWNING TERRACE
SEBASTIAN, FL 32958‐5913                              P‐0000297 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, JERRY J.
910 CLAYTON ROAD
CHIPLEY, FL 32428                                     P‐0000298 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OBRIEN, GEORGE F.
RYAN, KAREN
419 S BROCKFIELD DR
SUN CITY CENTER, FL 33573‐5843                        P‐0000299 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURRY, TAMMY L.
CURRY, DANIEL L.
560 WATERVIEW COVE DRIVE
FREEPORT, FL 32439                                    P‐0000300 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZARINSKY, STANLEY
304 VALLEY DRIVE
LONGWOOD, FL 32779‐3442                               P‐0000301 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWAIM, CAROL A.
SWAIM, RANDY E.
2736 LERKIM LANE
NORMAN, OK 73069                                      P‐0000302 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIPPE, RYAN
2560 SHORE LINE LANE
COLUMBUS, OH 43221                                    P‐0000303 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, TREVINA D.
8795 56TH ST. N
PINELLAS PARK, FL 33782                               P‐0000304 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAULTON, BETSY A.
330 THOMAS LANE
LONDON, OH 43140                                      P‐0000305 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, NICOLE M.
704 RACE ST. #503
CINCINNATI, OH 45202                                  P‐0000306 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEEPLES, ROGER E.
1195 MANDARIN DR. NE
PALM BAY, FL 32905                                    P‐0000307 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVAREZ, ROBERT
27228 BREAKERS DRIVE
WESLEY CHAPEL, FL 33544                               P‐0000308 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, GARY L.
WHITE, BONNIE J.
GARY LEE WHITE
260 E. NORTH AVENUE
CRESTVIEW, FL 32536                                   P‐0000309 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, ANTHONY
2102 WALDEN PARK CIR
APT 203
KISSIMMEE, FL 34744                                   P‐0000310 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLINGTON, AILEEN B.
WALLINGTON, JAMES P.
1427 MOHRLAKE DRIVE
BRANDON, FL 33511                                     P‐0000311 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CASTRO, DAVID G.
3006 W SAN NICHOLAS ST
TAMPA, FL 33629                                     P‐0000312 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YARED, ALAN D.
5731 WEST WATERFORD DRIVE
DAVIE, FL 33331                                     P‐0000313 10/19/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
SPURLIN, LESLIE L.
SPURLIN, LESLIE L.
1821 MIDDLE RIVER DRIVE
APT 8
FT LAUDERDALE, FL 33305                             P‐0000314 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RILEY, JOHN A.
3402 ROYAL OAK DRIVE
TITUSVILLE, FL 32780                                P‐0000315 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, WILLIAM M.
1204 ALABAR LN
CAPE CORAL, FL 33909                                P‐0000316 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEAMBROSE, ELIZABETH A.
777 N ASHLEY DRIVE #811
TAMPA, FL 33602                                     P‐0000317 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUNDY, TRACI L.
5605 NW 121ST CIRCLE
OKLAHOMA CITY, OK 73162‐1845                        P‐0000318 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRELL, JEFFREY S.
FERRELL, TINA M.
773 HOLLANDER ST. APT. D
NEWARK, OH 43055                                    P‐0000319 10/19/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
STROCHAK, SCOTT P.
625 CASA LOMA BLVD, #207
BOYNTON BEACH, FL 33435                             P‐0000320 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILKINSON, DONALEE T.
37 GALE LN
ORMOND BEACH, FL 32174                              P‐0000321 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGURTO, DAVID
ZANUTELLI, KARINA P.
12614 WINFIELD SCOTT BLVD
ORLANDO, FL 32837                                   P‐0000322 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEINER, JAMES E.
430 26TH ST N
ST PETERSBURG, FL 33713                             P‐0000323 10/19/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MCGOWAN, JASON
12215 US 50 E
HILLSBORO, OH 45133                                 P‐0000324 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEELE, BRIANA J.
3853 SISKIN DRIVE
KISSIMMEE, FL 34744                                 P‐0000325 10/19/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
RITLAND, MARY E.
5188 ORINDA DR
SPARKS, NV 89436                                    P‐0000326 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORDONEZ, ISRAEL S.
6411 SW 112TH PL
MIAMI, FL 33173‐2079                                P‐0000327 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, DAVID L.
MORGAN, MARCIA L.
2097 BIGBY HOLLOW ST
COLUMBUS, OH 43228                                  P‐0000328 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
WINSTEAD, ADRIAN
1210 EGO DR.
CRESTVIEW, FL 32536                                P‐0000329 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHILLER, GLENN
2478 NW 63RD STREET
BOCA RATON, FL 33496                               P‐0000330 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRES, SHARON K.
TORRES, CHRISTOPHER
1076 PLANTATION ROSE CT
HENDERSON, NV 89002                                P‐0000331 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINSTEAD, ADRIAN
WINSTEAD, DEBORAH W.
1210 EGO DR.
CRESTVIEW, FL 32536                                P‐0000332 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EMMER, BRADFORD N.
EQUITYMAX, INC.
BRADFORD N. EMMER, PRESIDENT
6216 N FEDERAL HWY
FORT LAUDERDALE, FL 33308                          P‐0000333 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MABEE, JAMES S.
13500 TURTLE MARSH LOOP #813
ORLANDO, FL                                        P‐0000334 10/19/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
TRUONG, VAN
14057 MCFADDEN LN
ORLANDO, FL 32827                                  P‐0000335 10/19/2017    TK Holdings Inc., et al .                    $4,800.00                                                                                    $4,800.00
HERZ, STEPHANIE T.
26532 SHOREGRASS DRIVE
WESLEY CHAPEL, FL 33544                            P‐0000336 10/19/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
MIKHAIL, STEVE
MIKHAIL, STEVE
157 SEMINOLE LAKES DRIVE
ROYAL PALM BEACH, FL 33411                         P‐0000337 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMSAYSTORER, NANCY A.
109 MAGNOLIA WAY
TEQUESTA, FL 33469‐2113                            P‐0000338 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERGEN‐BARRET, GENEVIEVE M.
8176 SCENIC TURN
BOCA RATON, FL 33433                               P‐0000339 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENBERG, ALAINE S.
1024 ASTURIA AVENUE
CORAL GABLES, FL 33134                             P‐0000340 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBBELL, MARY D.
102 WHIPPOORWILL DR
EDGEWOOD, KY 41018                                 P‐0000341 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLEN, ALICIA D.
7120 CHANNEL I SW
OCEAN ISLE BEACH, NC 28469                         P‐0000342 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENBERG, ALAINE S.
1024 ASTURIA AVENUE
CORAL GABLES, FL 33134                             P‐0000343 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARDNER, MELISSA K.
2375 BUCK GROVE ROAD
BRANDENBURG, KY 40108                              P‐0000344 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
READ, JAYNE
3050 NW 42ND AVENUE
C204
COCONUT CREEK, FL 33066                             P‐0000345 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREEMAN, WALLACE E.
FREEMAN, HELEN I.
506 TERRAPIN COVE
KILLEEN, TX 76542                                   P‐0000346 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, KENYA
755 PALMERA ST
ORLANDO, FL 32811                                   P‐0000347 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLIGAN, MARK T.
8854 HICKORY VIEW ST
CANAL WINCHESTER, OH 43110                          P‐0000348 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUMBLE, ROSE
HUMBLE, ROSE MARY M.
10610 SIR MICHAELS PLACE DR
BONITA SPRINGS                                      P‐0000349 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARIOSA, BRENDA L.
LARIOSA, JOSEPH A.
1982 MELROSE AVE
COLUMBUS, OH 43224                                  P‐0000350 10/19/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GEORGE, DARWARD A.
GEORGE, DARWARD A.
4 RUSTIC HILLS STREET
NORMAN, OKLAHOMA 73072                              P‐0000351 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, ROBERT
394 EASTWOOD AVE
DELAWARE, OH 43015                                  P‐0000352 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONILLA, CESAR M.
1750 GROVE DRIVE
CLEARWATER, FL 33759                                P‐0000353 10/19/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
GARCIA, BETTY P.
18604 SW 294 TERRACE
HOMESTEAD, FL 33030                                 P‐0000354 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNOZ, ROGER D.
MUNOZ, MARISSA M.
2900 SWEETSPIRE CIR
KISSIMMEE, FL 34746                                 P‐0000355 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDBERG, RANDY M.
NICOLE‐GOLDBERG, VIVIAN L.
1101 SW 71 AVE
PLANTATION, FL 33317                                P‐0000356 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONILLA, CESAR M.
BONILLA, DIEGO A.
1750 GROVE DRIVE
CLEARWATER                                          P‐0000357 10/19/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
WASSERBOEHR, JOHN M.
WASSERBOEHR, CYNTHIA
2022 PARADISE RIDGE DRIVE
ROUND ROCK, TX 78665                                P‐0000358 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDUN, ANNE
9870 SW 12 STREET
PEMBROKE PINES, FL 33025                            P‐0000359 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PALMER‐GONZALEZ, KIMBERLY M.
3716 S 29TH WEST AVE
TULSA, OK 74107                                     P‐0000360 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EMMER, BRADFORD N.
EQUITYMAX, INC.
6216 N. FEDERAL HWY
FORT LAUDERDALE, FL 33308                           P‐0000361 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMACHO, NATASHA
4508 W FREEPORT PLACE
BROKEN ARROW, OK 74012                              P‐0000362 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EMMER, BRADFORD N.
EQUITYMAX, INC.
6216 N FEDERAL HWY
FORT LAUDERDALE, FL 33308                           P‐0000363 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD II, ROBERT
WOOD, MICHELLE R.
394 EASTWOOD AVE
DELAWARE, OH 43015                                  P‐0000364 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DALIRE, MICHAEL A.
7313A DANIEL WEBSTER DRIVE
WINTER PARK, FL 32792                               P‐0000365 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, ALEXANDRA
2828 NW 45TH ST
OKLAHOMA CITY, OK 73112                             P‐0000366 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVAREZ, GEORGE
ALVAREZ, JOLLIET
7711 E. CHAPARRAL DRIVE
KINGMAN, AZ 86401                                   P‐0000367 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, WILLIAM J.
2450 DANVERS CT
COLUMBUS, OH 43220                                  P‐0000368 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA, LUIS A.
6034 MARGIE CT
ORLANDO, FL 32807                                   P‐0000369 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTANEZ RIOS, JOSE D.
4770 NW 10TH COURT
APT. 308
PLANTATION, FL 33313                                P‐0000370 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLS, MARK
M&M CLEANING SERVICES
817 TURNER CIRCLE
HOMESTEAD, FL 33030                                 P‐0000371 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLS, MARK
817 TURNER CIRCLE
HOMESTEAD, FL 33030                                 P‐0000372 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, JENNIFER
227 CALABRIA AVENUE, APT. 2
CORAL GABLES, FL 33134                              P‐0000373 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LA PLANTE, SUZANNE M.
447 RAINBOW SPRINGS TER
ROYAL PALM BEACH, FL 33411                          P‐0000374 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLS, PATRICIA
817 TURNER CIRCLE
HOMESTEAD, FL 33030                                 P‐0000375 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BONILLA, CESAR M.
GERMOSEN, MARY E.
1750 GROVE DRIVE
CLEARWATER, FL 33759                                P‐0000376 10/19/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
LOBBAN, CHRISTOPHER J.
4275 TYLER CIR N
ST PETERSBURG, FL 33709                             P‐0000377 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONILLA, CESAR M.
RAMBARAN, RYAN
1750 GROVE DRIVE
CLEARWATER, FL 33759                                P‐0000378 10/19/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
VALENCIA, ALLEN P.
6718 DRY HOLLOW DR
LAS VEGAS, NV 89122                                 P‐0000379 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LECHUGA, BRYANT
6608 DUNSMUIR CIRCLE
LAS VEGAS, NV 89108                                 P‐0000380 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OUMMADI, ABDELKRIM
390 NE TOWN TERRACE
JENSEN BEACH, FL 34957                              P‐0000381 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEE, WESLEY D.
117 GREGORY DR
NEWARK, OH 43055                                    P‐0000382 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHORR, MICHAEL J.
16012 IVY LAKE DRIVE
ODESSA, FL 33556                                    P‐0000383 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDEN, MARTHA K.
GOLDEN, JOHN W.
10104 LYRIC LANE
SPRING HILL, FL 34608                               P‐0000384 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIGNY, DINAM T.
8017 ELMSTONE CIRCLE
ORLANDO, FL 32822                                   P‐0000385 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOLAN, PETER
2710 SHIPPING AVENUE
APT 5
MIAMI, FL 33133                                     P‐0000386 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEE, WESLEY D.
117 GREGORY DR
NEWARK, OH 43055                                    P‐0000387 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, ROSEZINA D.
2479 NW 98 ST
MIAMI, FL 33147                                     P‐0000388 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURK, ROBERT D.
109 SUNSET DR
AURORA, IN 47001                                    P‐0000389 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOOKER, GEORGE B.
8746 ANDORA DRIVE
MIRAMAR, FL 33025                                   P‐0000390 10/19/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
NEGRU, BOGDAN
11117 PERSIMMON GAP DR
AUSTIN, TX 78717                                    P‐0000391 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, WILLIAM J.
2450 DANVERS CT
COLUMBUS, OH 43220                                  P‐0000392 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BROWN, CHARISSA H.
BROWN, ERICK R.
4367 MONTREAUX AVE
MELBOURNE, FL 32934                                 P‐0000393 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELGADO, JOSE
8921 TIBERIAN DRIVE
KISSIMMEE, FL 34747                                 P‐0000394 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA, LUIS A.
6034 MARGIE CT
ORLANDO, FL 32807                                   P‐0000395 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHULTZ, JUDITH K.
35 S. KASSON ST.
JOHNSTOWN, OH 43031                                 P‐0000396 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARMONA, ANGELICA I.
12815 SW 10 ST
MIAMI, FL 33184                                     P‐0000397 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDS, LATOYA M.
17333 NW 7TH AVE
APT 106
MIAMI, FL 33169                                     P‐0000398 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAINER, FRANK T.
HAINER, MARGARET J.
7808 BRIARWOOD DR
CRESTWOOD, KY 40014                                 P‐0000399 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSTON, DAVEY H.
2710 GEORGIA AVE
MUSKOGEE, OK 74403                                  P‐0000400 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGHEE, BAY F.
6384 30TH WAY N
ST PETERSBURG, FL 33702                             P‐0000401 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWEN, JENNIFER M.
5504 CRREKSTONE CT
LAKELAND, FL 33810                                  P‐0000402 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDONALD, FRANCIS B.
436B BENNINGTON LANE APT B
LAKE WORTH, FL 33467‐3011                           P‐0000403 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTNEY, DAVID K.
MCCARTNEY, LEAH C.
1234 WOODSIDE DRIVE
MARION, OH 43302                                    P‐0000404 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIDD, KIMBERLI M.
8461 NW 24 STREET
SUNRISE, FL 33322                                   P‐0000405 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARDUSER, JUDITH F.
3819 ARTHUR STREET
HOLLYWOOD, FL 33021‐4912                            P‐0000406 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THIGPEN, JERRY D.
THIGPEN, LAANDREA M.
508 RED TAILS DR.
AUSTIN, TX 78725                                    P‐0000407 10/19/2017    TK Holdings Inc., et al .                    $1,300.00                                                                                    $1,300.00
BODAGER, WILLIAM S.
8933 WHITE SAGE LOOP
LAKEWOOD RANCH, FL 34202                            P‐0000408 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VACA, MARIA E.
1731 SE 13 ST
FORT LAUDERDALE, FL 33316                           P‐0000409 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BARTHOLOMEW, SANDRA E.
11045 SAVANNAH LANDING CIRCLE
ORLANDO, FL 32832                                   P‐0000410 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODS, KELSEY
471 TEAL COYRT
FAYETTEVILLE, NC 28311                              P‐0000411 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, JON J.
10203 VANTAGE RD
LOUISVILLE, KY 40299                                P‐0000412 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JIMENEZ, MARIA A.
9821 FUCHSIA
EL PASO, TX 79925                                   P‐0000413 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HABERER, JOHN R.
3924 BALSAM DRIVE
NICEVILLE, FL 32578                                 P‐0000414 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORBES, SABRINA
3708 IDLEBROOK CIRCLE #208
CASSELBERRY, FL 32707                               P‐0000415 10/19/2017    TK Holdings Inc., et al .                    $1,799.00                                                                                    $1,799.00
VONDRAK, CARLA J.
921 HOLLY ST
BULLHEAD CITY, AZ 86442                             P‐0000416 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERGUSON, LAYTON H.
2728 LONG LASSO PASS
LEANDER, TX 78641                                   P‐0000417 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHELPS‐MCMILLEN, AMELIA L.
2044 SUNSET GROVE LANE
CLEARWATER, FL 33765                                P‐0000418 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VARANELLI, TARA
3040 NANTUCKET DR
LEWIS CENTER, OH 43035                              P‐0000419 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TINE, MARCO G.
2524 PEAKE STREET
NORTH PORT, FL 34286                                P‐0000420 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DERIMAIS, DANIEL E.
3035 CADBURY DR
LAS VEGAS, NV 89121                                 P‐0000421 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINDS, SYLVA S.
4057 COCOPLUM CIR
COCONUT 5, FL 33063                                 P‐0000422 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, KRISTIN
309 PERSIMMON DRIVE
POLK CITY, FL 33868                                 P‐0000423 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOBBAN, SPENCER F.
8600 OLD TOWNE WAY
BOCA RATON, FL 33433                                P‐0000424 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROPSEY, CATHERINE J.
4815 77TH ST. EAST
BRADENTON, FL 34203‐7980                            P‐0000425 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHISLER, JUDY J.
1335 PIERCE STREET
APT 208
CLEARWATER, FL 33756‐7012                           P‐0000426 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESAI, KIRIT S.
DESAI, PRATIBHA K.
9404 PEBBLE BEACH COURT WEST
SEMINOLE, FL 33777                                  P‐0000427 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
SACKEL, ELLEN
3245 DEER CHASE RUN
LONGWOOD, FL 32779                                 P‐0000428 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, SUSAN M.
427 WAKEFIELD ST.
LOVELAND, OH 45140                                 P‐0000429 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JIMENEZ, JOSE M.
9821 FUCHSIA
EL PASO, TX 79925                                  P‐0000430 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIMEBAUCH, SANDRA J.
HIMEBAUCH, MARSHALL G.
5028 FOREST OAKS DRIVE
LAS VEGAS, NV 89149                                P‐0000431 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, MONTE L.
2780 MILLVALE STREET
COLUMBUS, OH 43232‐4711                            P‐0000432 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HABERER, JOHN R.
3924 BALSAM DRIVE
NICEVILLE, FL 32578                                P‐0000433 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, WILLIAM A.
2104 CARRIAGE LN
CLEARWATER, FL 33765                               P‐0000434 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROPSEY, JOHN W.
4815 77TH ST. EAST
BRADENTON, FL 34203‐7980                           P‐0000435 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNAM, ELIZABETH J.
4077 FERN STREET
LAKE WORTH, FL 33461‐2728                          P‐0000436 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LORD, ERIC F.
901 INTRACOASTAL DR
#2
FT. LAUDERDALE, FL 33304                           P‐0000437 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELLS, JORDAN A.
WELLS, CLIFTON J.
1714 JAMES POINTE DRIVE
BARTOW, FL 33830                                   P‐0000438 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARSONS, RICHARD R.
772 OAK STREET
COLUMBUS, OH 43205                                 P‐0000439 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FILBERT, FREDERIC P.
5948 VIZZI COURT
LAS VEGAS, NV 89131                                P‐0000440 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNOFF, IRMA
14201 UPPER FREDERICKTOWN RD
FREDERICKTOWN, OH 43019                            P‐0000441 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHARP, NICHOLAS
641 BRANCH LINE ROAD
YUKON, OK 73099                                    P‐0000442 10/19/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
SANTANGELO, AMY L.
3497 CARAMBOLA CIRCLE SOUTH
COCONUT CREEK, FL 33066                            P‐0000443 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARA, SIMON
34 RABBITS RUN
PALM BEACH GARDE, FL 33418                         P‐0000444 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GASCON LINAREZ, MARISOL
RUIZ, IRVING
9021 LEE VISTA BLVD APT 1702
ORLANDO, FL 32829                                     P‐0000445 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESCALANTE, VINCENT
1208 SW 25TH PLACE
LAWTON, OK 73505                                      P‐0000446 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORTIZ MERCADO, QUETCY
4105 BEACH BALL DR.
KILLEEN, TX 76549                                     P‐0000447 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARA, ALAN
34 RABBITS RUN
PALM BEACH GARDE, FL 33418                            P‐0000448 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYERS, MARY A.
P.O. BOX 8473
MOORE, OK 73153                                       P‐0000449 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLETCHER, BOBBIE A.
165 N. LAKESHORE DR.
HYPOLUXO, FL 33462                                    P‐0000450 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLASER, CHRISTINA M.
5661 11TH AVENUE NORTH
ST. PETERSBURG, FL 33710                              P‐0000451 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARA, ALAN
34 RABBITS RUN
PALM BEACH GARDE, FL 33418                            P‐0000452 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE GOLIA, JOHN D.
2301 FAYETTEVILLE AVE
HENDERSON, NV 89052                                   P‐0000453 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREEMAN, DERRELL D.
1613 IBIZA COVE
NICEVILLE, FL 32578                                   P‐0000454 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEGRAVES, JOEL R.
SEGRAVES, LINDA D.
5812 TWIN OAKS DR
PACE, FL 32571‐8379                                   P‐0000455 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEEL, DIANA L.
600 NE 14TH ST
MOORE, OK 73160                                       P‐0000456 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONTE, MARC V.
863 KLEINER AVE.
COLUMBUS, OH 43215                                    P‐0000457 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATCHMAN, RICHARD
331 KENTIA RD
CASSELBERRY, FL 32707                                 P‐0000458 10/19/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
MAI, IVAN
7256 LARAMIE AVE
LAS VEGAS, NV 89113                                   P‐0000459 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, ROBERT
PETERSON, ROBERT
4816 RIVA DE ROMANZA ST
LAS VEGAS, NV 89135‐2557                              P‐0000460 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, JOYCE
1906 HOFFNER AVENUE
ORLANDO, FL 32809                                     P‐0000461 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PECCHIO, DIANA
400 NW 112 TERRACE
MIAMI, FL 33168                                     P‐0000462 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARMSTRONG, MARILYN V.
ARMSTRONG, RUSSELL R.
2034 HIGH MESA DRIVE
HENDERSON, NV 89012‐4552                            P‐0000463 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FELTS, RONNIE D.
3729 EAST 48TH PLACE
TULSA, OK 74135                                     P‐0000464 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERT, CYNTHIA H.
101 GARDENIA STREET
PALATKA, FL 32177                                   P‐0000465 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYNN, JAIME M.
411 MANDARIN FLYWAY
CEDAR PARK, TX 78613‐4087                           P‐0000466 10/19/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANN, KIMBERLY L.
3020 NW 2ND APT 1
POMPANO BEACH, FL 33069                             P‐0000467 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, KRISENDA
7713 KENHURST DR
LOUISVILLE, KY 40258                                P‐0000468 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSHALL, CHESTER
11303 WESTON POINTE DRIVE
APT#203
BRANDON, FL 33511                                   P‐0000469 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORNASIERO, BARBARA G.
1138 N MARION ST
APT 4
DENVER, CO 80218‐4304                               P‐0000470 10/19/2017    TK Holdings Inc., et al .                   $18,000.00                                                                                   $18,000.00
SNIDER, H.
7036 OLD VILLAGE
LAS VEGAS, NV 89129                                 P‐0000471 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWORIN, BRIAN C.
4832 BRIDE ST
NORTH LAS VEGAS, NV 89081‐3124                      P‐0000472 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIEGEL, VIVIAN
COHEN, STUART B.
VIVIAN SIEGEL
301 N ATLANTIC AVE APT 705
COCOA BEACH, FL 32931‐2957                          P‐0000473 10/20/2017    TK Holdings Inc., et al .                     $325.00                                                                                       $325.00
MURPHY, KELLY J.
296 BROOKSTONE WAY
JACKSONVILLE, NC 28546                              P‐0000474 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FENG, JOSHUA
3917 TRAPANI PL
LAS VEGAS, NV 89141                                 P‐0000475 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIEBERMAN, LANCE
WALLACE, MARY
2852 MEADOW HILL DRIVE
CLEARWATER, FL 33761                                P‐0000476 10/20/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MECKLEY, NANCY L.
454 DONOVAN DRIVE
NEWARK, OH 43055                                    P‐0000477 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
GENEST, MARIE S.
2773 GALINDO CIRCLE
MELBOURNE, FL 32940                                 P‐0000478 10/20/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
NIX, JACOB M.
1922 HUDSON CT
OLDSMAR, FL 34677                                   P‐0000479 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MATTHEW J.
3120 BLAYNEY RD
SUNBURY, OH 43074                                   P‐0000480 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOZENA, RAYMOND S.
MOZENA, EARNA L.
6268 DEERHAVEN LN.
LOVELAND, OH 45140                                  P‐0000481 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COCKRELL, THOMAS M.
COCKRELL, CHERYL A.
2701 BRANDON RD.
UPPER ARLINGTON, OH 43221                           P‐0000482 10/20/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
RODRIGUE, LEO J.
3905 COOPER ROAD
PLANT CITY, FL 33565                                P‐0000483 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRENTICE, DIANA K.
1120 CHERRY HOLLOW RD.
LA GRANGE, KY 40031                                 P‐0000484 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNIFE, JOSEPH J.
3883 LINDA RD APT D
HILLIARD, OH 43026                                  P‐0000485 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, GLENN E.
609 MANCHESTER WOODS DRIVE
SUN CITY CENTER, FL 33573                           P‐0000486 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAGUE, VICTORIA C.
2440 SE 5TH COURT
HOMESTEAD, FL 33033‐5783                            P‐0000487 10/20/2017    TK Holdings Inc., et al .                     $125.00                                                                                       $125.00
KUBA, CHERYL
1109 FENNEL GREEN DR
SEFFNER, FL 33584                                   P‐0000488 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REISTE, DANIEL S.
JUVER, JOSE A.
5605 WEST 13TH COURT
HIALEAH, FL 33012                                   P‐0000489 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECERRA, HERIBERTO
6455 SHINING SAND AVE.
LAS VEGAS, NV 89142                                 P‐0000490 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNISOURCE TRUCKING & LEASING
2821 SOUTH ENGLISH STATION RD
LOUISVILLE, KY 40299                                P‐0000491 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFMANN, EDWIN H.
106 STIRRUP DRIVE
LOVELAND, OH 45140                                  P‐0000492 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNISOURCE TRUCKING & LEASING
2821 SOUTH ENGLISH STATION RO
LOUISVILLE, KY 40299                                P‐0000493 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STILLWAGNER, MISSY A.
304 COTTONWOOD DRIVE
COPPERAS COVE, TX 76522                             P‐0000494 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
JOHNSON, CHRISTINE E.
JOHNSON, EDWARD E.
3101 WHITE PHEASANT PLACE
VALRICO, FL 33596                                   P‐0000495 10/20/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
BEAN, TYRANNY J.
1205 E. WASHINGTON ST.
SUITE 120
LOUISVILLE, KY 40206                                P‐0000496 10/20/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MILLER, RICHARD L.
2741 NE 37 DR
FORT LAUDERDALE, FL 33308                           P‐0000497 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEFFREY, SHIRLEY V.
3856 COVINGTON DRIVE
SAINT CLOUD, FL 34772                               P‐0000498 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOONTZ, GEORGE M.
KOONTZ, MARTHA A.
4044 MOONRAKER DR
PENSACOLA, FL 32507                                 P‐0000499 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRERA, JORGE C.
401 SW 4TH AVENUE
APARTMENT 1103
FORT LAUDERDALE, FL 33315                           P‐0000500 10/20/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MADDOX, WANDA G.
7232 WEST LAKELAND DRIVE
PANAMA CITY, FL 32404                               P‐0000501 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEIDER, SAMUEL H.
4780 E LAKE CIR
SARASOTA, FL 34232                                  P‐0000502 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFIN III, GEORGE E.
2656 SHAD LANE
GENEVA, FL 32732                                    P‐0000503 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEIDER, SAMUEL H.
4780 E LAKE CIR
SARASOTA, FL 34232‐1924                             P‐0000504 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEIDER, SAMUEL H.
4780 E LAKE CIR
SARASOTA, FL 34232                                  P‐0000505 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEIDER, SAMUEL H.
4780 E LAKE CIR
SARASTOA, FL 34232‐1924                             P‐0000506 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SU, YVONNE
217 WORTHINGTON DRIVE
KINGSPORT, TN 37663                                 P‐0000507 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIDO, JAMES A.
NIDO, CAROLYN I.
6228 CHARIOT ST
PORT CHARLOTTE, FL 33981                            P‐0000508 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCLACHLAN, KARSON R.
308 CHADWICK DR.
GEORGETOWN, TX 78628                                P‐0000509 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONG, BENJAMIN N.
2905 OLD WHIGHAM RD
BAINBRIDGE, GA 39817                                P‐0000510 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUL, SHANNON
12 BUCKEYE DRIVE
MIDDLETOWN, OH 45044                                P‐0000511 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MCLACHLAN, DONALD K.
308 CHADWICK DR.
GEORGETOWN, TX 78628                                 P‐0000512 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, JOYLYNN T.
10315 NW 9TH STREET CIR APT 1
MIAMI, FL 33172                                      P‐0000513 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OVERSTREET, ASHLEY R.
4406 LYNNBROOK DR
LOUISVILLE, KY 40220                                 P‐0000514 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONG, BENJAMIN N.
LONG, JOAN G.
2905 OLD WHIGHAM RD
BAINBRIDGE, GA 39817                                 P‐0000515 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOME, PARKER D.
1319 COLORADO AVENUE
LYNN HAVEN, FL 32444                                 P‐0000516 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONNORS, JOHN J.
3040 NE 16 AVE APT 401
OAKLAND PARK, FL 33334                               P‐0000517 10/20/2017    TK Holdings Inc., et al .                     $800.00                                                                                       $800.00
ANDERSON, CAROL B.
25941 NEWCOMBE CIRCLE
LEESBURG, FL 34748                                   P‐0000518 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLF, VICKY K.
5377 TALLADEGA DRIVE
DUBLIN, OH 43016                                     P‐0000519 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GODDARD, SIIVI
2656 SHAD LANE
GENEVA, FL 32732                                     P‐0000520 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ETER, ERIC
10820 LA SALINAS CIRCLE
BOCA RATON, FL 33428                                 P‐0000521 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, DEBBIE L.
2393 SW BIG BOW ROAD
INDIAHOMA, OK 73552                                  P‐0000522 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TROESTER, LANCE
1309 E MANNING CT.
STILLWATER, OK 74075                                 P‐0000523 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, NINA
2950 SE 15TH TER
HOMESTEAD, FL 33035                                  P‐0000524 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, JANNETTE
1008 SE PRINEVILLE STREET
PORT SAINT LUCIE, FL 34983                           P‐0000525 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, JANNETTE
1008 SE PRINEVILLE STREET
PORT SAINT LUCIE, FL 34983                           P‐0000526 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, ANGIE
P.O. BOX 56
ALDERSON, OK 74522                                   P‐0000527 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HESSER, ELISABETH
6609 CHELSEY LN
OKLAHOMA CITY, OK 73132                              P‐0000528 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIRDSONG, KAYA
6212 SE 81ST TER
OKLAHOMA CITY, OK 73135‐7011                         P‐0000529 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
COZART, BRYANT T.
COZART, ROSALYN M.
104 WARWICK CIRCLE
UNIT 1
ELIZABETHTOWN, KY 42701                              P‐0000530 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLADAY, RODNEY A.
7049 WILLOW RUN DRIVE
DUBLIN, OH 43017                                     P‐0000531 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HESSER, ELISABETH
6609 CHELSEY LN
OKLAHOMA CITY, OK 73132                              P‐0000532 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDIN, JEFFREY
2130 COUNTY ROAD 26
MARENGO, OH 43334                                    P‐0000533 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERSHKOWITZ, HAL E.
HERSHKOWITZ & KUNUTZER, P.A.
5039 CENTRAL AVENUE
ST. PETERSBURG, FL 33710‐8240                        P‐0000534 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOTTLE, STACIA P.
4015 W KNIGHTS GRIFFIN RD
PLANT CITY, FL 33565                                 P‐0000535 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDIN, JEFFREY
2130 COUNTY ROAD 26
MARENGO, OH 43334                                    P‐0000536 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STECEWYCZ, LORAINE
1413 W. PRINCETON STREET
ORLANDO, FL 32804                                    P‐0000537 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAYRE, DAVID H.
SAYRE, TINA M.
9321 BAKER ROAD SW
STOUTSVILLE, OH 43154                                P‐0000538 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARNER, BONNIE S.
451 PEMBERTON RD
LAURA, OH 45337                                      P‐0000539 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AIZENMAN, TAYLOR M.
2300 ASHLEY DRIVE
OKLAHOMA CITY, OK 73120                              P‐0000540 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAREDES, MILDRED
4902 SW 138TH AVE
MIAMI, FL 33175                                      P‐0000541 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, WADE B.
8927 NE 4TH AVE RD
MIAMI SHORES, FL                                     P‐0000542 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN GINHOVEN, DAVID
1916 21ST AVE
VERO BEACH, FL 32960                                 P‐0000543 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUINICKY, BRADLEY R.
4467 PARKWOOD SQ
NICEVILLE, FL 32578                                  P‐0000544 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNOLDS, PAMELA A.
2016 ALAFIA OAKS DRIVE
VALRICO, FL 33596                                    P‐0000545 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, COURTNEY L.
6894 HOLBROOK CIR
LAKE MARY, FL 32746                                  P‐0000546 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
GOLDBERG, ALLAN B.
28031COOKSTOWN COURT
#3703
BONITA SPRINGS, FL 34135                           P‐0000547 10/20/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
GEORGE, OWEN J.
1223 STRATTON DR
DAYTON, NV 89403                                   P‐0000548 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURY, JOHN M.
3335 SOUTH YORKTOWN AVENUE
TULSA, OK 74105                                    P‐0000549 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, WILLIAM S.
CAMPBELL, KIM M.
1990 CHICKADEE STREET
BARTOW, FL 33830                                   P‐0000550 10/20/2017    TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
SAUL, JOSEPH E.
100 SPRINGLAKE DR.
UNIT 202
VERO BEACH, FL 32962                               P‐0000551 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, DAVID L.
2018 MAXWELL AVE
LEWIS CENTER, OH 43035                             P‐0000552 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEINRICH, DURWOOD J.
1523 SHINNECOCK HILLS DRIVE
GEORGETOWN, TX 78628                               P‐0000553 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLWELL, BRITTANY
1130 CAMBRIDGE CT
NEW CARLISLE, OH 45344                             P‐0000554 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANELIDIS, NICK J.
2400 E. COMMERCIAL BLVD.
SUITE 706
FORT LAUDERDALE, FL 33308                          P‐0000555 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODDY, JENNIFER R.
2211 NOE BIXBY ROAD
COLUMBUS, OH 43232                                 P‐0000556 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAMLING, STEPHEN M.
10907 ANCIENT FUTURES DR
TAMPA, FL 33647                                    P‐0000557 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALDWELL, GEORGE E.
1766 VALLEYWOOD COURT
COLUMBUS, OH 43223                                 P‐0000558 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOUSSA, MARWA
17190 SW 94 AVE
APT 911
PALMETTO BAY, FL 33157                             P‐0000559 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, JILLIAN H.
14233 MASTRO LANE
SOUTHPORT, FL 32409                                P‐0000560 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICKERSON, KAYLA I.
2211 2ND AVE N
ST PETERSBURG, FL 33713                            P‐0000561 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOLTING, RICHARD M.
29505 ALLEGRO DR.
WESLEY CHAPEL, FL 33543                            P‐0000562 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, KEVIN J.
6804 WILLIAMS ISLAND CT
LAS VEGAS, NV 89131                                P‐0000563 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BLATCHER, RICHARD H.
2170 NE 51 COURT
A28
FORT LAUDERDALE, FL 33308                           P‐0000564 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAROFALO, ANTONIO
7990 W 14TH CT
HIALEAH, FL 33014                                   P‐0000565 10/20/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
CARTER, LYNN B.
12635 EARNEST AVENUE
ORLANDO, FL 32837                                   P‐0000566 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERNAND, JOHN B.
3606 GILA TRL
TEMPLE, TX 76504                                    P‐0000567 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DONNAMARIE E.
8971 NW 67TH COURT
TAMARAC, FL 33321                                   P‐0000568 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OQUINN, DEBORAH S.
OQUINN, JAMES K.
109 ROSEHILL DR
LEBANON, VA 24266                                   P‐0000569 10/20/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
GREER, MICHAEL K.
3232 TRUMAN AVENUE
NORTH CHARLESTON, SC 29405‐7989                     P‐0000570 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DERENTHAL, LYNN R.
13741 NEWPORT MANOR
DAVIE, FL 33325                                     P‐0000571 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOCK, WILLIAM H.
332 SW 184 WAY
PEMBROKE PINES, FL 33029                            P‐0000572 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIS, LARRY W.
726 BERKELEY DR.
SHELBYVILLE, IN 46176                               P‐0000573 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOEPNER, JESSICA
8911 GLASSFORD CT N
DUBLIN, OH 43017                                    P‐0000574 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSS, JR, JAMES D.
3609 NORTH TORREY PINES DR
LAS VEGAS, NV 89108                                 P‐0000575 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNES, LAURIE E.
1451 S OLIVE AVE
WEST PALM BEACH, FL 33401                           P‐0000576 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, GLENN
UNITED MANAGEMENT INC
P.O. BOX 87509
FAYETTEVILLE, NC 28304                              P‐0000577 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRERAS, DIANA L.
BARRERAS, PHILIP D.
8433 BENGALIN
JACKSONVILLE, FL 32211                              P‐0000578 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DLOUHY, KELLY L.
DLOUHY, RICHARD N.
601 JASMINE WAY SOUTH
ST PETERSBURG, FL 33705                             P‐0000579 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CAMERON, MICHAEL B.
6201 US HWY 41 N
LOT 2086
PALMETTO, FL 34221‐9337                             P‐0000580 10/20/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HAMMER, DEBBIE E.
23028 OLD INLET BRIDGE DR.
BOCA RATON, FL 33433                                P‐0000581 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOCK, WILLIAM H.
332 SW 184 WAY
PEMBROKE PINES, FL 33029                            P‐0000582 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PREVITERA, PATRICIA A.
11173 REGAL LANE
LARGO, FL 33774                                     P‐0000583 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHOCKLEY, ROBERT H.
6008 UNITY PASS
GROVELAND, FL 34736                                 P‐0000584 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, GLENN
UNITED MANAGEMENT INC
P.O. BOX 87509
FAYETTEVILLE, NC 28304                              P‐0000585 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANELIDIS, JOHN R.
2400 E. COMMERCIAL BLVD.
SUITE 706
FORT LAUDERDALE, FL 33308                           P‐0000586 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLAZA, RUBEN D.
10808 SW 72 STREET
APT. 134
MIAMI, FL 33173                                     P‐0000587 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, JIM A.
10816 NW 34TH STREET
YUKON, OK 73099                                     P‐0000588 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ‐CHAVEZ, TERESITA O.
6039 COLLINS AVENUE
APT. 1427
MIAMI BEACH, FL 33140                               P‐0000589 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COPLEY, PAMELA S.
COPLEY, WILLIAM A.
216 BIG BRANCH ROAD
WAYNE, WV 25570                                     P‐0000590 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBER, MARIANN D.
155 LINDA MARIE LANE
PANAMACITY BEACH, FL 32407                          P‐0000591 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSTEN, ART H.
516 LONDON RD, WINTER PARK
WINTER PARK, FL 32792                               P‐0000592 10/20/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
SHEPHERD, SONYA T.
SHEPHERD, JOSHUA M.
225 CEDAR CREEK RD
MOCKSVILLE, NC 27028                                P‐0000593 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GURLEY, MARY V.
136 CORAL VINE DRIVE
NAPLES, FL 34110                                    P‐0000594 10/20/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
RIVAS‐ALBARRACIN, MILAGROS
2171 SW 50TH AVE
FORT LAUDERDALE, FL 33317                           P‐0000595 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
VROMAN, BARBARA C.
10419 SIRENE WAY
FORT MYERS, FL 33913                                P‐0000596 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLOMON, SHANTERIA L.
609 HOLT CIRCLE
WINTER HAVEN, FL 33880                              P‐0000597 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REISINGER, MONIKA M.
909 ROOSEVELT AVE.
LEHIGH ACRES, FL 33936                              P‐0000598 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KREIN, DEBORAH
401 SW 4TH AVENUE
#1203
FORT LAUDERDALE, FL 33315                           P‐0000599 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMDIAL, SANDRA R.
1301 NW 71ST AVE.
PLANTATION, FL 33313                                P‐0000600 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREER, SHIRLEY J.
3232 TRUMAN AVENUE
NORTH CHARLESTON, SC 29405‐7989                     P‐0000601 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CREEK, MARY L.
7416 TANGLE BEND DR
GIBSONTON, FL 33534                                 P‐0000602 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUMPHREY, CAROL B.
14500 RIVER RD
UNIT 507
PENSACOLA, FL 32507                                 P‐0000603 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEAD, MAE W.
HEAD III, WILLIAM H.
7110 N. PEARL STREET
JACKSONVILLE, FL 32208                              P‐0000604 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VUICICH, RAYMOND E.
4521 OLD STAGE RD.
PULASKI, VA 24301                                   P‐0000605 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, REGINALD L.
6921 MEGAN AVENUE
LAS VEGAS, NV 89108‐5403                            P‐0000606 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAIK, FRANCIS L.
103 ARBORVITAE COURT
PINE KNOLL SHORE, NC 28512‐6301                     P‐0000607 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUTLEDGE JR., THOMAS W.
RUTLEDGE, KAREN M.
10109 PLANTERS WOODS DR.
AUSTIN, TX 78730                                    P‐0000608 10/20/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
GREER, MICHAEL K.
3232 TRUMAN AVENUE
NORTH CHARLESTON, SC 29405‐7989                     P‐0000609 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAZEL, TROY K.
6607 DOVIR WOODS DRIVE
SELLERSBURG
, IN 47172                                          P‐0000610 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, LORETTA M.
JONES, LORETTA M.
15211 STATE ROUTE 47
RICHWOOD, OH 43344                                  P‐0000611 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
LIPTAK, MARK
910 GOSFIELD GATE CT
WESTERVILLE, OH 43081                               P‐0000612 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOLEDO‐PEREZ, JOANA
6950 VISTA LAGO LOOP APT300
ZEPHYRHILLS, FL 33542                               P‐0000613 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEIN, BARRY J.
840 BRICKELL KEY DRIVE
APT 2006
MIAMI, FL 33131                                     P‐0000614 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN CLEVE, JAMES E.
VAN CLEVE, JUDITH F.
2088 POPPYWOOD AVE
HENDERSON, NV 89012                                 P‐0000615 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERDUE, SCOTT A.
6744 TALL COTTON RD
BATTLEBORO, NC                                      P‐0000616 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDSTEIN, LANCE
6905 SOUTHPORT DRIVE
BOYNTON BEACH, FL 33472                             P‐0000617 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYNE, CHRISTINE M.
1450 GODDARD AVENUE
LOUISVILLE, KY 40204                                P‐0000618 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCOY, MARK R.
348 PIEDMONT AIRLINE RD
GOLDSBORO, NC 27534                                 P‐0000619 10/20/2017    TK Holdings Inc., et al .                    $4,900.00                                                                                    $4,900.00
GEISER, SANDRA R.
GEISER, ALBERT G.
140 WENTWORTH AVE
APT 1
CINCINNATI, OH 45220JHMGE                           P‐0000620 10/20/2017    TK Holdings Inc., et al .                       $10.00                                                                                       $10.00
HUNTER, KISCA A.
4051 E.OLIVE RD, #279
PENSACOLA, FL 32514                                 P‐0000621 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAYTON, DEAN S.
9553 TETON VISTA AVENUE
LAS VEGAS, NV 89117                                 P‐0000622 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STUBBLEFIELD, CAROL
3434 BLACKBURN AVE.
ASHLAND, KY 41101                                   P‐0000623 10/20/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
GRAHAM, GLENN
UNITED MANAGEMENT INC
P.O. BOX 87509
FAYETTEVILLE, NC 28304                              P‐0000624 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDSTEIN, LANCE
6905 SOUTHPORT DRIVE
BOYNTON BEACH, FL 33472                             P‐0000625 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEESMAN, MARY PAT C.
942 GREENVIEW COURT
VILLA HILLS, KY 41017                               P‐0000626 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, RHONDA S.
6804 KINGSTON DR.
LAKE WORTH, FL 33462                                P‐0000627 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLOSSON, LAURA M.
530 IRINA DR.
ROLESVILLE, NC 27571                                P‐0000628 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FORESMAN, KEVIN
1108 BEACON ALY
COLUMBUS, OH 43201                                    P‐0000629 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAZEL, TROY K.
6607 DOVIR WOODS DRIVE
SELLERSBURG, IN 47172                                 P‐0000630 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, STEVEN W.
6804 KINGSTON DR.
LAKE WORTH, FL 33462                                  P‐0000631 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, GLENN
UNITEDMGT.COM
P.O. BOX 87509
FAYETTEVILLE, NC 28304                                P‐0000632 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANDOLPH, CATHERINE
DAVENPORT‐AUTOPARK
108 PRATT PL.
BATTLEBORO, NC 27809                                  P‐0000633 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, GLENN
UNITED MANAGEMENT INC
GLENN@UNITEDMGT.COM
FAYETTEVILLE, NC 28304                                P‐0000634 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECOSTRO, JANET
128 NORTHRIDGE DR
MCDONALD, PA 15057                                    P‐0000635 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REEVEY, ANTHONY R.
REEVEY, ABBEY A.
206 OAK VALLEY CT
ELIZABETHTOWN, KY 42701                               P‐0000636 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATAKI, JOHN J.
5148 BURGOYNE LN
COLUMBUS, OH 43220                                    P‐0000637 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THAKKAR, RENA
18109 LEAFMORE ST
LUTZ, FL 33548                                        P‐0000638 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHOEMAKER, NICHOLAS C.
80 PENN AVE
NEW CASTLE, VA 24127                                  P‐0000639 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYS, STERLING D.
4303 RIMDALE DRIVE
AUSTIN, TX 78731                                      P‐0000640 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, TAMMY
6021 CLIFF LANE
TEMPLE, TX 76502                                      P‐0000641 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THAKKAR, ASHISH
18109 LEAFMORE ST
LUTZ, FL 33548                                        P‐0000642 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLIETH, BRIAN J.
10002 SW CHADWICK DR
PORT SAINT LUCIE, FL 34987                            P‐0000643 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EMERITO, PETET N.
1031 CONOLEY LANE
HOLIDAY, FL 34691‐5157                                P‐0000644 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYRICK, SUSAN
4654 N. RAINBOW BLVD
UNIT 2308
LAS VEGAS, NV 89108                                   P‐0000645 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
MLADENIK, RUSSELL A.
7340 ORCHARD HARVEST AVE
LAS VEGAS, NV 89131                                P‐0000646 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEDEWELL, JR, WILLIAM F.
8924 PUERTO DEL RIO DRIVE
UNIT 504
CAPE CANAVERAL, FL 32920                           P‐0000647 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAENEPEEL, MIRANDA L.
12041 SAGAMORE DR
YUKON, OK 73099                                    P‐0000648 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLESPIE, NANCY P.
ALLEN, ROBERT B.
1117 HILLCREST DR
CARMEL, IN 46033                                   P‐0000649 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHELL, CYNTHIA K.
9955 KILLDEER LANE
LAKELAND, FL 33810                                 P‐0000650 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, GLENN
UNITED MANAGEMENT INC
GLENN@UNITEDMGT.COM
FAYETTEVILLE, NC 28304                             P‐0000651 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, FAITH C.
3475 S OCEAN BLVD
APT 714
PALM BEACH, FL 33480                               P‐0000652 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARAY, PEDRO G.
3730 SW 26 TERRACE
MIAMI, FL 33134                                    P‐0000653 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIZZO, DENISE
2374 SONOMA DR W
NOKOMIS, FL 34275                                  P‐0000654 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONNELLY, GEORGE S.
CONNELLY, GEORGE
9653 GREAT EGRET CT
WEST PALM BEACH, FL 33411                          P‐0000655 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DELOREAN
923 W PLYMOUTH ST
TAMPA, FL 33603                                    P‐0000656 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, JOAN C.
18510 VIOLET RD
FT MYERS                                           P‐0000657 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALZANO‐MEHLTRET, THOMAS F.
849 HAMM ST NW
PALM BAY, FL 32907                                 P‐0000658 10/20/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
FRIEND, MARYJANE
FRIEND, JONATHAN D.
3729 E. 87TH PLACE
TULSA, OK 74137                                    P‐0000659 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAKER, MICHAEL T.
7474 SILVER KING DR
SPARKS, NV 89436                                   P‐0000660 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LICEA, XOCHITL
3621 COLLINS AVE #312
MIAMI NEACH, FL 33140                              P‐0000661 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
KREMILLER, JODI
2910 BEEVILLE AVE
NORTH PORT, FL 34286                                P‐0000662 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEMAN CHESTER, KAREN Z.
CHESTER, EARNEST J.
6604 PEACHTREE DRIVE
TAMPA, FL 33617                                     P‐0000663 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUNNINGHAM, DAVID L.
CUNNINGHAM, LINDA C.
4508 YORKSHIRE LN
KISSIMMEE, FL 34758                                 P‐0000664 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHER, TERRENCE P.
MAHER, PAMELA S.
2218 PUFFIN PLACE
FAYETTEVILLE, NC 28306                              P‐0000665 10/20/2017    TK Holdings Inc., et al .                    $3,300.00                                                                                    $3,300.00
SPAIN, KIT‐THENG
4718 S RIO GRANDE AVE
APT 36
ORLANDO, FL 32839                                   P‐0000666 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOIS, ANDREW
501 NW 37TH STREET
OAKLAND PARK, FL 33309                              P‐0000667 10/20/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
BRAKE, JENNETTE P.
4089 BULL CREEK RD
NATHALIE, VA 24577                                  P‐0000668 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASEY, CAROL L.
528 TOMAHAWK CT
PALMBEACHGARDENS, FL 33410                          P‐0000669 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAXTER, OTIS D.
270 W KINGSFIELD ROAD
CANTONMENT, FL 32533                                P‐0000670 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRAGA, TANYA M.
400 SE 12TH TERRACE
HOMESTEAD, FL 33033                                 P‐0000671 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNETT, DAVID O.
741 VIRGINIA PINE LN
CLOVER, SC 29710                                    P‐0000672 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINGARD, CATHARINE M.
SANDIE
POB 1542
NASHVILLE, IN 47448                                 P‐0000673 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWNE, KEZIAH
BOWNE, DANIEL
2500 S ROCKPORT ROAD APT 2804
BLOOMINGTON, IN 47403                               P‐0000674 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, KAREN L.
1522 HANOVER STREET
RALEIGH, NC 27608                                   P‐0000675 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONNELLY, GEORGE S.
9653 GREAT EGRET CT
WEST PALM BEACH, FL 33411                           P‐0000676 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES, RONALD
HUGHES, RACHAEL
16 WALLA PL
PALM COAST, FL 32164                                P‐0000677 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HANNAH, CARLTON E.
127 HILLVIEW DRR
RACELAND, KY 41169                                   P‐0000678 10/20/2017    TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
CONN, JENNY
9513 N DARTMOUTH AVE
TAMPA, FL 33612                                      P‐0000679 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, TAMIKO V.
753 WOODLAWN AVENUE
CINCINNATI, OH 45205                                 P‐0000680 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIELS, CHARLES J.
3027 BANDERA AVENUE
SPARKS, NV 89436                                     P‐0000681 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARGE, SETH D.
3222 CHEVAL WAY
LOUISVILLE, KY 40299                                 P‐0000682 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOBRIAN, ESTHER F.
SOBRIAN, TERRENCE R.
8529 LONG ACRE DRIVE
MIRAMAR, FL 33025/2817                               P‐0000683 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANDENBERG, RODNEY
VANDENBERG, RODNEY A.
317 GEORGIA AVE
ST CLOUD, FL 34769                                   P‐0000684 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBUKHARY, SYED
512 FRANKLIN MANOR LANE
CARY, NC 27519                                       P‐0000685 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONNELLY, GEORGE
CONNELLY, GEORGE
9653 GREAT EGRET CT
WEST PALM BEACH, FL 33411                            P‐0000686 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TROAST, JAMES E.
28800 WALKER DR
WESLEY CHAPEL, FL 33544                              P‐0000687 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIZZI, RONALD E.
13604 S. VILLAGE DR
#303
TAMPA, FL 33618                                      P‐0000688 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, BRUCE A.
201 BAY CT
HERTFORD, NC 27944                                   P‐0000689 10/20/2017    TK Holdings Inc., et al .                     $444.23                                                                                       $444.23
LAMAGNA, DEBORAH E.
2348 WARWICK DR.
CLEARWATER, FL 33763                                 P‐0000690 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CREBS, VIRGINIA M.
10265 ST. PATRICK LANE
BONITA SPRINGS, FL 34135                             P‐0000691 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRANER, PETER M.
1618 SAN DIEGO ST
LADY LAKE, FL 32159                                  P‐0000692 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANKS, JOHN C.
50 W BRAINERD ST
PENSACOLA, FL 32501                                  P‐0000693 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TYRE, JILLIAN R.
3281 SE PINTO STREET
PORT SAINT LUCIE, FL 34984                           P‐0000694 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CONNELLY, GEORGE S.
CONNELLY, GEORGE
9653 GREAT EGRET CT
WEST PALM BEACH, FL 33411                           P‐0000695 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, AMY K.
3706 BLACK FORREST COURT
NEWCASTLE, OK 73065                                 P‐0000696 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIDENOUR, DOUGLAS W.
59 TOWNSHIP RD 1096
CHESAPEAKE, OH 45619                                P‐0000697 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, DERWIN A.
WILSON, PHYLLIS G.
1400 SUNSET BLVD
DAYTONA BEACH, FL 32117                             P‐0000698 10/20/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
DUNCAN, LEE G.
DUNCAN, HOLLY E.
2007 OLLIVANDER DR.
CARY, NC 27519                                      P‐0000699 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INGALA, JOSEPH
13125 DRYSDALE ST
SPRING HILL, FL 34609                               P‐0000700 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDREWS, TRAVIS S.
5311 CANTER DRIVE
ROANOKE, VA 24018                                   P‐0000701 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HART, AMY M.
1250 EAST LAKE CANNON DR. NW
WINTER HAVEN, FL 33881                              P‐0000702 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROYHILL, RICHARD A.
BROYHILL, ANNE G.
P.O. BOX 510146
KEY COLONY BEACH, FL 33051                          P‐0000703 10/20/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WALLENS, LUKE B.
3508 SOUTH FIRST STREET
APT 202
AUSTIN, TX 78704                                    P‐0000704 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TREPPER, ROBERT E.
1429 LILY CREEK DRIVE
CARY, NC 27518                                      P‐0000705 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINNIX‐JONES, DORSHAWN
10623 ATKINS RIDGE DR
CARLOTTE, NC 28213                                  P‐0000706 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REEVE, MARIE T.
17035 LOUDON PLACE
LAKEWOOD RANCH, FL 34202                            P‐0000707 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUNK, JULIE E.
JUNK, MICHAEL B.
6039 ANVIL AVE
SARASOTA, FL 34243                                  P‐0000708 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNAGE, SUE B.
1080 SAINT JOSEPH STREET P4
CAROLINA BEACH, NC 28428                            P‐0000709 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREY, JULIA L.
1151 MAYFIELD AVENUE
WINTER PARK, FL 32789                               P‐0000710 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
JOHNSON, MARIE A.
1123 NW 140TH ST
EDMOND, OK 73013                                   P‐0000711 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONNELLY, GEORGE S.
9653 GREAT EGRET CT
WEST PALM BEACH, FL 33411                          P‐0000712 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OATLEY, ALBERT R.
4125 SUNSHINE RD.
GEORGRTOWN, OH 45121‐8819                          P‐0000713 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, MARIE A.
1123 NW 140TH ST
EDMOND, OK 73013                                   P‐0000714 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'HARA, LESLIE A.
6827 S. KISSIMMEE STREET
TAMPA, FL 33616                                    P‐0000715 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FURR, TRACY D.
9336 SMITH DRIVE
CHARLOTTE, NC 28214                                P‐0000716 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINER, JENNIFER E.
3226 BUSY BEE LANE
INDIANAPOLIS, IN 46227                             P‐0000717 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIESENBERGER, JEFFREY J.
869 S 3RD ST
COLUMBUS, OH 43206                                 P‐0000718 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEEGAN, BRIAN
4875 FM 535
CEDAR CREEK, TX 78612                              P‐0000719 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHANCEN, SUSAN
1069 E PRICE BLVD
NORTH PORT, FL 34288                               P‐0000720 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, DASIA S.
8012 CENTRAL RAILROAD CT
LAS VEGAS, NV 89131                                P‐0000721 10/20/2017    TK Holdings Inc., et al .                    $1,600.00                                                                                    $1,600.00
CONNELLY, GEORGE S.
9653 GREAT EGRET CT
WEST PALM BEACH, FL 33411                          P‐0000722 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STORFER, BENNETT
2501 ANTIGUA TERRACE
APT L2
COCONUT CREEK, FL 33066                            P‐0000723 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOBRIAN, ESTHER F.
SOBRIAN, TERRENCE R.
8529 LONG ACRE DRIVE
MIRAMAR, FL 33025/2817                             P‐0000724 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, JAMES P.
4504 SLONE DRIVE
JEFFERSONVILLE, IN 47130                           P‐0000725 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACKAY, JOYCE L.
8544 SUMMITRIDGE DRIVE
CINCINNATI, OH 45255                               P‐0000726 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILL, VIRGINIA R.
8423 CENTENARY DR
CAMBY                                              P‐0000727 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOBUONO, RALPH L.
1705 RIPLEY RUN
WELLINGTON, FL 33414‐6180                          P‐0000728 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BERGER, ROBERT L.
15054 ASHLAND WAY
APT 91
DELRAY BEACH, FL 33484                              P‐0000729 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNEARY, JULIE A.
11675 EAST PURPLE ROSE LANE
KINGMAN, AZ 86401                                   P‐0000730 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REEVE, ROBERT C.
REEVE, MARIE T.
17035 LOUDON PLACE
LAKEWOOD RANCH, FL 34202                            P‐0000731 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACKEY, HELEN M.
2936 LAKE PINELOCH BLVD
ORLANDO, FL 32806                                   P‐0000732 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCMINN, ANDREW
MCMINN, DONIELLE
1583 CLOUD PEAK DRIVE
SPARKS, NV 89436                                    P‐0000733 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAND, DEBRA E.
729 NW 115TH ST
OKC, OK 73114                                       P‐0000734 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REEVE, ROBERT C.
REEVE, MARIE T.
17035 LOUDON PLACE
LAKEWOOD RANCH, FL 34202                            P‐0000735 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, ROBERT H.
202 RESORT LANE
PALM BEACH GARDENS, FL 33418
                                                    P‐0000736 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARKER, ROBERT V.
BARKER, MARTA
5420 FAN PALM COURT
PORT ORANGE, FL 32128                               P‐0000737 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALBERT, JOHN A.
HALBERT, JUANITA R.
7056 TREYMORE COURT
SARASOTA, FL 34243                                  P‐0000738 10/20/2017    TK Holdings Inc., et al .                    $1,200.00                                                                                    $1,200.00
TREPPER, ROBERT E.
1429 LILY CREEK DRIVE
CARY, NC 27518                                      P‐0000739 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, ROBERT L.
111 SEA GLASS CT
CARY, NC 27519                                      P‐0000740 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DALPE, SUSAN
DALPE, DAVID
5070 STONEY POINT DR
LLEAND, NC 28451                                    P‐0000741 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTHY, MICHAEL H.
MCCARTHY, MARY G.
1112 HEATHERLOCH DRIVE
GASTONIA, NC 28054                                  P‐0000742 10/20/2017    TK Holdings Inc., et al .                     $499.00                                                                                       $499.00
RICH, MARK
KSLAVECK@YAHOO.COM
LAS VEGAS, NV 89148                                 P‐0000743 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MCCARTHY, MICHAEL H.
MCCARTHY, MARY G.
1112 HEATHERLOCH DRIVE
GASTONIA, NC 28054                                  P‐0000744 10/20/2017    TK Holdings Inc., et al .                     $499.00                                                                                       $499.00
INCH, RONALD H.
INCH, PEGGY T.
329 OAK ARBOR LANE
WINSTON SALEM, NC 27104                             P‐0000745 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUTSKY, RICHARD
1526 LOVERS LAWN TRACE
CORNELIUS, NC 28031                                 P‐0000746 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTHY, MICHAEL H.
MCCARTHY, MARY G.
1112 HEATHERLOCH DRIVE
GASTONIA, NC 28054                                  P‐0000747 10/20/2017    TK Holdings Inc., et al .                     $499.00                                                                                       $499.00
RICE, ROBIN L.
40 HARTWELL COURT
CINCINNATI, OH 45216                                P‐0000748 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASS, NATALIE
135 LADY MARY LN APT D1
ROCKINGHAM, NC 28379                                P‐0000749 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, ROBERT
111 SEA GLASS CT
CARY, NC 27519                                      P‐0000750 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TREPPER, ROBERT E.
1429 LILY CREEK DRIVE
CARY, NC 27518                                      P‐0000751 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OHARA, LESLIE
6827 S. KISSIMMEE STREET
TAMPA, FL 33616                                     P‐0000752 10/20/2017    TK Holdings Inc., et al .                   $22,230.73                                                                                   $22,230.73
VENEIGH, CAMILLE C.
1427 SW 29TH TER
CAPE CORAL, FL 33914                                P‐0000753 10/20/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
THOMPSON, MARY C.
2700 EMERSON AVE #307
PARKERSBURG, WV 26104                               P‐0000754 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARLESS, TREVOR C.
8398 N NASHVILLE ROAD
WILKINSON, IN 46186                                 P‐0000755 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAUCH, ROBERT
13784 NW 12TH COURT
PEMBROKE PINES, FL 33028                            P‐0000756 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, JANICE L.
15329 ORIGINS LANE
AUSTIN, TX 78734                                    P‐0000757 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOFTON, ROSA M.
1128 BRYSON DR
GREENVILLE, NC 27834                                P‐0000758 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOARD, WILLIAM J.
4302 HIDDEN LAKES DRIVE
NICEVILLE, FL 32578                                 P‐0000759 10/20/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MCNABB, LISA
W. G. STANG, LLC
2403 JACKSONBURG ROAD
HAMILTON, OH 45011                                  P‐0000760 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
STEPHENS, ASHLEY R.
149 MYRTLE DR
STEARNS, KY 42647                                    P‐0000761 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAIETA, PATRICK J.
FAIETA, MINDY L.
14034 WAKE ROBIN DR
BROOKSVILLE, FL 34604                                P‐0000762 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNABB, LISA
W. G. STANG, LLC
2403 JACKSONBURG ROAD
HAMILTON, OH 45011                                   P‐0000763 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, EBONY O.
1784 O'FARRELL AVENUE
GREENVILLE, NC 27834                                 P‐0000764 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, FRANCISCO M.
GARCIA, CAROLINE M.
10621 E 67TH ST APT 59
TULSA, OK 74133                                      P‐0000765 10/20/2017    TK Holdings Inc., et al .                   $18,743.00                                                                                   $18,743.00
MCNABB, LISA
W. G. STANG, LLC
2403 JACKSONBURG ROAD
HAMILTON, OH 45011                                   P‐0000766 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RELLA, NICHOLAS T.
12202 SW 6TH STREET
PEMBROKE PINES, FL 33025                             P‐0000767 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNABB, LISA
W. G. STANG,LLC
2403 JACKSONBURG ROAD
HAMILTON, OH 45011                                   P‐0000768 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOOM, JOANN K.
BLOOM, GERALD E.
1188 ROYAL GARDENS CIRCLE
LAKE MARY, FL 32746                                  P‐0000769 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIRSCHY, DEAN
5706 BELLECHASSE STREET
CHARLOTTE, NC 28210                                  P‐0000770 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIOLINK LIFE SCIENCES, INC.
250 QUADE DRIVE
CARY, NC 27513                                       P‐0000771 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOPP, BENJAMIN L.
2312 CASHUA FERRY ROAD
DARLINGTON, SC 29532                                 P‐0000772 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARRAR, JOHN C.
514 SOUTH RIVER OAKS DRIVE
INDIALANTIC, FL 32903‐4615                           P‐0000773 10/20/2017    TK Holdings Inc., et al .                    $1,250.00                                                                                    $1,250.00
SNYDER, CHRISTOPHER E.
6532 E 15TH ST
TULSA, OK 74112                                      P‐0000774 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, EDWARD R.
1295 CLOISTER DRIVE
WINSTON SALEM, NC 27127                              P‐0000775 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEIKLE, PAULA J.
1409 CHILDRESS RD.
ALUM CREEK, WV 25003                                 P‐0000776 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
DENSFORD, JACK
DENSFORD, PAMELA
965 RAVINE DRIVE
FRANKLIN, IN 46131                                   P‐0000777 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVERSTEIN, SANDRA T.
8129 MAR DEL PLATA STREET EAS
JACKSONVILLE, FL 32256                               P‐0000778 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LENCZICKI, MORRIS M.
5075 PALERMO ROAD
CINCINNATI, OH 45244                                 P‐0000779 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HICKS, ANGELA
728 FINNBAR DRIVE
CARY, NC 27519                                       P‐0000780 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROCHON, GREGORY P.
ROCHON, JANET O.
72 WELLSTREAM LN
PALM COAST, FL 32164                                 P‐0000781 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TREPPER, ROBERT E.
1429 LILY CREEK DRIVE
CARY, NC 27518                                       P‐0000782 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABRAMS, JERRY L.
ABRAMS, BILLIE J.
2686 HAMILTON MASON RD
HAMILTON
HAMILTON, OH 45011                                   P‐0000783 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, FRANCISCO M.
GARCIA, CAROLINE M.
10621 E 67TH ST APT 59
TULSA, OK 74133                                      P‐0000784 10/20/2017    TK Holdings Inc., et al .                   $12,247.56                                                                                   $12,247.56
PATRICK, RALPH L.
114 E. CONCORD DR.
LEBANON, OH 45036                                    P‐0000785 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUNO, JOANNE
12709 DEEP BLUE PLACE
BRADENTON, FL 34211                                  P‐0000786 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, ANTHONY E.
DAVIS, PAULA A.
2003 W 4TH PL S
CLAREMORE, OK 74017‐4735                             P‐0000787 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEINE, DANIEL C.
35203 PINEGATE TRL
EUSTIS, FL 32736                                     P‐0000788 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, JOHN W.
527 S ZUNIS AVENUE
TULSA, OK 74104                                      P‐0000789 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RELLA, NICHOLAS
RELLA, CORINA M.
12202 SW 6TH STREET
PEMBROKE PINES, FL 33025                             P‐0000790 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALAGON, GONZALO
28 SW 132 ND STREET
OKLAHOMA CITY, OK 73170                              P‐0000791 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCO, KELLY
FRANCO, NESTOR
3540 EAST LAKE DR.
LAND O LAKES, FL 34639                               P‐0000792 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CLANCY, ELIZABETH G.
8206 BAY TREE LANE
JACKSONVILLE, FL 32256                              P‐0000793 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUNER, NICK
BRUNER, CHERYL
102996 S 3450 ROAD
MEEKER, OK 74855‐5557                               P‐0000794 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COCKRELL, KARL
581 PRESTON TRAILS DRIVE
PICKERINGTON, OH 43147                              P‐0000795 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, TERESA
WILLIAMS, LARRY D.
123 WISTERIA LANE
ROCK HILL, SC 29730                                 P‐0000796 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DASOVICH, JAMES S.
VANEK‐DASOVICH, ANN
489 W DAVIS BLVD
TAMPA, FL 33606                                     P‐0000797 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIELDS, CARLA M.
7701 CRABCREEK RD
GALLIPOLIS FERRY, WV 25515                          P‐0000798 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDOWELL, SHARON K.
3506 DOFFY DR.
KILLEEN, TX 76549                                   P‐0000799 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RELLA, NICHOLAS T.
12202 SW 6TH STREET
PEMBROKE PINES, FL 33025                            P‐0000800 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENKEL, JEFFREY C.
9641 TRUMPET VINE LOOP
TRINITY, FL 34655                                   P‐0000801 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHENS, ASHLEY
STEPHENS, ASHLEY R.
149 MYRTLE DR
STEARNS, KY 42647                                   P‐0000802 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, DORRINE M.
1200 BARTON HILLS DR
238#
AUSTIN, TX 78704                                    P‐0000803 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, JUAN C.
8700 SW 191 STREET
CUTLER BAY, FL 33157                                P‐0000804 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPINKS, TAMARA K.
708 FRANKS ST
ASHEBORO                                            P‐0000805 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, STUART D.
229 BELL TOWER CROSSING WEST
KISSIMMEE
KISSIMMEE, FL 34759                                 P‐0000806 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORDOVA, RUDY F.
MESERVE, NELLIE
2000 E. FIRST STREET ‐ J3
ALAMOGORDO, NM 88310                                P‐0000807 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUFFORD, BRIAN
106 BEECH DRIVE
DELAWARE, OH 43015                                  P‐0000808 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                       Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
ASHLEY JR, DAVID L.
590 PAIGE RIDDICK RD.
GATES, NC 27937                                         P‐0000809 10/20/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
MARTIN, GLORIA
71 STEWART LANE
WINFIELD, WV 25213                                      P‐0000810 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTBROOKS, TIMOTHY H.
WESTBROOK, PATRICIA E.
1171 BALTIMORE ROAD
ADVANCE, NC 27006                                       P‐0000811 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSEN, CHARLES J.
HANSEN, LAURIE C.
135 SHADOW MOUNTAIN DR
FERNLEY, NV 89408                                       P‐0000812 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIDENOUR, CLINTON A.
538 SWEET GUM GROVE CHURCH RD
STOKES, NC 27884                                        P‐0000813 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDENTHAL, LAWRENCE E.
16109 AWALT DR
APT B
AUSTIN, TX 78734                                        P‐0000814 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, LUCKY C.
12206 LEXINGTON PARK DRIVE
TAMPA, FL 33626                                         P‐0000815 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFE, PAM S.
3005 ARION ROAD
MCDERMOTT, OH 45652                                     P‐0000816 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIGSBY, JOHN H.
2995 SETH CT
APT N
GASTONIA, NC 28054                                      P‐0000817 10/20/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
LOZANO, ROBERT M.
1333 SW PARMA AVE
PORT ST. LUCIE, FL 34953                                P‐0000818 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEONARD, BEVERLY G.
LEONARD, GUY C.
2853 THUNDER TRAIL
JOHNS ISLAND, SC 29455                                  P‐0000819 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAPPER, SANDRA B.
1472 72ND AVE NE
SAINT PETERSBURG, FL 33702                              P‐0000820 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALAGON, GONZALO
28 SW 132 ND STREET
OKLAHOMA CITY, OK 73170                                 P‐0000821 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUNSON, DORIS H.
NO ADDRESS PROVIDED
                                                        P‐0000822 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMES, MARCUS S.
851 INDIGO RUN DR
BULVERDE, TX 78163                                      P‐0000823 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEBAUN, CAMMY A.
6649 HEARNE RD
CINCINNATI, OH 45248                                    P‐0000824 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMES, TONY M.
851 INDIGO RUN DR
BULVERDE, TX 78163                                      P‐0000825 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
STRUPPECK, THOMAS
PURGATORIO, HELENA M.
5627 POOL CANYON CV
AUSTIN, TX 78734                                    P‐0000826 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIELS, ANTOINETTE E.
7303 EAST BANK DR
TAMPA, FL 33617                                     P‐0000827 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWDEN, PHILLIP E.
2076 CASCADES RD.
BLACKSBURG, VA 24060                                P‐0000828 10/20/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
WISSINGER, SANDRA
711 SUMMIT BLVD.
WEST PALM BEACH, FL 33405                           P‐0000829 10/20/2017    TK Holdings Inc., et al .                    $9,000.00                                                                                    $9,000.00
ALVES, SADYE S.
8419 SANDSTONE LAKE DR
#102
TAMPA, FL 33615                                     P‐0000830 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, HARRY C.
55 GROOVER CIRCLE
CAYCE, SC 29033                                     P‐0000831 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YU, SOYON
3019 METTHAME DR
FAYETTEVILLE, NC 28306                              P‐0000832 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNDERDAHL, BRIAN
210 VERMILLION ROAD
RENO, NV 89521‐6315                                 P‐0000833 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWDEN, PHILLIP E.
2076 CASCADES RD.
BLACKSBURG, VA 24060                                P‐0000834 10/20/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MARSHALL, BARBARA S.
MARSHALL, MAYA V.
7640 WILKINS DRIVE
FAYETTEVILLE, NC 28311                              P‐0000835 10/20/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MOSS, KYLE
MOSS, KYLE
6773 EAST LYNCHBURG SALEM TPKE
GOODE, VA 24556                                     P‐0000836 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLIER, KEISHA L.
6516 BUTTERFLY SKY ST.
NORTH LAS VEGAS, NV 89084                           P‐0000837 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDAN, DENNIS W.
11328 BLYTHVILLE RD
SPRING HILL, FL 34608‐2223                          P‐0000838 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRUPPECK, THOMAS
5627 POOL CANYON CV
AUSTIN, TX 78734                                    P‐0000839 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSS, KYLE E.
6773 EAST LYNCHBURG SALEM TPKE
GOODE, VA 24556                                     P‐0000840 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENBOW, ANGELA T.
1866 BRATTLEBORO CT.
DAYTON, OH 45440                                    P‐0000841 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LORREN, LEE D.
2783 GREAT OAK LN.
GULF BREEZE, FL 32563                               P‐0000842 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
DESBIEN, GLENNIS A.
102 N. CHERRY ST.
TONKAWA, OK 74653                                   P‐0000843 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAINEY JR, MELVIN A.
821 SOMMERDALE CT
RURAL HALL, NC                                      P‐0000844 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMMO, JEFFREY R.
COMMO, JACLYN B.
7456 CASS CIRLCE
SARASOTA, FL 34231                                  P‐0000845 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLSWORTH, BARBARA
155 MEADOW SPRINGS LANE
MOUNT CARMEL, TN                                    P‐0000846 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AIKENS, LARRY L.
8440
WESTCLIFF DR
LAS VEGAS, NV 89145                                 P‐0000847 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABREU, DIANA R.
16350 SW 112TH AVENUE
MIAMI, FL 33157                                     P‐0000848 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RETSOS, PAMELA
4111 LA SALLE DRIVE
PALM HARBOR, FL 34685                               P‐0000849 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMATH, MADHUKAR
9210 DEERCROSS PKWY
APT 2B
BLUE ASH, OH 45236                                  P‐0000850 10/20/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
MAHONEY, TIM R.
P.O. BOX 1544
AUARIN, TX 78767                                    P‐0000851 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCMULLAN, CHERYL L.
140 MORNINGSIDE DRIVE
SAN ANTONIO, TX 78209‐4700                          P‐0000852 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DULCIE, DIANE
19 BERWICK RD.
PALM BEACH GARDE, FL 33418‐7092                     P‐0000853 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, CATHY C.
5176 CEDAR HAMMOCK LN
SARASOTA, FL 34232                                  P‐0000854 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HA, HENRY
3019 METTHAME DR
FAYETTEVILLE, NC 28306                              P‐0000855 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEMPFER‐DIXON, GAIL G.
785 OSAGE AVE
MELBOURNE, FL 32935                                 P‐0000856 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVEROS, PERCY E.
5102 GATEWAY DR
TAMPA, FL 33615                                     P‐0000857 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRICE, MAURICE E.
509 CHERRYVALE RD
EDMOND OK                                           P‐0000858 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PILSON, LAYNOLD O.
1177 TENDER LANE
CASCADE, VA 24069                                   P‐0000859 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CALLAN, DENNIS M.
8508 PARK ROAD
#194
CHARLOTTE, NC 28210                                 P‐0000860 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAUGHAN, CLANCY T.
NO ADDRESS PROVIDED
                                                    P‐0000861 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERARDI, PAUL J.
4032 WATERCOVE DRIVE
RIVERVIEW, FL 33578                                 P‐0000862 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DULCIE, JORDAN A.
19 BERWICK RD.
PALM BEACH GARDE, FL 33418‐7092                     P‐0000863 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SETTLEMYRE, MICHAEL J.
3210 KIRKLAND COURT
MONROE, NC 28110                                    P‐0000864 10/20/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BEARD, TINA L.
6111 E 28 TH PL N
TULSA, OK 74115                                     P‐0000865 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUMMITT, IRENE B.
BRUMMITT, ROBERT W.
6611 MEADWO FAWN DR
CONVERSE, TX 78109                                  P‐0000866 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOMBROFF, GARY
DOMBROFF, DEBORAH L.
848 BRICKELL KEY DRIVE
APT 3203
MIAMI, FL 3131                                      P‐0000867 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE`, KATHERINE M.
1522 COLTON LN
LOCKHART, TX 78644                                  P‐0000868 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEVELAND ESPINO, HOLLY J.
3218 DUKE AVE
BIG SPRING, TX 79720                                P‐0000869 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, CHRISTINA R.
8532 SE DUNCAN STREET
HOBE SOUND, FL 33455                                P‐0000870 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYD, JAMES E.
216 S CUTTYSARK LANE
NAGS HEAD, NC 27959                                 P‐0000871 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDS, JACQUELINE
6358 BROOKLINE DRIVE APT C
INDIANAPOLIS, IN 46220                              P‐0000872 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEARD, TINA L.
6111 E 28TH PL N
TULSA, OK 74115                                     P‐0000873 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, PAULA M.
P.O. BOX 276
OSPREY, FL 34229                                    P‐0000874 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONAPARTE, RUTHVEN
2901 NW 126TH AVE
UNIT 2‐419
SUNRISE, FL 33323                                   P‐0000875 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REITER, TIINA
22O JUNG BLVD W
NAPLES, FL 34120                                    P‐0000876 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MATAL, YVONNE C.
1318 S 3RD ST
BLACKWELL, OK 74631                                  P‐0000877 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DEBORAH J.
4911 NE 19 AVE., #1
FORT LAUDERDALE, FL 33308                            P‐0000878 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, BRENDA J.
FLOURNOY, LEE E.
                                                     P‐0000879 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, ANTHONY
3320 N HOLMAN CT
MIDWEST CITY, OK 73110                               P‐0000880 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAIN, MARK
2524 NASSAU LN
FORT LAUDERDALE, FL 33312                            P‐0000881 10/20/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
BETTAG, KEVIN
10820 TORULOSA CT
INDIANAPOLIS, IN 46234                               P‐0000882 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOODY, AUSTIN G.
461 SE SOUTHWOOD TRAIL
STUART, FL 34997                                     P‐0000883 10/20/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HUSVAR, KARRIE A.
HUSVAR, JUSTIN R.
2801 DEERFERN LN
ROUND ROCK, TX 78665                                 P‐0000884 10/20/2017    TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
MABINE, SANDRA W.
631 BLUEFOOT ROAD
AHOSKIE, NC 27910                                    P‐0000885 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STELLMACHER, CHRISTOPHER D.
505 EAST 6TH STREET
UNIT 807
CHARLOTTE, NC 28202‐3131                             P‐0000886 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUSVAR, KARRIE A.
2801 DEERFERN LN
ROUND ROCK, TX 78665                                 P‐0000887 10/20/2017    TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
LIPKOWITZ, MICHAEL
101 WOODCREEK RD
BEDFORD, VA 24523                                    P‐0000888 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOLOFF, MARILYNN H.
STOLOFF, GERALD P.
2802 VICTORIA WAY C‐3
COCONUT CREEK, FL 33066‐1325                         P‐0000889 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRAZIER, DAVID F.
FRAZIER, KIMBERLY K.
4055 CARLYLE LAKES BLVD
PALM HARBOR, FL 34685                                P‐0000890 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, JOHN R.
30 IRIS PL
OLDSMAR, FL 34677                                    P‐0000891 10/20/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
FRAZIER, DAVID F.
FRAZIER, KIMBERLY K.
4055 CARLYLE LAKES BLVD
PALM HARBOR, FL 34685                                P‐0000892 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONOHUE, RICHARD J.
7829 SHADOWHILL WAY
MONTOMERY, OH 45242                                  P‐0000893 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MACON, CHALLIS J.
MACON, LORI N.
2298 VALEWOOD DR
ASHEBORO, NC 27205                                   P‐0000894 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYANT, WILLIAM H.
BRYANT, BARBARA A.
1088 CAROLE CT
MATTHEWS, NC 28104                                   P‐0000895 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INSEL, KAREY
3320 N HOLMAN CT
MIDWEST CITY, OK 73110                               P‐0000896 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREWER, DEEANNA R.
11549 HIGH TIMBER DR
INDPLS, IN 46235                                     P‐0000897 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYD, LINDA S.
216 S CUTTYSARK LANE
NAGS HEAD, NC 27959                                  P‐0000898 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUERTAS, ELISSA A.
HUERTAS, MARCUS J.
6003 DAVON ST
JACKSONVILLE, FL 32244                               P‐0000899 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDERMOTT, CAROL
CAROL
1483 BARRYMORE CT
WELLINGTON, FL 33414                                 P‐0000900 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDEL, DAVID C.
SANDEL, MONICA P.
5205 SW 163 AVE
SOUTHWEST RANCHE, FL 33331                           P‐0000901 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENTIN, TIMOTHEE B.
7245 WAKEVIEW DR
CHAMPIONS GATE, FL 33896‐6706                        P‐0000902 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEMEO, CAROL L.
1205 TRENT DRIVE
MURRELLS INLET, SC 29576                             P‐0000903 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUFFINGTON, ROBERT E.
325 FIELDSTONE LANE
WEWAHITCHKA, FL 32465                                P‐0000904 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUFOUR, EVENSON
4900 SAND DUNE CIRCLE APT 205
WEST PALM BEACH, FL 33417                            P‐0000905 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEIN, STUART
2552 SEASCAPE DRIVE
LAS VEGAS, NV 89128                                  P‐0000906 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDEL, DAVID C.
NO ADDRESS PROVIDED
                                                     P‐0000907 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FURR, JEFF A.
2662 S 90TH E AVE
TULSA, OK 74129                                      P‐0000908 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAMONEDA, AMED
17 PANGLOSS ST
HENDERSON, NV 89002                                  P‐0000909 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUFOUR, THAISMUDE
4900 SAND DUNE CIRCLE APT 205
WEST PALM BEACH, FL 33417                            P‐0000910 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
DEMPSEY, CHRISTINA
820 SW 6TH AVE
FLORIDA CITY, FL 33034                               P‐0000911 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCULLOUGH, BRIAN D.
1200 CHEROKEE AVENUE
MARION, SC 29571                                     P‐0000912 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDERMOTT, CAROL
CAROL
1483 BARRYMORE CT
WELLINGTON, FL 33414                                 P‐0000913 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNN, JAMIE L.
15509 CRAWFORD DAY RD.
MOUNT ORAB, OH 45154                                 P‐0000914 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINGINFELTER, MISTY D.
LINGINFELTER III, JOHN H.
525 ASHBY RD
SUMTER, SC 29154                                     P‐0000915 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORTIZ, ROBERT
3401 BASSET DR.
KILLEEN, TX 76543                                    P‐0000916 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANK, NORKESHA R.
1663 ANDERSON ROAD
GREENVILLE, NC 27834                                 P‐0000917 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWERY, CHARLYN
LOWERY, CHARLYN T.
930 MILLBRAE COURT
WEST PALM BEACH, FL 33401                            P‐0000918 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINGINFELTER, MISTY D.
LINGINFELTER, JOHN H.
525 ASHBY RD
SUMTER, SC 29154                                     P‐0000919 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUSTAFSON, ROBERT C.
GUSTAFSON, KAREN A.
2386 SANDSTONE CLIFFS DRIVE
HENDERSON, NV 89044                                  P‐0000920 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIPE, CHARLES C.
SIPE, TIFFANEY M.
8058 BROADWAY ST.
137N
SAN ANTONIO, TX 78209                                P‐0000921 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, RICHARD A.
3253 ELYSE MANOR CT
CHARLOTTE, NC 28214                                  P‐0000922 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIMMONS, WAYNE D.
TIMMONS, JAMES J.
105 WILLIAMSON PL
DARLINGTON, SC 29532                                 P‐0000923 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMILTON, SR., MARVIN J.
8078 COUNTRY RUN PKWY
ORLANDO, FL 32818                                    P‐0000924 10/20/2017    TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
CASTILLO, STACY L.
GARCIA JR, ROBERT
592 N. TAILWIND DR
BLANCO, TX 78606                                     P‐0000925 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BLAND, JACQUAY
601 MAYFAIR DRIVE
ROCKY MOUNT, NC 27803                                P‐0000926 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHAUB, CLARENCE J.
860 GALLAHER
MONROE, OH 45050                                     P‐0000927 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECKER, ANGELA L.
7241 WEST MOUNT DRIVE
ROCKY MOUNT, NC 27803                                P‐0000928 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, CHARLENE A.
CHARLENE A. JOHNSON
1356 GLENNS BAY RD. UNIT 203I
SURFSUDE BEACH, SC 29575                             P‐0000929 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALHOUN, MILDRED B.
CALHOUN, WAYNE
3989 RANIE ROAD
JACKSONVILLE, FL 32218/4417                          P‐0000930 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GANDARILLAS, THIAGO C.
THAI, LIEN C.
125 COPPER PINE AVE
NORTH LAS VEGAS, NV 89031                            P‐0000931 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DALTON, DAVID W.
104 CHALKWELL COURT
CARY, NC 27519                                       P‐0000932 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GANDARILLAS, THIAGO C.
THAI, LIEN C.
125 COPPER PINE AVE
NORTH LAS VEGAS, NV 89031                            P‐0000933 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELLINGTON, AUSHANTE
WELLINGTON, GAVIN
17930 MURCOTT BLVD
LOXAHATCHEE, FL 33470                                P‐0000934 10/20/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
MURRAY, JEREMY B.
11300 SE 15TH ST
APT 228
MIDWEST CITY, OK 73130                               P‐0000935 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUSTAFSON, ROBERT C.
GUSTAFSON, KAREN A.
2386 SANDSTONE CLIFFS DRIVE
HENDERSON, NV 89044                                  P‐0000936 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOGAN, ANDRE R.
751 NW AVENS STREET
PORT SAINT LUCIE, FL 34983                           P‐0000937 10/20/2017    TK Holdings Inc., et al .                   $18,500.00                                                                                   $18,500.00
GUSTAFSON, ROBERT C.
GUSTAFSON, KAREN A.
2386 SANDSTONE CLIFFS DRIVE
HENDERSON, NV 89044                                  P‐0000938 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GANDARILLAS, THIAGO C.
THAI, LIEN C.
125 COPPER PINE AVE
NORTH LAS VEGAS, NV 89031                            P‐0000939 10/20/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
GONZALEZ, EDWIN E.
GONZALEZ, NATALIE
2087 BEACON LANDING CIRCLE
ORLANDO, FL 32824                                    P‐0000940 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BURTON, LISA A.
BURTON, JEFFREY A.
109 TARA LYNN CT
MOORESVILLE, NC 28115‐7901                          P‐0000941 10/20/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
DEMELLO, CHRISTINA
2200 S FORT APACHE RD
UNIT 2056
LAS VEGAS, NV 89117                                 P‐0000942 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRUEX, DIANNA L.
10867 COLOUR MAGIC STREET
HENDERSON, NV 89052                                 P‐0000943 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURTON, JEFFREY A.
109 TARA LYNN CT
MOORESVILLE, NC 28115‐7901                          P‐0000944 10/20/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
GRIFFIN, LINDA O.
1602 LUZON LANE
GULF BREEZE, FL 32563                               P‐0000945 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, CARRIE K.
2801 SWEETGRASS LANE
MONROE, NC 28112                                    P‐0000946 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRABELSI, LOTFI
4973 CASON COVE DRIVE APT 528
ORLANDO, FL 32811                                   P‐0000947 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUEZADA, STEVE
3141 SW 103RD PLACE
OKLAHOMA CITY, OK 73159                             P‐0000948 10/20/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
SIMMONS, BRENDA R.
3921 MILKY WAY CT
EL PASO, TX 79904                                   P‐0000949 10/20/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
QUINTERO, SANTIAGO
10441 SW 156TH CT.
APT. 4210
MIAMI, FL 33196                                     P‐0000950 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, AMANDA J.
7270 COLONIAL AFFAIR DR
NEW ALBANY, OH 43054                                P‐0000951 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REA, SHERRI S.
4941 LINDEN FOREST LANE
CHARLOTTE, NC 28270                                 P‐0000952 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KROHN, KURTIS A.
7270 COLONIAL AFFAIR DR
NEW ALBANY, OH 43054                                P‐0000953 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYABENKIY, YELENA
4025 N NOB HILL RD APT 407
SUNRISE, FL 33351                                   P‐0000954 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, PAUL J.
ALLEN, KATHLEEN A.
200 DOVE HOLLOW TRAIL
GEORGETOWN, TX 78633                                P‐0000955 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORTON, JAMES H.
2101 CARDINAL WOODS DRIVE
APT 103
LOUISVILLE, KY 40214                                P‐0000956 10/20/2017    TK Holdings Inc., et al .                    $2,999.00                                                                                    $2,999.00
MAYDAY, SHERRI A.
9150 ELIDA RD.
SPRING HILL, FL 34608                               P‐0000957 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
GAINES, DOLORES J.
425 HOWARD ST
SHELBYVILLE, IN 46176                               P‐0000958 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEDINA, NOEL
6814 SW 35 STREET
MIAMI, FL 33155                                     P‐0000959 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SETTLE, TYLER R.
1444 DAYSTAR LN
DELTONA, FL 32725                                   P‐0000960 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HADFIELD, JON K.
123 LAFAYETTE AVE
ALAMO HEIGHTS, TX 78209                             P‐0000961 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMLINSON, HEYWARD P.
NO ADDRESS PROVIDED
                                                    P‐0000962 10/20/2017    TK Holdings Inc., et al .                     $225.00                                                                                       $225.00
BILLIE, CHERLISA
9019 SINGINGPINE RD
CHARLOTTE, NC 28214                                 P‐0000963 10/20/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
SANTOSUS, ALEXANDER C.
4535 TINA ST
COCOA, FL 32927                                     P‐0000964 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARR, ROBIN
CARR, DOUGLAS
109 COLONIAL CIRCLE
PALATKA, FL 32177                                   P‐0000965 10/20/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYNES, TRAVIS O.
1807 HICKS CIRCLE
ROXBORO, NC 27573                                   P‐0000966 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKY, WILLIAM E.
3331 BURKS LN
AUSTIN, TX 78732                                    P‐0000967 10/21/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
YI, LINGYU
791 ADDY RD
COLUMBUS, OH 43214                                  P‐0000968 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, GREGORY D.
THOMAS, GREG
5538 N HOLCOMB BRIDGE CT
LAS VEGAS, NV 89149‐4019                            P‐0000969 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, PERCY L.
5655 FAIRWAY FOREST DR
WINSTON SALEM, NC 27105                             P‐0000970 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, BOBBY J.
404 ASHWOOD CIRCLE
HENRYETTA, OK 74437                                 P‐0000971 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGHOEFER, CHAD L.
916 W 8TH ST
PAWHUSKA, OK 74056                                  P‐0000972 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, NINGJIE
8123 POPPY LEAF AVE
LAS VEGAS, NV 89113                                 P‐0000973 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DINATALE, SALVATORE J.
111 WOODBEND COURT
CHAPLE HILL, NC 27516                               P‐0000974 10/21/2017    TK Holdings Inc., et al .                     $600.00                                                                                       $600.00
SILVERMAN, RITA
509 NW 28 ST.
WILTON MANORS, FL 3311                              P‐0000975 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
CHRYSSOVERGIS, CHRISTOPHE
6392 HUGHES GLEN COURT
LIBERTY TOWNSHIP, OH 45011                         P‐0000976 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, MELISSA A.
125 BRAEBURN COURT
WINSTON SALEM, NC 27127                            P‐0000977 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUBMAN, HERMAN R.
8667 TIERRA LAGO COVE
LAKE WORTH, FL 33467                               P‐0000978 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAYTON PROGRESS CORPORATION
500 PROGRESS ROAD
DAYTON, OH 45449                                   P‐0000979 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAYTON PROGRESS CORPORATION
500 PROGRESS ROAD
DAYTON, OH 45449                                   P‐0000980 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAYTON PROGRESS CORPORATION
500 PROGRESS ROAD
DAYTON, OH 45449                                   P‐0000981 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAYTON PROGRESS CORP
500 PROGRESS ROAD
DAYTON, OH 45449                                   P‐0000982 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIGLER, FRANK J.
SIGLER, HEATHER A.
1857 E 700 N
ALEXANDRIA, IN 46001                               P‐0000983 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, RONALD R.
197 CHANNELVIEW DR.
MONETA, VA 24121                                   P‐0000984 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAS, TRILOCHAN P.
3908 KENTER CROSSING
AUSTIN, TX 78728                                   P‐0000985 10/21/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
BOWMAN, JAY H.
511 CASTLEMAIN CIRCLE
DAVENPORT, FL 33897‐0530                           P‐0000986 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, LEROY L.
11245 ANDY DR
RIVERVIEW, FL 33569                                P‐0000987 10/21/2017    TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
SIMMONS, BRADFORD R.
SIMMONS, PATRICIA T.
PERSHING LLC
809 ERIK LAKE RD
BRANDON, FL 33510                                  P‐0000988 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VIRAMONTES, RONALD R.
5130 BOXCUT LN
HOPE MILLS, NC 28348                               P‐0000989 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMPF, CHRISTOPHER K.
4247 US HWY 42
CARDINGTON, OH 43315                               P‐0000990 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PICKETT, ROGER D.
PICKETT, SHELBY C.
858 HARRIS CREEK RD
JACKSONVILLE, NC 28540                             P‐0000991 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUBMAN, HERMAN R.
8667 TIERRA LAGO COVE
LAKE WORTH, FL 33467                               P‐0000992 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
HANSEL, DONNA H.
5262 CLEARWATER LAKE RD
MOUNT HOLLY, NC 28120                              P‐0000993 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAYTON PROGRESS CORPORATION
500 PROGRESS ROAD
DAYTON, OH 45449                                   P‐0000994 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VICTORY, KRISTEN
1282 VIA PORTOFINO
NAPLES, FL 34108                                   P‐0000995 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CICILIAN, WILLIAM M.
345 18TH AVE
VERO BEACH, FL 32962                               P‐0000996 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DYER, WENDY M.
DYER, MICHAEL R.
3813 CALLAWAY COURT
BELLBROOK, OH 45305                                P‐0000997 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINTERFLOOD, CHARISSE
9201 SLOOP CT
APT.4212
PORT RICHEY, FL 34668                              P‐0000998 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARNHAM, RICHARD A.
FARNHAM, CYNTHIA A.
2216 10 MILE FORK ROAD
TRENTON, NC 28585                                  P‐0000999 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAWSON, SARAH Y.
2435 OLD POOLE ROAD
KINSTON, NC 28504                                  P‐0001000 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFMAN, BETH
239 TIMPOOCHEE DRIVE
INDIAN HARBOUR B, FL 32937                         P‐0001001 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DYER, MICHAEL R.
DYER, WENDY M.
3813 CALLAWAY COURT
BELLBROOK, OH 45305                                P‐0001002 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PULLEN, DONALD J.
14503 BRENTWOOD DR
TAMPA, FL 33618                                    P‐0001003 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STACK, TERRI L.
MALLORY, ADRIANA
1609 SHERWOOD ST
CLEARWATER, FL 33755                               P‐0001004 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STACK, TERRI L.
1609 SHERWOOD ST
CLEARWATER, FL 33755                               P‐0001005 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEMASTER, JILL E.
LEMASTER, BRETT A.
769 MT. PLEASANT DR.
OCOEE, FL 34761                                    P‐0001006 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEASON, JUANITA
BEASON, JUANITA M.
1224 S. HIAWASSEE RD.
#633
ORLANDO, FL 32835                                  P‐0001007 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRATT, WILLIAM F.
127 PEYTONS RIDGE DR.
HUBERT, NC 28539                                   P‐0001008 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SHOEMAKER, RUSSELL J.
2401 OAKMEADE DRIVE
CHARLOTTE, NC 28270                                  P‐0001009 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COURLANG, BLAKE M.
6004 SOLITUDE WAY
DURHAM, NC 27713                                     P‐0001010 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCHER, GERALD R.
MARCHER, ARLENE S.
764 HERITAGE WAY
WESTON, FL 33326                                     P‐0001011 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROUNTREE, SCOTT N.
4011 RIVULET LN
LOUISVILLE, KY 40299                                 P‐0001012 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DISTELHORST, WILLIAM C.
600 UNIVERSITY LN. #107
BATAVIA, OH 45103                                    P‐0001013 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, ROBYN E.
906 KIRBY DRIVE
FORT MILL, SC 29715                                  P‐0001014 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROUNTREE, SCOTT N.
4011 RIVULET LN
LOUISVILLE, KY 40299                                 P‐0001015 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHALLENBERGER, PAUL C.
5060 ARBOR GLEN CIRCLE
LAKE WORTH, FL 33463                                 P‐0001016 10/21/2017    TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
HALE, REBECCA S.
1021 COUNTY STREET 2974
BLANCHARD, OK 73010                                  P‐0001017 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JONATHAN
MILLER, JONATHAN G.
8442 NW 47TH DR
CORAL SPRINGS, FL 33067                              P‐0001018 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAUMAN, RICHARD L.
131 SOUTH FEDERAL HIGHWAY
APT 601
BOCA RATON, FL 33432                                 P‐0001019 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, LARRY W.
HALE, REBECCA S.
1021 COUNTY STREET 2974
BLANCHARD, OK 73010                                  P‐0001020 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYMAN, JONATHAN D.
13516 RIDGEMOOR DR
PROSPECT, KY 40059                                   P‐0001021 10/21/2017    TK Holdings Inc., et al .                    $4,250.00                                                                                    $4,250.00
HICKMAN, ROBERT W.
591 FLINT BLVD.
FORTVILLE, IN                                        P‐0001022 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYONS, PRENTICE C.
3547 ST ANDREWS VILLAGE CIR.
LOUISVILLE, KY 40241‐2663                            P‐0001023 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, LARRY W.
HALE, REBECCA S.
1021 COUNTY STREET 2974
BLANCHARD, OK 73010                                  P‐0001024 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIECHOTTKA, HANS R.
102 MAGNOLIA WOODS DRIVE
CARY, NC 27518                                       P‐0001025 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
LYONS, CHRISTINA K.
133 COLLINS GLENN DR
MURRELLS INLET, SC 29576                            P‐0001026 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TREADWAY, DENNIS C.
1719 EAST DESOTO STREET
PENSACOLA, FL 32501                                 P‐0001027 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, LYNN A.
2550 STATE RD 580 LOT 258
CLEARWATER, FL 33761                                P‐0001028 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAISEL, JANICE K.
3936 HERON RIDGE LANE
WESTON, FL 33331                                    P‐0001029 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, RANDY J.
144 TERIWOOD CT
FERN PARK, FL 32730                                 P‐0001030 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, JOSEPH C.
100 HURON AVE
TAMPA, FL 33606                                     P‐0001031 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEKAS, NICHOLAS
1101 ALMERIA DRIVE
TRINITY, FL 34655                                   P‐0001032 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOK, CAROLYN E.
4504 SUMMER COVE DR E ‐ #228
SARASOTA, FL 34243                                  P‐0001033 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STILES, GREGORY A.
18616 SUGARBERY LANE
SPRING HILL, FL 34610                               P‐0001034 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAISEL, RICHARD N.
3936 HERON RIDGE LANE
WESTON, FL 33331                                    P‐0001035 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIU, CHIA YU
15130 BRAYWOOD TRAIL
ORLANDO, FL 32824                                   P‐0001036 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRD, PATRICIA O.
4034 CHERRY JOHNSON R.D.
EFFINGHAM, S.C 29541                                P‐0001037 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHOMIAK, LUDMILA
209 SE 15TH STREET
DANIA BEACH, FL 33004                               P‐0001038 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONBOY, ROGER A.
877 GALSWORTHY AVE
ORLANDO, FL 32809                                   P‐0001039 10/21/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
LIVERMAN, GERRY W.
2120 POSSUM TROT ROAD
WAKE FOREST, NC 27587                               P‐0001040 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMSEY, LAURA S.
3109 BERKLEY DR
ROCKY MOUNT, NC 27803                               P‐0001041 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEMETSKY, CHRISTENE V.
105 WOOD COURT
GEORGETOWN, TX 78628                                P‐0001042 10/21/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
BLAKENEY, GAIL C.
603 N JACKSON RD.
LANCASTER, SC 29720                                 P‐0001043 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MARINI, VINCENT E.
8314 MOORING CIRCLE
BOYNTON BEACH, FL 33472‐2308                         P‐0001044 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, YI
1321 CRAB ORCHARD DR, APT 101
RALEIGH, NC 27606                                    P‐0001045 10/21/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BLAKE, MICHAEL A.
NO ADDRESS PROVIDED
                                                     P‐0001046 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAUDILL, SHIRLEY R.
P.O. BOX 86 RAGLAND WVA 256
                                                     P‐0001047 10/21/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
PRUNER, KATHRYN
2330 TULLS CREEK RD
MOYOCK, NC 27958                                     P‐0001048 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEENA, PAUL R.
3405 BELLINGTON DRIVE
ORLANDO, FL 32835                                    P‐0001049 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNETT, LATONYA D.
3625 METRIC DR
HOPE MILLS, NC 28348                                 P‐0001050 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEENA, PAUL R.
3405 BELLINGTON DRIVE
ORLANDO, FL 32835                                    P‐0001051 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, MATTHEW S.
1040 SW 46TH AVE APT 201
POMPANO BEACH, FL 33069                              P‐0001052 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANDL, TAMMY
9441 EVERGREEN PLACE
#103
DAVIE, FLORIDA 33324                                 P‐0001053 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUTCH, DOROTHY T.
4085 BLACKWOLF DR.
MYRTLE BEACH, SC 29579                               P‐0001054 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVER, STEVEN C.
568 BOYD ROAD
N EWBERRY, SC 29108                                  P‐0001055 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, DAVID A.
5776 W MONARCH CT
BLOOMINGTON, IN 47403                                P‐0001056 10/21/2017    TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
WHEELER, WILLIAM T.
5325 HONEY MANOR DRIVE
INDIANAPOLIS, IN 46221                               P‐0001057 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALCEDO, REINALDO B.
3621 N. 54TH AVENUE
HOLLYWOOD, FL 33021                                  P‐0001058 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILKINS, CHRISTOPHER L.
12111 N ROXBORO RD
DURHAM, NC 27572                                     P‐0001059 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUALLS, LARRY M.
929 RIDGESIDE CT
APOPKA, FL 32712                                     P‐0001060 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COFFEY, JAMES F.
8224 DAMARA DRIVE
NEW PORT RICHEY, FL 34653                            P‐0001061 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BECKER, DORIS J.
1357 BLEASE LOOP
THE VILLAGES, FL 32162                                P‐0001062 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAVER, CAROLE L.
357 NW SHORELINE CIRCLE
PORT SAINT LUCIE, FL 34986                            P‐0001063 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIFORD, THOMAS E.
WILLIFORD, MICHELLE
7708 S. FITZGERALD STREET
TAMPA, FL 33616                                       P‐0001064 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALCOLM, SHERI A.
11265 POND CYPRESS ST
FORT MYERS, FL 33913                                  P‐0001065 10/21/2017    TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
MCCABE, RONALD C.
5501 BELLVIEW AVE.
NEW PORT RICHEY, FL 34652                             P‐0001066 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, LETITIA
12713 SADDLE CLUB CIRCLE
APT 301
TAMPA, FL 33635                                       P‐0001067 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIELOCK, LUCILLE A.
4793 ESEDRA CT. #307
LAKEWORTH, FL 33467                                   P‐0001068 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES, MARY F.
127 COUNTRYSIDE DRIVE
MYRTLE BEACH, SC 29579                                P‐0001069 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANTLEY, LINDA J.
16321 NW 77 PLACE
MIAMI LAKES, FL 33016                                 P‐0001070 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWHARD, KAREN
4333 MIDDLETON CT
MARION, IN 46953                                      P‐0001071 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHAEFER, PAMELA A.
9929 HEMET DRIVE
LAS VEGAS, NV 89134                                   P‐0001072 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEALEY, KENNETH W.
HEALEY, FLORRIE
201 SHIRLEY RD
AMERICUS, GA 31709                                    P‐0001073 10/21/2017    TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00
DAVID, PAUL
DAVID, JULIA
3075 VERONICA AVENUE
MIDDLEBURG, FL 32068                                  P‐0001074 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCFARLANE, AMY
CLARK, DONNA
5492 REEDY CREEK RD
BRISTOL, VA 24202                                     P‐0001075 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANE, THOMAS
LANE, MELANIE
THOMAS LANE
1780 SHERWOOD DR
MIDDLEBURG, FL 32068                                  P‐0001076 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVID, PAUL
DAVID, JULIA
3075 VERONICA AVENUE
MIDDLEBURG, FL 32068                                  P‐0001077 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
DOITTEAU GRUVIS, ELIAS
12312 CHESLEY DR
CHARLOTTE, NC 28277                                  P‐0001078 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKIDMORE, ROBERT C.
7800 POINT MEADOWSO DR.
APT. 1015
JACKSONVILLE, FL 32256‐4622                          P‐0001079 10/21/2017    TK Holdings Inc., et al .                     $423.00                                                                                       $423.00
PAQUETTE, MICHAEL S.
6501 SALT BRUSH CT
RENO, NV 89511                                       P‐0001080 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVID, PAUL
DAVID, JULIA
3075 VERONICA AVENUE
MIDDLEBURG, FL 32068                                 P‐0001081 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES, ROBERT M.
HUGHES, ASHLEY E.
5577 BELLVIEW COURT
MILTON, FL 32583                                     P‐0001082 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANCK, JOHN
4421 THISTLEHILL CT
RALEIGH, NC 27616                                    P‐0001083 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'NEILL, JENNIFER P.
2359 PERIWINKLE WAY
SANIBEL, FL 33957                                    P‐0001084 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVID, PAUL
DAVID, JULIA
3075 VERONICA AVE
MIDDLEBURG, FL 32068                                 P‐0001085 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KURKER, STEVEN K.
11440 HIGH TIMBER DRIVE
INDIANAPOLIS, IN 46235                               P‐0001086 10/21/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
RODRIGUEZ, ALEJANDRO R.
3637 HEATHERBROOKE DR.
FAYETTEVILLE, NC 28306                               P‐0001087 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLASS, SCOTT A.
GLASS, KATHIE M.
2417 RIDGEWIND WAY
WINDERMERE, FL 34786                                 P‐0001088 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRY, RONALD D.
408 W 9TH ST
EDMOND, OK 73003                                     P‐0001089 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRY, RONALD D.
408 W 9TH ST
EDMOND, OK 73003                                     P‐0001090 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRY, RONALD D.
408 W 9TH ST
EDMOND, OK 73003                                     P‐0001091 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROUNDTREE, KYLIE R.
973 BRENTWOOD DRIVE
HARTSVILLE, SC 29550                                 P‐0001092 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, RODNEY P.
9326 PEN HOLLOW ROAD
POUND, VA 24279                                      P‐0001093 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHERMAN, CYNTHIA T.
902 VERNON CASTLE
BENBROOK, TX 76126                                   P‐0001094 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
GONZALES, KEN R.
48 TRAVERS CIR
LAWTON, OK 73507                                    P‐0001095 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWARTZ, DELIA A.
690 BLUFF CANYON CIR
EL PASO, TX 79912                                   P‐0001096 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWARTZ, KENNETH E.
690 BLUFF CANYON CIR
EL PASO, TX 79912                                   P‐0001097 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWSON, HEATHER
LAWSON, HEATHER
272 SPRING BRANCH ROAD
BRISTOL, VA 24201                                   P‐0001098 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENA, VALERIE
ADOBE AUTO SALES
7806 LOUISVILLE AVE
LUBBOCK, TX 79423                                   P‐0001099 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, EMMETT C.
4130 OSPREY HARBOUR LOOP
CORTEZ, FL 34215                                    P‐0001100 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELCH, KIM M.
960 DAYTONA STREET
COCOA, FL 32927                                     P‐0001101 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BACCHI, CATHERINE S.
128 WATERSFIELD RD
LELAND, NC 28451                                    P‐0001102 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARY RUTH MIER LIVING TRUST
MARY RUTH MIER
368 S 22ND ST
TERRE HAUTE, IN 47803‐2112                          P‐0001103 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAPAROZZI, DIANA R.
2827 BLOOMFIELD LANE APT 307
WILMINGTON, NC 28412                                P‐0001104 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHUNG, DENWARD
2314 BONNYCASTLE AVE
LOUISVILLE, KY 40205                                P‐0001105 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, DAVID
9135 GROSSE POINTE BLVD
TAMPA, FL 33635‐1359                                P‐0001106 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHUNG, DENWARD
2314 BONNYCASTLE AVE
LOUISVILLE, KY 40205                                P‐0001107 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POPE, MARVIN L.
69 WHITAKER WAY
MIDWAY, GA 31320                                    P‐0001108 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFORD, RICO A.
2939 WEST EASTON STREET
TULSA, OK 74127                                     P‐0001109 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POPE, MARVIN L.
69 WHITAKER WAY
MIDWAY, GA 31320                                    P‐0001110 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUTIERREZ, GABRIEL B.
7232 SACHET CLIFF DR.
EL PASO, TX 79934                                   P‐0001111 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
POPE, MARVIN L.
69 WHITAKER WAY
MIDWAY, GA 31320                                    P‐0001112 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, BLAINE F.
BLAINE F. MOORE
438 S. MAGNOLIA ST.
MOORESVILLE, NC 28118                               P‐0001113 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMMERMAN, GAYLE S.
AMMERMAN, LARRY D.
2236 6TH AVE.
FORT WORTH, TX 76110                                P‐0001114 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POPE, MARVIN L.
69 WHITAKER WAY
MIDWAY, GA 31320                                    P‐0001115 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAFLER, ANDREW
610 THOMAS MCKEEN ST
ORANGE PARK, FL                                     P‐0001116 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEESON, MARIE
2037 NE 24TH TERRACE
CAPE CORAL, FL 33909                                P‐0001117 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSEN, KAREN Z.
6000 SW 106 STREET
MIAMI, FL 33156                                     P‐0001118 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENE, SKYLER
2972 IMPERIAL PURPLE CT
LAS VEGAS, NV 89117                                 P‐0001119 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLIS, ERIN B.
3650 GUILFORD AVE
INDIANAPOLIS, IN 46205                              P‐0001120 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBBARD, LORETTA
292A TOWN BRANCH RD
MANCHESTER, KY 40962                                P‐0001121 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCO HAMILTON, MIGUEL
FRANCO, YOALNDA P.
816 BABYLONIA
EL PASO, TX 79907                                   P‐0001122 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CODY, DIANE
1 KINGSLEY CIRCLE
ORMOND BEACH, FL 32174                              P‐0001123 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNETTE, CHERYL L.
310 GILMAN LANE
UNIT 104
RALEIGH, NC 27610                                   P‐0001124 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEXANDRE, JEAN P.
1916 LAKE FOUNTAIN DRIVE
#825
ORLANDO, FL 32839                                   P‐0001125 10/21/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
FRANCO HAMILTON, MIGUEL
FRANCO, YOLANDA P.
816 BABYLONIA
EL PASO, TX 79907                                   P‐0001126 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LESHER, CARL D.
LESHER, CANDICE E.
9135 GROSSE POINTE BLVD
TAMPA, FL 33635‐1359                                P‐0001127 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BOZEMAN, TANISHA
BOZEMAN, JOHNNY
14611 SOUTHERN BLVD
UNIT 596
LOXAHATCHEE, FL 33470                                P‐0001128 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTILLO, JESSICA
CASTILLO, JESSICA M.
100 SW 110 AVE APT 143
MIAMI, FL 33174                                      P‐0001129 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAM, TEENA S.
529 RAHKEWOOD DR.
INDIANAPOLIS, IN 46217                               P‐0001130 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POPE, MARVIN L.
69 WHITAKER WAY
MIDWAY, GA 31320                                     P‐0001131 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANE, THOMAS
LANE, MELANIE
1780 SHERWOOD DR
MIDDLEBURG, FL 32068                                 P‐0001132 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, DOREEN A.
103 VISHAY CT
CARY, NC 27519
                                                     P‐0001133 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COATSWORTH, JAMES C.
6 FELIX STREET
APT C
CHARLESTON, SC 29403                                 P‐0001134 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROWE, CAROLYN A.
ROWE, EDNA A.
466 N MYERS RD
BROOKS, KY 40109                                     P‐0001135 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYLES, HOWARD C.
P O BOX 168
TROUP, TX 75789‐0168                                 P‐0001136 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POPE, MARVIN L.
69 WHITAKER WAY
MIDWAY, GA 31320                                     P‐0001137 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LATIMER, CHRISTIAN J.
740 WHITNEY ANN
EL PASO, TX 79932                                    P‐0001138 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAWLEY, TAMMIE
4806 TANGLEWOOD OAKS STREET
RALEIGH, NC 27610                                    P‐0001139 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOOKS, LETITIA
1619 RONSTAN DRIVE
KILLEEN, TX 76549                                    P‐0001140 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTO, KATHLEEN A.
1418 NATURE COURT
DAYTON, OH 45440                                     P‐0001141 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEESLER, HOWARD P.
KEESLER, DOROTHY L.
1845 NW 7TH AVE
CAPE CORAL, FL 33993                                 P‐0001142 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUNNINGHAM, SONYA A.
8002 MYRTLE GLADE
CONVERSE, TX 78109                                   P‐0001143 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SENECHAL, RICHARD
5118 NW 122ND AVENUE
CORAL SPRINGS, FL 33076                             P‐0001144 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLANUEVA, ANIBAL
722 HAWK LANE
KISSIMMEE
, FL 34759                                          P‐0001145 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOK, ADRIENE
493 RIDGECREST TRL
HENDERSON, NC 27537                                 P‐0001146 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EMOND, KEITH
131 VIA CONDADO WAY
PALM BEACH GARDE, FL 33418                          P‐0001147 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KORNGIEBEL, AMY C.
8130 LANSBURY COURT
NORTH CHARLESTON, SC 29420‐8310                     P‐0001148 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAYLOR, ROBERT C.
4655 HAMILTON PRINCETON RD.
HAMILTON, OH $5011‐8056                             P‐0001149 10/21/2017    TK Holdings Inc., et al .                    $5,825.50                                                                                    $5,825.50
GUEVARA, JOSE A.
2002 SW JANETTE AVE
PORT SAINT LUCIE, FL 34953                          P‐0001150 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMONE‐PAGLIARO, JUDY C.
117 BOBOLINK WAY UNIT A
NAPLES
, FL 34105                                          P‐0001151 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWE, BRENDA
HOWE, CATHERINE
20 BIG ROCK LANE
TRUSSVILLE, AL 35173                                P‐0001152 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERGUSON, GORDON R.
FERGUSON, TAURON L.
152 LAUREL GLEN DRIVE
MOORESVILLE, NC 28115                               P‐0001153 10/21/2017    TK Holdings Inc., et al .                     $156.40                                                                                       $156.40
VAUGHN, TIMOTHY J.
3640 PRIVETTE ROAD
MATTHEWS, NC 28104                                  P‐0001154 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, JACQUELINE G.
1704 TRAVELERS PALM DRIVE
EDGEWATER, FL 32132                                 P‐0001155 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TILGHMAN, JACQUELINE
6408 ALDER COURT
CHARLOTTE, NC 28215                                 P‐0001156 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIES‐NEVILL, ANDREA L.
1341 CAMERON VIEW CT
RALEIGH, NC 27607                                   P‐0001157 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERGUSON, GORDON R.
FERGUSON, TAURON L.
152 LAUREL GLEN DR
MOORESVILLE, NC 28115                               P‐0001158 10/21/2017    TK Holdings Inc., et al .                     $145.86                                                                                       $145.86
VAUGHN, LYNNETTE D.
3640 PRIVETTE ROAD
MATTHEWS, NC 28104                                  P‐0001159 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILLARD, DENNIS K.
2785 ROSANNA STREET
LAS VEGAS, NV 89117‐3047                            P‐0001160 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
GRIGER, JOHN M.
GRIGER, SUSAN M.
550 BOUNDARY BLVD
ROTONDA WEST, FL 33947                             P‐0001161 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATON, DUANE E.
12622 JODA LANE EAST
JACKSONVILL, FL 32258                              P‐0001162 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAUGHN, LYNNETTE D.
3640 PRIVETTE ROAD
MATTHEWS, NC 28104                                 P‐0001163 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAUGHN, TIMOTHY J.
3640 PRIVETTE ROAD
MATTHEWS, NC 28104                                 P‐0001164 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZEMAITIS, TERESA
5201 57TH STREET NORTH
KENNETH CITY, FL 33709                             P‐0001165 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASTRO, ROSANNE
4419 SOUTH US 301 APT B
BUSHNELL, FL 33513                                 P‐0001166 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUIGLEY, DEBORAH A.
2442 CARDINAL LN.
GARLAND, TX 75042                                  P‐0001167 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAUGHN, TIMOTHY J.
3640 PRIVETTE ROAD
MATTHEWS, NC 28104                                 P‐0001168 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAYLOR, ROBERT C.
4655 HAMILTON PRINCETON RD.
HAMILTON, OH 45011                                 P‐0001169 10/21/2017    TK Holdings Inc., et al .                    $1,917.81                                                                                    $1,917.81
LARSON, CURT D.
2990 PITTMAN GROVE CHURCH ROA
RAEFORD, NC 28376                                  P‐0001170 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAULINO, FERNANDO A.
5086 JEFFREYS ST UNIT 201
LAS VEGAS, NV 89119                                P‐0001171 10/21/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
ARRINDELL, CHARLES M.
5640 ORCHARD VILLAS CIR
ROANOKE, VA 24019                                  P‐0001172 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, JR., AURELIANO
CHARLOTTE
2000 S. LAKELINE BLVD.
APT. 618
CEDAR PARK, TX 78613                               P‐0001173 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, DONALD F.
ROGERS, HELEN P.
7350 SW 89 STREET
APT 512S
MIAMI, FL 33156                                    P‐0001174 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARSON, CURT D.
2990 PITTMAN GROVE CHURCH ROA
RAEFORD, NC 28376                                  P‐0001175 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, BENJAMIN C.
1732 PAUL HITE ROAD
LEESVILLE, SC 29070‐8727                           P‐0001176 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WARNER, MICHAEL A.
WARNER, LETICIA
2225 SUMMIT BLVD
PENSACOLA, FL 32503                                  P‐0001177 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RHODES, NAOMI J.
2020 SMITHFFIELD ST
KILL DEVIL HILLS, NC 27948                           P‐0001178 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POPE, MARVIN L.
69 WHITAKER WAY
MIDWAY, GA 31320                                     P‐0001179 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORN, SULIA G.
5109 GRADY CT
FLOWER MOUND, TX 75028                               P‐0001180 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRBY, WILLIAM H.
13375 W. SADDLEBOW DRIVE
RENO, NV 89511                                       P‐0001181 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIS, GINA L.
5731 HARMONY WOODS
MEMPHIS, IN 47143                                    P‐0001182 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENKINS, SHAUYA
18927 SW 114TH AV
MIAMI, FL 33157                                      P‐0001183 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRBY, WILLIAM H.
13375 W. SADDLEBOW DRIVE
RENO, NV 89511                                       P‐0001184 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEIR, DAVID G.
757 OXFORD DR
DAVENPORT, FL 33897                                  P‐0001185 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, THOMAS A.
640 MILAM STREET APT 69
KINGSPORT, TN 376603978                              P‐0001186 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POPE, MARVIN L.
69 WHITAKER WAY
MIDWAY, GA 31320                                     P‐0001187 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORD MOTOR
FORD MOTOR CO
EDNA JENKINS
1158 HOLZ AVE
CINCINNATI, OH 45230                                 P‐0001188 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOTTER, JON G.
3332 LANDERSHIRE LANE
PLANO, TX 75023                                      P‐0001189 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLIN, LEANNE
5009 QUILL COURT
PALM HARBOR, FL 34685                                P‐0001190 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOE'S CARY, LLC
DAVID WILSON
101 ELSTOW COURT
CARY, NC 27519                                       P‐0001191 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINONES, TERRY P.
9140 COVENTRY
EL PASO, TX 79907                                    P‐0001192 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANDELT, BRIDGET L.
4611 ALTHA ST
RALEIGH, NC 27606                                    P‐0001193 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SIMMONS, RUBY M.
202 SPEARS DR
FAYETTEVILLE, NC 28304                              P‐0001194 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RILEY, SELESIA C.
7995 CHERRY BLOSSOM DR N
JACKSONVILLE, FL 32216                              P‐0001195 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCVAY, DAVID
MCVAY, CRYSTAL
239 SUMMIT PARK CT
KANNAPOLIS, NC 28083                                P‐0001196 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAE, KEITH
XEREX
2612 WOLFS POINT DRIVE
ROCHESTER, IN 46975                                 P‐0001197 10/21/2017    TK Holdings Inc., et al .                   $45,000.00                                                                                   $45,000.00
MOE'S DURHAM, LLC
DAVID J. WILSON
101 ELSTOW COURT
CARY, NC 27519                                      P‐0001198 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMOS, PEDRO A.
RODRIGUEZ, JEANNETTE
515 TUNDRA DR
HARKER HEIGHTS, TX 76548                            P‐0001199 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCVAY, CRYSTAL
MCVAY, DAVID
239 SUMMIT PARK CT
KANNAPOLIS, NC 28083                                P‐0001200 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, JORDAN C.
7187 WETHERINGTON DRIVE
WEST CHESTER, OH 45069                              P‐0001201 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHUE, JAMES E.
11108 FARMWOOD DRIVE
RALEIGH, NC 27613                                   P‐0001202 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MSWG CHAPEL HILL, LLC
DAVID WILSON
101 ELSTOW COURT
CARY, NC 27519                                      P‐0001203 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMOS, PEDRO A.
RODRIGUEZ, JEANNETTE
515 TUNDRA DR
HARKER HEIGHTS, TX 76548                            P‐0001204 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ II, FEDERICO
HERNANDEZ, SANDRA E.
12141 MISSY YVETTE
EL PASO, TX 79936                                   P‐0001205 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIGHBERG, JASON E.
HIGHBERG, ANGELA V.
NAVY FEDERAL CREDIT UNION
523 LAKE JORDAN BLVD W
KINGSLAND, GA 31548                                 P‐0001206 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MSWG CHAPEL HILL, LLC
DAVID WILSON
101 ELSTOW COURT
CARY, NC 27519                                      P‐0001207 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALMER, CHRISTOPHER L.
125 HOLLOW OAK TRAIL
EDGEWATER, FL 32141                                 P‐0001208 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
NEMETSKY, CHRISTENE V.
ESTATE OF HOWARD A NEMETSKY
105 WOOD COURT
GEORGETOWN, TX 78628                               P‐0001209 10/21/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
RAMOS, PEDRO A.
RODRIGUEZ, JEANNETTE
515 TUNDRA DR
HARKER HEIGHTS, TX 76548                           P‐0001210 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUTKNECHT, RICHARD G.
1519 PENNSYLVANIA AVE
LYNN HAVEN, FL 32444‐3831                          P‐0001211 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACKMON, JOHN E.
585 HUCKLEBERRY LANE
HINESVILLE, GA 31313                               P‐0001212 10/21/2017    TK Holdings Inc., et al .                   $18,000.00                                                                                   $18,000.00
POST, JOHN C.
1981 SUSSEX DR E
ORANGE PARK, FL 32073                              P‐0001213 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOKSEY, JONATHAN N.
COOKSEY, SUSAN J.
1658 EAGLE NEST CIR
WINTER SPRINGS, FL 32708                           P‐0001214 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALMER, CHRISTOPHER L.
125 HOLLOW OAK TRAIL
EDGEWATER, FL 32141                                P‐0001215 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEELE, LARRY A.
1008 HUFFMAN CT
CINCINNATI, OH 45231                               P‐0001216 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, WILLIE A.
JONES, YVETTE O.
4865 HORSEMAN DR NE
ROANOKE, VA 24019                                  P‐0001217 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWELL, TONI L.
POWELL, JAMES R.
4548 GOODWIN ROAD
SPARKS, NV 89436                                   P‐0001218 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELIGA, KAREN
SELIGA, KAREN
4629 LIGHTKEEPERS WAY
UNIT 6J
LITTLE RIVER, SC 29566                             P‐0001219 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEMETSKY, SAMUEL A.
105 WOOD COURT
GEORGETOWN, TX 78628                               P‐0001220 10/21/2017    TK Holdings Inc., et al .                   $12,500.00                                                                                   $12,500.00
PHILIPOSE, JUBIN
12814 HYMEADOW DR. UNIT# A
AUSTIN, TX 78729                                   P‐0001221 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBBINS, JEFFREY
ROBBINS, ROSELYN
9000 BEECH TRAIL
CINCINNATI, OH 45243                               P‐0001222 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, DEBRA A.
7626 W LONE MOUNTAIN RD #7
LAS VEGAS, NV 89129                                P‐0001223 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
VANDETT, TONI‐ANNE
VANDETT, MATTHEW
3915 SKYLINE DRIVE
CONWAY, SC 29526                                    P‐0001224 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEELE, LARRY A.
1008 HUFFMAN CT
CINCINNATI, OH 45231                                P‐0001225 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEHLBAUM, MARK J.
1393 MURPHYTOWN ROAD
DAVISVILLE, WV 26142                                P‐0001226 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBOUR, THOMAS K.
3709 PROVIDENCE CT.
WILMINGTON, NC 28412                                P‐0001227 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HULL, RACHAEL R.
1790 ROCKY WOOD CIRCLE 227
ROCKLEDGE, FL 32955                                 P‐0001228 10/21/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
WHITT, ANTONIA D.
1606 POOLSIDE LN
UNIT 302
CHARLOTTE, NC 28208                                 P‐0001229 10/21/2017    TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00
WEISBERG, CAROL E.
2295 CARRINGTON COURT
APT 102
NAPLES, FL 34109                                    P‐0001230 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTFIELD, STEPHEN M.
107 DOBBS PL
GOLDSBORO, NC 27534                                 P‐0001231 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ JR, JOE T.
2870 BURNING ROCK
SAN ANTONIO, TX 78247                               P‐0001232 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCASTER, SAMUEL D.
110 CHATFORD DR
BRUNSWICK, GA 31525                                 P‐0001233 10/21/2017    TK Holdings Inc., et al .                    $4,500.00                                                                                    $4,500.00
GALBREATH, WILLIAM
1035 ASPEN DAISY AVE
HENDERSON, NV 89074                                 P‐0001234 10/21/2017    TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
WESTFIELD, STEPHEN M.
107 DOBBS PL
GOLDSBORO, NC 27534                                 P‐0001235 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCAGGS, JOHN P.
8447 PAPILLON AVENUE
REYNOLDSBURG, OH 43068                              P‐0001236 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGE, JIMMY R.
ANGIE R.
241 MULLET DR
FREEPORT, FL 32439                                  P‐0001237 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALLENDER, AUSTIN C.
2930 POCONO TRAIL SW
SHALLOTTE, NC 28470                                 P‐0001238 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEIN, EILEEN S.
4628 SHANNAMARA DR
MATTHEWS, NC 28104                                  P‐0001239 10/21/2017    TK Holdings Inc., et al .                    $1,100.00                                                                                    $1,100.00
WALTON, IMODONNA
9269 SE MYSTIC COVE TER
HOBE SOUND, FL 33455                                P‐0001240 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PICKWORTH CAMPBE, CAROLE E.
5805 STALLION DRIVE
NEW ALBANY, OH 43054 8059                           P‐0001241 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOPPENRATH, MICHELE A.
64 SAN JUAN DRIVE
SOMERSET, KY 42503                                  P‐0001242 10/21/2017    TK Holdings Inc., et al .                     $715.16                                                                                       $715.16
GOUDY, MARK E.
1575 BELVOIR BLVD
COLUMBUS, OH 43228                                  P‐0001243 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUKE, NANCY
5020 PEMBERTON LN
THE COLONY, TX 75056                                P‐0001244 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALDERMAN, BRIAN M.
1928 MONTMARTE DR
JACKSONVILLE, FL 32210                              P‐0001245 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHULTZ, DAWN M.
3872 SIENA LANE
PALM HARBOR, FL 34685                               P‐0001246 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEIGER, CEDRIC
144 PAMPAS DRIVE
POOLER, GA 31322                                    P‐0001247 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONANT, MARTIN L.
CONANT, EVA T.
14755 DONATELLO COURT
BONITA SPRINGS, FL 34135                            P‐0001248 10/21/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
SPORTS, JULIAN D.
243 N.FIRETOWER RD
FLORENCE, SC 29506                                  P‐0001249 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUIDRY, JASON J.
GUIDRY, JAMES J.
2706 KATHERINE STREET
LA MARQUE, TX 77568                                 P‐0001250 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLAIR, KRISTIN
1212 P STREET
BEDFORD, IN 47421                                   P‐0001251 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, MICHAEL C.
102 N WEST DT
WINTERS, TX 79567                                   P‐0001252 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEYER, MELINDA A.
NO ADDRESS PROVIDED
                                                    P‐0001253 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLIDAY, TIMOTHY E.
5766 SANDY POINTE DRIVE
SARASOTA, FL 34233                                  P‐0001254 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIN, BENJAMIN E.
KLEIN, LORA J.
13145 SW 113TH PLACE
DUNNELLON, FL 34432                                 P‐0001255 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, KEVIN V.
103 KIM DR
DEL RIO, TX 78840                                   P‐0001256 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONDLEY, STEPHEN M.
3414 LITTLESTONE DR.
ARLINGTON, TX 76014                                 P‐0001257 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
EAST, HERMAN F.
EAST, LINDA G.
135 BELEWSFIELD ROAD
STOKESDALE, NC 27357                                P‐0001258 10/21/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
CALEBRO, ADAIA
1654 ACADEMY STREET
CHARLOTTE, NC 28205                                 P‐0001259 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERKINS, RICHARD H.
13572 TRIA DRIVE
ESTERO, FL 33928‐7304                               P‐0001260 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARRELL, DONNA J.
813 CANYON CREEK LN
FUQUAY VARINA, NC 27526                             P‐0001261 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, MONTALVO
817 HOLLY DR
ALBANY, GA 31705                                    P‐0001262 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRES, JASON A.
598 SMOKEMONT CT
APOPKA, FL 32712                                    P‐0001263 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROOS, BRIAN P.
8159 SHORECREST CT
SPRING HILL, FL 34606                               P‐0001264 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIEHUS, WALTER M.
1208 MANDARIN LANE
FRUITLAND PARK, FL 34731                            P‐0001265 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLOVER JR., CLARENCE J.
10 MARKFIELD DRIVE
CHARLESTON, SC 29407                                P‐0001266 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRES, JASON A.
598 SMOKEMONT CT
APOPKA, FL 32712                                    P‐0001267 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUNA, BLANCA E.
10924 SOMBRA VERDE DR.
EL PASO, TX 79935                                   P‐0001268 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, DAVID J.
101 ELSTOW COURT
CARY, NC 27519                                      P‐0001269 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COYLE, EDWARD L.
COYLE, MARILYN S.
3304 SEDONA LN
PLANO, TX 75025                                     P‐0001270 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GHOLSON, JOYCE E.
GHOLSON, ALBERT J.
9520 SPECTRUM DR.
APT. 11106
AUSTIN, TX 78717                                    P‐0001271 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, DAVID J.
101 ELSTOW COURT
CARY, NC 27519                                      P‐0001272 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARRA, LORETO
13350 GEORGIAN COURT
WELLINGTON, FL 33414                                P‐0001273 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACK, JASMINE N.
121 THOMAS DRAKE COURT
KERNERSVILLE, NC 27284                              P‐0001274 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MROZ, WALTER J.
MROZ, KAY L.
1162 LYNBROOK ST.
PALM BAY, FL 32907                                  P‐0001275 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOE'S BRIER CREEK, LLC
DAVID WILSON
101 ELSTOW COURT
CARY, NC 27519                                      P‐0001276 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNDAY, ALEXANDER
MUNDAY, ANNA
641 E. MONTGOMERY AVE
VAIL, AZ 85641                                      P‐0001277 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHAWAJA, IMRAN
130 LESLIE PLACE
SCOTT DEPOT, WV 25560                               P‐0001278 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SORENSON, MARTIN N.
7893 STANZA ST
BOYNTON BEACH, FL 33437                             P‐0001279 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECOTEAU, STACI A.
10738 EAST FREDDY ST
INVERNESS, FL 34450                                 P‐0001280 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, BEVERLY D.
2212 LEE STREET
APT 2
HOLLYWOOD, FL 33020                                 P‐0001281 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBIN, JEAN‐LUC
17 THE DOWNS
TUSCALOOSA, AL 35401                                P‐0001282 10/21/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
SOLOMON, LISA P.
6200 TURKEY RD
KANNAPOLIS, NC 28083                                P‐0001283 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHAWAJA, IMRAN
130 LESLIE PLACE
SCOTT DEPOT, WV 25560                               P‐0001284 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, CURTIS B.
5714 CHERRYWOOD LANE
ARLINGTON, TX 76016                                 P‐0001285 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONYERS, RANDELL D.
223 BRACKENRIDGE AVE.
APT. 8305
SAN ANTONIO, TX 78209                               P‐0001286 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNOLDS, PAIGE
4483 BROOK HOLLOW CIRCLE
WINTER SPRINGS, FL 32708                            P‐0001287 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAFONT, CHARLES R.
LAFONT, BRUNILDA E.
4433 S. W. 163 PL.
MIAMI, FL 33185                                     P‐0001288 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINSLOW, HARLE J.
355 W MESQUITE BLVD #D20
MESQUITE, NV 89027                                  P‐0001289 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAXEY, JENNIFER
11526 BASKERVILLE RD
JACKSONVILLE, FL 32223                              P‐0001290 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
REMINGTON, ALISSA R.
3783 E OLIVE ROAD APT G
PENSACOLA, FL 32514                                  P‐0001291 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSSELL, RALPH R.
104 WOODCREST AVE
SATSUMA, FL 32189                                    P‐0001292 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANOVA, JUDY L.
412 HEARTWOOD DR
LEXINGTON, SC 29073                                  P‐0001293 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONDI, KURT S.
9298 DAMES ROCKET PLACE
LAS VEGAS, NV 89148                                  P‐0001294 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, MICHAEL W.
3221 SPRING HILL LN
PLANO, TX 75025                                      P‐0001295 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, DESHAWN L.
1510 SOUTH 47TH STREET
TEMPLE, TX 76504                                     P‐0001296 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONDI, KURT S.
9298 DAMES ROCKET PLACE
LAS VEGAS, NV 89148‐4805                             P‐0001297 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUBIN, RAND
2305 SE 18TH CIRCLE
OCALA, FL 34471                                      P‐0001298 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHEL, JEREMY W.
959 SE 2ND AVENUE
APT. 132
DEERFIELD BEACH, FL 33441                            P‐0001299 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGNER, KENNETH G.
1312 N LAWRENCE HOLLOW DR
BLOOMFIELD, IN 47424                                 P‐0001300 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NUTKIN, SANDRA R.
NO ADDRESS PROVIDED
                                                     P‐0001301 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBEE, MICHAEL J.
501 EL MOLINO BLVD
LAS CRUCES, NM 88005                                 P‐0001302 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROFT, MICHELE D.
7706 SANTEE TERRACE
LAKE WORTH, FL 33467                                 P‐0001303 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, WILLIAM R.
1128 INDIAN HOLLOW
SPRING BRANCH, TX 78070                              P‐0001304 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAVIELLO JR, GEORGE M.
MEW, STERLING H.
175 1ST ST S
#1806
ST PETERSBURG, FL 33701                              P‐0001305 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMBERG, LAWRENCE V.
6093 E. DALY LANE
INVERNESS, FL 34472‐7038                             P‐0001306 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALCE, MERSILIA
46 GOSHEN STREET
ELMONT, NY 11003                                     P‐0001307 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
NAPOLITANO, AUSTIN L.
3567 BAHNY RD
HELENA, MT 59602                                   P‐0001308 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DARLING, GENE W.
DARLING, JUDITH M.
22124 ROSE GRASS LN
SPICEWOOD, TX 78669                                P‐0001309 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROACH, KAROL K.
ROACH, JOSEPH R.
7038 BEAUHAVEN COURT
JACKSONVILLE, FL 32258                             P‐0001310 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATLIN, SALLY
FILIPPELLI, GABRIEL M.
4916 N PARK AVE
INDIANAPOLIS, IN 46205                             P‐0001311 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, VICTOR D.
2560 MEADOWVIEW CIRCLE
WINDERMERE, FL 34786                               P‐0001312 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALCE, MERSILIA
46 GOSHEN STREET
ELMONT, NY 11003                                   P‐0001313 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONOVER, JASON H.
81 MAPLE AVE
PALM HARBOR, FL 34684                              P‐0001314 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIANCO, MICHELLE M.
3205 TIMBER RIDGE TRL
MCKINNEY, TX 75071                                 P‐0001315 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELIZONDO, DUSTIN R.
4409 HIGH SIERRA
ABILENE, TX 79606                                  P‐0001316 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, TAMMY L.
13816 ALVAREZ ROAD
JACKSONVILLE, FL 32218                             P‐0001317 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALABAN, THOMAS
332 W STONE BROOK PL
HOOVER, AL 35226                                   P‐0001318 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAGRAMANIAN, ALEXANDER
KAGRAMANIAN, ROZA
2816 STANFORD DR
FLOWER MOUND, TX 75022                             P‐0001319 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, ROBERT L.
WILLIAMS, FELICE O.
10372 WAVELAND CIRCLE
FISHERS, IN 46038                                  P‐0001320 10/21/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
RILEY, CHALONG
341 BURNSWICK ISLES WAY
FRISCO, TX 75034                                   P‐0001321 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, DENISE
1237 WOODFLOWER WAY
CLERMONT
USA, FL 34714                                      P‐0001322 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FENNELL, DARRYL J.
324 PADENREICH AVE
GADSDEN, AL 35903                                  P‐0001323 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
COSTA, LAWRENCE G.
11713 COSTA BLANCA AVE
LAS VEGAS, NV 89138                                 P‐0001324 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAGRAMANIAN, ROZA
2816 STANFORD DR
FLOWER MOUND, TX 75022                              P‐0001325 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENEST, LISA C.
5538 WEST PEACEFUL DOVE PLACE
MARANA, AZ 85658                                    P‐0001326 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASCO, ANTHONY
PASCO, JOYCE
1251 DELANEY DRIVE
WEDDINGTON, NC 28104                                P‐0001327 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, RICHARD
2298 S CEDAR GROVE ROAD
WAPANUCKA, OK 73461                                 P‐0001328 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLAM, DIANE L.
3449 LYNNGATE CIRCLE
BIRMINGHAM, AL 35216                                P‐0001329 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARR, MICHELLE L.
14470 SW 289 ST
HOMESTEAD, FL 33033                                 P‐0001330 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISS, MICHAEL W.
WEISS, DEBRA K.
3066 HARVEST HOLLOW
SEGUIN, TX 78155                                    P‐0001331 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WITHERSPOON, SEPTEMBER D.
231 SYCAMORE TREE RD
LEXINGTON, SC 29073                                 P‐0001332 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOSMIDIS, SOPHIA
4429 CLUSTER DR
ORLANDO, FL 32808                                   P‐0001333 10/21/2017    TK Holdings Inc., et al .                   $20,565.92                                                                                   $20,565.92
ALLEN, ROBIN H.
147 RIVER EDGE DRIVE
SHEPHERDSVILLE, KY                                  P‐0001334 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, DANNY L.
2182 HANSEN STREET
SARASOTA, FL 34231                                  P‐0001335 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUIKEN, DOROTHY A.
KUIKEN, DALE A.
1510 WINTERWOOD AVE
SPARKS, NV 89434                                    P‐0001336 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYSE, VERNA J.
4325 MORROW ST.
GUNTERSVILLE, AL 35976                              P‐0001337 10/21/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
BROWN, BRIEN A.
NO ADDRESS PROVIDED
                                                    P‐0001338 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUBALA, LOUIS
STRAWDER‐BUBALA, JILL
2040 BRENDA WAY
CARSON CITY, NV 89704                               P‐0001339 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKINNEY, ERIC B.
533 RIVERWARD DRIVE
MYRTLE BEACH, SC 29588                              P‐0001340 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CLOVIS, ROY R.
521 KISTLER CIRCLE
CLERMONT
, FL 34715                                           P‐0001341 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAHN, CHARLES B.
17 RAMSGATE COURT
GREENSBORO, NC 27403                                 P‐0001342 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTER‐GREEN, DESTANI
2221 SW 2ND ST
OCALA, FL 34471                                      P‐0001343 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OFLYNN, GERALD E.
2609 BREMONT AVE
CINCINNATI, OH 45237                                 P‐0001344 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERSHON, DEANN
225 MARSH CREEK DRIVE
GARNER, NC 27529                                     P‐0001345 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLS, ANTHONY C.
9631 RAMON VALLEY AVE
LAS VEGAS, NV 89149‐1952                             P‐0001346 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIS, MARK S.
11713 COSTA BLANCA AVE
LAS VEGAS, NV 89138                                  P‐0001347 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DINOTO, KAREN A.
1614 SW 44TH TER
CAPE CORAL, FL 33914                                 P‐0001348 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SICHERMAN, DAVID
SICHERMAN, DAVID
5520 BAJA TER.
GREENACRES, FL 33463                                 P‐0001349 10/21/2017    TK Holdings Inc., et al .                     $750.00                                                                                       $750.00
WAGONER, MELISSA J.
5188 SWEAT ROAD
GREEN COVE SPRIN, FL 32043                           P‐0001350 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY, JAMES L.
128 IRON HORSE RD
LEXINGTON, SC 29073                                  P‐0001351 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESAI, AMITA
100 WYSEFERRY COURT
MORRISVILLE, NC 27560                                P‐0001352 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELOMS, ECSTASI
COSTELLO, EVEAN
5401 INDEPENDENCE PKWY
APT 1208
PLANO, TX 75023                                      P‐0001353 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORLEANS, GREGORY
11522 LAS POLAMAS DR
FRISCO, TX 75033                                     P‐0001354 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OYARZUN, ROBERTO
4815 NW 98TH PLACE
DORAL, FL 33178                                      P‐0001355 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOOKER, SIMONE D.
1210 MORDECAI DRIVE
RALEIGH, NC 27604                                    P‐0001356 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICKENS, SONIA M.
105 S. MAGNOLIA ST
SUMTER, SC 29150                                     P‐0001357 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                   Amount
PERRY, DARRELL D.
27 OLD BRIDGE DRIVE
POOLER, GA 31322                                     P‐0001358 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
WILLITS, ROBERT A.
330 20TH AVE SOUTH
GREAT FALLS, MT 59405                                P‐0001359 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
BRADFORD, LAVELLE T.
9360 FITZWILLIAM AVE
LAS VEGAS, NV 89178                                  P‐0001360 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
GLASS, SUSAN M.
GLASS, KEVIN M.
P.O. BOX 38
WINNABOW, NC 28479                                   P‐0001361 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
KOH, EVELYN
6130 W FLAMINGO RD 203
LAS VEGAS, NV 89103                                  P‐0001362 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
HARVEY, JESSICA N.
5456 PLYMOUTH STREET
JACKSONVILLE, FL 32205                               P‐0001363 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
WILLETT, SUSAN S.
JOHNNY
2346 LOW MARSH CT.
LELAND, NC 28451                                     P‐0001364 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
PRUITT, KATRINA D.
9701 MOONBEAM CIRCLE
TUSCALOOSA, AL 35405                                 P‐0001365 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
CHEN, KARL
CHEN, LILY
11216 SW 147TH PL
MIAMI, FL 33196                                      P‐0001366 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
VALIQUETTE, GERARD A.
2807 68TH STREET CIRCLE WEST
BRADENTON, FL 34209                                  P‐0001367 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
MARRARO JR, ROBERT V.
7742 GRIZZLEY DR.
CORPUS CHRISTI, TX 78414                             P‐0001368 10/21/2017    TK Holdings Inc., et al .                      $875.00                                                                                       $875.00
CHAMBERS, PETER B.
CHAMBERS, ALISON R.
406 ROCK HOLLY ROAD
CHARLESTON, WV 25314‐1536                            P‐0001369 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
TALWAR, ASHISH
4333 WESTDALE DRIVE
FORT WORTH, TX 76109                                 P‐0001370 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
MARRARO JR, ROBERT V.
7742 GRIZZLEY DR.
CORPUS CHRISTI, TX 78414                             P‐0001371 10/21/2017    TK Holdings Inc., et al .                      $875.00                                                                                       $875.00
VANDENBERG, RODNEY A.
317 GEORGIA AVE
ST CLOUD, FL 34769                                   P‐0001372 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
GOODIE, BRIANNA R.
915 N MACON PARK DR
MACON, GA 31210                                      P‐0001373 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
RODRIGUEZ, JOSE O.
3580 E ALEXANDER RD
APT 1022
LAS VEGAS, NV 89115                                  P‐0001374 10/21/2017    TK Holdings Inc., et al .                 $5,000,000.00                                                                                $5,000,000.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
VANDENBERG, RODNEY A.
317 GEORGIA AVE
ST CLOUD, FL 34769                                  P‐0001375 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRETT, CINDY A.
13471 THORNTON DR
FRISCO, TX 75035                                    P‐0001376 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICOMITIS, STEPHAN K.
120 BENTLEY PARK LOOP
MISSOULA, MT 59801                                  P‐0001377 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUBE, ANA
MIQUILARENA, CARLOS
2401 ANDERSON RD, APT 5
CORAL GABLES, FL 33134                              P‐0001378 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANSE, ELLEN A.
6 YUCCA POD LANE
ARENAS VALLEY, NM 88022                             P‐0001379 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANDENBERG, RODNEY A.
317 GEORGIA AVE
ST CLOUD, FL 34769                                  P‐0001380 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIQUILARENA, CARLOS
KUBE, ANA
2401 ANDERSON RD, APT 5
CORAL GABLES, FL 33134                              P‐0001381 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADA, MAHIR
MAHIR ADA
150 RICE MINE ROAD N APT H105
TUSCALOOSA, AL 35406                                P‐0001382 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCMURRAY, ELMER A.
2770 W AVALON RD
AVON PARK, FL 33825                                 P‐0001383 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODMAN, HOWARD D.
510 WILLOW RIDGE CIR ROCKWALL
ROCKWALL, TX 75032                                  P‐0001384 10/21/2017    TK Holdings Inc., et al .                     $750.00                                                                                       $750.00
AUGUSTE, DANIELLE M.
8669 WHITE SWAN DR. UNIT 101
TAMPA, FL 33614                                     P‐0001385 10/21/2017    TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
BOLDEN, MAXIE D.
BOLDEN, NETTIE J.
1111 N LAMB BLVD
SPACE #173
LAS VEGAS, NV 89110                                 P‐0001386 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIPIETRO, KATHY M.
3204 HAMPSHIRE COURT
FRISCO, TX 75034                                    P‐0001387 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITZGERALD, DENNIS A.
FITZGERALD, MARY S.
963 OAKWOOD LANE
MYRTLE BEACH, SC 29572                              P‐0001388 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITFIELD, DORIS A.
13814 ALVAREZ ROAD
JACKSONVILLE, FL 32218                              P‐0001389 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY, NICHOLE J.
11500 SUMMIT WEST BLVD
UNIT 8A
TAMPA, FL 33617                                     P‐0001390 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SCHULTZ, STEPHEN L.
278 CROSS CREEK DR
MIDWAY, GA 31320                                    P‐0001391 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIMAN, CAREY D.
10180 GROVE LAN
COOPER CITY, FL 33328                               P‐0001392 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LERNER, SHIRLEY F.
12721 HUNTERS CHASE STREET
SAN ANTONIO, TX 78230‐1929                          P‐0001393 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WENZL, SHALENE T.
807 THUNDERBIRD DR
FLORENCE, SC 29501                                  P‐0001394 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYLE, COLLIN L.
220 RIVERSIDE AVE UNIT 310
JACKSONVILLE, FL 32202                              P‐0001395 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, ELIZABETH A.
1978 HAVASU GARDEN DRIVE
LAKE HAVASU, AZ 86404                               P‐0001396 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNYDER, DAVID W.
20937 CEDAR BLUFF PLACE
LAND O LAKES, FL 34638                              P‐0001397 10/21/2017    TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
KEMPER, GEORGE W.
2320 PRIMROSE VALLEY CT
RALEIGH, NC 27613‐8539                              P‐0001398 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSHING, JAIMIE N.
1627 GUESS RD
PAGELAND, SC 29728                                  P‐0001399 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGIVERN, BILL D.
1735 SO WARREN
BUTTE, MT 59701                                     P‐0001400 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, REGINA L.
6319 DERRYFIELD DRIVE
CHARLOTTE, NC 28213/5532                            P‐0001401 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYKIN, TONI
660 PROMENADE PLACE
APT 311
COLUMBIA, SC 29229                                  P‐0001402 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, THOMAS
22 CONNER DRIVE
LUDOWICI, GA 31316                                  P‐0001403 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRISENO, ROBERTO
7513 WINDSOR OAKS
SAN ANTONIO, TX 78239                               P‐0001404 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THAI, RICHARD
THAI, KITTY
8109 FOUNTAIN SPRINGS DR.
PLANO, TX 75025                                     P‐0001405 10/21/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MALPASS, TROY J.
176 POND ST
VANCEBORO, NC 28586                                 P‐0001406 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUSTAFSON, ROBERT C.
831 DOLPHIN AVE NW
PORT CHARLOTTE, FL 33948                            P‐0001407 10/21/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
ATTWOOD, DAVID J.
1225 TOWN CENTER, #909
PFLUGERVILLE, TX 78660                              P‐0001408 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BEAVER, MARGARET S.
1211 SHANELLE LANE
MATTHEWS, NC 28104                                  P‐0001409 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIPTON, ANNA
TIPTON, ANNA
1116 TUDOR HOUSE RD
PFLUGERVILLE, TX 78660                              P‐0001410 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WISNICKI, JEFFREY L.
8741 WENDY LANE SOUTH
WEST PALM BEACH, FL 33411                           P‐0001411 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILBERT, JOHN D.
7604 BROOKMONT LN
WAXHAW, NC 28173                                    P‐0001412 10/21/2017    TK Holdings Inc., et al .                    $1,100.00                                                                                    $1,100.00
TAFOYA, EDWARD R.
PECK, HEATHER R.
4075 ALTO AVE
LAS VEGAS, NV 89115                                 P‐0001413 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOOPS, JUDY L.
1348 CRANBERRY LANE
BLACKSBURG, VA 24060                                P‐0001414 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORLEANS, GREGORY
11522 LAS POLAMAS DRIVE
FRISCO, TX 75033                                    P‐0001415 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLAYLOCK, CONNIE M.
17810 ORANGE STREET
ALVIN, TX 77511                                     P‐0001416 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELLER, SUSAN K.
16132 CAPE CORAL DR.
WIMAUMA, FL 33598                                   P‐0001417 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OVES, JENNIFER
2810 LORRAINE AVE.
TAMPA, FL 33614                                     P‐0001418 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAUGHAN, CLANCY T.
GAUGHAN, JACQUELINE E.
3301 N COUNTRY CLUB DR #505
AVENTURA, FL 33180                                  P‐0001419 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOOKER, GARY B.
2313 EVERGREEN ST
CARROLLTON, TX 75006                                P‐0001420 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBB, DAWN D.
6629 ROOSEVELT AVE
CHARLESTON, WV 25304                                P‐0001421 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESTES, ERICA A.
15925 NORTHWIND CIR
NORTHPORT, AL 35475                                 P‐0001422 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYSE, GERALD R.
1111 CENTRAL PARK BOULEVARD N
GREENWOOD, IN 46143                                 P‐0001423 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICHARD, PAM
P.O. BOX 2433
TOLUCA LAKE, CA 91610                               P‐0001424 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BATES, WENDY M.
3431 NW 54TH TERRACE
GAINESVILLE, FL 32606                               P‐0001425 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WEBB, DAWN D.
6629 ROOSEVELT AVE
CHARLESTON, WV 25304                                P‐0001426 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, SARA
11932 SW 210TH TERRACE
MIAMI, FL 33177                                     P‐0001427 10/21/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
MARTINEZ, SARA
11932 SW 20TH TERRACE
MIAMI, FL 33177                                     P‐0001428 10/21/2017    TK Holdings Inc., et al .                    $3,200.00                                                                                    $3,200.00
DA, PAMELA S.
5300 NE 24 TERRACE
312C
FORT LAUDERDALE, FL 33308                           P‐0001429 10/21/2017    TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00
HONAKER, MARK O.
807 OLD ROUTE 38
FAYETTEVILLE, WV 25840                              P‐0001430 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NG, BENJAMIN W.
1254 HAZEL GREEN DRIVE
FRISCO, TX 75033                                    P‐0001431 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANOR, JOSEPH W.
MANOR, COLLEEN C.
3241 BRADS WAY
MIDLOTHIAN, TX 76065                                P‐0001432 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULVER, VICTOR
P.O. BOX 155
BURNET, TX 78611                                    P‐0001433 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
METZ, CORA A.
168 SPENCER STREET
MARION, OH 43302                                    P‐0001434 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRISON, VIRGINIA J.
132 HAMPSTEAD AVE.
SAVANNAH, GA 31405                                  P‐0001435 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWFORD, LINDA K.
166 WILLOW TREE WAY APT 101
HURRICANE, WV 25526                                 P‐0001436 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIANO, KAREN R.
160 HILLANDALE DR
TROUTVILLE, VA 24175                                P‐0001437 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, XIAOFENG
312 LENA CIRCLE
CHAPEL HILL, NC 27516                               P‐0001438 10/21/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BOOKBINDER, MAXINE K.
10653 KENRIDGE DRIVE
BLUE ASH, OH 45242                                  P‐0001439 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BODA, JOSEPH P.
2923 THOUSAND OAKS DR.
ANNA, TX 75409                                      P‐0001440 10/21/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
ABDELAZIZ, CRISTI
105 BECHTLER LOOP #106
MOORESVILLE, NC 28117                               P‐0001441 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUIZ, CHRISTOPHER A.
3625 UP RIVER RD #20
CORPUS CHRISTI, TX 78408                            P‐0001442 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMOUREUX, GARY S.
725 SW TULIP BLVD
PORT ST LUCIE, FL 34953                             P‐0001443 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
ZHANG, XIAOFENG
312 LENA CIRCLE
CHAPEL HILL, NC 27516                               P‐0001444 10/21/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
NORRIS, JAMES
2442 CARDINAL LN.
GARLAND, TX 75042                                   P‐0001445 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, TONYA M.
20840 STUBBS RD LAURINBURG NC
LAURINBURG                                          P‐0001446 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LI, FANG
2647 PARAMOUNT CIRCLE
CARMEL, IN 46074                                    P‐0001447 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTENSEN, KARA L.
5712 WOODMAN AVE.
#4
VAN NUYS, CA 91401                                  P‐0001448 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIGINO, ALBERTO R.
4015 BRAESGATE LN
TAMPA, FL 33624                                     P‐0001449 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONG, XUEQIAN
2647 PARAMOUNT CIRCLE
CARMEL, IN 46074                                    P‐0001450 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, YOELKISS
14683 SW 172ND ST
MIAMI, FL 33177                                     P‐0001451 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REID, ANNA B.
REID, ANNA B.
1400 WILLOW AVE
APT 801
LOUISVILLE, KY 40204‐1460                           P‐0001452 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODE, JEFFREY O.
11300 EXPO BLVD #2405
SAN ANTONIO, TX 78230                               P‐0001453 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAY, DAVEY
198 BILLYVILLE RD
WOODBINE, GA 31569                                  P‐0001454 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCANNELL, GARY
916 PENNSYLVANIA DR.
SAGINAW, TX 76131                                   P‐0001455 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYAN, JOHN E.
RYAN, ELAINE H.
3060 LEVANTO DR.
MELBOURNE, FL 32940                                 P‐0001456 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLIS, CHARLES J.
230 WYOMING DR CONCORD NC
CONCORD, NC 28027                                   P‐0001457 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGRAWAL, ABHINAV
5400 PARK ST N
APT 405
ST. PETERSBURG, FL 33709                            P‐0001458 10/21/2017    TK Holdings Inc., et al .                    $8,589.08                                                                                    $8,589.08
SCANNELL, GARY G.
916 PENNSYLVANIA DR.
SAGINAW, TX 76131                                   P‐0001459 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LLOYD, WANDA S.
202 LEE BLVD
SAVANNAH, GA 31405                                  P‐0001460 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
SULLIVAN, CHREE D.
7225CRANE AVE
#15
JACKSONVILLE, FL 32216                             P‐0001461 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROUCH, JAMES K.
13441 SHAW ROAD
ATHENS, AL 35611                                   P‐0001462 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, JEREMY R.
236 WHEELOCK ROAD
JONESBOROUGH, TN 37659                             P‐0001463 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIMINA, MARINA
1250 DEL LILLY LANE
LAS VEGAS, NV 89123                                P‐0001464 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAPES, HAROLD
705 WOODCREEK DR
MIDLOTHIAN, TX 76065                               P‐0001465 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWANIC, CHRIS A.
1250 DEL LILLY LANE
LAS VEGAS, NV 89123                                P‐0001466 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, ELIZABETH
1205 HUNTINGTON TRAIL
ROUND ROCK, TX 78664                               P‐0001467 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, MARIETTA
415 DAKAR
HENDERSON, NV 89015                                P‐0001468 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, TOM
1205 HUNTINGTON TRAIL
ROUND ROCK, TX 78664                               P‐0001469 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARLEY, PAUL T.
PAUL FARLEY
16232 STATE ROUTE 550
AMESVILLE, OH 45711                                P‐0001470 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVILES, EDNA R.
14751 SEATTLE SLEW PLACE
ORLANDO, FL 32826                                  P‐0001471 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANEY, MICHAEL D.
1104 S.W. 129TH STREET
OKLAHOMA CITY, OK 73170                            P‐0001472 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SATRIALE, ARTHUR A.
459 BLUE DRAGONFLY DR
CHARLESTON, SC 29414                               P‐0001473 10/21/2017    TK Holdings Inc., et al .                    $3,545.00                                                                                    $3,545.00
TOUPIN, ROBERT S.
1371 ROSE CREEK CT
LEBANON, OH 45036                                  P‐0001474 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIM, ETHAN K.
2102 CASTLEBURG DR
APEX, NC 27523                                     P‐0001475 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFMAN, KRISTINA W.
1225 NW 21ST ST.
APT. 1012
STUART, FL 34994                                   P‐0001476 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUZ, CHRISTINA
27074 HIDAWAY AVE UNIT 4
CANYON COUNTRY, CA 91351                           P‐0001477 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
DANNER, JAMES P.
5713 MARIPOSA DR
MCKINNEY, TX 75070                                   P‐0001478 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, RUTH
1211 19TH AVE SW
DECATUR, AL 35601                                    P‐0001479 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEIDA, ELVIN
2202 MARGARET LANE
KINGSVILLE, TX 78363                                 P‐0001480 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISHOP, JAMES M.
7331 FARMBROOK PLACE
THOMASVILLE, NC 27360                                P‐0001481 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENDEZ, VICTOR
LOPEZ, YOLANDA
10211 OASIS PALM DR.
TAMPA, FL 33615                                      P‐0001482 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCHMILLER, KRISTINA N.
1619 S TERRY ST
ROCKPORT, TX 78382                                   P‐0001483 10/21/2017    TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
KISHORE, NANDA
8200 BENT TREE SPRINGS DR
PLANO, TX 75025                                      P‐0001484 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALLINS, NICOLE
DRIVE TIME/ BRIDGECREST FINAN
3400 CRAIG DR
APT 1937
MCKINNEY, TX 75070                                   P‐0001485 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GASS, JEFFREY B.
GASS, MELISSA R.
14828 JOCKEY'S RIDGE DR.
CHARLOTTE, NC 28277                                  P‐0001486 10/21/2017    TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
BUCKLEY, MICHELLE M.
1209 GREENCOVE DR.
GARLAND, TX 75040                                    P‐0001487 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOICE, SHANDALYN D.
4004 W. PIONEER DR. #132
IRVING, TX 75061                                     P‐0001488 10/21/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, PANKAJ V.
PATEL, JYOTSNA P.
1001 PLEASING PLATEAU STREET
HENDERSON, NV 89002                                  P‐0001489 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIDAL, SARA
1936 W. 74TH STREET
INDIANAPOLIS, IN 46260                               P‐0001490 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COUSLER, CASSANDRA M.
COUSLER, MARISSA D.
5802 TATTERSALL DR
APT 28
DURHAM, NC 27713                                     P‐0001491 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTMOSES, KAROL D.
116 SAINT MARYS DRIVE
HUTTO, TX 78634‐5289                                 P‐0001492 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, MARY K.
324 N. EIGHTH ST.
UPPER SANDUSKY, OH 43351                             P‐0001493 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
REAL Y VASQUEZ, ALICIA
8400 BOWERS AVE
EL PASO, TX 79907                                     P‐0001494 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEJESUS, LUIS A.
1120 HIDDEN COVE CIRCLE SOUTH
JACKSONVILLE, FL 32233                                P‐0001495 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, PANKAJ V.
PATEL, JYOTSNA P.
1001 PLEASING PLATEAU STREET
HENDERSON, NV 89002                                   P‐0001496 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, KEITH D.
4220 LAS VEGAS BLVD. N.
APT. 219
LAS VEGAS, NV 89115                                   P‐0001497 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, LUISA E.
GIOL, ADOLFO
NISSAN
17726 MORNINGHIGH DR LTZ FL 3
                                                      P‐0001498 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, BINITA O.
2352 SW BAYSHORE BLVD.
PORT SAINT LUCIE, FL 34984                            P‐0001499 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, KEITH D.
NO ADDRESS PROVIDED
                                                      P‐0001500 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOWNSEND‐RILEY, CYNTHIA G.
4713 SILVER WOOD CT
TEMPLE, TX 76502                                      P‐0001501 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANDIFER, STEPHEN M.
413 GLENNWOOD RD SW
DECATUR, AL 35601                                     P‐0001502 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOOKER, DAMIEN BOOK J.
1500 FREESTONE DR
PFLUGERVILLE, TX 78660                                P‐0001503 10/22/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
CABELLO, ARTHURO R.
CABELLO, ARTHURO
1321 W FOGG ST
FORT WORTH                                            P‐0001504 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCRAY, LATANYA N.
4808 AMOS STREET
JACKSONVILLE, FL 32209                                P‐0001505 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEININGER, CARL A.
3125 CARMIE DR
EDGEWTER
, FL 32132                                            P‐0001506 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAYNAK, SUSAN
167 BLACK MOUNTAIN DR
FORT MILL, SC 29708                                   P‐0001507 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, KENNETH A.
313 ARROWHEAD ST
FORT WORTH, TX 76108                                  P‐0001508 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHARLES, JOSUE
3612 TARPON DRIVE
ORLANDO, FL 32810                                     P‐0001509 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
COUGHLIN, EILEEN C.
2008 LEE ST
CLAYTON, NC 27520                                     P‐0001510 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, KENNETH A.
313 ARROWHEAD ST
FORT WORTH, TX 76108                                  P‐0001511 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, KEN
313 ARROWHEAD ST
FORT WORTH, TX 76108                                  P‐0001512 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TODD, BRADLEY R.
17465 LITTLE EAGLE CREEK AVE.
WESTFIELD, IN 46074                                   P‐0001513 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, KENNETH
313 ARROWHEAD ST
FORT WORTH, TX 76108                                  P‐0001514 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, KENNETH A.
313 ARROWHEAD ST
FORT WORTH, TX 76108                                  P‐0001515 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, KEN
313 ARROWHEAD ST
FORT WORTH, TX 76108                                  P‐0001516 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARBUS, ROBERT S.
14701 OXFORD HILL CT
LOUISVILLE, KY 40245                                  P‐0001517 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNIZLEY, KIMBERLY
1601 NW 98TH STREET
GAINESVILLE, FL 32606                                 P‐0001518 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NANCE, STEPHEN W.
1621 VALLEY RUN
DURHAM, NC 27707                                      P‐0001519 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUJIMOTO, MASAMI
2896 TENNIS CLUB DR APT 704
WEST PALM BEACH, FL 33417                             P‐0001520 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEBEL, LEIGH A.
109 PERRY DRIVE
SUMMERVILLE, SC 29483                                 P‐0001521 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSON, STEVEN M.
8320 LOWER PERSE CIR
ORLANDO, FL 32827                                     P‐0001522 10/22/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MORAN, MARY K.
3970 HENDRICKSON ROAD
FRANKLIN, OH 45005                                    P‐0001523 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PFENDER, GEORGE J.
27226 NOSTALGIA DRIVE
LEESBURG, FL 34748                                    P‐0001524 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, NEYSA T.
1301 NAHAW AVENUE
SEBRING, FL 33870                                     P‐0001525 10/22/2017    TK Holdings Inc., et al .                       $45.10                                                                                       $45.10
SIMPKINS, LINDA S.
11905 SE 178TH STREET
SUMMERFIELD, FL 34491                                 P‐0001526 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARNES, CARISSA A.
194 TANNERS RUN
BLUFFTON, SC 29910‐4406                               P‐0001527 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SANTANA, CARLOS J.
SANTANA, CARRIE C.
19196 CLOISTER LAKE LN
BOCA RATON, FL 33498                                 P‐0001528 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEGER, DUANE E.
606 CASTLEBERRY CT
ST JOHNS, FL 32259                                   P‐0001529 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAUNDERS, KRISTINE W.
10004 WYNALDA WAY
RALEIGH, NC                                          P‐0001530 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, JASON L.
3050 STATE ROAD 64 EAST
ZOLFO SPRINGS, FL 33890                              P‐0001531 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOLLMER, JESSICA M.
7277 SADDLEWOOD DRIVE
WESTERVILLE, OH 43082                                P‐0001532 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, JOHNNY C.
511 DEMING DEL SOL DRIVE
DEMING, NM 88030‐8624                                P‐0001533 10/22/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
LONG, WOODROW S.
2915 OLD WHIGHAM RD
BAINBRIDGE, GA 39817                                 P‐0001534 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, DOUGLAS
CHEN, DOUGLAS
423 OAKMONT LANE
WAXHAW, NC 28173                                     P‐0001535 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONG, WOODROW S.
2915 OLD WHIGHAM RD
BAINBRIDGE, GA 39817                                 P‐0001536 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, JOAN M.
3525 WILD EAGLE RUN
OVIEDO, FL 32766                                     P‐0001537 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MC COY, THERESA M.
NO ADDRESS PROVIDED
                                                     P‐0001538 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKE, CAMILLE F.
71 ANN LEE LANE
TAMARAC, FL 33319                                    P‐0001539 10/22/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
ARNETTE, LUTHER G.
302 AMBERJACK WAY
SUMMERVILLE, SC SC                                   P‐0001540 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANRAHAN, CYNTHIA L.
HANRAHAN, PATRICK R.
1213 SE 31ST ST
CAPE CORAL, FL 33904                                 P‐0001541 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIGNOR (SEWELL), VIRGINIA
697 PRICE HOLLOW RD
ELKVIEW, WV                                          P‐0001542 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATRICK, CHARLES G.
418 GARLAND DR.
APT. 235
LAKE JACKSON, TX 77566                               P‐0001543 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOCOM, F ROBERT
12960 TOWNSHIP ROAD 8 NE
CROOKSVILLE, OH 43731                                P‐0001544 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                           Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                    Amount
SWEENEY III, RAYMOND J.
15211 HINDSIGHT COURT
CARY, NC 27519                                      P‐0001545 10/22/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
PATRICK, CHARLES G.
418 GARLAND DR.
APT. 235
LAKE JACKSON, TX 77566                              P‐0001546 10/22/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
KEARNEY, BEATRICE IHUAKU
7414 FOREST EDGE
LIVE OAK, TX 78233                                  P‐0001547 10/22/2017    TK Holdings Inc., et al .                      $5,000.00                                                                                    $5,000.00
HARVEY, MARC F.
815 SLEEPY MOON AVE.
HENDERSON, NV 89012                                 P‐0001548 10/22/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
PATRICK, CHARLES G.
418 GARLAND DR.
APT. 235
LAKE JACKSON, TX 77566                              P‐0001549 10/22/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
PETTWAY, DERRICK L.
1006 FREEMONT ST SW
DECATUR, AL 35601                                   P‐0001550 10/22/2017    TK Holdings Inc., et al .                 $90,666,666.07                                                                               $90,666,666.07
PATRICK, CHARLES G.
418 GARLAND DR.
APT. 235
LAKE JACKSON, TX 77566                              P‐0001551 10/22/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
MATTURRO, WILLIAM P.
3603 24TH AVE. W.
BRADENTON, FL 34205                                 P‐0001552 10/22/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
CERDA, DELIA
418 GARLAND DR.
APT. 235
LAKE JACKSON, TX 77566                              P‐0001553 10/22/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
HANSON, STEVEN M.
8320 LOWER PERSE CIR
ORLANDO, FL 32827                                   P‐0001554 10/22/2017    TK Holdings Inc., et al .                    $10,000.00                                                                                    $10,000.00
APPLEBY, JENNIFER
APPLEBY, KENNETH
317 EVENING STAR DRIVE
APEX, NC 27502                                      P‐0001555 10/22/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
NEUBERG, LINDA M.
4454 INDIAN DEER ROAD
WINDERMERE, FL 34786                                P‐0001556 10/22/2017    TK Holdings Inc., et al .                       $200.00                                                                                       $200.00
MONTANEZ, JAMES
416 PAISLEY PL
ST. JOHNS, FL 32259                                 P‐0001557 10/22/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
VITALE, VICTOR M.
11485 SW MEDOWLARK CIR
STUART, FL 34997                                    P‐0001558 10/22/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
ES, STANLEY A.
4535 W. BEACHWAY DR.
TAMPA, FL 33609                                     P‐0001559 10/22/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
HOLTZEN, CURTIS B.
590 STERNBRIDGE DR
CONCORD, NC 28025                                   P‐0001560 10/22/2017    TK Holdings Inc., et al .                         $0.00                                                                                         $0.00




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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
PATRICK, CHARLES G.
418 GARLAND DR.
APT. 235
LAKE JACKSON, TX 77566                               P‐0001561 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, FEDERICA L.
3072 PINENUT DRIVE
APOPKA, FL 32712                                     P‐0001562 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JANSON, MARK A.
JANSON, PAMALA S.
2657 BAYHILL CT
CINCINNATI, OH 45233                                 P‐0001563 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATRICK, CHARLES G.
418 GARLAND DR.
APT. 235
LAKE JACKSON, TX 77566                               P‐0001564 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHIAS, RONALD
550 NW 100TH TER
MIAMI, FL 33150‐1415                                 P‐0001565 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEUBERG, LINDA M.
4454 INDIAN DEER ROAD
WINDERMERE, FL 347876                                P‐0001566 10/22/2017    TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
VANHOOSE, CHRISTOPHER L.
3441 HIGHWAY 32
LOUISA, KY 41230                                     P‐0001567 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LASCHANZKY, KATHRYN A.
11042 73RD DR
LIVE OAK, FL 32060                                   P‐0001568 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, CHARITY D.
404 BATTEN CT
LEXINGTON, SC 29072                                  P‐0001569 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLOMON, JAMES W.
2217 KINGSDALE DR
DEER PARK, TX 77536                                  P‐0001570 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTHBERG, DANIEL A.
NO ADDRESS PROVIDED
                                                     P‐0001571 10/22/2017    TK Holdings Inc., et al .                    $1,800.00                                                                                    $1,800.00
WRIGHT, KENNETH C.
819 CYPRESS POINT CIRCLE
BOWIE, MD 20721                                      P‐0001572 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESTRADA, LUCIA
1401 W 29TH STREET LOT D77
HIALEAH, FL 33012‐5503                               P‐0001573 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWANSON, LEANN
322 BUCKLAND TRACE
LOUISVILLE, KY 40245                                 P‐0001574 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILUGLIO, LOUIS A.
DILUGLIO, VIOLA V.
356 GOLFVIEW RD APT # 209
NORTH PALM BEACH, FL 33408                           P‐0001575 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY, REGINALD L.
240 LAKE FOREST SOUTH DRIVE
KINGSLAND, GA 31548                                  P‐0001576 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTTON, KAREN L.
865 HIGHPOINT DR
SPRINGBORO, OH 45066                                 P‐0001577 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
AYDLETTE III, DERWOOD L.
100 TRENTWOOD DR
COLUMBIA, SC 29223                                   P‐0001578 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LESTER, MICHELLE D.
5404 LAGGAN DRIVE
MCLEANSVILLE, NC 27301                               P‐0001579 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE LA GARZA, JESUS M.
1951 GREENBRIER CIRCLE
BLACKSBURG, VA 24060                                 P‐0001580 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY, REGINALD L.
240 LAKE FOREST SOUTH DRIVE
KINGSLAND, GA 31548                                  P‐0001581 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, KENNETH D.
16730 DAVID GLEN DR
FRIENDSWOOD
, TX 77546                                           P‐0001582 10/22/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
SHOPE, JAMES R.
SHOPE, BARBARA N.
109 FALCON CREST RD
LUGOFF, SC 29078                                     P‐0001583 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY, REGINALD L.
240 LAKE FOREST SOUTH DRIVE
KINGSLAND, GA 31548                                  P‐0001584 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE VINCENZO, MASSIMILIAN
15332 SW 171 ST.
MIAMI, FL 33187                                      P‐0001585 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHAEL, LISA P.
8014 FRESCA STREET
JACKSONVILLE, FL 32217                               P‐0001586 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAN, MAYKAN E.
106 HALF MOON CIR.
APT F3
HYPOLUXO, FL 33462                                   P‐0001587 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLIS, EDWARD E.
13185 THORNHILL RUN
FISHERS, IN 46038                                    P‐0001588 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS‐GIBSON, SHARON Y.
GIBSON, NORMAN
12165 BROOKWAY DRIVE
CINCINNATI, OH 45240                                 P‐0001589 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERKINS, RICHARD H.
13572 TROIA DRIVE
ESTERO, FL 33928‐7304                                P‐0001590 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFITHS, JULIE C.
951 ENCLAIR STREET
ORLANDO, FL 32828                                    P‐0001591 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLIS, EDWARD E.
13185 THORNHILL RUN
FISHERS, IN 46038                                    P‐0001592 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURLEY, TIMOTHY L.
HYATTE, GLENN F.
280 RIVERSIDE RD., APT 11D
MESQUITE, NV 89027                                   P‐0001593 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
RIPPS, WILLIAM M.
RIPPS, LINDA J.
19441 SW 101ST PLACE ROAD
DUNNELLON, FL 34432                                 P‐0001594 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOROL, IHOR
7123 THRUSH VIEW LN
APT 28
SAN ANTONIO, TX                                     P‐0001595 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, MICHAEL F.
804‐A EISENHOWER DR
KEY WEST, FL 33040                                  P‐0001596 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADLEY, MARCIA
4286 VIREO AVE
#2
BRONX, NY 10470                                     P‐0001597 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AYDLETTE III, DERWOOD L.
100 TRENTWOOD DR
COLUMBIA, SC 29223                                  P‐0001598 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, ARNULFO T.
1511 EICHEN RD.
NEW BRAUNFELS, TX 78130                             P‐0001599 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWELL, PETER
8750 BELLE AIRE DR
BOCA RATON, FL 33433                                P‐0001600 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADLEY, MARCIA
4286 VIREO AVE
#2
BRONX, NY 10470                                     P‐0001601 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ULAND, DAVID M.
208 WICKLOW DRIVE
GRANVILLE, OH 43023                                 P‐0001602 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRCHHOFF, PATRICK T.
2267 RENTON LN
SPRING HILL, FL 34609                               P‐0001603 10/22/2017    TK Holdings Inc., et al .                     $470.00                                                                                       $470.00
DAMPIER, RONALD L.
8003 PACIFIC AVE.
FORT PIERCE, FL 34951                               P‐0001604 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IYER, VIPIN V.
1314 OLD HERITAGE PL
GREENWOOD, IN 46143                                 P‐0001605 10/22/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
ELINSON, STEVEN
ELINSON, STACIE
1069 HILLSBORO MILE
#806
HILLSBORO BEACH, FL 33062                           P‐0001606 10/22/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
WYNN, EVELYN
206 WILSON AVENUE
FITZGERALD, GA 31750                                P‐0001607 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDLEY, CHRIS
2 HYTHE RETREAT
POOLER, GA 31322                                    P‐0001608 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOEHLE, WILLIAM D.
1765 RISING OAKS DRIVE
JACKSONVILLE, FL 32223                              P‐0001609 10/22/2017    TK Holdings Inc., et al .                    $1,200.00                                                                                    $1,200.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
DAFFERN, DUSTIN W.
1903 FRIENDLY AV
MOUNT PLEASANT, TX 75455‐4728                       P‐0001610 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATRICK, CHARLES G.
418 GARLAND DR.
APT. 235
LAKE JACKSON, TX 77566                              P‐0001611 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATRICK, CHARLES G.
418 GARLAND DR.
APT. 235
LAKE JACKSON, TX 77566                              P‐0001612 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUSIC, HONEY J.
735 WEATHERGREEN DR.
RALEIGH, NC 27615‐3224                              P‐0001613 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAUTIN, ANGELA M.
21219 LAGO CIRCLE H
BOCA RATON, FL 33433                                P‐0001614 10/22/2017    TK Holdings Inc., et al .                    $1,064.00                                                                                    $1,064.00
HAIEK, NORKA
540 BRICKELL KEY DR APT 403
MIAMI, FL 33131                                     P‐0001615 10/22/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
RAYAN, PAMELA
4613 SHARPECROFT WAY
HOLLY SPRINGS, NC 27540                             P‐0001616 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLICOMBE, LYNDA M.
FLORES, MICHAEL
3609 WILLOW CREEK TRAIL
MCKINNEY, TX 75071                                  P‐0001617 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEDERSEN, FRED L.
280 S VERNON AVE
SAN JACINTO, CA 92583‐3644                          P‐0001618 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DI NATALE, MARIA
DI NATALE, LUIGI
2430 FALCON LANE
PALM HARBOR, FL 34683                               P‐0001619 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELKNAP, WILLIAM
BELKNAP, DONNA
6440 WILDHAVEN WAY
CINCINNATI, OH 45230                                P‐0001620 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEINMANN, RUSSELL
STEINMANN, CAROLE
3930 GOLONDRINA CT
LAS CRUCES, NM 88012                                P‐0001621 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUSIC, HONEY J.
735 WEATHRGREEN DR.
RALEIGH, NC 28615                                   P‐0001622 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, LINDA L.
GREEN, ALLEN W.
1351 ELIZABETHTON HWY
BLUFF CITY, TN 37618                                P‐0001623 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOKERLY, NICHOLAS D.
217 ROSEBERY LN
INDIANAPOLIS, IN 46214                              P‐0001624 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORALES, MARIA A.
MORALES, RAMIRO R.
11491 TURNSTONE DRIVE
WELLINGTON, FL 33414                                P‐0001625 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LAUTIN, ANGELA M.
21219 LAGO CIRCLE H
BOCA RATON, FL 33433                                 P‐0001626 10/22/2017    TK Holdings Inc., et al .                     $726.00                                                                                       $726.00
BEHNKE, ANNELIES
105 LEMON RD NE
LAKE PLACID, FL 33852‐6093                           P‐0001627 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOKERLY, NICHOLAS D.
217 ROSEBERY LN
INDIANAPOLIS, IN 46214                               P‐0001628 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAIMONDO, JENNIFER V.
RAIMONDO, RICHARD L.
722 VIRGIN OAK
SAN ANTONIO, TX                                      P‐0001629 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MESCO, EDWARD C.
7365 NW 54TH STREET
LAUDERHILL, FL 33319                                 P‐0001630 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARALSON, WILLIAM A.
715 NE 70TH ST
MIAMI, FL 33138                                      P‐0001631 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWFORD, DOUGLAS E.
4113 AUMBREY COURT
NEW ALBANY, OH 43054                                 P‐0001632 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUDGE, KIMBERLY R.
322 PIKES BLUFF DRIVE
ST SIMONS ISLAND, GA 31522                           P‐0001633 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPRUILL, DOROTHY
SPRUILL III, FRANK
1109 HERBERT DRIVE
ZEBULON, NC 27597                                    P‐0001634 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGES PIN, MARGARITA
PIN, DELFIN E.
ALLEY AUTO
PRESIDIO DRIVE
WESTON, FL 33327                                     P‐0001635 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUDGE, KIMBERLY R.
322 PIKES BLUFF DRIVE
ST SIMONS ISLAND, GA 31522                           P‐0001636 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSHALL, JACK K.
MARSHALL, JACK
4100 W.ELDORADO PKWY
STE. 100, #422
MCKINNEY, TX 75070                                   P‐0001637 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY, SHANDA N.
240 LAKE FOREST SOUTH DRIVE
KINGSLAND, GA 31548                                  P‐0001638 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RATLIFF, DAVID P.
150 BEACH SUMMIT CT.
JUPITER, FL 33477                                    P‐0001639 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, MARK A.
1034 GARDEN RD.
COLUMBUS, OH 43224                                   P‐0001640 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCOY, BILLY D.
4681 RALEIGH ST
APT 1
ORLANDO, FL 32811                                    P‐0001641 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                Current General                                         Current 503(b)(9)
                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
MEDER, ADAM
418 SUMMERWIND PLANTATION DR
GARNER, NC 27529                                  P‐0001642 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENTRICAN, ROBERT A.
1700 PARKRIDGE PKWY
LOUISVILLE, KY 40214                              P‐0001643 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, MARK A.
LEWIS, LEAH R.
4001 BROWNWOOD LN
NORMAN, OK 73072                                  P‐0001644 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY, REGINALD L.
240 LAKE FOREST SOUTH DRIVE
KINGSLAND, GA 31548                               P‐0001645 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, THOMAS W.
5536 SPENCE PLANTATION LANE
HOLLY SPRINGS, NC 27540                           P‐0001646 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOWBIGGIN, TOM
22 TURNBRIDGE DR
HILTON HEAD, SC 29928                             P‐0001647 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTTON, JESSICA L.
4772 ALPINE AVE
BLUE ASH, OH 45242                                P‐0001648 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTER, RONALD V.
5715 VALLEY MEADOW DR
ARLINGTON, TX 76016                               P‐0001649 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVER, HERB A.
17215 BERMUDA VILLAGE DR
BOCA RATON, FL 33487                              P‐0001650 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AYDLETTE, DERWOOD L.
100 TRENTWOOD DR
COLUMBIA, SC 29223                                P‐0001651 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOWBIGGIN, TOM
22 TURNBRIDGE DR
HILTON HEAD, SC 29928                             P‐0001652 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY, REGINALD L.
240 LAKE FOREST SOUTH DRIVE
KINGSLAND, GA 31548                               P‐0001653 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAWELEK, LETICIA R.
1508 ALTA VISTA ST.
ALICE, TX 78332                                   P‐0001654 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFITHS, JULIE C.
951 ENCLAIR STREET
ORLANDO, FL 32828                                 P‐0001655 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AYDLETTE III, DERWOOD L.
100 TRENTWOOD DR
COLUMBIA, SC 29223                                P‐0001656 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS‐GIBSON, SHARON Y.
GIBSON, NORMAN E.
12165 BROOKWAY DRIVE
CINCINNATI, OH 45240                              P‐0001657 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUVALL, DAVID L.
901 NAVAJO TRL
FLATWOODS, KY 41139                               P‐0001658 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULP, JAMES L.
7615 WELCH LAKE DRIVE
MOORESVILLE, IN 46158                             P‐0001659 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GARLAND, EDWIN W.
5046 DIAMOND MINE RD
LAS CRUCES, NM 88011                                 P‐0001660 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEMING, BRUCE A.
13019 TRADD ST
CARMEL, IN 46032                                     P‐0001661 10/22/2017    TK Holdings Inc., et al .                       $12.00                                                                                       $12.00
HARDIN, BOBBY D.
HARDIN, DENISE J.
1251 FRIENDSHIP RD
WEATHERFORD, TX 76085                                P‐0001662 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDONOUGH, PATRICK
BREWER, EMILY
103 RAVEN LN
CARRBORO, NC 27510                                   P‐0001663 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, LESLIE A.
453 W SHAKESPEARE DR
BEVERLY HILLS, FL 34465                              P‐0001664 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEDIK, MESUT
GEDIK, AYSEN
2664 CARAMBOLA CIR N
COCONUT CREEK, FL                                    P‐0001665 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURY, LAUREN
1301 BAYSHORE BLVD.
APT. L
TAMPA, FL 33606                                      P‐0001666 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITZPATRICK, WILLIAM J.
FITZPATRICK, MAUREEN L.
1938 SOUTHCREEK BLVD
PORT ORANGE, FL 32128                                P‐0001667 10/22/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HARRIS, LINDA G.
309 FERGUSON AVENUE
ELIZABETHTON, TN 37643                               P‐0001668 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERMEA, STEPHANIE K.
BERMEA, FRED Q.
3907 HALLIE AVENUE
SAN ANTONIO, TX 78210                                P‐0001669 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMITTA, KATHRYN J.
5801 TATTERSALL DR
APT 22
DURHAM, NC 27713‐9000                                P‐0001670 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRILL, ANN E.
881 MARTIN LUTHER KING JR BLV
APT 10A
CHAPEL HILL, NC 27514                                P‐0001671 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEPP, DEBORAH L.
HEPP, PAUL A.
4717 E GREENSBORO CH RD.
GRAHAM, NC 27253                                     P‐0001672 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA, DEBORAH L.
1932 HUMMINGBIRD CIRCLE
MIDDLETOWN, OH 45044                                 P‐0001673 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEDIK, MESUT
2664 CARAMBOLA CIR N
COCONUT CREEK, FL 33066‐2417                         P‐0001674 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MELNIK, ERICA
MELNIK, AVRAHAM
1482 DOAR PT
MYRTLE BEACH, SC 29577                              P‐0001675 10/22/2017    TK Holdings Inc., et al .                   $21,000.00                                                                                   $21,000.00
MCCARTY, DONALD R.
9903 SWEET BASIL DRIVE
WAKE FOREST, NC 27587                               P‐0001676 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLASS, WILLIAM J.
86 CHASTAIN CIRCLE
RICHMOND HILL, GA 31324                             P‐0001677 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SYMONDS, SHARON L.
36 CHIFFELLE ST.
BLUFFTON, SC                                        P‐0001678 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, ARNULFO T.
1511 EICHEN RD.
NEW BRAUNFELS, TX 78130                             P‐0001679 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTH, MICHAEL
7516 BENELUX COURT
PLANO, TX 75025                                     P‐0001680 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVERETT, CHRISTOPHER E.
19087 SW BARFIELD RD
BLOUNTSTOWN, FL 32424‐3901                          P‐0001681 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURHAM, ROBERT M.
DURHAM, JANE G.
7823 WORKMAN ST
FAYETTEVILLE, NC 28311                              P‐0001682 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHERWOOD, EDWARD
9072 MOONLIT MEADOWS LP
RIVERVIEW, FL 33578                                 P‐0001683 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLAS, WILLIAM J.
86 CHASTAIN CIRCLE
RICHMOND HILL, GA 31324                             P‐0001684 10/22/2017    TK Holdings Inc., et al .                     $824.10                                                                                       $824.10
NICOSIA, CRYSTAL G.
389 CYPRESS LANDING DR.
LONGWOOD, FL 32779                                  P‐0001685 10/22/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
SWAGEL, JAMES A.
SWAGEL, ROXANNA J.
627 GRASSY HILL RD
SUMMERVILLE, SC 29483                               P‐0001686 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEARSON, MARY K.
907 CONROY RD
BIRMINGHAM, AL 35222                                P‐0001687 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, ELIZABETH
3540 RED MINE LN
GRAND PRAIRIE, TX 75052                             P‐0001688 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALLOCK, ALLAN R.
458 STEPHANIE DR
LEXINGTON, NC 27295                                 P‐0001689 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARTAIN, JEFF S.
SARTAIN, JEFF S.
AMD
10021 BARBROOK DRIVE
AUSTIN, TX 78726                                    P‐0001690 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUMONT, JENNIFER
431 N SHORE DRIVE
OSPREY, FL 34229                                    P‐0001691 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PORTER, BRIAN E.
2379 BROWN BARK DRIVE
BEAVERCREEK, OH 45431                               P‐0001692 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOBLES, LATONYA
6160 RUMRILL STREET UNIT 212
LAS VEGAS, NV 89113                                 P‐0001693 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSHALL, CHRISTINA D.
12967 MEADOWOOD CT
FT MYERS, FL 33919                                  P‐0001694 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, LYNN E.
SONESEN, RONALD N.
8540 SW 90TH PLACE
UNIT F
OCALA, FL 34481                                     P‐0001695 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLINGENSCHMITT, MICHELLE L.
MICHELLE KLINGENSCHMITT
12502 LOQUAT WAY
TAMPA, FL 33626                                     P‐0001696 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAMEL, JAMES E.
TRAMEL, LINDA L.
44 CIRCLE DRIVE
DAYTONA BEACH, FL 32117‐1870                        P‐0001697 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FULLER JR, CHARLES T.
8940 SHADY BRANCH RD
MYRTLE BEACH, SC 29588                              P‐0001698 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARIBLE, SHENITA R.
9580 TURKEY HWY
TURKEY, NC 28393                                    P‐0001699 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, BARRY W.
MARTIN, CATHY L.
1416 PENLEY BLVD.
SALEM, VA 24153‐5980                                P‐0001700 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARLEY, JOHN G.
3814 MARATHON AVE.
CASTLE HAYNE, NC 28429                              P‐0001701 10/22/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
CLEWELL, THOMAS A.
CLEWELL, FRANCINE M.
4976 DOMAINE DRIVE
SPARKS, NV 89436                                    P‐0001702 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNICHOLAS, CHADD E.
408 GEYSER AVE
PFLUGERVIILE, TX 78660                              P‐0001703 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORA, JESSE R.
3321 ROBIN NEST CT.
LAS VEGAS, NV 89117                                 P‐0001704 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RILEY, JASON A.
521 MILKY WAY
GARLAND, TX 75040‐5137                              P‐0001705 10/22/2017    TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
GARLAND, EDWIN W.
5046 DIAMOND MINE RD
LAS CRUCES, NM 88011                                P‐0001706 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, KENNETH D.
TATUM, AMANDA E.
16730 DAVID GLEN DR
FRIENDSWOOD, TX 77546                               P‐0001707 10/22/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00


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                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
MARTINO, VIOLA R.
108 RYAN DRIVE
GOOSE CREEK, SC 29445                             P‐0001708 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOBLES, LATONYA
6160 RUMRILL STREET UNIT 212
LAS VEGAS, NV 89113                               P‐0001709 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELF, AMELIA
SELF III, TILMAN E.
6933 ZEBULON ROAD
MACON, GA 31220                                   P‐0001710 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANK, DENNIS J.
4341 HILLCREST DR
BELLBROOK, OH 45305                               P‐0001711 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHMACKER, MARILYN S.
1783 BRANTLEY DR
GULF BREEZE
, FL 32563‐9366                                   P‐0001712 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINKHAM, DOUGLAS E.
8317 FANTASIA PARK WAY
RIVERVIEW, FL 33578                               P‐0001713 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANK, DENNIS J.
FRANK, STEPHANIE E.
4341 HILLCREST DR
BELLBROOK, OH 45305                               P‐0001714 10/22/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
TIRADO, MARIA
814 MARGARET DRIVE
SEFFNER, FL 33584                                 P‐0001715 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRNE, GEORGE
BYRNE, JOANN
1036 GROUSE WAY
VENICE, FL 34285                                  P‐0001716 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ATWOOD, JOYCE A.
260 W. HARBORD ST.
LAKE ALFRED, FL 33850                             P‐0001717 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, ANTHONY
2614 CANTERBURY AVE
CINCINNATI, OH 45237                              P‐0001718 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINOR, DARLENE M.
301 GRATIS‐ENTERPRISE RD.
WEST ALEXANDRIA, OH 45381                         P‐0001719 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JERNIGAN, MONIQUE M.
205 W MONTGOMERY CROSSROADS
APT 1405
SAVANNAH, GA 31046                                P‐0001720 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOGAN, CLARE M.
4934 BORDEAUX LANE
MASON, OH 45040                                   P‐0001721 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITZPATRICK, MAUREEN L.
WILLIAM J.
1938 SOUTHCREEK BLVD
PORT ORANGE, FL 32128                             P‐0001722 10/22/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WILKINSON, STEVE W.
368 BUTLER LAKE RD
REIDSVILLE, NC 27320                              P‐0001723 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
TRAMMELL, TIMOTHY R.
5760 FLOWES STORE
CONCORD, NC 28025                                   P‐0001724 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHARRINGA, ANDREA
2333 BRICKELL AVENUE
APT 2217
MIAMI, FL 33129                                     P‐0001725 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARSEN, COLLEEN L.
4413 HELLS BELLS RD
CARSON CITY, NV 89701                               P‐0001726 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARDUS, JENNIFER K.
PARDUS, BENJAMIN W.
10605 BENT TWIG DRIVE
RALEIGH, NC 27613                                   P‐0001727 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIRPAK, MICHAEL D.
TIRPAK, BEVERLY C.
166 32ND AVENUE
VERO BEACH, FL 32968                                P‐0001728 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, MARK E.
ANDERSON, MICHELLE D.
2549 CORVUS ST.
HENDERSON, NV 89044                                 P‐0001729 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIELS, ELOISE M.
2912 LUKE DR 633
FORT WORTH, TX 76108                                P‐0001730 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY, WILLIAM L.
HARVEY, SHERYL L.
2925 ALKIRE RD
GROVE CITY, OH 43123                                P‐0001731 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAZER, LINDA J.
8246 LOCH SEAFORTH COURT
JACKSONVILLE, FL 32244                              P‐0001732 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAREDES, MARIO
2333 BRICKELL AVENUE
APT 2217
MIAMI, FL 33129                                     P‐0001733 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUNJALA, ANIL
PUNJALA, ANURADHA
200 LEACROFT WAY
MORRISVILLE, NC 27560                               P‐0001734 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIEVES, TRAVIS J.
12416 SANDRINGHAM PL
CHARLOTTE, NC 28262                                 P‐0001735 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADLER, LISA S.
LISA ADLER
24 VISTA DRIVE
GREAT NECK, NY 11021                                P‐0001736 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, WILLIS W.
4918 DETER ROAD
LAKELAND, FL 33813                                  P‐0001737 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REECE, MARIE D.
REECE, VICTOR R.
6101 S. SOLLA SOLLEW AVENUE
HEREFORD, AZ 85615‐9187                             P‐0001738 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PAREDES, MARIO
2333 BRICKELL AVENUE
APT. 2217
MIAMI, FL 33129                                     P‐0001739 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RACCINA, LORI S.
4124 RUNNING BEAR LN
SAINT JOHNS, FL 32259                               P‐0001740 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVLIN PRODUCTIVITY GROUP INC
1406 AKEN STREET
PORT CHARLOTTE, FL 33952                            P‐0001741 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, SUSAN
8830 FAISON HIGHWAY
FAISON,, NC 28341                                   P‐0001742 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANDRESS, JEROMY A.
LANDRESS, CYNTHIA R.
14929 220TH STREET
BLANCHARD, OK 73010                                 P‐0001743 10/22/2017    TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00
PERERA, YILLIAM
938 SW 147 CT
MIAMI, FL 33194                                     P‐0001744 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, TERRY L.
THOMAS, LYNETTE J.
108 NETTLES LANE
SUMMERVILLE, SC 29483‐4948                          P‐0001745 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUZAS, RONALD E.
BRUZAS, CANDIE L.
3012 MERRILL AVE
CLEARWATER, FL 33759                                P‐0001746 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOPINSKI, ADILIA A.
6506 TOKALON LN
ARLINGTON, TX 76002                                 P‐0001747 10/22/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
BERGMAN, JOHN H.
BERGMAN, LILLIAN E.
5128 S ANTELOPE DRIVE
FORT MOHAVE, AZ 86426                               P‐0001748 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, SHANNON D.
6906 ROSS DRIVE
PANAMA CITY, FL 32404                               P‐0001749 10/22/2017    TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
PERERA, YILLIAM
938 SW 147 CT
MIAMI, FL 33194                                     P‐0001750 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIDGES, LORRAINE
3003 RIVERWOOD LANE
GRAND PRAIRIE, TX 75052                             P‐0001751 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAFFORD, MARK A.
1708 LOUELLA CT
HURST, TX 76054                                     P‐0001752 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIELDS, MAUREEN E.
4020 TURNBERRY CT
JACKSONVILLE, FL 32225                              P‐0001753 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERERA, YILLIAM
938 SW 147 CT
MIAMI, FL 33194                                     P‐0001754 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
TAYLOR, JANET E.
2139 S. UNION GROVE ROAD
APT. 3
LEXINGTON                                            P‐0001755 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODUS, ROBIN
1914 HOMESTEAD STATION AVE
CHARLOTTE, NC 28210                                  P‐0001756 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERERA, AUGUSTO
938 SW 147 CT
MIAMI, FL 33194                                      P‐0001757 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOX, HEATHER
314 EDGEMORE AVE.
CARY, NC 27519                                       P‐0001758 10/22/2017    TK Holdings Inc., et al .                   $14,720.00                                                                                   $14,720.00
MCCOLLUM, SHAWN B.
804 CHALLENGER
LAKEWAY, TX 78734                                    P‐0001759 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERERA, AUGUSTO
938 SW 147 CT
MIAMI, FL 33194                                      P‐0001760 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, ASHISHKUMAR T.
1224 SAINT MONET DR
IRVING, TX 75038                                     P‐0001761 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARDEN, JANE R.
123 SMITHFIELD ROAD
SHELBYVILLE, KY 40065                                P‐0001762 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENTILE, DOUGLAS K.
9319 HANLIN COURT
CHARLOTTE, NC 28277                                  P‐0001763 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHIAVO, LOUISE
4073 WHISTLEWOOD CIRCLE
LAKELAND, FL 33811                                   P‐0001764 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THORNTON, JAMES N.
111 MALLARDDR
SAVANNAH, GA 31419                                   P‐0001765 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERN, JUSTIN M.
12477 N BOSCOMBE DRIVE
MARANA, AZ 85653                                     P‐0001766 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCOLLUM, SHAWN B.
804 CHALLENGER
LAKEWAY, TX 78734                                    P‐0001767 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENTILE, PAULA F.
9319 HANLIN COURT
CHARLOTTE, NC 28277                                  P‐0001768 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUDLEY, DERRON
NO ADDRESS PROVIDED
                                                     P‐0001769 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDFARB, HOWARD L.
GOLDFARB, DANA L.
4930 NW 15TH AVE
BOCA RATON, FL 33431                                 P‐0001770 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARR, GREGORY C.
2297 SULPHUR LICK RD
CHILLICOTHE, OH 45601                                P‐0001771 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CRUTCHFIELD, DANNY E.
CRUTCHFIELD, JUNE K.
P.O. BOX 195
SWORDS CREEK, VA 24649‐0195                         P‐0001772 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEAVER, MICAH N.
WEAVER, ELIZABETH A.
7523 BRAMBLEWOOD LANE
INDIANAPOLIS, IN 46254                              P‐0001773 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIEMANN, THOMAS C.
WIEMANN, OFELIA M.
3012 JACOB DR.
WYLIE, TX 75098                                     P‐0001774 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANCEL, TERESA L.
11120 RICHMOND ST
WEEKI WACHEE, FL 34614                              P‐0001775 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEIGH, ASHLEY R.
1504 AMBER DAY DRIVE
PFLUGERVILLE, TX 78660                              P‐0001776 10/22/2017    TK Holdings Inc., et al .                    $1,100.00                                                                                    $1,100.00
REID, TONI L.
5725 GARDENS DRIVE APT 203
SARASOTA, FL 34243                                  P‐0001777 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOZANO, ROSA T.
LOZANO, LUIS L.
2108 WISTERIA WAY
MCKINNEY, TX 75071‐2888                             P‐0001778 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARE, GEORGE A.
HARE, STEPHANIE E.
6719 70TH COURT E
BRADENTON, FL 34203‐7101                            P‐0001779 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKINLEY, CHANTA D.
1310 JOE WHEELER DR
TUSCUMBIA, AL 35674                                 P‐0001780 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMEZ, EDWIN R.
4294 TOWN SQ DR
CANAL WINCHESTER, OH 43110                          P‐0001781 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUST, PETER C.
1827 GREEN ASH
SAN ANTONIO, TX 78227                               P‐0001782 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAZZUTO, TERRI L.
1104 S MADISON AVE
GOLDSBORO, NC 27530                                 P‐0001783 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, CLARENCE B.
288 OUTRIGGER LN
COLUMBIA, SC 29212                                  P‐0001784 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEIGH, ASHLEY R.
1504 AMBER DAY DRIVE
PFLUGERVILLE, TX 78660                              P‐0001785 10/22/2017    TK Holdings Inc., et al .                     $800.00                                                                                       $800.00
GOMEZ, EDWIN R.
4294 TOWN SQ DR
CANAL WINCHESTER, OH 43110                          P‐0001786 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HATFIELD, GARY R.
6330 95TH ST E
BRADENTON, FL 34202                                 P‐0001787 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINSON, CAROLYN D.
832 DENT STREET
TALLAHASSEE, FL 32304                               P‐0001788 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
GOPINATH, POORNIMA
NO ADDRESS PROVIDED
                                                   P‐0001789 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINE, SUSAN
1101 TAZWELL PLACE
RALEIGH, NC 27612                                  P‐0001790 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HADLEY‐BANAHENE, SARA S.
3628 PEPPERVINE PLACE
WESLEY CHAPEL, FL 33544                            P‐0001791 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TILLMAN, JEFFREY C.
1709 WATERFORD LANDING DRIVE
FLEMING ISLAND, FL 32003                           P‐0001792 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEIGH, ASHLEY R.
1504 AMBER DAY DRIVE
PFLUGERVILLE, TX 78660                             P‐0001793 10/22/2017    TK Holdings Inc., et al .                    $1,800.00                                                                                    $1,800.00
NELSON, FRANK D.
2713 CALVIN AVE
DAYTON, OH 45414                                   P‐0001794 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILLIS, SHEA
4816 MONT BLANC DR
AUSTIN, TX 78738                                   P‐0001795 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEIGH, ASHLEY R.
1504 AMBER DAY DRIVE
PFLUGERVILLE, TX 78660                             P‐0001796 10/22/2017    TK Holdings Inc., et al .                    $3,200.00                                                                                    $3,200.00
FLIPPEN, PHILLIP J.
FLIPPEN, STACY L.
278 MAYA LN
RINGGOLD, VA 24586                                 P‐0001797 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, CHRASHONDA L.
1810 HUNTINGTON DR
BIRMINGHAM, AL 35214                               P‐0001798 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALAZAR, CINDY L.
2702 ALLENDALE ST
VICTORIA, TX 77901                                 P‐0001799 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DORR, CHARISSE R.
1271 AMHERST RD
PANAMA CITY, FL 32405                              P‐0001800 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, MALIA R.
1712 JACE DRIVE
MCKINNEY, TX 75071                                 P‐0001801 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAZEN, JONATHAN M.
HAZEN, SHANNON S.
2358 MAEVE CIR
WEST MELBOURNE, FL 32904                           P‐0001802 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, VERONICA M.
1007 BRISTOL LAKES RD.
APT. 205
MOUNT DORA, FL 32757                               P‐0001803 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWELL, CAITLIN R.
3708 W GRIFLOW ST
TAMPA, FL 33629                                    P‐0001804 10/22/2017    TK Holdings Inc., et al .                     $875.00                                                                                       $875.00
GILL, TASHA M.
3704 WEST COUNTY RD 350 NORTH
OSGOOD, IN 47037                                   P‐0001805 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
RHINOCK, NANCY M.
RHINOCK, JEFFREY J.
5530 SARAHS OAK DRIVE
CINCINNATI, OH 45248                               P‐0001806 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASIELLO, ANDREW
MASIELLO, LENAY A.
3435 CAL BOST ROAD
MIDLAND, NC 28107                                  P‐0001807 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, JAMES W.
BAKER, DARLENE A.
122 SUMMERS GREEN
GEORGETOWN, TX 78633                               P‐0001808 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REARDON, ELIZABETH Z.
1206 SE 14TH TERRACE
OCALA, FL 34471                                    P‐0001809 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYOROS, ALAN E.
1020 BROADSWORD BAY
GREENSBORO, GA 30642                               P‐0001810 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, LORETTA E.
1689 TRABUCO CANYON CT
KISSIMMEE, FL 34759‐6200                           P‐0001811 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUELLAR, CARMEN
P.O. BOX 621467
LAS VEGAS, NV 89162                                P‐0001812 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMGREN, DAVID N.
1131 CHESTNUT HILL DR.
APT 1
LYNCHBURG, VA 24502                                P‐0001813 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVENS, LORI J.
8170 CAPE ITO CT
LAS VEGAS, NV 89113                                P‐0001814 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINK, GALE D.
155 S HEIMAT RD
HARDIN, MT 59034                                   P‐0001815 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUPTA, ANKIT
2188 HEDGEROW ROAD UNIT B
COLUMBUS, OH 43220                                 P‐0001816 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, INGRID E.
2043 WESTFIELD AVE
RENO, NV                                           P‐0001817 10/22/2017    TK Holdings Inc., et al .                    $6,519.24                                                                                    $6,519.24
PADGETT II, BOBBY L.
PADGETT II, LORI D.
7152 MARLIN ST.
GASTONIA, NC 28056                                 P‐0001818 10/22/2017    TK Holdings Inc., et al .                    $1,225.00                                                                                    $1,225.00
BEHNEJAD, MITRA K.
641 ENCLAVE CIRCLE EAST
PEMBROKE PINES, FL 33027                           P‐0001819 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TONEY, TROY L.
2601 MCKINNEY RANCH PKWY
APT 3408
MCKINNEY, TX 75070                                 P‐0001820 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, KEITH A.
607 W FOURTH STREET
GREENVILLE, NC 27834                               P‐0001821 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WRIGHT, KELLI M.
524 RIVERVIEW DRIVE
BELMONT, WV 26134                                   P‐0001822 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMERON, ELIZABETH C.
COYNE, KEVIN F.
255 OAK VILLA DR
JESUP, GA 31546‐3673                                P‐0001823 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROW, ANDREW B.
1734 HIGHWAY 67 S
DECATUR, AL 35603                                   P‐0001824 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYNE, SCOTT M.
10848 70TH ROAD, APT 4J
FOREST HILLS, NY 11375                              P‐0001825 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARE, STEPHANIE E.
HARE, GEORGE A.
6719 70TH CT E
BRADENTON, FLORIDA 34203                            P‐0001826 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTANYE, RICHARD H.
MONTANYE, KIM C.
14657 FAIRCROFT DR.
TYLER, TX 75703                                     P‐0001827 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORTE, LISA C.
1806 W. 38TH ST.
AUSTIN, TX 78731                                    P‐0001828 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATTS, DAWN W.
10418 PLEASANT SPRING WAY
RIVERVIEW, FL 33578                                 P‐0001829 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIN, ZHONGJIE
1609 GUPTON CT
MATTHEWS, NC 28105                                  P‐0001830 10/22/2017    TK Holdings Inc., et al .                    $2,200.00                                                                                    $2,200.00
LIN, ZHONGJIE
1609 GUPTON CT
MATTHEWS, NC 28105                                  P‐0001831 10/22/2017    TK Holdings Inc., et al .                    $1,800.00                                                                                    $1,800.00
PLAZA, NANCY
984 SUMMIT LAKE DR
WEST PALM BEACH, FL 33406                           P‐0001832 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YEE, GEORGE K.
BULLOCK, TERESA A.
10060 CORBETT STREET
LAS VEGAS, NV 89149                                 P‐0001833 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, JIMMY D.
995 B.K. PICKERING DR.
TEXARKANA, TX 75501                                 P‐0001834 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLAZA, NANCY
984 SUMMIT LAKE DRIVE
WEST PALM BEACH, FL 33406                           P‐0001835 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINANS, ERIN N.
396LYNN DR
MARION, OH 43302                                    P‐0001836 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORTH, ERIC
2124 E 6TH UNIT 306
AUSTIN, TX 78702                                    P‐0001837 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KESTERSON, LESLIE A.
20614 STONE OAKY PARKWAY
APT 1821
SAN ANTONIO, TX 78258                               P‐0001838 10/22/2017    TK Holdings Inc., et al .                  $500,000.00                                                                                  $500,000.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
KNOWLES, ELAINE A.
KNOWLES, TERRENCE
4010 SW 30 TERRACE
GAINESVILLE, FL 32608                                P‐0001839 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAY, ROSEMARY G.
314 SOCIETY HILL CIRCLE
THE VILLAGES, FL 32162                               P‐0001840 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILTON, DOROTHY L.
1928 N.W. 5TH PLACE
MIAMI, FL 33136                                      P‐0001841 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRARIO, CARLOS M.
2040 DEER ISLAND LANE
WILMINGTON, NC 28405                                 P‐0001842 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TROXELL, KATHLEEN A.
325 S BISCAYNE BLVD APT 2017
MIAMI, FL 33131                                      P‐0001843 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, ALLAN W.
1716 MIRA VISTA
LEANDER, TX 78641                                    P‐0001844 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCONICO, JACQUES R.
1057 HUFFMAN ROAD
C
BIRMINGHAM, AL 35215                                 P‐0001845 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRAZIER, DAVID F.
FRAZIER, ANDREW P.
4055 CARLYLE LAKES BLVD
PALM HARBOR, FL 34685                                P‐0001846 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALAZAR, CINDY L.
2702 ALLENDALE ST
VICTORIA, TX 77901                                   P‐0001847 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNES, CASEY M.
15306 BAREBACK DRIVE
JACKSONVILLE, FL 32234                               P‐0001848 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKINNISS, TONY D.
4546 WILLOWBROOK DR.
SPRINGFIELD, OH 45503                                P‐0001849 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BULLOCK, TERESA A.
YEE, GEORGE K.
10060 CORBETT STREET
LAS VEGAS, NV 89149                                  P‐0001850 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNALL, LEONARD A.
9538 LINDEN TREE LA
CHARLOTTE, NC 28277                                  P‐0001851 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LALIK, CLAIRE E.
LALIK, CHRISTOPHER
907 ROYAL OAK LANE
BURLESON, TX 76028                                   P‐0001852 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRONENWETTER, PAUL J.
2830 WILLOW BAY TER
CASSELBERRY, FL 32707                                P‐0001853 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STALLARD, DAVID R.
106 PINE BARRENS CT
AUSTIN, TX 78738                                     P‐0001854 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COURY, JOANNE
422 WOLDUNN CIRCLE
LAKE MARY, FL 32746                                  P‐0001855 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
MYERS JR, DALE A.
9122 94TH ST N
LARGO, FL 33777                                    P‐0001856 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GODENICK, LISA R.
820 W. 1ST ST.,
RENO, NV 89503                                     P‐0001857 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHETH, ASHOKKUMAR N.
SHETH, SHILPA A.
15515 SEMINOLE CANYON
SUGAR LAND, TX 77498                               P‐0001858 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, KIMBERLY R.
LEE, JASON T.
1422 ASHLEY CREEK DRIVE
MATTHEWS, NC 28105                                 P‐0001859 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBSTER, GARY M.
182 MALLARD PT. DR.
AKRON, OH 44319                                    P‐0001860 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOX, DAWN H.
8129 CLUBSIDE WAY
INDIANAPOLIS, IN 46214                             P‐0001861 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANGIN, ANTHONY S.
BLAHOUS‐MANGIN, LAURA D.
3526 S TUDOR LANE
BLOOMINGTON, IN 47401                              P‐0001862 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, PATRICK M.
2055 YARBOROUGH RD
SAINT PAULS, NC 28384                              P‐0001863 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAM, GEORGE
13621 ANCILLA BLVD
WINDERMERE, FL 34786                               P‐0001864 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUTZWILLER, JAMES E.
211 SHERWOOD DRIVE
HUDDLESTON, VA 24104                               P‐0001865 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAUGHERTY, GERALD L.
DAUGHERTY, MARILYNN A.
5687 VIA ESTRELLA
LAS CRUCES, NM 88011                               P‐0001866 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SABARESE, JACQUELINE
8208 VENOSA HAVEN TER
BOYNTON BEACH, FL 33473                            P‐0001867 10/22/2017    TK Holdings Inc., et al .                     $850.00                                                                                       $850.00
GLAUSER, MICHELE
830 TOWN SCAPES CT
LOVELAND, OH 45140                                 P‐0001868 10/22/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
MONTANYE, RICHARD H.
MONTANYE, KIM C.
14657 FAIRCROFT DR.
TYLER, TX 75703                                    P‐0001869 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEROY, BRUCE M.
LEROY, CHRISTINA O.
284C EAST LAKE MEAD PKWY
PMB #152
HENDERSON, NV 89015                                P‐0001870 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, TOWANDA L.
2661 DANBERRY LN
GRAND PRAIRIE, TX 75052                            P‐0001871 10/22/2017    TK Holdings Inc., et al .                    $9,000.00                                                                                    $9,000.00


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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
GORSKA, MAGDALENA
9430 POINCIANA PL APT 214
DAVIE, FL 33324                                    P‐0001872 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEROY, BRUCE M.
LEROY, CHRISTINA O.
284C EAST LAKE MEAD PKWY
PMB #152
HENDERSON, NV 89015                                P‐0001873 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEDVINSKY, FELIX
20336 NE 10TH COURT ROAD
MIAMI, FL 33179‐2522                               P‐0001874 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAIRSTON, STEPHEN J.
5608 GRAPHITE
KILLEEN, TX 76542                                  P‐0001875 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, KEITH A.
607 W FOURTH STREET
GREENVILLE, NC 27834                               P‐0001876 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOSEPH, LAISSY
9103 FOOTBRIDGE TRL
ORLANDO, FL 32825                                  P‐0001877 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLACE, WILLIAM L.
WALLACE, CHERYL D.
9670 CHAROLAIS DRIVE
TUSCALOOSA, AL 35405                               P‐0001878 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WICKENS, JAMES L.
WICKENS, SHARON A.
J BAR S RANCH LLP
P.O. BOX 7
SUN RIVER, MT 59483                                P‐0001879 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIAZ, VICTOR G.
AGRESTA‐DIAZ, LILLIAN P.
3656 2ND PL SW
VERO BEACH, FL 32968‐3172                          P‐0001880 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BADZYUKH, VALENTYN N.
3105 SCOTTCREST WAY
WAXHAW, NC 28173                                   P‐0001881 10/22/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
TAYLOR, DIETRA
1107 LAKE BALDWIN LANE
UNIT 202
ORLANDO, FL 32814                                  P‐0001882 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, RAHIM J.
2638 SHEILA DRIVE
APOPKA, FL 32712                                   P‐0001883 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGWOOD, JOYCE R.
527 OLD MACCUMBER STATION ROA
UNIT 319
WILMINGTON, NC 28405                               P‐0001884 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, JANET E.
2139 S. UNION GROVE ROAD
APT. 3
LEXINGTON, NC 27295                                P‐0001885 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHURCH, LORI A.
CHURCH, LORI A.
217 JESSICAS WAY
JOHNSON CITY, TN 37615                             P‐0001886 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BLOOM, THEODORE S.
211 S CHESTERFIELD ROAD
COLUMBUS, OH 43209                                   P‐0001887 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEUTELMAN, PAUL
12909 COVINGTON TRAIL
AUSTIN, TX 78727                                     P‐0001888 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HASSELL, MICHAEL A.
661 KING HAROLD COURT
OVIEDO, FL 32765                                     P‐0001889 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUREN, FRANCIS S.
DUREN, JEAN F.
#4731
BRIGHTON RIDGE DRIVE
APEX, NC 27530                                       P‐0001890 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, JAMIE L.
1357 SELBYDON WAY
WINTER GARDEN, FL 34787                              P‐0001891 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STALLARD, DAVID R.
STALLARD, CHRISTOPHER S.
106 PINE BARRENS CT
AUSTIN, TX 78738                                     P‐0001892 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAIETTA, GABRIEL A.
1207 BARNSLEY PLACE
KINGSPORT, TN 37660                                  P‐0001893 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, BRANDON E.
3907 BAYONNE CT
LOUISVILLE, KY 40299                                 P‐0001894 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, KERN I.
741 ALGONQUIN PARKWAY
LOUISVILLE, KY 40208                                 P‐0001895 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONG, XI
330 OCEAN WALK LN
GOLETA, CA 93117                                     P‐0001896 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLASS, NAOMI B.
5172 VININGS BEND
DUBLIN, OH 43016                                     P‐0001897 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STALLARD, DAVID R.
106 PINE BARRENS CT
AUSTIN, TX 78738                                     P‐0001898 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KATZEL, MARY C.
1000 LANSDOWNE ROAD
NC/28270
CHARLOTTE                                            P‐0001899 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAPIA, DANIEL E.
11610 UPLANDS RIDGE DRIVE
AUSTIN, TX 78738                                     P‐0001900 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORSE, MATTHEW C.
2620 MARY MARVIN TRAIL
FUQUAY VARINA, NC 27526                              P‐0001901 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMMEROK, DIANE E.
SIMMEROK, RALPH
10407 115TH. AVE.
LARGO, FL                                            P‐0001902 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SULLIVAN‐BLAKELY, DENICE M.
2132 SANDY BRNACH PLACE
SAINT AUGUSTINE, FL 32092                            P‐0001903 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CASHMAN, DONAL P.
1136 W 75TH STREET
INDIANAPOLIS, IN 46260                              P‐0001904 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OATES, WHITNEY A.
5604 S 164 W AVE
SAND SPRINGS, OK 74063                              P‐0001905 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUBBS, KIRT J.
13732 GLEN ABBEY DRIVE
CHARLOTTE, NC 28278                                 P‐0001906 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORLEY, KENNETH B.
10631 TAVISTOCK DRIVE
TAMPA, FL 33626                                     P‐0001907 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAUSER, BREMDA L.
3071 REMINGTON RIDGE ROAD
COLUMBUS, OH 43232                                  P‐0001908 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, RICHARD C.
ADAMS, BELINDA S.
3329 SW CRESTVIEW ROAD
PORT SAINT LUCIE, FL 34953                          P‐0001909 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORLEY, KENNETH B.
10631 TAVISTOCK DRIVE
TAMPA, FL 33626                                     P‐0001910 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORLEY, KENNETH B.
10631 TAVISTOCK DRIVE
TAMPA, FL 33626                                     P‐0001911 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, DEIRDRE
DAVIS, DEIRDRE N.
10426 RANLEIGH LANE
CHARLOTTE, NC 28273                                 P‐0001912 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BADZYUKH, VALENTYN N.
3105 SCOTTCREST WAY
WAXHAW, NC 28173                                    P‐0001913 10/22/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HIOTT, TERRI M.
P.O. BOX 572
P.O. BOX 572
FOREST CITY, NC 28043                               P‐0001914 10/22/2017    TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
MEHDAOVA, WILLIAM Y.
7900 HAMLET DR
NEW PORT RICHY, FL 34653                            P‐0001915 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAISER, MARK
KAISER, TAMI
2725 NE 14TH STREET CSWY
UNIT 110
POMPANO BEACH, FL 33062                             P‐0001916 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HASKETT, DAVID M.
HASKETT, PATRICIA J.
13790 DRIFTWOOD DR
CARMEL, IN 46033                                    P‐0001917 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WICKENS, SHARON A.
P.O. BOX 7
SUN RIVER, MT 59483                                 P‐0001918 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORNETT, LAURA E.
10201 HEATHER GLEN DRIVE
JACKSONVILLE, FL 32256                              P‐0001919 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SMITH, RICARDO
7456 NW 115 TERRACE
PARKLAND, FL 33076                                  P‐0001920 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HRINDA, TIMOTHY A.
2638 SHEILA DRIVE
APOPKA, FL 32712                                    P‐0001921 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILDART, DAVID T.
GILDART, OPAL M.
P.O. BOX 389
SWORDS CREEK, VA 24649‐0389                         P‐0001922 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICHOLS, JORDAN T.
1549 J PL.
APT 124
PLANO, TX 75074                                     P‐0001923 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBSON, GARY S.
9890 W DESERT CANYON DR
RENO, NV 89511                                      P‐0001924 10/22/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
FORD, ANNE B.
4760 WHITE BLUFF DRIVE
FRISCO, TX 75034                                    P‐0001925 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNYDER, GEOFF
407 TRUDELL
SAN ANTONIO, TX 78213                               P‐0001926 10/22/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
WINBURN, HENRY
161 LAKESIDE DR.
HARTSVILLE, SC 29550                                P‐0001927 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORSYTHE, BRIAN J.
8552 LAKE SPRINGS TRAIL
HURST, TX 76053                                     P‐0001928 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VISCONTI, JOSEPH M.
9389 VALLEY RANCH AVE
LAS VEGAS, NV 89178                                 P‐0001929 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, REGINA N.
368 SUTRO FOREST DR NW
CONCORD, NC 28027                                   P‐0001930 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINDSAY, LESLIE J.
LINDSAY, LEYTON
2319 ARNIE LANE
ROUND ROCK, TX 78664                                P‐0001931 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VEGA, JOSE
VEGA, MELINDA K.
125 SE 26TH ST
MOORE, OK 73160‐6257                                P‐0001932 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HACKLE, LAURA D.
2191 ALTITUDE AVE
NORTH PORT, FL 34286                                P‐0001933 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANET, BRIAN
BANET, ERIN
13102 WILLOW FOREST DR
LOUISVILLE, KY 40245                                P‐0001934 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, LISA M.
217 WALTON AVENUE
BARNESVILLE, OH 43713                               P‐0001935 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, LISA M.
217 WALTON AVENUE
BARNESVILLE, OH 43713                               P‐0001936 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
LATIFI, HAMID
5412 BLACKHAWK DRIVE
PLANO TX                                            P‐0001937 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUSSEY, TRACY
HUSSEY, KIMBERLY
3258 N CHAMBERLAIN BLVD
NORTH PORT, FL 34286                                P‐0001938 10/22/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
WHITWORTH, STEVE
4512 IVY DRIVE
MESQUITE, TX 75150                                  P‐0001939 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARIVIERE, ASHLEY K.
4500 OVERTON DRIVE
PLANO, TX 75074                                     P‐0001940 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, JAMES T.
DIXON, GRETCHEL J.
2916 CASTELLAN LANE
ROUND ROCK, TX 78665                                P‐0001941 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RATLIFF, TIFFANY
2259 CHABLIS COURT WEST
ORANGE PARK, FL 32073                               P‐0001942 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LASHLEY, ADRIENNE R.
412 PINE GLEN DR
ALBANY, GA 31705                                    P‐0001943 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAMEZ, MARIA C.
4406 CEDAR PASS DR
CORPUS CHRISTI, TX 78413                            P‐0001944 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VEST, DANIEL J.
310 N 4TH ST
MIAMISBURG, OH 45342                                P‐0001945 10/22/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
DRITT, ELIZABETH A.
9503 FOX RUN DRIVE
MASON, OH 45040                                     P‐0001946 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIOS, YESMI
5322 THISTLE WIND DRIVE
LAS VEGAS, NV 89135                                 P‐0001947 10/22/2017    TK Holdings Inc., et al .                    $4,272.45                                                                                    $4,272.45
MAROVICH, JEAN L.
1412 DREAM BRIDGE DR.
LAS VEGAS, NV 89144                                 P‐0001948 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEEM, MARLEY D.
BEEM, MEILING
5001 W FIRST AVE
STILLWATER, OK 74074                                P‐0001949 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAGGART, SUZANNAH
748 BENWOOD PLACE
ROUND ROCK, TX                                      P‐0001950 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUNTING, LISA M.
BUNTING, DAMIEN W.
13911 BLAKEVILLE
LIVE OAK, TX 78233                                  P‐0001951 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, CHRISTOPHER J.
875 N RIVER ROCK DRIVE
BELGRADE, MT 59714                                  P‐0001952 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEEM, MEILING
5001 W FIRST AVE
STILLWATER, OK 74074                                P‐0001953 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SNYDER, GEOFF
407 TRUDELL
SAN ANTONIO, TX 78213                                P‐0001954 10/22/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
BALDI, GIACOMO
PHAM, HOA
2177 WESTBOURNE DR
OVIEDO, FL 32765                                     P‐0001955 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLICE, ROSE
186 MEDWAY DRIVE
MIDWAY, GA 31320                                     P‐0001956 10/22/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
ANTIA, INI
11947 SKYLAKE PLACE
TEMPLE TERRACE, FL 33617                             P‐0001957 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPICUZZA, STEPHANIE
2835 STONEWAY LANE
UNIT D
FORT PIERCE, FL 34982                                P‐0001958 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA, LINDA
3339 SPOTTED FAWN DR.
ORLANDO, FL 32817                                    P‐0001959 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELANI, VINAY
MAGMA AIR CONDITIONING
1333 MEADOWBROOK DRIVE
WEST PALM BEACH, FL 33417                            P‐0001960 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, HIPOLITO
5135 BLUE SPRINGS COVE
BAKER, FL 32531                                      P‐0001961 10/22/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
RIGAS, EMANUEL
6107 RODGERS AVE
SARASOTA, FL 34231                                   P‐0001962 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAPEC, DAVID N.
KAPEC, LESLIE W.
DAVID NEAL KAPEC
8436 NW 6TH AVE
GAINESVILLE, FL 32607‐1406                           P‐0001963 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, SHIRLEY D.
557 CENTER CREEK COURT
BLYTHEWOOD, SC 29016                                 P‐0001964 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONGSTAFF, MONIQUE
14353 NW 83 PATH
MIAMI LAKES, FL 33015                                P‐0001965 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LI, YUPEI
WANG, CHEN
6574 ENGLISH GARDEN WAY
MASON, OH 45040                                      P‐0001966 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDREWS, MICHAEL F.
3013 PENNY LANE
JOHNS ISLAND, SC 29455                               P‐0001967 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONGER, LINDSEY N.
3677 HOPPER RIDGE ROAD
CINCINNATI, OH 45255                                 P‐0001968 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONGER, JASON R.
3677 HOPPER RIDGE ROAD
CINCINNATI, OH 45255                                 P‐0001969 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
RATLIFF, TIFFANY
2259 CHABLIS COURT WEST
ORANGE PARK, FL 32073                               P‐0001970 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, AARON M.
4118 CYPRESS SPRINGS DRIVE
ARLINGTON, TX 76001‐5101                            P‐0001971 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRUCKMAN, JEFF A.
STRUCKMAN, LAURA A.
735 BLUE BARREL ST
HENDERSON, NV 89011                                 P‐0001972 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMLET, JAMES E.
2417 FERDINAND DRIVE
KNIGHTDALE, NC 27545                                P‐0001973 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, JUANITA
P O BOX 8154
FORT WORTH, TX 7612                                 P‐0001974 10/22/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
DAVIS, CHRISTOPHER D.
8210 WESTBOURNE DR
CHARLOTTE, NC 28216                                 P‐0001975 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELTON, JASON
316 CALIFORNIA AVE. #140
RENO, NV 89509                                      P‐0001976 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGOOD, MICHAEL D.
504 17TH AVE
JASPER, AL 35501‐3643                               P‐0001977 10/22/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, HIPOLITO
5135 BLUE SPRINGS COVE
BAKER, FL 32531                                     P‐0001978 10/22/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
SHIRAZI, REZA
SHIRAZI, NAGHMEH
4910 ROLLINGWOOD DR
AUSTIN, TX 78746                                    P‐0001979 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMLET, JAMES E.
2417 FERDINAND DRIVE
KNIGHTDALE, NC 27545                                P‐0001980 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSARIO, NEREIDA V.
8970 NW 33 CT RD
MIAMI, FL 33147                                     P‐0001981 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABREU, EDGAR F.
ABREU, MARIA P.
5928 VIZZI CT.
LAS VEGAS, NV 89131                                 P‐0001982 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDONALD, ARTURO
MCDONALD, CARMEN C.
9450 S THOMAS DR UNIT 1901
PANAMA CITY BEAC, FL 32408                          P‐0001983 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALFORD, DARRELL A.
1361 BROKEN PINE RD
DELTONA, FL 32725                                   P‐0001984 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, STEPHEN H.
102 ESSEX PLACE
SOUTHERN PINES, NC 28387                            P‐0001985 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RETSOS, PAMELA
4111 LA SALLE DRIVE
PALM HARBOR, FL 34685                               P‐0001986 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
DIAMOND, STEPHEN D.
DIAMOND, HELEN J.
8223 STONEMASON COURT
WINDERMERE, FL 34786                               P‐0001987 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHAPPI, DOUGLAS
1927 GRIGG LANE
WAXHAW, NC 28173                                   P‐0001988 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, FREDRICK
8175 NW 220TH
EDMOND, OK 73025                                   P‐0001989 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TINGLER, JAMES M.
2674 NW 41ST ST
BOCA RATON, FL 33434                               P‐0001990 10/23/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
DOMINGUEZ, ELIZABETH
P.O. BOX 1316
INDIAN ROCKS BCH, FL 33785                         P‐0001991 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBEE, WILLIAM L.
321 CONFEDERATE DR
CONCORD, NC 28027                                  P‐0001992 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINSELMANN, KAREN H.
2100 NE 63 COURT
FORT LAUDERDALE, FL 33308                          P‐0001993 10/23/2017    TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
DAYTON PROGRESS CORPORATION
500 PROGRESS ROAD
DAYTON, OH 45449                                   P‐0001994 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEDNAR, CONSTANCE B.
1043 AQUAMARINE DRIVE
GULF BREEZE, FL 32563                              P‐0001995 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, FREDRICK
8175 NW 220TH
EDMOND, OK 73025                                   P‐0001996 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANELLITSAS, DEMETRIUS
9495 BLIND PASS RD.
APT 1008
ST. PETE BEACH, FL 33706                           P‐0001997 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHADDAY, CHERYL A.
181 NORTH STREET
OSGOOD, IN 47037                                   P‐0001998 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBEE, SHARON B.
321 CONFEDERATE DR
CONCORD, NC 28027                                  P‐0001999 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, LISA M.
2834 REXFORD LN
CARY, NC 27518                                     P‐0002000 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAUSEN, ALLEN
SAUSEN, JUDITH
10859 BROADVIEW BAY PT
BOYNTON BEACH FL 33473                             P‐0002001 10/23/2017    TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
RIVERS, BRYAN
3201 FOREST PARK BLVD.
ROANOKE, VA 24017                                  P‐0002002 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PILLING, WILLIAM W.
11910 TAWAS CT
BOKEELIA, FL 33922                                 P‐0002003 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
RIPOSO, CHRISTINE R.
190 HARVEST LANE
MT. WASHINGTON, KY 40047                             P‐0002004 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLSER, ROGER
BOLSER, THERESA M.
1604 LAUGHRIDGE DTIVE
CARY, NC 27511                                       P‐0002005 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIGMON, KYLE H.
253 MOORE DRIVE
GASTONIA, NC 28056                                   P‐0002006 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMES, LOUIS R.
403 E. 3RD. N. ST. APT. 14
SUMMERVILLE, SC 29483                                P‐0002007 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOANOS, THEODORE N.
10530 ROUGEMONT LANE
CHARLOTTE, NC 28277                                  P‐0002008 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOANOS, THEODORE N.
10530 ROUGEMONT LANE
CHARLOTTE, NC 28277                                  P‐0002009 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTERS, GREGORY S.
2230 W COUNTY ROAD 44
EUSTIS, FL 32726                                     P‐0002010 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNES, SHANNON C.
368 WIGGS ROAD
SELMA, NC 27576                                      P‐0002011 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTERS, GREGORY S.
2230 W COUNTY ROAD 44
EUSTIS, FL 32726                                     P‐0002012 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALDE, OUMOU S.
7171 WARRIOR TRAIL APT 502
INDIANAPOLIS, IN 46260                               P‐0002013 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STILLSON, JAMES A.
6898 W RALEIGH DRIVE
MCCORDSVILLE, IN 46055                               P‐0002014 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTERS, GREGORY S.
2230 W COUNTY ROAD 44
EUSTIS, FL 32726                                     P‐0002015 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRUJILLO, JENNIFER N.
9000 PEBBLE SHORE COURT
LAS VEGAS, NV 89117                                  P‐0002016 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, LAUREN H.
6406 OLD POST RD
CHARLOTTE, NC 28212                                  P‐0002017 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, DOREEN
NO ADDRESS PROVIDED
                                                     P‐0002018 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEIDER, MICHAEL J.
7323 BADGER CT. APT. B
INDIANAPOLIS, IN 46260                               P‐0002019 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEGNAN, SUZZANNE
807 PINE RIDGE ROAD
SANFORD, FL 32773‐4849                               P‐0002020 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRARA‐SWAITHES, ANTHONY R.
1017 SOUTH PALM AVE
ORLANDO, FL 32804‐2127                               P‐0002021 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
GOULD, JAMIE
4300 FOX TRACE
BOYNTON BEACH, FL 33436                             P‐0002022 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLES, MICHAEL T.
NO ADDRESS PROVIDED
                                                    P‐0002023 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLAGHER, SEAN P.
424 BAUER AVENUE
LOUISVILLE, KY 40207                                P‐0002024 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REEVES, JEFFREY I.
NO ADDRESS PROVIDED
                                                    P‐0002025 10/23/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
HANLON, TIFFANY N.
HANLON, DANIEL P.
1533 ROCK SPRING STREET
GREENSBORO, NC 27405                                P‐0002026 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUGEJA, ALEX
500 ADVENTUROUS SHIELD DR
LEWISVILLE, TX 75056                                P‐0002027 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARMERMEGGS, JULIA B.
5236 FAIRWAY DR
SAN ANGELO, TX 76904                                P‐0002028 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTERBAUGH, ROBERT B.
BUTERBAUGH, KAREN D.
16 HOPES NECK DRIVE
BLUFFTON, SC 29910‐8334                             P‐0002029 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPARKS, LYNDA
1226 TANAGER LN
GARLAND, TX 75042                                   P‐0002030 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAILEY, SHARON
1520 CORKERY COURT
WINTER SPRINGS, FL 32708                            P‐0002031 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDUX, ALBERT J.
9304 MIRANDA DR.
RALEIGH, NC 27617                                   P‐0002032 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURTON, BONNIE L.
2258 MAGNOLIA MEADOWS
MT PLEASANT, SC 29464                               P‐0002033 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSORIO, DANIEL A.
7641 SW 135 AVE
MIAMI, FL 33183                                     P‐0002034 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, LORENZO K.
124 GALLOP COURT
RAEFORD, NC 28376                                   P‐0002035 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUCOFF, CARY W.
2155 S OCEAN BLVD
UNIT 2
DELRAY BEACH, FL 33483                              P‐0002036 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDUX, ALBERT J.
9304 MIRANDA DR
RALEIGH, NC 27617                                   P‐0002037 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, LORENZO K.
124 GALLOP COURT
RAEFORD, NC 28376                                   P‐0002038 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MASSENGALE, ROGER L.
249 COURT STREET
P.O. BOX 1278
PAINTSVILLE                                         P‐0002039 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDS, GLORIA D.
7789 BUCK POND ROAD
NORTH CHARLESTON, SC 29418                          P‐0002040 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MESSINA, FRANK E.
MESSINA, FRANK
13776 DEER CHASE PLACE
JACKSONVILLE, FL 32224                              P‐0002041 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLBERT, MIRANDA W.
817 UNION CROSS RD
DOBSON, NC 27017                                    P‐0002042 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, JANIS F.
5323 ABBY GATE AVE
WESTERVILLE, OH 43081                               P‐0002043 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARMERMEGGS, JULIA B.
5236 FAIRWAY DR.
SAN AHGELO, TX 76904                                P‐0002044 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARROLL, TERRY L.
138 LITTLE TOOT LANE
DORCHESTER, SC 29437                                P‐0002045 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOLLEY, FRANK G.
301 SHADY CIRCLE DRIVE
ROCKY MOUNT, NC 27803                               P‐0002046 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WORSHAM, ROXANNE E.
3429 BEAVER CREEK LN
MCKINNEY, TX 75070                                  P‐0002047 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORVITZ, TOBY L.
1508 VIVIAN LANE
LOUISVILLE, KY 40205                                P‐0002048 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, TIMOTHY M.
3013 WESTMORELAND DRIVE
MOUNTAIN BROOK, AL 35223                            P‐0002049 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOFFERAHN, MARGARET S.
8512 ROCK BROOK CIR.
LOUISVILLE, KY 40220                                P‐0002050 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMIREZ, ALEXANDRA
15313 SW 24TH ST
MIAMI, FL 33185                                     P‐0002051 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALDRIDGE, MIKE P.
ALDRIDGE, MIKE P.
126 VENTURA PLACE
POOLER, GA 31322                                    P‐0002052 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROWE‐MILLS, SAMANTHA
9261 CARACARA DRIVE
JACKSONVILLE, FL 32210                              P‐0002053 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, ROBERT P.
4595 CHANCELLOR STREET NE
APT 227
ST. PETERSBURG, FL 33703                            P‐0002054 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEYOUNG, CRAIG H.
DEYOUNG, GRACE
1321 AEGEAN CT
PUNTA GORDA, FL 33983                               P‐0002055 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WILLIS, KELLI S.
180 CHASE DR
IRON STATION, NC 28080                               P‐0002056 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, NANCY K.
5621 SW 11 STREET, APT A
MARGATE, FL 33068                                    P‐0002057 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YASTE, BRIAN K.
357 SILAS PIKE
CYNTHIANA, KY 41031                                  P‐0002058 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARLOW, FELICIA R.
1082 CIRCLE B DRIVE
ASHEBORO, NC 27205                                   P‐0002059 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, RYNE A.
2436 WOODSTORK CT
ST. AUGUSTINE, FL 32092                              P‐0002060 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALTMAN, ARI
3432 RIVER NARROWS ROAD
HILLIARD, OH 43026                                   P‐0002061 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, MEGAN A.
5256 OWL CREEK DRIVE
WESTERVILLE, OH 43081                                P‐0002062 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, CHRIS L.
11708 KILPATRICK LN
CHARLOTTE, NC 28277                                  P‐0002063 10/23/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
KEYS, SHARON L.
921 SE 21ST AVE
CAPE CORAL, FL 33990                                 P‐0002064 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIGUEROA, JOSE A.
19612 NW 83 CT
MIAMI, FL 33015                                      P‐0002065 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, ANTOINE C.
175 GUS SMITH ROAD
GASTON, NC 27832                                     P‐0002066 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, BETH
HILL, STEPHEN
9810 SPARROW PL
MASON, OH 45040‐9325                                 P‐0002067 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOWNS, JARED L.
10922 KINGS CROWN DRIVE
PROSPECT, KY 40059                                   P‐0002068 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OBRIEN, KEVIN R.
1060 9TH STREET SW
NAPLES, FL 34117                                     P‐0002069 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOFFERAHN, ALICIA L.
212 CLOVER LANE
LOUISVILLE, KY 40207                                 P‐0002070 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMINGTON, ROBIN L.
P.O. BOX 736
HIGH POINT, NC 27261‐0736                            P‐0002071 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, BRUCE H.
1740 SUNRISE POINTE WAY
TUSCALOOSA, AL 35406                                 P‐0002072 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, LAUREL V.
712 CRIMSON OAK LN
FUQUAY VARINA, NC 27526                              P‐0002073 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
TODD, ALICE L.
315 WINDING RD
FRIENDSWOOD, TX 77546                                P‐0002074 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOYLE, DEBORAH S.
10890 159TH COURT NORTH
JUPITER, FL 33478                                    P‐0002075 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLSTEIN, CALBERT V.
1361 MOBLEY ROAD
PATRIOT, OHIO 45658‐9363                             P‐0002076 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, ELIZABETH K.
20019 PERGOLA BEND LANE
TAMPA, FL 33647                                      P‐0002077 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAW, HARRY A.
12501 CARRIAGE WAY
OKLAHOMA CITY, OK 73142                              P‐0002078 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLECKENSTEIN, GREG A.
19322 TRADEWINDS DR
NOBLESVILLE, IN 46062                                P‐0002079 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUFAULT, DAVID B.
DUFAULT, BETTY H.
148 BAYOU DR
VENICE, FL 34285                                     P‐0002080 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAUCHER, LYNNE J.
117 BRADD STREET
SUMMERVILLE, SC 29483                                P‐0002081 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYTLE, LISA K.
7812 FOREST PATH
LIVE OAK, TX 78233                                   P‐0002082 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHELTON, KRISTY L.
SHELTON, LUCIEN
5789 CLEARCREEK DRIVE
HAMILTON, OH 45013                                   P‐0002083 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, LOREN S.
186 ROOKS D
GATES, NC 27937                                      P‐0002084 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANTON, BONNIE J.
1857 STONECREST BLVD
UNIT 1104
TYLER, TX 75703                                      P‐0002085 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BHUSHAN, MADHU
7823 268 STREET
GLEN OAKS, NY 11004                                  P‐0002086 10/23/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
VERBRYCKE, FELICIA M.
2471 WORTHINGTON ROAD
MAITLAND, FL 32751                                   P‐0002087 10/23/2017    TK Holdings Inc., et al .                       $60.00                                                                                       $60.00
BOHMULLER, GLORIA A.
BOHMULLER, RONALD L.
100 HEART WOOD COURT
CLAYTON, NC 27527                                    P‐0002088 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMILLION, COURTNEY
631 50TH AVENUE SOUTH
SAINT PETERSBURG, FL 33705                           P‐0002089 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BILLINGS, RONALD A.
BILLINGS, CARIN
331 GOLD TREE
PUNTA GORDA, FL 33955                                P‐0002090 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HUDSON, KIMBERLY D.
3824 HICKORY HILL DRIVE
SOMERSET, KY 42503                                  P‐0002091 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANTON, BONNIE J.
1857 STONECREST BLVD
UNIT 1104
TYLER, TX 75703                                     P‐0002092 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSON, LINDA A.
4779 CHICAGO STREET
COCOA, FL 32927                                     P‐0002093 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRIESCHMANN, THOMAS H.
TRIESCHMANN, HERLINDA
831 OVERBROOK DR
FORT WALTON BEAC, FL 32547                          P‐0002094 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORCELLI, CHRISTOPHER F.
184 W BAY CEDAR CIR
JUPITER, FL 33458                                   P‐0002095 10/23/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
ADKINS, JONI J.
3702 WESTOVER DR
DANVILLE, VA 24541                                  P‐0002096 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UDWARY, JEANNETTE L.
5361 DELANO CT
CAPE CORAL, FL 33904                                P‐0002097 10/23/2017    TK Holdings Inc., et al .                     $187.48                                                                                       $187.48
HULING, HARRY M.
HULING, DOREEN S.
14906 MIDDLETHORPE LN
HUNTERSVILLE, NC 28078                              P‐0002098 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIZZO, ANTHONY P.
19 FAIRVIEW PLACE
FORT THOMAS, KY 41075                               P‐0002099 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PULLMANN, AUSTIN D.
301 SQUIRES ROW
SAN ANTONIO, TX 78213                               P‐0002100 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DYE, REBECCA A.
1009 SHADOW ARBOR CIRCLE
CHARLESTON, SC 29414                                P‐0002101 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LI, ANDREW
83 GRANDVIEW AVENUE
NANUET, NY 10954                                    P‐0002102 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANFORD, REGINALD A.
4283 RIDGEBEND DR.
ROUND ROCK, TX 78665                                P‐0002103 10/23/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
FITZGERALD, DOVILE
103 FARRINGDON CIR
SAVANNAH, GA 31410                                  P‐0002104 10/23/2017    TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
TIMME, ROBERT
907 VILLAGE GREEN PARKWAY
MAINEVILLE, OH 45039                                P‐0002105 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOCKE, PHILIP
LOCKE, BARBARA
9820 SW 89TH LOOP
OCALA, FL 34481                                     P‐0002106 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                  Current General                                         Current 503(b)(9)
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WOOSLEY, LLOYD H.
WOOSLEY, CONSTANCE A.
24 PINE ST
WINDERMERE, FL 34786
                                                    P‐0002107 10/23/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HULING, HARRY M.
HULING, DOREEN S.
14906 MIDDLETHORPE LN
HUNTERSVILLE, NC 28078                              P‐0002108 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENUNG, JOHN
1857 STONECREST BLVD
UNIT 1104
TYLER, TX 75703                                     P‐0002109 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, JOHN D.
2032 COTSWOLD DR.
ORLANDO, FL 32825                                   P‐0002110 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMSEY, STEVEN T.
12421 MORNING CREEK LN
CHARLOTTE, NC 28214                                 P‐0002111 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROOP, RON W.
1431 WEST RURITAN RD
ROANOKE, VA 24012                                   P‐0002112 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAIN, MICHAEL G.
3742 ANDREW AVE
CINCINNATI, OH 45209                                P‐0002113 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINNEAR, RYAN B.
1889 THORNDALE CIR
FRISCO, TX 75034                                    P‐0002114 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCSWAIN, MILTON B.
3084 CASA RIO CT.
PALM BEACH GARDE, FL 33418                          P‐0002115 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHULTZ, STEVEN P.
2404 BRISTERS SPRING WAY
APEX, NC 27523                                      P‐0002116 10/23/2017    TK Holdings Inc., et al .                    $5,208.40                                                                                    $5,208.40
BYERMAN, N. KEITH
ALLISON, SARAH E.
271 S. FINDLAY ST.
DAYTON, OH 45403                                    P‐0002117 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POCOPANNI, MATTHEW P.
1306 BROOKMONT AVE E
JACKSONVILLE, FL 32211                              P‐0002118 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENUNG, JOHN L.
1857 STONECREST BLVD
UNTI 1104
TYLER, TX 75703                                     P‐0002119 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPENDER, STEVEN F.
5200 N. OCEAN DR.
#1601
RIVIERA BEACH, FL 33404                             P‐0002120 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANK, ALYSSA C.
54 JEAN DRIVE
CRAWFORDVILLE, FL 32327                             P‐0002121 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUER, DANNA L.
108 COUNTY ROAD 4012
DAYTON, TX 77535                                    P‐0002122 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ROBY, ANTONETTE
4701 14TH STREET
#6304
PLANO, TX 75074                                      P‐0002123 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENNEDY, LISA L.
530 CITADEL WAY
RENO, NV 89503                                       P‐0002124 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCBRIDE, JAMES D.
MCBRIDE, DARLA J.
822 E 5TH ST
CUSHING, OK 74023                                    P‐0002125 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERICKSON, ANNE M.
805 TRILLIUMS HIDEAWAY
TRENT WOODS, NC 28562                                P‐0002126 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCLAIN, GINA M.
10951 HOLYROOD CT
LAS VEGAS, NV 89141                                  P‐0002127 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAEZ, GUSTAVO
9940 W CALUSA CLUB DR
MIAMI, FL 33186                                      P‐0002128 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, SHARON A.
874 FALKIRK DR.
WINTER SPRINGS, FL 32708                             P‐0002129 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHIS, JEFFREY
5515 MELODY LANE
ORLANDO, FL 32839                                    P‐0002130 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KYGER, DENNIS H.
2880 BICENTENNIAL PKWY
SUITE 100 #209
HENDERSON, NV 89044                                  P‐0002131 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUENROSTRO, DANIEL
1027 GREEN PINE BLVD APT B
WEST PALM BEACH, FL 33409                            P‐0002132 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CREECH, WICKEY R.
7813 CRESTVIEW DRIVE
PLANO, TX 75024                                      P‐0002133 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, DAVID
12335 165TH RD N
JUPITER, FL 33478                                    P‐0002134 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JETT, MARK D.
8408 OLD HICKORY LN
MCKINNEY, TX 75070                                   P‐0002135 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMBERLAND, ROBERT J.
223 MOSSY RIDGE
GREENVILLE, WEST VIRGINIA 249
                                                     P‐0002136 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATALANO, VALERIE
2709 ORANGE TREE DRIVE
EDGEWATER, FL 32141                                  P‐0002137 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIEBER, LEON J.
WIEBER, MARY E.
9115 CAPISTRANO ST., S.
UNIT 8205
NAPLES, FL 34113                                     P‐0002138 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ST JOHN, PATRICIA M.
1715 OLDTOWN RD
WALNUT COVE, NC 27052                                P‐0002139 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUTRY, SHARON A.
NO ADDRESS PROVIDED
                                                     P‐0002140 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEYMOUR, JAMES T.
1125 CHANDLER OAKS DR
JACKSONVILLE, FL 32221                               P‐0002141 10/23/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
PERRY, JOHN E.
P.O. BOX 17712
SARASOTA, FL 34276                                   P‐0002142 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ST JOHN, PATRICIA
1715 OLDTOWN RD
WALNUT COVE, NC 27052                                P‐0002143 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNES, TRUSTEE, MAMIE B.
BARNES, TRUSTEE, RICHARD L.
P.O. BOX 78772
CHARLOTTE, NC 28271                                  P‐0002144 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEYMOUR, JAMES T.
1125 CHANDLER OAKS DR
JACKSONVILLE, FL 32221                               P‐0002145 10/23/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
SORRENTINO, FELICIA D.
9409 RANCHLAND HILLS BLVD
JONESTOWN, TX 78645                                  P‐0002146 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIAZ, REBECCA L.
14265 SW 296 STREET
HOMESTEAD, FL 33033                                  P‐0002147 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROOP, JANICE
1431 WEST RURITAN RD.
ROANOKE, VA 24012                                    P‐0002148 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAIRBANKS, IYONNA L.
2209 LOTH STREET
CINCINNATI, OH 45219                                 P‐0002149 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, JUDY N.
1781 LONGBRIAR ROAD
ROCK HILL, SC 29732                                  P‐0002150 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KORCH, JONATHAN H.
KORCH, URSULA L.
4307 HUNTER OAKS DR.
HIGH POINT, NC 27265                                 P‐0002151 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALI, INTAAF
RAMJIT‐ALI, HEMADAI
1425 AGUACATE CT
ORLANDO, FL 32837                                    P‐0002152 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, JUDY N.
1781 LONGBRIAR RD
ROCK HILL, SC 29732                                  P‐0002153 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIMBERLEY, JACQULYN
8408 STONEBRIDGE WAY
TYLER, TX 75703                                      P‐0002154 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARMAN III, HOWARD D.
7335 LAKETREE DR.
RALEIGH, NC 27615                                    P‐0002155 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ECLS GLOBAL LLC
6039 CYPRESS GARDENS BLVD
STE 220
WINTER HAVEN, FL 33884                                P‐0002156 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOTO, IRIS
6770 INDIAN CREEK DR. APT. 7B
MIAMI BEACH, FL 33141                                 P‐0002157 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIS, DONALD C.
ELLIS, STEPHANIE R.
1250 SAYLES BLVD
ABILENE, TX 79605                                     P‐0002158 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTOLETTI, JOSEPH R.
24251 COPPERLEAF BLVD
BONITA SPRINGS, FL 34135                              P‐0002159 10/23/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
INDELICATO, LISA M.
2851 SW 2ND STREET
DELRAY BEACH, FL 33445                                P‐0002160 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDRESS, JENNIFER K.
19711 75TH AVENUE E
BRADENTON, FL 34202                                   P‐0002161 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACK;I, JASON M.
1860 NELSON RANCH LOOP
CEDAR PARK, TX 78613                                  P‐0002162 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIM, KANARY
930 N TAMIAMI TRAIL #405
SARASOTA, FL 34236                                    P‐0002163 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPAULDING, NIKA L.
4233 JUSTICE LANE
GARLAND, TX 75042                                     P‐0002164 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGRAIN, PETER J.
15194 PALM ISLE DR
FORT MYERS, FL 33919                                  P‐0002165 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIS, STEPHANIE R.
1250 SAYLES BLVD.
ABILENE, TX 79605                                     P‐0002166 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SULLIVAN, ROBERT D.
SULLIVAN, LINDA L.
1691 N SUGAR PT.
CENTERPOINT, IN 47840                                 P‐0002167 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TYLER, JESSICA L.
5305 CHESTERFIELD
AUSTIN, TX 78751                                      P‐0002168 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUMMING, KELLI L.
300 RIDGE DRIVE
LEXINGTON, NC 27295                                   P‐0002169 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANT, WINSTON D.
741 TRAILS END CIRCLE
HURST, TX 76054                                       P‐0002170 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIM, KANARY
930 N TAMIAMI TRAIL #405
SARASOTA, FL 34236                                    P‐0002171 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, DAMARRA
1575 REPUBLIC AVENUE
COLUMBUS, OH 43211                                    P‐0002172 10/23/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00



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                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
GRANT, WINSTON D.
741 TRAILS END CIRCLE
HURST, TX 76054                                    P‐0002173 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANE, DAVID C.
KANE, DEBRA A.
8 NASHUA WAY
OCALA, FL 34482                                    P‐0002174 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEMING, KEITH C.
8811 HOLLYBROOK LANE
CHARLOTTE, NC 28227                                P‐0002175 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOLEDO, LUCIA M.
3175 GREENWOOD STREET
WINTER PARK, FL 32792                              P‐0002176 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, ANN MARIE
323 SNOW OWL HOLLOW
BUDA, TX 78610                                     P‐0002177 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELLERS, MICHAEL J.
SELLERS, BETTY J.
2256 APPLEBLOSSOM DR
MIAMISBURG, OH 45342                               P‐0002178 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLOTKIN, RUTH ANN
1301 WEST 9 1/2 STREET #300
AUSTIN, TX 78703                                   P‐0002179 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNS, PHILLIP S.
3216 GREENLEAVES DRIVE
JEFFERSONVILLE, IN 47130                           P‐0002180 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUPUY, FREDERICK
620 CYPRESS TREE COURT
ORLANDO, FL 32825                                  P‐0002181 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LICHAU, CYNTHIA L.
LICHAU, WALTER A.
212 SUMMIT RIDGE DR
ROCKWALL, TX 75087‐4230                            P‐0002182 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORNWELL, JOHN R.
2084 COUNTY HIGHWAY 183 SOUTH
DEFUNIAK SPRINGS, FL 32435                         P‐0002183 10/23/2017    TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
BRIDGES, JENISE F.
2007 BEECHWOOD DRIVE
SOUTH CHARLESTON, WV 25303                         P‐0002184 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSHMAN, ERIC W.
DURBUY LIMITED PARTNERSHIP
23 PRESTONWOOD CIRCLE
LAKEWAY, TX 78734                                  P‐0002185 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DODDS, JEFFERY L.
DODDS, JENNIFER L.
917 SHADY LANE DRIVE
ORLANDO, FL 32804                                  P‐0002186 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAMBRANO, JAIME
1623 SW 100TH AVENUE
MIAMI, FL 33165                                    P‐0002187 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUPUY, FREDERICK
620 CYPRESS TREE COURT
ORLANDO, FL 32825                                  P‐0002188 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIDWAY, MEGAN A.
4281 HIGH STAKES CIR APT 113
PARKTON, NC 28371                                  P‐0002189 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PRUNNER, JOHN J.
PRUNNER, CANDICE L.
1241 SHILOH LOOP
LITTLE RIVER, SC 29566                              P‐0002190 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HICKS, MARCIA D.
105 ASKEW LANE
AULANDER, NC 27805                                  P‐0002191 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORNWELL, JOHN R.
2084 COUNTY HIGHWAY 183 SOUTH
DEFUNIAK SPRINGS, FL 32435‐3748                     P‐0002192 10/23/2017    TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
THOMAS, ANGELIQUE
533 NE 3RD AVE.
APT. 521
FORT LAUDERDALE, FL 33301                           P‐0002193 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATHERWOOD, STACEY S.
6617 SUMMER COVE DRIVE
RIVERVIEW, FL 33578                                 P‐0002194 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIDGES, JANET M.
611 GRAYSON ST. UNIT A
POTTSBORO, TX 75076                                 P‐0002195 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARRIKER, JACOB S.
14812 ENDICOTT DR.
AUSTIN, TX 78728                                    P‐0002196 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORTUGAL, PAUL T.
106 WICKLOW LANE
JUPITER, FL 33458                                   P‐0002197 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MARGARET C.
7002 DUNSFORD DR.
CORPUS CHRISTI, TX 78413‐5311                       P‐0002198 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARRIS, JANE T.
9404 SW 68TH PLACE
HAMPTON, FL 32044                                   P‐0002199 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OATES, BRIAN H.
20054 SERRE DRIVE
ESTERO, FL 33928                                    P‐0002200 10/23/2017    TK Holdings Inc., et al .                     $303.50                                                                                       $303.50
LATIMER, RYAN
1106 E LA PALOMA LN
ROSWELL, NM 88201                                   P‐0002201 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GADDY, MICHAEL D.
893 STRATFORD RUN DR.
FORT MILL, SC 29708                                 P‐0002202 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TROSPER, KEVIN J.
KEVIN TROSPER
3200 ROGERS DRIVE
EDMOND, OK 73013                                    P‐0002203 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCIANO, ARIEL
1130 RUSH STREET
CELEBRATION, FL 34747                               P‐0002204 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
W SAVAGE, REYNARDA B.
1829 STUYVESANT STREET
SAVANNAH, GA 31405                                  P‐0002205 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BULLARD, TERRY
655 BOLLINGER AVE
LUMBERTON, NC 28360                                 P‐0002206 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
DANIELEWICZ, ANGELA H.
DANIELEWICZ, DAVID A.
1001 PALACE COURT
INDAIN TRAIL, NC 28079                              P‐0002207 10/23/2017    TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
KIRCHHOFF, JAMES
2801 DARLINGTON DRIVE
PLANO, TX 75093                                     P‐0002208 10/23/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
PAQUETTE, ARMAND L.
110 NORMANDY CIRCLE WEST
PALM HARBOR, FL 34683                               P‐0002209 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FU, YUNTING
859 HOLLINS ST
BALTIMORE, MD 21201                                 P‐0002210 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERMANN, RICHARD D.
HOLUM, ELIZABETH A.
160 TWIN SISTERS LANE
MOORESVILLE, NC 28117                               P‐0002211 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PREMAN, PHYLLIS
13825 OSPREY LINKS RD
APT 252
ORLANDO, FL 32837                                   P‐0002212 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTANO, ARIEL
1233 CLOCK ST
JACKSONVILLE, FL 32211                              P‐0002213 10/23/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
BULLARD, TERRY
TERRY BULLARD
655 BOLLINGER AVE
LUMBERTON, NC 28360                                 P‐0002214 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROYLES, TIMOTHY D.
3234 WOODLAKE DRIVE
ABILENE, TX 79606                                   P‐0002215 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIABATTARI, DONALD
2206 IMPERIAL GOLF COURSE BLV
NAPLES, FL 34110                                    P‐0002216 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAULT, CHARLES R.
MAULT, CHARLES R.
6440 22ND ST SOUTH
ST. PETERSBURG, FL 33712                            P‐0002217 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIELEWICZ, DAVID A.
1001 PALACE COURT
INDIAN TRAIL, NC 28079                              P‐0002218 10/23/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
FERGUSON, HEATHER B.
8601 LYN AVENUE
SAVANNAH, GA 31406                                  P‐0002219 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KATCH, CYNTHIA
961 OSAGE RD
VICTORIA, TX 77905                                  P‐0002220 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYAN, JENNIFER B.
475 JAMES PAIT ROAD
BLADENBORO, NC 28320                                P‐0002221 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMES, MELISSA A.
5871 HEARTWOOD CT
HARRISBURG, NC 28075                                P‐0002222 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHILDRESS, DENNIS
107 HUNTERS CREEK RD.
FOREST, VA 24551                                    P‐0002223 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GARDNER, JOHN
8417 WHITE SANDS DR
PLANO, TX 75025                                      P‐0002224 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETTIGREW, WILLIAM M.
8708 DOE PATH LN
HUNTERSVILLE, NC 28078                               P‐0002225 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, MARILEE
104 SHENANDOAH TRL
ELGIN, TX 78621                                      P‐0002226 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBEE, WILLIAM L.
321 CONFEDERATE DR
CONCORD, NC 28027                                    P‐0002227 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SATMARY, VINCENT J.
10053 SALI DRIVE
ORLANDO, FL                                          P‐0002228 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORI, FRANCINE T.
8222 256TH STREET
FLORAL PARK, NY 11004                                P‐0002229 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITZSIMMONS, MICHAEL J.
5301 THIRD STREET
SAINT AUGUSTINE, FL 32080                            P‐0002230 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAESZIG, JONATHAN L.
425 N. EMERSON AVENUE
INDIANAPOLIS, IN 46219                               P‐0002231 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LATOURETTE, RICHARD D.
5327 BROWNELL ST
ORLANDO, FL 32810                                    P‐0002232 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASILE, MARIA
10555 GREENSPRINGS DRIVE
TAMPA, FL 33626                                      P‐0002233 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA MORALES, AYBAR
825 E CYPRESS ST C788
TARPON SPRINGS, FL 34689                             P‐0002234 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOON, SHARON
KOON, RICHARD C.
9146 OLD CHEMONIE ROAD
TALLAHASSEE, FL 32309                                P‐0002235 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNDERWOOD, STEVEN C.
UNDERWOOD, DEBORAH L.
912 ELIZABETH ST
TROY, TX 7579                                        P‐0002236 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLTON, LINN R.
20263 SW 86TH LOOP
DUNNELLON, FL 34431                                  P‐0002237 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOCK, ELLIOTT
BLOCK, BARBARA J.
11839 BAYFIELD DR
BOCA RATON, FL 33498‐6205                            P‐0002238 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, CHENOA M.
320 EMBER LANE
OHATCHEE, AL 36271                                   P‐0002239 10/23/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
PERKINS, ALEXANDER
4421 LOG CABIN DRIVE
MACON
MACON, GA 31204                                      P‐0002240 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MARINO, MICHAEL A.
747 RESERVE DRIVE
PAWLEYS ISLAND, SC 29585                             P‐0002241 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRD, DIANNE
352 HARCO DR
COLUMBUS, GA 31906                                   P‐0002242 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNETT, DAVID E.
10660 LANCASTER CIRCLEVILLE R
AMANDA, OH 43102                                     P‐0002243 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKJODT, DAN
SKJODT‐BARRETT CONTRACT PACKA
401 S. ENTERPRISE BLVD.
LEBANON, IN 46052                                    P‐0002244 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAUZE, SABRINA S.
10 COUNTY ROAD 674
ROANOKE, AL 36274                                    P‐0002245 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, KARL
10857 BRAEMOOR DR
HASLET, TX 76052                                     P‐0002246 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, DEBORAH K.
5617 CRITTENDEN AVENUE
INDIANAPOLIS, IN 46220                               P‐0002247 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITZSIMMONS, MICHAEL J.
5301 THIRD STREET
SAINT AUGUSTINE, FL 32080                            P‐0002248 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOSE, ROTISHA S.
1777 RUBE SMITH RD
CANMER, KY 42722                                     P‐0002249 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTGOMERY, SARAH L.
5432 N MERIDIAN AVE
APT D
OKLAHOMA CITY, OK 73112                              P‐0002250 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADI, HAMID
2401 PILSLEY ROAD
APEX, NC 27539                                       P‐0002251 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFIN, LISA J.
GRIFFIN, STEVEN M.
4740 N MESA ST APT 38
EL PASO, TX 79912                                    P‐0002252 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLINA, ORLANDO
336 RIO DULCE
EL PASO, TX 79932                                    P‐0002253 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, DEBORAH K.
5617 CRITTENDEN AVENUE
INDIANAPOLIS, IN 46220                               P‐0002254 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEARSON, ROGER E.
P.O. BOX 342204
TAMPA, FL 33694‐2204                                 P‐0002255 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTMORELAND, BETTY J.
2031 MCLAREN RD
NORTH PALM BEACH, FL 33408
                                                     P‐0002256 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELMER, ANNE M.
3436 NIXON RD
HOLIDAY, FL 34691                                    P‐0002257 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
KALAM, TONU
21 VAUXHALL PLACE
CHAPEL HILL, NC 27517‐8618                        P‐0002258 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTERLOW, DONNIE G.
P.O. BOX 7634
GREENSBORO, NC 27417                              P‐0002259 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAFFORD, ANGELA F.
7012 AVENBURY CIRCLE
KERNERSVILLE, NC 27284                            P‐0002260 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEAVER, CHRISTINA P.
1922 WILMORE WALK DRIVE
CHARLOTTE, NC 28203                               P‐0002261 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, MARSHA G.
1216 BOYDEN RD
SALISBURY, NC 28144                               P‐0002262 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIFKIN, ARLENE
25110 ALDENSHIRE COURT
KATY, TX 77494                                    P‐0002263 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAPODICI, MARC
CAPODICI, MARC
15 EAST AGATE #206
LAS VEGAS, NV 89123                               P‐0002264 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAFFORD, ANGELA F.
7012 AVENBURY CIRCLE
KERNERSVILLE, NC 27284                            P‐0002265 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILKERSON, SONDRA N.
15741 LAWSON POINT ROAD
TEMPLE, TX 76502                                  P‐0002266 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSSELL, TONDRA R.
3325 DUNN COMMONS PARKWAY
APT 102
CHARLOTTE, NC 28216                               P‐0002267 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAPLE, REGINA R.
CAPLE, REGINA R.
REGINA R CAPLE
P.O. BOX 364
WAGRAM, NC 28396                                  P‐0002268 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNETT, WILLIAM P.
605 GLENVIEW CIRCLE
GARLAND, TX 75040‐3410                            P‐0002269 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUFFY, MICHAEL D.
219 BRADFORD DRIVE
STARKE, FL 32091                                  P‐0002270 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDONALD, JENNIFER
714 DANGERFIELD DRIVE
MONCKS CORNER, SC 29461                           P‐0002271 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, MICHAEL W.
318 GLENMORE DR
PASADENA, TX 77503                                P‐0002272 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASKEN, EUGENE J.
9224 TESORAS DRIVE
#301
LAS VEGAS, NV 89144                               P‐0002273 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                 Current General                                         Current 503(b)(9)
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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
KENNEDY, KERRY P.
KENNEDY, JACKSON P.
209 MAGNOLIA BLUFF DR
COLUMBIA, SC 29229                                 P‐0002274 10/23/2017    TK Holdings Inc., et al .                   $77,661.00                                                                                   $77,661.00
WINTRINGHAM, MARY S.
1228 RIDGE HAVEN DR
WENDELL, NC 27591                                  P‐0002275 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDONALD, JENNIFER
714 DANGERFIELD DR
MONCKS CORNER, SC 29461                            P‐0002276 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUDNALL, REBECCA R.
P.O. BOX 656
4561 ELDYWOOD LANE
BATAVIA, OH 45103                                  P‐0002277 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLIGE, JOHN L.
400 GARRISON ST
DARIEN, GA 31305                                   P‐0002278 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGLIERE, ANN E.
9470 PEACE WAY UNIT 244
LAS VEGAS, NV 89147                                P‐0002279 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, MAURICE H.
1616 1ST PLACE SOUTH
BIRMINGHAM, AL 35205                               P‐0002280 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YADON, JOHN L.
9017 LATIMER ROAD EAST
JACKSONVILLE, FL 32257                             P‐0002281 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, CORTNEY
9847 ALEUTIAN ST
LAS VEGAS, NV 89178                                P‐0002282 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAFFELL, TRANAY
9028 BLUE RAVEN AVE
LAS VEGAS, NV 89143                                P‐0002283 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHAPPI, DOUGLAS
1927 GRIGG LANE
WAXHAW, NC 28173                                   P‐0002284 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORRIS, CAROL G.
9683 VILLIERS DR., N
JACKSONVILLE, FL 32221‐1273                        P‐0002285 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNETT, JOANNE M.
BENNETT, CHARLES A.
432 ENDERBY WAY
LITTLE RIVER, SC 29566                             P‐0002286 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOUGLAS, JACQUELINE
ALLY
ALLY P.O. BOX 380902
BLOOMINGTON, MN 55438‐0902                         P‐0002287 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHAPPI, DOUGLAS
1927 GRIGG LANE
WAXHAW, NC 28173                                   P‐0002288 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETTIE, RICHARD L.
914 ROYAL DR
MARTINSVILLE, VA 24112                             P‐0002289 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KYLER, PEGGY G.
1613 MESA VERDE DR
ROUND ROCK, TX 78681                               P‐0002290 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
REITER, MICHAEL H.
REITER, MARGARET E.
2153 INTERLACHEN DRIVE
BILLINGS, MT 59105                                  P‐0002291 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, CHRISTIE K.
CHRISTIE KAYE WILLIAMS REVOCA
P. O. BOX 687
POTEAU, OK 74953                                    P‐0002292 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIMACALI, ENRIQUE F.
3362 NW 64TH ST
FORT LAUDERDALE, FL 33309                           P‐0002293 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUNIPER, CYNTHIA
31 FLAMING CLIFF RD
WIMBERLEY, TX 78676                                 P‐0002294 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEAVY, ANDREW C.
9665 NW 49TH PLACE
CORAL SPRINGS, FL 33076                             P‐0002295 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, NELDA A.
JOHNSON, TERRY D.
1829 BROOKSIDE ROAD
MOUNT OLIVE, AL 35117                               P‐0002296 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, PAMELA
250 FOX RUN RD
PINEHURST, NC 28374                                 P‐0002297 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALONE, AMANDA M.
3603 ROSEBERRY DR
LA PORTE, TX 77571                                  P‐0002298 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATINO, JASON K.
29801 HAINES BAYSHORE RD #107
CLEARWATER, FL 33760                                P‐0002299 10/23/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
BISON, MELANIE B.
3927 REDWOOD ST
LAS VEGAS, NV 89103                                 P‐0002300 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELON, MICHELE M.
513 CANYON CREEK DRIVE
DEL RIO, TX 78840                                   P‐0002301 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, ARNULFO T.
1511 EICHEN RD.
NEW BRAUNFELS, TX 78130                             P‐0002302 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, RANDY N.
473 DIMENSION LN.
NASHVILLE, IN 47448                                 P‐0002303 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, WILLIAMS H.
1575 PINEWOOD RD
SUMTER, SC 29154                                    P‐0002304 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAUSEN, ALLEN A.
10859 BROADVIEW BAY PT
BOYNTON BEACH, FL 33473                             P‐0002305 10/23/2017    TK Holdings Inc., et al .                   $13,000.00                                                                                   $13,000.00
ROBINSON, TOM
572 CAHABA MANOR DRIVE
PELHAM, AL 35124                                    P‐0002306 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILT, KELLY
6408 RIVERS EDGE DR
GREENVILLE, OH 45331                                P‐0002307 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
AKER, BRITTANY N.
390 COUNTY ROAD 1135
CULLMAN                                            P‐0002308 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, BARBARA R.
10300 LAKE VISTA CT
PARKLAND, FL 33076‐4139                            P‐0002309 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNETT, WESLEY W.
601 GEORGE AVE APT103
MIDLAND, TX 79705                                  P‐0002310 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREDERICKS, SHELIA D.
4500 WEST LYNCHBURG SALEM TPK
THAXTON, VA 24174                                  P‐0002311 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, CARLA S.
7904 VENETIAN STREET
MIRAMAR, FL 33023                                  P‐0002312 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEENUM, JOHNNY H.
105 WEST GRAND AVE
MUSCLE SHOALS, AL 35661                            P‐0002313 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HYE, ROBERT W.
STEPHENS‐HYE, ROBIN G.
1495 SE 21ST STREET
OKEECHOBEE, FL 34974                               P‐0002314 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENTINE, MICHAEL C.
VALENTINE, KARI L.
217 DOESKIN DR
BOERNE, TX 78006                                   P‐0002315 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNETT, PAUL M.
416 MILLER STREET SE
CHRISTIANSBURG, VA 24073                           P‐0002316 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAVIANO, ANTONIO
P.O. BOX 110693
LAKEWOOD RANCH, FL 34211                           P‐0002317 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARNER, TRAVIS A.
3289 MONTANO AVE
SPRING HILL, FL 34609                              P‐0002318 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDREWS, RUTH E.
2101 EARLY STREET
LYNCHBURG, VA 24503                                P‐0002319 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DALY, MAUREEN
468 COLLEGE AVE
DEFUNIAK SPRINGS, FL 32435                         P‐0002320 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGEMAN, DAVID S.
3750 SUNWARD DR.
MERRITT ISLAND, FL 32953                           P‐0002321 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALDWIN, BERNICE
10222 PERTHSHIRE CIRCLE
LAND O LAKES, FL 34638                             P‐0002322 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUSHOFF, SUZANNE L.
3376 LEONARDO LANE
NEW SMYRNA BEACH, FL 32168                         P‐0002323 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARMICHAEL, JANICE R.
4480 ENFIELD DRIVE
GAINESVILLE, GA 30506                              P‐0002324 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANRECK, ROBERT
40 NW 3RD ST PH4
MIAMI, FL 33128                                    P‐0002325 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HYE, ROBERT W.
STEPHENS‐HYE, ROBIN G.
1495 SE 21ST STREE
OKEECHOBEE, FL 34974                                P‐0002326 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUCZAK, ROSA B.
1622 ARBORETUM TRACE
CARY, NC 27518                                      P‐0002327 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, ANGELA M.
1111 OAKLEY INDUSTRIAL BLVD
APT 8104
FAIRBURN, GA 30213                                  P‐0002328 10/23/2017    TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
HICKMAN, JERRY D.
1703 MOUNTAIN VIEW AVE
ALAMOGORDO, NM 88310                                P‐0002329 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOSICK, RICHARD A.
NOVAK, KATHLEEN A.
302 ANGUS DRIVE
COLUMBIA, SC 29223‐7758                             P‐0002330 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOURDOUZE, ROBBYN A.
4315 36TH AVENUE EAST
TUSCALOOSA, AL 35405                                P‐0002331 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORDOGNA, MARTHA C.
1501 FLAGSTONE LANE
APARTMENT 208
INDIAN TRAIL, NC 28079                              P‐0002332 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, KATHLEEN A.
310 SELLERS STREET
OAK ISLAND, NC 28465                                P‐0002333 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, MELISSA K.
6495 N. WINDWOOD DR
WEST CHESTER, OH 45069                              P‐0002334 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEURKAMP, MARK
6057 CHAMBLEE DR.
LOVELAND, OH 45140                                  P‐0002335 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUTZ, BARBARA S.
3069 S PONTE VEDRA BLVDS
PONTE VEDRA BEAC, FL 32082                          P‐0002336 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMES, MELANIE M.
JAMES, ROBERT L.
MELANIE AND ROBERT JAMES
7025 HIGHLAND WAY
BELMONT, NC                                         P‐0002337 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IBRAHIM, HAZEM
18 NEW HOPE ROAD
MONTEVALLO, AL 35115                                P‐0002338 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIFFORD, JENNIFER M.
8165 SE 3RD CT
OCALA, FL 34480                                     P‐0002339 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYLES, GARRY M.
LYLES, DIANE M.
121 CHADRICK DR.
MADISON, AL 35758                                   P‐0002340 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
RENCHER, FAYE H.
RENCHER, TERRENCE L.
18880 CAMINITO CANTILENA
UNIT 44
SAN DIEGO, CA 92128                                 P‐0002341 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BILLER, APRIL E.
115 TIDECREST PARKWAY
UNIT 3101
PONTE VEDRA, FL 32082                               P‐0002342 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRETT, CARMEN T.
1353 AUDUBON RD
MAITLAND, FL 32751                                  P‐0002343 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NUTALL, TROY A.
NO ADDRESS PROVIDED
                                                    P‐0002344 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENDIRATTA, BECKY C.
1467 SHELTER ROCK ROAD
ORLANDO
, FL 32835                                          P‐0002345 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCRARY, CHRISTIAN G.
4933 CASCADE POOLS AVENUE
LAS VEGAS, NV 89131                                 P‐0002346 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENCHER, FAYE H.
RENCHER, TERRENCE L.
18880 CAMINITO CANTILENA
UNIT 44
SAN DIEGO, CA 92128                                 P‐0002347 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUERVO, KIM A.
10 AERIE COURT
COLUMBIA, SC 29212                                  P‐0002348 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAXWELL, ROSARITO
P.O BOX 122
KIOWA, OK 74553                                     P‐0002349 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANNA, DON E.
11866 HWY 412 E
LOCUST GROVE, OK 74352                              P‐0002350 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GADDY, SAMUEL W.
GADDY, EVA M.
3010 NW 170TH ST.
NEWBERRY, FL 32669                                  P‐0002351 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, DEBORAH D.
2813 N RIVER RD
ST ANTHONY, ID 83445                                P‐0002352 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROKER, JAMES P.
250 N ARCADIA #1423
TUCSON, AZ 85711                                    P‐0002353 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARREN, JAMES E.
273 BUFFINGTON RD
STEELE, AL 35987                                    P‐0002354 10/23/2017    TK Holdings Inc., et al .                     $700.00                                                                                       $700.00
ABLEMAN, MARK
3356 PAISLEY POINTE
WHITESTOWN, IN 46075                                P‐0002355 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOSEPH, EDOUARD R.
23302 OXNARD ST
WOODLAND HILLS, CA 91367                            P‐0002356 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
NEWBERRY, THOMAS W.
106 WESTCREEK WAY
GREENVILLE, SC 29607                                P‐0002357 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, MELISSA R.
1714 FORT GRANT DR
ROUND ROCK, TX 78665                                P‐0002358 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEERS, TIMOTHY A.
BEERS, SUSAN K.
7533 ARDWELL DRIVE
INDIANAPOLIS, IN 46237                              P‐0002359 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEMAN, THOMAS K.
149 REHOBOTH LANE
MOORESVLLE, IL 28117                                P‐0002360 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAIS, ERIKA
2118 SE MORNINGSIDE BLVD
PORT ST. LUCIE, FL 34952                            P‐0002361 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORELLI, GAIL D.
TORELLI, ANTHONY J.
275 ROCKBOURNE CT
WESTERVILLE, OH 43082                               P‐0002362 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, MELISSA R.
1714 FORT GRANT DR
ROUND ROCK, TX 78665                                P‐0002363 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIETROWICZ, DANIELLE
2537 AIKIN CIRCLE SOUTH
LEWIS CENTER, OH 43035                              P‐0002364 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOSEPH, CHRISTINE N.
23302 OXNARD ST
WOODLAND HILLS, CA 91367                            P‐0002365 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARUA, SUBRATA P.
3156 COMBS CT.
VILLAGES, FL 32163                                  P‐0002366 10/23/2017    TK Holdings Inc., et al .                   $56,000.00                                                                                   $56,000.00
CASAS, ANNA S.
306 DANUBE AVE APT 1
TAMPA, F 33606                                      P‐0002367 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONG, CAROL
716 COUNTRY MEADOW DRIVE
MURPHY, TX 75094                                    P‐0002368 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSCH, STEVEN D.
2056 LOST PINES CIRCLE
HENDERSON, NV 89074                                 P‐0002369 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, DONALD K.
1658 E. SANDRIDGE CT. SW
OCEAN ISLE BEACH, NC 28469                          P‐0002370 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, ANITA J.
3132 CARVER DRIVE
FORT VALLEY, GA 31030                               P‐0002371 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSMAN, ZEHRA S.
2251 SPRUCE LANE, #D
PALM HARBOR, FL 34684                               P‐0002372 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCINNIS, LATIS
366 LEIGH LANE
STONEWALL, LA 71078                                 P‐0002373 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOSEPH, CHRISTINE N.
23302 OXNARD ST
WOODLAND HILLS, CA 91367                            P‐0002374 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
HAYES, LEE
HAYES, DEBORAH
209 BRIDDLE BOAST RD.
CARY, NC 27519                                     P‐0002375 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORDON, JUDITH F.
773 SW BLUE STEM WA
STUART, FL 34997                                   P‐0002376 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSCH, STEVEN D.
2056 LOST PINES CIRCLE
HENDERSON, NV 89074                                P‐0002377 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAUCHUT, JUDITH
5649 NW 125TH AVE.
CORAL SPRINGS, FL 33076                            P‐0002378 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISLOW, JEFFREY S.
6356 FRANKLIN RIDGE DR
EL PASO, TX 79912                                  P‐0002379 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALONGE, JOHN N.
ALONGE, JOHN
PILLARHOMEINVESTMENTS
4842 YACHT BASIN DRIVE
JACKSONVILLE, FL 32225                             P‐0002380 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARRIS, MARY L.
PARRIS, WINFRED G.
2241 BLACKOAK BEND
SAN ANTONIO, TX 78248                              P‐0002381 10/23/2017    TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
PROULX, KIMBERLY K.
2926 LANDTREE PLACE
ORLANDO, FL 32812                                  P‐0002382 10/23/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
PUTNAM, ROGER G.
103 SCISM RD
KINGS MOUNTAIN, NC 28086                           P‐0002383 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESPADA, RICHARD
9838 OLD BAYMEADOWS RD
UNIT 201
JACKSONVILLE, FL 32256                             P‐0002384 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, JON E.
3749 LOCKSLEY DRIVE
BIRMINGHAM, AL 35223                               P‐0002385 10/23/2017    TK Holdings Inc., et al .                    $8,800.00                                                                                    $8,800.00
MICHETTI, LOUIS E.
MICHETTI0346, MARY A.
4515 OLD MOULTON RD
DECATUR, AL 35603                                  P‐0002386 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, TONYA L.
5413 WHEATCROSS PLACE
RALEIGH, NC                                        P‐0002387 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OYE, VINCENT J.
102 HAMPTON HALL BOULEVARD
BLUFFTON, SC 29910                                 P‐0002388 10/23/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
GORDON, ARTHUR R.
CYNTHIA W.
410 STATHAMS WAY
WARNER ROBINS, GA 31088                            P‐0002389 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCKLES, CHRISTINE
BUCKLES, TIM
223 ELAM ST
GORDON, GA 31031                                   P‐0002390 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
FOWLER, JAMES E.
FOWLER, MARY H.
9627 WALDROP DR. SE
HUNTSVILLE, AL 35803‐2619                           P‐0002391 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OYE, VINCENT J.
102 HAMPTON HALL BOULEVARD
BLUFFTON, SC 29910                                  P‐0002392 10/23/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
HOSSEINIPOUR, MORTEZA S.
3883 HABITAT DR
COLUMBUS, OH 43228                                  P‐0002393 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, JON E.
3749 LOCKSLEY DRIVE
BIRMINGHAM, AL 35223                                P‐0002394 10/23/2017    TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
DELLIS, HERSCHEL H.
DELLIS, ANN
7203 BRISCOE VISTA WAY
LOUISVILLE, KY 40228                                P‐0002395 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERRY, DANIEL P.
2272 WYNTERBROOK DR
HIGHLANDS RANCH, CO 890126                          P‐0002396 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACH, JENNIFER M.
409 MYRLE DRIVE
HURST, TX 76053‐6629                                P‐0002397 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, LASANDRA
21702 RAINFALL PARK DR
SPRING, TX 77388                                    P‐0002398 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWE, DAVID C.
LOWE, ELIZABETH M.
96342 OTTER RUN DRIVE
FERNANDINA BEACH, FL 32034                          P‐0002399 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRON, DONNA
2181 RICE FIELD RD.
BEAUMONT, TX 77713                                  P‐0002400 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEELE, BENJAMIN J.
KEELE, CHRISTY M.
4501 WINTHROP AVE
INDIANAPOLIS, IN 46205                              P‐0002401 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FILS‐AIME, JENNIFER F.
14625 NW 11TH COURT
MIAMI, FL 33168‐6951                                P‐0002402 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OATES, DEBORAH L.
8825 SW 160 STREET
PALMETTO BAY, FL 33157                              P‐0002403 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IMBROGNO, ANDRE R.
5133 SCHUYLKILL STREET
COLUMBUS, OH 43220                                  P‐0002404 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ATKINSON, TERRI L.
502 WOOD HVN
LIVINGSTON, TX 77351                                P‐0002405 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONSLOW GRADING & PAVING, INC.
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                         P‐0002406 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FULTZ, CHRISTOPHER D.
2509 EWELL DR
LEAGUE CITY, TX 77573                               P‐0002407 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
KIRBY, JOHN M.
610 RAGWOOD RD
ARLINGTON, TX 76002                                  P‐0002408 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTY, CORIE A.
5133 SCHUYLKILL STREET
COLUMBUS, OH 43220                                   P‐0002409 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, GREG A.
641 SE 1ST STREET
DEERFIELD BEACH, FL 33441                            P‐0002410 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIDEKO, CLIFFORD J.
207 SE 15TH AVENUE
FORT LAUDERDALE, FL 33301                            P‐0002411 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, GEORGE M.
JACKSON, DIANE I.
16880 SE 251ST TERRACE
UMATILLA, FL 32784                                   P‐0002412 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILES, ANGELA L.
3833 NEW CUT ROAD
INMAN, SC 29349                                      P‐0002413 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, JEFFERY C.
127 OSSABAW LANE
LEESBURG, GA 31763                                   P‐0002414 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, DIANE I.
JACKSON, GEORGE JACK M.
16880 SE 251ST TERRACE
UMATILLA, FL 32784                                   P‐0002415 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIS, CHARLES F.
228 COUNTY ROAD 3049
DOUBLE SPRINGS, AL 35553                             P‐0002416 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIVINS, ELLEN K.
314 WILLIAMSON MILL RD
JONESBORO, GA 30236                                  P‐0002417 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALLAHAN, CAROLYN M.
5138 SHOREGATE DR
GARLAND, TX 75043                                    P‐0002418 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARLINE, JACQUESSIA M.
44 REID STREET APT G
CHARLESTON, SC 29403                                 P‐0002419 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCULLOUGH, WILLIAM E.
502 CREEKSIDE COURT
ALBANY, GA 31721                                     P‐0002420 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DEBRA L.
212 PALESTINE RD
LINDEN, NC 28356                                     P‐0002421 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLINS III, ROBIN E.
740 COLLIER FALLS AVE
LAS VEGAS, NV 89139                                  P‐0002422 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUSSO, KATHARINE F.
2720 16TH PL S
BIRMINGHAM, AL 35209                                 P‐0002423 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROE, THOMAS J.
805 LINDEN DRIVE
LOUISVILLE, KY 40223                                 P‐0002424 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
FORBES, LAURESSE
TAKATA
404 HEIGHTS LANE APT.B
FORTWORTH, TX 76112                                  P‐0002425 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRELL, MICHAEL O.
6901 SHAMROCK CT
GARLAND, TX 75044                                    P‐0002426 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIS, CHARLES F.
228 COUNTY ROAD 3049
DOUBLE SPRINGS, AL 35553                             P‐0002427 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIGSBY, VICKI A.
2414 MISTY FALLS CT
RICHMOND, TX 77406                                   P‐0002428 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, YOLANDA D.
2406 REGINA ROAD
ALBANY, GA 31705                                     P‐0002429 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MABANAG, LEONARD H.
1003 RAINBOW ROCK STREET
LAS VEGAS, NV 89123                                  P‐0002430 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUSICK, LAWRENCE R.
MUSICK, MELINDA M.
12443 CORONADO DR.
SPRING HILL, FL 34609                                P‐0002431 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUSICK, MELINDA M.
MUSICK, LAWRENCE R.
12443 CORONADO DR.
SPRING HILL, FL 34609                                P‐0002432 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TK HOLDINGS INC
3120 SHADY OAKS DRIVE
BROWNWOOD, TX 76801                                  P‐0002433 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINES, JOANNA C.
2317 ACADIANA LN
SEABROOK, TX 77586                                   P‐0002434 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TERRACINA, STEPHEN J.
6152 SE 125 PLACE
BELLEVIEW, FL 34420                                  P‐0002435 10/23/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
ADA, RAVI
4440 FAIRWAY DR
CARROLLTON, TX 75010                                 P‐0002436 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUTZ, DALE F.
3069 S PONTE VEDRA BLVD
PONTE VEDRA BEAC, FL 32082                           P‐0002437 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHETTI, CYNTHIA L.
189 AZALEA POINT DR S
PONTE VEDRA BEAC, FL 32082                           P‐0002438 10/23/2017    TK Holdings Inc., et al .                     $750.00                                                                                       $750.00
P., DAVID
468 BAR CT
POINCIANA, FL 34759                                  P‐0002439 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORELLI, GAIL D.
TORELLI, ANTHONY J.
275 ROCKBOURNE CT
WESTERVILLE, OH 43082                                P‐0002440 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, GLENN A.
14595 HOOPER RANCH RD
WILLIS, TX 77378                                     P‐0002441 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BERRY, LORI S.
1604 DICKENS ST
CHARLESTON, SC 29407                                P‐0002442 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAVONE, DAVID
468 BAR CT
POINCIANA, FL 34759                                 P‐0002443 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANROE, HELEN D.
4115 CIMMARON TR.
GRANBURY, TX 76049                                  P‐0002444 10/23/2017    TK Holdings Inc., et al .                    $6,100.00                                                                                    $6,100.00
WRIGHT, SYLVIA
169 CLAIRMONT ROAD
STERRETT, AL 35147‐7011                             P‐0002445 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDGE III, OSCAR
120 WESSEX DRIVE
BONAIRE, GA 31005                                   P‐0002446 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, JR., JOSEPH L.
2700 COLEBERRY TRL.
ROCKY MOUNT, NC 27804‐2112                          P‐0002447 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMS, ASHLEY L.
9618 BALSA DRIVE
SHREVEPORT, LA 71115                                P‐0002448 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHEELER JR, JAMES H.
919 FOREST HILLS DRIVE
HENDERSON, NC 27537                                 P‐0002449 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDGE III, OSCAR
120 WESSEX DRIVE
BONAIRE, GA 31005                                   P‐0002450 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, JAMES C.
8161 PINE LAKE RD
JACKSONVILLE, FL 32256                              P‐0002451 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWIFT, PAUL
311 PARC OAKS CT.
ALEDO, TX 76008                                     P‐0002452 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDGE III, OSCAR
120 WESSEX DRIVE
BOANIRE, GA 31005                                   P‐0002453 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPARKS, RETHA M.
SPARKS, TIMOTHY R.
806 RIDGEPOINT DRIVE
INDEPENDENCE, KY 41051                              P‐0002454 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINHAS, ELIO
169 CLAIRMONT ROAD
STERRETT, AL 35147‐7011                             P‐0002455 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHROYER, WARREN J.
140 SOUTH FORK DRIVE
SUN VALLEY, NV 89433‐6943                           P‐0002456 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JANDICK, MICHAEL A.
JANDICK, REBEKAH S.
2106 ISLAND VILLAS DR
LEAGUE CITY, TX 77573                               P‐0002457 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAUNDERS, KATRINA R.
293 TIMBERWIND DR.
BYRON, GA 31008                                     P‐0002458 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GISCHEL, GARY C.
901 FOX RIDGE PLACE
WILMINGTON, NC                                      P‐0002459 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BUTT, DAN E.
P O BOX 6022
SAN ANTONIO, TX 78209‐0022                          P‐0002460 10/23/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
BRUNSON, FRANK G.
BRUNSON, EVELYN K.
468 ISLAND VIEW CIR
FARMINGTON, UT 84025                                P‐0002461 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLANAGAN‐GRANNEM, HELEN M.
210 MONTADALE DRIVE
COLUMBIA, SC 29209‐4271                             P‐0002462 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSOM, BEATRIS M.
8402 E. FOND DU LAC DR.
TUCSON, AZ 85730                                    P‐0002463 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TREVINO, TERRI M.
1700 THAMES TRAIL
COLLEYVILLE, TX 76034                               P‐0002464 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, CATHERINE J.
DOZIER, BARBARA C.
113 NEWPORT DRIVE
FLORENCE, AL 35630                                  P‐0002465 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENIX, TRUDIE A.
HENIX, MICHAEL
1134 N KIRKWOOD DR
SHREVEPORT, LA 71118‐4814                           P‐0002466 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEIN, ALFRED P.
1803 N WATERVIEW DR
RICHARDSON, TX 75080                                P‐0002467 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFIN, KATHLEEN
GRIFFIN, JOHN R.
12434 WHITE FEATHER DR
JACKSONVILLE, FL 32225                              P‐0002468 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANFORTH, BRIAN
1465 20TH CT SW
VERO BEACH, FL 32962                                P‐0002469 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, BEATRIS
NO ADDRESS PROVIDED
                                                    P‐0002470 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GISCHEL, ELIZABETH A.
901 FOX RIDGE PLACE
WILMINGTON, NC 28405                                P‐0002471 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOWLER, JAMES E.
FOWLER, MARY H.
9627 WALDROP DR SE
HUNTSVILLE, AL 35803‐2619                           P‐0002472 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWELL, AMANDA T.
401 MONUMENT RD APT 174
JACKSONVILLE, FL 32225                              P‐0002473 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, KRISTEN L.
49 E MAGNOLIA STREET
MCRAE, GA 31055                                     P‐0002474 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNEFIELD, SAMUEL M.
12294 DEWHURST CIRCLE
JACKSONVILLE, FL 32218                              P‐0002475 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTILLO, YANIRA
3006 NW 25TH ST
FORT WORTH, TX 76106                                P‐0002476 10/23/2017    TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SEIB, JOHN A.
1500 BUZZARD HIGH ST
WIMBERLEY, TX 78676                                   P‐0002477 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLBAUGH, PEGGY J.
1008 RIVER HAVEN CR.
APT. C
CHARLESTON, SC 29412                                  P‐0002478 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRKINDALL, ARTHUR S.
KIRKINDALL, MELISSA W.
105 CAMBRIDGE TRAIL
MADISON, AL 35758                                     P‐0002479 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHETTI, MARY A.
LOUIS E MIC
4515 OLD MOULTON RD
DECATUR, AL 35603                                     P‐0002480 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAPP, WANDA P.
1002 COLLEGE STREET
EL CAMPO, TX 77437/2807                               P‐0002481 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELMORE, DAVID E.
2312 S. PLEASANT FOREST ST.
ARLINGTON, TX 76015‐4505                              P‐0002482 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOWLER, JAMES E.
FOWLER, MARY H.
9627 WALDROP DR SE
HUNTSVILLE, AL 35803‐2619                             P‐0002483 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHULMAN, GREG A.
SHULMAN, CHERYL L.
2521 MILLINGTON DR
PLANO, TX 75093                                       P‐0002484 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALNAR, ROBERT J.
MALNAR, PEGGY L.
805 SHUMARD PEAK RD.
GEORGETOWN, TX 78633                                  P‐0002485 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBBINS, JON M.
2808 TELLURIDE LN
RICHARDSON, TX 75082                                  P‐0002486 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, JENNIFER L.
RODRIGUEZ, ALEXANDER O.
970 WORTHINGTON COURT
OVIEDO, FL 32765                                      P‐0002487 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, TIMOTHY R.
5825 CHARLESTON LANE
CUMMING, GA 30041                                     P‐0002488 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COBBS, SHAMEKA M.
126 MORNINGSIDE LANE
SAINT GEORGE, SC 29477                                P‐0002489 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUCAS, TRUMAE C.
1937 ALLYSON AVE
GREENSBORO, NC 27405                                  P‐0002490 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAMBLE, CINDY
3354 AIRPORT RD
OXFORD, AL 36203                                      P‐0002491 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, TIMOTHY R.
5825 CHARLESTON LANE
CUMMING, GA 30041                                     P‐0002492 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HOEHN, JAMES C.
1725 ALTURA AVE
LAS CRUCES, NM 88001                                P‐0002493 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONSLOW GRADING & PAVING, INC.
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                         P‐0002494 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERR‐SUTTON, CORSHEENA
P.O. BOX 622
WELDON, NC 27890                                    P‐0002495 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERRY, DANIEL P.
2272 WYNTERBROOK DR
HIGHLANDS RANCH, CO 80126                           P‐0002496 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKROBOT, DAVID M.
5042 BATESON BEACH DRIVE NE
THORNVILLE, OH 43076                                P‐0002497 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TK HOLDINGS INC
3120 SHADY OAKS DRIVE
BROWNWOOD, TX 76801                                 P‐0002498 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRUPP, DAVID R.
15 SLAUGHTER DR
WAVERLY HALL, GA 31831                              P‐0002499 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LO TRUGLIO, JOSEPH P.
LO TRUGLIO, HELEN T.
418 BONITA AVE
PASADENA, CA 91107                                  P‐0002500 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, MINXING
3327 E CEDAR HOLLOW DR
PEARLAND, TX 77584                                  P‐0002501 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATTERSON, DEBBIE L.
616 LOBLOLLY DRIVE
VASS, NC 28394                                      P‐0002502 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, LYDIA K.
P.O. BOX 160
PINE MTN VALLEY, GA 31823                           P‐0002503 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, MINXING
3327 E CEDAR HOLLOW DR
PEARLAND, TX 77584                                  P‐0002504 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOHN, ABIGAIL A.
11681 61ST ST N
WEST PALM BEACH, FL 33412                           P‐0002505 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAIRCHILD, DOUGLAS D.
39 DAVIS ROAD
RICHMOND HILL, GA 31324                             P‐0002506 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TESH, HERBERT S.
1489 MARY ELLEN DRIVE
FORT MILL, SC 29708                                 P‐0002507 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESLATTE, DAVID J.
687 WEST KITCHEN DRIVE
PORT NECHES, TX 77651                               P‐0002508 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, MARONDA P.
7637 HWY 18 E
BANKSTON, AL 35542                                  P‐0002509 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREWSTER, JOHNATHAN R.
1815 WAYSIDE DR.
BRYAN, TX                                           P‐0002510 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
FAIRCHILD, DOUGLAS D.
39 DAVIS ROAD
RICHMOND HILL, GA 31324                             P‐0002511 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIPMAN, BRYAN
11 MAMIE BELL CIRCLE
LILLINGTON, NC 27546                                P‐0002512 10/23/2017    TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
DESLATTE, DAVID J.
687 WEST KITCHEN
PORT NECHES, TX 77651                               P‐0002513 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESLATTE, DAVID J.
687 WEST KITCHEN DR
PORT NECHES, TX 77651                               P‐0002514 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIGGS, MARCUS
GRIGGS, KIM
218 ADVENTUS CT
MANSFIELD, TX 76063                                 P‐0002515 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, JOHN
604 NOTTINGHAM LN
DICKINSON, TX 77539                                 P‐0002516 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEARNE, LINDA
6928 QUAIL MEADOW DRIVE
WATAUGA, TX 76148                                   P‐0002517 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHULLI, JOHN A.
NO ADDRESS PROVIDED
                                                    P‐0002518 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESLATTE, DAVID J.
687 WEST KITCHEN DR
PORT NECHES, TX 77651                               P‐0002519 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLARDO, LILIAN O.
8430 SW 122 ST
MIAMI, FL 33156                                     P‐0002520 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEYRICHPARDO, ELISA H.
3412 MEADOW DR.
AMARILLO, TX 79109                                  P‐0002521 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEBUS, KANDI R.
177 CUMBERLAND ISLAND CIRCLE
PONTE VEDRA, FL 32081                               P‐0002522 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBS IV, LIONEL M.
5300 W PASEO DEL BARRANCO
TUCSON
TUCSON, AZ 87545‐9676                               P‐0002523 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELLOR, MATTHEW A.
9388 TOPANZA CANYON STREET
LAS VEGAS, NV 89123                                 P‐0002524 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HLAD, DENNIS F.
HLAD, JOANNE G.
200 PINOT CT
CHAPEL HILL, NC 27517                               P‐0002525 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENENDEZ, RAMON L.
2333 FAIRPORT DR SE
CONCORD, NC 28025                                   P‐0002526 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY, JACOB A.
1703 HARBERT VALLEY RD
TOCCOA, GA 30577                                    P‐0002527 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CARNEY, KRISTI M.
5860 E MICHIGAN ST
INDIANAPOLIS, IN 46219                              P‐0002528 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HYATT, CHRISTOPHER L.
HYATT, HEATHER D.
1813 ALBERTA LANE
WINDER, GA 30680                                    P‐0002529 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MISHLER, TRAVIS
MISHLER, SARA
7506 GLENSTONE ST
ROWLETT, TX 75089                                   P‐0002530 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GURNO, MICHELE L.
14600 COTTAGEVIEW LANE
#415
FORT WORTH, TX 76155                                P‐0002531 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, JR., JOSEPH L.
2700 COLEBERRY TRL.
ROCKY MOUNT, NC 27804‐2112                          P‐0002532 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOZANO, RAMIRO
4615 SAINT ANDREWS DR.
COLLEGE STATION, TX 77845                           P‐0002533 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, AUDREY
5685 BEARS PAW COURT
WESTERVILLE, OH 43081                               P‐0002534 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, ALAN B.
P.O. BOX 160
PINE MTN VALLEY, GA 31823                           P‐0002535 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, LARRY L.
9296 ANGEL VIEW LN
KIMBERLY, AL 35091                                  P‐0002536 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEMAN, ROCKY J.
12309 GLEN OAK AVENUE
NEW PORT RICHEY, FL 34654                           P‐0002537 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORES, MICHAEL
3208 WISTERIA AVE
MCALLEN, TX 78504                                   P‐0002538 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUNSON, FRANK G.
BRUNSON, EVELYN K.
                                                    P‐0002539 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHETH, RAKESH
1722 MAPLE OAK DR
CHARLOTTE, NC 28270                                 P‐0002540 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, TOMESHYA M.
205 HANNAH CT
BARNESVILLE, GA 30204                               P‐0002541 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYES, JOHN W.
102 SUNDANCE CT
SUMMERVILLE, SC 29486                               P‐0002542 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHETH, NEHA
1722 MAPLE OAK DR
CHARLOTTE, NC 28270                                 P‐0002543 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAKES, DEREK P.
4755 HEATH HILL RD
COLUMBIA, SC 29206                                  P‐0002544 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SEAGROVE, VIVIAN J.
19 UPMINSTER BLDG A
DEERFIELD BEACH, FL 33442                            P‐0002545 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILENSKI, THOMAS R.
WILENSKI, YOKO
1030 E 4525 S
OGDEN, UT 84403                                      P‐0002546 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTGOMERY, RONALD W.
177 PRIVATE ROAD 3135
DECATUR, TX 76234                                    P‐0002547 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOLES, MARTIN
BRENNER, ANDREA
9 DEVONSHIRE LANE
GREAT NECK, NY 11023                                 P‐0002548 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FELLER PARMER, WANDA L.
6060 BECK RD
SAN ANTONIO, TX 78263                                P‐0002549 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIGHFILL, CALTON R.
1057 CORNELL DR.
CARROLLTON 75007                                     P‐0002550 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANDERS, DARIEN C.
203 GRIFFITH ST
WINDER, GA 30680                                     P‐0002551 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PACHECO, CARLOS
PACHECO, LINDA A.
4122 BEARD
CORPUS CHRISTI                                       P‐0002552 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRICKLAND, ROBERT O.
60 CANYONS CT.
HAMPTON, GA 30228                                    P‐0002553 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, BRENDA R.
1935 MUSTANG SPRING DR
MISSOURI CITY, TX 77459                              P‐0002554 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ODOM, KATIE L.
2500 ELIZABETH DRIVE
PELHAM, AL 35124                                     P‐0002555 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEAGROVE, VIVIAN J.
19 UPMINSTER BLDG A
DEERFIELD BEACH, FL 33442                            P‐0002556 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERCE, CHRISTOPHER A.
6511 KENTDALE COURT
CHARLOTTE, NC 28270                                  P‐0002557 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSEN, ANTHONY
1601 NE 191 ST #206
MIAMI, FL 33179                                      P‐0002558 10/23/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MARTIN, JUDY R.
170 TEFEL WEST DR
HARTWELL, GA 30643                                   P‐0002559 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARRACEDO, CHRISTINA
908 WATERSIDE DRIVE
CELEBRATION, FL 34747                                P‐0002560 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITTLE, JESSICA
1796 CAMPBELL CT.
FRISCO, TX 75034                                     P‐0002561 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SMITTLE, MIKE
1796 CAMPBELL CT.
FRISCO, TX 75034                                     P‐0002562 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUCKER NARTEY, CAROLINE L.
122 POPLAR WOODS DRIVE
CONCORD, NC 28027                                    P‐0002563 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIMS TAYLOR, LASHONDA R.
105 LOVE DR
MONROE                                               P‐0002564 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLAZEK, HEATH R.
P O BOX 364
TOMBALL, TX 77377                                    P‐0002565 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODMAN, JANA E.
GOODMAN, BOBBY E.
3108 S NELSON
AMARILLO, TX 79103                                   P‐0002566 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RILEY, JAMES M.
431 PRINCETON WAY
LAWRENCEVILLE, GA 30044                              P‐0002567 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLAZEK, HEATH R.
P O BOX 364
TOMBALL, TX 77377                                    P‐0002568 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARLTON, LAURIE
CARLTON, JACOB
29623 RAESTONE ST
SPRING, TX 77386                                     P‐0002569 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INGSTRUM, CHRISTOPHER M.
INGSTRUM, JENNIFER R.
7261 TIN STAR DRIVE
FORT WORTH, TX 76179                                 P‐0002570 10/23/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
NORMAN, DANIEL R.
362 MCKELL RD
CHILLICOTHE, OH 45601                                P‐0002571 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYONS, YANIQUE A.
777 NW 155TH LN APT 412
MIAMI, FL 33169                                      P‐0002572 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YORK, TAYLOR L.
YORK, JACKIE D.
238 MAIN ST, APT 4
WHITESBURG, KY 41858                                 P‐0002573 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, LANIESHA
604 GREENWAY STREET
BELTON, TX 76513                                     P‐0002574 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENTLEY, NICOLE I.
211 CANDLENUT CT
HARVEST                                              P‐0002575 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, REX
2829 OLD WACO RD
TEMPLE, TX 76502                                     P‐0002576 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, EDWIN G.
3638 DENNISON AVE
DOLOMITE, AL 35061‐1105                              P‐0002577 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, JUDY E.
5118 CLEWIS AVENUE
TAMPA, FL 33610                                      P‐0002578 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
JUMPER, GREGORY L.
6601 E VIA ALGARDI
TUCSON, AZ 85750                                      P‐0002579 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIMS, GEORGE W.
DILLARD‐NIMS, KEISHA K.
                                                      P‐0002580 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRISON, SANDRA L.
5426 HAMMOCK GLEN DR
INDIANAPOLIS, IN 46235                                P‐0002581 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROLEY, KIMBERLY I.
760 EMERALD FOREST CIRCLE
LAWRENCEVILLE, GA 30044                               P‐0002582 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRETT JR, WALTER D.
104 SUNNYSIDE DRIVE
BOX SPRINGS, GA 31801                                 P‐0002583 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DONN S.
7615 S FITZGERALD ST
TAMPA, FL 33616                                       P‐0002584 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LITTL, SUSAN P.
6770 WINFIELD BLVD
MARGATE, FL 33063                                     P‐0002585 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, RICHARD C.
3633 WILDERNESS BLVD. W.
PARRISH, FL 34219                                     P‐0002586 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOOJIN, RENE L.
22040 CAREY ROAD
ATHENS, AL 35614                                      P‐0002587 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, ANNETTE
1630 MARIETTA ST
SEASIDE, CA 93955                                     P‐0002588 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIKORA, KENNETH R.
404 DUBLIN ST
LEWISVILLE, TX 75067                                  P‐0002589 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARPER, LAVONDA M.
309 ISAAC STREET
COLUMBIA, SC 29203                                    P‐0002590 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THIELMANN, DAVID L.
THIELMANN, LISA M.
1324 HUFFINE RD
JOHNSON CITY, TN 37604                                P‐0002591 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, ELAINE M.
7409 ABERDEEN DR
FORT WORTH, TX 76116                                  P‐0002592 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYERS, MELISSA A.
716 NORTH SHADOWBROOK DRIVE
COLUMBIA, SC 29223                                    P‐0002593 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, DIANA X.
ALPINE REALTY MANAGEMENT
11 3RD AVE
PORT WASHINGTON, NY 11050                             P‐0002594 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VEST, DANIEL J.
310 N 4TH ST
MIAMISBURG, OH 45342                                  P‐0002595 10/23/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
LEMON, MICHAEL R.
2766 JODECO DR.
JONESBORO, GA 30236                                   P‐0002596 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
WEST, RICHARD A.
2749 S SHERMAN ST
ENGLEWOOD, CO 80113                                P‐0002597 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POPOFF, KIRA R.
P.O. BOX 40
RICHBURG, SC 29729                                 P‐0002598 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELAM, JANET S.
6327 EVANSTON AVE
INDIANAPOLIS, IN 46220                             P‐0002599 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENS, DAWNA R.
731 ETHAN GLEN WAY
MELBOURNE, FL 32940                                P‐0002600 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CABLE, NICOLAS L.
CABLE, HARRIET L.
615 STONEGATE DRIVE
COLUMBUS, IN 47201                                 P‐0002601 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPS, JUAN CARLOS
1250 ALTON ROAD
UNIT # 5D
MIAMI BEACH, FL 33139                              P‐0002602 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA DE LEON, DARIO O.
10426 YELLOW SPICE CT
RIVERVIEW, FL 33578                                P‐0002603 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYRICK, MELISSA V.
11109 NW 39TH ST APT 304
SUNRISE, FL 33351                                  P‐0002604 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, MARY L.
12709 CEDAR ST
AUSTIN, TX 78732                                   P‐0002605 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VEST, DANIEL J.
310 N 4TH ST
MIAMISBURG, OH 45342                               P‐0002606 10/23/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
DAILY, KEVIN
1391 WEST 3325 SOUTH
PERRY, UT 84302                                    P‐0002607 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOMQUIST, TIFFANY A.
BLOMQUIST, JOSHUA N.
368 DOLCE DR
DUNDEE, FL 33838                                   P‐0002608 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULLEY, ALAN D.
7741 BOLTON ROAD
INDIAN LAND, SC 29707                              P‐0002609 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOGALE, MELAKU A.
4801 OAKWOOD DR APT 1704
ODESSA, TX 79761                                   P‐0002610 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORTON, DAVID M.
1045 COUNTY ROAD 3210
MT. PLEASANT, TX 75455                             P‐0002611 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIAKAN, EBRAHIM
5119 OAK LN
ARLINGTON, TX 76017                                P‐0002612 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULLEY, ALAN D.
7741 BOLTON ROAD
INDIAN LAND, SC 29707                              P‐0002613 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BAKER, HERBERT H.
112 CRYSTAL REEF DR.
LEAGUE CITY, TX 77573                               P‐0002614 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LE, UYEN B.
20302 STARFINDER WAY
TAMPA FL 33647                                      P‐0002615 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANGEVIN, CHRISTINE A.
630 BANNERMAN LANE
FORT MILL, SC 29715                                 P‐0002616 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KASE, ROBERT D.
15 WEBB CREEK PLACE
THE WOODLANDS, TX 77482                             P‐0002617 10/23/2017    TK Holdings Inc., et al .                     $400.00                                                                                       $400.00
WALKINSHAW, ERIC
9625 WINTERS END TRL
MIAMISBURG, OH                                      P‐0002618 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKROBOT, BETSY K.
5042 BATESON BEACH DRIVE NE
THORNVILL, OH 43076                                 P‐0002619 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOMQUIST, JOSHUA N.
BLOMQUIST, TIFFANY A.
368 DOLCE DR
DUNDEE, FL 33838                                    P‐0002620 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COURTNEY, KATHY
COURTNEY, CLIFF
2905 TURTLEROCK DR.
BEDFORD, TX 76021                                   P‐0002621 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODLAND, PETER
9200 E WALNUT TREE DR
TUCSON, AZ 85749                                    P‐0002622 10/23/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
NIAKAN, BARBARA L.
5119 OAK LANE
ARLINGTON, TX 76017                                 P‐0002623 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAUSMAN, EDWARD
115 ANGELINE DRIVE
GRAY, TN 37615                                      P‐0002624 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENE, JAMES M.
GREENE, PEGGY M.
607 RALSTON RAOD
INDIANAPOLIS, IN 46217                              P‐0002625 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURDICK, WILLIAM E.
4802 MCCARTY BLVD
APT 109
AMARILLO, TX 79110                                  P‐0002626 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRATT, ROBERT I.
203 SOUTH SALUDA AVENUE
COLUMBIA, SC 29205                                  P‐0002627 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, HERBERT H.
112 CRYSTAL REEF DR.
LEAGUE CITY, TX 77573                               P‐0002628 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DYE, DARLENE M.
DYE, BRUCE L.
24 AMBLESIDE CRESCENT DR
SUGAR LAND, TX 77479                                P‐0002629 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENDERGRASS, LAWRENCE
14597 SEVEN MILE POST RD
ATHENS, AL 35611                                    P‐0002630 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
STEWARD, JENNIFER L.
STEWARD, BRYAN A.
214 WOODWORTH AVE
MISSOULA, MT 59801                                   P‐0002631 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNOX, NORMA J.
3017 HIGHRIDGE TRAIL
GRAND PRAIRIE, TX 75052                              P‐0002632 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIDEMAN, THOMAS A.
WIDEMAN, KATHRYN E.
2828 RIDGEWOOD DR
GRAPEVINE, TX 76051‐6003                             P‐0002633 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUZIK, AMAELYS D.
2882 ROYAL PALM WAY
TALLAHASSEE, FL 32309                                P‐0002634 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAXTER, JASON
NORMAN, SHANIKA
2924 SUSSEX STREET APT 9
GREENVILLE, NC 27834                                 P‐0002635 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEARS, JOHN W.
569 INDIAN VALLEY DR.
BURLINGTON, NC 27217                                 P‐0002636 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTERFIELD, STEVEN J.
3387 ELIZABETHS WAY
SEYMOUR, IN 37274                                    P‐0002637 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILDAY, SHANON M.
112 SERENITY BAY BLVD
SAINT AUGUSTINE, FL 32080                            P‐0002638 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWERS, JR, JOHN W.
5073 WOODRUN ON TILLERY
MT GILEAD, NC 27306                                  P‐0002639 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, NICOLE P.
2256 PLEASANT BROOK WAY
BURLINGTON, NC 27217                                 P‐0002640 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANN, SHELIA R.
1717 LOUISIANA AVE
PANAMA CITY, FL 32405                                P‐0002641 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARDEN, ADAM S.
3315 SILENT SPRING DRIVE
SUGAR LAND, TX                                       P‐0002642 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FANT, SAMENTA
1406 BECKER DR
KILLEEN, TX 76543                                    P‐0002643 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOODIE, DINA J.
14 REDWOOD COURT
BOYNTON BEACH, FL 33426                              P‐0002644 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAPLES, CHAD L.
STAPLES, ALEXI G.
2806 E RENEE DR
PHOENIX, AZ 85050                                    P‐0002645 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOHNS, SAMUEL F.
1023 BERKELEY ST
APT D
DURHAM, NC 27705                                     P‐0002646 10/23/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
GARDEN, ADAM
3315 SILENT SPRING DRIVE
SUGAR LAND, TX 77479                                 P‐0002647 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
NEUMANN, RENEE A.
1158 S. ALPINE CIR.
GREEN VALLEY, AZ 85614                               P‐0002648 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORT, BETTY A.
3000 OLD RED RANCH ROAD
DRIPPING SPRINGS, TX 78620/4610                      P‐0002649 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAREFIELD, ÉLAN
70 CHEROKEE HILLS
TUSCALOOSA, AL 35404                                 P‐0002650 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEMPLETON, GREGORY E.
2937 MAGNOLIA PARK DR SE
OWENS CROSS ROAD, AL 35763                           P‐0002651 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, NANCY S.
1048 NW 24TH STREET
MOORE, OK 73160                                      P‐0002652 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANTAGES, EFSTRATIOS F.
4210 EAGLE WATCH BLVD
PALM HARBOR, FL 34685                                P‐0002653 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOOJIN, RENE L.
22040 CAREY ROAD
ATHENS, AL 35614                                     P‐0002654 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAUGEN, ANDREW J.
4801 ARIZONA AVENUE
LAS VEGAS, NV 89104                                  P‐0002655 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHAEL, REMY
RAM FAHEL INC
7100 SW 83RD PL
MIAMI, FL 33143                                      P‐0002656 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEXANDER, SHEILA D.
4060 ALEXANDER CROSSING
LOGANVILLE, GA 30052                                 P‐0002657 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, BRANDON
2943 DRAGONWICK DR.
HOUSTON, TX 77045                                    P‐0002658 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, EDGEL C.
BROWN, DOROTHY A.
283 HOCKEY DRIVE
WELAKA, FL 32193                                     P‐0002659 10/23/2017    TK Holdings Inc., et al .                    $1,203.75                                                                                    $1,203.75
WALDBAUM, STANLEY L.
12 HAWK ST,
SPRING VALLEY, NY 10977                              P‐0002660 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRIEST, RUTH O.
PRIEST, CHRISTOPHER M.
2308 ALMON WAY SW
DECATUR, AL 35603                                    P‐0002661 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANTAGES, EFSTRATIOS F.
4210 EAGLE WATCH BLVD
PALM HARBOR, FL 34685                                P‐0002662 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
APARO, FRANK
103 SOUTHERN POINTE DRIVE
MADISON, AL 35758                                    P‐0002663 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, EARNESTINE B.
228 BERKSHIRE LANE
FORT WORTH, TX 76134                                 P‐0002664 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
ELAIGU, DAVID ELAIG O.
26416 85TH AVE
FLORAL PARK, NY 11001                               P‐0002665 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VU, ANH
NGUYEN, HUNG
6104 PROMENADE LN
PEARLAND, TX 77584                                  P‐0002666 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEWITT, MILAGROS
344 ALPINE ST
ALTAMONTE SPRING, FL 32701                          P‐0002667 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTTS, CHARLES O.
109 RIDGEVIEW DR
ATHENS, GA 30606                                    P‐0002668 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWINNEY, KATHLEEN E.
350 MEADOWBROOK RD
AFTON, TN 37616                                     P‐0002669 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARPF, RAE
7 CULVER DRIVE
NEW CITY, NY 10956                                  P‐0002670 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, DIANA X.
ALPINE REALTY MANAGEMENT
11 3RD AVE
PORT WASHINGTON, NY 11050                           P‐0002671 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTILLO, JAIME J.
P.O. BOX 830013
SAN ANTONIO, TX 78283                               P‐0002672 10/23/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
MOORE, PATRICIA R.
2852 EMPIRE PLACE
SANFORD, FL 32773                                   P‐0002673 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAH, TRISTAN L.
1101 BRISTOL ST
ATHENS, AL 35611                                    P‐0002674 10/23/2017    TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
PANTAGES, EFSTRATIOS F.
4210 EAGLE WATCH BLVD
PALM HARBOR, FL 34685                               P‐0002675 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, DAVID
1028 BELLE MEADE DR.
BIRMINGHAM, AL                                      P‐0002676 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OAKES, KAREN L.
3214 HICKORY GROVE LN
PEARLAND, TX 77584                                  P‐0002677 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKINNEY, RAEFELL Y.
7321 ABERDEEN DR.
FORT WORTH, TX 76116                                P‐0002678 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOLZ, DAVID
VOLZ, JANETTE
140 MILEHAM DR
ORLANDO, FL 32835                                   P‐0002679 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLIBER, ALICIA D.
630 ALAMO ST
VIDOR, TX 77662                                     P‐0002680 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGH, RONDA S.
1915 VIA GRANADA
BOYNTON BEACH, FL 33426                             P‐0002681 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
PEARCE, GUY L.
PEARCE, ANGELA W.
P.O. BOX 9106
SALT LAKE CITY, UT 84109                             P‐0002682 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, THOMAS B.
1102 LARKSPUR LANE
SEABROOK, TX 77586                                   P‐0002683 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAPIA, ALBERTO
1915 VIA GRANADA
BOYNTON BEACH, FL 33426                              P‐0002684 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURANT, AREND R.
1117 SW ELEUTHERA AVE
PORT ST LUCIE, FL 34953                              P‐0002685 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOWERS, DONALD W.
10262 HWY 41 S
LEEDS, AL 35094                                      P‐0002686 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINCH, CHRIS R.
120 DRAKEWOOD PLACE
CARY, NC 27518                                       P‐0002687 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, MIRIAM Y.
4801 E YUKON STREET
TAMPA, FL 33617                                      P‐0002688 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILPRIT, WILLIE R.
619 FLOREY AVENUE
KILGORE, TX                                          P‐0002689 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, CEDRIC L.
5507 GRANDE GABLES DR.
RICHMOND, TX 77469                                   P‐0002690 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORES, NIKI L.
FLORES, VICTOR M.
18 SUNVILLA
RENO, NV 89512                                       P‐0002691 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, SHATINA L.
907 LILLIAN ST
TALLULAH, LA 71282                                   P‐0002692 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAFER, JAY A.
SHAFER, ANDREA
7606 CHANTILLY ISLAND CT
LAS VEGAS, NV 89123                                  P‐0002693 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INGRAM, KIZZY S.
10020 STRAFFORD OAK CT.
#924
TAMPA, FL 33624                                      P‐0002694 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEIKH, AHMED G.
26850 US HWY 380 E
APT 6106
AUBREY, TX 76227                                     P‐0002695 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FANT, SAMENTA
1406 BECKER DR
KILLEEN, TX 76543                                    P‐0002696 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHADER, MUSTAFA S.
P.O. BOX 574
SANDY, UT 84091                                      P‐0002697 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOMBERG`, CRYSTAL
2115 YUPON CIRCLE
PEARLAND, TX 77581                                   P‐0002698 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
LICATA, DYLAN J.
LICATA, MELISSA J.
115 PRIVATE ROAD 1741
MICO, TX 78056                                      P‐0002699 10/23/2017    TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
MORGAN, DAVID
817 SAMMONS ST
ABILENE, TX 79605                                   P‐0002700 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOMBERG, CRYSTAL
2115 YUPON CIRCLE
PEARLAND, TX 77581                                  P‐0002701 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, WILLIAM D.
1574 BIG BERRY ROAD
SOMERVILLE, TX 77879                                P‐0002702 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, TIA N.
122 MAJESTIC GARDENS COURT
WINTER HAVEN, FL 33880                              P‐0002703 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOMBERG, CRYSTAL
2115 YUPON CIRCLE
PEARLAND, TX 77581                                  P‐0002704 10/23/2017    TK Holdings Inc., et al .                   $14,000.00                                                                                   $14,000.00
BANDYOPADHYAY, SUBHAJYOTI
715 NW 23RD ST
GAINESVILLE, FL 32607                               P‐0002705 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENDIBLES JR, JOSE J.
MENDIBLES, JENNIFER R.
5517 S CANADA DR
TUCSON, AZ 85706                                    P‐0002706 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, SHALIMAR
100 S PINE ISLAND RD 116
PLANTATION, FL 33324                                P‐0002707 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JERRY L.
100 S PINE ISLAND RD 116
PLANTATION, FL 33324                                P‐0002708 10/23/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
JOHNSON, JERRY L.
100 S PINE ISLAND RD 116
PLANTATION, FL 33324                                P‐0002709 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHESHRI, JAGDISH C.
827 STEVENS CREEK LANE
RICHMOND, TX 77469                                  P‐0002710 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY, RENEE D.
5418 E FAIRMOUNT ST
TUCSON, AZ 85712                                    P‐0002711 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWALLIE, GREG
1102 ALEDO DR
BEAVERCREEK, OH 45430                               P‐0002712 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNGERMAN, DAVID G.
P.O. BOX 217
10 VANEK LANE
JEFFERSON CITY, MT 59638                            P‐0002713 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAKE, SHARRON
2614 CREEK TERRACE DRIVE
MISSOURI CITY, TX 77459                             P‐0002714 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JERRY L.
100 S PINE ISLAND RD 116
PLANTATION, FL 33324                                P‐0002715 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
JOLLY, JOSEPH L.
705PINERIDGECIRCLE
705PINERIDGECIRCLE
CONWAY, SC 29527                                    P‐0002716 10/23/2017    TK Holdings Inc., et al .                    $4,303.04                                                                                    $4,303.04
DELAGARZA, EVA L.
761 MONETTE DRIVE
CORPUS CHRISTI, TX 78412                            P‐0002717 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEAN‐POWELL, JEANNETTE M.
226 MARION OAKS LANE
OCALA, FL 34473                                     P‐0002718 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELAGARZA, EVA L.
761 MONETTE DRIVE
CORPUS CHRISTI, TX 78412                            P‐0002719 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLIER, KATHY A.
206 N. LAFAYETTE ST.
GALAX, VA 24333                                     P‐0002720 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELAGARZA, EVA L.
761 MONETTE DRIVE
CORPUS CHRISTI, TX 78412                            P‐0002721 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, JEANETHE P.
12710 SW 112 COURT
MIAMI
, FL 33176                                          P‐0002722 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELAGARZA, EVA L.
761 MONETTE DRIVE
CORPUS CHRISTI, TX 78412                            P‐0002723 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, STEVEN P.
5825 CYPRESS ESTATES DRIVE
ELKTON, FL 32033                                    P‐0002724 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELAGARZA, EVA L.
761 MONETTE DRIVE
CORPUS CHRISTI, TX 78412                            P‐0002725 10/23/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, JOSEPH
100 S PINE ISLAND RD 116
PLANTATION, FL 33324                                P‐0002726 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUQUA JR, FRED L.
FUQUA, REGINA D.
8241 N KROUSE WAY
DUNNELLON, FL 34433                                 P‐0002727 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORMIL, TERIA S.
9267 CARACARA DR
JACKSONVILLE, FL 32210                              P‐0002728 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITTINGTON, ROBERT G.
1228 KARLA DRIVE
HURST, TX 76053                                     P‐0002729 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAUER, MARK W.
MAUER, MARK
14310 NACOGDOCHES
#2203
SAN ANTONIO, TX 78247                               P‐0002730 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOM, ANDRE W.
15400 VINEYARD BLVD APT 114
MORGAN HILL, CA 95037                               P‐0002731 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FLENTROY‐PARKER, TANYA Y.
2929 E. CENTENNIAL PARKWAY
UNIT 153
NORTH LAS VEGAS, NV 89081                             P‐0002732 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYES, LEONARD
2460 PLANTERS COVE CIRCLE
LAWRENCEVILLE, GA 30044                               P‐0002733 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA, DELIA A.
5623 BEAR MEADOW LANE
KATY, TX 77449‐7576                                   P‐0002734 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREDERICK, TARA I.
42 IDA LANE
SALLEY, SC 29137                                      P‐0002735 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ODOM, RICKY A.
915 ARLINGTON ST
ROCKY MOUNT, NC 27801                                 P‐0002736 10/24/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
FRIEDMAN, HARVEY F.
10 CUTTER MILL RD SUITE 302
GREAT NECK, NY 11021                                  P‐0002737 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREDERICK, TARA I.
NO ADDRESS PROVIDED
                                                      P‐0002738 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDBERG, STEVEN M.
GOLDBERG, HELEN J.
3989 EL CAMINO ROAD
LAS VEGAS, NV., 89103‐2222
                                                      P‐0002739 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORVIK, ROSS R.
11251 E. PLACITA RANCHO GRAND
TUCSON, AZ 85730                                      P‐0002740 10/24/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
MADDOX, THOMAS D.
1575 EUCLID AVE APT 301
MIAMI BEACH, FL 33139                                 P‐0002741 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, QUINTON
3200 SEVEN PINES CT UNIT 103
ATLANTA, GA 30339                                     P‐0002742 10/24/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
LOPEZ, AMADA C.
3154 DREYFUSHIRE BLVD
ORLANDO, FL 32822                                     P‐0002743 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOK, DALE A.
113 RED STAR LANE
CLAYTON, NC 27520                                     P‐0002744 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEARMAN, MISTIE M.
215 QUAIL LANE
WAKE VILLAGE, TX 75501                                P‐0002745 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEARMAN, MISTIE M.
215 QUAIL LANE
WAKE VILLAGE, TX 75501                                P‐0002746 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, KENNETH S.
1395 UMBRIA ROAD
MONCKS CORNER, SC 29461                               P‐0002747 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, BRENT
PETERSON, BRENDA
8408 FAIRVIEW WAY
LONE TREE, CO 80124                                   P‐0002748 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PETERSON, BRENT
PETERSON, BRENDA
8408 FAIRVIEW WAY
LONE TREE, CO 80124                                 P‐0002749 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, BRENT
PETERSON, BRENDA
8408 FAIRVIEW WAY
LONE TREE, CO 80124                                 P‐0002750 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, BRENT
PETERSON, BRENDA
8408 FAIRVIEW WAY
LONE TREE, CO 80124                                 P‐0002751 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELACRUZ, MONICA L.
4170 SOUTH KIRKMAN ROAD
APT 706
ORLANDO, FL 32811                                   P‐0002752 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, ROBERT P.
JONES, SYNOVIA L.
1606 CASTLE ROCK COURT
JACKSONVILLE, FL 32221                              P‐0002753 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELACRUZ, MONICA L.
4170 SOUTH KIRKMAN ROAD
APT 706
ORLANDO, FL 32811                                   P‐0002754 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, ROBERT P.
JONES, SYNOVIA L.
1606 CASTLE ROCK COURT
JACKSONVILLE, FL 32221                              P‐0002755 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONSLOW GRADING & PAVING, INC.
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                         P‐0002756 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANE, ANGELA M.
6741 E 38TH ST
TUCSON, AZ 85730                                    P‐0002757 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMOS, RAQUITTA D.
6350 BERGOT ST APT 311
RALEIGH, NC 27616                                   P‐0002758 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOGT, KENNETH L.
500 W TECUMSEH DR
ELLETTSVILLE, IN 47429                              P‐0002759 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCORMICK, WILLIAM T.
MCCORMICK, MICHELLE M.
4026 LAKE PRAIRIE DR
MATTHEWS, NC 28104                                  P‐0002760 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEACH, ALAN E.
LEACH, KERI P.
636 LINWOOD AVENUE
STONEWALL, LA 71078                                 P‐0002761 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TSENG, WENTA P.
1702 FALL RIDGE CIRCLE
KATY, TX 77494                                      P‐0002762 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYNUM, ALVIS J.
315 N HAMPTON CT
COLUMBIA, SC 29209                                  P‐0002763 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
REA, ARLENE M.
732 PLATO ST.
FRANKLIN SQUARE, NY 11010                           P‐0002764 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, ANTHONY L.
1207 BAINBRIDGE ROAD
STEDMQN, NC 28391                                   P‐0002765 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INGRAM, BRENDA S.
P.O. BOX 2961
KINSTON, NC 28502                                   P‐0002766 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONSLOW GRADING & PAVING, INC.
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                         P‐0002767 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLCOMB, MICHAEL H.
9286 HORSESHOE CIRCLE
INDIAN LAND, SC 29707                               P‐0002768 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, AMALBI
15708 NW 45TH AVENUE
MIAMI GARDENS, FL 33054                             P‐0002769 10/24/2017    TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
LEGARE, HENRY L.
119 CAMELIA DR.
SUMMERVILLE, SC 29485                               P‐0002770 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUNNEX, INC.
8001 TOWER POINT DRIVE
CHARLOTTE, NC 28227                                 P‐0002771 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLOAN, PATRICE L.
1351 INDIANA STREET
TALLAHASSEE, FL 32304                               P‐0002772 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUNNEX, INC.
8001 TOWER POINT DRIVE
CHARLOTTE, NC 28227                                 P‐0002773 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, GUSTAVO F.
PEREZ, AMALBI
15708 NW 45TH AVENUE
MIAMI GARDENS, FL 33054                             P‐0002774 10/24/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
SANDIFER, LANITRA S.
P.O. BOX 12052
COLUMBUS, GA 31917                                  P‐0002775 10/24/2017    TK Holdings Inc., et al .                    $2,836.00                                                                                    $2,836.00
REESE, LYNN E.
2165 N PENNSYLVANIA ST.
INDIANAPOLIS, IN 46202                              P‐0002776 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SORENSEN, ERIC W.
5413 COACH RD
BOSSIER CITY, LA 71111                              P‐0002777 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NADER, ROXANA
3065 SW 45TH ST
FORT LAUDERDALE, FL 33312                           P‐0002778 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HULL, DOUGLAS R.
7330 KINGS RUN ROAD
DAYTON, OH 45459                                    P‐0002779 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLACE, MARCIA A.
WALLACE, FRANCIS E.
1317 MARTIN CT.
GRAPEVINE, TX 76051                                 P‐0002780 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGNEW, DOLORES A.
177 NW PATRIOT CT
LAKE CITY, FL 32055                                 P‐0002781 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MARTINEZ, SANDY H.
9846 VALLEY CABIN
SAN ANTONIO, TX 78250                                P‐0002782 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILANO, BARBARA
P.O. BOX 380492
MURDOCK, FL 33938                                    P‐0002783 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDEN, DAVID E.
410 E MERRITT ST
MARSHALL, TX 75670                                   P‐0002784 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, LINDA
6267 CHADWORTH CT
INDIANAPOLIS, IN 46236                               P‐0002785 10/24/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
DAVIS, ELIZABETH M.
7106 KELLA WAY
MECHAICSVILLE, VA 23111                              P‐0002786 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOBBLE, SHARON W.
NO ADDRESS PROVIDED
                                                     P‐0002787 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWEET, CORRINE M.
210 HAWKSTEAD DR
LEESBURG, GA 31763                                   P‐0002788 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEDMON, PETULA A.
9006 DELEE WAY
LOUISVILLE, KY 40219                                 P‐0002789 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGNEW, DOLORES A.
177 NW PATRIOT CT
LAKE CITY, FL 32055                                  P‐0002790 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HASSELBACH, KURT S.
8 N. LIMESTONE ST.
SPRINGFIELD, OH 45502                                P‐0002791 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRAZIER, JAMES R.
5277 VERNADALE DRIVE
DAYTON, OH 45429                                     P‐0002792 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWMAN, VICTORIA L.
2612 RIME VILLAGE DRIVE
BIRMINGHAM, AL 35216                                 P‐0002793 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETRITZ, DANIEL J.
4504 BLACKTAIL LANE
BUTTE, MT 59701                                      P‐0002794 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEEK, JESSICA H.
688 WINIFRED RD
LEESBURG, GA 31763                                   P‐0002795 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIPPENS, AMANDA S.
2545 TRIBBLE CREEK CV
GRAYSON, GA 30017                                    P‐0002796 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONSLOW GRADING & PAVING, INC.
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                          P‐0002797 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VONGSAVATH, KIM
5226 S 4950 W
HOOPER, UT 84315                                     P‐0002798 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETRITZ, DAWN M.
4504 BLACKTAIL LANE
BUTTE, MT 59701                                      P‐0002799 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                 Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
CLARK, KELLY M.
1302 WARBLER DR
KERRVILLE, TX 78028                               P‐0002800 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARENAS, ADRIAN
2510 HARDWOOD DR.
BRYAN, TX 77803‐0206                              P‐0002801 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWELL, DANNY H.
1058 GORDON EDWARDS RD
DUBLIN, GA 31021                                  P‐0002802 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRISON, STANLEY P.
HARRISON, REBECCA R.
101 WINDLAKE LANE
WEST MONROE, LA 71291                             P‐0002803 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUSSLER, MYRA Y.
3712 MYRTLE SPRINGS RD
BENBROOK, TX 76116                                P‐0002804 10/24/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WILLIAMS, CLIFTON
6031 EVERLASTING PLACE
LAND O LAKES, FL 34639                            P‐0002805 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHANNING, WILLIAM K.
4755 LITTLEFIELD STREET
BEAUMONT, TX 77706                                P‐0002806 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIPP, KARRI S.
506 VOGT CT S
POWELL, OH 43065                                  P‐0002807 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAN, KEN
6100 BEREWICK COMMONS PKWY
CHARLOTTE, NC 28278                               P‐0002808 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, JONATHAN K.
1358 MONTGOMERY LANE
SOUTHLAKE, TX 76092                               P‐0002809 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VARGAS, ANDRES
VELEZ‐DIAZ, ARLENE
1127 COLONIAL HEIGHTS DR
RICHMOND, TX 77406                                P‐0002810 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LORD, GINA M.
107 SPRINGWOOD DRIVE
WARNER ROBINS, GA 31088                           P‐0002811 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, RICHARD A.
GREEN, NANCY L.
836 CHAPEL HILL LANE
MCKINNEY, TX 75069                                P‐0002812 10/24/2017    TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
HAMMOND, MICHAEL E.
2237 ABBEYWOOD ROAD
LEXINGTON, KY 40515                               P‐0002813 10/24/2017    TK Holdings Inc., et al .                     $175.00                                                                                       $175.00
WROBLEWSKI, TERESA L.
6 SIERRA DEL NORTE
EFFORT PIERCE, FL 34951                           P‐0002814 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAZZARI, LOUISE
1141 SW 158 AVENUE
PEMBROKE PINES, FL 33027                          P‐0002815 10/24/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
WILSON, MARY KATHRY E.
WILSON, THOMAS R.
REGIONAL FINANCE
103 S BROOKS ST
MANNING, SC 29102                                 P‐0002816 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
LORD, GINA M.
LORD, MARK A.
107 SPRINGWOOD DRIVE
WARNER ROBINS, GA 31088                             P‐0002817 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIPP, BRANDON R.
506 VOGT CT S
POWELL, OH 43065                                    P‐0002818 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELCH, ANNE E.
643 OHIO AVENUE
ERWIN, TN 37650                                     P‐0002819 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANSONE, MATT
5421 KANSAS ST
HOUSTON, TX 77007                                   P‐0002820 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMSON, TODD
5424 MCCHESNEY DR
CHARLOTTE, NC 28269                                 P‐0002821 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZERNELL, JAMES T.
3 N. SPRING BROOK CT
THE WOODLANDS, TX 77382                             P‐0002822 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAZZARI, ANTHONY
1141 SW 158 AVENUE
PEMBROKE PINES, FL 33027                            P‐0002823 10/24/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
BINKLEY, DEBORAH K.
BINKLEY, JERRY W.
13871 N BLUFF CREEK CT
CAMBY, IN 46113                                     P‐0002824 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, LAURA C.
7406 LA MANGA DRIVE
DALLAS, TX 75248                                    P‐0002825 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COURTNEY, PEGGY M.
3403 COLTWOOD DRIVE
SPRING, TX 77388                                    P‐0002826 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, JEAN
3410 ROYAL RIDGE DRIVE
ROCKWALL, TX 75087                                  P‐0002827 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, TARI B.
3410 ROYAL RIDGE DRIVE
ROCKWALL, TX 75087                                  P‐0002828 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMES, PATRICIA T.
1802 DONALD JAMES RD.
BLACKSHEAR, GA 31516                                P‐0002829 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, BRIANNE
3410 ROYAL RIDGE DRIVE
ROCKWALL, TX 75087                                  P‐0002830 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKNIGHT, ERIKA
2934 W LAUREL ST
SHREVEPORT, LA 71109                                P‐0002831 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMPRON, ZACHARY M.
2014 SPRUNT AVENUE
DURHAM, NC 27705                                    P‐0002832 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROHRIG, MONEACCA J.
150 E MCKINLEY STREET
SOUTH LEBANON, OH 45065                             P‐0002833 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRET, NORMA L.
3718 INEZ
FRESNO, TX                                          P‐0002834 10/24/2017    TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
TRAN, NGOAN T.
3115 BONHAM AVE.
TEMPLE, TX 76502                                    P‐0002835 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECASTRO, GREGORY R.
153 GRACKLE LN
PAWLEYS ISLAND, SC 29585                            P‐0002836 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NESBITT, WILMA T.
TK HOLDINGS INC
2678 HOUSTON ST
NORTH CHARLESTON, SC 29405                          P‐0002837 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONSLOW GRADING & PAVING, INC.
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                         P‐0002838 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, ANGELICA M.
1786 NE 178 STREET
NO MIAMI BEACH, FL 33162                            P‐0002839 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, HAROLD P.
110 HUNTERS HAVEN DR.
SUMMERFIELD, NC 27358                               P‐0002840 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINRICHS, CHAD
170 AUBURN DRIVE
LAKE WORTH, FL 33460                                P‐0002841 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANCIO‐BELLO, ROSA I.
2930 SOLANO AVE
APT #200
COOPER CITY, FL 33024                               P‐0002842 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUALLS, JANICE M.
80 CIRCLE AVENUE
MANCHESTER, TN                                      P‐0002843 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KURTZ, THOMAS A.
12535 MASTERS RIDGE DR
JACKSONVILLE, FL 32225                              P‐0002844 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, JOY
P.O. BOX 1442
LUBBOCK, TX 79408                                   P‐0002845 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLISON, LIA B.
37023 SHADOW WOOD LN
FRUITLAND PARK, FL 34731                            P‐0002846 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIDSON, KEVIN S.
4243 CREEKRUN CIRCLE
BUFORD, GA 30519                                    P‐0002847 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSLINGER, DAVID A.
BUSLINGER, RUTH O.
4702 CHERRY GROVE ROAD
ELON, NC 27244‐9494                                 P‐0002848 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, SHARON R.
1810 COLONIAL DRIVE
GREEN COVE SPRIN, FL 32043                          P‐0002849 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARTIN, DEBORAH M.
2415 HARPER AVE
NORWOOD                                             P‐0002850 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIAZ, JUANITA
9133 CANOPY OAK LANE
#9133‐104
RIVERIVEW, FL 33578                                 P‐0002851 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
ONSLOW GRADING & PAVING, INC.
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                        P‐0002852 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTSON, AMY D.
7107 HADDONFIELD COURT
COLUMBUS, GA 31904                                 P‐0002853 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, SANDRA J.
808 3RD AVE WEST
SUITE 214
BRADENTON, FL 34205                                P‐0002854 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRITTIN, DARRYL S.
BRITTIN, NAOKO S.
23 LAKEFIELD TRAILS
KATY, TX 77493                                     P‐0002855 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COBB, ROBERT E.
P.O. BOX 692
JEFFERSON, TX 75657                                P‐0002856 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, DANA M.
DANA M. MOORE
1008 COTTONWOOD ST
ARDMORE, OK 73401                                  P‐0002857 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUNEAU, JENNIFER
5204 FIELDCREST AVE
ALEXANDRIA, LA 71303                               P‐0002858 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GANAPATHYSAMY, SUBRAMANIAM
3512 DRYSDALE PKWY
MCKINNEY, TX 75071                                 P‐0002859 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OBERLE, SHERI L.
22623 WIXFORD LANE
TOMBALL, TX 77375                                  P‐0002860 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, ROBERT L.
111 SEA GLASS CT.
CARY, NC 27519                                     P‐0002861 10/24/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
BACOT, RAYMOND E.
BACOT, CHERRYL L.
1539 CHINA GROVE TRAIL
TALLAHASSEE, FL 32301                              P‐0002862 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OPEN DOORS FOR THE DEVELOPMEN
1108 WASHINGTON ST. E.
LEWISBURG, WV 24901                                P‐0002863 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDFERN, JULIE A.
611 PARKHILL DR
BILLINGS, MT 59102                                 P‐0002864 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GANAPATHYSAMY, SUBRAMANIAM
3952 DRYSDALE PKWY
MCKINNEY, TX 75071                                 P‐0002865 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPMAN, LATANYA R.
72 MARSH LANE
OXFORD, AL 36203                                   P‐0002866 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANNIS, JAMES J.
206 ROUNDHILL DRIVE
CHRISTIANSBURG, VA 24073                           P‐0002867 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIGDON, KENNETH E.
2333 FAIRPORT DR SE
CONCORD, NC 28025                                  P‐0002868 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
LAWRENCE, JAMES E.
1511 MANCHESTER DR
ELIZABETHTOWN, KY 42701                             P‐0002869 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHREIBER, SCOTT
SCOT‐FREE PAINTING
                                                    P‐0002870 10/24/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
DUNCAN, VAN T.
403 CROSS VINE LANE
GREENSBORO, NC 27455‐2493                           P‐0002871 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISS, WENDY
1165 CURLEW ROAD
DUNEDIN, FL 34698                                   P‐0002872 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, STEVE P.
414 CARTGATE CIRCLE
BLYTHEWOOD, SC 29016                                P‐0002873 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURRELL, JOHN
6417 PLAINVIEW DRIVE
ARLINGTON, TX 76018                                 P‐0002874 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILBERT, JAY M.
HEARD, LYDIA L.
126 LAGO CIRCLE DR N
SANTA FE, TX 77517                                  P‐0002875 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, JESSE
1093 CENTRAL AVE
SARASOTA, FL 34236                                  P‐0002876 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPMAN, COLTON
8377 TWISTED OAKS
GARDEN RIDGE, TX 78266                              P‐0002877 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURRELL, JOHN
6417 PLAINVIEW DRIVE
ARLINGTON, TX 76018                                 P‐0002878 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITTS, STEPHANIE C.
MITTS, NAHSHON
REGIONAL ACCEPTANCE CORPORATI
10140 HAREWOOD DR N
NOBLESVILLE, IN 46060                               P‐0002879 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANNIS, JANICE P.
206 ROUNDHILL DRIVE
CHRISTIANSBURG, VA 24073                            P‐0002880 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, MICHAEL B.
997 JOHNNIE DODDS BLVD
APT 712
MT PLEASANT, SC 29464                               P‐0002881 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLAGHER, PATRICIA A.
21411 JUEGO CIRCLE 32E
BOCA RATON, FL 33433                                P‐0002882 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONSLOW GRADING & PAVING, INC.
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                         P‐0002883 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANGEL, YVETTE
3729 VELDA
CORPUS CHRISTI, TX 78410                            P‐0002884 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREWSTER, CONNIE C.
183 DUNCAN LANE
CHILHOWIE, VA 24319                                 P‐0002885 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
NELSON, MARILYN K.
NELSON, GREGORY F.
1617 PINE CREST DR.
PEARLAND, TX 77581                                  P‐0002886 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEINBERG, MADELYN A.
31102 OLD HOCKLEY ROAD
MAGNOLIA, TX 77355                                  P‐0002887 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERRY, GREGORY M.
4930 MONTAUK TRAIL SE
OWENS CROSS ROAD, AL 35763                          P‐0002888 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONSLOW GRADING & PAVING, INC.
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                         P‐0002889 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINRICHS, PADMA
170 AUBURN DRIVE
LAKE WORTH, FL 33460                                P‐0002890 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, MARGARET K.
1608 CLIMBING DAYFLOWER DRIVE
RUSKIN, FL 33570                                    P‐0002891 10/24/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
FEINBERG, MATTHEW L.
31102 OLD HOCKLEY ROAD
MAGNOLIA, TX 77355                                  P‐0002892 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, JAMES E.
640 RIDGEWOOD DRIVE
COSHOCTON, OH 43812                                 P‐0002893 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SVRCEK, DANIEL C.
4208 SAWGRASS DR.
NORTH CHARLESTON, SC 29420                          P‐0002894 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODALE, ERNEST G.
577 CHIMNEY BLUFF DR
MOUNT PLEASANT, SC 29464                            P‐0002895 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, ROBERT C.
112 BIG OAK CIRCLE
MAYLENE, AL 35114                                   P‐0002896 10/24/2017    TK Holdings Inc., et al .                   $14,000.00                                                                                   $14,000.00
ANDERSON, RANDALL E.
ANDERSON, CONSTANCE J.
1473 WHITE ASH DRIVE
COLUMBUS, OH 43204                                  P‐0002897 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, TONIA
8117 CANYON DRIVE
AUBREY, TX 76227                                    P‐0002898 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEREBEE‐CAPEHART, MARIA A.
CAPEHART, DARIUS D.
STATE EMPLOYEE CREDIT UNION
3204 PACOLET DR
GREENVILLE, NC 27834                                P‐0002899 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OCHESKEY, WALTER R.
OCHESKEY, CHARLOTTE R.
6811 SARATOGA AVE
LUBBOCK, TX 79424                                   P‐0002900 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRYKER, JAMES M.
STEVENS, JOYCE L.
17515 SOUTH YAUPON CIRCLE
TOMBALL, TX 77377                                   P‐0002901 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PAVLOS, ALYCE E.
12242 W. BERNICE LANE
TUCSON, AZ 85743                                    P‐0002902 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDAN, CHARLES F.
NBJ INDIAN CREEK RANCH, LTD.
13850 HWY 46 WEST
SPRING BRANCH, TX 78070                             P‐0002903 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALINGER, KAREN L.
4000 NE 168TH STREET, APT. PH
NORTH MIAMI BEAC, FL 33160                          P‐0002904 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWREY, MARY M.
105 PEMBERTON PL
PELHAM, AL 35124                                    P‐0002905 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TROTT, LINDA K.
TROTT, JERALD T.
8532 COVINGTON WAY
LEEDS, AL 35094                                     P‐0002906 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STIPP, JOHN E.
HORNBEAK, KAYLA M.
559 N CHERRY ST
GALESBURG, IL 61401                                 P‐0002907 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WICKER, JO ANN E.
3593 MCCALL CREEK ROAD
BLANCO, TX 78606                                    P‐0002908 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONSLOW GRADING & PAVING, INC.
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                         P‐0002909 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARAJAS, ANGELA R.
7630 MELOTTE ST
SAN DIEGO, CA 92119                                 P‐0002910 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRYKER, JAMES M.
STEVENS, JOYCE L.
17515 SOUTH YAUPON CIRCLE
TOMBALL, TX 77377                                   P‐0002911 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POSNER, RUTH D.
25007 COOPER CIRCLE
SAN ANTONIO, TX 78255                               P‐0002912 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STIPP, JOHN E.
559 N CHERRY ST
GALESBURG, IL 61401                                 P‐0002913 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODALE, ERNEST G.
577 CHIMNEY BLUFF DR
MOUNT PLEASANT, SC 29464                            P‐0002914 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOPER, ARTHUR W.
COOPER, ANDREA D.
273 CR 4242
DE KALB, TX 75559                                   P‐0002915 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLEMAN, IVAN S.
HOLLEMAN, CHARLENE J.
HOLLEMAN FAMILY LIVING TRUST
2990 S. FISKE BLVD
UNIT A‐6
ROCKLEDGE, FL 32955                                 P‐0002916 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELKER, MARILYN
3538 W US HWY 36
URBANA, OH 43078                                    P‐0002917 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
MALACHOWSKI, DAVID T.
2054 N. THORNTON RD.
SPC. 192
CASA GRANDE, AZ 85122                              P‐0002918 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OAKES, KELLY
OAKES, MICHAEL
754 PONTIUS ROAD
CINCINNATI, OH 45233                               P‐0002919 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORALES, JESSICA
MORALES, JUAN M.
7720 OCONNOR DR
APT 3105
ROUND ROCK, TX 78681                               P‐0002920 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OAKES, KELLY
754 PONTIUS ROAD
CINCINNATI, OH 45233                               P‐0002921 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PADILLA, BENITA R.
8068 NORTHPOINTE BOULEVARD
PENSACOLA, FL 32514                                P‐0002922 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIMSTIN, JAY A.
BRIMSTIN, NAM HUI
7149 PAPRIKA LN
COLUMBUS, GA 31909                                 P‐0002923 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONSLOW GRADING & PAVING INC.
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                        P‐0002924 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, ROSALYN C.
11288 KINGSLEY MANOR WAY
JACKSONVILLE, FL 32225                             P‐0002925 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COBB, BRENDA H.
P.O. BOX 692
JEFFERSON, TX 75657                                P‐0002926 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMARILLO, SARAH J.
1400 EAST 25TH STREET
BRYAN, TX 77803                                    P‐0002927 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PONCE, NORMA
PONCE, ALVARO
3718 INEZ
FRESNO, TX 77545                                   P‐0002928 10/24/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
MERHAR, JILL H.
1900 SILVER SPRING LANE
MYRTLE BEACH, SC 29577                             P‐0002929 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, ROSALYN C.
11288 KINGSLEY MANOR WAY
JACKSONVILLE, FL 32225                             P‐0002930 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAFFERA, JOSEPH L.
13 REDBAY CT. E.
HOMOSASSA, FL 34446                                P‐0002931 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YEE, JACK
61‐45 211TH STREET
OAKLAND GARDENS
, NY 11364‐2118                                    P‐0002932 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLANAGAN, TIMOTHY P.
FLANAGAN, KELLI R.
506 6TH ST
MARBLE FALLS, TX 78654                             P‐0002933 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
STIPES, TERESA
356 HARLESS ROAD
P O BOX 154
CORRYTON, TN 37721                                 P‐0002934 10/24/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
AYERS, JOHN C.
10435 MIDTOWN PARKWAY
UNIT 417
JACKSONVILLE, FL 32246                             P‐0002935 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONSLOW GRADING & PAVING INC.
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                        P‐0002936 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRASLAVINA, ANGELICA
2801 N. RAINBOW BLVD APT 110
LAS VEGAS, NV 89108                                P‐0002937 10/24/2017    TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
NISSIM, ODEN
1540 SAUR LANE
NEW BRAUNFELS, TX 78130                            P‐0002938 10/24/2017    TK Holdings Inc., et al .                    $2,674.00                                                                                    $2,674.00
COBB, ROBERT E.
P.O. BOX 692
JEFFERSON, TX 75657                                P‐0002939 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, CHARLES F.
5 REGENTS PARK
SUGAR LAND, TX 77479                               P‐0002940 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OPEN DOORS FOR THE DEVELOPMEN
1108 WASHINGTON ST, E.
LEWISBURG, WV 24901                                P‐0002941 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSON, KACEY M.
5193 CYPRESS LINKS BLVD
ELKTON, FL 32033                                   P‐0002942 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLUETTE, AMY C.
142 WINDING CREEK WAY
CHAPIN, SC 29036                                   P‐0002943 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, CYNTHIA S.
15 LIBERTY HEIGHTS DRIVE
SAVANNAH, GA 31405                                 P‐0002944 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSHALL, AMANDA
3000 SAINT GERMAIN DRIVE
MCKINNEY, TX 75070                                 P‐0002945 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, JOSHUA D.
1006 BANISTER LANE #206
AUSTIN, TX 78704                                   P‐0002946 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRINH, TOAN
7508 STONE ARBOR LN
PEARLAND, TX 77581                                 P‐0002947 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONSLOW GRADING & PAVING
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                        P‐0002948 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, MARY ANNE
P. O. BOX 803
EULESS, TX 76039                                   P‐0002949 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADERS, LEONA R.
LEONA ADERS
3190 SE LAKE WEIR AVE.
OCALA, FL 34471                                    P‐0002950 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MCDANIEL, TINA
1361 VINING RD
CHOUDRANT, LA 71227                                 P‐0002951 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGES, CARISSA R.
PROVIDENCE MINISTRIES
111 N 3RD ST. #242
SMITHFIELD, NC 27577                                P‐0002952 10/24/2017    TK Holdings Inc., et al .                    $6,920.00                                                                                    $6,920.00
DROSTE, ALLIS M.
467 CHIPPENDALE DR
HEATH, TX 75032                                     P‐0002953 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, JON E.
1516 RICHLAND DR
RICHARDSON, TX 75081                                P‐0002954 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORD, JUDY E.
15621 SW 296 STREET
HOMESTEAD, FL 33033                                 P‐0002955 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCORMICK, WAYNE G.
3673 TRINITY LANE
ABILENE, TX 79602                                   P‐0002956 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN JR, WILLIAM D.
111 MYSTIC CIRCLE
BYRON, GA 31008                                     P‐0002957 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BACKHAUS, ROBERT L.
60 SENTER FARM CT
FUQUAY VARINA, NC 27526                             P‐0002958 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOHEJL, DENISE A.
12412 WEBSTER STREET
BROOKSVILLE, FL 34613                               P‐0002959 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDGE, TAMMY O.
2954 DANUBE COURT
FORT WORTH, TX 76118                                P‐0002960 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANN, RANDELL R.
1065 CRESCENT
BELTON, TX 76513                                    P‐0002961 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, VERONICA G.
20711 CYPRESS VALE DRIVE
CYPRESS, TX 77433                                   P‐0002962 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUINN, RICHARD J.
125 SHIRLEY STREET
GRAY, TN 37615                                      P‐0002963 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RABINOVITZ, MICHAEL D.
4940 PALUXY DRIVE #170
TYLER, TX 75703                                     P‐0002964 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TILLMAN, SARAH W.
918 CHEVIS STREET
COLUMBIA, SC 29205                                  P‐0002965 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERTOT, WILLIAM
670 NW 6 ST APT 607
MIAMI, FL 33136                                     P‐0002966 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DYER, ROBERT D.
ROBERT DYER
507 MARCEL PR.
STATHAM, GA 30666                                   P‐0002967 10/24/2017    TK Holdings Inc., et al .                  $200,000.00                                                                                  $200,000.00
JOHNSON, RICHARD W.
922 QUAIL PL
HIGHLANDS RANCH, CO 80126                           P‐0002968 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
MUSICA, RICHARD
823 NE 19TH AVENUE #3
FORT LAUDERDALE, FL 33304                          P‐0002969 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASTONE, JOHN J.
8515 BIRDIE DR
MIDLAND, GA 31820                                  P‐0002970 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LITTRELL, SHERRIE L.
4085 WEST 5400 SOUTH
ROY, UT 84067                                      P‐0002971 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOSKINS, TISH R.
1406 SW 82ND TERRACE
NORTH LAUDERDALE, FL 33068                         P‐0002972 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANWAY, DAVID B.
ANWAY, TANYA K.
9562 N MARSH WREN PL
TUCSON, AZ 85742                                   P‐0002973 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIRSCHKORN, ROBERT
HIRSCHKORN, LUANE
2705 SNYDERS BLUFF
LEAGUE CITY, TX 77573                              P‐0002974 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIA, LORRAINE K.
SHIA, CAMERON J.
4001 LAGUNA SHORES RD
CORPUS CHRISTI, TX 78418                           P‐0002975 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OPEN DOORS FOR THE DEVELOPMEN
1108 WASHINGTON ST., E.
LEWISBURG, WV 24901                                P‐0002976 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LITTRELL, PAUL V.
4085 WEST 5400 SOUTH
ROY, UT 84067                                      P‐0002977 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETRY‐JOHNSON, SYLVIA
3710 LAKE VIEW COURT
MISSOURI CITY, TX 77459                            P‐0002978 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKOWRON, OSCAR
7956 NW 7TH COURT
PLANTATION, FL 33324                               P‐0002979 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POZA, MARIA C.
13335 SW 73 TERRACE
MIAMI, FL 33183                                    P‐0002980 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOPER, JOEY
5643 S SORENSON CIR
TAYLORSVILLE, UT 84129                             P‐0002981 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LITTRELL, PAUL V.
4085 W 5400 S
ROY, UT 84067                                      P‐0002982 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTILLI, DEBRA
1632 SW ALVATON AVENUE
PORT ST LUCIE, FL 34953                            P‐0002983 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLHOITE, ANITA K.
13468 NORTH HAMMER ROAD
MOORESVILLE, IN 46158                              P‐0002984 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, WILLIAM J.
107 ASCOT WAY CT.
THE WOODLANDS, TX 77382                            P‐0002985 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BLACK, REBECCA A.
992 MOORE DRIVE
BARNWELL, SC 29812                                   P‐0002986 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKOWRON, BARBARA
7956 NW 7TH COURT
PLANTATION, FL 33324                                 P‐0002987 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSA, VITAL J.
7545 E TREASURE DR # 2I
NORTH BAY VILLAG, FL 33141                           P‐0002988 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMZIC, ELVIS
2942 MISTY RIDGE LN
ROCKWALL, TX 75032                                   P‐0002989 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDY, JENAVISA D.
1602 AUBURN AVE
MONROE, LA 71201                                     P‐0002990 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLUBEC, CETH
12382 WEST FM 2028
MELVIN, TX 76858                                     P‐0002991 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TENUTA, MARK A.
241 NW 30TH CT
WILTON MANORS, FL 33311                              P‐0002992 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMON, BARNET
170 ROSE LANE
NEW HYDE PARK, NY 11040                              P‐0002993 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PITKA, EDVARD
BISEVSKA BR. 13
OSIJEK 31000
CROATIA                                              P‐0002994 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSA, VITAL J.
NO ADDRESS PROVIDED
                                                     P‐0002995 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UGHANZE, PHILIP O.
GREAT, PHILS
12208 MOSSY TRAIL COURT
PEARLAND, TX 77584                                   P‐0002996 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALACIO, SERINA
7438 W CHOLLA RANCH LN
TUCSON, AZ 85735                                     P‐0002997 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JURRENS, TERRY L.
13535 BUTTERFIELD TR NW
DEMING, NM 88030                                     P‐0002998 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLAUGHTER, BRENDA L.
4751 OAKWOOD DRIVE
SAINT CLOUD, FL 34772                                P‐0002999 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OPEN DOORS FOR THE DEVELOPMEN
1108 WASHINGTON ST., E.
LEWISBURG, WV 24901                                  P‐0003000 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, GARY L.
811 PINNACLE DR
DANDRIDGE, TN 37725                                  P‐0003001 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODALE, ERNEST G.
577 CHIMNEY BLUFF DR
MOUINT PLEASANT, S9 29464                            P‐0003002 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLBRITTON, REBECCA A.
6314 MAHOGANY WAY
MAGNOLIA, TX 77354                                   P‐0003003 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
STRYKER, JAMES M.
STEVENS, JOYCE L.
17515 SOUTH YAUPON CIRCLE
TOMBALL, TX 77377                                   P‐0003004 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTT, LEE ANN
BUTT, WALLY A.
WALLY'S SS# XXXX‐XX‐7417
1223 WEST GRANITE STREET
BUTTE, MT 59701                                     P‐0003005 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, RAMONA V.
11811 BRADDOCK RD
JACKSONVILLE, FL 32219                              P‐0003006 10/24/2017    TK Holdings Inc., et al .                     $950.00                                                                                       $950.00
JONES, MELISSA L.
904 S. GRADY ST. APT16
HOPE, AR 71801                                      P‐0003007 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IGLESIAS PACHECO, NORMA E.
6460 MILLER DRIVE
MIAMI, FL 33155                                     P‐0003008 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYONS, LISA V.
609 RIVIERA BAY DR NE
ST. PETERSBURG, FL 33702                            P‐0003009 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEREBEE‐CAPEHART, MARIA A.
CAPEHART, DARIUS D.
3204 PACOLET DR
GREENVILLE, NC 27834                                P‐0003010 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SVRCEK, DANIEL C.
4208 SAWGRASS DRIVE
NORTH CHARLESTON, SC 29420                          P‐0003011 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONSLOW GRADING & PAVING, INC.
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                         P‐0003012 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, ANN P.
3752 DUNBARTON DR
MOUNTAIN BRK, AL 35223‐2706                         P‐0003013 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRYKER, JAMES M.
STEVENS, JOYCE L.
17515 SOUTH YAUPON CIRCLE
TOMBALL, TX 77377                                   P‐0003014 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, ROBERT C.
112 BIG OAK CIRCLE
MAYLENE, AL 35114                                   P‐0003015 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EAGLE, AMANDA
8245 CRESSIDA COURT
LAND O LAKES, FL 34637                              P‐0003016 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTMANN, STEPHEN
8154 VALIANT DRIVE
NAPLES, FL 34104                                    P‐0003017 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBELLA, JAMES A.
10923 FERNANDO ST.
ORLANDO, FL 32825                                   P‐0003018 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BADZYUKH, VALENTYN N.
3105 SCOTTCREST WAY
WAXHAW, NC 28173                                    P‐0003019 10/24/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
LAURINO, DOROTHY M.
2109 FRANCES DRIVE
POINT PLEASANT, NJ 08742                            P‐0003020 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WILLOUR, RONALD P.
WILLOUR, BRENDA K.
7914 E SAINT JOSEPH ST
INDIANAPOLIS, IN 46219                                P‐0003021 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEVLIN, THOMAS G.
2409 BOWIE ST.
AMARILLO, TX 79109                                    P‐0003022 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GABLE, CHRISTINA L.
6400 ASHINGTON CIR
PLANO, TX 75023                                       P‐0003023 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, ROY M.
1510 HUNTERS ROAD
LOCKHART, TX 78644                                    P‐0003024 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORRIS, WILLIAM H.
8688 WEST BANK ROAD
GOSPORT, IN 47433                                     P‐0003025 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOLES, INEZ L.
TOLES, NATHANIEL
325 HILLCREST AVENUE
TRENTON, NJ 08618                                     P‐0003026 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RHODEN, RUSSELL
1943RIDGEWOOD DR
LILLIAN, AL 365491                                    P‐0003027 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORALES, ASAREL
7851 QUIET MEADOW LN
FRISCO, TX 75033                                      P‐0003028 10/24/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
BUSH, BERTHA P.
203 ESTATES WAY
WARNER ROBINS, GA 31088                               P‐0003029 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BODOH, KAREN A.
BODOH, KEITH D.
1719 PATRIOTS WAY
KENNESAW, GA 30152                                    P‐0003030 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNIGHT, RAQUEL
7124 AMERICAN WAY
APT D
INDIANAPOLIS, IN 46256                                P‐0003031 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, MARIELA O.
18721 SW 85 AVE
CUTLER BAY, FL 33157                                  P‐0003032 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONNELLY, DAVID P.
8015 SW 102 AVE
MIAMI, FL 33173                                       P‐0003033 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRODINSKY, ARON R.
2600 CHERRYRIDGE ROAD
ENGLEWOOD, CO 80113                                   P‐0003034 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALDMANN, ROBERT A.
WALDMANN, JANE
5018 EL CLARO N
WEST PALM BEACH, FL 33415                             P‐0003035 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PROKES, SARAH A.
NO ADDRESS PROVIDED
                                                      P‐0003036 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BODOH, KEITH D.
1719 PATRIOTS WAY
KENNESAW, GA 30152                                    P‐0003037 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BUSH, IRVING R.
203 ESTATES WAY
WARNER ROBINS, GA 31088                             P‐0003038 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOREHOUSE, DAVID A.
5850 S.E. 194 LN.
INGLIS, FL 34449                                    P‐0003039 10/24/2017    TK Holdings Inc., et al .                    $1,800.00                                                                                    $1,800.00
GREGORY, WILLIAM C.
1026 RIVERSIDE DRIVE
LAGRANGE, GA 30240                                  P‐0003040 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCENTIRE, JENNIFER R.
101 PATTERSON ST.
NAPLES, TX 75568                                    P‐0003041 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HACKER, ROBERT E.
HACKER, LINDA J.
5714 FINCH ROAD
PINSON, AL 35126                                    P‐0003042 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BODOH, KEITH D.
BODOH, KAREN A.
1719 PATRIOTS WAY
KENNESAW, GA 30152                                  P‐0003043 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOEPPEN, KEVIN M.
KOEPPEN, VIRGINIA
126 RIDGEWAY ROAD
WINNFIELD, LA 71483                                 P‐0003044 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKE, EVAN M.
225 FERNDALE DRIVE
LEWISVILLE, TX 75077                                P‐0003045 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSH, IRVING R.
203 ESTATES WAY
WARNER ROBINS, GA 31088                             P‐0003046 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWARZBURG, ALBERT T.
74 FLAGSTONE DR
ROSSVILLE, GA 30741                                 P‐0003047 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNETT, BOBBY G.
MOORE, CLAUDINE
2219 CAMEO COURT
GAINESVILLE, GA 30501                               P‐0003048 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARFUS, JOSEPH N.
BARFUS, CONSTANCE V.
210 BONITA DR
MERRITT ISLAND, FL 32952                            P‐0003049 10/24/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
ONSLOW GRADING & PAVING, INC.
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                         P‐0003050 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, THEODIS S.
10465 E. RITA RANCH CROSSING
CIRCLE
TUCSON, AZ 85747                                    P‐0003051 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARKER, THOMAS D.
218 SETH CT.
GOOSE CREEK, SC 29445                               P‐0003052 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BODOH, KEITH D.
1719 PATRIOTS WAY
KENNESAW, GA 30152                                  P‐0003053 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
DOHERTY, IRENE
207 OCEAN AVENUE
#335
SEA GIRT, NJ 08750                                 P‐0003054 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURRY, STEVE A.
CURRY'S AUTO SALES
197 BENT TREE CT.
NICHOLASVILLE, KY 40356                            P‐0003055 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYNIE, STEVEN D.
2701 SW 11 PL
DEERFIELD BEACH, FL 33445‐5909                     P‐0003056 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, JENNIE M.
15224 DRUSILLAS DR
PFLUGERVILLE, TX 78660                             P‐0003057 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HACKER, ROBERT E.
HACKER, LINDA J.
5714 FINCH ROAD
PINSON, AL 35126                                   P‐0003058 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INTERCITY LUMBER COMPANY INC.
5301 CAUSEWAY BLVD
TAMPA, FL 33619                                    P‐0003059 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BODOH, KEITH D.
BODOH, KAREN A.
1719 PATRIOTS WAY
KENNESAW, GA 30152                                 P‐0003060 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALKOVIC, JANET L.
701 FAIRFAX CIRCLE
WOODSFIELD
UNITED STATES, OH 43793                            P‐0003061 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OPEN DOORS FOR THE DEVELOPMEN
1108 WASHINGTON ST., E.
LEWISBURG, WV 24901                                P‐0003062 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, CHARLENE
P.O. BOX 865
315 MILLER AVE
BUENA VISTA, GA 31803                              P‐0003063 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANNING, CYNTHIA A.
1317 RAYDINE LANE
ROSSVILLE, GA 30741                                P‐0003064 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACALAMITA, ROBERT M.
566 WYNNEWOOD ROAD
PELHAM MANOR, NY 10803                             P‐0003065 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRICK JR, ROGER
3 CUTHBERT LN
SAVANNAH, GA 31411                                 P‐0003066 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIAMPETRO, ANNE MARIE
6374 SW 41 STREET
MIAMI, FL                                          P‐0003067 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COBLE, ASHLEY N.
4717 WHEELOCK DRIVE
FORT WORTH, TX 76133                               P‐0003068 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BACON, DOUGLAS S.
1616 QUAILS NEST DRIVE
FORT WORTH, TX 76177                               P‐0003069 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
ONSLOW GRADING & PAVING, INC.
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                         P‐0003070 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, GEORGE A.
406 COUNTY ROAD 4510
WINNSBORO, TX 75494                                 P‐0003071 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLIKIN, JAMES R.
918 REGENCY DRIVE
LONGVIEW, TX 75604                                  P‐0003072 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOPKINS, LAKESH N.
9100 W FLAMINGO RD.
#1067
LAS VEGAS, NV 89147                                 P‐0003073 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BULLOCK, SHARON
6913 OAKLAND RD
LOVELAND, OH 45140                                  P‐0003074 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANTES, NANCY D.
2535 CLAIBORNE AVENUE
SHREVEPORT, LA 71109‐4306                           P‐0003075 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOOTH, LINDA A.
BOOTH, DALE A.
5427 FARQUHAR LANE
DALLAS, TX 75209                                    P‐0003076 10/24/2017    TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
FLOYD‐ARNOLD, RENE
ARNOLD, MORGAN L.
1161 TWELVE OAKS CIRCLE
WATKINSVILLE, GA 30677‐1973                         P‐0003077 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUNN, DANIEL R.
196 DE LA GARZA DRIVE
ORANGE GROVE, TX 78372                              P‐0003078 10/24/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
BROADBENT, BRENDA
CASTRO, REYDANIEL
32 LESTER ST
ANSONIA, CT 06401                                   P‐0003079 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BULLOCK, SHARON Y.
6913 OAKLAND RD
LOVELAND, OH 45140                                  P‐0003080 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANTIS, DEAN A.
MICRO JET NETWORK, INC.
890 SW 56TH AVENUE
PLANTATION, FL 33317                                P‐0003081 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAKE, RUSSELL
2064 HOWLONG AVE
GREENVILLE, SC 29609                                P‐0003082 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELTZER, JILL N.
2606 RIVERHOLLOW LN
SUGAR LAND, TX 77479                                P‐0003083 10/24/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MANN, ROBERT W.
85 MURRAY AVENUE
PORT WASHINGTON, NY 11050                           P‐0003084 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURRY, STEVE A.
CURRY'S AUTO SALES
197 BENT TREE CT.
NICHOLASVILLE, KY 40356                             P‐0003085 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
BARFUS, JOSEPH N.
BARFUS, CONSTANCE V.
210 BONITA DR
MERRITT ISLAND, FL 32952                           P‐0003086 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANTIS, DEAN A.
MICRO JET NETWORK, INC.
890 SW 5TH AVENUE
PLANTATION, FL 33317                               P‐0003087 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, ROSALYN C.
11288 KINGSLEY MANOR WAY
JACKSONVILLE, FL 32225                             P‐0003088 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINS, GEORGINA
MARTINS, ALBERTO C.
14 MICHALIS CT
WEST ISLIP, NY 11795‐5116                          P‐0003089 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTALVO, CYNTHIA
7438 W CHOLLA RANCH LANE
7438 W CHOLLA RANCH LANE
TUCSON, AZ 85735                                   P‐0003090 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEFELICE, DONNIE M.
1800 BROADWAY BLVD
TOMS RIVER, NJ 08757                               P‐0003091 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OPEN DOORS FOR THE DEVELOPMEN
1108 WASHINGTON ST., E.
LEWISBURG, WV 24901                                P‐0003092 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGGSTROM, ROBERT
HAGGSTROM, WENDY
12759 EARLY WOODS LANE
KNOXVILLE, TN 37922                                P‐0003093 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKNIGHT, PATRICIA L.
221 COMMONWEALTH AVE
ERLANGER, KY 41018                                 P‐0003094 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTNI, SAMIR
2821 W PARKER RD #1
PLANO, TX 75023                                    P‐0003095 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, PHYLLIS R.
5435 HILLTOP PASS
FAIRBURN, GA 30213                                 P‐0003096 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLATT, JEFFRY B.
409 HERITAGE HLS #A
SOMERS, NY 10589                                   P‐0003097 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMEZ, IDA
10932 HIGHWOOD WAY
EL PASO, TX 79936                                  P‐0003098 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PELON, BONNIE S.
159 KINGS DR.
ROTONDA WEST, FL 33947                             P‐0003099 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWITZER, BARBARA J.
2238 WOODWIND WAY
LEAGUE CITY, TX 77573                              P‐0003100 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROSS, VINCENT E.
816 MILL ROCK ST.
LAWRENCEVILLE, GA 30044                            P‐0003101 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
SHUE, PATSY F.
SHUE, CHARLES D.
4414 49TH ST
LUBBOCK, TX 79414                                  P‐0003102 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIEGELMAN, BRENDA B.
69 POND CIRCLE
MOUNT SINAI, NY 11766                              P‐0003103 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAZLA, ALAN
3730 N 37TH TERRACE
HOLLYWOOD, FL 33021‐2500                           P‐0003104 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HICKMAN, DAVID E.
6641 CASTLE PINES DR
PLANO, TX 75093                                    P‐0003105 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIGSBY, WILLIAM L.
1403 SHAREEF DRIVE
MORRISTOWN
USA, TN 37814‐2218                                 P‐0003106 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOBDY, ROBERT D.
603 IVY CT
LEXINGTON, KY 40505‐2326                           P‐0003107 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSENBERG, KARI A.
660 BOHLIG ROAD
GLENDALE, CA 91207                                 P‐0003108 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TROY, JOHN W.
144 TROY CIRCLE
FORT WALTON BCH, FL 32547                          P‐0003109 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIMMONS, JEFFREY L.
974 BRANFORD LANE NW
LILBURN, GA 30047                                  P‐0003110 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MAURICE V.
P. O. BOX 1714
DURHAM, NC 27702                                   P‐0003111 10/24/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
STAUB, KEVIN N.
STAUB, TINA C.
2828 OLD LEXINGTON HIGHWAY
CHAPIN, SC 29036                                   P‐0003112 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREMLEY, CHRIS J.
7809 SAN JUAN AVE
BRADENTON, FL 34209                                P‐0003113 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIETSCH, GEOFFREY N.
PIETSCH, BARBARA K.
1929 NW 12TH ROAD
GAINESVILLE, FL 32605                              P‐0003114 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HESS, ROBERT A.
2009 SLAGLE ROAD
LEESVILLE, LA 71446                                P‐0003115 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERSANG, STEVEN D.
378 MAIN STREET
GROVEPORT, OH 43125                                P‐0003116 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHLEICHER, WILLIAM M.
SCHLEICHER, BARBARA S.
10262 JESSICA LANE
YOUNG HARRIS, GA 30582                             P‐0003117 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BOYLES, HAROLD T.
BOYLES, BARBARA L.
2463 CANDLEWOOD WAY
LAWRENCEVILLE, GA 30044                              P‐0003118 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORT CITY GRADING & PAVING
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                          P‐0003119 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VASHI, PANKAJ
1100 SAN LACINTO LANE
LAWRENCEVILLE, GA 30043                              P‐0003120 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, LESHELL L.
378 MAIN STREET
GROVEPORT, OH 43125                                  P‐0003121 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ GOMEZ, ROCIO G.
3035 POINSETTIA DR
DALLAS, TX 75211                                     P‐0003122 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOERING, ROBERT A.
220 WEST THIRD STREET
CINCINNATI, OH 45202                                 P‐0003123 10/24/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
IVEY, RICHARD K.
540 BARKSDALE DR
RALEIGH, NC 27604                                    P‐0003124 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECECCO, JAMES A.
1464 TURNERSBURG HWY
STATESVILLE, NC 28625                                P‐0003125 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUFF, DAMON
P.O. BOX 293
HYDEN, KY 41749                                      P‐0003126 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROY, JAMES
8459 E. JAMISON CIR. S.
CENTENNIAL, CO 80112                                 P‐0003127 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAUNDERS, KATRINA R.
293 TIMBERWIND DR
BYRON, GA 31008                                      P‐0003128 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMEZ, IDA
10932 HIGHWOOD WAY
EL PASO
EL PASO, TX 79936                                    P‐0003129 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OJOMON, CHRISTOPHER O.
11334 SW 169TH ST.
MIAMI, FL 33157                                      P‐0003130 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVERS, RUSSELL L.
6911 GEYSER COURT
DAYTON, OH 45424                                     P‐0003131 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOLASA, JOHN R.
KOLASA, BONIETA G.
257 SOMERSET STREET
STANFORD, KY 40484                                   P‐0003132 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERSOT, FREDERIC D.
ZDYBEL, MARTIN T.
3230 BROWNS CREEK CT
RENO, NV 89509                                       P‐0003133 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VASHI, BEENA P.
1100 SAN LACINTO LANE
LAWRENCEVILLE, GA 30043                              P‐0003134 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                 Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
HODGE, MARY J.
HODGE, JAMES D.
7260 BLANCHARD FURRH RD.
SHREVEPORT, LA 71107                              P‐0003135 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, KATHRYN A.
4408 CARLY'S WAY
GREENSBORO, NC 27410                              P‐0003136 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, ROBERT C.
MARTIN, ANNE H.
1950 HARBOUR INLET DRIVE
FORT LAUDERDALE, FL 33316                         P‐0003137 10/24/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
REITER, GERALD R.
720 W. DOERR PATH
HERNANDO, FL 34442                                P‐0003138 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECK, KENNETH C.
146 DADFORD DRIVE
LEESBURG, GA 31763                                P‐0003139 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERSOT, FREDERIC D.
3230 BROWNS CREEK CT
RENO, NV 89509                                    P‐0003140 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAPLE, CHERYL O.
7117 PELICAN ISLAND DRIVE
TAMPA, FL 33634                                   P‐0003141 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENFRO, LAWRENCE B.
100 CARROLLTON AVE
SHREVEPORT, LA 71105‐3310                         P‐0003142 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECK, KENNETH C.
146 DADFORD DRIVE
LEESBURG, GA 31763                                P‐0003143 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSSELL, DAVID A.
1709 ROCKY PINE LOOP SOUTH
COLUMBUS, OH 43229‐3617                           P‐0003144 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INDEPENDENT AWNING & CANVAS
324 JONES STREET
DAYTON, OH 45410                                  P‐0003145 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMMONS, FERDONYALE J.
26055 NORTH KINGS MILL LANE
KINGWOOD, TX 77339                                P‐0003146 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONG, KHUOC
8060 53RD WAY N
PINELLAS PARK, FL 33781                           P‐0003147 10/24/2017    TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
BRITTIN, DARRYL S.
BRITTIN, NAOKO S.
23 LAKEFIELD TRAILS
KATY, TX 77493                                    P‐0003148 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERSOT, FREDERIC D.
ZDYBEL, MARTIN T.
3230 BROWNS CREEK CT
RENO, NV 89509                                    P‐0003149 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YACKLE, WILLIAM G.
YACKLE, DENISE C.
P.O. BOX 465
209 CIRCLE DR
TOWNVILLE, SC 29689                               P‐0003150 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BECK, KENNETH C.
146 DADFORD DRIVE
LEESBURG, GA 31763                                  P‐0003151 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTCHER, WILLIAM A.
BUTCHER, JEAN M.
3009 S. GREENWOOD DRIVE
JOHNSON CITY, TN 37604                              P‐0003152 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENZ, CORAZON M.
BENZ, KEVIN J.
12405 SUMMERSWEET CV.
AUSTIN, TX 78729                                    P‐0003153 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LETCHWORTH, FRANK
811 ETHANS GLEN DR
KNOXVILLE, TN 37923                                 P‐0003154 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENDLEY, GENE
PENDLEY, GENEVIEVE
11308 NORTHVIEW DRIVE
ALEDO, TX 76008                                     P‐0003155 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECK, KENNETH C.
146 DADFORD DRIVE
LEESBURG, GA 31763                                  P‐0003156 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JANKINS, DAVID M.
101 CAROLS CIRCLE
MOYOCK, NC 27958                                    P‐0003157 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, WILLIAM O.
1065 DALBY WAY
AUSTELL, GA 30106                                   P‐0003158 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROXBERRY, MAUREEN E.
874 SW 159 LANE
PEMBROKE PINES, FL 33027                            P‐0003159 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, HEATH
18 HIGHLAND RD
TERRYVILLE, CT 06786                                P‐0003160 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULVER, WAYNE D.
3603 RAINDROPS RD.
PASADENA, TX 77505                                  P‐0003161 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADDEN, ROBIN L.
106 CROSSVINE WAY
SIMPSONVILLE, SC 29680                              P‐0003162 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UTZINGER, SHIRLEY E.
324 JONES STREET
DAYTON, OH 45410                                    P‐0003163 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIELSEN, JEREMY M.
92 E 13TH STREET
HUNTINGTON STA., NY 11746                           P‐0003164 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHOSRAVY, DAVOOD
KHOSRAVY, BARBARA L.
3400 W. ELEPHANT HEAD RD.
GREEN VALLEY, AZ 85622                              P‐0003165 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRETTI, GARY
1018 SE 10TH COURT
DEERFIELD BEACH, FL 33441                           P‐0003166 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, SARAH A.
1502 FM 1774
ANDERSON, TX 77830                                  P‐0003167 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
TREJO, HONORATO R.
6801 WEST 19TH ST., # 287
LUBBOCK, TX 79407                                   P‐0003168 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GABLE, CHRISTOPHER T.
6400 ASHINGTON CIRCLE
PLANO, TX 75023                                     P‐0003169 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENFRO, LAWRENCE B.
100 CARROLLTON AVE
SHREVEPORT, LA 71105‐3310                           P‐0003170 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEONARD, JON N.
12419 N ECHO VALLEY DRIVE
ORO VALLEY, AZ 85755                                P‐0003171 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARR, ELIZABETH A.
BARR, JAMES R.
31314 WILDCAT DRIVE
BULVERDE, TX 78163                                  P‐0003172 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANNAMAKER JR., DENNIS
WANNAMAKER, SHARON
270 CAEDMONS CREEK DR
IRMO, SC 29063                                      P‐0003173 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAMA, KPONGOUYA
KANGNISSOUKPE, DEDE A.
925 GRASS HOLLOW CT
CHARLOTTE, NC 28216                                 P‐0003174 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEPHERD, LAVAR
P.O. BOX 54042
ATLANTA, GA 30308                                   P‐0003175 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAREY, DUSTIN J.
235 11TH SQ SW
VERO BEACH, FL 32962                                P‐0003176 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, KENTON T.
WOOD, BLYTHE A.
9915 ALEXANDRIA RD NE
ALBUQUERQUE, NM 87122                               P‐0003177 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAZLA, ALAN
3730 N. 37TH TERRACE
HOLLYWOOD, FL 33021‐2500                            P‐0003178 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUVALL, WESLEY J.
8540 E BANKHEAD HWY
ALEDO, TX 76008                                     P‐0003179 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LASSITER, MATTHEW H.
143 CHESTNUT STREET
TRYON, NC 28782                                     P‐0003180 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCQUEEN, JESSICA Y.
2609 W 13TH STREET
TEXARKANA, TX 75501                                 P‐0003181 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAREY, DUSTIN J.
235 11TH SQ SW
VERO BEACH, FL 32962                                P‐0003182 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GABY, PATRICIA
GABY, CHRISTOPHER
300 W SEVIER HEIGHTS
GREENEVILLE, TN 37745                               P‐0003183 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCANTONIO, TERRENCE R.
23 BALDWIN AVENUE
MERIDEN, CT 06450                                   P‐0003184 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MANDEVILLE, RAY L.
3141 BLUE CREEK RD
LENOIR, NC 28645                                      P‐0003185 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, ADRIENNE V.
4722 FOY PL
SARASOTA, FL 34243
                                                      P‐0003186 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, MELODY J.
188 S KILLARNEY LANE
#5
RICHMOND, KY 40475                                    P‐0003187 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHLAF, GREGORY J.
15 QUEEN ANNE CT
ORMOND BEACH, FL 32174                                P‐0003188 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAZLA, ALAN
NO ADDRESS PROVIDED
                                                      P‐0003189 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUDNEY, ROBERT S.
143 TEABERRY TRAIL
BEECH MOUNTAIN, NC 28604                              P‐0003190 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORSLEY, JULIE E.
32019 ASHTON LN
PINEHURST, TX 77362                                   P‐0003191 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROLEN, RALPH E.
4448 JONES COVE RD
COSBY, TN 37722                                       P‐0003192 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DANNY A.
768 TWILIGHT DRIVE
CRESCENT SPRINGS, KY 41017                            P‐0003193 10/24/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
ANDREWS, PHYLLIS E.
ANDREWS, DENNIS W.
463 WINDING RIDGE CIR SW
MARIETTA, GA 30064‐2761                               P‐0003194 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENLAND, LINDA A.
1010 CRUMBLEY ROAD
CHATSWORTH, GA 30705                                  P‐0003195 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREEDMAN, RIAN S.
170 RIDGELAND WAY NE
ATLANTA, GA 30305                                     P‐0003196 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STULTS, JOHN E.
CROSBIE, DAPHNE A.
714 RED LETTER STREET
HELENA, MT 59601                                      P‐0003197 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARROLL, STEVEN M.
CARROLL, CATHERINE M.
4172 DERBY PL
OVIEDO, FL 32765                                      P‐0003198 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTHERN, ANGELA M.
SCOTHERN, ANGELA M.
1324 DAVID DRIVE
SYRACUSE, UT 84075                                    P‐0003199 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYNG ZAHNOW, KARA D.
ZAHNOW, STEPHEN K.
211 WARM SPRINGS CREEK RD
CLANCY, MT 59634                                      P‐0003200 10/24/2017    TK Holdings Inc., et al .                       $35.00                                                                                       $35.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WANG, XI
337 IDAHO LN
MURPHY, TX 75094‐3692                                P‐0003201 10/24/2017    TK Holdings Inc., et al .                     $280.00                                                                                       $280.00
GWIN, KELLY M.
183 PINEHILLS DRIVE
CALHOUN, LA 71225                                    P‐0003202 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARROLL, STEVEN M.
CARROLL, CATHERINE M.
4172 DERBY PL
OVIEDO, FL 32765                                     P‐0003203 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HULL, RICHARD K.
EDEN, BARBARA J.
305 E 29 PL
TULSA, OK 74114                                      P‐0003204 10/24/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MCDOWELL, AMANDA L.
4095 N ST RT 42
WAYNESVILLE, OH 45068                                P‐0003205 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, ELAINE
109 SHELBYS COVE CT
PONTE VEDRA BEAC, FL 32082                           P‐0003206 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LICCIARDI, BONNIE
43 SUNRISE DRIVE
SOUND BEACH, NY 11789                                P‐0003207 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, CAROLYN
160 EAST COLLEGE ST
TK HOLDING INC.,ET AL
SHREVEPORT, LA 71104                                 P‐0003208 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREEDMAN, JOSEPH D.
170 RIDGELAND WAY NE
ATLANTA, GA 30305                                    P‐0003209 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEXANDER, DARLENE H.
3716 CECELIA LANE
FOREST HILL, TX 76140                                P‐0003210 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SURBER, MARY B.
SURBER, JEFFREY W.
1739 FAIR WAY
CARSON CITY, NV 89701                                P‐0003211 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EMINI, MIRIM
6927 62ND AVE
MIDDLE VILLAGE, NY 11379                             P‐0003212 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GWIN, GREG
183 PINEHILLS DRIVE
CALHOUN, LA 71225                                    P‐0003213 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, JAMES C.
106 COTTONTAIL LANE
BATESBURG, SC 29006                                  P‐0003214 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURGESS, WILLIAM J.
BURGESS, JO L.
4425 WINTERBERRY RIDGE CT
WINSTON SALEM, NC 27107                              P‐0003215 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLESHER, JAMES A.
JAMES A FLESHER TRUST
1117 GREYSTONE ST.
STILLWATER, OK 74074                                 P‐0003216 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ENGLAND, KAILA B.
6522 HELEN JULIA LANE
COTTONDALE, AL 35453                                 P‐0003217 10/24/2017    TK Holdings Inc., et al .                       $89.95                                                                                       $89.95
ELLISON, DARLENE
609 WESTSIDE DRIVE
LEXINGTON, NC 27292                                  P‐0003218 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAZLA, ALAN
3730 N 37TH TERRACE
HOLLYWOOD, FL 33021‐2500                             P‐0003219 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHKINAZ, BARRY C.
ASHKINAZ, IRENE B.
BARRY C ASHKINAZ
703 MUSTANG DRIVE
FAIRVIEW, TX 75069                                   P‐0003220 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMATO, GREGORY
3505 W EMPEDRADO ST
APT 2
TAMPA, FL 33629                                      P‐0003221 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWEENEY, HEATHER M.
215 DENNIS DRIVE
PRINCETON, NC 27569                                  P‐0003222 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, LINDA A.
10900 HANALEI AVE NE
ALBUQUERQUE, NM 87111                                P‐0003223 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERCE, BOB
PIERCE, MONICA
5103 S. SHERIDAN RD, #624
TULSA, OK 74145                                      P‐0003224 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JANKINS, DAVID M.
101 CAROLS CIRCLE
MOYOCK, NC 27958                                     P‐0003225 10/24/2017    TK Holdings Inc., et al .                   $28,615.71                                                                                   $28,615.71
ROUSSEVE, NUMA J.
14 BONNIE BRIAR RD
WHITE PLAINS, NY 10607                               P‐0003226 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, DESTINEY D.
403 KENNIE RD.
SHREVEPORT, LA 71106                                 P‐0003227 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENGLISH, DEBBIE
ENGLISH, RUSSELL
5033 ROBERTSON DR
ABILEN, TX 79606                                     P‐0003228 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, CAROLYN E.
1009 W. ASHTON LANE
MOORESVILLE, IN 46158                                P‐0003229 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, WILLIAM B.
7707 NEW ENGLAND PKWY
AMARILLO, TX 79119                                   P‐0003230 10/24/2017    TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
SCHULTE, TOM
10429 FM 2621
BRENHAM, TX 77833                                    P‐0003231 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCAZZERO, WILLIAM
2705 BULL SHOALS
FORT WORTH, TX 76131                                 P‐0003232 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, LISA M.
61 LEXINGTON PLACE SOUTH
DURHAM, CT 06422‐1915                                P‐0003233 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
JACKSON, DORLA
8716 HARVEST ACRES
MANVEL, TX 77578                                   P‐0003234 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, CHARLES H.
10900 HANALEI AVE NE
ALBUQUERQUE, NM 87111                              P‐0003235 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAUB, TINA C.
2828 OLD LEXINGTON HIGHWAY
CHAPIN, SC 29036                                   P‐0003236 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOUCHINS, BRAD L.
303 RS CR 4325
EMORY, TX                                          P‐0003237 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, MARCUS A.
2131 W 45TH ST
JACKSONVILLE
USA, FL 32209                                      P‐0003238 10/24/2017    TK Holdings Inc., et al .                   $14,537.04                                                                                   $14,537.04
ROUSSEVE, NUMA J.
14 BONNIE BRIAR RD
WHITE PLAINS, NY 10607                             P‐0003239 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANEQUE, BASILIO J.
PANEQUE, ALISON
9325 KERWOOD CT
CORAL GABLES, FL 33156                             P‐0003240 10/24/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
ANDREWS, PHYLLIS E.
ANDREWS, DENNIS W.
463 WINDING RIDGE CIR SW
MARIETTA, GA 30064‐2761                            P‐0003241 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINKLE, AMBER L.
HINKLE, VIRGINIA L.
1664 HARPER RD
LEWISBURG, WV 24901                                P‐0003242 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, SHEILA R.
95 PINEWOOD DRIVE
SILER CITY, NC 27344                               P‐0003243 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOUCHINS, HEATHER M.
303 RS CR 4325
EMORY, TX                                          P‐0003244 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BATES, HARRIET
3771 WOOD DUCK CT
AYDEN, NC 28513                                    P‐0003245 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, ANNA M.
502 TALLULAH TRAIL
WARNER ROBINS, GA                                  P‐0003246 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIMMONS, JEFFREY L.
974 BRANFORD LANE NW
LILBURN, GA 30047                                  P‐0003247 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DANIEL B.
SMITH, REBECCA G.
1321 GOLDLEN EAGLE DRIVE
DURHAM, NC 27704                                   P‐0003248 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, LARRY
4601 ESTES PARK RD.
HALTOM CITY, TX 76137                              P‐0003249 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CLEMONS, CARL D.
VOLKSWAGAN
P.O. BOX 882034
PORT ST LUCIE, FL 34988                               P‐0003250 10/24/2017    TK Holdings Inc., et al .                    $9,800.00                                                                                    $9,800.00
WOLFSON, DEBORAH S.
131 PARKWAY DR N
COMMACK, NY 11725                                     P‐0003251 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWARZ, MARGARET E.
62 BROOK STREET
RIVERHEAD, NY 11901                                   P‐0003252 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAULS, STANLEY L.
411 SILVER CREEK ROAD
GREER, SC 29650                                       P‐0003253 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PULLAR, JACK E.
NO ADDRESS PROVIDED
                                                      P‐0003254 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, PEGGY
PETERSON, CLIVE
3590 S CHATTERLEIGH RD
WEST VALLEY CITY, UT 84128                            P‐0003255 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLLOCK, JAMES B.
3024 SOUTHRIDGE RD.,EAST
MOBILE, AL 36693                                      P‐0003256 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEED, CHUCK
6110 ELMHURST ROAD
AMARILLO, TX 79106‐3540                               P‐0003257 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURAND, MONICA J.
4516 S 4500 W
WEST HAVEN, UT 84401                                  P‐0003258 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYNE, RICHARD W.
3177 BIRKDALE AVENUE, NW
STONEBRIER AT SUGARLOAF
DULUTH, GA 30097‐5228                                 P‐0003259 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, CLINTON J.
1312 E MAINE AVE
NAMPA, ID 83686                                       P‐0003260 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARROLL, GILBERTINE M.
7406 BULL CREEK ROAD
HOUSTON, TX 77095                                     P‐0003261 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFSON, DEBORAH S.
131 PARKWAY DR N
COMMACK, NY 11725                                     P‐0003262 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRELL5603, PATTY A.
PATTY A. FERRELL
962 REBECCA LYNN DR.
RUSH, KY 41168                                        P‐0003263 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CREAGH, LUCIOUS
958 DELMAR DR
MOBILE, AL 36606                                      P‐0003264 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GODIALIS, CHRISTOPHER T.
6 UPLANDS DR
CANTON, CT 06019                                      P‐0003265 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAIGLE, TIMOTHY P.
1209 PINE FIELD CT.
PEARLAND, TX 77581                                    P‐0003266 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WOLFSON, DEBORAH S.
131 PARKWAY DR N
COMMACK, NY 11725                                   P‐0003267 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNABNEY, MARK W.
529 HILLS GATE CIR
SEYMOUR, TN 37865                                   P‐0003268 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POSTON, EDGAR D.
198 HUNTERS HILL DRIVE
STATESVILLE, NC 28677                               P‐0003269 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILAZZO, PAUL E.
9880 SHERIDAN ST
#206
PEMBROKE PINES, FL 33024                            P‐0003270 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDREWS, JENNIFER L.
12650 N. CAVE CREEK ROAD
PHOENIX, AZ 85022                                   P‐0003271 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEHAR, LARRY
3224 WATERBURY DRIVE
WANTAGH, NY 11793                                   P‐0003272 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKAY, ROBERT M.
SKAY, CHARLENE
10864 FM 2016
TYLER, TX 75706                                     P‐0003273 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFSON, HYMAN W.
131 PARKWAY DR N
COMMACK, NY 11725                                   P‐0003274 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAIGLE, JENNIFER C.
1209 PINE FIELD CT.
PEARLAND, TX 77581                                  P‐0003275 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, GARY W.
340 TILLBROOK COURT
FOUNTAIN INN, SC 29644                              P‐0003276 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETE, DAVID R.
PETE, CECILE
7655 PARKNORTH 311
BEAUMONT, TX 77708                                  P‐0003277 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETE, CECILE
7655 PARKNORTH 311
BEAUMONT, TX 77708                                  P‐0003278 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER JR, LAZELL
GEORGE, DEMETRAL D.
2765 CABLE AVE
BEAUMONT, TX 77703                                  P‐0003279 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANTZ, JANA S.
LANTZ, RALPH W.
2444 S MARINER WAY
BOISE, ID 83706                                     P‐0003280 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COPPER, TRACY L.
HC 75 BOX 812
ELIASVILLE, TX 76481                                P‐0003281 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNHART, DAVID H.
BARNHART, SANDRA C.
9155 KING DAVIS
SAN ANTONIO, TX 78254                               P‐0003282 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
ROGERS, CHRISTEN M.
1216 N. BLACKWELEFT AVE
EDMOND, OK 73034                                    P‐0003283 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORT CITY GRADING & PAVING,
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                         P‐0003284 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEHAR, LARRY
BEHAR, MELINDA
3224 WATERBURY DRIVE
WANTAGH, NY 11793                                   P‐0003285 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUYNH, SON C.
11419 CARVEL LN
HOUSTON, TX
HARRIS                                              P‐0003286 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFSON, HYMAN W.
131 PARKWAY DR N
COMMACK, NY 11725                                   P‐0003287 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLLOCK, JAMES B.
3024 SOUTHRIDGE ED.,EAST
MOBILE, AL                                          P‐0003288 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNABNEY, MARK W.
529 HILLS GATE CIR
SEYMOUR, TN 37865                                   P‐0003289 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, GARY W.
340 TILLBROOK COURT
FOUNTAIN INN, SC 29644                              P‐0003290 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH‐KAESTNER, GABRIELE
4700 LAWNDALE DR STE.H
GREENSBORO, NC 27455                                P‐0003291 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARTIN, VALERIE
7279 HIGHWAY 10 EAST
PINEAPPLE, AL 36768                                 P‐0003292 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VELEZ, IDA L.
3 SILVER SPRING FARM LANE
GOSHEN, NY 10924                                    P‐0003293 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROMERO, AMIE C.
210 S COTTONWOOD RD UNIT 204
BOZEMAN, MT 59718                                   P‐0003294 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GULLO, PASQUALI
1632 200 ST.
BAYSIDE, NY 11360‐1034                              P‐0003295 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRY JR, LEE M.
129 CLARK AVENUE
BRANFORD, CT 06405                                  P‐0003296 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKELTON, TERRI L.
1012 LILY GREEN CT, NW
CONCORD, NC 28027                                   P‐0003297 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORT CITY GRADING & PAVING, I
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540                              P‐0003298 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABBAS, M.
6 MINEOLA AVE
HICKSVILLE, NY 11801                                P‐0003299 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GADSON, NICOLE
121 KNIGHT AVE
SUMMERVILLE, SC 29483                               P‐0003300 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
STAUFFER, DAVID P.
NO ADDRESS PROVIDED
                                                    P‐0003301 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENRY, WILLIAM B.
321 SHARON DR
GREER, SC 29651‐5736                                P‐0003302 10/24/2017    TK Holdings Inc., et al .                    $3,288.00                                                                                    $3,288.00
KOBELL, STACEY L.
13883 OSPREY LINKS ROAD
APT. 141
ORLANDO, FL 32837                                   P‐0003303 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANTZ, JANA S.
LANTZ, RALPH W.
2444 S MARINER WAY
BOISE, ID 83706                                     P‐0003304 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, TIMOTHY S.
9613 FOX HUNT CIR W
DOUGLASVILLE, GA 30135                              P‐0003305 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERMENT CONSTRUCTION LLC
ARTURO BERMEA
615 CACTUS FLOWER ST
SAN ANTONIO, TX 78260                               P‐0003306 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PADGETT, ELIZABETH B.
1401 FOUNDERS LAKE DRIVE
ATHENS, GA 30606                                    P‐0003307 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COBB, LEIGH G.
2 SETTER CT
COLUMBUS, GA 31909                                  P‐0003308 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIGG, WALTER W.
7281 KEMPERWOOD COURT
BLACKLICK, OH 43004‐8662                            P‐0003309 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, THOMAS C.
1343 STERLING POINT DRIVE
GULF BREEZE, FL 32563                               P‐0003310 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FULLER, BARBARA R.
39 RAYCROFT STREET
MILFORD, CT 06461                                   P‐0003311 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, ERNESTO
842 VISTA GROVE CIR
HOUSTON, TX 77073                                   P‐0003312 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOMINGUEZ, SANTIAGO A.
877 GARRISON DR
SAN BENITO, TX 78586                                P‐0003313 10/24/2017    TK Holdings Inc., et al .                   $26,000.00                                                                                   $26,000.00
SCENTS, LORI J.
13512 PRESTWICK DRIVE
RIVERVIEW, FL 33579                                 P‐0003314 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAPLES, JAMES E.
STAPLES, J & D
1930 VILLAGE CENTER CIR
#3‐343
LAS VEGAS, NV 89134                                 P‐0003315 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALTZMAN, ROBERT I.
SALTZMAN, ROBERT I.
915 SHERWOOD LANE
STATESVILLE, NC 28677‐4132                          P‐0003316 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BERMENT CONSTRUCTION LLC
ARTURO BERMEA
615 CACTUS FLOWER ST
SAN ANTONIO, TX 78260                                P‐0003317 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SZCZEPANIAK, ANDREA Y.
SZCZEPANIAK, PIOTR M.
133 WISTORIA CT
CIBOLO, TX 78108                                     P‐0003318 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAY, DENNIS M.
936 LOOKOUT DRIVE
KINGSPORT, TN 37663                                  P‐0003319 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEPHERD, LAVAR
P.O. BOX 54042
ATLANTA, GA 30308                                    P‐0003320 10/24/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
JACKSON, MIRANDA S.
111 HORTON RD.
ROEBUÇK, SC 29376                                    P‐0003321 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANK, DUSTIN A.
168 S. ROYS AVE
COLUMBUS, OH 43204                                   P‐0003322 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, JACQUELINE
208 ROCKYFORD ST
MORGANTON, NC 28655                                  P‐0003323 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KETTLEHUT, ALLAN
7309 RAVENSWOOD RD
GRANBURY, TX 76049                                   P‐0003324 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLOUSE, KEITH A.
TAVERNA CLOUSE, JAMI E.
7742 BRYN MAWR DR
DALLAS, TX 75225                                     P‐0003325 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LE, ANTHONY T.
51 HOLLINGER WAY
MARIETTA, GA 30060‐9013                              P‐0003326 10/24/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
MILLS, MARY S.
25740 BARCELONA BLVD
LEESBURG, FL 34748                                   P‐0003327 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOPER, GREG M.
1000 TREVEY PT.
LEXINGTON, KY 40515                                  P‐0003328 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIPMAN, JIMMY R.
SHIPMAN, TAMI S.
P.O. BOX 1255
IRAAN, TX 79744‐1255                                 P‐0003329 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THEOBALD, KENNETH E.
4030 TATES CREEK RD APT 5000
LEXINGTON, KY 40517                                  P‐0003330 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESLEY, CHRISTOPHER P.
9479 ATCHISON CT
WEST CHESTER, OH                                     P‐0003331 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDELMAN, JAMES A.
2800 N HWY A1A
FORT PIERCE, FL 34949                                P‐0003332 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, ANGELA K.
311 BIRCH DRIVE
FRANKFORT, KY 40601                                  P‐0003333 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
KIRK, KEITH W.
154 N SUMMIT DR
MASSAPEQUA, NY 11758                               P‐0003334 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAHNIUK, DEAN
2322 LINCOLN AVE
COCONUT GROVE, FL 33133                            P‐0003335 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWENS, STEVE
240 ANDERSON ROAD
FLEMING, OH 45729                                  P‐0003336 10/24/2017    TK Holdings Inc., et al .                     $225.35                                                                                       $225.35
CANTRELL, MARY L.
CANTRELL, BRADLEY E.
3404 S. TAMARACK AVE.
BROKEN ARROW, OK 74012                             P‐0003337 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINZ, DAVID M.
46 MADDOX AVENUE
ISLIP, NY 11751                                    P‐0003338 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRK, KEITH W.
154 N SUMMIT DR
MASSAPEQUA, NY 11758                               P‐0003339 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIRAND, IRENE
P.O. BOX 880584
PORT ST LUCIE, FL 34988                            P‐0003340 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, WILLIAM C.
7061 HUNTINGTON COURT SOUTH
MOBILE AL 36619                                    P‐0003341 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENA JR, REYNALDO
1306 MIMOSA RD
MISSOURI CITY, TX 77489                            P‐0003342 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, AMY K.
4914 TOWER RD UNIT D
GREENSBORO, NC 27410                               P‐0003343 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRK, KEITH W.
154 N SUMMIT DR
MASSAPEQUA, NY 11758                               P‐0003344 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, JOHNNY J.
6234 GEORGETOWN DRIVE
COLUMBUS, GA 31907                                 P‐0003345 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWCOM, DEBORAH S.
NEWCOM, CLIFF E.
702 ALBERT PILGRIM RD
JASPER, TN 37347                                   P‐0003346 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUNTON, SANYA L.
WALDRON, CARMEN E.
9127 PRAIRIE TRAILS DR
SPRING, TX 77379                                   P‐0003347 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, WILLIAM C.
7061 HUNTINGTON COURT SOUTH
MOBILE, AL 36619                                   P‐0003348 10/24/2017    TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
LAMER, DANIEL F.
1626 ASHMAR LN SW
MARIETTA, GA 30064                                 P‐0003349 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, RANDY P.
50 FARINGTON CIRCLE
FLETCHER, NC 28732                                 P‐0003350 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
STACKHOUSE, LYNNE
105 E WATERBURY LANE
MERIDIAN, ID 83646                                  P‐0003351 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDMAN, RICHARD A.
GOLDMAN, LYNNE G.
1 E OWL CREEK LN
FAIRVIEW, NC 28730                                  P‐0003352 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUMP, TANGELA Y.
114 STERLING BRIDGE RD.
GREENVILLE, SC 29611                                P‐0003353 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDMAN, BILLI A.
64 KETCHAM AVENUE
HICKSVILLE, NY 11801                                P‐0003354 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BADKE, FREDERICK R.
651 N STRATA VIA WAY
BOISE, ID 83712                                     P‐0003355 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LETCHWORTH, FRANK
811 ETHANS GLEN DR
KNOXVILLE, TN 37923                                 P‐0003356 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORDON, DAVID V.
CONCRETE REPAIR SPECIALIST, L
2201 EAST MAIN ST
CHATTANOOGA, TN 37404                               P‐0003357 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEONARD, DAVID J.
CLICK, DARLENE F.
6658 W SANDERS AVE
TALBOTT                                             P‐0003358 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOMBET, RICHARD A.
CAPPEL, T. J.
1601 MONTERREY DRIVE
GARLAND, TX 75042                                   P‐0003359 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TADROUS, KIROLOS
1110 SIOUX DR
INDIAN HARBOUR B, FL 32937                          P‐0003360 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLAHERTY, MARY J.
8121 RHIANNON ROAD
RALEIGH, NC 27613                                   P‐0003361 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, LINDA S.
24 LAKE VALLEY CT.
SIMPSONVILLE, SC 29681                              P‐0003362 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCLENDON, SUBRINA L.
4239 LARIGO DR.
KNOXVILLR, TN 37914                                 P‐0003363 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, WILLIAM C.
7061 HUNTINGTON COURT SOUTH
MOBILE, AL 36619                                    P‐0003364 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUNTON, SANYA L.
9127 PRAIRIE TRAILS DR
SPRING, TX 77379                                    P‐0003365 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONICA, HERBERT R.
632 LUZON AVE
TAMPA, FL 33606‐3931                                P‐0003366 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEGAL AID OF THE BLUEGRASS
104 EAST SEVENTH STREET
COVINGTON, KY 41011                                 P‐0003367 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
DAVIS, ANGIE S.
DAVIS, LARRY R.
202 COLLINS DRIVE
IRVING, TX 75060‐2524                               P‐0003368 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCK, SHARON
4902 YARWELL
HOUSTON, TX 77096                                   P‐0003369 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAN, THAI
10995 SKYLARK DR
JACKSONVILLE, FL 32257                              P‐0003370 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURZYN, LOIS P.
160 EDGEFIELD STREET
BOILING SPRINGS, SC 29316                           P‐0003371 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENNARD, MARK A.
203 LIBBY CIRCLE WEST
WILLIS, TX 77378                                    P‐0003372 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEIER, ROGER D.
2744 N MEGAFAUNA CT
TUCSON, AZ 85749                                    P‐0003373 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIDDLETON, CRYSTAL R.
5857 AMITY SPRINGS DR
CHARLOTTE, NC 28212                                 P‐0003374 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMES, JESSICA
HOLMES, PATRICK
5313 EAST EMORY RD
KNOXVILE, TN 37918                                  P‐0003375 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMES, JANOL L.
3711 UPPARK DRIVE
ATLANTA, GA 30349                                   P‐0003376 10/24/2017    TK Holdings Inc., et al .                   $65,000.00                                                                                   $65,000.00
RENFROE, CECIL M.
85 HIDDEN BROOK LN
NEWNAN, GA 30265                                    P‐0003377 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAGYS, SIGI
NAGYS, SIGI
665 BELLA VISTA DR
TITUSVILLE, FL 32780                                P‐0003378 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORROW, MENDI W.
7866 WATERWHEEL WAY
JONESBORO, GA 30238                                 P‐0003379 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAADYA, ARIELLE R.
6633 COLORADO SPRUCE STREET
LAS VEGAS, NV 89149                                 P‐0003380 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, KRISTOPHER K.
7550 STONEBRIDGE BAY CT
STONE MOUNTAIN, GA 30087                            P‐0003381 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRITTON, MICKEY W.
6716 PECANWOOD
HITCHCOCK, TX 77563                                 P‐0003382 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHLER, LAURIE B.
290 EAST MIDDLE PATENT ROAD
BEDFORD, NY 10506                                   P‐0003383 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DETRO, GARY L.
DETRO, RHONDA K.
3344 FIDDLERS GREEN
BRYAN, TX 77808                                     P‐0003384 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
KILMARTIN, SEAN E.
4244 OLD COURSE DRIVE
CHARLOTTE, NC 28277                                P‐0003385 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, PAMELA
3822 CLYDE THOMAS ROAD
MORRISTOWN, TN 37813                               P‐0003386 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEJIA, DAVID G.
MEJIA, DANIEL P.
415 FRENCH PARTRIDGE LN
BILTMORE LAKE, NC 28715‐8964                       P‐0003387 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCMILLAN, GREGORY
6321 GLEN ABBEY LANE
BRADENTON, FL 34202                                P‐0003388 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, SANDRA L.
15668 GROVE CREST DR
FRISCO, TX 75035                                   P‐0003389 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURZYN, LOIS P.
160 EDGEFIELD STREET
BOILING SPRINGS, SC 29316                          P‐0003390 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUELLER, TRINA M.
2897 N CENTENNIAL WAY
PLEASANT VIEW, UT 84404                            P‐0003391 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, JOHN W.
2510 HUNTWICK ST
GRAND PRAIRIE, TX 75050                            P‐0003392 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, WILLIAM C.
7061 HUNTINGTON COURT SOUTH
MOBILE AL36619                                     P‐0003393 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REED, LEWIS M.
4149 PEBBLE CREEK DR
VALDOSTA, GA 31605                                 P‐0003394 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILMARTIN, SEAN E.
4244 OLD COURSE DRIVE
CHARLKOTTE, NC 28277                               P‐0003395 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBSON, LARRY
9904 THORNGROVE PIKE
STRAWBERRY PLAINS, TN 37871                        P‐0003396 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YAN, RICKY
22 HIGHVIEW AVE
HUNTINGTON STA, NY 11736                           P‐0003397 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETTY, LENZELL A.
478 POPLAR FARMS DRIVE
HIRAM, GA 30141                                    P‐0003398 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POOLE, DAVID H.
11598 DUELING OAKS CT.
PENSACOLA, FL 32514                                P‐0003399 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOLEVER, SALEEMAH
889 MADISON CT
JONESBORO, GA 30236                                P‐0003400 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGLETARY, DUSTIN
SINGLETARY, DUSTIN
2547 ROSE BAY CT
TROPHY CLUB, TX 76262‐5096                         P‐0003401 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GRANT, JOHN W.
GRANT, JOANNE P.
588 CORLEY DRIVE
COLUMBUS, GA 31907                                    P‐0003402 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYARS, PATRICIA
BYARS, MAX K.
461 VZ COUNTY RD 2137
WILL POINT, TX 75169                                  P‐0003403 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTIAN, STEPHANIE
3415 WINDSOR BLVD.
BIRMINGHAM, AL 35209                                  P‐0003404 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHAM, SHAWN O.
WASHAM, SHARNITA L.
1711 KATYE ST
MOBILE, AL 36617                                      P‐0003405 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGRUDER, KISHA S.
2440 VOLGA
DALLAS, TX 75216                                      P‐0003406 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAKE, AUSTIN J.
LAKE, SUSAN
16995 SENTINEL LANE
LINDALE, TX 75771                                     P‐0003407 10/24/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
REDINGER, ROBERT E.
REDINGER, CRISTY A.
5713 THRINAX PL
FORT PIERCE, FL 34982                                 P‐0003408 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY, BYRON S.
4796 FORTUNA WAY
SALT LAKE CITY, UT 84124                              P‐0003409 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DACEY, SANDRA M.
10602 STONE CANYON RD
APT 255
DALLAS, TX 75230                                      P‐0003410 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORUM, GREGORY P.
NO ADDRESS PROVIDED
                                                      P‐0003411 10/24/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
BELLO, VICTORIA E.
20 AMHERST ROAD
WHITING, NJ                                           P‐0003412 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, CARL A.
1742 SAM RITTENBERG BLVD
APT 3D
CHARLESTON, SC 29407                                  P‐0003413 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, ANDREA Y.
4104 WYNDHAM CREST BLVD
APT 4104
SANFORD                                               P‐0003414 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIACOBBE, PETER J.
GIACOBBE, SUSAN B.
465 WATER ST
CELEBRATION, FL 34747                                 P‐0003415 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUTZ, JO A.
GRANT, FRANK E.
9423 S 14TH AVEPHOENIX
PHOENIX, AZ 85041                                     P‐0003416 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
POULSEN, KAREN L.
1305 PROFESSOR PLACE
DURHAM, NC 27713                                     P‐0003417 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, ADRIENNE L.
1720 ALSTON AVENUE
FORT WORTH, TX 76110                                 P‐0003418 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWTON, CAMERON
2734 STILL FARMS PLACE
LAWRENCEVILLE, GA 30043                              P‐0003419 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTIAN, STEPHANIE
3415 WINDSOR BLVD.,
BIRMINGHAM, AL 35209                                 P‐0003420 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, MYKAL J.
168 WASHINGTON AVE
#3
WEST HAVEN, CT 06516                                 P‐0003421 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAGUN, TRACEY
3473 WEST 3600 SOUTH
WEST HAVEN, UT 84401                                 P‐0003422 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OVANESSIANS, PHILIP
3907 TURNBERRY DRIVE
SUGAR LAND, TX 77479                                 P‐0003423 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLDEN, LAURIE P.
8300 VALLEY OAKS DR
N RICHLAND HILLS, TX 76182                           P‐0003424 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN AKEN, TYLER G.
1742 SAM RITTENBERG BLVD
APT 3D
CHARLESTON, SC 29407                                 P‐0003425 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORUM, ANTHONY J.
2399 STIRRING CT SW
MARIETTA, GA 30064                                   P‐0003426 10/24/2017    TK Holdings Inc., et al .                     $750.00                                                                                       $750.00
MCKENZIE, TINA M.
1023 BOLING BROOK
SAN ANTONIO, TX 78245                                P‐0003427 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SODA, SCOTT S.
3437 W 1340 N
CLINTON, UT 84015                                    P‐0003428 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VACCARO, JOSEPHINE Y.
4638 MEREDITH AVE
LAS VEGAS, NV 89121                                  P‐0003429 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUNSON, KAREN V.
225 PLAYA DELRAY DR
COLUMBUS, GA 31906                                   P‐0003430 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOLEVER, SALEEMAH
NO ADDRESS PROVIDED
                                                     P‐0003431 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANI, CAROLYN
4438 MYERWOOD LANE
DALLAS, TX 75244                                     P‐0003432 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURGO, MANUEL
68 SPRUCE ST
NEWINGTON, CT 06111                                  P‐0003433 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SULLIVAN, SEAN T.
4917 RIVER FARM THAT
MARIETTA, GA 30068                                   P‐0003434 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
BLAKELY‐MALVIN, KAREN K.
432 VIGO PORT ST
LAS VEGAS, NV 89138                                P‐0003435 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAMBLE BOURNE, SHATAQUIA C.
5741 VILLAGE LOOP
FAIRBURN, GA 30213                                 P‐0003436 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOFT, ADAM
10774 RICHMOND PLACE
COOPER CITY, FL 33026                              P‐0003437 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, STEPHEN J.
7711 GRANITE RIDGE LANE
HOUSTON, TX 77095                                  P‐0003438 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURGO, MANUEL
68 SPRUCE ST
NEWINGTON, CT 06111                                P‐0003439 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORUM, GREGORY P.
2399 STIRRING CT SW
MARIETTA, GA 30064                                 P‐0003440 10/24/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MAMEDOV, SHAMURAT F.
3812 STONE RIVER CT
LOUISVILLE, KY 40299                               P‐0003441 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PURVIS, MARION F.
72 NORTH 750 EAST
AMERICAN FORK UT                                   P‐0003442 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PURNELL, NICOLE L.
4550 SOUTH RIVER BEND
ELLENWOOD, GA                                      P‐0003443 10/24/2017    TK Holdings Inc., et al .                   $17,000.00                                                                                   $17,000.00
NEWTON, CAMERON
2734 STILL FARMS PLACE
LAWRENCEVILLE, GA 30043                            P‐0003444 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, CHARLOTTE B.
3013 WALNUT RIDGE LANE
MESQUITE, TX 75181                                 P‐0003445 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BESSAMRA, SKANDER
4403 HEREFORD FARM RD
EVANS                                              P‐0003446 10/24/2017    TK Holdings Inc., et al .                    $4,300.00                                                                                    $4,300.00
CRISP, DOUGLAS R.
CRISP, SHARON B.
P.O. BOX 218
ANACONDA, MT 59711                                 P‐0003447 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIESE, TODD W.
WIESE, WANDA L.
13570 SANCTUARY DRIVE
FOLEY, AL 36535                                    P‐0003448 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, STEPHEN J.
7711 GRANITE RIDGE LANE
HOUSTON, TX 77095                                  P‐0003449 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, KIMBERLIE
2703 FAIRGROVE CT
PEARLAND, TX                                       P‐0003450 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRECO, BENJAMIN J.
1134 13TH STREET
WEST BABYLON, NY 11704                             P‐0003451 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHAUD, BRUCE J.
15108 WILLOWDALE RD
TAMPA, FL 33625                                    P‐0003452 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MASLIKOWSKI, SANDRA
1758 GREENHILL DRIVE
CLEARWATER, FL 33755                                 P‐0003453 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, BRITT H.
2816 AUTUMN HAZE LANE
LAS VEGAS, NV 89117‐0633                             P‐0003454 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, CHRISTOPHER R.
239 13TH AVE PL NW APT 2
HICKORY                                              P‐0003455 10/24/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
BLACKMON, ROYACE E.
4548 HICKORY MEADOWS LANE
KELLER, TX 76244                                     P‐0003456 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, DEBORAH C.
3804 HILTON DR
MOBILE, AL 36693                                     P‐0003457 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRECO, BENJAMIN J.
GRECO, KIM C.
1134 13TH STREET
WEST BABYLON, NY 11704                               P‐0003458 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEFFERS, BARBARA R.
4912 MCCOMBS ROAD
HEPHZIBAH, GA 30815                                  P‐0003459 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNT, ROXANA H.
5950 SUNLAND CT
GREENACRES, FL 33463                                 P‐0003460 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANDLE, MICHAEL
RANDLE, KAREN
5242 E. JENNY DR.
HEREFORD, AZ 85615                                   P‐0003461 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEMING, MIKE S.
FLEMING, ROBYN
1311 E. FOSTER‐MAINEVILLE RD.
MAINEVILLE, OH 45039                                 P‐0003462 10/24/2017    TK Holdings Inc., et al .                    $4,500.00                                                                                    $4,500.00
OBERG, KAITLIN M.
36 OCEAN AVE
ISLIP, NY 11751                                      P‐0003463 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALGHATGI, SUMUKH
162 BURGUNDY HILL LN
MIDDLETOWN, CT 06457                                 P‐0003464 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRISON, DALE L.
MORRISON, MARY A.
971 DRIPPING SPRINGS RD
WINCHESTER, TN 37398                                 P‐0003465 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, MICHAEL A.
25993 OVERTON DRIVE
DAPHNE, AL 36526                                     P‐0003466 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAGLIARDI, DAVID
6954 75TH STREET
MIDDLE VILLAGE. NY. 11379
                                                     P‐0003467 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINK, MICHELLE L.
290 BEAR RIDGE TRAIL
FLEETWOOD, NC 28626                                  P‐0003468 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
REDINGER, ROBERT E.
REDINGER, CRISTY
5713 THRINAX PL
FORT PIERCE, FL 34982                                P‐0003469 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, KATHERINE A.
ROSS, STEVEN
6938 PEMBERTON DR
DALLAS, TX 75230                                     P‐0003470 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAJ, SK
2754 BRIDGEGATE TRACE NE
MARIETTA, GA 30068                                   P‐0003471 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, MICHAEL A.
BAKER, JUANITA E.
25993 OVERTON DRIVE
DAPHNE, AL 36526                                     P‐0003472 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRK, KEITH W.
154 N SUMMIT DR
MASSAPEQUA, NY 11758                                 P‐0003473 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBERA, JOSEPH J.
22 SERPENTINE LANE
LEVITTOWN, NY 11756                                  P‐0003474 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, BETSY
6 01 FAIR LAWN AVE FL 2
FAIR LAWN, NJ 07410                                  P‐0003475 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANTRELL, MARY L.
CANTRELL, BRADLEY E.
3404 S. TAMARACK AVE.
BROKEN ARROW, OK 74012                               P‐0003476 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, JACQUELINE
VARELA, DAVID
1826 SPANISH TRAIL
CORPUS CHRISTI, TX 78410                             P‐0003477 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIOWSKI, GEORGE D.
12509 FM 130
HUGHES SPRINGS, TX 75656‐5534                        P‐0003478 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, CHARLES R.
CLARK, NANCY S.
CHARLES CLARK
632 GREEN MEADOW AVE
MAITLAND, FL 32751                                   P‐0003479 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAYFORD, MARSHA D.
87 BURNETTE DR
ABBEVILLE, SC 29620                                  P‐0003480 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHADOAN, SHELBY J.
6101 SAINTSBURY DR
#832
THE COLONY, TX 75056                                 P‐0003481 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWHORN, STEVEN
231 SOUTHLAND DR.
PARIS, KY 40361                                      P‐0003482 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEPAGE, B. ANN
4060TRINITY DR.
#B
LOS ALAMOS, NM 87544                                 P‐0003483 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
COOPER, HOWARD
10865 E TOLUCA AVE
MESA AZ                                             P‐0003484 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWHORN, STEVEN
231 SOUTHLAND DR.
PARIS, KY 40361                                     P‐0003485 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRETT, DEBRA L.
1318 EARLS BRIDGE ROAD
EASLEY, SC 29640                                    P‐0003486 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEZIALE, LORI A.
8 ABERDEEN WAY
DURHAM, CT 06422                                    P‐0003487 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BESMERTNIK, SARA
BESMERTNIK, SID
5242 MANHASSET COVE
DUNWOODY, GA 30338                                  P‐0003488 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLUDER, JENNIFER D.
15127 WALL STREET
SALE CREEK, TN 37373                                P‐0003489 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, ERIC G.
582 HEWLETT DRIVE N.E
RIO RANCHO, NM 87124                                P‐0003490 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TALLMAN, LAURA B.
196 HIGHLAND POINTE CIR E
DAWSONVILLE, GA 30534                               P‐0003491 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSH, DAVID R.
BUSH, DOREEN K.
1371 E COCONINO DR
CHANDLER, AZ 85249                                  P‐0003492 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOPE, LAWRENCE S.
4220 S. 4800 W.
WEST HAVEN, UT                                      P‐0003493 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON‐POWELL, REGINALD F.
6034 SANDIA LAKE LANE
HOUSTON, TX 77041                                   P‐0003494 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARON, PHILLIP A.
7417 ROYAL TROON DRIVE
FORT WORTH, TX 76179                                P‐0003495 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TALLMAN, LAURA B.
196 HIGHLAND POINTE CIR E
DAWSONVILLE, GA 30534                               P‐0003496 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASS, CRYSTAL Y.
3302 WESTAGE DR
ALBANY, GA 31721                                    P‐0003497 10/24/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
DIXON, ERIC Q.
10322 ASTORIA BOULEVARD
HOUSTON, TX 77089                                   P‐0003498 10/24/2017    TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
BIKE, MAUREEN
6606 E. VALLE DI CADORE
TUCSON, AZ 85750                                    P‐0003499 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, ANTHONY C.
WILLIAMS, KAREN R.
22 CHELMSFORD DR
EWING, NJ 08618                                     P‐0003500 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
TALLMAN, LAURA B.
196 HIGHLAND POINTE CIR E
DAWSONVILLE, GA 30534                                P‐0003501 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANNESSA, THERESA M.
ANNESSA, PATRICK M.
226 GOOD HOPE ROAD
OKATIE, SC 29909                                     P‐0003502 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, MIGDALIA
NO ADDRESS PROVIDED
                                                     P‐0003503 10/24/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
JAMES, MICHAEL H.
JAMES, ROSA S.
112 REDWOOD LANE
LEXINGTON, NC 27295                                  P‐0003504 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOBERG, JOHN A.
KOBERG, MARYELLEN G.
42 BRYAN CAVE ROAD
SOUTH DAYTONA, FL 32119                              P‐0003505 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCONI, ANTHONY F.
109 REDCLIFFE ROAD
GREENVILLE, SC 29615                                 P‐0003506 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORNS, J SCOTT
2513 WEBBER STREET
SARASOTA, FL 34239                                   P‐0003507 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOLBRIGHT, JOHN A.
2904 COMANCHE TRAIL
WACO, TX 76712                                       P‐0003508 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHANANI, MOHAMMED Z.
10323 SW 20TH ST
MIRAMAR, FL 33025                                    P‐0003509 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WADE, KATHERINE S.
22176 6TH STREET
SILVERHILL, AL 36576                                 P‐0003510 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RADOMI, EMMA Q.
300 FOREST DR
WETHERSFIELD, CT 06109                               P‐0003511 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALLARD, GAIL H.
BALLARD, THOMAS F.
757 RAAB CT
GARDNERVILLE, NV 89460                               P‐0003512 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIGONI, FRANCESCA M.
RIGONI, FRANK A.
TEAM FORD DEALER
6224 SUN SEED CT
NORTH LAS VEGAS, NV 89081                            P‐0003513 10/24/2017    TK Holdings Inc., et al .                   $15,800.00                                                                                   $15,800.00
COVINGTON, RODNEY H.
NO ADDRESS PROVIDED
                                                     P‐0003514 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, GAIL A.
853 HENSON DRIVE
HURST, TX 76053                                      P‐0003515 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, KEVIN G.
3039 E WASHINGTON AVE
GILBERT, AZ 85234                                    P‐0003516 10/24/2017    TK Holdings Inc., et al .                   $34,615.00                                                                                   $34,615.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BOYD, T'QUOIA C.
5830 REDDMAN ROAD
APT A1
CHARLOTTE, NC 28212                                 P‐0003517 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, PRESTON
307 EAST SUMMERSIDE ROAD
PHOENIX, AZ 85042                                   P‐0003518 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASS, CYNTHIA Y.
3302 WESTGATE DR.
ALBANY, GA                                          P‐0003519 10/24/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GARZA, EVERARDO
GARZA, HERMELINDA
1702 SOLAR DRIVE
MISSION, TX 78574                                   P‐0003520 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIMMIATIS, PHILIP
808 PLANTERS ROW SW
LILBURN, GA 30047/4145                              P‐0003521 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWCOMB, JO ANNE
NEWCOMB, STEVE A.
7833 YOUNT RD
KNOXVILLE, TN 37931                                 P‐0003522 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, PRESTON
307 EAST SUMMERSIDE ROAD
PHOENIX, AZ 85042                                   P‐0003523 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOTS, JOHN A.
2018 EDENDALE CIRCLE
KATY, TX 77450                                      P‐0003524 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONNER, ALAN E.
BONNER, MARLENA E.
737 PARKWEST BLVD
SAGINAW, TX 76179                                   P‐0003525 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERCE, OBERLIN C.
1004 MARTIN DR
ANDERSON, IN 46012                                  P‐0003526 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHOFIELD, ROBERT
NO ADDRESS PROVIDED
                                                    P‐0003527 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYNCH, ROBERT E.
LYNCH, VIRGINIA T.
753 S ESMERALDA
MESA, AZ 85208                                      P‐0003528 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SYDER, AMANDA M.
SNYDER, STEVEN D.
2550 W GRANITE PASS ROAD
PHOENIX, AZ 85085                                   P‐0003529 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEAR, ALAN L.
SPEAR, BEVERLY D.
834 BRIARSTONE LANE
KNOXVILLE, TN 37934‐1776                            P‐0003530 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAHAGIAN, GLENN J.
7 COURT STREET
SELDEN, NY 11784                                    P‐0003531 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
VELEZ, JONATHAN
VELEZ, JONATHAN
111 E 8TH ST
APT 2
SANFORD, FL 32771                                    P‐0003532 10/24/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
SAHAGIAN, GLENN J.
7 COURT STREET
SELDEN, NY 11784                                     P‐0003533 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENA, ROSSELYNN C.
7661 LINKS CRESCENT DR
APT 4201
ORLANDO, FL 32822                                    P‐0003534 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NESTLER, JAYSON W.
9836 ASHLEY DRIVE
SEMINOLE, FL 33772                                   P‐0003535 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEOPOLD, ELLYN A.
4636 SOUTH DR W
FORT WORTH, TX 76132                                 P‐0003536 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAHAGIAN, GLENN J.
7 COURT STREET
SELDEN, NY 11784                                     P‐0003537 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARROLL, CAITLIN E.
11 LAKEVIEW AVENUE
SLEEPY HOLLOW, NY 10591                              P‐0003538 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NESTLER, JAYSON W.
9836 ASHLEY DRIVE
SEMINOLE, FL 33772                                   P‐0003539 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAUSCH, ALAN J.
1333 E SEA GULL DR
GILBERT, AZ 85234‐2611                               P‐0003540 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, ANTHONY G.
792 RIDGEVIEW DR., SW
LILBURN, GA 30047                                    P‐0003541 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YASAR, ALI
9104 CUMBERLAND DR
IRVING, TX 75063                                     P‐0003542 10/24/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
TURNER, CONNIE J.
201 DUNCAN HILL
DANVILLE, KY 40422                                   P‐0003543 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, KENNETH
1 LEDGEWOOD LANE
SOUTH SALEM, NY 10590                                P‐0003544 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEBARON, DAVID L.
P.O. BOX 344
130 W 500 N
FOUNTAIN GREEN, UT 84632                             P‐0003545 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUCAS, RINA F.
107 LOLA CIR
BENTON, LA 71006                                     P‐0003546 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARPENTER, GARY P.
CARPENTER, SUSAN M.
2690 PEACH STREET
PERRY, UT 84302‐4138                                 P‐0003547 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDAYA JR., CECILIO P.
7137 BELLINI LANE
INDIANAPOLIS, IN 46259‐7764                          P‐0003548 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
VUONG, PHUC C.
16603 WILSONS CREEK LN
HOUSTON, TX 77083                                   P‐0003549 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELLS, MICHAEL B.
MERZBACHER, MARY C.
350 69TH STREET APT 6
MIAMI BEACH, FL 33141                               P‐0003550 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARNAHAN, DONALD E.
CARNAHAN, KIMBERLY B.
21503 OGDEN COVE DRIVE
CORNELIUS, NC 28031                                 P‐0003551 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, CAROLYN C.
2008PORT ROYAL RD
RALEIGH, NC 27609                                   P‐0003552 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDELSTEIN, JEFFREY P.
2022 E LAVIEVE LANE
TEMPE, AZ 85284‐3515                                P‐0003553 10/24/2017    TK Holdings Inc., et al .                   $21,000.00                                                                                   $21,000.00
MEWBOURN, MICHAEL T.
1141BAKER BRITT ROAD
THOMASTON, GA 30286                                 P‐0003554 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYONS, TIMOTHY
179 HICKORY ST
PJS, NY 11776                                       P‐0003555 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTOPHER, DAISY
8718 HAMIL CT
DOUGLASVILLE, GA 30135                              P‐0003556 10/24/2017    TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
VUONG, CAT
VUONG, HUONG
16603 WILSONS CREEK LN
HOUSTON, TX 77083                                   P‐0003557 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCLARY, LEONA C.
MCCLARY, KENNETH A.
566 VERMILLION DR
LITTLE RIVER, SC 29566                              P‐0003558 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOUSTON, DONALD P.
166 WINDY ACRES DRIVE
TRENTON, GA 30752                                   P‐0003559 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CABAZA‐BANKS, LINDA
2566 BRITTANY PARK LANE
ELLENWOOD, GA 30294                                 P‐0003560 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWE, ANDREW M.
2822 E. WARBLER RD
GILBERT, AZ 85297                                   P‐0003561 10/24/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
DARBINS, DEXTER W.
1525 GARY STREET
CLINTON, SC 29325                                   P‐0003562 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELLS, STEVEN
2810 W SOUTHERN AVE
PHOENIX, AZ 85041                                   P‐0003563 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRICONE, DENISE
20 BERNSTEIN BLVD
CENTER MORICHES, NY 11934                           P‐0003564 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEWBOURN, MICHAEL T.
1141 BAKER BRITT ROAD
THOMASTON, GA 30286                                 P‐0003565 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BRUNO, JEAN ERIC
105 MULBERRY STREET
STOCKBRIDGE, GA 30281                                P‐0003566 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, FRANK
117 EMERSON DRIVE
ELIZABETHTOWN, KY 42701                              P‐0003567 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'CONNELL, FRANCINE E.
1714 WROXTON CT
HOUSTON, TX 77005                                    P‐0003568 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALAGIAN, THEODORE C.
1128 ERIC DRIVE
RUSSELLVILLE, TN 37860                               P‐0003569 10/24/2017    TK Holdings Inc., et al .                    $1,368.99                                                                                    $1,368.99
O'REAR, CHRISTOPHER L.
1368 E. ANNA DR.
CASA GRANDE, AZ 85122                                P‐0003570 10/24/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
OWE, ANDREW M.
2822 E. WARBLER RD
GILBERT, AZ 85297                                    P‐0003571 10/24/2017    TK Holdings Inc., et al .                    $2,200.00                                                                                    $2,200.00
OLIVER, DEBBIE A.
1432 W ROSS AVE
PHOENIX, AZ 85027                                    P‐0003572 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUDSON, ALEC
HUDSON, BRAD
1352 BENJAMIN COURT
LAWRENCEVILLE, GA 300443                             P‐0003573 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMEZ, RAWLIN T.
GOMEZ, TRINIDAD P.
5501 BUFFALO SPRINGS
AMARILLO, TX 79119                                   P‐0003574 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STREATER, GENEVA M.
6803 THIRD AVE
INDIAN TRAIL, NC 28079                               P‐0003575 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEWBOURN, MICHAEL T.
1141 BAKER BRITT ROAD
THOMASTON, GA 30286                                  P‐0003576 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTON, PATRICK L.
6308 BOYKIN SPANIEL RD.
CHARLOTTE, NC 28277                                  P‐0003577 10/24/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
TOWNSEND, CELESTE D.
3245 LOOKOUT DRIVE
FORT WORTH, TX 76140                                 P‐0003578 10/24/2017    TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
CASANOVA, CHRISTOPHER D.
ROWE, SANDRA L.
201 S. GREENFIELD RD. #315
MESA, AZ 85206                                       P‐0003579 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON PARSONS, JAN M.
602 BENNETT DR.
VANDALIA, OH 45377                                   P‐0003580 10/24/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
DARBINS, SHARON R.
1525 GARY STREET
CLINTON, SC 29325                                    P‐0003581 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, ERIC G.
582 HEWLETT DRIVE
RIO RANCHO, NM 87124                                 P‐0003582 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CILKU, VIRTIT
533 W GUADALUPE RD UNIT 2111
MESA, AZ 85210                                      P‐0003583 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEALY, IRENE I.
134 DEER RUN DRIVE
COLCHESTER, CT 06415                                P‐0003584 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELTON, JAMES L.
102 CATHERINE CT
102 CATHERINE CT
FLORENCE, AL 35630                                  P‐0003585 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEALY, BRENDEN M.
134 DEER RUN DRIVE
COLCHESTER, CT 06415                                P‐0003586 10/24/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
JOHNSON, JUDITH B.
4211 BRETTON BAY LANE
DALLAS, TX 75287‐6709                               P‐0003587 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEFOREST, DARIN
1418 E BRIARWOOD TER
PHOENIX, AZ 85048                                   P‐0003588 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOST, JOHN S.
116 HUNTERS VILLAGE DR.
GREENWOOD, SC 29649                                 P‐0003589 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELTON, BRENDA H.
MELTON, JAMES L.
102 CATHERINE CT
FLORENCE, AL 35630                                  P‐0003590 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, JERRY M.
1530 COUNTY ROAD 7
BREMEN, AL 35033                                    P‐0003591 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOWNING, KAREN W.
3115 HENSEL DRIVE
CARMEL, IN 46033                                    P‐0003592 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEALY, BRENDEN M.
134 DEER RUN DRIVE
COLCHESTER, CT 06415                                P‐0003593 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEAGRAVES, ASHLEY
569B DEADWYLER RD
MAYSVILLE, GA 30558                                 P‐0003594 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOPER, GWEN
10865 E TOLUCA AVE
MESA, AZ 85212                                      P‐0003595 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRIFF, ROSELYN R.
239 HWY 867
WINNSBORO, LA 71295                                 P‐0003596 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEALY, BRENDEN M.
134 DEER RUN DRIVE
COLCHESTER, CT 06415                                P‐0003597 10/24/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
SCHOENFELDER, JAN
2990 GRANDEVILLE CIRCLE
BUILDING 3, UNIT 102
OVIEDO, FL 32765                                    P‐0003598 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AU, HERBERT R.
AU, BARBARA D.
208 OREJA DE ORO DRIVE SE
RIO RANCHO, NM 87124‐1321                           P‐0003599 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
MAMEDOV, SHAMURAT F.
3812 STONE RIVER CT
LOUISVILLE, KY 40299                               P‐0003600 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIM, SOO D.
5682 ASHLEIGH WALK DR
SUWANEE, GA 30024                                  P‐0003601 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, TOCCARA S.
314 PALM CIRCLE EAST
PEMBROKE PINES, FL 33025                           P‐0003602 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEFOOR, JUSTIN
TK HOLDINGS
5331 MARTINS CROSSING RD
STONE MOUNTAIN, GA 30088                           P‐0003603 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COZZA, KEITH
9 KOPAC LN
PALISADES, NY 10964                                P‐0003604 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARMANO, PAUL
3614 REGENT LANE
WANTAGH, NY 11793                                  P‐0003605 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDSTEIN, KENNETH S.
GOLDSTEIN, JUDY S.
14824 N. 7TH PL.
PHOENIX, AZ 85022                                  P‐0003606 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINO, MATTHEW
1069 YELLOWBANK ROAD
TOMS RIVER, NJ 08753                               P‐0003607 10/24/2017    TK Holdings Inc., et al .                     $100.00                                                                                       $100.00
BABI, MISCHEL D.
2213 W CARSON DRIVE
TEMPE, AZ 85282                                    P‐0003608 10/24/2017    TK Holdings Inc., et al .                    $1,800.00                                                                                    $1,800.00
GLASSCOCK, SANDY
8372 S. BELLINGHAM DR.
APT. A311
SANDY, UT 84070                                    P‐0003609 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PROCTOR, BOYD S.
424 COUNTY RD 2452
LEESBURG, TX 75451                                 P‐0003610 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNETT, ZEASER
220 DIANE STREET
WINGATE, NC 28174                                  P‐0003611 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDD, PAMELA
11606 LENNINGTON
HOUSTON, TX 77064                                  P‐0003612 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANE, MICHAEL J.
701 77TH AVE N #56659
ST PETERSBURG, FL 33702                            P‐0003613 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENNEDY, HAROLD L.
KENNEDY, CYNTHIA
1135 W HUFFAKER
RENO, NV 89511                                     P‐0003614 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANDRASEKHAR, RAJENDRAPRA K.
4429 NORTHAVEN CT
LILBURN, GA 30047                                  P‐0003615 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUTMAN, ROBERT A.
941 MCCAMPBELL ROAD
MANSFIELD, TX 76063                                P‐0003616 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
FISHER, MARY D.
335 E MULE TRAIN TRAIL
SAN TAN VALLEY, AZ 85143                            P‐0003617 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENEDICT, SUSAN
2512 BELVEDERE AVENUE
CHARLOTTE, NC 28205                                 P‐0003618 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUDIC, BORO R.
235 SIGNAL RIDGE RD
FRANKFORT, KY 40601                                 P‐0003619 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRISWOLD, EDWARD
1433 SIERRA DRIVE
SIERRA VISTA, AZ 85635                              P‐0003620 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONGOBUCCO, FAYE
616 PALISADE AVE
YINKERS, NY 10703                                   P‐0003621 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAN, JUSTIN H.
162 SLOCUM CRESCENT
FOREST HILLS, NY 11375                              P‐0003622 10/24/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
KIM, JIHYUN
5682 ASHLEIGH WALK DR
SUWANEE, GA 30024                                   P‐0003623 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAIGLE, AMBROSE S.
150 GIST ROAD
VIDOR, TX 77662                                     P‐0003624 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN, THIEN
3814 SW 167 AVE
MIRAMAR, FL 33027                                   P‐0003625 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRISWOLD, EDWARD
1433 SIERRA DRIVE
SIERRA VISTA, AZ 85635                              P‐0003626 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, CHARLES S.
BROWN, SHARI M.
4989 TWIN LAKE DRIVE
GRANITE FALLS, NC 28630                             P‐0003627 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IREDIA, JOSEPH
OBOT, ELSIE
4614 LINDEN PLACE
PEARLAND, TX 77584                                  P‐0003628 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGER, MEGAN M.
BERGER, SCOTT P.
3527A READING ST
BACLIFF, TX 77518                                   P‐0003629 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LO, ALBERT
2949 167TH STREET
FLUSHING, NY 11358                                  P‐0003630 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAWAZ, SHOMAILA
4503 THACH AVE
SUGAR HILL, GA 30518                                P‐0003631 10/24/2017    TK Holdings Inc., et al .                    $4,629.99                                                                                    $4,629.99
MARY FRANCES SHELL TRUST A
6868 HIGHWAY 195
FLORENCE, TX 76527                                  P‐0003632 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAINTER, JOHN W.
5820 GRAVES LAKE DRIVE
CINCINNATI, OH 45243                                P‐0003633 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SHERIDAN, RICKEY R.
SHERIDAN, LAURA M.
101 W. ROSEMONTE DRIVE
PHOENIX, AZ 85027‐6610                              P‐0003634 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEBER, CAREY
10‐02 MALCOLM TERRACE
FAIR LAWN, NJ 07410                                 P‐0003635 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARRIS, PAULA K.
2114 PRESIDENTIAL DR
CHARLESTON, WV 25314                                P‐0003636 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARRIS, SHEILA K.
2114 PRESIDENTIAL DR
CHARLESTON, WV 25314                                P‐0003637 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEBER, CAREY
10‐02 MALCOLM TERRACE
FAIR LAWN, NJ 07410                                 P‐0003638 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLIANO, MASSIMO
124 CASTLEWOOD DR
MADISON, AL 35756                                   P‐0003639 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUQUA, FRED L.
FUQUA, REGINA D.
8241 N KROUSE WAY
DUNNELLON, FL 34433                                 P‐0003640 10/24/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
SQUARE, RENITA E.
333 NEAL STREETR
FAYETTEVILLE, NC 28312                              P‐0003641 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARRIS III, JOSEPH H.
2114 PRESIDENTIAL DR
CHARLESTON, WV 25314                                P‐0003642 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REWIS, LAWRENCE E.
1154 EAST RIDGE RD
RENTZ, GA 31075                                     P‐0003643 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BETKE, LANI A.
201 W COFFEE STREET
MANCHESTER, TN 37355                                P‐0003644 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUNNEY, JONATHAN W.
7791 E. OSBORN RD.
APT 147 E
SCOTTSDALE, AZ 85251                                P‐0003645 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANHORST, TODD C.
77 WEST STREAMS EDGE WAY
STANSBURY PARK, UT 84074                            P‐0003646 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWERY, JENNA R.
550 E WEDDELL DRIVE
UNIT 1211
SUNNYVALE, CA 94089                                 P‐0003647 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLMAN, CATHLEEN C.
4003 ALASTAIRE COVE
LELAND, NC 28451                                    P‐0003648 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARETTE, JOHN R.
108 ROSEMARY AVE
SAN ANTONIO, TX 78209                               P‐0003649 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHAFFEY, DAVID W.
MAHAFFEY, EVELINE A.
3120 NE HICKORY RIDGE AVENUE
JENSEN BEACH, FL 34957                              P‐0003650 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
BAUMAN, JEFFREY T.
3406 ECHO MOUNTAIN DR
KINGWOOD, TX 77345‐2029                            P‐0003651 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHATELAIN, ANDRE H.
CHATELAIN, GENEVIEVE
17 BIRCHWOOD LANE
HARTSDALE, NY 10530‐3124                           P‐0003652 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANHORST, DENISE N.
77 WEST STREAMS EDGE WAY
STANSBURY PARK, UT 84074                           P‐0003653 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWREY, JAMES S.
102 VILLAGE DRIVE
JAMESTOWN, NC 27282                                P‐0003654 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, JOHN M.
8327 PROVENCIA CT
FORT MYERS, FL 33912                               P‐0003655 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, RONALD
83 QUAIL RUN RD
HENDERSON, NV 89014                                P‐0003656 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, TOCCARA S.
314 PALM CIRCLE EAST
PEMBROKE PINES, FL 33025                           P‐0003657 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWFORD‐WHITE, DEMARUS Z.
3632 HERMOSA DRIVE
DAYTON, OH 45416                                   P‐0003658 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIRAIDE, MAYUMI
4374 GREEN ARBORS LN.
CINCINNATI, OH 45249                               P‐0003659 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PELLINO, ELISA
246 MAIN ST
FARMINGDALE, NY 11735                              P‐0003660 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VORNEHM, DAVID B.
3271 HIGHPOINT COURT
GREENWOOD, IN 46143                                P‐0003661 10/24/2017    TK Holdings Inc., et al .                     $100.00                                                                                       $100.00
OLT, BRADLEY F.
2728 VISTA GRANDE CT.
PEKIN, IL 61554‐6487                               P‐0003662 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWFORD‐WHITE, DEMARUS Z.
3632 HERMOSA DRIVE
DAYTON, OH 45416                                   P‐0003663 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLANT, KARYN E.
36 FAIRMOUNT ROAD
GOLDENS BRIDGE, NY 10526                           P‐0003664 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FONG, VICTOR L.
P.O. BOX 18865
SAN ANTONIO, TX 78218                              P‐0003665 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTILLO, DAVID
1817 WESTWOOD DR.
ABILENE, TX 79603                                  P‐0003666 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASLEY, TAWANDA R.
3235 BALLS CHURCH ROAD
JEFFERSONVILLE, GA 31044                           P‐0003667 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLANT, KARYN E.
36 FAIRMOUNT ROAD
GOLDENS BRIDGE, NY 10526                           P‐0003668 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
KIRBY, VICKI L.
6635 N SUTHERLAND RIDGE PL
TUCSON, AZ 85718                                    P‐0003669 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LASSETER, SCOTT A.
LASSETER, DEBORAH L.
1122 CAHABA FOREST COVE
BIRMINGHAM, AL 35242                                P‐0003670 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANG, JEFFERY P.
10925 BRIAR FOREST DR.
APT 2114
HOUSTON, TX 77042                                   P‐0003671 10/24/2017    TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
ABBARAJU, NANDA K.
8200 BENT TREE SPRINGS DR
PLANO, TX 75025                                     P‐0003672 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUJO, PAMELA D.
350 N. ERVAY ST., APT. 1407
DALLAS, TX 75201                                    P‐0003673 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMM, JOHN
3921 LIONHEART DR
JACKSONVILLE, FL 32216                              P‐0003674 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIZZOFERRATO, JOSEPH V.
4837 CEDAR LAWN WAY
LAS VEGAS, NV 89130                                 P‐0003675 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMMERTIN, RANDY K.
192 COVENTRY LANE
NORTH SALT LAKE, UT 84054                           P‐0003676 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, BRITANYA
1200 COLLEGE PARKWAY APT 312
LEWISVILLE, TX 75077                                P‐0003677 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOALE, KATY M.
7604 JANAK DRIVE
HOUSTON, TX 77055                                   P‐0003678 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, LAWRENCE K.
400 MILLS AVENUE
UNIT 314
GREENVILLE, SC 29605                                P‐0003679 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAULKNER2, HAROLD D.
3428 MABLE HUBBARD DR
CHARLOTTE, NC 28208                                 P‐0003680 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLIANO, TIFFANY
GALLIANO, MASSIMO
124 CASTLEWOOD DR
MADISON, AL 35756                                   P‐0003681 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, MARK C.
MOORE, TIFFANY E.
7567 WILLOW CIRCLE
MOBILE, AL 36695                                    P‐0003682 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENGELMAN, JUNE I.
2983 S SALIDA DEL SOL CT
CHANDLER, AZ 85286                                  P‐0003683 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOALE, TIMOTHY T.
7604 JANAK DRIVE
HOUSTON, TX 77055                                   P‐0003684 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAY, ADAM S.
3548 IMPERATA DR
ROCKLEDGE, FL 32955                                 P‐0003685 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
DACOSTA, MELANIE
7833 W ROCKPORT RD
VON ORMY, TX 78073                                 P‐0003686 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, AMELIA
1501 N. JACKSON
ODESSA, TX 79761                                   P‐0003687 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COODY, KEITH W.
4045 TREADWAY RD.
APARTMENT 1805
BEAUMONT, TX 77706                                 P‐0003688 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARRELL, BRENDA J.
FARRELL, STEPHEN D.
2711 E. VOLTAIRE AVE.
PHOENIX, AZ 85032                                  P‐0003689 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SABELLA, ANTHONY L.
SABELLA, SHARON L.
109 VIA COMO PLACE
LAKE MARY, FL 32746                                P‐0003690 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JAVIN R.
436 W. SHERMAN ST.
BSMT
POCATELLO, ID 83204                                P‐0003691 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARZA, GERARDO
7618 HIGHLAND FARMS RD
HOUSTON, TX 77095                                  P‐0003692 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRABTREE, ROSEMARY L.
220 GREENFIELD AV
TULLAHOMA, TN 37388                                P‐0003693 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRATCHFORD, JEFFERY A.
WRATCHFORD, DIANE T.
2255 STAGECOACH ST SW
LOS LUNAS, NM 87031                                P‐0003694 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNN, CHRISTOPHER E.
838 ARBOR GATE LANE
LAWRENCEVILLE, GA 30044                            P‐0003695 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCOWIN, DORAIN D.
MCCOWIN, CAROL
9113 SAPPHIRE RIDGE AVE
LAS VEGAS, NV 89129                                P‐0003696 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, JOON SEOK
9821 INDINA HILLS DR.
AUSTIN, TX 78717                                   P‐0003697 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANGFORD, NIA S.
4012 ESTERS RD
APT 2049
IRVING, TX 75038                                   P‐0003698 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANTIC, JUDY
4091 SAVANNAH GLEN BLVD
ORANGE PARK, FL 32073                              P‐0003699 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRATCHFORD, JEFFERY A.
WRATCHFORD, DIANE T.
2255 STAGECOACH ST SW
LOS LUNAS, NM 87031                                P‐0003700 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SONG, YISHU
19539 TAMARACK WAY
HOUSTON, TX 77094                                  P‐0003701 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
KASHANI, KOUROSH
119 BULL MOUNTAIN ROAD
ASHEVILLE, NC 28805                                 P‐0003702 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANGFORD, NIA S.
4012 ESTERS RD
APT 2049
IRVING, TX 75038                                    P‐0003703 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NILSON, PETER K.
255 N GRANADA AVE
APT 2018
TUCSON, AZ 85701                                    P‐0003704 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAH, ZUBAIR
NEUPANE, SAMAJ
911 E BRIDGER ST
POCATELLO, ID 83201                                 P‐0003705 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HICKS, ELAINE
2830 DESERT SAGE AVE SW
LOS LUNAS, NM 87031                                 P‐0003706 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMIREZ, EDGAR H.
RAMIREZ, ANNA M.
8377 E VIA DE VENTURA
G‐118
SCOTTSDALE                                          P‐0003707 10/24/2017    TK Holdings Inc., et al .                   $37,000.00                                                                                   $37,000.00
ENGELHARD, JAYCE T.
1195 ROSE GARDEN RD
CAPE CORAL, FL 33914                                P‐0003708 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWFORD, TIM W.
4429 STILLBROOKE DR
HOUSTON, TX 77035                                   P‐0003709 10/24/2017    TK Holdings Inc., et al .                    $5,280.50                                                                                    $5,280.50
MALSON, CHRISTOPHER
58 SHADY PINES AVE
SPRINGBORO, OH 45066                                P‐0003710 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYANT, ANDREW R.
3076 E ANDERSON DR
LITHIA SPRINGS, GA 30122                            P‐0003711 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALSON, CHRISTOPHER
58 SHADY PINES AVE
SPRINGBORO, OH 45066                                P‐0003712 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, SONYA
ADAMS, ERNEST
3506 BAHIA CT
MISSOURI CITY, TX 77459                             P‐0003713 10/24/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
JOHNSTONBAUGH, TERESA J.
2983 S SALIDA DEL SOL CT
CHANDLER, AZ 85286                                  P‐0003714 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILDON, KATHERYNE L.
206 WILDER STREET
NAPLES, TX 75568 5932                               P‐0003715 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOTERO, ELKIN
3500 AREZZO CIRCLE
FRIENDSWOOD, TX 77546‐2242                          P‐0003716 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AU, DEBRA L.
208 OREJA DE ORO DRIVE SE
RIO RANCHO, NM 87124‐1321                           P‐0003717 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WATSON, RONALD E.
83 QUAIL RUN RD
HENDERSON, NV 89014                                  P‐0003718 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEALMO, JOSEPH A.
445 BEAVER ST. APT. C46
ANSONIA, CT 06401                                    P‐0003719 10/24/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCARTHUR, MOLISSA I.
203 TUCKAHOE CT
MELVILLE, NY 11747                                   P‐0003720 10/25/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
LIN, WEI‐MING
3312 DARTMOUTH DR
PLANO, TX 75075                                      P‐0003721 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORTIZ‐PALACIOS, COURTNEY K.
9125 HWY 6 NORTH 2331
HOUSTON, TX 77095                                    P‐0003722 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIN, WEIMING
3312 DARTMOUTH DR
PLANO, TX 75075                                      P‐0003723 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, ROBERT C.
8605 NAPA VALLEY RD NE
ALBUQUERQUE, NM 87122                                P‐0003724 10/25/2017    TK Holdings Inc., et al .                   $40,000.00                                                                                   $40,000.00
GRUNAU, DARYL W.
GRUNAU, SHANA L.
964 OTOWI ST
LOS ALAMOS, NM 87544                                 P‐0003725 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSCEMI, ARTHUR R.
89 LEO LANE
DEER PARK, NY 11729                                  P‐0003726 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAY, EDDIE G.
767 GRIFFIN RD
BELTON, SC 29627                                     P‐0003727 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DALGARN, JULIE A.
11 KNOB CT
PATASKALA, OH 43062                                  P‐0003728 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, JOON SEOK
9821 INDINA HILLS DR
AUSTIN, TX 78717                                     P‐0003729 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, ANTHONY M.
17 COURTLANDT PL.
HOUSTON, TX 77006                                    P‐0003730 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, FREDERICK L.
2119 W. WADDEDD AVE.
ALBANY, GA 31707                                     P‐0003731 10/25/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
CRADDOCK, KERRIC G.
BAILEY, JOHNINE L.
2708 KILBURN AVE.
DALLAS, TX 75216                                     P‐0003732 10/25/2017    TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
DAMON, TAHIRA M.
826 PARK CENTRAL COURT, A
INDIANAPOLIS, IN 46260                               P‐0003733 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TINDLE, KENNETH E.
550 DARBY CREEK RD
APT 27
LEXINGTON, KY 40509                                  P‐0003734 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MARTIN, STACEE
2848 BLUEBONNET DR
HENDERSON, NV 89074                                  P‐0003735 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PICKMAN, PHILLIP
PICKMAN, LEAH C.
6 SUNRISE VIEW CT
TIJERAS, NM 87059                                    P‐0003736 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOKS, BRIANNA L.
396 COOL EVENING CT
CLOVERDALE, IN 46120                                 P‐0003737 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, JOSEPH F.
2350 BELMONT ROAD
ARNOLDSVILLE, GA 30619                               P‐0003738 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMSON, RONALD D.
1821 LARIET LANE
DEL CITY, OK 73115                                   P‐0003739 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARMSTRONG, H. TODD
ARMSTRONG, MAJOR P.
12325 PITTMAN DRIVE
KNOXVILLE, TN 37932                                  P‐0003740 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOLFI, THOMAS J.
1351 TORRINGFORD WEST ST
TORRINGTON, CT 06790‐3099                            P‐0003741 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOLFI, THOMAS J.
1351 TORRINGFORD WEST ST.
TORRINGTON
, CT 06790‐3099                                      P‐0003742 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANK, CARLA F.
7433 LAKE SUPERIOR DRIVE
CORPUS CHRISTI, TX 78413                             P‐0003743 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTER, AMANDA S.
4641 CHAPEL HILL ROAD
DOUGLASVILLE, GA 30135                               P‐0003744 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOUGHOZ, JANTI
918 31ST AVE NE
SAINT PETERSBURG, FL 33704                           P‐0003745 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADFORD, FRANK P.
6429 PAW PAW TRAIL
OOLTEWAH, TN 37363                                   P‐0003746 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, CHRISTOPHER A.
510 SW 63RD AVE
MARGATE, FL 33068                                    P‐0003747 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUROFF, STUART S.
135 YUMA LANE
EAST ISLIP, NY 11730                                 P‐0003748 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAILHOIT, ROBERT F.
4420 EAST KINGS POINT CIRCLE
ATLANTA, GA 30338                                    P‐0003749 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAILHOIT, ROBERT F.
4420 EAST KINGS POINT CIRCLE
ATLANTA, GA 30338                                    P‐0003750 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNEPP, JOANNE C.
KNEPP, JAMES P.
7 LAKE SUCCESS DRIVE
PALM COAST, FL 32137‐9556                            P‐0003751 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WALKER, CLINTON
WALKER, VELDA
110 CONGRESSIONAL COURT
MCDONOUGH, GA                                       P‐0003752 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SACCO, ANTONIO J.
12706 PARKBURY DR.
ORLANDO, FL 32828                                   P‐0003753 10/25/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
MOORE, LENICKI S.
118 CLOVERHILL DR
GREENVILLE, AL 36037                                P‐0003754 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIEHAUS, MONICA A.
837 ROSSFORD RUN
BELLEVUE, KY 41073                                  P‐0003755 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNGER, ROBERT
13 OAK RIDGE RD
MIDDLETOWN, NY 10940                                P‐0003756 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACIA, MEGHAN A.
1229 HIGH VALLEY RD
KING, NC 27021                                      P‐0003757 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHESLOCK, JAMES S.
91 SABLE HEIGHTS
SAN ANTONIO, TX 78258                               P‐0003758 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIXON, DONNA M.
2701 BLACK DUCK COURT
FUQUAY VARINA, NC 27526                             P‐0003759 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALLER, SUSAN D.
61‐12 77TH PLACE
MIDDLE VILLAGE, NY 11379                            P‐0003760 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWMAN, MAUREEN D.
10575 SUMMER CREEK DR
ALPHARETTA, GA 30022                                P‐0003761 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCANN, ROBERT
2 ALTA MIRA DRIVE
CHESTER
, NY 10918                                          P‐0003762 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROADWAY, LORETTA L.
7900 BELLA VISTA COURT
CHARLOTTE, NC 28216                                 P‐0003763 10/25/2017    TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00
IANNONE, ABEL P.
GARROW, MARY K.
7 LAFATA LANE
KILLINGWORTH, CT 06419                              P‐0003764 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEARD, SCOTT F.
HEARD, CHARLENE L.
164 CHICORY DRIVE
WOLCOTT, CT 06716                                   P‐0003765 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONNEY, MARY E.
5001 ALAMO MINE TRAIL
LAS CRUCES, NM 88011                                P‐0003766 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, SAMUEL T.
3312 DAVANT ST
AUGUSTA, GA 30907                                   P‐0003767 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISCHOFF, JOAN H.
P.O. BOX 605
MATTITUCK, NY 11952                                 P‐0003768 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
TEASLEY JR, TRACY S.
579 OLD WHEELER RD
NO CREDITOR, I OWN TRUCK
GROVETOWN, GA 30813                                P‐0003769 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILLINGER, BRENT
1126 25TH AVE N
ST PETERSBURG, FL 33704                            P‐0003770 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOZINOS, SUSAN
22 RIDGE HAVEN DRIVE
RIDGE, NY 11961                                    P‐0003771 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAY, HEATHER M.
3 STONEBURY CT
GREENSBORO, NC 27410                               P‐0003772 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSRIE, DAVID
276 MORGAN BRANCH RD
MARSHALL, NC 28753                                 P‐0003773 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARUE, TESSA
7906 TRESSA CIRCLE
POWELL, TN 37849                                   P‐0003774 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRERA, MARIA D.
1219 E PRICE ST
LAREDO, TX 78040                                   P‐0003775 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBERT, HARVEY J.
1325 RANDOLPH RD
APT 210
MIDDLETOWN, CT 06457                               P‐0003776 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARUE, LAURA
LARUE, NICHOLAUS
7906 TRESSA CIRCLE
POWELL, TN 37849                                   P‐0003777 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODWARD, BRENDA
7139 E JUANITA AVE
MESA, AZ 85209                                     P‐0003778 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETTYJOHN, WAYNE R.
3766 LAMB DRIVE
MARIETTA, GA 30064                                 P‐0003779 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPENCER, NIKIA
SPENCER, LADELLER
1973 CRESCENT MOON DRIVE
CONYERS, GA 30012                                  P‐0003780 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPENCER, LADELLER
SPENCER, NIKIA
1973 CRESCENT MOON DRIVE
CONYERS, GA 30012                                  P‐0003781 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUAMAN, JESSICA M.
1661 BRENTWOOD ROAD
BRENTWOOD, NY 11717                                P‐0003782 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEFFREYS, BRUCE E.
FIRST PRIORITY BANK
500 VIRGINIA AVENUE
HUNTINGTON, WV 25701                               P‐0003783 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCKMAN, BRITTNEY
108 DOVE ST.
JOHNSTON, SC 29832                                 P‐0003784 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
COCKMAN, EDDIE W.
450 WILSON RD.
BROOKLET GA. 30415                                  P‐0003785 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPENCER, NIKIA
SPENCER, LADELLER
1973 CRESCENT MOON DRIVE
CONYERS, GA 30012                                   P‐0003786 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALUKA, JESSE E.
1811 BROOMHURST LANE
APEX, NC 27502                                      P‐0003787 10/25/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
ANDERSON, SHERI
90B HERITAGE HILLS DR
SOMERS, NY 10589                                    P‐0003788 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMCHEK, PATRICIA M.
20 TANAGER RD
APT 2001
MONROE, NY 10950                                    P‐0003789 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNIPES, JAMES
7671 PEPPERCORN LANE
NORTH CHARLESTON, SC 29420                          P‐0003790 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, VELVET L.
8226 PROVIDENCE RD
RIVERVIEW, FL 33578                                 P‐0003791 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, JULIA A.
12800 BRIARFOREST #77
HOUSTON, TX 77077                                   P‐0003792 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUROFF, MAURA C.
135 YUMA LANE
EAST ISLIP, NY 11730                                P‐0003793 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWKIRK, RYAN A.
3 GREY OAKS CIRCLE
GREENSBORO, NC 27408                                P‐0003794 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILBERT, TERESA B.
7 YELLOW ROSES LANE
LEICESTER, NC 28748                                 P‐0003795 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, LORA T.
4341 TELLICO ROAD NW
ROANOKE, VA 24017                                   P‐0003796 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDY, SHERRY L.
12111 WINDY ROCK WAY
CHARLOTTE, NC 28273                                 P‐0003797 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADELAJA, ROSEMARY
ADELAJA, ROSEMARY C.
1212 CHARLESTON LANE
SAVANNAH, TX 76227                                  P‐0003798 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, LOIS
1251 BEACON POINT DRIVE
APT. 508
JACKSONVILLE, FL 32224                              P‐0003799 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, LORA T.
4341 TELLICO ROAD NW
ROANOKE, VA 24017                                   P‐0003800 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWINTON, SAFIYYAH W.
12607 FRANK WILEY LANE
CHARLOTTE, NC 28278                                 P‐0003801 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WEINMANN, JOHN G.
3615 GILLON AVE.
DALLAS, TX 75205                                    P‐0003802 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEHIHNS III, LEE A.
2075 OLD FORGE WAY
MARIETTA, GA 300681516                              P‐0003803 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, SCOTT
1912 SW 29TH TERRACE
OCALA, FL 34474                                     P‐0003804 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LETAVISH, STACEY A.
2540 SHORE BLVD.
ASTORIA, NY 11102                                   P‐0003805 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELVIE, KEVIN
ALLY
9736 CONCORD PL
MOBILE, AL 36695                                    P‐0003806 10/25/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
DUPREY, JANET M.
4435 WILLOW POND RD #C
WEST PALM BEACH, FL 33417                           P‐0003807 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRACE, JACQUELINE
2325 VETCHLING CIRCLE
PLANO, TX 75025                                     P‐0003808 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARMER‐MEGGS, JULIA B.
5236 FAIRWAY DR
SAN ANGELO, TX 76904                                P‐0003809 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANCE, SHUNNA T.
210 KINGSTON FOREST DRIVE
IRMO, SC 29063                                      P‐0003810 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCALLY, SHARON P.
1700 HWY 594
MONROE, LA 71203                                    P‐0003811 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YEARGIN, SHAUNTE L.
8952 VAN BUREN AVENUE
JACKSONVILLE, FL 32208                              P‐0003812 10/25/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
DARNELL, BILLY C.
3821 KIDD LANE
CHARLOTTE, NC 28216                                 P‐0003813 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINN, JONATHAN M.
815 MIDDLE RIVER DR #103
FT LAUDERDALE, FL 33304                             P‐0003814 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIDSON, REX A.
67 PISGAH FOREST TRAIL
ARDEN, NC 28704                                     P‐0003815 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARMER, NICOLE L.
FARMER, HOWARD G.
118 LILAC DR.
MILLEDGEVILLE, GA 31061                             P‐0003816 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKE, THOMAS A.
5486 N. 77TH STREET
SCOTTSDALE, AZ 85250‐6806                           P‐0003817 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILHOMME, CLUNIE
3017 N. OAKLAND FOREST DRIVE
#302
OAKLAND PARK, FL 33309                              P‐0003818 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CRUTCHFIELD, REGINA S.
169 CRUTCHFIELD RD
CARROLLTON, GA 30117                                P‐0003819 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUMBERT, DENNIS A.
1131 CAMIN LANE
WALTON, KY 41094                                    P‐0003820 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANCE, SHUNNA T.
210 KINGSTON FOREST DRIVE
IRMO, SC 29063                                      P‐0003821 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMBEL, CAROLE A.
HAMBEL, HENRY P.
29 MARY GRAY DR
CLYDE, NC 28721                                     P‐0003822 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINDSEY, WILLIE E.
320 SUNDOWN WAY
STONE MOUNTAIN, GA 30087                            P‐0003823 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELLOWS, ELIZABETH N.
5556 AVENIDA PESCADORA
FORT MYERS BEACH, FL 33931                          P‐0003824 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRATT‐JOHNSON, TIFPHANY C.
2485 E SHERWOOD CIRCLE
COCOA, FL 32926                                     P‐0003825 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPLIN, TONYA L.
4054 MULLIKIN ROAD
EVANS, GA 30809                                     P‐0003826 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, LASONYA
7325 THOREAU CIRCLE
COLLEGE PARK, GA 30349                              P‐0003827 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETER, HOLLY A.
3447 WAYNE AVENUE
NORTH BEND, OH 45052                                P‐0003828 10/25/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
CUCCURULLO, JANE
838 70 STREET
BROOKLYN, NY 11228                                  P‐0003829 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEDINA, ZEYDA E.
2180 LILY VALLEY DRIVE
LAWRENCEVILLE, GA 30045                             P‐0003830 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTER, RUSSELL M.
828 CARNELLIAN LANE
PEACHTREE CITY, GA 30269                            P‐0003831 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, SANDY H.
9846 VALLEY CABIN
SAN ANTONIO, TX 78250                               P‐0003832 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, ANDREA
364 AUTUMN LAKE DR.
MCDONOUGH, GA 30253/6595                            P‐0003833 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLURE, KENDRA L.
600 S CREST ROAD
CHATTANOOGA, TN 37404                               P‐0003834 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, CHERYL
8300 CREEKWOOD AVE NW
ALBUQUERQUE, NM 87120                               P‐0003835 10/25/2017    TK Holdings Inc., et al .                     $800.00                                                                                       $800.00
SMIALEK, BRIAN J.
2 CARLSBAD DR.
TOMS RIVER, NJ 08757                                P‐0003836 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MORGAN, TERRY E.
MORGAN ADVISORY SERVICES LLC
230 BETHEL DR
SALISBURY, NC 28144                                 P‐0003837 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BESMAN, PASCAL
10 BENTLEY ROAD
GREAT NECK, NY 11023                                P‐0003838 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAVERS, LAURIE K.
11406 CHERRY POINT DR
DAYTON, TX 77535                                    P‐0003839 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALDRIDGE, ALICIA D.
239 CALLIE CIRCLE
BRUNSWICK, GA 31523                                 P‐0003840 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTER, RUSSELL M.
828 CARNELLIAN LANE
PEACHTREE CITY, GA 30269                            P‐0003841 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELVIE, KEVIN
9736 CONCORD PL
MOBILE, AL 36695                                    P‐0003842 10/25/2017    TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
NESS, RICHARD K.
5227 MAPLE SPRINGS BLVD.
DALLAS, TX 75235                                    P‐0003843 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEBB, EDWIN S.
BEBB, LINDA F.
526 ASHLEY RD.
RED SPRINGS, NC 28377                               P‐0003844 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREWSTER, CONNIE C.
183 DUNCAN LANE
CHILHOWIE, VA 24319                                 P‐0003845 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOPKINS, JAMES M.
515 W. BUFORD ST.
GAFFNEY, SC 29341                                   P‐0003846 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAY, CURTIS C.
6418 BUENA VISTA DRIVE
MARGATE, FL 33063                                   P‐0003847 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERVIN, JOHNATHAN W.
12247 BLUE LAKE COURT
NOBLESVILLE, IN 46060                               P‐0003848 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHORRE, CHRIS
PAASCHE, JULIE
717 BROWNLEE CIRCLE
AUSTIN, TX 78703                                    P‐0003849 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIEMANN, DONALD J.
12075 LEEWARD WALK CIRCLE
ALPHARETTA, GA 30005                                P‐0003850 10/25/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
ODELL, DAMON K.
6950 NE 137TH COURT
WILLISTON, FL 32696                                 P‐0003851 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOLIDGE, ANDY
6412 WHITE TAIL LANE
TRUSSVILLE, AL 35173                                P‐0003852 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UGALDE, ALEXANDER
2300 HERMOSA HILLS CT
GRANBURY, TX 76048                                  P‐0003853 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
MAIMONE, MARIA G.
129 WHITEWOOD DRIVE
ROCKY HILL, CT 06067                               P‐0003854 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTER, RUSSELL M.
828 CARNELLIAN LANE
PEACHTREE CITY, GA 30269                           P‐0003855 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRETT, LAURIE L.
907 UPLAND CT
SUGAR HILL, GA 30518                               P‐0003856 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCANN, ROBERT
2 ALTA MIRA DRIVE
CHESTER, NY 10918                                  P‐0003857 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURFORD, ROBERT A.
30 PACES LANDING PLACE
NEWNAN, GA 30263                                   P‐0003858 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAHR, ALICE
ROBERT
4120 BEACON LANE
MOBILE, AL 36693                                   P‐0003859 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LORD, LORI
535 SW 18TH AVE., #27
FORT LAUDERDALE, FL 33312                          P‐0003860 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIS, MICHAEL D.
4310 CAMARON WAY
SNELLVILLE, GA 30039                               P‐0003861 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEMAN, MARK D.
6 COLLINA COURT
GREENVILLE, SC 29609                               P‐0003862 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONE, CHARLES R.
2632 SAN ANTONIO DRIVE
MILTON, FL 32583                                   P‐0003863 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, SAMUEL T.
3312 DAVANT ST
AUGUSTA, GA 30907                                  P‐0003864 10/25/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WILLIAMS, CANDICE J.
827 S PARKER DR APT G
FLORENCE, SC 29501                                 P‐0003865 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, ANDREA
364 AUTUMN LAKE DR.
MCDONOUGH, GA 30253/6595                           P‐0003866 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOWAK, SHELBY
6404 CREEKDALE DRIVE
THE COLONY, TX 75056                               P‐0003867 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOE, ERIC S.
333 MALBEC DRIVE
MOORE, SC 29369                                    P‐0003868 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REVOLINSKI, ADAM L.
LOOMIS, THOMAS E.
1440 MIEROW LANE
BROOKFIELD, WI 53045                               P‐0003869 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, VIVIAN T.
TA, THANH T.
1419 GLENWILLOW DR
ARLINGTON, TX 76018                                P‐0003870 10/25/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00



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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
ROMERO, E.
2335 LAS CASITAS
SANTA FE, NM 87507                                 P‐0003871 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAN, RICK
TRAN, HONG NHUNG
306 ASBELL WAY
CENTERVILLE, GA 31028                              P‐0003872 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENSPAN, BARRY
21 EDI AVENUE
PLAINVIEW, NY 11803                                P‐0003873 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERRE, AUFWIEDERSE
2737 HWY. 71
CAMPTI, LA 71411                                   P‐0003874 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARMER‐MEGGS, JULIA B.
5236 FAIRWAY DR
SAN ANGELO, TX 76904                               P‐0003875 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMMERSCHMIDT, JUDY M.
HAMMERSCHMIDT, GEORGE J.
102 RED DEER PLACE
MONTGOMERY, TX 77316                               P‐0003876 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIBURD, DELIE
1436 HUNTERS FORD
STONE MOUNTAIN
STONE MOUNTAIN, GA 30088                           P‐0003877 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLISON, LATAKIA D.
15534 CR 1148
TYLER, TX 75704                                    P‐0003878 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, MEREDITH A.
5408 CHATFIELD SQUARE
GREENSBORO, NC 27410                               P‐0003879 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABDULLE, ABDULFATAH
8001 CHARLESTOWN LN
FORT WORTH, TX 76140                               P‐0003880 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, MICHAEL P.
12078 DOE RUN COURT
CINCINNATI, OH 45240                               P‐0003881 10/25/2017    TK Holdings Inc., et al .                   $10,595.80                                                                                   $10,595.80
PACE, DEBBIE L.
4322 AZTEC
PASADENA, TX 77504                                 P‐0003882 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREA, CINDA R.
BREA, JULIO A.
8774 SERENE RIDGE DRIVE
SAN ANTONIO, TX 78239                              P‐0003883 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ODONNELL, STEPHEN
29 PUTTERS WAY
MIDDLETOWN, NY 10940                               P‐0003884 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORMAN, LEJUANA
106 ORTEGA RD NW #5
ALBUQUERQUE, NM 87114                              P‐0003885 10/25/2017    TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
ALPERT, STANLEY
26‐09 WARREN RD APT C
FAIR LAWN, NJ 07410‐3323                           P‐0003886 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, LUDIVIC M.
BELL, KESHA C.
2411 RIDGE RD.
MOBILE, AL 36617                                   P‐0003887 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WOODCOCK, TERAH E.
1031 KINGS MILL RUN
ATHENS, GA 30606                                    P‐0003888 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIBURD, DELIE
1436 HUNTERS FORD
STONE MOUNTAIN, GA 30088                            P‐0003889 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEELY, RYAN M.
15540 CANYON GULCH LANE 101
ENGLEWOOD, CO 80112                                 P‐0003890 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHAM, NGOC‐MAI T.
579 LAKE ASHLEY CIR.
MELBOURNE, FL 32904‐1984                            P‐0003891 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUHON, BRIAN K.
3903 SILVER MAPLE DRIVE
CARROLLTON, TX 75007                                P‐0003892 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRAZIER, SHARENA N.
2124 ROSS AVE
CINCINNATI, OH 45212                                P‐0003893 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, PENNY C.
172 SAWTOOTH OAK LN
EASLEY, SC 29640                                    P‐0003894 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, BARBARA G.
6322 W SADDLEHORN RD
PHOENIX, AZ 85083                                   P‐0003895 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENSPAN, BARRY
21 EDI AVENUE
PLAINVIEW, NY 11803                                 P‐0003896 10/25/2017    TK Holdings Inc., et al .                    $2,700.00                                                                                    $2,700.00
HAMBEL, HENRY P.
HAMBEL, CAROLE A.
29 MARY GRAY DR
CLYDE, NC 28721                                     P‐0003897 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROESSEL, PETER
800 COUNTRY CLUB RD
WATERBURY, CT 06708                                 P‐0003898 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHMITT, MATTHEW J.
3016 KANASCITY DRIVE
MONROE, NC                                          P‐0003899 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, PENNY C.
172 SAWTOOTH OAK LN
EASLEY, SC 29640                                    P‐0003900 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIBURD, DELIE
1436 HUNTERS FORD
STONE MOUNTAIN, GA 30088                            P‐0003901 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILSON, JOHN J.
40 JUNIPER STREET
ISLIP, NY 11751                                     P‐0003902 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURSKA, ALLAN W.
ANITA
39 SWEETGUM CT N
HOMOSASSA, FL 34446‐5135                            P‐0003903 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRAZIER, SHARENA N.
2124 ROSS AVE
CINCINNATI, OH 45212                                P‐0003904 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPLIN, TONYA L.
4054 MULLIKIN ROAD
EVANS, GA 30809                                     P‐0003905 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
VALLECILLO, NOEL D.
P O BOX 1552
DAPHNE, AL 36526                                    P‐0003906 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICELI, CARRIE
CARRIE MICELI
11423 N COLUMBINE DRIVE
DUNLAP, IL 61525                                    P‐0003907 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIETRZAK, MEAGAN A.
3931 FALVEL COVE DR
SPRING, TX 77388                                    P‐0003908 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEATON, GAIL H.
121 ROBERTS CHURCH RD
ANDERSON, SC 29626                                  P‐0003909 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENSPAN, BARRY
21 EDI AVENUE
PLAINVIEW, NY 11803                                 P‐0003910 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIBELLA, ROBERT J.
503 SHALLOW WATER CT.
SALEM, SC 29676                                     P‐0003911 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHELAN, KERI
1802 SE GIFFORD ST
PORT ST LUCIE, FL 34952                             P‐0003912 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNELLINGER, NANNETTE M.
40 LOCK VIEW CT
FRANKFORT, KY 40601                                 P‐0003913 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKOWN, AARON M.
1504 BAY RD.
#2312
MIAMI BEACH, FL 33139                               P‐0003914 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWLAND, CONSTANCE
336 AVERY ROAD
KERRVILLE, TX 78028                                 P‐0003915 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOUCK, TIMOTHY R.
308 GRINGLEY HILL ROAD
FORT MILL, SC 29708                                 P‐0003916 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEST, ARIFAH
7811 HORNWOOD DR.
HOUSTON, TX 77036                                   P‐0003917 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERICCHSEN, TERRY J.
243 SPRUCE LANE
FORKED RIVER, NJ 08731                              P‐0003918 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARTELLI, VICKY
1257 ROCKY BRANCH TRAIL
LAWRENCEVILLE, GA 30043                             P‐0003919 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, ANGIE
10612 INDIGO HILLS LN
JACKSONVILLE, F 32221                               P‐0003920 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEATON, KENNETH R.
121 ROBERTS CHURCH RD
ANDERSON, SC 29626                                  P‐0003921 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGAZZI, ALDO
260 OLD LAKE STREET
WEST HARRISON, NY 10604                             P‐0003922 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, PAMELA E.
709 DAWSON SPRINGS WAY
LEXINGTON, KY 40511                                 P‐0003923 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MANNING, LISA H.
561 UNDERWOOD FARM RD.
CLEVELAND, GA 30528                                 P‐0003924 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, REBECCA F.
73 MOUNTAIN OAK COURT
UNIT 4069
ELLIJAY, GA 30536                                   P‐0003925 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEAFE, STEPHEN P.
7510 JAMESTOWN DR
ALPHARETTA, GA 30005                                P‐0003926 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, FRANCIS M.
529 E PERKINS CREEK RD
SENECA, SC 29678                                    P‐0003927 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KABASAN, DENNIS C.
42 TORRINGTON AVENUE
FLETCHER, NC 28732                                  P‐0003928 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEATON, KENNETH R.
121 ROBERTS CHURCH RD
ANDERSON, SC 29626                                  P‐0003929 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEHRMAN, THEODORE
7928 AZTEC CT
LAKE WORTH, FL 33463                                P‐0003930 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARMER‐MEGGS, JULIA B.
5236 FAIRWAY DR
SAN ANGELO, TX 76904                                P‐0003931 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURRY, KIMBERLY D.
8100 WEST HIGHWAY 98
#1301
PENSACOLA, FL 32506                                 P‐0003932 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUGUESS, TOMMY D.
1867 AUSTIN TRAPHILL ROAD
ELKIN, NC 28621                                     P‐0003933 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROUCHER, DANIEL C.
DANIEL C CROUCHER
171 MILLIGAN RD
WEST BABYLON, NY 11704                              P‐0003934 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLINGSWORTH, HENRY
55 CEDAR ROAD
AMITYVILLE, NY 11701                                P‐0003935 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NETTLES, TRACEY L.
338 SMITHFIELD DRIVE
ANDERSON, SC 29621                                  P‐0003936 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARTELLI, RON
1257 ROCKY BRANCH TRAIL
LAWRENCEVILLE, GA 30043                             P‐0003937 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCANLON, DAVID S.
KENNON, MARIA D.
2832 E. 19TH ST
TUCSON, AZ 85716                                    P‐0003938 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASKEY, LA NETTE L.
CASKEY, JESS F.
6271 QUAIL COURT
THEODORE, AL 36582                                  P‐0003939 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIPASQUALE, MICHAEL
13 HARBOUR POINT DRIVE
NORTHPORT, NY 11768                                 P‐0003940 10/25/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
TYLER, ARLIETA E.
210H NEW HOLLAND COURT
COLUMBIA, SC 2910                                   P‐0003941 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOND JR., TERRY L.
2224 WIDEVIEW DR.
COVINGTON, KY 41011                                 P‐0003942 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEILER, KIM
W198S10785 RED OAK COURT
MUSKEGO, WI 53150                                   P‐0003943 10/25/2017    TK Holdings Inc., et al .                     $844.98                                                                                       $844.98
HERNANDEZ, PEGGY A.
2071 RIVERDALE ST D3
WEST SPRINGFIELD, MA 01089                          P‐0003944 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMMONS, DORINDA G.
AMMONS, MARK A.
10555 EARNHARDT LAKE RD
DAVIDSON, NC 28036                                  P‐0003945 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POULIN, DONALD E.
POULIN, JANET L.
11409 SW ROCKINGHAM DR
PORT SAINT LUCIE, FL 34987                          P‐0003946 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENRY, ROBERT G.
1246 QUARTER HORSE LANE
KALISPELL, MT 59901                                 P‐0003947 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REESE, CRAIG A.
REESE, TINA M.
546 SOUTH STATE ST.
RICHMOND, UT 84333                                  P‐0003948 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEACH, JAIME L.
8336 E CYPRESS ST
SCOTTSDALE, AZ 85257                                P‐0003949 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUPTA, RAJENDRA C.
14221 LAKE CANDLEWOOD CT
MIAMI, FL 33014                                     P‐0003950 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUCHNIK, TAMMY J.
517 CEDAR HILL RD
FAR ROCKAWAY, NY 11691                              P‐0003951 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GODBEY, DAVID C.
6758 LAKEWOOD BLVD
DALLAS, TX 75214                                    P‐0003952 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDRIDGE, MCARTHUR E.
3445 ARETE CT NE
ROSWELL, GA 30075                                   P‐0003953 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTILLO, MARGARET
6911 MOUNTAIN CEDAR LN
DALLAS, TX 75236                                    P‐0003954 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUCHNIK, AVI
MUCHNIK, DAVID C.
517 CEDAR HILL RD
FAR ROCKAWAY, NY 11691                              P‐0003955 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEACH, JAIME L.
8336 E CYPRESS ST
SCOTTSDALE, AZ 85257                                P‐0003956 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, LAKESHIA
3400 CRAIG DR APT 1922
MCKINNEY, TX 75070                                  P‐0003957 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
LUCIBELLO, ELIZABETH A.
36065 E PARK DR
HEMPSTEAD, TX 77445                                P‐0003958 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUPTA, RAJENDRA
14221 LAKE CANDLEWOOD CT
MIAMI, FL 33014                                    P‐0003959 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, WILLIAM D.
6536 VIRGINIA SQ
ARLINGTON, TX 76017                                P‐0003960 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRERA, PATRICK J.
11110 CLAREMONT AVE NE
ALBUQUERQUE, NM 87112                              P‐0003961 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRISON, JENNIFER M.
THOMPSON, THOMAS G.
82117 HOODED WARBLER COURT
YULEE, FL 32097                                    P‐0003962 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIRO, EMILY
MIRO, LUIGI
599 WHITE PLAINS ROAD
EASTCHESTER, NY 10709                              P‐0003963 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANO JR, CARLOS M.
125 FAYETTE AVE
APT B1
STATEN ISLAND, NY 10305                            P‐0003964 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALAS, JACOB
323 MEADOW DR
PONDERT, TX 76259                                  P‐0003965 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHOOLBRED, ERIKA L.
516 NORWOOD STREET
SPARTANBURG, SC 29302                              P‐0003966 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, PATRICK S.
15301 SW 88TH AVE
PALMETTO BAY, FL 33157                             P‐0003967 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, WILLIAM D.
RICHARDSON, PATRICIA BAKER
6536 VIRGINIA SQ
ARLINGTON, TX 76017                                P‐0003968 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOFLIN, WILLIAM E.
24 SUNNIE RAE LANE
CANDLER, NC 28715                                  P‐0003969 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIRO, LUIGI
MIRO, EMILY
599 WHITE PLAIS ROAD
EASTCHESTER, NY 10709                              P‐0003970 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COVA, NICHOLAS D.
COVA, CAMERON A.
1666 E. HARVARD AVE
SALT LAKE CITY, UT 84105                           P‐0003971 10/25/2017    TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
COTTRELL, CHRISTOPHER G.
13814 COPELAND OAKS BLVD
CYPRESS, TX 77429                                  P‐0003972 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDANIEL, WILLIAM R.
74 TIMBER RIDGE DRIVE
ATHENS L, GA 30607                                 P‐0003973 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
BRUNO, LAURENCE P.
1117 E ORCHID LANE
GILBERT, AZ 85296                                  P‐0003974 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, LYDIA
934 GEORGIA CROSSING ROAD
WINCHESTER, TN 37398                               P‐0003975 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUCHNIK, DAVID
517 CEDAR HILL RD
FAR ROCKAWAY, NY 11691                             P‐0003976 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEDNARZ, BEVERLY A.
1703 SONNET DRIVE
GRAPEVINE, TX 76051                                P‐0003977 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEINART, SHANNON E.
127 DAVID RD
CLINTON, TN 37716                                  P‐0003978 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKIBA, ROSE
255 CHADEAYNE ROAD
OSSINING, NY 10562                                 P‐0003979 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALPERT, STANLEY
26‐09 WARREN RD APT C
FAIR LAWN, NJ 07410‐3323                           P‐0003980 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, DANETTE L.
HENDERSON, TORG B.
3505 E MCDOWELL RD
MESA, AZ 85213                                     P‐0003981 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COTTRELL, CHRISTOPHER G.
13814 COPELAND OAKS BLVD
CYPRESS, TX 77429                                  P‐0003982 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEROW, KAYLEEN A.
49 BUGBEE RD
SOUTHWICK, MA 01077                                P‐0003983 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUNO, LAURENCE P.
1117 E ORCHID LANE
GILBERT, AZ 85296                                  P‐0003984 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSH, ROSE
1627 SECTION RD
#3
CINCINNATI, OH 45237                               P‐0003985 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DAVINA C.
3212 PINE CASTLE DR
SOUTHSIDE, AL 35907                                P‐0003986 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VICKERY, SARAH P.
112 DILLARD ST
CARRBORO, NC 27510                                 P‐0003987 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COTTRELL, CHRISTOPHER G.
13814 COPELAND OAKS BLVD
CYPRESS, TX 77429                                  P‐0003988 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITING, BRIAN G.
16506 BLUFF SPRINGS DR.
HOUSTON, TX 77095                                  P‐0003989 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURLOW, BONNIE A.
432 LOHNES DRIVE
FAIRBORN, OH 45324                                 P‐0003990 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWSON, JOEL A.
8318 QUAIL CT
INDANAPOLIS, IN 46256                              P‐0003991 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
COLE, RONALD C.
COLE, PEGGY T.
2209 NORTH LAKE DRIVE
GREENVILLE, TX 75402                                P‐0003992 10/25/2017    TK Holdings Inc., et al .                    $1,494.86                                                                                    $1,494.86
MULLIGAN, MATTHEW
21 EASTHAM LANE
POINT PLEASANT BEACH 08742                          P‐0003993 10/25/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
HARP, JARROD
101 ROGERS STREET W
FORT DEPOSIT, AL 36032                              P‐0003994 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'NEAL, RENEE D.
4810 APPLE SPRUCE DRIVE
INDIANAPOLOLIS, IN 46235                            P‐0003995 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWFORD, KERRY S.
2245 TRAMMEL ESTATES DRIVE
CUMMING, GA 30041                                   P‐0003996 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAITOVSKY, AVI‐GIL
279 FRANCES STREET
TEANECK, NJ 07666                                   P‐0003997 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRGHT, JAMES R.
13822 WICKERSHAM LN
HOUSTON, TX 77077                                   P‐0003998 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALPERT, STANLEY
26‐09 WARREN RD APT C
FAIR LAWN, NJ 07410                                 P‐0003999 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUO, WENDY S.
400 NEW PARKSIDE DR
CHAPEL HILL, NC 27516                               P‐0004000 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINKER, ROB J.
537 EAGLE ROCK DRIVE
PONTE VEDRA, FL 32081                               P‐0004001 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, CHARLENE L.
2133 BRAEBURN PARKWAY
INDIANAPOLIS, IN 46219                              P‐0004002 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPICKER JR, ROBERT K.
12273 COUNTRY DAY CIRCLE
FORT MYERS, FL 33913                                P‐0004003 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, KRISTY M.
717 BRONSON ST
ROSSVILLE, GA 30741                                 P‐0004004 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DONNA C.
MURRAY ‐ COX, JENNIFER L.
489 COLORADO
VAN, TX 75790                                       P‐0004005 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRESLEIGH, RANDALL L.
PRESLEIGH, ELIZABETH A.
846 S CAPITOLA WAY
BOISE, ID 83712                                     P‐0004006 10/25/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
WILLIAMS, DAVINA C.
3212 PINE CASTLE DR
SOUTHSIDE, AL 35907                                 P‐0004007 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANINI, JERRI A.
13915 RED MAPLE WOOD
SAN ANTONIO, TX 78249                               P‐0004008 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SMITH, JOSEPHINE A.
N/A
N/A
N/A                                                 P‐0004009 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TWITCHELL, ALLEN W.
40 KNOWLTON ST.
CAMDEN, ME 04843                                    P‐0004010 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARCA, JOSEPH I.
75 ISELIN DRIVE
NEW ROCHELLE, NY 10804                              P‐0004011 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURTIS, STEVEN A.
4210 FULTON DRIVE
KNOXVILLE, TN 37918                                 P‐0004012 10/25/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
IVEY, IV, CHARLES M.
1817 COLONIAL AVE.
GREENSBORO, NC 27408                                P‐0004013 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENTON, JUDITH A.
2971 BIG SKY BLVD.
KISSIMMEE, FL 34744                                 P‐0004014 10/25/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
FRAIOLI, ANGELO
3209 NW 23RD TER
BOCA RATON, FL 33431                                P‐0004015 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECK, JR, LUTHER H.
2711 BUFORD HWY
BUFORD, GA                                          P‐0004016 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AHMAD, NOOR
2801 W MAPLE AVENUE
APT. 212
MCALLEN, TX 78501                                   P‐0004017 10/25/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
TWITCHELL, ALLEN W.
40 KNOWLTON ST.
CAMDEN, ME 04843                                    P‐0004018 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARMER‐MEGGS, JULIA B.
5236 FAIRWAY DR
SAN ANGELO, TX 76904                                P‐0004019 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHALEN, EMILY C.
212 E. SHEFFORD ST.
GREER, SC 29650                                     P‐0004020 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, DANIEL H.
109 DANFORTH DR
HARVEST, AL 35749                                   P‐0004021 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPARROW, JEROME K.
201 SAUL DR
ELLENWOOD, GA 30294                                 P‐0004022 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHUNG, JI W.
2633 GADSEN WALK
DULUTH, GA 30097                                    P‐0004023 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANHORN, LISA D.
3710 BISCAY DR
ARLINGTON, TX 76016                                 P‐0004024 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, MICHELLE L.
5215 SHIPMAST WAY
SOUTHPORT, NC 28461                                 P‐0004025 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LONCAREVIC, ANDREW M.
LONCAREVIC, PREALL H.
10946 SENECA LANE
GLEN SAINT MARY, FL 32040                            P‐0004026 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAVEN, BRYAN E.
984 N. COOPER STREET
ARLINGTON, TX 76011                                  P‐0004027 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDOLOSKI, LEE R.
755 E MULBERRY
SUITE 200
SAN ANTONIO, TX 78212                                P‐0004028 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTZOG, JENNY
HARTZOG, GREGORY
211 FELKER ST
MONROE, GA 30655                                     P‐0004029 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VENTRELLO, FRANK
1340 MORNING OAKS DR
TAYLORSVILLE, UT 84123                               P‐0004030 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARAKACHOS, JAIME L.
41 RONALD DR
DECATUR, IL 62526                                    P‐0004031 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMBS, DONALD A.
5620 ALOMAR DR.
CINCINNATI, OH                                       P‐0004032 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEPULVEDA, JEZRAEL
4065 MISSION WAY
MCDONOUGH, GA 30252                                  P‐0004033 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JIMENEZ, BRIGETTE R.
1701 UPLAND DR APT 177
HOUSTON, TX 77043                                    P‐0004034 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASKER, RHONDA L.
15843 N 26TH AVE
PHOENIX, AZ 85023                                    P‐0004035 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLIS, SUSAN K.
223 FOSTER AVE
MARSHFIELD, MA 02050                                 P‐0004036 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, PAMELA Y.
4125 QUINN DRIVE
EVANS, GA 30809                                      P‐0004037 10/25/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
MULLINS, MEGAN
11097 US HWY 33W
ALUM BRIDGE, WV 26321                                P‐0004038 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, VIVIENDENI F.
MORRIS+++, THOMAS M.
203 SOUTHFORK WAY
WOODSTOCK, GA 30189                                  P‐0004039 10/25/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
SHAW, LAWRENCE H.
2796 CHRISTIANSBURG PIKE NE
FLOYD, VA 24091                                      P‐0004040 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMEZ, EUTIMIO E.
GOMEZ, SHEENA L.
12656 ZULEMA ST
EL PASO, TX 79928                                    P‐0004041 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAVEY, FREDERICK T.
8022 S 500 E
MONTGOMERY, IN 47558                                 P‐0004042 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HEATH, KYLE L.
2251 SHELBYVILLE ROAD
SHELBYVILLE, KY 40065                               P‐0004043 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EPAKCHI, SAEED
14 SEACREST DRIVE
LLOYD NECK, NY 11743                                P‐0004044 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUTE, MARK A.
2513 SOUTH EXTENSION ROAD
MESA, AZ 85210                                      P‐0004045 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENOIT, ROSE
RAINES, TERRY
703 S SWEETWATER BLVD
LONGWOOD
, FL 32779                                          P‐0004046 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERNSTEIN, BARRY
17 BIRCHWOOD DRIVE
PORT JEFF STATIO, NY 11776                          P‐0004047 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNS, CAROLYN E.
5269 CLINGMAN CT
DOUGLASVILLE, GA 30135‐9266                         P‐0004048 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLINS, HENRY W.
11097 US HWY 33W
ALUM BRIDGE, WV 26321                               P‐0004049 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUTE, CORTNIE R.
2513 SOUTH EXTENSION ROAD
MESA, AZ 85210                                      P‐0004050 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EPAKCHI, SAEED
14 SEACREST DRIVE
LLOYD NECK, NY 11743                                P‐0004051 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOKEY, CYNTHIA A.
P.O. BOX 575
DUNBAR, WV 25064                                    P‐0004052 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIAZ, LUIS G.
DIAZ, HING H.
P.O. BOX 12374
FORT PIERCE, FL 34979                               P‐0004053 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES, ADAM M.
HUGHES, ASHLEY C.
4807 STANLEY FARM CT
LAGRANGE, KY 40031                                  P‐0004054 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONE, ELECTA D.
513 NW 22ND AVE
UNIT 4
FORT LAUDERDALE, FL 33311                           P‐0004055 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, LORRY J.
5655 DOLLAR FORGE DR
INDIANAPOLIS, IN 46221                              P‐0004056 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUZMAN, SULY
3707 S. HAWKEYE ST.
WEST VALLEY, UT 84120                               P‐0004057 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EPAKCHI, SAEED
14 SEACREST DRIVE
LLOYD NECK, NY 11743                                P‐0004058 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
JONES, STEPHEN M.
CLAYTON, RUBY M.
4105 FERNDALE DR.
PORT ARTHUR, TX 77642                              P‐0004059 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GELLIS, MARYSUE
CAB WEST LL
11531 E. JUAN TABO ROAD
SCOTTSDALE, AZ 85255                               P‐0004060 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHOCKLEY, EUGENE M.
130 CLUB DR
FAIRHOPE, AL 36532                                 P‐0004061 10/25/2017    TK Holdings Inc., et al .                   $33,230.44                                                                                   $33,230.44
DIAZ, LUIS G.
DIAZ, HING H.
P.O. BOX 12374
FORT PIERCE, FL 34979                              P‐0004062 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, JEFFREY K.
2251 SHELBYVILLE ROAD
SHELBYVILLE, KY 40065                              P‐0004063 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUTE, MARK A.
2513 SOUTH EXTENSION ROAD
MESA, AZ 85210                                     P‐0004064 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICHOLS, BRANDI A.
39 CHICORY DRIVE
WOLCOTT, CT 06716                                  P‐0004065 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NATHO, RANDY L.
!5843 N 26TH AVE
PHOENIX, AZ 85023                                  P‐0004066 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANTHONY, DEBRANETTE B.
92 MOSSEY LANE
MILLBROOK, AL 36054                                P‐0004067 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GHODSIANZADEH, FARNAZ
511 TRAILRIDGE DRIVE
RICHARDSON, TX 75081                               P‐0004068 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOTHROP, PATRICIA D.
2586 GRAND AVENUE
BELLMORE, NY 11710                                 P‐0004069 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAHL, KIRAN
17358 EMERALD CHASE DR
TAMPA, FL 33647                                    P‐0004070 10/25/2017    TK Holdings Inc., et al .                     $275.00                                                                                       $275.00
SAMS, ANNA M.
P.O. BOX 426
SEYMOUR, TN 37865                                  P‐0004071 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDFIELD, TRACY S.
1 MERRITT ST
APT 1
ANSONIA, CT 06401                                  P‐0004072 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAVEZ, ANNE M.
3416 GLADDEN CT. NE
ALBUQUERQUE, NM 87110                              P‐0004073 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOZDAHEE, SHAHBEGUM
511 TRAILRIDGE DRIVE
RICHARDSON, TX 75081                               P‐0004074 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NATHO, RANDY L.
NO ADDRESS PROVIDED
                                                   P‐0004075 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
JOHNSON, BETTY S.
4613 OLD VILLAGE WAY
OLDSMAR, FL 34677                                   P‐0004076 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BINNS, MARY F.
4023 LOVE BIRD LN
AUSTIN, TX 78730‐3525                               P‐0004077 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDENS, CHRISTOPHER P.
EDENS, TERI L.
1775 16TH ST
CUYAHOGA FALLS, OH 44223                            P‐0004078 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISCHER, ROSANNE
23‐15 35TH STREET APT 2
ASTORIA, NY 11105                                   P‐0004079 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POULAKOS, CAROL A.
8533 SOUTH MAIZE DRIVE
OAK CREEK, WI 53154                                 P‐0004080 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, JEFFREY K.
2251 SHELBYVILLE ROAD
SHELBYVILLE, KY 40065                               P‐0004081 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRESLEY, REBECCA R.
PRESLEY, JERRY R.
3847 POCAHONTAS LN
BULLHEAD CITY, AZ 86442                             P‐0004082 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANTHONY, DEBRANETTE B.
ANTHONY, LORENZ
92 MOSSEY LANE
MILLBROOK, AL 36054                                 P‐0004083 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOGGS, KENNETH W.
6347 GALSTON CT.
CANAL WINCHESTER, OH 43110                          P‐0004084 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDFIELD, TRACY S.
1 MERRITT ST
APT 1
ANSONIA, CT 06401                                   P‐0004085 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRINGER, SHARON L.
7620 CASTLETON FARMS WEST DR.
INDIANAPOLIS, IN 46256                              P‐0004086 10/25/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
LAMAR, DEBRA L.
LAMAR,JR, WILLIE
134 BLACK SPRINGS RD NE
MILLEDGEVILLE, GA 31061‐7522                        P‐0004087 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIAZ, IRIS M.
69‐30 60TH ROAD
APARTMENT 2
MASPETH, NY 11378                                   P‐0004088 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZASTAWNY, ROBERT M.
ZASTAWNY, FRANCES M.
1835 S. MORRISON LANE
GILBERT, AZ 85295                                   P‐0004089 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAULEY, WILLIAM D.
CAULEY, DEBORAH L.
107 ROLLING MEADOW RD.
MADISON, CT 06443                                   P‐0004090 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
GERRAUGHTY, JOHN M.
300 S CENTRAL AVE
APT C6
HARTSDALE, NY 10530                                 P‐0004091 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBB, STACEY A.
812 MIDPRIDE STREET
LAS VEGAS, NV 89144                                 P‐0004092 10/25/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
RODRIGUEZ, RICHARD
19503 SUNCOVE LN.
HUMBLE, TX 77346                                    P‐0004093 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAULEY, WILLIAM D.
CAULEY, DEBORAH L.
107 ROLLING MEADOW RD
MADISON, CT 06443                                   P‐0004094 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BINNS, JOE D.
4023 LOVE BIRD LN
AUSTIN, TX 78730‐3525                               P‐0004095 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEGURA, DORA L.
19503 CAIRNS DRIVE
KATY, TX                                            P‐0004096 10/25/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MATHIEU, REGINALD
1836 NORTH JERUSALEM ROAD
NORTH BELLMORE, NY 11710‐1108                       P‐0004097 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEPALMA, DIANE
184 TALON TRACE
BLAIRSVILLE, GA 30512                               P‐0004098 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADNER, WILLIAM
124 PINE ST
FORT MILL, SC 29715                                 P‐0004099 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, PUI L.
2551 PEREGRINE TRAIL
SUWANEE, GA 30024                                   P‐0004100 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YETGIN, EMRE
7 WESSEX CT
EAST WINDSOR, NJ 08520                              P‐0004101 10/25/2017    TK Holdings Inc., et al .                    $1,200.00                                                                                    $1,200.00
FELDER, QUWANDA E.
1909 SANDALWOOD CT.
WINDER, GA 30680                                    P‐0004102 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALDEN, PENNI N.
17 SANDY CROSS LANE
LEXINGTON, GA 30648                                 P‐0004103 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAY, MARTYN R.
CLAY, EVELYN M.
3060 SUTTON WOODS DR.
PLANT CITY, FL 33566                                P‐0004104 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLIFIELD, JENNY
25 BROADVIEW DR
ASHEVILLE, NC 28803                                 P‐0004105 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRYDEN, MICHAEL C.
DRYDEN, COURTNEY S.
USALLIANCE
116 ROSARIO DR.
SUMMERVILLE, SC 29483                               P‐0004106 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
HAMBEL, CAROLE A.
HAMBEL, HENRY P.
29 MARY GRAY DR
CLYDE, NC 28721                                    P‐0004107 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISHOP, ROY T.
44 SPOONBILL WAY
UNIT 1
KEY WEST, FL 33040                                 P‐0004108 10/25/2017    TK Holdings Inc., et al .                     $600.00                                                                                       $600.00
GREENLEAF, TAMIKA
22003 BRIDGESTONE WAY COURT
SPRING, TX 77388                                   P‐0004109 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERD, CHAD R.
6466 EMERALD DUNES DR.
UNIT 105
WEST PALM BEACH, FL 33411                          P‐0004110 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERMANY, NIKO
9243 N. MACARTHUR BLVD.
APT. B
OKLAHOMA CITY, OK 73132                            P‐0004111 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARVAUNT, RUTH F.
1080 COUNTY RD 730
CLANTON, AL 35046                                  P‐0004112 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAMMEYER, JAMES C.
DAMMEYER, LINDA J.
6161 CANTERBURY FIELD ROAD
LAS VEGAS, NV 89113                                P‐0004113 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEAVER, BRADFORD L.
372 BELL ROAD
MORRISON, TN 37357                                 P‐0004114 10/25/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
PATEL, SANDIP C.
341 TERRAPIN TRAIL
WHITTIER, NC 28789                                 P‐0004115 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALESH, MARK R.
5987 W 8170 S
WEST JORDAN, UT 84081                              P‐0004116 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTER, JAMES M.
10420 SW 198TH ST
CUTLER BAY, FL 33157‐8507                          P‐0004117 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECCLES, LISA E.
767 BRAMBLEWOOD DRIVE
LOVELAND, OH 45140                                 P‐0004118 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, RICKY D.
JOHNON, CAROLYN S.
305 MIL STREET
ABBEVILLE, SC 29620                                P‐0004119 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, ELLANORE
P.O. BOX 1503
MCKINNEY, TX 75070                                 P‐0004120 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARGANI, MURALI K.
6421 FITZGERALD DR
PLANO, TX 75074                                    P‐0004121 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORGEY, JASON M.
2701 PEPPERSTONE DRIVE
GRAHAM, NC 27253                                   P‐0004122 10/25/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
KRAMER TRUST, STEVEN M.
STEVEN KRAMER TRUST 1/15/1999
9815 BUICE RD
JOHNS CREEK, GA 30022‐6324                          P‐0004123 10/25/2017    TK Holdings Inc., et al .                    $9,219.25                                                                                    $9,219.25
MORRIS, GARY L.
MORRIS, NORMA L.
24819 HOUSE MOUNTAIN
SAN ANTONIO, TX 78255                               P‐0004124 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRIBERNEY, ROBIN
12127 BRANDING IRON COURT
WELLINGTON, FL 33414                                P‐0004125 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGLYNN, DONALD J.
166 ROSALIA COURT
JUPITER, FL 33478                                   P‐0004126 10/25/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MARSHALL, DENISE
MARSHALL, CHARLES
162 MASON PLACE
DECHERD, TN 37324                                   P‐0004127 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, ALICIA D.
23207 BRIGHT STAR DRIVE
SPRING, TX 77373                                    P‐0004128 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KASSA, MICHAEL T.
KASSA, DARLENE C.
3 WYNGATE LANE
SIMSBURY, CT 06070                                  P‐0004129 10/25/2017    TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
HIGGINS, THOMAS
1999 W CALLE CAMPANA DE PLATA
TUCSON, AZ 85745                                    P‐0004130 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAN, NAM T.
4234 YUPON RIDGE DR.
HOUSTON, TX 77072                                   P‐0004131 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANDAZZO NOCE, CRISTINA
63 SCUDDER PL
NORTHPORT, NY 11768                                 P‐0004132 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODMAN, DAMARIE
57 FENWICK ST
SPRINGFIELD, MA 01109                               P‐0004133 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERGELE, JON A.
JON A. MERGELE
2711 RICHCREEK RD.
AUSTIN, TX 78757                                    P‐0004134 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TWITTY, MICHAEL E.
2120 ASHLEY COOPER LANE
CHARLESTON, SC 29414                                P‐0004135 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOLDRIDGE, DANNY E.
WOOLDRIDGE, JOE F.
1675 RICHLAND HILL DRIVE
SALEM, VA                                           P‐0004136 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INMAN, DEBORAH
6062 NARCISSA PLACE
DULUTH, GA 30097                                    P‐0004137 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACDIARMID, ALEXIS R.
311 1/2 NORTH WALNUT STREET
TOWNSEND, MT 59644                                  P‐0004138 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
OLIVER, PATRICIA
5251 STONE GALLERY DRIVE
WALKERTOWN, NC 27051                                P‐0004139 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, CARL E.
1009 SW 3RD ST
OKEECHOBEE, FL 34974                                P‐0004140 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAKEFIELDFRIERSO, KIMBERLY
2867 ALMESTER DRIVE
CINCINNATI, OH 45211                                P‐0004141 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOLDRIDGE, DANNY E.
1675 RICHLAND HILL DRIVE
SALEM, VA 24153                                     P‐0004142 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DULANEY, KARLA S.
12566 WESTERLEY LN.
HOUSTON, TX 77077                                   P‐0004143 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIGHT, DEREK B.
HIGHT, CRYSTAL D.
1407 BARNETT RD NW
ROANOKE, VA 24017                                   P‐0004144 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROOKS, ALEX V.
5767 VAUGHN DRIVE E
SATSUMA, AL 36572                                   P‐0004145 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTSOCK, SHERRIE J.
5331 RANCH CEDAR RD.
MIDLOTHIAN, TX 76065                                P‐0004146 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIGDON, JAMES W.
HIGDON, SANDRA K.
70 WINNEBAGO CT
SPARLAND, IL 61565                                  P‐0004147 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSSO, RAYMOND
4904 SPRUCE STREET
BELLAIRE, TX 77401                                  P‐0004148 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURTON, DONALD E.
1432 TAPERWICKE DR
DALLAS, TX 75232                                    P‐0004149 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAVERS, SANDRA
4112 SEABREEZE RD. N.
MOBILE, AL 36609                                    P‐0004150 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICH, RODNEY
223 MINA DE ORO ST.
MISSION, TX 78572                                   P‐0004151 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIDGES, RICHARD A.
303 JOHN TURNER ROAD
MONROE, LA 71203                                    P‐0004152 10/25/2017    TK Holdings Inc., et al .                    $3,741.00                                                                                    $3,741.00
HIGHT, CRYSTAL D.
1407 BARNETT RD NW
ROANOKE, VA 24017                                   P‐0004153 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, THOMPSON S.
P.O. BOX 190
244 PINE BAY DRIVE
UNION HALL, VA 24176                                P‐0004154 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORONA, RICARDO
BOTELLO, MARIA D.
6037 W RAYMOND ST
PHOENIX, AZ 85043                                   P‐0004155 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
JOPPEK, TERRIE L.
2707 NORTH STREET
BEAUFORT, SC 29902                                   P‐0004156 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRITCHARD, DAVID W.
123 WOODSIDE DRIVE
LONGMEADOW, MA 01106                                 P‐0004157 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, ALBERT
2212 CHAPPELL STREET
MONTGOMERY, AL 36108                                 P‐0004158 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, FLIERY
3200 LENOX ROAD
APTE311
ATLANTA, GA 30324                                    P‐0004159 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAY, TAMMY A.
109 ONEAL ST
BELTON, SC 29627                                     P‐0004160 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNHAM, TRACY L.
DUNHAM, JAMES P.
2723 W ISABELLA AVE
MESA, AZ 85202                                       P‐0004161 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, CLEAVIAN
202 ESTATE DRIVE
APT A
O'FALLON, IL 62269                                   P‐0004162 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIOS, JESSE J.
5710 BENNY ST
ROSHARON, TX 77583                                   P‐0004163 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOK, CHRISTOPHER P.
1702 RIVERSIDE DR.
TREN, NJ 08618                                       P‐0004164 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIOS, JESSE
5710 BENNY ST
ROSHARON, TX 77583                                   P‐0004165 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MONTGOMERY T.
SMITH, MONTGOMERY T.
3170 BUNTING RUN
CUMMING, GA 30041                                    P‐0004166 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PURVIS, TERRILL R.
4228 W ALTA LN
DUNLAP, IL 61525                                     P‐0004167 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEN, DA
LE, BAO ANH P.
3511 BROOK CROSSING DR.
BRANDON, FL 33511                                    P‐0004168 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEYER, CHRISTOPHER J.
5937 WERK RD
CINCINNATI                                           P‐0004169 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODMANJR, HAROLD R.
59 FENWICK STREET 3RD FLR
SPRINGFIELD, MA 01109                                P‐0004170 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOGISTIC PROFESSIONALS INC
1920 PENNSYLVANIA AVE
MCDONOUGH, GA 30253                                  P‐0004171 10/25/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
RIOS, NANCY A.
5710 BENNY ST
ROSHARON, TX 77583                                   P‐0004172 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
RICEMAN, THOMAS P.
1206 TRESTLE ROAD
GRIFFIN, GA 30223                                   P‐0004173 10/25/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
ELLIOTT, GARY K.
130 WILDWOOD DR
CORBIN, KY 40701                                    P‐0004174 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAKRIS, PETER L.
MAKRIS, ANNA
936 HUNTINGTON DRIVE
FISHKILL, NY 12524                                  P‐0004175 10/25/2017    TK Holdings Inc., et al .                    $5,600.00                                                                                    $5,600.00
RICEMAN, THOMAS P.
1206 TRESTLE ROAD
GRIFIN, GA 30223                                    P‐0004176 10/25/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
HAGAN, LEAVELL C.
110 MARY STREET
BRUNSWICK, GA. 31520
                                                    P‐0004177 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSON, CELESTE V.
240 ELM ST APT 1B
NEWPORT, ME 04953                                   P‐0004178 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CREECH III, JAMES R.
6826 COUNTRY MEADOWS LANE
TRINITY, NC 27370                                   P‐0004179 10/25/2017    TK Holdings Inc., et al .                   $17,500.00                                                                                   $17,500.00
DOTSON, JUSTIN L.
1068 EVANS COVE ROAD
MAGGIE VALLEY, NC 28751                             P‐0004180 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAWAB, PARVIZ F.
100 NW 23 RD. AVE. #2408
OCALA, FL 34475                                     P‐0004181 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMBS, DON A.
5620 ALOMAR DR.
CINCINNATI, OH 45238                                P‐0004182 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHELIEU, HELEN L.
1107 EGRET LAKE WAY
MELBOURNE, FL 32940                                 P‐0004183 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLODOWSKI, HELEN M.
6559 CLARA BOW AVE UNIT 101
LAS VEGAS
, NV 89122‐1652                                     P‐0004184 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NATHO, RANDY L.
MASKER, RHONDA L.
15843 N 26TH AVE
PHOENIX, AZ 85023                                   P‐0004185 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINN, KERRY K.
141 GLENDALE DR
WAYNESVILLE, NC 28786                               P‐0004186 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KROSKA, SHELLEY
CORDERO, VICTOR A.
3042 N MADSON PL
TUCSON, AZ 85719                                    P‐0004187 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOYT‐HASS, KAREN L.
604 EAST WEBER DR #21
TEMPE, AZ 85281                                     P‐0004188 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOVOCOOL, CAROLE A.
104 RANDOLPH AVENUE
HPATCONG, NJ 07843                                  P‐0004189 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
INNIE, ROBIN A.
455 UNION ST. APT. 302
MANCHESTER, NH 03103                                P‐0004190 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANTHONY, LORENZO
92 MOSSEY LANE
MILLBROOK, AL 36054                                 P‐0004191 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARIZONA COPPER DEVL CORP
21309 N 39TH WAY
PHOENIX, AZ 85050                                   P‐0004192 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNOLDS, SHELDON B.
REYNOLDS, MITZI R.
1029 ANDIRON LANE
RALEIGH, NC 27614                                   P‐0004193 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLOMON, LINDA
SOLOMON, BARRY
3435 ENCHANTED HILLS DR.
SALT LAKE CITY, UT 84121                            P‐0004194 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, STEPHAINE R.
DFWK
594 CEDAR ST APT 45
CALVERT CITY
MARSHALL                                            P‐0004195 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSON, CELESTE V.
240 ELM ST APT 1B
NEWPORT, ME 04953                                   P‐0004196 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, MICOA N.
2035A FALCON RIDGE DR.
CARROLLTON, TX 75010                                P‐0004197 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEPULVEDA, JEZRAEL
4065 MISSION WAY
MCDONOUGH, GA 30252                                 P‐0004198 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KROSKA, SHELLEY
CORDERO, VICTOR A.
3042 N MADSON PL
TUCSON, AZ 85719                                    P‐0004199 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALL, SHANE M.
2640 POINCIANA DR
NAPLES, FL 34105                                    P‐0004200 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARGENT, PAUL R.
65 MAPLE STREET
APARTMENT E
ESSEX JUNCTION, VT 05452                            P‐0004201 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PROCTOR, CATISA
540 ROCKINGHAM DR #137‐1
RICHARDSON, TX 75080                                P‐0004202 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAN, HAI T.
3410 MARION CIRCLE
MISSOURI CITY, TX 77459                             P‐0004203 10/25/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
PHELPS, JOHN R.
PHELPS, ANNETTE M.
4298 PINCKARD PIKE
VERSAILLES, KY 40383                                P‐0004204 10/25/2017    TK Holdings Inc., et al .                     $735.00                                                                                       $735.00
MILES, HYLEJHNEA K.
6301 STONEWOOD DR
#1122
PLANO, RX 75024                                     P‐0004205 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BECK, AMBER L.
1441 AMHURST RD
TOPEKA, KS 66604                                    P‐0004206 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEBOUT, LSIA
3185 SE CARRICK GREEN COURT
PORT ST LUCIE, FL 34952                             P‐0004207 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, GARY C.
170 WASHINGTON CIRCLE
HURRICANE, WV 25526                                 P‐0004208 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUHN, JAMES G.
KUHN, JEAN M.
6038 FERNDOWN CT
MORROW, OH 45152                                    P‐0004209 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAUNDERS, JOAN B.
12688 N 99TH PLACE
SCOTTSDALE, AZ 85260                                P‐0004210 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAN, HAI T.
3410 MARION CIRCLE
MISSOURI CITY, TX 77459                             P‐0004211 10/25/2017    TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
ROSNER, BERNARDO
3609 SWIFTWATER COURT
SNELLVILLE, GA 30039                                P‐0004212 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEBOUT, LISA
3185 SE CARRICK GREEN COURT
PORT ST LUCIE, FL 34952                             P‐0004213 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LATHAM, PAMELA L.
LATHAM, RONALD G.
1025 N. PORTCHESTER AVE.
MERIDIAN, ID 83642                                  P‐0004214 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GANT, AMY C.
5653 OAKMAN PARRISH ROAD
OAKMAN, AL 35579                                    P‐0004215 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAN, HAI T.
3410 MARIONC CIRCLE
MISSOURI CITY, TX 77459                             P‐0004216 10/25/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
JORGENSON, PETER N.
12688 N 99TH PLACE
SCOTTSDALE, AZ 85260                                P‐0004217 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUCK, BRIAN R.
1709 WARRENVILLE ST.
LAS VEGAS, NV 89117                                 P‐0004218 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIEGEL, JEREMY
4284 KNOX CT
DENVER, CO 80211                                    P‐0004219 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTER, ROBERT C.
11314 COLOMA LANE
HOUSTON, TX 77024                                   P‐0004220 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMMONS, TRACEY K.
107 W. BALDWIN ST.
HACKETTSTOWN, NJ 07840‐1201                         P‐0004221 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHUPE, MARTIN F.
8111 N 68TH EAST PL
OWASSO, OK 74055                                    P‐0004222 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREITIGAM, WALTER V.
228 ASHLAND OAKS DRIVE
CATAWBA, SC 29704                                   P‐0004223 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
OLIVA, DONNA R.
94 WARD AVE
STATEN ISLAND, NY 10304                             P‐0004224 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHELPS, ANNETTE M.
4298 PINCKARD PIKE
VERSAILLES, KY 40383                                P‐0004225 10/25/2017    TK Holdings Inc., et al .                     $640.50                                                                                       $640.50
BOUE, ADELQUI J.
BOUE, SUZANNE M.
3734 DRAKE ST.
HOUSTON, TX 77005                                   P‐0004226 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, JORDAN B.
LAURA
86 MAIN STREET
POB 1086
SHEFFIELD, MA 01257                                 P‐0004227 10/25/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
JENKINS, ANDREA
2119 NW 59TH STREET
MIAMI, FL 33142                                     P‐0004228 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERFORMANCE SEALING & STRIPIN
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                         P‐0004229 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, SUSAN K.
990 VERNON ROAD
BEXLEY, OH 43209                                    P‐0004230 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, TAMMY C.
5396 VININGS LAKE VIEW SW
MABLETON, GA 30126                                  P‐0004231 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GASKILL, SUSAN M.
1425 BRIARMEADOW DRIVE
COLUMBUS, OH 43235                                  P‐0004232 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRISON, DAWN
125 SPERRY ROAD
BETHANY, CT 06524                                   P‐0004233 10/25/2017    TK Holdings Inc., et al .                       $75.00                                                                                       $75.00
GATES, MIIRA
TOYOTA FINANCIAL SERVICES
11 PICARD CIR
EASTHAMPTON, MA 01027                               P‐0004234 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORDO, CHRISTINE A.
24 ORCHARD DRIVE
HUDSON, MA 01749                                    P‐0004235 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAYDEN, ERNEST
GRAYDEN, VIVIAN
107 WOODGREEN, DR.
MAULDIN, SC 29662                                   P‐0004236 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOLEY, RONALD J.
3306 WESTSIDE COUNTRY DR
FORT OGLETHORPE, GA 30742                           P‐0004237 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, PETER V.
990 VERNON ROAD
COLUMBUS, OH 43209                                  P‐0004238 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAMER, KELLY
64 CARINA LANE
LUGOFF, SC 29078                                    P‐0004239 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYD, ROGER P.
3601 COTTONWOOD SPRINGS DR
THE COLONY, TX 75056                                P‐0004240 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WASHINGTON, MARIANNE C.
520 E WESTCHESTER DR
TEMPE, AZ 85283                                     P‐0004241 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELBAUGH, KONAN
1906 EAST HUNTINGTON DRIVE
TEMPE, AZ 85282                                     P‐0004242 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVAN, RICHARD
125 SAXTON LN
MCDONOUGH, GA 30253                                 P‐0004243 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERFORMANCE SEALING & STRIPIN
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                         P‐0004244 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, STEVEN D.
ENTRICAN‐ALLEN, DORIS E.
703 DILL STREET
PARIS, IL 61944                                     P‐0004245 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAMER, SHAWNA
64 CARINA LANE
LUGOFF, SC 29078                                    P‐0004246 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWARZLOW, ROBERT M.
SCHWARZLOW, CAROL A.
102 SOUTHLAKE DR
PALM COAST, FL 32137                                P‐0004247 10/25/2017    TK Holdings Inc., et al .                     $100.00                                                                                       $100.00
CLARK, JAMIE M.
16300 W. VIA MONICA
MARANA, AZ 85653                                    P‐0004248 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, RODRICK A.
1100 VILLAGE TRAII
CALERA, AL 35040                                    P‐0004249 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, ANDREA R.
451 WOODLEY RD.
SPARTANBURG, SC 29306                               P‐0004250 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARLIN, CLAIRE B.
9337 MOSS CIRCLE DRIVE
DALLAS, TX 75243                                    P‐0004251 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVAN, RICHARD C.
125 SAXTON LN
MCDONOUGH, GA 30253                                 P‐0004252 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, KENNETH T.
4125 QUINN DRIVE
EVANS, GA 30809                                     P‐0004253 10/25/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
HARRIS, CHARLES M.
31 OAK STREET
CENTEREACH, NY 11720                                P‐0004254 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICENSO, DOMENIC
109 LAKE DRIVE WEST
WAYNE, NJ 07470                                     P‐0004255 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DODD, DESERAE M.
6302 SADDLEWOOD DRIVW
WAXHAW, NC 28173                                    P‐0004256 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, JOAN E.
538 37TH AVENUE NORTH
ST. PETERSBURG, FL                                  P‐0004257 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANDABLE, CAROL L.
22 WEST MEADOW
ELLISVILLE, MO 63021                                P‐0004258 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
JONES, JEFFREY S.
1668 LAKE RHEA DRIVE
WINDERMERE, FL 34786                                P‐0004259 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHATLEY, VERONICA
402 BIRCH AVENUE
SELMA, AL 36701                                     P‐0004260 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, KENNETH T.
4125 QUINN DRIVE
EVANS, GA 30809                                     P‐0004261 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAHID, F. J.
207 BIG CEDAR RUN
CANTON, GA 30114                                    P‐0004262 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIPPO, LORRAINE A.
221 PECONIC STREET
RONKONKOMA, NY 11779                                P‐0004263 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROSBY, JAMES L.
CROSBY, TAMMY G.
3805 JUPITER HILLS DRIVE
SYRACUSE, UT 84075                                  P‐0004264 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, PATRICIA A.
4753 DUNCANVILLE ROAD #108
DALLAS                                              P‐0004265 10/25/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
ILLIANO, BIAGIO
493 INGRASSIA ROAD
MIDDLETOWN, NY 10940                                P‐0004266 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GHIORSO, PETER M.
GHIORSO, CIRIA C.
170 SUMMIT AVE
SONORA, CA 95370                                    P‐0004267 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEITH, ANDREA N.
BONIFONTE, ANTHONY J.
3267 RACCOON VALLEY RD
GRANVILLE, OH 43023                                 P‐0004268 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOLLEY, JANINE
9290 OLD JACKSON HIGHWAY
VICTOR, ID 83455                                    P‐0004269 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENYON, ROBERT G.
66 ELIZABETH RD
GENEVA, OH 44041‐9144                               P‐0004270 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, PATRICIA A.
4753 DUNCANVILLE ROAD #108
DALLAS                                              P‐0004271 10/25/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
CHEN, YAN SONG
815 NORFOLK DR.
PEARLAND, TX 77584                                  P‐0004272 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ILLIANO, BIAGIO
493 INGRASSIA ROAD
MIDDLETOWN, NY 10940                                P‐0004273 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAHID, FRED J.
207 BIG CEDAR RUN
CANTON, GA 30114                                    P‐0004274 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMINSKY, KAREN J.
610 E GLENCOE PL
BAYSIDE, WI 53217                                   P‐0004275 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PARKER, ERNEST A.
PARKER, CAROL L.
113 CHERRY CT. #1054
WALESKA, GA 30183‐3903                              P‐0004276 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, ANDREW P.
750 EAST CIRCLE ROAD
PHOENIX, AZ 85020                                   P‐0004277 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, JOHNNY
4234 YUPON RIDGE DR.
HOUSTON, TX 77072                                   P‐0004278 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NARANJO, JAIME A.
1887 DULUTH HIGHWAY
APT.1215
LAWRENCEVILLE, GA 30043                             P‐0004279 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SZABLA, LESLIE M.
2210 ROUND ROCK DR
AKRON, OH 44333‐2306                                P‐0004280 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGAN, LEAVELL C.
110 MARY STREET
BRUNSWICK GA 315                                    P‐0004281 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOREE, VIRGINIA A.
182 THOROUGHBRED RD
WOODBINE, GA 31569                                  P‐0004282 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOX, ELIZABETH K.
650 NELSON LAKE RD
CALHOUN, GA 30701                                   P‐0004283 10/25/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
RICCOBONI, KEVIN P.
3530 E DESERT BROOM DR
CHANDLER, AZ 85286                                  P‐0004284 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAY, MIA H.
636 BROKEN ARROW COVE
MCDONOUGH, GA 30252                                 P‐0004285 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORTEZ, SUSAN A.
10221 JAMAICA AVE
APT 2R
RICHMOND HILL, NY 11418                             P‐0004286 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODWARD, JOHN
WOODWARD, JOHN
100 CHESTNUT STREET
CONCORD, MA 01742                                   P‐0004287 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERMANY, OLIVIA B.
9340 FAIRFIELD DR
TWINSBURG, OH 44087                                 P‐0004288 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOVER, CAPRICE B.
29 GRISWOLD DRIVE
RUTLAND, VT 05701                                   P‐0004289 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEDOROWICH, EDWARD
FEDOROWICH, EVELYN B.
P.O. BOX 124
SOMERS, CT 06071                                    P‐0004290 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLAGHER, KATHLEEN A.
2612 W. IVANHOE ST.
CHANDLER, AZ 85224                                  P‐0004291 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOYLE, WILLIAM J.
99 PRATT STREET
SOUTHINGTON, CT 06489                               P‐0004292 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GAINES, DOLORES J.
GAINES, DOLORES J.
DOLORES GAINES
425 HOWARD ST
SHELBYVILLE, IN 46176                                P‐0004293 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOULE, CHRISTINE D.
620 TRABUE AVE
PUNTA GORDA, FL 33950                                P‐0004294 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRIER, PATRICE M.
PERRIER, PATRICE M.
237 TRACE LANE
LAWRENCEVILLE, GA 30046                              P‐0004295 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIN, ALLAN W.
KLEIN, SARAH R.
2070 LUBNA DRIVE
CHRISTIANSBURG, VA 24073                             P‐0004296 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIELDS, WILLIAM
1320 19TH ST SW
BIRMINGHAM, AL 35211                                 P‐0004297 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWNING, RICOU R.
5221 SW 196TH LANE
SOUTHWEST RANCHE                                     P‐0004298 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCIS, EMILY V.
1418 MARBLEHEAD DR.
LEWISVILLE, TX 75067                                 P‐0004299 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOX, ELIZABETH K.
650 NELSON LAKE ROAD
CALHOUN, GA 30701                                    P‐0004300 10/25/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
WOJNAROWICZ, MARK W.
WOJNAROWICZ, COLLEEN M.
196 HIGHCREST ROAD
WETHERSFIELD, CT 06109                               P‐0004301 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUMBARGER, GEORGE B.
551 19TH AVENUE LN NW
HICKORY, NC 28601                                    P‐0004302 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIEDRINGHAUS, JOHN
905 DWYER AVE
KIRKWOOD, MO 63122                                   P‐0004303 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAKEFIELD, SILVIA D.
2212 S AIDA AVE
TUCSON, AZ 85710                                     P‐0004304 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORES, JESSICA M.
11190 COUNTY ROAD 1232
FLINT, TX 75762                                      P‐0004305 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DREHER, JOSEPH M.
292 WEATHERBURN DR.
POWELL, OH 43065                                     P‐0004306 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OKANGBA, NNAMDI
CMR 405 BOX 4285
APO, AE 09034                                        P‐0004307 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRESHLEY, DONALD R.
FRESHLEY, MARY F.
2220 CHATPORT RD.
SAINT LOUIS, MO 63129‐4310                           P‐0004308 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
NIEDRINGHAUS, JOHN
905 DWYER AVE
KIRKWOOD, MO 63122                                  P‐0004309 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, RAYMOND L.
BROWN, MARGARET E.
1710 E GERMANN RD
GILBERT, AZ 85297                                   P‐0004310 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA TORRES, LOYDA E.
3513 TUMBLING RIVER DR.
CLERMONT, FL 34711                                  P‐0004311 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWNING, FRAN
5221 SW 196TH LANE
SOUTHWEST RANCHE, FL 33332                          P‐0004312 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCYOC, JAMIE
212 BARKER ST
WELLINGTON
LORIAN                                              P‐0004313 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENDER, ALAN F.
1880EAST COUNTY RD. 1150 NORT
VILLA GROVE, IL 61956                               P‐0004314 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, MICHAEL N.
GRAHAM, MARGARITA S.
2301 CYPRUS DR.
INGLESIDE, TX 78362                                 P‐0004315 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
METCALFE, THOMAS E.
3800 SW 34TH STREET, APT C22
GAINESVILLE, FL 32608                               P‐0004316 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIORIO, RORY A.
1576 BELLA CRUZ DRIVE
PMB 111
THE VILLAGES, FL 32159                              P‐0004317 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALDEN, WENDELL S.
17 SANDY CROSS LANE
LEXINGTON, GA 30648                                 P‐0004318 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUDOLPH, ERIC A.
5736 BLEVINS CIRCLE
MONTGOMERY, AL 36116                                P‐0004319 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRESHLEY, DONALD R.
2220 CHATPORT RD.
ST LOUIS, MO 63129                                  P‐0004320 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, ROSE M.
171 STEELE PLACE
AMITYVILLE, NY 11701‐2424                           P‐0004321 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHAELIS, DANA
MICHAELIS, MICHAEL
626 WOODS DR
ARGYLE, TX 76226                                    P‐0004322 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEMAN, VANESSA
5983 FAIRING DROP
LITHONIA, GA 30038                                  P‐0004323 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLINI, CLAIRE
655 TINKHAM ROAD
WILBRAHAM, MA 01095                                 P‐0004324 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
BUMBARGER, GAYLA C.
BUMBARGER JR, ROBERT B.
551 19TH AVENUE LN NW
HICKORY, NC 28601                                  P‐0004325 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODMAN, DAMARIE
57 FENWICK ST
SPRINGFIELD, MA 01109                              P‐0004326 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLS, CHAD C.
2280 ESTEY AVE.
NAPLES, FL 34104                                   P‐0004327 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELONG, LESA C.
17547 UNIVERSITY DR
FORNEY, TX 75126                                   P‐0004328 10/25/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
GAMBLE, ALLEN J.
GAMBLE, MERRI J.
2719 BREVARD AVE
MONTGOMERY, AL 36109                               P‐0004329 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASLESA, NICOLE
1662 CARLSON LN SW
MARIETTA, GA 30064                                 P‐0004330 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMPLIN, CINDA V.
1792 E PHILLIPS AVE
LITTLETON, CO 80122                                P‐0004331 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, GLENN A.
CAMPBELL, BEVERLY B.
11002 SEA MIST
MAGNOLIA, TX 77354                                 P‐0004332 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANGELOSI, MICHAEL R.
39 SCOPELITIS CT
HOLBROOK, N 11741                                  P‐0004333 10/25/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
MACAULEY, DONALD E.
MACAULEY, MARGARETTE
3543 BRIDGE WALK DRIVE
LAWRENCEVILLE, GA 30044                            P‐0004334 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUMBARGER III, ROBERT B.
551 19TH AVENUE LN NW
HICKORY, NC 28601                                  P‐0004335 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALLOTTA, FRANK B.
3326 ROUGH CREEK DR
WOODSTOCK, GA 30189                                P‐0004336 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLON, ALFREDO
1490 OUTLOOK AVE 2K
BRONX, NY 10465                                    P‐0004337 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANKIN, LYNDA S.
1018 PEBBLE CREEK DR.
JEFFERSONVILLE, IN 47130                           P‐0004338 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMPLIN, CINDA V.
1792 E PHILLIPS AVE
LITTLETON, CO 80122                                P‐0004339 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHICORIA, MARC A.
10915 AVON BROOK LANE
HOUSTON, TX 77034                                  P‐0004340 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STREET, REBECCA L.
STREET, MICHAEL H.
115 E FOREST DR
WOODSTOCK, GA 30188‐2748                           P‐0004341 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
HANYOK, PHILIP J.
HANYOK, TERRI J.
785 SOUTHBRIDGE BLVD.
SAVANNAH, GA 31405                                 P‐0004342 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERRY, THOMAS P.
BERRY, SANDRA E.
20516 QUEEN BEE LANE
SPICEWOOD, TX 78669                                P‐0004343 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, TERRY L.
LESLIE
2101 BRIARCLIFF DRIVE
MOORE, OK 73170                                    P‐0004344 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, CINDY
2808 TIMBER PARK DR
EVANSVILLE, IN 47715                               P‐0004345 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAW, ROBERT
8 MCLANE DRIVE
DIX HILLS, NY 11746                                P‐0004346 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSSESIGURANI, IVAN
HELMAN, NANCY
37 POND STREET
MILFORD
MILFORD, CT 06460                                  P‐0004347 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELGESON, BRADLEY T.
511 S WALNUT ST
LINCOLN, IL 62656                                  P‐0004348 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIHOK, PETER J.
4401 LEBANON RD
EFLAND, NC 27243                                   P‐0004349 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAW, ROBERT
8 MCLANE DRIVE
DIX HILLS, NY 11746                                P‐0004350 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNEDDON, DORIAN S.
11 QUAIL DR.
KIRKSVILLE, MO 63501                               P‐0004351 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, KIMBERLY S.
1935 EMERSON AVE
CINCINNATI, OH 45239                               P‐0004352 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYLAND, PERRY H.
WISE, SUSAN N.
2163 E 1600 NORTH RD
ASSUMPTION, IL 62510                               P‐0004353 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIGGS, REGINALD M.
3801 GOLD LEAF COURT
STOCKBRIDGE, GA 30281                              P‐0004354 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEWELL, HEATHER M.
1321 PALESTINE DRIVE
PROSPER, TX 75078                                  P‐0004355 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUMBARGER, ROBERT B.
551 19TH AVENUE LN NW
HICKORY, NC 28601                                  P‐0004356 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, CHIQUITA A.
4730 LOST OAK DR
SPRING                                             P‐0004357 10/25/2017    TK Holdings Inc., et al .                   $45,000.00                                                                                   $45,000.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
KERN, RICHARD F.
21728 ARRIBA REAL
34 G
BOCA RATON, FL 33433                                P‐0004358 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUFF, DAMON R.
4724 FLORIST STREET
WICHITA FALLS, TX 76302                             P‐0004359 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAW, ROBERT
8 MCLANE DRIVE
DIX HILLS, NY 11746                                 P‐0004360 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, JAMES M.
BROWN, PATRICIA A.
4233 PLAZA DR
ERI, PA 16506                                       P‐0004361 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONDRUSEK, MARGARET M.
301 GOLDEN ASTER RD
SWANNANOA, NC 28778                                 P‐0004362 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEENEY, THOMAS P.
16225 S 13TH AVENEU
PHOENIX, AZ 85045                                   P‐0004363 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAURION, ANN E.
54 GREEN HOLLOW RD
DANIELSON, CT 06239                                 P‐0004364 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMPLIN, WAYNE A.
1792 E PHILLIPS AVE
CENTENNIAL, CO 80122                                P‐0004365 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANGELOSI, MICHAEL R.
39 SCOPELITIS CT
HOLBROOK, NY 11741                                  P‐0004366 10/25/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
RICHARDS, MARK T.
1500 GREEN GROVE RD.
BRICK, NJ 08724                                     P‐0004367 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARISH, WENDY
425 E 58 STREET
NEW YORK, NY 10022                                  P‐0004368 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDS, APRIL M.
1500 GREEN GROVE RD.
BRICK, NJ 08724                                     P‐0004369 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHECKWITZ, JEFF
28 STERLING HILL RD
LYME, CT 06371                                      P‐0004370 10/25/2017    TK Holdings Inc., et al .                    $3,200.00                                                                                    $3,200.00
BARBIC, AMY
5686 S. INGALLS ST.
LITTLETON, CO 80123                                 P‐0004371 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, GARY C.
170 WASHINGTON CIRCLE
HURRICANE, WV 25526                                 P‐0004372 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVANZO SR, THOMAS A.
VICIOUS CYCLE WORKS LLC.
1684 PULASKIM MERCER RD
MERCER, PA 16137                                    P‐0004373 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERFORMANCE SEALING & STRIPIN
115 ATLAS BROWN DRIVE
JACKSONVILLE, NC 28540‐3052                         P‐0004374 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
ONDERS, EDWARD A.
EDWARD ONDERS
146 WATERSIDE ROAD
NORTHPORT, NY 11768                                 P‐0004375 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERS, RAY A.
8442 N RIVER DUNE STREET
TAMPA, FL 33617                                     P‐0004376 10/25/2017    TK Holdings Inc., et al .                   $10,623.00                                                                                   $10,623.00
JULIAN, VALARIE D.
506 ENCHANTED SPRINGS DR
ROSENBERG, TX 77471                                 P‐0004377 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, GARY C.
170 WASHINGTON CIRCLE
HURRICANE, WV 25526                                 P‐0004378 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, JAMES
5012 KOKOPELLI DR. NE
RIO RANCHO, NM 87144                                P‐0004379 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSSESIGURANI, IVAN
HELMEN, NANCY
37 POND STREET
MILFORD CT 06460                                    P‐0004380 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITNEY, AUTUMN L.
LABBE, TODD A.
670 EXETER ROAD
LEBANON, CT 06249                                   P‐0004381 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNER, MICHAEL A.
414 GRAYSTONE DR
WINDER, GA 30680                                    P‐0004382 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, DAVID W.
MURPHY, MARY A.
483 HOBSON DR
JASPER, GA 30143                                    P‐0004383 10/25/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MARTIN, KENNETH J.
1507 VIRGINIA AVE
LYNN HAVEN, FL 32444                                P‐0004384 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HITZEMAN, KENNETH P.
5365 BRITTON DR
VILLA RICA, GA 30180                                P‐0004385 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JANKINS, DAVID M.
101 CAROLS CIRCLE
MOYOCK, NC 27958                                    P‐0004386 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHBURN, MARIE
30 SILLIMAN RD
WALLINGFORD, CT 06492                               P‐0004387 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNOTEN, THOMAS P.
6363 PERSHING AVENUE
UNIVERSITY CITY, MO 63130                           P‐0004388 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEZDEZOWSKI, DOV B.
82 PORTLAND PLACE
STATEN ISLAND, NY 10301                             P‐0004389 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHREIBER, JOHN M.
404 E. CARLISLE AVENUE
MILWAUKEE, WI 53217                                 P‐0004390 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUGATE, BRANDON M.
FUGATE, MICHAEL A.
1064 COUNTY ROAD 2240
MOBERLY, MO 65270                                   P‐0004391 10/25/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WIZOREK, JOSEPH D.
276 CORLEY HGHTS RICHARDSON R
BARNWELL, SC 29812                                  P‐0004392 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YERGER, DONALD R.
2324 CAPES COVE DR
SHERRILLS FORD, NC 28673                            P‐0004393 10/25/2017    TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
CRONISTER, SUSAN K.
CRONISTER, HENRY D.
2904 RAINIER DRIVE
SPRINGFIELD, IL 62704‐6506                          P‐0004394 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLAMIK, WAYNE S.
KLAMIK, THERESE A.
3320 E. WOODVIEW AVE
OAK CREEK, WI 53154                                 P‐0004395 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, STEPHEN M.
9010 OLD TERRY FORD RD
GAINESVILLE, GA                                     P‐0004396 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELAURENTIS, JAMIE A.
2636 AMHERST AVENUE
BUTTE, MT                                           P‐0004397 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCLURE, CHRISTINE L.
415 MILLSTONE AVENUE
APT. 11
MANCHESTER, NH 03102                                P‐0004398 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUGATE, MICHAEL A.
1064 COUNTY ROAD 2240
MOBERLY, MO 65270                                   P‐0004399 10/25/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
PETTY, SUSAN
1115 ROBERT HENDRIX ROAD
LEXINGTON, SC 29073                                 P‐0004400 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KASARJIAN JR, LEVON
THE KASARJIAN FAMILY TRUST
6109 E BAR Z LANE
PARADISE VALLEY, AZ 85253‐1719                      P‐0004401 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VISLOCKY, ARLENE
17675 BONIELLO DRIVE
BOCA RATON, FL 33496‐1501                           P‐0004402 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POUCH, DEBRA
13718 14 AVENUE
COLLEGE POINT, NY 11356                             P‐0004403 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEMAN, LEATHE L.
2217 W RED BIRD LN
DALLAS, TX 75232                                    P‐0004404 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRANE, STEWART M.
575 PICKLE ROAD
LOUDON, TN 37774                                    P‐0004405 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLUESTEIN, EDWIN A.
603 BAYRIDGE RD
LA PORTE, TX 77571                                  P‐0004406 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLAMIK, WAYNE S.
KLAMIK, THERESE A.
3320 E. WOODVIEW AVE
OAK CREEK, WI 53154                                 P‐0004407 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YERGER, DONALD R.
2324 CAPES COVE DRIVE
SHERRILLS FORD, NC 28673                            P‐0004408 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HEPNER, RONALD M.
14125 NEWELL DR.
BROOKFIELD, WI 53005                                P‐0004409 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIENKIEWICZ, THOMAS J.
105 E 16TH ST
APT 2C
BROOKLYN, NY 11226                                  P‐0004410 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATTS, PASHION L.
94 NEWHALL ST
NEW HAVEN, CT 06511‐1908                            P‐0004411 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAMPALONE, ANTHONY
NO ADDRESS PROVIDED
                                                    P‐0004412 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWLEY, KIMBERLY A.
925 CENTER CHURCH RD
NEW CASTLE, PA 16101                                P‐0004413 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAMMS, ROSS J.
TAMMS, JOYCE R.
10540 WEST BRADLEY ROAD
MILWAUKEE, WI 53224                                 P‐0004414 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECKER, GEORGE A.
DECKER, MARGARET L.
                                                    P‐0004415 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFIN, RENNY A.
5113 LINDSAY ST.
HOUSTON, TX 77023                                   P‐0004416 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARMICHAEL, RAMCEE I.
289 WEST IVY STREET
NEW HAVEN, CT 06511                                 P‐0004417 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEPNER, RONALD M.
14125 NEWELL DR,
BROOKFIELD, WI 53005                                P‐0004418 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUES, ARTUR J.
31 MULOCK PLACE
EAST NEWARK, NJ 07029                               P‐0004419 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JANKINS, DAVID M.
101 CAROLS CIRCLE
MOYOCK, NC 27958                                    P‐0004420 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANGER, ELIZABETH A.
6628 QUINCY DRIVE
FLOWERY BRANCH, GA 30542                            P‐0004421 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, BARBARA C.
12 SATELLITE LN
LEVITTOWN, NY 11756‐4230                            P‐0004422 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERT, CURTIS J.
ROBERT, CURTIS J.
174‐17 127 AVE
JAMAICA, NY 11434                                   P‐0004423 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOFFITT, JENNIFER G.
581 CR 214
HALLETTSVILLE, TX 77964                             P‐0004424 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEFFRY, RAYMOND A.
1229 WARSON PINES
OLIVETTE, MO 63132                                  P‐0004425 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
ARMSTRONG, EARTHLYN
6914 FARRINGTON FARMS DRIVE
WILMINGTON, NC 28411                                P‐0004426 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARROLL, CHARLES O.
CARROLL, BARBARA J.
2608 BONNIE OAKS DR. SW
HUNTSVILLE, AL 35803                                P‐0004427 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASS, CATHERINE A.
TAYLOR A HE
4083 BURTON DR
STOW, OH 44224                                      P‐0004428 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, SEAN D.
6632 SUMMERCOVE DR
RIVERVIEW, FL 33578                                 P‐0004429 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHAUD, EVELYN R.
4016 ABERDEEN DRIVE
CHAMPAIGN, IL 61822                                 P‐0004430 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LODUCA, BRITTANY
LODUCA, ADAM
1624 KINGSFORD DR
FLORISSANT, MO 63031                                P‐0004431 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOMOH, AMELIA
35 HOLLAND AVE 12L
STATEN ISLAND, NY 10303                             P‐0004432 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHONEY, JAMES N.
MAHONEY, TINA M.
ALLY
1547 CLIFFY DR
MADISON, IN 47250                                   P‐0004433 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARROLL, PHILIP W.
70 COUNTRY ROADS CIRCLE
STOCKBRDGE, GA 30281                                P‐0004434 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUBBERT, JEFFREY
NO ADDRESS PROVIDED
                                                    P‐0004435 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIXBY, KELLY L.
13350 MCGREGOR BLVD
FT MYERS, FL                                        P‐0004436 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIRAND, IRENE
P.O. BOX 880584
PORT ST LUCIE, FL 34988                             P‐0004437 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUKASIK, DALE L.
7748 E ALYSSUM LANE
MESA, AZ 85208                                      P‐0004438 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, SANGIE G.
1152 EDWARDS KEYS RD
ROARING RIVER, NC 28669                             P‐0004439 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINON, ARMANDO
4801 SOUTH MAIN#41
MESILLA PARK, NM 88047                              P‐0004440 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMONE, GARY F.
23123 OSPREY RIDGE
SAN ANTONIO, TEXAS 78260
                                                    P‐0004441 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
RHOADES, EVELYN M.
RHOADES, PAUL A.
781 WHITE RD
SUGAR GROVE, PA 16350‐6017                          P‐0004442 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DISMUKES, HAILEY
555 3RD AVE
CHICKASAW, AL 36521                                 P‐0004443 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANTER, SCOTT D.
6659 NW 128 WAY
PARKLAND, FL 33076                                  P‐0004444 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANAHUATI, MICHAEL J.
4918 CHESTNUT ST
BELLAIRE, TX 77401                                  P‐0004445 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANE, CHRISTOPHER
491 ALLANA CT.
STONE MTN
USA, GA 30087                                       P‐0004446 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, TODD H.
JOHNSON, WANDA L.
LOTTSVILLE MILLING INC
17235 ROUTE 957
BEAR LAKE, PA 16402                                 P‐0004447 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOYLE, THERESA L.
99 PRATT STREET
SOUTHINGTON, CT 06489                               P‐0004448 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZEIDAN, STEVE
16094 BARBOUR COUNTY HWY
APT 2
PHILIPPI, WV 26416                                  P‐0004449 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDANIEL, STEPHEN R.
2017 WHITE CEDAR LANE
WAXHAW, NC 28173                                    P‐0004450 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUESS, ANDREA
MARRARO, JOSEPHINE
5188 SW 87TH AVE
COOPER CITY, FL 33328                               P‐0004451 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOX, JOEL C.
650 NELSON LAKE RD SW
CALHOUN, GA 30701                                   P‐0004452 10/25/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
CAYTON, LYN
10361 E JEROME AVE
MESA, AZ 85209                                      P‐0004453 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, DAWN H.
1301 OAKVIEW ROAD APT L1
DECATUR, GA 30030                                   P‐0004454 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELIGMAN, STEPHANIE L.
4335 BEETHOVEN AVE
ST. LOUIS, MO 63116                                 P‐0004455 10/25/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
DAVILA, CYNTHIA
701 COUNTY ROAD 126
GEORGETOWN, TX 78626                                P‐0004456 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBISON, LOUIS
3935 TRENTWOOD PL
SARASOTA, FL 34243                                  P‐0004457 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PATRICK, HAROLD
HAROLD PATRICK
1610 E. 1050 N.
HEBER, UT 84032                                     P‐0004458 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVILA, CYNTHIA
701 COUNTY ROAD 126
GEORGETOWN, TX 78626                                P‐0004459 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOSA, MARIA D.
1956 BROAD STREET 2ND FLOOR
HARTFORD, CT 06114                                  P‐0004460 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KULESZA, JAMES J.
15 FARMER RD
WINDHAM, NH 03087                                   P‐0004461 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LORENC, RICHARD
626 HARDENDORF AVE. NE
ATLANTA, GA 30307                                   P‐0004462 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHRYVERS, ALEXANDRIA C.
11724 CENTRAL PLANK RD
ECLECTIC, AL 36024                                  P‐0004463 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSTECKI, ERIC
3202 OPEN MEADOW LOOP
OVIEDO, FL 32766                                    P‐0004464 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAVESH, SHIRLEY
SHIRLEY KAVESH
16 N. POND RD.
WHIPPANY, NJ 07981                                  P‐0004465 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCINERNEY, MICHAEL J.
148 UPSWEPT LANE
SOUTH BURLINGTON, VT 05403                          P‐0004466 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSTECKI, KERRI
3202 OPEN MEADOW LOOP
OVIEDO, FL 32766                                    P‐0004467 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARY, GLORIA T.
3788 SALEM MILL TERR
LITHONIA, GA 30038                                  P‐0004468 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOILES, CHRISTINA D.
30795 PINYON DRIVE
SPANISH FORT, AL 36527                              P‐0004469 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACKWELL, ALLEN
3420 SWEET BASIL LN
LOGANVILLE, GA 30052                                P‐0004470 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DODDS, MATTHEW
1001 LEE RD 212
PHENIX CITY, AL 36870                               P‐0004471 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASAD, JANICE
4880 ROLLINGVIEW DR
SEVEN HILLS, OH 44131                               P‐0004472 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOMUVES, KERRI
179 MT SALEM RD
WANTAGE, NJ 07461                                   P‐0004473 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KURTZ, BERNARD L.
6644 VIA RIENZO
LAKE WORTH, FL 33467                                P‐0004474 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGEE, LAVON J.
320 BEATY RD. APT.#45
BELMONT, NC 28012                                   P‐0004475 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
HALBERT, VIRGINIA E.
514 JIMBAY DRIVE
ORANGE PARK, FL 32073                              P‐0004476 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGDA, WOJCIECH
613 GRANDVIEW AVE #1D
RIDGEWOOD, NY 11385                                P‐0004477 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORIZU, VINCENT I.
3113 CLARIDGE DRIVE
CONYERS, GA 30094                                  P‐0004478 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHENSEN II, MARK L.
4405 S. EPSILON AVE.
BOISE, ID 83716                                    P‐0004479 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, TERRY R.
445 CHANDLER COURT
SUGAR HILL, GA 30518                               P‐0004480 10/25/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
PESEK, KATY L.
1235 WILDEWOOD COURT
SUGAR LAND, TX 77479                               P‐0004481 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUIEL, BRENDA T.
TK HOLDINGS
2606 CRESTLANE DRIVE SE
SMYRNA, GS 30080                                   P‐0004482 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMOUR, BERNARD J.
11517 MID SURREY COURT
DALLAS, TX 75229                                   P‐0004483 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRENA‐HEWITT, LUCILLE
755 SOUTH CASSINGHAM RD
BEXLEY, OH 43209                                   P‐0004484 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, REBECCA A.
581 BRADFORD ROAD
JASPER, AL 35503                                   P‐0004485 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLON, RANDY E.
WINSLOW, PAULA C.
217 SHEFFIELD PL.
SAN ANTONIO, TX 78213                              P‐0004486 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENECKE, JEFFREY J.
146 N KINGS AVENUE
MASSAPEQUA, NY 11758                               P‐0004487 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORIZU, DOROTHY N.
3113 CLARIDGE DRIVE
CONYERS, GA 30094                                  P‐0004488 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUMAN, PHILLIP F.
601 PARK HILLS DR
EFFINGHAM, IL 62401                                P‐0004489 10/25/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
CAMERON, ALAN D.
CAMERON, JANET L.
6905 RANDOLPH DRIVE
BOISE, ID 83709                                    P‐0004490 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTHIAS, GLORIA J.
MATTHIAS, RUSSELL W.
11002 FOREST SHOWER
LIVE OAK, TX 78233                                 P‐0004491 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOSWELL, LINDA B.
BOSWELL, JAMES D.
173 PARKWAY DRIVE
LITTLETON, NC 27850                                P‐0004492 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
KNIGHT, EDWARD S.
114 WESTHAVEN DRIVE
PADUCAH, KY 42001                                   P‐0004493 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRONISTER, SUSAN K.
CRONISTER, HENRY D.
2904 RAINIER DRIVE
SPRINGFIELD, IL 62704‐6506                          P‐0004494 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIETZEL, BRADLEE J.
401 DALE DRIVE
BURLINGTON, WI 53105                                P‐0004495 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, DANA T.
3372 ORINOCO LANE
MARGATE, FL                                         P‐0004496 10/25/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
SUTHERLAND SMITH, PAULETTE Y.
1813 ALCOVY RIDGE LANE
LOGANVILLE, GA 30052                                P‐0004497 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOBLEY, MARTHA L.
MOBLEY, RUSSELL G.
35 HARKER HILL DRIVE
HAMBURG, NJ 07419‐1219                              P‐0004498 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITTAKER, SHERRI L.
RUSSELL, CONNIE S.
4446 CHESTNUT GROVE RD
TELL CITY, IN 47586                                 P‐0004499 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREES, RAYMOND C.
766 ROCKY BRANCH LANE
EVANS, GA 30809                                     P‐0004500 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, SHANNA L.
7543 MENGI CIRCLE
NEW PORT RICHEY, FL 34653                           P‐0004501 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIDS, WILLIAM
48 SEBA AVE
BROOKLYN, NY 11229                                  P‐0004502 10/25/2017    TK Holdings Inc., et al .                    $2,100.00                                                                                    $2,100.00
VOLDMAN, NIKOLAY
2047 HOLLAND AVE., APT.3C
BRONX, NY 10462                                     P‐0004503 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIEUWEN, DANIEL F.
91 MAPLE ST. APT 2
JERSEY CITY, NJ 07304‐4040                          P‐0004504 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SULLIVAN, PETER J.
20692 WESTMINSTER DRIVE
STRONGSVILLE, OH 44149                              P‐0004505 10/25/2017    TK Holdings Inc., et al .                    $1,150.00                                                                                    $1,150.00
FLESHOOD, ERIC S.
FLESHOOD, COLLEEN M.
9558 PICCADILLY SKY WAY
ORLANDO, FL 32827                                   P‐0004506 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SATINOFF, MARK H.
34‐29 80 STREET APT. 31
JACKSON HEIGHTS, NY 11372                           P‐0004507 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREES, RAYMOND C.
766 ROCKY BRANCH LANE
EVANS, GA 30809                                     P‐0004508 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BINGHAM, SHELRONDA K.
1114 HAVEL DR SW
MARIETTA, GA 30008                                  P‐0004509 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MOORE, BARBARA B.
NO ADDRESS PROVIDED
                                                      P‐0004510 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOVER, TIM M.
617 GUDGER RD
MADISONVILLE, TN 37354                                P‐0004511 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEZDEZOWSKI, DOV B.
82 POERLAND PLACE
STATEN ISLAND, NY 10301                               P‐0004512 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, EMMA B.
6735 MANOR DRIVE
N RICHLAND HILLS, TX 76180                            P‐0004513 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEGRETE, JOSEPHINA
911 MACCLESBY LANE
CHANNELVIEW, TX 77530                                 P‐0004514 10/25/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
SKOTT, CORINNE S.
6336 STATION MILL DRIVE
NORCROSS, GA 30092                                    P‐0004515 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIYA, SANDRA P.
87 NORTHFIELD RD
WALLNGFORD                                            P‐0004516 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, THOMAS A.
9207 WENTWORTH LN
PORT SAINT LUCIE, FL 34986‐3287                       P‐0004517 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REARDON, TIMOTHY J.
965 SUMMER PLACE DRIVE
UNIT 4C
CAMDENTON, MO 65020                                   P‐0004518 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PADILLA, MONIQUE P.
5810 ANDOVER
AMARILLO, TX 79109                                    P‐0004519 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESTES, CARL
5010 LONGMONT DR.
HOUSTON, TX 77056‐2416                                P‐0004520 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMBERS, RANDALL L.
301 PALM BLVD.N.
NICEVILLE, FL 32578                                   P‐0004521 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STUMPE, MICHELE
STUMPE & ASSOCIATES
1600 PARKWOOD CIRCLE
SUITE 200
ATLANTA, GA 30339                                     P‐0004522 10/25/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
WICKLUND, BRIAN L.
5200 GREYSTONE SUMMIT DR.
APT. 701
COLUMBUS, GA 31909                                    P‐0004523 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, DANIEL R.
64 ROYALRANGE ROAD
SANDOWN, NH 03873                                     P‐0004524 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURRY, ENDRA C.
4111 BEECLIFF DRIVE
COLUMBIA, SC 29205                                    P‐0004525 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROADSTREET, DONNA N.
7506 SUNLIGHT LN.
HOUSTON, TX                                           P‐0004526 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ZIEGLER, MICHAEL D.
165 W ROBERTS RED
INDIANAPOLIS, IN 46217                               P‐0004527 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIME, ANTHONY
14630 TREBORWAY
TREBORWAY
HOUSTON, TX 77014                                    P‐0004528 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUILOT, PAUL S.
635 VAUGHN ROAD
NEWNAN, GA 30265                                     P‐0004529 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DARBY, LISA A.
1531 W KENT DR
CHANDLER, AZ 85224                                   P‐0004530 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, TRACY D.
MILLER, EDIE M.
340 SPRING VALLEY LN
INMAN, SC 29349‐9738                                 P‐0004531 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBISON, LOUIS
ROBISON, MAUREIK
3935 TRENTWOOD PL
SARASOTA, FL 34243                                   P‐0004532 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOYLE, THERESA L.
99 PRATT STREET
SOUTHINGTON                                          P‐0004533 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGESCH, NICHOLAS A.
1779 SPRING BRANCH CT.
CHESTERFIELD, MO 63017                               P‐0004534 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENNY, JODY
35 SUMMERFIELD CT
#223
HILTON HEAD, SC 29926                                P‐0004535 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, SABRINA E.
115 NW 128TH AVE.
MIAMI, FL 33182                                      P‐0004536 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PFEFFER, JEROME W.
28 BATTLE FLAGG RD
BEDFORD, MA 01730                                    P‐0004537 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRISON, HEATHER M.
1227 HARBOUR TOWN DR
ORANGE PARK, FL 32065                                P‐0004538 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, ALFONSO
P.O. BOX 3662
SPRINGFIELD, MA 01101‐3662                           P‐0004539 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAGNON, RICHARD B.
127 LEALAND AVE
AGAWAM, MA 01001                                     P‐0004540 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIME, ANTHONY
14630 TREBORWAY
HOUSTON, TX 77014                                    P‐0004541 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUPPY, LAWRENCE C.
2207 CLAYMILL LN
MOUNT PLEASANT, SC 29466                             P‐0004542 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAGNON, RICHARD B.
127 LEALAND AVE
AGAWAM, MA 01001                                     P‐0004543 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BERCASIO, LOT S.
4111 BRIARCLIFF GABLES CIRCLE
ATLANTA, GA 3‐329                                    P‐0004544 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DANIEL J.
WILLIAMS, DEBRA J.
48 31ST STREET
SHAPLEIGH, ME 04076                                  P‐0004545 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAGNON, RICHARD B.
127 LEALAND AVE
AGAWAM, MA 01001                                     P‐0004546 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARPENTER, AMANDA
DUNCAN, NELSON
93 CARNEY RD
BETHEL, VT 05032                                     P‐0004547 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAUTHEN, LUCY A.
823 EMBER DRIVE
DURHAM, NS 27703                                     P‐0004548 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIHOK, CHRIS
MIHOK, CHARLOTTE
28 SUNSET HILL DR
BRANFOTRD, CT 06405                                  P‐0004549 10/25/2017    TK Holdings Inc., et al .                     $275.65                                                                                       $275.65
WADE, MARTYN T.
800 NORTH SYCAMORE ST
ELIZABETHTON, TN 37643                               P‐0004550 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, MARGARET E.
10 VILLAGE DR
ASHEVILLE, NC 28803                                  P‐0004551 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINMAN, ROGER D.
168 MANNING MILL RD NW
ADAIRSVILLE, GA 30103                                P‐0004552 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, KOREY JAN‐MICHAEL
WARD, KOREY JAN‐MICHAEL
1478 NORTH HWY 52
MONCKS CORNER, SC 29461                              P‐0004553 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PFEFFER, JEROME W.
28 BATTLE FLAGG RD
BEDFORD, MA                                          P‐0004554 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONNOR, ANDREW
417 BEVERLY AVE.
MISSOULA, MT 59801                                   P‐0004555 10/25/2017    TK Holdings Inc., et al .                    $1,075.00                                                                                    $1,075.00
DUPREE JR, UNDREA L.
2366 ROME RD APT 6
CALHOUN, GA 30701                                    P‐0004556 10/25/2017    TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
HOLLOWAY, SR, JAMES P.
380 BASS WAY NW
KENNESAW, GA 30144                                   P‐0004557 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIGGS, DAVID
8912 AMUNDSON DR
N. RICHLAND HILL, TX 76182                           P‐0004558 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUMAN, PETER F.
670 ISLAND WAY
APT 704
CLEARWATER, FL 33767                                 P‐0004559 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON GRIFFITH, SHARLENE C.
245 BORDEN AVE
HAMILTON, NJ 08610                                   P‐0004560 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
LARSON‐CLEVELAND, HEIDI A.
32 ACORN COURT
NEW LONDON, CT 06320                               P‐0004561 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREITMAN, STEVEN E.
2471 HARBOR LN
BELLMORE, NY 11710                                 P‐0004562 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARD, MICHAEL O.
512 MCJUNKIN DRIVE
SENECA, SC 29672                                   P‐0004563 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKITHAN, SUSAN
8718 CRESTMONT DR.
MANVEL, TX 77578                                   P‐0004564 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, DENNIS R.
2514 MAYWOOD LANE
MCKINNEY, TX 75070                                 P‐0004565 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHETSTONE, JASON E.
510 FOX RUN CR
PELL CITY                                          P‐0004566 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORAITIS, THEOLOGOS A.
MORAITIS, SUELLEN
501 20TH STREET
NICEVILLE, FL 32578                                P‐0004567 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AILION, ADAM J.
451 WALLIS FARM WAY
MARIETTA, GA 30064                                 P‐0004568 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORAKUNWETCHANA, JAKARAT
803 CAMBRIDGE WAY
MCDONOUGH, GA 30253                                P‐0004569 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, AMOS E.
3243 DRAGONWICK DR
HOUSTON
HOUSTON, TX 77045                                  P‐0004570 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, TERRI Y.
P.O. BOX 3235
ONTARIO, CA 91761                                  P‐0004571 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, DAN R.
ANDERSON, JANE F.
114 E LA VIEVE LN
TEMPE, AZ 85284‐3157                               P‐0004572 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERICKSON, EBBY D.
309 W MAIN ST.
CLAYTON, IL 62324                                  P‐0004573 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYANT, MONITA L.
602 WILLOW OAK DR
LUFKIN, TX 75901                                   P‐0004574 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, JOANNE C.
11 FAIRVIEW AVE
NATICK, MA 01760                                   P‐0004575 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIKOL‐STAS, REGAN L.
STAS, JONATHAN
263 DANTE AVE
TUCKAHOE, NY 10707                                 P‐0004576 10/25/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
WISELY, DAVID
3725 SUMMIT DR. NW
ACWORTH GA.30101                                   P‐0004577 10/25/2017    TK Holdings Inc., et al .                    $2,300.00                                                                                    $2,300.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WILSON, DAVID L.
13406 LAKESIDE TERRACE DR.
HOUSTON, TX 77044                                    P‐0004578 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIELS, TIQULA N.
5321 NW 25 ST
LAUDERHILL, FL 33313                                 P‐0004579 10/25/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
CHAMBERS, RICHARD J.
75 HAVASU RD
ORONO, ME 04473‐3211                                 P‐0004580 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLET, PRISCILLA F.
257 VALLEY RD
VALLEY COTTAGE, NY 10989                             P‐0004581 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VELEZ, GILBERT
13428 FALCON POINTE DR
ORLANDO, FL 32837                                    P‐0004582 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORWOOD, DARDI T.
237 WHITNEY LANE
MCDONOUGH, GA 30253                                  P‐0004583 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUMMER, NICOLE J.
2944 COUNTY RD 1100 N
EL PASO, IL 61738                                    P‐0004584 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEYEA, CAROL A.
4163 HUNTERS SUN DR
SAN ANTONIO, TX 78244                                P‐0004585 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARBURY, ASHLEY N.
1101 BATTLECREEK VILLAGE DR
JONESBORO, GA 30236                                  P‐0004586 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROMANO, MAURICE D.
1818 MOUNTAIN LAKE DR NW
KENNESAW, GA 30152                                   P‐0004587 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, GOPI
PATEL, JAY
10493 HAZELNUT DR
PLAIN CITY, OH 43064                                 P‐0004588 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIMM, CATHERINE L.
5852 S. MILLER STREET
LITTLETON, CO 80127                                  P‐0004589 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTHEWS, JAMES M.
2647 CASTLTOWN DR.
HEPHZIBAH, GA 30815                                  P‐0004590 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENESCH, SARAH
130 8TH AVENUE
APT 3G
BROOKLYN, NY 11215                                   P‐0004591 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRITSCHLER, JOSEPH T.
54 TRAFFORD ST
MERIDEN, CT 06450                                    P‐0004592 10/25/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BLOODSAW, MARLON B.
BLOODSAW, BRIANNE E.
GLOBAL LENDING SERVICE
858 GROVE CIR. NW
CLEVELAND, TN 37311                                  P‐0004593 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, JAY
PATEL, GOPI
10493 HAZELNUT DR
PLAIN CITY, OH 43064                                 P‐0004594 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MOORE, JEFFREY A.
10620EMMORD LOOP
CORPUS CHRISTI, TX 78410                            P‐0004595 10/25/2017    TK Holdings Inc., et al .                    $8,300.00                                                                                    $8,300.00
WICKE, CHRISTOPHER
3805 CAMBRIDGE CIRCLE EAST
BEDFORD, TX 76021                                   P‐0004596 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORAITIS, SUELLEN
MORAITIS, SUELLEN
501 20TH STREET
NICEVILLE, FL 32578                                 P‐0004597 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUER, STACY
145 N. KEALY AVE.
APT. 3
LEWISVILLE, TX 75057                                P‐0004598 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, APRIL C.
307 PARK CHASE CT.
GRIFFIN, GA 30224                                   P‐0004599 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOROWSKI, COLLEEN
BOROWSKI, COLLEEN
#4053
W HOWARD
GREENFIELD, WISCONSIN 53221                         P‐0004600 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GODAT, REBA L.
675 W CLAY ST
MARSHALL, MO 65340                                  P‐0004601 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUTA, GLORIA M.
755 NE 83RD TER
APT 1
MIAMI, FL 33138                                     P‐0004602 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLYNN, WILLIAM V.
61923 E. NORTHWOOD RD
TUCSON, AZ 85739                                    P‐0004603 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, NATISHA N.
WHITE, NATISHA N.
201 LINDEN BLVD. C‐23
BROOKLYN, NY 11226                                  P‐0004604 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAGA, JR, RICHARD A.
28 MAPLE STREET
HUDSON, MA 01749                                    P‐0004605 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BETHEL, JANICE M.
2241 HILLSIDE ST.
CUYAHOGA FALLS, OH 44221                            P‐0004606 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERS, GEORGE W.
101 RADFORD CIRCLE
DOTHAN, AL 36301                                    P‐0004607 10/25/2017    TK Holdings Inc., et al .                    $4,625.00                                                                                    $4,625.00
CASTANEDA, JUAN C.
14202 PEARL POINTE DRIVE
CALDWELL, ID 83607                                  P‐0004608 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, RODNEY B.
3061 OLD SALISBURY RD
WINSTON SALEM, NC 27127‐7221                        P‐0004609 10/25/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
WILLIAMS, CONSWAYLOW A.
2788 CORDITE LOOP
SNELLVILLE, GA 30039                                P‐0004610 10/25/2017    TK Holdings Inc., et al .                   $19,000.00                                                                                   $19,000.00



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                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MOKISEL, FRANK R.
10740 QUEENS BLVD.
#11B
FOREST HILLS, NY 11375                                P‐0004611 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCIS, ELLIOTT E.
19338 NW 67PL
HIALEAH, FL 33015                                     P‐0004612 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARRERA, FANY R.
3223 KINGSMORE DR
KNOXVILLE, TN 37921                                   P‐0004613 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, MARK D.
THOMAS, SUZANNE S.
1835 N 1900 E
NORTH LOGAN, UT 84341                                 P‐0004614 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCIS, STACY M.
19338 NW 67TH PLACE
HIALEAH, FL 33012                                     P‐0004615 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASKIEWICZ, MARYELLEN
2850 34TH ST N
ST PETERSBURG, FL 33713                               P‐0004616 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, ROSALYNN S.
5111 PRAIRIE RIDGE RD.
HOUSTON, TX 77053                                     P‐0004617 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEJULIA, WAYNE C.
150 LIMECREST ROAD
ANDOVER, NJ 07821                                     P‐0004618 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, CARLA A.
611 COUNTRY CLUB HEIGHTS.
APT.227
QUINCY, IL 62301                                      P‐0004619 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, BESTY
1331 ST. LAWRENCE AVE. 2 FL
BRONX, NY 10472                                       P‐0004620 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FELTON, HENRY
460 LINCOLN AVE
SAYVILLE, NY 11782                                    P‐0004621 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STONE, BARBARA J.
914 STRATTON LANE
WINCHESTER, KY 40391                                  P‐0004622 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBER, BRIAN A.
BARBER, LYNN A.
325 W VINE STREET
MILWAUKEE, WI 53212                                   P‐0004623 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASKIEWICZ, MARYELLEN
2850 34TH ST N
ST PETERSBURG, FL 33713                               P‐0004624 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERS, GEORGE W.
101 RADFORD CIRCLE
DOTHAN, AL                                            P‐0004625 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMPASONA, ANTHONY
54 APPEL DR
SHIRLEY, NY 11967                                     P‐0004626 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
D'AMICO, TAMI D.
D'AMICO, CHRISTOPHER N.
93 OAK GROVE DRIVE
BREWER, ME 00412‐1269                                 P‐0004627 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
LONG, GREGORY L.
LONG, PATSY J.
38624 NASTURTIUM WAY
PALM DESERT, CA 92211                               P‐0004628 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASSIDY, JEAN E.
7 HALEY FARM LANE
GROTON, CT 06340                                    P‐0004629 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAWCZYK, ROBERT K.
KRAWCZYK, MICHELL M.
5394 S. BUTTERFIELD WAY
GREENFIELD, WI 53221                                P‐0004630 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKSHIRE, HELEN
3009 SPANISH MOSS LANE
KISSIMMEE, FL 34746                                 P‐0004631 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANDLEY, HOWARD
HOWARD HANDLEY
5705 CHARLESTON BAY DRIVE
CUMMING, GA 30041                                   P‐0004632 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRARA, NANCY J.
53 GLADIOLUS AVE
FLORAL PARK, NY 11001                               P‐0004633 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIEGLER, MICHAEL D.
165 W ROBERTS RD
INDIANAPOLIS, IN 46217                              P‐0004634 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHOONOVER, JOHN A.
16 ARTHUR JONES AVE
NEW BERLIN, IL 62670                                P‐0004635 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUFFMAN, BILL A.
HUFFMAN, CONNIE L.
BILL HUFFMAN
10 LAKEVIEW DRIVE
NEOGA, IL 62447                                     P‐0004636 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANDE, KALPESH C.
498 LAUREL RUN PLACE
SUGAR HILL, GA 30518                                P‐0004637 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANDER MEULEN, ANDREW C.
38 DEWEY AVENUE
LITTLE FALLS, NJ 07424                              P‐0004638 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGE, GARY
456 COUNTRY CLUB DR
MANCHESTER, TN 37355                                P‐0004639 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECKHARDT, THOMAS
ECKHARDT, MARA
7876 ANDORA DR
SARASOTA, FL 34238                                  P‐0004640 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGE, GARY A.
456 COUNTRY CLUB DR
MANCHESTER, TN 37355                                P‐0004641 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKAY, CHRISTOPHER A.
MCKAY, NANCY D.
600 N 4TH STREET
APT 421
PHOENIX, AZ 85004                                   P‐0004642 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THEARLE, ALBERT D.
1489 W WHEAT ST
KUNA, ID 83634                                      P‐0004643 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TAYLOR, JACLYN A.
TAYLOR, JACLYN A.
66 MERWIN ST.
WHEELING, WV 26003                                    P‐0004644 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
D'AMICO, CHRISTOPHER N.
D'AMICO, TAMI D.
93 OAK GROVE DRIVE
BREWER, ME 04412‐1269                                 P‐0004645 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, BRIAN M.
1555 MONACO PKWY
DENVER, CO 80220                                      P‐0004646 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE TEMPLE, DIANE M.
P.O. BOX 89
SANDIA PARK, NM 87047                                 P‐0004647 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLE, ZENA H.
456 COUNTRY CLUB DR
MANCHESTER, TN 37355                                  P‐0004648 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'NEILL, MICHAEL J.
330 NELSON RD.
MAYVILLE WISCONSIN 53050
                                                      P‐0004649 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAKE, SHAUNA L.
20 ROSE RIDGE COURT
PAWCATUCK, CT 06379                                   P‐0004650 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENKINS, MARCELA M.
MARCELA JENKINS
UNIT 3030 BOX 540
DPO, AA 34004                                         P‐0004651 10/25/2017    TK Holdings Inc., et al .                    $1,700.00                                                                                    $1,700.00
BOWERS, BRETT D.
878 FAIRMOORE COURT
SUWANEE, GS 30024                                     P‐0004652 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, CLARK D.
415 TOLEDO WAY NE
ST PETERSBURG, FL 33704                               P‐0004653 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLIAM, CHANTE N.
720 E. 103RD STREET APT. C
BROOKLYN, NY 11236                                    P‐0004654 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANCHE AUSTIN, TAMARA
5512 E WALTANN LANE
SCOTTSDALE, AZ 85254                                  P‐0004655 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENE, JONATHAN T.
71 REMSEN STREET
BROOKLYN, NY 11201                                    P‐0004656 10/25/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
WU, JASON
2134 EAST 19TH STREET
BROOKLYN, NY 11229                                    P‐0004657 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRENSHAW, VERONICA N.
CRENSHAW, EARL J.
3673 HOWARD DRIVE
COLLEGE PARK, GA 30337                                P‐0004658 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KORITZ, ANNA
535 WILLOW ROAD
HENDERSONVILLE, NC 28739                              P‐0004659 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
MCGREGOR, JOHN A.
MCGREGOR, RENEE N.
6 HIGHLAND ROAD
WINDHAM, NH 03087                                  P‐0004660 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIGLIO, ALISON L.
534 N ORIENTAL ST
INDIANAPOLIS, IN 46202                             P‐0004661 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOINEPALLY, VIJAY K.
535 COACHGATE CT
BALLWIN, MO 63021                                  P‐0004662 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIEGLER, KIMBERLY A.
165 W ROBERTS RD
INDIANAPOLIS, IN 46217                             P‐0004663 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DARBY, LISA A.
1531 W KENT DR
CHANDLER, AZ 85224                                 P‐0004664 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOVESI, FRANK
2230 CRUGER AVENUE #1F
BRONX, NY 10467                                    P‐0004665 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEXANDER BIVINS, CHERYL
P.O. BOX 1872
CORSICANA, TX 75151                                P‐0004666 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUILOT, PAUL S.
635 VAUGHN ROAD
NEWNAN, GA 30265                                   P‐0004667 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOKELBY, MARK R.
386 LAKE LINE DR.
ALVIN, TX 77511                                    P‐0004668 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENE, JOSHUA E.
7926 45TH AVE
KENOSHA, WI 53142                                  P‐0004669 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARIOSCIA, VINCENT
132 BLUEBIRD DR
MONTGOMERY, NY 12549                               P‐0004670 10/25/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
UNNIKRISHNANREMA, GIRIJA
182 W DEWEY AVE
WHARTON, NJ 07885                                  P‐0004671 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORTIZ, ERIC J.
NO ADDRESS PROVIDED
                                                   P‐0004672 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTHEWS, JAMES M.
2647 CASTLETOWN DR.
HEPHZIBAH, GA 308015                               P‐0004673 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEPHARDT, JACLYNN
1375 HAMILTON DRIVE
BROOKFIELD, WI 53045                               P‐0004674 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAUGHERTG, STEVE A.
151 MEADOWLARK LN
MADISONVILLE, KY 42431                             P‐0004675 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, FREDDY L.
450 E COOPER AVE
COOPER, TX 75432                                   P‐0004676 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLINGSWORTH, DONALD K.
5102 JASON STREET
HOUSTON, TX 77096                                  P‐0004677 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
ROBERTS, FREDDY L.
450 E COOPER AVE
COOPER, TX 75432                                    P‐0004678 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANE‐HALL, TRACY A.
8992 GARDENER DRIVE
JONESBORO, GA 30238                                 P‐0004679 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAMEDOV, BAYRAM S.
3812 STONE RIVER CT
LOUISVILLE, KY 40299                                P‐0004680 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, DAVID M.
708 FM 985
ENNIS, TX 75119                                     P‐0004681 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUERRERO, JORGE O.
2902 CALENDAR LAKE DRIVE
MISSOURI CITY, TX 77459                             P‐0004682 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOUX, TANYA
MOUX, WILLIAM
10208 CASA PALARMO DR
APT 3
RIVERVIEW, FL 33578                                 P‐0004683 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KROENLEIN, KATI L.
MILLER, ROBIN J.
16900 GOEKEN RD
GREEN VALLEY, IL 61534                              P‐0004684 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, HOWARD J.
1611 CAMINO DE CRUZ BLANCA
SANTA FE, NM 87505                                  P‐0004685 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YANG, SHENGZU
12390 PASEO NUEVO DR
EL PASO, TX 79928                                   P‐0004686 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, FREDDY L.
450 E. COOPER AVE
COOPER, TX 75432                                    P‐0004687 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALDWELL, TERRI R.
16515 HOLLOW RIDGE RD
HOUSTON, TX 77053                                   P‐0004688 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEEMAN, KATHRINE A.
843 OLD PIN OAK RD
PAIGE, TX 78659                                     P‐0004689 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALDWIN, SARAH E.
1125 WAYSIDE ST
HIGH POINT, NC 27260                                P‐0004690 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLIDAY, DENICIA R.
1911 WESTLEY DR
RIVERDALE, GA 30296                                 P‐0004691 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOOK, RALPH M.
1470 S. QUEBEC WAY STE 184
DENVER, CO 80231‐2661                               P‐0004692 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YANG, SHENGZU
12390 PASEO NUEVO DR
EL PASO, TX 79928                                   P‐0004693 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KITTRELL, CHARLES S.
203 SAN CARLOS DR.
SARALAND, AL 36571                                  P‐0004694 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BRAY, ANEESAH
411 COLLIER RIDGE DRIVE NW
ATLANTA, GA 30318                                   P‐0004695 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLINGSWORTH, FELECIA J.
5102 JASON STREET
HOUSTON, TX 77096                                   P‐0004696 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANE, MCHENRY J.
10 BLUEBERRY LANE
OYSTER BAY, NY 11771                                P‐0004697 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMAN, MARLENA L.
845 WEST MOORE ROAD
ORO VALLEY, AZ 85755                                P‐0004698 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREWAL, HARZINDER S.
80 N FORDHAM RD
HICKSVILLE, NY 11801                                P‐0004699 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIGIOVANNI, ELIZABETH L.
DIGIOVANNI, ELIZABETH
10160 E TAMERY AVE
MESA, AZ 85212                                      P‐0004700 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HICKMAN, CAROL
9703 TALL GRASS CIR
LONE TREE, CO 80124                                 P‐0004701 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MISSBACH, JOSEPH
CAHILL, HEATHER
16 THISTLE COVE
HARPSWELL, ME 04079‐3855                            P‐0004702 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISS, ANTHONY
3104 W DUNWOODIE STREET
TAMPA, FL 33629                                     P‐0004703 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAH, YOUNUS
SHAH, SUMERA
1118 KIEFER RIDGE CT
BALLWIN, MO 63021                                   P‐0004704 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTHY, NANCY K.
3 SNOW ROAD
MARSHFIELD, MA 02050                                P‐0004705 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOYTAS, MARK A.
5305 AMBS CT.
SAINT LOUIS, MO 63128                               P‐0004706 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAMI, RICHARD A.
108 LIONS HEAD DRIVE W
WAYNE, NJ 07470                                     P‐0004707 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLATTERY, EDWARD J.
EDWARD J SLATTERY
YORKLAND RD
COLUMBUS OH 4                                       P‐0004708 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEDINA, ARNOLD X.
MEDINA, CRYSTAL G.
4913 LAKE MEDINA
CORPUS CHRISTI, TX 78413                            P‐0004709 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EBEL, RICHARD L.
EBEL, KATHY M.
2016 CHURCHILL DOWNS LANE
TROPHY CLUB, TX 76262                               P‐0004710 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GROUNARD, NANCY S.
5494 SOUTH MORNING SHADOWS DR
TUCSON, AZ                                           P‐0004711 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOENER, KATHY A.
207 NORTH 25TH STREET
QUINCY, IL 62301                                     P‐0004712 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOHL, ELIZABETH
100 HIGH TOP CIRCLE EAST
HAMDEN, CT 06514                                     P‐0004713 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVISON, WILLIAM C.
DAVISON, ROBIN J.
2376 PEARSON RD
NEW HAVEN, VT 05472                                  P‐0004714 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAN, TAI N.
9971 QUAIL BLVD
APT 111
AUSTIN, TX 78758                                     P‐0004715 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAMI, RICHARD A.
108 LIONS HEAD DRIVE WEST
WAYNE, NJ 07470                                      P‐0004716 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEST, RODNEY
3205 LLOYDS LANE J2
MOBILE, AL 36693                                     P‐0004717 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DROMEY, STACEY L.
26763 BURTON WAY
KIRKSVILLE, MO 63501                                 P‐0004718 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRONISTER, HENRY D.
CRONISTER, SUSAN K.
2904 RAINIER DRIVE
SPRINGFIELD, IL 62704‐6506                           P‐0004719 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAIM WITHDRAWN BY THOMAS R BOLLER
17 WESTWOOD LANE
MIDDLETOWN, CT 06457                                 P‐0004720 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASTIA, EMILY P.
206 BLISSWOOD VILLAGE DRIVE
LUDLOW, MA 01056                                     P‐0004721 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, SHARON M.
NO ADDRESS PROVIDED
                                                     P‐0004722 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HESSLER‐SMITH, CHRISTINA C.
3921 MADISON BEND N.W.
KENNESAW, GA 30144                                   P‐0004723 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, ALICE P.
HUGHEY
190 LOVE SPRINGS RD.
COWPENS, SC 29330                                    P‐0004724 10/25/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
MCGOWAN, LINDA C.
2088 RABON RD
LAURENS, SC 29360                                    P‐0004725 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, BOBBIE J.
1024 NORTH STATE STREET
MARION, OH 43302                                     P‐0004726 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, ANDREW
204 HIDDEN DUNE CT
PONTE VEDRA BEAC, FL 32082                           P‐0004727 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CRONISTER, SUSAN K.
CRONISTER, HENRY D.
2904 RAINER DRIVE
SPRINGFIELD, IL 62704‐6506                          P‐0004728 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VONSAVAGE, AMY E.
7101 BOYSENBERRY LANE
PLANO, TX 75074                                     P‐0004729 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAAVEDRA, RICHARD R.
1495 HAWTHORNE PLACE
WELLINGTON, FL 33414                                P‐0004730 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIMMEY, MICHAEL W.
RIMMEY, SANDRA S.
3540 TERRAULT DRIVE
GREENSBORO, NC 27410                                P‐0004731 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, KANG
4725 W SWEET IRON PASS
PHOENIX, AZ 85032                                   P‐0004732 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAZZIO, KELLY
6 WILLOW RD
ROCKY POINT, NY 11778                               P‐0004733 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKOUGAARD, TRISTEN J.
4485 S SONIA ROSE COURT
HOLLADAY, UT 84124                                  P‐0004734 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALAMO‐RIVERA, ANGEL L.
1331 SAINT LAWRENCE AVE 2FL
BRONX, NY 10472                                     P‐0004735 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMEI TORRES, FRANCISO A.
TOMEI TORRES, FRANCISCO A.
AGENCY FOR TOXIC SUBSTANCES A
3480 MILL VALLEY DR
DACULA, GA 30019‐1299                               P‐0004736 10/25/2017    TK Holdings Inc., et al .                   $31,978.36                                                                                   $31,978.36
LEVINE, JANE R.
2151 S. FILLMORE STREET
DENVER, CO 80210                                    P‐0004737 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLESPIE, JARROD K.
10301 CHESLEY DR
SAINT LOUIS, MO 63136                               P‐0004738 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUMSEY, GARY A.
48531 WHITAKER ROAD
SAINT INIGOES, MD 20684                             P‐0004739 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUEHRING, MIKE
3790 E. ESPLANADE
GILBERT, AZ 85297                                   P‐0004740 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANES, PANOS J.
522 CLAIREMONT AVENUE
DECATUR, GA 30030‐1834                              P‐0004741 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIKESKA, PATRICIA S.
622 KIRKHAM LANE
LEAGUE CITY, TX 77573                               P‐0004742 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, TOMMY R.
455 WOLF CREEK RD
KINGSTON, TN 37763                                  P‐0004743 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAANE, MELISSA E.
2500 N STOWELL AVE
MILWAUKEE, WI 53211                                 P‐0004744 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
NORMAN, CANTRELL G.
20188 PECAN TRACE
FAIRHOPE, AL 36532                                 P‐0004745 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORENO BARBOZA, JUAN PAUL O
2090 DOWNY DRIVE, APT. #98
SANCTUARY PLACE
HEBRON, KY 41048                                   P‐0004746 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURTLAND, COLLEEN A.
4322 CODY BROOK DRIVE
LIBERTY TOWNSHIP, OH 45011                         P‐0004747 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAPLE, CHRISTINA
14423 BOARDWALK F
BROWNSBORO TX 75756
BROWNSBORO, TX 75756                               P‐0004748 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, JUSTESS C.
706 SHERRON ROAD
DURHAM, NC 27703                                   P‐0004749 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDAWAY, ASTRA D.
939 ABBEVILLE DRIVE
ST LOUIS, MO 63130                                 P‐0004750 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANSFIELD, MARENIS
7057 W RIVER TRAIL
MARANA, AZ 85658                                   P‐0004751 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANES, PANOS J.
522 CLAIREMONT AVENUE
DECATUR, GA 30030‐1834                             P‐0004752 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVICH, RICHARD A.
1127 JEROME ST
HOUSON, TX 77009                                   P‐0004753 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCLATCHEY, WELBORN C.
MCCLATCHEY, MELISSA O.
3365 RIDGEWOOD RD NW
ATLANTA, GA 30327                                  P‐0004754 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, CRAIG R.
381 BYNUM RD
BOWIE, TX 76230                                    P‐0004755 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUCKOW, LANCE W.
LUCKOW, KARLA
3320 AIRPORT RD
#20
NAMPA, ID 83687                                    P‐0004756 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HISE, JOHANNA E.
HISE, CHRISTIAN S.
7598 WATSON STREET
CONNELLY SPRINGS, NC 28612                         P‐0004757 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILES, CYNTHIA D.
7061 STATE HIGHWAY 21 S
HAYNEVILLE, AL 36040                               P‐0004758 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENNIE, DERYCK D.
2339 GLENMORE LN
SNELLVILLE, GA 30078                               P‐0004759 10/25/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
HARRIS, CLINT B.
HARRIS, KELLY K.
1832 BALTIC LOOP
MAYFIELD, KY 42066                                 P‐0004760 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SIMON‐HARRIS, VALERIE
SIMON‐HARRIS, VALERIE
1676 VIRGIL POND LN
LOGANVILLE, GA 30052                                P‐0004761 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TALBOT, MARY K.
37 FALES AVE
BARRINGTON, RI 02806                                P‐0004762 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PFAFF, ROGER O.
40 STONINGTON PL
MARIETTA, GA                                        P‐0004763 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERBACK, ROBERT
BERBACK, ROBERT L.
222 W. COBBS WAY
NAGS HEAD, NC 27959‐9511                            P‐0004764 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENNIS, GILES C.
2680 HARSHAW RD
MURPHY, NC 28906                                    P‐0004765 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAVES, FARRELL D.
3614 NORTHFIELD PLACE
HIGH POINT, NC 27265                                P‐0004766 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGNER, LES H.
608 HIDDEN FOREST DRIVE
CHATTANOOGA, TN 37421                               P‐0004767 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZENTENO, ALAN Y.
235 W 600 N
APT 133
SALT LAKE CITY, UT 84103                            P‐0004768 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNALLY, CHARLES M.
MCNALLY, CHARLES M.
P.O. BOX 655
221 N. MAIN ST.
BRUNDIDGE, AL 36010                                 P‐0004769 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, ERICA B.
3550 GRANDVIEW PKWY APT 811
BIRMINGHAM, AL 35243                                P‐0004770 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSEN‐BRATTA, SHARON
755 NARROWS RD N U910
STATEN ISLAND, NY 10304                             P‐0004771 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMMIATO, BRANDIE L.
1819 E BEVERLY DR
CORSICANA, TX 75110                                 P‐0004772 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSBORNE, CHRISTINE L.
4137 HIRAM LITHIA SPRINGS RD
POWDER SPRINGS, GA 30127                            P‐0004773 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LASKIN, ALEXANDER
50 HAWTHORNE DR
CHESHIRE, CT 06410                                  P‐0004774 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOE, JEFFREY C.
2974 THAYER BRIDGE CIR
IDAHO FALLS, ID 83402                               P‐0004775 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCULLUM, PHILIP
107 E COLUMBIA ST
DANVERS, IL 61732                                   P‐0004776 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
COATSWORTH, LOIS A.
175 MARKET STREET
APT 1309
CHARLESTON, SC 29401                                P‐0004777 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOUNT, TAMISHA L.
177 HILL LANE
ELLENWOOD, GA 30294                                 P‐0004778 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEIMBURGER, RALPH
3476 LEXINGTON LANE
BRUNSWICK, OH 44212                                 P‐0004779 10/25/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
ESPINAL, MELSSA
47‐30 61ST STREET
16A
WOODSIDE, NY 11377                                  P‐0004780 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEONARD, PATRICIA I.
3275 EISENHOWER RD
COLUMBUS, OH 43224                                  P‐0004781 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TYLER, JENNIFER L.
4633 RED HAWK TERRACE
BLADENSBURG, MD 20710                               P‐0004782 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, HELEN E.
2401 SUN AVE
LIVINGSTON, MT 59047                                P‐0004783 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLAKE, JACQUELINE
82 LEETE STREET
WEST HAVEN, CT 06516                                P‐0004784 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITZGERALD, TRACY L.
1516 WEST ROAD
WEST RUTLAND, VT 05777                              P‐0004785 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STUHR, CRYSTAL L.
18701 PATTERSON DRIVE
NEWALLA, OK 74857                                   P‐0004786 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVINSKY, DENISE S.
709 BEMENT AVENUE
STATEN ISLAND, NY 10310                             P‐0004787 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEASTRUNK, KARL V.
611 2ND ST
JASPER, TX 75951                                    P‐0004788 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, VALERIE A.
208 STREAMSIDE DRIVE
DESOTO, TX 75115                                    P‐0004789 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHAJAN, ASHISH
758 E NEW ENGLAND DR
SANDY, UT 84094                                     P‐0004790 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALA, LISA MARIE
5935 WARM MIST LANE
DALLAS, TX 75248                                    P‐0004791 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINTON, SHARON
2483 WEST HADLEY STREET
MILWAUKEE, WI 53206/1160                            P‐0004792 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARRO, JOHN L.
950 S. PINE ISLAND RD.
SUITE A‐150
PLANTATION, FL 33324                                P‐0004793 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CAMPOS, MIGUEL
523 BENNIE AVE
SANTA ROSA NM                                       P‐0004794 10/25/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
KALTEIS, ROBERT M.
612 LONGFELLOW DR
O FALLON, IL 62269                                  P‐0004795 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARRO, JOHN L.
950 S. PINE ISLAND RD.
SUITE A‐150
PLANTATION, FL 33324                                P‐0004796 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, KENDRA L.
1725 HIDDEN SHOALS DRIVE
CONYERS, GA 30013                                   P‐0004797 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZEN, EDWIN K.
305 N LINCOLN AVE APT 105
URBANA, IL 61801                                    P‐0004798 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EBEL, KATIE J.
360 N BURSON AVE
BOGART, GA 30622                                    P‐0004799 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAN, ROBERT
9720 WHISTLER DRIVE
DALLAS, TX 75217                                    P‐0004800 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HATCHER, JENNIFER L.
1820 GREEN VALLEY LN
ALBANY, GA 31707                                    P‐0004801 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARVIN‐SHIELD, MELISSA
640 BLACKMORE DR.
HENDERSON, NV 89015                                 P‐0004802 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRANDO, DINO
140 PARKVIEW DR
AURORA, OH 44202                                    P‐0004803 10/25/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
COHEN, BROOKE
11012 PINE LODGE TRAIL
DAVIE, FL 33328                                     P‐0004804 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWENS, LEE A.
5600 VICTOR ST
DALLAS, TX 75214                                    P‐0004805 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, CHANEL T.
3693 IROQUIS NW
KENNESAW, GA 30144                                  P‐0004806 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRY, MICHAEL S.
160 GLENWOOD LN
FAYETTEVILLE, GA 30215                              P‐0004807 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCLOUD, MARKISHA D.
P.O. BOX 64028
MILWAUKEE, WI 53204                                 P‐0004808 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, ELIZABETH J.
TAYLOR, JASON L.
138 LUTHER RD
CANDLER, NC 28715                                   P‐0004809 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTILLO, DAVID
1817 WESTWOOD DR.
ABILENE, TX 79603                                   P‐0004810 10/25/2017    TK Holdings Inc., et al .                   $37,000.00                                                                                   $37,000.00
TAANI, MURAD
4101 N ARDMORE AVE APT # 12
MILWAUKEE, WI 53211                                 P‐0004811 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
CARTER, CHANEL T.
3693 IROQUIS NW
KENNESAW, GA 30144                                 P‐0004812 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFITH, DANIEL M.
GRIFFITH, SHANNON L.
2407 W PORTOBELLO AVE.
MESA, AZ 85202                                     P‐0004813 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIALA, MARTIN J.
209 ALAMANCE COURT
TULLAHOMA, TN 37388                                P‐0004814 10/25/2017    TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
KNAPP, RAYMOND E.
3319 27 AVE
KENOSHA, WI 53140                                  P‐0004815 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EUTIZI, MARY M.
EUTIZI, JOSEPH G.
2679 W. OLD GLORY DRIVE
TUCSON, AZ 85741                                   P‐0004816 10/25/2017    TK Holdings Inc., et al .                    $6,262.00                                                                                    $6,262.00
THOMAS, RUBY J.
4922 OLD PAGE ROAD
APT. 303
DURHAM, NC 27703                                   P‐0004817 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TSAI, VICTOR
36 BERTHA PLACE
STATEN ISLAND, NY 10301                            P‐0004818 10/25/2017    TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
GLICK, GARY B.
41 COVE ROAD
LAKE HOPATCONG, NJ 07849                           P‐0004819 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODWYN, BRITTANY S.
6128 NORTHWOOD DR
BALTIMORE, MD 21212                                P‐0004820 10/25/2017    TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
MCCOY, REED A.
1354 WYNDMOOR DR
ROCHESTER, IL 62563                                P‐0004821 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TALUKDAR, BHUPESH
14221 WILLOW TANK DR
AUSTIN, TX 78717                                   P‐0004822 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VISCARDI, CAROL R.
59 EATONS NECK ROAD
NORTHPORT, NY 11768                                P‐0004823 10/25/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
REYES, LEONARDO
20 E GREENWOOD AVE
SALT LAKE CITY, UT 84047                           P‐0004824 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILLS, MATTHEW R.
REAGAN, KATRINA A.
834 CANTON HOLLOW RD LOT 10
KNOXVILLE, TN 37934                                P‐0004825 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NASH, AARIONA R.
4236 HARRISON ST
GARY, IN 4640I                                     P‐0004826 10/25/2017    TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
VARGAS, EVELYN
VARGAS, SALVADOR
132 BOSWELL AVENUE
NORWICH, CT 06360                                  P‐0004827 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VISCARDI, JAMES
59 EATONS NECK ROAD
NORTHPORT, NY 11768                                P‐0004828 10/25/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
BEAN, JENNIFER D.
FORE, BRANDON G.
824 SPANISH TRAIL
LOT #43
WOODWAY, TX 769712                                 P‐0004829 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREAUX, KATHY
KIA MOTORS FINANCE
610 DAWSON DRIVE
DUNCANVILLE, TX                                    P‐0004830 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NASH, AARIONA R.
4236 HARRISON ST
GARY, IN 46408                                     P‐0004831 10/25/2017    TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
CAMPA, ADRIAN A.
W CRESTED BUTTE CT
NAMPA, ID 83651‐8164                               P‐0004832 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUMMERS, TALLYN F.
GADSON, BRENDA A.
350 18TH AVE
BRICK, NJ 08724                                    P‐0004833 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARGELAGOS, JORGE
TAKATA
429 LOMALAND SP. B
EL PASO, TX 79907                                  P‐0004834 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, DAVID R.
2240 NORTH SHERMAN CIRCLE
APT D404
MIRAMAR, FL 33025                                  P‐0004835 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEASTRUNK, KARL V.
611 2ND ST
JASPER, TX 75951                                   P‐0004836 10/25/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOBRYTSKY, OLEKSANDR A.
2781 OCEAN AVE APT 1F
BROOKLYN, NY 11229                                 P‐0004837 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, JACQUELINE A.
JONES, JACQUELINE
4306 N SHALLOWFORD RD
APT 1223
ATLANTA, GA 30341                                  P‐0004838 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, YUFU
4005 BUCKHAVEN CV
CEDAR PARK, TX 78613                               P‐0004839 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, CHAD A.
1274 E DANIELLA DR
SAN TAN VALLEY, AZ 85140                           P‐0004840 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUTTON, SKYLAR J.
2243 RAVENNA STREET
HUDSON, OH 44236                                   P‐0004841 10/26/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
LI, CANHAO
360 FURMAN ST APT 806
BROOKLYN, NY 11201                                 P‐0004842 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUTTON, SKYLAR J.
2243 RAVENNA STREET
HUDSON, OH 44236                                   P‐0004843 10/26/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00




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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WILSON, WILLIAM R.
WILSON, HALLIE
555 W 920 N
OREM, UT 84057                                      P‐0004844 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FALCOCCHIA, EDDIE
14275 OLD WOOD RD
SARATOGA, CA 95070                                  P‐0004845 10/26/2017    TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
MOHAYYA, MOZAFFAR
126 WOOTTON STREET
BOONTON, NJ 07005                                   P‐0004846 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLINS, SHEILA E.
19250 LAKE NORMAN COVE DRIVE
CORNELIUS, NC 28031                                 P‐0004847 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAPANOELINTSOA, HAJA
ANDRIANAVALONA, NY RAILOVY
423 S STATE STREET APT 202
PROVO, UT 84606                                     P‐0004848 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, COURTNEY S.
282 MEADOW GARDEN LN
MARTINSVILLE, VA 24112                              P‐0004849 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, PAUL L.
308 INDEPENDENCE WAY
WOODSTOCK, GA 30188                                 P‐0004850 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, KAPRIS B.
4150 SEA GULL COURT
FLORISSANT, MO 63034                                P‐0004851 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERD, MARCELLO S.
104 PINKIE LANE
GRAVOIS MILLS, MO 65037                             P‐0004852 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORELAND, JON L.
9797 LEAWOOD BLVD.
APT. 907
HOUSTON, TX 77099                                   P‐0004853 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARKLEY, KATHERINE K.
219 W. WASHINGTON ST.
OFALLON, IL 62269                                   P‐0004854 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOL‐ROSENTHAL, TAMMY F.
1107 CASTLE GATE VILLAS DRIVE
SAINT LOUIS, MO 63132                               P‐0004855 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITMAN, DAWN E.
456 PR 1507
BANDERA, TX                                         P‐0004856 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESQUEDA, ANTONIO G.
9408 E FLORIDA AVE #2060
DENVER, CO 80247                                    P‐0004857 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANTON, DEMETRIUS J.
1211 20TH AVE SE
DECATUR, AL 35601                                   P‐0004858 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAMASHIRO, HOWARD Y.
HOWARD TAMASHIRO
520 NORTH MAIN STREET
MEADVILLE, PA 16335                                 P‐0004859 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
DIEAS, CHARLES H.
DIEAS, RITA E.
P O BOX 575
17 PAIT ST
ALAPAHA, GA 31622‐0575                             P‐0004860 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR‐URBANO, MEGAN M.
2160 W 33RD STREET
TUCSON, AZ 85713                                   P‐0004861 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEAVER, JOSHUA
3003 WINDCHASE BLVD #326
HOUSTON, TX 77082                                  P‐0004862 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERKIN, SYLBURN
82‐26 233 ST
BELLEROSE, NY 11427                                P‐0004863 10/26/2017    TK Holdings Inc., et al .                     $600.00                                                                                       $600.00
EHLEN, LAWRENCE
408 CONKEY ST
BURLINGTON, WI 53105                               P‐0004864 10/26/2017    TK Holdings Inc., et al .                   $12,561.00                                                                                   $12,561.00
CLARK, KAPRIS B.
4150 SEA GULL COURT
FLORISSANT, MO 63034                               P‐0004865 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTAGNOLA, CLARICE
6755 FOREST GLEN AVE
SOLON, OH 44139                                    P‐0004866 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINFIELD II, DAVID
WINFIELD, BROOKE R.
45 KAITLIN CT.
COVINGTON, GA 30016                                P‐0004867 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILBERT, ROBERT
56 SOUTHERN HEIGHTS DRIVE
VERNON, VT 05354                                   P‐0004868 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEPORE, VINCENT
405 CHARTWELL PL
NAPLES, FL 34110                                   P‐0004869 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, DENA
196 WELLSLEY LANE
DALLAS, GA 30132                                   P‐0004870 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VICTORY, DREW E.
78 LEIGHTON RD
POWNAL, ME 04069                                   P‐0004871 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PISARCIK, STEPHEN M.
3757 WEST MONTE CRISTO AVENUE
PHOENIX, AZ 85053‐3700                             P‐0004872 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALDEN, TARVIS T.
455 MAGNOLIA RIDGE
MONTICELLO, FL 32344                               P‐0004873 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GADDY, TIM P.
GADDY, MICHELLE L.
25296 COUNTY ROAD 2400 E
TOPEKA, IL 61567                                   P‐0004874 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIBENEDETTI, DEBORAH A.
6635 NW 75TH PLACE
PARKLAND, FL 33067                                 P‐0004875 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNNERLYN, TANESHA T.
6594 PIAZZA DR
JONESBORO, GA 30328                                P‐0004876 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GADDY, MICHELLE
GADDY, TIM
25296 COUNTY ROAD 2400 E
TOPEKA, IL 61567                                     P‐0004877 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNAUGHTON, RONALD J.
26110 TOWN GREEN DR.
ELMSFORD, NY 10523                                   P‐0004878 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNNERLYN, TANESHA T.
6594 PIAZZA DR
JONESBORO, GA 30238                                  P‐0004879 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNAUGHTON, REBECCA A.
26110 TOWN GREEN DR.
ELMSFORD, NY 10523                                   P‐0004880 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNNERLYN, TANESHA T.
6594 PIAZZA DR
JONESBORO, GA 30238                                  P‐0004881 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNNERLYN, TANESHA T.
6594 PIAZZA DR
JONESBORO, GA 30238                                  P‐0004882 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHOENIX, JENNIFER N.
2059 GREENCOURT DRIVE
MISSOURI CITY, TX 77489                              P‐0004883 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOLFI, THOMAS J.
1351 TORRINGFORD WEST ST
TORRINGTON, CT 06790‐3099                            P‐0004884 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOLFI, THOMAS J.
1351 TORRINGFORD WEST ST
TORRINGTON, CT 06790‐3099                            P‐0004885 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMATOWSKI, MICHAEL J.
917 KYLEMORE DR.
BALLWIN, MO 63021‐7935                               P‐0004886 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, ANA I.
26 LAKE AVENUE
HAMILTON, NJ 08610                                   P‐0004887 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWARTZ, MICHAEL
11020 TRADEWINDS LN
CHARLOTTE, NC 28226                                  P‐0004888 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISCHER, ANNA
5103 RIVERWATCH DRIVE
CINCINNATI, OH 45238                                 P‐0004889 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA, LIZETTE
3503 ROSSLARE LANE
LAKELAND, FL 33803                                   P‐0004890 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARST, SUE A.
20379 W. COUNTRY CLUB DR.
#2331
AVENTURA, FL 33180                                   P‐0004891 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, BRIAN
12309 HIDDENBROOK DR
TAMPA, FL 33624                                      P‐0004892 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GURALNICK, REBECCA L.
326 WEST RAVINE BAYE RD
BAYSIDE, WI 53217                                    P‐0004893 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRUST OF FRANK C BLUMEYER
2339 TENNESSEE AVE
SAINT LOUIS, MO 63104‐1733                           P‐0004894 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
MAY, KATHY K.
6519 SOUTH NORTHSHORE DRIVE
KNOXVILLE, TN 37919                                P‐0004895 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRUST OF FRANK C BLUMEYER
2339 TENNESSEE AVE
SAINT LOUIS, MO 63104‐1733                         P‐0004896 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIBENEDETTI, DEBORAH A.
DIBENEDETTI, NICOLE A.
6635 NW 75TH PLACE
PARKLAND, FL 33067                                 P‐0004897 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, THERNELL
643 N ROYAL TOWER DRIVE
IRMO, SC 29063                                     P‐0004898 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRUITT, DONALD P.
127 FIELDING DRIVE
MESQUITE TEXAS                                     P‐0004899 10/26/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
LEWIS, THERNELL
643 N ROYAL TOWER DRIVE
IRMO, SC 29063                                     P‐0004900 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKE, ALAN R.
3508 SAINSBURY LANE
GREENSBORO, NC 27409‐9207                          P‐0004901 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPILMAN, SHERRY
CAVER, DONERICK
1734 ROCKY HOLLOW RD.
ANNISTON, AL 36207                                 P‐0004902 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REVIA‐FORD, TORIE
7924 WILLOWOOD LANE
APT 816
PORT ARTHUR, TX 77642                              P‐0004903 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAMBER, ROSALYN
1521 LOCH HAVEN DR
CONYERS, GA 30013‐6362                             P‐0004904 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLATT, AVERY L.
519 EHRINGHAUS ST.
HENDERSONVILLE, NC 28739                           P‐0004905 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AIELLO, BRET
27308 PLANTATION DR NE
ATLANTA, GA 30324                                  P‐0004906 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUIROA DE GARCIA, ANA A.
GARCIA PRADO, LUINI L.
8873 SW 227 TER
CUTLER BAY, FL 33190                               P‐0004907 10/26/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
HAYES, STEPHEN R.
82 PIEDMONT RD
THE ROCK, GA 30285                                 P‐0004908 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
URDEA, ALEXANDRU
PEARSON, MEGAN E.
109 BLAIR ROAD
OYSTER BAY, NY 11771                               P‐0004909 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACQUAVIVA, KATHLEEN A.
76 METEDECONK ROAD
BRICK, NJ 08723                                    P‐0004910 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
HILLMER, JOHN P.
HILLMER, MEREDITH A.
3525 RIVER DRIVE
LAWRENCEVILLE, GA 30044                            P‐0004911 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, SUSAN
JONES, ADRIAN P.
4143 VIRGINIA TRAIL
LIBERTY, NC 27298                                  P‐0004912 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIELDS, TRINA D.
12720 ALMEDA CROSSING COURT
HOUSTON, TX 77048                                  P‐0004913 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STUMP, KRISTIE E.
243 MAPLE AVENUE
MOOREFIELD, WV 26836                               P‐0004914 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUIROA DE GARCIA, ANA A.
GARCIA PRADO, LUINI L.
8873 SW 227 TER
CUTLER BAY, FL 33190                               P‐0004915 10/26/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
GUERTIN, SUSAN L.
27050 IMPERIAL PKWY
BONITA SPRINGS, FL 34135                           P‐0004916 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARSINSKEY, JULIE R.
7421 WALNUT CREEK DR
WEST CHESTER, OH 45069                             P‐0004917 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILGORE JR, CHARLES R.
694 HIGHLAND OAKS LANE SE
MABLETON, GA 30126                                 P‐0004918 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRD, PATRICIA L.
102 EAST DRIVE
PRINCETON, WV 24740                                P‐0004919 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLT, MELODY
175‐38 137TH AVE
JAMAICA, NY 11434                                  P‐0004920 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, JODI
3208 VILLAGE GLEN DDRIVE
SNELLVILLE, GA 30039                               P‐0004921 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILLY, DEBORAH L.
1930 CHAPARRAL DRIVE
HOUSTON, TX 77043                                  P‐0004922 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLUSMAN, JAMES A.
3660 E BRIANDEAN CT
OAK CREEK, WI 53154                                P‐0004923 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENKINS, GREGORY
JENKINS, GREGORY E.
1832 PLEASANTHILL RD
MAGNOLIA, AL 36754                                 P‐0004924 10/26/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
NELSON, JAMES B.
321 SUSAN PLACE
HUEYTOWN, AL 35023                                 P‐0004925 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
USUI, YASUO
122 SOUTHGATE CIRCLE
MASSAPEQUA PARK, NY 11762                          P‐0004926 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERCE, PATRICK J.
6541 MONTE SERRANO N.E.
ALBUQUERQUE, NM 87111                              P‐0004927 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
EPPLEY, ADAM L.
13842 71ST PL N
WEST PALM BEACH, FL 33412                          P‐0004928 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOK, TRAVIS N.
6006 PATRICK PLACE
CHARLOTTE, NC 28210                                P‐0004929 10/26/2017    TK Holdings Inc., et al .                    $1,950.00                                                                                    $1,950.00
HEIDT, RICHARD W.
725 WEST 50 ST
ERIE, OA 16509                                     P‐0004930 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUZMAN, MARTINA
2765 14TH AVE SE
NAPLES, FL 34117                                   P‐0004931 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLAHERTY, JAMES
205 SUGAR RD
BOLTON, MA 01740                                   P‐0004932 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILL, JANET A.
715 20TH STREET #102
VERO BEACH, FL 32960                               P‐0004933 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILGORE, JAMES R.
916 PONY FARM RD
KITTANNING, PA 16201                               P‐0004934 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PROFAIZER, FRANK J.
3081 CAMBRIDGE POINTE DR
SAINT LOUI, MO 63129                               P‐0004935 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THIERRY, CRAIG R.
THIERRY, MERRY F.
P.O. BOX 474
BELLE, MO 65013                                    P‐0004936 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAPSON, DAWN MARIE
50 CRYSTAL SPRINGS ROAD
HAMBURG, NJ 07419                                  P‐0004937 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAMER, ROBERT E.
130 FRIENDS ROAD
YORKTOWN HEIGHTS, NY 10598                         P‐0004938 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMSAY‐BROWN, FRANCINE R.
28 SCOTT AVENUE
DEER PARK, NY 11729                                P‐0004939 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLAHERTY, BRIAN
205 SUGAR RD
BOLTON, MA 01740                                   P‐0004940 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, CHRISTINE M.
4909 W JOSHUA BLVD. 2040
CHANDLER, AZ 85226                                 P‐0004941 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, SEAN C.
ANDERSON, AMANDA
2160 HOLT ROAD
PADUCAH, KY 42001                                  P‐0004942 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RILEY LOWE, MARY
1681 RAVANUSA DR
HENDERSON, NV 89052                                P‐0004943 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUIRHEAD, ROBERT J.
115 ORTON ROAD
WEST CALDWELL,, NJ 07006                           P‐0004944 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUCHNIK, DAVID C.
517 CEDAR HILL RD
FAR ROCKAWAY, NY 11691                             P‐0004945 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
LITT, TIMOTHE
148 WOODLAND ROAD
SOUTHBOROUGH, MA 01772                             P‐0004946 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAVEN, NATALIE C.
RAVEN, MICHAEL F.
12150 WILDWOOD SPRINGS DRIVE
ROSWELL, GA 30075                                  P‐0004947 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLAHERTY, TINA
205 SUGAR RD
BOLTON, MA 01740                                   P‐0004948 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, MOLLY
WOOD, ASHLEY
4072 ROXBERRY HILL LN
BUFORD, GA 30518                                   P‐0004949 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANSOUR, CHRISTINE F.
24511 SUMMER NIGHTS CT
LUTZ, FL 33559‐7920                                P‐0004950 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELIAS KORNFELD, HYLAN A.
635 W. 42 ST.
APT. 12B
NEW YORK, NY 10036                                 P‐0004951 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMSAY‐BROWN, FRANCINE R.
28 SCOTT AVENUE
DEER PARK, NY 11729                                P‐0004952 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRUMMOND, NORMA V.
11 BRANDY LANE
WAPPINGERS FALLS, NY 12590                         P‐0004953 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STADTMAUER, SEYMOUR H.
28603 VIA D AREZZO DRIVE
BONITA SPRINGS, FL 34135                           P‐0004954 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAFTEN, CHARLES S.
1467 MONROE DR NE
APT 17
ATLANTA, GA 30324                                  P‐0004955 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE LOS SANTOS, J, ARTURO
410 COPPER RIDGE DR
NEW BRAUNFELS, TX 78132                            P‐0004956 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUMAN, JOANNE M.
670 ISLAND WAY
APT 704
CLEARWATER, FL 33767                               P‐0004957 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONTALDO, GREGORY
1730 MARIPOSA DRIVE
LAS CRUCES, NM 88001                               P‐0004958 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRITS, LOUISE
BRITS, FERDINAND
1176 PALM COVE
ORLANDO, FL 32835                                  P‐0004959 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, JESSE M.
1817 E GRAUWYLER APT#157
IRVING, TX 75061                                   P‐0004960 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUTISTA, MARK
13285 EARLY FROST CIRCLE
ORLANDO, FL 32828                                  P‐0004961 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
WOFFORD, SARA
203 COMLY RICH DR
CARROLLTON, GA 30117                               P‐0004962 10/26/2017    TK Holdings Inc., et al .                     $900.00                                                                                       $900.00
DOODY, DENISE E.
6089 STANBURY RD
PARMA, OH 44129                                    P‐0004963 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECKER, DALE E.
245 DERBY DRIVE
FAYETTEVILLE, GA 30215                             P‐0004964 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEMAC INDUSTRIES INC.
324 QUARRY RD.
P.O. BOX 231
LANCASTER, OH 43130                                P‐0004965 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWE, THOMAS J.
97 WINDSOR STREET
ENFIELD, CT 06082                                  P‐0004966 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VEIRA, KARENINA F.
2552 CRESTDALE CIR.
ATLANTA, GA                                        P‐0004967 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMARTT, MICHAEL I.
3532 SOUTHWESTERN BLVD
DALLAS, TX 75225                                   P‐0004968 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, JAMES R.
122 MATIE CT
MADISON, AL 35756                                  P‐0004969 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEMING, ALBERT
FLEMING, NICOLA
2316 MERLUNA DRIVE
LEXINGTON, KY 40511                                P‐0004970 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASSETT, KATHERINE J.
BASSETT, ROBERT A.
964 BONITA STREET
HITCHCOCK, TX 77563                                P‐0004971 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OGG YOUNG, ELIZABETH A.
130 MARLA CIRCLE
HUNTSVILLE, TX 77320                               P‐0004972 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINDHAM, DAVID B.
501 KNOLL POINTE
WOODSTOCK, GA 30189‐2562                           P‐0004973 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
S & R OPERATIONS, INC.
2700 GREENS ROAD #F300
HOUSTON, TX 77032                                  P‐0004974 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUMAN, BRUCE A.
205 EQUESTRIAN COURT
FATE, TX 75087                                     P‐0004975 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WISTUBA, CHARLES
941 EDGEWOOD DR
NEWTON, NJ 07860                                   P‐0004976 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ISLAM, MD T.
5392 JUSTINE WAY
WINTER PARK, FL 32792
WINTER PARK                                        P‐0004977 10/26/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
S & R OPERATIONS, INC.
2700 GREENS ROAD #F300
HOUSTON, TX 77032                                  P‐0004978 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
AROESTY, STEVEN M.
523 N BEMISTON AVE
ST LOUIS, MO 63130‐3905                           P‐0004979 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANHOLM, GINI D.
9423 BRENTWOOD STREET
WESTMINSTER, CO 80021                             P‐0004980 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
S & R OPERATIONS, INC.
2700 GREENS ROAD #F300
HOUSTON, TX 77032                                 P‐0004981 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GASPAR, AMI
27 GILBERT STREET
ORONO, ME 04473                                   P‐0004982 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLIKIN, JEFFREY L.
MULLIKIN, JEANMARIE N.
8613 30TH ST E
PARRISH, FL 34219                                 P‐0004983 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEMING, ALBERT
FLEMING, NICOLA
2316 MERLUNA DRIVE
LEXINGTON, KY 40511                               P‐0004984 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AROESTY, STEVEN M.
523 N BEMISTON AVE
ST LOUIS, MO 63130‐3905                           P‐0004985 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWELL‐WARD, DEANNA L.
200 N HONEY SPRINGS AVE
FUQUAY VARINA, NC 27526                           P‐0004986 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
S & R OPERATIONS, INC.
2700 GREENS ROAD #F300
HOUSTON, TX 77032                                 P‐0004987 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONNER‐BENNETT, GWENDOLYN M.
1558 ELLA T GRASSO BLVD
NEW HAVEN, CT 06511                               P‐0004988 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COUTURE, THOMAS E.
P.O. BOX 281
SOUTH BARRE, VT 05670                             P‐0004989 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLANAGAN, THERESA
814 RIVERHAVEN CIRCLE
HOOVER, AL 35244                                  P‐0004990 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANGBORN, CHERYL
421 OGEECHEE DRIVE
RICHMOND HILL, GA 31324                           P‐0004991 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISS, NANCY
3104 W DUNWOODIE ST
TAMPA, FL 33629                                   P‐0004992 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTER, KATIE E.
23 GROVE VALLEY WAY
GREENVILLE, SC 29605                              P‐0004993 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, JAMES D.
ROBINSON, LINDA M.
324 ARDSLEY RD
WATERBURY, CT 06708                               P‐0004994 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, DEBORAH A.
6055B MCHENRY STREET
BURLINGTON, WI 53105                              P‐0004995 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
DYSON, TERRY W.
595 DUKE WHITTAKER RD
MOCKSVILLE, NC 27028                                P‐0004996 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETRONE, WILLIAM R.
26 PARKWAY SOUTH
NEW LONDON, CT 06320                                P‐0004997 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANGOS, DONNA A.
5800 CHRISBROOK DRIVE
SAINT LOUIS, MO 63128                               P‐0004998 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, PATRICK J.
78 OLD TOWNE ROAD
CHESHIRE, CT 06410                                  P‐0004999 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, CHARLES W.
151 BELLINGTON DRIVE
MCDONOUGH, GA 30253                                 P‐0005000 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAYTON, SUZIE
P.O. BOX 276
SWEPSONVILLE, NC 27359                              P‐0005001 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEBARON, CHARLES W.
485 OAKDALE ROAD NE APT C44
ATLANTA, GA 30307                                   P‐0005002 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCURDY, SHELLA G.
1863 N 1600TH ST
BROWNSTOWN, IL 62418                                P‐0005003 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VON BRUNS, SHARON L.
CONOLLY, BARRY H.
380 CAMBRIDGE RD
WESTFORD, VT 05494‐9648                             P‐0005004 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTHEWS, JAMES M.
2647 CASTLETOWN DR.
HEPHZIBAH, GA 30815                                 P‐0005005 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISS, RICHARD
67‐40 YELLOWSTONE BLVD.
APT.# 5N
FOREST HILLS, NY 11375                              P‐0005006 10/26/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HALBLEIB, BYRON L.
6230 DUCK CREEK ROAD
LENOIR, NC 28645                                    P‐0005007 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAWKINS, MARK T.
431 INDIAN HILL ROAD
OLIN, NC 28660                                      P‐0005008 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STERLE, MARK E.
1475 SHEPPERTON DRIVE
WADSWORTH, OH 44281                                 P‐0005009 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OOMMEN, VARUGHESE
5SACHS COURT
HOPEWELL JUNCTIO, NY 12533                          P‐0005010 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KATTS, BRENDA J.
545D COVERED BRIDGE PKWY
PRATTVILLE, AL 36066                                P‐0005011 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZWEIMAN, DAVID
ZWEIMAN, DAVID
444 AVENUE X
APT 5E
BROOKLYN, NY 11223                                  P‐0005012 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
LACONTE, BRUCE N.
4347 BIG BEND ST
SIERRA VISTA, AZ 85650                              P‐0005013 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OXFORD, STEPHEN G.
OXFORD, BRENDA T.
512 HARROGATE CT.
HIGH POINT, NC 27262                                P‐0005014 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANE, ROBERT F.
6210 SUN BLVD. #601
ST. PETERSBURG, FL 33715                            P‐0005015 10/26/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
MATTHEWS, JAMES M.
2647 CASTLETOWN DR.
HEPHZIBAH, GA 30815                                 P‐0005016 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAUTER, MICHAEL J.
1803 WINDSONG CIRCLE
KELLER, TX 76248                                    P‐0005017 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAYTON, SUZIE N.
P.O. BOX 276
SWEPSONVILLE, NC 27359                              P‐0005018 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FECCI, DENNIS
FECCI, DENNIS
43 HAMLET DRIVE
MOUNT SINAI, NY 11766‐3001                          P‐0005019 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COONER, TROY
3124 STRATTON RD
JACKSONVILLE, FL 32221                              P‐0005020 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHAN, VIRGINIA F.
VIRGINIA F. MAHAN
3115 WROXTON ROAD
HOUSTON, TX 77005                                   P‐0005021 10/26/2017    TK Holdings Inc., et al .                     $100.00                                                                                       $100.00
WINFIELD, BENNY E.
5202 BROWNLEE LANE
SPRING, TX 77379                                    P‐0005022 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DYSON, TERRY W.
595 DUKE WHITTAKER RD
MOCKSVILLE, NC 27028                                P‐0005023 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWLEY, DOROTHY
CRAWLEY, DOROTHY
2575 PEACHTREE ROAD, N.E.
#17G
ATLANTA, GA 30305                                   P‐0005024 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAO, ANDREW
28 FIELDCREST AVENUE
WHEELING, WV 26003                                  P‐0005025 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWBERRY, DEANNA J.
16210 W SPUR BELL
MARANA, AZ 85653                                    P‐0005026 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREDERICK, REBECCA P.
P.O BOX 117
1168 DRONEY RD
GIFFORD, PA 16732                                   P‐0005027 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, DAN
1110 S COLLINS FWY APT 415
HOWE, TX 75459                                      P‐0005028 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
STACKHOUSE, JAQUANE I.
7346 HYANNIS DR
FAYETTEVILLE, NC 28304                             P‐0005029 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCIS, ISAIAH
1700 BEDFORD AVE
20B
BROOKLYN, NY 11225                                 P‐0005030 10/26/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
MERTHIE, CHRISTIE
304 SANORA BLVD
SANFORD, FL 32773                                  P‐0005031 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARILLE, PAUL
68 ASHWOOD RD
PORT WASHINGTON, NY 11050                          P‐0005032 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARNICOLA, LISA A.
116 GARY STREET
STATEN ISLAND, NY 10312                            P‐0005033 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NYE, BENJAMIN E.
72 BAYBERRY LANE
SOUTH BURLINGTON, VT 05403                         P‐0005034 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EL‐MUSTAFA, JOSEPH W.
TORRES, MARISSA B.
3306 N. 41ST LANE
MCALLEN, TX 78501                                  P‐0005035 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAMER, ROBERT E.
130 FRIENDS ROAD
YORKTOWN HEIGHTS, NY 10598                         P‐0005036 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLATT, JAMES R.
PLATT, DEBORAH S.
91 CENTRAL PARK WEST
APT. 8F
NEW YORK, NY 10023                                 P‐0005037 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKERNAN, MARY L.
P.O. BOX 927
BABSON PARK, FL 33827                              P‐0005038 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, PAUL F.
340 PIEDMONT GOLF COURSE ROAD
PIEDMONT, SC 29673                                 P‐0005039 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THORNDIKE, MELISSA
THORNDIKE, JEFFREY
34 WOLF CLIFF RD
WHITE, GA 30184                                    P‐0005040 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZEISSET, VALERIE
8317 MEADOWFIELD
WATERLOO                                           P‐0005041 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARME, MICHAEL T.
DENNIS, KATHLEEN M.
3301 ALEXANDRIA CT.
SOUTHLAKE, TX 76092‐3337                           P‐0005042 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROLAND, RICHARD T.
3535 LITCHFIELD COURT
CLERMONT, FL 34711                                 P‐0005043 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOUNTAIN, JASON B.
P.O. BOX 358
WOODSTOCK, GA 30188                                P‐0005044 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MCCANN, BRAD
9169 CASTLE PINES CIRCLE
MONTGOMERY, AL 36117                                 P‐0005045 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OOMMEN, VARUGHESE
5 SACHS COURT
HOPEWELL JUNCTIO, NY 12533                           P‐0005046 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHER, LAURA A.
150 ROCKLAND DRIVE
BROCKTON, MA 02301                                   P‐0005047 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABBOTT, MONICA L.
34 SAND LAKE ROAD
MONTICELLO, IL 61856                                 P‐0005048 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STURM, ROGER W.
1820 UNION DRIVE
LAKEWOOD, CO 80215‐3253                              P‐0005049 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIRRELL, MARY J.
BIRRELL, TOM G.
609 WEST 150 SOUTH
ST GEORGE, UT 84770                                  P‐0005050 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, BARY
HARRIS, ELLEN
20 WARREN RD
WILBRAHAM, MA 01095                                  P‐0005051 10/26/2017    TK Holdings Inc., et al .                     $400.00                                                                                       $400.00
ZHANG, YOON MEE
15 SPRING LN
MARLBOROUGH, MA 01752                                P‐0005052 10/26/2017    TK Holdings Inc., et al .                     $100.00                                                                                       $100.00
KATTS, BRENDA J.
545D COVERED BRIDGE PKWY
PRATTVILLE , ALABAMA 36066
                                                     P‐0005053 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYORGA, JOSE A.
NAVARRO, LUCILLE A.
1044 NE 42 TERR
HOMESTEAD, FL 33033                                  P‐0005054 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRESSON, MARY L.
1802 RAMADA BLVD. APT D
COLLINSVILLE, IL 62234                               P‐0005055 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARNICOLA, SHAUN L.
SARNICOLA, LISA A.
116 GARY STREET
STATEN ISLAND, NY 10312                              P‐0005056 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRESTON, EDWARD
1730 IRVIN STREET
NEW CASTLE, IN 47362‐2354                            P‐0005057 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALDWELL, AMY
11244 PREAKNESS DR.
FLINT, TX 75762                                      P‐0005058 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, YUNFAN
15 SPRING LN
MARLBOROUGH, MA 01752                                P‐0005059 10/26/2017    TK Holdings Inc., et al .                     $100.00                                                                                       $100.00
LUMSDEN, WILLIAM T.
209 BALDWIN AVE.
BELEN, NM 87002‐6401                                 P‐0005060 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                 Current General                                         Current 503(b)(9)
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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
THORNTON, BETTY J.
330 SHANNON COURT NW
FORT WALTON BEACH
OKALOOSA, FL 32548                                 P‐0005061 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, YUNFAN
15 SPRING LN
MARLBOROUGH, MA 01752                              P‐0005062 10/26/2017    TK Holdings Inc., et al .                     $100.00                                                                                       $100.00
LUDKE, LYNN A.
4816 N NEWHALL STREET
MILWAUKEE, WI 53202                                P‐0005063 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, MAURICE
10204 ROCK OAK TERR
CHELTENHAM, MD 20623                               P‐0005064 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUTZ, ROBERT
GRUTZ, JANE
9615 LONGMONT DRIVE
HOUSTON, TX 77063                                  P‐0005065 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOKRYCKI, SHANNON M.
626 WASHINGTON PARK BLVD
MICHIGAN CITY, IN 46360                            P‐0005066 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOCKFLETH, LAVINIA
12419 PACKARD BEND TRAIL
HOUSTON, TX 77089                                  P‐0005067 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAFFOS, WILLIAM P.
602 DRESHER DR
SPRING, TX 77373                                   P‐0005068 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, VALERIE
580 S GREENWOOD AVE
DECATUR, IL 62522                                  P‐0005069 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PITT, CAROLYN
264 VININGS RETREAT VIEW
MABLETON, GA 30126                                 P‐0005070 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALYS, JAMES W.
PACIOR‐MALYS, LYNN A.
231 MAPLE AVE
OIL CITY, PA 16301                                 P‐0005071 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHER, STEVEN H.
1444 WEMBLEY CT NE
ATLANTA, GA 30329                                  P‐0005072 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, ROBERT C.
1612 20TH STREET
VERO BEACH, FL 32960                               P‐0005073 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAMER, ROBERT E.
130 FRIENDS ROAD
YORKTOWN HEIGHTS, NY 10598                         P‐0005074 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLDWAY, GAYNES
1445 GLENVIEW RD
PALM HARBOR, FL 34683                              P‐0005075 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDS, ROBERT G.
168 VALLEY GROVE RD.
CEDARTOWN, GA 30125‐4300                           P‐0005076 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALYS, JAMES W.
PACIOR‐MALYS, LYNN A.
231 MAPLE AVE
OIL CITY, PA 16301                                 P‐0005077 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
KIEFER, CHRISTINE M.
3182 KENSINGTON ROAD
AVONDALE ESTATES, GA 30002                          P‐0005078 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUSSER, PETER S.
930 ALLENBROOK LN
ROSWELL, GA 30075                                   P‐0005079 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, E BARBARA
6 TREASURE WAY
ASHLAND, MA 01721                                   P‐0005080 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FURNEY, JACK R.
6001 SW 82 AVENUE
MIAMI, FL 33143                                     P‐0005081 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOZANO, PAUL
LOZANO, DEBBIE
614 BRANDING IRON
HOUSTON, TX 77060                                   P‐0005082 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, SCOTT N.
4404 TRAILWOOD DRIVE
GREENSBORO, NC 27407                                P‐0005083 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PITT, CAROLYN
264 VININGS RETREAT VIEW
MABLETON, GA 30126                                  P‐0005084 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELLO, CHRISTOPHER T.
101 HOPE STREET
RIDGEWOOD, NJ 07450                                 P‐0005085 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUSICK, CASSANDRA A.
1388 KIEFER BLUFFS DR
BALLWIN, MO 63021                                   P‐0005086 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAACK, IVAN A.
300 CHESTNUT AVE
WEBSTER GROVES, MO 63119                            P‐0005087 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINEDA, TIFFANY DAN C.
3207 SE 29TH BLVD
GAINESVILLE, FL 32641                               P‐0005088 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOSEPH, LAWRENCE
JOSEPH, ROBERTA T.
4420 GENERAL DRIVE
BEAUMONT, TX 77703‐2412                             P‐0005089 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, ALEXANDER L.
9014 BEARTOOTH PASS
SAN ANTONIO, TX 78255                               P‐0005090 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAREL, CRAIG D.
KAREL, DEBORAH R.
2632 GROVELAND AVE
DELTONA, FL 32725                                   P‐0005091 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILLS, JAMES M.
PROFESSIONAL AUDIT RESOURCES
7801 RANCHO DE LA OSA TRAIL
MCKINNEY, TX 75070                                  P‐0005092 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILGORE, JAMES R.
916 PONY FARM RD
KITTANNING, PA 16201                                P‐0005093 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, JOSHUA A.
4407 DONCASTER DR
MELBOURNE, FL 32935                                 P‐0005094 10/26/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
GOSS, TERRY
GOSS, CINDY
602 NORTH VICTORIA ROAD LOT 1
DONNA, TX 78537                                     P‐0005095 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUOMO, PRISCO C.
157‐28 84 STREET
HOWARD BEACH, NY 11414                              P‐0005096 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LA ROSA, ANGELA
9683 HAZEL LAKE DRIVE
JACKSONVILLE, FL 32222                              P‐0005097 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, CHARLES E.
198 ASH ROAD
BRIERFIELD, AL 35035                                P‐0005098 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSCH, MATTHEW M.
1450 CHURCH ST.
MOBILE, AL 36604                                    P‐0005099 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, CHERYL L.
ROGERS, JAMES C.
735 LILLARDS FERRY ROAD
VERSAILLES, KY 40383                                P‐0005100 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WADE, CEPHUS E.
905 CHOCTAW AVE
SELMA, AL 36701 8239                                P‐0005101 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN DAMM, GREGORY M.
3553 ROBINSON ROAD, NE
MARIETTA, GA 30068                                  P‐0005102 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALMER, KATHLEEN
PALMER, STERLING
1935 RIVERS EDGE LN
ST GEORGE, UT 84770                                 P‐0005103 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEIDER, DAVID H.
5071 WHITEWOOD WAY
LAKE WORTH, FL 33467                                P‐0005104 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, ASHLEY D.
11803 RUPLEY LANE
DALLAS, TX 75218                                    P‐0005105 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REMPE, HOWARD T.
P.O. BOX 244
DELEON SPRINGS, FL 32130                            P‐0005106 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAN, STEPHEN J.
3840 E YUCCA ST
PHOENIX, AZ 85028                                   P‐0005107 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAPSON, WILLIAM R.
24038 WATERHOLE LANE
SAN ANTONIO, TX 78261‐2380                          P‐0005108 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARLSON BUILDERS, INC.
4012 STEINHAUER ROAD
MARIETTA, GA 30066                                  P‐0005109 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, MADERRICK
HAMPTON, DONIMONIC
108 N OAK ST
WACO, TX 76705                                      P‐0005110 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIENZLE, WALTER W.
808 KENT CIR
BARTLETT, IL 60103                                  P‐0005111 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ALBA, ANTONIO A.
25 ODELL AVENUE
MILFORD, CT 06460                                     P‐0005112 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SERBEN, TYLER
81 DALTON STREET
OAKVILLE, CT 06779                                    P‐0005113 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHEELER, BRANNON K.
1750 BELLEAIR FOREST DR. C‐12
#C‐12
BELLEAIR, FL 33756                                    P‐0005114 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENGLE, TREVOR R.
2165 ANSERVILLE AVENUE
HENDERSON, NV 89044                                   P‐0005115 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JESSE R.
1213 PARK AVE
NITRO, WV 25143                                       P‐0005116 10/26/2017    TK Holdings Inc., et al .                    $1,007.40                                                                                    $1,007.40
SHEARER, TAMMY A.
190 SHELTON RD
APT 207
MADISON, AL 35758                                     P‐0005117 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELWIN, ERIC R.
10 POGY SHORE WAY
YARMOUTH, ME 04096                                    P‐0005118 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIMING, GINA M.
1109 SUNRISE DRIVE
LOVELAND, OH 45140                                    P‐0005119 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, KRISTEN H.
1701 E DEBBIE LN APT 1204
MANSFIELD, TX 76063                                   P‐0005120 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, CAROL B.
8 LARAINE COURT
NORTHFORD, CT 06472                                   P‐0005121 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALMEIDA, ROBERT A.
377 RICHARD COURT
POMONA, NY 10970                                      P‐0005122 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERSTLE, IRIS
3757 PINO VISTA WAY
ESTERO, FL 33928                                      P‐0005123 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCAMERON, CHARLES R.
103 EAST JONES
BEEVILLE, TX 78102‐3416                               P‐0005124 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABELA, PETER
33 ROBERTA LN
SYOSSET, NY 11791                                     P‐0005125 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VASQUEZ, PAMELA
380 W 2ND ST
GALESBURG, IL 61401                                   P‐0005126 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANK, ROBERT D.
724 WESSEX PLACE
ORLANDO, FL 32803                                     P‐0005127 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
R.L. HOENER CO.
2923 GARDNER EXPRESSWAY
QUINCY, IL 62305                                      P‐0005128 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, ANNA F.
1516 WHITTARD OF CHELSEA LN
PFLUGERVILLE, TX 78660                                P‐0005129 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ZAKHIREH, MOHAMMED A.
ZAKHIREH, JENNIFER L.
4340 PARAN SUMMIT CT NW
ATLANTA, GA 30327                                    P‐0005130 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINOR, CATHERINE A.
7707 WOOSTER PKWY
PARMA
, OH 44129                                           P‐0005131 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENGLUND, MARY D.
6628 MAYNARD FARM ROAD
CHAPEL HILL, NC 27516                                P‐0005132 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANZER, BRYCE D.
WINMILL, PATRICIA J.
1360 YALE AVE.
SALT LAKE CITY, UT 84105                             P‐0005133 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONEYHAN, PATRICIA A.
10779 SCOTT MILL RD
JACKSONVILLE, FL 32223                               P‐0005134 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARNICOLA, LISA A.
116 GARY STREET
STATEN ISLAND, NY 10312                              P‐0005135 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
R.L. HOENER CO.
2923 GARDNER EXPRESSWAY
QUINCY, IL 62305                                     P‐0005136 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAKHIREH, MOHAMMED A.
ZAKHIREH, JENNIFER L.
4340 PARAN SUMMIT CT NW
ATLANTA, GA 30327                                    P‐0005137 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHILLING, DENISE
TRXC TIMING LLC
10727 INDIAN HEAD IND. BLVD.
ST. LOUIS, MO 63132                                  P‐0005138 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KICKLIGHTER, CHARLTON D.
1014 BIRDFORD LAKE ROAD
GLENNVILLE, GA 30427                                 P‐0005139 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUNN, ANDREA K.
3881 E NARROWLEAF DR
GILBERT, AZ 85298                                    P‐0005140 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YEUNG, VICTOR H.
4072 DARBY LANE
SEAFORD, NY 11783                                    P‐0005141 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAYTON, SUZIE N.
1064 WEST MAIN ST
GRAHAM, NC 27253                                     P‐0005142 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, CLIFF D.
8311 COPPERGLEN
CONVERSE, TX 78109                                   P‐0005143 10/26/2017    TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
HALE, III, V. R.
149 KING ARTHUR DR
LAWRENCEVILLE, GA 30046                              P‐0005144 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAI, JIE
866 OAK LANE
VALLEY STREAM, NY 11581                              P‐0005145 10/26/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
CLAYTON, SUZIE N.
P.O BOX 276
SWEPSONVILLE, NC 27359                               P‐0005146 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
GRAY, STEPHANIE A.
1505 EAST 48TH STREET
BROOKLYN, NY 11234                                 P‐0005147 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, BRIGITTE L.
213 W MAIN ST
P.O. BOX 33
ANNA, OH 45302                                     P‐0005148 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRY, EARL
1581 MOUNTAIN LODGE TRL
BIRMINGHAM, AL 35210                               P‐0005149 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
D'ALEXANDER, ROBYN L.
104 GAINSWAY DR
NICHOLASVILLE, KY 40356                            P‐0005150 10/26/2017    TK Holdings Inc., et al .                   $21,000.00                                                                                   $21,000.00
EVANS, CAROLYN L.
117 HAZEL DR
WARNER ROBINS, GA 31088                            P‐0005151 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISER, JEFFREY M.
21801 NORTHCREST DRIVE
APT 2216
SPRING, TX                                         P‐0005152 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPECTOR, DOUGLAS M.
96 OXFORD BLVD.
GREAT NECK, NY 11023                               P‐0005153 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIN, NONG
LI, XIAOHUI
330 KINCARDINE WAY
ALPHARETTA, GA 30022                               P‐0005154 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARMITAGE, ANDREA
15311 LA MANCHA DRIVE
HOUSTON, TX 77083                                  P‐0005155 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANSING, HANY F.
75 CHESTNUT DR
WAYNE, NJ 07470                                    P‐0005156 10/26/2017    TK Holdings Inc., et al .                   $13,961.00                                                                                   $13,961.00
PAVELLE, ELIZABETH
29 HARBOR LANE
ROUND POND, ME 04564                               P‐0005157 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENTASTI, KEN
137 JACKSON CIRCLE
LOUISVILLE, CO 80027                               P‐0005158 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOVER, JUSTIN L.
3527 ABES LANDING DRIVE
GRANBURY, TX 76049                                 P‐0005159 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, STACEY
464 PINE SHADOW LANE
AUBURNDALE, FL 33823                               P‐0005160 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, JAMES D.
ROBINSON, LINDA M.
324 ARDSLEY RD
WATERBURY, CT 06708                                P‐0005161 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRINSON, KAREN
2365 CLAXTON DAIRY ROAD
DUBLIN, GA 31021                                   P‐0005162 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPECTOR, DOUGLAS M.
96 OXFORD BLVD.
GREAT NECK, NY 11023                               P‐0005163 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
LIN, NONG
LI, XIAOHUI
330 KINCARDINE WAY
ALPHARETTA, GA 30022                                P‐0005164 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREWER, CAROL J.
WELLS FARGO
208 W WASHINGTON AVE
VILLA GROVE, IL 61956                               P‐0005165 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANAND, NITIN S.
2341 BELLMORE AVE
BELLMORE, NY 11710                                  P‐0005166 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASSER, JAY D.
197 114TH AVENUE NE
SAINT PETERSBURG, FL 33716                          P‐0005167 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISS, RICHARD
67‐40 YELLOWSTONE BLVD.
APT # 5 N
FOREST HILLS, NY 11375                              P‐0005168 10/26/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GUNN, ANDREA K.
3881 E NARROWLEAF DR
GILBERT, AZ 85298                                   P‐0005169 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISER, DEBRA M.
21801 NORTHCREST DRIVE
APT 2216
SPRING, TX                                          P‐0005170 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORBET, RENE M.
720 REGENCY DR.
FISHKII, NY 12524                                   P‐0005171 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGER, BRETT M.
45 CAMELOT LANE
WESTFIELD, MA 01085                                 P‐0005172 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCOLLUM, RONALD D.
140 CASTILLO VILLAGE RD
WACO, TX 76708                                      P‐0005173 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALL, RICHARD A.
5337 ORIOLE ST
HOUSTON, TX 77017‐5517                              P‐0005174 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELSO, FELICIA
305 AQUA LYNN DRIVE
FORT WASHINGTON, MD 20744                           P‐0005175 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCK, DANIEL G.
38 JOMAR ROAD
SHOREHAM, NY 11786                                  P‐0005176 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCMAHON, CHRISTINA M.
102 FAIRHARBOR DRIVE
PATCHOGUE, NY 11772                                 P‐0005177 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOBER, DOUGLAS B.
603 COUNTRYDISE PL SE
SMYRNA, GA 30080‐8238                               P‐0005178 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISSBEIN, GARRETT
1800 BELFORD DRIVE
AUSTIN, TX                                          P‐0005179 10/26/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
VILK, IGOR
113 ALLENTOWN CT
VERNON HILLS, IL 60061                              P‐0005180 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
OTTERSTEIN, NOAH D.
659 FIELDCREST DRIVE
CRESTWOOD, MO 63126                                 P‐0005181 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABRAMS, DANIEL P.
3401 MILL CREEK COURT
CHAMPAIGN, IL 61822                                 P‐0005182 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFMAN, MITCHELL R.
3743 NAVAJO ST.
DENVER, CO 80211                                    P‐0005183 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, TUNISIA L.
1078 LEYBOURNE CV
LAWRENCEVILLE, GA 30045                             P‐0005184 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, JOANNE M.
1903 PRESTWICK LANE
WILMINGTON, NC 28405                                P‐0005185 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILK, IGOR
113 ALLENTOWN CT
VERNON HILLS, IL 60061                              P‐0005186 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERTHIE, CHRISTIE
304 SANORA BLVD
SANFORD, FL 32773                                   P‐0005187 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, KATRINA D.
VOLKSWAGEN CREDIT
6954 ROCK CLIFF CT
STONE MOUNTAIN, GA 30087                            P‐0005188 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, SAMUEL J.
P.O BOX 329
TUSKEGEE INST,, AL 36087                            P‐0005189 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCK, DANIEL G.
38 JOMAR ROAD
SHOREHAM, NY 11786                                  P‐0005190 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, LUPE
312 PARK AVENUE
PEWAUKEE, WI 53072                                  P‐0005191 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEAVER, ELLA
7002 ANNIE WALK
LITHONIA, GA 30038                                  P‐0005192 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORTON, RICHARD A.
555 WESLEY DRIVE
LANCASTER, KY 40444                                 P‐0005193 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORLIK HILL, KASEY A.
ORLIK HILL, TATE F.
1141 E FAIRVIEW AVE H‐101
MERIDIAN, ID 83642                                  P‐0005194 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, LARRY
173 CAMP ROAD
RED HOOK, NY 12571                                  P‐0005195 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, ROBERT J.
794 W BOUTZ RD
LAS CRUCES, NM 88005                                P‐0005196 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YESKEY, RONALD G.
3080 GLENVIEW DR
AIKEN, SC 29803                                     P‐0005197 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILBERT, BREASIA L.
1521 CASSIB STREET
BRYAN, TX 77803                                     P‐0005198 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SPAGNUOLO, MARTHA L.
11352 DESTINATION DRIVE
BROOMFIELD, CO 80021                                 P‐0005199 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWERY, STEPHANIE
P.O. BOX 536
KANNAPOLIS, NC 28082                                 P‐0005200 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DALESIO, PETER R.
2941 WHISPERING PINES DR
CANFIELD, OH 44406                                   P‐0005201 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLITZ, BRIAN A.
135 WIMBLEDON LANE
OWINGS MILLS, MD 21117                               P‐0005202 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, SHONDRICA V.
7927 BUFFALO VIEW LN
CYPRESS, TX 77433                                    P‐0005203 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEDEROS, ALEXIS M.
GUTIERREZ, YOLANDA
7760 NW 171 ST
HIALEAH, FL 33015                                    P‐0005204 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGARRY, FINBAR P.
397 ETHAN ALLEN AVE # 209
COLCHESTER, VT 05446                                 P‐0005205 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, SHONDRICA V.
7927 BUFFALO VIEW LN
CYPRESS, TX 77433                                    P‐0005206 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORTON, RICHARD A.
555 WESLEY DRIVE
LANCASTER, KY 40444                                  P‐0005207 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBER, CECILIA M.
614 PAMELA RD
GLEN BURNIE, MD 21061                                P‐0005208 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORDON, LASHONTA M.
P.O. BOX 593
ELK GROVE, CA 95759                                  P‐0005209 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSSO, RONALD C.
81 GERRITSEN AVENUE
BAYPORT, NY 11705                                    P‐0005210 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAZIO, SUSAN L.
31129 WRENCREST DRIVE
WESLEY CHAPEL, FL 33543                              P‐0005211 10/26/2017    TK Holdings Inc., et al .                     $900.00                                                                                       $900.00
HARTFORD, JEFFERY N.
1531 MCARTHUR DRIVE
DUNCANVILLE, TX 75137                                P‐0005212 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SYED, TALIBUDDIN
19688 E FAIR DRIVE
AURORA, CO 80016                                     P‐0005213 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENA SALAS, ANAYANNCYE
1650 WESTBROOK DR
COLUMBUS, OH 43223                                   P‐0005214 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, VERNON A.
KING, PAULA T.
15 CARRIAGE HOUSE WAY
THE WOODLANDS, TX 77384                              P‐0005215 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RHOADS, STEVEN M.
P.O.BOX1888
LAPORTE, TX 77572                                    P‐0005216 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WINFIELD, PEARLINE
5202 BROWNLEE LANE
SPRING, TX 77379                                    P‐0005217 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOPER, GARY
4500 MCGINNIS FERRY RD
ALPHARETTA, GA 30005                                P‐0005218 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAIG, STEVEN B.
CRAIG, TIFFANY L.
11061 N ORIOLE LANE
MEQUON, WI 53092                                    P‐0005219 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEICH, KAREN A.
13383 NORTHUMBERLAND CIRCLE
WELLINGTON, FL 33414                                P‐0005220 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRAUGHTER, STANLEY
1910 HICKORY LAWN DR.
HOUSTON, TX 77077                                   P‐0005221 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, CAROLYN L.
117 HAZEL DR
WARNER ROBINS, GA 31088                             P‐0005222 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLEY, DARLENE R.
12700 STAFFORD ROAD, APT. 117
STAFFORD, TX 77477                                  P‐0005223 10/26/2017    TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
LEWIS, SHIRLEY M.
985 EUCLID STREET
BEAUMONT, TX 77705                                  P‐0005224 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, KIMBERLY P.
2971 BROOKSIDE RUN
SNELLVILLE, GA 30078                                P‐0005225 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HYDER, MARY SUE J.
629 CHESTNUT STUMP ROAD
HENDERSONVILLE, NC 28792                            P‐0005226 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, PAULA T.
KING, VERNON A.
15 CARRIAGE HOUSE WAY
THE WOODLANDS, TX 77384                             P‐0005227 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, HEATHER M.
4042 WHITEMARK CT
LEXINGTON, KY 40516                                 P‐0005228 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACDONALD, M. A.
5 BOWIE HILL RD
DURHAM, ME 04222                                    P‐0005229 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILBERT, ELENOR J.
GILBERT, STEPHEN A.
811 COUNTRY STONE DR.
MANCHESTER, MO 63021                                P‐0005230 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAY, JUDITH L.
1111 WATER FRONT RD
GREENSBORO, GA 30642                                P‐0005231 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHUTTERS, MARY R.
7820 N MOHAWK RD
FOX POINT, WI 53217‐3122                            P‐0005232 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, DERRICK
3124 SHADOW WOOD DRIVE
DALLAS, TX 75224                                    P‐0005233 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
LEVERETTE, MARY M.
104 BRASS LANTERN WAY
COLUMBIA
, SC 29212                                          P‐0005234 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANFORD, DEBORAH A.
SANFORD, ROBERT J.
32 LYNNE TERRACE
SHELTON, CT 06484                                   P‐0005235 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVY, MICHAEL T.
208 EL SALTO ROAD
EL PRADO, NM 87529                                  P‐0005236 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACDONALD, MARILOU A.
5 BOWIE HILL RD
DURHAM, ME 04222                                    P‐0005237 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALMEIDA, ROBERT A.
377 RICHARD COURT
POMONA, NY 10970                                    P‐0005238 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RONIN, KENNETH I.
34 ROOSEVELT DRIVE
VALHALLA, NY 10595                                  P‐0005239 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNHALL, SUSAN P.
269 KICK HILL RD
LEBANON, CT 06249                                   P‐0005240 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADLER, KERRIE K.
7400 NE 98TH CIRCLE
OKLAHOMA CITY, OK 73151                             P‐0005241 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHVARTSMAN, ILYA
1222 E DAKOTA ST
MILWAUKEE, WI                                       P‐0005242 10/26/2017    TK Holdings Inc., et al .                    $2,200.00                                                                                    $2,200.00
CHIN, SHELLEY
37 ANTHEM CREEK CIRCLE
HENDERSON, NV 89052                                 P‐0005243 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBBARD, GAIL A.
HUBBARD, LEE C.
8230 EAST JUAN TABO ROAD
SCOTTSDALE, AZ 85255                                P‐0005244 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMOS, SANTOS
1834 NARRAGANSETT BLVD
LORAIN, OH 44053                                    P‐0005245 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIELS, ALFRED
ALFRED DANIELS
3780 SKYROS DRIVE
DAYTON, OH 45424                                    P‐0005246 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIPLEY, RENE L.
SHIPLEY, BRUCE L.
18837 STATE HIGHWAY 89
SPARTANSBURG, PA 16434                              P‐0005247 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRCHER, CHARLES E.
930 RAINBOW RIDGE ST
LAS CRUCES, NM 88007‐4744                           P‐0005248 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABRAMS, LARRY
1036 CHADS RIDGE
JONESBORO, GA 30236                                 P‐0005249 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SOLIZ, ERCILIA M.
3727 FALLS DR
DALLAS TX
DALLAS                                              P‐0005250 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDOWELL, JEFFREY S.
9523 N FITZGERALD WAY
MISSOURI CITY, TX 77459                             P‐0005251 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCAMERON, CHARLES R.
103 EAST JONES
BEEVILLE, TX 78102‐3416                             P‐0005252 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NENNI, ROBERT H.
1104 COUNTRY CLUB DR
NEW BERN, NC 28562                                  P‐0005253 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICHOLS, GREGORY A.
5070 SW 120TH AVE
COOPER CITY, FL 33330                               P‐0005254 10/26/2017    TK Holdings Inc., et al .                    $5,950.00                                                                                    $5,950.00
SMITH, MARK A.
SMITH, SUSAN M.
158 VIA SEDILLO
TIJERAS, NM 87059                                   P‐0005255 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GODWIN, BRIAN
1701 MARINER BAY BLVD
FORT PIERCE, FL 34949                               P‐0005256 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JR, GEORGE F.
MILLER, CAROLYN T.
2810 HUNTERS POND LANE
SNELLVILLE, GA 30078                                P‐0005257 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIEVE, ROBERT M.
55 KENT LN
APT L‐117
NASHUA, NH 03062                                    P‐0005258 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLIZ, ERCILIA
3727 FALLS DR
DALLAS, TX 75211                                    P‐0005259 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROELOFS, NINA
ROELOFS, ANDREAS K.
2045 TORREON
LOS ALAMOS, NM 87544                                P‐0005260 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, MARY J.
4913 OVERLAND NE
ALBUQUERQUE, NM 87109                               P‐0005261 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYNES, RICHARD D.
3321 46TH AVENUE LANE NE
HICKORY, NC 28601                                   P‐0005262 10/26/2017    TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
MILLER, JR, GEORGE F.
MILLER, CAROLYN T.
2810 HUNTERS POND LANE
SNELLVILLE, GA 30078                                P‐0005263 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREY, THOMAS C.
6017 EURITH AVENUE
BALTIMORE, MD 21206                                 P‐0005264 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFE, ALISA J.
DALE, ADRIAN S.
708 FOREST ST
WINFIELD, IL 60190                                  P‐0005265 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PERRY, SHELIA
POB 23883
TEMPE, AZ 85285                                     P‐0005266 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, COLETTA M.
4917 HIDDEN CREEK PLACE
DECATUR, GA 30035                                   P‐0005267 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILKERSON, WARREN N.
1508 PASCAGOULA STREET
PASCAGOULA, MS 39567                                P‐0005268 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANKLIN, NATHANIEL E.
FRANKLIN, TELEATHA A.
14342 MOOREVIEW LN
HOUSTON, TX 77014                                   P‐0005269 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDMAN, MAURICIO I.
3018 FALLSTAFF MANOR CT I
BALTIMORE, MD 21209                                 P‐0005270 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTEIRO, OSCAR G.
9 COREY AVENUE
BROCKTON, MA 02301                                  P‐0005271 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENDA, RICHARD N.
137 AARONVALE CIRCLE
BIRMINGHAM, AL 35242                                P‐0005272 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRIN, JENNIFER
1013 E CARPENTER
MOBERLY, MO 65270                                   P‐0005273 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLUMENFRUCHT, STEVEN
411 OGDEN AVE
TEANECK, NJ 07666                                   P‐0005274 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLSON, RICKY A.
COLSON, MARTHA C.
38 THOMAS SUMTER ST
BEAUFORT, SC 29907                                  P‐0005275 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIRTH, STEVE
2844 PARTRIDGE LN
ENTERPRISE, AL 36330                                P‐0005276 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLUMENFRUCHT, STEVEN
411 OGDEN AVE
TEANECK, NJ 07666                                   P‐0005277 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANKLIN, TELEATHA E.
FRANKLIN, NATHANIEL E.
14342 MOOREVIEW LN
HOUSTON, TX 77014                                   P‐0005278 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BULLOCK, ORREN R.
BULLOCK, CHRISTINE R.
4232 BEECH CREEK TRAIL
EFLAND, NC 27243‐9271                               P‐0005279 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ ANTONET, VICTOR M.
501 PALISADE AVE
APT. 3
JERSEY CITY, NJ 07307                               P‐0005280 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, KRISTEN R.
9210 COMANCHE PEAK LN
HOUSTON, TX 77089                                   P‐0005281 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
LIFSHITZ, BORIS
1279 HUNTINGTON DR
MINDELEIN
MUNDELEIN, IL 60060                                P‐0005282 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMMONS, DAWN
367 COG HILL DRIVE
FAIRBURN, GA 30213                                 P‐0005283 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEEDHAM, MARK
2601 BERKELEY AVE
AUSTIN, TX 78745                                   P‐0005284 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLUMENFRUCHT, STEVEN
411 OGDEN AVE
TEANECK, NJ 07666                                  P‐0005285 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHENEY, SHARON
2332 CAMINO DEL PRADO
SANTA FE, NM 87507                                 P‐0005286 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, THOMAS F.
5430 SOUTHLAKE DR
PACE, FL 32571                                     P‐0005287 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSTON, SARAH
7 SUOSSO LANE
#1
PLYMOUTH                                           P‐0005288 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUSOKE, WILLIAM W.
59 HEYWOOD ST
WORCESTER, MA 01604                                P‐0005289 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELLER, TODD
43 GLORIA DRIVE
ALLENDALE, NJ 07401                                P‐0005290 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OZUZU, AKANU R.
703 IVY CHASE LAND
NORCROSS, GA 30092                                 P‐0005291 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EINSTEIN, EVAN
45 ASPEN RD
SHARON, MA 02067                                   P‐0005292 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AKROY, KENNETH P.
201 LOVELLS LANE
MARSTONS MILLS, MA 02648                           P‐0005293 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, MATTEHW N.
25 CENTRAL ST #2
TURNERS FALLS, MA 01376                            P‐0005294 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACK, LATOYA
MACK, LATOYA
220 ENNISBROOK DR SE
SMYRNA, GA 30082                                   P‐0005295 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOSEMAN, LATRICIA F.
4424 SILVERTON ROAD
AUGUSTA, GA 30909                                  P‐0005296 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BULLOCK, ORREN R.
BULLOCK, CHRISTINE R.
4232 BEECH CREEK TRAIL
EFLAND, NC 27243‐9271                              P‐0005297 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIVOVARNIK, TIMOTHY P.
2805 NORTHEAST EXPRESSWAY NE
UNIT A22
ATLANTA, GA 30345                                  P‐0005298 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CENTEIO, MARIA L.
9 COREY AVENUE
BROCKTON, MA 02301                                  P‐0005299 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWSOME, MORG G.
NEWSOME, PATRICIA L.
9687 KY ROUTE 979
TEABERRY, KY 41660                                  P‐0005300 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECKER, RACHAEL
1425 17TH AVENUE NORTH
ST PETERSBURG, FL 33704                             P‐0005301 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, EILEEN B.
2429 STEVEN AVE
SIDNEY, NE 69162                                    P‐0005302 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, THOMAS R.
MOORE, ARIELLE
329 PINCHBACK RD
BEAUMONT, TX 77707                                  P‐0005303 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUDOLPH, ANTOINETTE
984 MAPLE LEAF DR
MCDONOUGH, GA 30253                                 P‐0005304 10/26/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
BULLOCK JR, ORREN R.
NO ADDRESS PROVIDED
                                                    P‐0005305 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCK, CYNTHIA G.
38 JOMAR ROAD
SHOREHAM, NY 11786                                  P‐0005306 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICKARDS, KIMBERELY
DAILEY, RICHARD
45 NORRIDGEWOCK AVE
SKOWHEGAN, ME 04976                                 P‐0005307 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANE, TONYA R.
3715 BOWIE AVE
ODESSA, TX 79762                                    P‐0005308 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTYNSKI, RONALD K.
42286 W OAKLAND DR
MARICOPA, AZ 85138                                  P‐0005309 10/26/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
DURSO, JOHN
391 N MAIN ST
ATTLEBORO, MA 02703                                 P‐0005310 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OBERHAUSER, BART A.
88 CEDAR RUN RD.
BAYVILLE, NJ 08721                                  P‐0005311 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, CONTONA K.
JOHNSON, JAMES R.
12415 CR 315
NAVASOTA, TX 77868                                  P‐0005312 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON‐HUNSAKER, MARCIA L.
2532 SPRING RAIN DR
MESQUITE, TX 75181                                  P‐0005313 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, BRENT
MORGAN, CHANDA
3002 YAUPON PL
AMARILLO, TX 79124                                  P‐0005314 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENSON, CRYSTAL G.
107 BOONE HILL RD
BENTON, KY 42025                                    P‐0005315 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
FIELDS, ASHLEY F.
FIELDS, SHARON C.
14611 WHISTLING OAKS DR.
MONTGOMERY, TX 77356                                P‐0005316 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, KRISTEN R.
9210 COMANCHE PEAK LN
HOUSTON, TX 77089                                   P‐0005317 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMDIN, ANN L.
7673 COLONIAL BEACH ROAD
PASADENA, MD 21122                                  P‐0005318 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, RONALD R.
WRIGHT, JANINE M.
P.O. BOX 603
ROCHESTER, NH 03866                                 P‐0005319 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACKWELL, ALICE L.
425 N ORANGE AVENUE, SUITE 20
ORLANDO, FL 32801                                   P‐0005320 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN BEETZ, HARRY
VAN BEETZ, HARRY
20 CARROL LANE
CARY, IL 60013                                      P‐0005321 10/26/2017    TK Holdings Inc., et al .                    $1,650.00                                                                                    $1,650.00
BAUGH, ARICA M.
BAUGH, ARICA M.
1051 MORELAND DR SE UNIT 3
ATLANTA, GA 30315                                   P‐0005322 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIELDS, ASHLEY F.
FIELDS, SHARON C.
14611 WHISTLING OAKS DR.
MONTGOMERY, TX 77356                                P‐0005323 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LHEUREUX, ROBERT L.
8 BRYDEN ROAD
SOUTHBOROUGH, MA 01772                              P‐0005324 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRAL, YVONNE C.
3348 N SAFFRON
MESA, AZ 85215                                      P‐0005325 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAO, SUNKARA RAJ
2352 OLIVIA LN
LITTLE ELM, TX 75068                                P‐0005326 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOTLEY, GARY C.
MOTLEY, GARY
2246 ROSWELL RD.
MARIETTA, GA 30062                                  P‐0005327 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUNG, MINGKUEI E.
1520 HIGH SCHOOL DR
SAINT LOUIS, MO 63144                               P‐0005328 10/26/2017    TK Holdings Inc., et al .                    $4,500.00                                                                                    $4,500.00
MILLER, SHIRLEY D.
232 BROOKWOOD LN
EAST PATCHOGUE, NY 11772                            P‐0005329 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, ALFREDO M.
MARTINEZ, OLIVIA H.
18004 MORETO LOOP
PFLUGERVILLE, TX 78660‐5307                         P‐0005330 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERMAN, WANDA
1679 PALMETTO STREET
APT. 3R
RIDGEWOOD, NY 11385                                 P‐0005331 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ACREE, GREGORY A.
ACREE, LISA K.
950 PARTRIDGE LANE
LOUISVILLE, IL 62858                                 P‐0005332 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIGDON, RONALD G.
9713 HOLLOWBROOK DR
PENSACOLA, FL 32514                                  P‐0005333 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCK, DANIEL G.
38 JOMAR ROAD
SHOREHAM, NY 11786                                   P‐0005334 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, PAUL L.
7271 LEMON GRASS DRIVE
PARKLAND, FL 33076                                   P‐0005335 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIU, MENGDI
165 PEARL ST
APT 54E
SEYMOUR, CT 06483                                    P‐0005336 10/26/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
SAUNDERS, FRED K.
SAUNDERS, SHAROL L.
5400 S. HARDY DR. #112
TEMPE, AZ 85283‐1797                                 P‐0005337 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANTERBERRY, KEVIN
VITEZ, ANTHONY
7927 RAGLAN DR NE
WARREN, OH 44484                                     P‐0005338 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, ARTHUR R.
DAVIS, HELEN A.
2235 W HUNTINGTON DR
BEVERLY HILLS, FL 34465                              P‐0005339 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENVENUTI, BRET D.
115 CHESNUT HEATH CT
MADISON, AL 35756                                    P‐0005340 10/26/2017    TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
VOTAW, LINDA S.
VOTAW, DENNIS R.
1706 JUDY LN
DEKALB, IL 60115‐1802                                P‐0005341 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANTROBUS, ROBERT J.
689 ANDOVER VILLAGE PL
LEXINGTON, KY 40509‐1928                             P‐0005342 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIS, MICHAEL K.
1601 ABBEY CIRCLE
ASHEVILLE, NC 28805                                  P‐0005343 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOUALLEM, PIERRE A.
632 CONOVER RD
DURHAM, NC 27703                                     P‐0005344 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TROUTMAN, CARRIE J.
509 SOUTH PIKE ROAD
SARVER, PA 16055                                     P‐0005345 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIELS, ELIZABETH A.
63 WICKHAM COURT
WESTBROOK, CT 06498                                  P‐0005346 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHULTZ, JULIE L.
604 HARLEQUIN DRIVE
MCKINNEY, TX 75070                                   P‐0005347 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
RUIZ, JORGE
1301 W. FRED ST
WHITING, IN 46394                                  P‐0005348 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COUCHMAN, PAUL R.
COUCHMAN, DOROTHY S.
7121 HARDWOOD TRL
DALAS, TX 75249                                    P‐0005349 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUETTEMEYER, GEORGE D.
29 IVYBROOK CT
WENTZVILLE, MO 63385                               P‐0005350 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILBANE, JANET R.
KILBANE, THOMAS P.
10633 GETTYSBURG RD
NEWBURGH, IN 47630                                 P‐0005351 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLATT, GALE
NO ADDRESS PROVIDED
                                                   P‐0005352 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICARLO, VINCENT
DICARLO, MARYANN
17 MARTIN TERRACE
ANSONIA, CT 06401                                  P‐0005353 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, RECHELL
1516 LINDA LANE
LANCASTER, TX 751324                               P‐0005354 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHELTON, STEPHEN E.
310 SHERIDAN TRL
IRVING, TX 75063                                   P‐0005355 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCORMICK, KRISTI E.
P.O. BOX 41
CLOVER, SC 29710                                   P‐0005356 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, MARGARET
7888 JOLAIN DRIVE
MONTGOMERY, OH 45242                               P‐0005357 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRISON, RALEIGH A.
7518 WEDELIA
PUNTA GORDA, FL 33955                              P‐0005358 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAWLAK, ANTHONY W.
26 FULLER STREET
MIDDLEBORO, MA 02346                               P‐0005359 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEITER, MICHAEL W.
905 MONTE AVE
FALLSTON, MD 21047                                 P‐0005360 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUKRAMANI, AMNARJ
1408 MILLSTREAM LANE
#206
DUNEDIN, FL 34698                                  P‐0005361 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLENTROY, TARMARA M.
6209 BOCAGE DR
SHREVEPORT, LA 71119                               P‐0005362 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALENTINO, PHILIP C.
47 S. TAMARACK WAY
NAMPA, ID 83651                                    P‐0005363 10/26/2017    TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
ABAKAH, BOBBY N.
163 HOPE CIRCLE
HEBRON, OH 43025                                   P‐0005364 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
HECTOR, TIFFANY
812 DEER LAKE TRAIL
STONE MOUNTAIN, GA 30087                           P‐0005365 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATERS, JAMES
10641 LOCKWOOD
OAK LAWN, IL 60453                                 P‐0005366 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDANIEL, LANISHA C.
2412 CASCADES PT
OWENSBORO, KY 42301                                P‐0005367 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDENBERG, JULIANA
6706 SHELL FLOWER LANE
DALLAS, TX 75252                                   P‐0005368 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HECTOR, TIFFANY
812 DEER LAKE TRAIL
STONE MOUNTAIN, GA 30087                           P‐0005369 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WLLIAMS, PETER J.
CARYL‐WILLIAMS, ARLENE
2243 ROSEMOORE WALK
MARIETTA, GA 30062                                 P‐0005370 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOIDEL, RICHARD K.
436 LIBERTY AVENUE
APARTMENT #2
JERSEY CITY, NJ 07307                              P‐0005371 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEPHERD, JERRY
672 WEST 770 SOUTH
WOODS CROSS, UT 84087                              P‐0005372 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHELTON, STEPHEN E.
310 SHERIDAN TRL
IRVING, TX 75063                                   P‐0005373 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREEMAN, DIANA K.
3923 SANTIAGO STREET
SEBRING, FL 33872                                  P‐0005374 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARDNER, RICHARD
261 BROADWAY 8A
NEW YORK, NY 10007                                 P‐0005375 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIELDEN, KENNETH E.
FIELDEN, MISTY D.
1011 RANDY ANN CT
NEW CASTLE, IN 47362                               P‐0005376 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCAFFREY, SUSAN C.
3272 WATERBURY DRIVE
WANTAGH, NY 11793                                  P‐0005377 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMPSON, THOMAS E.
1624 ELM RD NE
WARREN, OH 44483                                   P‐0005378 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRY, MARY C.
124 ROSELAND TERRACE
MARSTONS MILLS, MA 02648                           P‐0005379 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDMAN, KENNETH
129 SUMMER ST
WESTWOOD, MA 02090                                 P‐0005380 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRISON, JEFF J.
MORRISON, LEIGH C.
7518 WEDELIA
PUNTA GORDA, FL 33955                              P‐0005381 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
WEY, EMILY
1801 WYNKOOP ST
APT 302
DENVER, CO 80202                                   P‐0005382 10/26/2017    TK Holdings Inc., et al .                   $35,000.00                                                                                   $35,000.00
CAMPBELL, DONALD R.
5 QUINCY AVENUE
HINGHAM, MA 02043                                  P‐0005383 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLITO, BONNIE L.
17 MAPLE LANE
WHITEHOUSE STA., NJ 08889                          P‐0005384 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HU, HAIXIN
302 HARRISON AVE
WESTFIELD, NJ 07090‐2437                           P‐0005385 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABASCAL‐MONTALVO, ISIDRO
2976 MARION AVENUE
APT. 3E
BRONX, NY 10458                                    P‐0005386 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYAN, MEGHAN
2041 FANNIN STATION NORTH
HOUSTON, TX 77045                                  P‐0005387 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, MEGEN C.
2940 PALLANZA DR S
SAINT PETERSBURG, FL 33705                         P‐0005388 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSER, TERRI L.
617 LORI DR
BOONVILLE, MO 65233                                P‐0005389 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RATLIFF, SANDRA M.
RATLIFF, DAVID W.
3200 PIONEER ST
OKLAHOMA CITY, OK 73107                            P‐0005390 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANLEY, DANIEL M.
HANLEY, SUSAN B.
2348 OXFORD ST
EAST MEADOW, NY 11554‐3041                         P‐0005391 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOVAK, RONALD W.
6282 AUBURN RD
CONCORD, OH 44077                                  P‐0005392 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCAFFREY, JAMES E.
3272 WATERBURY DRIVE
WANTAGH, NY 11793                                  P‐0005393 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWELL, SCOT M.
CROWELL, MARGARET L.
8 E. CUSTER ST.
LEMONT, IL 60439                                   P‐0005394 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DASSOW, ARDELE L.
17697 W STONE MANOR COURT
GRAYSLAKE, IL
LAKE                                               P‐0005395 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FURGANG, NANCIE
1242 ROCKROSE RD NE
ALBUQUERQUE, NM 87122                              P‐0005396 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUDETTE, JESSE J.
755 BEACON CIRCLE
SPRINGFIELD, MA 01119                              P‐0005397 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MAMGAI, ARUN
4845 EDGEMOORE TRACE
CUMMING, GA 30040                                   P‐0005398 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAIN, JAMES E.
MAIN, CAMILLE D.
9 CAVENDISH COURT
DALLAS, TX 75225‐2456                               P‐0005399 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIETA, ANDREW S.
17 TAFTVILLE OCCUM ROAD
UNIT 11
NORWICH, CT 06360                                   P‐0005400 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, FRANKIE
58 PROSPECT ST APT B
RUTLAND, VT 05701                                   P‐0005401 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUYNN, JEFFREY H.
9 GROVE PARK RD
DURHAM, NC 27705                                    P‐0005402 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGNUS, RUTH M.
139 STONEGATE DR.
FREDERICK, MD 21702                                 P‐0005403 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYNCH, NICHOLAS D.
11655 ASHTON RD.
NORTHEAST, PA 16428                                 P‐0005404 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEYMAN, FRANK C.
8458 JARDIM WAY
SANDY CITY, UT 84093                                P‐0005405 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUERIO, LAURIE B.
5627 W SOUTHGATE AVE
PHOENIX, AZ 85043                                   P‐0005406 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZONG, XIANG
6516 BRODIE BLVD
DUBLIN, OH 43017                                    P‐0005407 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, BRENDA S.
ROBINSON, RICHARD D.
814 BRAZOS STREET
GRAHAM, TX 76450                                    P‐0005408 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWELL, SCOT M.
CROWELL, MARGARET L.
8 E. CUSTER ST.
LEMONT, IL 60439                                    P‐0005409 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENINCIG, CHRYSTAL
2274 GRAND CONCOURSE
#5C
BRONX, NY 10457                                     P‐0005410 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIEVE, MARILYN
55 KENT LN
APT L‐117
NASHUA, NH 03062                                    P‐0005411 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKHARDT, PETER W.
111 CEDAR STREET, APT 3
CLINTON, MA 01510                                   P‐0005412 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEGELMANN, WILLIAM E.
1 E. LINCOLN STREET
MOUNT MORRIS, IL 61054                              P‐0005413 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
RICEBENTON, PAMILLA A.
4455 OLD CARVER SCHOOL RD
WINSTON‐SALEM, NC 27105                            P‐0005414 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAWLIK‐YORK, PATRICIA M.
295 ABIGAIL DRIVE
COLCHESTER, VT 05446                               P‐0005415 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLOCEK, ROBERT D.
101 CANTON ST
NORTH EASTON, MA 02356                             P‐0005416 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEYMAN, FRANK C.
8458 JARDIM WAY
SANDY CITY, UT 84093                               P‐0005417 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VURNO, CHARLES T.
435 DAVIS AVE
STATEN ISLAND, NY 10310                            P‐0005418 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARETTE, HOWARD P.
1501 EAST GROVE
BLOOMINGTON, IL 61701                              P‐0005419 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNSIDE, JENNIFER
208 WILLOW LEAF DR
SENECA, SC 29672                                   P‐0005420 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ATCHLEY, CINDI L.
17697 W STONE MANOR COURT
GRAYSLAKE, IL 60030                                P‐0005421 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, DERRICK
42 PONDFIELD ROAD WEST
2C
BRONXVILLE, NY 10708                               P‐0005422 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, JAMES R.
3427 RANDOLPH ST
JACKSONVILLE, FL 32207                             P‐0005423 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENCE, MICHAEL A.
18601 CLOVER HILL LANE
OLNEY, MD 20832                                    P‐0005424 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOY, KRISTA
P.O. BOX 164011
AUSTIN, TX 78716                                   P‐0005425 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONG, LINDA L.
1484 WETHERSFIELD DR
OFALLON, MO 63368‐8845                             P‐0005426 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KATSANOS, NICHOLAS V.
KATSANOS, CHRISTINA
8 FARVIEW AVENUE
RANDOLPH, NJ 07869                                 P‐0005427 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARCHER, CRYSTAL P.
21103 BARTON HOLLOW LN
RICHMOND, TX 77407                                 P‐0005428 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, JULIANNE L.
WARD, MARY
4850 ROCK BARN ROAD
CLAREMONT                                          P‐0005429 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORAN, THOMAS M.
4330 SOUTH JASMINE DRIVE
CHANDLER, AZ 85249                                 P‐0005430 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
READ, STEPHEN B.
READ, JANET L.
9 PHYLMOR DR
WESTBORO, MA 01581                                  P‐0005431 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRYOR, JALEN C.
REED, ROGER R.
111 SCHOOL STREET
GLEN CARBON, IL 62034                               P‐0005432 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OCCHINO, ANN G.
1101 SALTON DR.
AKRON, OH 44333                                     P‐0005433 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIBBLE II, ROBERT L.
614FAIR AVE NW
NEW PHILADELPHIA, OH 44663                          P‐0005434 10/26/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MILLER, ROBERT A.
14419 MISTY VALLEY RD
PHOENIX, MD 21131                                   P‐0005435 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, KIMBERLY M.
1 MAYFAIR ROAD
ST. LOUIS, MO 63124                                 P‐0005436 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERNER, FELIX
2834 ROCK BRIDGE RD
MARIETTA, GA 30066                                  P‐0005437 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUCAS, SCOTT D.
3426 KREITLER ROAD
FOREST HILL, MD 21050                               P‐0005438 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUCEY, DAVID M.
6109 N. LAKE DRIVE
MILWAUKEE, WI 53217                                 P‐0005439 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODFARB, CHRISTINE
1637 W. ORCHID LN
PHOENIX, AZ 85021                                   P‐0005440 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLINN, JANICE I.
40 MAIN ST
PLAISTOW, NH 03865                                  P‐0005441 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, KIMBERLY M.
1 MAYFAIR RD
ST. LOUIS, MO 63124                                 P‐0005442 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, KIMBERLY
1020 WEAVER RD
MARION, AL 36756                                    P‐0005443 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULL, DAVID J.
CULL, RENEE' A.
WOODBURY HOMES, LLC
2069 HWY CC
HARTFORD, WI 53027                                  P‐0005444 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMPION, BARRY F.
14 BENNINGTON DR NW
ROME, GA 30165                                      P‐0005445 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUERRA, VINCENT C.
14797 BOMBAY CT
EL PASO, TX 79928                                   P‐0005446 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, TEYA
636 MARYLAND AVE
ROCKFORD, IL 61102                                  P‐0005447 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
LAWRENCE, ANN M.
3631 S CHATTERLEIGH RD
WEST VALLEY, UT 84128                              P‐0005448 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORAWSKI, HENRY J.
112 LOIS DRIVE
PEARL RIVER, NY 10965                              P‐0005449 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOEHRMAN, DIANE
5433 FOREST RIDGE DRIVE
LOGANVILLE, GA 30052                               P‐0005450 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, ROBERTA
124 FOXWOOD RD
LAKEWOOD, NJ 08701                                 P‐0005451 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALVO, SHERRI
339 DERBYSHIRE LN
RIVA, MD 21140                                     P‐0005452 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EMERY, DONNA L.
9892 E CISCO CT
TUCSON, AZ 85748                                   P‐0005453 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORILAK, SUSAN P.
216 25TH ST NW
BARBERTON, OH 44203                                P‐0005454 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SASSER, MICHAEL A.
1432 KELLY CT.
POCATELLO, ID 83201                                P‐0005455 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAXWELL, CHRISTIE S.
134 CARTER STREET
CRESTON, OH 44217                                  P‐0005456 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLYNN, LAURIE J.
4784 PRESTWICK CROSSING
WESTLAKE, OH 44145                                 P‐0005457 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTTERFIELD, HERSCHEL
LAST NAME
929 SO 80TH ST
MESA, AZ 85208                                     P‐0005458 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, WILLIAM V.
640 AMERICAS CUP CV
ALPHARETTA, GA 30005                               P‐0005459 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRICK, STEPHEN E.
HERRICK, CATHY K.
4 HATHAWAY COMMONS DRIVE
LEBANON, OH 45036                                  P‐0005460 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNIGHT, LEONARD E.
26 N. MAIN ST.
APT. 304
SAINT ALBANS, VT 05478                             P‐0005461 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARSIO, JOHN F.
316 FOREST VALLEY RD
PLEASANT VALLEY, NY 12569                          P‐0005462 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEVOE, DIANA L.
6734 CORTONA LANE
FRISCO, TX 75034                                   P‐0005463 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KYLE‐RIMKUS, LINDA K.
RIMKUS, RICHARD L.
9570 PERRETT LANE
9570 PERRETT LANE
BELVIDERE, IL 61008                                P‐0005464 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
SCARBROUGH, DEBORAH H.
2578 WILDHURST TRAIL
PACE, FL 32571                                     P‐0005465 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
READ, STE B.
9 PHYLMOR DR
WESTBORO, MA 01581                                 P‐0005466 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORMIER, TINA L.
52 LEAMY ST
GARDNER, MA 01440                                  P‐0005467 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLYNN, DENNIS P.
4784 PRESTWICK CROSSING
WESTLAKE, OH 44145                                 P‐0005468 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUETTEMEYER, GEORGE D.
29 IVYBROOK CT
WENTZVILLE, MO 63385                               P‐0005469 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, WILLIAM J.
1127 HAMLIN ROAD
N/A
MOUNT PLEASANT, SC 29466                           P‐0005470 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAHN, KIMBERLY R.
235 W END AVE APT 2G
NEW YORK, NY 10023                                 P‐0005471 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEMING‐SMITH, KRISTY C.
982 BROWNSVILLE RD
POWDER SPRINGS, GA 30127                           P‐0005472 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFE, DOUGLAS E.
JANE
248 SHORE RD
NEWPORT, NC 28570                                  P‐0005473 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEALL, EDWARD
1219 BONNIE VIEW RD.
DALLAS, TX 75203                                   P‐0005474 10/26/2017    TK Holdings Inc., et al .                    $8,900.00                                                                                    $8,900.00
BRADBURY, LINDA L.
BRADBURY, STANLEY L.
3000 E BOULEVARD
PINE VILLAGE, IN 47975                             P‐0005475 10/26/2017    TK Holdings Inc., et al .                   $27,500.00                                                                                   $27,500.00
VIGIL, JOHN F.
VIGIL, MARY D.
6050 MOONRISE VISTA
LAS CRUCES, NM 88012‐7222                          P‐0005476 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEXANDER, PETER
ALEXANDER, IRIS
23595 E. IRISH PLACE
AURORA, CO 80016                                   P‐0005477 10/26/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BULLARD, KISHA M.
9 HAROLWOOD COURT, APT. F
WINDSOR MILL, MD 21244                             P‐0005478 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PURVIS, NORMA T.
1901 OSTROM DRIVE
MOBILE, AL 36605                                   P‐0005479 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, PATRICIA L.
3941 WESTRIDGE MEADOW CIRCLE
CLEMMONS, NC 27012                                 P‐0005480 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERREE, SEAN A.
5215 SMOKEY RIVER DRIVE
KATY, TX 77449                                     P‐0005481 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WOLFE, THOMAS D.
8 BRADDOCK BLUFF DRIVE
#1802
HILTON HEAD ISLA, SC 29928                          P‐0005482 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRARO, CARLO
30 HUBBARD ST
WESTERLY, RI 02891                                  P‐0005483 10/26/2017    TK Holdings Inc., et al .                    $2,789.50                                                                                    $2,789.50
RANGARAJAN, SRI K.
1108 W. OAKGLEN DR.
PEORIA, IL 61614                                    P‐0005484 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DVORAK, MICHAEL R.
110 GRAND STREET
APT 3B
JERSEY CITY, NJ 07302                               P‐0005485 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWN, CHARLES D.
BOWN, MARSHA J.
6590 S GRANITE DR
CHANDLER, AZ 85249                                  P‐0005486 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, JAMES P.
126 PATILLO RD
BRIDGE CITY, TX 77611                               P‐0005487 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRENCE, RACHEL
1977 WEST FAIRMOUNT AVE
MILWAUKEE, WI 53209                                 P‐0005488 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLYNN, DENNIS P.
4784 PRESTWICK CROSSING
WESTLAKE, OH 44145                                  P‐0005489 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARNOLD, MARY ANN
ARNOLD, GABRIEL T.
104 TANGLEWOOD TRAIL
KENTUCKY, KY 40223                                  P‐0005490 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEST, KIMBERLY
5925 MEADOWLAND DR
KNOXVILLE, TN 37924                                 P‐0005491 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANGARAJAN, SRI K.
1108 W. OAKGLEN DR.
PEORIA, IL 61614                                    P‐0005492 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHASKO, LISA
912 BERGEN AVE
NORTH BRUNSWICK, NJ 08902                           P‐0005493 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLOPFENSTEIN, DANIEL P.
404 N. WILEY ST.
CRESTLINE, OH 44827                                 P‐0005494 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWN, CHARLES D.
BOWN, MARSHA J.
6590 S GRANITE DR
CHANDLER, AZ 85249                                  P‐0005495 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUETTEMEYER, GEORGE D.
29 IVYBROOK CT
WENTZVILLE, MO 63385                                P‐0005496 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOUZEZ, BARAAH
4300 COUNTRY COLONY
EDINBURG, TX 78541                                  P‐0005497 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLOPFENSTEIN, DANIEL P.
405 N WILEY ST.
CRESTLINE, OH 44827                                 P‐0005498 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HYMES, SAUL R.
4 GNARLED OAK DRIVE
EAST SETAUKET, NY 11733                              P‐0005499 10/26/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
WESTDYK, DANE
87 MOUNT OLIVE RD
BUDD LAKE, NJ 07828                                  P‐0005500 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAVER, RUTH E.
15 NORTH FRONT STREET APT. 2B
HUDSON, NY 12534                                     P‐0005501 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HER, KAOYEE
25 GODDARD STREET FL A
FITCHBURG, MA 01420                                  P‐0005502 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TYLER, LISA M.
TYLER, JOSEPH L.
9500 PERRY HALL BLVD
#101
NOTTINGHAM, MA 21236                                 P‐0005503 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANGARAJAN, SRI K.
1108 W. OAKGLEN DR.
PEORIA, IL 61614                                     P‐0005504 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, STACY
1478 CHAPEL HILL LANE SW
MARIETTA, GA 30008                                   P‐0005505 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOK, MARY L.
3175 S. RIVER BLUFF DRIVE
HANOVER, IN 47243                                    P‐0005506 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEARY, BENJAMIN P.
1045 COLUMBINE ROAD
ASHEVILLE, NC 28803                                  P‐0005507 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARNETT, TIELA
GARNETT, TIELA
22 WALTON ST
LAKEVILLE, CT 06039                                  P‐0005508 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOROCOIMA, GABRIEL A.
MOROCOIMA, JAMIE L.
2102 MIDWAY CT
LEAGUE CITY, TX 77573                                P‐0005509 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, TONI M.
711 W BROADWAY ST
MCHENRY, IL ^))%!                                    P‐0005510 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIGGINBOTHAM, MONIQUE A.
4501 MARX AVE
BALTIMORE, MD 21206                                  P‐0005511 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARTENHEIMER, MINERVA V.
1570 N. 650 EAST ROAD
SIDELL, IL 61876                                     P‐0005512 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDUFFY‐EVANS, ASHLEY
6201 BERT KOUNS LOOP
LOT 846
SHREVEPORT, LA 71111                                 P‐0005513 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUIZ, DIANA
5100 SW 64TH AVE APT 102
DAVIE, FL 33314                                      P‐0005514 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLOYD, MARGARET K.
150 SHADY LANE
BARTLETT, IL 60103‐4532                              P‐0005515 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
ROBINSON, GLEN R.
3514 THUMPER LN
AMMON, ID 83406                                     P‐0005516 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWN, CHARLES D.
BOWN, MARSHA J.
6590 S GRANITE DR
CHANDLER, AZ 85249                                  P‐0005517 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATASIC, MARGARET A.
3439 EAGLES LOFT
UNIT A
CORTLAND, OH 44410                                  P‐0005518 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROSKEY, MICHAEL
675 MORRIS AVE. #6S
BRONX, NY 10451                                     P‐0005519 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMERMAN, JOSHUA
69 JARED DRIVE
WHITE PLAINS, NY 10605                              P‐0005520 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HESTER‐KEENEY, JENNIE M.
KEENEY, SHAWN D.
6031 115TH AVENUE NORTH
PINELLAS PARK, FL 33782                             P‐0005521 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, COURTNEY
13019 GLENWYCK ST
HOUSTON, TX 77045                                   P‐0005522 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINTON, SEBRENA L.
20304 PRAXIS WAY
CARY, NC 27519                                      P‐0005523 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EHRLICH, MARTIN D.
EHRLICH, CAROL E.
5804 OLD SEA PLACE
CLARKSVILLE, MD 21029                               P‐0005524 10/26/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
FERGUSON, ANDREA R.
FERGUSON, JOSEPH D.
1446 PALM BEACH LAKES BLVD
WEST PALM BEACH, FL 33401                           P‐0005525 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLK, VICTOR H.
41 BERWICK RD.
NEWTON, MA 02459                                    P‐0005526 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOSTELECKY, ROSANNE
6041 NORTH 31ST AVE
P, AZ
PHOENIX                                             P‐0005527 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNANI, ADAM
195A MILL ST
GROTON, MA 01450                                    P‐0005528 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIRANDA, ALICIA M.
1956 PINEHURST DRIVE
CLEARWATER, FL 33763                                P‐0005529 10/26/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
AND MOLD CO., PLAZA TOOL
PLAZA, MARK
PLAZA TOOL AND MOLD CO.
53 CENTURY DRIVE
WHEELING, IL 60090                                  P‐0005530 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
FLANNERY, RONAN A.
TK HOLDINGS
8980 CROSSWIND CIR
APT # 207
MONTGOMERY, AL 36117                                P‐0005531 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZACKMAN, CINDY L.
602 HUGHES RD
HAMPSTEAD, NC 28443                                 P‐0005532 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLK, VICTOR H.
41 BERWICK RD.
NEWTON, MA 02459                                    P‐0005533 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKELTON, NATHAN G.
7343 EAST HARVARD AVE
UNIT J
DENVER, CO 80231                                    P‐0005534 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DASHIELL, AUDREY H.
8003 GREENSPRING WAY APT F
OWINGS MILLS, MD 21117                              P‐0005535 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONNER, LARRY G.
421 KNOLLWOOD DRIVE
TROUTVILLE, VA 24175                                P‐0005536 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAPIENZA, NICOLE E.
218 LEXINGTON STREET
WATERTOWN, MA 02472                                 P‐0005537 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWANSON, ROBERT J.
12217 N WHISTLING WIND AVE
MARANA, AZ 85658‐4695                               P‐0005538 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWLEY, KAREN A.
112 LATOUCHE ST.
ANCHORAGE                                           P‐0005539 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACALINDONG, REINERIO
1006 TUSCANY DR
STREAMWOOD, IL 60107                                P‐0005540 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, HERMAN
13241 SANDY BROOK DRIVE
GULFPORT, MS 39503                                  P‐0005541 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAND, ELANA
226 DOVERWOOD ROAD
FERN PARK, FL 32730                                 P‐0005542 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, MARY
2409 GIDEON AVE
ZION, IL 60099                                      P‐0005543 10/26/2017    TK Holdings Inc., et al .                  $125,000.00                                                                                  $125,000.00
BEAUDETTE, FRANCES E.
BEAUDETTE, JAMES M.
3141 N TERRY STREET
LAS VEGAS, NV 89108                                 P‐0005544 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, RAY M.
103 RICHLAND DR
EASLEY, SC 29642                                    P‐0005545 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANISKY, DANIEL E.
14090 SW 78 ST
MIAMI, FL 33183                                     P‐0005546 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARACE, JAMES
ARACE, LISA
22EVERGREEN AVE
NUTLEY, NJ 07110                                    P‐0005547 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WOOLEN, GRACE
102 MIDDLESEX CT
LA PLATA, MD 20646                                  P‐0005548 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAND, ELANA
226 DOVERWOOD ROAD
FERN PARK, FL 32730                                 P‐0005549 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARROLL, MIKE W.
4719 ROSE
BACLIFF, TX 77518                                   P‐0005550 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARUTZ, FREDERICK P.
516 S RAMMER AVE
ARLINGTON HEIGHT, IL 60004                          P‐0005551 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUBEL, HOWARD
104 VILLAGE HILL DRIVE
DIX HILLS, NY 11746                                 P‐0005552 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHOU, XIAOJUN
CHANG, JUN
6029 S RICE AVE
BELLAIRE, TX 77401                                  P‐0005553 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EPSTEIN, BRAD R.
EPSTEIN, DIANE L.
8 BROAD STREET
WINDSOR, VT 05089                                   P‐0005554 10/26/2017    TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
FERGUSON, CARRIE L.
50 IDAHO AVE
APT 10
WHITEFISH, MT 59937                                 P‐0005555 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELIGMAN, SIMON J.
8910 CRAZY HORSE TRAIL
HOUSTON, TX 77064                                   P‐0005556 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIGGINS, CARRIE M.
5163 PRESTON PLACE
BRUNSWICK, OH 44212                                 P‐0005557 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTIGNY, STEPHEN D.
150 KILLDEER ISLAND RD.
WEBSTER, MA 01570                                   P‐0005558 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, CLINTON T.
9 OAKRIDGE WEST DR
SAINT PETERS, MO 63376                              P‐0005559 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHOLIC, TERRY A.
6307 OAK POINT ESTATES
LORAIN, OH 44053                                    P‐0005560 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ATKINS, GEORGE R.
367 HEBRON RD.
ANDOVER, CT 06232                                   P‐0005561 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARACE, LISA
ARACE, JAMES
22EVERGREEN AVE
NUTLEY, NJ 07110                                    P‐0005562 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON COFFEL, LYNETTE
4921 CREEK MEADOW COVE
SPICEWOOD, TX 78669                                 P‐0005563 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RHEINSTEIN, MIRIAM W.
RHEINSTEIN, PETER H.
621 HOLLY RIDGE ROAD
SEVERNA PARK, MD 211463520                          P‐0005564 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SCHULZ, MICHAEL D.
SCHULZ, WENDY L.
2111 AVALON RIDGE CIRCLE
FENTON, MO 63026                                    P‐0005565 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLAS, JONATHAN
24245 TEMPLE DR.
CHUGIAK, AK 99567                                   P‐0005566 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEMIEUX, MICHELLE
6 OVERLOOK ST # 7
WHITINSVILLE, MA 01581                              P‐0005567 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROVER, MICHELLE
GROVER, MICHELLE R.
P.O. BOX 301
WEST CHESTERFIEL, NH 03466                          P‐0005568 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBRIGHT, MARIA V.
ALBRIGHT, ALLEN T.
11 PAINTED POST ROAD
GROTON, MA 01450                                    P‐0005569 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARKER, GREGORY M.
3053 N OAKLAND FOREST DRIVE
APT 202
OAKLAND PARK, FL 33309‐7645                         P‐0005570 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, DAVID J.
9271 STATE HWY 180
GULF SHORES, AL 36542                               P‐0005571 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENNEY, WILLIAM S.
DAMON, KATHERINE L.
124 FOREST ST
WATERTOWN, MA 02472                                 P‐0005572 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUMAN, ROBERET C.
11660 SW 1ST COURT
PLANTATION, FL 33325                                P‐0005573 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEHRENS, NICHOLAS M.
164 NORTH FARMS ROAD
FLORENCE, MA 01062                                  P‐0005574 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURRAN, KATE M.
66 FURNACE COLONY DRIVE
PEMBROKE, MA 02359                                  P‐0005575 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, SAMUEL
1700 W STOLL PL
DENVER, CO 80221                                    P‐0005576 10/26/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
TERKELSON, DICK W.
3800 S 1900 W TRLR 219
ROY, UT 84067                                       P‐0005577 10/26/2017    TK Holdings Inc., et al .                   $10,172.62                                                                                   $10,172.62
LEWIS, MADELEINE
182 GRAND STREET, 3E
NEW YORK, NY 10013‐3782                             P‐0005578 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOUGLAS, RICHARD E.
9843 NW 6 PLACE
PLANTATION, FL 33324                                P‐0005579 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIPIETRO, JEFFREY
25 WOODEDGE DRIVE
DIX HILLS, NY 11746                                 P‐0005580 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRUSE, ELIZABETH P.
53 NEW BOSTON RD.
CANDIA, NH 03034                                    P‐0005581 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
FULMER, RUDOLPH M.
8718 WEOKA ROAD
WTUMPKA, AL 36092                                  P‐0005582 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENNO, LARRY L.
DENNO, JAN K.
4995TURKEY RUN
VIENNA, OH 44473                                   P‐0005583 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARMA, DANNY
410 S EAST STREET
SAYBROOK, IL 61770                                 P‐0005584 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, ALEXEI
27 CHERRY SWAMP ROAD
MOODUS, CT 06469                                   P‐0005585 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAIRFIELDE, LUCINDA V.
4 AGUA SARCA ROAD
PLACITAS, NM 87043                                 P‐0005586 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRBY JR., JOHN L.
295 TOWN FARM ROAD
NEW GLOUCESTER, ME 04260                           P‐0005587 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARNER, CHARLES W.
WARNER, CYNTHIA F.
9705 STONEWOOD DR
DENTON, TX 76207                                   P‐0005588 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANATTA, JAY B.
3704 SAN LUCAS LN
DENTON, TX 76208                                   P‐0005589 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRUNK, ROGER W.
1323 PEA RIDGE ROAD
FRANKFORT, KY 40601                                P‐0005590 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENNO, LARRY L.
4995 TURKEY RUN RD.
VIENNA, OH 44473                                   P‐0005591 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYNE, ELIZABETH A.
10919 OLD HARRODS WOODS CIRCL
LOUISVILLE, KY 40223                               P‐0005592 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMER, BRENT R.
COMER, RICHARD R.
634 GORDON DR
CHARLESTON, WV 25314                               P‐0005593 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHONEY, SCOTT E.
9 ASSABET HILL CIRCLE
NORTHBOROUGH, MA 01532‐1870                        P‐0005594 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITCH, JAMES R.
4 MARK RD
FRAMINGHAM, MA 01701                               P‐0005595 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOUGLAS, RICHARD E.
9843 NW 6 PLACE
PLANTATION, FL 33324                               P‐0005596 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORITZ, DONALD T.
585 ELM ROAD
BARRINGTON, IL 60010                               P‐0005597 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWE, IAIN A.
11221 BLAIRVIEW LANE
AUSTIN, TX 78748                                   P‐0005598 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
WILSON, TROY L.
WILSON, MARY J.
21603 BEAVER BROOK
SAN ANTONIO, TX 78260                              P‐0005599 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, MARY N.
CJ FLIGHT CLA LLC
P.O. BOX 445
ELKTON, MD 21922                                   P‐0005600 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACAR, JANICE
2196 KENORA PLACE
SEAFORD, NY 11783                                  P‐0005601 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERUBE, DIANE
101 RANTOUL ST. #400
BEVERLY, MA 01915                                  P‐0005602 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORITZ, DONALD T.
585 ELM ROAD
BARRINGTON, IL 60010                               P‐0005603 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANGUNDY, CORY L.
103 PRESTON HOLLOW LANE
DULUTH, GA 30097                                   P‐0005604 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDMAN, RHONDA J.
8089 SW 86TH TERRACE
MIAMI, FL 33143                                    P‐0005605 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACHNIKOWSKI, GEORGE J.
MACHNIKOWSKI, STACIE M.
4933 WHISTLING WIND AVE
KISSIMMEE, FL 34758                                P‐0005606 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINNEY, SHERRI A.
21 LITTLE RIVER DRIVE
GORHAM, ME 04038                                   P‐0005607 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEDRANO, JEREMY
STINNETT, STACI
5135 WEST DR NE
COVINGTON, GA 30014                                P‐0005608 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLIVON, JOHN F.
SLIVON, CHRISTINE L.
3896 GLADMAN WAY
LEXINGTON, KY 40514                                P‐0005609 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITENER, CHRISTY R.
2773 SWICEGOOD RD
LINWOOD, NC 27299                                  P‐0005610 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNIGHT, ADRIAN N.
17481 ORANGE GROVE RD
#2
GULFPORT, MS 39503                                 P‐0005611 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORAWSKI, HENRY J.
112 LOIS DRIVE
PEARL RIVER, NY 10965                              P‐0005612 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, CORY M.
2236 CHAPEL DOWNS DR
ARLINGTON, TX 76017                                P‐0005613 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISH, STEVEN
505 CRIMSON CT.
AUSTINTOWN, OH 44515                               P‐0005614 10/26/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LUCEY, DAVID M.
6109 N. LAKE DRIVE
MILWAUKEE, WI 53217                                  P‐0005615 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCUTCHEN, PHILIP T.
1845 LAKE EBENEZER TRAIL
MARIETTA, GA 30066                                   P‐0005616 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELGADO, CHRISTINA M.
4212 SHELDON AVE.
BALTIMORE, MD 21206                                  P‐0005617 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOPER, VERA
13 WARWICK ROAD
FRANKLIN, MA 02038                                   P‐0005618 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARGESHEIMER, MICHAEL C.
4504 CARDINAL LANE
MIDLAND, TX 79707                                    P‐0005619 10/26/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
DENNEY, WILLIAM S.
DAMON, KATHERINE L.
124 FOREST ST
WATERTOWN, MA 02472                                  P‐0005620 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, CRYSTAL
ADAMS, CRYSTAL
70 HIGHLAND AVE
FITCHBURG, MA 01420                                  P‐0005621 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNIDER, GREGORY S.
1206 MAZELAND DRIVE
BEL AIR, MD 21015                                    P‐0005622 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHULADA, ANTHONY J.
4 FOSTER STREET
APT. 302
PEPPERELL, MA 01463                                  P‐0005623 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HONCHELL, MARY K.
208 SPRUCE DRIVE
BELVIDERE, IL 61008                                  P‐0005624 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, ROBERT J.
400 BELLS FERRY RD NE
WHITE, GA 30184‐2841                                 P‐0005625 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FULLER, MARDI J.
520 TALBOT AVE
UNIT 15
DORCHESTER, MA 02124                                 P‐0005626 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURWELL, SHELIA H.
BURWELL, ARTHUR B.
465 MAYVIEW DR
CREEDMOOR, NC 27522                                  P‐0005627 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELCHER, LARRY C.
BELCHER, RUTH A.
P.O. BOX 102
KELLER, TX 76244‐0102                                P‐0005628 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOUGHOZ, JANTI
918 31ST AVE NE
SAINT PETERSBURG, FL 33704                           P‐0005629 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNT, JOHNLETTE L.
218 STATION WAY
ADAIRSVILLE, GA 30103                                P‐0005630 10/26/2017    TK Holdings Inc., et al .                   $22,192.54                                                                                   $22,192.54



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
KNAKE, CHRISTINE A.
9004 ASSEMBLY DR
WALKERSVILLE, MD 21793                              P‐0005631 10/26/2017    TK Holdings Inc., et al .                    $9,999.99                                                                                    $9,999.99
MUNSON, LORIE A.
6557 E. BARROW ST.
TUCSON, AZ 85730                                    P‐0005632 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANEGAS, PATRICIA A.
11955 LURAY LANE
DUNKIRK, MD 20754                                   P‐0005633 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPENCER, WILLIAM
12 BARNFIELD CT
UPPR SADDL RVR, NJ 07458                            P‐0005634 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORTER, LINDA D.
1777 W CRYSTAL LN UNIT 512
MOUNT PROSPECT, IL 60056                            P‐0005635 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARLSON, LOIS S.
244 FENNEL DUN CIRCLE
BILTMORE LAKE, NC 28715                             P‐0005636 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTZ, MICHAEL
BARTZ, CHRISTINE
391 SOUTH LAKE ST
P.O. BOX 488
ELKHART LAKE, WI 53020                              P‐0005637 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIGNONI, ROWAN E.
134 W ALLEN ST
APT C
WINOOSKI, VT 05404                                  P‐0005638 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KURSHAN, RACHEL
33 HUMPHREY'S COURT
PORTSMOUTH, NH 03801                                P‐0005639 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORTER, LINDA D.
1777 W CRYSTAL LN UNIT 512
MOUNT PROSPECT, IL 60056                            P‐0005640 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYAN, ROY L.
BRYAN III, ROY J.
600 EAST SECOND STREET
NIXON, TX 78140                                     P‐0005641 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TARALLO, NICHOLAS A.
44 4TH ST
2R
LEOMINSTER, MA 01453                                P‐0005642 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLMENDINGER, WENDY
15 AVERY STREET
NORTH ATTLEBORO, MA 02760                           P‐0005643 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, MICHAEL D.
14777 WUNDERLICH DRIVE
#1507
HOUSTON, TX 77069                                   P‐0005644 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAMPATTIWAR, VIVEK
NEW BUSINESS STRATEGIES
228 BRADFORD CREEK TRAIL
DULUTH, GA 30096                                    P‐0005645 10/26/2017    TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
NEILL JR., JOHN K.
17816 E. KANSAS PL.
AURORA, CO 80017                                    P‐0005646 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ALBRECHT, JACK A.
ALBRECHT, JACK
7625 CASHEW DRIVE
ORLAND PARK, IL 60462                                P‐0005647 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QURESHI, DARIAN Z.
7810 N. 1ST AVE.
TUCSON, AZ 85718                                     P‐0005648 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, KENNETH G.
2813 YALE BLVD
ST. CHARLES, MO 63301                                P‐0005649 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALEDA, KATHLEEN A.
828 DIAMOND DRIVE
GAITHERSBURG, MD 20878                               P‐0005650 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARZANO, JOAN M.
880 WOODGLEN LANE
LEMONT, IL 60439                                     P‐0005651 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGEN, SHAUNA S.
388 MASHAPAUG RD.
HOLLAND, MA 01521                                    P‐0005652 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOITA, ALAN J.
9163 CRANBERRY STREET
ANCHORAGE, AK 99502                                  P‐0005653 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LENANE, EMIL D.
1354 ANDRE STREET
BALTIMORE, MD 21230                                  P‐0005654 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEACH, JODY D.
2501 DOGWOOD LN
LAFAYETTE, IN 47905                                  P‐0005655 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROUNTREE, CHAN'TELE I.
805 PLEASANT HILL RD. NW
UNIT 503
LILBURN, GA 30047                                    P‐0005656 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIEMONTE, KAY A.
1821 RIZZI LANE
BARTLETT, IL 60103                                   P‐0005657 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNT, JOHNLETTE L.
218 STATION WAY
ADAIRSVILLE, GA 30103                                P‐0005658 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, WELDON
5909 RICHMOND AVE
DALLAS, TX 75206                                     P‐0005659 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, ELLA
717 FOREST STREET
KEARNY, NJ 07032                                     P‐0005660 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRUEGER, JEFFREY W.
ZHU, LI
21 BIRCH TREE CT
ELMHURST, IL 60126                                   P‐0005661 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEARST, THOMAS C.
2007 VILLAGE GLEN DR
WENTZVILLE, MO 63385                                 P‐0005662 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OMER, BOYD W.
9626 VILLA DEL REY NE
ALBUQUERQUE, NM 87111                                P‐0005663 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
ALBRECHT, JACK
ALBRECHT, JACK
7625 CASHEW DRIVE
ORLAND PARK, IL 60462                              P‐0005664 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOSS, CRAIG A.
2724 CREEKWOOD DRIVE
GRAPEVINE, TX 76051                                P‐0005665 10/26/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
KOPPE, GREGORY J.
410 NORTH NEWSTEAD AVENUE
APARTMENT 7E
ST. LOUIS, MO 63108‐2640                           P‐0005666 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLOOSTER, TORIN
325 FARRADAY RD
DURANGO, CO 81303                                  P‐0005667 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALLANEY, THOMAS M.
495 FAIRVIEW AVE.
BRADLEY, IL                                        P‐0005668 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OMER, BOYD W.
9626 VILLA DEL REY NE
ALBUQUERQUE, NM 87111                              P‐0005669 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOKS, NIKOLE
160 AUTUMN COURT
COVINGTON, GA 30016                                P‐0005670 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHEL, KENNETH L.
632 BROADWAY, 7FLOOR
NEW YORK, NY 10012                                 P‐0005671 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTELEONE, MICHELE A.
254 KEMPSEY DRIVE
NORTH BRUNSWICK, NJ 08902                          P‐0005672 10/26/2017    TK Holdings Inc., et al .                     $982.92                                                                                       $982.92
GRUVER, DAVID L.
3356 COLUMBIA WOODS DRIVE
APT # G
NORTON, OH 44203                                   P‐0005673 10/26/2017    TK Holdings Inc., et al .                    $1,200.00                                                                                    $1,200.00
LEEDS, ARTHUR A.
18855 BURNHAM
APT 236
LANSING, IL 60438                                  P‐0005674 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVA, MICHAEL J.
69 HUNTERS CROSSING DR.
COVENTRY, RI 02816                                 P‐0005675 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LICCIARDO, MOLLIE C.
4CVILLAGE MALL
MONROE TOWNSHIP, NJ 08831                          P‐0005676 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHMITZ, RYAN E.
315 MANHATTAN DRIVE
BOULDER, CO 80303                                  P‐0005677 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBACK, FRANCINE
136 VILLAGE GREEN DRIVE
PORT JEFF STA, NY 11775                            P‐0005678 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, JEFFREY L.
5620 IRISH PAT MURPHY DR.
PARKER, CO 80134                                   P‐0005679 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STURGIS, JEFFREY R.
STURGIS, NICOLE M.
22 WOODLAND ROAD
GORHAM, ME 04038                                   P‐0005680 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
THOMPSON, DEBRA K.
5130 WINNEBAGO DRIVE
INDIANAPOLIS, IN 46241                               P‐0005681 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, CORNELIUS T.
1274 PISMO COURT
LAKEWOOD, NJ 08701                                   P‐0005682 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNIZ, MARIA E.
505 GUZMAN AVE., S.W.
ALBUQUERQUE, NM 87105                                P‐0005683 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUTLEDGE, EDWYNA C.
RUTLEDGE, DONALD F.
1513 TEXAS STATE HIGHWAY 85
CARRIZO SPRINGS, TX 78834‐4718                       P‐0005684 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DARIUS L.
1125 ST BENEDICT
CAHOKIA, IL 62206                                    P‐0005685 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVIN, JAMES J.
2950 EDGEWATER DRIVE
EDGEWATER, MD 21037‐1305                             P‐0005686 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUDD, SARAH M.
6 LUSSAC CT
LAKE SAINT LOUIS, MO 63367                           P‐0005687 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEGO, TRACY A.
267 VAN FLEET AVE
SOUTH PLAINFIELD, NJ 07080                           P‐0005688 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBBINS, LISA I.
22 TROY DRIVE
SHORT HILLS, NJ 07078                                P‐0005689 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEETS, CRYSTAL
3863 NW CR 3115
PURDON, TX 76679                                     P‐0005690 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENZUELA CRUZ, WANDY M.
280 SEAVER ST
APT22
DORCHESTER, MA 02121                                 P‐0005691 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, NELSON
82 ELGIN ST, #2
NEWTON CENTRE, MA 02459                              P‐0005692 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNETT, SANDEE R.
2069 MARTHA STOCKTON ROAD
ALBANY, KY 42602                                     P‐0005693 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, ELEANOR A.
134 SOUTH ROSLYN STREET
DENVER, CO 80230                                     P‐0005694 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HICKMAN, JEFFREY D.
KORBA‐HICKMAN, JENNIFER L.
48 REMINGTON DR W
HIGHLAND VILLAGE, TX 75077                           P‐0005695 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEFANIS, JACQUELINE
193 SWINTON AVE
BRONX, NY 10465                                      P‐0005696 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRYOR, WILL
44 GRAHAM STREET
CINCINNATI, OH 45219                                 P‐0005697 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
RENNER, SARAH M.
13 MASHIE DR
MCCOOK, NE 69001                                    P‐0005698 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIN, BERNARD J.
8644‐17 EAGLE RUN DR
BOCA RATON, FL 33434                                P‐0005699 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, MICHAEL A.
1301 CARRINGTON PARK CIRCLE
APT. 107
MORRISVILLE, NC 27560                               P‐0005700 10/26/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
JACKSON, KUNTHY P.
1231 HERRING GULL DRIVE
FAYETTEVILLE, NC 28306                              P‐0005701 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, MARTIN D.
BROWN, ROQUITA L.
3104 ISABELLA ST
HOUSTON, TX 77004                                   P‐0005702 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLATER, KENNETH H.
221 ETHAN ALLEN RD
CHESTER, VT 05143                                   P‐0005703 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSS, MICHAEL C.
2608 AVENA SY
WHEATON, MD 20902                                   P‐0005704 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLAWSON, ROBERT T.
59 ASH TREE TRAIL
WELLS, ME 04090                                     P‐0005705 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORTBERG, LAURA
2209 LARKDALE DRIVE
GLENVIEW, IL 60025                                  P‐0005706 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNG, LUNG S.
P.O. BOX 812
ONTARIO, OR 97914                                   P‐0005707 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TINSON, ROBERT
84 TARRAGON DRIVE
EAST HAMPTON, CT 06424                              P‐0005708 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMEZ, JOSE D.
133‐19 118TH STREET
SOUTH OZONE PARK, NY 11420                          P‐0005709 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TINSON, ELLEN
84 TARRAGON DRIVE
EAST HAMPTON, CT 06424                              P‐0005710 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LING, LILLY
555 LENOX AVE 4D
NEW YORK, NY 10037                                  P‐0005711 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAGELMANN, THOMAS
WILSON, ANTONIO
4904 BRENTLEY ROAD
TEMPLE HILLS, MD 20748                              P‐0005712 10/26/2017    TK Holdings Inc., et al .                   $54,000.00                                                                                   $54,000.00
HOLBROOK, DEBORAH
215 DONALD TENNANT CIRCLE
NORTH ATTLEBORO, MA 02760                           P‐0005713 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSU, CRISTINA L.
16 CORINNE DRIVE
PROSPECT, CT 06712                                  P‐0005714 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WATSON, ALICIA N.
3850 SANTA MONICA DR
ABILENE, TX 79605/6640                              P‐0005715 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KABITZKE, UDO F.
1762 E DARREL ROAD
PHOENIX, AZ 85042                                   P‐0005716 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAUNDERS, LENORA R.
1223 DAMSEL RD
ESSEX, MD 21221                                     P‐0005717 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSU, RADU V.
16 CORINNE DRIVE
PROSPECT, CT 06712                                  P‐0005718 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANDLER, NOLA F.
3766 JACKSON AVE
TYLER
, TX 75705                                          P‐0005719 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAY, TYNISHA
5913 QUEEN ANNE ST
GWYNN OAK, MD 21207                                 P‐0005720 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AN, XUEMEI
XIE, PENG
1515 S. ROXBURY RD
SALT LAKE, UT 84108                                 P‐0005721 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRUITT, HENRIMAE
PRUITT, RICHARD
115 BASSWOOD DR
MAULDIN, SC                                         P‐0005722 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, MARK A.
29 WEST MCLELLAN BOULEVARD
PHOENIX, AZ 85013                                   P‐0005723 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVINE, MATTHEW A.
13549 LONGFELLOW LANE
SAN DIEGO, CA 92129                                 P‐0005724 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESPARZA, CARLOS
2317 FALLING CREEK RD.
SILVER SPRING, MD 20904                             P‐0005725 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABLONDI, RAYMOND A.
260 PARK AVE, APT 707
POOLER, GA 31322                                    P‐0005726 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUPTA, ANURAG
PO 471
THREE BRIDGE, NJ 08887                              P‐0005727 10/26/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
KAHN, RANDY S.
3 PHILLIP COURT
MONROE TOWNSHIP                                     P‐0005728 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGNER, ELAINE G.
9013 THORNWAY DRIVE
NORTH RICHLAND HILLS TEXAS 7
UNITED STATES                                       P‐0005729 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARHNER, SCOTT A.
828 CROSSWOOD COURT
SAINT CHARLES, MO 63303                             P‐0005730 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HASEWOOD, ETHEL B.
124 SAFFORD AVE EAST
THOMASVILLE, AL 36784                               P‐0005731 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BATCHELDER, MARK D.
1634 MOUNT MAJOR HWY
ALTON BAY, NH 03810                                   P‐0005732 10/26/2017    TK Holdings Inc., et al .                     $600.00                                                                                       $600.00
CANO, CAMILO
6839 CHERRY GROVE CIRCLE
ORLANDO, FL 32809                                     P‐0005733 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAHANER, STEVEN M.
115 SIXTH AVENUE
PELHAM, NY 10803                                      P‐0005734 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MATTHEW W.
610 E CENTER ST
ALPINE, UT 84004                                      P‐0005735 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIMEL, KATHARINE E.
2005 BOULDER AVE
HELENA, MT 59601                                      P‐0005736 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHEELER‐ROBINSON, DEBORAH
2804 CONKLIN DRIVE
#4
ROCKFORD, IL 61101                                    P‐0005737 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOUNDINYA, SANKAR R.
KOUNDINYA, LAURA B.
14620 FALLING LEAF WAY
DARNESTOWN, MD 20878                                  P‐0005738 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURWELL, SHELIA H.
BURWELL, ARTHUR B.
                                                      P‐0005739 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREBERIA, RICK A.
FREBERIA, RHONDA C.
918 N ROCKWALL AVE
TERRELL, TX 75160                                     P‐0005740 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLTZ, LAURA V.
P.O. BOX 63
ROSEBUD, MT 59347                                     P‐0005741 10/26/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
SIMONDS, WILLIAM A.
SIMONDS, SHEILA A.
159 HEATHERLAND DR
BETHALTO, IL 62010                                    P‐0005742 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARONE, LISA M.
19 ROCK AVE
WATCHUNG, NJ 07069                                    P‐0005743 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILIAN, YVONNE
5200 POLK ST
HOLLYWOOD, FL 33021                                   P‐0005744 10/26/2017    TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
KOUNDINYA, LAURA B.
KOUNDINYA, SANKAR R.
14620 FALLING LEAF WAY
DARNESTOWN, MD 20878                                  P‐0005745 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORPUS, SANTOS
CORPUS, MAGDALEN D.
22415 SCHRAGE AVE
WHITNG, IN 46394                                      P‐0005746 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCLELLAN, MICHELLE
MCCLELLAN, DANIEL
420 RICHMOND LANE
VILLAGE OF LAKEW, IL 60014                            P‐0005747 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
CHOI, YEONSU
4907 43RD AVE, APT‐7F
WOODSIDE, NY 11377                                 P‐0005748 10/26/2017    TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
JOHNSON, GEORGE C.
3848 RED FOX DRIVE
ROANOKE, VA 24017                                  P‐0005749 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILKINS, JEANETTE B.
4602 DICKSON ST
HOUSTON, TX 77007                                  P‐0005750 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHELAN, JAMES M.
PHELAN, PAMELA K.
6105 CAMINITO CT. NE
ALBUQUERQUE, NM 87111                              P‐0005751 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMONDS, WILLIAM A.
SIMONDS, SHEILA A.
159 HEATHERLAND DR
BETHALTO, IL 62010                                 P‐0005752 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, DONALD C.
833 FOREST DRIVE
MAGGIE VALLEY, NC 28751                            P‐0005753 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RHATICAN, EDWARD G.
RHATICAN, SHARON K.
3788 WEST SERAMONTE DRIVE
HIGHLANDS RANCH, CO 80129                          P‐0005754 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VITALE, PAUL W.
VITALE, ETHEL D.
2118 VISTA RIDGE DR
KERRVILLE, TX 78028                                P‐0005755 10/26/2017    TK Holdings Inc., et al .                   $13,146.31                                                                                   $13,146.31
MUNN, JACOB
3373 164TH ST
FLUSHING, NY 11358                                 P‐0005756 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, CHASON J.
PARKER, ASHLEY V.
908 HALSTEAD DRIVE
NORTH SALT LAKE, UT 84054                          P‐0005757 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUTLER, MARJORIE D.
85 POND STREET, APT #1
NATICK, MA 01760                                   P‐0005758 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'BRADY, MARY K.
CAZA, TERRENCE M.
250 WEST 94TH STREET
APT. 14E
NEW YORK, NY 10025                                 P‐0005759 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROLLS‐HART, MAMIE L.
56 RHODES AVE
EWING, NJ 08638                                    P‐0005760 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTI, LEIGH
33 ROOSEVELT STREET
SOUTH RIVER, NJ 08882                              P‐0005761 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEROSSETTE, DAVID A.
DEROSSETTE, DAWN E.
11 OHARE CIR
STOUGHTON, MA 02072                                P‐0005762 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEYMORE, BRITTANIA D.
1731 HARVEY LN.
STAFFORD, TX 77477                                 P‐0005763 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
TSAKOS, STEVEN
9507 ADELPHI RD.
SILVER SPRING, MD 20903                             P‐0005764 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELCHER, LARRY C.
BELCHER, RUTH A.
P.O. BOX 102
KELLER, TX 76244‐0102                               P‐0005765 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHAFF, CATHERINE S.
242 PERTH ROAD
CARY, IL 60013                                      P‐0005766 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLAKE, JOHN T.
5517 SUFFIELD COURT
COLUMBIA, MD 21044                                  P‐0005767 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOUGHOZ, JANTI
918 31ST AVE NE
SAINT PETERSBURG, FL 33704                          P‐0005768 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCOCCIO, MICHAEL
94 CARRIER AVE
SOUTH ATTLEBORO, MA 02703                           P‐0005769 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPENCER, WILLIAM
12 BARNFIELD CT
UPPR SADDL RVR, NJ 07458                            P‐0005770 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, DONALD C.
833 FOREST DRIVE
MAGGIE VALLEY, NC 28751                             P‐0005771 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON‐HARRIS, TRACEY D.
2166 EDGEVIEW DRIVE
NEW LENOX, IL 60451                                 P‐0005772 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, MICHAEL T.
301 TILLMAN DR.
MONROE, LA 71202                                    P‐0005773 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILBUR, CHARLES V.
26843 DENOON ROAD
WATERFORD
USA, WI 53185                                       P‐0005774 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ, ISABEL
209 COUNTY ROAD 573
CASTROVILLE, TX 78009                               P‐0005775 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOO, EDWIN
10805 REDMOND COVE
AUSTIN, TX 78739                                    P‐0005776 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATERMAN, RICHARD V.
WATERMAN, RUTH J.
4866 VERDE VIEW DR
GASTONIA, NC 28056                                  P‐0005777 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHELTON, TERRI R.
28767 BUFFALO PARK RD
EVERGREEN, CO 80439                                 P‐0005778 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWEN, DANIEL R.
204 ROBINHOOD DR
NACOGDOCHES, TX 75961                               P‐0005779 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOO, EDWIN
10805 REDMOND COVE
AUSTIN, TX 78739                                    P‐0005780 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WOODARD, ANGELA M.
P.O. BOX 358
FOREMAN, AR 71836                                   P‐0005781 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULVERSON, HAROLD G.
HAROLD CULVERSON
1689 S 3RD STREET
MILWAUKEE, WI 53204                                 P‐0005782 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASS, TYRONE D.
313CEDAR ST
WILMER, TX 75172                                    P‐0005783 10/26/2017    TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
BHATTI, ZAHID H.
6712 PINE LN
CARPENTERSVILLE, IL 60110                           P‐0005784 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUCKER, RICHARD A.
TUCKER, BECKY W.
3060 GENEVA
AMMON, ID 83406                                     P‐0005785 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENLAW, JEAN M.
52 NORTON RD
KITTERY, ME 03904                                   P‐0005786 10/26/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MANKOSKI, BARBRA
2662 PUTNAM DR
ERIE, PA 16511                                      P‐0005787 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, GLORIA J.
3620 BRIARSTONE RD
RANDALLSTOWN, MD 21133                              P‐0005788 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIZENKO, DAVID A.
5 VILLAGE CT
LAWRENCEVILLE, NJ 08648                             P‐0005789 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEEK, RANDALL J.
LEEK, JULIE A.
162 S FOX RUN LANE
BYRON, IL 61010                                     P‐0005790 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARZINSKI, THOMAS J.
2446 FAIRWAY OAKS CT
HAMPSTEAD, MD 21074                                 P‐0005791 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JIN, JAMES R.
JIA, QIUJUAN
867 WELLESLEY TERRACE LN.
CHESTERFIELD
USA, MO 63017                                       P‐0005792 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, GLADYS
5 SOUTHWICK ST APT 1
MIDDLEBORO, MA 02346                                P‐0005793 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, TARLA
11 ARLEN RD
APT L
NOTTINGHAM, MD 21236                                P‐0005794 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARL, SCOTT D.
22350 PINEAPPLE WALK DRIVE
BOCA RATON, FL 33433                                P‐0005795 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRONK, JAMES J.
617 HICKORY STREET
WAUKEGAN, IL 60085                                  P‐0005796 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PANICO, ANTOINETTE
PANICO, ANTOINETTE
30 PILOT ST
APT 4E
NY 10464                                            P‐0005797 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUCKER, JAMES H.
THEYERS, BRENDA A.
6631 E. 99TH AVENUE
ANCHORAGE, AK 99507                                 P‐0005798 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARL, SCOTT D.
TRINH‐CARL, JASMINE M.
22350 PINEAPPLE WALK DRIVE
BOCA RATON, FL 33433                                P‐0005799 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASS, TYRONE D.
313 CEDAR ST.
WILMER, TX 75172                                    P‐0005800 10/26/2017    TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
LIU, BINGYONG
811 OYSTER CT
ODENTON, MD 21113                                   P‐0005801 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUARRIELLO, JOSEPH L.
GUARRIELLO, JOANNE L.
6 SYMPHONY WOODS COURT
SILVER SPRING, MD 20901                             P‐0005802 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROLO, CLAUDE R.
1724 ALBION STREET
DENVER, CO 80220                                    P‐0005803 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JASMINE S.
859 CENTRAL AVE
MATTESON, IL 60443                                  P‐0005804 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIRESI, JENNIFER A.
9 LIVINGSTON ST
CLIFTON, NJ 07013                                   P‐0005805 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEMONS, TONIA R.
8422 SOMERTON CIRCLE
DOUGLASVILLE, GA 30134                              P‐0005806 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOAD, WILLIAM F.
GOAD, ANNA M.
836 BURNETT DRIVE
CHARLESTON, SC 29412                                P‐0005807 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSEN, BRADLEY A.
107 GEORGE ST
ARLINGTON, MA 02476                                 P‐0005808 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDENBERG, LAURA
260 W END AVE APT 12B
NEW YORK, NY 10023                                  P‐0005809 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, LESLIE J.
2645 S TENNYSON WAY
DENVER, CO 80219                                    P‐0005810 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIBIS, MICHAEL F.
60 MIDWOOD WAY
COLONIA, NJ 07067                                   P‐0005811 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLASER, ANGELA J.
415 GRAND AVENUE #2
CINCINNATI, OH 45205                                P‐0005812 10/26/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ZAYED, MOHAMMAD H.
8786 N GOLDEN MOON WAY
TUCSON, AZ 85743                                      P‐0005813 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUARRIELLO, JOSEPH L.
GUARRIELLO, JOANNE L.
6 SYMPHONY WOODS COURT
SILVER SPRING, MD 20901                               P‐0005814 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURFORD, MACKENZIE
6527 S DEXTER ST.
CENTENNIAL, CO 80121                                  P‐0005815 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINSEY, ROBERT N.
CIAVARELLE, NICCOLE
SANTANDER CONSUMER
300 BLUE MOON CROSSING
APT 6107
POOLER, GA 31322                                      P‐0005816 10/26/2017    TK Holdings Inc., et al .                       $10.00                                                                                       $10.00
ANIS, REGINALD
41 RECTOR
BOSTON, MA 02126                                      P‐0005817 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYTON, JAMES D.
4739 CABREO CT
BRADENTON, FL 34211                                   P‐0005818 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGHEE, LEROY
6625 COUNTY ROAD 12
FAUNSDALE, AL 36738                                   P‐0005819 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUPBACH, LANA A.
34 ADAMS STREET
EAST ROCKAWAY, NY 11518                               P‐0005820 10/26/2017    TK Holdings Inc., et al .                    $7,136.87                                                                                    $7,136.87
HUMMER, MICHAEL A.
11423 BARWOOD BEND DR
HOUSTON, TX 77065                                     P‐0005821 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, KENNETH P.
422 LABOR DR.
JACKSONVILLE, IL 62650‐3512                           P‐0005822 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCARPACI, CYNTHIA S.
58 RASPBERRY TRAIL
DEFUNIAK SPRINGS, FL 32433                            P‐0005823 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENJAMIN, MARY S.
526 W VIRGINIA AVE
PHOENIX, AZ 85003                                     P‐0005824 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, ANGELA
8051 MCVICKER AVE
BURBANK, IL 60459                                     P‐0005825 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRAWN, IAN R.
3234 S 74TH LN
PHOENIX, AZ 85043                                     P‐0005826 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MODEAS, CARON
114 N. SIXTH ST.
MEBANE, NC 27302                                      P‐0005827 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALTHAZAR, EMMANUELLA
TK HOLDINGS INC
41 RECTOR RD
BOSTON, MA 02126                                      P‐0005828 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHULTZ, SCOTT R.
NO ADDRESS PROVIDED
                                                      P‐0005829 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CHEAMA, ALBERT
3806 TULANE DR NE
ALBUQUERQUE, NM 87107                                P‐0005830 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLTMAN, GORDON
903 BUTTERFIELD CIR W
SHOREWOOD, IL                                        P‐0005831 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORTBERG, MICHAEL
2209 LARKDALE DRIVE
GLENVIEW, IL 60025                                   P‐0005832 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREARD, HUBERT S.
6642 COVE LAKE DRIVE
KATY, TX 77449‐4233                                  P‐0005833 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OVERHULTZ, BRYAN T.
1261 MARIPOSA DR
DENVER, CO 80221                                     P‐0005834 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLICKMAN, BRUCE
1061 CLOVER HILL LN
ELGIN, IL 60120                                      P‐0005835 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATALANO, NICOLE H.
230 W THATCH PALM CIR
JUPITER, FL 33458                                    P‐0005836 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, LARRY S.
1006 PALISADE AVENUE
UNION CITY, NJ 07087‐4177                            P‐0005837 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, RICKY K.
3088 RED OAK TRAIL
DECTUR, GA 30034                                     P‐0005838 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEVIRON, CLAUDIA S.
7918 NORRITON CIRCLE NW
NORTH CANTON, OH 44720                               P‐0005839 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VINCENT, WILLIAM H.
16469 W ELLSWORTH DR
GOLDEN, CO 80401                                     P‐0005840 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, WEIHUA
31 CROWEL RD
HILLSBOROUGH, NJ 08844                               P‐0005841 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAI, RAN
WANG, SCOTT
12815 GORMAN CIR.
BOYDS, MD 20841                                      P‐0005842 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANDEL, JEFFERY R.
39 DIVISION ST
BRISTOL, RI 02809                                    P‐0005843 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILL, LOREN H.
DILL, LOREN
27925 REXFORD AVE
BAY VILLAGE, OH 44140                                P‐0005844 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINO, MICHAEL J.
MARTINO, MICHAEL J.
6 TRIANGLE PLACE
TUCKAHOE, NY 10707                                   P‐0005845 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILBAS, GARY M.
WILBAS, KAREN R.
404 SILVER CREEK COVE
NICEVILLE, FL 32578                                  P‐0005846 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
JONES, SCOTT S.
5228 CALADIUM DRIVE
DALLAS, TX 75229                                     P‐0005847 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUKE, DEBRA
1470 E SANDPIPER CIRCLE
APT 145
HOLLADAY, UT 84117                                   P‐0005848 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARADIS, ROBERT E.
PARADIS, PAULA A.
12 SWIFT LN
NAUGATUCK, CT 06770                                  P‐0005849 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNAMARA, MICHAEL G.
1401 TREENEEDLE ROAD
POINT PLEASANT, NJ 08742                             P‐0005850 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINO, MICHAEL J.
6 TRIANGLE PLACE
TUCKAHOE
, NY 10707                                           P‐0005851 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANN, MARK A.
516 INDIANA CT.
LYMAN, SC 29365                                      P‐0005852 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMLETT, JACKIE
515 MAGNA DR.
DURHAM NC                                            P‐0005853 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARLOW, MARK W.
BARLOW, LORA R.
2046 PHEASANT CREEK DR.
MARTINEZ, GA 30907                                   P‐0005854 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNN, RODNEY Q.
895 CUSTER AVE
ATLANTA, GA 30316                                    P‐0005855 10/26/2017    TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
DAVIS, ANGE L.
75 BURWELLS WAU
KITTRELL, NC 27544                                   P‐0005856 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COSBY, MARVIN L.
1027 ARCHARD ST
GRANITEVILLE, SC 29829                               P‐0005857 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PI‐IS, SORRAYDA G.
417 KNOLLWOOD CT
EULESS, TX 76039                                     P‐0005858 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORES, KEZIA B.
1820 S GROVE ST APT 202
DENVER, CO 80219                                     P‐0005859 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PROCUNIER, MAGGIE
9010 BOB O'LINK COURT
TALLAHASSEE, FL 32312                                P‐0005860 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINZPETER, BRIAN K.
2562 HONEY CREEK CIRCLE
APT 419
EAST TROY, WI 53120                                  P‐0005861 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VERKUILEN, MICHAEL J.
350 WOODVIEW CIRCLE
APT. B
ELGIN, IL 60120                                      P‐0005862 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
MAHONEY, MICHAEL C.
3436 SUTTON COURT
ST CHARLES, MO 63301                               P‐0005863 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIBUSH, STUART L.
979 FARM HAVEN DRIVE
ROCKVILLE, MD 20852                                P‐0005864 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUHAMMAD, TAQWA J.
11226 VALLEY BEND DRIVE
GERMANTOWN, MD 20876                               P‐0005865 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRETT, EILEEN T.
23 STONE RUN ROAD
BEDMINSTER, NJ 07921                               P‐0005866 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, CATHERINE J.
3103 SPARROWS PT RD
BALTIMORE, MD 21219                                P‐0005867 10/26/2017    TK Holdings Inc., et al .                     $120.00                                                                                       $120.00
LEFEVRE, PATRICIA R.
7 CONCORD DRIVE
MARLBORO, NY 12542                                 P‐0005868 10/26/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
ROSS, KELLY F.
3806 TREASURE ISLAND DRIVE
MONTGOMERY, TX 77356                               P‐0005869 10/26/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
GILL, SUSAN J.
169 SAVANNAH LANE
HARRISVILLE, UT 84414                              P‐0005870 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RESCHKE, JAMES
RESCHKE, GEORGENE
420 E. NEBRASKA
FRANKFORT, IL 6+0423                               P‐0005871 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, RANDALL A.
52 MANITOU AVE
POUGHKEEPSIE, NY 12603                             P‐0005872 10/26/2017    TK Holdings Inc., et al .                     $600.00                                                                                       $600.00
LAMBERT, JMAES C.
LAMBERT, TRACY A.
27 EISENHOWER RD
FRAMINGHAM, MA 01701                               P‐0005873 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, FELEASAH S.
307 RED ELM PLACE
SEFFNER, FL 33584                                  P‐0005874 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHONEY, MICHAEL C.
3436 SUTTON COURT
ST CHARLES, MO 63301                               P‐0005875 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, CARLOS L.
MARTINEZ, GLORYEVE G.
9081 N US HWY 421
CLINTON, NC 28328                                  P‐0005876 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIVANS, DAVID G.
BIVANS, THOMAS G.
19 TURKEY FOOT COURT
DARNESTOWN, MD 20878‐3645                          P‐0005877 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOWALSKI, ROBERT
21635 TANGLENOOK ROAD
SEDALIA, MO 65301‐9011                             P‐0005878 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHONEY, MICHAEL C.
3436 SUTTON COURT
ST CHARLES, MO 63301                               P‐0005879 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CROWLEY, JOHN A.
1573 CHUCK THOMPSO RD
CADWELL, GA 31009                                     P‐0005880 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YAU, STANLEY
2020 VINEYARD WAY
#621
EVANS, GA 30809                                       P‐0005881 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODARD, ANGELA M.
P.O. BOX 358
FOREMAN, AR 71836                                     P‐0005882 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUTKOWSKI, JOSEPH R.
309 AVENUE C
APT. 7B
NEW YORK, NY 10009                                    P‐0005883 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HART, FRANCES L.
14422 CYPRESS GREEN DR
CYPRESS, TX 77429                                     P‐0005884 10/26/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
PERRY, MATHEW R.
22 HIGH ST APT 2
PORTLAND, ME 04101                                    P‐0005885 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATERNO, CINDY
532 PARK PLACE
LYNDHURST, NJ 07071                                   P‐0005886 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, KANG
4725 W SWEET IRON PASS
PHOENIX, AZ 85083                                     P‐0005887 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAMPAGA, JOEY M.
1613 E GRANDVIEW RD
PHOENIX, AZ 85022                                     P‐0005888 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOWALSKI, ROBERT
21635 TANGLENOOK ROAD
SEDALIA, MO 65301‐9011                                P‐0005889 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANKLIN, ANDRE
1296 BORDEAUX DRIVE
LEXINGTON, KY 40504                                   P‐0005890 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAIRE, KEVIN J.
2165 AZALEA DR
ROSWELL, GA 30075                                     P‐0005891 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REISINGER, SUSAN M.
JOYNER, FREDERICK F.
104 SHADOW WOOD BEND
SAINT SIMONS ISL, GA 31522                            P‐0005892 10/26/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
MCCOY, BRIDGETTE
310 HIALEAH AVE
SAN ANTONIO, TX 78218                                 P‐0005893 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ, RICHARD
209 COUNTY ROAD 573
CASTROVILLE, TX 78009                                 P‐0005894 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUCKER, JAMES H.
NO ADDRESS PROVIDED
                                                      P‐0005895 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KORAN, KENNETH S.
KORAN, KIMBERLY K.
27203 S 88TH AVE
MONEE, IL 60449                                       P‐0005896 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
EYNON, FRED R.
EYNON, DONNA G.
5760N 1650W
UTAH 84770
ST GEORGE, UT 84770                                 P‐0005897 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASHA, ANDREW D.
PASHA, TERESA D.
101 BRINY AVE.
APT.#2101
POMPANO BEACH, FL 33062                             P‐0005898 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AYYAD, HANAN
14647 S. 94TH AVE
ORLAND PARK, IL 60462                               P‐0005899 10/26/2017    TK Holdings Inc., et al .                   $28,591.56                                                                                   $28,591.56
SANCHEZ, RICHARD
209 COUNTY ROAD 573
CASTROVILLE, TX 78009                               P‐0005900 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOLER, BENJAMIN N.
11019 STONE RD
VALLEY VIEW OHIO 44125
                                                    P‐0005901 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DWENGER, KEVIN L.
387 CHARRING CROSS CIRCLE
MUNROE FALLS, OH 44262                              P‐0005902 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINCH, KIMBERLY A.
7147 LIPAN STREET
DENVER, CO 80221                                    P‐0005903 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRONE, PATRICIA A.
205 EGBERT AVE
STATEN ISLAND, NY 10310                             P‐0005904 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INGISH, KAREN S.
INGISH, STEPHEN J.
381 ELK TRAIL
LAFAYETTE, CO 80026                                 P‐0005905 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADRID, MARTA A.
13910 SWISS HILL DRIVE
HOUSTON                                             P‐0005906 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIASSON, WILLIAM B.
95 LAUREL STREET
ATHOL, MA 01331                                     P‐0005907 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARE, WINSTON
WARE, WINSTON
158 PADDOCK AVE
APT #1801
MERIDEN, CT 06450                                   P‐0005908 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENCE, PEGGY A.
601 4TH STREET
LURAY, VA 22835                                     P‐0005909 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MODTLAND, SHELLEY V.
8547S CASCADE SPRINGS LN
APT# 822
WEST JORDAN, UT 84088                               P‐0005910 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOVE, ANTHONY D.
227 SUNFLOWER DRIVE
PINE HILL, AL 36769                                 P‐0005911 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                        Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                           Amount                                                  Amount
SCHWEITZER, JOHN K.
78 WELLINGTON AVE
SHORT HILLS, NJ 07078
                                                         P‐0005912 10/26/2017    TK Holdings Inc., et al .                     $350.00                                                                                       $350.00
CHIASSON, WILLIAM B.
95 LAUREL STREET
ATHOL, MA 01331                                          P‐0005913 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRMSER, OLIVIER J.
93 MOUNTAIN VIEW RD.
WARREN, NJ 07059                                         P‐0005914 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACRAE, DAVID M.
4 MARIANNA AVENUE
AUBURN, MA 01501                                         P‐0005915 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCK, JIM L.
509 MARQUETTE ROAD
MACHESNEY PARK, IL 61115                                 P‐0005916 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUCE, THERESA R.
3914 EDNOR ROAD
BALTIMORE, MD 21218                                      P‐0005917 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VASSAU, GERALYN E.
234 S LAKE ST
GRAYSLAKE, IL 60030                                      P‐0005918 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANGINI, LINDA
6421 DRAKE CT
NEW PORT RICHEY, FL 34652‐2024                           P‐0005919 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGHSOUDLOU, PEYMAN
2 SLEEPY HOLLOW CT
NORTH CALDWELL, NJ 07006                                 P‐0005920 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, SUMMER
MID GA LEASE AND SALES
1317 SELLS RD
MILNER, GA 30257                                         P‐0005921 10/26/2017    TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
BRYANT, LOUIS D.
2440 CABLE AVE
BEAUMONT, TX 77703‐5322                                  P‐0005922 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVERILL, LAURA E.
92 MCINTOSH LANE
BEDFORD, NH 03110                                        P‐0005923 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLER, MICHAEL H.
15507 E GOLDEN EAGLE BLVD
FOUNTAIN HILLS, AZ 85268                                 P‐0005924 10/26/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WYCHE, APRIL
10203 SW 18TH COURT
MIRAMAR, FL 33025                                        P‐0005925 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, KELA L.
808 E TOWNE LAKE CIRCLE
OPELIKA, AL 36804                                        P‐0005926 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAPLAN, JAY
1 SHAWNEE PASS
WESTFIELD, NJ 07090                                      P‐0005927 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRED, RICHARD C.
FRED, IRENE D.
86 STONEY DRIVE
PALM BEACH GARDE, F 33410‐1560                           P‐0005928 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
TRAN, TECK
83 RIDGEFIELD DR
MIDDLETOWN, CT 06457                                P‐0005929 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANTCZAK, SANDRA M.
10309 LAWLER AVE
OAK LAWN, IL 60453                                  P‐0005930 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, JAMES B.
5326 N 24TH PL
PHOENIX, AZ 85016                                   P‐0005931 10/26/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
CHESTNUT, PAUL V.
545 COVERED BRIDGE BLVD APT A
APT A
LAKE WORTH, FL 33467                                P‐0005932 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MARGO L.
518 NORTH CIRCLE
ITASCA, IL 60143‐1670                               P‐0005933 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERCALDI, VINCENT
1538 CHANTILLY LANE
HOUSTON, TX 77018                                   P‐0005934 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, VICTOR
1417 GLENN AVE
LEHIGH ACRES, FL 33972                              P‐0005935 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, XUECHENG
2444 CIMMARON DR
PLANO, TX 75025                                     P‐0005936 10/26/2017    TK Holdings Inc., et al .                    $2,400.00                                                                                    $2,400.00
TANKSLEY, JOSHUA O.
1403 MEADOW TER
LAGRANGE, GA 30240                                  P‐0005937 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESPOT, STEPHEN P.
675 SAINT CLAIR AVENUE
BARBERTON, OH 44203                                 P‐0005938 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRADY, MARIE P.
69 ALHAMBRA CIRCLE NORTH
AGAWAM, MA 01001                                    P‐0005939 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUDSON, LEMARCUS J.
7628 MAIN STREET
GROVETOWN, GA 30813                                 P‐0005940 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, TAREN D.
9243 SOUTH SR 121
MACCLENNY, FL 32063                                 P‐0005941 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGLETON, LAKINGYA
651 MORELAND AVE
ATLANTA, GA 30316                                   P‐0005942 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANZONE, DEBRA K.
11704 N MARLTON AVE
UPPER MARLBORO, MD 20772                            P‐0005943 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAFER, RICHARD G.
209 PARKWOOD DR.
CRANBERRY TOWNSH, PA 16066                          P‐0005944 10/26/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
SPAR, LISA A.
840 SHORE ROAD
APT. 6D
LONG BEACH, NY 11561                                P‐0005945 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMBS, MICHAEL D.
6282 NORTH 40 CIRCLE
MACCLENNY, FL 32063                                 P‐0005946 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
GOLDEN, ARTHUR M.
7000 BLVD. E.
APT. 15A
GUTTENBERG, NJ 07093‐4830                          P‐0005947 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAFER, RICHARD G.
209 PARKWOOD DR.
CRANBERRY TOWNSH, PA 16066                         P‐0005948 10/26/2017    TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
SUSSMAN‐SKALKA, CAROL
606 PARK PLACE
SPRINGFIELD, NJ 07081                              P‐0005949 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIEVES, VANESSA
641 PARK AVENUE
ELIZABETH, NJ 07208                                P‐0005950 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTCOTT, KATHERINE E.
LACINSKI, DAVID J.
80 DAMON ROAD APT 5301
NORTHAMPTON, MA 01060                              P‐0005951 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANZONE, JOHN P.
11704 N MARLTON AVE
UPPER MARLBORO, MD 20772                           P‐0005952 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRISHNAN, ARVIND
1415 S PARK PL
NEW HYDE PARK, NY 11040                            P‐0005953 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, EILEEN N.
68 TOWNHOUSE DR
MASSAPEQUA PARK, NY 11762                          P‐0005954 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBBELL, TAMI S.
HUBBELL JR, DONALD R.
1017 MONARCH DRIVE
CHATHAM, IL 62629                                  P‐0005955 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUMPHREY, JEFFREY L.
NO ADDRESS PROVIDED
                                                   P‐0005956 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOOMAND, ABDUL W.
818 CLEMENT DRIVE
CEDAR HILL, TX 75104                               P‐0005957 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONODY, SEAN M.
ONODY, SEAN M.
1509 STATE ROUTE 94
NEW WINDSOR, NY 12553                              P‐0005958 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUSSMAN‐SKALKA, CAROL
SUSSMAN‐SKALKA, CAROL
606 PARK PLACE
SPRINGFIELD, NJ 07081                              P‐0005959 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSSI, CHRISTOPHER J.
57 MIRY BROOK ROAD
HAMILTON, NJ 08690                                 P‐0005960 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWE, PATRICK W.
P.O. BOX 153
ANDERSON, SC 29622                                 P‐0005961 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, LATOYA T.
4823 APPLEWOOD CREST LANE
ROSHARON, TX 77583                                 P‐0005962 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, TEAIR J.
1715 TIMOTHY DR SW
ATLANTA, GA 30311                                  P‐0005963 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MCDONALD, LINDA M.
50 CYNTHIA COURT
ELKTON, MD 21921                                     P‐0005964 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCUS, ALFRED
78 FARM HILL ROAD
WALLINGFORD
WALLINGFORD, CT 06492                                P‐0005965 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, SCOTT
CAI, RAN
12815 GORMAN CIR.
BOYDS, MD 20841                                      P‐0005966 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORTOLETTO, JOSEPH H.
493 PARSEGHIAN PL.
MANTENO, IL 60950                                    P‐0005967 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEALY, PATRICIA A.
NO ADDRESS PROVIDED
                                                     P‐0005968 10/26/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
ZHANG, MENGQI
123 ELMIRA LN
GAITHERSBURG, MD 20878                               P‐0005969 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATZ, AARON
3631 N 29TH ST
PHOENIX, AZ 85016‐7006                               P‐0005970 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIZANA, OLIVIA
405 OAK PARK DRIVE
PASS CHRISTIAN, MS 39571                             P‐0005971 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, GUSTAVO
WEBER, SELINA
1112 COLLIN DR
ALLEN, TX 75002                                      P‐0005972 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAI, RAN
WANG, SCOTT
12815 GORMAN CIR.
BOYDS, MD 20841                                      P‐0005973 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, TRICIA T.
113 STAGE HARBOR ROAD
MARLBOROUGH, CT 06447                                P‐0005974 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGH, SONAL
108 MELLING PL.
CARY, NC 27519                                       P‐0005975 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, DELMAR F.
CAMPBELL, ROBERTA J.
2242 EAST 14TH STREET
MUNCIE, IN 47302                                     P‐0005976 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JIMMY D.
JOHNSON, BOBBIE J.
1 MARY CT
LONG BEACH, MS 39560                                 P‐0005977 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, ANGELA J.
6426 OAKLEAF WAY
MORROW, GA 30260                                     P‐0005978 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOGAN, LAVELLE
2933 TIFFANY DRIVE
2933 TIFFANY DRIVE
MARIETTA, GA 30008                                   P‐0005979 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
JONES, SHENEE
215 CEDAR DR
PEACHTREE CITY, GA 30269                             P‐0005980 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TESTA, RAYMOND
48 MACLEOD LANE
BLOOMFIELD, NJ 07003                                 P‐0005981 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TABACZYK, EDWARD J.
751 KEYSTONE LANE
VERNON HILLS, IL 60061                               P‐0005982 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, RACHAEL E.
36500 PEPPER DRIVE
SOLON, OH 44139                                      P‐0005983 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DROBITSKIY, YURIY
23 OSPREY DR
OLD BRIDGE, NJ 08857                                 P‐0005984 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENJAMIN, ROBERT M.
480 WEST AVE.
PAWTUCKET, RI 02860                                  P‐0005985 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERALI, RAZVINA
3472 DRAWBRIDGE TERRACE
DULUTH, GA                                           P‐0005986 10/26/2017    TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
STEWART, RALPH E.
36500 PEPPER DRIVE
SOLON, OH 44139                                      P‐0005987 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, YONG
26 BRIDLE PATH
AUBURN, MA 01501                                     P‐0005988 10/26/2017    TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
WATSON, DEWAYNE A.
9133 HONEYSUCKLE LANE
GULFPORT, MS 39503                                   P‐0005989 10/26/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
GARCIA, JOEL
9 SUMMERHILL RD
WALLINGFORD, CT 06492                                P‐0005990 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLBROOK, WHITNEY S.
401 N CROMWELL RD L7
SAVANNAH, GA 31410                                   P‐0005991 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAN, BRIAN
1066 SKIPTON DRIVE
NORTH SALT LAKE, UT 84054                            P‐0005992 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTGOMERY, FLORA E.
5705 EASTWOOD DRIVE
MOSS POINT, MS 39563                                 P‐0005993 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEHYMER, JEFFREY W.
BEHYMER, GOLDIE K.
9124 84 TERR N
SEMINOLE                                             P‐0005994 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUO, YICHEN
3 BALL TER
BOONTON, NJ 07005                                    P‐0005995 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGH, ABHISHEK N.
758 LAKEVIEW DR APT 2B
WHEELING, IL 60090                                   P‐0005996 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZDON, KAY L.
2418 ROGERS LOOP
SAN ANTONIO, TX                                      P‐0005997 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HARRISON, NEFRETITI D.
7803 ARBOR GROVE DRIVE #326
HANOVER, MD 21076                                   P‐0005998 10/26/2017    TK Holdings Inc., et al .                   $26,111.63                                                                                   $26,111.63
WOOD, K RYAN
WOOD, KELLY S.
404 BARLEY MILL DR
GREER, SC 29651                                     P‐0005999 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OBENREDER, DOROTHY J.
3232 HANNON RD
ERIE, PA 16510                                      P‐0006000 10/26/2017    TK Holdings Inc., et al .                   $17,500.00                                                                                   $17,500.00
BROWN, AMANDA A.
BROWN, ROBERT L.
1493 FENWICK DR SW
MARIETTA, GA 30064                                  P‐0006001 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMILTON, REBECCA J.
3225 WOODLAND PARK DR
APT 883
HOUSTON, TX 77082                                   P‐0006002 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIDSON, EDWARD J.
BRIDSON, LESLIE A.
138 OLD TOWN WAY
HANOVER, MA 02339                                   P‐0006003 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMAYA, PATRICIA E.
4680 BEACON RIDGE LN
FLOWERY BRANCH, GA 30542                            P‐0006004 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHATRI, IBRAHIM
6 OSWEGATCHIE RD
WATERFORD, CT 06385                                 P‐0006005 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, DEAN
ANDERSON, CHRISTINE
501 BRIARWOOD COURT
TROPHY CLUB, TX 76262                               P‐0006006 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VERSANNE, MICHLINE
870 NW 175 ST
MIAMI_GARDENS, FL 33169                             P‐0006007 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAZQUEZ, LIZETTTE
50 SEVENTH STREET
NORTH ARLINGTON, NJ 07031                           P‐0006008 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAIA, WENDY
3690 PINEDALE ST,
BOULDER, CO 80301                                   P‐0006009 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACAULEY, MARGARETTE A.
3543 BRIDGE WALK DRIVE
LAWRENCEVILLE, GA 30044                             P‐0006010 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUPP, SANDRA L.
RUPP, GEORGE W.
4127 BANKS ROAD
SAINT ANN, MO 63074                                 P‐0006011 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOVEN, SCHUYLER J.
2106 RIVER GREEN DRIVE NW
ATLANTA, GA 30327                                   P‐0006012 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREEMAN, LAUREN A.
3350 RANCH RD.
MARIETTA, GA 30066                                  P‐0006013 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
FRENCHMAN, BRIAN S.
9961 MARSALA WAY
DELRAY BEACH, FL 33446                               P‐0006014 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOOR, EDWARD R.
1030 FOWLER
EVANSTON, IL 60202                                   P‐0006015 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOLEY, LUKE C.
11414 BENTON STREET
LOMA LINDA, CA 92354                                 P‐0006016 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GU, MING D.
18503 SHELTON WAY
DALLAS, TX 75252                                     P‐0006017 10/26/2017    TK Holdings Inc., et al .                     $873.00                                                                                       $873.00
WHEELER, DARIAN J.
2931 MATHEWS
BALTIMORE, MD 21218                                  P‐0006018 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRY, BRENDA
15 FARRAGUT DRIVE
PISCATAWAY, NJ 08854                                 P‐0006019 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LILLY, ANNALISA
3624 WINNEBAGO ST.
ST. LOUIS, MO 63116                                  P‐0006020 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILSTEIN, MICHAEL
2675 EAST 7TH STREET, APT. 6C
NEW YORK, NY 11235                                   P‐0006021 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRY, BRENDA
15 FARRAGUT DRIVE
PISCATAWAY, NJ 08854                                 P‐0006022 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUTTON, PAUL A.
SUTTON, MELISSA M.
5142 ELIZABETH
CHUBBUCK, ID 83202                                   P‐0006023 10/26/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
WEBSTER, TIMOTHY P.
5127 WAGON WHEEL LANE
COLUMBUS, OH 43230                                   P‐0006024 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDMAN, GEORGE W.
1281 STRATHMILL COURT
SURFSIDE BEACH, SC 29575                             P‐0006025 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, JOAN C.
4526 CASEYVILLE AVE.
EAST ST. LOUIS, IL 62204                             P‐0006026 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRY, SR., ALONZO
15 FARRAGUT DRIVE
PISCATAWAY, NJ 08854                                 P‐0006027 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDMAN, GEORGE W.
1281 STRATHMILL COURT
SURFSIDE BEACH, SC 29575                             P‐0006028 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, SCOTT J.
941 BOTANICAL HEIGHTS CIR
ANCHORAGE, AK 99515                                  P‐0006029 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BESTE, CHRIS A.
11923 KENTWOOD DRIVE
MARYLAND HEIGHTS, MO 63043                           P‐0006030 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUNG, FRANK H.
258 BARROW STREET
APT 3D
JERSEY CITY, NJ 07302                                P‐0006031 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
VEGA, JORGE V.
242 WOODSIDE LN
TALLMAGE, OH 44278                                 P‐0006032 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELKIN, IGOR
10 DANIELLE DR.
DANVERS, MA 01923                                  P‐0006033 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONADO, AMILIO R.
1966 S ILLINOIS ST.
DES PLAINES, IL 60018                              P‐0006034 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEHYMER, JEFFREY W.
BEHYMER, GOLDIE K.
9124 84 TERR N
SEMINOLE, FL 33777                                 P‐0006035 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARIAS, FRANK
FARIAS, VANESSA M.
8221 DANCING AVENUE
LAS VEGAS, NV 89131                                P‐0006036 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAST, THOMAS A.
MAST, SANDRA G.
10358 E EXCAVATION CT.
GOLD CANYON, AZ 85118                              P‐0006037 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOSOGLAZ, ALEXANDER
1420 SOMERSET COURT
MUNDELEIN, IL 60060                                P‐0006038 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASON, DEBBIE
1418 INDIGO DR
MORTON, IL 61550                                   P‐0006039 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANFREDI, CLAUDIA J.
131 MILLINGTON DRIVE
MIDLAND PARK, NJ 07432                             P‐0006040 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENWELL, GLENN M.
7 TRENDY RIDGE DRIVE
TEXARKANA, AR 71854‐8218                           P‐0006041 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWTON, JOSIE M.
NEWTON, IDA M.
323 BENTON RD
EDMOND, OK 73034                                   P‐0006042 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OBERMANN, CAROL L.
11 PLEASANT DRIVE
WHEELING, WV 26003                                 P‐0006043 10/26/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BHINGARDE, NIKHIL G.
BHINGARDE, ISHA N.
26 WINTER ST.
EDISON, NJ 08820                                   P‐0006044 10/26/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
JOHN, FUMI
840 WINDING GROVE LANE
LOGANVILLE, GA 30052                               P‐0006045 10/27/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MERIWETHER‐BURGE, LATONYA
P O BOX 278832
MIRAMAR, FL 33027                                  P‐0006046 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASMAN, ZVI E.
813 S LINCOLN AVE
SPRINGFIELD, IL 62704                              P‐0006047 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHN, FUMI
840 WINDING GROVE LANE
LOGANVILLE, GA 30052                               P‐0006048 10/27/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
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                                                                                                                   Current General                                         Current 503(b)(9)
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HACHEY, KELLY F.
1108 LOUISVILLE AVE
APT 2S
ST LOUIS, MO 63139                                   P‐0006049 10/27/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
HALVERSON, DOUGLAS A.
1430 S FAIRFIELD AVE
LOMBARD, IL 60148                                    P‐0006050 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERIWETHER‐BURGE, LATONYA
P O BOX 278832
MIRAMAR, FL 33027                                    P‐0006051 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORENO, MONICA
FLAGSHIP FINANCIAL
1608 W WOOD DR
PHOENIX, AZ 85029‐1754                               P‐0006052 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PROFFITT, JUDY C.
PROFFITT, DENNIS L.
3917 E ALTADENA AVE
PHOENIX, AZ 85028‐2109                               P‐0006053 10/27/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
KUJAWSKI, GARY L.
7442 S QUAIL CIRCLE, APT 2122
LITTLETON, CO 80127                                  P‐0006054 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORCROSS, JOSHUA D.
951 LINCOLN PL
BOULDER, CO 80302                                    P‐0006055 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LLOYD, DONOVAN B.
LLOYD, LAWAYNA M.
1966 MEADOW TRAILS DRIVE
FLORISSANT, MO 63031                                 P‐0006056 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAYED, BRANDON M.
7532 LOWILLA LANE
LITHONIA, GA 30058                                   P‐0006057 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHTANI, HIROO M.
61‐45 98TH STREET
APT 7 M
REGO PARK, NY 11374                                  P‐0006058 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUMMINELLO, SAMANTHA
29 PEMBROOK AVENUE
NORTH BRUNSWICK, NJ 08902                            P‐0006059 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWMAN, CHARLES R.
MUNSONBOWMAN, MICHELE M.
23 CEDAR HILL ROAD NE
ALBUQUERQUE, NM 87122                                P‐0006060 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOOR‐ORDONEZ, SHIRLEY D.
714 21ST STREET
UNION CITY, NJ 07087                                 P‐0006061 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGENSTERN, JOSH L.
365 WEST END AVE
#603
NEW YORK, NY 10024                                   P‐0006062 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASEY, CASSANDRA D.
3221 BLANKET FLOWER WAY
LEHI, UT 84043                                       P‐0006063 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, YE
706 RIVER RENAISSANCE
EAST RUTHERFORD, NJ 07073                            P‐0006064 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
MORROW, RANDY S.
2416 HARWOOD RD 444
BEDFORD, TX 76021                                  P‐0006065 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARNER, MERRIL
2287 W BONANZA CIR
SOUTH JORDAN, UT 84095                             P‐0006066 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORPILLA, ELMER M.
130 LINDEN AVE
STREAMWOOD, IL 60107‐3161                          P‐0006067 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERLMUTTER, STEVEN B.
PERLMUTTER, NORA E.
14227 N 69TH PLACE
SCOTTSDALE, AZ 85254                               P‐0006068 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERLMUTTER, STEVEN B.
PERLMUTTER, NORA E.
14227 N 69TH PLACE
SCOTTSDALE, AZ 85254                               P‐0006069 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOUGLAS, EVINN X.
4715 WOODBINE WAY
ALPHARETTA, GA 30004                               P‐0006070 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMDAN, ABEER
HAMDAN, NASSER
6123 E REDFIELD RD
SCOTTSDALE, AZ 85254                               P‐0006071 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAN, NGA N.
9340 BEAR BASIN CT
LAS VEGAS, NV 89178                                P‐0006072 10/27/2017    TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
BIGGS, GEORGE J.
BIGGS, PROMPON C.
6508 AVENIDA SEVILLE NW
ALBUQUERQUE, NM 87114                              P‐0006073 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GODFREY, JR., ROBERT J.
GODFREY, TEARRA M.
12702 RICHLAND PL
UPPER MARLBORO, MD 20772                           P‐0006074 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLETTE, MARTHA
716 NARRAGANSETT AVENUE
EAST PATCHOGUE, NY 11772                           P‐0006075 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIEMONTE, PHILLIP J.
1821 RIZZI LANE
BARTLETT, IL 60103                                 P‐0006076 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VINOGRADSKY, ARTHUR
50B IOZIA TER
ELMWOOD PARK, NJ 07407                             P‐0006077 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAUND, JOHN M.
BRAUND, SUE E.
352 BERTRAM ROAD
SUMMERVILLE, SC 29485                              P‐0006078 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOHS, JEFF T.
194 RANDAL CIR NE
NORTH CANTON, OH 44720                             P‐0006079 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEDUZZI, CHISTOPHER J.
6528 NIGHTINGALE COURT
NEW MARKET, MD 21774‐6620                          P‐0006080 10/27/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
BROWN, MARSHALL G.
195 LYME COURT
ROSWELL, GA 30075                                  P‐0006081 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FELDMAN, KIRSTEN B.
783 WATERTOWN ST
WEST NEWTON, MA 02465                              P‐0006082 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITFIELD, DAVID E.
52 SMITH RAIL SPUR
LYERLY GA. 30730
                                                   P‐0006083 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, MARSHALL G.
195 LYME COURT
ROSWELL, GA 30075                                  P‐0006084 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOJCIK, JAMES A.
BLACKSTONE GAS COMPANY
P.O. BOX 162
BLACKSTONE, MA 01504                               P‐0006085 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUN, YURIY
73 LINDEN RIDGE RD.
AMHERST, MA 01002                                  P‐0006086 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOLLICK, MARVIN E.
MARVIN FOLLICK
7777 OKEANA DREWERSBURG ROAD
OKEANA, OH 45053                                   P‐0006087 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHROEDER, ERIC P.
3109 ROCKINGHAM DRIVE NW
ATLANTA, GA 30327                                  P‐0006088 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEITIN, ABRAHAM
20775 ATHENIAN LANE
NORTH FORT MYERS, FL 33917                         P‐0006089 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAY, ADRIAN L.
4953 BLOOMFIELD DR APT A
DAYON, OH 45426                                    P‐0006090 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOJCIK, JAMES A.
BLACKSTONE GAS COMPANY
P.O. BOX 162
BLACKSTONE, MA 01504                               P‐0006091 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARDONA, RICARDO
8 BURNET ST
AVENEL, NJ 07001                                   P‐0006092 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHORE, JOHN
7017 BOULDER PATH DRIVE
CINCINNATI, OH 45247                               P‐0006093 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOJCIK‐LUCHUK, JOANNA
65 MILK STREET
BLACKSTONE, MA 01504                               P‐0006094 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GODFREY, KENDRA O.
86 MOSSBURG TRAIL
JASPER, GA 30143                                   P‐0006095 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUROCHER, ERIC S.
118 LUCKIE STREET
CARTERSVILLE, GA 30120                             P‐0006096 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATE, GEORGE R.
PATE, VIRGINIA S.
393 W. 300 S.
VALPARAISO, IN 46385                               P‐0006097 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HOCHSTETLER, MARVIN J.
15226 S STATE AVE
MIDDLEFIELD, OH 44062                               P‐0006098 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEWELLING, JONATHAN S.
6 WENTWORTH ST
EXETER, NH 03833                                    P‐0006099 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, CHARLENA W.
1124 WESTFIELD DRIVE
OXON HILL, MD 20745                                 P‐0006100 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARDONA, RICARDO
8 BURNET ST
AVENEL, NJ 07001                                    P‐0006101 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEPRIEST, JOANNE P.
98 MAPLE ST
LYNN, MA                                            P‐0006102 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURPHEY, GORDON F.
90 RIVERDALE ST
WEST SPRINGFIELD, MA 01089                          P‐0006103 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARDONA, RICARDO
8 BURNET ST
AVENEL, NJ 07001                                    P‐0006104 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, DAVID V.
YOUNG, BARBARA F.
3142 GRACEFIELD ROAD
APARTMENT 220
SILVER SPRING, MD 20904                             P‐0006105 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRASER, MICHAEL N.
2006 ARNOLD PALMER BLVD
LOUISVILLE, KY 40245                                P‐0006106 10/27/2017    TK Holdings Inc., et al .                   $22,806.00                                                                                   $22,806.00
HARRIS, DIANA P.
HARRIS, JAMES D.
1104 BLACKFOOT DRIVE
EVANS, GA 30809                                     P‐0006107 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DONNY L.
WILLIAMS, SAMANTHA M.
21 FAIRVIEW AVENUE
NEW HAVEN, CT 06512                                 P‐0006108 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCFARLAND, DANIEL
49 PARKVIEW DRIVE
PAINESVILLE, OH 44077                               P‐0006109 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUFALINO, VINCE V.
BUFALINO, CATHERINE
817 BRADWELL
INVERNESS, IL 60010                                 P‐0006110 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THORNTON, ERICA L.
ERICA LATRECE THORNTON
330 SHANNON COURT NW
FORT WALTON BEAC, FL 32548                          P‐0006111 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFE, ARI
278 CLIFTON PL.
#1
BROOKLYN, NY 11216                                  P‐0006112 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASCALE, LYNN O.
120 EUSTON RD
GARDEN CITY, NY 11530                               P‐0006113 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
COPATH2014, RICHARD S.
SUSAN C.
82 EMMETT AVE.
DEDHAM, MA 02026                                     P‐0006114 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, CLYDE
6160 ROCK SPRINGS RD
LITHONIA, GA 30038                                   P‐0006115 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIPES, MITCHELL L.
310 PENCRSOO PLACE
LOUISVILLE, KY 40223                                 P‐0006116 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUMGARTNER, ARETTA L.
943 PEACHTREE ST NE
UNIT 1501
ATLANTA, GA 3039                                     P‐0006117 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, FELITA
3132 GRASMERE AVE
COLUMBUS, OH 43224                                   P‐0006118 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRANK, MICHELE L.
16 PINECREST RD
SALISBURY MILLS, NY 12577                            P‐0006119 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAURENT, BARRY R.
412 GREENWOOD RD
LINTHICUM, MD 21090                                  P‐0006120 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, MAURICE
17244 133RD AVE
APT. 4G
JAMAICA, NY 11434                                    P‐0006121 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROTTY, JOHN P.
51 TERRACE RD
FRANKLIN, NH 03235                                   P‐0006122 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYCE, BROOKS R.
707 CHEYENNE LN
ELGIN, IL 60123                                      P‐0006123 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKE‐MACKENZIE, KERRY
20 EDGERTON DR
3C
N FALMOUTH, MA 02556                                 P‐0006124 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLATTS, ZYNNESS
P.O. BOX 290663
TAMPA, FL 33687                                      P‐0006125 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, TINA M.
SMITH, JAMES E.
1567 HIGHWAY 31 NORTH
PRATTVILLE, AL 36067                                 P‐0006126 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYCE, BROOKS R.
707 CHEYENNE LN
ELGIN, IL 60123                                      P‐0006127 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ATHANASIO, GEENA M.
101 HILLTOP ROAD
LEVITTOWN, NY 11756                                  P‐0006128 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWE, DANA M.
CROWE, CLIFFORD A.
1661 LEE ROAD 270
CUSSETA, AL 36852                                    P‐0006129 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
GRIFFIN, ROSA L.
923 OLD AIKEN ROAD
NORTH AUGUSTA, SC 29841                            P‐0006130 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNLOP, NOELLE D.
53 CEDAR HILL TERR
MILLER PLACE, NY 11764                             P‐0006131 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELLBROCK, ANN L.
27 TALL TIMBRS
WATCHUNG, NJ 07069‐6426                            P‐0006132 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIDDLETON, DARRYL T.
259 VERMILLION DRIVE
COLUMBIA, SC 29209                                 P‐0006133 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBSON, DEBRA L.
615 S. CHERRY ST
SENECA, SC 29678                                   P‐0006134 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACLEOD, KRISTIN A.
20 PRICE ROAD
ASHEVILLE, NC 28805                                P‐0006135 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISCHER, MARYALICE
142 CANAAN RD
STRAFFORD, NH 03884                                P‐0006136 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIDDLETON, DARRYL T.
259 VERMILLION DRIVE
COLUMBIA, SC 29209                                 P‐0006137 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GASSER, LAWRENCE E.
GASSER, KATHLEEN P.
20 AMBER CT
CRETE, IL 60417                                    P‐0006138 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VEIGA, PAUL A.
310 SORGHUM MILL DRIVE
CHESHIRE, CT 06410                                 P‐0006139 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGE, SHANTELL R.
2675 YANK HAVEN DR
SUMTER, SC 29153                                   P‐0006140 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DYSON, AIMEE R.
DYSON, JEREMY R.
24 N FOLEY AVE
FREEPORT, IL 61032                                 P‐0006141 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLT, RYAN V.
4930 CONDOR PL NE
MARIETTA, GA 30066                                 P‐0006142 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGGINS, HANNAH M.
2831 PETERSBURG COURT
DECATUR, GA 30034                                  P‐0006143 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOUSSOU, LAILA
402‐B OXFORD LANE
MONROE TOWNSHIP, NJ 08831                          P‐0006144 10/27/2017    TK Holdings Inc., et al .                   $31,500.00                                                                                   $31,500.00
VEIGA, PAUL A.
VEIGA, JILL L.
310 SORGHUM MILL DRIVE
CHESHIRE, CT 06410                                 P‐0006145 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KYSER, RENEE
658 COUNTY ROAD 423
OPP, AL 36467                                      P‐0006146 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
EDELMAN, MARK
EDELMAN, MARK
8 MONTROSE AV
FANWOOD, NJ 07023                                   P‐0006147 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZANELLI, JENNIFER
105 CAJUN LANE
BRICK, NJ 08724                                     P‐0006148 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEITIN, CHERYL S.
20775 ATHENIAN LANE
NORTH FORT MYERS, FL 33917                          P‐0006149 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDELMAN, MARK
8 MONTROSE AV
FANWOOD, NJ 07023                                   P‐0006150 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZANELLI, JENNIFER
ZANELLI, JENNIFER
105 CAJUN LANE
BRICK, NJ 08724                                     P‐0006151 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUCKABAY, BRIAN K.
633 COUNTY LINE RD
CUMMING, GA 30040                                   P‐0006152 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZANELLI, JENNIFER
105 CAJUN LN
BRICK, NJ 08724                                     P‐0006153 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEANGELIS, ANTHONY
16 BOYLE PL
STATEN ISLAND, NY 10306                             P‐0006154 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOJCIK, JAMES A.
BLACKSTONE GAS COMPANY
P.O. BOX 162
BLACKSTONE, MA 01504                                P‐0006155 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUHRMAN, MARC
FUHRMAN, MARC
12 WOODLAND DR.
OLD BETHPAGE, NY 11804                              P‐0006156 10/27/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
SALLOUM, SALIM G.
402 B OXFORD LANE
MONROE TOWNSHIP, NJ 08831                           P‐0006157 10/27/2017    TK Holdings Inc., et al .                   $36,500.00                                                                                   $36,500.00
FIFE, AMANDA J.
163 CHURCH STREET
SUMMÈRVILLE, GA 30747                               P‐0006158 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROUNTREE, BENITA D.
133 SUMMIT AVE APT 9
SUMMIT, NJ 07901                                    P‐0006159 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRAWL WOODS, KEISHA
9716 DUFFER WAY
GAITHERSBURG, MD 20886                              P‐0006160 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, KYESHIA J.
224 SILVER SPRING STREET
DALLAS, GA                                          P‐0006161 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRADDOCK, KERRIC G.
BAILEY, JOHNINE L.
2708 KILBURN AVE.
DALLAS, TX 75216                                    P‐0006162 10/27/2017    TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
BARRY, JOHN D.
2514 WILSON AVE
SIGNAL MOUNTAIN, TN 37377                           P‐0006163 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
                                                                                          Page 693 of 3875
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MEYER, LYNN S.
54 PLEASANTVIEW STREET
LUDLOW, MA 01056                                    P‐0006164 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALLOUM, LAILA
402 B OXFORD LANE
MONROE TOWNSHIP, NJ 08831                           P‐0006165 10/27/2017    TK Holdings Inc., et al .                   $18,500.00                                                                                   $18,500.00
OWENS, ERMALINDA C.
7842 EDGELAKE DR
ORLANDO
ORLANDO, FL 32822                                   P‐0006166 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUBYK, NICHOLAS
26006 ROSE
WESTLAKE, OH 44145                                  P‐0006167 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAVENS, WAYNE B.
11782 HOOVER AVE NW
UNIONTOWN, OH 44685                                 P‐0006168 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUKE, BARBARA S.
2772 OLD BARN TRAIL
POWDER SPRINGS, GA 30127                            P‐0006169 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDAN, WILLIAM L.
11470 AZALEA TRACE
GULFPORT, MS 39503                                  P‐0006170 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWENS, PERRY
10 N HOWELL AVE
CHATTANOOGA, TN 37411                               P‐0006171 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLIS, CYNTHIA E.
NO ADDRESS PROVIDED
                                                    P‐0006172 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEAL, KENJUAN L.
NEAL, SENDY
2190 N 55 ST
MILWAUKEE, WI 53208                                 P‐0006173 10/27/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
BISHOP, ANTHONY M.
NAVY FEDERAL CREDIT UNION
127 FAYWOOD COURT APT. L
GLENBURNIE, MD 21060                                P‐0006174 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CYPRESS, SHERISE T.
5510 MCCORMICK AVE
BALTIMORE, MD 21206‐3045                            P‐0006175 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, GEORGE F.
11499 OAKLAWN ROAD
JACKSONVILLE, FL 32218                              P‐0006176 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAIRTOO, NEIL A.
214 HIGHWOODS DR
SANFORD, NC 27330                                   P‐0006177 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCIS, THOMAS A.
2131 LADY DI LANE
JACKSONVILLE, FL 32246                              P‐0006178 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAMMER, EMILY G.
1614 GLENVIEW RD
GLENVIEW, IL 60025‐2902                             P‐0006179 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, GEORGE F.
11499 OAKLAWN ROAD
JACKSONVILLE, FL 32218                              P‐0006180 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SUSSMAN‐SKALKA, CAROL
606 PARK PLACE
SPRINGFIELD, NJ 07081                               P‐0006181 10/27/2017    TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
CRADDOCK, KERRIC G.
BAILEY, JOHNINE L.
2708 KILBURN AVE.
DALLAS, TX 75216                                    P‐0006182 10/27/2017    TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
JONES, CLYDE T.
6160 ROCK SPRINGS RD
LITHONIA, GA 30038                                  P‐0006183 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWITZER, JOHN B.
312 LOVERS LANE
OCEAN SPRINGS, MS 39564                             P‐0006184 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUHRMAN, MARC
FUHRMAN, MARC
12 WOODLAND DR.
OLD BETHPAGE, NY 11804                              P‐0006185 10/27/2017    TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
HALL, JEFFREY T.
HALL SR, JEFFREY T.
39208 ADAMS RD
LISBON, OH 44432                                    P‐0006186 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHALEC, CAROL A.
870 OLD KENSICO ROAD
THORNWOOD, NY 10594                                 P‐0006187 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, CONSTANCE C.
541 CORKHILL RD.
#205B
BEDFORD, OH 44146                                   P‐0006188 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, PATRICK A.
5046S. NELSON ST., APT B
LITTLETON, CO 80127                                 P‐0006189 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLASS, RICHARD E.
3 DAVIDS LANE
HILLSBOROUGH, NJ 08844                              P‐0006190 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIN, BRADLEY N.
842 PRAIRIE BROOK COURT
HOUSTON, TX 7706                                    P‐0006191 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONILLA, JUANA Y.
RAMIREZ, JEANCARLOS
3050 GRAND CONCOURSE APT 4D
BRONX, NY 10458                                     P‐0006192 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RABIN BLAIR, LAUREN K.
5 LIVELY STONE CT
BALTIMORE, MD 21209                                 P‐0006193 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAYTCH, TAMARA A.
40 OAK HILL DRIVE
SHARON, MA 02067                                    P‐0006194 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEHNER, ALICE B.
3368 GRASMERE DRIVE
LEXINGTON, KY 40503                                 P‐0006195 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIN, BRADLEY N.
NO ADDRESS PROVIDED
                                                    P‐0006196 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRATCHER, LATONYA M.
51 HIGHOAK DRIVE
MARIETTA, GA 30066                                  P‐0006197 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GREGORY, PEGGY J.
1731 LELAND
ECVANSTON                                            P‐0006198 10/27/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MILLER, KIMBERLY A.
1547 CYPRESS BEND TRAIL
GULF BREEZE, FL 32563                                P‐0006199 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ETTLINGER, BEN
10 OVERLOOK TER.
APT 1E
NEW YORK, NY 10033                                   P‐0006200 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOWNE, ADAM M.
363 WYASSUP RD.
NORTH STONINGTON, RI                                 P‐0006201 10/27/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
HAMPSON, CAITLYN E.
NO ADDRESS PROVIDED
                                                     P‐0006202 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, CLYDE T.
6160 ROCK SPRINGS RD
LITHONIA, GA 30038                                   P‐0006203 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEES, ANGIE C.
7510 PLANTATION ROAD
VANCLEAVE, MS 39565                                  P‐0006204 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNN, KIM M.
146 DIDDELL RD
WAPPINGERS FALLS, NY 12590                           P‐0006205 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILL, KENDRA
1728 LAUREL CREEK CI
LITHONIA, GA 30058                                   P‐0006206 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONDERER, MICHAEL D.
1400 STEUART ST.
BALTIMORE, MD 21230                                  P‐0006207 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FENNELL, ANNETTE D.
17 PIONEERS POINT COURT
IRMO, SC 29063                                       P‐0006208 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLLIDAY, NORMAN G.
2325 LEWIS AVE APT 10
ZION, IL 60099                                       P‐0006209 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMMONS, ROBERT L.
2221 FLEETWOOD COURT, SW
ATLANTA, GA 30311                                    P‐0006210 10/27/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
LYNCH, BROOKE
16 FORDWAY ST
DERRY, NH 03038                                      P‐0006211 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURRY, TONYA C.
155 MOCKINGBIRD TRAIL
PEACHTREE CITY, GA 30269                             P‐0006212 10/27/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
DURHAM, JENNIFER
8914 SW 190TH CIRCLE
DUNNELLON, FL 34432                                  P‐0006213 10/27/2017    TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
RICHARDSON, LAKIESHA
CHRYSLER DODGE
1000 CHRYSLER DRIVE
AUBURN HILL, MI 48326                                P‐0006214 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORTER, LAKEITHIA R.
1500 BOULDERCREST RD APT #131
ATLANTA, GA 30316                                    P‐0006215 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
KAUFFMAN, CHARLES F.
5101 RIVER ROAD
APT 1813
BETHESDA, MD 20816                                  P‐0006216 10/27/2017    TK Holdings Inc., et al .                   $13,500.00                                                                                   $13,500.00
MANNING, LEIGH A.
717 EUSTIS AVE.
HUNTSVILLE, AL 35801                                P‐0006217 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYTON, PAMELA S.
11831 PEARL ROAD
APT. 204
STRONGSVILLE, OH 44136‐3337                         P‐0006218 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUFALINO, VINCENT
817 BRADWELL
INVERNESS, IL 60010                                 P‐0006219 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSATELLI, THOMAS
1550 HARBOR BLVD.
APT. 2623
WEEHAWKEN, NJ 07086                                 P‐0006220 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRANFIELD, LARONDA
673 JOCKEY LANE
AUBURN, GA 30011                                    P‐0006221 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRINDLE, MICHELLE N.
PRINDLE, JOSEPH M.
187 RIVERS RD
LOT 211
FAYETTEVILLE, GA 30214                              P‐0006222 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANNING, JOHANN R.
717 EUSTIS AVE.
HUNTSVILLE, AL 35801                                P‐0006223 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, DAVIDA
JOHNSON, DAVIDA L.
1408 CR 4816
WOLFE CITY, TX 75496                                P‐0006224 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGES, BILLY
P.O BOX 32
VILLA RIDGE, MO 63089                               P‐0006225 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, GEORGIA A.
19106 KING PL
LOWELL, IN 46356                                    P‐0006226 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, DONNA
4629 E.86TH ST
CLEVELAND, OH 44125                                 P‐0006227 10/27/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
MAURER, GLENN
MAURER, ALISON
304 FIFTH CREEK RD
STATESVILLE, NC 28625                               P‐0006228 10/27/2017    TK Holdings Inc., et al .                   $89,005.00                                                                                   $89,005.00
CHAMBERS, DAVID A.
CHAMBERS, DONNA H.
19715 REDROOT DR.
HOUSTON, TX 77084                                   P‐0006229 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN SICKLE, CLAYTON J.
833 COVENTRY LANE
CRYSTAL LAKE, IL 60014                              P‐0006230 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOBLE, JIMMY D.
6711 BERG BLVD.
SAN ANTONIO, TX 78256                               P‐0006231 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BEATY, KEVIN J.
745 TOESTRING COVE RD
SPRING CITY, TN 37381                               P‐0006232 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIERNEY, WILLIAM
21 VAHLSING WAY
ROBBINSVILLE, NJ 08691                              P‐0006233 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUAREZ, LEONEL A.
67B BOYD ST
NEWARK, NJ 07103                                    P‐0006234 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIARLELLI, REGINA E.
67 FARVIEW CIRCLE
WATERTOWN, CT 06795                                 P‐0006235 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEAD, JASON W.
3673 CORNERS WAY
PEACHTREE CORNER, GA 30092‐2344                     P‐0006236 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, SANDRA F.
HALE, TENIKA S.
26 VIADUCTS
GOODWATER, AL 35072                                 P‐0006237 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLAUS, CAROL E.
111 NEEDLE POINTE DR
GUYTON, GA 31312                                    P‐0006238 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLATTNER, III, SIMON J.
MILLER INDUSTRIAL, INC.
621 E DEVON AVENUE
ELK GROVE VILLAG, IL 60007                          P‐0006239 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, JAMES A.
83R KENDALL POND RD
DERRY, NH 03038                                     P‐0006240 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, PHEVIE R.
MITCHELL, KYLEEN R.
345 BERGEN STREET
PLAINFIELD, NJ 07063                                P‐0006241 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EBY, ROY A.
EBY, CHRISTINE
2010 EMERALD LOFT CIRCLE
KATY, TX 77450                                      P‐0006242 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLOOD, KENNETH V.
816 GREEN RIDGE LANE
SAINT CHARLES, MO 63376                             P‐0006243 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLAUS, CAROL E.
111 NEEDLE POINTE DR
GUYTON, GA 31312                                    P‐0006244 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASTORE, EVELYN K.
103 FAWNHILL ROAD
UPPER SADDLE RIV, NJ 07458                          P‐0006245 10/27/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GANDHI, NIKI
32 ROSEWAY CT
OLD TAPPAN, NJ 07675                                P‐0006246 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUINN, ROBERT A.
2990 EAGLE WAY #15
BOULDER, CO 80301                                   P‐0006247 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMBERSON, JOSEPH
19896 LARK LN
MONUMENT, CO 80132                                  P‐0006248 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
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                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
ABRAMS, KIMBERLY
10‐1 PENNY LANE
NEWBURGH, NY 12550                                 P‐0006249 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, ELISABETH W.
236 SHENANDOAH DR
HIRAM, GA 30141                                    P‐0006250 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, GLORIA M.
JOHNSON, LIONELL
1314 EAST JONES
SHERMAN, TX 75090                                  P‐0006251 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VIERRA, ROGER
152 UNION STREET
HANOVER, MA 02339‐1586                             P‐0006252 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, DONNA
4629 E.86TH ST
CLEVELAND, OH 44125                                P‐0006253 10/27/2017    TK Holdings Inc., et al .                    $3,546.00                                                                                    $3,546.00
CACCIAPALLE, JOSEPH
55 EAST CONNECTICUT CONCOURSE
JACKSON, NJ 08527                                  P‐0006254 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVER, KENNETH
75 COUNTRY DRIVE
PLAINVIEW, NY 11803                                P‐0006255 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLOYD, JILL
FLOYD, STEVE
45 COCHRAN RD
KINGS MOUNTAIN, KY 40442                           P‐0006256 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAW, CARLOTTA F.
17 SYLVAN WAY
WAYLAND, MA 01778                                  P‐0006257 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEENEY, SHAWN D.
HESTER‐KEENEY, JENNIE M.
6031 115TH AVENUE NORTH
PINELLAS PARK, FL 33782                            P‐0006258 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERCE, RICHELLE K.
1031 MUIRFIELD AVE
WAUKEGAN, IL 60085                                 P‐0006259 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, PATRICIA G.
315 JEWELL GOOCH RD
MARSHALL, TX 75670                                 P‐0006260 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOLLEDA, COLLEEN E.
668 MARINERS WAY
BOYNTON BEACH, FL 33435                            P‐0006261 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOCH, ANGELA
254 BOSTON ROAD
HINCKLEY, OH 44233                                 P‐0006262 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, DERRICK
TAYLOR, DONNA L.
7225 BAY RIDGE DRIVE
DENVER, NC 28037                                   P‐0006263 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINLANBETTENHAU, DEBRA A.
113 KIMBER DRIVE
NEW LENOX, IL 60451                                P‐0006264 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVERIO, DANTE V.
503 TILDEN AVE
TEANECK, NJ 07666                                  P‐0006265 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
RUSSOMANNO, JOHN A.
72 ANNIN ROAD
WEST CALDWELL, NJ 07006                            P‐0006266 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOROSKY, RICK B.
3401 SE CASCADIA WAY
HOBE SOUND, FL 33455                               P‐0006267 10/27/2017    TK Holdings Inc., et al .                    $2,750.00                                                                                    $2,750.00
GOBLE, BRET I.
129 KENILWORTH AVE
GLEN ELLYN, IL 60137                               P‐0006268 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT CONSULTING, INC.
4332 6TH AVE N
ST PETERSBURG, FL 33713                            P‐0006269 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRONER, TAMMY L.
183 APPLEGATE DR.
HAMILTON, NJ 08690                                 P‐0006270 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUQUETTE, JOHN N.
505 WEST 23RD ST. #2
NEW YORK, NY 10011                                 P‐0006271 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSSO, PAUL A.
3870 FAWN COURT
SHRUB OAK, NY 10588                                P‐0006272 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOCH, ANGELA
254 BOSTON ROAD
HINCKLEY, OH 44233                                 P‐0006273 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, KYESHIA J.
224 SILVER SPRING STREET
DALLAS, GA                                         P‐0006274 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILBERT, CHERYL M.
12 WESTCHESTER AVENUE #1K
WHITE PLAINS, NY 10601                             P‐0006275 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUPPELSBERG, SUSAN
2709 SE 18 PL
CAPE CORAL, FL 33904                               P‐0006276 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COPPOLA, EDWARD A.
45 BRADFORD ROAD
KEENE, NH 03431                                    P‐0006277 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAW, RANSOM B.
17 SYLVAN WAY
WAYLAND, MA 01778                                  P‐0006278 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYON, LARISSA V.
88 TWO BRIDGES RD
TOWACO, NJ 07082                                   P‐0006279 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRENCH, ROBERT S.
FRENCH, AMANDA S.
681 ODOM RD
COLUMBIA, AL 36319                                 P‐0006280 10/27/2017    TK Holdings Inc., et al .                  $150,000.00                                                                                  $150,000.00
LANE, GERMAINE
LANE, GERMAINE R.
1584 KEYSTONE DR
CONLEY, GA 30288                                   P‐0006281 10/27/2017    TK Holdings Inc., et al .                  $120,000.00                                                                                  $120,000.00
CUMMINGS, BRIAN R.
17356 EMERALD CHASE DRIVE
TAMPA, FL 33647                                    P‐0006282 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
VIVALDI, ROSE
VIVALDI, ROBERT
327 APACHE LANE
BRICK, NJ 08724                                    P‐0006283 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORTHWAY, DAVID K.
P.O. BOX 250
GLEN CARBON, IL 62034                              P‐0006284 10/27/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
TORRE, CLAIRE
TORRE, JOSEPH
1214 REILLY LN
CLARKSTON, GA 30021                                P‐0006285 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, ROY L.
MORRIS, LAURA D.
24926 STEADFAST COURT
DAPHNE, AL 36526                                   P‐0006286 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWFORD, MARQUITA L.
359 RESERVOIR ST
TRENTON, NJ 08618‐3641                             P‐0006287 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERI, FOX
602 FRONT STREET
MARION MA                                          P‐0006288 10/27/2017    TK Holdings Inc., et al .                   $17,000.00                                                                                   $17,000.00
CARTER, LAURENDA
548 NORCROSS WAY
SILVER SPRING
, MD 20904                                         P‐0006289 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURAS, EDWARD
6 COLLINS COURT
BAYPORT, NY 11705                                  P‐0006290 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, ROY L.
MORRIS, LAURA D.
24926 STEADFAST COURT
DAPHNE, AL 36526                                   P‐0006291 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONUSKY, MARY‐JO
MARY‐JO MONUSKY REVOC TRUST
39 MOUNT VERNON STREET
PORTSMOUTH, NH 03801                               P‐0006292 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SULLIVAN, REBECCA M.
57 MYRON ST
NEW HAVEN, CT 06512                                P‐0006293 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINIES, DANA
14455 PRESTON RD. APT #503
DALLAS, TX 75254                                   P‐0006294 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EASLEY, STEVEN E.
3416 BONAIRE CROSSING
MARIETTA, GA 30066                                 P‐0006295 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARGRAVE, LINDA J.
19611 ENCHANTED SPRING DR.
SPRING, TX 77388                                   P‐0006296 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONRAD, LORI A.
41 CEDAR TERRACE
PARLIN, NJ 08859                                   P‐0006297 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANGLIN, JAMYE
ANGLIN, KEN
3902 SHALLOW FORD RD
TEMPLE, TX 76502                                   P‐0006298 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HINCHY, CHING SHAN M.
328 MONTPELIER CT
WESTMINSTER, MD 21157                               P‐0006299 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MISTY A.
3036 SARAH LOU DR
SNELLVILLE, GA 30078                                P‐0006300 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN EMAN, ROBB S.
111 WESTHAVEN DRIVE
AUSTIN, TX 78746                                    P‐0006301 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANGLIN, KEN
ANGLIN, JAMYE
3902 SHALLOW FORD RD
TEMPLE, TX 76502                                    P‐0006302 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, REBECCA L.
5925 SHERIFF WATSON ROAD
SANFORD, NC 27332                                   P‐0006303 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRE, CLAIRE
TORRE, JOSEPH
1214 REILLY LN
CLARKSTON, GA 30021                                 P‐0006304 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRERAS, FRANK
7124 TESUQUE DR NW
ALBUQUERQUE, NM 87120                               P‐0006305 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRINGER, GARY D.
STRINGER, DORIAN T.
2875 POINTER CREEK ROAD
SCIENCE HILL, KY                                    P‐0006306 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDRICKS, JEAN E.
1465 OAK KNOLL DR
CINCINNATI, OH 45224                                P‐0006307 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAMES, JOEL
2673 SUMMIT DRIVE
GLENVIEW, IL 60025                                  P‐0006308 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COVINGTON, MICHAEL K.
124 S COURT STREET
LURAY, VA 22835                                     P‐0006309 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEGUERO, YESENIA
6743 HURSTON CT
JUPITER, FL 33458                                   P‐0006310 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAITHWAITE, DORALYN
9974 SW 165 TER
MIAMI, FL 33157                                     P‐0006311 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, CHARLIE W.
5500 MCKINNEY PLACE DR
#109
MCKINNEY, TX 75070                                  P‐0006312 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUITER, ALICE G.
SUITER, LEO F.
17 ANDREWS DRIVE
DALEVILLE, AL 36322                                 P‐0006313 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBITAILLE, ROGER D.
1175 DIAMOND HILL ROAD
#104
WOONSOCKET, RI 02895‐1529                           P‐0006314 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MCFARLAND, NATHAN T.
4212 MAPLE PATH CIRCLE
NOTTINGHAM, MD 21236                                 P‐0006315 10/27/2017    TK Holdings Inc., et al .                    $1,083.60                                                                                    $1,083.60
POWELL, BRIAN J.
9617 MARYVILLE LN
FORT WORTH, TX 76108                                 P‐0006316 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTIAN, CHRISTOPHER A.
CHRISTIAN, SUSAN C.
536 FERNWOOD DRIVE
KINGSPORT, TN 37663                                  P‐0006317 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEDINA‐FISHER, LAURA R.
2357 37TH ST
APT. A
LOS ALAMOS, NM 87544                                 P‐0006318 10/27/2017    TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
ALDRICH, BRADY S.
710 TRINITY STAR
SAN ANTONIO, TX 78260                                P‐0006319 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOISVERT, DENISE R.
17 STEERE ROAD
GREENVILLE, RI 02828                                 P‐0006320 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYLE, ROBERT M.
415 REDWING LANE
DEKALB, IL 60115                                     P‐0006321 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERCH, JEFFREY S.
5616 SIRIUS COURT
ATLANTIC BEACH, FL 32233                             P‐0006322 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHULER, BARON K.
2385 N FOREST DR
MARIETTA, GA 30062                                   P‐0006323 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAITHWAITE, MERKEVA
9974 SW 165 TER
MIAMI, FL 33157                                      P‐0006324 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWLEY, SANDRA G.
5 TROLOD COURT
APT. G
OWINGS MILLS, MD 21117                               P‐0006325 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FALZONE‐MOST, BEVERLY A.
29 LONGFELLOW DR
FRANKLIN, MA 02038                                   P‐0006326 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIRIGLIANO, JOHN
4206 GALLOPING HILL LANE
TOMS RIVER, NJ 08755                                 P‐0006327 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUCHS, JOSEPH R.
320 TAFT AVE
COCOA BCH, FL 32931                                  P‐0006328 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, KIMBERLY A.
324 BROADWATER ROAD
ARNOLD, MD 21012                                     P‐0006329 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENKS, WILLIAM
129 DOOLITTLE STREET
COVENTRY, RI 02816                                   P‐0006330 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTHEWS, JOHNNY
2024 FAITH CV
ATL, GA 30349                                        P‐0006331 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
SMITH, TOD
4712 TAHITI DRIVE
AKRON, OH 44319                                    P‐0006332 10/27/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
MAGIERA, SUSAN L.
1225 OAK HILL RD.
UNIT A
LAKE BARRINGTON, IL 60010                          P‐0006333 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIEH, CHARLES
1941 RIDGEMONT LANE
DECATUR, GA 30033                                  P‐0006334 10/27/2017    TK Holdings Inc., et al .                    $1,273.97                                                                                    $1,273.97
RUBINGER, PETER C.
9 ROLLING DRIVE
FRAMINGHAM, MA 01701‐3670                          P‐0006335 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUTRINGER, JOEL E.
403 W 24TH ST
HOUSTON, TX 77008                                  P‐0006336 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALDONATO, LINDA
SIMON, KENT
1203 SELMA ST
MOBILE, AL 36604                                   P‐0006337 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STIREWALT, RODNEY F.
POST OFFICE BOX 512
GRANITEVILLE, SC 29829                             P‐0006338 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COUCH, JOHN V.
JVC CONSTRUCTION CO., INC.
1500 HISTORIC VW
STONE MOUNTAIN, GA 30087                           P‐0006339 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANISS, DONNA G.
8409 E 3RD STREET
TUCSON, AZ 85710                                   P‐0006340 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRZCINSKI, CHERYL A.
269 MURRAY STREET
MERIDEN, CT 06450                                  P‐0006341 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUNJES, DAVID W.
1590 OLD DERFIELD ROAD
HIGHLAND PARK, IL 60035                            P‐0006342 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESCHAK, JANE C.
18800 LINDENHOUSE ROAD
GAITHERSBURG, MD 20879                             P‐0006343 10/27/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
ROBERTS, RICHARD G.
526 FIRST AVENUE
NORTH BRUNSWICK, NJ 08902                          P‐0006344 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, SHIRLEY A.
3240 SCHIEFFER A
FORT WORTH, TX 76110                               P‐0006345 10/27/2017    TK Holdings Inc., et al .                       $20.00                                                                                       $20.00
BRUNJES, DAVID
1590 OLD DEERFIELD ROAD
HIGHLAND PARK, IL 60035                            P‐0006346 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUGO, GUADALUPE R.
4901 N DAVIS AVE UNIT 7
TUCSON, AZ 85705                                   P‐0006347 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROTHERS, STEVE R.
11 DEVONDALE CT
ST PETERS, MO 63376                                P‐0006348 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
RUBINGER, PETER C.
9 ROLLING DRIVE
FRAMINGHAM, MA 01701‐3670                           P‐0006349 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANSON, NORMAN
616 S HOMER ST.
PRINCETON, IL 61356                                 P‐0006350 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BACHMAN, PETER W.
2732 HOLLY HILL DR N
HENDERSONVILLE, NC 28791‐2171                       P‐0006351 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDREWS, MICHAEL
2325 QUARRY TOP DR
WADSWORTH, OH 44281                                 P‐0006352 10/27/2017    TK Holdings Inc., et al .                    $4,500.00                                                                                    $4,500.00
MAZZELLA, AMANDA
111‐07 110ST
SOUTH OZONE PARK, NY 11420                          P‐0006353 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKHART, DAVID A.
BURKHART, ANNE G.
19242 GOPHERTRAIL PLACE
LAND O LAKES, FL 34638‐7788                         P‐0006354 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REED, DREW A.
4 BEAUREGARD CT
BEAUFORT, SC 29902                                  P‐0006355 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HACKER, LORETTA J.
6735 E GREENWAY PARKWAY
APT 1109
SCOTTSDALE, AZ 85254                                P‐0006356 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MION, CHARLES
U S MOSAIC TILE
4275 STEVE REYNOLDS BLVD
SUITE‐A
NORCROSS, GA 30093                                  P‐0006357 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOCHRIE, STEVEN H.
MOCHRIE, TARA A.
906 BALMORAL DRIVE
CARY, NC 27511                                      P‐0006358 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGES, BRENDEN
HODGES, BILLY
P.O BOX 32
VILLA RIDGE, MO 63089                               P‐0006359 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOLVERTON, CYNTHIA M.
612 SPIRIT DRIVE
SAINT LOUIS, MO 63005                               P‐0006360 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIEH, CHARLES
1941 RIDGEMONT LANE
DECATUR, GA 30033                                   P‐0006361 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEEHAN, RICHARD
116 SUMMERWOOD PL
WAXHAW, NC 28173                                    P‐0006362 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIQUI, MARIA C.
2007 ROSECRANS COURT
FREDERICK, MD 21702                                 P‐0006363 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CETOUTE, VERON
4262 KING JAMES COURT
SNELLVILLE, GA 30039                                P‐0006364 10/27/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
VOTER, TRACEY L.
194 STICKNEY HILL ROAD
UNION, CT 06076                                     P‐0006365 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAMBLEE, CRYSTAL L.
2813 DIAMOND RIDGE ROAD
APT. 303
WINDSOR MILLS, MD 21244                             P‐0006366 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIARLELLI, AMANDA N.
67 FARVIEW CIRCLE
WATERTOWN, CT 06795                                 P‐0006367 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FELIX JR, BERNIE
2830 W CALLE DE ROSITA
TUCSON, AZ 85746                                    P‐0006368 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHECHTEL, ELAINE S.
66‐22 FLEET STREET, 1‐U
FOREST HILL, NY 11375                               P‐0006369 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, ANN K.
25 PROSPECT STREET
DOVER, NH 03820                                     P‐0006370 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTHOELTER, LORIANNE C.
17925 N OLD NUMBER 7
STURGEON, MO 65284                                  P‐0006371 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOHAMMED, WAHEEDA
1729 E 48TH STREET
BROOKLYN, NY 11234                                  P‐0006372 10/27/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
WATT, VICTORIA A.
413 LATIMER RD
JOPPA, MD 21085                                     P‐0006373 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COUGHLIN, ERIN M.
440 KING AVE
ATHENS, GA 30606                                    P‐0006374 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DROBNIS, BRIAN N.
58 DALY DRIVE
STOUGHTON, UNITED STATES 02072                      P‐0006375 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORTEMAN, KAREN
21 CLARK ROAD
ALFRED, ME 04002                                    P‐0006376 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NATIONAL SERVICE SYSTEMS, INC
1600 WASHINGTON STREET
STOUGHTON, MA 02072‐3347                            P‐0006377 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANTIA, ANTHONY
151 WARREN STREET
WATERTOWN, MA 02472                                 P‐0006378 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALSARA, RAHIM
4419 CRIMSON COURT
SUGAR LAND, TX 77479                                P‐0006379 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINCHESTER, PATSY C.
5574 S 3925 W
ROY, UT 84067                                       P‐0006380 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, ERIN F.
44 CHIEF JUSTICE CUSHING HWY
HINGHAM, MA 02043                                   P‐0006381 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, DONNA
4629 E.86TH ST
CLEVELAND, OH 44125                                 P‐0006382 10/27/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
RICE, ALBERT
3314 ASBURY GLEN CT
SPRING, TX 77386                                     P‐0006383 10/27/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
SULLIVAN, REBECCA L.
500 OLD MERTZON ROAD
ELDORADO, TX 76936                                   P‐0006384 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARFLIN, JAMES D.
24 PHENIX COURT
NORTH AUGUSTA, SC 29860                              P‐0006385 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LI, MENG
MA, ZHONG
701 SHANNON LN
KIRKSVILLE, MO 63501                                 P‐0006386 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADDEN, BARBARA J.
JONES, DANIEL O.
4808 LONGWATER WAY
TAMPA, FL 33615                                      P‐0006387 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTRAMENT, ANALEE E.
POTRAMENT, TED F.
2020 E DOWNING ST
MESA, AZ 85213                                       P‐0006388 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACLEOD, NAN
1911 LAKESIDE DRIVE
ARLINGTON, TX 76013                                  P‐0006389 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEALAND, CHARLES W.
WEALAND, DEANNA J.
332 PERFECT DRIVE
DAYTONA BEACH, FL 32124                              P‐0006390 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARVEY, ROBERT H.
GARVEY LIVING TRUST
303 ROCKY CLIFF ROAD
ELIZABETH, CO 80107                                  P‐0006391 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNETTE, WILLIAM R.
1096 BAY TREE DR.
HARRELLS, NC 28444                                   P‐0006392 10/27/2017    TK Holdings Inc., et al .                   $16,500.00                                                                                   $16,500.00
MENDRYGAL, KIPRIAN E.
3963 COLE AVE
DALLAS, TX 75204                                     P‐0006393 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACOSTA, RANDOLPH M.
1124 S I
LAKEVIEW, OR 97630                                   P‐0006394 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, BRAD
CAMPBELL, ANGELA
5336 N COUNTY ROAD 2200E
WESTFIELD, IL 62474                                  P‐0006395 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACLEOD, EDWARD S.
1911 LAKESIDE DRIVE
ARLINGTON, TX 769013                                 P‐0006396 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENRIGHT, PILAR A.
ENRIGHT, DECEASE, JOSEPH H.
601 KAPPOCK STREET
APT. 3B
BRONX, NY 10463‐7724                                 P‐0006397 10/27/2017    TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00




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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WEEKS, RAYMOND M.
MEDLEY‐WEEKS, CLARICE P.
2612 CANTURA DRIVE
MESQUITE, TX 75181                                  P‐0006398 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUVER, FLEETWOOD
402 PARAGON DRIVE
CHATTANOOGA, TN 37415                               P‐0006399 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORTNEY, RONALD G.
2561 HUNTERS TRAIL
MYRTLE BEACH 29588                                  P‐0006400 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEEKS, RAYMOND M.
MEDLEY‐WEEKS, CLARICE P.
2612 CANTURA DRIVE
MESQUITE, TX 75181                                  P‐0006401 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRACER, ANN D.
67‐24 165TH ST
FRESH MEADOWS, NY 11365                             P‐0006402 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAUGHN, SANDRA L.
35 LITTLE DEER TRL
MCDONOUGH, GA 30253                                 P‐0006403 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENITEZ, LACEY L.
LACEY L. BENITEZ
614 BELL STREET
WAUKESHA, WI 53186                                  P‐0006404 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANTOR, MARK D.
2060 RIVERLAND RD
FT. LAUDERDALE, FL 33312                            P‐0006405 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VERITY, JENNA M.
179 TANGLEWOOD DRAW
PRINCETON, TX 75407                                 P‐0006406 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, TERRY J.
3432 173 PLACE
LANSING, IL 60438                                   P‐0006407 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETTINGILL, SALLY D.
PETTINGILL, BYRON J.
3043 WILLOWBEND ROAD
MONTGOMERY, TX 77356                                P‐0006408 10/27/2017    TK Holdings Inc., et al .                   $23,651.65                                                                                   $23,651.65
DEPOLA, BARRY S.
3727 ARCTIC FOX CIRCLE
TAYLORSVILLE, UT 84129                              P‐0006409 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORN, SUSAN D.
1276 W WILSON AVE
COOLIDGE, AZ 85128                                  P‐0006410 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILKERT, DAVID W.
307 AFTON AVE
AKRON, OH 44313                                     P‐0006411 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CERDEIROS, BARBARA
67 ST PAULS AVE
STATEN ISLAND, NY 10301                             P‐0006412 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMBS, CIARA
1531 S. WEST TEMPLE
SALT LAKE CITY, UT 84115                            P‐0006413 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTENS MILLER, TARA
1028 E. HARCOURT DR.
BOISE, ID 83702                                     P‐0006414 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
STONE, SHIMON
206 4TH AVE
QUANTICO, VA 22134                                 P‐0006415 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLSON, CONNIE M.
FARLEY, LARRY C.
108 MCDANIEL RD
MOORESBURG, TN 37811                               P‐0006416 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANNER, STEVEN
34 BROKAW LN.
GREAT NECK, NY 11023                               P‐0006417 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAATZ, BARBARA V.
1918 WILSHIRE DR
DURHAM, NC 27707                                   P‐0006418 10/27/2017    TK Holdings Inc., et al .                     $420.00                                                                                       $420.00
JENKS, CLAUDETTE M.
2877 PONDVIEW DR
HAINES CITY, FL 33844                              P‐0006419 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARSON, DOREEN
P O BOX 654
HALIFAX, VA 24558                                  P‐0006420 10/27/2017    TK Holdings Inc., et al .                    $1,648.00                                                                                    $1,648.00
TANNER, STEVEN
34 BROKAW LN.
GREAT NECK, NY 11023                               P‐0006421 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANNHANOUVONG, PHETRUNGSY
12435 BROOKS XING
FISHERS, IN 46037                                  P‐0006422 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARRISON, JA J.
5622 BEECH GROVE DRIVE
MILFORD, OH 45150                                  P‐0006423 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COTTON, NATALIE
COTTON, NATALIE
8775 FAIRGROUND RD
BEL ALTON, MD 20611                                P‐0006424 10/27/2017    TK Holdings Inc., et al .                   $24,000.00                                                                                   $24,000.00
CAREY, BRENDAN T.
28 ALLARD CIRCLE
ASHLAND, MA 01721                                  P‐0006425 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANTER, SCOTT D.
6659 NW 128 WAY
PARKLAND, FL 33076                                 P‐0006426 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTRAMENT, ANALEE E.
POTRAMENT, TED F.
2020 E DOWNING ST
MESA, AZ 85213                                     P‐0006427 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, JAMES G.
9512 PERIMETER STREET
DENTON, TX 76207                                   P‐0006428 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALCIC, DAN R.
1058 HIRSCH BLVD.
CALUMET CITY, ILLINOIS 60409                       P‐0006429 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNISTAUTAS, ANTHONY
118 OAK CREEK DR
LEAGUE CITY, TX 77573                              P‐0006430 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEIN, JODY S.
4915 HURSTBOROUGH CT
HAZELWOOD, MO 63042                                P‐0006431 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
SNOOK, DENNIS M.
2717 E. MORENCI RD.
SAN TAN VALLLEY, AZ 85143                          P‐0006432 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN‐BURKE, ROBIN J.
BURKE, WILLIAM M.
87 CHICK ROAD
WOLFEBORO, NH 03894                                P‐0006433 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINO, KEVIN
727 VIRGINIA AVENUE
NORTH BELLMORE, NY 11710                           P‐0006434 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, LEO J.
9006 GUE ROAD
DAMASCUS, MD 20872                                 P‐0006435 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACRAKIS, STAVROS M.
61 ELLERY ST
CAMBRIDGE, MA 02138                                P‐0006436 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATTRON, CYNTHIA I.
22 RICHMOND CT
SAINT CHARLES, MO 63303                            P‐0006437 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELILIGKAS, KRISTA M.
8221 DOMINICA PL
WELLINGTON, FL 33414                               P‐0006438 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, CHRISTOPHER
5517 W 108TH PL
OAK LAWN, IL 60453                                 P‐0006439 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, ALYSSA J.
185 BEMIS ROAD
WEST BROOKFIELD, MA 01585                          P‐0006440 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RACHWALSKI, RAE ANN
6041 S VIVIAN ST
LITTLETON, CO 80127                                P‐0006441 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEER, KARL H.
125 TEGA CAY PLACE
UNIT 903
PONTE VEDRA BEAC, FL 32082                         P‐0006442 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEIN, JODY S.
4915 HURSTBOROUGH COURT
HAZELWOOD, MO 63042‐1592                           P‐0006443 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAGE, LEAH M.
9 DAFFODIL HILL LANE
ROCHESTER, NH 03868                                P‐0006444 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STUMACHER, LEE
10533 SEASONABLE DRIVE
LAS VEGAS, NV 89129                                P‐0006445 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEN, YUYANG
WANG, YIJUN
1377 BLAIRSTONE DR
VIENNA, VA 22182                                   P‐0006446 10/27/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
IRISH, CHRISTOPHER R.
95 WINTER STREET
CLAREMONT, NH 03743                                P‐0006447 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, ALMA S.
29 WEST MCLELLAN BOULEVARD
PHOENIX, AZ 85013                                  P‐0006448 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
LENCEVICIUS, RAIMONDAS
LENCEVICIENE, DIANA
11 POPLAR STREET
STONEHAM, MA 02180                                 P‐0006449 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELILIGKAS, ATHANASIOS
8221 DOMINICA PL
WELLINGTON, FL 33414                               P‐0006450 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMAT, JAMES J.
695 AMERICANA DR.
APT. 32
ANNAPOLIS, MD 21403                                P‐0006451 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAPIRO, ROBIN M.
873 N SHADY OAKS DRIVE
ELGIN, IL 60120                                    P‐0006452 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IMBERT, JAMES T.
97 GLENVIEW DRIVE
NEWINGTON, CT 06111                                P‐0006453 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAZE, ROBERT E.
11403 SHADOW WAY ST
HOUSTON, TX 77024                                  P‐0006454 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DERRICKS, ELLWOOD J.
833 S ELLWOOD AVENUE
BALTIMORE, MD 21224                                P‐0006455 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN HOLTEN, WILLA
2244 BRONX PARK EAST
BRONX, NY 10467                                    P‐0006456 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAUZE, ELISSA A.
LAUZE, PETER R.
307 STETSON ROAD
LEWISTON, ME 04240                                 P‐0006457 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARLIN, REBECCA D.
MARLIN, SCOT T.
7838 BERKSHIRE PINES DR
NAPLES, FL 34104                                   P‐0006458 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAPIKAS, KENNETH J.
LAPIKAS, PAULINE
7229 W MARKET ST
MERCER, PA 16137                                   P‐0006459 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS BRUNO, KAREN L.
9601 NAPOLEON WAY
MONTGOMERY VILLA, MD 20886                         P‐0006460 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VONTESMAR, DAVID S.
VONTESMAR, DAVID S.
915 HAL MCLAIN ROAD
MANVEL, TX 77578                                   P‐0006461 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKE, WILLIAM M.
87 CHICK ROAD
WOLFEBORO, NH 03894                                P‐0006462 10/27/2017    TK Holdings Inc., et al .                     $340.00                                                                                       $340.00
WATKINS, AJA F.
3342 TOLEDO TERRACE #203
HYATTSVILLE, MD 20782                              P‐0006463 10/27/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
STAGG, HELEN R.
1251 FLATROCK CREEK DR
HOUSTON, TX 77067                                  P‐0006464 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
LYNN, JEFFREY A.
94 FAWNRIDGE DR.
LONG VALLEY, NJ 07853                              P‐0006465 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAZE, ROBERT E.
11403 SHADOW WAY ST
HOUSTON, TX 77024                                  P‐0006466 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, TAYLOR
TUCKER, JARRIC
13541 SHORTLEAF DR.
DALLAS, TX 75253                                   P‐0006467 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIMBERG, KATHY A.
1730 CINNAMON DRIVE
ORANGE PARK, FL 32073                              P‐0006468 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN METER, STEPHANIE M.
3941 E FAIRMOUNT AVE
PHOENIX, AZ 85018                                  P‐0006469 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINO, RALPH J.
100 EAST SLOPE ROAD
MAHWAH, NJ 07430‐1906                              P‐0006470 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYSAK, BRUCE
702 NW 11TH STREET
BOYNTON BEACH, FL 33426                            P‐0006471 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHENS, SHARON A.
1218 PASADENA BLVD. NW
NORTH CANTON, OH 44720                             P‐0006472 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOPEC, MELISSA R.
2403 POT SPRING ROAD
LUTHERVILLE, MD 21093                              P‐0006473 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEAD, LESLEY A.
48 MERRILL DRIVE
MAHWAH, NJ 0740                                    P‐0006474 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, RADEIDRE D.
67 NATALIA COURT
NEWNAN, GA                                         P‐0006475 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, ZAKIA
18 FAIRWAY DRIVE
SCARBOROUGH, ME 04074                              P‐0006476 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARPENTER, ROBERT M.
620 HALTON ROAD APT 8008
GREENVILLE, SC 29607                               P‐0006477 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAVASCHIERI, VINCENT L.
2424 DANA DRIVE
SAFETY HARBOR, FL 34695                            P‐0006478 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANKS, TERRENCE J.
130‐48 229ST
LAURELTON, NY 11413                                P‐0006479 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, OWEN P.
145‐16 ROCKAWAY BEACH BLVD
NEPONSIT, NY 11694                                 P‐0006480 10/27/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HERNANDEZ, LUIS F.
41 BAYNE DR
GREENVILLE, SC 29617                               P‐0006481 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FROBOS, CARMEN
4343 BRIARCLIFF ROAD NE
ATLANTA, GA 30345‐2103                             P‐0006482 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BLOUNT, TRACI L.
MCCOY, KERRY M.
74 DUNE DRIVE
SANTA ROSA BEACH, FL 32459                           P‐0006483 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LATORELLA, CHRISTOPHER D.
13 WHITTIER PLACE
HAVERHILL, MA 01832                                  P‐0006484 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA, STEVEN M.
RIVERA, LINDA G.
6412 E QUARTZ ST
MESA, AZ 85215                                       P‐0006485 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, LINDSEY K.
16 JOSHUAS WAY
CHATHAM, MA 02633                                    P‐0006486 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANNELLA, LOUIS
126 CRYSTAL SPRINGS DRIVE
CRANBERRY TWP, PA 16066                              P‐0006487 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITZGERALD, GARY A.
FITZGERALD, BRENDA A.
7176 WYATT LANE
GORDONSVILLE, VA 22942                               P‐0006488 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWE SR, CLAUDE W.
LOWE, VALECIA A.
915 WEST 10TH ST
FREEPORT, TX 77541/5453                              P‐0006489 10/27/2017    TK Holdings Inc., et al .                    $3,884.00                                                                                    $3,884.00
BRUCKBAUER, KAREN L.
541 FOOTHILL FARMS ROAD
ORANGE CITY, FL 32763                                P‐0006490 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAUVOGL, NICOLE M.
P.O. BOX 2195
HAMMOND, IN 46323                                    P‐0006491 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKNIGHT, BRANDON H.
8 HALEY LN
LITCHFIELD, CT 06759                                 P‐0006492 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, SAMMY
902 W. LAMPASAS
ENNIS, TX 75119                                      P‐0006493 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEFFERS, FRANCES M.
22 JANE LANE APT G
NEWNAN, GA 30263                                     P‐0006494 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALKO, JESSE A.
3475 ORCHARD HILL DR.
CANFIELD, OH 44406                                   P‐0006495 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TALBOT, KEVIN P.
112 GREENWOOD DRIVE
NORTH BABYLON, NY 11703                              P‐0006496 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HRUSKA, DANIEL R.
3220 18TH STREET
ROCKFORD, IL 61109                                   P‐0006497 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA, LINDA G.
RIVERA, STEVEN M.
6421 E QUARTZ ST
MESA, AZ 85215                                       P‐0006498 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGES, VANESSA E.
13183 ROYAL PINES DRIVE
SAINT LOUIS, MO 63146‐2253                           P‐0006499 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
WALRAVEN, FELICIA M.
825 TROJAN CIRCLE
TROY, MO 63379                                     P‐0006500 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWELL, DAVID
2190 EMERALD ROAD
BOULDER, CO 80304                                  P‐0006501 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLULZZO, JOSEPH
THE ANTHONY GALLUZZO CORP
14 LIBERTY DRIVE
LONDONDERRY, NH 03053                              P‐0006502 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGO, QUYEN
3608 TOMMY WATKINS DR
HALTOM CITY, TX 76117                              P‐0006503 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALES, SAMMY R.
902 W. LAMPASAS
ENNIS, TX 75119                                    P‐0006504 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURD, JILL A.
HURD, GREGORY M.
1314 CALAIS ROAD
HODGDON, ME 04730                                  P‐0006505 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POST, EDWARD N.
POST, SHIRLENE G.
25 ROYAL JAMES DRIVE
HILTON HEAD, SC 29926                              P‐0006506 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAUSS, MITCHELL
9140 N SWAN CIR
ST. LOUIS, MO 63144                                P‐0006507 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANCH, GOLDIE L.
432 SHERIDAN DRIVE
COLUMBIA, SC 29223                                 P‐0006508 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA, STEVEN M.
RIVERA, LINDA G.
6412 E QUARTZ ST
MESA, AZ 85215                                     P‐0006509 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TWIGG, CHRISTOPHER J.
216 3RD AVENUE
MELBOURNE BEACH, FL 32951                          P‐0006510 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOLACK, DIANE J.
4841 43RD STREET APT 5K
WOODSIDE, NY 11377                                 P‐0006511 10/27/2017    TK Holdings Inc., et al .                    $8,115.00                                                                                    $8,115.00
GARVEY, ROBERT H.
GARVEY LIVING TRUST
303 ROCKY CLIFF ROAD
ELIZABETH, CO 80107`                               P‐0006512 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASBERRY, CAREL G.
225 BAXTER
LIVINGSTON, TX 77351                               P‐0006513 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, KIMBERLY
8335 WILDE LAKE ROAD
PENSACOLA, FL 32526                                P‐0006514 10/27/2017    TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
HUBBARD, JEFF J.
3409 KENNSINGTON SQUARE RD.
STURTEVANT, WI 53177‐2828                          P‐0006515 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONEENY, KAREN A.
38 RAND STREET
MALDEN, MA 02148                                   P‐0006516 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
BOWENS, LETITIA
408 LONG HILL STREET
GREENVILLE, SC 29605                               P‐0006517 10/27/2017    TK Holdings Inc., et al .                    $3,800.00                                                                                    $3,800.00
STASSIN, ANN M.
STASSIN, LARRY N.
3537 45TH ST
HIGHLAND, IN 46322                                 P‐0006518 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENNEDY, SIMON
86 COMMON ST
WATERTOWN, MA 02472                                P‐0006519 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEENE, SCOTT E.
103 MAIN ST.
LOT # 18
NORTH READING, MA 01864                            P‐0006520 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAWIL, RONALD
420 AVENUE T
BROOKLYN, NY 11223‐4004                            P‐0006521 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAPER, JOSEPH M.
423 SOUTH STREET
GORHAM, ME 04038                                   P‐0006522 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARFLIN, JAMES D.
24 PHENIX COURT
NORTH AUGUSTA, SC 29860                            P‐0006523 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, YOLANDA
467 FOXBOROUGH TRAL
BOLINGBROOK, IL 60440                              P‐0006524 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLETT, MICHAEL R.
416 INDIAN RIDGE TRAIL
WAUCONDA, IL 60084                                 P‐0006525 10/27/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
CONEENY, KAREN A.
38 RAND STREET
MALDEN, MA 02148                                   P‐0006526 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PREAP, BO
5680 ROCKFORD DRIVE
TRINITY, NC 27370                                  P‐0006527 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURATOVIC, SAFET
MURATOVIC, FAHRIJE
                                                   P‐0006528 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARPENTER, JASON H.
321 OVERVIEW ST
WAYNESBORO, VA 22980                               P‐0006529 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THAN, ANKHANG H.
4771 SEFA CIR N
JACKSONVILLE, FL 32210                             P‐0006530 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WICHMAN, RICHARD A.
11299 N FOX RD
MARSHALL, IL 62441                                 P‐0006531 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWENS, LETITIA
408 LONG HILL STREET
GREENVILLE, SC 29605                               P‐0006532 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNYDER, KAREN L.
P.O. BOX 143
GRIFFITHSVILLE, WV 25521                           P‐0006533 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, ALISON M.
1616 EAST OAKLAND AVENUE
BLOOMINGTON, IL 61701                              P‐0006534 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HIGGINBOTHAM, NIA B.
84 ASPEN AVE
AUBURNDALE, MA 02466                                P‐0006535 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTO, NANCY E.
ROTO, ROBERT R.
720 BORDEAUX COURT
INVERNESS, IL 60010                                 P‐0006536 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOTZ, KEN
BOTZ, KAY
2078 SUN CIRCLE
ROGERS, TX 76569                                    P‐0006537 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, SANDRA G.
2318 AUTUMN SPRINGS LANE
SPRING, TX 77373                                    P‐0006538 10/27/2017    TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
TAWIL, RONALD
420 AVENUE T
BROOKLYN, NY 11223‐4004                             P‐0006539 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFMAN, JONATHAN S.
HOFFMAN, CHRISTY N.
1482 MAPLE AVE
PAOLI, PA 19301                                     P‐0006540 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARFLIN, JAMES D.
24 PHENIX COURT
NORTH AUGUSTA, SC 29860                             P‐0006541 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASBERRY, CAREL G.
NO ADDRESS PROVIDED
                                                    P‐0006542 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROEPSCH, RICHARD F.
ROEPSH, LINDA G.
4140 MOUNT ALPINE STREET
DUBUQUE, IA 52001‐8886                              P‐0006543 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITTIER, JENNIFER
WHITTIER, COLIN
7210 ARBOR OAKS DRIVE
DALLAS, TX 75248                                    P‐0006544 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRINN, ANDREA L.
1615 GATSBY COURT
CASSELBERRY, FL 32707                               P‐0006545 10/27/2017    TK Holdings Inc., et al .                       $73.24                                                                                       $73.24
HADDAD, SAM G.
HADDAD, MEGHAN M.
1232 ROSEWOOD CT
PALATINE, IL 60067                                  P‐0006546 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANK, MICHAEL S.
2350 OVERBROOK AVENUE
APT A
WHEELING, WV 26003                                  P‐0006547 10/27/2017    TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
WOOD, LYNN M.
WOOD, LYNN
15613 HOLLYHOCK CT.
ORLAND PARK, IL 60462                               P‐0006548 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHERMAN, JUDY A.
13219 DE GARMO AVE
SYLMAR, CA 91342                                    P‐0006549 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
THOMAS, MARK
THOMAS, JUDITH
301 DOVER CIRCLE
INVERNESS, IL 60067                                 P‐0006550 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HASKINS, JENNIFER L.
115 CANNONDALE CIRCLE
COWARTS, AL 36321                                   P‐0006551 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALVEZ, EULALIO
8240 S.W. 142 AVENUE
MIAMI, FL 33183                                     P‐0006552 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCFARLAND, PATRICK J.
MCFARLAND, JENNIFER I.
16104 EDGEWOOD DRIVE
DUMFRIES, VA 22025                                  P‐0006553 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAAK, FRANCESCA
HAAK, FRANCESCA
10209 ASTI PLACE
LAS VEGAS, NV 89134                                 P‐0006554 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTSON, JOHN S.
5443 S HOLLAND ST
LITTLETON, CO 80123                                 P‐0006555 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLT, MICHAEL L.
GUTIERREZ, JOHN C.
1314 E. PALM LN.
PHOENIX, AZ 85006                                   P‐0006556 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, CYNTHIA S.
CAMPBELL SCIENCE
CYNTHIA CAMPBELL
13947 SOUTH BLUFF RD
ROCKTON, IL 61072                                   P‐0006557 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARAJ, ALI
1569 COLORADO LANE
ELK GROVE VILLAG, IL 60007                          P‐0006558 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAFT, SUSAN M.
2633 CARSON DRIVE
KATY, TX 77493                                      P‐0006559 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBRIGHT, NANCY J.
P.O. BOX 275
1459 CORDELE HWY.
HAWKINSVILLE, GA 31036‐0275                         P‐0006560 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORY, JASON L.
FLORY, AMY M.
1102 HACKBERRYRD.
NORTH
NORTH PLATTE, NE 69101                              P‐0006561 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELIA, GINA
BMW OF BARRINGTON
1244 GOLDENROD LANE
HOFFMAN EST, IL 60192                               P‐0006562 10/27/2017    TK Holdings Inc., et al .                   $58,000.00                                                                                   $58,000.00
ROBERTSON, JOHN S.
5443 S HOLLAND ST
LITTLETON, CO 80123                                 P‐0006563 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRYDEN, MORRIS M.
DRYDEN, THERESA R.
31872 OLD OCEAN CITY RD
SALISBURY, MD 21804                                 P‐0006564 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
QIU, BIN
1715 PORTRUSH PLACE
ALPHARETTA, GA 30005                                P‐0006565 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEABOURN, STEVE L.
SEABOURN, LOU A.
6209 RIDGEWOOD
AMARILLO, TX 79109                                  P‐0006566 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHACKEL, KAREN M.
SHACKEL, JAMES V.
2609 LIBERTY BELL COURT
WILMINGTON, NC 28411                                P‐0006567 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLINA, DOMINGO N.
1130 EAST BITTERS RD
SAN ANTONIO, TX 78216                               P‐0006568 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARDASZ, STANLEY J.
4267 HOLT RD
BLAND, MO 65014                                     P‐0006569 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, CHAIZISTY A.
WATSON, DUAN W.
2800 CORAL WAY
MACON, GA 31211                                     P‐0006570 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, ELLIOT R.
3025 OAKLEIGH CIRCLE
OCEAN SPRINGS, MS 39564                             P‐0006571 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTAPAGA, DANIEL J.
78 BARTOW STREET
STATEN ISLAND, NY 10308                             P‐0006572 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEPHERD, JERRY
672 WEST 770 SOUTH
WOODS CROSS, UT 84087                               P‐0006573 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEIRNE, MARTIN J.
3704 KNOTS LANDING
MEDINA, OH 44256                                    P‐0006574 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTSON, JOHN S.
5443 S HOLLAND ST
LITTLETON, CO 80123                                 P‐0006575 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANLEY, JAMES P.
BETH
3 LIBERTY ROAD
MARLBORO, NJ 07746                                  P‐0006576 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISBEE, RON L.
BISBEE, JEN B.
2914 RED BIRD TRAIL
CASLTE ROCK, CO 80108                               P‐0006577 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, HEATH D.
356 MAIN ST
VASSALBORO, ME 04989                                P‐0006578 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMEZ, DENISE
60 DERBY AVENUE
GREENLAWN, NY 11740                                 P‐0006579 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAIRCHILD, MICHAEL
FAIRCHILD, CHRISTIN
5316 CEDAR DR
NAPERVILLE, IL 60564                                P‐0006580 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SOLIS, VICTOR
1232 ORCHARD AVE
CHICAGO HEIGHTS, IL 60411                           P‐0006581 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOLAN, MICHAEL F.
210 WEST HICKORY STREET
HINSDALE, IL 60521                                  P‐0006582 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUDA, KENNETH R.
317 MACALLAN DRIVE
PELHAM, AL 35124                                    P‐0006583 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTSON, JOHN S.
5443 S HOLLAND ST
LITTLETON, CO 80123                                 P‐0006584 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHABO, RUSSELL R.
105 NARRAGANSETT ST.
NORTH KINGSTOWN, RI 02852                           P‐0006585 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIGNER, JASON
209 MAPLE LEAF DRIVE
ASHLAND, MO 65010                                   P‐0006586 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORES, DENNIS
6 WHITEWATER WAY
BEAUFORT, SC 29906                                  P‐0006587 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, ROBERT G.
3495 HIDDEN ACRES DRIVE
DORAVILLE, GA 30340                                 P‐0006588 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERST, HEIDI A.
GERST, PAUL A.
9678 ATHERTON DR
DALLAS, TX 75243                                    P‐0006589 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, RICHARD C.
1219 MISSISSIPPI AVE.
LYNN HAVEN, FL 32444‐2747                           P‐0006590 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODGERS, XIOMARA R.
RODGERS, STUART B.
2365 E CHRISTY DRIVE
PHOENIX, AZ 85028                                   P‐0006591 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUTTON, STEVEN
27 NAVAJO LANE
LOS LUNAS, NM 87031                                 P‐0006592 10/27/2017    TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
LEAZIER, DIANNA L.
YOTTER, GABRIEL W.
942 S DEERFIELD LN
GILBERT, AZ 85296                                   P‐0006593 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, ROBERT M.
12 DAYTON ST
N CHELMSFORD, MA 01863                              P‐0006594 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEGER‐LAWSON, DONA R.
1934 SUGARWOOD CIRCLE
BELLBROOK, OH 45305                                 P‐0006595 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARLEY, JAMES P.
11085 W 68TH AVE
ARVADA, CO 80004‐2746                               P‐0006596 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALERMO, JONATHON
18802 N 13TH AVE
PHOENIX, AZ 85027                                   P‐0006597 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
ROBERTS, JANET M.
ROBERTS, DANIAL J.
7965 W 108TH AVE
WESTMINSTER, CO 80021‐2602                          P‐0006598 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALLES, DEIDRE A.
2894 E ALOE PL
CHANDLER, AZ 85286                                  P‐0006599 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIRCHMAN, BRUCE L.
11449 BEECHGROVE LANE
POTOMAC, MD 20854                                   P‐0006600 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BULLOCK, DANIEL G.
BULLOCK, RUTHANN M.
3285 N LINDA DR
BOURBONNAIS, IL 60914                               P‐0006601 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBBS, SHELDON A.
3609 KILLARNEY COURT
ROLLING MEADOWS, IL 60008                           P‐0006602 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, ROBERT J.
13 SCHOOL STREET
KINGSTON, MA 02364‐1005                             P‐0006603 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENFER, CHERYL
7 SANDY LANE
SHELTON, CT 06484                                   P‐0006604 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, LINDA
155 DORRIES STREET
BILOXI, MS 39530                                    P‐0006605 10/27/2017    TK Holdings Inc., et al .                   $13,700.00                                                                                   $13,700.00
BUTLER, CIJI U.
64 4TH STREET
NEWARK, NJ 07107                                    P‐0006606 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUBER, JACK
7305 BROOKVIEW ROAD
UNIT 301
ELKRIDGE, MD 21075                                  P‐0006607 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COTE, DANIEL G.
290 SUTTON ST
UNIT A
NORTH ANDOVER, MA 01845                             P‐0006608 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, DAVID R.
2444 S MILLER CT
LAKEWOOD, CO 80227                                  P‐0006609 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TODOROFF, PATRICK A.
39 WOODLAND AVE
HYANNIS, MA 02601                                   P‐0006610 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWLEY, KATHRYN
CROWLEY, CARL
56 SPRUCE MEADOWS DRIVE
MONROE TOWNSHIP, NJ 08831                           P‐0006611 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITEHEAD, OLU A.
512 GREENVALE CT
SAGINAW, TX 76179                                   P‐0006612 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILILLO, MICHAEL S.
984 VALLEY ROAD
FRANKLIN LAKES, NJ 07417                            P‐0006613 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARLEY, JAMES P.
11085 W 68TH AVE
ARVADA, CO 80004‐2746                               P‐0006614 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
NICHOLS, ANNE W.
NICHOLS, TED G.
4197 MT. LAUREL RD
CLOVER, VA 24534                                    P‐0006615 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOMBA, TONI L.
62 CYPRESS STREET
PROVIDENCE, RI 02906‐1811                           P‐0006616 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, STEPHEN M.
13018 DEEP RIVER WAY
JACKSONVILLE, FL 32224                              P‐0006617 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEA, LEO P.
84 EAST ELM AVE
QUINCY, MA 02170                                    P‐0006618 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITEHEAD, OLU A.
512 GREENVALE CT
SAGINAW, TX 76179                                   P‐0006619 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARNER, VIKKI M.
103 PENN ST
PROVIDENCE, RI 02909                                P‐0006620 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NARVAEZ, ANDRE
116 LAFRANCE AVE
BLOOMFIELD, NJ 07003                                P‐0006621 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, HIMANSHU
298 EAST CEDAR STREET
LIVINGSTON, NJ 07039                                P‐0006622 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITEHEAD, OLU A.
512 GREENVALE CT
SAGINAW, TX 76179                                   P‐0006623 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIGGS, BRETT
WIGGS, ALESIA
2000 STANOLIND AVE
MIDLAND, TX 79705                                   P‐0006624 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMIE, SR., SAMUEL
122 WHITTIER LANE
WINTER HAVEN, FL                                    P‐0006625 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDLEY, LLOYD R.
FRIEDLEY, PATRICIA L.
2920 LAKE HIGHLAND WAY
BIRMINGHAM, AL 35242                                P‐0006626 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOUMOTSIOS, NICKOLAS C.
436 S ADDISON ST
BENSENVILLE, IL 60106                               P‐0006627 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, STEPHEN M.
13018 DEEP RIVER WAY
JACKSONVILLE, FL 32224                              P‐0006628 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISHOP, DANIEL R.
109 BELVIEW AVE
HAGERSTOWN, MD 21742                                P‐0006629 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBBONS, CHARLES H.
106 SOUTH INTERLACHEN AVE
UNIT 518
WINTER PARK, FL 32789                               P‐0006630 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARDON, MARGARET R.
CARDON, LARRY J.
3090 N 700 E
LEHI, UT 84043                                      P‐0006631 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HANCOCK, KENNETH D.
HANCOCK, MIRANDA S.
MIRANDASUE1980@GMAIL.COM
881 SCHOOL AVE
HERMLEIGH, TX 79526                                 P‐0006632 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAJAN, MANOHAR
2455 STAPLES ROAD
MOBILE, AL 36605                                    P‐0006633 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURTIS, TERRY L.
4224 SE SWEETWOOD WAY
STUART, FL 34997                                    P‐0006634 10/27/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
CARTY, PAUL E.
221 BEACH STREET
QUINCY, MA 02170                                    P‐0006635 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENN, WILLIAM
3241 HILLCREST LN.
MONTGOMERY, AL                                      P‐0006636 10/27/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
HUGULEY, WILLIE C.
626 PARKWOOD DR.
COLUMBUS, GA 31907                                  P‐0006637 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALTMAN, RICHARD D.
NO ADDRESS PROVIDED
                                                    P‐0006638 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, JACQUELINE
ROMANYCH, MARC J.
1307 BERNI RUTH LANE
SEVERN, MD 21144                                    P‐0006639 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, RAYMOND M.
70 WINTER STREET
HAGERSTOWN, MD 21740                                P‐0006640 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANGANO, CONNIE
2097 LARCH STREET
WANTAGH, NY 11793                                   P‐0006641 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, RAJAN
MAPUSOFT TECHNOLOGIES INC
2455 STAPLES ROAD
MOBILE, AL 36605                                    P‐0006642 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBBONS, CHARLES H.
106 SOUTH INTERLACHEN AVE.
UNIT 518
WINTER PARK, FL 32789                               P‐0006643 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUERTIN, DENNIS H.
27050 IMPERIAL PKWY
BONITA SPRINGS, FL 34135                            P‐0006644 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIEDRA, ELAINE W.
106 N COLUMBIA ST
NAPERVILLE, IL 60540                                P‐0006645 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTY, CHRISTINA M.
45 MARSHALL ST
QUINCY, MA 02171                                    P‐0006646 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENNY, CARMELINA
19 NAVESINK AVE
MIDDLETOWN, NJ 07748                                P‐0006647 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOARDMAN, KEVIN W.
SAME
                                                    P‐0006648 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MANGANO, CONNIE
2097 LARCH STREET
WANTAGH, NY 11793                                     P‐0006649 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ, BRENDA J.
35 SUTTON STREET #2
NORTH ANDOVER, MA 01845                               P‐0006650 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, STEPHEN
5124 KING COTTON LANE
MIDLOTHIAN, VA 23112                                  P‐0006651 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIU, BIN
ZOU, EVE
4205 PARKSTONE HEIGHTS
AUSTIN, TX 78746                                      P‐0006652 10/27/2017    TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
STRICKROTH, GEORGE B.
518 GROVE LN
CHINO VALLEY, AZ 86323‐6901                           P‐0006653 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IAIENNARO, SARAH L.
1109 N KOKE MILL ROAD
SPRINGFIELD, IL 62711                                 P‐0006654 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANGANO, FRANCIS
2097 LARCH STREET
WANTAGH, NY 11793                                     P‐0006655 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VERMEIRE, DARLENE L.
5900 WALNUT STREET
TEMPLE HILLS, MD 20748                                P‐0006656 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOARDMAN, KEVIN W.
H4L BOARDMAN
1412 STONE HOLLOW DRIVE
BOUNTIFUL, UT 84010                                   P‐0006657 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BETHARDS, ANDREA H.
BETHARDS, JOSIAH J.
5909 BIRCHBROOK DRIVE
#111
DALLAS, TX 75206                                      P‐0006658 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORDING, MARY M.
12864 W. BAKER ROAD
MANHATTAN, IL 60442                                   P‐0006659 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, DAVID S.
3375 BLACKBRIDLE WALK SE
MARIETTA, GA 30067                                    P‐0006660 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDEN, ADAM
18 RIDGE ROAD
CHATHAM, NJ 07928                                     P‐0006661 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEST‐SMITH, SHARON D.
1030 N.W. LITTLE RIVER DRIVE
MIAMI, FL 33150‐2359                                  P‐0006662 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEAD, JAMES W.
1052 S VERMILLION DR
KANAB, UT 84741                                       P‐0006663 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSU, GEORGE
239 N. YORKSHIRE BLVD.
AUSTINTOWN, OH 44515                                  P‐0006664 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, DAVID S.
3375 BLACKBRIDLE WALK SE
MARIETTA, GA 30067                                    P‐0006665 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ROSENTHAL, BENNETT J.
ROSENTHAL, BENNETT J.
N2005 N. LAKESHORE DRIVE
FONTANA, WI 53125                                     P‐0006666 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIEGLER, IRENE M.
910 SABOT STREET
RICHMOND, VA 23226                                    P‐0006667 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTH, DAVID D.
541 E MARKET ST
LONG BEACH, NY 11561                                  P‐0006668 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OEHLERTS, RICHARD E.
OEHLERTS, MADIE P.
145 GRAND OAK CIR
VENICE, FL 34292‐2432                                 P‐0006669 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
691 DEVELOPMENT CORP
691 TIMBER RIDGE DRIVE
BARTLETT, IL 60103                                    P‐0006670 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, NORMAN J.
SMITH, AMELIA A.
11276 S 73RD EAST CT
BIXBY, OK 74008                                       P‐0006671 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOSEPH, KAYLA
TK HOLDINGS, INC.
P.O. BOX 20609
TALLAHASSEE, FL 32316                                 P‐0006672 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVEY, ROBIN L.
3916 SEMINARY AVENUE
RICHMOND, VA 23227                                    P‐0006673 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSENTHAL, BENNETT J.
ROSENTHAL, BENNETT J.
N2005 N. LAKESHORE DRIVE
FONTANA, WI 53125                                     P‐0006674 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORSKE, SHERRY L.
691 TIMBER RIDGE DRIVE
BARTLETT, IL 60103                                    P‐0006675 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEST‐SMITH, SHARON D.
1030 N.W. LITTLE RIVER DRIVE
MIAMI, FL 33150‐2359                                  P‐0006676 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PITKA, JR., RAYMOND D.
3321 MONTICELLO CT
ANCHORAGE, AK 99503                                   P‐0006677 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUTLIFF, JAMES
SUTLIFF, LOB
P.O. BOX 223
NEWPORT, IN 47966                                     P‐0006678 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOWNES, DAVID M.
130 UPLAND ST
MANCHESTER, NH 03102                                  P‐0006679 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, NORMAN J.
SMITH, AMELIA A.
11276 S 73RD EAST CT
BIXBY, OK 74008                                       P‐0006680 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEE, MARC H.
57 MARION DRIVE
NEW ROCHELLE, NY 10804                                P‐0006681 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CIRILLO, LISA M.
5281 ROUTR 67
EAST DURHAM, NY 12423                                P‐0006682 10/27/2017    TK Holdings Inc., et al .                     $150.00                                                                                       $150.00
ALEXANDER, PETER
ALEXANDER, IRIS
23595 E. IRISH PL.
AURORA, CO 80016                                     P‐0006683 10/27/2017    TK Holdings Inc., et al .                    $1,917.62                                                                                    $1,917.62
MILLER, MEREDITH L.
MILLER, DAVID R.
2444 S MILLER CT
LAKEWOOD, CO 80227                                   P‐0006684 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELCHUCK, LORRIE A.
532 WEST WILSON STREET
STRUTHERS, OH 44471                                  P‐0006685 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPOONER, DEBRA A.
244 ROCHAMBEAU STREET
NEW BEDFORD, MA 02745                                P‐0006686 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYFIELD, RANDALL W.
1645 W 8740 S
WEST JORDAN, UT 84088                                P‐0006687 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VERA‐FERRIN, ROSA ELIANA
9970 RAMBLEWOOD DRIVE
CORAL SPRINGS, FL 33071                              P‐0006688 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMOKER, CATHERINE A.
1410 FERRIS AVENUE
WAXAHACHIE, TX 75165                                 P‐0006689 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REASONER, MICHAEL G.
NO ADDRESS PROVIDED
                                                     P‐0006690 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDMINSTER, DANIEL
EDMINSTER, MICHELLE
10388 SCOTT DR
HUNTLEY, IL 60142                                    P‐0006691 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONNELLAN, PHILIP M.
17 BLAINE AVE
APT 1
BEVERLY, MA 01915                                    P‐0006692 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, CHI M.
86 FULLER STREET #1
DORCHESTER, MA 02124                                 P‐0006693 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALDAS, ALEX W.
20113 TORREY POND PLACE
GAITHERSBURG, MD 20886                               P‐0006694 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILBERMAN, GUILLERMO M.
165 MADISON AVE RM 501
NEW YORK, NY 10016                                   P‐0006695 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOGEL, ROBERT
13035 N 68TH STREET
SCOTTSDALE, AZ 85254                                 P‐0006696 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HONG, WEI
313 CANTERBURY LANE
SEVERNA PARK, MD 21146                               P‐0006697 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, MICHAEL
6207 RUATAN ST
BERWYN HEIGHTS, MD 20740                             P‐0006698 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                Current General                                         Current 503(b)(9)
                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
MISA, LISA
MISA, ROBERT M.
13 SELDEN DR.
EAST NORTHPORT, NY                                P‐0006699 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, CLARKSON
4981 CHARLTON LANE
CHARLOTTE, NC 28210                               P‐0006700 10/27/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
SMITH, LISA A.
4034 BEDFORD AVE.
WINTER HAVEN, FL 33884                            P‐0006701 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEABOURN, STEVE L.
SEABOURN, LOU A.
6209 RIDGEWOOD
AMARILLO, TX 79109                                P‐0006702 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, SCOTT J.
125 BROOKS AVE
BAYVILLE, NJ 08721                                P‐0006703 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EPPS, JOYCE M.
8518 ELMORE AVE
SAINT LOUIS, MO 63132                             P‐0006704 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEROSA, KINGSTON H.
DEROSA, GAYLA E.
729 WESTBROOKE TERRACE DR
BALLWIN, MO 63021                                 P‐0006705 10/27/2017    TK Holdings Inc., et al .                    $2,250.00                                                                                    $2,250.00
WITKOWSKI, ANN A.
1024 LUNDVALL AVE
ROCKFORD, IL 61107                                P‐0006706 10/27/2017    TK Holdings Inc., et al .                    $2,200.00                                                                                    $2,200.00
RAY, MARCUS N.
5542 HAMBRICK ROAD
HAHIRA, GA 31632                                  P‐0006707 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOLLEY, NATHAN
LANIER‐NOLLEY, MARILYN R.
13337 BURLEIGH ST
UPPER MARLBORO
UPPER MARLBORO, MD 20774                          P‐0006708 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLOM, MICHAEL
40 PITTIS AVE.
ALLENDALE, NJ 07401‐1521                          P‐0006709 10/27/2017    TK Holdings Inc., et al .                     $982.00                                                                                       $982.00
HONG, WEI
313 CANTERBURY LANE
SEVERNA PARK, MD 21146                            P‐0006710 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUTHENMADHOM, SHEETHAL G.
2737 CAMERON BAY DRIVE
LEWISVILLE
THE COLONY, TX 75056                              P‐0006711 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBBARD, SHARON G.
HUBBARD, SHARON G.
395 EAST DRIVE
OAK RIDGE, TN 37830                               P‐0006712 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIS, KEVIN M.
7 HERSEY STREET
HINGHAM, MA 02043                                 P‐0006713 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEHMAN‐MALINOWSK, HEATHER M.
6593 STEEN STREET
CANAL WINCHESTER, OH 43110                        P‐0006714 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MELLY, KEVIN
6 KINGSBROOK CT.
MENDHAM, NJ 07945                                   P‐0006715 10/27/2017    TK Holdings Inc., et al .                    $8,475.96                                                                                    $8,475.96
GONZALEZ, PEDRO H.
8 DEER HOLLOW DRIVE
HOWELL, NJ 07731                                    P‐0006716 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOSS, PHILLIP A.
KOSS, MARY B.
120 N WISCONSIN ST
ELKHORN, WI 53121                                   P‐0006717 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE JOIE, MARIE T.
26 CRTER ROAD
LYNN, MA 01P04                                      P‐0006718 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANIS, KATHLEEN A.
514 HILLCREST ROAD
EDINBURG, VA 22824                                  P‐0006719 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HONG, WEI
313 CANTERBURY LANE
SEVERNA PARK, MD 21146                              P‐0006720 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLAKE, TONY C.
2241 E PINCHOT AVE
16F
PHOENIX, AZ 85016                                   P‐0006721 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIPP, BERNARD E.
4437 N SALFORD BLVD
NORTH PORT, FL 34286                                P‐0006722 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRO, CHRISTOPHER J.
13988 EAST GERONIMO ROAD
SCOTTSDALE, AZ 85259                                P‐0006723 10/27/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
WILSON, MARK S.
2387 MULBERRY RD
FARNHAM, VA 22460                                   P‐0006724 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELOMS, CAROLYN S.
NELOMS SR, CHRISTOPHER A.
1229 MORGANA ROAD
JACKSONVILLE, FL 32211                              P‐0006725 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUCHS, CARROLL G.
FUCHS, CAROLYN G.
407 TEN OAKS DRIVE
GEORGETOWN, TX 78633                                P‐0006726 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOOKEN, RONALD D.
9106 BROADWAY
QUINCY, IL 62305                                    P‐0006727 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSTON, JANETTE A.
312 FAMILIA COURT
IRVING, TX 75061                                    P‐0006728 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOTARO, KENNETH
NOTARO, NANCY K.
420 KINGSBURY ROAD
GERMANTOWN HILLS, IL 61548                          P‐0006729 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARTRIDGE, ROGER C.
800 W WILLIS RD
APT 1095
CHANDLER, AZ 85286                                  P‐0006730 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LEIB, JOAN
15 CUTTER STREET
SOMERVILLE, MA 02145                                 P‐0006731 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRYSZAK, JODI L.
166 COLLEGE VIEW DRIVE
HACKETTSTOWN, NJ 07840                               P‐0006732 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGGETT, CHRIS N.
260 LEAD QUEEN DRIVE
CASTLE ROCK, CO 80108                                P‐0006733 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENRY, JO A.
310 E LEE AVE
WEATHERFORD, TX 76086                                P‐0006734 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRAIT, JAMES V.
9715 FILLMORE ST
THORNTON, CO 80229                                   P‐0006735 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOAN, DINH H.
NGUYEN, HIEU
10203 E. IOWA AVE APT 915
AURORA, CO 80247                                     P‐0006736 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, KIMBERLY
1471 OUTLOOK AVE
FLOOR 3
BRONX, NY 10465                                      P‐0006737 10/27/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
LONDON, GAIL K.
LONDON, STEFAN R.
3463 KEMPER ROAD
ARLINGTON, VA 22206‐2315                             P‐0006738 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAROTTA, TRACY A.
263 BAY 19TH STREET
BROOKLYN, NY 11214                                   P‐0006739 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIJAL, PHILIP D.
NO ADDRESS PROVIDED
                                                     P‐0006740 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAXIE, ROBERT D.
MAXIE, LINDA C.
1929 ORO COURT
CLEARWATER, FL 33764                                 P‐0006741 10/27/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
CITRO, MICHAEL P.
24 PHILLIPS CHOICE COURT
ABINGDON, MD 21009                                   P‐0006742 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, LISA M.
24 ATLANTIS LN
HAMPTON, VA 23665                                    P‐0006743 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANDRUM, BRIAN B.
3702 HARVARD AVENUE
DALLAS, TX 75205                                     P‐0006744 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWSOME JR, RONN
15 HILLVIEW AVE
#2
ROSLINDALE, MA 02131                                 P‐0006745 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENNEDY, JAMES D.
1335 KENILWORTH STREET
MANY, LA 71449                                       P‐0006746 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALLGREN, KATHERINE
2108 SOUTH FIFTH STREET
ROCKFORD, IL 61104                                   P‐0006747 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
TAYLOR, JANA L.
7501 N PINEHILL DR
HENRICO, VA 23228                                  P‐0006748 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLUM, RICHARD M.
1613 VILLAGE GLENN DRIVE
RALEIGH, NC 27612                                  P‐0006749 10/27/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
COBREN, RONALD L.
COBREN, BETTY A.
308 PHILADELPHIA ROAD
ASHLAND, IL 62612                                  P‐0006750 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAUNCE, DERRICK T.
FAUNCE, JASMIN
135 HICKS HILL RD
ASHLAND, NH 03217                                  P‐0006751 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NACHMAN, MICHAEL J.
150 S PARKSIDE AVE
GLEN ELLYN, IL 60137                               P‐0006752 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, LYNN M.
9 COPPER HILL DRIVE
GUILFORD, CT 06437                                 P‐0006753 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RATNAPAL, VIVEK
55 WESTON DR
SANDY SPRINGS, GA 30328                            P‐0006754 10/27/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
THORNDIKE, TIMOTHY P.
BARTLETT, BEVERLY M.
7305 LANSDOWNE AVENUE
ST. LOUIS, MO 63119                                P‐0006755 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZACCHIGNA, FRANK J.
675 WASHINGTON CT
ROSELLE, IL 60172                                  P‐0006756 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEARDON, GREGORY A.
PEARDON, TERI L.
500 TANYA DRIVE
WHITWELL, TN 37397                                 P‐0006757 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, JAMES K.
47 SHOAL CREEK CT
MARTINSBURG, WV 25405‐5746                         P‐0006758 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEICHINGER, MARJORIE K.
SPEICHINGER, MICHAEL J.
907 CASTLE PINES DRIVE
BALLWIN, MO 63021                                  P‐0006759 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAJDA SR., THOMAS
MAJDA SR., THOMAS
10839 ANTRILL DR.
ST. LOUIS, MO 63123                                P‐0006760 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIXON, ELLEN C.
13634 MEADOW GLENN
CLARKSVILLE, MD 21029‐1037                         P‐0006761 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILFEN, LAUREN
102 E 22ND ST APT 4C
NEW YORK, NY 10010                                 P‐0006762 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NACHMAN, MICHAEL J.
150 S PARKSIDE AVE
GLEN ELLYN, IL 60137                               P‐0006763 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
ZACCHIGNA, FRANK J.
675 WASHINGTON CT
ROSELLE, IL 60172                                   P‐0006764 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEARDON, GREGORY A.
PEARDON, TERI L.
500 TANYA DRIVE
WHITWELL, TN 37397                                  P‐0006765 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFITH, RICHARD D.
529 WARREN AVE
PARK RIDGE
, IL 60068                                          P‐0006766 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCIALABBA, DAMIAN A.
473 WHEELER ROAD
NORTH BRUNSWICK, NJ 08902                           P‐0006767 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEDER, JOHN E.
10920 RODOPHIL RD
AMELIA COURT HOU, VA 23002‐5610                     P‐0006768 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWLAND, ALEXANDER L.
4160 VERNA DR.
BROOKFIELD, WI 53045                                P‐0006769 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPELL, ALLISON W.
4309 NEWBY DRIVE
DURHAM, NC 27704                                    P‐0006770 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEARDON, GREGORY A.
PEARDON, TERI L.
500 TANYA DRIVE
WHITWELL, TN 37397                                  P‐0006771 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUNNINGHAM SR, UKAMA D.
3728 GREENWICH ROAD
LOUISVILLE, KY 40218                                P‐0006772 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LATEMPT, REBECCA
1345 RIVERWOODS
SAINTE GENEVIEVE
, MO 63670                                          P‐0006773 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMPTON, KITTRIDGE M.
P.O. BOX 44562
PHOENIX, AZ 85064                                   P‐0006774 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARZA, RUTH R.
27327 BASS BLVD
HARLINGEN, TX 78552                                 P‐0006775 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, JAMES K.
47 SHOAL CREEK CT
MARTINSBURG, WV 25405‐5746                          P‐0006776 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYLAN, PENNY J.
3171 S. QUINCY AVE.
MILWAUKEE, WI 53207‐2717                            P‐0006777 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, HEE K.
5189 BRAWNER PLACE
ALEXANDRIA, VA 22304                                P‐0006778 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARDON, LARRY J.
CARDON, MARGARET R.
3090 N 700 E
LEHI, UT 84043                                      P‐0006779 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, LISA E.
3909 ACORN GREEN DRIVE
GARLAND, TX 75043                                   P‐0006780 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MAZZUCHI, PATRICIA M.
1441 ARGYLE LN N
BOURBONNAIS, IL 60914                               P‐0006781 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARDON, LARRY J.
CARDON, MARGARET R.
3090 N 700 E
LEHI, UT 84043                                      P‐0006782 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, MELISSA D.
7600 S JONES BLVD APT 2031
LAS VEGAS, NV 89139                                 P‐0006783 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOUZA, HEATHER L.
366 DIVISION ST
FALL RIVER, MA 02721                                P‐0006784 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINE, JEAN E.
10751 MEADOWGLEN, APT. 43
HOUSTON, TX 77042                                   P‐0006785 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, SANG K.
5189 BRAWNER PLACE
ALEXANDRIA, VA 22304                                P‐0006786 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLINE, JOHN D.
21 MARTIN ST
NEWNAN, GA 30263                                    P‐0006787 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUY, LORRY W.
800 CARRIAGE HILL RD
SIMPSONVILLE, SC                                    P‐0006788 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYES, NATHANIEL
P.O. BOX 21037
DENVER, CO 80221                                    P‐0006789 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAUFMAN, WILLIAM M.
301 BROOKSBY VILLAGE DRIVE
UNIT 412
PEABODY, MA 01960                                   P‐0006790 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTRO, RICHARD E.
CASTRO, ELIZABETH J.
81 WATERWHEEL WAY
SENOIA, GA 30276                                    P‐0006791 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASTOVIC, BRYAN
RASTOVIC, BRYAN
10245 BRIAR CREEK LANE
CARMEL, IN 46033                                    P‐0006792 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HACHEY, JONATHAN
237 MARTIN STREAM ROAD
FAIRFIELD, ME 04937                                 P‐0006793 10/27/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
LEAL, ROBERTO
415 OAK LEAF DRIVE
DUNCANVILLE, TX 75137                               P‐0006794 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORLUOGLU, SEVTAP
705 WHEELER PEAK WAY
ALPHARETTA, GA 30022                                P‐0006795 10/27/2017    TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
REDDER, THOMAS H.
8 CRANE NECK RD
SETAUKET, NY 11733                                  P‐0006796 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANAVAN, PATRICIA L.
852 ZIBOLD COURT
RIVER VALE, NJ 07675                                P‐0006797 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
JENKINS, SHIRLEY
25 W BRAYTON ST
CHICAGO, IL 60628                                   P‐0006798 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TALANKI, RAVEESH L.
394 POND PATH
SETAUKET, NY 11733                                  P‐0006799 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOUNT, MICHELLE L.
6829 KENNY LANE
PORTSMOUTH, VA 23703                                P‐0006800 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GABALDON, DONNA J.
GABALDON, MARIO J.
3413 CASTLE DRIVE
PRESCOTT VALLEY, AZ 86314                           P‐0006801 10/27/2017    TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00
BALL, JULIA E.
1893 ARAPAHOE DRIVE
LONGMONT, CO 80501‐4725                             P‐0006802 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILLIS, AARON R.
LOEBER‐HILLIS, JENNIFER A.
206 JEFFERSON AVENUE #2
BROOKLYN, NY 11216                                  P‐0006803 10/27/2017    TK Holdings Inc., et al .                     $525.00                                                                                       $525.00
HEISS, JENNA L.
156 GREENBRIER DRIVE
SEEKONK, RI 02771                                   P‐0006804 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCAMMON, DOUGLAS
4720 N BENTON DR
BLOOMINGTON, IN 47408                               P‐0006805 10/27/2017    TK Holdings Inc., et al .                     $692.00                                                                                       $692.00
LIND, CARL
5 IRONWOOD CT.
LAKE ZURICH, IL 60047                               P‐0006806 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHOEMAKER, SUSANNA S.
6454 HORSEPEN BAYOU
HOUSTON, TX 77084                                   P‐0006807 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILLON, CHRISTINA L.
DILLON, DIRK L.
2518 CURTIS PIKE
RICHMOND, KY 40475                                  P‐0006808 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENES, CHELSEY L.
BENES, LEE M.
39061 ROAD 734
CURTIS, NE 69025                                    P‐0006809 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALIANO, MARIA P.
ALIANO, MARIA
7 VARNIAI ST
METHUEN, MA 01844                                   P‐0006810 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ODIO, OTTO G.
ODIO, JOSEPHINE M.
6067 GRAND FOREST COURT
PEACHTREE CORNER, GA 30092                          P‐0006811 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOLES, JAMES E.
TOLES, JUDY C.
3754 MORNINGVIEW DRIVE
MOSS POINT, MS 39563                                P‐0006812 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIESIG, DONALD D.
16 BORDEN STREET
NEW BEDFORD, MA 02740                               P‐0006813 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SHOEMAKER, ROD S.
6454 HORSEPEN BAYOU
HOUSTON, TX 77084                                    P‐0006814 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORTRICK, SHAMARKA L.
11 BEVERLY PLACE
EDGEWATER, NJ 07020                                  P‐0006815 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARISPE, SHARON T.
686 BLUFF ST. APT. 204
CAROL STREAM, IL 601881N                             P‐0006816 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, JUSTIN K.
129 YORKSHIRE CIRCLE
EWING, NJ 08628                                      P‐0006817 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHAEPE, STEVEN B.
3 CURRIERS LANDING
NEWBURYPORT, MA 01950                                P‐0006818 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RHYNARD RANCH LLP
448 CLEARVIEW RD
MARTINSDALE, MT 59053                                P‐0006819 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VONREICHBAUER, WILLIAM H.
1285 CLIFDEN GREENE
CHARLOTTESVILLE, VA 22901‐3170                       P‐0006820 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCAMMON, DOUGLAS
4720 N BENTON DR
BLOOMINGTON, IN 47408                                P‐0006821 10/27/2017    TK Holdings Inc., et al .                       $75.00                                                                                       $75.00
BECKERMAN, JOAN P.
BECKERMAN, PETER M.
105 FARM BROOK ROAD
SIDNEY, ME 04330                                     P‐0006822 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARGRAVE, TOMMY G.
1433 CR 314
CLEBURNE, TX 76031                                   P‐0006823 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, DARLENE A.
4409 ARCHER ROAD
CLEVELAND, OH 44105                                  P‐0006824 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, STEVEN T.
5141 N ROADRUNNER DRIVE
PRESCOTT VALLEY, AZ 86314                            P‐0006825 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN BERGEN, RICHARD H.
P. O. BOX 213
KENNEBUNK, ME 04043                                  P‐0006826 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOLES, JAMES E.
TOLES, JUDY C.
3754 MORNINGVIEW DRIVE
MOSS POINT, MS 39563                                 P‐0006827 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LENZI, JASON P.
3659 GRANDMORE AVE
GURNEE, IL 60031                                     P‐0006828 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSU, GEORGE
239 N. YORKSHIRE BLVD.
AUSTINTOWN, OH 44515                                 P‐0006829 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYNE, FRANCES M.
14 SHILOH CT
PALMYRA, VA 22963                                    P‐0006830 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HUFFMAN, RODNEY T.
HUFFMAN, DEBBIE D.
14410 NORTH CHALK CREEK DRIVE
ORO VALLEY, AZ 85755                                P‐0006831 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEIGHTEL, MARY E.
BEIGHTEL, RONALD D.
8147 FRIENDS CREEK ROAD
P.O. BOX 143
DEWITT, IL 61735‐0143                               P‐0006832 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMSTEDT, RICHARD A.
P.O. BOX 2070
DEWEY, AZ 86327                                     P‐0006833 10/27/2017    TK Holdings Inc., et al .                   $62,000.00                                                                                   $62,000.00
CASEY, VALERIE A.
2006 PARK ST
HOUSTON, TX 77019                                   P‐0006834 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAPSON, ROBERT
4026 ENFIELD AVE
SKOKIE, IL 60076                                    P‐0006835 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINNUNEN, SEAN B.
736 DELAWARE AVE.
APT D
GRAFTON, WI 53024                                   P‐0006836 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAENZA, PATRICE A.
510 LAKEWOOD BLVD
PARK FOREST, IL 60466                               P‐0006837 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANNETT, DOUGLAS S.
1108 N. WIDE OPEN TRAIL
PRESCOTT VALLEY, AZ                                 P‐0006838 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRICKELL, CAROLINE A.
BRICKELL, CAROLINE A.
21003 NO 123RD AVE
SUN CITY WEST, AZ 85375                             P‐0006839 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSKOWITZ, JAY
8681 HAWKWOOD BAY DR
BOYNTON BEACH, FL 33473                             P‐0006840 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOAMBRECKER, TIMOTHY J.
TORRES, SANDRA
585 KIRK AVE
ELGIN, IL 60120                                     P‐0006841 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARUSO, PATRICK
2979 OTIS AVE
BRONX, NY 10465                                     P‐0006842 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EBRIGHT, DIANNA H.
142 EBRIGHT LANE
ADVANCE, NC 27006                                   P‐0006843 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANGENBERG, DOUGLAS P.
45 OCTOBER LANE
WESTON, MA 02493                                    P‐0006844 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUOTTE, WILLIAM A.
NO ADDRESS PROVIDED
                                                    P‐0006845 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSKOWITZ, JAY
8681 HAWKWOOD BAY DR
BOYNTON BEACH, FL 33473                             P‐0006846 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
ROSS, RICHARD
10335 OLD BAMMEL N HOUSTON RD
APT 2304
HOUSTON, TX 77086                                  P‐0006847 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, PAUL A.
14 KENMAR ROAD
BUDD LAKE, NJ 07828                                P‐0006848 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLINGHAM, PATRICIA L.
5274 BRADGEN COURT
SPRINGFIELD, VA 22151                              P‐0006849 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEISCHHACKER, LORI
1500 CORNWALL RD.
MAHWAH, NJ 07430                                   P‐0006850 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSKOWITZ, JAY
8681 HAWKWOOD BAY DRIVE
BOYNTON BEACH, FL 33473                            P‐0006851 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGEN, DENISE A.
188 GILREATH TRL
BREMEN, GA 30110                                   P‐0006852 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, MONIQUE C.
1797 WALKER AVENUE
D
IRVINGTON, NJ 07111‐8026                           P‐0006853 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILNER, BERNICE D.
25 HOLLY LANE
UNIT 2D
CHESTNUT HILL, MA 02467‐2156                       P‐0006854 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROMANS, LINDA J.
3905 DELTA DAWN LN
NORTH LAS VEGAS, NV 89032                          P‐0006855 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAPSON, ROBERT
4026 ENFIELD AVE
SKOKIE, IL 60076                                   P‐0006856 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, DENNIS R.
909 PHEASANT WALK
SCHAUMBURG, IL 60193                               P‐0006857 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, JOHN W.
511 CONCORD AVE
LEXINGTON, MA 02421                                P‐0006858 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBBINS, STEVEN M.
7509 RAIN FLOWER WAY
COLUMBIA, MD 21046                                 P‐0006859 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEPHERD, LUIS R.
1617 JEFFERSON AVE
#302
MIAMI BEACH, FL 33139                              P‐0006860 10/27/2017    TK Holdings Inc., et al .                    $1,289.00                                                                                    $1,289.00
CORLUOGLU, SAHIN
705 WHEELER PEAK WAY
ALPHARETTA, GA 30022                               P‐0006861 10/27/2017    TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
WAGELING, DONNA M.
115 ROBERT ROGERS ROAD
DUNBARTON, NH 03046                                P‐0006862 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUCKER, VALERIE G.
TUCKER, RICHARD
1719 MAPLETON AVENUE
BOULDER, CO 80304                                  P‐0006863 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BANASZAK, S/T
19232 EAST CLEAR CREEK DRIVE
PARKER, CO 80134                                     P‐0006864 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DAVID A.
88 EAST RAVENWOOD AVENUE
YOUNGSTOWN, OH 44507                                 P‐0006865 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARANTZA, JEFFREY S.
13711 PANHANDLE RD
HAMPTON, GA 30228                                    P‐0006866 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, ROBERT M.
593 STANLEY RD
AKRON, OH 44312                                      P‐0006867 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, ALLYN L.
5414 CACTUS FOREST DR
HOUSTON, TX 77088                                    P‐0006868 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGLOTTEN, DONYETTA N.
2806 GLAVIN WAY
APT #E
PARKVILLE, MD 21234                                  P‐0006869 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENZ, GEORGE H.
15294 W. FAIRMOUNT AVE
GOODYEAR, AZ 85395                                   P‐0006870 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JARMON, TYRONE P.
1252 CEDARCROFT ROAD
BALTIMORE, MD 21239                                  P‐0006871 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAEDE, CHARLES L.
969 BLIND HORSE RD
ILLIOPOLIS, IL 62539                                 P‐0006872 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEYDT, DALE R.
207 VALLEY GREEN DRIVE
COATESVILLE, PA 19320                                P‐0006873 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANK, CHRISTOPHER J.
78 WESTERLY RD
PRINCETON, NJ 08540                                  P‐0006874 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARKHEIM, JEFFREY D.
292 NORTH BROOK DRIVE
MILLTOWN, NJ 08850                                   P‐0006875 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTERS, CHRISTOPHER J.
CHRIS
114 PAYNE HILL RD
CLAIRTON, PA 15025                                   P‐0006876 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIAZ, RUSSELL L.
DIAZ, SHARON M.
4531 W. ASTER DRIVE
GLENDALE, AZ 85304‐2124                              P‐0006877 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBERTS, LAURENCE H.
29 EXETER STREET
WEST NEWTON, MA 02465                                P‐0006878 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABUZAHRA, MOHAMMED M.
ABDALLA, DANA N.
5 ROLAND CT
RUXTON, MD 21204                                     P‐0006879 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITZGERALD, LISA R.
84 MONTE ALTO RD.
SANTA FE, NM 87508                                   P‐0006880 10/27/2017    TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00


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                                                                                                                  Current General                                         Current 503(b)(9)
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
LOGAN, HERMAN
531 GLEN EAGLE DR.
TROY, MO 63379                                      P‐0006881 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WISEMAN, KENNETH R.
WISEMAN, AMY L.
11370 W LINCOLN ST
AVONDALE, AZ 85323                                  P‐0006882 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, TRUSTEE, PATRICK J.
MARTIN, TRUSTEE, SALLY S.
THE MARTIN FAMILY TRUST
3425 SHAWNEE CIRCLE
RENO, NV 89502‐9620                                 P‐0006883 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEAL, ANGELA M.
SEAL, TIMOTHY W.
243 GRIFFITH COURT
LURAY, VA 22835                                     P‐0006884 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORAN, THERESA A.
832 KINGS POINT DR. WEST
ADDISON, IL 60101                                   P‐0006885 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, DONALD C.
MITCHELL, NILSA L.
22 WINDSOR RD
EDISON, NJ 08817                                    P‐0006886 10/27/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
LEAR, BRYANT W.
24084 ST JOHN RD
GULFPORT, MS 39503                                  P‐0006887 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
USLENGHI, PAOLO
109 S ELMWOOD AVE
APT 28
OAK PARK, IL 60302                                  P‐0006888 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUFKA, TERRI L.
BUFKA, JOHN A.
P.O. BOX 7626
CHESTERFIELD, MO 63006‐7626                         P‐0006889 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEMING, KURT J.
32 ARTHUR AVENUE
MARBLEHEAD, MA 01945                                P‐0006890 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, PURVI V.
5004 BUTTONWOOD CT
MONMOUTH JCT., NJ 08852                             P‐0006891 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITRIK, PATRICIA E.
9 LISA PL
PINE BROOK, NJ 07058                                P‐0006892 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENO, LADONNA R.
RENO, HERBERT L.
3738 E HIGHWAY 47
WINFIELD, MO 63389                                  P‐0006893 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEAN, MARJORIE A.
2500 DIANA DR
UNIT 105
HALLANDALE, FL 33009                                P‐0006894 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMKINS, LAURIE S.
3927 PRINCETON PARK COURT
HOUSTON, TX 77058                                   P‐0006895 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
RYAN, MATTHEW P.
3400 WYOMING STREET
SAINT LOUIS, MO 63118                               P‐0006896 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCALLISTER, LISA J.
3851 BURKEY RD
YOUNGSTOWN, OH 44515                                P‐0006897 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOUTT‐OLSON, MELISSA M.
4973 ATALA WAY
RIVERTON, UT 84096                                  P‐0006898 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALCAZAR, DANIELA
4909 E LAUREL LN
SCOTTSDALE, AZ 85254                                P‐0006899 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHEL, JAVIER
14462 SW 10 STREET
MIAMI, FL                                           P‐0006900 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, DONALD C.
22 WINDSOR RD.
EDISON, NJ 08817                                    P‐0006901 10/27/2017    TK Holdings Inc., et al .                     $600.00                                                                                       $600.00
OJEDA, MARGIE
605 S 4TH ST APT 11
BUCKEYE, AZ 85326                                   P‐0006902 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALCAZAR, ANTONIO
4909 E LAUREL LN
SCOTTSDALE, AZ 85254                                P‐0006903 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECHARA, ASSAD
21367 PRESTWICK DRIVE
CREST HILL, IL 60403                                P‐0006904 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALONEY, CHANEL
18418 WALTER ST
LANSING, IL 60438 23RD                              P‐0006905 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENLEY, RUSSELL J.
222 N. PALMYRA DRIVE
VIRGINIA BEACH, VA 23462                            P‐0006906 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMKINS, LAURIE S.
3927 PRINCETON PARK COURT
HOUSTON, TX 77058                                   P‐0006907 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PADON, CASEY R.
3811 OLD BLUE CREEK ROAD
BILLINGS, MT 59101                                  P‐0006908 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLNEY, LISA J.
515 185TH ST
MECHANICSVILLE, IA 52306                            P‐0006909 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GURULE, CARLOS C.
GURULE, PAMELA
P.O. BOX 441
EL RITO, NM 87530                                   P‐0006910 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, RUBY L.
360 WALNUT AVE.
TRENTON, NJ 08609                                   P‐0006911 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALCAZAR, ANTONIO
4909 E LAUREL LN
SCOTTSDALE, AZ 85254                                P‐0006912 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIMBROUGH, DONTANIEL J.
KIMBROUGH, THREESA M.
503 CARDINAL AVE.
OSWEGO, IL 60543                                    P‐0006913 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BROWN, LYNN A.
BROWN, RICHARD
78 WILLIAM DR.
EAST HAMPTON, CT 06424‐1801                          P‐0006914 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALCAZAR, ANTONIO
4909 E LAUREL LN
SCOTTSDALE, AZ 85254                                 P‐0006915 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPOHN, JASON E.
KARBOWSKI, KYLE J.
3812 BROCK RD
CHATTANOOGA, TN 37421                                P‐0006916 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBER, DOUG
2745 VIP DRIVE
KENAI, AK 99611                                      P‐0006917 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEBERT, WINNIFRED L.
3927 PRINCETON PARK COURT
HOUSTON, TX 77058                                    P‐0006918 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY, WILLIAM
103 HUMMINGBIRD LANE
KATHLEEN, GA 31047‐2249                              P‐0006919 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AKWURUOHA, LUI O.
1140 EMPIRE CENTRAL DR. SUITE
DALLAS
TEXAS, TX 75247                                      P‐0006920 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBER, DOUGLAS
2745 VIP DRIVE
KENAI, AK 99611                                      P‐0006921 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCARBORO, MICHAEL
11781 S IRONWOOD DR
YUMA, AZ 85367                                       P‐0006922 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAPACH, THOMAS
111 MYLES LN
BONAIRE, GA 31005                                    P‐0006923 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMKINS, LAURIE S.
3927 PRINCETON PARK COURT
HOUSTON, TX 77058                                    P‐0006924 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOWLER, ASHLEY R.
4530 NANTUCKET DRIVE
APT 12
YOUNGSTOWN, OH 44515                                 P‐0006925 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUERSCHNER, KATHY R.
2647 LONG BEACH ROAD
OCEANSIDE, NY 11572                                  P‐0006926 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONGIORNI, ANTHONY
49 AUDUBON ST.
SPRINGFIELD, MA 01108                                P‐0006927 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARNDT, MARGARET
808 39TH STREET SOUTH
BIRMINGHAM, ALABAMA 35222                            P‐0006928 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, LATASHA
12 GOPHER LN
EUFAULA, AL 36027                                    P‐0006929 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMPKINS, IRETHA
3911 WATER ST
ELLENTON, FL 34222                                   P‐0006930 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WONG, JAMES M.
311 W LITTLE OAK CT
SPRING, TX 77386                                    P‐0006931 10/27/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
MCKINNEY, ELMO
722 KRISTEN ST
PLANO, IL 60545                                     P‐0006932 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOKSHI, VIPUL M.
104 WELLS DRIVE
SOUTH PLAINFIELD, NJ 07080                          P‐0006933 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACQUES, PAUL W.
1505 PARK STREET
#118
ATTLEBORO, MA 02703                                 P‐0006934 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGES, BILLY
P.O. BOX 32
VILLA RIDGE, MO 63089                               P‐0006935 10/27/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
MAHER, DENNIS L.
6014 BARTON RD
NORTH OLMSTED, OH 44070                             P‐0006936 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON JR, CHARLES W.
1900 WEYBURN ROAD
BALTIMORE, MD 21237                                 P‐0006937 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAWACK, CHRISTOPHER M.
10 WASHINGTON GREEN
APT 301
EAST WALPOLE, MA 02032                              P‐0006938 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRISON, MIKE
15082 N. 59TH AVENUE, #202
GLENDALE, AZ 85306‐5235                             P‐0006939 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAWACK, CHRISTOPHER M.
10 WASHINGTON GREEN
APT 301
EAST WALPOLE, MA 02032                              P‐0006940 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDEN, CARA M.
19935 TYGART LANE
GAITHERSBURG, MD 20879                              P‐0006941 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, SHERRY A.
1138 E CANYON CREEK DR
GILBERT, AZ 85295                                   P‐0006942 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAO, KENNETH K.
CHAO, LUCIA R.
13602 STILL BAY CT
HOUSTON, TX 77077/3410                              P‐0006943 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEGE, BLAIN P.
3067 HERITAGE LANDING RD
WILLIAMSBURG, VA 23185                              P‐0006944 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, JAMES
511 ST. CLAIR AVE.
SPRING LAKE, NJ 07762                               P‐0006945 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELEO, PETER J.
6 CANDLEWOOD ROAD
HARRIMAN, NY 10926                                  P‐0006946 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEST, DORENE B.
14635 STANBRIDGE DR.
HOUSTON, TX 77083                                   P‐0006947 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
KARRAS, MATTHEW J.
226 HEMLOCK AVENUE
ROMEOVILLE, IL 60446                                P‐0006948 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, MICHAEL D.
25 WARBURTON AVE.
NORTH KINGSTOWN, RI 02852                           P‐0006949 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRO, MARIE A.
34 N. STONE MILL DR #1223
DEDHAM, MA 02026                                    P‐0006950 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEINGAST, FERN S.
199 WATERMAN STREET SE
MARIETTA, GA 30060                                  P‐0006951 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OVERTURF, KENNETH T.
102 REGIO COURT
FRANKFORT, KY 40601                                 P‐0006952 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNOLDS, RICHARD L.
REYNOLDS, DIANE E.
5028 COUNTY ROAD 309
CLEBURNE, TX 76031                                  P‐0006953 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPRINGS, ANN R.
90 MONROE STREET
APT 612
ROCKVILLE, MD 20850                                 P‐0006954 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, KENNETH E.
3815 EVANS TO LOCKS ROAD
MARTINEZ GEORGIA 30907
                                                    P‐0006955 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONROY, MICHAEL J.
CONROY, CATHRYN D.
7906 PLUM CREEK DR.
GAITHERSBURG, MD 20879                              P‐0006956 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEVANGAN, HEMENDER
5118 HAWTHORNE BEND DR
KATY, TX 77494                                      P‐0006957 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANADA, PATRICK N.
15345 PEACH ORCHARD ROAD
BROOKSVILLE, FL 34614                               P‐0006958 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENZ, GEORGE H.
15294 W. FAIRMOUNT AVE
GOODYEAR, AZ 85395                                  P‐0006959 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIU, JO‐CHUN
7818 ELKHORN MOUNTAIN TRAIL
AUSTIN, TX 78729                                    P‐0006960 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EKMARK, MEG
EKMARK, CURTIS
4327 N. 57TH PLACE
PHOENIX, AZ 85018                                   P‐0006961 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, JOSEPH C.
8714 45TH PL. APT. 2F
LYONS, IL 60534                                     P‐0006962 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, LOANGELA C.
1017 HAWKRIDGE RUN
BELLEVILLE                                          P‐0006963 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, KATHRYN S.
4488 QUITMAN ST.
DENVER, CO 80212                                    P‐0006964 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SHELTON, TRACY S.
16452 N 165TH DR
SURPRISE, AZ 85388                                   P‐0006965 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FETTAHLIOGLU, EROL
191 WAUKENA AVE
OCEANSIDE, NY 11572                                  P‐0006966 10/27/2017    TK Holdings Inc., et al .                    $1,750.00                                                                                    $1,750.00
JOEL, TIFFANY
1101 JUNIPER ST. NE APT 717
ATLANTA, GA 30309                                    P‐0006967 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRITTIN, JOCELYN W.
916 PEACOCK STATION ROAD
MCLEAN, VA 22102                                     P‐0006968 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIH, CHAW‐LONG
7818 ELKHORN MOUNTAIN TRAIL
AUSTIN, TX 78729                                     P‐0006969 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, MARGARET C.
3416 DRAYTON CIR
VALDOSTA, GA 31605‐1047                              P‐0006970 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEYER, DEBBIE K.
6697 E. HACIENDA LA NORIA LAN
GOLD CANYON, AZ 85118                                P‐0006971 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONROY, MICHAEL J.
CONROY, CATHRYN D.
7906 PLUM CREEK DR.
GAITHERSBURG, MD 20879                               P‐0006972 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARGE, NICOLAS
LARGE, JUAN C.
10629 BLACK HORSE
HELOTES, TX 78023                                    P‐0006973 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, LOLITA
LOLITA JACKSON
39 47TH AVE
BELLWOOD, IL 60104                                   P‐0006974 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOCHER, DALE A.
714 HARTS COVE WAY
SENECA, SC 29678                                     P‐0006975 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, CHERYL
1211 LIGHT ST
#405
BALTIMORE, MD 21230                                  P‐0006976 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUNNINGHAM, SUSAN
8 CHARTER STREET
DANVERS, MA 01923                                    P‐0006977 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAO, LEI
7512 TAMARRON DR
PLAINSBORO, NJ 08536                                 P‐0006978 10/27/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
CUNNINGHAM, SUSAN
8 CHARTER STREET
DANVERS, MA 01923                                    P‐0006979 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINKHAM, STEVEN J.
N115 W16580 ROYAL CT
GERMANTOWN, WI 53022                                 P‐0006980 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDS‐BOCARD, PAMELA
3028 HOLLY HALL ST
HOUSTON, TX 77054 4161                               P‐0006981 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BELONE, LORENDA
1305 TIJERAS NE
APT. 3
ALBUQUERQUE, NM 87106                                 P‐0006982 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUNNINGHAM, SUSAN
8 CHARTER STREET
DANVERS, MA 01923                                     P‐0006983 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIGEDA, SENAYET
1012 STILL WATER DR
O FALLON, IL 62269                                    P‐0006984 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUMMEL, VALENTINE L.
1112 EAST MARLETTE AVE.
PHOENIX, AZ 85014‐1654                                P‐0006985 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, CHRISTOPHER G.
1201 ADAMS ST APT 603
HOBOKEN, NJ 07030                                     P‐0006986 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, ANTONIA
6908 ALBERICI AVE
ST. LOUIS, MO 63121                                   P‐0006987 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDOWELL, JUANETTA
1118 SWEET GALE DRIVE
DURHAM, NC 27704                                      P‐0006988 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUNCH, MATTHEW S.
7701 CAMINO REAL
APT. 416
MIAMI, FL 33143                                       P‐0006989 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOSKA, ORNELA
15583 MARCELLO CIR
NAPLES, FL 34110                                      P‐0006990 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O’REILLY, NORA L.
186 LUCKY DR
MARIETTA, GA 30068                                    P‐0006991 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAHAR, INA
3841 UNION CHURCH RD SW
STOCKBRIDGE, GA 30281                                 P‐0006992 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUNCH, MATTHEW S.
BUNCH, MATTHEW
7701 CAMINO REAL
APT. 416
MIAMI, FL 33143                                       P‐0006993 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEIMAN, JEFFREY D.
1537 LAWSON PALM COURT
APOPKA, FL 32712                                      P‐0006994 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEAN‐TICHENOR, NOREEN
106 16TH AVENUE
BELMAR, NJ 07719                                      P‐0006995 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAO, KENNETH K.
CHAO, LUCIA R.
13602 STILL BAY CT
HOUSTON, TX 77077/3410                                P‐0006996 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEINRICH, AIMEE
130 ROYAL CREST DR. UNIT K
SEVILLE, OH 44273                                     P‐0006997 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEAVER, SUSAN
1104 S WASHINGTON
SULLIVAN, IL 61951                                    P‐0006998 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WONG, ELSIE
15 ELIZABETH STREET
CANTON, MA 02021                                     P‐0006999 10/27/2017    TK Holdings Inc., et al .                     $950.00                                                                                       $950.00
SHOTTS, KEVIN C.
SHOTTS, MARSHA L.
6009 FEATHER WIND WAY
FORT WORTH, TX 76135                                 P‐0007000 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGUIRRE, LOUIS R.
173 BILLETTS BRIDGE
CAMDEN, NC 27921                                     P‐0007001 10/27/2017    TK Holdings Inc., et al .                       $37.50                                                                                       $37.50
HORNIG, PATRICK R.
12 HEATHER CIRCLE
MERRIMAC, MA 01860                                   P‐0007002 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIRONDA, VINCENT
GIRONDA, JANICE
35 HANSELL ROAD
NEW PROVIDENCE, NJ 07974                             P‐0007003 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JARVIE, KAREN
764 BERMUDA DRIVE
TOMS RIVER, NJ 08753                                 P‐0007004 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOY, LARRY
311 KACHINA DR.
CONYERS, GA 30094                                    P‐0007005 10/27/2017    TK Holdings Inc., et al .                    $2,850.00                                                                                    $2,850.00
BLACK, MICHAEL O.
14516 W. BYERS PLACE
GOLDEN, CO 80401                                     P‐0007006 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VIRGIES, BERNICE
NO ADDRESS PROVIDED
                                                     P‐0007007 10/27/2017    TK Holdings Inc., et al .                    $8,500.00                                                                                    $8,500.00
OTTO, ERIC E.
5304 EMERSON AVE
DALLAS, TX 75209                                     P‐0007008 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGUIRRE, LOUIS R.
STONE‐AGUIRRE, AMBER M.
173 BILLETTS BRIDGE
CAMDEN, NC 27921                                     P‐0007009 10/27/2017    TK Holdings Inc., et al .                       $37.50                                                                                       $37.50
ALEXANDRE, CARLINE
707 GEORGETOWNE DRIVE
HYDE PARK, MA 02136                                  P‐0007010 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORTEZ, JOSEPH
4233 RALEIGH AVE
#104
ALEXANDRIA, VA 22304                                 P‐0007011 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ATAKORA, AFIAH
2163 VAUXHALL ROAD
UNION, NJ 07083                                      P‐0007012 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANDEL, CAITLIN C.
39 DIVISION STREET
BRISTOL, RI 02809                                    P‐0007013 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMILTON, CHARLES
410 SHERINGHAM TERRACE
ROSWELL, GA 30076                                    P‐0007014 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOWRY, RICHARD W.
6081 HALLORAN LANE
HOFFMAN ESTATES, IL 60192                            P‐0007015 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WARNIER, ADRIAN
WARNIER, MARJORIE
12193 W MORGAN OAK DR
GREENFIELD, WI 53228                                 P‐0007016 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORTEZ, RAMIRO
CORTEZ, ELISA
3144 NW 37TH AVE
OKEECHOBEE, FL 34972                                 P‐0007017 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIRONDA, VINCENT
GIRONDA, JANICE
35 HANSELL ROAD
NEW PROVIDENCE, NJ 07974                             P‐0007018 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, TERRA R.
350 E VISTA RIDGE MALL DR
APT 1220
LEWISVILLE, TX 75067                                 P‐0007019 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG‐HARRIS, SHAUNEEN L.
7407 BRINSMADE AVE
CLEVELAND, OH 44102                                  P‐0007020 10/27/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
SELLARS, CHARLES E.
6614 GATEWAY BLVD.
DISTRICT HEIGHTS, MD 20747                           P‐0007021 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUSTAFSON, THOMAS J.
36‐38 SHERMAN PLACE, APT #105
JERSEY CITY, NJ 07307                                P‐0007022 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, ALPHONSO
ALPHONSO MARTIN
9297 AL HWAY 22 W
ORRVILLE, AL 36767                                   P‐0007023 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAREING, EILEEN M.
WAREING, EILEEN M.
5912 E. BLOOMFILED ROAD
SCOTTSDALE, AZ 85254                                 P‐0007024 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HONEYCUTT, HARVEY E.
5333 MOUNTAIN POINT LANE
CHARLOTTE, NC 28216                                  P‐0007025 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, JOEL
25130 CLOVER RANCH DR
KATY, TX 77494                                       P‐0007026 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAINT, DEEANN
SAINT, JOE
5026 SHADY LANE
5026 SHADY LANE
JEFFERSON CITY, MO 65109                             P‐0007027 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, HENRY I.
HARRIS, SUSAN L.
38W681 ARROWMAKER PASS
ELGIN, IL 60124                                      P‐0007028 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HONEYCUTT, HARVEY E.
5333 MOUNTAIN POINT LANE
CHARLOTTE, NC 28216                                  P‐0007029 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, TERRA R.
350 E VISTA RIDGE MALL DR
APT 1220
LEWISVILLE, TX 75067                                 P‐0007030 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
JOBE, CHRISTI L.
1121 STATE ROUTE 147
SLAUGHTERS, KY 42456                                P‐0007031 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARMENING, JAMES T.
7805 PALM DRIVE
ORLAND PARK, IL 60462‐4232                          P‐0007032 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALUMBO, ANDREW C.
711 WHITE WILLOW BAY
PALATINE, IL 60067                                  P‐0007033 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUMAR, SANJIV
4 CLOCK TOWER DR
WELLESLEY, MA 02481                                 P‐0007034 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, SWAPNIL A.
4 WALNUT ST
EDISON, NJ 08817                                    P‐0007035 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURRELL, ANITA
9302 INDIAN TRAIL FAIRVIEW RD
INDIAN TRAIL, NC 28079                              P‐0007036 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALUMBO, ANDREW C.
711 WHITE WILLOW BAY
PALATINE, IL 60067                                  P‐0007037 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAWLER, WAYNE J.
SHAWLER, MARCIA J.
18886 N. 89TH DRIVE
PEORIA, AZ 85382                                    P‐0007038 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSSELL, DANA
12742 FALLOW ST
CALDWELL, ID 83607                                  P‐0007039 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IRVINE, LAVONDA S.
3606 CLASSIC DRIVE
GARLAND, TX 75042                                   P‐0007040 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OCALLAGHAN, JOHN
526 CENTRAL AVE.
WILMETTE, IL 60091                                  P‐0007041 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORRIS, JAMES
17 HILLSIDE AVENUE
WINCHESTER, MA 01890                                P‐0007042 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALUMBO, ANDREW C.
711 WHITE WILLOW BAY
PALATINE, IL 60067                                  P‐0007043 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAPORTE, BRIDGETTE A.
6915 51ST AVE N
LOT 16
ST PETERSBURG, FL 33709                             P‐0007044 10/27/2017    TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
PEGUES, LUTHER
FOUNDERS BANK
716 MARSHALL ST
CHERAW, SC 29520                                    P‐0007045 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOENKSEN, CHRISTIAN J.
905 FLINTWOOD CT
ROUND LAKE HEIGH, IL 60073                          P‐0007046 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARAZINE, SERNETTA
445 PINECREST ROAD
P.O. BOX 27913 MACON GA 31221
MACON, GA 31204                                     P‐0007047 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BADEN, PAUL S.
83 MURRAY DR
OLD BRIDGE, NJ 08857                                 P‐0007048 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALUMBO, ANDREW C.
711 WHITE WILLOW BAY
PALATINE, IL 60067                                   P‐0007049 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEI, ZHUOHUI
7227 MOBUD DR.
HOUSTON, TX 77074                                    P‐0007050 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWERSEY, WILLIAM A.
BAIGINA, GALIA K.
609 COLUMBUS AVE #12‐C
NEW YORK, NY 10024                                   P‐0007051 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAI, LARRY
200 LAIRD AVE.
APT 205
CLIFFSIDE PARK, NJ 07010                             P‐0007052 10/27/2017    TK Holdings Inc., et al .                     $750.00                                                                                       $750.00
OSBORNE, TROY C.
550 S 2100 W
VERNAL, UT 84078                                     P‐0007053 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLAHERTY, MARK D.
NO ADDRESS PROVIDED
                                                     P‐0007054 10/27/2017    TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
WU, HSINGWEI K.
LI, CHIENPING G.
11 WINDSOR LANE
NORTHBOROUGH
MA, MA 01532                                         P‐0007055 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNOLDS, MICHAEL L.
3593 N 161ST AVE
GOODYEAR, AZ 85395                                   P‐0007056 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DODSON, TERRY L.
38 ANTIOCH ROAD
LURAY, VA 22835                                      P‐0007057 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEI, ZHUOHUI
SHI, XIU HUA
7227 MOBUD DR
HOUSTON, TX 77074                                    P‐0007058 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASH, DEBRA A.
176 ST RT. 33
BUSINESS
FREEHOLD, NJ 07728                                   P‐0007059 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENS, PORTIA
486 HOPATCONG AVE
WEST HEPMSTEAD, NY 11552                             P‐0007060 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSEBERRY, HAROLD E.
1279CR1031GREENVILLETX75401
                                                     P‐0007061 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAUCIER, SHARON J.
SAUCIER, LOUIS J.
111 LYNN CIRCLE
PASS CHRISTIAN, MS 39571                             P‐0007062 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONANSINGA, ALLISON
BONANSINGA, JON
1285 AMARANTH DR
NAPERVILLE, IL 60564                                 P‐0007063 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
ROSEBERRY, HAROLD E.
1279CR1031
GREENVILLE, TX 75401
                                                    P‐0007064 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARNKE, RANDY L.
4380 E HAMILTON CT
WASILLA, AK 99654                                   P‐0007065 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANCASTER, DENISE
6207 WELSHIRE PLACE
UPPER MARLBORO, MD 20772                            P‐0007066 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUNNINGHAM, PATRICK
8 CHARTER STREET
DANVERS, MA 01923                                   P‐0007067 10/27/2017    TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
PARRILLO, WILLIAM A.
16 N CLIFTON AVE
PARK RIDGE, IL 60068                                P‐0007068 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANCASTER, DENISE
6207 WELSHIRE PLACE
UPPER MARLBORO, MD 20772                            P‐0007069 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBBARD, JAMES T.
4196 HAYMARKET LANE
WILLIAMSBURG, VA 23188                              P‐0007070 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUNNINGHAM, SUSAN
8 CHARTER STREET
DANVERS, MA 01923                                   P‐0007071 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOIR, SUSAN
MOIR, JOHN
4 KINGSWOOD DRIVE
FRANKLIN, MA 02038                                  P‐0007072 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, DANCIA
1483 ANDORA DRIVE
ROCK HILL, SC 29732                                 P‐0007073 10/27/2017    TK Holdings Inc., et al .                    $1,200.00                                                                                    $1,200.00
KAITSCHUCK, DANIEL M.
KAITSCHUCK, JUDITH A.
4486 E. MEADOW LAND DRIVE
SAN TAN VALLEY, AZ 85140                            P‐0007074 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEPMEYER, JENNIFER S.
105 DRUSHEL DRIVE
P.O. BOX 375
CONNOQUENESSING, PA 16027                           P‐0007075 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IAMMARINO, VIRGINIA
2641 DOUG AVE
HUDSON, OH 44236                                    P‐0007076 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, DAVID
8718 N LYNN AVE
TAMPA, FL 33604                                     P‐0007077 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUGHI, PAUL E.
2031 MEADOW CREEK CIR SE
OWENS CROSS ROAD, AL 35763                          P‐0007078 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEAKS, JAVONIA S.
WEAKS, TREVONIA S.
223 WEST 38TH STREET
NORFOLK, VA 23504                                   P‐0007079 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORTON, RICHARD K.
12906 FOUNTAIN HEAD ROAD
HAGERSTOWN, MD 21742                                P‐0007080 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
TAYLOR, JOHN C.
4690 JEFFERSON HWY
MINERAL, VA 23117                                   P‐0007081 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COUSIN, SABRE T.
3533 FANNIN DR
LITHONIA, GA 30038                                  P‐0007082 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THURMAN, MICHELLE L.
944 STAR CIRCLE
UNION, MO 63084                                     P‐0007083 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEANY, LAWRENCE G.
2311 WASHINGTON ST. UNIT E
NEWTONLOWERFALLS, MA 02462‐1428                     P‐0007084 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IBARRA, RICARDO A.
NO ADDRESS PROVIDED
                                                    P‐0007085 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILLIAN, STEPHANIE A.
3416 ENGLISH OAKS DRIVE NW
KENNESAW, GA 30144                                  P‐0007086 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JANSSEN, MARY K.
221 N HWY 59
VOLBORG, MT 59351                                   P‐0007087 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITNEY CASE TRUST
820 S MONACO PKWY 4B124
DENVER, CO 80224                                    P‐0007088 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, KAREN R.
3901 PRIMA VERA LANE
MOBILE, AL 36605‐3735                               P‐0007089 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARPER, HERBERT F.
TAKATA AIRBAG INFLATOR
108 THORNWOOD DR
CARTERSVILLE, GA 30121                              P‐0007090 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASIS, ALLEN
48 CALGARY CIRCLE
MORGANVILLE, NJ 07751                               P‐0007091 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALINAS, VICTOR H.
8614 BOLD FOREST DR
HOUSTON, TX 77088                                   P‐0007092 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, THOMAS I.
3302 ELDER COURT
IRVING, TX 75060                                    P‐0007093 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETILLO, JOSEPH C.
20 WICKHAM LANE
EAST WINDSOR, NJ 08520‐1210                         P‐0007094 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOOTH, ALEXANDER C.
860 STANDISH AVENUE
WESTFIELD, NJ 07090‐3071                            P‐0007095 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALUMBO, ANDREW C.
711 WHITE WILLOW BAY
PALATINE, IL 60067                                  P‐0007096 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMPSON, THADDEUS S.
18251 CALIFORNIA AVE
HOMEWOOD, IL 60430                                  P‐0007097 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEIMEL, PAULA J.
STEIMEL, DANIEL R.
3115 WOLF CT
DEKALB, IL 60115                                    P‐0007098 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
WHELAN, THOMAS
23 SHADE STREET
LEXINGTON, MA 02421                                P‐0007099 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, JAMES D.
BETTIS, PAMELA K.
904 DOWNER TRAIL
PRESCOTT, AZ 86305                                 P‐0007100 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCABE, CHRISTOPHER
2121 S SIERRA VISTA DRIVE
TEMPE, AZ 85282                                    P‐0007101 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACINNES JR, CRAIG W.
72 SPRING ST
QUINCY, MA 02169                                   P‐0007102 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, JAMES D.
BETTIS, PAMELA K.
904 DOWNER TRAIL
PRESCOTT, AZ 86305                                 P‐0007103 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITLOCK, GARY R.
350 LEE RD 2204
SMITHS STATION, AL 36877                           P‐0007104 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL JR, HENRY L.
326 YORKTOWN DR
PARIS, KY 40361                                    P‐0007105 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDANIEL‐DAVIS, ROLUNDA M.
8022 FOX STREET
BAYTOWN, TX 77523                                  P‐0007106 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AU, PAMELA J.
20325 N UPPER PASS RD
PRESCOTT, AZ 86305                                 P‐0007107 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOON, JINHWAN
2867 GETTYSBURG ESTATES DR
SAINT LOUIS, MO 63129                              P‐0007108 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUGHI, PAUL E.
2031 MEADOW CREEK CIR SE
OWENS CROSSROADS, AL 35763                         P‐0007109 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDEN, KELLY P.
204 CARAVEL DR
BEAR, DE 19701                                     P‐0007110 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, GARY L.
BROWN, SHAKA A.
3812 CLEVELAND ST
SHREVEPORT, LA 71109                               P‐0007111 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, LESLIE A.
1213 GAME TRAIL NORTH
BOURBONNAIS, IL 60914                              P‐0007112 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOPER, DANIELLE S.
COOPER, JUSTIN B.
160 BENT TREE LOOP
HAUGHTON, LA 71037                                 P‐0007113 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUGHI, PAUL E.
DUGHI, MICHELE R.
2031 MEADOW CREEK CIR SE
OWENS CROSSROADS, AL 35763                         P‐0007114 10/27/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KODACK, MARC D.
6400 BLARNEY STONE CT.
SPRINGFIELD, VA 22152                              P‐0007115 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WELMERS, JANICE K.
10951 N. 91ST. AVE.
LOT 14
PEORIA, AZ 85345                                    P‐0007116 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATEL, PAUL J.
3028 SWEET BRIAR AVE.
IOWA CITY, IA 52245                                 P‐0007117 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELMERS, JANICE K.
10951 N. 91ST. AVE
LOT 14
PEORIA, AZ 85345                                    P‐0007118 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, AUSTIN D.
1631 N. EMERSON ST
APT. 417
DENVER, CO 80218                                    P‐0007119 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLOW, DEBORAH C.
403 LAKE STREET
SALISBURY, MD 21801                                 P‐0007120 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, LARRY
11061 E. VIA TRANQUILLA
TUCSON, AZ 85749                                    P‐0007121 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENTAS, NICHOLAS W.
16W641 MOCKINGBIRD LANE
#206
WILLOWBROOK, IL 60527                               P‐0007122 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMBERLAIN, DAVID L.
432 5TH STREET
WOOD RIVER, IL 62095                                P‐0007123 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, JUDY L.
342 W. MAIN ST.
NEWARK, OH 43055                                    P‐0007124 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALLOY, STEPHAN P.
1001 MARY CIRCLE
HUNTINGTOWN, MD 20639                               P‐0007125 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANDINGER, JONATHAN D.
4222 E WINDROSE DRIVE
APT 2013
PHOENIX, AZ 85032                                   P‐0007126 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REICH, ALYSA F.
REICH, MICHAEL A.
10211 SILVER BELL TERRACE
ROCKVILLE, MARYLAND 20850                           P‐0007127 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATERSON, TROY D.
2830 CHANDLER GROVE DRIVE
BUFORD, GA 30519                                    P‐0007128 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LALLI, EDWARD A.
8222 W STATE AVE
GLENDALE, AZ 85303                                  P‐0007129 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSON, JOHN
929 ELM ST
NAPERVILLE, IL 60540                                P‐0007130 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROESCH, DAVID W.
600 TAYLOR ROAD
SANDUSKY, OH 44870                                  P‐0007131 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WARNER, SALINA
603 N 4TH ST
D
AVONDALE, AZ 85323                                   P‐0007132 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, KATHY
45 STONE RIVER LOOP
WETUMPKA, AL 36092                                   P‐0007133 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, EARNEST E.
45 STONE RIVER LOOP
WETUMPKA, AL 36092                                   P‐0007134 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JINKS, BEVERLY
320 BAILIFF RD
JAMESTOWN, LA 71045                                  P‐0007135 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAINE, LAURA
727 MILLIGAN LANE
WEST ISLIP, NY 11795                                 P‐0007136 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANGELO, YUSTINA E.
437 E PALMER
ADDISON, IL 60101                                    P‐0007137 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAVRILKO, PAUL
6370 LAWYERS HILL ROAD
ELKRIDGE, MD 21075                                   P‐0007138 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAVRILKO, PAUL
6370 LAWYERS HILL ROAD
ELKRIDGE, MD 21075                                   P‐0007139 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUSSAULT, TERRY M.
DUSSAULT, TERRY M.
12 MARGUERETTE ST
LEWISTON, MAINE 04240                                P‐0007140 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSON, JOHN
929 ELM ST
NAPERVILLE, IL 60540                                 P‐0007141 10/28/2017    TK Holdings Inc., et al .                    $3,200.00                                                                                    $3,200.00
MCGLUMPHY, MELANIE K.
MCGLUMPHY, ROBERT J.
8886 INDIAN MOUND ROAD
PICKERINGTON, OH 43147                               P‐0007142 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAVRILKO, ANNMARIE
6370 LAWYERS HILL ROAD
ELKRIDGE, MD 21075                                   P‐0007143 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIEGERICH, ELISABETH L.
BURKE, WILLIAM M.
87 CHICK ROAD
WOLFEBORO, NH 03894                                  P‐0007144 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILL, RICHARD E.
6156 POST OAK ROAD WEST
JACKSONVILLE, FL 32277‐1555                          P‐0007145 10/28/2017    TK Holdings Inc., et al .                    $3,213.00                                                                                    $3,213.00
BARBE, HARLAN L.
356 MARSH HOLLOW RD
PONTE VEDRA, FL 32081                                P‐0007146 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGLUMPHY, ROBERT J.
MCGLUMPHY, MELANIE K.
8886 INDIAN MOUND ROAD
PICKERINGTON, OH 43147                               P‐0007147 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WESSEL, ROGER
WESSEL, RITA
504 N. PARKWOOD DRIVE
MUNCIE, IN 47304                                     P‐0007148 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELVIN, WILLIAM K.
2266 BRIMSTONE PL.
HANOVER, MD 21076                                    P‐0007149 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERTE, ROBERT A.
93 WATERTOWN STREET
WATERTOWN, MA 02472‐2569                             P‐0007150 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TREFZ, BETSYANN
2756 FYNAMORE LANE
DOWNINGTOWN, PA 19335                                P‐0007151 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IANNI, ANTHONY
1246 SALWAY AVENUE SW
NORTH CANTON, OH 44720                               P‐0007152 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOFFE, SUSIE U.
MANNE
15502 HITCHCOCK RD
CHESTERFIELD, MO 63017                               P‐0007153 10/28/2017    TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
GAGLIARDI, JANE C.
MCCAULEY, DAVID C.
43 WOODWARD AVENUE
GLOUCESTER, MA 01930                                 P‐0007154 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENNA, SALVATORE J.
7919 151 AVE
HOWARD BEACH, NY 11414                               P‐0007155 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARONE, MARILYNN A.
517 STANDISH PLACE
STEWARTSVILLE, NJ 08886                              P‐0007156 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATELLO, SUSAN
25 WEST BROADWAY
UNIT 510
LONG BEACH, NY 11561                                 P‐0007157 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALEY, BOGUMILA
62 SPYGLASS CIR
PALOS HEIGHTS, IL 60463                              P‐0007158 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, BRUCE A.
6540 NEWTON DRIVE
FREDERICK, MD 21703                                  P‐0007159 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIGNANELLI, JESSICA L.
11 WEST SHAWNEE TRAIL
WHARTON, NJ 07885                                    P‐0007160 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HITRON, ARIEL B.
1203 FAULKNER CT
MAHWAH, NJ 07430                                     P‐0007161 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIWINSKI, MELANIE M.
1240 TRALEE LANE LOCKPORT IL
LOCKPORT, IL 60441                                   P‐0007162 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, TERESA D.
6540 NEWTON DRIVE
FREDERICK, MD 21703                                  P‐0007163 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARKO, SCOTT A.
6971 MEADOWPOINT TERRACE
NEW MARKET, MD 21774                                 P‐0007164 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MIGNANELLI, MATTHEW D.
11 WEST SHAWNEE TRAIL
WHARTON, NJ 07885                                   P‐0007165 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALEY, BOGUMILA
62 SPYGLASS CIR
PALOS HEIGHTS, IL 60463                             P‐0007166 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARIANO, BROCK W.
565 BLACK MAPLE DR
KANNAPOLIS, NC 28081                                P‐0007167 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISSETT, STEVEN T.
28 SOPHIE LN
FALMOUTH, MA 02536                                  P‐0007168 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHUKUKA, LINDA N.
503 LISA PLACE
NORTH BRUNSWICK, NJ 08902                           P‐0007169 10/28/2017    TK Holdings Inc., et al .                   $24,000.00                                                                                   $24,000.00
MAGNOTTI, GARY J.
7 HITCHING POST DR
WALLINGFORD, CT 06492                               P‐0007170 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNT, BARBARA A.
30 RUNNING BROOK DRIVE
BALTIMORE, MD 21244                                 P‐0007171 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULHERN, PATRICK
2511 CRESCENT DRIVE
LA PORTE, TX 77571                                  P‐0007172 10/28/2017    TK Holdings Inc., et al .                   $90,000.00                                                                                   $90,000.00
GRANT, MELISSA A.
13 WINNHAVEN DRIVE
HUDSON, NH 03051                                    P‐0007173 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HYPPOLITE, JOANNE T.
6753 DOGWOOD DRIVE
MIRAMAR, FL 33023                                   P‐0007174 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYAN, HAROLD
P.O. BOX 112
MIDDLEBURY, CT 06762                                P‐0007175 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHUKUKA, LINDA N.
503 LISA PLACE
NORTH BRUNSWICK, NJ 08902                           P‐0007176 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAN, CHILE F.
7443 WASHINGTON ST., #303
FOREST PARK, IL 60130                               P‐0007177 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLT, NICOLE
43 BREWSTER ROAD
STOUGHTON, MA 02072                                 P‐0007178 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUTIERREZ, KATHLEEN
1002 CORVETTE AVE
SEBRING, FL 33872                                   P‐0007179 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YORK, MARIE W.
81 STACEY LANE
KENDUSKEAG, ME 04450                                P‐0007180 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOHTASSEM, JOSEPHINE
MOHTASSEM, JOSEPHINE S.
8043 OLD LONDON ROAD
NORTH CHARLESTON, SC 29406                          P‐0007181 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASSA, ANGELA S.
11 MARBLE ST
STONEHAM, MA 02180                                  P‐0007182 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                               Current General                                         Current 503(b)(9)
                                                                                                                                  Current Priority   Current Secured                        Current Admin    Total Current
                Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                   Amount                                                  Amount
BRIDGMAN, GERRI
230 OAKWOOD DRIVE
YARMOUTH, ME 04096                               P‐0007183 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENTINE, RICHARD S.
1961 CENTENNIAL DR.
LOUISVILLE, CO 80027                             P‐0007184 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRIVOLIS, CHRISTOPHER J.
271 E. WHITEHALL STREET
MERIDIAN, ID 83642                               P‐0007185 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUIZ, TOMASA
RUIZ, TADEO
10703 RIVERA COVE
SAN ANTONIO, TX 78249                            P‐0007186 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEQUIROS, JODI D.
5778 LAUREL CHERRY AVE
WINTER GARDEN, FL 34787                          P‐0007187 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, STEPHANIE E.
410 FAULKNER LANE
BALL GROUND, GA 30107                            P‐0007188 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMON, MARGARET M.
6511 RIVER POINT DR
FLEMING ISLAND, FL 32003                         P‐0007189 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GADDIE, JOHN
GADDIE, LISA J.
2640 SUWANEE LAKES TRL
SUWANNE, GA 30024                                P‐0007190 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCROGGINS, LONIE
2700 ELM STREET
ST. CHARLES, MO 63301                            P‐0007191 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUIZ, TOMASA
RUIZ, TADEO
10703 RIVERA COVE
SAN ANTONIO, TX 78249                            P‐0007192 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIGIOVANNI, STEPHANIE M.
477 N. 49TH ST.
MILWAUKEE, WI 53208                              P‐0007193 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMON, MARGARET M.
6511 RIVER POINT DR
FLEMING ISLAND, FL 32003                         P‐0007194 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLEN, SEAN
2051 SOLERA COURT
UNIT 304
ROCKINGHAM, VA 22801                             P‐0007195 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYDUN, STEPHANIE
3435 WILLOW CREEK RD
LEE, IL 60530                                    P‐0007196 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEONARD, PAUL
4298 NAPIER AVE
BRONX, NY 10470                                  P‐0007197 10/28/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
NULPH, LAURA J.
2410 BROOKGREEN COMMONS NW
KENNESAW, GA 30144                               P‐0007198 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOYER, JUDITH H.
105‐A OGDEN CIRCLE
OAK RIDGE TN                                     P‐0007199 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
RUIZ, TOMASA
10703 RIVERA COVE
SAN ANTONIO, TX 78249                              P‐0007200 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLEN, LAUREN
2051 SOLERA COURT
UNIT 304
ROCKINGHAM, VA 22801                               P‐0007201 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARKIN, JAMES W.
HARKIN, PHYLLIS S.
9110 BELVOIR WOODS PARKWAY
APT. 212
FORT BELVOIR, VA 22060                             P‐0007202 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COBLE, GARY M.
PEGGY G COB
2072 NC HIGHWAY 61
LIBERTY, NC 27298                                  P‐0007203 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUSHNIR, CHARINNA N.
2019 WILLOWCREST CIRCLE
BALTIMORE, MD 212098                               P‐0007204 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENTZER, AIDA M.
150‐38 UNION TURNPIKE
APT. 5 S
FLUSHING, NY 11367                                 P‐0007205 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COBLE, PEGGY G.
COBLE, GARY M.
2072 NC HIGHWAY 61
LIBERTY, NC 27298                                  P‐0007206 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTERS, ROBERTHA A.
617 BANGS AVE APT 3E
ASBURY PARK, NJ 07712                              P‐0007207 10/28/2017    TK Holdings Inc., et al .                   $10,980.00                                                                                   $10,980.00
PRIZZIO, PETER J.
2711 PINERIDGE LANE
POWHATAN, VA 23139                                 P‐0007208 10/28/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
HEERHOLD, CHARLES
HEERHOLD, SANDRA
808 BLACK WALNUT DR.
SUGAR GROVE, IL 60554                              P‐0007209 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEDNA, SANDRA L.
2437 ELMHURST BLVD.
KENNESAW, GA 30152                                 P‐0007210 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICCI, SUSAN L.
2 WOOD VALLEY ROAD
CHATHAM, MA 02633                                  P‐0007211 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMPSON, SHARON K.
4000 N BAYOU HILLS LN
PARKER, CO 80134                                   P‐0007212 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERZYNSKI, MAUREEN L.
1119 SHEERBROOK DR.
CHAGRIN FALLS, OH 44022                            P‐0007213 10/28/2017    TK Holdings Inc., et al .                   $21,773.00                                                                                   $21,773.00
WALTERS, ROBERTHA A.
617 BANGS AVE APT 3E
ASBURY PARK, NJ 07712                              P‐0007214 10/28/2017    TK Holdings Inc., et al .                   $14,992.00                                                                                   $14,992.00
NGUYEN, LONG B.
5020 EISENHOWER AVE
APT 108
ALEXANDRIA, VA 22304                               P‐0007215 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PATEL, RASHMIKANT
5580 RIALTO WAY
CUMMING, GA 30040                                   P‐0007216 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EERHOLD, SANDRA
HEERHOLD, CHARLES
808 BLACK WALNUT DR.
SUGAR GROVE, IL 60554                               P‐0007217 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTSON, THOMAS E.
4585 WEST COUNTY ROAD 200 S
NEW CASTLE, IN 47362                                P‐0007218 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURDY, DANIEL F.
1924 WEBB GIN HOUSE RD.
SNELLVILLE, GA 30078                                P‐0007219 10/28/2017    TK Holdings Inc., et al .                    $4,426.00                                                                                    $4,426.00
GRALEN, DONALD J.
113 CLOVER MEADOW
BURR RIDGE, IL 60527                                P‐0007220 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAYTON, JOANNA E.
14 SPRUCEWOOD RD
WILMINGTON, MA                                      P‐0007221 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, KOLETA M.
6310 SNOW CHIEF CTJTE
UPPER MARLBORO, MD 20772                            P‐0007222 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOYNOSKI, CRIS E.
27551 ASCOT ST
WESLEY CHAPEL, FL 33544                             P‐0007223 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALT, ZACHARY R.
4534 28TH RD. S. UNIT C
ARLINGTON, VA 22206                                 P‐0007224 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMPSON, RICHARD C.
4000 N BAYOU HILLS LN
PARKER, CO 80134                                    P‐0007225 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAINT JAMES, ROSEMARY A.
3736 CHEVERLY RD
                                                    P‐0007226 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHUE, JASON S.
3016 MAGNOLIA BND
CHARLOTTESVILLE, VA 22911                           P‐0007227 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALTIZER, THOMAS W.
ALTIZER, KATHLEEN C.
12709 WILLOW POINT DRIVE
FREDERICKSBURG, VA 22408                            P‐0007228 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIRSCH, CAROL A.
18233 N 31ST AVENUE
PHOENIX, AZ 85053                                   P‐0007229 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERREAULT, STEPHEN J.
84 RIDGE RD
SMITHFIELD, RI                                      P‐0007230 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURR, CHRISTOPHER M.
12 CHERRY CIRCLE
GROTON, CT 06340                                    P‐0007231 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHOWN, NABID
SALAHUDDIN‐SHOWN, SABRINA
1212 78TH STREET
NORTH BERGEN, NJ 07047                              P‐0007232 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
KILKER, MARK S.
5897 69TH AVE N
PINELLAS PARK, FL 33781                              P‐0007233 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAUB, RICHARD J.
1216 CHADWICK LANE
WEST DUNDEE, IL 60118                                P‐0007234 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEBSEN, DENNIS E.
JEBSEN, CAROL
P.O. BOX 633
YANTIS, TX 75497                                     P‐0007235 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHATMON, RAYGAN E.
936 GARDEN ST
`
BIRMINGHAM, AL 35221                                 P‐0007236 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANKENSHIP, JUDY M.
2010 PLUM ST
NEW CASTLE, IN 47362‐3143                            P‐0007237 10/28/2017    TK Holdings Inc., et al .                     $984.06                                                                                       $984.06
QUINLAN, MARY K.
4441 E 16TH ST
TUCSON, AZ 85711                                     P‐0007238 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMILEY, LEATRICE R.
VANTAGE CREDIT UNION
4020 FEE FEE RD
BRIDGETON, MO 63044                                  P‐0007239 10/28/2017    TK Holdings Inc., et al .                   $10,800.00                                                                                   $10,800.00
LOITERMAN, ROBERT M.
5 ALLYSON CT
LONG VALLEY, NJ 07853                                P‐0007240 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAVECCHIA, JULIA
66A SUNSET ROAD
WHITING, NJ 08759                                    P‐0007241 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, JAMES J.
920 BALL PARK RD
ENOREE, SC 29335                                     P‐0007242 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCULLUM, PHILIP R.
107 E COLUMBIA ST
DANVERS, IL 61732                                    P‐0007243 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SICILIANO, MARGARET A.
11783 PUMA PATH
VENICE, FL 34292                                     P‐0007244 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITCOMB, JAMES A.
WHITCOMB, BRENDA L.
WHITCOMB FAMILY TRUST
531 S COUNTRY CLUB RD
BREVARD, NC 28712                                    P‐0007245 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOMARA, MICHAEL G.
102 GREENVALE MEWS DR.
WESTMINSTER, MD 21157                                P‐0007246 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUSTICE, WILBUR M.
JUSTICE, BARNG K.
5512 SHADY SPRINGS TRAIL
FORT WORTH, TX 76179                                 P‐0007247 10/28/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
PETERSON, DAVID W.
940 BASSWOOD ST
HOFFMAN ESTATES, IL 60169                            P‐0007248 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
DOYLE, JOSEPH P.
14233 DAY FARM RD
GLENELG, MD 21737                                  P‐0007249 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKORDALELLIS, NICKOLAOS K.
11 PINEBROOK PLACE
BAY SHORE, NY 11706                                P‐0007250 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOMARA, MICHAEL G.
102 GREENVALE MEWS DR.
WESTMINSTER, MD 21157                              P‐0007251 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, ERIK C.
279 HONEYSUCKLE CIRCLE
PRESCOTT, AZ 86301                                 P‐0007252 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORTON, DOREEN M.
P.O. BOX 121
DALTON, MA 01227                                   P‐0007253 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOYLE, FRANCINE M.
360 SOUTH UNION AVENUE
CRANFORD, NJ 07016                                 P‐0007254 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMILEY, LEATRICE R.
VANTAGE CREDIT UNION
4020 FEE FEE RD
BRIDGETON, MO 63044                                P‐0007255 10/28/2017    TK Holdings Inc., et al .                   $10,800.00                                                                                   $10,800.00
MOORE, SUE A.
MOORE, JAMES R.
3401 LEE PARKWAY
UNIT 1202
DALLAS, TX 75219                                   P‐0007256 10/28/2017    TK Holdings Inc., et al .                     $400.00                                                                                       $400.00
DUGAS, DONNA M.
4200 WATSON ST
APT 302
HOUSTON, TX 77009                                  P‐0007257 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRITTON, TAWANA J.
208 BARGER CIRCLE
IRMO, SC 29063                                     P‐0007258 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAMER, THOMAS M.
18410 AUTUMN PARK DR
HOUSTON, TX 77084                                  P‐0007259 10/28/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HAUGH, ASHLEY M.
6310 FREEDOM AVE.
SYKESVILLE, MD 21784                               P‐0007260 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCFADDEN, ERIN K.
1809 SCHULTE HILL DRIVE
MARYLAND HEIGHTS, MO 63043                         P‐0007261 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOYLE, FRANCINE M.
360 SOUTH UNION AVENUE
CRANFORD, NJ 07016                                 P‐0007262 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANRATTY, MICHELLE C.
HANRATTY, SHAWN E.
7755 FENWICK STREET
NAVARRE, FL 32566                                  P‐0007263 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHENG, XU
1 NOD BROOK LANE
SIMSBURY, CT 06070                                 P‐0007264 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOITERMAN, SHARON L.
5 ALLYSON CT
LONG VALLEY, NJ 07853                              P‐0007265 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SICILIANO, MICHAEL A.
11783 PUMA PATH
VENICE, FL 34292                                    P‐0007266 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VITALE, DOMENICP
6 SKYEWOOD DRIVE
STONEHAM, MA 02180                                  P‐0007267 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIWINSKI, HOLLY L.
1240 TRALEE LANE
LOCKPORT, IL 60441                                  P‐0007268 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMMINS, SUSAN L.
70 WHITEHAVEN CIRCLE
HIGHLANDS RANCH, CO 80129                           P‐0007269 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEMCZUR, NADIA
DEMCZUR, JAN
152 ST.PAULS AVE
JERSEY CITY, NJ 07306                               P‐0007270 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EMSHOFF, GLENN D.
4711 ABINGDON CT.
SUGAR LAND, TX 77479                                P‐0007271 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLAND, RONALD P.
POLAND, JANICE L.
125 GALLAHER VIEW DRIVE
KINGSTON, TN 37763                                  P‐0007272 10/28/2017    TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
THOMPSON, JEFFREY S.
6327 ANDREWS DR. W.
WESTERVILLE, OH 43082                               P‐0007273 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OUTLER, MICHAEL R.
OUTLER, YVONNE D.
908 S. DOGWOOD DRIVE
MARYVILLE, TN 37804                                 P‐0007274 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOCHOCKI, BESS D.
158 GRAY MANS LOOP
PAWLEYS ISLAND, SC 29585                            P‐0007275 10/28/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
SHAHINIAN, AUDREY R.
SHAHINIAN, SHAHIN W.
8164 SADDLE CREST DR
MECHANICSVILLE, VA 23111                            P‐0007276 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAZZONE, MILDRED
MAZZONENO, DAMIANO
785‐ OAK GROVE DRIVE
MINERAL, VA.23117
                                                    P‐0007277 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEMCZUR, NADIA
152 ST.PAULS AVE
JERSEY CITY, NJ 07306                               P‐0007278 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARRAZZA, MICHAEL A.
421 SAG HARBOR TURNPIKE
EAST HAMPTON, NY 11937                              P‐0007279 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRARA, ROBERT M.
106 DERBYSHIRE DRIVE
CRANSTON, RI 02921                                  P‐0007280 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAYSON, MARK C.
142 LONESOME DOVE LN
RINGGOLD, GA 30736                                  P‐0007281 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
CHENEY, EARL L.
20 VICTORIA CIRCLE
WALPOLE, MA 02081                                  P‐0007282 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULLOM, JOHN H.
1606 EXETER RD.
WESTMINSTER, MD 21157‐6802                         P‐0007283 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DORSEY, FELICIA D.
8700 SCENIC GREEN CIRCLE
APT 12302
FORT WORTH, TEXAS 76244                            P‐0007284 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, DENISE B.
8227 BON AIR ROAD
PARKVILLE, MD 21234                                P‐0007285 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BATTLE, CHARLINE N.
CHARLINE BATTLE
4222 INVERRARY BLVD #4707
LAUDERHILL, FL 33319                               P‐0007286 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEBRECHT, KATHLEEN
LEBRECHT, HORST
20421 N DATE PALM WAY
SURPRISE, AZ 85387                                 P‐0007287 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, DANIEL C.
3117 BUCKTHORN STREET
HEARTLAND, TX 75126                                P‐0007288 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYSONET, ILEANA L.
15 ROMAINE PLACE
BSMT
NEWARK, NJ 07104                                   P‐0007289 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DITOMMASO, MARIA
46 RARITAN AVENUE
STATEN ISLAND, NY 10304                            P‐0007290 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLANO, MELISA
20 FURMAN AVENUE
SAYREVILLE, NJ 08872                               P‐0007291 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELDENMUTH, GARY L.
2090 NE 124 STREET
N MIAMI, FL 33181                                  P‐0007292 10/28/2017    TK Holdings Inc., et al .                    $3,900.00                                                                                    $3,900.00
HOROWITZ, ADAM D.
3061 NORTH 35 STREET
HOLLYWOOD, FL 33021                                P‐0007293 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, ROSS E.
10 ABIGAIL WAY
UNIT 3005
READING, MA 01867                                  P‐0007294 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLANO, MELISA
20 FURMAN AVENUE
SAYREVILLE, NJ 08872                               P‐0007295 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUMBAR, LEE A.
KEARNEY, CECILIA T.
453 MARIBELLA COURT
SAINT AUGUSTINE, FL 32086                          P‐0007296 10/28/2017    TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00
KOPERA, ROBERT J.
6234 VALLEY ROAD
BETHESDA, MD 20817                                 P‐0007297 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BURDEN, CHARLES O.
401 SHERMAN ST.
NOCONA, TX 76255                                    P‐0007298 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAUER, DOROTHY J.
9501 PORT DRIVE
SAINT LOUIS, MO 63123‐6529                          P‐0007299 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINKO, CLIFFORD H.
SINKO, CLIFFORD
1650 CEDARWOOD DR. #137
WESTLAKE, OH 44145                                  P‐0007300 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDEN, JANE E.
18 RIDGE ROAD
CHATHAM, NJ 07928                                   P‐0007301 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEPARDSON, JOHN L.
15 WILLIAMSBURG CT
SKILLMAN, NJ 08558                                  P‐0007302 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENOIR, HOLLY E.
351 SAULT ROAD
BRAINTREE, VT 05060                                 P‐0007303 10/28/2017    TK Holdings Inc., et al .                     $154.74                                                                                       $154.74
WELCH, WILLIAM O.
WELCH, HAESOON
10720 RIVER PLANTATION DRIVE
AUSTIN, TX 78747                                    P‐0007304 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, DEBBIE
729 7TH AVE APT R
COLUMBUS, GA 31901                                  P‐0007305 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TSAKOS, STEVEN
9507 ADELPHI RD.
SILVER SPRING, MD 20903                             P‐0007306 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZABINSKI, DONNA J.
7732 WILLIAMS STREET
DOWNERS GROVE, IL 60516                             P‐0007307 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRES, JOHN W.
TORRES, HANNE R.
18490 W. VERDIN ROAD
GOODYEAR, AZ 85338‐5080                             P‐0007308 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRITT, JAMES W.
9510 LA COSTA LANE
LONE TREE, CO 80124                                 P‐0007309 10/28/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
LASHER, REBECCA W.
2 HIGH BLUFF DRIVE
WEAVERVILLE, NC 28787                               P‐0007310 10/28/2017    TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
STANFIELD, BRIAN M.
HANNAH
4 WHISPERING OAKS DRIVE
WASHINGTON, MO 63090                                P‐0007311 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOONE, CHERYL A.
484 HARRISON WOODS COURT
CINCINNATI, OH 45244                                P‐0007312 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEPASS, ANDREW R.
FIELDS‐DEPASS, SONIA L.
6135 BARON HILL LN
SUGAR LAND, TX 77479‐5498                           P‐0007313 10/28/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
ASTANI, SEYE
1611 AINSLEY LANE
LOMBARD, IL 60148                                   P‐0007314 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
GRUSBY, ALVIN
184 PAULSON ROAD
WABAN, MA 02468                                     P‐0007315 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMLER, GREGORY P.
HAMLER, JACKI L.
303 GREENFIELD AVE
GLEN ELLYN, IL 60137‐5336                           P‐0007316 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANDRY, ROBERT A.
4045 READING DRIVE
PLANO, TX 75093                                     P‐0007317 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORDON, CARMEN
2220 AUSTIN LAKE DR
SMYRNA, GA 30082                                    P‐0007318 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRIS, VALERIE
FERRIS, GREGORY
9 WINGATE WAY
GREEN BROOK, NJ 08812                               P‐0007319 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VERDI, MARK
VERDI, GAYE
1140 E FT PIERCE DR N
UNIT 103
ST GEORGE, UT 84790                                 P‐0007320 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, JUSTIN R.
162 PINE GROVE DR
CANTON, GA 30114                                    P‐0007321 10/28/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
ALCANTAR CABRERA, MARISOL
3220 MICHIGAN AVE
DALLAS, TX 75216                                    P‐0007322 10/28/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
ALBERT, VIRGINIA A.
1634 DODSON DRIVE, SW
ATLANTA, GA 30322                                   P‐0007323 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, LISA L.
855 N LIBERTY ST
GALION, OH 44833                                    P‐0007324 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASTANI, SEYED
1611 AINSLEY LANE
LOMBARD, IL 60148                                   P‐0007325 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMES, URBAN W.
1351 BRANDYWYN LANE
BUFFALO GROVE, IL 60089                             P‐0007326 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANDRY, ROBERT A.
4045 READING DRIVE
PLANO, TX 75093                                     P‐0007327 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENTCOVER, MICHAEL
910 E CRABTREE
ARLINGTON HEIGHT, IL 60004                          P‐0007328 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHANNON, RICHARD J.
SHANNON, KAREN S.
422 S. WEST ST.
SANDWICH, IL 60548‐2048                             P‐0007329 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSEN, LAURA B.
3N890 EMILY DICKINSON LANE
CAMPTON HILLS, IL 60175                             P‐0007330 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GORDON, CARLA
2220 AUSTIN LAKE DR
SMYRNA, GA 30082
US                                                   P‐0007331 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEENSRUD, CARRIE
4544 PATRICK DRIVE NE
KENNESAW, GA                                         P‐0007332 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SISKA, THOMAS G.
SISKA, KRISTIN L.
4 BULLDOG LANE
MERCERVILLE, NJ 08619                                P‐0007333 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POOR, JONATHAN D.
35 SAMOSET RD
ORLEANS, MA 02653                                    P‐0007334 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASTANI, SEYED
NO ADDRESS PROVIDED
                                                     P‐0007335 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAZIANO, GABRIELE
156‐12 97TH. STREET
HOWARD BEACH, NY 11414                               P‐0007336 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSEN, CHRIS M.
3N890 EMILY DICKINSON LANE
CAMPTON HILLS, IL 60175                              P‐0007337 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARRY & AMY PEET TRUST
LARRY PEET
1175 S. BONNIE LANE
WATKINS, CO 80137                                    P‐0007338 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, KEN
P.O. BOX 202
GLENSIDE, PA 19038‐0202                              P‐0007339 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORSON, MICHAEL
1260 DOGWOOD LN.
CAROL STREAM, IL 60188                               P‐0007340 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMIREZ, CYNTHIA B.
1654 MCCAUSLAND DRIVE
HUDSON, OH 44236                                     P‐0007341 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIS, WILLIAM
720 N 23RD ST
EAST ST.LOUIS,, IL 62205                             P‐0007342 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUHN, LAWRENCE E.
718 PFINGSTEN RD
GLENVIEW, IL 60025                                   P‐0007343 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TSAKOS, STEVEN
9507 ADELPHI RD.
SILVER SPRING, MD 20903                              P‐0007344 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEANGELO, EDWARD J.
CONRAD, MIRIAM
219 POND AVENUE
BROOKLINE, MA 02445                                  P‐0007345 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALLEY, JEFFREY M.
158‐34 82 ST.
HOWARD BEACH, NY 11414                               P‐0007346 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAUGHN, JIMMY P.
3321 REFLECTING DRIVE
CHATTANOOGA, TN 37415                                P‐0007347 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LYONS, JOHN R.
5799 BASTILLE PLACE
COLUMBUS, OH 43213                                   P‐0007348 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENDERGAST, BRIAN F.
1122 S. WABENA AVE
MINOOKA, IL 60447                                    P‐0007349 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEET, LAWRENCE A.
1175 S BONNIE LN,
WATKINS, CO 80137                                    P‐0007350 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALPAIN, DONALD G.
HALPAIN, AMANDA S.
3931 MACAW RD
ROPESVILLE, TX 79358                                 P‐0007351 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAILEY, DAVID W.
77 HARMONY LOOP
SHERMAN, TX 75090                                    P‐0007352 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVARADO, NANNETTE
2222 DETROIT AVE SUITE 1105
CLEVELAND, OH 44113                                  P‐0007353 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERR, ROBERT D.
1038 LONGWOOD DRIVE
WOODSTOCK, GA 30189                                  P‐0007354 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMIREZ, CYNTHIA B.
1654 MCCAUSLAND DRIVE
HUDSON, OH 44236                                     P‐0007355 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALLEY, JEFFREY M.
158‐34 82 ST.
HOWARD BEACH, NY 11414                               P‐0007356 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRICK, ALAN E.
BARRICK, JOANN E.
7315 BROOKVIEW ROAD
UNIT 201
ELKRIDGE, MD 21075                                   P‐0007357 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILORENZO, STEVEN L.
57 MONROE AVENUE
RIVERSIDE, RI 02915                                  P‐0007358 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, PATRICK M.
ORTIZ, BELEN
1544 S. COLEMAN COURT
BLOOMINGTON, IN 47401                                P‐0007359 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACY, BEVERLEY C.
LACY, ALFRED J.
3924 WYTHE AVE
RICHMOND, VA                                         P‐0007360 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIARS, MARGOT
MARGOT BRIARS TRUST
322 S CRESCENT AVE
PARK RIDGE, IL 60068                                 P‐0007361 10/28/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
ROOS, RAAL H.
5224 TERRACE VIEW LANE
PLANO, TX 75093                                      P‐0007362 10/28/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MCDONALD, BERNARD M.
10 HENRY STREET
SHARON, MA 02067                                     P‐0007363 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
DAVIS, MARK B.
DAVIS, LINDA M.
4420 HORNET DRIVE
PRESCOTT, AZ 86301                                  P‐0007364 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULDER, BRAD D.
MULDER, DIANA L.
4737 BRIARGLEN LANE
HIGHLANDS RANCH, CO 80130                           P‐0007365 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARLOW, MATTHEW A.
10900 OLD COACH RD
POTOMAC, MD 20854                                   P‐0007366 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARD, BRUCE L.
4314 BLUFFVIEW DRIVE
SACHSE, TX 75048                                    P‐0007367 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMIREZ, CYNTHIA B.
1654 MCCAUSLAND DRIVE
HUDSON, OH 44236                                    P‐0007368 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUO, TIANCI
LIU, LINDA N.
7229 PRESERVATION COURT
FULTON, MD 20759                                    P‐0007369 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIZZARRO, NICHOLAS
MIRACLE TRANSPORTATION SERVIC
4313 HOLLYWOOD BLVD #201
HOLLYWOOD, FL 33021                                 P‐0007370 10/28/2017    TK Holdings Inc., et al .                   $11,500.00                                                                                   $11,500.00
GRASSI, ANTHONY M.
2728 NORTHMOOR DRIVE
NAPERVILLE, IL 60564                                P‐0007371 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITESELL, GEOFFREY
120 LADD ROAD
WESTFIELD, PA 16950                                 P‐0007372 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, DOUGLAS A.
7573 E. PHANTOM WAY
SCOTTSDALE, AZ 85255
                                                    P‐0007373 10/28/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
RAMIREZ, CYNTHIA B.
1654 MCCAUSLAND DRIVE
HUDSON, OH 44236                                    P‐0007374 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, STEVE
LASTING LEGACY PERSONAL TRUST
5308 HILLSHIRE WAY
GLEN ALLEN, VA 23059                                P‐0007375 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, MELISSA A.
4114 FOX CROSSING DRIVE
FLORISSANT, MO 63034                                P‐0007376 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KULIKOWSKI, JAMES J.
0S662 FOREST STREET
WINFIELD, IL 60190‐1540                             P‐0007377 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAULDIN, BETTY L.
11922 MOORCREEK DRIVE
HOUSTON, TX 77070                                   P‐0007378 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALLARD, MICHAEL S.
2101 CYPRESS DRIVE
BEL AIR, MD 21015                                   P‐0007379 10/28/2017    TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TROWELL, HETLEY
207 SAINT JAMES AVE
PHILLIPSBURG, NJ 08865                                P‐0007380 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KULIKOWSKI, JAMES J.
0S662 FOREST STREET
WINFIELD, IL 60190‐1540                               P‐0007381 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, NANCY V.
235 WOODS RD
GREER, SC 29650                                       P‐0007382 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARDNER, DANA
11 DORIS AVE
TIVERTON, RI 02878                                    P‐0007383 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAGNALL, LISA W.
4505 TYNE DR.
DURHAM, NC 27703                                      P‐0007384 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERREAULT, STEPHEN J.
84 RIDGE RD
SMITHFIELD, RI 02917                                  P‐0007385 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLK, BETTY J.
5074 AUTUMN TRAIL
GROVETOWN, GA 30813                                   P‐0007386 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLENSKI, RONALD J.
GOLENSKI, VIRGINIA L.
350 WARNCKE RD
LA VERNIA, TX 78121                                   P‐0007387 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DALE III, WILLIAM J.
5074 AUTUMN TRAIL
GROVETOWN, GA 30813                                   P‐0007388 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANEY, JEANNETTE M.
CHANEY, RAYMOND C.
20449 SUSSEX HWY.
BRIDGEVILLE, DE 19933                                 P‐0007389 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOLPE, NIDIA
3002 MILTON CT.
LAREDO, TX 78041                                      P‐0007390 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAFRANCE, LINDA J.
7912 N LINKS CIRCLE
FOX POINT, WI 53217                                   P‐0007391 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA, EDWIN
127 LOGAN CREEK LANE
HAYEVILLE, NC 28904                                   P‐0007392 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KASTON, RHEA
38 SEVEN OAKS CIRCLE
HOLMDEL, NJ 07733                                     P‐0007393 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DALE III, WILLIAM J.
DALE, LISA G.
5074 AUTUMN TRAIL
GROVETOWN, GA 30813                                   P‐0007394 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EMPIE‐IOZZO, SUSAN
SUSAN EMPIE‐IOZZO
4 RIVERDALE DRIVE
CROMWELL, CT 06416                                    P‐0007395 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KASTON, RHEA
38 SEVEN OAKS CIRCLE
HOLMDEL, NJ 07733                                     P‐0007396 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BERLER, BARRY BORIS B.
1291 METTLER RD
HUNTINGDON VALLE, PA 19006                          P‐0007397 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DALE III, WILLIAM J.
DALE, LISA G.
5074 AUTUMN TRAIL
GROVETOWN, GA 30813                                 P‐0007398 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MESSERSMITH, GIL L.
MESSERSMITH, SUNNIE G.
176463 NORTH 2880 ROAD
DUNCAN, OK 73533                                    P‐0007399 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, YAN QING
102‐06 62ND AVE
FOREST HILLS, NY 11375                              P‐0007400 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REISFIELD, EUGENE S.
9077 WINTER SPRING DRIVE
MECHANICSVILLE, VA 23116‐2826                       P‐0007401 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JANZEKOVICH, KENNETH M.
757 MARVEL STREET
SWANSEA, MA 02777                                   P‐0007402 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, OZELLA N.
WILLIAMS, TIMOTHY D.
2615 ROCKBRIDGE RD
CONYERS, GA 30012                                   P‐0007403 10/28/2017    TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
MILES, PAMELA C.
50 OAKLAND DRIVE WEST
RIVERHEAD, NY 11901                                 P‐0007404 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RHODES, TIMOTHY L.
RHODES, ANGELINE C.
1131 JAMES WAY
KISSIMMEE, FL 34759                                 P‐0007405 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRISON, RITA P.
MORRISON, RITA
37 DUNBARTON CENTER ROAD
BOW, NH 03304                                       P‐0007406 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DVORAK, LAURA
8811 PLAINFIELD ROAD 1
BROOKFIELD, IL 60513                                P‐0007407 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCMULLEN, STEVEN W.
690 APALACHEE CIRCLE NE
ST. PETERSBURG, FL 33702                            P‐0007408 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTHER, KURT A.
11146 TURFGRASS WAY
INDIANAPOLIS, IN 46236                              P‐0007409 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES/ BURRUSS, TAMMY P.
434 COLVIN AVE
APT 2
BUFFALO, NY 14216                                   P‐0007410 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WYCHE, RACHEL R.
3212 HERSCHEL #4
JACKSONVILLE, FL 32205                              P‐0007411 10/28/2017    TK Holdings Inc., et al .                     $700.00                                                                                       $700.00
RIVERA, CLAUDE
RIVERA, CLAUDE
FORT WORTH, TEXAS                                   P‐0007412 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CHENG, PETER
33 CLOVER ST
TENAFLY, NJ 07670                                    P‐0007413 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEUMAN, JOYCE
44 THEODORE DRIVE
CORAM, NY 11727                                      P‐0007414 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAMER, DALE W.
403 KELLY CT
CLAREMORE, OK 74017‐6733                             P‐0007415 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROJAS‐PEREZ, PATRICIA N.
3000 BENNETT LANE APT. 103
MELBOURNE, FL 32935‐2295                             P‐0007416 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIELSON, JAMIE
12 LEA PLACE
ROCKAWAY, NJ 07866                                   P‐0007417 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSTROSKI, MICHAEL J.
3440 JOHN F KENNEDY DRIVE
UPLAND, PA 19015                                     P‐0007418 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOHRS, JAMES W.
5320 JOHNS VIEW STREET
JOHNS CREEK, GA 30005                                P‐0007419 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURO, DONNA K.
66 KINGSTON AVENUE
PORT JERVIS, NY 12771                                P‐0007420 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, GREGORY K.
BELL, TWILA M.
11343 HIGH TIMBER DRIVE
INDIANAPOLIS, IN 46235                               P‐0007421 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYER, ROBERT J.
315 EASTERN ST.
#D1118
NEW HAVEN, CT 06513                                  P‐0007422 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDAN, KIMBERLY A.
29810 LEGENDS RIDGE DRIVE
SPRING, TX 77386                                     P‐0007423 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRIVAS, NICOLAOS A.
DRIVAS, ANITA F.
7 BRUCE CIRCLE NORTH
HAWTHORN WOODS, IL 60047                             P‐0007424 10/28/2017    TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
WALLACE, JAMES W.
P.O. BOX 542
COLUMBIA, LA 71418                                   P‐0007425 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHILDS, LYNDA M.
RICHMOND, ZACHARY J.
4853 BUTTERCUP WAY
SUMMERVILLE, SC 29485                                P‐0007426 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRINDLE, GARI N.
BRINDLE, PETER A.
5022 46TH ST W
BRADENTON, FL 34210                                  P‐0007427 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOSWELL‐WILLIAMS, TERESA E.
WILLIAMS II, JAMES I.
137 PARKVIEW DRIVE
AMARILLO, TX 79106‐5320                              P‐0007428 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ZHANG, JIN LEI
2107 ROSE FAMILY DR
MIDLOTHIAN, VA 23112                                 P‐0007429 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY, DONALD E.
17736 MILLERS SAWMILL RD
SHARPSBURG, MD 21782                                 P‐0007430 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMEZ, ALEJANDRA M.
SANCHEZ GOMEZ, LUIS F.
1410 ILLINOIS AVENUE
BAY SHORE, NY 11706                                  P‐0007431 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCAFFERY, GREGORY C.
11705 BECKET STREET
POTOMAC, MD 20854                                    P‐0007432 10/28/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
PEREZ, JORGE L.
10343 ROSEMOUNT DRIVE
TAMPA, FL 33624                                      P‐0007433 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, TAYNIA M.
CRB
700 WILLOW DR
LONGVIEW, TX 75602                                   P‐0007434 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, JIN HUA
2107 ROSE FAMILY DR
MIDLOTHIAN, VA 23112                                 P‐0007435 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, TWILA M.
BELL, GREGORY K.
11343 HIGH TIMBER DRIVE
INDIANAPOLIS, IN 46235                               P‐0007436 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COSTA, AGNALDO L.
109 COBBLESTONE LN
GLOUCESTER, MA 01930                                 P‐0007437 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIVINGSTON, AMBER A.
LIVINGSTON, KRISTOFER L.
4415 W 625 S
WEST POINT, UT 84015                                 P‐0007438 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELDE, SHARI
1140 ONTARIO ST
OAK PARK, IL 60302                                   P‐0007439 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEONG, EDWARD
1956 W. DEVONSHIRE ST.
MESA, AZ 85201                                       P‐0007440 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENNINGS, FREDERICK G.
921 BOLLING AVE.
NORFOLK, VA 23508                                    P‐0007441 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBB, MORRISON D.
48 RIDGE ROAD
PORTLAND, ME 04103                                   P‐0007442 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WADSWORTH, ALAN L.
14484 CO RD 116
MERRIFIELD, MN 56465                                 P‐0007443 10/28/2017    TK Holdings Inc., et al .                    $4,500.00                                                                                    $4,500.00
WILLIAMS II, JAMES I.
BOSWELL‐WILLIAMS, TERESA E.
137 PARKVIEW DRIVE
AMARILLO, TX 79106‐5320                              P‐0007444 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BENDURE, PHYLLIS J.
PDQ CLEANING SERVICES, INC
P O BOX 49
1433 LULU ST.
TRENTON, MO 64683                                   P‐0007445 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECK, JOSHUA J.
1704 E. SUNSET DRIVE
WAUKESHA, WI 53189                                  P‐0007446 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRITT, JAMES W.
9510 LA COSTA LANE
LONE TREE, CO 80124                                 P‐0007447 10/28/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
CHILDS, LYNDA M.
RICHMOND, ZACHARY J.
4853 BUTTERCUP WAY
SUMMERVILLE, SC 29485                               P‐0007448 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCALMON, NORMAN W.
MCCALMON, DEBBIE L.
319 BARTON STREET
ROYSE CITY, TX 75189                                P‐0007449 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAMER, FRANK H.
6032 TRAILCREEK AVE
PORTAGE, IN 46368                                   P‐0007450 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOKE, DONALD L.
4867 E EDEN DR
CAVE CREEK, AZ 85331                                P‐0007451 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEMAN, BRIAN A.
22593 BRIAN CT
RICHTON PARK, IL 60471                              P‐0007452 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRICKLEY, ALLYSON
2180 E. BORG COURT
SANDY, UT 84092                                     P‐0007453 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRITT, JAMES W.
BRITT, MICHAEL W.
9510 LA COSTA LANE
LONE TREE, CO 80124                                 P‐0007454 10/28/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
EHLERS, THOMAS
100 LAURA LN
THORNTON, IL 60476‐1034                             P‐0007455 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNARD, JO ANN
BARNARD, JERRY W.
13102 PEACH MEADOW DRIVE
CYPRESS, TX 77429                                   P‐0007456 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHRIEBER, BRUCE E.
2402 LAUREL WALK CT
KATY, TX 77494                                      P‐0007457 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOHN, ADRIAN
73 CASTLE ROAD
NAHANT, MA 01908                                    P‐0007458 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THORPE, E. GREGORY
4455 SUMMERVIEW CIR
BOUNTIFUL, UT 84010‐5993                            P‐0007459 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POST, DIANNE L.
1826 E WILLETTA ST
PHOENIX, AZ 85006                                   P‐0007460 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
STEPHENSON, JOHN C.
446 LINCOLN AVE
WYCKOFF, NJ 07481                                    P‐0007461 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRITT, JAMES W.
9510 LA COSTA LANE
LONE TREE, CO 80124                                  P‐0007462 10/28/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
WIESENHART, THOMAS J.
NO ADDRESS PROVIDED
                                                     P‐0007463 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GURR, FREDDY R.
GURR, JANIS F.
52 FORREST PLACE
ATLANTA, GA 30328                                    P‐0007464 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRITT, JAMES W.
9510 LA COSTA LANE
LONE TREE, CO 80124                                  P‐0007465 10/28/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BECK, JOSHUA J.
1704 E. SUNSET DRIVE
WAUKESHA, WI 53189                                   P‐0007466 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUCHSCHERER, ROBIN G.
11 E. SEPARATION CANYON TR.
FLAGSTAFF, AZ 86005                                  P‐0007467 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSADO, MAYRA
2222 DETROIT AVE SUITE 1105
CLEVELAND, OH 44113                                  P‐0007468 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VIGLIOTTI, RICHARD M.
53 GENERAL STANTON LN
CHARLESTOWN, RI 02813                                P‐0007469 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAN, BENJAMIN M.
21 AMETHYST LANE
PATERSON, NJ 07501‐3366                              P‐0007470 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BINKLEY, SUSAN K.
BINKLEY, STEVE
114 CHERRY GROVE CIRCLE
PRESCOTT, AZ 86303                                   P‐0007471 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACINNIS, RANDALL W.
MACINNIS, RITA A.
2193 MILLENNIUM WAY NE
BROOKHAVEN, GA 30319                                 P‐0007472 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLUCK, RICHARD P.
5 BABSON STREET
GLOUCESTER, MA 01930                                 P‐0007473 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNGER, CARL F.
7 YERXA RD
CAMBRIDGE, MA 02140                                  P‐0007474 10/28/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
BRISTOL, DONALD A.
8204 W KNIGHTSBRIDGE DR
MEQUON, WI 53097                                     P‐0007475 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERT, MELISSA
210 S CLINTON AVE
MAPLE SHADE, NJ 08052                                P‐0007476 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANDEVENTER, DOUG E.
123 WEBB HOLLOW LOOP
ELIZABETHTON, TN 37643                               P‐0007477 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MAXEY, WILLIAM R.
11731 BAY CEDAR DR
HOUSTON, TX 77048/2537                              P‐0007478 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBS, ALLISON M.
410 BLEDSOE AVE
RALEIGH, NC 27601                                   P‐0007479 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORES, NOLAN C.
FERRER, JULIE F.
748 HAMILTON WAY
BATAVIA, IL 60510‐7708                              P‐0007480 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWENZFEGER, KARL S.
7973 S.SCHWENZFEGER
LITTLETON, CO 80128                                 P‐0007481 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENSLEY, DAVID C.
2660 OAK GROVE
MCGAHEYSVILLE, VA 22840                             P‐0007482 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENCIA‐TOUCHET, MARYALICE
945 MCKINNEY
#378
HOUSTON, TX 77002                                   P‐0007483 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DARKO, OSEI O.
64 LINCOLN RD APT 2F
BROOKLYN, NY 11225                                  P‐0007484 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EBERHART, BONITA D.
246 HORACE ELNUT CIR
NICHOLSON, GA 30565                                 P‐0007485 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SABATINO, LAURA R.
12436 VANCE JACKSON RD. #837
SAN ANTONIO, TX 78230                               P‐0007486 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE IV, EDWARD B.
1111 POPLAR GROVE CT
MOUNT AIRY, MD 21771                                P‐0007487 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STROBEL, RICHARD C.
4 EASTON LN
CINNAMINSON, NJ 08077                               P‐0007488 10/28/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
COAKLEY, RITA M.
COAKLEY, LEO J.
27 KENTWOOD RD
SUCCASUNNA, NJ 07886                                P‐0007489 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, KARLA M.
5603 SOLTIS DRIVE
CLAIRTON, PA 15025                                  P‐0007490 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAUGHN, RONALD E.
2731 NE 14 STREET
APT.518A
POMPANO BEACH, FL 33062                             P‐0007491 10/28/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
MAXEY, WILLIAM R.
11731 BAY CEDAR DR
HOUSTON, TX 77048/2537                              P‐0007492 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PULLIAM, GREGORY D.
1715 HWY. 52 EAST
CHATSWORTH, GA 30705                                P‐0007493 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONSON, TROY R.
DONSON, CECILY A.
1170 GAULT WAY
SPARKS, NV 89431                                    P‐0007494 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
PISTELLA, ROBERT J.
PISTELLA, ROSEANN A.
40 GALLANT FOX RD
TINTON FALLS, NJ 07724                               P‐0007495 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARUKI, RITA T.
7300 E MESA DRIVE
CORNVILLE, AZ 86325                                  P‐0007496 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOCOM, JUDITH L.
3134 FM 726 N
GILMER, TX 75645                                     P‐0007497 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, DAVID M.
8805 LANIER DR
SILVER SPRING, MD 20910                              P‐0007498 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERENDA, LAUREN
8 TULIP DRIVE
3N
FORDS, NJ 08863                                      P‐0007499 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTTER, CHEYENNE
27 COGGESHALL STREET
PROVIDENCE, RI 02908                                 P‐0007500 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAVER, JESSICA S.
BEAVER, DONALD G.
10659 CRYSTAL FALLS DRIVE
HAGERSTOWN, MD 21742                                 P‐0007501 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, AUDREY
40719 N COURAGE TRL.
ANTHEM, AZ 85086                                     P‐0007502 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EISNER, MATTHEW S.
436A COOLIDGE AVENUE
ORTLEY BEACH, NJ 08751                               P‐0007503 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAHALL, RODNEY E.
138 BIRCH AVE
WILMINGTON, DE 19805                                 P‐0007504 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OMALLEY, MARYA L.
MATALUCCI, RUDOLPH V.
10612 PRESTWICK NE
ALBUQUERQUE, NM 87111                                P‐0007505 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARANO, TONY F.
MARANO, LISA
12730 SAILPOINTE LANE
KNOXVILLE, TN 37922                                  P‐0007506 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEFILIPPIS, JOSEPH N.
DEFILIPPIS, JUNE E.
164 BLACKBURN ST.
GALLOWAY, NJ 08205                                   P‐0007507 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANNI, LISA K.
7392 SAINT IVES PLACE
WEST CHESTER, OH 45069                               P‐0007508 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANAUSDAL, EMILY S.
216 VIRGINIA ST.
CRESTVIEW, FL 32539                                  P‐0007509 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURBERVILLE, SANDRA C.
SANDRA CRAIG TURBERVILLE
123 AUTUMN RUN PLACE
VILLA RICA, GA 30180                                 P‐0007510 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GILLICK, ROBERT W.
590 WEST FOREST TRAIL
VERO BEACH, FL 329625                                P‐0007511 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, MELISSA
719 E WALNUT ST
LANCASTER, PA 17602                                  P‐0007512 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESTES, ROBERT L.
ESTES, LAURA J.
119 SUMMER BREEZE ROAD
PANAMA CITY BEAC, FL 32413                           P‐0007513 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TULADHAR, RABI M.
22 S ELM ST
HICKSVILLE, NY 11801                                 P‐0007514 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRACON, CYNTHIA
34 PARKWAY
FAIRFIELD, CT 06824                                  P‐0007515 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, STANLEY S.
GREEN, JAANICE A.
8 IRIS COURT
ROCKVILLE, MARYLAND 20853
                                                     P‐0007516 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMLIN, CHRIS
TOMLIN, JESSICA
4 CARDINAL LANE
SICKLERVILLE, NJ 08081                               P‐0007517 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EISNER, MATTHEW S.
436A COOLIDGE AVENUE
ORTLEY BEACH, NJ 08751                               P‐0007518 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COPELAND, JAMES K.
JAMES COPELAND
1581 WYNGATE DR
DELAND, FL 32724                                     P‐0007519 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, JAMES E.
32 ALPINE CT
VOORHEES, NJ 08043                                   P‐0007520 10/28/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BROHAWN, MICHAEL T.
BROHAWN, MARGARET W.
2105 WESMINSTER COURT
GREENVILLE, NC 27834                                 P‐0007521 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDREULAPORTO, LISA
317 EAST PACIFIC AVENUE
CAPE MAY CH, NJ 08210                                P‐0007522 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, JOHN A.
125 TIBET AVE
APT 107G
SAVANNAH, GA 31406                                   P‐0007523 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IRVING, GWENDOLYN
IRVING, GWENDOLYN
6801 W 19TH
LOT 235
LUBBOCK, TX 79407                                    P‐0007524 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRAGAS, NEDA
STANOJEVIC, NEDA
1606 ROBIN LANE
GLENVIEW, IL 60025                                   P‐0007525 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
TULADHAR, RABI M.
22 S ELM ST
HICKSVILLE, NY 11801                                P‐0007526 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, JOHN A.
125 TIBET AVE
APT 107G
SAVANNAH, GA 31406                                  P‐0007527 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVIA, STEPHEN J.
PAXTON, JENNIFER A.
7801 LEESBURG DRIVE
BETHESDA, MD 20817                                  P‐0007528 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURROUGHS, STEVEN M.
7920 SW 47 COURT
GAINESVILLE, FL 32608                               P‐0007529 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, RICKY A.
400 RICHTER LANE
YORKTOWN, VA 23693                                  P‐0007530 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEIT, MARCIA R.
416 WILLOW WEALD PATH
CHESTERFIELD, MO 63005                              P‐0007531 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, MICHAEL L.
HALE, JULIE R.
776 W. VILLAGE PARKWAY
LITCHFIELD PARK, AZ 85340                           P‐0007532 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRNE, JAMES A.
21 GOODWIN PKWY
SEWELL, NJ 08080                                    P‐0007533 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUEBBEMANN, DAVID J.
1202 THOROUGHBRED CIRCLE
SAINT CHARLES, IL 60174                             P‐0007534 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UTAKIS, KARL
9740 E PERSHING AVE
SCOTTSDALE, AZ 85260                                P‐0007535 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARREN, CHARLES R.
7413 STRAWHORN DR.
MECHANICSVILLE, VA 23116                            P‐0007536 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, JR, JOHN R.
14610 FOREST VIEW DRIVE SW
CUMBERLAND, MD 21502                                P‐0007537 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEIT, STEVEN E.
416 WILLOW WEALD PATH
CHESTERFIELD, MO 63005                              P‐0007538 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, GUO
1725 ORRINGTON AVE
EVANSTON, IL 60201                                  P‐0007539 10/28/2017    TK Holdings Inc., et al .                    $4,500.00                                                                                    $4,500.00
SILVIA, STEPHEN J.
PAXTON, JENNIFER A.
7801 LEESBURG DRIVE
BETHESDA, MD 20817                                  P‐0007540 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUEBBEMANN, DAVID J.
1202 THOROUGHBRED CIRCLE
SAINT CHARLES, IL 60174                             P‐0007541 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHERRITZE, SYLVIA
545 SALEM AVE
APT A
WOODBURY, NJ 08096                                  P‐0007542 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
DEVRIES, RICHARD A.
7912 N LINKS CIRCLE
FOX POINT, WI 53217                                  P‐0007543 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCRYSTAL, HEATHER L.
58 SPRING ST.
NORTH ATTLEBORO, MA 02760                            P‐0007544 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUEBBEMANN, DAVID J.
1202 THOROUGHBRED CIRCLE
SAINT CHARLES, IL 60174                              P‐0007545 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANDERS, TIMOTHY
4802 W. HADLOCK ST.
BOISE, ID 83703                                      P‐0007546 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOYLE, JANET P.
231 S PECK AVE
LA GRANGE, IL 60525‐2170                             P‐0007547 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, RICKY A.
400 RICHTER LANE
YORKTOWN, VA 23693                                   P‐0007548 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORES, NOLAN C.
FERRER, JULIE F.
748 HAMILTON WAY
BATAVIA, IL 60510‐7708                               P‐0007549 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'REILLY, TIMOTHY K.
253 BASKERVILLE COURT
SEVERNA PARK, MD 21146                               P‐0007550 10/28/2017    TK Holdings Inc., et al .                     $100.00                                                                                       $100.00
LUCIA, PAUL A.
LUCIA, DONNA E.
175 WILLOW PARKWAY
BUFFALO GROVE, IL 60089‐4637                         P‐0007551 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUSTAFA, SHAMAEL
3162 SUMMIT RIDGE TER
CHICO, CA 95928                                      P‐0007552 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ISSA, KAREN
1524 8TH AVE SE
CEDAR RAPIDS, IA 52403                               P‐0007553 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HASKINS‐KELLY, VICTORIA
117 ANELVE AVENUE
NEPTUNE, NJ 07753                                    P‐0007554 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZOELLER, DEBRA L.
11156 TOWERING PINES DR.
SAINT LOUIS, MO 63136                                P‐0007555 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMCZAK, GREGORY
4231 SO 89 ST
GREENFIELD, WI 53228‐2211                            P‐0007556 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRETT, ALFRED
202 SWEETGALE CT
#202
ANCHORAGE, AK 99518                                  P‐0007557 10/28/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
RAINEY, QUINTON D.
3210 ROANOKE AVE
NEWPORT NEWS, VA 23607                               P‐0007558 10/28/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MUSTAFA, SHAMAEL
3162 SUMMIT RIDGE TER
CHICO, CA 95928                                      P‐0007559 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
STOECKEL, MICHAEL B.
290 EAST HIGHLAND AVE
ATLANTIC HIGHLAN, NJ 07716                           P‐0007560 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTH, PAUL J.
HARTH, BEATRIZ C.
700 DEAN DRIVE
SOUTH ELGIN, IL 60177                                P‐0007561 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSH, RAYMOND E.
25188 MARION AVE
APT E102
PUNTA GORDA, FL 33950                                P‐0007562 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'NEILL, JOHN
21 DUBLIN LANE
HAZLET, NJ 07730                                     P‐0007563 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOBELT, SHARON E.
LIEVENSE, JAN
26 ANCIENT OAK CT. N.E.
MARIETTA, GA 30067                                   P‐0007564 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, RONALD E.
61 CLOVERDALE AVE
SHELTON, CT 06484                                    P‐0007565 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYES, ETHEL J.
HAYES, ROBERT S.
41 OLD SELLERS WAY
RICHMOND, VA 23227                                   P‐0007566 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KASE, KARLA D.
112 CRESTVIEW TERRACE, APT. 2
BRIDGEPORT, WV 26330                                 P‐0007567 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAY, EUGENE
4427 HWY 17 N
WRENS, GA 30833                                      P‐0007568 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, OSCAR
3912 W. HACKBERRY AVE.
MCALLEN, TX 78501                                    P‐0007569 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLAR, DAWN E.
338 CHERRY LANE
SEVEN HILLS, OH 44131                                P‐0007570 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, CHAUNCEY R.
244 POWELTON AVE
WOODLYNNE, NJ 08107                                  P‐0007571 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAKAO, STEVEN D.
704 PLEASANT DRIVE
MILLVILLE, NJ 08332‐4524                             P‐0007572 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, CYNTHIA S.
PETERSON, ANTHONY C.
880 W AZURE DRIVE
CAMP VERDE, AZ 86322                                 P‐0007573 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, WEI
5111 CONGRESSIONAL CIR
D2
LAWRENCE, KS 66049                                   P‐0007574 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACKWOOD‐CLUFF, TANNYA
10800 W SMOKE RANCH DR
BOISE, ID 83709                                      P‐0007575 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
JORDAN, RAYMOND
5302 TESSA WAY
COLUMBIA, MO 65203                                   P‐0007576 10/28/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
CHRISTENSEN, DONALD J.
295 LYNN SHORE DRIVE
APT 705
LYNN, MA 01902                                       P‐0007577 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHINKER, MICHELLE M.
2562 HOARD ST
#1
MADISON, WI 53704                                    P‐0007578 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKEE, DIANA
6 DAVID DRIVE
PELHAM, NH 03076                                     P‐0007579 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAY, DAVID L.
83 FLEMINGWOOD LANE
PALM COAST, FL 32137                                 P‐0007580 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUNCK, DAVID
16602 W 48TH LANE
GOLDEN, CO 80403                                     P‐0007581 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSH, CHRISTINA
2828 OVERLAND AVENUE
APT 2
BALTIMORE, MD 21214                                  P‐0007582 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY, ROBERT
110 LEE AVENUE
GREAT NECK, NY 11021                                 P‐0007583 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEDDEN, VIRGINIA A.
31 NILAND LANE
DEPTFORD, NJ 08096                                   P‐0007584 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAFA, DARYA M.
P.O. BOX 2180
KEYSTONE HEIGHTS, FL 32656                           P‐0007585 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FROHMAN, JENNIFER D.
8318 PLUM CREEK DR
GAITHERSBURG, MD 20882                               P‐0007586 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMIN, MOHAMED
756 207TH ST
PASADENA, MD 21122                                   P‐0007587 10/28/2017    TK Holdings Inc., et al .                    $8,900.00                                                                                    $8,900.00
GIACALONE, RICHARD
GIACALONE, DEBRA
1303 W. WHITE OAK STREET
ARLINGTON HEIGHT, IL 60005                           P‐0007588 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNK, BARRY S.
11 CREST DRIVE
ENGLISHTOWN, NJ 07726                                P‐0007589 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROKER, WILLIAM K.
1. E. 45TH STREET
SAVANNAH, GA 31405                                   P‐0007590 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORODKIN, ROSALIND
13‐18 PLAZA ROAD
FAIR LAWN, NJ 07410                                  P‐0007591 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIEHR, KENNETH
SIEHR, SHANNON
W362 N7437 N SHORE DR
OCONOMOWOC, WI 53066                                 P‐0007592 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MATAKOVICH, MARIA
1877 LUNA ALEGRE ST
KAS VEGAS, NV 89115                                 P‐0007593 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENWALD, LORI
14 DENISE LANE
FLETCHER, NC 28732                                  P‐0007594 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIPTON PARKER, LOIS
414 GREERNWOOD DR
WILMINGTON, DE 19808                                P‐0007595 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, XIAOCHUN
10745 FOLKESTONE WAY
WOODSTOCK, MD 21163                                 P‐0007596 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKILES, KERRI A.
SKILES, MICHAEL T.
9 RUTH DRIVE
OLD SAYBROOK, CT 06475‐2219                         P‐0007597 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUGGEMAN, JEROME V.
BRUGGEMAN, MARGARET A.
600 E ALDER LN
SIOUX FALLS, SD 57105                               P‐0007598 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LECLAIR, RONALD C.
311 PRESENTEER TRL
APEX, NC 27539‐6529                                 P‐0007599 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAUDLE, SHERRY H.
8703 HWY 17 BYP SOUTH
M‐26
SURFSIDE BEACH, SC 29575                            P‐0007600 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWNFIELD, VERNI D.
7315 NEW HOPE ROAD
CENTERTOWN, MO 65023‐3019                           P‐0007601 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOKELKE, RICH L.
2165 WILLOW SHORES CT
EAST TROY, WI 53120                                 P‐0007602 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLCLEASURE, JOHN A.
5902 WILDWIND DR
WINDCREST, TX 78239                                 P‐0007603 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDOUGAL, KERRI E.
44 PEACHTREE PL NW UNIT 1934
ATLANTA, GA 30309                                   P‐0007604 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, DAVID S.
3422 BARLOW ST
COTTLEVILLE, MO 63376                               P‐0007605 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, REGINA R.
125 TURTLE RIDGE DRIVE
NEW MARKET, AL 35761                                P‐0007606 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, KIM J.
HILL, JR., FREDERICK S.
1486 GRANDVIEW COURT
ARNOLD, MD 21012                                    P‐0007607 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMES, NEIL C.
874 PINE HILL DRIVE
NEW BEDFORD, MA 02745                               P‐0007608 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                  Current General                                         Current 503(b)(9)
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MCFARLAND, CAROLE D.
MCFARLAND, PATRICK H.
CAROLE D. MCFARLAND
2315 TRAILS END CT.
SENECA, SC 29672‐9129                               P‐0007609 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANDAM, MARVIN
543 OLENTANGY STREET
COLUMBUS, OH 43202                                  P‐0007610 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOX, GEORGIANN C.
4001 S WESTSHORE BLVD
#703
TAMPA, FL 33611                                     P‐0007611 10/28/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
TOMLINSON, ROBERT T.
10270 TUSCANY DRIVE
LAS CRUCES, NM 88007‐8927                           P‐0007612 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONG, MICHAEL M.
495 MADISON AVE. APT. 2B
CALUMET CITY, IL 60409                              P‐0007613 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, DAVID W.
5520 ULENA AVENUE
ST. LOUIS, MO 63116                                 P‐0007614 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHA, HO KWANG
1262 EUCLID AVE SE
CLEVELAND, TN 37311                                 P‐0007615 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRAGALE, ROBERT J.
700 WATERBIRD LANE
MIDDLETOWN, DE 19709                                P‐0007616 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEAR, CYNTHIA H.
1644 HUGUENOT TRAIL
POWHATAN, VA 23139                                  P‐0007617 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, TERRY D.
ANDERSON, MARY M.
6351 PORTOFINO COURT
ROCKFORD, IL 61107‐2714
                                                    P‐0007618 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, DAVID S.
CLARK, KELLY P.
3422 BARLOW ST
COTTLEVILLE, MO 63376                               P‐0007619 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASPERSON, APRIL
CASPERSON, ZACHARY
5546 SHAGBARK PLACE
GROVEPORT, OH 43125                                 P‐0007620 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
D'NICUOLA, JEFFREY
D'NICUOLA, DELLA
19155 E BELLEVIEW PL
CENTENNIAL, CO 80015                                P‐0007621 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROFT, REGINA S.
1820 JEFFERSON RD
SPRING GROVE, PA 17362                              P‐0007622 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSGOOD, SUSAN G.
305 ODOM ST
CUMBY, TX 75433                                     P‐0007623 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                   Current General                                         Current 503(b)(9)
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
RENFRO, TODD
RENFRO, SHELLEY
22628 W ADAMS DR
BUCKEYE, AZ 85326                                    P‐0007624 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOX, GEORGIANN C.
4001 S. WESTSHORE BLVD.
#703
TAMPA, FL 33611                                      P‐0007625 10/28/2017    TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
STANLEY, WINSTON W.
WINSTON STANLEY
120 NORMAS WAY
HIRAM, GA 30141‐4633                                 P‐0007626 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, HERMAN O.
203 COLLEGE DRIVE
EDISON, NJ 08817                                     P‐0007627 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, TYREETA
ZUBECK CONSTRUCTION
3315 MONTMARTE AVE
HAZEL CREST, IL 60429                                P‐0007628 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHER, DONNA J.
23 HOLIDAY ROAD
HOLBROOK, MA 02343                                   P‐0007629 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, JULIE J.
5936 SHILOH CHURCH ROAD
BAILEY, NC 27807                                     P‐0007630 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOCK, JUDITH E.
BRINLEY, GLENN E.
2003 WYNFIELD DRIVE
COLUMBIA, MO 65203                                   P‐0007631 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUCCILLO, KRISTIN M.
6 SETTLERS LANE
WESTFIELD, NJ 07090                                  P‐0007632 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROHALD, AMY G.
130 UPTON ROAD
WESTBOROUGH, MA 01581                                P‐0007633 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHABASSOL, CHRISTIE L.
5419 KEEPORT DRIVE, #3
PITTSBURGH, PA 15236                                 P‐0007634 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAEMICKE, ALEXANDRA K.
DAEMICKE, KENNETH G.
6125 TIMBER RIDGE COURT
INDIAN HEAD PARK, IL 60525‐3759                      P‐0007635 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANEY, JAMES P.
CHANEY, KYM E.
8818 E 135TH STREET
BIXBY, OK 74008‐                                     P‐0007636 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTLEY, JOEL M.
BARTLEY, HELEN E.
323 PARKMEADOW DR
CARY, NC 27519                                       P‐0007637 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ATKINS, ALLISON
10137 W. ILLINI ST
TOLLESON, AZ 85353                                   P‐0007638 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, ELAINE P.
1111 INDEPENDENCE AVE #2512
AKRON, OH 44310                                      P‐0007639 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
GILMER, WILLIAM W.
2450 MCGARITY RD
MCDONOUGH, GA 30252                                 P‐0007640 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WREN, RUTH
2739 MCFARLAND ROAD
MOBILE, AL 36695                                    P‐0007641 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ODIO, JESSICA M.
6067 GRAND FOREST COURT
PEACHTREE CORNER, GA 30092                          P‐0007642 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDMONDSON, RACHEL L.
743 EAST BROADWAY #137
LOUISVILLE, KY 40202                                P‐0007643 10/28/2017    TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
BRUCE, GAIL C.
CANTEY‐BRUCE, SHERYL R.
16927 ASHTON OAKS DRIVE
CHARLOTTE, NC 28278                                 P‐0007644 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUCCILLO, THOMAS J.
6 SETTLERS LANE
WESTFIELD, NJ 07090                                 P‐0007645 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANNASCH, SUSAN K.
258 MEADOWBROOK C C ESTATES
BALLWIN, MO 63011                                   P‐0007646 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILTNER, LAWRENCE J.
236 W. FRIENDSHIP ST.
MEDINA, OH 44256                                    P‐0007647 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SULLIVAN, HANNAH E.
21 REAGAN CIRCLE
ALLENSTOWN, NH 03275                                P‐0007648 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOHLMAIER, VALERIE J.
HOHLMAIER, ROBERT E.
14 HOPKINS AVENUE
JOHNSTON, RI 02919                                  P‐0007649 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORENO, SUSAN M.
7433 VISTALMAR ST.
CORAL GABLES, FL 33143                              P‐0007650 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUZLAS, RICHARD A.
1752 SUZY ST
SANDWICH, IL 60548                                  P‐0007651 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LITVIN, GARY
9 BARTLET STREET
SUITE 70
ANDOVER, MA 01810                                   P‐0007652 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORAH, OBI
5048 180TH ST
COUNTRY CLUB HILLS IL 60478
                                                    P‐0007653 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UPDEGRAFF, STEPHENIE B.
UPDEGRAFF, JAMES D.
7537 SAVANNAH DR
OOLTEWAH, TN 37363                                  P‐0007654 10/28/2017    TK Holdings Inc., et al .                    $2,746.00                                                                                    $2,746.00
SHIN, JOHN
9013 EDGEPARK ROAD
VIENNA, VA 22182                                    P‐0007655 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACKS, MONICA L.
2899 COURTLAND BLVD.
SHAKER HEIGHTS, OH 44122                            P‐0007656 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HENRY, CONSTANCE S.
45 FOCHT ROAD
ROBESONIA, PA 19551                                  P‐0007657 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENNETH G. DAEMICKE, LTD.
6125 TIMBER RIDGE COURT
INDIAN HEAD PARK, IL 60525‐3759                      P‐0007658 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMBURGEY, KARA P.
AMBURGEY, ANTHONY K.
4209 THOROUGHGOOD DRIVE
VIRGINIA BEACH, VA 23455                             P‐0007659 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARLEY, JUDY A.
FARLEY, MARTIN L.
112 CHARLES STREET
LIBERTY, MO 64068‐1243                               P‐0007660 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHESSHER, LINDSAY N.
8014 WINDY ACRES DR
HOUSTON, TX 77040                                    P‐0007661 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WICKS, LYNNE S.
263 BUDLONG RD
163 MAPLETON ST
CRANSTON, RI 02920                                   P‐0007662 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIN, JOHN
9013 EDGEPARK ROAD
VIENNA, VA 22182                                     P‐0007663 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMATACOLOS, CHRISTINE D.
1106 BENTWOOD PLACE COURT
LOUISVILLE, KY 40207                                 P‐0007664 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANAUSTIN, PAMELA L.
18311 SHERMAN STREET
LANSING, IL 60438                                    P‐0007665 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POND, ROBERT M.
155 INVERNESS DRIVE
JONESBORO, GA 30238                                  P‐0007666 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEBBS, JOHN L.
3541 W. ACOMA DR.
PHX, AZ 85053                                        P‐0007667 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROKOVITZ, BONITA L.
212 PICADILLY PLACE
CANTON, GA 30114                                     P‐0007668 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLY, ROBERT G.
17721 W SUNBELT DR
SURPRISE, AZ 85374                                   P‐0007669 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIN, JOHN
9013 EDGEPARK ROAD
VIENNA, VA 22182                                     P‐0007670 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEUSCHER, JANICE L.
162 HIGH FOREST DRIVE
CEDARBURG, WI 53012                                  P‐0007671 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERBLAN, DEBBIE K.
15314 W. 51ST. PL.
GOLDEN, CO                                           P‐0007672 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANDELA, JOHN R.
NO ADDRESS PROVIDED
                                                     P‐0007673 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
VALBERT, GENEVIEVE
8362 NW 23RD MANOR
N
CORAL SPRINGS, FL 33065                             P‐0007674 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHU, KAIDEE
2602 HERSHFIELD COURT
SILVER SPRING, MD 20904                             P‐0007675 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMATACOLOS, JAMES G.
1106 BENTWOOD PLACE COURT
LOUISVILLE, KY 40207                                P‐0007676 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, CAROL M.
251 W JAMESTOWN RD
GREENVILLE, PA 16125                                P‐0007677 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULLISON, ALEXANDER P.
13232 PLEASANTVIEW LANE
FAIRFAX, VA 22033                                   P‐0007678 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, KEVIN S.
WILSON, RONDA J.
860 S GRAY EAGLE WAY
BOISE, ID 83712                                     P‐0007679 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY, BRUCE A.
7956 E MILLERS PL
WAVELAND, IN 47989                                  P‐0007680 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OREILLY, TIMOTHY
OREILLY, BETH ANNE
253 BASKERVILLE CT
SEVERNA PARK, MD 21146                              P‐0007681 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBER, ALEXANDER
HUBER, KELLY D.
1001 STOCKLEYBRIDGE DRIVE
CHESAPEAKE, VA 23322                                P‐0007682 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROKOVITZ, ROBERT R.
212 PICADILLY PLACE
CANTON, GA 30114                                    P‐0007683 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREIRA, MICHAEL A.
72 PEARL AVENUE
NORTH PROVIDENCE, RI 02904‐4534                     P‐0007684 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCARLETTO, DAVID W.
5542 DORRINGTON N.E.
CANTON, OH 44721                                    P‐0007685 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORAN, SHARON L.
601A DALTON DRIVE
ESSEX JUNCTION, VT 05452                            P‐0007686 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTGOMERY, DARLENE
6316 DAKINE CIRCLE
SPRINGFIELD, VA 22150                               P‐0007687 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EATON, DIANE P.
72 TILLER LN
BRICK, NJ 08723                                     P‐0007688 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, KEVIN S.
WILSON, RONDA J.
860 S GRAY EAGLE WAY
BOISE, ID 83712                                     P‐0007689 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CAPOGRECO, ADAM L.
CAPOGRECO, PAULA
67 WEST CARTER ROAD
ELKVILLE, IL 62932                                   P‐0007690 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEINBERGER, GEORGE M.
8600 BRODIE LN APT 526
AUSTIN, TX 78745                                     P‐0007691 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OREILLY, BETH ANNE
253 BASKERVILLE CT
SEVERNA PARK, MD 21146                               P‐0007692 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIKALAUSKAS, CARL
101 CLOVERDALE DR
EVANS CITY, PA 16033                                 P‐0007693 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY, LORI A.
7956 E MILLERS PL
WAVELAND, IN 47989                                   P‐0007694 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LE BLANC, KENNETH E.
BOGDAN, CAROL M.
59 MAIN ST UNIT 28‐2`
DENNIS, MA 02638                                     P‐0007695 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRAKE, JENNIFER B.
1010 BAY RIDGE RD
MADISON, WI 53716                                    P‐0007696 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINGSTON, MICHAEL L.
KINGSTON, EVA C.
P.O. BOX 19
604 S HARRISON ST
PHILO, IL 61864                                      P‐0007697 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILMER, WILLIAM W.
2450 MCGARITY RD
MCDONOUGH, GA 30252                                  P‐0007698 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULLISON, ALEX C.
13232 PLEASANTVIEW LANE
FAIRFAX, VA 22033                                    P‐0007699 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHALEELUDDIN, MANSOOR
KHALEELUDDIN, HINA
1123 ELM GROVE DR
ALLEN, TX 75002                                      P‐0007700 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORAN, SHARON L.
NO ADDRESS PROVIDED
                                                     P‐0007701 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHENS, LEIGH ANN F.
4615 MCCLOUD RD
KNOXVILLE, TN 37938                                  P‐0007702 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBBS, MELISSA J.
10631 VERONA RD
LEWISBURG, OH 45338                                  P‐0007703 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANKS, PAUL R.
4302 CALEB COURT
COLUMBIA, MO 65203                                   P‐0007704 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYIER, JOLENE E.
442 WINDSAIL CIRCLE
ROCKLEDGE, FL 32955                                  P‐0007705 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEBOE, MARY M.
2723 LYNDHURST AVE
ST. LOUIS, MO 63114                                  P‐0007706 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PHILLIPS, RONALD T.
104 CHESTNUT ST
LAPORTE CITY, IA 50651                              P‐0007707 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPAGNUOLO, SILVESTRO
7909 151 AVE
HOWARD BEACH, NY 11414                              P‐0007708 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREIRA, MICHAEL A.
72 PEARL AVENUE
NORTH PROVIDENCE, RI 02904‐4534                     P‐0007709 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLETCHER, GARY W.
8 JEPHERSON DRIVE
DOUGLAS, MA 01516                                   P‐0007710 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUDSON, JON
HUDSON, ALISAN
2546 E AMBER RIDGE WAY
PHOENIX, AZ 85048                                   P‐0007711 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGISTRO, JOHN
MAGISTRO, BARBARA S.
4311 CARY ST. RD.
RICHMOND, VA 23221                                  P‐0007712 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINGSTON, MICHAEL L.
KINGSTON, EVA C.
P.O. BOX 19
604 S HARRISON ST
PHILO, IL 61864                                     P‐0007713 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, ANTHONY L.
436 S LOMBARD AVE
OAK PARK, IL 60302                                  P‐0007714 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIEDERSPAHN, LEAH R.
WIEDERSPAHN, MICHAEL J.
4607 OAKSHIRE COURT
TALLAHASSEE, FL 32309                               P‐0007715 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULCAHY, MICHAEL C.
9 SUNDIAL LANE
BELLPORT, NY 11713                                  P‐0007716 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TCHEUREKDJIAN, NOUBAR
3330 WARRENSVILLE CTR RD
UNIT 506
SHAKER HEIGHTS, OH 441221H                          P‐0007717 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUCA, CLAUDIA B.
500 MONTAUK DRIVE
WESTFIELD, NJ 07090                                 P‐0007718 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAVRELIS, LANDON S.
MAVRELIS, LANDON
300 2ND AVE UNIT 4141
NEEDHAM, MA 02494‐2963                              P‐0007719 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STREET, SHARON A.
11032 E. RALEIGH AVENUE
MESA, AZ 85212‐2593                                 P‐0007720 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORDOVSKY, CHRISTOPHER J.
BORDOVSKY, CHRISTOL J.
1463 CANYON BROOK
SAN ANTONIO, TX 78248                               P‐0007721 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERS, E. WILLIAM
361 WHEATFIELD DR
LITITZ, PA 17543                                    P‐0007722 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SWIFT, HUGH S.
1225 GILLESPIE DRIVE NORTH
PALM HARBOR, FL 34684                                P‐0007723 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHILDRESS, MARK A.
P.O. BOX 1081
TALBOTT, TN 37877‐1081                               P‐0007724 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAYLING JR, ROY G.
470 WEST 5TH STREET
P.O. BOX 87
BECKEMEYER, IL 62219                                 P‐0007725 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBSON, GAIL A.
7027 CLAREMORE DR.
ST. LOUIS, MO 63121                                  P‐0007726 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEPPIEL, THERESA J.
1812 PRAISE BLVD
FENTON, MO 63026                                     P‐0007727 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
L'HOSTE, SOMMER D.
208 OLD BROOK CT
BIRMINGHAM, AL 35242                                 P‐0007728 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODKEY, LEN
1755 HARMONY LANE
SARASOTA, FL 34239                                   P‐0007729 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVANDOSKI, TRACEY A.
308 STREAMWOOD DR
VALPARAISO, IN 46383                                 P‐0007730 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROSKELL, MITCHELL Q.
7028 NW CORONADO ST
KANSAS CITY, MO 64152                                P‐0007731 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORDOVSKY, CHRISTOPHER J.
BORDOVSKY, CHRISTOL J.
1463 CANYON BROOK
SAN ANTONIO, TX 78248                                P‐0007732 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIKLOS, PAULINE
23 E OAKLAND AVENUE
APT 1‐E
DOYLESTOWN, PA 18901                                 P‐0007733 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIERMANN, RUTH
135 KYLE DRIVE
TINTON FALLS, NJ 07712                               P‐0007734 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERS, E. WILLIAM
361 WHEATFIELD DR
LITITZ, PA 17543                                     P‐0007735 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REINGOLD, BARRY
755 WESTMINSTER DR N
SOUTHAMPTON, NJ 08088                                P‐0007736 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JIMMY L.
369 S BURK ST
EAGAR, AZ 85925                                      P‐0007737 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LADD, PEGGY A.
27 DOGWOOD DRIVE
RICHMOND, IN 47374                                   P‐0007738 10/28/2017    TK Holdings Inc., et al .                     $173.35                                                                                       $173.35
O'LEARY, STEPHANIE
106 SAINT BOTOLPH ST. #2
BOSTON, MA 02115                                     P‐0007739 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
AMBRICCO, ANTHONY P.
84 SHAWN DRIVE
LOYSVILLE, PA 17047                                  P‐0007740 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEXANDER, LISA K.
237 WESTGROVE COURT
DURHAM, NC 27703                                     P‐0007741 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, CAROL I.
34315 AL HWY 91
CULLMAN, AL 35055                                    P‐0007742 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVANDOSKI, TRACEY
308 STREAMWOOD DR
VALPARAISO, IN 46383                                 P‐0007743 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWE, SANDRA L.
1133 SIR GALAHAD DRIVE
CHESAPEAKE, VA 23323                                 P‐0007744 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, MICHAEL P.
1816 OLD MILL ROAD
MERRICK, NY 11566                                    P‐0007745 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARNONE, KAREN A.
170 BEACH RD.
UNIT 39
SALISBURY, MA 01952                                  P‐0007746 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCIS, LEO C.
FRANCIS, JANA S.
P.O. BOX 173
FREDERICKTOWN, MO 63645                              P‐0007747 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMBRICCO, EMMA E.
84 SHAWN DRIVE
LOYSVILLE, PA 17047                                  P‐0007748 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VASQUEZ, JAVIER
44 FORGE ROAD
MEDFORD, NJ 08055                                    P‐0007749 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LILE, DANIEL P.
302 S OLIVE
BUTLER, MO 64730                                     P‐0007750 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVINE, JAMES J.
162 CARLOUGH ROAD
UPPER SADDLE RIV, NJ 07458                           P‐0007751 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOVACH, KRISTIE L.
KOVACH, ROBERT J.
6471 E. MINERAL PLACE
CENTENNIAL, CO 80112                                 P‐0007752 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOSTIAN, RICHARD M.
BOSTIAN, CLARA B.
540 SECOND STREET
APT 304
ALEXANDRIA, VA 22314‐1495                            P‐0007753 10/28/2017    TK Holdings Inc., et al .                    $2,160.00                                                                                    $2,160.00
LUCAS, FRANCES J.
688 WINTHROP RD
WILLIAMSBURG, VA 23185                               P‐0007754 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUNE, CARL M.
3008 GREYSTONE DR
PACE, FL 32571                                       P‐0007755 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TERRILL, NICHOLE L.
300 BELAIR DRIVE
JEFFERSON CITY, MO 65109                             P‐0007756 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                Current General                                         Current 503(b)(9)
                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
TORGERSEN, ADRIANNE
1748 KAYS CREEK CIR
LAYTON, UT 84040                                  P‐0007757 10/28/2017    TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
ROCKWELL, MEREDITH L.
983 BLIND BROOK DRIVE
COLUMBUS, OH 43235                                P‐0007758 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, ISEL
1356 W 77 STREET
HIALEAH, FL 33014                                 P‐0007759 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEATHERS, JUNE
WEATHERS, JUNE
18701 BURNHAM
LANSING, IL 60438                                 P‐0007760 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEARN, DANIEL E.
688 WINTHROP RD
WILLIAMSBURG, VA 23185                            P‐0007761 10/28/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
TORGERSEN, DALLAS K.
1748 KAYS CREEK CIR
LAYTON, UT 84040                                  P‐0007762 10/28/2017    TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
FRANCIS, LEO C.
FRANCIS, JANA S.
P.O. BOX 173
FREDERICKTOWN, MO 63645                           P‐0007763 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRELL, SUSAN
2623 SE 30TH ST
OKEECHOBEE 34974                                  P‐0007764 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCEWEN, CLARENCE L.
8450 GRANT CIRCLE
APT 402
MERRILLVILLE, IN 46410                            P‐0007765 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELDEN, JANET
SELDEN, JANET
3330 N. ROCKFIELD DRIVE
WILMINGTON, DE 19810                              P‐0007766 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARMIENTO, JACQUI LIN
SARMIENTO, ROSEMARY C.
4325 SW 98TH CT.
MIAMI, FL 33165                                   P‐0007767 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RATHBUN, JUSTIN A.
39 HOFFECKER HILL ROAD
WEST BURKE, VT 05871                              P‐0007768 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUETSCHOW REVOCABLE TRUST
2424 S BELMONT DR
BELOIT, WI 53511                                  P‐0007769 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TCHEUREKDJIAN, NOUBAR
3330 WARRENSVILLE CTR RD
UNIT 506
SHAKER HEIGHTS, OH 44122                          P‐0007770 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POSTPISCHIL, ERIC
16 WOODHAVEN CIRCLE
MERRIMACK, NH 03054‐2518                          P‐0007771 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYERS, GARY
1012 SYCAMORE LANE
COLUMBIA, MO 65203                                P‐0007772 10/28/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ROMERO, GILBERT W.
3495 FUSELIER DR
N LAS VEGAS, NV 89032                                P‐0007773 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAHNE, BARRY L.
2 POMONA EAST
APT 305
PIKESVILLE, MD 21208                                 P‐0007774 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEXANDER, JANET
340 N. KENSINGTON AVE
LA GRANGE PARK, IL 60526                             P‐0007775 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WORMLEY, SUSAN K.
285 MORGAN VALLEY DR.
OSWEGO, IL 60543                                     P‐0007776 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEITH, ARTHUR R.
624 TOMBSTONE AVE.
FLAGSTAFF, AZ 86001                                  P‐0007777 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYS, JOSEPH G.
7030 W MORNING DOVE DRIVE
GLENDALE, AZ 85308                                   P‐0007778 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCEWEN, CLARENCE
MCEWEN, CLARENCE
8450 GRANT CIRCLE
APT 402
                                                     P‐0007779 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUETSCHOW REVOCABLE TRUST
2424 S BELMONT DR
BELOIT, WI 53511                                     P‐0007780 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, MARY J.
4006 WABASH AVE
KANSAS CITY, MO 64130                                P‐0007781 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, GREGORY B.
1725 S. CLINTON AVE.
TRENTON, NJ 08610                                    P‐0007782 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, LAURA
139 W PARK DR
MARSHALL, WI 53559                                   P‐0007783 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHARTIER, JAMES M.
745 HOWE ST
MANCHESTER, NH 03103                                 P‐0007784 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAY, MARY B.
29 DIBBLE RD
OLD SAYBROOK, CT 06475                               P‐0007785 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WORTH, ROBERTA A.
25 N. FRANKLIN AVE.
MADISON, WI 53705                                    P‐0007786 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ, NANCY J.
187 CALLE ALEGRE
EAGLE PASS, TX 78852                                 P‐0007787 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAHILL, KIMBERLY D.
500 VINE ST APT.5
CHILLICOTHE, MO 64601                                P‐0007788 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, KARL E.
1611 EXPLORERS DR
TARPON SPRINGS, FL 34689‐2205                        P‐0007789 10/28/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SEACOAST RV RESORT, LLC
729 PORTLAND ROAD
SACO, ME 04072                                      P‐0007790 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WORTH, ROBERTA A.
25 N FRANKLIN AVE.
MADISON, WI 53705                                   P‐0007791 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANDENBERG, JASON
922 BRANDYWINE DR
BEAR, DE 19701                                      P‐0007792 10/28/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
WORTH, ROBERTA A.
25 N. FRANKLIN AVENUE
MADISON, WI 53705                                   P‐0007793 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILLIAN, EZRA A.
400 WEST MAIN ST
BISMARCK, MO 63624                                  P‐0007794 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINGARD, WINDSOR W.
5519 HOBBIE ROAD
MONTGOMERY, AL 36105                                P‐0007795 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KECK, AMY L.
12 WINGATE ST.
WELLSBORO, PA 16901                                 P‐0007796 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMMONS, RONALD J.
7521 QUENCY DRIVE
MOBILE, AL 36695                                    P‐0007797 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANNER, JIMEIA R.
TANNER, ROBIN R.
2326 TANNER ROAD
MARSHVILLE, NC 28103                                P‐0007798 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUCCILLO, KRISTIN M.
6 SETTLERS LANE
WESTFIELD, NJ 07090                                 P‐0007799 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYWOOD, KATHERINE B.
1375 BYBERRY RD
HUNTINGDON VLY, PA 19006                            P‐0007800 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEIDET, THEODORE H.
SCHNEIDER, LEANDRA T.
565 HARLOW RD APT H1
SPRINGFIELD, OR 97477                               P‐0007801 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OATMAN, MARIA T.
6214 MEAADVILLE RD.
NARVON, PA 17555                                    P‐0007802 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHAAF, KATHLEEN M.
1498 SOUTH KRAMERIA STREET
DENVER, CO 80224                                    P‐0007803 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YE, XIANGAO
LIN, HONG
3509 THORP SPRINGS DR
PLANO, TX 75025                                     P‐0007804 10/28/2017    TK Holdings Inc., et al .                     $600.00                                                                                       $600.00
BARLOW, WALTER A.
BARLOW, LINDA L.
306 MOURNING DOVE DRIVE
NEWARK, DE 19711                                    P‐0007805 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETRO FELL, CHRISTINE E.
9765 WEBSTER ROAD
STRONGSVILLE, OH 44136                              P‐0007806 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
FILIPP, ROBERT A.
791 NEW HOPE DR
HAMPTON, GA 30228                                   P‐0007807 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, VICKI
631 W. 47TH STREET
CASPER, WY 82601                                    P‐0007808 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAREN, ANDREW
CHAREN, DEBORAH
1109 BLACKTHORN LANE
NORTHBROOK, IL 60062                                P‐0007809 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, DEIDRE
6331 SALINGER COURT SE
MABLETON, GA 30126                                  P‐0007810 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YERGER, NANCY L.
1608 DORCHESTER DR
COLORADO SPRINGS, CO 80905                          P‐0007811 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEMACK, DREUX D.
1128 WEST 135TH CT.
WESTMINSTER, CO 80234‐4801                          P‐0007812 10/28/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
KING, DUANE M.
4000 BRADFORD LN
JOHNSON CITY, TN 37601                              P‐0007813 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUIZ, LUIS E.
RUIZ, LUIS
7406 WHITE OAK AVE
HAMMOND, IN 46324                                   P‐0007814 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, MICHAEL J.
8534 BARROW FURNACE LN
LORTON, VA 22079‐5003                               P‐0007815 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENIN, HUGH M.
9861 E PINEWOOD AVENUE
ENGLEWOOD, CO 80111                                 P‐0007816 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LE, TUE M.
7014 LAKE JACKSON DRIVE
ARLINGTON, TX 76002                                 P‐0007817 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANMAN, LORETTA W.
8466 MONARCH CT.
ANNANDALE, VA 22003‐1174                            P‐0007818 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KETTERING, FRANCES A.
4491 BINFIELD CIRCLE
UNIONTOWN, OH 44685                                 P‐0007819 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGE, WILLIAM H.
9203 SUNNYOAK DR
RIVERVIEW, FL 33569                                 P‐0007820 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEMACK, DREUX
1128 WEST 135TH CT.
WESTMINSTER, CO 80234‐4801                          P‐0007821 10/28/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
POSEY, RAYMOND L.
846 WILLOW CREEK DR
FAIRLAWN, OH 44333                                  P‐0007822 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PROFFITT, JEREMY R.
604 SE AVE B
ANDREWS, TX 79714                                   P‐0007823 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, DEIDRE
6331 SALINGER CT SE
MABLETON, GA 30126                                  P‐0007824 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CORNELSON, ROLAND F.
4968 LIGHTHOUSE DR
GROVE, OK 74344‐7931                                 P‐0007825 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIMMERMAN, LISA L.
516 SOUTHSHORE LANE
DALLAS, GA 30157                                     P‐0007826 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIVAR, BENJAMIN L.
238 E. PARKWOOD RD.
DECATUR, GA 30030                                    P‐0007827 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGE, WILLIAM H.
9203 SUNNYOAK DR
RIVERVIEW, FL 33569                                  P‐0007828 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALAITZIDIS, ELLEN M.
90 GOLDFINCH DRIVE
BROCKTON, MA 02301                                   P‐0007829 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANECAK, STEPHEN L.
HANECAK, DEBORAH M.
262 BRUSH HILL ROAD
LITCHFIELD, CT 06759                                 P‐0007830 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOSINSKI, RICHARD H.
40 MANITOOK DR
OXFORD, CT 06478                                     P‐0007831 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANG, RICHARD H.
477 E. WOODBRIDGE AVE.
AVENEL, NJ 07001                                     P‐0007832 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICE, KRISTI L.
6303 N WOODLAND AVE
GLADSTONE, MO 64118                                  P‐0007833 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGE, WILLIAM H.
9203 SUNNYOAK DR
RIVERVIEW, FL 33569                                  P‐0007834 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IRVING, RONALD S.
536 EAST LAKEVIEW AVE
MADISON, WI                                          P‐0007835 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNIGHT, DANIEL L.
254 JEFFIE LN
SHEPHERDSVILLE, KY 40165                             P‐0007836 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALAITZIDIS, ANESTIS
90 GOLDFINCH DRIVE
BROCKTON, MA 02301                                   P‐0007837 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, VICTOR O.
6180 SW 158TH PASS
MIAMI, FL 33193                                      P‐0007838 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANNINO, TIMOTHY G.
5745 FOOTEMILL RD
ERIE, PA 16509                                       P‐0007839 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROWETT, MARSHALL K.
7615 SHIRLEY RD
CHERRY VALLEY, IL 61016                              P‐0007840 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, VICTOR O.
6180 SW 158TH PASS
MIAMI, FL 33193                                      P‐0007841 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NG, CHING
11819 COLDSTREAM DR
POTOMAC, MD 20854                                    P‐0007842 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BLOCK, ROBIN L.
3955 W MEQUON RD
MEQUON, WI 53092                                    P‐0007843 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THALER, BJORN B.
23 HARLOW DRIVE
NEWINGTON, CT 06111                                 P‐0007844 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, PENNY
7866 S WINDERMERE CIR
LITTLETON, CO 80120                                 P‐0007845 10/28/2017    TK Holdings Inc., et al .                     $600.00                                                                                       $600.00
WEAVER, GERALD N.
6936 S. CHAPPARAL CIR. W
CENTENNIAL, CO 80016                                P‐0007846 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLEY, JAMES T.
MARTHA N.
6404 EVERMAY DR.
MCLEAN, V 22101                                     P‐0007847 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UPDEGRAFF, JAMES D.
UPDEGRAFF, STEPHENIE B.
7537 SAVANNAH DRIVE
OOLTEWAH, TN 37363                                  P‐0007848 10/28/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BURGOYNE, AMY P.
1225 MARCHANT PLACE
LEWISVILLE, TX 75067                                P‐0007849 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAFLEUR, ROBERT A.
18106 OLIVERIA WAY
HOUSTON, TX 77044                                   P‐0007850 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, JESIKA
PATEL, JIGAR
326 CLUBHOUSE LN
WILMINGTON, DE 19810                                P‐0007851 10/28/2017    TK Holdings Inc., et al .                    $4,500.00                                                                                    $4,500.00
KELLEY, JAMES T.
MARTHA N.
6304 EVERMAY DR
MCLEAN, V 22101                                     P‐0007852 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARVEY, ANDREA
2 LORRAINE AVE
APT 2B
MOUNT VERNON, NY 10553                              P‐0007853 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEATUS, DAVID
320 RIVERSIDE DR
10B
NEW YORK, NY 10025                                  P‐0007854 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLEY, JAMES T.
MARTHA N.
6404 EVERMAY DR.
MCLEAN, VA 22101                                    P‐0007855 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MISARTI, NANCY
59 MAYFAIR DRIVE
WEST ORANGE, NJ 07052                               P‐0007856 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIFIK, GARY A.
1705 HAWTHORNE DRIVE
MAYFIELD HTS., OH 44124                             P‐0007857 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAIL, JOEY B.
4860 EISENHOWER AVENUE
UNIT 484
ALEXANDRIA, VA 22304                                P‐0007858 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LOMELI, RAUL
3318 SABLE CREEK
SAN ANTONIO, TX 78259                                P‐0007859 10/28/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
RAHEJA, ANIL K.
NO ADDRESS PROVIDED
                                                     P‐0007860 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA, GERALDINE E.
DEATON, WILLIAM W.
508 LAGUNA SECA LN NW
ALBUQUERQUE, NM 87104                                P‐0007861 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOVERN, JEFF
TWO BAY CLUB DRIVE #3E
BAYSIDE, NY 11360                                    P‐0007862 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAIL, JOEY B.
4860 EISENHOWER AVENUE
UNIT 484
ALEXANDRIA, VA 22304                                 P‐0007863 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAVRELIS, LANDON S.
MAVRELIS, LANDON
300 2ND AVE UNIT 4141
NEEDHAM, MA 02494‐2963                               P‐0007864 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCORMICK, BRENT
26301 E BUNDSCHU RD
INDEPENDENCE, MO 64056                               P‐0007865 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORDOVSKY, CHRISTOPHER J.
BORDOVSKY, CHRISTOL J.
1463 CANYON BROOK
SAN ANTONIO, TX 78248                                P‐0007866 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANN, MICHAEL W.
2575 WILD PINES LANE
APT 914
NAPLES, FL 34112                                     P‐0007867 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAVRELIS, LANDON S.
MAVRELIS, LANDON
300 2ND AVE UNIT 4141
NEEDHAM, MA 02494‐2963                               P‐0007868 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEAGHER, DAVID J.
MEAGHER, CAROL A.
DEMARCHE
445 S THURLOW ST
HINSDALE, IL 60521                                   P‐0007869 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWIFT, HUGH S.
1225 GILLESPIE DRIVE NORTH
PALM HARBOR, FL 34684                                P‐0007870 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASH, MURRAY
4400 BLUEMEL RD.
APT. 405
SAN ANTONIO, TX 78240                                P‐0007871 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZOIDA, DAMIAN
7334 W. CARTER RD.
LAVEEN, AZ 85339                                     P‐0007872 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONORATO, DANIEL W.
11110 E CRESENT AVE
MESA, AZ 85208                                       P‐0007873 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
ADKINS, LINDA
53 RANDOLPH ROAD
NEWPORT NEWS, VA 23601                             P‐0007874 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, CRAIG A.
MITCHELL, VICTORIA A.
9914 N. HIGHLAND PLACE
KANSAS CITY, MO 64155                              P‐0007875 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYNES, JOHN E.
2998 EVANS WOODS DR.
ATLANTA, GA 30340                                  P‐0007876 10/28/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
TEMPLE, WALLACE
TEMPLE, SUSAN
3211 EVERGREEN AVE
BALTIMORE, MD 21214                                P‐0007877 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OGBONNA, SAMUEL
2425 VICTORY AVE
#345
DALLAS, TX 75219                                   P‐0007878 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSKAM, ESTHER A.
410 W. LOMBARD ST
APT 308
BALTIMORE, MD 21201                                P‐0007879 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERCHOFER, JOHN M.
1569 COLUMBIANA LISBON RD
COLUMBIANA                                         P‐0007880 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSKAM, ESTHER A.
410 W. LOMBARD ST
APT 308
BALTIMORE, MD 21201                                P‐0007881 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAIKIN, DANIEL
1616 WHITEHALL DRIVE
LONGMONT, CO 80504                                 P‐0007882 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DERR, TRENTON J.
3415 STONE IVORY CT
SPRING, TX 77388                                   P‐0007883 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TYLER, KATINA A.
2005 CREEKSIDE WAY
COLUMBIA, SC 29210                                 P‐0007884 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBER, JR., ROBERT D.
616 E. 700 N.
WESTVILLE, IN 46391                                P‐0007885 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAMPAIO, CLAUDIA
1113 ABRAMS RD. APT 187
RICHARDSON, TX 75081                               P‐0007886 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAMPAIO, CLAUDIA
1113 ABRAMS RD. APT 187
RICHARDSON, TX 75081                               P‐0007887 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, MICHAEL
320 HAZELWOOD PLACE
PISCATAWAY, NJ 08854                               P‐0007888 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERCE, JOSEPH E.
PIERCE, SHARON A.
84 LAKE ROYALE
LOUISBURG, NC 27549                                P‐0007889 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WATKINS, TERRI L.
291 PLANTATION CENTRE DR N #6
#606
MACON, GE 31210                                     P‐0007890 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAPERS, DALE
2910 RALPH BLVD
RICHMOND, VA 23223                                  P‐0007891 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERRY, KENNETH C.
6431 DONA LINDA PL. NW
ALBUQUERQUE, NM 87120                               P‐0007892 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAHSEN, LAWRENCE P.
43236 SE 163RD ST
NORTH BEND, WA 98045                                P‐0007893 10/28/2017    TK Holdings Inc., et al .                    $9,000.00                                                                                    $9,000.00
SACK, JEFFREY M.
SACK, DONNA K.
636 DE LASALLE AVE
NAPERVILLE, IL 60565                                P‐0007894 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALAITZIDIS, NITSA
144 ROCKLAND STREET
BROCKTON, MA 02301                                  P‐0007895 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, CRAIG A.
MITCHELL, LISA L.
9914 N. HIGHLAND PLACE
KANSAS CITY, MO 64155                               P‐0007896 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGEN, CYNTHIA
560 E SOUTH TEMPLE #903
SALT LAKE CITY, UT 84102                            P‐0007897 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHAEFER, ROBERT B.
3711 WHITNEY AVE. APT. 10
HAMDEN, CT                                          P‐0007898 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAWLENA, BARBARA B.
19 GARDNER STREET
SALEM, MA 01970                                     P‐0007899 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRES, BETTY A.
4506 TANAGER ROAD
MONROE, NY 10950                                    P‐0007900 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WETZLER, BARBARA
2343 CAROLTONROAD
MAITLAND, FL 32751                                  P‐0007901 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKAY, LAWRENCE HURST
MCKAY, LAWRENCE HURST
2517 N DONALD AVE
OKLAHOMA CITY, OK 73127                             P‐0007902 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOZADA, KAREN
2161 ASHLEY COOPER LANE
CHARLESTON, SC 29414                                P‐0007903 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANE, RYAN P.
6468 S. XANADU WAY
CENTENNIAL, CO 80111                                P‐0007904 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EHRLICH, STEPHEN P.
EHRLICH, LAURA S.
426 MADISON ST
DENVER, CO 80206                                    P‐0007905 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOZADA, FERNANDO E.
2161 ASHLEY COOPER LANE
CHARLESTON, SC 29414                                P‐0007906 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SPIGHT, JAMES
2420 ALBANY AVE
LOVELAND, CO 80538‐4138                             P‐0007907 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, DANTRON D.
1100 HOBSON ST SW
ATLANTA, GA 30310                                   P‐0007908 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, BRUCE A.
WHITE, BARBARA J.
21 HUDSON AVE
OCEAN VIEW, DE 19970                                P‐0007909 10/28/2017    TK Holdings Inc., et al .                     $140.40                                                                                       $140.40
SMITH, CLAYTON D.
SMITH, ALYECE R.
17040 ROAD 504
KILN, MS 39556                                      P‐0007910 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIELS, ROXANNE J.
DANIELS, DANNY B.
2000 HILLSBORO VALLEY PK
HIGH RIDGE, MO 63049                                P‐0007911 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARESCA, JEANETTE
261 QUENTIN ROAD
PH
BROOKLYN, NY 11223                                  P‐0007912 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IGNOZZI, SANDRA M.
3025 MINTWOOD DRIVE
LOWER BURRELL, PA 15068                             P‐0007913 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, PHYLLIS
JONES, ASA
717 PONY CIRCLE
CAMP VERDE, AZ 86322                                P‐0007914 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SVIRKIN, YEVGENY
53 CEDAR ST APT 3317
WOBURN, MA 01801                                    P‐0007915 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FILIPP, ROBERT A.
791 NEW HOPE DR
HAMPTON, GA 30228                                   P‐0007916 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAUTHIER, BETH A.
385 KNOX PARK ROAD
LAKE ZURICH, IL 60047                               P‐0007917 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEGG, JAMES R.
CLEGG, PHYLLIS L.
799 ABBEY MIST CT
ELGIN, IL 60124                                     P‐0007918 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBASH, JANET K.
ROBASH, PETER F.
2 OLIN HOWLAND WAY
WESTPORT, MA 02790‐1647                             P‐0007919 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAREN, ANDREW
CHAREN, DEBORAH
1109 BLACKTHORN LANE
NORTHBROOK, IL 60062                                P‐0007920 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, CINDY L.
15226 S. 26TH STREET
PHOENIX, AZ 85048                                   P‐0007921 10/28/2017    TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
KEELEY, STEPHEN W.
2350 N TERRY ST SPC
EUGENE, OR 97402                                    P‐0007922 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LAFALCE, PAUL
LAFALCE, DARLENE
4139 PORTAGE LN
HOFFMAN ESTATES, IL 60192                            P‐0007923 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LALANI, LAILA N.
9300 COIT ROAD
APT 2020
PLANO, TX 75025                                      P‐0007924 10/28/2017    TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
ORLANDO, COLLEEN
ORLANDO, COLLEEN J.
587 PATTEN AVE
LONG BRANCH, NJ 07740                                P‐0007925 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG‐HORTON, SO CHUN
162 BREEZE AVE
RONKONKOMA, NY 11779                                 P‐0007926 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAULSON, TERESA J.
595 ASHLAND ST
HOFFMAN ESTATES, IL 60169                            P‐0007927 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRIN, PATRICK O.
203 HOLMAN STREET
GREENWOOD, SC 29649                                  P‐0007928 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CERVANTES, ALVARO
3255 GATEWAY ST APT 111
SPRINGFIELD, OR 97477                                P‐0007929 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTTERFIELD, CAREY
22 SPRING AVE
OAKLAND, NJ 07436                                    P‐0007930 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAYLOR, STEVE
8752 W GLENN DR
GLENDALE, AZ 85305                                   P‐0007931 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETTIGREW, HEIDI E.
25 DEWEY CIRCLE
CAMPTON, NH 03223                                    P‐0007932 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DARWEN, TERENCE M.
4604 SHREWSBURY AVE
APARTMENT F
SAINT LOUIS, MO 63119                                P‐0007933 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, ROBIN R.
1700 BONNABEL TRACE NE
MARIETTA, GA 30066                                   P‐0007934 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUH, STEPHEN S.
6644 DREW RANCH LN
BOULDER, CO 80301                                    P‐0007935 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRACEY, PATRICA L.
6431 EDWARD ST
NORFOLK, VA 23513                                    P‐0007936 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLEY, LARRY E.
3545 CASPIAN COVE
FORT WORTH, TX 76244                                 P‐0007937 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, KATHRYN E.
WILSON, BENJAMIN J.
2025 HARDWICK CT
VIRGINIA BEACH, VA 23454                             P‐0007938 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                  Current General                                         Current 503(b)(9)
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SIRMON, BRADLEY D.
SIRMON, DELAINE W.
461 W. ROBERTS ROAD
CANTONMENT, FL 32533                                P‐0007939 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOMEYER, TIFFANY D.
167 FRIES MILL RD
FRANKLINVILLE, NJ 08322                             P‐0007940 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ITO, ALAN L.
2720 YATES
DENVER, CO 80212                                    P‐0007941 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAYLOR, STEVE R.
8752 W GLENN DR
GLENDALE, AZ 85305                                  P‐0007942 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINE, WILLIAM D.
MARTINE, ARLENE C.
7701 NE 72ND TERRACE
KANSAS CITY, MO 64158                               P‐0007943 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAXWELL, JACOB R.
MAXWELL, KATHRYN L.
2693 AUGUSTA ST
EUGENE, OR 97403                                    P‐0007944 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANTRALES, PETER C.
JESSICA H.
4757 CHINQUAPIN DRIVE
GULF BREEZE, FL 32563‐9235                          P‐0007945 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANGAPORA, THERESA E.
3300 TRIPLE BEND CIRCLE
COLLEGE STATION, TX 77845                           P‐0007946 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMILTON, THOMAS G.
1613 FIRST COLONY TRACE
HAMPTON, VA 23665                                   P‐0007947 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOX, JULIA A.
1618 CLARKE SPRINGS DR
ALLEN, TX 75002                                     P‐0007948 10/28/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
EDWARDS, SHIRLEY R.
145 SAXON WOODS DRIVE
ATHENS, GA 30607                                    P‐0007949 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, JOANN C.
5201 MACKINAW ST
HOUSTON, TX 77053                                   P‐0007950 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ATKINS, CLINTON
2052 PINE FIELD COURT
NORTH CHARLESTON, SC 29405                          P‐0007951 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, CHRISTOPHER W.
4522 PARK RD
MOBILE, AL 36605                                    P‐0007952 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANTRALES, PETER D.
4757 CHINQUAPIN DRIVE
GULF BREEZE, FD 32563‐9235                          P‐0007953 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUSTIN, JOSEPH E.
902 DELRAN PLACE
UPPER MARLBORO, MD 20774                            P‐0007954 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWARTZ, ROBERT
11 POPPY LANE
HOWELL, NJ 07731                                    P‐0007955 10/28/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00


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                                                                                                               Current General                                         Current 503(b)(9)
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                Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                   Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                   Amount                                                  Amount
VAISMAN, GALINA
3532 CHIMNEY SWIFT DRIVE
HUNTINGDON VLY, PA 19006                         P‐0007956 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TROUPE, GREGORY R.
685 MULLANPHY
FLORISSANT, MO 63031                             P‐0007957 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIANCHI, DEBRA C.
5065 SOUTH LINKS CIRCLE
SUFFOLK, VA 23435                                P‐0007958 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAATZ, ALANE L.
ALAN J LAAT
621 S MADISON AVE
LA GRANGE, IL 60525‐2804                         P‐0007959 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWARTZ, ROBERT
11 POPPY LANE
HOWELL, NJ 07731                                 P‐0007960 10/28/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
MITCHELL, CRAIG A.
9914 N. HIGHLAND PLACE
KANSAS CITY, MO 64155                            P‐0007961 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GELTZ, ANDREW L.
5318 BETHEL RD
CLERMONT, GA 30527                               P‐0007962 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHAMANE CHAMSON, AMADOU R.
2015 74TH ST 2R
BROOKLYN, NY 11204                               P‐0007963 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILES, AUJOR L.
P.O. BOX 192105
BOSTON, MA 02119                                 P‐0007964 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEHMOOD, RANA A.
MEHMOOD, SADAF
6411 GENET DR
KATY, TX 77494                                   P‐0007965 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANTRALES, PETER D.
KANTRALES, SOPHIA A.
4757 CHINQUAPIN DRIVE
GULF BREEZE, FL 32563‐9235                       P‐0007966 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANDERZON, NICOLE H.
8741 AUTUNN RIDGE COURT
ODENTON, MD 21113                                P‐0007967 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSE, KENNETH P.
622 E 20TH STREET, 3D
NEW YORK, NY 10009                               P‐0007968 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESQUEDA, GAIL J.
5733 DOGWOOD PL
MADISON, WI 53705                                P‐0007969 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLAGHER, KAREN L.
617 ANGIELEE AVE
WILLIAMSTOWN, NJ 08094                           P‐0007970 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAATZ, ALAN J.
LAATZ, ALANE L.
621 S MADISON AVE
LA GRANGE, IL 60525‐2804                         P‐0007971 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, PAMELA D.
5435 JACOB DR
GRAND PRAIRIE, TX 75052                          P‐0007972 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                          Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
PALSGAARD‐ANGLIN, ROBERT L.
PALSGAARD‐ANGLIN, JENS M.
403 TREE LODGE PKWY
LITHIA SPRINGS, GA 30122‐2136                         P‐0007973 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
AAL, MARVIN
333 S MONROE
APT 511
DENVER, CO 80209                                      P‐0007974 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
PETRAGLIA, RICHARD P.
576 NAUGHTON AVENUE
STATEN ISLAND, NY 10305                               P‐0007975 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
EDWARDS, SHIRLEY R.
SAXON WOODS DRIVE
ATHENS, GA 30607                                      P‐0007976 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
FLOYD, ROSA LOUISE
11150 BIG CANOE
102 HIGHLAND FARMS CT
BIG CANOE, GA 30143                                   P‐0007977 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SANDERS, SHEILA A.
320 APACHE TRAIL
MURPHY, TX 75094                                      P‐0007978 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
JEONG, CHANG KEON
JEONG, WON JOO
1727 SOLAMERE COURT
AUBURN, AL 36832                                      P‐0007979 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
DONOVAN, JOSEPH E.
5 BECKET ROAD
MANALAPAN, NJ 07726                                   P‐0007980 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
GROYSMAN, CHANITA
46 VAN HOUTEN AVE
PASSAIC, NJ 07055                                     P‐0007981 10/28/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                     $1,500.00
TSEYTLIN, MARK J.
24 SHERRI DR
N. PROVIDENCE, RI 02911                               P‐0007982 10/28/2017    TK Holdings Inc., et al .                 $3,000,000.00                                                                                $3,000,000.00
REID, FITZANN R.
4515A WICHITA AVE
ST. LOUIS, MO 63110                                   P‐0007983 10/28/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                    $15,000.00
SMITH, GINA R.
111 CLEMENT ROAD
BELTON, SC 29627                                      P‐0007984 10/28/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                     $5,000.00
HELMUTH, RICHARD W.
HELMUTH, LAUREN A.
9514 LAGERSFIELD CIRCLE
VIENNA, VA 22181                                      P‐0007985 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
REED, JAMES C.
2169 BLUEBERRY LANE
CONYERS, GA 30013                                     P‐0007986 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
REED, JAMES C.
2169 BLUEBERRY LANE
CONYERS, GA 30013                                     P‐0007987 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SCHECHTER, WENDY C.
521 WOODFIELD ROAD
WEST HEMPSTEAD, NY 11552                              P‐0007988 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
HALE, DALE E.
4846 E GLENWOOD DR.
DECATUR, IL 62521                                     P‐0007989 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BREAUX, LINDA J.
3535 PATTISON STREET
EUGENE
, OR 97402                                           P‐0007990 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAY, ROBERT D.
5039 NORTHBARTON ROAD
LYNDHURST, OH 44124‐1145                             P‐0007991 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWENS, JOSEPH B.
330 MICHELLE CT.
JONESBORO, GA 30238/3017                             P‐0007992 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACREADY, WILLIAM J.
31 MAPLEWOOD AVENUE
CRANBURY, NJ 08512                                   P‐0007993 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERIKSSON, ERIK A.
2209 DUNSTAN RD
HOUSTON, TX 77005‐2625                               P‐0007994 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART‐GATES, BOBBIE J.
264 GRATTAN STREET
1ST FLOOR
CHICOPEE, MA 01020‐1337                              P‐0007995 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELVIN, GEORGE
60‐10 47TH AVENUE
APT 17C
WOODSIDE, NY 11377                                   P‐0007996 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAUGHN, JOHN J.
2401 S COUNTY TRL
WEST KINGSTON, RI 02892                              P‐0007997 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHAM, NHI T.
CHU, ROBERT P.
4509 CARTER CREEK #5
BRYAN, TX 77802                                      P‐0007998 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANTRALES, PETER C.
KANTRALES, JESSICA H.
475 CHINQUAPIN DRIVE
GULF BREEZE, FL 32563‐9235                           P‐0007999 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEXANDER, BRITTNEY E.
2510 LOFURNO ROAD
CHESAPEAKE, VA 23323                                 P‐0008000 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BATTISTA, JANET R.
154 KENSINGTON DRIVE
MADISON, WI 53704                                    P‐0008001 10/28/2017    TK Holdings Inc., et al .                   $12,500.00                                                                                   $12,500.00
COLLINS, STEVEN G.
15226 S. 26TH STREET
PHOENIX, AZ 85048                                    P‐0008002 10/28/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
BREHM, BRIAN C.
18 JOB ROAD
INWOOD, WV 25428                                     P‐0008003 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORTON, TERRENCE P.
162 BREEZE AVE.
RONKONKOMA, NY 11779                                 P‐0008004 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOMALL, JAN M.
500 GARVER RD
MANSFIELD, OH 44903                                  P‐0008005 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRIN, PATRICK O.
203 HOLMAN STREET
GREENWOOD, SC 29649                                  P‐0008006 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
DWYER, MICHAEL
907 APRIL RAIN RD.
LAWRENCE, KS 66049                                   P‐0008007 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, ELENA L.
32 LISA LANE
GEORGETOWN, MA 01833                                 P‐0008008 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGINS, JOSH
2925 GARLAND ST
LEAVENWORTH, KS 66048                                P‐0008009 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YORK, SHARLA A.
765 S 3200 W
LOGAN, UT 84321                                      P‐0008010 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLK, JACQUELINE M.
700 BIRCH KNOT COURT
LEXINGTON, SC 29073                                  P‐0008011 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANNIX, NORMA J.
40 STONE PINE CT
PIKESVILLE, MD 21208‐1038                            P‐0008012 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROUGHER, JARED L.
BROUGHER, HEATHER I.
2158 SILHOUETTE
EUGENE, OR 97402                                     P‐0008013 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TASTAD, DOUGLAS T.
304 OLD LANDING ROAD
YORKTOWN, VA 23692                                   P‐0008014 10/28/2017    TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
BROUGHER, HEATHER I.
BROUGHER, JARED L.
2158 SILHOUETTE
EUGENE, OR 97402                                     P‐0008015 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AOBDIA, DANIEL
202 GOLF TER
WILMETTE, IL 60091                                   P‐0008016 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, ADAM R.
700 BIRCH KNOT COURT
LEXINGTON, SC 29073                                  P‐0008017 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGO, LINH
13980 W 78TH AVE
ARVADA, CO 80005                                     P‐0008018 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, SUZANNE M.
74 WEST STREET
UNIT 6
ATTLEBORO, MA 02703                                  P‐0008019 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAUER, SABINE
DUBEY, MANVENDRA
1221 SAN ILDEFONSO ROAD
LOS ALAMOS, NM 87544                                 P‐0008020 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOSKINS, DEANNA R.
3650 S GLEBE RD
UNIT 1146
ARLINGTON, VA 22202                                  P‐0008021 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGHIEM, SAMYN
88 PINE ST
MILLBURN, NJ 07041                                   P‐0008022 10/28/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
ALLEN, TRAVIS
880 SNYDER CORNER RD
RED LION, PA 17356                                   P‐0008023 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
REISBERG, SAMANTHA G.
SANTIFUL, KENNETH E.
207 PATRICIAN DRIVE
HAMPTON, VA 23666                                    P‐0008024 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, REGINALD T.
1700 N. 103RD AVENUE
APT. 1090
AVONDALE, AZ 85392                                   P‐0008025 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, TONI A.
2111 VONDRON RD
MAD, WI 53716                                        P‐0008026 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALLDEN, MATHEW P.
37 JONATHAN RD
SELINSGROVE, PA 17870                                P‐0008027 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, ELENA L.
32 LISA LANE
GEORGETOWN, MA 01833                                 P‐0008028 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHHETRI, JIWAN
8761 CEDAR MEADOW CT
VIENNA, VA 22180                                     P‐0008029 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HWA, GERRY A.
2813 E PONTIAC DRIVE
PHOENIX, AZ 85050                                    P‐0008030 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEI, JUN
640 HIBBARD ROAD
WILMETTE, IL 60091                                   P‐0008031 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHHETRI, JIWAN
8761 CEDAR MEADOW CT
VIENNA, VA 22180                                     P‐0008032 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, RAYMOND J.
102 YEONAS DR SW
VIENNA, VA 22180                                     P‐0008033 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, ZIE W.
READ, ERIK K.
114 BULLARD CIR
ROCKVILLE, MD 20850                                  P‐0008034 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALLIS, MARSHA L.
CALLIS, DENNIS M.
15593 E INDIAN GRASS AVE
PARKER, CO 80134                                     P‐0008035 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERZBERG, STEVEN M.
HERZBERG, WENDY P.
1987 DOGWOOD DRIVE
SCOTCH PLAINS, NJ 07076                              P‐0008036 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALLDEN, MATHEW P.
37 JONATHAN RD
SELINSGROVE, PA 17870                                P‐0008037 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNGBLOOD, HELEN
110 MAGNOLIA DR. N.W
MILLEDGEVILLE, GA 31061                              P‐0008038 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERZBERG, STEVEN M.
HERZBERG, WENDY P.
1987 DOGWOOD DRIVE
SCOTCH PLAINS, NJ 07076                              P‐0008039 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
TORO, BETT
1355 FOUR SEASONS BLVD
TAMPA, FL 33613                                     P‐0008040 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALLIS, DENNIS M.
CALLIS, MARSHA L.
15593 E INDIAN GRASS AVE
PARKER, CO 80134                                    P‐0008041 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOCHATZER, FRANK V.
5205 NW 85TH STREET
KANSAS CITY, MO 64154‐2741                          P‐0008042 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAUGH, DANIEL
707 NW 60TH
APT 2
KANSAS CITY, MO                                     P‐0008043 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAAS, JOHN I.
105 REDWOOD RD
COLUMBIA, MO 65203                                  P‐0008044 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERMONT, STEPHANIE A.
601 MISSION LANE
HOWEY IN THE HIL, FL 34737                          P‐0008045 10/28/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
MIGALSKA, PAULINA M.
114 ROBERTS LN. #301
ALEXANDRIA, VA 22314                                P‐0008046 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARSEN, MARY J.
186 DORCHESTER DRIVE
SALT LAKE CITY, UT 84103                            P‐0008047 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASIWALA, ABDULLA
5134 SILLARY
ANCHORAGE, AK 99508                                 P‐0008048 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, CORRINE T.
8713 MOSQUERO CIRCLE
AUSTIN, TX 78748                                    P‐0008049 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOSTRZEWA, DENNIS M.
KOSTRZEWA, DOLORES M.
277 TOWER HILL DRIVE
ST CHARLES, IL 60175                                P‐0008050 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIBERT, LACRISHA V.
829 CARRIELAND DR
D
GREENSBORO, NC 27405                                P‐0008051 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHRENDT, CHERYL M.
331 CASTLE COVE WAY
HARTFORD, WI 53027                                  P‐0008052 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIGSBY, FRED O.
102 SAN JACINTO
WAXAHACHIE, TX 75165                                P‐0008053 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECHAINE, RENE P.
4750 WILLOWS RD
CHESAPEAKE BEACH, MD 20732                          P‐0008054 10/28/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
VALERA, INMACULADA C.
139 HOBART STREET
HACKENSACK, NJ 07601                                P‐0008055 10/28/2017    TK Holdings Inc., et al .                    $2,400.00                                                                                    $2,400.00
MCCAFFERY, ANNA
607 MADISON ST
DENVER, CO 80206                                    P‐0008056 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BAER, ANNABEL J.
3310 MEMORIAL ST
ALEXANDRIA, VA 22306                                P‐0008057 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VICKERS, JACK W.
VICKERS, COLLETTE K.
8420 W. AUDREY LN.
PEORIA, AZ 85382                                    P‐0008058 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCAFFERY, ANNA
607 MADISON ST
DENVER, CO 80206                                    P‐0008059 10/28/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
LEWIS, VINSON L.
1241 SUMMERSIDE DRIVE
DESOTO, TX 75115                                    P‐0008060 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSBY, CHERYL D.
191 BENJAMIN DR.
ROCKMART, GA 30153                                  P‐0008061 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRAY, CHRISTOPHER M.
1048 TIA DRIVE
BETHLEHEM, GA 30620                                 P‐0008062 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WYATT, MELISSA
BOX 323
AMANA, IA 52203                                     P‐0008063 10/28/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
BARRY, KAREN J.
8718 FLINT LANE
ORLAND PARK, IL 60462                               P‐0008064 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TULL, GARRY D.
815 18TH STREET SOUTH
APT 407
ARLINGTON, VA 22202                                 P‐0008065 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRY, KAREN J.
8718 FLINT LANE
ORLAND PARK, IL 60462                               P‐0008066 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TULL, GARRY D.
815 18TH STREET SOUTH
APT 407
ARLINGTON, VA 22202                                 P‐0008067 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, MINNIE
158 EAST 144TH STREET
RIVERDALE, IL 60827                                 P‐0008068 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENNEWEIN, JOYCE E.
14248 ALTOCEDRO DRIVE
DELRAY BEACH, FL 33484                              P‐0008069 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOMAR, GARY A.
16738 W SHERIDAN ST
GOODYEAR, AZ 85395                                  P‐0008070 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIDDLETON, GINA L.
22120 SCOTT DR
RICHTON PARK, IL 60471                              P‐0008071 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAZZANO, NECIA
262 PINE VALLEY RD
DOVER, DE 19904                                     P‐0008072 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLOPOTOWSKA, IRENA
16864 W BELLEVIEW ST
GOODYEAR, AZ 85338                                  P‐0008073 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
JOHNSON, ANDRE J.
403 GRANVILLE COURT
HAVRE DE GRACE, MD 21078                           P‐0008074 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WU, CYNTHIA
151 LAKEVIEW DR, APT 202
WESTON, FL 33326                                   P‐0008075 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR‐HAMILTON, CARRIE A.
4724 N CASHEL CIRCLE
HOUSTON, TX 77069                                  P‐0008076 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, FRED
4414 BAINTREE ROAD
UNIVERSITY HEIGH, OH 44118                         P‐0008077 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REIN, VANESSA
9606 HILL CREEK DR
VERONA, WI 53593                                   P‐0008078 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOVALCHUK, MONICA K.
2091 PERCH LN SW
NISSWA, MN 56468‐2028                              P‐0008079 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, TIMOTHY F.
3303 FRESHMEADOWS DRIVE
HOUSTON, TX 77063‐6201                             P‐0008080 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REIN, ALEX
9606 HILL CREEK DR
VERONA, WI 53593                                   P‐0008081 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUI, KHANG N.
4707 LAURIEFROST CT
ALEXANDRIA, VA 22309                               P‐0008082 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERSON, RICHARD A.
70 FIELD STREET
SEEKONK                                            P‐0008083 10/28/2017    TK Holdings Inc., et al .                    $7,350.00                                                                                    $7,350.00
HARRIS, VICTOR T.
3921 JONATHAN SIMPSON DRIVE
JOLIET, IL 60431                                   P‐0008084 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STARK, BARBARA
84 FAIRVIEW PLACE
APT 2
SEA CLIFF, NY 11679                                P‐0008085 10/28/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANDLER, KAREN
140 VAN GOGH WAY
ROYAL PALM BEACH                                   P‐0008086 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANDLER, MARK
140 VAN GOGH WAY
ROYAL PALM BEACH                                   P‐0008087 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SULLIVAN, LISA M.
SULLIVAN, LISA M.
P.O. BOX 10494
GREENSBORO, NC 27404                               P‐0008088 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INGRAM, MATTHEW M.
1614 W EARLL DR
PHOENIX, AZ 85015                                  P‐0008089 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORAKPO‐WHITE, DEBBIE N.
3400 WAVECREST LN
DENTON, TX 76208                                   P‐0008090 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, RAHUL S.
193 SPRINGVILLE AVE
BUFFALO, NY 14226                                  P‐0008091 10/29/2017    TK Holdings Inc., et al .                    $4,500.00                                                                                    $4,500.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CHUN, YEJI
NO ADDRESS PROVIDED
                                                    P‐0008092 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHONEY, WINOM J.
7301 N FM 620
STE 155, (#147)
AUSTIN, TX 78726                                    P‐0008093 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYSER, CHRISTOPHER M.
RYSER, DEBRA K.
6224 E 129TH STREET
GRANDVIEW, MO 64030                                 P‐0008094 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KASRAVI, SHEILA
1141 ROBEY AVE
DOWNERS GROVE, IL 60516                             P‐0008095 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRO, MARLEEN G.
13988 EAST GERONIMO RD
SCOTTSDALE, AZ 85259                                P‐0008096 10/29/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
ABERNATHY, JAMES L.
ABERNATHY, WYNNE M.
1231 HOBSON DRIVE
ST. LOUIS, MO 63135                                 P‐0008097 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIS, FELICIA D.
P.O. BOX 6761
MOBILE, AL 36660                                    P‐0008098 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, EDWARD A.
WILSON, ELIZABETH A.
75 QUAIL RUN DRIVE
TALKING ROCK, GA 30175                              P‐0008099 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GETTES, GILBERT R.
GETTES, CHERYL L.
1239 PONCE DE LEON AVE.
LAS VEGAS, NV 89123                                 P‐0008100 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANKENSHIP, BILL H.
800 S BLAINE ST
PEORIA, IL 61605                                    P‐0008101 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REISE, CHARLINE E.
3503 WINTERGREEN LANE
SAINT LOUIS, MO 63125                               P‐0008102 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERWOOD, GARY S.
KERWOOD, ELIZABETH A.
2750 PEAVINE PINES CT.
RENO, NV 89523                                      P‐0008103 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEELE, ALISA R.
1191 JONES STREET
ROBERSONVILLE, NC 27871                             P‐0008104 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKOWSKI, ROBERT E.
JACKOWSKI, REGINA L.
1210 MARY IRENE RD.
NEW BADEN, IL 62265                                 P‐0008105 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHODIEV, AZAMAT
ASROROVA, GULSHAN
12522 E EVANS CIR
UNIT D
AURORA, CO 80014                                    P‐0008106 10/29/2017    TK Holdings Inc., et al .                   $14,178.00                                                                                   $14,178.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
REINHART, CHARLES R.
5639 TRACY DR
PITTSBURGH, PA 15236                                P‐0008107 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLONDER, SUSAN A.
39 BARNSTABLE STREET
SWAMPSCOTT, MA 01907                                P‐0008108 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERENCUHA, LISA A.
225 SANDWORKS ROAD
HUNKER, PA 15639                                    P‐0008109 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYNE, MONICA L.
9855 MILL CENTRE DR
APT 355
OWINGS MILLS, MD 21117                              P‐0008110 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EGAN, BRIAN J.
EGAN, AMY W.
3505 DUNDEE DR
CHEVY CHASE, MD 20815                               P‐0008111 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMAN, JOHN R.
3285 GWENGREEN DRIVE
BRIDGETON, MO 63044                                 P‐0008112 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOWERS, KRISTOPHER A.
132 HIDDEN LAKES DRIVE
GRAY, GA 31032                                      P‐0008113 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, JENNA L.
5929 KINGSMONT DR
FAIRFIELD, OH 45014                                 P‐0008114 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNTERMAN, JASON S.
115 MAPLE AVE
FAIR HAVEN, NJ 07704                                P‐0008115 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, DAVID F.
419 DOGWOOD AVENUE
EGG HARBOR TWP., NJ 08234                           P‐0008116 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIREMAN, STEPHAN A.
P.O. BOX 19
8085 N. MAIN ST.
OLD FORT, OH 44861                                  P‐0008117 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JASSIN, LAWRENCE E.
JASSIN, LISA K.
901 ASHETON CT NE
MARIETTA, GA 30068                                  P‐0008118 10/29/2017    TK Holdings Inc., et al .                   $40,000.00                                                                                   $40,000.00
BADIK, MARC
BADIK, DENISE M.
127 DORCHESTER DRIVE
EAST WINDSOR, NJ 08520                              P‐0008119 10/29/2017    TK Holdings Inc., et al .                  $900,000.00                                                                                  $900,000.00
BADIK, MARC
BADIK, DENISE M.
127 DORCHESTER DRIVE
EAST WINDSOR, NJ 08520                              P‐0008120 10/29/2017    TK Holdings Inc., et al .                  $750,000.00                                                                                  $750,000.00
SHAW, BETTY L.
1430 REGENCY ROAD
UNIT A103
GULF SHORES, AL 36542                               P‐0008121 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATERWORTH, PEGGY J.
110 CASTLETOWN RD
UNIT 201
TIMONIUM, MD 21093                                  P‐0008122 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
ORTIZ, ALINA R.
8603 CHADWICK DR
TAMPA, FL 33635                                    P‐0008123 10/29/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BOWLING, DAVID M.
BOWLING, CHRISTINE P.
37 SANDERSON ROAD
LEXINGTON, MA 02420                                P‐0008124 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELANSON, KAREN B.
33 MONTVALE AVE
UNIT 4
WOBURN, MA 01801                                   P‐0008125 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OCONNOR, WILLIAM J.
4 HIGH PINE AVENUE
BURLINGTON, MA 01803                               P‐0008126 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWER, CHRISTOPHER A.
BOWER, JACQUELIN V.
12175 STATE ROUTE 405
WATSONTOWN, PA 17777                               P‐0008127 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OCONNOR, WILLIAM J.
4 HIGH PINE AVENUE
BURLINGTON, MA 01803                               P‐0008128 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEEK, TYLER A.
309 COLWICK LANE
MORRISVILLE, NC 27560                              P‐0008129 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZILEMPE, EDWARD J.
76 MAYFAIR ROAD
POUGHQUAG, NY 12570                                P‐0008130 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABARR, SHARLET A.
16001 CROOM AIRPORT RD
UPPER MARLBORO, MD 20772‐8396                      P‐0008131 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOUSER, JAMES
4654 MAPLEWOOD RD
WEST TOPSHAM, VT 05086                             P‐0008132 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHANE, SCOTT
2966 MANCHESTER ROAD
SHAKER HEIGHTS, OH 44122                           P‐0008133 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HRANEK, MICHAEL R.
68 JEFFERSON DRIVE
HILLSBOROUGH, NH 03244                             P‐0008134 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAROSKI, STEPHEN
19877 STRAUGHN RD
FARMINGTON, MO 63640                               P‐0008135 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIAL, CHARLES K.
2 LAKEMOORE DRIVE
ROME, GA 30161                                     P‐0008136 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAPOPORT, MATTHEW
186 SIEGEL BLVD
BABYLON, NY 11702                                  P‐0008137 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIAL, CHARLES K.
2 LAKEMOORE DRIVE
ROME, GA 30161                                     P‐0008138 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYER, JAMES
146 MCCREADY AVE
LOUISVILLE, KY 40206                               P‐0008139 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
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                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LAWLER, BRYAN K.
210 DEBBIE LANE
RINGGOLD, GA 30736                                    P‐0008140 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAVALOV, ANDREW R.
3 GARNET LANE
WEST WINDSOR, NJ 08550                                P‐0008141 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, TANYA H.
2 CHESTER ST.
APT. B
CAMBRIDGE, MA 02140                                   P‐0008142 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, TINA T.
8095 S. MAYFIELD LANE
MECHANICSVILLE, VA 23111                              P‐0008143 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, MONTE J.
3600 S GLEBE RD #716
ARLINGTON, VA 22202                                   P‐0008144 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIO, THOMAS P.
308 ATLANTIC AVENUE
PT. PLEASANT BEA, NJ 08742                            P‐0008145 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JINDAL, ASHWINI
4785 PRATHER FARM CIRCLE
CUMMING, GA 30030                                     P‐0008146 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETTY, DAVID S.
PETTY, LISA T.
1873 FINSBURY LANE
VIRGINIA BEACH, VA 23454                              P‐0008147 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STONE, SHAWN
8460 CANYON CROSSING
LANTANA, TX 76226                                     P‐0008148 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELLINGER, GLORIA
237 TAUNTON ROAD
FAIRFIELD, CT 06824                                   P‐0008149 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAVALOV, ANDREW R.
3 GARNET LANE
WEST WINDSOR, NJ 08550                                P‐0008150 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, MONTE J.
3600 S GLEBE RD #716
ARLINGTON, VA 22202                                   P‐0008151 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STONE, SHAWN
8460 CANYON CROSSING
LANTANA, TX 76226                                     P‐0008152 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECHEVERRY, DONNA M.
111 LARSEN DRIVE
AMITYVILLE, NY 11701                                  P‐0008153 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALSTON, MICHAEL J.
109 HADDINGTON DRIVE
COLUMBIA, SC 29229                                    P‐0008154 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAVALOV, ANDREW R.
3 GARNET LANE
WEST WINDSOR, NJ 08550                                P‐0008155 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIO, THOMAS P.
308 ATLANTIC AVENUE
PT. PLEASANT BEA, NJ 08742                            P‐0008156 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, SHEENA R.
2112 NEWTON ROAD
HAMPTON, VA 23663                                     P‐0008157 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WELCH, GARY M.
6338 BRIAR HILL RD.
PARIS, KY 40361                                     P‐0008158 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAEBENER, STEPHEN T.
430 GRANITE ST
QUINCY, MA 02169                                    P‐0008159 10/29/2017    TK Holdings Inc., et al .                    $2,700.00                                                                                    $2,700.00
STONE, KERRI
8460 CANYON CROSSING
LANTANA, TX 76226                                   P‐0008160 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECHEVERRY, ALEJANDRO
111 LARSEN DRIVE
AMITYVILLE, NY 11701                                P‐0008161 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEATTIE, BARBARA R.
9475 LEYLAND DR
OOLTEWAH, TN 37363                                  P‐0008162 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOFSTEDT, JOL
LOFSTEDT, TODD
520 MANORWOOD LANE
LOUISVILLE, CO 80027                                P‐0008163 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANDISH, LAURENCE A.
STANDISH, CONSTANCE
                                                    P‐0008164 10/29/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
PICCHI, EDWARD A.
5134 OAK VALLEY DRIVE
MADISON, WI 53704                                   P‐0008165 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAND, KRYSTAL L.
257 WEST AVENUE
PATCHOGUE, NY 11772                                 P‐0008166 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTHLOW, CANDACE S.
4326 BEALL BLVD
ABILENE, TX 79606‐5422                              P‐0008167 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, STEPHEN P.
LUANN
2446 N. ALAMO
MESA, AZ 85213                                      P‐0008168 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONOVAN, ROBERT W.
38 MAYFLOWER DRIVE
WENHAM, MA 01984                                    P‐0008169 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIO, THOMAS P.
308 ATLANTIC AVENUE
PT. PLEASANT BEA, NJ 08742                          P‐0008170 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERCE, JASON
10A MYRTLE ST
PITTSFIELD, MA 01201                                P‐0008171 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIFT, ERIC S.
6900 CHOCTAW RIDGE ROAD NE
CEDAR RAPIDS, IA 52411                              P‐0008172 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, MARIANNE A.
3378 W 130TH ST
CLEVELAND, OH 44111                                 P‐0008173 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEATTIE, BARBARA R.
9475 LEYLAND DR
OOLTEWAH, TN 37363                                  P‐0008174 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REBSTOCK, MARY S.
3230 CUMBERLAND RD APT 77
OCEAN SPRINGS, MS 39564                             P‐0008175 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
FINKELSTEIN, SETH
160 E ORCHARD ST
ALLENDALE, NJ 07401                                  P‐0008176 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, MARIANNE
HOWARD, MARIANNE
3 SEAL HARBOR RD
UNIT 843
WINTHROP, MA 02152                                   P‐0008177 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACMULLEN, IAN R.
FAYANJU, OLUWADAMILO M.
501 CASWELL ROAD
CHAPEL HILL, NC 27514                                P‐0008178 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HADFIELD, ROXANNE
15 CINDERELLA LANE
SAINT JAMES, NY 11780                                P‐0008179 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHIS, KATIE E.
14210 S. 84TH AVENUE
ORLAND PARK, IL                                      P‐0008180 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYCANS, HEATHER G.
33 PINE LAKE DRIVE
WHISPERING PINES, NC 28327                           P‐0008181 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEBLANC, DARLA J.
LEBLANC, CEDRIC J.
721 80TH AVE SE
NORMAN, OK 73026                                     P‐0008182 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PECOURT, JEAN‐MARC L.
TERZIEVA, RADOSLAVA V.
1834 WESTWOOD AVE
COLUMBUS, OH 43212                                   P‐0008183 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULBERTSON, JOHN
12916 HOUNDSTOOTH WAY
HENRICO, VA 23233                                    P‐0008184 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
XU, SHAOFAN
1319 MERLOT DR.
BEL AIR, MD 21015                                    P‐0008185 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GITKIN, MATTHEW
16038 130TH AVE N
JUPITER, FL 33478                                    P‐0008186 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOODY, JANLYN L.
9921 RAINBOW DRIVE
KNOXVILLE, TN 37922‐5108                             P‐0008187 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONTI, DANA
3209 NW 23RD TERRACE
BOCA RATON, FL 33431                                 P‐0008188 10/29/2017    TK Holdings Inc., et al .                     $400.00                                                                                       $400.00
SMITH, DAVID C.
1 CHADDBURY LANE
CHADDS FORD, PA 19317                                P‐0008189 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOBEL, MICHAEL J.
8328 THE MIDWAY
ANNANDALE, VA 22003                                  P‐0008190 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, JULIE A.
700 RESERVE BLVD.
APT 412
EVANSVILLE, IN 47715                                 P‐0008191 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SPAYD, MICHELLE
21 NAOMI AVE
LANDISVILLE, PA 17538                                P‐0008192 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, CATHERINE M.
19H MAPLE STREET
BRUNSWICK, ME 04011                                  P‐0008193 10/29/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
SMITH, DAVID C.
1 CHADDBURY LANE
CHADDS FORD, PA 19317                                P‐0008194 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTILLI, CAROLINA
4215 HILLCREST AVE
ALIQUIPPA, PA 15001                                  P‐0008195 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENTLEY, STEPHEN J.
2625 SADDLEBACK DR
CINCINNATI, OH 45244                                 P‐0008196 10/29/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
CARVER, DONNA JEAN
1801 BECKER AV SE #306
WILLMAR, MN 56201                                    P‐0008197 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAUGHN, MICHAEL S.
6997 CROW RD
SAN ANTONIO, TX 78263                                P‐0008198 10/29/2017    TK Holdings Inc., et al .                     $355.06                                                                                       $355.06
HARRIS, WILLIAM A.
4616 BRITTLES LN
RICHMOND, VA 23231                                   P‐0008199 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARRELL, DAWN M.
9 SEAMEADOW DRIVE
LITTLE EGG HBR, NJ 08087                             P‐0008200 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TSANG, CHEUNG
64 AMES ST
QUINCY, MA                                           P‐0008201 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRODBECK, DANA
BRODBECK, ROBERT
306 MONCURE DR.
ALEXANDRIA, VA 22314                                 P‐0008202 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNFORD, BENTON A.
1295 COMMINS RD
AYLETT, VA 23009                                     P‐0008203 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VASILIOU, IRENE C.
109 ROSE LANE
NEW HYDE PARK, NY 11040                              P‐0008204 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHUNG, HAE WON
4371 WINTERS CHAPEL RD
APT 2712
ATLANTA, GA 30360                                    P‐0008205 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, MICHAEL R.
KING, KIM F.
3431 RIVER GARDENS CIR
PENSACOLA, FL 32514                                  P‐0008206 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERICKSON, GLORIA M.
3701 MIRAMAR DR
DENTON, TX 76210                                     P‐0008207 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NERO, SHEILA R.
2133 DELAWARE AVE.
APT. E
GRAFTON, WI 53024                                    P‐0008208 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
NELSON, JULIE A.
700 RESERVE BLVD.
APT. 412
EVANSVILLE, IN 47715                                 P‐0008209 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAWLS, JOHN M.
4954 BELLEMEDE BLVD
NEW PORT RICHEY, FL 34655                            P‐0008210 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILHAVEN, LISA M.
58 POPLETOWN RD
NEW PALTZ, NY 12561                                  P‐0008211 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RITZENBERG, RHODA
1050 N. TAYLOR ST.
APT. 214
ARLINGTON, VA 22201                                  P‐0008212 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, MICHAEL R.
3431 RIVER GARDENS CIR
PENSACOLA, FL 32514                                  P‐0008213 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHRAIER, MARTIN
SCHRAIER, LORI
81 ROCHESTER HILL ROAD
APT 3
ROCHESTER, NH 03867                                  P‐0008214 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANDRUM, CHARLES T.
LANDRUM, BETH T.
3554 CLUSTER CT
THE VILLAGES, FL 32163                               P‐0008215 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIS, KIMBERLY
307 ALPINE DR
DESOTO, TX 75115                                     P‐0008216 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGRATH, KERRY
556 BROWN BROOK ROAD
SOUTHBURY, CT 06488                                  P‐0008217 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODS, JERRY L.
12713 GORDON BLVD
APT 88
WOODBRIDGE, VA 22192                                 P‐0008218 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NERO, SHEILA R.
2133 DELAWARE AVE.
APT. E
GRAFTON, WI 53024                                    P‐0008219 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALTSCHULER, MARC
65 CLINTON AVE
MILLBURN, NJ 07041                                   P‐0008220 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAJANI, SOUAD
68 BARNARD AVENUE
3RD FL
WATERTOWN, MA 02472                                  P‐0008221 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEY JR, ORIN H.
5904 CROSSCOUNTRY BLVD
APT F
BALTIMORE, MD 21215                                  P‐0008222 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, ALICE
47 NEETA TRAIL
MEDFORD, NJ 08055                                    P‐0008223 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
VOZ, DEBRA R.
100 WARREN STREET
APARTMENT 514
JERSEY CITY, NJ 07302                               P‐0008224 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGARWAL, MUDIT
201 PARSONAGE RD
EDISON, NJ 08837                                    P‐0008225 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUNOR, KEITH B.
4900 BAYVIEW DRIVE #15
FORT LAUDERDALE, FL 33308                           P‐0008226 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANDICH, KAREN E.
195 SOMERSET LN APT 9
AAVON LAKE, OH 44012‐3244                           P‐0008227 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLOTZBACH, JOHN C.
10154 ELLERBE ROAD
SHREVEPORT, LA 71106                                P‐0008228 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARGIOTTI, HEIDI A.
MARGIOTTI, VINCENT D.
216 UPPER STUMP ROAD
CHALFONT, PA 18914                                  P‐0008229 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSSI, DIANE
500 BAY AVENUE
UNIT 604 SOUTH
OCEAN CITY, NJ 08226                                P‐0008230 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TACHER, ROBERT D.
TACHER, DOLLY D.
16919 N BAY RD
APT 221
SUNNY ISLES BCH, FL 33160                           P‐0008231 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FATTORI, JOSEPH E.
10 JACOBS MEADOW ROAD
EAST SANDWICH, MA 02537                             P‐0008232 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARGIOTTI, VINCENT D.
216 UPPER STUMP ROAD
CHALFONT, PA 18914                                  P‐0008233 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FATTORI, JOSEPH E.
10 JACOBS MEADOW ROAD
EAST SANDWICH, MA 02537                             P‐0008234 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOUGH, EDWARD P.
117 EDGEMERE RD
PAWTUCKET, RI 02861                                 P‐0008235 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOSKINS, DEANNA R.
3650 S GLEBE RD
UNIT 1146
ARLINGTON, VA 22202                                 P‐0008236 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUFF, JOSEPH L.
562 NEW POST RD
MADISON, GA 30650                                   P‐0008237 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, VICTORIA L.
ROBINSON, SCOTT K.
37 WINDOVER LANE
MERRIMACK, NH 03054                                 P‐0008238 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESCHENES, DAWN
42 PEABODY STREET
MIDDLETON, MA 01949                                 P‐0008239 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BLUMENTHAL, STEVEN H.
4003 RUTGERS LN
NORTHBROOK, IL 60062                                P‐0008240 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORBETT‐DEAVERS, ERIN L.
DEAVERS, DAVID A.
9023 N BYFIELD AVE
KANSAS CITY, MO 64154                               P‐0008241 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACHOL, DENNIS R.
195 CAMP AVE
NEWINGTON, CT 06111                                 P‐0008242 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALLOCK, STEVE
24 POPLAR RIDGE RD
DAHLONEGA, GA 30533                                 P‐0008243 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTOYA, KRISTINA L.
199 PIN OAK DRIVE
MADISON, AL 35758                                   P‐0008244 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEAVERS, KORY R.
455 FAIRWAY CIRCLE
EDGERTON, WI 53534                                  P‐0008245 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JACOB
303 N. TEDIN AVE
ROSHOLT, SD 57260                                   P‐0008246 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTILLO, BILL O.
CASTILLO, PHILLIS F.
BILL O. CASTILLO
2608 2ND STREET SOUTH
ARLINGTON, VA 22204                                 P‐0008247 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, ALLAN R.
6 JUSTIN ROAD
HARRISON, NY 10528                                  P‐0008248 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRY, STEVEN S.
2 ISLANDER COURT
MILLER PLACE, NY 11764                              P‐0008249 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTER, FELIX D.
830 CRANBERRY RD
ETHELSVILLE, AL 35461                               P‐0008250 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYER, JESSICA R.
4 HEMLOCK COURT
EAST BRUNSWICK, NJ 08816                            P‐0008251 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMEC, ELIZABETH R.
149 E ADAMS ST
CAMBRIDGE, WI 53523                                 P‐0008252 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SABATINO, MARYANNE
49 WASHINGTON AVE
MASTIC BEACH, NY 11951                              P‐0008253 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, KRISTINE M.
303 FRANKLIN ST
BELLEVUE, IA 52301                                  P‐0008254 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOFFORD, CHARICE
6928 BLANCHE ROAD
BALTIMORE, MD 21215                                 P‐0008255 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEMIRE, PAUL
WONG, ELAINE
142 SACKETT STREET
FLOOR 3
BROOKLYN, NY 11231                                  P‐0008256 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
HOPPER, ANNE D.
1740 CHOPIN DRIVE
CHARLOTTESVILLE, VA 22903                          P‐0008257 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEELE, FREDERICK
40 GLISTENING GLEN CT
NEWNAN, GA 30265                                   P‐0008258 10/29/2017    TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
CASTILLO, BILL O.
CASTILLO, PHILLIS F.
BILL O. CASTILLO
2608 2ND STREET SOUTH
ARLINGTON, VA 22204                                P‐0008259 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, CASANDRA
303N. TEDIN AVE
ROSHOLT, SD 57260                                  P‐0008260 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SABATINO, MARYANNE
49 WASHINGTON AVE
MASTIC BEACH, NY 11951                             P‐0008261 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAWORTH, DAVID A.
10 GLADIOLA LANE
LUMBERTON, NJ 08048                                P‐0008262 10/29/2017    TK Holdings Inc., et al .                    $5,200.00                                                                                    $5,200.00
BROCH, KARA
90 ACTON RD
CHELMSFORD, MA 01824                               P‐0008263 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEBERT, RONALD M.
HEBERT, DIANE T.
1035 DOVER LANE
AYLETT, VA 23009                                   P‐0008264 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WSZOLEK, JOSEPH A.
6444 PORTAGE AVENUE
PORTAGE, IN 46368                                  P‐0008265 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRETT, MARK W.
130 PALMER ADAH ROAD
ADAH, PA 15410                                     P‐0008266 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICEWICZ, PETER P.
43 FENDALL AVE
ALEXANDRIA, VA 22304                               P‐0008267 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, BRIAN K.
5530 OAK STREET
KANSAS CITY, MO 64113                              P‐0008268 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEBARBERIE JR., JOHN W.
40 TAYLOR AVE.
NORTH MIDDLETOWN, NJ 07748                         P‐0008269 10/29/2017    TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
DUMONT, DEBORAH D.
8711 FALKSTONE LANE
ALEXANDRIA, VA 22309                               P‐0008270 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, JEFFREY L.
3 WHITE PILLARS LANE
HOUSTON, TX 77024                                  P‐0008271 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, JEFFREY L.
3 WHITE PILLARS LANE
HOUSTON, TX 77024                                  P‐0008272 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCINTOSH, ALANA
23846 116TH RD
ELMONT, NY 11003                                   P‐0008273 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                          Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                   Amount
HEBERT, RONALD M.
HEBERT, DIANE T.
1035 DOVER LANE
AYLETT, VA 23009                                    P‐0008274 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
RAND, JULIA C.
14 BROOKS LANE
CHESTER, CT 06412                                   P‐0008275 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
DORAMAJIAN, ELIZABETH
ELIZABETH DORAMAJIAN
79 WHITE BEECHES DRIVE
DUMONT, NJ 07628                                    P‐0008276 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
BEARD, RICHARD A.
15 JUBILEE PLACE
MOONACHIE, NJ 07074                                 P‐0008277 10/29/2017    TK Holdings Inc., et al .                 $1,000,000.00                                                                                $1,000,000.00
COLLINS, JEFFREY L.
3 WHITE PILLARS LANE
HOUSTON, TX 77024                                   P‐0008278 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SHINSKE, STUART
72 VICTOR DRIVE
POUGHKEEPSIE, NY 12603                              P‐0008279 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
PAGOTTO, MELODY L.
40 WEST 4TH STREET
APT 162
PATCHOGUE, NY 11772                                 P‐0008280 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
EDELMAN, COLLEEN A.
30 WEARIMUS ROAD
HO HO KUS, NJ 07423                                 P‐0008281 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ARWINE, SCOTT
48 DINSLEY PL
SPRINBORO, OH 45066                                 P‐0008282 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
CASTILLO, BILL O.
CASTILLO, PHILLIS F.
2608 2ND STREET SOUTH
ARLINGTON, VA 22204                                 P‐0008283 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
MADERA, NICOLE R.
12549 W PALO BREA LANE
PEORIA, AZ 85383                                    P‐0008284 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
BIERMAN, LORRIE A.
NO ADDRESS PROVIDED
                                                    P‐0008285 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SPETT, MILTON C.
MOLLICK, LYNN R.
904 CRANFORD AVENUE
WESTFIELD, NJ 07090                                 P‐0008286 10/29/2017    TK Holdings Inc., et al .                   $10,735.00                                                                                    $10,735.00
ANAYA, EDGAR B.
137 CHAPMAN AVE
FAIRFIELD, CT 06825                                 P‐0008287 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SZLAGA, STACY A.
3314 LONG POINT DR
TOMS RIVER, NJ 08753                                P‐0008288 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
WILSON, LEON
9758 ED WISEMAN TRAIL
SAN ANTONIO, TX 78251‐4912                          P‐0008289 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
NICHOLS, ROBERT S.
430 N. ORANGE
MESA, AZ 85201                                      P‐0008290 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
DIVVALA, MALLIKHARJU R.
23313 ARORA HILLS DR
CLARKSBURG, MD 20871                                 P‐0008291 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDELMAN, KIRK H.
EDELMAN, KIRK H.
30 WEARIMUS ROAD
HO HO KUS, NJ 07423                                  P‐0008292 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARWINE, SCOTT
48 DINSLEY PL
SPRINGBORO, OH 45066                                 P‐0008293 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEBARBERIE, NICOLE
40 TAYLOR AVENUE
MIDDLETOWN, NJ 07748                                 P‐0008294 10/29/2017    TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
DIVVALA, MALLIKHARJU R.
23313 ARORA HILLS DR
CLARKSBURG, MD 20871                                 P‐0008295 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMES, STEPHEN J.
1009 SEARAY COURT
ABINGDON, MD 21009                                   P‐0008296 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TATE‐BIERMAN, DILLON M.
1518 RUDY AVE
MATTOON, IL 61938                                    P‐0008297 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIPIAZZA, MICHAEL C.
21 MARTHAS DRIVE
FREEHOLD, NJ 07728‐8224                              P‐0008298 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIERMAN, LORRIE A.
NO ADDRESS PROVIDED
                                                     P‐0008299 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAIGMILE, JEFFREY S.
CRAIGMILE, CRISTINA P.
1822 EDGEWOOD LANE
CHARLOTTESVILLE, VA 22903                            P‐0008300 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAULNIER, RONALD L.
18 BAYARD AVE
BAYVILLE, NY 11709                                   P‐0008301 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIRILLO, RANDY J.
74 STAGHORN CT
KEYSER, WV 26726                                     P‐0008302 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, R. S.
12305 SUMMERWOOD DR
PAINESVILLE, OH 44077                                P‐0008303 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAVACH, JOANNE T.
1495 BURLINGTON ROAD
CLEVELAND HTS, OH 44118                              P‐0008304 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOURINSON, MICHAEL H.
3338 PIERSON DR
WILMINGTON, DE 19810                                 P‐0008305 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REILY, KELLY E.
5011 SANGER CIRCLE DR
SANGER, TX 76266                                     P‐0008306 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIREY, ALEC C.
SHIREY, ALEC C.
1 AVERY COURT
BALTIMORE, MD 21237                                  P‐0008307 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
STARNER, MARILYN K.
8440 COUNTRY ST. NW
MASSILLON, OH 44646‐9307                             P‐0008308 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, ALAN J.
39 ROCHAMBEAU AVE
DOBBS FERRY, NY 10522                                P‐0008309 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHIAVI, RICHARD V.
2620 MILL CREEK RD
WILMINGTON, DE 19808                                 P‐0008310 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAMIH‐ROTONDO, NADA
2 LINDA COURT
PROVIDENCE, RI 02904                                 P‐0008311 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, R. S.
12305 SUMMERWOOD DR
PAINESVILLE, OH 44077                                P‐0008312 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUNNINGHAM, ROBERT J.
EHRET, GAYLE A.
7988 BERKSHIRE LANE
CASTLE PINES, CO 80108                               P‐0008313 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOURINSON, MICHAEL H.
3338 PIERSON DR
WILMINGTON, DE 19810                                 P‐0008314 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROY, LINDA F.
43 PINYON PL
DERRY, NH 03038‐7347                                 P‐0008315 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTSON, CAROL C.
3115 TINSLEY TERRACE
PRINCE GEORGE, VA 23875                              P‐0008316 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWFORD, MARY
5325 W BUTLER DR , APT 220
GLENDALE, AZ                                         P‐0008317 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENTZER, ERICKA
8 SQUIRE COURT
UNIT 15
NATICK, MA 01760                                     P‐0008318 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WETTERAU, PAUL J.
731 ANDERSON AVE
FRANKLIN SQUARE, NY 11010                            P‐0008319 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STUART, SHERROD E.
STUART, DONNA
928 MACE AVE 3C
BRONX, NY 10469                                      P‐0008320 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARGENT, KAREN L.
181 NORTHWOOD LANE
BETHLEHEM, NH 03574                                  P‐0008321 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUTISTA, BRYAN B.
3549 CROFTS PRIDE DRIVE
VIRGINIA BEACH, VA 23453                             P‐0008322 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMPSON, JON E.
19351 W FAIRVIEW DRIVE
MUNDELEIN, IL 60060                                  P‐0008323 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EICHELBERGER, KATHY Y.
110 DAWN RIDGE LANE
GLASGOW, VA 24555                                    P‐0008324 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MCELROY, PATRICK L.
1009 HOLLY HILL CT
ARLINGTON, TX 76014                                  P‐0008325 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOURINSON, MICHAEL H.
3338 PIERSON DR
WILMINGTON, DE 19810                                 P‐0008326 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMBRA, BETH A.
230 COMPOS ST
SOMERSET, MA 02726                                   P‐0008327 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLESMITH, DENNIS C.
N33 W7161 BUCHANAN ST
CEDARBURG, WI 53012                                  P‐0008328 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULBERTSON, JOHN
12916 HOUNDSTOOTH WAY
HENRICO, VA 23233                                    P‐0008329 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LITTLES, MARK A.
P.O. BOX 474
BORDENTOWN, NJ 08505                                 P‐0008330 10/29/2017    TK Holdings Inc., et al .                    $1,945.54                                                                                    $1,945.54
MASSA, PETER P.
34158 HIGH KNOLL ROAD
LEWES, DE 19958                                      P‐0008331 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STARNER, LOWELL W.
8440 COUNTRY ST. NW
MASSILLON, OH 44646‐9307                             P‐0008332 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWLES, DAVID J.
4936 DELEVAN DR.
LYNDHURST, OH 44124                                  P‐0008333 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, STACEY D.
5406 LURAY LANE
CHARLESTON, WV 25313                                 P‐0008334 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLACE, JONATHAN P.
1334 MILLICENT ROGERS ROAD
EL PRADO, NM 87529                                   P‐0008335 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, WON
280 BOUNDARY ROAD
MARLBORO, NJ 07746                                   P‐0008336 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEATH, GREGORY
10615 COMEAUX LN
RICHMOND, TX 77407                                   P‐0008337 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCMANUS, JAMES W.
6824 VALLEY ROAD
KANSAS CITY M0. 64113‐1929
                                                     P‐0008338 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELLAIRE, JOHN T.
THOMAS M BELLAIRE
400 MCDANIELS CIRCLE #402
CLARENDON HILLS, IL 60514                            P‐0008339 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, DON M.
PHILLIPS, HELEN F.
207 COUNTY ROAD 629
MENTONE, AL 35984‐2214                               P‐0008340 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REES, MARILYN A.
26525 S LYNDSAY DR
CHANNAHON, IL 60410                                  P‐0008341 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
GOLDEN, JAMES J.
4082 WILMINGTON RD
SOUTH EUCLID, OH 44121                              P‐0008342 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINTZE, DREW
11068 E 27TH AVE
DENVER, CO 80238                                    P‐0008343 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANDT, SCOTT
5685 CROSS GATE DRIVE
ATLANTA, GA 30327                                   P‐0008344 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPRAYBERRY, LEO F.
P.O. BOX 445
CORRIGAN, TX 75939                                  P‐0008345 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUDZEN, JANICE V.
9486 MORNING GLORY WAY
HIGHLANDS RANCH, CO 80130‐4490                      P‐0008346 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, JAMIE K.
6410 FORESTSHIRE DR
DALLAS, TX 75230                                    P‐0008347 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONTRATTO, ANNE
CONTRATTO, ANNE
1138 CEDAR CT
CHILLICOTHE 61523                                   P‐0008348 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VERA, RITA
2536 HAYMOND AVE
RIVER GROVE, IL 60171                               P‐0008349 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALLEO, KRISTEN M.
80 KAYLA DRIVE
CANDIA, NH 03034                                    P‐0008350 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONNETTE, MICHAEL N.
15 WESTSIDE DRIVE APT 110
N GROSVENORDALE, CT 06255                           P‐0008351 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KULIKOWSKI, JOHN F.
730 E COCO PLUM CIR. #8
PLANTATION, FL 33324                                P‐0008352 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUNO, FRAANK N.
58 WINDWARD WAY
RED BANK, NJ 07701                                  P‐0008353 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWLETT, CATHERINE A.
9 ROBINSON ROAD
CHICHESTER, NH 03258                                P‐0008354 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCSWEENEY, KYLE C.
1065 BLANCH AVE
NORWOOD, NJ 07648                                   P‐0008355 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIEL, DARLENE
DANIEL, ANTHONY
29 LEISURE COURT
CARROLLTON, GA 30116                                P‐0008356 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLAND, JEFFREY
411 PAYNTER AVE
LEWES, DE 19958                                     P‐0008357 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOHLWEY, DAVID J.
19 DUTCH CREEK DR
LITTLETON, CO 80123                                 P‐0008358 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWANCIGER, DIANNE V.
4536 NW 20 DR.
GAINESVILLE, FL 32605                               P‐0008359 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BONNETTE, LAURA L.
15 WESTSIDE DRIVE APT 110
N GROSVENORDALE, CT 06255                           P‐0008360 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLAND, JEFFREY
411 PAYNTER AVE
LEWES, DE 19958                                     P‐0008361 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWELL, CHRISTIAN L.
228 GLENWOOD DR
NEW BLOOMFIELD, MO 65063                            P‐0008362 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTERFELHAUS, PENNY J.
823 FORT JOHNSON ROAD
CHARLESTON, SC 29412                                P‐0008363 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOULOUSE, PAUL M.
DEFARIA‐TOULOUSE, DALVA A.
4721 OLD DOMINION DRIVE
ARLINGTON, VA 22207                                 P‐0008364 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWLETT, JOHN L.
9 ROBINSON RD
CHICHESTER, NH 03258                                P‐0008365 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIVINGSTON, JOHN
22 S. HOLLY ST.
DENVER, CO 80246                                    P‐0008366 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAWLEY, RICHARD J.
BRAWLEY, OLLIE F.
31 ERNIES LN
TRENTON, SC 29847                                   P‐0008367 10/29/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
WOODS, CONNIE L.
109 BEECHWOOD DR
TAYLORVILLE, IL 62568                               P‐0008368 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELLWOAR, RICHARD J.
657 WEILERS LANE
ABSECON, NJ 08201‐1326                              P‐0008369 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOWLER, MICHAEL A.
9627 WALDROP DRIVE SE
HUNTSVILLE, AL 35803                                P‐0008370 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWELL, JENNIFER D.
225 GLENWOOD DR
NEW BLOOMFIELD, MO 65063                            P‐0008371 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYAN, DONNA M.
2247 SUNSET VIEW LANE
KANKAKEE, IL 60901                                  P‐0008372 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIN, RANDAL
26 ADDISON DRIVE
SHORT HILLS, NJ 07078                               P‐0008373 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDAN, HENRY A.
30717 RIGGS ST.
PERDIDO BEACH, AL 36530                             P‐0008374 10/29/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
KOOFER, WILLIAM R.
4536 NW 20 DR.
GAINESVILLE, FL 32605                               P‐0008375 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, BOCE
LI, HAIQI
148 SALISBURY STREET
DRACUT, MA 01826                                    P‐0008376 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
NAZARETH, JOHN
920 JEFFERSON ST
APT 402
HOBOKEN, NJ 07030                                    P‐0008377 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEINBERG, DANIEL P.
P.O. BOX 512165
PUNTA GORDA, FL 33951                                P‐0008378 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIN, RANDAL
26 ADDISON DRIVE
SHORT HILLS, NJ 07078                                P‐0008379 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOULOUSE, PAUL M.
DEFARIA‐TOULOUSE, DALVA A.
4721 OLD DOMINON DRIVE
ARLINGTON, VA 22207                                  P‐0008380 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FENG, GUANGYUAN
1300 E RIVERSIDE DR
D308
AUSTIN, TX 78741                                     P‐0008381 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, KYWANNIA
212 W 23RD ST
WILMINGTON, DE 19802                                 P‐0008382 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCATTERTY, GERALD A.
SCATTERTY, LINETTE
15 ADDINELL CLOSE
RED DEER, AB T4R 1B3
CANADA                                               P‐0008383 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COY, CHRISTOPHER D.
COY, CHRISTOPHER D.
#1316
LAPORTE AVE
FORT COLLINS, CO 80521                               P‐0008384 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWANCIGER, DIANNE V.
4536 NW 20 DR.
GAINESVILLE, FL 32605                                P‐0008385 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, DEBRA
5835 BRIGGS DRIVE
CHARLOTTE, NC 28269                                  P‐0008386 10/29/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
GARDNER, MICHAEL
55 RIVER FRONT DRIVE UNIT 217
MANCHESTER, NH 03102                                 P‐0008387 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WITZLEB, PETER K.
1373 STONEGATE DRIVE
DOWNINGTOWN, PA 19335                                P‐0008388 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOLCE, HEATHER M.
35 FOX HAVEN LANE
MULLICA HILL, NJ 08062                               P‐0008389 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUHLHAUSEN, EDWIN C.
99 ROHILL ROAD
HILLSBOROUGH, NJ 08844‐1132                          P‐0008390 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'CONNELL, MARK
1247 LILLIAN STREET
FORT ATKINSON, WI 53538                              P‐0008391 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCSWEENEY, SEAN P.
1065 BLANCH AVE
NORWOOD, NJ 07648                                    P‐0008392 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WANDLING, JOHN J.
WANDLING, REBECCA J.
118 LINDEN AVE
HAMPTON, VA 23669                                   P‐0008393 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEHLENBACHER, RONALD B.
1713 NE NINE OAKS DRIVE
LEE'S SUMMIT, MO 64086                              P‐0008394 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IRWIN, ROBIN S.
119 ELDERBERRY LANE
LONGWOOD, FL 32779                                  P‐0008395 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OGILVIE, SEAN A.
2 MIAMI ROAD
JACKSON, NJ 08527                                   P‐0008396 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REO, BARBARA
697 HOPE ST
PROVIDENCE, RI 02906                                P‐0008397 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANDLING, JOHN J.
WANDLING, REBECCA J.
118 LINDEN AVE
HAMPTON, VA 23669                                   P‐0008398 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEMANSKI, BETH M.
10610 N WOOD CREST CT
MEQUON, WI 53092                                    P‐0008399 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCSWEENEY, SEAN P.
1065 BLANCH AVE
NORWOOD, NJ 07648                                   P‐0008400 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKE, TERENCE
17 ISLAND VIEW AVE
MONROE, NY 10950                                    P‐0008401 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, MARGARET N.
6996 MONCOL DRIVE
PRINCE GEORGE, VA 23875                             P‐0008402 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANGES, MISTY
3008 CEDARBROOK DR
BELLEVILLE, IL 62221                                P‐0008403 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINGITORE, PHYLLIS
14 NEBRASKA ROAD
WILMINGTON, DE 19808                                P‐0008404 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCSWEENEY, SEAN P.
1065 BLANCH AVE
NORWOOD, NJ 07648                                   P‐0008405 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEAVERS, KORY R.
455 FAIRWAY CIRCLE
EDGERTON, WI 53534                                  P‐0008406 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHASTAIN, SARAH R.
7717 S SHERWOOD AVE
OKC, OK 73159                                       P‐0008407 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEFFRESSWOOD, DOCTOR AIMA M.
NONE, NONE
5690 DEL PAZ DR. ‐ C/O BARNES
COLORADO SPRINGS, CO 80918                          P‐0008408 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLEY, CHARLES M.
CHARLES M. BLEY TRUST
3535 PATTEN ROAD #2C
HIGHLAND PARK, IL 60035                             P‐0008409 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BALTAZAR, CHARLOTTE
P.O. BOX 484
GLENMORA, LA 71433                                   P‐0008410 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KROENING, CHARLENE A.
KROENING, TIMOTHY M.
18 WANDER WAY
LAKE IN THE HILL, IL 60156                           P‐0008411 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, ANGELA D.
MILLER, ROY B.
1303 BERRYRD
INDEPENDENCE, MO 64057                               P‐0008412 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOATE, INA
INA CHOATE
717 MAIDEN CHOICE LN ST‐T01
CATONSVILLE, MD 21228                                P‐0008413 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVEY, JANET
2475 BRENTWOOD ROAD
BEACHWOOD, OH 44122                                  P‐0008414 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLIFFORD, TROY
CLIFFORD, NICOLE
19660 CULPEPPER CIRCLE
PARKER, CO 80134                                     P‐0008415 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANT, MARY L.
GRANT8345, ROBERT L.
818 N FAYETTE STREET
ALEXANDRIA, VA 22314                                 P‐0008416 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOM, SHARON A.
90888 EVERGREEN LANE
COOS BAY, OR 97420                                   P‐0008417 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHI, CARL C.
CHI, SALLY L.
22 GOODRICH LN
PORTLAND, CT 06480‐1063                              P‐0008418 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERTRAND, ALFRED C.
2 LAUREL ROAD
PRINCETON, NJ 08540                                  P‐0008419 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FURMAN, BARRY
236 SEBASTIAN WAY
YARDLEY, PA 19067                                    P‐0008420 10/29/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
POIRIER, PETER C.
908 KINGS CROSS
VIRGINIA BEACH, VA 23452                             P‐0008421 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOANE, MYKAELA R.
3770 IRIS AVE
UNIT D
BOULDER, CO 80301                                    P‐0008422 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMPTON, STEPHANIE
537 CONGRESS STREET, UNIT 504
PORTLAND, ME 04101                                   P‐0008423 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVEY, HAROLD L.
2475 BRENTWOOD ROAD
BEACHWOOD, OH 44122                                  P‐0008424 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIMMELL, LANCE L.
472 GREENHAVEN CIRCLE
AKRON, OH 44333                                      P‐0008425 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SANDROLINI, JAMES
SANDROLINI, SARAH
1371 W. WASHINGTON AVE
GILBERT, AZ 85233                                    P‐0008426 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLUMBIA, MICHAEL
7123 66TH ROAD
MIDDLE VILLAGE, NY 11379                             P‐0008427 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, ALEXANDER C.
8565 CHESTER GROVE CT
SPRINGFIELD, VA 22153                                P‐0008428 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, RANDOLPH
ROBINSON‐KING, PATRICIA A.
944 EAST 217TH STREET APT 1
BRONX, NY 10469                                      P‐0008429 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WITTE, DARREN S.
9860 WATERFOWL FLYWAY
CHESTERFIELD, VA 23838                               P‐0008430 10/29/2017    TK Holdings Inc., et al .                    $3,700.00                                                                                    $3,700.00
PARKER, ERIKA
8594 KITCHELL COURT
SAINT LOUIS, MO 63114                                P‐0008431 10/29/2017    TK Holdings Inc., et al .                   $23,000.00                                                                                   $23,000.00
PAGE, WILLIAM D.
6488 N DESERT BREEZE CT
TUCSON, AZ 85750                                     P‐0008432 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POMARICO, MARC G.
563 VINCENT DR
LOUDONVILLE, OH 44842                                P‐0008433 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKINNIE JR, JELTEROW
750 SW BROADVIEW STREET
PORT SAINT LUCIE, FL 34983                           P‐0008434 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DALESSANDRO, ANTHONY J.
22 HORSESHOE DRIVE
VOORHEES, NJ 08043                                   P‐0008435 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRAIOLI, JAMES E.
66 OXBOW ROAD
CONCORD, MA 01742                                    P‐0008436 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JARDIM, ANNE
JARDIM, ANNE
505 TREMONT STREET
#904
BOSTON, MA 02116                                     P‐0008437 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMAJ, GERASIMOS
311 E 16TH AVE
REAR COTTAGE
NORTH WILDWOOD, NJ 08260                             P‐0008438 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POMEROY, JAMES P.
28 EAST GREEN VALLEY CIRCLE
NEWARK, DE 19711                                     P‐0008439 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ETHERIDGE, HAROLD C.
340 GHEEN RD
SALISBURY, NC 28147‐9735                             P‐0008440 10/29/2017    TK Holdings Inc., et al .                     $297.00                                                                                       $297.00
MENAQUALE, MARK R.
74 MILL STREET
MEDFORD, NJ 08055                                    P‐0008441 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMSLER, TONI
4666 CARLTON GOLF DRIVE
LAKE WORTH, FL 33449                                 P‐0008442 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
STORM, MIA L.
421 W 3RD #1708
AUSTIN, TX 78701                                     P‐0008443 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HESSLER, DOUGLAS J.
241 GRANBY ST
UNIT 41
NORFOLK, VA 23510                                    P‐0008444 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GINGRAS, ROBERT A.
1700 DELAFAYETTE PLACE
HENRICO, VA 23238                                    P‐0008445 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZURGA ‐ ORTIZ, YULIMA A.
NAVAS, MAURICIO A.
4910 KLOSTERMAN OAKS CT
PALM HARBOR, FL 34683                                P‐0008446 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAUGHN, RICHARD P.
5547 E GABLE AVE
MESA, AZ 85206                                       P‐0008447 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FILANGIERI, JERRY S.
3704 OXFORD LANE
OCEAN CITY, NJ 08226‐1814                            P‐0008448 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DODD, DAVID P.
DODD, MONIQUE M.
11802 S SANTA FE AVE
EDMOND, OK 73025                                     P‐0008449 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROCAR, KELLY A.
468 HABER CT
NORTHLAKE
, IL 60164                                           P‐0008450 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADEN, VICKI L.
W293N3080 POPLAR DR
PEWAUKEE, WI 53072                                   P‐0008451 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOMMSEN, KENNETH W.
1854 OSBORNE JOYCE RD
PILOT MOUNTAIN, NC 27041                             P‐0008452 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODARTE, ROBERT G.
3031 PUEBLO PUYE
SANTA FE, NM 87507                                   P‐0008453 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLEY, CHARLES M.
CHARLES BLEY TRUST
3535 PATTEN ROAD #2C
HIGHLAND PARK, IL 60035                              P‐0008454 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATKOWSKI, MARK S.
P.O. BOX 10
CORNISH FLAT, NH 03746                               P‐0008455 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOMMSEN, KEN W.
1854 OSBORNE JOYCE RD
PILOT MOUNTAIN, NC 27041                             P‐0008456 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINOR, JOHNNY N.
1589 CREEKSIDE DRIVE
HOOVER, AL 35244                                     P‐0008457 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, KEVIN F.
SMITH, JUDITH L.
45 BEECH ROAD
NARRAGANSETT, RI 02882                               P‐0008458 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CARL, ROSCOE
232 ASHLAND AVENUE
RIVER FOREST, IL 60305                               P‐0008459 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLASER, MARK L.
GLASER, CHERYL J.
8903 ARLEY DR
SPRINGFIELD, VA 22153                                P‐0008460 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALONE, JACK H.
28 BAYWALK DRIVE
GULF SHORES, AL 36542                                P‐0008461 10/29/2017    TK Holdings Inc., et al .                     $681.00                                                                                       $681.00
DIETRICH, GABRIELLE P.
6122 RED PINE LANE
ERIE, PA 16506                                       P‐0008462 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JOHN M.
23379 BROOKWOOD CIRCLE
CARROLLTON, VA 23314                                 P‐0008463 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAYMAN, BRIAN H.
271W 1525N
LAYTON, UT 84041                                     P‐0008464 10/29/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
BONNER, CLYDE
P.O. BOX 208
SHERMAN, CT 06784                                    P‐0008465 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WADE, HEATHER
35 WALDRON RD
ALLENTOWN, NJ 8501                                   P‐0008466 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREELEY, MARK T.
11 HILLTOP DRIVE
SANDWICH, MA 02563                                   P‐0008467 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZURHEIDE, DAVID R.
91 ASBURY AVE, 2ND FLOOR
OCEAN GROVE, NJ 07756                                P‐0008468 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLISON, MATTHEW W.
ALLISON, ANNE M.
1031 SANDLER COURT
MUNDELEIN, IL 60060                                  P‐0008469 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARMAN, KATHERINE E.
1002 FULLER‐WISER RD 4721
EULESS, TX 76039                                     P‐0008470 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENNING‐HERRON, JULIE L.
HERRON, MICHAEL D.
923 E. ELGIN ST.
CHANDLER, AZ 85225                                   P‐0008471 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHELLHOUSE, SANDRA
12 STILLWELL DRIVE
DALEVILLE, AL 36322                                  P‐0008472 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, WON
280 BOUNDARY ROAD
MARLBORO, NJ 07746                                   P‐0008473 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIDDY, RAYMOND W.
451 DELVIEW RD
VILLAS, NJ 08251                                     P‐0008474 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAURER, MITZI M.
18265 WEST 83RD DRIVE
ARVADA, CO 80007                                     P‐0008475 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
LITTLE, ROSEMARY
27 NOYES STREET
CONCORD, NH 03301                                   P‐0008476 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVA, MICHAEL
1537 EL GRECO CIR
EL PASO, TX 79936                                   P‐0008477 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, WON
280 BOUNDARY ROAD
MARLBORO, NJ 07746                                  P‐0008478 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, JENNIFER D.
WILLIAMS, ADRIAN M.
5348 CLAPBOARD CREEK DR
JACKSONVILLE, FL 32226                              P‐0008479 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURRELL, QUINTON O.
10629 HILL POINT CT
CHARLOTTE, NC 28262                                 P‐0008480 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOLEY, DANIEL
FOLEY, JOYCE
318 WOODLAWN STREET
FALL RIVER, MA 02720                                P‐0008481 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KULIKOWSKI, LINA C.
730 E COCO PLUM CIR. #8
PLANTATION, FL 33324                                P‐0008482 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, WON
280 BOUNDARY ROAD
MARLBORO, NJ 07746                                  P‐0008483 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEDONE, ANTHONY J.
25300 SW 137TH AVE
APT 305
HOMESTEAD, FL 33032                                 P‐0008484 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANDT, MARY ANNE
5685 CROSS GATE DRIVE
ATLANTA, GA 30327                                   P‐0008485 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
XING, RONG
6718 BROCK MEADOW DR
SPRING, TX 77389                                    P‐0008486 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAIRD, STEVEN H.
274 E2ND ST
3F
BROOKLYN, NY 11218                                  P‐0008487 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAPOBIANCO, LYNN
61 SHORE ROAD
MOUNT SINAI, NY 11766                               P‐0008488 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LABRIOLA, ANTONIO
809 OLD POST ROAD
MAMARONECK, NY 10543                                P‐0008489 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISS, SHARON D.
WEISS, ANDREW
EMILY M. MANCUSO
41 EDGEWOOD ROAD
HARTSDALE, NY 10530                                 P‐0008490 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAPUST, ERIC D.
NO ADDRESS PROVIDED
                                                    P‐0008491 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
TAN, SARAH
TAN, TERENCE
8634 OLD BONHOMME ROAD
APT A
SAINT LOUIS, MO 63132                              P‐0008492 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, SHARON L.
55 RICH ROAD
NORTH GROSVENORD, CT 06255                         P‐0008493 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, TIMBER K.
106 NORTH ANGELA DRIVE
HAILEY, ID 83333                                   P‐0008494 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIDD, WILLIAM B.
2723 SUNNY LANE SE
MARIETTA, GA 30067                                 P‐0008495 10/29/2017    TK Holdings Inc., et al .                     $110.00                                                                                       $110.00
TOLEDO, LEOPOLDO
8503 ROLLING OAKS DR SE
OWENS CROSS ROAD, AL 35763                         P‐0008496 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, ROBERT E.
1512 DONEGAL RD
BEL AIR, MD 21014                                  P‐0008497 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAPUST, KATHRYN N.
203 HIGH ROCK ST
NEEDHAM, MA 02492                                  P‐0008498 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIKOFF, LOUISE R.
14 ALGONQUIN DRIVE
HUNTINGTON STATI, NY 11746                         P‐0008499 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUANG, YUMING
WANG, WEIHUA
810 MEADOWRIDGE DR
AURORA, IL 60504                                   P‐0008500 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOME, LEIGH M.
304 CONFEDERATE DRIVE SW
CONCORD, NC 28027‐6907                             P‐0008501 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, BERNARDI
JOHNSON, EMELDA
705 KENTUCKY DERBY LANE
FT WORTH                                           P‐0008502 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARKE, KEVIN
862 OAKBRANCH PLACE
SANFORD, FL 32771                                  P‐0008503 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICOLAOU, DIANE P.
3205 MID LANE
HOUSTON, TX 77027                                  P‐0008504 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, MARIA D.
307 JORDAN CROSSING AVENUE
JAMESTOWN, NC 27282                                P‐0008505 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANK, MARK A.
5993 NEWTON RD
PRESTON, MD 21655                                  P‐0008506 10/29/2017    TK Holdings Inc., et al .                    $9,128.00                                                                                    $9,128.00
HAINING‐SHEEHAN, EMILY A.
41 PROSPECT STREET
NORTH PROVIDENCE, RI 02904                         P‐0008507 10/29/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
HORR, WENDY L.
22 BROOK RD
SOUTHBRIDGE, MA 01550                              P‐0008508 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
STUART, ANDREA M.
NO ADDRESS PROVIDED
                                                    P‐0008509 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, CHONG
4401 SILSBY RD
UNIVERSITY HTS, OH 44118                            P‐0008510 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEAKE, ALLISON M.
4601 YORKSHIRE TRL
PLANO, TX 75093                                     P‐0008511 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHEXNAYDER, JOHN E.
TAKATA
2351 EAST 41ST STREET
SAVANNAH, GA 31404                                  P‐0008512 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIKOFF, LOUISE R.
14 ALGONQUIN DRIVE
HUNTINGTON STATI, NY 11746                          P‐0008513 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COVINGTON JR, ROBERT N.
514 MILLWOOD DR
FALLSTON, MD 21047                                  P‐0008514 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, MICHELLE S.
MILLER, PATRICK W.
5615 W 115TH LOOP
WESTMINSTER, CO 80020                               P‐0008515 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISS, ANDREW
41 EDGEWOOD ROAD
HARTSDALE, NY 10530                                 P‐0008516 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, DAVID L.
321 GERARD AVE.
ELKINS PARK, PA 19027                               P‐0008517 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRKICH, SUSAN A.
BRKICH, SUSAN A.
120 MARKET STREET, APT. 2B
WAPPINGERS FALLS, NY 12590                          P‐0008518 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STUART, JEFFREY N.
NO ADDRESS PROVIDED
                                                    P‐0008519 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, TIA W.
HYMAN, ALPHONSO
1731 NORTH OLD RIVER ROAD
PAMPLICO, SC 29583                                  P‐0008520 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOTTA, JOAN L.
12 QUARRY RD.
P O BOX 10
BLOOMING GLEN, PA 18911‐0010                        P‐0008521 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYSONAVE, STEPHEN G.
MAYSONAVE, SHERRY G.
206 COSTA BELLA DRIVE
AUSTIN, TX 78734                                    P‐0008522 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODWARD, ANN M.
MULLEN, GALEN M.
109 BROOKLINE PLAZA
READING, PA 19607                                   P‐0008523 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROCK, MICHAEL J.
5118 BUFFALO TRAIL
MADISON, WI 53705                                   P‐0008524 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                Current General                                         Current 503(b)(9)
                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
MCDANIEL, BRENT W.
645 HIDDEN MARSH RD
MONUMENT, CO 80132                                P‐0008525 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROUCH (CLARK), ANNE M.
8305 TIERRA LINDA PL. NE
ALBUQUERQUE, NM 87122                             P‐0008526 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMMOND, CHRIS A.
9053 PICKETT FENCE LANE
SUMMERVILLE, SC 29485                             P‐0008527 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMPTON, STEPHANIE
537 CONGRESS STREET, UNIT 504
PORTLAND, ME 04101                                P‐0008528 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEKOV, VINCENT B.
2437 MORNING GLORY CT.
HOLIDAY, FL 34691                                 P‐0008529 10/29/2017    TK Holdings Inc., et al .                        $3.00                                                                                        $3.00
CHAU, KING TAK
NANCY
110 WEST 3RD STREET
APT. # 606
NEW YORK, NY 10012                                P‐0008530 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, CYNTHIA C.
851 ALBERSON COURT
DECATUR, GA 30033                                 P‐0008531 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISS, SHARON D.
41 EDGEWOOD ROAD
HARTSDALE, NY 10530                               P‐0008532 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOGDAN CONSTRUCTION & REMODEL
BOGDAN PAJOR
1401 NORTH SMITH ST. APT. 312
PALATINE, IL 60067                                P‐0008533 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLINGTON, CHARLOTTE E.
513 EAGLE CLIFF DRIVE
FLINTSTONE, GA 30725                              P‐0008534 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHELLENS, RICHARD P.
537 CONGRESS STREET
UNIT 504
PORTLAND, ME 04101                                P‐0008535 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICKMAN5, NANCY G.
9510 COYLE ROAD, UNIT 401
OWINGS MILLS, MD 21117                            P‐0008536 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, JENNIFER R.
850 RIDGECROSS RD
PROSPER, TX 75078                                 P‐0008537 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DETITTA, PAUL
7720 IVYMOUNT TER
POTOMAC, MD 20854                                 P‐0008538 10/29/2017    TK Holdings Inc., et al .                    $7,100.00                                                                                    $7,100.00
ANDERSON, DAWN
832 DONELSON CT.
NAPERVILLE, IL 60563                              P‐0008539 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'CONNOR, SANDRA B.
5013 12TH ST SOUTH
ARLINGTON, VA 22204                               P‐0008540 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICOLAOU, DIANE P.
3205 MID LANE
HOUSTON, TX 77027                                 P‐0008541 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
NEAL, CHYERL N.
NEAL, JOEL B.
1053 FOREST DRIVE
MAGGIE VALLEY, NC 28751                              P‐0008542 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUBOWICKI, CYNTHIA E.
1487 RIDGEWOOD DR SW
LILBURN, GA 30047                                    P‐0008543 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS PACE, LATASHA
834 E ROBINSON ST
GROVELAND, FL 34736                                  P‐0008544 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHARUHAS, JEFFREY M.
BIRGIT
10822 AVONLEA RIDGE PLACE
DAMASCUS, MARYLAND 20872
                                                     P‐0008545 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, JAMES B.
207 MCNEIL ROAD
MILLERS CREEK, NC 28651                              P‐0008546 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEARY, CARRIE
7129 ROCK RIDGE LANE
APT. C
ALEXANDRIA, VA 22315                                 P‐0008547 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, PATRICK W.
5615 W 115TH LOOP
WESTMINSTER, CO 80020                                P‐0008548 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SVELA, MICHAEL
6519 SILVERLEAF CT.
FIRESTONE, CO 80504                                  P‐0008549 10/29/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
MAULDIN, SHELIA
16851 EAST107TH AVE
COMMERCE CITY, CO 80022                              P‐0008550 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEARSE, MELIAH
5101 BAYPORT LANDING
SUFFOLK, VA 23435                                    P‐0008551 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEAR, GREGORY M.
4809 FOREST HILL DRIVE
FLOWER MOUND, TX 75028                               P‐0008552 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRENCH, KAYLENE M.
P.O. BOX 322078
NEW YORK, NY 10032                                   P‐0008553 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLANNIGAN, JOHN E.
6 RUSTIC DRIVE
ESSEX JUNCTION, VT 05452                             P‐0008554 10/29/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
RUSH, LORI G.
6519 LAKEVIEW DR
TEXARKANA, TX 75503                                  P‐0008555 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARRIS, KIMMY L.
2706 ARDEN DRIVE
CHAMPAIGN, IL 61821                                  P‐0008556 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRETT JR, HENRY C.
GARRETT, RHONDA L.
4221 MCGRATH WAY
RALEIGH, NC 27616                                    P‐0008557 10/29/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BRADLY, JOHN
PRAJONG
1224 PLANTATION DRIVE
CALLAWAY, FL 32404                                    P‐0008558 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEAR, GREGORY M.
4809 FOREST HILL DRIVE
FLOWER MOUND, TX 75028                                P‐0008559 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHARTON, NANCY A.
49 PENNSYLVANIA AVENUE
PORT JERVIS, NY 12771                                 P‐0008560 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEYERSON, DANIEL
MEYERSON, RITA
7505 RIVER ROAD‐APT 11E
NEWPORT NEWS, VA 23607                                P‐0008561 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHI, CARL C.
CHI, SALLY L.
22 GOODRICH LN
PORTLAND, CT 06480‐1063                               P‐0008562 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIESELMAN, ROBERT D.
901 HARRISON AVE
MAYS LANDING, NJ 08330                                P‐0008563 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOKES, WANDA L.
STOKES, ARTHUR H.
2337 SE AVALON RD
PORT SAINT LUCIE, FL 34952‐6502                       P‐0008564 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEEL, GEORGE J.
SEEL, REBECCA
710 WEST RD.
BELGRADE, ME 04917                                    P‐0008565 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLASS, JEROME
GLASS, JEROME
5952 N PLACITA LIGERA
TUCSON, AZ 85750                                      P‐0008566 10/29/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
CONNALLY, PATRICK
7608 GARDEN ROAD
CHELTENHAM, PA 19012                                  P‐0008567 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, LEE N.
8323 TALONS WAY
MISSOURI CITY, TX 77459                               P‐0008568 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECK, ALEX P.
1945 LICKING VALLEY RD
NEWARK, OH 43055                                      P‐0008569 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHMAN, BRUCE A.
312 GOFORTH DR
HAVRE DE GRACE, MD 21078                              P‐0008570 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARLIN, GARY
27 MANDRAKE ROAD
MONROE TOWNSHIP, NJ 08831                             P‐0008571 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIGNAULT, JAMES L.
844 MONTECRUZ DRIVE
LAWRENCEVILLE, GA 30045                               P‐0008572 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, NAOMI H.
3071 WEDGEFIELD BLVD
JACKSONVILLE, FL 32277                                P‐0008573 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
JONES, JR., ROBERT W.
12101 ROBIOUS ROAD
MIDLOTHIAN, VA 23113                                 P‐0008574 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNETT, ROBERT B.
3260 CLEEVE HILL
DUBLIN, OH 43017                                     P‐0008575 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWELL, STEVEN G.
5324 INSTITUTE LANE
HOUSTON, TX 77005                                    P‐0008576 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYONS, ANGELA
4 CHESHIRE LANE
TEWKSBURY, MA 01876                                  P‐0008577 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAIN, JONATHAN R.
56 ARROWHEAD CIRCLE
ASHLAND, MA 01721                                    P‐0008578 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARONE, EMILE A.
517 STANDISH PLACE
STEWARTSVILLE, NJ 08886                              P‐0008579 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECK, ALEX P.
1945 LICKING VALLEY RD
NEWARK, OH 43055                                     P‐0008580 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAULSBY, MICHELLE A.
MAULSBY, JONATHAN D.
9 WATSON PL
HYDE PARK, NY 12538                                  P‐0008581 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
D'COUTO, PETER B.
3150 MOSSY ELM CT
HOUSTON, TX 77059                                    P‐0008582 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELBY, ROB
41 EAST CENTENNIAL DRIVE
MEDFORD, NJ 08055                                    P‐0008583 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARMON, FELISA C.
400 RENFRO DRIVE, UNIT 207
GLEN BURNIE, MD 21060                                P‐0008584 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUBLER, KEVIN K.
33 GREENFIELD STREET
POUGHKEEPSIE, NY 12603                               P‐0008585 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KABAITAN, RODOLFO M.
100 MILLER CT
SUMMERVILLE, SC 29485                                P‐0008586 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOCERINO, NICHOLAS S.
NOCERINO, MOLLY O.
232 E. HICKORY STREET
HINSDALE, IL 60521                                   P‐0008587 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLOOD, MICHAEL J.
16032 W. RIDGEMOOR AVE
TUCSON, AZ 85736                                     P‐0008588 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAUFFER, KYLE L.
84 EAST 150 NORTH
AMERICAN FORK, UT 84003                              P‐0008589 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEEHAN, DARIEL M.
357 COMMERCIAL ST
APT 806
BOSTON, MA 20109                                     P‐0008590 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SHIH, CONNIE D.
41 EAST CENTENNIAL DRIVE
MEDFORD, NJ 08055                                   P‐0008591 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITRA, SHUBHASHISH
1398 POINTVIEW COURT
SUWANEE, GA 30024                                   P‐0008592 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOUSLEY, THOMAS H.
3302 CIRCLE HILL ROAD
ALEXANDRIA, VA 22305                                P‐0008593 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLOOD, MATTEA S.
16032 W. RIDGEMOOR AVE
TUCSON, AZ 85736                                    P‐0008594 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRASNER, RICHARD D.
288 CIRRUS WAY
KEARNEYSVILLE, WV 25430                             P‐0008595 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBSON, WENDY WORKS
GIBSON, WAYNE H.
3768 CHURCHVILLE AVE
CHURCHVILLE, VA 24421                               P‐0008596 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, CONAN W.
9864 NATICK ROAD
BURKE, VA 22015                                     P‐0008597 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUICKSHANK, DIANN W.
1110 CO RD 89 SOUTH
CAMP HILL, AL 36850                                 P‐0008598 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITRA, SHUBHASHISH
1398 POINTVIEW COURT
SUWANEE, GA 30024                                   P‐0008599 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARLSON, ROBERT W.
STARCHER, STACEY A.
319 WINDY RUN ROAD
DOYLESTOWN, PA 18901                                P‐0008600 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, JAMES H.
TAYLOR, DOROTHY V.
32261 S SERVAL DR
ORACLE, AZ 85623                                    P‐0008601 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, SADE Y.
861 NE 209TH TER APT 202
MIAMI, FL 33179‐1226                                P‐0008602 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUBLER, KEVIN K.
KUBLER, KEVIN K.
33 GREENFIELD STREET
POUGHKEEPSIE, NY 12603                              P‐0008603 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, WILLIAM C.
7550 CHURCH LN
TOANO, VA 23168                                     P‐0008604 10/29/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
WISNOSKY, MARTHA
278 PARK FOREST BLVD
ENGLEWOOD, FL 34223                                 P‐0008605 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRASNER, RICHARD D.
288 CIRRUS WAY
KEARNEYSVILLE, WV 25430                             P‐0008606 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLOGNINI, LOUIS T.
BOLOGNINI, KRISTIN V.
10245 NORTH RANGE LINE COURT
MEQUON, WI 53097                                    P‐0008607 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SALIPANTE, PAUL F.
PAUL SALIPANTE
405 THAYER PL
SILVER SPRING, MD 20910                             P‐0008608 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FALCON, JOY
729 NE 127 ST. APT. 3
NORTH MIAMI, FL 33161                               P‐0008609 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOJACK, FRANK S.
7904 WATERVIEW DR.
ORCHARD BEACH, MD 21226                             P‐0008610 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMPSON, KEVIN W.
7397 SHADY PALM DRIVE
SPRINGFIELD, VA 22153                               P‐0008611 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITRA, SHUBHASHISH
ROY, MOUMITA
1398 POINTVIEW COURT
SUWANEE, GA 30024                                   P‐0008612 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STERN, HONI S.
62 GENOVA COURT
FARMINGDALE, NY 11735                               P‐0008613 10/29/2017    TK Holdings Inc., et al .                     $160.00                                                                                       $160.00
HAGGERTY, JOHN J.
309 MATTHEWS LANE
NEWTOWN, PA 18940                                   P‐0008614 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN VOLKENBURGH, JOHN J.
4450 ORCHARD VIEW WAY
CUMMING, GA 30028                                   P‐0008615 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARPENTER, BETTE P.
1322 NAPA COURT
SEVERN, MD 21144                                    P‐0008616 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAS0, NAT T.
171 HARVARD DRIVE
HARTSDALE, NY 10530                                 P‐0008617 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STUMP JR, DAVID C.
STUMP, SHANNON M.
13723 CAHILL CT
CYPRESS, TX 77429                                   P‐0008618 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TK HOLDINGS INC
P.O.BOX 3004
MONROE, WI 53566                                    P‐0008619 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANDLER, ROGER
CHANDLER, CINDY
1440 STONEYKIRK RD
PELHAM, AL 35124                                    P‐0008620 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN VOLKENBURGH, JOHN J.
4450 ORCHARD VIEW WAY
CUMMING, GA 30028                                   P‐0008621 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICOLICH, STEVEN M.
461 WOODBURY DR
WYCKOFF, NJ 07481                                   P‐0008622 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUGH, DEBORAH
16 S MARKET ST #3105
PETERSBURG, VA 23803                                P‐0008623 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
Z., EDWARD P.
281 ELM STREET
KEARNY, NJ 07032                                    P‐0008624 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
STEWART, MICHELLE J.
18600 S. PARKVIEW # 1335
HOUSTON, TX 77084                                   P‐0008625 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTHOLOMEW, JOSEPH R.
775 CRESTVIEW DRIVE
YOUNGSTOWN, OH 44512                                P‐0008626 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, ROBERTO A.
TOYOTA
TOYOTA
110 BROOKLYN AV, APT,‐2L
FREEPORT, NY 11520                                  P‐0008627 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYNE, THOMAS M.
PAYNE, CYNTHIA A.
2124 SADDLE CREEK RIDGE CT
2124 SADDEL CREEK RIDGE CT
WILDWOOD, MO 63005                                  P‐0008628 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARTTIKEYA, ARUL
91 CHERRY BROOK DRIVE
PRINCETON, NJ 08540                                 P‐0008629 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICOLICH, STEVEN M.
461 WOODBURY DR
WYCKOFF, NJ 07481                                   P‐0008630 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FONSECA, ALLEN J.
339 ACAPESKET RD
EAST FALMOUTH, MA 02536                             P‐0008631 10/29/2017    TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
KRASNER, RICHARD D.
288 CIRRUS WAY
KEARNEYSVILLE, WV 25430                             P‐0008632 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SYDNOR, MARC
5020 RIVERVIEW RD
ATLANTA, GA 30327                                   P‐0008633 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAINES, GARY W.
GAINES, NORMA R.
132 SOUTH THORNGATE DR.
GRANITE CITY, I 62040‐7067                          P‐0008634 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOWALSKI, KAREN
2700 67TH DRIVE
UNION GROVE, WI 53182                               P‐0008635 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARMOYEUX, MICHAEL C.
1901 EPPING FOREST WAY SOUTH
JACKSONVILLE, FL 32217                              P‐0008636 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRICLE, FRANK L.
BRICEL, WENDY S.
2565 NORTH 141ST LANE
GOODYEAR, AZ 85395                                  P‐0008637 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, DENNIS B
7235 GUMWOOD LANE
RALEIGH, NC 27615‐5643                              P‐0008638 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRASNER, RICHARD D.
288 CIRRUS WAY
KEARNEYSVILLE, WV 25430                             P‐0008639 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKENANDORE, CARLTON
P.O. BOX # 2809
CHINLE, AZ 86503                                    P‐0008640 10/29/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MADEY, MATTHEW
107 COLUMBIA ST. NW
POPLAR GROVE, IL 61065                              P‐0008641 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISS, JACLYN I.
WEISS, ANDREW
EMILY M. MANCUSO
41 EDGEWOOD ROAD
HARTSDALE
HARTDALE, NY 10530                                  P‐0008642 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAINING‐SHEEHAN, EMILY A.
41 PROSPECT STREET
NORTH PROVIDENCE, RI 02904                          P‐0008643 10/29/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
PLEMMONS, CARMEN M.
2109 LAUREL ST
TEXARKANA, AR 71854                                 P‐0008644 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONLEY, MICHAEL
23874 CHARDON RD
EUCLID, OH 44143                                    P‐0008645 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, FREDERICK B.
94 ST. JOHN'S WOOD AVE
HENDERSON, NV 89002                                 P‐0008646 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAZORE, ALLISON H.
121 WHITE COTTAGE ROAD
HELENA, AL 35080                                    P‐0008647 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYD, MARTINE D.
5600 CARMICHAEL ROAD APT 531
MONTGOMERY, AL 36117                                P‐0008648 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIAZ, HELEN C.
19627 GOLDEN WILLOW DRIVE
KATY, TX 77449‐8614                                 P‐0008649 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAINING‐SHEEHAN, EMILY A.
41 PROSPECT STREET
NORTH PROVIDENCE, RI 02904                          P‐0008650 10/29/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
RODRIGUEZ, MELISSA
20971 W.WHITE ROCK RD
BUCKEYE, AZ 85396                                   P‐0008651 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTCAVAGE, DIANA
10 E. WELLING AVE
PENNINGTON, NJ 08534                                P‐0008652 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAUCER, LOGAN D.
24801 SW 130TH AVE
APT. 311
HOMESTEAD, FL 33032                                 P‐0008653 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENTRY, VERNON C.
20 PINE CANYON DRIVE UNIT 43
ATLANTA, GA 30331                                   P‐0008654 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TYREE, DONALD R.
TYREE, RUTH E.
18270 NORTH HIGHWAY 329
REDDICK, FL 32686                                   P‐0008655 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REICHMAN, RUSSELL L.
976 E 2250 NORTH RD
MONTICELLO, IL 61856                                P‐0008656 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAZORE, SCOTT M.
121 WHITE COTTAGE ROAD
HELENA, AL 35080                                    P‐0008657 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SENTER, MEREDITH S.
3625 N. VERMONT STREET
ARLINGTON, VA 22207                                 P‐0008658 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FABIJANIC, GEORGE G.
1328 WARE BLVD.
BIRMINGHAM, AL 35235                                P‐0008659 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARCH, JOHN P.
1368 LOVING ROAD
ZION CROSSROADS, VA 22942                           P‐0008660 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHENS, CHARLES R.
1501 NORTHRIDGE DR
AUSTIN, TX 78723                                    P‐0008661 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANISH, BENJAMIN M.
158 N. VILLA AVE.
VILLA PARK, IL 60181                                P‐0008662 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GESING, CHERYL D.
205 PARADISE VALLEY DRIVE
ALEXANDRIA, OH 43001                                P‐0008663 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, PATRICIA A.
3933 223RD STREET
BAYSIDE, NY 11361                                   P‐0008664 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPELLS, TANYA Y.
124 EDINBURGH CT
ALPHARETTA, GA 30004                                P‐0008665 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEAR, GREGORY M.
4809 FOREST HILL DRIVE
FLOWER MOUND, TX 75028                              P‐0008666 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POINT BREEZE CREDIT UNION
11104 MCCORMICK ROAD
HUNT VALLEY, MD 21031                               P‐0008667 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISCHER, DEAN P.
1325 ARROYO VERDE
SCHERTZ, TX 78154                                   P‐0008668 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDERMOTT, STACIE E.
MCDERMOTT, PATRICK J.
204 ORCHARD DRIVE
MANOR, PA 15665                                     P‐0008669 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLAHY, JAMES G.
MULLAHY, DONNA M.
3031 VERNON AVE
BROOKFIELD, IL 60513                                P‐0008670 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REED, MICHEL
324 BOWIE
FORNEY, TX 75126                                    P‐0008671 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HID ARIDA, OLIVER
1051 LAGUNA SPRINGS DRIVE
WESTON, FL 33326                                    P‐0008672 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANNAND, LESLIE
1600 MARIPOSA AVE.
BOULDER, CO 80302                                   P‐0008673 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIOTT, RICHARD M.
ELLIOTT, MALEAHA H.
RICHARD ELLIOTT
904 PAINTER. ROAD
JONESBOROUGH TN                                     P‐0008674 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
GRZENIA, DAVE M.
8046 WEST CLARA LANE
PEORIA, AZ 85382                                    P‐0008675 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIOTT, MALEAHA N.
ELLIOTT, JR., RICHARD M.
904 PAINTER RD.
JONESBOROUGH, TN 37659                              P‐0008676 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SURDEK, STANLEY
SURDEK, STEPHANIE
6919 HILLCREST DR
CRYSTAL LAKE, IL 60012                              P‐0008677 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARNER, KAREN E.
5875 FOXCROFT DR
HARRISONBURG, VA 22801                              P‐0008678 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLSKI, DIANE M.
WOLSKI, DONALD E.
8460 165TH PLACE
TINLEY PARK, IL 60487                               P‐0008679 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEIDING, MELISSA M.
2319 WINTER PARKWAY APT. 338
CUYAHOGA FALLS, OH 44221                            P‐0008680 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONTE, ANTHONY R.
80 HARVARD STREET
WINCHESTER, MA 01890‐1243                           P‐0008681 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANDLER, STEVEN
LOVELAND, SUSAN
P.O. BOX 5977
BUFFALO GROVE, IL 60089                             P‐0008682 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHAPPI, ANN C.
4914 TREETOP LANE
ALEXANDRIA, VA 22310                                P‐0008683 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAMSI, MOHAMMED N.
13 WEST ANN STREET # B,
LOMBARD, IL 60148                                   P‐0008684 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRUEDSON, SCOTT W.
TRUEDSON, LISA M.
100 EAST MAPLE ST
MARSHALL, MN 56258                                  P‐0008685 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANDLER, STEVEN
LOVELAND, SUSAN
P.O. BOX 5977
BUFFALO GROVE, IL 60089                             P‐0008686 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDWEISS FAMILY TRUST
9514 N. 49TH PLACE
PARADISE VALLEY, AZ 85253                           P‐0008687 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONG, WILLIAM
6160 RIVERCLIFFE DR. NW
SANDY SPRINGS, GA 30328                             P‐0008688 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREZNAY, MICHAEL
23603 GENESEE VILLAGE ROAD
GOLDEN, CO 80401                                    P‐0008689 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARP, MARY JANE
KARP, ROBERT
391 HIGHLANDS DR
WILLISTON, VT 05495                                 P‐0008690 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ELDEWEK, HIAM
ELDEWEK, ISLAM
4 BERSEEM CT
OAK BROOK, IL 60523                                  P‐0008691 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, DENNIS G.
MURPHY, LAURA S.
119 HAWTHORN DRIVE
HENDERSONVILLE, NC 28791                             P‐0008692 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRATLER, WILLIAM
2208 WILLOW OAK CIRCLE
APT. 301
VIRGINIA BEACH, VA 23451                             P‐0008693 10/29/2017    TK Holdings Inc., et al .                   $14,000.00                                                                                   $14,000.00
PEELER, CHARLES E.
810 IRONGATE CT
NEWPORT NEWS, VA 23602                               P‐0008694 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VON ZEHLE, JR, WILLIAM L.
VON ZEHLE, EMMA M.
108 SOUNDVIEW ROAD
RIDGEFIELD, CT 06877                                 P‐0008695 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELDEWEK, IS`
ELDEWEK, HIAM
4 BERSEEM CT
OAK BROOK, IL 60523                                  P‐0008696 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONG, WILLIAM
6160 RIVERCLIFFE DR. NW
SANDY SPRINGS, GA 30328                              P‐0008697 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DORN, DAWN S.
5008 MAKO DRIVE
WILMINGTON, NC 28409                                 P‐0008698 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, SCOTT T.
218 E. SOUTH ISLAND STREET
UNIT 308
APPLETON, WI 54915                                   P‐0008699 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEVOTO, ANTHONY
77 WHITE ROCK BLVD
OAK RIDGE, NJ 07438                                  P‐0008700 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REEVES, TIMOTHY R.
REEVES, LINDA L.
6205 LAMY ST NW
ALBUQUERQUE, NM 87120                                P‐0008701 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUGGIERO, DANIEL
146 COOK HILL RD
GRISWOLD, CT 06351                                   P‐0008702 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, JASON L.
4402 AUSTIN DEKOTA DRIVE
CHARLOTTE, NC 28269                                  P‐0008703 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LE, PHUONG
5000 SHIMMERING PLACE
GLEN ALLEN, VA 23060                                 P‐0008704 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EASLEY, INEZ B.
310 FARM ESTATES DR
ROCKWELL, NC 28138                                   P‐0008705 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEFFER, JORDAN M.
2332 AUSTIN AVENUE
CHAMBERSBURG, PA 17202                               P‐0008706 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BROWN, JOE
7238 PATMORE ASH COURT
LAS VEGAS, NV 89148                                 P‐0008707 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIGNAULT, JAMES L.
844 MONTECRUZ DRIVE
LAWRENCEVILLE, GA 30045                             P‐0008708 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAPUSH, JOEL
PAPUSH, CYNTHIA
8 TEMME CT.
PLAINVIEW, NY 11803                                 P‐0008709 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARMSTRONG, DENISE
ARMSTRONG, DAVID R.
133 HARVEST WAY
CRANDALL, TX 75114                                  P‐0008710 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CELLITTI, DAVID T.
157 N PINE ST
ELMHURST, IL 60126                                  P‐0008711 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAEGER, CATHY M.
12919 SPANISH POND ROAD
ST. LOUIS, MO 63138                                 P‐0008712 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOSHELL, TERRI G.
2S100 ROXBURY CT
WARRENVILLE, IL 60555                               P‐0008713 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANKS, DONALD L.
BANKS, ELENA T.
240 LAKES TOAD
BETHLEHEM, CT 06751                                 P‐0008714 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TARPLEY, PHILLIP B.
109 PALOMINO LN
POB 261
KRUM, TX 76249                                      P‐0008715 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHELTON, SHAMAR S.
1223 S DIXIE HWY W
APT 202
POMPANO BEACH, FL 33060                             P‐0008716 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMSON, MARNIE
58 SPRUCE STREET
PORTLAND, ME 04102                                  P‐0008717 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANJONG, MILTON A.
7757 RIVERDALE RD, APT 202
NEW CARROLLTON, MD 20784                            P‐0008718 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARLIN, GARY
27 MANDRAKE ROAD
MONROE TOWNSHIP, NJ 08831                           P‐0008719 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRESI, AMY M.
17 CRIMI CIRCLE
HIGHLAND, NY 12528                                  P‐0008720 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY JR, GERALD C.
4344 WILLOUGHHBY LANE
MYRTLE BEACH, SC 29577                              P‐0008721 10/29/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
FURMAN, GALE B.
236 SEBASTIAN WAY
YARDLEY, PA 19067                                   P‐0008722 10/29/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
BUNCHMAN, ROBERT H.
212 CHEDDINGTON DRIVE
GREENVILLE, SC 29607                                P‐0008723 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BECK, ALEX P.
1945 LICKING VALLEY RD
NEWARK, OH 43055                                     P‐0008724 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, LAURENT E.
1619 STODDARD AVENUE
WHEATON, IL 60187                                    P‐0008725 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, ALAN
2633 EAST 22ND STREET
BROOKLYN, NY 11235                                   P‐0008726 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECK, ALEX P.
1945 LICKING VALLEY RD
NEWARK, OH 43055                                     P‐0008727 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYD, LINDA S.
504 NE PROMISED VIEW DR
LEES SUMMIT, MO 64064                                P‐0008728 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUNCHMAN, ROBERT H.
212 CHEDDINGTON DRIVE
GREENVILLE, SC 29607                                 P‐0008729 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNETT, ROBERT B.
3260 CLEEVE HILL
DUBLIN, OH 43017                                     P‐0008730 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAPUSH, JOEL
PAPUSH, CYNTHIA
8 TEMME CT.
PLAINVIEW, NY 11803                                  P‐0008731 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUARLESS, JOANNE
646 EAST 40TH STREET
BROOKLYN, NY 11203                                   P‐0008732 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAVETSKY, RICHARD
498 HARBOR DRIVE
CEDARHURST, NY 11516                                 P‐0008733 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CREIGHTON, BRIDGET C.
13060 W WOODWORTH DR
EVANSVILLE, WI 53536                                 P‐0008734 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIPPETT, LYNN A.
414 APPLEGATE CT
LINTHICUM, MD 21090                                  P‐0008735 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNOX, ROBERT J.
816 PRINCE JAMES COURT
VIRGINIA BEACH, VA 23453                             P‐0008736 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCKLEY, DAVID K.
15 BIRCHCREST COURT
DURHAM, NC 27713                                     P‐0008737 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASSERMAN, NEIL
974 ANCHOR CT.
NEW MILFORD, NJ 07646                                P‐0008738 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOLHUS III, JOHN A.
107 DARYL DRIVE
VERNON, CT 06066                                     P‐0008739 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAVITZ, ROSALIE K.
1038 PEACE ST
PELHAM, NY 10803‐3430                                P‐0008740 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SONEKEO, KHAMPHANH
3408 HARRELL STREET
SILVER SPRING, MD 20906                              P‐0008741 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
CARPENTER, PETER D.
CARPENTER, PATRICIA M.
111 SOUTH YOUNG ROAD
PAYSON, AZ 85541                                   P‐0008742 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERNAN, BARBARA B.
4 CANDLEMAKER COURT
# 106
PIKESVILLE, MD 21208                               P‐0008743 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GELSMAN, EUGENE I.
236 SEBASTIAN WAY
YARDLEY, PA 19067                                  P‐0008744 10/29/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
OCHOA, SYLVIA J.
12100 S. HWY 6 #4107
SUGARLAND, TX 77498                                P‐0008745 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYSLINSKI, PAUL G.
1330 S. ROPER LANE
SAFFORD, AZ 85546‐2333                             P‐0008746 10/29/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BELL, DANNIE
P.O. BOX 6099
RIVER GROVE, IL 60305                              P‐0008747 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODMAN, RICHARD
353 EAST STREET
WESTWOOD, MA 02090                                 P‐0008748 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIEL, CAROLYN S.
730 STONE HOUSE LN
MARIETTA, GA 30064‐4702                            P‐0008749 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DREIER, WAYNE W.
415 S WISCONSIN DRIVE
HOWARDS GROVE, WI 53083                            P‐0008750 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIPPMAN, KEVIN M.
4412 GREENBRIER DRIVE
DALLAS, TX 75225                                   P‐0008751 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARGENT, MICHAEL T.
1805 SPARROWS DRIVE
WOODBINE, MD 21797                                 P‐0008752 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JARAMILLO, PAUL D.
JARAMILLO, JULIE A.
12133 ALCOTT STREET
WESTMINSTER, CO 80234                              P‐0008753 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, LYN H.
LOPEZ, LISA L.
2512 LINDEN TREE STREET
SEFFNER, FL 33584                                  P‐0008754 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DREIER, WAYNE W.
415 S WISCONSIN DRIVE
HOWARDS GROVE, WI 53083                            P‐0008755 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IVANYO, MARK D.
18318 HEATON DRIVE
HOUSTON, TX 77084                                  P‐0008756 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAIG, ANDREW J.
CRAIG, ROSEMARY
7305 CHRISTOPHER DRIVE
ST. LOUIS, MO 63129                                P‐0008757 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
JONES, BARRY R.
BARRY JONES
243 VICEROY STREET
BILLINGS, MT 59101                                   P‐0008758 10/29/2017    TK Holdings Inc., et al .                   $60,000.00                                                                                   $60,000.00
D'URSO, CHRISTOPHER
88 EASTERN STATES PARKWAY
SOMERVILLE, NJ 08876                                 P‐0008759 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSEN, ROBERT
1540 ASHBROOK DRIVE
SCOTCH PLAINS, NJ 07076                              P‐0008760 10/29/2017    TK Holdings Inc., et al .                     $150.00                                                                                       $150.00
DAVIS, WILLIAM P.
193 LEE RD. 419
OPELIKA, AL 36804                                    P‐0008761 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DWORACZYK, ROMAN
542‐108TH AVE NORTH
NAPLES, FL 34108                                     P‐0008762 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIPPMAN, KEVIN M.
4412 GREENBRIER DRIVE
DALLAS, TX 75225                                     P‐0008763 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAIER, KEVIN P.
50 LYNDALE AVENUE
BALTIMORE, MD 21236                                  P‐0008764 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHANKS, CHRIS M.
2505 N VILLA LN
MCHENRY, IL 60051                                    P‐0008765 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIDEAUX, CAROLYN A.
14022 WALTERS RD 303
HOUSTON, TX 77014                                    P‐0008766 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYES, JACQUELINE
21 NORTH LINDEN PLACE
DOVER, NJ 07801                                      P‐0008767 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAFOND, STEPHEN D.
8163 TIDAL ROAD
NORFOLK, VA 23518                                    P‐0008768 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, LISA J.
9 NANCY DR
ENFIELD, CT 06082                                    P‐0008769 10/29/2017    TK Holdings Inc., et al .                    $2,624.84                                                                                    $2,624.84
HARTGE, ROBERT R.
2055 GREEN BRIDGE LANE
HANOVER PARK, IL 60133                               P‐0008770 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIFFANY, WILLIAM F.
11128 E. WHITE FEATHER LANE
SCOTTSDALE, AZ 85262                                 P‐0008771 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSEN, ROBERT
1540 ASHBROOK DRIVE
SCOTCH PLAINS, NJ 07076                              P‐0008772 10/29/2017    TK Holdings Inc., et al .                     $150.00                                                                                       $150.00
ADAMS, CHERYL A.
1001 CHILLUM ROAD
UNIT 217
HYATTSVILLE, MD 20782                                P‐0008773 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILLON, RICHARD W.
O'REILLY‐DILLON, DORIS A.
65 LAWTON RD.
HILTON HEAD, SC 29928                                P‐0008774 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MARTIN, DANNY J.
7574 GATEWOOD ROAD
FAYETTEVILLE, WV 25840                               P‐0008775 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLOAN, DEBRA M.
SLOAN, DAVID L.
47 JARED LANE
LITTLE EGG HARBO, NJ 08087                           P‐0008776 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMES, THALIA Y.
28A WOODEDGE AVE
APT 8
EDISON, NJ 08817                                     P‐0008777 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPORN, DAVID F.
18 AMBERLY COURT
FRANKLIN PARK, NJ 08823                              P‐0008778 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORAN, RACHEL F.
UCLA SCHOOL OF LAW
385 CHARLES E. YOUNG DR. EAST
LOS ANGELES, CA 90095‐1476                           P‐0008779 10/29/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
CARSON, RICHARD C.
CARSON, STEPHANIE L.
2066 OAK GROVE DRIVE
P.O. BOX 460598
LEEDS, UT 84746                                      P‐0008780 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, TAMMY L.
117 E G MCMILLAN WAY
DAINGERFIELD, TX 75638                               P‐0008781 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, WILLIAM P.
193 LEE RD.419
OPELIKA, AL 36804                                    P‐0008782 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TADDEO, ANTHONY S.
TADDEO, RUTH M.
300 CHESTNUT HILL ROAD
WARWICK, MA 01378                                    P‐0008783 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WU, YUJING
4491 S. PECAN DR
CHANDLER, AZ 85248                                   P‐0008784 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LABORDE, EDWARD P.
ANN
1119 POPE AVE
STEELE, AL 35987                                     P‐0008785 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERWOOD, CLYDE R.
511 ELLSMERE WAY
MOORE, SC 29369                                      P‐0008786 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORAN, RACHEL F.
UCLA SCHOOL OF LAW
385 CHARLES E. YOUNG DR. EAST
LOS ANGELES, CA 90095‐1476                           P‐0008787 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, JANITA C.
3414 PINEWOOD DR. NE
PALM BAY, FL 32905                                   P‐0008788 10/29/2017    TK Holdings Inc., et al .                    $5,500.00                                                                                    $5,500.00
MCCARTHY, ANDREA
180 WOODHULL ROAD
HUNTINGTON, NY 11743                                 P‐0008789 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINTZE, FRED A.
460 ELIZABETH DR.
WOOD DALE, IL 60191                                  P‐0008790 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
ROMBOLD, HOLLY A.
210 SAGEBRUSH RD
STOCKBRIDGE, GA 30281                               P‐0008791 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLOUGH, PATRICIA A.
505 WEST MAIN STREET
APT C
SALEM, VA 24153                                     P‐0008792 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENS, PETER T.
1115 OAKLAND CT
NEWARK, DE 19711                                    P‐0008793 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, JANITA C.
3414 PINEWOOD DR. NE
PALM BAY, FL 32905                                  P‐0008794 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAIN, WENDY S.
224 SAN PABLO ST, NE
APT 4
ALBUQUERQUE, NM 87108                               P‐0008795 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRETZ, JOHN P.
16480 JOHN ROWLAND TRAIL
MILTON, DE 19968                                    P‐0008796 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISE, ROBERT A.
10501 HAMLIN DR
CHESTER, VA 23831                                   P‐0008797 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, REBECCA R.
S., N. G.
516 SUN ISLAND DRIVE
FAIRBANKS, AK 99709                                 P‐0008798 10/29/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
MASTRANGELO, THOMAS J.
59 VILLAGE DRIVE
MONTVILLE, NJ 07045                                 P‐0008799 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICELI, ANTHONY
408 FALETTI CIRCLE
RIVER VALE, NJ 07675                                P‐0008800 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALWAY, SHEILA S.
46A BRUNSWICK AVE.
BLOOMSBURY, NJ 08804‐3008                           P‐0008801 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOULD, GLADYS R.
170 LIBERTY WAY
WOODBURY, NJ 08096                                  P‐0008802 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRETZ, JOHN P.
16480 JOHN ROWLAND TRAIL
MILTON, DE 19968                                    P‐0008803 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENWOOD, GAYLE E.
275 PEARL STREET
MALDEN, MA 02148                                    P‐0008804 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANTON, RICHARD
21 MILLENNIUM DR
COLUMBUS, NJ 08022                                  P‐0008805 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCONNELL, DAVID C.
231 BURGUNDY DRIVE
LOGAN TOWNSHIP, NJ 08085                            P‐0008806 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIRSCH, MICHAEL E.
HIRSCH, MICHELLE L.
2465 LIONEL CT
BROOKFIELD, WI 53045                                P‐0008807 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
SVINTSITSKI, OLEG
385 MOUNTAIN AVE
FRANKLIN LAKES, NJ 07417                           P‐0008808 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARLSON, CARL A.
22587 V AVE.
ELDORA, IA 50627                                   P‐0008809 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTMANN, HELEN N.
230 DEXTER ST.
D 310
PROVIDENCE, RI 02907                               P‐0008810 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIRSCH, MICHAEL HIR E.
HIRSCH, MICHELLE L.
2465 LIONEL COURT
BROOKFIELD, WI 53045                               P‐0008811 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILILLO, BARBARA A.
984 VALLEY ROAD
FRANKLIN LAKES, NJ 07417                           P‐0008812 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, NORMAN J.
203 BLACKHAWK RD
HIGHLAND PARK, IL 60035                            P‐0008813 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOTA, MARIE C.
2D CARNATION CIRCLE
READING, MA 01867                                  P‐0008814 10/29/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
TENNES, CHRISTY
TENNES, CHRISTY A.
6630 W LIMELIGHT DR
BOISE, IDAHO 83714                                 P‐0008815 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, WILLIAM A.
JOHNSON, GRETCHEN B.
702 SOUTH MIDDLETON AVENUE
PALATINE, IL 60067                                 P‐0008816 10/29/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BROWN, GREGORY E.
CARLSON, RENEE A.
3609 NW WINDING WOODS DR
LEES SUMMIT, MO 64064                              P‐0008817 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, NORMAN J.
203 BLACKHAWK RD
HIGHLAND PARK, IL 60035                            P‐0008818 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CERRATO, FREDERICK J.
293 FAIRVIEW AVE
CEDAR GROVE, NJ 07009                              P‐0008819 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLOWERS, WENDY M.
724 CARRIAGE HILLS COURT
AUGUSTA, GA 30907                                  P‐0008820 10/29/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
CASARINO, MARC S.
CASARINO, LAURIE P.
100 WOODVIEW DRIVE
KENNETT SQUARE, PA 19348                           P‐0008821 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARRIGAN, WILLIAM R.
6480 N WINDFIELD AVE
PARKER, CO 80134‐5924                              P‐0008822 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, NORMAN J.
203 BLACKHAWK RD
HIGHLAND PARK, LL 60035                            P‐0008823 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LONGABAUGH, TAMRI J.
5418 DOGWOOD PLACE
NAVASOTA, TX 77868                                   P‐0008824 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLADNEY, PAULJEFFERY
5611 LYDIA AVE
KANSAS CITY, MO 64110                                P‐0008825 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, NORMAN J.
20 BLACKHAWK RD
HIGHLAND PARK, IL 600355266                          P‐0008826 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BATTEN, BRUCE T.
21419 RUSHING RIVER CR.
EAGLE RIVER, AK 99577‐9414                           P‐0008827 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, ROLAND S.
11377 S MARIPOSA WAY
SANDY, UT 84094                                      P‐0008828 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YIP, SONNY
5 FAITOUTE COURT
SUMMIT, NJ 07901                                     P‐0008829 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SULLIVAN, TIMOTHY
176 BLAKE AVE
BOHEMIA, NY 11716                                    P‐0008830 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLLING, JAMES P.
10102 DEERWOOD CLUB RD.
JACKSONVILLE, FL 32256                               P‐0008831 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYAN, SUZANNE V.
607 OAKLEY STREET UNIT 8
HOUSTON, TX 77006                                    P‐0008832 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEMLOCK, MATTHEW
HEMLOCK, SARAH
702 WHARF ST
LOUDON, TN 37774                                     P‐0008833 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWSON, JUSTIN E.
406 10TH STREET
FIELDALE, VA 24089                                   P‐0008834 10/29/2017    TK Holdings Inc., et al .                    $3,546.81                                                                                    $3,546.81
TAYLOR, AMELIA T.
16D ANDOVER CIRCLE
PRINCETON, NJ 08540                                  P‐0008835 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZARIS, STEVEN N.
NORTH, SUSAN L.
136 ELMORE
PARK RIDGE, IL 60068                                 P‐0008836 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLACE, RONDRICK L.
4210 LAINE LANE
BAYTOWN, TX 77521                                    P‐0008837 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNRO, CRISTA A.
APPENZELLER, DANIEL J.
4469 CALUMET WAY
EUGENE, OR 97404                                     P‐0008838 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MATTHEW R.
9233 OAK AVE
GARY, IN 46403                                       P‐0008839 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENDENHALL, JANICE M.
MENDENHALL, JASON T.
503 S HUNTSMAN BLVD
RAYMORE, MO 64083                                    P‐0008840 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
GRACIA, CRUZ
NO ADDRESS PROVIDED
                                                    P‐0008841 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANTERI, DEBORAH
1085 WALBURK AVE
LAYTON, UT 84040                                    P‐0008842 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSEN, ROBERT
1540 ASHBROOK DRIVE
SCOTCH PLAINS, NJ 07076                             P‐0008843 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANGAIAH, SURESH BABU
10 HIGHVIEW TERR
RANDOLPH, NJ 07869                                  P‐0008844 10/29/2017    TK Holdings Inc., et al .                    $4,154.00                                                                                    $4,154.00
BOLOGNINI, LOUIS T.
10245 NORTH RANGE LINE COURT
MEQUON, WI 53092                                    P‐0008845 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, FAWN E.
WALKER, PHILIP W.
1616 STAINBACK RD
RED OAK, TX 75154                                   P‐0008846 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHAN, KATHERINE
708B CASTILE CT.
HENRICO, VA 23238                                   P‐0008847 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAVETSKY, RICHARD
498 HARBOR DRIVE
CEDARHURST, NY 11516                                P‐0008848 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKE, ALVIN R.
462 HIGHCREST DR
ACWORTH, GA 30101                                   P‐0008849 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, JERUSALEM T.
636 FOXWOOD DRIVE
GLEN BURNIE, MD 21060                               P‐0008850 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRACIA, CRUZ
588 N MIDVALE BLVD APT 302
MADISON, WI 53705                                   P‐0008851 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREA, STEPHANIE F.
28 ESTRADA LANE
BERNALILLO, NM 87004                                P‐0008852 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHIEU, JEAN‐BAPTISTE
MATHIEU, RICHELLE
1809 NIGHTHAWK DR
FLORENCE, SC 29501                                  P‐0008853 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, FAWN E.
WALKER, PHILIP W.
1616 STAINBACK RD
RED OAK, TX 75154                                   P‐0008854 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHUMAKER, STEPHANIE L.
SHUMAKER, JOHN C.
5523 N ROCK CITY RD
ROCK CITY, IL 61070                                 P‐0008855 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIZZA, KEITH D.
133 HORSESHOE BEND
DEL RIO, TX 78840                                   P‐0008856 10/29/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
ARMSTRONG, SALLY C.
ARMSTRONG, RODNEY L.
4216 MULBERRY DR.
CARROLLTON, TX 75010                                P‐0008857 10/29/2017    TK Holdings Inc., et al .                   $53,957.07                                                                                   $53,957.07
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BOYLE, JAMES F.
3550 PILGRIM RD
BROOKFIELD, WI 53005                                P‐0008858 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREA, STEPHANIE F.
28 ESTRADA LANE
BERNAILLO, NM 87004                                 P‐0008859 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, KENNETH T.
JACKSON, WILLIE R.
BONDYS FORD
2379 KINSEY ROAD
DOTHAN, AL                                          P‐0008860 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOVING, JAMES R.
1585 PRINCESS CIRCLE
ATLANTA, GA 30345                                   P‐0008861 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FILESI, JOHN A.
8013 LAKE TAHOE TRAIL
FORT WORTH, TX 76137                                P‐0008862 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCKLEY, DAVID K.
15 BIRCHCREST COURT
DURHAM, NC 27713                                    P‐0008863 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOYA, FARHAN
209 ALLEN ROAD
TORRINGTON, CT 06790                                P‐0008864 10/29/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
ZIMMERMAN, TERRY J.
3550 SLEEPY HOLLOW BLVD
AMARILLO, TX 79121                                  P‐0008865 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIRD, JIMMY J.
13010 MEMORIAL DRIVE
HOUSTON, TX 77079‐7324                              P‐0008866 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WADE, CHARLES E.
1451 S GREENVILLE AVE
APT 4309
ALLEN, TX 75002                                     P‐0008867 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOSEJPKA, LEE ANN M.
73 PIER DRIVE #301
WESTMONT, IL 60559                                  P‐0008868 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENGLISH, DOUGLAS
ENGLISH, CAROL
1348 NW 126TH AVE
SUNRISE, FL 33323                                   P‐0008869 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DINA, ALEXANDER
23 QUABBIN PATH
SUTTON, MA 01590                                    P‐0008870 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HART, PATRICIA P.
178 FAIRMOUNT AVENUE
CHATHAM, NJ 07928                                   P‐0008871 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOKAJ, JASON
148 BELLEFORD RIDGE ROAD
COLUMBIA, SC 29223                                  P‐0008872 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROMAN, RACHEL M.
6 HANSEN ROAD
OLD BRIDGE, NJ 08857                                P‐0008873 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIEPENBURG, HEATHER M.
3506 BLUE COAT RD.
NOTTINGHAM, MD 21236                                P‐0008874 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BIVENS, CARRIE
2502 DOUBLE TREE ST
ROUND ROCK, TX 78681                                P‐0008875 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZARCONE, REBECCA M.
4805 FOXSHIRE CIRCLE
TAMPA, FL 33624                                     P‐0008876 10/29/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
JANK, JAMES T.
3105 JAMES ROAD UNIT 101
GRANBURY, TX 76049                                  P‐0008877 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYAN, EMILY B.
12 QUARRY LN APT 3224
MALDEN, MA 02148                                    P‐0008878 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VINCENT, CRYSTAL E.
3342 NORTCREST RD
APT. D
ATLANTA, GA 30340                                   P‐0008879 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLSTON, COLEDA A.
4109 STEEDS GRANT WAY
FORT WASHINGTON, MD 20744                           P‐0008880 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUEVA‐DINA, LILIAN S.
23 QUABBIN PATH
SUTTON, MA 01590                                    P‐0008881 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NUCUM, MARIA R.
55 BROOKDALE GARDENS, UNIT B
BLOOMFIELD, NJ 07003                                P‐0008882 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHASTEEN, NIKKI
8195 WHITE ROCK CIRCLE
BOYNTON BEACH, FL 33436                             P‐0008883 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GADDY, SAMUEL W.
GADDY, EVA M.
3010 NW 170TH ST.
NEWBERRY, FL 32669                                  P‐0008884 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, LAWWRENCE M.
2814 BANYAN BLVD CIR NW
BOCA RATON, FL 33431‐6313                           P‐0008885 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, STEPHANIE G.
14 6TH STREET
APT S1
MEDFORD, MA 02155                                   P‐0008886 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DINA, ALEXANDER
23 QUABBIN PATH
SUTTON, MA 01590                                    P‐0008887 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, JOHN C.
2123 FOUNTAIN HILL DR.
TIMONIUM, MD 21093                                  P‐0008888 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANNESKI, ANTHONY W.
3293 HAMPTON GREEN WAY
ATLANTA, GA 30340                                   P‐0008889 10/29/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
JONES, JOHN C.
2123 FOUNTAIN HILL DR
TIMONIUM, MD 21093                                  P‐0008890 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIRRO, JAMES J.
3826 S. 57TH CT.
CICERO, IL 60804                                    P‐0008891 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
SEYMORE, BRITTANIA D.
1731 HARVEY LN.
STAFFORD, TX 77477                                 P‐0008892 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, ASHLEY D.
230 VAN LOON AVE NE
PALM BAY, FL 32907                                 P‐0008893 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAPOINTE, PATRICK F.
6230 EL GRANATE DRIVE
HOUSTON, TX 77048                                  P‐0008894 10/29/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GREENE, DANIELLE T.
1009 PORTSMOUTH COURT
ABINGDON, MD 21009                                 P‐0008895 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECK, SUSAN E.
73 PARADISE WOODS
DOUGLASVILLE, GA 30134                             P‐0008896 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EICHMANN, WAYNE M.
EICHMANN, KIMBERLY K.
984 GINGER LANE
GENEVA, IL 60134                                   P‐0008897 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSHALL, ANALIA
83 VERMEER DR
FEASTERVILLE, PA 19053                             P‐0008898 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRASK, CHARLES W.
1966 CUMBRES PATIO
LOS ALAMOS, NM 87544                               P‐0008899 10/29/2017    TK Holdings Inc., et al .                   $21,995.00                                                                                   $21,995.00
GIRILLO, ALICE E.
6806 TROWBRIDGE PLACE
FORT WASHINGTON, MD 20744                          P‐0008900 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIRILLO, ALICE E.
6806 TROWBRIDGE PLACE
FORT WASHINGTON, MD 20744                          P‐0008901 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARROYO, CHRISTOPHER
PETERS, AMY L.
111 CATHEDRAL AVENUE
PROVIDENCE, RI 02908                               P‐0008902 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAHAR, AMIT
18 LAKE AVENUE
APT 4A
EAST BRUNSWICK, NJ 08816                           P‐0008903 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGINNIS, SUSAN
7954 CREPE MYRTLE CT
LORTON, VA 22079                                   P‐0008904 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHEW, ABY
1 SURREY CT.
AIRMONT, NY 10952                                  P‐0008905 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MROZ, GENEVIEVE
7740 S 78TH AVE
BRIDGEVIEW, IL 60455                               P‐0008906 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLUM, DAVID A.
3911 WALNUT WOOD WAY
UNIONTOWN, OH 44685                                P‐0008907 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGRAW, KAREN A.
6250 CDEBACA CT
LOVELAND, CO 80538                                 P‐0008908 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
VISHNYAKOVA, ZHANNA
SVINTSITSKI, OLEG
385 MOUNTAIN AVE
FRANKLIN LAKES, NJ 07417                            P‐0008909 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHEW, ABY
1 SURREY CT
AIRMONT, NY 10952                                   P‐0008910 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASARINO, LAURIE P.
CASARINO, MARC S.
100 WOODVIEW DRIVE
KENNETT SQUARE, PA 19348                            P‐0008911 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLOSKEI, GYONGYI
2286 CENTURY POINT LANE
APT B
GLENDALE HEIGHTS, IL 60139                          P‐0008912 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, DEBORAH M.
TAYLOR, BRETT C.
1919 NEW BETHEL CHURCH ROAD
GARNER, NC 27529                                    P‐0008913 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEGENITY, ADAM
11909 SUNRISE ROAD
RICHMOND, VA 23233                                  P‐0008914 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTON, JONATHAN K.
5819 GREENTREE ROAD
BETHESDA, MD 20817                                  P‐0008915 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIMBERLIN, DAVID P.
2028 NE DILL CT
LEES SUMMIT, MO 64086                               P‐0008916 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRDINA, JEROME M.
GRDINA, MARIANN L.
19101 VAN AKEN BLVD.
SUITE 526
SHAKER HEIGHTS, OH 44122                            P‐0008917 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROMERO, LILIAN R.
FALK, WALTHER
5904 LONG COURT
AUSTIN, TX 78730                                    P‐0008918 10/29/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
LADA, JANUSZ
7930 68TH ROAD
MIDDLE VILLAGE, NY 11379                            P‐0008919 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUESENBERRY, JEFFERY P.
7818 LAKE SHORE DR
OWINGS, MD 20736                                    P‐0008920 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOKICH, SARA
1220 NORTH 44TH STREET
APARTMENT 46
PHOENIX, AZ 85008                                   P‐0008921 10/29/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MILLER, ARTHUR
204 THOMAS WAY
WAVERLY HALL, GA 31831                              P‐0008922 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NUCUM, MARIA R.
55 BROOKDALE GARDENS, UNIT B
BLOOMFIELD, NJ 07003                                P‐0008923 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIMBERLIN, DAVID P.
2028 NE DILL CT
LEES SUMMIT, MO 64086                               P‐0008924 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
FRANCK, FAITH
2629 DESERT GLEN DR
LAS VEGAS, NV 89134‐8876                             P‐0008925 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AULENTA, DARLENE J.
553 ROSE LN.
BARTLETT, IL 60103                                   P‐0008926 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LILE, JOSHUA A.
LILE, KIMBRA L.
829 CAHABA RD
LEXINGTON, KY 40502                                  P‐0008927 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FALK, WALTHER
ROMERO, LILIAN R.
5904 LONG COURT
AUSTIN, TX 78730                                     P‐0008928 10/29/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
PHILLIP, BAXTER W.
PHILLIP, MARTHA
200 E 4TH ST
HINSDALE, IL 60521                                   P‐0008929 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DULL, RUTH
DULL, RANDY
6508 STEWART BLVD.
THE COLONY, TX 75056                                 P‐0008930 10/29/2017    TK Holdings Inc., et al .                     $350.00                                                                                       $350.00
HENDERSON, JOHN M.
519 KRISTEN CIRCLE
MONROE, NC 28110                                     P‐0008931 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALERT, KATRINA J.
11420 CLIFTON BLVD
CLEVELAND, OH 44102                                  P‐0008932 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRACHACHALERM, PANYA
5512 BESLEY CT
ROCKVILLE, MD 20851                                  P‐0008933 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUCKERY, ELGIN C.
1725 SANDY RIDGE WAY
HOOVER, AL 35244                                     P‐0008934 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALDEH, SUSAN F.
12462 GREAT PARK CIRCLE, 303
GERMANTOWN, MD 20876                                 P‐0008935 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, JEFFREY S.
8104 RIDINGS CT
MCLEAN, VA 22102                                     P‐0008936 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRIGAN, ROBERT A.
2986 HUSKING PEG LANE
GENEVA, IL 60134                                     P‐0008937 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, GARRY L.
4120 FASTNET LANE
DULUTH, GA 30096                                     P‐0008938 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANTWELL, THOMAS J.
4 LINDA LANE
TINTON FALLS, NJ 07724‐2773                          P‐0008939 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAPIER, ROBERT D.
5914 JERUSALEM CHURCH RD
MARSHVILLE, NC 28103                                 P‐0008940 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRINGER, CALANDRA
1889 RUSTLING PINES BLVD
MIDWAY, FL 32343                                     P‐0008941 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
EGGERT, THOMAS L.
5810 IDLEDALE CIRCLE
MADISON, WI 53711                                   P‐0008942 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANTWELL, THOMAS J.
4 LINDA LANE
TINTON FALLS, NJ 97724‐2773                         P‐0008943 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAPIER, ERICA L.
519 KRISTEN CIRCLE
MONROE, NC 28110                                    P‐0008944 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLISON, KYLE R.
1281 E MARIGOLD DR
BLOOMINGTON, IN 47401                               P‐0008945 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, ROURGER L.
4120 FASTNET LANE
DULUTH, GA 30096                                    P‐0008946 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARMEL, ANIL
6443 OVERBROOK STREET
FALLS CHURCH, VA 22043                              P‐0008947 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECESARO, RYAN J.
3930 WESLEY CHAPEL ROAD
MARIETTA, GA 30062                                  P‐0008948 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANADY, JOHBN V.
206 OAKWOOD AVE
HOPEWELL, VA 23860                                  P‐0008949 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PECORA, MARIA A.
10 SPRAIN BROOK PARKWAY DRIVE
ELMSFORD, NY 10523                                  P‐0008950 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAGLAND, GAIL P.
94 FAWN DRIVE
HENDERSON NC 27537
                                                    P‐0008951 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROKOSZAK, EVAN A.
21 APPLE TREE LANE
MORRIS PLAINS, NJ 07950                             P‐0008952 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENNEDY, BRANDON
183 THOMPSON ST F6
NEW YORK, NY 10012                                  P‐0008953 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEROSA, AMY T.
255 W GRAHAM AVENUE
LOMBARD, IL 60148‐3333                              P‐0008954 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHEWS, ROBERT O.
26 HOLBROOK ST.
JAMAICA PLAIN, MA 02130‐2756                        P‐0008955 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERTEL, THOMAS R.
4491 E COUNTY RD 1100 N
BATESVILLE, IN 47006                                P‐0008956 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWENSTEIN, KAREN
2821 E CEDAR AVE #6
DENVER, CO 80209                                    P‐0008957 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUNNINGHAM, THOMAS
75 VALLEY ROAD
COLONIA, NJ 07067                                   P‐0008958 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAFT, MARY D.
136 BUBANNA RD
ANDERSON, SC 29626                                  P‐0008959 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
NEAL, NICOL
703 N SPEARS STREET
ALVARADO, TX 76009                                   P‐0008960 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, KATHERINE N.
2804 SHAUGHNESSY DR
WELLINGTON, FL 33414                                 P‐0008961 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEXIS, KIMBERLY D.
735 7TH WAY
WEST PALM BEACH, FL 33407                            P‐0008962 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURITZ, RONALD F.
1807 SPENCER WAY
SHOREWOOD, IL 60404                                  P‐0008963 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROKOSZAK, TRINA R.
21 APPLE TREE LANE
MORRIS PLAINS, NJ 07950                              P‐0008964 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMS, LISA H.
9217 CANTER DRIVE
DALLAS, TX 75231                                     P‐0008965 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEIM, PATSY L.
200 REIFF ROAD
OLEY, PA 19547                                       P‐0008966 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHARP, RICHARD
3 PESCE DRIVE
WAYLAND, MA 01778                                    P‐0008967 10/29/2017    TK Holdings Inc., et al .                       $15.00                                                                                       $15.00
HUYNH, JONATHAN
280 BELLMAN AVE
WARWICK, RI 02889                                    P‐0008968 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINEIRO, ANDREW A.
15300 92ND WAY N.
JUPITER, FL 33478                                    P‐0008969 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASSARANI, MOHAMED G.
9287 RIVER TER SW
CALABASH, NC 28467‐3047                              P‐0008970 10/29/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
POWERS, THOMAS J.
POWERS, ALLISON G.
1953 SOUTH SANTA FE AVENUE
BARTLESVILLE, OK 74003                               P‐0008971 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREEMAN, DAVID T.
133 BUNKER HILL AVE
STRATHAM, NH 03885                                   P‐0008972 10/29/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
FEIGES, MARVIN L.
FEIGES, LINDA S.
                                                     P‐0008973 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCLOSKEY, MARY H.
2214 MAVERICK ST.
LOS LUNAS, NM 87031                                  P‐0008974 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEST, PAMELA J.
DECHOW, JON T.
P.O. BOX 358557
GAINESVILLE, FL 32635                                P‐0008975 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOHLEN, BRENT
3608 SANDPIPER DRIVE
SPRINGFIELD, IL 62711                                P‐0008976 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRAWDERMAN, ERIC J.
909 GLOUSTER CIRCLE
HAMPSTEAD, MD 21074                                  P‐0008977 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WEBB, HADAS
33 HANSON ST
SALEM, MA 01970                                      P‐0008978 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNYDER, TAMARA L.
6717 HONESTY DRIVE
BETHESDA, MD 20817                                   P‐0008979 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RESNICK, LISSETTE
35 PATTEN AVE
OCEANSIDE, NY 11572                                  P‐0008980 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAIMAN, CHARLES
11 NANTUCKET COURT
BEACHWOOD, OH 44122                                  P‐0008981 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEALE, DEBORAH L.
1509 FOREST VIEW DRIVE
FOREST HILL, MD 21050                                P‐0008982 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIS, JESSICA
775 HART STREET
1B
BROOKLYN, NY 11237                                   P‐0008983 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUIE, TIRZAH L.
530 WATERHAVEN LN
ALPHARETTA, GA 30004                                 P‐0008984 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GADA, GIRISH M.
34 WHISPERING HILLS DR
ANNANDALE, NJ 08801                                  P‐0008985 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOANG, JIDIE T.
849 CHAUCER WAY
BUFFALO GROVE, IL 60089                              P‐0008986 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RESNICK, ROBERT
35 PATTEN AVE
OCEANSIDE, NY 11572                                  P‐0008987 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KORKODILOS, ANITA L.
76 DEMAIO DRIVE
MILFORD CT 06460
                                                     P‐0008988 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLAGHER, PAUL P.
7954 CREPE MYRTLE COURT
LORTON, VA 22079                                     P‐0008989 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RESNICK, ROBERT
35 PATTEN AVE
OCEANSIDE, NY 11572                                  P‐0008990 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RADLER, DANIEL G.
670 FLORENCE DRIVE
ELM GROVE, WI 53122                                  P‐0008991 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIVICKY, KAREN L.
615 TRUXTON RD.
ANNAPOLIS, MD 21409JTDBL                             P‐0008992 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMIN, JWALANT B.
NO ADDRESS PROVIDED
                                                     P‐0008993 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRY, MARK A.
9704 N 3RD DRIVE
PHOENIX, AZ 85021                                    P‐0008994 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CAMERON, JOHN A.
CAMERON, CONCHITA C.
1920 W LAMAR ST
HOUSTON, TX 77019                                    P‐0008995 10/29/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
GALLAGHER, PAUL P.
7954 CREPE MYRTLE COURT
LORTON, VA 22079                                     P‐0008996 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOJARCZUK, KAMIL
116 TREMONT ST. APT. 303
BRIGHTON, MA 02135                                   P‐0008997 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIVICKY, KAREN L.
615 TRUXTON RD.
ANNAPOLIS, MD 21409                                  P‐0008998 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANDULA, JOHN G.
2355 SADDLESPRINGS DR
ALPHARETTA, GA 30004                                 P‐0008999 10/29/2017    TK Holdings Inc., et al .                    $2,700.00                                                                                    $2,700.00
DULL, RANDY
DULL, RUTH
6508 STEWART BLVD.
THE COLONY, TX 75056                                 P‐0009000 10/29/2017    TK Holdings Inc., et al .                     $350.00                                                                                       $350.00
MARTINEZ, JESUS G.
502 WEST 149 STREET APT 2A
NEW YORK, NY 10031                                   P‐0009001 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARDEN, TIMOTHY J.
BARDEN, THERESA
1012 WARRINGTON BLVD
CHESAPEAKE, VA 23320                                 P‐0009002 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSON, JASON J.
HANSON, STACEY A.
4550 OAK SPRINGS CIRCLE
DEFOREST, WI 53532                                   P‐0009003 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MWESIGWA, AMOS
2527 FIR WAY, D
LEXINGTON PARK, MD 20653                             P‐0009004 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FURMAN, JOHN T.
FURMAN, PATRICIA E.
1414 DECATUR STREET
BALTIMORE, MD 21230                                  P‐0009005 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUNG, KRISTINE
201 SCHOOL STREET
GREEN BROOK, NJ 08812                                P‐0009006 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDMAN, MARK
7113 CREST RD
DARIEN, IL 60561                                     P‐0009007 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACHARIA, ALEX
34 MORNINGSIDE CT
WHITELAND, IN 46184                                  P‐0009008 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MECHAM, KELLY
2834 W 2400 N
FARR WEST, UT 84404                                  P‐0009009 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOVALCHUK, MONICA K.
2091 PERCH LN SW
NISSWA, MN 56468‐2028                                P‐0009010 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WHITE, ROBERT J.
WHITE, KRISTINE M.
9 FIELD AVE
YORK, ME 03909                                      P‐0009011 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STUPAR, BEN J.
STUPAR, ANNE C.
722 BLUE JAY CT
TIFFIN, IA 52340                                    P‐0009012 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, ZACHARY D.
19 CAMPUS CIRCLE
LAKE FOREST, IL 60045                               P‐0009013 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUESTER, LAUREN B.
2424 SW CABIN CAMP LN
LEES SUMMIT, MO 64082                               P‐0009014 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREGG, TRISHAWN
2937 AUGUSTA CIRCLE
VIRGINIA BEACH, VA 23453                            P‐0009015 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RABIU, JUBRIL O.
RABIU, BANWO P.
210 WINDIGO ROAD
SPARTANBURG, SC 29306‐5902                          P‐0009016 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIN, HUAWEI
9831 SQUAW VALLEY DR
VIENNA, VA 22182                                    P‐0009017 10/29/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
REISE, CHARLINE E.
3503 WINTERGREEN LANE
SAINT LOUIS, MO 63125                               P‐0009018 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, SHANDA
4708 MAPLE TERRACE COURT
APT 201
VIRGINIA BEACH, VA 23455                            P‐0009019 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RABIU, JUBRIL O.
RABIU, BANWO P.
210 WINDIGO ROAD
SPARTANBURG, SC 29306‐5902                          P‐0009020 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGLIARINI, GREGORY S.
25 BEECHNUT DRIVE
JOHNSTON, RI 02919                                  P‐0009021 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULP, SHANA R.
1028 CAROLINA AVE. EXT.
ROCK HILL, SC 29730                                 P‐0009022 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEIGES, MARVIN L.
FEIGES, LINDA S.
7918 IVY LANE
PIKESVILLE, MD 21208                                P‐0009023 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDFARB, SAMUEL Z.
7825 TRIPP AVE.
SKOKIE, IL 60076                                    P‐0009024 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHO, JOOAH S.
26‐21 UNION STREET
APT 3F
FLUSHING, NY 11354                                  P‐0009025 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILDINE, SIGRID
6301 OWEN PLACE
BETHESDA, MD 20817                                  P‐0009026 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CULP, SHANA R.
1028 CAROLINA AVE. EXT
ROCK HILL, SC 29730                                  P‐0009027 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLAUSEGER, WILLIAM R.
KLAUSEGER, LAURIE A.
4201 FOREST AVE
DOWNERS GROVE, IL 60515                              P‐0009028 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, JUI‐SHENG
3006 WIND RIDGE CT
CORALVILLE, IA 52241                                 P‐0009029 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, ELIZABETH
4173 NORTH 83RD STREET
MILWAUKEE, WI 53222                                  P‐0009030 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINEIRO, ANDREW
15300 92ND WAY N.
JUPITER, FL 33478                                    P‐0009031 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNN, SAMANTHA A.
22 MEMORY LN
ORANGE, MA 01364                                     P‐0009032 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINTERS, AMY C.
8 DAFFODIL DRIVE
SICKLERVILLE, NJ 08081                               P‐0009033 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WADE, PATRICK W.
3977 SUNDIAL RD
EUGENE, OR 97405                                     P‐0009034 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUBBS, LAVENTRICE
117 LARUE STREET
PARK FOREST, IL 60466                                P‐0009035 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUENWALD, GARY A.
FAIR OAKS CHRYSLER/JEEP
1501 SAXKEY ROAD
SAXE, VA 23967                                       P‐0009036 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EISENBERG, MARC
EISENBERG, MARC
TJM INSTITUTIONAL SERVICES, L
1458 SHERWOOD
HIGHLAND PARK, IL 60035                              P‐0009037 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOSSOM, STEPHANIE
1000 NW NORTH RIVER DR #117
MIAMI, FL 33136‐2924                                 P‐0009038 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COUNTS, ELIZABETH M.
80 WILDWOOD DR
LYNCHBURG, VA 24502                                  P‐0009039 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, SHERLYN
7210 SILVER STAR
HOUSTON, TX 77086                                    P‐0009040 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, ZORA Z.
5020 STONEBRIDGE DRIVE
COLLEYVILLE, TX 76034                                P‐0009041 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DARROCH, SARA
8 CARRIAGE HL
MADISON, AL 35758                                    P‐0009042 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWEN, JR, ROBERT V.
138 SWANHAVEN DR
LEXINGTON, SC 29073                                  P‐0009043 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CRAVEN, BETTY J.
5207 ENCHANTED MIST
HUMBLE, TX 77346                                    P‐0009044 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAJA HUSSAIN, NOORHUL RAF
5105 LITTLE PINEY DR
LAKE ST. LOUIS, MO 63367                            P‐0009045 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUNNINGHAM, LAAMAR S.
6815 GEORGELAND AVE
BERKELEY, MO 63134                                  P‐0009046 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COUNTS, JACOB D.
80 WILDWOOD DR
LYNCHBURG, VA 24502                                 P‐0009047 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, MATTHEW J.
5020 STONEBRIDGE DRIVE
COLLEYVILLE, TX 76034                               P‐0009048 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDMAN, MARK
7113 CREST RD
DARIEN, IL 60561                                    P‐0009049 10/29/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, CEDRIC D.
956 PIKE RD APT # 11
BIRMINGHAM, AL 35218                                P‐0009050 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SABAUGH, GICYNTHIA R.
ZUSPAN, CHRISTA R.
3702 MELROSE COTTAGE DRIVE
MATTHEWS, NC 28105                                  P‐0009051 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, ANGEL L.
111 BATH AVE APT#24
LONG BRANCH, NJ 07740                               P‐0009052 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HATCH, LINDA S.
2726 BELVOIR BLVD.
SHAKER HEIGHTS, OH 44122                            P‐0009053 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STUART, CASSANDRA M.
STUART, PHILLIP T.
929 CHESAPEAKE WAY
KNOXVILLE, TN 37923                                 P‐0009054 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENDECK, ELIAS Z.
3245 EQUESTRIAN DRIVE
BOCA RATON, FL 33434                                P‐0009055 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENN, PAMELA
10968 BATAVIA
JACKSONVILLE, FL 32246                              P‐0009056 10/30/2017    TK Holdings Inc., et al .                    $1,600.00                                                                                    $1,600.00
FELDMAN, EVA
3109 BABASHAW CT.
FAIRFAX, VA 22031                                   P‐0009057 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENKINS, PAMELA R.
108 S SPRING ST
APT 7F
PRINCETON, IN 47670                                 P‐0009058 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WYSINGER, MACK H.
401 SAWTOOTH ST SE
ALBUQUERQUE, NM 87123                               P‐0009059 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAIMOUR, SHARRON D.
NO ADDRESS PROVIDED
                                                    P‐0009060 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HAMMEN, MARLYCE
158 MILES AVENUE NW
CANTON, OH 44708                                     P‐0009061 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBSON, RICHARD M.
4515 KING GRAVES RD
VIENNA, OH 44473                                     P‐0009062 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBSON, RICHARD M.
4515 KING GRAVES RD
VIENNA, OH 44473                                     P‐0009063 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBSON, RICHARD M.
4515 KING GRAVES RD
VIENNA, OH 44473                                     P‐0009064 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBSON, RICHARD M.
4515 KING GRAVES RD
VIENNA, OH 44473                                     P‐0009065 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KO, JAE‐HAC
7990 IMPERIAL TREASURE ST.
LAS VEGAS, NV 89139                                  P‐0009066 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EBNER, DEBBIE L.
312 OAK PLACE
ASHEVILLE, NC 28803                                  P‐0009067 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARSONS, HOWARD A.
111 FOREST POINTE DR
MADISON, AL 35758                                    P‐0009068 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERCE, DANIEL M.
3316 E. MORELOS CT.
GILBERT, AZ 85295                                    P‐0009069 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETTWAY, BARBARA G.
1016 ST JOSEPH ST
WAVELAND, MS 39576                                   P‐0009070 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERCE, DANIEL M.
3316 E. MORELOS CT.
GILBERT, AZ 85295                                    P‐0009071 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACKENZIE, PATRICIA A.
11261 WATER SPRING CIRCLE
JACKSONVILLE, FL 32256‐9186                          P‐0009072 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARESTA, NIA
3566 CORAL SPRINGS DR
CORAL SPRINGS, FL 33065                              P‐0009073 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENNARO, CHARLOTTE E.
5212 N.E. 64TH AVENUE
SILVER SPRINGS, FL 34488                             P‐0009074 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNAPP, MONICA J.
KNAPP, KEITH A.
217 RAVINE ROAD
HINSDALE, IL 60521                                   P‐0009075 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNAPP, KEITH A.
217 RAVINE ROAD
HINSDALE, IL 60521                                   P‐0009076 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENZ, WILLIAM W.
3015 PAYNE
EVANSTON, IL 60201                                   P‐0009077 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOLER, JEFFREY M.
90 BROOK STREET
WESTWOOD, MA 02090‐3425                              P‐0009078 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
PETTWAY, BARBARA G.
1016 ST JOSEPH ST
WAVELAND, MS 39576                                 P‐0009079 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHISHOLM, MICHELLE
835 MT. HOPE STREET
UNIT 34
NORTH ATTLEBORO, MA 02760                          P‐0009080 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHISHOLM, MICHELLE
835 MT. HOPE STREET
UNIT 34
NORTH ATTLEBORO, MA 02760                          P‐0009081 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEIGER, MICHAEL G.
3814 WHEATGRAIN LANE
FAIRFAX, VA 22033                                  P‐0009082 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
URBANICK, STEVE J.
2925 HERSHEY RD
ERIE, PA 16506‐5003                                P‐0009083 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILLON, INA M.
10315 SERENITY DRIVE
DEMOTTE, IN 46310                                  P‐0009084 10/30/2017    TK Holdings Inc., et al .                    $3,250.00                                                                                    $3,250.00
BOYD, CHLOE J.
3413 ELIJA STREET
AUSTIN, TX 78745                                   P‐0009085 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEST, BILLY W.
2596 PRINCE DR
LINCOLNTON, NC 28092                               P‐0009086 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARREN, CARIE R.
WARREN, JAMES M.
1721 A WILKERSON ROAD
ROME, GA 30165                                     P‐0009087 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEIGER, MICHAEL G.
3814 WHEATGRAIN LANE
FAIRFAX, VA 22033                                  P‐0009088 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAVAGE, BRIAN D.
SAVAGE, NATASHA T.
P.O. BOX 854
HOMER, GA 30547                                    P‐0009089 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOUPT, REX A.
HOUPT, CHRISTINE R.
887 DARTMOOR CIRCLE
NOKOMIS, FL 34275                                  P‐0009090 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNOLDS, CARYN L.
1251 WESTLAKE AVE
LAKEWOOD, OH 44107                                 P‐0009091 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVANS, KIMBERLY G.
6166 SPRING PLACE RD SE
CLEVELAND, TN 37323                                P‐0009092 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAILEY, CHERYL D.
8350 OAKLEIGH ROAD
PARKVILLE, MD 21234                                P‐0009093 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEED, LINDA L.
SPEED, THOMAS E.
2320 SILVERTHORNE DRIVE
DALLAS, TX 75287                                   P‐0009094 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
EDWARDS, DANA M.
8 COLONY HILL COURT
HALETHORPE, MD 21227                               P‐0009095 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEEKS, MARC A.
1810 SALMON DR.
TALLAHASSEE, FL 32303                              P‐0009096 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACQUET, JEREMIAH
936 MONTFORD CIR
UNIONTOWN, OH 44685                                P‐0009097 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEBADDUKA, ISAAC
4951 WHISTLING PINES CT
WESLEY CHSPEL, FL 33545                            P‐0009098 10/30/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
JACQUET, JEREMIAH
936 MONTFORD CIR
UNIONTOWN, OH 44685                                P‐0009099 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, SHARON K.
STEWART, SHANON G.
82 MOUNTAIN STREAM LANE
LAKEMONT, GA 30552                                 P‐0009100 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAMER, REBECCA N.
6301 SHELBY LANE
VIRGINIA BEACH, VA 23464                           P‐0009101 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUNANAN, EDGAR M.
CUNANAN, ANGELA D.
103 SLEEPY RIDGE CT
SUFFOLK, VA 23435                                  P‐0009102 10/30/2017    TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
BRANSTNER, STACY L.
976 FOX RUN DRIVE
TOOELE, UT 84074                                   P‐0009103 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REICH, STEVEN F.
30 WEST STREET
APT. 9A
NEW YORK 10004                                     P‐0009104 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, DAVID A.
2964 MILTON ROAD
CHARLOTTESVILLE, VA 22902                          P‐0009105 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COTTINGHAM, NICOLE F.
2404 PENBROOK AVE
HARRISBURG, PA 17103                               P‐0009106 10/30/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GREENE, DAVID B.
607 OAK NECK ROAD
WEST ISLIP, NY 11795                               P‐0009107 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, JOHN F.
N21 W24177 DORCHESTER DR.
PEWAUKEE, WI 53072                                 P‐0009108 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOLES, PATRICE S.
DOLES, PATRICE S.
355 JAMES LN
HAUGHTON, LA 71037                                 P‐0009109 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAURIA, ALAN J.
5820 STEEPLE LANE
WEST BEND, WI 53090                                P‐0009110 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'LEARY, JOY L.
O'LEARY, DAN M.
313 TAVERNIER DR
PONTE VEDRA, FL 32081                              P‐0009111 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PHILLIPS, LYNN R.
1109 HORNSBYVILLE RD
YORKTOWN, VA 23692                                  P‐0009112 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLLOHAN, ABIGAIL C.
MOLLOHAN, DAVID P.
1704 MAKEFIELD ROAD
YARDLEY, PA 19067                                   P‐0009113 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANAZCO, MONICA E.
11275 SW 239TH ST
HOMESTEAD, FL 33032                                 P‐0009114 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARESTA, MARK
3566 CORAL SPRINGS DR
CORAL SPRINGS, FL 33065                             P‐0009115 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, MONICA M.
4567 WYNDTREE DRIVE APT141
WEST CHESTER, OH 45069                              P‐0009116 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDSON, MELISSA E.
240 MATUNUCK BEACH ROAD
WAKEFIELD, RI 02879                                 P‐0009117 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYNCH, ROBERT J.
5691 WATER OAK CIRCLE
CASTLE ROCK, CO 80108                               P‐0009118 10/30/2017    TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
URBANCZYK, ADA E.
16646 W. HILLSIDE CT.
LOCKPORT, IL 60441                                  P‐0009119 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, ANDREW
8 GLEN ROAD
LEXINGTON, MA 02420                                 P‐0009120 10/30/2017    TK Holdings Inc., et al .                    $3,923.00                                                                                    $3,923.00
TRAVIS, JUSTIN D.
4751 LONGWOOD CIR
GARDENDALE, AL 35071                                P‐0009121 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESPAIN, RAYMOND N.
DESPAIN, SALLEE K.
2621 W DAVIS MEYERS ROAD
FOUNTAIN CITY, IN 47341                             P‐0009122 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEADLEY, HEATHER T.
1230 KRISTI RIDGE DRIVE
LAWRENCEVILLE, GA 30045                             P‐0009123 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH III, JOHN H.
5616 GARY AVENUE
ALEXANDRIA, VA 22311                                P‐0009124 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOREN, RALPH L.
155 LONDON CT
EGG HARBOR TWP, NJ 08234                            P‐0009125 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRETT, ROBYN K.
10211 N. HEDGES AVE.
KANSAS CITY, MO 64157                               P‐0009126 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACLEAN, DOUGLAS E.
WOLF, SUSAN R.
510 HAWTHORNE LANE
CHAPEL HILL, NC 27517                               P‐0009127 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIRLEY, KATHERINE
58 SHERIDAN DRIVE
#1
ATLANTA, GA 30305                                   P‐0009128 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                      Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ROGERS ELLIS, ELIZABETH D.
178 MAGNOLIA STREET
ST MARYS, GA 31558                                     P‐0009129 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGLIO, SAM
P.O. BOX 170676
MILWAUKEE, WI 53217                                    P‐0009130 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SENFT, JAMES A.
1350 SHADY REST DRIVE
NEWPORT, TN 37821                                      P‐0009131 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ, YAUMIN B.
105 SHOVELER COURT
SNEADS FERRY, NC 28460                                 P‐0009132 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCALL, GRACE E.
959 WILLOW CREEK LANE
LOUISVILLE, KY 40245                                   P‐0009133 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLOVER, SHARON J.
2239 W GRACE STREET
RICHMOND, VA 23220                                     P‐0009134 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAVIN, RHASHEED
41 POTTERS LANE
HUNTINGTON, NY 11743                                   P‐0009135 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKIMMIE, MICHAEL D.
1420 SPRING HILL RD, STE. 600
MCLEAN, VA 22102                                       P‐0009136 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BICE, ROBERT W.
507 CLIFF BULLOCK DRIVE
STERLINGTON, LA 71280                                  P‐0009137 10/30/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
CHILDS, JAMES J.
1102 S. BEECHAM RD.
WILLIAMSTOWN, NJ 08094                                 P‐0009138 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY, BRUCE E.
353 49TH ST NW
CANTON, OH 44709‐1422                                  P‐0009139 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECKER, DAVID W.
NO ADDRESS PROVIDED
                                                       P‐0009140 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SENFT, JAMES A.
1350 SHADY REST DRIVE
NEWPORT 37821                                          P‐0009141 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, SUSAN K.
270 E 191 ST
EUCLID, OH 44119                                       P‐0009142 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OROS, EDWARD J.
589 LAKEWOOD FARMS DRIVE
BOLINGBROOK, IL 60490                                  P‐0009143 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOILES, THOMAS T.
SOILES, KAREN T.
4923 14TH ST NORTH
ARLINGTON, VA 22205                                    P‐0009144 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHILDS, JAMES J.
1102 S. BEECHM RD.
WILLIAMSTOWN, NJ 08094                                 P‐0009145 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEYMOUR, LAUREN A.
LAUREN SEYMOUR
143 W CUMMINGS AVE
HAMPTON, VA 23663                                      P‐0009146 10/30/2017    TK Holdings Inc., et al .                   $23,000.00                                                                                   $23,000.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CARR, CONRAD A.
3152 SLOPING TERR
SNELLVILLE, GA 30078                                P‐0009147 10/30/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MCCALL, GRACE E.
959 WILLOW CREEK LANE
LOUISVILLE, KY 40245                                P‐0009148 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHOFFNER, TIMOTHY B.
1680 JACKS BRANCH ROAD
CANTONMENT, FL 32533                                P‐0009149 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, CHANEE
6112 BREEZEWOOD DR APT 301
GREENBELT, MD 20770                                 P‐0009150 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHILDS, JAMES J.
TROVATO‐LAPORTE, DEBRA R.
1102 S. BEECHAM RD.
WILLIAMSTOWN, NJ 08094                              P‐0009151 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEATHERY, REBECCA C.
809 ANGUS RD.
MONROE, LA 71202                                    P‐0009152 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY, BRUCE E.
353 49TH ST NW
CANTON, OH 44709                                    P‐0009153 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORNER STONE REAL ESTATE PART
309 HOLLY GREEN LANE
HOLLY SPRINGS, NC 27540                             P‐0009154 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONO, DAVID
15 HOMESTEAD ST
WABAN, MA 02468                                     P‐0009155 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAULKNER, MICHELLE N.
6793 CHESTWOOD LANE
AUSTELL, GA 30168                                   P‐0009156 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEPASQUALE, VINCENT F.
32 4TH STREET, APT 1
ELIZABETH, NJ 07206                                 P‐0009157 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONO, DAVID
HAPPE, HOLLY
15 HOMESTEAD STREET
WABAN, MA 02468                                     P‐0009158 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY, BRUCE E.
353 49TH ST NW
CANTON, OH 44709‐1422                               P‐0009159 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, LAWRENCE S.
309 HOLLY GREEN LANE
HOLLY SPRINGS, NC 27540                             P‐0009160 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOWZ, MARK S.
3N466 ELIZABETH ST
ADDISON, IL 60101                                   P‐0009161 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMMU, VENKATA V.
SYAMALA
11 MILLMAN DR
EAST BRUNSWICK, NJ 08816                            P‐0009162 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EARLY, CHRISTINE B.
222 EAST 93RD ST APT 21J
NEW YORK, NY 10128‐3757                             P‐0009163 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
CORNISH, THOM R.
3023 E HICKORY PARK CIR
SUGAR LAND, TX 77479                               P‐0009164 10/30/2017    TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
WIRT, SUSAN
SUSAN WIRT
5262 KEFFER RD
CATAWBA, VA 24070                                  P‐0009165 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOONE, STANLEY E.
5919 RADECKE AVE.
APT. H
BALTIMORE, MD 21206‐3933                           P‐0009166 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUSTICE, CECELIA C.
JUSTICE, JR., RICHARD L.
480 COLLEY ROAD
WETUMPKA, AL 36092                                 P‐0009167 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUARINO, BERNADETTE B.
11 GRANDVIEW AVE
PEABODY, MA 01960                                  P‐0009168 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY, BRUCE E.
BAILEY, NANCY R.
353 49TH ST NW
CANTON, OH 44709‐1422                              P‐0009169 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIMATTEO, FRANCIS V.
208 PLYMOUTH ST
NEW BEDFORD, MA 02740‐1426                         P‐0009170 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHARIFF, ADNAN
191 ELENA CT
JUPITER, FL 33478                                  P‐0009171 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIARMONTE, CHRIS
15 MERIT CT
BROOKLYN, NY 11229                                 P‐0009172 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESMILLER, LORI
193 GATES HOLLOW
BRADFORD, PA 16701                                 P‐0009173 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUGG, LUANN L.
P.O. BOX 111
RUCKERSVILLE, VA 22968                             P‐0009174 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTENSEN, SCOTT W.
106 QUAIL ROAD
YORKTOWN, VA 23692                                 P‐0009175 10/30/2017    TK Holdings Inc., et al .                     $696.03                                                                                       $696.03
MONTEIRO, SONICA M.
25 CARRINGTON AVE
PROVIDENCE, RI 02906                               P‐0009176 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MICHELE M.
124 LEE ROAD 528
PHENIX CITY, AL 36870                              P‐0009177 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACKLER‐CARLINO, GAIL
103 S. SACRAMENTO AVE
VENTNOR, NJ 08406                                  P‐0009178 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNGER, JOCELYN
53 SPENCER STREET
FARMINGDALE, NY 11735                              P‐0009179 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UDO, PRIZE U.
P.O. BOX 893
CLARKSTON, GA 30021                                P‐0009180 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
STERN, ROBERT A.
130 BULLOCK ROAD
EAST FREETOWN, MA 02717                             P‐0009181 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAMPSON, RICHARD D.
1116 SOMERSET ST.
PORT CHARLOTTE, FL 33952                            P‐0009182 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAPPONE, KIMBERLY A.
89 BURR ST
EAST HAVEN, CT 06512                                P‐0009183 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVEY, CHERYL W.
26107 MOUNT VERNON AVE
DAMASCUS, MD 20872                                  P‐0009184 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIXLER, MERTIS S.
120 W SWEETBRIAR RD
WILDWOOD CREST, NJ 08260                            P‐0009185 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCANUFF, STEPHANIE K.
3220 CENTRAL AVENUE
APT 211
CHARLOTTE, NC 28205                                 P‐0009186 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIRVIS, KIMBERLY
89 BURR ST
EAST HAVEN, CT 06512                                P‐0009187 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAPPONE, KIMBERLY A.
89 BURR STREET
EAST HAVEN, CT 06512                                P‐0009188 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, JASON A.
616 ARLINGHAM RD.
FLOURTOWN, PA 19031                                 P‐0009189 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURASTANTI, SARAH
116 MT HOLLY AVE
APT A
MOUNT HOLLY, NJ 08060                               P‐0009190 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PELLEGREN JR, GEORGE R.
162 RTE 6A
YARMOUTH PORT, MA 02675                             P‐0009191 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHOENIX, JENNIFER N.
2059 GREENCOURT DRIVE
MISSOURI CITY, TX 77489                             P‐0009192 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUBLETT, HEATHER
SUBLETT, BRIAN
1111 REVERE PL
VERNON HILLS, IL 60061                              P‐0009193 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASANASIOS, RAMY A.
160 REGIS DRIVE
STATEN ISLAND, NY 10314                             P‐0009194 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUSH, KIRK R.
236 ROCK LAKE DRIVE
ZELIENOPLE, PA 16063                                P‐0009195 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, VIRGINIA D.
6525 CAPE SABLE WAY NE #1
ST PETERSBURG, FL 33702                             P‐0009196 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KATZ, RONALD S.
P.O. BOX 1287
SCARSDALE, NY 10583                                 P‐0009197 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BENAVIDES, TOMMIEANN
P.O. BOX 202089
SAN ANTONIO, TX 78220                                P‐0009198 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAUL, DONNA J.
4409 ROUNDABOUT CIR
LAWRENCE, KS 66049                                   P‐0009199 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, ROBERT E.
119 GLENWOOD DRIVE
WASHINGTON CROSS, PA 18977                           P‐0009200 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PELLEGREN JR, GEORGE R.
162 RTE 6A
YARMOUTH PORT, MA 02675                              P‐0009201 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAVER, MARY E.
3041 PATRICK HENRY DRIVE #101
FALLS CHURCH, VA 22044                               P‐0009202 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAUGG, BARBARA L.
5110 KRAMME AVENUE
BROOKLYN, MD 21225/3019                              P‐0009203 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCORMICK, MARK H.
P. O. BOX 325
ROEBUCK, SC                                          P‐0009204 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIGGINS, LARRY W.
380 FARMINGTON DRIVE EAST
EVANS, GA 30809                                      P‐0009205 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELAM, JOE D.
ELAM, SHERRI L.
833 FOX TAIL DR
EDMOND, OK 73034                                     P‐0009206 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYHEW, RONALD B.
NO ADDRESS PROVIDED
                                                     P‐0009207 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLTZAPPLE, JESSICA C.
3492 TRION HWY
LAFAYETTE, GA 30728                                  P‐0009208 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAXTON, JACK W.
1403 N WALNUT ST
NORMAL, IL 61761                                     P‐0009209 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIFFORD, BECKY M.
GIFFORD, CHAD A.
225 W JOHNSTON STREET
FORSYTH, GA 31029                                    P‐0009210 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, THERESA M.
2607 WEDDINGTON ROAD
MONROE, NC 28110                                     P‐0009211 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLAKE, JAMES E.
6108 WILD ORCHID DRIVE
LITHIA, FL 33547                                     P‐0009212 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTTER, JASON
ROTTER, JASON
1580 WOODVALE AVE
DEERFIELD, IL 60015                                  P‐0009213 10/30/2017    TK Holdings Inc., et al .                    $1,200.00                                                                                    $1,200.00
BOBIER, JOAN A.
116 SHARON HEIGHTS DR
LIBERTY, SC 29657                                    P‐0009214 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
LEVINE, RICHARD S.
LEVINE, SUSAN C.
82 EMMETT AVE.
DEDHAM, MA 02026                                    P‐0009215 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECKER, DAVID T.
156 PORTER ST
APT. 435
BOSTON, MA 02128                                    P‐0009216 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURSH, ROGER D.
4 FOXTAIL CIRCLE
ENGLEWOOD, CO 80113                                 P‐0009217 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRAKE, GARY A.
12100 NW 7 STREET
PLANTATION, FL 33325                                P‐0009218 10/30/2017    TK Holdings Inc., et al .                     $235.00                                                                                       $235.00
STREMPEL, DANIEL
STREMPEL, TARA
15 ADELPHI AVE.
HARRISON, NY 10528                                  P‐0009219 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, EDWARD
135 GOLD ST
NORTH ARLINGTON, NJ 07031                           P‐0009220 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESMILLER, LORI L.
193 GATES HOLLOW
BRADFORD, PA 16701                                  P‐0009221 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBSON, SHANIKA L.
7075 BAYWOOD DRIVE
ROSWELL, GA 30076                                   P‐0009222 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANTWELL, THOMAS J.
4 LINDA LANE
TINTON FALLS, NJ 07724                              P‐0009223 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRUEGER, JASON J.
948 TIMBER RIDGE DRIVE
OREGON, WI 53575                                    P‐0009224 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEAETTE, LYNNETTE A.
1426 MORSE ROAD
JAY, VT 05859                                       P‐0009225 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCUDDY, ROSALIE G.
MCCUDDY, CHANDLER E.
                                                    P‐0009226 10/30/2017    TK Holdings Inc., et al .                    $9,998.00                                                                                    $9,998.00
THOMAS, ROBERT W.
4006 TANNER SLIP CIRCLE
CHESTER, VA 23831                                   P‐0009227 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELADA, MINA A.
53 ELIZABETH STREET
SOUTH BOUND BROO, NJ 08880                          P‐0009228 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEATS, JAMES F.
2352 MONUMENT RD.
MYERSVILLE, MD 21773                                P‐0009229 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASSA, PETER P.
34158 HIGH KNOLL ROAD
LEWES, DE 19958                                     P‐0009230 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACDONALD, PAUL S.
16100 RIM ROAD
EDMOND, OK 73013                                    P‐0009231 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CUMMINGS, ASHLEY R.
1433 N. 2720 W.
PROVO, UT 84601                                      P‐0009232 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEORGAKIS, WILLIAM J.
25 N. DELPHIA AVENUE
PARK RIDGE, IL 60068                                 P‐0009233 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY, BRUCE E.
353 49TH ST NW
CANTON, OH 44709‐1422                                P‐0009234 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOVOSEL, ELAINE K.
1051 EMERALD DUNES DRIVE
SUN CITY CENTER, FL 33573                            P‐0009235 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, JENNIFER K.
106 TIFFANY LN
WARNER ROBINS, GA 31093                              P‐0009236 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLWELL, LAURA
115 GORDON AVE
CARBONDALE, PA 18407                                 P‐0009237 10/30/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MILAUSKAS, JOSEPH A.
MILAUSKAS, RHONDA L.
2527 SOPHIA CHASE DRIVE
MARRIOTTSVILLE, MD 21104                             P‐0009238 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHALKER, RANDOLPH N.
9158 E 35TH PL
DENVER, CO 80238                                     P‐0009239 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECCHER, DAVID
7167 ORCHARD AVE
FREDERICK, CO 80504                                  P‐0009240 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUMMINGS, ASHLEY R.
1433 N. 2720 W.
PROVO, UT 84601                                      P‐0009241 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, ALEX N.
2431 FALKIRK DR.
N. CHESTERFIELD, VA 23236                            P‐0009242 10/30/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
DAWSON, DAN W.
24806 GREENOUGH DR
KATY, TX 77494                                       P‐0009243 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAWKINS, ANTHONY I.
FIRST FINACIAL CREDIT UNION
414 N 23RD ST
UNIT 605
SAINT LOUIS, MO 63133                                P‐0009244 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURENTON, LOUIS L.
400 SAINT CLAIR AVE
MINGO JUNCTION, OH 43938                             P‐0009245 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUNDERBURK, JENNIFER D.
FUNDERBURK, JASON L.
7286 OLD US HWY 421 S
ZIONVILLE, NC 28698                                  P‐0009246 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARGIS, ELIZABETH J.
127 ANCONA AVE
DEBARY, FL 32713                                     P‐0009247 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSSELL, RALPH
6960 STETSON STREET CIR
SARASOTA, FL 34243                                   P‐0009248 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
POMICTER, ALLAN J.
LINDA
207 BUTTERNUT CIRCLE
CONWAY, SC 29526                                    P‐0009249 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENKINS, JAMES W.
794 N COUNTY ROAD 437
COOKS, MI 49817                                     P‐0009250 10/30/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
TOMPACH, LUCAS A.
1815 CRAIN STREET
EVANSTON, IL 60202                                  P‐0009251 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUSTICE, CECELIA C.
JUSTICE, JR., RICHARD L.
480 COLLEY ROAD
WETUMPKA, AL 36092                                  P‐0009252 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ISABEL, RUSSELL G.
RUSSELL ISABEL
130 WALKER ST.
SWANSEA, MA 02777                                   P‐0009253 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRUGE, DWIGHT
8910 WANDERING WILLOW DR
RICHMOND, TX 77406                                  P‐0009254 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANDBERRY, DARIUS
1118 TROOST
FOREST PARK, IL 60130                               P‐0009255 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KTENAS, NICOLE S.
KTENAS, PAUL
16646 W. HILLSIDE CT.
LOCKPORT, IL 60441                                  P‐0009256 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGLIO AND COMPANY
SAM MAGLIO
4287 N PORT WASHINGTON ROAD
GLENDALE, WI 53212                                  P‐0009257 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, BEVERLY B.
3924 NW 38TH PLACE
GAINESVILLE, FL 32606                               P‐0009258 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PACKARD, BRUCE K.
6704 NORTHRIDGE DR.
DALLAS, TX 75214‐3155                               P‐0009259 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEGNER, MARJORIE L.
HEGNER, FREDERICK A.
6218 PALMA DEL MAR BLVD. SOUT
UNIT 212
ST. PETERSBURG, FL 33715                            P‐0009260 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFITH, SANDRA L.
500 BEAVER RD
APT. 204
AMBRIDGE, PA 15003                                  P‐0009261 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, MICHAEL B.
BAUER‐TAYLOR, JACQUE L.
16700 GULF BLVD
APT 526
N REDINGTON BCH, FL 33708                           P‐0009262 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPLANE, SONYA L.
714 93RD ST.
GALVESTON, TX 77554                                 P‐0009263 10/30/2017    TK Holdings Inc., et al .                    $5,200.00                                                                                    $5,200.00


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                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
MONZOLEVSKAYA, NATALYA N.
5606 SHADOW CREEK RD
CHARLOTTE, NC 28226                               P‐0009264 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAPATKA, LISA A.
33 MOUNTAIN TERRACE RD
WEST HARTFORD, CT 06107                           P‐0009265 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRYKMAN, JANICE S.
3901 COWAN CIRCLE
ACWORTH, GA 30101                                 P‐0009266 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUTY, ELENI
1134 GRIEB AVE.
BRISTOL, PA 19007                                 P‐0009267 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUARDIAN DOCUMENT DESTRUCTION
P.O. BOX 67
MOUNT HOLLY, NJ 08060‐0067                        P‐0009268 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAUS, J. K.
34 GRANDVIEW TER
TENAFLY, NJ 07670                                 P‐0009269 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DINGLE, TINA L.
2761 LIVE OAK TRAIL
COLLEGE PARK, GA 30349                            P‐0009270 10/30/2017    TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
GIFFORD, TYLER J.
844 SWAN RIDGE RD
CHARLOTTESVILLE, VA 22903                         P‐0009271 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SING, PIERRE
15014 S. IRVING
DOLTON, IL 60419                                  P‐0009272 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORNETT, DAVID
3508 BARTER STREET
SAINT CHARLES, MO 63301                           P‐0009273 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PICARD, RAYMOND H.
30 SAPPHIRE ST
ENFIELD, CT 06082                                 P‐0009274 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLTZ, CARLA
HERRMANN, SHARON
1145 W 101ST AVE
NORTHGLENN, CO 80260                              P‐0009275 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOPP, EUGENE B.
KOPP, POLLY H.
1141 SEAWORTHY ROAD
GREENSBORO, GA 30642                              P‐0009276 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABNER, CARLOUS H.
14503 ST ANDREWS DRIVE
GRANDVIEW, MO 64030‐4169                          P‐0009277 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORNETT, DAVID W.
3508 BARTER STREET
SAINT CHARLES, MO 63301                           P‐0009278 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KROLL, STACEY
19864 PETRINO ST.
VENICE, FL 34293                                  P‐0009279 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIPMAN, PETER S.
P.O. BOX 796
NORFOLK, MA 02056                                 P‐0009280 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIMER, DAVID W.
244 ATLANTIC AVE
SINKING SPRING, PA 19608                          P‐0009281 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CARON, JAMES M.
7 APPLEWOOD DRIVE
HUDSON, NH 03015                                    P‐0009282 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRMANN, SHARON
GOLTZ, CARLA
1145 W. 101ST AVE
NORTHGLENN, CO 80260                                P‐0009283 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIMINEZ, JOSHUA G.
5745 NEWBANK CIRCLE
SUITE 406
DUBLIN, OH 43017                                    P‐0009284 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOBEL, JAY
20 W64TH STREET, APT. 35S
NEW YORK, NY 10023                                  P‐0009285 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIPMAN, PETER S.
P.O. BOX 796
NORFOLK, MA 02056                                   P‐0009286 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMMONS, GLORIA
2112 E. CONVERSE
SPRINGFIELD, IL 62702                               P‐0009287 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TERRY, SARAH J.
289 SUMMER SPRINGS COURT
JACKSONVILLE, FL 32225                              P‐0009288 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JANG, HEON Y.
11426 TIGER LILY LANE
FAIRFAX, VA 22030                                   P‐0009289 10/30/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
ROGERS ELLIS, ELIZABETH D.
178 MAGNOLIA STREET
ST MARYS, GA 31558                                  P‐0009290 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRITZ, LEE D.
7410 LOWELL AVE
SKOKIE, IL 60076                                    P‐0009291 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAZARI, GIUSEPPE M.
88 PLEASANT PLAINS ROAD
STIRLING, NJ 07980                                  P‐0009292 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VISCO, SCOTT J.
923 WINDSOR‐PERRINEVILLE RD
EAST WINDSOR 08520                                  P‐0009293 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, PATRICIA M.
SHARPE, ROBERT G.
2302 MARLINE CT
WOODBRIDGE, VA 22192                                P‐0009294 10/30/2017    TK Holdings Inc., et al .                    $1,200.00                                                                                    $1,200.00
ALLEN, ANNETTE
1347 GREGAN PL
SAINT LOUIS, MO 63133                               P‐0009295 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINTZ, VICKI P.
3301 19TH STREET N
ST. PETERSBURG, FL 33713                            P‐0009296 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, ROSS
CLOUSER, JESSICA
622 S.HANOVER ST
CARLISLE, PA 17013                                  P‐0009297 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARPENTER, JACK B.
9 LINCOLN WAY
BUCKHANNON, WV 26201                                P‐0009298 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
HARTIG, SONYA A.
19003 PERRONE DR
GERMANTOWN, MD 20874                               P‐0009299 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOSWELL, LAWRENCE E.
BOSWELL, RITA J.
14 RUSTIC LANE
SALEM, WV 26426                                    P‐0009300 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOPHER, MARCIA J.
103 MIDDLEGROUND PLACE
CRANBERRY TOWNSH, PA 16066                         P‐0009301 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTER, CHARLES D.
LIFESTYLE BUILDERS, INC.
O.O. BOX 1363
BERLIN, MD 21811                                   P‐0009302 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEYER, BARRY P.
MEYER, MARY ANN
189 AMSTERDAM PL
MADISON, AL 35758                                  P‐0009303 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLE, DONALD G.
1618 SE MANSFIELD STREET
PORT ST. LUCIE, FL 34952                           P‐0009304 10/30/2017    TK Holdings Inc., et al .                    $4,300.00                                                                                    $4,300.00
SHUJA, MAJID
ZAFAR, WASEEM
8 GERVIN ROAD
LAWRENCEVILLE, NJ 08648                            P‐0009305 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOLEY, JEFFRY T.
18764 E. BRAEBURN LN.
QUEEN CREEK, AZ 85142                              P‐0009306 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAZARI, MARIA L.
88 PLEASANT PLAINS ROAD
STIRLING, NJ 07980                                 P‐0009307 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KICK, FRED C.
155 NE ELM TERRACE
JENSEN BEACH, FL 34957                             P‐0009308 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEGNER, RUSSELL A.
WEGNER, BRENDA M.
2430 COUNTY RD CC
HARTFORD, WI 53027                                 P‐0009309 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAGL, RICHARD D.
1381 ELMWOOD AVE
DEERFIELD, IL 60015                                P‐0009310 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAUDE, DAVID J.
1002 GRANDVIEW DR.
NEW LENOX, IL 60451                                P‐0009311 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTLESS, HEATHER
109 VISTA VIEW LANE
HURT, VA 24563                                     P‐0009312 10/30/2017    TK Holdings Inc., et al .                    $2,300.00                                                                                    $2,300.00
YUSKO, DIANE C.
7 RUSTIC DR
HOWELL, NJ 07731                                   P‐0009313 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAVERS, AMBER B.
113 CODY LANE
FOLEY, AL 36535                                    P‐0009314 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAZARI, GIUSEPPE
88 PLEASANT PLAINS ROAD
STIRLING, NJ 07980                                 P‐0009315 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MCDONALD, YVONNE M.
8462 FALMOUTH DR
ST LOUIS, MO 6311                                    P‐0009316 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRENNON, DAVID M.
9402 S 43RD PL
PHOENIX, AZ 85044‐5545                               P‐0009317 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHERMAN, HOLLI M.
SHERMAN, BRADFORD E.
804 KIM LANE
ROYSE CITY, TX 75189                                 P‐0009318 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAAS, VICKI L.
855 WATERFORD DRIVE
FREDERICK, MD 21702                                  P‐0009319 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEVAN, LARRY P.
BEVAN, CAROL S.
16237 GRIST MILL DRIVE
DERWOOD, MD 20855                                    P‐0009320 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIS, MEGHAN N.
2524 ALFARETTA AVE.
ALTON, IL 62002                                      P‐0009321 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEXANDER, NEAL E.
NO ADDRESS PROVIDED
                                                     P‐0009322 10/30/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
LANGDALE, SHELLI D.
232 E 11TH STREET
#352
CHATTANOOGA, TN 37402                                P‐0009323 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRINGTON HARBOUR, INC.
SUSAN EVANS
7149 LAKE SHORE DRIVE
NORTH BEACH, MD 20714                                P‐0009324 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSEN, EDWARD R.
HANSEN, MADELINE M.
RETIRED
7736 BEVERLY AVE.
PARKVILLE, MD 21234/6101                             P‐0009325 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLAR, JOSE M.
515 GONDOLIERE AV.
CORAL GABLES, FL 33143                               P‐0009326 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COY, AUDREY L.
2 LOST CIRCLE
COLDSPRING, TX 77331                                 P‐0009327 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTLESS, HEATHER
109 VISTA VIEW LANE
HURT, VA 24563                                       P‐0009328 10/30/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
ELLIOTT, EDELTRAUD U.
ELLIOTT, ROLAND
6936S. CARLINDA AVE
COLUMBIA, MD 21046                                   P‐0009329 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LILLEY, JAMES E.
NO ADDRESS PROVIDED
                                                     P‐0009330 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, XIOMARA N.
106 HERITAGE CT
PENNINGTON, NJ 08534‐5286                            P‐0009331 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BAILEY, JOHN B.
525 HAMPTON PL
PORTSMOUTH, VA 23704                                P‐0009332 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NULL, JEANNE
NULL, BRYAN
1ST MID AMERICA CREDIT UNION
818 S. NEUNABER DRIVE
BETHALTO, IL 62010                                  P‐0009333 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTLESS, HEATHER
109 VISTA VIEW LANE
HURT, VA 24563                                      P‐0009334 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHUJA, MAJID
ZAFAR, WASEEM
8 GERVIN ROAD
LAWRENCEVILLE, NJ 08648                             P‐0009335 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, NORITA
14133 REMINGTON CT
FONTANA, CA 92336                                   P‐0009336 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINDER, RONALD L.
375 HOLLOW HILL RD
WAUCONDA, IL 60084                                  P‐0009337 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINTON, ESTHER D.
6624 PONDVIEW DR
TINLEY PARK, IL 60477                               P‐0009338 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODRUM, BETTY L.
WOODRUM, JERRY W.
312 MAPLE ST
HINTON, WV 25951                                    P‐0009339 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, THOMAS E.
CARTER, ASHLEY E.
3649 LIGHT HORSE LOOP
VIRGINIA BEACH, VA 23453                            P‐0009340 10/30/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
CARRIER, DONNA
6822 W AVENIDA DEL REY
PEORIA, AZ 85383                                    P‐0009341 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECKER, KIMBERLY A.
100 PARKWAY AVENUE
WILMINGTON, DE 19809                                P‐0009342 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POPE, LINDA L.
1204 BLOOMSBURY MANOR DR
DURHAM, NC 27703                                    P‐0009343 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAMMERS, LEONARD C.
119 TURTLE COVE LANE
HUNTINGTON, NY 11743                                P‐0009344 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, REBECCA L.
201 KEVIN LANE
SIKESTON, MO 63801                                  P‐0009345 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIRVIS, KIMBERLY A.
89 BURR ST
EAST HAVEN, C 06512                                 P‐0009346 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAPA, KARIN E.
PAPA, ROBERT S.
830 ROLLING HILLS DRIVE
PALM HARBOR, FL 34683                               P‐0009347 10/30/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
EDGINGTON, ASHLEY J.
44 MORTON HOLLOW
FORTSON, GA 31808                                    P‐0009348 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITFIELD, TREVA J.
1013 HIGHLAND VILLAGE TRAIL
BIRMINGHAM, AL 35242                                 P‐0009349 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHELI, JACQUELINE
31524 MARCHESTER DRIVE
WESLEY CHAPEL, FL 33543                              P‐0009350 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNAPP, CHRISTIAN J.
16115 ONAWAY RD
SHAKER HEIGHTS, OH 44120                             P‐0009351 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PFEFFERKORN, LAURA B.
4117 CASSINA ROAD
COLUMBIA, SC 29205                                   P‐0009352 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STINNETT, ANTHONY A.
379 DAVIS RD
STREET, MD 21154                                     P‐0009353 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOGAN, HENRY J.
58 ATKINSON AVENUE
STOUGHTON, MA 02072                                  P‐0009354 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLNESS, HUGH
49 FORD AVE
FORDS, NJ 08863                                      P‐0009355 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAVERS, VIRGINIA A.
1123 35TH STREET
GULFPORT, MS 39501                                   P‐0009356 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNAPP, CHRISTIAN J.
16115 ONAWAY RD
SHAKER HEIGHTS, OH 44120                             P‐0009357 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTHY, KEVIN A.
MCCARTHY, PATRICIA A.
41 NORTH STREET
CRANSTON, RI 02920                                   P‐0009358 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O’ROURKE, WILLIAM B.
2 N. DEE ROAD
#204
PARK RIDGE, IL 60068                                 P‐0009359 10/30/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
KNERR, ADAM M.
5813 S LAKEWOOD AVENUE
C/O DENISE MOODY
TULSA, OK 74135                                      P‐0009360 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURANT, QUARNESHA
21 GOLSON ROAD
FORT DEPOSIT, AL 36032                               P‐0009361 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOVER, WILLIAM D.
5805 CAMPBELL ST
VALPARAISO, IN 46385                                 P‐0009362 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRINIDAD, ANGELA M.
120 RAVINE DRIVE
APT. 56B
MATAWAN, NJ 07747                                    P‐0009363 10/30/2017    TK Holdings Inc., et al .                     $100.00                                                                                       $100.00
DUNKIN, TAMMARA J.
840 NW 69TH STREET
KANSAS CITY, MO 64118                                P‐0009364 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DUNBAR, DAVID
9512 LIBERTY TREE LANE
VIENNA, VA 22182                                      P‐0009365 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORD, EUREKA E.
105 WHITSITT LOOP RD
NEWBERN, AL 36765                                     P‐0009366 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANCOCK, KATHLEEN
2843 CLEAR CREEK LANE
LAFAYETTE, CO 80026                                   P‐0009367 10/30/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
PARKS, BRIAN L.
PARKS, MARY JANE
117 S. CHESTNUT ST.
LINESVILLE, PA 16424‐8607                             P‐0009368 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BILLIG, DON A.
BILLIG, HELEN M.
3197 COUNTY ROAD 20
INT'L FALLS, MN 56649                                 P‐0009369 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALIK, GAYLE Y.
MALIK, JEFFREY D.
11102 W. COOPER DRIVE
LITTLETON, CO 80127‐5842                              P‐0009370 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WENZEL, STEVE E.
P.O. BOX 1877
BANDON, OREGON 97411
                                                      P‐0009371 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEAGREN, WILLIAM A.
SEAGREN, LORIE A.
3136 ATCHISON ST
AURORA, CO 80011 2212                                 P‐0009372 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, MARION
1312 MONTEREY CIR.APT. 1312
JONESBORO, GA
CLAYTON                                               P‐0009373 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTELLO, JUANITA
7225 N GRADY AVE
TAMPA, FL 33614                                       P‐0009374 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCUCCILLI, TINA M.
318 DEVOE DR
OSWEGO, IL 60543‐4068                                 P‐0009375 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JASEK, JEFF
401 N CONSTITUTION DR APT.534
AURORA, IL 60506                                      P‐0009376 10/30/2017    TK Holdings Inc., et al .                       $30.00                                                                                       $30.00
BELFIELD, DAVID M.
230 BEATTIE
LOCKPORT                                              P‐0009377 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WENZEL, STEVE E.
P.O. BOX 1877
BANDON, OREGON 97411
                                                      P‐0009378 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, MARY E.
30 RICHARDSON ROAD
FITCHBURG, MA 01420                                   P‐0009379 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAURINAITIS, ANDREW
33 MICAH HAMLIN RD.
CENTERVILLE, MA 02632                                 P‐0009380 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SEAGREN, WILLIAM A.
SEAGREN, LORIE A.
3136 ATCHISON ST
AURORA, CO 80011‐2212                                P‐0009381 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANWORTH, REX D.
391 W 250 S
LINDON, UT 84042                                     P‐0009382 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SERAFINO, JACQUELINE G.
109 GROVE STREET
WELLESLEY, MA 02482                                  P‐0009383 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, CYNTHIA L.
WOOD, JOHN S.
1239 RUTH DR
KIRKWOOD, MO 63122‐1021                              P‐0009384 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNIGHT, JAMES J.
4509 NE KINGSTON DRIVE
LEE'S SUMMIT, MO 64064                               P‐0009385 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NUNEZ, ANELY M.
10909 SW 75 STREET
MIAMI, FL 33173                                      P‐0009386 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIERNAN, BRIAN G.
435 CARPENTERS COVE LANE
DOWNINGTOWN, PA 19335                                P‐0009387 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEETS, SANDRA R.
2040 MARINA POINTE RD
SALISBURY, NC 28146                                  P‐0009388 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROSEKER, KRISTEN S.
740 LARGO DRIVE
VIRGINIA BEACH, VA 23464                             P‐0009389 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN III, ELVERSON L.
3700 TOONE STREET
APT 2418
BALTIMORE, MD 21224                                  P‐0009390 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KATZ, JULIE
108 TALLWOOD LANE
GREEN BROOK, NJ 08812                                P‐0009391 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WENZEL, STEVE E.
NO ADDRESS PROVIDED
                                                     P‐0009392 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, GREGORY A.
COLLINS, KIMBERLEY D.
8906 QUAIL RIDGE DR
ROWLETT, TX 75089                                    P‐0009393 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNIGHT, JAMES J.
4509 NE KINGSTON DRIVE
LEE'S SUMMIT, MO 64064                               P‐0009394 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, GLENN T.
484 KING GEORGE ROAD
BASKING RIDGE, NJ 07920                              P‐0009395 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KICK, FRED C.
155 NE ELM TERRACE
JENSEN BEACH, FL 34957                               P‐0009396 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STINNETT, ANTHONY A.
379 DAVIS RD
STREET, MD 21154                                     P‐0009397 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
DURAN, RIGOBERTO
223 HAHLO ST.
HOUSTON, TX 77020                                   P‐0009398 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALABRESE, MARLO J.
288 MAPLE AVE
2C
HARTFORD, CT 06114                                  P‐0009399 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELFIELD, DAVID M.
230 BEATTIE
LOCKPORT, NY 14094                                  P‐0009400 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFIN, JAMES N.
GRIFFIN, LISA D.
1 SENTEL ESTS
SULLIVAN, IL 61951                                  P‐0009401 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RILEY, MARY A.
19253 OTTERS WICK WAY
LAND O LAKES, FL 34638                              P‐0009402 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, LORI A.
6028 CUMMINGS ROAD
AKRON, NY 14001‐9325                                P‐0009403 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHLEY, GERALDINE S.
PERRY, CONNIE
217 WILLIAMS AVENUE
FLORENCE, AL 35634                                  P‐0009404 10/30/2017    TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
CASTOR, MAGALIE
19501 W. COUNTRY CLUB DR.
#2211
AVENTURA, FL 33180                                  P‐0009405 10/30/2017    TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
TEGEGNE, HAIMANOT Y.
ZEGEYE, FANAYE A.
1242 S. WHEELING WAY APT H158
AURORA, CO 80012                                    P‐0009406 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, AMASA B.
778 OLD TREE ROAD
DADEVILLE, AL 36853                                 P‐0009407 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'BRIEN, HOLLEY B.
805 RESERVE CHAMPION DRIVE
#021
ROCKVILLE, MD 20850                                 P‐0009408 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STINNETT, SHARON P.
379 DAVIS RD
STREET, MD 21154                                    P‐0009409 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENSON‐JONES, TANYA
3501 LIGHT HORSE LOOP
VIRGINIA BEACH, VA 23453                            P‐0009410 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOINOGLOU, GEORGE
370 GREENE AVENUE
SAYVILLE, NY 11782                                  P‐0009411 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, LAURENCE K.
1818 DARROW AVE
EVANSTON, IL 60201                                  P‐0009412 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEATH, JAYNE M.
2404 S 16TH TERRACE
LEAVENWORTH, KS 66048                               P‐0009413 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SCHEID, LISA
2313 COLONIAL DRIVE
BROOKHAVEN, GA 30319                                P‐0009414 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSARIO, CATHY‐ANN
9 SHERRY RD
EAST BRUNSWICK, NJ 08816                            P‐0009415 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORDOVA, DANIELLE F.
110 TAMARIND COURT
KINGSLAND, GA 31548                                 P‐0009416 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELLY, JAMIE M.
DELLY, FRANKLIN M.
10767 TECUMSEH DRIVE
NEWBURGH, IN 47630                                  P‐0009417 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEEBRICK, ARNOLD L.
1904 TUFTON CT.
VIRGINIA BEACH, VA 23454                            P‐0009418 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMCZAK JR., THOMAS N.
2521 SOUTH 200TH AVENUE
P.O. BOX 909
BUCKEYE, AZ 85326                                   P‐0009419 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, KATHY M.
881 BURR OAK TRAIL
WHITEWATER, WI 53190                                P‐0009420 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, ANTOINETTE
1575 W TALISMAN DR
SALT LAKE CITY, UT 84116                            P‐0009421 10/30/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
PAPP, GLENN R.
632 ENGLEWOOD AVENUE
APARTMENT 9
BUFFALO, NY 14223                                   P‐0009422 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEYER, DEBORAH A.
MEYER, ROY M.
101 PINE RIDGE TRAIL
MADISON, WI 53717                                   P‐0009423 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONROY, SARAH L.
5669 VALLEYVIEW DRIVE
BETHEL PARK, PA 15102                               P‐0009424 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACK, BRANDI
MACK, DELVON
1109 COUNTY STREET
PORTSMOUTH, VA 23704                                P‐0009425 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARSON, ELIZABETH A.
1062 MARY COLLIER RD
ATHENS, GA 30607                                    P‐0009426 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, DOUGLAS
7316 CARLTON ARMS DRIVE APT C
NEW PORT RICHEY
NEW PORT RICHEY, FL 34653                           P‐0009427 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SYCOFF, TODD A.
66 RIDGEVIEW DR
BASKING RIDGE, NJ 07920                             P‐0009428 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNIFF, THOMAS J.
409 FOOTHILL ROAD
BRIDGEWATER, NJ 08807                               P‐0009429 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CARSON, ELIZABETH A.
1062 MARY COLLIER RD
ATHENS, GA 30607                                    P‐0009430 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EGGENER, BRIAN E.
1431 MEADOW LN
GLENVIEW, IL 60025                                  P‐0009431 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEMPELMAN, DEWAYNE L.
HEMPELMANN, PEGGY A.
4846 KNIGHTS WAY
ANCHORAGE, AK 99508                                 P‐0009432 10/30/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
TOMCZAK JR, THOMAS N.
2521 SOUTH 200TH AVENUE
P.O. BOX 909
BUCKEYE, AZ 85326                                   P‐0009433 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARREN RICKFORD, KATHARINE C.
7238 MAGPIE LN.
FALLS CHURCH, VA 22043                              P‐0009434 10/30/2017    TK Holdings Inc., et al .                    $6,200.00                                                                                    $6,200.00
CARSON, ELIZABETH A.
1062 MARY COLLIER RD
ATHENS, GA 30607                                    P‐0009435 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PICARD, RAYMOND H.
30 SAPPHIRE ST
ENFIELD, CT 06082IH                                 P‐0009436 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURRIER, ALYSSA S.
4943 PARK ROAD
UNIT 247
CHARLOTTE, NC 28209                                 P‐0009437 10/30/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
COLLEGE CRAFT ENTERPRISES, LT
211 E. ILLINOIS STREET
SUITE 1A
WHEATON, IL 60187                                   P‐0009438 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAQUETTE, JESSICA
55 OAK LEAF
COVENTRY, CT 06238                                  P‐0009439 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEVINE, KENN
3416 CHURCHILL DRIVE
PORTSMOUTH, VA 23703                                P‐0009440 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, GENESIS
236 GRAY SLATE CIRCLE
SEVIERVILLE, TN 37876                               P‐0009441 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOLES, TARA L.
W1415 ARROWHEAD ROAD
WISCONSIN DELLS, WI 53965                           P‐0009442 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMBROSE, NANCY R.
426 W OAKWOOD DR
BARRINGTON, IL 60010                                P‐0009443 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUCKETT, DEBRA J.
29488 STATE HIGHWAY F
CONCEPTION JCT, MO 64434                            P‐0009444 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EMMERICK, BUCK S.
212 RIVERSTONE COMMONS CIR.
CANTON, GA 30114                                    P‐0009445 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCPARTLAND, CHARLES J.
240 TAVISTOCK ROAD
CHERRY HILL
NEW JERSEY 08034, JM                                P‐0009446 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SHAHEEN, WILLIAM
55 WASHINGTON BLVD
WILLIAMSPORT, PA 17701                               P‐0009447 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEIDLEMAN, BRENT
334 HERRICK AVE
SAYRE, PA 18840                                      P‐0009448 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, YI‐CHING
1120 MORNINGWOOD LN
GREAT FALLS, VA 22066                                P‐0009449 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANCOCK, JEREMY R.
2843 CLEAR CREEK LANE
LAFAYETTE, CO 80026                                  P‐0009450 10/30/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
PELLICCIA, LANNY C.
574 WYOMING AVE
WYOMING, PA 18644                                    P‐0009451 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASSENAT, JENNIFER M.
ASSENAT, STEPHEN G.
360 BALAZIA AVE
MONESSEN, PA 15062                                   P‐0009452 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, NICKOLAS A.
MILLER, ALAINA S.
828 LYNN AVE APT 9
BARABOO, WI 53913                                    P‐0009453 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, THOMAS F.
SMITH, SUSAN M.
8020 E BANDANA COURT
PRESCOTT VALLEY, AZ 86314‐4264                       P‐0009454 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENNEY, DANA M.
PENNEY, DONALD J.
13037 CONQUEST POINT LN
HALLWOOD, VA 23359                                   P‐0009455 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEINERT, RUDOLF J.
DEINERT, PATSY S.
5313 QUEENSWOOD DR.
Q
TAYLORSVILLE, UT 84129                               P‐0009456 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATALANO, BRIAN L.
753 COTTONWOOD COURT
VIRGINIA BEACH, VA 23462                             P‐0009457 10/30/2017    TK Holdings Inc., et al .                   $10,164.92                                                                                   $10,164.92
MARTIN, PAUL R.
18304 PORKY ST
SAEGERTOWN, PA 16433                                 P‐0009458 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRIST, JACQUELYN R.
3103 COVENTRY LANE
SAFETY HARBOR, FL 34695                              P‐0009459 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURAN, JOAN K.
54 FOX RUN RD
NORWALK, CT 06850                                    P‐0009460 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENCE, RACHEL B.
12004 HUDSON VIEW CT
LOUISVILLE, KY 40299                                 P‐0009461 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT JR, JAMES M.
180 JARED DR
LAURENS, SC 29360                                    P‐0009462 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LONHO, RICHARD
LONGO, JENNIFER
P.O. BOX 951813
LAKE MARY, FL 32795                                  P‐0009463 10/30/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
ASTREIKA, VERA
326 BLAIR DRIVE
COPLEY, OH 44321                                     P‐0009464 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICKINSON, MICHAEL R.
3717 PATTERSON AVE
RICHMOND, VA 23221                                   P‐0009465 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCKEYE TRANSFER REALTY, LLC
LISA WALLACE
P.O. BOX 45
COLUMBIANA, OH 44408                                 P‐0009466 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLYNN, JOHN J.
150 EVERGREEN CIRCLE
BEAVER, PA 15009                                     P‐0009467 10/30/2017    TK Holdings Inc., et al .                    $8,500.00                                                                                    $8,500.00
WEBER, CHRISTOPHER
5345 E 131 ST
GARFIELD HTS, OHIO 44125                             P‐0009468 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWEN, DEBBIE J.
119 TERRACE LANE
HANNIBAL, MO 63401                                   P‐0009469 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANE, CHRISTOPHER J.
54 FOX RUN RD
NORWALK, CT 06850                                    P‐0009470 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOMBERG, DONALD C.
8 STONE MEADOW ROAD
ANNANDALE, NJ 08801                                  P‐0009471 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRIST, VIVIAN R.
3103 COVENTRY LANE
SAFETY HARBOR, FL 34695                              P‐0009472 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRARO, STEPHEN
6412 26TH ST
LUBBOCK, TX 79407                                    P‐0009473 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAURIA, SUSAN A.
1088 CHEVAL DR
VERO BEACH, FL 32960                                 P‐0009474 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAULIN, DENNIS J.
225 PLANTATION COVE
MILTON, GA 30004                                     P‐0009475 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUGH, VICKI L.
P.O. BOX 781908
SAN ANTONIO, TX 78278‐1908                           P‐0009476 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMEZ, BARBARA
8899 NW 110 LANE
HIALEAH GARDENS, FL 33018                            P‐0009477 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINOR, STACIE Y.
1938 WOODLAND AVE APT C
KANSAS CITY, MO 64108                                P‐0009478 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAULDING, STACEY
7305 YATES COURT
MCLEAN, VA 22101                                     P‐0009479 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORTZ, SUSAN G.
1312 FOXBORO DR
MONROEVILLE, PA 15146                                P‐0009480 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
DUMAIS, KRAIG A.
126 BIRCH STREET
MADAWASKA, ME 04756                                  P‐0009481 10/30/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
LOHRER, MARTIN J.
318 WHITE AVE.
NORTHVALE, NJ 07647‐1718                             P‐0009482 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, CELESTE D.
4131 MANZANITA AVE
APT 2
S LAKE TAHOE, CA 96150                               P‐0009483 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCKEYE TRANSFER REALTY, LLC
LISA WALLACE
P.O. BOX 45
COLUMBIANA, OH 44408                                 P‐0009484 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STONE, BRIAN J.
STONE, LAURA M.
3851 RIDGEVIEW CT.
COLGATE, WI 53017                                    P‐0009485 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOZEMAN, TANISHA
14611 SOUTHERN BLVD
UNIT 596
LOXAHATCHEE, FL 33470                                P‐0009486 10/30/2017    TK Holdings Inc., et al .                    $1,535.00                                                                                    $1,535.00
SVOBODA, RALPH E.
SVOBODA, LINDA G.
RALPH SVOBODA
623 N RUMPLE LANE
ADDISON, IL 60101                                    P‐0009487 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATAQUET, ELSIE M.
3215 NETHERLAND AVE.
APT. 1E
BRONX, NY 10463                                      P‐0009488 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORTZ, ALFRED B.
1312 FOXBORO DR
MONROEVILLE, PA 15146                                P‐0009489 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAIRCHILD, MARK S.
FAIRCHILD, STACIE M.
4913 ROSE ST
HOUSTON, TX 77007‐5339                               P‐0009490 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, SAMUEL
4130 OXCLIFFE GROVE
SUWANEE, GA 30024                                    P‐0009491 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLYNN, RONALD F.
31600 TARA BLVD W.
SPANISH FORT, AL 36527                               P‐0009492 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIJMEH, ISAM F.
2239 N. 73RD CT
ELMWOOD PARK, IL 60707                               P‐0009493 10/30/2017    TK Holdings Inc., et al .                    $2,283.00                                                                                    $2,283.00
MCCLEAN, SCOTT D.
301 WEST BROAD ST.
#429
FALLS CHURCH, VA 22046                               P‐0009494 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYKEN, DONALD L.
RYKEN, CHERYL J.
10811 E LECLAIRE STREET
GRANT PARK, IL 60940‐5571                            P‐0009495 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
CHAN, WILLIAM T.
4801 WOOD VALLEY DRIVE
RALEIGH, NC 27613                                  P‐0009496 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VIROST, ROGER
329 RIO VISTA DR
CIBOLO, TX 78108                                   P‐0009497 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANTHONY, MATTIE L.
ANTHONY, ALTON
CAPITAL ONE FINANCE COMPANY
4808 LONGSTREET PL
BOSSIER CITY, LA 71112                             P‐0009498 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, CAROLYN W.
135 DELISSA DRIVE
GEORGETOWN, KY 40324                               P‐0009499 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENNECKE, VINCENT
1003 DOUGLAS AVE
WANTAGH, NY 11793                                  P‐0009500 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUMAIS, KRAIG A.
126 BIRCH STREET
MADAWASKA, ME 04756                                P‐0009501 10/30/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
ALEXANDER, JEANNE
23896 CREEK BRANCH LANE
ESTERO, FL 34135                                   P‐0009502 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LATORELLA, MARY JO
LATORELLA, BRUCE R.
13 WHITTIER PLACE
HAVERHILL, MA 01832                                P‐0009503 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VIROST, ROGER
329 RIO VISTA DR
CIBOLO, TX 78108                                   P‐0009504 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAJEWSKI, ANGELA L.
2331 RUTH AVE
SPARROWS POINT, MD 21219                           P‐0009505 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAREAU, PATRICIA
LAREAU, JENNA
85 DUKE DRIVE
STRATFORD, CT 06614                                P‐0009506 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAGLIANI, ROBERT C.
PRIMARY LEARNING, LLC
7119 S ESPANA WAY
CENTENNIAL, CO 80016‐2138                          P‐0009507 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, QUINCY
COLLINS, APRIL
1529 OAK PARK DRIVE
HELENA, AL 35080                                   P‐0009508 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHN, ELIZABETH S.
JOHN, IAN G.
175 KNIBLOE HILL ROAD
SHARON, CT 06069                                   P‐0009509 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GABRENAS, ANN M.
177 BEMIS ST. U!C
TERRYVILLE, CT 06786‐4711                          P‐0009510 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMSON, FRANK J.
2654 N. 2200 EAST RD.
MARTINTON, IL 60951                                P‐0009511 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
DWYER, KEVIN
810 N 2ND ST
BELLAIRE, TX 77401                                  P‐0009512 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COSKUN, CENK
233 ELM ST NW
WASHINGTON, DC 20001                                P‐0009513 10/30/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
HUTCHINGS, CASSANDRA L.
2717 MARSHALL AVE
GRANITE CITY, IL 62040                              P‐0009514 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, MICHAEL L.
12245B FAIRWAY CIRCLE
BLUE ISLAND, IL 60406                               P‐0009515 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIM, WOO H.
3 RIVER STREET APT 17
LITTLE FERRY, NJ 07643‐1110                         P‐0009516 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMPION, STEVEN C.
578 NE 20TH STREET
APT. 7
WILTON MANORS, FL 33305                             P‐0009517 10/30/2017    TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
COWSER, RICK COWSER
COWSER, TERESA
COWSER MEDICAL GROUP, INC
1701 MULLIKIN DR
CHAMPAIGN, IL 61822                                 P‐0009518 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOTALING, SHEILA
229 CHURCH ST
NORTH ADAMS, MA 01247                               P‐0009519 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAWLOWSKI, NICOLE M.
821 CENTER ROAD
LEESPORT, PA 19533                                  P‐0009520 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUDREAU, TIARA C.
224 ALBION ST. #2
WAKEFIELD, MA 01880                                 P‐0009521 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COSKUN, CENK
233 ELM ST NW
WASHINGTON, DC 20001                                P‐0009522 10/30/2017    TK Holdings Inc., et al .                    $1,100.00                                                                                    $1,100.00
LEMBO, JOHN T.
826 POND CYPRESS CT
ORLANDO, FL 32825                                   P‐0009523 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REGALIA, AMANDA M.
8702 ASPEN CIRCLE
PARKER, CO 80134                                    P‐0009524 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARX, RICHARD
2515 KRUPPA ROAD
LAGRANGE, TX 78945                                  P‐0009525 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, SHARYN
810 N 2ND ST
BELLAIRE, TX 77401                                  P‐0009526 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAGLIANI, ROBERT C.
PRIMARY LEARNING, LLC
7119 S ESPANA WAY
CENTENNIAL, CO 80016‐2138                           P‐0009527 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORING, NANCY I.
3558 SOUTH MAIN STREET ROAD
BATAVIA, NY 14020                                   P‐0009528 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
RICHARDSON, PHILLIP E.
300 WILLOW RIDGE DR.
CHUCKEY, TN 37641                                   P‐0009529 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENDRESEN, DEBBIE A.
80 RIVERVALE ROAD
RIVER VALE, NJ 07675                                P‐0009530 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEED, SCOTT
SPEED, JENNIFER
835 AUTUMN BLUFFS
FAIRBURN, GA 30213                                  P‐0009531 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BITTEL, MICHAEL D.
30W002 SPRUCE COURT
WARRENVILLE, IL 60555                               P‐0009532 10/30/2017    TK Holdings Inc., et al .                     $585.00                                                                                       $585.00
HOTALING, SCOTT
229 CHURCH ST
NORTH ADAMS, MA                                     P‐0009533 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, TERRYD
RR 1 BOX 97
BREMEN, OH 43107                                    P‐0009534 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, CAROLE
609 HWY 466 #526
LADY LAKE, FL 32159                                 P‐0009535 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPENCER, MONTYWIN
3380 MOUNTAIN LAUREL LOOP
DUMFRIES, VA 22026                                  P‐0009536 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEMBO, JOHN T.
826 POND CYPRESS CT.
ORLAND0, FL 32825                                   P‐0009537 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COWSER, RICK
COWSER, TERESA
1701 MULLIKIN DR
CHAMPAIGN, IL 61822                                 P‐0009538 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAUL, CALLIE J.
PAUL, STEPHEN J.
5206 GRAND LAKE ST
BELLAIRE, TX 77401                                  P‐0009539 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNOWLTON, ANDREW G.
218 SYCAMORE VILLAGE TERRACE
MIDLOTHIAN, VA 23114                                P‐0009540 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENGLISH, CLADENE R.
216 MYRTLE ST.
UVALDE, TX 78801                                    P‐0009541 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARAKSIN, CAROLYN
271 E.MOUNTAIN VIEW RD,
SAN TAN VALLEY, AZ 85143                            P‐0009542 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWENS, DIANE A.
29 STRATTON LANE
SEWELL, NJ 08080                                    P‐0009543 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, SUE A.
8185 COUNTY ROAD 2578
ROYSE CITY, TX 75189                                P‐0009544 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAVOLIO, WILLIAM E.
711 S LINCOLN STREET
HINSDALE, IL 60521                                  P‐0009545 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
AUSTIN, MARTHA E.
AUSTIN, JOHN J.
116 BEAVER DAM REACH
REHOBOTH BEACH, DE 19971                            P‐0009546 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIN, NORMAN C.
1700 RIDGE ROAD
HIGHLAND PARK, IL 60035                             P‐0009547 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, DENNIS E.
JACKSON, ELIZABETH P.
5838 MARKWELL RIDGE
BRASELTON, GA 30517‐1236                            P‐0009548 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEED, SCOTT
SPEED, JENNIFER
835 AUTUMN BLUFFS
FAIRBURN, GA 30213                                  P‐0009549 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, CAROL
710 JANISCH ROAD
HOUSTON, TX 77018                                   P‐0009550 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPATA, JOHN S.
20472 W LEGEND TRAIL
BUCKEYE, AZ 85396‐1750                              P‐0009551 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STINNETT, SHARON P.
379 DAVIS RD
STREET, MD 21154                                    P‐0009552 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOK, DANIEL R.
34887 NORTH FALCON CIRCLE
KIOWA, CO 80117                                     P‐0009553 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STREET, PATRICIA
56 TOLL GATE RD
DOUGLASSVILLE, PA 19518                             P‐0009554 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVERNAIL, DAVID C.
360 WHITE OAK DR
LUMBERTON, TX 77657                                 P‐0009555 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NANDA, SAURABH
1229 OXFORD HILL CT
APT 1
SAINT LOUIS, MO 63146                               P‐0009556 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIRDEN, ROSLYN R.
1818 S ERVAY ST
#110
DALLAS, TX 75215                                    P‐0009557 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEANER, JACLYN S.
4552 SUNKNOLL DR
LOVELAND, CO 80538                                  P‐0009558 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LI, MENG
MA, ZHONG
701 SHANNON LN
KIRKSVILLE, MO 63501                                P‐0009559 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPADA, JOHN E.
88 FORBES HILL ROAD
QUINCY, MA 02170                                    P‐0009560 10/30/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
WALDEN, CALVIN L.
51AKIN AVE
CAPITOL HEIGHTS, MD 20743                           P‐0009561 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CRANE, ELLIOTT
14194 N. BRONZE STATUE AVE
MARANA, AZ 85658                                     P‐0009562 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINN, LAUREEN B.
5 COTTONWOOD LANE
ATTLEBORO, MA 02703                                  P‐0009563 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKENZIE, JEFFREY D.
MCKENZIE, DONNA G.
2200 NEVILLE ROAD
CHAPEL HILL, NC 217516                               P‐0009564 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRING, BRIAN R.
13108 GREENWOOD CREEK
ASHLAND, VA 23005                                    P‐0009565 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMMER, KENNETH L.
238 JUSTICE WAY
ELKTON, MD 21921                                     P‐0009566 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAH, PAYAL S.
SHAH, SANDIP H.
3389 WHIRLAWAY DRIVE
NORTHBROOK, IL 60062                                 P‐0009567 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEANER, JEFFREY A.
4552 SUNKNOLL DR
LOVELAND, CO 80538                                   P‐0009568 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCFADYEN, HENRY C.
7817 LA SOBRINA
DALLAS, TX 75248                                     P‐0009569 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, TIFFANY M.
136 LIGHTHOUSE DRIVE
PORTSMOUTH, VA 23703                                 P‐0009570 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINDER, MICHAEL
357 E ROOSEVELT BLVD
PHILADELPHIA, PA 19120                               P‐0009571 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOATWRIGHT, DAVID J.
2897 BAFFIN DR
HAMILTON
, OH 45011                                           P‐0009572 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAUGE, BRADLEY L.
4807 MARY GREEN CT NE
CEDAR RAPIDS, IA 52411                               P‐0009573 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYERS, MALINDA S.
7 HILL ST APT 1
OWEGO, NY 13827                                      P‐0009574 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAUL, FRANTZ
5618 CRESCENT RIDGE DR
WHITE MARSH, MD 21162                                P‐0009575 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MELISSA R.
185 BRISTOL FOREST TRAIL
SANFORD, FL 32771                                    P‐0009576 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLIGAN, KERRY P.
1807 ROBERT LANE
NAPERVILLE, IL 60564                                 P‐0009577 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEAP, JEFFREY
446 WEST 55TH STREET APT 2D
NEW YORK, NY 10019                                   P‐0009578 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                Current General                                         Current 503(b)(9)
                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
PALMER, COLLEEN M.
10538 E CLAIRMONT CIRCLE
UNIT 206
TAMARAC, FL 33321                                 P‐0009579 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRING, BRIAN R.
13108 GREENWOOD CREEK
ASHLAND, VA 23005                                 P‐0009580 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, EMILY J.
346 TOPSFIELD ROAD
COLUMBUS, OH 43228                                P‐0009581 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STETSON, ZACHARY L.
4 RICHMOND ROAD
NEWTOWN, CT 06470                                 P‐0009582 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSCHICK, CAROL E.
16176 HIDDEN ACRES DR
LITTLE FALLS, MN 56345                            P‐0009583 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIRMOHAMED, RAHIM
255 SPRING FOREST WAY
SHARPSBURG, GA 30277                              P‐0009584 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INZITARI, JOSEPH F.
120 BEL AIR LANE
FAIRFIELD, CT 06824                               P‐0009585 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TSARKOVA, OLGA
851 CELESTE LANE
KELLER, TX 76248                                  P‐0009586 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILHELM, RICHARD A.
193 RT 590
GREELEY, PA 18425                                 P‐0009587 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMMELL, ERIC L.
3017 S HOLLY PL
DENVER, CO 80222                                  P‐0009588 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, SHERRY C.
2480 GREYTHORNE COMMONS
DOUGLASVILLE, GA 30135                            P‐0009589 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIPSE‐GRIMM, WILEEN K.
1208 N 6TH STREET
CLEAR LAKE, IA 50428                              P‐0009590 10/30/2017    TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
BLOUNT, DEMITROUS
25627 COLTRANE DR
DAMASCUS, MD 20872                                P‐0009591 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERKIN, JEFFREY J.
1490 BROADSTONE PL.
VIENNA, VA 22182                                  P‐0009592 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALBIN, BRUCE C.
BALBIN, KAROL R.
13015 COLBERT FERRY
SAN ANTONIO, TX 78253                             P‐0009593 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEVILLE, DANIEL A.
9921 SHOREWOOD LN
UNIT F
CINCINNATI, OH 45241                              P‐0009594 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, DANIELLE O.
25465 SEVEN HOPE RD
HOLLYWOOD, MD 20636                               P‐0009595 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
KAMINSKI, ARLENE M.
KAMINSKI, EDWARD T.
1405 SPRING VALLEY DRIVE
CAROL STREAM, IL 60188                              P‐0009596 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INZITARI, JOSEPH F.
120 BEL AIR LANE
FAIRFIELD, CT 06824                                 P‐0009597 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, TERRY E.
230 BETHEL DR
SALISBURY, NC 28144                                 P‐0009598 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
METZGER, LESLIE A.
54 HALL ST
CLIFTON, NJ 07014                                   P‐0009599 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILLENSNEIDER, MATTHEW J.
177 MILLERS FALLS ROAD
2ND FLOOR
TURNERS FALLS, MA 01376                             P‐0009600 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, BRENDA
2206 ERIN WAY
BEL AIR, MD 21015                                   P‐0009601 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACOSTA, MIGUEL A.
14 ROCKLEDGE ROAD #1B
HARTSDALE, NY 10530                                 P‐0009602 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMALL, RICHARD J.
SMALL, SUSAN C.
551 W WILLOW COURT
LOUISVILLE, CO 80027                                P‐0009603 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COTE, ROBERT
15 PARADISE RD
IPSWICH, MA 01938                                   P‐0009604 10/30/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
TSARKOVA, OLGA
851 CELESTE LANE
KELLER, TX 76248                                    P‐0009605 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMMELL, ERIC L.
3017 S HOLLY PL
DENVER, CO 80222                                    P‐0009606 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLAR, BRITTANY N.
1608 GRAY LAKE DRIVE
PRINCETON, LA 71067                                 P‐0009607 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WADE, WILLIAM J.
WADE, BARBARA J.
3601 MONTCHANIN ROAD
WILMINGTON, DE 19807                                P‐0009608 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENDEZ, WILSON
860 NORTH ORANGE AVENUE
UNIT 233
ORLANDO, FL 32801                                   P‐0009609 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, DAVID
2206 ERIN WAY
BEL AIR, MD 21015                                   P‐0009610 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAKAYA, JERALD J.
5720 BRECKENRIDGE ST
NORTH LAS VEGAS, NV 89081                           P‐0009611 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
ORDER OF JULIAN OF NORWICH
H. M. CRUPI, W704 ALFT ROAD
ORDER OF JULIAN OF NORWICH
WHITE LAKE, WI 54491‐9715                           P‐0009612 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONZELLA, MATTHEW J.
BONZELLA, CHRISTINA A.
2714 BRADBURY COURT
DAVIDSONVILLE, MD 21035                             P‐0009613 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOYDELL, CHRISTOPHER M.
MOYDELL, COLTON C.
13955 CREIGHTON RD
CONROE, TX 77302                                    P‐0009614 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, SHARRIN D.
16 SILVER HILL COURT
PERRY HALL, MD 21128                                P‐0009615 10/30/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
WADE, WILLIAM J.
WADE, BARBARA J.
3601 MONTCHANIN ROAD
WILMINGTON, DE 19807                                P‐0009616 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUER, BONNIE K.
9167 S KENWOOD LANE
TEMPE, AZ 85284                                     P‐0009617 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLACE, LISA R.
532 WARNER ROAD
HUBBARD, OH 44425                                   P‐0009618 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, JAMES R.
5314 ELSTON RD.
JEFFERSON CITY, MO 65109                            P‐0009619 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YARBROUGH, SHEENA
C/O COLLINS LAW LLC
ONE CHASE CORP CTR STE 400
BIRMINGHAM, AL 35244                                P‐0009620 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAW, SHELLEY A.
37 MALLETTE DRIVE
BELEN, NM 87002                                     P‐0009621 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VICHOSKY, KAREN E.
576 MAIN STREET
CEDARVILLE, NJ 08311                                P‐0009622 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COONEY, JOHN W.
7212 NINUTEMAN LN
SOMERSET, NJ 08873                                  P‐0009623 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, ROBERT D.
3502 S COUNTRY CLUB RD
GARLAND, TX 75043                                   P‐0009624 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOYDELL, CHRISTOPHER M.
13955 CREIGHTON RD
CONROE, TX 77302                                    P‐0009625 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANT JR, QUINTON
2831 PETERSBURG COURT
DECATUR, GA 30034                                   P‐0009626 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, PAUL M.
ROSS, CHRISTOPHER M.
3871 MOUNT OXFORD STREET
WELLINGTON, CO 80549                                P‐0009627 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BOYLE, SAMUEL C.
BOYLE, CHERYL L.
1919 ENCLAVE DRIVE
MT PLEASANT, SC 29464                               P‐0009628 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOPECKY, CHRISTOPHER J.
67 BLACKLAND RD NW
ATLANTA, GA 30342                                   P‐0009629 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAZQUEZ, TANIA
9075 GAYLORD DR APT#22
HOUSTON, TX 77024                                   P‐0009630 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BINA, JOHN N.
MIGNONE, DEBORAH
3904 PEGGY DRIVE
WICHITA FALLS, TX 76306                             P‐0009631 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUNNER, MIYOUNG K.
3104 BRANDENBURG DRIVE
INDIANAPOLIS, IN 46239                              P‐0009632 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, MICHELE N.
132 PINE HILL AVE
STAMFORD, CT 06906                                  P‐0009633 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAQUATRA, MICHAEL A.
314A FREINDSHIP AVE
HELLAM, PA 17406                                    P‐0009634 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PELLETIER, HENRY R.
10 SNOW CANNING RD.
SCARBOROUGH, ME 04074                               P‐0009635 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, ROSE L.
5007 STEEL MEADOWS LANE
HUMBLE, TX 77346                                    P‐0009636 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAREAU, PATRICIA
LAREAU, JENNA R.
85 DUKE DRIVE
STRATFORD, CT 06614                                 P‐0009637 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'DONNELL, JEANNE V.
629 HUGHES RD.
HAMPSTEAD, NC 28443                                 P‐0009638 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIENHOFF, DALLAS G.
8455 CHAPELWOOD CT.
ANNANDALE, VA 22003                                 P‐0009639 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, ANGELA R.
17935 TARPON COURT
HOMEWOOD, IL 60430                                  P‐0009640 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTIER, MATTHEW G.
2443 FAWNLAKE TRL
ORLANDO, FL 32828                                   P‐0009641 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JARA, ALBERO
4823 FITZPATRICK WAY
NORCROSS, GA 30092                                  P‐0009642 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, MARY A.
1593 LEE ROAD 375
VALLEY, AL 36854                                    P‐0009643 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBER, CHRISTOPHER
5345 E 131 ST
GARFIELD HTS, OHIO 44125                            P‐0009644 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                Current General                                         Current 503(b)(9)
                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
TRINH, PHU Q.
LE, ELISABETH N.
PHU QUANG TRINH
12943C GRAYS POINTE RD
FAIRFAX, VA 22033                                 P‐0009645 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIFRUSCIO, CHERYL M.
45 WASHINGTON ST
UNIT 12
METHUEN, MA 01844                                 P‐0009646 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOMBERG, KRISTIN E.
8 STONE MEADOW ROAD
ANNANDALE, NJ 08801                               P‐0009647 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAYFIELD, DAWN M.
4226 PARADISE HILLS DR
MARYVILLE, TN 37804                               P‐0009648 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, MICHELE
132 PINE HILL AVE
STAMFORD, CT 06906                                P‐0009649 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLIGAN, WILLIAM F.
9 FAIRWEATHER DRIVE
NORWALK, CT 06851                                 P‐0009650 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZOLDEY, CYNTHIA
ROLT III, ANGELO A.
920 MERRIDALE BLVD
MOUNT AIRY, MD 21771                              P‐0009651 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, DARREN
1815 N SHEFFIELD AVE #C
CHICAGO, IL 60614                                 P‐0009652 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, CHARDAWN K.
NORTHINGTON, CORY L.
13251 KURTZ RD
WOODBRIDGE, VA 22193                              P‐0009653 10/30/2017    TK Holdings Inc., et al .                    $8,500.00                                                                                    $8,500.00
WOOD, JOHN R.
WOOD, BETTY J.
10043 FORD RD
BRYCEVILLE, FL 32009                              P‐0009654 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZEPEDA, IRMA
IRMA ZEPEDA
262 NORTH SHANKS STREET
CLUTE, TX 77531                                   P‐0009655 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAVAGE, DANIEL C.
204‐12 12TH AVENUE
BREEZY POINT, NY 11697                            P‐0009656 10/30/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
HABENSTREIT, LINDA C.
8067 DONEGAL LANE
SPRINGFIELD, VA 22153                             P‐0009657 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHARITT, ANITA D.
SHARITT, HAYWARD F.
2910 OLDE TOWNE PARKWAY
DULUTH, GA 30097                                  P‐0009658 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OYOLA, MANDI R.
HONDA CRV
3714 WILLOWSBROOK WAY
KISSIMMEE, FL 34746                               P‐0009659 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BYNUM, WILLIAM B.
BYNUM, MICHELE A.
2006 ROSE FAMILY DRIVE
MIDLOTHIAN, VA 23112‐4188                           P‐0009660 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DITRO, MICHAEL W.
3014 BELGRADE STREET
PHILADELPHIA, PA 19134                              P‐0009661 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINLEY, DANA
FINLEY, TRACIE
4127 ARRAYRO DR
SNELLVILLE, GA 30039                                P‐0009662 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINOVITCH‐MART, VERA J.
535 SEMINAR DRIVE 213
HOUSTON, TX 77060                                   P‐0009663 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREIDENBERG, KAREN W.
600 COMMERCIAL STREET
FARNHAM, NY 14061                                   P‐0009664 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUNO JR, MARSHALL J.
BRUNO, PAMELA J.
18 TORRINGTON DR
GREENSBURG, PA 15601                                P‐0009665 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAISER, MARK S.
KAISER, CAROLINE R.
9080 HICKORY DR
KEWASKUM, WI 53040                                  P‐0009666 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, BRUCE
JOHNSON, DEBORAH J.
5850 CHASE AVE.
DOWNERS GROVE, IL 60516‐1039                        P‐0009667 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, TRACIE E.
200 WESTRIDGE CIRCLE
DALLAS, GA 30132                                    P‐0009668 10/30/2017    TK Holdings Inc., et al .                   $24,291.53                                                                                   $24,291.53
SPOERLEIN, DENNIS L.
112 RACINE COURT
LAKE ZURICH, IL 60047                               P‐0009669 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLEN, MATTHEW D.
150 6TH AVE
PITTSBURGH, PA 15229                                P‐0009670 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBIC, CRAIG
5686 S. INGALLS ST.
LITTLETON, CO 80123                                 P‐0009671 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERRE, STEVE G.
5120 TREECREST PARKWAY
DECATUR, GA 30035                                   P‐0009672 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALLETT‐RUPP, KAREN S.
2619 E POPLAR DR
BLOOMINGTON, IN 47401                               P‐0009673 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMON, JONATHAN T.
85 KYLES LN
FT. WRIGHT, KY                                      P‐0009674 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUONAGURO, MICHEL L.
20A TRIUMPH COURT
EAST RUTHERFORD, NJ 07073                           P‐0009675 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARR, ROBERT S.
17541 CR 132
LIVE OAK, FL 32060                                  P‐0009676 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
GOLWITZER, CLYDE W.
501 LORRAINE AVE
WAUKEGAN, IL 60085                                 P‐0009677 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GETTLES‐ATWA, KATHRYN J.
8 VANDERBILT AVENUE
APARTMENT 11G
BROOKLYN, NY 11205                                 P‐0009678 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNES, DUDLEY J.
BARNES, TONYA D.
152 CUMBERLAND DRIVE
BYRON, GA 31008                                    P‐0009679 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOLEN, NATARRA N.
3730 ILLINOIS
FL 1
ST. LOUIS, MO 63118                                P‐0009680 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROLT III, ANGELO A.
920 MERRIDALE BLVD
MOUNT AIRY, MD 21771                               P‐0009681 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELVYN, RON
MELVYN, SHERRI
7232 GOLDWEN FALCON STREET
LAS VEGAS, NV 89131                                P‐0009682 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLAKE, CHARLOTTE G.
616 GRAYBEAL HOLLOW
CRESTON, NC 28615                                  P‐0009683 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAGLE, PHILLIP W.
7702 CHADWELL ROAD
HUNTSVILLE, AL 35802                               P‐0009684 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEHRHOFF, MICHAEL B.
12118 MCDONALD CHAPEL DR.
GAITHERSBURG, MD 20878                             P‐0009685 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUTZ, CORRINE K.
2519 CONCAN ST.
SAN ANTONIO, TX 78251                              P‐0009686 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, DONNA
1214 WAYNE AVENUE
NEW SMYRNA BEACH, FL 32168                         P‐0009687 10/30/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
JOSEPH, PAUL
168 EXECUTIVE CIR
STAFFORD, VA 22554                                 P‐0009688 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUPP, JOHN A.
2619 E POPLAR DR
BLOOMINGTON, IN 47401                              P‐0009689 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDRIE, ANNETTE
91 ROUND HILL ROAD
WASHINGTONVILLE, NY 10992                          P‐0009690 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS MASON, CLARA M.
MASON SR., ANDRE P.
CHRYSLER CAPITAL
2203 PINEVALLEY DRIVE
TOBYHANNA, PA 18466                                P‐0009691 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAGLE, PHILLIP W.
7702 CHADWELL ROAD
HUNTSVILLE, AL 35802                               P‐0009692 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MCDANIELS SMITH, KATHRYN
5 YORKSHIRE COURT
MIDDLESBORO, KY 40965                               P‐0009693 10/30/2017    TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
CASTLEBERRY, JASON P.
2542 S QUITMAN ST
DENVER, CO 80219                                    P‐0009694 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAISER, MARK S.
KAISER, CAROLINE R.
9080 HICKORY DR
KEWASKUM, WI 53040                                  P‐0009695 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUPP, JOHN A.
2619 E POPLAR DR
BLOOMINGTON, IN 47401                               P‐0009696 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORRIE, NANCY L.
CORRIE, BRIAN P.
37 E STILLWATER AVE
POB 882
BEVERLY SHORES, IN 46301                            P‐0009697 10/30/2017    TK Holdings Inc., et al .                       $33.17                                                                                       $33.17
MLADA, RAYMOND T.
1033 WIETING COURT
CHILTON,, WI 53014                                  P‐0009698 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, NICHOLE
4335 W 182ND ST
CLEVELAND, OH 44135                                 P‐0009699 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRES, JOHNATHAN R.
NO ADDRESS PROVIDED
                                                    P‐0009700 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HITTI, NICOLE A.
73 TURF LANE
ROSLYN HTS, NY 11577                                P‐0009701 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANG, DONNA J.
520 COVE COURT
PORT ORANGE, FL 32127                               P‐0009702 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEIGLER JOSEPHS, DOROTHY
49A GARDEN RD.
PEABODY, MA 01960                                   P‐0009703 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORDER OF JULIAN OF NORWICH
H. M. CRUPI, W704 ALFT ROAD
ORDER OF JULIAN OF NORWICH
WHITE LAKE, WI 54491‐9715                           P‐0009704 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARDONA, JACQUELINE
17434 N 123RD DRIVE
SUN CITY WEST, AZ 85375                             P‐0009705 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWEMIN, LINDA E.
3 CIRCLE DRIVE
MIDDLETOWN
, RI 02842‐4605                                     P‐0009706 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAURIA, DARLEENE L.
268 GANDY LANE
FLOMATON, AL 36441                                  P‐0009707 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WADDELL, KIM
1450 MAPLE LEAF LANE
DELAND, FL 32724                                    P‐0009708 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NARDIELLO, ANTHONY
1559 RIDGEWAY STREET
UNION, NJ 07083                                     P‐0009709 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
SMITH, LORRAINE A.
12 FERNWOOD AVENUE
PITTSBURGH, PA 15228                              P‐0009710 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIXON, FREDA B.
362 BENT TREE COURT
PRATTVILLE, AL 36067‐2535                         P‐0009711 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDGE, KENNETH E.
16201 FAIRWAY WOODS DRIVE
APT. 1302
FORT MYERS, FL 33908                              P‐0009712 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCLAMB, DONALD R.
121 GEORGE CT
BEAR, DE 19701                                    P‐0009713 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWEMIN, JOHN A.
3 CIRCLE DR
MIDDLETOWN
, RI 02842‐4605                                   P‐0009714 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUERRERO, MARCIA L.
722 DONALDSON AVE
APT 2
SAN ANTONIO, TX 78201                             P‐0009715 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEARS, VICKI M.
505 E. TOWNSEND ST.
DUNN, NC 28334                                    P‐0009716 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHER, RICHARD R.
100 JOSEPH DRIVE
PITTSFIELD, MA 01201‐8328                         P‐0009717 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORSIGLIA, FREDERIC A.
4230 LEHIGH AVE
HOUSTON, TX 77005                                 P‐0009718 10/30/2017    TK Holdings Inc., et al .                   $22,339.00                                                                                   $22,339.00
COSTELLO, JAY R.
81 MELLWOOD DR
TORONTO, OH 43964                                 P‐0009719 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDANIELS, KATHRYN
SMITH, SYDNEY
5 YORKSHIRE COURT
MIDDLESBORO, KY 40965                             P‐0009720 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
XIONG, A.
VANG, KA Z.
701 KLEVIN STREET SPC 36A
ANCHORAGE, AK 99508                               P‐0009721 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VICHOSKY, KAREN E.
576 MAIN STREET
CEDARVILLE, NJ 08311                              P‐0009722 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTH, MICHAEL F.
58 RIVIERA DRIVE
GRANITE CITY, IL 62040                            P‐0009723 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STONE, ELIZABETH D.
1506 N FIEDLER RD
MAPLE GLEN, PA 19002                              P‐0009724 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVAREZ, JOSEPH
572 TUTTLE ST
PHILLIPSBURG, NJ 08865                            P‐0009725 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUSTIN, PATRICIA
111 WEST WESTMORELAND ROAD
FALLS CHURCH, VA 22046                            P‐0009726 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
DONG, HUILI
1500 E BAILEY RD
NAPERVILLE, IL 60565                                P‐0009727 10/30/2017    TK Holdings Inc., et al .                   $15,959.00                                                                                   $15,959.00
ANDERSON, RICHARD T.
ANDERSON, CONNIE J.
3700 FOWLER ROAD
KENNESAW, GA 30144                                  P‐0009728 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOOMGARDEN, ROBIN E.
1430 WILLAMETTE ST #493
EUGENE, OR 97401                                    P‐0009729 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEINSTEIN, DONALD J.
18726 LOMOND BLVD
SHAKER HTS, OH 44122‐5102                           P‐0009730 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, HILARY A.
2318 TEXAS AVE
SAN ANTONIO, TX 78228                               P‐0009731 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALDEN, CALVIN L.
51 AKIN AVE
CAPITOL HEIGHTS, MD 20743                           P‐0009732 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, ADDIE M.
3700 FOWLER ROAD
KENNESAW, GA 30144                                  P‐0009733 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERBER, JAMES W.
233 S 6 ST
APT 1409
PHILADELPHIA, PA 19106                              P‐0009734 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROSSWELL, LAURIE E.
847 W. HARRISVILLE RD.
#A4
OGDEN, UT 84404                                     P‐0009735 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSON, SANDRA L.
4129 N LEAMINGTON AVE
CHICAGO, IL 60641                                   P‐0009736 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, TRAGULA
9502 FOSSIL CANYON DR
HUMBLE, TX 77396                                    P‐0009737 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SYGALL, KARL M.
77 HAVEMEYER LANE
UNIT 217
STAMFORD, CT 06902                                  P‐0009738 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISHE, STEPHEN W.
BISHE, GINA M.
2 WHEATON CENTER
APT 1812
WHEATON, IL 60187                                   P‐0009739 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARKOWSKI, JOSEPH A.
106 CHERRY GROVE LANE
DOWNINGTOWN, PA 19335                               P‐0009740 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, GENEVA S.
274 CRAIGTOWN RD
CALHOUN, GA 30701                                   P‐0009741 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLYNN, JAMES J.
111 WEST 12TH STREET
OCEAN CITY, NJ 08226                                P‐0009742 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
GANG, MINDY S.
5151 NE 18TH AVE
#3
FORT LAUDERDALE, FL 333334                          P‐0009743 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, JOHN A.
532 MALLARD DRIVE
CHAPIN, SC 29036                                    P‐0009744 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRASSO, LISA A.
162 BANYAN CIRCLE
JUPITER, FL 33458                                   P‐0009745 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FENSTER, JAY M.
10355 MADAGASCAR PALM ST
LAS VEGAS, NV 89141                                 P‐0009746 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEGEWALD, HARDY H.
HEGEWALD, SUSAN
2653 E. CRAIG DRIVE
SALT LAKE CITY, UT 84109                            P‐0009747 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMPSON, MARILYN
3705 MALONE DRIVE
AUSTIN, TX 78749                                    P‐0009748 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIGHT, ROBERT C.
8912 E. RAINSAGE ST.
TUCSON, AZ 85747                                    P‐0009749 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEINHEIMER, FRANK J.
3153 JAYNE LANE
DOVER, PA 17315                                     P‐0009750 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIST, AMBER L.
514 WAYNE AVENUE
PENSACOLA, FL 32507                                 P‐0009751 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUYPER, WANDA J.
3790 HUBBLE RD
CINCINNATI, OH 45247                                P‐0009752 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLAGHER, JOHN J.
GALLAGHER, JOANNE C.
6483 INDIAN HEAD TRAIL
INDIAN HEAD PARK, IL 60525                          P‐0009753 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILLMAN, CHRISTIAN L.
6920 BROOKLYN COURT APT 5C
EVANSVILLE, IN 47715                                P‐0009754 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, DONALD H.
151 BRIDGES ROAD
WILLIAMSTOWN, MA 01267                              P‐0009755 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHOLEFIELD, SHANNON
SCHOLEFIELD, DAVID
621 S COLUMBUS
YUMA, CO 80759                                      P‐0009756 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOHN, JACQUELINE A.
2831 SE ASH STREET #3
PORTLAND, OR 97214                                  P‐0009757 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNT, NORMAN L.
104 CEDARBROOK RD
ARDMORE, PA 19003                                   P‐0009758 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAUDRY, JARMILA M.
BEAUDRY, PAUL J.
376 HERITAGE DR
PAWLEYS ISLAND, SC 29585                            P‐0009759 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
POWERS, THERESA B.
DR PEPPER SNAPPLE GROUP INC
1245 E. GLENWOOD CT.
AMELIA, OH 45102                                    P‐0009760 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDONALD, ROBERT M.
31 FAIRWAY STREET
WEYMOUTH, MA 02188                                  P‐0009761 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SBARBARO, NATALIE M.
229 W. ANN ST
LOMBARD, IL 60148                                   P‐0009762 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, TYRONE A.
61‐20 71ST AVE.
D3D
GLENDALE, NY 11385                                  P‐0009763 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, TYRONE A.
61‐20 71ST AVE
GLENDALE
NEW YORK, NY 11385                                  P‐0009764 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDS, LAURA
8813 BLUEBIRD DRIVE
TINLEY PARK, IL 60487                               P‐0009765 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAMLICH, CHARLES J.
1991 WARSON RD
SPRINGFIELD, IL 62704                               P‐0009766 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE SR, GARY W.
P.O. BOX 698
EAST BANK, WV 25067                                 P‐0009767 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOGAN, GARY E.
13 CORN PONE LANE
PALMYRA, VA 22963                                   P‐0009768 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, MARGARET J.
1500 CALMING WATER DRIVE
UNIT #2906
FLEMING ISLAND, FL 32003                            P‐0009769 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ETTIN, JOYCE W.
10 EN PROVENCE
CHERRY HILL
, NJ 08003                                          P‐0009770 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, STEVEN A.
14406 WOODS HOLE DRIVE
SAN ANTONIO, TX 78233                               P‐0009771 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOHN, CHARLES F.
2146 S. 850 E.
BOUNTIFUL, UT 84010                                 P‐0009772 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, DENNIS W.
7 RUST STREET
HAMPTON, VA 23664‐1025                              P‐0009773 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, RICHARD
1116 22ND AVE SW
CEDAR RAPIDS, IA 52404‐5544                         P‐0009774 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEMAN, BERTHA
1933 MYERS RD
EIGHTMILE, AL 36613                                 P‐0009775 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PODRAZIL JR, JOSEPH F.
65 HIGH STREET
JOHNSON CITY, NY 13790‐1525                         P‐0009776 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
ONUFER, HARRIET C.
136 SOUTH DRIVE
PITTSBURGH, PA 15238                                P‐0009777 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PELLICORI, TRACY L.
SHARP, NATASHA L.
4003 PINEHILL BLVD.
MOUNT PLEASANT, WI 53403                            P‐0009778 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNIGHT, JANET G.
NO ADDRESS PROVIDED
                                                    P‐0009779 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINDLEY, SHERRY
15703 IRONSIDE HILL DR
HOUSTON, TX 77053                                   P‐0009780 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, XIN
2374 W OILVE WAY
CHANDLER, AZ 85248                                  P‐0009781 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, LINDA L.
P.O. BOX 934863
MARGATE, FL 33093‐4863                              P‐0009782 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWANK, SUZETTE A.
4987 W. STATION LANE
APARTMENT 101
BOISE, ID 8373                                      P‐0009783 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHIS, CRISTAL
MATHIS, ANTHONY
1900 TOWNSEND COURT
PLAINFIELD, IL 60586                                P‐0009784 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRETT, ROBERT L.
GARRETT, EILEEN F.
712 WILLIAMS ST.
WAXAHACHIE, TX 75165                                P‐0009785 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAMUELS, JAMES
56 TERRA NOVA CIRCLE
WESTPORT, CT 06880                                  P‐0009786 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEVOSS, TODD C.
798 EAGLE DRIVE
AURORA, IL 60506                                    P‐0009787 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINO, MELODY A.
834 FRYER ST
BRIDGEVILLE, PA 15017                               P‐0009788 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIELS, LAKEITHA J.
1513 LIBERTY PARKWAY
ATLANTA, GA 30318                                   P‐0009789 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DISALVO, DEBORAH J.
7 LAMBORN AVE
CONGERS, NY 10920                                   P‐0009790 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNYDER, CHRISTOPHER D.
12220 N WOODRIDGE CT
DUNLAP, IL 61525                                    P‐0009791 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PITTS, JONATHAN B.
16 SUMMERFIELD COURT
ACWORTH, GA 30101                                   P‐0009792 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HATCH, JOEL S.
P.O. BOX 262183
PLANO, TX 65026                                     P‐0009793 10/30/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00


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                                                                                                                Current General                                         Current 503(b)(9)
                                                                                                                                   Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                    Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                    Amount                                                  Amount
EICHER, TAMMIE L.
12814 ALABAMA ST
ELBERTA, AL 36530                                 P‐0009794 10/30/2017    TK Holdings Inc., et al .                   $13,293.31                                                                                   $13,293.31
EDWARDS, CHRISTOPHER M.
7735 S MERRILL AVE
CHICAGO, IL 60649                                 P‐0009795 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIDINGS, NANCY L.
10901 MEADOWGLEN LANE
#231
HOUSTON, TX 77042                                 P‐0009796 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHBY, SHIRLEY J.
105 BOWMAN SPRINGS RD
STAUNTON, VA 24401                                P‐0009797 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANZ, JERRY L.
26 CREEK COURT
GLASSBORO, NJ 08028                               P‐0009798 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DISALVO, DEBORAH J.
7 LAMBORN AVE
CONGERS, NY 10920                                 P‐0009799 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, AMANDA K.
6115 JENKINS RD
ALBANY, GA 31705                                  P‐0009800 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASSIN, MARGARET M.
35 GARELLA ROAD
BETHEL, CT 06802                                  P‐0009801 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GADDIS, WILLIAM
23822 NORTHCREST DR
SPRING, TX 77389                                  P‐0009802 10/30/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
CUMMINS, LINDA S.
2096 BLUE HORIZON DRIVE
MORGANTOWN, WV 26501‐2050                         P‐0009803 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, SHAKEISHA
3512 JOYCE COURT APT. 201
CHESAPEAKE, VA 23321                              P‐0009804 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCHESANO, PAUL R.
4818A FLORENCE AVE
PHILADELPHIA, PA 19143                            P‐0009805 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SVINTSITSKIY, OLEG G.
385 MOUNTAIN AVE
FRANKLIN LAKES, NJ 07417                          P‐0009806 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUYNH, DAO
12510 MT ANDREW
HOUSTON, TX 77089                                 P‐0009807 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, JULIA C.
1577 LAKE JAMES DR
VIRGINIA BEACH, VA 23464                          P‐0009808 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, JOHN R.
WOOD, BETTY J.
10043 FORD RD
BRYCEVILLE, FL 32009                              P‐0009809 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUDDY, EUGENE J.
121 SANDWEDGE DRIVE
MOUNTAIN TOP, PA 18707                            P‐0009810 10/30/2017    TK Holdings Inc., et al .                    $4,250.00                                                                                    $4,250.00
ANAKWE, OBIORA D.
665 TOMAHAWK PLACE
AUSTELL, GA 30168                                 P‐0009811 10/30/2017    TK Holdings Inc., et al .                   $18,750.00                                                                                   $18,750.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
MILDOR, CARLINE
1468 ASHBY DRIVE
LEWISVILLE, TX 75067                               P‐0009812 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KREMSKI, BARBARA E.
999 BOOKCLIFF AVENUE
APT I‐1
GRAND JUNCTION, CO 81501                           P‐0009813 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUYNH, VAN
8610 GLEN VALLEY
HOUSTON, TX 77061                                  P‐0009814 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, TUCKEEM
3889 CAMINITO AGUILAR F
SAN DIEGO, CA 92111                                P‐0009815 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEDORI, LISA M.
616 MEADOW RUN
BRICK, NJ 08724                                    P‐0009816 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLYNN, JASON B.
2291 ARAPAHOE AVENUE
BOULDER, CO 80302                                  P‐0009817 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, PATRICIA S.
1608 VINTAGE RIDGE COURT
WILDWOOD, MO 63038                                 P‐0009818 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, DAVID M.
319 DUNDEE PLACE
DEVON, PA 19333‐1446                               P‐0009819 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KETCHUM, PATRICIA A.
1601 BAY ST
UNIT 203
TAUNTON, MA 02780                                  P‐0009820 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIX, BRENDA J.
887 OHIO AVE
NORTH TONAWANDA                                    P‐0009821 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DREW, CYNTHIA A.
1210 FREEMAN AVE
CHESAPEAKE, VA 23324                               P‐0009822 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORELAND, JOEL D.
MORELAND, HOMERETTA J.
1525 WHALEY COURT
HUNTINGTON, WV 25704‐9585                          P‐0009823 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURT, DIANNA S.
18032 JASON LANE
LANSING, IL 60438                                  P‐0009824 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANT, PHILLIP G.
WATHIER, SUSAN J.
THE AMENDED AND RESTATED BRAN
BRANT FAMILY REVOCABLE TRUST
2355 SKYLINE DRIVE
PRESCOTT, AZ 86303‐5690                            P‐0009825 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARQUESS, EMILY R.
8520 WINNCREST LANE
COLORADO SPRINGS, CO 80920                         P‐0009826 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, PATRICIA S.
1602 VINTAGE RIDGE COURT
WILDWOOD, MO 63038                                 P‐0009827 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
DAN, VI P.
16 MEADOWBROOK LANE
PISCATAWAY, NJ 08854                               P‐0009828 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EBBS, SHARON K.
7B JOHN ADAMS CT
MONROE TOWNSHIP, NJ 08831‐5452                     P‐0009829 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVA, ISAAC I.
25 CRAWFORD ST
FALL RIVER, MA 02724‐2407                          P‐0009830 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOSLOSKY, CAROLE A.
317 LODGE ROAD
PHILADELPHIA, PA 19128‐4418                        P‐0009831 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTGOMERY, BERRY L.
P.O. BOX 177
GOSHEN, VA 24439                                   P‐0009832 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINNEAR, EVAN P.
911 CALLAWAY STREET
SAINT JOSEPH, MN 56374                             P‐0009833 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERNEY, CLIO R.
BERNEY, RICHARD L.
6818 MILLWOOD RD
BETHESDA, MD 20817                                 P‐0009834 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYANT, KATEN M.
7445 ALEXANDRA DR
NEWARK, DE 19702                                   P‐0009835 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORROW, MICHAEL W.
MORROW, PATRICIA M.
4402 E. PRESIDIO PL.
TUCSON, AZ 85712‐1121                              P‐0009836 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOTTOM, CHRISTOPHER J.
1325 N PARK AVE
EUGENE, OR 97404                                   P‐0009837 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONNELLY, JAMES J.
MARY
174 PRINCE GEORGE RD.
EASLEY, SC 29640                                   P‐0009838 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROMAN, CHARLES F.
1507 BUTTER ROAD
APT7
LANCASTER, PA 17601‐5062                           P‐0009839 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIENTKA, MARK
1068 W MAIN AVE
NANTICOKE, PA 18634                                P‐0009840 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, DENNIS K.
3206 ASHE CREEK DR.
LEAGUE CITY, TX 77573                              P‐0009841 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARQUESS, LISA G.
8520 WINNCREST LANE
COLORADO SPRINGS, CO 80920                         P‐0009842 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARNETT, EARL J.
3346 QUICK WATER LNDG NW
KENNESAW, GA 30144                                 P‐0009843 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERNELL, GARY D.
PETERNELL, JILL A.
8323 CARLITOS LN.
HIXSON, TN 37343                                   P‐0009844 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WC PROPERTY MANAGEMENT
9 TASHUA PKWY
TRUMBULL, CT 06611                                  P‐0009845 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAHRAUS, JENNIFER L.
P.O. BOX 4415
SEDONA, AZ 86340                                    P‐0009846 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOCHA, JOANNE
1007 BEAVER ROAD
SEWICKLEY, PA 15143                                 P‐0009847 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDSTEIN, SONIA
ALLINGER, CHARLES
4935 PALO ALTO SE AVE. SE
ALBUQUERQUE, NM 87108                               P‐0009848 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIMPOCK, KATHY E.
1925 E MYRNA LANE
TEMPE, AZ 85284                                     P‐0009849 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, JOSEPH L.
POPPE‐BROWN, TINA M.
23505 MONROE ROAD 577
STOUTSVILLE, MO 65283                               P‐0009850 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEDALDI, CHARLES
505 LAGUARDIA PLACE
APT. 17B
NEW YORK, NY 10012                                  P‐0009851 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOSLOSKY, CAROLE A.
317 LODGE ROAD
PHILADELPHIA, PA                                    P‐0009852 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSTON, KENNETH M.
4070 PIONEER CREEK DR
COLORADO SPRINGS, CO 80922                          P‐0009853 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KROPOG, KRISTINA
435 N 35TH AVENUE, #385
GREELEY, CO 80631                                   P‐0009854 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, AMANTHA
6101 AMHERST AVE
NEWPORT NEWS, VA 23605                              P‐0009855 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYERS, JOSH M.
MYERS, SHARON E.
4745 SECRETARIAT CT.
AVON, OH 44011                                      P‐0009856 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALLARD, RAYMOND
2270 TOWNSEND RD.
NORTH CHARLESTON, SC 29406                          P‐0009857 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MESSNER, KURT M.
W2743 FONDA LANE
BELLEVILLE, WI 53508                                P‐0009858 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, THOMAS W.
19914 RISING STAR DR
HUMBLE, TX 77338‐1843                               P‐0009859 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOCHBECK, KENNETH A.
2917 CORTE DEL POTRO
SANTA FE, NM 87505                                  P‐0009860 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORLEY, DANIEL T.
DANIEL
267 PLUM RUN
LE SUEUR, MN 56058                                  P‐0009861 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MADISON, LAQUANDA A.
P.O. BOX 11054
MILWAUKEE, WI 53211                                 P‐0009862 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEXANDER, MARCUS
2807 CHAPMAN
HOUSTON, TX 77009                                   P‐0009863 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVAKIAN, BO
837 RUSSELL LANE
BEDFORD, TX 76022                                   P‐0009864 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNHILL, JODIE L.
3914 GOLDEN STREET
EVANS, CO 80620                                     P‐0009865 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, WILLIAM
3 TARTAN RIDGE ROAD
BURR RIDGE, IL 60527                                P‐0009866 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, JOHN N.
COLLINS, LANA L.
14010 WOODSTREAM
SAN ANTONIO, TX 78231‐1955                          P‐0009867 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIMBUSH‐JEFFREY, EVANGELA C.
JEFFREY, LARVIN E.
10106 PREAKNESS DRIVE
UPPER MARLBORO, MD 20772                            P‐0009868 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FONTAINE, PAUL R.
5712 TAMARACK DR.
ORLANDO, FL 32819                                   P‐0009869 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROMAN, CHARLES F.
1507 BUTTER ROAD
APT7
LANCASTER, PA 17601‐5062                            P‐0009870 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, RYAN D.
MOORE, JESSICA C.
6326 HALSEY ROAD
MCLEAN, VA 22101                                    P‐0009871 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANZICA, MARTHA A.
26800 S WOODLAWN AVE.
CRETE, IL 60417                                     P‐0009872 10/30/2017    TK Holdings Inc., et al .                    $2,350.00                                                                                    $2,350.00
JEFFREY, LARVIN E.
WIMBUSH‐JEFFREY, EVANGELA C.
10106 PREAKNESS DRIVE
UPPER MARLBORO, MD 20772                            P‐0009873 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, MITZI T.
24 BANBURY LANE
BLOOMFIELD, CT 06002                                P‐0009874 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESSLER, HARVEY
900 N LAKE SHORE DR
UNIT 1306
CHICAGO, IL 60611                                   P‐0009875 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLEY, SADERIA T.
8812 TRIMBLE WAY
ROSEDALE, MD 21237                                  P‐0009876 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINCHLIFFE, MICHAEL J.
25 GILBERT AVE
WESTVILLE, NJ 08093                                 P‐0009877 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
MARCUS, MARTIN
419 CEDAR STREET
CHATHAM, MA 02633                                  P‐0009878 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHILEK, VINCENT A.
38668 WIGGINS ROAD
HEMPSTEAD, TX 77445                                P‐0009879 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GULDEN, DAVID G.
365 MONTCLAIR RD
GETTYSBURG, PA 17325                               P‐0009880 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELRAY, KEVIN D.
1717 PHEASANT LN
SHEBOYGAN, WI                                      P‐0009881 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICE, THOMAS M.
350 E. SNELLING AVE
APPLETOM, MN 56208                                 P‐0009882 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERNEY, RICHARD L.
6818 MILLWOOD RD
BETHESDA, MD 20817                                 P‐0009883 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEXTER, HARVEY R.
DEXTER, YVETTE L.
51 PONDVIEW LANE
MANCHESTER, NH 03102‐8414                          P‐0009884 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTINGLY, LINDA L.
6005 N CHARLES ST
BALTIMORE, MD 21212                                P‐0009885 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, TERRIE
119 HALSEY ST
BROOKLYN, NY 11216                                 P‐0009886 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORGAARD, KRISTINA
CERONE, BERNARD P.
12 FOXWOOD DRIVE
NEWBURGH, NY 12550                                 P‐0009887 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, KENNETH J.
4390 STATE ROUTE 99 N
MONROEVILLE, OH 44847                              P‐0009888 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
A‐PLUS COMPUTERS, INC.
8066 PHILADELPHIA ROAD
BALTIMORE, MD 21237                                P‐0009889 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GULDEN, DAVID G.
GULDEN, DIANA E.
365 MONTCLAIR RD
GETTYSBURG, PA 17325                               P‐0009890 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERS, DONALD G.
KLOES‐PETERS, BONITA L.
7942 BIG BUCK CIRCLE W
WOODRUFF, WI 54568                                 P‐0009891 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUDICEK, JOSEPH
HUDICEK, JOSEPH
670 CYPRESS RD
WARMINSTER, PA 18974                               P‐0009892 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, RAN A.
COHEN, SHOSHANA
4725 KRAFT AVE
NORTH HOLLYWOOD, CA 91607                          P‐0009893 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PELTZMAN, DAVID S.
35 SAINT MORITZ LANE
CHERRY HILL, NJ 08003                               P‐0009894 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SYGALL, KARL M.
77 HAVEMEYER LANE
UNIT 217
STAMFORD, CT 06902                                  P‐0009895 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANECAK, STEPHEN L.
262BRUSH HILL ROAD
LITCHFIELD, CT 06759                                P‐0009896 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUOMA, JENNIFER D.
199 MONTVALE AVE
WOBURN, MA 01801                                    P‐0009897 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISHE, STEPHEN W.
BISHE, GINA M.
2 WHEATON CENTER
APT 1812
WHEATON, IL 60187                                   P‐0009898 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IGLESIA, DANIEL O.
3417 THORNEWOOD DRIVE
ATLANTA, GA 30340                                   P‐0009899 10/30/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
BRUTON, BRIAN R.
306 CLARK STREET
CHARLES CITY, IA 50616                              P‐0009900 10/30/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
DENSON, JULIE M.
STANTON, WENDLE R.
1114 CINAMON AVE
EUGENE, OR 97404                                    P‐0009901 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, TIMOTHY D.
4 HUNLEY CIRCLE
GROTON, CT 06340                                    P‐0009902 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLOYANIS, SUSAN
4610 FOX ROAD
CASCADE, CO 80809                                   P‐0009903 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLYNN, JAMES J.
111 WEST 12TH STREET
OCEAN CITY, NJ 08226                                P‐0009904 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, KRISTIN M.
1405 8TH AVE
BEAVER, PA 15009                                    P‐0009905 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, JOSEPH S.
NO ADDRESS PROVIDED
                                                    P‐0009906 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANLEY, RICHARD H.
1032 MOORINGS DR.
COLORADO SPRINGS, CO 80906‐4567                     P‐0009907 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELRAY, KEVIN D.
1717 PHEASANT LN
SHEBOYGAN, WI 53081                                 P‐0009908 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VECCHIO, ROBERT J.
8089 CLOVERIDGE ROAD
CHAGRIN FALLS, OH 44022                             P‐0009909 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLIHER, RITA A.
2990 WOODS EDGE WAY
FITCHBURG, WI 53711                                 P‐0009910 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
LAROCCHIA, VINCENT C.
74 BUNDY HILL ROAD
HOLMES, NY 12531                                    P‐0009911 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORNELIA, JARED
125 DENN PLACE
WILMINGTON, DE 19804                                P‐0009912 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOURKE, KEVIN W.
358 HIGHLAND
ELMHURST, IL 60126                                  P‐0009913 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROMEO, STEPHEN F.
10326 ARRAN CT
HUNTERSVILLE, NC 28078                              P‐0009914 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMPS, NICHOLE M.
WASSMUND, ZACHARY W.
10568 MT. EVANS DR.
PEYTON, CO 80831                                    P‐0009915 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUHAS, MARGARET T.
54 VALLEY VIEW DR
MOUNTAIN TOP, PA 18707‐1208                         P‐0009916 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAIDI, ANWAR A.
ZAIDI, REBA K.
501 MELODY LANE
VERONA, WI 53593                                    P‐0009917 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUGAN, EDWARD W.
87 SHEPHERD ROAD
CHERRY HILL, NJ 08034                               P‐0009918 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANDERHORST, ABBY
4024 N ASHLAND
#211
CHICAGO, IL 60613                                   P‐0009919 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTEAVARO, CARMEN
9118 NW 152 LANE
MIAMI LAKES, FL 33018                               P‐0009920 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLAN, JOHN W.
614 N 300 W
MAPLETON, UT 84664                                  P‐0009921 10/30/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
ETHERTON, RICHARD C.
90 HEATHER ROAD
CHURCHVILLE, PA 18966‐1110                          P‐0009922 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THURMOND, JULIE C.
1311 BENTWATER PKWY
GRANBURY, TX 76049                                  P‐0009923 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAIRNS, WALLACE J.
CAIRNS, DRU L.
822 MOUNTAIN VIEW ROAD
WAYNESBORO, PA 17268                                P‐0009924 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROMEO, STEPHEN F.
10326 ARRAN CT
HUNTERSVILLE, NC 28078                              P‐0009925 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ETHERTON, RICHARD C.
90 HEATHER ROAD
CHURCHVILLE,, PA 18966‐1110                         P‐0009926 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORSHA, JR., CHRIS A.
154 LINTNER RD
BLAIRSVILLE, PA 15717                               P‐0009927 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
POLENZ, DARYL P.
8 ROCKLEDGE RD
PLEASANTVILLE, NY 10570                            P‐0009928 10/30/2017    TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
ROMEO, STEPHEN F.
10326 ARRAN CT
HUNTERSVILLE, NC 28078                             P‐0009929 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOBUE, JOEL A.
JOEL LOBUE
6135 S. AKRON WAY
GREENWOOD VILLAG, CO 80111                         P‐0009930 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTEAVARO, DANIEL
9118 NW 152 LANE
MIAMI LAKES, FL 33018                              P‐0009931 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWELL, JOHNNY
2818 WEST 83RD. ST
CHICAGO, IL 60652                                  P‐0009932 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERLAN, LOREN R.
6270 VIRGIL STREET
ARVADA, CO 80403                                   P‐0009933 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, WOODROW T.
327 GOANS AVE.
CLINTON, TN 37716                                  P‐0009934 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAWSON, CHRISTOPHER D.
1817 MARLENE DRIVE
EULESS, TX 76040                                   P‐0009935 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUBBINE, VICKIE
3434 CEDARVILLE ROAD
CEDARVILLE, NJ 08311                               P‐0009936 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN DYKE, DANA G.
SCHULTZ, JOSEPH J.
3834 DANCE MILL ROAD
PHOENIX, MD 21131                                  P‐0009937 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEBRUN, KRYSTAL
21 FRANKLIN ST
APT. 2
PEABODY, MA 01960                                  P‐0009938 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNETTE, AMANDA
286 WHISTLE WAY
LOCUST GROVE, GA 30248                             P‐0009939 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY, JESSIE L.
5453 BARRWYN DRIVE
REX, GA 30273                                      P‐0009940 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNETTE, AMANDA
286 WHISTLE WAY
LOCUST GROVE, GA 30248                             P‐0009941 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERINO, BERNARD M.
PERINO, DEBORAH K.
                                                   P‐0009942 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, ROOSEVELT
ROOSEVELT SANDERS
545 PITTS ROAD
SUMTER, SC 29154‐5307                              P‐0009943 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAUREGARD, RONALD N.
1 MERRIMAC STREET
MERRIMAC, MA 01860                                 P‐0009944 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BRETHERTON, LAURA L.
TAKATA
3044 EASTLAND BLVD UNIT I201
CLEARWATER                                           P‐0009945 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUENZER, DUANE E.
325 LONGVIEW ROAD
MEDINA, OH 44256                                     P‐0009946 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIPELING, DAVID
183 PANCOAST MILL RD.
BUENA, NJ 08310                                      P‐0009947 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GASKIN, TAMEKA L.
1817 MARLENE DRIVE
EULESS, TX 76040                                     P‐0009948 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANNAH, TAMEKA
868 EASR COMMERCE ST
#96
BRIDGETON, NJ 08302                                  P‐0009949 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TSARKOVA, SVETLANA
851 CELESTE LANE
KELLER, TX 76248                                     P‐0009950 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUICK, MARC W.
2137 HAYMAKER ROAD
MONROEVILLE, PA 15146                                P‐0009951 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PICARD, PHILLIP S.
PICARD, KYONG S.
26675 N 86TH DR
PEORIA, AZ 85383                                     P‐0009952 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, DEBORAH B.
203 ALVIN DR
NEWARK, DE 19702                                     P‐0009953 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWEITZER, STEVE S.
SWEITZER, ROSETTA A.
701 CASSEL RD
LOT 57
MANCHESTER, PA 17345                                 P‐0009954 10/30/2017    TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
BRUNNER, GABRIELLE M.
18 MICHAEL CT
EPHRATA, PA                                          P‐0009955 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEGUIA, MARIBEL F.
19020 QUEENS CROSS LANE
GERMANTOWN, MD 20876‐1728                            P‐0009956 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THIEROLF, BETHANY
THIEROLF, MATTHEW
1218 EDGEMOOR CT
LANCASTER, PA 17601                                  P‐0009957 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERINO, BERNARD M.
PERINO, DEBORAH K.
                                                     P‐0009958 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICINTIO, MICHELLE
19437 E BELLISARIO CREEK DR
PARKER, CO 80134                                     P‐0009959 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOLA, MICHELLE A.
22 RADIO PL
#4
STAMFORD, CT 06906                                   P‐0009960 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WILLIAMS, CLAUDIA M.
WILLIAMS, BAINBRIDGE T.
1602 VINTAGE RIDGE COURT
WILDWOOD, MO 63038                                   P‐0009961 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROCHOWSKI, LOUIE
GROCHOWSKI, DIANE
BOX 206
CROSBY, MN 56441                                     P‐0009962 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLOUDIOTIS, CHRISTOPHER
8 PALMETTO AVE.
MARLTON, NJ 08053                                    P‐0009963 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, BRENDA K.
6325 W DESERT COVE AVE
GLENDALE, AZ 85304                                   P‐0009964 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERNZEN, CHARLES W.
1406 HILLSIDE FOREST DR.
SUGAR LAND, TX 77479                                 P‐0009965 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LION, LINDA N.
8340 GREENSBORO DR. UNIT 626
MCLEAN, VA 22102                                     P‐0009966 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINTO, KATE A.
5531 TASTOR LN
FREDONIA, NY 14063                                   P‐0009967 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERINO, BERNARD M.
2711 SOUTH WELCH AVENUE
SPRINGFIELD, IL                                      P‐0009968 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCSPADDEN, TAMEKA
404 BROWNING FIELD WAY
HAMPTON, GA 30228                                    P‐0009969 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMES, ERICK
NO ADDRESS PROVIDED
                                                     P‐0009970 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARIANI, WARNER
522 ROCKLAND DRIVE
PITTSBURGH, PA 15239                                 P‐0009971 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWARTZ, LORI G.
8520 WINNCREST LANE
COLORADO SPRINGS, CO 80920                           P‐0009972 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAFFER, CHARLES H.
705 EGRETS LANDING
CARMEL, NY 10512‐2474                                P‐0009973 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, PATRICIA S.
1602 VINTAGE RIDGE COURT
WILDWOOD, MO 63038                                   P‐0009974 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORBIN, PATRICIA J.
CORBIN, LOWELL R.
43547 SHERWOOD ROAD
WELLSVILLE OHIO 43968
                                                     P‐0009975 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAUREGARD, RONALD N.
1 MERRIMAC STREET
MERRIMAC, MA 01860                                   P‐0009976 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLER, AMY N.
30 BLOSSOM LANE
SCHUYLKILL HAVEN, PA 17972                           P‐0009977 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
NESSER, LAUREN
12 WOODLAND DRIVE
WEST LONG BRANCH, NJ 07764                          P‐0009978 10/30/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
NELSON, ERIC S.
4031 EAST 129TH WAY
THORNTON, CO 80241                                  P‐0009979 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANSONE, DARLENE M.
3012 OLD ORCHARD LANE
BEDFORD, TX 76021                                   P‐0009980 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, DAVID J.
799 MAIN STREET
DALTON, MA 01226                                    P‐0009981 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLOUDIOTIS, CHRISTOPHER
8 PALMETTO AVE.
MARLTON, NJ 08053                                   P‐0009982 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, JACQUELINE
ROGERS, JACQUELINE K.
6455 JAY ST
ARVADA, CO 80003                                    P‐0009983 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLER, AMY N.
30 BLOSSOM LANE
SCHUYLKILL HAVEN, PA 17972                          P‐0009984 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOREHEAD, LEMUEL Y.
MOREHEAD, LYNN M.
255 MEREDITH RIDGE RD
ATHENS, GA 30605                                    P‐0009985 10/30/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
EINHORN, DAVID
101 S HARDING HWY
APT B
LANDISVILLE, NJ 08326                               P‐0009986 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALMO, CHIQUITA
P.O. BOX 245
SOUTH HOLLAND, IL 60473                             P‐0009987 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUATRONE, DANIEL M.
7103 US 70
MEBANE, NC 27302                                    P‐0009988 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, ZHIYI
16 OAK ST
APT 1
STAMFORD, CT 06905                                  P‐0009989 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHROEDER, MICHAEL J.
W5725 DIANNA CIRCLE DRIVE
MERRILL, WI 54452                                   P‐0009990 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JEFFERY L.
KEELER, JESSICA L.
131 MARYLAND AVE
PORTSMOUTH, VA 23707                                P‐0009991 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLED, JASON L.
19100 OLD BALTIMORE ROAD
BROOKEVILLE, MD 20833                               P‐0009992 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, JOHN E.
111 VINCE DR
ELKTON, MD 21921                                    P‐0009993 10/30/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
HILLMANN, ROBERT P.
7318 W. COYLE AVE.
CHICAGO, IL 60631                                   P‐0009994 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BERARDINO, PETER
BERARDINO, PETER
27 SHIELDS ROAD
DARIEN, CT 06820                                    P‐0009995 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, RENESE I.
JOHNSON, RENESE I.
8517 MILANO DRIVE
#1924
ORLANDO, FL 32810                                   P‐0009996 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLED, JASON L.
19100 OLD BALTIMORE ROAD
BROOKEVILLE, MD 20833                               P‐0009997 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAINEY, JAMIE W.
1150 WEST 23RD ST
ERIE, PA 16502                                      P‐0009998 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBER, JOHARI
162 ELMORA AVE SUITE 206
ELIZABETH, NJ 07202                                 P‐0009999 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLED, JASON
SOLED, JASON
19100 OLD BALTIMORE ROAD
BROOKEVILLE, MD 20833                               P‐0010000 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, ROXANNE
P.O. BOX 23264
HOUSTON, TX 77028                                   P‐0010001 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARAMIE, KATHY A.
LARAMIE, FREDERICK G.
544 BELGO ROAD
CASTLETON, VT 05735                                 P‐0010002 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, COREY L.
3965 EAST BIJOU STREET
APT 348
COLORADO SPRINGS, CO 80909                          P‐0010003 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENSON, KEVIN M.
2443 LEXINGTON VILLAGE LANE
COKORADO SPRINGS, CO 80916                          P‐0010004 10/30/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
DENHAM, BARBARA J.
9299 MINUTEMANY WAY
WEST CHESTER, OH 45069                              P‐0010005 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEGLIN, THOMAS W.
13290 E. REDINGTON RD
TUCSON, AZ 85749                                    P‐0010006 10/30/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
LANSKY, GINA
ULYANSKIY, YAKOV
20939 DOGWOOD ST.
DEERFIELD, IL 60015                                 P‐0010007 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORDON, HADISHA
321 SOMERSET LANE
MARLTON, NJ 08053                                   P‐0010008 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEED, LAWRIE B.
W3638 SNAKE ROAD
LAKE GENEVA, WI 53147                               P‐0010009 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUCKWORTH, DANA
7305 GRANBY STREET
NORFOLK, VA 23505                                   P‐0010010 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
ROBERTI JACOBS FAMILY TRUST
31 N. SUFFOLK LANE
LAKE FOREST, IL 60045                               P‐0010011 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMILTON, MICHAEL S.
3016 CENTER RIDGE DR
BERTHOUD, CO 80513                                  P‐0010012 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNABI, DOROTHY J.
825 MCCULLOCH BLVD S.
LAKE HAVASU CITY, AZ 86406                          P‐0010013 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANZELLA, DOUGLAS P.
139 AMBERWOOD DRIVE
AMHERST, NY 14228                                   P‐0010014 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORDON, MARK A.
243 KATHERINE BOULEVARD
#5205
PALM HARBOR, FL 34684                               P‐0010015 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRAMA, CHRISTINE M.
2001 GAY AVENUE
GREENSBURG, PA 15601‐5239                           P‐0010016 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STINNETT, SHARON P.
STINNETT, ANTHONY A.
379 DAVIS RD
STREET, MD 21154                                    P‐0010017 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAMER, NOAH A.
BEAMER, BRUCE W.
302 MAIN STREET
P.O. BOX 33
BOWERSTON, OH 44695                                 P‐0010018 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMLIN, JEVIN T.
8214 COURTLAND MANOR RD
PIKESVILLE, MD 21208                                P‐0010019 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANG, MINSEOK
226 W RITTENHOUSE SQ
#2106
PHILADELPHIA, PA 19103                              P‐0010020 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAWKINS, KEONE M.
5602 LINDA ROAD
, VA 23150                                          P‐0010021 10/30/2017    TK Holdings Inc., et al .                   $11,534.50                                                                                   $11,534.50
SIIRILA, JOHN F.
SIIRILA, EMMA
21006 SADDLEBACK CIR
PARKER, CO 80138                                    P‐0010022 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NWANKWO, NNAMDI
2804 ATLANTA DRIVE
SILVER SPRING, MD 20906                             P‐0010023 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RESNICK, ROBERT
35 PATTEN AVE
OCEANSIDE, NY 11572                                 P‐0010024 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMILTON, MICHAEL S.
3016 CENTER RIDGE DR
BERTHOUD, CO 80513                                  P‐0010025 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHOU, JIE
AN, JINGMEI
5 OLD KINGDOM ROAD
WILTON, CT 06897                                    P‐0010026 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GORDON, LAMONT A.
1506 BRILLIANT CUT WAY
VALRICO, FL 33594                                    P‐0010027 10/30/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
FRESQUEZ, TIM W.
2230 CRESTWOOD LANE
PUEBLO, CO 81008                                     P‐0010028 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STINNETT, SHARON P.
STINNETT, ANTHONY A.
379 DAVIS RD
STREET, MD 21154                                     P‐0010029 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHUSTER, GARY
33 WEST ROAD
SOUTH SALEM, NY 10590                                P‐0010030 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAROCCHIA, VINCENT C.
LAROCCHIA, DEBRA S.
74 BUNDY HILL ROAD
HOLMES, NY 12531                                     P‐0010031 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, AMBER
1515 LORD ASHLEY DR
SANFORD, NC 27330                                    P‐0010032 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELTRAN, YESSICA
2037 49 TH TERR SW
NAPLES, FL 34116                                     P‐0010033 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDMAN, MARK
FRIEDMAN, DIANE
11812 HITCHING POST LANE
ROCKVILLE, MD 20852                                  P‐0010034 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMILTON, MICHAEL S.
3016 CENTER RIDGE DR
BERTHOUD, CO 80513                                   P‐0010035 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFMAN, BLAIR L.
10 FIELDSTONE DRIVE APT. 323
HARTSDALE, NY 10530                                  P‐0010036 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, RODERICK B.
JONES, PATRICIA S.
309 HEDGEROW LANE
WYNCOTE, PA 19095‐2111                               P‐0010037 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFMEISTER, KARIN G.
1461 STONEWELL COURT
GALLOWAY, OH 43119                                   P‐0010038 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURGALLIS, TERRENCE L.
22 LLOYDS LANE
WILKES‐BARRE, PA 18702‐4726                          P‐0010039 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRESQUEZ, TIM W.
2230 CRESTWOOD LANE
PUEBLO, CO 81008                                     P‐0010040 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORBES, GREGORY S.
50 SETTLERS CT SE
MARIETTA, GA 30067‐4232                              P‐0010041 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTINA, MARK
542 ELK LAKE DR
WAYMART, PA 18472                                    P‐0010042 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVY, ALEKSEY
20939 DOGWOOD ST.
DEERFIELD, IL 60015                                  P‐0010043 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
SABER, ROBERT T.
22 DEAVEN RD
HARRISBURG, PA 17112                               P‐0010044 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IVY, JOANN W.
9912 GABLE RIDGE TER
APT C
ROCKVILLE, MD 20850                                P‐0010045 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMILTON, MICHAEL S.
3016 CENTER RIDGE DR.
BERTHOUD, CO 80513                                 P‐0010046 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, PAMELA
TKRESTRUCTURING
8028 MICHENER AVE
PHILA, PA 19150                                    P‐0010047 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIIRILA, JOHN F.
SIIRILA, EMMA
21006 SADDLEBACK CIR
PARKER, CO 80138                                   P‐0010048 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, CAROLYN
JORDAN, MARTIN J.
11070 CAMPBELL CEMETERY ROAD
LOAMI, IL 62661‐3155                               P‐0010049 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMICI, ALBERTO
169 AVENUE B
HOLBROOK, NY 11741                                 P‐0010050 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKEEHAN, STANLEY W.
MCKEEHAN, LINDA S.
60 SOUTHSHORE DRIVE
FORT OGLETHORPE, GA 30742                          P‐0010051 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, RODERICK B.
JONES, PATRICIA S.
309 HEDGEROW LANE
WYNCOTE, PA 19095‐2111                             P‐0010052 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIGLIOTTI, MICELE A.
811 OUTLOOK AVE
CHESHIRE, MA 01225                                 P‐0010053 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOKS, MICHELE
430 RIVERVIEW AVE
BLOOMSBURG, PA 17815                               P‐0010054 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDREWS, BRYAN J.
349 JOHNSON RD
SICKLERVILLE, NJ 08081                             P‐0010055 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTHEWS, WILLIAM M.
MATTHEWS, NANCY L.
43929 N PARKER CT
NEW RIVER, AZ 85087‐6221                           P‐0010056 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRESQUEZ, TIM W.
2230 CRESTWOOD LANE
PUEBLO, CO 81008                                   P‐0010057 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SABER, KATHLEEN M.
122 DEAVEN RD
HARRISBURG, PA 17112                               P‐0010058 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REGNIER, PHILIP M.
75 MARTIN LANE
WRENTHAM, MA 02093                                 P‐0010059 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SMITH,III, JAMES E.
47 STEVENS AVE
BRAINTREE, MA 02184                                  P‐0010060 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENNARELLI, ERIKA
10624 ASHFORD OAKS DRIVE
TAMPA, FL 33625                                      P‐0010061 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIGLIOTTI, STEVEN A.
811 OUTLOOK AVE
CHESHIRE, MA 01225                                   P‐0010062 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCHENA, SANDDY N.
8 SERGEANT COURT
BUDD LAKE, NJ 07828                                  P‐0010063 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRAVANTI, KIM S.
169 AVENUE B
HOLBROOK, NY 11741                                   P‐0010064 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTHEWS, WILLIAM M.
MATTHEWS, NANCY L.
43929 N PARKER CT
NEW RIVER, AZ 85087‐6221                             P‐0010065 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOGENHAGEN, BRIAN J.
27980 371ST AVE
GEDDES, SD 57342                                     P‐0010066 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSEN, JENNIFER B.
1446 COUNTY RD. 302
BELLEVUE, OH 44811                                   P‐0010067 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRIEPECK, MICHELE
317 BIRCH ST
SCRANTON, PA 18505                                   P‐0010068 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDREWS, BRYAN J.
349 JOHNSON RD
SICKLERVILLE, NJ 08081                               P‐0010069 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALDRIDGE, JEAN N.
ALDRIDGE, CHRIS C.
101 DRYDEN LN
BUDA, TX 78610                                       P‐0010070 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTEAVARO, CARMEN
9118 NW 152 LANE
MIAMI LAKES, FL 33018                                P‐0010071 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLAN, JOHN W.
614 N 300 W
MAPLETON, UT 84664                                   P‐0010072 10/30/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
CINELLI, CATHERINE M.
1 WOODVIEW WAY B‐12
HOPKINTON, MA 1748                                   P‐0010073 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, GARY A.
1506 WESTCHESTER DR.
HIGH POINT, NC 27262                                 P‐0010074 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, RONALD E.
103 EAST MAIN ST APT.4
NEWVILLE, PA 17241                                   P‐0010075 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAXWELL, CHRISTINA M.
24911 374TH ST
LAPORTE, MN 56461                                    P‐0010076 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, FREDDIE L.
5640 S LAKESHORE DR UNIT 45
SHREVEPORT, LA 71119                                 P‐0010077 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                       Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
FAHMER, JASON D.
7043 NORTHVIEW DRIVE
LOCKPORT, NY 14094                                      P‐0010078 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LENHART, HALEY G.
1009 W BETHEL AVE
MUNCIE, IN 47303                                        P‐0010079 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIJMEH, ISAM F.
2239 N. 73RD CT
ELMWOOD PARK, IL 60707                                  P‐0010080 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, ANGELA L.
3 TWEEDSTONE LN
WILLINGBORO, NJ 08046                                   P‐0010081 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, CHARLES E.
2321 CRAIN DR
GREER, SC 29651                                         P‐0010082 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLACK, DANIEL M.
3515 DRUM ROAD
MIDDLEPORT, NY 14105                                    P‐0010083 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONK, CONNIE J.
1851 BUTMONKS4@VERIZON.LER RD
WYLIE, TX 75098                                         P‐0010084 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KYLE, KENNETH C.
KYLE, CAROL A.
19 LINCOLN AVE
TOMS RIVER, NJ 08753                                    P‐0010085 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLIN, LEANNE
5009 QUILL COURT
PALM HARBOR, FL 34685                                   P‐0010086 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLACK, DANIEL M.
3515 DRUM ROAD
MIDDLEPORT, NY 14105                                    P‐0010087 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASEY, SHEILA K.
211 PETERSON ROAD
RIVERTON, WY 82501                                      P‐0010088 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONK, CONNIE J.
NO ADDRESS PROVIDED
                                                        P‐0010089 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LORUSSO, MATTHEW J.
3776 CRESSON ST
PHILADELPHIA, PA 19127                                  P‐0010090 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKOS, CHRISTIAN J.
4419 N MAGNOLIA AVE
#2N
CHICAGO, IL 60640                                       P‐0010091 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELVILLE, JOHN H.
210 WEST BROWNING ROAD
COLLINGSWOOD, NJ 08108                                  P‐0010092 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAUDET, ARTHUR R.
BEAUDET, FLORENCE A.
1165 ALBION ST NW
PALM BAY FLORIDA 32907
                                                        P‐0010093 10/30/2017    TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00
KYLE, KENNETH C.
KYLE, CAROL A.
19 LINCOLN AVE
TOMS RIVER, NJ 08753                                    P‐0010094 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
FREEMAN, DEMETRIUS
FREEMAN, DEMETRIUS
323 LINCOLN RD
APT. 1C
BROOKLYN, NY 11225                                   P‐0010095 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAIANO, LAWRENCE J.
7530 BROOKWOOD WAY
CUMMING, GA 30041                                    P‐0010096 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANE, MAXINE M.
195 ARMUCHEE TRAIL NE
ROME
GA, GA 30165                                         P‐0010097 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALES, CHARLES
3048 1/2 STONEYBROOK LN
GRAND JUNCTION, CO 81504                             P‐0010098 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VICE, COLLIN
VICE, COLLIN
24 ASIA CIRCLE
BRIDGEPORT, CT 06610‐1262                            P‐0010099 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KYLE, KENNETH C.
KYLE, CAROL A.
19 LINCOLN AVE
TOMS RIVER, NJ 08753                                 P‐0010100 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOZLOWSKI, DAVID J.
KOZLOWSKI, SUZANNE K.
59 BUCKINGHAM DRIVE
STAMFORD, CT 06902                                   P‐0010101 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAY, DANIEL L.
902 DELAWARE AVE
VIRGINIA BEACH, VA 23451                             P‐0010102 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRER, AMY E.
CUSHING, JEREMY D.
110 AMHERST DRIVE
NEWARK, DE 19711                                     P‐0010103 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WORSTELL, KARISSA J.
8944 VANN RD
NEWBURGH, IN 47630                                   P‐0010104 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACQUAROLE, ROBERT
ACQUAROLE, ROBERT
16 HUNTINGDON FARM DRIVE
GLEN MILLS, PA 19342                                 P‐0010105 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, VICKI A.
1924 MEADOWAIRE DRIVE
FORT COLLINS, CO 80525                               P‐0010106 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RITTER, ALAN J.
313 REGIS FALLS AVENUE
WILMINGTON, DE 19808                                 P‐0010107 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANKS, THOMAS A.
BANKS, CAROLYN S.
9320 BALL ROAD
CENTRALIA, MO 65240                                  P‐0010108 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAIETTA, ROBERT J.
PETERSEN‐MAIETTA, LESLIE V.
3018 DENALI WAY
ROCK HILL, SC 29732                                  P‐0010109 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
TOWNSEND, BRIAN A.
130 OAKWOOD DRIVE
ST CHARLES, IL 60175                                P‐0010110 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, SHIYI
1055 CETRONIA RD
P12
BREINIGSVILLE, PA 18031                             P‐0010111 10/30/2017    TK Holdings Inc., et al .                       $80.00                                                                                       $80.00
CHAMBERS, BECKY P.
2302 MILLFORD LN W
JACKSONVILLE, FL 32246                              P‐0010112 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TENNORT, EVANGELINE
1534 LONGFELLOW COURT
MCLEAN, VA 22101                                    P‐0010113 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUBIN, BRUCE F.
QUINONES, LISA C.
4 PROSPECT STREET
FLOOR 2
EASTHAMPTON, MA 01027                               P‐0010114 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, ROESANDRA
3606 ALSACE STREET
HOUSTON, TX 77021                                   P‐0010115 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRUJILLO, HENRY
2719 JEWELSTONE COURT
FORT COLLINS, CO 80525                              P‐0010116 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLENN, DAVID F.
7310 EAST 118TH PL
KANSAS CITY, MO 64134                               P‐0010117 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEER, AMIE B.
67 CALDWELL RD
NORTH EAST, MD 21901                                P‐0010118 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, JOHN H.
303 PICTURE DRIVE
PITTSBURGH, PA 15236                                P‐0010119 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUMELLE, KENNETH
1809 EAST 52ND ST.
ODESSA, TX 79762                                    P‐0010120 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAATEN, KARSTEN O.
BRAATEN, NANCY M.
7829 NE RIVER RD
RICE, MN 56367                                      P‐0010121 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROWAN, LINDA A.
84 DOGWOOD DR.
LEVITTOWN, PA 19055                                 P‐0010122 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEORGE JR, ALEX W.
115 YORKWAY
N/A
MONACA PA 15061                                     P‐0010123 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, ELIZABETH A.
239 8TH ST
APALACHICOLA, FL 32320                              P‐0010124 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ, ERIC A.
27271 N 78TH LANE
PEORIA, AZ 85383                                    P‐0010125 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, III, JAMES E.
47 STEVENS AVE
BRAINTREE, MA 02184                                 P‐0010126 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MATTINGLY, MARY A.
335 E 360 N
ANDERSON, IN 46012                                  P‐0010127 10/30/2017    TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
MOREHEAD, LEMUEL Y.
255 MEREDITH RIDGE RD
ATHENS, GA 30605                                    P‐0010128 10/30/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
WARD, MICHELE
4700 WASINGTON AVENUE
LORAIN, OH 44052                                    P‐0010129 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODKIND, PATRICE E.
5040 CARRIAGE HOUSE
LOS ALAMOS, NM 87544                                P‐0010130 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, III, JAMES E.
47 STEVENS AVE
BRAINTREE, MA 02184                                 P‐0010131 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINKUSOV, VITALY
3338 RICHLIEU RD
APT Q231
BENSALEM, PA 19020‐1564                             P‐0010132 10/30/2017    TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
DUDA, AMY L.
1320 RIFFEL RD
WOOSTER, OH 44691                                   P‐0010133 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WENGER, GEORGE E.
WENGER, WENDA E.
3295 WAYNE ROAD
CHAMBERSBURG, PA 17202                              P‐0010134 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIEZAS, CESAR L.
PIEZAS, ANNALIZA S.
630 VALLEY BROOK AVE.
UNIT 1
LYNDHURST, NJ 07071                                 P‐0010135 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLADOKUN, WURAOLA O.
137 W MARYLAND AVE UNIT B
ALDAN, PA 19018                                     P‐0010136 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CISNEROS, ROBERT
9908 HARMONY HILL RD.
MARENGO, IL 60152                                   P‐0010137 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHAFER, ERIKA L.
2826 HAYWOOD AVENUE
CHATTANOOGA, TN 37415                               P‐0010138 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERMEL, AARON
721 MAIN STREET
APT7
MOOSIC, PA 18507                                    P‐0010139 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASSLEY‐JONES, JAZMINE R.
1100 HARGROVE RD EAST
UNIT 530
TUSCALOOSA, AL 35405                                P‐0010140 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCLURE, NOLAN D.
MCCLURE, CARRIE C.
3551 AVENSONG VILLAGE CIRCLE
MILTON, GA 30004                                    P‐0010141 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ, ANTONIO C.
14710 INDIAN RIDGE TR
CLERMONT, FL 34711                                  P‐0010142 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
GORMAN, CAROL A.
115 MANOR DRIVE
DEKALB, IL 60115                                    P‐0010143 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROCKEL, LANCE W.
BROCKEL, JANICE E.
2520 CLASSIC CT
COLORADO SPRINGS, CO 80922                          P‐0010144 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUCOIN, REBECCA S.
2824 LAWNWOOD DRIVE
OCEAN SPRINGS, MS 39564‐5507                        P‐0010145 10/30/2017    TK Holdings Inc., et al .                       $10.00                                                                                       $10.00
KUNDEY, SHANNON M.
901 ROSEMONT AVE
FREDERICK, MD 21701                                 P‐0010146 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GODFREY, ERIC J.
478 MONUMENTAL RD
FAIRMONT, WV 26554                                  P‐0010147 10/30/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
KOPACK, ALLAN D.
3829 CROOKED TREE DRIVE
MASON, OH 45040                                     P‐0010148 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASE, EVA
391 HUNTINGTON
WAYNE, PA 19087                                     P‐0010149 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YAP, MEE‐NGAN
1119 MISSISSIPPI AVE APT 416
SAINT LOUIS, MO 63104                               P‐0010150 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TILLERY, NANCY J.
30 ROCKING HORSE WAY
HOLLAND, PA 18966                                   P‐0010151 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AHMED, JAMEEL
149 BROADWAY
STATEN ISLAND, NY 10310                             P‐0010152 10/30/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
KILLIAN, PACE J.
KILLIAN, KARI J.
2066 CALIFORNIA CIRCLE
PROVO, UT 84606                                     P‐0010153 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ISSAKOV, SIMON
391 HUNTINGTON
WAYNE, PA 19087                                     P‐0010154 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAW JOSEPH, LAVERNE
239 RUGGED CREEK DR
STOCKBRIDGE, GA 30281                               P‐0010155 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUELLER, CHRISTOPHER J.
4179 EWELL RD
VIRGINIA BEACH, VA 23455                            P‐0010156 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENWAY, CHRISTINE E.
385 ELK TRL
MELISSA, TX 75454                                   P‐0010157 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALTMAN, DIANE
500 THREE ISLANDS BLVD
APT. 1003
HALLANDALE, FL 33009                                P‐0010158 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AHMED, JAMEEL
149 BROADWAY
STATEN ISLAND, NY 10310                             P‐0010159 10/30/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BEAN, NANCY R.
SMITH, LLOYD
5639 E. WISTER ST.
PHILADELPHIA, PA 19144‐1522                         P‐0010160 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSBOOM, GARY L.
TAYLOR, WILLIAM E.
FORD MOTOR CO.
480 CHICKASAW DRIVE
CHEROKEE, AL 35616‐4436                             P‐0010161 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DARBY, KEITH W.
DARBY, VIVIAN L.
P.O. BOX 670482
CHUGIAK, AK 99567                                   P‐0010162 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAY, GEORGE A.
157 NATICOOK RD
MERRIMACK, NH 03054                                 P‐0010163 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAWBAKER, STEPHEN C.
P O BOX 323
SCOTLAND, PA 17254                                  P‐0010164 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, VICKIE L.
84 S INDEPENDENCE DR APT C
HAMPTON, VA 23669                                   P‐0010165 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOJOHN, WILLIAM H.
WOJOHN, ROBERT E.
105B STRAWBERRY STREET
RICHMOND, VA 23220                                  P‐0010166 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRELKOV, VYACHESLAV
1014 JEFFERY LANE
LITITZ, PA 17543                                    P‐0010167 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, PAUL
DEALER SERVICES, WELLSFARGO
7829 HAWTHORNE DR
UNIT 2003
NAPLES, FL 34113                                    P‐0010168 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOKS, CHRISTOPHER H.
2923 BROAD ST. NW
ROANOKE, VA 24012                                   P‐0010169 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARNER, SUSAN
2703 W. AVALON DRIVE
WESTLAKE, OH 44145                                  P‐0010170 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAWAMURA, RICARDO T.
1912 N ORCHARD ST.
CHICAGO, IL 60614                                   P‐0010171 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHONEMANN, EMILY A.
SCHONEMANN, JAMES R.
10819 N DONNELLY CT
KANSAS CITY, MO 64157                               P‐0010172 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACIE, NICHOLAS E.
6640 AKERS MILL ROAD SE
APT 3121
ATLANTA, GA 30339                                   P‐0010173 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUN, LIN
45 PARK PL
NEW CANAAN, CT 06840                                P‐0010174 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ESPERA, RAMIL J.
ESPERA, MARIA V.
3823 CAPRI COURT
NAPERVILLE, IL 60564                                 P‐0010175 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIGGS, JOANNE T.
5 DAWES DRIVE
NEWARK, DE 19702                                     P‐0010176 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, DELLONA D.
22610 TANGLER LANE
TOMBALL, TX 77375                                    P‐0010177 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUI, CHUNG C.
1940 W 34TH PL
CHICAGO, IL 60608                                    P‐0010178 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, CHRISTOPHER N.
514 STEPHENSON ST
DURYEA, PA 18642                                     P‐0010179 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, ELAINA A.
4420 21ST ST.
APT. 40B
TUSCALOOSA, AL 35401                                 P‐0010180 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKARIA, ARUN
7 KATHARINA PLACE
WASHINGTON TWP, NJ 07676                             P‐0010181 10/30/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
KOVALCHUK, MONICA K.
2091 PERCH LN SW
NISSWA, MN 56468‐2028                                P‐0010182 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUO, XIAOFENG
308 WINCHESTER STREET
NEWTON, MA 02461                                     P‐0010183 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLISS, RICHARD C.
7515 WESTMORELAND AVE
SAINT LOUIS, MO 63105                                P‐0010184 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYES, LENA M.
2803 JOLIET ST
DENVER, CO 80238                                     P‐0010185 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEDENBAUGH, GEORGE R.
214 COOL SPRINGS RD
LEXINGTON, SC 29073                                  P‐0010186 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LLOYD, LAKISHA
205 PLUNKETT DR
FAYETTEVILLE, GA 30215                               P‐0010187 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOX, FRANK D.
1211 WARSON PINES
SAINT LOUIS, MO 63132‐2011                           P‐0010188 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, JAMES S.
8 VANDERBURG ROAD
MARLBORO, NJ 07746                                   P‐0010189 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE BOER, GARRY D.
222 RESERVOIR AVE
RANDOLPH, NJ 07869                                   P‐0010190 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENG, CHAWN Y.
NO ADDRESS PROVIDED
                                                     P‐0010191 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
NAINWAL, SWATI
NAINWAL, SHASHANK
1097 EAST PASCAL STREET
GILBERT, AZ 85298                                   P‐0010192 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VINE, DAVID A.
12980 N VALLEJO CIRCLE
WESTMINSTER, CO 80234                               P‐0010193 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEED, LINDA L.
SPEED, THOMAS E.
2320 SILVERTHORNE DRIVE
DALLAS, TX 75287                                    P‐0010194 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, ELAINA A.
4420 21ST ST.
APT, 40B
TUSCALOOSA, AL 35401                                P‐0010195 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSKOSKI, GARY
8 SANDWOOD DRIVE
MARLTON, NJ 08053                                   P‐0010196 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORBITT, TAMEKA R.
P.O. BOX 2993
BIRMINGHAM, AL 35202                                P‐0010197 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENG, CHAWN Y.
NO ADDRESS PROVIDED
                                                    P‐0010198 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, EDGAR O.
135 SHERMAN AVE
PATERSON, NJ 07502                                  P‐0010199 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHESTOPALOV, JANIE
335 ELA RD
INVERNESS, IL 60067                                 P‐0010200 10/30/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
JENG, CHAWN Y.
NO ADDRESS PROVIDED
                                                    P‐0010201 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEAN, DAVID
4109 RED BIRD PLACE
LOVELAND, CO 80537                                  P‐0010202 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVINE, HAROLD M.
81 MACY ROAD
BRIARCLIFF MANOR, NY 10510                          P‐0010203 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, CHRISTOPHER D.
6215 SOUTH EVANS AVENUE
APARTMENT 2
CHICAGO, IL 60637                                   P‐0010204 10/30/2017    TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
DEAN, CINDY
4109 RED BIRD PLACE
LOVELAND, CO 80537                                  P‐0010205 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOETZ, REBECCA F.
6257 LUPTON DRIVE
DALLAS, TX 75225                                    P‐0010206 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANNA, CHARLES K.
8903 MAURA LOA
HOUSTON, TX 77040                                   P‐0010207 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENG, CHAWN Y.
NO ADDRESS PROVIDED
                                                    P‐0010208 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LOZINSKI, WAYNE T.
8343 OWEN CENTER RD
ROCKFORD, IL                                         P‐0010209 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, BRIAN K.
102 ROCKRIDGE RD
APT 1
CONNELLSVILLE, PA 15425                              P‐0010210 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAINZ, BRIAN A.
9344 W 66TH PL
ARVADA, CO 80004                                     P‐0010211 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, LYDIA R.
WATTS, DEBBIE L.
300 17TH ST SW APT # 34
HICKORY, NC 28602                                    P‐0010212 10/30/2017    TK Holdings Inc., et al .                   $20,588.00                                                                                   $20,588.00
SCOTT‐SLAUGHTER, ALEXIS S.
2818 N 27TH STREET
PHILADELPHIA, PA 19132                               P‐0010213 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSE, GEOFFREY
6749 QUAY ST.
ARVADA, CO 80003                                     P‐0010214 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOZZO, VALERIE A.
258 FAIRFIELD AVENUE
TONAWANDA, NY 14223                                  P‐0010215 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOPACK, ALLAN D.
3829 CROOKED TREE DRIVE
MASON, OH 45040                                      P‐0010216 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, DOROTHY M.
806 CHERLYNE DR
                                                     P‐0010217 10/30/2017    TK Holdings Inc., et al .                   $13,000.00                                                                                   $13,000.00
SKITZKI, FRANCES A.
1114 DARTMOUTH STREET
SCRANTON, PA 18504                                   P‐0010218 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEMM, DAVID E.
2489 HACIENDA DR
DUBUQUE, IA                                          P‐0010219 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAITT, WAYNE R.
716 PENFIELD AVENUE
HAVERTOWN, PA 19083                                  P‐0010220 10/30/2017    TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
RIVERA, EDGARDO
3362 MARTHA CUSTIS DR
ALEXANDRIA, VA 22302                                 P‐0010221 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYANS, WILLIAM T.
RYANS, WILLIAM T.
12605 BRADFORD HILL LANE
HUNTERSVILLE, NC 28078                               P‐0010222 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTRO, GEORGE B.
436 LINK DR.
EL PASO, TX 79907                                    P‐0010223 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASSANI, JACOB A.
22732 285TH AVE
AKELEY, MN 56433                                     P‐0010224 10/30/2017    TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
BLACKBURN, JASON
233 SARAH
CANYON LAKE, TX 78133                                P‐0010225 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
KATAI, PETER I.
147 BERKLEY COURT
DEERFIELD, IL 60015                                 P‐0010226 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDMAN, LORI
2129 DONNA DRIVE
MERICK, NY 11566                                    P‐0010227 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORDEAUX, MICHELLE
BORDEAUX, JAMES
760 MORGAN LANE
PAHRUMP, NV 89060                                   P‐0010228 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARMSTRONG, MONICA
1024 E. 20TH STREET
BALTIMORE, MD                                       P‐0010229 10/30/2017    TK Holdings Inc., et al .                    $4,500.00                                                                                    $4,500.00
DUBOIS, SANDRA L.
109 ROGERS ROAD
FURLONG, PA 18925                                   P‐0010230 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIEL, TRAVIS J.
120 KLOSS DR
APT B
LANCASTER, PA 17603                                 P‐0010231 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOO, KIT
4540 S ST LOUIS AVE
CHICAGO, IL 60632                                   P‐0010232 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, CURTIS
THOMAS, CURTIS
3912 W. 76TH PLACE
CHICAGO, IL 60652                                   P‐0010233 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPARBERG, EVE G.
950 N. MICHIGAN AVENUE
APT 4903
CHICAGO, IL 60611                                   P‐0010234 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, HARELLE C.
DUNCAN, ZEBULUN
9153 PROSPERITY LAKE DRIVE
JACKSONVILLE, FL 32244                              P‐0010235 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, LE
23 LAKE SHORE CT APT 4
BRIGHTON, MA 02135                                  P‐0010236 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSELL, JAFFERY L.
1271 WASHINGTON AVE
LOVELAND, CO 80537                                  P‐0010237 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YU, WEI
1356 N CICERO AVE
CHICAGO, IL 60651                                   P‐0010238 10/30/2017    TK Holdings Inc., et al .                    $1,200.00                                                                                    $1,200.00
HANSELL, JAFFERY L.
1271 WASHINGTON AVE
LOVELAND, CO 80537                                  P‐0010239 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAYMAN, CAROL R.
6281 STATE RT. 52
COCHECTON, NY 12726                                 P‐0010240 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JURCZAK, PAWEL A.
106 COOLIDGE AVE
LAWRENCE TWP, NJ 08648‐3714                         P‐0010241 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON‐REISMAN, JOANNA
225 HILLTURN LANE
ROSLYN HEIGHTS, NY 11577                            P‐0010242 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TOYE, ELEANOR
21138 WEST VIEW
WHARTON, NJ 07885                                     P‐0010243 10/30/2017    TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
ALPERT, RONALD L.
ALPERT, JUDITH B.
9 NORWOOD COURT
ROCKPORT, MA 01966                                    P‐0010244 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COBB, BEATRICE
609 HOLT CIRCLE
WINTER HAVEN, FL 33880                                P‐0010245 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALAMARA, ROBERT S.
ATLANTIC AERIAL INC
397 ROUTE 33
MANALAPAN, NJ 07726                                   P‐0010246 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAPOLI, GINA R.
4910 VIRGINIA AVENUE
HARRISBURG, PA 17109                                  P‐0010247 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYES, LOREN D.
2826 HAYWOOD AVENUE
CHATTANOOGA, TN 37415                                 P‐0010248 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NUCKOLLS, CHRISTINA
NUCKOLLS, DARREN
2773 S KEY BISCAYNE DR
GILBERT, AZ 85295                                     P‐0010249 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CZECZELY, GARY
5 SOUTHVIEW AVE
NEW CASTLE, PA 16101                                  P‐0010250 10/30/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARTON, DAVID W.
PARTON, WENDY
2251 N. 32ND STREET, LOT 32
MESA, AZ 85213                                        P‐0010251 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OCELLO, ALEXANDER P.
1433 W WINNEMAC AVE
CHICAGO, IL 60640                                     P‐0010252 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENS, KEN L.
2314 D
SPRINGFIELD, OR 97477                                 P‐0010253 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MARY A.
10011 BERRYPATCH LANE
TOMBALL, TX 77375‐0416                                P‐0010254 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOWER, DAVID M.
SOWER, DEBORAH A.
1017 WHISTLE STOP DRIVE
SAGINAW, TX 76131                                     P‐0010255 10/31/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
OBRIEN, KEVIN P.
7970 NE RIVER RD
RICE, MN 56367                                        P‐0010256 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORSYTHE JR, CALVIN J.
313 COSELL DRIVE
CHAMBERSBURG, PA 17201                                P‐0010257 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTER, WILLIAM T.
5237 HALLS MILL RD
BLDG D SUITE B
MOBILE, AL 36619                                      P‐0010258 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SOWER, DAVID M.
SOWER, DAVID A.
1017 WHISTLE STOP DRIVE
SAGINAW, TX 76131                                   P‐0010259 10/31/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
CANTRELL, CHARLES R.
186 BRITTANY PLACE DRIVE
APT. "B"
HENDERSONVILLE, NC 28792                            P‐0010260 10/31/2017    TK Holdings Inc., et al .                    $8,500.00                                                                                    $8,500.00
HUNTER, WILLIAM T.
5237 HALLS MILL RD
BLDG D SUITE B
MOBILE, AL 36619                                    P‐0010261 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTER, WILLIAM T.
HUNTER LIMOUSINES LLC
5237 HALLS MILL RD
BLDG D SUITE B
MOBILE, AL 36619                                    P‐0010262 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTER, WILLIAM T.
HUNTER LIMOUSINES LLC
5237 HALLS MILL RD
BLDG D SUITE B
MOBILE, AL 36619                                    P‐0010263 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELMORE, CHANDLER A.
2450 WINDROW DR
UNIT E201
FORT COLLINS, CO 80525                              P‐0010264 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTER, WILLIAM T.
5237 HALLS MILL RD
BLDG D SUITE B
MOBILE, AL 36619                                    P‐0010265 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEICHT, THOMAS M.
1605 17TH AVENUE
KENOSHA, WI 53140                                   P‐0010266 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTER, WILLIAM T.
5237 HALLS MILL RD
BLDG D SUITE B
MOBILE, AL 36619                                    P‐0010267 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, CHAD E.
504 WOODBRIDGE ST.
NASHUA, IA 50658                                    P‐0010268 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTER, WILLIAM T.
5237 HALLS MILL RD
BLDG D SUITE B
MOBILE, AL 36619                                    P‐0010269 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTENEGRO, MIGUEL
26906 GLENFIELD HOLLOW LN
CYPRESS, TX 77433                                   P‐0010270 10/31/2017    TK Holdings Inc., et al .                     $900.00                                                                                       $900.00
CANNON, CHAZ D.
3525 DUNN RD
EASTOVER, NC 28312                                  P‐0010271 10/31/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
CANTRELL, CHARLES R.
186 BRITTANY PLACE DRIVE
APT. "B"
HENDERSONVILLE, NC 28792                            P‐0010272 10/31/2017    TK Holdings Inc., et al .                   $10,575.00                                                                                   $10,575.00



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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HUNTER, WILLIAM T.
5237 HALLS MILL RD
BLDG D SUITE B
MOBILE, AL 36619                                     P‐0010273 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUNEY, IZZET
7946 EAGLE RANCH ROAD
FORT COLLINS, CO 80528                               P‐0010274 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, RANA R.
P.O. BOX 519
CEDAR HILL, TX 75106                                 P‐0010275 10/31/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HUNTER, WILLIAM T.
HUNTER LIMOUSINES LLC
5237 HALLS MILL RD
BLDG D SUITE B
MOBILE, AL 36619                                     P‐0010276 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGERMAN, DOUGLAS J.
3214 RANDOLPH ST
WATERLOO, IA 50702                                   P‐0010277 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARONEY, JANINE
21210 E BELLEWOOD DR.
CENTENNIAL, CO 80015                                 P‐0010278 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOHN, LACY R.
276 N MAIN ST
RED LION, PA 17356                                   P‐0010279 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOWER, DEBORAH A.
SOWER, DAVID M.
1017 WHISTLE STOP DRIVE
SAGINAW, TX 76131                                    P‐0010280 10/31/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
GILMORE, KEITH A.
1829 JERAULD AVE
NIAGARA FALLS, NY 14305‐2955                         P‐0010281 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARTON, DAVID W.
PARTON, WENDY
2251 N. 32ND STREET, LOT 32
MESA, AZ 85213                                       P‐0010282 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HABEGGER, REBECCA C.
1823 2ND AVE
SACRAMENTO, CA 95818                                 P‐0010283 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANBENS, VERNEICE O.
10165 SCOTCH HILL DRIVE
UPPER MARLBORO, MD 20774                             P‐0010284 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOVE, GRACE
P O BOX 674504
MARIETTA, GA 30006                                   P‐0010285 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROHRS, JESSE J.
9216 DAISY SUMMER AVE SW
ALBUQUERQUE, NM 87121                                P‐0010286 10/31/2017    TK Holdings Inc., et al .                   $45,000.00                                                                                   $45,000.00
DURHAM‐WOODS, LEATHIA
901 RAYS ROAD
STONE MOUNTAIN, GA 30083                             P‐0010287 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANER, JULIE
4715 N SHERIDAN RD
APT 32N
CHICAGO, IL 60640                                    P‐0010288 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BUNGU, GEZIM
646 HOWE AVE APT 22
SHELTON, CT 06484                                   P‐0010289 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDSTEIN, GERALD
60 E CENTRAL ST
UNIT 104
NATICK, MA 01760                                    P‐0010290 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEITEL, BOONCHUAY
3620 PACIFIC DRIVE
COLORADO SPRINGS, CO 80910                          P‐0010291 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREDERICK, SUZANNE
134 GRANITE DRIVE
GREENTOWN, PA 18426                                 P‐0010292 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDRESEN JR, ROBERT F.
1904 DONALDS RD
EFFORT, PA 18330                                    P‐0010293 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEIN, BRETT
26 TORY HOLE ROAD
DARIEN, CT 06820                                    P‐0010294 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENG, YAN
434 WHITTIER DR
LANGHORNE, PA 19053                                 P‐0010295 10/31/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
FIGIEL, MICHAEL A.
11 RENAI CT
NEWARK, DE 19702                                    P‐0010296 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PFLAUM, KEVIN L.
984 VIRGINIA AVE
YORK, PA 17403                                      P‐0010297 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANKS, TYASHA L.
403 WINDSOR RIDGE COURT
FREDERICKSBURG, VA 22405                            P‐0010298 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, MICHAEL S.
7200 PATTERSON STREET
LANHAM, MD 20706                                    P‐0010299 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCORMICK, JAMES F.
1545 W. PINE ST.
COAL TOWNSHIP, PA 17866                             P‐0010300 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, MARY K.
6708 VENDOME TERRACE
BETHESDA, MD 20817                                  P‐0010301 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REMLING, ROBERT F.
349N 4TH ST
SURF CITY, NJ 08008                                 P‐0010302 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHELSON, STEVEN M.
47 GRANVILLE WAY
EXTON, PA 19341                                     P‐0010303 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REMLING, ROBERT F.
349N 4TH ST
SURF CITY, NJ 08008                                 P‐0010304 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, JEREMY M.
BROWN, NICOLE M.
959 VISTA GLEN DR
BETHEL PARK, PA 15102                               P‐0010305 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BROWN, JEREMY M.
BROWN, NICOLE M.
959 VISTA GLEN DR
BETHEL PARK, PA 15102                                P‐0010306 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TONG, ANDY
MOORE, TAMMY D.
66 HEMPSTEAD DRIVE
NEWARK, DE 19702                                     P‐0010307 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, DAVID G.
2584 BROOKDALE DRIVE NW
ATLANTA, GA 30305                                    P‐0010308 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALES RUIZ, ROSANNA
309 ISLAND DRIVE
RICHARDSON, TX 75081                                 P‐0010309 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, ANTOINETTE
1801 OLD LINCOLN HWY APT. 11
LANGHORNE, PA 19047                                  P‐0010310 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARENTEAU, KAREN A.
PARENTEAU, ALAN W.
328 GRANITE ST
BIDDEFORD, ME 04005                                  P‐0010311 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LABITA, JAMES J.
34 FERRIS LANE
OAK RIDGE
, NJ 07438                                           P‐0010312 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, ELLEN D.
1692 ANGELA DRIVE
BETHLEHEM, PA 18017                                  P‐0010313 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLEK, RYAN D.
P.O. BOX 471
REEDSVILLE, PA 17084                                 P‐0010314 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARENTEAU, KAREN A.
PARENTEAU, KAILIN M.
328 GRANITE ST
BIDDEFORD, ME 04005                                  P‐0010315 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEASLEY, JESSICA L.
4826 ASHBURY LN
VIRGINIA BEACH, VA 23462                             P‐0010316 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDRICKSON, ANDREW
210 GATES ENTRY
PEACHTREE CITY, GA 30269                             P‐0010317 10/31/2017    TK Holdings Inc., et al .                    $1,377.00                                                                                    $1,377.00
HALLGREN, MARGOT
6 CANDLEWOOD DRIVE
SANDWICH, MA 02563                                   P‐0010318 10/31/2017    TK Holdings Inc., et al .                  $400,000.00                                                                                  $400,000.00
ULERIO, KAREN
5538 CAMPUS DRIVE
VIRGINIA BEACH, VA 23462                             P‐0010319 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUININGA, KEVIN
TUININGA, ANGELA
5815 BANNING PLACE
BURKE, VA 22015                                      P‐0010320 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKHART, DEBORAH A.
1805 GRANT AVENUE
CHARLESTON, IL 61920                                 P‐0010321 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
TUININGA, KEVIN
TUININGA, ANGELA
5815 BANNING PLACE
BURKE, VA 22015                                      P‐0010322 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ULERIO, KAREN
5538 CAMPUS DRIVE
VIRGINIA BEACH, VA 23462                             P‐0010323 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAFASSO, NOREEN
15415 23 AVENUE
WHITESTONE, NY 11357                                 P‐0010324 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAZEL, AMANDA
6 S WEST ST
HARRINGTON, DE 19952                                 P‐0010325 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARATTINI, WILLIAM
CARATTINI, ELAINE V.
2313 STONY BOTTOM DRIVE
RALEIGH, NC 27610                                    P‐0010326 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILBERT, ERICKA
9305 STATE HWY 276
ROYSE CITY, TX 75189                                 P‐0010327 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERNANDEZ, BETHANY A.
389 CARR MANOR CT
BALLWIN, MO 63021                                    P‐0010328 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARENTEAU, KAREN A.
PARENTEAU, ALAN W.
328 GRANITE ST
BIDDEFORD, ME 04005                                  P‐0010329 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDS, ARTHUR F.
5336 S MICHIGAN AVE
GN
CHICAGO, IL 60615                                    P‐0010330 10/31/2017    TK Holdings Inc., et al .                    $2,800.00                                                                                    $2,800.00
ULERIO, LEDO
5538 CAMPUS DR
VIRGINIA BEACH, VA 23462                             P‐0010331 10/31/2017    TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
MINGOLLA, LISA N.
4 LINMOOR TERRACE
LEXINGTON, MA 02420                                  P‐0010332 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAISON, JOEL R.
60 WATERS COVE RD
CANDLER, NC 28715                                    P‐0010333 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, SHEILA A.
27 FORGE DRIVE
AVON, CT 06001                                       P‐0010334 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, WENDI F.
503 MORRIS STREET
GLOUCESTER CITY, NJ 08030                            P‐0010335 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLUMBERG, DANIEL
127 TELLER AVE
GRAND JUNCTION, CO 81501                             P‐0010336 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUZINSKI, ANTHONY M.
16 MORONGO CT
TOMS RIVER, NJ 08757                                 P‐0010337 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVITT, MARC
LEVITT, ANA
9330 NW 10TH STREET
PLANTATION, FL 33322                                 P‐0010338 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
PLOFSKY, JORDAN
415 E. NORTH WATER STREET
#2506
CHICAGO, IL 60611                                  P‐0010339 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NATTOO, SHOMARI
4179 NORTH HAVERHILL ROAD
APT 616
WEST PALM BEACH, FL 33417                          P‐0010340 10/31/2017    TK Holdings Inc., et al .                   $13,500.00                                                                                   $13,500.00
RICHARDS, ARTHUR F.
5336 S MICHIGAN AVE
GN
CHICAGO, IL 60615                                  P‐0010341 10/31/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
STROMBERG, CHARLES L.
14910 OLD YORK ROAD
PHOENIX, MD 21131                                  P‐0010342 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GASBARRINI, JONATHAN R.
4019 BENTWOOD DRIVE
CANONSBURG 15317                                   P‐0010343 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINETTE, DANIEL P.
20 BLUESTEM COURT
GREENSBORO, NC 27405                               P‐0010344 10/31/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
QUICQUARO, CAREN B.
212 LAKESIDE WAY
GREENSBURG, PA 15601                               P‐0010345 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOUK, ROBERT S.
KOLIMETICS, INC.
5619 CAMPBELL ROAD
HOUSTON, TX 77041                                  P‐0010346 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALANETSKY, RICHARD M.
36 SKYLINE DR
SICKLERVILLE, NJ 08081                             P‐0010347 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEORGE, STEPHEN P.
1120 WYNDHAM DRIVE
YORK, PA 17403                                     P‐0010348 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNEISLY, VIRGINIA L.
7791 HEDGESVILLE RD
HEDGESVILLE, WV 25427                              P‐0010349 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRANE, CLIFFORD W.
CRANE, TERESA L.
143 SPIKER RD
BRUCETON MILLS, WV 26525`                          P‐0010350 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAUREGUI, SALVADOR
11506 ELIJAH STAPP
SAN ANTONIO, TX 78253                              P‐0010351 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNEISLY, VIRGINIA L.
7791 HEDGESVILLE RD
HEDGESVILLE, WV 25427                              P‐0010352 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROYKO, EDWARD W.
133 DUNBAR ROAD
WINDSOR, NY 1386                                   P‐0010353 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRASNE, VALERIE L.
659 FRAMINGHAM CT
GURNEE, IL 60031                                   P‐0010354 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLICK, STEVE A.
1790 NW 50 RD
KINGSVILLE, MO 64061                               P‐0010355 10/31/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CRANE, CLIFFORD W.
CRANE, TERESA L.
143 SPIKER RD
BRUCETON MILLS, WV 26525                            P‐0010356 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARNOFF, STEVEN M.
42 JAMES WAY
HUDSON, NH 03051‐5118                               P‐0010357 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAPONE, ROCCO
19 NIGHTINGALE ROAD
KATONAH, NY 10536                                   P‐0010358 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAPONE, KIM
19 NIGHTINGALE ROAD
KATONAH, NY 10536                                   P‐0010359 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLICK, STEVE A.
1790 NW 50 RD...
KINGSVILLE, MO 64061                                P‐0010360 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRANE, CLIFFORD W.
CRANE, TERESA L.
143 SPIKER RD
BRUCETON MILLS, WV 26525                            P‐0010361 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANAU, DAVID
6043 MCPHERSON AVE
BETHEL PARK, PA 15102                               P‐0010362 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHIEBER, PAUL H.
1731 ASHBOURNE RD
ELKINS PARK, PA 19027                               P‐0010363 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMBERS, STEVEN A.
CHAMBERS, SANDRA D.
523 PINE VIEW CIRCLE
MONTGOMERY, TX 77356                                P‐0010364 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTESON, RACHEL R.
8375 E. PRINCETON AVE.
DENVER, CO 80237                                    P‐0010365 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAPONE, KIM M.
19 NIGHTINGALE ROAD
KATONAH, NY 10536                                   P‐0010366 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, JAY D.
3640 CROSSWICK CT.
FT. WORTH, TX 76137                                 P‐0010367 10/31/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
BERGMAN JR, AXEL H.
4194 OVERTURE CIR
BRADENTON, FL 34209                                 P‐0010368 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPRIGGS, DEBORAH
446 AIRBRAKE AVE
WILMERDING, PA 15148                                P‐0010369 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADY, CARLEAN A.
53 BROAD STREET
REHOBOTH, MA 02769                                  P‐0010370 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACITO, MICHELE M.
550 CENTRAL AVE M11
LINWOOD, NJ 08221                                   P‐0010371 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, CLIFTON G.
13739 PODOCARPUS LANE
ORLANDO, FL 32828                                   P‐0010372 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
OLIVIERO, LESLIE A.
OLIVIERO, JAMES
115 GOLF VIEW DRIVE
LITTLE EGGHARBOR, NJ 08087                           P‐0010373 10/31/2017    TK Holdings Inc., et al .                   $40,206.00                                                                                   $40,206.00
MCCLENAGHAN, ROBERT A.
6424CURTISS CT
MENTOR, OH 44060                                     P‐0010374 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MARK F.
102 ELM ST
MEDFIELD, MA 02052                                   P‐0010375 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDLEY, SONIA S.
1649 GENTRY LANE
STATHAM, GA 30666                                    P‐0010376 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATALANO‐HEALEY, VICTORIA A.
5 SACHEM ROAD
BRISTOL, RI 02809‐2807                               P‐0010377 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABBOTT, RENAE J.
908 JOHN ST.
APT. 1W
JOLIET, IL 60435                                     P‐0010378 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEATTY, LORI D.
LAGLE, JAMES A.
14468 SMITH VALLEY ROAD
MAPLETON DEPOT, PA 17052                             P‐0010379 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEALY, ROBIN
HEALY, ROBIN M.
46 URBANS LANE
TIVERTON, RI 02878                                   P‐0010380 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAVE, JEFF B.
CAVE, AMBER L.
101 SHARP AVE.
BALLINGER, TX 76821                                  P‐0010381 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, KEVIN P.
16 PEQUANNOCK ROAD
GOOSE CREEK, SC                                      P‐0010382 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOCKMAN, RUSSELL A.
2114 KIRBY SMITH DR
BOSSIER CITY, LA 71112                               P‐0010383 10/31/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
WILLIAMS, STEPHANIE
1413 19TH STREET
GALVESTON, TX 77550                                  P‐0010384 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, TALIA M.
3806 SPRING TERRACE
TEMPLE HILLS, MD 20748                               P‐0010385 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILMER, CHRISTOPHER L.
GILMER, DEBRA K.
5750 PRELUDE LN
CARMEL, IN 46033                                     P‐0010386 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUSH, JODY
236 ROCK LAKE DRIVE
ZELIENOPLE, PA 16063                                 P‐0010387 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCLENAGHAN, ROBERT A.
6424 CURTISS CT
MENTOR, OH 44060                                     P‐0010388 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
JACOBSTEIN, JEROME G.
ADD YOUR THOUGHTS...
2401 PENNSYLVANIA AVE
APT 19B34
PHILADELPHIA, PA 19130                             P‐0010389 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SZULCZYK, SHOLPAN
820 CAPITOL DR
APT 1004
CARNEGIE, PA 15106                                 P‐0010390 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAND COMPANIES, INC.
P.O. BOX 727
366 S 10TH AVE
WAITE PARK, MN 56387‐0727                          P‐0010391 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL SR, JASON W.
14592 W SHAW BUTTE DR
SURPRISE, AZ 85379                                 P‐0010392 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAND COMPANIES, INC.
P.O. BOX 727
366 SOUTH 10TH AVE
WAITE PARK, MN 56387‐0727                          P‐0010393 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, SIERRA S.
29 RIVERSIDE DRIVE
FORT MITCHELL, AL 36856                            P‐0010394 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILLER, ERIC W.
26624 GOVERNOR STOCKLEY ROAD
GEORGTOWN, DE 19947                                P‐0010395 10/31/2017    TK Holdings Inc., et al .                    $3,697.54                                                                                    $3,697.54
MARZZACCO, JORDAN A.
449 WAVERLY WOODS DRIVE
HARRISBURG, PA 17110                               P‐0010396 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUKE, TERESA A.
7957 LAWLER AVENUE
BURBANK, IL 60459                                  P‐0010397 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORIN, SHARON G.
85 FAIRVIEW AVE
PEABODY, MA 01960                                  P‐0010398 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOWZ, MARK S.
3N466 ELIZABETH ST
ADDISON, IL 60101                                  P‐0010399 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUXTON, SEAN M.
3208 VILLAGE GLEN DRIVE
SNELLVILLE, GA 30039                               P‐0010400 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARR, ROBERT F.
14 HALF MILE ROAD
DARIEN, CT 06820                                   P‐0010401 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANDRY, KAREN P.
LANDRY, DOUGLAS W.
105 ALLENDALE DR.
BELLAIRE, TX 77401                                 P‐0010402 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOWZ, MARK S.
3N466 ELIZABETH ST
ADDISON, IL 60101                                  P‐0010403 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORALES, ANA F.
800 CONCOURSE VILLAGE W 7C
BRONX, NY 10451                                    P‐0010404 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
UPSHAW, MONA L.
2319 WEST CLEARFIELD STREET
PHILADELPHIA, PA 19132                             P‐0010405 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALES RUIZ, ROSANNA
309 ISLAND DRIVE
RICHARDSON, TX 75081                               P‐0010406 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, LORI A.
501 REDFERN AVE
WILMINGTON, DE 19807                               P‐0010407 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASLESON, KEITH W.
2816 RYAN DR
CEDAR FALLS, IA 50613                              P‐0010408 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, DANIELLE M.
3 FAIRVIEW AVE
ELLINGTON, CT 06029                                P‐0010409 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAULIEU, BONNIE M.
731 ELEY LANE
PEMBROKE, NH 03275                                 P‐0010410 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAFAVE, EMILY C.
297 S NORTHWEST HWY UNIT 6
PARK RIDGE, IL 60068                               P‐0010411 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TENORE, JEFF
1974 CREST DR
COATESVILLE, PA 19320                              P‐0010412 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSEGUEDA, JUAN F.
OSEGUEDA, MONICA M.
163 EASTON DR
GILBERTS, IL 60136                                 P‐0010413 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, LAWRENCE C.
4295 SAN FELIPE
#210
HOUSTON, TX 77027                                  P‐0010414 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, YVETTE
8418 SOUTH SANGAMON STREET
N/A
CHICAGO, IL 60620‐3211                             P‐0010415 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES, BRADFORD
24 BRIDLEWOOD RD
NORTHBROOK, IL 60062                               P‐0010416 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOWAK, TRACY L.
129 COUNTESS DRIVE
WEST HENRIETTA, NY 14586                           P‐0010417 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OBIKOYA, OLUFEMI A.
717 N. EMERSON STREET
ARLINGTON, VA 22203                                P‐0010418 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLME, SAMANTHA K.
18 MANOR AVE.
POMPTON PLAINS, NJ 07444                           P‐0010419 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTERO, JEFFREY A.
352 FARNUM ROAD
MEDIA, PA 19063                                    P‐0010420 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEARBORN SAUSAGE COMPANY INC.
2450 WYOMING STREET
DEARBORN, MI 48120                                 P‐0010421 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
STANTON, BARBARA J.
3456 WALDEN AVENUE
DEPEW, NY 14043                                     P‐0010422 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACHTERHOF, ANDREW S.
8930 TALLY HO LN
ORLAND PARK, IL 60462                               P‐0010423 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, NANCY E.
29 N GRACE LANE NO 103
COLUMBIA, MO 65201                                  P‐0010424 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUTTON, STEVEN
27 NAVAJO LANE
P.O. BOX 611
LOS LUNAS, NM 87031                                 P‐0010425 10/31/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HAGAN, EDWARD L.
EDWARD HAGAN
8600 SW 162ND STREET
PALMETTO BAY, FL 33157                              P‐0010426 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VENT, DEREK S.
7023 HIGHLAND CREEK DR
BRIDGEVILKE, PA 15017                               P‐0010427 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STORCK, WILLIAM H.
113 WILLIAM RICHMOND
WILLIAMSBURG, VA 23185                              P‐0010428 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERKERT JR., KARL H.
5410 BENT GREEN CT
SAN ANGELO, TX 76904                                P‐0010429 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRINGER, SHAMEKA M.
PLATUM FINANCE
3807 BULLARD ST.
CHARLOTTE, NC 28208                                 P‐0010430 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VINCENT, WILLIAM
108 PEACEABLE STREET
RIDGEFIELD, CT 06877                                P‐0010431 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURHAM, CRYSTAL L.
DURHAM JR, LINDSAY C.
3118 MAYOS WOODS CT
GOOCHLAND, VA 23063                                 P‐0010432 10/31/2017    TK Holdings Inc., et al .                    $6,092.69                                                                                    $6,092.69
GIBSON, GERALD M.
GIBSON, ALICE A.
10205 NW 72ND TERRACE
KANSAS CITY, MO 64152                               P‐0010433 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAY, THOMAS L.
10357 GRAND‐KAL RD
FIFE LAKE, MI 49633                                 P‐0010434 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRAUGHTER, JAY B.
3225 DELMAR BLVD
APT B
SAINT LOUIS, MO 63103                               P‐0010435 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAUKE, THOMAS
FENIX HOLDINGS LLC
P.O. BOX 536
PLUMSTEADVILLE, PA 18949                            P‐0010436 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STORCK, WILLIAM H.
113 WILLIAM RICHMOND
WILLIAMSBURG, VA 23185                              P‐0010437 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MASURE, JUDITH S.
MASURE, JAMES D.
16 CENTER ST
SUTTON, VT 05867                                     P‐0010438 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARG, ANOOP
34 SHERBURNE ROAD
LEXINGTON, MA 02421                                  P‐0010439 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINDSEY, NATHAN
2443 TUCKAHOE PL
OFALLON, MO 63368                                    P‐0010440 10/31/2017    TK Holdings Inc., et al .                   $23,990.00                                                                                   $23,990.00
SCHWAGER, DAVID E.
24 GERSHOM PLACE
KINGSTON, PA 18704                                   P‐0010441 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BINAGHI, GEORGE A.
435 WEST AVE
NORTHVALE NJ 076                                     P‐0010442 10/31/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
ST JOHN III, GEORGE F.
104 NORTH ST.
APT. 706
STAMFORD, CT 06902‐2431                              P‐0010443 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAY, DARRELL
MAY, BARBARA K.
1511 SPRINGDALE DRIVE
OWENSBORO, KY                                        P‐0010444 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, LAWRENCE R.
LOPEZ, BRANDY L.
1737 W. PEPPER PL.
MESA, AZ 85201                                       P‐0010445 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUMMEL, DANIEL J.
HUMMEL, AMY M.
163 RAMBLING RD
LUMBERTON, NJ 08048‐4628                             P‐0010446 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENKINSON, MARK R.
5906 CRYSTAL WATER DR
INDIANAPOLIS, IN 46237                               P‐0010447 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ODEN, MARITZA A.
10023 ELM MEADOW TRAIL
HOUSTON, TX 77064                                    P‐0010448 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURNOW, JOHN L.
4263 ROUTE 51 SOUTH
BELLE VERNON PA 15012
                                                     P‐0010449 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARRIA, ANGELO
70 PARK TERRACE EAST APT.6F
NEW YORK, NY 10034                                   P‐0010450 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HADIJI, CAROLYN
4013 KLOMAN ST
ANNANDALE VA 22003                                   P‐0010451 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAATS, TODD C.
9352 SONIA ST
ORLANDO, FL 32825                                    P‐0010452 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEYEDELEM, BARBARA A.
205 BRANDON BLVD.
SANDUSKY, OH 44870                                   P‐0010453 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
COSTELLO, WILLIAM T.
COSTELLO LANDSCAPING, LLC
3 HOERLE COURT
PLAINVILLE, CT 06062                                 P‐0010454 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRICKLAND, LOU ANNE B.
1900 MCKINNEY AVENUE
UNIT 2403
DALLAS, TX 75201                                     P‐0010455 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUH, CHARLES E.
DUH, SANDRA E.
507 CARY LANE
TARPON SPRINGS, FL 346896878                         P‐0010456 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILKINSON, ASHLEY R.
25 MEADOW STREET
NEW FREEDOM, PA 17349                                P‐0010457 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HADIJI, MOUNIR
4013 KLOMAN STREET
ANNANDALE VA 22003                                   P‐0010458 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCALF, KACIE L.
805 N. 10TH AVE
CANTON, IL 61520                                     P‐0010459 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, TIMOTHY A.
11560 MIRAGELN
FRISCO, TX 75033                                     P‐0010460 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEMARTINO, GEOFFREY F.
11 BLODGETT AVE
CLARENDON HILLS, IL 60514                            P‐0010461 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZELLERS, GARY V.
GARY V. ZELLERS
62 PLEASANT VALLEY DR.
CANNELTON, IN 47520                                  P‐0010462 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBAN, LEROY E.
ALBAN, ELSIE C.
212 DECOY DRIVE
HAVRE DE GRACE, MD 21078                             P‐0010463 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HADIJI, MOUNIR
4013 KLOMAN STREET
ANNANDALE VA 22003                                   P‐0010464 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKINNER, CYNTHIA A.
4395 POST RD
MELBOURNE, FL 32934                                  P‐0010465 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, WALLACE W.
DIXON, DANA H.
6017 DODSWORTH DRIVE
RALEIGH
, NC 27612                                           P‐0010466 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLUDE, DOUGLAS J.
2301 WILCHESTER GLEN DRIVE
VIRGINIA BEACH, VA 23456                             P‐0010467 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENGL, TINA L.
8810 STAHLEY ROAD
CLARENCE CENTER, NY 14032                            P‐0010468 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINTANA, NADINE J.
8871 DESERT FOX WAY NE
ALBUQUERQUE, NM 87122                                P‐0010469 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BETHEA, KAREN S.
HONDA
12625 DARLENE ST
UPPER MARLBORO, MD 20774                            P‐0010470 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRAZIER, JUNE B.
525 S MILL STREET
FESTUS, MO 63028                                    P‐0010471 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COPPOLA, LORRIE A.
15 ANN ST.
NEW PALTZ, NY 12561                                 P‐0010472 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HADIJI, CAROLYN
4013 KLOMAN STREET
ANNANDALE VA 22003                                  P‐0010473 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, LAWRENCE E.
3039 CLEARBROOK DRIVE
MARIETTA, GA 30068                                  P‐0010474 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANGELISTA, WANDA
5142 N. RUTHERFORD AVE
CHICAGO, IL 60656                                   P‐0010475 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERRILL, MOLLY C.
4 PENNDREW CT.
WILMINGTON, DE 19808                                P‐0010476 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMBERS, STEVEN A.
523 PINE VIEW CIRCLE
MONTGOMERY, TX 77356                                P‐0010477 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBAN, LEROY E.
ALBAN, ELSIE C.
212 DECOY DRIVE
HAVRE DE GRACE, MD 21078                            P‐0010478 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARCELO, MARK A.
BARCELO, JEANNE A.
10139 SOUTHLAWN CIRCLE
COMMERCE CITY, CO 80022‐8740                        P‐0010479 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TROTMAN, NORILYN
17529 HENLEY ROAD
JAMAICA, NY 11432                                   P‐0010480 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAFFER, KAREN L.
SHAFFER, STANLEY
42 LOOP RD
BERWICK, PA 18603                                   P‐0010481 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KISH, GARY A.
1249 ST HWY152
DILLONVALE, OH 43917                                P‐0010482 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAZMIERSKI, PETER J.
8 OIL CITY RD.
SUSSEX, NJ 07461                                    P‐0010483 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, LYNDRIA M.
7204 SLEEP SOFT CIRCLE
COLUMBIA, MD 21045                                  P‐0010484 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COULTER, DAVID R.
111 VIRGINIA AVE
VANDERGRIFT, PA 15690                               P‐0010485 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWARZ, ROBERT B.
2400 PARMENTER ST
APT 420
MIDDLETON, WI 53562                                 P‐0010486 10/31/2017    TK Holdings Inc., et al .                     $100.00                                                                                       $100.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CAMMACK, WILLIAM W.
3434 DANIEL AVE APT H
APT H
DALLAS, TX 75205‐1870                               P‐0010487 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'KROLEY, DOUGLAS P.
5604 WIMBLEDON COURT
MC FARLAND, WI 53558‐8400                           P‐0010488 10/31/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
RAMY, ROBERTA J.
ROBERTA RAMY INSURANCE AG INC
5409 NW 130TH ST
OKLAHOMA CITY, OK 73142                             P‐0010489 10/31/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
CARICO, ASHLEY L.
116 12TH ST SE
ALTOONA, IA 50009                                   P‐0010490 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLUMENFIELD, HERMINE
45 EAST COMMON RD
EASTON, CT 06612                                    P‐0010491 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COSTA, LYNETTE A.
378 GOLDEN GROVE RD.
BADEN, PA 15005                                     P‐0010492 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNODGRASS, COURTNEY
2590 BRYN MAWR AVE.
BILOXI, MS 39531                                    P‐0010493 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALLE, JOSEPH R.
4 PHILLIPS AVENUE
SWAMPSCOTT, MA 01907                                P‐0010494 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, SHAWNETTE N.
2820 LENORA SPRINGS DR
SNELLVILLE, GA 30039                                P‐0010495 10/31/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
GULLION, RICHARD L.
16719 E PRAIRIE GOAT AVENUE
PARKER, CO 80134                                    P‐0010496 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, HANNAH H.
11830 TAYLOR LEIGH LN
HOUSTON, TX 77066                                   P‐0010497 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOCK REE, ANNMARY T.
37 BURRINGTON HILL RD
WHITINGHAM, VT 05361                                P‐0010498 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, MARK P.
609 S. WATER
WILMINGTON, IL 60481                                P‐0010499 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COSTA, LYNETTE A.
NO ADDRESS PROVIDED
                                                    P‐0010500 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGILL, JONATHAN
3540 WALSH LANE
HUNTINGDON VALLE, PA 19006                          P‐0010501 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODGERS, DARRYL A.
RODGERS, VICTORIA H.
6702 TENNESSEE AVE.
HAMMOND, IN 46323                                   P‐0010502 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERS, DEAN
30 TOC DRIVE
HIGHLAND, NY 12528                                  P‐0010503 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
FARHANGI, SEYEDHAMID
6184 MARTINS LANDING COURT
BURKE, VA 22015                                    P‐0010504 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARLON, ERICA L.
4560 30TH STREET
DORR, MI 49323                                     P‐0010505 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBER, STEPHEN E.
194 FREEDOM LN
SEWICKLEY, PA 15143                                P‐0010506 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, DEBRA COX L.
609 S. WATER
WILMINGTON, IL 60481                               P‐0010507 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIZZUTO, BRENT
1084 HAWK CT.
WINDSOR, CO 80550                                  P‐0010508 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGILL, AMY
3540 WALSH LANE
HUNTINGDON VALLE, PA 19006                         P‐0010509 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUTCHLEY, DONALD J.
5001 MEINING RD
BERTHOUD, CO 80513‐8665                            P‐0010510 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARNELL, SHARON I.
354 ALLEN RD
CULLODEN, GA 31016                                 P‐0010511 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARANGO, FRANCY
NOWACKI, STEPHAN
653 BILLINGS AVE
PAULSBORO, NJ 08066                                P‐0010512 10/31/2017    TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
LYNCH, WESLEY M.
1015 WOODSMANS REACH
CHESAPEAKE, VA 23320                               P‐0010513 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, JANET K.
7134 MACBETH WAY
SYKESVILLE, MD 21784‐5926                          P‐0010514 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GHORBANIAN, SOHEILA
FARHANGI, SEYEDHAMID
6184 MARTINS LANDING COURT
BURKE, VA 22105                                    P‐0010515 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARRILLO, MARY E.
260 ELENA STREET
CRANSTON, RI 02920                                 P‐0010516 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODGERS, DARRYL A.
RODGERS, VICTORIA H.
6702 TENNESSEE AVE.
HAMMOND, IN 46323                                  P‐0010517 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADLEY, SUSAN L.
720 BELFIELD AVENUE
DREXEL HILL, PA 19026                              P‐0010518 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNORR, KEVIN
712 NE 22ND DRIVE
WILTON MANORS, FF 33305                            P‐0010519 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFORD, ROBERT F.
WOLFORD, ALEXA S.
P.O. BOX 467042
ATLANTA, GA 31146                                  P‐0010520 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BAILEY, GEORGE L.
75 CRANE HILL RD.
STORRS MANSFIELD, CT 06268                          P‐0010521 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOUTHWEST BROKERS INC
900 36TH AVE NW, SUITE 105
NORMAN, OK 73072                                    P‐0010522 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELISLE, ROSEMARIE
96 WARREN ST
WEST SPRINGFIELD, MA 01089                          P‐0010523 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALZBERGER, ELLEN F.
65 DOWNS LAKE CIRCLE
DALLAS, TX 75230                                    P‐0010524 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOCCODATO, FRANK A.
41 TULIP ROAD
BREWSTER, NY 10509                                  P‐0010525 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUTCHLEY, DONALD J.
5001 MEINING RD
BERTHOUD, CO 80513‐8665                             P‐0010526 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANDAU, CHARLES
68 GOODRIDGE RD
REDDING, CT 06896                                   P‐0010527 10/31/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
SUAREZ, DEBORAH M.
49 LOUISE PL
NORTH HALEDON, NJ 07508                             P‐0010528 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANKS, RADO L.
BANKS, BETTIE S.
9311 S COURTHOUSE RD.
PROVIDENCE FORGE, VA 23140                          P‐0010529 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAHOTI, SACHIN P.
16757 CHESTERFIELD FARMS DR.
CHESTERFIELD, MO 63005                              P‐0010530 10/31/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
CHIGER, SUSAN E.
400 CAYUGA WAY
WESTFIELD, NJ 07090                                 P‐0010531 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDRICKSEN, RODNEY A.
140 LEIGH STREET
CLINTON, NJ 08809                                   P‐0010532 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANGELINI, JOHN
299 HOFFECKERS MILL RD
SMYRNA, DE 19977                                    P‐0010533 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TODD, TIFFANY
4242 HUSTON HILLS RD
DECATUR, IL 62526                                   P‐0010534 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOCCODATO, FRANK A.
41 TULIP ROAD
BREWSTER, NY 10509                                  P‐0010535 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAVEMANN, BENJAMIN C.
5709 WILDER RDG
AUSTIN, TX 78759‐6259                               P‐0010536 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BABIN, BERWICK P.
4947 REVERE COURT
DOUGLASVILLE, GA 30135                              P‐0010537 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAUSLOW, LISA M.
123 EMILY ST
PHILADELPHIA, PA 19148                              P‐0010538 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
LE, KIM
4750 W 128TH PLACE
BROOMFIELD, CO 80020                                P‐0010539 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORBO, VINCENT C.
520 SHERMAN AVE.
HAWTHORNE, NY 10532                                 P‐0010540 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATERS, STEPHANIE L.
810 GRAFTON STREET
FREDERICKSBURG, VA 22405                            P‐0010541 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'BRIEN, TIMOTHY D.
2801 DWIGHT AVE
PITTSBURGH, PA 15216                                P‐0010542 10/31/2017    TK Holdings Inc., et al .                     $800.00                                                                                       $800.00
TOWNSEND, SCOTT A.
720 PILOT WOODS ROAD
COVINGTON, GA 30014                                 P‐0010543 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMES, LOSHARICKA N.
300 TIMBERLINE DR
300 TIMBERLINE DR
NLR, AR 72118                                       P‐0010544 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELCH, DAVID M.
702 TAHITI DRIVE
GRANBURY, TX 76048                                  P‐0010545 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREGORY, LORA K.
3070 ROCKET ROAD
ROCK HILL, SC 29732                                 P‐0010546 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LE, THANH
4750 W 128TH PLACE
BROOMFIELD, CO 80020                                P‐0010547 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOGAN, STEPHEN P.
7476 N. W. 25TH STREET
MARGATE, FL 33063                                   P‐0010548 10/31/2017    TK Holdings Inc., et al .                     $700.00                                                                                       $700.00
TINKER, NATALIE W.
27344 DARA SPRINGS LN
SPRING, TX 77386                                    P‐0010549 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUTCHLEY, DONALD J.
5001 MEINING RD
BERTHOUD
, CO 80513‐8665                                     P‐0010550 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIGER, MATTHEW C.
400 CAYUGA WAY
WESTFIELD, NJ 07090                                 P‐0010551 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, JOYCE C.
W11197 LANE TWO
DUNBAR, WI 54119                                    P‐0010552 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAECHLE, MARK T.
BOX 31
EAST TEXAS, PA 18046                                P‐0010553 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELCH, DAVID M.
702 TAHITI DRIVE
GRANBURY, TX 76048                                  P‐0010554 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURINSKY, PAUL J.
TURINSKY, KAREN D.
618 NORTH BOYLAN AVENUE
UNIT 724
RALEIGH, NC 276031439                               P‐0010555 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WALLACE, SANDRA K.
2420 E SAN RAFAEL STREET
COLORADO SPRINGS, CO 80909                          P‐0010556 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEUTSCH, LEA
5014 HAZEL AVE.
APT. 3
PHILADELPHIA, PA 19143                              P‐0010557 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAFFE, ANTHONY R.
635 EAST WATERFRONT DRIVE
APT. 5112
MUNHALL, PA 15120                                   P‐0010558 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COCUZZO, DANIEL D.
104 PROSPECT CT
BELLMORE, NY 11710                                  P‐0010559 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNAPP MARON, APRIL
5 GIFFORD ST
TUCKAHOE
, NY 10707                                          P‐0010560 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRSHNER, ARI
6644 N DRAKE AVENUE
LINCOLNWOOD, IL 60712                               P‐0010561 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, AFRICA
312 LOGOS TRACE
ALABASTER, AL 35007                                 P‐0010562 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLISKY, CAROL L.
PLISKY, CAROL L.
135 POST AVE.
APT 5M
WESTBURY, NY 11590                                  P‐0010563 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEETER, BETH A.
HEETER, ROBERT J.
6286 BROOKS BLVD
MENTOR, OH 44060                                    P‐0010564 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACEVEDO, NICHOLAS
10321 S. OAKLEY AVENUE
CHICAGO, IL 60643                                   P‐0010565 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLDER, YVETTE L.
155 NASHUA ST.
PARK FOREST ILLINOIS 60466
                                                    P‐0010566 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORRIS, PAMELA D.
719 SPRING FALLING WAY
SPRING, TX 77373                                    P‐0010567 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BULLOCK, PATRICIA A.
1800 FRANCON COURT
CONYERS, GA                                         P‐0010568 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TILLMAN, CAROLYN
4122 BIRCH LEAF COURT
CHARLOTTE, NC 28215                                 P‐0010569 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRINGER, GARY D.
STRINGER, DORIAN T.
2875 POINTER CREEK ROAD
SCIENCE HILL, KY 42553                              P‐0010570 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TODD, TIFFANY R.
4242 HUSTON HILLS RD
DECATUR, IL 62526                                   P‐0010571 10/31/2017    TK Holdings Inc., et al .                   $15,660.28                                                                                   $15,660.28
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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
GASSER, JONATHAN
5869 N KENNETH AVE
CHICAGO, IL 60646                                   P‐0010572 10/31/2017    TK Holdings Inc., et al .                     $750.00                                                                                       $750.00
PREZIOSO, VINCENT M.
25 NEWHALL ST
REVERE, MA 02151                                    P‐0010573 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STROHMAN, JAMES
2710 WHITE OAK CIRCLE
AMES, IA 50014                                      P‐0010574 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBER, PAUL J.
806 WILSHIRE CIRCLE
SEVEN FIELDS, PA 16046                              P‐0010575 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, LAKESHA
2757 MAYBROOK HOLLOW LN
HOUSTON, TX 77047                                   P‐0010576 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELVESCOVO, WILLIAM
DELVESCOVO, WILLIAM
1509 PENNSBURY DR.
WEST CHESTER, PA 19382                              P‐0010577 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGLETON, JOHNIE N.
6719 CASEY SAVANNAH LN
CHESTERFIELD, VA 23234                              P‐0010578 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIELDS, JESSCA N.
9449 REACH RD
POTOMAC, MD 20854                                   P‐0010579 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TECHO, MARK R.
5195 CHESTATEE HEIGHTS ROAD
GAINESVILLE, GA 30506                               P‐0010580 10/31/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
DOMBEK, ROBERT S.
1311 CASTALIA DRIVE
CARY, NC 27513                                      P‐0010581 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRENNON, TAMARA O.
P O BOX 215
SAINT ELMO, AL 36568                                P‐0010582 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEBENVENISTE, MARY C.
125 SAVAGE ST.
WALTERBORO, SC 29488                                P‐0010583 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORAN, JAMES T.
MORAN, KATHLEEN
170 ALLISON WAY
HOLLIDAYSBURG, PA 16648                             P‐0010584 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOURKE, RICHARD L.
9455 E WHITEWING DRIVE
SCOTTSDALE, AZ 85262                                P‐0010585 10/31/2017    TK Holdings Inc., et al .                        $7.45                                                                                        $7.45
SHANAFELTER, QUINTIN J.
291 TEXAS EASTERN RD
SHERMANS DALE, PA 17090                             P‐0010586 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELIZABETH CHEVROLET, INC.
329 HIGHWAY 15 SOUTH
TRUMAN, MN 56088                                    P‐0010587 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, RICHARD E.
1406 LOCUST AVE
TOWSON, MD 21204                                    P‐0010588 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, THOMAS J.
1958 WEBB RD
GRAND ISLAND, NY 14072                              P‐0010589 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
NILES, DONALD W.
1006 2ND ST SW
WADENA, MN 56482                                    P‐0010590 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARR, ELIN B.
9323 SOTHERLOCH LAKE DR
SPRING, TX 77379                                    P‐0010591 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRAUSS, ROBERT
STRAUSS, CAROLE
4031 MORNING GLORY ROAD
COLORADO SPRINGS, CO 80920                          P‐0010592 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, LOUIS J.
3841 AFFIRMED WAY
VIRGINIA BEACH, VA 23456                            P‐0010593 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWRY, WILLIAM J.
446 FOUR LAKES DR
GIBSONIA, PA 15044                                  P‐0010594 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LASCOLA, ANTHONY
828 PENNSYLVANIA AVE
OAKMONT, PA 15139                                   P‐0010595 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATTANACH, DEENA
JORGENSON, KRISTINA M.
1007 CHARLENE ST
SAVANNAH, GA 31410                                  P‐0010596 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMILTON, ROBERT T.
7420 BRISTOL LANE
PARKLAND, FL 33067                                  P‐0010597 10/31/2017    TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
KOHN, RANDI S.
KOHN, ALAN H.
25 E SUPERIOR STREET
APT 2801
CHICAGO, IL 60611                                   P‐0010598 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, ROBERT
25115 DIAMOND RANCH DR
KATY, TX 77494                                      P‐0010599 10/31/2017    TK Holdings Inc., et al .                    $1,300.00                                                                                    $1,300.00
RIEND, CHRIS
54 S HENRY ST
MADISON, WI 53703                                   P‐0010600 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAUL, JOANN M.
1214 ANDERSON ROAD
PITTSBURGH, PA 15209                                P‐0010601 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILARIO, RAMON S.
293 WOOD DOVE AVENUE
TARPON SPRINGS, FL 34689                            P‐0010602 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHERR, KIMBERLY A.
2930 N SHERIDAN ROAD
APT 911
CHICAGO, IL 60657                                   P‐0010603 10/31/2017    TK Holdings Inc., et al .                     $233.44                                                                                       $233.44
STARCEVICH, ANDREW R.
STARCEVICH, LINDA W.
17602 E. KENYON DR
AURORA, CO 80013                                    P‐0010604 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, DAVID T.
3620 GREEN MOUNTAIN PLACE
MCKINNEY, TX 75070                                  P‐0010605 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
THOMPSON, RUTH A.
THOMPSON, JOHN L.
27 BISHOP DR
ELDON, MO 65026                                      P‐0010606 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEDDICORD, JON M.
124 WICKER RD
COWARTS, AL 36321                                    P‐0010607 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAVANAUGH, JESSICA E.
5235 STONE BRIDGE WAY
SYKESVILLE, MD 21784                                 P‐0010608 10/31/2017    TK Holdings Inc., et al .                    $8,700.00                                                                                    $8,700.00
MATHIESON, CELESTE
215 CRANBERRY RD.
GROVE CITY, PA 16127                                 P‐0010609 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIGOS, HEATHER J.
310 BENT TREE LANE
PENDLETON, SC 29670                                  P‐0010610 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESTES, DANIELLA M.
614 CHAUCER COURT
JACKSONVILLE, AR 72076                               P‐0010611 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBER, JEREMY M.
BARBER, JEREMY M.
TAKATA
1188 PARKMONT LANE
ROCK HILL                                            P‐0010612 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULLES, JULIA N.
CULLES, BRIAN J.
2753 AAKER RD
STOUGHTON, WI 53589                                  P‐0010613 10/31/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
ELIZABETH CHEVROLET, INC.
329 HIGHWAY 15 SOUTH
TRUMAN, MN 56088                                     P‐0010614 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLINGS, PETER F.
125 SAVAGE ST.
WALTERBORO, SC 29488                                 P‐0010615 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STARCEVICH, ANDREW R.
STARCEVICH, LINDA W.
17602 E. KENYON DR
AURORA, CO 80013                                     P‐0010616 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, RICHARD C.
SMITH, KATHERINE P.
341 DEWEY AVE
EVANSTON, IL 60202                                   P‐0010617 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRESSWOOD, ANTHONU
1715 AIRBORNE ST
CLARKSVILLE, TN 37042                                P‐0010618 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEMP, DONALD R.
24202 TROWBRIDGE CT.
DAPHNE, AL 36526                                     P‐0010619 10/31/2017    TK Holdings Inc., et al .                     $350.00                                                                                       $350.00
KENNY, MATTHEW C.
KENNY, MATTHEW C.
101 WALNUT ST
WESTERNPORT, MD 21562                                P‐0010620 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWELL, SUSAN M D.
1431 MARYLAND AVENUE
WOODBRIDGE, VA 22191                                 P‐0010621 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HAMPTON, BARBARA D.
842 H ST
PAWNEE CITY, NE 68420                               P‐0010622 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVERSTEIN, CHRISTINE M.
30 GARDEN STREET
RAMSEY, NJ 07446                                    P‐0010623 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEER, RICHARD B.
211 E OHIO ST
#1808
CHICAGO, IL 60611                                   P‐0010624 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSARIO, ELIZABETH
9745 TOUCHTON RD UNIT 903
JACKSONVILLE, FL 32246                              P‐0010625 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPURLOCK, MICHAEL C.
5770 SHANNON DRIVE
SHREVEPORT, LA 71129                                P‐0010626 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOGAN, AVA H.
7720 UNDERHILL DRIVE
ST. LOUIS, MO 63133                                 P‐0010627 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANNUCCIARI, DANIEL P.
5604 BUCK POINT RD.
AUBURN, NY 13021                                    P‐0010628 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINNEY, DAVID E.
630 ARAGONA DR
VINTON, VA                                          P‐0010629 10/31/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WILLS, ELIZABETH A.
22 HOPE STREET NW
HUNTSVILLE, AL 35806                                P‐0010630 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINSON, SALLY S.
206 CHESTNUT AVENUE
GREER, SC 29651                                     P‐0010631 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PELLEGRINI, NINETTA G.
3011 ROSELAWN AVENUE
BALTIMORE, MD 21214‐1825                            P‐0010632 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGAI, VICTOR
3 COMMONS COURT
MONROE, NJ 08831                                    P‐0010633 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIOP, KHARI
132 ATLANTA AVE SE
ATLANTA, GA 30315                                   P‐0010634 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROZENDAAL, PETER J.
3406 WATERLILY CT
APT 203
PALM BEACH GDNS, FL 33410                           P‐0010635 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARKHAM, KENNETH H.
160 S MAPLE AVE
APT A2
RIDGEWOOD, NJ 07450‐4533                            P‐0010636 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGAI, VICTOR
3 COMMONS COURT
MONROE, NJ 08831                                    P‐0010637 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOSTON, JENNIFER
408 FAIRVIEW AVENUE
FREDERICK, MD 21701                                 P‐0010638 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MASELLI, JOSEPH
P.O. BOX 620172
OVIEDO, FL 32762                                    P‐0010639 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELLERS, KATHY
SELLERS, RODNEY E.
290 SHERLOCK ST.
FRANKFORT, IL 60423                                 P‐0010640 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESCOE, DWIGHT D.
ESCOE, JUDITH D.
3912 US HWY 183 N
CUERO, TX 77954                                     P‐0010641 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONSIGLIO, WILLIAM G.
305 BROADMOOR WAY
MCDONOUGH, GA 30253                                 P‐0010642 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGAI, VICTOR
3 COMMONS COURT
MONROE, NJ 08831                                    P‐0010643 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEGGETT, MICHAEL
48 RIVERS ST.
SIDNEY 13838                                        P‐0010644 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, BECKY L.
SPETHMANN, DAVID M.
1131 OAK RIDGE DRIVE
STREAMWOOD, IL 60107                                P‐0010645 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NUGENT, CANDACE M.
4128 WHISPER PT
CIBOLO, TX 78108                                    P‐0010646 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAYCOAX, LUTHER W.
12154 W. SURREY ST.
EL MIRAGE, AZ 85335                                 P‐0010647 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLOGG, CARA C.
1715 W 39TH STREET
CHATTANOOGA, TN 37409                               P‐0010648 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILES, ROBERT R.
61 SUMMIT RD
MEDFORD, MA 02155                                   P‐0010649 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUSTIN, LAUREN
2022 BALTIMORE ROAD L33
ROCKVILLE, MD 20851                                 P‐0010650 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMMONS, SHAREE
14294 NW 17TH AVE
OPA LOCKA, FL 33054                                 P‐0010651 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGAI, VICTOR
3 COMMONS COURT
MONROE, NJ 08831                                    P‐0010652 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIGGIO, MARLENE C.
17437 WESLEY CHAPEL RD.
MONKTON, MD 21111                                   P‐0010653 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPETHMANN, DAVID M.
WILLIAMS, BECKY L.
1131 OAK RIDGE DRIVE
STREAMWOOD, IL 60107                                P‐0010654 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIFORD, JOHN R.
ESTATE OF GRAHAM D. WILLIFORD
P. O. BOX 877
FAIRFIELD, TX 75840                                 P‐0010655 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BROWN, COURTNEY E.
BROWN, KATHERINE J.
P.O. BOX 14461
2348 S. BRIGHTON
MESA, AZ 85216                                       P‐0010656 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, VICKI L.
1021 MARINE STREET
APT. 2
CLEARWATER, FL 33755                                 P‐0010657 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAYTON, ROBERT L.
13823 N. 183RD AVE
SURPRISE, AZ 85388                                   P‐0010658 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANGARTNER, NICOLE A.
3719 COUNTY HWY NN
WEST BEND, WI 53095                                  P‐0010659 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COULTER, DAVID R.
111 VIRGINIA AVE
VANDERGRIFT, PA 15690                                P‐0010660 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEDNAR, YOKE W.
213 MUSKET CIRCLE
LANSDALE, PA 19446                                   P‐0010661 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIMMERMAN, RICHARD G.
35 WESTMORELAND PLACE
SAINT LOUIS, MO 63108                                P‐0010662 10/31/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
LUTKEWITTE, SIL
171 BITTERSWEET DR
HERSHEY, PA 17033                                    P‐0010663 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, TERESSA J.
3602 28TH PARKWAY
TEMPLE HILLS, MD 20748                               P‐0010664 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, AMY L.
6400 MOONLIGHT WAY
PRESCOTT VALLEY, AZ 86314                            P‐0010665 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANGELINI, CHRISITNA A.
299 HOFFECKERS MILL RD
SMYRNA, DE 19977                                     P‐0010666 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIPTON, MATTHEW K.
1903 SUTTER STREET
OAKDALE, PA 15071                                    P‐0010667 10/31/2017    TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
LAWSON, DESIREE A.
3510 AVENUE H #4A
BROOKLYN, NY 11210                                   P‐0010668 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUTHER, GLENN A.
P.O. BOX 16
PELKIE, MI 49958                                     P‐0010669 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKINZY, SANDY L.
2242 MERSEYSIDE DRIVE
WOODBRIDGE, VA 22191                                 P‐0010670 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUTKEWITTE, SILVAN
171 BITTERSWEET DR.
HERSHEY, PA 17033                                    P‐0010671 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASON, VERNETT
6343 BERRY PATH TRAIL
MATTESON, IL                                         P‐0010672 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
DUVALL, ALYSSA M.
6161 ROUTE 5
CANANDAIGUA, NY 14424                               P‐0010673 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, AMY L.
6400 MOONLIGHT WAY
PRESCOTT VALLEY, AZ 86314                           P‐0010674 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTA, REBEKAH I.
4242 N. OVERHILL
NORRIDGE, IL 60706                                  P‐0010675 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGER JR., HAROLD L.
320 WOLVERINE ST.
HAINES CITY, FL 33844                               P‐0010676 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WISNIEWSKI, RAYMOND
2179 BAILEY AVE
NEW FREEDOM, PA 17349                               P‐0010677 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERGLE, SHAREN E.
183 WHISPERING OAK LANE
CHAPIN, SC 29036                                    P‐0010678 10/31/2017    TK Holdings Inc., et al .                   $13,593.23                                                                                   $13,593.23
BOLES, PATRICK J.
635 38TH CT
VERO BEACH, FL 32968                                P‐0010679 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOUGHERTY, CRYSTAL
55 AUSTIN PLACE, 4H
STATEN ISLAND, NY 10304                             P‐0010680 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THELEMAQUE, DAVID
THELEMAQUE, DAVID
6119 RICHMOND ROAD
WEST MILFORD, NJ 07480                              P‐0010681 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDING, JOHN M.
3316 GIRARD AVENUE SOUTH
MINNEAPOLIS, MN 55408                               P‐0010682 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLICKI, MICHAEL C.
WOLICKI, ANN C.
65 W. PLEASANT ST.
WINNEMUCCA, NV 89445                                P‐0010683 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLASSIC WOODWORKING INC.
9524 S BROADWAY
SAINT LOUIS, MO 63125‐2047                          P‐0010684 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORRIE, KENDRA N.
209 CEDARWOOD LANE
MADISON, TN 37115                                   P‐0010685 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENDILL, LANDON III W.
P.O. BOX 347
SAINT ALBANS, MO 63073                              P‐0010686 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FECHTMANN, FREDDIE "LE A.
6788 ROCKFISH GAP TURNPIKE
CROZET, VA 22932                                    P‐0010687 10/31/2017    TK Holdings Inc., et al .                    $5,400.00                                                                                    $5,400.00
KOPITSCH, TRACY A.
KOPITSCH, RAYMOND F.
2922 S LANG DRIVE
BRIMLEY, MI 49715                                   P‐0010688 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHENEY, JONATHAN L.
1115 N PEAK DR
KERNERSVILLE, NC 27284                              P‐0010689 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CHIVERTON, JANICE
7329 SUNRISE COURT
GREENBLET, MD 20770                                  P‐0010690 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBB, JOHN J.
WEBB, MARY T.
387 VILLAGE CREEK DRIVE
BALLWIN, MO 63021‐6161                               P‐0010691 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLASSIC WOODWORKING INC
9524 S BROADWAY
SAINT LOUIS, MO 63125‐2047                           P‐0010692 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEARLES, JASON G.
SEARLES, DARCIE L.
17049 CR 291
COSBY, MO 64436                                      P‐0010693 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FROMM, LAURIE
CLASSIC WOODWORKING INC
9524 S BROADWAY
SAINT LOUIS, MO 63125‐2047                           P‐0010694 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENS, RONALD
8125 WEDGEWOOD DR
CHESTERLAND, OH 44026
                                                     P‐0010695 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEARLES, JASON G.
SEARLES, DARCIE L.
17049 CR 291
COSBY, MO 64436                                      P‐0010696 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WYNNE, LISA A.
1038 KEENELAND DR
SPRING HILL, TN 37174                                P‐0010697 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHATEAUVERT, JULIE
17 N. CHATSWORTH AVE.
APT.7A
LARCHMONT, NY 10538                                  P‐0010698 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLIVE, LAURENCE L.
2135 BROOKWOOD ROAD
CHARLOTTE, NC 28211                                  P‐0010699 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBSON, AURELIA K.
263 LAUREL AVENUE
JOHNSTOWN, PA 15906‐2123                             P‐0010700 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNYADY, EMILY K.
915 OLD WASHINGTON RD
CANONSBURG, PA 15317                                 P‐0010701 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, HARLAN M.
1974 HEDGE BROOKE TRL NW
ACWORTH, GA 30101                                    P‐0010702 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCALLISTER, THOMAS S.
4224 STATESMEN DRIVE
INDIANAPOLIS, IN 46250                               P‐0010703 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORHOUSE, ANTHONY J.
33578 CHARLIE TRAPP ROAD
DENT, MN 56528‐9012                                  P‐0010704 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHENEY, JONATHAN L.
CHENEY, ETHEL H.
1115 N PEAK DR
KERNERSVILLE, NC 27284                               P‐0010705 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HOLSENDOLPH, CORNELIUS
CORNELIUS HOLSENDOLPH
1528 MYRTLE ST
VALDOSTA, GA 31601‐4100                             P‐0010706 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWE, KELLY O.
P.O. BOX 2302
ROBBINSVILLE, NC 28771                              P‐0010707 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, ANITA S.
ELDRIDGE, NAAMAN D.
150 DEXTER CIRCLE
MADISON, AL 35757                                   P‐0010708 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORHOUSE, ANTHONY J.
33578 CHARLIE TRAPP ROAD
DENT, MN 56528‐9012                                 P‐0010709 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERGLE, SHAREN E.
183 WHISPERING OAK LANE
CHAPIN, SC 29036                                    P‐0010710 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCALLISTER, MICHELLE G.
4224 STATEMEN DRIVE
INDIANAPOLIS, IN 46250                              P‐0010711 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIMES, STEPHEN M.
870 N. 28TH ST
APT 209
PHILADELPHIA, PA 19130                              P‐0010712 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIES, TERESA‐CARRAH L.
92 HAMILTON STREET
APT 6B
OSWEGO, NY 13126                                    P‐0010713 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTMAN, DEBORAH
6188 MARYLAND AVE
MAYS LANDING                                        P‐0010714 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARGEY, SUSAN D.
289 KINGSTON CLUB ROAD
LATROBE, PA 15650                                   P‐0010715 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARSONS, ARNOLD L.
W5340 COUNTY RD. 366
DAGGETT MI 49821
                                                    P‐0010716 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOCAREK, THOMAS E.
1537 PLACER CT
NAPERVILLE, IL 60565‐4134                           P‐0010717 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELLEM, JACQUELINE J.
345 ROOSERVELT STREET SOUTH
UNIT E
CAMBRIDGE, MN 55008                                 P‐0010718 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KESSEL, KURT G.
2812 MIDDLESBOROUGH CT
FORT COLLINS, CO 80525‐2331                         P‐0010719 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PISARCHIK, ROBERT
5447 W 115TH DR
BROOMFIELD, CO 80020                                P‐0010720 10/31/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
MARGEY, SUSAN D.
289 KINGSTON CLUB ROAD
LATROBE
, PA 15650                                          P‐0010721 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HAYS, DARREN M.
HAYS, MARSHA M.
3692 REEDY CREEK ROAD
FREEMAN, VA 23856                                   P‐0010722 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIRKLER, SUSAN L.
BIRKLER, JAMES R.
18900 CORTEZ BOULEVARD
BROOKSVILLE, FL 34601                               P‐0010723 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSLEY, TAMIKA
432 IRA ST
ATLANTA
                                                    P‐0010724 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEASEL, RITCHIE L.
519 JIPSON ST.
BLISSFIELD, MI 49228                                P‐0010725 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAN, JOSEPH
49 CLIVE HILLS RD.
EDISON, NJ 08820                                    P‐0010726 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TINGIRIS, STEVE
10110 DOWNEY LANE
TAMPA, FL 33626                                     P‐0010727 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KESSEL, KURT G.
2812 MIDDLESBOROOUGH CT
FORT COLLINS
, CO 80525‐2331                                     P‐0010728 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYS SR, DARREN M.
HAYS, MARSHA M.
3692 REEDY CREEK ROAD
FREEMAN, VA 23856                                   P‐0010729 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAVALLO, DANA S.
2811 BROADWAY ROAD
EASTON, PA 18040                                    P‐0010730 10/31/2017    TK Holdings Inc., et al .                   $11,084.73                                                                                   $11,084.73
DICKENS, MARY M.
DICKENS, TOBY P.
2328 N GAINES
DAVENPORT, IA 52804                                 P‐0010731 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREEN‐BARRETTO, BARBARA A.
811 HAVERHILL ST
ROWLEY, MA 01969                                    P‐0010732 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, LEO
1441 FAIRWAY DRIVE
LAKE FOREST, IL 60045                               P‐0010733 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOJENA, NILDA S.
13684 NE 20 COURT
N MIAMI BEACH, FL 33181                             P‐0010734 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLYNE, ADRIAN B.
8404 STARSTRUCK AVE.
LAS VEGAS, NV 89143                                 P‐0010735 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TINGIRIS, STEVEN
10110 DOWNEY LANE
TAMPA, FL 33626                                     P‐0010736 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELLER, LINDA G.
306 MANSFIELD DRIVE
CAMILLUS, NY 13031                                  P‐0010737 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MCGRATH, NANCY
4040 203 STREET
APT. 4B
BAYSIDE, NY 11361                                   P‐0010738 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOREHOUSE, DAVID A.
5850 SE 194 LN
INGLIS, FL 34449                                    P‐0010739 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWTHER, GAY P.
1099 CUMBERSTONE ROAD
HARWOOD, MD 20776                                   P‐0010740 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KESSEL, KURT G.
2812 MIDDLESBOROOUGH CT
FORT COLLINS
, CO 80525‐2331                                     P‐0010741 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANTILL, TIMOTHY
189 HUNSBERGER LN
SOUDERTON, PA 18964                                 P‐0010742 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, MICHAEL W.
805 NANDY DRIVE
KINGSTON, PA 18704                                  P‐0010743 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELLER, LINDA G.
306 MANSFIELD DRIVE
CAMILLUS, NY 13031                                  P‐0010744 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, JANET K.
19 OAKLEAF DRIVE
COLCHESTER, CT 06415                                P‐0010745 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, GREGORY
4234 BERWICK FARM DR
DULUTH, GA 30096                                    P‐0010746 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALAZAR, NATALIA
19910 SWEETGUM CIRCLE APT. 41
GERMANTOWN, MD 20874                                P‐0010747 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOST, EARL B.
2756 CANDACE CT
UNIONTOWN, OH 44685                                 P‐0010748 10/31/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
SACK, DONNA K.
SACK, JEFFREY M.
636 DE LASALLE AVE
NAPERVILLE, IL 60565                                P‐0010749 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEREZMAN, CORI L.
935 COUNTRY WOOD COURT
WELLINGTON, FL 33414                                P‐0010750 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRILLON, SEBASTIAN
6230 SW 50TH ST
MIAMI, FL 33155                                     P‐0010751 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, GREGORY
4234 BERWICK FARM DR
DULUTH, GA 30096                                    P‐0010752 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEFTE, WENDY F.
700 E WIGGINS ST
SUPERIOR, CO 80027                                  P‐0010753 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIN, MICHAEL
SHIN, JULIET
1205 SUMMIT WAY
MECHANICSBURG, PA 17050                             P‐0010754 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
VIGIL, YVONNE J.
11660 W AUBURN AVENUE
LAKEWOOD, CO 80228                                  P‐0010755 10/31/2017    TK Holdings Inc., et al .                     $405.75                                                                                       $405.75
LERNER, STEPHEN
84 WHITE HILL ROAD
COLD SPG HBR, NY 11724                              P‐0010756 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIN, MICHAEL
SHIN, JULIET
1205 SUMMIT WAY
MECHANICSBURG, PA 17050                             P‐0010757 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVETT, LEE R.
337 JAMES CIRCLE
LAKE ALFRED, FL 33850                               P‐0010758 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANSON, SHELAGH J.
105 MAGNOLIA AVENUE
FRANKLIN, VA 23851                                  P‐0010759 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, LISETTE
9341 TULIP ST
PHILA, PA 19114                                     P‐0010760 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEMP, CYNTHIA I.
1313 HANSHAW RD
ITHACA, NY 14850                                    P‐0010761 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAUDE, KATHLEEN T.
1002 GRANDVIEW DR.
NEW LENOX, IL 60451                                 P‐0010762 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANDLE, DAVID
38 ANDREWS AVE.
BUFFALO, NY 14225                                   P‐0010763 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, JU SHIN
1500 JOSEPHINE CIR
#15107
MONTGOMERY, AL 36117                                P‐0010764 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORL, RICHARD L.
6454 ENCHANTED DRIVE
YPSILANTI, MI 48197                                 P‐0010765 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTZ, PEGGY L.
7726 MODISTO LANE
SPRINGFIELD, VA 22153                               P‐0010766 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, LESLEY
620 CARRIAGE HILL DRIVE
GLENVIEW IL                                         P‐0010767 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTUNDA, SUSAN
6 GREENVIEW LANE
MILFORD, CT                                         P‐0010768 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADKINS, ANDREW J.
23236 W YAVAPAI ST
BUCKEYE, AZ 85326                                   P‐0010769 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TITUS, BEVERLY C.
2930 E. RIVERSIDE RD.
BUCHANAN, MI 49107                                  P‐0010770 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENNY, STEPHEN A.
DENNY, LYNN C.
7909 COLORADO SPRINGS DRIVE
SPRINGFIELD, VA 22153                               P‐0010771 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
DAFOPOULOS, CHRISTINA R.
103 SWAN STREET FL 2
METHUEN, MA 01844                                   P‐0010772 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, LUCIANA
1522 S. TYLER STREET
LITTLE ROCK, AR 72204                               P‐0010773 10/31/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
SETIA, JAWAHAR L.
364 NORTHPOINTE CT., UNIT‐102
ALTAMOINTE SPGS FL‐32701                            P‐0010774 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSKOWITZ, SUSAN B.
4550 RUTHERFORD DRIVE
MARIETTA, GA 30062                                  P‐0010775 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILGART, LORI S.
6382 5TH AVE
RUDOLPH, WI 54475                                   P‐0010776 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEMAN, TAMEKA
4509 BISHOP CARROLL DR
UPPER MARLBORO, MD 20772                            P‐0010777 10/31/2017    TK Holdings Inc., et al .                    $4,845.00                                                                                    $4,845.00
JARZOBSKI, ELIZABETH J.
8 LAMPLIGHT DRIVE
ATKINSON, NH 03811                                  P‐0010778 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHELTON, ERNEST W.
1017 LADY AMBER CT
GRANBURY, TX 76049                                  P‐0010779 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GASTEVICH, NICHOLAS
401 N WABASH AVENUE UNIT 46A
CHICAGO, IL 60611                                   P‐0010780 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSEN, ELIZABETH
802 D STREET
SALIDA, CO 81201                                    P‐0010781 10/31/2017    TK Holdings Inc., et al .                    $1,200.00                                                                                    $1,200.00
JOHNSON, DALE E.
JOHNSON, BEVERLY J.
10219 GRAY OAK LANE
FORT WORTH, TX 76108                                P‐0010782 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRIBICH, MARY E.
28 PINE ST SE
MASSILLON, OH 44646                                 P‐0010783 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEMAN, TAMEKA
4509 BISHOP CARROLL DR
UPPER MARLBORO, MD 20772                            P‐0010784 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TYLER, CHRISTINE A.
1623 MAYFLOWER DR
MIDDLETON, WI 53562                                 P‐0010785 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOCKTER, SANDRA M.
17620 27TH AVE N
PLYMOUTH, MN 55447                                  P‐0010786 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONS(CONSOLIDATE, ARACELI
8779 N. SAYANTE WAY
TUCSON, AZ 85743                                    P‐0010787 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLESPIE, ERIKA S.
1023 BELLFLOWER AVE SW
CANTON, OH 44710                                    P‐0010788 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEAVER, JOAN S.
ROSE, JOHN B.
29 ORCHARD LANE
FREDERICKSBURG, PA 17026                            P‐0010789 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
THOMPSON, RICHARD B.
3942 E DUCK LAKE RD
GRAWN, MICHIGAN 49637                              P‐0010790 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODS, MICHAEL A.
2801 CONISTON RD
SCHENECTADY, NY 12304                              P‐0010791 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPIDEL, GARY L.
6065 BIVENS RD.
NASHVILLE, MI 49073                                P‐0010792 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSKOWITZ, SUSAN B.
MOSKOWITZ, JOSEPH L.
4550 RUTHERFORD DRIVE
MARIETTA, GA 30062                                 P‐0010793 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, ROBERT B.
SMITH, DIANE R.
5016 NEELY AVE
GUNTERSVILLE, AL 35976                             P‐0010794 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WISNIEWSKI, RAYMOND
2179 BAILEY AVE
NEW FREEDOM, PA 17349                              P‐0010795 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELENDEZ, ROSA I.
MELENDEZ, DAVID
5342 W. NELSON
CHICAGO, IL 60641                                  P‐0010796 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRCHHOEFER, JOHN D.
AMERIFLIGHT MGMT SERVICES
11 S BROWN AVE
ORLANDO, FL 32801                                  P‐0010797 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUIATT, MARY L.
1978 STONERIDGE DRIVE
ASHLAND, OH 44805                                  P‐0010798 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOVER, PHILIP
P.O.BOX 1008
WESTON, CT 06883‐0008                              P‐0010799 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SISSELMAN, ALAN H.
122 THORNCLIFF RD.
BUFFALO, NY 14223                                  P‐0010800 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANCHETT, RICO R.
13411 SIXTH AVE
EAST CLEVELAND, OH 44112                           P‐0010801 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIXON7557, SHARON G.
8133 N 5TH W
IDAHO FALLS, ID 83401                              P‐0010802 10/31/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HARTE, MICHAEL J.
2814 ROUTE 23A
PALENVILLE, NY 12463                               P‐0010803 10/31/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
AMATO, IV, JOHN
5102 HUGUNIN WAY
PERRY HALL, MD 21128                               P‐0010804 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENSON, IRENE S.
7932 W. EVANS AVE.
LAKEWOOD, CO 80227                                 P‐0010805 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEN ISMAIL, WALID
2500 SOUTH MILLBEND DRIVE
APPT 12202
THE WOODLANDS, TX 77380                            P‐0010806 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MORSE, CAROLYN R.
MORSE, MICHAEL J.
3120 SAINT JOHNS RD
DES MOINES, IA 50312‐4529                            P‐0010807 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEMLEY, DOUGLAS E.
6112 LINDLEY WOODS DR.
GREENSBORO, NC 27410                                 P‐0010808 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODS, MICHAEL A.
2801 CONISTON RD
SCHENECTADY, NY 12304                                P‐0010809 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, JANICE E.
1104 N. LAGUNA AVE.
FARMINGTON, NM 87401                                 P‐0010810 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENGEL, MARJORIE E.
49 WEAVER ST
SCARSDALE, NY 10583                                  P‐0010811 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENSON, FRANK E.
7932 W EVANS AVE
LAKEWOOD, CO 80227                                   P‐0010812 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, JOHN
DAVIS, MELISSA
10765 DEERFOOT LANE
ELBERTA, AL 36530                                    P‐0010813 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORSE, CAROLYN R.
MORSE, MICHAEL J.
3120 SAINT JOHNS RD
DES MOINES, IA 50312‐4529                            P‐0010814 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHLOCK, DEBORAH L.
ASHLOCK, JAMES B.
1613 N WASSON ST
STREATOR, IL 61364                                   P‐0010815 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECKMAN, FL G.
ECKMAN, CANDACE A.
506 WEST OAK DRIVE
LAKELAND, FL 33803                                   P‐0010816 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, SCOTT W.
6350 KELLER SPRINGS RD. #472
DALLAS, TX 75248                                     P‐0010817 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KADLEC, HARVEY L.
KADLEC, MARY L.
903 PASATIEMPO DR
FRISCO, TX 75034                                     P‐0010818 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCBRIDE, MARK
2810 DENVER AVENUE
LONGMONT, CO 80503                                   P‐0010819 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, LORETTA
1118 HARLAN STREET
INDIANAPOLIS, IN 46203                               P‐0010820 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORSE, CAROLYN R.
MORSE, MICHAEL J.
3120 SAINT JOHNS RD
DES MOINES, IA 50312‐4529                            P‐0010821 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUTTER, PAMELA A.
525 LIVEBARK LANE
LEXINGTON, SC 29073                                  P‐0010822 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
LEMLEY, DOUGLAS E.
6112 LINDLEY WOODS DR.
GREENSBORO, NC 27410                                P‐0010823 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORCHERS, HENRY J.
BORCHERS, NANCY
3 TEMPLER WAY
HAZLET, NJ 07730                                    P‐0010824 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, ROBERT M.
PATTERSON, ROBBIN D.
8040 OCEAN DRIVE
FORT WORTH, TX 76123                                P‐0010825 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUES, FERNANDO
1520 RODMAN STREET
HOLLYWOOD, FL 33020                                 P‐0010826 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORSE, MICHAEL J.
MORSE, CAROLYN R.
3120 SAINT JOHNS RD
DES MOINES, IA 50312‐4529                           P‐0010827 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLOIS, BETTY J.
6976 WILLIAM STREET
CROGHAN, NY 13327                                   P‐0010828 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, JEFF D.
402 FITZGERALD STREET
PHILADELPHIA, PA 19148                              P‐0010829 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOI, HENRY
49 CLARK ST
MALDEN, MA 02148                                    P‐0010830 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIARAVINO, JOSEPH P.
152 OLD ORCHARD LANE
OCEAN, NJ 07712                                     P‐0010831 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUSSIER, NELSON J.
LUSSIER, GRACE D.
56 WICKHAM DRIVE
EAST HARTFORD, CT 06118                             P‐0010832 10/31/2017    TK Holdings Inc., et al .                   $35,000.00                                                                                   $35,000.00
PEKICH, LAURA
3 WILLOW CT
WOODRIDGE, IL 60517                                 P‐0010833 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, SHENELLE J.
SCOTT, TERANCE A.
623 DRUM AVENUE
CAPITOL HEIGHTS, MD 20743                           P‐0010834 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREY, WANDA D.
311 S 12TH ST
APT B
COTTONWOOD, AZ 86326                                P‐0010835 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEAVER, JOAN S.
ROSE, JOHN B.
29 ORCHARD LANE
FREDERICKSBURG, PA 17026                            P‐0010836 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOL, ROBERT A.
KIRK COOL, PAMELA A.
116 AVON COURT
APT. 26
EAST STROUDSBURG, PA 18301                          P‐0010837 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BLUNDELL, AMBER J.
116 GNARLED OAK LANE
YORKTOWN, VA 23692                                  P‐0010838 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, DEBRA D.
16 PEQUANNOCK ROAD
GOOSE CREEK, SC 29445                               P‐0010839 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILBERT‐WELLS, ROXANE
1682 SAYMAN RD
NEW ALBANY, PA 18833                                P‐0010840 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, WILLIAM R.
26 PICADILLY CIRCLE
MARLTON
MARLTON, NJ 08053                                   P‐0010841 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WISNIEWSKI, SHARON
2179 BAILWY AVE
NEW DREEDOM, PA 17349                               P‐0010842 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRILLHART, MACGREGOR J.
341 PINE HILL LANE
YORK, PA 17403                                      P‐0010843 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATE, JIMMY D.
1208 CR 529
BURLESON, TX 76028                                  P‐0010844 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOYLE, WILLIAM J.
922 LINCOLN ST.
DICKSON CITY, PA 18519                              P‐0010845 10/31/2017    TK Holdings Inc., et al .                     $450.00                                                                                       $450.00
RECKER, DAVID B.
RECKER, RENEE G.
16 WEST 16TH STREET
APT. 6DS
NEW YORK, NY 10011                                  P‐0010846 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWMAN, JAMES M.
51 JAYME DRIVE
YORK, PA 17402                                      P‐0010847 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCERE, THOMAS A.
SCERE, ANTHONY T.
5 HELENBROOK LANE
DEPEW, NY 14043                                     P‐0010848 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHRITT, DON
6630 FIELDING TERRACE
COLORADO SPRINGS, CO 80911                          P‐0010849 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLACE, NICOLE F.
15100 N. BERWICK LN.
UPPER MARLBORO, MD 20774                            P‐0010850 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, TIMOTHY S.
33 JOHNSON AVE
MEDFORD, MA 02155                                   P‐0010851 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, BARRY
7065 W. ANN ROAD
SUITE 130‐683
LAS VEGAS, NV 89130                                 P‐0010852 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, APRIL D.
792 EDENTON CT.
JONESBORO, GA 30238                                 P‐0010853 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAVERON, JEANNE
13555 CITRUS CREEK CT
FORT MYERS, FL 33905‐5865                           P‐0010854 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
                                                                                          Page 975 of 3875
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
AALTONEN, PRISCILLA G.
2305 ROOKERY WAY
VIRGINIA BEACH, VA 23455                            P‐0010855 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, MANSON
ZHANG, HAN
440 MOFFETT BLVD
SPC 95
MOUNTAIN VIEW, CA 94043‐4747                        P‐0010856 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOCHAY, SCOTT G.
SOCHAY, MICHELE D.
5316 MATTERHORN DR NE
FRIDLEY, MN 55421                                   P‐0010857 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYUR, KIRAN N.
18914 CRESCENT BAY DR
HOUSTON, TX 77094                                   P‐0010858 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTENSEN, DAVID L.
CHRISTENSEN, CHRISTIANNE M.
2406 E EVA LOOP
FLAGSTAFF, AZ 86004                                 P‐0010859 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYBEE, KAREN A.
19560 OAKWOOD LANE
JETERSVILLE, VA 23083                               P‐0010860 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, TIMOTHY S.
33 JOHNSON AVE
MEDFORD, MA 02155                                   P‐0010861 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLIGAN, PATRICIA M.
2023 WILSON AVE
BRISTOL, PA 19007                                   P‐0010862 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOCHAY, SCOTT G.
SOCHAY, MICHELE D.
5316 MATTERHORN DR NE
FRIDLEY, MN 55421                                   P‐0010863 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOWAK, STEPHEN F.
104 COUNTRY CLUB BLVD
CHESAPEAKE, VA 23322                                P‐0010864 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREGORY, LORA
KELLY, SHIREKA
3070 ROCKET ROAD
ROCK HILL, SC 29732                                 P‐0010865 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VUONG, ANDY
66 JAMES ST
DANBURY, CT 06810                                   P‐0010866 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANDLE, TARCIA
38 ANDREWS AVE
CHEEKTOWAGA, NY                                     P‐0010867 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUZZARDI, MARIBEL
1315 CROCKER AVE
COOS BAY, OR 97420                                  P‐0010868 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVAREZ, JOSEPH L.
853S. BROCKWAY ST.
PALATINE, IL 60067                                  P‐0010869 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COON, CARRIE
COON, ANDREW
1033A CLAYTONIA TERRACE
RICHMOND HEIGHTS, MO 63117                          P‐0010870 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SWART, JAMES
JACOBS, JUDITH
9 LYNDON RD
QUEENSBURY, NY 12804                                P‐0010871 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EARSING, THOMAS E.
NO ADDRESS PROVIDED
                                                    P‐0010872 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIDSON, CATHERINE C.
506 MCALPINE STREET
AVOCA, PA 18641                                     P‐0010873 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURRY, CRAIG S.
37 LYNDHURST RD
MARMORA, NJ 08223                                   P‐0010874 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, WALTER C.
HENDERSON, VICKY L.
WALTER C. HENDERSON
951 POSSUM WALK RD.
CLINTON, AR 72031                                   P‐0010875 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PROFIT, KATRINA C.
3725 W 82ND PL
CHICAGO, IL 60652                                   P‐0010876 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOTHERINGHAM, SARAH M.
131 TIMBER CREEK PATH
CHAPEL HILL, NC 27517                               P‐0010877 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, ELENA
4 PINECREST DRIVE
WILMINGTON, DE 19810                                P‐0010878 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, DAVID M.
170 FRANKLIN ST, UNIT 1
ARLINGTON, MA 02474                                 P‐0010879 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOKS, JOHN
14350 MUNDY DR
800‐224
NOBLESVILLE, IN 46060                               P‐0010880 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DZIADKOWICZ, MARLENE C.
506 MCALPINE STREET
AVOCA, PA 18641                                     P‐0010881 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOEMPLE, PATRICIA A.
115 ANCHOR PLACE 2ND FL
GARWOOD, NJ 07027‐1101                              P‐0010882 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MODICA, TAMA L.
10021 BARNES TRAIL
INVER GROVE HTS, MN 55077                           P‐0010883 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOGT, ROBERT J.
15215 MINX
MONROE, MI 48161                                    P‐0010884 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELSCH, BRIAN
26 HENRY COTTON RD
CENTER CONWAY, NH 03813                             P‐0010885 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, KENNETH A.
68 TAFT ROAD
PORTSMOUTH, NH 03801                                P‐0010886 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATY, DIANA L.
4155 W RUTGERS PL
DENVER, CO 80236                                    P‐0010887 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
HEDRICK, KARA L.
409 S WEST STREET
MORRILTON, AR 72110                                P‐0010888 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYERS, SUNDOWN
578 COOPER CEMETERY ROAD.
LEESVILLE, LA 71446                                P‐0010889 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTMANN, JOHN
1453 MALLARD PL
PALM HARBOR, FL 34683                              P‐0010890 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON JR., LEGRAND
975 PITT STREET
MT PLEASANT, SC 29464                              P‐0010891 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EUBANKS, PHILIP E.
EUBANKS, MARYLOU
704 W STATE ST
SYCAMORE, IL 60178                                 P‐0010892 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TREISTMAN, BEN G.
28 GARRISON ROAD
SHADY, NY 12409                                    P‐0010893 10/31/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
GERMANTON, JASON W.
1109 OAKHURST DR
SLATINGTON, PA 18080                               P‐0010894 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECKTELL, STUART F.
141 CURTIS PLACE
AUBURN, NY 13021                                   P‐0010895 10/31/2017    TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
EUBANKS, PHILIP E.
EUBANKS, MARYLOU
704 W STATE ST
SYCAMORE, IL 60178                                 P‐0010896 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLIER, GARY L.
78 HOGE SUMMIT ROAD
EIGHTY FOUR, PA 15330                              P‐0010897 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, TRACI
4418 TRAFALGAR DR.
HOUSTON, TX 77045                                  P‐0010898 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACKBURN, CYNTHIA B.
16108 TERRY LANE
HUNTERSVILLE, NC 28078                             P‐0010899 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTRATZ, JACKELYN K.
2222 E BELLEVIEW PL #107
MILWAUKEE, WI 53211                                P‐0010900 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLIDAY, ANGELA C.
8828 S CORNNELL AVE
CHICAGO, IL 60617‐2801                             P‐0010901 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORSZOWSKI, ZDZISLAW
4229 N MEADE AVE
CHICAGO, IL 60634‐1521                             P‐0010902 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, DENISE K.
15 EAST CASS STREET
JOLIET, IL 60432                                   P‐0010903 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMIDEI, RAYMOND C.
55 MONTEREY DR
VERNON HILLS, IL 60061                             P‐0010904 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WERNER, LYNNE
1 AND ONE‐HALF CLUBHOUSE RD
BINGHAMTON, NY 13903                               P‐0010905 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HIMMELHEBER, STEVEN A.
HIMMELHEBER, JAYNE E.
1215 WYNSIDE LANE
HAMPSTEAD, MD 21074                                 P‐0010906 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBERA, SHARON G.
NO ADDRESS PROVIDED
                                                    P‐0010907 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYF, DARREN L.
BOYD, ERMA J.
2024 INDEPENDENCE DRIVE
NEW WINDSOR, NY 12553                               P‐0010908 10/31/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MORIN, CHARLES R.
10 STRAWBERRY LANE
WARREN, RI 02885                                    P‐0010909 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORSZOWSKI, ZDZISLAW
4229 N MEADE AVE
CHICAGO, IL 60634‐1521                              P‐0010910 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIFRANCESCO, BARBARA J.
115 E. PHEASANT DR
LARKSVILLE, PA
LUZERNE                                             P‐0010911 10/31/2017    TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
HATFIELD, PATRICIA A.
HATFIELD, FRANK C.
2212 S NOME CT
AURORA, CO 80014                                    P‐0010912 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANGS, HOWARD M.
155 NEBRASKA AVE
OAK RIDGE, TN 37830                                 P‐0010913 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHILF, JULIE M.
1300 EVERS AVENUE
WESTCHESTER, IL 60154                               P‐0010914 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PISHKO, GEORGE M.
PISHKO, SANDRA M.
2333 W. VENISA DR
HAZLE TOWNSHIP, PA 18202                            P‐0010915 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARSON, TOM L.
517 DODDRIDGE AVE
CLOQUET, MN 55720                                   P‐0010916 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUNDLACH CHAMPION INC
P.O. BOX 490
IRON MOUNTAIN, MI 49801                             P‐0010917 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANE, BRADLEY
8402 W LARKSPUR DR
PEORIA, AZ 85381                                    P‐0010918 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUCE, DONNA D.
2687 SPENCERS TRACE NE
MARIETTA, GA 30062                                  P‐0010919 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STUEVE, ANTHONY J.
STUEVE, BARBARA R.
411 N 2ND ST
HIAWATHA, KS 66434‐2003                             P‐0010920 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUETTNER, THERESA
BUETTNER, MATTHEW
705 MAPLE ST
CORAOPOLIS, PA 15108                                P‐0010921 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                      Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
STOODLEY, MARIE L.
STOODLEY, MICHAEL
414 NE 2 STREET
DEERFIELD BEACH, FL 33441                              P‐0010922 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUNDLACH CHAMPION INC
P.O. BOX 490
IRON MOUNTAIN, MI 49801                                P‐0010923 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNOLDS, KATHERINE F.
591 BLOUNT POINT RD
NEWPORT NEWS, VA 23606                                 P‐0010924 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAIS, ETTIE
68 BRIARWOOD DR
HOLLAND, PA 18966                                      P‐0010925 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIMMELHEBER, STEVEN A.
HIMMELHEBER, JAYNE E.
1215 WYNSIDE LANE
HAMPSTEAD, MD 21074                                    P‐0010926 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAFOPOULOS, CHRISTINA R.
103 SWAN STREET FL 2
METHUEN, MA 01844                                      P‐0010927 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDAN, JARRETT B.
568 MARCHBANKS RD
BOILING SPRINGS, SC 29316                              P‐0010928 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, NICHELLE M.
259 TRAFALGAR DRIVE
DOVER, DE 19904                                        P‐0010929 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEVINS, WILLIAM B.
13417 S 41ST ST
PHOENIX, AZ 85044‐4630                                 P‐0010930 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CERVANTES, CHARITY B.
667 S. DETROIT ST. APT. 109
LOS ANGELES, CA 90036                                  P‐0010931 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRIBBLE, MICHAEL L.
MICHAEL L TRIBBLE
715 PORTER ED 101
NASHVILLE TN. 37206
USA                                                    P‐0010932 10/31/2017    TK Holdings Inc., et al .                    $4,500.00                                                                                    $4,500.00
RICHARDSON JR., LEGRAND
RICHARDSON, SUSAN G.
975 PITT STREET
MT PLEASANT, SC 29464                                  P‐0010933 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRIMBOLI, JAMES
575 PLETCHER RD
LEWISTON, NY 14092                                     P‐0010934 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUERKOP, LOREN H.
P.O. BOX 73
107 MAIN STREET
HOKAH, MN 55941                                        P‐0010935 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POOLEY, RICHARD D.
15076 DUTCHMAN WAY
APPLE VALLEY, MN 55124                                 P‐0010936 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARSONS, VERNON S.
15 WILDEN DR
EASTON, PA 18045                                       P‐0010937 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PARET, SVEN PIERRE
41 KENNEDY STREET
ALEXANDRIA, VA 22305                                P‐0010938 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLOZANOFF, YURI
8 STAFFORD PLACE
LARCHMONT, NY 10538                                 P‐0010939 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EATO, DEBORAH A.
6012 PRESENTATION ST
KNIGHTDALE                                          P‐0010940 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECKBRETH, WALTER L.
ECKBRETH, CYNTHIA C.
6100 HOLLY TREE DR
ALEXANDRIA, VA 22310                                P‐0010941 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIS, AMY K.
6108 4TH AVENUE SOUTH
MINNEAPOLIS, MN 55419                               P‐0010942 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORDEN, KYMBREYNN L.
91530 HORSE CREEK ROAD
MCKENZIE BRIDGE
, OR 97413                                          P‐0010943 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WERTKIN, RITA T.
17333 SAINT JAMES CT.
BOCA RATON, FL 33496                                P‐0010944 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYKINS‐WOODARD, KRISTY
406 CENTER ST
BEREA, KY 40403                                     P‐0010945 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEMENTS, DAVID M.
5425 PARK ST
EASTMAN, GA 31023                                   P‐0010946 10/31/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
BECKER, JESSICA
14002 GEMINI RD
APT 1
SPARTA, WI 54656                                    P‐0010947 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLOZANOFF, YURI
8 STAFFORD PLACE
LARCHMONT, NY 10538                                 P‐0010948 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEGG, TERRY A.
95 E CORTEZ DRIVE UNIT 206
SEDONA, AZ 86351                                    P‐0010949 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'SULLIVAN, JAMES P.
4821 MONTGOMERY LANE
APT. 803
BETHESDA, MD 20814                                  P‐0010950 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPARANO, NANCY
4905 EAST SUNNYSLOPE ROAD
EDINA, MN 55424                                     P‐0010951 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSH, SALLY A.
12020 COLLINS ARBOGAST RD.
SOUTH VIENNA, OH 45369                              P‐0010952 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROOSE, DAVID S.
12613 S TOTORICA CIR
RIVERTON, UT 84096                                  P‐0010953 10/31/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
PYNE, LUCINDA J.
123 HIGHLAND STREET
PORTLAND, ME 04103                                  P‐0010954 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
OLSON, ROBERT B.
419 N 6TH AVE
BUTLER, PA 16001                                     P‐0010955 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REESE, DONNA M.
RESE, KIM K.
2801 BALD EAGLE PIKE
TYRONE, PA 16686                                     P‐0010956 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, LAVENDA
6745 S PAXTON
CHICAGO, IL 60649                                    P‐0010957 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARLOW, THERESA M.
BARLOW, THOMAS G.
127 HIGH STREET
DUBLIN, PA 18917                                     P‐0010958 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEIDHAAS, GENEVA
12012 FOXFIELD CIR
RICHMOND, VA 23233                                   P‐0010959 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YANG, NA
2526 MARGARET ST N
NORTH ST PAUL, MN 55109                              P‐0010960 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONNELLY, MICHAEL P.
918 N 3RD ST UNIT 301
MINNEAPOLIS, MN 55401                                P‐0010961 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAFLEUR, ROBERT
5808 CEDAR CLIFF DR.
AUSTIN, TX 78759                                     P‐0010962 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAVER, CAYCE M.
452 MOUNT VERNON RD NW
MONROE, GA 30655                                     P‐0010963 10/31/2017    TK Holdings Inc., et al .                     $633.36                                                                                       $633.36
SCOGGINS, MACK M.
2809 SPRING OAKS DRIVE
HIGHLAND VILLAGE, TX 75077                           P‐0010964 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORR, CLAUDIA D.
19171 CASCADE DR.
BROWNSTOWN, MI 48193                                 P‐0010965 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLAND, ANDREW
NO ADDRESS PROVIDED
                                                     P‐0010966 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUTHENPARAMPIL, FRANCIS C.
PUTHENPARAMPIL, ELSY F.
4103 MILL LN
MISSOURI CITY, TX 77459                              P‐0010967 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NASEER, ASHAR
5025 MAGNOLIA GATE DRIVE
DULUTH, GA 30096                                     P‐0010968 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, WILLIAM M.
906 GRANVIEW DR
LEWISVILLE, TX 75067‐7494                            P‐0010969 10/31/2017    TK Holdings Inc., et al .                     $400.00                                                                                       $400.00
JACK
827 SCHOOL SVE
CUYAHOGA FALLS, OH 44221                             P‐0010970 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLAND, CRYSTAL
NO ADDRESS PROVIDED
                                                     P‐0010971 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MORAN, JOHN R.
924 MAIN STREET
ROYERSFORD, PA 19468                                P‐0010972 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANG, YEE
705 MULDOON RD SPC 78
ANCHORAGE, AK 99504                                 P‐0010973 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNETT, MARILYN
449 RAVEN SPRINGS TRAIL
STONE MOUNTAIN, GA 30087                            P‐0010974 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTERS, WILLIAM R.
910 FUGATE ST.
HOUSTON, TX 77009                                   P‐0010975 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASSESE, VINCENT
2105 KINGS COURT
LOCUST GROVE, VA 22508                              P‐0010976 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KADUCE, MICHAEL L.
312 MAIN STREET
P.O. BOX 86
MAPLETON, MN 56065                                  P‐0010977 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, STEVEN K.
SMITH, EILEEN T.
10018 LAKESIDE DR.
ST. LOUIS, MO 63123                                 P‐0010978 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRIST, ALLEN T.
CRIST, CATHERINE A.
6468 RED BARN RD
OSAGE BEACH, MO 65065                               P‐0010979 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANNO, FRED
516 SEWICKLEY STREET
APT. 2
GREENSBURG, PA 15601                                P‐0010980 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WACKER, THOMAS K.
WACKER, LORENE M.
10085 HWY 1S
ALEXANDRIA, LA 71302                                P‐0010981 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, LATANYA Y.
20126 ARROYO AVE
LYNWOOD, IL 60411                                   P‐0010982 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, NIKAILA L.
5610 PARISH LANE
PORTSMOUTH, VA 23703                                P‐0010983 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTON, LUISE E.
1607 GRAND AVE., #5
CANON CITY, CO 81212                                P‐0010984 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCLOUTH, THOMAS C.
NO ADDRESS PROVIDED
                                                    P‐0010985 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSON, ROBERT B.
419 N 6TH AVE
BUTLER, PA 16001                                    P‐0010986 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OCHOA, NORA
1212 E. JUAREZ
PHARR, TX 78577                                     P‐0010987 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLACEK, CAROL
121 S. CHUGWATER DRIVE
CODY, WY 82414                                      P‐0010988 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
KELLYBREW, JORDAN D.
1621 CHERRY STREET
C8
CONWAY, AR                                            P‐0010989 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERZOG, MAXINE L.
1526 BOETTGER ROAD
NEW ULM, MN 56073                                     P‐0010990 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOGGINS, MACK M.
2809 SPRING OAKS DRIVE
HIGHLAND VILLAGE, TX 75077                            P‐0010991 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWENS, LAUNA P.
217 JEFFERSON AVENUE
MAGNOLIA, NJ 08049                                    P‐0010992 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRIST, ALLEN T.
CRIST, CATHERINE A.
6468 RED BARN RD
OSAGE BEACH, MO 65065                                 P‐0010993 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALLE, KELLY A.
16250 BENTWOOD PALMS DR
FORT MYERS, FL 33908                                  P‐0010994 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RITTER, LATOYA N.
724 TAPESTRY PARK LOOP #114
CHESAPEAKE, VA 23320                                  P‐0010995 10/31/2017    TK Holdings Inc., et al .                   $16,866.00                                                                                   $16,866.00
SCHLODER, DAVID A.
217 COLUMBUS ST
ST MARYS, PA 15857                                    P‐0010996 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSHER, MARC E.
27301 PERCH LAKE ROAD
WATERTOWN, NY 13601                                   P‐0010997 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALMQUIST, KATHLEEN M.
965 STANWIX ROAD
EAGAN, MN 55123                                       P‐0010998 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYUR, KIRAN N.
18914 CRESCENT BAY DR
HOUSTON, TX 77094                                     P‐0010999 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLACEK, CAROL
POLACEK, MICHAEL
121 S. CHUGWATER DRIVE
CODY, WY 82414                                        P‐0011000 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAUSEVIC, MIRZA
483 VAN ELLIS RD
UTICA, NY 13502                                       P‐0011001 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REALS, JEFFREY W.
512 SECOND STREET
LIVERPOOL, NY 13088                                   P‐0011002 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFHOPE, ANTOINETTE
585 CRAIGDELL ROAD
N/A
LOWER BURRELL, PA 15068                               P‐0011003 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMALLWOOD, LUCILLE D.
LUCILLE SMALLWOOD
195 FRIES MILL ROAD, APT. 601
TURNERSVILLE, NJ                                      P‐0011004 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
PURNER, CECELIA K.
1337 W ALLEN ST
APT 1108
ALLENTOWN, PA 18102                                 P‐0011005 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEST, SHERRY
66 CEDAR ROAD
PITTSGROVE, NJ 08318                                P‐0011006 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIVAK, MICHAEL T.
SIVAK, CAROLYN A.
127 S.8TH ST.
COPLAY, PA 18037‐1113                               P‐0011007 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRKMAN, REBECCA I.
MATTHEWS, RICHARD I.
1 KNOX HILL ROAD
MORRISTOWN, NJ 07960                                P‐0011008 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYUR, KIRAN N.
18914 CRESCENT BAY DR
HOUSTON, TX 77094                                   P‐0011009 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, FREDDIE
5628 COUNTY ROAD 306
NAVASOTA, TX 77868                                  P‐0011010 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, TIMOTHY S.
33 JOHNSON AVE
MEDFORD, MA 02155                                   P‐0011011 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, RICHARD A.
779 CHATTER RD
MT.PLEASANT, SC 29464                               P‐0011012 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAPLAN, JAY
6312 RAMSGATE CT.
BRENTWOOD, TN 37027                                 P‐0011013 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAUSEVIC, MIRZA
483 VAN ELLIS RD
UTICA
UTICA, NY 13502                                     P‐0011014 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHULL, JEANNE M.
379 STANBERY AVE.
COLUMBUS, OH 43209                                  P‐0011015 10/31/2017    TK Holdings Inc., et al .                     $655.51                                                                                       $655.51
KIERAS, KIM
1812 S CALUMET AVE
CHICAGO, IL 60616                                   P‐0011016 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEVERIDGE, SCOTT F.
6324 FAIRWAY FOREST DRIVE
ROANOKE, VA 24018                                   P‐0011017 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EGERSHEIM, SUSAN L.
10 MAPLE GROVE ST.
APT. 2
BARRE, VT 05641                                     P‐0011018 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUKER, DEAN S.
9611 CARRIMAE CT
CRESTWOOD, MO 63126‐2023                            P‐0011019 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUYNH, TAM
423 TAYLOR STREET NE #1
MINNEAPOLIS, MN 55413                               P‐0011020 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANOS, DANIEL S.
1 N MAIN STREET UNIT 410
ALGONQUIN, IL 60102                                 P‐0011021 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
FLUEGEL, BREANNA R.
1324 ANIMAS ST
MONTROSE, CO 81401                                   P‐0011022 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SULLIVAN‐PUGH, NANCY B.
123 WYMAN RD
ABINGTON, MA 02351                                   P‐0011023 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, JEREMY J.
JONES, JEREMY J.
1408 GROVE ST
AVOCA, PA 18641                                      P‐0011024 10/31/2017    TK Holdings Inc., et al .                    $2,450.00                                                                                    $2,450.00
PURNELL, BRUCE A.
5555 DEWEY HILL ROAD
APT 106
EDINA, MN 55439                                      P‐0011025 10/31/2017    TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
GERACE, PAMELA
395 GARNSEY ROAD
PITTSFORD, NY 14534                                  P‐0011026 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VON KAENEL, NICOLE L.
7211 SUGAR CREEK CIRCLE
LINCOLN, NE 68516                                    P‐0011027 10/31/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
MARCHAND, ALDEN G.
28 ARLINGTON ST
BRIGHTON, MA 02135                                   P‐0011028 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHU, XIAOFENG
96 FIELDVIEW DR
SPRING CITY, PA 19475                                P‐0011029 10/31/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HOM, STEVEN R.
10 FLAMELEAF COURT
GAITHERSBURG, MD 20878                               P‐0011030 10/31/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
ORLANDI, RICHARD R.
ORLANDI, ALISE A.
1452 CANTERBURY DR
SALT LAKE CITY, UT 84108                             P‐0011031 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BACHMANN, KARL A.
14002 GEMINI ROAD
APT 1
SPARTA, WI 54656                                     P‐0011032 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOTTSCHALK, DONALD L.
201 SAINT JAMES WAY
NAPLES, FL 34104                                     P‐0011033 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDING, VICKI Y.
BENNETT, KENNETH A.
4030 95TH AVE SE
YPSILANTI, ND 58497                                  P‐0011034 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORLANDI, RICHARD R.
ORLANDI, ALISE A.
1452 CANTERBURY DRIVE
SALT LAKE CITY, UT 84108                             P‐0011035 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUGH, HAROLD L.
123 WYMAN RD
ABINGTON, MA 02351                                   P‐0011036 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWEN, EVAN B.
BOWEN, JANET L.
1418 STEWART ST.
ANACONDA, MT 59711                                   P‐0011037 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
KUROWSKI, ANTHONY J.
320 N MIDLER AVE
APT 7
SYRACUSE, NY 13206                                   P‐0011038 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEEKMAN, ELLEN L.
23 SILVER MAPLE PLACE
SPRING, TX 77382                                     P‐0011039 10/31/2017    TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
PHILLIPS, CAROLYN
1417 E 72ND PL 1W
CHICAGO ILLINOIS 60619
                                                     P‐0011040 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANOVEC, WESLEY
PANOVEC, WESLEY J.
829 RINGWOOD ROAD
ITHACA, NY 14850                                     P‐0011041 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERACE, PAMELA
395 GARNSEY ROAD
PITTSFORD, NY 14534                                  P‐0011042 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STACHNIK, MICHELE D.
244 KLEIN CREEK CT #6F
CAROL STREAM, IL 60188                               P‐0011043 10/31/2017    TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
BARTELS, DONALD C.
BARTELS, MARY E.
2803 FOREST HILL BLVD
PACIFIC GROVE                                        P‐0011044 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERA, MICHAEL D.
1 PEACEFUL DRIVE
ITHACA, NY                                           P‐0011045 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FROST, GEORGE R.
8804 POINT VISTA DRIVE
VICTORIA, MN 55386                                   P‐0011046 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, KEVIN R.
BROWN, STACY A.
801 CEDAR ST
ADAIR, IA 50002                                      P‐0011047 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UTHE, ERIC D.
5909 S GALWAY AVE
SIOUX FALLS, SD                                      P‐0011048 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACDONALD, SCOTT T.
3505 OSAGE ST.
DENVER, CO 80211                                     P‐0011049 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIDENFELTER, KENNETH J.
2025 S QUEEN ST APT352
YORK, PA                                             P‐0011050 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAH, DARSHAN
75 ROSEWOOD AVENUE
SPRINGFIELD, NJ 07081                                P‐0011051 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRACY, PATRICIA
235 HEDGES STATION RD
WINCHESTER, KY 40391                                 P‐0011052 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, ROBERT
3179 STAMPS SHADY GROVE
MONTEREY, TN 38574                                   P‐0011053 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, MARK S.
410 WHIPPOORWILL LANE
STRATFORD, CT 06614                                  P‐0011054 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BERQUIST, CONRAD
1983 CIDER PRESS RD
MANHEIM, PA 17545                                    P‐0011055 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EATON, ELIZABETH J.
14976 130TH ST LANE N
STILLWATER, MN 55082                                 P‐0011056 10/31/2017    TK Holdings Inc., et al .                   $29,920.00                                                                                   $29,920.00
WHITE, URSULA D.
12211 APPLEBY
HOUSTON, TX 77031                                    P‐0011057 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIELDS, DAVID
837 UNIT‐C VALLEY STREAM RD
WHEELING, IL 60090                                   P‐0011058 10/31/2017    TK Holdings Inc., et al .                    $1,650.00                                                                                    $1,650.00
MORTER, RICHARD L.
8501 GLENALMOND COURT
DUBLIN, OH 43017                                     P‐0011059 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, GAIL A.
EDWARDS, JAY S.
2475 S OAKLAND CIR
AURORA, CO 80014                                     P‐0011060 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTMAN, JOHN C.
4510 ORTEGA BLVD.
JACKSONVILLE, FL 32210                               P‐0011061 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAK, BRIAN M.
4372 WREN CT.
WINDSOR, WI 53598                                    P‐0011062 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTRA, CURTIS R.
29433 N 50TH STREET
CAVE CREEK, AZ 85331                                 P‐0011063 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENBAUM, BELA
11516 PUERTO BLVD.
BOYNTON BEACH, FL 33437                              P‐0011064 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNITZER, ROGER D.
213 ODESSA DR
HASLET, TX 76052                                     P‐0011065 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BACHMANN, KARL A.
14002 GEMINI RD
APT 1
SPARTA, WI 54656                                     P‐0011066 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGER, RONALD E.
5328 PRECIOUS STONE DRIVE
ST. CHARLES, MO 63304                                P‐0011067 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURLEE, MARCUM N.
100 MOUNTAIN OAKS DRIVE
NORMAN, OK 73071                                     P‐0011068 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANDMONT, DENISE M.
28 LAUREL STREET
MORRIS PLAINS, NJ 07950                              P‐0011069 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLDREAD, AMBER
131 PINE GROVE DR
SOUTH HADLEY, MA 01075                               P‐0011070 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOANG, MINH‐THUY T.
4944 REGINA DR.
ANNANDALE, VA 22003                                  P‐0011071 10/31/2017    TK Holdings Inc., et al .                  $150,000.00                                                                                  $150,000.00
LONDO, WILLIAM R.
1302 HANCOCK STREET
WAKEFIELD, MI 49968                                  P‐0011072 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
MAIER, WILLIAM J.
95 WEDGEWOOD DRIVE
PENFIELD, NY 14526                                  P‐0011073 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLVILLE, GLENN C.
5906 MASTERS DR
HOUSTON, TX 77069‐1318                              P‐0011074 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, WILLIAM M.
906 GRANVIEW DR
LEWISVILLE, TX 75067                                P‐0011075 10/31/2017    TK Holdings Inc., et al .                     $400.00                                                                                       $400.00
LILLEY, AARON B.
702 SOUTHERN LIGHTS DR
ABERDEEN, MD 21001                                  P‐0011076 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMSON, PATRICIA C.
JAMES
7200 CHING DAIRY LP RD N
MOBILE, AL 36618‐4244                               P‐0011077 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSENTHAL, SUSAN
7052 COUNTY LINE ROAD
ONTARIO, NY 14519                                   P‐0011078 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLOOS, OTILIA P.
5652 OZARK AVE. NORTH
OAK PARK HEIGHTS, MN 55082                          P‐0011079 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOANG, MINH‐THUY T.
4944 REGINA DR.
ANNANDALE, VA 22003                                 P‐0011080 10/31/2017    TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00
COHEN, SHELLEY
17333 SAINT JAMES CT.
BOCA RATON, FL 33496                                P‐0011081 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILTON, PERRY L.
3217 EASTCHESTER ROAD
BRONX, NY 10469                                     P‐0011082 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
METZGAR, STEPHANIE J.
217 NETHERTON LANE
APT 101
CROSSVILLE, TN 38555                                P‐0011083 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOGGINS, MACK M.
2809 SPRING OAKS DRIVE
HIGHLAND VILLAGE, TX 75077                          P‐0011084 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GASS, DANIEL W.
27 BRENTWOOD DR
STILLWATER, OK 74075‐3740                           P‐0011085 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, CARRIE M.
906 GRANVIEW DR
LEWISVILLE, TX 75067‐7494                           P‐0011086 10/31/2017    TK Holdings Inc., et al .                     $400.00                                                                                       $400.00
SEITZ, SUSAN A.
SEITZ, TIMOTHY W.
3671 MENOHER BLVD
JOHNSTOWN, PA 15905                                 P‐0011087 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTI JACOBS FAMILY TRUST
31 N. SUFFOLK LANE
LAKE FOREST, IL 60045                               P‐0011088 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSEN, ALICE
1277 SUNGLOW DR
OCEANSIDE, CA 92056                                 P‐0011089 10/31/2017    TK Holdings Inc., et al .                     $700.00                                                                                       $700.00



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                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
LUCKETT, ROBERT A.
849 BLACKOAKS CIR.
ANOKA, MN 55303                                    P‐0011090 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALIK, ALYSSA E.
2146 CALDWELL ST
CONWAY, AR 72034                                   P‐0011091 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAMOS, GARY G.
1120 OAKRIDGE DR
PITTSBURGH, PA 15227                               P‐0011092 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLEN, JENNIFER A.
MULLEN, SARRA C.
5320 W. CULLOM AVE.
CHICAGO, IL 60641                                  P‐0011093 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLERO FERRER, JOSE J.
1407 PARKVIEW LN
DAVENPORT, IA 52807                                P‐0011094 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COWER, RICHARD J.
COWER, KAYE P.
904 OUAQUAGA ROAD
WINDSOR, NY 13865                                  P‐0011095 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, BRYANT O.
2701 CLAREMONT
PINE BLUFF, AR 71601                               P‐0011096 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IATRIDIS, ASIMAKIS
4520 BROADWAY #203
BOULDER, CO 80304                                  P‐0011097 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRASSO, JENNIFER P.
85 DOGWOOD LANE
NEW PROVIDENCE, NJ 07974                           P‐0011098 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLINE, ROBIN R.
49 JACKSON AVENUE
DOVER, NJ 07801                                    P‐0011099 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOCHENDOERFER, FRANK
KOCHENDOERFER, ULRIKE
301 HORIZON CT.
EXTON, PA 19341                                    P‐0011100 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDAN, DANIEL H.
JORDAN, JANE E.
90676 TERRITORIAL HWY
JUNCTION CITY, OR 97448                            P‐0011101 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YANKE, SHELLY A.
7101 AUGSBURG AVENUE SOUTH
RICHFIELD, MN 55423                                P‐0011102 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLF, ANTHONY F.
WOLF, PAULA C.
452 HORSE THIEF LANE
DURANGO, CO 81301                                  P‐0011103 10/31/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
BALON‐TRAMMELL, JUDITH
13713 MANDA MILL LN
PHOENIX, MD 21131                                  P‐0011104 10/31/2017    TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
SEITZ, TIMOTHY
SEITZ, SUSAN A.
3671 MENOHER BLVD
JOHNSTOWN, PA 15905                                P‐0011105 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
VENTURA, MARIA
13209 W AMELIA AVE
LITCHFIELD PARK, AZ 85340                           P‐0011106 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS JR, WILLIE E.
3839 DEER VALLEY LANE
MAUMEE, OH 43537                                    P‐0011107 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREGORY, GUY E.
5032 LOUISIANA 2ND FL.
SAINT LOUIS, MO 63111‐1617                          P‐0011108 10/31/2017    TK Holdings Inc., et al .                   $36,500.00                                                                                   $36,500.00
REMELY, THOMAS A.
REMELY, THOMAS A.
4495 KIMBERLY CT
BETHLEHEM, PA 18020                                 P‐0011109 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEMNON, JIMMY
4728 S. TRASK STREET APT.#89
TAMPA, FL 33611                                     P‐0011110 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLF, PAULA C.
WOLF, ANTHONY F.
452 HORSE THIEF LANE
DURANGO, CO 81301                                   P‐0011111 10/31/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
REINHART SUMNER LIVING TRUST
278 STIERLIN RD
MTN. VIEW, CA 94043                                 P‐0011112 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEETH, CAROL J.
KEETH, WILLIAM L.
9605 PEMBERLY LN
FAIRFAX STATION, VA 22039                           P‐0011113 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUMAR, ATUL
46 HUNTSMAN HORN CIR
SPRING, TX 77380                                    P‐0011114 10/31/2017    TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MCINTOSH, KINECHA
1299 CORPORATE DT
#905
WESTBURY, NY 11590                                  P‐0011115 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWARTZ, GARY A.
SCHWARTZ, JEANNIE M.
1807 140TH AV.
ST CROIX FALLS, WI 54024                            P‐0011116 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCAFIDI, CHRISTOPHER J.
SCAFIDI, THERESA L.
804 AGORA ROAD NE
RIO RANCHO, NM 87124                                P‐0011117 10/31/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
SANCHEZ DEJESUS, AMPARO
1407 PARKVIEW LN
DAVENPORT, IA 52807                                 P‐0011118 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELPERCIO, BOBBIE A.
31 ELIZABETH PLACE
TOTOWA, NJ 07512‐2605                               P‐0011119 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARZECHA, JACQUELYN T.
47330 EAST DEER RD.
ALTOONA, FL 32702                                   P‐0011120 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERWIN, ADRIAN T.
915 ONAHA STREET
HONOLULU, HI 96816                                  P‐0011121 10/31/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
METZ, HEIDI
9243 E RUSTY SPUR PLACE
SCOTTSDALE, AZ 85255                                P‐0011122 10/31/2017    TK Holdings Inc., et al .                    $6,400.00                                                                                    $6,400.00
DRURY, DONALD A.
DRURY, JANICE M.
4 WOODMONT LN.
MALVERN, PA 19355‐2840                              P‐0011123 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INGRAM, JACK E.
17 KENNA DRIVE
SOUTH CHARLESTON, WV 25309                          P‐0011124 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATKINS, JASMINE M.
225 WOOD GLEN LANE
OAK BROOK, IL 60523                                 P‐0011125 10/31/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HAMMITT, FRANK D.
HAMMITT, PAMELA L.
4682 WINEWOOD VILLAGE DR
COLORADO SPRINGS, CO 80917‐1221                     P‐0011126 10/31/2017    TK Holdings Inc., et al .                   $29,060.00                                                                                   $29,060.00
HAMMER, MICHAEL J.
713 LOCUST ST
ANACONDA, MT 59711                                  P‐0011127 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLBROOK, DAVID M.
HOLBROOK, JOYCE B.
4124 PARKER DR.
RIVERDALE, UT 84405                                 P‐0011128 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUTCHINSON, JAMES M.
53 STONEHEDGE RD
LINCOLN, MA 01773                                   P‐0011129 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECKHARDT, KARL R.
ECKHARDT, MISSYE A.
123 W HILL HAVEN DR
BRIGHAM CITY, UT 84302                              P‐0011130 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANGES, LISA G.
3740 S OCEAN BLVD
APT 401
HIGHLAND BEACH, FL 33487                            P‐0011131 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, JOHN B.
140 FOUNDERS MILL COURT
ROSWELL, GA 30075‐4988                              P‐0011132 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYERS, DALE K.
741 HARDWICK PL
YORK, PA 17404                                      P‐0011133 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUTCHINSON, JAMES M.
53 STONEHEDGE RD
LINCOLN, MA 01773                                   P‐0011134 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LLEWELLYN, PHILLIP D.
6720 HARTSWORTH DR
LAKELAND, FL 33813                                  P‐0011135 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIVER, JOHN S.
685 TERRY ST
HOT SPRINGS, AR 71913                               P‐0011136 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHU, XIAOFENG
96 FIELDVIEW DR
SPRING CITY, PA 19475                               P‐0011137 10/31/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
FISCHER, EMIL J.
9820 JULEP TRAIL NORTH
SCANDIA, MN 55073                                   P‐0011138 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
ORTIZ, LUIS A.
898 BRIARSTONE RD
BETHLEHEM, PA 18017                                P‐0011139 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STERLING, DAVID
8 DEWART ROAD
GREENWICH, CT 06830                                P‐0011140 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAXLER, ROBERT G.
WAXLER, DONNA Y.
2279 NORTH 51ST STREET
PHILADELPHIA, PA                                   P‐0011141 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, GALE M.
FOSTER, STANLEY A.
2819 C 1/2 ROAD
GRAND JUNCTION, CO 81501                           P‐0011142 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMSEY, TERRI L.
RAMSEY‐NICKELSON, YVONNE R.
29346 ELDON
FARMINGTON HILLS, MI 48336                         P‐0011143 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SATTLER, GARY A.
SATTLER, DEBORAH L.
1786 EAST LINDRICK DRIVE
CHANDLER, AZ 85249                                 P‐0011144 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUNN, BRENT H.
CONNETT, KRISTINE M.
1435 RANDOLPH AVENUE
SAINT PAUL, MN 55105‐2560                          P‐0011145 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STERLING, DAVID
8 DEWART ROAD
GREENWICH, CT 06830                                P‐0011146 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCPHERSON, BRENDA
9000 BISSONNET
#1008
HOUSTON, TX 77074                                  P‐0011147 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANOS, DANIEL S.
1 N MAIN STREET UNIT 410
ALGONQUIN, IL 60102                                P‐0011148 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHLEGEL, CHRISTIAN E.
40 NORTH CIRCLE
ABERDEEN, NJ 07747                                 P‐0011149 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYLONAS, PELAGI
1813 LAWRENCE ROAD
HAVERTOWN, PA 19083                                P‐0011150 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONDZILA, CHRIS P.
5549 ARAPAHO PASS
PINCKNEY, MI 48169                                 P‐0011151 10/31/2017    TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
DOMINGUEZ, MARK R.
988 SHILLELAGH RD
CHESAPEAKE 23323                                   P‐0011152 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOZNIAK, JOHN A.
4424 WEILERS WAY
PORT WASHINGTON, WI 530749608                      P‐0011153 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIARA, KELLY E.
38 FRONT STREET
JAMESBURG, NJ 08831                                P‐0011154 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
BANNER, STEWART M.
4174 DUNWOODY TERRACE
ATLANTA, GA 30341                                  P‐0011155 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORTON, LYNN T.
LUCIDO, KATHLEEN M.
59 ESSEX STREET
SAN ANSELMO, CA 94960                              P‐0011156 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOSH, VICTORIA N.
1105 YARDLEY LANE
WILMINGTON, NC 28412                               P‐0011157 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACALAMITA, ROBERT M.
566 WYNNEWOOD ROAD
PELHAM MANOR, NY 10803                             P‐0011158 10/31/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HARRIS, LYNN H.
922 SARATOGA DRIVE
DURHAM, NC 27704                                   P‐0011159 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, CHARADE M.
238 S. MADISON STREET
2ND FLR
ALLENTOWN, PA 18102                                P‐0011160 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FELTZ, BRIAN J.
FELTZ, JACQUELINE A.
200 CHAPLEY AVE
JUNCTION CITY, WI 54443                            P‐0011161 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORTON, LYNN T.
LUCIDO, KATHLEEN M.
59 ESSEX STREET
SAN ANSELMO, CA 94960                              P‐0011162 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACALAMITA, ROBERT M.
566 WYNNEWOOD ROAD
PELHAM MANOR, NY 10803                             P‐0011163 10/31/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
JOHNSON, STEPHANIE A.
JOHNSON, BARTHOLOMEW W.
1635 WIMBLEDON DR.
APT. 94
GREENVILLE, NC 27858                               P‐0011164 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACALAMITA, ROBERT M.
566 WYNNEWOOD ROAD
PELHAM MANOR, NY 10803                             P‐0011165 10/31/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
SMITH, TIFFANY D.
1035 E. PRICE ST
PHILADELPHIA, PA 19138                             P‐0011166 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, BENJAMIN G.
11944 BRAID HILLS DRIVE
CHARLOTTE, NC 28277                                P‐0011167 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, DAVID H.
JOHNSON, VALERIE A.
13787 116TH ST. N
STILLEWTER, MN 55082‐9415                          P‐0011168 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, CHRISTINA A.
6761 EAST TARGHEE COURT
LAS VEGAS, NV 89156                                P‐0011169 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, CHARLES E.
2321 CRAIN DR
GREER, SC 29651                                    P‐0011170 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
CRIMI, MARY E.
NO ADDRESS PROVIDED
                                                   P‐0011171 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUPINO, NANCY A.
223 2ND ST
BEACH HAVEN, NJ 08008                              P‐0011172 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATUSZAK, RICHARD F.
12333 RIDGE RD
MEDINA, NY 14103                                   P‐0011173 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INGRAM, CHEYRL D.
2313 S. 18TH AVE
BROADVIEW, IL 60155                                P‐0011174 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VIERNES, VERNA AIRA A.
111 S GIBSON RD APT 1103
HENDERSON, NV 89012                                P‐0011175 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCOLLUM, SHARAE L.
908 SUGARBALL LN
CINCINNATI, OH 45215                               P‐0011176 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, PATRICIA G.
KELLY, DANIEL L.
17 LORING ROAD
HOPKINS, MN 55305                                  P‐0011177 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUTH, THOMAS L.
8151 W LIBERTY RD
ANN ARBOR, MI 48103                                P‐0011178 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACALAMITA, KAREN A.
566 WYNNEWOOD ROAD
PELHAM MANOR, NY 10803                             P‐0011179 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELMONTE, WILLIAM T.
173 MICHIGAN CT
BLOOMINGDALE, IL 60108                             P‐0011180 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, DANIEL L.
KELLY, PATRICIA G.
17 LORING ROAD
HOPKINS, MN 55305                                  P‐0011181 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUENEMANN, RICHELLE M.
SCHUENEMANN, GARY A.
21W264 WOODVIEW DR
ITASCA, IL 60143                                   P‐0011182 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSEN, JOSEPH
1277 SUNGLOW DR
OCEANSIDE, CA 92056                                P‐0011183 10/31/2017    TK Holdings Inc., et al .                     $800.00                                                                                       $800.00
KOOYMAN, JOHN
6749 GENEVA AVE. S.
COTTAGE GROVE, MN 55016                            P‐0011184 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COPPOLA, LOUIS
4737 LEDGEWOOD DRIVE
MEDINA, OH 44256                                   P‐0011185 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEHRMAN, KAREE
14805 MINNEHAHA PL
WAYZATA, MN 55391                                  P‐0011186 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLONCHUK, SVETLANA
12513 MONTCLAIR DRIVE
SILVER SPRING, MD 20904                            P‐0011187 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
ZHONG, YUAN
434 WHITTIER DR
LANGHORNE, PA 19053                                P‐0011188 10/31/2017    TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
GRACE, GREGORY B.
3228 E JEROME AVE
MESA, AZ 85204                                     P‐0011189 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEHRMAN, BRAD
14805 MINNEHAHA PL
WAYZATA, MN 55391                                  P‐0011190 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLERO FERRER, JOSE J.
1407 PARKVIEW LN
DAVENPORT, IA 52807                                P‐0011191 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOUDHURY, NABENDU S.
6 OUTLOOK DR N
MECHANICVILLE, NY 12118                            P‐0011192 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REED, BENJAMIN Y.
SOIK REED, JADE C.
6301 MILDRED AVENUE
EDINA                                              P‐0011193 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUDDINGH, DAVID M.
1523 W. ROSCOE STREET #3
CHICAGO, IL 60657                                  P‐0011194 10/31/2017    TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
STEPHENSON, BRADLEY T.
5200 N SHERIDAN ROAD
UNIT 209
CHICAGO, IL 60640                                  P‐0011195 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIOTT, RICHARD J.
ELLIOTT, CARLA J.
4 N HIDDEN ACRES DRIVE
SIOUX CITY, IA 51108                               P‐0011196 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACALAMITA, KAREN A.
566 WYNNEWOOD ROAD
PELHAM MANOR, NY 10803                             P‐0011197 10/31/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
POGGIOLI, JOSEPH A.
3409 COUNTRY CLUB LANE
KEARNEY, NE 68845                                  P‐0011198 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAMER, KAREN S.
633 NUGENTOWN RD
LITTLE EGG HRBR, NJ 08087                          P‐0011199 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIEWIORA, RICH J.
205 SUSQUEHANNA ST
NORTHERN CAMBRIA, PA 15714                         P‐0011200 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDOVAL, FRANCISCA M.
200 FRIEDENBLOOM DR.
UNIT 48
RUIDOSO DOWNS, NM 88346                            P‐0011201 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISS, ARLEEN R.
ARLEEN R WEISS
19 IDLEWOOD ROAD
ROCHESTER, NY 14618                                P‐0011202 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBER, ROGER E.
459 SYBILLE CREEK ROAD
WHEATLAND, WY 82201                                P‐0011203 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOHERTY, DANIEL W.
2 BRIDLE SPUR ROAD
DANVERS, MA 01923                                  P‐0011204 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
COLLINS, LORETTA E.
1128 SHERIDAN AVENUE NORTH
MINNEAPOLIS, MN 55411                                P‐0011205 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANTREASYAN, HRANT
67 CONTINENTAL AVE
FOREST HILLS, NY 11375                               P‐0011206 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACALAMITA, KAREN A.
566 WYNNEWOOD ROAD
PELHAM MANOR, NY 10803                               P‐0011207 10/31/2017    TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
DANFORTH, SANDRA C.
2109 W. JARVIS AVENUE, NO. 1
CHICAGO, IL 60645                                    P‐0011208 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYON, KELLY
111 BASTIAN RD
ROCHESTER, NY 14623                                  P‐0011209 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLACE, MICHAEL S.
3160 NORTHSHORE DR
WAYZATA, MN 53566                                    P‐0011210 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, JOHNNIE N.
JOHNNIE MORRIS
3269 LINDENWOOD DR
COOKEVILLE, TN 38506 7324                            P‐0011211 10/31/2017    TK Holdings Inc., et al .                       $15.00                                                                                       $15.00
BEGLEY, BRIAN F.
12104 JACKSON STREET
OMAHA, NE 68154                                      P‐0011212 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARNER, ALTON R.
2205 AUBINWOOD DR.
BATON ROUGE, LA 70816                                P‐0011213 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARISE, GERALD F.
23 BRAMLEY RD
MOORESTOWN, NJ 08057                                 P‐0011214 10/31/2017    TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
POGGIOLI, JOSEPH A.
3409 COUNTRY CLUB LANE
KEARNEY, NE 68845                                    P‐0011215 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEHDEV, RAJESH K.
334 N ARDMORE AVE
APT # C
VILLA PARK 60181                                     P‐0011216 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENZANO, MARGARET M.
102 RED FOX ROAD
CINNAMINSON, NJ 08077‐4352                           P‐0011217 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEGLEY, BRIAN F.
12104 JACKSON STREET
OMAHA, NE 68154                                      P‐0011218 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMBS, JESSICA
8403 MEADOWCREST DR
FOUNTAIN, CO 80817                                   P‐0011219 10/31/2017    TK Holdings Inc., et al .                   $26,653.91                                                                                   $26,653.91
RYON, ALAN W.
111 BASTIAN RD
ROCHESTER, NY 14623                                  P‐0011220 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, SARAH A.
127 S PENN ST
YORK, PA 17401                                       P‐0011221 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VIAU, CHRISTOPHER
555 MARIA DR
PETALUMA, CA 94954                                   P‐0011222 10/31/2017    TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
STANLEY, PAIGE A.
2025 ROBSON PLACE, NE
ATLANTA, GA 30317                                    P‐0011223 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GHERNA, SUSAN R.
P.O. BOX 71
AHMEEK, MI 49901                                     P‐0011224 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOSER, JAMES E.
536 HOFFMAN STREET
PHILADELPHIA, PA 19148                               P‐0011225 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKE, RON
1312 SUPERIOR AVE
PITTSBURGH PA, PA 15212                              P‐0011226 10/31/2017    TK Holdings Inc., et al .                     $988.57                                                                                       $988.57
HARDEN, JENSEN L.
1014 RIDGEWOOD DRIVE
BOILINGBROOK, IL 604440                              P‐0011227 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLATNER, ROBERT N.
1890 STOCKBRIDGE AVE
REDWOOD CITY, CA 94061                               P‐0011228 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAY, FAYE M.
12 SEA WINDS LANE WEST
PONTE VEDRA BEAC, FL 32082                           P‐0011229 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLATNER, SARAH L.
1890 STOCKBRIDGE AVE
REDWOOD CITY, CA 94061                               P‐0011230 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENE, SHERRY A.
157 UPLAND AVE
DOVER, DE 19901                                      P‐0011231 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOBEY, JENNIFER
10 CRESCENT ST
MILLERS FALLS, MA 01349                              P‐0011232 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POGGIOLI, JOSEPH A.
3409 COUNTRY CLUB LANE
KEARNEY, NE 68845‐4108                               P‐0011233 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIEWIORA, RICH J.
205 SUSQUEHANNA ST
N.C., PA 15714                                       P‐0011234 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDRICKS, ANNA
P.O. BOX 518
DE SOTO, IL 62924                                    P‐0011235 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIDSON, CATHERINE C.
506 MCALPINE STREET
AVOCA, PA 18641                                      P‐0011236 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HULL, KATARA
3648 174TH COURT
APT 2A
LANSING, IL 60438                                    P‐0011237 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOGEL, KEVIN J.
130 ANNES CT
ATHENS, GA 30606                                     P‐0011238 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASS, JOQUETTA L.
1107 GRISWOLD HEIGHTS
TROY, NY 12180                                       P‐0011239 10/31/2017    TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
GEBARA, ANDREE
10883 ANDREWS AVE
ALLEN PARK, MI 48101                                 P‐0011240 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address        Claim No. Claim Date            Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ARCHER, SHERRY D.
1091 MOSS TRAIL
LAVERGNE, TN 37086                                   P‐0011241 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, DANAE J.
165 N CANAL ST
UNIT 1210
CHICAGO, IL 60606                                    P‐0011242 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURUGO, THANKGOD C.
1 MARSHALL STREET APT 6C
IRVINGTON, NJ 07111                                  P‐0011243 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELLER, DONNA
5815 E. SANNA STREE
PARADISE VALLEY, AZ 85253                            P‐0011244 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUNKEL, PHILIP S.
RUNKEL, PAMELA B.
721 COACHMAN DRIVE
WAXHAW, NC 28173                                     P‐0011245 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUNKEL, PHILIP S.
721 COACHMAN DRIVE
WAXHAW, NC 28173                                     P‐0011246 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASEFEHA, NAHOM Y.
3017 SILVER LAKE RD NE
ST ANTHONY, MN 55418                                 P‐0011247 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORGHUBER, MARK S.
GORGHUBER, CATHERINE E.
713 BONG BLVD
DULUTH, MN 55811                                     P‐0011248 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEELEY, WARREN A.
SEELEY, ROBERT K.
1000 STONEWALL DR.
NASHVILLE, TN 37220                                  P‐0011249 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COVEY, SHILO D.
3809 S. GENERAL BRUCE DR
#103
TEMPLE, TX 76502                                     P‐0011250 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAN, MICHAEL
146 HICKS ROAD
NASHVILLE, TN 37221                                  P‐0011251 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLOOS, JONATHAN D.
1567 COUNTY ROAD D E UNIT E
MAPLEWOOD, MN 55109                                  P‐0011252 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COVEY, SHILO D.
3809 S. GENERAL BRUCE DR
#103
TEMPLE, TX 76502                                     P‐0011253 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORGHUBER, MARK S.
GORGHUBER, CATHERINE E.
713 BONG BLVD
DULUTH, MN 55811                                     P‐0011254 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOLZMAN, CASEY J.
STOLZMAN, STEPHANIE M.
805 N VERNON ST.
CONRAD, IA 50621                                     P‐0011255 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, KATHERINE E.
6 RIVER COURT
GREENVILLE, SC 29617                                 P‐0011256 10/31/2017    TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
KREPPEL, MILTON M.
57 TOP OF THE RIDGE
MAMARONECK, NY 10543                                   P‐0011257 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, TAE
5548 MAGNOLIA STREET
COMMERCE CITY, CO 80022                                P‐0011258 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWTON, PAMELA L.
NEWTON, DOUGLAS A.
16623 E AUBURN HILLS DR
PARKER, CO 80134                                       P‐0011259 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, NOREEN
JONES, JEFFREY
1917 EVVA DRIVE
SCHENECTADY, NY 12303                                  P‐0011260 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FENGEL, JACK E.
717 PALMER WAY
MELBOURNE, FL 32940                                    P‐0011261 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNEEN, JASON S.
KNEEN, JASON
STRYKER MEDICAL
1429 BRADFORD STREET
PORTAGE
PORTAGE, MI 49024                                      P‐0011262 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONOFRIO, JOSEPH D.
450 CENTRAL AVE
PACIFIC GROVE, CA 93950                                P‐0011263 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINSINGER, SCOTT E.
KINSINGER, BETTY J.
195 11TH AVENUE
MEYERSDALE, PA 15552                                   P‐0011264 10/31/2017     TK Holdings Inc., et al .                     $983.66                                                                                       $983.66
BARISH, ROBERT J.
211 E 70TH STREET APT. 12G
NEW YORK, NY 10021                                     P‐0011265 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALTER, DANNIE W.
SALTER, DORIS J.
4124 HAZELWOOD AVE
LOUISVILLE, KY 40215                                   P‐0011266 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, NOREEN
1917 EVVA DRIVE
SCHENECTADY, NY 12303                                  P‐0011267 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURRY, SONYA J.
914 ELLEN STREET
MAGOLIA, AR 71753                                      P‐0011268 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWTON, DOUGLAS A.
NEWTON, PAMELA L.
16623 E AUBURN HILLS DR
PARKER, CO 80134                                       P‐0011269 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, LINDSEY
23209 HIGHLINE RD
SPIRO, OK 74959                                        P‐0011270 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATRICK, MARY
815 PETTIS ST
SELMA, AL 36701                                        P‐0011271 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAPLANTE, ANDREW
99 WHITE OAK RIDGE RD
SHORT HILLS, NJ 07078                                  P‐0011272 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
                                                                                             Page 1000 of 3875
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WANG, KARL
8110 QUINN TER
VIENNA, VA 22180                                      P‐0011273 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TABASZEWSKI, CALLIN J.
2600 N HAMPDEN CT
E6
CHICAGO, IL 60614                                     P‐0011274 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEND, REGINA L.
126 CHURCH ST
MARKLEYSBURG, PA 15459                                P‐0011275 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEGLEY, BRIAN F.
12104 JACKSON STREET
OMAHA, NE 68154                                       P‐0011276 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAITHER, IRMA C.
114 CHARTSEY STREET
UPPER MARLBORO, MD 20774                              P‐0011277 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TENOLD, LISA M.
TENOLD, LISA
10897 159TH ST
CHIPPEWA FALLS, WI 54729‐6195                         P‐0011278 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GANTT, JUDITH D.
6936 N MERCIER
KANSAS CITY, MO 64118                                 P‐0011279 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARR, JENNIFER M.
115 FLORENCE DRIVE
NEW STANTON, PA 15672                                 P‐0011280 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REGINO MUNIZ, KRYSTAL
4744 N 39TH DR
PHOENIX, AZ 85019                                     P‐0011281 10/31/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
CLEMONS, NIKKI S.
3905 COUNTY ROAD 137
MOOSE LAKE, MN 55767                                  P‐0011282 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IMLER, TOBY J.
22797 BASS LAKE RD
OSAGE, MN 56570                                       P‐0011283 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANDRA, JOHN P.
8330 ROSE RIDGE DR. NE
ROCKFORD, MI 49341                                    P‐0011284 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIAZ, ROLANDO D.
1728 PAPAYA DR, E
ORANGE PARK, FL 32073                                 P‐0011285 10/31/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HOVANEC, JOHN D.
4 CURRY CT
TURTLE CREEK, PA 15145‐1007                           P‐0011286 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LING, SARA L.
10 WESTLEY ST
WINCHESTER, MA 01890                                  P‐0011287 10/31/2017     TK Holdings Inc., et al .                    $1,361.75                                                                                    $1,361.75
PALUSHEK, ROBERT
3832 N FRANCISCO AVENUE
CHICAGO, IL 60618                                     P‐0011288 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GFB PROPERTY LLC
BRIAN K. BURNAM
P.O. BOX 17
BLOOMFIELD, IA 52537                                  P‐0011289 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
IMLER, TOBY J.
22797 BASS LAKE RD
OSAGE, MN 56570                                      P‐0011290 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAU, GIM
365 BRIDGE STREET
APT 14L
BROOKLYN, NY 11201                                   P‐0011291 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TILLQUIST, JONATHAN P.
79 E PLEASANT LAKE RD
SAINT PAUL, MN 55127                                 P‐0011292 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, KATHRYN
1483 LEAFMORE SQUARE
DECATUR, GA 30033                                    P‐0011293 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEMONS, NIKKI S.
3905 COUNTY ROAD 137
MOOSE LAKE, MN 55767                                 P‐0011294 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WISENER, JAMES W.
248 W. HILLCREST
ALEXANDER, AR 72002                                  P‐0011295 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATOKE, CARRIE A.
CARRIE MATOKE
8125 DARTMOOR COURT
COLORADO SPRINGS, CO 80920                           P‐0011296 10/31/2017     TK Holdings Inc., et al .                   $37,000.00                                                                                   $37,000.00
PORBANDERWALA, ROHEN
1455 HADDON CV
HOOVER, AL 35226                                     P‐0011297 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOI, JAY PIL
2940 AUDREYS WAY
EAST LANSING, MI 48823                               P‐0011298 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, JANICE P.
165 ST. MARY'S AVENUE
CLINTON, NY 13323‐1730                               P‐0011299 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YAKSIC, ANDREW P.
673 BELL ST UNIT 21
MANCHESTER, NH 03103                                 P‐0011300 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOVALCHUK, MONICA K.
2091 PERCH LN SW
NISSWA, MN 56468‐2028                                P‐0011301 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, TAMMY F.
27 OLD MILL RD.
WESTPORT, CT 06880                                   P‐0011302 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANDRA, JOHN P.
8330 ROSE RIDGE DR. NE
ROCKFORD, MI 49341                                   P‐0011303 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, TAMMY F.
27 OLD MILL RD.
WESTPORT, CT 06880                                   P‐0011304 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLIER, JAMES S.
COLLIER‐SANUKI, YOKO M.
1649 TAROKA DR.
FAIRBANKS, AK 99709‐2809                             P‐0011305 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINNEY, DANIEL J.
2603 20TH ST NE
MANVEL, ND 58256                                     P‐0011306 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
UMBERGER, RYAN W.
2420 GETTYSBURG AVE S
ST LOUIS PARK, MN 55426                               P‐0011307 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOBBS, BRITANNIA I.
BEESON, JOHN G.
2280 LATHEN WAY
EUGENE, OR 97408                                      P‐0011308 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLIER, JAMES S.
COLLIER‐SANUKI, YOKO M.
1649 TAROKA DR.
FAIRBANKS, AK 99709‐2809                              P‐0011309 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEESON, JOHN G.
HOBBS, BRITANNIA I.
2280 LATHEN WAY
EUGENE, OR 97408                                      P‐0011310 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, MATTHEW D.
27 OLD MILL RD.
WESTPORT, CT 06880                                    P‐0011311 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANDRA, JOHN P.
8330 ROSE RIDGE DR. NE
ROCKFORD, MI 49341                                    P‐0011312 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELLER, DONNA
HELLER, BRIENA
5815 E. SANNA STREET
PARADISE VALLEY, AZ 85253                             P‐0011313 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, MATTHEW D.
27 OLD MILL RD.
WESTPORT, CT 06880                                    P‐0011314 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONNER, MELANIE
SMITH, BRYAN
513 CARRIAGE DR. 1F
WEST CHICAGO, IL 60185                                P‐0011315 10/31/2017     TK Holdings Inc., et al .                    $5,200.00                                                                                    $5,200.00
GORSHKOV, ALEXEY V.
5804 INMAN PARK CIR APT 140
ROCKVILLE, MD 20852                                   P‐0011316 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PROCOPE, PATRICIA T.
PROCOPE, PATRICIA T.
2751 HAMMONDTON RD SE
#43475
MARIETTA, GA 30060                                    P‐0011317 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, DWAYNE A.
17023 CASS BROOK LANE
WOODBRIDGE, VA 22191                                  P‐0011318 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, ANDREA L.
MILLER, JAMES M.
15901 SE 65TH ROAD
FAUCETT, MO 64448                                     P‐0011319 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, CYNTHIA C.
JONES, DANIEL
4902 CARLISLE PIKE, #363
MECHANICSBURG, PA 17050                               P‐0011320 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENSON, ROBERT G.
HENSON, KAREN S.
110 SHADY DRIVE
MAUMELLE, AR 72113                                    P‐0011321 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
DUVAL, DEBORAH
916 TURNBERRY LN
SOUTHLAKE, TX 76092                                   P‐0011322 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORSEY, JAMES A.
NO ADDRESS PROVIDED
                                                      P‐0011323 10/31/2017     TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
HENSON, ROBERT G.
HENSON, KAREN S.
110 SHADY DRIVE
MAUMELLE, AR 72113                                    P‐0011324 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENSON, ROBERT G.
HENSON, KAREN S.
110 SHADY DRIVE
MAUMELLE, AR 72113                                    P‐0011325 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KORSAKOV, TIM
5572 HOBBLE CREEK
LAS VEGAS, NV 89120                                   P‐0011326 10/31/2017     TK Holdings Inc., et al .                  $180,000.00                                                                                  $180,000.00
HOSEA, KELLEY D.
6822 S. 29TH LANE
PHOENIX, AZ 85041                                     P‐0011327 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIDGE, ROB C.
2402 E 5TH ST
#1404
TEMPE, AZ 85281                                       P‐0011328 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERRIHEW‐WARREN, CHELSEA R.
84 MASCOMA ST.
UNIT 1
LEBANON, NH 03766                                     P‐0011329 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESOUZA, FLAVIA
239 FRONT STREET
UNIT C
NEW HAVEN, CT 06513                                   P‐0011330 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADESIYAN, ADESINA
6733,SOUTH LEWIS AVENUE
TULSA, OK 74136                                       P‐0011331 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, JAMES F.
914 FRASER LANE
HUDSON, WI 54016                                      P‐0011332 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAHA, SAMI
TAHA, SAMI
303 W OHIO
#1507
CHICAGO, IL 60654                                     P‐0011333 10/31/2017     TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
TENOLD, SCOTT M.
10897 159TH ST
CHIPPEWA FALLS, WI 54729‐6195                         P‐0011334 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GANTT, HERMAN L.
6936 N MERCIER
KANSAS CITY, MO 64118                                 P‐0011335 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEAD, GREGORY M.
3319 NINER ROAD
FINKSBURG, MD                                         P‐0011336 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUES, KATHLEEN
5250 VILLA VERDE DR.
APT #E4
RENO, NV 89523                                        P‐0011337 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BANIK, DIPALI
9202 48TH AVENUE
ELMHURST, NY 11373                                    P‐0011338 10/31/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
TENOLD, LISA M.
TENOLD, LISA M.
10897 159TH ST
CHIPPEWA FALLS, WI 54729‐6195                         P‐0011339 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATKINS, KOURTNEY
211 NORTH LONDON AVE
ROCKFORD, IL 61107                                    P‐0011340 10/31/2017     TK Holdings Inc., et al .                   $37,000.00                                                                                   $37,000.00
KANDRA, JOHN P.
8330 ROSE RIDGE DR. NE
ROCKFORD, MI 49341                                    P‐0011341 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADLEY, JANE E.
4914 BARFIELD CRESCENT ROAD
MURFREESBORO, TN 37128                                P‐0011342 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIN, ANN C.
3767 SANTA FE TRL
ANN ARBOR, MI 48108                                   P‐0011343 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORTON, CHARLES A.
NORTON, ALICE L.
8360 W. STELLA WAY
GLENDALE, AZ 85305                                    P‐0011344 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADLEY, JANE E.
4914 BARFIELD CRESCENT ROAD
MURFREESBORO, TN 37128                                P‐0011345 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRETON, DONALD
BRETON, DEBRA
83 HAMMERSMITH DRIVE
SAUGUS, MA 01906                                      P‐0011346 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAROSCAK, PAUL S.
5089 W BUCKEYE VIEW WAY
RIVERTON, UT 84096                                    P‐0011347 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOVI‐DISCHER, MARIA L.
363 FAIRWAY TERRACE
PHILADELPHIA, PA 19128                                P‐0011348 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, PETER M.
3133 S BANNOCK ST
ENGLEWOOD, CO 80110                                   P‐0011349 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, KIMBERLY M.
3200 E. PARKSIDE BLVD #55
APPLETON, WI 54915                                    P‐0011350 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DISCHER, GERARD L.
363 FAIRWAY TERRACE
PHILADELPHIA, PA 19128                                P‐0011351 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAIG, YVETTE Y.
2248 BELMORE LANE
BIRMINGHAM, AL 35207                                  P‐0011352 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAMMY
KREITZ
TAMMY R. KREITZ
407 FOURTH ST.
EAST PENNSBORO
ENOLA                                                 P‐0011353 11/1/2017      TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ORTH, WILLIAM I.
NO ADDRESS PROVIDED
                                                     P‐0011354 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITT FILLIO, BRIANA C.
2133 PINEHURST LANE
APT 2037
MESQUITE, TX 75150                                   P‐0011355 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWERS, STEFANIE
POWERS, STEFANIE
2953 RIVER ROAD
ELKTON, VA 22827                                     P‐0011356 11/1/2017      TK Holdings Inc., et al .                    $3,750.00                                                                                    $3,750.00
RAY, SINEATRA S.
P.O. BOX 535192
GRAND PRAIRIE, TX 75053                              P‐0011357 11/1/2017      TK Holdings Inc., et al .                    $5,500.00                                                                                    $5,500.00
MCCARTHY, MICHAEL F.
12420 REKART LN
DES PERES, MO 63131                                  P‐0011358 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VELEZ, JOSE
VELEZ, THERESA
777 BERING DR. APT 741B
HOUSTON, TX 77057                                    P‐0011359 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREGAR, DAVID D.
19 STONEHENGE ROAD
BEDFORD, NH 03110‐5739                               P‐0011360 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHILLING, RICHARD A.
JAMIESON, ROSEMARY K.
141 JOHN ST. APT T23
LOWELL, MA 01852                                     P‐0011361 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS II, JAMES R.
1239 N. MOLINA RD
BELEN, NM 87002                                      P‐0011362 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, ERIN E.
144 KIMBARK RD
ROCHESTER, NY 14610                                  P‐0011363 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMMONS, LEON M.
P.O. BOX 1225
RUIDOSO DOWNS, NM 88346                              P‐0011364 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEU, JESSICA H.
NO ADDRESS PROVIDED
                                                     P‐0011365 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEITH, DONALD A.
LEITH, VICKI G.
50 EMERALD LANE
GREERS FERRY, AR 72067                               P‐0011366 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUMA, SAMSON F.
30 ANZIO ROAD
FRAMINGHAM, MA 01702                                 P‐0011367 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZENI, SUSAN
4484 SHADOW WOOD DR
EUGENE, OR 97405                                     P‐0011368 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVANON, EREZ Z.
1145 SANDPIPER DR
COLORADO SPRINGS, CO 80916                           P‐0011369 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMANO, SHINICHI
1014 PORTOLA AVE.
TORRANCE, CA 90501                                   P‐0011370 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
PERRY, WILLETTE
PERRY, CLARISSA
189 FOXGLOVE PASS
CIBOLO, TX 78108                                      P‐0011371 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRAZER, MATTHEW C.
4173 FOURTH STREET
WAYNE, MI 48184                                       P‐0011372 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYNE, ADAM J.
5658 DOE WAY
NOBLESVILLE, IN 46062                                 P‐0011373 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOYLE, LINDA J.
1510 3RD STREET
DAPHNE, AL 36526                                      P‐0011374 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWELL, JOHN C.
12708 OLD SPANISH TRL
SAN ANTONIO, TX 78233                                 P‐0011375 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOOTZ, JERIN D.
HILAND AUTO SALES, INC.
2125 1/2 5
                                                      P‐0011376 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN BAALEN, GUY A.
8494 WOODBOX ROAD
MANLIUS, NY 13104                                     P‐0011377 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KREUTZ, VINCENT
1876 COUNTY ROAD 10
NORWICH, NY 13815                                     P‐0011378 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHROSTEK, GRACE
14 WENZEL FARM ROAD
NORTH HAVEN, CT 06473                                 P‐0011379 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, RANDY S.
MORRIS, BETTY W.
147 MEADOW WOOD DR.
LEXINGTON, SC 29                                      P‐0011380 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARUSO, MARIE
8 GOVERNOR PEABODY RD
BILLIERCA, MA 01821                                   P‐0011381 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STROBLE, CLINTON D.
2703 PARKWOOD AVENUE
BALTIMORE, MD 2121                                    P‐0011382 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUSSMAN, KIMBERLY A.
40 TREETOP PLACE
HOLLAND, OH 43528                                     P‐0011383 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEIN, ROBERT D.
226 RIDGEWOOD DRIVE
WALESKA, GA 30183                                     P‐0011384 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOZNIAK, JOHN A.
4424 WEILERS WAY
PORT WASHINGTON, WI 530749608                         P‐0011385 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOMSHER, LAWRENCE B.
7863 ANITA DRIVE
PHILADELPHIA, PA 19111                                P‐0011386 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDMAN, JOSEPH
1419 COUNTY LINE RD
BRYN MAWR, PA 19010                                   P‐0011387 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MORRISON, ALLISON
2824 NORTHTOWN PLACE
MIDLAND, TX 79705                                    P‐0011388 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUNTLOW ASSOCIATES, INC.
55 NORTH STREET
WILLIAMSTOWN, MA 01267                               P‐0011389 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YERK, TRENT
YERK, TRENT
998 LAWRENCE WAY
ALLENTOWN, PA 18104                                  P‐0011390 11/1/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
PLANTIER, PATRICIA
1020 CEDAR LANE
BURLINGTON, NJ 08016                                 P‐0011391 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLETER, ROCHELLE S.
10 RUBY LANE
EAST HANOVER, NJ 07936                               P‐0011392 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRACE, PATRICK L.
446 DANETTE DRIVE
BRIGHTON, MI 48114                                   P‐0011393 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANT, JEFFREY T.
GRANT, KAREN G.
P.O. BOX 153
SHELL, WY 82441                                      P‐0011394 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, CASSONDRA M.
2375 SUMAC WAY
WOODBURY, MN 55125                                   P‐0011395 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDRINGTON, NATASHA
601 SHELLEY LANE
WEXFORD, PA 15090                                    P‐0011396 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLOAN, TAREENA N.
132 SWEDESBORO AVE
GIBBSTOWN, NJ 08027                                  P‐0011397 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINE, MARK
MARINE, VALERIE
9472 E BLUE HILLS CT
VAIL, AZ 85641                                       P‐0011398 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONURA, MICHAEL E.
93 FOSTERTOWN ROAD
NEWBURGH, NY 12550                                   P‐0011399 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVRARD, JOHN G.
EVRARD, ALLISON H.
2700 BRENTWOOD DRIVE
COOPERSBURG, PA 18036                                P‐0011400 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRIZANEK, DAIAMY
932 SQUIRES AVE
ENDICOTT, NY 13760                                   P‐0011401 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOYER, DANIEL P.
VOYER, MELISSA A.
5 YORKWAY
DUNDALK, MD 21222                                    P‐0011402 11/1/2017      TK Holdings Inc., et al .                   $11,990.00                                                                                   $11,990.00
HALL, DAVID R.
15 N BEACON ST
UNIT UL02
ALLSTON, MA 02134                                    P‐0011403 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
SLODYSKO, GERIANN H.
SLODYSKO, GREGORY C.
264 PARSONAGE STREET
HUGHESTOWN, PA 18640                                  P‐0011404 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIGGINS, KATHLEEN L.
11 SOUTH TRAIL
ST PETERS, MO 63376                                   P‐0011405 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARESCA, RALPH P.
1200 ST. CHARLES PLACE #801
PEMBROKE PINES, FL 33026                              P‐0011406 11/1/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
EVRARD, JOHN G.
EVRARD, ALLISON H.
2700 BRENTWOOD DRIVE
COOPERSBURG, PA 18036                                 P‐0011407 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNEEN, JASON S.
KNEEN, JASON
STRYKER MEDICAL
1429 BRADFORD STREET
PORTAGE, MI 49024                                     P‐0011408 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STREETER, TIMOTHY C.
1761 HARLEY DRIVE
ANN ARBOR, MI 48103                                   P‐0011409 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHISNANT, EDMUND R.
16 COLLEEN WAY
NEPTUNE, NJ 07753                                     P‐0011410 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIGGINS, LARRY W.
11 SOUTH TRAIL
ST PETERS, MO 63376                                   P‐0011411 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YUDKIN, ROBERT
46 PEQUOT ROAD
PLAINVILLE                                            P‐0011412 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRICKEY, PAUL S.
3202 HIGHWAY 431
SPRING HILL, TN 37174                                 P‐0011413 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, JANICE E.
ROBERTS, BRIAN A.
8 RAMSDELL TERRACE
GAITHERSBURF, MD 20878                                P‐0011414 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOLEZAL, DOROTHY M.
3005 WEST 43RD ST
MINNEAPOLIS, MN 55410                                 P‐0011415 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCULLAR, JAMES B.
212 IOWA AVE
SALINA, KS 67401                                      P‐0011416 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORBY, JAMES R.
GORBY, TAMARA L.
1245 WILNA ST
WASHINGTON, PA 15301                                  P‐0011417 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRISCOLL, PATRICK J.
9 ROMAN AVE
DANVERS                                               P‐0011418 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELBY, MICHAEL D.
123 CATTAIL CREEK DR
KERRVILLE, TX 78028                                   P‐0011419 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GREEN, ANDREW C.
22 WATERBURY ROAD
REDFIELD, NY 13437                                   P‐0011420 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POPPE, BRIAN D.
311 S 51ST ST
OMAHA, NE 68132                                      P‐0011421 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHEY, REBECCA M.
173 SPRINKLE BRANCH ROAD
MARSHALL, NC 28753                                   P‐0011422 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELBY, MICGAEL D.
123 CATTAIL CREEK DR
KERRVILLE, TX 78028                                  P‐0011423 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IARROBINO JR, AGOSTINO
20 CEDAR HILL DR.
WESTWOOD, MA 02090                                   P‐0011424 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUILES, MELANIE
600 FORREST STREET
FOUNTAIN HILL, PA 18015                              P‐0011425 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURGESS, TODD
TODD BURGESS
7206 WESTLAKE CIR.
BELLEVILLE, MI 48111                                 P‐0011426 11/1/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
PATTERSON, SHEILA F.
315 BLOOMINGROVE DRIVE
TROY, NY 12180‐8615                                  P‐0011427 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, JAIME L.
329 SOUTHERN WALK CIRCLE
GRAY, GA 31032                                       P‐0011428 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAVITZ, CLARK D.
4090 FALLS RIDGE DRIVE
ALPHARETTA, GA 30022                                 P‐0011429 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAUGHAN, THOMAS E.
VAUGHAN, ANNE‐LAUREL
253 EVERGREEN DRIVE
BAY HEAD, NJ 08742                                   P‐0011430 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINDLAY, JEROME O.
17625 LONGVIEW LANE
OLNEY, MD 20832                                      P‐0011431 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, CHRISTOPHER
710 N. 4TH ST.
UNIT 107
MINNEAPOLIS, MN 55401                                P‐0011432 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIGRA, MARY M.
123 MAROY DRIVE
SOUTH AMHERST, OH 44001                              P‐0011433 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RILEY, JODIE L.
400 HIGHWAY 15 UNIT A
MYRTLE BEACH, SC 29577                               P‐0011434 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARCOS, ANGELA A.
204 MADDOX DRIVE #64
FAIRFIELD BAY, AR 72088                              P‐0011435 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEHAR, SAUL A.
551 MORENO ROAD
WYNNEWOOD, PA 19096                                  P‐0011436 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RIDER, ADAM
112 ARROWHEAD DR
BOWLING GREEN, KY 42103                              P‐0011437 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERSON, MARISA C.
8888 BROOKWOOD ST 101
YPSILANTI, MI 48197                                  P‐0011438 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHILL, KENNETH G.
SCHILL, NANCY A.
11223 SHADYBROOK DR.
TAPA, FL 33625                                       P‐0011439 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONDEK, JOSEPH K.
664 SMITH AVE
SHARON, PA 16146                                     P‐0011440 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENSPOON, JENNIFER
28 BELLEVUE AVENUE
DOBBS FERRY, NY 10522                                P‐0011441 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRISON, RICHARD D.
12 OAKDALE AVE
ABERDEEN, MD 21001                                   P‐0011442 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENSPOON, DAVID
28 BELLEVUE AVENUE
DOBBS FERRY, NY 10522                                P‐0011443 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNAPP, WILLIAM A.
441 E. MAIN ST.
PEN ARGYL, PA 18072                                  P‐0011444 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWELL, LOIS A.
79 SNOWBERRY RD
BALLSTON SPA, NY 12020                               P‐0011445 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIGGS, COREY
1200 HARRISON CREEK BLVD APT.2208
PETERSBURG, VA 23803                                 P‐0011446 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANKS, ANTHONY D.
8621 HORNADY DRIVE
INDIANAPOLIS, IN 46239‐8022                          P‐0011447 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAHL, TOM L.
13 WESTWIND DRIVE
NORWALK, OH 44857                                    P‐0011448 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUDSON, MARCUS C.
HUDSON, SHERRICKA K.
3290 TERRY ASHLEY LANE
SNELLVILLE, GA 30039                                 P‐0011449 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYA, AMPARO
1503 BALD EAGLE COURT
FORT COLLINS, CO 80524‐1795                          P‐0011450 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENDER, BROOK B.
3900 FAIRFAX DRIVE
UNIT 2015
ARLINGTON, VA 22203                                  P‐0011451 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORGIA, JOSEPH
2615 S. JESSUP STREET
PHILADELPHIA, PA 19148                               P‐0011452 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAIK, RAJENDRA
26 BEACON STREET APT 14B
BURLINGTON, MA 01803                                 P‐0011453 11/1/2017      TK Holdings Inc., et al .                       $86.00                                                                                       $86.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
NAMI, CLAUDIA
P.O.BOX 10
MOUNT AIRY, MD 21771                                 P‐0011454 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REESE, DEBRA J.
136 OAK MILLS CROSSING
WEST HENRIETTA, NY 14586                             P‐0011455 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICKERSON, LARRY S.
1360 W MARKET ST
AKRON, OH 44313                                      P‐0011456 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROUGH, FABIOLA I.
140 ASPENGROVE LANE
HAMILTON, MT 59840                                   P‐0011457 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAVERS, ANGELA D.
4940 WOLF CREEK DR
ATLANTA, GA 30331                                    P‐0011458 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCRAW, ROBIN R.
4412 TARTAN ARCH
CHESAPEAKE, VA 23321                                 P‐0011459 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, WANDA D.
1052 BREEDERS CUP DRIVE
FORT WORTH, TX 76179                                 P‐0011460 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENARDO, KENNETH C.
108 CRANSTON DRIVE
CORAOPOLIS, PA 15108‐3262                            P‐0011461 11/1/2017      TK Holdings Inc., et al .                     $856.00                                                                                       $856.00
PETTY, JOSIE C.
805 W MURPHY RD.
COLLEYVILLE, TX 76034                                P‐0011462 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAPYTOWSKI, CATHERINE M.
2304 CHESTNUT BLVD
CUYAHOGA FALLS, OH 44223                             P‐0011463 11/1/2017      TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
JOHNSON, EVELYN R.
P.O. BOX 320501
BIRMINGHAM, AL 35232                                 P‐0011464 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGNER, MICK E.
1219 26TH AVENUE
ROCK ISLAND, IL 61201                                P‐0011465 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARROW, MATTHEW W.
1011 HARMONY LANE
HENDERSONVILLE, TN 37075                             P‐0011466 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUNTLOW & ASSOCIATES, INC.
55 NORTH STREET
WILLIAMSTOWN, MA 01267                               P‐0011467 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDMAN, JOSEPH
1419 COUNTY LINE RD
BRYN MAWR, PA 19010                                  P‐0011468 11/1/2017      TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
WILLIAMS, GARY R.
126 SEABOARD AVENUE
HIRAM, GA 30141                                      P‐0011469 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JALONACK, NICHOLAS
JALONACK, ANITA
2470 SCHADT DRIVE E
MAPLEWOOD, MN 55119                                  P‐0011470 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STITT, JOYCE L.
NO ADDRESS PROVIDED
                                                     P‐0011471 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
PINA, ADRIANE
53 PEARL ST
#3
STOUGHTON, MA 02072                                   P‐0011472 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEYHARD, WILLIAM R.
NEYHARD, MARYBETH
12 HARMIL ROAD
BROOMALL, PA 19008                                    P‐0011473 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARNER, JENNIFER J.
8572 SUMAC DRIVE
BALDWINSVILLE, NY 13027                               P‐0011474 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIDDIQUI, FAIZAN A.
3624 BANKS CIRCLE
PLANO, TX 75025                                       P‐0011475 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICKERT, JASON S.
27900 WILD PLUM LN
WELCH, MN 55089                                       P‐0011476 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COBB, ERIC S.
4019 WHITE OAK TRACE DRIVE
BATON ROUGE, LA 70817                                 P‐0011477 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOK FLETCHER, SUZANNE M.
309 GLENMAURA DRIVE
MOOSIC, PA 18507                                      P‐0011478 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUNSTALL, LATORA
601 E VILLAGE GREEN DR #161
MOBILE, AL 36609                                      P‐0011479 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAVANAUGH, DANIEL J.
KAVANAUGH, PHYLLI B.
57 SZETELA DRIVE
CHICOPEE, MA 01013                                    P‐0011480 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUMM, PAT M.
2213 W VERNON CT
PEORIA, IL 61604                                      P‐0011481 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLLETTINO, LAURA A.
609 CLOVERDALE
ANN ARBOR, MI 48105                                   P‐0011482 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADEDEJI, RAMSON‐WISE
6711 S UTICA AVE
TULSA, OK 74136                                       P‐0011483 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAKRISON, DANNELLE M.
1 WATERWAY AVE
#1405
THE WOODLANDS, TX 77380                               P‐0011484 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, KELLY
1205 FORT HUNTER ROAD
SCHENECTADY, NY 12303                                 P‐0011485 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, ELLEN M.
1145 HWY 81
LOGANVILLE, GA 30052                                  P‐0011486 11/1/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WIK, STEVEN R.
131 STONY RD
LANCASTER, NY 14086                                   P‐0011487 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDUN, BABATUNDE T.
9737 BON HAVEN LANE
OWINGS MILLS, MD 21117                                P‐0011488 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
HALLMAN, RONALD S.
2512 POCATY ROAD
CHESAPEAKE, VA 23322                                  P‐0011489 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RILEY, GLENN K.
RILEY, LINDA M.
37131 EAST STONEY RUN
SELBYVILLE, DE 19975                                  P‐0011490 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, JERRY O.
412 GRASSHOPPER COURT
ORANGEBURG, SC 29118                                  P‐0011491 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AINTRAZI, DEBORAH A.
205 LAKELAND DR
MATTHEWS, NC 28104                                    P‐0011492 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERWIN, RAYMOND
41 E EMAUS ST
MIDDLETOWN, PA 17057                                  P‐0011493 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASTERS, ROCHELLE M.
71266 BIRMINGHAM RD N
LORE CITY, OH 43755                                   P‐0011494 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLUMBERG, MARCY E.
950 VERNON ROAD
BEXLEY, OH 43209                                      P‐0011495 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IACOVONE, DOMINICK D.
7143 ASHVIEW LANE
LIBERTY TOWNSHIP, OH 45011                            P‐0011496 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IVANOV, ANDREI
2255 SHOWERS DRIVE, APT.363
MOUNTAIN VIEW, CA 94040                               P‐0011497 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORSE, THOMAS R.
1201 BASSETT LANE
CHESTER SPRINGS, PA 19425                             P‐0011498 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAVANAUGH, DANIEL J.
KAVANAUGH, PHYLLIS B.
57 SZETELA DRIVE
CHICOPEE, MA 01013                                    P‐0011499 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARREL, ADINA
79 ERNEST ROAD
STANFORDVILLE, NY 12581                               P‐0011500 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCANNNON, TAMMY C.
603 MATHENY CUT
MARTINEZ, GA 30907                                    P‐0011501 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, DESTINY L.
103 GARRETT RD.
NEWARK, DE 19713                                      P‐0011502 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEVEREUX, PATRICIA J.
NO ADDRESS PROVIDED
                                                      P‐0011503 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AINTRAZI, GHASSAN S.
205 LAKELAND DR.
MATTHEWS, NC 28104                                    P‐0011504 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IVANOV, ANDREI
2255 SHOWERS DRIVE, APT. 363
MOUNTAIN VIEW, CA 94040                               P‐0011505 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WELSH, PATRICIA M.
801 OLSON AVE.
UNIT E
APPLETON, WI 54914                                    P‐0011506 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOYEL, GERARD M.
6228 NEWPORT PL
FREDERICK, MD 21701                                   P‐0011507 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANCHARD, BRUCE D.
BLANCHARD, CYNTHIA M.
640 SPRING HILL BAY
WOODBURY, MN 55125                                    P‐0011508 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HYBERTSON, CHRISTOPHER L.
HYBERTSON, KARI A.
7200 W 61ST ST
SIOUX FALLS, SD 57106                                 P‐0011509 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARY, ELIZABETH E.
CARY, ROBERT J.
847 LUDWIG DRIVE
GAHANNA, OH 43230                                     P‐0011510 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN‐SHAKIR, MARILYN
343 PRIMROSE AVE
SYRACUSE, NY 13205                                    P‐0011511 11/1/2017      TK Holdings Inc., et al .                   $28,000.00                                                                                   $28,000.00
SILVER, HEATHER L.
376 DICKSON POINT RD
PLATTSBURGH, NY 12901                                 P‐0011512 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAN, WAYNE Y.
1809 FENWICKE COURT
HUNTINGTOWN, MD 20639                                 P‐0011513 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, LILLIAM
WASHINGTON, DESHAWN
26 BELDEN AVE APT 2305
NORWALK, CT 06850                                     P‐0011514 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANZAR, SERENA
530 E 23RD STREET, APT 14A
NEW YORK, NY 10010                                    P‐0011515 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOCH, GLENN R.
5 NEWPORT DRIVE, #1200
HILTON HEAD ISLA, SC 29928                            P‐0011516 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, LILLIAM
26 BELDEN AVE APT 2305
NORWALK, CT 06850                                     P‐0011517 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAN, STEPHANIE C.
1809 FENWICKE COURT
HUNTINGTOWN, MD 20639                                 P‐0011518 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RHYMER, JODIE L.
170 EMMANUEL CHURCH RD
BAKERSVILLE, NC 28705                                 P‐0011519 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEPITONE, PAUL C.
16858 AMBERWOOD DR.
BATON ROUGE, LA 70810                                 P‐0011520 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRENNAN, WILLIAM S.
1713 CHANTILLY LANE
CHESTER SPRINGS, PA 19425                             P‐0011521 11/1/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GEIGER, EUGENE L.
GEIGER, NANCY M.
29863 JOHN J. WILLIAMS HWY
MILLSBORO, DE 19966                                  P‐0011522 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVESTRO, RICHARD J.
P.O. BOX 268
BUZZARDS BAY, MA 02532                               P‐0011523 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARMSTRONG, TAMMY L.
P O BOX 3965
RAPID CITY, SD 57709                                 P‐0011524 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARRISH, GIBBS A.
2955 GRANDVIEW ROAD
TYRONE, PA 16686                                     P‐0011525 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADDRA, SHARON C.
MADDRA, JEFFERY W.
2761 SOUTH SPOTSWOOD TRAIL
LOUISA, VA 23093                                     P‐0011526 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIRSCH, JUDY
1191 HEMLOCK FARMS
LORDS VALLEY`, PA 18428                              P‐0011527 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAPTAN, SHARON M.
6478 CARSON DRIVE
EAST SYRACUSE, NY 13057                              P‐0011528 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, MICHAEL
316 S CHERRY ST
WELLINGTON, KS 67152                                 P‐0011529 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
(BRANDES) SWEENE, MICHELLE M.
21071 COUNTY ROAD 9
LESTER PRAIRIE, MN 55354                             P‐0011530 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOK, BILLY C.
364 LAKEVIEW RD.
MILO, ME 04463                                       P‐0011531 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COCOZZA, ANTHONY J.
44 STALLION TRAIL
BREWSTER, NY 10509                                   P‐0011532 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKUJINA, GUNA M.
2300 E 22ND ST
MINNEAPOLIS, MN 55406                                P‐0011533 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARRISH, GIBBS A.
PARRISH, JAYNE E.
2955 GRANDVIEW ROAD
TYRONE, PA 16686                                     P‐0011534 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRUSE, DELWYN D.
KRUSE, BARBARA J.
2800 67TH ST.
DES MOINES, IA 50322                                 P‐0011535 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACKIE, GERALD
900 BRICKELL KEY BLVD
#3004
MIAMI, FL 33131                                      P‐0011536 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOCK, WILLIAM A.
PRECISION STEEL DETAILING INC
15171 S. HARRELLS FERRY ROAD
BATON ROUGE, LA 70816                                P‐0011537 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MCDONALD, AMY E.
5605 WHINNERY ROAD
HANOVERTON, OH 44423‐9652                            P‐0011538 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLE, GARY S.
11 HALL AVENUE
JOHNSTOWN, NY 12095                                  P‐0011539 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIEDERICH, JACK I.
NO ADDRESS PROVIDED
                                                     P‐0011540 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY, JOB W.
HARVEY, KAREN L.
410 LAUREL PINE RD
CRESCO, PA 18326                                     P‐0011541 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MIMI W.
3268 ARGONNE DR NW
ATLANTA, GA 30305                                    P‐0011542 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GANNON, KELLY A.
205 RAILROAD AVE. APT 2
NORWOOD, NJ 07648                                    P‐0011543 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUTO SALE LLC, GREENLAND
JABER, JABER N.
GREENLAND AUTO SALE LLC
2523 RUSSELLVILLE RD
BOWLING GREEN, KY 42101                              P‐0011544 11/1/2017      TK Holdings Inc., et al .                    $6,500.00                                                                                    $6,500.00
DAVIS, WARREN M.
5 LOREE BROOK LANE
MORRISTOWN, NJ 07960                                 P‐0011545 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWENSON, JACK C.
784 JUNE TERRACE
LAKE ZURICH, IL 60047                                P‐0011546 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, KRISTY M.
RODRIGUEZ, DANNY
111 CABANEL DRIVE
MAUMELLE, AR 72113                                   P‐0011547 11/1/2017      TK Holdings Inc., et al .                    $9,431.00                                                                                    $9,431.00
ALLEN, MISTY A.
ALLEN, MISTY ANN PADDACK
12807 VIDORRA VISTA DR
SAN ANTONIO, TX 78216                                P‐0011548 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLARRUBIA, DONALD J.
1049 SENA DRIVE
METAIRIE, LA 70005                                   P‐0011549 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLOVIS, LAURA S.
2038 HONEYBELL AVE
HAINES CITY, FL 33844                                P‐0011550 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, BELINDA R.
200 RIVER BIRCH TRACE
FAYETTEVILLE, GA 30215                               P‐0011551 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOBIN, GERALD F.
TOBIN, GERALD
7674 S MISSION CT
FRANKLIN, WI 53132                                   P‐0011552 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, CECILEY D.
17313 TARKINGTON AVENUE
CLEVELAND, OH 44128                                  P‐0011553 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WILLIAMS, KELVIN L.
WILLIAMS, KELVIN L.
7019 LAKE JACKSON DRIVE
ARLINGTON, TX 76002                                 P‐0011554 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, LARRY
638 HERITAGE DRIVE
RINGGOLD, GA 30736                                  P‐0011555 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, THOMAS L.
SHADOAN, ANNE H.
P.O. BOX 8694
103 ANCHOR POINT
HORSESHOE BAY, TX 78657                             P‐0011556 11/1/2017      TK Holdings Inc., et al .                   $23,000.00                                                                                   $23,000.00
MBAH, EMMANUEL C.
THOMAS, KAYOLINE
42 PAERDEGT 9TH STREET APT1
BROOKLYN, NY 11236                                  P‐0011557 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLS, NIKKI K.
6328 CTH K
AMHERST, WI 54406                                   P‐0011558 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNEED, JODY L.
1069 E. US HWY 160
EVERTON, MO 65646                                   P‐0011559 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAJINESS, LORRAINE K.
817 LINDA DR
TOLEDO, OH 43612                                    P‐0011560 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORES, FELIX L.
MERCEDES BENZ NORTH HAVEN CT
14 ALENIER ST
HAMDEN, CT 06514                                    P‐0011561 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUPTA, KUNAL
50 DOWNEY DRIVE
APT A
MANCHESTER, CT 06040                                P‐0011562 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANDERWALL, FRANCESCA L.
2126 W CONCORD LN
ADDISON, IL 60101                                   P‐0011563 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AAGENES, KYLE C.
1846 WALLACE AVENUE
DULUTH, MN 55803                                    P‐0011564 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVERETH, MICHAEL G.
1680 HESS ROAD
APPLETON, NY 14008                                  P‐0011565 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LATHROP, APRIL S.
6890 COUNTY ROAD 32
CANANDAIGUA, NY 14424                               P‐0011566 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUPTA, KUNAL
50 DOWNEY DRIVE
APT A
MANCHESTER, CT 06040                                P‐0011567 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELCH, JOHN P.
3800 JEFFERSON BLVD.
VIRGINIA BEACH, VA 23455                            P‐0011568 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERZNIK, WILLIAM
1073 RADIO ROAD
LITTLE EGG HARBO, NJ 08087                          P‐0011569 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LARKIN, CANDICE R.
4240 EAGLE ROCK CT
VIRGINIA BEACH, VA 23456                             P‐0011570 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERBERGER, JOSEPH C.
8826 BIRDWOOD RD.
HOUSTON, TX 77074                                    P‐0011571 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AAGENES, KYLE C.
1846 WALLACE AVENUE
DULUTH, MN 55803                                     P‐0011572 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VASILOFF, JOHN R.
9831 DORIS ST
LIVONIA, MI 48150                                    P‐0011573 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LABROSE, SUSAN S.
1334 HOLUB RD
SCHULENBURG, TX 78956                                P‐0011574 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, EDWARD J.
5 CENTRAL AVENUE
PORTSMOUTH, NH 03801                                 P‐0011575 11/1/2017      TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
METHUEN, SHARON K.
7006 SUMMIT WAY
WATCHUNG, NJ 07069                                   P‐0011576 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUSCEWICZ, JANINE P.
615 WEYMOUTH CT
NEW HOPE, PA 18938                                   P‐0011577 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORBIN, DAPHNE P.
402 WHITLOCK COURT
BELLE MEAD, NJ 08502                                 P‐0011578 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
READING, KEVIN F.
330 JESSICA DRIVE
MIDDLETOWN, DE 19709                                 P‐0011579 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMPTON, JACINDA N.
1359 S KILDARE AVE APT 2
CHICAGO, IL 60623                                    P‐0011580 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYNARD, GAIL
2 VIC‐LIN DRIVE
SALISBURY, MA 01952                                  P‐0011581 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RITCHIE, PATRICIA L.
81 GREEN VALLEY ROAD
STRATFORD, CT 06614                                  P‐0011582 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEUTSCHENDORF, JAMES S.
12009 HUNTING TWEED DR..
OWINGS MILLS, MD 21117                               P‐0011583 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUSCEWICZ, THOMAS
SUSCEWICZ, JANINE
615 WEYMOUTH CT
NEW HOPE, PA 18938                                   P‐0011584 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERS, SHERYL A.
9952 SCHICHTEL RD.
KINGSLEY, MI 49649                                   P‐0011585 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUKER, AMY C.
104 LINDA CIRCLE
DOWNINGTOWN, PA 19335                                P‐0011586 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLMON, THOMAS L.
2807 HAZY HILLSIDE CT
KINGWOOD, TX 77345                                   P‐0011587 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LANNING, KARI L.
7748 WALLACE LANE
DENVER, NC 28037                                     P‐0011588 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEINKE, DANIEL
168 LAPE RD
RENSSELAER, NY 12144                                 P‐0011589 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, BELINDA R.
200 RIVER BIRCH TRACE
FEVILLEAYETT, GA 30215                               P‐0011590 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, DANIEL R.
1248 QUAKER HILL DRIVE
ALEXANDRIA, VA 22314                                 P‐0011591 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECKER, TRINA S.
1600 MILTWOOD RD
COLUMBUS, OH 43227‐3554                              P‐0011592 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PREIS, CAROLYN J.
213 WEATHERFIELD PL
LANCASTER, PA 17603                                  P‐0011593 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATANE, MARK J.
20 SOUTHVIEW DR.
S. BURLINGTON, VT 05403                              P‐0011594 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLETTI, CASEY J.
10129 JEFFERSON HIGHWAY
BATON ROUGE, LA 70809                                P‐0011595 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RITCHIE, PATRICIA L.
81 GREEN VALLEY ROAD
STRATFORD, CT 06614                                  P‐0011596 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONDECK, MARIAN L.
83 LINTEL DRIVE
MCMURRAY, PA 15317‐3646                              P‐0011597 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARGENT, ELIZABETH K.
H C 2 BOX 652
ZALMA, MO 63787                                      P‐0011598 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASILIUS, RICHARD E.
163 BUNKER HILL ROAD
WYOMING, PA 18644                                    P‐0011599 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEGOLIA, PETER C.
1800 MORLEY WAY
SANTA ROSA, CA 95404                                 P‐0011600 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYAN, HUGH C.
POB 1799
NIXA, MO 65714                                       P‐0011601 11/1/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
LAMONT, BARRY M.
100 ANDERER LANE
UNIT 1
WEST ROXBURY, MA 02132‐2229                          P‐0011602 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUIST, GERALD
11 NANCY DRIVE
RUTLAND, MA 01543                                    P‐0011603 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINE, WILLIAM D.
MARTINE, ARLENE C.
7701 NE 72ND TERRACE
KANSAS CITY, MO 64158                                P‐0011604 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEGOLIA, PETER C.
1800 MORLEY WAY
SANTA ROSA, CA 95404                                 P‐0011605 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WITTY, LADONNA R.
4714 VINEYARD CT SE
SMYRNA, GA 30082                                     P‐0011606 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRICKLAND, LISA W.
63 REAM RD
STEVENS, PA 17578                                    P‐0011607 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFKA, JOSEPH
1201 ERNEST STREET
TEMPERANCE, MI 48182                                 P‐0011608 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONALDSON, ANNA M.
DONALDSON, JOHN K.
680 WEBSTER PT DR
CHAPIN, SC 29036                                     P‐0011609 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARSONS, GAYLAND B.
PARSONS, SHARON S.
1005 WESTWOOD DRIVE
SAINT JOSEPH, MI 49085                               P‐0011610 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, PATRICIA P.
16223 SANDY PATH LN
HOUSTON, TX 77084                                    P‐0011611 11/1/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MARNIE, HARRY
421 MOORE PLACE
DOVER, DE 19901                                      P‐0011612 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, BRUCE J.
17 MILAN RD.
WOODBRIDGE, CT 06525‐1809                            P‐0011613 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYES, ROGER
3463 STEVENSON MILL ROAD
RUSSELLVILLE, KY 42276                               P‐0011614 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEROTH, RICHARD C.
3880 RIVER RIDGE RD.
PFAFFTOWN, NC 27040                                  P‐0011615 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAES, DAVID
2406 SOUTH LYNNRAE LANE
WICHITA, KS 67210                                    P‐0011616 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSE, AARON K.
BUTTON, JEFFREY E.
6257 EAGLE CROSSING ST
LAS VEGAS, NV 89130                                  P‐0011617 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAYATILAKE, CHAMINDA I.
1920 VALLEY STREAM DRIVE
ROCKVILLE, MD 20851                                  P‐0011618 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, RHONDA L.
5323 HWY N
#405
COTTLEVILLE, MO 63338                                P‐0011619 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONG, KRISTEN M.
507 W 19TH ST
SCHUYLER, NE 68661                                   P‐0011620 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLOODAS, THEODORE
5212 S. MONITOR AVE
CHICAGO, IL 60638                                    P‐0011621 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, LAURIE L.
494 CHESTNUT RIDGE ROAD
PENN RUN, PA 15765                                   P‐0011622 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
KUTZ, KORY M.
7645 THOMAS AVE
RICHFIELD, MN 55423                                   P‐0011623 11/1/2017      TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
MIRANDA, EDGAR
10721 N BILTMORE TERRACE
CITRUS SPRINGS, FL 34434                              P‐0011624 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAXTER, LEVI J.
2903 JENNY PLACE
PHILADELPHIA, PA 19136‐1010                           P‐0011625 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KSHIRSAGAR, KEDAR S.
KSHIRSAGAR, DOLLY K.
2027 SAFARI HEIGHTS TRAIL
EAGAN, MN 55122                                       P‐0011626 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, REYNOLDS T.
221 FOOTHILL DRIVE
WOODSTOCK, GA 30188                                   P‐0011627 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEYTON, JAYNE
11846 BASILE ROAD
PHILADELPHIA, PA 19154                                P‐0011628 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHARP, AMY N.
725 S LAFAYETTE DRIVE
#322
LAFAYETTE, CO 80026                                   P‐0011629 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHENS, WINIFRED W.
9518 BRIARWOOD LANE
BELLEVUE, NE 68147‐2305                               P‐0011630 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLIGNANO, PATRICIA A.
45 CHARLES ST.
WEYMOUTH, MA 02189                                    P‐0011631 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LETA, DAVID E.
1380 S CHANCELLOR WAY
SALT LAKE CITY, UT 84108                              P‐0011632 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTOS, YVONNE M.
120 DOOLITTLE
SAN ANTONIO, TX 78211                                 P‐0011633 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JANIS, LAURA L.
10901 S. KENNETH AVENUE
OAK LAWN, IL 60453                                    P‐0011634 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABRAMS, OMAR M.
1011 SEYMOUR AVENUE
UTICA, NY 13501                                       P‐0011635 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALLURUPALLI, RAGHU
9513 SHANTHA COURT
LAUREL, MD 20723                                      P‐0011636 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, STEVEN M.
162 LEEWARD CT
VALLEJO, CA 94591                                     P‐0011637 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STREET, MARGOT B.
STREET, THOMAS W.
2012 BEARING LANE
KISSIMMEE, FL 34744                                   P‐0011638 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGLETARY, VERNETTE
1832 MONTIER STREET
PITTSBURGH, PA 15221                                  P‐0011639 11/1/2017      TK Holdings Inc., et al .                    $4,900.00                                                                                    $4,900.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ALBANO, DANIEL T.
622 LOCUST PLACE
SEWICKLEY, PA 15143                                 P‐0011640 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LETA, DAVID E.
1380 S CHANCELLOR WAY
SALT LAKE CITY, UT 84108                            P‐0011641 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALL, THOMAS W.
333 PAUL DRIVE
KIMBERLY, WI 54136                                  P‐0011642 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, ELLEN G.
P.O. BOX 903
MACON, MS 39341                                     P‐0011643 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALASSI, JANET L.
GALASSI, DAVID J.
2236 HUNTERS POINT ROAD SW
NISSWA, MN 56468                                    P‐0011644 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TWARDY, HEATHER R.
19 CHURCH ST
UNION DALE, PA 18470                                P‐0011645 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIEDA, CAROL E.
5633 HAMILTON ROAD
PITTSBURGH, PA 15236                                P‐0011646 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, LAKEISHA M.
13151 BRIGGS LN
AMITE                                               P‐0011647 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JANIS, LAURA L.
10901 S. KENNETH AVENUE
OAK LAWN, IL 60453                                  P‐0011648 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDDIE'S GARAGE DOORS INC.
4109 WACO RD
COLUMBIA, MO 65202                                  P‐0011649 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALLURUPALLI, RAGHU
9513 SHANTHA COURT
LAUREL, MD 20723                                    P‐0011650 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIAZ, JOSE L.
475 4TH ST
FOND DU LAC, WI 54935                               P‐0011651 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIES, JUSTIN B.
21 MANTON RD
SWAMPSCOTT, MA                                      P‐0011652 11/1/2017      TK Holdings Inc., et al .                     $650.00                                                                                       $650.00
CREEK, JOHN R.
130 COUNTRY LANE
ALTO, NM 88312                                      P‐0011653 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARSONS, CHARLES C.
2905 SNOWMASS CT.
RICHARDSON, TX 75082                                P‐0011654 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHERWOOD, ROBERT L.
17845 6780 RD
MONTROSE, CO 81401                                  P‐0011655 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLETTE, RICHARD R.
GILLETTE, GRETCHEN E.
91 MEDINAH DRIVE
READING, PA 19607‐3398                              P‐0011656 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGLETON, LANISHA S.
60 TRELAWNEY LANE
COVINGTON, GA 30016                                 P‐0011657 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WHITE, RUTH D.
26‐B WEST 4TH AVENUE
LEXINGTON, NC 27292                                   P‐0011658 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLUSH, MARITA
102 HEDDEN TERRACE 2A
NEWARK, NJ 07108                                      P‐0011659 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LENNON, CARA B.
14 LAMPS GLOW PLACE
THE WOODLANDS, TX 77382                               P‐0011660 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILBRATH, STEPHEN D.
2740 ROXBURGH DRIVE
ROSWELL, GA 30076                                     P‐0011661 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKJONSBY, DANIEL J.
SKJONSBY, JULIE A.
4246 CHESTNUT LANE NE
PRIOR LAKE, MN 55372‐1184                             P‐0011662 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGLETON, LANISHA S.
60 TRELAWNEY LANE
COVINGTON, GA 30016                                   P‐0011663 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, JOHN
DUNCAN, JOHN
39 GRANTHAM GLEN
SAN ANTONIO, TX 78257                                 P‐0011664 11/1/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
DIAL PARRISH, AIMEE K.
2513 NW 59TH STREET
OKLAHOMA CITY, OK 73112                               P‐0011665 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VARELA, GILBERT
75 MATTLE RD
KETCHIKAN, AK 99901                                   P‐0011666 11/1/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
JABER, JABER N.
JABER, JABER N.
GREENLAND AUTO SALE LLC
2523 RUSSELLVILLE RD
BOWLING GREEN, KY 42101                               P‐0011667 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOVIS, TAD H.
211 ISLAND GREEN ROAD
GOOSE CREEK, SC 29445                                 P‐0011668 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, JAMES L.
1641 N SONORAN DR.
SAINT GEORGE, UT 84770                                P‐0011669 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGLETON, LANISHA S.
60 TRELAWNEY LANE
COVINGTON, GA 30016                                   P‐0011670 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVARADO, STEPHANI L.
1928 5TH AVE #1
KEARNEY, NE 68845                                     P‐0011671 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HATLEY, TRACEY F.
20007 WINFORD CTY
SPRING, TX 77379                                      P‐0011672 11/1/2017      TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
WELGE, EVELYN
101 PRIOR PL
YONKERS, NY 10710                                     P‐0011673 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JEFFREY
MILLER, LINDA
216 STRATFORD DR
GENEVA, IL 60134                                      P‐0011674 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
SALAMON, KATHLEEN
7600 CHIPMUNK LANE
NASHVILLE, TN 37221                                   P‐0011675 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYONS, SCOTT E.
86 KNOX BLVD.
MARLTON, NJ 08053‐2921                                P‐0011676 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HICKMON, DEBRA
4029 POPLAR STREET
PHILADELPHIA, PA 19104                                P‐0011677 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, MARTHA J.
21 CEDAR STREET
WENHAM, MA 01984                                      P‐0011678 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWMAN, JILL M.
2290 FOX ROAD
JEFFERSONVILLE, KY 40337                              P‐0011679 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RELLA, VICTOR J.
236 KNICKERBOCKER AVE
STAMFORD, CT 06907                                    P‐0011680 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEEKS, CARLIN P.
14360 STRATHMOOR
DETROIT                                               P‐0011681 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUITMEYER, CYNTHIA J.
QUITMEYER, CYNTHIA J.
355 W MLK BLVD, APT 1619
CHARLOTTE, NC 28202                                   P‐0011682 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLUMMER, MARKETTE
1205 CHRISTOPHER LN
LEWISVILLE, TX 75077                                  P‐0011683 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, VALENTINA
965 NE 143 STREET
NORTH MIAMI, FL 33161                                 P‐0011684 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, PHILLIP C.
HALL, KAREN L.
48 TWP RD. 276 SOUTH
SOUTH POINT, OH 45680                                 P‐0011685 11/1/2017      TK Holdings Inc., et al .                     $700.00                                                                                       $700.00
BARKLEY, JEROD A.
1931 BROOKRIDGE DRIVE
PLOVER, WI 54467                                      P‐0011686 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARADISO, RICHARD A.
3176 SILVER SANDS CIR
#101
VIRGINIA BEACH, VA 23451                              P‐0011687 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLYNE, ADRIAN B.
8404 STARSTRUCK AVE.
LAS VEGAS, NV 89143                                   P‐0011688 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRATER, MARY K.
16 WINANT AVE.
RIDGEFIELD PARK, NJ 07660                             P‐0011689 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERNKAS, ERIC C.
7945 BARLUM DR
INDIANAPOLIS, IN 46240                                P‐0011690 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JEFFREY
MILLER, LINDA
216 STRATFORD DR
GENEVA, IL 60134                                      P‐0011691 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
JONES, MICHAEL A.
5670 GLEN ECHO DR
HOWELL, MI 48843                                   P‐0011692 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOBIN, GERALD F.
TOBIN, GERALD
7674 S MISSION CT
FRANKLIN, WI 53132                                 P‐0011693 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANESS, TERRY W.
130 SHADOWBROOK CT.
EASLEY, SC 29640                                   P‐0011694 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGLETERRY, FRANCINE S.
SINGLETERRY, RONALD C.
598 MOORE ROAD
COOKEVILLE, TN 38506                               P‐0011695 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NASSAR, KHALIL Q.
213 GLYNN LANE
NORTH LITTLE ROCK
, AR 72117                                         P‐0011696 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHENNE, CHERYL A.
1925 DAVIS ROAD
WEST FALLS, NY 14170                               P‐0011697 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYERS, LEYLA I.
8711 SECOND COURT
DISPUTANTA, VA 23842                               P‐0011698 11/1/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
LAYTON, RONALD R.
128 CONNY LANE
EVANS CITY, PA 16033                               P‐0011699 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARSONS, JOHN Q.
2615 KINGSLEY LN
BOWIE, MD 20715                                    P‐0011700 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, MAURICE L.
324 FEATHERSTONE DR
CHARLOTTE, NC 28213                                P‐0011701 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUZINSKI, MATTHEW J.
945 R.T.9
CASTLETON, NY 12033                                P‐0011702 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYNE, BRIAN K.
1578 RICKMAN MONTEREY HWY
RICKMAN, TN 38580                                  P‐0011703 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYERS, LEYLA I.
8711 SECOND COURT
DISPUTANTA, VA 23842                               P‐0011704 11/1/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
COLEMAN, PATRICIA M.
2339 BELLAROSA CIRCLE
WEST PALM BEACH, FL 33411                          P‐0011705 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLER, MARTHA
RIPLEY, RONALD K.
6064 POST OAK GREEN LN
HOUSTON, TX 77055‐5500                             P‐0011706 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALIS, CELIA D.
303 BELLEVUE RIDGE
LOCUST GROVE, GA 30248                             P‐0011707 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VESEI, ERZSEBET S.
15077 STILLBROOKE DRIVE
STRONGSVILLE, OH 44136                             P‐0011708 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HUGHES, PATRICIA L.
1109 OAKHURST DR.
SLATINGTON, PA 18080                                 P‐0011709 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINKLE, JASON P.
6693 BENNETT SCHOOL HOUSE RD
                                                     P‐0011710 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, MICHAEL
106 OVAL LANE
NORTH WALES, PA 19454                                P‐0011711 11/1/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
LUJANO, ANTHONY R.
9605 ABIGAIL WAY
RENO, NV 89521                                       P‐0011712 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRITT, PAUL R.
2348 TETON RD
BIRMINGHAM, AL 35216                                 P‐0011713 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULVER, MARY A.
P.O. BOX 371
865 EUFAULA, HWY
FORT GAINES, GA 39851                                P‐0011714 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COUGHLIN JR., THOMAS R.
6836 WEST RIDGE DRIVE
BRIGHTON, MI 48116                                   P‐0011715 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DARRELL
6248 HARD BARGAIN CIRCLE
INDIAN HEAD, MD 20640                                P‐0011716 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEARS, DAMEKA L.
5509 FRUITWOOD DR
MCKINNEY, TX 75070                                   P‐0011717 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGRAW, MARY J.
15 SOUTHWIND CT.
BERLIN, MD 21811                                     P‐0011718 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIPTON, KENNETH I.
53 COUNTY ROAD 12A
RIDGWAY, CO 81432                                    P‐0011719 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAPRAROLA, CAROL
70 ORMONT ROAD
CHATHAM, NJ 07928                                    P‐0011720 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELLISH, NICHOLAS C.
5 CATKIN DRIVE
SOUTH BURLINGTON, VT 05403‐3001                      P‐0011721 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERNIER, SHERRI H.
7300 SW 16TH STREET
PLANTATION, FL 33317                                 P‐0011722 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFF, LOIS
378 LEGEND VIEW COURT
WALES, WI 53183                                      P‐0011723 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAYTON, RONALD R.
128 CONNY LANE
EVANS CITY, PA                                       P‐0011724 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, JAMES W.
THOMPSON, DEBORAH M.
24 ALDEN STREET
PALMER, MA 01069                                     P‐0011725 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SHIRES, CARRIE L.
SHIRES, ROBERT O.
1020 UNION CHAPEL RD.
FORDLAND, MO 65652                                   P‐0011726 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSENBERG, JOYCE C.
3145 POWDER RIVER DRIVE
EUGENE, OR 97408                                     P‐0011727 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEMPO, MICHAEL J.
1264 MOFFIT AVE
BETHLEHEM, PA 18018‐1606                             P‐0011728 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEARS, DAMEKA L.
5509 FRUITWOOD DR
MCKINNEY, TX 75070                                   P‐0011729 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLASEK, GEORGE J.
2809 VAN HISE AVE
MADISON, WI 53705                                    P‐0011730 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EASSA, CYNTHIA L.
700 N. 3RD AVENUE
ST. CHARLES, IL 60174                                P‐0011731 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENES, CHELSEY L.
BENES, LEE M.
39061 ROAD 734
CURTIS, NE 69025                                     P‐0011732 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIMA, MAGDALENO
317 MALLIE ST
CONROE, TX 77301                                     P‐0011733 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JAMES A.
3212 COACH LANTERN AVE
WAKE FOREST, NC 27587                                P‐0011734 11/1/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
KELLER, MARTHA H.
RIPLEY, RONALD K.
6064 POST OAK GREEN LN
HOUSTON, TX 77055‐5500                               P‐0011735 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENES, CHELSEY L.
BENES, LEE M.
39061 ROAD 734
CURTIS, NE 69025                                     P‐0011736 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOCK, DAVID M.
P.O. BOX 1808
CANDLER, NC 28715‐1808                               P‐0011737 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARREN, SHARON K.
8260 WEST RIVER ROAD
APT 304
BROOKLYN PARK, MN 55444                              P‐0011738 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EASSA, JOSHUA E.
700 N. 3RD AVENUE
ST. CHARLES, IL 60174                                P‐0011739 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOCK, DAVID M.
P.O. BOX 1808
CANDLER, NC 28715‐1808                               P‐0011740 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANTON, BRIAN J.
STANTON, DANA L.
8380 GATEWATER DR.
MONTICELLO, MN 55362                                 P‐0011741 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
SINGLETON, JOHN
310 W 10TH ST.
PORTAGEVILLE, MO 63873                                P‐0011742 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINKLER, PATRICIA A.
11850 TEMPEST HARBOR LOOP
VENICE, FL 34292                                      P‐0011743 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFRAM, MELANIE E.
1331 NEELEY DRIVE
HOUSTON, TX 77055                                     P‐0011744 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUDDE, SR TRUSTE, JOSEPH E.
7267 MACBETH DR
DUBLIN, OH 43016                                      P‐0011745 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACINTYRE, DAVID S.
32 NELSON STREET
CLINTON, MA 01510‐2913                                P‐0011746 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAUGIER, YVETTE M.
33 W. ONTARIO ST., #47E
CHICAGO, IL 60654                                     P‐0011747 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIM, JEONGHWA L.
KIM, TAE W.
4402 GLENN ROSE ST.
FAIRFAX, VA 22032                                     P‐0011748 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORO, ANTHONY T.
FLORO, ARMELINDA E.
106 CURRY CT
MOON TOWNSHIP, PA 15108                               P‐0011749 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TITUS BUDDE, TAMMY G.
7267 MACBETH DR
DUBLIN
DUBLIN, OH 43016                                      P‐0011750 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIPMAN, RICHARD P.
136 LIVINGSTONE AVE.
BEVERLY, MA 01915                                     P‐0011751 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELSCH, DALE
120 INDIANWOOD DR.
STROUDSBURG, PA 18360                                 P‐0011752 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDDY, RAJ
4592 BARBADOS LOOP
CLERMONT, FL 34711                                    P‐0011753 11/1/2017      TK Holdings Inc., et al .                   $13,000.00                                                                                   $13,000.00
ROMANO, MARIAN P.
207 WELCH WAY
WESTFIELD, NJ 07090‐1703                              P‐0011754 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALPERIN, DAVID P.
415 RIVER GROVE LANE
VERNON HILLS, IL 60061                                P‐0011755 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDDY, VANESSA
640 FOXCROFT DR
LEXINGTON, NC 27292                                   P‐0011756 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUBLE, JULIE R.
AUBLE, WILLIAM P.
111 WHITE LAKE CT
CARY, NC 27519‐9510                                   P‐0011757 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLER, MARTHA H.
RIPLEY, RONALD K.
6064 POST OAK GREEN LN
HOUSTON, TX 77055‐5500                                P‐0011758 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HEALD, JANE E.
5701 PINE ISLAND DR NE
COSMTOCK PARK, MI                                    P‐0011759 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORMAN, GEORGE D.
4075 WEST FIRST ST
LUDINGTON, MI 49431                                  P‐0011760 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FALLON, VIRGINIA
17115 P ST
OMAHA, NE 68135                                      P‐0011761 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEIKER, STEVEN J.
525 GERMAN
HAYSVILLE, KS 67060                                  P‐0011762 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATRAMBONE, GREGORY
LAW OFFICE OF G. CATRAMBONE
10555 W. CERMAK RD.
STE.2
WESTCHESTER, IL 60154                                P‐0011763 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENDOZA, PAUL
MENDOZA, MELISSA
4201 DREW AVE N
ROBBINSDALE, MN 55422                                P‐0011764 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOEBEL, STEPHAN C.
4970 CORCHEL HLS DR NE
ROCKFORD, MI 49341                                   P‐0011765 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EASSA, EMAD M.
700 N. 3RD AVENUE
ST. CHARLES, IL 60174                                P‐0011766 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKIE, TANIYA F.
200 BROOKHILL W
APT 9 I
LEXINGTON, SC 29072                                  P‐0011767 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUMMEL, KIM E.
210 MARSH LANDING DRIVE, #202
CARROLLTON, VA 23314                                 P‐0011768 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENDOZA, PAUL C.
4201 DREW AVE N
ROBBINSDALE, MN 55422                                P‐0011769 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWELL, JOHN
2100 MILFIELD CIRCLE
SNELLVILLE, GA 30078                                 P‐0011770 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILORENZO, NORMA E.
10045 COLORADO LANE N.
BROOKLYN PARK, MN 55445                              P‐0011771 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDOVAL, MANUEL A.
SANDOVAL, NANCY
29 RADCLIFFE AVE
WATERBURY, CT 06705                                  P‐0011772 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWELL, JOHN
FOSTER, MEGAN
2100 MILFIELD CIRCLE
SNELLVILLE, GA 30078                                 P‐0011773 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARGENTIERE, JANICE F.
1178 LAKE AVE. #10
CLARK, NJ 07066                                      P‐0011774 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HENLEY, RUTH
7458 CRESCENT BEND COVE
STONE MOUNTAIN, GA 30087                            P‐0011775 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSES, JEFFREY S.
1122 STATION SQUARE BLVD
LANSDALE, PA 19446                                  P‐0011776 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOIS, JOSEH
36 FRESNO RD
ROCHESTER, NY 14623                                 P‐0011777 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARRABEE, PAMELA G.
39 VIOLET COURT
HOILMDEL, NJ 07733                                  P‐0011778 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEORGE, DAVID A.
3476 RHODODENDRON DRIVE
NORTHAMPTON, PA 18067                               P‐0011779 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEVELAND, RUBY T.
15300 SPRING GARDEN ST
DETROIT, MI 48205                                   P‐0011780 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOTO, CRYSTAL
ARROWOOD, SANDRA
1800 SLAUGHTER RD LOT 93
MADISON, AL 35758                                   P‐0011781 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAES, DAVID
2406 SOUTH LYNNRAE LANE
WICHITA, KS 67210                                   P‐0011782 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWELL, JOHN P.
FOSTER, MEGAN
2100 MILFIELD CIRCLE
SNELLVILLE, GA 30084                                P‐0011783 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCREYNOLDS, MICHAEL M.
MCREYNOLDS, KELLY L.
4532 HARVARD RD
LAWRENCE, KS 66049                                  P‐0011784 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILBUR, JR, ROBERT J.
7255 ALAFIA RIDGE LOOP
RIVERVIEW, FL 33569                                 P‐0011785 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, TERRI
PATTERSON, TERRI
250 SHAFFER RD
BEAVER FALLS 15010                                  P‐0011786 11/1/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
CHAE, MOAE
31 FOXHURST RD
DIX HILLS, NY 11746                                 P‐0011787 11/1/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
WILMERS, FREDERICK J.
WILMERS, CAROL A.
588 WINDSOR ROAD
INVERNESS, IL 60067                                 P‐0011788 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOSKINS, MILTON
40012 AMBER COVE
HAMILTON, MS 39746                                  P‐0011789 11/1/2017      TK Holdings Inc., et al .                    $6,500.00                                                                                    $6,500.00
BERRY, BILL C.
BERRY, KAREN S.
104 W. ORIOLE DR.
HIGHLAND HAVEN, TX 78654                            P‐0011790 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
KNEISS, EDGAR M.
279 SLOCUM AVE
EXETER,, PA 18643                                   P‐0011791 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAURER, LARA N.
28 TANAGER RD
APT. 2804
MONROE, NY 10950                                    P‐0011792 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEMIRJIAN, ERIN L.
10 VENETIAN WAY # 802
MIAMI BEACH, FL 33139                               P‐0011793 11/1/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
LEAVITT, NELSON S.
4385 OAKWOOD
OKEMOS, MI 48864                                    P‐0011794 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARRIS, SUSAN J.
3950 S TOWN RD
NEW BERLIN, WI 53151                                P‐0011795 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRARA, JOSEPH A.
1699 N TERRY ST
SPACE # 70
EUGENE, OR 97402                                    P‐0011796 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHANNON, DAVID T.
1328 E. LIND RD.
TUCSON, AZ 85719‐2242                               P‐0011797 11/1/2017      TK Holdings Inc., et al .                     $240.00                                                                                       $240.00
KEECK, NANCY A.
KEECK JR, WALTER R.
119 ASHLEY LANE
LEHIGHTON, PA 18235                                 P‐0011798 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHELEHEDA, HENRY R.
HENRY R SHELEHEDA
BOX 17
SLICKVILLE, PA 15684                                P‐0011799 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGAN, MICHAEL A.
1849 NEW JERSEY ST
FAIRFIELD, CA 94533                                 P‐0011800 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN, RONALD J.
4248 RIPKEN CIRCLE EAST
JACKSONVILLE, FL 32224                              P‐0011801 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTY, ROBERT W.
1710 WILLOWBROOK DRIVE SE
HUNTSVILLE, AL 35802                                P‐0011802 11/1/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
WILBUR, JR, ROBERT J.
WILBUR, ROSEANNE B.
7255 ALAFIA RIDGE LOOP
RIVERVIEW, FL 33569                                 P‐0011803 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHANNON, DAVID T.
1328 E LIND RD
TUCSON, AZ 85719                                    P‐0011804 11/1/2017      TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
QUILES, ADRIAN
1279 EAST POPLAR STREET
YORK, PA 17403                                      P‐0011805 11/1/2017      TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
CHAPEK, SANDRA L.
1222 MARIONOLA WAY
PINOLE, CA 94564                                    P‐0011806 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SULLIVAN, ANNA J.
647 GRATTAN ST
APT 3
CHICOPEE, MA 01020                                   P‐0011807 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENSON, CHRIS
3979 FARM LANE
MONROVIA, MD 21770                                   P‐0011808 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STORM, KIMBERLY R.
18506 E SUNNYDALE DR
QUEEN CREEK, AZ 85142                                P‐0011809 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIEGELBEIN, MATT
5622 E 48TH CIR N.
BEL AIRE, KS 67220                                   P‐0011810 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, DEBORAH W.
5 DUCK POND LANE
FOUNTAIN INN, SC 29644                               P‐0011811 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, RENEE M.
59 WATAUGA STREET #1
ASHEVILLE, NC 28801                                  P‐0011812 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NETHERLAND‐ROBER, SANDY L.
550 TEMPLE ROAD
FERRIDAY, LA 71334                                   P‐0011813 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOBASZEK, MARSHALL
SOBASZEK, JOY
15738 HARRISON
ALLEN PARK, MI 48101                                 P‐0011814 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOWAK, RYAN M.
1018 ARIANNA ST NW
GRAND RAPIDS, MI 49504                               P‐0011815 11/1/2017      TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
HILBERT, ANDREA L.
1107 BROADWAY, APT 16E
NEW YORK, NY 10010                                   P‐0011816 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, BRIAN G.
WILLIAMS, SHARI L.
26 REILLY ROAD
EASTON, CT 06612                                     P‐0011817 11/1/2017      TK Holdings Inc., et al .                   $45,471.36                                                                                   $45,471.36
CORSELLO, RICHARD M.
209 RUSSELL COURT
EFFORT, PA 18330                                     P‐0011818 11/1/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
HORNE, JOHN M.
1690 RIVERBEND RD
ALLENTOWN, PA 18103                                  P‐0011819 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUMGARDNER, JR, THOMAS
7098 NW 49TH STREET
LAUDERHILL, FL 33319                                 P‐0011820 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STORM, KIMBERLY R.
18506 E SUNNYDALE DR
QUEEN CREEK, AZ 85142                                P‐0011821 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABDALLAT, ADEL A.
1060 CALLE PARQUE
EL PASO, TX 79912                                    P‐0011822 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAHL, JOHN E.
3600 WOODDALE AVE S
UNIT 308
ST LOUIS PARK, MN 55416                              P‐0011823 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
UNTERBRINK, RACHEL E.
RACHEL E. UNTERBRINK
677 VILLAGE GREEN BLVD E.
MARS, PA 16046                                       P‐0011824 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANF, LAWRENCE P.
1449 WYNKOOP ST. #604
DENVER, CO 80202                                     P‐0011825 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUXBURY, JULIE A.
1981 MYSTIC RIDGE AVE N
STILLWATER, MN 55082‐1774                            P‐0011826 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANTON, BRIAN J.
STANTON, DANA L.
8380 GATEWATER DR.
MONTICELLO, MN 55362                                 P‐0011827 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILDER, JEREMY
613 E UNION ST
ROCKTON, IL 61072                                    P‐0011828 11/1/2017      TK Holdings Inc., et al .                    $2,400.00                                                                                    $2,400.00
MARTIN, CHRISTOPHER S.
MARTIN, PATRICIA A.
1044 E. BAYVIEW BLVD.
NORFOLK, VA 23503                                    P‐0011829 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWAB, CATHLEEN M.
44678 N.HILLS DR
H72
NORTHVILLE, MI 48167                                 P‐0011830 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSEE, DOUGLAS R.
6365 BOTKINS RD
NEW KNOXVILLE, OH 45871                              P‐0011831 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAK, THOMAS
846 DALMALLEY LANE
COPPELL, TX 75019                                    P‐0011832 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARMS, KELLY D.
208 W 10TH AVE
YUMA, CO 80759                                       P‐0011833 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEWELL, DAVID M.
1206 RITTERSKAMP AVE
VINCENNES, IN 47591                                  P‐0011834 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANTON, BRIAN J.
STANTON, DANA L.
8380 GATEWATER DR.
MONTICELLO, MN 55362                                 P‐0011835 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEATH, ANN M.
2 FLANDERS STREET
JOHNSTON, RI 02919                                   P‐0011836 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, FORREST S.
550 TEMPLE ROAD
FERRIDAY, LA 71334                                   P‐0011837 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUDEH, ALA A.
16875 INTERLACHEN BLVD
LAKEVILLE, MN 55044                                  P‐0011838 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRNE, JEFFREY J.
1003 BAYSHORE CT
SALISBURY, MD 21804                                  P‐0011839 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REASONS, DAVID L.
306 RENEE RD
DOVER, TN 37058                                      P‐0011840 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
EISEN, RICHARD S.
EISEN, HARRIET G.
1002 ROSEA COURT
LELAND, NC 28451                                     P‐0011841 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRECH, JEFFREY M.
1302 CARDINAL LANE
ROUND ROCK, TX 78681                                 P‐0011842 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSHINSKI, JOHANNA M.
1055 HIDDEN CREEK DR
NORTON SHORES, MI 49441‐6701                         P‐0011843 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, VANESSA
1308 FACTORY STREET
LORAIN, OH 44055                                     P‐0011844 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERNIER, SHERRI H.
7300 SW 16TH STREET
PLANTATION, FL 33317                                 P‐0011845 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, NORMAN B.
USAA
1100 DENIO AVE
GILROY, CA 95020                                     P‐0011846 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARDNER, JOLEEN F.
325 KENT HILL ROAD
WOODHULL, NY 14898                                   P‐0011847 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOSZER, GERALD S.
2200 NORTH CENTRAL ROAD, 6E
FORT LEE, NJ 07024                                   P‐0011848 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOUGHTY, KRISTIN
266 BUCKLAND AVE.
ROCHESTER, NY 14618                                  P‐0011849 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCANDLESS, RUSSELL C.
GAGEBY, SUSANN K.
7700 COUNTY ROAD 26
MAPLE PLAIN, MN 55359                                P‐0011850 11/1/2017      TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
TREBOLD, DAVID A.
1609 OAK ST
BEATRICE, NE 68310                                   P‐0011851 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERNIER, SHERRI H.
7300 SW 16TH STREET
PLANTATION, FL 33317                                 P‐0011852 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, QIU
WANG, FEN Y.
1703 BENJAMIN DR
MURFREESBORO, TN 37128                               P‐0011853 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTTREY, RANDY G.
BUTTREY, AMY L.
1807 POINTE COURT
LEBANON, TN 37087                                    P‐0011854 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHENNE, CHERYL A.
1925 DAVIS ROAD
WEST FALLS, NY 14170                                 P‐0011855 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOZLOWSKI, CYNTHIA M.
40389 MT. VERNON DRIVE
STERLING HEIGHTS, MI 48313                           P‐0011856 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADOMAITIENE, LORETA
1519 HARVEST LN
WESTMONT, IL 60559                                   P‐0011857 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GERA, TIMOTHY F.
1 PEACEFUL DRIVE
ITHACA, NY 14850                                     P‐0011858 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTUCCI, GREGORY C.
4905 HAYSBORO WAY
CUMMING, GA 30040                                    P‐0011859 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEEKS, CARLIN P.
14360 STRATHMOOR
DETROIT, MI 48227                                    P‐0011860 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OCHSNER, PATRICIA S.
255 HIDEAWAY HILLS DR
HOT SPRINGS, AR 71901                                P‐0011861 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANKOFF, JOSHUA
266 BUCKLAND AVE.
ROCHESTER, NY 14618                                  P‐0011862 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOYLE, ANNETTE C.
994 SLEEPING ROCK CT
WINTER SPRINGS, FL 32708                             P‐0011863 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UDANY, BRIAN
1150 JOHNSON DRIVE
APT 3111
BUFFALO GROVE, IL 60089                              P‐0011864 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHARPENTIER, CHANDA
1066 GREENS LOOP
CHESHIRE, CT 06410                                   P‐0011865 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUX, LORRIE A.
1925 DAVIS ROAD
WEST FALLS, NY 14170                                 P‐0011866 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHERNE, DAVID A.
CHERNE, ADRIENNE L.
10908 SYCAMORE DRIVE
CUPERTINO, CA 95014                                  P‐0011867 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEARY, DARYL T.
CLEARY, ANN M.
1541 SYLVAN WAY
LOUISVILLE, KY 40205                                 P‐0011868 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLA, ROGER J.
15 HIGHWOOD RD.
CANTON, CT 06019                                     P‐0011869 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCANDLESS, RUSSELL C.
GAGEBY, SUSANN K.
7700 COUNTY ROAD 26
MAPLE PLAIN, MN 55359                                P‐0011870 11/1/2017      TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
GABURO, SHERRIE
2102 E OAK ROAD M6
VINELAND, NJ 08361                                   P‐0011871 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEFURYSZYN, MICHAEL
80 WALLING AVE
BELFORD, NJ 07718                                    P‐0011872 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEBELLIS, DAVID A.
DEBELLIS, JANICE L.
157 WINDWALKER ROAD
BUENA VISTA, CO 81211                                P‐0011873 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANCOCK BEAN, CASSANDRA F.
831 KINGSTON SPRINGS WAY
LAS VEGAS, NV 89123                                  P‐0011874 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                          Current Priority   Current Secured                        Current Admin    Total Current
                      Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                           Amount                                                  Amount
MOSS, KENNETH W.
MOSS, CATHERINE P.
117 PARKVIEW DRIVE
NATCHEZ, MS 39120                                       P‐0011875 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NASH, SHADRACK
10311 W SALEM DR.
SUNCITY, AZ 85351                                       P‐0011876 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEAGLY, PHILIP S.
2107 EASTERN AVE
#2
COVINGTON, KY 41014                                     P‐0011877 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUX, LORRIE A.
1925 DAVIS ROAD
WEST FALLS, NY 14170                                    P‐0011878 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOPKINS, QUINTON
HOPKINS, QUINTON Q.
314 SOUTHWIND DR
MARION, AR 72364‐3002                                   P‐0011879 11/1/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
CARTE, PATRICIA M.
36 BROOKVIEW DR
FREMONT, OH 43420                                       P‐0011880 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURRELL, JAMES K.
774 LAWRENCE AV
EAST AURORA, NY 14052                                   P‐0011881 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEMAN, LISA
2613 BEAUCHAMP ST.
HOUSTON, TX 77009                                       P‐0011882 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEAGLY, PHILIP S.
2107 EASTERN AVE
#2
COVINGTON, KY 41014                                     P‐0011883 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFMAN, JR., JOSEPH J.
JOSEPH J. HOFFMAN, JR., P.A.
35 HUNTER STREET
P. O. BOX 7
WOODBURY, NJ 08096                                      P‐0011884 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUSANA, PAUL
32 MEADOW RD
TRUMBULL, CT 06611                                      P‐0011885 11/1/2017      TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
WILBUR, JR, ROBERT J.
7255 ALAFIA RIDGE LOOP
RIVERVIEW, FL 33569                                     P‐0011886 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, RUSSELL B.
22657 E 855 RD
PARK HILL, OK 74451                                     P‐0011887 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUFFY, BRADFORD J.
11 TREMONT AVE
BETHEL, CT 06801                                        P‐0011888 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
METZ, ALINA J.
3129 NE 59TH TERRACE #3
KANSAS CITY, MO 64119                                   P‐0011889 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDLING, JOEL T.
JOEL T. REDLING
99 HUNTINGTON HEIGHTS
HONEOYE FALLS, NY 14472                                 P‐0011890 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BATELMAN, ROBYN L.
NO ADDRESS PROVIDED
                                                      P‐0011891 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMBERLIN, EDWARD M.
1409 N FRANKLIN ST.
GASTONIA, NC 28054                                    P‐0011892 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANN, CLAUDIA R.
2611 N CUERNAVACA DRIVE
AUSTIN, TX 78733                                      P‐0011893 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SISNEROS, CYNTHIA A.
5004 ROCKCRESS DR NW
ALBUQUERQUE, NM 87120                                 P‐0011894 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAY, SCOTT M.
663 LAKE CRYSTAL DRIVE
WAYNESBORO, GA 30830                                  P‐0011895 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANGERS, ROBERT R.
MANGERS, SOPHIE D.
842 OMAHA DR.
YORKVILLE,, IL 60560                                  P‐0011896 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUILBERT, SHAWNA M.
P.O. BOX 1
9732 HWY 30
ROLLA, ND 58367                                       P‐0011897 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ODUM, GLORIA V.
333 MARTHA AVENUE
MANSFIELD, LA 71052                                   P‐0011898 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELNIAK, ERICA L.
WELNIAK, MIKE E.
12621 PATRICK CIR
OMAHA, NE 68164                                       P‐0011899 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHANNON, JEROME
SHANNON, JOANNE
317 THACHER STREET
MILTON, MA 02186                                      P‐0011900 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSHALL, KATIE L.
2400 PARK AVENUE
SAINT CHARLES, MO 63301                               P‐0011901 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNHART, TRISHA L.
204 KING STREET
FULTON, MO 65251                                      P‐0011902 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARRY, LAWANNA C.
530 OAK
DOUGLASS, KS 67039                                    P‐0011903 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOUCH, RALEIGH A.
7223 MEDALLION DRIVE
LANSING, MI 48917                                     P‐0011904 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLOVER, TAMYRA B.
7303 SPRING CYPRESS RD # 413
SPRING, TX 77379                                      P‐0011905 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANGHLYN, WANDA J.
P O BOX 763953
DALLAS, TX 75376                                      P‐0011906 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOHANNES, ROBEL
3134 FAIRLAND RD
SILVER SPRING, MD 20904                               P‐0011907 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
REARDON, JOHN
160 WILLIAMS RD
WALLINGFORD, CT 06492                                P‐0011908 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANSKY, DAVID L.
1143 CREEK WAY
MOUNTAIN VIEW, CA 94040                              P‐0011909 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEDERSON, KEITH A.
657 HERON COURT NORTH
OAKDALE, MN 55128                                    P‐0011910 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALONE, LORI L.
1611 E. 37TH STREET
TULSA, OK 74105                                      P‐0011911 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, GABRIELLE F.
WATSON/LANPHIER, KELLEY F.
6027 LAFAYETTE AVE
OMAHA, NE 68132                                      P‐0011912 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLUP, MICKEY A.
P.O. BOX 1256
WINNSBORO, LA 71295                                  P‐0011913 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, JOE W.
2210 MORENA STREET APT C
NASHVILLE, TN 37208                                  P‐0011914 11/1/2017      TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
SODER, NATASHA D.
SODER, MARK J.
16 MARSHWOOD DRIVE
COLLEGEVILLE, PA 19426                               P‐0011915 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACKEY, JENNIFER
8990 197TH ST W
LAKEVILLE, MN 55044                                  P‐0011916 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PREVOR, WILLIAM
3 FALCON DRIVE
SUITE 202
HOLLAND, PA 18966                                    P‐0011917 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRESSMAN, LAURIE E.
150 EAST WATER STREET
MUNCY, PA 17756                                      P‐0011918 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VEITH, CHRISTOPHER M.
1419 WILEY STREET
HOLLYWOOD, FL 33020                                  P‐0011919 11/1/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
SMITH, CAROL D.
P.O. BOX 4553
FRANKFORT, KY 40601                                  P‐0011920 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISS, MARK B.
4 BEECHWOOD DR
LAWRENCE, NY 11559                                   P‐0011921 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INGERSOLL, DENA
450 HWY H
SALEM, MO 65560                                      P‐0011922 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAZERIAN, SCOTT H.
4017 STILESBORO WAY
KENNESAW, GA 30152                                   P‐0011923 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAOUCH, DENYSE M.
1002 S. 18TH STREET
FORT DODGE, IA 50501                                 P‐0011924 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                           Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                            Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                     Amount
BURG, FRED
62 GOLF STREET
WEST LONG BRANCH, NJ 07764                            P‐0011925 11/1/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
WEMYSS, GEORGE S.
115 LAKEHILL RD #338
BURNT HILLS, NY 12027                                 P‐0011926 11/1/2017      TK Holdings Inc., et al .                          $0.00                                                                                         $0.00
BARKER, REBECCA M.
REBECCA M. BARKER
13433 COUNTISS ROAD
ABINGDON, VA 24210‐8707                               P‐0011927 11/1/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
EASSA, CYNTHIA L.
700 N. 3RD AVENUE
ST. CHARLES, IL 60174                                 P‐0011928 11/1/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
KIM, YALE
600 BURLINGTON CIRCLE APT 306
WHEELING, IL 60090                                    P‐0011929 11/1/2017      TK Holdings Inc., et al .                          $0.00                                                                                         $0.00
WIGTON, KIM C.
616 WALNUT ST.
PACIFIC GROVE, CA 93950                               P‐0011930 11/1/2017      TK Holdings Inc., et al .                          $0.00                                                                                         $0.00
SCHARTZ, CHRIS A.
705 SW ESTATES DRIVE
LEES SUMMIT, MO 64082                                 P‐0011931 11/1/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
ELSTER, WILLIAM W.
12 N SANCHEZ CT
HOT SPRINGS VILL, AR 71909                            P‐0011932 11/1/2017      TK Holdings Inc., et al .                          $0.00                                                                                         $0.00
COLOSI, RICHARD A.
NO ADDRESS PROVIDED
                                                      P‐0011933 11/1/2017      TK Holdings Inc., et al .                          $0.00                                                                                         $0.00
COGLEY, JAMES R.
1361 STONEPOINTE DRIVE
WADSWORTH, OH 44281                                   P‐0011934 11/1/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
LAW, CHRISTOPHER R.
LAW, DONNA J.
2155 W 700 S #44
UNIT 44
CEDAR CITY, UT 84720                                  P‐0011935 11/1/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
ORTIZ, AUREA
14212 CORONADO DR
SPRING HILL, FL 34609                                 P‐0011936 11/1/2017      TK Holdings Inc., et al .                          $0.00                                                                                         $0.00
MURPHY, BERNADINE K.
360 S PASEO CHICO
GREEN VALLEY, AZ 85614‐2716                           P‐0011937 11/1/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
WHITMORE, FRANK
5200 ASHER AVE.
LITTLE ROCK, AR 72204                                 P‐0011938 11/1/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
IPPOLITO, STEPHANIE M.
900 LEGACY PARK DR APT 815
LAWRENCEVILLE, GA 30043                               P‐0011939 11/1/2017      TK Holdings Inc., et al .                          $0.00                                                                                         $0.00
LUTHER, ROBIN R.
4418 S. ANDES WAY
AURORA, CO 80015                                      P‐0011940 11/1/2017      TK Holdings Inc., et al .                 $100,000,000.00                                                                              $100,000,000.00
HARRIS, MARTIN H.
HARRIS, HEATHER M.
841 W 2300 N
CLINTON, UT 84015                                     P‐0011941 11/1/2017      TK Holdings Inc., et al .                          $0.00                                                                                         $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
GOMEZ, CONSUELO S.
1122 SUNGLO
SAN ANTONIO, TX 78221                                 P‐0011942 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEENAN, SUZANNE
7930 ESTERO BLVD UNIT 809
FORT MYERS BEACH, FL 33931                            P‐0011943 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEIN, ALAN L.
HEIN, YVONNE J.
5858 S.W. SANTA FE LAKE RD
AGUSTA, KS 67010                                      P‐0011944 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RALSTON, CLAYTON V.
705 26TH PLACE
SPRINGFIELD, OR 97477                                 P‐0011945 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KASEE, MARILYN R.
20184 W RIVER RD
GRAND RAPIDS, OH 43522                                P‐0011946 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROFT, SALLY A.
601 OLD HICKORY BLVD.
UNIT 80
BRENTWOOD, TN 37027                                   P‐0011947 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWIFT, BRIAN J.
HOOVER, ANNE P.
1708 4TH AVE SE
SIOUX CENTER, IA 51250                                P‐0011948 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, RICKEY J.
LEWIS, VALERIEL L.
117 LAWN AVE
KANSAS CITY, MO                                       P‐0011949 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SICKINGER, PETER X.
SICKINGER, VICTOIRE J.
3224 MONUMENT AVENUE
RICHMOND, VA 23221                                    P‐0011950 11/1/2017      TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
KEENAN, JEFFRIE
7930 ESTERO BLVD, UNIT 809
FORT MYERS BEACH, FL 33931                            P‐0011951 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVID, STEPHEN R.
DAVID, CYNTHIA L.
15780 HIGHVIEW DRIVE
APPLE VALLEY, MN 55124‐7097                           P‐0011952 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, RICKEY J.
LEWIS, VALERIE L.
117 LAWN AVE
KANSAS CITY, MO 64123                                 P‐0011953 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEDERSON, KEITH A.
KEITH PEDERSON
657 HERON COURT NORTH
OAKDALE, MN 55128                                     P‐0011954 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, DELOIS
1483 DEMO AVE
MEMPHIS, TN 38116                                     P‐0011955 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, LARRY R.
1221 WATERVIEW WAY
ESSEX, MD 21221                                       P‐0011956 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAVANAUGH, THOMAS A.
21 COLLEGE COURT
LARKSPUR, CA 94939                                    P‐0011957 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BASSIG, DONNA
545 THORNHILL DRIVE
#218
CAROL STREAM, IL 60188                               P‐0011958 11/1/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BURKE SOLANO, MEGAN J.
1500 W ALASKA PL
N/A
DENVER, CO 80223                                     P‐0011959 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIN, ROBYN R.
KLEIN, JOSHUA F.
1613 MARIETTA WAY
VIRGINIA BEACH, VA 23456                             P‐0011960 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUKEHART, LARRY A.
LUKEHART, RENEE F.
158 CAMBRIDGE DRIVE
HARWICK, PA 15049                                    P‐0011961 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DANIEL P.
46 NORTON DRIVE
NORWOOD, MA 02062                                    P‐0011962 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERMAN, MILFORD G.
HERMAN, SHARON R.
11 16TH ST SE
LE MARS, IA 51031                                    P‐0011963 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRES, JOHN W.
18490 W. VERDIN RD.
GOODYEAR, AZ 85338                                   P‐0011964 11/1/2017      TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
STOVER, MICHELLE R.
96 BARRE DRIVE
LANCASTER, PA 17601                                  P‐0011965 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAVANAUGH, BARBARA E.
21 COLLEGE COURT
LARKSPUR, CA 94939‐1007                              P‐0011966 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRIVER, SUSAN R.
228 TWIN ISLAND DR
BLUE EYE, MO 65611                                   P‐0011967 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFF, FREDERICK M.
HOFF, DEANNA F.
2090 SOUTH GRAY DRIVE
LAKEWOOD, CO 80227                                   P‐0011968 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINKLE, TIMOTHY C.
2200 CATHARINE ST.
HUNTINGDON, PA 16652                                 P‐0011969 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, RONNETTE Y.
POST OFFICE BOX 1664
AVONDALE, AZ 85323                                   P‐0011970 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENNO, LANCE D.
310 BRADFORD PKWY
SYRACUSE, NY 13224                                   P‐0011971 11/1/2017      TK Holdings Inc., et al .                     $216.67                                                                                       $216.67
YATES, GARY L.
YATES, JILL L.
17396 W 77TH PL
ARVADA, CO 80007                                     P‐0011972 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORREST, THOMAS R.
CLEMENTS, LYNNE M.
2716 GULF DR., APT. 105
HOLMES BEACH, FL 34217‐2151                          P‐0011973 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
HENRION, LYNNE A.
8615 LAUREL TRAILS DR
HOUSTON, TX 77095                                     P‐0011974 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, AMY M.
10377 MARSH VIEW LN
ARBOR VITAE, WI 54568                                 P‐0011975 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOREEN, DOUGLAS
1269 DALGARVEN DRIVE
APEX, NC 27502                                        P‐0011976 11/1/2017      TK Holdings Inc., et al .                     $999.00                                                                                       $999.00
BENTON, STEVEN L.
BENTON, FRAN E.
13739 S SELINA DR
YUMA, AZ 85367                                        P‐0011977 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELLAVILLA, CINDY J.
7 HOTCHKISS CIR
PENFIELD, NY 14526                                    P‐0011978 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORTON, JOSHUA M.
75 CAMBRIDGE ST
APT 2
LOWELL, MA 01851                                      P‐0011979 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSQUEDA, MATTHEW P.
MOSQUEDA, AMBER J.
1208 N WALNUT ST
NEWTON, KS 67114                                      P‐0011980 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIROTEK, NORMAN A.
SIROTEK, VALERIE A.
46682 TENNIS ISLAND NORTH
WELLESLEY ISLAND, NY 13640                            P‐0011981 11/1/2017      TK Holdings Inc., et al .                     $651.00                                                                                       $651.00
GOODWIN, LAQUITA
1640 DEER VALLEY RD
HOOVER, AL 35226                                      P‐0011982 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNES, KANITHA Y.
1421 JACKSON ST.
NASHVILLE, TN 37208                                   P‐0011983 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEFANT, DANIEL G.
2343 WEST FAIR AVE
MARQUETTE, MI 49855                                   P‐0011984 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUNTON, JAMES
P.O. BOX 1611
RAPID CITY, SD 57709                                  P‐0011985 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEFELTON, JUDITH C.
592 VIRGINIA CENTER PKWY
GLEN ALLEN, VA 23059                                  P‐0011986 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOVE, JUTTA E.
3200 N.E. 36TH STREET
APT.# 309
FORT LAUDERDALE, FL 33308                             P‐0011987 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGAN, MICHAEL A.
1849 NEW JERSEY ST
FAIRFIELD, CA 95433                                   P‐0011988 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSEN, JAMES D.
107 HOLLYHOCK DRIVE
LAFAYETTE HILL, PA 19444                              P‐0011989 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRISON, DONNA L.
213 BARD COURT
SPRING CITY, PA 19475                                 P‐0011990 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ROBERTS, BRUCE D.
816 OVERBROOK DRIVE
VESTAL, NY 13850                                     P‐0011991 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLLER, HENRY F.
40 BROOKINS GREEN DRIVE
ORCHARD PARK, NY 14127‐2558                          P‐0011992 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISHARA, MATTHEW G.
1336 GARRETT AVE
NIAGARA FALLS, NY 14305                              P‐0011993 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENDICELLO, ED P.
MENDICELLO, BEVERLY D.
11240 WEST FORD DRIVE
LAKEWOOD, CO 80226                                   P‐0011994 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEINTS, JEFFREY J.
2663 NW COLUMBINE DR.
LINCOLN, NE 68524                                    P‐0011995 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SISK, EDGAR
3253 WHITE OAK STREET
HIGHLANDS RANCH, CO 80129                            P‐0011996 11/1/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
DOUGLASS, TOM W.
2184 MARGARET STREET NORTH
NORTH ST. PAUL, MN 55109                             P‐0011997 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAUDILL, BILLY K.
CAUDILL, PATRICIA M.
BILLY K. CAUDILL
36326 CLIFFORD DRIVE
STERLING HEIGHTS, MI 48312                           P‐0011998 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BADER, LINDA E.
2290 E MADISON RD
SAINT LOUIS, MI 48880                                P‐0011999 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMBERT, MIA R.
LAMBERT JR, WILLIAM L.
1218 HEREFORD RD
RUSKIN, FL 33570                                     P‐0012000 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OGDIE, AMY C.
810 HAIGHT AVENUE
ALAMEDA, CA 94501                                    P‐0012001 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABRAMS, ANDREW
ABRAMS, ANDREW
LIFEGUARD TECHNOLOGIES
726 CORNERSTINE LANE
BRYN MAWR, PA 19010                                  P‐0012002 11/1/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
GRIEVE, CHAS E.
4427 CLEVELAND AVE.
LINCOLN, NE 68504                                    P‐0012003 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAGARTZ, ANDREW
4921 CHICAGO ST
#6
OMAHA, NE 68132                                      P‐0012004 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERCEG, KATHLEEN M.
51702 STONEHAM WAY
GRANGER, IN 46530                                    P‐0012005 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSHALL JR, WILLIAM L.
8308 STEWART CT
LAUREL, MD 20724                                     P‐0012006 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BREDOW, SEBASTIAN
9502 PEMBERTON TRACE
HOUSTON, TX 77025                                     P‐0012007 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIBLASI, GARY A.
47 LEAH CT
HAMMONTON, NJ 08037                                   P‐0012008 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, RONALD S.
7800 ROWLES DR.
COLUMBUS, OH 43235                                    P‐0012009 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEENER, ROBERT R.
FLEENER, KATRINA H.
4520 SHARPSVILLE ROAD
MURFREESBORO, TN 37130                                P‐0012010 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCFARLAND, DONALD F.
MCFARLAND, SARAH H.
3434 COUNTY ROAD 9
BURDETT, NY 14818                                     P‐0012011 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUCAS, PATRICIA A.
LUCAS, JR., RALPH S.
3123 JENKINS LN.
INDIAN HEAD, MD 20640‐3012                            P‐0012012 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABALLO CASEY, AMY AIMEE E.
120 S. OLEANDER AVE.
DAYTONA BEACH, FL 32118                               P‐0012013 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYAN, JAMES R.
RYAN, CATHY G.
3705 S SEQUOIA AVE
BROKEN ARROW, OK 74011                                P‐0012014 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALLEY, LONNIE J.
255 ELIZABETH DRIVE
OWOSSO, MI 48867                                      P‐0012015 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REID, GAVIN A.
REID, GAVIN A.
107 WASHINGTON PLACE
TEANECK, NJ 07666                                     P‐0012016 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOSCIMINSKI, KAREN
145 CAMELOT SHORE DR
FARMINGTON, NH 03835                                  P‐0012017 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OTTO, CHRISTINA
23125 GREATER MACK
ST.CLAIR SHORES, MI 48089                             P‐0012018 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIRTH, HUGH L.
411 W. OAK ST.
OAKLAND CITY, IN 47660                                P‐0012019 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANHALT, HELENE M.
115 BRIARCREST PLACE
COLORADO SPRINGS, CO 80906                            P‐0012020 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, REGINALD C.
898 SOUTH STREET
NEEDAM, MA 02492                                      P‐0012021 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WYMAN, MICHAEL L.
NO ADDRESS PROVIDED
                                                      P‐0012022 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
APRIL, NICHOLAS E.
7000 DEE LANE APT 7212
MALVERN, PA 19355                                     P‐0012023 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                           Current 503(b)(9)
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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                            Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                    Amount
CULLOTY, DEBORAH J.
4260 LAKE KNOLLS DR.
OXFORD, MI 48371‐5416                               P‐0012024 11/1/2017      TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
WHITE, TODD M.
13223 105TH AVE COURT WEST
TAYLOR RIDGE, IL 61284                              P‐0012025 11/1/2017      TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
HOLBERT, CHRISTOPHER S.
1955 FM 546
MCKINNEY, TX 75069                                  P‐0012026 11/1/2017      TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
SCALES, NICCHA
3222 HEARTHSTONE LANDING DR
CANTON, GA 30114                                    P‐0012027 11/1/2017      TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
ABDULLAH, AMEER M.
631 SADIE CT
APT 91
LANSING, MI 48906                                   P‐0012028 11/1/2017      TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
PHELAN‐MORRELL, DARCY
DARCY PHELAN‐MORRELL
1107 AUSTIN MANOR COURT
SPRING, TX 77379‐3995                               P‐0012029 11/1/2017      TK Holdings Inc., et al .                 $15,000,000.00                                                                               $15,000,000.00
SMITH, KRIS L.
104 NEWSOME STREET
UNION POINT, GA 30669                               P‐0012030 11/1/2017      TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
SCHUELKE, PATRICIA V.
1865 S SIERRA WAY
STEVENSVILLE, MI 49127                              P‐0012031 11/1/2017      TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
MCLAUGHLIN, LARISSA L.
153 WABASH DR
LEXINGTON, KY 40503                                 P‐0012032 11/1/2017      TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
JACKSON, TONY
1640 DEER VALLEY RD
HOOVER, AL 35226                                    P‐0012033 11/1/2017      TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
WALTERS, JOHN A.
1017 WILDFLOWER CT
DAVIDSVILLE, PA 15928                               P‐0012034 11/1/2017      TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
KIRKPATRICK, ISAAC P.
1501
PORTLAND AVE S
MINNEAPLOIS, MN 55404                               P‐0012035 11/1/2017      TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
VLCEK, JOSEPH R.
1104 JACKSON CABIN ROAD
KINGSTON SPRINGS, TN 37082                          P‐0012036 11/1/2017      TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
SPENCE, TERI
105 LINCOLN AVE
STATE COLLEGE, PA 16801                             P‐0012037 11/1/2017      TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
HINTZE, HALEY L.
608 HAWTHORNE LN.
CARPENTERSVILLE, IL 60110                           P‐0012038 11/1/2017      TK Holdings Inc., et al .                         $0.00                                                                                         $0.00
WEAVER, CHARLES R.
WEAVER, MARILYN D.
195 PEBBLE DR
SEDONA, AZ 86351                                    P‐0012039 11/1/2017      TK Holdings Inc., et al .                    $20,000.00                                                                                    $20,000.00
MOTTA, RICHARD P.
25 TOP OF THE RIDGE
MAMARONECK, NY 10543                                P‐0012040 11/1/2017      TK Holdings Inc., et al .                         $0.00                                                                                         $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
YOUSAF, AMAR
7009 IRONBRIDGE LANE
LAUREL, MD 20707                                     P‐0012041 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHER‐YOUSAF, UZMA
7009 IRONBRIDGE LANE
LAUREL, MD 20707                                     P‐0012042 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KWAN, MAN K.
2721 AMBER DRIVE SOUTH
FORT WORTH, TX 76133                                 P‐0012043 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEAVER, MARILYN D.
WEAVER, CHARLES R.
195 PEBBLE DR
SEDONA, AZ 86351                                     P‐0012044 11/1/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
KIM, SYLVIA
1725 BIRCH PL APT 306
SCHAUMBURG, IL 60173                                 P‐0012045 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, CHARLES D.
312 EDENFIELD COURT
ANTIOCH, TN 37013                                    P‐0012046 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BATISTE, LIONEL
BATISTE, LOUTRICIA A.
231 EAST 23RD STREET
RESERVE, LA 70084                                    P‐0012047 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
URBANOWSKI, JAMES F.
3034 AUTUMN LAKE DRIVE
AURORA, IL 60504                                     P‐0012048 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBNER, JULIE A.
17122 LEGACY DR
WEST OLIVE, MI 49460                                 P‐0012049 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIRTHA, CLINT R.
3020 10TH ST N.
ST. PETERSBURG, FL 33704                             P‐0012050 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBBARD, PAUL D.
89 WHIPPOORWILL LANE
FALLING WATERS, WV 25419                             P‐0012051 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDONOGH, BONNIE
120 TANGLEWOOD TRAIL
LOUISVILLE, KY 40223                                 P‐0012052 11/1/2017      TK Holdings Inc., et al .                     $216.96                                                                                       $216.96
MYERS, MATTHEW A.
1332 N STATE ROUTE 934
ANNVILLE, PA 17003                                   P‐0012053 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUKUTA, LOYCE F.
4738 SETTLE BRIDGE ROAD
SUWANEE, GA 30024                                    P‐0012054 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEMEROND, KARA E.
4300 SANDHILL DR
JANESVILLE, WI 53546                                 P‐0012055 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LATKA, JUDY A.
42 TERRACE DRIVE
PUEBLO, CO 81001                                     P‐0012056 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAPARELLA, DANIEL P.
PAPARELLA, DEBORAH L.
14 BURNS AVENUE
BEAVER FALLS, PA 15010                               P‐0012057 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
TAMBOLLEO, CYNTHIA M.
CYNTHIA M TAMBOLLEO
49 MT. VIEW DRIVE
CLINTON, MA 01510                                   P‐0012058 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEERAN, GEARY P.
460 N FRANKLIN ST
#4
SYRACUSE, NY 13204                                  P‐0012059 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHMOND, GEORGE U.
26397 ARIC LANE
LOS ALTOS HILLS, CA 94022                           P‐0012060 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REBSAMEN, CRUITT B.
REBSAMEN, PATRICIA S.
10504 SOLARO STREET
FORT MYERS, FL 33913                                P‐0012061 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELLAVILLA, GERALD F.
7 HOTCHKISS CIR
PENFIELD, NY 14526                                  P‐0012062 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, EUGENE J.
3 SUNSET ROAD
AVERILL PARK, NY 12018                              P‐0012063 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEISLER, SEAN
20229 BLAKE DR
GRETNA, NE 68028                                    P‐0012064 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELSTER, WILLIAM W.
12 N SANCHEZ CT
HOT SPRINGS VILL, AR 71909                          P‐0012065 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECUS, LUCIE
1007 CLAYTON AVE
NASHVILLE, TN 37204                                 P‐0012066 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMPSON, CYNTHIA C.
9326 KNOLL CREST LOOP
AUSTIN, TX 78759                                    P‐0012067 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMMAC, YVONNE C.
6355 PEACHTREE DUNWOODY RD NE
APARTMENT 132
ATLANTA, GA 30328                                   P‐0012068 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGNER, PAT
WAGNER, KEN
4207 NORCREST DR
ST LOUIS, MO 63129                                  P‐0012069 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RALSTON, CLAYTON V.
705 26 TH PLACE
SPRINGFIELD, OR 97477                               P‐0012070 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHMOND, GEORGE U.
26397 ARIC LANE
LOS ALTOS HILLS, CA 94022                           P‐0012071 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAY, SCOTT M.
663 LAKE CRYSTAL DRIVE
WAYNESBORO,, GA 30830                               P‐0012072 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARTAIN, JOHN H.
236 VAIL ROAD
CALEDONIA, MS 39740                                 P‐0012073 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, EUGENE J.
3 SUNSET ROAD
AVERILL PARK, NY 12018                              P‐0012074 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
RUBIN, MADELINE A.
1454 OMARA ROAD
WESTMINSTER, MD 21157                               P‐0012075 11/1/2017      TK Holdings Inc., et al .                     $350.00                                                                                       $350.00
MOORE, KATHRYN
1580 FLINT HILL ROAD
COOERSBURG, PA 18036                                P‐0012076 11/1/2017      TK Holdings Inc., et al .                     $834.00                                                                                       $834.00
JEFFREY, BLAKE
1927 68TH STREET
WINDSOR HEIGHTS, IA 50324                           P‐0012077 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZANGARI, RONALD J.
239 EAST MAHANOY AVENUE
GIRARDVILLE, PA 17935                               P‐0012078 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDLING, LINDA L.
LINDA L REDLING
99 HUNTINGTON HEIGHTS
HONEOYE FALLS, NY 14472                             P‐0012079 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHICKBALLAPUR, SUMA
401 DRY GULCH BND
CEDAR PARK, TX 78613                                P‐0012080 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHIEU, MARY E.
2701 W 101ST STREET
INGLEWOOD, CA 90303                                 P‐0012081 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HONAN, MARY B.
824 MCKINLEY PKY
BUFFALO, NY 14220                                   P‐0012082 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, NATALI L.
429 CASTLE STREET
GENEVA, NY 14456                                    P‐0012083 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAY, SCOTT M.
663 LAKE CRYSTAL DRIVE
WAYNESBORO, GA 30830                                P‐0012084 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RALSTON, CLAYTON V.
705 26 TH PLACE
SPRINGFIELD, OR 97477                               P‐0012085 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYES, TABITHA R.
HAYES, DANIEL C.
204 AMBER CT
NEWPORT NEWS, VA 23606                              P‐0012086 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARSON, CRAIG
48 STANLEY STREET
LITTLE FALLS, NJ 07424                              P‐0012087 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRONG, MONICA
204 NORTH WALKER CIRCLE
INDIANOLA, MS 38751                                 P‐0012088 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SULLIVAN, THOMAS H.
5415 GRAND AVE
WESTERN SPRINGS, IL 60558                           P‐0012089 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESTES, JAMES W.
ESTES, SHEILA M.
2 IVES HILL COURT
CHESHIRE, CT 06410                                  P‐0012090 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISH, JONATHON K.
21806 MAYAN DR
CHATSWORTH, CA 91311‐1419                           P‐0012091 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
KODAMA, RICHARD Y.
KODAMA, SUEKO I.
94‐407D WAIPAHU ST
WAIPAHU, HI 96797                                    P‐0012092 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALANDRO, ANTHONY C.
1324 BEECHVIEW AVENUE
PITTSBURGH, PA 15216                                 P‐0012093 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VINCENT, JOSHUAH M.
636 BERTUCCI ST
MARRERO, LA 70072                                    P‐0012094 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WITTMER, LEON L.
1798 WELLSLEY DRIVE
GERMANTOWN, TN 38139‐6984                            P‐0012095 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIERRA, MONIKA
12938 PEMBERTON WAY
FORT MYERS, FL 33913                                 P‐0012096 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, CARESSE J.
7471 VAN BUREN ST NE
FRIDLEY, MN 55432                                    P‐0012097 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANYAG, ROMMEL
2977 YGNACIO VALLEY RD #149
WALNUT CREEK, CA 94598                               P‐0012098 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCJUNKINS, TERNICIA
522 BAKER ST
WATER VALLEY, MS 38965                               P‐0012099 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, SHANNELLE M.
612 PEAR STREET
CINNAMINSON, NJ 08077                                P‐0012100 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINNOW, WILLIAM G.
PINNOW, LINDA K.
2202 2ND AVE W
MONROE, WI 53566                                     P‐0012101 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, FREDDIE V.
900 N HANOVER ST C2
POTTSTOWN, PA 19464                                  P‐0012102 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLADES, ANGELA D.
BLADES, DANIEL M.
1430 HORNECKER
WICHITA, KS 67235                                    P‐0012103 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OHLENSEHLEN, DUSTIN S.
1301 NORTH 22ND ST
APT 7
ST JOSEPH, MO 64506                                  P‐0012104 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENYON, JOLENE R.
KENYON, KENNETH H.
558 S. HILLCREST DR.
VERONA, WI 53593                                     P‐0012105 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORIN, WILLIAM M.
24737 RUTLEDGE ROAD
WILLOW RIVER, MN 55795                               P‐0012106 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEEDER, RALPH N.
LEEDER, PATRICIA L.
LEEDER FAMILY TRUST
3953 E. FLORIAN AVE.
MESA, AZ 85206                                       P‐0012107 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LEVY, GEORGE E.
1209 E. CUMBERLAND DRIVE
#2401
TAMPA, FL 33602                                      P‐0012108 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEUTCH, MICHAEL E.
53 LAGOON VISTA
TIBURON, CA 94920                                    P‐0012109 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, MARK K.
1005 WILLIAMS TRCE
BIRMINGHAM, AL 35242                                 P‐0012110 11/1/2017      TK Holdings Inc., et al .                     $195.00                                                                                       $195.00
THOMAS, BARBARA L.
5201 S CORNELL AVE
#19F
CHICAGO, IL 60615                                    P‐0012111 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTISON, LISA L.
14909 DENNINGTON DR
BOWIE, MD 20721                                      P‐0012112 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADOCHICK, THERESA
224 N BROAD ST
WEST HAZLETON, PA 18202                              P‐0012113 11/1/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
SAFIEDINE, MIKE
5795 LINDEN DR.
DEARBORN HEIGHTS, MI 48127                           P‐0012114 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIWA, AJIBOLA A.
8234 JANERO AVE S
COTTAGE GROVE, MN 55016                              P‐0012115 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MANDY L.
SMITH, LAWRENCE
5468 HIGHWAY 7
WEST LIBERTY, KY 41472                               P‐0012116 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMES, FRANCIS A.
JAMES, DARCEL M.
612 PEAR STREET
CINNAMINSON, NJ 08077                                P‐0012117 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSSI, ROBERT E.
10936 MELBOURNE AVE
ALLEN PARK, MI 48101                                 P‐0012118 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMIREZ SR, ROBERT
1157 ROCKHAVEN CT
SALINAS, CA 93906                                    P‐0012119 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, TIANBIN
6814 RIGBY LANE
MCLEAN, VA 22101                                     P‐0012120 11/1/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
MUNSON, JOSEPH C.
37 NANTUCKET RD.
ROCHESTER, NY 14626                                  P‐0012121 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLARREAL II, JIMMY
947 FRUITVALE DR.
HOUSTON, TX 77038                                    P‐0012122 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARKS, WILLIAM
150 MORRISTOWN ROAD
STE. 210
BERNARDSVILLE, NJ 07924                              P‐0012123 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADOCHICK, THERESA
224 N BROAD ST
WEST HAZLETON, PA 18202                              P‐0012124 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
CUFFE, LISA A.
6388 SUNSET DR
SOUTH LYON, MI 48178                                   P‐0012125 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEST, DAVID M.
534 MCCONNELL LN
WHITEMAN AFB, MO 65305                                 P‐0012126 11/1/2017      TK Holdings Inc., et al .                     $344.73                                                                                       $344.73
BOFFICE, ALAN J.
710 RUSKIN DRIVE
ELK GROVE VILLAG, IL 60007                             P‐0012127 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAU, JENNIFER J.
950 CASA SOLABA
WHEATON, IL 60189                                      P‐0012128 11/1/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
FLAHERTY, MARYANN
22 EDDIE ST
QUINCY, MA 02169                                       P‐0012129 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEMING, CRYSTAL C.
3431 VISTA ROYALE
CASPER, WY 82601                                       P‐0012130 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOMOJARA, FRANCISCO A.
18404 ELGAR AVE
TORRANCE, CA 90504                                     P‐0012131 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, TIANBIN
6814 RIGBY LANE
MCLEAN, VA 22101                                       P‐0012132 11/1/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WIATT, THOMAS
WIATT, REINA
2127 MELRIDGE PLACE
AUSTIN, TX 78704                                       P‐0012133 11/1/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
JONES, DONNIE
324 LOUISA
ST. LOUIS, MO 63135                                    P‐0012134 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOFFICE, ALAN J.
710 RUSKIN DRIVE
ELK GROVE VILLAG, IL 60007                             P‐0012135 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIATT, THOMAS
WIATT, REINA
2127 MELRIDGE PLACE
AUSTIN, TX 78704                                       P‐0012136 11/1/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
JONES, DONNIE M.
NO ADDRESS PROVIDED
                                                       P‐0012137 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENKE, THOMAS H.
103 NEW HYDE PARK RD
GARDEN CITY, NY 11530                                  P‐0012138 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANLEY, HONIE R.
204 WATSON DRIVE
WILLIAMSBURG, VA 23188                                 P‐0012139 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWFORD, MARGARITA
4429 STILLBROOKE DR
HOUSTON, TX 77035                                      P‐0012140 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEDINA, CATHERINE J.
NO ADDRESS PROVIDED
                                                       P‐0012141 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MACLEOD, RICHARD A.
MACLEOD, CYNTHIA L.
32758 CABLE PKWY
DOWAGIAC, MI 49047                                   P‐0012142 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAU, BENJAMIN J.
950 CASA SOLANA
WHEATON, IL 60189                                    P‐0012143 11/1/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
LEINTZ, ADAM M.
LEINTZ, JENENE K.
617 REGINA LANE
BISMARCK, ND 58503                                   P‐0012144 11/1/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
CHAPMAN, DAVID H.
42 WEBER ST.
RICHWOOD, WV 26261                                   P‐0012145 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANLEY, HONIE R.
204 WATSON DRIVE
WILLIAMSBURG, VA 23188                               P‐0012146 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAUPHIN, LYNDA C.
6501 CLUB HOUSE DR E
STANWOOD, MI 49346‐9356                              P‐0012147 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GESUALDI, STEPHEN
7 FOX RUN RD
DANVERS, MA 01923                                    P‐0012148 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SURRATT, DANNY K.
POBOX224 / 104 GRIFFITH ST.
ECCLES, WV 25836                                     P‐0012149 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, LAWRENCE E.
107 HILLSIDE ROAD
MECHANICSBURG, PA 17050                              P‐0012150 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIME, ISIDOR
473 ALCOTT STREET
PHILADELPHIA, PA 19120                               P‐0012151 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOYD, JENNIFER S.
LOYD, JAMES E.
4111 SNEED RD
NASHVILLE, TN 37215‐2303                             P‐0012152 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANLEY, HONIE R.
204 WATSON DRIVE
WILLIAMSBURG, VA 23188                               P‐0012153 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALEY, LINDA D.
17915 PLEASANTGLEN CT
SPRING, TX 77379                                     P‐0012154 11/1/2017      TK Holdings Inc., et al .                    $1,550.00                                                                                    $1,550.00
STUCK, TIMOTHY J.
STUCK, CARLEEN L.
201 BROOKS ST
ESSEX, IA 51638                                      P‐0012155 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLLER, MARGARET K.
40 BROOKINS GREEN DRIVE
ORCHARD PARK, NY 14127‐2558                          P‐0012156 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASSER, IAN M.
WASSER, HAYLEY W.
2701 AVALON WOODS CT
PORTAGE, MI 49024                                    P‐0012157 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWER, NATALIE M.
4280 RALPH LN N
FRESNO, CA 93727                                     P‐0012158 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WANG, SHIJUAN
4242 UNION ST.
APT 7F
FLUSHING, NY 11355                                   P‐0012159 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDISON, SHERILYNN
JORDISON, RICHARD W.
1213 SW WALNUT ST
LEES SUMMIT, MO 64081                                P‐0012160 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, JOHN J.
107 HILLSIDE ROAD
MECHANICSBURG, PA 17050                              P‐0012161 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASSER, IAN M.
2701 AVALON WOODS CT
PORTAGE, MI 49024                                    P‐0012162 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERICKSON, DUANE H.
ERICKSON, MARSHA A.
4425 S OAKWOOD HILLS PKWY
EAU CLAIRE, WI 54701                                 P‐0012163 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORREST SENIOR, TOMMIE L.
TK HOLDINGS INC.
3133 OAK HILL STREET
SIERRA VISTA, AZ 85650                               P‐0012164 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCIS, MARINA
9111 NW 148 STREET
HIALEAH, FL 33018                                    P‐0012165 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEEVES, JAMES L.
25 HOMESTEAD COURT
MADISON, WI 53711                                    P‐0012166 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERMAN, EVE S.
816 OVERBROOK DRIVE
VESTAL, NY 13850                                     P‐0012167 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELLS, KRISTIN M.
4148 WEST GROVERS AVENUE
GLENDALE, AZ 85308                                   P‐0012168 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWEN, CHRISTOPHER T.
ROBERTS, STEVEN J.
736 ELM WAY
RIO VISTA, CA                                        P‐0012169 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEIFER, JAY M.
2067 KINSMON DR
MARIETTA, GA 30062                                   P‐0012170 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERSTEIN, ALAN B.
13214 FIJI WAY
UNIT K
MARINA DEL REY, CA 90292                             P‐0012171 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLEY, DAVID R.
4647 HEIGHTS RAVENNA RD,
FRUITPORT, MI                                        P‐0012172 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, DENISE L.
WALKER, DUNCAN
40053 VIA ESPANA
MURRIETA, CA 92562                                   P‐0012173 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, SHIJUAN
4242 UNION ST.
APT 7F
FLUSHING, NY 11355                                   P‐0012174 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
VINES, JESSICA F.
6860 TYLER CHASE DRIVE
MCCALLA, AL 35111                                     P‐0012175 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GANJU, AJAY
11445 N CONCORD CREEK DR
MEQUON, WI 53092                                      P‐0012176 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEYEKAN, SHAFELA M.
454 W DIVISION ST
UNIT 505
CHICAGO, IL 60610                                     P‐0012177 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDREOZZ, DANIEL V.
10503 SABER CT.
HOUSTON, TX 77038/1830                                P‐0012178 11/1/2017      TK Holdings Inc., et al .                   $14,095.00                                                                                   $14,095.00
CARTER, MARY L.
114 RICH ROAD
ITHACA, NY 14850                                      P‐0012179 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIM, NADINE
1087 DEERFIELD PL
HIGHLAND PARK, IL 60035                               P‐0012180 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLAVIK, JOHN S.
10216 AYLEBURY DRIVE
SOUTH LYON, MI 48178                                  P‐0012181 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBER, JUSTIN R.
140 SUBURBAN
ECORSE, MI 48229                                      P‐0012182 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, SUSAN G.
30 CHATEAU ROTHCHILD DRIVE
KENNER, LA 70065‐1907                                 P‐0012183 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIRTH, HUGH L.
411 W. OAK ST.
OAKLAND CITY, IN 47660                                P‐0012184 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURROUGHS, CRAIG D.
104 ROCKY KNOB WAY
MOUNTVILLE, PA 17554                                  P‐0012185 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELANEY, ELLEN T.
283 MARRETT ROAD
LEXINGTON, MA 02421                                   P‐0012186 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HICE, LISA M.
P.O. BOX 23
BISMARCK, AR 71929                                    P‐0012187 11/1/2017      TK Holdings Inc., et al .                     $297.00                                                                                       $297.00
RUNEARE, JOSEPH
217 3RD AVE.
SANTA CRUZ, CA. 95062
                                                      P‐0012188 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAMPS, BERNELIA P.
225 SWAN DR.
GREENWOOD, MS 38930                                   P‐0012189 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRITCHETT, MONTRELLE E.
6137 ADAM DR
MARRERO, LA 70072                                     P‐0012190 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, TANYA L.
1852 HIGHWAY 16 NORTH
CRUMPLER, NC 28617                                    P‐0012191 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
FADEN, MARK
FADEN, MARK L.
10485 N.W.8 ST.,#202
PEMBROKE PINES, FL 33026                              P‐0012192 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOU, KELLY L.
9100 LYNCHBURG CT
FAIRFAX, VA 22032                                     P‐0012193 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIEL, DAVID E.
DANIEL, MARTHA K.
2538 CLUB HOUSE DR.
WEXFORD, PA 15090                                     P‐0012194 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMIREZ, GRACIELA
7331 GOLF GATE DRIVE
LANSING, MI 48917                                     P‐0012195 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUCHON, MARIBETH
328 N FRONTAGE RD
UNIT 1B
WILLOWBROOK, IL 60527                                 P‐0012196 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEEDER, PATRICIA L.
LEEDER, RALPH N.
LEEDER FAMILY TRUST
3953 E. FLORIAN AVE.
MESA 85206                                            P‐0012197 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RADESKY, ANDREW J.
1550 ABBAS AVENUE
LANCASTER, PA 17602                                   P‐0012198 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVA, MICHAEL R.
HERNANDEZ, JASMINE O.
9850 KARMONT AVE
SOUTH GATE, CA 90280                                  P‐0012199 11/1/2017      TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
TSAKANIKAS, DIMITRIA
1639 ROUTE 9,APARTMENT 12
CLIFTON PARK, NY 12065‐4420                           P‐0012200 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARADIS, MELISSA
78 SILO DRIVE
CUMBERLAND, RI 2864                                   P‐0012201 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, MAURICE
7404 JESSUP DRIVE
MARRERO, LA 70072‐5995                                P‐0012202 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LITFIN, BENJAMIN P.
5505 HALLMARK LN.
LOCKPORT, NY 14094                                    P‐0012203 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANNO, PASQUALE A.
956 UNION CRMETERY ROAD
GREENSBURG, PA 15601                                  P‐0012204 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLINGA, LISA
44 ROSE HILL AVENUE
NEW ROCHELLE, NY 10804                                P‐0012205 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOK, DEBRA R.
9955 HARMONY LANE
LAUREL, MD 20723                                      P‐0012206 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMSON, DAVID
2605 S. LEYDEN ST.
DENVER, CO 80222                                      P‐0012207 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BISCHOF, MARKUS
2117 HOLLY HILL RD
MANCHESTER, NJ 08759                                 P‐0012208 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWINTON 3RD, EUGENE
3807 PORTAL AVE
TEMPLE HILLS, MD 20748                               P‐0012209 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASSAGE, LANCE H.
1412 PARKWOOD BLVD
SCHENECTADY, NY 12308                                P‐0012210 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GHOSH, DIPANKAR
2311 HELENA RD N
OAKDALE, MN 55128                                    P‐0012211 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARPENTER, WILLIAM A.
318 DEERPARK WAY
OAKLEY, CA 94561‐3160                                P‐0012212 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, HARRIET R.
1532 MEADOW VALLEY LN
DALLAS, TX 75232                                     P‐0012213 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGILTON, RONALD W.
7930 92ND ST SE
CALEDONIA, MI 49316                                  P‐0012214 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, ANISA K.
1410 N. ST. PAUL ST.
APT. 202
WICHITA, KS 67203                                    P‐0012215 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GHOSH, DIPANKAR
2311 HELENA RD N
OAKDALE, MN 55128                                    P‐0012216 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODWARD, ERNEST J.
WOODWARD, EMILY J.
16 ALFORD ST
ROCHESTER, NY 14609                                  P‐0012217 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIARELLI, NICK
8638 TWINBROOK ROAD STE 3
MENTOR, OH 44060                                     P‐0012218 11/1/2017      TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
UMORU, STEVE O.
81 ROUTE 539
ALLENTOWN, NJ 08501                                  P‐0012219 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROBE, MARCIE L.
43 WINSLOW ROAD
WHITE PLAINS, NY 10606                               P‐0012220 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NARON, WILLIAM P.
119 FAWNWOOD DRIVE
BRANDON, MS 39042                                    P‐0012221 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORMSBY, MAXINE
ORMSBY, PHILLIP
43502 W BLAZEN TRL
MARICOPA, AZ 85138                                   P‐0012222 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIRDANO, VINCENT A.
GIRDANO, JANET
215 SIMON DRIVE
BUTLER, PA 16002                                     P‐0012223 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMEY, LORI
2219 MADISON ROAD
CINCINNATI, OH 45208                                 P‐0012224 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MACE, CODY A.
85 SHUTE ROAD
HARTLAND, VT 05048                                   P‐0012225 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCALISTER, ROBERT M.
2734 OLD COUNTRY CLUB RD
PEARL, MS 39208                                      P‐0012226 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULUM, SAMRA
2944 RUBY DRIVE
TWIN FALLS, ID 83301                                 P‐0012227 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DATIR, ABHIJIT P.
22 NATURE VW
PITTSFORD, NY 14534                                  P‐0012228 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOTSON, JESSICA T.
948 N KENTUCKY AVE
APT 15B
MADISONVILLE, KY 42431                               P‐0012229 11/1/2017      TK Holdings Inc., et al .                    $9,000.00                                                                                    $9,000.00
BAUMAN, ALLEN H.
BAUMAN, DAWN R.
2904 SE COBBLESTONE DRIVE
GRIMES, IA 50111                                     P‐0012230 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMEY, LORI
2219 MADISON ROAD
CINCINNATI, OH 45208                                 P‐0012231 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AFTAB, MARC
6 VALLEY RD
WESTPORT, CT 06880                                   P‐0012232 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORD, STEPHEN
CORD, JEANNIE
1037 AGARITA CIRCLE
GRAFORD, TX 76449‐4503                               P‐0012233 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUMAN, ALLEN H.
BAUMAN, DAWN R.
2904 SE COBBLESTONE DRIVE
GRIMES, IA 50111                                     P‐0012234 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEONARD, THOMAS W.
BOZZELL, GEORGE W.
1229 CHARLTON DR.
ANTIOCH, TN 37013                                    P‐0012235 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOTT, LYNN M.
710 MAPLE ST.
NORWAY, MI 49870                                     P‐0012236 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORD, STEPHEN
CORD, JEANNIE
1037 AGARITA CIRCLE
GRAFORD, TX 76449‐4503                               P‐0012237 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUSLANDER, GARY M.
4230 EDGEMONT STREET
PHILA, PA 19137                                      P‐0012238 11/1/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
RANDOLPH, LATARJUS
5624 RIALTO CIRCLE
VALDOSTA, GA 31601                                   P‐0012239 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANSING, LOIS A.
229 MONTEREY AVE
CAPITOLA, CA 95010                                   P‐0012240 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SLINGERLAND, HAROLD E.
SLINGERLAND, GINA
400 WILLOW WOOD CT
ST. CHARLES, MO 63303                                P‐0012241 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UMORU, STEVE O.
81 ROUTE 539
ALLENTOWN, NJ 08501                                  P‐0012242 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENKINS, SEATHAN P.
151 CAMPVILLE RD
NORTHFIELD, CT 06778                                 P‐0012243 11/1/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
FREEMAN, HARRIET
6627 RICHARD RD
LANSING, MI 48911                                    P‐0012244 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALANDRO, ANTHONY C.
1324 BEECHVIEW AVENUE
PITTSBURGH, PA 15216                                 P‐0012245 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COSCOLLUELA, MARCO L.
23716 SANDALWOOD ST
WEST HILLS , CA 91307                                P‐0012246 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGUILAR, JESSIE H.
15‐2775 AHI STREET
PAHOA, HI 96778                                      P‐0012247 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEWULF, MARIANNE E.
603 PUTNAM STREET
FINDLAY, OH 45840                                    P‐0012248 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAJORIS, JUDY
2596 TIMBER CV
ANNAPOLIS, MD 21401                                  P‐0012249 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BINNEBOESE, DAVID A.
13109 E. 59TH TER.
KANSAS CITY, MO 64133                                P‐0012250 11/1/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
FRYE, TIMOTHY B.
179 COPPER RIDGE LN
FLORENCE, MS 39073                                   P‐0012251 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOELLER, ALANA
1565 KING ST
DENVER, CO 80204                                     P‐0012252 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TINGLER, LANCE M.
225 NEWMAN AVE
JEFFERSON, LA 70121                                  P‐0012253 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARB, PIERRE
8310 OVERLOOK AVE
BROADVIEW HTS, OH 44147                              P‐0012254 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHAM, ANH H.
815 HARBOUR PLACE
SUGAR LAND, TX 77478                                 P‐0012255 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUNA, MICHAEL S.
682 RIVER ROAD
CAMBRIDGE, VT 05444‐9701                             P‐0012256 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARSON, PATRICE
48 STANLEY STREET
LITTLE FALLS, NJ 07424                               P‐0012257 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THIESSEN, KERWIN D.
7200 N OLIVER ST
VALLEY CENTER, KS 67147                              P‐0012258 11/1/2017      TK Holdings Inc., et al .                    $1,126.35                                                                                    $1,126.35


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
LAMANNA, LORI A.
P.O. BOX 148
DAWSON, PA 15428                                      P‐0012259 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOBLE, PETER M.
144 BROADWELL CIRCLE
FRANKLIN, TN 37067                                    P‐0012260 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, RACHEL
1139 BOLING BROOK
SAN ANTONIO, TX 78245                                 P‐0012261 11/1/2017      TK Holdings Inc., et al .                   $22,761.91                                                                                   $22,761.91
KING, DENNIS H.
35933 FORESTVILLE
FARMINGTON HILLS, MI 48331                            P‐0012262 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARB, PIERRE
8310 OVERLOOK AVE
BROADVIEW HTS, OH 44147                               P‐0012263 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KODAMA, RICHARD Y.
KODAMA, SUEKO I.
94‐407D WAIPAHU ST
WAIPAHU, HI 96797                                     P‐0012264 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CABRERA, CAROLYN
2013 BRECKENRIDGE DR.
HARVEY, LA 70058                                      P‐0012265 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YORK, GREGORY A.
3437 COLONY DRIVE
FORT COLLINS, CO 80526                                P‐0012266 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAISANE, KATHLEEN A.
13 BRAESWICK CIRCLE
CROSSVILLE, TN 38558                                  P‐0012267 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATALLO, MARCO A.
3648 PALOS VERDES DRIVE NORTH
PALOS VERDES EST, CA 90274                            P‐0012268 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCK, JAMES E.
26310 W WARREN ST
DEARBORN HEIGHTS, MI 48127                            P‐0012269 11/1/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
RADFORD, DANIEL R.
4564 W PLEASANT HILL RD
SALINA, KS 67401                                      P‐0012270 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUTHANI, CHANDRESH
1110 BLUEBERRY COURT
EDISON NJ 08817
                                                      P‐0012271 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOHARA, SHARON
32 BRADFORD RD.
WATSONVILLE, CA 95076                                 P‐0012272 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCULLOUGH, KAREN E.
MCCULLOUGH, JOSHUA L.
1228 WESTMOORLAND
YPSILANTI, MI 48197                                   P‐0012273 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUNDY, MARK H.
12329 BENDING OAKS CT
FORT WAYNE, IN 46845                                  P‐0012274 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAFFE, ARI H.
JAFFE, MARLYN B.
2330 MILTON ROAD
UNIVERSITY HTS., OH 44118                             P‐0012275 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
JARRETT, DAVID A.
JARRETT, SUSAN L.
193 SUGAR HILL ROAD
WILLIAMSBURG, MA 01096                                P‐0012276 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALESSIO, GARY J.
9066 NW 31ST STREET
POLK CITY, IA 50226                                   P‐0012277 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAY, JOHN J.
712 ANNIE WAY
FERNLEY, NV 89408                                     P‐0012278 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOCHIDA, ALDON K.
MOCHIDA, ALDON K.
PRO BILT CONSTRUCTION CO. INC
864 KOLU STREET. SUITE B
WAILUKU, HI 96793                                     P‐0012279 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMIESON JR, DAVID S.
JAMIESON, CHARMAINE C.
506 TURTLE CREEK DRIVE
BRENTWOOD, TN 37027                                   P‐0012280 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRECA SR, LAWRENCE J.
4840 HWY 22
APT 1131
MANDEVILLE, LA 70471                                  P‐0012281 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEDER, FRED M.
1655 OAKWOOD DRIVE
N321
PENN VALLEY, PA 19072                                 P‐0012282 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORWIN, HELENE M.
1918 SADDLECREEK DR
HOUSTON, TX 77090                                     P‐0012283 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOARDMAN, LORRAINE
501 E 6TH AVE
RANSON, WV 25438                                      P‐0012284 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, BRIAN C.
1109 LOCUST ST.
EAU CLAIRE, WI 54703                                  P‐0012285 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAENLE, JAMES I.
1891 BROOKWOOD LN.
TEMPERANCE, MI 48182‐9426                             P‐0012286 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAFFE, ARI H.
JAFFE, MARLYN B.
2330 MILTON ROAD
UNIVERSITY HTS., OH 44118                             P‐0012287 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENNESSEY, ERIN L.
387 CROMMIE RD
COBLESKILL, NY 12043                                  P‐0012288 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGER, IRWIN L.
P.O. BOX 13611
SCOTTSDALE, AZ 85267                                  P‐0012289 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETEL, EFRAIM
610 COBBLESTONE DRIVE
SAN RAMON, CA 94583                                   P‐0012290 11/1/2017      TK Holdings Inc., et al .                    $1,100.00                                                                                    $1,100.00
GADE, DANIEL
5820 COUNTY 2
EITZEN, MN 55931                                      P‐0012291 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HAYWARD, TANYA R.
105 LAKE WOOD RD
LEBANON, TN 37087‐8931                               P‐0012292 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAKETA, MICHAEL M.
33020 REGENTS BLVD
UNION CITY, CA 94587                                 P‐0012293 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAFFE, ARI H.
JAFFE, MARLYN B.
2330 MILTON ROAD
UNIVERSITY HTS., OH 44118                            P‐0012294 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEDER, FRED M.
1655 OAKWOOD DRIVE
N321
PENN VALLEY, PA 19072                                P‐0012295 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OFEI AWUKU, PHILLIP
921 KATHRYN DR
LEWISVILLE, TX 75067                                 P‐0012296 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETEL, EFRAIM
610 COBBLESTONE DRIVE
SAN RAMON, CA 94583                                  P‐0012297 11/1/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
LISBOA, ISNEIR D.
6326 TABOR AVE
PHILADELPHIA, PA 19111                               P‐0012298 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, KIMBERLY
15847 WASHBURN ST
DETROIT, MI 48238                                    P‐0012299 11/1/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
L2E2 CORPORATION
L2E2 CORPORATION
200 ARLINGTON WAY
MENLO PARK, CA 94025                                 P‐0012300 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAFFE, ARI H.
JAFFE, MARLYN B.
2330 MILTON ROAD
UNIVERSITY HTS., OH 44118                            P‐0012301 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, ORA M.
12523 CHISWICK RD.
HOUSTON, TX 77047                                    P‐0012302 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIEFEL, STEVEN D.
420 N ADAMS ST #502
TALLAHASSEE, FL 32301                                P‐0012303 11/1/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
RAINEY, MATTHEW M.
309 ESKRIDGE ROAD
DUCK HILL, MS 38925                                  P‐0012304 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IMLER, RICHARD D.
109 THISTLE LANE
WINDBER, PA 15963                                    P‐0012305 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALDEZ, EUGENIO E.
VALDEZ, ZOILA V.
311 STONEY MOSS DR APT 315
RALEIGH, NC 27610                                    P‐0012306 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRABB, PAULA C.
1937 KAKELA DRIVE
HONOLULU, HI 96822                                   P‐0012307 11/1/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
BENWARE, CARL A.
6685 GROVELAND HILL RD
GROVELAND, NY 14462                                  P‐0012308 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GARDNER, LATOY L.
245 CLEMSON PL APT 3
KENNER, LA 70065                                     P‐0012309 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUTTLER, LORI L.
1608 THOMAS ST.
P.O. BOX 567
REDFIELD, IA 50233                                   P‐0012310 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAIER, BRUCE A.
BAIER, DIANE G.
1873 HARBOR HILL DR.
PELLA, IA 50219                                      P‐0012311 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DABNEY, JAMES
1740 BARONNE STREET
#432
NEW ORLEANS, LA 70113‐1377                           P‐0012312 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOWRY, PATRICK J.
MOWRY, SHARMIN J.
127 NYETIMBER PKWY
MOON TWP, PA 15108                                   P‐0012313 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENFROW, CARRIE D.
334 BARBER LANE
SHIRLEY, AR 72153                                    P‐0012314 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KREIS, ALEXANDER T.
3301 TRACY DRIVE
SANTA CLARA, CA 95051                                P‐0012315 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, CANDACE
7147 LAKEHURST AVE
DALLAS, TX 75230                                     P‐0012316 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUMPHREY, MARK R.
HUMPHREY, SUSAN D.
2063 E. EMILIE AVE
FRESNO, CA 93730                                     P‐0012317 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSON, KATHLEEN E.
327 1ST STREET
EATON, CO 80615                                      P‐0012318 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JARRETT, SUSAN L.
JARRETT, DAVID A.
193 SUGAR HILL ROAD
WILLIAMSBURG, MA 01096                               P‐0012319 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCFARLAND, ROSS K.
3795 ASHBROOK DR
HOLT, MI 48842                                       P‐0012320 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, JASON R.
118 MARANES CIRCLE
MAUMELLE, AR 72113                                   P‐0012321 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBEAU, JEREMY J.
35 MORGANS RUN
SCHUYLERVILLE, NY 12871                              P‐0012322 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, KEVIN A.
2766 DRANE HWY
OSCEOLA MILLS, PA 16666                              P‐0012323 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FABER, DAVID P.
FABER, DAVID
16145 4TH LANE
P.O. BOX 113
UNION PIER, MI 49129                                 P‐0012324 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CHUN, MARCUS C.
CHUN, SUSAN J.
1351 NAULU PLACE
HONOLULU, HI 96818                                  P‐0012325 11/1/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
HANSEN, KENT M.
HANSEN, DEEANN
27558 PRESTANCIA CIR
SALINAS, CA 93908                                   P‐0012326 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, TIMOTHY L.
SCOTT, CAROL M.
16931 ASCOT MEADOW DRIVE
SUGAR LAND, TX 77479                                P‐0012327 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOWRY, PATRICK J.
127 NYETIMBER PKWY
MOON TWP., PA 15108                                 P‐0012328 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIFFORD, RICKY L.
GIFFORD, ANITA L.
5864 KENAI FJORDS LOOP
ANCHORAGE, AK 99502                                 P‐0012329 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAWKINS, THOMAS M.
13814 WOODED CREEK COURT
DALLAS, TX 75244                                    P‐0012330 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BESSICK, TERRY L.
122 STRICKLER RUN DRIVE
COLUMBIA, PA 17512                                  P‐0012331 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAUSE, ANGELA M.
845 BAYVIEW DRIVE
HERMOSA BEACH, CA 90254                             P‐0012332 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TALLEY, WENDY W.
1121 JOLIET STREET
NEW ORLEANS, LA 70118                               P‐0012333 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKOWRONSKA, ANNA
232 FALMOUTH AVENUE
ELMWOOD PARK, NJ 07407                              P‐0012334 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAINS, DAWN M.
1121 TRUDY CT.
LEBANON, OH 45036                                   P‐0012335 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, HELEN M.
265 OAKLAND VALLEY RD
CUDDEBACKVILLE, NY 12729                            P‐0012336 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JARRETT, SUSAN L.
JARRETT, DAVID A.
193 SUGAR HILL ROAD
WILLIAMSBURG, MA 01096                              P‐0012337 11/1/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MOSELEY, MARLENE H.
603 ALOHA COURT
ABITA SPRINGS, LA 70420                             P‐0012338 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADSEN, LARRY J.
MADSEN, ELIZABETH L.
1215 N. EL PASO DR.
DERBY, KS 67037‐2703                                P‐0012339 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONSOUR, RYAN P.
ONE GALLERIA BLVD.
SUITE 1100
METAIRIE, LA 70001                                  P‐0012340 11/1/2017      TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BARCLAY, JAROD B.
103 W HAYWARD
MEADVILLE, MO 64659                                  P‐0012341 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAMMONS, SUSAN E.
JOHN
5724 SW 40TH PLACE
OCALA, FL 34474                                      P‐0012342 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUMPHREY, SUSAN D.
HUMPHREY, MARK R.
2063 E. EMILIE AVE
FRESNO, CA 93730                                     P‐0012343 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITFIELD, LARAINE S.
2100 SNIPES ROAD
HURDLE MILLS, NC 27541                               P‐0012344 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NUSSER, JEANETTE C.
12988 260TH ST.
CO. BLUFFS, IS 51503                                 P‐0012345 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, JAMES R.
1155 LAKESIDE DRIVE
VICKSBURG, MS 39180‐9347                             P‐0012346 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PREE, BRENDA
4854 MOSSFIELD CT
PITTSBURGH, PA 15224                                 P‐0012347 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROCKELMAN, ALLEGRA
996 SILTY DRIVE
CLARKSVILLE, TN 37042                                P‐0012348 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAFURI, JOHN
3083 N. WINDSOR COURT
WESTLAKE, OH 44145‐6717                              P‐0012349 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURROUGHS, TIMOTHY
2753 W WALNUT HILL LANE
APARTMENT 130
IRVING, TX 75038                                     P‐0012350 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRU, MATTHEW P.
960 SOUTH DAWSON WAY
UNIT 6
AURORA, CO 80012                                     P‐0012351 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOURGET, VICTORIA B.
2406 SUNNY CREEK SE
KENTWOOD, MI 49508                                   P‐0012352 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEPHERD, DARRELL J.
2824 HUNTER ROAD
HUNTERTOWN, IN 46748                                 P‐0012353 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEARD, CRISTAL D.
1012 DILLWORTH ST
MEMPHIS, TN 38122                                    P‐0012354 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, BONITA
2804 LONGVIEW RD
ANTIOCH, CA 94509                                    P‐0012355 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMOLAK, GARY J.
7104 CARRIAGE LANE
FAIRMONT, WV 26554                                   P‐0012356 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUFF, LANIE
2023 BECKHAM DRIVE
LEWISBURG, TN 37091                                  P‐0012357 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
SILVA, MICHAEL R.
9850 KARMONT AVE
SOUTH GATE, CA 90280                                  P‐0012358 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
APOSTOLOU, WILLIAM D.
2435 LAKEWOOD ROAD
BALTIMORE, MD 21234                                   P‐0012359 11/1/2017      TK Holdings Inc., et al .                    $6,600.00                                                                                    $6,600.00
SLINGERLAND, HAROLD E.
SLINGERLAND, GINA
400 WILLOW WOOD CT
ST. CHARLES, MO 63303                                 P‐0012360 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLAND, THOMAS E.
HOLLAND, EDITH A.
10315 NE 97TH TERRACE
KANSAS CITY, MO 64157‐9660                            P‐0012361 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGRUDER, WINSTON H.
MCGRUDER, MOLLIE S.
7656 ANNE MARIE COURT
NEW ORLEANS, LA 70128                                 P‐0012362 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASPENSON, GILMAN A.
650 9TH AVENUE NURTH
SOIUTH ST. PAUL, MN 55075                             P‐0012363 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWERS, CHARLES E.
POWERS, ANNIE C.
6023 CARMEL DRIVE
HUNTSVILLE, AL 35810                                  P‐0012364 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIVENS, NIOOKI
9858 MS HWY 17
CARROLLTON, MS 38917                                  P‐0012365 11/1/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
LEVITT, LORI K.
LEVITT, LORI K.
2528 ‐ 20TH STREET
SANTA MONICA, CA 90405                                P‐0012366 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, KAREN B.
447 PROBASCO RD
EAST WINDSOR, NJ 08520                                P‐0012367 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEJIA, JUAN
18 LATTIMORE CT APT 283
BOSTON, MA 02118                                      P‐0012368 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUCHER, NORMAN P.
BOUCHER, HELEN W.
114 ABBOTT ROAD
WELLESLEY HILLS, MA 02481                             P‐0012369 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, CHARLES D.
210 11TH AVE NE APT 204
WATFORD CITY, ND 58854                                P‐0012370 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUHAG, MANISH
6335 BRAVO CT APT 2B
PORTAGE, MI 49002                                     P‐0012371 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOZZETTI, RYAN D.
260 LILAC LN
SHOREVIEW, MN 55126                                   P‐0012372 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RACETTE, THOMAS R.
726 79TH STREET
LINO LAKES, MN 55014                                  P‐0012373 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BELL, RON P.
1291 VISTA GRANDE
MILLBRAE, CA 94030                                   P‐0012374 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUTTON, CHRIS
11348 N. VIA VERONA WAY
FRESNO, CA 93730                                     P‐0012375 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACCARDI, DEBORAH A.
16588 78TH DR N
WEST PALM BEACH, FL 33418‐7679                       P‐0012376 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SASSONE, JOHN G.
86 MAYFAIR AVE
FLORAL PARK, NY 11001                                P‐0012377 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEGASH, ESKINDER
1929 BEULAH RD
VIENNA, VA 22182                                     P‐0012378 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, THENA U.
2491 EDISON ST
DETROIT, MI 48206                                    P‐0012379 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLE, GARRY R.
4314 STARTOUCH CV.
MEMPHIS, TN 38141                                    P‐0012380 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMLJANOVIC, JOHN J.
TOMLJANOVIC, FLORENCE A.
226 WILSON STREET
JOHNSTOWN, PA 15906                                  P‐0012381 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRES, ELADIO A.
80 PINE ISLAND CIRCLE
KISSIMME, FL 34743                                   P‐0012382 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RACETTE, THOMAS R.
726 79TH STREET
LINO LAKES, MN 55014                                 P‐0012383 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FU, QINGCHUAN
36734 PORT TIDEWOOD ST
NEWARK, CA 94560                                     P‐0012384 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNLEY, DOUGLAS R.
43863 BRANDYWYNE RD.
CANTON, MI 48187                                     P‐0012385 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEUTLER, EDWARD A.
8075 BEECHER RD.
FLUSHING, MI 48433                                   P‐0012386 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CINQUANTA, LISA M.
1501 S.HIGHWAY 79 APT.124
FLORENCE, AZ 85132‐9791                              P‐0012387 11/1/2017      TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
DUNN, KEVIN M.
5367 COTTONTOWN ROAD
FOREST, VA 24551                                     P‐0012388 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBBART, SUSAN M.
19270 PATILLO RD
MOUNT VERNON, AL 36560                               P‐0012389 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACE, CYNTHIA B.
1205 N. WALL AVE
FARMINGTON, NM 87401                                 P‐0012390 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLMEYER, JANANNE M.
1035 E MENTOR
SPRINGFIELD, MO 65810                                P‐0012391 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
REEKS, ROBERT J.
REEKS, JULIE A.
15505 Y ST
OMAHA, NE 68137                                       P‐0012392 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLET, CYNTHIA J.
MULLET JR, ALBERT P.
28114 CHUKKAR LANE
FOLSOM, LA 70437                                      P‐0012393 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, ARLINE
2014 N. PENNSYLVANIA
WICHITA, KS 67214                                     P‐0012394 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILLARD, ROBERT B.
DILLARD, ANNETTE M.
4759 N WATERFRONT WAY
BOISE, ID 83703                                       P‐0012395 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMBERLAIN, TAMULA D.
200 MARLIN CT
MADISON, TN 37115‐7604                                P‐0012396 11/1/2017      TK Holdings Inc., et al .                   $37,000.00                                                                                   $37,000.00
WATTERSON, CARL E.
12800 LOCUST ST
KANSAS CITY, MO 64145‐1315                            P‐0012397 11/1/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
SHAY, TIMOTHY W.
2469 WILAWANA ROAD
ELMIRA, NY 14901                                      P‐0012398 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUSTIN, BRITNEY G.
2727 ALCORN DR APT# 15
VICKSBURG, MS 39183                                   P‐0012399 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOBRAK, AUTUMN R.
WOBRAK, PHILLIP M.
107 BILLIGEN STREET
ALIQUIPPA, PA 15001                                   P‐0012400 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIAL, GAYLA J.
DIAL, JACK L.
407 S EAST ST
WAYNESVILLE, IL 61778                                 P‐0012401 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, RONALD
17371 JAMES COUZENS
DETROIT, MI 48235‐4143                                P‐0012402 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, SHAUNA A.
2603 SOUTH 15TH STREET
SAINT JOSEPH, MO 64503                                P‐0012403 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAUND, AARON D.
904 LONE TREE LANE
PRAIRIE DU SAC, WI 53578                              P‐0012404 11/1/2017      TK Holdings Inc., et al .                     $100.00                                                                                       $100.00
DOBRESKI, MICHAEL J.
3 KILLDEER LANE
FAIRPORT, NY 14450                                    P‐0012405 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAUBART, KAREN G.
3604 W ESTATES LN
UNIT 212
ROLLINGHILLSEST, CA 90274                             P‐0012406 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIRD, ANDREW G.
BIRD, ROSEANN O.
107 MANOR DRIVE
LANSDALE, PA 19446                                    P‐0012407 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BARNES, CAROL R.
BARNES, CAROL
4702 ENGLISHTOWN DR.
ARLINGTON, TX 76016                                P‐0012408 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARATA, VINCENT J.
8026 JOHNNYCAKE ROAD
WINDSOR MILL, MD 21244                             P‐0012409 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMBERLAIN, TAMULA D.
200 MARLIN CT
MADISON, TN 37115                                  P‐0012410 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIACCO, TRAVIS J.
5405 BLUE BONNET DRIVE
WATERLOO, IA 50702                                 P‐0012411 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBBLE, BRUCE
HUBBLE, BRUCE
1013 GREENTREE AVE
METAIRIE, LA 70001                                 P‐0012412 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALMER, DAVID J.
112 VANDERBILT CIR
GREENVILLE, SC 29609                               P‐0012413 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDER, DANIEL J.
2475 ALDER DR.
FRUITPORT, MI 49415                                P‐0012414 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWE, SHELLECE
6050 RIDGECREST RD APT 315
DALLAS, TX 75231                                   P‐0012415 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLEN, MICHAEL T.
4819 GRAND AVENUE
WESTERN SPRINGS, IL 60558                          P‐0012416 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRICK, CHAD A.
1025 FLEUR DR
WATERLOO, IA 50701                                 P‐0012417 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIRD, ANDREW G.
107 MANOR DRIVE
LANSDALE, PA 19446                                 P‐0012418 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHEERER, ROBERT L.
265 HILLCREST BLVD.
MILLBRAE, CA 94030                                 P‐0012419 11/1/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
AUSTIN, BRITNEY G.
2727 ALCORN DR APT# 15
VICKSBURG, MS 39183                                P‐0012420 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHERMAN, LORETTA K.
613 DESOTO LANE
INDIAN HARBOUR B, FL 32937                         P‐0012421 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMPSON, BRANDY
800 TURNER TRAIL
CONWAY, AR 72034                                   P‐0012422 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOWNSEL, LESTER
105 AZTEC DRIVE
N/A
STARKVILLE, MS 39759                               P‐0012423 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOSEPH, XINA M.
6717 HAMPTON ROADS PARKWAY
SUFFOLK
SUFFOLK, VA 23435                                  P‐0012424 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MCALEXANDER, ERNEST E.
MCALEXANDER, AMY D.
1912 SCHOENHEIT STREET
FALLS CITY, NE 68355                                 P‐0012425 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDER, DANIEL J.
2475 ALDER DR.
FRUITPORT, MI 49415                                  P‐0012426 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKETT, LINDSEY
BURKETT, LINDSEY R.
4106 SUNDOWN LANE
WHITE HALL, AR 71602                                 P‐0012427 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMON, CHARLES
8714 LAFAYETTE AVE.
OMAHA, NE 68114                                      P‐0012428 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIRD, ANDREW G.
NO ADDRESS PROVIDED
                                                     P‐0012429 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VARGAS, CANDIS L.
P.O. BOX 10963
BURBANK, CA 91510                                    P‐0012430 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEINGARTNER, RICHARD D.
2213 IROQUOIS RD.
OKEMOS, MI 48864                                     P‐0012431 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRASHER, ALEXANDER
P.O. BOX 34
STERLING, KS 67579                                   P‐0012432 11/1/2017      TK Holdings Inc., et al .                     $619.68                                                                                       $619.68
CLEVELAND, SHENIKA L.
708 TOWERY COURT
RIDGELAND, MS 39157                                  P‐0012433 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROECKELL‐MANNIX, MARY
83 STUYVESANT AVE
LARCHMONT, NY 10538                                  P‐0012434 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAFTAL, ROBERT A.
NAFTAL, ALISON R.
386 SHARPNERS POND RD
NORTH ANDOVER, MA 01845                              P‐0012435 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANTING, BENJAMIN A.
MANTING, LAUREN E.
1839 MILES AVENUE
KALAMAZOO, MI 49001                                  P‐0012436 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HATHAWAY, CORY W.
206 E. OAK ST.
CELINA, OH 45822                                     P‐0012437 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STUBBS, JASON L.
9125 HWY 169
UNION STAR, MO 64494                                 P‐0012438 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUCHSCHERER, ERIC J.
N6386 23RD RD
WILD ROSE, WI 54984                                  P‐0012439 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLOUSE, EDWARD A.
CLOUSE, LA VONNE M.
8114 N 106TH AVE
PEORIA, AZ 85345                                     P‐0012440 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAULER, SHERRY K.
15020 VALLEY DR
WOLVERINE, MI 49799                                  P‐0012441 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
POWERS, ANNIE C.
POWERS, MARCUS M.
6023 CARMEL DRIVE
HUNTSVILLE, AL 35810                                 P‐0012442 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, JAMES P.
3392 MARBON ROAD
JACKSONVILLE, FL 32223                               P‐0012443 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANEY, CHRISTA M.
1417 ANGELINA CIRCLE
COLLEGE STATION, TX 77840                            P‐0012444 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, MICHAEL W.
RICHARDSON, CARMEN B.
3101 ASHLEY WAY
ANTIOCH, CA 94509                                    P‐0012445 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRESCO, RONALD A.
8601 BUTTON BUSH LN
WESTERVILLE, OH 43082                                P‐0012446 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NILMEIER, BRAD J.
TOTAL PRODUCE CO.
2787 W. BULLARD, SUITE 109D
FRESNO, CA, CA 93711                                 P‐0012447 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLSON, TAYLA J.
WILLSON, ROBERT J.
19 GRANDVIEW COURT
NORWICH CT                                           P‐0012448 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOREMAN, EVELYN
17344 OAK DRIVE
DETROIT, MI 48221‐3724                               P‐0012449 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, GLENN
18 LANDING ROAD
MILLER PLACE, NY 11764                               P‐0012450 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, JR, HENRY B.
8 PERIMETER CENTER E #1322
ATLANTA, GA 30346                                    P‐0012451 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAETZOLD, MARK H.
MAETZOLD, DIANA K.
3620 SOUTH OAK CIRCLE
ST CLOUD, MN 56301                                   P‐0012452 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, GLENN
18 LANDING ROAD
MILLER PLACE, NY 11764                               P‐0012453 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, MICHAEL W.
2349 WHITETAIL DRIVE
ANTIOCH, CA 94531                                    P‐0012454 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALAS, EVELYN
3 STOCKTON COURT
CLIFTON PARK, NY 12065                               P‐0012455 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COVEY, CURTIS
6548 SOUTH BEDFORD CIRCLE
DERBY, KS 67037                                      P‐0012456 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RABB, MARILYN F.
87‐561 FARRINGTON HWY #203
WAIANAE, HI 96792                                    P‐0012457 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALDETTI, MARIANNE J.
NO ADDRESS PROVIDED
                                                     P‐0012458 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ANDERSON, LASHAUNTA
414 HOBART ST
MICHIGAN CITY, IN 46360                               P‐0012459 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENSEN, PAUL
313 LASSALLE DRIVE
RIVER RIDGE, LA 70123                                 P‐0012460 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, CHARLES V.
809 GREENWOOD DRIVE
SPRING LAKE HTS, NJ 07762                             P‐0012461 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRESCO, RONALD A.
8601 BUTTON BUSH LN.
WESTERVILLE, OH 43082                                 P‐0012462 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKE, LINDA P.
306 PIONEER RD
PAPILLION, NE 68046                                   P‐0012463 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOLZ, RONALD
4881 JODY LYNN DR
MENTOR, OH 44060                                      P‐0012464 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, JAMES G.
101 TAYLOR ST
ESSEX, MO 63846                                       P‐0012465 11/1/2017      TK Holdings Inc., et al .                    $1,282.16                                                                                    $1,282.16
NILMEIER, BRAD J.
2787 W. BULLARD, SUITE 109D
FRESNO, CA 93711                                      P‐0012466 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS‐LEE, KRISTINA
115 TUXEDO
HIGHLAND PARK, MI 48203                               P‐0012467 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENNEDY, KEVIN M.
280 STEVENSON DRIVE
PLEASANT HILL, CA 94523                               P‐0012468 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOLZ, KIMBERLY
4881 JODY LYNN DR
MENTOR, OH 44060                                      P‐0012469 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAU, DEBORAH A.
121 RAGSDALE PLACE
HONOLULU, HI 96817                                    P‐0012470 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, CATHY G.
39 PLYMOUTH
PATERSON, NJ 07502                                    P‐0012471 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARLOW, CELESTE S.
4318 E HACIENDA AVE
LAS VEGAS, NV 89120                                   P‐0012472 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEUTSCH, HELEN L.
5898 POWDERHORN CT SW
WYOMING, MI 49418                                     P‐0012473 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY, ELENA
NO ADDRESS PROVIDED
                                                      P‐0012474 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, JAMES G.
101 TAYLOR ST
ESSEX, MO 63846                                       P‐0012475 11/1/2017      TK Holdings Inc., et al .                    $1,282.16                                                                                    $1,282.16
BROTT, KENDRA A.
BROTT, PATRICK G.
1680 RIDGLEY BLVD
EUGENE, OR 97401                                      P‐0012476 11/1/2017      TK Holdings Inc., et al .                     $440.00                                                                                       $440.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CHOPEL, JAN C.
SHACKLETON, PATRICIA A.
400 GREYFRIARS LANE
CARY, NC 27518                                       P‐0012477 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRASSER, MARK A.
2 BAYBERRY DRIVE
CLIFTON PARK, NY 12065                               P‐0012478 11/1/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
LI, XIN
5121 KELLER RIDGE DR
CLAYTON, CA 94517                                    P‐0012479 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORSO, SEAN C.
CORSO, AMY B.
2412 QUICKSBURG ROAD
QUICKSBURG, VA 22847                                 P‐0012480 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLZIN, FRANCISCO R.
2418 OAKGROVE CIRCLE
SCOTT AFB, IL 62225                                  P‐0012481 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAGOLLA, LUIS A.
4126 OLCOTT AVE.
EAST CHICAGO, IN 46312‐2542                          P‐0012482 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLANUEVA, PETER
1531 PACIFIC AVE
SAN LEANDRO, CA 94577                                P‐0012483 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKENZIE JENNING, MARY A.
417 BRIAR PATCH LN
FRANKFORT, KY 40601                                  P‐0012484 11/1/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
COLOZZI, KEVIN
126 WINDMILL DRIVE
HOLLAND, PA 18966                                    P‐0012485 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRESTO, TRAVIS R.
125 WOODSTONE LN SW
CEDAR RAPIDS, IA 52404                               P‐0012486 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGONER, TRACEE A.
26771 LAKEVUE DRIVE APT 7
PERRYSBURG, OH 43551                                 P‐0012487 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, RANDY A.
DAVIS, ELIZABETH A.
4433 BATON ROUGE DR
HERMITAGE, TN 37076                                  P‐0012488 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACCARDI, DEBORAH A.
16588 78TH DR N
WEST PALM BEACH, FL 33418‐7679                       P‐0012489 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIERKING, JUDY G.
594 E. HIGH
MARSHALL, MO 65340                                   P‐0012490 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, DENISE A.
3702 ROCKY WAGON ST
WILLISTON, ND 58801                                  P‐0012491 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOKE, RICHARD A.
197 NEVADA ST.
REDWOOD CITY, CA 94062                               P‐0012492 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEVILLE, SHANNON C.
253 T LEIGH DR
HOUMA, LA 70364                                      P‐0012493 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PRINCE, DELAFONTE
APPLE INC
1400 SAN LEANDRO BLVD APT 502
SAN LEANDRO, CA 94577                                P‐0012494 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOX TRUST, SUSAN G.
37170 N DOOVYS STREET
AVON, OH 44011                                       P‐0012495 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLINE, MICHELE L.
240 W 1ST AVE
BLAIRSVILLE, PA 15717                                P‐0012496 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTON, KAREN K.
2002 CIERRA CIR
SPRING HILL, TN 37174                                P‐0012497 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROTH, DOUGLAS M.
18711 MOUNTAIN SPRING DR
SPRING, TX 77379                                     P‐0012498 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACKERMAN, MARVIN
ACKERMAN, ANTONIA
578 EDGEWOOD RD
REDWOOD CITY, CA 94062                               P‐0012499 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROUSE, LAUREN N.
224 CREST AVENUE
BETHLEHEM, PA 18015                                  P‐0012500 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLINE, MICHELE L.
240 W 1ST AVE
BLAIRSVILLE, PA 15717                                P‐0012501 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EBBEN, JEFFREY M.
N9487 HANDEL DRIVE
APPLETON, WI 54915                                   P‐0012502 11/1/2017      TK Holdings Inc., et al .                     $330.48                                                                                       $330.48
LOVEN‐CRUM, MICHAEL D.
LOVEN‐CRUM, MICHAEL D.
1106 TURNER BLVD
OMAHA, NE 68105‐1931                                 P‐0012503 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAUTHIER, DONALD P.
GAUTHIER, PAMELA T.
1704 CELTIC DR
MARRERO, LA 70072                                    P‐0012504 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, KIMBERLY D.
942 FARNSWORTH DRIVE
HOPKINS, SC 29061                                    P‐0012505 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROSS, JEFFREY D.
5 CASABLANCA COURT
TOMS RIVER, NJ 08753                                 P‐0012506 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSEN, BENJAMIN J.
HANSEN, SARA R.
7530 IDEAL AVE S
COTTAGE GROVE, MN 55016                              P‐0012507 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIEDT, JEFFREY H.
WRIEDT, DIANE M.
604 ALAMEDA AVE
SALINAS, CA 93901                                    P‐0012508 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEIDER, BRENDA M.
8311 BEECHER ROAD
CLAYTON, MI 49235                                    P‐0012509 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SPURILL, DOMNA T.
2540S..DEWEY ST
PHILADELPHIA, PA 19142                               P‐0012510 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERMAN‐COHEN, DANIELLE
COHEN, MATTHEW E.
4211 WOODLAND AVENUE
APT 305
DREXEL HILL, PA 19026                                P‐0012511 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIEDT, JEFFREY H.
WRIEDT, DIANE M.
604 ALAMEDA AVE
SALINAS, CA 93901                                    P‐0012512 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DIANE A.
8919 RIVER ISLAND DRIVE
APT. 303
SAVAGE, MD 20763                                     P‐0012513 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, BRENT
231 RESTFUL CREST AVE
NORTH LAS VEGAS, NV 89032‐6112                       P‐0012514 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, WAN‐YUN T.
9107 LYNCHBURG CT
FAIRFAX, VA 22032                                    P‐0012515 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLOVER, MARLANA
73‐4246 KAUWILA ST
KAILUA KONA, HI 96740                                P‐0012516 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOKS, EBONY M.
12216 AMARANTH DR
NLR, AR 72117                                        P‐0012517 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, ARISTE M.
3610 TRILLIUM FOREST DRIVE
SNELLVILLE, GA 30039                                 P‐0012518 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAN, LUAN K.
16596 TRINITY LOOP
BROOMFIELD, CO 80023                                 P‐0012519 11/1/2017      TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
ENESTVEDT, CONNIE J.
401 ASH AVE S
NEW RICHLAND, MN 56072                               P‐0012520 11/1/2017      TK Holdings Inc., et al .                    $3,316.70                                                                                    $3,316.70
GHOLSTON, LEAH I.
2418 BRUSH HOLLOW
HOUSTON, TX 77067                                    P‐0012521 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YRACHETA, ALFRED
4162 W. FALLON AVE
FRESNO, CA 93722                                     P‐0012522 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUESSLER, DENNIS R.
8145 HARDWICKE DRIVE
JOHNSTON, IA 50131                                   P‐0012523 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EKECHUKWU, OWEN C.
7410 ADMIRALTY DRIVE
CANTON, MI 48187
                                                     P‐0012524 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DALU, DORIA J.
5 OPAL CT
SUSANVILLE, CA 96130                                 P‐0012525 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIISE, BRIAN L.
3533 ASHBOURNE CIR
SAN RAMON, CA 94583                                  P‐0012526 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DOUROS, JAMES J.
1300 BLANE DRIVE
LYNCHBURG, VA 24502‐4037                             P‐0012527 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVISON, GEORGE P.
1309 57TH PLACE
DES MOINES, IA 50311                                 P‐0012528 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROE, TAIYUN
OH, JI‐SOOK
529 BANYAN CIR
WALNUT CREEK, CA 94598                               P‐0012529 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUTLEY, LATRICIA K.
161 GUINEA SCHOOL ROAD
MOUNDVILLE, AL 35474                                 P‐0012530 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILNE, LEE G.
MILNE, JEANINE B.
511 DEER RUN LN
PAPILLION, NE 68046‐4332                             P‐0012531 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUESSLER, DENNIS R.
8145 HARDWICKE DRIVE
JOHNSTON, IA 50131                                   P‐0012532 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES, JACQUELINE M.
11720 S KILDARE AVE
ALSIP, IL 60803                                      P‐0012533 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OH, JI‐SOOK
529 BANYAN CIR
WALNUT CREEK, CA 94598                               P‐0012534 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FONTENOT, MAKEBA N.
1303 RIVER ROCK
MISSOURI, TX 77489                                   P‐0012535 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYANT, JOE E.
1338 14TH STREET
SARASOTA, FL 34235‐2508                              P‐0012536 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUSSMAN, SAMUEL R.
56 PINE HILL RD.
ENFIELD, CT 06082                                    P‐0012537 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILNE, LEE G.
MILNE, JEANINE B.
511 DEER RUN LN
PAPILLION, NE 68046‐4332                             P‐0012538 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVISON, GEORGE P.
1309 57TH PLACE
DES MOINES, IA 50311                                 P‐0012539 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, MICHAEL W.
RICHARDSON, CARMEN B.
3101 ASHLEY WAY
ANTIOCH, CA 94509                                    P‐0012540 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUZZARTE, MONIQUE
110 SEAMAN AVENUE #5L
NEW YORK, NY 10034                                   P‐0012541 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GABLEMAN, RYAN D.
69739 S RIVER RD
WHITE PIGEON, MI 49099                               P‐0012542 11/1/2017      TK Holdings Inc., et al .                     $995.00                                                                                       $995.00
AKER, CHRISTINE A.
NO ADDRESS PROVIDED
                                                     P‐0012543 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
CHEN, SHOO K.
8169 RIPPLE RIDGE
DARIEN, IL 60561                                      P‐0012544 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WERNER, LOREN J.
2427 KUHIO AVE. #1904
HONOLULU, HI 96815                                    P‐0012545 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDDINS, WILLIAM M.
6814 HWY 331 SOUTH
DEFUNIAK SPRINGS, FL 32435                            P‐0012546 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLOWAY, MATTHEW W.
3635 MILLER ST.
PHILADELPHIA, PA 19134                                P‐0012547 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINN, HANNAH
LINN, JESSE
9617 CEDARWOOD DR
WEST DES MOINES, IA 50266                             P‐0012548 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOREMAN, ERICA L.
3707 ARCHWOOD DR.
ROCKY RIVER, OH 44116                                 P‐0012549 11/1/2017      TK Holdings Inc., et al .                    $4,806.00                                                                                    $4,806.00
MILNE, LEE G.
MILNE, JEANINE B.
511 DEER RUN LN
PAPILLION, NE 68046‐4332                              P‐0012550 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, PATTIE B.
1150 PLANTATION COURT
JACKSON, MS 39211                                     P‐0012551 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOTON, LAWRENCE
FONTENOT, MAKEBA N.
1303 RIVER ROCK
MISSSOURI, TX 77489                                   P‐0012552 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DALIER, JOHN C.
2612 CAMPAGNA DRIVE
CHALMETTE, LA 70043                                   P‐0012553 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUCHON, SUSAN
2809 TAFT PARK
METAIRIE, LA 70002                                    P‐0012554 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HICKS, KAREN C.
4208 S. 36TH AVE
OMAHA, NE 68107                                       P‐0012555 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, GABRIELLE V.
NAVY FEDERAL CREDIT UNION
115 MCDONALD CT.
LEESBURG, GA 31763                                    P‐0012556 11/1/2017      TK Holdings Inc., et al .                   $24,581.04                                                                                   $24,581.04
COLON ORTIZ, MARIADELOSA
414 MANITOBA LANE
KISSIMMEE, FL 34759‐5500                              P‐0012557 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAILY, KELLY L.
2360 W GLENDALE AVE
UNIT A
APPLETON                                              P‐0012558 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRENTZEL, MICHELLE M.
6320 53RD AVE
KENOSHA, WI 53142                                     P‐0012559 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PFORTE, EDWARD O.
6336 LAWNDALE AVE
PHILADELPHIA, PA 19111                                P‐0012560 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BOKINGKITO, ANA GIGI C.
598 WEST SOUTH ST.
MARENGO, IA 52301                                    P‐0012561 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, SARAH H.
4572 SATTERTON CIR
DUBLIN, OH 43016                                     P‐0012562 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRES, CHRISTINA M.
10225 LURLINE AVE
UNIT B
CHATSWORTH, CA 91311                                 P‐0012563 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHOLES, MIRIAM R.
4765 OLIVE DR
CONCORD, CA 94521                                    P‐0012564 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATANAGH, NIMTAJ
1226 23TH STREET
#4
SANTA MONICA, CA 90404                               P‐0012565 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORTIMER, SIERRA L.
63 NORTHERN ARAPAHOE RD
ARAPAHOE, WY 82510                                   P‐0012566 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEHLE, CALVIN J.
7901 LANDER AVE NE
OTSEGO, MN 55301                                     P‐0012567 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RITZINGER, DANIEL G.
RITZINGER, SANDRA L.
16730 132ND ST
BLOOMER, WI 54724                                    P‐0012568 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, ABIGAIL J.
4476 BOULDER POND DR
ANN ARBOR, MI 48108                                  P‐0012569 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PFORTE, EDWARD O.
6336 LAWNDALE AVE
PHILADELPHIA, PA 19111                               P‐0012570 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARREN, CYNTHIA A.
WARREN, MARK P.
CYNTHIA A WARREN
1428 CITADEL DR.
JOLIET, IL 60435                                     P‐0012571 11/1/2017      TK Holdings Inc., et al .                     $150.00                                                                                       $150.00
BECK, KIMBERLY R.
531 PHEASANT RUN
VIRGINIA BEACH, VA 23452                             P‐0012572 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER‐ERICKSON, ROBIN C.
413S. STATE STREET
WAUPACA, WI 54981                                    P‐0012573 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BHAGRA, ANJALI
1250 WESTHILL DRIVE SW
ROCHESTER, MN 55902                                  P‐0012574 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JURADO, ARMIDA
JURADO, BENNY
17038 WILTON PLACE
TORRANCE, CA 90504                                   P‐0012575 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GITZKE, STEVE
501 ESPLANADE
UNIT 301
REDONDO BEACH, CA 90277                              P‐0012576 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CHIU, VINCENT
WONG, KELLY
2028 CALAVERAS RD
MILPITAS, CA 95035                                   P‐0012577 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMOS, KATHRYN M.
17038 WILTON PL.
TORRANCE, CA 90504                                   P‐0012578 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANE, MATTHEW
HANE, AMIE
965 N HOOSAC RD
WILLIAMSTOWN, MA 01267                               P‐0012579 11/1/2017      TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
JUNG, DONALD T.
JUNG, YOUNG M.
20387 CLIFDEN WAY
CUPERTINO, CA 95014                                  P‐0012580 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GITZKE, STEVEN
501 ESPLANADE
UNIT 301
REDONDO BEACH, CA 90277                              P‐0012581 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORES, NORA
NO ADDRESS PROVIDED
                                                     P‐0012582 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN DEUSEN III, LEON W.
VAN DEUSEN, IRENE
P.O. BOX 357
TOWER, MN 55790                                      P‐0012583 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALAWAY, AJAUNTE
MOORE, LARRY
345 MINGO BRACY RD
LOWNDESBORO, GA 30294                                P‐0012584 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOLKS, SUSAN M.
FOLKS, JOE A.
2100 W 100TH AVE
SPACE 49
THORNTON, CO 80260                                   P‐0012585 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THONG, PHING
5139 OLIVE DRIVE
CONCORD, CA 94521                                    P‐0012586 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIU, VINCENT
WONG, KELLY
2028 CALAVERAS RD
MILPITAS, CA 95035                                   P‐0012587 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORTUNE, DEVIN R.
5707 E 17TH ST
KANSAS CITY, MO 64127                                P‐0012588 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOTAL PRODUCE COMPANY, INC.
2787 W. BULLARD, SUITE 109D
FRESNO, CA 93711                                     P‐0012589 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRSCHNER, RICHARD B.
KIRSCHNER, AMY F.
5017 WINDLEIGH PLACE
SAINT LOUIS, MO 63128                                P‐0012590 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSER, MARILYN F.
51074 MOTT ROAD, TRLR 218
CANTON, MI 48188                                     P‐0012591 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ERBY, BARBARA
P.O. BOX 56794
LITTLE ROCK, AR 72215                                 P‐0012592 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVALOS, OMAR O.
524 POWELL ST
SALINAS, CA 93907                                     P‐0012593 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, CHAILA
HERNANDEZ, CHAILA E.
5921 LAWNMEADOW DRIVE
CHARLOTTE, NC 28216                                   P‐0012594 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUSUMANO, ANTHONY J.
4490 WELLS RD
PETERSBURG, MI 49270                                  P‐0012595 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCHESNEY, NANCI P.
HENRY, DARIN G.
1916 MADISON STREET
EUGENE, OR 97405                                      P‐0012596 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FONTES, ZITA C.
2469 MEDALLION DR.
UNION CITY, CA 94587                                  P‐0012597 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHILL JR, GUSTAVE B.
906 JAMESTOWN CRESCENT
NORFOLK, VA 23508                                     P‐0012598 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOLKS, SUSAN M.
FOLKS, JOE A.
2100 W 100 W 100TH AVE
SPACE 49
THORNTON, CO 80260                                    P‐0012599 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOTAL PRODUCE COMPANY
2787 W. BULLARD, SUITE 109D
FRESNO, CA 93711                                      P‐0012600 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, SKYQUAJUS
2422 CHOCTAW TRACE
MURFREESBORO, TN                                      P‐0012601 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMISON, KARI M.
2305 MASTERS WAY
ALPHARETTA, GA 30005                                  P‐0012602 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGER, CANDIS R.
3140 N 46TH
LINCOLN, NE 68504                                     P‐0012603 11/1/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
DESAI, GAURAV
NO ADDRESS PROVIDED
                                                      P‐0012604 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCINTYRE, MITCHELL E.
MCINTYRE, KRISTEN V.
5501 CHILVARY CT
KNIGHTDALE, NC 27545                                  P‐0012605 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORZELSKY, ANGELA M.
6651
220 SPRING STREET
JOHNSTOWN, PA 15906                                   P‐0012606 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHATTOPADHYAY, ARUNABH
3000 WINNETKA AVE N
APT 311
CRYSTAL, MN 55427                                     P‐0012607 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
TOM, DAVID
155 PAOAKALANI AVENUE
SUITE 501
HONOLULU, HI 96815                                    P‐0012608 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YANG, JINGZHEN
38096 LUMA TER
NEWARK, CA 94560                                      P‐0012609 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REIS, ADDISON M.
738 5TH AVE. W
DICKINSON                                             P‐0012610 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONG, JOSEPH C.
LONG, MARY E.
P.O. BOX 19
510 NORTH VINE STREET
CHEROKEE, KS 66724                                    P‐0012611 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARINO, JAMES D.
2515 CANYON VILLAGE CIRCLE
SAN RAMON, CA 94583                                   P‐0012612 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, UBALDO P.
10448 SPRINGROSE AVENUE
BATON ROUGE, LA 70810                                 P‐0012613 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GULSETH, MARK K.
30884 CARE FREE LANE
FRAZEE, MN 56544                                      P‐0012614 11/2/2017      TK Holdings Inc., et al .                     $900.00                                                                                       $900.00
CHANDLER, ANGEL T.
4709 W CONGRESS STREET
MILWAUKEE, WI 53218                                   P‐0012615 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEIBY, WENDY
1013 SHICKSHINNY VALLEY RD
SHICKSHINNY, PA 18655                                 P‐0012616 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DISHAROON, JASON E.
4425 EDEN STREET
NEW ORLEANS, LA 70125                                 P‐0012617 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTHY, MAURA T.
1431 COLORADO AVE SE
GRAND RAPIDS, MI 49507                                P‐0012618 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LE, LIEN X.
1319 CUMBERLAND AVE
SAN LEANDRO, CA 94579                                 P‐0012619 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, UBALDO P.
10448 SPRINGROSE AVENUE
BATON ROUGE, LA 70810                                 P‐0012620 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEST, THOMAS
6180 S ASTRONOMER AVE
BOISE, ID 83709                                       P‐0012621 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICKLAS, MARIE E.
NICKLAS, JOHN
2460 W. AINSLIE ST.
CHICAGO, IL 60625                                     P‐0012622 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TENNEFOSS, MICHAEL R.
400 CONIL WAY
PORTOLA VALLEY, CA 94028‐7407                         P‐0012623 11/2/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
ALFARO, DANIEL L.
515 LEXINGTON DRIVE
VIDOR, TX 77662                                       P‐0012624 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SINGH, KULDEEP
2676 E ROCKINGHAM CT
FRESNO, CA 93720                                     P‐0012625 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, WAYNE W.
ANDERSON, LAURA J.
400 S 26TH ST
LINCOLN, NE 68510                                    P‐0012626 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCTAGGART, DORSEY
79 MARINER GREEN DRIVE
CORTE MADERA, CA 94925‐2056                          P‐0012627 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, JOHN N.
EVANS, DOROTHEA F.
2503 ALVORD LANE
REDONDO BEACH, CA 90278                              P‐0012628 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRANDA, MANARI N.
6627 HONEY HARVEST LN
HOUSTON, TX 77084                                    P‐0012629 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, SHU J.
16241 LIBERTY ST
SAN LEANDRO, CA 94578                                P‐0012630 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLS, ANDREW T.
546 WESTSIDE DR
IOWA CITY, IA 52246                                  P‐0012631 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES, KAREN J.
3920 LAZY PINE ST
#103
LAS VEGAS, NV 89108                                  P‐0012632 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLS, ANDREW T.
546 WESTSIDE DR
IOWA CITY, IA 52246                                  P‐0012633 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
K., MANARI
6627 HONEY HARVEST LN
HOUSTON, TX 77084                                    P‐0012634 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NUDO, TAMMY L.
3 MOUNT AIRY ESTATES
TUNKHANNOCK, PA 18657                                P‐0012635 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERKEN, SARAH A.
3208 GREENLAND DR.
ANCHORAGE, AK 99517                                  P‐0012636 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIRANDA, PAUL
13327 DURANGO PLACE
CERRITOS, CA 90703                                   P‐0012637 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUN, BINGJUN
1481 MORTON AVE
LOS ALTOS, CA 94024                                  P‐0012638 11/2/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
YOUNG, DONALD K.
DONALD K YOUNG
3049 MAIGRET ST
HONOLULU, HI 96816                                   P‐0012639 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, CARMEN C.
7228D HAWAII KAI DRIVE
HONOLULU, HA 96825                                   P‐0012640 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGUILAR, LAWRENCE
375 MANDARIN DRIVE
UNIT 205
DALY, CA 94015                                       P‐0012641 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RATRA, ATUL K.
2801 E AVERY DR APT D26
PALM SPRINGS, CA 92264                               P‐0012642 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEHOKE, ERIK T.
27635 CAPEL ROAD
COLUMBIA STATION, OH 44028                           P‐0012643 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNDON, JILL E.
5563 FYLER AVE
SAINT LOUIS, MO 63139                                P‐0012644 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LI, RACHEL T.
2381 CARTERS GROVE LAN
GERMANTOWN, TN 38138                                 P‐0012645 11/2/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
ARCE, LAUREN
ARCE, LAURENTINO
1116 EMERALD STREET
REDONDO BEACH, CA 90277                              P‐0012646 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRVEN SMITH, JOEANN M.
1507 MANORWAY STREET
TYLER, TX 75702                                      P‐0012647 11/2/2017      TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
SAUERBREY, CHARLES F.
PO BOX362
5764 OLD STATE HIWAY111
SPENCER, TN 38585                                    P‐0012648 11/2/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
THOMPSON, ANTHONY L.
730 CORY DRIVE UNIT 3
INGLEWOOD, CA 90302                                  P‐0012649 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, NAN
2381 CARTERS GROVE LANE
GERMANTOWN, TN 38138                                 P‐0012650 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LI, KUI
2381 CARTERS GROVE LN.
GERMANTOWN, TN 38138
USA                                                  P‐0012651 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTO, PAUL T.
SANTO, JANICE H.
99‐476 IWAIWA STREET
AIEA, HI 96701                                       P‐0012652 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, SAMMIE D.
137 KING RANCH CIRCLE
CANTON, MS 39046                                     P‐0012653 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEREDIA, SUSAN M.
9 ROCK HILL COURT
SACRAMENTO, CA 95833                                 P‐0012654 11/2/2017      TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
MARIN, ANGELO J.
14633 LARK ST
SAN LEANDRO, CA 94578                                P‐0012655 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAOOF, ABRAHAM
5981 WINGED FOOT DR
GILROY, CA 95020                                     P‐0012656 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTHEWS, TROY A.
8957 E FUNSTON
WICHITA, KS 67207                                    P‐0012657 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLK, AHMAD R.
2721 N. DORGENOIS ST.
NEW ORLEANS, LA 70117                                P‐0012658 11/2/2017      TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00


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                                                                                                                    Current General                                          Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
DILLMAN, MICHAEL F.
DILLMAN, MARY J.
154 SKYLINE DRIVE
WEST HAVEN, CT 06516                                 P‐0012659 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
KROEGER, ROBERT R.
66‐105 ALENA PLACE
WAIALUA, HI 96791                                    P‐0012660 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
JOHNSON, BERNARD Z.
6178 LAUREL LANE
APT C
TAMARAC, FL 33319                                    P‐0012661 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LAUMATIA, SHAZZELMA
246 PANEPOO PLACE
WAHIAWA, HI 96786                                    P‐0012662 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
HARRIOTT‐JOHNSON, TENE
HARRIOTT, JENNIFER
6178 LAUREL LANE
APT C
TAMARAC, FL 33319                                    P‐0012663 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
BARNES, MARK
16737 STONEY CREEK CT
AUGUSTA, MI 49012                                    P‐0012664 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SARGE, CATHERINE E.
95 THIRD STREET
WESTMORDLAND CIT, PA 15692                           P‐0012665 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
RATHKE, MICHAEL L.
400 HOLLYBROOK ROAD
ROCHESTER, NY 14623                                  P‐0012666 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ORDWAY, MARK
500 LOCKEWOOD LANE
SCOTTS VALLEY, CA 95066                              P‐0012667 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                     $5,000.00
ALVARADO‐RATHKE, STEPHANIE D.
400 HOLLYBROOK ROAD
ROCHESTER, NY 14623                                  P‐0012668 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SIKORA, HEATHER A.
2592 NOTRE DAME ST NE
CANTON, OH 44721                                     P‐0012669 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
FLOWERS, AMY L.
2935 NORTHSHORE DRIVE
TOLEDO, OH 43611                                     P‐0012670 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
PEARSON, LISA M.
607 SECOND ST
ALBANY, NY                                           P‐0012671 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LLOYD, JOY M.
13611 S KEYSTONE AVE
ROBBINS, IL 60472                                    P‐0012672 11/2/2017      TK Holdings Inc., et al .                   $25,000.00                                                                                    $25,000.00
VIDAS, ALEXANDROS A.
VIDAS, TONYA L.
14451 BREAKWATER WAY
WINTER GARDEN, FL 34787                              P‐0012673 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
FORCINO, TONI B.
883 FLAGLER DR.
GAITHERSBURG, MD 20878                               P‐0012674 11/2/2017      TK Holdings Inc., et al .                 $1,000,000.00                                                                                $1,000,000.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LEMON, PAUL D.
LEMON, MICHELE L.
3045 W BERTRAND RD
NILES, MI 49120                                      P‐0012675 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, BOBBY C.
1811 WILDWOOD LN
GLENN HEIGHTS, TX 75154                              P‐0012676 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEDET, DARLENE
1401 S WILSON AVENUE
METAIRIE, LA 70003                                   P‐0012677 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, TIMOTHY J.
WILSON, LEE P.
65 OUTLOOK DRIVE SOUTH
MECHANICVILLE, NY 12118                              P‐0012678 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDYKE, JANET A.
146 HIGHLAND LAKES ROAD
HIGHLAND LAKES, NJ 07422                             P‐0012679 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOTS, JOHN F.
7130 S ABBOTT ROAD
HAMBURG, NY 14075                                    P‐0012680 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICHOLS, CARL
219 OKTIBBEHA ST
GREENVILLE, MS 38703                                 P‐0012681 11/2/2017      TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
ETTERLING, COREY D.
4147 DRUMMOND RD
TOLEDO, OH 43613                                     P‐0012682 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LATENDRESSE, DAWN A.
347 RICE RD
WATERFORD, ME 04088                                  P‐0012683 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN ROEKEL, KERMIT G.
RUTH
29042 TREASURE ISLAND RD
DANBURY, WI 54830                                    P‐0012684 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMISON, JENNIFER M.
39771 HEARTS DESIRE LN
MECHANICSVILLE, MD 20659                             P‐0012685 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRESLIN, THERESA J.
1282 LINDSAY LANE
RYDAL, PA 19046                                      P‐0012686 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARP, MATTHEW B.
240 TRAILMORE COURT
ROSWELL, GA 30076                                    P‐0012687 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLUG, FREDRICKA
553 SHADOWBROOK CT
DAVIDSONVILLE, MD 21035                              P‐0012688 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VEIRA, LADONNA
2105 KILLINGTON DRIVE
HARVEY, LA 70058                                     P‐0012689 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, NATALIE N.
6246 SHAMROCK CT.
FORT WORTH, TX 76119                                 P‐0012690 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANIELI, JOSEPH J.
134 BLACKBERRY LANE
DURYEA, PA 18642                                     P‐0012691 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
YAEGER‐ROSARIO, CAROL A.
110 MECHANIC ST
FAYETTEVILLE, NY 13066                                P‐0012692 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLINA‐KANTOR, MARGARET H.
MOLINA‐KANTOR, MARGARET H.
21500 LASSEN ST. #7
CHATSWORTH, CA 91311                                  P‐0012693 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON(FRANKLIN), NATALIE N.
6246 SHAMROCK CT.
FORT WORTH, TX 76119                                  P‐0012694 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHLAPPE, GARY A.
1810 N VAN DITTIE DR
GARDEN CITY, KS 67846                                 P‐0012695 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHARP, AMANDA J.
222 GEORGIA AVE
BOWLING GREEN, OH 43402                               P‐0012696 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOSEPH, JOHN E.
18901 E BELLEVIEW PLACE
CENTENNIAL, CO 80015                                  P‐0012697 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YUHAS, MARGARET T.
1070 BUCKEYE BRANCH
BLUE RIVER, KY 41607                                  P‐0012698 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, MELISSA L.
622 N BEND RD
BALTIMORE, MD 21229                                   P‐0012699 11/2/2017      TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
APPLETON, MARY B.
3949 PEPPERWOOD CT
SYLVANIA, OH 43560                                    P‐0012700 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROCKWOOD, STEPHEN V.
370 W. HORSESHOE RD.
TALLAHASSEE, FL 32317                                 P‐0012701 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINDENFELD, SARAH N.
24 ROBINSON AVE
BRAINTREE, MA 02184                                   P‐0012702 11/2/2017      TK Holdings Inc., et al .                     $109.00                                                                                       $109.00
ABEND, ERIC W.
3190 NW 97 AVENUE
SUNRISE, FL 33351                                     P‐0012703 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKLADANOVSKIY, VITALIY
15367 FOLIAGE AVE
APPLE VALLEY, MN 55124                                P‐0012704 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLINA, MARGARET H.
21500 LASSEN ST. #7
CHATSWORTH, CA 91311                                  P‐0012705 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSARIO, ENRIQUE A.
110 MECHANIC ST
FAYETTEVILLE, NY 13066                                P‐0012706 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BILSKY, STEVEN F.
44 N. SECOND STREET, SUITE 50
MEMPHIS, TN 38103                                     P‐0012707 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARD, JENNIFER R.
3515 33RD STREET
MERIDIAN, MS 39307                                    P‐0012708 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
BRITTON JR., PAUL
965 LANES CREEK DR.
GEORGETOWN, SC                                        P‐0012709 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
KARDON, FREDRIC M.
2 PERRY LANE
ITHACA, NY 14850                                      P‐0012710 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, GEORGETTE A.
4029 54TH STREET
DES MOINES, IA 50310                                  P‐0012711 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEEN, DONNA M.
11408 CEDAR RUN ROAD
S PRINCE GEORGE, VA 23805                             P‐0012712 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES, NICOLE P.
75 WILSON AVENUE
DEER PARK, NY 11729                                   P‐0012713 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMERON, MARSHA
11790 VERMILLION ST NE UNIT G
BLAINE, MN 55449                                      P‐0012714 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPRANDEL, NANCY I.
JON
29156 ALBION RD
ALBION, MI 49224                                      P‐0012715 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORWOOD, MICHELLE P.
1303 TOWN CENTER PARKWAY
UNIT 13222
SLIDELL, LA 70458                                     P‐0012716 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BATES, KELLI A.
996 VERNON ROAD
BEXLEY, OH 43209                                      P‐0012717 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNS, LISA A.
78 TEETER ROAD
ITHACA, NY 14850                                      P‐0012718 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRISON II, LARRY W.
4272 MONTE VISTA WAY
COSBY, TN 37722                                       P‐0012719 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRESSLER, KENNETH E.
BRESSLER, CATHERINE J.
P.O. BOX 275
WICOMICO, VA 23184                                    P‐0012720 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMERON, MARSHA
11790 VERMILLION ST NE UNIT G
BLAINE, MN 55449                                      P‐0012721 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNS, DAVID C.
78 TEETER ROAD
ITHACA, NY 14850                                      P‐0012722 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATT, DAVID B.
PATT, PATRICIA B.
58 SOUTH RIDGE TRAIL
FAIRPORT, NY 14450                                    P‐0012723 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEHMAN, BRIAN L.
1376 MALLARD DR E
CHAMBERSBURG, PA 17202                                P‐0012724 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOALS, JAMES K.
1464 BAYWICKE DR. SE
LOWELL, MI 49331                                      P‐0012725 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICKERMAN, MATTHEW L.
3534 APPLE VALLEY ROAD
OKEMOS, MI 48864                                      P‐0012726 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LEHMAN, BRIAN L.
1376 MALLARD DR E
CHAMBERSBURG, PA 17202                               P‐0012727 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOPHER, PAUL J.
SOPHER, PAUL J.
142 W HILLCREST
HAVERTOWN, PA 19083                                  P‐0012728 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALLAS, TIMOTHY J.
8669 CONCORD DRIVE
JESSUP, MD 20794                                     P‐0012729 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, ABRA E.
477 PARK AVENUE
APT. 1
ROCHESTER, NY 14607                                  P‐0012730 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SADIGHI, KAMRAN S.
SADIGHI, VIDA N.
2422 WASHINGTON AVE
SANTA MONICA, CA 90403                               P‐0012731 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LITFIN, BENJAMIN P.
5505 HALLMARK LN.
LOCKPORT, NY 14094                                   P‐0012732 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEHRER, STEPHEN
5566 CRYSTAL FALLS
DUBLIN, OH 43016                                     P‐0012733 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, GISELLE
3673 THIRD AVENUE
12G
BRONX, NY 10456                                      P‐0012734 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALINAS, ALEXANDER
6530 EAGLE RIDGE CT.
GILROY, CA 95020                                     P‐0012735 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRIVELLINI, JEANNE
P.O. BOX 73
PINEVILLE, PA 18946                                  P‐0012736 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HAYES, CHARLES E.
701 RUEBENS CAVE DR
ALBANY, WI 53502                                     P‐0012737 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBORZI, HOUMAN
213 WILMAR DR
PITTSBURGH, PA 15238                                 P‐0012738 11/2/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
ELIAS, THOMAS P.
ELIAS, SUE A.
2619 SOUTHLAND ST SW
CEDAR RAPIDS, IA 52404                               P‐0012739 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRPWER, E. J.
6176 GOLDEN VALLEY ROAD
GOLDEN VALLEY, MN 55422                              P‐0012740 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEHRER, CARA
5566 CRYSTAL FALLS STREET
DUBLIN, OH 43017                                     P‐0012741 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLTZ, BRIAN D.
W287N8391 CENTER OAK RD.
HARTLAND, WI 53029                                   P‐0012742 11/2/2017      TK Holdings Inc., et al .                     $210.00                                                                                       $210.00
HAISTEN, CLARENCE N.
4187 JULIE CT NE
KENNESAW, GA 30144‐2228                              P‐0012743 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LANDRY, BRYAN J.
304 FAIRFIELD AVENUE
GRETNA, LA 70056                                    P‐0012744 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAVROMATIS, PETER G.
MAVROMATIS, KATHERYN G.
10600 MENTZ HILL ACRES
ST. LOUIS, MO 63128                                 P‐0012745 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYERS, REBECCA P.
137 PARK PLACE WEST
SHIPPENSBURG, PA 17257                              P‐0012746 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANG, GRACE H.
601 GETTYSBURG PLACE
SANDY SPRINGS, GA 30350                             P‐0012747 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, KELLY A.
1774 SWIMMING SALMON PL N
JACKSONVILLE, FL 32225                              P‐0012748 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEHRER, STEPHEN
5566 CRYSTAL FALLS STREET
DUBLIN, OH 43016                                    P‐0012749 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUICHARD, DIANE
311 W GATEHOUSE DRIVE
APT C
METAIRIE, LA 70001                                  P‐0012750 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANLEY, JULIE N.
1589 THISTLE RIDGE RD
HIGHLANDS RANCH, CO 80126                           P‐0012751 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAIR JR, WILLIAM H.
113 W CLOVER DRIVE
INDIANOLA, MS 38751                                 P‐0012752 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSEN, CRAIG R.
5 LONGMEADOW LANE
PEPPERELL, MA 01463‐1440                            P‐0012753 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRESSER, MARIANNE
84 VISTA GRANDE AVE
BENICIA, CA 94510                                   P‐0012754 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWGREEN, MARK A.
9207 NOTRE DAME AVENUE
CHATSWORTH, CA 91311                                P‐0012755 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LITFIN, BENJAMIN P.
5505 HALLMARK LN.
LOCKPORT, NY 14094                                  P‐0012756 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FALLS, OPHELIA Y.
5861 GREAT EGRET DRIVE
SANFORD, FL 32773                                   P‐0012757 11/2/2017      TK Holdings Inc., et al .                       $90.00                                                                                       $90.00
PITONYAK, STEPHEN C.
599 STRATMILL RD
BINGHAMTON, NY 13904                                P‐0012758 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUFFIN, KRYSTAL F.
5704 42ND COURT
MERIDIAN, MS 39307                                  P‐0012759 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARANYI, RICHARD E.
103 HOMESTEAD DRIVE
HENDERSONVILLE, TN 37075                            P‐0012760 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
JOHNSON, SUSAN L.
JOHNSON, RICHARD A.
1421 HURON CT
CHIIPPEWA FALLS, WI 54729                             P‐0012761 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, DANIEL
6650 TAMIAMI CANAL RD
MIAMI, FL 33126                                       P‐0012762 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, SAMANTHA J.
406 S RIVER RD
PORT ALLEN, LA 70767                                  P‐0012763 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERNOLA, N JEAN
985 HINCHEY RD
ROCHESTER, NY 14624                                   P‐0012764 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWE, MEGHAN E.
1239 W. JARVIS AVENUE
#3
CHICAGO, IL 60626                                     P‐0012765 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSTON, GLYN C.
JOHNSTON, LYNNE B.
232 OCEAN PALM DRIVE
FLAGLER BEACH, FL 32136                               P‐0012766 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTBROOK, PEGGY A.
5617 GRADE RD
MOBILE, AL 36693                                      P‐0012767 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAY, TERIS G.
JONES‐CLAY, LAKISHA T.
416 SHARON ROAD
CANTON, MS 39046                                      P‐0012768 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMAR, KATRINA
148 S PHILLIPS AVE
WAYNESBORO, PA 17268                                  P‐0012769 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POVEROMO, RICHARD P.
7 WEST NECK CIRCLE
SOUTHAMPTON,, NY 11968                                P‐0012770 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLWELL, TRISTEN J.
1820 WAUKESHA APT B
HELENA, MT 59601                                      P‐0012771 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENKINS, SHARON Y.
4414 S. HILLCREST CIRCLE
FLINT, MI 48506                                       P‐0012772 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOOTHE, TOMMY
622 GREENE DRIVE
LEBANON, TN 37087                                     P‐0012773 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEELEY, WILLIAM
SHEELEY, KELLY
1518 GRASSY RUN
SAYLORSBURG, PA 18353                                 P‐0012774 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWIESO, CARLEEN M.
842 3RD AVE BOX 585
MANILLA, IA 51454‐0585                                P‐0012775 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, PAUL W.
2355 PIONEER ROAD
HATBORO, PA 19040                                     P‐0012776 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLIN, PETER L.
5029 NEWTON AVE S
MINNEAPOLIS, MN 55419                                 P‐0012777 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WALTON, ROBERT C.
1516 ELSON RD
BROOKHAVEN, PA 19015                                  P‐0012778 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REED, RANDY
21242 BALD EAGLE RD
REHOBOTH, DE 19971                                    P‐0012779 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESTER, CHARLES D.
35269 GOSLING LANE
LOCUST GROVE, VA 22508                                P‐0012780 11/2/2017      TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
MALLARD, LASHUNDA
140 WICHITA DR
JACKSON, MS 39209                                     P‐0012781 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRABB, ANGELLA R.
CRABB, ANDREW J.
7039 PINE HILLS WAY
LITTLETON, CO 80125                                   P‐0012782 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUVALL, MICHAEL D.
MICHAEL DUVALL
1009 N OCEAN BLVD. APT. 406
POMPANO BEACH, FL 33062                               P‐0012783 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COPE, ROGER D.
COPE, JOY S.
709 BURNT MILL ROAD
HERTFORD, NC 27944                                    P‐0012784 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STECZ, JOHN M.
STECZ, LUANN
231 MONKS ROAD
VALENCIA, PA 16059                                    P‐0012785 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DODSON, KELLY M.
14126 US FORD ROAD
FREDERICKSBURG, VA 22407                              P‐0012786 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRABB, ANDREW J.
CRABB, ANGELLA R.
7039 PINE HILLS WAY
LITTLETON, CO 80125                                   P‐0012787 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENTER, LA VERN L.
228 N WILLOW WAY
CIBOLO, TX 78108                                      P‐0012788 11/2/2017      TK Holdings Inc., et al .                    $5,500.00                                                                                    $5,500.00
BRIGHTWELL, SHEILA M.
BRIGHTWELL, RONNIE D.
209 N PACIFIC CT
RAYMORE, MO 64083                                     P‐0012789 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
DIPIERRO, ROSEMARIE S.
9 NORTH ST
ALBANY, NY 12205‐3317                                 P‐0012790 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOLD, E.M.,MINOR
MCGINNESS, CAROL L.
28 PALMER AVE
BALLSRON LAKE, NY 12019                               P‐0012791 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEESEBROW, TIMOTHY M.
3871 STOCKDALE DR.
VADNAIS HEIGHTS, MN 55127                             P‐0012792 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UTLEY, ALICIA
4909 PEARL EAST CIRCLE
STE 202
BOULDER, CO 80301                                     P‐0012793 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
AXELBAUM, MIRIAM Z.
84 RIVER STREET
APT 1
CAMBRIDGE, MA 02139                                    P‐0012794 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSTER, TIMOTHY J.
OSTER, CORI S.
2185 ZANZIBAR LN N
PLYMOUTH, MN 55447                                     P‐0012795 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEWETT, SUSAN
6406 WATERWAY DRIVE
FALLS CHURCH, VA 22044                                 P‐0012796 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGINNESS, CAROL L.
28 PALMER AVE
BALLSTON LAKE, NY 12019                                P‐0012797 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIGHE, VICKI J.
TIGHE, MICHAEL E.
TIGHE
5126 COUNTY ROAD C
DANBURY, WI 54830                                      P‐0012798 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEERTHUIS, SHARON L.
693 MORNINGSIDE DR
HOLLAND, MI 49423                                      P‐0012799 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBER, MICHAEL J.
915 GROVE HILL CT
FENTON, MO 63026                                       P‐0012800 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAKETA, DARYL A.
33020 REGENTS BLVD
UNION CITY, CA 94587                                   P‐0012801 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAIME, EVELYN S.
121 SEVERN ST
GOOSE CREEK, SC 29445                                  P‐0012802 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHELLER, ALEX K.
3715 PACETTI RD
ST AUGUSTINE, FL 32092                                 P‐0012803 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRARA, PAUL M.
FERRARA, KELLY K.
290 LEXINGTON DRIVE
MANDEVILLE, LA 70471                                   P‐0012804 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADUSEI, MICHAEL A.
ADUSEI, MICHAEL A.
                                                       P‐0012805 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADORE, JONATHAN R.
80 NOTTINGHAM CIRCLE
CLAYTON, CA 94517                                      P‐0012806 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORNER, LESLIE A.
946 HALFMOON ST.
BELLEFONTE, PA 16823                                   P‐0012807 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALMER, NORMAN
4924 MEXICO STREET
NEW ORLEANS, LA 70126                                  P‐0012808 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNDT, JAMES C.
NO ADDRESS PROVIDED
                                                       P‐0012809 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SULLIVAN, CAROL A.
162 PARKSIDE DRIVE
ANNVILLE, PA 17003                                     P‐0012810 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
RAY, JUSTIN
5710 WINTON RD
APT 202
CINCINNATI, OH 45232                                P‐0012811 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, LYNETTE M.
19 NORTHWOOD AVENUE
DAYTON, OH 45405                                    P‐0012812 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUCHS, AARON J.
FUCHS, PATRICIA F.
12 LEEMAN RD
ORRS ISLAND, ME 04066                               P‐0012813 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMMERS, C J
17 FULLER ROAD
WILLIAMSBURG, MA 01096                              P‐0012814 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARBY, DEANNA
64 E. MEADOW DR.
CORTLAND, IL 60112                                  P‐0012815 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUCHS, AARON J.
FUCHS, PATRICIA F.
12 LEEMAN RD
ORRS ISLAND, ME 04066                               P‐0012816 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY, KIM L.
6940 DREXEL DRIVE
SEVEN HILLS, OH 44131                               P‐0012817 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOTTOM, LARRY B.
70 PHILPOT RD.
ARDMORE, TN 38449                                   P‐0012818 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONOVAN, SHARON K.
2822 SE 16TH PLACE
APT D
CAPE CORAL, FL 33904                                P‐0012819 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIS, SANDRA A.
62 PAGETT DR
GERMANTOWN, OH 45327                                P‐0012820 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALVENAS, EDWARD S.
4852 GLEN MEADOW CT SE
GRAND RAPIDS, MI 49546                              P‐0012821 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBER, GARY J.
13583 PHEASANT RUN ROAD
GARRISON, ND 58540                                  P‐0012822 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HESSON, MICHAEL W.
4211 BALTIMORE AVENUE
PHILADELPHIA, PA 19104                              P‐0012823 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TODOROV, RUMEN T.
1662 W RACHEL LN
APPLETON, WI 54913‐6703                             P‐0012824 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIMSLID, TAMI K.
519 RIVERSIDE DR.
SOUTH BEND, IN 46601                                P‐0012825 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILMORE, LARRY M.
GILMORE, CHARLOTTE A.
6967 EAST FARM ROAD 132
SPRINGFIELD, MO 65802                               P‐0012826 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WILKENING, PATRICK E.
1020 COVERED BRIDGE RD
APT 4
WAUPACA, WI 54981                                     P‐0012827 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOES, DAVID F.
BOES, NOREEN E.
2065 WOVEN HEART DRIVE
HOLT, MI 48842                                        P‐0012828 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOCKNER, TERRY R.
24475 455TH LANE
CHARITON, IA 50049                                    P‐0012829 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FICHTENBAUM, STEVEN J.
120 RIDGE DRIVE
MONTVILLE, NJ 07045                                   P‐0012830 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, BETH C.
CHEN, OREN
7457 N. ROCKWELL AVE.
CHICAGO, IL 60645                                     P‐0012831 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMERICAN 1
STROUSS, ROBERT W.
4024 GARLAND DR JACKSON , MI,
JACKSON, MI 49201                                     P‐0012832 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREWER, JENNIFER A.
BREWER, RANDY W.
307 FOXFIELD CV
MARION, AR 72364                                      P‐0012833 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TODOROV, PETAR R.
1662 W RACHEL LN
APPLETON, WI 54913‐6703                               P‐0012834 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILKENING, DEBRA A.
1020 COVERED BRIDGE RD
APT 4
WAUPACA, WI 54981                                     P‐0012835 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBER, JAMES R.
6290 SANDY CREEK RD
LOGANVILLE, GA 30052                                  P‐0012836 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EICHELBERGER, MARK D.
249 PLANE ROAD
PORTAGE, PA 15946                                     P‐0012837 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, NANETTE
C/O SENATE CLERK'S OFFICE
STATE CAPITOL, 2ND FLOOR
NASHVILLE, TN 37243                                   P‐0012838 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLEY, MARK J.
119 N BRYANT AVE
VENTNOR CITY, NJ 08406                                P‐0012839 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, MELANIE M.
ALLEN, MELANIE M.
718 RUTH ST
ATHENS, TX 75751                                      P‐0012840 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDEL, CHARLES R.
49 MILL CREEK RD
BAYVILLE, NJ 08721                                    P‐0012841 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
KORBEL, WILLIAM D.
KORBEL, LAURA R.
P.O. BOX 28
HARBERT, MI 49115                                    P‐0012842 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSSELMAN, PAMELA G.
108 COLE RD
MONROE, MI 48162                                     P‐0012843 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BODNARUK, ZENON M.
40 KINGS DRIVE
TUXEDO PARK, NY 10987‐5505                           P‐0012844 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUO, CYNTHIA L.
3920 JEFFERSON CIRCLE
PLANO, TX 75023                                      P‐0012845 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIAW, JEFFREY
3230 BRYN MAWR DR
DALLAS, TX 75225                                     P‐0012846 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORTO, STEVEN M.
7509 MADISON AVENUE
URBANDALE, IA 50322
                                                     P‐0012847 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY, REBECCA L.
6 WILLOW CIRCLE
HUMMELSTOWN, PA 17036                                P‐0012848 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLARREAL, JOE G.
13510 KLAMATH FALLS DRIVE
HOUSTON, TX 77041                                    P‐0012849 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUIDRY, KIMBERLY R.
2944 HERO DRIVE
GRETNA, LA 70053                                     P‐0012850 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAISTEN, CLARENCE N.
4187 JULIE CT NE
KENNESAW, GA 30144‐2228                              P‐0012851 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLTZ, BRIAN D.
W287N8391 CENTER OAK RD.
HARTLAND, WI 53029                                   P‐0012852 11/2/2017      TK Holdings Inc., et al .                     $210.00                                                                                       $210.00
MARUSKA, MICHELE K.
394 HOLLY AVENUE
ST. PAUL
USA, MN 55102                                        P‐0012853 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THORNE, WILLIAM E.
123 BUNDY LANE
STORRS, CT 06268                                     P‐0012854 11/2/2017      TK Holdings Inc., et al .                     $375.00                                                                                       $375.00
TIPPETT, JEFFREY A.
20155 NO 1170 ST
MARSHALL, IL 62441                                   P‐0012855 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, DANIEL E.
4607 BADEN LANE
JACKSONVILLE, FL 32210                               P‐0012856 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABRAHAM, LEEMOR
84‐15 CHEVY CHASE STREET
JAMAICA, NY 11432                                    P‐0012857 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAITLEN, JAMES L.
881 HILLTOP DRIVE
MINERAL WELLS, TX 76067                              P‐0012858 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ROME, GERALD M.
GERALD M. ROME
317 CHENEL ST
FOLSOM,LA 70437, LA 70437                            P‐0012859 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHANDA, NANCY A.
SCHANDA, RONALD L.
3715 S STATE HIGHWAY J
SPRINGFIELD, MO 65809                                P‐0012860 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANK, STEPHEN G.
FRANK, ROSA G.
30423 VIA VICTORIA
RANCHO PALOS VER, CA 90275                           P‐0012861 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATULA, SHIRLEY A.
DICKENSON II, JAMES D.
18921 LYNN LAKE ROAD
BARHAMSVILLE, VA 23011                               P‐0012862 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERG, STEVEN A.
548 DALEWOOD DRIVE
ORINDA, CA 94563                                     P‐0012863 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOYKE, RICHARD E.
1904 STATE ROUTE 28 AND 66
KITTANNING, PA 16201                                 P‐0012864 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILDEA, CHRISTINE M.
18 WAGONWHEEL WAY
MANSFIELD, MA 02048                                  P‐0012865 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURLEY, DAVID T.
BURLEY, LISA M.
DAVID T BURLEY
P.O. BOX 34
ALMONT, MI 48003                                     P‐0012866 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAFT, JEFFREY A.
6245 NATHAN HALE COURT
BENSALEM, PA 19020                                   P‐0012867 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAY, DONNA K.
MAY, FRANK A.
136 LEIGH GATE RD
GLASTONBURY, CT 06033                                P‐0012868 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIX, TRICIA
104 LAFAYETTE STREET
OLYPHANT, PA 18447                                   P‐0012869 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEPELSKY, MARTIN L.
706 LUTTIE RD
MYRTLE BEACH, SC 29588                               P‐0012870 11/2/2017      TK Holdings Inc., et al .                    $1,900.00                                                                                    $1,900.00
BAKER, DANIEL E.
4607 BADEN LANE
JACKSONVILLE, FL 32210                               P‐0012871 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, PAUL S.
652 S. 16TH ST.
BLAIR, NE 68008                                      P‐0012872 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, TIRSHATHA A.
1517 WEST 1650 NORTH
APT # 1
LAYTON, UT 84041                                     P‐0012873 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAILEY, DEMETRIUS D.
NO ADDRESS PROVIDED
                                                     P‐0012874 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
KEATING, PAUL C.
KEATING, CYNTHIA J.
312 CHERRY DR N
SURFSIDE BEACH, SC 29575                              P‐0012875 11/2/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
ZITELLI, PAUL J.
16 ALEXANDER AVE
MADISON, NJ 07940                                     P‐0012876 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSHIRO, CINDY
2815 W. 180TH PLACE
TORRANCE, CA 90504                                    P‐0012877 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, MARTIN J.
7640 N. CONGRESS AVE
KANSAS CITY, MO 64152                                 P‐0012878 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLSON, PAUL Z.
2049 BELSHIRE WAY
SPRING HILL, TN 37174                                 P‐0012879 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARTHUR, DEBRA M.
ARTHUR, CHESTER K.
9444 PROSPECT ROAD
REMSEN, NY 13438                                      P‐0012880 11/2/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
DICKENSON II, JAMES D.
18921 LYNN LAKE ROAD
BARHAMSVILLE, VA 23011                                P‐0012881 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESCHAMP, BARBARA
645 E DEVON AVE
ROSELLE, IL 60172                                     P‐0012882 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHANDA, RONALD L.
SCHANDA, NANCY A.
3715 S STATE HIGHWAY J
SPRINGFIELD, MO 65809                                 P‐0012883 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
BUCHANAN, VICKIE L.
8 COLLEGE PLACE
WESTERVILLE, OH                                       P‐0012884 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLSON, PAUL Z.
2049 BELSHIRE WAY
SPRING HILL, TN 37174                                 P‐0012885 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOPPER, ALICE A.
RECK, KLAUS P.
701 HIDDEN CREEK DRIVE
OZARK, MO 65721                                       P‐0012886 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALAZAR, MIRANDA
228 NP 101
SANTA FE, NM 87506                                    P‐0012887 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONEIL, JULIA L.
ONEIL, STEPHEN W.
712 VIA SOMONTE
PALOS VERDES EST, CA 90274                            P‐0012888 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PURVIS, RALPH K.
PURVIS, BETTY C.
2792 SELF CREEK ROAD
MABEN, MS 39750                                       P‐0012889 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, ROBIN
122 LIVE OAK ROAD
CARTHAGE, MS 39051                                    P‐0012890 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TEITEL, ARIEL
AVIVA WERNER
26 WEST 38TH ST #6
NEW YORK, NY 10018                                   P‐0012891 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARE, ANGELA D.
4555 AKRON STREET
TEMPLE HILLS, MD 20748                               P‐0012892 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGNER, GEORGE C.
15100 CRESCENT GREEN DRIVE
OAK FOREST, IL 60452                                 P‐0012893 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORD, JOHN C.
114 ESOPUS AVENUE
ULSTER PARK
, NY 12487                                           P‐0012894 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHANDA, NANCY A.
SCHANDA, RONALD L.
3715 S STATE HIGHWAY J
SPRINGFIELD, MO 65809                                P‐0012895 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
BRESLER, GEORGE
BRESLER, GEORGE
6 SOMERTON SQUARE
MEDFORD, NJ 08055                                    P‐0012896 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEFABRIZIO, PAUL C.
120 ORCHARD STREET
A7
EAST RUTHERFORD, NJ 07073                            P‐0012897 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSANSKY, BRIAN C.
10004 MAIDEN LN.
RICHMOND, IL 60071                                   P‐0012898 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STECZ, JOHN M.
STECZ, LUANN
231 MONKS ROAD
VALENCIA, PA 16059                                   P‐0012899 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, HEATHER L.
2580 VOLLMER DR
YOUNGSTOWN, OH 44511                                 P‐0012900 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DULLEA, MELISSA N.
1646 8TH ST. NW
CEDAR RAPIDS, IA 52405                               P‐0012901 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLINN, MEGHAN M.
12434 S 79 TERRACE
PAPILLION, NE 68046                                  P‐0012902 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMBERLAIN, PATRICIA
6339 N 115TH AVENUE CIR
OMAHA, NE 68164                                      P‐0012903 11/2/2017      TK Holdings Inc., et al .                     $118.00                                                                                       $118.00
CHEPELSKY, MARTIN L.
706 LUTTIE RD
MYRTLE BEACH, SC 29588                               P‐0012904 11/2/2017      TK Holdings Inc., et al .                    $1,645.50                                                                                    $1,645.50
CENTOLA, LAWRENCE J.
CENTOLA, AMY
6175 VICKSBURG STREET
NEW ORLEANS, LA 70124                                P‐0012905 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEIN, GARY W.
5407 FOUR SEASONS DRIVE
KALAMAZOO, MI 49009                                  P‐0012906 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MIX, TRICIA
104 LAFAYETTE STREET
OLYPHANT, PA 18447                                   P‐0012907 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'DONNELL, GLEN
61 KEITH STREET
LEE PARK, PA 18706                                   P‐0012908 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLIVER, CRAIG E.
SOPHIE
1014 CARLTON DR
SHOREVIEW, MN 55126                                  P‐0012909 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORDHAM, JOHN W.
8 JESSICA CT.
JACKSON, NJ 08527                                    P‐0012910 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARTHUR, CHESTER K.
9444 PROSPECT ROAD
REMSEN, NY 13438                                     P‐0012911 11/2/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MCTIGUE, MICHEL S.
71 CONFEDERATE WAY
STAFFORD, VA 22554                                   P‐0012912 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERNANDEZ, SANDRA A.
1821 DALE ST
MORGAN CITY, LA 70380                                P‐0012913 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEUCHLER, JON T.
ANDREONE, TERESA L.
160 SLOCUM AVENUE
ST LOUIS, MO 63119                                   P‐0012914 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEDE, JASPER
NO ADDRESS PROVIDED
                                                     P‐0012915 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASCHE, ERIC G.
102 OAKLAND AVE.
EVANSVILLE, IN 47711                                 P‐0012916 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCQUAY, JAMES A.
4313 S COOLIDGE AVE.
TAMPA, FL 33611                                      P‐0012917 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOCKTER‐KAMBEIT, DENISE A.
KAMBEITZ, MICHAEL S.
1929 N GRANDVIEW LANE
BISMARCK, ND 58503                                   P‐0012918 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORTENSON, DENNIS D.
MORTENSON, KAREN A.
3974 FAIRLANDS DR
PLEASANTON, CA 94588                                 P‐0012919 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, JARED L.
816 W ALMA AVE
HARRISON, AR 72601                                   P‐0012920 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARTHUR, CHESTER K.
9444 PROSPECT ROAD
REMSEN, NY 13438                                     P‐0012921 11/2/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
PEELER, JIM
113ASHBROOKRD
CHERRYHILL 08034                                     P‐0012922 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEPELSKY, MARTIN L.
MARY
706 LUTTIE ROAD
MYRTLE BEACH, SC 29588                               P‐0012923 11/2/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MARSHALL, TERRENCE
110 RAPID CREEK COVE
MILLBROOK, AL 36054                                   P‐0012924 11/2/2017      TK Holdings Inc., et al .                   $31,000.00                                                                                   $31,000.00
FOX, HELEN L.
6657 PORTER ROAD
PUNXSUTAWNEY, PA 15767                                P‐0012925 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROHE, KEVIN A.
5710 HANSEN ROAD
EDINA, MN 55436                                       P‐0012926 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREESCHOTEN, MARILYN K.
15358 JEFFERS PASS
PRIOR LAKE, MN 55372                                  P‐0012927 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURAUSKIS, JAMES A.
1001 W WOOD ST
PALATINE, IL 60067                                    P‐0012928 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAILEY, ANGELLICA V.
1625 ROBERT PERRY RD
SUMTER, SC 29153                                      P‐0012929 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROUSE, WARD A.
15150 WILDWOOD DRIVE
CLIVE, IA 50325                                       P‐0012930 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORTENSON, DENNIS D.
3974 FAIRLANDS DR
PLEASANTON, CA 94588                                  P‐0012931 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTON, CHRISTINE
1516 ELSON RD
BROOKHAVEN, PA 19015                                  P‐0012932 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, KEVIN D.
316 WEST 2ND STREET
GAYLORD, MI 49735                                     P‐0012933 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOPPE, AMELIA E.
4202 BURGUNDY STREET APT B
NEW ORLEANS, LA 70117                                 P‐0012934 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARZT, ALAN R.
ARZT, ELIZABETH
3450 CRANMER LANE
YORK, PA 17402                                        P‐0012935 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURAUSKIS, JAMES A.
1001 W WOOD ST
PALATINE, IL 60067                                    P‐0012936 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAREY, PETER N.
PETER N CAREY REVOC LIV TRUST
P.O. BOX 62
41 NORTH SHORE ROAD
HEBRON, NH 03241                                      P‐0012937 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEGATE, WILLIAM T.
52005 846 ROAD
ELGIN, NE 68636                                       P‐0012938 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARTHUR, CHESTER K.
9444 PROSPECT ROAD
REMSEN, NY 13438                                      P‐0012939 11/2/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
COURTNEY, CHESTER D.
9960 AZROK AVE
BATON ROUGE, LA 70809‐3145                            P‐0012940 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
JOTZAT, STEVE
4275 BROWNTOWN RD
BRIDGMAN, MI 49106                                   P‐0012941 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LASCAR, REBE
20 LITTLE BROOK COURT
ROCK TAVERN, NY 12575                                P‐0012942 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARD, MILAN H.
723 S BROADWAY
UNIT B
REDONDO BEACH, CA 90277                              P‐0012943 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCIS, TIARRA
2303 SUMMIT SPRINGS DR
SANDY SPRINGS, GA 30350                              P‐0012944 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELLS, LAURA A.
304 MAPLE DRIVE
APPLETON, WI 54913                                   P‐0012945 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILE, JASON A.
NO ADDRESS PROVIDED
                                                     P‐0012946 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, MARY M.
102 JANET DRIVE
ST ROSE, LA                                          P‐0012947 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALCHAK, AUGUST M.
356 JULIANNA CIR
FRANKLIN, TN 37064                                   P‐0012948 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMPSON, JOHN G.
67 TURNEY ROAD
REDDING, CT 06896                                    P‐0012949 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSTOS, YOLANTA
32214 ALLISON DRIVE
UNION CITY, CA 94587                                 P‐0012950 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALAS, THERESA L.
340 PARK ALY
UNIT 1
HOLLISTER, CA 95023                                  P‐0012951 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, SUSAN A.
194 GOLDEN PHEASANT
GETZVILLE, NY 1406819UUA                             P‐0012952 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THE LIVINGSTON FAMILY TRUST
1012 5TH AV. S.
CLEAR LAKE, IA 50428                                 P‐0012953 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKEEN PLUMBING AND GAS, INC.
220 CHRISTOPHER COVE
RIDGELAND, MS 39157                                  P‐0012954 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCLELLAN, ROSEMARY Y.
MCLELLAN, JOHN C.
3307 DURNEY DRIVE
CANTONMENT, FL 32533                                 P‐0012955 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSTOS, YOLANTA
32214 ALLISON DRIVE
UNION CITY, CA 94587                                 P‐0012956 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LASCAR, REBE
20 LITTLE BROOK COURT
ROCK TAVERN, NY 12575                                P‐0012957 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LARRY, DENNIS D.
LARRY, CAROLYN D.
1 WINDSOR CIRCLE
LITTLE ROCK, AR 72209                                P‐0012958 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GABRIEL, KEZIA B.
TAKATA
4105 POND CIRCLE
BETHLEHEM, PA 18020                                  P‐0012959 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, RAY B.
MOORE, MILDRED L.
2879 HWY 8 WEST
NORMAN, AR 71960                                     P‐0012960 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODS, DONALD R.
614 E LAUREL ST
ATMORE, AL 36502                                     P‐0012961 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LASSER, LYNN
5840 TENNISON DR. NE
FRIDLEY, MN 55432                                    P‐0012962 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELLS, MONIQUE S.
8853 SENECA RD
PALMETTO, GA 30268                                   P‐0012963 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BABCOCK, RONALD Q.
P.O. BOX 636
BENICIA, CA 94510                                    P‐0012964 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINCLAIR, JAMES W.
SINCLAIR, KRISTIN H.
1306 E. BRAEMERE RD
BOISE, ID 83702                                      P‐0012965 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, LISA‐GAYE
44 HARNETT STREET
ASHEVILLE, NC 28806                                  P‐0012966 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASKIN, DEBORAH T.
393 COLE AVENUE
PROVIDENCE, RI 02906                                 P‐0012967 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
XU, BIN
7957 S WABASH CT
CENTENNIAL, CO 80112                                 P‐0012968 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNOTWELL, SALLY E.
KNOTWELL, WILLIAM J.
651 WILDERNESS DR.
MARSHFIELD, MO 65706                                 P‐0012969 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVY, KENNETH
9245 KARLOV AVE
SKOKIE, IL 60076                                     P‐0012970 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, SHAUN B.
194 GOLDEN PHEASANT
GETZVILE, NY 14068                                   P‐0012971 11/2/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
YANG, XINHUA
7957 S WABASH CT
CENTENNIAL, CO 80112                                 P‐0012972 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNEIL, LEVON
3040 IRMA CT.
SUITLAND, MD 20746                                   P‐0012973 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROHATGI, ANKIT
1101 NOEL DR APT 8
MENLO PARK, CA                                       P‐0012974 11/2/2017      TK Holdings Inc., et al .                     $475.00                                                                                       $475.00
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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
NURSEY, JOHN A.
747 BARRINGTON CIR.
WINTER SPRINGS, FL 32708                              P‐0012975 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
XU, BIN
7957 S WABASH CT
CENTENNIAL, CO 80112                                  P‐0012976 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROHATGI, ANKIT
1101 NOEL DRIVE APT 8
MENLO PARK, CA 94025                                  P‐0012977 11/2/2017      TK Holdings Inc., et al .                     $475.00                                                                                       $475.00
STONEHAM, JIMENA K.
8110 TWIN HILLS DR
HOUSTON, TX 77071                                     P‐0012978 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WYSOSKE, BRADLEY T.
2517 S 16TH ST
COUNCIL BLUFFS, IA 51501                              P‐0012979 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNACK, JASON P.
1832 NIAGARA AVENUE
NIAGARA FALLS, NY14305 14305                          P‐0012980 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOSINSKI, SUSAN A.
KOSINSKI, RONALD W.
N12897 12TH AVE
NECEDAH, WI 54646                                     P‐0012981 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHULTZ, JORDAN P.
3012 N 2ND ST
BROKEN ARROW, OK 74012                                P‐0012982 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANCILLAS, ENRIQUE J.
8110 TWIN HILLS DR
HOUSTON, TX 77071                                     P‐0012983 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLATER, PAUL J.
18 FLORENCE AVE
APT B
HAVERHILL, MA 01832                                   P‐0012984 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDONALD, JOHN W.
MCDONALD, VICKEY R.
6233 SE BLUESTEM RD
LEON, KS                                              P‐0012985 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, MICKIE L.
1871 LANDANA DR
CONCORD, CA 94519                                     P‐0012986 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNEFATY, MICHAEL M.
2006 MORNING VIEW DR
EUGENE, OR 97405                                      P‐0012987 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIN, ELIZABETH M.
5706 DENALI ST
ANCHORAGE, AK 99518                                   P‐0012988 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARD, JORDAN D.
TK HOLDINGS INC.
3019 SAM HOUSTON AVE
APT B304
HUNTSVILLE, TX 77340                                  P‐0012989 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REA, BONNIE
1981 SAN VINCENTE DRIVE
CONCORD, CA 94519                                     P‐0012990 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
LANCASTER, JUDITH A.
LANCASTER, TOBY C.
1927 W. CALLENDER
W. PEORIA, IL 61604                                    P‐0012991 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TITCOMBE, TARA J.
5148 ROYALTON ROAD
APT 6B
NORTH ROYALTON, OH 44133                               P‐0012992 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRENCIWILK, MAE E.
1753 LASEA ROAD
SPRING HILL, TN 37174                                  P‐0012993 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARGYRAKIS, EVANGELOS A.
1116 S 35TH AVE
OMAHA, NE 68105‐1906                                   P‐0012994 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KADA, JENNIFER L.
KADA, JENNIFER
2800 CHASE ROAD
PHILADELPHIA, PA 19152                                 P‐0012995 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOR, ENOCH B.
13318 OLD ANNAPOLIS ROAD
MOUNT AIRY, MD 21771                                   P‐0012996 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWADLEY, LINDA L.
P.O. BOX 455
806 WALNUT
AURORA, MO 65605                                       P‐0012997 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAHERTY, THOMAS E.
21 TAYLOR RD
BOURNE, MA 02532                                       P‐0012998 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GASERY (COOK), DEYARN D.
406 KARLA DR
THIBODUAX, LA 70301                                    P‐0012999 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTEVECCHIO, MARIAN V.
20 FAIRFIELD DR.
FAIRPORT, NY 14450                                     P‐0013000 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTI, GARRETT C.
306 LAC IBERVILLE DRIVE
LULING, LA 70070                                       P‐0013001 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONCICH, MICHAEL L.
247 W. FOOTHILL BLVD., APT. E
MONROVIA, CA 91016                                     P‐0013002 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONALDSON, IRWIN J.
1114 FOREST AVE.
WATERLOO, IA 50702                                     P‐0013003 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPENCER, ANTHONY C.
5180 STATE RD
LESLIE, MI 49251                                       P‐0013004 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FALLOWS, LYNN A.
11395 S. FOUNTAIN HILLS ST.
PARKER, CO 80138                                       P‐0013005 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, SCOTT T.
116 STRATFORD DRIVE
SLIDELL, LA 70458                                      P‐0013006 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORRIS, JANET S.
40 WINDSOR RD
NORTH LIBERTY, IA 52317                                P‐0013007 11/2/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00


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                                                                                                                    Current General                                          Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
STRENCIWILK, MAE E.
1753 LASEA ROAF
SPRING HILL, TN 37174                                P‐0013008 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
EISEN, SARAH E.
1609 4TH AVE
NEWPORT, MN 55055                                    P‐0013009 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
BENNETT, TIMOTHY D.
8720 SOUTH LUELLA
CHICAGO, IL 60617                                    P‐0013010 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
PORTER, MAKAYLA C.
437 E EDGEWOOD BLVD
APT H
LANSING, MI 48911                                    P‐0013011 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
KNEFATY, MICHAEL M.
2006 MORNING VIEW DR
EUGENE, OR 97405                                     P‐0013012 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
PELLETTIERI, ANNE M.
939 RIDGEFIELD LANE
WHEELING, IL 60090                                   P‐0013013 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
A. H. BURNS CO., INC.
296A WEYMOUTH ST.
ROCKLAND, MA 02370                                   P‐0013014 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
WHITE, SHAN T.
4426 FLINTRIDGE DRIVE
COLORADO SPRINGS, CO 80918                           P‐0013015 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
HANSON, STEVEN A.
1521 S ROGERS AVE
SPRINGFIELD, MO 65804                                P‐0013016 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
UHRIN, MARYBETH
261 SCOTT LN
VENETIA, PA 15367                                    P‐0013017 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
CHAVEZ, CARRIE R.
5630 S. CLAY AVE.
SPRINGFIELD, MO 65810                                P‐0013018 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
BERTRAND, SCOTT
172 LOMBARDY LANE
ORINDA, CA                                           P‐0013019 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
DOR, NIKOL M.
13318 OLD ANNAPOLIS ROAD
MOUNT AIRY, MD 21771                                 P‐0013020 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
TAYLOR, SCOTT T.
116 STRATFORD DRIVE
SLIDELL, LA 70458                                    P‐0013021 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
WILLIAMS, DANIEL G.
9145 VISCOUNT LANE
CHARLOTTE, NC 28269                                  P‐0013022 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
GALJOUR, REINA
9677 SNOW CAMP RD.
SNOW CAMP, NC 27349                                  P‐0013023 11/2/2017      TK Holdings Inc., et al .                 $1,000,000.00                                                                                $1,000,000.00
LEWIS, LILLIAN
221 37TH PLACE
TUSCALOOSA, AL 35405                                 P‐0013024 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
A1 CONTRACT STAFFING GROUP LL
3829 COCONUT PALM DR
TAMPA, FL 33619                                      P‐0013025 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
REMINGTON, KAREN H.
11201 LAKESIDE DRIVE
DUNKIRK, MD 20754                                   P‐0013026 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLRED, NATHANIEL A.
4916 PARKVIEW HILLS LN
FORT WORTH, TX 76179                                P‐0013027 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PROULX, JESSICA A.
7628 GERALD DR
JOELTON, TN 37080                                   P‐0013028 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RILEY, SHARON M.
RILEY, DAVID A.
3129 W BLACK RD
MADISON, IN 47250                                   P‐0013029 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANSON, JESSICA D.
437 ENTERPRISE DRIVE
ROHNERT PARK, CA 94928                              P‐0013030 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERICKSON, BRIANA M.
1221 LINCOLN ST
FAIRFIELD, CA 94533                                 P‐0013031 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITZGERALD, NELSON
644 B STREET
PASADENA, MD 21122                                  P‐0013032 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ST HILAIRE, MELISSA A.
15 SOUTH WACHUSETT STREET
HOLDEN, MA 01520                                    P‐0013033 11/2/2017      TK Holdings Inc., et al .                   $22,000.00                                                                                   $22,000.00
BAKER, DANIEL E.
4607 BADEN LANE
JACKSONVILLE, FL 32210                              P‐0013034 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUNKEL, MICHELE M.
2134 FIELDSTONE DRIVE
BETHLEHEM, PA 18015                                 P‐0013035 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSON, KATHLEEN E.
327 1ST STREET
EATON, CO 80615                                     P‐0013036 11/2/2017      TK Holdings Inc., et al .                   $11,500.00                                                                                   $11,500.00
HURTGEN, ALLISON
1002 18 1/2 AVE NE
MINNEAPOLIS, MN 55418                               P‐0013037 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, LOLITA D.
1301 N AZURE LN
WICHITA, KS 67235                                   P‐0013038 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAFT, JEFFREY A.
6245 NATHAN HALE COURT
BENSALEM, PA 19020                                  P‐0013039 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAMI, VINCENT
TAMI, ELEANOR
3350 BENTLEY AVE
EUGENE, OR 97405                                    P‐0013040 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOUTHERN SUN FARM SANCTUARY,
JOHN LISK
1557 BLUE RIDGE CHURCH RD
WEST JEFFERSON, NC 28694                            P‐0013041 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEDGE, MIKE
BARBARA HED
272 OAKHURST WAY
BOISE, ID 83709                                     P‐0013042 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
NESS, JEANENE L.
340 RAMSEY ROAD WEST
WAYZATA, MN 55391                                   P‐0013043 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, RITA L.
BROWN, KEVIN D.
25295 LARK STREET
PONCHATOULA, LOUISIANA 70454                        P‐0013044 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARDUE, CHARISSA K.
ODOM, CLARENCE L.
111 BEDFORD FALLS CT
JEFFERSON, GA 30549                                 P‐0013045 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEEHAN, MARY C.
12816 S. MILL ROAD
PALOS PARK, IL 60464                                P‐0013046 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELVIN, LINDA F.
450 J. C.HAMILTON ROAD
JESUP, GA 31545                                     P‐0013047 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TITUS, KYLE
162 DOLPHIN CIRCLE
MARINA, CA 93933                                    P‐0013048 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILLYER, ROBERT W.
HILLYER, DEBORAH L.
23145 CURIE
WARREN, MI 48091                                    P‐0013049 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, TUESDAI E.
HARRIS, DAVID S.
TUESDAI HARRIS
22670 GENESEE RD
CHADWICK, IL 61014                                  P‐0013050 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLINGTON, FONDA C.
1363 WILKES CREST CT
DACULA, GA 30019                                    P‐0013051 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUPRE, DANIEL C.
25 HERITAGE DRIVE
MARLBOROUGH, CT 06447                               P‐0013052 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, JAMES V.
369 AVEY CIRCLE
COOKEVILLE, TN                                      P‐0013053 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORCHIO, JASON
TORCHIO, CARIE
4219 AMBOY ROAD
#10
STATEN ISLAND, NY 10308                             P‐0013054 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALAZIK, MATTHEW
111 WAYPOINT CIR
STATE COLLEGE, PA 16801                             P‐0013055 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUILFOYLE, BONNIE J.
2708 S WOODBURY DRIVE
INDEPENDENCE, MO 64055                              P‐0013056 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, JOHN L.
4124 OAKLAWN DR.
JACKSON, MS 39206                                   P‐0013057 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOULOUPAKIS, ANDREW
12816 S. MILL ROAD
PALOS PARK, IL 60464                                P‐0013058 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ENGELBERT, DOUGLAS A.
2902 W SHAWNA PL
TUCSON, AZ 85745‐5244                                P‐0013059 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINTON, DENNIS H.
NO ADDRESS PROVIDED
                                                     P‐0013060 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RULE, MICHAEL A.
RULE, KAIMEL J.
9 EL CONDE CT
SACRAMENTO, CA 95833                                 P‐0013061 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, DAVID D.
LEWIS, YUMIKO
5168 POOLA ST
HONOLULU, HI 96821                                   P‐0013062 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENTINI, STEVEN
19448 NORTHRIDGE DRIVE APT.C
NORTHVILLE, MI 48167                                 P‐0013063 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, ANGELA
347B BRADLEY WOODS COURT
LILBURN, GA 30047                                    P‐0013064 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUTZ, DOROTHY A.
818 S WINNEBAGO ST.
CALEDONIA, MN 55921                                  P‐0013065 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYNE, ARGARET S.
PAYNE, DEVETRIUS L.
9027 GAVIN DRIVE
OLIVE BRANCH, MS 38654                               P‐0013066 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, MICHELLE L.
1011 N 9TH ST #20
COTTAGE GROVE, OR 97424                              P‐0013067 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONTINI, JAMES P.
26 MERRITT DRIVE
ROTTERDAM, NY 12306                                  P‐0013068 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWE, DAVID
6495 PEMBA DRIVE
SAN JOSE, CA 95119                                   P‐0013069 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'HARA, MICHAEL
O'HARA, ARLEN
1239 EL HITO CR.
PACIFIC PALISADS, CA 90272                           P‐0013070 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUYCKE, PETER C.
5236 STONYBROOK DRIVE
BOYNTON BEACH, FL 334371GKFC                         P‐0013071 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALSH, DANIEL J.
950 DUXBURY CT
CINCINNATI, OH 45255                                 P‐0013072 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACK, JAMES B.
5333 BRERETON AVENUE
ORLANDO, FL 32839                                    P‐0013073 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, SONIA L.
1340 COUNTY ROAD 55
SARDIS, AL 36775                                     P‐0013074 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUDWICK, MELISSA
BRUDWICK, MELISSA
3028 CASSIDY DRIVE NE
ROCHESTER, MN 55906                                  P‐0013075 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HIBSHMAN, DAVID M.
4239 E AZALEA DRIVE
GILBERT, AZ 85298                                   P‐0013076 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HICKMAN, TESSA
2459 BROOKVIEW DRIVE EAST
MAPLEWOOD, MN 55119                                 P‐0013077 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
VICIDOMINA, FRANCIS
2608 SELLS STREET
METAIRIE, LA 70003                                  P‐0013078 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REED, TRAIAN D.
1227 EUREKA STREET
BRYAN, TX 77803                                     P‐0013079 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LASCAR, REBE
20 LITTLE BROOKCOURT
ROCK TAVERN, NY 12575                               P‐0013080 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNIZLER, BRANDON L.
3596 LIBERTY RIDGE TRAIL
MARIETTA, GA 30062                                  P‐0013081 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CSAJAGHY, STEPHEN E.
1632 S. MONROE ST
DENVER, CO 80210                                    P‐0013082 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMAKAWIWOOLE, EVELYN
1126 F 19TH AVENUE
HONOLULU, HI 96816                                  P‐0013083 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYES, LISA
3856 HILLSIDE DR.
YPSILANTI, MI 48197                                 P‐0013084 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEACH, GREGORY
3239 COUNTRY OAKS DR
ORANGE PARK, FL 32065                               P‐0013085 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEUBA, THOMAS R.
7816 ABERDEEN ROAD
BETHESDA, MD 20814                                  P‐0013086 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ST HILAIRE, MELISSA A.
15 SOUTH WACHUSETT STREET
HOLDEN, MA 01520                                    P‐0013087 11/2/2017      TK Holdings Inc., et al .                   $22,000.00                                                                                   $22,000.00
CHRISTIAN, JAMES A.
635 BAKER DR
LAFAYETTE, TN 37083                                 P‐0013088 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEHS, ELIZABETH
2458 BROOKVIEW DRIVE EAST
MAPLEWOOD, MN 55119                                 P‐0013089 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
REYES, LISA G.
3856 HILLSIDE DRIVE
YPSILANTI, MI 48197                                 P‐0013090 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DODD, NETASHA
6882 COUNTY LINE RD
LITHIA SPRINGS, GA 30122                            P‐0013091 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELEON, SERENA
2123 RIVERBEND DRIVE
MURFREESBORO, TN 37129                              P‐0013092 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEHS, RANDY
2458 BROOKVIEW DRIVE EAST
MAPLEWOOD, MN 55119                                 P‐0013093 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00



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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
LEE, CHANG Y.
50 HIGHGATE CIRCLE
ITHACA, NY 14850                                      P‐0013094 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSCHUR, THOMAS D.
BUSCHUR, KATHRYN M.
3369 YOST RD
LITCHFIELD, OH 44253                                  P‐0013095 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINKE, PAUL E.
34 INWOOD DRIVE
MILLTOWN, NJ 08850                                    P‐0013096 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURDETSKAYA, LINA
30 LINDA AVE
FRAMINGHAM, MA 01701                                  P‐0013097 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUZ, MIRTHA E.
331 E 62ND STREET
HIALEAH, FL 33013                                     P‐0013098 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOYER HOTZ, CARLA M.
1415 WAKELY ST NE
GRAND RAPIDS, MI 49505                                P‐0013099 11/2/2017      TK Holdings Inc., et al .                    $6,600.00                                                                                    $6,600.00
O'SHEA, DIANNE
578 HEADRICKS ROAD
JOHNSTOWN, PA 15909‐3400                              P‐0013100 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LASCAR, REBE
20 LITTLE BROOK COURT
ROCK TAVERN, NY 12575                                 P‐0013101 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'HAGAN, BRIAN R.
O'HAGAN, BRIAN
W6656 ELM VIEW DRIVE
APPLETON, WI 54915                                    P‐0013102 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, ADRIAN L.
514 CURRIN RD.
DURHAM                                                P‐0013103 11/2/2017      TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
LEWIS, BETTY J.
804 BLUEJAY DRIVE
SUISUN CITY, CA 94585                                 P‐0013104 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINKS, JULIE L.
8132 E MORNINGSIDE ST
WICHITA, KS 67207‐1125                                P‐0013105 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, JOEL A.
27 GREENWAY RD
SOUTH GLENS FALL, NY 12803                            P‐0013106 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'SHEA, DIANNE
578 HEADRICKS ROAD
JOHNSTOWN, PA 15909‐3400                              P‐0013107 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LASCAR, REBE
20 LITTLE BROOK COURT
ROCK TAVERN, NY 12575                                 P‐0013108 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANLEY, SAMUEL S.
15660 WINDMILL POINTE DR.
GROSSE POINTE PK, MI 48230                            P‐0013109 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNOLDS, TONYA M.
3915 37TH STREET WEST
WILLISTON, ND 58801                                   P‐0013110 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'SHEA, DIANNE
578 HEADRICKS ROAD
JOHNSTOWN, PA 15909‐3400                              P‐0013111 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ALEXANDER, TANGELON
P. O BOX 311559
ATLANTA, GA 31131                                    P‐0013112 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TERRY, FREDERICK D.
1035 FIFTH AVE, APT 16C
NEW YORK, NY 10028                                   P‐0013113 11/2/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
D OUGLAS, LINDA E.
1530 S QUEBEC WAY #37
DENVER, CO 80231                                     P‐0013114 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEMING, RITA M.
2061 OPAL DRIVE
EAGAN, MN 55122                                      P‐0013115 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LASCAR, REBE
20 LITTLE BROOK COURT
ROCK TAVERN, NY 12575                                P‐0013116 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YIN, YI
832 PROSPECT ROW
SAN MATEO, CA 94401                                  P‐0013117 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, PATRICIA R.
1813 N. GLEBE RD.
ARLINGTON, VA 22207                                  P‐0013118 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DORSEY, JODY
1617 CLEMENTIAN ST
UTICA, NY 13501                                      P‐0013119 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFMAN, LOUISA R.
HOFMAN, RAYMOND J.
1228 BERGANOT TRAIL
CASTLE PINES, CO 80108‐3629                          P‐0013120 11/2/2017      TK Holdings Inc., et al .                     $275.00                                                                                       $275.00
MULLINS, MELISSA D.
5414 STARLING DRIVE
CHARLESTON, WV 25306                                 P‐0013121 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYDEL, LISA A.
2608 SELLS STREET
METAIRIE, LA 69992                                   P‐0013122 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAHN, THERESA M.
8617 W CERMAK RD, APT 8
NORTH RIVERSIDE, IL 60546                            P‐0013123 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHELAN, GEORGE R.
14733 SW 52 TER
MIAMI, FL 33185                                      P‐0013124 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEW, FRANKLIN
22 DONALD DR
ORINDA, CA 94563                                     P‐0013125 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, BETTY J.
804 BLUEJAY DRIVE
SUISUN CITY, CA 94585                                P‐0013126 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, LORI F.
SCOTT, MICHAEL J.
3223 SHADY MAPLE CT
KINGWOOD, TX 77339                                   P‐0013127 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMON, ANNETT D.
32274 W. 12 MILE RD
FARMINGTON HILLS, MI 48334                           P‐0013128 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAMPSON, ANDREE A.
19541 CRANBROOK DRIVE APT 104
DETROIT, MI 48221                                    P‐0013129 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
JIRT, JESSE E.
4 COUNTRY CT
DANNEBROG, NE 68831                                  P‐0013130 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SERKUCZEWSKI, ANDRZEJ
26174 RAINBOW GLEN DR
NEWHALL, CA 91321‐1369                               P‐0013131 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDEN, TIMOTHY E.
30832 OAK VALLEY DR.
FARMINGTON HILLS, MI 48331                           P‐0013132 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVILA, NANCY M.
AVILA, NANCY M.
10623 RUOFF AVENUE
WHITTIER, CA 90604                                   P‐0013133 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, LELAND K.
SCOTT, DALE A.
501 INMAN STREET
COUNCIL GROVE, KS 66846                              P‐0013134 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SERKUCZEWSKI, ANDRZEJ
26174 RAINBOW GLEN DR
NEWHALL, CA 91321‐1369                               P‐0013135 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLAAEN, CLIFFORD
FLAAEN, DIANE
1045 GRINDSTONE CIRCLE
EVERETT, PA 15537                                    P‐0013136 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOMGREN, CAROL A.
1763 GRASSINGTON WAY S
JACKSONVILLE, FL 32223                               P‐0013137 11/2/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
CHANEY, LONNIE J.
1105 AUBURN AVE
DALLAS, TX 75223                                     P‐0013138 11/2/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
ENDEWARD, LORI
733 WATSON ST.
RIPON, WI 54971                                      P‐0013139 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EGGERT, CARLA M.
30510 WENTWORTH ST.
LIVONIA, MI 48154                                    P‐0013140 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVY, KENNETH
9245 KARLOV AVE
SKOKIE, IL 60076                                     P‐0013141 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLION, LEE
419 BROADVIEW DR.
JACKSON, MS 39209                                    P‐0013142 11/2/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
PARKS, KEVIN A.
3019 VICTOR STREET
SALISBURY, NC 28147                                  P‐0013143 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VERVIL, SAINT LUC
80 DIXON STREET
BRIDGEPORT, CT 06604                                 P‐0013144 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, MICHELE L.
988 AZURE AVENUE
WELLINGTON, FL 33414                                 P‐0013145 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TILLERY, YOLANDA E.
748 PENSACOLA
PONTIAC, MI 48340                                    P‐0013146 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BLOMGREN, CAROL A.
1763 GRASSINGTON WAY S
JACKSONVILLE, FL 32223                                P‐0013147 11/2/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
TILLEY, PHILLIP E.
20 SOUTHGATE AVE
MONETT, MO 65708                                      P‐0013148 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YAO, YUFENG
ZHAO, WEI
1155 ROSETTE LNDG
MARIETTA, GA 30062                                    P‐0013149 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENWOOD, REBECCA N.
8313 BEECH TREE RD
BETHESDA, MD 20817‐2934                               P‐0013150 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REGENFUSS, CHRISTINE E.
2909 CATHERINE DRIVE
RACINE, WI 53402‐1610                                 P‐0013151 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECHEVARRIA, SORAYA
16915 62 ROAD N.
LOXAHATCHEE                                           P‐0013152 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRUETT, GERALDINE G.
PRUETT, JOHN M.
1047 W. L. ST
BENICIA, CA 94510                                     P‐0013153 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, TIEASHA
6608 N 90TH PLZ APT D
OMAHA, NE 68122                                       P‐0013154 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, RUSSIA
12603 OXNARD ST APT 2
NORTH HOLLYWOOD, CA 91606                             P‐0013155 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VONEYE, RHONDA
NO ADDRESS PROVIDED
                                                      P‐0013156 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, DON R.
WILSON, SUZETTE S.
9400 NOTTAWAY PLACE
RIVER RIDGE, LA 70123                                 P‐0013157 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNEAL, ROBERT W.
2008 COTACO VALLEY TRAIL
DECATUR, AL 35603                                     P‐0013158 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIGGINS, DONNA M.
15859 W 83RD PL
ARVADA, CO 80007                                      P‐0013159 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ICHIKAWA, ROBERT D.
1713 W 239TH ST
TORRANCE, CA 90501                                    P‐0013160 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TILLEY, PHILLIP E.
20 SOUTHGATE AVE
MONETT, MO 65708                                      P‐0013161 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKS, AUDREY
631 TYNEBRAE DR
FRANKLIN, TN 37064                                    P‐0013162 11/2/2017      TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
LANDES, DAVID
11638 RIVER RUN PKWY
HENDERSON, CO 80640                                   P‐0013163 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LIGOURI, LOUIS R.
LIGOURI, TRACY J.
510 MARCELLA ST.
ENDICOTT, NY 13760                                  P‐0013164 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMS, LATOYA M.
3500 SPRING VALLEY COVE
JACKSONVILLE, AR 72076                              P‐0013165 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER JR, DAVID R.
988 AZURE AVENUE
WELLINGTON, FL 33414                                P‐0013166 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTTER, JANET L.
619 N AUSTIN ST
ROCKPORT, TX 78382                                  P‐0013167 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANDES, DAVID
11638 RIVER RUN PKWY
HENDERSON, CO 80640                                 P‐0013168 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARR, SUSAN J.
7930 SENDERO RIDGE
FAIR OAKS RANCH, TX 78015                           P‐0013169 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHAEL‐BURKS, AUDREY
631 TYNEBRAE DR
FRANKLIN, TN 37064                                  P‐0013170 11/2/2017      TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
SCHNIZLER, BRANDON L.
3596 LIBERTY RIDGE TRAIL
MARIETTA, GA 30062                                  P‐0013171 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLISSON II, JAMES H.
112 WALNUT CREEK DR
GOLDSBORO, NC 27534                                 P‐0013172 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, SAMUEL E.
210 N CENTER STREET
MARSHALLTOWN, IA 50158                              P‐0013173 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKS, AUDREY
631 TYNEBRAE DR
FRANKLIN, TN 37064                                  P‐0013174 11/2/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
MCNEAL, ROBERT W.
2008 COTACO VALLEY TRAIL
DECATUR, AL 35603                                   P‐0013175 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, WELDON D.
2256 CHAMPIONS CORNER DR.
LEANDER, TX 78641                                   P‐0013176 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORALEMON, LAURA R.
54 SOUTH ROAD
CHESTER, NJ 07930                                   P‐0013177 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ICHIKAWA, ROBERT D.
1713 W 239TH ST
TORRANCE, CA 90501                                  P‐0013178 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWEN, JENNIFER L.
5715 S PARK BLVD
PARMA, OH 44134                                     P‐0013179 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOWELL, DAVID M.
DROBECK, CAROL A.
871 N. AUBURNDAALE
MEMPHIS, TN 38L107                                  P‐0013180 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLEAS, SOLEDAD
50 FORT AVE.
SEASIDE HEIGHTS, NJ 08751                           P‐0013181 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RHODEN, ASHLEY M.
1255 11TH AVE SW
APT 104
FOREST LAKE, MN 55025                                P‐0013182 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOUI, MARIO
N8828 GLADSTONE BEACH RD
FOND DU LAC, WI 54937                                P‐0013183 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOOD, ANGELA R.
4428 HARBOR PLACE DRIVE
SHOREVIEW, MN 55126                                  P‐0013184 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSWELL, YVONNE A.
ROSWELL, GARY A.
2465 LADOGA AVE.
LONG BEACH, CA 90815                                 P‐0013185 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUDOLPH, RICHARD L.
2112 SW VILLAGE HALL RD
TOPEKA, KS 66614‐5014                                P‐0013186 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AINSWORTH, PAULA E.
8201 SONNET
MCKINNEY, TX 75071                                   P‐0013187 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, RITA L.
BROWN, KEVIN D.
25295 LARK STREET
PONCHATOULA, LOUISIANA 70454‐8011                    P‐0013188 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRNE, KAREN L.
9 KENT DR
ORCHARD PARK, NY 14127                               P‐0013189 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REGAN, JAMES M.
1693 PRESTWICK ROAD
G. P. WOODS, MI 48236‐1938                           P‐0013190 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARR, NILS K.
7930 SENDERO RIDGE
FAIR OAKS RANCH, TX                                  P‐0013191 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEILER, DREW C.
104 POCONO VIEW DR
SAYLORSBURG, PA 18353                                P‐0013192 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
APMANN, STEPHEN R.
1306 NORTH 25TH STREET
APT 312
GRAND JUNCTION, CO 81501                             P‐0013193 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROHR, EUGENE J.
49 PINEVIEW LN
CORAM, NY                                            P‐0013194 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, ROBERT G.
1118 E LAKE AVE
PEORIA HEIGHTS, IL 61616                             P‐0013195 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARNEY, PATRICIA A.
200 FRENCH RD
WEST SENECA, NY 14224                                P‐0013196 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARABAUGH, RICHARD W.
215 KIRKPATRICK STREET
P.O. BOX 76
HASTINGS, PA 16646                                   P‐0013197 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
KENNEDY, SHIRLEY A.
766 1ST STREET
#39
GILROY, CA 95020                                     P‐0013198 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEFNER, HOLLY
HEFNER, THOMAS
10011 SADDLEHORN LN
HIGHLANDS RANCH, CO 80130                            P‐0013199 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, SHIRLEY D.
1304 INDIAN BRANCH ROAD
DARLINGTON, SC 29532                                 P‐0013200 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BESMER, MICHAEL V.
13 COVENTRY COURT
BLUE BELL, PA 19422                                  P‐0013201 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINDQUIST, DEBRA L.
11221 HWY 2
FLOODWOOD, MN 55736                                  P‐0013202 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTENS, DONNA R.
9611 W. BROKENSTONE DRIVE
SUN CITY, AZ 85351                                   P‐0013203 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOOD, RODERICK J.
4428 HARBOR PLACE DRIVE
SHOREVIEW, MN 55126                                  P‐0013204 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIN, SONDRA K.
8439 E PARKMONT CT
WICHITA, KS                                          P‐0013205 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELVESCOVO, MICHAEL C.
DELVESCOVO, ALEXANDRA
1534 PENNSBURY DR.
WEST CJESTER, PA 19382                               P‐0013206 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUPRE, BETH L.
25 HERITAGE DRIVE
MARLBOROUGH, CT 06447                                P‐0013207 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, JAMES V.
369 AVEY CIRCLE
COOKEVILLE, TN 38506                                 P‐0013208 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, JINLU
21502 MISSION FALLS DR
HOUSTON, TX 77095                                    P‐0013209 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOUSER, SHIRLEY D.
4654 MAPLEWOOD RD
EAST ORANGE, VT 05086                                P‐0013210 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEINHOFF, DAVID G.
1459 E MAIN ST APT 201
MADISON, WI 53703‐3065                               P‐0013211 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRISCH, JIM A.
412 W LAIR ROAD
FAIRMONT, MN 56031                                   P‐0013212 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIALLONARDO, LOUIS
GIALLONARDO, DURINDA A.
9826 E.GEMINI PL.
SUN LAKES, AZ 85248                                  P‐0013213 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASSEY, LAQUIZE
13614 W. PONDEROSA CT
WICHITA, KS 67235                                    P‐0013214 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MELLINGER, AMBER S.
8339 WYTON RD.
TOWSON, MD 21286                                     P‐0013215 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MICHAEL B.
949 HUNTCLUB BLVD
AUBURN HILLS, MI 48326                               P‐0013216 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWANSON, PATRICIA
4721 TROUT LN
BLAIR, NE 68008                                      P‐0013217 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECK, THOMAS A.
29865 6 MILE RD
LIVONIA, MI 48152‐3673                               P‐0013218 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASSEY, LAQUIZE
13614 W. PONDEROSA CT
WICHITA, KS 67235                                    P‐0013219 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHE, MIRANDA L.
ASHE, JORDAN E.
405 ARREBA STREET
MARTINEZ, CA 94553                                   P‐0013220 11/2/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MEURER, COREY
5250 HERITAGE LANE SW
ROCHESTER, MN 55902                                  P‐0013221 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRISCH, SANDRA K.
412 W LAIR ROAD
FAIRMONT, MN 56031                                   P‐0013222 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TELLEZ, DESIREE M.
TELLEZ JR, BENJAMIN R.
1547 W H ST.
ONTARIO, CA 91762                                    P‐0013223 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUMMERS, ANDREE
4499 BACCICH STREET
NEW ORLEANS, LA 70122                                P‐0013224 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BICOCCHI, LISA
909 LANCASTER ROAD
RIDGEFIELD, NJ 07657                                 P‐0013225 11/2/2017      TK Holdings Inc., et al .                    $3,750.00                                                                                    $3,750.00
TSANG, SAM
3916 N. POTSDAM AVE. #1364
SIOUX FALLS, SD 57104                                P‐0013226 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAUL, BRADLEY M.
23160 STEWART AVE
WARREN, MI 48089                                     P‐0013227 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOFTUS, WENDY S.
12860 SHAWNEE RD.
PALOS HEIGHTS, IL 60463                              P‐0013228 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIALLONARDO, LOUIS
GIALLONARDO, DURINDA A.
9826 E. GEMINI PL.
SUN LAKES, AZ 85248                                  P‐0013229 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, JEFF J.
3208 WEXFORD LANE
JOLIET, IL 60431                                     P‐0013230 11/2/2017      TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
SAMSON, GARY
1407 CARLYLE AVE
SANTA MONICA, CA 90402                               P‐0013231 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CONWAY, DEBORA D.
RATCHFORD, IRENE M.
30101 EAST HANNA ROAD
BUCKNER, MO 64016                                    P‐0013232 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYES‐WRIGHT, PATRICIA A.
1088 W CHESTNUT STREET
UNION, NJ 07083                                      P‐0013233 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLEHER, TRACEY M.
13147 DEERPATH WAY
BATON ROUGE, LA 70816                                P‐0013234 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILDENTHALER, CANDICE L.
7256 PORTER DRIVE
CANAL WINCHESTER, OH 43110                           P‐0013235 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORN, BRADLEY A.
DUKEHART, COBURN A.
2813 CENTER AVE.
MADISON, WI 53704                                    P‐0013236 11/2/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
FRUTOS, JUAN A.
2 FAWN LANE
EXPORT, PA 15632                                     P‐0013237 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMPRECHT, LISA M.
52 IROQUOIS AVENUE
CHEEKTOWAGA, NY 14206                                P‐0013238 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAVERNA, SANDRA R.
37 VALLEY RD
COS COB, CT 06807                                    P‐0013239 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FILIPE, MARIA F.
533 RARITAN ROAD
LINDEN, NJ 07036                                     P‐0013240 11/2/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
GIALLONARDO, LOUIS
GIALLONARDO, DURINDA A.
9826 E. GEMINI PL.
SUN LAKES, AZ 85248                                  P‐0013241 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUCAS, CANDACE I.
LUCAS, GREGG D.
210 SAINT JOHN PLACE
PLATTSBURGH, NY 12901‐6040                           P‐0013242 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PREVO, CARRIE J.
4250 GLENCOE AVE
APT #1214
MARINA DEL REY, CA 90292                             P‐0013243 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORDON, NEKESHA J.
1580 GRIGGS ROAD
MERIDIAN, MS 39301                                   P‐0013244 11/2/2017      TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
HAMMOND, JARED
6789 S. LAKE SHORE DRIVE
HARBOR SPRINGS, MI 49740                             P‐0013245 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLAGHER, JAMES A.
GALLAGHER, KATIEBELLE
557 BURGESS STREET
PHILADELPHIA, PA 19116                               P‐0013246 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMMER, TRACEY
31 CLINTON AVENUE
WESTPORT, CT 06880                                   P‐0013247 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ALLEN, DAWN M.
312 NOICE DRIVE
SALINAS, CA 93906                                    P‐0013248 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
SELTZER, EARL M.
24 WOOD STREET
GROVELAND, MA 01834                                  P‐0013249 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFF, MATTHEW
15 LOWELL DRIVE
NEW CITY, NY 10956                                   P‐0013250 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, CYNTHIA E.
883 LONE STAR DR
NEW BRAUNFELS, TX 78130                              P‐0013251 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLASSEN‐BRUNNER, ANNE C.
7501 DATE ROAD
STEVENSVILLE, MI 49127                               P‐0013252 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, JOSEPH B.
5975 RIVERSIDE DR
MELBOURNE BEACH, FL 32951                            P‐0013253 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKNIGHT, MATTHEW
120 CLEARVIEW PL.
CARLILSE, PA 17015                                   P‐0013254 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EBERSOLE, DEBBIE H.
EBERSOLE, MARK R.
105 CEDAR ST.
ELIZABETHTOWN, PA 17022                              P‐0013255 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURK, FRANCES K.
3368 LAKE GLENN DRIVE
EUGENE, OR 97401                                     P‐0013256 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WICKEY, MICHAEL R.
5806 W 55TH ST.
MISSION, KS 66202                                    P‐0013257 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, ANTHONY L.
5832 CHRISTIE AVE SE
KENTWOOD, MI 49508                                   P‐0013258 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRICHE, DAVID K.
TRICHE, LINDA J.
38765 HEBERT LANE
PONCHATOULA, LA 70454                                P‐0013259 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUND, ROBERTA R.
7015 GREENSPRING DR
ARLINGTON, TX 76016                                  P‐0013260 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, MIKE O.
24327 AYSCOUGH LN
KATY, TX 77493                                       P‐0013261 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENSEN, PATRICIA A.
416 EAST 66TH TERRACE
KANSAS CITY, MO 64131                                P‐0013262 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGSTROM, HARVEY R.
4029 32 ST SO
FARGO, ND 58104                                      P‐0013263 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, MICHAEL F.
1304 LARCHMONT
NICHOLS HILLS, OK 73116                              P‐0013264 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, MELINDA A.
NO ADDRESS PROVIDED
                                                     P‐0013265 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
GOODMAN, FRANCES V.
2590 GOLD STAR HIGHWAY
#106
MYSTIC, CT 06355                                      P‐0013266 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERARO, SALVATOR V.
PERARO, ANTHONY V.
2002 OLD FREDERICK ROAD
CATONSVILLE, MD 21228‐4118                            P‐0013267 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRNE, GENEVIEVE
27 TURNER STREET
APT 1
SALEM, MA 01970                                       P‐0013268 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALAS, THERESA L.
340 PARK ALY
UNIT 1
HOLLISTER, CA 95023                                   P‐0013269 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LESTER, ANGELICA E.
P.O. BOX 1691
CLOVIS, CA 93613‐1691                                 P‐0013270 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSTRONIC, BRIDGET M.
1550 RALEIGH ST
DENVER, CO 80204                                      P‐0013271 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYES, STELLA K.
2010 RICHARDS AVE
BURLINGTON, NC 27217                                  P‐0013272 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FELICETTA, DENNIS A.
DENNIS A FELICETTA
2311 ROOSEVELT ST. NE
MINNEAPOLIS, MN 55418‐4036                            P‐0013273 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARCONE, MICHAEL
8 WILDHEDGE LANE
HOLMDEL, NJ 07733                                     P‐0013274 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LENEAR, ALICIA L.
14706 JACOB AVE
EASTPOINTE, MI 47021                                  P‐0013275 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACDONALD, DANIEL
231 DURST RD
IRWIN, PA 15642                                       P‐0013276 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, LELAND K.
SCOTT, DALE A.
501 INMAN STREET
COUNCIL GROVE, KS 66846                               P‐0013277 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, CHARLES P.
P.O.BOX 18631
FOUNTAIN HILLS, AZ 85269                              P‐0013278 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLWELL, PAMELA S.
413 S ROYAL TROON DR.
NORTH SIOUX CITY, SD 57049‐5139                       P‐0013279 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EYE, TOM V.
NO ADDRESS PROVIDED
                                                      P‐0013280 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FETTEROLF, JANET M.
225 NEW CENTERVILLE ROAD
SOMERSET, PA 15501                                    P‐0013281 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                         Current General                                         Current 503(b)(9)
                                                                                                                                            Current Priority   Current Secured                        Current Admin    Total Current
                        Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                             Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                             Amount                                                  Amount
MENDOZA, LAURA S.
P.O. BOX 791174
NEW ORLEANS, LA 70179                                     P‐0013282 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, RICHARD P.
P.O. BOX 61486
HONOLULU, HI 96839                                        P‐0013283 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNIPES, BILLY R.
SNIPES, PATRICIA K.
4115 FLAT CREEK ROAD
LANCASTER, SC 29720                                       P‐0013284 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIZOWSKI, CHARLOTTE C.
3068 VOORHEIS LAKE COURT
LAKE ORION, MI 48360                                      P‐0013285 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, LISA M.
140 GREENVIEW TER
MACON, GA 31220                                           P‐0013286 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOCKSTILL, SHARON K.
211C SONES CHAPEL ROAD
CARRIERE, MS 39426                                        P‐0013287 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHACON, SCOTT H.
48 GLEN SUMMER ROAD
PASADENA, CA 91105                                        P‐0013288 11/2/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
EDWARDS, LISA M.
140 GREENVIEW TER
MACON, GA 31220                                           P‐0013289 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING SR, JOHN C.
100 GREEN HILL DR.
PETAL, MS 39465
                                                          P‐0013290 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMEZ, BERYL Q.
664 MICHEL RD
PIERRE PART, LA 70339                                     P‐0013291 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WATKINS, DOROTHY E.
UNIVERSAL
                                                          P‐0013292 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERLICCA, JOHN J.
35 GREYLOCK RDG.
PITTSFORD, NY 14534                                       P‐0013293 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STONE, JENNIFER C.
220 CROSSING CREEK CT.
ROSWELL, GA 30076                                         P‐0013294 11/2/2017      TK Holdings Inc., et al .                     $406.34                                                                                       $406.34
CLARK, MICHAEL D.
719 BARBARA
CAVE CITY, AR                                             P‐0013295 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEARD, TREYSHAD K.
100 CANDLEWICK PLACE
HENDERSONVILLE, TN 3075                                   P‐0013296 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEI, CHIAYU
NO ADDRESS PROVIDED
                                                          P‐0013297 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHERROD, EMERSON
SHERROD, ALLIE
6721 EDINBOROUGH DRIVE
WEST BLOOMFIELD, MI 48322                                 P‐0013298 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WILLIAMSON, VENCIA L.
2700 MOHICAN AVE
INDEPENDENCE, MO 64057                               P‐0013299 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAO, BO
355 WAREC WAY
LOS ALTOS, CA 94022                                  P‐0013300 11/2/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
CARROLL, MICHAEL T.
NO ADDRESS PROVIDED
                                                     P‐0013301 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLAT, KELLY L.
959 BIRCH AVENUE
LOS BANOS, CA 93635                                  P‐0013302 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, DAVID M.
SPIRES‐KING, SHERI M.
169 CARL HAVARD ROAD
LUCEDALE, MS 39452                                   P‐0013303 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWLUS, WARREN B.
37 HILLCREST DRIVE
TIFFIN, OH 44883                                     P‐0013304 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIDDLETON, TRACY L.
9814 S CHYLENE DRIVE
SANDY, UT 84092                                      P‐0013305 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURLING, JOHN
104 IDA ST
LENA 61048                                           P‐0013306 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOYCE, MARTIN H.
JOYCE, SHIRLEY A.
15 W 4TH ST UNIT 602
CINCINNATI, OH 45202                                 P‐0013307 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURGESS, MARK C.
290 CENTER STREET
DENNIS PORT, MA 02639                                P‐0013308 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCULLOUGH, CLAIRE A.
MCCULLOUGH, DAVID A.
5108 H STREET
LITTLE ROCK, AR 72205                                P‐0013309 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWEET, ASHLEY M.
3503 INKWOOD DR
ANDERSON, CA 96007                                   P‐0013310 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEDNAREK, PATRICIA L.
4653 W 149TH ST
CLEVELAND, OH 44135                                  P‐0013311 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RHYAN, DAVID J.
1281 E. HOTCHKISS RD.
BAY CITY, MI 48706                                   P‐0013312 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CECERE, HEATHER A.
57 TYNDALE AVENUE
MONROE, NJ 08831                                     P‐0013313 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARKE, RANDALL E.
4789A WHITE ROCK CIRCLE
BOULDER, CO 80301                                    P‐0013314 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOPHUS, NICOLE
342 REMINGTON GREEN CT.
HOUSTON, TX 77073                                    P‐0013315 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
KAMINSKI, WILLIAM J.
2033 WORTHINGTON AVE.
BETHLEHEM, PA 18017                                  P‐0013316 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERLICCA, JOHN J.
35 GREYLOCK RDG.
PITTSFORD, NY 14534‐2333                             P‐0013317 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEGNER, PAUL A.
8815 SW 83 ST
MIAMI, FL 33173                                      P‐0013318 11/2/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
KRASNOW, LAWRENCE R.
KRASNOW, RUTH E.
140 GRAND ST
REDWOOD CITY, CA 94062                               P‐0013319 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMEZ, BERYL Q.
664 MICHEL RD
PIERRE PART, LA 70339                                P‐0013320 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WHITE, PEGGY
20832 VALERIO ST UNIT #1
WINNETKA, CA 91306                                   P‐0013321 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWLUS, LUCIANNE
37 HILLCREST DRIVE
TIFFIN, OH 44883                                     P‐0013322 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, NIMISH
7826 SHADY VILLA COVE
HOUSTON, TX 77055                                    P‐0013323 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEARY, MARTIN
4651 PINE RIDGE DR WEST
BUDHKILL, PA 18324                                   P‐0013324 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTISON, LISA
14909 DENNINGTON DR
BOWIE, MD 20721                                      P‐0013325 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LENZ, HOLLY H.
814 CARMEN DRIVE
APT. C
MOUNT SHASTA, CA 96067                               P‐0013326 11/2/2017      TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
HANAHAN, JEANNE
22219 LINDA DR
TORRANCE, CA 90505                                   P‐0013327 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLESPIE, CHRISTOPHER L.
533 N FLAT ROCK CIR
AURORA, CO 80018                                     P‐0013328 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PILNICKI, CHRISTINE B.
9301 N BELLEVIEW AVE
KANSAS CITY, MO 64155                                P‐0013329 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, CLIFFORD E.
5441 TWILIGHT WAY
PARKER, CO 80134                                     P‐0013330 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENTI, MARY D.
86 MILO PECK LANE
WINDSOR, CT 06095                                    P‐0013331 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMBURGEY, TERRY
62200 WEST END BLVD #3208
SLIDELL, LA 70461                                    P‐0013332 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ENGSTROM, LAURENE M.
3000 RIVERWOOD DR
#238
HASTINGS, MN 55033                                    P‐0013333 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINNICK, ROCHELLE C.
MINNICK, SHAWN M.
1290 WEST GOVERNMENT ST
APT.E019
BRANDON, MS 39042                                     P‐0013334 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTISTEVAN, MONICA L.
135 SHADOW MOUNTAIN CT, #2
PLEASANT HIL, CA 94523                                P‐0013335 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMPRECHT, MICHAEL A.
52 IROQUOIS AVENUE
CHEEKTOWAGA, NY 14206                                 P‐0013336 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHALIFE, GEORGES
4577 WINTERGREEN DRIVE
TROY, MI 48098                                        P‐0013337 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARUANA, JOHN T.
12102 CARMELA DR
FENTON, MI 48430                                      P‐0013338 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNETT, MIKE
BARNETT, LULABELL
GREAT SOUTHERN BANK
3031 WATER
SPRINGFIELD, MO 65802                                 P‐0013339 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, LYNNE A.
8005 FERRARA DR
HARAHAN, LA 70123                                     P‐0013340 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAVANAUGH, CAREN C.
18156 KENNER DRIVE
PRAIRIEVILLE, LA 70769                                P‐0013341 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVILL, RILEY L.
STALLINGS, REBECCA A.
5600 WEST LOVER'S LN #116‐398
DALLAS, TX 75209                                      P‐0013342 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHALIFE‐MARJIEH, DANA
3 HASTINGS CLOSE
HASTINGS ON HUDS, NY 10706                            P‐0013343 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOJNAROSKI, JANET B.
5821 GLAD BLVD
KENT, OH 44240                                        P‐0013344 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PILNICKI, CHRISTINE B.
9301 N BELLEVIEW AVENUE
KANSAS CITY, MO 64155                                 P‐0013345 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, NELSON J.
24100 FAIRFIELD PLACE
CARMEL, CA 93923                                      P‐0013346 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRD, WILLIAM A.
BYRD, BERNICE M.
5265 FENNO WY
RENO, NV 89519                                        P‐0013347 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARRIGAN, LAUREN
6805 PRINCESS DRIVE
LITTLE ROCK, AR 72205                                 P‐0013348 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WAGNER, MARK A.
141 S CLEARVIEW PL
SOUTH BEND, IN 46619                                P‐0013349 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEGUERRE, REBECCA P.
387 IMPERIAL WAY APT 7
DALY CITY, CA 94015                                 P‐0013350 11/2/2017      TK Holdings Inc., et al .                    $4,600.00                                                                                    $4,600.00
LUNA, MICHAEL S.
682 RIVER ROAD
CAMBRIDGE, VT 05444‐9701                            P‐0013351 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PICKARSKI, ROBERT P.
21847 CENTER
NORTHVILLE, MI 48167                                P‐0013352 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMALU, ROXANNE S.
KAMALU, DAVID N.
46‐363 HOLOKAA PLACE
KANEOHE, HI 96744                                   P‐0013353 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMALU, DAVID N.
KAMALU, ROXANNE S.
46‐363 HOLOKAA PLACE
KANEOHE, HI 96744                                   P‐0013354 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, ROSE S.
STENZEL, OWEN J.
1717 ALA WAI BLVD
#1006
HONOLULU, HI 96815                                  P‐0013355 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBBS, DONA A.
5202 PENN ROAD
OSTRANDER, OH 43061                                 P‐0013356 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, HELGA
489 BRUCE AVE
ODENTON, MD 21113                                   P‐0013357 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, PAUL J.
ALLEN, KATHLEEN A.
200 DOVE HOLLOW TRAIL
GEORGETOWN, TX 78633                                P‐0013358 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, ANN L.
PUTNAM, CHERRI
2648 WEST 4225 SOUTH
ROY, UT 84067                                       P‐0013359 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PILNICKI, CHRISTINE B.
9301 N BELLEVIEW AVE
KANSAS CITY, MO 64155                               P‐0013360 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE LA FUENTE, SAMANTHA
5919 MEANDERING RD
FORT WORTH, TX 76114                                P‐0013361 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIESTER, JEFFREY D.
111 E WATER STREET
APT 115
APPLETON, WI                                        P‐0013362 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FILIPPONE, CHRISTOPHER M.
950 WAREHOUSE ROAD #50112
ORLANDO, FL 32803                                   P‐0013363 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE LA FUENTE, JENNIFER
5919 MEANDERING RD
FORT WORTH, TX 76114                                P‐0013364 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ANDRUS, ROBERT H.
115 ZEBULON CT
SUFFOLK, VA                                          P‐0013365 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWITT, ROBERT B.
824 NEW YORK AVE
METAIRIE, LA 70003                                   P‐0013366 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEXTON, FRANCES H.
P O BOX263
SHELBY, IN 46377                                     P‐0013367 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REESE, STEVEN L.
116 STEELE HOLLOW ROAD
JULIAN, PA 16844                                     P‐0013368 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOK, CURTIS L.
59 LONGLEA CT
LITTLE ROCK, AR 72212                                P‐0013369 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PICKARSKI, MARYANN
21847 CENTER
NORTHVILLE, MI                                       P‐0013370 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, JINLU
21502 MISSION FALLS DR
HOUSTON, TX 77095                                    P‐0013371 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELLAVECCHIA, FRANCIS
854 19TH ST APT A
SANTA MONICA, CA 90403                               P‐0013372 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, KENNNETH D.
6336 BUCHANAN ST.
FT. COLLINS, CO 80525                                P‐0013373 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNDON, JAY J.
527 STRAIGHT ST.
SEWICKLEY, PA 15143                                  P‐0013374 11/2/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
BRADLEY, CURTIS E.
6580 CRAIGHURST DR
NORTH HIGHLANDS, CA 95660                            P‐0013375 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOEPKE, KARLHEINZ P.
KOEPKE, AGNES P.
340 PARKWAY DR
WHEATON, IL 60187                                    P‐0013376 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEDERSON, BRUCE C.
1087 NEW LONDON TPKE.
GLASTONBURY, CT 06033                                P‐0013377 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LNDSEY, MENESSA M.
36335 LYNNWOOD DRIVE
DENHAM SPRINGS, LA 70706                             P‐0013378 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DANE T.
116 MANCHESTER ST
GLEN ROCK, PA 17327                                  P‐0013379 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEYVA, MARSHA L.
2221 S PRAIRIE AVE
LOT 122
PUEBLO, CO 81005                                     P‐0013380 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, PHILANDER
7001 MERLOT COVE
MEMPHIS, TN 38125                                    P‐0013381 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUKUMORI, IAN A.
843 AIR HILL
DUBUQUE, IA 52001                                    P‐0013382 11/2/2017      TK Holdings Inc., et al .                    $3,756.92                                                                                    $3,756.92
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BARONE, LOUIS G.
CORINA
7840 MILLER AVE
GILROY, CA 95020                                     P‐0013383 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGGAR, AFTON C.
1328 RUSSELL AVE N
MINNEAPOLIS, MN 55411                                P‐0013384 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILL, LAWRENCE M.
11886 TAPESTRY LN
MINNETONKA, MN 55305                                 P‐0013385 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIPNER, LINDA
10101 SUNRISE LAKES BLVD
APT. 109
SUNRISE, FL 33322                                    P‐0013386 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLGAN, ROBERT W.
COLGAN, MARY M.
2125 SPRINGWATER LANE
PORT ORANGE, FL 32128‐7405                           P‐0013387 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEELE, CHASITY M.
STEELE, MICHAEL E.
32422 WILDFLOWER TRAIL
SPANISH FORT, AL 36527                               P‐0013389 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAY, TIFFANY A.
RAY, MICHAEL D.
8053 DURALEE LANE
DOUGLASVILLE, GA 30134                               P‐0013390 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMPARTER, JEFF L.
6060 TEXTILE RD.
SALINE, MI 48176                                     P‐0013391 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAUCK, STEVAN H.
29023 211TH AVE
MARTIN, SD 57551                                     P‐0013392 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTSON, GIA N.
4169 W COLLEGE AVE
MILWAUKEE, WI 53221                                  P‐0013393 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ODOM (PARDUE), CHARISSA K.
ODOM, CLARENCE L.
111 BEDFORD FALLS CT
JEFFERSON, GA 30549                                  P‐0013394 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAUOLI, REGINA R.
8522 COPPERMINE
CONVERSE, TX 78109                                   P‐0013395 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, NORA M.
251 POLK 32
COVE, AR 71937                                       P‐0013396 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BULLARD, RONALD L.
2325 JONES BRIDGE ROAD
LEICESTER, NY 14481                                  P‐0013397 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAUS, JEFFREY A.
1291 FLANDERS AVE SW
WAVERLY, MN 55390                                    P‐0013398 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUDD, MICHAEL T.
1 SOMERRSET DRIVE
RUMSON, NJ 07760                                     P‐0013399 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RUDOY, JAMES L.
618 LAKEWOOD DR
SUNNYVALE                                            P‐0013400 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELANEY ODLE, TRACY
TRACY DELANEY ODLE
P.O. BOX 221958
CARMEL, CA 93922‐1958                                P‐0013401 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNDERWOOD, CARL H.
UNDERWOOD, JANAIL P.
3727 SO. COURT STREET
MONTGOMERY                                           P‐0013402 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGNER, CATHERINE J.
1839 OAKLEY ROAD
LIBERTY, TN 37095                                    P‐0013403 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOPPE, JEFFREY P.
HOPPE, DAWN M.
33823 ROSE ST
BURLINGTON WI 53105                                  P‐0013404 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, JOHN R.
DIXON, VIRGINIA L.
641 VIA DEL MONTE
PALOS VERDES EST, CA 90274                           P‐0013405 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RABENDA, MARIA G.
7208 BURNING TREE DR
MCHENRY
, IL 60050                                           P‐0013406 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLACE, THOMAS A.
WALLACE, DEBORAH M.
THOMAS WALLACE
10120 SCOUT DR
FAIRFAX, VA 22030                                    P‐0013407 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SVRAKA, TIBOR
859 CRESPI DRIVE
SAN LEANDRO, CA 94578                                P‐0013408 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBS, ALAN A.
13052 W AVALON DR
AVONDALE, AZ 85392‐6767                              P‐0013409 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, BETTY A.
22354 ELMWOOD STREET
EASTPOINTE, MI 48021                                 P‐0013410 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YAQOUB, NASHWAN A.
P. O. BOX 653
CLOVIS, CA 93613                                     P‐0013411 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAINO, CHRISTOPHER J.
11026 NEWFIELD DR
FORT MILL, SC 29707                                  P‐0013412 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EILANDS, KRISTAPS
2112 PLEASANT PALM CIRCLE
LEAGUE CITY, TX 77573                                P‐0013413 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRERA, JILLIAN
521 STARK STREET
A
LAWRENCEVILLE, GA 30046                              P‐0013414 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOVIZA, ROBERT W.
22 HILLCREST LANE
SARATOGA SPRINGS, NY 12866                           P‐0013415 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WALL, CHRISTINA F.
680 CHEROKEE STREET
STRASBURG, CO 80136‐8046                             P‐0013416 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDBERG, CARL
1 TROTTERS COURT,
APT. T2
PIKESVILLE, MD 21208                                 P‐0013417 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIGGINS, GALE L.
164 N CATAMARAN CIR
PITTSBURG, CA 94565                                  P‐0013418 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIESLER, MARY P.
GIESLER, DOUGLAD P.
MPG ACCOUNTING
10528 REEDER ST
OVERLAND PARK, KS 66214                              P‐0013419 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIMINO, ROBERT
17 WILSON AVE
SOMERS POINT, NJ 08244                               P‐0013420 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOX, CHARLOTTE D.
853 E. GRANDVIEW RD
PHOENIX, AZ 85022‐2620                               P‐0013421 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNOWLES, KRISTIN N.
2070 OLDHAM RD
HARTSVILLE, TN 37074                                 P‐0013422 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTBROOK, FREDERICK J.
6475 TODD ACRES DR.
THEODORE, AL 36582‐2609                              P‐0013423 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINLEY, SHELBY L.
4717 N 148TH ST
OMAHA, NE 68116                                      P‐0013424 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWDER, TEMECIA L.
2415 LAGOON DR
MESQUITE, TX 75150                                   P‐0013425 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, JESSE J.
2035 NORTH PACIFIC AVENUE
SANTA CRUZ, CA 95060                                 P‐0013426 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOUIS, JOANNE S.
1011 BELLOWS WAY
VOLO, IL 60073                                       P‐0013427 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TODD, MELENDA S.
29 ROCKEFELLER DRIVE
APT. A
ORMOND BEACH, FL 32176                               P‐0013428 11/2/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
KNOWLES, KRISTIN N.
2070 OLDHAM RD
HARTSVILLE, TN 37074                                 P‐0013429 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, TAMMY S.
4874 EDGEWOOD DR
HARRISON, MI 48625                                   P‐0013430 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARNEY, JEAN‐MARK
704 QUEEN STREET
OLEAN, NY 14760                                      P‐0013431 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLARD, SHELLEY A.
1935 MACK RD
DOUGLASVILLE, GA 30135                               P‐0013432 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
EILANDS, INDULIS
2112 PLEASANT PALM CIRCLE
LEAGUE CITY, TX 77573                                P‐0013433 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, YVETTE
321 WEST 104TH PLACE
CHICAGO, IL 60628                                    P‐0013434 11/2/2017      TK Holdings Inc., et al .                    $3,200.00                                                                                    $3,200.00
ADACHI‐SANDIFER, RIE
8540 NESTLE AVE.
NORTHRIDGE, CA 91325                                 P‐0013435 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, LISA M.
140 GREENVIEW TER
MACON, GA 31220                                      P‐0013436 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUBB, LON
808 WILLOW ROAD
WINNETKA, IL 60093                                   P‐0013437 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KURTZ, LINDA
93 WALMER AVENUE
EAST PROVIDENCE, RI 02914                            P‐0013438 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARLSON, DANIEL R.
4805 107TH AVENUE N.E.
CIRCLE PINES, MN 55014                               P‐0013439 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRD, ASHLEY
5319 WAXWING LN.
RAPID CITY, SD 57702                                 P‐0013440 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECKER, KIMBERLY J.
4661 ST. RT. 130 N
UNIONTOWN, KY 42461                                  P‐0013441 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HONG, JACK Y.
3400 FULTON ST APT 5
SAN FRANCISCO, CA 94118                              P‐0013442 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAJARDO, VERONICA
9425 SW 227TH TERRACE
CUTLER BAY, FL 33190                                 P‐0013443 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOGLE, CHRISTOPHER E.
706 W WINDSOR CT
COEUR D ALENE, ID 83815                              P‐0013444 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STONEHOUSE, DEBORAH A.
1061 RIO NORTE WAY
SACRAMENTO, CA 95834                                 P‐0013445 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAULT, JAMES L.
GAULT, MARGARET E.
14 GRETCHEN PLACE
GREENBRAE, CA 94904                                  P‐0013446 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, VICTORIA L.
3139 EVERGREEN RD
TOLEDO, OH 43606                                     P‐0013447 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, LEON
1778 CO RD 20
CLAYTON, AL 36016                                    P‐0013448 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPPELL, CHRIS
22619 STRATHERN ST
WEST HILLS, CA 91304                                 P‐0013449 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIMINO, ROBERT
17 WILSON AVE
SOMERS POINT, NJ 08244                               P‐0013450 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BEARD, TREYSHAD
100 CANDLEWICK PLACE
HENDERSONVILLE, TN 37075                              P‐0013451 11/2/2017      TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
BURRIS, SHALANA L.
1200 S REDWOOD ST #B34
LAS VEGAS, NV 89146                                   P‐0013452 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAK, RYAN A.
ZAK, RYAN A.
3878 N MILWAUKEE CT
CHICAGO, IL 60641                                     P‐0013453 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRISON, GAY H.
309 HIDDEN CREEK DRIVE
MONTICELLO, GA 31064                                  P‐0013454 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, DONNA A.
MOORE, KEVIN C.
315 N RANSOM RD
P.O. BOX81
RICHMOND, KS 66080                                    P‐0013455 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREGORY, PATRICK S.
8571 CYPRESS AVE
CYPRESS, CA 90630                                     P‐0013456 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHATTUCK, STEPHANIE M.
1030 W. ELMWOOD
CLAWSON, MI 48017                                     P‐0013457 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, MARK J.
9331 E STEER MESA ROAD
PRESCOTT VALLEY, AZ 86315                             P‐0013458 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEARD, TREYSHAD
100 CANDLEWICK PL
HENDERSONVILLE, TN 37075                              P‐0013459 11/2/2017      TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
CATHEY, FRANK E.
CATHEY, PATRICIA D.
5808 MONTAQUE AVENUE
ROCKVALE, TN 37153                                    P‐0013460 11/2/2017      TK Holdings Inc., et al .                    $5,386.00                                                                                    $5,386.00
EDWARDS, LISA M.
140 GREENVIEW TER
MACON, GA 31220                                       P‐0013461 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDDY, CHINTALA D.
820 PHELAND CT
MILPITAS, CA 95035                                    P‐0013462 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISHOP, EMILY L.
100 KINGSBRIDGE WAY
LITTLE ROCK, AR 72212                                 P‐0013463 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, RICHARD P.
P.O. BOX 61486
HONOLULU, HI 96839                                    P‐0013464 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWERS, PATRICIA L.
BOWERS, JACK E.
7641 LAHARVE DR
ROCKFORD, IL                                          P‐0013465 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARNOSKES, ROSE M.
3068 VOORHES LAKE COURT
LAKE ORION, MI 48360                                  P‐0013466 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CLARK, DONALD E
CLARK, DONALD E
P.O. BOX 28
DACONO, CO 80514                                     P‐0013467 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBBS, GLORY G.
6483 N. VAGEDES
FRESNO, CA 93711                                     P‐0013468 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHERROD, EMERSON
6721 EDINBOROUGH DRIVE
WEST BLOOMFIELD, MI 48323                            P‐0013469 11/2/2017      TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
ENGLISH, SAMMY R.
ENGLISH, SAMMY R.
520 MULBERRY LANE
ADAMSVILLE, TN 38310                                 P‐0013470 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALL, JOSEPH A.
2943 HIDDEN MEADOW LANE
MCMINNVILLE, OR 97128                                P‐0013471 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAIN, FLOYD D.
CRAIN, JO ANN
2848 FERNWOOD STREET
SAN MATEO, CA 94403                                  P‐0013472 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, REBECCA
4053 HARDING WAY
OAKLAND, CA 94602‐1919                               P‐0013473 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLU‐AJAYI, BILI‐AMEEN
18 VALLEY CROSSING CIR
COCKEYSVILLE, MD 21030                               P‐0013474 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
PEPPER, DAVID A.
9723 W. 49TH PLACE
MERRIAM, KS 66203                                    P‐0013475 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MODY, HASMUKH M.
15019 ROCK KNOLL DR
HOUSTON, TX 77083‐5807                               P‐0013476 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWDEN, HARRISON S.
8530 MONROVIA ST.
APT. 722
LENEXA, KS 66215                                     P‐0013477 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETRACCA, KELLY A.
239 DORIC AVENUE
CRANSTON, RI 02910                                   P‐0013478 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSSI, OTTAVIO M.
ROSSI, CHRISTINE E.
1020 CREEKVIEW DR
WHITEFISH, MT 59937‐8198                             P‐0013479 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THORNTON, MARCI
1777 KENNETH ST
SEASIDE, CA 93955                                    P‐0013480 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULDER, SALLY S.
2310 CHARLESTON CT, SE
KENTWOOD, MI 49508                                   P‐0013481 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EISENMANN, KEVIN J.
1577 CENTRAL ST
EAST BRIDGEWATER, MA 02333                           P‐0013482 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STARLING, MELISSA
3030 GRATTON WAY
CONCORD, CA 94520                                    P‐0013483 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BADER, STEVEN M.
BADER, LAURIE E.
1950 BIRCH HILLS DRIVE
EAU CLAIRE, WI 54701‐9469                            P‐0013484 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCULLOUGH, STEPHEN L.
MCCULLOUGH, DOREEN F.
3822 ALBERAN AVE.
3822 ALBERAN AVE.
LONG BEACH, CA 90808‐2231                            P‐0013485 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MODI, ANGELA
31815 HONEY SUCKLE DRIVE
ROCKWOOD, MI 48173                                   P‐0013486 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAVIS, GAIL L.
45 SCOTT ST
APT UPPER
TONAWANDA, NY 14150                                  P‐0013487 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSSI, OTTAVIO M.
ROSSI, CHRISTINE E.
1020 CREEKVIEW DR
WHITEFISH, MT 59937‐8198                             P‐0013488 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRUSE, BRIAN
2607 N 157TH STREET
OMAHA, NE 68116                                      P‐0013489 11/2/2017      TK Holdings Inc., et al .                   $18,500.00                                                                                   $18,500.00
STOCKTON, STACIE L.
652 STARLA CT
LOVELAND, CO 80537                                   P‐0013490 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALFRAND, JAMES L.
48 HOWARD AVENUE
WILLIAMSVILLE, NY 14221                              P‐0013491 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARVIN, JR, ROBERT K.
MARVIN, HENRIETTE
1466 SPRUCE TREE DRIVE
DIAMOND BAR, CA 91765                                P‐0013492 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALCOMB, ANDREW R.
6400 WINDCREST DRIVE
APARTMENT #1134
PLANO, TX 75024                                      P‐0013493 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANT, KAREN S.
90 AMANDA DR
LONDON, KY 40744                                     P‐0013494 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOKOL, STEVE
SOKOL, STEVE
EDDY CURRENT
16206 RIGGS RD
STILWELL, KS 66085                                   P‐0013495 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, JOSE A.
6790 SW 122 DRIVE
PINECREST, FL 33156                                  P‐0013496 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOTTKE, BARRY W.
17804 N MICHAEL RD
COLBERT, WA 99005                                    P‐0013497 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, MARGARET
3912 MAIN ST
DOWNERS GROVE, IL 60515                              P‐0013498 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SCOTT, BILLY D.
1352 SYDNEY TER.
MOUNT JULIET, TN 37122                               P‐0013499 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MODY, NALINI H.
15019 ROCK KNOLL DR
HOUSTON, TX 77083‐5807                               P‐0013500 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEIDNER, KELLY L.
61 ROLLINGWOOD DRIVE
SAN RAFAEL, CA 94901                                 P‐0013501 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUILLOT, AUTUMN D.
MILAM, KAREN S.
2803 CARRIAGE HILL DRIVE
PARAGOULD, AR 72450                                  P‐0013502 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MECHAM, HEATHER H.
MECHAM, SHANE C.
805 NW SOUTH SHORE DR.
LAKE WAUKOMIS, MO 64151                              P‐0013503 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANGELO, MERCEDES N.
86 SKYLINE DRIVE
MORRISTOWN, NJ 07960                                 P‐0013504 11/2/2017      TK Holdings Inc., et al .                    $4,230.18                                                                                    $4,230.18
ARLEDGE, SARAH R.
1590 ALGER AVE
CORNING, CA 96021                                    P‐0013505 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBIUS, JEREL L.
3002 3RD ST,
UNIT 106
SANTA MONICA                                         P‐0013506 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OJALA, DARLENE C.
OJALA, VICTOR P.
705 SEDGLEY DRIVE
KNOXVILLE, TN 387922‐437                             P‐0013507 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCINIAK, KATIE M.
5643 S. MAPLEWOOD AVE., 24
CHICAGO, IL 60629                                    P‐0013508 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTTS, KRISTI S.
POTTS, KRISTI
6845 OAKLAND DR
PORTAGE, MI 49024                                    P‐0013509 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
ELLSWORTH, CAROL
ELLSWORTH, CAROL J.
                                                     P‐0013510 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRYE, GARY R.
11635 LOS RANCHITOS CT
DUBLIN, CA 94568                                     P‐0013511 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUZ, DIANA K.
1057 MAIN STREET APT #6
WALPOLE, MA 02081                                    P‐0013512 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT_SEAY, WANDA L.
3534 SAINT ALBANS ROAD
CLEVELAND HTS, OH 44121                              P‐0013513 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOBBS, LEE O.
176 BERNIE POWERS LN
MARTIN, TN 38237                                     P‐0013514 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
STANDRIDGE, JONATHAN H.
JONATAHN STANDRIDGE
1011 EDGEWOOD AVE
MADISON, WI 53711                                   P‐0013515 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUNARI, ISABELLA B.
FUNARI, GARY J.
11400 SWAINS CREEK CT
POTOMAC, MD 20854                                   P‐0013516 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEAN, FLOYD A.
DEAN, SUSAN L.
3156 E 58TH PL
TULSA, OK 74105‐7415                                P‐0013517 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBERT, NANCY
SERRA, ALBERT
89 SE 18TH AVENUE
DEERFIELD BEACH, FL 33441                           P‐0013518 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTTS, KRISTI S.
POTTS, KRISTI
6845 OAKLAND DR
PORTAGE, MI 49024                                   P‐0013519 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
COLLIER, AMANDA M.
122 NORTH MIDDLEBORO AVENUE
MISHAWAKA, IN 46544                                 P‐0013520 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMMON, TIFFANY L.
HAMMON, FRANK L.
7901 S. BEECHGROVE DR.
WEST JORDAN, UT 84081                               P‐0013521 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, CINDI M.
924 SAM BASS CT
WILLOW PARK, TX 76087                               P‐0013522 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIDALGO, BENJAMIN
629 S. 2ND AVENUE
GALLOWAY, NJ 08205                                  P‐0013523 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYANT, TED M.
1005 CAGES BEND CT
GALLATIN, TN 37066                                  P‐0013524 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITHEE, STEVEN E.
4209 W. 823 RD.
FORT GIBSON, OK 74434                               P‐0013525 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, BRANDON
83 HOLLY ST.
MARION, AR 72364                                    P‐0013526 11/2/2017      TK Holdings Inc., et al .                     $100.00                                                                                       $100.00
HARRIS, EBONIE T.
3713 GLENOAK DRIVE
HARVEY, LA 70058                                    P‐0013527 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUDD, MICHAEL
! SOMERSET DRIVE
RUMSON, NJ 07760                                    P‐0013528 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYANT, TED M.
1005 CAGES BEND CT.
GALLATIN, TN 37066                                  P‐0013529 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEBERT, ANGIE D.
8549 JO LEE DRIVE
DENHAM SPRINGS, LA 70706                            P‐0013530 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RABENDA, MARIA G.
7208 BURNING TREE DR
MCHENRY
, IL 60050                                           P‐0013531 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEFFNER, EDWARD W.
422 SEMPLE AVE
APTOS, CA 95003                                      P‐0013532 11/2/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
CHRISTIANS, JILL A.
16 CONCORD SQUARE APT 1
BOSTON, MA 02118                                     P‐0013533 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEBERT, DAVID M.
8549 JO LEE DRIVE
DENHAM SPRINGS, LA 70706                             P‐0013534 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEELE (PARDUE), CHARISSA K.
ODOM, CLARENCE L.
111 BEDFORD FALLS CT
JEFFERSON, GA 30549                                  P‐0013535 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EAGAN, JAMIE L.
872 O'NEIL ROAD
WEST CHAZY, NY 12992                                 P‐0013536 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTSON, GIA N.
4169 W COLLEGE AVE
MILWAUKEE, WI 53221                                  P‐0013537 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SVRAKA, ADRY
859 CRESPI DRIVE
SAN LEANDRO, CA 94578                                P‐0013538 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENG, KARSIN B.
64 OLD LANCASTER RD
DEVON, PA 19333                                      P‐0013539 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, MASUMI
RICHARDSON, SCOTT
401 AVENUE D
REDONDO BEACH, CA 90277                              P‐0013540 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKNIGHT, MARGARET A.
MCKNIGHT, ALTON L.
3777 PINEY BOUGH DR
HUNTSVILLE, TX 77340                                 P‐0013541 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROME, ASHLEY R.
1008 WASHINGTON STREET
KANSAS CITY, MO 64105                                P‐0013542 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, CARLOS
NO ADDRESS PROVIDED
SACRAMENTO, CA 95833                                 P‐0013543 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAVROSON, MATTHEW
65 SALEM RD
EAST HILLS, NY 11577                                 P‐0013544 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABOUELLEIL, ALAAELDIN M.
1431 CAMBRIDGE PL, APT22
MANHATTAN, KS 66502                                  P‐0013545 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, ROBERT A.
6613 PEAR AVENUE
RANCHO CUCAMONGA, CA 91739                           P‐0013546 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAO, MENG
4845 VERBENA WAY
SAN JOSE, CA 95129                                   P‐0013547 11/2/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ALESSI, LEE T.
7721 RIDGEWOOD DR
DENHAM SPRINGS, LA 70706                             P‐0013548 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOREL, SUZANNE E.
1521 CLOVER DRIVE
LAKE CHARLES, LA 70607                               P‐0013549 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUUR, MARIA
23777 MULHOLLAND HWY
SPC 183
CALABASAS, CA 91302                                  P‐0013550 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EPPERSON, ADAM C.
8270 CYPRESS WAY
DEXTER, MI 48130                                     P‐0013551 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORAN, KYLE D.
45460 IRAH RD.
ST. AMANT, LA 70774                                  P‐0013552 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOKSINSKI, KRYZSZTOF
21325 BRIARCLIFF STREET
SAINT CLAIR SHOR, MI 48082                           P‐0013553 11/2/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
CAMPBELL, CHRISTOPHER J.
112 EDGEVIEW DRIVE
HENDERSONVILLE, TN 37075                             P‐0013554 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PECK, LORI A.
P.O. BOX 85
GILBERTSVILLE, NY 13776                              P‐0013555 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZEGAR, RICHARD H.
124 KALALALAU ST
HONOLULU, HI 96825                                   P‐0013556 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, FELICIA A.
3436 W 83RD ST
CHICAGO, IL 60652                                    P‐0013557 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDMAN, NEIL M.
1133 E TREELINE DRIVE
LOCKPORT, IL 60441                                   P‐0013558 11/2/2017      TK Holdings Inc., et al .                    $9,000.00                                                                                    $9,000.00
MAVROSON, MATTHEW
65 SALEM RD
EAST HILLS, NY 11577                                 P‐0013559 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDONALD, PAMELA C.
MCDONALD, DAVID H.
10435 BALES AVE.
KANSAS CITY, MO 64137‐1518                           P‐0013560 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HASSAN, ABDEL
6914 5TH AVE APT 1
BROOKLYN, NY 11209                                   P‐0013561 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARDWELL, PAUL M.
72 TROTTERS WALK
WEST SPRINGFIELD, MA 01089                           P‐0013562 11/2/2017      TK Holdings Inc., et al .                    $1,785.00                                                                                    $1,785.00
WASHINGTON, MARIAN D.
1358 COUNTY ROAD 35
HEIDELBERG, MS 39439                                 P‐0013563 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, CATHY L.
142 AURORA WAY
VACAVILLE, CA 95688                                  P‐0013564 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
NASSEN, PEGGY A.
NASSEN, PEGGY A.
11704 CLEARGLEN AVE
WHITTIER, CA 90604                                   P‐0013565 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, LESTER
LEE, JOAN H.
902 ARUBA LN
FOSTER CITY, CA 94404                                P‐0013566 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EPPERSON, ADAM C.
8270 CYPRESS WAY
DEXTER, MI 48130                                     P‐0013567 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, SANDRA L.
890 COUNTY ROUTE 23
BURKE, NY 12917                                      P‐0013568 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, CLAIBORNE
1230 SCOTS GLEN
JACKSON, MS 39204                                    P‐0013569 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKNIGHT, ALTON A.
3777 PINEY BOUGH DR
HUNTSVILLE, TX 77340                                 P‐0013570 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SZYDLO, RAYMOND J.
SZYDLO, DOLORES J.
402 KELLY LN
CRYSTAL LAKE, IL 60012                               P‐0013571 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRIOS, DIRK A.
152 EAST 43RD STREET
CUT OFF, LA 70345‐2716                               P‐0013572 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORTER, DIANE
BANK OF THE WEST
5450 CONCORD BLVD
CONCORD, CA 94521                                    P‐0013573 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARNESE, GRACE M.
FARNESE, JR., FRANK P.
6537 KEMP WAY
NORTH HIGHLANDS, CA 95660                            P‐0013574 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLOMBO, JOSEPH D.
272 SHERI DR
BRUNSWICK, OH 44212                                  P‐0013575 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANCEBO, FRED J.
MANCEBO, DANIELLE E.
305 HUMBOLDT AVE
CHOWCHILLA, CA 93610                                 P‐0013576 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWENSON, SHEILA S.
7030 VEERING LANE
BURKE, VA 22015                                      P‐0013577 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KMIECIK, DARIUSZ
2399 MONTEREY AVE.
MARTINEZ, CA 94553                                   P‐0013578 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, LESTER
LEE, JOAN H.
902 ARUBA LN
FOSTER CITY, CA 94404                                P‐0013579 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWER, ERIC A.
BOWER, SUSANNE M.
346 WINDY OAKS DRIVE
MUNFORD, TN 38058                                    P‐0013580 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MORALES, LORRAINE W.
MORALES, ROBERT
58 COUNTRYSIDE DRIVE
MONROE, CT 06468                                     P‐0013581 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATHCART, LAVONDA K.
P.O. BOX 523
508 WEST BUFFALO STREET
HOLLY, CO 81047                                      P‐0013582 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, ROBERT A.
DUNCAN, VIVIAN
6613 PEAR AVE
RANCHO CUCAMONGA, CA 91739                           P‐0013583 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, ANDREW
525 MARCEAU WAY SW
ATLANTA, GA 30331                                    P‐0013584 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMMS, MYCHAL R.
3731 E TYLER AVE
FRESNO, CA 93702                                     P‐0013585 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAFFE, LOUISE C.
CASEY, RICHARD A.
1121 GRANT STREET
SANTA MONICA, CA 90405                               P‐0013586 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, LYDELL
17 BELLO ST
LAPLACE, LA 70068                                    P‐0013587 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, SANDRA L.
890 COUNTY ROUTE 23
BURKE, NY 12917                                      P‐0013588 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SACCONE, STEVEN G.
1087 DEERFIELD PL
HIGHLAND PARK, IL 60035                              P‐0013589 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NASSEN, PEGGY A.
11704 CLEARGLEN AVE
WHITTIER, CA 90604                                   P‐0013590 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NUSYNOWITZ, MARTIN L.
15726 BROOK FOREST DRIVE
HOUSTON, TX 77059‐6402                               P‐0013591 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, COLIN
686 SHARON DRIVE
ROCHESTER, NY 14626                                  P‐0013592 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHENS, KHRISCALLY U.
5137 LITTLE RICHMOND RD
TROTWOOD, OH 45426                                   P‐0013593 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDDING, ANGELA
NO ADDRESS PROVIDED
                                                     P‐0013594 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVISON, WILLIAM R.
DAVISON, MARCIA S.
2209 PTARMIGAN DRIVE
UNIT #4
WALNUT CREEK, CA 94598‐3557                          P‐0013595 11/2/2017      TK Holdings Inc., et al .                   $18,573.27                                                                                   $18,573.27
TYNDALL, BARBARA K.
991 ABERDEEN RD
BAY SHORE, NY 11706‐7724                             P‐0013596 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MARVIN, JR, ROBERT K.
MARVIN, HENRIETTE
1466 SPRUCE TREE DRIVE
DIAMOND BAR, CA 91765                                 P‐0013597 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERMIN, DEREK L.
727 W MACARTHUR ROAD
APARTMENT 605
WICHITA, KS 67217                                     P‐0013598 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                      P‐0013599 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IGE, OLUYEMI O.
661 PAYNE AVE #2
SAINT PAUL, MN 55130                                  P‐0013600 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RINELLA‐KELLY, ANN L.
3417 HAMPSHIRE DR
ARLINGTON, TX 76013                                   P‐0013601 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUZENDA, LEON
GUZENDA, LEON
1090 WATERWOOD DRIVE
RIO VISTA, CA 94571                                   P‐0013602 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUPLON LIVING TRUST
BOUPLON LIVING TRUST
N2539 SHORE DR.
MARINETTE, WI 54143‐9224                              P‐0013603 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROXELL, JULIE L.
1107 B ST
REDDING, CA 96002                                     P‐0013604 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARTAN, MARY A.
9509 WHITE OAK AVENUE
NORTHRIDGE, CA 91325                                  P‐0013605 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUZENDA, LEON
GUZENDA, LEON
1090 WATERWOOD DRIVE
RIO VISTA, CA 94571                                   P‐0013606 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANHOLM, MARTHA M.
4800 UNIVERSITY DR. 2M
DURHAM, NC 27707                                      P‐0013607 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRUSE, JOHNNETTE J.
533 HAWKEYE DR. LOT # 5
WILLIAMSBURG, IA 52361                                P‐0013608 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PURCELL, TERRENCE P.
1 JACOB COURT
CHICAGO HEIGHTS, IL 60411                             P‐0013609 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURGER, CHRISTINE
BURGER, CHRISTINE V.
9249 S TROY AVE
EVERGREEN PARK, IL 60805                              P‐0013610 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, LESTER
LEE, JOAN H.
902 ARUBA LN
FOSTER CITY, CA 94404                                 P‐0013611 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LISTMANN, THOMAS S.
LISTMANN, YALENDA J.
1710 ESCALONA DRIVE
SANTA CRUZ, CA 95060                                  P‐0013612 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GUFFY, MICHAEL R.
GUFFY, REBECCA M.
8868 ONEAL WOODS COURT SE.
ALTO, MI 49302                                       P‐0013613 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
KOENITZER, JILL A.
1955 5TH AVENUE
CHETEK, WI 54728                                     P‐0013614 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ING, TRISTAN
310 BEVERLEY ROAD
APT 6B
BROOKLYN, NY 11218                                   P‐0013615 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONROE, DOUGLAS J.
MONROE, MARTHA M.
1033 OLYMPIC DRIVE
RIO VISTA, CA 94571                                  P‐0013616 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, LISA
17 BELLO ST
LAPLACE, LA 70068                                    P‐0013617 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NUGENT, MARYJANE
44 VANKUREN DR
BINGHAMTON, NY 13901‐6039                            P‐0013618 11/2/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
THORNTON, MARCI
1777 KENNETH ST
SEASIDE, CA 93955                                    P‐0013619 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FROST, DOROTHY A.
FROST, DOUGLAS W.
1112 W. GRANITE STREET
GILLETTE, WY 82718                                   P‐0013620 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAUNER, MARY JO A.
5035 SOUTH STONE CREST LAE
SPOKANE
SPOKANE, WA 99223                                    P‐0013621 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, KIRSTIN R.
2049 BRUNSINK DR NE
GRAND RAPIDS, MI 49503                               P‐0013622 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'CONNOR, KATHRYN J.
PIERCE, NICOLE A.
516 FIRST AVE
LAUREL, MT 59044                                     P‐0013623 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, GLENN K.
4532 WILLOW FORGE CT
INDIANAPOLIS, IN 46254‐1264                          P‐0013624 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FETTERLY, KATHLEEN M.
17701 KENYON AVE #81
LAKEVILLE, MN 55044                                  P‐0013625 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORMAN, JAMES W.
6900 SW 33RD ST
TOPEKA, KS 66614                                     P‐0013626 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KISHIDA, GAIL J.
KISHIDA, GARY T.
88 PIIKOI STREET
APT. 3905
HONOLULU, HI 96814                                   P‐0013627 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KROSS, KIRK G.
10251 W. 44TH AVE #2‐106
WHEAT RIDGE, CO 80033                                P‐0013628 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ANGELILLO, MICHAEL A.
9212 CASTLEMONT CIRCLE
ORANGEVALE, CA 95662                                  P‐0013629 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPARKES, RICHARD H.
3332 PINE VILLA CT
GRAND BLANC, MI 48439                                 P‐0013630 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROE, JEFFREY A.
185 VISTA GRANDE
GREENBRAE, CA 94904                                   P‐0013631 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHENS, DONALD R.
12950 US HWY 61NORTH
ST. FRANCISVILLE, LA 70775                            P‐0013632 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AARON, RONALD H.
4110 ARROYO WILLOW LANE
CALABASAS HILLS, CA 91301                             P‐0013633 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHARMA, SHARAD
803 GEHRY DRIVE
MIDDLETOWN, DE 19709                                  P‐0013634 11/2/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
RASCON, MICHELLE O.
137 W JAHNS PLACE
CASA GRANDE, AZ 85122                                 P‐0013635 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURST, CHRIS
1250 FAUN RD
WILMINGTON, DE 19803                                  P‐0013636 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OBERLIN, MARIE F.
6357 SHEPARD ROAD
PAVVILION, NY 14525                                   P‐0013637 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TISCHLER, MICHAEL L.
101 PIN OAK COURT
COLLEGEVILLE, PA 19426                                P‐0013638 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHES, NORMA S.
3021 POTOMAC DRIVE
BATON ROUGE,LA.70808
                                                      P‐0013639 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
URBANIAK, LORRAINE M.
36031 LUCERNE ST.
CLINTON TOWNSHIP, MI 48035                            P‐0013640 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURST, CHRIS
1250 FAUN RD
WILMINGTON, DE 19803                                  P‐0013641 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIU, SIMON
299 TOPEKA AVE
SAN FRANCISCO, CA 94124                               P‐0013642 11/2/2017      TK Holdings Inc., et al .                    $2,200.00                                                                                    $2,200.00
DAVIS, ADAM S.
DAVIS, BRANDI L.
DEER VALLEY CREDIT UNION
4425 WEST BLOOMFIELD ROAD
GLENDALE, AZ 85304                                    P‐0013643 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOHAN, SATHYANARAY
1330 AUGUSTA DR UNIT #3
HOUSTON, TX 77057                                     P‐0013644 11/2/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
KEPPLER, MARILYN J.
115 CREEKSIDE DR
ROCHESTER, NY 14622                                   P‐0013645 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FEUDO, JOHN A.
122 SPECTACLE POND RD
LITTLETON, MA 01460                                  P‐0013646 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARRISH, CAROLYN
30 E MOYER DR.
BEAR, DE 19701                                       P‐0013647 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEHE, LISA K.
2831 FLORES STREET #205
SAN MATEO, CA 94403                                  P‐0013648 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGH, CHRISTOPHER R.
3357 HAYGROUND WAY
SACRAMENTO, CA 95835                                 P‐0013649 11/2/2017      TK Holdings Inc., et al .                     $750.00                                                                                       $750.00
ELMORE, JONI L.
ELMORE, CLAUDIUS C.
103 OAKWAY ROAD
TIMONIUM, MD 21093                                   P‐0013650 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPALE, RANDAL R.
17208 W. 84TH ST.
LENEXA, KS 66219                                     P‐0013651 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHEWS, ARLENE L.
CARE DYNAMICS INC
12336 MAPLE STREET
OVERLAND PARK, KS 66209                              P‐0013652 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERRILL, IRENE
1117 BALDWIN ST.
SPC 32
SALINAS, CA 93906                                    P‐0013653 11/2/2017      TK Holdings Inc., et al .                       $90.00                                                                                       $90.00
MAMERA, THOMAS A.
MAMERA, ELIZABETH C.
854 ROUTE 23 A
CATSKILL, NY 12414                                   P‐0013654 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TATMAN, RICHARD W.
TATMAN, KASEY J.
41530 HEARTHSTONE AVE
PRAIRIEVILLE, LA 70769                               P‐0013655 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANA, VIKAS
1120 GREENWAY TER, APT 5
BROOKFIELD, WI 53005                                 P‐0013656 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, JOHN F.
WHITE, KIMBERLEY A.
11225 CAMERO AVE. NE
ALBUQUERQUE, NM 87111                                P‐0013657 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILIBERTI, JOHN P.
617 ROBERT AVENUE
ROCKFORD, IL 61107                                   P‐0013658 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CELESTINE, BRENDA D.
505 BRUCE DRIVE
505 BRUCE DRIVE
LAKE CHARLES, LA 70615                               P‐0013659 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELSENSOHN, BRUCE P.
4739 MANDEVILLE STREET
NEW ORLEANS, LA 70122                                P‐0013660 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TATMAN, RICHIE W.
TATMAN, KASEY J.
41530 HEARTHSTONE AVE
PRAIRIEVILLE, LA 70769                               P‐0013661 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BROWN, RYAN
BROWN, AYAULYM
27 THORNRIDGE RD
PITTSBURGH, PA 15202                                 P‐0013662 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETRACCA, KELLY A.
239 DORIC AVENUE
CRANSTON, RI 02910                                   P‐0013663 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CITRIN, ELIZABETH A.
1261 PATRICK STREET
DAPHNE, AL 36526                                     P‐0013664 11/2/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
WHITE, JOHN F.
WHITE, KIMBERLEY A.
11225 CAMERO AVE. NE
ALBUQUERQUE, NM 87111                                P‐0013665 11/2/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
PANOS, PENNY
SAKAVELLAS, ATHANASIOS
3112 N LAMER ST
BURBANK, CA 91504                                    P‐0013666 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESSEL, NEIL
JOHANSSON, ANN‐LOUISE
2027 EUCLID ST., APT. D
SANTA MONICA, CA 90405                               P‐0013667 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, CASSANDRA R.
601 W FORD AVE
OSCEOLA, AR 72370                                    P‐0013668 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUIE, FERDINA L.
1143 MARTINSON CT
SACRAMENTO, CA 95838                                 P‐0013669 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TARASI‐MANTELMAC, PATRICIA
1413 CENTENNIAL RD
PENN VALLEY, PA 19072                                P‐0013670 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FENSKE, JEROME J.
269 29TH STREET
SAN FRANCISCO, CA 9413                               P‐0013671 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAPTIST, CORY
3789 DANTE AV
MEMPHIS, TN 38128                                    P‐0013672 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIPER, COLIN
21 CHESTNUT STREET
WOBURN, MA 01801                                     P‐0013673 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, TIMOTHY D.
3746 A SALT LAKE BLVD
HONOLULU, HI 96818‐2839                              P‐0013674 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACKE, DOUGLAS W.
1133 KERRI LYNN ROAD
ST. AUGUSTINE, FL 32084                              P‐0013675 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSHALL, WILLIAM H.
MARSHALL, CHRISTINE
4429 MARIOTA AVE
TOLUCA LAKE, CA 91602‐2506                           P‐0013676 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEADRICK, SCOTT W.
14053 SUNSET DRIVE
WHITTIER, CA 90602                                   P‐0013677 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
GOO, GARRICK
TANABE GOO, JULIE
841 BISHOP STE STE 1707
HONOLULU, HI 96813                                    P‐0013678 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMIREZ, YESMIN A.
4639 WARSAW AVE
LYONS, IL 60534                                       P‐0013679 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RHEA, JACOB L.
2400 BUSINESS CENTER DRIVE
APT 127
PEARLAND, TX 77584                                    P‐0013680 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHURR, BRETT C.
P.O. BOX 122
WILTON, CA 95693                                      P‐0013681 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HULIHAN, MATTHEW M.
101 TWENTY WEST DRIVE
ALTAMONT, NY 12009                                    P‐0013682 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHUNG, SA P.
516 E FAIRVIEW AVE
SAN GABRIEL, CA 91776                                 P‐0013683 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAUNDERS, JACQUELINE M.
550 MANOR ROAD 141057
STATEN ISLAND, NY 10314                               P‐0013684 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
SPRENKLE, CORY
6316 N BURTON AVE
SAN GABRIEL, CA 91775                                 P‐0013685 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCIACCA, LISA M.
6515 PARKDALE PLAZA
MARTINEZ, CA 94553                                    P‐0013686 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, TOMESHYA M.
205 HANNAH CT
BARNESVILLE, GA 30204                                 P‐0013687 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LITTLE, ANTHONY C.
6925 GARY LANE
FORT WORTH, TX 76112                                  P‐0013688 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HATFIELD, LAGRANDE O.
HATFIELD, CLARINE S.
1330 BEL AIRE ROAD
SAN MATEO, CA 9402                                    P‐0013689 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOVELL, RICHARD
36414 CALLAWAY AVE
GEISMAR, LA 70734                                     P‐0013690 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, SEAN P.
8442 COBBLE CREEK LANE
ORANGEVALE, CA 95662                                  P‐0013691 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA‐REYES, JOSE
RIVERA, CAROLINE M.
3928 LILLIE STREET
POWDER SPRINGS, GA 30127                              P‐0013692 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUEHNE, JEREMY T.
42 PLUM TREE COURT
PITTSBURG, CA 94565                                   P‐0013693 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORNELIUS, ROBERT J.
7025 DUPONT AVE N
MINNEAPOLIS, MN 55430                                 P‐0013694 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DEAN, ANDREA P.
17602 WATER FLUME WAY
MONUMENT, CO 80132                                   P‐0013695 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, SHANE D.
3780 IDA AVE.
FRUITPORT, MI 49415                                  P‐0013696 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIGHTCAP TRUST, ANNETTE F.
15203 W 165TH ST
OLATHE, KS 66062                                     P‐0013697 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, TAQUISHA Y.
4436 OLD COUNTRY WAY
SNELLVILLE, GA 30039                                 P‐0013698 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
JONES, TOMESHYA M.
205 HANNAH CT
BARNESVILLE                                          P‐0013699 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCHESNEY, BRUCE J.
MCCHESNEY, DEBORAH L.
10000 OLIVER ROAD
MCKEAN, PA 16426                                     P‐0013700 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REESE, MARVIN V.
P O BX 1013
ATWOOD, CA 92811                                     P‐0013701 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, BARBARA A.
P O BOX 193
COURTLAND, MS 38620                                  P‐0013702 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, ASHLEY
303 MYRTLE DR
LAUREL, MS 39440                                     P‐0013703 11/2/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
EVANS, GARY L.
EVANS, DARLENE J.
14844 DANBROOK DR
WHITTIER, CA 90604                                   P‐0013704 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, SHANE D.
3780 IDA AVE.
FRUITPORT, MI 49415                                  P‐0013705 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNS, NIKI
115 LITCHFIELD CT
VALLEJO, CA 94589                                    P‐0013706 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRY, JOHN D.
1381 PALOU AVE
SAN FRANCISCO, CA 94124                              P‐0013707 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN HOUT, SUZANNE M.
VAN HOUT, LOUIS J.
8828 PRESERVE TRL
SAVAGE, MN 55378                                     P‐0013708 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKEARNEY, DEAN K.
380 ALLEN AVENUE
NORTH ATTLEBORO, MA 02760                            P‐0013709 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUNDGREN, CRAIG N.
11704 N. CHARLOTTE ST
KANSAS CITY, MO 64155                                P‐0013710 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAPOLIS LACEY, KIM
500 LOOP ROAD
BEAR CREEK TWP, PA 18702                             P‐0013711 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
SLAVOV, IVAYLO D.
7610 ROCKHAMPTON AVE
LAS VEGAS, NV 89113                                   P‐0013712 11/2/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
KRAUSE, BENJAMIN C.
16600 58TH AVE N
PLYMOUTH, MN 55446                                    P‐0013713 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DORAN, THERESA M.
FIGUEROA, JOHN
15‐2739 LALAKEA ST
PAHOA, HI 96778                                       P‐0013714 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, GARY L.
EVANS, DARLENE J.
14844 DANBROOK DR
WHITTIER, CA 90604                                    P‐0013715 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIGHTCAP, ANNETTE F.
15203 W 165TH ST
OLATHE, KS 66062                                      P‐0013716 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIVOVAROV, ALEXANDER
77 ROCK HARBOR LN
FOSTER CITY, CA 94404                                 P‐0013717 11/2/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
SHERMAN, ANNIE T.
74‐4910 HAO KUNI PLACE, LOT 5
KAILUA KONA, HI 96740                                 P‐0013718 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REEVES, BRANDON
4775 ARGONNE ST
A201
DENVER, CO 80249                                      P‐0013719 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, WILLIAM N.
2850 MIDDLEFIELD ROAD
UNIT E217
PALO ALTO, CA 94306                                   P‐0013720 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLAVOV, DIANA S.
7610 ROCKHAMPTON AVE
LAS VEGAS, NV 89113                                   P‐0013721 11/2/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
WILLIAMS, RESHUNDA N.
5600 E. RUSSELL ROAD UNIT 526
LAS VEGAS, NV 89122                                   P‐0013722 11/2/2017      TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
ACHOR, JONATHON P.
2925 SOUTH 200 EAST
LEBANON, IN 46052                                     P‐0013723 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARLOW, DEBBIE Z.
727 MAIN ST
B4
OSTERVILLE, MA 02655                                  P‐0013724 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VICK, CHERYL A.
734 DEPERE ST
MENASHA, WI 54952                                     P‐0013725 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PULS, SARAH K.
P.O. BOX 214
JUNCTION CITY, OR 97448                               P‐0013726 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORDES, ALLEN D.
CORDES, TRACY R.
208 EAST THOMAS STREET
AVOCA, IA 51521                                       P‐0013727 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GREEN, LISA F.
115 HEATHERLYNN CIRCLE
CLINTON, MS 39056                                   P‐0013728 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, CALVIN
2422 CHOCTAW TRACE
MURFREESBORO, TN 37129                              P‐0013729 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASCON, MICHELLE O.
137 W JAHNS PLACE
CASA GRANDE, AZ 85122                               P‐0013730 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUTHRIE, DONALD
GUTHRIE, SUSIE
1700 CORNELL AVE
NORFOLK, VA 23518                                   P‐0013731 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURATOLO, MELCHIORE
1010 AUTUMN DR
ENDWELL,N.Y 1376                                    P‐0013732 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, CALVIN
2422 CHOCTAW TRACE
MURFREESBORO, TN 37129                              P‐0013733 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEWELL 3, JOHN E.
DRIVE TIME
918 FOWLER ST
OLD HICKORY, TN 37138                               P‐0013734 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KABULSKI, ADAM J.
9 COLONY OAKS DR
PITTSBURGH, PA 15209                                P‐0013735 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAO, HSIEN‐KANG M.
185 ESTANCIA DR. #422
SAN JOSE, CA 95134                                  P‐0013736 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAWLINSON, RUSSELL G.
2431 ROLAND RD
SACRAMENTO, CA 95821                                P‐0013737 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUSI, SHELBY
2051 STONEWOOD CT
SAN PEDRO, CA 90732                                 P‐0013738 11/2/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
WOOLEY, CHARLES H.
1051 LONGWOOD DR
MADISON, GA 30650                                   P‐0013739 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEMP, MICHAEL J.
5533 CATALPA COURT
LOOMIS, CA 95650Q                                   P‐0013740 11/2/2017      TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
DOAN, LIEU T.
LIEU DOAN
3761 MIRAMAR WAY #11
SANTA CLARA, CA 95051                               P‐0013741 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARROLL, JOHN P.
CARROLL, DIANE L.
N5820 1110TH ST
PRESCOTT, WI 54021                                  P‐0013742 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, IRIS J.
1119 RUMBOLD ST.
GARDENA, CA 90248                                   P‐0013743 11/2/2017      TK Holdings Inc., et al .                     $600.00                                                                                       $600.00
DAVIS, JORDAN D.
299 SCOTTSBOROUGH CIRCLE
BOWLING GREEN, KY 42103                             P‐0013744 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LIM, RANDALL J.
MIYAMOTO LIM, KAREN K.
8719 BURGHARDT ROAD
SAN GABRIEL, CA 91775                                P‐0013745 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, DELTRA
7404 BRENTLAWN DR
CORDOVA, TN 38018                                    P‐0013746 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUFFERNBRUCH, THOMAS
1433 W HUTCHINSON STREET
CHICAGO, IL 60613                                    P‐0013747 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PODOLSKY, ANN
4438 RAMSGATE LN
BLOOMFIELD HILLS, MI 48302                           P‐0013748 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEIDER, RAVINA E.
4188 GREENWOOD AVE. #18
OAKLAND, CA 94602                                    P‐0013749 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAYLOR, DANIEL
KAYLOR, DANIEL
16133 HILLVALE AVE
MONTE SERENO, CA 95030                               P‐0013750 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANTON, RAUBYN L.
802 NOES CHAPEL ROAD
MORRISTOWN, TN 37814                                 P‐0013751 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALAN, MATTHEW W.
141 ANDREWS BR
NORTH AUGUSTA, SC 29860                              P‐0013752 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIALS, QUENTIN
4304 TEAL DR.
LAWRENCE, KS 66047                                   P‐0013753 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAWLINSON, RUSSELL G.
2431 ROLAND RD
SACRAMENTO, CA 95821                                 P‐0013754 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENKINS, MARYANN
82 EDINBURGH RD
BLACKWOOD, NJ 08012                                  P‐0013755 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALLADOLID, JOSE M.
7013 EL PROVO CIR
APT A
BUENA PARK, CA 90620                                 P‐0013756 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VASQUEZ, KRISTA A.
1001 CAMINO REAL # 17
REDONDO BEACH, CA 90277                              P‐0013757 11/2/2017      TK Holdings Inc., et al .                    $3,700.00                                                                                    $3,700.00
ALCANTAR, MAURICIO
10163 POMBAL CT
ELK GROVE, CA 95757                                  P‐0013758 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADBY, TONYA P.
6920 COURTHOUSE ROAD
PROVIDENCE FORGE, VA 23140                           P‐0013759 11/2/2017      TK Holdings Inc., et al .                   $18,795.00                                                                                   $18,795.00
PAYNE, RICHARD A.
9209 MOTT CT
ORANGEVALE, CA 95662                                 P‐0013760 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HINTON, CARL H.
3315 TALLY HO LN
MADISON, WI 53705                                    P‐0013761 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FANNING, WILLIAM
FANNING, DEBORAH R.
22061 COYOTE RIDGE ROAD
CASSVILLE, MO 65625                                  P‐0013762 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAW, SHANNON L.
LAW, DANIEL W.
5883 LIBERTY WAY
NINE MILE FALLS, WA 99026                            P‐0013763 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, III, HOUSTON H.
1319 LITTON ROAD
SHAW, MS 38773                                       P‐0013764 11/2/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MESSER, JAMES H.
MESSER, SHIRLEY
3180 E 200 S
KNOX, IN 46534                                       P‐0013765 11/2/2017      TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
SALDANA, MICHELLE M.
6163 BIRCHCREST LANE
COMMERCE TWP., MI 48382                              P‐0013766 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSH, NANCY T.
821 N HUMBOLDT STREET, #209
SAN MATEO, CA 94401                                  P‐0013767 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIEN, DAVID H.
21126 SILVER CLOUD DR.
DIAMOND BAR, CA 91765                                P‐0013768 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRONG, KEVIN P.
3079 HAWKS RIDGE LN
MARION, IA 52302                                     P‐0013769 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FANUCCHI, RONALD
FANUCCHI, RONALD D.
4120 HUCKLEBERRY DRIVE
CONCORD, CA 94521‐4814                               P‐0013770 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELL, DENVER
161 STEELE AVE APT 116
PAINESVILLE, OH 44077                                P‐0013771 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRY, PETER A.
840 LOS MOLINOS WAY
SACRAMENTO, CA 95864                                 P‐0013772 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTI, COLTON L.
22535 HIGHWAY M
CURRYVILLE, MO 63339                                 P‐0013773 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSS, COLBJOERN
4023 KENNETT PIKE #50166
WILMINGTON, DE 19807                                 P‐0013774 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLEGOS, MARIBEL
1845 W CEDAR ST
OLATHE, KS 66061                                     P‐0013775 11/2/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
SARVOTHAMAN, GURUPRASAD
185 ESTANCIA DRIVE UNIT 304
SAN JOSE, CA 95134                                   P‐0013776 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORENGO VAZQUEZ, JOSHUA
620 GRAND AVE.
SACRAMENTO, CA 95838                                 P‐0013777 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANG, KRYSTLE
802 N. CATALINA STREET
BURBANK, CA 91505                                    P‐0013778 11/2/2017      TK Holdings Inc., et al .                   $24,720.08                                                                                   $24,720.08


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MARTIN, KATHY L.
11321 ARROYO DR.
WHITTIER, CA 90604                                   P‐0013779 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAHN, ROBIN
KAHN, LOUIS
4252 KAYLA LANE
NORTHBROOK, IL 60062                                 P‐0013780 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANTON, PATRICIA R.
BLANTON, KENNETH L.
2424 ALAN DUNCAN LANE
EL PASO, TX 79936                                    P‐0013781 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, MICHAEL A.
10507 SILK OAK DR
VIENNA, VA 22182                                     P‐0013782 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, ANTHONY
4546 QUEEN ANNE DRIVE
UNION CITY, CA 94587                                 P‐0013783 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACKMON, LATONYA L.
JOHNSON, SARAFINA M.
7230 WILLOW WIND COURT
SACRAMENTO, CA 95828                                 P‐0013784 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, HORACE Y.
2599 BLUE HERRON TRACE
MARRERO, LA 70072                                    P‐0013785 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, LATISIA
11772 BRAILE ST
DETROIT, MI 48228                                    P‐0013786 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, LATISIA
11772 BRAILE ST
DETROIT, MI 48228                                    P‐0013787 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOMBEK, CLAIRE K.
113 FIESTA CIRCLE
SAINT LOUIS, MO 63146                                P‐0013788 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUDD, KAREN P.
RUD, MELTON E.
1412 SWEET BRIAR AVE.
NORFOLK, VA 23509                                    P‐0013789 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCELROY, MICHAEL J.
MCELROY, JEANNETTE C.
9487 THUNDERBIRD PL
SAN RAMN, CA 94583                                   P‐0013790 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNEAR, COREY J.
1608 NW 51 TERRACE
MIAMI, FL 33142                                      P‐0013791 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, LATISIA
11772 BRAILE ST
DETROIT, MI 48228                                    P‐0013792 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AHSAN, SALEEM
870 HARRISON ST APT 305
SAN FRANCISCO, CA 94107                              P‐0013793 11/2/2017      TK Holdings Inc., et al .                   $10,450.89                                                                                   $10,450.89
HUBERMAN, KARA T.
1561 E 13TH ST APT F3
BROOKLYN, NY 11230                                   P‐0013794 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNEAR, AURIANNA
1608 NW 51 TERRACE
MIAMI, FL 33142                                      P‐0013795 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SCHWEITZER, SETH M.
GREENFELD, PEGGY B.
2 CLEVELAND AVE.
PENN VALLEY, PA 19072                                P‐0013796 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHU, DENGCHENG
164 TERACINA DR
SAN RAMON, CA 94582                                  P‐0013797 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, JACQUELENE N.
SMITH, JACQUELENE N.
18527 BRIDOON DR
CYPRESS, TX 77433                                    P‐0013798 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACCURSO, MICHELLE L.
104 N LONG STREET
APT B
LAFAYETTE, LA 70506                                  P‐0013799 11/2/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
FERGUSON, PAUL
1221 DEERFIELD ROAD
DEERFIELD, IL 60015                                  P‐0013800 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVILA, DAVID A.
3823 W. 190TH ST
TORRANCE, CA 90504                                   P‐0013801 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRUSE, KOREY J.
10406 W YOSEMITE DR
WICHITA, KS 67215                                    P‐0013802 11/2/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
PEYSER, MITCHELL J.
4826 TABARD PLACE
ANNANDALE, VA 22003                                  P‐0013803 11/2/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MITCHELL, HATTIE L.
11342 DRUMSHEUGH LANE
UPPER MARLBORO, MD 20774                             P‐0013804 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAN, RUIDI
6216 TASAJILLO TRAIL
AUSTIN, TX 78739                                     P‐0013805 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNASINSKI, MARY K.
3275 S STONEGATE CIR APT 104
NEW BERLIN, WI 53151                                 P‐0013806 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY, JAMES
18001 ARDATH AVE
TORRANCE, CA 90504                                   P‐0013807 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REED, KEIDRIA
1665 SCARLET ASH AVENUE #335
SACRAMENTO, CA 95834                                 P‐0013808 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERFAN, ANITA C.
7200 PRINCETON PLACE
GILROY, CA 95020                                     P‐0013809 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, HATTIE L.
11342 DRUMSHEUGH LANE
UPPER MARLBORO, MD 20774                             P‐0013810 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAER, CHARLES E.
67 SHELLBARK DRIVE
SAN JOSE, CA 95136                                   P‐0013811 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOROSI‐ALLISON, LINDA
ALLISON, CLYDE
860 MONTEZUMA DR
PACIFICA, CA 94044                                   P‐0013812 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
DEXTER, MARIO A.
2507 NIHI STREET
HONOLULU, HI 96819                                  P‐0013813 11/3/2017      TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
LAO, JIN
409 SUNSET AVE
SAN GABRIEL, CA 91776                               P‐0013814 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAFOUROS, ANTHONY
5331 J STREET
SACRAMENTO, CA 95819                                P‐0013815 11/3/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
HATCHIE, WENDY A.
HATCHIE, ANDREW A.
936 KEANUHEA STREET
KULA, HI 96790                                      P‐0013816 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAFOUROS, KARA K.
KAFOUROS, KARA K.
3547 DELTA QUEEN AVENUE
SACRAMENTO, CA 95833                                P‐0013817 11/3/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
BRANDENBURG, JEFFREY K.
1467 TULLAR RD APT 7
NEENAH, WI 54956                                    P‐0013818 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANNAH, STEVEN N.
HANNAH, ARMANDO C.
3539 SARASOTA AVE.
MERCED, CA 95348                                    P‐0013819 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH PARKER, LAQUITA
PARKER, JEFFREY
116 MAGNOLIA CIRCLE
BATESVILLE, MS 38606                                P‐0013820 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVELAR, BRIAN E.
407 IVORY CIR
AURORA, CO 80011                                    P‐0013821 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, ROBERT A.
990 N TOWNE AVE
POMONA, CA 91767                                    P‐0013822 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIVUKULA, RAVI
232 HOLLYWOOD DRIVE
COPPELL, TX 75019                                   P‐0013823 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTI, TIMOTHY L.
22535 HIGHWAY M
CURRYVILLE, MO 63339                                P‐0013824 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUERRERO, MARIA J.
28574 WARD STREET
MADERA, CA 93638                                    P‐0013825 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIVUKULA, RAVI
CHIVUKULA, RAVI
232 HOLLYWOOD DRIVE
COPPELL, TX 75019                                   P‐0013826 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELFAST, JESSE A.
3532 CAMPUS ST.
PITTSBURGH, PA 15212                                P‐0013827 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLASER, ANDREW
325 ILIWAHI LOOP
KAILUA, HI 96734                                    P‐0013828 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
JONES, FATIMAH F.
FARAHKHAN, JA'NYAH T.
133 55TH STREET
FAIRFIELD, AL 35064                                 P‐0013829 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANLAS, CHANTILLY S.
221 W NEW YORK AVE. APT. 1
LAS VEGAS, NV 89102                                 P‐0013830 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOLEY, WILLIAM P.
1663 GREENWOOD ROAD
PLEASANTON, CA 94566                                P‐0013831 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAVADIN, DIANE C.
806 LAVOIE AVE
ELGIN, IL 60120                                     P‐0013832 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FONG, DOUGLAS J.
2080 LOUIS ROAD
PALO ALTO, CA 94303                                 P‐0013833 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALONEY, DAVID J.
801 DEVENNEY DRIVE
BELLMAWR, NJ 08031 1742                             P‐0013834 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICKEL, STEPHEN G.
2235 SOUTH ST
ANDERSON, CA 96007                                  P‐0013835 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANTUNA, JIMMY
P.O. BOX 161
ORANGE COVE, CA 93646                               P‐0013836 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETRILLO, ANGELO
PETRILLO, HEATHER
809 E ROSEWOOD CT
ONTARIO, CA 91764                                   P‐0013837 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANTUNA, JIMMY
P.O. BOX 161
ORANGE COVE, CA 93646                               P‐0013838 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEKOYAN, JAMES E.
7535 N SPY GLASS AVE
FRESNO, CA 93711‐0252                               P‐0013839 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, THOMAS
4101 40TH ST SE
SUITE 3
KENTWOOD, MI 49512                                  P‐0013840 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BABB, CHRISTOPHER C.
BABB, TRACY L.
8501 CANDELARIA DR
AUSTIN, TX 78737                                    P‐0013841 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCTIGHE, MATTHEW K.
231 S MYERS ST
BURBANK, CA 91506                                   P‐0013842 11/3/2017      TK Holdings Inc., et al .                   $24,824.00                                                                                   $24,824.00
BLANCO, MARIA T.
2368 EUCALYPTUS AVE
APT 5
LONG BEACH, CA 90806                                P‐0013843 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALLESHAKUMAR, PALAKSHAPPA
2645 SONOMA PL
SANTA CLARA, CA 95051                               P‐0013844 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BABB, TRACY L.
BABB, CHRISTOPHER C.
8501 CANDELARIA DR
AUSTIN, TX 78737                                      P‐0013845 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, THOMAS
8025 RODAO DR
CALEDONIA, MI 49316                                   P‐0013846 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENS, ALICE L.
2687 E FICUS WAY
GILBERT, AZ 85298                                     P‐0013847 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VIRGILI, JULIE A.
77 S. OGDEN STREET
APT. 309
DENVER, CO 80209                                      P‐0013848 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, WILLIAM J.
955 PORT PROVIDENCE ROAD
PHOENIXVILLE, PA 19460                                P‐0013849 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, CHRISTOPHER V.
NO ADDRESS PROVIDED
                                                      P‐0013850 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFMANN, ARIE A.
4448 LAURELGROVE AVE
STUDIO CITY, CA 91604                                 P‐0013851 11/3/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HOFFMANN, FREDA
4448 LAURELGROVE AVE
STUDIO CITY, CA 91604                                 P‐0013852 11/3/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
SAVALL, CHARLES R.
313A ENSIGN DRIVE
DILLON, CO 80435                                      P‐0013853 11/3/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
JONES, FATIMAH F.
F., J. T.
133 55TH STREET
FAIRFIELD, AL 35064                                   P‐0013854 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRITTON, JONELLA K.
627 CULLEN BLVD
BUDA, TX 78610                                        P‐0013855 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFMANN, FREDA
4448 LAURELGROVE AVE
STUDIO CITY, CA 91604                                 P‐0013856 11/3/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HSU, HUI HSIANG
1315 KALAKAUA AVE. APT #802
HONOLULU, HI 96826‐1943                               P‐0013857 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUZ, PABLO D.
6945 OAKDALE AVE
WINNETKA, CA 91306                                    P‐0013858 11/3/2017      TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
BRITTON, MICHAEL K.
627 CULLEN BLVD
BUDA, TX 78610                                        P‐0013859 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLASER, ANDREW
325 ILIWAHI LOOP
KAILUA, HI 96734                                      P‐0013860 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANYA, MOJISOLA
407 NALLEY RD.,
HYATTSVILLE, MD 20785                                 P‐0013861 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
GOETHE, GARY E.
P.O. BOX 5696
SACRAMENTO, CA 95817                                  P‐0013862 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANG, JI HOON
1071 TEKMAN DR.
SAN JOSE, CA 95122‐4211                               P‐0013863 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALAMA, LAWSON K.
KALAMA, SYLVIA L.
94‐804 KAAHOLO ST
WAIPAHU, HI 96797                                     P‐0013864 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, DONALD R.
NO ADDRESS PROVIDED
                                                      P‐0013865 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLIVAN, JAMES G.
GILLIVAN, JUDY M.
3126 HACKNEY LN
WALNUT CREEK, CA 94598‐4655                           P‐0013866 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHANNAHAN, MICHAEL S.
1370 SHERMAN AVE
MENLO PARK, CA 94025                                  P‐0013867 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHLIES, GARY G.
717 KICKAPOO PL
DEPERE, WI 54115                                      P‐0013868 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUU, DIANA
1080 ST FRANCIS BLVD
#1008
DALY CITY, CA 94015                                   P‐0013869 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUU, DIANA
1080 ST FRANCIS BLVD
#1008
DALY CITY, CA 94015                                   P‐0013870 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENNINGS, PHILIP S.
364 HEMLOCK COURT
WINDER, GA 30680                                      P‐0013871 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGES, KENNETH J.
63 MARKET ST
AMESBURY, MA 01913                                    P‐0013872 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HASLER, B LANE
5450 FAIRMONT ROAD
LIBERTYVILLE, IL 60048                                P‐0013873 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HASLER, B LANE
5450 FAIRMONT ROAD
LIBERTYVILLE, IL 60048                                P‐0013874 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHUBB, LAWRENCE E.
LAWRENCE CHUBB
5490 EASTCHESTER WAY
GLADWIN, MI 48624                                     P‐0013875 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GULLEY, JACQUEL L.
GRIFFIN, RICHARD
2687 E55TH WAY APT#1
LONG BEACH, CA 90805                                  P‐0013876 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICH, DAVID N.
941 W GORDON TERRACE GE
CHICAGO, IL 60613                                     P‐0013877 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BARNES JR, ARTHUR B.
43 PINE TREE DR
HANOVER, MA 02339                                     P‐0013878 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOOREMAN, DAVID L.
53 GROVE ST.
MIDLAND PARK, NJ 07432                                P‐0013879 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LENTZ, CHERYL
540 ARLINGTON LANE
GRAYSLAKE, IL 60030                                   P‐0013880 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GANDHI, ANISHKUMAR
410 ARLINGTON AVE
SOUTH PLAINFIELD, NJ 07080                            P‐0013881 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAB, ROBERT A.
11714 W 176TH TER
OVERLAND PARK, KS 66221                               P‐0013882 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANT JR, QUINTON
2831 PETERSBURG COURT
DECATUR, GA 30034                                     P‐0013883 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIESIELSKI, PIOTR
5010 N AUSTIN AVE.
APT. 402
CHICAGO, IL 60630                                     P‐0013884 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHENS, GREGORY S.
268 BARRETT STREET
MANCHESTER, NH 03104                                  P‐0013885 11/3/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
NAB, ROBERT A.
11714 W 176TH TER
OVERLAND PARK, KS 66221                               P‐0013886 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAB, ROBERT A.
11714 W 176TH TERRACE
OVERLAND PARK, KS 66221                               P‐0013887 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IBRAHIM, MINA
56 BLUEBELL LN
NORTH BABYLON, NY 11703                               P‐0013888 11/3/2017      TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
PICQUET, QUIANNA
PICQUET, QUIANNA S.
2213 KENDALLL SPRINGS CT APT 201
BRANDON, FL 33510                                     P‐0013889 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADRECKI, JANICE M.
P.O. BOX 1061
NORTHBROOK, IL 60065‐1061                             P‐0013890 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALLEY OAK CABINETS INC
7050 N 97TH CIRCLE
OMAHA, NE 68122                                       P‐0013891 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOVACS, LEEANN M.
31 N. MCCORD RD
TOLEDO, OH 43615                                      P‐0013892 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIPPER, RICKY T.
RIPPER, CHERYL G.
120 PARKVIEW DRIVE
NORTH LITLE ROCK, AR 72118                            P‐0013893 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, SYLVIA
SMITH, BOBBY
606 WOOD ST
LUMBERTON, MS 39455                                   P‐0013894 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SOMMA, LILLIAN O.
SOMMA, LOUIS A.
9 WAMPUM DRIVE
SARATOGA SPRINGS, NY 12866                          P‐0013895 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEFFERIS, LINDA S.
152 MCBRIDE ACRES
NEW CASTLE, PA 16102                                P‐0013896 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'NEILL, BESTEY L.
3229 HERO DRIVE
GRETNA, LA 70053                                    P‐0013897 11/3/2017      TK Holdings Inc., et al .                     $800.00                                                                                       $800.00
EDWARDS, JOMEKA A.
5503 EARL CHADICK ROAD
SHERRILL, AR 72152                                  P‐0013898 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOCASCIO, PAUL A.
19 FLORA PLACE
STAMFORD, CT 06903                                  P‐0013899 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOOSE, JULIE R.
P.O. BOX 1736
BETTENDORF, IA 52722                                P‐0013900 11/3/2017      TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
BINDON, BRUCE W.
17536 S SHAFFER DRIVE
NEW FREEDOM, PA 17349                               P‐0013901 11/3/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
ARCHULETA, RYAN S.
45 SOUTH WASHINGTON ST #111
DENVER, CO 80209                                    P‐0013902 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIDSON, RICHARD A.
844 NW 233 DRIVE
NEWBERRY, FL 32669                                  P‐0013903 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KASCHAK, PATRICIA
36 ERIK DR.
FORDS, NJ 08863                                     P‐0013904 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANEK, DEBRA J.
1386 GRECO LANE
SCHAUMBURG, IL 60193                                P‐0013905 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL JR, WILLIAM H.
2993 W EUCLID
DETROIT, MI 48206                                   P‐0013906 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, TREVIS S.
7605 S SILVERTON ST
JACKSON, SC 29831                                   P‐0013907 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREWER, RICKY
547 PINNACLE DR
CEDAR HILL, TX 75104                                P‐0013908 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZELDES, MICHAEL D.
7933 OLD ELM CT
ADA, MI 49301                                       P‐0013909 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARBORA, CHRYSTA
4221 IVY LANE
KITTY HAWK, NC 27949                                P‐0013910 11/3/2017      TK Holdings Inc., et al .                     $197.93                                                                                       $197.93
ARCHULETA, RYAN S.
45 SOUTH WASHINGTON ST #111
DENVER, CO 80209                                    P‐0013911 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MESI, JOSEPH D.
12 AMY DRIVE
SAYVILLE, NY 11782                                  P‐0013912 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
KEMETHER, NOREEN
ADAMS, MEGAN
28 SHARA LANE
PENNINGTON, NJ 08534                                P‐0013913 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIPPER, RICKY T.
RIPPER, CHERYL G.
120 PARKVIEW DRIVE
NORTH LITTLE ROC, AR 72118                          P‐0013914 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOURDOUREKAS, KONSTANTINO D.
642 86TH ST.
DOWNERS GROVE, IL 60516                             P‐0013915 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRIENTES, MARY E.
7669 74TH ST SOUTH
COTTAGE GROVE, MN 55016                             P‐0013916 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASHFORD, HAROLD D.
404 WE 23RD TERRACE
CAPE CORAL, FL 33909                                P‐0013917 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEINRICH, PAUL M.
HEINRICH, CHERYL C.
7655 QUIDA DRIVE
WEST PALM BEACH, FL 33411                           P‐0013918 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KETCHERSIDE, MICHELLE L.
1404 19TH STREET
#1
WOODWARD, OK 73801                                  P‐0013919 10/24/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANTI, ANJANA
9033 MAPLE GROVE DR
SUMMERVILLE, SC 29485                               P‐0013920 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARR, KAREN A.
1970 FOXWOOD DRIVE
EUREKA, CA 95503                                    P‐0013921 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURGHER, CHRYSTALL M.
BURGHER IV, WILLIAM W.
3682 SANFORD DRIVE
BRUNSWICK, OH 44212                                 P‐0013922 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORGAN, SHAUN N.
120 OLIVE AVE
POMPTON LAKES, NJ 07442                             P‐0013923 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, THOMAS G.
170 JAMES PLACE
PITTSBURGH, PA 15228                                P‐0013924 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOUT, THOMAS D.
4611 S. FULLER AVE.
INDEPENDENCE, MO 64055                              P‐0013925 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LO, ALEX C.
2029 NUUANU AVE., APT 709
HONOLULU, HI 96817                                  P‐0013926 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABADIE, JASON M.
212 COLVILL ST. W
CANNON FALLS, MN 55009                              P‐0013927 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGUIRE, LINDA J.
845 BOXWOOD GREEN DR
WIRTZ, VA 24184                                     P‐0013928 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BARR, JENNIFER L.
BARR, KENNETH E.
135 ARBOR SPRINGS DR
IRMO, SC 29063                                        P‐0013929 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADDEN, KATRINA M.
MADDEN, STEVE M.
5645 S FOREST PARK DR
HALES CORNERS, WI 53130                               P‐0013930 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAILO, MARY N.
TOYOTA
101 AMESBURY
PLAINS
, PA 18705                                            P‐0013931 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLENN, RICKY T.
390 VIC KEITH RD
SANFORD, NC 27332                                     P‐0013932 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEARSTYNE, NICOLE M.
357 ELM STREET
PITTSFIELD, MA 01201                                  P‐0013933 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARR, JENNIFER L.
BARR, KENNETH E.
135 ARBOR SPRINGS DR.
IRMO, SC 29063                                        P‐0013934 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWELL, JOHN N.
108 NORTHWYKE
JACKSON, TN 38305                                     P‐0013935 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNGAR, LAWRENCE B.
11 BEVERLY PLACE
LARCHMONT, NY 10538                                   P‐0013936 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEDRAZA, OSCAR
PEDRAZA, MARY
8206 FOREST GATE DRIVE
SUGAR LAND, TX 77479                                  P‐0013937 11/3/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
STEPHAN‐CORIO, LAURA J.
23 EDGEHILL ROAD
BLAIRSTOWN, NJ 07825                                  P‐0013938 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUZ, JOHN A.
2575 SW 108TH AVE
MIAMI, FL                                             P‐0013939 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOUT, THOMAS D.
4611 S. FULLER AVE.
INDEPENDENCE, MO 64055                                P‐0013940 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAWSON, TRINA
CLAWSON, BRIAN
758 N 400 W
WEST LAFAYETTE, IN 47906                              P‐0013941 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWELL, JOHN N.
POWELL, LISA W.
108 NORTHWYKE
JACKSON, TN 38305                                     P‐0013942 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLENDA, GREGORY B.
276 S. PERSHING ST.
WICHITA, KS 67218                                     P‐0013943 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CADY, EDWARD G.
195 BENNETT HILL ROAD
FEURA BUSH, NEW YORK, 12067
                                                     P‐0013944 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PURSLEY, JESSE C.
PURSLEY, CATHERENE
9700 WOODYARD ROAD
GREENWOOD, DE 19950                                  P‐0013945 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDY, CHRIS A.
2746 LOWER GRANDIN ROAD
CINCINNATI, OH 45208                                 P‐0013946 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNGAR, LAWRENCE B.
11 BEVERLY PLACE
LARCHMONT, NY 10538                                  P‐0013947 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTSON, JAMES M.
ROBERTSON, DEBRA A.
336 HEDGEROW DRIVE
VENETIA, PA 15367                                    P‐0013948 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RINALDI, FRANCIS M.
141 CONSTITUTION ST
WALLINGFORD, CT 06492                                P‐0013949 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUGNISHEV, ALEX
8639 BAY 16TH ST
BROOKLYN, NY 11214                                   P‐0013950 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEETS, ROBIN L.
878 CHARNWOOD LANE
WORTHINGTON, OH 43085                                P‐0013951 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIELANOWICZ, EDWARD M.
KIELANOWICZ, ANN Y.
9955 OXFORD CT
MOKENA, IL 60448                                     P‐0013952 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENTRY, STEPHANI B.
1032 LONG ROAD
GLOSTER, LA 71030                                    P‐0013953 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTHELMAN, MARY G.
65 MACKWORTH STREET
PORTLAND, ME 04103                                   P‐0013954 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, THOMAS P.
40 OCEAN PATHWAY
APT F
OCEAN GROVE, NJ 07756                                P‐0013955 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILUCCIO, ROBERT C.
5677 OLYMPIA FIELDS PL
HAYMARKET, VA 20169                                  P‐0013956 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMSON, OLEN R.
7525 MALONE RD
OLIVE BRANCH, MS 38654                               P‐0013957 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINLAN, JANE M.
12 DOWERS WAY
DELMAR, NY 12054‐6708                                P‐0013958 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, LINDA J.
103 SUMMIT LOOP APT. E 1
CARBONDALE, CO 81623                                 P‐0013959 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALERIO, FRANK
1510 TANGLEWOOD DR EAST
HIDEAWAY, TX 75771                                   P‐0013960 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HATHORN, TIFFANY M.
NO ADDRESS PROVIDED
                                                     P‐0013961 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREY, HEATH A.
1536 KENILWORTH AVE SE
WARREN, OH 44484                                     P‐0013962 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOUNGE, JEFFREY
68 CAPISIC STREET
PORTLAND, ME 04102                                   P‐0013963 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRETT, CLARK N.
5714 US RT. 127
CAMDEN, OH 45311                                     P‐0013964 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANE, KIMBERLY R.
748 E CHARLEVOIX AVE
GILBERT, AZ 85297                                    P‐0013965 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MROZIK, MARK
1005 ALBATROSS WAY
GALLATIN, TN 37066                                   P‐0013966 11/3/2017      TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
MCCONNELL, JENNIFER
MCCONNELL, TIMOTHY B.
2605 CORTLANDT CT
NOLENSVILLE, TN 37135                                P‐0013967 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MROZIK, MARK
1005 ALBATROSS WAY
GALLATIN, TN 37066                                   P‐0013968 11/3/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
BALLARD, RICK R.
BALLARD, KELLY S.
5191 CORNERS DRIVE
DUNWOODY, GA 30338                                   P‐0013969 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAHN, APRIL R.
251 MORGAN ST
PHOENIXVILLE, PA 19460                               P‐0013970 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANE, KEVIN J.
748 E CHARLEVOIX AVE
GILBERT, AZ 85297                                    P‐0013971 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MROZIK, MARK
1005 ALBATROSS WAY
GALLATIN, TN 37066                                   P‐0013972 11/3/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
MCMAHON, KENNETH A.
237 HARRISON AVE
WARWICK, RI 02888                                    P‐0013973 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROUSSELLE, HEIDI
111 FIELD STREET
BELLE CHASSE, LA 70037                               P‐0013974 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALLARD, RICK R.
BALLARD, KELLY S.
5191 CORNERS DRIVE
DUNWOODY, GA 30338                                   P‐0013975 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DARIUS, JAMIE M.
52 MEADOW RIDGE LOOP
MAUMELLE, AR 72113                                   P‐0013976 11/3/2017      TK Holdings Inc., et al .                    $3,246.79                                                                                    $3,246.79
SCHMALSTIG, ANDREW P.
5251 LOGAN AVE
RIVERSIDE, OH 45431                                  P‐0013977 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
FRIES, DAVID M.
PAMELA
399 SKYVIEW MOUNTAIN ROAD
MOATSVILLE, WV 26405                                  P‐0013978 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KATZ, JUSTIN
11904 GREY HOLLOW COURT
ROCKVILLE, MD 20852                                   P‐0013979 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARR, MATTHEW W.
21142 CATNIP WAY
LEONARDTOWN, MD 20650                                 P‐0013980 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, JAMISON
4309 BETHEL ROAD
UPPER CHICHESTER, PA 19061                            P‐0013981 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LERNER, LAWRENCE
LERNER, RONNIE K.
15229 BIRCH STREET
LEAWOOD, KS 66224                                     P‐0013982 11/3/2017      TK Holdings Inc., et al .                     $700.00                                                                                       $700.00
MILLER, WILLIAM A.
NO ADDRESS PROVIDED
                                                      P‐0013983 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRISON, SARA E.
P.O. BOX 16899
CHATTANOOGA, TN 37416                                 P‐0013984 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAPEHART, PHILLIP
4701 PINEHURST AVE
NORFOLK, VA 23513                                     P‐0013985 11/3/2017      TK Holdings Inc., et al .                    $4,500.00                                                                                    $4,500.00
LANDERS, WINFRED J.
2216 WEST STRET
CONWAY, AR 72032                                      P‐0013986 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEIMERT, MARY T.
116 GELNAW LN
MONTVALE, NJ 07645                                    P‐0013987 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, YVETTE M.
4309 BETHEL ROAD
UPPER CHICHESTER, PA 19061                            P‐0013988 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLUNK, PAULA J.
PLUNK, TIMOTHY A.
608 SARDIE HENRY RD
BETHEL SPRINGS, TN 38315                              P‐0013989 11/3/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
DIXON, JOHN R.
2117 CHESTNUT FOREST DR.
TAMPA, FL 33618                                       P‐0013990 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GETHERS, TARITA M.
108 FAWNDALE ROAD
APT 2
ROSLINDALE, MA 02131                                  P‐0013991 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASEY, RICHARD G.
2028 W CANNON CV
CORDOVA, TN 38016                                     P‐0013992 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SYKES, REGINA J.
538 CRIGLER RD
CRAWFORD, MS 39743                                    P‐0013993 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, ALFREDO
4309 BETHEL ROAD
UPPER CHICHESTER, PA 19061                            P‐0013994 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DIXON, JOHN R.
2117 CHESTNUT FOREST DR.
TAMPA, FL 33618                                      P‐0013995 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANNELL, SHEREE L.
211 BAYARD ROAD
RICHMOND, VA 23223                                   P‐0013996 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROZEBOOM, SHEILA M.
2305 S OXFORD AVE
SIOUX FALLS, SD 57106                                P‐0013997 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAFALAS, DENNIS J.
P.O. BOX 777
GLENDALE, RI 02826                                   P‐0013998 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISHOP, GLYNDA G.
1213 OLD PEARL RD
FLORENCE, MS 39073                                   P‐0013999 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAVARRE, JAMEELAH A.
5024 N WHEELING AVE
KANSAS CITY, MO 64119                                P‐0014000 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FONDREN, BRENDA K.
8320 S. CARPENTER
CHICAGO, IL 60620                                    P‐0014001 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANDARD CRANE & HOIST LLC
14694 AIRLINE HWY
DESTREHAN, LA 70047                                  P‐0014002 11/3/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
CASSI, ADAM W.
9509 BISHOPSWOOD LN
PERRYSBURG, OH 43551                                 P‐0014003 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAPEHART, LISA
4701 PINEHURST AVE
NORFOLK, VA 23513                                    P‐0014004 11/3/2017      TK Holdings Inc., et al .                    $4,500.00                                                                                    $4,500.00
HATFIELD, TRENT
1432 E 12TH ST
BAXTER SPRINGS, KS 66713                             P‐0014005 11/3/2017      TK Holdings Inc., et al .                   $21,837.00                                                                                   $21,837.00
STOUT, THOMAS D.
4611 S. FULLER AVE.
INDEPENDENCE, MO 64055                               P‐0014006 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, CHARLES E.
736 S KIERAN DR
GREENSBURG, IN 47240                                 P‐0014007 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEARD, CHRISTOPHER H.
1734 SEWELL MILL RD
NEWNAN, GA 30263                                     P‐0014008 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHRADER, BRIAN F.
3335 FAIR OAKS DRIVE
KALAMAZOO, MI 49008                                  P‐0014009 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILES, VERONICA J.
36 DEXTER AVE APT 20
MONTGOMERY, AL 36104                                 P‐0014010 11/3/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
SHUTIKA, BRENNA G.
1253 SYLVAN CIRCLE
BELLEFONTE, PA 16823                                 P‐0014011 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLACE, JOHNSIE H.
7190 BLUE GROUSE LANE
MEMPHIS, TN 38125                                    P‐0014012 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
CZOPEK, PAUL E.
CZOPEK, JOANNE
124 KITTANNING ST
PITTSBURGH, PA                                        P‐0014013 11/3/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
CRUCE, DONNA D.
2687 SPENCERS TRACE NE
MARIETTA, GA 30062                                    P‐0014014 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUCAS, SYLVIA M.
P.O. BOX 907
SHADY SPRING, WV 25918                                P‐0014015 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLAIVAS, JAY
111 THE CIRCLE
PASSAIC, NJ 07055                                     P‐0014016 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DODDS, KIM M.
43329 HWY 89
OXFORD, NE 68967                                      P‐0014017 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICE, DORIS
574 ARBOR HOLLOW CIRCLE
APT 208
CORDOVA, TN 38018                                     P‐0014018 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANDLER, LARRY W.
4524 MORNING WIND PLACE
FORT WAYNE, IN 46804                                  P‐0014019 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILES, VERONICA J.
36 DEXTER AVE APT 20
MONTGOMERY, AL 36104                                  P‐0014020 11/3/2017      TK Holdings Inc., et al .                    $9,000.00                                                                                    $9,000.00
SPARKS, JUDITH L.
SPARKS, ROBERT E.
13568 Y ST
OMAHA, NE 68137                                       P‐0014021 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUANIPA, BLEIDER
7802 NW 197TH STREET
HIALEAH, FL 33015                                     P‐0014022 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARNESS, KIRBY L.
LEWALLEN, CYNTHIA T.
1408 GRANVIA ALTAMIRA
PALOS VERDES EST, CA 90274                            P‐0014023 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAYASGALAN, DELGERNYAM
2820 N. GREENVIEW AVE.
UNIT H
CHICAGO, IL 60657                                     P‐0014024 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTHEWS, JUDY
8312 COMMONWEALTH AVE
JACKSONVILLE, FL 32220                                P‐0014025 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, JEREMY J.
1129 EAST 11TH AVENUE
HUTCHINSON, KS 67501                                  P‐0014026 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TONEY, RAY
419 HICKORY RDG
COLUMBUS, MS 39705                                    P‐0014027 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACRI, DINA M.
ACRI, MICHAEL S.
901 SUNNY HILL LANE
HARRISBURG, PA 17111                                  P‐0014028 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
HAZZLERIGG, CARMEN V.
250 BRUIN STREET
PEARL, MS 39208                                        P‐0014029 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGER, MARCIA E.
517 CHERRY RD
SYRACUSE, NY 13219                                     P‐0014030 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENKINS, ZELLA D.
14020 VILLAGE MILL DR. #105
MAUGANSVILLE, MD 21767                                 P‐0014031 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUDDUTH, SUZANNE
22063 E 947 RD.
VIAN, OK 74962                                         P‐0014032 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HU, DI
407 EAST FLORIDA AVE
URBANA, IL 61801                                       P‐0014033 11/3/2017      TK Holdings Inc., et al .                     $700.00                                                                                       $700.00
HILL, RENEE A.
42736 LEWIS AVE
WINTHROP HARBOR, IL 60096                              P‐0014034 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TREBILCOCK, LAURA J.
1301 13TH ST N
TEXAS CITY, TX 77590                                   P‐0014035 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HADAWAY, KAREN D.
HADAWAY, RAY D.
17754 COUNTY RD 124
BEDIAS, TX 77831                                       P‐0014036 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILDEBRANT, HEATHER J.
7294 W OSWEGO AVE
FRESNO, CA 93723                                       P‐0014037 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIONG, JOSHUA
755 TALISMAN CT
PALO ALTO, CA 94303                                    P‐0014038 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STERLING, NORELL D.
2572 COUNTY ROAD 260
SHUBUTA, MS 39360                                      P‐0014039 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUYKENDALL, JAMES W.
KUYKENDALL, CAROL A.
6510 N. ADOLINE AVE.
FRESNO, CA 93711                                       P‐0014040 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUTHERS, ALLEN K.
8600 CLYDE RD
FENTON, MI 48430                                       P‐0014041 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMBLEE, TAMMY D.
811 WILD WILLOW ROAD,
GREENVILLE, MS 38701                                   P‐0014042 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAN, CHANGFENG
419 EWING ST
PRINCETON, NJ 08540                                    P‐0014043 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RILEY, KRISTIN
1231 XENIA COURT
JOPLIN, MO 64801                                       P‐0014044 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUNDERSON, MARK S.
GUNDERSON, JEAN M.
420 WEST FOURTH STREET
WINONA, MN 55987                                       P‐0014045 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MU, BO
3257 TERRA COTTA DR
SAN JOSE, CA 95135                                   P‐0014046 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINDSTROM, SHERI A.
LINDSTROM, TROY K.
1350 NORTH SNELLING AVENUE
SAINT PAUL, MN 55108                                 P‐0014047 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOCKI, MELISSA
6632 S. GOLDENROD RD. #114C
ORLANDO, FL 32822                                    P‐0014048 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, ERIC K.
5309 WALLBROOK DR
FAYETTEVILLE, NC 28306                               P‐0014049 11/3/2017      TK Holdings Inc., et al .                  $310,000.00                                                                                  $310,000.00
JOHNSTON, MARY A.
33 OBADIAH AVE.
WARWICK, RI 02889                                    P‐0014050 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOGAN, BRETT C.
HOGAN, ANNA
1320 COUNTRY CLUB DR
SIDNEY, NE 69162                                     P‐0014051 11/3/2017      TK Holdings Inc., et al .                       $82.62                                                                                       $82.62
EDELBROCK, CHRISTOPHER E.
EDELBROCK, JERI E.
6953 E> PINNACLE PASS PL
PRESCOTT VALLEY, AZ 86315                            P‐0014052 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEMAIRE, PAUL W.
18 PINE STREET
TAUNTON, MA 02780                                    P‐0014053 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAGIENSKI, PHILLIP
62 BELLS LAKE DR
TURNERSVILLE, NJ 08012                               P‐0014054 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYAN, TIMOTHY G.
24 WESTPOINTE DRIVE
EPHRATA, PA 17522                                    P‐0014055 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, ELIZABETH J.
4916 DORCHESTER ST.
NORTON SHORES, MI 49441‐5318                         P‐0014056 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROHLING, LEO K.
ROHLING, ANNA C.
15 AUGUSTIN LN.
LORETTO, TN 38469‐2838                               P‐0014057 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHREVE, JAMES T.
SHREVE, CHRISTINA L.
153 RAILROAD ST
SMITHFIELD, WV 26437                                 P‐0014058 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONCHEZ, GEORGE J.
908 WEST CERMAK
BRAIDWOOD, IL 60408                                  P‐0014059 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUNA, FRANK M.
LUNA, TAMIE
267 BRADY STREET
MARTINEZ, CA 94553                                   P‐0014060 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANGIAFICO, GIUSEPPE G.
8925 HIGHGATE LN
HOUSTON, TX 77080                                    P‐0014061 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HARTWELL, KEN
73 MATTHEW DRIVE
BRUNSWICK, ME 04011                                  P‐0014062 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEYTON, ROGER
NELSON, FAI
ROGER PEYTON
809 RACHEL CT.
LANDOVER, MD 20785                                   P‐0014063 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORSTNER, BARRY D.
4152 104TH. AVE
ALLEGAN, MI 49010                                    P‐0014064 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, RALPH M.
LEE, JENNIFER S.
17108 LABURNUM COURT
ROCKVILLE, MD 20855                                  P‐0014065 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARKER, SHAWN
2960 GATEWOOD LANE
CLARKSVILLE, TN 37043                                P‐0014066 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ST HILAIRE, SCOTT M.
2799 232ND LANE NW
ST FRANCIS, MN 55070                                 P‐0014067 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAIED, KOUSAY A.
6904 VALLY SPRING DR.
BLOOMFIELD HILLS, MI 48301                           P‐0014068 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDAN, CARIK S.
1030 COOPERS COVE RD.
HARDY, VA 24101                                      P‐0014069 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCEVERS, DAVID D.
9710 ASHTON RD.
AMARILLO, TX 79119                                   P‐0014070 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUSTIN, KAREN L.
1317 ONEIL STREET
HOUSTON, TX 77019                                    P‐0014071 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICKS, MIKE A.
DICKS, ACHSAH R.
5624 N PALMER AVE
KANSAS CITY, MO 64119                                P‐0014072 11/3/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
ST HILAIRE, SCOTT M.
2799 232ND LANE NW
ST FRANCIS, MN 55070                                 P‐0014073 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIDDENS, DAVID R.
GIDDENS, PEGGY D.
10100 HILLVIEW DR., APT 302
PENSACOLA, FL 32514                                  P‐0014074 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEGALL, SHUCRETIA
17149 PREST ST
DETROIT, MI 48235                                    P‐0014075 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITSEL, JOYCE K.
1229 W 62ND ST
FLOOR 2
KANSAS CITY, MO 64113                                P‐0014076 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSEN, JOHN M.
5150 STROHM AVE.
NORTH HOLLYWOOD, CA 91601                            P‐0014077 11/3/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ALTIZER, DAVID H.
ALTIZER, LORRAINE E.
4501 SKYVIEW LANE
FORT WAYNE, IN 46818                                P‐0014078 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOOD, MATTHEW A.
5078 S CHATSWORTH AVE
SPRINGFIELD, MO 65810                               P‐0014079 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVY, KENNETH M.
9245 KARLOV AVE
SKOKIE, IL 60076                                    P‐0014080 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITSEL III, F JOSEPH
1229 W 62ND ST.
FLOOR 2
KANSAS CITY, MO 64113                               P‐0014081 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMBURG, FREDDA
18 BROOK AVENUE
BINGHAMTON, NY 13901                                P‐0014082 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILD, RICHARD L.
11165 STATE HIGHWAY 185
POTOSI, MO 63664                                    P‐0014083 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTIER, MARK A.
FOSTIER, MALAYNE S.
4956 SOUTHFORK RANCH DRIVE
ORLANDO, FL 32812                                   P‐0014084 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEENBURG, DIANA M.
106 ALAMOSA AVENUE
ALAMOSA, CO 81101                                   P‐0014085 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCEVERS, DAVID D.
9710 ASKTON RD.
AMARILLO, TX 79119                                  P‐0014086 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REBEC, JERRY
4712 PEARSALL RD
EAST JORDAN, MI 49727                               P‐0014087 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BITONTE, DAVID A.
2295 LAKE CENTER ST NW
UNIONTOWN, OH 44685                                 P‐0014088 11/3/2017      TK Holdings Inc., et al .                   $40,000.00                                                                                   $40,000.00
HOWARD, CHRISTINE P.
HOWARD, PAUL B.
6733 W FOREST VIEW LANE
NILES, IL 60714‐4055                                P‐0014089 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALLON, MICHAEL J.
3603 NORMANDY RTD
HUTCHINSON, KS 67502‐2993                           P‐0014090 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANNER, FLORENCE
TANNER JR, WALTER W.
3220 HARMONY HILL ROAD
PLACERVILLE, CA 95667                               P‐0014091 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUENGEL, JON R.
297 UP AND DOWN DR
MACKS CREEK, MO 65786                               P‐0014092 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIER, SHAZZAN T.
16SW 9ST APT 202
FORT LAUDERDALE, FL 33315                           P‐0014093 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOELCKE, MATTHEW J.
258 FISK RD
BENTON HARBOR, MI 49022                             P‐0014094 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
RECUPIDO, DANIEL P.
RECUPIDO, DIANA L.
3980 CHARLEMAGNE DRIVE
HOFFMAN ESTATES, IL 60192                           P‐0014095 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, DONNA L.
2726 PRYTANIA ST. #4
NEW ORLEANS, LA 70130                               P‐0014096 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARDINASCARVALHO, DAIANE
4148 SW 130TH AVE
DAVIE, FL 33330                                     P‐0014097 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAIG, CHRISTOPHER
P.O. BOX 1145
LIVINGSTON, AL 35470                                P‐0014098 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOWNS, ANTHONY K.
16184 STRICKER
EASTPOINTE, MI 48021                                P‐0014099 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, KRISTINE J.
1064 MARSHALL AVE. APT. 4
SAINT PAUL, MN 55104‐6577                           P‐0014100 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY, KIMBERLY A.
19 FOUNTAINHEAD CIR
HENDERSON, NV 89052‐6421                            P‐0014101 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TALLEY, SHEILA R.
6071 CARDWELL
GARDEN CITY                                         P‐0014102 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRY, DAVID R.
PERRY, STACY PERRY G.
12895 PLUM
SOUTHGATE, MI 48195                                 P‐0014103 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMLINSON, JESSICA L.
511 E. OAKRIDGE
FERNDALE, MI 48220                                  P‐0014104 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAIG, EDWARD B.
710 SOUTH BRITTAIN STREET
SHELBYVILLE, TN 37160                               P‐0014105 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, ELAINE V.
RODRIGUEZ, RHIO
14533 SPRINGWATER STREET
HACIENDA HEIGHTS, CA 91745                          P‐0014106 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUHRMAN, TAMARA D.
1848 N NEWCASTLE AVE
CHICAGO, IL 60707                                   P‐0014107 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWLOR, RICHARD
8 PLEASANT RISE
BETHEL, CT 06801                                    P‐0014108 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADFORD, MICHELE G.
1130 SUMMERSET PLACE NORTH
SOUTHSIDE, AL 35907                                 P‐0014109 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIU, CATHY Y.
4097 S. EMMA CIRCLE
SALT LAKE CITY, UT 84124                            P‐0014110 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MESSER, CANDACE L.
23805 ARLINGTON AVE #18
TORRANCE, CA 90501                                  P‐0014111 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
DENNIS, GARY S.
148 S GLENGROVE AVE
GLENDORA, CA 91741                                 P‐0014112 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMBLIN, RICHARD T.
HAMBLIN, FRANCES D.
31006 STATE RT O
DREXEL, MISSOURI 64742                             P‐0014113 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, EVAN L.
7331 SHELBY PLACE
#46
RANCHO CUCAMONGA, CA 91739                         P‐0014114 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, JACQUELINE
1000 HACKNEY BRIEF
VIRGINIA BEACH, VA 23455                           P‐0014115 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HADDAD, ISSA T.
HADDAD, TALAT
2530 N 74TH AVE
#3
ELMWOOD PARK, IL 60707                             P‐0014116 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIDGEWAY, LAQUITHA
LAQUITHA R.
P.O. BOX 1145
LIVINGSTON, AL 35470                               P‐0014117 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOLAN, JOHN P.
8415 TERRY LEE WAY
SEVERN, MD 21144                                   P‐0014118 11/3/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
WHEATLEY, ROGER D.
WHEATLEY, LYNETTE J.
3101 E PORTER AVE
DES MOINES, IA 50320                               P‐0014119 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLAGHER, WALTER F.
6464 CHESTNUT HILL RD.
COOPERSBURG, PA 18036                              P‐0014120 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANG, JULIA
7446 MILLS GROVE CT
SACRAMENTO, CA 95828                               P‐0014121 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINE, DAVID H.
MINE, RACHEL C.
231 BERRINGER PLACE
PITTSBURGH, PA 15202                               P‐0014122 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, SAMANTHA M.
7331 SHELBY PLACE
#46
RANCHO CUCAMONGA, CA 91739                         P‐0014123 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALLAS, BILL
798 HIGHVIEW AVE
GLEN ELLYN, IL 60137                               P‐0014124 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HATCHER, ALAN G.
5389 HATCHER HILL RD
WALLACE, SC 29596                                  P‐0014125 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSSELL, RODERICK W.
115 BAY TREE LANE
HOUMA, LA 70360                                    P‐0014126 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NUMINEN, DONALD K.
400 MORNINGSIDE DRIVE
CHAPEL HILL, TN 37034‐3026                         P‐0014127 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
NICKERSON, RANDALL A.
161 GLENMONT RD
RIVER FALLS, WI 54022                                P‐0014128 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, JOANNA M.
34 PRIORSLEE LN
WILLIAMSBURG, VA 23185                               P‐0014129 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, JOHN R.
2117 CHESTNUT FOREST DR.
TAMPA, FL 33618                                      P‐0014130 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, KENEATHA
9643 S HAMLIN AVE
EVERGREEN PARK, IL 60805                             P‐0014131 11/3/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
BOUDREAUX, MICHAEL B.
430 CHIPPENHAM DR
BATON ROUGE, LA 70808                                P‐0014132 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOLAN, JOHN P.
8415 TERRY LEE WAY
SEVERN, MD 21144                                     P‐0014133 11/3/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
NICKERSON, RANDALL A.
161 GLENMONT RD
RIVER FALLS, WI 54022                                P‐0014134 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAPIER, FREDERICK
529 HIGH POINT AVENUE
VIRGINIA BEACH, VA 23451                             P‐0014135 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLAGHER, SUSAN P.
6464 CHESTNUT HILL RD.
COOPERSBURG, PA 18036                                P‐0014136 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACK, LINDSEY T.
8211 TANGLE GROVE LN
POWELL, TN 37849                                     P‐0014137 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FALKNER, NANCY D.
FALKNER, HERCIAL W.
                                                     P‐0014138 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUFTE, MARY JO
2189 WEST MESA HILLS DRIVE
CEDAR CITY, UT 84720                                 P‐0014139 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IMEL, PRISCILLA
2554 N FOX RUN CT
WICHITA, KS 67226                                    P‐0014140 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUIDRY, CARLA R.
113‐D TOWNSHIP LANE
LAFAYETTE, LA 70506                                  P‐0014141 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PROESCHER, JOHN R.
PROESCHER, JOHN
2104 SHEFFIELD COURT
MOBILE, AL 36693                                     P‐0014142 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDELBROCK, CHRISTOPHER E.
EDELBROCK, JERI E.
6953 E PINNACLE PASS PL
PRESCOTT VALLEY, AZ 86315                            P‐0014143 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAJIBNAPIS, WILLIAM
3722 GRAND AVE SOUTH
MINNEAPOLIS, MN 55409‐1119                           P‐0014144 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHERINCHAK, DIANE
27 CRANFORD RD
TURNERSVILLE, NJ 08012                               P‐0014145 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DENNIS, GARY S.
148 S. GLENGROVE AVE.
GLENDORA, CA 91741                                   P‐0014146 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWLOR, RICHARD
8 PLEASANT RISE
BETHEL, CT 06801                                     P‐0014147 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYRICK, ASHLEY M.
5433 CARIBE CT
VIRGINIA BEACH, VA 23462                             P‐0014148 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRETT, TY C.
5714 US RT. 127
CAMDEN, OH 45311                                     P‐0014149 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARDINASCARVALHO, DAIANE
SARDINAS, GIEZY
4148 SW 130TH AVE
DAVIE`, FL 33330                                     P‐0014150 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIS, MONTE
1823 NEEDMORE ROAD
OLD HICKORY, TN 37138                                P‐0014151 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VIRTUE, JOHN A.
NO ADDRESS PROVIDED
                                                     P‐0014152 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAPIER, FREDERICK
529 HIGH POINT AVENUE
VIRGINIA BEACH, VA 23451                             P‐0014153 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERLIN, DAVID A.
971 BARON DRIVE
YARDLEY, PA 19067                                    P‐0014154 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWLOR, RICHARD
8 PLEASANT RISE
BETHEL, CT 06801                                     P‐0014155 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, MEREDITH B.
4216 POWELTON AVE
PHILADELPHIA, PA 19104                               P‐0014156 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOKS, HENRY R.
210 DUNCAN AVE
WILMINGTON, DE 19803‐2320                            P‐0014157 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUCKOWSKI, HANNA
1110 PAINTERS XING
CHADDS FORD, PA 19317                                P‐0014158 11/3/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
LOPEZ, SAN JUANITA
2025 WEST 5TH AVE UNIT A
KENNEWICK, WA 99336                                  P‐0014159 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENSEKI, LINDA F.
1614 TREASURE LAKE
DUBOIS, PA 15801                                     P‐0014160 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YIOUNG, ALVIN B.
975 TEAL DRIVE
CA 95051
SANTA CLARA, CA 95051                                P‐0014161 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHENS, JAMES P.
FROBERG, CECILIA A.
17 CHARLES HILL RD
ORINDA, CA                                           P‐0014162 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TERTICHNY, MICHAEL A.
5500 DOBER LANE
ST LOUIS, MO 63129‐3622                              P‐0014163 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGUIRRE, KRYSTEL
7027 OLCOTT STREET
FOREST HILLS, NY 11375                               P‐0014164 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, ANTOINETTE
MARTINEZ, VICTOR
576 LEYTE TERRACE
SUNNYVALE, CA 94089                                  P‐0014165 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESJARDINS, DARLENE
511 LEE AVENUE
BEVERLY, NJ 08010                                    P‐0014166 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVAREZ, JEAN F.
1130 KINGS ROAD
HARTFORD, WI 53027                                   P‐0014167 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUGMAN, EDITH H.
216 CHERRY DRIVE
BOONE, NC 28607                                      P‐0014168 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUCE, MISTY R.
70 KOKA LOOP
LEXINGTON, TN 38351                                  P‐0014169 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, GENE O.
4183 LO BUE WAY
SAN JOSE, CA 95111                                   P‐0014170 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOVE, JACQUELYN R.
P.O. BOX 7707
ROMEOVILLE, IL 60446                                 P‐0014171 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRACH, AYZIK
1325 CHERRY GLEN CT.
CHESTERFIELD, MO 63017‐5562                          P‐0014172 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, DARYL W.
7603 ELIOAK TERRACE
GAITHERSBURG, MD 20879                               P‐0014173 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX JR, BILLY E.
3309 EDITH NANKIPOO ROAD
RIPLEY, TN 38063                                     P‐0014174 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOXHOVEN, RETHEA J.
901 DELMAR STREET
STERLING, CO 80751                                   P‐0014175 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNTER, KERRY V.
KERRY
501 E ASHMAN ST
MIDLAND, MI 48642                                    P‐0014176 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALDWIN, DENISE
908 LIPAN DR
NEW BRAUNFELS, TX 78130                              P‐0014177 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEISSIG, GERALD
SUZANNE
6653 N 58TH STREET
MILWAUKEE, WI 53223                                  P‐0014178 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, ABIGAIL
915 WILKS ST
EAST PALO ALTO, CA 94303                             P‐0014179 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
NEW, KATHY L.
1818 W. BOULDER ST.
COLORADO SPRINGS, CO 80904                          P‐0014180 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRENKLE, KYLIE
1114 WEST AVE
#5
NORMAL, IL 61761                                    P‐0014181 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEONARD, DONNA M.
300 N. STATE STREET
APT 5323
CHICAGO, IL 60654                                   P‐0014182 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PROVOST, WILLIAM J.
4518 FAIREMOORE WALK
SUWANEE, GA 30024                                   P‐0014183 11/3/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
BALDWIN, DENISE
908 LIPAN DR
NEW BRAUNFELS, TX 78130                             P‐0014184 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOROWSKI, TERI
4445 EL MAR DRIVE, APT 408
FT LAUDERDALE, FL 33308                             P‐0014185 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAULK, MARTY
318 WILLOW WAY
LYNN HAVEN, FL 32444                                P‐0014186 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, JERRY W.
TAYLOR, JERRY W.
6500 SPARTA PIKE
WATERTOWN, TN 37184                                 P‐0014187 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, ELLIS
39505 LINCOLN AVE
ZEPHYRHILLS, FL 33542                               P‐0014188 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANRAHAN, FEN
3116 STEPHANOS DR
LINCOLN, NE 68516                                   P‐0014189 11/3/2017      TK Holdings Inc., et al .                  $200,000.00                                                                                  $200,000.00
WAGNER, MARK D.
5403 BALTIMORE CT
CARMEL, IN 46033                                    P‐0014190 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANKIN, STACEY L.
23 HARMERSVILLE PECKS CR RD
SALEM, NJ 08079                                     P‐0014191 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEVELAND, EVERT A.
8516 BERMONDSEY MARKET WAY
WAKE FOREST, NC 27587                               P‐0014192 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALDWIN, DENISE K.
908 LIPAN DR
NEW BRAUNFELS, TX 78130                             P‐0014193 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, JERRY W.
TAYLOR, JERRY W.
6500 SPARTA PIKE
WATERTOWN, TN 37184                                 P‐0014194 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEW, KATHY L.
1818 W. BOULDER ST.
COLORADO SPRINGS, CO 80904                          P‐0014195 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANTROBUS, CHARRISSA
4279 S AVERY ST
TERRE HAUTE, IN 47802                               P‐0014196 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
HESS, PAUL D.
HESS, ANGELA L.
1517 NYLUND DR
VINELAND, NJ 08361                                    P‐0014197 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, RITA M.
7713 VINISTE DRIVE
BOYNTON BEACH, FL 33472                               P‐0014198 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRANE, MARIANNE
CRANE, STEPHEN K.
842 S CRAWFORD
FORT SCOTT, KS 66701                                  P‐0014199 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BETTENDORF, MICHELLE J.
9889 XEBEC ST
CIRCLE PINES, MN 55014                                P‐0014200 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLECEK, CATHERINE B.
HOLECEK, JOHN J.
11119 BROOK MILL CT
HOUSTON, TX 77065                                     P‐0014201 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, JERRY W.
TAYLOR, GLENDA K.
6500 SPARTA PIKE
WATERTOWN, TN 37184                                   P‐0014202 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHORBA, DEBORAH L.
100 MICHELLE CIRCLE
BETHEL PARK, PA 15102                                 P‐0014203 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, RONALD E.
3559 HIGHWAY M
MILLER, MO 65707                                      P‐0014204 11/3/2017      TK Holdings Inc., et al .                   $35,000.00                                                                                   $35,000.00
TAHERKHANCHI, AMIR
2320 48TH ST NE
ROCHESTER, MN 55906                                   P‐0014205 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSSWALD, JANINE M.
41 AURORA DR
BUFFALO, NY 14215                                     P‐0014206 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, ODELL
DAVIS, PARA C.
311 NORTH STRAWBERRY AVE
DEMOPOLIS, AL 36732                                   P‐0014207 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNRUH, RICKY
404 W 28TH ST
DURANGO, CO 81301                                     P‐0014208 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGER, MATT
8917 W 115TH TERRACE
OVERLAND PARK, KS 66210                               P‐0014209 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARONDESS, ROBERT
1051 BEACH PARK BLVD. #208
FOSTER CITY, CA 94404                                 P‐0014210 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, PAUL F.
21516 HINES LN
PFLUGERVILLE, TX 78660                                P‐0014211 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLIVER, LISA A.
6095 VALERIAN CT.
GRAND BLANC, MI 48439                                 P‐0014212 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARPENTER, PATRICE M.
10824 NE KENTUCKY COURT
KANSAS CITY, MO 64157                                 P‐0014213 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
JENKINS, TERRY
18107 ZEMMA LANE
HAGERSTOWN, MD 21740                                 P‐0014214 11/3/2017      TK Holdings Inc., et al .                    $4,674.29                                                                                    $4,674.29
FRIPP, NATEANAH E.
4009 BALFOUR AVENUE
OAKLAND, CA 94610                                    P‐0014215 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, RONNIE W.
SMITH, GWEN A.
1744 W59TH ST
DAVENPORT, IA 52806                                  P‐0014216 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLESPIE, TIM D.
163 MAPLE DRIVE
PONTOTOC, MS 38863                                   P‐0014217 11/3/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
LINS, JULIE
30 WHIG DR
MANCHESTER, NH 03104                                 P‐0014218 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELANGER, MARC G.
24 VAN WINKLE ST
APT 2L
DORCHESTER, MA 02124                                 P‐0014219 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUST, KENNETH R.
RUST, ELLEN J.
1216 VILLAGE GREEN DRIVE
CLAIRTON, PA 15025                                   P‐0014220 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMBLETON, DUSTIN J.
2305 33RD AVE
GREELEY, CO 80634                                    P‐0014221 11/3/2017      TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
ST‐AMAND, JAMIE L.
2437 ROWLAND AVE
ROYAL OAK, MI 48067                                  P‐0014222 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTIA, GHASSAN H.
3510 HERON RIDGE DRIVE
ROCHESTER HILLS, MI 48309                            P‐0014223 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SURLES, GARY W.
20 IONA WAY
BATESVILLE, AR 72501                                 P‐0014224 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTOS, GEORGE Z.
934 PENINSULA AVENUE UNIT 212
SAN MATEO, CA 94401                                  P‐0014225 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOOPER, ANGELA
HUFF, SHANE
931 W. EAST AVE # 18
CHICO, CA 95926                                      P‐0014226 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOONE, CONSTANCE M.
7134 THIMBLEWOOD WAY
COLUMBUS, GA 31904                                   P‐0014227 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STORCH, KAREN B.
211 WEST HILL RD.
ELMIRA, NY 14903                                     P‐0014228 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRY, TIFFANY R.
1340 N. LOREL
CHICAGO, IL 60651                                    P‐0014229 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMOS, JUAN
377 CASTELLARI DR
LAS VEGAS, NV 89138                                  P‐0014230 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
AMERING, JEFFREY W.
549 PHILIP ST
NEW ORLEANS, LA 70130                                 P‐0014231 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, TERESA R.
105 CLARK AVE
NEWTON, MS 39345                                      P‐0014232 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, CAROL M.
1980 MILLER AVENUE
ANN ARBOR, MI 48103                                   P‐0014233 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOONE, CONSTANCE M.
7134 THIMBLEWOOD WAY
COLUMBUS, GA 31904                                    P‐0014234 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN ORNUM, JOSEPH B.
8151 PENNSYLVANIA CIRCLE
BLOOMINGTON, MN 55438                                 P‐0014235 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AHERN, STEPHEN C.
AHERN, HELEN
4875 W. BLASER CIRCLE
BOISE, ID 83705                                       P‐0014236 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUDRNA, CHRIS R.
3655 PLUM CREEK DRIVE
SAINT CLOUD, MN 56301                                 P‐0014237 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEPPARD, ELISSA J.
63 NORTHGATE
AVON, CT 06001                                        P‐0014238 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOCCI, ANGELA M.
6 EAST RHODES AVENUE
WEST CHESTER, PA 19382‐5520                           P‐0014239 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANTJE, ROLAINE L.
423 BELLE CHASSE WAY
PENSACOLA, FL 32506                                   P‐0014240 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STERNKLAR, JEFFREY D.
10 MALLARD DRIVE
SHARON, MA 02067                                      P‐0014241 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUNDERSON, MARK S.
GUNDERSON, JEAN M.
420 WEST FOURTH STREET
WINONA, MN 55987                                      P‐0014242 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUDRNA, CHRIS R.
3655 PLUM CREEK DRIVE
SAINT CLOUD, MN 56301                                 P‐0014243 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLIMAN, MARK L.
4080 GREENS PLACE
LONGMONT, CO 80503                                    P‐0014244 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, RALPH M.
LEE, JENNIFER S.
17108 LABURNUM COURT
DERWOOD, MD 20855‐2504                                P‐0014245 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, TERRY D.
12800 PRINCETON RD
CERULEAN, KY 42215                                    P‐0014246 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENDER, LORYNDA F.
26 HAMPTON LANE
FAIRPORT, NY 14450                                    P‐0014247 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                 Current General                                         Current 503(b)(9)
                                                                                                                                    Current Priority   Current Secured                        Current Admin    Total Current
                Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                     Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                     Amount                                                  Amount
NEWTON, HELEN A.
NEWTON, GARY V.
553 EAST LAKE DRIVE
EDWARDSVILLE, IL 62025                            P‐0014248 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORK MAUSOLEUM CONSTRUCTION
W235S4479 AMBER CT
WAUKESHA, WI 53189                                P‐0014249 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, BEVERLY L.
1424 2ND AVE S
FARGO, ND 58103                                   P‐0014250 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTLUND, MARYANN
263 GRANT COURT
BRICK, NJ 08724                                   P‐0014251 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LLANEZA, JOSIE
520 GREGORY AVE
WILMETTE, IL 60091                                P‐0014252 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, TERRY D.
12800 PRINCETON RD
CERULEAN, KY 42215                                P‐0014253 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEINRICH, TIMOTHY J.
6303 KURY LANE
HOUSTON, TX 77008‐3225                            P‐0014254 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STATNICK, ROBERT C.
1133 LINCOLN BLVD, APT 6
SANTA MONICA, CA 90403                            P‐0014255 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAARNIO, ROBERT E.
119 WINDSOR FALLS BLVD
OXFORD, MS 38655                                  P‐0014256 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, TERRY D.
12800 PRINCETON RD
CERULEAN, KY 42215                                P‐0014257 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, SAM L.
TRIANGLE POND MANAGEMENT
3713 OVERLOOK RD
RALEIGH, NC 27616                                 P‐0014258 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIBOT, JOSEPHINE
4343 MARVIN AVE
CLEVELAND, OH 44109                               P‐0014259 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FROST, LATRICE A.
9941 PLAINVIEW AVE
DETROIT, MI 48228‐1311                            P‐0014260 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, TERRY D.
12800 PRINCETON RD
CERULEAN, KY 42215                                P‐0014261 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOSSI, ROBERT J.
BLAIN, HELEN J.
3953 N 19TH ST
COEUR D ALENE, ID 83815                           P‐0014262 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIN, LOI
9633 MISTY BLUE CT
ELK GROVE, CA 95757                               P‐0014263 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, NATHALIE A.
1321 DOGWOOD DRIVE
RIFLE, CO 81650                                   P‐0014264 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MELTON, THOMAS B.
ROSENBERG, RIXI
2702 COATBRIDGE DR
AUSTIN, TX 78745                                    P‐0014265 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAXTON, JASON
PAXTON, JASON K.
920 KENSINGTON PL.
MEMPHIS, TN 38107                                   P‐0014266 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGER, DANIELLE E.
8917 W 115TH TERRACE
OVERLAND PARK, KS 66210                             P‐0014267 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOMEC, MARTIN
1408 CLAREMONT DRIVE
DAVIS, CA 95616                                     P‐0014268 11/3/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MAYER, MICHAEL A.
MAYER, SHERI M.
7704 W US HIGHWAY 12
HELENA, MT 59601‐6672                               P‐0014269 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEORGE, ROGER B.
87‐3192 BOKI ROAD
CAPTAIN COOK, HI 96704                              P‐0014270 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSEE, LYNN E.
6365 BOTKINS RD
NEW KNOXVILLE, OH 45871                             P‐0014271 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHOU, FRANK L.
21 TOWER RD
EDISON, NJ 08820                                    P‐0014272 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, SAM L.
TRIANGLE POND MANAGEMENT
3713 OVERLOOK RD
RALIEGH, NC 27616                                   P‐0014273 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOSTNER, TERRY L.
2001 RAMROD AVE
#1813
HENDERSON, NV 89014                                 P‐0014274 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTTON (BODI), MARJORY A.
1013 MICHIGAN AVE
SAINT JOSEPH, MI 49085                              P‐0014275 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STACEY, WILLIAM W.
4971 GRUFF
GREENBUSH, MI 48738‐9645                            P‐0014276 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICKO, RICHARD E.
MICKO, PEGGY A.
1926 RYCROFT DRIVE
SPRING, TX 77386‐1650                               P‐0014277 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWNE, RAY K.
BROWNE, TRACI I.
569 ULUMANU DRIVE
KAILUA, HI 96734                                    P‐0014278 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYWOOD, JENNY
2131 15 MILE RD NE
SPARTA, MI 49345                                    P‐0014279 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAUGHN, RANDALL C.
14 CR 419
CORINTH, MS 38834                                   P‐0014280 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
THOMAS, JOHN R.
1577 CALIPER DR
TROY, MI 48084                                        P‐0014281 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHOU, FRANK L.
21 TOWER RD
EDISON, NJ 08820                                      P‐0014282 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLEARY, FREDERICK J.
241 MISTLETOE RD
LOS GATOS, CA 95032                                   P‐0014283 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRESLIN, MARY L.
542 BITTERSWEET TERR
BRIDGEWATER, NJ 08807                                 P‐0014284 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DREYER, MARK A.
15 HOMER ST
NEWPORT, RI 02840                                     P‐0014285 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STORTS, SARAH J.
6111 BREEZY HOLLOW LN
KATY, TX 77450                                        P‐0014286 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWSON, LESLIE
LAWSON, SHELLIE
42 GROVE LANE
ROGERSVILLE, MO 65742                                 P‐0014287 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMEDLEY, LASHAUNA D.
8205 BURLOAK WAY
ELK GROVE, CA 95758                                   P‐0014288 11/3/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
NELSON, ERIKA L.
10 DOWNING STREET
WEST HARTFORD, CT 06110                               P‐0014289 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, DARLENE A.
HILL, STACEY L.
3773 WEST 75TH PLACE
CHICAGO, IL 60652                                     P‐0014290 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURROWS, STACEY A.
5001 LAKE FRONT DRIVE, APT A1
TALLAHASSEE, FL 32303                                 P‐0014291 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNN, RONALD
2017 OBERLIN ST.
PALO ALTO, CA 94306                                   P‐0014292 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AFFATATO, NICHOLAS J.
208 BRIDLE PATH CIR
OAK BROOK, IL 60523                                   P‐0014293 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSBORN, BEVERLY L.
1321 MONTE SANO BLVD
HUNTSVILLE, AL 35801                                  P‐0014294 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUBLE, WILLIAM P.
AUBLE, JULIE R.
111 WHITE LAKE CT
CARY NC 27519‐9510
                                                      P‐0014295 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA, KHAYRI E.
10 SUMMIT AVE.
APT 2
NORTH PLAINFIELD, NJ 07060                            P‐0014296 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIGAMAN, G. BENNETT
117 EAST WOODS DRIVE
HARLEYSVILLE, PA 19438                                P‐0014297 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
LOTT, DAVID E.
711 NORTH HILL DRIVE
HATTIESBURG, MS 39401                                 P‐0014298 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG‐ROBINSON, EARLINE
2136 W CHELTENHAM AVE
PHILADELPHIA, PA 19138                                P‐0014299 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINATO, TIFFANY M.
FINATO, GAVIN M.
1510 SARATOGA DR.
WOODLAND, CA 95695                                    P‐0014300 11/3/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
LEE, MICHAEL E.
LEE, JEANETTE M.
6544 ALYSSA DR
SAN JOSE, CA 95138                                    P‐0014301 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, RAY D.
448 LITTLER DR
448 LITTLER DR SE
RIO RANCHO, NM 87124                                  P‐0014302 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUJATA, KAREN R.
SUJATA, LEON
7261 PLEASANT VIEW DR
MACHESNEY PARK, IL 61115                              P‐0014303 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, SAM L.
TRAINGLE POND MANAGEMENT
3713 OVERLOOK RD
RALEIGH, NC 27616                                     P‐0014304 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, RUSSELL L.
JOHNSON, CHARLES J.
263 BIG TERRA LN
GURNEE, IL 60031                                      P‐0014305 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH SR, ELWOOD R.
3241 MOORE AVE
BENSALEM, PA 19020                                    P‐0014306 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, STANLEY J.
4904 ONYX ST
TORRANCE, CA 90503                                    P‐0014307 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, KENNY L.
4081 AUTUMN WOOD
FENTON, MI 48430                                      P‐0014308 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOUSTON, RASHARD D.
2350 DWIGHT RD # 7
MEMPHIS, TN 38114                                     P‐0014309 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NATHANI, ALY
6162 THORNCREST DRIVE
TUCKER, GA 30084                                      P‐0014310 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUECKE, DAVID A.
2840 COUNTRY WOODS LN
CINCINNATI, OH 45248
                                                      P‐0014311 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEKNOS, THOMAS P.
483 WEST LINCOLN AVE.
MADISON HTS, MI 48071                                 P‐0014312 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, VICTOR J.
3320 NE BRIAR CREEK PLACE
ANKENY, IA 50021                                      P‐0014313 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
COLE, MADELYN F.
330 S, THIRD ST
LOT 48
COLEMAN, MI 48618                                   P‐0014314 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANGELES, KATHY
15883 S HWY 28
LA MESA, NM 88044                                   P‐0014315 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, RUSSELL L.
JOHNSON, JENNIFER J.
263 BIG TERRA LN
GURNEE, IL 60031                                    P‐0014316 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUTHRIE, GAYLE
GUTHRIE, THOMAS
23910 NE 214TH CT
BATTLE GROUND WA 98604, WA 98604                    P‐0014317 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANAGALI, SAGAR P.
2591 HOLIDAY HOUSE ROAD
UNIT 17
ST JOSEPH, MI 49085                                 P‐0014318 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNURR II, GORDON R.
SNURR, SHIRLEY J.
109 RIDGEWOOD DRIVE
FORT ASHBY, WV 26719                                P‐0014319 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLINT LENZI, ALLISON M.
113 EDGEHILL ROAD
NORWOOD, MA 02062                                   P‐0014320 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIELSON, DEAN A.
DANIELSON, CORALEE J.
5014 WOODLAWN ST
DULUTH, MN 55804                                    P‐0014321 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, KETINA A.
331 E QUEEN AVE
STOCKTON, IL 61085                                  P‐0014322 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANGELES, KATHY
15883 S HIGHWAY 28
LA MESA, NM 88044                                   P‐0014323 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VELASCO, RAQUEL R.
7677 W. PARADISE LANE
APT 1031
PEORIA, AZ 85382                                    P‐0014324 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANCHETA, JERICHO S.
638 FAXINA AVE
LA PUENTE, CA 91744                                 P‐0014325 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITZGERALD, PATRICK
4675 S. HARRISON RD #57
TUCSON, AZ 85730                                    P‐0014326 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNURR II, GORDON R.
SNURR, SHIRLEY J.
109 RIDGEWOOD DRIVE
FORT ASHBY, WV 26719                                P‐0014327 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNIGHT, INDIGO S.
5971 SW 61ST CT
SOUTH MIAMI, FL 33413                               P‐0014328 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WEETER, MARK T.
KOSSAK, JULIA A.
95 W. HOLLY STREET
PHOENIX, AZ 85003                                    P‐0014329 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, THIN D.
9156 SUNFIRE WAY
SACRAMENTO, CA 95826                                 P‐0014330 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHINNEY, HARTLEY K.
PHINNEY, REBECCA L.
123 LAKE POINT DRIVE
GALLATIN, TN 37066                                   P‐0014331 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINDLEY, KATHRYN E.
1234 WOODSTON RD
MEMPHIS, TN 38117                                    P‐0014332 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, SAM L.
TRIANGLE POND MANAGEMENT
3713 OVERLOOK RD
RALEIGH, NC 27616                                    P‐0014333 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKES, BRADLEY M.
39 SYCAMORE WAY
WALLINGFORD, CT 06492                                P‐0014334 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEIDER, ROBERT W.
32528 LAKE ROAD
AVON LAKE, OH 44012                                  P‐0014335 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'MEALLEY, OTIS O.
182‐09 143RD AVENUE
SPRINGFIELD GDNS, NY 11413                           P‐0014336 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUDKINS, CANADCE F.
3608 WINBORNE DRIVE
SUFFOLK, VA 23435                                    P‐0014337 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIALDELLA, MICHAEL
7007 HIGHLAND MEADOWS COURT
ALEXANDRIA, VA 22315                                 P‐0014338 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SZOT, NICHOLAS J.
P.O. BOX 813
POCONO SUMMIT, PA 18346                              P‐0014339 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINAKIS, MARLO S.
7159 SOUTH LINCOLN WAY
CENTENNIAL, CO 80122                                 P‐0014340 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLF, ROBERT D.
WOLF, TERRI L.
2320 S. VERMONT AVE
INDEPENDENCE, MO 64052                               P‐0014341 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASTOR, ROBERT J.
NO ADDRESS PROVIDED
                                                     P‐0014342 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, ALEXANDER P.
1840 ELLESMERE LOOP
ROSEVILLE, CA 95747                                  P‐0014343 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOUIS, GAGE A.
4706 STEMWAY DRIVE
NEW ORLEANS, LA 70126                                P‐0014344 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VARADY, SANDRA J.
12321 STAFFORD LANE
BOWIE, MD 20715                                      P‐0014345 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CIALDELLA, MICHAEL
7007 HIGHLAND MEADOWS COURT
ALEXANDRIA, VA 22315                               P‐0014346 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBY, RAYMOND L.
GRAYBAR ELECTRIC COMPANY
341 S ROLLING ROAD
SPRINGFIELD, PA 19064                              P‐0014347 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILIPPOU, PHILIP J.
7159 SOUTH LINCOLN WAY
CENTENNIAL, CO 80122                               P‐0014348 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'GRADY, MARTHA L.
5536 NORTH MONITOR
CHICAGO, IL 60630                                  P‐0014349 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLONOWSKI, SHANNON L.
2529 BAYVIEW DRIVE
NASHVILLE, TN 37217                                P‐0014350 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAHUCHET, ANKE
BAYLESS, NICOLE
1516 WOLLACOTT STREET
REDONDO BEACH, CA 90278                            P‐0014351 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOBIER, LYNN F.
18 NEW MEADOWTRAIL
PARSIPPANY, NJ 07054                               P‐0014352 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'MEALLEY, OTIS O.
182‐09 143RD AVENUE
SPRINGFIELD GDNS, NY 11413                         P‐0014353 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHMIDT, DONALD R.
643 STINARD AVE
SYRACUSE, NY 132072                                P‐0014354 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGANTI, SAL
453 ROSE AVE
PLEASANTON, CA 94566                               P‐0014355 11/3/2017      TK Holdings Inc., et al .                    $6,040.76                                                                                    $6,040.76
BLACK, AMY E.
422 ALLONBY DR
SCHUAMBURG, IL 60194                               P‐0014356 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FULTZ, CHRISTA L.
6520 RIDGEWOOD DRIVE
CASTALIA, OH 44824                                 P‐0014357 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SZOT, NICHOLAS J.
P.O. BOX 813
POCONO SUMMIT, PA 18346                            P‐0014358 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OYERBIDES, JENESSE W.
5529 HEATHERCREST DR
ARLINGTON, TX 76018                                P‐0014359 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMBURG, DAVID J.
16 JAMESON ROAD
BINGHAMTON, NY 13905                               P‐0014360 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUEBEDEAUX, PAUL S.
122 LA CHENE ST.
PIERRE PART, LA 70339                              P‐0014361 11/3/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
TABBUSH, JACK P.
4970 TOPEKA DRIVE
TARZANA, CA 91356                                  P‐0014362 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ROBY, RAYMOND L.
ROBY, DONNA L.
341 S ROLLING ROAD
SPRINGFIELD, PA 19064                               P‐0014363 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORINELLI, PATRICK J.
2175 MORNING WIND DR
MARRIOTTSVILLE, MD 21104                            P‐0014364 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOSA, TODD C.
3567 WOODFORD DR
SAN JOSE, CA 95124                                  P‐0014365 11/3/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
KIZZIAH, CATHY L.
6943 NEW HAMPSHIRE AVENUE
HAMMOND, IN 46323                                   P‐0014366 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOBIER, KEITH
18 NEW MEADOW TRAIL
PARSIPPANY, NJ 07054                                P‐0014367 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARMAN, ZACH
5553 FAIRWAY ROAD
FAIRWAY, KS 66205                                   P‐0014368 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAN, SHANNON
19 BEL FOREST DR
BELLEAIR BLUFFS, FL 33770                           P‐0014369 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEIDER, ROBERT W.
32528 LAKE ROAD
AVON LAKE, OH 44012                                 P‐0014370 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUSKA, LAWRENCE W.
2412 S ROOSEVELT CIRCLE
SIOUX FALLS, SD 57106‐3200                          P‐0014371 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUNNER RICH, ANNETTE C.
1770 ARRIBA DR APT 203
BULLHEAD CITY, AZ 86442                             P‐0014372 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARNOLD, JEREMY
526 ROOSEVELT AVE #3
YORK, PA 17404                                      P‐0014373 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACQUAVIVA, JOHN P.
2601 GUNPOWDER FARMS RD
FALLSTON, MD 21047                                  P‐0014374 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARKE, CAROL
9 MICHAEL RD
HOLLAND, PA 18966                                   P‐0014375 11/3/2017      TK Holdings Inc., et al .                     $600.00                                                                                       $600.00
MILLER, ANDRE E.
1211 NEW HOPE RD
MADISON, AL 35756                                   P‐0014376 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALNAMROUTI, NASSRALLAH A.
4182 LOVERIDGE RD
APT9
PITTSBURG, CA 94565                                 P‐0014377 11/3/2017      TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
ORCHID, RONALD M.
ORCHID, KATHLEEN S.
5826 SILVERLEAF DRIVE
FORESTHILL, CA 95631                                P‐0014378 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLIMAN, GARY L.
11223 BILLION DOLLAR HWY
RANDOLPH, NY 14772                                  P‐0014379 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BRICKNER, JON T.
17 N. 3RD ST.
MADISON, WI 53704                                   P‐0014380 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALUZZO, KATHERINE A.
860 MALULANI STREET
KIHEI, HI 96753                                     P‐0014381 11/3/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
HAMBURG, ILANA T.
16 JAMESON ROAD
BINGHAMTON, NY 13905                                P‐0014382 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JASON S.
2737 SAN MILAN PASS
ROUND ROCK, TX 78665                                P‐0014383 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, CHRISTINE N.
12 SPRING STREET
MADRID, NY 13660                                    P‐0014384 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRY, RUBY M.
5245 ORANGE DRIVE
COLUMBUS, GA 31907                                  P‐0014385 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AU YEUNG, ADRIAN C.
1106 MUNICH TERRACE
SUNNYVALE, CA 94089                                 P‐0014386 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANFORD, HAROLD L.
STANFORD, ERIN C.
1059 W. FOGAL WAY
TEMPE, AZ 85282‐4604                                P‐0014387 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENSON, JAMES J.
22278 HASKINS RD
BOWLING GREEN, OH 43402                             P‐0014388 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SZOT, NICHOLAS J.
P.O. BOX 813
POCONO SUMMIT, PA 18346                             P‐0014389 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAVODA, BRIDGET M.
2015 BENT TREE LOOP
ROUND ROCK, TX 78681                                P‐0014390 11/3/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
AKELLA, JYOTHIR L.
AKELLA, SATYA K.
906 WEDDINGTON PLACE NE
MARIETTA, GA 30068                                  P‐0014391 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OVERCASH, MARSHALL K.
203 MITCHELL AVE
STATESVILLE, NC 28677                               P‐0014392 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACORD, CRAIG P.
15607 DOVE MEADOW
SAN ANTONIO, TX 78248                               P‐0014393 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, JAMES A.
4637 SYLVAN DR.
ALLISON PARK, PA 15101                              P‐0014394 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRADO, MANUEL L.
GRADO, GUADALUPE
218 THIRS ST.
SUNLAND PARK, NM 88063                              P‐0014395 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORA, DOMINIC M.
2358 PEZ VELA PLACE
GOLD RIVER, CA 95670                                P‐0014396 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BROWN, ARNOLD
3004 CONRADT ST.
WILMINGTON, DE 19805                                  P‐0014397 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG‐MATTSON, NICOLE M.
7722 ELY LAKE DRIVE
EVELETH, MN 55734                                     P‐0014398 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PFEUFFER, MICHAEL R.
1040 SUMMER PLACE
PITTSBURGH, PA 15243                                  P‐0014399 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, SAM L.
3713 OVERLOOK RD
RALEIGH, NC 27616                                     P‐0014400 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASS, BEN J.
281 LINDEN ST.
REDWOOD CITY                                          P‐0014401 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNA, JOSUE
NO ADDRESS PROVIDED
                                                      P‐0014402 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOMEC, MARTIN
P.O. BOX 4471
DAVIS, CA 95617                                       P‐0014403 11/3/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
BEALER, NICOLE P.
POWERS, SUSAN N.
10557 STIDHAM ROAD
CONROE, TX 77302                                      P‐0014404 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, COLUMBINE
143 GRIGLIO DRIVE
SAN JOSE, CA 95134                                    P‐0014405 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, KAI
818 S RAMONA STREET
APT H
SAN GABRIEL, CA 91776                                 P‐0014406 11/3/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
MULLENHOFF, KACEY A.
NO ADDRESS PROVIDED
                                                      P‐0014407 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTON, CHARLES P.
43 PINE RIDGE ROAD
ASHEVILLE, NC 28804                                   P‐0014408 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FANSLER, ROBERT D.
FANSLER, NANCY R.
10717 CASH VALLEY ROAD NW
LAVALE, MD 21502                                      P‐0014409 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NISHIDA, MELVIN Y.
94‐731 MEHEULA PARKWAY #7D
MILILANI, HI 96789                                    P‐0014410 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASCIONE, SANDRA L.
60 WOODLAWN DRIVE
CRANSTON, RI 02920                                    P‐0014411 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOVIDA, BENJAMIN S.
3052 KALLIN AVE
LONG BEACH, CA 90808                                  P‐0014412 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORTMAN, WILLIAM B.
HORTMAN, SARAH B.
16529 HOLMES STREET
OMAHA, NE 68135                                       P‐0014413 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
KOUJALES, MELINDA N.
300GILKESON ROAD APT 6A
PITTSBURGH, PA 15228                                 P‐0014414 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JUDITH A.
JOHNSON, ALAN R.
1180 HOLLY STREET
CANTON, GA 30114                                     P‐0014415 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALMONTE, LARRY
3410 JUNIPER CT.
MAYS LANDING, NJ 08330                               P‐0014416 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORTMAN, WILLIAM B.
HORTMAN, SARAH B.
16529 HOLMES STREET
OMAHA, NE 68135                                      P‐0014417 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOHR, BRUCE E.
1822 CHAPEL HEIGHTS
WHARTON, TX 77488                                    P‐0014418 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMBERT, JUNE C.
FIELDS, MARJORIE B.
111 DUCK CREEK LANE
GREENWOOD, DE 19950                                  P‐0014419 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGEE, CHRISTINE S.
5109 S. NATOMA AVE
CHICAGO, IL 60638                                    P‐0014420 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VASILOFF, LARRY P.
4345 CASE RD
AVON, OH 44011                                       P‐0014421 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIKAS, LAWRENCE
491 STONEY PATH CT.
SOUTH LEBANON, OH 45065‐8770                         P‐0014422 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'BRIEN, STEVEN W.
1931 HAVEN PARK CIRCLE
SMYRNA, GA 30080                                     P‐0014423 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKINNER, ALEX J.
176 BERMUDA LANE
BUTLER, AL 36904                                     P‐0014424 11/3/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
HANSON, PATRICIA A
164 N58TH PL
MESA
MESA, AZ 85205                                       P‐0014425 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTAROSSA, RICHARD J.
SANTAORSSA, CONSTANCE L.
11135 FAIRWAY DRIVE
ROSCOMMON, MI 48653                                  P‐0014426 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCELROY, JANET L.
MCELROY, JAMES R.
12592 LAWRENCE 1220
MOUNT VERNON, MO 65712                               P‐0014427 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRANTZ, STANLEY H.
KRANTZ, HENNY J.
400 S STEELE ST UNIT 36
DENVER, CO 80209                                     P‐0014428 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUGERE, CHARLES A.
1450 FORGEDR
AVON, CT 06001                                       P‐0014429 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ZHANG, YUWEI
16857 WING LN
LA PUENTE, CA 91744                                 P‐0014430 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, TOMMY D.
CAMPBELL, DEBORAH K.
328 E. FOURTH ST.
LAKESIDE, OH 43440                                  P‐0014431 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, SHERRI
2 DOWNING CIRCLE
CONWAY, AR 72034                                    P‐0014432 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SATTERLEE, TRACY F.
1709 RICHLAND AVE
METAIRIE, LA 70001                                  P‐0014433 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOGEL, NATHAN J.
54744 WINDINGBROOK DR
MISHAWAKA, IN 46545                                 P‐0014434 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, KEVIN M.
117 FAIRWAY DR
WATERLOO, IL 62298                                  P‐0014435 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRAYCHINAUD, ERIC P.
1000 RIDGEWOOD DR
METAIRIE, LA 70001                                  P‐0014436 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMEZ, JENNIFER J.
11911 N 157TH ST
BENNINGTON, NE 68007                                P‐0014437 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMLIN, TERRY W.
3923 HWY 7
BISMARCK, AR 71929                                  P‐0014438 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, LAUREN
7761 HALCYON FOREST TRAIL
MONTGOMERY, AL 36117                                P‐0014439 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NATH, DWARKA S.
NATH, ROHIT D.
411 EAST BROOKWOOD COURT
PHOENIX, AZ 85048                                   P‐0014440 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMLIN, TERRY W.
3923 HWY 7
BISMARCK, AR 71929                                  P‐0014441 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOIGTS, JARED
3720 W 47TH PL
ROELAND PARK, KS 66205                              P‐0014442 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEELE, THOMAS B.
2100 ASH GROVE ROAD
AMBLER, PA 19002                                    P‐0014443 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRANTZ, STAN
400 S STEELE ST UNIT 36
DENVER, CO 80209                                    P‐0014444 11/3/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
PHILLIPS, JACKIE S.
622 WOLFE STREET
FREDERICKSBURG, VA 22401                            P‐0014445 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIECKMANN, JONATHAN
813 BLUEBIRD PASS
CAMBRIDGE, WI 53523                                 P‐0014446 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERCH, KENNETH
190 S QUINSIG AVE APT 210
SHREWSBURY, MA 01545                                P‐0014447 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
KIMERY, MIKAEL D.
3923 HWY 7
BISMARCK, AR 71929                                    P‐0014448 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOIGTS, JARED
3720 W 47TH PL
ROELAND PARK, KS 66205                                P‐0014449 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILLION, RAY C.
2351 SANTA CRUZ DRIVE
ATWATER, CA 95301                                     P‐0014450 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABBEY, RACHEL
23916 DE VILLE WAY #B
MALIBU, CA 90265                                      P‐0014451 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORSHINSKY, RONALD K.
4931 PINEHAVEN DRIVE
WESTERVILLE, OH 43082                                 P‐0014452 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMSTOCK, KENT W.
219 AUMOE ROAD
KAILUA, HI 96734
                                                      P‐0014453 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTRO, MARIA I.
19182 W WOODLANDS AVE
BUCKEYE, AZ 85326                                     P‐0014454 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, FRED K.
2886 EAGER RD
LAFAYETTE, NY 13084‐9536                              P‐0014455 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAAS, ROBERT G.
HAAS, IRENE T.
2321 HOPKINS AVENUE
REDWOOD CITY, CA 94062                                P‐0014456 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINERTY, PENELOPE A.
4949 NORTH NEVA
CHICAGO, IL 60656                                     P‐0014457 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLES, MANINA L.
NO ADDRESS PROVIDED
                                                      P‐0014458 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLA, ESPERANZA
11025 KADOTA AVENUE
POMONA, CA 91766                                      P‐0014459 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLAND, BLANE C.
129 W. 5TH ST.
PERU, IN 46970                                        P‐0014460 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AIDT, MICHAEL D.
8604 GLENMOUNT DR
LAS VEGAS, NV 89134                                   P‐0014461 11/3/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
HALVERSON, HEATH E.
6208 PALMETTO CIRCLE SW
CEDAR RAPIDS, IA 52404                                P‐0014462 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, LEROY
27685 ABINGTON STREET
SOUTHFIELD, MI 48076                                  P‐0014463 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, FREDERICK K.
2886 EAGER RD
LAFAYETTE, NY 13084‐9536                              P‐0014464 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICESARO, ANTHONY J.
210 PEACH DR
PITTSBURGH, PA 15236                                  P‐0014465 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
                                                                                            Page 1191 of 3875
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
UGBOAJA, CHUDI
P.O.BOX 41465
BALTIMORE, MD9TH 21203                              P‐0014466 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, GARY L.
MURRAY, CAROLYN M.
415 DODGE STREET
GRAND ISLAND, NE 68801                              P‐0014467 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATRALE, PETER V.
1030 NE 11TH AVENUE
UNIT 206
FORT LAUDERDALE, FL 33304                           P‐0014468 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOVETT, DAVID S.
LOVETT, MICHELLE D.
310 CAPE HORN ROAD E
COLFAX, CA 95713                                    P‐0014469 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOKE, EARL L.
COOKE, CHERYL S.
521 DATE ST
BOULDER CITY, NV 89005                              P‐0014470 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSBORN, DAVID L.
9101 LINKSVUE DR.
KNOXVILLE, TN 37922                                 P‐0014471 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINNEY, DARRE C.
576 EAST MARLIN CT.
TERRYTOWN, LA 70056                                 P‐0014472 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODS, JAMIE
40949 N MAIDSTONE WAY
ANTHEM, AZ 85086                                    P‐0014473 11/3/2017      TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
WALKER, FREDERICK K.
2886 EAGER RD
LAFAYETTE, NY 13084‐9536                            P‐0014474 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, CHARLES R.
STEWART, BETTY K.
1786 EAST 600
LOCUST GROVE, OK 74352                              P‐0014475 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOPER, KAYONNOH R.
32 FINCH TRAIL NE
ATLANTA, GA 30308                                   P‐0014476 11/3/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
COOKE, CHERYL S.
COOKE, EARL L.
521 DATE ST
BOULDER CITY, NV 89005                              P‐0014477 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRES, CARLOS V.
260 MARIPOSA AVENUE
DALY CITY, CA 94015‐2107                            P‐0014478 11/3/2017      TK Holdings Inc., et al .                       $43.79                                                                                       $43.79
KLEIN, RICHARD M.
P O BOX 183
YORKTOWN HEIGHTS, NY 10598                          P‐0014479 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES JR, ANDRE L.
JORDAN, KELLY R.
419 N. EXTON AVENUE
APT 5
INGLEWOOD, CA 90302                                 P‐0014480 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUCATO, PETER A.
818‐10TH AVE
SAN MATEO, CA                                       P‐0014481 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
                                                                                          Page 1192 of 3875
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MACGREGOR, RAYMOND L.
301 MENTON LANE
KELLER, TX 76248                                     P‐0014482 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWNLEE, N'TEASHA U.
200 LUNA PARK DR
APT 218
ALEXANDRIA, VA 22305                                 P‐0014483 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORMAN, BOB C.
46 NEWCOMB ST
HAYWARD, CA 94541                                    P‐0014484 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HSIAO, YULI
1436 COUNTRYWOOD AVE, APT. 39
HACIENDA HEIGHTS, CA 91745                           P‐0014485 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWENS, HOWARD
1162 HIGHLAND LN
CROSSVILLE, TN 38555                                 P‐0014486 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARICH, KELLERMAN
6396 PHILIPS WAY
ALTA LOMA, CA 91737                                  P‐0014487 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUFDENSPRING, BARBARA J.
1316 WEBSTER FOREST COURT
WEBSTER GROVES, MO 63119                             P‐0014488 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIECKMANN, JONATHAN
NO ADDRESS PROVIDED
                                                     P‐0014489 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMBURG, FREDDA
18 BROOK AVENUE
BINGHAMTON, NY 13901                                 P‐0014490 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEAN‐LAURENT, FABRICE
P.O. BOX 101941
ARLINGTON, VA 22210                                  P‐0014491 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EM, THEARITH
2851 REDWOOD PKWY APT 503
VALLEJO, CA 94591                                    P‐0014492 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUDSON, WENDY
200 KALUNAUI ROAD
MAKAWAO, HI 96768                                    P‐0014493 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, JUSTIN R.
COLLINS, PATSY C.
1102 WALNUT LANE
ROCKINGHAM, NC 28379                                 P‐0014494 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, FRANCES W.
495 MOUNTAIN VIEW DR.
HOMER, AK 99603                                      P‐0014495 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHU, HAOLONG
876 MARINERS PT.
RODEO, CA 94572                                      P‐0014496 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHAELS, TIMOTHY
120 YANKEE LANE
DALTON, PA 18414                                     P‐0014497 11/3/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
LINDSTADT, PAUL R.
15 N SCOTTSDALE ST
WICHITA, KS 67230                                    P‐0014498 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AIELLO, WIILIAM B.
76 MORECNY STREET
NATICK, MA 01760                                     P‐0014499 11/3/2017      TK Holdings Inc., et al .                    $6,241.84                                                                                    $6,241.84
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
DALE, KEN
DALE, NADINE
DALE FAMILY TRUST 1997
KEN DALE
22050 ALTON TRAIL
FORESTHILL, CA 95631                                  P‐0014500 11/3/2017      TK Holdings Inc., et al .                    $1,326.00                                                                                    $1,326.00
NELSON, NANCY
10 WELLINGTON PARISH COVE
LITTLE ROCK, AR 72211                                 P‐0014501 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, THOMAS K.
SMITH, SHANNON S.
1 PAMELA DRIVE
LITTLE ROCK, AR 72227                                 P‐0014502 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALINE, SAMANTHA E.
1777 11TH AVE
OLIVERHURST, CA 95961                                 P‐0014503 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUALEY, MARJORIE E.
MEZA, PHILIP E.
3242 OCTAVIA ST
SAN FRANCISCO, CA 94123                               P‐0014504 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIONDOLILLO, RUSSELL J.
14460 GARNET DT.
GONZALES, LA 70737                                    P‐0014505 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, ELAINE C.
9318 E. CASITAS DEL RIO DR.
SCOTTSDALE, AZ 85255                                  P‐0014506 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, FRANCIS D.
8100 ELPHICK ROAD
SEBASTOPOL, CA 95472                                  P‐0014507 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALVETTI, CHRISTOPHER
CALVETTI, MINERVA
1006 W TALCOTT RD
PARK RIDGE, IL 60068                                  P‐0014508 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORREA, RAEANNA M.
308 ORD RANCH ROAD
GRIDLEY, CALIFORNIA 95948                             P‐0014509 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERMAN, ALBY M.
BERMAN, ALBY
6344 COMMERCE RD.
WEST BLOOMFIELD
WEST BLOOMFIELD, MI 48324                             P‐0014510 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAHLEM, JAMES E.
2722 E MOUNT VERNON DR
SPOKANE, WA 99223                                     P‐0014511 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWMAN, ROBERT D.
10057 PENSIVE DRIVE
DALLAS, TX 75229‐5802                                 P‐0014512 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENKINS, BRIAN K.
4994 MENOMINEE LN
CLARKSTON, MI 48348                                   P‐0014513 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, DONALD J.
ORNELAS JONES, NADINE
7384 N PATRIOT DR
TUCSON, AZ 85741                                      P‐0014514 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                      Current General                                         Current 503(b)(9)
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                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
OCONNOR, KEVIN J.
736 NORTH CENTER STREET
NAPERVILLE, IL 60563                                   P‐0014515 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONLEA, CHRISTINE M.
2002 DOBIE LANE
SCHENECTADY, NY 12303                                  P‐0014516 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEY, JENNIFER A.
979 ESSEX ST LOT 420
BANGOR, ME 04401                                       P‐0014517 11/3/2017      TK Holdings Inc., et al .                    $5,134.00                                                                                    $5,134.00
HAWKINS, LANCE K.
3106 ASTER ST
LAKE CHARLES, LA 70601                                 P‐0014518 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OCAMPO, DAVID A.
1018 NIGUEL LANE
SAN JOSE, CA 95138                                     P‐0014519 11/3/2017      TK Holdings Inc., et al .                     $320.00                                                                                       $320.00
LUCHESSI, ROBERT P.
LUCHESSI, PATRICIA L.
17140 COPPER HILL DRIVE
MORGAN HILL, CA 95037‐6522                             P‐0014520 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ATHIPATLA, PRASANTH
310 PRESCOTT DR
CHESTER SPRINGS, PA 19425                              P‐0014521 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGARWAL, HANS
3110 NORTH 90TH STREET
LINCOLN, NE 68507                                      P‐0014522 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GURIAN, ARIEL
GURIAN, ARIEL J.
200 N JEFFERSON STREET
APT 2409
CHICAGO, IL 60661                                      P‐0014523 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWZE, JUANITA
14 OLD HIGHWAY 45 LOOP RD
WAYNESBORO, MS 39367                                   P‐0014524 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, ANGEL K.
3308 AUBURN LN
HAMPTON, VA 23666                                      P‐0014525 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGARWAL, HANS
3110 NORTH 90TH STREET
LINCOLN, NE 68507                                      P‐0014526 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINO, MARINA
17900 KEARNY STREET
#612
MARINA, CA 93933‐4954                                  P‐0014527 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, RANDY
SCOTT, LISA
171 MCLAURIN AVE
ROLLING FORK, MS 39159                                 P‐0014528 11/3/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
VO, JEANNINE
2136 QUINN AVENUE
SANTA CLARA, CA 95051                                  P‐0014529 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROWE, PAMELA J.
1838 BALTIMORE DR
ELK GROVE VILLAG, IL 60007‐2736                        P‐0014530 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARNER, MINDY N.
1378 TAYLOR AVENUE
SHERIDAN, WY 82801                                     P‐0014531 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WILLIAMS, MARTIA M.
4126 LAKE PARK BLVD APT. B
INDIANAPOLIS, IN 46227                                P‐0014532 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOATE, JAMES T.
CHOATE, ALICE A.
W4158 FAWN AVENUE
MONTELLO, WI 53949                                    P‐0014533 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERNER, KATHERINE A.
COMETA, THOMAS
6130 THORNHILL DRIVE
OAKLAND, CA 94611                                     P‐0014534 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, DEBORAH J.
HALE, BRIAN K.
1712 LYNN ST
MISHAWAKA, IN 46545                                   P‐0014535 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CILERIN, IDALGO
42 BROAD STREET
APT.3
JOHNSON CITY, NY 13790                                P‐0014536 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, CONTESSA L.
23 FLORENCE STREET, APT. #1
PROVIDENCE, RI 02909                                  P‐0014537 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
USERY, SUSAN
8807 BEXAR DRIVE
HOUSTON, TX 77064                                     P‐0014538 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
URSIN, DAWN
URSIN, DAWN W.
39055 VENUS AVE
DARROW, LA 70725                                      P‐0014539 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IMAN, CESARI
38 MELVILLE RD
HUNTINGTON STATI, NY 11746                            P‐0014540 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAVIS, DAVID C.
15902 BENT CREEK ROAD
WELLINGTON, FL 33414                                  P‐0014541 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STONE, ROBERT L.
COLGROVE‐STONE, MARY K.
3063 DIABLO VIEW ROAD
PLEASANT HILL, CA 94523‐4512                          P‐0014542 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEW, VIVIAN
1800 ALHAMBRA ROAD
SOUTH PASADENA, CA 91030                              P‐0014543 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOKUA, ROBERT
10074 31ST NE
ST. MICHAEL, MN 55376                                 P‐0014544 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REEVES, MARY J.
251 MARBLE SPRINGS RD
LILBURN, GA 30047                                     P‐0014545 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILEO, JOSEPH A.
1942A IWI WAY
HONOLULU, HI 96816‐3908                               P‐0014546 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, RONALD M.
2801 DELTA ST.
LANSING, MI                                           P‐0014547 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WELLS, LYDIA M.
WELLS, ANTHONY N.
3216 TOWNHOUSE DRIVE
GROVE CITY, OH 43123                                 P‐0014548 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEAL, MARILYN M.
210 GRAND POINT DRIVE
HOT SPRINGS, AR 71901                                P‐0014549 11/3/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
MULRENIN, MARY M.
63520 GEORGETOWNE SOUTH
WASHINGTON, MI 48095                                 P‐0014550 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, SHARON S.
TURNER, CARLIN M.
15294 NORTHLAKE ROAD
MAGALIA, CA 95954                                    P‐0014551 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUDAMIK, FRANK J.
ROCK‐KUDAMIK, DONNA L.
20 HIGH ST
LYNDORA, PA 16045                                    P‐0014552 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STIEL, EDWARD
2887 FOLSOM STREET
SAN FRANCISCO, CA 94110                              P‐0014553 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BULLOUGH, JENNIFER A.
2772 LIGHTHOUSE POINT EAST
UNIT 206
BALTIMORE, MD 21224                                  P‐0014554 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRECO, ISABEL
146 MILFORD STREET
APT.#4
ROCHESTER, NY 14615                                  P‐0014555 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNETT, ALAN L.
1205 ROLLING HILLS DRIVE
MORGANTOWN, WV 26508                                 P‐0014556 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEREDITH, LARRY R.
470 SHINAULT RD.
SOMERVILLE, TN 38068                                 P‐0014557 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANDING, TAHIRAH Y.
3104 AILEEN DRIVE
RALEIGH, NC 27606                                    P‐0014558 11/3/2017      TK Holdings Inc., et al .                     $150.00                                                                                       $150.00
LADD, JOSH
15260 BINNEY ST
OMAHA, NE 68116                                      P‐0014559 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RITTERBUSH, EDWARD G.
RITTERBUSH, LAVENDER P.
737 W HALLIDAY
POCATELLO, ID 83204                                  P‐0014560 11/3/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WREN, CHRISTINE J.
5621 NORTH LACEY STREET
SPOKANE, WA 99208                                    P‐0014561 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNETT, ALAN L.
1205 ROLLING HILLS DRIVE
MORGANTOWN, WV 26508                                 P‐0014562 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, JEFFREY S.
17108 LABURNUM CT
DERWOOD, MD 20855                                    P‐0014563 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
DEGRAFF, ERNEST P.
DEGRAFF, JUDITH J.
2342 SHAMROCK DRIVE
FORTUNA, CA 95540                                      P‐0014564 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTALEONE, JILL
7414 BOOTH ST
PRAIRIE VILLAGE, KS 66208                              P‐0014565 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERNATOWICZ, JOSEPH
20517 KEENEY MILL RD
FREELAND, MD 21053                                     P‐0014566 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHULTZ, THEODORE E.
6425 THUNDERBIRD CIRCLE
LINCOLN, NE 68512                                      P‐0014567 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAWER, DOUGLAS J.
NO ADDRESS PROVIDED
                                                       P‐0014568 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRY, JOSEPH D.
36 WEQUASSIT RD
HARWICH PORT, MA 02646                                 P‐0014569 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANG, TOU F.
19438 COUNTY ROAD 209
UNION STAR, MO 64494                                   P‐0014570 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFMAN, PETER T.
122 SEAVER ST
STOUGHTON, MA 02072                                    P‐0014571 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANKLIN, SHANTARA
679 LIGON ROAD
LEBANON, TN 37090                                      P‐0014572 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIPAOLO, NICHOLAS R.
64 TWIN RIDGES ROAD
OSSINING, NY 10562                                     P‐0014573 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVAREZ, SHAWN
121 3RD AVE N. #305
ST. PETERSBURG, FL 33701                               P‐0014574 11/3/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
HUGHES RUNNION, GRETCHEN N.
107 VALLEY VIEW DR
ERWIN, TN 37650                                        P‐0014575 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STROUD, JANET
51 ILEX DR
NEWBURY PARK, CA 91320                                 P‐0014576 11/3/2017      TK Holdings Inc., et al .                     $800.00                                                                                      $800.00
HENSON, WILLIAM L.
HENSON, JULIE A.
733 HEATHER LN
WOODLAND, CA 95695‐3630                                P‐0014577 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, DONALD B.
BAKER, CHRISTINE A.
4050 CLINARD RD
CLEMMONS, NC 27012‐9189                                P‐0014578 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, MICHELLE
1549 CENTERVILLE DRIVE
BUFORD, GA 30518                                       P‐0014579 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEST, VICKI R.
VICKI'S QUALITY CHILDCARE
5328 7TH AVENUE
LOS ANGELES, CA 90043                                  P‐0014580 11/3/2017      TK Holdings Inc., et al .                    $1,600.00                                                                                    $1,600.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
STROUD, ALLEN
51 ILEX DR
NEWBURY PARK, CA 91320                              P‐0014581 11/3/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
STANLEY, CANDACE D.
2803 BRENTWOD AVENUE
MOUNDSVILLE, WV 26041                               P‐0014582 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, JULEY M.
4887 GENEVA AVE.
CONCORD, CA 94521                                   P‐0014583 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, RENEE A.
6225 N MISTY OAK TERR
BEVERLY HILLS, FL 34465                             P‐0014584 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES RUNNION, GRETCHEN N.
107 VALLEY VIEW DR
ERWIN, TN                                           P‐0014585 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLORZANO, TOM E.
3507 ORINDA DRIVE
SAN MATEO, CA 94403                                 P‐0014586 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRAYCHINAUD, MELINA
1000 RIDGEWOOD DR
METAIRIE, LA 70001                                  P‐0014587 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANDT, JEROME F.
2976 BELLMEADE WAY
LONGMONT, CO 80503                                  P‐0014588 11/3/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
BULLOCK, RUTH M.
3365 SUNCREST AVENUE
SAN JOSE, CA 95132                                  P‐0014589 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCAVILLA, TONI
699 N.VULCAN AVE., SP#11
ENCINITAS, CA 92024                                 P‐0014590 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, DONALD W.
1200 TAMMEN RD
WICHITA FALLS, TX 76305                             P‐0014591 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERNSTEIN, MICHAEL L.
5041 INTERLACHEN BLUFF
EDINA, MN 55436                                     P‐0014592 11/3/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MCCALL, RAYMOND R.
8518 SE SHARON ST
HOBE SOUND, FL 33455                                P‐0014593 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMEONE, AMELIA M.
311 KINGS CROFT
CHERRY HILL, NJ 08034                               P‐0014594 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARMON, MARK R.
4 LAFAYETTE RD
BREWSTER, NY 10509                                  P‐0014595 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GODOY, SHAWNA DENI
3617 BERKELEY
CORPUS CHRISTI, TX 78414                            P‐0014596 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, TALEATHA
27684 GATEWAY BLVD
#307
FARMINGTON HILLS, MI 48334                          P‐0014597 11/3/2017      TK Holdings Inc., et al .                   $28,000.00                                                                                   $28,000.00
FURNISH, KAREN D.
2856 COUNTRY WOODS LN
PALM HARBOR, FL 34683                               P‐0014598 11/3/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BLAND, JACQUAY
601 MAYFAIR DRIVE
ROCKY, NC 27803                                      P‐0014599 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRAIGHT, HARRY F.
19599 COYOTE LAKES PKWY
SURPRISE AZ, 85378
                                                     P‐0014600 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER JR, RICHARD D.
452 HUNTSBRIDGE RD
MATTESON, IL 60443                                   P‐0014601 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRODIE‐ANDERSON, DIANA L.
4103 CENTER STREET EXT
SALAMANCA, NY 14779                                  P‐0014602 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLORZANO, TOM E.
3507 ORINDA DRIVE
SAN MATEO, CA 94403                                  P‐0014603 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, DOMINICK A.
4662 ASHBURY AVENUE
CYPRESS, CA 90630                                    P‐0014604 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, ROXANNE
ROSS, ROXANNE
TK HOLDINGS INC CLAIM PROCESS
212 MOZART DRIVE
HOUMA, LA 70363                                      P‐0014605 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, DAWN H.
1301 OAKVIEW ROAD APT L1
DECATUR, GA 30030                                    P‐0014606 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIU, HUAIZHEN
5698 LINDEN STREET
DUBLIN, CA 94568                                     P‐0014607 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, THOMAS F.
129 STRINGHAM ROAD
APT 1
LAGRANGEVILLE, NY 12540                              P‐0014608 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRODIE‐ANDERSON, DIANA L.
4103 CENTER STREET EXT
SALAMANCA, NY 14779                                  P‐0014609 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRIS, TIMOTHY J.
1116 ORCHARD GROVE
ROYAL OAK, MI 48067                                  P‐0014610 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTERROZA, ELISEO
507 BEAR TRACK DR
VAN BUREN, AR 72956                                  P‐0014611 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAGRI, NIKHIL
1309 CHEWPON AVE
MILPITAS, CA 95035                                   P‐0014612 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAIRRINGTON, JOHN M.
FAIRRINGTON, NEVA M.
9920 ELSIE IDA WAY
SACRAMENTO, CA 95829                                 P‐0014613 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANNING, JULIE A.
MANNING, CHRISTOPHER R.
6011 E. FAIRBROOK STREET
LONG BEACH, CA 90815                                 P‐0014614 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
DALIE III, STEWART A.
DALIE, REENA L.
501 GADWELL COURT
LINCOLN, CA 95648‐8766                                P‐0014615 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLASS, CHARLES L.
GLASS, ARCELIA A.
12636 W 66TH STREET
SHAWNEE, KS 66216                                     P‐0014616 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELIA, FRANK J.
DELIA, SHELIA S.
205 NW 10TH STREET
CEDAREDGE, CO 81413                                   P‐0014617 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAK, DAVID
PAK, CAROLYN
2487 38TH AVENUE
SAN FRANCISCO, CA 94116                               P‐0014618 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNO, EDWIN H.
UNO, RUTH S.
95‐67 HINALII STREET
MILILANI, HI 96789                                    P‐0014619 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYERMAN, LAWRENCE
2930 KINGSTON DRIVE
BUFFALO GROVE, IL 60089                               P‐0014620 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALDRON, LESLIE S.
5425 LAKE MURRAY BLVD. #7
LA MESA, CA 91942                                     P‐0014621 11/3/2017      TK Holdings Inc., et al .                       $67.37                                                                                       $67.37
BAUER, GREGORY A.
449 W MAIN
BOISE, ID 83702                                       P‐0014622 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMONDS JR, PAUL W.
210 GREENWOOD RD
WILMINGTON, DE 19804                                  P‐0014623 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMILTON, DEBRA J.
2441 S. KIHEI RD, APT A104
KIHEI, HI 96753                                       P‐0014624 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUILES DELGADO, EDWIN
3050 CALAIS ST.
MOBILE, AL 36606                                      P‐0014625 11/3/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
ODUM, MICHAEL G.
221 HILL DR.
LIBERTY, TX 77575                                     P‐0014626 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAROSA, MICHAEL W.
1123 REAGAN TERRACE
AUSTIN, TX 78704                                      P‐0014627 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAK, DAVID
2487 38TH AVENUE
SAN FRANCISCO, CA 94116                               P‐0014628 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRACHTMAN, ELIZABETH B.
TRACHTMAN, LOUIS
79 VERSAILLES BOULEVARD
NEW ORLEANS, LA 70125                                 P‐0014629 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANKS, SPARKS E.
1294 CR 194
BLUE SPRINGS, MS 38828                                P‐0014630 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BOOTHE, TOMMY
622 GREENE DRIVE
LEBANON, TN 37087                                    P‐0014631 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROMERO, GUILLERMO
1740 NORTH SANTA FE AVE SPC#1
COMPTON, CA 90221                                    P‐0014632 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EAGLETON, ROGER D.
851 BURLWAY RD
SUITE 705
BURLINGAME, CA 94010                                 P‐0014633 11/3/2017      TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
BRUNSON, ANDREA E.
3632 FM 1404
BIG SANDY, TX 75755                                  P‐0014634 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, GEOFFREY P.
HILL, TARA E.
1629 N ROGERS ST
INDEPENDENCE, MO 64050                               P‐0014635 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICARLO, NICHOLAS
1532 27TH AVENUE NORTH
SAINT PETERSBURG, FL 33704                           P‐0014636 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUNSON, ANDREA E.
3632 FM 1404
BIG SANDY, TX 75755                                  P‐0014637 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORD, YOLANDA
683 CR 169
HOUSTON, MS 38851                                    P‐0014638 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONEILL, JOHN F.
OSHEA, MARY ELLEN
125 SUMMER AVENUE
READING, MA 01867                                    P‐0014639 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COVINGTON, EMILY A.
8445 JUNIPER ST
PRAIRIE VILLAGE, KS 66207                            P‐0014640 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICKINSON, AMY E.
1120 BELLEAU ST
SAN LEANDRO, CA 94579                                P‐0014641 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, XIAOYI
LIU, HUAIZHEN
5698 LINDEN STREET
DUBLIN, CA 94568                                     P‐0014642 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TERRANOVA RANCH INC
TERRANOVA RANCH INC
P.O. BOX 13
HELM, CA 93627‐0013                                  P‐0014643 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIGGINBOTHAM, KIMBERLY
274 SCOGIN DR
TUSCUMBIA, AL 35674                                  P‐0014644 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UBOM, OFFIONG A.
2790 SEQUOIA DRIVE
MACUNGIE, PA 18062                                   P‐0014645 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILAM, GREGORY B.
MILAM, DEBORAH H.
409 MOUNTAIN CREEK TRL
BOERNE, TX 78006                                     P‐0014646 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BAUM, TIMOTHY J.
2711S.E.MARYLAND AVA
TOPEKA, KS 66605                                     P‐0014647 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARDINALE, JOSEPH W.
P.O. BOX 2476
SAN RAMON, CA 94583                                  P‐0014648 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYERS, DOUGLAS E.
2707 OXFORD RD.
LAWRENCE, KS 66049                                   P‐0014649 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANG, PATRICIA J.
3120 WHEELER STREET
AUSTIN, TX 78705                                     P‐0014650 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAVAGE, CORY T.
525 STONEGATE CIR.
SERGEANT BLUFF, IA 51054                             P‐0014651 11/3/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
ONEILL, JOHN F.
OSHEA, MARY ELLEN
125 SUMMER AVENUE
READING, MA 01867                                    P‐0014652 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTELLA, JOHN F.
2484 W GENESEE TPKE
CAMILLUS, NY 13031‐9610                              P‐0014653 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALEK, SARA A.
206 JAVIER DRIVE
DEL RIO, TX 78840                                    P‐0014654 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIVERMORE, JONATHAN M.
LIVERMORE, AUDREY G.
28 CNUDDE DR
BAY CITY, MI 48708                                   P‐0014655 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIMITRUK, DOUGLAS C.
DIMITRUK, JESSICA D.
23341 WAGON TRAIL RD
DIAMOND BAR, CA 91765‐2057                           P‐0014656 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNEDDON, DANIEL J.
106 FAIR OAKS ST APT 4
SAN FRANCISCO, CA 94110                              P‐0014657 11/3/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
IMPERI, SHERYL A.
21318 8TH AVENUE
CONKLIN, MI 49403                                    P‐0014658 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARQUINERO, JOHN T.
2257 GAGE ST
WIXOM, MI 48393                                      P‐0014659 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECKER, SHAWN
DECKER, DANA
84 VIOLA DRIVE
EAST HAMPTON, CT 06424                               P‐0014660 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SABATINO, LYDIA V.
2299 SE MAIZE STREET
PORT ST LUCIE, FL 34952                              P‐0014661 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUEBKE, DAVID F.
2361 E RIDGE RD
BELOIT, WI                                           P‐0014662 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTWRIGHT, RIKKI M.
4737 YORKSHIRE WAY
GRANITE BAY, CA 95746                                P‐0014663 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
ERVIN, CHANTEL K.
2455 68TH AVE
OAKLAND, CA 94605                                  P‐0014664 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELKIN, BRUCE M.
433 SYLVAN AVENUE
SPC 94
MOUNTAIN VIEW, CA 94041                            P‐0014665 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, CAMIELLE A.
208 COOL MEADOWS LN.
RED OAK, TX 75154                                  P‐0014666 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGQUINN, MICHAEL
CHANG, BETTY B.
10570 SILVER SPUR COURT
RANCHO CUCAMONGA, CA 91737                         P‐0014667 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WISLON, JOE O.
524 ANGLEBLUFF DR
DESOTO, TX 75115‐4655                              P‐0014668 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MRAZ, PATRICIA
214 VIA PASQUAL
REDONDO BEACH, CA 90277                            P‐0014669 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, NAN
46858 FERNALD CMN
FREMONT, CA 94539                                  P‐0014670 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERVIN, CHANTEL K.
2455 68TH AVE
OAKLAND, CA 94605                                  P‐0014671 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORTON, DENNIS R.
HORTON, JANET M.
1704 KRUGER DRIVE
MODESTO, CA 95355                                  P‐0014672 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HE, HAORU
1 APPIAN WAY
714‐6
SAN FRANCISCO, CA 94080                            P‐0014673 11/3/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
LIVERMORE, JONATHAN M.
LIVERMORE, AUDREY G.
28 CNUDDE DR
BAY CITY, MI 48708                                 P‐0014674 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, FRANCIS D.
8100 ELPHICK ROAD
SEBASTOPOL, C 95472                                P‐0014675 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARSON, NANCY L.
520 CALIFORNIA BLVD
SUITE 1
NAPA, CA 94559                                     P‐0014676 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, DEBRA A.
375 BUTLER ROAD
PITTSTON TWP, PA 18640                             P‐0014677 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEMAS, IRIS
2912 MARTHA LA
EAGLEVILLE, PA 19403                               P‐0014678 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, LAURA R.
201 OHUA AVE.
T2‐1604
HONOLULU, HI 96815                                 P‐0014679 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PURCIEL, THOMAS R.
3280 FRANK BAILEY LANE
PLACERVILLE, CA 95667                                P‐0014680 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOGELSANG, SUSAN S.
6320 WISCASSET ROAD
BETHESDA, MD 20816                                   P‐0014681 11/3/2017      TK Holdings Inc., et al .                     $550.00                                                                                       $550.00
HOWZE, JUANITA
14 OLD HIGHWAY 45 LOOP RD
WAYNESBORO, MS 39367                                 P‐0014682 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAW, VERONICA
100 PERIDOT PL
COLLEGE PARK, GA 30349                               P‐0014683 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONE, JANICE M.
2226 ANDREO AVENUE
TORRANCE, CA 90501                                   P‐0014684 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIMMER‐WILLIAMS, YOLANDA E.
6822 STABLETON LANE
HOUSTON, TX 77049                                    P‐0014685 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMOS, JULIE
465 HEALDSBURG AVENUE
HEALDSBURG, CA 95448                                 P‐0014686 11/3/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
MARTINEAU, CRAIG J.
MARTINEAU, BECKY J.
37 4TH ST
PROCTOR, MN 55810‐2213                               P‐0014687 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, TERRY W.
HALL, PATRICIA R.
5815 E. PARAPET ST
LONG BEACH, CA 90808                                 P‐0014688 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRINGMAN, GLEN A.
517 BAUMAN
CLAWSON, MI 48017                                    P‐0014689 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, ANTHONY K.
10108 LITTLE POND DRIVE
OKLAHOMA CITY, OK 73162‐6834                         P‐0014690 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, THOMAS J.
THOMAS, ROSEMARY M.
1926 CORNWALLIS PKWY
CAPE CORAL, FL 33904‐4065                            P‐0014691 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROSSMANN, JANECE E.
1903 PENN MAR AVENUE
SOUTH EL MONTE, CA 91733                             P‐0014692 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEVOR, DENISE
54 WAIAPO ST
KIHEI, HI 96753                                      P‐0014693 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROOSMALEN, ONNA M.
2397 UNITY AVE N
GOLDEN VALLEY, MN 55422                              P‐0014694 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUFFY, KENNETH E.
DUFFY, KIMBERLY A.
3536 DIVISADERO ST
SAN FRANCISCO, CA 94123                              P‐0014695 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUU, ANDY
1949 WONDERAMA DRIVE
SAN JOSE, CA 95148                                   P‐0014696 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
NEVIN, TOM D.
23033 VIOLET
SCS, MI 48082                                       P‐0014697 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEMAN, TIARA P.
3721 W 138TH ST
CLEVELAND, OH 44111                                 P‐0014698 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PROUTY, TESS C.
170 S ELIOT AVE
RUSH CITY, MN 55069                                 P‐0014699 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, MOLLY
1925 SHENANDOAH COURT
UNIT A
PLYMOUTH, MN 55447                                  P‐0014700 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAY, JOHN S.
230 HUERTA PL
DAVIS
, CA 95616                                          P‐0014701 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPMAN, MARGARET E.
500 WEST MIDDLEFIELD
APT. #172
MOUNTAIN VIEW, CA 94043                             P‐0014702 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAIGER, IRVING L.
TRAIGER, KAREN B.
1031 MOUNT DARWIN DRIVE
SAN JOSE, CA 95120                                  P‐0014703 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDIN, EDWARD
GOLDIN, JUDY
1509 COVENTRY RD
SCHAUMBURG, IL 60195                                P‐0014704 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JOHN W.
2111 ‐ 15TH AVE S
UNIT B
SEATTLE, WA 98144                                   P‐0014705 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOOSEY, JACOB M.
170 S ELIOT AVE
RUSH CITY, MN 55069                                 P‐0014706 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, ROGER
GAR INVESTMENTS CORP.
4949 GENESTA AVENUE
UNIT 114
ENCINO, CA 91316                                    P‐0014707 11/3/2017      TK Holdings Inc., et al .                    $1,200.00                                                                                    $1,200.00
CANE, THOMAS E.
CANE, SANDRA M.
3834 N DEER LAKE RD
LOON LAKE, WA 99148                                 P‐0014708 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, JEAN V.
W10014 HUGGINS ROAD
ANTIGO, WI 54409                                    P‐0014709 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCMURRAY, BOBBIE N.
3512 CHARLESTON COURT
DECATUR, GA 30034                                   P‐0014710 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASQUINI, RICHARD M.
107 N. REINO ROAD
#3339
NEWBURY PARK, CA 91320                              P‐0014711 11/3/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RETTLER, KEITH J.
RETTLER, JENIFER T.
1248 E MEADOW GROVE BLVD
APPLETON, WI 54915                                   P‐0014712 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VARGO, DAVID L.
NO ADDRESS PROVIDED
                                                     P‐0014713 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BET‐EIVAZI, JOSEPH A.
73 GOLF AVENUE
METHUEN, MA 01844                                    P‐0014714 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLANNERY, JAMES P.
FLANNERY, KELLY L.
12206 COLIMA RD
WHITTIER, CA 90604                                   P‐0014715 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VARGO, DAVID L.
9749 EVERBLOOM WAY
SACRAMENTO, CA 95829                                 P‐0014716 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEMPSTEAD, SUSAN K.
HEMPSTEAD, SUSAN
DU PONT
340 ST FRANCIS BLVD
SAN FRANCISCO, CA 94127                              P‐0014717 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUARCOO, PAULINE
245 N E 191 ST. # 3021
MIAMI, FL 33179                                      P‐0014718 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VARGO, MITAECHA
9749 EVERBLOOM WAY
SACRAMENTO, CA 95829                                 P‐0014719 11/3/2017      TK Holdings Inc., et al .                     $140.00                                                                                       $140.00
JONES, DONNA M.
3812 WOODBURY
MONTGOMERY, AL 36110                                 P‐0014720 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARVIN, KAREN
20921 COMMUNITY ST. UNIT 16
CANOGA PARK, CA 91304                                P‐0014721 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VARGO, DAVID L.
9749 EVERBLOOM WAY
SACRAMENTO, CA 95829                                 P‐0014722 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SRIPIPATANA, CANDIE
495 SOUTH MADISON AVE
UNIT A
PASADENA, CA 91101                                   P‐0014723 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOON, JEREMY D.
2844 MOORES MILL ROAD
TEMPLE, TX 76504                                     P‐0014724 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, SCOTT C.
1365 SOUTH BLVD.
EVANSTON, IL 60202                                   P‐0014725 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILLMER, KENT B.
202 NUTMEG LANE
JENNINGS, LA 70546                                   P‐0014726 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUM, TIMOTHY J.
2711S.E.MARYLAND AVE
TOPEKA, KS 66605                                     P‐0014727 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                          Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
ALESI, MARIANO P.
ALESI, DIANE
302 CALLE BONITA
ESCONDIDO, CA 92029                                  P‐0014728 11/3/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                     $5,000.00
ALVAREZ, VALENTIN E.
7916 E COMMERCIAL ST
BROKEN ARROW, OK 74014                               P‐0014729 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
GENTRY, LARRY V.
2324 MARKET STREET APT 4
SAN FRANCISCO, CA 94114                              P‐0014730 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
MCVEY, ADA
4278 BECKY SUE CV
OLIVE BRANCH, MS 38654                               P‐0014731 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SOLORZANO, TOM E.
3507 ORINDA DRIVE
SAN MATEO, CA 94403                                  P‐0014732 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
STRAIGHT, HARRY F.
19599 COYOTE LAKES PKWY
SURPRISE AZ 85378
                                                     P‐0014733 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SIMMONS, DENNIS G.
SIMMONS, PATRICIA A.
2114 LAWRENCE RD.
MANHATTAN, KS 66502                                  P‐0014734 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ALVAREZ, VALENTIN E.
7916 E COMMERCIAL ST
BROKEN ARROW, OK 74014                               P‐0014735 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ABU BAKIR, JOAN M.
2326 N ARROYO BLVD
ALTADENA, CA 91001                                   P‐0014736 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
JONES, MICHELLE
405 BIGWOOD RD
LENA
LENA, MS 39094                                       P‐0014737 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ROMERO, GUILLERMO
1740 NORTH SANTA FE AVE
COMPTON, CA 90221                                    P‐0014738 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ANDERSON, AARON E.
12947 MONROVIA ST.
OVERLAND PARK, KS 66213                              P‐0014739 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
JACKSON, THOMAS F.
129 STRINGHAM ROAD
APT 1
LAGRANGEVILLE, NY 12540                              P‐0014740 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
PEMBERTON, RODNEY B.
PEMBERTON, CARI E.
5605 W 129TH ST
OVERLAND PARK, KS 66209                              P‐0014741 11/3/2017      TK Holdings Inc., et al .                 $1,000,000.00                                                                                $1,000,000.00
LAW, FRAN
943 JONES MILL RD
CARTERSVILLE, GA 30120                               P‐0014742 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
JACKSON, THOMAS F.
129 STRINGHAM ROAD
APT 1
LAGRANGEVILLE, NY 12540                              P‐0014743 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
NACCARATO, TINA M.
59 ORSLAND LANE
WEST HURLEY, NY 12491                                P‐0014744 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHERNE, KENNETH J.
2729 PIN OAK DRIVE
MARRERO, LA 70072                                    P‐0014745 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENNA, GIUSTINO
PENNA, JANET
15 ROCKLEDGE DRIVE
AVON, CT 06001                                       P‐0014746 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKS, DEREK A.
PARKS, BRITTANY N.
1924 HIGHGROVE RD
HARRISON, AR 72601                                   P‐0014747 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBSON, JAMES
15695 TETLEY STREET
HACIENDA HEIGHTS, CA 91745                           P‐0014748 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAMER, CARLETON R.
95‐209 PAHIKU PLACE
MILILANI, HI 96789                                   P‐0014749 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAI, ZHENG
ZHANG, GUOLIANG
43 PALISADES PKWY
OAK RIDGE, TN 37830                                  P‐0014750 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLETTI, ROBERT A.
9202 BAY CLUB COURT
TAMPA, FL 33607                                      P‐0014751 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROESSER, BONITA L.
KLEINER, JOHN J.
84‐575 KILI DRIVE
#62
WAIANAE, HI 96792                                    P‐0014752 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWNING, RONALD W.
7748 HACKNEY CIRCLE
MAINEVILLE, OH 45039                                 P‐0014753 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIPOLLA, JAMES J.
CIPOLLA, SANDRA L.
1111 GRANITE ROAD
CRESCENT CITY, CA 95531                              P‐0014754 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALVERSON, DAWN L.
8084 SOUTH LAKE DRIVE
APT C
DUBLIN, CA 94568                                     P‐0014755 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUBIN, PHILIP J.
776 E LONGVIEW DRIVE
HIDEOUT, UT 84036                                    P‐0014756 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, JAMES
TAYLOR, JAMES
6621 SHKAMARAYU PLACE
COCHITI LAKE, NM 87083                               P‐0014757 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEATY, JASON
4405 COLONY VIEW DRIVE
LAKE WORTH, FL 33463                                 P‐0014758 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
DONG, KRYSTAL Y.
LEM, LEWISON L.
605 E 23RD ST APT 4
OAKLAND, CA 94606                                     P‐0014759 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERICKSON, ALAN J.
1519 32ND AVE S
SEATTLE, WA 98144‐3917                                P‐0014760 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONG, KRYSTAL Y.
605 E 23RD ST APT 4
OAKLAND, CA 94606                                     P‐0014761 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUBREY‐DEBRUYNE, NADIA
17548 CANVASBACK
CLINTON TOWNSHIP, MI 48038                            P‐0014762 11/3/2017      TK Holdings Inc., et al .                     $640.00                                                                                       $640.00
HAATVEDT, ROXANNE
22284 BLOOMINGDALE ROAD
PALO CEDRO, CA 96073                                  P‐0014763 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGES, MEGAN G.
4474 WINROCK LANE
ROCK HILL, SC 29732                                   P‐0014764 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALVERSON, DAWN L.
8084 SOUTH LAKE DRIVE
APT C
DUBLIN, CA 94568                                      P‐0014765 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, ROBERT G.
6917 LINDERO LN
RANCHO MURIETA, CA 95683                              P‐0014766 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARADIMAS, VLADA
530 FAIRVIEW AVE
APT 12
LOS ANGELES, CALIFORNIA 91007                         P‐0014767 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELANGE, KURT F.
8541 BASS LAKE DR
NEW PORT RICHEY, FL 34654                             P‐0014768 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKENZIE, MARK A.
MCKENZIE, CAROLYN A.
16933 VAIL DRIVE
SOUTHGATE, MI 48195                                   P‐0014769 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONGORA, GUADALUPE
13905 WALNUT WAY
CLEARLAKE OAKS, CA 95423                              P‐0014770 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELAPP, STEPHEN D.
DELAPP, MAE A.
907 W. CALIFORNIA AVE.
MILL VALLEY, CA 94941                                 P‐0014771 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOGEL, TACARA
75 HARVEST PARK CT APT 245
CHICO, CA 95926                                       P‐0014772 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELAM, MICHAEL P.
ELAM, JUDITH E.
23 POAILANI PLACE
KIHEI, HI 96753                                       P‐0014773 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, DONALD R.
8314 HERTS ROAD
SPRING, TX 77379                                      P‐0014774 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FERGUSON, PHILLIP P.
10241 HAMILTON GLEN
JONESBORO, GA 30238                                  P‐0014775 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANE, WILLIAM A.
WILLIAM A LANE
2596 WESTERHAM WAY
THOMPSON STATION, TN 37179                           P‐0014776 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIEFER, JOHN R.
290 NORTH ALMENAR DRIVE
GREENBRAE, CA 94904                                  P‐0014777 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BILLINGS, BRENDA
BILLINGS, BRENDA
301 EXECUTIVE PARK BOULEVARD
UNIT 204
SAN FRANCISCO, CA 94134                              P‐0014778 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILDRETH, CASEY L.
HILDRETH, ELIAS L.
810 ANDERSON ROAD
DULUTH, MN 55811                                     P‐0014779 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FULK, CHANCE C.
FULK, TIFFINY
883 PARAMOUNT WAY
REDDING, CA 96003                                    P‐0014780 11/3/2017      TK Holdings Inc., et al .                    $1,200.00                                                                                    $1,200.00
DIALLO, LAVONNE N.
5002 WOODHILL DRIVE
HYATTSVILLE, MD 2085                                 P‐0014781 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCBURNEY, DONNA J.
2422 VALDEZ CT.
ANTIOCH, CA 94509                                    P‐0014782 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLETCHER, ERIC M.
1137 WALPERT STREET #17
HAYWARD, CA 94541                                    P‐0014783 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, JESUS
PEREZ, RACHEL C.
1685 COLUMBINE VILLAGE DR.
WOODLAND PARK, CO 80863                              P‐0014784 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROSSMANN, JANECE E.
1903 PENN MAR AVENUE
SOUTH EL MONTE, CA 91733                             P‐0014785 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIEFER, JOHN R.
290 NORTH ALMENAR DRIVE
GREENBRAE, CA 94904                                  P‐0014786 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROWLAND, HEATHER M.
ROWLAND, JAMES E.
431 BONNIE JEAN CT
ANCHORAGE, AK 99515                                  P‐0014787 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCPEEK, ELIZABETH C.
ELIZABETH MCPEEK
2280 FRANKLIN CANYON RD
MARTINEZ, CA 94553                                   P‐0014788 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES MCCLOUD, LESLIE M.
2309 WABASH AVE
GARY, IN 46404                                       P‐0014789 11/3/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
DEGUZMAN, YOONA
2362 HUNTERS SQUARE COURT
RESTON, VA 20191                                     P‐0014790 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
                                                                                           Page 1211 of 3875
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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
THORNER, TODD D.
1537 VIA ROMERO
ALAMO, CA 94507                                        P‐0014791 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMBEK, IAN D.
J‐HANNA, ARIANN
3265 N LITTLE BROOK PL
TUCSON, AZ 85712                                       P‐0014792 11/3/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WONG, MARIO F.
9404 BLUE MOUNTAIN WAY
SACRAMENTO, CA 95829                                   P‐0014793 11/3/2017      TK Holdings Inc., et al .                    $3,600.00                                                                                    $3,600.00
HARTER, LOIS
CROSS, ANNA M.
4986 LOCH LEVEN DR.
POLLOCK PINES, CA 95726                                P‐0014794 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELAM, MICHAEL P.
ELAM, JUDITH E.
23 POAILANI PLACE
KIHEI, HI 96753                                        P‐0014795 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVILA, DIANA
AVILA, GABRIEL
1725 CRIPPLE CREEK DR UNIT 2
CHULA VISTA, CA 91915                                  P‐0014796 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, CAROLYN
THOMPSON, WILLIE D.
225 SHEARWATER DR
RIO VISTA, CA 94571                                    P‐0014797 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURG, IAN
45195 YORKSHIRE DR.
NOVI, MI 48375                                         P‐0014798 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHALL, DAVID R.
312 GOLDENEYE CT
HAVRE DE GRACE, MD 21078                               P‐0014799 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAILO, TANYA
1442 VICTORIA ST. APT 207
HONOLULU, HI 96822                                     P‐0014800 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCBURNEY, CRAIG A.
2422 VALDEZ CT
ANTIOCH, CA 94509                                      P‐0014801 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAIR, STEPHEN C.
FAIR, JANET A.
5145 CHURCHWOOD DRIVE
OAK PARK, CA 91377                                     P‐0014802 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROSSMANN, JANECE E.
12025 HUMBOLDT AVENUE
CHINO, CA 91710                                        P‐0014803 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BINKLEY, LAWRENCE L.
BINKLEY, KAREN
6420 E SHIRE WAY
LONG BEACH, CA 90815                                   P‐0014804 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOVANOVSKI, NICOLE E.
JOVANOVSKI, ROBERT
13836 WOOD DUCK CIRCLE
LAKEWOOD RANCH, FL 34202                               P‐0014805 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
REIST, MICHAEL W.
REIST, JENNIFER J.
322 E 4TH AVE
CHENEY, KS 67025                                      P‐0014806 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEE, WALLACE
46078 GALWAY DR
NOVI, MI 48374                                        P‐0014807 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DI LECCE, ANDREA M.
3841 NOLAN TERRACE
FREMONT, CA 94538                                     P‐0014808 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHROEDER, ERRIN K.
1361 CARRIGAN LANE
UKIAH, CA 95482                                       P‐0014809 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAJALA, FREDERICK M.
RAJALA, JANET L.
6405 N MOORE ST.
SPOKANE, WA 99208                                     P‐0014810 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, EBONY D.
5811 KINGMAN AVE
UNIT B
BUENA PARK, CA 90621                                  P‐0014811 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAYEUR, L MICHAEL
110 BLUEBELL DRIVE
MECHANICSBURG, PA 17050                               P‐0014812 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, TANYA
226 W PARKWOOD AVE
SPRINGFIELD, OH 45506                                 P‐0014813 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZEBLON, CHARLES
NO ADDRESS PROVIDED
                                                      P‐0014814 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELCH, JAMES T.
13 MALVERN LN
BELLA VISTA, AR 72714                                 P‐0014815 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, JOSEPHINE
2439 17TH AVE
SAN FRANCISCO, CA 94116                               P‐0014816 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEIS, DANIEL J.
5354 RADELE CT
FREMONT, CA 94536                                     P‐0014817 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAILLOUET, GEORGE S.
CAILLOUET, PATRICIA M.
1915 BLUE HAVEN DRIVE
NEW IBERIA, LA 70563‐2128                             P‐0014818 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONAHAN, KARA L.
327 BOYD AVE
TAKOMA PARK, MD 20912                                 P‐0014819 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRY, DENNIS M.
BARRY, MARTHA S.
1230 SANTA FE
HERCULES, CA 94547                                    P‐0014820 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANGUS, JONATHAN H.
6900 E GREEN LAKE WAY N 354
SEATTLE, WA 98115                                     P‐0014821 11/3/2017      TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
YATES, ROBERT L.
2284 SEVEN LAKES SOUTH
SEVEN LAKES, NC 27376‐9616                            P‐0014822 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
NELSON, MICHAEL S.
22 MANSFIELD RD
LANSDOWNE, PA 19050                                P‐0014823 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADHIDARMA PUTRI, MERRYL A.
3170 BUCKINGHAM ROAD
GLENDALE, CA 91206                                 P‐0014824 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANGULO, GEORGE
861 BASETDALE AVE
WHITTIER, CA 90601                                 P‐0014825 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DERSHEM, HOLLY B.
1204 EAGLES REST COURT
SPRING HILL, TN 37174                              P‐0014826 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARSON, TANYA J.
LARSON, NATHAN A.
5168 YANK CT.
ARVADA, CO 80002                                   P‐0014827 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELLS, WENDY F.
4303 WHITSETT AVENUE
#7
STUDIO CITY, CA 91604                              P‐0014828 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOTELLO, MICHAEL J.
2520 E. EVANS AVE
PUEBLO, CO 81004                                   P‐0014829 11/3/2017      TK Holdings Inc., et al .                       $50.00                                                                                       $50.00
ROMERO, ALAN J.
3170 BUCKINGHAM ROAD
GLENDALE, CA 91206                                 P‐0014830 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, JACQUE
10812 BARDSTOWN WOODS BLVD
LOUISVILLE, KY 40291                               P‐0014831 11/3/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HENSON, ROBERT C.
HENSON, VILMA C.
1700 GAIL AVENUE
ALBANY, GA 31707                                   P‐0014832 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROMERO, ALAN J.
3170 BUCKINGHAM ROAD
GLENDALE, CA 91206                                 P‐0014833 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINSEY, OLLIE
3185 CONTRA LOMA BLVD
APT. 105
ANTIOCH, CA 94509                                  P‐0014834 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARSON, NATHAN A.
LARSON, TANYA J.
5168 YANK CT.
ARVADA, CO 80002                                   P‐0014835 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, ERIK L.
2730 PACHECO STREET
SAN FRANCISCO, CA 94116                            P‐0014836 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, MICHELLE B.
115 POLIFLY ROAD APT 2H
HACKENSACK, NJ 07601                               P‐0014837 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAULK, ANNA M.
151 LITTLE ROCKY CREEK RD
DANVILLE, GA 31017                                 P‐0014838 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, ERIK L.
2730 PACHECO STREET
SAN FRANCISCO, CA 94116                            P‐0014839 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HALLSON, MATTHEW H.
HALLSON, JUDY R.
26460 COURT LANE #22
LEWISTON, ID 83501                                   P‐0014840 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESCHENES, LINDSEY
3505 KEMPTON WAY
APT. 12A
OAKLAND, CA 94611                                    P‐0014841 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, WAYNE J.
2261 MILTON ST
NEW ORLEANS, LA 70122                                P‐0014842 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMESON, PETER C.
15 N 17TH ST.
APT. C
RICHMOND, VA 23219                                   P‐0014843 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMS, CATHERINE
10575 WILLOW RD
LOCH LOMOND, CA 95461                                P‐0014844 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, MICHELLE B.
115 POLIFLY ROAD APT 2H
HACKENSACK, NJ 07601                                 P‐0014845 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARSON, NATHAN A.
LARSON, TANYA J.
5168 YANK CT.
ARVADA, CO 80002                                     P‐0014846 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TENNESON, WILLIAM B.
TENNESON, TRACI K.
1915 BLENHEIM DR. E
SEATTLE, WA 98112                                    P‐0014847 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERMAN, JONATHAN
FERMAN, JONATHAN
309 HOWARD AVE
BURLINGAME, CA 94010                                 P‐0014848 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHMIT, TINKY
3457 BUENA VISTA AVE.
GLENDALE, CA 91208                                   P‐0014849 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEYDA, MARC A.
3505 KEMPTON WAY
APT. 12A
OAKLAND, CA 95611                                    P‐0014850 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAI, ZHENG
ZHANG, GUOLIANG
43 PALISADES PKWY
OAK RIDGE, TN 37830                                  P‐0014851 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
URENA, ARIANA I.
19530 HEMMINGWAY ST
RESEDA, CA 91335                                     P‐0014852 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACFARLANE, JAMES R.
2195 WEISS WAY
ESCONDIDO, CA 92026                                  P‐0014853 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACK, JAMES R.
2519 SOUTH CLAYTON STREET
DENVER, CO 80210‐6114                                P‐0014854 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEINER, PAUL A.
9 CYPRESS CT.
SAN CARLOS, CA 94070                                 P‐0014855 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RUNYON, KAREN
194 CHESHIRE ROAD
CLARKSVILLE, TN 37043                                P‐0014856 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAJUBUTU, JOHN O.
1450 NORTH DEWITT AVENUE
CLOVIS, CA 93619                                     P‐0014857 11/3/2017      TK Holdings Inc., et al .                   $22,000.00                                                                                   $22,000.00
KARNES, LINDA D.
131 ARCADIA DRIVE
GRASS VALLEY, CA 95945                               P‐0014858 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LLAMAS, DOMINIC
2413 SE BURTON
TOPEKA, KS 66605                                     P‐0014859 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUNYON, KAREN
194 CHESHIRE ROAD
CLARKSVILLE, TN 37043                                P‐0014860 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATSUO, REIKO M.
511 THOMPSON AVE APT B
MOUNTAIN VIEW, CA 94043                              P‐0014861 11/3/2017      TK Holdings Inc., et al .                    $1,200.00                                                                                    $1,200.00
RAMIREZ ZAVALA, EVENINA
6320 N CALISPEL ST
APT 23
SPOKANE, WA 99208                                    P‐0014862 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHOKHER, USMAN
13 CELESTIAL CT
ROSEVILLE, CA 95678                                  P‐0014863 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORDANO, FE E.
38230 DIXON CT
FREMONT, CA 94536                                    P‐0014864 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUTSON, BRENDA D.
352 E. DAVIS ST
JACKSON, MS 39202                                    P‐0014865 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGANN, CLAUDIA M.
MAGANN, CARL E.
425 EAST SAN FRANCISICO AVE.
WILLITS, CA 95490                                    P‐0014866 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORDANO, FE E.
38230 DIXON CT.
FREMONT, CA 94536                                    P‐0014867 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABASCAL, JORGE E.
1600 MONROE AVENUE, APT #12
ROCHESTER, NY 14618                                  P‐0014868 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWEETLAND, MARK R.
211 STONE VALLEY WAY
ALAMO, CA 94507                                      P‐0014869 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORRIEO, MELANIE A.
4923 SHADOWFALLS DRIVE
MARTINEZ, CA 94553                                   P‐0014870 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARISI, MARK A.
1624 S PALM AVE
PALATKA, FL 32177                                    P‐0014871 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CELLA, JEFFREY A.
1020 MACUNGIE AVENUE
EMMAUS, PA 18049                                     P‐0014872 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTIANSEN, ANNA M.
32161 SENECA ST
HAYWARD, CA 94544                                    P‐0014873 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
YORKMAN, MARQUETTA
YORKMAN, MARK
47085 SORREL DR
LEXINGTON PARK, MD 20653                              P‐0014874 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARISI, KRISTEN L.
1624 S PALM AVE
PALATKA, FL 32177                                     P‐0014875 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLALOVOS, MELISSA A.
32161 SENECA ST
HAYWARD, CA 94544                                     P‐0014876 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENGLISH, LON D.
ENGLISH, RUTH E.
1650 KROUSE RD.
OWOSSO, MI 48867                                      P‐0014877 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANNEY, WALTER D.
1604 PALM DR.
FORT COLLINS, CO 80526                                P‐0014878 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATNESKY, TODD A.
12924 CHAMPLAIN DRIVE
MANASSAS, VA 20112                                    P‐0014879 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIDDLE, ROBERT G.
34551 PRATT RD.
MEMPHIS, MI 48041                                     P‐0014880 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINN, PERRY D.
WINN, LORI A.
P.O. BOX 342
BONO, AR 72416                                        P‐0014881 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, ALISA J.
WILLIAMS, AUSTIN D.
7091 KINGCREST COVE
OLIVE BRANCH, MS 38654                                P‐0014882 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUTSON, BRENDA D.
352 E. DAVIS ST
352 E. DAVIS ST
JACKSON, MS 39202                                     P‐0014883 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINN, PERRY D.
P.O. BOX 342
BONO, AR 72416                                        P‐0014884 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELANEY, MICHAEL J.
23323 RAMAL RD.
SONOMA, CA 95476                                      P‐0014885 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARRINGTON, RALPH W.
892 N IMPERIAL AVE, ONTARIO
ONTARIO, CA 91764                                     P‐0014886 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRISKELL, LONNIE
1172 WEEKS ROAD
LUCEDALE, MS 39452                                    P‐0014887 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINN, LORI A.
P.O. BOX 342
BONO, AR 72416                                        P‐0014888 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSHOWOLE, SOLOMON
5248 KATHRYN DR.
GRAND PRAIRIE, TX 75052                               P‐0014889 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIES, DAVID J.
3719 WATERLOO PL
WILLIAMSBURG, VA 23188                                P‐0014890 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WU, JIAN SHENG
434 23RD AVE, APT 102
SAN FRANCISCO, CA 94121                              P‐0014891 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CINKER, WILLIAM E.
3954 BRANDON ROAD
PITTSBURGH, PA 15212                                 P‐0014892 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYES, ESMERALDO S.
2221 CORTE ANACAPA
CHULA VISTA, CA 91914‐4469                           P‐0014893 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAWKINS, PENNIEMARIE
28675 FRANKLIN RD
APT 517
SOUTHFIELD, MI 48034                                 P‐0014894 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EGGERT, JOSEPH J.
195 HOBBS HOLE LANE
TAPPAHANNOCK, VA 22506                               P‐0014895 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRISON, DONALD F.
2060 SUTTER ST, SUITE 201
SAN FRANCISCO, CA 94115                              P‐0014896 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, YU
3414 MONTEREY ST
SAN MATEO, CA 94403                                  P‐0014897 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, DIANNE A.
MARTIN, RUSSCHAINE R.
1231 HAMPTON BLVD
NORTH LAUDERDALE, FL 33068                           P‐0014898 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, YU
3414 MONTEREY ST
SAN MATEO, CA 9403                                   P‐0014899 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHENS, ANGELA M.
P.O. BOX 801
LAKEWOOD, CA 90714                                   P‐0014900 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIS, MILES T.
570 STILSON CANYON RD
CHICO, CA 95928                                      P‐0014901 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYES, ESMERALDO S.
2221 CORTE ANACAPA
CHULA VISTA, CA 91914‐4469                           P‐0014902 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, JULIE
LONDON, ALI
P.O. BOX 18289
BEVERLY HILLS, CA 90209                              P‐0014903 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHROEDER, ROBERT L.
SCHROEDER, MARY L.
471 WOODLAND HILLS DR
ESCONDIDO, CA 92029                                  P‐0014904 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERWIN, CINDY
6032 TIMBERLEAF WAY
ORANGEVALE, CA 95662                                 P‐0014905 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LISKOW, NELSON J.
3289 CHAPARRAL ROAD
CANON CITY, CO 81212                                 P‐0014906 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DHUNGEL, BINOD K.
7502 W AINSLIE STREET
HARWOOD HEIGHTS, IL 60706                            P‐0014907 11/3/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TINDALL, CRAIG D.
TINDALL, DEE
1906 SCARLETT DRIVE
MURFREESBORO, TN 37130                               P‐0014908 11/3/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
AYALA, FRANCES V.
7801 SUGAR BROOK CT
ORLANDO, FL 32819                                    P‐0014909 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, CHINA S.
9112 OVERLOOK DR.
JONESBORO, GA 30238                                  P‐0014910 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLBERT, CHRISTINE
2250 LAKE POINTE DR.
UNIT 604
LAWRENCE, KS 66049                                   P‐0014911 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOFFE, TRACY A.
5673 LAKE MURRAY BL
UNIT B
LA MESA, CA 91942                                    P‐0014912 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIS, MILES T.
WILLIS, NICOLE C.
570 STILSON CANYON RD
CHICO, CA 95928                                      P‐0014913 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIGRAZIA, THOMAS
DIGRAZIA, LOUISA
326 LALA PLACE
KAILUA, HI 96734                                     P‐0014914 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNUTSON, DANIEL T.
410 GROVELAND AVE
APT 1505
MINNEAPOLIS, MN 55403                                P‐0014915 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICARDO, STEPHANIE
2 PARKVIEW CIRCLE
CORTE MADERA, CA 94925                               P‐0014916 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIS, MILES T.
570 STILSON CANYON RD
CHICO, CA 95928                                      P‐0014917 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, CRAIG T.
CLARK, LINDA S.
1965 HELIX STREET
SPRING VALLEY, CA 91977                              P‐0014918 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEPLINGER, BRYN D.
267 E TAYLOR ST
HUNTINGTON, IN 46750                                 P‐0014919 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, TRISH I.
WILLIAMS, TRISH I.
59 ELKS ROAD
WELLSBURG                                            P‐0014920 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUDSON, MATHEW A.
118 OLIVE AVENUE
UPLAND, CA 91786                                     P‐0014921 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCTERNAN, ELIZABETH M.
MCTERNAN, MICHAEL
3081 HEADWATER DRIVE
FORT COLLINS, CO                                     P‐0014922 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PEREIRA, SYLVIA M.
PEREIRA, SYLVIA M.
SYLVIA MARIE PEREIRA
3343 BARON ST.
MADERA, CA 93637                                     P‐0014923 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASQUINI, JESSICA R.
24201 ARNOLD DR.
SONOMA, CA 95476                                     P‐0014924 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAI, GINGER K.
853 PATRICIA WAY
SAN RAFAEL, CA 94903                                 P‐0014925 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOTINELLI, DENISE M.
1525 AVIATION BLVD
#A‐175
REDONDO BEACH, CA 90278                              P‐0014926 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACOUR, AIMEE L.
307 MARGUERITE BOULECARD
LAFAYETTE, LA 70503                                  P‐0014927 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILCOX, BRYCE J.
6511 W KITSAP
SPOKANE, WA 99208                                    P‐0014928 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYRICK, CHRISTINE F.
54‐020 KUKUNA RD
HAUULA, HI 96717                                     P‐0014929 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPROUT, MARK L.
2009 LAURA LANE
HARRISBURG, PA 17110                                 P‐0014930 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBBONS, ANTHONY T.
GIBBONS, TASHA
12 PICKWICK LN
MALVERN, PA 19355                                    P‐0014931 11/3/2017      TK Holdings Inc., et al .                     $600.00                                                                                       $600.00
AYALA, FRANCES V.
7801 SUGAR BROOK CT.
ORLANDO, FL 32819                                    P‐0014932 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPROUT, RACHEL C.
2009 LAURA LANE
HARRISBURG, PA 17110                                 P‐0014933 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYES, ESMERALDO S.
2221 CORTE ANACAPA
CHULA VISTA, CA 91914‐4469                           P‐0014934 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PILAKOWSKI, SHAUNAH‐ANN K.
95‐989 KELAKELA STREET
MILILANI, HI 96789‐5959                              P‐0014935 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THORN, BRANDICE A.
2437 PRINCESS LANE
MARIETTA, GA 30067                                   P‐0014936 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, PAK C.
LEE, PO K.
6701 CHURCH STREET
MORTON GROVE, IL 60053‐2306                          P‐0014937 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORFORD, SANDY D.
MORFORD, KELLY S.
30308 MALLORCA PLACE
CASTAIC, CA 91384                                    P‐0014938 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
PADILLA, BRENDA N.
PADILLA, ERIC D.
8725 LONGSPUR WAY
ANTELOPE, CA 95843                                    P‐0014939 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAHENA, ANGELICA J.
3221 BANCROFT DRIVE SPC 43
SPRING VALLEY, CA 91977                               P‐0014940 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOGRIN, JOSEPH G.
6324 WOODSON DR
MISSION, KS 66202                                     P‐0014941 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYES, ESMERALDO S.
2221 CORTE ANACAPA
CHULA VISTA, CA 91914‐4469                            P‐0014942 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, VINODKUMAR
2209 CEDAR GARDEN DR
ORLANDO, FL 32824                                     P‐0014943 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORMANN, KEVIN A.
1875 WARRIOR DRIVE
MENDOTA HEIGHTS, MN 55118                             P‐0014944 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEAN, MARCO S.
USABIAGA ZABALET, MILENA
807 ULLOA APT#2
SAN FRANCISCO, CA 94127                               P‐0014945 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHOEMAKER, DEAN A.
664 N. DUFFY WAY
GILBERT, AZ 85233                                     P‐0014946 11/3/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
CUMMINGS, KEITH R.
CUMMINGS, MARY E.
22620 W. 50TH STREET
SHAWNEE, KS 66226                                     P‐0014947 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TENNEFOSS, MICHAEL R.
400 CONIL WAY
PORTOLA VALLEY, CA 94028‐7407                         P‐0014948 11/4/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
JEROME, JEFFREY R.
2 EKLUND BLVD
NESCONSET, NY 11767                                   P‐0014949 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, KRISTINA L.
3619 MARTIN ROAD
BEAVERTON, MI 48612                                   P‐0014950 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLER, RICHARD A.
WA;LLER, GERI F.
35 TRONADO CT
SONOMA, CA 95476                                      P‐0014951 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, ROBERT G.
837 MARVIN WAY
HAYWARD, CA 94541                                     P‐0014952 11/4/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BAITY, EEAABONITA
434 CRITZ ST
WEST POINT, MS 39773                                  P‐0014953 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOGUN, MAGDALENA
15 WILLIAM STREET
APT 12A
NEW YORK, NY 10005                                    P‐0014954 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAIGOSA, SALVADORE
5905 ADELE AVE
WHITTIER, CA 90606                                    P‐0014955 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
RUSKAMP, TODD W.
8722 DEER RUN STREET
LENEXA, KS 66220                                      P‐0014956 11/4/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GUIGNEAUX, JAMES R.
1019 LADY OF THE LAKE ROAD
SAINT MARTINVILL, LA 70582                            P‐0014957 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKS, TIFFANY D.
8910 FULLER ROAD
CHATTANOOGA, TN 37421                                 P‐0014958 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, BRENDAN P.
2524 RIO DE ORO WAY
SACRAMENTO, CA 95826                                  P‐0014959 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAIGOSA, SALVADOR
5905 ADELE AVE
WHITTIER, CA 90606                                    P‐0014960 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIN, JEFFREY S.
1924 SHERIDAN AVE
#37
ESCONDIDO, CA 92027                                   P‐0014961 11/4/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
YOUNG, JANICE L.
3488 CRYSTAL RIDGE DRIVE
MILFORD, MI 48380                                     P‐0014962 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNAMARA, JOHN
2745 COMSTOCK CIRCLE
BELMONT, CA 94002                                     P‐0014963 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINAM, KAREN L.
1605 E. 22ND ST.
MERCED, CA 95340                                      P‐0014964 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, ROBERT M.
2524 RIO DE ORO WAY
SACRAMENTO, CA 95826                                  P‐0014965 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VARGA, DOLORES J.
31151 N TRAIL DUST DRIVE
SAN TAN VALLEY, AZ 85143                              P‐0014966 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONCHEV, SLAVCHO
3009 ERNST ST
FRANKLIN PARK, IL 60131                               P‐0014967 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOMINGO, ANGELO B.
1858 KEYSTONE STREET
PASADENA, CA 91107                                    P‐0014968 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONCHEV, SLAVCHO M.
3009 ERNST ST
FRANKLIN PARK, IL 60131                               P‐0014969 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUSTER, LURAY A.
325 S 6TH STREET
CHOWCHILLA, CA 93610                                  P‐0014970 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEI, AIPING
2074 WALLINGFORD CIRCLE
WOODBURY, MN 55125                                    P‐0014971 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALONE, WILL E.
VEOLA MALON
6722 VARICK COURT
HOUSTON, TX 77064                                     P‐0014972 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRANE, MICHAEL J.
868 CEDAR PARK AVE
SANTA TERESA, NM 88008                                P‐0014973 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
HUEY, TONY
22 COVE ROAD
ALAMEDA, CA 94502                                     P‐0014974 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EPPERSON, ROBERT L.
4145 S NORFOLK AVE
TULSA, OK 74105‐7606                                  P‐0014975 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, REGINALD L.
B., J. A.
250 DOCDARBYSHIRE RD. STE.1
N/A
MOULTRIE, GA 31788                                    P‐0014976 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOYES, SYLVIA A.
1743 ESCALON AVE
CLOVIS, CA 93611                                      P‐0014977 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAULKNER, CHRISTINA L.
605 2ND AVE SE
GRAVETTE, AR 72736                                    P‐0014978 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARASTAN, DORU
359 VIA PRIMAVERA DR.
SAN JOSE, CA 95111                                    P‐0014979 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BHATIA, ASHISH
1725 WRIGHT AVE
APT 21
MOUNTAIN VIEW, CA 94043                               P‐0014980 11/4/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
DAVIS, ANGELA M.
360 MATTHEWS CORNER RD
BYHALIA, MS 38611                                     P‐0014981 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FROBERG, STEVEN K.
2048 PRIMROSE AVE
SO. PASADENA, CA 91030                                P‐0014982 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUEY, TONY
22 COVE ROAD
ALAMEDA, CA 94502                                     P‐0014983 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUEY, TONY
22 COVE ROAD
ALAMEDA, CA 94502                                     P‐0014984 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUJII, DARRELL
91‐2048 LAAKONA PLACE
EWA BEACH, HI 96706                                   P‐0014985 11/4/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MELNICOFF, MIKE
429 DOBBINS CT
SUISUN CITY, CA 94585                                 P‐0014986 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLAIR, EDWARD M.
911 LOCUST AVE
LONG BEACH, CA 90813                                  P‐0014987 11/4/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
MARIN, HOLLY L.
102 SAW MILL ROAD
WEST MILFORD, NJ 07480                                P‐0014988 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KULBACK, E. S.
KULBACK, RACHELLE L.
940 CLIFF MINE RD
CORAOPOLIS, PA 15108                                  P‐0014989 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KULBACK, E. S.
KULBACK, RACHELLE L.
940 CLIFF MINE RD
CORAOPOLIS, PA 15108                                  P‐0014990 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
                                                                                            Page 1223 of 3875
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MARIN, ANGEL L.
102 SAW MILL ROAD
WEST MILFORD, NJ 07480                               P‐0014991 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLEN, CATHERINE A.
3336 ORANGE RD
VENICE, FL 34293                                     P‐0014992 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUSHNER, MICHAEL J.
KUSHNER, MICHAEL J.
1366 TURNSTONE WAY
SUNNYVALE, CA 94087                                  P‐0014993 11/4/2017      TK Holdings Inc., et al .                    $2,200.00                                                                                    $2,200.00
GUNDAKER, GLEN D.
1388 OLD WILMINGTON PIKE
WEST CHESTER, PA 19382                               P‐0014994 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VEGA, ELENA
500 36TH AVE
#11
SAN FRANCISCO, CA 94121                              P‐0014995 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, MARK R.
25212 CAROLLTON DR
FARMINGTON HILLS, MI 48335                           P‐0014996 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOOREMAN, ROSEMARY M.
53 GROVE ST.
MIDLAND PARK, NJ 07432                               P‐0014997 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
METZGER, CARL F.
NO ADDRESS PROVIDED
                                                     P‐0014998 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABASCAL, JORGE E.
1600 MONROE AVENUE, APT #12
ROCHESTER, NY                                        P‐0014999 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARBEE, MATT
55 BIRCH HILL ROAD
WESTON, CT 06883                                     P‐0015000 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZELISKO, MICHAEL J.
ZELISKO, ANITA M.
39A COMMONWEALTH AVE
SALISBURY, MA 01952                                  P‐0015001 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, LINDA D.
535 BAYSIDE DRIVE
BALTIMORE, MD 21222                                  P‐0015002 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARBEE, MATT M.
55 BIRCH HILL ROAD
WESTON, CT 06883                                     P‐0015003 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUBLITZ, SCOTT B.
2529 WESTMINSTER DR YORK, PA
YORK 17408                                           P‐0015004 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HSIAO, WEN H.
715 E. CALIFORNIA BLVD
PASADENA, CA 91106                                   P‐0015005 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, DEBBIE S.
601 LOXLEY COURT
JACKSONVILLE, NC 28546                               P‐0015006 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRETT, JANELLE M.
5028 RED BAY DRIVE
ORLANDO, FL 32829``                                  P‐0015007 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
GOODWIN, DAVID
23 BARNSLEY CRESENT
MOUNT SINAI,, NY 11766                                P‐0015008 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWNING, REBECCA L.
1390 CANTERBURY WAY
POTOMAC, MD 20854                                     P‐0015009 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MONICA
814 COLONNA LANE
NAZARETH, PA 18064                                    P‐0015010 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODWIN, DAVID
NO ADDRESS PROVIDED
                                                      P‐0015011 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRESHAM, JOHN
18 HAMPTON DRIVE
MOUNT BETHEL, PA 18343                                P‐0015012 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHONSKI, LYNELL H.
MICHONSKI, JAMES M.
540 OVERLAND ROAD
VIRGINIA BEACH, VA 23462                              P‐0015013 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDER, GARY R.
927 SHRIVER CIR
LAKE MARY, FL 32746                                   P‐0015014 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRESHM, PAMELA
18 HAMPTON DRIVE
MOUNT BETHEL, PA 18343                                P‐0015015 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, CRAIG
18 HAMPTON DRIVE
MOUNT BETHEL, PA 18343                                P‐0015016 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, JOHN
814 COLONNA LANE
NAZARETH, PA 18064                                    P‐0015017 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDER, GARY R.
927 SHRIVER CIR
LAKE MARY, FL 32746                                   P‐0015018 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, CARA M.
554 BOOTH HILL RD
TRUMBULL, CT 06611                                    P‐0015019 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRESHAM, PAMELA
18 HAMPTON DRIVE
MOUNT BETHEL, PA 18343                                P‐0015020 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREEMAN, ANTHONY
FREEMAN, ANTHONY J.
7978 EARHART
HOUSTON, TX 77028                                     P‐0015021 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDER, GARY R.
927 SHRIVER CIR
LAKE MARY, FL 32746                                   P‐0015022 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARLSON, RUSSELL J.
4 EBB TIDE CT
SALEM, SC 29676                                       P‐0015023 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIDSON, JAMES
DAVIDSON, JAMES
45 HEARTWOOD CT.
BLUFFTON, SC 29910                                    P‐0015024 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
RABIE, RAFID
5242 CARTWRIGHT AVE
APT 7
N HOLLYWOOD, CA 91601                              P‐0015025 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRONIZER, HERBERT H.
3227 FOX STREET
DURHAMVILLE, NY 13054                              P‐0015026 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLIRON, MATTHEW
MICELI, VAL J.
15158 ROCKTON MOUNTAIN HIGHWA
CLEARFIELD, PA 16830                               P‐0015027 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, JAMES A.
182 BARBIN ROAD
ESPERANCE, NY 12066                                P‐0015028 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZUCKER, KENNETH H.
910 BOWMAN AVENUE
WYNNEWOOD, PA 19096                                P‐0015029 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIOTT, KIM M.
346 LERNER
CLAWSON, MI 48017                                  P‐0015030 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, GARY
1632 BARONESS WAY
ROSEVILLE, CA 95747                                P‐0015031 11/4/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
DESANTIS, GIY M.
1429 NEW ENGLAND DRIVE SE
NORTH CANTON, OH 44720                             P‐0015032 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHEMOND, NATASHA M.
19 GROVE STREET
#2
WOBURN, MA 01801                                   P‐0015033 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTE, SUNIL
4809 21ST STREET NORTH
ARLINGTON, VA 22207                                P‐0015034 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, SCENQUETTA A.
58 SMITH AVE
BAY SHORE, NY 11706                                P‐0015035 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDREWS, BECKY H.
1026 B CANOE BRANCH ROAD
LEBANON, TN 37087                                  P‐0015036 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARNSEY, WALTER W.
GARNSEY, GEORGIA M.
2339 BELLAIRE STREET
DENVER, CO 80207                                   P‐0015037 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEINACKER, BETSY A.
16636 MARBLE RIDGE
FORT WAYNE, IN 46845                               P‐0015038 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRISON, PHILIP W.
2704 MOUNT VERNON DRIVE
MIDLAND, MI 48642                                  P‐0015039 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALES, DENNIS M.
GONZALES, LAURA J.
1221 OAK STREET
MARTINEZ, CA 94553                                 P‐0015040 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MARTIN, LOLITA S.
836 WESTOVER DRIVER
DANVILLE
, VA 24541                                           P‐0015041 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, LYNETE
209 SUNSET BLVD
BRONX, NY 10473                                      P‐0015042 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRONG, MARCIA
258 E. OLD PLANK ROAD
COLUMBIA, MO 65203                                   P‐0015043 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARKINS, JESSICA L.
309 LEMMON ST
SUMTER, SC 29150                                     P‐0015044 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARNSEY, WALTER W.
GARNSEY, GEORGIA M.
2339 BELLAIRE STREET
DENVER, CO 80207                                     P‐0015045 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASKA, ROBERT E.
6 BROOKHILL DRIVE
SCHENECTADY, NY 12309‐1904                           P‐0015046 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRATTON, ROBERT S.
3107 WALNUT STREET
PORTSMOUTH, OH 45662                                 P‐0015047 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURDZA, ANTHONY J.
1610 N HOCKADAY RD
GLADWIN, MI 48624                                    P‐0015048 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIRABELLI, LORENE A.
75 HORSESHOE CT
OCEANPORT, NJ 07757                                  P‐0015049 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRIS, JARED V.
FERRIS, DENISE M.
7730 CAPRON COURT
LORTON, VA 22079                                     P‐0015050 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ATWATER, DAVID C.
ATWATER, KATHLEEN S.
1775 ROUND LAKE RD
INTERLOCHEN, MI 49643                                P‐0015051 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASSEY, MARIE I.
4003 FAWN CIR
TAMPA, FL 33610                                      P‐0015052 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUCHMANN, BRIAN
1512 W SYCAMORE ST
ROGERS, AR 72758                                     P‐0015053 11/4/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
BROWER, PHILIP G.
5218 E ASHELFORD DR.
BYRON, IL 61010                                      P‐0015054 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODMAN, FRANCES V.
2590 GOLD STAR HIGHWAY
#106
MYSTIC, CT 06355                                     P‐0015055 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPANGLER, DEBRA D.
8924 CROSS OAKS RANCH BLVD.
CROSSROADS, TX 76227‐3880                            P‐0015056 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FETTE, MICHAEL D.
FETTE, MONICA Y.
8129 SANDPOINT BLVD.
ORLANDO, FL 32819                                    P‐0015057 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANNER, TRAVIS I.
83 SWIFT CREEK DRIVE
LAYTON, UT 84041                                     P‐0015058 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LU, AIQIN
23568 WINTERGREEN CIRCLE
NOVI, MI 48374                                       P‐0015059 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, JAMES E.
7501 BRITTANY PL
FORT WORTH, TX 76137                                 P‐0015060 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
XAVIER, KARMA L.
1610 S. GRAND AVE LOT 8
ELDON, MO 65026                                      P‐0015061 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YANG, SYLVIA
929 ELM ST
NAPERVILLE, IL 60540                                 P‐0015062 11/4/2017      TK Holdings Inc., et al .                   $12,807.96                                                                                   $12,807.96
CAMPBELL, JOSEPH M.
147 PATTY BOWKER RD
TABERNACLE, NJ 08088                                 P‐0015063 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARK, EUN JOO
3926 WEST FITCH AVENUE
LINCOLNWOOD, IL 60712                                P‐0015064 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAY, ROBERT F.
220 HARTFORD AVE.
DAYTONA BEACH, FL 32118                              P‐0015065 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURLEY, PATRICK W.
HURLEY, SHERYL R.
8275 E 150TH PL
THORNTON, CO 80602                                   P‐0015066 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAN, DONG
23568 WINTERGREEN CIRCLE
NOVI, MI 48374                                       P‐0015067 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, LESLIE A.
232 BARREN RD
MEDIA, PA 19063                                      P‐0015068 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHN, SAMUEL I.
491 HILLSIDE DRIVE
MOUNTVILLE, PA 17554                                 P‐0015069 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, DANA J.
364 N RENGSTORFF AVE
MOUNTAIN VIEW, CA 94043                              P‐0015070 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRONATO, DAVID A.
7671 E. TANQUE VERDE RD.
APT.238
TUCSON, AZ 85715                                     P‐0015071 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARU, JONATHAN L.
BARU, JONATHAN
10 EAST PRIMROSE DRIVE
LONGMEADOW, MA 01106                                 P‐0015072 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTA, KATLYN A.
68 TRIPP ST
MT. KISCO, NY 10549                                  P‐0015073 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
JOHNSON, AARON B.
NO ADDRESS PROVIDED
                                                      P‐0015074 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYDEN, AUSTIN B.
HAYDEN, STEPHANIE E.
15142 W. 146TH CIR.
OLATHE, KS 66062                                      P‐0015075 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOGEL, BETHANY N.
149 CRESTWOOD DR
HOLLAND, MI 49424                                     P‐0015076 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODRUFF, DANA J.
13 HIAWATHA TRAIL
BINGHMATON, NY 13901                                  P‐0015077 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, JOSEPH M.
147 PATTY BOWKER RD
TABERNACLE, NJ 08088                                  P‐0015078 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELDON, BILL G.
WELDON, DEBORAH H.
1712 INGLESIDE DR.
FLOWER MOUND, TX 75028                                P‐0015079 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTIAGO, BENJAMIN
163 REYNOLDS STREET
STATEN ISLAND, NY 10305                               P‐0015080 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
XAVIER, KARMA L.
1610 S. GRAND AVE LOT 8
ELDON, MO 65026                                       P‐0015081 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMES, KYRSTEN
5045 COUNTY ROUTE 113
GREENWICH, NY 12834                                   P‐0015082 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEEGAN, JULIE A.
440 CHAUNCEY CT
ALEXANDRIA, VA 22314                                  P‐0015083 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, JAMES A.
182 BARBIN ROAD
ESPERANCE, NY 12066                                   P‐0015084 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORCROSS, JOHN P.
1892 WAGENER PL.
ROSEVILLE, MN 55113                                   P‐0015085 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVENPORT, JUSTIN
2045 MARTINS BEND DR
LAVERGNE, TN 37086                                    P‐0015086 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEESLEY, BARBARA E.
KARL
114 WEST PRAIRIE LAKES DRIVE
HESSTON, KS 67062                                     P‐0015087 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEPUTY, FRANKLIN M.
2 SUMMIT COURT
MANALAPAN, NJ 07726                                   P‐0015088 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MLODIK, KEVIN J.
MLODIK, SAM A.
4770 STILL MEADOW LANE
PLOVER, WI 54467                                      P‐0015089 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, DELANEY S.
WASHINGTON, BARBARA L.
7104 RUMHILL COURT
MECHANICSVILLE, VA 23111                              P‐0015090 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
TYLUTKI, KATHERINE D.
111 SCHMIDT STREET
FONDA, NY 12068                                     P‐0015091 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAY, ROBBIE G.
CLAY, DEENA A.
16179 WISCON ROAD
BROOKSVILLE, FL 34601                               P‐0015092 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TATTORY, RICHARD
1525 POLO RUN DR
YARDLEY, PA 19067                                   P‐0015093 11/4/2017      TK Holdings Inc., et al .                    $1,450.00                                                                                    $1,450.00
SABLAN, SAMUEL J.
590 SUNSET RD
WATERLOO, IA 50701                                  P‐0015094 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDINI, CHERYL
REDINI, MARK
290 NEEDHAM DRIVE
BLOOMINGDALE, IL 60108                              P‐0015095 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELHADO, WILLIAM
1082 BELLMORE ROAD
BELLMORE, NY 11710                                  P‐0015096 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEATHERWOOD, JERRY L.
LEATHERWOOD, KAROL H.
10 SPRING TREE DR
SIMPSONVILLE, SC 29681                              P‐0015097 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCULL, RICHARD W.
22 SCOTT COURT
ALLENDALE, NJ 07401                                 P‐0015098 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMPINE, RUSSELL E.
CHAMPINE, SUSAN C.
193 PEACH TREE DRIVE
CAPE FAIR, MO 65624                                 P‐0015099 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANA, THERESA L.
2789 TRAILWOOD LN
LEXINGTON, KY 40511                                 P‐0015100 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCULL, SYLVIA V.
22 SCOTT COURT
ALLENDALE, NJ 07401                                 P‐0015101 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELHADO, WILLIAM
1082 BELLMORE ROAD
BELLMORE, NY 11710                                  P‐0015102 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAIRSTON, ROSALIND D.
1718 NILE DRIVE
CORPUS CHRISTI, TX 78412                            P‐0015103 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STUDNER, JON M.
13604 MOUNT PROSPECT DRIVE
ROCKVILLE, MD 20850                                 P‐0015104 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, RICHARD W.
LEE, EMMELINE C.
16 EUCLID AVE
NATICK, MA 01760                                    P‐0015105 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMES, JONATHAN E.
JAMES, DAWN M.
831 WILLOWSPRINGS BLVD
FRANKLIN, TN 37064                                  P‐0015106 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MCGUINESS, DENNIS H.
48 RUBY RD
GARDNER, MA 01440                                    P‐0015107 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWELL, MIDORI
146 WASHINGTON STREET
LODI, NJ 07644                                       P‐0015108 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, ROBERT J.
124 EASTLAND DR.
LAFAYETTE, IN 47905                                  P‐0015109 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIEDKE, DIANA
16390 HWY 77
HUNTINGDON, TN 38344                                 P‐0015110 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCULL, RICHARD
22 SCOTT COURT
ALLENDALE, NJ 07401                                  P‐0015111 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REUTHER, THOMAS F.
REUTHER, SHARON P.
17 SPOTTSWOOD DRIVE
MILTON, PA 17847                                     P‐0015112 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEYER, DAVID B.
3780 MYSTIC VALLEY PARKWAY
APARTMENT 426
MEDFORD, MA 02155                                    P‐0015113 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMES, JONATHAN E.
JAMES, DAWN M.
831 WILLOWSPRINGS BLVD
FRANKLIN, TN 37064                                   P‐0015114 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, HELEN E.
182 BARBIN ROAD
ESPERANCE, NY 12066                                  P‐0015115 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDINI, MARK
REDINI, CHERYL M.
290 NEEDHAM DRIVE
BLOOMINGDALE, IL 60108                               P‐0015116 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWARZ, JAY R.
7405 HOLLY AVENUE
TAKOMA PARK, MD 20912                                P‐0015117 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRINDT, MATTHEW R.
8580 EVERGREEN TRAIL
APT 312
OLMSTED FALLS, OH 44138                              P‐0015118 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WYNN, MICHAEL
2780 DAVIS MILL ROAD
HEPHZIBAH, GA 30815                                  P‐0015119 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PURCELL, PHILLIP A.
3145 HUNTERS HILL RD
NASHVILLE, TN 37214                                  P‐0015120 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOUKAR, GEORGE
7387 OLD LANTERN DR SE
CALEDONIA, MI 49316                                  P‐0015121 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLOMON OIL COMPANY
7195 ALMA TERRACE DRIVE
NEW ALBANY, OH 43054                                 P‐0015122 11/4/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
DANIELS, MERVYN S.
133‐15 225TH STREET
LAURELTON, NY 11413                                  P‐0015123 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DORSEY, SYBIL M.
525 WESTERN HILLS DRIVE
RIO VISTA, CA 94571‐2187                             P‐0015124 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUTRA STEEL INC.
128 BROOKVINE CIRCLE
CHICO, CA 95973‐0100                                 P‐0015125 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEMONS, ANTHONY D.
1205 PERRY STREET
FREDERICKSBURG, VA 22401                             P‐0015126 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IORIO, ALEXANDRA N.
841 JEANETTE STREET
DESPLAINES, IL 60016                                 P‐0015127 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGH, HARPREET
40 CHASE FARM ROAD
SOUTH WINDSOR, CT 06074                              P‐0015128 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBBINS‐DREW, HEATHER A.
5275 SWAFFER RD
MILLINGTON, MI 48746                                 P‐0015129 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COBURN, KELLY M.
637 HECKLE CT
LOVELAND, CO 80538                                   P‐0015130 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IORIO, ANDREA E.
841 JEANETTE STREET
DESPLAINES, IL 60016                                 P‐0015131 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUTRA STEEL INC.
128 BROOKVINE CIRCLE
CHICO, CA 95973‐0100                                 P‐0015132 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, DONNA
3928 RED CYPRESS DR.
HARVEY, LA 70058                                     P‐0015133 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLS, WILLIAM P.
HEIERTZ, KATHRYN M.
2862 PASATIEMPO GLEN
ESCONDIDO, CA 92025                                  P‐0015134 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERNSTEIN, MARSHALL E.
36 POOL DR.
ROSLYN, NY 11576                                     P‐0015135 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, STEPHANIE K.
202 SAINT JOHNS ST
KNIGHTDALE, NC 27545                                 P‐0015136 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGEHEE, SUSAN E.
4202 VERCELLI STREET
STOCKTON, CA 95206                                   P‐0015137 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEHRENS, FREDERIC A.
602 N MIDVALE BLVD
MADISON, WI 53705                                    P‐0015138 11/4/2017      TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
MOBLEY, ELISHA
MOBLEY, DOROTHY P.
7200 FARWOOD DRIVE
NEW ORLEANS, LA 70126                                P‐0015139 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOLB, KRISTINE
13 LONA COURT
NOTTINGHAM, MD 21236                                 P‐0015140 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IORIO, CRAIG S.
841 JEANETTE STREET
DESPLAINES, IL 60016                                 P‐0015141 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SANDERS, JENNIFER
SANDERS, THOMAS
SANDERS AND SANDERS, P.C.
5714 E. 6TH ST.
TUCSON, AZ 85711                                     P‐0015142 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLOMON, JACQUELINE K.
7195 ALMA TERRACE DRIVE
NEW ALBANY, OH 43054                                 P‐0015143 11/4/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WILLIAMS, RON L.
46 WOOD THRUSH AVENUE
ERIAL, NJ 08081                                      P‐0015144 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEAN, MATTHEW
17727 162ND AVE SE
RENTON, WA 98058                                     P‐0015145 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKHTAR, NAVID
3280 GODFREY AVE.
GILROY, CA 95020                                     P‐0015146 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUEGGERT, MARLIN
213 GLASGOW CT
NOBLESVILLE, IN 46060                                P‐0015147 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBER, CHARLES W.
HUBER, MARGARET M.
P.O. BOX 193
MARSHALLS CREEK, PA 18335                            P‐0015148 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYMAN, WILLIAM S.
LYMAN, MARILYN K.
1680 DARLING ST.
OGDEN, UT 84403                                      P‐0015149 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNER, JOSH C.
1906 OVERLOOK DR
GREENEVILLE, TN 37743                                P‐0015150 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEIGHT, KENISHA
22048 IRENE
BROWNSTOWN, MI 48183                                 P‐0015151 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARDNER, LEON
924 HORMEL AVE
LA VERNE, CA 91750                                   P‐0015152 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SADOWSKI, RICHARD
N2398 SOUTH 31ST ROAD
COLEMAN, WI 54112                                    P‐0015153 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, MARK W.
2956 GREENBROOKE
WEST BLOOMFIELD, MI 48324                            P‐0015154 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SADOWSKI, RICHARD
N2398 SOUTH 31ST ROAD
COLEMAN, WI 54112                                    P‐0015155 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALSH, BRENDA G.
WALSH, WILLIAM C.
20007 HAMMOND RD.
CORRY, PA 16407                                      P‐0015156 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLDER, DENNIS W.
HOLDER, CHERYL L.
8655 POHICK FOREST COURT
SPRINGFIELD, VA 22153                                P‐0015157 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CHALLIS, RAYMOND
CHALLIS, JOYCE D.
10 THE FAIRWAY
WOODSTOCK, GA 30188                                P‐0015158 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOSMAN, MICHAEL R.
BANDHAUER‐GOSMAN, WILMA G.
9 37TH STREET SOUTH
GREAT FALLS, MT 59401                              P‐0015159 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTER, ROBIN M.
104 MAGNOLIA AVE
HAWTHORNE, FL 32640                                P‐0015160 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMBERT, ASA M.
1009 N. COOLIDGE AVENUE
GONZALES, LA 70737                                 P‐0015161 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITFIELD, MARCUS A.
WHITFIELD, CATHERINE E.
9916 BRENTLY ESTATES DR
CHATTANOOGA, TN 37421                              P‐0015162 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, EDWARD
RODRIGUEZ, PATRICIA
3501 PETUNIA CRES.
VIRGINIA BEACH, VA 23453                           P‐0015163 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUNET, EDRAS D.
7550 STIRLING RD B302
HOLLIWOOD, FL 33024                                P‐0015164 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATZ, JANE E.
23 BELL AVENUE
PITTSBURGH, PA 15205                               P‐0015165 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WETNIGHT, JACK L.
3365 OAKLAND DR.
FLINT, MI 48507                                    P‐0015166 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, RICHARD D.
CAMPBELL, KAREN L.
27 OLIVER DR
QUARRYVILLE, PA 17566                              P‐0015167 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLYNN, BRENDAN P.
FLYNN, ROSEMARIE
9 TURNEY PLACE
TRUMBULL, CT 06611                                 P‐0015168 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIMENNA, MICHAEL J.
DIMENNA, MARY L.
11 ELDOR AVE
NEW CITY, NY 10956MA                               P‐0015169 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BACKES, JR., EDWIN C.
10005 LA JOLLA WAY
DENTON, LA 76207                                   P‐0015170 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOBLEY, ELISHA
7200 FARWOOD DRIVE
NEW ORLEANS, LA 70126                              P‐0015171 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLYNN, BRENDAN P.
FLYNN, ROSEMARIE
9 TURNEY PLACE
TRUMBULL, CT 06611                                 P‐0015172 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEORGE, DAVID C.
66 POINT PETER PLACE
SAINT MARYS, GA                                    P‐0015173 11/4/2017      TK Holdings Inc., et al .                     $227.00                                                                                       $227.00
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                                                                                                                     Current General                                         Current 503(b)(9)
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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
HUBRICH, JESSICA L.
716 BRYAN AVE
LINCOLN, IL 62656                                     P‐0015174 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YENTES, JENNIFER M.
CASE, ADAM J.
2515 N 55TH STREET
OMAHA, NE 68104                                       P‐0015175 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHERNE, KENNETH J.
2729 OIN OAK DRIVE
MARRERO, LA 70072                                     P‐0015176 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENBERG, JEFFREY C.
502 LOYOLA DRIVE
LOS ALTOS, CA 94024                                   P‐0015177 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIM, MOON J.
NO ADDRESS PROVIDED
                                                      P‐0015178 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIZZAMIGLIO, GENE M.
307 OLD FARM RD
BLOOMINGTON, IL 61704                                 P‐0015179 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMBERT, TERRI L.
1009 N. COOLIDGE AVENUE
GONZALES, LA 70737                                    P‐0015180 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARKER, JOHN B.
73774 MORRISON DR.
ARMADA, MI 48005                                      P‐0015181 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDRYX, KATHY R.
18594 S 524 RD
TAHLEQUAH, OK 74464‐0516                              P‐0015182 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADDEN, MICHAEL J.
737 CURDYS COVE LP. #9
HAMILTON, MT 59840                                    P‐0015183 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPOLETI, THOMAS P.
39 CLIFFEDGE WAY
RED BANK, NJ 07701‐5201                               P‐0015184 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VINCI, CAMILLE
220 E GARDEN ST
ROME, NY 13440                                        P‐0015185 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAULDEN, CHARLES T.
7942 FM 859
EDGEWOOD, TX 75117                                    P‐0015186 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAVER, RUTH‐ANNE G.
4301 BECK ROAD
MORGANTON, NC 28655                                   P‐0015187 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, NOAL
15 GLENRIDGE AVE. APT. 33
MONTCLAIR, NJ 07042                                   P‐0015188 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOGEL, BETHANY
149 CRESTWOOD DR
HOLLAND, MI 49424                                     P‐0015189 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, CHARLES J.
1340 BRIARCHASE DRIVE
LAKE ST. LOUIS, MO 63367                              P‐0015190 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDREWS, MARK M.
606 SYLVAN LN
WICHITA, KS 67218                                     P‐0015191 11/4/2017      TK Holdings Inc., et al .                     $250.00                                                                                       $250.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PARK, EUN JOO
3926 WEST FITCH AVENUE
LINCOLNWOOD, IL 60712                                P‐0015192 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAYPOOL, JOHN E.
CLAYPOOL, PATRICIA A.
28 MANZANITA
LITTLETON, CO 80127                                  P‐0015193 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWFORD, RICHARD J.
559 E PLEASANT ST
MOUNT VERNON, MO 65712                               P‐0015194 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASCK, MARY B.
7030 WOODS WEST DR
FLUSHING, MI 48433                                   P‐0015195 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CZARNECKI, DEBORAH D.
35281 WAGNER DR
CLINTON TWP., MI 48035                               P‐0015196 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIDDLE, RICKY
3721 DESERT RIDGE DR
FORT WORTH, TX 76116                                 P‐0015197 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, PATRICK D.
227 HOLLY HILL DR.
JACKSON, MS 39212                                    P‐0015198 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOKSA, MARGARET
1414 INDIANA AVENUE
PALM HARBOR, FL 34683                                P‐0015199 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERO, DEBORAH M.
471 SILVER STREET
#405
MANCHESTER, NH 03103                                 P‐0015200 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, DAVID A.
PETERSON, NORA L.
4902 TAHOE CIRCLE
MARTINEZ, CA 94553                                   P‐0015201 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITZHUGH, JOHNATHON T.
6891 CENTRAL AVE
HOT SPRINGS, AR 71913                                P‐0015202 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RATTI, AMY
4238 ROUTE 50
SARATOGA SPRINGS, NY 12866                           P‐0015203 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARNOLD, TIM
261 GLANDORE DRIVE
BALLWIN, MO 63021                                    P‐0015204 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENCIA, AARON R.
2275 DRAGONFLY STREET
CHULA VISTA, CA 91915                                P‐0015205 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, BRIAN C.
8542 E. MT. VERNON CT.
WICHITA, KS 67207                                    P‐0015206 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, JEFFREY K.
22 LIDO CIRCLE
REDWOOD CITY, CA 94065                               P‐0015207 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRAUNE, SUSAN B.
416 MONTEREY STREET
BRISBANE, CA 94005                                   P‐0015208 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
RETANA, MARIANA M.
1121 HIGHCLIFF CT
VIRGINIA BEACH, VA 23454                              P‐0015209 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAY, PATRICIA
30319 GLENHAM COURT
WESLEY CHAPEL
, FL 33543                                            P‐0015210 11/4/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
COVER, ALONZO E.
9215 SPRING BRANCH DR
HOUSTON, TX 77080‐8020                                P‐0015211 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TONOLI, GLENN F.
15563 PINTURA DR
HACIENDA HEIGHTS, CS. 91745
                                                      P‐0015212 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDREWS, WENDY
908 PINE ROAD
SHARON HILL, PA 19079                                 P‐0015213 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARBACZ, MARTA A.
1300 LAUREL SPRINGS DRIVE
APT 1312
DURHAM, NC 27713                                      P‐0015214 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, JOHN T.
5213 BUTTERWOOD CIRCLE
ORANGEVALE, CA 95662                                  P‐0015215 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAIL, ERIC W.
1921 E SUNSET CT
GODDARD, KS 67052                                     P‐0015216 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FELICELLA, LUIGIA
RENIKER, JOSH E.
21007 WILLIAM ST
ELKHORN, NE 68022‐2423                                P‐0015217 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, DAVID A.
TAKATA, NORA L.
4902 TAHOE CIRCLE
MARTINEZ, CA 94553                                    P‐0015218 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SASSEVILLE, ROLAND H.
170 PROVIDENCE PIKE
UNIT 55
NORTH SMITHFIELD, RI 02896‐8084                       P‐0015219 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHALLIS, RAYMOND
10 THE FAIRWAY
WOODSTOCK, GA 30188                                   P‐0015220 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEARNEY, JOHN M.
KEARNEY, MARY A.
2856 PALISADE DRIVE
DULUTH, MN 55811                                      P‐0015221 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILBERG, IRA M.
348 CHAMBORLEY DRIVE
REISTERSTOWN, MD 21136                                P‐0015222 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARAGLIO, FRANK A.
1310 SAVANNAH LANE
CARLSBAD, CA 92011                                    P‐0015223 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASPER, ELIZABETH M.
CASPER, ELIZABETH
654 KRISTIN CT
NEW LENOX, IL 60451                                   P‐0015224 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
INTHASAK, JULIE
3449 E VENTURA AVE
FRESNO, CA 93702                                     P‐0015225 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YBANEZ, TANYA
528 D AVE
NATIONAL CITY, CA 91950                              P‐0015226 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, PHONG
2057 ABBEY BROOK WAY
LAWRENCEVILLE, GA 30044                              P‐0015227 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, JEFFREY K.
22 LIDO CIRCLE
REDWOOD CITY, CA 94065                               P‐0015228 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOCKETT, CRAIG E.
2501 25TH STREET
BAY CITY, MI 48708                                   P‐0015229 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENKINS, VICTORIAN A.
4722 8TH AVE
LOS ANGELES, CA 90043                                P‐0015230 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TWADDELL, GEORGE
NO ADDRESS PROVIDED
                                                     P‐0015231 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, WILLIE E.
3803 HALTER COURT
FLORISSANT, MO 63034                                 P‐0015232 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEOFFRION, JAMES W.
GEOFFRION, LINDA K.
3424 RUM RIVER DR
ANOKA, MN 55303                                      P‐0015233 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEAWOOD, MARY
4509 EAST KELLIS STREET
FT. WORTH, TX 76119                                  P‐0015234 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODMAN, RONALD S.
GOODMAN, KAREN S.
7069 MEADOW RIDGE CIRCLE
NASHVILLE, TN 37221                                  P‐0015235 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALUKO, FRED
14 KINGWOOD AVE/FREDHALUKO
FRENCHTOWN, NJ 08825                                 P‐0015236 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEARCE, KIMBERLY L.
PEARCE, MATTHEW C.
1903 DAYFLOWER TRACE
CEDAR PARK, TX 78613                                 P‐0015237 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINTON_HEALEY, TINA L.
3937 SW ATWOOD TERRACE
TOPEKA, KS 66610                                     P‐0015238 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYERS, MARLENE M.
NO ADDRESS PROVIDED
                                                     P‐0015239 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, MARCOS
6988 OAKWOOD PLACE CT. E.
HOUSTON, TX 77040                                    P‐0015240 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOBSON, CATHERINE
DOBSON, CATHERINE
206 E AVONDALE DR
GREENSBORO, NC 27403                                 P‐0015241 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
FRANK, RICHARD
125 PROSPECT STREET APT 4G
STAMFORD, CT 06901                                     P‐0015242 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, WILLIE E.
3803 HALTER COURT
FLORISSANT, MO 63034                                   P‐0015243 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, PHYLLIS A.
2525 BOLTON BOONE DR.
# 308
DESOTO, TX 75125                                       P‐0015244 11/4/2017      TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
WINCHELL, TINA M.
1365 W M55
TAWAS CITY, MI 48763                                   P‐0015245 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RABOT, DONALD E.
1898 GERALD AVENUE
EAST MEADOW, NY 11554‐1004                             P‐0015246 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, TERESA C.
MILLER, DARREL D.
                                                       P‐0015247 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THUMMA, RAMESH
MAZDA
205 KENSINGTON CT
BREWSTER, NY 10509                                     P‐0015248 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DORSEY, NICOLE R.
1617 CLEMENTIAN ST
UTICA, NY 13501                                        P‐0015249 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILLBACK, KATHERINE L.
120 PARK LANE
SONOMA, CA 95476                                       P‐0015250 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANK, RICHARD A.
NO ADDRESS PROVIDED
                                                       P‐0015251 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVY, SHARON L.
311 MCMILLIN BLVD.
BOILING SPRINGS, SC 29316                              P‐0015252 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVERYT, RON
AVERYT, RON
8920 REDBANK RD
REDDING, CA 96001                                      P‐0015253 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTLEY, ROBIN L.
100 S BROOKWOOD DRIVE
DERBY, KS 67037                                        P‐0015254 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAXTER, REBECCA M.
BAXTER, WAYNE L.
P.O. BOX 221223
ANCHORAGE, AK 99522                                    P‐0015255 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, RICHARD J.
1111 N HERMITAGE AVE.
UNIT 2
CHICAGO, IL 60622                                      P‐0015256 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, DIANE C.
73 WOODFORD STREET
DANIEL ISLAND, SC 29492                                P‐0015257 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASMUSSEN REVOCABLE LIVING TR
556 JOSIE CIRCLE
CEDAR CITY, UT 84720                                   P‐0015258 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HOGLUND, GERALD C.
HOGLUND, BERNADETTE M.
435 ELMORE ST.
PARK RIDGE, IL 60068                                 P‐0015259 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNIEFEL, GRANT J.
8316 W 98TH ST
OVERLAND PARK, KS 66212                              P‐0015260 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RONEY, KEVIN M.
333 PEACHTREE DRIVE
JENKINTOWN, PA 19046                                 P‐0015261 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARGINEAN, LEANNE D.
CHRYSLER CAPITAL
217 15TH LANE SW
VERO BEACH, FL 32962                                 P‐0015262 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMPA, JAMES L.
13928 RIVERSIDE
LIVONIA, MI 48154                                    P‐0015263 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSON, DONOVAN J.
OLSON, CHARLENE R.
17571 310TH ST
BAGLEY, MN 56621                                     P‐0015264 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASMUSSEN REVOCABLE LIVING TR
556 JOSIE CIRCLE
CEDAR CITY, UT 84720                                 P‐0015265 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAUN, KARL O.
BRAUN, MARGARET M.
5833 JEFF PLACE
EDINA, MN 55436                                      P‐0015266 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLOMON, KATHERINE A.
4588 FAIRGROVE ROAD
COLUMBUS, OH 43231                                   P‐0015267 11/4/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
FINDLAY‐CORDOVA, BARBARA A.
50 LIVERMORE ST.
BOSTON, MA 02126                                     P‐0015268 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLS, WILLIAM P.
HEIERTZ, KATHRYN M.
2862 PASATIEMPO GLEN
ESCONDIDO, CA 92025                                  P‐0015269 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBER, STEPHEN J.
19150 MICHAEL AVE.
HASTINGS
, MN 55033                                           P‐0015270 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, BOBBIE D.
344 LEONA SPEARS RD GREENSBUR
GREENSBURG, LA 70441                                 P‐0015271 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWERS, LAURA L.
POWERS, LAWRENCE W.
2185 FRITZ COVE ROAD
JUNEAU, AK 99801                                     P‐0015272 11/4/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
THOMPSON, AALIJAH J.
3928 RED CYPRESS DR
HARVEY, LA                                           P‐0015273 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRVEN‐SMITH, JOEANN M.
1507 MANORWAY STREET
TYLER, TX 75702                                      P‐0015274 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LOCKWOOD, CHRISTOPHER B.
LOCKWOOD, SABRINA D.
23015 WAPITI WAY
CALIFORNIA, MD 20619                                 P‐0015275 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALE, GARY S.
922 BOWRING PARK
NASHVILLE, TN 37215                                  P‐0015276 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEPELIN, YURIY
208 SHEARWATER CT W
APT 18
JERSEY CITY, NJ 07305                                P‐0015277 11/4/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
SUTTON, CHRIS
11348 N. VIA VERONA WAY
FRESNO, CA 93730                                     P‐0015278 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOI, STEPHEN J.
PARK, UN KYUNG
166 PERRY ST #3D
NEW YORK, NY 10014                                   P‐0015279 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTO, ELLEN C.
19607 BASSETT STREET
RESEDA, CA 91335                                     P‐0015280 11/4/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
BURKHART, CYNTHIA
917 E. KNIGHT LANE
TEMPE, AZ 85284                                      P‐0015281 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHATZKI, THEODORE R.
274 SOUTH HANOVER AVE
LEXINGTON, KY 40502                                  P‐0015282 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESIMONE, DAVID J.
957 BABCOCK LAKE RD
PETERSBURG, NY 12138‐6207                            P‐0015283 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARK, UN KYUNG
CHOI, STEPHEN J.
166 PERRY ST #3D
NEW YORK, NY 10014                                   P‐0015284 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRUG, CAROL A.
RUFFNER, NICHOLAS K.
6091 OLD HARRISBURG ROAD
YORK SPRINGS, PA 17372                               P‐0015285 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANDY, DEBORAH L.
116 MORTON AVE
ALBANY, NY 12202‐1409                                P‐0015286 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DORNACKER, ALEX S.
6110 ACADIA DRIVE
WEST DES MOINES, IA 50266                            P‐0015287 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEPELINA, YELENA
10153 BRIDLE RD
2ND FLOOR
PHILADELPHIA, PA 19116                               P‐0015288 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOSTETTER, JACOB F.
12125 MEADOW POST LANE
CHARLOTTE, NC 28269                                  P‐0015289 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTO, AUDREY E.
CHRISTO, AUDREY
19607 BASSETT STREET
RESEDA, CA 91335                                     P‐0015290 11/4/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00


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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BOWIE, RONNIE C.
2700 N GRAND AVE
APT. D43
TYLER, TX 75702                                      P‐0015291 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREAVES, KAREN E.
320 TAYLOR AVE.
ALAMEDA, CA 94501                                    P‐0015292 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEGGS, YVONNE L.
324 S BUCHANAN ST
APPLETON, WI 54915‐3156                              P‐0015293 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DORNACKER, DOUGLAS S.
DORNACKER, PATRICIA L.
6110 ACADIA DRIVE
WEST DES MOINES, IA 50266                            P‐0015294 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, LAWRENCE D.
SMITH, JANICE E.
1815 WEST LAKE DRIVE
KELSEYVILLE, CA 95451                                P‐0015295 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENTER, BRUCE E.
422 KENWOOD RD.
HUNTINGDON VLY, PA 19006                             P‐0015296 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEPELINA, YELENA
10153 BRIDLE RD
2ND FLOOR
PHILADELPHIA, PA 19116                               P‐0015297 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOHANI, RUCHI
1120 W OLIVE AVE, APT 106
SUNNYVALE, CA 94086                                  P‐0015298 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, JOHN E.
WATSON, CHERYL M.
560 LOS VIENTOS DR
NEWBURY PARK, CA 91320                               P‐0015299 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALE, GARY S.
922 BOWRING PARK
NASHVILLE, TN 37215                                  P‐0015300 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAXTON, BERYL K.
303 MILLER ROAD
APT 404
MAULDIN, SC 29662                                    P‐0015301 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLINGMYRE, GEORGE T.
1012 PARRS RIDGE DRIVE
SPENCERVILLE, MD 20868                               P‐0015302 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, KEVIN M.
ROBERTS, JANE S.
2750 SPICEWOOD TRAILS LANE
WINSTON SALEM, NC 27106                              P‐0015303 11/4/2017      TK Holdings Inc., et al .                    $1,800.00                                                                                    $1,800.00
NOONAN, MICHAEL J.
1673 N.E.207TH PLACE
FAIRVIEW, OR 97024‐6776                              P‐0015304 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, KAREN W.
1526 LOUISA CT.
PALO ALTO, CA 94303                                  P‐0015305 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURY, TIMOTHY J.
832 W. QUARTZ
BUTTE, MT 59701                                      P‐0015306 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DIXIT, VIVEK
24919 GRANITE BLUFF LN
KATY, TX 77494                                       P‐0015307 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG JR, JOSEPH R.
70 TRADD ST
CHARLESTON, SC 29401                                 P‐0015308 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, DANIEL J.
628 PENNSYLVANIA AVENUE
DELANCO, NJ 08075                                    P‐0015309 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MATTHEW T.
SORRELLS‐SMITH, LISA K.
27954 MANDERA CT
VALENCIA, CA 91355                                   P‐0015310 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAMGBADE, JERRY
3218 SHADOW PARK DRIVE
LAUREL, MD 20724                                     P‐0015311 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EASLEY, ASIA M.
7410 WEST PUEBLO AVE
PHOENIX, AZ 85043                                    P‐0015312 11/4/2017      TK Holdings Inc., et al .                    $8,714.02                                                                                    $8,714.02
POWERS, WILLIAM E.
NO ADDRESS PROVIDED
                                                     P‐0015313 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURY, TIMOTHY J.
832 W, QUARTZ
BUTTE, MT 59701                                      P‐0015314 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUITE, JACK
SUITE, MARY K.
1861 LAUREL PLACE
CONCORD, CA 94521                                    P‐0015315 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKE, JAMES L.
BURKE, LINDA A.
164 CALIFORNIA AVE
SAME
PITTSFIELD, MA 01201                                 P‐0015316 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
URNESS, THOR
4207 SNEED ROAD
NASHVILLE, TN 37215                                  P‐0015317 11/4/2017      TK Holdings Inc., et al .                    $1,262.70                                                                                    $1,262.70
WALLACE, ALVINA B.
2310 GLYNMOORE DR
LAWRENCEVILLE, GA 30043                              P‐0015318 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, WILLIAM J.
718 WEST CENTER STREET
MADISONVILLE, KY 42431                               P‐0015319 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, JEFFREY F.
4177 ERIKA CT
PENSACOLA, FL 32526                                  P‐0015320 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZOLKEWSKY, MYRON
2927 GREENBROOKE LANE
WEST BLOOMFIELD, MI 48324                            P‐0015321 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKIDMORE, ELLEN C.
8970 SW 200 STREET
CUTLER BAY, FL 33157                                 P‐0015322 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLENN, DAVID P.
501 WIMBLEDON DRIVE
MOUNT PLEASANT, PA 15666                             P‐0015323 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
VANDERSCHAAF, KIMBERLY
HOLLAHAN, BRIAN
155 W ELM ST
WHEATON, IL 60189                                     P‐0015324 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, PHYLLIS A.
2525 BOLTON BOONE DR
# 308
DESOTO, TX 75115                                      P‐0015325 11/4/2017      TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
ZOLKEWSKY, MYRON
2927 GREENBROOKE LANE
WEST BLOOMFIELD, MI 48324                             P‐0015326 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUDISILL‐KELLY, MARIA E.
2204 RAVENS CREEK CT
RALEIGH, NC 27603                                     P‐0015327 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONWAY, CHARLES L.
1726 TALBOT RD
BLUE BELL, PA 19422‐3571                              P‐0015328 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRICE, VALLI L.
409 EAST MAIN STREET TRLR 5
MOUNTVILLE, PA 17554‐1727                             P‐0015329 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCILMOIL, CAROLINE J.
4111 LAKEVIEW PARKWAY
LOCUST GROVE, VA 22508                                P‐0015330 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALMER, KIMBERLY A.
825 HARBOR CLIFF WAY
UNIT 261
OCEANSIDE, CA 92054                                   P‐0015331 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZOLKEWSKY, MYRON
2927 GREENBROOKE LANE
WEST BLOOMFIELD,, MI 48324                            P‐0015332 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTOYA, DAVID
4304 MOBILE AVE.
EL PASO, TX 79903                                     P‐0015333 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSHALL, JUDY
380 TESORO GLN UNIT 122
ESCONDIDO, CA 92025                                   P‐0015334 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHETI, PIYUSH
18725 MCCOY AVE
SARATOGA, CA 95070                                    P‐0015335 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FULLONE, JEREMY
11329 HIGHLAND DR
PLAINFIELD, IL 60585                                  P‐0015336 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWEENEY, LENEE M.
5414 HILLCREST DRIVE
LOS ANGELES
, CA 90043                                            P‐0015337 11/4/2017      TK Holdings Inc., et al .                    $2,206.00                                                                                    $2,206.00
EGAN, ELIZABETH E.
9043 MORNING MIST DRIVE
CLARKSTON, MI 48348                                   P‐0015338 11/4/2017      TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
ZOLKEWSKY, MYRON
2927 GREENBROKE LANE
WEST BLOOMFIELD, MI 48324                             P‐0015339 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAYLOR, ALONZO S.
300 EAST 25TH STREET
PATERSON, NJ 07514                                    P‐0015340 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
DORNACKER, DOUGLAS S.
DORNACKER, PATRICA L.
6110 ACADIA DRIVE
WEST DES MOINES, IA 50266                           P‐0015341 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CISNEROS, PATRICK
9505 SALEM RD NE
ALBUQUERQUE, NM 87112                               P‐0015342 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, MAYA D.
2253 NE 10TH AVE
MERIDIAN, ID 83646                                  P‐0015343 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUTISTA, ALPHONSE J.
1174 THISTLERIDGE DRIVE
HEBRON, KY 41048                                    P‐0015344 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWEN, TALAIA T.
1104 SIBLEY MEMORIAL HWY
MENDOTA HEIGHTS, MN 55118                           P‐0015345 11/4/2017      TK Holdings Inc., et al .                   $19,890.97                                                                                   $19,890.97
BROWNING, KATHRYN L.
1325 ARIS AVE
METAIRIE, LA 70005                                  P‐0015346 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERDUE, CRAIG T.
1947 ANDOVER DRIVE
YPSILANTI, MI 48198                                 P‐0015347 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, WILLIAM M.
1290 CLEARWATER DR
MANDEVILLE LA 70471
                                                    P‐0015348 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLLETTA, MICHAEL
220 SOCIERY STREET
ALPHARETTA, GA 30022                                P‐0015349 11/4/2017      TK Holdings Inc., et al .                     $800.00                                                                                       $800.00
SAGHAFI, ABDOLHOSSEI
807 STANFORD ROAD
BURBANK, CA 91504                                   P‐0015350 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEARY, ANNE G.
2552A PINETOP AVENUE
GRAHAM, NC 27253                                    P‐0015351 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, RENEE A.
1012 WAVERLY STREET
WALLA WALLA, WA 99362‐2349                          P‐0015352 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, FRANK
MORRIS, JOAN
147 RIMCREST AVENUE
PRINCETON, WV 24739                                 P‐0015353 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROZANSKI, RANDALL E.
8154 WALNUT VILLA WAY
FAIR OAKS, CA 95628                                 P‐0015354 11/4/2017      TK Holdings Inc., et al .                       $45.00                                                                                       $45.00
EDMINSTER, WILLIAM L.
EDMINSTER, LAURIE L.
365 SILVER SHORES DRIVE
SILVERLAKE, WA 98645                                P‐0015355 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARTHING, DIANE G.
108 STEERFORTH ROAD
SAVANNAH, GA 31410                                  P‐0015356 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WERTZ, MICHAEL J.
WERTZ, VERONICA Y.
730 BROOKSIDE CT.
VACAVILLE, CA 95688                                 P‐0015357 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SILVA, MERILYN
2252 PTARMIGAN CT.
UNION CITY, CA 94587                                 P‐0015358 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBBINS, JEFFREY G.
ROBBINS, TERESE A.
6923 WILDROSE TERRACE
CARLSBAD, CA 92011                                   P‐0015359 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARKS SR, WILLIAM I.
1403 E GLADWICK ST
CARSON, CA 90746                                     P‐0015360 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVES, MICHAEL D.
ALVES, LORI L.
848 PORTSIDE CIRCLE
ROSEVILLE, CA 95678                                  P‐0015361 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCANN, TIMOTHY P.
130 PINNACLE SHORES DRIVE
BLUFFTON, SC 29909                                   P‐0015362 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHANNON, MICHAEL R.
2357 BOXWOOD DRIVE
SAN JOSE, CA 95128                                   P‐0015363 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILMORE, RICHARD
RGILMORE
14549 WALNUT AVENUE
CLEARLAKE, CA 95422                                  P‐0015364 11/4/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
HOFFSIS, JAMES
1157 MONTE VISTA WAY
SACRAMENTO, CA 95831‐2821                            P‐0015365 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, MICHAEL
8531 STONE AVE N
SEATTLE, WA 98103                                    P‐0015366 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVES, MICHAEL D.
ALVES, LORI L.
848 PORTSIDE CIRCLE
ROSEVILLE, CA 95678                                  P‐0015367 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERRIAM, JOAN C.
19809 SCOTTS FLAT ROAD
NEVADA CITY, CA 95959                                P‐0015368 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, DENNIS O.
67952 COUNTY RD 76
WABASHA, MN 55981                                    P‐0015369 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBBINS, JEFFREY G.
ROBBINS, TERESE A.
6923 WILDROSE TERRACE
CARLSBAD, CA 92011                                   P‐0015370 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEMINGSON, THOMAS G.
HEMINGSON, CINDY A.
800 AMANDA DRIVE
CLARKSVILLE, TN 37042                                P‐0015371 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LASHLEY, EDRENE D.
2915 NORTH TEXAS STREET
UNIT 235
FAIRFIELD, CA 94533                                  P‐0015372 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACLAIRE, JOSEPHINE
P.O. BOX 64
PARSHALL, ND 58770                                   P‐0015373 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ALVES, MICHAEL D.
ALVES, LORI L.
848 PORTSIDE CIRCLE
ROSEVILLE, CA 95678                                   P‐0015374 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REICHERT, DORA M.
13111 BENFORD DR.
HOUSTON, TX 77099                                     P‐0015375 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KESWANI, ANIL J.
1835 CADDINGTON DR UNIT 66
RANCHO PALOS VER, CA 90275                            P‐0015376 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFSIS, JAMES
1157 MONTE VISTA WAY
SACRAMENTO, CA 95831‐2822                             P‐0015377 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANKLIN, BRENDA
FRANKLIN, MORRIS
12417 HWY 417
BATCHELOR, LA 70715‐3601                              P‐0015378 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TILLMON, JENNIFER J.
TILLMON, MICHAEL S.
22413 AMY DRIVE
RICHTON PARK, IL 60471‐1646                           P‐0015379 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENSEN, DOUGLAS F.
P.O. BOX 112
TROUTDALE, OR 97060                                   P‐0015380 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARGOLIS, LEWIS S.
320 MINDANAO DRIVE
REDWOOD CITY, CA 94065                                P‐0015381 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, DAVID E.
197 UNIVERSITY HEIGHTS DRIVE
MONTICELLO, AR 71655                                  P‐0015382 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUBIN, RICARDO D.
2507 EMERSON DRIVE
FREDERICK, MD 21702                                   P‐0015383 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRUETT, JEANINE M.
419 SHANNON WAY
WINDSOR, CA 95492                                     P‐0015384 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREA, RUBEN R.
PEREA, DENEE F.
5469 E MONTECITO
FRESNO, CA 93727                                      P‐0015385 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVES, MICHAEL D.
ALVES, LORI L.
848 PORTSIDE CIRCLE
ROSEVILLE, CA 95678                                   P‐0015386 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEOFFRION, JAMES W.
GEOFFRION, LINDA K.
3424 RUM RIVER DR.
ANOKA, MN 55303                                       P‐0015387 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FESTI, ALAYNA A.
227 VALLEY AVE
LOCHBUIE, CO 80603                                    P‐0015388 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KONRATH, EMIL J.
KONRATH, IRENE S.
3849 WEST 139TH TER
LEAWOOD, KS 66224                                     P‐0015389 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CAFFREY, DAVID M.
CAFFREY, SANDRA M.
8937 VAN GOGH CIRCLE
FAIR OAKS, CA 95628                                  P‐0015390 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSON, LAUREN
OLSON, LAUREN
20707 ANZA AVE
APT. 196
TORRANCE, CA 90503                                   P‐0015391 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, LAWRENCE D.
SMITH, JANICE E.
1815 WEST LAKE DRIVE
KELSEYVILLE, CA 95451                                P‐0015392 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODNOW, NATALIE M.
RODRIGUEZ, JOSE L.
1211 CLEARFIELD DR.
AUSTIN, TX 78728                                     P‐0015393 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, EMILY
11895 RAMONA AVE APT C
HAWTHORNE, CA 90250                                  P‐0015394 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAFFREY, DAVID M.
8937 VAN GOGH CIRCLE
FAIR OAKS, CA 95628                                  P‐0015395 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PYLE, PATRICIA
1250 JONES STREET, #1401
SAN FRANCISCO, CA 94109                              P‐0015396 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFE, ROBERT M.
WOLFE, GAIL L.
718 CORSAIR DRIVE
INDEPENDENCE, OR 97351                               P‐0015397 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDMAN, JANET
FRIEDMAN, MICHAEL
9 GATSBY LANE
BERLIN, NJ 08009‐1526                                P‐0015398 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREWER, SARAH E.
3463 HAVENBROOK DR
ST LOUIS, MO 63114                                   P‐0015399 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELLMAKER, KENNETH A.
181 WHIPPOORWILL DRIVE
OAK RIDGE, TN 37830                                  P‐0015400 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESIMONE, DAVID J.
957 BABCOCK LAKE RD
PETERSBURG, NY 12138‐6207                            P‐0015401 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXSON, JOHN P.
DIXSON, JAMIE R.
485 BLUE JAY DR
SPRING CREEK, NV 89815                               P‐0015402 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHIGHAM, DOUGLAS
21729 JEFFERSON ST
FARMINGTON HILLS, MI 48336                           P‐0015403 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUDDER, LYNDA M.
625 VICTORIA DRIVE
SOUTHOLD, NY 11971                                   P‐0015404 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYNARD, DOUGLAS S.
1151 MINNESOTA AVE
SAN JOSE, CA 95125                                   P‐0015405 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ILIFF, BENJAMIN
2833 HIGHWAY 91
LEADVILLE, CO 80461                                   P‐0015406 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKHART, CYNTHIA
917 E. KNIGHT LANE
TEMPE, AZ 85284                                       P‐0015407 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESIMONE, DAVID J.
957 BABCOCK LAKE RD
PETERSBURG, NY 12138‐6207                             P‐0015408 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESTEY, WAYNE V.
83 MAIN ST
201 R
BRATTLEBORO, VT 05301                                 P‐0015409 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVILES, RICHARD A.
1417 PINAR DR.
ORLANDO, FL 32825                                     P‐0015410 11/4/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
DESIMONE, DAVID J.
957 BABCOCK LAKE RD
PETERSBURG, NY 12138‐6207                             P‐0015411 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NILSEN, CHRISTOPHER
3248 MOUNT RAINIER DRIVE
SAN JOSE, CA 95127                                    P‐0015412 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUKENS, KEVIN L.
LUKENS, LAURA R.
3474 CIRCULO ADORNO
CARLASBAD, CA 92009                                   P‐0015413 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIZZO, VIRGIL R.
1000 RIVER REACH DRIVE 514
FORT LAUDERDALE, FL 33315                             P‐0015414 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLEMMER, GAIL
130 SNOWY PEAKS DRIVE
MONTROSE, CO 81403                                    P‐0015415 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLOWERS, MARY
FLOWERS, WALTON
24117 DECORAH ROAD
DIAMOND BAR, CA 91765                                 P‐0015416 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESIMONE, DAVID J.
957 BABCOCK LAKE RD
PETERSBURG, NY 12138‐6207                             P‐0015417 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAXTON, BERYL K.
303 MILLER ROAD
APT 404
MAULDIN, SC 29662                                     P‐0015418 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAU, ARLENE D.
2364 CABRILLO DR
HAYWARD, CA 94545                                     P‐0015419 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUVIANO, JOSHUA
941 FRANKLIN ST
READING, PA 19602                                     P‐0015420 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUSDORF, ALEXIS
3109 E. GREENWAY ST
MESA, AZ 85213                                        P‐0015421 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBISON, LAURA A.
ROBISON, WILLIAM K.
1142 W WOODBINE ST
SPRINGFIELD, MO 65803                                 P‐0015422 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WHITLOW, AARON L.
WHITLOW, TANYA D.
4811 TUNIS RD
SACRAMENTO, CA 95835                                  P‐0015423 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNTEAN, DEBORAH E.
3854 86TH AVENUE NE
CIRCLE PINES, MN 55014‐4055                           P‐0015424 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, ROBERT W.
4709 DREXEL DRIVE
DALLAS, TX 75205                                      P‐0015425 11/4/2017      TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
COOSE, FRANCES L.
24848 JORDAN LANE
PLAINFIELD, IL 60544                                  P‐0015426 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPANEK, MARY L.
STEPANEK, MARK A.
240 CLIPPER WAY
SEAL BEACH, CA 90740                                  P‐0015427 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, VIVIAN D.
240 E. NORTON STREET
LONG BEACH, CA 90805                                  P‐0015428 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKS, BRYAN K.
1391 OAK OPENINGS ROAD
AVON, NY 14414                                        P‐0015429 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, JOHN F.
316 SOUTH EDISON ST
GRATON, CA 95444                                      P‐0015430 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HULEN, CHRISTINA L.
3173 S. QUINCY AVE.
MILWAUKEE, WI 53207‐2717                              P‐0015431 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCARCELLA, JOHN T.
NO ADDRESS PROVIDED
                                                      P‐0015432 11/4/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
BARRETT, JAMES B.
426 E WOODSON LATERAL RD
HENSLEY, AR 72605                                     P‐0015433 11/4/2017      TK Holdings Inc., et al .                    $9,860.40                                                                                    $9,860.40
GREEN, VIVIAN D.
240 E. NORTON STREET
LONG BEACH, CA 90805                                  P‐0015434 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIKL, JIRI
W181N6045 JACKSON DRIVE
MENOMONEE FALLS, WI 53051                             P‐0015435 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUSKY, EDWARD S.
47276 SOMERSET CT.
NOVI, MI 48374                                        P‐0015436 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENDRICK, RICK
813 N 1ST AVENUE
LAUREL, MS 39440                                      P‐0015437 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITLOW, AARON L.
4811 TUNIS RD
SACRAMENTO, CA 95835                                  P‐0015438 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIECH, PAULA
1929 D STREET
FOREST GROVE, OR 97116                                P‐0015439 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KREISER, MATTHEW A.
502 CHELSEA DRIVE
IMPERIAL, PA 15126                                    P‐0015440 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
LIN, PETER
1848 SHANNON OAKS BLVD NE
ROCHESTER, MN 55906                                   P‐0015441 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKS, BRYAN K.
1391 OAK OPENINGS ROAD
AVON, NY 14414                                        P‐0015442 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONDLIN‐BORNT, GERRI
192 S KINGSBORO AVE
GLOVERSVILLE NY                                       P‐0015443 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KYRIAKODIS, GEORGE J.
627 MOREBORO ROAD
HATBORO, PA 19040                                     P‐0015444 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCPEEK, ELIZABETH C.
2280 FRANKLIN CANYON RD
MARTINEZ, CA 94553                                    P‐0015445 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPANEK, MARK A.
STEPANEK, MARY L.
240 CLIPPER WAY
SEAL BEACH, CA 90740                                  P‐0015446 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DEBORA M.
617 CAYMAN AVE
HOLLY SPRINGS, NC 27540‐9389                          P‐0015447 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZWART, BREANNA N.
2289A BRYANT STREET
SAN FRANCISCO, CA 94110                               P‐0015448 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAPAZIAN, CHRISTOPHER L.
2115 ROOSEVELT AVENUE
BURLINGAME, CA 94010                                  P‐0015449 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEAD, CLAYTON
1490 MUSTANG CT
SALINAS, CA 93905                                     P‐0015450 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THORNTON, ROBERT R.
THORNTON, HANNAH L.
33811 SE ELM STREET
SCAPPOOSE                                             P‐0015451 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLIER, PETER
COLLIER, MARY
12294 WILLOW VALLEY RD
NEVADA CITY, CA 95959                                 P‐0015452 11/4/2017      TK Holdings Inc., et al .                     $800.00                                                                                       $800.00
EVANS, LORI
3015 E. BAYSHORE RD.
SPACE 437
REDWOOD CITY, CA 94063                                P‐0015453 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRISKILL, DOUGLAS W.
5402 GREYSTONE WAY
BIRMINGHAM, AL 35242                                  P‐0015454 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, PAUL D.
617 CAYMAN AVE
HOLLY SPRINGS, NC 27540‐9389                          P‐0015455 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, JOHN C.
2125 KNAPTON WAY
ROSEVILLW, CA 95747                                   P‐0015456 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEWETT, LELAN D.
P.O. BOX 53364
ALBUQUERQUE, NM 87153                                 P‐0015457 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ROCHE, PATRICK G.
ROCHE, CHERYL D.
2241 PLEASANT VALLEY PLACE
CHULA VISTA, CA 91915‐2220                            P‐0015458 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHULMAN, MARNIE B.
13909 OLD HARBOR LANE
#106
MARINA DEL REY, CA 90292                              P‐0015459 11/4/2017      TK Holdings Inc., et al .                     $330.00                                                                                       $330.00
BARRETT, JAMES B.
426 E WOODSON LATERAL RD
HENSLEY, AR 72065                                     P‐0015460 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LLOYD‐PRIEST, DANIEL G.
63 LAKEVIEW CT
63 LAKEVIEW CT
RONKONKOMA, NY 11779                                  P‐0015461 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LENT, MART M.
15 BOYLAN LANE
BLUE POINT, NY 11715                                  P‐0015462 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARPER, NOAL R.
1108 S. 2ND ST.
UNION CITY, TN 38261                                  P‐0015463 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DEBORA M.
617 CAYMAN AVE
HOLLY SPRINGS, NC 27540‐9389                          P‐0015464 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCFERRON, MARK
2813 MEADE COURT
GRAND JUNCTIN, CO 81506                               P‐0015465 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, SUZANNE
12116 OCEAN PROMENADE
APT 4A
ROCKAWAY BEACH, NY 11694                              P‐0015466 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALPER, STEVEN R.
2 TEAKWOOD COURT
WARREN, NJ 07059                                      P‐0015467 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEUNG, EUGENE
51 VETERANS PKWY
PEARL RIVER, NY 10965                                 P‐0015468 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROCHE, PATRICK G.
ROCHE, CHERYL D.
2241 PLEASANT VALLEY PLACE
CHULA VISTA, CA 91915‐2220                            P‐0015469 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAPATA, GUADLALUPE
ZAPATA, MARTHA L.
GUADALUPE ZAPATA
5764 MERIDIAN AVE.
SAN JOSE, CA
SANTA CLARA                                           P‐0015470 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, JEFFREY
LEWIS, ELIZABETH
2816 TONAWANDA DR.
ROCKY RIVER, OH 44116                                 P‐0015471 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SISLER, JAMES K.
3372 DUSA DR
LAS VEGAS, NV 89121                                   P‐0015472 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GRAVES, DOUGLAS W.
92107 RIVER ROAD
JUNCTION CITY, OR 97448                              P‐0015473 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTER, NICHOLAS C.
5048 W CURRANT DR
SOUTH JORDAN, UT 84009                               P‐0015474 11/4/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HORNING, NICHOLAS C.
HORNING, LAURA B.
W4481 DOGWOOD LANE
FOND DU LAC, WI 54937                                P‐0015475 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHANFIELD, LILLIAN
20446 N.E. 34 COURT
MIAMI, FL 33180                                      P‐0015476 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAW, NANCY N.
154 LAKESIDE DR.
PEACHTREE CITY, GA 30269                             P‐0015477 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEAHY, MAUREEN B.
1708 2ND AVENUE
SAN MATEO, CA 94401                                  P‐0015478 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARCHIE, EDWARD J.
215 EAST CAMDEN AVENUE APT I2
MOORESTOWN, NJ 08057                                 P‐0015479 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURAN, MARTIN A.
2200 BENJAMIN FRANKLIN PKWY
APT. S610
PHILADELPHIA, PA 19130                               P‐0015480 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROCHE, PATRICK G.
ROCHE, CHERYL D.
2241 PLEASANT VALLEY PLACE
CHULA VISTA, CA 91915‐2220                           P‐0015481 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SBARBARO, CORY M.
5903 KIRKWOOD PL N
SEATTLE, WA 98103                                    P‐0015482 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEVELAND, ANN
1803 E BROWN STREET
LUBOCK, TX 79403                                     P‐0015483 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCARTHY, CHRISTY
4939 TOWNE SOUTH ROAD
ST. LOUIS, MO 63128                                  P‐0015484 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, DANIEL O.
1584 THOMPSON STATION RD W
THOMPSON STATION, TN 37179                           P‐0015485 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERNSTEIN, ARTHUR R.
219 VIOLET STREET
MASSAPEQUA PARK, NY 11762                            P‐0015486 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TYSON, HENRY F.
TYSON, RUTH A.
756 HAZELWOOD DRIVE
WALNUT CREEK, CA 94596                               P‐0015487 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARSON, PAMELA J.
823 STILWELL LANE
HARPERS FERRY, IA 52146                              P‐0015488 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAMODIO, CHRISTINE
SAMODIO, FRED
2555 FLOSDEN ROAD SPACE 1
AMERICAN CANYON, CA 94503                            P‐0015489 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
STAVNES, JOHN D.
STAVNES, MARY L.
5917 EAGLE RIDGE RD
BETTENDORF, IA 52722                                  P‐0015490 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE GARCIA, ANTAAYA
259 PENNSYLVANIA AVE
FREEPORT, NY 11520                                    P‐0015491 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TYRRELL, AMERICO E.
28016 ELLIS COURT
SANTA CLARITA, CA 91350‐1955                          P‐0015492 11/4/2017      TK Holdings Inc., et al .                     $350.00                                                                                       $350.00
REID, KRISTIN J.
475 NORMANDY DR
MANTOLOKING, NJ 08738                                 P‐0015493 11/4/2017      TK Holdings Inc., et al .                    $1,800.00                                                                                    $1,800.00
MOBLEY, ROGER
2629 SEDGWICK AVE
APT 2E
BRONX, NY 10468                                       P‐0015494 11/4/2017      TK Holdings Inc., et al .                    $2,300.00                                                                                    $2,300.00
THOMPSON, ROB
907 GILMAN ROAD
HORSHAM, PA 19044                                     P‐0015495 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROCHE, PATRICK G.
ROCHE, CHERYL D.
2241 PLEASANT VALLEY PLACE
CHULA VISTA, CA 91915‐2220                            P‐0015496 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, JOHN J.
2418 OWEN DRIVE
WILMINGTON, DE 19808                                  P‐0015497 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, SONIA A.
GONZALEZ, PATRICIO R.
7105 WOODMONT WAY
TAMARAC, FL 33321                                     P‐0015498 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'MALLEY, SANDY J.
92107 RIVER ROAD
JUNCTION CITY, OR 97448‐9405                          P‐0015499 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANKFORD, JEFFERSON L.
450 SHADY LANE
WILKESBORO, NC 28697                                  P‐0015500 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBBINS, TERESE A.
ROBBINS, JEFFREY G.
6923 WILDROSE TERRACE
CARLSBAD, CA 92011                                    P‐0015501 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBIERI, JOHN
4100 BUTTONWOOD TRAIL
LIVERPOOL, NY 13090                                   P‐0015502 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROZANSKI, RANDALL E.
8154 WALNUT VILLA WAY
FAIR OAKS, CA 95628                                   P‐0015503 11/4/2017      TK Holdings Inc., et al .                       $45.00                                                                                       $45.00
ULISSE, MICHAEL
ULISSE, PATRICIA J.
826 36TH LANE
PUEBLO, CO 81006                                      P‐0015504 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PICARDI, MICHAEL J.
6525 N NASHVILLE APT 204B
CHICAGO, IL 60631                                     P‐0015505 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SOLIDCLIMB LLC
RENEE TWERSKY
4637 EL CABALLERO DRIVE
TARZANA, CA                                         P‐0015506 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFIN, SHANNON M.
239 FOREST VALLEY DRIVE
JACKSON, MS 39212                                   P‐0015507 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CACCIATORE, THOMAS P.
CACCIATORE FAMILY TRUST
THOMAS P CACCIATORE
99 S. LAKE AVE., SUITE 501
PASADENA, CA 91101                                  P‐0015508 11/4/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
LIM, BRENDA S.
3103 HILLSIDE DRIVE
BURLINGAME, CA 94010                                P‐0015509 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAPOLU, MADHUSUDHAN
5035 ALBRIDAL WAY
SAN RAMON, CA 94582                                 P‐0015510 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAIRBANKS, JAE M.
6132 SE 17TH AVENUE
PORTLAND, OR 97202                                  P‐0015511 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEONG, MAGGIE L.
LEONG, BRIAN T.
2141 WINDSOR AVE
CLOVIS, CA 93611‐0695                               P‐0015512 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, DARRYL
4925 CIMARRON ST
LOS ANGELES, CA 90062                               P‐0015513 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPELMAN, ANNE M.
403 SUTTON PLACE
ABINGDON, MD 21009                                  P‐0015514 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETTIT, JASON L.
183 COUNTY HIGHWAY 101
GLOVERSVILLE, NY 1078                               P‐0015515 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUARD, VICTOR A.
SUARD, IRACEMA C.
5360 STOW CIR
SANTA ROSA, CA 95409                                P‐0015516 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FICHERA, FRANK A.
LOCAL 44
FRANK
P.O. BOX 1762
BUBANK, CA 91507                                    P‐0015517 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CACCIATORE, THOMAS P.
CACCIATORE, LYN T.
THOMAS P AND LYNN B CACCIATOR
THOMAS P CACCIATORE
99 S. LAKE AVE., SUITE 501
PASADENA, CA 91101                                  P‐0015518 11/4/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
PAGE, CHRISTEN A.
LIPSCHUTZ, ZACHARY B.
3930 N. PINE GROVE AVE
APT. 3111
CHICAGO, IL 60613                                   P‐0015519 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
JAMES, ROBERT F.
1 MURPHY WAY
LYNNFIELD, MA 01940                                   P‐0015520 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDRICKS, DOUGLAS
107 PARKSIDE DRIVE
DUBLIN, PA 18917                                      P‐0015521 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUILLORY, TOMMY W.
1111 NONA ST
VINTON, LA 70668                                      P‐0015522 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMBICUR, MICHELE S.
RAMBICUR, DENNIS A.
4925 HARBOR HILLS DR
FREELAND, WA 98249                                    P‐0015523 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEBONI, MARC A.
1498 MENTON ST
DANVILLE, CA 94506                                    P‐0015524 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CACCIATORE, THOMAS P.
CACCIATORE, LYN
THE THOMAS P AND LYNB CACCIAT
99 S. LAKE AVE., SUITE 501
PASADENA, CA 91101                                    P‐0015525 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAGHDASSARIAN, ROSTOM A.
2752 PINELAWN DRIVE
LA CRESCENTA, CA 91214                                P‐0015526 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHAEFER, BENJAMIN G.
SCHAEFER, BENJAMIN G.
609 IRONWOOD COURT C2
WHEELING, IL 60090                                    P‐0015527 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZERGER, BRET A.
508 DANA CIRCLE
ROCK SPRINGS, WY 82901                                P‐0015528 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMES, ROBERT F.
1 MURPHY WAY
LYNNFIELD, MA 01940                                   P‐0015529 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, PAUL D.
BAKER, DIANE M.
7018 44TH STREET N
OAKDALE, MN 55128                                     P‐0015530 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIELSON, LISBETH A.
DANIELSON, DAVID G.
19310 SPENCER ST
ELKHORN, NE 68022                                     P‐0015531 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YUEN, EMILY
216 ROSEDALE CREEK DR
DURHAM, NC 27703                                      P‐0015532 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAN, RICHARD L.
NO ADDRESS PROVIDED
                                                      P‐0015533 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOLPHUS, TRENT
3006 CLAUDIA DR
AUGUSTA, GA 30906                                     P‐0015534 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTY, SCOTT
1687 EAST AMBER DRIVE
FAYETTEVILLE, AR 72703                                P‐0015535 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
YUEN, GEOFFREY
216 ROSEDALE CREEK DR
DURHAM, NC 27703                                     P‐0015536 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEBONI, ALEXANDER
1498 MENTON ST
DANVILLE, CA 94506                                   P‐0015537 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NESS, LEONARD J.
NESS, STEPHANIE C.
4411 N VIA SINUOSA
TUCSON, AZ 85745                                     P‐0015538 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEINGART, GREGORY J.
1834 SOUTH EUCLID AVENUE
SAN MARINO, CA 91108                                 P‐0015539 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HACKWORTH, ROSALYN M.
5678 WOODLAND GREENS RD
DOUGLASVILLE, CA 30135                               P‐0015540 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS BOYD, GENNY C.
13 CAPTAIN NURSE CIRCLE
NOVATO, CA 94949                                     P‐0015541 11/4/2017      TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
EMPEY, JEANETTE R.
P O BOX 174
FIRTH, ID 83236                                      P‐0015542 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, MARK
25560 FOUNTAINGLEN CT APT 318
STEVENSON RANCH, CA 91381‐0781                       P‐0015543 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUANG, TUOZHONG
CAKNOW TECHNOLOGY INC.
3417 E DEL MAR BLVD.
3417 E DEL MAR BLVD.
PASADENA, CA 91107                                   P‐0015544 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDRICKS, DOUGLAS
107 PARKSIDE DRIVE
DUBLIN, PA 18917                                     P‐0015545 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, CATHERINE M.
CATHERINE M ROGERS
21171 BEAU CHATEAU BLVD.
PONCHATOULA, LA 70454                                P‐0015546 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANG, JOHN A.
316 CAMERON CIRCLE
SAN RAMON, CA 94583                                  P‐0015547 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEHRING, LORI R.
376 BIRCH DRIVE
KYLE, TX 78640                                       P‐0015548 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ULLRICH, CAROLINE
748 LEONARD ST
IRONWOOD, MI 49938                                   P‐0015549 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISS, PAUL A.
127 MAPLELEAF DRIVE
WILLIAMSVILLE, NY 14221                              P‐0015550 11/4/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MUTTIKULANGARA V, PRADEEP
185 ESTANCIA DR
UNIT 161
SAN JOSE, CA 95134                                   P‐0015551 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTHEW, LISA K.
80 E 110TH ST 20 F
MANHATTAN, NY 10029                                  P‐0015552 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
AN, SHERRY Y.
532 N NEW AVE
APT 16
MONTEREY PARK, CA 91755                              P‐0015553 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUILLORY, TOMMY W.
1111 NONA ST
VINTON, LA 70668                                     P‐0015554 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILES, KEITH A.
3007 SHETLAND DR.
RAWLINS, WY 82301                                    P‐0015555 11/4/2017      TK Holdings Inc., et al .                     $633.91                                                                                       $633.91
SCHNIER, REBECCA L.
149 ST. JAMES DRIVE
PIEDMONT, CA 94611                                   P‐0015556 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, GRANT L.
3401 N 110TH ST.
KANSAS CITY, KS 66109                                P‐0015557 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDRICKS, DOUGLAS
107 PARKSIDE DRIVE
DUBLIN, PA 18917                                     P‐0015558 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COYNE, TERRANCE O.
670 WOODFIELD WAY
ROCHESTER HILLS, MI 48307                            P‐0015559 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, GRANT L.
3401 N 110TH ST.
KANSAS CITY, KS 66109                                P‐0015560 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, REGINA B.
956 BROOKMERE CT
ATLANTA, GA 30349                                    P‐0015561 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGEDORN, SCOTT A.
4664 CLUBVIEW DR
BESSEMER, AL 35022                                   P‐0015562 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KWIATKOWSKI, AMY M.
549 S. CROOKS
CLAWSON, MI 48017                                    P‐0015563 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, KATHLEEN
47 PARIS STREET
MEDFORD, MA 02155                                    P‐0015564 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMSEY, JAMES
RAMSEY, GAIL
100 SUMMERGRASS DR
GREENVILLE, SC 29617                                 P‐0015565 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONANT, RONALD M.
980 N. CONCORD RD
ALBION, MI 49224                                     P‐0015566 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBBINS, CLAUDIA D.
136 JARRELL DR
BLUFF CITY, TN 37618                                 P‐0015567 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, RITA R.
1081 VAIL VIEW DRIVE B108
VAIL, CO 81657                                       P‐0015568 11/4/2017      TK Holdings Inc., et al .                  $119,143.00                                                                                  $119,143.00
HOBBS, THOMAS A.
117 E SIMPSON AVE
FRESNO, CA 93704                                     P‐0015569 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUAZO, ERNEST B.
1409 LYNDHURST AVE
HACIENDA HEIGHTS, CA 91745‐2930                      P‐0015570 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
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                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
KASTE, MARTIN O.
RADIL, AMY R.
8025 41ST AVE NE
SEATTLE, WA 98115                                      P‐0015571 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, VIVIAN D.
240 E. NORTON STREET
LONG BEACH, CA 90805                                   P‐0015572 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, ERIK G.
1914 PINE STREET, APT 3
SAN FRANCISCO, CA 94109                                P‐0015573 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JERALD A.
JOHNSON, JUDY C.
7649 US HIGHWAY 89
BELT, MT 59412                                         P‐0015574 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBI, DONALD G.
11220 MONTE CARLO DR.
SAINT LOUIS, MO 63126‐3217                             P‐0015575 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIAZ‐RAMIREZ, LEDIF G.
MIGUEL‐PEREZ, DARIO
6400 CHRISTIE AVE., APT. 2314
EMERYVILLE, CA 94608                                   P‐0015576 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEINBERG, MICHAEL O.
WEINBERG, MICHAEL O.
35 E 85TH ST 11E
NEW YORK, NY 10028                                     P‐0015577 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, LARRY N.
THOMPSON, LINDA S.
1948 DUGAN DRIVE
CHARLOTTE, NC 28270                                    P‐0015578 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFMANN, KYLE D.
7572 FRANCIS CT. E
FRANKLIN, WI 53132                                     P‐0015579 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEERICK, ROBERT J.
1626 SPARKLING WAY
SAN JOSE, CA 95125                                     P‐0015580 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASCHDORF, KIRSTEN L.
284 MADIE AVE
SPOTSWOOD, NJ 08884                                    P‐0015581 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, TAMMERA
8430 ORTIZ CT
ORANGEVALE, CA 95662                                   P‐0015582 11/4/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
PERNA, MICHAEL
P. O. BOX 286
BLOOMING GROVE, NY 10914                               P‐0015583 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANDEMARK, JAY D.
510 MONTEREY CT
SOUTH BEND, IN 46637                                   P‐0015584 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WICKHAM, MELISSA
236 SILVER SLOOP WAY
CAROLINA BEACH, NC 28428                               P‐0015585 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELCOCK, STEPHEN
404 SAN AMBROSIO STREET
PUNTA GORDA, FL 33983                                  P‐0015586 11/4/2017      TK Holdings Inc., et al .                     $100.00                                                                                       $100.00
PERNA, MICHAEL
P.O. BOX 286
BLOOMING GROVE, NY 10914                               P‐0015587 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LIST, FREDERICK P.
225 CROSS FIELD ROAD
GREENVILLE, SC 29607                                 P‐0015588 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, GARY T.
10060 MARGO LANE
MUNSTER, IN 46321                                    P‐0015589 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUAN, MARSHALL
3534 DEL AMO BLVD
LAKEWOOD, CA 90712                                   P‐0015590 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, TIM
8430 ORTIZ CT
ORANGEVALE, CA 95662                                 P‐0015591 11/4/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
PELLETTIERI, CARL
618 PRAIRIE AVENUE
GLEN ELLYN, IL 60137                                 P‐0015592 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YIP, SING
5922 SHAFFER AVE S
SEATTLE, WA 98108                                    P‐0015593 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARVIN, DARIUSH
PARVIN, ANN E.
4138 94TH AVENUE S.E.
MERCER ISLAND, WA 98040‐4224                         P‐0015594 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OBRINGER, JOHN P.
OBRINGER, PAULA K.
2344 LAURELWOOD DRIVE
THOUSAND OAKS, CA 91362                              P‐0015595 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMES, LINDA M.
1 MURPHY WAY
LYNNFIELD, MA 01940                                  P‐0015596 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HATAM, SAVIZ
HATAM, LARA
5237 SIR LANCELOT LANE
FAIR OAKS, CA 95628                                  P‐0015597 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONNOLLY, THOMAS M.
61 FARALLON CIRCLE
SACRAMENTO, CA 95831                                 P‐0015598 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAILEY, DEMETRIUS D.
NO ADDRESS PROVIDED
                                                     P‐0015599 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILLEEN, CRYSTAL
1635 MOLUF ST
DEKALB, IL 60115                                     P‐0015600 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YIP, AGNES L.
5922 SHAFFER AVE S
SEATTLE, WA 98108                                    P‐0015601 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIELS, PATRICIA A.
DANIELS, BRIAN J.
1409 CHERRY CREST AVE
LAKE OSWEGO, OR 97034                                P‐0015602 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHIRMAN, ERIN E.
KHIRMAN, JONATHAN C.
456 ST. FRANCIS DRIVE
DANVILLE, CA 94526                                   P‐0015603 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
REYES‐GILESTRA, LIZERTTE A.
4265 NW S TAMIAMI CANAL DRIVE
APT # 205
MIAMI, FL 33126                                       P‐0015604 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IMBRO, CHRISTOPHER
CHRIS IMBRO PLUMBING
26025 1/4 CYPRESS ST.
LOMITA, CA 90717                                      P‐0015605 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAILEY, DEMETRIUS D.
NO ADDRESS PROVIDED
                                                      P‐0015606 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUPICHE, LIAUTAUD L.
2120 BUCHERT RD
APT 209
POTTSTOWN, PA 19464                                   P‐0015607 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIN, GARY M.
1447 JODELLE COURT NORTH
KEIZER, OR 97303                                      P‐0015608 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANCOCK, ROBERT
HANCOCK, CHRISTIAN
2320 MECKLENBURG AVENUE
CHARLOTTE, NC 28205                                   P‐0015609 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORTUNE II, MICHAEL A.
FORTUNE, YOLANDA G.
11334 BLUE SEDGE CT
ROANOKE, IN 46783                                     P‐0015610 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCONNELL, WAYNE L.
MCCONNELL, THERESA J.
5324 FINNEY ROAD
SALIDA, CA 95368                                      P‐0015611 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CREPIN, MARIE P.
630 CALAIS CIRCLE
HIGHLAND PARK, IL 60035                               P‐0015612 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINDER, LESLIE
KINDER, ERIC
8506 SE 72ND ST.
MERCER ISLAND, WA 98040                               P‐0015613 11/4/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
NEBBIA, ROSE
15652 N 4TH ST #21
BENNINGTON, NE 68007                                  P‐0015614 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAO, MICHAEL H.
8006 SANDBURG CT
DUNN LORING, VA 22027                                 P‐0015615 11/4/2017      TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
LEACH, MIKI M.
555 NE 15TH STREET, UNIT 19H
MIAMI, FL 33132                                       P‐0015616 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BABER, RICHARD B.
5625 60TH AVE NE
NAPLES, FL 34120                                      P‐0015617 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINDER, ERIC
KINDER, LESLIE
8506 SE 72ND ST
MERCER ISLAND, WA 98040                               P‐0015618 11/4/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
SPELMAN, ANNE M.
403 SUTTON PLACE
ABINGDON, MD 21009                                    P‐0015619 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
                                                                                            Page 1261 of 3875
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                                                                                                                   Current General                                         Current 503(b)(9)
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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SHIGENAKA, GARY
4041 4TH AVENUE N.E.
SEATTLE, WA 98105                                   P‐0015620 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLAME, JACOB
6228 AGNES AVE
NORTH HOLLYWOOD, CA 91606                           P‐0015621 11/4/2017      TK Holdings Inc., et al .                   $14,940.00                                                                                   $14,940.00
COLOMBINI, SANDRA M.
412 E. PHILLIP AVE
ELMWOOD PARK, NJ 07407                              P‐0015622 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERWINPECK, DEBORAH K.
940 LOMA VERDE AVE
PALO ALTO, CA 94303                                 P‐0015623 11/4/2017      TK Holdings Inc., et al .                     $375.00                                                                                       $375.00
HETRO, NOREEN A.
17 LACKAWANNA AVENUE
SWOYERSVILLE, PA 18704                              P‐0015624 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CREDILLE, TIMOTHY
CREDILLE, KAREN
1605 LARSON AVENUE
SAINT CHARLES, IL 60174                             P‐0015625 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAMBLE, VERNA K.
610 VAUGHN LANE SPACE 3
LEBANON, OR 97355                                   P‐0015626 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSSELL, JOHN R.
3671 FARVIEW DR.
RESCUE, CA 95672                                    P‐0015627 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEI, RUBY
16663 COMPASS WAY
BROOMFIELD, CO 80023                                P‐0015628 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCARBOROUGH, CHRIS J.
LA, SARA G.
1102 EASTDALE AVE.
NASHVILLE,, TN 37216                                P‐0015629 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHUANG, ZHENYUN
539 CHESTERTON AVE
BELMONT, CA 94002                                   P‐0015630 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAULKNER, JAMES J.
6 HARVALE DRIVE
FLORHAM PARK, NJ 07932                              P‐0015631 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMES, SARAH L.
1 MURPHY WAY
LYNNFIELD, MA 01940                                 P‐0015632 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTANGELO, JOSEPH A.
10 CRANBURY HILL CT.
MOUNT LAUREL, NJ 08054                              P‐0015633 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TASKOV, KRISTINA Y.
11052 ACADEMY RIDGE RD NE
ALBUQUERQUE, NM 87111                               P‐0015634 11/4/2017      TK Holdings Inc., et al .                    $1,835.00                                                                                    $1,835.00
BRACKENBURY, ROGER L.
3355 STRAWBERRY LANE
PORT HURON, MI 48060                                P‐0015635 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREWER, PAUL R.
25930 KAY AVE.
# 102
HAYWARD, CA 94545                                   P‐0015636 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LIM, JANET G.
CASH, JEFFREY L.
4178 42ND AVE NE
SEATTLE, WA 98105                                   P‐0015637 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALMANSOUR, WASSIM
17113 SAHLER ST
OMAHA, NE 68116                                     P‐0015638 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, JEFFREY J.
16510 NE 81ST STREET
VANCOUVER, WA 98682                                 P‐0015639 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, RICHARD D.
ROBERTS, GERAALDINE A.
3311 BAY AVE
CHICO, CA 95973                                     P‐0015640 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALSAM, WREFORD
BALSAM, JULIET
3251 HOLMBERG DR.
HELENA, MT 59602                                    P‐0015641 11/4/2017      TK Holdings Inc., et al .                    $1,264.00                                                                                    $1,264.00
SKORICK, JAMI L.
908 NW HILL ST
CAMAS, WA 98607                                     P‐0015642 11/4/2017      TK Holdings Inc., et al .                    $9,000.00                                                                                    $9,000.00
HANLEY, NORA
7 BUCKSKIN DR
WESTBOROUGH, MA 01581                               P‐0015643 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALSAM, WREFORD
BALSAM, JULIET
3251 HOLMBERG DR.
HELENA, MT 59602                                    P‐0015644 11/4/2017      TK Holdings Inc., et al .                    $1,264.00                                                                                    $1,264.00
CHALENSKI, ARTHUR A.
7306 DOGWOOD LANE
MANLIUS, NY 13104                                   P‐0015645 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILLMAN, KATHLEEN
40840 CR 25 LOT 140
LADY LAKE, FL 32159                                 P‐0015646 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARPENTER, REGINA A.
CARPENTER, JAY H.
16003 159TH PL SE
RENTON, WA 98058                                    P‐0015647 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, NORMA M.
10921 WRIGHTWOOD LANE
STUDIO CITY, CA 91604                               P‐0015648 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALSAM, WREFORD
BALSAM, JULIET
3251 HOLMBERG. DR.
HELENA, MT 59602                                    P‐0015649 11/4/2017      TK Holdings Inc., et al .                    $1,264.00                                                                                    $1,264.00
ZANDI, FARHAD
GHARIBI LORON, NASRIN
4926 CORSICA DR.
FORT COLLINS, CO 80526                              P‐0015650 11/4/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
CARPENTER, REGINA A.
CARPENTER, JAY H.
16003 159TH PL SE
RENTON, WA 98058                                    P‐0015651 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLINIO, STEVEN J.
10921 WRIGHTWOOD LANE
STUDIO CITY, CA 91604                               P‐0015652 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ROMANO, JAMES F.
30 HAWTHORN PLACE
BRIARCLIFF MANOR, NY 10510                          P‐0015653 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, JONATAN
107 CINDIE LN
BRIDGEWATER, VA 22812                               P‐0015654 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHALENSKI, ARTHUR A.
7306 DOGWOOD LANE
MANLIUS, NY 13104                                   P‐0015655 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECKER, KIRK P.
BECKER, JUDITH G.
1720 COUNTY ROAD 329
IGNACIO, CO 81137                                   P‐0015656 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
USANDIVARAS, JORGE D.
360 WHITEHALL ST
LYNBROOK, NY 11563                                  P‐0015657 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRIPE, CASEY A.
510 REDCLIFF CIRCLE
UNIT 102
RIDGWAY, CO 81432                                   P‐0015658 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEYMOUR, CHRISTOPHER
5122 N DEPAUW ST
PORTLAND, OR 97203                                  P‐0015659 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISCHBACH, YITKA
4448 REGENTS COURT
WESTLAKE VILLAGE, CA 91361                          P‐0015660 11/4/2017      TK Holdings Inc., et al .                     $861.30                                                                                       $861.30
ROMANO, JAMES F.
30 HAWTHORN PLACE
BRIARCLIFF MANOR, NY 10510                          P‐0015661 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIDGES, KELLY A.
2836 JOHNSTON RIDGE
FESTUS, M 63028                                     P‐0015662 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOBUE, JENNIFER L.
LOBUE, VALERIE L.
6135 SOUTH AKRON WAY
GREENWOOD VILLAG, CO 80111                          P‐0015663 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALLOTTA, DOUG
1120 PEACOCK CREEK DRIVE
CLAYTON, CA 94517                                   P‐0015664 11/4/2017      TK Holdings Inc., et al .                     $750.00                                                                                       $750.00
RUSCA, KANDYCE L.
13820 MARY ANN WAY
LOCKEFORD, CA 95237                                 P‐0015665 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRES‐PALLOTTA, CHELSEA
1120 PEACOCK CREEK DRIVE
CLAYTON, CA 94517                                   P‐0015666 11/4/2017      TK Holdings Inc., et al .                     $750.00                                                                                       $750.00
LAZAREV, DMITRIY
1583 MCCOY AVE
CAMPBELL, CA 95008                                  P‐0015667 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEAKLEY, JOHN A.
1089 SHOAL DRIVE
SAN MATEO, CA 94404‐1512                            P‐0015668 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WU, HUANPING
3724 ARBUCKLE DR.
SAN JOSE, CA 95124                                  P‐0015669 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
GARCIA, V, MAXIMO A.
8017 GLEN ALTA WAY
CITRUS HEIGHTS, CA 95610                           P‐0015670 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROMANO, JAMES F.
30 HAWTHORN PLACE
BRIARCLIFF MANOR, NY 10510                         P‐0015671 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIDGES, TAYLOR J.
2836 JOHNSTON RIDGE
FESTUS, MO 63028                                   P‐0015672 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALLOTTA, DOUG
PALLOTTA, KIM
1120 PEACOCK CREEK DRIVE
CLAYTON, CA 94517                                  P‐0015673 11/4/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BRADBURY, BETHANY J.
230 JOHNSON ST.
MODESTO, CA 95354                                  P‐0015674 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIRANDA, RAFAEL D.
920 NORTH EASTMAN AVENUE
LOS ANGELES, CA 90063                              P‐0015675 11/4/2017      TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
OLSON, RICHARED C.
392 MCCALL DR
BENICIA, CA 94510                                  P‐0015676 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INPENG, SIPHANHDONE
6010 SE EQUESTRIAN DR
PORTLAND, OR 97236                                 P‐0015677 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISCHBACH, GERALD
4448 REGENTS COURT
WESTLAKE VILLAGE, CA 91361                         P‐0015678 11/4/2017      TK Holdings Inc., et al .                    $2,660.94                                                                                    $2,660.94
HATAM, SAVIZ
HATAM, LARA
5237 SIR LANCELOT LANE
FAIR OAKS, CA 95628                                P‐0015679 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TODA, KEN
1400 LODI AVE
SAN MATEO, CA 94401                                P‐0015680 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARGENT, TIMOTHY A.
SARGENT, FRANCES L.
16720 W BERKELEY RD
GOODYEAR, AZ 85395                                 P‐0015681 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEAKLEY, JOHN A.
1089 SHOAL DRIVE
SAN MATEO, CA 94404‐1512                           P‐0015682 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFO, CRAIG H.
GRIFFO, MAUREEN H.
731 N. 89TH STREET
SEATTLE, WA 98103                                  P‐0015683 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGHOUSE, CYNTHIA
BERGHOUSE, JOSH
9504 KILCOLGAN WAY
ELK GROVE, CA 95758                                P‐0015684 11/4/2017      TK Holdings Inc., et al .                    $3,100.00                                                                                    $3,100.00
GUEVARA, CRIS A.
8403 SIERRA MADRE AVENUE
RANCHO CUCAMONGA, CA 91730                         P‐0015685 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARVEY, KATHLEEN M.
68 MARY STREET
CHICOPEE, MA 01020                                 P‐0015686 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SMITH, TIMOTHY A.
3023 CEDARBRIDGE RD
NORTHFIELD, NJ 08225                                P‐0015687 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORTUNE II, MICHAEL A.
11334 BLUE SEDGE CT
ROANOKE, IN 46783                                   P‐0015688 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVERNAZ, RICHARD L.
ALVERNAZ, TRACEY A.
1740 MANFRED CT
EL CAJON, CA 92021                                  P‐0015689 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSON, ANN MARIE L.
392 MCCALL DR
BENICIA, CA 94510                                   P‐0015690 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOATE, KATHLEEN A.
CHOATE, COREY R.
100 LAMAR ROAD
PITTSBURGH, PA 15241                                P‐0015691 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TU, RAYMOND K.
5610 WISCONSIN AVE
APT 204
CHEVY CHASE, MD 20815                               P‐0015692 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGHOUSE, JOSH
9504 KILCOLGAN WAY
ELK GROVE, CA 95758                                 P‐0015693 11/4/2017      TK Holdings Inc., et al .                     $700.00                                                                                       $700.00
GREEN, JR., CHARLES J.
GREEN, LAUREN F.
2728 FOLIAGE DRIVE
MARRERO, LA 70072                                   P‐0015694 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRIMOVIC, JEFFREY J.
15605 SLATER STREET
OVERLAND PARK, KS 66221                             P‐0015695 11/4/2017      TK Holdings Inc., et al .                    $1,368.99                                                                                    $1,368.99
GRAVES, JESSICA C.
TK HOLDINGS INC
1551 N ROYAL APT N
JACKSON, TN 38301                                   P‐0015696 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UWAECHIE, FIDELIA O.
1349 CARLISLE DR
BRENTWOOD, CA 94513                                 P‐0015697 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASCHDORF, KIRSTEN L.
284 MADIE AVE
SPOTSWOOD, NJ 08884                                 P‐0015698 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOSCHER, DAVID M.
P.O. BOX 286
BLOOMING GROVE, NY 10914                            P‐0015699 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAVEN, KELLY E.
1507 CENTRAL AVE.
INDIANAPOLIS, IN 46202                              P‐0015700 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOB, DENEEN L.
3135 S MOJAVE RD
APT 136
LAS VEGAS, NV 89121                                 P‐0015701 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNUM, GEORGE
393 LOWER MOULTON LANE
STOWE, VT 05672                                     P‐0015702 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HARRISON, MARGARET A.
307 NEVADA STREET
SAN FRANCISCO, CA 94110                              P‐0015703 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROSSEAU, DEBORAH
2135 IVAR AVENUE #5
LOS ANGELES, CA 90068                                P‐0015704 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERNA, MICHAEL
P.O. BOX 286
BLOOMING GROVE, NY 10914                             P‐0015705 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLEY, ANTHONY S.
55 N MAIN STREET
MONTGOMERY, PA 17752                                 P‐0015706 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UWAECHIE, FIDEDIA O.
1349 CARLISLE DR
BRENTWOOD, CA 94513                                  P‐0015707 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'MEARA, JANIS
1588 20TH AVE
APT 1
SAN FRANCISCO, CA 94122                              P‐0015708 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRETT, JAN M.
GARRETT, ROBERT A.
1909 TEANAWAY
POST FALLS, ID 83854                                 P‐0015709 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALEY, BROOKS
21164 ESCONDIDO STREET
WOODLAND HILLS, CA 91364‐5903                        P‐0015710 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAFF, MELISSA
78 BELL CANYON ROAD
BELL CANYON, CA 91307                                P‐0015711 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, RALPH
7 ASH STREET
BURLINGTON, NJ 08016                                 P‐0015712 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRAZER, HILARY A.
5500 SADRING AVENUE
WOODLAND HILLS, CA 91367                             P‐0015713 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARSCHNEY, GEORGE F.
173 BLUE MOUNTAIN ROAD
CAMANO ISLAND, WA 98282                              P‐0015714 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIDGES, RANDALL W.
750 SUMMIT BLVD
SPRINGFIELD, OR 97477                                P‐0015715 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAUCH, LARRY R.
627 170TH KST SW
LYNNWOOD, WA 98037                                   P‐0015716 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIPPY, SHOBHA
P.O. BOX 33031
SEATTLE, WA 98133                                    P‐0015717 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, LISA P.
1922 ELEVENTH AVENUE EAST
SEATTLE, WA 98102                                    P‐0015718 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIDDOES, ALISON
2319 HIDALGO AVE
LOS ANGELES, CA 90039                                P‐0015719 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, DEMETRIUS C.
157 CHEMISTRY CIRCLE
LADSON, SC 29456                                     P‐0015720 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BOHANNON, MADELINE M.
1788 CEDARWOOD DRIVE
REDDING, CA 96002                                    P‐0015721 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LABOON, JEAN
29599 CIRCLE R GREENS DR
ESCONDIDO, CA 92026                                  P‐0015722 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAFF, WILLIAM F.
78 BELL CANYON ROAD
BELL CANYON, CA 91307                                P‐0015723 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELTER, KEITH J.
1534 44TH AVE
SAN FRANCISCO, CA 94122                              P‐0015724 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCKMAN, RALPH G.
BUCKMAN, KAREN
3445 S. ATLANTIC AVE.
COCOA BEACH, FL 32931                                P‐0015725 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIN, LILI
260 CALDERON AVE
MOUNTAIN VIEW, CA 94041                              P‐0015726 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIGGINS, WARREN H.
HIGGINS, SANDRA B.
5455 SOLEDAD ROAD
LA JOLLA, CA 92037                                   P‐0015727 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNN, SHERYL A.
2468 ALLEGRO STREET
LIVERMORE, CALIFORNIA 94550                          P‐0015728 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SONDHEIM, JAY B.
10830 ARIANNA COURT
GRASS VALLEY, CA 95949                               P‐0015729 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, YUFEN
30 ASPEN AVE
SOUTH GRAFTON, MA 01560                              P‐0015730 11/4/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
CHENG, JASON
1946 ARMSTRONG AVE
SAN FRANCISCO, CA 94124                              P‐0015731 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UWAECHIE, FIDELIA O.
1349 CARLISLE DR
BRENTWOOD, CA 94513                                  P‐0015732 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOBACO, MAXIMO A.
1026 OAK GROVE DR
EAGLE ROCK, CA 90041                                 P‐0015733 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAFF, WILLIAM F.
78 BELL CANYON ROAD
BELL CANYON, CA 91307                                P‐0015734 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNKERLY, ERIN R.
77 1/2 N CATALINA AVE
PASADENA, CA 91106                                   P‐0015735 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGERTY, MARGARET L.
6353 TAMI WAY
CARMICHAEL, CA 95608                                 P‐0015736 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIGGINS, WARREN H.
HIGGINS, SANDRA B.
5455 SOLEDAD ROAD
LA JOLLA, CA 92037                                   P‐0015737 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WADEHRA, PARAS
1180 GILBERT COURT
FREMONT, CA 94536                                    P‐0015738 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANGEFRIDA, DAVID J.
SWASEY, KAREN A.
416 SOUTH WRIGHT STREET
NAPERVILLE, IL 60540‐5447                            P‐0015739 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALINAS, YVONNE R.
153 ERIE AVENUE
SEATTLE, WA 98122                                    P‐0015740 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNNANGI, SREENIVAS
386 SUMMERWOOD DR
FREMONT, CA 94536                                    P‐0015741 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNNANGI, SREENIVAS
386 SUMMERWOOD DR
FREMONT, CA 94536                                    P‐0015742 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KASHYAP, CHANDRAMOUL V.
KASHYAP, DIVYA
17134 NW COUNTRYRIDGE DR
PORTLAND, OR 97229                                   P‐0015743 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERICKSON, DANIEL W.
5218 OLIVE DRIVE
CONCORD, CA 94521                                    P‐0015744 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UWAECHIE, ROBERT I.
1349 CARLISLE DR
BRENTWOOD, CA 94513                                  P‐0015745 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SONDHEIM, JAY B.
10830 ARIANNA COURT
GRASS VALLEY, CA 95949                               P‐0015746 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASH, JEFFREY L.
LIM, JANET G.
4178 42ND AVE NE
SEATTLE, WA 98105                                    P‐0015747 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGREANOR, LAUREN
103 BLACK GOLD LANE
FOLSOM, CA 95630                                     P‐0015748 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEISKOPF, JAMES P.
GEISKOPF, SUSAN B.
3250 OAKLAND HILLS COURT
FAIRFIELD, CA 94534                                  P‐0015749 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, RAUL H.
5 LAWRENCE AVE
DANBURY, CT 06810                                    P‐0015750 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAUSE, DISA
2203 SCENIC PARK ST
THOUSAND OAKS, CA 91362                              P‐0015751 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PURCHASE, WESLEY T.
39 EDGEWOOD PARK
CAIRO, IL 62914                                      P‐0015752 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YUN, ELIZABETH E.
3401 S BENTLEY AVE #303
LOS ANGELES, CA 90034                                P‐0015753 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WON, SAMUEL
3036 GRIFFON ST. E.
DANVILLE, CA 94506                                   P‐0015754 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
HAMMOND, TERRY W.
17025 20TH AVE. WEST
LYNNWOOD, WA 98037                                    P‐0015755 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLAHOSKI, ALANA O.
250 MERCER STREET, D1204
NEW YORK, NY 10012                                    P‐0015756 11/4/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
AU, WAIMING
14655 NW HEATHMAN LANE
PORTLAND, OR 97229                                    P‐0015757 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANNOSDALE, MONICA
15200 LILY BAY CT.
LAKE OSWEGO, OR 97034                                 P‐0015758 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEETJENS, NICOLE Y.
29150 LAKE FOREST BLVD
APT # 409
DAPHNE, AL 36526                                      P‐0015759 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODRUFF, KEVIN S.
8493 LAKE ROAD
BARKER, NY 14012                                      P‐0015760 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIBOT, SERGE G.
6517 SAXET ST
HOUSTON, TX 77055                                     P‐0015761 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBRITTON, TERRY A.
890 VILLAGE RUN DR. #400
GALT, CA 95632                                        P‐0015762 11/4/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
AU, WAIMING
14655 NW HEATHMAN LANE
PORTLAND, OR 97229                                    P‐0015763 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VIDHANI, KHADIJEH
1 E SCOTT ST APT 1909
CHICAGO, IL 60610                                     P‐0015764 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOSEPH, SPASKA D.
11515 ROCHESTER AVE
APT 101
LOS ANGELES, CA 90025‐7817                            P‐0015765 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YAN, LONGMEI
50 STURBRIDGE DRIVE
PISCATAWAY, NJ 08854                                  P‐0015766 11/4/2017      TK Holdings Inc., et al .                    $1,469.00                                                                                    $1,469.00
SANTANA, ZULMA L.
ORTEGA, RICK
ZULMA SANTANA
9553 VISTA HILLS PLACE
LAKESIDE, CA 92040                                    P‐0015767 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIBOT, SERGE G.
6517 SAXET ST
HOUSTON, TX 77055                                     P‐0015768 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISHOP, CHRISTIA S.
1246 PRIOR STATION RD
CEDARTOWN, GA 30125                                   P‐0015769 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GANDHI, DEVANG
2550 CUMBERLAND BLVD. SE
APT. 416
SMYRNA, GA 30080                                      P‐0015770 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STREETER, CHRISTOPHER A.
2159 HATHAWAY AVE.
WESTLAKE VILLAGE, CA 91362                            P‐0015771 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SCHAAF, DENISE
6060 GOLDENROD LN N
PLYMOUTH MN 55442                                   P‐0015772 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, MARGIE
13021 DESSAU RD LOT 94
AUSTIN, TX 78754                                    P‐0015773 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALUCKI, LISA D.
159 N HOPE CHAPEL RD
JACKSON, NJ 08527                                   P‐0015774 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTGOMERY, LLOYD J.
MONTGOMERY, CONNIE A.
3623 BAYONNE DR, SE
SALEM, OR 97317‐5326                                P‐0015775 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STROZIER, RUTH E.
220 SCHAUB ST
SHREVEPORT, LA 71115                                P‐0015776 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLACE, BRITT A.
WALLACE, CLAUDIA M.
1209 W. DESERT HOLLOW DR.
SAN TAN VALLEY, AZ 85143                            P‐0015777 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWEN, MICHAEL N.
OWEN CERTIFIED HOME INSPECTOR
3812 NE 7TH AVENUE
PORTLAND, OR 97212                                  P‐0015778 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGUIRRE, LILIA
AGUIRRE, LILIA M.
14861 MULBERRY DRIVE #1309
WHITTIET, CA 90604                                  P‐0015779 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEAR, DEBRA L.
3429‐A REDWOOD AVE
BELLINGHAM, WA 98225                                P‐0015780 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIPPY, ANUP
P.O. BOX 33031
SEATTLE, WA 98133‐0031                              P‐0015781 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, DAVID A.
COX, COLLEEN R.
5415 E FALCON LANE
BEL AIRE, KS 67220                                  P‐0015782 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, JUAN
94 BRADFORD WALK
FARMINGTON, CT 06032                                P‐0015783 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADEIGA, OLALEKAN A.
9763 GOOD LUCK ROAD
APT 4
LANHAM, MD 20706                                    P‐0015784 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLALOBOS, ANNETTE
VILLALOBOS, JOEY
2755 ARROW HWY, SPACE 54
LA VERNE, CA 91750                                  P‐0015785 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIPPY, ANUP
P.O. BOX 33031
SEATTLE, WA 98133‐0031                              P‐0015786 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAVARIDIS, DIANA L.
1900 DUFOUR AVE #26
REDONDO BEACH, CA 90278                             P‐0015787 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MORA, DEBORAH J.
18530 E. GALLARNO DRIVE
COVINA, CA 91722                                    P‐0015788 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, TRAVIS C.
12576 WOLF RUN RD
NOBLESVILLE, IN 46060                               P‐0015789 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENNING, JACK C.
HENNING, DEANIE I.
1923 9TH AVE.
SAN FRANCISCO, CA 94116                             P‐0015790 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARAMBURO, ESTEBAN
66 FAIRMOUNT AVENUE APT.220
OAKLAND, CA 94611                                   P‐0015791 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROARK, CARLTON W.
5201 CENTRAL FWY APT 1203
WICHITA FALLS, TX 76306                             P‐0015792 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PURNELL, SUNG
13556 37TH AVE S #16
SEATTLE, WA 98168                                   P‐0015793 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIPPY, ANUP
P.O. BOX 33031
SEATTLE, WA 98133‐0031                              P‐0015794 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIDEG, ANNE MARIE
54710 DAWN DRIVE
OSCEOLA, IN 46561                                   P‐0015795 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, ALICE
POBOX 18371
SAN JOSE, CA 95158                                  P‐0015796 11/4/2017      TK Holdings Inc., et al .                    $9,999.00                                                                                    $9,999.00
ERICKSON, MARK
ERICKSON, CATHERINE
19 FOREST GLEN DRIVE
PITTSBURGH, PA 15228                                P‐0015797 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLALOBOS, ANNETTE
2755 ARROW HWY, SPACE 54
LA VERNE, CA 91750                                  P‐0015798 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERICKSON, MARK
ERICKSON, CATHERINE
19 FOREST GLEN DRIVE
PITTSBURGH, PA 15228                                P‐0015799 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERICKSON, MARK
ERICKSON, CATHERINE
19 FOREST GLEN DRIVE
PITTSBURGH, PA 15228                                P‐0015800 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DODGE, BRIAN
740 MASONIC AVE
SAN FRANCISCO, CA 94117                             P‐0015801 11/4/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HERZOG, JAMES L.
1602 N. FALCON DR.
RIDGEFIELD, WA 98642                                P‐0015802 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUAREZ, ANGELIQUE D.
5316 WINFIELD WAY
APT 3
SACRAMENTO, CA 95841                                P‐0015803 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCLUNG, ROBERT
16102 SNEE‐OOSH RD
LA CONNER, WA 98257                                 P‐0015804 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
LARSEN, JAMES A.
LARSEN, LAVINA F.
1554 BLAINE ST
WOODBURN, OR 97071                                    P‐0015805 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUIZ, JOSE B.
2381 1/2 MIRA VISTA AVE
MONTROSE, CA 91020                                    P‐0015806 11/4/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
BURIAN, MARK
BURIAN, DAWN
1909 ASBURY RD
DUBUQUE, IA 52001‐4167                                P‐0015807 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, DAVID A.
COX, COLLEEN R.
5415 E FALCON LANE
BEL AIRE, KS 67220                                    P‐0015808 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUAREZ, ANGELIQUE D.
5316 WINFIELD WAY
APT 3
SACRAMENTO, CA 95841                                  P‐0015809 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIPPY, SHOBHA
P.O. BOX 33031
SEATTLE, WA 98133                                     P‐0015810 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLESPIE, STEVEN C.
325 LAKEFRONT DRIVE
MCDONOUGH, GA 30253                                   P‐0015811 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANHOUT, TIMM J.
N359 MARION AVE.
APPLETON, WI 54915                                    P‐0015812 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNG, MICHAEL U.
UNG, EMILY B.
7126 KUKII STREET
HONOLULU, HI 96825                                    P‐0015813 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUSSAULT, HEATHER B.
DUSSAULT, JERRY L.
8335 OLD POLAND RD
BARNEVELD, NY 13304                                   P‐0015814 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUPTA, ANURAG
ANURAG GUPTA
420 JAMES ROAD, #3
PALO ALTO, CA 94306                                   P‐0015815 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOON, YUMIN
4547 8TH AVE NE APT 403
SEATTLE, WA 98105                                     P‐0015816 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DODSON, JAMES S.
1661 DICHOSO DR
ESCONDIDO, CA 92025                                   P‐0015817 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESAI, NIHAR S.
20901 BOYCE LANE
SARATOGA, CA 95070                                    P‐0015818 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDRE, JOBED
165 CARL AVE. # 7A
BROCKTON, MA 02302                                    P‐0015819 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YE, WEIXIONG
1028 HOWARD ST. APT. 401
SAN FRANCISCO, CA 94103                               P‐0015820 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
SHIPMAN, MOLLY B.
12128 W. 68TH TERRACE
SHAWNEE, KS 66216                                     P‐0015821 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINDELAR JR, JEFFREY C.
259 STRATFORD DRIVE
BROADVIEW HTS, OH 44147                               P‐0015822 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVY, BARRY D.
106 KING ST #3
POTTSTOWN, PA 19464                                   P‐0015823 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESAI, SANJEEV H.
DESAI, NIHAR S.
20901 BOYCE LANE
SARATOGA, CA 95070                                    P‐0015824 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORTNEM, NATHAN R.
212 CRESTVIEW DR
NEWBERG, OR 97132                                     P‐0015825 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOJCIECHOWSKI, JENNIFER M.
2145 S TONNE DR
APT 205
ARLINGTON HEIGHT, IL 60005                            P‐0015826 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACOFF, ROBERT J.
512 38TH PL E APT B
TUSCALOOSA, AL 35405                                  P‐0015827 11/4/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HOLLERAN NUSSER, JENNIFER A.
NUSSER, JR., EDMUND T.
3378 COLUMBIA DRIVE
PITTSBURGH, PA 15234                                  P‐0015828 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUENNEKE, KATHERINE E.
BUENNEKE, MARGARET M.
3676 VINTON AVE
APT 201
LOS ANGELES, CA 90034                                 P‐0015829 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISS, ERRON W.
WEISS, ERRON W.
4720 BEAVER POND DR N
MOUNT VERNON, WA 98274                                P‐0015830 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, GRAHAM S.
9121 NW BENSON CT
PORTLAND, OR 97229                                    P‐0015831 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, ANTHONY J.
W2808 CRESTWOOD CT
APPLETON, WI 54915                                    P‐0015832 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALDERAS, GRACIELA
1104 WHITEWING ST
ALAMO, TX 78516                                       P‐0015833 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETRINI, TYLER A.
6919 OLD WATERLOO ROAD
ELKRIDGE, MD 21075                                    P‐0015834 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACKIN, R. P.
330 TEMPLETON CT
GRANITE BAY, CA 95746                                 P‐0015835 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUSSAULT, JERRY L.
DUSSAULT, HEATHER B.
8335 OLD POLAND RD
BARNEVELD, NY 13304                                   P‐0015836 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MOE, PETER G.
1383 HANSEN ST.
CAMANO ISLAND, WA 98282                             P‐0015837 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLUMB, CATHERINE A.
2815 E. PEBBLE BEACH
MISSOURI CITY, TX 77459                             P‐0015838 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARX, JASON J.
1315 COUNTRY TRAILS RD
CONWAY, MO 65632                                    P‐0015839 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPELLER, LARRY L.
3738 FOXTAIL DRIVE
INDIANAPOLIS, IN 46235                              P‐0015840 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGRAWAL, ASHISH
9667 TAREYTON AVE
SAN RAMON, CA 94583                                 P‐0015841 11/4/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
PLUMB, CATHERINE A.
2815 E. PEBBLE BEACH
MISSOURI CITY, TX 77459                             P‐0015842 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOLAVINO, KENNETH
5239 TUSCANY DRIVE
FAIRFIELD, CA 94534                                 P‐0015843 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, SAMUEL
15242 SW MILLIKAN WAY
APT 512
BEAVERTON, OR 97003                                 P‐0015844 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMES, VICTORIA A.
165 ODDSTAD DRIVE, 101
VALLEJO, CA 94589                                   P‐0015845 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIPSON, DWAIN M.
1858 W 77TH STREET
LOS ANGELES, CA 90047                               P‐0015846 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GINDI, AARON J.
3 CHERYL DR
WEST LONG BRANCH, NJ 07764                          P‐0015847 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRING, DAN J.
52642 ROYAL FOREST
SHELBY TWP, MI 48315                                P‐0015848 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOLAVINO, KENNETH
5239 TUSCANY DRIVE
FAIRFIELD, CA 94534                                 P‐0015849 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANG, SUNG M.
15300 SE 155TH PL B103
RENTON, WA 98058                                    P‐0015850 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEDVEC, MICHAEL E.
5686 BRIAR GLEN
SAINE, MI 48176                                     P‐0015851 11/4/2017      TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
NGUYEN, THOMAS
702 LACEWING LANE
REDWOOD CITY, CA 94065                              P‐0015852 11/4/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
HAWKE, STEPHEN R.
HAWKE, NINA D.
2121 SW MARTHA
PORTLAND, OR 97239                                  P‐0015853 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOH, DANIEL
10409 N MACARTHUR BLVD 218
IRVING, TX 75063                                    P‐0015854 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CHRISTENSON, RONALD P.
2277 WEST HWY 36
ROSEVILLE, MN 55113                                  P‐0015855 11/4/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
NGUYEN, THOMAS
702 LACEWING LANE
REDWOOD CITY, CA 94065                               P‐0015856 11/4/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
CHRISTENSON, RONALD P.
2277 WEST HWY 36
SUITE 204
ROSEVILLE, MN 55113                                  P‐0015857 11/4/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
PASCHKE, ANDREW A.
1163 ELLIOTT AVE.
MADISON HEIGHTS, MI 48071                            P‐0015858 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAINES, ROGER L.
4053 BRIAN CT.
LAKE OSWEGO, OR 97034                                P‐0015859 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAN, HIU NING
301 MERIDIAN DRIVE
REDWOOD CITY, CA 94065                               P‐0015860 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAUB, KELLIE J.
355 ROCK VALLEY ROAD
ASPERS, PA 17304‐9756                                P‐0015861 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOMACK, SHALYNN M.
425 BELLE POINTE DRIVE
NASHVILLE, TN 37221                                  P‐0015862 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARMON, LEAH J.
12401 BRICKYARD BLVD
# 4051
BELTSVILLE, MD 20705                                 P‐0015863 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYWOOD, LATRESHA N.
825 FOREST AVE
APT 8
LOS ANGELES, CA 90033                                P‐0015864 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, ELENA D.
4266 NW SACAJAWEA CT
CAMAS, WA 98607                                      P‐0015865 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TALBOTT, BRUCE W.
TALBOTT, JOYCE A.
2108 51ST ST NW
ROCHESTER, MN 55901‐2040                             P‐0015866 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEHMAN, GREG J.
355 LAVERNE
MILL VALLEY, CA 94941                                P‐0015867 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELSHE, RAMON D.
215 TENNYSON AVE
PITTSBURGH, PA 15213                                 P‐0015868 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAKE, ALEXANDRIA R.
11325 E. ENROSE ST.
MESA, AZ 85207                                       P‐0015869 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUGH, KAREN D.
1805 COUNTY RD 784
FLAT ROCK, AL 35966                                  P‐0015870 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUANG, HENRY C.
1 MARQUIS CT
EDGEWATER, NJ 07020                                  P‐0015871 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DESMOND, MICHAEL J.
1784 N SYCAMORE AVE 315
LOS ANGELES, CA 90028                                P‐0015872 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUGH, KAREN D.
1805 COUNTY RD 784
FLAT ROCK, AL 35966                                  P‐0015873 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENDES, MELISSA N.
404 E 2ND AVE
LITITZ, PA 17543                                     P‐0015874 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARA, RICARDO E.
99 PARKVIEW AVE
DALY CITY, CA 94014                                  P‐0015875 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAMICO, FELICIANO
1339 71ST STREET
BROOKLYN, NY 11228‐1609                              P‐0015876 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSEN, ARIYAH
61632 PETTIGREW RD
BEND, OR 97702                                       P‐0015877 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIMPF, CHERYL A.
7661 W EATON HWY
GRAND LEDGE, MI 48837                                P‐0015878 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POUND, SANDRA D.
151 EAST RAILROAD STREET
ALAMO, GA 30411                                      P‐0015879 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTERS, WILLIAM C.
WALTERS, CASSANDRA L.
6010 SE HAROLD ST.
PORTLAND, OR 97206                                   P‐0015880 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIANG, WENLI
20737 CORTNER AVE
LAKEWOOD, CA 90715‐1656                              P‐0015881 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIAN, YUNBO
6640 AKERS MILL ROAD
APT 2912
ATLANTA, GA 30339                                    P‐0015882 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINDELAR, AMANDA M.
259 STRATFORD DRIVE
BROADVIEW HTS, OH 44147                              P‐0015883 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANHOUT, TIMM J.
N359 MARION AVE.
APPLETON, WI 54915                                   P‐0015884 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARROLL, KIMBERLY I.
45 MELODY VALLEY LN
PELL CITY, AL                                        P‐0015885 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIL DIAZ, RAFAEL J.
11201 E. LAKE HIGHLANDS DR.
APT. 1064
DALLAS, TX 75218                                     P‐0015886 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSCH, SCOTT
BUSCH, JOSETTA
15010 NE 2ND ST
VANCOUVER, WA 98684‐8218                             P‐0015887 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRABELSI, LOTFI
4973 CASON COVE DRIVE APT 528
ORLANDO, FL 32811                                    P‐0015888 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GANZ, JERI L.
10001 WINDSTREAM DRIVE, NO. 2
COLUMBIA, MD 21044                                   P‐0015889 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PECK, DOUGLAS E.
PECK, DIANNE L.
6908 MARIPOSA COVE CT.
CITRUS HEIGHTS, CA 95610‐3975                        P‐0015890 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AKANDE, JESSICA
48 FARREN AVENUE
NEW HAVEN, CT 06513                                  P‐0015891 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANNER, LETICIA
5686 LILYVIEW WAY
ELK GROVE, CA 95757                                  P‐0015892 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTORENA, JAIRO
16638 E BROOKPORT ST
COVINA, CA 91722                                     P‐0015893 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAWKE, KEVIN B.
2121 SW MARTHA
PORTLAND, OR 97239                                   P‐0015894 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORALES, ARAI
1402 W TUDOR ST
SAN DIMAS, CA 91773                                  P‐0015895 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGER, RICHARD A.
20 CHESTNUT PL
DANVILLE, CA 94506                                   P‐0015896 11/4/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
CARLIN, NATHANIEL J.
5650 S 152ND ST APT 69
TUKWILA, WA 98188                                    P‐0015897 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAO, YANHUA
6584 MAPLEWOOD RD
APT 202
MAYFIELD HTS, OH 44124                               P‐0015898 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAU, CHRISTINA
22132 BUENAVENTURA STREET
WOODLAND HILLS, CA 91364                             P‐0015899 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGER, RICHARD A.
20 CHESTNUT PL
DANVILLE, CA 94506                                   P‐0015900 11/4/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
HALL, FLOYD B.
2732 E GRAND ST
SPRINGFIELD, MO 65804                                P‐0015901 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KROEGER, MELANIE J.
120 DRIFTWOOD
NORFOLK, NE 68701                                    P‐0015902 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGER, RICHARD A.
20 CHESTNUT PL
DANVILLE, CA 94506                                   P‐0015903 11/4/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
LIOU, LOUIS
2451 PEPPERDALE DR
ROWLAND HEIGHTS, CA 91748                            P‐0015904 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPINOSA, PATRICK P.
ARIOSTO, ROSE ANN T.
160 HEYBURN ROAD
CHADDS FORD, PA 19317‐9141                           P‐0015905 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
EVANS, LURLEEN
1217 NW 91ST AVENUE
CORAL SPRINGS, FL 33071                              P‐0015906 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACKERMAN, MICHAEL J.
ACKERMAN, PHOEBE K.
320 KINGSTON DR. APT. B
ST. LOUIS, MO 63125                                  P‐0015907 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORTHROP, LISA A.
7044 NE IRVING ST
PORTLAND, OR 97213                                   P‐0015908 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAXTON, DELORES
4813 CLARITY CT
SACRAMENTO, CA 95842                                 P‐0015909 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUNKER, SCOTT
11415 ROCHESTER AVE APT 10B
LOS ANGELES, CA 90025                                P‐0015910 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TULEJA, NICHOLAS R.
TULEJA, MARY E.
18110 LOOMIS AVE
HOMEWOOD, IL 60430                                   P‐0015911 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAVLIK, MICHELLE M.
9113 26TH PLACE
BROOKFIELD, ILLINOIS 60513                           P‐0015912 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SZAFRANSKI, DAVID T.
2156 NW FLANDERS ST
PORTLAND, OR 97210                                   P‐0015913 11/4/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
VALENTINE, BRADY
950 COBB ROAD
NEWBERN, TN 38059                                    P‐0015914 11/4/2017      TK Holdings Inc., et al .                    $3,726.00                                                                                    $3,726.00
BAKER, DENNIS A.
2825 REDWINE RD
ATLANTA, GA 30344                                    P‐0015915 11/4/2017      TK Holdings Inc., et al .                     $245.00                                                                                       $245.00
OROZCO, ROSA L.
5037 PRIVET AVE
EL MONTE, CA 91732                                   P‐0015916 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FELSEN, BRIAN
ELECTROLYTE PRODUCTIONS
439 S HOBART BLVD
APT 304
LOS ANGELES, CA 90020                                P‐0015917 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUSS, SARAH J.
KINAS, SARAH J.
6889 KIMBERLY LANE N
MAPLE GROVE, MN 55311                                P‐0015918 11/4/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
IBANEZ, MARCOS G.
WONG IBANEZ, WINNIE W.
3302 GLEASON AVE
LOS ANGELES, CA 90063                                P‐0015919 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLEN, KATE
162 E 15TH AVE APT 7
EUGENE, OR 97401                                     P‐0015920 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISBY, CURTIS G.
BISBY, DEBORA J.
2305 42ND PLACE
ANACORTES, WA 98221                                  P‐0015921 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WAINGOLD, ELLIOT L.
3728 77TH PL. SE
MERCER ISLAND, WA 98040                            P‐0015922 11/4/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, JEREMIAH K.
21621 SE. ALDER ST.
GRESHAM, OR 97030                                  P‐0015923 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUDY, EDWARD F.
2954 COUNTY ROAD 610
BUSHNELL, FL 33513                                 P‐0015924 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARRELL, BENNIE
POST OFFICE BOX 723142
ATLANTA, GA 31139                                  P‐0015925 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREDZENS, LIA C.
27212 8TH AVENUE SOUTH
DES MOINES, WA 98198                               P‐0015926 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESPINOLA, JANE HAZEL R.
4116 OCEAN VIEW BLVD.
MONTROSE, CA 91020                                 P‐0015927 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAVEY, BRYAN T.
2329 E. CHILDS AVE.
MERCED CA 95341                                    P‐0015928 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, CHINGWEN
36 SABER LN
WILLIASMVILLE, NY 14221                            P‐0015929 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAFLOVE, NATHAN B.
4101 VIA SOLANO
PALOS VERDES EST, CA 90274                         P‐0015930 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALOGH, NICHOLAS J.
BALOGH, STEPHEN G.
146 FIESTA CIR
SAINT LOUIS, MO 63146‐5381                         P‐0015931 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAY, CYNTHIA
132 PATTI LOOP
PRATTVILLE, AL 36066                               P‐0015932 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANNER, LETICIA
5686 LILYVIEW WAY
ELK GROVE, CA 95757                                P‐0015933 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGHULDE, SURAJ P.
49002 CINNAMON FERN COMMON
UNIT 402
FREMONT, CA 94539                                  P‐0015934 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATASHVILI, DANIIL
NESTEROFF, LYUBOV
1111 ODDSTAD BLVD
PACIFICA, CA 94044                                 P‐0015935 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORLINA, ROBERT
7 NORTH WATERLOO ROAD 233
UNIT 233
DEVON, PA 19333                                    P‐0015936 11/5/2017      TK Holdings Inc., et al .                    $4,775.00                                                                                    $4,775.00
PATASHVILI, DANIEL
1111 ODDSTAD BLVD
PACIFICA, CA 94044                                 P‐0015937 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HYNSON, JOHN M.
8800 SIERRA COLLEGE BLVD.
APT. 1823
ROSEVILLE, CA 95661‐6422                           P‐0015938 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
GONCHAROV, LEONID Y.
342 24TH AVE APT.203
SAN FRANCISCO, CA 94121                               P‐0015939 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASCARDAL, CARMEN E.
34777 MONACO COMMON
FREMONT, CA 94555                                     P‐0015940 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEMAN, RICHARD D.
5851 MYRTLE HILL DR W
LAKELAND, FL 33811                                    P‐0015941 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEMIRSKY, NICHOLAS E.
34777 MONACO COMMON
FREMONT, CA 94555                                     P‐0015942 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWENS JR, JEROME D.
2100 BREMO RD
SUITE 203
RICHMOND, VA                                          P‐0015943 11/5/2017      TK Holdings Inc., et al .                     $860.00                                                                                       $860.00
COLEMAN, RICHARD D.
5851 MYRTLE HILL DR W
LAKELAND, FL 33811                                    P‐0015944 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACOSTA, JOSHUA C.
JOSHUA ACOSTA
6742 WESTERN AVE APT 11
BUENA PARK, CA 90621                                  P‐0015945 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YE, CHENGLIN
849 W ORANGE AVENUE
UNIT#3028
S SAN FRANCISCO, CA 94080                             P‐0015946 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIENER, TINA L.
5044 CASTLEWOOD DRIVE
SAN JOSE, CA 95129                                    P‐0015947 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEMIRSKY, NICHOLAS
34777 MONACO COMMON
FREMONT, CA 94555                                     P‐0015948 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANG, ERIC
13040 PARKVIEW DR
BALDWIN PARK, CA 91706                                P‐0015949 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, SUMMAYYA T.
2012 STEWART AVE
HOPEWELL, VA 23860                                    P‐0015950 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VONA, JOSEPH P.
FORD CREDIT
9211 CAMDEN LAKE WAY
ELK GROVE, CA 95624                                   P‐0015951 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAMAN, THOMAS
BEAMAN, JILL
1252 SE GLACIER LANE
GRESHAM, OR 97080                                     P‐0015952 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COCHRAN, DEBORAH
4901 W 120TH ST
#2
HAWTHORNE, CA 90250                                   P‐0015953 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAMAN, THOMAS W.
BEAMAN, JILL
1252 SE GLACIER LANE
GRESHAM, OR 97080                                     P‐0015954 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GEORGE, TORREY L.
208 ALLEM LANE
PERKASIE, PA 18944                                   P‐0015955 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOY, CYNTHIA A.
3813 HARGIS STREET
AUSTIN, TX 78723                                     P‐0015956 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AKYEMPON, KOMFORT
4735 W. BROADWAY #47
HAWTHORNE, CA 90250                                  P‐0015957 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENNIE, EDWARD
29595 SW CAMELOT ST
WILSONVILLE, OR 97070                                P‐0015958 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIPIERRO, MEGAN
8058 SE HAWTHORNE BLVD
PORTLAND, OR 97215                                   P‐0015959 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DY, LIGAYA
241 ALPS RD
WAYNE, NJ 07470                                      P‐0015960 11/5/2017      TK Holdings Inc., et al .                   $40,000.00                                                                                   $40,000.00
VICTORIO, NIA A.
2731 GOLDEN AVE.
LONG BEACH, CA 90806                                 P‐0015961 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREDZENS, LIA C.
27212 8TH AVENUE SOUTH
DES MOINES, WA 98198                                 P‐0015962 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERRITT‐SHARP, JOHN W.
TUIMAVAVE, TUTUILA M.
585 E.7TH ST
SAN JOSE, CA 95020                                   P‐0015963 11/5/2017      TK Holdings Inc., et al .                    $1,600.00                                                                                    $1,600.00
MIYAZONO, SHAUNA K.
46‐187 NONA LOOP
KANEOHE, HI 96744                                    P‐0015964 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRES, ANDRES
346 SE DAVIS ST
APT 9
DALLAS, OR 97338                                     P‐0015965 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, JESSICA L.
1933 RODNEY DRIVE
LOS ANGELES, CA                                      P‐0015966 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
USANMAZ, ARMAGAN H.
USANMAZ, SERTAN
POBOX 1475
CARMICHAEL, CA 95609                                 P‐0015967 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIRZA, RUBINA S.
14049 LEMON VALLEY PLACE
TAMPA, FL 33625                                      P‐0015968 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWDON, PAUL
19818 12TH AVE NW
SHORELINE, WA 98177                                  P‐0015969 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHILES, ROBERT H.
1721 EAST FRANKFORD RD
APT 1218
CARROLLTON, TX 75007                                 P‐0015970 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REEGEN, ANDREW
REEGEN, ANDREW
1574 ANDORRE GLEN
ESCONDIDO, CA 92029                                  P‐0015971 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
LOWDON, PAUL
19818 12TH AVE NW
SHORELINE, WA 98177                                   P‐0015972 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YANSANE, FABRICE
6410 GREEN VALLEY CIRCLE
APT 238
CULVER CITY, CA 90230                                 P‐0015973 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WERNER, POLLY J.
38654 AURORA TER
FREMONT, CA 94536                                     P‐0015974 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YANSANE, FABRICE
6410 GREEN VALLEY CIRCLE #238
CULVER CITY, CA 90230                                 P‐0015975 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PADILLA, RAMON
1272 BULLARD AVE
CLOVIS, CA 93612                                      P‐0015976 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTRY, JORIA S.
13710 CHADRON AVE APT 31
HAWTHORNE, CA 90250                                   P‐0015977 11/5/2017      TK Holdings Inc., et al .                    $6,648.00                                                                                    $6,648.00
FRIEDMANN, RON S.
91 BACON CT
LAFAYETTE, CA 94549                                   P‐0015978 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDMANN, RON S.
91 BACON CT
LAFAYETTE, CA 94549                                   P‐0015979 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDMANN, RON S.
NO ADDRESS PROVIDED
                                                      P‐0015980 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, MICHAEL S.
6224 SE 55TH AVE,
PORTLAND                                              P‐0015981 11/5/2017      TK Holdings Inc., et al .                     $950.00                                                                                       $950.00
RUSSELL, TERESA B.
1 TERRAPIN WAY
LAURENS, SC 29360                                     P‐0015982 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIGELOW, DAVID L.
2704 PARKLAWN DRIVE
LOUISVILLE, KY 40217                                  P‐0015983 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIEG, KENT G.
1024 S. CEDAR ST.
OTTAWA, KS 66067                                      P‐0015984 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STARK, MICHAEL L.
STARK, HOLLY C.
498 IROQUOIS COURT
SUFFERN, NY 10901                                     P‐0015985 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEMAS, JEFFERY D.
355 MAKA HOU LP
WAILUKU, HI 96793                                     P‐0015986 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCLASKEY, TERRY L.
33 WATERVIEW DR
GALLOWAY, NJ 08205                                    P‐0015987 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEGG, MERCEDES A.
PEGG, LEON E.
4154 LEVONSHIRE DR.
HOUSTON, TX 77025                                     P‐0015988 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ROIZEN, IGOR
2117 PROSSER AVENUE
LOS ANGELES, CA 90025                                P‐0015989 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEHARRYLAL, HANUMATI
970B SW 80TH AVENUE
NORTH LAUDERDALE, FL 33068                           P‐0015990 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUSCHETTO, JERRY F.
3049 BARRANCA DR
BAY POINT, CA 94565                                  P‐0015991 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMES, KAREN L.
21270 OLDGATE CIRCLE
ELKHORN, NE 68022                                    P‐0015992 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIRLIK, RICHARD G.
5181 S. PEBBLECREEK
WEST BLOOMFIELD, MI 48322                            P‐0015993 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELOUGHERY, DANIELLE
DELOUGHERY, PATRICK
40 NEW SCOTLAND AVENUE
FEURA BUSH, NY 12067                                 P‐0015994 11/5/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
HEUPEL, DAVID
6775 IDEAL AVE S
COTTAGE GROVE, MN 55016                              P‐0015995 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEUPEL, DAVID
6775 IDEAL AVE S
COTTAGE GROVE, MN 55016                              P‐0015996 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIRNBAUM, ALLAN J.
2568 NW EVENTIDE PLACE
STUART, FL 34994                                     P‐0015997 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLER, NANCY J.
1233 SKY RIDGE DRIVE
PITTSBURGH, PA 15241                                 P‐0015998 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERCER, ALICIA
18 KANTER DRIVE
VERNON, CT 06066                                     P‐0015999 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIETRYKOSKI, KRISTIN
26 BIG VALLEY RD
WURTSBORO, NY 12790                                  P‐0016000 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAROFALO, ROSARIO V.
5 NORTH MANOR AVENUE
LONGPORT, NJ 08403                                   P‐0016001 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AKUS, OZER
1211 FOXVIEW DRIVE
BETHLEHEM, PA 18017                                  P‐0016002 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREY, CHRISTOPHER N.
235 BROOKFIELD PL
ROSWELL, GA 30075                                    P‐0016003 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHCRAFT, DIANE M.
819 COURTINGTON LANE APT A
FT MYERS, FL                                         P‐0016004 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLETTY, MICHAEL T.
2920 SATURN AVENUE
EAU CLAIRE
USA                                                  P‐0016005 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEIDL‐NICHOLS, JILL
7634 ENGLISH DAISY COURT
VERONA, WI 53593                                     P‐0016006 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GAROFALO, IGNAZIA M.
5 NORTH MANOR AVENUE
LONGPORT, NJ 08403                                   P‐0016007 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTERS, CHRIS
19804 CALUMET
CLINTON TOWNSHIP, MI 48038                           P‐0016008 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, PAULA V.
7233 SECOND STREET
LAKEPORT, MI 48059                                   P‐0016009 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAROLD, EVELYN
1001 AUTUMN WOODS LANE
UNIT 110
VIRGINIA BEACH, VA 23454                             P‐0016010 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAROFALO, ROSARIO V.
5 NORTH MANOR AVENUE
LONGPORT, NJ 08403                                   P‐0016011 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAROFALO, IGNAZIA M.
5 NORTH MANOR AVENUE
LONGPORT, NJ 08403                                   P‐0016012 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDRIX, CALVIN
7031 BULLOCK DRIVE
CHARLOTE, NC 28214                                   P‐0016013 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANSALDO, DOUGLAS P.
849 MADRONA RIDGE DRIVE
BANDERA, TX 78003                                    P‐0016014 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANE, PAUL J.
866 WASHINGTON ST
P.O. BOX 366
WHITMAN, MA 02382                                    P‐0016015 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, KAREN M.
688 5TH STREET N
BAYPORT, MN 55003                                    P‐0016016 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAROFALO, IGNAZIA M.
5 NORTH MANOR AVENUE
LONGPORT, NJ 08403                                   P‐0016017 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RINES, THOMAS M.
4 FOX RUN
EAST SANDWICH, MA 02537                              P‐0016018 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANSALDO, DOUGLAS P.
849 MADRONA RIDGE DRIVE
BANDERA, TX 78003                                    P‐0016019 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOW, LEON C.
12826 CAMELLIA BAY DR W
JACKSONVILLE, FL 32223                               P‐0016020 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RINES, THOMAS M.
4 FOX RUN
EAST SANDWICH, MA 02537                              P‐0016021 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCBRIEN, ANDREW
MCBRIEN, ANGELA J.
11 BRADY LOOP
ANDOVER, MA 01810                                    P‐0016022 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAJESKI, PHILIP
700 SCRUBGRASS ROAD
PITTSBURGH, PA 15243                                 P‐0016023 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
FISK, WESTIN K.
1709 11TH AVE
GRAFTON, WI 53024                                     P‐0016024 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLDEROG, AMANDA
5242 HEATHERSTONE CT
BETTENDORF, IA                                        P‐0016025 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENZUELA, CESAR F.
65 DEMILLE AVE
ELMONT, NY 11003                                      P‐0016026 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARE, STEPHEN R.
2624 SW ASHWORTH PL
TOPEKA
, KS 66614                                            P‐0016027 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENNY, BRIAN T.
6921 ACHIEVE DR
AMARILLO, TX 79119                                    P‐0016028 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORES, VICTORIA G.
2507 ROGER AVE
ODESSA, TX 79761                                      P‐0016029 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODRICH, LOUISE E.
38 MARION AVENUE
ESSEX JUNCTION, VT 05452                              P‐0016030 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOEPP, HERMAN A.
12210 BRADSHAW
OVERLAND PARK, KS 66213‐4812                          P‐0016031 11/5/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
CARTER, TERRI L.
1511 E ILLINOIS ST
BELLINGHAM, WA 98226                                  P‐0016032 11/5/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
SHARABY, LINDA
730 WILSON STREET
NORTH WOODMERE, NY 11581                              P‐0016033 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHONEY, MITCHELL S.
MAHONEY, LISA K.
5900 W ROWLAND AVE
LITTLETON, CO 80128                                   P‐0016034 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEET, LISA L.
2816 CURACAO LANE
THOMPSON STATION, TN 37179                            P‐0016035 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STARR, ADAM
1211 SW FIFTH AVE. SUITE 3000
PORTLAND, OR 97204                                    P‐0016036 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOON, DAVID
KOON, NANCY
406 NW 17TH ST.
BATTLE GROUND, WA 98604                               P‐0016037 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREETH, MARY K.
FREETH, JOSEPH T.
1061 VIA SAN JOSE
NEWBURY PARK, CA 91320                                P‐0016038 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRASEL, CHRISTOPHER J.
2426 5TH STREET
EAST MOLINE, IL 61244                                 P‐0016039 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAEHNE, BARBARA J.
900 WOODLAND DRIVE
HAVERTOWN, PA 19083‐4514                              P‐0016040 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
KOON, DAVID
KOON, NANCY
406 NW 17TH ST.
BATTLE GROUND, WA 98604                               P‐0016041 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORELLO, VICTORIA A.
459 LILY POND CT
COLUMBUS, OH 43230                                    P‐0016042 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHARABY, LINDA
730 WILSON STREET
NORTH WOODMERE, NY 11581                              P‐0016043 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAPECCI, FRANK
70 FAIRWAY DR.
SEEKONK, MA 02771                                     P‐0016044 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TREUSCH, CARL J.
148 CLARA ST
PITTSBURGH, PA 15209                                  P‐0016045 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BETSWORTH, SUSAN
32 POWDERHORN HILL ROAD
WESTON, CT 06883                                      P‐0016046 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURIN, DARLENE D.
P.O. BOX 491
CORTEZ, CO 81321                                      P‐0016047 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERON, SELIM
730 WILSON STREET
NORTH WOODMERE, NY 11581                              P‐0016048 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAYNOR, SUSAN J.
216 SLITER RD
SCHAGHTICOKE, NY 12154                                P‐0016049 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GANAPOLER, MARTIN
1201 8TH AVE. #6
SAN FRANCISCO, CA 94122‐2416                          P‐0016050 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAMPICA, MARK
11145 HILLSBORO AVE. N
CHAMPLIN, MN 55316                                    P‐0016051 11/5/2017      TK Holdings Inc., et al .                    $5,010.03                                                                                    $5,010.03
CROFT, NANCY H.
114 RILEY PRESLEY WAY
HOPKINSVILLE, KY 42240                                P‐0016052 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMARELLI, MARIANNE
267 EMERALD COURT
CASTLE ROCK, CO 80104                                 P‐0016053 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUMMINGS, KEITH R.
CUMMINGS, MARY E.
22620 W. 50TH STREET
SHAWNEE, KS 66226                                     P‐0016054 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANKINS, STEVEN L.
HANKINS, BRENDA K.
295 WINDING CREEK DRIVE
SHEPHERDSVILLE, KY 40165                              P‐0016055 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERSKINE, RICHARD A.
1665 NW 69TH TERRACE
MARGATE FLORIDA                                       P‐0016056 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAYNOR, SUSAN J.
216 SLITER RD
SCHAGHTICOKE, NY 12154                                P‐0016057 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FOARD, RICHARD M.
225 LEDGEMONT CT
ATLANTA, GA 30342                                    P‐0016058 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CABLE, LISA D.
CABLE, MATTHEW L.
25423 N 2960 RD
CASHION, OK 73016                                    P‐0016059 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBLEY, ROBERT L.
2 POOLSIDE DRIVE
MURRELLS INLET
, SC 29576                                           P‐0016060 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIRNBAUM, ALLAN J.
2568 NW EVENTIDE PLACE
STUART, FL 34994                                     P‐0016061 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGOWAN, CAROL BETH
2247 ROBINHOOD STREET
HOUSTON, TX 77005                                    P‐0016062 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAROFALO, ANTONIA G.
5 NORTH MANOR AVENUE
LONGPORT, NJ 08403                                   P‐0016063 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAVES, BYRON K.
GRAVES, JENNIFER K.
5811 HILLVIEW DR.
BERRIEN SPRINGS, MI 49103                            P‐0016064 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREY, CHRISTOPHER N.
235 BROOKFIELD PL
ROSWELL, GA 30075                                    P‐0016065 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELMS, BRENDA S.
RIOS, EDWARD F.
7494 GRIGGS WAY
SACRAMENTO, CA 95831‐4814                            P‐0016066 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUITSMAN, TIM
238 DILORENZO DRIVE
NAPERVILLE, IL 60565                                 P‐0016067 11/5/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
ALGHANEM, ABD
1441 HIGHLAND MEADOWS
FLINT, MI 48532                                      P‐0016068 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRUEGER, KRISTINA E.
374 DAVIS RD
MANSFIELD, OH 44907                                  P‐0016069 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAPPAS, JAMES
168 MOORLAND DRIVE
VALPARAISO, IN 46385                                 P‐0016070 11/5/2017      TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
JACOBS, MARILYN S.
921 WESTWOOD BLVD
# 227
LOS ANGELES, CA 90024‐2942                           P‐0016071 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HART, WILLIAM
1360 MILLBRAE AVENUE
MILLBRAE, CA 94030                                   P‐0016072 11/5/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
FIESSELER, FREDERICK W.
36 MT LEBANON RD
LONG VALLEY, NJ 07853                                P‐0016073 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARTTMEYER, EDWARD W.
NO ADDRESS PROVIDED
                                                     P‐0016074 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GARDNER, ABIGAIL
1510 HAWKSHEAD LN
LOUISVILLE, KY 40220                                P‐0016075 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAGEN, GARY
642 SURFSIDE PT
SCHAUMBURG, IL 60194                                P‐0016076 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENNINGSEN, LANETTE L.
HENNINGSEN, MATTHEW H.
1825 FALCON DRIVE
POLK CITY, IA 50226                                 P‐0016077 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCFARLAND, JOHN
3844 NW163 TER
BEAVERTON, OR 97006                                 P‐0016078 11/5/2017      TK Holdings Inc., et al .                    $5,478.00                                                                                    $5,478.00
STEPHENS, JOSEPH W.
STEPHENS, MARYANN H.
716 ARMSTRONG DRIVE
GEORGETOWN, TX 78633                                P‐0016079 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUR, WILLIAM J.
4 RANCHO LAGUNA DR
POMONA, CA 91766                                    P‐0016080 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STJOHN, KAREN
12 ORCHID DR
BEAR, DE 19701                                      P‐0016081 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONNOLLY, GWEN O.
CONNOLLY, THOMAS M.
125 ANITA DRIVE
PITTSFIELD, MA 01201                                P‐0016082 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TONNESEN, TIM
8944 AQUEDUCT AVE
NORTH HILLS, CA 91343                               P‐0016083 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TYGHTER, ANGINE
12975 SW 21ST ST
MIRAMAR, FL 33027                                   P‐0016084 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KESSELL, DAVID L.
538 MIDVALE WAY
MILL VALLEY, CA 94941                               P‐0016085 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HITZ, KENNETH M.
162 PARKSIDE DRIVE
ANNVILLE, PA 17003                                  P‐0016086 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENNINGSEN, MATTHEW H.
1825 FALCON DRIVE
POLK CITY, IA 50226                                 P‐0016087 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, WILLIAM S.
2708 110TH STREET
LYNWOOD, CA 90262                                   P‐0016088 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VARGAS, MARISOL
28 VAN BUSKIRK AVE 2FL
STAMFORD, CT 06902                                  P‐0016089 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETO, SHARI L.
173 JOCKEYVILLE ROAD
LOT 32
GLOVERSVILLE, NY 12078                              P‐0016090 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODSON, LINDA D.
526 SAVANNAH DR.
OVILLA, TX 75154                                    P‐0016091 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
CUSCK, DANIEL F.
1413 TERRACE DRIVE
PITTSBURGH, PA 15228‐1608                             P‐0016092 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARIS, WILLIAM P.
PARIS, NADINE L.
13935 SE 126TH AVE
CLACKAMAS, OR 97015                                   P‐0016093 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBERT, LYNNE T.
2700 FOREST CREEK ROAD
CHAPEL HILL, NC 27514                                 P‐0016094 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARFIELD, TONY S.
133 CLYDE AVE
3S
EVANTSON, IL 60202                                    P‐0016095 11/5/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
CONNOLLY, BRENDA T.
105 35TH AVE NE
HICKORY, NC 28601                                     P‐0016096 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRISON, PAUL L.
3829 HWY 51
FISK, MO 63940                                        P‐0016097 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLIHER, CAROLYN A.
22 FREDERICK DR
WILMINGTON, MA 01887                                  P‐0016098 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYNE, STEVEN J.
PAYNE, DEBORAH E.
131 MILLSTONE WAY
MONROEVILLE, NJ 08343                                 P‐0016099 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMART, LEE A.
629 WOODCREEK DRIVE
WATERFORD, MI 48327                                   P‐0016100 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAMENS JR, CHARLES T.
5521 CHESTERMILL DRIVE
FAIRFAX, VA 22030                                     P‐0016101 11/5/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
REED, WALTER D.
REED, SHANE M.
12480 NW 32ND MANOR
SUNRISE, FL 33323                                     P‐0016102 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUSICK, SHEILA M.
1413 TERRACE DRIVE
PITTSBURGH, PA 15228‐1608                             P‐0016103 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANEK, RON D.
PANEK, AMY C.
4111 W CHARTER OAK RD
PEORIA, IL 61615                                      P‐0016104 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAKOROFF, OWEN S.
3900 JOANNE DRIVE
GLENVIEW, IL 60026                                    P‐0016105 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMART, LEE A.
629 WOODCREEK DRIVE
WATERFORD, MI 48327                                   P‐0016106 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANDISH, KATHLEEN M.
2300 36TH STREET
BELLINGHAM, WA 98229                                  P‐0016107 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALMAROZZ, LAURA
608 W HOSPITAL ST
TAYLOR, PA 18517                                      P‐0016108 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                       Current General                                         Current 503(b)(9)
                                                                                                                                          Current Priority   Current Secured                        Current Admin    Total Current
                      Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                           Amount                                                  Amount
FERRARA, JOSEPH
10 LONG VIEW WAY
GEORGETOWN, MA 01833                                    P‐0016109 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, WILLIAM S.
2708 110TH STREET
LYNWOOD, CA 90262                                       P‐0016110 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CACHO‐NEGRETE, BRUCE T.
3828 HILLWAY DRIVE
GLENDALE, CA 91208                                      P‐0016111 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOO, SOO H.
TAKATA
9010 PRIMAVERA LANE
CYPRESS, CA 90630                                       P‐0016112 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRARA, JOSEPH
10 LONG VIEW WAY
GEORGETOWN, MA 01833                                    P‐0016113 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATERS, PAULETTE L.
3539 LISBON DRIVE
SAN JOSE, CA 95132                                      P‐0016114 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, CANDACE D.
2700 SE KENTUCKY AVE
TOPEKA, KS 666P5                                        P‐0016115 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOBBINS, CARLA C.
NO ADDRESS PROVIDED
                                                        P‐0016116 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMART, LEE A.
629 WOODCREEK DRIVE
WATERFORD, MI 48327                                     P‐0016117 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENESES, NICHOLAS J.
1755 PAULSON WAY
NAPA, CA 94558                                          P‐0016118 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLCHAN‐HEFNER, KATHLEEN
2 SPRUCE MOUNTAIN DR
PUTNAM VALLEY, NY 10579                                 P‐0016119 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MA, CHANG Z.
LIU, LINGBO
                                                        P‐0016120 11/5/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
PATEL, HARSHAD P.
PATEL, CHANDRIKA H.
126 TUMBLEWEED DRIVE
MADISON, AL 35758                                       P‐0016121 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SESSIONS, DEAN R.
1802 HOQUIAM PL NE
RENTON, WA 98059                                        P‐0016122 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, JUDY A.
TAYLOR, JAMES A.
JUDY ANN TAYLOR
6404 E RIVERDALE STREET
MESA, AZ 85215                                          P‐0016123 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MA, CHANG Z.
LIU, LINGBO
                                                        P‐0016124 11/5/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
FLORES, VICTORIA G.
2507 ROGER AVE
ODESSA, TX 79761                                        P‐0016125 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
GOLD, RACHELLE S.
3741 BENTLEY DRIVE
DURHAM, NC 27707                                      P‐0016126 11/5/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
REESE, MICHAEL B.
6591 BROADVIEW DRIVE
PRIOR LAKE                                            P‐0016127 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, JOSEPH V.
1287 BUCKS RD APT 4
PERKASIE, PA 18944                                    P‐0016128 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODRICH, LOUISE E.
38 MARION AVENUE
ESSEX JUNCTION, VT 05452                              P‐0016129 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANDERBILT, KIMBERLY
FRIED, ARTHUR
41 KIPP STREET
CHAPPAQUA, NY 10514                                   P‐0016130 11/5/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HAMPTON, PHILIP W.
31228 223RD AVENUE NE
ARLINGTON, WA 98223                                   P‐0016131 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNYDER, ZEE L.
TRAVIS, TODD N.
513 BALTIMORE ROAD
ROCKVILLE, MD 20850                                   P‐0016132 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHROEDER, ELEANOR M.
2171 GRANITE DRIVE
WALLA WALLA, WA 99362                                 P‐0016133 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATKINS, DARENDA D.
104 FRANKLIN COURT
NICHOLASVILLE, KY 40356                               P‐0016134 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN LIEU, LINDA M.
2100 FELL ST. #15
SAN FRANCISCO, CA 94117
CA                                                    P‐0016135 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REHAGEN, TIMOTHY
REHAGEN, SANDRA
576 BRIDGEBEND RD
MANCHESTER, MO 63021                                  P‐0016136 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, KIRBY A.
16932 W JENNY LN
LOXAHATCHEE, FL 33470                                 P‐0016137 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACKERSON, ALBERT H.
90 GLENWOOD ROAD
UNIT 1
CLINTON, CT 06413                                     P‐0016138 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANUSZCZYK, DONNA M.
2931 LEWIS STREET
DIGHTON, MA 02715                                     P‐0016139 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORN, MARK R.
HORN, AMANDA B.
1116 OCEAN FOREST LANE
SEABROOK ISLAND, SC 29455                             P‐0016140 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAISER, JOHN M.
4661 233RD AVE, S.E.
SAMMAMISH, WA 98075                                   P‐0016141 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GOMEZ, MADIKAY
1503 BOSHER DRIVE
CEDAR HILL, TX 75104                                 P‐0016142 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMARATA, AMY L.
CAMARATA, ANTHONY L.
2330 TERRACE DR
CEDAR FALLS, IA 50613                                P‐0016143 11/5/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
KRAFT, BRIAN M.
2402 WHITE ASH COURT
PLAINFIELD, IL 60586                                 P‐0016144 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOTVINNIK, IGOR Y.
614 W PALM AVE
MONROVIA, CA 91016                                   P‐0016145 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTOS, STEVEN A.
3515 KILGORE STREET
EUREKA, CA 95503                                     P‐0016146 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REHAGEN, TIMOTHY
REHAGEN, SANDRA
576 BRIDGEBEND RD
MANCHESTER, MO 63021                                 P‐0016147 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, XING
1258 BURNHAM DR.
SAN JOSE, CA 95132                                   P‐0016148 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERG, CRYSTAL D.
66 COOK AVE W
ST PAUL, MN 55117                                    P‐0016149 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMIREZ, FRANK
804 VICTORY PARKWAY
MIDLAND, TX 79706                                    P‐0016150 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMINSKI, BRYAN
P.O. BOX 795756
DALLAS, TX 75379                                     P‐0016151 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEDINO, RYAN L.
BEDINO, ALISON B.
517 PYRACANTHA DRIVE
HOLLY SPRINGS, NC 27540                              P‐0016152 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JESRANI, DEEPESH
JESRANI, DEEPESH
3326 N. BRIARPARK LANE
SUGAR LAND, TX 77479                                 P‐0016153 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOLPE, LEONARD M.
745 PORTA ROSA CIRCLE
ST AUGUSTINE, FL 32092                               P‐0016154 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARSHAWSKY, ANITA R.
6326 CELESTE ROAD
WEST BLOOMFIELD, MI 48322                            P‐0016155 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LESMEISTER, ANGELA A.
89 MAITLAND DR APT U
ALAMEDA, CA 94502                                    P‐0016156 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUIRK, CHRISTOPHER J.
1063 MERCY ST.
MOUNTAIN VIEW, CA 94041                              P‐0016157 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALEM, GARY
50 RIVERDALE
SEQUIM, WA 98382                                     P‐0016158 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RAMIREZ, FRANK
804 VICTORY PARKWAY
MIDLAND, TX 79706                                    P‐0016159 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLOOR, EDWARD W.
526 SOUTHWOOD DR
FOLSOM, CA 95630                                     P‐0016160 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAN, TIAN
1258 BURNHAM DR.
SAN JOSE, CA 95132                                   P‐0016161 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALDEZ, CHRISTINE E.
16069 GRAMERCY DRIVE
SAN LEANDRO, CA 94578                                P‐0016162 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHELLER, ALAN R.
75 NORTHWOOD ROAD
FAIRFIELD, CT 06825                                  P‐0016163 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REHAGEN, TIMOTHY
REHAGEN, SANDRA
576 BRIDGEBEND RD
MANCHESTER, MO 63021                                 P‐0016164 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIEGER, REMI
GRANADO, THELMA
7609 VALBURN DRIVE
AUSTIN, TX 78731                                     P‐0016165 11/5/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
RIEGER, REMI
GRANADO, THELMA
7609 VALBURN DRIVE
AUSIN, TX 78731                                      P‐0016166 11/5/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
TUCKER, LULA
13803 FIELDSTONE DR
HOUSTON, TX 77041                                    P‐0016167 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, LEONORA S.
14300 NW 73RD STREET
KANSAS CITY, MO 64152                                P‐0016168 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSHALL, KRISTY L.
2004 STAGECOACH VILLAGE
LITTLE ROCK, AR 72210                                P‐0016169 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASCARELLA, CLARA E.
PASCARELLA, JAMES J.
10958 CHARING CROSS RD
SPRING VALLEY, CA 91978                              P‐0016170 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERRY, CLAUDIA G.
218 S SHAWNEE ST
CATOOSA, OK 74015                                    P‐0016171 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, LEONORA S.
14300 NW 73RD STREET
KANSAS CITY, MO 64152                                P‐0016172 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLIVA, EMILIO
2627 KIRK AVE.
BROOMALL, PA 19008                                   P‐0016173 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOPER, TORNELL J.
9811 LAWNVIEW DRIVE
ST.LOUIS, MO 63136                                   P‐0016174 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYANT, DAVID M.
2996 WINDSOR CIRCLE
CRESTVIEW, FL 32539                                  P‐0016175 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GARCIA, CHRISANTHA M.
3949 SOUTH ANGELINE ST.
SEATTLE, WA 98118                                    P‐0016176 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GABERT, VICKI
GABERT, THOMAS
98 GENTES ROAD
ESSEX JCT, VT 05452                                  P‐0016177 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOMBROWSKI, LAWRENCE S.
300 PLYMOUTH PLACE
MERCHANTVILLE, NJ 08109                              P‐0016178 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASMUSSEN, PAMELA S.
NORTH CREEK DEVELOPMENT, INC.
10159 SW PEACE RIVER ST.
ARCADIA, FL 34269                                    P‐0016179 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALEM, A SALEMGARY
50 RIVERDALE LN
SEQUIM, WA 98382                                     P‐0016180 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ATTERBERRY, JACQUELINE
701 CREST WELL CIRCLE
ATLANTA, GA 30331                                    P‐0016181 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMMERMAN, BERNARD
485 ANFIELD CIRCLE
LAKEWAY, TX 78738                                    P‐0016182 11/5/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
AMBUEHL, DAVID O.
AMBUEHL, TONI A.
304 WEATHERSTONE LANE
SIMPSONVILLE, SC 29680                               P‐0016183 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALGHANEM, ABD A.
1441 HIGHLAND MEADOWS
FLINT, MI 48532                                      P‐0016184 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCFARLAND, JOHN
3844 NW 163 TER
BEAVERTON, OR 97006                                  P‐0016185 11/5/2017      TK Holdings Inc., et al .                   $10,269.00                                                                                   $10,269.00
MURRAY, GEORGE R.
1534 SLEEPING INDIAN ROAD
FALLBROOK, CA 92028                                  P‐0016186 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEINERT, JOLA K.
310 TADMAR AVE
PITTSBURGH, PA 15237                                 P‐0016187 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYANT, DAVID M.
2996 WINDSOR CIRCLE
CRESTVIEW, FL 32539                                  P‐0016188 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARHAM, PEARR
1055 SNEAD DR,
SUFFOLK, VA 23434                                    P‐0016189 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRAUB, ISAAC W.
3401 NE 57TH TERR
GLADSTONE, MO 64119                                  P‐0016190 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALGHANEM, ABD
1441 HIGHLAND MEADOWS
FLINT, MI 48532WDDGF                                 P‐0016191 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCINTYRE, JOHNNIE
8276 HELLS GULCH RD
ST MARIES, ID 83861                                  P‐0016192 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ANTLE, JULIE A.
2414 W 67TH STREET
DAVENPORT, IA 528060                                 P‐0016193 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUNNINGHAM, SUSAN L.
SUSAN
LANGLEY, WA SUSAN                                    P‐0016194 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACKO, ANTHONY
3754 CASE RD
AVON, OH 44011                                       P‐0016195 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMIREZ, JUAN C.
2959 ROSSMORE LANE
SAN JOSE, C 95148                                    P‐0016196 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIESEL, ROBERT F.
KIESEL, BARBARA M.
1125 RAWLINSVILLE RD.
WILLOW STREET, PA 17584                              P‐0016197 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, KAREN J.
14422 FM 2354 RD
BAYTOWN, TX 77523                                    P‐0016198 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHAM, JAMIE
P.O.BOX 57143
WEBSTER, TX 77598                                    P‐0016199 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, TRACY C.
230 DOVE LANE
FALLING WATERS, WV 25419                             P‐0016200 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEPARD, KATRINA A.
423 WHITE RD
CORINTH, VT 05039                                    P‐0016201 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALGHANEM, ABD A.
1441 HIGHLAND MEADOWS
FLINT, MI 48532                                      P‐0016202 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AHARONOFF, RAPHAEL
18237 CLARK STREET
TARZANA, CA 91356                                    P‐0016203 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARBOUR, PHILIP F.
1618 W DEL WEBB BLVD
SUN CITY CENTER, FL 33573                            P‐0016204 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, MICHELLE
9000 CROW CANYON RD.
STE. S‐308
BLACKHAWK, CA 94506                                  P‐0016205 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAUNDERS, NATALIA
8112 SHADY SPRING DR
GAITHERSBURG, MD 20877                               P‐0016206 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARSHMAN, SHERI F.
17407 GRANBERRY GATE DRIVE
TOMBALL, TX 77377                                    P‐0016207 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUDEK, RAYMOND
RUDEK, RAYMOND
53 CORNERSTONE COURT
DOYLESTOWN, PA 18901                                 P‐0016208 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, RONALD C.
105 WELLINGTON PLACE
KOSCIUSKO, MS 39090                                  P‐0016209 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ALDINGER, WILLLIAM T.
ALDINGER, CHARLENE M.
98 HANUPAOA PL
HONOLULU, HI 96822                                   P‐0016210 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARENSON, MELISSA D.
ARENSON, MATT D.
208 KIMBERLY DR
BELTON, MO 64012                                     P‐0016211 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORALES‐QUINONEZ, MARIJANE
1841 E. 83RD PLACE
DENVER, CO 80229                                     P‐0016212 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOW, ANTONIO M.
214 E. LOMITA AVE.
GLENDALE, CA 91205                                   P‐0016213 11/5/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
TROY, JOHN W.
2 MOONLIGHT COURT
MILLSTONE TWP., NJ 08510                             P‐0016214 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIMMER, MICHAEL G.
2031 REDESDALE AVE
LOS ANGELES, CA 90039                                P‐0016215 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSS, BEN D.
11214 DAYBREAK LANE
CYPRESS, TX 77429                                    P‐0016216 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIARATANO, FRANK A.
229 LONGLEAF CT
PONCHATOULA, LA 70454                                P‐0016217 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, AMY L.
2502 DAISY COVE
BRYANT, AR 72022                                     P‐0016218 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCO, BRENDA L.
12271 LAKESHORE S
AUBURN, CA 95602                                     P‐0016219 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVERMAN, MICHAEL
10663 E. TERRA DR.
SCOTTSDALE, AZ 85258                                 P‐0016220 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASTANDREA, WENDY
NO ADDRESS PROVIDED
                                                     P‐0016221 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAPOTOCZNY, ANTHONY E.
ANTHONY ZAPOTOCZNY
145 FELL STREET #302
SAN FRANCISCO, CA 94102                              P‐0016222 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROFFEY BERRY, JANE M.
3910 NE 143RD AVE.
PORTLAND, OR 97230                                   P‐0016223 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARYANCHIK, AKIM
MARYANCHIK, STELLA M.
614 ARCADIA TERRACE
UNIT 203
SUNNYVAL, CA 94085                                   P‐0016224 11/5/2017      TK Holdings Inc., et al .                     $508.95                                                                                       $508.95
SACKS, DONNA C.
6378 TAMARIND STREET
OAK PARK, CA 91377                                   P‐0016225 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEINSCHMIDT, LORI L.
6104 54TH ST. N.
OAKDALE, MN 55128                                    P‐0016226 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MOSS, BEN D.
11214 DAYBREAK LANE
CYPRESS, TX 77429                                     P‐0016227 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEDDEREL, VANCE P.
1592 COLONIAL TER APT 206
ARLINGTON, VA 22209                                   P‐0016228 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DODSON, SCOTT
DODSON, AMI
3286 SWEET DRIVE
LAFAYETTE, CA 94549                                   P‐0016229 11/5/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
DALLAS, CELESTE
1023 PINATUBO PL NW
ALBUQUERQUE, NM 87120                                 P‐0016230 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TROY, JOHN W.
2 MOONLIGHT COURT
MILLSTONE TWP., NJ 08510                              P‐0016231 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANDALL, KELLY G.
7343 LEMONWOOD WAY
PLEASANTON, CA 94588                                  P‐0016232 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPOKES, ELINOR K.
2300 W ROGERS AVENUE
BALTIMORE, MD 21209                                   P‐0016233 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EPPS, GLADYS G.
EPPS, RUSSELL
637 LA COSTA ST
MINNEOLA, FL 34715                                    P‐0016234 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PACKARD, GEORGE E.
26 OAKWOOD AVENUE
RYE, NY 10580                                         P‐0016235 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELTRINGHAM, JOHN R.
4405 JASMINE DRIVE
BETHLEHEM, PA 18020                                   P‐0016236 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, CYNTHIA A.
P.O. BOX 612
COOL, CA 95614                                        P‐0016237 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEEKS, J CRAIG
14 BICENTENNIAL DRIVE
LEXINGTON, MA 02421                                   P‐0016238 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRASHER, CORRINE E.
11519 SPRINGRIDGE DR
FORT SMITH, AR 72916                                  P‐0016239 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUEBNER, LORI L.
HUEBNER, DANIEL H.
P.O. BOX 62
CEDAR CREEK, NE 68016                                 P‐0016240 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAYMOND, KRISTA J.
4768 WOODVILLE HWY
APT 1317
TALLAHASSEE, FL 32305                                 P‐0016241 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIDEN, LAURA E.
3411 D RD
PALISADE, CO 81526                                    P‐0016242 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYADJIS, LINDA M.
P.O. BOX 67
MAPLE PLAIN, MN 55359                                 P‐0016243 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
CARNEY, DENNIS M.
595 WEST LINDEN STREET
LOUISVILLE, CO 80027                                  P‐0016244 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENS, JOHN T.
110 WINIFRED ST W
SAINT PAUL, MN 55107                                  P‐0016245 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLOVER, SUSAN A.
NO ADDRESS PROVIDED
                                                      P‐0016246 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHACHMAN, DAVID
1650 OCTAVIA ST. #112
SAN FRANCISCO, CA 94109                               P‐0016247 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEEKS, J CRAIG
14 BICENTENNIAL DRIVE
LEXINGTON, MA 02421                                   P‐0016248 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, KEITH
LIVIA
350 WINDSONG CIR
GLENDALE HEIGHTS, IL 60139                            P‐0016249 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARNEY, DENNIS M.
595 WEST LINDEN STREET
LOUISVILLE, CO 80027                                  P‐0016250 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TROY, JOHN W.
2 MOONLIGHT COURT
MILLSTONE TWP., NJ 08510                              P‐0016251 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYADJIS, GEORGE
P.O. BOX 67
MAPLE PLAIN, MN 55359                                 P‐0016252 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALOGA, CHRISTIAN
245 MEEKER OUTLET RD
DALLAS, PA 18612                                      P‐0016253 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROADNAX, RONNIKELL L.
2345 BROADMOOR DRIVE
GAUTIER, MS 39553                                     P‐0016254 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENDRICK, RONALD E.
4228 PLEASANT ACRES DRIVE
BATAVIA, OH 45103                                     P‐0016255 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLAKE, MICHELLE R.
1303 ROGERS ESTS
NEW RICHMOND, OH 45157                                P‐0016256 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARQUEZ, ERNESTO J.
512 NE 114TH TERRACE
KANSAS CITY, MO 64155                                 P‐0016257 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, KEVIN J.
TAYLOR, JOANNE
238 23RD AVENUE
SAN MATEO, CA 94403                                   P‐0016258 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, ALEXANDER E.
2510 NE 11TH AVE, #10
PORTLAND, OR 97212                                    P‐0016259 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGH, RAJAN
808 SHETLAND PL
SUNNYVALE, CA 94087                                   P‐0016260 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIEDRON, JONATHAN
12523 HAWKS NEST LANE
GERMANTOWN, MD 20876                                  P‐0016261 11/5/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
RITTLE, ROBERT J.
260 DEER TRAIL
MASRYSVILLE, PA 17053                                 P‐0016262 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, CHARLES R.
4004 GENERAL BATE DRIVE
NASHVILLE, TN 37204                                   P‐0016263 11/5/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
JANKOWSKI, MICHAEL J.
69 BULL RD
OTISVILL, NY 10963                                    P‐0016264 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOYCE, DEBRA A.
5651 UNIT H HORNADAY RD
GREENSBORO, NC 27409                                  P‐0016265 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIEL, EDWIN E.
2713 RICHLAND PARK DR
BRYANT, AR 72022                                      P‐0016266 11/5/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
TOMAN, MARSHALL B.
965 MORGAN ROAD
RIVER FALLS, WI 54022                                 P‐0016267 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASPEGREN, LINDSAY
ASPEGREN, LINDSAY
4103 LAKE FOREST DRIVE WEST
ANN ARBOR, MI 48108                                   P‐0016268 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINLEY, ALAN E.
FINLEY, VERNZINA D.
605 VALMORE PLACE
BRENTWOOD, CA 94513                                   P‐0016269 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, JIMMY D.
WILLIAMS, DONNA J.
15820 NE 20TH STREET
VANCOUVER, WA 98684                                   P‐0016270 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAU, DAVID
706 SAN JUAN OAKS RD
BRENTWOOD, CA 94513                                   P‐0016271 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELLO, DAVID A.
MELLO, PAMELA
16 SHELDON ST
NEW BEDFORD, MA 02740                                 P‐0016272 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNYDER, ZEE L.
TRAVIS, TODD N.
513 BALTIMORE ROAD
ROCKVILLE, MD 20850                                   P‐0016273 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASSATA, SALVATORE
433 VASSAR LANE
DES PLAINES, IL 60016                                 P‐0016274 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOLAN, KAREN L.
55 CURT BLVD
SARATOGA SPRINGS, NY 12866                            P‐0016275 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDSTEIN, MARK C.
423 HEMLOCK RD
FAIRFIELD, CT 06824                                   P‐0016276 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, SANDRA L.
JACKSON, J. L.
663 SAMS POINT ROAD
BEAFORT, SC 29907                                     P‐0016277 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
FINLEY, ALAN E.
FINLEY, VERNZINA D.
605 VALMORE PLACE
BRENTWOOD, CA 94513                                   P‐0016278 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANO, ALLEN W.
6991 MILLCREEK BLVD.
YOUNGSTOWN, OH 44512                                  P‐0016279 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EASTIN, LAURENE C.
2393 PARKER TRL
LOGAN, IA 51546                                       P‐0016280 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAU, DAVID
706 SAN JUAN OAKS RD
BRENTWOOD, CA 94513                                   P‐0016281 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAGER, ADAM M.
10260 HALLORAN ROAD
BOW, WA 98232                                         P‐0016282 11/5/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
FECHTEL, SALLY A.
20209 COLLEEN CT.
STRONGSVILLE, OH 44149                                P‐0016283 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNYDER, ZEE L.
TRAVIS, TODD N.
513 BALTIMORE ROAD
ROCKVILLE, MD 20850                                   P‐0016284 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, CORY A.
222 SADOWA STREET
SAN FRANCISCO, CA 94112                               P‐0016285 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAST, CHRISTIE D.
232 SUNNYSIDE PARK RD.
JEFFERSON, NC 28640                                   P‐0016286 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNEAL, WILLIAM S.
15439 HENRY ROAD
UNIT D
MORRISON, IL 61270                                    P‐0016287 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMAN, GRETCHEN R.
965 MORGAN ROAD
RIVER FALLS, WI 54022                                 P‐0016288 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, ERIC R.
178 DICKINSON RD
WEBSTER NY 14580
                                                      P‐0016289 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOTULA, MARK A.
502 CHARLOTTE AVE
ROYAL OAK, MI 48073                                   P‐0016290 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEFOOR, DOUGLAS S.
DEFOOR, BRITTANY L.
10900 W. 163RD COURT
OVERLAND PARK, KS 66221                               P‐0016291 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COXON, SHEILA A.
2310 SW PEONY STREET
CORVALLIS, OR 97333‐1774                              P‐0016292 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TYLER, ROBERT J.
TYLER, HEATHER M.
1355 LINCOLN ST
RED BLUFF, CA 96080                                   P‐0016293 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LUCAS, RYAN
6029 NE 7TH AVE
PORTLAND, OR 97211                                   P‐0016294 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEONHARDT, RONALD
5150 LAKE BREEZE LN
MAUMEE, OH 43537                                     P‐0016295 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, PAMELA J.
903 QUEENS CT
BENTON, AR 72019                                     P‐0016296 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTY, IAN K.
MCCARTY, KATHRYN K.
4249 N RIVER WAY
SACRAMENTO, CA 95864                                 P‐0016297 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAKU, YURI
14212 SE WEBSTER ROAD
PORTLAND, OR 97267                                   P‐0016298 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERLIN, NORMA R.
7144 N FENWICK AVE
PORTLAND, OR 97217                                   P‐0016299 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHARMA, ROHIT K.
CALLE ANGELES GONZALEZ
23 URB. SANTA RITA
SAN JUAN, PR 00925                                   P‐0016300 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOTULA, MARK A.
502 CHARLOTTE AVE
ROYAL OAK, MI 48073                                  P‐0016301 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VELEZ, JENIRA I.
P.O. BOX 1932
CHINO HILLS, CA                                      P‐0016302 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STINEA, ELENA
14212 SE WEBSTER ROAD
PORTLAND, OR 97267                                   P‐0016303 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOUDY, MICHAEL P.
MOUDY, MARY E.
101 FROST LOOP
NEWPORT, WA 99156                                    P‐0016304 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGNER, JAMES M.
143 MASSA DRIVE
WINDSOR, PA 17366                                    P‐0016305 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICHOLS, TOR
2290 CAMINO BODEGAS
LAS CRUCES, NM 88005                                 P‐0016306 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, THURMON A.
1305 KERBAUGH ST.
PHILADELPHIA, PA 19140                               P‐0016307 11/5/2017      TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
AYARZA, HUMBERTO F.
536 JETER STREET
REDWOOD CITY, CA 94062                               P‐0016308 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILDEN II, JOHN J.
3034 WERNER RD
NAZARETH, PA 18064                                   P‐0016309 11/5/2017      TK Holdings Inc., et al .                     $134.07                                                                                       $134.07
WIELANDT, ALBERT J.
2004 FIRCREST AVE.
COUPEVILLE, WA 98239                                 P‐0016310 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LEO, ALFREDO
116 TAMBOER DRIVE
NORTH HALEDON, NJ 07508                              P‐0016311 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRESHAM, TERRANCE G.
3063 MOMERATH COURT
DECATUR, GA 30032                                    P‐0016312 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHALEN, LINDA M.
7 TEMPLETON WAY
UNIT 1
BOSTON, MA 02124                                     P‐0016313 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAKKULA, KRISHNA KUM
23143 JULIEANN CT
FARMINGTON HILLS, MI 48335                           P‐0016314 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STILLSON, WILLIAM C.
121 CAPSTONE ST.
BELTON, TX 76513                                     P‐0016315 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, HANNAH
824 KYLE STREET
SAN JOSE, CA 95127                                   P‐0016316 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUMMINS, PATRICIA G.
143 MASSA DRIVE
WINDSOR, PA 17366                                    P‐0016317 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COON, SHEILA S.
COON, MALCOLM L.
171 LA SALLE AVENUE
ERIE, PA 16511                                       P‐0016318 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARADIS, DANIEL K.
13882 63.60 CT
MONTROSE                                             P‐0016319 11/5/2017      TK Holdings Inc., et al .                     $265.00                                                                                       $265.00
STINEA, ELENA
14212 SE WEBSTER ROAD
PORTLAND, OR 97267                                   P‐0016320 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURK, ROBERT M.
BURK, JOLENE J.
611 WOODRUFF AVENUE
LOS ANGELES, CA 90024                                P‐0016321 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEO, ALFREDO
116 TAMBOER DRIVE
NORTH HALEDON, NJ 07508                              P‐0016322 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARKE, KEENON
BROWN, RICHARA
6230 SW 24TH PLACE
UNIT 308
DAVIE, FL 33314                                      P‐0016323 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STINEA, ELENA
14212 SE WEBSTER ROAD
PORTLAND, OR 97267                                   P‐0016324 11/5/2017      TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
LAFLEUR, MARY F.
122 PARIS AVENUE
AUDUBON
, NJ 08106                                           P‐0016325 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRZANOWSKI, DAIVA K.
1900 FREDERICK RD
CATONSVILLE, MD 21228                                P‐0016326 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
POLUR, PRASAD
10 ALLEN
VALHALLA, NY 10595                                    P‐0016327 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZELENEV, ANDREI
178 WEST STERLING POND CIR
SPRING, TX 77382                                      P‐0016328 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEO, ALFREDO
116 TAMBOER DRIVE
NORTH HALEDON, NJ 07508                               P‐0016329 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAMORA, MEGAN
ZAMORA, ISAAC
1014 PEMBROOKE LN
DEKALB, IL 60115                                      P‐0016330 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUMMINS, PATRICIA G.
143 MASSA DRIVE
WINDSOR, PA 17366                                     P‐0016331 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARIGNAN, TARA L.
4559 PARADISE SHOALS RD SE
ATLANTA, GA 30339‐6789                                P‐0016332 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAKU, YURI
14212 SE WEBSTER ROAD
PORTLAND, OR 97267                                    P‐0016333 11/5/2017      TK Holdings Inc., et al .                     $150.00                                                                                       $150.00
STAUFFER JR, RICHARD L.
28 FOREST VIEW DR
WERNERSVILLE, PA 19565                                P‐0016334 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUTYALA, KRISHNA KUM
23143 JULIEANN CT
FARMINGTON HILLS, MI 48335                            P‐0016335 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWELL, KENNETH D.
POWELL, BARBARA A.
1429 COLONIAL DR.
GARNET VALLEY, PA 19060                               P‐0016336 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAMORA, MEGAN M.
1014 PEMBROOKE
DEKALB, IL 60115                                      P‐0016337 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GICK, DAVID P.
4807 S 250 E
LAFAYETTE, IN 47909                                   P‐0016338 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADKINS, DONALD
ADKINS, RHONDA
875 HIGHWAY 2779
HARDINSBURG, KY 40143                                 P‐0016339 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAKU, YURI
14212 SE WEBSTER ROAD
PORTLAND, OR 97267                                    P‐0016340 11/5/2017      TK Holdings Inc., et al .                     $150.00                                                                                       $150.00
CROUSER, CHARLES D.
11810 NE STANTON ST
PORTLAND, OR 97220                                    P‐0016341 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, RICHARD S.
1 CRANSTON COURT
PRINCETON JUNC, NJ 08550                              P‐0016342 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOSSIN, MATTHEW J.
15515 EAST 10 MILE RD. APT#10
EASTPOINTE, MI 48021                                  P‐0016343 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
FOSTER, DEBBIE S.
3208 75TH STREET
NORWAY, IA 52318                                      P‐0016344 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEDDLE, MEGAN G.
WEDDLE, SHELDON E.
120 LESA MARIE LANE
KENNEWICK, WA 99338                                   P‐0016345 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SONIN, JAMES M.
1821 MOORE CT.
ST. CHARLES, IL 60174                                 P‐0016346 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRINKLE, EDWIN R.
TRINKLE, MARKY J.
1981 VILLAGE ROUND NW
MARIETTA, GA 30064‐4748                               P‐0016347 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEONE, STEFANIA
1 JUNIPER RIDGE ROAD
TRUMBULL, CT 06611                                    P‐0016348 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAKU, YURI
14212 SE WEBSTER ROAD
PORTLAND, OR 97267                                    P‐0016349 11/5/2017      TK Holdings Inc., et al .                     $150.00                                                                                       $150.00
LOZAGA, ERIC
725 SW MIES ST
PULLMAN, WA 99163                                     P‐0016350 11/5/2017      TK Holdings Inc., et al .                       $80.00                                                                                       $80.00
ZOLLO, AMOS
45‐405 MOKULELE DR. #24
KANEOHE, HI 96744                                     P‐0016351 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WETZEL, DARYL A.
42891 HAMILTON WAY
FREMONT, CA 94538                                     P‐0016352 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, DEBBIE S.
3208 75TH STREET
NORWAY, IA 52318                                      P‐0016353 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUTTE, MICHAEL
3640 SHADY LANE
NORTH BEND, OH 45052                                  P‐0016354 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARIGNAN, ROBERT E.
4559 PARADISE SHOALS RD SE
ATLANTA, GA 30339                                     P‐0016355 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, KIM R.
ADAMS, BARTLETT M.
1835 LAKE RD
SILVER CREEK, NY 14136‐9725                           P‐0016356 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAKEFIELD, JAMES N.
WAKEFIELD, KAREN K.
501 15TH
BELLINGHAM, WA 98225                                  P‐0016357 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAKU, YURI
14212 SE WEBSTER RD
PORTLAND, OR 97267                                    P‐0016358 11/5/2017      TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
YOUNG, KATHLEEN M.
GRECO, CARMINE A.
7761 SE DOUBLETREE DRIVE
HOBE SOUND, FL 33455                                  P‐0016359 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MOSHER, DEBRA S.
MOSHER, DEBRA S.
16 CLOVER DRIVE, 3A
ESSEX JCT, VT 05452                                   P‐0016360 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAKU, YURI
14212 SE WEBSTER ROAD
PORTLAND, OR 97267                                    P‐0016361 11/5/2017      TK Holdings Inc., et al .                     $150.00                                                                                       $150.00
LEARY, PANELA
14 LARKSPUR DRIVE
NEW BADEN, IL 62265                                   P‐0016362 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAL, REETA
LAL, YOGESH
12424 RAMONA AVE, APT. H
HAWTHORNE, CA 90250                                   P‐0016363 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUTTE, CATHERINE
SCHUTTE, MICHAEL
3640 SHADY LANE
NORTH BEND, OH 45052                                  P‐0016364 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAKU, YURI
14212 SE WEBSTER ROAD
PORTLAND, OR 97267                                    P‐0016365 11/5/2017      TK Holdings Inc., et al .                     $150.00                                                                                       $150.00
HARRIS, JEAN
3105 S. 6TH
SIOUX FALLS, SD 57105                                 P‐0016366 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOPHER, PAMELA J.
2436 BARRY KNOLL WAY
FORT WAYNE, IN 468451926                              P‐0016367 11/5/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
CABRAL, MARC F.
4640 MEHARRIS PLACE
MARIETTA, GA 30062                                    P‐0016368 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FULMER, JAMES M.
1919 ROUTE 259
BOLIVAR, PA 15923                                     P‐0016369 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNYON, BRANDON D.
5647 VISTA DRIVE
WEST DES MOINES, IA 50266                             P‐0016370 11/5/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BIANCALANA, JEAN M.
15648 LINDA AVE
LOS GATOS, CA 95032                                   P‐0016371 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHERIF, AUBREY N.
5139 NORTH PARK AVENUE
INDIANAPOLIS, IN 46205                                P‐0016372 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLS, JAMES
475 29TH STREET
SAN FRANCISCO, CA 94131                               P‐0016373 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIEDRON, MELISA
12523 HAWKS NEST LANE
GERMANTOWN, MD 20876                                  P‐0016374 11/5/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
TROY, JOHN W.
2 MOONLIGHT COURT
MILLSTONE TWP., NJ 08510                              P‐0016375 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONNER, ROBERT W.
29659 ALDER PLACE
SEDRO WOOLLEY, WA 98284                               P‐0016376 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ROTHROCK, RONALD E.
8753 BECKWITH ROAD
TABERG, NY 13471                                      P‐0016377 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURRALL, JOHN P.
5368 N CLEARBROOK LANE
STRAFFORD, MO 65757                                   P‐0016378 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHURCH, PATRICIA A.
4021 ADAMS STREET
SIOUX CITY, IA                                        P‐0016379 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, RONDA M.
44 FREEDOM TRAIL
NEW CASTLE, DE 19720‐3845                             P‐0016380 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAVARRETE, FERNANDO M.
1310 SW 12TH AVENUE
BOCA RATON, FL 33486                                  P‐0016381 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TROY, JOHN W.
2 MOONLIGHT COURT
MILLSTONE TWP., NJ 08510                              P‐0016382 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, KATHARINE P.
3696 HIGHLAND PARK PLACE
MEMPHIS, TN 38111                                     P‐0016383 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOPHER, RONALD L.
2436 BARRY KNOLL WAY
FORT WAYNE, IN 468451926                              P‐0016384 11/5/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
THORPE, SUSAN
THORPE, DOUGLAS
935 PENNOYER AVENUE
GRAND HAVEN, MI 49417                                 P‐0016385 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THORPE, SUSAN
THORPE, DOUGLAS
935 PENNOYER AVENUE
GRAND HAVEN, MI 49417                                 P‐0016386 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHREWSBURY, JOHN D.
53 DENNY LANE
DALLAS, GA 30157                                      P‐0016387 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUNNINGHAM, SHEILA A.
CUNNINGHAM, CHARLES G.
5325 MADEIROS DR
SUN VALLEY, NV 89433                                  P‐0016388 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAUL, CHRISTINE D.
73‐4422 HOLOHOLO ST
KAILUA KONA, HI 96740‐9307                            P‐0016389 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLLEN, JONATHAN D.
64 BROADWAY ST.
WESTFORD, MA 01886                                    P‐0016390 11/5/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
ROTH, HELEN
80 S GIBSON ROAD
APT 2417
HENDERSON, NV 89012                                   P‐0016391 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, CORNELL
18506 BLACKMOOR
DETROIT, MI 48234                                     P‐0016392 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RACHEL, JOAN F.
246 WILLOW POND WAY
PENFIELD, NY 14526                                    P‐0016393 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
OBEJAS, MARIO
5265 BINDEWALD ROAD
TORRANCE, CA 90505                                   P‐0016394 11/5/2017      TK Holdings Inc., et al .                     $900.00                                                                                       $900.00
KAUFMAN, DAVID H.
419 SHADY RIDGE DR
MONROEVILLE, PA 15146                                P‐0016395 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, AMY
4809 SWINFORD CT.
DUBLIN, CA 94568                                     P‐0016396 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHREWSBURY, JOHN D.
53DENNY LANE
DALLAS, GA 30157                                     P‐0016397 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENGLAND, ROSLYN L.
103 JONES ST
MONCKS CORNER, SC 29461                              P‐0016398 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RACHEL, JOAN F.
246 WILLOW POND WAY
PENFIELD, NY 14526JM3ER                              P‐0016399 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZWEIG, MERYL S.
12 RIDGE RD.
RANDOLPH, NJ 07869                                   P‐0016400 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, KELLIE J.
GUINDON, MATTHEW J.
1725 N 105TH ST
SEATTLE, WA 98133                                    P‐0016401 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, CORNELL
18506 BLACKMOOR
DETROIT, MI 48234                                    P‐0016402 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESTREM, SHAWN
1213 NEWARK CT
GREENWOOD, IN 46143                                  P‐0016403 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANDERPOOL, MARY L.
938 BIRCH HILL STREET
THOUSAND OAKS, CA 91320                              P‐0016404 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, JEFFREY M.
622 DUNDEE AVE
FLOSSMOOR, IL 60422‐1219                             P‐0016405 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, JEFFREY M.
622 DUNDEE AVE
FLOSSMOOR, IL 60422‐1219                             P‐0016406 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARLES, NICK S.
8 WILMINGTON ACRES CT.
EMERALD HILLS, CA 94062                              P‐0016407 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEBOLD, MORGAN
50664 LIVINGSTON DR
NORTHVILLE, MI 48168                                 P‐0016408 11/5/2017      TK Holdings Inc., et al .                    $1,600.00                                                                                    $1,600.00
KLEIN, DOROTHY C.
988 MCGUIRE DRIVE
TOMS RIVER, NJ 08753                                 P‐0016409 11/5/2017      TK Holdings Inc., et al .                   $28,000.00                                                                                   $28,000.00
ASHENFELTER, ERIC M.
2002 E VISTA DR
PHOENIX, AZ 85022                                    P‐0016410 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEBENY, KATHERINE A.
101 E. WASHINGTON AVE.
DES MOINES, IA 50316                                 P‐0016411 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
QUINN, JEFFREY M.
622 DUNDEE AVE
FLOSSMOOR, IL 60422‐1219                             P‐0016412 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARUTHERS, TERESA A.
229 RAILROAD AVE
EPHRATA, PA 17522                                    P‐0016413 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'CONNELL, LARRY A.
O'CONNELL, DEBBIE L.
23140 CUERVO DR
VALENCIA, CA 91354                                   P‐0016414 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLING, CHARLES D.
63 WATERVIEW DR.
SARATOGA SPRINGS, NY 12866                           P‐0016415 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAXTON, GERI L.
5341 COUNTY ROAD 125
WILDWOOD, FL 34785                                   P‐0016416 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOON, TIMOTHY C.
5631 KENAI FJORDS LOOP
ANCHORAGE, AK 99502                                  P‐0016417 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, JEFFREY M.
622 DUNDEE AVE
FLOSSMOOR, IL 60422‐1219                             P‐0016418 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASE, STEVEN
2004 ARBOR CIR
BREA, CA 92821                                       P‐0016419 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KABELE, HEATHER
11400 DUNBEATH DRIVE
HOUSTON, TX 77024                                    P‐0016420 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DALE‐DONOFRIO, LINDA S.
450 CENTRAL AVE
PACIFIC GROVE, CA 93950                              P‐0016421 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARVIZO, JULIA R.
2036 LAKE ELMO DRIVE
BILLINGS,, MT 59105                                  P‐0016422 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYERS, LAURA L.
533 OLYMPIC VIEW
CAMANO ISLAND, WA 98282                              P‐0016423 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RACHEL, JOAN F.
246 WILLOW POND WAY
PENFIELD, NY 14526                                   P‐0016424 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAPKA, TRUDY
1609 S DAWLEY DR
BRANDON, SD 57005                                    P‐0016425 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, SCOTT S.
ANDERSON, SCOTT S.
1130 NORTH 37TH ST
LINCOLN, NE 68503                                    P‐0016426 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, JEFFREY M.
622 DUNDEE AVE
FLOSSMOOR, IL 60422                                  P‐0016427 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLS, CYNTHIA D.
31 CHECKERBERRY LN
GLASTONBURY, CT 06033                                P‐0016428 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                          Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
GARCIA, SHANNON M.
PERSON, ISAAC A.
4034 NE 105TH AVE.
PORTLAND, OR 97220                                   P‐0016429 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
MALAM, LOURDES V.
19972 TRACY COURT
CANYON COUNTRY, CA 91351‐4822                        P‐0016430 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
BUTTLES, JUSTIN R.
BUTTLES, MARIE Y.
17983 NW LONE ROCK DR
PORTLAND, OR 97229                                   P‐0016431 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
FASSETT, STEPHEN M.
95‐802 WIKAO STREET R203
MILILANI, HI 96789                                   P‐0016432 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LYDDY, NATHAN C.
103 MURRAY STREET
CAMP DOUGLAS, WI 54618                               P‐0016433 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
GRASMEDER, HENRY M.
11841 SW 23RD AVE
PORTLAND, OR 97219                                   P‐0016434 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SIMKHAYEV, YUNNO
14442 73RD AVE
FLUSHING, NY 11367                                   P‐0016435 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
BOOKLEINER, MARK C.
BOOKLEINER, TRACY L.
207 KEY GARDEN DRIVE
CORAOPOLIS, PA 15108                                 P‐0016436 11/5/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                     $4,000.00
HOLLAND, SHENA
HOLLAND, SHENA
3480 ENON RD
ATLANTA, GA 30349‐1234                               P‐0016437 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
STINEA, ELENA
14212 SE WEBSTER ROAD
PORTLAND, OR 97267                                   P‐0016438 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
HANSEN, KELLY L.
8490 FOUNTAIN AVE
APT 301
WEST HOLLYWOOD, CA 90069                             P‐0016439 11/5/2017      TK Holdings Inc., et al .                      $448.00                                                                                       $448.00
CHAVEZ BARILLAS, ENRIQUE B.
531 W 6TH DRIVE
MESA, AZ 85210                                       P‐0016440 11/5/2017      TK Holdings Inc., et al .                 $1,000,000.00                                                                                $1,000,000.00
MONTANO, IRENE Y.
MONTGOMERY, MARK J.
4705 SE ALDERCREST RD
PORTLAND, OR 97222                                   P‐0016441 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
CHAMBERS, TAMMIE L.
33499 ROAD 600
BOX 414
RAYMOND, CA 93653                                    P‐0016442 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
RAKU, YURI
14212 SE WEBSTER ROAD
PORTLAND, OR 97267                                   P‐0016443 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LEONHARDT, RON
5150 LAKE BREEZE LN
MAUMEE, OH 43537                                     P‐0016444 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GIURA, DEBRA
5553 ROLLINGWOOD DRIVE
SARASOTA, FL 34232                                  P‐0016445 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUNG, HANG T.
18020 ESPITO ST
N/A
ROWLAND HEIGHTS, CA 91748                           P‐0016446 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEFOOR, DOUGLAS S.
DEFOOR, BRITTANY L.
10900 W. 163RD COURT
OVERLAND PARK, KS 66221                             P‐0016447 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DEREK A.
140 S HIGH ST
APT 505
COLUMBUS, OH 43215                                  P‐0016448 11/5/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
LADLOW, LAURA E.
2643 BREEZEWOOD DRIVE
LANCASTER, PA 17601                                 P‐0016449 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, KARL C.
P.O. BOX 67
RUTLAND, VT 05701                                   P‐0016450 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORD, BARRETT D.
FORD, ANGELA
1453 BROCKTON AVE
APT 4
LOS ANGELES, CA 90025                               P‐0016451 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKS, ROBERT B.
PARKS, BARBARA I.
1017 SE SWEETBRIAR LN
TROUTDALE, OR 97060                                 P‐0016452 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKAGGS, VICKI A.
2215 HARRIMAN LN
UNIT B
REDONDO BEACH, CA 90278                             P‐0016453 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANLEY, LILA G.
10477 KLINE ST
WESTMINSTER, CO 80021                               P‐0016454 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEFOOR, DOUGLAS S.
10900 W. 163RD COURT
OVERLAND PARK, KS 66221                             P‐0016455 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DREIER, WILLIAM L.
715 ELECTRIC AVE
SEAL BEACH, CA 90740                                P‐0016456 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAMPIER, BOBBY H.
2265 OTTER LAKE LOOP
HANSON, KY 42413                                    P‐0016457 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICHOLS, TOR
2290 CAMINO BODEGAS
LAS CRUCES, NM 88005                                P‐0016458 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEITH, KELLY A.
GRANT, FLETCHER A.
AMERICAN CREDIT ACCEPTANCE
7125 MARLEY CIRCLE
STALEY, NC 27355                                    P‐0016459 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WELCH, ARLENE F.
810 NORTH PARK DRIVE
ARKADELPHIA, AR 71923                                P‐0016460 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASS, LAURA
5224 WELLER DRIVE
WOODLAND HILLS, CA 91367                             P‐0016461 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWMAN, STEPHEN
NEWMAN, KAREN
2114 GLENDON AVE
LOS ANGELES, CA 90025                                P‐0016462 11/5/2017      TK Holdings Inc., et al .                     $950.00                                                                                       $950.00
MAC NAUGHTON, WILLIAM J.
7 FREDON MARKSBORO ROAD
NEWTON, NJ 07860                                     P‐0016463 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWDER, TODD W.
231 LUCKY DR
MARIETTA, GA 30068                                   P‐0016464 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POPPLEWELL, THOMAS R.
7816 BOEDEKER DRIVE
DALLAS, TX 75225‐4501                                P‐0016465 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIWA, DIANA L.
5759 FALKENBURY RD
NORTH BRANCH, MI 48461                               P‐0016466 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHELOW, HUGH H.
13222 S 39 STREET
PHOENIX, AZ 85044                                    P‐0016467 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVY, BENJAMIN E.
265 SEVERIN STREET
CHAPEL HILL, NC 27516                                P‐0016468 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PONT, DAVID C.
18471 SW OAKVILLE CT
ALOHA, OR 97078                                      P‐0016469 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLUM, MARK E.
5153 PLUM CREEK RD
NASHVILLE, IN 47448                                  P‐0016470 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALINOWSKI, KAREN E.
MALINOWSKI, JOSEPH M.
720 THE STRAND
HERMOSA BEACH, CA 90254                              P‐0016471 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, I‐WEI
12605 LAMP POST LANE
POTOMAC, MD 20854                                    P‐0016472 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLING, MARY BETH
63 WATERVIEW DRIVE
SARATOGA SPRINGS, NY 12866                           P‐0016473 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POPPLEWELL, THOMAS R.
NO ADDRESS PROVIDED
                                                     P‐0016474 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDOVAL, RONALD E.
SANDOVAL, LISA L.
410 S. OSAGE
THAYER, KS 66776                                     P‐0016475 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINAROVICH, STEPHEN J.
52 MORGAN LANE
BRIDGEWATER, NJ 08807                                P‐0016476 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WU, WILLIAM H.
3612 PONDEROSA TRAIL
PINOLE, CA 94564                                     P‐0016477 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENJAMIN, PARK
8 FOREST RD
MADISON, NJ 07940                                    P‐0016478 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, THEIA L.
334 ALLIE LANE
LULING, LA 70070                                     P‐0016479 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, CHERYL L.
1221 PORTOLA AVENUE
SPRING VALLEY, CA 91977                              P‐0016480 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICKELS, WILLIAM R.
329 LONGWOOD XING
DALLAS, GA 30132‐1147                                P‐0016481 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHELAN, BRANDI L.
58 BURDICK AVENUE
JOHNSON CITY, NY 13790                               P‐0016482 11/5/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
RIVES, ELIZABETH L.
WILLOCS, ALISON K.
9806 WILKERSON RD
MILFORD, DE 19963                                    P‐0016483 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONNER, KATHLEEN K.
1212 SHAFTER AVE.
PACIFIC GROVE, CA 93950                              P‐0016484 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VERGA, MICHAEL P.
181 LITTLE FALLS RD.
CEDAR GROVE, NJ 07009                                P‐0016485 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, CHERYL A.
2012 STANFORD AVE.
FLINT, MI 48503                                      P‐0016486 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENRY, DIANE C.
6654 W. CONSTANCE AVE
MILWAUKEE, WI 53218‐4830                             P‐0016487 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARQUETTE, BRANDON
7100 WINDSTREAM CIR
MIDLAND, MI 48642                                    P‐0016488 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLMES, KATHLEEN M.
3534 JACKSON ST
LANSING, IL 60438                                    P‐0016489 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICKELS, WILLIAM R.
329 LONGWOOD XING
DALLAS, GA 30132‐1147                                P‐0016490 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TO, JESSICA
3524 DURFEE AVE. APT 5
EL MONTE, CA 91732                                   P‐0016491 11/5/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
BENJAMIN, AMANDA E.
8 FOREST RD
MADISON, NJ 07940                                    P‐0016492 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALINOWSKI, JOSEPH M.
MALINOWSKII, KAREN E.
720 THE STRAND
HERMOSA BEACH, CA 90254                              P‐0016493 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARQUIS, GAIL A.
79 LEE COURT
JERSEY CITY, NJ 07305                                P‐0016494 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MARQUETTE, HAROLD
7100 WINDSTREAM CIR
MIDLAND, MI 48642                                   P‐0016495 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOMMERS, CHAD A.
29037 HEMLOCK CT
ELKHART, IN 46517                                   P‐0016496 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORDER, CHERYL A.
4180 W TURKEY LN
TUCSON, AZ 85742                                    P‐0016497 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGBIGLER, DAVID A.
BERGBIGLER, VALARIE J.
1311 SOUTH LOGAN AVE
INDEPENDENCE, MO 64055‐1642                         P‐0016498 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VERGA, MICHAEL P.
181 LITTLE FALLS RD.
CEDAR GROVE, NJ 07009                               P‐0016499 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIDENTE, NATALIE A.
17 GEORGE STREET
SEYMOUR, CT 06483                                   P‐0016500 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, ERIC N.
ANDERSON, MARIAN A.
8411 N SUSAN CT
SPOKANE, WA 99208                                   P‐0016501 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANSTEY, ROGER
WEINER‐ANSTEY, NANCY
3 COPPLESTONE
AVON, CT 06001                                      P‐0016502 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOMOS, MICHAEL
356 WHITE AVE.
SHARON, PA 16146                                    P‐0016503 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARQUETTE, SHERI
7100 WINDSTREAM CIR
MIDLAND, MI 48642                                   P‐0016504 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENSEN, JEFF C.
6363 CHRISTIE AVE APT 2511
EMERYVILLE, CA 94608                                P‐0016505 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARQUIS, GAIL A.
79 LEE COURT
JERSEY CITY, NJ 07305                               P‐0016506 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICKELS, WILLIAM R.
329 LONGWOOD XING
DALLAS, GA 30132‐1147                               P‐0016507 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, BILLIE M.
16223 PAULDING BLVD,
BROOK PARK, OH 44142                                P‐0016508 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIPPUR, MERRIE M.
7942 E IOWA AVE
DENVER, CO 80231                                    P‐0016509 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, GWENDOLYN M.
55 HERITAGE WAY
COVINGTON, GA 30016                                 P‐0016510 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, BRENT
1511 MANCHESTER COURT
APT. #205
WEST CHESTER, PA 19380                              P‐0016511 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WU, WILLIAM H.
WU, HOLLY P.
3612 PONDEROSA TRAIL
PINOLE, CA 94564                                     P‐0016512 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIPPUR, MERRIE M.
7942 E IOWA AVE
DENVER, CO 80231                                     P‐0016513 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAPLIA, DAVID A.
17710 WOODRUFF AVE
APT 12
BELLFLOWER, CA 90706                                 P‐0016514 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, NICHOLAS G.
108 LEE ST
WEST BOYLSTON, MA 01583                              P‐0016515 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRIPE, DAVID J.
CRIPE, NICOLE
6485 CUMING ST.
OMAHA, NE 68132                                      P‐0016516 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEMAN, ANNETTE M.
10414 OLD CAMP RD
N CHESTERFIELD, VA 23235                             P‐0016517 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURAND, LORI C.
2320 MERIDIAN AVE
SAN JOSE, CA 95124                                   P‐0016518 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JIANG, KELVIN
47 WILLIAM ST. APT. 2
CAMBRIDGE, MA 02139                                  P‐0016519 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANDLER, SHERYL S.
CHANDLER, LEO A.
3766 E VILLA CASSANDRA WAY
CAVE CREEK, AZ 85331                                 P‐0016520 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORMAN, SUSAN T.
47B BAY STATE ROAD
REHOBOTH, MA 02769                                   P‐0016521 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZWEIG, MERYL S.
12 RIDGE RD.
RANDOLPH, NJ 07869                                   P‐0016522 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCUE, KELLI A.
720 FOSSIL DR
INGLESIDE, IL 60041                                  P‐0016523 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHICKA, MILTON E.
12 HOLYOKE DR
GREENSBURG, PA 15601                                 P‐0016524 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLOFSON, RICHARD H.
OLOFSON, JEAN M.
9116 STORRINGTON WAY
RALEIGH, NC 27615                                    P‐0016525 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLACE, GERALD L.
WALLACE, SANDRA A.
1915 NORTH 7TH STREET
ESTHERVILLE, IA 51334                                P‐0016526 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLATTERY, RAY C.
148 BURLWOOD DR
SAN FRANCISCO, CA 94127                              P‐0016527 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FREEMAN, DOUGLAS F.
5355 E. 4TH STREET
LONG BEACH, CA 90814‐1921                            P‐0016528 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZWEIG, DAVID A.
12 RIDGE RD.
RANDOLPH, NJ 07869                                   P‐0016529 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARQUIS, GAIL A.
79 LEE COURT
JERSEY CITY, NJ 07305                                P‐0016530 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOVIERO, MELISSA M.
8 BEAVER HILL RD.
ELMSFORD, NY 10523                                   P‐0016531 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEYMAN, AARON H.
43 TOWPATH LN
WATERFORD, NY 12188                                  P‐0016532 11/5/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
FONG, JANET S.
899 VALLEY VIEW TRAIL
CAROL STREAM, IL 60188                               P‐0016533 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADEBOTE, OLUYEMI
ADEBOTE, JESSICA
7304 CREEKWOOD DRIVE
NORTH ROYALTON, OH 44133                             P‐0016534 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CABAY, LAURA
506 TAYLOR AVENUE, UNIT B
GLEN ELLYN, IL 60137                                 P‐0016535 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTHMEL, STEVEN Z.
ROTHMEL, SHARON
725 KRAFFEL LANE
CHESTERFIELD MO 63017                                P‐0016536 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WERLING, SANDY L.
1285 S WHEELING WAY
AURORA, CO 80012                                     P‐0016537 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIESNER, CHRISTOPHER T.
1677 CALLE ALTA
LA JOLLA, CA 92037                                   P‐0016538 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREEMAN, DOUGLAS F.
5355 E. 4TH STREET
LONG BEACH, CA 90814‐1921                            P‐0016539 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FROCKT, IVAN J.
2304 ALTA AVENUE
LOUISVILLE, KY 40205                                 P‐0016540 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNVERDRUSS, DEBRA
UNVERDRUSS, EKKEHARD
5716 N. BOWDOIN ST.
PORTLAND, OR 97203‐4102                              P‐0016541 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, CHARLES E.
189 CANTERBURY DRIVE
ATHENS, GA 30606                                     P‐0016542 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWREN, DAVID A.
99 PAMPAS LANE
FORTUNA, CA 95540                                    P‐0016543 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLOYD BURGE AUTO & LEASING IN
3887 HWY 67 NORTH
POPLAR BLUFF, MO 63901                               P‐0016544 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ZWEIG, MERYL S.
12 RIDGE RD.
RANDOLPH, NJ 07869                                   P‐0016545 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDEN, JOHN T.
1787 NEWCASTLE ROAD
GROSSE PTE WOODS, MI 48236                           P‐0016546 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTHMEL, STEVEN Z.
ROTHMEL, SHARON
725 KRAFFEL LANE
CHESTERFIELD 63017                                   P‐0016547 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AHUJA, CHARU
10 ALLEN
VALHALLA, NY 10595                                   P‐0016548 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZWEIG, MERYL S.
12 RIDGE RD.
RANDOLPH, NJ 07869                                   P‐0016549 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHREWSBURY, JOHN D.
53 DENNY LANE
DALLAS, GA 30157                                     P‐0016550 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNBAR, SCOTT A.
4085 PEMBROKE LN.
SHASTA LAKE, CA 96019                                P‐0016551 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YEE, DARIN
58 FOREST SIDE AVE
SAN FRANCISCO, CA 94127                              P‐0016552 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLACE, GERALD L.
WALLACE, SANDRA A.
1915 NORTH 7TH STREET
ESTHERVILLE, IA 51334                                P‐0016553 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROMANELLI, JEFFREY J.
54 SILVER SADDLE LANE
ROLLING HILLS ES, CA 90274                           P‐0016554 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVIN, ROBERT
GLYNN LEVIN, DEIRDRE
6039 43RD AVE NE
SEATTLE, WA 98115                                    P‐0016555 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARVER‐CHENEY, KATHLEEN L.
85 COVERED BRIDGE RD
WARWICK, NY 10990                                    P‐0016556 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYAN, ERIC L.
RYAN, ROMNEY B.
305 JESSIE COURT
WINDSOR, CA                                          P‐0016557 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FELDMAN, STEVEN S.
10911 SW 141 AVE
MIAMI, FL 33186‐3260                                 P‐0016558 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHREWSBURY, JOHN D.
53 DENNY LANE
DALLAS, GA 30157                                     P‐0016559 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REGAN, LISA M.
5421 W 119TH PL
INGLEWOOD, CA 90304                                  P‐0016560 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABIODUN, MICHAEL
IMAGE XPREZZION LLC
6156 NICHOLAS DR
WEST BLOOMFIELD MI 48322                             P‐0016561 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BRUCE, RASHEA G.
2 NOAH CT.
SACRAMENTO, CA 95831                                  P‐0016562 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, JAHNENE B.
THOMAS, CHRISTOFER W.
3180 WINTERBERRY LANE
VIRGINIA BEACH, VA 23453                              P‐0016563 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARIDEE, SUZANNE M.
22801 E. 9 MILE RD. APT. 7
SAINT CLAIR SHOR, MI 48080                            P‐0016564 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISS, FRAN K.
1013 9TH AVE S
EDMONDS, WA 98020‐3909                                P‐0016565 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARTOR, CINDY J.
REILLY, TIM D.
4135 SW 186TH AVE.
BEAVERTON, OR 97078                                   P‐0016566 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOESSEL, BENJAMIN T.
3139 HWY 83
HARTFORD, WI 53027                                    P‐0016567 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIPLING, JEREMY
54 BEVERLY RD
NATICK, MA 01760                                      P‐0016568 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAZQUEZ, DAN
4001 N. MISSION RD. #C9
LOS ANGELES, CA 90032                                 P‐0016569 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRYAR, BARBARA L.
716 W. VILLA RIDGE WAY
SANDY, UT 84070                                       P‐0016570 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORDON, TINA C.
15741 BEREA DRIVE
TAMPA, FL 33556                                       P‐0016571 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HSU, TSUEY‐CHEN
880 3RD AVE., NE
ISSAQUAH, WA 98029                                    P‐0016572 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAY, TRACEY
GRAY, TRACEY E.
18555 HAYNES ST
RESEDA, CA 91336                                      P‐0016573 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGEE, RONALD E.
500 WALL BLVD
APT 236
GRETNA, LA 70056                                      P‐0016574 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUBEK, TERRY L.
477 LINDA COURT
ST. AUGUSTINE, FL 32086                               P‐0016575 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LADD, SHAWN
3737 NORTH APPELL DRIVE
PORT CLINTON, OH 43452                                P‐0016576 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENALO, GREIMY A.
7 TROUT LILY CT
OWINGS MILLS, MD 21117                                P‐0016577 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAUPRE, HILDEGARD J.
445 KAIOLU ST APT 411
HONOLULU, HI 96815                                    P‐0016578 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DE JESUS, MIRLA A.
426 WASHINGTON BLVD
ALGONA, WA 98001                                     P‐0016579 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUBE, GARY G.
GRUBE, LINDA J.
14258 STAR DR
GRASS VALLEY, CA 95945                               P‐0016580 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASTERS, BRADFORD A.
2775 GEMSTONE COURT
2775 GEMSTONE CT
REDDING, CA 96001                                    P‐0016581 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAGOE, DOUGLAS A.
11035 KITTRIDGE STREET #146
NORTH HOLLYWOOD, CA 91606                            P‐0016582 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOVICOFF, MICHAEL L.
3010 HUTTON DRIVE
BEVERLY HILLS, CA 90210                              P‐0016583 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EBISUYA, ARLENE K.
1547 ALA NONI PLACE
HONOLULU, HI 96818‐1536                              P‐0016584 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUSKIN, SOFIA M.
3710 GLENALBYN DRIVE
LOS ANGELES, CA 90065                                P‐0016585 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCOY, JAN A.
8340 QUEEN ELIZABETH BLVD
ANNANDALE, VA 22003                                  P‐0016586 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUILLEMET, ILONA M.
1133 NINTH STREET UNIT 111
SANTA MONICA, CA 90403                               P‐0016587 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JETER, TAMMIE M.
1310 N. 1ST.STREET #25
EL CAJON, CA 9201                                    P‐0016588 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EBISUYA, ARLENE K.
1547 ALA NONI PLACE
HONOLULU, HI 96818‐1536                              P‐0016589 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARRICA, TONI P.
574 LAGRANGE LANE
LIVERMORE, CA 94550                                  P‐0016590 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOQWLL, ANDREW L.
LOWELL, THERESA A.
5109 COPPERFIELD LANE
CULVER CITY, CA 90230                                P‐0016591 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUBE, LINDA J.
GRUBE, GARY G.
14258 STAR DR
GRASS VALLEY, CA 95945                               P‐0016592 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGIERA, JULIE E.
3211 W. LE MOYNE ST.
UNIT 3
CHICAGO, IL 60651                                    P‐0016593 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, BRYAN C.
12648 SE JUBILEE ST
HAPPY VALLEY, OR 97086                               P‐0016594 11/5/2017      TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
MCCOY, JAN A.
8340 QUEEN ELIZABETH BLVD
ANNANDALE, VA 22003                                  P‐0016595 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SNYDER, RANDY L.
SNYDER, TERRY L.
15990 NW RONDOS DRIVE
PORTLAND, OR 97229                                 P‐0016596 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADLEY, QWILDA M.
1916 SO 23RD ST
FORT SMITH, AR 72901                               P‐0016597 11/5/2017      TK Holdings Inc., et al .                    $9,595.00                                                                                    $9,595.00
SKAGGS, JULIE A.
P.O. BOX 128
DOWLING, MI 49050                                  P‐0016598 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EBISUYA, ARLENE K.
1547 ALA NONI PLACE
HONOLULU, HI 96818‐1536                            P‐0016599 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, MAYRA N.
1220 TASMAN DR SPC 526
SUNNYVALE, CA 94089                                P‐0016600 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDWICK, ELAINE O.
806 GARFIELD AVE
NORTH MANKATO, MN 56003                            P‐0016601 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWDER, VERONICA J.
231 LUCKY DR
MARIETTA, GA 30068                                 P‐0016602 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAY, JUSTIN
804 ZENITH DRIVE
FREELAND, MD 21053                                 P‐0016603 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POPPLEWELL, THOMAS R.
7816 BOEDEKER DRIVE
DALLAS, TX 75225‐4501                              P‐0016604 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVERSTEIN, RAYMOND A.
1610 105TH AVE SE
BELLEVUE, WA 98004                                 P‐0016605 11/5/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
WIRKEN, CHARLES W.
1708 E KNOLL ST
MESA, AZ 85203                                     P‐0016606 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, LARRY K.
3706 MASON ST
FLINT, MI 48505                                    P‐0016607 11/5/2017      TK Holdings Inc., et al .                    $4,500.00                                                                                    $4,500.00
EBISUYA, ARLENE K.
1547 ALA NONI PLACE
HONOLULU, HI 96818‐1536                            P‐0016608 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, MAYRA N.
1220 TASMAN DR SPC 526
SUNNYVALE, CA 94089                                P‐0016609 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUIZ, ROSE A.
180 CORTEZ AVE
HALF MOON BAY, CA 94019                            P‐0016610 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWDER, SUSAN P.
231 LUCKY DR
MARIETTA, GA 30068                                 P‐0016611 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EBISUYA, ARLENE K.
1547 ALA NONI PLACE
HONOLULU, HI 96818‐1536                            P‐0016612 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWDER, TODD W.
231 LUCKY DR
MARIETTA, GA 30068                                 P‐0016613 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PFLAUMER, JOHN F.
GENESEE MAINT & CONSTR LLC
4870 BRIDGE RD
ELBA, NY 14058                                       P‐0016614 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRATAP, GEETHA
8433 AMANDA PL
VIENNA, VA 22180                                     P‐0016615 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEARY, DOREEN A.
719 STEWART STREET
RIDGEFIELD, NJ 07657‐1914                            P‐0016616 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAKOW, PAUL J.
11903 SCOVELL TERRACE
GERMANTOWN, MD 20874                                 P‐0016617 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, BRADLEY J.
EVANS, EILEEN S.
1808 N. 24TH ST.
BROKEN ARROW, OK 74014                               P‐0016618 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLDRIDGE, BRIAN S.
69 AUTUMN ST
MALDEN, MA 02148                                     P‐0016619 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BADGER, DAVID M.
4554 TRICKLE CREEK LN
COLUMBUS, OH 43228                                   P‐0016620 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLUGERMAN, DENISE F.
BLUGERMAN, DANIEL
32521 WOODVALE
FARMINGTON HILLS, MI 48334                           P‐0016621 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUBIN, MARTIN D.
RUBIN, SUE A.
8125 TRAFALGER DRIVE
COLORADO SPRINGS, CO 80920‐6156                      P‐0016622 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UY, VICTOR G.
11682 LAKEWOOD BLVD
DOWNEY, CA 90241                                     P‐0016623 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, JORGE L.
786 CASTLEWOOD RD
GLENSIDE, PA 19038                                   P‐0016624 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GELB, ANDREW S.
9671 CROSBY DRIVE
PLEASANTON, CA 94588                                 P‐0016625 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHBURN, DAVID M.
4115 MARLOWE ST
HOUSTON, TX 77005                                    P‐0016626 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUCE, RASHEA G.
2 NOAH CT.
SACRAMENTO, CA 95831                                 P‐0016627 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUBIN, MARTIN D.
RUBIN, SUE A.
8125 TRAFLGER DRIVE
COLORADO SPRINGS, CO 80920‐6156                      P‐0016628 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEMBRERE, JAMES
3487 SAN MARCOS WAY
SANTA CLARA                                          P‐0016629 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DISIBIO, MICHAEL
5001 WHITEWOOD CT
FORT COLLINS, CO 80528                               P‐0016630 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CHAU, AMY
1902 RANCHO HILLS DR
CHINO HILLS, CA 91709                                P‐0016631 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, CRYSTAL
2630 BISSONNET ST APT 1134
HOUSTON, TX 77005                                    P‐0016632 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BADGER, AMY J.
4554 TRICKLE CREEK LN
COLUMBUS, OH 43228                                   P‐0016633 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, CAROLE
JONES, CAROLE A.
1521 LAKESIDE DRIVE
GLENN HEIGHTS, TX 75154                              P‐0016634 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, CRYSTAL
2630 BISSONNET ST APT 1134
HOUSTON, TX 77005                                    P‐0016635 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUBIN, MARTIN D.
RUBIN, SUE A.
8125 TRAFALGER DRIVE
COLORADO SPRINGS, CO 80920‐6156                      P‐0016636 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAMBAUGH, MARK L.
STAMBAUGH, KATHERINE M.
8900 KENT ST
PORTLAND, MI 48875                                   P‐0016637 11/5/2017      TK Holdings Inc., et al .                     $115.36                                                                                       $115.36
HAZEN, JOYCE A.
8336 SOUTH 51ST STREET
FRANKLIN, WI 53132                                   P‐0016638 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILT, BETTY J.
P.O. BOX 818
JOHN DAY, OR 97845                                   P‐0016639 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TATE, CLAUDIA D.
728 HALL STREET
AUGUSTA, GA 30901                                    P‐0016640 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILKINS, GEORGE A.
419 MAIN ST
DUNDEE, MI 48131                                     P‐0016641 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, DENISE A.
MARVIN JAY
164 DINWIDDIE DRIVE
NEW KENSINGTON, PA 15068                             P‐0016642 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAN, HUAJUN
20915 GOLDEN SYCAMORE TRL
CYPRESS, TX 77433                                    P‐0016643 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAMBAUGH, MARK L.
STAMBAUGH, KATHERINE M.
8900 KENT ST
PORTLAND, MI 48875                                   P‐0016644 11/5/2017      TK Holdings Inc., et al .                     $115.36                                                                                       $115.36
PYTER, RONALD E.
PYTER, KAREN M.
6012 S AUSTIN AVE
CHICAGO, IL 60638                                    P‐0016645 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAZEN, AMY L.
8336 SOUTH 51ST STREET
FRANKLIN, WI 53132                                   P‐0016646 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GEER, JAMES H.
6200 NW 104TH WAY
PARKLAND, FL 33076                                  P‐0016647 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMATO, ANNA D.
MOUNTAIN VIEW BMW
19576 BRAEMAR DRIVE
SARATOGA, CA 95070                                  P‐0016648 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITING, FAITH S.
4719 BRECKENRIDGE DRIVE
HOUSTON, TX 77066                                   P‐0016649 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JOEL B.
MILLER, CHERYL L.
130B NORTH CENTRAL AVENUE
CLAYTON, MO 63105                                   P‐0016650 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HRUBIEC, R. JOSEPH
112 TURNBERRY DRIVE
AVONDALE, PA 19311                                  P‐0016651 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMILTON‐ROMEO, REAL J.
3611 HENRY HUDSON PARKWAY
11F
BRONX, NY 10463                                     P‐0016652 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, MITESH
7862 TURNSTONE CIRCLE W
JACKSONVILLE, FL 32256                              P‐0016653 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING‐LEVERETT, COURTNEY M.
2964 MEAH LANE
BOZEMAN, MT 59718                                   P‐0016654 11/5/2017      TK Holdings Inc., et al .                     $474.12                                                                                       $474.12
GOODWIN, VIRGINIA
P.O. BOX 115
JEFFERSON, WI 53549                                 P‐0016655 11/5/2017      TK Holdings Inc., et al .                     $137.52                                                                                       $137.52
FLISZAR, MICHAEL J.
155 ROUTE 115
SAYLORSBURG, PA 18353                               P‐0016656 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAN, SANH V.
P.O. BOX 28135
SEATTLE, WA 98118‐8135                              P‐0016657 11/5/2017      TK Holdings Inc., et al .                     $950.00                                                                                       $950.00
PENDZINSKI, KAREN A.
111 W STATE ST APT 704
ROCKFORD, IL 61101                                  P‐0016658 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWEN, LOU A.
OWEN, BROOKE
29627 232ND AVE SE
BLACK DIAMOND, WA 98010                             P‐0016659 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCUBBINS, PERRY A.
MCCUBBINS, PATRICIA L.
6753 NORTH BALTIMORE RD
MONROVIA, IN 46157                                  P‐0016660 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEYER, DANIEL E.
36 WISHING WELL LANE
REXFORD, NY 12148                                   P‐0016661 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUTCHINSON, JOSHUA M.
5348 COUNTY ROAD 83
CUSSETA, AL 36852                                   P‐0016662 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JARMAN, ROCK
733 OLD HIGHWAY 49 WEST
HATTIESBURG, MS 39401                               P‐0016663 11/5/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MORFORD, NICOLE
MORFORD, LAWRENCE
713 G STREET
WASHOUGAL, WA 98671                                   P‐0016664 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILKES, RONALD A.
604 MILTON AVE
GLASGOW, KY 42141                                     P‐0016665 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, STEPHANI R.
120 TAUNTON WAY
FOLSOM, CA 95630                                      P‐0016666 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOUHIBI, LATIFAH
111 E DUNLAP AVE
STE 1‐187
PHOENIX, AZ 85020                                     P‐0016667 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, RICK E.
2130 PORPOISE ST.
MERRITT ISLAND, FL 32952                              P‐0016668 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARKE, GERALD
5A VALLEY RD
DOVER, MA 02030‐2529                                  P‐0016669 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WYDENBACH, GRAHAM
9 LINKS COURT
SPARTA, NJ 07871                                      P‐0016670 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REGAN, LISA M.
5421 W 119TH PL
INGLEWOOD`CA, CA 90304                                P‐0016671 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURWELL, ALMA G.
509 E CURTIS STREET
APT. 204
LARAMIE, WY 82072                                     P‐0016672 11/5/2017      TK Holdings Inc., et al .                   $32,940.00                                                                                   $32,940.00
PAPKA, BRIAN D.
1609 S DAWLEY DR
BRANDON, SD 57005                                     P‐0016673 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHAELS, MARTHA
MICHAELS, MARTHA E.
4753 FLOWER STREET
WHEAT RIDGE, CO 80033                                 P‐0016674 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HRUBES, CRAIG A.
13 JOSHUA CIRCLE
MADISON, WI 53714‐2144                                P‐0016675 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOWER, WILLIAM
15 TIMBER RIDGE
MOUNT KISCO, NY 10549                                 P‐0016676 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUTCHINSON, JOSHUA M.
5348 COUNTY ROAD 83
CUSSETA, AL 36852                                     P‐0016677 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NNODIM, ELIZABETH I.
1383 BACON STREET
SAN FRANCISCO, CA 94134                               P‐0016678 11/5/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GRESHAM, KRISTI
GRESHAM, BRETT
1001 SYCAMORE DRIVE
ROLLA, MO 65401                                       P‐0016679 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUHL, DAVID E.
1430 FREEMAN AVE NW
ALBUQUERQUE, NM 87107                                 P‐0016680 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BRIONES, JOSE A.
55 PLEASANTVILLE ROAD
NEW VERNON, NJ 07976                                  P‐0016681 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEYNE, STEVEN J.
ALLEYNE, KAREN N.
1704 LENORE COURT
BALTIMORE, MD 21207                                   P‐0016682 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAYLOR, SHELLEY
9 HAMMOND ACRES
CHARLESTOWN, NH 03603                                 P‐0016683 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALABRESE, CYNTHIA M.
5873 CAVANAUGH ROAD
MARCY, NY 13403                                       P‐0016684 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOAR, ELIZABETH A.
8601 SE 216TH ST
LAWSON, MO 64062                                      P‐0016685 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUAN‐KONG, PHUONG Q.
6586 CLOVER CIRCLE S.
COTTAGE GROVE, MN 55016                               P‐0016686 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LADD, CASEY J.
2653 51ST AVE SW
SEATTLE, WA 98116                                     P‐0016687 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, ANDREW T.
7700 W CAMERO AVE
LAS VEGAS, NV 89113                                   P‐0016688 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, ANTHONY M.
3975 HOWARD AVE
LOS ALAMITOS, CA 90720                                P‐0016689 11/5/2017      TK Holdings Inc., et al .                   $18,000.00                                                                                   $18,000.00
PARAHAMS, MARSHAYLA D.
5227 N. DIXIE HWY.
APT. #A1
OAKLAND PARK, FL 33334                                P‐0016690 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUDOLPH, TERRY A.
KOPCHAK, DEBORAH J.
1707 W VERMIJO AVE
COLORADO SPRINGS, CO 80904                            P‐0016691 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KONG, SEONG H.
6586 CLOVER CIRCLE S.
COTTAGE GROVE, MN 55016                               P‐0016692 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HART, RICKY O.
25 SABLE WOOD DR
GREENBRIER, AR 72058                                  P‐0016693 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMBIASE, JASON
1632 BIRMINGHAM AVENUE
TOMS RIVER, NJ 08757                                  P‐0016694 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'CONNOR, EILEEN M.
2308 NE 20 STREET
FORT LAUDERDALE, FL 33305‐2636                        P‐0016695 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRAZAN, JENNIE R.
LADD, CASEY J.
2653 51ST AVE SW
SEATTLE, WA 98116                                     P‐0016696 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOAR, ELIZABETH A.
8601 SE 216TH ST
LAWSON, MO 64062                                      P‐0016697 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BRUNSON, LAURA M.
4023 S. FULLER
INDEPENDENCE, MO 64052                               P‐0016698 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROCKHILL, BRYCE W.
DENT FORCE
1605 SUN POINTE PL.
MERRITT ISLAND, FL 32952                             P‐0016699 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANDERS TRUSTEE, GARY C.
GCL LIVING TRUST
P.O. BOX 1180
HIGLEY, AZ 85236‐1180                                P‐0016700 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANDLER, BARBARA J.
16417 FIRETHORNE RD.
HIDDEN VALLEY LA, CA 95467                           P‐0016701 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEGROOT, GLENN A.
DEGROOT, BECKY L.
1993 SOUTH ALLISON WAY
SYRACUSE, UT 84075                                   P‐0016702 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOMMERS, LINNA K.
29037 HEMLOCK CT
ELKHART, IN 46517                                    P‐0016703 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FULMER, KEVIN R.
10535 HOUNSLOW DR
WOODSTOCK, MD 21163                                  P‐0016704 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, DANIEL E.
467 CRANE BLVD.
LOS ANGELES, CA 90065‐5018                           P‐0016705 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YUGETA, YOKO
SHEEHAN, MICHAEL
18865 CENTER ST.
CASTRO VALLEY, CA 94546                              P‐0016706 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAFT, DEBORAH K.
SAFT, DEBBIE
10289 LEXINGTON ESTATES BLVD
BOCA RATON, FL 33428                                 P‐0016707 11/5/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
DENNIS, SARAH P.
2307 MT VERNON RD
2307 MT VERNON RD
ENID, OK 73703                                       P‐0016708 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RITCHEY, ROBERT T.
RITCHEY, PATRICIA H.
52946 TIMBERVIEW RD.
NORTH FORK, CA 93643                                 P‐0016709 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARO, PETER J.
HARO, DARLENE J.
3021 RIDGELINE DRIVE
RESCUE, CA 95672                                     P‐0016710 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADISH, MARGO
21 CYPRESS AVE
KENTFIELD, CA 94904                                  P‐0016711 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGONER, KEVIN J.
3626 SPRINGWOOD CT
ST PAUL, MN 55123                                    P‐0016712 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAPANAO, JULIUS
2141 HILLSBURY RD.
WESTLAKE VILLAGE, CA 91361                           P‐0016713 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SMITH, GINA
1900 EVERGREEN ST
LEAVENWORTH, KS 66048                                P‐0016714 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALBER, FRANK J.
SALBER, JENNIFER L.
4670 NEAL CREEK ROAD
HOOD RIVER, OR 97031                                 P‐0016715 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLOOR, EDWARD W.
526 SOUTHWOOD DRIVE
FOLSOM, CA 95630                                     P‐0016716 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FULMER, AMY C.
10535 HOUNSLOW DR
WOODSTOCK, MD 21163                                  P‐0016717 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, ASHLEY N.
786 CASTLEWOOD RD
GLENSIDE, PA 19038                                   P‐0016718 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNITGEN, ANDREW L.
SCHNITGEN, MINDY L.
123 SEATON CREST DRIVE
MARS, PA 16046                                       P‐0016719 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUVSAN, ZOLBOO
NO ADDRESS PROVIDED
                                                     P‐0016720 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAULT, RICHARD K.
2908 WAVERLY DRIVE
CAMERON PARK, CA 95682                               P‐0016721 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECK, ELIZABETH
BECK, JASON
4949 SW LANDING DRIVE APT.610
PORTLAND, OR 97230                                   P‐0016722 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUEVA, MALENA LISS
CUEVA, MALENA LISS
2104 CORNER POINT CT
ORLANDO, FLORIDA 32820                               P‐0016723 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STENBERG, SHANNON R.
1121 HANSBERRY COURT
ORMOND BEACH, FL 32174                               P‐0016724 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARLEY, JEREMY R.
923 PEACHTREE ST. NE UNIT 153
ATLANTA, GA 30309                                    P‐0016725 11/5/2017      TK Holdings Inc., et al .                    $2,480.00                                                                                    $2,480.00
GERSTMAN, SETH M.
219 TANGLEWOOD DRIVE
RUSSELLVILLE, AL 35653                               P‐0016726 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAZZO, ANGELO A.
24 BERWICK LANE
EAST AMHERST, NY 14051                               P‐0016727 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LICHTENSTEIN, NEIL A.
901 ASHBROOK CT
VIRGINIA BEACH, VA 23464                             P‐0016728 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLOUTIER MUNRO, ANNE C.
49031 FOX DR S
PLYMOUTH, MI 48170                                   P‐0016729 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACEITUNO, CHRISTINA M.
PHELAN, JAMES M.
7730 TELEGRAPH AVENUE
ORANGEVALE, CA 95662                                 P‐0016730 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GOLDSTEIN, GERALD M.
GOLDSTEIN, JAN L.
2617 CRESTWAY RD
MARRERO, LA 70072                                   P‐0016731 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUEPER, JAMES L.
3007 ENDICOTT AVENUE
ST. LOUIS, MO 63114                                 P‐0016732 11/5/2017      TK Holdings Inc., et al .                    $1,185.35                                                                                    $1,185.35
WEINSTEIN, MICHAEL D.
3842 LOMITAS DRIVE
LOS ANGELES, CA 90032                               P‐0016733 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENNUTI, NYDIA E.
347 CHEVES AVE
STATEN ISLAND, NY 10314                             P‐0016734 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LERNER, ADAM M.
LERNER, ADAM
310 36TH STREET
MANHATTAN BEACH, CA 90266                           P‐0016735 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIU, CALVIN
LIU, CALVIN
463 AUBURN AVE.
SIERRA MADRE, CA 91024                              P‐0016736 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER‐DOYNE, MURIEL J.
1619 VAN HOESEN ROAD
CASTLETON, NY 12033                                 P‐0016737 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ, SEON
17256 NE 7TH PL
BELLEVUE, WA 98008                                  P‐0016738 11/5/2017      TK Holdings Inc., et al .                       $75.00                                                                                       $75.00
BENING, MARCUS
21237 SE 25TH ST
SAMMAMISH, WA 98075                                 P‐0016739 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETRANTO, NANCY A.
117 CRYSTAL COURT
NOVATO, CA 94949                                    P‐0016740 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, NORMALYN C.
2797 TUPPER DRIVE
BAY CITY, MI 48706                                  P‐0016741 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EGLY, JEREMY R.
4248 SW EAGLE POINT RD
TOPEKA, KS 66610                                    P‐0016742 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELCH, MARY J.
WELCH, MARY J.
324 LUCKEY RD BOX 27
LUCKEY, OH 43443                                    P‐0016743 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, CALEAH K.
5931 CHRISTIAN STREET
PHILADELPHIA, PA 19143                              P‐0016744 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHOU, YAN WU
3102 EGGERS DR
FREMONT, CA 94536                                   P‐0016745 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHI, YANG
1 JARMAN RD
SUDBURY, MA 01776                                   P‐0016746 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEMMINGS, ROSEMARIE
HEMMINGS, ROSEMARIE
18837 SW SAMMY DR
BEAVERTON, OR 97003‐3186                            P‐0016747 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
GRIMALDI, VITO A.
GRIMALDI, NANCY L.
1215 OAK TRAIL DR
LIBERTYVILLE, IL 60048‐3410                           P‐0016748 11/5/2017      TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00
GRANADE, STEPHEN R.
GRANADE, MISTY D.
120 ADALENE LN.
MADISON, AL 35757                                     P‐0016749 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREIT, GARRETT
30991 T AVE.
ADEL, IA 50003                                        P‐0016750 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BABIN, HAYWARD J.
1426 CASTLE GLEN DR
HOUSTON, TX 77015                                     P‐0016751 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANADE, STEPHEN R.
GRANADE, MISTY D.
120 ADALENE LN.
MADISON, AL 35757                                     P‐0016752 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHI, YANG
1 JARMAN RD
SUDBURY, MA 01776                                     P‐0016753 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LERNER, ADAM M.
LERNER, ADAM
310 36TH STREET
MANHATTAN BEACH, CA 90266                             P‐0016754 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FURGIUELE, JANICE E.
145 ASH STREET
ROCHESTER, PA 15074                                   P‐0016755 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COBURN, JOHN C.
3441 SURRY LANE
CAMERON PARK, CA 95682                                P‐0016756 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARIAS, SPENCER
ARIAS, LISA
1389 N 1650 W
ST GEORGE, UT 84770                                   P‐0016757 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLYNN, CRYSTAL L.
FLYNN, JUAN R.
16123 UNIVERSITY AVE
SOUTH HOLLAND, IL 60473                               P‐0016758 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRANMER, JUANIE L.
700 ROAD 144
REDWOOD VALLEY, CA 95470                              P‐0016759 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNZ, TARRYN
3900 MOORPARK AVENUE#143
SAN JOSE, CA 95117                                    P‐0016760 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLENN, SKY V.
GLENN, GAIL V.
617 VASSAR RD
WENONAH, NJ 08090                                     P‐0016761 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESLEY, RACHEL N.
63 TACONIC ROAD
MILLWOOD, NY 10546                                    P‐0016762 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLUMLEY, CHRISTOPHER
7640 HARMANS RD
HANOVER, MD 21076                                     P‐0016763 11/5/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TAMEZ, ALFREDO
BUCCINO, MARGUERITE L.
BANK OF AMERICA
P.O. BOX 15284
WILMINGTON, DE 19850                                 P‐0016764 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORTO, CHRISTOPHER P.
4930 O BAR ROAD
SARASOTA, FL 34241                                   P‐0016765 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESLEY, MICHELLE K.
63 TACONIC ROAD
MILLWOOD, NY 10546                                   P‐0016766 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, MARIA E.
5410 LEXINGTON WOODS LANE
ALPHARETTA, GEORGIA 30005                            P‐0016767 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANDELL, MICHAEL
250 W19TH ST
APT 10H
NEW YORK, NY 10011                                   P‐0016768 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, SANFORD D.
3257 BERT KOUNS INDUSTRIAL
APT. 17201
SHREVEPORT, LA 71118                                 P‐0016769 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORTO, JANE L.
4930 O BAR ROAD
SARASORA, FL 34241                                   P‐0016770 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEIPER, JOEL T.
3812 MILLER WAY S
BLOOMFIELD, MI 48301                                 P‐0016771 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, TINA
3610 W 61ST ST.
LOS ANGELES, CA 90043                                P‐0016772 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISCHER, MICHAEL R.
384 ALDER SPRINGS DR
OAK PARK, CA 91377                                   P‐0016773 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, JR., ROBERT G.
16 PRINCESS DRIVE
ROCHESTER, NY 14623                                  P‐0016774 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, DONNA
2050 IMPERIAL EAGLE PL
KISSIMMEE, FL 34746                                  P‐0016775 11/5/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
FISCHER, MICHAEL R.
384 ALDER SPRINGS DR
OAK PARK, CA 91377                                   P‐0016776 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEINBERG, IRA
STEINBERG, LINDA
2251 LOIS LANE
WEST LINN, OR 97068                                  P‐0016777 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BETANCOURT, JAMES
BETANCOURT, JESSICA
P.O. BOX 147
NEW YORK, NY 10272‐0147                              P‐0016778 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLIEBE, ROGER L.
852 PRINTEMPO PLACE
SAN JOSE, CA 95134                                   P‐0016779 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
LANDERER, CHARLES
6 TERRACE RD
SUFFERN, NY 10901                                     P‐0016780 11/5/2017      TK Holdings Inc., et al .                       $60.00                                                                                       $60.00
DEUS, KEVIN R.
11726 NE 141ST ST
KIRKLAND, WA 98034                                    P‐0016781 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEKORANEC, PATRICK M.
5665 BURNTWOOD WAY
WESTERVILLE, OH 43081                                 P‐0016782 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'CONNOR, EILEEN M.
2308;NE 20 STREET
FORT LAUDERDALE, FL 33305‐2636                        P‐0016783 11/5/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
HARRISON, PATRICIA D.
1608 MOCKINGBIRD LN
DESOTO, TX 75115                                      P‐0016784 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNSEITH, TERRY L.
2310 W 184THCST
TORRANCE, CA 90504                                    P‐0016785 11/5/2017      TK Holdings Inc., et al .                   $28,000.00                                                                                   $28,000.00
TYLER, SANDRA J.
1805 SCOTT AVE
MODESTO, CA 95350                                     P‐0016786 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES, RETRICE C.
123 RODERICK DR
SAINT LOUIS, MO 63137                                 P‐0016787 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, MAMIE J.
720 NW 110TH ST.
KANSAS CITY, MO 64155                                 P‐0016788 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOKAR, ALEXANDER
670 GREYLYN DR
SAN RAMON, CA 94583                                   P‐0016789 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZION, TERESA J.
4652 BERWICK CASSELS ROAD
GLOSTER, MS 39638                                     P‐0016790 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDOVAL, KAMILA
9231 W. 162ND ST
ORLAND HILLS, IL 60487                                P‐0016791 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, SHANNON L.
MILLER, ROBERT G.
19816 ASH ST
GRETNA, NE 68028                                      P‐0016792 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELD, BONNIE J.
955 LIBERTY BLVD., #306
SUN PRAIRIE, WI 53590                                 P‐0016793 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, ROY D.
17330 AL PHILPOTT HWY
MARTINSVILLE, VA 24112                                P‐0016794 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANEY, ROBIN W.
CHANEY, ODANA L.
2051 MAIN STREET
CULLODEN, WV 25510                                    P‐0016795 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAMLER, PATRICIA A.
325 CRANE AVE.
ROYAL OAK, MI 48067                                   P‐0016796 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DMYTRUK, MARK E.
37 BEACON ST
UNIT 42
BOSTON, MA 02108                                     P‐0016797 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLOREZ, JORGE E.
10374 NE BEACH CREST DRIVE
BAINBRIDGE ISLAN, WA 98110                           P‐0016798 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNOLDS, MARY L.
2165 PARIS COVE
HERNANDO, MS 38632                                   P‐0016799 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHARLES, BRUCE
1155 E RIVERSIDE DR
ONTARIO, CA 91761                                    P‐0016800 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZDANEWICZ, EWA M.
9231 W. 162ND ST
ORLAND HILLS, IL 60487                               P‐0016801 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUCH, KEITH W.
1627 MONTEREY DRIVE
GLENVIEW, IL 60026                                   P‐0016802 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, STEPHEN J.
ROBINSON, WINDEE M.
5040 WHITES CREEK PIKE
WHITES CREEK, TN 37189‐9139                          P‐0016803 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANO, LIDIA I.
106 WOODBURY PINES CIRCLE
ORLANDO, FL 32828                                    P‐0016804 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OCTOVIA, MICHELLE
50 CHRISTOPHER COLUMBUS DR
APT 901
JERSEY CITY, NJ 07302                                P‐0016805 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONLEY, MICHAEL A.
61 CUMBERLAND AVE
ASHEVILLE, NC 28801‐2250                             P‐0016806 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHRITENOUR, KACY J.
7 KENT COURT
EASTAMPTON TWP, NJ 08060                             P‐0016807 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONLEY, MICHAEL A.
61 CUMBERLAND AVE
ASHEVILLE, NC 28801‐2250                             P‐0016808 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTSON, FRANKLIN E.
202 SW AMESBURY AVE
PORT SAINT LUCIE, FL 34953                           P‐0016809 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIPP, CHERNANDA H.
14669 KENNER PLACE DRIVE
OLIVE BRANCH, MS 38654                               P‐0016810 11/5/2017      TK Holdings Inc., et al .                   $28,000.00                                                                                   $28,000.00
STOUT, CRISSY W.
STOUT, JOHN D.
912 ALLMAN AVE
LEHIGH ACRES, FL 33971                               P‐0016811 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, VANESSA
3972 REX CR
CHESAPEAKE, VA 23331                                 P‐0016812 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUKE, KATHLEEN A.
10541 LARWIN AVE UNIT 3
CHATSWORTH, CA 91311                                 P‐0016813 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
DAVISON, ROBERT J.
DAVISON, LYNETTE M.
11830 SILVERSPRING DR
DEWITT, MI 48820                                    P‐0016814 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACEDO, IVAN
4044 BEECHWOOD AVE.
LYNWOOD, CA 90262                                   P‐0016815 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTSON, FRANKLIN E.
202 SW AMESBURY AVE
PORT SAINT LUCIE, FL 34953                          P‐0016816 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLUMLEY, RACHEL
7640 HARMANS RD
HANOVER, MD 21076                                   P‐0016817 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRALJEV, AARON M.
11329 SE QUAIL RUN DRIVE
HAPPY VALLEY, OR 97086                              P‐0016818 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBER, DIANE M.
HUBER, DAVID A.
888 NW SILVERADO DRIVE
BEAVERTON, OR 97006                                 P‐0016819 11/5/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
KRALJEV, AARON M.
11329 SE QUAIL RUN DRIVE
HAPPY VALLEY, OR 97086                              P‐0016820 11/5/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
BAKER, BARRY
810 DEXTER AVE N APT 621
SEATTLE, WA 98109                                   P‐0016821 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUSTIN, JULIE
101 HEDGEWOOD CT
FLETCHER, NC 28732                                  P‐0016822 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRALJEV, AARON M.
11329 SE QUAIL RUN DRIVE
HAPPY VALLEY, OR 97086                              P‐0016823 11/5/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
SCOTT, CALEAH K.
5391 CHRISTIAN STREET
PHILADELPHIA, PA 19143                              P‐0016824 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANADO, ANDRES F.
8 LOCKSLEY AVENUE, APT. 9K
SAN FRANCISCO, CA 94122                             P‐0016825 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INGRAHAM, MARY E.
116 PLATEAU AVE
SANTA CRUZ, CA 95060                                P‐0016826 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALK, DAVID C.
4460 WEST STATE HIGHWAY, O
WILLAD, MO, MO 65781                                P‐0016827 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANDRASEKHARAN, MANJUSHA
VADAKKE KOOLAKAT, VASUDEVAN
11012 NORTHSEAL SQ
CUPERTINO, CA 95014                                 P‐0016828 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUSTIN, BRIAN
101 HEDGEWOOD CT
FLETCHER, NC 28732                                  P‐0016829 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, MICHELE
810 DEXTER AVE N APT 621
SEATTLE, WA 98109                                   P‐0016830 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BENSON, STUART
25408 REDWING AVE
SHAFER, MN 55074                                     P‐0016831 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRENCH, ANGELA M.
200 SENECA STREET
WEIRTON, WV 26062                                    P‐0016832 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HESS, DERRICK
405 MASHIE DRIVE
VIENNA, VA 22180                                     P‐0016833 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JI, XUERONG
3102 EGGERS DR
FREMONT, CA 94536                                    P‐0016834 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBSON, JEFFREY M.
6200 JANES AVE.
DOWNERS GROVE, IL 60516                              P‐0016835 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILLON, DANIEL B.
5000 RIDGEWOOD RD.
APT. 1005
JACKSON, MS 39211                                    P‐0016836 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEAVER, TRACY A.
NO ADDRESS PROVIDED
                                                     P‐0016837 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMSKI, DESIREE L.
2953 TAYLOR ST NE
MINNEAPOLIS, MN 55418                                P‐0016838 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AYON, HECTOR
AYON, MARCELA
16343 E BENBOW ST
COVINA, CA 91722                                     P‐0016839 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, KENNETH L.
SMITH, TERRY L.
170 MEADOWS ROAD SOUTH
BOURBONNAIS, IL 60914                                P‐0016840 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ, JORGE
643 DAVIDSON LN
POMONA, CA 91768                                     P‐0016841 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLLOV, VASSIL
2859 SELBY AVE
LOS ANGELES, CA 90064                                P‐0016842 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROUGHTON, DAVID L.
6051 HILLANDALE DR. # 2
LOS ANGELES, CA 90042                                P‐0016843 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPADINI, ALESSANDRO L.
86 STONEWALL CIRCLE
WEST HARRISON, NY 10604                              P‐0016844 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREELAND, BRENT D.
FREELAND, CAROL A.
427 BRELLINGER STREET
COLUMBIA, IL 62236                                   P‐0016845 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AHMED, IMTIAZ
4500 RISINGHILL DRIVE
PLANO, TX 75024                                      P‐0016846 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENNAZ, MATTHEW W.
PENNAZ, KIRSTEN C.
957 KAUKU PL.
HONOLULU, HI 96825                                   P‐0016847 11/5/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LEITH, MARY G.
LEITH, STEVEN D.
22110 NE 133RD ST
WOODINVILLE, WA 98077                                P‐0016848 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, IRA T.
JOHNSON, DIANA J.
3000 S. JOHNSON PL.
KENNEWICK, WA 99337                                  P‐0016849 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCHAND, MICHELLE M.
103 VILLAGE COMMONS
UNIT 2
COLCHESTER, VT 05446                                 P‐0016850 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBS, MARK D.
JACOBS, SUSAN L.
12640 W 121ST TERRACE
OVERLAND PARK, KS 66213                              P‐0016851 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, HOBERT L.
NO ADDRESS PROVIDED
                                                     P‐0016852 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, NOAH J.
E5052 ANDERSON ROAD
IRONWOOD, MI 49938                                   P‐0016853 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLVITT, DEBORAH E.
OLVITT, MICHAEL J.
16095 S 14TH STREET
SCHOOLCRAFT, MI 49087                                P‐0016854 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ODOM, LACEE D.
3910 SUNNYVIEW RD NE
APT 103
SALEM, OR 97305                                      P‐0016855 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZABIKHODJAYEV, ISKANDAR
12 ROCKLEDGE LANE
PLEASANTVILLE, NY 10570                              P‐0016856 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATUSOV, EUGENE L.
MATUSOV, ALLA A.
120 W PENN ST
PHILADELPHIA, PA 19144                               P‐0016857 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
APOLINARIO, ARTHUR
641 NICHOLSON AVE
SANTA CLARA, CA 95051                                P‐0016858 11/5/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
SCOTT, DEBBIE S.
11709 58TH DR NE
MARYSVILLE, WA 98271                                 P‐0016859 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORCHE, KURT D.
FORCHE, KURT D.
3676 S MINGES RD
BATTLE CREEK, MI 49015                               P‐0016860 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAMONTE, FRANKLIN S.
SAMONTE, JOHN A.
1639 HUMBOLDT ST
SANTA ROSA, CA 95404                                 P‐0016861 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, ANGELA A.
2145 TURNAGE ST NW
SALEM, OR 97304                                      P‐0016862 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HODGDON, BRITT E.
1212 W 21ST ST
CHICAGO, IL 60608                                  P‐0016863 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALDSMITH, KAYE
P.O. BOX 39309
NINILCHIK, AK 99639                                P‐0016864 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILEY, LARRY J.
WILEY, ILONA M.
7002 N. SMITH ST.
SPOKANE, WA 99217                                  P‐0016865 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLACE, JOSHUA S.
ROTH/ WALLACE, ASHLYNN R.
120 ORIOLE DR.
BATTLE CREEK, MI 49037                             P‐0016866 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEDRAZA, KANDICE J.
13235 N MANITO RD
MANITO, IL 61546                                   P‐0016867 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECHOLES, KRYSTAL G.
ECHOLES, KRYSTAL G.
210 S. JOANN ST.
TUPELO, MS 38801                                   P‐0016868 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RONCARATI, ROCCO M.
ROCCO RONCARATI
17016 SE 34TH WAY
VANCOUVER, WA 98683                                P‐0016869 11/5/2017      TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
KIM, JOSEPH J.
502 W HUNTINGTON COMMONS RD
#441
MOUNT PROSPECT, IL 60056                           P‐0016870 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECHOLES, KRYSTAL G.
210 S. JOANN ST.
TUPELO, MS 38801                                   P‐0016871 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEIDER, BRYAN G.
23 DIANA RIDGE
HIGHLAND, NY 12528                                 P‐0016872 11/5/2017      TK Holdings Inc., et al .                       $40.00                                                                                       $40.00
BUERGER, THEODORE T.
MCKENZIE, WANDA L.
15060 SW HIGHPOINT DRIVE
SHERWOOD, OR 97140                                 P‐0016873 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QURESHI, TAHIR A.
QURESHI, FARHAT J.
2541 GLENALLAN AVENUE
APT #201
SILVER SPRING, MD 20906                            P‐0016874 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADLEY, CONNIE
P.O. BOX 720324
OKLAHOMA CITY, OK 73172                            P‐0016875 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TSAO, MEL
1586 CALLE ANDRES
DUARTE, CA 91010                                   P‐0016876 11/5/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
CRAIGHEAD, THOMAS W.
11829 LEAFDALE CIRCLE WEST
JACKSONVILLE, FL 32218                             P‐0016877 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
QURESHI, TAHIR A.
QURESHI, FARHAT J.
2541 GLENALLAN AVENUE
APT #201
SILVER SPRING, MD 20906                              P‐0016878 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOYEN, ROZA Z.
10923 VAUXHALL DR
ST LOUIS, MO 63146                                   P‐0016879 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATRICK, RANDALL E.
FORD, CATHERINE
7806 86TH DR. NE
MARYSVILLE WASHINGTON                                P‐0016880 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLAVIS, JR., GEORBE
16028 ILLINOIS CT
TORRANCE, CA 90504‐1613                              P‐0016881 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEUCHTNER, BRIAN J.
29 DEER RUN
ROCHESTER, NY                                        P‐0016882 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECHOLES, KRYSTAL G.
210 S. JOANN ST.
TUPELO, MS 38801                                     P‐0016883 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, BILL
4248 NATURES WAY
NEW BRAUNFELS, TX 78132                              P‐0016884 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUERGER, THEODORE T.
MCKENZIE, WANDA L.
15060 SW HIGHPOINT DRIVE
SHERWOOD, OR 97140                                   P‐0016885 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALTIZER, KARISSA G.
ALTIZER, ALFRED R.
3924 ST MICHAELS SQUARE
FREDERICKSBURG, VA 22408                             P‐0016886 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTOPHER, JUDITH A.
6620 N HARLEM AVE
#2W
CHICAGO, IL 60631                                    P‐0016887 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTWIG, DAVID J.
HARTWIG, REBECCA A.
P.O. BOX 1077
CHELAN, WA 98816‐1077                                P‐0016888 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES, RETRICE C.
123 RODERICK DR
SAINT LOUIS, MO 63137                                P‐0016889 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELAHI, REZA
19366 OUTER DR CT
DEARBORN, MI 48124                                   P‐0016890 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEUNG, WYATT
21084 GRENOLA DRIVE
CUPERTINO, CA 95014                                  P‐0016891 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, MELVIN
9885 SOUTH HWY 45 ALTERNATE
CRAWFORD, MS 39743                                   P‐0016892 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PFLEIGER, MINDY M.
280 E HOLLY ST
MILLIKEN, CO 80543                                   P‐0016893 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HUANG, WEIYI
18775 CENTER STREET
CASTRO VALLEY, CA 94546                              P‐0016894 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEUNG, WYATT
21084 GRENOLA DRIVE
CUPERTINO, CA 95014                                  P‐0016895 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWANSON, MICHAEL E.
2290 COPLEY ST
AURORA, IL 60506                                     P‐0016896 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, WILLIAM F.
3329 S 115TH ST
OMAHA, NE 68144                                      P‐0016897 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTSON, MARILYN
1630 RIDGEBRIAR
HOUSTON, TX 77014                                    P‐0016898 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORTER, DIANE
PORTER, GARRETT C.
7069 MINK HOLLOW RD
HIGHLAND, MD 20777                                   P‐0016899 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNA, ELMER O.
3013 E. LAKEWOOD ST.
MESA, AZ 85213                                       P‐0016900 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, BRIAN
972 N TOPANGA DR
PALATINE, IL 60074                                   P‐0016901 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADNANI, MOHAMED A.
2427 VAIL AVENUE APT B21
CHARLOTTE, NC 28207                                  P‐0016902 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIPPA, CHRISTOPHER P.
3239 LYNWOOD DRIVE
BROOKHAVEN, GA 30319                                 P‐0016903 11/5/2017      TK Holdings Inc., et al .                    $4,242.00                                                                                    $4,242.00
MAYNOR, JACK D.
MAYNOR, SHEILA M.
10001 NE 173RD ST.
BATTLE GROUND, WA 98604                              P‐0016904 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYASHI, JILL
877 FIRST ST.
APT. 6
PEARL CITY, HI 96782                                 P‐0016905 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORTER, DIANE
7069 MINK HOLLOW RD
HIGHLAND, MD 20777                                   P‐0016906 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GULSETH, MARK K.
30884 CAREFREE LANE
FRAZEE, MN 56544                                     P‐0016907 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGH‐GILMER, IRENE
SINGH‐GILMER, IRENE
2445 EL PASO WAY
CHICO, CALIFORNIA                                    P‐0016908 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, WILLIAM F.
3329 S 115TH ST
OMAHA, NE 68144                                      P‐0016909 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RADER, LAURA C.
RADER, LAURA
2752 CROWNPOINT PLACE
ESCONDIDO, CA 92027                                  P‐0016910 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MANGAS, STEPHEN J.
3647 HECTOR LANE
NAPERVILLE, IL 60564                                  P‐0016911 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURYEA, JOSHUA A.
425 W 26TH ST
HOUSTON, TX 77008                                     P‐0016912 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, RANDY
5628 W KOWALSKI LANE
LAVEEN, AZ 85339                                      P‐0016913 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILTON, PEARLY M.
325 WILSON ROAD
ABBEVILLE, SC 29620                                   P‐0016914 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARMAR, KUNAL
NANDA, ANISHA
547 N BAYVIEW AVE
SUNNYVALE, CA 94085                                   P‐0016915 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLER, ROBERT S.
2635 CASTLE CREST DRIVE
CASTLE ROCK, CO 80104                                 P‐0016916 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACCOUN, STEPHEN
MACCOUN, TANIA
621 WEST J ST
BENICIA, CA 94510                                     P‐0016917 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RADER, LAURA C.
POTASHNICK, EMILY A.
2752 CROWNPOINT PLACE
ESCONDIDO, CA 92027                                   P‐0016918 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARGER, JASON H.
2037 INDIAN CREEK TRAIL
HAMILTON, OH 45013                                    P‐0016919 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACCOUN, TANIA
MACCOUN, STEPHEN
621 WEST J ST
BENICIA, CA 94510                                     P‐0016920 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORIEGA, PAULA N.
3757 MONTEREY RD
#7
LOS ANGELES, CA 90032                                 P‐0016921 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING JR, ROBERT H.
KING, CANDIS D.
17 BALMORAL DR
POPLARVILLE, MS 39470                                 P‐0016922 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTLETT, KAREN T.
229 WEST ARTESIA BLVD.
LONG BEACH, CA 90805                                  P‐0016923 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIAZZA JR, JOSEPH J.
PIAZZA, MITCHELLE
2211 SPRINGFIELD WAY
SAN MTAEO, CA 94403                                   P‐0016924 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARGER, JASON H.
INDIAN CREEK TRAIL
HAMILTON, OH 45013                                    P‐0016925 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELTHANGADY, NISCHAL
1068 GENEVA STREET
LIVERMORE, CA 94550                                   P‐0016926 11/5/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MOLLOV, VASSIL
2859 SELBY AVE
LOS ANGELES, CA 90064                                P‐0016927 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREELAND, BRENT D.
FREELAND, CAROL A.
427 BRELLINGER STREET
COLUMBIA, IL 62236                                   P‐0016928 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NATHAN, SHIVAGURU
JAYARAMAN, VIJAIPRIA
805 WINDBLOWN LANE
REDWOOD SHORES, CA 94065                             P‐0016929 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARGER, JASON H.
2037 INDIAN CREEK TRAIL
CINCINNATI, OH 45013                                 P‐0016930 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANCE, GREGORY M.
5383 NW 169TH PL
PORTLAND, OR 97229                                   P‐0016931 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, JOHN L.
203 VICTOR AVE
YUTAN, NE 68073                                      P‐0016932 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, SCOTT E.
1952 JENKINS ST NE
EAST BETHEL, MN 55011                                P‐0016933 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AHMED, IMTIAZ
4500 RISINGHILL DRIVE
PLANO, TX 75024                                      P‐0016934 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES, SHARON
VOLKSWAGEN OF AMERICA, INC.
19975 HANNA ST
DETROIT, MI 48203                                    P‐0016935 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONG, PHILIP J.
1063 WHITCOMB COURT
MILPITAS, CA 95035                                   P‐0016936 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMKIN, GLORIA J.
1014 HEDGES
SAN ANTONIO, TX 78203                                P‐0016937 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, CLYDE T.
5619 PICARDY DR.
OAKLAND, CA 94605                                    P‐0016938 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTELLARO, JESSICA A.
MARTELLARO, KYLE D.
581 OAKWOOD DRIVE
FAIRFIELD, CA 94534                                  P‐0016939 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, CLYDE T.
5619 PICARDY DR.
OAKLAND, CA 94605                                    P‐0016940 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITZGERALD, SCOTT T.
FITZGERALD, KELLY L.
8863 MAPLEWOOD DR.
HIGHLANDS RANCH, CO 80126                            P‐0016941 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, ELIZABETH J.
5500 WILDWOOD RD
VAN BUREN, AR 72956                                  P‐0016942 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONG, PHILIP J.
1063 WHITCOMB COURT
MILPITAS, CA 95035                                   P‐0016943 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GARCIA, TONY
3803 SE 31ST AVE
PORTLAND, OR 97202                                   P‐0016944 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLDS, SARA L.
13724 CHADRON AVENUE APT. 8
HAWTHORNE, CA 90250‐7801                             P‐0016945 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TARCON, KATHERINE A.
5115 W RICHLAND L
SPOKANE, WA 99224                                    P‐0016946 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRIVITT, BILL W.
4056 E. WINDSONG ST.
SPRINGFIELD, MO 65809                                P‐0016947 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAYA, EDYTA D.
26414 KILTARTAN ST
FARMINGTON HILLS, MI 48334                           P‐0016948 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, KARL M.
MILLER, CLEO C.
P.O. BOX 235
4554 EMILY'S WAY
SPRINGDALE, WA 99173                                 P‐0016949 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIOU, WILLY
1528 SAPPANWOOD AVE
THOUSAND OAKS, CA 91320                              P‐0016950 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEA, VINCENT
186 PINEWOOD AVE
STATEN ISLAND, NY 10306                              P‐0016951 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEA, VINCENT
186 PINEWOOD AVE
STATEN ISLAND, NY 10306                              P‐0016952 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERCE, SANDRA L.
1160 E CAMBRIDGE ST
SPRINGFIELD, MO 65807                                P‐0016953 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAUB, LANDON J.
RAUB, JOSEPH M.
5211 ALLEGHENY DRIVE
WICHITA FALLS, TX 76310                              P‐0016954 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLF, JAMES J.
13294 SW ALPINE VIEW
TIGARD, OR 97224‐1879                                P‐0016955 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JIN, JULIE Y.
320 PACIFIC STREET #8
SANTA MONICA, CA 90405                               P‐0016956 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REISLER, LINDSAY J.
REISLER, LINDSAY J.
624 FOXWOOD DR.
GLEN BURNIE, MD 21060                                P‐0016957 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YUEN, TOM
1801 MONTEREY BLVD
SAN FRANCISCO, CA 94127                              P‐0016958 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIKSHIT, UPASNA
15 HONDO PL
SAN RAMON, CA 94583                                  P‐0016959 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAUB, RONDA A.
5211 ALLEGHENY DRIVE
WICHITA FALLS, TX 76310                              P‐0016960 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MCGEE, BONNIE A.
5109 S. NATOMA AVE.
CHICAGO, IL 60638                                   P‐0016961 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLUCCIO, DANA M.
297 SHERWOOD DRIVE
MONACA, PA 15061                                    P‐0016962 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOCKWOOD, MARY MARGOT
431 GARCIA
HALF MOON BAY, CA 94019                             P‐0016963 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLUCCIO, DANA M.
297 SHERWOOD DRIVE
MONACA, PA 15061                                    P‐0016964 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROW, RODNEY H.
11284 S OHENRY RD
SANDY, UT 84070‐5393                                P‐0016965 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALFER, FRED S.
VALFER, LINDA H.
5681 CAMINITO DANZARIN
LA JOLLA, CA                                        P‐0016966 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KO, WALTER W.
1591 FUNSTON AVENUE
SAN FRANCISCO, CA 94122‐3530                        P‐0016967 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOCKWOOD, MARY M.
431 GARCIA
HALF MOON BAY, CA 94019                             P‐0016968 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TALEBANFARD, SAEED
4425 92ND ST SW
MUKILTEO, WA 98275                                  P‐0016969 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, JOSE S.
1739 E GST
#19
ONTARIO, CA 91764                                   P‐0016970 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACK, JAMES R.
3081 ROYALWOOD ROAD
NORTH ROYALTON, OH 44133                            P‐0016971 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COAKER, ALVIN
320 S HARRISON ST.
7L
EAST ORANGE 07018                                   P‐0016972 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYNUM, RASHEEDAH
7610 LONGDON COURT
EAST STROUDSBURG, PA 18301                          P‐0016973 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAIGHT, DARCY
HAIGHT, NEIL
20637 WEATHERBY CT
BEND, OR 97701                                      P‐0016974 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VIJAYARAMACHANDR, KARTHIKEYAN
BALASUBRAMANIAN, VAISHNAVI
3707 LAKE ONTARIO DR
FREMONT, CA 94555                                   P‐0016975 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALONE, CASSANDRA L.
MALONE JR, THERON
1535 JODI COURT
STOCKTON, CA 95210                                  P‐0016976 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SANCHEZ, JORGE A.
13812 SUNBURST ST.
ARLETA, CA 91331‐6029                               P‐0016977 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMIREZ, RAUL C.
2205 ATRISCO CIRCLE
SACRAMENTO, CA 95833‐2741                           P‐0016978 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWOUNG, JENNIFER P.
2930 SOMERSET PLACE
SAN MARINO, CA 91108                                P‐0016979 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENFIELD, VINCENT B.
GREENFIELD, JANICE E.
1411 SE 145TH AVE
PORTLAND, OR 97233                                  P‐0016980 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWEISBERGER, ANDREW F.
4433 GRANTLEY
TOLEDO, OH 43613                                    P‐0016981 11/6/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
PEDERSEN, JEREME P.
PEDERSEN, DIANE L.
UNIT 8600 BOX 1181
DPO, AP 96515                                       P‐0016982 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EFROS, ALEXANDER
1230 N. MANSFIELD AVE.
APT #7
LOS ANGELES, CA 90038                               P‐0016983 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, THERESA A.
2339 GATEWOOD STREET
LOS ANGELES, CA 90031                               P‐0016984 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, MARLIN M.
39837 NE 44TH ST.
WASHOUGAL, WA 98671‐9657                            P‐0016985 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWSON, KELLY J.
78189 WATTS RD.
BUSH, LA 70431                                      P‐0016986 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA, GUILLERMO
1031 HARNESS DR APT#73
SAN RAMON, CA 94583                                 P‐0016987 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANON, DAVID
1157 9TH STREET
MANHATTAN BEACH, CA 9‐0266                          P‐0016988 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERVA, MIKE J.
15 FOAL COURT
MARIETTA, PA 17547                                  P‐0016989 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUMMINGS, STEVE D.
618 TAYLORTOWN RD
DILLINER, PA 15327                                  P‐0016990 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHERMAN, KRYSTLE L.
614 W ROWAN AVE
SPOKANE, WA 99205                                   P‐0016991 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLUCCI, LORENZO
629 W. DEMING PL
CHICAGO, IL 60614                                   P‐0016992 11/6/2017      TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
STANGELAND, MARCIA D.
162 BRADLEY BLVD
RICHLAND, WA 99352                                  P‐0016993 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CHAI, SHUN‐TIE
6522 152ND AVE SE
BELLEVUE, WA 98006                                   P‐0016994 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOOVER, LANCE E.
P.O. BOX 360
ESTACADA, OR 97022                                   P‐0016995 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINTER, ARLENE
5128 CHINOOK AVE
PENSACOLA, FL 32507                                  P‐0016996 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILIAMS, KEVIN T.
4152 TRILLIUM WOOD TRAIL
SNELLVILLE, GA                                       P‐0016997 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOLLING, KEVIN R.
37790 RIVER DRIVE
LEBANON, OR 97355                                    P‐0016998 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUNION, JOHN F.
GUNION, MARGARET M.
1004 MARINA CIRCLE
DAVIS, CA 95616                                      P‐0016999 11/6/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
SACKS, CATHRYN
P.O. BOX 1008
LOWER LAKE, CA 95457                                 P‐0017000 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUNION, JOHN F.
NO ADDRESS PROVIDED
                                                     P‐0017001 11/6/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
HARRIS, AAFRIIKA S.
1908 S. RIDGEWAY AVENUE
1ST FLOOR
CHICAGO, IL 60623                                    P‐0017002 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOMAY, GERALD G.
112 WASHINGTON LK
BROOKLYN, MI 49230                                   P‐0017003 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOMAY, GERALD G.
112 WASHINGTON LK
BROOKLYN, MI 49230                                   P‐0017004 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSE, DORIS M.
51 ST JOHNS PAK
ROCHESTER, NY 14612                                  P‐0017005 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REMBOS, STEVEN
435 NORTH BRUNER ST.
HINSDALE, IL 60521                                   P‐0017006 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHICHY, CHRISTOPHER C.
CHICHY, KAREN L.
617 FIRE TOWER ROAD
GLEN CAMPBELL, PA 15742                              P‐0017007 11/6/2017      TK Holdings Inc., et al .                       $72.76                                                                                       $72.76
UNGER, DOUGLAS L.
2012 N. 10TH STREET
BOISE, ID 83702                                      P‐0017008 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGNER, CANDICE L.
609 N CAMPBELL STREET
BOX 1834
WILLIS, TX 77378                                     P‐0017009 11/6/2017      TK Holdings Inc., et al .                    $4,500.00                                                                                    $4,500.00
LEDUC, DONNA M.
1195 WORTHINGTON RIDGE
BERLIN, CT 06037                                     P‐0017010 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
CHICHY, CHRISTOPHER C.
CHICHY, KAREN L.
617 FIRE TOWER ROAD
GLEN CAMPBELL, PA 15742                               P‐0017011 11/6/2017      TK Holdings Inc., et al .                       $26.75                                                                                       $26.75
SIEBERG, ANDREW D.
714 DEBBIE LANE
CARVER, MN 55315                                      P‐0017012 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNGER, DOUGLAS L.
2012 N. 10TH STREET
BOISE, ID 83702                                       P‐0017013 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHESLOCK, JAMES S.
CHESLOCK, DEBORAH A.
91 SABLE HEIGHTS
SAN ANTONIO, TX 78258                                 P‐0017014 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNGER, DOUGLAS L.
2012 N. 10TH STREET
BOISE, ID 83702                                       P‐0017015 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PITTMAN, SUSAN L.
62105 HIGHWAY 1090
PEARL RIVER, LA 70452                                 P‐0017016 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUXTON, JONATHON S.
1201 FRIENDSHIP CIR
CONCORD, GA 30206                                     P‐0017017 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEYLES, MICHAEL
22 KEATS RD
SHORT HILLS, NJ 07078                                 P‐0017018 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANE, SAMUEL R.
12365 BIG LEAF WAY NE
RECMOND, WA 98053                                     P‐0017019 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATKINS, TAMLA J.
93 HARBOR AVE
BRIDGEPORT                                            P‐0017020 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLANDON, WYATT
909 SWEET CHERRY PL
BELTON, MO 64012                                      P‐0017021 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING ALBERT, NANDRYCKA
570 SAND PINE CIRCLE
MIDWAY, FL 32343                                      P‐0017022 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORY, AMY L.
21386 KLAR JO RD
CLITHERALL, MN 56524                                  P‐0017023 11/6/2017      TK Holdings Inc., et al .                     $222.00                                                                                       $222.00
FRAZIER, SHELANDA
P.O. BOX 18123
CINCINNATI, OH 45218                                  P‐0017024 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
METELSKY, MARCIA
300 LIBERTY AVENUE APT 509
PITTSBURGH, PA 15222                                  P‐0017025 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYNGHOLM, SARA L.
126 MAIN ST
#1
MONTPELIER, VT 05602                                  P‐0017026 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIKA, LESLEY A.
611 CLINTON AVENUE
MIDDLESEX, NJ 08846                                   P‐0017027 11/6/2017      TK Holdings Inc., et al .                   $18,000.00                                                                                   $18,000.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
NORMAN, KEITH M.
NORMAN, MELANIE K.
15772 SUNSET BLVD
WAPAKONETA, OH 45895                                  P‐0017028 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VETOICH, MALLORY R.
729 HENDERSON RD
HOWELL, MI 48855                                      P‐0017029 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEENER, JOYCE A.
KEENER, CHARLES L.
1734 MUIRFIELD DR
GREEN COVE SPRIN, FL 32043                            P‐0017030 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRUG, DONALD I.
68 N HELLEMS RD
, MI 48413                                            P‐0017031 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWMAN, TEDDY E.
5831 HANCCOK ST SW
CANTON, OH 44706                                      P‐0017032 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, CARL L.
7309 WINCHESTER DR.
ST. LOUIS, MO 63121                                   P‐0017033 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAILE, MONICA
44 TYLER STREET
FREEPORT, NY 11520                                    P‐0017034 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRUG, DONALD I.
668 N HELLEMS RD
BAD AXE, MI 48413                                     P‐0017035 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEYLES, CARMELLA
22 KEATS RD
SHORT HILLS, NJ 07078                                 P‐0017036 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIGGINS, CHARLES T.
DIGGINS, ANN E.
22 WEILERS BEND
WILMINGTON, DE 19810                                  P‐0017037 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, CARL L.
7309 WINCHESTER DR.
7309 WINCHESTER DR.
ST. LOUIS, MO 63121                                   P‐0017038 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SASSO, DAVID L.
22 BLUESTONE PARK ROAD
SAUGERTIES, NY 12477                                  P‐0017039 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUTREY, WILLIAM P.
3172 RIVA RD
RIVA, MD 21140                                        P‐0017040 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOOD, CYNTHIA
7274 JEWETT ROAD
CLINTON, WA 98236                                     P‐0017041 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, KRISTIN
810 BURGESS STREET
PHILADELPHIA, PA 19116                                P‐0017042 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, RONALD E.
YOUNG, LAURIE D.
320 FAIRMONT ROAD
CHICORA, PA 16025                                     P‐0017043 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YEARKEY, JEFFERY S.
19618 MADRONE
MACOMB, MI 48042                                      P‐0017044 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SELDIN, RICHARD
SELDIN, SIAN L.
9104 DRUMALDRY DRIVE
BETHESDA, MD 20817                                  P‐0017045 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERVIN, JOHN T.
11 CAMERON LANE
GREENVILLE, SC 28615                                P‐0017046 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, RONALD E.
320 FAIRMONT ROAD
CHICORA, PA 16025                                   P‐0017047 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORALES, ASHLEY M.
18012 GLACIER BAY ST
PFLUGERVILLE, TX 78660                              P‐0017048 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GABLE, HADLEY
100 STAR DRIVE
BRANDON, MS 39042                                   P‐0017049 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEELEY, SANDRA L.
STEELEY, SANDRA
10709 DAVIS AVE
WOODSTOCK, MD 21163                                 P‐0017050 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNS, RICHARD B.
3409 SHERMAN AVE NW APT B
WASHINGTON, DC 20010                                P‐0017051 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIXBY, KELLY
1942 BERGDOLL AVE
BOOTHWYN, PA 19061                                  P‐0017052 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOME IV CARE
32751 EDWARD AVENUE
SUITE 101
MADISON HEIGHTS, MI 48071                           P‐0017053 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYERS, MIKEL C.
MYERS, MARLENE M.
162 DREW ROAD
MADBURY, NH 03823                                   P‐0017054 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DETTLING, DAWN R.
215 YORK ST N
CANNON FALLS, MN 55009                              P‐0017055 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWERTON, WENDY
HOWERTON, KEVIN
707 ZUNI RD SE
RIO RANCHO, NM 87124                                P‐0017056 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TITUS, BRIAN J.
5070 LOCKWOOD RD
PERRY, OH 44081                                     P‐0017057 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOME IV CARE
32751 EDWARD AVENUE
SUITE 101
MADISON HEIGHTS, MI 48071                           P‐0017058 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTLEWICZ, ALLAN
156 14TH AVE NE
ST PETERSBURG, FL 33701                             P‐0017059 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORALES ARGUMEDO, JACOB J.
18012 GLACIER BAY ST
PFLUGERVILLE, TX 78660                              P‐0017060 11/6/2017      TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HILBERT, CINDY A.
77 PATURA RD
MODENA, NY 12548                                    P‐0017061 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEICHLER, CATHY
WEICHLER, DAVID J.
2060 SAMPSON ROAD
MT. OLIVE, AL 35117                                 P‐0017062 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROYCE, PENNINGTON R.
402 CEDAR TREE DRIVE
THIBODAUX, LA 70301                                 P‐0017063 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERESZTURY, ROBERT A.
104 FOXTAIL DR.
PITTSBURGH, PA 15239                                P‐0017064 11/6/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
JARVEY, STACIE A.
1980 NEBRASKA AVE E
ST PAUL, MN 55119                                   P‐0017065 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, ROBIN A.
11 WATERS EDGE
LUDLOW, MA 01056                                    P‐0017066 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLZWART, PETER A.
GAYNOR‐HOLZWART, THERESE K.
1526 BUTLER DR
WAUKESHA, WI 53186                                  P‐0017067 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OXNER‐DIXON, ANNE MARIE
58 STONEGATE LANE
DUXBURY, MA 02332                                   P‐0017068 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBBER, STEPHEN E.
WEBBER, MELISSA A.
178 ISBEL DR
SANTA CRUZ, CA 95060                                P‐0017069 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUMMERS, CHERYL R.
SUMMERS, TARIE
5622 S 161ST STREET
OMAHA, NE 68135                                     P‐0017070 11/6/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
JOHNSON, GEOFFREY C.
13209 W 137TH PL
OVERLAND PARK, KS 66221                             P‐0017071 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONG, ASHLEY R.
31 HUDSON AVE APT D
GLENS FALLS, NY 12801                               P‐0017072 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESHELMAN, DEBRA P.
ESHELMAN, WILLIAM J.
1411 HILLSIDE LN
DAUPHIN, PA 17018                                   P‐0017073 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADKINS, AMY
133 KERNS ST
ERWIN, TN 37650                                     P‐0017074 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCOY, KENNETH
3311 JEFFERSON PLACE
BOSSIER CITY, LA 71112                              P‐0017075 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABBOTT, ALETHEA A.
16 ZUMMO WAY
NORRISTOWN, PA 19401                                P‐0017076 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
EGGLESTON, JEFF W.
EGGLESTON, JOAN J.
680 MONARCH DRIVE EAST
MOBILE, AL 36609                                     P‐0017077 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEST, MICHELLE S.
719 W CHURCH ST
SALUDA, SC 29138                                     P‐0017078 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANDEWATER, DARLENE J.
10430 HUGHES ROAD
REMSEN, NY 13438                                     P‐0017079 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMARI, THERESA A.
HAMARI, MARK A.
1406 ADAMS ST
MARQUETTE, MI 49855                                  P‐0017080 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, TRAVIS
WILLIAMS, TANITHA
1709 SAM DR
BIRMINGHAM, AL 35235‐1808                            P‐0017081 11/6/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
OWENS, ALISA M.
NO ADDRESS PROVIDED
                                                     P‐0017082 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUNN, LESLIE A.
13455 DEVAN LEE DR E
JACKSONVILLE, FL 32226                               P‐0017083 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AKKOUSH, JENSEN
1725 WHITTLING CT
FT MYERS, FL 33901                                   P‐0017084 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AKKOUSH, SAMMY E.
1725 WHITTLING CT
FT MYERS, FL 33901                                   P‐0017085 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOLEZAL, KIRK D.
P.O. BOX 206
NORTH BEND, NE 68649                                 P‐0017086 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENZUELA, JOSE R.
VALENZUELA, LYNN A.
7293 W AGAVE RANCH PL
TUCSON, AZ 85735                                     P‐0017087 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODS, KRISTIN N.
5556 LANIER AVE
SUITLAND, MD 20746                                   P‐0017088 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEAD, BRIAN J.
1609 HOQUIAM PL NE
RENTON, WA 98059                                     P‐0017089 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUST, KENNETH
1216 VILLAGE GREEN DRIVE
CLAIRTON, PA 15025                                   P‐0017090 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, MONA
1089 DEWBERRY PL UNIT 404
SAN JOSE, CA 95131                                   P‐0017091 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODS, KRISTIN N.
5556 LANIER AVE
SUITLAND, MD 20746                                   P‐0017092 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUFFIN, REBECCA V.
1183 POST RD
SCARSDALE, NY 10583                                  P‐0017093 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
REYNOLDS, DONNA L.
P.O. BOX 292
FRANCONIA, NH 03580                                  P‐0017094 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHADWICK, A KRISTIN S.
5437 THREE NOTCH RD
LOUISA, VA 23093                                     P‐0017095 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, JAMIE J.
3117 LOST CITY ROAD
RUSSELLVILLE, KY 42276                               P‐0017096 11/6/2017      TK Holdings Inc., et al .                     $100.00                                                                                       $100.00
WOODS, KRISTIN N.
5556 LANIER AVE
SUITLAND, MD 20746                                   P‐0017097 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCMAHO, CHAD T.
MCMAHON, ROXANNE
3515 ST WILLIAM LANE
HOUSTON, TX 77084                                    P‐0017098 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIUS, CHRISTOPHER J.
PIUS, CHRISTINA L.
521 REDBERRY LANE
SAINT JOHNS, FL 32259                                P‐0017099 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEL NANO, ANTHONY
8200 VAN BUREN DRIVE
PITTSBURGH, PA 15237                                 P‐0017100 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SESTAK, JONATHON D.
7175 LOWELL AVENUE
OVERLAND PARK, KS 66204                              P‐0017101 11/6/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GUERCIO, SHERRI A.
31211 HILLIARD BLVD
WESTLAKE, OH 44145                                   P‐0017102 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, COLLEEN M.
4660 N. LANDING TRACE
MARIETTA, GA 30066                                   P‐0017103 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASSICK, JOAN M.
16745 CAMELLIA
FRASER, MI 48026                                     P‐0017104 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, DONALD J.
FISHER, PATRICIA A.
2941 CLIFFSIDE DRIVE
COPLEY, OH 44321                                     P‐0017105 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUDNICK, RACHAEL M.
714 GREEN STREET
HAVRE DE GRACE, MD 21078                             P‐0017106 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHIS, MELANIE R.
1858 LAKOTNA DRIVE
ORANGE PARK, FL 32073                                P‐0017107 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STODDARD, RACHELLE
2110 CAMPO PLACE
ESCONDIDO, CA 92027                                  P‐0017108 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEHMAN, LYNN
5418 MAPLE HILL AVE SE
ADA, MI 49301                                        P‐0017109 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GITTER, GREGORY H.
2110 CAMPO PLACE
ESCONDIDO, CA 92027                                  P‐0017110 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GILBEAUX, KALE
10752 WRIGLEY FIELD AVENUE
DENHAM SPRINGS, LA 70726                             P‐0017111 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLANDESE, MICHELLINA
419 INDIAN RIDGE TRL
WAUCONDA, IL 60084                                   P‐0017112 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, CINDY L.
1147 DEVONSHIRE AVE
MANTECA, CA 95336                                    P‐0017113 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, LESA
LEE, RODNEY
13129 EAST BAY CT.
CARROLLTON, VA 23314                                 P‐0017114 11/6/2017      TK Holdings Inc., et al .                   $35,000.00                                                                                   $35,000.00
BLACK, JOHN M.
4039 MEADOW LAKE LN
HOUSTON, TX 77027                                    P‐0017115 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANESHIRO, MICHAEL
18512 MANHATTAN PLACE
TORRANCE, CA 90504                                   P‐0017116 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JERGER, APRIL L.
9705 S 53RD AVE
OAK LAWN, IL 60453                                   P‐0017117 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSTER, JESSICA K.
1157 COPPERFIELD DRIVE
GEORGETOWN, IN 47122                                 P‐0017118 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRD, DARREN J.
3101 COPERNICUS ST
NEW ORLEANS, LA 70114                                P‐0017119 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEHMAN, LYNN
5418 MAPLE HILL AVE SE
ADA, MI 49301                                        P‐0017120 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JERGER, APRIL L.
9705 S 53RD AVE
OAK LAWN, IL 60453                                   P‐0017121 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHERY, EVELYNE
2209 S. COOPER CT.
WICHITA, KS 67209                                    P‐0017122 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARMICHAEL, PATRICIA A.
12781 DAVIS WRIGHT CT
HENDERSON, NV 89044                                  P‐0017123 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAVIS, DENNIS A.
3731 WILDFLOWER LA
JANESVILLE, WI 53548                                 P‐0017124 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OTTESEN, LARRY E.
OTTESEN, ANGELA M.
1305 QUEENS WAY APT. 200
WEST FARGO, ND 58078                                 P‐0017125 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROSSE, LUCAS
4711 S 167TH AVE
OMAHA, NE 68135                                      P‐0017126 11/6/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
NOSEK, JOHN S.
NOSEK, JOHN
1786 WEST 31ST PLACE
CLEVELAND, OH 44113                                  P‐0017127 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FISHER, TOMMY B.
7319 UNTZ RD
CONCORD, NC 28027                                    P‐0017128 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALCHENKO, IRYNA A.
4908 KIRBY RD.
CLINTON, MD 20735                                    P‐0017129 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIMMONS, KAYLAN M.
10413 CRESCENDO LN
AUSTIN, TX 78747                                     P‐0017130 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, DWAYNE L.
MILLER, SUSAN D.
412 HEATHCLIFF CT
MCDONOUGH, GA 30253                                  P‐0017131 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, CHANDRA
410 HOLLY DR
ATCO, NJ 08004                                       P‐0017132 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTIANSON, REED T.
CHRISTIANSON, MARILYN K.
8315 E 66 ST
KANSAS CITY, MO 64133‐4738                           P‐0017133 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GINER‐DAPENA, PEDRO
1705 CALLE SAN GUILLERMO
URB SAN IGNACIO
SAN JUAN, PR                                         P‐0017134 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIEBMANN, KELLY
LIEBMANN, ADAM
9205 ORIOLE TRL
WONDER LAKE, IL 60097                                P‐0017135 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOTRE, JOHN
15733 PAWNEE STREET
OVERLAND PARK, KS 66224                              P‐0017136 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
K., KATIE M.
7046 AUGUSTA DR.
GLEN CARBON, IL 62034                                P‐0017137 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUBES, BRITTANY L.
P.O. BOX 16672
DULUTH, MN 55816                                     P‐0017138 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASON, RAYMOND J.
1701 WINNERS CIRCLE
LAWRENCEVILLE, GA 30043‐2721                         P‐0017139 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, MEGAN E.
3826 S. 57TH CT.
CICERO, IL 60804                                     P‐0017140 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHGN, LAURA F.
DINGFELDER, WILLIAM M.
645 W. SEDGWICK ST.
PHILADELPHIA, PA 19119                               P‐0017141 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEL NANO, ANTHONY
8200 VAN BUREN DRIVE
PITTSBURGH, PA 15237                                 P‐0017142 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARROLL, JONELLE
8 LOTT PL.
KETTERING, OH 45420                                  P‐0017143 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, JACK B.
112 E OAK ST #3
LOUISVILLE, KY 40203                                 P‐0017144 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ZELLER, ROBERT J.
256 MAGILL DRIVE
GRAFTON, MA 01519‐1332                                P‐0017145 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, MELANIE
533 NORMANDY ST
PORTSMOUTH, VA 23701                                  P‐0017146 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELTON, AMY C.
910 MANCHESTER PLACE
ATLANTA, GA 30328                                     P‐0017147 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, TRAVIS J.
P.O. BOX 2401
LA MESA, CA 91943                                     P‐0017148 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHN, LAURA F.
DINGFELDER, WILLIAM M.
645 W. SEDGWICK STREET
PHILADELPHIA, PA 19119                                P‐0017149 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIETSCHE, RICHARD A.
2875 SAND TRAP RD SE
ROCHESTER, MN 55904                                   P‐0017150 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RABORG, KAREN E.
420 CRISFIELD DRIVE
ABINGDON, MD 21009                                    P‐0017151 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUHN, JEFF M.
4 MELISSA DR
LEMONT, IL 60439                                      P‐0017152 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEE, WALLACE
46078 GALWAY DR
NOVI                                                  P‐0017153 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLUM, JOSEPH W.
14501 HICKORY HILL CT.
UNIT 615
FORT MYERS, FL 33912                                  P‐0017154 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CADET, STERLIN
2209 S, COOPER CT
WICHITA, KS 67207                                     P‐0017155 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUBEL, STACY
347 N NEW RIVER DR E
APT 2210
FORT LAUDERDALE, FL 33301                             P‐0017156 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLOSIMO, MARK R.
106 COLORADO COVE
CEDAR CREEK, TX 78612                                 P‐0017157 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERARD, PETER
217 DEERFIELD RIDGE DR
MYSTIC, CT 06355                                      P‐0017158 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAUSE, MARLA J.
112 VERRET ST
APT C
NEW ORLEANS, LA 70114                                 P‐0017159 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEL NANO, ANTHONY
8200 VAN BUREN DRIVE
PITTSBURGH, PA 15237                                  P‐0017160 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, SAMANTHA
2934 WINSLOW FOREST
HOUSTON, TX 77047                                     P‐0017161 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BORDEN, ROSS
CHU, JUMAY
924 COMFORT ROAD
SPENCER, NY 14883                                     P‐0017162 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEELEY, SANDRA
10709 DAVIS AVE
WOODSTOCK, MD 21163                                   P‐0017163 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUBIN, RHODA L.
35 OAK KNOLL DR
MATAWAN, NJ 07747‐2650                                P‐0017164 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIELECHOWSKI, ADAM
3766 N. OCTAVIA
CHICAGO, IL 60634                                     P‐0017165 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VORASAKDANONT, VORADA
5536 LAS VIRGENES RD UNIT 129
CALABASAS, CA 91302                                   P‐0017166 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWYER, DWAYNE
224 ARTHUR DRIVE
MCDONOUGH, GA 30252                                   P‐0017167 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARUE, RONALD G.
6 MOCKINGBIRD LANE
FORT EDWARD, NY 12828                                 P‐0017168 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOCHBERG, JANE
1310 THUNDER RIDGE ROAD
SANTA FE, NM 87501‐8874                               P‐0017169 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILLER, MARILYN B.
P.O. BOX 145
SOUTH CANAAN, PA 18459                                P‐0017170 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOEHLER, MELANIE A.
KOEHLER, PHILLIP C.
12 WOODSIDE DRIVE
DANVILLE, CA 94506                                    P‐0017171 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADDEN, MICHAEL J.
737 CURDYS COVE LP. #9
HAMILTON, MT 59840                                    P‐0017172 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARELLANO, JESUS M.
9243 AMETHYST AVE
RANCHO CUCAMONGA, CA 91730                            P‐0017173 11/6/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
TRIPES, PATRICIA R.
1285 12TH STREET
IMPERIAL BEACH, CA 91932                              P‐0017174 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOLYER, PAUL F.
3672 S RED MAPLE ROAD
SALT LAKE CITY, UT 84106                              P‐0017175 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OH, JI HONG
1847 10TH AVE
SAN FRANCISCO CA 94122                                P‐0017176 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEELER, CHRISTINE C.
24310 BURNT HILL ROAD
CLARKSBURG, MD 20871                                  P‐0017177 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENON, VINOD
MENON, VINOD
20273 CARTWRIGHT WAY
CUPERTINO, CA 95014                                   P‐0017178 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CAPPOS, JENNIFER A.
129 W. 4TH AVENUE
CHICO, CA 95926                                      P‐0017179 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEZEWSKI, JAMES E.
3936 OLDS ELM DR. SE
KENTWOOD, MI 49512                                   P‐0017180 11/6/2017      TK Holdings Inc., et al .                    $1,151.10                                                                                    $1,151.10
BOLTON, NICOLE L.
5424 400TH ST SE
IOWA CITY, IA 52240                                  P‐0017181 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAMUDIO, GABRIEL
2332 S YANK ST
LAKEWOOD, CO 80228‐4909                              P‐0017182 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, BARRY
20 WARREN RD
WILBRAHAM, MA 01095                                  P‐0017183 11/6/2017      TK Holdings Inc., et al .                     $400.00                                                                                       $400.00
MIDDLETON, CHERYL A.
225 RIDGE ROAD
APT 4
NORTH ARLINGTON, NJ 07031                            P‐0017184 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOTARO, ANGELO
9 THEIS LANE
BLAUVELT, NY 10913                                   P‐0017185 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWYER, DWAYNE
224 ARTHUR DRIVE
MCDONOUGH, GA 30252`                                 P‐0017186 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENRY, JOETTE
7344 E ROSE LANE
SCOTTSDALE, AZ 852580                                P‐0017187 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TALLMAN, GINA B.
135 PARK DR
GRAND JUNCTION, CO 81501‐2641                        P‐0017188 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDPATH IV, SCHUYLER E.
221 SOUTH SEMINARY STREET
MADISONVILLE, KY 42431                               P‐0017189 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHARP, MARY C.
SHARP, DAVID R.
541 N 100 ST.
LINCOLN, NE 68527                                    P‐0017190 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUMMINGS, WAYNE C.
CUMMINGS, KATHLEEN
30 SPYGLASS COURT
WESTAMPTON, NJ 08060                                 P‐0017191 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIATKOWSKI, STEVEN M.
20 WHISPERING PINE LANE
VOORHEES, NJ 08043‐4214                              P‐0017192 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YEE, DAVID Y.
98‐1425 KAAHUMANU ST., APT D
AIEA, HI 96701                                       P‐0017193 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAJOVICH, NIKOLA
7 EAST LAWRENCE PARK DRIVE
UNIT # 11
PIERMONT, NY 10968                                   P‐0017194 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIFORD, W.
5202 ORLANDO CT
COLUMBUS, OH 43232                                   P‐0017195 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
POLLARD, GARY W.
633 HOLMES ROAD
FALKVILLE, AL 35622                                  P‐0017196 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, YOLANDA
618 E 43RD STREET
CHICAGO, IL 60653                                    P‐0017197 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALLE, VERDA M.
VALLE, ERASTO
1627 POMONA STREET UNIT C
CROCKETT, CA 94525                                   P‐0017198 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILFILLAN, SUSAN S.
616 LUCKY TRL
MT HOREB, WI 53572                                   P‐0017199 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWYER, DWAYNE
224 ARTHUR DRIVE
MCDONOUGH, GA 30252                                  P‐0017200 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REILLY, PATRICK W.
3208 CURTIS DRIVE
APT 304
TEMPLE HILLS, MD 20748                               P‐0017201 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEMONS, KIM
1463 W 1300 S
SPRINGVILLE, UT 84663                                P‐0017202 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLIESNER, CAROL M.
1322 S, VAN MARTER LANE
SPOKANE VALLEY, WA 99206                             P‐0017203 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRISIFULLI, TIA C.
P.O. BOX 112
FREDONIA, AZ 86022                                   P‐0017204 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOEHLER, PHILLIP C.
KOEHLER, MELANIE A.
12 WOODSIDE DRIVE
DANVILLE, CA 94506                                   P‐0017205 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLS, CAROL E.
14804 S. SALNAVE ROAD
CHENEY, WA 99004                                     P‐0017206 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLTON, NICOLE L.
5424 400TH ST SE
IOWA CITY, IA 52240                                  P‐0017207 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSEN, PAUL F.
1942 ORCHARD LANE
                                                     P‐0017208 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, MARILYNN E.
62866 E SILKWOOD WAY
TUCSON, AZ 85739                                     P‐0017209 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NG, CHUN KIT
9130 NW LEAHY RD
PORTLAND, OR 97229                                   P‐0017210 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLOWAY, RACHEL R.
4508 HWY 212 EAST
MONTICELLO, GA 31064                                 P‐0017211 11/6/2017      TK Holdings Inc., et al .                   $17,000.00                                                                                   $17,000.00
LOCKHART, TERRI D.
2590 CO RD 9
CLANTON                                              P‐0017212 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MIGDAL, ROBERT C.
P.O. BOX 34
ADAMS CENTER, NY 13606                               P‐0017213 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAGG, MATTHEW A.
EXTREME TOWING
5424 400TH ST SE
IOWA CITY, IA 52240                                  P‐0017214 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, STEPHEN D.
1791 EVERGREEN POINT RD
MEDINA, WA 98039                                     P‐0017215 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOPP, CRYSTAL A.
1304 68TH LN N
BROOKLYN CENTER, MN 55430                            P‐0017216 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNFORD, JAMES E.
5632 LAKE SIDE DRIVE
BOSSIER CITY, LA 71111                               P‐0017217 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWYER, DWAYNE
224 ARTHUR DRIVE
MCDONOUGH, GA 30252                                  P‐0017218 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHELTON, JENIFER L.
SHELTON, RICHARD D.
280 LETHAM COURT
SAINT CHARLES, MO 63301                              P‐0017219 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FESSLER, JOHN
2443 MADRUGADA DRIVE
CHINO HILLS, CA 91709‐1374                           P‐0017220 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARNHEITER, CHAD M.
ARNHEITER, DANIELLE C.
22601 VOSE ST
WEST HILLS, CA 91307                                 P‐0017221 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWYER, DWAYNE
224 ARTHUR DRIVE
MCDONOUGH, GA 30252                                  P‐0017222 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUBRANT, ANTHONY J.
716 PLUM
GILLESPIE, IL 62033                                  P‐0017223 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAGARDE, ARIEL
4917 YALE ST.
APT #A
METAIRIE, LA 70006                                   P‐0017224 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUTON, JAY
1276 WASHINGTON AVE.
TWP OF WASHINTON, NJ 07676                           P‐0017225 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARGOW, JEFFREY
19 BALLY MEADE ROAD
HOPEWELL JUNCTIO, NY 12533                           P‐0017226 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FICKLER, CONSTANCE L.
8549 ADAIR CIRCLE NORTH
BROOKLYN PARK, MN 55443                              P‐0017227 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STONE, HONORA S.
4051 FOXPOINTE DRIVE
WEST BLOOMFIELD, MI 48323                            P‐0017228 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTIE, LAURENCE J.
32 GERARD DRIVE
SUITE C
FITCHBURG, MA 01420                                  P‐0017229 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WHITE, CAMMIE J.
2707 PALM ROAD
JAMESTOWN, NY 14701                                  P‐0017230 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REEDER, MYRLE S.
2450 NORTH MCDONEL STREET
LIMA, OH 45801                                       P‐0017231 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COURVILLE, JERRY
319 HICKORY FLAT RD
KINDER, LA 70648                                     P‐0017232 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERARD, PETER E.
217 DEERFIELD RIDGE DR
MYSTIC, CT 06355                                     P‐0017233 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELLO, STEPHANIE
4841 HOLM ROAD
PLACERVILLE, CA 95667                                P‐0017234 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUST, KENNETH R.
1216 VILLAGE GREEN DRIVE
CLAIRTON, PA 15025                                   P‐0017235 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWMAN, TIMOTHY M.
BOWMAN, SUSAN E.
14807 STATE ROUTE 725
GERMANTOWN, OH 45327                                 P‐0017236 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWE, KEVIN L.
21111 FORREST LEE RD
PICAYUNE, MS 39466                                   P‐0017237 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, WALTER
6500 LAWNTON AVE
PHILADELPHIA, PA 19126                               P‐0017238 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAULSBY, SHERISSE A.
2000 ASCOT PKWY
APT 2127
VALLEJO, CA 94591                                    P‐0017239 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALINAS, DIANE M.
9952 BENEVENTO WAY
ELK GROVE, CA 95757                                  P‐0017240 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BULZOMI, ANTHONY
85 WHITNEY ST.
WESTBURY, NY 11590                                   P‐0017241 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, JERED L.
17701 SE MILL PLAIN BOULEVARD
APT. 403
VANCOUVER, WA 98683                                  P‐0017242 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENGHINI, MICHAEL C.
5183 MOUNTAIN MEADOW TRAIL
CASTLE ROCK, CO 80109                                P‐0017243 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOURJE, KYLE D.
10569 ARNWOOD RD
SYLMAR, CA 91342                                     P‐0017244 11/6/2017      TK Holdings Inc., et al .                   $70,000.00                                                                                   $70,000.00
JOHNSON, JERRY
25402 ANGELWOOD SPRINGS LANE
TOMBALL, TX 77375                                    P‐0017245 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCULLOUGH JR, HAROLD F.
MCCULLOUGH, KATHY L.
2278 SPRUCE DRIVE
STATE COLLEGE, PA 16801‐2347                         P‐0017246 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RUST, KENNETH R.
1216 VILLAGE GREEN DRIVE
CLAIRTON, PA 15025                                   P‐0017247 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KATZMAN, JOANNA
2200 N. CENTRAL RD.
APT. 12G
FORT LEE, NJ 07024                                   P‐0017248 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENGHINI, MICHAEL C.
5183 MOUNTAIN MEADOW TRAIL
CASTLE ROCK, CO 80109                                P‐0017249 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STELLNER, MARIANO H.
675 TERESITA BLVD
SAN FRANCISCO, CA 94127                              P‐0017250 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FANN, TRACEY L.
14967 MARK TWAIN ST
DETROIT, MI                                          P‐0017251 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOGAN, STEVEN P.
5594 W CREEKSIDE LANE
QUEEN CREEK, AZ 85142                                P‐0017252 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, JERED L.
17701 SE MILL PLAIN BOULEVARD
APT. 403
VANCOUVER, WA 98683                                  P‐0017253 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLLARD, GARY W.
633 HOLMES ROAD
FALKVILLE, AL 35622                                  P‐0017254 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIS, SHARON A.
ELLIS, RANDY R.
2725 E.FIR STREET
UNIT 10
MT.VERNON, WA 98273‐2718                             P‐0017255 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROYAL, CRYSTAL D.
6001 ARLINGTON BLVD
UNIT 804
FALLS CHURCH, VA 22044                               P‐0017256 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANNER, JANETTE R.
BLANNER, MICHAEL F.
1004 EAST 8TH STREET
WASHINGTON, MO 63090                                 P‐0017257 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALCHENKO, IRYNA A.
4908 KIRBY RD.
CLINTON, MD 20735                                    P‐0017258 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEMING, ANGELA N.
12328 W. 107TH TERRACE
OVERLAND PARK, KS 66210                              P‐0017259 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUST, KENNETH R.
RUST, ELLEN J.
1216 VILLAGE GREEN DRIVE
CLAIRTON, PA 15025                                   P‐0017260 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANFILIPPO, FRANCIS S.
2558 TOM ANDERSON ROAD
FRANKLIN, TN 37064                                   P‐0017261 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GASH, RUTHANNE
GASH, RICHARD
10152 OAKWOOD LN.
BELLEVILLE, AR 72824                                 P‐0017262 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
BARRETT, LEONARD E.
2986 SW PIERSON ROAD
PORT SAINT LUCIE, FL 34953‐3335                        P‐0017263 11/6/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
PARSONS, AMANDA J.
5350 S. NOCTURNE LANE
SHELBY TOWNSHIP, MI 48316                              P‐0017264 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, JOEL
706 BAHAMA LANE
FOSTER CITY, CA 94404                                  P‐0017265 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELMONT MEDICAL SUPPLY
185 BELMONT MEDICAL SUPPLY
BELMONT, MA 02478                                      P‐0017266 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, LANISSA G.
106 BUCKINGHAM ST
LA PLACE, LA 70068                                     P‐0017267 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOUT, JOANNE I.
2284 MORGAN RD
CARLSBAD, CA 92008                                     P‐0017268 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARSONS, AMANDA J.
5350 S. NOCTURNE LANE
SHELBY TOWNSHIP, MI 48316                              P‐0017269 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAUSER, JAMES J.
4424 WILLIAM STREET
OMAHA, NE 68105                                        P‐0017270 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, LYNETTE K.
4501 ELLEN STREET
OAKLAND, CA 94601                                      P‐0017271 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEIDER, DAVID H.
5071 WHITEWOOD WAY
LAKE WORTH, FL 33467                                   P‐0017272 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, TERA
750 S GENOIS ST
NEW ORLEANS, LA 70119                                  P‐0017273 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOMBACI JR, LOUIS
64 SCOTCH CAP ROAD UNIT 141
QUAKER HILL, CT 06375                                  P‐0017274 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAPITZ, VIRGINIA M.
MARY ZAPITZ, VIRGINIA
1423 EDINBURGH STREET
SAN MATEO, CA 94402‐3015                               P‐0017275 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAASE, TERRANCE W.
1111 NE OAKLAND AVE
TOPEKA, KS 66616                                       P‐0017276 11/6/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
LINK, JULI A.
1817 E 28TH ST
VANCOUVER, WA 98663                                    P‐0017277 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADLEY, KELLY J.
530 WILSON STREET
JERSEY SHORE, PA 17740                                 P‐0017278 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, SHAINE E.
7707 N. GANNETT RD UP
SAGAMORE HILLS, OH 44067                               P‐0017279 11/6/2017      TK Holdings Inc., et al .                   $20,000.01                                                                                   $20,000.01
TIMOTHY, DEAN B.
10571 DALTON BIRDSALL RD
DALTON, NY 14836                                       P‐0017280 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RUIZ, PATRICIA G.
11511 N 91ST DR
PEORIA, AZ 85345                                     P‐0017281 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HATFIELD, RAYMOND C.
HATFIELD, BEVERLY L.
1408 FECHNER CIRCLE
NORTH AURORA, IL 60542                               P‐0017282 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONOVAN, RUTH G.
157 ROBERT ROAD
DEDHAM, MA 02026                                     P‐0017283 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEARMAN, TAMMY K.
5439 HWY 18 E
QUITMAN, MS 39355                                    P‐0017284 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRAKASH, KRISHNEEL
15076 SW GREENFIELD DR
TIGARD, OR 97224                                     P‐0017285 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADLEY, KELLY
530 WILSON STREET
JERSEY SHORE, PA 17740                               P‐0017286 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAW, TRACY L.
P.O. BOX 14
DRAKESBORO, KY 42337                                 P‐0017287 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEIN, ANDREA
4862 PONDEROSA DRIVE
SANTA ROSA, CA 95404                                 P‐0017288 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SORENSEN, HILLARY K.
7834 SOUTH 6520 WEST
WEST JORDAN, UT 84081                                P‐0017289 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDMONDS, SARA
2128 BRADBURN DRIVE
SACRAMENTO, CA 95835                                 P‐0017290 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAIER, JAMES S.
152 GENESEE STREET
AUBURN, NY 13021                                     P‐0017291 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, STEPHEN
15416 NEWTON ST
HACIENDA HTS                                         P‐0017292 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZWICK, JERI G.
4111 SW CORONADO ST.
PORTLAND, OR 97219                                   P‐0017293 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, DIANA L.
2816 W LONGFELLOW
SPOKANE, WA 99205                                    P‐0017294 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, CHRIS
5501 13TH AVE SO
MINNEAPOLIS, MN 55417                                P‐0017295 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAYANKI, SREENIVASUL
1081 CELILO DR
SUNNYVALE, CA 94087                                  P‐0017296 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRAKASH, CHANDRA
15076 SW GREENFIELD DR
TIGARD, OR 97224                                     P‐0017297 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FORTIN, LAURENT J.
GRAHAM FORTIN, MARY E.
2 MURDOCK ST
#1
AUGUSTA, ME 04330                                    P‐0017298 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAY, ABBAS H.
GRAY, NEVADA
1149 S 18THST
PHILADELPHIA, PA 19146                               P‐0017299 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELNYK, LYUDMYLA
214 OVERLOOK ROAD
NEWTON, NJ 07860                                     P‐0017300 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADKIN, TERESA L.
303 GALE AVE APT. B
HUNTSVILLE, AL 35801                                 P‐0017301 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAYANKI, SREENIVASUL
1081 CELILO DR
SUNNYVALE, CA 94087                                  P‐0017302 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAYS, DANNY L.
4441 S DAVIDSON DR
INDEPENDENCE, MO 64055                               P‐0017303 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEERICK, ROBERT J.
1626 SPARKLING WAY
SAN JOSE, CA 95125                                   P‐0017304 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRAKASH, SHIVNEEL
15076 SW GREENFIELD DR
TIGARD, OR 97224                                     P‐0017305 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGAZZI, ANTHONY
260 OLD LAKE STREET
WEST HARRISON, NY 10604                              P‐0017306 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALLAWAY ADAMS, MELISSA J.
4704 BENTCREEK DRIVE
FUQUAY VARINA, NC 27526                              P‐0017307 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOTTHELF, ERIC
P.O. BOX 322
MINTURN, CO 81645                                    P‐0017308 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAIG, ZACHARY W.
CRAIG, KEVIN W.
626 TEMPLE STREET
DUXBURY, MA 20332                                    P‐0017309 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUYER, BRADLEY A.
4112 88TH LANE NE
CIRCLE PINES, MN 55014                               P‐0017310 11/6/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
KRAMER, KEITH J.
3 DORCHESTER ROAD
SMITHTOWN, NY 11787                                  P‐0017311 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TERRANOVA RANCH INC
TERRANOVA RANCH INC
P.O. BOX 13
HELM, CA 93627‐0013                                  P‐0017312 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRARO, MARIE C.
FERRARO, KENNETH C.
2 MEADOWLARK LANE
GALENA, IL 61036                                     P‐0017313 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
GEWORSKY, NANCY R.
11 LINCOLN PLACE
LONGMONT, CO 80501                                     P‐0017314 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZLOTKOWSKI, JOAN M.
154 PATTON PLACE
WILLIAMSVILLE, NY 14221‐3758                           P‐0017315 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACEFIELD, AZIMA
2053 W 75TH ST
LOS ANGELES, CA 90047                                  P‐0017316 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENT, CHRISTOPHER T.
2397 TROLAND RD
TALLAHASSEE, FL 32308                                  P‐0017317 11/6/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
SWEARINGEN, JONATHAN D.
JONATHAN SWEARINGEN
280 S 18TH STREET
ST HELENS, OR 97051                                    P‐0017318 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KISS, TAFLINE L.
28508 GILCHRIST DR
WILLOWICK, OH 44095                                    P‐0017319 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOY, DENNIS A.
370 PROSPECT
ROCHESTER HILLS, MI 48307                              P‐0017320 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUYER, BRADLEY A.
4112 88TH LANE NE
CIRCLE PINES, MN 55014                                 P‐0017321 11/6/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
TERRANOVA RANCH INC.
TERRANOVA RANCH INC.
P.O. BOX 13
HELM, CA 93627‐0013                                    P‐0017322 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLEN, GEORGE
GLEN, ETHELYN
5815 WILLIS CTR.
KANSAS CITY, MO 64133                                  P‐0017323 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IOSUE, NICK R.
7576 N. MONA LISA RD
APT. 11104
TUCSON, AZ 85741                                       P‐0017324 11/6/2017      TK Holdings Inc., et al .                       $75.00                                                                                       $75.00
CALOROSO, TONY V.
5248 WEST 128TH TERRACE
LEAWOOD, KS 66209                                      P‐0017325 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNDEN, LORI K.
1123 8TH ST
CLARKSTON, WA 99403                                    P‐0017326 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUYER, BRADLEY A.
4112 88TH LANE NE
CIRCLE PINES, MN 55014                                 P‐0017327 11/6/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
SWEARINGEN, JONATHAN D.
NO ADDRESS PROVIDED
                                                       P‐0017328 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, KURT D.
THOMAS, ANN M.
2501 ARNO ROAD
MISSION HILLS, KS 66208                                P‐0017329 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, RYAN A.
234 MAIN STREET
MOHRSVILLE, PA 19541                                   P‐0017330 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
                                                                                             Page 1363 of 3875
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GUYER, BRADLEY A.
4112 88TH LANE NE
CIRCLE PINES, MN 55014                               P‐0017331 11/6/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
KRAMPITZ, CHRISTINA M.
TRUGLIO‐KIRWIN, MARILYN A.
31 GROVE STREET
CLINTON, CT 06413                                    P‐0017332 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOUGLAS, GEOFFREY P.
DOUGLAS, GEOFFREY P.
3854 BALDWIN DR
PLACERVILLE, CA 95667                                P‐0017333 11/6/2017      TK Holdings Inc., et al .                     $800.00                                                                                       $800.00
GROSHONG, KAREN R.
GROSHONG, RONALD W.
7270 FAWCETT CREEK ROAD
TILLAMOOK, OR 97141                                  P‐0017334 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, EDWARD S.
WARD, TONYA K.
1252 HART RD
COLUMBUS, OH 43223                                   P‐0017335 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHARP, MARY C.
541 N 100 ST.
LINCOLN, NE 68527                                    P‐0017336 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TERRANOVA RANCH INC
TERRANOVA RANCH INC
P.O. BOX 13
HELM, CA 93627‐0013                                  P‐0017337 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IOSUE, NICK R.
7576 N. MONA LISA RD
APT. 11104
TUCSON, AZ 85741                                     P‐0017338 11/6/2017      TK Holdings Inc., et al .                       $75.00                                                                                       $75.00
MOSELEY, MICHAEL D.
20800 SW WRIGHT ST.
BEAVERTON, OR 97078                                  P‐0017339 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEHTA, KETAN C.
4077 POLLED HEREFORD DRIVE
SANTA ROSA, CA 95404                                 P‐0017340 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITZ, DAVE J.
FITZ, VICKI L.
6705 S HUGHES AVENUE
SIOUX FALLS, SD 57108                                P‐0017341 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAIN, DOUGLAS H.
BAIN, SUSAN L.
22540 EAGLES WATCH DR
LAND O LAKES, FL 34639                               P‐0017342 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARKIN, RANDEE
HCR 1 BOX 5445
KEAAU, HI 96749                                      P‐0017343 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, RHONDA L.
3618 EHOLMES AVE APT 1
CUDAHY, WI 53110                                     P‐0017344 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUYER, BRADLEY A.
4112 88TH LANE NE
CIRCLE PINES, MN 55014                               P‐0017345 11/6/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
GUYTON, MONICA
1718 E LINCOLN RD
APT 1106
SPOKANE, WA 99217                                     P‐0017346 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BADE, PATTY L.
PATTY BADE
1610 LINDELL BLVD
GRANITE CITY, IL 62040                                P‐0017347 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NYLANDER, MARCIA L.
NYLANDER, CURTIS W.
8019 219TH AVE SE
SNOHOMISH, WA 98290                                   P‐0017348 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANSARI, ROSALBA
12932 SW 209 TERRACE
MIAMI, FL 33177                                       P‐0017349 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANTA, TIMOTHY A.
BANTA, BRENDA K.
2314 N. AMARADO ST.
WICHITA, KS 67205                                     P‐0017350 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUSTIN, HEATH M.
AUSTIN, BARBARA J.
402 E OAKLAND AVE.
LUVERNE, MN 5615                                      P‐0017351 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALLARD, JEAN M.
7943 160 TRAIL
LIVE OAK, FL 32060                                    P‐0017352 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIBBLE, LINDSIE B.
2016 BITTLE RD
MARYVILLE, TN 37804                                   P‐0017353 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOCKHART, TERRI D.
2590 CO RD 9
CLANTON, AL 35045                                     P‐0017354 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAREMPOUR, OMID
849 HUCKLEBERRY LN
ESCONDIDO, CA 92025                                   P‐0017355 11/6/2017      TK Holdings Inc., et al .                     $735.02                                                                                       $735.02
COOK, ELIZABETH
ELIZABETH COOK
233 COE RD
CLARENDON HILLS, IL ELIZABETH                         P‐0017356 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARIAS, TERI M.
MARIAS, DAVID P.
10224 KESSLER AVE.
CHATSWORTH, CA 91311                                  P‐0017357 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, MARY C.
221 FOOTHILL DRIVE
WOODSTOCK, GA 30188                                   P‐0017358 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, KURT D.
THOMAS, ANN M.
2501 ARNO ROAD
MISSION HILLS, KS 66208                               P‐0017359 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANTONISHAK, CYNTHIA D.
11076 FULTON AVE
WEEKI WACHEE, FL 34613                                P‐0017360 11/6/2017      TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
ARELLANO, JESUS M.
9243 AMETHYST AVE
RANCHO CUCAMONGA, CA 91730                            P‐0017361 11/6/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ZUCKER, JOANN
3589 NORTHPARK DRIVE
WESTMINSTER, CO 80031                                P‐0017362 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCORD, THEODORE E.
4508 RANDOM RIDGE CIR
OLNEY, MD 20832                                      P‐0017363 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARIAS, RICHARD
MARIAS, TERI M.
10224 KESSLER AVE
CHATSWORTH, CA 91311                                 P‐0017364 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALTOMARE, RONALD T.
353 NINA STREET
NEW WINDSOR, NY 12553                                P‐0017365 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPENCER, MARK
8329 REGENCY WOODS WAY
LOUISVILLE, KY 40220                                 P‐0017366 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EAST, JESSE W.
7322 NORMAN ST
ROANOKE, VA 24019                                    P‐0017367 11/6/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
ERLER, CHERYL M.
2189 HAZEL ST N
MAPLEWOOD, MN 55109                                  P‐0017368 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERS‐HOWELL, LUJEANA B.
221 N OAK
STOCKTON, KS 67669                                   P‐0017369 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOYOPRAYITNO, JULIE E.
3409 MOUNT BARKER DR
AUSTIN, TX 78731                                     P‐0017370 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADANANDUS, NEDRA C.
300 HILARY WAY
APT 178
VALLEJO, CA 94591                                    P‐0017371 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINDLEY, AMANDA M.
213 OMEGA COURT
DALLAS, GA 30157                                     P‐0017372 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOEHLER, MELANIE A.
KOEHLER, PHILLIP C.
12 WOODSIDE DRIVE
DANVILLE, CA 94506                                   P‐0017373 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, MICHAEL S.
170 E 4TH ST APT 5E
BROOKLYN, NY 11218/1740                              P‐0017374 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASIC, DANA L.
RASIC, SHERRI L.
1222 GREENLAND FOREST DR
MONUMENT, CO 80132                                   P‐0017375 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOCKHART, TERRI D.
2590 CO RD 9
CLANTON                                              P‐0017376 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VITALE, DANIEL M.
303 NE 66TH AVE
HILLSBORO, OR 97124                                  P‐0017377 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LATHAN, CHRISTOPHER
403 PATTON STREET
BUTLER, AL 36904                                     P‐0017378 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HONCHELL, MARY K.
208 SPRUCE DRIVE
BELVIDERE, IL 61008                                 P‐0017379 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TELOTTE, LEIGH E.
3780 W COOPER LAKE DR SE
SMYRNA, GA 30082                                    P‐0017380 10/31/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
MARINO, ANTHONY D.
2476 HONEYSUCKLE DR
LINCOLN, CA 95648                                   P‐0017381 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, VALERIE G.
709 VALENTINE LN
VIRGINIA BEACH, VA 23462                            P‐0017382 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTANA, HAROLD
2833 ROUTE 9D
UNIT 11
WAPPINGERS FALLS, NY 12590                          P‐0017383 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINGS, JOHN
637 NW SILVER BUCKLE ROAD
BEND, OR 97703                                      P‐0017384 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLS, REBECCA L.
5119 DODD ST
MIRA LOMA, CA 91752                                 P‐0017385 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBSON, JAMES W.
148 KULIPUU STREET
KIHEI, HI 96753                                     P‐0017386 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKE, AARON M.
4282 RIVER BIRCH DR
SOUTHPORT, NC 28461                                 P‐0017387 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINN, TAMMY J.
3626 LOWER HONOAPIILANI ROAD
LAHAINA, HI 96761                                   P‐0017388 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONCUS, JAMES D.
4400‐A AMBASSADOR CAFFERY PKW
#533
LAFAYETTE, LA 70508                                 P‐0017389 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JESCHOR, MARY ANN
JESCHOR, ED
8044 E TETON CIRCLE
MESA, AZ 85207                                      P‐0017390 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINO, ANTHONY D.
2476 HONEYSUCKLE DR
LINCOLN, CA 95648                                   P‐0017391 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAY, SHENIQUE V.
9883 UPPER MILL RD
BRISTOW, VA 20136                                   P‐0017392 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAYE, ROBERT A.
6915 HOLEMAN AVE
BLAINE, WA 98230                                    P‐0017393 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINO, ANTHONY D.
2476 HONEYSUCKLE DR
LINCOLN, CA 95648                                   P‐0017394 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STULL, JOANNE M.
100 LEXINGTON BLVD
DELAWARE, OH 43015                                  P‐0017395 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
EVANS, VALERIE G.
709 VALENTINE LN
VIRGINIA BEACH, VA 23462                              P‐0017396 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONFER, EDWINNA
423 FAIRMONT ST.
LATROBE, PA 15650                                     P‐0017397 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTH, BARBARA F.
4911 WHITCOMB DRIVE, #5
MADISON, WI 53711                                     P‐0017398 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINO, ANTHONY D.
2476 HONEYSUCKLE DR
LINCOLN, CA 95648                                     P‐0017399 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURRIS, DENNIS L.
BURRIS, PAMELA J.
14062 BIRCH RD.
GRASS VALLEY, CA 95945‐9629                           P‐0017400 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, VANESSA R.
15612 COUNTRY CLUB DR
CHINO HILLS, CA 91709                                 P‐0017401 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEBELEN, MICHAEL J.
60 GOLDEN RIDGE COURT
SAINT CHARLES, MO 63304                               P‐0017402 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEYMOUR, MICHELLE A.
C/O DORIS OLIVO
4628 NW 34TH PL
OCALA, FL 34482                                       P‐0017403 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLDREN, KATHY J.
111 FORTRESS RIDGE
WEAVERVILLE, NC 28787                                 P‐0017404 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, MICHELL J.
2116 BLAKERS BLVD.
BLUFFTON, SC 29909                                    P‐0017405 11/6/2017      TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
BAIER, ANTHONY L.
4 OVERLOOK DRIVE
JACKSON, NJ 08527                                     P‐0017406 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAND, GREGORY
732 FARRINGDON LANE
BURLINGAME, CA 94010                                  P‐0017407 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINO, ANTHONY D.
2476 HONEYSUCKLE DR
LINCOLN, CA 95648                                     P‐0017408 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, LAKESHA
12705 HARVARD BL
LA, CA 90047                                          P‐0017409 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOOHEY, CHARLES Q.
1001 CHENERY STREET
SAN FRANCISCO, CA                                     P‐0017410 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILKIN, KAREN M.
41W081 LENZ ROAD
ELGIN, IL 60124                                       P‐0017411 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINES, ROBERT P.
HINES, MARY M.
45 BEECH RIDGE ROAD
HARPURSVILLE, NY 13787                                P‐0017412 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RICHARDT, WILLIAM F.
10 WALNUT DR
SYOSSET, NY 11791                                    P‐0017413 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARONI, MICHAEL R.
585 FAIRWAY CREEK DRIVE
ONALASKA, WI 54650‐8435                              P‐0017414 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOKS, SUEANNE
BROOKS, THOMAS R.
26 CATLETT CT
RINEYVILLE, KY 40162                                 P‐0017415 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NATLAND, KATHI M.
92 ORCHARD ST
MARLBORO
MARLBORO, NY 12542                                   P‐0017416 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINO, ANTHONY D.
2476 HONEYSUCKLE DR
LINCOLN, CA 95648                                    P‐0017417 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LETTS, SCOTT D.
1756 LAGO VISTA BLVD.
PALM HARBOR, FL 34685                                P‐0017418 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOTH, CYNTHIA L.
1224 MILL RD
DELAFIELD, WI 53018                                  P‐0017419 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEACH, JANICE E.
6312 DEERWOOD LANE
LINO LAKES, MN 55014                                 P‐0017420 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILKIN, KAREN M.
41W081 LENZ ROAD
ELGIN, IL 60124                                      P‐0017421 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRATFORD, JAMES S.
10076 NE 10TH STREET
PRATT, KS 67124                                      P‐0017422 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, DONALD E.
111 FORTRESS RIDGE
WEAVERVILLE, NC 28787                                P‐0017423 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, JOEL A.
RICHARDSON, KELLY M.
2916 S. DEFRAME WAY
LAKEWOOD, CO 80228                                   P‐0017424 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUTMAN, TRICIA
5035 MARANATHA WAY
ALLENTOWN, PA 18106                                  P‐0017425 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWERS, ERIC
3232 WOODLAND RD
LOS ALAMOS, NM 87544                                 P‐0017426 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORNELL, VIRGINIA
12100 GREENWOOD CT., # 301
FAIRFAX, VA 22033                                    P‐0017427 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANGELILLO, ERIN F.
ANGELILLO, MICHAEL A.
9212 CASTLEMONT CIRCLE
ORANGEVALE, CA 95662                                 P‐0017428 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDT, WILLIAM F.
10 WALNUT SR
SYOSSET, NY 11791                                    P‐0017429 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HASSETT, EILEEN L.
2901 SWEET HOME RD.
AMHERST, NY 14228                                   P‐0017430 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEMONS, NOAH S.
1925 BELLOMY STREET APT 8
SANTA CLARA, CA 95050                               P‐0017431 11/6/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HOOGENBOSCH, SHANNON R.
5763 LA VENTA WAY
SACRAMENTO, CA 95835                                P‐0017432 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINNIG, MEIKO
195 NW ORCHARD DR.
PORTLAND, OR 97229                                  P‐0017433 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLAUSON, RYAN T.
1835 INCLINE WAY
ROSEVILLE, CA 95661                                 P‐0017434 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACKMAN, SHELLEY L.
BLACKMAN, WILLARD T.
5432 W. FAIRVIEW ST.
CHANDLER, AZ 85226                                  P‐0017435 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOOGENBOSCH, SHANNON R.
5763 LA VENTA WAY
SACRAMENTO, CA 95835                                P‐0017436 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHARACKY, NANCY K.
CHARACKY, GEORGE R.
7801 TEESDALE AVENUE
NORTH HOLLYWOOD, CA 91605                           P‐0017437 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, TAHIRAH S.
SCOTT, ALEX V.
3036 DELL DRIVE
HERMITAGE, TN 37076                                 P‐0017438 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLAUSON, RYAN T.
1835 INCLINE WAY
ROSEVILLE, CA 95661                                 P‐0017439 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YASUDA, STEPHANIE
532 N ROSSMORE AVE
APT 201
LOS ANGELES, CA 90004                               P‐0017440 11/6/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
GIACOMELLI, GINA M.
9212 CASTLEMONT CIRCLE
ORANGEVALE, CA 95662                                P‐0017441 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANFORD, KATHERINE D.
SANFORD, HENRY D.
4626 MIDDLETON ROAD
AUBURN, KY 42206                                    P‐0017442 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FULLER, WARE D.
46 LINCOLN LN
SUDBURY, MA 01776                                   P‐0017443 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, NEILEN R.
WALKER, JULIE P.
1355 CHAD ST.
MANDEVILLE, LA 70448                                P‐0017444 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOWNLEY, STEPHEN R.
50 D BRANDING IRON TRL
SILVER CITY, NM 88061                               P‐0017445 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
PAPERIN, KIM
641 29TH ST.
MANHATTAN BEACH, CA 90266                             P‐0017446 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VUE, BIANCA
7213 WINTERWILLOW CT.
SACRAMENTO, CA 95828                                  P‐0017447 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANIUK, KATHLEEN M.
SANIUK, ROBERT J.
610 DOWDING CT.
BELLEVUE, NE 68005                                    P‐0017448 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNYDER, JAMES D.
SNYDER, RITA K.
908 ST. HELENA DR.
LEANDER, TX 78641‐2549                                P‐0017449 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANFORD, HENRY D.
SANFORD, KATHERINE D.
                                                      P‐0017450 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAAKOV, ROMAN
VOGUE FURNITURE
110 GREEN BAY ROAD
APT #102
GLENCOE, IL 60022                                     P‐0017451 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, LAWRENCE
STEWART, LAWRENCE D.
25 RIVERS EDGE DRIVE
TARRYTOWN                                             P‐0017452 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEDIOT, LEON J.
DEDIOT, ALICIA B.
888 BRICKELL KEY DRIVE
APT 2908
MIAMI, FL 33131                                       P‐0017453 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, GARY D.
1521 LAKESIDE DR
GLENN HEIGHTS, TX 75154                               P‐0017454 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NESSON, MARY L.
NESSON, MARY L.
231 PLEASANT ST
WHITMAN, MA 02382                                     P‐0017455 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACKMAN, WILLARD T.
BLACKMAN, SHELLEY L.
5432 W. FARVIEW ST.
CHANDLER, AZ 85226                                    P‐0017456 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANNER, TANYA M.
5400 FLETCHER RD
MCCALLA, AL 35111                                     P‐0017457 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRINCHELL JR., HENRY P.
38 WABUN AVENUE
PROVIDENCE, RI 02908                                  P‐0017458 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CELING, EVAN C.
CELING, KRISTIN M.
2593 ROBERT LANE
MONTGOMERY, IL 60538                                  P‐0017459 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSHALL, THOMAS O.
THOMAS O MARSHALL
4849 PLACIDIA AVE.
N. HOLLYWOOD, CA 91601                                P‐0017460 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GABEL, NATALIE M.
360 PORT DOUGLASS COVE
CORDOVA, TN 38018                                   P‐0017461 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, GLORIA J.
1119 ABBOTT LANE
UNIVERSITY PARK, IL 60484                           P‐0017462 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VUE, BIANCA
7213 WINTERWILLOW CT.
SACRAMENTO, CA 95828                                P‐0017463 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELCHNER, ANDREI S.
412 KIRKWOOD COURT
LINCOLN, CA 95648                                   P‐0017464 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTSON, WILLIAM J.
9608 ORIOLE LANE
BEL ALTON, MD 20611                                 P‐0017465 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKEN, VELMA E.
4467 NE 210 CIRCLE TERR
APT 201
NORTH MIAMI BEAC, FL 33179                          P‐0017466 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANK, THOMAS R.
5108 KYLOCK ROAD
MECHANICSBURG, PA 170554819                         P‐0017467 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GABEL, NATALIE M.
360 PORT DOUGLASS COVE
CORDOVA, TN 38018                                   P‐0017468 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEARSON, GLEN E.
1115 EAGLE LANE
MANTECA, CA 95337                                   P‐0017469 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENS, KATHIE L.
6244 GETTYSBURG PL
APT 22
STOCKTON, CA 95207                                  P‐0017470 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOSACK, ALLAN F.
3531 CROOKS RD.
ROYAL OAK, MI 48073                                 P‐0017471 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, REGINALD L.
P.O. BOX 722
HARRISBURG, NC 28075                                P‐0017472 11/6/2017      TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
MARTINEZ, EDWARD T.
2238 MONTROSE AVE
MONTROSE, CA 91020‐1510                             P‐0017473 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRASNER, BARRY J.
4909 W 140TH STREET
HAWTHORNE, CA 90250                                 P‐0017474 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, DEBORAH S.
7202 CIRCLE DRIVE
ROHNERT PARK, CA 94928                              P‐0017475 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENBERG, THOMAS R.
ENBERG, ELIZABETH
9836 COUNTRY MEADOW DR.
STOCKTON, CA 95209                                  P‐0017476 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSS, KEVIN D.
901 JOHNSON RD
LYNCHBURG, VA 24502                                 P‐0017477 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MARTORANA, DIANE
306 BOUNDING HOME COURT
HAVRE DE GRACE, MD 21078                            P‐0017478 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURASZKIEWICZ, MALGORZATA N.
10061 RIVERSIDE DR.
UNIT 533
TOLUCA LAKE, CA 91602                               P‐0017479 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREER, KAREN M.
35 BRISTOL CT
LITTLE ROCK, AR 72211                               P‐0017480 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AYERS, TONYA N.
2592 CRALEY RD
WRIGHTSVILLE, PA 17368                              P‐0017481 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, ERNEST A.
7851 CABERNET STREET
VALLEY SPRINGS, CA                                  P‐0017482 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERCIEZ, JENNIFER G.
5302 LETHBRIDGE RD
GRAND BLANC, MI 48439                               P‐0017483 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSENBERG, WILLIAM H.
1631 SCHUYLER ROAD
BEVERLY HILLS, CA 90210                             P‐0017484 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREER, JONATHAN R.
35 BRISTOL CT
LITTLE ROCK, AR 72211                               P‐0017485 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTORANA, BENEDICT
306 BOUNDING HOME COURT
HAVRE DE GRACE, MD 21078                            P‐0017486 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, TRACIE L.
403 GADD ROAD
CHATTANOOGA, TN 37415                               P‐0017487 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINK, ROBERT C.
FINK, ANGELA C.
#4
BRASSIE LA
BRONXVILLE, NY 10708                                P‐0017488 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAKE, MICHAEL L.
22 BONHEUR ROAD
TRUMBULL, CT 06611                                  P‐0017489 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OUTLAW, HARWEADA
5758 WATERMAN BLVD.
ST LOUIS, MO 63112                                  P‐0017490 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALDE, JULIE K.
WALDE, THOMAS M.
960 COOPER HAWK RD
EATON, CO 80615                                     P‐0017491 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTUCCI, ERLENE L.
MARTUCCI, JOSEPH A.
349 UVALDA ST
AURORA, CO 80011                                    P‐0017492 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRES, HIEDY A.
749 N. BUSH STREET
UKIAH, CA 95482                                     P‐0017493 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLETCHER, ROSIE A.
3453 JUMILLA WAY
SACRAMENTO, CA 95834                                P‐0017494 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
D'ANNA, MARY JO
P.O. BOX 713
FOREST KNOLLS, CA 94933‐0717                          P‐0017495 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMORUEUX, RAYMOND J.
1314 SALTWELL PL
FAYETTEVILLE, NC 28314                                P‐0017496 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLAKELEY, KYMIL N.
16 N PIKE STREET
STURGIS, KY 42459                                     P‐0017497 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAUGHNESSY, JOSEPH F.
POST OFFICE BOX 611406
SAN JOSE, CA 95131‐1406                               P‐0017498 11/6/2017      TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
CARRIZAL, SARA C.
615 E. JOHNSON ST.
MADISON, WI 53703                                     P‐0017499 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAKIM, ALI
HITAWALA, SALMA
8118 LAKE SERENE DR
ORLANDO, FL 32836                                     P‐0017500 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOPSON, VIRGINIA
8609 ST. LAWRENCE
CHICAGO, IL 60619                                     P‐0017501 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLARNER, DONALD E.
1718 BELLE MEADE RD
ENCINITAS, CA 92024                                   P‐0017502 11/6/2017      TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
GUERRA, FRED
16737 SUMMERCREST AVE
ORLAND PARK, IL 60467                                 P‐0017503 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANDERIET, DENNIS J.
P.O. BOX 551
LAKEHEAD, CA 96051                                    P‐0017504 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELLUCCI, LAWRENCE
BELLUCCI, CHRISTINE K.
26 GARDEN PARK COURT
ROSEVILLE, CA 95678                                   P‐0017505 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCALFARO, ANTHONY M.
750 ROSELAND AVENUE
JENKINTOWN, PA 19046                                  P‐0017506 11/6/2017      TK Holdings Inc., et al .                    $6,500.00                                                                                    $6,500.00
WILLIS, RUTH A.
OTERO, ALICIA E.
3204 MARY DRIVE
MARYVILLE, IL 62062                                   P‐0017507 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TONATIUH RANCH
1395 COUNTY ROAD 10
RIDGWAY, CO 81432                                     P‐0017508 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
G., MIT L.
GLASSMAN, JUDITH E.
14332 PLATINUM DRIVE
NOR, MD 20878‐4342                                    P‐0017509 11/6/2017      TK Holdings Inc., et al .                    $2,400.00                                                                                    $2,400.00
SYMINGTON, BRIAN R.
SYMINGTON, CASEY L.
3935 11TH AVENUE
KEARNEY, NE 68845                                     P‐0017510 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHAUFLER, ARTHUR A.
5 LONGBOW DRIVE
MANALAPAN, NJ 07726                                   P‐0017511 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FISH, GORDON E.
FISH, DOROTHY P.
1015 MADDEN LANE APT 104
ROSEVILLE, CA 95661                                  P‐0017512 11/6/2017      TK Holdings Inc., et al .                    $3,800.00                                                                                    $3,800.00
MCGHEE‐WHITT, PAMELA S.
40 THAYER WAY
PHOENIXVILLE, PA 1946‐                               P‐0017513 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALVINI, NICKOLAS J.
1960 GRANDE CIRCLE
APT 28
FAIRFIELD, CA 94533                                  P‐0017514 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNETT, PATRICIA B.
11273 LAVA ROCK AVE.
GRASS VALLEY, CA 95945                               P‐0017515 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNGER, JAMES E.
1861 PETRIG CT
TRACY, CA 95376                                      P‐0017516 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, LISA
627 CARLA STREET
LIVERMORE, CA 94550                                  P‐0017517 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JOSHUA J.
1820 EL CERRITO PLACE
APT 210
LOS ANGELES, CA 90068                                P‐0017518 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CERVONE, TERRI A.
215‐27 23 RD 2FL
BAYSIDE, NY                                          P‐0017519 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HREH, MUHANAD
121 JUSTICE WAY APT#228
PIKEVILLE, KY 41501‐8308                             P‐0017520 11/6/2017      TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00
GREEN, NANCY
GREEN, LARRY
64727 HUNNELL RD.
BEND
, OR 97703                                           P‐0017521 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELDON, CURTIS B.
5245 HOLLY RIDGE FARM RD
RALEIGH, NC 27616                                    P‐0017522 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARSON, JON N.
16 ANCHORAGE PL
SOUTH PORTLAND, ME 04106                             P‐0017523 11/6/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
EVANS, GARY W.
EVANS, MARIE D.
3974 CITRUS DR
FALLBROOK, CA 92028                                  P‐0017524 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANFORD, DARRYL G.
5222 HOLLYWOOD ST. APT.279
BATON ROUGE, LA 70805                                P‐0017525 11/6/2017      TK Holdings Inc., et al .                   $38,000.00                                                                                   $38,000.00
GILLEN, WILLIAM S.
GILLEN, SANDRA H.
203 WOODLAWN DR
SEYMOUR, CT 06483                                    P‐0017526 11/6/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
DIRDARIAN, OLIVIER J.
630 SENEY AVENUE
MAMARONECK, NY 10543                                 P‐0017527 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ROSCOE, VINCE
12600 ROCKSIDE RD #203
CLEVELAND, OH 44125                                  P‐0017528 11/6/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
GEE, ANTHONY M.
73 GLASHAUS LOOP
EMERYVILLE, CA 94608                                 P‐0017529 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, GARY
FISHER, DEBBIE
842 N CIRCULO ZAGALA
TUCSON, AZ 85745                                     P‐0017530 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENO, LAWRENCE J.
1168 NORTH PLATTE LANE
POINCIANA, FL 34759                                  P‐0017531 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, BRAD C.
WRIGHT, LAUREN F.
1665 HARROD WAY
SALINAS, CA 93906                                    P‐0017532 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELSH, DONALD D.
734 N. PARK AVE #403
FREMONT, NE 68025                                    P‐0017533 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAN, POCHUN
CHANG, MEITING
1022 GRAPE AVENUE
SUNNYVALE, CA 94087                                  P‐0017534 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEZIALE, ANGIE L.
2218 MARIGOLD CIRCLE
CHENEY, WA 99004                                     P‐0017535 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEE, ANTHONY
73 GLASHAUS LOOP
EMERYVILLE, CA 94608                                 P‐0017536 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REINERTSON, LANCE L.
295 E COUNTRYSIDE DR
PUEBLO WEST, CO 81007                                P‐0017537 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAN, POCHUN
CHANG, MEITING
1022 GRAPE AVENUE
SUNNYVALE, CA 94087                                  P‐0017538 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROSSAINT, D. J.
301 LUCCA DRIVE
EVANS, CO 80620                                      P‐0017539 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYONS, DANIELLE
248 CROMBIE STREET
HUNTINGTON STA., NY 11746                            P‐0017540 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGHEE‐WHITT, PAMELA S.
40 THAYER WAY
PHOENIXVILLE, PA 19460                               P‐0017541 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAUSE, GLENN C.
2 GLENN DR
FLANDERS, NJ 07836                                   P‐0017542 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, CLIFFORD R.
1123 SOUTH AZALEA DR.
TYLER, TX 75701                                      P‐0017543 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, BRIDGET
SMITH, BRIDGET
10101 BANCROFT AVE
OAKLAND, CA 94603                                    P‐0017544 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WILKINSON, ROBERT A.
1245 TAFT RD
CHESAPEAKE, VA 23322                                P‐0017545 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCKEL, ROBERT A.
357 S. MEADOWS AVE
MANHATTAN BEACH, CA 90266                           P‐0017546 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRATER, WILLIAM K.
P.O. BOX 432
EDINBURG, TX 78540                                  P‐0017547 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LENZ, EDWARD M.
LENZ, MARLENE L.
3306 BROWNS VALLEY RD
NAPA, CA 94558                                      P‐0017548 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELF, MELISSA A.
5924 VALLEY VIEW ROAD
BLOOMSDALE, MO 63627                                P‐0017549 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IRISH, PATRICK
439 BRECADO CT
HOLLAND, MI 49423                                   P‐0017550 11/6/2017      TK Holdings Inc., et al .                     $125.00                                                                                       $125.00
SHRIVER, SUSAN L.
32606 OAK PARK DRIVE
LEESBURG, FL 34748‐8726                             P‐0017551 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, PAMELA G.
63 BAYBERRY HILL RD.
RIDGEFIELD, CT 06877‐6002                           P‐0017552 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEIDER, BRADLEY R.
3500 EURO LANE
DEPERE, WI 54115                                    P‐0017553 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AZZOLINE, SALVATORE V.
276 PRESIDENT ST
SADDLE BROOK, NJ 07663                              P‐0017554 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORRIS, WARREN R.
211 BATESVIEW DR UNIT 90
GREENVILLE, SC 29607                                P‐0017555 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOOKATAUB, SUSAN E.
9 MICHAELS WAY
WESTERLY, RI 02891                                  P‐0017556 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMIREZ, JACQUELINE H.
6104 BALTIMORE DR.
LA MESA, CA 91942                                   P‐0017557 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOERFLEIN, DOUGLAS P.
2820 WALNUT AVE., APT. 29
CARMIICHAEL, CA 95608                               P‐0017558 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICHOLS, ANDREA N.
NICHOLS, THOMAS L.
1373 ELM ST
LYNDEN, WA 98264                                    P‐0017559 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURTNER, DEBORAH L.
22 IRON MASTER DR
STAFFORD, VA 22554                                  P‐0017560 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANDY, THOMAS K.
192 EAST 75TH ST
APT 3 B
NEW YORK, NY 10021                                  P‐0017561 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
ZHU, XUEGEN
18591 WALDORF PL
ROWLAND HGHTS, CA 91748                            P‐0017562 11/6/2017      TK Holdings Inc., et al .                     $950.00                                                                                       $950.00
CHAPMAN, DEAN G.
151 S.E. BARRINGTON DR.
OAK HARBOR, WA 98277                               P‐0017563 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OROZCO, ARTURO
16110 WEDGEWORTH
HACIENDA HEIGHTS, CA 91745                         P‐0017564 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEONARD, LEROY R.
1161 MULTNOMAH RD
HOOD RIVER, OR 97031                               P‐0017565 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ATTAR, MEHDI
SHISHEHGAR, NASRIN
7322 BELPINE PL
RANCHO CUCAMONGA, CA 91730                         P‐0017566 11/6/2017      TK Holdings Inc., et al .                   $40,000.00                                                                                   $40,000.00
LARSON, BENJAMIN C.
524 N 179TH PL
SHORELINE, WA 98133                                P‐0017567 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IAFE, JOSEPH
2180 TOPSY TERRACE
NORTH PORT, FL 34286                               P‐0017568 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREEMAN, DEONDRA
4589 BETH MANOR DR APT D
MONTGOMERY, AL 36109                               P‐0017569 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECOUDRES, MICHAEL
DECOUDRES, MICHAEL
27968 GLADE CT.
CASTAIC, CA 91384                                  P‐0017570 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIROFF, MARK A.
TIROFF, LORETTA
7832 NUMMIE COURT
NORTH CHARLESTON, SC 29418                         P‐0017571 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATTOLICA, STEPHEN J.
5990 LONG ACRES COURT
FAIR OAKS, CA 95628                                P‐0017572 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AZZOLINE, SALVATORE V.
276 PRESIDENT ST
SADDLE BROOK, NJ 07663                             P‐0017573 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELF, MELISSA A.
5924 VALLEY VIEW ROAD
BLOOMSDALE, MO 63627                               P‐0017574 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMAN, JESSE R.
215 RAINBOW DRIVE #11586
LIVINGSTON, TX 77399                               P‐0017575 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINO, LAURA A.
4877 PEBBLEHUST DRIVE
STOW, OH 44224                                     P‐0017576 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEXANDER, MECHELLE D.
3508 SIDESADDLE COURT
HEPHZIBAH, GA 30815                                P‐0017577 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, SHANA
7 COMMODORE DR.
APT.261
EMERYVILLE, CA 94608                               P‐0017578 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FREDERICK, MICHAEL J.
2019 E. FAIRMOUNT AVE.
BALTIMORE, MD 21231                                  P‐0017579 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMILL, JACK A.
8408 KINGS VIEW COURT
MONTGOMERY, TX                                       P‐0017580 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMAN, JESSE R.
215 RAINBOW /DRIVE, #11586
LIVINGSTON, TX 77399                                 P‐0017581 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHFORD, DERRICK L.
6457 PARADISE VALLEY RD
FORT WORTH, TX 76112                                 P‐0017582 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, CRISTOBAL D.
GARCIA, CRISTOBAL
2216 GENESEE STREET
TOLEDO, OH 43605                                     P‐0017583 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARKLEY, JED H.
4201 NE 72ND AVE.
PORTLAND, OR 97218                                   P‐0017584 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHEP, RAYMOND A.
NO ADDRESS PROVIDED
                                                     P‐0017585 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLESPIE, ROMI L.
1912 CRESCENT DR
CHAMPAIGN, IL 61821                                  P‐0017586 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEACOCK, DIXIE C.
DIXIE CHURCH PEACOCK
1204 BARBARA DR.
SEYMOUR, TX 76380‐4001                               P‐0017587 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOTCHIN, DONALD C.
1727 151ST PL NE
ARLINGTON, WA 98223                                  P‐0017588 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOUT, RICHARD A.
STOUT, KATHLEEN A.
18160 COTTONWOOD RD.
NO. 273
SUNRIVER, OR 97707                                   P‐0017589 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMIN, DANE J.
KAMIN, CARYN T.
12812 SARALA PLACE
ST. LOUIS, MO 63131‐2000                             P‐0017590 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOBRATZ, JILLINE S.
W169N10835 REDWOOD LANE
GERMANTOWN, WI 53022                                 P‐0017591 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICHOLS, JAMES L.
7541 PARKWOOD LANE
FORT WORTH, TX 76133                                 P‐0017592 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TSIRKAS, DIONYSIOS
1111 SONATA DRIVE
VALLEJO, CA 94591                                    P‐0017593 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, DEBORAH S.
7202 CIRCLE DRIVE
ROHNERT PARK, CA 94928                               P‐0017594 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
CHAPMAN, NEAL A.
CHAPMAN2C3CK, NEAL A.
3457 WOODVALEY
LAPEER, MI 48446                                       P‐0017595 11/6/2017      TK Holdings Inc., et al .                   $23,328.00                                                                                   $23,328.00
JECZALA, STEVEN R.
JECZALA, EILEEN K.
2927 W ELOIKA AVE
SPOKANE, WA 99205                                      P‐0017596 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHMITZ, COREY D.
NELSON, JENNIFER N.
789 SHERWOOD AVE
ST PAUL, MN 55106                                      P‐0017597 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINGS, JOHN J.
COLLINGS, MICHELLE L.
12 LAFLURE LN
PERU, NY 12972                                         P‐0017598 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEERAM, SRINIVASU
5337 RETREAT CIR
LONGMONT, CO 80503                                     P‐0017599 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIU, MIN
3647 LANG RANCH PKWY
THOUSAND OAKS, CA 91362                                P‐0017600 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHROPP, JILL L.
WILSON, DIANA J.
1918 E. LYNN ST.
SEATTLE, WA 98112‐2618                                 P‐0017601 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINGS, JOHN J.
COLLINGS, JOHN L.
12 LAFLURE LN
PERU, NY 12972                                         P‐0017602 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RHODES, RODNEY C.
RHODES, PAULA C.
P.O. BOX 255
COLLINSVILLE, MISSISSIPPI 39325                        P‐0017603 11/6/2017      TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
SANTOS, RON
SANTOS, PAULO
412 GORHAM ST.
LOWELL, MA 01852                                       P‐0017604 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURDICK, GREG D.
23302 LOS PADRES DR
TRACY, CA 95304                                        P‐0017605 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTOS, ANN Z.
710 FIRETHORN ROAD
CHESSAPEAKE, VA 23320                                  P‐0017606 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARFAIT, JOSEPH
PARFAIT, LOREEN
36757 CHAPEL HILL RD
FRANKLINTON, LA 70438                                  P‐0017607 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIMM, JANICE
GRIMM, GABRIEL
1514 N DOMINION AVE
PASADENA, CA 91104                                     P‐0017608 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINGS, JOHN J.
COLLINGS, MICHELLE L.
12 LAFLURE LN
PERU, NY 12972                                         P‐0017609 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HOVEN, ASHLEY C.
11920 ALABASTER DR.
DAPHNE, AL 36526                                     P‐0017610 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALES‐LESPINA, MARY A.
107 WILKES COURT
ANNA, TX 75409                                       P‐0017611 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OAKLEY, JACQUELINE E.
230 COLLINS VIEW CT
LAWRENCEVILLE, GA 30043                              P‐0017612 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOSKI, ANTHONY L.
2499 WEATHERFORD DR.
DELTONA, FL 32738                                    P‐0017613 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JACK L.
MILLER, KATHLEEN R.
12606 PAINTBRUSH DRIVE
SUN CITY WEST, AZ 85375                              P‐0017614 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUGH, THOMAS M.
BAUGH, LINDA L.
P.O. BOX 844
MORRILTON, AR 72110                                  P‐0017615 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, DEBORAH S.
7202 CIRCLE DRIVE
ROHNERT PARK, CA 94928                               P‐0017616 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIELY, BRIDGET C.
239 STONEHEDGE LANE
ROCKFORD, IL 61107                                   P‐0017617 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIES, MARIANNE R.
900 ALEXANDRIA COURT
BEL AIR, MD 21014                                    P‐0017618 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERMAN, CAROL S.
140 BLACKFIELD DR.
TIBURON, CA 94920                                    P‐0017619 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINGS, JOHN J.
COLLINGS, MICHELLE L.
12 LAFLURE LN
PERU, NY 12972                                       P‐0017620 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YEAGLEY, ANN F.
115 CUMBERLAND ST.
LEBANON, PA 17042                                    P‐0017621 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, PATRICK K.
1650 GUNN ROAD
GRAND RAPIDS, MN 55755                               P‐0017622 11/6/2017      TK Holdings Inc., et al .                     $325.00                                                                                       $325.00
MCMILLAN, RON A.
720 SAN JUAN PLACE
CHULA VISTA, CA 91914                                P‐0017623 11/6/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
NOLLA‐ACOSTA, JUAN J.
P.O. BOX 7412
PONCE, PR 00732                                      P‐0017624 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANHOVE, LORI A.
35820 JEFFERSON AVENUE
#105
HARRISON TWP, MI 48045                               P‐0017625 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARINA, MARLA
4 TERRINGTON CIR
BELLA VISTA, AR 72715                                P‐0017626 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LIU, DAVID
5 COTTONWOOD CT
HILLSBOROUGH, CA 94010                               P‐0017627 11/6/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HEANEY, KEVIN
45 FLINT AVE
LARCHMONT, NY 10538                                  P‐0017628 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTHOFF, GEOFFREY M.
WESTHOFF, KATHERINE R.
17340 DOE RUN RD
NEW LONDON, MO 63459                                 P‐0017629 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOVAK, ALLEN
1414‐C MELE MANU STREET
HILO, HI 96720                                       P‐0017630 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, REGINALD L.
REGINALD LAMONT JOHNSON
P.O. BOX 722
HARRISBURG, NC 28075                                 P‐0017631 11/6/2017      TK Holdings Inc., et al .                    $6,500.00                                                                                    $6,500.00
EDWARDS, JESSICA
8201 GREEN PARROT RD. #308
JACKSONVILLE, FL 32256                               P‐0017632 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERRY, BRUCE A.
BERRY, JOANNE M.
9311 PAWNEE LANE
LEAWOOD, KX 66206                                    P‐0017633 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARMOUR, DENNIS
1022 WINWOOD DR.
CARY, NC 27511                                       P‐0017634 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAWITCH, ROBERT J.
RAWITCH, BOB
RAWITCH CONSULTING
9730 TUNNEY AVE
9730 TUNNEY AVE.
NORTHRIDGE, CA 91324                                 P‐0017635 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWRENCE, EDWARD J.
3811 BARBARA DR
STERLING HEIGHTS MI
                                                     P‐0017636 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, YVETTE
1913 22ND STREET #3
SANTA MONICA, CA 90404                               P‐0017637 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DREXEL, KARL W.
DREXEL WRIGHT, ROXANNE
2885 W. STEELE LN
SANTA ROSA, CA 95403                                 P‐0017638 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGRATH, STEVE
738 WILDROSE WAY
LOUISVILLE, CO 80027                                 P‐0017639 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIDGE, DIANA L.
7520 195TH STREET
FRESH MEADOWS, NY 11366                              P‐0017640 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AKIYAMA, JERALD J.
449 KUPAUA PL.
HONOLULU                                             P‐0017641 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOANG, NGA T.
2768 PEPPERWOOD PLACE
HAYWARD, CA 94541                                    P‐0017642 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
KING, APRIL A.
13924 MARQUESAS WAY
APT 2504
MARINA DEL REY, CA 90292                           P‐0017643 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RESNICK, ROBERT A.
5736 EMERSON COURT
AGOURA HILLS, CA 91301                             P‐0017644 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, BERNARD J.
PO. BOX 1252
RANCHO CUCAMONGA, CA 91729                         P‐0017645 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, MARCELLA
2238 MONTROSE AVE
MONTROSE, CA 91020‐1510                            P‐0017646 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, JENNIFER L.
CARTER, JOSEPH A.
8850 GLENROSE DR.
ST. LOUIS, MO 63126                                P‐0017647 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOOD, EARL D.
12581 HOMESTEAD DR N
WHITE BEAR LAKE, MN 55110                          P‐0017648 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIEBERMAN, ROBERT C.
7022 SEDGEBROOK DR W
STANLEY, NC 28164                                  P‐0017649 11/6/2017      TK Holdings Inc., et al .                    $6,500.00                                                                                    $6,500.00
ANDERSON, KIM
ANDERSON, KIM
3716 101ST CT NW
GIG HARBOR, WA 98332                               P‐0017650 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOCASSO, ROSARIA
2866 SEINE AVE
HIGHLAND, CA 92346                                 P‐0017651 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOLOMAY, DANIEL L.
8219 MORRELL LANE
DURHAM, NC 27713                                   P‐0017652 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, THOMAS D.
8004 AETNA AVENUE NE
MONTICELLO, MN 55362                               P‐0017653 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOLOMAY, DANIEL L.
8219 MORRELL LANE
DURHAM, NC 27713                                   P‐0017654 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EISENHOWER, VICKI R.
EISENHOWER, ROBERT L.
1233 TREIBLEY RD
NEW COLUMBIA, PA 17856                             P‐0017655 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEOGH, ROBERT J.
KEOGH, LISA A.
190 CAMPMEETING RD
WILLOW GROVE, PA 19090                             P‐0017656 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEEDS, GWENDOLYNN B.
400 MISSION RANCH BLVD
APT 144
CHICO, CA 95926                                    P‐0017657 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARHOEFE3R, LAURA
CLARE, STEPHANIE
1109 NE 55TH ST
SEATTLE, WA 98105                                  P‐0017658 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BALMES, ALFRED
5040 HAVEN PLACE APT 100
DUBLIN, CA 94568                                     P‐0017659 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, ARTHUR S.
7500 RIGGING CT.
CITRUS HEIGHTS, CA 95621                             P‐0017660 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGEMANN, KAREN A.
ERICKSON, CLIFFORD A.
1400 8TH ST NE LOT 6
STAPLES, MN 56479                                    P‐0017661 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUTHRIE, J STEVE
5305 SCOTTSBORO
MIDLAND, TX 79707                                    P‐0017662 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMALVAND, EHSAN
4558 BRITT RD
TUCKER, GA 30084                                     P‐0017663 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLYNT, ROBERT E.
31 HEARTHSTONE DRIVE
ALBANY, NY 12205                                     P‐0017664 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAVEZ, JAVIER
11005 VILLA ROSA LN
MUKILTEO, WA 98275                                   P‐0017665 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALMES, ALFRED
5040 HAVEN PL APT 100
DUBLIN, CA 94568                                     P‐0017666 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANISON, TIMOTHY A.
DANISON, ANGELA L.
108 HOFFMAN AVENUE
SAN FRANCISCO, CA 94114                              P‐0017667 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUTHRIE, JAMES S.
5305 SCOTTSBORO
MIDLAND, TX 79707                                    P‐0017668 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELEONARDIS, MICHELE
63 PENWOOD RD
BASKING RIDGE, NJ 07920                              P‐0017669 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAVEZ, RAFAEL
11005 VILLA ROSA LN
MUKILTEO, WA 98275                                   P‐0017670 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEVILLE, ANDREW P.
1201 S. 33RD ST.
LINCOLN, NE 68510‐4506                               P‐0017671 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENCIA, MANUEL
322 OSAGE DRIVE
SALINAS, CA 93906                                    P‐0017672 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELICA, ROBERT S.
14943 XENIA ST
THORNTON, CO 80602                                   P‐0017673 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENBERG, RICHARD
P.O. BOX 256
357 WHITE ST
BOWMANSTOWN, PA 18030                                P‐0017674 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORHAR, RICHARD B.
434 CR 2731
LONDON, AR 72847                                     P‐0017675 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BUTTERFIELD, STEVEN A.
11121 W. 14TH ST. N.
WICHITA, KS 67212                                    P‐0017676 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOSKINS, DARRELL W.
805 BRADYVILLE PIKE
APT 1205
MURFREESBORO, TN 37130                               P‐0017677 11/6/2017      TK Holdings Inc., et al .                   $21,000.00                                                                                   $21,000.00
SHINKO, LUCINDA
2103 W 245TH ST
#15
LOMITA, CA 90717                                     P‐0017678 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMALVAND, MARIA R.
4558 BRITT ROAD
TUCKER, GA 30084                                     P‐0017679 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLARDYCE, DALE H.
12019 CATHY DR.
HOUSTON, TX 77065                                    P‐0017680 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELICA, ROBERT S.
14943 XENIA ST
THORNTON, CO 80602                                   P‐0017681 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOGUE, DONNA L.
NO ADDRESS PROVIDED
                                                     P‐0017682 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIM, JOHN
28377 CONSTELLATION RD
VALENCIA, CA 91355                                   P‐0017683 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, RAYMOND A.
HOLMES HALE, CASANDRA M.
9109 GEORGIA BELLE DR
PERRY HALL, MD 21128                                 P‐0017684 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGUIRE, DENNIS J.
4 MANOR LANE
COPIAGUE, NY 11726                                   P‐0017685 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOGUE, DONNA L.
AQUATIQUE POOL SERVICE
6049 DOUGLAS BLVD SUITE 27
GRANITE BAY, CA 95746                                P‐0017686 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZANGANEH ARFA, SHAHRIAR
12111 W SUNSET BLVD
LOS ANGELES, CA 90049                                P‐0017687 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWRENCE, WILLIAM
LAWRENCE, IVY
7425 RAVINES AVE
LAS VEGAS, NV 89131                                  P‐0017688 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYNCH, MATTHEW S.
8033 RAVENCREST WAY
CITRUS HEIGHTS, CA 95621                             P‐0017689 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE, RAYMOND A.
HOLMES HALE, CASANDRA M.
9109 GEORGIA BELLE DR
PERRY HALL, MD 21128                                 P‐0017690 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HULLANDER, LANDA
5917 VIA VERMILYA APT 207B
LAKE WORTH, FL 33462                                 P‐0017691 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                   Amount
FAIRBANKS, TARA L.
26 PHEASANT DR
SICKLERVILLE, NJ 08081                              P‐0017692 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ANDRAE, CHRISTINE M.
3510 FOX MEADOWS DR.
COLLEYVILLE, TX 76034                               P‐0017693 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
THORNICROFT, DAYNE A.
18 GROVE ST #1
WALTHAM, MA 02453                                   P‐0017694 11/6/2017      TK Holdings Inc., et al .                      $500.00                                                                                       $500.00
SMITH, MICHELE A.
ESTATE OF, ADMINISTRX
WALTON K. SMITH, DECEASED
E STEWART JONES HACKER MURPHY
28 SECOND STREET
TROY, NY 12180                                      P‐0017695 11/6/2017      TK Holdings Inc., et al .                 $1,000,000.00                                                                                $1,000,000.00
AARDEMA, HOLLIE L.
AARDEMA, JEREMY R.
11438 HYDEAWAY CT.
MIDDLEVILLE, MI 49333                               P‐0017696 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
HOGUE, DONNA L.
AQUATIQUE POOL SERVICE
6049 DOUGLAS BLVD. SUITE 27
GRANITE BAY, CA 95746                               P‐0017697 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
COHEN, JOEL
706 BAHAMA LANE
FOSTER CITY, CA 94404                               P‐0017698 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LEE, KELVIN
7420 NEWCASTLE GOLF CLUB RD
A
NEWCASTLE, WA 98059                                 P‐0017699 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
RAMSTACK, WILLIAM K.
RAMSTACK, BARBARA E.
153 ARVEY LANE
FOND DU LAC, WI 54935                               P‐0017700 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
DRAKE, BRADLEY C.
1922 LINCOLN STREET
#1S
EVANSTON, IL 60201                                  P‐0017701 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
FRABUTT, LORYN
3975 SYRACUSE
DEARBORN HEIGHTS, MI 48125                          P‐0017702 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ORIOLO, DIANE P.
74 PARADISE BLVD
TOMS RIVER, NJ 08757                                P‐0017703 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
PACHE, KEITH M.
12123 HAWTHORNE DRIVE
MONTGOMERY, TX 77356                                P‐0017704 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LAWRENCE, IVY
LAWRENCE, WILLIAM
7425 RAVINES AVE
LAS VEGAS, NV 89131                                 P‐0017705 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
COLLINS, WILLIAM D.
34 COURTNEY DR
COVINGTON, LA 70433                                 P‐0017706 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MICHISHIMA, LYNN
1245 KUALA ST STE 107
PEARL CITY, HI 96782                                 P‐0017707 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNELL, JOHN
1479 GUERNEVILLE ROAD
SANTA ROSA, CA 95403                                 P‐0017708 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, JOEL
706 BAHAMA LANE
FOSTER CITY, CA 94404                                P‐0017709 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSWALT, DANIEL R.
5925 ALMEDA RD 11613
HOUSTON, TX 77004                                    P‐0017710 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHRIVER, EDWARD E.
SHRIVER, PAMELA A.
5740 REYNAUD CT
SANTA ROSA, CA 95409                                 P‐0017711 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALVO, SANTIAGO A.
440 SE 7 AVE
HIALEAH, FL 33010                                    P‐0017712 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERRITT, WILLIAM L.
MERRITT, JOSHUA N.
7907 DAWSON CREEK DRIVE
LINCOLN, NE 68505                                    P‐0017713 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENARD, LESTER
3317 TULIP DR.
HAZEL CREST, IL 60429                                P‐0017714 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITZPATRICK, TERRENCE R.
24152 W. MARY DALE AVE.
LAKE ZURICH, IL 60047                                P‐0017715 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAI, DANIEL S.
20356 VIA VOLANTE
CUPERTINO, CA 95014                                  P‐0017716 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWOPE, RICHARD L.
SWOPE, MARGARETHA R.
815 SO 174TH ST
SPANAWAY, WA 98387                                   P‐0017717 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARNSWORTH, ROSS W.
FARNSWORTH, ELIZABETH C.
1401 SCARBOROUGH LANE
PLANO, TX 75075                                      P‐0017718 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENSON, ALAN B.
BENSON, BETH A.
3451 SHADY GLEN LANE
GREENBANK, WA 98253                                  P‐0017719 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILKINSON, ROBERT A.
1245 TAFT RD
CHESAPEAKE, VA 23322                                 P‐0017720 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VINCIGUERRA, ROBERT
49 CARTERET STREET
STATEN ISLAND, NY 10307                              P‐0017721 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEATH, LAVONNA J.
4062 FLANDERS
DENVER
, CO 80249                                           P‐0017722 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TAYLOR, TRICIA L.
6486 CASTLE VIEW DRIVE
WEST VALLEY CITY, UT 84128                           P‐0017723 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SYBOUTS, MICAH M.
12416 W MEADOW CT
AIRWAY HEIGHTS, WA 99001                             P‐0017724 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERCE, GERALD E.
243 E 140 TH STREET
LOS ANGELES, CA 90061                                P‐0017725 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AKHTAR, MUSTANSAR J.
2720 FAIRMOUNT AVE
LA CRESCENTA, CA 91214                               P‐0017726 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DARWIN, MEGAN C.
410 S. FRANCISCA AVE
REDONDO BEACH, CA 90277                              P‐0017727 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, MAKELLA L.
8528 JOSEPH CAMPAU
HAMTRAMCK, MI 48212                                  P‐0017728 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROSBY, CYNTHIA
744 1/2 FLOWER AVE
VENICE, CA 90291                                     P‐0017729 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROMO, JANET E.
4501 W. CHANNEL ISLANDS BLVD.
#35
OXNARD, CA 93035                                     P‐0017730 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEORGESON, SHIRLEY M.
9236 STANFORD DR.
BRIDGEVIEW, IL 60455                                 P‐0017731 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GURSKY, JOHN H.
GURSKY, BARBARA J.
148 GARRETT LOOP
CHEHALIS, WA 98532                                   P‐0017732 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTSPREE, MICHAEL J.
SANTSPREE, WAYLENE C.
2193 PACKERLAND DR
GREENBAY, WI 54304                                   P‐0017733 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, KIMBERLY A.
5916 EL MIO DR.
LOS ANGELES, CA                                      P‐0017734 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLINSKI, MIROSLAW J.
GOLINSKA, MAGDALENA M.
9293 REGENTS RD.
C203
LA JOLLA, CA 92037                                   P‐0017735 11/6/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
SMITH, SHERITA L.
11969 E OUTER DR
DETROIT, MI 48224                                    P‐0017736 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOLOTA, LAWRENCE M.
P.O. BOX 586
HANOVER, MD 21076                                    P‐0017737 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUANG, TERRY
1057 E. IMPERIAL HWY
SUITE 130
PLACENTIA, CA 92870                                  P‐0017738 11/6/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00



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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SCHEER, JUDITH
4401 WILSHIRE BOULEVARD
SUITE 210
LOS ANGELES, CA 90010                                P‐0017739 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REESE III, GARLAND W.
7285 ELEANOR CIRCLE
SARASOTA, FL 34243                                   P‐0017740 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAERTNER, MARCO
15815 LAVENDER RUN DR
CYPRESS, TX 77429                                    P‐0017741 11/6/2017      TK Holdings Inc., et al .                    $2,387.00                                                                                    $2,387.00
PARQUE, PHAT V.
13020 107TH ST E
PUYALLUP, WA 98374                                   P‐0017742 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LI, MINGLU
1057 E. IMPERIAL HWY
SUITE 130
PLACENTIA, CA 92870                                  P‐0017743 11/6/2017      TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
LUGOVINAS, ROSE A.
BELLA VISTA CALLE 11 G41
BAYAMON, PR 00957                                    P‐0017744 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HSIONG, WILLIAM
532 SAVONA WAY
OAK PARK, CA 91377                                   P‐0017745 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, DOUGLAS J.
JACKSON, DAWN A.
1142 170 ROAD
BELLEVILLE, KS 66935                                 P‐0017746 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALINOWSKI, RICHARD A.
2157 NE 20TH AVENUE
WILTON MANORS, FL 33305                              P‐0017747 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, JOANN
1105 N. PRAIRIE AVENUE
APARTMENT 2
KALAMAZOO, MI 49006                                  P‐0017748 11/6/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
3B ENTERPRISES, INC
4101 TAYLORSVILLE RD.
SUITE 200
LOUISVILLE, KY 40220                                 P‐0017749 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLIHER, MICHAEL D.
2896 NORTHGLEN DR
COLUMBUS, OH 43224                                   P‐0017750 11/6/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HUANG, TERRY
1057 E. IMPERIAL HWY
SUITE 130
PLACENTIA, CA 92870                                  P‐0017751 11/6/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
WALDECK, RANDY
2107 ENSENADA WAY
SAN MATEO, CA 94403                                  P‐0017752 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWLIN, MATTHEW
7872 WOODBURY RD
LAINGSBURG, MI 48848                                 P‐0017753 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, MARCELL A.
11571 WHEELER AVE
SYLMAR, CA 91342                                     P‐0017754 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SCHWEITZER, LOIS A.
SCHWEITZER, GEORGE R.
2605 CEDARHURST DR
REISTERSTOWN, MD 21136                               P‐0017755 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
3B ENTERPRISES, INC
4101 TAYLORSVILLE RD.
SUITE 200
LOUISVILE, KY 40220                                  P‐0017756 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOM, BRIAN K.
197 TOPAZ WAY
SAN FRANCISCO, CA 94131‐2535                         P‐0017757 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNETT, DOUGLAS W.
320 KENMORE AVE. NE
WARREN, OH 44483                                     P‐0017758 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYS, SEAN
P.O. BOX 990741
REDDING, CA 96099                                    P‐0017759 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLATER JR, D FRANK
610 COLCORD DRIVE
OKLAHOMA CITY, OK 73102‐2226                         P‐0017760 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALTZMAN, DAVID R.
17635 WIEDMAN WAY
EDEN PRAIRIE, MN                                     P‐0017761 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUMENT, LORI A.
40 W. FREDERICK ST.
MILLERRSVILLE, PA 17551                              P‐0017762 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, TRANG TAM T.
26715 19TH AVE SOUTH
DES MOINES, WA 98198                                 P‐0017763 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANTE, DENISSE D.
1138 S. MARIPOSA AVE. APT.1
LOS ANGELES, CA 90006                                P‐0017764 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VINCENT, JASON P.
3031 N HAMILTON AVENUE
CHICAGO, IL 60618                                    P‐0017765 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUANG, TERRY
1057 E. IMPERIAL HWY
SUITE 130
PLACENTIA, CA 92870                                  P‐0017766 11/6/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
SIPEL, HEIDI M.
104 N PERRY ST
VANDALIA, OH 45377                                   P‐0017767 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HSIONG, WILLIAM
HSIONG, MIA M.
532 SAVONA WAY
OAK PARK, CA 91377                                   P‐0017768 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASTROUSKAYA, VOLHA
12316 B 33RD AVE NE
SEATTLE, WA 98125                                    P‐0017769 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAUSE, FAITH S.
641
PALMARITO, COURT
CORAL GABLES, FLORIDA 33134                          P‐0017770 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, RAVIS M.
109 DEMPSEY DR.
LAFAYETTE, LA 70503                                  P‐0017771 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BROWER, ROBERT B.
9413 158TH ST.
OVERLAND PARK, KS 66221                              P‐0017772 11/6/2017      TK Holdings Inc., et al .                     $667.60                                                                                       $667.60
FRANSON, WAYNE E.
2690 EAST BIDWELL STREET
SUITE 100
FOLSOM, CA 95630                                     P‐0017773 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESPINOZA, JAIME
221 VALLEY OAK DR
NAPA, CA 94558                                       P‐0017774 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JANG, HONA
825 NE 115TH ST
SEATTLE, WA 98125                                    P‐0017775 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, SANDRA R.
P.O. BOX 576
BAKER, LA 70704                                      P‐0017776 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLER, ZHANNA
518 PEBBLE RIDGE CT
LANGHORNE, PA 19053‐1936                             P‐0017777 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JOANNA F.
8028 E 28TH PLACE
DENVER, CO 80238                                     P‐0017778 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABBARAJU, NANDA KISHO
8200 BENT TREE SPRINGS DR
PLANO 75025                                          P‐0017779 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWER, ROBERT B.
9413 158TH ST.
OVERLAND PARK, KS 66221                              P‐0017780 11/6/2017      TK Holdings Inc., et al .                     $667.60                                                                                       $667.60
RODARTE, MELANIE J.
10506 NW 57TH STREET
PARKVILLE, MO 64152                                  P‐0017781 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKENNA, RACHEL E.
3131 BROOKVIEW
ANCHORAGE, AK 99504                                  P‐0017782 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHINKO, LUCINDA
2103 W 245TH ST
#15
LOMITA, CA 90717                                     P‐0017783 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROMAY, ROBERT L.
ROMAY, ELLEN M.
721 5TH STREET E
SONOMA, CA 95476                                     P‐0017784 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRYVOROTOV, ANDREY
KRYVOROTOVA, OLENA
1301 STEVENSON BLVD
APT 131
FREMONT, CA 94538                                    P‐0017785 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECARLO, LORI
12 FREDERICK STREET
EAST BRUNSWICK, NJ 08816                             P‐0017786 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROYAL, ROBERT L.
ALBSRTA L R
9482 MEDINA DRIVE
SANTEE, CA 92071‐2335                                P‐0017787 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
FRANKLIN, NATE
607 AUBURN AVE
WEST MEMPHIS, AR 72301‐5101                           P‐0017788 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMPURIES, ANDREW J.
37 BLOCK
MASSAPEQUA PARK, NY 11762                             P‐0017789 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN SHERRER, ELAINE C.
SHERRER, ASHLEY R.
15 BROOKSIDE ROAD
NEPTUNE, NJ 07753‐3565                                P‐0017790 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER‐SWAIN, CHRISTOPHER
1466 TALLAC ST
NAPA, CA 94558                                        P‐0017791 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOLOMAY, KIMBERLY R.
8219 MORRELL LANE
DURHAM, NC 27713                                      P‐0017792 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEINBERG, JOEL G.
4335 GLOBE AVENUE
CULVER CITY, CA 90230                                 P‐0017793 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STONGLE, NATHAN C.
HEWITT, CYNTHIA R.
117 N. 49TH AVE
GREELEY, CO 80634                                     P‐0017794 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNAPP, EUGENE J.
1539 CARROLL STREET
WANTAGH, NY 11793                                     P‐0017795 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
APONTE MUNIZ, VICTOR L.
ESTEVES E 34
SIERRA BERDECIA
GUAYNABO, PR 00969                                    P‐0017796 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATAPANO, MICHAEL
20 LINDA DR.
MASSAPEQUA PARK, NY 11762                             P‐0017797 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROQUE‐LOPES, MARIA
2212 CREST HILL LANE
FALLBROOK, CA 92028                                   P‐0017798 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCALEER, SUSAN K.
2211 SPRUCE ST
PORT TOWNSEND, WA 98368                               P‐0017799 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLTEN, RHONDA G.
BOLTEN, JOHN F.
14032 3RD AVENUE WEST
EVERETT, WA 98208                                     P‐0017800 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLAK, ANDREW J.
5229 W. MICHIGAN AVE. LOT 18
YPSILANTI, MI 48197                                   P‐0017801 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALDRETE, ANNA M.
411 W HIGHLANDS DR
SUPERIOR, AZ 85173                                    P‐0017802 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RILEY, ROBERT L.
RILEY, CONNIE E.
6319 HILLANDALE RD
DAVENPORT, IA 52806‐1611                              P‐0017803 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LY, LING H.
729 N AVENUE 66 APT 4
LOS ANGELES, CA 90042                                 P‐0017804 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
WHITCOMB, GARY W.
3589 FAIR WINDS LANE SE
PORT ORCHARD, WA 98366                             P‐0017805 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUANG, JULIA M.
LAURA
P O BOX 4884
RANCHO CUCAMONGA, CA 91729                         P‐0017806 11/6/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
VARGAS‐PUERTA, JUAN
3515 PLEASANTDALE RD
APT. 275
ATLANTA, GA 30340                                  P‐0017807 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEREN, BRADLEY S.
17220 MALLET HILL DR
LOUISVILLE, KY 40245                               P‐0017808 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FONG, RAY H.
3016 CANYON RD.
BURLINGAME, CA 94010‐6019                          P‐0017809 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOZANO, ROBERT P.
104 CAROLINE LANE
GILROY, CA 95020                                   P‐0017810 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLF, PETER G.
3458 FORESTER ST.
DECKERVILLE, MI 48427                              P‐0017811 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HACKBART, JASON L.
2288 380TH ST
GRAFTON, IA 50440                                  P‐0017812 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTER‐BUTTRUM, CHERI A.
122 S EDISON AVE
ELGN, IL 60123                                     P‐0017813 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIORGI, KAREN
455 VISTA GRANDE
GREENBRAE, CA 94904                                P‐0017814 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IMPERATO, EUGENE G.
75 FOLSOM STREET
APT 1704
SAN FRANCISCO, CA 94105                            P‐0017815 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, DANIELLE K.
MORGAN, REGINALD C.
TERREBONNE FORD
301 MONITOR
HOUMA
TERREBONNE                                         P‐0017816 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, PAUL S.
4702 SPRING STREET
WALL TOWNSHIP, NJ 07753                            P‐0017817 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUTCHINSON, BRANDE N.
640 PECOS STREET
SPRING VALLEY, CA                                  P‐0017818 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENCIA, JOCHELYNE
VALENCIA, JOSE L.
7521 N. CLAYBECK AVE
BURBANK, C 91505                                   P‐0017819 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AQUINO, ROMINA
118 VIRGINIA ST
APT 4
EL SEGUNDO, CA 90245                               P‐0017820 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
LIPSCOMB, ARTHUR A.
35 LAWNVIEW CT
PITTSBURG, CA 94565                                   P‐0017821 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORREALE, MICHELLE C.
MORREALE, MICHELLE C.
7464 BARKER WAY
SAN DIEGO, CALIFORNIA 92119                           P‐0017822 11/6/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
DRESSEL, RONALD J.
201 LANTANA COURT
BROUSSARD, LA 70518                                   P‐0017823 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARLIN, TIFFANY
3303 E ELMONTE WAY
FRESNO, CA 93702                                      P‐0017824 11/6/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
KLICKER, KARL D.
4327 HONEY VISTA CIRCLE
TAMPA, FL 33624                                       P‐0017825 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRCOS, MARC
3965 SACRAMENTO DR
LA MESA, CA 91941                                     P‐0017826 11/6/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
TAKACS, NICK A.
5224 OIO DR
HONOLULU, HI 96821                                    P‐0017827 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETTINE, ANDREW J.
227 PALOMA AVE
SAN RAFAEL, CA 94901                                  P‐0017828 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUTHERLAND, JANAINA G.
23434 COUNTRY CLUB DR. E.
BOCA RATON, FL 33428                                  P‐0017829 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALIAN, ANOUCHAK
22283 SUMMIT VUE LANE
WOODLAND HILLS, CA 91367                              P‐0017830 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, PAUL S.
4702 SPRING STREET
WALL TOWNSHIP, NJ                                     P‐0017831 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAMAN, THERESA R.
8824 WILD DUCK COURT
ELK GROVE, CA 95624                                   P‐0017832 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRCOS, MARC
3965 SACRAMENTO DR
LA MESA, CA 91941                                     P‐0017833 11/6/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
SONG, JIANSHENG
18728 BLOOMFIELD AVE
CERRITOS, CA 90703                                    P‐0017834 11/6/2017      TK Holdings Inc., et al .                    $1,582.00                                                                                    $1,582.00
SIEGER, NORMAN I.
7322 GENESTA AVENUE
LAKE BALBOA, CA 91406                                 P‐0017835 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAZARIAN, MIRELLA A.
22283 SUMMIT VUE LANE
WOODLAND HILLS, CA 91367                              P‐0017836 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURINGER, MICHAEL S.
DURINGER, SUSAN E.
3955 NATURE TRAIL
RENO, NV 89511‐9301                                   P‐0017837 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOLE, JULIE A.
2209 NORTH POINT STREET
SAN FRANCISCO, CA 94123                               P‐0017838 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
ELLER, THOMAS
10247 6TH AVE S.W.
SEATTLE, WA 98146                                      P‐0017839 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAETZHOLD, BARBARA M.
1922 LINCOLN STREET
UNIT 1S
EVANSTON, IL 60201                                     P‐0017840 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, BARBARA S.
P.O. BOX 80585
AUSTIN, TX 78708                                       P‐0017841 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THORNTON, STEVEN P.
5123 BELLA COLLINA ST
OCEANSIDE, CA 92056                                    P‐0017842 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRCOS, MARC
3965 SACRAMENTO DR
LA MESA, CA 91941                                      P‐0017843 11/6/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
SIEGER, NORMAN I.
7233 GENESTA AVENUE
LAKE BALBOA, CA 91406                                  P‐0017844 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCRIMMON, DONALD G.
439 E 6TH AVE
ESCONDIDO, CA 92025‐4318                               P‐0017845 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBBER, NANCY
RENNIE, PEARL
296 WESTFORD ROAD
TYNGSBORO, MA 01879                                    P‐0017846 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, CASPER C.
855 N. CROFT AVE, UNIT #108
LOS ANGELES, CA 90069                                  P‐0017847 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABBEY, HEATHER L.
P. O. BOX 1042
HAWTHORNE, CA 90251                                    P‐0017848 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUEPTOW, JACOB A.
1201 PHILIPPEN ST
MANITOWOC, WI 54220                                    P‐0017849 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEATY, JACK
2400 BLACKJACK ROAD WEST
AUBREY, TX 76227                                       P‐0017850 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANGEL, MICHELE M.
4657 LOUISIANA AV N
CRYSTAL, MN 55428                                      P‐0017851 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGUIAR, FRANK F.
615 ATHERTON PLACE
HAYWARD, CA 94541                                      P‐0017852 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRCOS, MARC
3965 SACRAMENTO DR
LA MESA, CA 91941                                      P‐0017853 11/6/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
MISQUEZ, ELVA Z.
MISQUEZ, ROBERT L.
1729CR7250
LUBBOCK, TX 79423                                      P‐0017854 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIM, DONGMIN
14307 ROXBURY LAKE DR
GLENELG, MD 21737                                      P‐0017855 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
GILMORE, ROBERT
GILMORE, CLAIRE G.
P.O. BOX 216
PIERCEFIELD, NY 12974                                 P‐0017856 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENTINE, MICHAEL E.
2626 PUFFIN POINT CIRCLE
ANCHORAGE, AK 99507                                   P‐0017857 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWARK, MARY S.
LEWARK, JEFFREY S.
28 LEGEND CIRCLE
DILLON, CO 80435                                      P‐0017858 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, DENISE L.
GRAHAM, CHRISTOPHER B.
6533 NOAH CURTIS ST
SHANNON, MS 38868                                     P‐0017859 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEATY, JACK
2400 BLACKJACK ROAD WEST
AUBREY, TX 76227                                      P‐0017860 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURINGER, MICHAEL S.
DURINGER, SUSAN E.
370 MELBOURNE GLEN
ESCONDIDO, CA 92026‐8562                              P‐0017861 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWRENCE, LEROY D.
970 W RAINES RD
MEMPHIS, TN 38109                                     P‐0017862 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOCKENBERRY, JESSE L.
32 WITHEROW ST
PUNXSUTAWNEY, PA 15767                                P‐0017863 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRCOS, MARC
3965 SACRAMENTO DR
LA MESA, CA 91941                                     P‐0017864 11/6/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
FUKUMOTO, BRIAN M.
17530 MANZANITA DRIVE
MORGAN HILL, CA 95037                                 P‐0017865 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONG, STANLEY M.
431 VILLAGE GREEN CIRCLE
MURFREESBORO TN.
                                                      P‐0017866 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIEMERT, BARBARA J.
610 1ST ST S
BUFFALO, MN 55313                                     P‐0017867 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMMERS, MARYANN
HAMMERS, MARYANN
1045 CHERRY CREEK CIRCLE
WESTLAKE VILLAGE, CA 91362                            P‐0017868 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEAZELL, JEFFREY J.
FEAZELL, KERRI K.
12304 ROCHESTER AVE
#6
LOS ANGELES, CA 90025                                 P‐0017869 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRCOS, MARC
3965 SACRAMENTO DR
LA MESA, CA 91941                                     P‐0017870 11/6/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00




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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
STINESPRING, SUSAN
STINESPRING, DONALD
3329 BAY VIEW LANE
MCHENRY, IL 60051                                   P‐0017871 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAGNOLIA, NADINE
1955 MERRILL RD
KENT, OH 44240                                      P‐0017872 11/6/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
AKHTAR, MUSTANSAR J.
2720 FAIRMOUNT AVE
LA CRESCENTA, CA 91214                              P‐0017873 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONWAY, SEAN P.
4016 NORTH ASKEW AVE
N/A
KANSAS CITY, MO 64117                               P‐0017874 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTLEY, DAVID M.
907 NORTH ST
MARTINSBURG, WV 25401                               P‐0017875 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRUILHET, PERLA
1201 10TH STREET
MANHATTAN BEACH, CA 90266                           P‐0017876 11/6/2017      TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
TANGUILIG, ARNOLD P.
12 CARDINAL LN
HURRICANE, WV 25526                                 P‐0017877 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADY, TIANA O.
4215 GLENCOE AVE., #310
MARINA DEL REY, CA 90292                            P‐0017878 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAFER, RICHARD
209 PARKWOOD DR.
CRANBERRY TOWNSH, PA 16066                          P‐0017879 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUMENIK JR, JAMES
867 5TH ST
WYANDOTTE, MI 48192                                 P‐0017880 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYNCH, BRIAN D.
LYNCH, CHRISTINA A.
4717 W BAY VIEW AVE
TAMPA, FL 33611                                     P‐0017881 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALLACE, FREDERICK D.
5100 RIDGEWOOD ROAD
WILLITS, CA 95490‐7751                              P‐0017882 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEEKLY, KEVIN C.
187 WILDERNESS POINT
EVANSTON, WY 82930                                  P‐0017883 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAMER, REBECCA
51 STONY RUN
NEW ROCHELLE, NY 10804                              P‐0017884 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIGGS, SHAWN M.
RIGGS, ADRIANNE R.
910 HALEY CT
OREGON CITY, OR 97045                               P‐0017885 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMLIN, JOHN C.
6356 BENNER COURT
PLEASANTON, CA 94588                                P‐0017886 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILERIS, JOHN
347 GROVE ST
RANDOLPH, MA 02368                                  P‐0017887 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
BRIDGEN, TODD J.
966 TERRA BELLA AVENUE
SAN JOSE, CA 95125‐2655                                P‐0017888 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAN, DUNG D.
NO ADDRESS PROVIDED
                                                       P‐0017889 11/6/2017      TK Holdings Inc., et al .                     $450.00                                                                                       $450.00
ABDELRAHMAN, SADEK
SADEK ABDELRAHMAN
601 W 1ST ST #12
NEWBERG, OR 97132                                      P‐0017890 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TSCHAKERT, NORBERT
43 SANDERSON AVE
LYNN, MA 01902                                         P‐0017891 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHOELLHAMER, DAVID H.
KUIVILA, KATHRYN M.
1531 SE TENINO STREET
PORTLAND, OR 97202                                     P‐0017892 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUCKS, JERRY D.
1085 GOLDENEYE VIEW
CARLSBAD, CA 92011                                     P‐0017893 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHINZATO, VERONICA T.
482 44TH AVENUE
SAN FRANCISCO, CA 94121                                P‐0017894 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANLEY, TARNIA S.
530 W MESA AVE
RIALTO, CA 92376                                       P‐0017895 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTER, JOHN
20834 32ND LN. S. APT C
SEATAC, WA 98198                                       P‐0017896 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADRID, CHRISTINA
1908 S. TUXEDO AVE
STOCKTON, CA 95204                                     P‐0017897 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REBOLORIO SOLIZ, RAUL A.
5230 SOUTHALL LANE
APT B
BELL, CA 90201                                         P‐0017898 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEARLES, AMANDA
5365 MCKINLEY WAY
FELTON, CA 95018                                       P‐0017899 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMP, BRANDIE L.
9920 DEER CREEK STREET
HIGHLANDS RANCH, CO 80129                              P‐0017900 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, ROBERT T.
24 OLDE COACH RD
NORTH READING, MA 01864                                P‐0017901 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DHALIWAL, ROCKY S.
32108 ALVARADO BLVD. # 198
UNION CITY, CA 94587                                   P‐0017902 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, JAMES A.
SMITH, REBECCA J.
920 LANTANA COURT
SAN MARCOS, CA 92069                                   P‐0017903 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, GWENDOLEN
3175 MILLS CREEK CIR. APT 810
SCOTTDALE, GA                                          P‐0017904 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RAMIREZ, EDDIE
2604
W. GARLAND AVE.
SPOKANE, WA 99205                                    P‐0017905 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUMMA, MONTGOMERY E.
147‐27 11 AVENUE
WHITESTONE, NY 11357                                 P‐0017906 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, SYDNEY V.
1400 BARTON ROAD #2616
REDLANDS, CA 92373                                   P‐0017907 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMLIN, JOHN C.
6356 BENNER COURT
PLEASANTON, CA 94588                                 P‐0017908 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIN, ASHLEY
620 SUMNER ST
SANTA CRUZ, CA 95062                                 P‐0017909 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUANG, JULIA M.
LAURA
P O BOX 4884
RANCHO CUCAMONGA, CA 91729                           P‐0017910 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANISKO, STANLEY R.
964 VINTAGE CT
RIO VISTA, CA 94571                                  P‐0017911 11/6/2017      TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
DOUBEK, JOHN C.
810 SW 168TH PL.
NORMANDY PARK, WA 98166                              P‐0017912 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKELVY, MICHELLE M.
13286 LAKE SHORE DR NW
POULSBO, WA 98370‐8125                               P‐0017913 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERKEN, NICHOLAS M.
2539 WEST BLVD
LOS ANGELES, CA 90016                                P‐0017914 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUMMA, MONTGOMERY E.
147‐27 11 AVENUE
WHITESTONE, NY 11357                                 P‐0017915 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORCHE, JEANNETTE L.
3676 S MINGES RD
BATTLE CREEK, MI 49015                               P‐0017916 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN LANDUYT, LARRY
VAN LANDUYT, JUDY M.
6159 GREENWOOD DRIVE
PARADISE, CA 95969                                   P‐0017917 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUANG, JULIA M.
NO ADDRESS PROVIDED
                                                     P‐0017918 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRACH, ERIC
1616 12TH AVENUE
LOS ANGELES, CA 90019                                P‐0017919 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANSBURY, ANITA J.
3319 POLARIS DR.
SACRAMENTO, CA 95827                                 P‐0017920 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, ARLEN J.
405 ULUMALU RD
HAIKU, HI 96708                                      P‐0017921 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GRIMES, ROBERT E.
5517 TOWHEE WAY
SACRAMENTO, CA 95842                                P‐0017922 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SATARZADEH, BENTRISH
MARANO, CECILIA M.
BENTRISH SATARZADEH MARANO
1112 ROSEWOOD WAY
ALAMEDA, CA 94501                                   P‐0017923 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBER, STEFANIE
2090 QUARTZ WAY, REDDING, CA
REDDING, CA 96001‐2928                              P‐0017924 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSEN, ALEXANDRA N.
636 CEREZO DRIVE
LEANDER, TX 78641                                   P‐0017925 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCMANN, MARY BETH K.
537 WESTGATE DR
NAPA, CA 94558                                      P‐0017926 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEAL‐LEACH, VICKIE J.
833 LOWER CHESTER ROAD
CHARLESTON, WV 25302                                P‐0017927 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIGGS, PAULA R.
GRIGGS, CHARLES E.
35745 MILLERD HOMESTEAD ROAD
COARSEGOLD, CA 93614                                P‐0017928 11/6/2017      TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
CROSTON, JAMES R.
8003 CARIBOU LAKE LANE
CLARKSTON, MI 48346                                 P‐0017929 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUSTICE, MARCIA A.
5831 DATE AVE
RIALTO, CA 92377                                    P‐0017930 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTENSEN, BRADLEY P.
9820 DEERBROOK DRIVE
CHANHASSEN, MN 55317                                P‐0017931 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATAPANO, MICHAEL
20 LINDA DR.
MASSAPEQUA PARK, NY 11762                           P‐0017932 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSICO, JOHN R.
FLORA
12477 W. 83RD. DR.
ARVADA, CO 80005                                    P‐0017933 11/6/2017      TK Holdings Inc., et al .                     $201.56                                                                                       $201.56
TURNER, JANE A.
26985 TIMBERLINE TERRACE
VALENCIA, CA 91381                                  P‐0017934 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MA, MIN
130 SAN FELIPE AVE
SAN FRANCISCO, CA 94127                             P‐0017935 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOKS, GLORIA J.
322 EASTON GREY LOOP
CARY, NC 27519                                      P‐0017936 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEUNG, TONY H.
112 DENSLOWE DRIVE
SAN FRANCISCO, CA 94132                             P‐0017937 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIORDANI, ANTHONY G.
112 4TH ST
NAZARETH, PA 18064                                  P‐0017938 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SAMANT, MANOJ R.
SAMANT, RADHIKA M.
6483 BIRCH GROVE COURT
MCLEAN, VA 22101‐5200                                P‐0017939 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRASER, JANE W.
210 LAUREL DR.
SEDRO‐WOOLLEY, WA 98284                              P‐0017940 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYANT, LISA A.
4017 RT CC
#26
JEFFERSON CITY                                       P‐0017941 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, MARGARET
7463 CHURCH HILL RD
HOLLYWOOD, SC 29449                                  P‐0017942 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRELSON, JARETT
HARRELSON, JARETT
104 CRESTON CT
LEXINGTON, SC 29072‐7191                             P‐0017943 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARKIN, CAROLYN S.
1113 WINDSOR DR.
SHOREWOOD, IL 60404‐9132                             P‐0017944 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOLBERT, MARSHALL
2205 CHASE POINTE CT.
FLUSHING, MI 48433‐2283                              P‐0017945 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUTSCHENREUTER, JEANETTE C.
2102 17TH ST. S.
LA CROSSE, WI 54601‐6701                             P‐0017946 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEMING, SUSANA D.
800 E. ASH LANE, #3412
EULESS, TX 76039                                     P‐0017947 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEARMAN, ALASTAIR
1308 HAVENHURST DR APT 8
WEST HOLLYWOOD, CA 90046                             P‐0017948 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUJII, DUANE
91‐2048 LAAKONA PLACE
EWA BEACH, HI 96706                                  P‐0017949 11/6/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
COSGROVE, ANN
P.O. BOX 659
HAWLEY, PA 18428                                     P‐0017950 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BHATIA, NITIN
18100 NE, 95TH STREET
APT # TT2096
REDMOND, WA 98052                                    P‐0017951 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAN, RONALD P.
22 AMETHYST WAY
SAN FRANCISCO, CA 94131                              P‐0017952 11/6/2017      TK Holdings Inc., et al .                     $800.00                                                                                       $800.00
NUNAMACHER, FRANK A.
66 OAK LN
NORTHAMPTON, PA 18067                                P‐0017953 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VRAGAZIS, TCAHIT
2934 OLEY TURN PIKE RD
READING, PA 19606                                    P‐0017954 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUERAM, STEPHEN L.
2204 POTTER DOWNS DR
WAXHAW, NC 28173                                     P‐0017955 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
LEWIS, DANIEL J.
340 VIA COCHES
SAN LORENZO, CA 94580                              P‐0017956 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIDGE, BRIANNE A.
4126 MANZANITA DRIVE
SAN DIEGO, CA 92105                                P‐0017957 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANATANI, KIRK W.
17031 ABITA AVE
PRAIRIEVILLE, LA 70769                             P‐0017958 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNS, NOAH
22 BOXWOOD LANE #12
FAIRPORT, NY 14450                                 P‐0017959 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUNG, BRITT E.
4014 JEFFERSON ST
HYATTSVILLE, MD 20781                              P‐0017960 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAVARRETE, PEDRO
1910 HOREB AVE
ZION, IL 60099                                     P‐0017961 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KREUSER, JAMES A.
750 INCA ST
DENVER, CO 80204                                   P‐0017962 11/6/2017      TK Holdings Inc., et al .                     $600.00                                                                                       $600.00
HERRING, YANCY S.
7390 PINDO CIR APT 238
BEAUMONT, TX 77708                                 P‐0017963 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RADONA, SHEENA FAYE A.
615 S. SIENA STREET
SAN DIEGO, CA 92114                                P‐0017964 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, JAMES R.
KING, ANNE
1105 196 TH PLACE
LONG BEACH, WA 98631                               P‐0017965 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLSON, DARLA A.
COLSON, JAMES B.
751 STONEMILL DRIVE
FOLSOM
CA, CA 95630                                       P‐0017966 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DELORES A.
SELCO
448 SW SURF ST. APT J
NEWPORT, OR 97365                                  P‐0017967 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DYER, KARI L.
1313 GILLPEPPER LN
ROHNERT PARK, CA 94928                             P‐0017968 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGUIRRE, JOSE L.
1361 HIDDEN SPRINGS PL
CHULA VISTA, CA 91915                              P‐0017969 11/6/2017      TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
SMITH, TERRY
SMITH, TAMMY
219 CURTIS CROSSROADS
HENDERSONVILLE, TN 37075                           P‐0017970 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBSON, BRITTINY L.
2972 CHURCH RD
AURORA, IL 60502                                   P‐0017971 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUEVANOS, ANDREW E.
11836 WORCESTER DR.
RANCHO CUCAMONGA, CA 91730                         P‐0017972 11/6/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
NICKELL, MICHAEL D.
665 BELL STREET
P O BOX 175
MT. ZION, IL 62549                                   P‐0017973 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMSKI, DESIREE L.
2953 TAYLOR ST NE
MINNEAPOLIS, MN 55418                                P‐0017974 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNS, NOAH
22 BOXWOOD LANE #12
FAIRPORT, NY 14450                                   P‐0017975 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MA, ANNIE
924 ROSE BLOSSOM DRIVE
CUPERTINO, CA 95014                                  P‐0017976 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARMAND, NAFISA
9829 TREYMORE DRIVE
RALEIGH, NC 27617                                    P‐0017977 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNKIN, CHRISTINE
59 WOODWAY ROAD
UNIT 7
STAMFORD, CT 06907                                   P‐0017978 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KREUSER, JAMES A.
750 INCA ST
DENVER, CO 80204                                     P‐0017979 11/6/2017      TK Holdings Inc., et al .                     $600.00                                                                                       $600.00
WILLIAMS, PATRICK E.
15652 CRYSTAL DOWNS E
NORTHVILLE, MI 48168                                 P‐0017980 11/6/2017      TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
AZEEZ, AMNOT T.
16731 BEECHNUT ST #304
HOUSTON, TX 77083                                    P‐0017981 11/6/2017      TK Holdings Inc., et al .                   $22,000.00                                                                                   $22,000.00
CHISHOLM, RICHARD F.
CHISHOLM, JOAN M.
6 ALHAMBRA ROAD
WEST ROXBURY, MA 02132‐1816                          P‐0017982 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBSON, WILLIAM C.
2972 CHURCH RD
AURORA, IL 60502                                     P‐0017983 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KREUSER, JAMES A.
750 INCA ST
DENVER, CO 80204                                     P‐0017984 11/6/2017      TK Holdings Inc., et al .                     $600.00                                                                                       $600.00
SWANSON, J BRADLEY
2596 CHAIN BRIDGE RD
VIENNA, VA 22181                                     P‐0017985 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWE, GARRETT A.
7030 LAZY CT SW
OLYMPIA, WA 98512                                    P‐0017986 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARMAND, GINA
9829 TREYMORE DRIVE
RALEIGH, NC 27617                                    P‐0017987 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAUFFMAN, DONALD C.
KAUFFMAN, JOANNE A.
8457 SAND CHERRY LANE
LAUREL, MD 20723‐1094                                P‐0017988 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRICE, LAVON
BRICE, ANTONUAL
13606 CERISE AVE APT 16
HAWTHORNE, CA 90250                                  P‐0017989 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RIGAS, CARMILINA M.
1412 HILL STREET
SANTA MONICA, CA 90405                               P‐0017990 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, CHARLES D.
177 MAGNOLIA CIRCLE
TROY, VA 22974                                       P‐0017991 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANLEY, MICHAEL A.
6687 W BENT GRASS LANE
RATHDRUM, ID 83858                                   P‐0017992 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSON, JAMES W.
5205 WYOMING RD
BETHESDA, MD 20816                                   P‐0017993 11/6/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
WARREN, DAVID P.
WARREN, LINDA M.
32 DAKELAND RD
ROCHESTER, NY 14617                                  P‐0017994 11/6/2017      TK Holdings Inc., et al .                       $82.80                                                                                       $82.80
MANLEY, MICHAEL A.
6687 W BENT GRASS LANE
RATHDRUM, ID 83858                                   P‐0017995 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRYFON, TOD N.
3204 SOUTH 9TH ST
TACOMA, WA 98405                                     P‐0017996 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REID, SHARRI T.
435 OWATONNA CIR
RIVERDALE                                            P‐0017997 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JOHN J.
JOHNSON, MARSHA A.
129 HARV LOOP
MONTEREY, TN 38574                                   P‐0017998 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAIR, LYNDA J.
ADAIR, JOHN L.
457 SW 5TH AVE
CANBY, OR 97013                                      P‐0017999 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LASH, DAVID M.
714 REYNOLDS LANE
REDONDO BEACH, CA 90278                              P‐0018000 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAUFFMAN, DONALD C.
KAUFFMAN, JOANNE A.
8457 SAND CHERRY LANE
LAUREL, MD 20723‐1094                                P‐0018001 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLIS, CHRISTOPHER J.
53 GLENVIEW DRIVE
SAN FRANCISCO, CA 94131                              P‐0018002 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAY, MICHAEL S.
4836 E LEMON TREE ST
SPRINGFIELD, MO                                      P‐0018003 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, KEVIN J.
ROBERTS, SUSAN M.
7344 BLOOMINGTON AVE
RICHFIELD, MN 55423‐3414                             P‐0018004 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOTTAVIO, SHERI A.
5510B BURK AVE
VENTNOR, NJ 08406                                    P‐0018005 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DARLING, DAMON
1437 HENSHAW ROAD
OCEANSIDE, CA 92056                                  P‐0018006 11/6/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
RIGAS, CARMILINA M.
RIGAS, CARMILINA
1412 HILL STREET
SANTA MONICA, CA 90405                              P‐0018007 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GWYN, CHRISTOPHER D.
10013 3RD AVE SW
SEATTLE, WA 98146‐3804                              P‐0018008 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATE, STEPHEN J.
15403 S GALLERY ST
OLATHE, KS 66062                                    P‐0018009 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTMAN, WILLIAM F.
4054 CARMEL BROOKS WAY
SAN DIEGO, CA 92130                                 P‐0018010 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTMAN, WILLIAM F.
4054 CARMEL BROOKS WAY
SAN DIEGO, CA 92130                                 P‐0018011 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAUDIERI, JEFFREY S.
5055 DONOVAN STREET
FRANKLIN, TN 37064                                  P‐0018012 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORMAN, ALAN
22 SARAH COURT
MOUNT LAUREL, NJ 08054                              P‐0018013 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBB, WILLIAM C.
9969 BOX ROAD
SEMMES, AL 36575                                    P‐0018014 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEFORCE, DONALD W.
LEFORCE, CAROL A.
20 TUCKER AVE
OROVILLE, CA 95966                                  P‐0018015 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, JALEA K.
CARPENTER, TAMMY S.
320 CARL VINSON PARKWAY 615
WARNER ROBINS, GA 31088                             P‐0018016 11/6/2017      TK Holdings Inc., et al .                    $7,488.00                                                                                    $7,488.00
ALVAREZ, HOMILYS
3410 OLD ORCHARD RD
APT A
HARRISBURG, PA 17109                                P‐0018017 11/6/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
ATTAR, MEHDI
SHISHEHGAR, NASRIN
7322 BELPINE PL
RANCHO CUCAMONGA, CA 91730                          P‐0018018 11/6/2017      TK Holdings Inc., et al .                   $40,000.00                                                                                   $40,000.00
UGRIN, SCOTT A.
249 YORKTOWN CT
MALVERN, PA 19355                                   P‐0018019 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRYE, JOSEPH
6448 WATERS EDGE CIR
BESSEMER, AL 35022                                  P‐0018020 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBB, WILLIAM C.
9969 BOX ROAD
SEMMES, AL 36575                                    P‐0018021 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, TONG
4 MALLARDS LNDG N
WATERFORD, NY 12188                                 P‐0018022 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRANE, JOSHUA L.
5595 YELLOWSTONE TRAIL
EXCELSIOR, MN 55331                                 P‐0018023 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TRAN, DUNG D.
4353 MYRTLE AVE
SACRAMENTO, CA 95841                                 P‐0018024 11/6/2017      TK Holdings Inc., et al .                     $450.00                                                                                       $450.00
RADFORD, CARNISHA R.
502 LINDA LANE
CLARKSVILLE, TN 37042                                P‐0018025 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, JEFFERY
3931 WESTSIDE AVENUE
LOS ANGELES, CA 90008                                P‐0018026 11/6/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
LUCHT, GARY C.
325 KEMPTON STREET APT 769
SPRING VALLEY, CA 91977                              P‐0018027 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEDLIN, KATHLEEN
6660 CURLEW TERRACE
CARLSBAD, CA 92011                                   P‐0018028 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARSOTTI, RICHARD G.
1500 KINGSWOOD DR
ROSEVILLE, CA 95678                                  P‐0018029 11/6/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
REGLI, WILLIAM C.
756 EAST PASSYUNK AVE
PHILADELPHIA, PA 19147                               P‐0018030 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, SHELLIE M.
ADAMS, DANIEL A.
2245 BRIGGS ST.
WATERFORD, MI 48329                                  P‐0018031 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADSEN, STEPHEN H.
639 GEORGIA AVE
PALO ALTO, CA 94306                                  P‐0018032 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALE, DAVID A.
8710 W. HILLSBOROUGH AVE.
SUITE 302
TAMPA, FL 33615                                      P‐0018033 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKETT, CHALAYNE W.
BURKETT, KENNETH E.
226 GREGORY ST
GREENVILLE, MS 38701‐7619                            P‐0018034 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUITERT, ERIK J.
8205 HALLETT COURT
FORT COLLINS, CO 80528                               P‐0018035 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALE, DAVID A.
8710 W. HILLSBOROUGH AVE.
#302
TAMPA, FL 33615                                      P‐0018036 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURWITZ, DEBORAH N.
8512 TUSCANY AVE
APT 208
PLAYA DEL REY, CA 90293                              P‐0018037 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DELORES A.
SELCO
448 SW SURF ST. APT J
NEWPORT, OR 97365                                    P‐0018038 11/6/2017      TK Holdings Inc., et al .                       $20.00                                                                                       $20.00
FREDERICKSON, TONJA L.
4491 S CAMP MOHAVE CIR
FORT MOHAVE, AZ 86426                                P‐0018039 11/6/2017      TK Holdings Inc., et al .                   $21,000.00                                                                                   $21,000.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
XU, SHANSHAN
5154 WALLER AVE
FREMONT, CA 94536                                    P‐0018040 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STECKLEY, BROOKE D.
416 W. ARLINGTON ST.
GLADSTONE, OR 97027                                  P‐0018041 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIELS, SHALONDA
P.O.BOX 159
1145 WEST 8TH ST
SALINE, LA 71070                                     P‐0018042 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, PAUL W.
127 PHILLIPS PLACE
ROYAL OAK, MI 48067‐2730                             P‐0018043 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERRY, WILLIAM E.
21610 EDWARD WAY
CUPERTINO, CA 95014                                  P‐0018044 11/6/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
ROHAN, DONALD J.
38 VILLAGER RD
CHESTER, NH 03036                                    P‐0018045 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRUEGER, STEVEN M.
KRUEGER, LISA R.
1024 DODGE STREET #403
OMAHA, NE 68102                                      P‐0018046 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LULLO, ANTHONY J.
LULLO, GAIL A.
8024 HIGHFIELD CT
TINLEY PARK, IL 60487                                P‐0018047 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVES MORAN, JOHANNA
28 HAMPTON AVE
YONKERS, NY 10710                                    P‐0018048 11/6/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
DUCOTE, RANDALL C.
DUCOTE, ELISE M.
39217 SUPERIOR WOOD AVE
GONZALES, LA 70737                                   P‐0018049 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALMAN, DEBRA K.
ALMAN, MICHAEL L.
510 S 4TH ST
MARSHALLTOWN, IA 50158                               P‐0018050 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOND, WENDELL M.
232 LINCOLN COURT
STOCKTON, CA 95207                                   P‐0018051 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELYAEVA, NATALIA G.
1047 FIVE COVES TRACE
GALLATIN, TN 37066                                   P‐0018052 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, FRETITIA L.
6222 E. WILLOW BLUFF RD
KATY, TX 77449                                       P‐0018053 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CITIZEN, JR, JESSE J.
18020 DUNES COURT
SOUTHBRIDGE, VA 22026‐4562                           P‐0018054 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINDBLOOM, ISAAC D.
LIAO, JUI‐CHI
303 MURIEL ST
ITHACA, NY 14850                                     P‐0018055 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ALVES MORAN, JOHANNA
28 HAMPTON AVE
YONKERS, NY 10710                                     P‐0018056 11/6/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
MCKILLIP, BRITTANY L.
MCKILLIP, DOUGLAS M.
1212 EMMET ST
APT A
PETOSKEY, MI 49770                                    P‐0018057 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JASPAN, HERBERT E.
38 MIRRIELEES CIRCLE
GREAT NECK, NY 11021                                  P‐0018058 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, MONICA L.
HALL, STEVEN M.
613 S. 65TH ST.
MILWAUKEE, WI 53214                                   P‐0018059 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, MICHAEL J.
9019 HARGIS STREET
LOS ANGELES, CA 90034                                 P‐0018060 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOWAK, DARWIN A.
2314 VALLEY VIEW DRIVE
ALLEGANY, NY 14706                                    P‐0018061 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUHN, KRISTIAN J.
9808 NE 148TH ST
BRUSH PRAIRIE, WA 98606                               P‐0018062 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLIS, KIMBALL L.
WALLIS, JOANNE K.
P.O. BOX 249
ST PAUL, OR 97137                                     P‐0018063 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POMMERANZ, JULIE R.
4430 BRITTANY ROAD
OTTAWA HILLS, OH 43615                                P‐0018064 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, CASI S.
8000 E 12 AVE
APT 14‐C6
DENVER, CO 80220                                      P‐0018065 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEEN, THOMAS O.
1900 S OCEAN DR
APT 411
FORT LAUDERDALE, FL 33316‐3724                        P‐0018066 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN PATTEN, DAVID P.
VAN PATTEN, LAURETTE J.
2819 E INTERLAKEN BLVD
SEATTLE, WA 98112                                     P‐0018067 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, SHERRI A.
209 WEST FERNER STREET
MARSHALLTOWN, IA 50158                                P‐0018068 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, FRETITIA L.
6222 E. WILLOW BLUFF RD
KATY, TX 77449                                        P‐0018069 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAMANT, MANOJ R.
SAMANT, RADHIKA M.
6483 BIRCH GROVE COURT
MCLEAN, VA 22101‐5200                                 P‐0018070 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCLEOD, BRYAN J.
3205 NANCE ST
NEWBERRY, SC 29108‐1401                               P‐0018071 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
STEWART, HEATHER D.
6805 LOUISE LANE
CLINTON, MD 20735                                    P‐0018072 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLIGAN‐STIERLE, PAMELA J.
5750 SWAMP CIRCLE RD
DEALE, MD 20751                                      P‐0018073 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, THOMAS E.
1068 SIBBIE ROAD
ABBEVILLE, GA 31001                                  P‐0018074 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWMAN, PATRICIA J.
3736 S US 321 HWY
MAIDEN, NC 28650                                     P‐0018075 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAYBORN, VICKI
765 E 900 S
SALT LAKE CITY, UT 84105                             P‐0018076 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOUT, RICHARD A.
STOUT, KATHLEEN A.
18160 COTTONWOOD RD.
NO. 273
SUNRIVER, OR 97707                                   P‐0018077 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORTEZ, JOSE A.
78 STONEYFORD AVENUE
SAN FRANCISCO, CA 94112                              P‐0018078 11/6/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
BALZA, CORY
34636 SNOW ST
ST HELENS, OR 97051                                  P‐0018079 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVILAN, ELVIRA A.
2234 W. DAKOTA AVE
#128
FRESNO, CA 93705                                     P‐0018080 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMMETT, DORIS C.
265 PEACHTREE ROAD
BOILING SPRINGS
SPARTANBURG, SC 29316                                P‐0018081 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN INGEN, JEAN M.
6707 FURNACE ROAD
ONTARIO, NY 14519                                    P‐0018082 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNOLDS, LEONA A.
140 CUTLER AVE
CORNING, NY 14830                                    P‐0018083 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EXTER, BRONWEN
331 RACHEL CARSON TRAIL
ITHACA, NY 14850                                     P‐0018084 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACK, RONALD F.
29369 BEACH DR NE
POULSBO, WA 98370                                    P‐0018085 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANIPE, GLADYS E.
CANIPE, ALVIN T.
6736 STATE HIGHWAY 80 SOUTH
BURNSVILLE, NC 28714                                 P‐0018086 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINTANA, SANTIAGO
14054 VALLEY FORGE CT
FONTANA, CA 92336                                    P‐0018087 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAHLY, KENDALL D.
26 OLD WOOD RD.
POMONA, CA 91766                                     P‐0018088 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
                                                                                           Page 1409 of 3875
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BLALOCK, CLIFFORD C.
3518 FREMONT AVENUE NORTH
UNIT 186
SEATTLE, WA 98103                                     P‐0018089 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOI, YONG C.
530 S. MANHATTAN PL. #207
LOS ANGELES, CA 90020                                 P‐0018090 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHEL, FRANTY
2870 BLAIRSTONE CT
TALLAHASSEE, FL 32301                                 P‐0018091 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEEDE, PHILIP A.
1616 W OLIVE AVE
REDLANDS, CA 92373                                    P‐0018092 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LU, LINCHAO
7685 CAMBRIDGE ST
#7685
HOUSTON, TX 77054                                     P‐0018093 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHATZLE, KRISTINA R.
SCHATZLE, MICHAEL J.
10565 GAYLEMONT LANE
SAN DIEGO, CA 92130                                   P‐0018094 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEENSON, RIVER C.
STEENSON, LISA K.
1315 STONEHAVEN DR.
WEST LINN, OR 97068                                   P‐0018095 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEEDE, PHILIP A.
1616 W OLIVE AVE
REDLANDS, CA 92373                                    P‐0018096 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARVAYO, NICOLETTE C.
560 N 6TH ST
APT 318
SAN JOSE, CA 95112                                    P‐0018097 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSSI, BENJAMIN A.
24 BRIGHTON ST
APT 3
ROCHESTER, NY 14607                                   P‐0018098 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAUGEN, MARY J.
28860 DEODAR PL
SANTA CLARITA, CA 91390‐4147                          P‐0018099 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDEN, STEPHAINE K.
P O BOX 454
MONTGOMERY, TX 77356                                  P‐0018100 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'HERON, JOSEPH M.
12830 BONAPARTE AVE.
LOS ANGELES, CA 90066                                 P‐0018101 11/6/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
MCGINNIS, HARRY
MCGINNIS, LISA
103 MORNINGSIDE CIRCLE
CHALFONT, PA 18914                                    P‐0018102 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOZAJIAN, JOHN P.
BOZAJIAN, LAUREEN G.
13920 CALIFA ST.
VALLEY GLEN, CA 91401                                 P‐0018103 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUGWELL‐CORE, AARON M.
406 ALDER AVE
SUMNER, WA 98390                                      P‐0018104 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TIEN, DEBORAH
3742 RED HAWK CT
SIMI VALLEY, CA 93063                                P‐0018105 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRINGTON‐TREBA, ALLISON M.
308 BARBARA DRIVE
POINT PLEASANT, NJ 08742                             P‐0018106 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, DONALD H.
POB 60087
FORT WORTH, TX 76115                                 P‐0018107 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLPER, ROBERT W.
3302 VICTORIA DR
MOUNT KISCO, NY 10549                                P‐0018108 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, GARY D.
301 TIMBER RIDGE TRL
ALABASTER, AL 35007                                  P‐0018109 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAFFIN, EMILY J.
606 E SANTA ANITA AVE UNIT D
BURBANK, CA 91501                                    P‐0018110 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, JASMINE J.
190 S HIGHPOINT DR APT 204
ROMEOVILLE, IL 60446                                 P‐0018111 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLL, ROBBIE J.
711 DAKOTA CT
DRAYTON, ND 58225‐4708                               P‐0018112 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINTANA, ROY J.
17617 LIVE OAK STREET
HESPERIA, CA 92345                                   P‐0018113 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MESSINEO, NICHOLAS P.
MESSINEO, CAREY A.
331 CLIFTON AVE
ARNOLD, MD 21012                                     P‐0018114 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPMAN, JESSICA D.
5381 MUIRWOOD PLACE
POWDER SPRINGS, GA 30127                             P‐0018115 11/6/2017      TK Holdings Inc., et al .                   $67,500.00                                                                                   $67,500.00
MASON, CARLIENNE J.
13914 E. BOONE AVE.
SPOKANE VALLEY, WA 99216                             P‐0018116 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARRY, NATHANIEL
7182 MAGNOLIA PL
FONTANA, CA 92336                                    P‐0018117 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATERMAN, SUSAN
680 EAST 78TH STREET
BROOKLYN, NY 11236                                   P‐0018118 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUDINA, CHUCK H.
P.O. BOX 774
BOLINAS, CA 94924                                    P‐0018119 11/6/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
SEO, BORAM S.
3240 SAWTELLE BLVD.
APT 203
LOS ANGELES, CA 90066                                P‐0018120 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGHEE, LEONARD
1811 S GENESEE AVE
LOS ANGELES, CA 90019                                P‐0018121 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIEVES, CARMEN
3136 TRAFALGAR ROAD
FREMONT, CA 94555                                    P‐0018122 11/6/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ROSS, PATRICK F.
3027 W FULLERTON AVE
APT 1F
CHICAGO, IL 60647                                    P‐0018123 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAXTER, LAKECIA S.
101 BULLOCK STREET
COLUMBIA, TN 38401                                   P‐0018124 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUHAMMAD, SHANIQUA M.
129 N 180TH STREET
SHORELINE, WA 98133                                  P‐0018125 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPMAN, JESSICA D.
5381 MUIRWOOD PLACE
POWDER SPRINGS, GA 30127                             P‐0018126 11/6/2017      TK Holdings Inc., et al .                   $67,200.00                                                                                   $67,200.00
STJOHN, JOEL A.
5016 LINCOLN OAKS DR N
APT 713
FORT WORTH, TX 76132                                 P‐0018127 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONETTE, MICHELLE M.
623 SERENA LANE
SAN DIEGO, CA 92154                                  P‐0018128 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRINDE, JILL D.
904 197TH STREET CT E
SPANAWAY, WA 98387                                   P‐0018129 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHARPS, WILLIAM S.
931 ETNA DR.
NEWPORT NEWS
NEWPORT NEWS, VA 23608                               P‐0018130 11/6/2017      TK Holdings Inc., et al .                     $360.00                                                                                       $360.00
DUNCH, LIAM S.
DUNCH, ANNIE
1S550 IL RTE 53
GLEN ELLYN, IL 60137                                 P‐0018131 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DELORES A.
SELCO
448 SW SURF ST APT J
NEWPORT, OR 97365                                    P‐0018132 11/6/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
QUADRI, SYED M.
20 NICKERSON ROAD
LEXINGTON, MA 02421                                  P‐0018133 11/6/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
BUSTOS, JUAN J.
1445 N 28TH STREET
MILWAUKEE, WI 53208                                  P‐0018134 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMPE, JEROME L.
LAMPE, MARGARET A.
3396 GREENVALLEY TER
CINCINNATI, OH 45239‐7128                            P‐0018135 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, PAMELA
900 BAYCHESTER AVENUE, #2J
BRONX, NY 10475                                      P‐0018136 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOMINGUEZ, ROBERT D.
100 CAMPO VISTA DR
SANTA BARBARA, CA 93111                              P‐0018137 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHAM, LANCE ANH V.
4711 CALLE ESTRELLA
OCEANSIDE, CA 92057                                  P‐0018138 11/6/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LIU, JIANG
WANG, YUE
15007 HARTSOOK ST
SHERMAN OAKS, CA 91403                               P‐0018139 11/6/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
YOUNG, JAMES P.
2048 OCEAN VIEW BLVD
SAN DIEGO, CA 92113                                  P‐0018140 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, ANDRES
14811 SYLVAN ST APT#6
VAN NUYS, CA 91411                                   P‐0018141 11/6/2017      TK Holdings Inc., et al .                   $17,743.76                                                                                   $17,743.76
HARRIS, CHRISTOPHER J.
14543 31ST AVE NE
SHORELINE, WA 98155                                  P‐0018142 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONDON, LINDSEY M.
626 W 21ST ST
APT 2
SAN PEDRO, CA 90731                                  P‐0018143 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, RYAN C.
RYAN SMITH
13217 IRELAND LANE
SAN DIEGO, CA 92129                                  P‐0018144 11/6/2017      TK Holdings Inc., et al .                    $1,245.00                                                                                    $1,245.00
JIMENEZ, CARINA
1039 W 23RD ST. APT.201
LOS ANGELES, CA 90007                                P‐0018145 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHAM, LANCE ANH V.
4711 CALLE ESTRELLA
OCEANSIDE, CA 92057                                  P‐0018146 11/6/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
ELIAS, JOSE R.
ELIAS, YADIRA A.
230 W HARRIET ST
ALTADENA, CA 91001                                   P‐0018147 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN VELAZQUEZ, CHARLOTTE F.
VELAZQUEZ, AUGUST R.
4155 N LA LINDA RAMA
TUCSON, AZ 85718                                     P‐0018148 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRASSE, JOHN L.
6105 HERON BAY LANE
MCKINNEY, TX 75070                                   P‐0018149 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASSON, MATT
450 EAST STRAWBERRY DRIVE #45
MILL VALLEY, CA 94941                                P‐0018150 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAPOPORT, NANCY D.
4260 FLORENCE STREET
SIMI VALLEY, CA 93063                                P‐0018151 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELIAS, JOSE R.
ELIAS, YADIRA A.
BMW
230 W HARRIET ST
ALTADENA, CA 91001                                   P‐0018152 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, THOA
15016 16TH PL W
LYNNWOOD, WA 98087                                   P‐0018153 11/6/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
HARBOUR, JON
2325 WRENDR.
LONGVIEW, WA 98632                                   P‐0018154 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TOM, GALEN
2550 HILBORN ROAD
#197
FAIRFIELD, CA 94534                                  P‐0018155 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADESON, JAKE T.
6051 OVERBROOK AVENUE
UNIT 1724
PHILADELPHIA, PA 19131                               P‐0018156 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOIRON, DAVID J.
6314 WHISTLING PINES DRIVE
SPRING, TX 77389                                     P‐0018157 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARBOUR, JON
2325 WREN DR.
LONGVIEW, WA 98632                                   P‐0018158 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, LENICKI S.
118 CLOVERHIL DR
GREENVILLE, AL 36037                                 P‐0018159 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEETON, RICHARD B.
27821 32ND PLACE S.
AUBURN, WA 98001                                     P‐0018160 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEON, CAREN R.
6601 SANTA ISABEL ST.
UNIT A
CARLSBAD, CA 92009                                   P‐0018161 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, WESLEY S.
PATTERSON, CYNTHIA D.
116 MAPLE STREET
CABOT, AR 72023                                      P‐0018162 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
XU, YONG DE
45 MERCURY ST
SAN FRANCISCO, C 94124                               P‐0018163 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODS, SONJA L.
8006 CALLE FANITA
SANTEE, CA 92071                                     P‐0018164 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHOEMAKER, DAVID
1301 QUARTERHORSE TRAIL
PROSSER, WA 99350                                    P‐0018165 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAVEM, ERIC H.
GRAVEM, STEPHANIE M.
2251 PRINCETON DRIVE
SAN BRUNO, CA 94066‐3842                             P‐0018166 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, BLAIR F.
8104 192ND AVENUE PLACE EAST
BONNEY LAKE, WA 98391                                P‐0018167 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLEM, DANIEL R.
WALLEM, DANIEL R.
319 S. 19TH ST.
RENTON, WA 98055                                     P‐0018168 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, JIE
1008 N 3RD ST
ONEILL, NE 68763                                     P‐0018169 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, VALARIE J.
153 EAST PINE ST.
ALTADENA, CALIFORNIA 91001                           P‐0018170 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
DERENARD, PAMELA S.
DERENARD, DAVID J.
12361 BLAZING STAR LANE
VICTORVILLE, CA 92392                                 P‐0018171 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRELL, ROBERT S.
7601 LEA CREST LANE
HIXSON, TN 37343                                      P‐0018172 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEMAY, DANIEL M.
9808 35TH AVE SW
SEATTLE, WA 98126                                     P‐0018173 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YUAN, CHUN‐WEI
2301 5TH AVENUE, SUITE 600
SEATTLE, WA 98121                                     P‐0018174 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAVEZ, EMILIO
CHAVEZ, EVELYN
714 PEGGY AVE
LA PUENTE, CA 91744                                   P‐0018175 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, TIFFANY
9306 CANTERBURY RIDING
LAUREL, MD 20723                                      P‐0018176 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, DONNA D.
GM FINANCIAL
5663 TIMBER RAIL
SAN ANTONIO, TX 78250                                 P‐0018177 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCLAFANI, PATRICK R.
7736 LILAC LANE
SIMI VALLEY, CA 93063                                 P‐0018178 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSICH, DOUGLAS K.
2 GREENBRIAR DR #301
NORTH READING, MA 01864                               P‐0018179 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, SUSAN L.
840 S PHEASANT RUN DR
VINEYARD, UT 84058                                    P‐0018180 11/7/2017      TK Holdings Inc., et al .                   $20,168.25                                                                                   $20,168.25
BROWN, ANGELA M.
14933 S CLEVELAND AVE
POSEN, IL 60469                                       P‐0018181 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FELIX, LEONARD
2784 NW 32ND AVE.
CAMAS, WA 98607                                       P‐0018182 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUANG, JIABAO
17021 ESTEBAN ST
HAYWARD, CA 94541                                     P‐0018183 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOOS, FRANCOIS
149 HILDEGARDE RD.
ROCHESTER, NY 14626                                   P‐0018184 11/7/2017      TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
WHITLOCK, WILLIAM E.
2130 BEVRA AVENUE
OXNARD, CA 93036‐2772                                 P‐0018185 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORGENSEN, CHRISTIN N.
28567 ROCK CANYON DRIVE
SANTA CLARITA, CA 91390                               P‐0018186 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RHOADES, DAVID L.
RHOADES, JUDITH E.
11665 RICASOLI WAY
PORTER RANCH, CA 91326                                P‐0018187 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MARTIN, SOPHI
24 CARR DR
MORAGA, CA 94556                                      P‐0018188 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMPE, JEROME L.
LAMPE, MARGARET A.
3396 GREENVALLEY TER
CINCINNATI, OH 45239‐7128                             P‐0018189 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARBORA, RUSSELL S.
SARBORA, JANICE E.
409 AVENUE F
SNOHOMISH, WA 98290                                   P‐0018190 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LI, SHUANGWEI
MA, LINA
13285 DERON AVE
SAN DIEGO, CA 92129                                   P‐0018191 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIDENER, JOSHUA W.
WIDENER, BETH A.
16595 SW OAK ST
BEAVERTON, OR 97229                                   P‐0018192 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMOVICS, ANDREJS J.
ADAMOVICS, GRACE J.
5077 BAY VIEW CIRCLE
STOCKTON, CA 95219                                    P‐0018193 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENTE, ANA S.
1150 S HICKS AVE
LOSANGELES, CA 90023                                  P‐0018194 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANNAN, DANIEL P.
BRANNAN, ALICIA M.
6345 CANAL BLVD
NEW ORLEANS, LA 70124                                 P‐0018195 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, NINA
219 W. RAMONA BLVD. #C
SAN GABRIEL, CA 91776                                 P‐0018196 11/7/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BRANNAN, DANIEL P.
BRANNAN, ALICIA M.
6345 CANAL BLVD
NEW ORLEANS, LA 70124                                 P‐0018197 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRUONG, JOHN
103 ENCANTO LN
MONTEREY PARK, CA 91755                               P‐0018198 11/7/2017      TK Holdings Inc., et al .                     $700.00                                                                                       $700.00
PILCO, JULIO R.
P. O. BOX 251447
GLENDALE, CA 91225‐1447                               P‐0018199 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, DAYARAM V.
4109 DANIEL GREEN TRAIL
SMYRNA, GA 30080‐6310                                 P‐0018200 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODEN, LISA M.
1248 CARMONA AVENUE
LOS ANGELES, CA 90019                                 P‐0018201 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHERRY, SURAJ
1143 MAGGIE LANE
WALNUT CREEK, CA 94597                                P‐0018202 11/7/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
ALLEN, SANDRA K.
1859 S CRESCENT HEIGHTS BLVD
LOS ANGELES, CA 90035                                 P‐0018203 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
RADDING, MICHAEL F.
RADDING, DOLORES I.
2450 OTIS DRIVE
ALAMEDA, CA 94501                                   P‐0018204 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, BETTYE
20009 CAMPAIGN DR.
CARSON, CA 90746                                    P‐0018205 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOWELL, TROY M.
17319 QUICKSILVER ST NW
RAMSEY, MN 55303                                    P‐0018206 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARCE, FRANCES P.
1648 SWEET GUM PL
CHULA VISTA, CA 91915                               P‐0018207 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSTOS, ADELA
BUSTOS, ADELA
1319 SALINAS PLACE UNIT B
SANTA BARBARA, CA 93103                             P‐0018208 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESCOTO, DAVID
ESCOTO, DAVID
1309 LAYTONSTONE WAY
NORTH LAS VEGAS, NV 89081                           P‐0018209 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, DAYARAM V.
4109 DANIEL GREEN TRAIL
SMYRNA, GA 30080‐6310                               P‐0018210 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRYDEN, KACIA
728 SOUTH MONTGOMERY AVE
DELAND, FL 32720                                    P‐0018211 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, FENGQUAN
6311 PEACH WAY
SAN DIEGO, CA 92130                                 P‐0018212 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAKEEL, OSAMA
KASOEVA, ALENA
30711 124TH AVE SE
AUBURN, WA 98092                                    P‐0018213 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHEWS, GINGER D.
3160 WILDEWOOD DR
CONCORD, CA 94518‐1411                              P‐0018214 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINGWALL, NILS E.
675 SONORAN DR.
WASHINGTON, UT 84780                                P‐0018215 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRISTEA, DANIEL P.
21317 52ND AVE W #F‐240
MOUNTLAKE TERRAC, WA 98043                          P‐0018216 11/7/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
BURGESS, RICHARD J.
595 NE NANTUCKET ST
BREMERTON, WA 98383                                 P‐0018217 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, NICHOLAS E.
800 NE 67TH ST
APT 461
SEATTLE, WA 98115                                   P‐0018218 11/7/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
PULIDO, CHAD P.
8261 FOUNTAIN AVE
APT 7
WEST HOLLYWOOD, CA 90046                            P‐0018219 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ANGELUCCI, MARC E.
P.O. BOX 6414
CRESTLINE, CA 92325                                 P‐0018220 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HONG, SHUNYI
34147 AUDEN CT
FREMONT, CA 94555                                   P‐0018221 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLVITT, AMY L.
706 HICKORY ST
WARRENSBURG, MO 64093                               P‐0018222 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, VICKIE A.
1859 PARK MEADOW CIR
WINSTON SALEM, NC 27127                             P‐0018223 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWES, JOHN H.
99 MCCONKEY DR
WASHINGTON CROSS, PA 18977                          P‐0018224 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWES, MEGAN M.
BOWES, JOHN H.
99 MCCONKEY DR
WASHINGTON CROSS, PA 18977                          P‐0018225 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORAN, DAVID F.
3818 1ST AVE
SAN DIEGO, CA 92103                                 P‐0018226 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWES, JOHN H.
BOWES, MEGAN
99 MCCONKEY DR
WASHINGTON CROSS, PA 18977                          P‐0018227 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLICICHIO, JANET A.
6 CAROLYN COURT
HOCKESSIN, DE 19707‐1100                            P‐0018228 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, TERRANCE M.
EDWARDS, CARMEN A.
110 FAIRWAY DRIVE
DILLSBURG, PA 17019                                 P‐0018229 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, TERRANCE M.
EDWARDS, CARMEN A.
110 FAIRWAY DRIVE
DILLSBURG, PA 17019                                 P‐0018230 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANCHETTE, JESSICA R.
504 MAGNOLIA AVENUE
SEFFNER, FL 33584                                   P‐0018231 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARALAMPUS, CHRISTOS A.
HARALAMPUS, ANGELO C.
5901 N SHERIDAN RD
UNIT 10C
CHICAGO, IL 60660                                   P‐0018232 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, KIMBRELLY L.
135 BLUE RIDGE TRAIL
POWDER SPRINGS, GA 30127                            P‐0018233 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, BOBBY L.
135 BLUE RIDGE TRAIL
POWDER SPRINGS, GA 30127                            P‐0018234 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, STACY R.
WALKER, JOHN T.
10112 CARLTON HILLS BLVD
SANTEE, CA 92071                                    P‐0018235 11/7/2017      TK Holdings Inc., et al .                   $67,500.00                                                                                   $67,500.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WALKER, STACY R.
NO ADDRESS PROVIDED
                                                      P‐0018236 11/7/2017      TK Holdings Inc., et al .                   $67,500.00                                                                                   $67,500.00
KLINGER, SHIRLENE K.
2134 DERRY ST
HARRISBURG, PA
DAUPHIN                                               P‐0018237 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOHN, ROBERT G.
123 HERMITAGE HILLS BLVD
HERMITAGE, PA 16148                                   P‐0018238 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAPOUTSIS, PANTELIS
209 SHAKESPEARE DR
SINKING SPRING, PA 19608‐1723                         P‐0018239 11/7/2017      TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
HEGLUND, BRIAN S.
119 CYPRESS CT
CANTON, GA 30115                                      P‐0018240 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRENNAN, TAMMY K.
3613 MALIBUR CIRCLE APT T6
FALLS CHURCH, VA 22041                                P‐0018241 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, JEFFREY A.
MURPHY, JESSICA
DR. JESSICA MURPHY, PLLC
178 RIVERSIDE DRIVE
RICHWOOD
RICHWOOD, WV 26261                                    P‐0018242 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, KRISTI L.
3374 SW WEST GLOBE STREET
PORT ST LUCIE, FL 34953                               P‐0018243 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARUTHERS, TERRY L.
6102 ARCADIA DRIVE
KNOXVILLE, TN 37920‐6428                              P‐0018244 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WERT, ROBERT A.
WERT, KARLEEN C.
1146 E. WALTON ROAD
SHEPHERD, MI 48883                                    P‐0018245 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EASON, RUTHIE F.
EASON, LARRY D.
5605 WARREN RD.
OAKLAND, TN                                           P‐0018246 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, CHRISTOPHER M.
QUINN, MADELINE M.
38846 N DEEP LAKE RD
LAKE VILLA, IL 60046                                  P‐0018247 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILMNICK, JAMY H.
901 CENTER STREET
UNIT 303
DES PLAINES, IL 60016‐6558                            P‐0018248 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLENDENING, SCOTT
1704 N. STARRETT RD
METAIRIE, LA 70003                                    P‐0018249 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLER‐HUTCHISON, KRISTEN M.
HUCHISON, GEORGE P.
1311 SHERWOOD FOREST COURT
WATERFORD, MI 48327                                   P‐0018250 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BRACK, STACEY M.
1848 WATERMERE LANE
WINDERMERE, FL 34786                                 P‐0018251 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KROUCH, GNANH N.
2408 E SIXTH STREET
STOCKTON, CA 95205                                   P‐0018252 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTILLO, TERESA L.
6262 VERDICT CT
CHESTERFIELD, VA 23832                               P‐0018253 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUMPTER, ROBERT T.
1841 N.W. 106 AV.
PEMBROKE PINES, FL 33026                             P‐0018254 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORENSTEIN, NATALIE
4849 N. MARLBOROUGH DRIVE
WHITEFISH BAY, WI 53217                              P‐0018255 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRICKLAND, TIFFANEE K.
110 HUNTERS CLUB LANE
NORCROSS, GA 30093                                   P‐0018256 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, CAROL J.
PETERSON, JAMES M.
412 FIELDSTONE DR
VENICE, FL 34292                                     P‐0018257 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHONEY, ROBERTA B.
24037 SW NAUTILUS BLVD
DUNNELLON, FL 34431                                  P‐0018258 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASLAM, MOHAMMAD Z.
ASLAM, SADIA
4357 SANTEE ROAD
FREMONT, CA 94555                                    P‐0018259 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYTON, TIFFANY
1274 HERITAGE LAKES DRIVE
MABLETON, GA 30126                                   P‐0018260 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SACKMAN, DAWN
22119 PRINCETON CIRCLE
FRANKFORT, IL 60423                                  P‐0018261 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUTHRIE, J STEVE
5305 SCOTTSBORO
MIDLAND, TX 79707                                    P‐0018262 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUGNO, DALE J.
SUCCESSORS, REV TRUST
2055 N CHESTNUT AVE
ARLINGTON HEIGHT, IL 60004                           P‐0018263 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASWELL, MICHELE W.
738 LANDOVER CIR., #103
NAPLES, FL 34104                                     P‐0018264 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULPEPPER, MELISSA
79 TIMBER LANE
LEVITTOWN, PA 19054                                  P‐0018265 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUTHRIE, JAMES S.
5305 SCOTTSBORO
MIDLAND, TX 79707                                    P‐0018266 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TARWATER, TIMOTHY W.
109 WEST LAKE DR
LAGRANGE, GA 30240                                   P‐0018267 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BOZOVICH, ROSEMARY
214 PINEWOOD DR
GODFREY, IL 62035                                   P‐0018268 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUTHRIE, J STEVE
5305 SCOTTSBORO
MIDLAND, TX 79707                                   P‐0018269 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTFALL, KAREN
WESTFALL, KAREN R.
3203 HARDSCRABBLE RD
ERIEVILLE, NY 13061                                 P‐0018270 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TARWATER, TIMOTHY W.
109 WEST LAKE DR
LAGRANGE, GA 30240                                  P‐0018271 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TERRILL III, ROBERT H.
6717 HUGHES ROAD
PROSPECT, OH 43342                                  P‐0018272 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHULTZ, MAYA P.
118 BRETONSHIRE ROAD
WILMINGTON, NC 28405                                P‐0018273 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOODY, MARY B.
MOODY, TERRY W.
108 LAMAR LN
DOTHAN, AL 36301                                    P‐0018274 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOODY, MARY B.
108 LAMAR LN
DOTHAN, AL 36301                                    P‐0018275 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, RALPH B.
CAMPBELL, KATHRYN K.
450 LAFAYETTE AV
EXCELSIOR, MN 55331                                 P‐0018276 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TABOR, HEIDI E.
13 BAY BRIDGE DRIVE
BRICK, NJ 08724                                     P‐0018277 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FILIPPI, JERRY M.
7744 W. ARQUILLA DR.
UNIT 2A
PALOS HEIGHTS, IL 60463                             P‐0018278 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALDEN, PRISCILLA A.
WALDEN, MICHAEL P.
9020 NATURE MEADOWS DRIVE NE
ROCKFORD, MI 49341                                  P‐0018279 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, RODNEY A.
4076 W MAHOGANY DR
FAYETTEVILLE, AR 72704                              P‐0018280 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHER, KEVIN
47 CHRISTIAN ST
OXFORD, CT 06478                                    P‐0018281 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEGGENBURGER, ROBERT J.
324 LADY DIANA DRIVE
DAVENPORT, FL 33837                                 P‐0018282 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONGEON, TIMOTHY R.
MONGEON, PATRICIA M.
68 PINE STREET
PITTSFIELD, MA 01201                                P‐0018283 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CLARK, HEYDON A.
6022 CREEKSIDE DR
SWARTZ CREEK, MI 48473                               P‐0018284 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANTHER, MANFRED
1410 COLWELL LANE
CONSHOHOCKEN, PA 19428                               P‐0018285 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FURGASON, AARON R.
1519 EAST BENNETT PLACE
POINT PLEASANT, NJ 08742                             P‐0018286 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOLOR, ISSOFA N.
302 FLOYD ST
HINESVILLE, GA 31313                                 P‐0018287 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOPER, TYISA R.
408 BARBASHELA DR.
STONE MOUNTAIN, GA 30083                             P‐0018288 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREHM, ALEXANDER G.
BREHM, JAMES W.
406 COUNTRY CLUB DRIVE
WILMINGTON, DE 19803                                 P‐0018289 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HACKNEY, ADAM J.
1203 HIGHLAND AVE
NORTHFIELD, MN 55057                                 P‐0018290 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, LISA J.
1864 HARBISON CANYON ROAD
EL CAJON, CA 92019                                   P‐0018291 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIEHLER, MICXHAEL A.
724 SARA CT
LEWISTON, NY 14092                                   P‐0018292 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUFFIELD, CHRIS A.
5426 WATERFORD CIRCLE
SHEFFIELD VILLAG, OH 44035                           P‐0018293 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, WILLIAM E.
MILLER, JACQUELINE A.
440 ASH STREET
CARLETON, MI 48117                                   P‐0018294 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAN, JIAN
4114 LINETTA CT
SAN JOSE
, CA 95148                                           P‐0018295 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUTZLI, LAURA
3553 CLAUDIA DR.
TOLEDO, OH 43614                                     P‐0018296 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOENTGEN, SARAH
827 OTTER AVE
WATERFORD, MI 48328                                  P‐0018297 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUFFIELD, CHRIS A.
5426 WATERFORD CIRCLE
SHEFFIELD VILLAG, OH 44035                           P‐0018298 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BILUS, BENJAMIN S.
HOME
370 SOUTH AVE
NEW CANAAN, CT 06840                                 P‐0018299 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUFFIELD, CHRIS A.
5426 WATERFORD CIRCLE
SHEFFIELD VILLAG, OH 44035                           P‐0018300 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HORII, MARIKO
1563 S. MAPLE ST
ESCONDIDO, CA 92025                                 P‐0018301 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STUCKO, GREGORY J.
1224 71ST STREET
#4
DOWNERS GROVE, IL 60516                             P‐0018302 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
BREHM, KAREN S.
BREHM, JAMES W.
406 COUNTRY CLUB DRIVE
WILMINGTON, DE 19803                                P‐0018303 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, NANETTE M.
42457 LILLEY POINTE
CANTON, MI 48187                                    P‐0018304 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRACK, JOHN M
1848 WATERMERE LANE
WINDERMERE, FL 34786                                P‐0018305 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREHM, JAMES W.
BREHM, KAREN S.
406 COUNTRY CLUB DRIVE
WILMINGTON, DE 19803                                P‐0018306 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, DORA E.
2009 NW 30TH ST.
BELL, FL 32619                                      P‐0018307 11/7/2017      TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
BUDNICK, ADRIAN B.
801 S 14TH ST
NASHVILLE, TN 37206                                 P‐0018308 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUSUMANO, ANTHONY J.
GUSUMANO, ANTHONY J.
A&J MANAGEMENT
4490 WELLS RD
PETERSBURG, MI 49270                                P‐0018309 11/7/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
BRINKMEIER, JAIME L.
10850 HAGGERMAN ROAD
SOUTH ROCKWOOD, MI 48179                            P‐0018310 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHELBY, DWAIN B.
19613 W 12 MILE RD
SOUTHFIELD, MI 48076                                P‐0018311 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, JEFFREY L.
2491 STONY FORK ROAD
MONETA, VA 24121                                    P‐0018312 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DITZLER, MATTHEW D.
753 E MAIN STREET
ANNVILLE, PA 17003                                  P‐0018313 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALSH, ROBERT K.
3602 OAK POINT DRIVE
MIDDLEBORO, MA 02346                                P‐0018314 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTON, KAREN S.
206 S WASHINGTON ST
HASTINGS, MI 49058                                  P‐0018315 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PITRE, ROBERT L.
PITRE, LINDA L.
61 SAWGRASS CIRCLE
LONDONDERRY, NH 03053                               P‐0018316 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ROOD, ALLAN J.
ROOD, JILL K.
4399 PARK CT
BOULDER, CO 80301                                    P‐0018317 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEDINA, AMANDA F.
5 LONGFIELD RD.
NEW BRUNSWICK, NJ 08901                              P‐0018318 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUMPTER, ROBERT T.
SUMPTER, CARMEN A.
1841 N.W. 106 AV.
PEMBROKE PINES, FL 33026                             P‐0018319 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REISINGER, SHAUN D.
159 MAPLE DRIVE
LUCINDA, PA 16235                                    P‐0018320 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRETAN, ERIC
BRETAN, KELLY
36 GOLDEN HILL LANE
SHELTON, CT 06484                                    P‐0018321 11/7/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MEDINA, AMANDA F.
5 LONGFIELD RD.
NEW BRUNSWICK, NJ 08901                              P‐0018322 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, DAVID E.
24 ASHFORD LANE
WATERBURY, VT 05676                                  P‐0018323 11/7/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
RUBINGER, LYNNE G.
9 ROLLING DRIVE
FRAMINGHAM, MA 01701‐3670                            P‐0018324 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMIN, DANE J.
KAMIN, CARYN T.
12812 SARALA PLACE
ST. LOUIS, MO 63131‐2000                             P‐0018325 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BULL, SARAH
15436 VALLEY VISTA BLVD.
SHERMAN OAKS, CA 91403                               P‐0018326 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, JAYNE
7722 RESEDA BLVD
APT 65
RESEDA, CA 91335                                     P‐0018327 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARPENTER/DUNCAN, VICKIE L.
N.
1246 RIVAGE CIRCLE
BRANDON, FL 33511                                    P‐0018328 11/7/2017      TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
SANTA CRUZ, AMBER L.
7616 CAYENN LANE
AUSTIN, TX 78741                                     P‐0018329 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORILLO, STEVEN M.
843 DUCK HAWK RETREAT
CHARLESTON, SC 29412                                 P‐0018330 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THORNGREN, ROBIN A.
40 MORES CREEK CIRCLE
BOISE, ID 83716‐3026                                 P‐0018331 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, JOAN F.
11030 WEST 109TH STREET
OVERLAND PARK, KS 66210                              P‐0018332 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GIZOWSKI, CHARLOTTE C.
3068 VOORHEIS LAKE COURT
LAKE ORION, MI 48360                                 P‐0018333 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAK, JANYE
2235 26TH AVENUE
SAN FRANCISCO, CA 94116                              P‐0018334 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALE III, ROBERT J.
SINGLETON, ALEXISANDRE L.
749 MARCELLIOUS LANE
BATON ROUGE, LA 70802                                P‐0018335 11/7/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
JACEK, STEVE
7894 MCLIN WAY
CITRUS HEIGHTS, CA 95610                             P‐0018336 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, ALEXIS C.
10460 BIRCHWOOD DR
BATON ROUGE, LA 70807                                P‐0018337 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EMMETT, BARRY W.
EMMETT, JUDITH A.
415 PONDEROSA DRIVE
ESTES PARK, CO 80517‐7522                            P‐0018338 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYCOTT, BRIDGETTE
1130 HICKMAN ROAD
JACKSONVILLE, FL 32216                               P‐0018339 11/7/2017      TK Holdings Inc., et al .                     $381.78                                                                                       $381.78
ZIMMERMAN, MAUREEN E.
12233 RAMBLER RD
PHILADELPHIA, PA 19154                               P‐0018340 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRNE, GAYLE S.
308 CROSS RIDGE ROAD
MOUNTAIN BROOK, AL 35213                             P‐0018341 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUGHTON, DONALD F.
8043 HILLANDALE DR
SAN DIEGO, CA 92120                                  P‐0018342 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIEDA, CHRISTINE F.
5633 HAMILTON ROAD
PITTSBURGH, PA 15236                                 P‐0018343 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIMMERMAN, MAUREEN E.
12233 RAMBLER RD
PHILADELPHIA, PA 19154                               P‐0018344 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAZIMEK, JENNIFER L.
3998 SO EXPLORER LN
WHEATFIELD, IN 46392                                 P‐0018345 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORDON, KRYSTAL M.
9102 CRENSHAW BLVD.
INGLEWOOD, CA 90305                                  P‐0018346 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLSWORTH, LILLIAN K.
126 E MTN RIDGE MHP
LOT 126
WILKES BARRE, PA 18702                               P‐0018347 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTOLONI, DAVID F.
128 FIRESIDE DRIVE
MCMURRAY, PA 15317                                   P‐0018348 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, DAVID M.
33900 675TH AVE
WATKINS, MN 55389                                    P‐0018349 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MCGUIRE, K.
KEVIN
7618 ALGON AVE.
PHILADELPHIA, PA 1911Q                              P‐0018350 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAMEN, RICHARD
GAMEN, CHERYL
586 W. WOODLAWN ROAD
NEW LENOX, IL 60451                                 P‐0018351 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEWISH, JULIA
6005 BUCKHORN RD
GREENSBORO, NC 27410                                P‐0018352 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSLEY, GERALDINE
MOSLEY, GERALDINE
104 WOODWARD LANE
SILSBEE, TX 77656                                   P‐0018353 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANG, NICHOLAS Y.
479 PROSPECT AVENUE
#1
BROOKLYN, NY 11215                                  P‐0018354 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUGHNER, MICHAEL R.
7417 W. SIERRA ST
PEORIA, AZ 85345                                    P‐0018355 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, DAVID M.
33900 675TH AVE
WATKINS, MN 55389                                   P‐0018356 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENNETT, MIKE
JENNETT, KIM
2249 HICKS AVENUE
SAN JOSE, CA 95125                                  P‐0018357 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUCKER, JIM
717 S WELLER
SPRINGFIELD, MO 65802                               P‐0018358 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZELAZNY, STANLEY
6 HITCHCOCK LN
AVON, CT 06001                                      P‐0018359 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
GAMEN, RICHARD
GAMEN, CHERYL
586 W. WOODLAWN ROAD
NEW LENOX, IL 60451                                 P‐0018360 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, BRIAN W.
K.C. COUNTERTOPS
904 NE SALA LANE
BLUE SPRINGS, MO 64014                              P‐0018361 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDRIX, ROBERT P.
P.O. BOX 361
BEULAVILLE, NC 28518                                P‐0018362 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZELAZNY, STANLEY
6 HITCHCOCK LN
AVON, CT 06001                                      P‐0018363 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
RAVENCAMP, CYNTHIA L.
1705 NW FAWN CT
BLUE SPRINGS, MO 64015                              P‐0018364 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YADAV, SATISH
49553 S GLACIER
NORTHVILLE, MI 48168                                P‐0018365 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CALLEJA, ROBERT A.
CALLEJA, MICHELLE T.
44 CHILTON AVE
SAN CARLOS, CA 94070                                 P‐0018366 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONGINOTTI, CARA
1421 E 35TH AVE
SPOKANE, WA 99203                                    P‐0018367 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZELAZNY, STANLEY
6 HITCHCOCK LN
AVON, CT 06001                                       P‐0018368 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
FARNIOK, DANIEL
FARNIOK, DAN
634 3RD ST SW
DELANO, MN 55328                                     P‐0018369 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAREL, DEBORAH R.
2632 GROVELAND AVE
DELTONA, FL 32725                                    P‐0018370 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COPPOLA, CONCETTA
43 RICHMOND BLVD, UNIT 2B
RONKONKOMA, NY 11779                                 P‐0018371 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZELAZNY, STNALEY
6 HITCHCOCK LN
AVON, CT 06001                                       P‐0018372 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
SCHOLL, KEVIN G.
27 YARROW COURT
PERKASIE, PA 18944‐2407                              P‐0018373 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BMD ENTERPRISES, INC.
ADAM YINGLING
4959 E DAKOTA
FRESNO, CA 93727                                     P‐0018374 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARNIOK, DANIEL T.
634 3RD ST SW
DELANO, MN 55328                                     P‐0018375 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BMD ENTERPRISES, INC.
ADAM YINGLING
4959 E DAKOTA AVE
FRESNO, CA 93727                                     P‐0018376 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KATCHMAR, GREGORY N.
607 SE 41ST AVE #21
PORTLAND, OR 97214                                   P‐0018377 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIRKEY, LAILA
819 CLEMENT ST
JOLIET, IL 60435                                     P‐0018378 11/7/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
BMD ENTERPRISES, INC.
ADAM YINGLING
4959 E DAKOTA
FRESNO, CA 93727                                     P‐0018379 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIRSCH, THOMAS
HIRSCH, AMY
150 LAS QUEBRADAS
ALAMO, CA                                            P‐0018380 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWSON, MICHAEL A.
55 FREMONT PLACE
LOS ANGELES, CA 90005                                P‐0018381 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RODRIGUEZ, JOSEPHINE A.
46 TREELANE DR
BEAR, DE 19701                                       P‐0018382 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRAINE, WILLIAM H.
63 COUNTY ROAD 207
APT. 2
EUREKA SPRINGS, AR 72632                             P‐0018383 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUISINGER, DAVID S.
200 HOMESTEAD AVE
PT. PLEASANT BCH, NJ 08742                           P‐0018384 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARSTAD, GRACIE A.
4049 VORTEX PLACE
ESCONDIDO, CA 92025                                  P‐0018385 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BMD ENTERPRISES, INC.
4959 E DAKOTA AVE
FRESNO, CA 93727                                     P‐0018386 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARSONS, AMANDA J.
5350 S. NOCTURNE LANE
SHELBY TOWNSHIP, MI 48316                            P‐0018387 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIRKEY, PAUL A.
819 CLEMENT ST
JOLIET, IL 60435                                     P‐0018388 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, HEYDON A.
6022 CREEKSIDE DR
SWARTZ CREEK, MI 48473                               P‐0018389 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, FORREST L.
WARD, SHARON A.
410 WOOD DUCK LANE
MCKINNEY, TX 75070‐4176                              P‐0018390 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, TOMMY R.
3806 NORMAN ST
ALEXANDRIA, LA 71302                                 P‐0018391 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ, ANN L.
4920 E 4TH ST
TUCSON, AZ 85711                                     P‐0018392 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FONDER, MATTHEW R.
126934 E SHORE DRIVE
ABERDEEN, SD 57401                                   P‐0018393 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FONTES, RONALD
FONTES, LISA
81882 VILLA GIARDINO DR.
INDIO, CA 92203                                      P‐0018394 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLAVITT, WAYNE C.
3121 LAMA AVE
LONG BEACH, CA 90808                                 P‐0018395 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELCH, PAUL S.
3800 JEFFERSON BLVD.
VIRGINIA BEACH, VA 23455                             P‐0018396 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, JEFFREY M.
106 E 24TH ST
MINNEAPOLIS, MN 55404‐3522                           P‐0018397 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLASSEN, RAYMOND B.
7589 SYLVAN CREEK COURT
CITRUS HEIGHTS, CA 95610                             P‐0018398 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DUKE III, ANTHONY
7145 READING ROAD
APARTMENT #1816
ROSENBERG, TX 77471                                  P‐0018399 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'BRIEN, TIMOTHY S.
555 EATON ST. UNIT K
OCEANSIDE, CA 92054                                  P‐0018400 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANGEL, MIREYA
700 N. HILL PL #402
LOS ANGELES, CA 90012                                P‐0018401 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REISINGER, SHAUN D.
159 MAPLE DRIVE
LUCINDA, PA 16235                                    P‐0018402 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KITCHENS, PAMELA J.
79960 NASSAU PLACE
BERMUDA DUNES, CA 92203‐1415                         P‐0018403 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AZOCAR, CRISTINA L.
1766 9TH AVE
SAN FRANCISCO, CA 94122                              P‐0018404 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEDERSON, WENDY L.
50686 BIRCH BLUFF DRIVE
NORTH MANKATO, MN 56003                              P‐0018405 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRITZ, JEFF
FRITZ, DAPHNE
42 WEST POINT DRIVE
LONGVIEW, WA 98632                                   P‐0018406 11/7/2017      TK Holdings Inc., et al .                   $17,000.00                                                                                   $17,000.00
BLACK, SHAWN
BLACK, AGNIESZKA
412 ELCINOCA DRIVE
ELIZABETH CITY, NC 27909                             P‐0018407 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'BRIEN, SHANNON
555 EATON ST. UNIT K
OCEANSIDE, CA 92054                                  P‐0018408 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, DONALD J.
PATTERSON, SANDRA S.
1044 WESTMONT RD
SANTA BARBARA, CA 93108                              P‐0018409 11/7/2017      TK Holdings Inc., et al .                     $258.00                                                                                       $258.00
ROTOLONI, DAVID F.
128 FIRESIDE DRIVE
MCMURRAY, PA 15317                                   P‐0018410 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECHTEL, KRISTOPHER L.
3505 DEL REY ST.
SAN DIEGO, CA 92109                                  P‐0018411 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DISU, TAJUDEEN J.
6011 KINGSESSING AVENUE
PHILADELPHIA, PA 19142                               P‐0018412 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STROUD, SHYLA L.
54 AVERY LANE
COLLIERS, WV 26035                                   P‐0018413 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWITT, CHRISTOPHER D.
2519 W 550 S
LAFAYETTE, IN 47909                                  P‐0018414 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, PETER B.
021 SW BANCROFT ST
ATTN 021 NOT 21
PORTLAND, OR 97239                                   P‐0018415 11/7/2017      TK Holdings Inc., et al .                    $7,940.00                                                                                    $7,940.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
FRITZ, CARRIE JO M.
1200 4TH ST NE
#30
NEW PRAGUE, MN 56071                                  P‐0018416 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, STEVEN H.
SMITH, CYNTHIA A.
579 W. BEDFORD
CLOVIS, CA 93611                                      P‐0018417 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANTOR, TODD B.
7313 BROXBURN COURT
BETHESDA, MD 20817                                    P‐0018418 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANSIE, APRIL A.
DANSIE, STEPHEN W.
2121 E VIMONT AVE
SALT LAKE CITY, UT 84109                              P‐0018419 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAI, BRIAN
1940 FRANCISCAN WAY 306
ALAMEDA, CA 94501                                     P‐0018420 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIBEIRO, CALEB
RIBEIRO, JESSICA
2017 S SEVIER RD
RIDGEFIELD, WA 98642                                  P‐0018421 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIMS, RICKY J.
120 PEACHTREE DR
BYRAM, MS 39272                                       P‐0018422 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROSS, CLINT
120 HUNTERS GLEN DRIVE
WHEATON, IL 60189                                     P‐0018423 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODMAN, JOSHUA H.
3903 ETON LANE
AUSTIN, TX 78727                                      P‐0018424 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIGHT, RICHARD
BRIGHT, LESLIE
144 EL DORADO
LITTLE ROCK, AR 72212                                 P‐0018425 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYERS, LAURA E.
5890 HILDERBRAND DRIVE
ATLANTA, GA 30328                                     P‐0018426 11/7/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
BIBLE, LYNN M.
11543 N 114TH PLACE
SCOTTSDALE, AZ 85259                                  P‐0018427 11/7/2017      TK Holdings Inc., et al .                    $1,158.36                                                                                    $1,158.36
MORALES, JOCELYN
3222 UNION AVE
PENNSAUKEN, NJ 08109                                  P‐0018428 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSS, ROBIN L.
9563 STARHAWK DRIVE
TALLAHASSEE, FL 32309‐7298                            P‐0018429 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROYAL, DAWN R.
6419 CANUTE DRIVE
N. CHESTERFIELD, VA 23234                             P‐0018430 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUMMINGS, JASON R.
2715 84TH DR NE
LAKE STEVENS, WA 98258                                P‐0018431 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ZACK, RONNA
RUTOWICZ, RICHARD
8036 N. KARLOV
SKOKIE, IL 60076                                    P‐0018432 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EFFINGHAM MONUMENT CO., INC.
P.O. BOX 899
EFFINGHAM, IL 62401                                 P‐0018433 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, FRED A.
RODRIGUEZ, KAREN M.
1231 28TH AVENUE
SAN FRANCISCO, CA 94122                             P‐0018434 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCADAMS, JR, HAL B.
540 61ST AVENUE
VERO BEACH, FL 32968                                P‐0018435 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLETCHER, KENNETH B.
1550 COLLEGE AVE.
TRAPPE, PA 19426                                    P‐0018436 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, LILLIAN E.
PIAZZA ACURA MAIN LINE
1741 N 61ST STREET
PHILADELPHIA, PA 19151                              P‐0018437 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOUCK, ANGELA D.
5805 FURNACE BROOK DRIVE
ELDERSBURG, MD 21784                                P‐0018438 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERELL, JAMES A.
PERELL, REBECCA S.
3600 HOLLY HILL LANE
LOOMIS, CA 95650                                    P‐0018439 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARONI, BARRY N.
MARONI, SHERRI L.
1549 NW IVY AVENUE
REDMOND, OR 97756                                   P‐0018440 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRKLAND, MICHELLE R.
2008 LARKSPUR DRIVE
LEXINGTON, KY 40507                                 P‐0018441 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMILTON, HOWARD W.
733 GULL POINT AVENUE
LAS VEGAS, NV                                       P‐0018442 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAZZONE, MICHAEL J.
MAZZONE, DARLENE M.
1238 HIGH STREET
PADUCAH, KY 42001                                   P‐0018443 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEOPOLD, RALPH
318 RUE ST PETER
METAIRIE, LA 70005                                  P‐0018444 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIJOILEK, WILLIAM J.
FIOLEK, LESLIE A.
13436 LANDFAIR RD
SAN DIEGO, CA 92130                                 P‐0018445 11/7/2017      TK Holdings Inc., et al .                     $600.00                                                                                       $600.00
CARPENTER, WILLIAM P.
40 MORES CREEK CIRCLE
BOISE, ID 83716‐3026                                P‐0018446 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EFFINGHAM MONUMENT CO., INC.
EFFINGHAM MONUMENT CO., INC.
P.O. BOX 899
EFFINGHAM, IL 62401                                 P‐0018447 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
JOE, JULIE
2338 EVERGREEN SPRINGS DRIVE
DIAMOND BAR, CA 91765                                P‐0018448 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIMS, RICKY J.
120 PEACHTREE DR
BYRAM, MS 39272                                      P‐0018449 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUGGIERO, MICHELLE A.
234 S COUNTRY CLUB ROAD
LAKE MARY, FL 32746                                  P‐0018450 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCADAMS, HAL B.
540 ^1ST AVENUE
VERO BEACH, FL 32968                                 P‐0018451 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDRICH, CHARLES A.
604 HIDDEN CLOSE
WOODSTOCK, GA 30188                                  P‐0018452 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGEOUGH, FRANCES H.
241 ELMWOOD AVE
QUINCY, MA 02170                                     P‐0018453 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARRIOTT, LIANI C.
11233 BORDEN AVENUE
#26
PACOIMA, CA 91331                                    P‐0018454 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COFFEY, MONIQUE
7220 FLAG HARBOR DRIVE
FORESTVILLE, MD 20747                                P‐0018455 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEMING, DIANNE M.
106 COBBLESTONE LANE
GREENWOOD, SC 29649                                  P‐0018456 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, LEAH E.
2471 NATOMA CT SE
SMYRNA, GA 30080                                     P‐0018457 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELTNER, KYLIE M.
2464 F STREET
UNIT C
SAN DIEGO, CA 92102                                  P‐0018458 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGER, GERALD
P.O. BOX 160871
NASHVILLE, TN 37216                                  P‐0018459 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINNEY, ERICA L.
102 HUMMINGBIRD LANE #A
LAFAYETTE, LA 70506                                  P‐0018460 11/7/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
TOWNSHEND, CHRISTINA M.
2713 INDIGO HILLS COURT
JACKSONVILLE, FL 32221                               P‐0018461 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TARJAN, MARIE
165 OLD PIEDMONT CIR
CHAPEL HILL, NC 27516                                P‐0018462 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHAEL, DANIEL P.
72 WEBBER PL
GROSSE POINTE, MI 48236                              P‐0018463 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIFFLE, EDGAR H.
RIFFLE, MYRA J.
535 MEGAN LANE
GLASGOW, KY 42141                                    P‐0018464 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MARTIN, KIMBERLY R.
3127 ENCLAVE LN
FULTONDALE, AL 35068                                 P‐0018465 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAIG, WILLIAM D.
CRAIG, HEATHER A.
1196 BRIDGEHAMPTON ST.
SAN MARCOS, CA 92078                                 P‐0018466 11/7/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
BLOECHER, TERRY P.
BLOECHER, JONNI L.
3832 KELSEY COURT
LEWIS CENTER, OH 43035                               P‐0018467 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALEKZADEH, MARYAM
2685 S. DAYTON WAY #283
DENVER, CO 80231                                     P‐0018468 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASEY, KATHRYN R.
215 PIPPIN DRIVE
FALLBROOK, CA                                        P‐0018469 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDMAN, KELSEY J.
680 S MARENGO AVE
APT 8
PASADENA, CA 91106                                   P‐0018470 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINDER, ERIN L.
4415 N GRADUATE AVE
APT. 2308
SIOUX FALLS, SD 57107                                P‐0018471 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIGHT, RICHARD
BRIGHT, LESLIE
144 EL DORADO DR.
LITTLE ROCK, AR 72212                                P‐0018472 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODLING, JAY L.
GOODLING, JOLENE M.
244 N CHARLES ST
RED LION, PA 173561616                               P‐0018473 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAHM, CASEY
36 MERRY STREET
PAWTUCKET, RI 02860                                  P‐0018474 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUPY, JOSEPH A.
TUPY, NANCY L.
1970 VISTA AVENUE
SIERRA MADRE, CA 91024                               P‐0018475 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAWSON, DAVID K.
5724 LENORE LANE
ALEXANDRIA, VA 22303                                 P‐0018476 11/7/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GALLOWAY, ERIN K.
CICIORA, PAUL H.
14980 TIBORIA LOOP
PEYTON, CO 80831                                     P‐0018477 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, DURONDEE
2304 45TH STREET
TWO RIVERS, WI 54241                                 P‐0018478 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARPENTER, WILLIAM P.
40 MORES CREEK CIRCLE
BOISE, ID 83716‐3026                                 P‐0018479 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANHAM, BRAD K.
17082 HANOVER LANE
EDEN PRAIRIE, MN 55347                               P‐0018480 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MLODINOFF, DAVID J.
HOBEN, BETH S.
10600 NW FLOTOMA DRIVE
PORTLAND, OR 97229                                    P‐0018481 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEMLOCK, MARY BETH
4491 LIPPINCOTT RD.
LAPEER, MI 48446                                      P‐0018482 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, ROB O.
4312 SNOWCREST LANE
RALEIGH, NC 27616                                     P‐0018483 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, ANAND N.
MURALI, SUJATHA
2598 GLASGOW DRIVE
CARLSBAD, CA 92010                                    P‐0018484 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LALLIER, GILCYA A.
9 CIRRUS DR #9205
ASHLAND, MA 01721                                     P‐0018485 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNOLDS, RODNEY J.
REYNOLDS, TAMI J.
11608 TANGLEWOOD DR
EDEN PRAIRIE, MN 55347                                P‐0018486 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOUADIO, ALAIN S.
5415 WHISPER COURT
CUMMING, GA 30028                                     P‐0018487 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, JOY
2304 45TH STREET
TWO RIVERS, WI 54241                                  P‐0018488 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANNA, RICHARD L.
24 PILGRIM ROAD
SPRINGFIELD, MA 01118‐1414                            P‐0018489 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNAMARA, COLLEEN M.
1019 JERVEY POINT RD
CHARLESTON, SC 29492                                  P‐0018490 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWFORD, THOMAS F.
166 DAWNS EDGE
MONTGOMERY, TX 77356                                  P‐0018491 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTTS, HOLLY M.
704 SOUTHWEST 14TH COURT
FORT LAUDERDALE, FL 33315‐1455                        P‐0018492 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUNNINGHAM, VICKI L.
133 OCTOPUS AVE NE
OCEAN SHORES, WA 98569                                P‐0018493 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEHTOLA, HEATHER
17833 FLORIBUNDAS LANE
ELGIN TX                                              P‐0018494 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAVOR, GREG
6002 FAIRWOOD BND NW
ACWORTH, GA 30101                                     P‐0018495 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAJARDO, FLORENCE F.
BARROGA, JR., ERMIE P.
98‐1442 HOOHONUA STREET
PEARL CITY, HI 96782                                  P‐0018496 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLEVYAK, EUGENE F.
18908 WESTVIEW DR
SARATOGA, CA 95070                                    P‐0018497 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ZELTWANGER, MARK R.
WYATT FARM CENTER, INC
26545 CR 52
NAPPANEE, IN 46550                                  P‐0018498 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
KLASSEN, MEGHAN L.
7589 SYLVAN CREEK COURT
CITRUS HEIGHTS, CA 95610                            P‐0018499 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAFAEL, MICHELLE D.
21 SOUTH BARNEY ROAD
CLIFTON PARK, NY 12065                              P‐0018500 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINTERS, PATRICIA
SCHMALZ, JESSICA L.
1401 RANDALL COURT
LOS ANGELES, CA 90065                               P‐0018501 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COULSON, DAWN
4173 VIA SOLANO
PALOS VERDES EST, CA 90274                          P‐0018502 11/7/2017      TK Holdings Inc., et al .                     $575.00                                                                                       $575.00
BEATTY, ROBERT J.
5222 HAMMOCK POINTE COURT
ST CLOUD, FL 34771                                  P‐0018503 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCMILLAN, DANIEL M.
MCMILLAN, MARGARET
1030 BERNAL AVE
BURLINGAME, CA 94010                                P‐0018504 11/7/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
LIU, GRACE
APT B
1219 OCEAN PARK BLVD.
SANTA MONICA, CA 90405                              P‐0018505 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORENCY, KATHLEEN
5 CROSSROADS LANE
AVON, CT 06001                                      P‐0018506 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOCH, GLENN R.
KOCH, DEA J.
5 NEWPORT DRIVE, #1200
HILTON HEAD, SC 29928                               P‐0018507 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, TRICIA A.
118 DAVE AVE APT 404
LEBANON, OH 45036                                   P‐0018508 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINZEL, CHARLES J.
4530 NW SALISHAN DR
PORTLAND, OR 97229‐2740                             P‐0018509 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COULSON, DAWN M.
4173 VIA SOLANO
PALOS VERDES EST, CA 90274                          P‐0018510 11/7/2017      TK Holdings Inc., et al .                     $575.00                                                                                       $575.00
RIFFKIN, MITCHEII S.
90 MOUNTAIN LAUREL DRIVE,
CRANSTON,, RI 02920                                 P‐0018511 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, ELIZABETH M.
731 WAYFIELD DRIVE
SAINT LOUIS, MO 63132                               P‐0018512 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, BRUCE D.
4990 SHADOWBEND CIR
CLARKSVILLE, TN 37043                               P‐0018513 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHEELER, MARY A.
11422 WAVERLY DR
PLYMOUTH, MI 48170                                  P‐0018514 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SCHOEN, RONALD A.
4560 STERN AVE
SHERMAN OAKS, CA 91423                               P‐0018515 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANNAVO, FRANK
410 HELDERVIEW DRIVE
ALTAMONT, NY 12009                                   P‐0018516 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOVER, SILVIA
302 KAYBE COURT
SAN JOSE, CA 94139                                   P‐0018517 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AIKINS, RUSSELL
P.O. BOX 368
125 CROYLE DRIVE
ADRIAN, PA 16210                                     P‐0018518 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LECHNER, AMY L.
4230 OLD PITTSBURGH ROAD
WAMPUM, PA                                           P‐0018519 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSENBERG, LISA
214 MEDEA WAY
CENTRAL ISLIP, NY 11722                              P‐0018520 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, DANIEL S.
MUHL ANDERSON, BOBBIE J.
1800 CR 436
DIME BOX, TX 77853                                   P‐0018521 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRETT, MICHELLE
854 NORTH AVE
SANGER, CA 93657                                     P‐0018522 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, SABRINA C.
2435 LAKE TERRACE
EAST POINT, GA 30344                                 P‐0018523 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORDER, MATTHEW C.
3156 S CEDAR RIDGE DRIVE
RIDGEFIELD, WA 98642                                 P‐0018524 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STELSE, WAFAA
STELSE, LESTER
                                                     P‐0018525 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QIAN, ALAN
1089 DEWBERRY PL UNIT 404
SAN JOSE, CA 95131                                   P‐0018526 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MAIDER, RICHARD
1 CHELTENHAM PLACE
CLIFTON PARK, NY 12065                               P‐0018527 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSSELL, ANNIE M.
8810 S. DORCHESTER
AVE.
CHICAGO, IL 60619                                    P‐0018528 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FENCIL, ERIC M.
312 SPRINGFIELD DRIVE
CRANBERRY TWP., PA 16066                             P‐0018529 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHEELRE, JOHN R.
11422 WAVERLY DR
PLYMOUTH, MI 48170                                   P‐0018530 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDMONDSON, GYNETH A.
2019 NE 179ST
C12
RIDGEFIELD, WA 98642                                 P‐0018531 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MORALES, EKATERINA L.
4104 FLOYD ST
HOUSTON, TX 77007                                   P‐0018532 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MASLYANKA, ANATOLY
668 FIFTEEN MILE DRIVE
ROSEVILLE, CA 95678                                 P‐0018533 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RINALDO, DAVID
RINALDO, SUZANNE
1 GOODRICH TRAIL
CARMEL, CA 93923‐7723                               P‐0018534 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOELKER, NICHOLAS D.
701 KETTNER BLVD.
UNIT 177
SAN DIEGO, CA 92101                                 P‐0018535 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOI, JOYCE J.
702 S. SERRANO AVE. #603
LOS ANGELES, CA 90005                               P‐0018536 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COUSINS, DAVID M.
3925 N. HUGUENOT ROAD
RICHMOND, VA 23235‐1607                             P‐0018537 11/7/2017      TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
KALINOWSKI, ANDRE
KALINOWSKI, ANDRE G.
4925 BEVERLY BLVD
APT 21
LOS ANGELES, CA 90004                               P‐0018538 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STONER, CONSTANCE P.
6615 ANDERSON ACRES DR
GEORGETOWN, TN 37336                                P‐0018539 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWS, CHASE P.
6440 NORTH CENTRAL EXPRESSWAY
SUITE 300
DALLAS, TX 75206                                    P‐0018540 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARLSON, JAMES C.
CARLSON, STELLA J.
24301 64TH PLACE
SALEM, WI 53168                                     P‐0018541 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARROQUIN, ARLYN Y.
14753 WYANDOTTE ST.
VAN NUYS, CA 91405                                  P‐0018542 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REHMAN, PATRICIA A.
1125 EAST STREET
NEW HAVEN, VT 05472‐3116                            P‐0018543 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASLYANKA, ANATOLY
668 FIFTEEN MILE DRIVE
ROSEVILLE, CA 95678                                 P‐0018544 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCORMACK, DAVID R.
MCCORMACK, JENNIFER L.
5668 WRENWYCK PL
WELDON SPRING, MO 63304                             P‐0018545 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKELTON, ROYCE G.
7314 BLENHEIM PALACE LN
HOUSTON, TX 77095‐3551                              P‐0018546 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREGORY, TRISTA G.
4314 ALGRUTH DRIVE
SAN ANTONIO, TX                                     P‐0018547 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BOUDREAUX, GUY P.
116 FLOYD DR.
PIERRE PART, LA 70339                               P‐0018548 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COTTRELL, ANGEL J.
3000 18TH STREET
BAKERSFIELD, CA 93301                               P‐0018549 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, BRUCE D.
4990 SHADOWBEND CIR
CLARKSVILLE, TN 37043                               P‐0018550 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROME, MEGAN R.
ROME, JONATHAN L.
3448 SW STONYBROOK DR
TOPEKA, KS 66614                                    P‐0018551 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECK, JAMES P.
4305 SW 33RD STREET
DES MOINES, IA 50321                                P‐0018552 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, BEVERLY J.
18559 EXPLORER WAY
FARMINGTON, MN 55024                                P‐0018553 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, GAIL E.
1816 CHILTON ST
BALTIMORE, MD 21218                                 P‐0018554 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIN, KATHERINE R.
164 REGENCY DRIVE
COLUMBIA, SC 29212                                  P‐0018555 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FENTRESS, DARRIN M.
500 7TH AVENUE
CORAOPOLIS, PA 15108                                P‐0018556 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUY, STEVEN M.
322 WINTERSET DR.
ENGLEWOOD, OH 45322‐1630                            P‐0018557 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZACZYK, MARIA C.
ZACZYK, MARIA
3215 SHAWNEE MISSION PKWY
FAIRWAY, KS 66205                                   P‐0018558 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, LINDA D.
EDWARDS, DOUGLAS F.
LINDA D. EDWARDS
3350 BURNT HICKORY RD. NW
MARIETTA, GA 30064                                  P‐0018559 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANERT, HENRY
VANERT, ANITA
1320 S 177TH ST
OMAHA, NE 6130                                      P‐0018560 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINESCU, SORIN S.
1735 WASHINGTON AVE.
SEAFORD, NY 11783                                   P‐0018561 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARREN, JEFFREY A.
WARREN, MARY A.
130 DONNA LANE
PADUCAH, KY 42003                                   P‐0018562 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWLEY, KRISTINA
14602 PARKGATE DRIVE
LAUREL, MD 20707                                    P‐0018563 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
KRISHNAMURTHY, RAMESH
4388 SW BELLA PL
BEAVERTON, OR 97005                                 P‐0018564 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLEARY, WILLIAM B.
2631 NE 14TH AVENUE
R408
WILTON MANORS, FL 33334                             P‐0018565 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASLYANKA, TAMARA
668 FIFTEEN MILE DRIVE
ROSEVILLE, CA 95678                                 P‐0018566 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, BRUCE D.
MILLER, DONNA K.
4990 SHADOWBEND CIR
CLARKSVILLE, TN 37043                               P‐0018567 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWARTZ, KEVIN D.
1235 ANKENY HEIGHTS LN S
SALEM, OR 97306                                     P‐0018568 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA, MICHELE A.
RIVERA, OSCAR
13 DUNCASTER ROAD
BLOOMFIELD, CT 06002                                P‐0018569 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VON MOLTKE, H KURT
329 WARWICK ROAD
KENILWORTH, IL 60043                                P‐0018570 11/7/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
STANSFIELD, DEBRA P.
11329 SWAN CANYON RD
SAN DIEGO, CA 92131                                 P‐0018571 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYNCH, GREG M.
4827 GALLIA PIKE
FRANKLIN FURNACE, OH 45629                          P‐0018572 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRISHNAMURTHY, RAMESH
4388 SW BELLA PL
BEAVERTON, OR 97005                                 P‐0018573 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, MATTHEW J.
4716 MILTFRED TERRACE
ROCKVILLE, MD 20853                                 P‐0018574 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTOLONI, DAVID F.
128 FIRESIDE DRIVE
MCMURRAY, PA 15317                                  P‐0018575 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOHAN, BRIAN J.
KOHAN, JAMIE D.
419 KENWOOD AVE
LEPANTO, AR 72354                                   P‐0018576 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHAEFER, GLENN R.
612 W CREEK STREET
FREDERICKSBURG, TX 78624                            P‐0018577 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODS‐ANDERSON, MICHELLE Y.
166 COBBTOWN ROAD
LYONS, GA 30436                                     P‐0018578 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIEVES‐CASTILLO, SARA D.
7 REED STREET
LYNN, MA 01905                                      P‐0018579 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VON MOLTKE, KURT
329 WARWICK ROAD
KENILWORTH, IL 60043                                P‐0018580 11/7/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DAVENPORT, MICHAEL J.
6636 BLACKSTONE DR
DOWNERS GROVE, IL 60516                              P‐0018581 11/7/2017      TK Holdings Inc., et al .                    $6,450.00                                                                                    $6,450.00
WOOLFOLK, KELLY C.
484 LAKE PARK AVE. #604
OAKLAND, CA 94610                                    P‐0018582 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYNCH, MONA M.
4827 GALLIA PIKE
FRANKLIN FURNACE, OH 45629                           P‐0018583 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANSINGH, LOIS A.
229 MONTEREY AVE
CAPITOLA, CA 95010                                   P‐0018584 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTOLONI, DAVID F.
128 FIRESIDE DRIVE
MCMURRAY, PA 15317                                   P‐0018585 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUSSIER, MICHAEL H.
LUSSIER, JANICE B.
680 STERLING DR
CHARLESTON, SC 29412                                 P‐0018586 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDELMAN, BARBARA J.
8901 ETON AVE SPC 67
CANOGA PARK, CA 91304                                P‐0018587 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, GARY M.
985 RIDGEVIEW CIRCLE
LAKE ORION, MI 48362                                 P‐0018588 11/7/2017      TK Holdings Inc., et al .                   $11,600.00                                                                                   $11,600.00
GU, YAJUN
4495 E TIMBERSAW DR
BOISE
, ID 83716                                           P‐0018589 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHADEWALD JR., EDWIN C.
5511 INDIAN CREEK RD
HAPPY CAMP, CA 96039                                 P‐0018590 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGE, BRIAN E.
759 COLLEGE AVE NE
GRAND RAPIDS, MI 49503                               P‐0018591 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSSITANO, GARRETT C.
256 HIGBY ROAD
NEW HARTFORD, NY 13413                               P‐0018592 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAN, RICHIE
724 IVY STREET
GLENDORA, CA 91740                                   P‐0018593 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCIC, FRANO
501 ELAINE DRIVE
PITTSBURGH, PA 15236                                 P‐0018594 11/7/2017      TK Holdings Inc., et al .                    $6,141.69                                                                                    $6,141.69
MCGUIRE, JOHN J.
175 ANCHORAGE DR
WEST ISLIP, NY 11795                                 P‐0018595 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MROZ, JAMES P.
10765 N MAC RD
IRONS, MI 49644                                      P‐0018596 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLSOP, STEVEN Y.
2918 N MASON AVE
TACOMA, WA 98407                                     P‐0018597 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRUITT, KENNETH R.
246 EARNSHAW AVE
CINCINNATI, OH 45219                                 P‐0018598 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BERGAM, JOE E.
1403 S.E. ROSE RD.
PORT ORCHARD, WA 98367                                P‐0018599 11/7/2017      TK Holdings Inc., et al .                     $120.00                                                                                       $120.00
LEONARD, REBECCA A.
113 IRA STREET
CARENCRO, LA 70520                                    P‐0018600 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, VAUGHAN
921 MISSION RIDGE RD
SANTA BARBARA, CA 93103                               P‐0018601 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAMER, BRETT A.
3633 EMPIRE DRIVE, APT 1
LOS ANGELES, CA 90034                                 P‐0018602 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITZGERALD, ROBERT A.
362 AVENIDA DEL RECREO
OJAI, CA 93023                                        P‐0018603 11/7/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
TREAT, WILLIAM TRE D.
112 SJ LANE
BEEBE, AR 72012                                       P‐0018604 11/7/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
MEMA, AFRIM
16716 RONNIE LANE
LIVONIA, MI 48154                                     P‐0018605 11/7/2017      TK Holdings Inc., et al .                   $23,000.00                                                                                   $23,000.00
MARENO, DIANA F.
MARENO, GREGORY C.
2347 NORTHPARK STREET
THOUSAND OAKS, CA 91362                               P‐0018606 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELRICCO, PETER D.
HELEN
PETER D. DELRICCO
115 WELLINGTON DRIVE
STATE COLLEGE, PA 16801‐7680                          P‐0018607 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, CHARLES M.
COLLINS, HERTA
1607 DEL ORO DRIVE
LA CANADA, CALIFORNIA 91011
                                                      P‐0018608 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRATTON, THOMAS A.
1664 HOLLY LAKE CIRCLE
SNELLVILLE, GA 30078                                  P‐0018609 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IYER, WAYNE G.
1510 EVERETT STREET
ALAMEDA, CA 94501                                     P‐0018610 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOLMER, STEVEN
FOLMER, MATTHEW
P.O. BOX 1431
MARTINSBURG, WV 25402                                 P‐0018611 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVISTER, RHONDA
103 S. HUDSON STREET
ALEXANDRIA, VA 22304                                  P‐0018612 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARENO, GREGORY C.
MARENO, DIANA F.
2347 NORTHPARK STREET
THOUSAND OAKS, CA 91362                               P‐0018613 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EHRLICHMAN, MARK F.
BOOK‐EHRLICHMAN, JUDITH
8684 ASHBURY CT
BLAINE, WA 98230                                      P‐0018614 11/7/2017      TK Holdings Inc., et al .                     $559.84                                                                                       $559.84
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GOLDEN, NANCY
5524 RAINIER ST
VENTURA, CA 93003                                    P‐0018615 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAZOR, MARILYN G.
2340 HARMSWORTH DRIVE
DUMFRIES, VA 22026                                   P‐0018616 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOLMER, STEVEN
FOLMER, KAREN
P.O. BOX 1431
MARTINSBURG, WV 25402                                P‐0018617 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOWDS, MAUREEN B.
247 CENTER POINT LANE
LANSDALE, PA                                         P‐0018618 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTY, RICK T.
MCCARTY, TRINA L.
210 ALABAMA STREET
PADUCAH, KY 42003                                    P‐0018619 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITSCH, THOMAS C.
THOMAS MITSCH
295 BURKE DRIVE
CAMANO ISLAND, WA 98282                              P‐0018620 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, JENNIFER S.
114 S. 22ND AVENUE
HATTIESBURG, MS 39401                                P‐0018621 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, GREGORY C.
2023 DAY ST
ANN ARBOR, MI 48104                                  P‐0018622 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, BLAIR L.
CLARK, BRENT L.
8174 TECOPA WAY
SACRAMENTO, CA 95828                                 P‐0018623 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, ALBERTO
314 WEST 9TH STREET
MULESHOE, TX 79347                                   P‐0018624 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTERS, TOMMY‐RAY
WALTERS, MACIA J.
5690 BALKAN CT.
FORT MYERS, FL 33919                                 P‐0018625 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANDFORD, PATRICK
BLANDFORD, PATRICK
7531 22ND AVE NW
SEATTLE, WA 98117                                    P‐0018626 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KWAN, APRIL
1745 NORIEGA STREET
SAN FRANCISCO, CA 94122                              P‐0018627 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUEVANOS, RODOLFO
1047 DRAGT PL.
ESCONDIDO, CA 92029                                  P‐0018628 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEST, PHYLLIS D.
P.O. BOX 485
BESSEMER, AL 35021                                   P‐0018629 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, THOMAS F.
1010 HAMMOND STREET, APT. 314
WEST HOLLYWOOD, CA 90069                             P‐0018630 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FARRAR, THOMAS C.
1699 ARCHER ROAD
SAN MARCOS, CA 92078                                 P‐0018631 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDOWALL, ROBERTA A.
13950 E. OXFORD PL.
APT A‐312
AURORA, CO 80014                                     P‐0018632 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, LYNDA K.
5438 DOVEREL HWY
DAWSON, GA 39842                                     P‐0018633 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EHRLICHMAN, MARK F.
BOOK‐EHRLICHMAN, JUDITH
8684 ASHBURY CT
BLAINE, WA 98230                                     P‐0018634 11/7/2017      TK Holdings Inc., et al .                       $51.84                                                                                       $51.84
FOLMER, KAREN
FOLMER, ALEXANDER
P.O. BOX 1431
MARTINSBURG, WV 25402                                P‐0018635 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUDRO, JOHN
939 PALMER AVE.
CAMARILLO, CA 93010                                  P‐0018636 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASLYANKA, ANATOLY
668 FIFTEEN MILE DRIVE
ROSEVILLE, CA 95678                                  P‐0018637 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, KUANG LI
5683 CONISTON WAY
SAN JOSE, CA 95118‐3518                              P‐0018638 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIGALI, CINDY
1622 PALM STREET
HENDERSON, NV 89011                                  P‐0018639 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JASAITIS, AMANDA M.
JASAITIS, TIMOTHY R.
4631 N MALDEN STREET
APT 3N
CHICAGO, IL 60640                                    P‐0018640 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, ALBERTO
314 W 9TH STREET
MULESHOE, TX 79347                                   P‐0018641 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELZER, JOEL
5585 LANTANA DR
COLORADO SPRINGS, CO 80915                           P‐0018642 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEVERUNGEN, JOHN E.
2135 BELFAST ROAD
SPARKS, MD 21152                                     P‐0018643 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELZER, JOEL
HELZER, MEGHAN
5585 LANTANA DR
COLORADO SPRINGS, CO 80917                           P‐0018644 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLECK, WILHELM R.
110 PLEASANT VIEW DRIVE
WISCONSIN RAPIDS, WI 54494                           P‐0018645 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, CHARLES M.
COLLINS, HERTA
1607 DEL ORO DRIVE
LA CANADA, CA 91011                                  P‐0018646 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
LEE, KUANG LI
5683 CONISTON WAY
SAN JOSE, CA 95118‐3518                               P‐0018647 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DIANA R.
1399 JEREZ CT
HAYWARD, CA 94544                                     P‐0018648 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, DENNIS J.
DIXON, MARY K.
5434 S 163RD ROAD
BRIGHTON, MO 65617                                    P‐0018649 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MARK E.
SMITH, VICTORIA S.
6960 GLEN ARBOR DRIVE
FLORENCE, KY 41042                                    P‐0018650 11/7/2017      TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
URIBE, DEETTE M.
4309 BIRCHWOOD AVENUE
SEAL BEACH, CA 90740                                  P‐0018651 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECARO, RYAN
3626 SMALLMAN ST
PITTSBURGH, PA 15201                                  P‐0018652 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, PAMELA A.
4173 VIA SOLANO
PALOS VERDES EST, CA 90274                            P‐0018653 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LLOYD, ANDREW M.
2070 KAMLA RD
LEWISVILLE, TX 75067                                  P‐0018654 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LATOURETTE, GEORGE
106 WOODS RD
PORT JERVIS, NY 12771                                 P‐0018655 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TREADAWAY SR., DAVID L.
51 RIDGEWAY LN
CARRIERE, MS 39426                                    P‐0018656 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALDWORTH, ALEXANDER S.
675 GREENWOOD AVE NE
#113
ATLANTA, GA 30306                                     P‐0018657 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNOLDS, RICK A.
REYNOLDS, SADIEBEE B.
12500 GRISTMILL COVE
AUSTIN, TX 78750                                      P‐0018658 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TODD, MARSHA B.
24542 HILLIARD BLVD.
WESTLAKE, OH 44145                                    P‐0018659 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASLYNKA, ANATOLY
668 FIFTEEN MILE DRIVE
ROSEVILLE, CA 95678                                   P‐0018660 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAFAEL, MICHELLE D.
21 SOUTH BARNEY ROAD
CLIFTON PARK, NY 12065                                P‐0018661 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACDONALD, BRIAN K.
6 PICADILLY CIRCLE
LONDONDERRY, NH 03053                                 P‐0018662 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WHITTERS, PAUL J.
WHITTERS, JERRI R.
WHITTERS LANDSCAPING INC
1345 FALCON AVE NW
P.O. BOX 134
SWISHER, IA 52338                                     P‐0018663 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLASSEN, RAYMOND B.
7589 SYLVAN CREEK COURT
CITRUS HEIGHTS, CA 95610                              P‐0018664 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAAKO, RAINA M.
RL PHOTOGRAPHY
429 HUBBARD RD
LYNNWOOD, WA 98036                                    P‐0018665 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOYLE, CAITLIN A.
CAITLIN DOYLE
3945 MOSS ROSE DR
NASHVILLE, TN 37216                                   P‐0018666 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINGS, STEPHEN P.
COLLINGS, ANN E.
16790 WILD PLUM CIRCLE
MORRISON, CO 80465                                    P‐0018667 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DERAMOS, JOSEPH A.
317 HARRISON ST
UNIT 1W
OAK PARK, IL 60304                                    P‐0018668 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAXTON, DAVID
4543 BELITA LANE
LA CANADA FLINTR, CA 91011‐3714                       P‐0018669 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LATOURETTE, GEORGE
TOYOTA FINANCIAL
106 WOODS ROAD
PORT JERVIS, NY 12771                                 P‐0018670 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AIREY, RONALD M.
2014 FLOURMILL COURT
CROWNSVILLE, MD 21032                                 P‐0018671 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITTERS, PAUL J.
JERRI R
WHITTERS LANDSCAPING INC
1345 FALCON AVE NW
P.O. BOX 134
SWISHER, IA 52338                                     P‐0018672 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEMENTONI, BRIAN J.
4304 BERKLEY STREET
HARRISBURG, PA 17109                                  P‐0018673 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RINALDI, MARCY A.
RINALDI, NICOLINA
4139 EASY CIR
NAPERVILLE, IL 60564                                  P‐0018674 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAXTON, DAVID
4543 BELITA LANE
LA CANADA FLINTR, CA 91011‐3714                       P‐0018675 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIETZ, VICTOR H.
1700 NW 84TH DRIVE
CORAL SPRINGS, FL 33071                               P‐0018676 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PECSON, SHAMIRE SALAVDOR C.
87‐1550 FARRINGTON HWY.
APT. D5
WAIANAE, HI 96792                                    P‐0018677 11/7/2017      TK Holdings Inc., et al .                    $1,909.00                                                                                    $1,909.00
RUSS, EDMOND V.
RUSS, TENA L.
635 E ILLINOIS RD
LAKE FOREST, IL 60045                                P‐0018678 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MINATO, STEPHANIE
PITZER, HEIKO
614 SW 181ST PLACE
NORMANDY PARK, WA 98166                              P‐0018679 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAJARDO, FLORENCE F.
BARROGA, JR., ERMIE P.
98‐1442 HOOHONUA STREET
PEARL CITY, HI 96782                                 P‐0018680 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRITIS, HEATHER E.
GRITIS, KENNETH W.
1315 W. HOVEY AVENUE
APT 79
NORMAL, IL 61761                                     P‐0018681 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDEN, PATRICK
814 CLOVERVIEW DRIVE
GLENDORA, CA 91741                                   P‐0018682 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILNER, MICHAEL R.
255 E. TEMPLE ST.
CHAMBERS ROOM 560
LOS ANGELES, CA 90012                                P‐0018683 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, STEPHANIE E.
2630 SCHIRM LOOP RD NW
OLYMPIA, WA 98502‐9633                               P‐0018684 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALL‐BOYCE, BRITTANY A.
6251 RICK ST
#292
YPSILANTI, MI 48197                                  P‐0018685 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, LISA A.
1901 GREENFIELD LN. SW
ROCHESTER, MN 55902                                  P‐0018686 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASLYANKA, ANATOLY
668 FIFTEEN MILE DRIVE
ROSEVILLE, CA 95678                                  P‐0018687 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STONE, PATRICIA L.
3337 MERSHON DRIVE
MURFREESBORO, TN 37128                               P‐0018688 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROETH, JOHN W.
ROETH, PAMELA S.
415 SONDLEY WOODS PL
ASHEVILLE, NC 28805                                  P‐0018689 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNORR, RAMONA
RAMONA KNORR
8815 STEEPLECHASE DRIVE
KNOXVILLE, TN 37922                                  P‐0018690 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHATKU, ADRIAN
6 MOCKINGBIRD DRIVE
COLTS NECK, NJ 07722                                 P‐0018691 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
LAPITAN, FANNY I.
433 MONTEREY ROAD
PACIFICA, CA 94044                                    P‐0018692 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCMAHON, PATRICIA A.
SMART, MICHAEL J.
15650 VIA CASTANA
MORGAN HILL, CA 95037                                 P‐0018693 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLINA, DIANE V.
5881 TOPAZ CT.
FONTANA, CA 92336                                     P‐0018694 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, RINA A.
CAMPBELL, ROBERT P.
200 CASTLETOWN ROAD
LUTHERVILLE, MD 21093                                 P‐0018695 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, GREGORY
16746 EVANS AVE
SOUTHHOLLAND, IL 260473                               P‐0018696 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANGSTER, VICKY L.
2275 ORBIT CT #166
MELBOURNE, FL 32904                                   P‐0018697 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHATKU, ADRIAN
6 MOCKINGBIRD DRIVE
COLTS NECK, NJ 07722                                  P‐0018698 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, ALICIA J.
TAYLOR, RICHARD S.
25717 72ND AVE E
GRAHAM, WA 98338                                      P‐0018699 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAMMELL, WILLIE L.
2420 MANZANA WAY
SAN DIEGO, CA 92139                                   P‐0018700 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MCTIGUE, MARTIN
MCTIGUE, BARBARA
34 EMPTY SADDLE LANE
ROLLING HILLS ES, CA 90274                            P‐0018701 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONVERSE, KRISTI L.
421 CONSUELO DR
SANTA BARBARA, CA 93110                               P‐0018702 11/7/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
GRAY, TAMIEKA
3206 VIENNA WOODS DRIVE
CINCINNATI, OH 45211                                  P‐0018703 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANGHLYN, WANDA J.
P O BOX 763953
DALLAS, TX 75376                                      P‐0018704 11/7/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
SHATKU, ADRIAN
6 MOCKINGBIRD DRIVE
COLTS NECK, NJ 07722                                  P‐0018705 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOODY, LOUIS P.
36 HUALILILI STREET
HILO HAWAII 9672                                      P‐0018706 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLEHER, WILLIAM J.
2158 LA CANADA CREST DR #4
LA CANADA, CA 91011                                   P‐0018707 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, WENDY A.
2203 RESERVIOR ST. APT. 6
LOS ANGELES, CA 90026                                 P‐0018708 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SHATKU, ADRIAN
6 MOCKINGBIRD DRIVE
COLTS NECK, NJ 07722                                P‐0018709 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELESKI, PAUL A.
508 CLOVER LEAF LANE
MCKINNEY, TX 75070                                  P‐0018710 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
D'AQUILA, KENNY L.
523 N. FREDERIC STREET
BURBANK, CA 91505                                   P‐0018711 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, SARAH K.
WILSON , LLOYD E.
1412 COUNTY ROAD 2
MONTEVALLO, AL 35115                                P‐0018712 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORTES, AUBRIE
PAUL, ELIZABETH
10408 HANNA AVE
CHATSWORTH, CA 91311                                P‐0018713 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHATKU, ADRIAN
6 MOCKINGBIRD DRIVE
COLTS NECK, NJ 07722                                P‐0018714 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEMP, MEOSHIA D.
135 S TANGLEWOOD DR
MINDEN, LA 71055                                    P‐0018715 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JULL, EARL F.
555 GOLD CREEK RD NW
BREMERTON, WA 98312                                 P‐0018716 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENNIS, KRISTEN A.
2289 HUMMINGBIRD STREET
CHULA VISTA, CA 91915                               P‐0018717 11/7/2017      TK Holdings Inc., et al .                     $150.00                                                                                       $150.00
GABLE, JORDAN
24 CROWN LANE
WESTBURY, NY 11590                                  P‐0018718 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHATKU, ADRIAN
6 MOCKINGBIRD DRIVE
COLTS NECK, NJ 07722                                P‐0018719 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUMANN, WALKER
HILLINGER, SHANNON
1228 23RD AVE E
SEATTLE, WA 98112                                   P‐0018720 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICKENS, ANDREW
250 SELBY LANE
ATHERTON, CA 94027                                  P‐0018721 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GULYAS, RUBY M.
25164 TARA LANE
BROWNSTOWN, MI 48134‐9077                           P‐0018722 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, EDWARD T.
200 SOUTH HIGH STREET
COLUMBUS, OH 43215                                  P‐0018723 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRK, ASHLEY
KIRK, ROBERT
182 JOAQUIN DRIVE
DANVILLE, CA 94526                                  P‐0018724 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDENRING, JANE
4431 BEN AVE.
VALLEY VILLAGE, CA 91607                            P‐0018725 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
JULL, EARL F.
555 GOLD CREEK RD NW
BREMERTON, WA 98312                                  P‐0018726 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SORELLI, JULIANA
1750 N SERRANO AVE
#402
LOS ANGELES, CA 90027                                P‐0018727 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, LINDA J.
FIRST CITY CREDIT UNION
16 COUNTRY RIDGE ROAD
POMONA, CA 91766                                     P‐0018728 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHATKU, ADRIAN
6 MOCKINGBIRD DRIVE
COLTS NECK, NJ 07722                                 P‐0018729 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARLICK, WILLIAM
WARLICK, KATHY
3490 WILSON OVERALL RD
MURFREESBORO, TN 37127                               P‐0018730 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKNIGHT, AMY J.
3959 TANGLEWOOD DR
HOPKINSVILLE, KY 42240                               P‐0018731 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRK, ASHLEY K.
182 JOAQUIN DRIVE
DANVILLE, CA 94526                                   P‐0018732 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVILA, MARY E.
AVILA, TOMAS M.
35 HERITAGE AVE
VLOVIS, CA 93619                                     P‐0018733 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAINEA, BEN A.
ZAINEA, HEATHER L.
2476 BLACKBERRY LANE NE
GRAND RAPIDS, MI 49525                               P‐0018734 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JULL, EARL F.
555 GOLD CREEK RD NW
BREMERTON, WA 98312                                  P‐0018735 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRK, ASHLEY
KIRK, ROBERT
182 JOAQUIN DRIVE
DANVILLE, CA 94526                                   P‐0018736 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOLTZ, RAYMOND B.
FOLTZ, PATRICIA A.
24823 PEACH KNOLL LN
KATY, TX 77494                                       P‐0018737 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALSH, JAMES A.
28 MONTVIEW AVE
WALTHAM, MA 02451                                    P‐0018738 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORES, RONALD J.
5217 LEDGEWOOD RD
SOUTH GATE, CA 90280                                 P‐0018739 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARLICK, WILLIAM
WARLICK, KATHY
3490 WILSON OVERALL RD
MURFREESBORO, TN 37127                               P‐0018740 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HALAJIAN, CHANTAL
6816 VALMONT ST
APT G
TUJUNGA, CA 91042                                   P‐0018741 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOREY, DOUG N.
157 DUTCH RD
WEST MONROE, NY 13167                               P‐0018742 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, KERON O.
415 COLUMBUS AVENUE
TRENTON, NJ 08629                                   P‐0018743 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, JENO
2125 TALBOT ST
TOLEDO, OH 43613                                    P‐0018744 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODDELL, LARRY
1395 COUNTY ROAD 10
RIDGWAY, CO 81432                                   P‐0018745 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAUTENBACH, DAVID M.
10733 WHITE TAIL RUN
ORLAND PARK, IL 60467                               P‐0018746 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, DANEESE U.
69 23RD AVENUE
EASTMAN, GA 31023                                   P‐0018747 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMONYI, PAUL
836 HARMAN WAY S #1
ORTING, WA 98360                                    P‐0018748 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARLICK, WILLIAM
WARLICK, KATHY
3490 WILSON OVERALL RD
MURFREESBORO, TN 37127                              P‐0018749 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICOLETTI, YVONNE C.
6255 BECK AVE
#117
NORTH HOLLYWOOD, CA 91606                           P‐0018750 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IDIAQUEZ, SASKIA Y.
3147 LORETTO RD
JACKSONVILLE, FL 32223                              P‐0018751 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BILUS, ELIZABETH N.
370 SOUTH AVENUE
NEW CANAAN, CT 06840                                P‐0018752 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWEN, ALISO E.
5205 36TH AVE E
TACOMA, WA 98443                                    P‐0018753 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, JENO
2125 TALBOT ST
TOLEDO, OH 43613                                    P‐0018754 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VELAZQUEZ PEÑA, LOYDA M.
P.O. BOX 584
LAS PIEDRAS, PR 00771                               P‐0018755 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPIESS, CRAIG W.
SPIESS, KATHLEEN D.
210 BELMONT COURT
REDLANDS, CA 92373                                  P‐0018756 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GULYAS JR., ROBERT A.
ROBERT A GULYAS JR.
25164 TARA LANE
BROWNSTOWN, MI 48134‐9077                           P‐0018757 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
NCT AUTO HOLDING LLC
11621 KEW GARDENS AVENUE
SUITE 109
PALM BEACH GARDE, FL 33410                           P‐0018758 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, MARK A.
10385 S. HOLLIS LANE
OLATHE, KS 66061                                     P‐0018759 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRASSEL, JAY A.
450 CAROTHERS AVE
APT. 1
CARNEGIE, PA 15106                                   P‐0018760 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELRICCO, PETER D.
DELRICCO, HELEN A.
PETER D. DELRICCO
115 WELLINGTON DRIVE
STATE COLLEGE, PA 16801                              P‐0018761 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAN, DAROW
6378 W. 6TH ST.
LOS ANGELES, CA 90048                                P‐0018762 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLORADO LENDING INC.
6851 SOUTH HOLLY CIRCLE
SUITE 280
CENTENNIAL, CO 80112                                 P‐0018763 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWE, JUNE C.
129 PIN OAK COURT
ATHENS, GA 30606                                     P‐0018764 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LABORDE, BRIGETTE A.
5835 HANNAH DR.
ALEXANDRIA, LA 71303                                 P‐0018765 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLOWAY, CADERIUS L.
6000 HACIENDA DR
N. LITTLE ROCK, AR 72118                             P‐0018766 11/7/2017      TK Holdings Inc., et al .                    $7,775.00                                                                                    $7,775.00
BLACK CADILLAC LLC
11621 KEW GARDENS AVENUE
SUITE 109
PALM BEACH GARDE, FL 33410                           P‐0018767 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAPOR, LINDA M.
120 ALBANY AVE FL 3
NEW BRITAIN, CT 06053                                P‐0018768 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EHRMAN, ADAM N.
2817 COVERED WAGON TRAIL
SPRINGFIELD, IL 62711                                P‐0018769 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTHY, DONALD F.
36 EL ARCO DRIVE
SANTA BARBARA, CA 93105                              P‐0018770 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
HING, STUART L.
HING, RHODA B.
1443 STONEHEDGE DRIVE
PLEASANT HILL, CA 94523                              P‐0018771 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAPIEN, JAMES A.
2567 WENNING RD
CINCINNATI, OH 45231                                 P‐0018772 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCIC, FRANO
501 ELAINE DRIVE
PITTSBURGH, PA 15236                                 P‐0018773 11/7/2017      TK Holdings Inc., et al .                    $6,141.69                                                                                    $6,141.69


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
HANSON, LAURA E.
3228 W HORIZON DR
PHOENIX, AZ 85086                                     P‐0018774 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGE, CARRIE L.
759 COLLEGE AVE NE
GRAND RAPIDS, MI 49503                                P‐0018775 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERSTENFELD, MARGE A.
8233 STATION VILLAGE LN
UNIT 2307
SAN DIEGO, CA 92108                                   P‐0018776 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUTIERREZ, ANTONIO F.
2631 TRINITY FALLS
SAN ANTONIO, TX 78261                                 P‐0018777 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RADER, ADAM M.
3 MAPLEWOOD PLACE
KEARNEY, NE 68847                                     P‐0018778 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIEGO3, MARIANNE
5932 E LOS ANGELES AVE
#31
SIMI VALLEY, CA 93063                                 P‐0018779 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARDENAS, ROSE MARY
832 S BRIARGATE LANE
GLENDORA, CA 91740                                    P‐0018780 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILBERT, LAURIE S.
728 NAVARRE AVENUE
NEW ORLEANS, LA 70124                                 P‐0018781 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WISE, KERRY R.
800 OAK STREET
HASTINGS, MN 55033                                    P‐0018782 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YUSHKO, MAXIM
5318 FEAGAN ST.
HOUSTON, TX 77007                                     P‐0018783 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORHAM, LARRY W.
GORHAM, SHIRLEY M.
6097 BLACKJACK RD
FRANKLIN, KY 42134                                    P‐0018784 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLLNICK, KIMBERLY A.
2080 W. VINEYARD ST.
WAILUKU, HI 96793                                     P‐0018785 11/7/2017      TK Holdings Inc., et al .                     $187.41                                                                                       $187.41
WISE, ROBERT D.
800 OAK STREET
HASTINGS, MN 55033                                    P‐0018786 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTLEY, AMBER D.
2369 N BUENA DRIVE
MOBILE, AL 36605                                      P‐0018787 11/7/2017      TK Holdings Inc., et al .                    $1,560.00                                                                                    $1,560.00
DUVANCED, CAROLINA
118 W 930 N
OREM, UT 84057                                        P‐0018788 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACROY, MATTHEW R.
206 JAVIER DRIVE
DEL RIO, TX 78840                                     P‐0018789 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWLING, ANGELICA H.
BOWLING, DENNIS O.
WELLS FARGO
61 SPENCER STREET
LYONS, NY 14489                                       P‐0018790 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
                                                                                            Page 1452 of 3875
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MILDOR, YOLETTE
1468 ASHBY DRIVE
LEWISVILLE, TX 75067                                P‐0018791 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEHAVEN, BETH A.
839 SUNCHASE DR.
FORT COLLINS, CO 80524                              P‐0018792 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINDSAY‐HEWETT, SCOTT A.
4758 NORMA DRIVE
SAN DIEGO, CA 92115                                 P‐0018793 11/7/2017      TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
WISE, ROBERT D.
800 OAK STREET
HASTINGS, MN 55033                                  P‐0018794 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY‐GIBBS, MITCHELL
489 WASHINGTON DR
JONESBORO, GA 30238                                 P‐0018795 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNES, CHRISTOPHER J.
1930 W.SAN MARCOS BLVD,.
SPACE 366
SAN MARCOS, CA 92078                                P‐0018796 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAPCIAK, STEVE J.
7429 GRATIOT AVE.
SAINT CLAIR, MI 48079                               P‐0018797 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALCARO, MICHAELE
1630 WYOMING AVE
SCRANTON, PA 18509                                  P‐0018798 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WISE, ROBERT D.
800 OAK STREET
HASTINGS, MN 55033                                  P‐0018799 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITCHHORN, KATHLEEN H.
FITCHHORN, HENRY C.
1529 TEMPLE HEIGHTS DR
OCEANSIDE, CA 92056                                 P‐0018800 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, JEANETTA
4301 AIRPORT BLVD A
MOBILE, AL 36608                                    P‐0018801 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLVATION SERVICES
616 ORLEANS AVENUE
NEW IBERIA, LA 70563                                P‐0018802 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KESSLER, KENDALL A.
1240 HEARTWOOD DR.
ROHNERT PARK, CA                                    P‐0018803 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTE, NASTASHA N.
3300 UNION DEPOSIT ROAD
APT F202
HARRISBURG, PA 17109                                P‐0018804 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ MONTAR, HERIBERTO
1021 W STOWELL RD
SANTA MARIA, CA 93458                               P‐0018805 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVILA, ROBERT
AVILA, ROBERT
2451 KOA DR
RIALTO, CA 92377                                    P‐0018806 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOPRYCH, PATRICIA J.
9240 GROSS POINT RD
#305
SKOKIE, IL 60077                                    P‐0018807 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
                                                                                          Page 1453 of 3875
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MADDEN, TOM H.
10141 3RD STREET N.E.
BLAINE, MN 55434                                    P‐0018808 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBERTSON, DAVID J.
4832 PUGET BLVD. SW
SEATTLE, WA 98106                                   P‐0018809 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TARVIN, PENNY
104 CLEVE ST
GULFPORT, MS 39503                                  P‐0018810 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOWERS, FREDERICKA J.
4613 OAK HILL RD.
CHAPEL HILL, NC 27514                               P‐0018811 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANGWAY, NANCY J.
370 ROUTE 28
HARWICHPORT, MA 02646                               P‐0018812 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOBIERALSKI, RONALD J.
SOBIERALSKI, LINDA P.
45 OXFORD AVE
YONKERS, NY 10710                                   P‐0018813 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOROSPE, MICHAELCARL
741 E EL MORADO CT
ONTARIO, CA 91764                                   P‐0018814 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REIDEL, MLORI
3195 NORTH FARMCREST DRIVE
CINCINNATI, OH 45213‐1111                           P‐0018815 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUTRONE, SUZANNE
2214 N 26 AVE
HOLLYWOOD, FL 33020                                 P‐0018816 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
WANG, SHUAI
2988 GRASSINA ST 621
SAN JOSE, CA 95136                                  P‐0018817 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, STEPHANIE A.
N1174 PINE RD.
GENOA CITY, WI 53128                                P‐0018818 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATERS, MIKE
AUTO CLUB NW LLC
100 ANDOVER PARK W
150‐255
TUKWILA, WA 98188                                   P‐0018819 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOTO, AIDA I.
10038 RIVERS TRAIL DR.
ORLANDO, FL 32817                                   P‐0018820 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALONTAY, JEROME J.
13645 BASS LAKE RD.
CHARDON, OH 44024                                   P‐0018821 11/7/2017      TK Holdings Inc., et al .                     $440.06                                                                                       $440.06
LANGFORD, DARRYL
110 EDGEWATER TRAIL
FAYETTEVILLE, GA 30215                              P‐0018822 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEAGUE, DONALD J.
TEAGUE, SUZANNE
66 MAGRATH DRIVE
BELLA VISTA, AR 72715                               P‐0018823 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUTRONE, SUZANNE
2214 NORTH 26 AVE
HOLLYWOOD, FL 33020                                 P‐0018824 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FOSTER, GREGORY
16746 EVANS AVE
SOUTHHOLLAND, IL 60473                               P‐0018825 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHILDS, LYNDA M.
RICHMOND, ZACHARY J.
4853 BUTTERCUP WAY
SUMMERVILLE, SC 29485                                P‐0018826 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRENNER, LAURI
GRENNER, DEVYN
3103 LA CASA COURT
THOUSAND OAKS, CA 91362‐4912                         P‐0018827 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATERS, MIKE
AUTO CLUB NW LLC
100 ANDOVER PARK W
150‐255
TUKWILA, WA 98188                                    P‐0018828 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOULDER, LINDA
P. O. BOX 3159
DURANGO, CO 81302                                    P‐0018829 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JUDY
4248 W. 77TH. STREET
APT.#103
CHICAGO 60652                                        P‐0018830 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANGFORD, DARRYL
110 EDGEWATER TRAIL
FAYETTEVILLE, GA 30215                               P‐0018831 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENT, DEBRA J.
17 NICHOL LANE
NASHUA, NH 03062                                     P‐0018832 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLTZMAN, JED
847 SCOTT ST.
SAN FRANCISCO, CA 94117                              P‐0018833 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANNIGAN, JESSICA K.
4834 RURAL RD. SW APT. 307
TUMWATER, WA 98512                                   P‐0018834 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARPENTER, KAREN L.
6615 ORION AVE
VAN NUYS, CA 91406                                   P‐0018835 11/7/2017      TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
HELAL, ANNE
3916 MAGGIES MEADOW
DENTON, TX 76210                                     P‐0018836 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTERN CORRECTIONAL CORP
P.O. BOX 104
ARCHIBALD, LA 71218                                  P‐0018837 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LADEN, MYRNA J.
28‐55 BELL BLVD
BAYSIDE, NY 11360                                    P‐0018838 11/7/2017      TK Holdings Inc., et al .                    $9,030.00                                                                                    $9,030.00
LANGFORD, DARRYL
110 EDGEWATER TRAIL
FAYETTEVILLE, GA 30215                               P‐0018839 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COONTS, VICKIE
COONTS, DONALD
1703 SE 84TH CT
VANCOUVER, WA 98664                                  P‐0018840 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
JE;A;, KASPM
3916 MAGGIES MEADOW
DENTON, TX 76210                                      P‐0018841 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLER, KAREN A.
332 LOCUST STREET
ROARING SPRING, PA 16673                              P‐0018842 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, BAILEY
P.O. BOX 104
ARCHIBALD, LA 71218                                   P‐0018843 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOK, PHILIP G.
COOK, JENNIFER N.
205 NOTTOWAY DR
MANDEVILLE, LA 70471                                  P‐0018844 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOPE, STEVEN K.
218 SHADY OAKS CIR
LAKE MARY, FL 32746                                   P‐0018845 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATERS, MIKE
2608 2ND AVE
UNIT 234
SEATTLE, WA 98121                                     P‐0018846 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANGFORD, DARRYL
110 EDGEWATER TRAIL
FAYETTEVILLE, GA 30215                                P‐0018847 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSH, BRENT E.
11821 MAGNOLIA BLVD. APT 1
VALLEY VILLAGE, CA 91607                              P‐0018848 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TATASCIORE, SHEILA M.
111 WEST LYNNWOOD STREET
ALLENTOWN, PA 18103                                   P‐0018849 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OBILICHETTI, BABU R.
OBILICHETTI, NAGA L.
36 WATCHUNG DR.
BASKING RIDGE, NJ 07920‐4240                          P‐0018850 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES/MATTOX, EMMA M.
1104 CURRY CIRCLE
P.O. BOX 1159
LINCOLNTON, GA 30817                                  P‐0018851 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOURVILLE‐THILL, MIRANDA M.
16540 MANKATO ST NE
HAM LAKE, MN 55304                                    P‐0018852 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAFFAELE, SHERRI M.
2002 STONEMONT FARM
KESWICK, VA 22947                                     P‐0018853 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOOKS, DANYLL R.
1847 E NANCY LANE
PHOENIX, AZ 85042                                     P‐0018854 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REKUC, SUE A.
615 SCARLET OAK TRAIL
MILTON, GA 30004‐0914                                 P‐0018855 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHARYN, REBECCA A.
CHARYN, DAVID J.
122 RANDALL STREET
SAN FRANCISCO, CA 94131                               P‐0018856 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVENPORT, CHRISTINE
15845 NW MORGAN ST
PLATTE CITY, MO 64079                                 P‐0018857 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WEBSTER, TREVOR J.
1617 GRANVIEW DRIVE
QUINCY, IL 62301                                      P‐0018858 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAJERSKI, ANNMARGARET
36750 US HWY 19N
#3080
PALM HARBOR, FL                                       P‐0018859 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLIATH, ADAM P.
269 VIOLET AVE
SAN MARCOS, CA 92078                                  P‐0018860 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LASSLETT, JONATHAN H.
17 ORCHARD DRIVE
VERNON, NJ 07462                                      P‐0018861 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARLAY, JAMES L.
3320 ‐ 155TH AVE
OTTUMWA, IA 52501                                     P‐0018862 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUDDERTH, JOHN
9504 ARBOR LANE
RIVER RIDGE, LA 70123                                 P‐0018863 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOK, PHILIP G.
COOK, JENNIFER N.
205 NOTTOWAY DR
MANDEVILLE, LA 70471                                  P‐0018864 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MESTEMACHER, ALICE M.
256 A GREEN MEADOW DR.
WATSONVILLE, CA 95076                                 P‐0018865 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAPIEN, JAMES A.
2567 WENNING RD
CINCINNATI, OH 45231                                  P‐0018866 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARELA, EDWARD
NO ADDRESS PROVIDED
                                                      P‐0018867 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISHOP, APRIL M.
1711 CATON RIDGE DRIVE
PLAINFIELD, IL 60586                                  P‐0018868 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUTISTA, GWENDOLYN B.
6314 15TH STREET
CHESAPEAKE BEACH, MD 20732                            P‐0018869 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LILLY, JOSHUA H.
2901 BERTLAND AVE. APT. 1131
DURHAM, NC 27705                                      P‐0018870 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLSAPPLE, GARY T.
6762 GOLFCREST DRIVE
SAN DIEGO, CA 92119                                   P‐0018871 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENAVIDEZ, RAYMOND J.
BENAVIDEZ, RAYMOND
                                                      P‐0018872 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUFFMAN, TRACEY D.
HUFFMAN, GERALD R.
1653 PALMYRITA AVE
RIVERSIDE, CA 92507                                   P‐0018873 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, EMORY M.
401 3RD STREET
SAN FRANCISCO, CA 94107                               P‐0018874 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MATTKE, KATHY
MATTKE, CRAIG
19005 WINDWARD CT
SMITHVILLE, MO 64089                                 P‐0018875 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AYRES, LOLITA
3745 E SANDPIPER DR
APT # 3
BOYNTON BEACH, FL 33436                              P‐0018876 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCLUNG, OLIVER W.
7732 BALDWIN AVE.
LINCOLN, NE 68507                                    P‐0018877 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUENYE, DAVID
PUNEYE, ROSARIO
212 PLAZA VERDE DR APT F27
HOUSTON, TX 77038                                    P‐0018878 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COWELL, BAMBI L.
2347 PASEO SAUCEDAL
CARLSBAD, CA 92009                                   P‐0018879 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANELL, BENJAMIN J.
1008 S DE ANZA BLVD
APT J201
SAN JOSE, CA 95129                                   P‐0018880 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, STACIE L.
3504 FILLMORE ST
MINOT, ND 58701                                      P‐0018881 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISCHER RODRIGUE, CLAUDIA A.
626 GOLDEN EAGLE ST NW
SALEM, OR 97304‐4271                                 P‐0018882 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KVALSETH, TARALD O.
KVALSETH, AMY V.
4980 SHADY ISLAND CIRCLE
MOUND, MN 55364                                      P‐0018883 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRUAX, EDWARD E.
19205 SW 55TH COURT
TUALATIN, OR 97062                                   P‐0018884 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUCKABY, JUSTIN R.
850 RICHLAND EAST DRIVE
RICHLAND, MS 39218                                   P‐0018885 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VON BONIN, SIEGFRIED Q.
11 FOSTER LANE
WESTHAMPTON BEAC, NY 11978                           P‐0018886 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAXTON, LARRY G.
959 N MAIN STREET
LOUISBURG,, NC 27549                                 P‐0018887 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SULEIMAN, KHALED H.
1129 LONG POND ROAD
ROCHESTER, NY 14626                                  P‐0018888 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN STRATEN, TONYA L.
W7473 PARK AVE
SHIOCTON, WI 54170                                   P‐0018889 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, PAM
8364 SHINTAFFER ROAD
BLAINE, WA 98230                                     P‐0018890 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
STEWARD, RONALD K.
STEWARD, ERIN E.
7514 LA PORTE RD
RACKERBY, CA 95972                                    P‐0018891 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRISON, DOROTHY L.
2205 COLONIAL DRIVE
PLANO, TX 75093                                       P‐0018892 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANE, APRYL M.
35802 TOLEDO COURT
FREMONT, CA 94536                                     P‐0018893 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUTIERREZ, ANGELICA
410 MAGNOLIA DR
NORTH AURORA, IL 60542                                P‐0018894 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISCHER RODRIGUE, CLAUDIA A.
626 GOLDEN EAGLE STREET NW
SALEM, OR 97304‐4271                                  P‐0018895 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, DAVID D.
1945 GREEN ST
SAN FRANCISCO, CA 94123                               P‐0018896 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, XIAOJIAN
QIAN, YUDONG
771 SHADY GROVE LN
BUFFALO GROVE, IL 60089                               P‐0018897 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, BERNARDO
DRUMMOND, ASHLEY
11410 WONDERLAND TRAIL
DALLAS, TX 75229                                      P‐0018898 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRERO, CARLOS
1 STRAWBERRY CT
CLIFTON PARK, NY 12065                                P‐0018899 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBERT, DAVID B.
1830 N HUDSON AVE
UNIT A
CHICAGO, IL 60614                                     P‐0018900 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOGDANOFF, EMILY R.
2611 TERRACE DRIVE
HONOLULU, HI 96822                                    P‐0018901 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEDDIE, JULIE L.
144 SE COUNTY ROAD 3046
CORSICANA, TX 75109                                   P‐0018902 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASON, GEORGE E.
606 LAKESCAPE CT
ORLANDO, FL 32828                                     P‐0018903 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILHOAN, JACLYN M.
9152 FERMI AVE
SAN DIEGO, CA 92123                                   P‐0018904 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACKARD, SANDRA L.
P.O. BOX 475
KENO
, OR 97627                                            P‐0018905 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JERNIGAN, GLORIA
P.O. BOX 30076
LOS ANGELES, CA 90030                                 P‐0018906 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIESTY, DAVID F.
40 KNOX PL
STATEN ISLAND, NY 10314                               P‐0018907 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PIERING, SUZANNE M.
759 YOUNGS CORNERS RD
AMSTERDAM, NY 12010                                  P‐0018908 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENEDICT, JOY B.
BENEDICT JR, THOMAS M.
1530 WAGONWHEEL RD
MIDLOTHIAN, VA 23113                                 P‐0018909 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUZ, CARLOS L.
10446 MEADOW SPRING DR
TAMPA, FL 33647                                      P‐0018910 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNEY, TONYA T.
3713 GREENFORD ST
VALRICO, FL                                          P‐0018911 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN‐VENTURA, CHI
AUTOMEDIC, INC.
1665 SISTERS CT NW
SALEM, OR 97304                                      P‐0018912 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONDERMAN, LAUREN
3201 W 82ND STREET
LEAWOOD, KS 66206                                    P‐0018913 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATRICK, CATHERINE M.
1071 ARDMORE ST.
RIVERSIDE, CA 92507                                  P‐0018914 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN‐VENTURA, CHI
AUTOMEDIC, INC.
1665 SISTERS CT NW
SALEM, OR 97304                                      P‐0018915 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, TREVOR P.
813 WINDERMERE DR
CLARKSVILLE, TN 37043                                P‐0018916 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAWLINGS, CHISA
412 BARRINGTON OAKS CIRCLE
ROSWELL, GA 30075                                    P‐0018917 11/7/2017      TK Holdings Inc., et al .                    $5,017.50                                                                                    $5,017.50
PENNINGER, FRANK A.
1700 COLE ROAD
AROMAS, CA 95004                                     P‐0018918 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPIELMAN, JULIE M.
1440 SOUTH REXFORD DRIVE
APT 204
LOS ANGELES, CA 90035                                P‐0018919 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN‐VENTURA, CHI
AUTOMEDIC, INC.
1665 SISTERS CT NW
SALEM, OR 97304                                      P‐0018920 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORMAN, EMILY B.
1320 BALD EAGLE DR
NAPLES, FL 34105                                     P‐0018921 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, PATRICK
HURTADO, ADELISA
5956 PALM AVE
RIVERSIDE, CA 92506                                  P‐0018922 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANKS, STACY L.
13905 DOGWOOD CT
SULTAN, WA 98294                                     P‐0018923 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                             Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                     Amount
HERRERO, CARLOS
1 STRAWBERRY CT
CLIFTON PARK, NY 12065                              P‐0018924 11/7/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
AGOUR, MONICA
9606 SANDIA SPRINGS CIR
CYPRESS, TX 77433                                   P‐0018925 11/7/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
LACY, CAREN H.
3216 WINLOCK RD
TORRANCE, CA 90505                                  P‐0018926 11/7/2017      TK Holdings Inc., et al .                        $500.00                                                                                       $500.00
HELLER, IVAN S.
27 GREENWOOD VILLAGE STREET
N EASTON, MA 02356                                  P‐0018927 11/7/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
WEAVER, VIVIENNE M.
1037 LEUCADIA BLVD
ENCINITAS, CA 92024                                 P‐0018928 11/7/2017      TK Holdings Inc., et al .                      $25,000.00                                                                                   $25,000.00
DENGCHAU, JENNY
CHAU, SCOTT
240 MONACO DR.
REDWOOD CITY, CA 94065                              P‐0018929 11/7/2017      TK Holdings Inc., et al .                          $0.00                                                                                         $0.00
HERRERO, CARLOS
1 STRAWBERRY CT.
CLIFTON PARK, NY 12065                              P‐0018930 11/7/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
BREEZE, JEFFREY W.
BREEZE, BEVERLY J.
288 VERMILLION RD.
BROOKSVILLE, KY 41004                               P‐0018931 11/7/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
KELLOM, DARINA H.
984 HILDEBRAND CIR
FOLSOM, CA 95630                                    P‐0018932 11/7/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
GOLDEN, STACEY V.
758 TAFT AVE
NORTH PLAINFIELD, NJ 07063                          P‐0018933 11/7/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
VILLANUEVA, CARLOS
CARLOS VILLANUEVA
10424 SOLO ST
NORWALK, CA 90650                                   P‐0018934 11/7/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
HAYTACK, RADIE
24516 230TH COURT SE
MAPLE VALLEY, WA 98038                              P‐0018935 11/7/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
BATES, JAMES L.
BATES, SUSAN E.
1415 OAKDALE DR.
BATON ROUGE, LA 70810                               P‐0018936 11/7/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
USHER, CHARLES G.
8631 W. JEFFERSON AVE.
DETROIT, MI 48209                                   P‐0018937 11/7/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
SAUNDERS, KIMBERLY M.
9431 NE 128TH ST
KIRKLAND, WA 98034                                  P‐0018938 11/7/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
WELTS, JENNIFER L.
15 WYMAN STREET UNIT 23
CONCORD, NH 03301                                   P‐0018939 11/7/2017      TK Holdings Inc., et al .                           $0.00                                                                                        $0.00
BROWN, ROXANNE L.
8718 BLUE GRASS DR
STOCKTON, CA 95210                                  P‐0018940 11/7/2017      TK Holdings Inc., et al .                 $125,000,000.00                                                                              $125,000,000.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SCOTT, WINFIELD W.
7211 LANE PARK DRIVE
DALLAS, TX                                           P‐0018941 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWERS, DEBRA F.
BRANDENBURG, KAREN K.
813 MINNESOTA AVE
N. FOND DU LAC, WI 54937                             P‐0018942 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUMAPIAS, EDILYN
958 PARK ST
ALAMEDA, CA 94501                                    P‐0018943 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECKER, JOYCE M.
3230 DUCHESS PARK LN
FRIENDSWOOD, TX 77546                                P‐0018944 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, GARY C.
1310 HIDDEN CREEK CT
WINTER HAVEN, FL 33880                               P‐0018945 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEMRO, KRISTY R.
4 BLUFF COURT
HERCULES, CA 94547                                   P‐0018946 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELANEY, ALISON
1937 YORKTOWN N
NORRISTOWN, PA 19403                                 P‐0018947 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COWLING, JAMES A.
1101 DRIVER POINTE COURT
SUFFOLK, VA 23435‐1272                               P‐0018948 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RINGMAN, WILLIAM L.
RINGMAN, ANGELA C.
13221 PLANK ROAD
CLAYTON, MI 49235                                    P‐0018949 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOOS (SLAUGHTER), CHRISTINE
66 MICHAEL POINT
DALLAS, GA 30157                                     P‐0018950 11/7/2017      TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
MINTSERIS, JULIAN
295 HARVARD STREET,
APT. 604
CAMBRIDGE, MA 02139                                  P‐0018951 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRISCHMANN, THOMAS J.
15 BARN OWL DRIVE
HACKETTSTOWN, NJ 07840‐3204                          P‐0018952 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIEGO, ALBERT K.
925 CEDAR AVENUE
CHULA VISTA, CA 91911                                P‐0018953 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOHREY, JAMES E.
611 NORTH CEDAR
TACOMA, WA 98406                                     P‐0018954 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINDEL, DAVID L.
2967 MARKLE HOLLOW ROAD
BIG FLATS, NY 14814                                  P‐0018955 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCFARLAND, DONALD R.
423 PARK AVE.
LONG BEACH, CA 90814                                 P‐0018956 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORHAM, LARRY W.
GORHAM, SHIRLEY M.
6097 BLACKJACK RD
FRANKLIN, KY 42134                                   P‐0018957 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
HANNUM, THOMAS C.
4237 E HARVARD AVE
GILBERT, AZ 85234                                     P‐0018958 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARAI, PARMINDER K.
1915 AUGUSTA LANE
YUBA CITY, CA 95993                                   P‐0018959 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORRIGAN, KIRK
10254 OCCIDENTAL AVE S
SEATTLE, WA 98168                                     P‐0018960 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELTRAN, YOLANDA
1855 CUSHMAN STREET
HOLLISTER, CA 95023                                   P‐0018961 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVILA, CYNTHIA C.
1855 CUSHMAN STREET
HOLLISTER, CA 95023                                   P‐0018962 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, GREGORY W.
CARTER, PAMELA J.
7208 ROCHELLE WAY
FAIR OAKS, CA 95628                                   P‐0018963 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHURCH, ANGELA L.
17348 S BRADLEY ROAD
OREGON CITY, OR 97045                                 P‐0018964 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRATT, JANET L.
P.O. BOX 1105
CLAREMONT, CA 92336                                   P‐0018965 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVANT, CHARLES E.
302 LAURELWOOD TRAIL
AUSTIN, TX 78746                                      P‐0018966 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHAUFELBERGER, BRITTANY L.
301 WOODLANDS MEADOW CT
BAKERSFIELD, CA 93308                                 P‐0018967 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, TERRY L.
MITCHELL, SUSAN K.
18611 66TH AVE NE
KENMORE, WA 98028‐7946                                P‐0018968 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERBERT, CHRISTOPHER J.
WELCH, NANCY E.
2105 E VAUGHN STREET
TEMPE, AZ 85283                                       P‐0018969 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACKARD, SANDRA L.
P.O. BOX 475
KENO, OR 97627                                        P‐0018970 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIPP, ELIZABETH W.
1813 LAFAYETTE
=
PLANO, TX 75075                                       P‐0018971 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REID, PHYLLIS
P O BOX 6494
VILLA PARK, IL 60181                                  P‐0018972 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAGE, ZONA
663 JEAN STREET
OAKLAND, CA 94610                                     P‐0018973 11/7/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
MCGILLIN, WILLIAM G.
MOWERY, CAROL A.
1188 HARVARD AVE E #2
SEATTLE, WA 98102                                     P‐0018974 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BRASS, FRANCES D.
355 W CLARK AVE SPC 47
SANTA MARIA, CA 93455                               P‐0018975 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITBEY, JARED
SCHAUFELBERGER, BRITTANY
301 WOODLANDS MEADOW CT
BAKERSFIELD, CA 93308                               P‐0018976 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, TAM M.
5824 N 21ST AVE
PHOENIX, AZ 85015‐2341                              P‐0018977 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODARTE, SYLVIA G.
914 ESTON STREET
CAMARILLO, CA 93010                                 P‐0018978 11/7/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MOODY, DENISE
MOODY, DAVID
5813 S. LAKEWOOD AVENUE
TULSA, OK 74135                                     P‐0018979 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROUS, TIMOTHY L.
2 W BUTNSIDE AVE
LOWELL, MA 01850                                    P‐0018980 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOWERY, CAROL A.
MCGILLIN, WILLIAM G.
1188 HARVARD AVE E #2
SEATT;E, WA 98102                                   P‐0018981 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRON, SALLY A.
6037 TERRI LYNN DRIVE
AFFTON, MO 63123                                    P‐0018982 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, ELDON R.
THOMPSON, TINA L.
814 CLOPTON LN
HUNTINGTON, AR 72940                                P‐0018983 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRITZ, LISA A.
FRITZ, GREG G.
48416 DRY CREEK DRIVE
BADGER, CA 93603                                    P‐0018984 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAWECKI, BARBARA R.
6714 E LA MARIMBA STREET
LONG BEACH, CA 90815                                P‐0018985 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, CANDACE D.
970 W RAINES RD
MEMPHIS, TN 38109                                   P‐0018986 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRYE, AUTUMN
801 W HAWTHORN STREET, #303
SAN DIEGO, CA 92101                                 P‐0018987 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KATZ, MATTHEW
KATZ, CHANA
5903 KEY AVE
BALTIMORE, MD 21215                                 P‐0018988 11/7/2017      TK Holdings Inc., et al .                    $2,029.00                                                                                    $2,029.00
GREEN, KAREN
6246 NILE PLACE UNIT H
GREENSBORO, NC 27409                                P‐0018989 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEFFERSON, LINDA B.
1015 3RD ST. S.W.
SPRINGHILL, LA 71075                                P‐0018990 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PALESE, LAWRENCE W.
214 GRANITE HTS.
FARMINGTON ME                                        P‐0018991 11/7/2017      TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
BEAGLEY, STEPHANIE J.
BEAGLEY, MICHAEL G.
17532 WATER FLUME WAY
MONUMENT, CO 80132                                   P‐0018992 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN STRALEN, CATHERINE M.
2806 IRVING ST.
RIVERSIDE, CA 92504                                  P‐0018993 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JABIN, PETER
956 10TH AVE E #1
SEATTLE, WA 98102                                    P‐0018994 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ‐MARTINE, ANDREA
2769 BRISTOL MOUNTAIN TRL
GREEN BAY, WI 54313                                  P‐0018995 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAU, SCOTT P.
240 MONACO DR.
REDWOOD CITY, CA 94065                               P‐0018996 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMAN, ROY L.
1917 ROCKEFELLER AVE
EVERETT, WA 98201                                    P‐0018997 11/7/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
RAINES, CANDACE R.
TK HOLDINGS
1109 TOWNSEND BLVD
JACKSONVILLE, FL 32211                               P‐0018998 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCABE, KENNETH C.
4611 105TH AVE NE
KIRKLAND, WA 98033                                   P‐0018999 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, RUSSELL S.
170 KIMBERLY COURT
SENOIA, GA 30269                                     P‐0019000 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAHAGAN, JR., CLIFFORD R.
PHILSON, LASHON R.
14950 ZELMA STREET
#18
SAN LEANDRO, CA 94579                                P‐0019001 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUERTA, GEORGE
HUERTA, ERIKA G.
3555 HILLDALE PT
SAN ANTONIO, TX 78261                                P‐0019002 11/7/2017      TK Holdings Inc., et al .                    $1,220.00                                                                                    $1,220.00
NEAL, SEBRINA
8011 S. HERMITAGE AVE.
CHICAGO, IL 60620                                    P‐0019003 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WORMINGTON, KATINA
93 WINTON ROAD
WEST POINT, CA 95255                                 P‐0019004 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILBURN, KARI M.
MILBURN, CHRISTOPHER C.
12115 S 213TH AVE
GRETNA, NE 68028                                     P‐0019005 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMAN, ROY L.
1917 ROCKFELLER AVE
EVERETT, WA 98201                                    P‐0019006 11/7/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
STRANGE, MICHELLE M.
535 OREGON TRL
LINCOLN, NE 68521                                   P‐0019007 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JESSEE, BILLY A.
JESSEE, LORI L.
1504 ECHO LAKE DRIVE
PIQUA, OH 45356                                     P‐0019008 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILSON, LASHON R.
14950 ZELMA STREET
#18
SAN LEANDRO, CA 94579                               P‐0019009 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERKINS, LISA S.
14346 DOBSON AVENUE
DOLTON, IL 60419                                    P‐0019010 11/7/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
GADDIE, STEPHEN P.
3703 W. 141ST STREET
LEAWOOD, KS 66224                                   P‐0019011 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORROW, DAVID L.
MORROW, GWENDOLYN K.
629 LONG BRANCH CHURCH ROAD
RED LEVEL, AL 36474                                 P‐0019012 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PISTOR, RAHNE
10816‐1/2 VENICE BLVD
CULVER CITY, CA 90232                               P‐0019013 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARRISH, WILLIAM C.
330 MOHAWK ROAD
SANTA BARBARA, CA 93109                             P‐0019014 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATERS, NORENE E.
941 ORCHID DR
BRENTWOOD, CA 94513                                 P‐0019015 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEACSU, CATALIN
2646 OAK ST
RIVER GROVE, IL 60171                               P‐0019016 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEIGENBAUM, SHARON A.
800 HILLCREST DR SUITE #!
CAMBRIA, CA 93428‐2840                              P‐0019017 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAZZARO, ROBERTO
6403 108TH AVE NE
KIRKLAND, WA 98033                                  P‐0019018 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, CHRISTINA E.
3045 MARINA BAY DR
#6307
LEAGUE CITY, TX 77573                               P‐0019019 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENDOZA, ROBERT
480 MORRO AVENUE
APT. C
MORRO BAY, CA 93442‐2565                            P‐0019020 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WORMINGTON, JONAS E.
WORMINGTON, KATINA S.
93 WINTON ROAD
WEST POINT, CA 95255                                P‐0019021 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIRR, HEATHER L.
14622 NE 113TH STREET
VANCOUVER, WA 98682                                 P‐0019022 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MUNK, KELLY
MUNK, KELLY
10207 CREVISTON DRIVE NW
GIG HARBOR, WA 98329                                P‐0019023 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAMUELS, BRIAN E.
11486 CORTINA PLACE
SAN DIEGO, CA 92131                                 P‐0019024 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARLILE, ATHENA M.
241 JANET STREET
HELPER, UT 84526                                    P‐0019025 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYWOOD, BEVERLY
TIBBLES, KATHERINE
PO BPX 1314
LA CONNER, WA 98257                                 P‐0019026 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARRISH, BRITTANY C.
330 MOHAWK ROAD
SANTA BARBARA, CA 93109                             P‐0019027 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUI, EUGENE Y.
LUI, AMY K.
92‐1315 KIKAHA STREET
KAPOLEI, HI 96707                                   P‐0019028 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEDINA, LETICIA N.
549 E. ORANGE GROVE BLVD
PASADENA, CA 91104                                  P‐0019029 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, DEANA L.
10006 E SOUTH PARK AVE
EVANSVILLE, WY 82636                                P‐0019030 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENSEL, SARA M.
2911 ORCHARD HILL PLACE
LAKE OSWEGO, OR 97035                               P‐0019031 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURST, GARY S.
MOLL, LAUREN M.
24704 SARDA COURT
RAMONA, CA 92065                                    P‐0019032 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASSFORD, JEFFREY T.
18033 WYNDAM DR
LINCOLN, NE 68527                                   P‐0019033 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDREWS, BEVERLY J.
ANDREWS, GREGORY C.
18870 BEAR VALLEY ROAD
APPLE VALLEY, CA 92308                              P‐0019034 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGALEWSKA, PATRYCJA J.
2077 CAMEL LN., APT. #30
WALNUT CREEK, CA 94596                              P‐0019035 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHENS, MARILYN S.
20639 120TH AVE SE
KENT, WA 98031                                      P‐0019036 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIMOND, DAVID
P.O. BOX 4498
ROLLINGBAY, WA 98061                                P‐0019037 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, ELIZABETH
764 OLD QUARRY ROAD SOUTH
LARKSPUR, CA 94939                                  P‐0019038 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BRADWELL, GRACIELA A.
DIVERSIFIED, BRADWELL
BRADWELL DIVERSIFIED INC
25673 BECKHAM RD
HARLINGEN, TX 78552                                  P‐0019039 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENSEL, JAMES F.
HENSEL, MARIPAT C.
2911 ORCHARD HILL PLACE
LAKE OSWEGO, OR 97035                                P‐0019040 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, L.
2501 DOUGLAS COURT
THOMPSONS STATIO, TN 37179                           P‐0019041 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEDSTROM, NANCY
1552 WOODLAND DR.
RED WING, MN 55066                                   P‐0019042 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, CECILIA S.
CHU, BERNARD A.
1444 LEAFTREE CIRCLE
SAN JOSE, CA 95131                                   P‐0019043 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIGHAM, NGOC THUY
7103 NAVAJO RD #2205
SAN DIEGO, CA 92119                                  P‐0019044 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASSFORD, MICHELLE L.
18033 WYNDAM DR
LINCOLN, NE 68527                                    P‐0019045 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORBACK, GARY D.
ORBACK, EILEEN M.
245 VISTA COURT
245 VISTA COURT
LOS OSOS, CA                                         P‐0019046 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALTER, I MARGARET D.
SALTER, PATRICK E.
178 CREST DR
MYRTLE CREEK, OR 97457                               P‐0019047 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARAIST, BRAD J.
614 DUGAS STREET
SAINT MARTINVILL                                     P‐0019048 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMPEL, CELIA M.
437 SW 7TH ST.
APT. 307
MIAMI, FL 33130                                      P‐0019049 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RATTNER, JUDD B.
326 SCHROEDER ST.
SUNNYVALE, CA 94085                                  P‐0019050 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COPE, JACQUELINE
12227 HIGH VIEW RIDGE
NORTHRIDGE, CA 91326                                 P‐0019051 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, RYAN
1625 MOORES MILL ROAD
ATLANTA, GA 30327                                    P‐0019052 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRAKASH, DINESH
220 BROOKSIDE DR
SUISUN, CA 94585                                     P‐0019053 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIGUEROA‐ROSALEZ, OSCAR
6412 75TH STREET
SACRAMENTO, CA 95828                                 P‐0019054 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
NEWBY, JENNIFER L.
3431 STROLLAWAY DRIVE
HOOVER, AL 35226‐2630                                 P‐0019055 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREWSTER, CHARLOTTE B.
820 S MANSFIELD AVE
APT 107
LOS ANGELES, CA 90036                                 P‐0019056 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, AMANDA R.
4617 S MEAD ST UNIT 1
SEATTLE, WA 98118                                     P‐0019057 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLETT, BRIAN A.
4805 S SNOQUALMIE STREET
SEATTLE, WA 98118                                     P‐0019058 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, RYAN
1625 MOORES MILL ROAD
ATLANTA, GA 30327                                     P‐0019059 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QIU, TINGTING
1015 E. 2ND STREET
LONG BEACH, CA 90802                                  P‐0019060 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWEENEY, DONALD J.
SWEENEY, CATHERINE
8805 FOUNDERS CIR
PALMETTO, FL 34221‐1309                               P‐0019061 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARSTENSON, NOEL C.
CARSTENSON, RUETTE M.
2537 PENDLETON DR.
EL DORADO HILLS, CA 95762                             P‐0019062 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIU, BENJAMIN
WESSON, CARMEN
6478 PANEL CT
SAN DIEGO, CA 92122                                   P‐0019063 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, KAYLA B.
5525 FAUST AVE
SPRINGFIELD, MO 65810                                 P‐0019064 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEAN, ALAN D.
27427 209TH CT SE
MAPLE VALLEY, WA 98038                                P‐0019065 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, R. D.
DAVIS, P. C.
8243 HOLLY OAK STREET
CITRUS HEIGHTS, CA 95610                              P‐0019066 11/7/2017      TK Holdings Inc., et al .                   $32,120.00                                                                                   $32,120.00
THOMAS, YVONNE D.
6330 W CARMEN AVE
APT. 2
MILWAUKEE, WI 53218                                   P‐0019067 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBS, RICHARD E.
616 MURRELL DR
DAYTON, OH 45429                                      P‐0019068 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, TONYA L.
14829 MULBERRY DR., #108
WHITTIER, LA                                          P‐0019069 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, JESUS J.
SMITH, JOSE E.
URB MARINA BAHIA ME41
CATANO, PR 00962                                      P‐0019070 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ROBERTSON, DEANA L.
3345 LINKER MT ROAD
DOVER, AR 73837                                      P‐0019071 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAU, QIANG
203 A STREET
SOUTHSANFRANCISC, CA 94080                           P‐0019072 11/7/2017      TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
GROTH, SANDRA
18711 MOUNTAIN SPRING DR
SPRING, TX 77379                                     P‐0019073 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POINTER, SANDRA J.
4804 NE114TH ST
VANCOUVER, WA 98686                                  P‐0019074 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH‐SANCHEZ, SUANNA T.
SANCHEZ, ANTHONY M.
207 SOUTH 58TH ST
YAKIMA, WA 98901                                     P‐0019075 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAU, QIANG
203 A STREET
SOUTHSANFRANCISC, CA 94080                           P‐0019076 11/7/2017      TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
SANDOVAL, JANE
1714 PATRICIA ST
OXNARD, CA 93030/3149                                P‐0019077 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPIN, KENNETH M.
7117 NE 165TH ST
KENMORE, WA 98028                                    P‐0019078 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOOVER, TIMOTHY L.
77 RIDGE RD
SANDYSON, NJ 07827                                   P‐0019079 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MOWRY, MICHAEL
1367 S COUNTRY CLUB DRIVE
UNIT 1014
MESA, AZ 85210                                       P‐0019080 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIDZENSKI, MALINDA A.
2726 ALDEN ROAD
PARKVILLE, MD 21234                                  P‐0019081 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BADALYAN, MIKAYEL
7565 VALMONT ST
TUJUNGA, CA 91042                                    P‐0019082 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, DEBRA D.
45448 12TH STREET WEST
LANCASTER, CA 93534                                  P‐0019083 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HABERLAND, PENELOPE A.
HABERLAND, ROBERT W.
3 SUNFLOWER LANE
IOLA, KS 66749                                       P‐0019084 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASSFORD, MICHELLE L.
18033 WYNDAM DR
LINCOLN, NE 68527                                    P‐0019085 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRATT, JANET L.
PRATT, BARRY D.
5449 WITHERS AVE
FONTNA, CA 92336                                     P‐0019086 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEFFRIES, EUGENE
3810 MT VERNON DR.
VIEW PARK, CA 90008                                  P‐0019087 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
PALMER, KENNETH D.
BRYAN, ALICE E.
                                                       P‐0019088 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROSSMAN, ARNOLD J.
3725 TURTLE CREEK BLVD
UNIT D
DALLAS, TX 75219                                       P‐0019089 11/7/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
RICHARD L BLANCHARD PC
6006 E. 115TH ST.
TULSA, OK 74137                                        P‐0019090 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORGESEN, DAVID
25842 ROYAL OAKS RD.
STEVENSON RANCH, CA 91381                              P‐0019091 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOURNIER, ELLIE L.
P.O. BOX 2281
MARIPOSA, CA 95338                                     P‐0019092 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODMAN, ALAN S.
3737 SW STEPHENSON ST
PORTLAND, OR 97219                                     P‐0019093 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VELAZQUEZ, GABRIEL A.
2535 W SOUTH ST
ALLENTOWN, PA 18104                                    P‐0019094 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRISON, DESIREE L.
3720 JONESBORO RD
MIDLAND, OH 45148                                      P‐0019095 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OBRIEN, LUKE L.
152 SHELDON AVENUE
PITTSBURGH, PA 15220                                   P‐0019096 11/7/2017      TK Holdings Inc., et al .                     $508.95                                                                                       $508.95
JEFFRIES, ESSIE M.
3810 MT VERNON DR.
VIEW PARK, CA 90008                                    P‐0019097 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANAN, PAUL C.
36562 707TH AVE
KIMBALL, MN 55353                                      P‐0019098 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASS, JAMES C.
2289 REGES STORE RD
NASHVILLE, NC 27856                                    P‐0019099 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOBBITT, MONIQUE L.
3323 WAGGONER TRAIL
REX, GA 30273                                          P‐0019100 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIMS, STACY V.
MIMS, CARENO R.
107 BROKEN BRANCH ROAD
NORTH AUGUSTA, SC 29841                                P‐0019101 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE‐DE AMICI, BETH A.
1694 WICKHAM WAY
CROFTON, MD 21114                                      P‐0019102 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
ST. JOHN, LYNNE M.
8301‐78 MISSION GORGE ROAD
SANTEE, CA 92071‐3579                                  P‐0019103 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRINE, LARRY
1966 GOLFVIEW DRIVE
CLARKSTON, WA 99403                                    P‐0019104 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SHANKLAND, CARL D.
SHANKLAND, MARY LOU
5532 MANZANITA AVE
CARMICHAEL, CA 95608                                 P‐0019105 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, RICK
1990 S 19TH ST
EL CENTRO, CA 92243                                  P‐0019106 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVICCO, CECILIA R.
18327 KEVIN COURT
NORTHRIDGE, CA 91325                                 P‐0019107 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUNNING, SCOTT
GUNNING, SCOTT
6236 CLEARCHASE CROSSING
INDEPENDENCE, KY 41051                               P‐0019108 11/7/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BOULAIS, CHRISTOPHER P.
164 IRISH WAY
PISMO BEACH, CA 93449                                P‐0019109 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YEARWOOD, MICHAEL K.
8841 SPECTRUM CENTER BLVD
#5117
SAN DIEGO, CA 92123                                  P‐0019110 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRABOSH, JOHN J.
NO ADDRESS PROVIDED
                                                     P‐0019111 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STALKER, ALLISON C.
2215 MEMPHIS ST.
PHILADELPHIA, PA 19125                               P‐0019112 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE AMICI, GIOVANNI
1694 WICKHAM WAY
CROFTON, MD 21114                                    P‐0019113 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
HURD, PETER M.
1314 MARQUETTE AVE.
APT 905
MINNEAPOLIS, MN 55403                                P‐0019114 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HASHIMI, DANIEL S.
565 N PASADENA AVE.
PASADENA, CA 91103                                   P‐0019115 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELLOT, MARTY R.
120 BOULDER DRIVE
LAFAYETTE, LA 70508                                  P‐0019116 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, PETER
WONG, TIFFANY
7152 ANJOU CREEK CT.
SAN JOSE, CA 95120                                   P‐0019117 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FANTINI, NESTOR M.
DAVICCO, CECILIA R.
18327 KEVIN COURT
NORTHRIDGE, CA 91325                                 P‐0019118 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENTON, ALLISON M.
BENTON, SHAWN A.
3131B FRANKLIN WAY
HILL AFB, UT 84056                                   P‐0019119 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, HELEN
289 SHOFNER AVE
MEMPHIS, TN 38109                                    P‐0019120 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DE AMICI, GIOVANNI
1694 WICKHAM WAY
CROFTON, MD 21114                                    P‐0019121 11/7/2017      TK Holdings Inc., et al .                    $1,300.00                                                                                    $1,300.00
DUFFY, WILLIAM J.
1375 FAIRFAX STREET
DENVER, CO 80220                                     P‐0019122 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEILMED PHARMACEUTICALS, INC
601 AVIATION BLVD
SANTA ROSA, CA 95403                                 P‐0019123 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARANA, AIDE V.
505 W 8TH ST. #2
CORONA, CA 92882                                     P‐0019124 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLAIRE, CHARLES S.
ALLAIRE, HARRIET W.
1594 SOLDIER CREEK ROAD
GRANTS PASS, OR 97526                                P‐0019125 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BADILLO, CASEY
23610 RED OAK LANE
MURRIETA, CA 92562                                   P‐0019126 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMBLER, KIMBERLY A.
P.O. BOX 542754
GREENACRES, FL 33454                                 P‐0019127 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIZZET, LAURA A.
2470 LEA LANE
ORTONVILLE, MI 49462                                 P‐0019128 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERICKSON, JUANITA P.
1601 WILLMAR AVE SW
WILLMAR, MN 56201‐2878                               P‐0019129 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TYE, ONDREA J.
520 E LEMON AVE
MONROVIA, CA 91016                                   P‐0019130 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, KATIE A.
7309 FILBERT LANE
TAMPA, FL 33637                                      P‐0019131 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, PAUL
11122 BERRYKNOLL STREET
SAN DIEGO CA 92126                                   P‐0019132 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTGOMERY, BRADFORD R.
15547 FERNDALE RD
VICTORVILLE, CA 92394                                P‐0019133 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FANTINI, NESTOR M.
18327 KEVIN COURT
NORTHRIDGE, CA 91325                                 P‐0019134 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLAIRE, CHARLES S.
ALLAIRE, HARRIET W.
1594 SOLDIER CREEK ROAD
GRANTS PASS, OR 97526                                P‐0019135 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YERMAN, TIM E.
35 EAST WISE RD
SCHAUMBURG
SCHAUMBURG, IL 60193                                 P‐0019136 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERMSEN, TIMOTHY D.
HERMSEN, MARY D.
706 S. YOUNG PL.
KENNEWICK, WA 99336                                  P‐0019137 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HAAS, YVONNE L.
219 20TH STREET
SAN DIEGO                                            P‐0019138 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENNELLY, VIRGINIA B.
18701 FLYING TIGER DR. # 119
CANYON COUNTRY, CA 91387‐8252                        P‐0019139 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLINGSHED, MICHAEL
2017 CAMP STREET
BRONX, NY 10466                                      P‐0019140 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, LYNDA E.
TAYLOR, HAZEL E.
21 NORTH TRIBBIT AVENUE
BEAR, DE 19701                                       P‐0019141 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMEZ, ELIZABETH V.
6110 ACADEMY RD NE APT 76
ALBUQUERQUE, NM 87109                                P‐0019142 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, MIRANDA S.
ADAMS, WESLEY C.
10757 MILLER DRIVE
INDIANAPOLIS, IN 46231                               P‐0019143 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, JOANNA K.
3115 RANDOLPH COURT DRIVE
ANN ARBOR, MI 48108                                  P‐0019144 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREDRIKSON, CHELSEA A.
24 SPENCER ST
PROVIDENCE, RI 02909                                 P‐0019145 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REAVES JR, JOSEPH
4015 SHANNON DRIVE
BALTIMORE, MD 21213                                  P‐0019146 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROCKETT, CHARLES E.
BROCKETT, JANET K.
7527 PENOBSCOT DR.
WEST HILLS, CA 91304                                 P‐0019147 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STROEBE, CAROLYN
1260 PARKWOOD DRIVE
NOVATOI, CA 94947                                    P‐0019148 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAHILL, JOHN P.
3588 AMBER DRIVE
SAN JOSE, CA 95117                                   P‐0019149 11/7/2017      TK Holdings Inc., et al .                     $535.00                                                                                       $535.00
CHAPPA, MARIBEL
P.O. BOX 62321
SAN ANGELO, TX 76906                                 P‐0019150 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELLIARD, ANITA S.
38 WHITE OAK BEND
ROCHESTER, NY 14624                                  P‐0019151 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEADLEY, ANNETTE
4015 SHANNON DRIVE
4015 SHANNON DRIVE
BALTIMORE, MD 21213                                  P‐0019152 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANK, WERNER L.
3600 DRAGONFLY DR
W 202
THOUSAND OAKS, CA 91360                              P‐0019153 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEFFERT, STEVEN
16740 VALERIO STREET
LAKE BALBOA, CA 91406                                P‐0019154 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HONOUR, KIRK S.
5320 LEE CIRCLE
SHOREWOOD, MN 55331                                  P‐0019155 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KONKLE, ROBERT F.
KONKLE, JULIE A.
10253 PRIMROSE DRIVE
DAVISON, MI 48423                                    P‐0019156 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARRETT, TREVER J.
9316 68TH AVE CT E
PUYALLUP, WA 98371‐6130                              P‐0019157 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEFFRIES, ESSIE M.
3810 MT VERNON DR.
VIEW PARK, CA 90008                                  P‐0019158 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HONOUR, KIRK S.
5320 LEE CIRCLE
SHOREWOOD, MN 55331                                  P‐0019159 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGGIO, RICHARD S.
6 GRETA DRIVE
DANBURY, CT 06810                                    P‐0019160 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROWEN, CAROL L.
12490 W. FIELDING CIRCLE
APT. 322
PLAYA VISTA, CA 90094                                P‐0019161 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, ROBERT E.
16050 205TH AVE NW
ELK RIVER, MN 55330                                  P‐0019162 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIGGINS, THOMAS P.
HIGGINS, CARMEN M.
323 S. PARK STREET
WESTMONT, IL 60559                                   P‐0019163 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISCHER, MARK S.
3570 SW RIVER PRKWY UNIT 1211
PORTLAND, OR 97239                                   P‐0019164 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KONKLE, ROBERT F.
KONKLE, JULIE A.
10253 PRIMROSE DRIVE
DAVISON, MI 48423                                    P‐0019165 11/7/2017      TK Holdings Inc., et al .                    $2,450.00                                                                                    $2,450.00
NEGOITA, CRISTINA
828 WOCUS ST.
KLAMATH FALLS, OR 97601                              P‐0019166 11/7/2017      TK Holdings Inc., et al .                    $5,863.00                                                                                    $5,863.00
POWELL, ELSA
P.O. BOX 131
CARTERSVILLE, GA 30120                               P‐0019167 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RHODES, DONALD C.
423 DEVILS LANE
BALLSTON SPA, NY 12020                               P‐0019168 11/7/2017      TK Holdings Inc., et al .                   $25,352.35                                                                                   $25,352.35
ESTES, TORIA B.
ESTES, DAVID P.
13120 136TH STREET
ANDERSON ISLAND, WA 98303                            P‐0019169 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEFFRIES, ESSIE M.
3810 MT VERNON DR.
VIEW PARK, CA 90008                                  P‐0019170 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, LISA J.
16050 205TH AVE NW
ELK RIVER, MN 55330                                  P‐0019171 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
OLSON, STEVEN A.
4134 FIR ST SW
JBLM, WA 98439                                     P‐0019172 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRENEMAN, JOSEPH A.
BRENEMAN, REGINA E.
32123 NE 117TH ST
CARNATION, WA 98014                                P‐0019173 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, KENNETH E.
MMW INTERNATIONAL INC
521 OLD FARM COURT
DANVILLE, CA 94526                                 P‐0019174 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTON, JOHN B.
406 E COUNTRY CLUB LN
WALLINGFORD, PA 19086                              P‐0019175 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARQUEZ, LINA M.
1176 CEDAR FALLS DR
WESTON, FL 33327                                   P‐0019176 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOREHOUSE, DYLAN D.
7663 ARCHIBALD AVE
RANCHO CUCAMONGA, CA 91730                         P‐0019177 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICOLOPOULOS, CONSTANTINE
NICOLOPOULO
5329 W DAKIN
CHICAGO                                            P‐0019178 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARTIDA, SERENA J.
1719 W AVENUE J15 APT 5
LANCASTER, CA 93534                                P‐0019179 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DASHEVSKY, INNA
114 MAIDEN LANE
BERGENFIELD, NJ 07621                              P‐0019180 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SENARIO, NANCY J.
444 4TH STREET
PALISADES PARK, NJ 07650                           P‐0019181 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRENEMAN, JOSEPH A.
32123 NE 117TH ST
CARNATION, WA 98014                                P‐0019182 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUNDS, GERALD T.
BOUNDS, CATHERINE R.
706 MOUNT AIX WAY
YAKIMA, WA 98901                                   P‐0019183 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLLACK, GENNADIY
779 N SANGA RD
CORDOVA, TN 38018                                  P‐0019184 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENNEDY, MICHAEL C.
KENNEDY, NANCY M.
30 CHELSEA STREET
UNIT 611
EVERETT, MA 02149                                  P‐0019185 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOREHOUSE, DYLAN D.
7663 ARCHIBALD AVE
RANCHO CUCAMONGA, CA 91730                         P‐0019186 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERKINS, KATHLEEN A.
PERKINS, CARLOS H.
CARLOS HENRY PERKINS
1002 WYTHE COURT
FREDERICKSBURG, VA 22405                           P‐0019187 11/7/2017      TK Holdings Inc., et al .                    $1,338.00                                                                                    $1,338.00
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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
HOLLIDAY, PEARLIE E.
697 CORNFLOWER WAY
PERRIS, CA 92571                                       P‐0019188 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETE, BRANDI G.
1106 ESTELLE STREET
LAKE CITY, AR 72437                                    P‐0019189 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAVIS, ANDREA B.
17119 FOUNTAINBLEAU DR
PRAIRIEVILLE, LA 70769                                 P‐0019190 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMMER, BIAN R.
30 F ST. N.E.
EPHRATA, WA 98823                                      P‐0019191 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, DUNCAN
WALKER, DENISE L.
40053 VIA ESPANA
MURRIETA, CA 92562                                     P‐0019192 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROTEA, ALAN
1225 ORO RDG
PALM SPRINGS, CA 92262                                 P‐0019193 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOLBERT, MARSHALL
2205 CHASE POINTE CT.
FLUSHING, MI 48433‐2283                                P‐0019194 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFMAN, DENNIS W.
HOFFMAN, MARY M.
2154 HAWLEY DR.
VISTA, CA 92084                                        P‐0019195 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETE, BRANDI G.
1106 ESTELLE STREET
LAKE CITY, AR 72                                       P‐0019196 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICCI, CHRISTOPHER P.
20650 4TH STREET, APT 2
SARATOGA, CA 95070                                     P‐0019197 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMMER, BRIAN R.
30 F ST. N.E.
EPHRATA, WA 98823                                      P‐0019198 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, YI C.
7 CUMBERLAND ST
PLAINSBORO, NJ 08536                                   P‐0019199 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICCI, CHRISTOPHER P.
20650 4TH STREET, APT 2
SARATOGA, CA 95070                                     P‐0019200 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEZFULI, AMIR
DEZFULI, BOBBY
17380 SUNSET RIDGE CIRCLE
GRANADA HILLS, CA 91344                                P‐0019201 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNOLDS, DEBRA J.
6316 W. OLYMPIC BLVD., APT. 1
LOS ANGELES, CA 90048                                  P‐0019202 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, DEBRA L.
1007 VIOLET STREET
HEMET, CA 92545                                        P‐0019203 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOYER, HEATHER M.
501 N AVE 65
LOS ANGELES, CA 90042                                  P‐0019204 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MICHALAK, DANIEL
106 VISTA AVE
GLEN BURNIE, MD 21061                                P‐0019205 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMMON, TRACY L.
47 SYCAMORE STREET
BROWNSBURG, IN 46112                                 P‐0019206 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, STACIE
4746 BLACKTHORNE AVE
LONG BEACH, CA 90808                                 P‐0019207 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTANA, MICHAEL A.
SANTANA
700 EAST 141 STREET #4C
BRONX, NY 10454                                      P‐0019208 11/7/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WOODS, JEFFREY W.
24235 LENOX LANE
MURRIETA, CA 92562                                   P‐0019209 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIINO, KAREN P.
182 CHURCH ST
WALTHAM, MA                                          P‐0019210 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLEASON, CARL A.
1113 SW 333RD ST.
FEDERAL WAY, WA. 98023                               P‐0019211 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERKINS, KATHLEEN A.
PERKINS, CARLOS H.
CARLOS HENRY PERKINS
1002 WYTHE COURT
FREDERICKSBURG, VA 22405                             P‐0019212 11/7/2017      TK Holdings Inc., et al .                     $643.00                                                                                       $643.00
BUTLER, VANCE A.
1501 34 ST SE
PUYALLUP, WA 98372                                   P‐0019213 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTSON, ANDREW J.
1022 PROSPECT ST
HANCOCK, MI 49930                                    P‐0019214 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOUQUETTE, MICHAEL J.
FOUQUETTE, ANN L.
4820 RIDING RIDGE ROAD
SAN DIEGO, CA 92130                                  P‐0019215 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, PHILLIP J.
76200 VIA MONTELENA
INDIAN WELLS, CA 92210                               P‐0019216 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAEHLER, JOAN
2505 LOGAN LANE
LYNWOOD, IL 60411                                    P‐0019217 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, GEORGE F.
11499 OAKLAWN ROAD
JACKSONVILLE, FL 32218                               P‐0019218 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANABRIA, MAYRA
806 S. SYCAMORE AVE
RIALTO, CA 92376                                     P‐0019219 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARKE, EDWIN E.
4821 SHERIDAN AVENUE
LOVELAND, CO 80538                                   P‐0019220 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, GIEA S.
224 WATCHUNG AVE. APT 1
WEST ORANGE, NJ 07052                                P‐0019221 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MARKS, KIM
6515 ST. MARK WAY
FAIRBURN GA
USA                                                  P‐0019222 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STALLONE, FABIO
5050 LOTUS ST. APT. #4
SAN DIEGO, CA 92107                                  P‐0019223 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COCHRAN‐HILL, TAMERA
P.O. BOX 3512
OLDTOWN, ID 83822                                    P‐0019224 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUERTA, ENRIQUE E.
25760 WHITE WOOD CIR
MORENO VALLEY, CA 92553                              P‐0019225 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DREEBIN, SARAH E.
3739 ROSE AVE.
LONG BEACH, CA 90807                                 P‐0019226 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDY, ADRIANE
4845 NEW CUT RD
INMAN, SC 29349                                      P‐0019227 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONES, LARRY
8026 WEST 44TH STREET
LITTLE ROCK, AR 72204                                P‐0019228 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANABRIA, MAYRA
806 S. SYCAMORE AVE
RIALTO, CA 92376                                     P‐0019229 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SERPA, RANDAL
12075 RIDING RD
WILTON, CA 95693                                     P‐0019230 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANESHIRO, ZACHARY
8475 SW HURON CT
TUALATIN, OR 97062                                   P‐0019231 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANKS, CAROLYN L.
1000 BAGDAD ROAD
WESTLAKE, LA 70669                                   P‐0019232 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BETHEA, BARNABAS C.
1703 JOANNE BRANCH RD
LAKEVIEW, SC 29563                                   P‐0019233 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMBERT, DEBRA R.
DAVID LAMBE
2004 SUMMIT DRIVE
PASO ROBLES, CA 93446                                P‐0019234 11/7/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
DREEBIN, BRIAN
3739 ROSE AVE.
LONG BEACH, CA 90807                                 P‐0019235 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTER, JAMES
218 YOUNG ST
GREENWOOD, MS 38930                                  P‐0019236 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNETT, ROBERT C.
120 SHELL ST
PACIFICA, CA 94044                                   P‐0019237 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIESLEWICZ, MARK A.
2760 WOODSTOCK CT
GREEN BAY, WI 54311                                  P‐0019238 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOWALCZYK, CAROL A.
P.O. BOX 881442
SAN DEIGO, CA 92168                                  P‐0019239 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MONTELEONE, MICHELE A.
254 KEMPSEY DRIVE
NORTH BRUNSWICK, NJ 08902                            P‐0019240 11/7/2017      TK Holdings Inc., et al .                     $982.92                                                                                       $982.92
KIMMEY, HARVEY A.
11724 FM 17
GRAND SALINE, TX 75140                               P‐0019241 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURLEY, MOZELL S.
CREDIT UNION OF ATLANTA
762 BRITTANY COURT
STONE MOUNTAIN, GA 30083                             P‐0019242 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONES, KIMBERLY N.
8026 WEST 44TH STREET
LITTLE ROCK, AR 72204                                P‐0019243 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SERPA, RANDAL
12075 RISING RD
WILTON, CA 95693                                     P‐0019244 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAISH, PRABHAT
5 PERRY DRIVE
WEST WINDSOR, NJ 08550                               P‐0019245 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTONI, DANIELLE
2 JORDAN AVE
SAN ANSELMO, CA 94960                                P‐0019246 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOMERS, HOLLY D.
5019 FOOTHILLS RD., APT. D
LAKE OSWEGO, OR 97034                                P‐0019247 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEFFRIES, EUGENE
3810 MT VERNON DR.
VIEW PARK, CA 900008                                 P‐0019248 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTISON, DALE L.
10792 SCRIPPS RANCH BLVD.
APT. 305
SAN DIEGO, CA 92131/6009                             P‐0019249 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRKPATRICK, BENJAMIN R.
1007 EAST CLARK STREET
WEST FRANKFORT, IL 62896                             P‐0019250 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YAO, JIAN
12509 MT ANDREW DR
HOUSTON, TX 77089‐6832                               P‐0019251 11/7/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HARE, ANNA M.
12007 BIRCH ST. APT. 179
OVERLAND PARK, KS 66209                              P‐0019252 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTISON, DALE L.
NO ADDRESS PROVIDED
                                                     P‐0019253 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONES, KIMBERLY N.
8026 WEST 44TH STREET
LITTLE ROCK, AR 72204                                P‐0019254 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEFFRIES, EUGENE
3810 MT VERNON DR.
VIEW PARK, CA 90008                                  P‐0019255 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, ANGELA
PARKER, REVA
4572 PARK RIDGE DR
MEDFORD, OR 97504                                    P‐0019256 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
FROST, AMY M.
FROST, CHRISTOPHER L.
678 PATTERSON RD
RUSTBURG, VA 24588                                  P‐0019257 11/7/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WILLIS, KALLEY S.
7915 PRESERVE CIRCLE
#212
NAPLES, FL 34119                                    P‐0019258 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAPE, MARCUS E.
2417 ELMWOOD BLVD
WAUSAU, WI 54403                                    P‐0019259 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YAO, JIAN
12509 MT ANDREW DR
HOUSTON, TX 77089                                   P‐0019260 11/7/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
DIER, NICHOLAS D.
DIER, MELISSA I.
8801 SKOKOMISH WAY NE
OLYMPIA, WA 98516                                   P‐0019261 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIESLEWICZ, MARK A.
CIESLEWICZ, BECKY J.
2760 WOODSTOCK CT
GREEN BAY, WI 54311                                 P‐0019262 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTHY, DAVID G.
3165 LANDVIEW DRIVE
ROCHESTER, MI 48306                                 P‐0019263 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOSCANO, ELENA C.
P.O. BOX 253
VINEBURG, CA 95487                                  P‐0019264 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REID, APRIL E.
15 BAKER LANE
GOLETA, CA 93117                                    P‐0019265 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEFFRIES, EUGENE
3810 MT VERNON DR.
VIEW PARK, CA 90008                                 P‐0019266 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JENNIFER
31271 CORTE ALHAMBRA
TEMECULA, CA 92592                                  P‐0019267 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TERHAR, JEREMY D.
418 S 59TH ST
TACOMA, WA 98408                                    P‐0019268 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEATHERSPOON, MELANIE D.
1229 BALL ST
PERRY, GA 31069                                     P‐0019269 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REID, APRIL E.
15 BAKER LANE
GOLETA, CA 93117                                    P‐0019270 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, GRANT E.
15522 NE 22ND PL
#737
BELLEVUE, WA 98007                                  P‐0019271 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRIER, DEBRA J.
8112 CORA STREET
SUNLAND, CA 91040                                   P‐0019272 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUZ, JONATHAN U.
12702 DOMART AVE
NORWALK, CA 90650                                   P‐0019273 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
EDWARDS, JON S.
1425 ELM DR
NOVATO, CA 94945                                      P‐0019274 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHURR, JUDITH A.
76433 SHOSHONE DRIVE
INDIAN WELLS, CA 92210‐8851                           P‐0019275 11/7/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
INZER, JENNIFER
1002 HENRY AVE
WEST RIVER, MD 20778                                  P‐0019276 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SETO, TINA W.
365 PACIFIC DR
MOUNTAIN VIEW, CA 94043                               P‐0019277 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEEPER, JODI
7505 W. 175TH ST.
#121
TINLEY PARK, IL 60477                                 P‐0019278 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGLETARY, JAMES T.
33 MALLORYS WAY
SAVANNAH, GA 31419                                    P‐0019279 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIVENS EARLYCUTT, CANDACE
100 TINSLEY CIRCLE
OXFORD, GA                                            P‐0019280 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAH, SAMIR D.
4 BROOK LANE
MOUNTAIN LAKES, NJ 07046                              P‐0019281 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
LEEPER, TIMOTHY J.
7505 W. 175TH ST
#121
TINLEY PARK, IL 60477                                 P‐0019282 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REED, MARQUES J.
7170 FAIR OAKS BLVD #3
CARMICHAEL, CA 95608                                  P‐0019283 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, PAUL J.
GARCIA, SHARON L.
1630 WILLIAMS HWY
#141
GRANTS PASS, OR 97527                                 P‐0019284 11/7/2017      TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
BUSCHERT, BENJAMIN L.
BUSCHERT, RAYMOND L.
145 SW PLEASANT VIEW AV
GRESHAM, OR 97030                                     P‐0019285 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAMPF, OLEG
17501 67TH AVE NORTH
MAPLE GROVE, MN 55311                                 P‐0019286 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, MARCUS J.
1932 NW 172ND ST
EDMOND, OK 73012                                      P‐0019287 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, CHARLES L.
3731 NW MUNSON STREET
SILVERDALE, WA 98383                                  P‐0019288 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOSSOU, SOUROU B.
7369 N WINCHESTER AVE
APT 2W
CHICAGO, IL 60626                                     P‐0019289 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
EILERS, BENJAMIN C.
EILERS, DARCEY J.
11924 NE 143RD PL
KIRKLAND, WA 98034                                     P‐0019290 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOOD, UMESH C.
3 HACHALIAH BROWN DR
SOMERS, NY 10589                                       P‐0019291 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONNOLLY, KRISTINE A.
CONNOLLY, SEAN P.
575 PORTER RD
EVANSVILLE, WI 53536                                   P‐0019292 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOJICA, AIYANA N.
2465 WINDBREAK DRIVE
ALEXANDRIA, VA 22306                                   P‐0019293 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LENIGK, MARY L.
LENIGK, REINER W.
2103 CORONET BLVD
BELMONT, CA 94002                                      P‐0019294 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, AMY M.
4506 E SUMAC DR.
SPOKANE, WA 99223                                      P‐0019295 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RINEHART, LORI L.
468 SW HOLDEN TERRACE
PORT SAINT LUCIE, FL 34984                             P‐0019296 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACDONALD, SHARON J.
HEMBROFF, JOHN D.
5540 NW TAMARRON PL
PORTLAND, OR 97229                                     P‐0019297 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOBO ROJAS, LOUIS C.
14697 CINNAMON DR
FONTANA
CALIFORNIA, CA 92337                                   P‐0019298 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, YITING
1266 MISSION ROAD
SOUTH SAN FRAN, CA 94080                               P‐0019299 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORAM, STEVEN C.
2726 85TH AVE NE
LAKE STEVENS, WA 98258                                 P‐0019300 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REINER, MICHAEL
506 OAK ST
PASO ROBLES, CA 93446                                  P‐0019301 11/7/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
DRIEDGER, EVAN
3481 WASHINGTON STREET
SAN FRANCISCO, CA 94118                                P‐0019302 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAGEL, CHARLES E.
NAGEL, LESLIE W.
500 WILLIAMS STREET
FOLSOM, CA 95630‐9559                                  P‐0019303 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEPHERD, LAMETRICA M.
261 DUSTIN LANE NW
MADISON, AL 35757                                      P‐0019304 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONES, KIMBERLY N.
8026 WEST 44TH STREET
LITTLE ROCK, AR 72204                                  P‐0019305 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LENIGK, REINER W.
2103 CORONET BLVD
BELMONT CA. 94002
, CA 94002                                           P‐0019306 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAGEL, CHARLES E.
NAGEL, LESLIE W.
500 WILLIAMS STREET
FOLSOM, CA 95630‐9559                                P‐0019307 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COSTA DE BEAUREG, RAOUL
MARTINEAUD, HELENE
2606 W RAYE STREET
SEATTLE, WA 98199                                    P‐0019308 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLADDEN, TATIANA S.
6130 WALTON AVENUE
PHILADELPHIA, PA 19143                               P‐0019309 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN ZANTEN, JEFF B.
1136 CORTEZ AVENUE
BURLINGAME, CA 94010                                 P‐0019310 11/7/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MCLEAN, JAMES M.
4579 COCHISE WAY
SAN DIEGO, CA 92117                                  P‐0019311 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAROW, CYNTHIA Y.
CYNTHIA Y. LAROW
21 REVOLUTIONARY RD
SUDBURY, MA 01776                                    P‐0019312 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCHER, RONALD E.
BUCHER, AMANDA S.
1840 E. 12TH ST
STOCKTON, CA 95206                                   P‐0019313 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORAH, GAYLE K.
1255 JOHN E SULLIVAN ROAD
BYRON, GA 31008                                      P‐0019314 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOTTA, CESAR B.
5252 ORANGE AVE. #437
SAN DIEGO, CA 92115                                  P‐0019315 11/7/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
BECKER, MELISSA L.
BECKER, JEFFREY J.
798 BARTON OAKS CT.
RIPON, CA 95366                                      P‐0019316 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORAH, GAYLE
1255 JOHN E SULLIVAN ROAD
BYRON, GA 31008                                      P‐0019317 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTHY, PETER J.
445 HICKORY AVE
CARNEYS POINT, NJ 08069                              P‐0019318 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECKER, MELISSA L.
BECKER, JEFFREY J.
798 BARTON OAKS CT.
RIPON, CA 95366                                      P‐0019319 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTOON GASBER, ATOUR
312
S MT PROSPECT
MT PROSPECT 60056                                    P‐0019320 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOREVER SLENDER INC
155 MOORE ROAD
SUDBURY, MA 01776                                    P‐0019321 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WIMER, ELBERT
CLARK, TERRI
24310 S BEAVERCREEK RD
BEAVERCREEK, OR 97004                                P‐0019322 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBEAU, DANA B.
BARBEAU, MICHAEL
8396 E. TURQUOISE AVE
SCOTTSDALE, AZ 85258                                 P‐0019323 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DALTON, JESSE J.
DALTON, SHANNON A.
7791 PISMO AVE
HESPERIA, CA 92345                                   P‐0019324 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUQUE, DAVID
201 N BELMONT ST #105
GLENDALE, CA 91206                                   P‐0019325 11/7/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
KOLACZYK, MICHELLE
4275 BLUE ROAD
CRESTON, CA 93432                                    P‐0019326 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, AARON S.
SMITH, KIMBERLY M.
                                                     P‐0019327 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPACHEVA, TATYANA
4959 CORTE PLAYA ENCINO
SAN DIEGO, CA 92124                                  P‐0019328 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, TERRI
WIMER, ELBERT
24310 S BEAVERCREEK RD
BEAVERCREEK, OR 97004                                P‐0019329 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEATH, DAVID A.
10130 MIRACANTO WAY
MORENO VALLEY, CA 92557                              P‐0019330 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GULAKOVA, MARINA
11830 NW HOLLY SPRINGS LN 404
PORTLAND, OR 97229                                   P‐0019331 11/7/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
BOWSER, MELVIN L.
1040 SNEAD DRIVE
SUFFOLK, VA 23434                                    P‐0019332 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENNIS, PATRICIA
356 N CATALINA ST
BURBANK, CA 91505                                    P‐0019333 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRANTE, VINCE G.
904 SW ABAR DRIVE
GRAIN VALLEY, MO 64029                               P‐0019334 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRITTE, SHANNON
6720 TALBOT CANYON RD
OKC, OK 73162                                        P‐0019335 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECKER, JAMES A.
4737 BAYLOR DRIVE
SAN DIEGO, CA 92115                                  P‐0019336 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAVIAUX, KEITH
1702 VERANADA AVE
ALTADENA, CA 91001                                   P‐0019337 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROCZEY, NICOLE
ROCZEY, KEVIN
10686 BRAVERMAN DRIVE
SANTEE, CA 92071                                     P‐0019338 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MATTHEWS‐SAMPSON, KENYATTA S.
7821 FOX MEADOW DRIVE
SALISBURY                                           P‐0019339 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, MICHAEL P.
MILLER, KRISTINA M.
4654 NW FREMONT ST.
4654 NW FREMONT ST.
CAMAS, WA 98607                                     P‐0019340 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARISCAL, MARIA G.
MARIA G. MARISCAL
5760 DEAN WAY
RIVERSIDE, CA 92504                                 P‐0019341 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAHLBERG, ELISE A.
DAHLBERG, ELISE
900 PARK BLVD
WEST SACRAMENTO, CA 95691                           P‐0019342 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANK, SHEILA A.
415 S. 17TH AVE
YAKIMA, WA 98902‐3803                               P‐0019343 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, DERRICK W.
YOUNG, DAISHAY R.
21200 KITTRIDGE ST. #2196
WOODLAND HILLS, CA 91303                            P‐0019344 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLEDSOE, DONALD E.
BLEDSOE, JOANNE E.
6409 SALLY AVE
BAKERSFIELD, CA 93308‐2849                          P‐0019345 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUST, MICHAEL JON
24882 FELSEN DRIVE
P.O. BOX 4222
CRESTLINE, CA 92325                                 P‐0019346 11/7/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HAMILTON, BRITTNEY R.
1630 RUE DU BELIER
APT 108
LAFAYETTE, LA 70506                                 P‐0019347 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDS, ANTHONY D.
P.O. BOX 51
CEDARVILLE, AR 72932                                P‐0019348 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAHLBERG, ELISE A.
DAHLBERG, ELISE A.
900 PARK BLVD
WEST SACRAMENTO, CA 95691                           P‐0019349 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESTES, VICKIE A.
4990 GROUSE RUN DR
STOCKTON, CA 95207                                  P‐0019350 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARR, VICTORIA R.
10905 3RD AVE SE
EVERETT, WA 98208                                   P‐0019351 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNOW, DENISE D.
3970 SWEETWATER PKWY
ELLENWOOD, GA 30294                                 P‐0019352 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIGSBY, DAVID P.
TAYLOR GRIGSBY, BRENDA M.
5624 MAPLE AVE
ST. LOUIS, MO 63112                                 P‐0019353 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
YOUNG, ASHLEY N.
2401 GOLDENROD ST
APT. #126
BAKERSFIELD, CA                                       P‐0019354 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOKS, KRISTINA
212 WILLOW ST
BREMERTON, WA 98310                                   P‐0019355 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KWAN, NAI TUEN
636 VASHON PL NE
RENTON, WA 98059                                      P‐0019356 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DISHER, ALEC
813 E 6TH ST
PORT ANGELES, WA 98362                                P‐0019357 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOUIE, LAWRENCE
24 CLIPPER ST.
SAN FRANCISCO, CA 94114                               P‐0019358 11/8/2017      TK Holdings Inc., et al .                   $23,750.00                                                                                   $23,750.00
DISHER, PATCHARAPON
813 E 6TH ST
PORT ANGELES, WA 98362                                P‐0019359 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEMENTS, MARTINA S.
12534 SW CANVASBACK WAY
BEAVERTON, OR 97007                                   P‐0019360 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, GENNIFER L.
2411 PICKERING DRIVE
A
BALTIMORE, MD 21234                                   P‐0019361 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, VIRGINA G.
LEWIS, GEORGE L.
#1
13417 NE 83RD STREET
VANCOUVER, WA 98682                                   P‐0019362 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VIDAL, BRANDON R.
5389 COCHRAN ST. APT 2
SIMI VALLEY, CA 93063                                 P‐0019363 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOUGHMILLER, BERT E.
LOUGHMILLER, BERT
137 FREMONT AVENUE
LOS ALTOS, CA 94022                                   P‐0019364 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, ANTHONY J.
3683 LA COSTA AVE
CASTRO VALLEY, CA 94546                               P‐0019365 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUSAT, JASMINE‐VIC A.
73‐1209 LOLOA DRIVE
KAILUA KONA, HI 96740‐9460                            P‐0019366 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENRIQUEZ, CRISTINA
ENRIQUEZ, CRISTINA
1313 SIERRA CREEK CT
PATTERSON, CA 95363                                   P‐0019367 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAUBENDER, GEORGE F.
28877 GRAYFOXST.
MALIBU, CA 90265                                      P‐0019368 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FACIANE, KIM
FACIANE, KIM
1203 CLAIBORNE DR #7
JEFFERSON                                             P‐0019369 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MACDONALD, TODD P.
MACDONALD, CHERYL L.
19110 80TH AVE W
EDMONDS, WA 98026                                     P‐0019370 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVAS, MAYELA
4522 ARIZONA ST.
SAN DIEGO, CA 92116                                   P‐0019371 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, ANNE
1741 ANNABELAS DR
PANAMA CITY BEAC, FL 32407                            P‐0019372 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACDONALD, TODD P.
MACDONALD, CHERYL L.
19110 80TH AVE W
EDMONDS, WA 98026                                     P‐0019373 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES, JACQUELINE M.
11720 S KILDARE AVE
ALSIP, IL 60803                                       P‐0019374 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOUGHMILLER, KAYE S.
LOUGHMILLER, BERT
LOUGHMILLER LIVING TRUST
137 FREMONT AVENUE
LOS ALTOS, CA 94022                                   P‐0019375 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECK, CARRIE E.
1330 LAKESHORE DR.
LODI, CA 95242                                        P‐0019376 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIM, EDEN L.
6933 SHEPHERD CANYON RD
OAKLAND, CA 94611                                     P‐0019377 11/8/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
LIBERATORE, KATIE
895 COMANCHE AVE
SANTA MARIA, CA 93455                                 P‐0019378 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIVENS, ELIZABETH
25581 DAYTON AVE
BARSTOW, CA 92311                                     P‐0019379 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALSH, JENNIFER C.
SASSENBERG, JAN P.
138 OTAY AVE
SAN MATEO, CA 94403                                   P‐0019380 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LECHNER, LANCE
NO ADDRESS PROVIDED
                                                      P‐0019381 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORISON, TRACI E.
39887 COTE D AZURE
MURRIETA, CA 92563                                    P‐0019382 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARD, JAIME C.
7407 FAIRVIEW RD SW
APT 14
OLYMPIA, WA 98512                                     P‐0019383 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTY, KEVIN
851 N. OGDEN DR.
LOS ANGELES, CA 90046                                 P‐0019384 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHAO, KAIGUANG
16 STIMENS DR
MANSFIELD, OH 44907                                   P‐0019385 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PIERSON, RUSSELL N.
275 VIA LINDA VISTA
REDONDO BEACH, CA 90277                              P‐0019386 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RISMAN, I.
16377 SUN SUMMIT DRIVE
RIVERSIDE, CA 92503                                  P‐0019387 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTY, KEVIN
851 N. OGDEN DR.
LOS ANGELES, CA 90046                                P‐0019388 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, VICKI
7105 CHURCH CREEK CIR NW
STANWOOD, WA 98292                                   P‐0019389 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOLBERG, JASON R.
2824 GRAND AVE
A401
EVERETT, WA 98201                                    P‐0019390 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGYEZ, BONNIE L.
4892 OLD CLIFFS ROAD
SAN DIEGO, CA 92120‐1142                             P‐0019391 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANCHARD, SANDRA L.
1051 W 1ST AVENUE
APT 15
COLUMBUS, OH 43212                                   P‐0019392 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAHANE, MATTHEW A.
2707 FRANKLIN AVE E
APT 3
SEATTLE, WA 98102                                    P‐0019393 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, ORION H.
1512 LARIMER ST, APT 17
DENVER, CO 80202                                     P‐0019394 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUDELO, ADRIAN
825 COLORADO AVE
CHULA VISTA, CA 91911                                P‐0019395 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HATCHER, MARC C.
191 GLENDALE DRIVE
YOUNGSVILLE, NC 27596                                P‐0019396 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROSS, VICTORIA E.
2295 OAKLEY ROAD
OAKLEY, CA 94561                                     P‐0019397 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, ANGELA T.
13060 CARRILLO ST.
CHINO, CA 91710                                      P‐0019398 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POE, TISHA
1139 YORK ST #104
DENVER, CO 80206                                     P‐0019399 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENO, DONNA R.
RENO, DENNIS A.
P.O. BOX 115
MOUNDS, OK 74047                                     P‐0019400 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, QUADE
29817 SE 370TH ST
ENUMCLAW, WA 98022                                   P‐0019401 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENO, DENNIS A.
RENO, DONNA R.
P.O. BOX 115
MOUNDS, OK 74047                                     P‐0019402 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BOND, DAVID F.
BOND, NINA S.
20697 W MEADOWBROOK AVE
BUCKEYE, AZ 85396                                     P‐0019403 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATTERS DANNENBE, SARAH
4819 41ST LN SE
LACEY, WA 98503                                       P‐0019404 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOND, DAVID F.
BOND, NINA S.
20697 W MEADOWBROOK AVE
BUCKEYE, CA 85396                                     P‐0019405 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LI, YING N.
4771 MILDRED DR
FREMONT, CA 94536                                     P‐0019406 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, TRICIA
1306 CASA PARK CIRCLE
WINTER SPRINGS, FL 32708                              P‐0019407 11/8/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
PINTO, ALLISON
6050 WHITSETT AVE., #11
VALLEY GLEN, CA 91606                                 P‐0019408 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANN, JUSTIN D.
165 GOODWAY RD
P.O. BOX 283
ELMORA, PA 15737                                      P‐0019409 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LA BUDA, MARK
1620 E. 2ND STREET, APT. 1C
BROOKLYN, NY 11230‐6937                               P‐0019410 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIVINGSTON, MARTHA A.
7656 S. 37TH STREET
LINCOLN, NE 68516                                     P‐0019411 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGEMANN, IAN S.
HAGEMANN, ANDREA R.
10 ABERDEEN PLACE
ST. LOUIS, MO 63105                                   P‐0019412 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIESEGANG, THOMAS
88 LAKE RD
BROOKFIELD, MA 01506                                  P‐0019413 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREIS, ALLISON A.
2827 HILTONWOOD RD
BALDWINSVILLE, NY 13027                               P‐0019414 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSKOWITZ, STUART W.
630 SHORE ROAD
APT 517
LONG BEACH, NY 11561                                  P‐0019415 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SORRENTINO, SUSAN A.
315 ESSEX ST
#4
SALEM, MA 01970                                       P‐0019416 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, MARY N.
MICHAEL T.
100 ALABAMA CT
DALEVILLE, VA 24083                                   P‐0019417 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTTS, RICK L.
105 BAR H DR
ATHENS, GA 30605                                      P‐0019418 11/8/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SHANE, ELIZABETH
3 HORIZON RD
APT 1415
FORT LEE, NJ 07024                                   P‐0019419 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHELIF, KAIS
KHELIF, KAIS
DEPT OF REVENUE
2525 COUNTY ROAD 3 SW
COKATO, MN 55321                                     P‐0019420 11/8/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
PAULSON, JAMES E.
13560 N. SUNSET MESA DRIVE
MARANA, AZ 85658                                     P‐0019421 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANZIOLA, NICK P.
16558 ABELA
CLINTON TWP., MI 480352C                             P‐0019422 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DHANRAJ, JAMEY E.
8932 SHADOW WOOD BLVD
CORAL SPRINGS, FL 33071                              P‐0019423 11/8/2017      TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
ZYJESKI, JEFFREY
469 NEW ROAD
AVON, CT 06001                                       P‐0019424 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEARMAN, SCHINETRIA
118 PRESCOTT ST
TOLEDO, OH 43620                                     P‐0019425 11/8/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
DHANRAJ, JAMEY E.
8932 SHADOW WOOD BLVD
CORAL SPRINGS, FL 33071                              P‐0019426 11/8/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
SHIRLEY, TERRY E.
319 WILLIAMS AND BROAD DRIVE
BROWNSBORO, AL 35741                                 P‐0019427 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DODD, JACK E.
73 BISHOP STREET
SAINT ALBANS, VT 05478                               P‐0019428 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODALE, ROMAINE
105 WILSON RD.
DEBAARY, FL 327131GCEC                               P‐0019429 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHEELER, DANIEL
131 W SENECA ST #117
MANLIUS, NY 13104                                    P‐0019430 11/8/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
ADAMS, SHARON
14533 MICHENER TRAIL
ORLANDO, FL 32828                                    P‐0019431 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENBERG, JEFFREY
17 DENERAIL ROAD
MANALAPAN, NJ 07726                                  P‐0019432 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANNING, KEVIN
1254 WESTMORELAND AVE
MONTGOMERY, AL 36106                                 P‐0019433 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PURGAHN, PATRICIA A.
PURGAHN, JAMES L.
37 LOUTRE BEND ROAD
HERMANN, MO 65041                                    P‐0019434 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERTRAN, JUAN R.
UNIVERSAL FIRE SPRINKLER CO
P.O. BOX 195403
SAN JUAN, PR 00919‐5403                              P‐0019435 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PETHRICK, WAYNE R.
PETHRICK, LEANNE G.
40 MORNING GLORY TERRACE
STRATFORD, CT 06614                                  P‐0019436 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUSSELMAN, TERRY R.
25 BRETHREN LANE
DUNCANSVILLE, PA 16635                               P‐0019437 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSTON, JANET D.
BLOEBAUM, DARREN J.
5714 WESTSHORE DRIVE
NEW PORT RICHEY, FL 34652                            P‐0019438 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYNE, KARALYNN M.
7811 STATE ROUTE 5
CLINTON, NY 13323                                    P‐0019439 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WISE, MELONY A.
731 E OUTER RD. APT H3
POPLAR BLUFF, MO 63901                               P‐0019440 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROWE, BONNIE L.
156 WINTONBURY AVE, APT B113
BLOOMFIELD, CT 06002                                 P‐0019441 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SISTO, JOSEPH
130 CHANDON CT.
DULUTH, GA 30097                                     P‐0019442 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENKINS, ARRIE D.
185 PARK PL. #2
BROOKLYN, NY 11238                                   P‐0019443 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSKOWITZ, STUART W.
630 SHORE ROAD
APT 517
LONG BEACH, NY 11561                                 P‐0019444 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THORN, PATRICK M.
22 DELTA AVENUE
NORTH DARTMOUTH, MA 02747                            P‐0019445 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYBACK, PAMELA J.
130 MERRIAM AVE
APT B
LEOMINSTER, MA 01453                                 P‐0019446 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKS, TIFFANY D.
8910 FULLER ROAD
CHATTANOOGA, TN 37421                                P‐0019447 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, KYLE M.
JOHNSON, WENDY A.
31708 ALDER COURT
WINCHESTER, CA 92596                                 P‐0019448 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLUMECOCQ, STEPHANIE
17 FLINT RIDGE DRIVE
MABLETON, GA 30126                                   P‐0019449 11/8/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
LAURIE, GERTHA D.
224 CLARENCE AVENUE
PASS CHRISTIAN, MS 39571                             P‐0019450 11/8/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WATERMAN, JEFFERY C.
WATERMAN, TAMI A.
2611 17TH AVE NW
OLYMPIA, WA 98502                                    P‐0019451 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HARE, SANDRA L.
HARE, LOUIS E.
3004 LAKEVIEW CIR. S.
PAOLA, KS 66071                                    P‐0019452 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROUSSARD, LACARA T.
8643 FORESTWOOD AVE.
BATON ROUGE, LA 70812                              P‐0019453 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THORN, WILLIAM P.
22 DELTA AVENUE
NORTH DARTMO8UTH, MA 02747                         P‐0019454 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELLS, CHRISTOPHER
17 FLINT RIDGE DRIVE
MABLETON, GA 30126                                 P‐0019455 11/8/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
HATLEY, SUSAN D.
4579 TULIP BEND DRIVE
MEMPHIS, TN 38135                                  P‐0019456 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, MICHAEL J.
1511 COUNTY ROAD 5
REPTON, AL 36475                                   P‐0019457 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IKANOVIC, DENIS
568 SUMMERGREEN CT.
SUWANEE, GA 30024                                  P‐0019458 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLOGG, DAVID W.
162 MEETING ST.
PROVIDENCE, RI 02906                               P‐0019459 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, MICHAEL G.
6513 BAR O RANCH RD
SANTA FE, TX 77517                                 P‐0019460 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLUMECOCQ, STEPHANIE
17 FLINT RIDGE DRIVE
MABLETON, GA 30126                                 P‐0019461 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONDIKE, DAN
2450 WEBSTER AVE
WEST MIFFLIN, PA 15122                             P‐0019462 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLOGG, DAVID W.
KELLOGG, DOROTHY Q.
162 MEETING ST.
PROVIDENCE, RI 02906                               P‐0019463 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOCIUS, MARGARET I.
1816 N. ARALIA DRIVE
MT. PROSPECT, IL 60056                             P‐0019464 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, BILLY O.
ADAMS, MARY M.
7138 THIRD AVE SO
RICHFIELD
, MN 55423                                         P‐0019465 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANKINS, BARBARA L.
10705 MARY LANE
MANVEL, TX 77578                                   P‐0019466 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NESS, BRADFORD J.
1701 FERN LANE
WAUSAU, WI 54401                                   P‐0019467 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALL AROUND PLUMBING, INC
1211 LEAFY HOLLOW CIR.
MT. AIRY, MD 21771‐2807                            P‐0019468 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
YOUNG, KENNETH C.
6 SMALLBROOK CIRCLE
RANDOLPH, NJ 07869                                   P‐0019469 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLOGG, DOROTHY Q.
162 MEETING ST.
PROVIDENCE, RI 02906                                 P‐0019470 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNTS, RACHAEL L.
16009 WHIPPOORWILL LANE
MANCHESTER, MI 48158                                 P‐0019471 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, KENNETH C.
6 SMALLBROOK CIRCLE
RANDOLPH, NJ 07869                                   P‐0019472 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHES, GARY W.
MATHES, DAWN M.
544 CAMEO WAY
ARROYO GRANDE, CA 93420‐5574                         P‐0019473 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOLER, KESHA
8000 CASITAS ROAD
ATASCADERO, CA 93422                                 P‐0019474 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DINKEL, CHRISTOPHER H.
WEIGER, KATRINA M.
3609 JOHN SIMMONS CT
FREDERICK, MD 21704                                  P‐0019475 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMSON, MICHAEL H.
117 RED CARDINAL DR
MT WASHINGTON, KY 40047                              P‐0019476 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GJERGJAJ, GJON
14470 SHADYWOOD DR
STERLING HTS, MI 48312                               P‐0019477 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAUKL, BRENT A.
7175 E DELABALME RD
COLUMBIA CITY, IN 46725                              P‐0019478 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITEHEAD, SAMANTHA C.
36517 PALMER RD
WESTLAND, MI 48186                                   P‐0019479 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMSON, MICHAEL H.
117 RED CARDINAL DR
MT WASHINGTON, KY 40047                              P‐0019480 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RADENBAUGH, KATHLEEN S.
3754 TIP LANE
MOUNT PLEASANT, SC 29466                             P‐0019481 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWARTZ, PAUL B.
SCHWARTZ, SHARON B.
29 LOFT DR
MARTINSVILLE, NJ 08836                               P‐0019482 10/31/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
BELTON, ROBERT D.
8417 BROMLEY ROAD
HILLSBOROUGH, NC 27278                               P‐0019483 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERRE, DANIEL
390 HALLADAY ST.
JERSEY CITY, NJ 07304                                P‐0019484 11/8/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
ARENS, KATHRYN M.
ARENS, ANDREW M.
19670 COUNTY ROAD 58
NASHWAUK, MN 55769                                   P‐0019485 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
STHILAIRE, MELISSA A.
15 SOUTH WACHUSETT STREET
HOLDEN, MA 01520                                    P‐0019486 11/8/2017      TK Holdings Inc., et al .                   $27,231.20                                                                                   $27,231.20
ANTHONY, STEPHEN M.
ANTHONY, ROBYN A.
8901 AMBERGLEN BLVD
APT 27310
AUSTIN, TX 78729                                    P‐0019487 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANK, CHRISTOPHER L.
7516 DOGWOOD LANE
HANOVER, MD 21076                                   P‐0019488 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDMOND, KATHY P.
1400 BENTBROOK DRIVE
RICHMOND, VA 23231                                  P‐0019489 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERBER, JOCELYN T.
10612‐D PROVIDENCE ROAD
CHARLOTTE, NC 28277                                 P‐0019490 11/8/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
HILL, DOUGLAS R.
HILL, KATHLENE R.
16088 WATERBURY BND
GRANGER, IN 46530                                   P‐0019491 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIMMERMAN, GARY
152 BROADWAY, UNIT 16
DOBBS FERRY, NY 10522                               P‐0019492 11/8/2017      TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
LYNCH, DEBORAH M.
21A W. BLUEBELL LA.
MT. LAUREL, NJ 08054                                P‐0019493 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, JUDY D.
2415 CALKINS AVE
IDAHO FALLS, ID 83402                               P‐0019494 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMPTON, JOHN E.
HAMPTON, BONNIE D.
4923 HOLLY OAK RD.
FORT WAYNE, IN 46845                                P‐0019495 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HICKS, MARCIA D.
105 ASKEW LANE
AULANDER, NC 27805                                  P‐0019496 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTON, LEO C.
WALTON, MELANIE S.
702 DOGWOOD ROAD
YORKTOWN, VA 23690                                  P‐0019497 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, JUDY F.
705 ROBIN DRIVE
ROCKWALL, TX 75087                                  P‐0019498 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREGG, TRACY L.
2303 DEERFORD AVE SW
MASSILLON, OH 44647                                 P‐0019499 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORES, VANIA
8421 PAOLA COVE
ROUND ROCK, TX                                      P‐0019500 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTON, MELANIE S.
702 DOGWOOD ROAD
YORKTOWN, VA 23690                                  P‐0019501 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDMOND, KATHY P.
1400 BENTBROOK DRIVE
RICHMOND, VA 23231                                  P‐0019502 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WOODALL, BARKOS D.
15922 SCHOOL ST
SOUTH HOLLAND, IL 60473                               P‐0019503 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOVE, MI
4914 SW OAKRIDGE RD
LAKE OSWEGO, OR 97035                                 P‐0019504 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAESLE, KAREN
35 CLEARVIEW LANE
WARWICK, NY 10990                                     P‐0019505 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOUDY, BRENDA M.
2025 4TH AVENUE
LOS ANGELES, CA 90018‐1232                            P‐0019506 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNOLDS, DUSTIN K.
REYNOLDS, EVELYN D.
710 BREAKAWAY LN
BERKELEY SPRINGS, WV 25411                            P‐0019507 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRISKILL, TAMERIA S.
1055 ROSELAND LANE
SOUTHSIDE, AL 35907                                   P‐0019508 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARMSTEAD, CHARLES
108 SAINT JEAN ST
CARENCRO, LA 70520                                    P‐0019509 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKHARDT, GLENN A.
BURKHARDT, DANIELLE B.
6557 BELBROOK COURT
SAN JOSE, CA 95120                                    P‐0019510 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRYS, ADAM S.
N2415 SHORE DRIVE
MARINETTE, WI 54143                                   P‐0019511 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, LUTHEDIA
306 K STREET
NORTH WILKESBORO, NC 28659                            P‐0019512 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIAZ, ANA‐LAURA
248 BROOKBERRY CIRCLE
CHAPEL HILL, NC 27517                                 P‐0019513 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SECREST, JAMES T.
30344 10TH AVE
GOBLES, MI 49055‐9284                                 P‐0019514 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKHARDT, GLENN A.
BURKHARDT, DANIELLE B.
6557 BELBROOK COURT
SAN JOSE, CA 95120                                    P‐0019515 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, RONALD P.
HARRIS, LISA J.
15349 W DOMINGO LN
SUN CITY WEST, AZ 85375‐3009                          P‐0019516 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SZUSTAKIEWICZ, JERZY K.
1739 BOULDER DR
DARIEN, IL 60561                                      P‐0019517 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONEILL, JUSTIN J.
11438 BURNHAM STREET
LOS ANGELES, CA 90049                                 P‐0019518 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELTON, LANNY A.
775 NORTH BIERDEMAN ROAD
BOX 127
PEARL, MS 39208                                       P‐0019519 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MCCABE, MICHAEL J.
5 FAR HORIZON LN
SANDY HOOK, CT 06482‐1492                           P‐0019520 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURDETTE, MICHAEL R.
991 E. BINDERTON PL
VERSAILLES, KY 40383                                P‐0019521 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEIXNER, BLAINE G.
5011 PIONEER CT.
MURRYSVILLE, PA 15668                               P‐0019522 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHARVER, ROBERT C.
4536 LAKE SUMMER MEWS
MOSELEY, VA 23120                                   P‐0019523 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, ROXANNE I.
22098 DIAMOND POINTE DRIVE
ATHENS, AL 35613                                    P‐0019524 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIPTON, ELISA J.
5020 WEST WOOLEY ROAD
OXNARD, CA 93035                                    P‐0019525 11/8/2017      TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00
BENDER, WILLIAM P.
15219 BLENHEIM WAY
MELFA, VA 23410                                     P‐0019526 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FULLER, LAWRENCE
6019 FORDLAND DR.
RALEIGH, NC 27606                                   P‐0019527 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, THOMAS E.
375 ROBINSON HEIGHTS
CLOVER, SC 29710                                    P‐0019528 11/8/2017      TK Holdings Inc., et al .                    $3,090.00                                                                                    $3,090.00
DECRISTOFARO, ANTHONY S.
DECRISTOFARO, PHYLLIS
472 NORTH HAYDEN ISLAND DRIVE
PORTLAND, OR 97217                                  P‐0019529 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORMAN, ROY H.
2677 QUAIL VALLEY ROAD
SOLVANG, CA 934632                                  P‐0019530 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
URBANIAK, STEVEN M.
3206 GATEWAY LEDGE
COMMERCE TOWNSHI, MI 48390‐4303                     P‐0019531 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWELL, DORIS K.
1735 N. LARRABEE STREET
CHICAGO, IL 60614                                   P‐0019532 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, PAUL R.
ROBERTS, ROSEMARY A.
43405 CORTE BARBASTE
TEMECULA, CA 92592                                  P‐0019533 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHUN, CHEYENNE
265 STAFFORD DR
BUSHKILL, PA 18324                                  P‐0019534 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YAMAMURA‐HIGA, NAN
10313 BIRCH BLUFF LN
LAS VEGAS, NV 89145                                 P‐0019535 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOUSEHOLDER, KEVIN L.
5923 OAK MILL TERRACE
PALMETTO, FL 34221                                  P‐0019536 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POSEY, JOAN M.
690 KENSINGTON CT
MAINEVILLE, OH 45039                                P‐0019537 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CRAMER, JUDY K.
2738 TIBURON BLVD EAST
NAPLES, FL 34109                                     P‐0019538 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, CHRISTINE E.
JOHNSON, EDWARD E.
3101 WHITE PHEASANT PLACE
VALRICO, FL 33596                                    P‐0019539 10/27/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
PALMER, LISA M.
9709 E 7TH STREET
TULSA, OK 74128                                      P‐0019540 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, KERN I.
741 ALGONQUIN PARKWAY
LOUISVILLE, KY 40208                                 P‐0019541 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANHOOK, RICHARD A.
VANHOOK, RHONDA S.
107 BETT DRIVE
GOLDSBORO, NC 27534                                  P‐0019542 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVILES, EDNA R.
14751 SEATTLE SLEW PLACE
ORLANDO, FL 32826                                    P‐0019543 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, PAUL E.
5489 CEDAR ISLAND RD.
WHITE LAKE, MI 48383                                 P‐0019544 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, LELA S.
RICHARDSON, DAVID A.
P.O. BOX 25490
FRESNO, CA 93729                                     P‐0019545 11/8/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
VAUGHN, SCOTT C.
VAUGHN, LINDA M.
2101 STAFFORD COURT
COLUMBIA, TN 38401                                   P‐0019546 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUITRON, JASON
900 N FULTON ST
IUKA, MS 38852                                       P‐0019547 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATSUDA, DEAN
6936 KENTWOOD COURT
LOS ANGELES, CA                                      P‐0019548 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKAFF, TARAH M.
154 DOVER LANE
DELAND, FL 32724                                     P‐0019549 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEIM, LAWRENCE E.
516 MILL RD.
GOLDSBORO, NC 27534                                  P‐0019550 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUWHUIS, SUZANNE L.
10825 10TH AVE NW
GRAND RAPIDS, MI 49534                               P‐0019551 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGGARD, STUART E.
252 EMMANUEL ROAD SW
WILLIS, VA 24380                                     P‐0019552 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BATTISTA III, JAMES A.
248 MOUNT ALVERNO RD
MEDIA, PA 19063                                      P‐0019553 11/8/2017      TK Holdings Inc., et al .                    $8,785.93                                                                                    $8,785.93
HAGEMAN, JOEL B.
2704 VIGILANTE TRAIL
BILLINGS, MT 59102                                   P‐0019554 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BAKKEN, DANIEL A.
121 COVINGTON COVE CIR
DEERFIELD, WI 53531                                 P‐0019555 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VIRTS, LINDA S.
5327 GOLDMINE ROAD
FREDERICK, MD 21703                                 P‐0019556 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARKISIAN, ROBERT H.
6197 RANGER RD
CLOVIS, CA 93619                                    P‐0019557 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TALAMANTE, RICARDO
1730 REDCLIFF ST
LOS ANGELES, CA 90026                               P‐0019558 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, JENNY L.
406 RIVERFALLS RD
APT H
EDWARDSVILLE, KS 66111                              P‐0019559 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUSTAFSON, SUSAN M.
1575 STANZIONE DRIVE
NORTH DIGHTON, MA 02764                             P‐0019560 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASH, CATHLEEN E.
1322 CLARY SAGE LOOP
ROUND ROCK, TX 78665                                P‐0019561 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWGREEN, AUSTIN R.
NEWGREEN, WALTER F.
632 SAXONY BOULEVARD
ST PETERSBURG, FL 33716                             P‐0019562 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNIGHT, ROBERTA L.
2405 CHERYL LANE
MODESTO, CA 95350                                   P‐0019563 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEILS, MICHAEL F.
311 HIWASSEE DRIVE
JACKSBORO, TN 37757                                 P‐0019564 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARZECHA, LINDA L.
7564 COUNCIL ROCK ROAD
ROSEVILLE, CA 95747                                 P‐0019565 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WITT, ANN L.
7052 KIRKCALDY DR.
WEST CHESTER, OH 45069                              P‐0019566 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRITT, CORY A.
1419 CLEVELAND ST
OWOSSO, MI 48867                                    P‐0019567 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUFTE, MATTHEW W.
285 EL MONTE AVE
VENTURA, CA 93004                                   P‐0019568 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABATE, GABRIEL A.
259 WASHINGTON AVE
BRENTWOOD, NY 11717‐2018                            P‐0019569 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRAZURE, MICHAEL E.
FRAZURE, CATHY E.
3774 BRIDLE PASS CT
ANN ARBOR, MI 48108                                 P‐0019570 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDAN, JASON M.
384 E UNION FARM DR
MIDVALE, UT 84047                                   P‐0019571 11/8/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
FULTON, WILLIAM C.
3113 JOANNE CIR.
PLEASANTON, CA 94588                                  P‐0019572 11/8/2017      TK Holdings Inc., et al .                    $3,704.00                                                                                    $3,704.00
ZELLER, DANIEL K.
490 BLOOMING DALE DR.
ST. LOUIS, MO 63125                                   P‐0019573 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, AARON T.
2246 SHADY HILLS DR
DIAMOND BAR, CA 91765                                 P‐0019574 11/8/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
RICHARDSON, DAVID A.
RICHARDSON, LELA S.
P.O. BOX 25490
FRESNO, CA 93729                                      P‐0019575 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECOOK, THEODORE W.
436 5TH ST
TOLEDO, OH 43605                                      P‐0019576 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUNGBLUT, ROBERT A.
4082 VALETA STREET
UNIT 363
SAN DIEGO, CA 92110                                   P‐0019577 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALLORY, RENEE
68285 BEEBE ROAD
NILES, MI 49120                                       P‐0019578 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TERRY, CHRISTOPHER J.
6701 CENTERVILLE CT
WHITSETT, NC 27377                                    P‐0019579 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUHR, PHILIP
10574 FUCHSIA CIRCLE
SANTA FE SPRINGS, CA 90670                            P‐0019580 10/24/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PONCE, ABRAHAM
1812 KARL WYLER DR
EL PASO, TX 79936                                     P‐0019581 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLACEK, RONALD J.
634 WATER STREET
P.O. BOX 9
PRAIRIE DU SAC, WI 53578                              P‐0019582 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRINCE, STEVEN A.
PRINCE, DEBBY
2509 GILLIS ROAD
MOUNT AIRY, MD 21771                                  P‐0019583 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORD, CAROLYN D.
1203 SABINE BROOK WAY
HOUSTON, TX 77073                                     P‐0019584 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, MELISSA A.
125 BRAEBURN COURT
WINSTON SALEM, NC 27127                               P‐0019585 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PONCE, JANIE P.
BAEZA, ELOY J.
175 SKYLINE DRIVE
MARTINDALE, TX 78655                                  P‐0019586 11/8/2017      TK Holdings Inc., et al .                   $10,309.00                                                                                   $10,309.00
HAAS, CHRISTOPHER J.
379 BETHEL CHURCH ROAD
LIGONIER, PA 15658                                    P‐0019587 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUMARDI, BENNY
2622 N THOMPSON RD
BROOKHAVEN, GA 30319                                  P‐0019588 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
TURNER, KYLE
516 MORAINE WAY
HEATH, TX 75032                                       P‐0019589 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTRA, KATHERINE L.
410 RUMSEY COURT
SAN JOSE, CA 95111                                    P‐0019590 11/8/2017      TK Holdings Inc., et al .                   $35,000.00                                                                                   $35,000.00
BOWERS, DAVID W.
BOWERS, DIANE C.
3845 TALTON PLACE
WAYZATA, MN 55391‐3537                                P‐0019591 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSS, ROBERT W.
MOSS, ALICE K.
1800 N. MAIN ST.
EAST PEORIA, IL 61611                                 P‐0019592 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWSE, KAMERON J.
1203 SABINE BROOK WAY
HOUSTON, TX 77073                                     P‐0019593 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHANAHAN, IAN J.
SHANAHAN, JERI L.
5740 SW DICKINSON ST.
PORTLAND, OR 97219                                    P‐0019594 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELAM, JOHN D.
1568 ROGERS CROSSING DR.
LITHONIA, GA 30058                                    P‐0019595 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAAS, CHRISTOPHER J.
379 BETHEL CHURCH ROAD
LIGONIER, PA 15658‐2074                               P‐0019596 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, KYLE M.
516 MORAINE WAY
HEATH, TX 75032                                       P‐0019597 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRINCE, STEVEN A.
PRINCE, DEBBY
2509 GILLIS ROAD
MOUNT AIRY, MD 21771                                  P‐0019598 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONDZUR, ANDREW W.
GONDZUR, ANDREW
3921 CONNECTICUT STREET
SAINT LOUIS, MO 63116                                 P‐0019599 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEETS, LARRY A.
SHEETS, CONNIE J.
4884 S ROUND HILL RD
COLUMBIA CITY, IN 46725                               P‐0019600 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIDDLE, ANDREW C.
111 VANGUARD ST.
HARVEST, AL 35749                                     P‐0019601 11/8/2017      TK Holdings Inc., et al .                   $24,189.00                                                                                   $24,189.00
SINGER, JANEEN K.
17027 LAWRENCE WAY
GRASS VALLEY, CA 95949                                P‐0019602 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOOD, WINFRED
120 OCTAVIA COURT
FAYETTEVILLE, GA 302143669                            P‐0019603 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UHL, CRAIG M.
1712 VIA SAN MARTINO
PALM DESERT, CA 92260                                 P‐0019604 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GONDZUR, ANDREW
3921 CONNECTICUT STREET
SAINT LOUIS, MO 63116                               P‐0019605 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRINCE, STEVEN A.
PRINCE, DEBBY
2509 GILLIS ROAD
MOUNT AIRY, MD 21771                                P‐0019606 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JALLOH, FATMATA K.
1720 BEDFORD AVE#10E
BROOKLYN, NY 11225                                  P‐0019607 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLSAP, TYLER N.
MILLSAP, ANGELA M.
61260 VICTORY LOOP
BEND, OR 97702                                      P‐0019608 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, BOBBIE JO
149 17TH ST SW
CEDAR RAPIDS, IA 52404                              P‐0019609 11/8/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
SHELLHAMMER, STACEY
227 WOODLAND AVE
CONNEAUT, OH 44030                                  P‐0019610 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAW, PAULA J.
SHAW, CHARLES E.
8713 HWY. N
MOUNTAIN GROVE, MO 65711                            P‐0019611 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEYOUNG, CRAIG H.
DEYOUNG, GRACE
1321 AEGEAN CT
PUNTA GORDA, FL 33983                               P‐0019612 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARWITZ, DANIEL G.
2390 BAYVIEW LANE
NORTH MIAMI, FL 33181                               P‐0019613 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSEN, KIRSTEN E.
5074 WESTMINSTER TERRACE
SAN DIEGO, CA 92116                                 P‐0019614 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEE, CHRISTOPHER H.
COLEE, CRYSTAL
516 TOWNE LAKE DR
MONTGOMERY, AL 36117                                P‐0019615 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUBARYK, SCOTT T.
6 MILKSHAKE LN
ANNAPOLIS, MD 21403                                 P‐0019616 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVARADO, NATALIE
3725 TIFFIN COURT
LAS VEGAS, NV 89129                                 P‐0019617 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLATNER, SEAN P.
3510 ASHFIELD DR
HOUSTON, TX 77082                                   P‐0019618 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRELLI, VIRGINIA A.
FRITZ, SHAWN D.
341 S 15 STREET
SAINT CHARLES, IL 60174                             P‐0019619 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, DONALD A.
MORRIS, CAROL W.
691A KILLARNEY DRIVE
MORGANTOWN, WV 26505                                P‐0019620 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                          Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
HUMMEL, CRAIG
HUMMEL, CRAIG
10152 134TH PLACE NE
KIRKLAND, WA 98033                                   P‐0019621 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
CABRAL, MEGAN M.
BOUCHER, ADRIAN P.
18579 CORTES CREEK BLVD
SPRING HILL, FL 34610                                P‐0019622 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                     P‐0019623 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
FRANKO, LAUREN A.
940 BUSH ST
OLYPHANT, PA 18447                                   P‐0019624 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
EVANS, JOHN A.
7 TORONTO AV.
GLOUCESTER, MA 01930                                 P‐0019625 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LOPEZ, ANDRUS A.
3717 TUNSTALL DR.
FRISCO, TX 75034                                     P‐0019626 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
JOHNSON, ROBERTA J.
1048 SCHOOL STREET
KANKAKEE, IL 60901                                   P‐0019627 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
AVERKAMP, TERRANCE F.
NO ADDRESS PROVIDED
                                                     P‐0019628 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
JOHNSON, RHONDA L.
23312 CONIFER DR
DENHAM SPRINGS, LA 70726                             P‐0019629 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
VALERIO MENDOZA, KARLA
1243 S CATALINA ST
LOS ANGELES, CA 90006                                P‐0019630 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
GUTOWSKI, KENNETH P.
18073 STONEBROOK DRIVE
NORTHVILLE, MI 48168                                 P‐0019631 11/8/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                     $1,000.00
STREIN, JOHN
362 WHITE ROAD
MINEOLA, NY 11501                                    P‐0019632 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ELISOFON, HEATHER
17 WEST ELIZABETH STREET
WATERLOO, NY 13165                                   P‐0019633 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
GROVER, JOAN M.
2525 TEXTER RD.
LEONARD, MI 48367                                    P‐0019634 11/8/2017      TK Holdings Inc., et al .                 $1,000,000.00                                                                                $1,000,000.00
TORINO, THOMAS M.
23 AMITY POINT
CLIFTON PARK, NY 12065                               P‐0019635 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
TOWNSEND, JAMES M.
309 FOXTAIL LANE
SPRING CITY, PA 19475                                P‐0019636 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
DIAZ, BEATRICE E.
9805 STANFORD AVE
SOUTH GATE, CA 90280                                 P‐0019637 11/8/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                    $10,000.00




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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
STOKES, ERNESTINE
SECU
6711 PARKHEIGHS AVE
#408
BATLIMORE, MD 21215                                 P‐0019638 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOCH, STEVEN
MANSFIELD, KAREN
2331 GRACEY LANE
FALLBROOK, CA 92028                                 P‐0019639 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARAPTIAN, ALBERT M.
KARAPTIAN, ARGELIA
601 1ST STREET 9
HERMOSA BEACH, CA 90254                             P‐0019640 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNES, VINIESHA F.
5375 SUGARLOAF PARKWAY
APT. 9201
LAWRENCEVILLE, GA 30043                             P‐0019641 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORTON, RONNIE
NORTON, BARBARA
P.O. BOX 23
MARIETTA, OK 73448                                  P‐0019642 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOYA, DON L.
2220 TURTLE MOUNTAIN BEND
AUSTIN, TX 78748                                    P‐0019643 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUGHN, CLIFFORD R.
BAUGHN, SHIRLEY J.
8035 AUBERGE CIRCLE
SAN DIEGO, CA 92127                                 P‐0019644 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARLEVARO, LAINEY
1024 35TH STREET #1
SACRAMENTO, CA 95816                                P‐0019645 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELISOFON, BENJAMIN C.
17 WEST ELIZABETH STREET
WATERLOO, NY 13165                                  P‐0019646 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALSH, KATHLEEN C.
WALSH, ROBERT
1165 41ST STREET
LOS ALAMOS, NM 87544                                P‐0019647 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERRITTS, MERIS
43 EAST DRIVE
GARDEN CITY, NY 11530                               P‐0019648 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROCKWOOD, DOREEN M.
18976 180TH AVENUE
TUSITN, MI 49688                                    P‐0019649 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANG, ATHENA C.
22016 100TH CT SE
KENT, WA 98031                                      P‐0019650 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEEL, JACQUELIN M.
7301 WEINGARTZ
CENTER LINE
MACOMB                                              P‐0019651 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, MECHELLE R.
1624 FORDEM AVENUE
APT 107
MADISON, WI 53704                                   P‐0019652 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LEES, STEVEN R.
6352 GREENWOOD CT
BELLEVILLE, MI 48111                                 P‐0019653 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPENCER, CAROL E.
2344 HARRISON AVE
FORT WORTH, TX 76110‐1108                            P‐0019654 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUISE, STEVEN S.
431 HIGHLAND ROAD
SIMI VALLEY, CA 93065                                P‐0019655 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNOXVILLE, JASON D.
KNOXVILLE, NICOLE N.
275 EVINS MILL RD
SMITHVILLE, TN 37166                                 P‐0019656 11/8/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
WALSH, ROBERT G.
WALSH, KATHLEEN
1165 41ST STREET
LOS ALAMOS, NM                                       P‐0019657 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLCERST, GLENN M.
TALERICO, BARBARA J.
1200 RESACA PLACE
PITTSBURGH, PA 15212                                 P‐0019658 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MISEL, STEVEN L.
7235 FOUR RIVERS ROAD
BOULDER, CO 80301                                    P‐0019659 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANTI, SANTI
4901 WILLET DR.
ANNANDALE, VA 22003                                  P‐0019660 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAY, BARBARA
77226 CANDY APPLE COVE
MEMPHIS, TN 38119                                    P‐0019661 11/8/2017      TK Holdings Inc., et al .                    $2,159.00                                                                                    $2,159.00
ARTEAGA, XOCHITL E.
3109 SUMMER SIDE CT
BAKERSFIELD, CA 93309                                P‐0019662 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, CAROLE S.
1235 E. OCEAN BLVD. #9
LONG BEACH, CA 90802                                 P‐0019663 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REUBEN, LIZ
4837 HAYVENHURST AVENUE, #16
ENCINO, CA 91436                                     P‐0019664 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERKINS, SETH H.
4417 21ST AVE SW
SEATTLE, WA 98106                                    P‐0019665 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELKINS, DONNA M.
P.O. BOX 880
JAMUL, CA 91935‐0880                                 P‐0019666 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAUNDERS, NATHAN H.
SAUNDERS, EMILY J.
THE SAUNDERS FAMILY TRUST
155 JELLICO CIR
SOUTHLAKE, TX 76092‐6804                             P‐0019667 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARSCHNEY, JONATHAN C.
1226 NE 140TH STREET
SEATTLE, WA 98125                                    P‐0019668 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERKINS, KATHRYN
4417 21ST AVE SW
SEATTLE, WA 98106                                    P‐0019669 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BOONE, BRUCE B.
45379 ESCALANTE CT
TEMECULA, CA 92592                                   P‐0019670 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, SUSAN F.
5604 62ND ST NW
GIG HARBOR, WA 98335‐7331                            P‐0019671 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUTCHINSON, CRAIG S.
HUTCHINSON, JOY J.
3625 WILLOW ST. SW
PRIOR LAKE, MN 55372                                 P‐0019672 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURCH, CYNTHIA T.
702 DAVENPORT WAY
LINCOLN, CA 95648                                    P‐0019673 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODCOCK, SEAN
11603 ROYAL PALM BLVD.
CORAL SPRINGS, FL 33065                              P‐0019674 11/8/2017      TK Holdings Inc., et al .                    $1,800.00                                                                                    $1,800.00
BELL, PAOLA S.
274 HILLANDALE DR
BLOOMINGDALE, IL 60108                               P‐0019675 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANTI, SANTI
4901 WILLET DR.
ANNANDALE, VA 22003                                  P‐0019676 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUGHN, CLIFFORD R.
BAUGHN, SHIRLEY J.
8035 AUBERGE CIRCLE
SAN DIEGO, CA 92127                                  P‐0019677 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINER, REX L.
44015 CINDY CIRCLE
TEMECULA, CA 92592                                   P‐0019678 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRESSELLER, PAUL M.
228 LEYDEN AVENUE S.W
GRAND RAPIDS, MI 49504                               P‐0019679 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADDRIZZO, JOHN G.
402 FOUR SEASONS LANE
MONTVALE, NJ 07645                                   P‐0019680 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLINTON, SHANNON B.
14965 BEARTREE ST
FONTANA, CA 92336                                    P‐0019681 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAGGART, JONATHAN E.
FAGGART, JANET K.
412 SEASONS W
SHERMAN, TX 75092                                    P‐0019682 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, CONNIE R.
261 LOMA BONITA
SAN LUIS OBISPO, CA 93401                            P‐0019683 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLINN IV, JOHN C.
23330 BURTON STREET
WEST HILLS, CA 91304                                 P‐0019684 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROMERO, SOPHIA A.
6855 DRAGONFLY ROCK ST
LAS VEGAS, NV 89148                                  P‐0019685 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEHLING, RICK
129 DEBORAH DRIVE
READING, PA 19610                                    P‐0019686 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
SANDOVAL, ERICA
527 PHEASANT AVE
BAKERSFIELD, CA 93309                                 P‐0019687 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JAMES P.
8583 DARNEL RD
EDEN PRAIRIE, MN 55347`

HENNEPIN                                              P‐0019688 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEIER, STEPHEN
2 TIMBER LANE
MANALAPAN, NJ 07726‐3157                              P‐0019689 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, JEREMY F.
12200 SE 10TH ST
BELLEVUE, WA 98005                                    P‐0019690 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROWE, BRITTANY N.
709 BROWN BREECHES AVE
NORTH LAS VEGAS, NV 89081                             P‐0019691 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RACI, ELIZABETH
1226 N MYERS ST
BURBANK, CA 91506                                     P‐0019692 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERN, PAUL A.
997 SMOKERISE BLVD
PORT ORANGE, FL 32127                                 P‐0019693 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNT, SARAH A.
6043 6TH AVE. NE
SEATTLE, WA 98115                                     P‐0019694 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTSFIELD, BARBARA G.
126 S. CATALINA AVENUE
UNIT 203
PASADENA, CA 91106                                    P‐0019695 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAFFELD, JANICE P.
1906 NORTHBROOK CT.
VISTA, CA 92083                                       P‐0019696 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, DAVID A.
RICHARDSON, LELA S.
P.O. BOX 25490
FRESNO, CA 93729                                      P‐0019697 11/8/2017      TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
MCDONALD, ALLISON R.
WOBBROCK, JASON R.
1211 69TH AVE E
FIFE, WA 98424                                        P‐0019698 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SZYMURSKI, DOUGLAS M.
SZYMURSKI, ADELMA
5303 BAYWOOD DRIVE
WAXHAW, NC 28173‐8182                                 P‐0019699 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATERS, LARRY R.
3039 SLAYEN WAY
SAN DIEGO, CA 92117                                   P‐0019700 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOONE, KARYN J.
45379 ESCALANTE CT
TEMECULA, CA 92592                                    P‐0019701 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEST, CARLY V.
1716 WINTHROP AVE
CHARLOTTE, NC 28203                                   P‐0019702 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
NIEHM, ROBERT C.
619 LOCKWOOD AVE
SANDUSKY, OH 44870                                   P‐0019703 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHEIDLER, HAROLD E.
SCHEIDLER, KAREN M.
110 PROMONTORY POINT
OLD FORT, NC 28762                                   P‐0019704 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIGGS, BRIANNA M.
555 CORONEL PLACE
#10
SANTA BARBARA, CA 93101                              P‐0019705 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEZFULI, KHODABAKHSH
17380 SUNSET RIDGE CIRCLE
GRANADA HILLS, CA 91344                              P‐0019706 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICHOLS, TARA J.
6809 N. HAMILTON
SPOKANE, WA 99208                                    P‐0019707 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARPER, SAMUEL
2903 39TH AVE
GULFPORT, MS 39501                                   P‐0019708 11/8/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
MORRISON, IAN
1201 CAMROSE ST
FORT COLLINS, CO 80525                               P‐0019709 11/8/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
PORTER WERTH, CRISTA I.
2803 GLENDORA AVENUE
ORLANDO, FL 32812                                    P‐0019710 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ, ERICA
CRUZ, FIDENCIO
322 DELLWOOD AVE.
LOCKPORT, IL 60441                                   P‐0019711 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIEBER, MARY E.
MARY ELLEN WIEBER REVOC.TRUST
335 E. WATER ST. APT3
SANDUSKY, OH 44870‐2886                              P‐0019712 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMS, MAY
TOMS, MAY
223 E AVONDALE DR
GREENSBORO, NC 27403                                 P‐0019713 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHOLL, ABIGAIL H.
P.O. BOX 12593
CHARLOTTE, NC 28220‐2593                             P‐0019714 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTILLO, STACY L.
GARCIA JR, ROBERT
592 N. TAILWIND DR
BLANCO, TX 78606                                     P‐0019715 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSEN, HELENE S.
2279 DAKOTA SKY CT
HENDERSON, NV 89052                                  P‐0019716 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGMAN, JOHN H.
BERGMAN, LILLIAN E.
5128 S ANTELOPE DRIVE
FORT MOHAVE, AZ 86426                                P‐0019717 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGAL, SHARA
8212 OCEAN TERRACE WAY
LAS VEGAS, NV 89128                                  P‐0019718 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
CZAPLICKI, LAURA S.
CZAPLICKI, ANTHONY D.
3889 REDS GAIT LANE
JACKSONVILLE, FL 32223‐4056                           P‐0019719 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEARD, WADE F.
7001 TRAMORE LANE
CLEMMONS, NC 27012                                    P‐0019720 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELLO, DIANE G.
1130 EAST STREET
MANSFIELD, MA 02048                                   P‐0019721 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANK, SANDRA
12645 89TH ST
FELLSMERE, FL 32948                                   P‐0019722 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CZAPLICKI, ANTHONY D.
CZAPLICKI, LAURA S.
3889 REDS GAIT LANE
JACKSONVILLE, FL 32223‐4056                           P‐0019723 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VERA‐FERRIN, ROSA E.
9970 RAMBLEWOOD DRIVE
CORAL SPRINGS, FL 33071                               P‐0019724 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOVESI, FRANK
2230 CRUGER AVENUE #1F
BRONX, NY 10467                                       P‐0019725 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHIFFMILLER, GARY
924 OSAGE AVE
SANTA FE, NM 87505                                    P‐0019726 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COONRADT, RICHARD N.
COONRADT, KAREN J.
5942 N MITCHUM AVE.
MERIDIAN, ID 83646‐4206                               P‐0019727 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEFFERSON, MELVIN C.
1200 GRAND BLVD
BIRMINGHAM, AL 35214                                  P‐0019728 10/27/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
COONRADT, RICHARD N.
COONRADT, KAREN J.
5942 N MITCHUM AVE.
MERIDIAN, ID 83646‐4206                               P‐0019729 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTHY, SUZANNE
25257 PUNTA MADRYN
PUNTA GORDA, FL 33983                                 P‐0019730 10/27/2017     TK Holdings Inc., et al .                    $9,500.00                                                                                    $9,500.00
BIRD, JASON L.
43 CAMDEN CSWY
ELIZABETH CITY, NC 27909                              P‐0019731 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, GERALD W.
1201 HAMMOCK SHADE DRIVE
LAKELAND, FL 33809‐4654                               P‐0019732 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTERMANN, TERRY L.
265 VENICE WAY
UNIT 1301
MYRTLE BEACH, SC 29577                                P‐0019733 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREER, ROBERT W.
FREER, KATHRYN P.
416 NORTH FIRST STREET
CHARLOTTESVILLE, VA 22902                             P‐0019734 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
DAVID, CRISTINA
8166 CALICO STREET
SAN DIEGO, CA 92126                                   P‐0019735 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUMINGS, TINA L.
3450 TRAIL WEST DR. NE
GRAND RAPIDS, MI 49525                                P‐0019736 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUSHMAN, CORA M.
3212 W CALLE CEREZA
TUCSON, AZ 85741                                      P‐0019737 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASHMORE, KENT S.
1780 CRESTON RD
PASO ROBLES, CA 93446                                 P‐0019738 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOK, STEPHEN J.
13782 W 115TH ST
OLATHE, KS 66062                                      P‐0019739 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, JIM M.
GARCIA, BARBARA J.
GARCIA TRUST
707 S BUENA VISTA STREET
REDLANDS, CA 92373                                    P‐0019740 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVAREZ‐GONZALEZ, LUIS M.
ALVAREZ, AMY J.
102 BARTON AVE.
LULING, LA 70070                                      P‐0019741 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILL'NEUVE, CORY J.
9D BROCK LANE
HACKETTSTOWN, NJ 07840                                P‐0019742 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, JEWEL M.
550 S BARRINGTON AVE
APT 4312
LOS ANGELES, CA 90049                                 P‐0019743 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMAYA, MARILU
21422 127TH PL SE
KENT, WA 98031                                        P‐0019744 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANBACK, LOREATHA L.
422 BAVARIAN STREET
MIDDLETOWN, OH 45044                                  P‐0019745 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGUIRE, ANTHONY
2920 CENTER ST
P.O. BOX 474
SPRINGTOWN, PA 18081                                  P‐0019746 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CREED, MICHAEL F.
7641 W HORTENSE
CHICAGO, IL 60631‐1809                                P‐0019747 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWE, STEVE L.
HOWE, LAURA L.
16203 7TH AVE CT E
TACOMA, WA 98445                                      P‐0019748 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COUSIN, TERRY O.
NO ADDRESS PROVIDED
                                                      P‐0019749 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, JAIME A.
8672 SAN CARLOS AVE
SOUTH GATE, CA 90280                                  P‐0019750 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
COOK, STEPHEN J.
13782 W 115TH ST
OLATHE, KS 66062                                    P‐0019751 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERKIN, SHARON M.
5818 ASHDALE ROAD
LAKE WORTH, FL 33463‐7402                           P‐0019752 11/8/2017      TK Holdings Inc., et al .                    $9,363.00                                                                                    $9,363.00
CALVERT KURRY, KERI R.
671 COUNTY ROAD 1635
CULLMAN, AL 35058                                   P‐0019753 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE ARMAS, LOUIS B.
2420 STATE HWY 23
MORRIS, NY 13808                                    P‐0019754 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARBER, MATVEY
DRABKIN, ANYA
203 RUTHERFORD AVE
REDWOOD CITY, CA 94061                              P‐0019755 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FONTILLA, DWIGHT D.
FONTILLA, MICHIKO
11757 175TH PL NE
REDMOND, WA 98052                                   P‐0019756 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERKIN, SHARON M.
5818 ASHDALE ROAD
LAKE WORTH, FL 33463‐7402                           P‐0019757 11/8/2017      TK Holdings Inc., et al .                    $3,992.00                                                                                    $3,992.00
MCGINNIS, ROBIN C.
640 JASMINE AVE
WEST SACRAMENTO, CA 95605                           P‐0019758 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SATTER, MOLLY L.
11B CENTER ST
NORTH EASTON, MA 02356                              P‐0019759 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYNOLDS, KATHERINE M.
1655 MILLERTOWN RD
AUBURN, CA 95603                                    P‐0019760 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALDEZ, SERENITY T.
2301 W. ASBURY AVE
DENVER, CO 80223                                    P‐0019761 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YANG, LINDA
7933 DRY CREEK DRIVE
DUBLIN, CA 94568                                    P‐0019762 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOUZA, RICHARD
46 QUINCY ST
APT 2
SOMERVILLE, MA 02143                                P‐0019763 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUMACHER, STEPHEN E.
SCHUMACHER, CHERYL B.
350 MADELINE DRIVE
SAINT LEONARD, MD 20685                             P‐0019764 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLEY, MANDY L.
2077 ATLANTIC DR
RAPID CITY, SD 57703                                P‐0019765 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVARADO, ENRIQUE G.
ALVARADO, PAMELA A.
7161 BELGIUM CIRCLE
PENSACOLA, FL 32526‐3941                            P‐0019766 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BACHNER, KENNETH I.
1830 HAVENWOOD DRIVE
THOUSAND OAKS, CA 91362                             P‐0019767 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LOPEZ, LINDA J.
442 NORTH ORANGE DRIVE
LOS ANGELES, CA 90036                               P‐0019768 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RHODUS, VICTORIA C.
2003 OXFORD‐MIDDLETOWN RD.
SOMERVILLE, OH 45064                                P‐0019769 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SULLIVAN, MICHAEL H.
SULLIVAN, LYNNE M.
78G CAMERON LAKE LOOP ROAD
OKANOGAN, WA 98840                                  P‐0019770 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, DONNA A.
2357 ERIN ROAD
SYKESVILLE, MD 21784                                P‐0019771 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSTROSKI, HOWARD A.
SINCLAIR, SUSAN E.
3632 COOK‐UNDERWOOD RD
COOK, WA 98605                                      P‐0019772 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUMACHER, STEPHEN E.
SCHUMACHER, CHERYL B.
350 MADELINE DRIVE
SAINT LEONARD, MD 20685                             P‐0019773 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBER, TABITHA D.
541 N DUNE RD
MOSES LAKE, WA 98837                                P‐0019774 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KORWEK, CURTIS D.
2040 MITTENWALD DR
APT 406
COLORADO SPRINGS, CO 80918                          P‐0019775 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, RODNEY D.
44604 ASPEN RIDGE DR
NORTHVILLE, MI 48168                                P‐0019776 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, JERRY M.
7526 FM 514
EMORY 75440                                         P‐0019777 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLAGHER, KIMBERLEY K.
184 MARCY DR
LOVELAND, CO 80537                                  P‐0019778 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSENKRANZ, MARK A.
2412 HAY ST
EASTON, PA 18042                                    P‐0019779 11/8/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GUZOBAD, JOHN
P.O. BOX 215
MOUNT ARLINGTON, NJ 07856                           P‐0019780 11/8/2017      TK Holdings Inc., et al .                     $400.00                                                                                       $400.00
PACIFIC BEST INC.
10725 E. RUSH ST.
SOUTH EL MONTE, CA 91733                            P‐0019781 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANDI, LUISA S.
GRANDI, MATTHEW T.
51 DOROTHY WAY
NOVATO, CA 94945                                    P‐0019782 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNAGL, KATHLEEN A.
3821 W GLENWOOD DRIVE
FRANKLIN, WI 53132                                  P‐0019783 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
SUNDERMAN, DREW R.
4520 N RIVER ROAD
#56
OCEANSIDE, CA 92057                                   P‐0019784 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KORWEK, ELAINE A.
2040 MITTENWALD DR
APT 406
COLORADO SPRINGS, CO 80918                            P‐0019785 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBER, TABITHA D.
541 N DUNE RD
MOSES LAKE, WA 98837                                  P‐0019786 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAGNON, NICOLE
11 LAKE MICHIGAN DRIVE
LITTLE EGG HARBO, NJ 08087                            P‐0019787 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELVINS, NONA E.
15000 RITTER ST APT #3
VICTORVILLE, CA 92394                                 P‐0019788 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVELL, JUDY A.
193 CREEK LOOP RD
BASTROP, TX 78602                                     P‐0019789 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAPERS, JASMINE R.
1802 STEWART AVE
HOPEWELL, VA 23860                                    P‐0019790 11/8/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
OSTROSKI, HOWARD A.
SINCLAIR, SUSAN E.
3632 COOK‐UNDERWOOD RD.
COOK, WA 98605                                        P‐0019791 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIEGER, KIKI
1823 21 DRIVE
ASTORIA, NY 11105                                     P‐0019792 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, MICHAEL E.
5715 DEL RIO ROAD SOUTH
MOBILE, AL 36693                                      P‐0019793 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANDI, MATT
51 DOROTHY WAY
NOVATO, CA 94945                                      P‐0019794 11/8/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GASTELUM, VERONICA A.
1680 SCOTT AVE APT I10
EL CENTRO, CA 92243                                   P‐0019795 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUCKINS, PAMELA J.
78 EAST LEWIS STREET
VENTURA, CA 93001                                     P‐0019796 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KATO, AILI
4483 TEXAS STREET
SAN DIEGO, CA 92116                                   P‐0019797 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASO, JOE
RASO, VELMA O.
312 VALLEYRIDGE ST
SOLEDAD, CA 93960                                     P‐0019798 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STATEN, LINDA
704 NORTH ARCHUSA AVENUE
QUITMAN, MS 39355                                     P‐0019799 11/8/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
CHAPMAN CAYFORF, CYNTHIA
CAYFORD, ROBERT
27152 COOL WATER RANCH RD.
VALLEY CENTER, CA 92082‐6628                          P‐0019800 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BAILEY, AMY J.
761 GHOLSON RD
CLARKSVILLE, TN 37043                               P‐0019801 11/8/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
JUREK, KELSEY
JUREK, ANTHONY
1028 SEMINARY AVE
ST. PAUL, MN 55104                                  P‐0019802 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSEN, ANITA M.
THOMPSEN, JAMES A.
6863 BATIQUITOS DRIVE
CARLSBAD, CA 92011                                  P‐0019803 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEA, ROBERT T.
24504 STANDING ROCK RD.
APPLE VALLEY, CA 92307                              P‐0019804 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPMANCAYFORD, CYNTHIA L.
27152 COOL WATER RANCH RD
VALLEY CENTER, CA 92082‐6628                        P‐0019805 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PACHLIN, LAURA L.
367 CAMINO ELEVADO
BONITA, CA 91902                                    P‐0019806 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVELL, APRIL D.
246 SALLE AVE
BUDA, TX 78610                                      P‐0019807 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, BRIDGET E.
NELSON, LEIF E.
6539 DANTE CIRCLE
RIVERSIDE, CA 92506                                 P‐0019808 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHAO, SHULEI
19 ETON OVERLOOK
ROCKVILLE, MD 20850                                 P‐0019809 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REEVES, SYLVIA L.
8043 HARMONY LAKES DR.
LITHONIA, GA 30058                                  P‐0019810 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GASTELUM ACEVES, CARLOS A.
2085 COTTONWOOD CIRCLE APT 19
EL CENTRO, CA 92243                                 P‐0019811 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPMANCAYFORD, CYNTHIA
27152 COOL WATER RANCH RD
VALLEY CENTER, CA 92082‐6628                        P‐0019812 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELISOFON, HEATHER
17 WEST ELIZABETH STREET
WATERLOO, NY 13165                                  P‐0019813 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANNAVO, FRANK
410 HELDERVIEW DRIVE
ALTAMONT, NY 12009                                  P‐0019814 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUMMEL, CRAIG
HUMMEL, CRAIG
10152 134TH PLACE NE
KIRKLAND, WA 98033                                  P‐0019815 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAYEGH, FARID
BMW FINANCIAL
13535 VENTURA BLVD.
SUITE C210
SHERMAN OAKS, CA 91423                              P‐0019816 11/8/2017      TK Holdings Inc., et al .                    $7,191.00                                                                                    $7,191.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ROWEN, CAROL L.
12490 W. FIELDING CIRCLE
APT. 322
PLAYA VISTA, CA 90094                               P‐0019817 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARDINOIS, KARLA RAE
1233 LAKE ST
WHITE LAKE, WI 54491                                P‐0019818 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTZ, JUSTIN W.
905 CHANCELLOR LANE
GREEN BAY, WI 54311                                 P‐0019819 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUANELI, DEAN J.
CROOKS, CRISTINE P.
2124 2ND ST
DOUGLAS, AK 99824                                   P‐0019820 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIERRO, JUANITA
MURILLO, ENEMUEL
3009 E SILVERBELL RD
SAN TAN VALLEY, AZ                                  P‐0019821 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARIBAY EDWARDS, BETTY
EDWARDS, BRIAN
1182 HANFORD CT
CHULA VISTA, CA 91913                               P‐0019822 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKEL, MARY H.
760 TOLL ST
MONROE, MI 48162                                    P‐0019823 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANTHAM, DARIN B.
11200 STRATHAVEN STREET
BAKERSFIELD, CA 93312                               P‐0019824 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, THERESA
605 W ELM ST
1ST FLOOR
LINDEN, NJ 07036                                    P‐0019825 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, DONNA R.
13543 DALE
DETROIT, MI 48223                                   P‐0019826 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAUDONIS, ROBERT J.
RAUDONIS, ROSEANN G.
918 TIMBERLAND ROAD
SHOW LOW, AZ 85901                                  P‐0019827 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOURMAND, NIMA
18419 DOMINO ST
TARZANA, CA 91335                                   P‐0019828 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RADHAKRISHNAN, JAGADEESH
107 APPEL CT
FOLSOM, CA 95630                                    P‐0019829 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILBERG, THOMAS R.
VILBERG, JEANNE A.
5109 MANDRAKE LANE
LAS VEGAS, NV 89130                                 P‐0019830 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARL, EUGENE E.
3623 MILFORD PLACE
CARLSBAD, CA 92010                                  P‐0019831 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERRICO, BARBARA E.
24 HEMLOCK ROAD
LEVITTOWN, PA 19056                                 P‐0019832 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
RIGGIO, ANTHONY
8 BALSAM DRIVE
SPENCERPORT, NY 14559                                 P‐0019833 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KESSLER, ADRIENNE
P.O. BOX 2270
CAPE MAY, NJ 08204                                    P‐0019834 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARKIN, MIKE L.
P.O. BOX 158
ALTOONA, KS 66710                                     P‐0019835 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARREN, CHERI H.
WARREN, JOHN W.
12101 MANOR PARK DRIVE
GLEN ALLEN, VA 23059                                  P‐0019836 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIGUEROA, LIZBETH
HC 02 BOX 14800
CAROLINA, PR 00987                                    P‐0019837 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLOSKEY, ROBERT S.
CLOSKEY, EVELYN D.
17326 SE 81ST THORNEHILL AVE
THE VILLAGES, FL 32162                                P‐0019838 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTRUITA, MONICA
14330 BUSH AVE.
RIVERSIDE, CA 92508                                   P‐0019839 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REGAN, ERIN N.
1324 CINDY AVE
CLOVIS, CA 93612                                      P‐0019840 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LICONA, MICHAEL R.
LICONA, DEBRA K.
4580 BRIGHTON VIEW TRAIL
CUMMING, GA 30040                                     P‐0019841 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREISE, KETRA A.
FREISE, DALE E.
20 EVAN PUGH DR
PARIS, TN 38242                                       P‐0019842 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, VIRGINIA L.
111 S. LAKE CIRCLE
ST. AUGUSTINE, FL 32084                               P‐0019843 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, BEVERLY A.
429 W. HYLDA AVE
YOUNGSTOWN, OH 44511                                  P‐0019844 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LICONA, MICHAEL R.
LICONA, DEBRA K.
4580 BRIGHTON VIEW TRAIL
CUMMING, GA 30040                                     P‐0019845 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOLOIRAS, LUCY LAURA S.
DOLOIRAS, ENRIQUE G.
1374 BOTTLEBRUSH STREET
CORONA, CA 92882                                      P‐0019846 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIGUEROA, SUSAN E.
3016 CRUISE CIRCLE
PASO ROBLES, CA 93446                                 P‐0019847 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, MARY E.
3204 POWERS FORD
MARIETTA, GA 30067                                    P‐0019848 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WITLIN, DONALD M.
168 S. LAUREL STREET
VENTURA 93001                                         P‐0019849 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHIMMEL, THOMAS P.
SCHIMMEL, DEBRA R.
6016 FOX RUN
FAIRFAX, VA 22030                                     P‐0019850 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, RICHARD E.
1643 31ST STREET
MERIDIAN, MS 39305                                    P‐0019851 11/8/2017      TK Holdings Inc., et al .                    $3,527.00                                                                                    $3,527.00
EADIE, JOSHUA T.
3276 NORTHSIDE PARKWAY NW
APT 2210
ATLANTA, GA 30327                                     P‐0019852 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                      P‐0019853 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIGNATER, ARTHUR J.
SIGNATER, SARAH L.
510 HARVEST HILL
MURPHY, TX 75094                                      P‐0019854 10/30/2017     TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                      P‐0019855 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAVARY, NAZANIN
1717 NORTH VERDUGO ROAD
APT 412
GLENDALE, CA 91208                                    P‐0019856 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARAGON, ANTHONY R.
187 N MOUNTAIN TRAIL APT. B
SIERRA MADRE, CA 91024                                P‐0019857 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEDROZA, DANIE
5330 N PERSHING AVE
SAN BERNARDINO, CA 92407                              P‐0019858 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONSTOTT, CHARLLES K.
ONSTOTT, BARBARA I.
8122 W FLAMINGO RD #96
#06
LAS VEGAS, NV 89147‐4206                              P‐0019859 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERRITTS, KRISTINA
43 EAST DRIVE
GARDEN CITY, NY 11530                                 P‐0019860 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIGGIO, ANTHONY
8 BALSAM DRIVE
SPENCERPORT, NY 14559                                 P‐0019861 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMBERS, AIESHA S.
43315 DONLEY DR
STERLING HEIGHTS, MI 48314                            P‐0019862 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUHAMMAD, KHADIJAH A.
11226 VALLEY BEND DRIVE
GERMANTOWN, MD 20876                                  P‐0019863 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGES, CHRISTOPHER A.
3515 ARLENE ST
APT G201
BRANSON, MO 65616                                     P‐0019864 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
KAMMERMAN, MARCY H.
21704 FALL RIVER DRIVE
BOCA RATON, FL 33428                                   P‐0019865 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTWRIGHT, JEANNE M.
1661 LOMACITA TERRACE
EL CAJON, CA 92021                                     P‐0019866 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEAKLE, MICHAEL A.
2034 ODESSA CIR
THE VILLAGES, FL 32162                                 P‐0019867 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARTO, ROBERT S.
604 SAN TELMO CIR
NEWBURY PARK, CA 91320                                 P‐0019868 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUADAGNO, PASQUALE E.
15 WHEELER PLACE
WEST NYACK, NY 10994                                   P‐0019869 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, RICARDO
11828 PROVIDENCE BAY CT.
LAKESIDE, CA 92040                                     P‐0019870 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHRAMOV, DMITRII
DMITRII KHRAMOV
1120 N. FULLER AVE. APT. 202
WEST HOLLYWOOD, CA 90046                               P‐0019871 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIN, DAN
46 QUOBAUG AVE
OXFORD, MA 01540                                       P‐0019872 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUSHMAN, CORA M.
3212 W CALLE CEREZA
TUCSON, AZ 85741                                       P‐0019873 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARBUS, ROBERT J.
4308 BEN AVE
STUDIO CITY, CA 91604                                  P‐0019874 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCLEOD, MURRAY R.
LINDA
620 S 68TH PL
SPRINGFIELD, OR 97478                                  P‐0019875 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DEBBIE R.
2878 TIPANY COURT
DECATUR, GA 30034                                      P‐0019876 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAROUN, DAVID
27520 14TH ST
HIGHLAND, CA 92346                                     P‐0019877 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES, JOHN R.
HUGHES, JACINDA N.
345 SOUTH BROOKS STREET
COLUMBUS, IN 47201                                     P‐0019878 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODWIN, JAMES N.
103 WILDES DISTRICT ROAD
KENNEBUNKPORT, ME 04046                                P‐0019879 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEAD, PATRICK T.
CAMP, LAURA L.
12126 SE 262ND CT
KENT, WA 98030                                         P‐0019880 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEDA, EDWARD
URB MONTE TRUJILLO
1405 PARQUE TERRALINDA M5
TRUJILLO ALTO, PR 00976                                P‐0019881 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WARREN, MARK L.
5662 CLOVERLAND DRIVE
BRENTWOOD, TN 37027                                  P‐0019882 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRNE, ROBERT J.
411 3RD AVEBYE
BELMAR, NJ 07719                                     P‐0019883 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINNESY, LAURA M.
3717 W ANDERSON DRIVE
GLENDALE, AZ 85308                                   P‐0019884 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTOLOTTA, TED J.
3656 HOOFPRINT DR
MELBOURNE, FL 32940                                  P‐0019885 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, WILLIE L.
2021 DEEP FOREST TRAIL
RALEIGH, NC 27603                                    P‐0019886 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEKERES, PATRICIA A.
W575 KEARNEY RD
BURLINGTON, WI 53105                                 P‐0019887 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, SONIA
2729 LARKSPUR LN
DALLAS, TX 75233                                     P‐0019888 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOKS, PASSION
1209 AMSDEN CIRCLE
DENISON, TX 75020                                    P‐0019889 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KREPS, PAMELA W.
1226 SIGNAL ROCK RD
GRAND JUNCTION, CO 81505                             P‐0019890 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDAN, FARRAH
3405 BURDETT CT
AVONDALE ESTATES, GA 30002                           P‐0019891 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
XIONG, WA CHONG
12514 E 38TH STREET
TULSA, OK 74146                                      P‐0019892 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEDOROFF, MARY A.
FEDOROFF, ROBERT W.
7625 SE 22ND AVENUE
PORTLAND, OR 97202                                   P‐0019893 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, JACOB M.
NEALEN, MICHELE L.
2316 LAKE PLACE
MINNEAPOLIS, MN 55405                                P‐0019894 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABODEELY, PAUL M.
2600 2ND AVE
#2002
SEATTLE, WA 98121                                    P‐0019895 11/8/2017      TK Holdings Inc., et al .                     $225.00                                                                                       $225.00
BISHOP, DAVID A.
3451 7 MILE RD. NW
GRAND RAPIDS, MI 49544‐9103                          P‐0019896 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, CHERLYNN M.
3764 EAGLE RIDGE RD
DULUTH, MN 55803                                     P‐0019897 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, VICKIE R.
274 VISTA HORIZON ST
SAN DIEGO, CA 92113                                  P‐0019898 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MOREHEAD, FELICIA R.
1134 HERBERT STREET
CAMDEN, AR 71701                                      P‐0019899 11/8/2017      TK Holdings Inc., et al .                    $5,181.66                                                                                    $5,181.66
ROSEBOROUGH, SARAH L.
303 W GREEN ST APT A
BAINBRIDGE, GA 39819                                  P‐0019900 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHERUB LEGACY LLC
1205 WEST 9TH PLACE
FRIONA, TX 79035                                      P‐0019901 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLLES, SHERRALYN
5309 PACIFIC TERRACE CT
CASTRO VALLEY, CA 94552                               P‐0019902 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECKMANN, RICHARD A.
BECKMANN, RONNA E.
1731 RIDGEWOOD LN W
GLENVIEW, IL 60025                                    P‐0019903 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHASTA CSD
10711 FRENCH ALLEY
P.O. BOX 2520
SHASTA, CA 96087                                      P‐0019904 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHERUB INVESTMENTS LLC
1205 WEST 9TH PLACE
FRIONA, TX 79035                                      P‐0019905 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENTZI, KRISTI M.
ENTZI, JAMIE M.
3100 OLD RED TRL NW
MANDAN, ND 58554                                      P‐0019906 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMLAN, JOHN R.
TOMLAN, SHAWN D.
5 KILSYTH COURT
ST. CLAIRSVILLE, OH 43950                             P‐0019907 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECKMANN, RICHARD A.
BECKMANN, RONNA E.
1731 RIDGEWOOD LN W
GLENVIEW, IL 60025                                    P‐0019908 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THARP, DEBORAH D.
THARP, DONALD C.
2136 S. CHURCH ST.
VISALIA, CA 93277                                     P‐0019909 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELSKY, BREANNA
COLONNA, SHEREE
405 LUNAR LANE
MOON TOWNSHIP, PA 15108                               P‐0019910 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DISTEFANO, DIXIE L.
15433 COUNTRY CLUB DRIVE
UNIT F‐108
MILL CREEK, WA 98012                                  P‐0019911 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REICHENBACH, ANA
REICHENBACH, MICHAEL M.
633C GARVEY RD.
COLVILLE, WA 99114                                    P‐0019912 11/8/2017      TK Holdings Inc., et al .                       $18.00                                                                                       $18.00
TOMLAN, JOHN R.
5 KILSYTH COURT
ST. CLAIRSVILLE, OH 43950                             P‐0019913 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
RIZZO, JOHN
2140 S BOULDER CT
GILBERT, AZ 85295                                   P‐0019914 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, JAMES P.
1200 W. CONTINENTAL BLVD.
SOUTHLAKE, TX 76092                                 P‐0019915 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
XIONG, CHONG PAO
12514 E 38TH STREET
TULSA, OK 74146                                     P‐0019916 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAIRCLOTH, JACOB M.
2304 SIERRA CREEK CIRCLE
SANTA ROSA, CA 95405                                P‐0019917 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOB, PHILIP J.
493 1ST STREET
BROOKLYN, NY 11215                                  P‐0019918 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHERUB HOLDINGS LLC
1205 WEST 9TH PLACE
FRIONA, TX 79035                                    P‐0019919 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REICHENBACH, MICHAEL M.
REICHENBACH, ANA
633C GARVEY RD.
COLVILLE, WA 99114                                  P‐0019920 11/8/2017      TK Holdings Inc., et al .                     $337.14                                                                                       $337.14
CHINUDOMSUB, SHAWN
4686 BEACON WAY
RIVERSIDE, CA 92501                                 P‐0019921 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENRIQUEZ, MARIA G.
535 SELBORNE ROAD
RIVERSIDE, IL 60546                                 P‐0019922 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARACCILO, DOMINIC J.
9510 NORTHDOWNS LANE
HUNTERSVILLE, NC 28078                              P‐0019923 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POHLHAUS, TIMOTHY J.
14 HOLLYBROOK COURT
NOTTINGHAM, MD 21236‐5008                           P‐0019924 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHERUB HOLDINGS LLC
1205 WEST 9TH PLACE
FRIONA, TX 79035                                    P‐0019925 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOJTAHED, MASOUD
8200 POMMEL DRIVE
AUSTIN, TX 78759                                    P‐0019926 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TARMAN, SCOTT K.
26192 TUCKERMAN AVE NE
KINGSTON, WA                                        P‐0019927 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMLAN, SHAWN D.
5 KILSYTH COURT
ST. CLAIRSVILLE, OH 43950                           P‐0019928 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOJTAHED, MASOUD
8200 POMMEL DRIVE
AUSTIN, TX 78759                                    P‐0019929 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHERUB HOLDINGS LLC
1205 WEST 9TH PLACE
FRIONA, TX 79035                                    P‐0019930 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RADER, FREDDIE
103 CROSS DRIVE
VICKSBURG, MS 39180                                 P‐0019931 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PENG, ERIC
469 KASRA DR.
MOUNTAIN VIEW, CA 94043                              P‐0019932 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, GREGORY
1925 ALVAR ST
NEW ORLEANS, LA 70117                                P‐0019933 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLIVER, JUSTIN C.
71 DENMARK LOOP
SILVERTON, OR 97381                                  P‐0019934 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FILMORE, SHAVON L.
8213 N MULBERRY ST
TAMPA, FL 33604                                      P‐0019935 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENGELKE, RANDALL G.
314 POWELL RD
LULING, TX 78648                                     P‐0019936 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ICONIC HEALTHCARE SERVICES CO
17045 EL CAMINO REAL
STE 218
HOUSTON, TX 77058                                    P‐0019937 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMLAN, JOHN R.
5 KILSYTH COURT
ST. CLAIRSVILLE, OH 43950                            P‐0019938 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANLEY, SUNNY
7423 NE HIDDEN COVE RD
BAINBRIDGE ISL., WA 98110                            P‐0019939 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEMING FARMS INC
311 EAST PARK AVE
HEREFORD, TX 79045                                   P‐0019940 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABELL, KATHY A.
ABELL, THOMAS R.
249 SAN CARLOS WAY
PLACENTIA, CA 92870                                  P‐0019941 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENNISON, MATTHEW C.
2885 DAVIS ROAD
TERRY, MS 39170                                      P‐0019942 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FILMORE, SHAVON L.
8213 N MULBERRY ST
TAMPA, FL 33604                                      P‐0019943 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAUDIO, ROY J.
8791 LA ZANA COURT
FOUNTAIN VALLEY
FOUNTAIN VALLEY, CA 92708                            P‐0019944 11/8/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
XIONG, CHONG PAO
12514 E 38TH STREET
TULSA, OK 74146                                      P‐0019945 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, GREGORY T.
424 VINEYARD LANE
DOWNINGTOWN, PA 19335                                P‐0019946 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIGGIO, ANTHONY
8 BALSAM DRIVE
SPENCERPORT, NY 14559                                P‐0019947 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIELDS, MEGAN M.
1069 ALTAVIA AVE.
PARK HILLS, KY 41011                                 P‐0019948 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
SENERIZ, LUIS E.
23935 AYSCOUGH LN
KATY, TX 77493                                        P‐0019949 11/8/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
NEMENYI, STEVE
HONDA FINANCIAL
18200 HIAWATHA ST
NORTHRIDGE, CA 91326                                  P‐0019950 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, LENITA
P.O. BOX 66
BEVERLY, NJ 08010                                     P‐0019951 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAMIOS, ESTHER S.
30868 OCEAN VIEW PL
OCEAN VIEW, DE 19970                                  P‐0019952 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOEHN, BLAKE A.
3608 N 33RD ST
TACOMA, WA 98407                                      P‐0019953 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASS, JAMES V.
8741 SW 192ND ST
CUTLER BAY, FL 33157                                  P‐0019954 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDMAN, FRANCES S.
FRIEDMAN, SIDNEY S.
947 FOUNTAIN RUN
NAPLES, FL 34119                                      P‐0019955 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YARBROUGH, DIANA L.
1832 ART STREET
BAKERSFIELD, CA 93312                                 P‐0019956 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHINUDOMSUB, AVES
4686 BEACON WAY
RIVERSIDE, CA 92501                                   P‐0019957 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UHL, ALEXANDER G.
2529 SOUTH CORAL STREET
SIOUX CITY, IA 51106                                  P‐0019958 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUT, MICHAEL W.
9721 2ND AVE. NW
, WA 98117                                            P‐0019959 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CYR, BRUCE P.
CYR, MARY P.
1821 CORNSILK DRIVE
CHARLESTON, SC 29414                                  P‐0019960 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWDER, DARREN N.
CROWDER, DARREN N.
11728 S VINCENNES AVE
CHICAGO, IL 60643                                     P‐0019961 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARIBAY EDWARDS, BET
EDWARDS, BRIAN
1182 HANFORD CT
CHULA VISTA, CA 91913                                 P‐0019962 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLIER, JOSHUA R.
2000 CRYSTAL SPRINGS RD #1720
SAN BRUNO, CA 94066                                   P‐0019963 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTOS, ROBERT C.
SANTOS, ELLIE S.
2146 LIEDER DRIVE
SAN DIEGO, CA 92154                                   P‐0019964 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MACABUHAY, MICHAEL R.
MACABUHAY, MONIKA B.
8617 ANDERSON CT N
LACEY, WA 98516‐6660                                  P‐0019965 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, ALEXANDRA J.
3006 WOODWALK DRIVE SE
ATLANTA, GA 30339                                     P‐0019966 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SADIM, AMIR
175 WEST 95TH STREET
10G
NEW YORK, NY 10025                                    P‐0019967 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUFFY, OWEN F.
56 GARDEN CITY AVENUE
P.O. BOX 919
POINT LOOKOUT, NY 11569                               P‐0019968 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAYE, DEBRA J.
85 HAWLEY STREET
NORTHAMPTON, MA 01060                                 P‐0019969 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONG, THOMAS C.
13431 RD. 118
HOYT, KS 66440                                        P‐0019970 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBLES, DENNY
4803 SE LOGUS RD
MILWAUKIE, OR 97222                                   P‐0019971 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SYLVEST, JACQUELINE M.
21 PARK TIMBERS DRIVE
NEW ORLEANS, LA 70131                                 P‐0019972 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAYLER, ROGER N.
2751 SW 81 WAY
DAVIE, FL 33328                                       P‐0019973 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEARD, WADE F.
7001 TRAMORE LANE
CLEMMONS, NC 27012                                    P‐0019974 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HASELBERGER, JOSEPH M.
85433 BLACKMON RD
YULEE, FL 32097                                       P‐0019975 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, LARRY R.
1400 SOMERSET DR.
LANCASTER, SC 29720                                   P‐0019976 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARRISH, GILLIAM Y.
3710 E 63RD ST
TULSA, OK 74136                                       P‐0019977 10/24/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, ROBERT A.
8420 NW 140TH ST
OKLAHOMA CITY, OK 73142                               P‐0019978 10/24/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTIAGO, MIRIAM
3354 MICHIGAN AVE
SAINT CLOUD, FL 34769                                 P‐0019979 10/24/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUHR, PHILIP
10574 FUCHSIA CIRCLE
SANTE FE SPRINGS, CA 90670                            P‐0019980 10/24/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUHR, PHILIP
10574 FUCHSIA CIRCLE
SANTE FE SPRINGS, CA 90670                            P‐0019981 10/24/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BRASSEL, FREDERICK M.
3763 OPAL DR
MULBERRY, FL 33860                                   P‐0019982 10/24/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODFORD, DAVID W.
6507 WATERFORD CIRCLE
SARASOTA, FL 34238                                   P‐0019983 10/24/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BOWMAN, RICHARD F.
89 OCEAN OAKS LANE
PALM COAST, FL 32137‐3394                            P‐0019984 10/24/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODFORD, DONNA J.
6507 WATERFORD CIRCLE
SARASOTA, FL 34238                                   P‐0019985 10/24/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HARDEN, MARY ANN M.
HARDEN, GREGORY A.
7835 GALVESTON AVENUE
JACKOSNVILLE, FL 32211                               P‐0019986 10/25/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEZDEZOWSKI, DOV B.
82 PORTLAND PLACE
STATEN ISLAND, NY 10301                              P‐0019987 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEZDEZOWSKI, DOV B.
82 PORTLAND PLACE
STATEN ISLAND, NY 10301                              P‐0019988 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THEUMA, DAVID
6 GOLF DRIVE
HAMMONTON, NJ 08037                                  P‐0019989 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENS, DEBRA A.
STEVENS, GEORGE R.
2155 RABUN WAY
CENTRAL POINT, OR 97502                              P‐0019990 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOELDNER, TANYA L.
2653 TROJAN DRIVE
APT 408
GREEN BAY, WI 54304                                  P‐0019991 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALVO, KYMBERLY R.
11223 AVENIDA DE LOS LOBOS
UNIT A
SAN DIEGO, CA 92127                                  P‐0019992 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, JOYCE A.
399 PENDLETON ST. APT. 302
ALEXANDRIA, VA 22314                                 P‐0019993 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NESLER, ROBERT D.
NESLER, SUSAN E.
6025 SW KNIGHTSBRIDGE DRIVE
PORTLAND, OR 97219                                   P‐0019994 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARRARO, SHANNON M.
204 NORTH AVE
ROCHESTER, NY 14626                                  P‐0019995 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAGACKI, DAVID J.
ZAGACKI, LINDA M.
32300 NORTHAMPTON
WARREN, MI 48093                                     P‐0019996 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBER, GLORIA J.
P.O. BOX 4594
CLEVELAND, TN 37320‐4594                             P‐0019997 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
COLSTON, VERNELL B.
727 FRONT AVE #1304
ST. PAUL, MN 55103                                    P‐0019998 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIKELS, JEFFREY A.
MIKELS, JENNIFER D.
38 KINGFISHER CIRCLE
LAFAYETTE, IN 47909                                   P‐0019999 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAHINSKY, NARTIN R.
4837 ARDMORE ;LA
HOSCHTON GA 30                                        P‐0020000 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERNS, MICHAEL C.
15126 PRIMROSE LN
WADSWORTH, IL 60083                                   P‐0020001 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDS, MATTHEW R.
166 SUSSEX STREET
SAN FRANCISCO, CA 94131                               P‐0020002 11/8/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
ROCHA, LARRY M.
ROCHA, KATHYLEE
13709 SE 259TH ST
KENT
, WA 98042                                            P‐0020003 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANKSEN, DOUGLAS C.
2357 PARMABELLE ROAD
MARIPOSA, CA 95338                                    P‐0020004 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTH, ALLEN
23 N AVON DR
JACKSON
USA, NJ 08527                                         P‐0020005 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLANAGAN, MICHAEL
203 HAWTHORNE ST
MALDEN, MA 02148                                      P‐0020006 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENS, GEPRGE R.
STEVENS, DEBRA A.
2155 RABUN WAY
CENTRAL POINT, OR 97502                               P‐0020007 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPICER, GERALD L.
319 ELSIE ST.
SAN FRANCISCO, CA 94110‐5519                          P‐0020008 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOLINCHAK, EUGENE
KOLINCHAK, EUGENE
9201 HYDE PARK DRIVE
HUNTINGTON BEACH, CA 92646                            P‐0020009 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELDER, SUSAN R.
ELDER, STEVEN F.
3889 LEIGHTON LN
LEXINGTON, KY 40515                                   P‐0020010 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VODJANSKY, DIANA L.
16511 ANNA EVE DRIVE
MILWAUKIE, OR 97267                                   P‐0020011 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VERMA, ASHISH K.
17342 DE GROOT PLACE
CERRITOS, CA 90703                                    P‐0020012 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTOPHER LEWI, EMMA J.
5001 TIERRA ABIERTA DRIVE
BAKERSFIELD, CA 93307                                 P‐0020013 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
DALLAS, CARLA M.
4901 HIGHLAND STREET SOUTH
SAINT PETERSBURG, FL 33705                          P‐0020014 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAHID, TAHREEM
44 BRIAN ST
NEW HYDE PARK, NY 11040                             P‐0020015 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARZA, DANIEL T.
3008 KERRIA AVENUE
MCALLEN, TX 78501                                   P‐0020016 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODARD, ARNETTA
6150 HOLLY PARK LANE
MABLETON, GA 30126                                  P‐0020017 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHENS, CHRISTOPHER
4502 RICHLAND CHAMBERS LN
HUMBLE, TX 77396                                    P‐0020018 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VODJANSKY, FRANK E.
16511 ANNA EVE DRIVE
MILWAUKIE, OR 97267                                 P‐0020019 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OCEAN MARINE INSURANCE AGENCY
PATRICK F. KUDLICH
735 BISHOP ST., SUITE 327
HONOLULU, HI 96813                                  P‐0020020 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAM, DAVID
928 CHESTNUT LN
DAVIS, CA 95616                                     P‐0020021 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMS, KRISTEN
4710 JEREMIAH ST
WEST LAFAYETTE, IN 47906                            P‐0020022 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUMMIG, MONICA K.
78058 HUNTER POINT RD.
PALM DESERT, CA 92211‐1224                          P‐0020023 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, VERDIS R.
P.O. BOX 212
MARYVILLE, IL 62062                                 P‐0020024 11/8/2017      TK Holdings Inc., et al .                   $26,000.00                                                                                   $26,000.00
HUBER, GLORIA J.
P.O. BOX 4594
CLEVELAND, TN 37320‐4594                            P‐0020025 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RHODES, TERESA L.
RHODES, RONALD E.
2428 NE BRAZEE ST.
PORTLAND, OR 97212                                  P‐0020026 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KADERABEK, DON
BLOOMINGDALE FPD
179 S. BLOOMINGDALE ROAD
BLOOMINGDALE, IL 60108                              P‐0020027 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPARRO, ROBERT A.
CHAPARRO, ROBERTA J.
749 AGUA CLARA ST
EL PASO, TX 79928                                   P‐0020028 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUGBERK, CARL E.
5806 CONWAY ROAD
BETHESDA, MD 20817                                  P‐0020029 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOUT, TOMMY L.
P.O. BOX 65556
TUCSON, AZ 85728                                    P‐0020030 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ROTH, ALLEN
23 N AVON DR
JACKSON, NJ 08527                                     P‐0020031 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPOHN, ARYA L.
14218 TONIKAN RD
APPLE VALLEY, CA 92307                                P‐0020032 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, JEREMY
1110 FOREST GLEN
JONESBORO, GA 30238                                   P‐0020033 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURK, RONALD L.
6119 W AVENUE K‐9
LANCASTER, CA 93536                                   P‐0020034 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOBSON, MARY
884 DEL MAR DOWNS RD
SOLANA BEACH, CA 92075                                P‐0020035 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARKELINL, REGAN W.
887 ST. CHARLES DRIVE, #3
THOUSAND OAKS, CA 91360                               P‐0020036 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDBLOM, STEVE R.
SANDBLOM, TERRI H.
3958 N. FAIRFIELD
CHICAGO, IL 60618                                     P‐0020037 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAO, JESUS
5410 FOXHOUND WAY
SAN DIEGO, CA 92130                                   P‐0020038 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHER, TIMOTHY P.
MAHER, TRACY M.
5900 STONE BEND LANE
FLOWER MOUND, TX 75028                                P‐0020039 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVY, SETH A.
316 ALTA VISTA DRIVE
SANTA CRUZ, CA 95060                                  P‐0020040 11/8/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
PETRUSKA, ROBERT H.
23 CRESCENT RIDGE ROAD
BOONTON
USA, NJ 07005                                         P‐0020041 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, CHRISTOPHER W.
DAVIS, ASHLEE M.
313 W PETERS ST
WENATCHEE, WA 98801                                   P‐0020042 11/8/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
STOUT, TOMMY L.
P.O. BOX 65556
TUCSON, AZ 85728                                      P‐0020043 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, ELEANOR J.
57502 HOSPITAL ROAD
BELLAIRE, OH 43906                                    P‐0020044 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVY, SETH A.
316 ALTA VISTA DRIVE
SANTA CRUZ, CA 95060                                  P‐0020045 11/8/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
SANDBLOM, TERRI H.
SANDBLOM, STEVEN R.
3958 N. FAIRFIELD
CHICAGO, IL 60618                                     P‐0020046 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OUYANG, FRED
2254 CAMINITO CASTILLO
LA JOLLA, CA 92037                                    P‐0020047 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
GAN, ENG K.
5502 BELLE AVE
CYPRESS
, CA 90630                                         P‐0020048 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALACIOS, YVETTE E.
200 WILLISTON DR
RUTHERFORDTON, NC 28139                            P‐0020049 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERRICK III, WILLIAM M.
1638 DOONE RD
COLUMBUS, OH 43221                                 P‐0020050 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NWACHUKWU, CHIKA
3506 WEST ADAMS STREET
FLOOR 1
CHICAGO, IL 60624                                  P‐0020051 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAISFIELD, MARK F.
HAISFIELD, CATHY A.
20726 WATERS EDGE CT.
CORNELIUS, NC 28031                                P‐0020052 11/8/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
BERGLAND, LESLIE A.
8701 MAPLEBROOK PARKWAY N
BROOKLYN PARK, MN 55445                            P‐0020053 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROCE, CAROLE L.
224 ROSALIND AVE
GLOUCESTER CITY, NJ 08030                          P‐0020054 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDEN, MEGAN
GOLDEN, BRADLEY
8984 DISBROW STREET
HUNTLEY, IL 60142                                  P‐0020055 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWLEY, KATHLEEN J.
3419 107TH ST. NW
GIG HARBOR, WA 98332                               P‐0020056 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, CARY J.
1218 NW 118TH ST
SEATTLE, WA 98177                                  P‐0020057 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBLES, JOSHUA R.
10458 CARMEN ST.
ADELANTO, CA 92301                                 P‐0020058 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAILE, THEODRE Q.
VAILE, EWARD E.
119 ROTH ROAD
WINLOCK, WA 98596                                  P‐0020059 11/8/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HALLORAN, DENISE L.
QUINN, ESTATE THOM D.
1239 8TH AVENUE SE
OLYMPIA, WA 98501                                  P‐0020060 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIPAON, CHARLINE K.
3512 BIENVILLE STREET
NEW ORLEANS, LA 70119                              P‐0020061 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAPATA, LESLIE W.
10214 TUNNEY AVE
NORTHRIDGE, CA 91324                               P‐0020062 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA, ASHLEY R.
RIVERA, MIKE I.
1803 SWEET ST
TACOMA, WA 98404                                   P‐0020063 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
DELOACH, VALERIE
605 SW 88TH AVE APT 401
PEMBROKE PINES, FL 33025                            P‐0020064 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERRICK, DEBORAH H.
1638 DOONE RD
COLUMBUS, OH 43221                                  P‐0020065 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEUMANN, MARK
NEUMANN, MARK
10241 MEREDITH DRIVE
HUNTINGTON BEACH, CA 92646                          P‐0020066 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWMAN IV, WALTER C.
TEAGUE, MARK S.
107 MARIE CIRCLE
ROGUE RIVER, OR 97537                               P‐0020067 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZARETTI, MAAURO
13325 SW 59 TERRACE
MIAMI, FL 33183                                     P‐0020068 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREEDMAN, LAWRENCE M.
1231 COUNTRY LANE
DEERFIELD, IL 60015                                 P‐0020069 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOKAYA, WARREN N.
536 HEMLOCK LANE
BRADLEY, IL 60915                                   P‐0020070 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINGER, JASON R.
RAKER‐WINGER, CRYSTAL L.
27721 PARKER ROAD
CASTAIC, CA 91384                                   P‐0020071 11/8/2017      TK Holdings Inc., et al .                    $7,690.00                                                                                    $7,690.00
LEIGHT, PATRICIA A.
15091 STATE ROUTE 31
ALBION, NY 14411                                    P‐0020072 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVILA, ANTHONY I.
1855 CUSHMAN STREET
HOLLISTER, CA 95023                                 P‐0020073 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, RONALD D.
30218 POINT MARINA DRIVE
CANYON LAKE, CA 92587                               P‐0020074 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOWAN, PETER A.
1310 E REMINGTON CT APT 4
SEATTLE, WA 98122‐5580                              P‐0020075 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHBROOK, PATRICIA A.
ASHBROOK, LANZ R.
12315 N. EAGLE ROAD
FLAGSTAFF, AZ 86004                                 P‐0020076 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHLIES, DOUGLAS M.
N10491 SCHLIES RD
WAUSAUKEE, WI 54177                                 P‐0020077 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERTHOLD, DAVID A.
5428 NORTHCREST ROAD
FORT WORTH, TX 76107                                P‐0020078 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AARTHUN, ROSMARY
7220 FAIR OAKS LOOP SE
OLYMPIA, WA 98513                                   P‐0020079 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREEDMAN, LAWRENCE M.
1231 COUNTRY LANE
DEERFIELD, IL 60015                                 P‐0020080 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
REID, JANINE M.
REID, JEROME A.
205 SPRING GROVE AVE
SAN RAFAEL, CA 94901                                 P‐0020081 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRAY, THOMSON
THOMSON PRAY
841 CORONADO AVE
CORONADO, CA 92118                                   P‐0020082 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARBER, KATHRYN A.
3771 RIO ROAD
#302
CARMEL, CA 93923                                     P‐0020083 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROSS, DANIEL J.
1129 SURF CREST DRIVE
SAN DIEGO, CA 92154                                  P‐0020084 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAPLAN, IRA A.
18356 HAMPSHIRE LN
SAN DIEGO, CA 92128                                  P‐0020085 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAYMOND, RHONDA F.
5529 MUSIC ST
NEW ORLEANS
LA                                                   P‐0020086 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIVLEY, JOSEPHENE K L.
RICHARDS, IAN A.
6555 102ND AVE NE
KIRKLAND, WA 98033                                   P‐0020087 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABEL, MARGIE L.
5204 RILEY COURT
PALMDALE, CA 93552                                   P‐0020088 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOJCIESZYNSKI, ANDRZEJ P.
2311 SOUTH ST
APT 301
PHILADELPHIA, PA 19146                               P‐0020089 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERTHOLD, MADELINE M.
510 N ORLANDO AVE
APT 102
WEST HOLLYWOOD, CA 90048                             P‐0020090 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FULLER MPA, ALESIA
3074 KALEI COURT
PERRIS, CA 92571                                     P‐0020091 11/8/2017      TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
VEITCH, WILLIAM J.
3A CASS COURT
BALLSTON LAKE, NY 12019                              P‐0020092 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, RAFAEL
224 RAMBLEWOOD DRIVE
LAFAYETTE, LA 70508                                  P‐0020093 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEINSCHRIBER, FRANK
STEINSCHRIBER, JULIE
19119 KINGSBURY ST.
PORTER RANCH, CA 91326                               P‐0020094 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOSAR, JEFFREY S.
NOSAR, SHARON L.
526 BROWN LEE DR SW
CONCORD, NC 28025                                    P‐0020095 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TZOU, JOE
19164 GUNTHER COURT
SARATOGA, CA 95070                                   P‐0020096 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUM, BRIAN
160 AMBER DRIVE
SAN FRANCISCO, CA 94131                              P‐0020097 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TREISTER, DANA S.
2400 N. LAKEVIEW AVE
APT 3004
CHICAGO, IL 60614‐4885                               P‐0020098 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCAULEY, THERESA
3626 SEAVIEW WAY
CARLSBAD, CA                                         P‐0020099 11/8/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
DANEHY, MARY ELLEN
45 FIRESIDE LANE
FAIRPORT, NY 14450                                   P‐0020100 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGGENER, KRISTEN N.
8100 HARDY ST.
OVERLAND PARK, KS 66204                              P‐0020101 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEINSCHRIBER, FRANK
STEINSCHRIBER, JULIE
19119 KINGSBURY ST.
PORTER RANCH, CA 91326                               P‐0020102 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAN, ENG K.
5502 BELLE AVE
CYPRESS, CA 90630                                    P‐0020103 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMACHO, ROY P.
CAMACHO, KEIKO D.
P.O. BOX 2316
PORT ORCHARD, WA 98366                               P‐0020104 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEATH, JEFFERY C.
160 DANA POINT AVE
VENTURA, CA 93004                                    P‐0020105 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIDEON, TOM P.
2942 QUIGLEY RD.
LANGLEY, WA 98260                                    P‐0020106 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, KENRIC D.
804 ROCK STREET
WHITE HALL, AR 71602                                 P‐0020107 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURILLO, FRANCENA N.
MURILLO, ROBERT R.
1430 LEONARD AVE
APT.10
MODESTO, CA 95350                                    P‐0020108 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, WILLIAM G.
3321 COUNTRY CLUB RD.
P.O. BOX 1271
SAN ANGELO, TX 76902                                 P‐0020109 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORCORAN, MICHAEL J.
43 HERITAGE
IRVINE, CA 92604                                     P‐0020110 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TREISTER, MICHAEL R.
2400 N LAKEVIEW AVE
APT 3004
CHICAGO, IL 60614‐4885                               P‐0020111 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BRASURE, NEAL G.
4900GILES AVENUE NE
ADA, MI 49301                                      P‐0020112 11/8/2017      TK Holdings Inc., et al .                  $500,000.00                                                                                  $500,000.00
RIVERA, ELLIOTT
RIVERA, ELLIOTT
11039 MUIRFIELD DR
RANCHO CUCAMONGA, CA 91730                         P‐0020113 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOSTON, VINCENT G.
434 SONORA DR
SAN MATEO, CA 94402                                P‐0020114 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TZOU, JOE
19164 GUNTHER COURT
SARATOGA, CA 95070                                 P‐0020115 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE ALBA, SERGIO
20739 LYCOMING
UNIT 143
WALNUT, CA 91789                                   P‐0020116 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANCH, TRACEY Y.
6417 HOLBORN ROAD
NORTH CHESTERFIE, VA 23224                         P‐0020117 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEATH, JEFFERY C.
160 DANA POINT AVE
VENTURA, CA 93004                                  P‐0020118 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIU, HSINHSIN
38438 KIMBRO ST.
FREMONT, CA 94536                                  P‐0020119 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASUDA, KEN G.
5421 COLNY GREEN DR
SAN JOSE                                           P‐0020120 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALIS, RYAN M.
835 N BELMONT AVE
ARLINGTON HEIGHT, IL 60004                         P‐0020121 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASRI, HASSEN
P.O. BOX 243
MALIBU, CA 90265                                   P‐0020122 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, CHRISTOPHER G.
1604 DEXTER ST
DURHAM, NC 27701                                   P‐0020123 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPIGEL, SHERYL A.
139 N. HAMILTON DRIVE
APARTMENT # 3
BEVERLY HILLS, CA 90211                            P‐0020124 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, CYNTHIA
6422 CURTIS ROAD
BATESVILLE, MS 38606                               P‐0020125 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMBERS, LISA C.
4655 HWY 86 N
HAZEN, AR 72064                                    P‐0020126 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUEVARA, DONNA A.
SOTO, EDWARD A.
1101 CALLAWAY DRIVE
APT #2906
CALRSBAD, NM 88220                                 P‐0020127 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRY, BARBARA A.
65 BRAME RD
HENDERSON, NC 27537                                P‐0020128 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LEACH, CAROLE
12714 MONTE VISTA AVE
CHINO, CA 91710                                     P‐0020129 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANADY, JOHN A.
ALLY AUTO FINANCIAL
1531 FARKLEBERRY DR
CORDOVA, TN 38016                                   P‐0020130 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELLOVODA, JOHAN
20 BYRD RD
WETHERSFIELD, CT 06109                              P‐0020131 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAUFER, ALISON D.
1300 EVAN LANE
ASHLAND, OR 97520                                   P‐0020132 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASRI, HASSEN
P.O. BOX 243
MALIBU, CA 90265                                    P‐0020133 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYMSZA, STEPANIE
RYMSZA, LEONARD
4890 ESCOBEDO DR.
WOODLAND HILLS, CA 91364                            P‐0020134 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIU, KENNETH J.
157 STONECREST DRIVE
SAN FRANCISCO, CA 94132                             P‐0020135 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASON, ELIZABETH D.
31 RIVER VIEW
AVON, CT 06001                                      P‐0020136 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROY, SANDRA
17360 HAWKWOOD DR
RIVERSIDE, CA 92503                                 P‐0020137 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLAGE OF SOUTH ELGIN
MEGAN GOLDEN
10 N. WATER STREET
SOUTH ELGIN, IL 60177                               P‐0020138 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORI, FRANCINE T.
8222 256TH STREET
FLORAL PARK, NY 11004                               P‐0020139 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, TOAN‐HAO B.
8944 SW TERRETON PLACE
PORTLAND, OR 97223                                  P‐0020140 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNKLE, DONALD D.
1358 SW 174TH ST
NORMANDY PARK, WA 98166                             P‐0020141 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEKLIAN, BRENDA L.
301 W. RACE AVENUE
VISALIA, CA 93291                                   P‐0020142 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, TOAN‐HAO B.
8944 SW TERRETON PLACE
PORTLAND, OR 97223                                  P‐0020143 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLASSER, JAMES A.
110 RUSSETT CT
SUFFOLK, VA 23434                                   P‐0020144 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLINK, ROBERT A.
KLINK, PATRICIA A.
32915 46TH CT SW
FEDERAL WAY, WA 98023                               P‐0020145 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MCJUNKINS, SHALAMAR
SHALAMAR MCJUNKINS
522 BAKER ST
WATER VALLEY, MS 38965                               P‐0020146 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAESE, LAURELLE R.
153 N. BUCHANAN AVENUE
EAGLE POINT, OR 97524                                P‐0020147 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLINK, ROBERT A.
32915 46TH CT SW
FEDERAL WAY, WA 98023                                P‐0020148 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRASETYO, ADITYA
516 GREEN ST. , UNIT 2C
CAMBRIDGE, MA 02139                                  P‐0020149 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONRAD, JOHN C.
555 PAULARINO AVENUE
APT. #L‐108
COSTA MESA, CA 92626‐3280                            P‐0020150 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICELI, VLADA
15 NEW CHARDON
LAGUNA NIGUEL, CA 92677                              P‐0020151 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARISCAL, VICENTE
MARISCAL, ASHLEY M.
32224 4TH AVE
BLACK DIAMOND, WA 98010                              P‐0020152 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIRCH, RICHARD L.
PULLEN‐BIRCH, YOLANDA R.
4229 W CHERRY AVE
VISALIA, CA 93277                                    P‐0020153 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TARDIFF, DREW A.
1661 PEARL ST.
APT. 422
EUGENE, OR 97401                                     P‐0020154 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAY, JACQUELINE Y.
103 WASHINGTON ST
UVALDA, GA 30473                                     P‐0020155 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZOLTANI, ANNE M.
3831 SHOSHONE
DENVER, CO 80211                                     P‐0020156 11/8/2017      TK Holdings Inc., et al .                     $269.18                                                                                       $269.18
LEE, KIRSTEN
LEE, KIRSTEN
                                                     P‐0020157 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RESER, KENT E.
RESER, LIBBY G.
3282 CARRIAGE WAY
MARIETTA, GA 30062                                   P‐0020158 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, EVAN
3960 18TH STREET
SAN FRANCISCO, CA 94114                              P‐0020159 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, CAROL A.
17121 SANTA SUZANNE STREET
FOUNTAIN VALLEY, CA 92708                            P‐0020160 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALHOUN, NANCY T.
4816 DEANDRA LN
PLANO, TX 75093                                      P‐0020161 11/8/2017      TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
VORONIN, YELENA
18207 1ST AVE S
APT E5
SEATTLE, WA 98148                                   P‐0020162 11/8/2017      TK Holdings Inc., et al .                    $2,614.00                                                                                    $2,614.00
PERROTTA, DAVID J.
41665 DUKESBURY CT
NOVI, MI
OAKLAND                                             P‐0020163 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSES, DERIKA D.
18610 YELLOW ROSE CT
RIVERSIDE, CA 92508                                 P‐0020164 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUNT‐POWER, DIANE C.
6 QUAKER MEETING HOUSE ROAD
ARMONK, NY 10504                                    P‐0020165 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNYDER, BETH
151 W. 11TH STREET
HOLLAND, MI 49423                                   P‐0020166 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOWELL, MICHAEL D.
STOWELL, MARYANN E.
210 RICHBARN RD.
PITTSBURGH, PA 15212                                P‐0020167 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONTE, ANDREA
WATER2TABLE
631A GREENWICH ST
SAN FRANCISCO, CA 94133                             P‐0020168 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SABLAN, DIANE M.
1155 S. LELAND ST UNIT 2
SAN PEDRO, CA 90731                                 P‐0020169 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOWELL, MICHAEL D.
STOWELL, MARYANN E. E.
210 RICHBARN RD.
PITTSBURGH, PA 15212                                P‐0020170 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HULS, ERLINE J.
810 HALL ST
MALVERN, AR 72104                                   P‐0020171 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENSINGER, MICHAEL W.
MICHAEL W KENSINGER
45583 CLUBHOUSE DRIVE
TEMECULA, CA 92592                                  P‐0020172 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPOS, LEOPOLDO P.
400 NORTH MELROSE DRIVE
SPACE 36
VISTA, CA 92083                                     P‐0020173 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGES, RICHARD F.
3145 VIA VISTA
UNIT Q
LAGUNA WOODS, CA 92637                              P‐0020174 11/8/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
CHOI, ROBERT
6943 E. MONACO PKWY
ORANGE, CA 92867                                    P‐0020175 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACQUES, THOMAS J.
1421 WATERFORD DRIVE
GREEN BAY, WI 54313                                 P‐0020176 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLES, ESDRASS
1024 RALPH AVE
BROOKLYN, NY 11236                                  P‐0020177 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CROCKETT, ERICA
1813 PALOUSE STREET
BOISE, ID 83705                                      P‐0020178 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORGSTADT, MARY LISA
BORGSTADT, BRIAN
26448 161ST AVENUE SE
COVINGTON, WA 98042                                  P‐0020179 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRACIANO, KAAREN J.
9016 S PARK AVE
TACOMA, WA 98444                                     P‐0020180 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILBERBERG, PAUL
10800 ROSE AVE APT 8
LOS ANGELES, CA 90034                                P‐0020181 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILBERBERG, PAUL
10800 ROSE AVE APT 8
LOS ANGELES, CA 90034                                P‐0020182 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORWOOS, CHASITY R.
P.O.BOX 563
HOT SPRINGS, AR 71902                                P‐0020183 11/8/2017      TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
CHOI, ROBERT L.
6943 E. MONACO PKWY
ORANGE, CA 92867                                     P‐0020184 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PILSITZ, MICHAEL E.
PILSITZ, JUNE L.
441 MORNING CANYON ROAD
CORONA DEL MAR, CA 92625                             P‐0020185 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE ‐ HOLDEN, CAROL L.
22925 ROCKCRESS ST.
CORONA, CA 92883                                     P‐0020186 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGES, RICHARD F.
3145 VIA VISTA
UNIT Q
LAGUNA WOODS, CA                                     P‐0020187 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCOY, ANDRE D.
EXETER FINANCE
1276 POPLAR ST
SAN BERNARDINO, CA 92410                             P‐0020188 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TERAN, CARLOS
1242 O HARA DR
SAN ANTONIO, TX 78251                                P‐0020189 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NANNEY, MICHAEL M.
3504 ASARO PL
PLANO, TX 75025                                      P‐0020190 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDRICKS, SHANNON F.
9555 CALLE ESCORIAL
DESERT HOT SPRIN, CA 92240                           P‐0020191 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DAVID C.
1905 STANGER AVE
WILLIAMSTOWN, NJ 08094                               P‐0020192 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRERA, JESUS
6230 HOME AVE
BELL, CA 90201                                       P‐0020193 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABELE, BEVERLY V.
107 DANSWORTH LANE
OAK RIDGE, TN 37830                                  P‐0020194 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HAMILTON, CHARLOTTE
HAMILTON, MICHAEL
509 TIFFANY DRIVE
UNIT B
SANTA MARIA, CA 93454                              P‐0020195 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMON, JOSH
747 CUSTER AVE
SUITE A
EVANSTON, IL 60202                                 P‐0020196 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, MICA L.
421 JANES AVE
APT 206
BOLINGBROOK, IL 60440                              P‐0020197 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZARETTI, MAURO
13325 SW 59 TERRACE
MIAMI, FL 33183                                    P‐0020198 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAINARD, ANDREA M.
BRAINARD, DAVID C.
3411 CLIFF OAKS DRIVE
CORINTH, TX 76210                                  P‐0020199 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HYLTON, MONIFAH A.
163 COLUMBIA GARDENS
COHOES, NY 12047                                   P‐0020200 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMMS, PAT
2425 BLUE HERON DRIVE
FLORISSANT, MO 63031                               P‐0020201 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEINBERG, ANDREW P.
HORON, ISABELLE L.
15 WESTSPRING WAY
LUTHERVILLE, MD 21093                              P‐0020202 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERS, NICHOLAS K.
4124 PRESTON POINTE WAY
CUMMING, GA 30041                                  P‐0020203 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INGLE, TIM M.
11455 SW HAZELWOOD LOOP
TIGARD, OR 97223‐3304                              P‐0020204 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBBINS, CHARLES C.
ROBBINS, SUZANNE H.
1682 SHETLAND LANE
ROCK HILL, SC 29730                                P‐0020205 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARE, FELICIA
66 JUNE ROAD
KENMORE, NY 14217                                  P‐0020206 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, BRIAN K.
ANDERSON, MOLLY K.
1422 EASTVIEW CT
OCEANSIDE, CA 92056                                P‐0020207 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, MARK G.
FOCUS CREDIT UNION
727 RIVER DR.
MAYVILLE, WI 53050                                 P‐0020208 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLEGAS, APRIL M.
5310 160TH AVE E
SUMNER, WA 98390                                   P‐0020209 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ELGERT, CORINNE M.
4672B 36TH ST S
ARLINGTON, VA 22206                                 P‐0020210 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GANT, GIGINA B.
10429 13TH AVE CT S
TACOMA, WA 98444                                    P‐0020211 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARNER, CHRISTOPHER M.
4850 NARRAGANSETT AVE
#13
SAN DIEGO, CA 92107                                 P‐0020212 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVALOS, JESUS F.
16115 LISCO ST.,
WHITTIER, CA 90603                                  P‐0020213 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, MOLLY K.
1422 EASTVIEW CT
OCEANSIDE, CA 92056                                 P‐0020214 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUKOVAC, NICK
1200 COLONADE RD
SHOREWOOD, IL 60404                                 P‐0020215 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGGINS, BEN W.
768 AGUA VISTA DR
CHULA VISTA, CA 91914                               P‐0020216 11/8/2017      TK Holdings Inc., et al .                   $11,400.00                                                                                   $11,400.00
WEEGE, DON
2260 HAMMERLE STREET
WEST LINN, OR 97068                                 P‐0020217 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NA, BETHANY E.
62 SAGEBRUSH
TRABUCO CANYON, CA 92679                            P‐0020218 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, ANYA R.
2875 N F ST
SAN BERNARDINO, CA 92405                            P‐0020219 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSA, SANDRA
ROSA, SANDRA
14060 VAN NUYS BLVD
APT 208
ARLETA, CA 91331                                    P‐0020220 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABRAHAM, JEANETTE
10421 N BREWINGTON RD
GABLE, SC 29051                                     P‐0020221 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QWEST ENGINEERING, INC
17682 COWAN SUITE 200
IRVINE, CA 92614                                    P‐0020222 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAQUETTE, GEORGE
975 PAULARINO AVE.
COSTA MESA, CA 92626                                P‐0020223 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWINDELL, LORI L.
206 PHEASANT LN
WILLARD, MO 65781                                   P‐0020224 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIERCKS, SANDRA Y.
SIERCKS, JOHN W.
2713 PUDER STREET
BAKERSFIELD, CA 93306                               P‐0020225 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, QUYEN T.
2204 E 38TH STREET
SAVANNAH, GA 31404‐3851                             P‐0020226 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
QWEST ENGINEERING, INC.
17682 COWAN SUITE 200
IRVINE, CA 92614                                      P‐0020227 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RULE, JOHN D.
4028 JACKDAW STREET
SAN DIEGO, CA 92103‐1721                              P‐0020228 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SERBUS, CHUCK R.
CHUCK SERBUS
5716 W. BLUESTEM ST
SIOUX FALLS, SD 57106                                 P‐0020229 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUE, MILTON J.
RODRIGUE, JESSICA H.
2910 47TH ST NE
TACOMA, WA 98422                                      P‐0020230 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, MERI A.
333 MOUNTAIN VIEW
#31
TALENT, OR 97540                                      P‐0020231 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WENTZ, DALE R.
1666 SALLAL ROAD
WOODBURN, OR 97071                                    P‐0020232 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GETHERS, KIM
66 BIDWELL AVE. 1ST. FLOOR
JERSEY CITY, NJ 07305                                 P‐0020233 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCK, SHARON
8529 INDIAN SUMMER TRL
HARRISBURG, NC 28075                                  P‐0020234 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUYNH, DUNG T.
PHAM, KELLY T.
28640 VIA REGGIO
LAGUNA NIGUEL, CA 92677                               P‐0020235 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REED, PATRICIA K.
26245 PERRIER DRIVE
MORENO VALLEY, CA 92555                               P‐0020236 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIXX, ARTIS W.
VARNADO, CARMEN D.
3241 180TH AVE NE
REDMOND, WA 98052                                     P‐0020237 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CADETTE, TRACIE R.
422 KETTLE BOTTOM DRIVE
REISTERSTOWN, MD 21136                                P‐0020238 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, RUTH E.
644 THETA AVE
PORTERVILLE, CA 93257                                 P‐0020239 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASUL, HENNA
4783 BRADFORD LANE
RENO, NV 89519                                        P‐0020240 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STORCH, ARNOLD
STORCH, CINDY
27896 257 AVE.SE
MAPLE VALLEY, WA 98038                                P‐0020241 11/8/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
OTTESEN, PAL H.
3007 HUNTS POINT CIRCLE
HUNTS POINT, WA 98004                                 P‐0020242 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CUNNINGHAM, TRACY
1115 E. SANTA CLARA STREET
STE 5
SAN JOSE, CA 95116                                   P‐0020243 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, ROBERT J.
20363 LAKEVIEW DRIVE
LAKEHEAD, CA 96051                                   P‐0020244 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COTTER, SUZIE B.
COTTER, LARRY W.
160 BROOKWOOD CIRCLE
OAKLAND, TN 38060                                    P‐0020245 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSHAN, MARY
1300 WESTCLIFF DRIVE
NEWPORT BEACH, CA 92660                              P‐0020246 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, ISRAEL P.
26341 SORRELL PLACE
LAGUNA HILLS, CA 92653                               P‐0020247 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANLUVANEE, DAWN M.
57 ODANIEL AVENUE
NEWARK, DE                                           P‐0020248 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLISON, MARK
10633 EASTBORNE AVENUE
APT 401
LOS ANGELES                                          P‐0020249 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALL, JOHN
WALL, KATHLEEN
9418 MCKINNEY RD
LOVELAND, OH 45140                                   P‐0020250 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUMMINGS, DONNA J.
1411 OSPREY COURT
YUBA CITY, CA 95993                                  P‐0020251 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAREDES, JOSE L.
7609 CANYON CLOVER DR
BAKERSFIELD, CA 93313                                P‐0020252 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VENTRESCA, MALIO E.
501 HIGHLAND AVE
JENKINTOWN, PA 19046                                 P‐0020253 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLUMP, BRENDA M.
36 E 157TH ST
SOUTH HOLLAND, IL 60473                              P‐0020254 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, YESSICA
1640 W BALL RD #111
ANAHEIM, CA 92802                                    P‐0020255 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELLER, LAWRENCE A.
38‐07 GRANT STREET
FAIR LAWN, NJ 07410                                  P‐0020256 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, TZEMING
153‐04 BOOTH MEMORIAL AVE
FLUSHING, NY 11355                                   P‐0020257 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, DARYL W.
MITCHELL, MARION W.
34 POPLAR BEND
VIRGINIA BEACH, VA 23453                             P‐0020258 11/8/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
SHELBY, SALWA
9335 175TH ST
TINLEY PARK, IL 60487                                P‐0020259 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HELLER, LAWRENCE A.
38‐07 GRANT STREET
FAIR LAWN, NJ 07410                                  P‐0020260 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEWIT, GREGORY C.
672 RIDGESIDE DRIVE
GOLDEN, CO 80401                                     P‐0020261 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEIDENREICH, ERIC E.
HEIDENREICH, DIANNE M.
3712 BRAMBLECREST DRIVE
FORT WAYNE, IN 46815                                 P‐0020262 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSHAN, MARY
1300 WESTCLIFF DROVE
NEWPORT BEACH, CA 92660                              P‐0020263 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELLER, LAWRENCE A.
38‐07 GRANT STREET
FAIR LAWN, NJ 07410                                  P‐0020264 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARMAS, ALFONSO
1281 SAN BENITO DR
PITTSBURG, CA 94565                                  P‐0020265 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERNAL, ROCHELLE S.
2319 SONGBIRD LANE
ROWLAND HEIGHTS, CA 91748                            P‐0020266 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOJIMA, YUMIKA
PARTRIDGE, WILLIAM T.
710 GUILDFORD AVE
SAN MATEO, CA 94402                                  P‐0020267 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIEMBA, JAMES S.
67 TOWER ROAD
LUDLOW, MA 01056                                     P‐0020268 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHANYAK, DEBRA L.
2318 RANDOLPH ROAD
MOGADORE, OH 44260                                   P‐0020269 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENNEDY, DAVE C.
KENNEDY, DENISE M.
1836 GREYSTONE TRAIL
ORLANDO, FL 32818                                    P‐0020270 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OMESTE, JOHN F.
211 N. SWEETWATER LANE
ORANGE, CA 92869                                     P‐0020271 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFIN, JUNE
P.O. BOX 4611
SCHENECTADY, NY 12304                                P‐0020272 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELLORTO, NICHOLAS S.
1319 LUDINGTON LANE
DYER, IN 46311                                       P‐0020273 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMON, ANDREW C.
100 PARROTT DR.
UNIT 1504
SHELTON, CT 06483                                    P‐0020274 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIGLIN, NORMA C.
1725 OAK LANE
QUAKERTOWN, PA 18951                                 P‐0020275 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, EPIGMENIO
1219 S GROVE AVE
BERWYN, IL 60402                                     P‐0020276 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
HALL, DENNIS W.
BOYD'S LIMOUSINE SERVICE
222 N. SEPULVEDA BLVD.
MANHATTAN BEACH, CA 90266                          P‐0020277 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHOUSHTARI, SHIRIN Z.
20 BRICKYARD DR. APT H6
BLOOMINGTON, IL 61701                              P‐0020278 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDANIEL, ANGELA D.
405 RUTH LN
LUFKIN, TX 75904                                   P‐0020279 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, STEVEN M.
JONES, JUDITH A.
2009 VISTA CAJON
NEWPORT BEACH, CA 92660                            P‐0020280 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOH, RICHARD
3065 TIFFANY LN
COLTON, CA 92324                                   P‐0020281 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PELMAN, TIMOTHY M.
PELMAN, CHERIE B.
1513 NORTH ATLANTA STREET
METAIRE, LA 70003                                  P‐0020282 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUPPAGE, CHRISTINE
20241 BRADGATE LN
STRONGSVILLE, OH 44149                             P‐0020283 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, CHENGLUNG
6932 FENTON ST
CHINO, CA 91710                                    P‐0020284 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARGRAVE, JR, BERNARD L.
HARGRAVE, KATHY A.
POB 135
SOUTHWORTH, WA 98386                               P‐0020285 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAINE, LORETTA B.
27822 ABADEJO
MISSION VIEJO, CA 92692                            P‐0020286 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, STEVEN M.
JONES, JUDITH A.
2009 VISTA CAJON
NEWPORT BEACH, CA 92660                            P‐0020287 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOGAN, KENNETH
6641 SUGAR PINE PL
RANCHO CUCAMONGA, CA 91701                         P‐0020288 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, FELICISIMO A.
1420 ROSS ST
POMONA, CA 91767                                   P‐0020289 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWFORD, DENISE D.
3236 BONA STREET
OAKLAND, CA 94601‐2769                             P‐0020290 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLADFELTER, SCOTT A.
GLADFELTER, GLORIA J.
143 JASPER AVE
YORK, PA 17404                                     P‐0020291 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENSON, TODD
13885
STONEY GATE PLACE
SAN DIEGO, CA 92128                                P‐0020292 11/8/2017      TK Holdings Inc., et al .                    $9,000.00                                                                                    $9,000.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ALVAREZ, TERI L.
33429 WALLACE WAY
YUCAIPA, CA 92399                                    P‐0020293 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANFORD, LORI B.
74020 ALESSANDRO DRIVE
SUITE B
PALM DESERT, CA 92260                                P‐0020294 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, JACEY J.
MURPHY, SHANNON M.
12813 AMBER CREEK CIRCLE
VICTORVILLE, CA                                      P‐0020295 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEROY, BRENDA S.
1346 INDIANA DRIVE
CONCORD, CA 94521                                    P‐0020296 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAGLER, WENDY L.
425C AVENIDA CASTILLA
LAGUNA WOODS, CA 92637                               P‐0020297 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMAJO, MARY ELLEN
1249 W. ARDMORE AVE., FLOOR 1
CHICAGO, IL 60660‐3409                               P‐0020298 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, JAQUAY S.
325 WEST AVE. J‐8 UNIT C
LANCASTER, CA 93534                                  P‐0020299 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOE, JERRY L.
549 URBAN FARMS RD
MANCHESTER, TN 37355                                 P‐0020300 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFMAN, EDWARD C.
NO ADDRESS PROVIDED
                                                     P‐0020301 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIRAHARA, BRUCE P.
HIRAHARA, SHIRLEY E.
10216 43RD ST E
EDGEWOOD, WA 98372                                   P‐0020302 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, EVAN
1800 WASHTENAW AVE
ANN ARBOR, MI 48104                                  P‐0020303 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSHIKI, ALICE
CAMPBELL, SCOTT
229 DOUGLASS STREET
SAN FRANCISCO, CA 94114                              P‐0020304 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHUMATE, RICHARD F.
LAW OFFICES OF JACOB EMRANI
1516 S. BROADWAY
LOS ANGELES, CA 90015                                P‐0020305 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, RYAN A.
6482 N. GENTRY AVE
FRESNO, CA 93711                                     P‐0020306 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DORR, DANIEL P.
25 LARGO ST
LAGUNA NIGUEL, CA 92677                              P‐0020307 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, JAQUAY S.
325 WEST AVE. J‐8 UNIT C
LANCASTER, CA 93534                                  P‐0020308 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEROY, BRENDA S.
1346 INDIANA DRIVE
CONCORD, CA 94521                                    P‐0020309 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BOILEAU, CAROL A.
5038 SE 97TH AVE
PORTLAND, OR 97266                                   P‐0020310 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DULMES, RONALD H.
DULMES, JOAN C.
W2864 COUNTY ROAD O
SHEBOYGAN FALLS, WI 53085‐2304                       P‐0020311 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QWEST ENGINEERING, INC.
17682 COWAN SUITE 200
IRVINE, CA 92614                                     P‐0020312 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FELLS, DALIA
971 BORDEN ROAD SPC 25
SAN MARCOS, CA 92069                                 P‐0020313 11/8/2017      TK Holdings Inc., et al .                   $14,520.86                                                                                   $14,520.86
HUBERTY, SEAN J.
5213 240TH AVE NE
5213 240TH AVE NE
REDMOND, WA 98053                                    P‐0020314 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALHORN, JENNIFER
5780 SUMMIT MEADOW DRIVE
ST. CHARLES, MO 63304                                P‐0020315 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFE, ROBERT R.
WOLFE, SHARON L.
4230 SPINDLEWICK DR.
PACE, FL 32571                                       P‐0020316 10/31/2017     TK Holdings Inc., et al .                     $902.19                                                                                       $902.19
MELLO, DIANE G.
1130 EAST STREET
MANSFIELD, MA 02048                                  P‐0020317 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCFARLAND, DARRELL F.
MCFARLAND, BRENDA K.
953 PAXTON DRIVE
KNOXVILLE, TN 37918                                  P‐0020318 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUI, JESSIE S.
NO ADDRESS PROVIDED
                                                     P‐0020319 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OBRIEN, SHANNON L.
11346 PORTOBELO DR UNIT 3
SAN DIEGO, CA 92124                                  P‐0020320 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NYE, DENNIS M.
2870 E VIA ESCUELA
PALM SPRINGS, CA 92262                               P‐0020321 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSHAW, DOREEN
7988 BOTHWELL DR.
SACRAMENTO, CA 95829                                 P‐0020322 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORONA, VALERIE
635 OLEANDER DR
OXNARD, CA 93033                                     P‐0020323 11/8/2017      TK Holdings Inc., et al .                   $79,800.00                                                                                   $79,800.00
WELDON, MELISSA L.
412 SE LANA STREET
LEES SUMMIT, MO 64063                                P‐0020324 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YANG, RAE T.
3117 TREELINE DRIVE
MURRYSVILLE, PA 15668                                P‐0020325 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEVITO, JULIE
10 VILLAGE LANE UNIT 18
TYNGSBORO, MA 01879                                  P‐0020326 11/8/2017      TK Holdings Inc., et al .                    $5,816.15                                                                                    $5,816.15


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HAM, ERIC J.
HAM, VERONICA L.
2618 W. RENOIR DR.
COEUR D'ALENE, ID 83815                              P‐0020327 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HADDER, MELISSA L.
P.O BOX 223
WAITSFIELD, VT 05673                                 P‐0020328 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHARMA, NIKKI
978 PAVILION LOOP
SAN JOSE, CA 95112                                   P‐0020329 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TALLEY, SETH W.
GLEISNER, DEBORAH A.
5332 191ST ST. SW
LYNNWOOD, WA 98036                                   P‐0020330 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEVAREZ, MIGUEL A.
2791 SE BUCCANEER CIRCLE
PORT SAINT LUCIE, FL 34952                           P‐0020331 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HADDAD, FARIS S.
21901 GRESHAM ST
WEST HILLS, CA 91304                                 P‐0020332 11/8/2017      TK Holdings Inc., et al .                   $26,000.00                                                                                   $26,000.00
VICTORIO, TOMASITO
3 ROBIN RUN DR
SPRING, TX 77381                                     P‐0020333 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTENEGRO, ROHINI U.
1408 MACBETH ST
LOS ANGELES, CA 90026                                P‐0020334 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JALEEL, JIBREEL A.
2557 NE 15TH ST
POMPANO BEACH, FL 33062                              P‐0020335 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWMAN, CHRISTINA S.
NEWMAN, HUGH E.
427 WRENTHAM DRIVE
VACAVILLE, CA 95688                                  P‐0020336 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANG, LEON C.
8702 NW 83RD STREET
KANSAS CITY, MO 64152                                P‐0020337 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEMP, KECIA
KEMP, KECIA D.
BOX 1631
PITTSBURG, CA 94565                                  P‐0020338 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINOR, LADRICKA Y.
MINOR, TERRY L.
1783 OLD BARNWOOD AVENUE
ZACHARY, LA 70791                                    P‐0020339 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLERBE, KALINDRA
153 PINE CIRCLE DR.
ROCKINGHAM, NC 28379                                 P‐0020340 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMPSON, KIMBERLY A.
1803 E CLEAR LAKE DRIVE
SALISBURY, MD 21804                                  P‐0020341 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COVARRUBIAS, FELIPE
1949 S. MANCHESTER AVE.
SPACE 11
ANAHEIM, CA 92802                                    P‐0020342 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
EDKINS, CHARLES L.
50 RANSOM AVE NE, #1108
GRAND RAPIDS, MI 49503                                P‐0020343 11/8/2017      TK Holdings Inc., et al .                  $171,039.00                                                                                  $171,039.00
ALBORNOZ, JACQUELINE
5760 KATRINA PLACE
PALMDALE, CA 93552                                    P‐0020344 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORTIMER, ROBERT C.
1016 ROSS AVE NW
ORTING, WA 98360                                      P‐0020345 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORDOVA, TOSHI S.
7160 HAVENSIDE DRIVE
SACRAMENTO, CA 95831                                  P‐0020346 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAO, HARSHA
RAO, HARSHA
TECHMAHINDRA
1522 18TH AVE APT 101
SEATTLE, WA 98122                                     P‐0020347 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HADDAD, FARIS S.
21901 GRESHAM ST
WEST HILLS, CA 91304                                  P‐0020348 11/8/2017      TK Holdings Inc., et al .                   $26,000.00                                                                                   $26,000.00
LEE, CATHERINE
LEE, SIMON
2581 ARVIA ST
#11
LOS ANGELES, CA 90065                                 P‐0020349 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, DAVID
KING, JANET
10160 GRANITE HILL DRIVE
PARKER, CO 80134                                      P‐0020350 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIM, PHILLIPL J.
2581 ARVIA ST
#11
LOS ANGELES, CA 90065                                 P‐0020351 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHINNAPPAN, JOHN PETER
481 CORONATION DR
FRANKLIN, MA 02038                                    P‐0020352 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBORNOZ, LUIS
5760 KATRINA PL
PALMDALE, CA 93552                                    P‐0020353 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALEC, ANDREW D.
KREPEL, EMILY C.
3223 WATERMARKE PLACE
IRVINE, CA 92612                                      P‐0020354 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDS, NICOLE D.
16734 118 AVENUE
JAMAICA, NY 11434                                     P‐0020355 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWFORD, DENISE D.
3236 BONA STREET
OAKLAND, CA 94601‐2769                                P‐0020356 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPRINKLE, THOMAS J.
4132 KAPLAN DR
RALEIGH, NC 27606                                     P‐0020357 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPANNER, AARON T.
3717 NOBEL DR.
UNIT 1429
SAN DIEGO, CA 92122                                   P‐0020358 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
TATEISHI, WILLIAM N.
TATEISHI, SANDRA L.
568 KAHIAU LOOP
HONOLULU, HI 96821                                  P‐0020359 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, JESSE D.
2196 GLENRIDGE RD
FURLONG, PA 18925                                   P‐0020360 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AWAI, CAMERON
28 MANAOLANA PLACE
HILO, HI 96720                                      P‐0020361 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLIPHER SR, JOSEPH E.
715 NURSERY AVE
METAIRIE, LA 70005                                  P‐0020362 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMON, DIANA L.
21851 NEWLAND ST. SPC153
HUNTINGTON BEACH, CA 92646                          P‐0020363 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATIN, CONNIE M.
PATIN, CONNIE
10456 STAMPS RD
DOWNEY, CA 90241‐2627                               P‐0020364 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOYCE, WILLIAM A.
104 CLEARVIEW DRIVE
SMYRNA, TN 37167                                    P‐0020365 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMPONIN, ANNE MARIE M.
1925 DEL CIERVO PL.
CAMARILLO, CA 93012                                 P‐0020366 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLIPHER SR, JOSEPH E.
715 NURSERY AVE
METAIRIE, LA 70005                                  P‐0020367 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, MARIA D.
1360 J ST.
BRAWLEY, CA 92227                                   P‐0020368 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSCHO, ANN
68 MARINITA AVE
68 MARINITA AVE
SAN RAFAEL, CA 94901                                P‐0020369 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACKEY, PAULA L.
4010 BAY RD
FERNDALE, WA 98248                                  P‐0020370 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, TREVOR J.
10456 STAMPS RD
DOWNEY, CA 90241                                    P‐0020371 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOTERO, DIEGO
3836 ALABAMA STREET
APARTMENT 315
SAN DIEGO, CA 92104                                 P‐0020372 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAN, HUI
WANG, HSING‐HUI
21217 WASHGINTON AVE #143
WALNUT, CA 91789                                    P‐0020373 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YASHAR, FARIBORZ
1301 FIFTH AVE.
# 349
SAN DIEGO, CA 92101                                 P‐0020374 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HOWARD, AMANDA
950 W TRENTON AVE UNIT 1354
MORRISVILLE, PA 19067                               P‐0020375 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUSS, LISA A.
3737 WESTPORT DRIVE
NEW HAVEN, IN 46774                                 P‐0020376 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANZELLA, JOHN D.
3039 CAPRI LN
COSTA MESA, CA 92626                                P‐0020377 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEVIN, CAULENE G.
4324 41ST ST NE
TACOMA, WA 98422                                    P‐0020378 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIRATHIVIRAJ, SIVASUBRAMA
RAVEENDRAN, BALASINGAM
3 ALBANY
IRVINE, CA 92604                                    P‐0020379 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, AMANDA J.
950 W TRENTON AVE UNIT 1354
MORRISVILLE, PA 19067                               P‐0020380 11/8/2017      TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
BEEHLERPOTTS, CARLA K.
5308 EL SANJON DR
STOCKTON, CA 95212                                  P‐0020381 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, DARREN T.
10456 STAMPS RD
DOWNEY, CA 90241‐2627                               P‐0020382 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILLIARD, BRANDON J.
HILLIARD, BRANDON J.
312 CEDAR ROAD
EAST BETHEL, MN 55092                               P‐0020383 11/8/2017      TK Holdings Inc., et al .                     $100.00                                                                                       $100.00
JOUDATH, YASAMIN
JOUDAT, AMIRSAMIN
3141 MICHELSON DR #405
IRVINE, CA 92612                                    P‐0020384 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HADDAD, FARIS S.
21901 GRESHAM ST
WEST HILLS, CA 91304                                P‐0020385 11/8/2017      TK Holdings Inc., et al .                   $26,000.00                                                                                   $26,000.00
JIMENEZ, MIGUEL A.
14733 ROXTON AVE
GARDENA, CA 90249                                   P‐0020386 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VATTILANA, FRANCESCO A.
4 LONGFORD COURT
WILMINGTON, DE 19808                                P‐0020387 11/8/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
PANTOJA, TOMAS M.
2030 FRENCH STREET
SANTA ANA, CA 92706                                 P‐0020388 11/8/2017      TK Holdings Inc., et al .                    $3,850.00                                                                                    $3,850.00
FRETWELL, JASON
FRETWELL, JENNIFER
P.O. BOX 400042
HESPERIA, CA 92340                                  P‐0020389 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COGHLAN, HENRY M.
COGHLAN, TERRI M.
115 SHORELINE DRIVE
ALEXANDER CITY, AL 35010                            P‐0020390 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, JASMINE R.
10220 FOOTHILL BLVD #8204
RANCHO CUCAMONGA, CA 91730                          P‐0020391 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BEACHEM, TAMMY L.
6228 S 238TH ST M204
KENT, WA 98032                                       P‐0020392 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORLANDINO, MIKE J.
7221 MISSION GLEN COURT
#310
HUNTINGTON BEACH, CA 92648‐7412                      P‐0020393 11/8/2017      TK Holdings Inc., et al .                     $100.00                                                                                       $100.00
MCDONALD, KATHRYN M.
836 PEPPERWOOD DR
BRUNSWICK, OH 44212                                  P‐0020394 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYAN, THOMAS C.
11730 GLENWAY DRIVE
HOUSTON, TX 77070                                    P‐0020395 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BESANSON, DORETTA
13433 NORTON AVE
CHINO, CA 91710                                      P‐0020396 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYANT, SHELLEY L.
517 S. WILLOWBROOK AVE APT F
COMPTON, CA 90220                                    P‐0020397 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIDDELL, JONELLE
3618 WILLOW WISP CIRCLE
HAUGHTON, LA 71037                                   P‐0020398 11/8/2017      TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
BEACH, ALYSSA M.
1430 E ORANGE GROVE AVE
ORANGE, CA 92867                                     P‐0020399 11/8/2017      TK Holdings Inc., et al .                     $199.61                                                                                       $199.61
KREIDER, VICTOR N.
362 MIRA FLORES CT
CAMARILLO, CA 93012                                  P‐0020400 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COSTELLO, NANCY A.
3188 BIRCHWOOD COURT
ANN ARBOR, MI 48105                                  P‐0020401 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMPASS, KENNETH J.
COMPASS, JAMES J.
15451 ALSACE CIRCLE
IRVINE, CA 92604                                     P‐0020402 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, BAOTRUONG P.
13217 MICHAEL RAINFORD CIR
GARDEM GROVE, CA 92843                               P‐0020403 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HA, IN K.
1536 LEANNE TERRACE
WALNUT, CA 91789                                     P‐0020404 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOOVER, KELLY J.
17308 GLENCOE AVE
LAKEVILLE, MN 55044                                  P‐0020405 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HONMA, GERALD Y.
94‐615 KAHAKEA ST APT 6H
WAIPAHU, HI 96797                                    P‐0020406 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHAM, PHUONG
2916 W LINGAN LN
SANTA ANA, CA 92704                                  P‐0020407 11/8/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
RAHIMINAMI, KAVEH
20975 SEQUOIA LN
MISSION VIEJO, CA 92691                              P‐0020408 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DIDIER, ERNIE R.
DIDIER, LINDA M.
860 CASTLEBURY CT.
SAN DIMAS, CA 91773                                  P‐0020409 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STITZER, JORDAN B.
2550 MONTROSE ST
PHILADELPHIA, PA 19146                               P‐0020410 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, RICARDO
1779 W. 35TH ST. APT. 205
LOS ANGELES, CA 90018                                P‐0020411 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALVERT, ELIZABETH J.
P.O. BOX 1708
EL PRADO, NM 87529                                   P‐0020412 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KREIDER, VICTOR N.
362 MIRA FLORES CT
CAMARILLO, CA 93012                                  P‐0020413 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORTER, MICHAEL D.
957 W. GLENCOE ROAD
PALATINE, IL 60067                                   P‐0020414 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVERY, CYNTHIA
39555 FOX TRAIL RD W
SOLDOTNA, AK 99669                                   P‐0020415 11/8/2017      TK Holdings Inc., et al .                     $120.00                                                                                       $120.00
EDDLEMAN, WILLIAM G.
93 SALMON ST
ST. HELENS, OR 97051                                 P‐0020416 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHELBY, SALWA
9335 175TH ST
TINLEY PARK, IL 60487                                P‐0020417 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAI, GRETCHEN
LAI, PHONG
7 CLEARWATER
IRVINE, CA 92604                                     P‐0020418 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDDLEMAN, WILLIAM G.
93 SALMON ST
ST. HELENS, OR 97051                                 P‐0020419 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOPKO, MICHAEL K.
3170 ORCHARD LAKE ROAD #27
KEEGO HARBOR, MI 48320                               P‐0020420 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHIS, ANNE L.
11730 GLENWAY DRIVE
HOUSTON, TX 77070                                    P‐0020421 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DOROTHY J.
82 PHILLIPS 277
WEST HELENA, AR 72390                                P‐0020422 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLIPHER SR, JOSEPH E.
715 NURSERY AVE
METAIRIE, LA 70005                                   P‐0020423 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARTEN, YAEL
1432 BROOKDALE AVE
MOUNTAIN VIEW, CA 94040                              P‐0020424 11/8/2017      TK Holdings Inc., et al .                    $1,341.27                                                                                    $1,341.27
KRYVOROTOV, DANYLO
1301 STEVENSON BLVD
APT 131
FREMONT, CA 94538                                    P‐0020425 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WARD, EILEEN M.
4944 CASS STREET
UNIT 1009
SAN DIEGO, CA 92109‐2044                             P‐0020426 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, CHARLES P.
982 AMBER DR
CAMARILLO, CA 93010                                  P‐0020427 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAKAK, ALAN F.
2102 PARKGATE ST.
BAKERSFIELD, CA 93311                                P‐0020428 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, STACYANN N.
3809 COBBLE CT
PALMDALE, CA 93551                                   P‐0020429 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, MATTHEW D.
2201 PARK AVENUE
SANTA CLARA, CA 95050                                P‐0020430 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANFRE VALDES, CYNTHIA
24332 SAGE COURT
LAGUNA HILLS, CA 92653                               P‐0020431 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARIVIERE, SETH
856 HILLTOP AVE
KENT, WA 98031                                       P‐0020432 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN GORP, GREGORY A.
VAN GORP, PAMELA L.
2140 A AVENUE
MARION, IA 52302                                     P‐0020433 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYNE, GARY L.
171 HICKORY CIRCLE
ELYRIA, OH 44035                                     P‐0020434 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIPOFF, CORY
1050 JULIA CT
GLENCOE, IL 60022                                    P‐0020435 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESPINOZA, ANDRES A.
5533 CASTANA AVE.
LAKEWOOD, CA 90712                                   P‐0020436 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HECHT, DAVID A.
HECHT, DAVID
3940 CHAPMAN PLACE
RIVERSIDE, CA 92506                                  P‐0020437 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOCKETT, HEIDI J.
LOCKETT, COREY M.
1068 LINDLEY CT
FOLSOM, CA 95630                                     P‐0020438 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARIVIERE, SETH
856 HILLTOP AVE
KENT, WA 98031                                       P‐0020439 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMPASS, JAMES J.
15451 ALSACE CIRCLE
IRVINE, CA 92604                                     P‐0020440 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REINHARD, RYLEIGH
4010 SOARING DRIVE
DOUGLASVILLE, GA 30135                               P‐0020441 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILL, DENNIS R.
12365 CONQUISTADOR WAY
SAN DIEGO, CA 92128                                  P‐0020442 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
LOCKETT, COREY M.
LOCKETT, HEIDI J.
1068 LINDLEY COURT
FOLSOM, CA 95630                                      P‐0020443 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JIANG, LINGXI
127 KING WILLIAM STREET
NEWARK, DE 19711                                      P‐0020444 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, BAOTRUONG P.
13217 MICHAEL RAINFORD CIR
GARDEN GROVE, CA 92843                                P‐0020445 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGLETON, CHIMERE
7048 RADBOURNE RD
UPPER DARBY, PA 19082‐5216                            P‐0020446 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILL, DENNIS R.
12365 CONQUISTADOR WAY
SAN DIEGO, CA 92128                                   P‐0020447 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, VINHTRI P.
13217 MICHAEL RAINFORD CIR
GARDEN GROVE, CA 92843                                P‐0020448 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARLOCK, ANGELITA B.
CARLOCK, GLYNN S.
3734 TREEHAVEN AVE
ROSAMOND, CA 93560                                    P‐0020449 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS‐KELLY, JACQUELINE M.
5 E INDIAN TRL
TAYLORS, SC 29687                                     P‐0020450 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, CUIXIANG
2405 NW IRVING ST
APT 1
PORTLAND, OR 97210                                    P‐0020451 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STILES, JOHN B.
21101 PASEO VEREDA
LAKE FOREST, CA 92630                                 P‐0020452 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SERRANO, ROBERTO O.
28716 LEGACY WAY
MENIFEE, CA 92584                                     P‐0020453 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOLTING, JASON J.
STOLTING, BRITTANY C.
2601 KAIBAB AVE
BAKERSFIELD, CA 93306                                 P‐0020454 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SERRANO, JUDITH M.
28716 LEGACY WAY
MENIFEE, CA 92584                                     P‐0020455 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCAULAY, DONALD D.
262 WEST ELM STREET
NEW HAVEN, CT 06515                                   P‐0020456 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, WILLIAM
23 WHITE SAGE
IRVINE, CA 92618                                      P‐0020457 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, CLIFTON P.
JACKSON, SONG K.
6238 TURNBERRY DR
BANNING, CA 92220‐7535                                P‐0020458 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GUPTA, AKASH B.
GUPTA, SHELLEY N.
22269 SILVERPOINTE LOOP
N/A
CORONA, CA 92883                                     P‐0020459 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VODA, DAVID
1602 S ANDEE DRIVE
PALM SPRINGS, CA 92264                               P‐0020460 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, KELLY R.
FOSTER, KELLY R.
432 E 15TH ST APT 4
BEAUMONT, CA 92223                                   P‐0020461 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUNZALAN, MARK C.
7719 NE 151ST LANE
KENMORE, WA 98028                                    P‐0020462 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUSETTE, MIKAH L.
170 HARVARD LANE
SANTA BARBARA, CA 93111                              P‐0020463 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORREA, CHRISTOPHER J.
2148 S. VAN NESS AVE
SANTA ANA, CA 92707                                  P‐0020464 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOUSA, MARIA
46 HALLCREST DR
LADERA RANCH, CA 92694                               P‐0020465 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIZIN, ALEKSANDR D.
RIZIN, LYUBOV M.
625 E 51ST ST
TACOMA, WA 98404                                     P‐0020466 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HU, YIYIN
24946 EATON LN
LAGUNA NIGUEL, CA 92677                              P‐0020467 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIEL, GLORIA A.
DANIEL, HENRY W.
518 SAN MIGUEL CANYON ROAD
WATSONVILLE, CA 95076                                P‐0020468 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGO, DAVID M N
133 QUEEN ANNE AVE N
UNIT 201
SEATTLE, WA 98109                                    P‐0020469 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOUSA, AYMAN
46 HALLCREST DR.
LADERA RANCH, CA 92694                               P‐0020470 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, SANFORD
561 DOVER COURT
BUFFALO GROVE, IL 60089‐6698                         P‐0020471 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENNINGS, CHRISTOPHER R.
85 SPRING VALLEY
IRVINE, CA 92602                                     P‐0020472 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, SHONTELLA
7040 MEDIA DRIVE
FAYETTEVILLE, NC 28314                               P‐0020473 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, LINDA M.
RUSSELL, CRAIG R.
P.O. BOX 956
LAKE ARROWHEAD, CA 92352                             P‐0020474 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WHITE, SANFORD
561 DOVER COURT
BUFFALO GROVE, IL 60089‐6698                          P‐0020475 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOUT, DONALD E.
STOUT, MARIE E.
25102 BLACK HORSE LANE
LAGUNA HILLS, CA 92653                                P‐0020476 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RÍOS, HEIDEL R.
HC 06 BOX 14490
COROZAL, PR 00783                                     P‐0020477 11/9/2017      TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
WHITE, SANFORD
561 DOVER COURT
BUFFALO GROVE, IL 60089‐6698                          P‐0020478 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENCH, JODIE
3029 E GARNET LANE
ORANGE, CA 92869                                      P‐0020479 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAI, LARRY C.
7330 MEADE CT
FONTANA, CA 92336                                     P‐0020480 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAUCH, VERONICA Y.
4256 MONTALVO ST.
APT. D
SAN DIEGO, CA 92107                                   P‐0020481 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHAN, KENNY A.
1235 W. BISHOP ST.
SANTA ANA, CA 92703                                   P‐0020482 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANGSTON, KAI S.
2350 LINCOLN DR.
SAN BERNARDINO, CA 92405                              P‐0020483 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REFFETT, JOSEPH W.
1400 S SUNKIST ST
SPC106
ANAHEIM, CA 92806                                     P‐0020484 11/9/2017      TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
ROACH, JASON
587 BROADWAY APT L12
MENANDS, NY 12204                                     P‐0020485 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KESTERSON, LAURA J.
3883 BUCHANAN AVE SP#139
RIVERSIDE, CA                                         P‐0020486 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARKS, DAVID L.
7159 MAGNOLIA PLACE
FONTANA, CA 92336                                     P‐0020487 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, ALICIA
5989 RANCHO MISSION RD
UNIT 107
SAN DIEGO, CA 92108                                   P‐0020488 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, ALICIA
5989 RANCHO MISSION RD
UNIT 107
SAN DIEGO, CA 92108                                   P‐0020489 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARKS, DAVID L.
MARKS, RHONDA I.
7159 MAGNOLIA PLACE
FONTANA, CA 92336                                     P‐0020490 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MARTINEZ, ALICIA
5989 RANCHO MISSION RD
UNIT 107
SAN DIEGO, CA 92108                                  P‐0020491 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOWNING, JACOB R.
DOWNING, BRITTANY A.
4909 PROMINENT WAY
ABILENE, TX 79606                                    P‐0020492 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRINCE, BRENDA D.
PRINCE, CHARLES A.
22 FALCON WAY
EDWARDS, CA 93523                                    P‐0020493 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISCHER‐SEARL, JODY
3217 OCEAN DR
OXNARD, CA 93035                                     P‐0020494 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISCHER‐SEARL, JODY E.
NO ADDRESS PROVIDED
                                                     P‐0020495 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAN, BRENDA Y.
1673 E BRANDON LN
FRESNO, CA 93720                                     P‐0020496 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, DEBORAH
6861 CATLETT RD.
ST. AUGUSTINE, FL 32095                              P‐0020497 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LATER, STEPHEN F.
P.O. BOX 2150
SOUTHERN PINES, NC 28388                             P‐0020498 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRASER, JOSEPH C.
2903 CARONDELET ST.
NEW ORLEANS, LA 70115                                P‐0020499 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOUDE, DAVID D.
HOUDE, KAREN A.
3177 AUTUMN VIEW LANE
METAMORA, MI 48455                                   P‐0020500 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGNES, MARIA
141 FOREST AVENUE
HAWTHORNE, NJ 07506                                  P‐0020501 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMMONS, BRANDI S.
6418 AQUA POINT WAY
SOUTHSIDE, AL 35907                                  P‐0020502 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PACHECO, FERNANDO
2 RIVERVIEW DRIVE
NORTH PROVIDENCE, RI 02904                           P‐0020503 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, ANEXSIS
12250 SW 188 STREET
MIAMI, FL 33177                                      P‐0020504 11/9/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
AGNES, LOUIS
141 FOREST AVENUE
HAWTHORNE, NJ 07506                                  P‐0020505 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCISCO, CARLO
2100 PACHECO ST APT 404
CONCORD, CA 94520                                    P‐0020506 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORONTO, GARY
18 CRESTED BUTTE COURT
SHAMONG, NJ 08088                                    P‐0020507 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
HACKER, ELIZABETH A.
MUNSON, BRIAN F.
19026 PARKE LANE
GROSSE ILE, MI 48138                                  P‐0020508 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BESANT, JOHN P.
14569 225TH STREET
SPRINGFIELD GARD, NY 11413‐3521                       P‐0020509 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOPP, TIMOTHY L.
HOPP, CINDY R.
1505 HUNTER LN
CLEARWATER, FL 33764                                  P‐0020510 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANDT, MARY C.
247 PORTERVILLE RD
BRIGHTON, TN 38011                                    P‐0020511 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANDT, MARY C.
247 PORTERVILLE RD
BRIGHTON, TN 38011                                    P‐0020512 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LI, YIN WAI V.
2746 HERON HILLS DR
WOLVERINE LAKE, MI 48390                              P‐0020513 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WENDT, EDWARD G.
3 HAMILTON HEATH DR
TAMPA, FL 33604                                       P‐0020514 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, TERRY L.
1427 ROGER STREET
COCOA, FL 32926                                       P‐0020515 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROEDL, GEORGE W.
3947 CR 2204
GOSHEN, AL 36035                                      P‐0020516 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDRINGTON, SHAUN A.
EDRINGTON, KRISTIN N.
11235 ELIANO STREET
ATASCADERO, CA 93422                                  P‐0020517 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, MOLLY
2033 N MAE CARDEN CT
VISALIA, CA 93291                                     P‐0020518 11/9/2017      TK Holdings Inc., et al .                   $26,000.00                                                                                   $26,000.00
BRINKMEIER, JAMES W.
10850 HAGGERMAN ROAD
SOUTH ROCKWOOD, MI 48179                              P‐0020519 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'NEIL, TIMOTHY L.
O'NEIL, COLLEEN L.
720 SCHOOL HOUSE ROAD
CHESAPEAKE, VA 23322‐1710                             P‐0020520 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COCALIDES, STYLIAN
7480 SW 133 ST
PINECREST, FL 33156                                   P‐0020521 11/9/2017      TK Holdings Inc., et al .                   $25,300.00                                                                                   $25,300.00
JOHNSON, MOLLY
2033 N MAE CARDEN CT
VISALIA, CA 93291                                     P‐0020522 11/9/2017      TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
BILLINGSLEA, CYNTHIA
11775 S LACIENEGA BLVD 2431
LOS ANGELES, CA 90045                                 P‐0020523 11/9/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
ALBEE, NATHAN W.
P.O. BOX 267
124A MAIN ST
SANDOWON, NH 03873                                    P‐0020524 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FEDORCHUK, RANDY J.
60138 KATIE CIR
LA QUINTA, CA 92253‐9331                             P‐0020525 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHFORD, SHAHNAZ Y.
23000 THORNCLIFFE
SOUTHFIELD, MI 48033‐3447                            P‐0020526 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOATNER, TRACEY R.
14723 W OAKS PLAZA ST.
APT 737
HOUSTON, TX 77083                                    P‐0020527 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNN, ANNA M.
1031 COLONIAL MEADOWS WAY
VIRGINIA BEACH, VA 23454                             P‐0020528 11/5/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEERTHUIS, SHARON L.
693 MORNINGSIDE DR
HOLLAND, MI 49423                                    P‐0020529 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWOPE, EDWIN R.
2124 BANBURY RD
KALAMAZOO, MI 49001                                  P‐0020530 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINES, ANDREA
18 QUINCY LANE
WHITE PLAINS, NY 10605                               P‐0020531 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IRK, SHARON L.
6035 TIMBERBEND DRIVE
AVON, IN 46123                                       P‐0020532 10/20/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSEN, HENRY M.
597 CARDINAL AVENUE
BOCA RATON, FL 33486                                 P‐0020533 10/19/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUIZ, BENJAMIN R.
RUI, MASSIEL
812 SW 6TH AV
CAPE CORAL, FL 33991                                 P‐0020534 10/19/2017     TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00
HUTCHERSON, ROBERT M.
1102 SIGNAL RD
SIGNAL MOUNTAIN, TN 37377                            P‐0020535 11/9/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
MUSICK, ROBERT A.
ROBERT A MUSICK
101 ROOSEVELT AVENUE, APT 427
CARTERET, NJ 07008                                   P‐0020536 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHECK, DAVID M.
79 SLOCUM STREET
FORTY FORT, PA 18704                                 P‐0020537 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O’KUHN, PETER A.
633 FISCHER ROAD
KINDERHOOK, NY 12106                                 P‐0020538 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALLAS, THERESA R.
1058 SW CORNELIA AVE
PORT SAINT LUCIE, FL 34953                           P‐0020539 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOB, ANDREW S.
JOB, MARYANN
1740 RICHLEY RD
CORFU, NY 14036                                      P‐0020540 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUTCHERSON, ROBERT M.
1102 SIGNAL RD
SIGNAL MOUNTAIN, TN 37377                            P‐0020541 11/9/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
SOLFRONK, MATTHEW D.
1426 BROOK GROVE DRIVE
KATY, TX 77450                                        P‐0020542 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PFISTER, MIKE T.
141 FOUNTAINHEAD CT
MARTINEZ, CA 94553                                    P‐0020543 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTILLOW, ROBERT M.
1758 KING PHILLIP DR
KISSIMMEE, FL 34744                                   P‐0020544 11/9/2017      TK Holdings Inc., et al .                    $5,500.00                                                                                    $5,500.00
LATTIG, HEIDI A.
2605 FRINGE LANE
EASTON, PA 18040                                      P‐0020545 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LATTIG, HEIDI A.
2605 FRINGE LANE
EASTON, PA 18040                                      P‐0020546 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOY, HENRY
3541 MARC DRIVE
STERLING HEIGHTS, MI 48310                            P‐0020547 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRES, MELISSA A.
204 E DRESSER ROAD
DEKALB, IL 60115                                      P‐0020548 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANZ, ALAN S.
11 TALLOWOOD COURT
ATCO, NJ 08004                                        P‐0020549 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARDINOIS, JAMES A.
1233 LAKE ST
WHITE LAKE, WI 54491                                  P‐0020550 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANZ, GINA
11 TALLOWOOD COURT
ATCO, NJ 080042                                       P‐0020551 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOYAK, DENNIS J.
STOYAK, KAREN J.
511 TONELLI TRAIL
LOCKPORT, IL 60441                                    P‐0020552 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONNELL, PATRICK M.
1050 HASTIE ROAD
PITTSBURGH, PA 15234                                  P‐0020553 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, ANDREW
1200 ORGANUM CT.
BELCAMP
BELCAMP, MD 21017                                     P‐0020554 11/9/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
VALADEZ, ADRIAN F.
VALADEZ, HEATHER R.
25351 COTTAGE AVE
LOMA LINDA, CA 92354                                  P‐0020555 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAUL, BETTIANNNE L.
SAUL, ALAN R.
499 LYMAN LAKE ROAD
LYMAN, SC 29365                                       P‐0020556 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANDLER, SARAH
3000 W MASTER ST APT 402
PHILADELPHIA, PA 19121                                P‐0020557 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TYRONE, MARGIE K.
2021 ROCK CREEK DRIVE
GRAND PRAIRIE, TX 75050                               P‐0020558 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LAMONT, EMILY H.
2619 TURNBULL ESTATES DRIVE
NEW SMYRNA BEACH, FL 32168                           P‐0020559 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALVERDE, HENRY
3420 VALE BLOSSOM CT APT.203
CARLSBAD, CA 92010                                   P‐0020560 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIBAUD, RICHARD E.
49 BARTLETTS REACH
AMESBURY, MA 019134528                               P‐0020561 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, LARRY D.
25836 118TH PL SE
KENT, WA 98030                                       P‐0020562 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOUNTAIN OUTIN' TOURS, INC.
24361 VIA SANTA CLARA
MISSION VIEJO, CA 92692                              P‐0020563 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHOKRIAN, ALEX B.
SHOKRIAN, JANICE L.
2402 GLENMORRIE DRIVE
LAKE OSWEGO, OR 97034                                P‐0020564 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, KAREN G.
2341 SHOAL CREEK DRIVE
PENSACOLA, FL 32514                                  P‐0020565 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENDEZ, ANTONIO L.
21675 GREEN HILL RD #115
FARMINGTON HILLS, MI 48335‐4339                      P‐0020566 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOUSE, ANNE M.
6323 QUAIL STREET
HASLETT, MI 48840‐8934                               P‐0020567 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, DOTTIE K.
26611 BRANDON
MISSION VIEJO, CA 92692                              P‐0020568 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMES, ANTONY M.
HOLMES, JANET K.
2192 W ARAPAHOE DR
LITTLETON, CO 80120                                  P‐0020569 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAULT, NANCY C.
NAULT, KEITH A.
10510 WINTERS RUN
TALLAHASSEE, FL 32312                                P‐0020570 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCIBELLI, MICHAEL V.
119 PATRICIA DRIVE
BEAVER FALLS, PA 15010                               P‐0020571 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFEY, KENNETH P.
GRIFFEY, CANDACE G.
221 BEDFORD FORREST AVENUE
ANDERSON, SC 29625                                   P‐0020572 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARBS, DOUGLAS L.
GARBS, JILL A.
418 W. 4TH ST.
EDWARDSVILLE, IL 62025                               P‐0020573 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANKERSON, ENOCH
3221 E 15TH ST APT 2
LONG BEACH, CA 90804                                 P‐0020574 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VEITH, RICHARD A.
52 ORCHARD HILL RD
FORT THOMAS, KY 41075                                P‐0020575 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MINNUCCI, CHRISTOPHER
1072 E BROADWAY
MILFORD, CT 06460                                    P‐0020576 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOHRES, MAY C.
GOHRES, STEPHEN W.
2108 S. CHINA PL.
CHICAGO, IL 60616                                    P‐0020577 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOGET, JOHN S.
525 CALLIE CT
WEST NEWTON, PA 15089                                P‐0020578 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAFAVE, ANI
LAFAVE, NICHOLAS
716 BRAEWOOD DR
WATERFORD, WI                                        P‐0020579 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, KAREN A.
14 HAVRE COURT
FOOTHILL RANCH, CA 92610                             P‐0020580 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUERTA, FEDERICO M.
7603 GRAND TERRACE CT
HOUSTON                                              P‐0020581 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURTIS, THIERRY G.
12134 DARNLEY ROAD
WOODBRIDGE, VA 22192                                 P‐0020582 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYS, REBECCA L.
POE, SANDRA K.
237 OLD TOWNE RD
SAND SPRINGS, OK 74063                               P‐0020583 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBS, LAUREL
3082 N PALOMINO PARK LOOP
TUCSON, AZ 85712                                     P‐0020584 11/9/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
VEITH, RICHARD A.
52 ORCHARD HILL RD
FORT THOMAS, KY 41075                                P‐0020585 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELCH, LARNA L.
WELCH, JEFFREY S.
7923. HOLLOWAY RD..
BRITTON, MI 49229                                    P‐0020586 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ, BRUCE R.
1058 SW CORNELIA AVE
PORT SAINT LUCIE, FL 34953                           P‐0020587 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RISINGER, BILLY
3981 COBBLESTONE CR
DALLAS, TX 75229                                     P‐0020588 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENTON, STEPHANIE G.
520 NORTH META STREET
CORDELL, OK 73632                                    P‐0020589 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, JOHN M.
8670 HAWKEYE PASS
EDMOND, OK 73034                                     P‐0020590 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABUAN, GLADYS D.
5947 PENNSYLVANIA ST SE
LACEY, WA 98513                                      P‐0020591 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PITTMAN, L. L.
608 N JACKSON ST
WAUKEGAN, IL 60085                                   P‐0020592 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
EICHER, SHELLY L.
EICHER, KIRA R.
195 SEGHI RD
SMITHFIELD, PA 15478                               P‐0020593 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLONSKY, MELISSA J.
7214 VADEN DR
GLOUCESTER, VA 23061                               P‐0020594 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOYER, BARBARA D.
338 W 1ST STREET
BIRDSBORO, PA 19508‐2207                           P‐0020595 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUTTLEDGE, CHARLES C.
26758 BARRINGTON
MADISON HEIGHTS, MI 48061                          P‐0020596 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOCK, JANEY L.
LOCK JR, RONOLD E.
6128 STATE ROUTE 1283
WATER VALLEY, KY 42085                             P‐0020597 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOTWAY, CLINTON A.
230 KENT CORNWALL ROAD
KENT, CT 06757                                     P‐0020598 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, DUSTIN L.
5996 WYNFORD DR
WEST BLOOMFIELD, MI 48322                          P‐0020599 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIELDS, THOMNAS E.
VALENTIN SHIELDS, SANDRA
39545 HAWTHORNE ST
PALMDALE, CA 93551                                 P‐0020600 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDSTEIN, DIANNE B.
GOLDSTEIN, LARRY N.
6015 ABERDEEN AVENUE
DALLAS, TX 75230                                   P‐0020601 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUTTLEDGE, CHARLES C.
26758 BARRINGTON
MADISON HEIGHTS, MI 48071                          P‐0020602 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOGANTI, RAJESH
4063 CRANDALL CIRCLE
SANTA CLARA, CA 95054                              P‐0020603 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSBORN, MIA
7543 WEST LIBERTY PARKWAY
UNIT 682
FONTANA, CA 92336                                  P‐0020604 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEPPARD, CHRISTINE A.
907 W. MOUNT VERNON AVENUE
HADDONFIELD, NJ 08033                              P‐0020605 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TALAMANTEZ, VINCENT N.
TALAMANTEZ, ALETHA L.
P.O. BOX 5535
HEMET, CA 92544                                    P‐0020606 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REED, JENNIFER
BUKSTEIN, BENJAMIN
1016 OXFORD ST. NORTH
ST. PAUL, MN 55103                                 P‐0020607 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASSLER, HEATHER
909 POYDRAS STREET
SUITE 1500
NEW ORLEANS, LA 70112                              P‐0020608 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FARLOW, CAROLYN D.
3115 NW 15 STREET
ANKENY, IA 50023                                     P‐0020609 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY JR., DONALD W.
58 MATTERN RD
PRESTON, CT 06365                                    P‐0020610 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRACIK, JEFFREY A.
2859 DEERPARK DR.
SAN DIEGO, CA 92110                                  P‐0020611 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUTSON, LISA A.
2495 CANDLEWOOD DRIVE
AVON, OH 44011                                       P‐0020612 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, SOBHUZA
1368 WEBSTER AVENUE
APT 18C
BRONX, NY 10456                                      P‐0020613 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOEPP, ROSS R.
35282 HOGAN DRIVE
BEAUMONT, CA 92223                                   P‐0020614 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, GEORGE J.
NO ADDRESS PROVIDED
                                                     P‐0020615 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
D'AMICO, STEVEN
3139 MCCLELLAN DRIVE
GREENSBURG, PA 15601                                 P‐0020616 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWEDLOW, SHARON F.
5505 DRIFTWOOD DR
AUSTIN, TX 78731                                     P‐0020617 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUELLER, WILLIAM A.
734 2ND ST.
KIEL, WI 53042                                       P‐0020618 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                     P‐0020619 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                     P‐0020620 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, ROBERT C.
1612 20TH STREET
VERO BEACH, FL 32960                                 P‐0020621 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEINRICH, CHERYL C.
HEINRICH, PAUL M.
7655 QUIDA DRIVE
WEST PALM BEACH, FL 33411                            P‐0020622 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAPLAN, NORMA S.
7408 STERLING FALLS LN
BOYNTON BEACH, FL 33437‐6307                         P‐0020623 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, PAUL A.
14 KENMAR ROAD
BUDD LAKE, NJ 07828                                  P‐0020624 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, LUZ C.
13916 NORTH POINTE CIRCLE #B
MILL CREEK, WA 98012                                 P‐0020625 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, RICKY T.
P.O. BOX 2797
ROANOKE, VA 24991                                    P‐0020626 11/9/2017      TK Holdings Inc., et al .                    $5,239.00                                                                                    $5,239.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LAURSEN, PATRICK K.
NO ADDRESS PROVIDED
                                                     P‐0020627 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHAEL, ELIZABETH F.
1451 APPLEWOOD WAY
TALLAHASSEE, FL 32312                                P‐0020628 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, SHANE C.
TK HOLDINGS INC
13971 SILVER CREEK WAY
VICTORVILLE, CA 92392                                P‐0020629 11/9/2017      TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
WILLIAMS, SHANNON R.
3773 LARAMIE DRIVE
LAFAYETTE, IN 47905                                  P‐0020630 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLEULER, JOHN R.
718 SE 143RD AVE.
VANCOUVER, WA 98683                                  P‐0020631 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTON, WILLIAM J.
PATTON, PATRICIA M.
23056 GOLF RUN LN
MACOMB, MI 48042                                     P‐0020632 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS‐HASKET, LATOYA
HASKET, DUMEKA
7441 CATTERICK COURT
WINDSOR MILL, MD 21244                               P‐0020633 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, MINESH
PATEL, AKSHITA
8147 VIADANA BAY AVENUE
APT # 2906
BOYNTON BEACH, FL 33473                              P‐0020634 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, ROSITA C.
CONSUMER PORTFOLIO SERVICES I
P.O. BOX 57071
IRVINE, CA 92619                                     P‐0020635 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULQUEEN, CASEY E.
MULQUEEN, CASEY E.
3201 N. CALVERT ST.
APT. F
BALTIMORE, MD 21218                                  P‐0020636 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLSWORTH, LAURA E.
3510 COLUMBIA
VANCOUVER, WA 98660                                  P‐0020637 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CINICOVE, DORIS R.
13560 N. SUNSET MESA DRIVE
MARANA, AZ 85658                                     P‐0020638 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMES, BRYCE A.
2054 12TH ST
CUYAHOGA FALLS, OH 44223                             P‐0020639 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WYATT (HALL), LAMANTHA R.
3742 WARRIORS PATH
DECATUR, GA 30034                                    P‐0020640 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONGEON, TIMOTHY R.
MONGEON, PATRICIA M.
68 PINE STREET
PITTSFIELD, MA 01201                                 P‐0020641 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WITTEN, SUZY
715 N. CROFT AVENUE
LOS ANGELES, CA 90069/5303                            P‐0020642 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAVARRIA, KEVIN A.
22712 VIA SANTA MARIA
MISSION VIEJO, CA 92691                               P‐0020643 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IBARRA, JOEL A.
2456 KERN ST
SAN BERNARDINO, CA 92407                              P‐0020644 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONES‐LOPEZ, VICTOR M.
ESTANCIAS DE LA CEIBA
905 CALLE PEDRO FLORES
JUNCOS, PR 00777                                      P‐0020645 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAIRSTON, ROSALIND D.
1718 NILE DRIVE
CORPUS CHRISTI, TX 78412                              P‐0020646 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNGBERG, PAUL J.
5400 HARBOUR POINTE BLVD
J205
MUKILTEO, WA 98275                                    P‐0020647 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POMMERENING, MELISSA L.
624 GRANADA CIRCLE
LEMOORE, CA 93245                                     P‐0020648 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFMAN, SHERRI M.
P O BOX 474
BIG BEAR LAKE, CA 92315                               P‐0020649 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEAF, JOHN T.
SHEAF, JANE M.
357 OAKLYN RD
LEBANON, PA 17042                                     P‐0020650 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, KEVIN J.
ROBERTS, SUSAN M.
7344 BLOOMINGTON AVE
RICHFIELD, MN 55423‐3414                              P‐0020651 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, LISHA
SHEN, MIAOSEN
4608 CELIA CT
FREMONT, CA 94555                                     P‐0020652 11/9/2017      TK Holdings Inc., et al .                   $41,532.60                                                                                   $41,532.60
NEVILLE, NOEL
NEVILLE, NOEL R.
1SM
2230 LOMA DR.
APT LOWER
HERMOSA BEACH, CA 90254                               P‐0020653 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCREADY, MATTHEW J.
APT 503
5851 QUANTRELL AVE
ALEXANDRIA, VA 22312                                  P‐0020654 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUCIANI, ALFRED J.
ALFRED J. LUCIANI
120 CARLTON PL
MEDIA, PA 19063                                       P‐0020655 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MORGAN, JAMES E.
MORGAN, JAMES E.
NAVYBLUE DESIGN STUDIO
P.O. BOX 38331
GREENSBORO, NC 27438                                 P‐0020656 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKEON, BRENDAN E.
WILLIAMS, COURTNEY J.
336 WASHINGTON ST.
GLEN RIDGE, NJ 07028                                 P‐0020657 11/9/2017      TK Holdings Inc., et al .                    $5,270.55                                                                                    $5,270.55
SHOKRIAN, ALEX B.
SHOKRIAN, JANICE L.
2402 GLENMORRIE DRIVE
LAKE OSWEGO, OR 97034                                P‐0020658 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLENN, BRIAN D.
9000 SW 197TH TER
MIAMI, FL 33157                                      P‐0020659 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNETT, RICHARD A.
BENNETT, SHARON L.
5086 SAVANNAH DR
BANNING, CA 92220                                    P‐0020660 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANGIN SERRA, MELANIE
490 BERRY PATCH LANE
WHITE LAKE, MI 48386                                 P‐0020661 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANTER, STANLEY J.
8 OVERLOOK ROAD
BARRINGTON, RI 02806                                 P‐0020662 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRANQUILLO, JENNIFER L.
341 PLEASANT VALLEY ROAD
ROCKY HILL, CT 06067                                 P‐0020663 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LECLAIR, RONALD P.
LECLAIR, PATRICIA M.
176 WASHINGTON ST
ROCHESTER NH 03839
                                                     P‐0020664 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEIER, STEPHEN
2 TIMBER LANE
MANALAPAN, NJ 07726                                  P‐0020665 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTZELL, JEFF P.
3342 SYLVAN RD
BETHEL PARK, PA 15102                                P‐0020666 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSTNER, STEVEN M.
213 W. 23RD STREET
APT 7S
NEW YORK, NY 10011                                   P‐0020667 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HONEYCUTT, MICHAEL W.
2285 EASTBROOK RD
VISTA CA 92081                                       P‐0020668 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFIN, KEALY J.
6150 SPANISH OAKS LANE
NAPLES, FL 34119                                     P‐0020669 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHOKRIAN, ALEX B.
SHOKRIAN, JANICE L.
2402 GLENMORRIE DRIVE
LAKE OSWEGO, OR 97034                                P‐0020670 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
MEIER, STEPHEN
2 TIMBER LANE
MANALAPAN, NJ 07726                                    P‐0020671 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOICE, SCOTT A.
1312 JULIE COURT
REDLANDS, CA 91274                                     P‐0020672 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, JOSEPH E.
3469 W BAYHAM PL
FAYETTEVILLE, AR 72704                                 P‐0020673 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHOKRIAN, ALEX B.
SHOKRIAN, JANICE L.
2402 GLENMORRIE DRIVE
LAKE OSWEGO, OR 97034                                  P‐0020674 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHLAGHECK, DANA L.
4300 SOQUEL DR #202
SOQUEL, CA 95073                                       P‐0020675 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOHR, LINDA
319 LOYALHANNA AVE
APT 1
LATROBE, PA 15650                                      P‐0020676 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENNINGS, DIANE R.
JENNINGS, GREGG A.
3293 190TH ST.
DENISON, KS 66419                                      P‐0020677 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEANGELO, EDWARD J.
CONRAD, MIRIAM
219 POND AVENUE
BROOKLINE, MA 02445                                    P‐0020678 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAUS, RONALD P.
10095 SAN MARCOS CT
LAS CRUCES, NM 88007‐8954                              P‐0020679 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KASSIS, SHLOMO
2098 WRIGHTS MILL CIR. NE
ATLANTA, GA 30324‐2791                                 P‐0020680 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRENEVICKI, LANCE F.
INSTITUTE OF FACIAL SURGERY
511 WEST BAY STREET
SUITE 353
TAMPA, FL 33606                                        P‐0020681 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTER, ROBERT C.
11314 COLOMA LANE
HOUSTON, TX 77024                                      P‐0020682 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORMANN, EMILY D.
MORMANN, GEORGE W.
5703B FOXLAKE DR
N FT. MYERS, FL 33917                                  P‐0020683 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWTON, DOUGLAS M.
4600 MUELLER BLVD.
#3100
AUSTIN, TX 78723‐3380                                  P‐0020684 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                       P‐0020685 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORD, DANIEL J.
11905 168TH ST N
JUPITER, FL 33478‐8271                                 P‐0020686 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
VALMASSOI, DONALD M.
VALMASSOI, PENELOPE H.
6791 S. DWYER RD.
OKEANA, OH 45053‐9725                                 P‐0020687 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMAR, DEBRA L.
LAMAR, JR., WILLIE
134 BLACK SPRINGS RD. NE
MILLEDGEVILLE, GA 31061‐7522                          P‐0020688 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLANAGAN, JAMES A.
903 MADISON STREET
EVANSTON, IL 60202                                    P‐0020689 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNIGHT, ROBERT A.
KNIGHT, KAREN M.
KNIGHT RVBL LVG TRUST
649 S 1ST ST.
DUNSMUIR, CA 96025                                    P‐0020690 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCALL, BILLY
2625 SW 75TH STREET
APT. 402
GAINESVILLE, FL 32608                                 P‐0020691 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STERN, SARAH M.
108 ARDSLEY RD
SCARSDALE, NY 10583                                   P‐0020692 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMEZ, CLAUDINET
13839 MOUNTAIN VIEW PL
SYLMAR, CA 91342                                      P‐0020693 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAULFIELD, JOSEPH B.
314 N 3RD AVE
VIRGINIA, MN 55792‐2416                               P‐0020694 11/9/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
FERGUSON, RICHARD A.
FERGUSON, PATRICIA A.
106 BROADMORE LANE
EAST SYRACUSE, NY 13057                               P‐0020695 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENDELSOHN, MARLA
1101 BLOOMFIELD ST
APT A
HOBOKEN, NJ 07030                                     P‐0020696 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUI, NHU
6324 N CHATHAM AVE
#327
KANSAS CITY, MO 64151                                 P‐0020697 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, DOUGLAS G.
1004 STRATTON DR.
WATERFORD, MI 48328                                   P‐0020698 11/9/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
MERRIMAN, DAVID
1853 MIDDLE STREET
SHARPSBURG, PA 15215                                  P‐0020699 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEIER, LARRY D.
P.O. BOX 325
JOPLIN, MO 64802                                      P‐0020700 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLACE, MELINDA A.
WALLACE, MARK A.
507‐4 BIGGERS ROAD
COLUMBUS, GA 31904                                    P‐0020701 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
KIRCHER, STEVEN E.
17374 WALNUT STREET
FOUNTAIN VALLEY, CA 92708‐2754                        P‐0020702 11/9/2017      TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
NASCO, MARILYN
19021 S. SAINT ANDREWS DR.
HIALEAH, FL 33015                                     P‐0020703 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERG, MARK R.
11113 PIEDMONT DR
FREDERICKSBURG, VA 22407                              P‐0020704 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRISCOM, WILLIAM C.
566 ARGUELLO WAY
APT 342
STANFORD, CA 94305                                    P‐0020705 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ULRICH, THOMAS A.
1040 N. COUSINO RD.
OREGON, OH 43616                                      P‐0020706 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DAVID E.
5721 LE BLANC AVENUE
ANN ARBOR, MI 48103                                   P‐0020707 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUKUHARA, TOYOKO
644 OAKBOROUGH AVE
ROSEVILLE, CA 95747                                   P‐0020708 11/9/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
COX, MCKENNA L.
LILAVIVAT, RUCHT
614 WILLOWOOD DRIVE
JOHNSON CITY, TN 37604                                P‐0020709 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LENARD, BRIAN D.
P. O. BOX 1704
HAMMOND, LA 70404                                     P‐0020710 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERCADEL‐JENKINS, JEANELLE M.
JENKINS, JOSHUA
106 IVY MNR
STOCKBRIDGE, GA 30281                                 P‐0020711 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, HEATHER F.
5519 GREENWAY CR
KINGS MOUNTAIN, NC 28086                              P‐0020712 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRCHER, STEVEN E.
17374 WALNUT STREET
FOUNTAIN VALLEY, CA 92708‐2754                        P‐0020713 11/9/2017      TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
YANG, SHOUA M.
24754 DRACAEA AVE
MORENO VALLEY, CA 92553                               P‐0020714 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEEBACK, MARK H.
40807 E STATE ROUTE 2
LATOUR, MO 64747‐8945                                 P‐0020715 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, LINDA A.
WILLIAMS, JAMES F.
1406 QUAIL RUN
GRAHAM, TX 76450                                      P‐0020716 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HABERMAN, THOMAS J.
HABERMAN, DIANE E.
115 DOE LANE
SMITHVILLE, TN 37166                                  P‐0020717 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
RUDER, STEVEN C.
RUDER, CINDY R.
644 OAKBOROUGH AVE
ROSEVILLE, CA 95747                                   P‐0020718 11/9/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
ROSS, NORMAN C.
5519 GREENWAY CT
KINGS MOUNTAIN, NC 28086                              P‐0020719 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VASQUEZ, RICHARD P.
2477 MORSLAY ROAD
ALTADENA, CA 91001‐2717                               P‐0020720 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODLEY, STAFFORD A.
WOODLEY, DAPHNEE S.
41 RALPH ROAD
NEW ROCHELLE, NY 10804                                P‐0020721 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, WYATT K.
6225 60TH STREET WEST
UNIVERSITY PLACE, WA 98467                            P‐0020722 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERRELL, ROBERT W.
P.O. BOX 3105
LANCASTER, CA 93586                                   P‐0020723 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DAVID E.
5721 LE BLANC AVENUE
ANN ARBOR, MI 48103                                   P‐0020724 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YAO, YUAN
3432 LOCHINVAR AVE
SANTA CLARA, CA 95051                                 P‐0020725 11/9/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
STEENSTRA, JACK B.
9208 FOSTORIA COURT
SAN DIEGO, CA 92127                                   P‐0020726 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                      P‐0020727 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRIZMANICH, JULIE J.
212 ASBURY ST
HOUSTON, TX 77007                                     P‐0020728 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANT, BERTHA M.
5314C PULASKI AVENUE
APARTMENT C
PHILADELPHIA, PA 19144‐3939                           P‐0020729 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOSPEDALES, CHRISTINA E.
800 S BREA BLVD, APARTMENT 40
BREA, CA 92821                                        P‐0020730 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, DONNA K.
611 E. SOUTH ST.
APARTMENT A9
MARSHALLTOWN, IA 50158                                P‐0020731 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANDOLPH, BULON
15210 RENCHER CT
MORENO VALLEY, CA 92551                               P‐0020732 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYSONET, ILEANA L.
15 ROMAINE PLACE
NEWARK, NJ 07104‐4121                                 P‐0020733 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLANNERY, JAMES V.
5548 HUNTER
RAYTOWN, MO 64133                                     P‐0020734 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
COOK, SUSAN A.
COOK, JAMES H.
1403 NE 94TH CT
KANSAS CITY, MO 64155                                P‐0020735 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WORLEY, THOMAS W.
175 GREEN BAY ROAD
CHATHAM, VA 24531                                    P‐0020736 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOOGLER, TIFFANY K.
81 WATERWHEEL LANE
GODWIN, NC 28344                                     P‐0020737 11/9/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
TRAYWICK, JOHN T.
1124 FIRST AVE.
PLEASANT GROVE, AL 35127                             P‐0020738 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, CLIFTON D.
THOMPSON, SILVIA A.
3210 LATIMER COURT COVE
HORN LAKE, MS 38637‐6078                             P‐0020739 11/9/2017      TK Holdings Inc., et al .                   $43,941.80                                                                                   $43,941.80
THORPE, JULI V.
THORPE, JAMES V.
38 READING RD.
BLOOMINGTON, IL 61701                                P‐0020740 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLAUGHTER, RICHARD G.
6107 HIGHLANDALE DR.
AUSTIN, TX 78731                                     P‐0020741 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEITELMAN, SAMUEL
TEITELMAN, REGINA G.
3264 DAWSON COURT
WEST LINN, OR 97068                                  P‐0020742 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, FREDDIE C.
4215 LEE ROAD
VICKSBURG, MS 39180                                  P‐0020743 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PURNOMO, HENDY
1240 E MOUNTAIN VIEW AVE
GLENDORA, CA 91741                                   P‐0020744 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, MARTHA K.
1011 E LAKE AVENUE
BALTIMORE, MD 21212                                  P‐0020745 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYSONET, LISSETTE
15 ROMAINE PLACE
APT. 1
NEWARK, NJ 07104‐4121                                P‐0020746 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IBARRA, JOEL
INLAND EMPIRE LANDSCAPE, INC
2456 KERN ST
SAN BERNARDINO, CA 92407                             P‐0020747 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOUTJESDYK, JENNIFER L.
7860 SILVER HILLS DR
ROCKFORD, MI 49341                                   P‐0020748 11/9/2017      TK Holdings Inc., et al .                     $629.16                                                                                       $629.16
KIMBERLING, DIANE R.
613 HIDDEN CREEK LANE
NORTH AURORA, IL 60542                               P‐0020749 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMALL, LISA J.
SMALL, CRAIG T.
578 N ALPINE TRAIL RD
ALPINE, CA 91901                                     P‐0020750 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
JACOBSON, JULIET
6458 RICHARD DR
YUCCA VALLEY, CA 92284                                P‐0020751 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSSELL, DEBORAH L.
25 GIOVANNI AISLE
IRVINE, CA 92614                                      P‐0020752 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, SHANNON R.
3773 LARAMIE DRIVE
LAFAYETTE, IN 47905                                   P‐0020753 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARNER‐ALVAREZ, MARIA L.
3238 RIO MINILLAS
PRADERA DEL RIO
TOA ALTA, PR 00953                                    P‐0020754 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, SHANNON R.
3773 LARAMIE DRIVE
LAFAYETTE, IN 47905                                   P‐0020755 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEETCHER, CHERYL L.
2601 SOUTH MIDDLE RIVER ROAD
SOUTH RANGE, WI 54874                                 P‐0020756 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVENSAILOR, JEFFREY M.
379 GREAT FOREST RD
GRIMESLAND, NC 27837                                  P‐0020757 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDMAN, KENNETH
129 SUMMER ST.
WESTWOOD, MA 02090                                    P‐0020758 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DASH, KIMBERLY R.
1736 COLUMBIA COLLEGE DRIVE
COLUMBIA, SC 29203                                    P‐0020759 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, DOUGLAS
11 LORRAINE DRIVE
CLIFTON, NJ 07012                                     P‐0020760 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTES, ABRAHAM
5116 ANCHORAGE AVE
EL PASO, TX 79924                                     P‐0020761 10/27/2017     TK Holdings Inc., et al .                   $55,000.00                                                                                   $55,000.00
GREENFIELD, ALAN M.
3135 E 17TH ST
TULSA, OK 74104                                       P‐0020762 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMBEL, CAROLE A.
HAMBEL, HENRY P.
29 MARY GRAY DR.
CLYDE, NC 28721                                       P‐0020763 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMBEL, HENRY P.
HAMBEL, CAROLE A.
29 MARY GRAY DR
CLYDE, NC 28721                                       P‐0020764 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, FRANCINE D.
3702 FLORINDA ST
HOUSTON, TX 77021                                     P‐0020765 10/30/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WILSON, JACQUELINE D.
3513 E. CHEROKEE ROAD
DUNCAN, OK 73533                                      P‐0020766 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, IVY D.
5630 CAMPUS DR
VIRGINIA BEACH, VA 23462‐7308                         P‐0020767 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
JONES, MICHAEL L.
8420 BAIRD ROAD NE
OLYMPIA, WA 98516                                    P‐0020768 11/9/2017      TK Holdings Inc., et al .                   $46,000.00                                                                                   $46,000.00
SAMPSON, CINDY C.
157 RED FOX DRIVE
DALLAS, GA 30157                                     P‐0020769 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SERIO, LUIGI
15226 NW 4TH AVE.
VANCOUVER, WA 98685                                  P‐0020770 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEILOCK, ELLEN
1909 MELVIN ROAD
OAKLAND, CA 94602                                    P‐0020771 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARNER, RONALD L.
P.O. BOX 264
BURNS FLAT, OK 73624                                 P‐0020772 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUAREZ, RUBEN P.
8460 ATTICA DR
RIVERSIDE, CA 92508                                  P‐0020773 11/9/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MILLER, KAYLA B.
1520 HIALEAH DR. APT. B
LAS VEGAS, NV 89119                                  P‐0020774 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, SCOTT M.
HIGGINS, LAURIE F.
101 ACOMA LANE
COLLEGEVILLE, PA 19426                               P‐0020775 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGAZA, KRISTINA J.
PAGAZA, EDGAR
27530 SENNA CT
TEMECULA, CA 92591                                   P‐0020776 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOTTERILL, TONI
45 INVERARY
DOVE CANYON, CA 92679                                P‐0020777 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARDON, LELAND R.
2986 S BLACKS CORNERS ROAD
IMLAY CITY, MI 48444                                 P‐0020778 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEREZ, RANDI
BEREZ, RANDI
13100 HESBY ST
SHERMAN OAKS, CA 91423                               P‐0020779 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, KENNETH E.
2161 CARAWAY CT.
CORONA, CA 92879‐7785                                P‐0020780 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DARQUES
2358 UNIVERSITY AVE
#214
SAN DIEGO, CA 92104                                  P‐0020781 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OGDEN, DOUGLAS G.
26132 PASEO MARBELLA
SAN JUAN CAP, CA 92675                               P‐0020782 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARGIEL, JOSEPH
BARGIEL, NANCY
24986 CRYSTAL CIRCLE
LAKE FOREST, CA 92630                                P‐0020783 11/9/2017      TK Holdings Inc., et al .                    $1,800.00                                                                                    $1,800.00
CHEN, TRACY C.
1049 BERNARD GRAY CT
COLTON, CA 92324                                     P‐0020784 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
VINES, JANICE M.
VINES, DEBRA A.
107 MORRIS AVENUE
CLANTON, AL 35045                                   P‐0020785 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEGOVIA‐FERNANDE, MARIA A.
8807 HEBRIDES DR
SAN DIEGO, CA 92126                                 P‐0020786 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOWNLEY, LYNDA L.
1109 N SYCAMORE ST.
PALESTINE, TX 75801                                 P‐0020787 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, RICHARD
COHEN, DEBRA
126 BROADVIEW AVENUE
NEW ROCHELLE, NY 10804                              P‐0020788 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERRILL, JOAN L.
4486 MESA LANE
CARPINTERIA, CA 93013                               P‐0020789 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANDEL, THOMAS E.
28531 CAMELBACK RD
TRABUCO CYN, CA 92679                               P‐0020790 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAY, DAWN M.
2613 MILAN STREET
EASTON, PA 18045                                    P‐0020791 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHISTIAKOV, VICTOR
811 72ND AVE SE
NORMAN, OK 73026                                    P‐0020792 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VINES, JANICE M.
107 MORRIS AVENUE
CLANTON, AL 35045                                   P‐0020793 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, CLAYTON D.
3403 PONY SOLDIER DRIVE
APEX, NC 27539                                      P‐0020794 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, WALTER
222 NW 46TH STREET
SEATTLE, WA 98107                                   P‐0020795 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANGE, KEVIN J.
2237 ISLAND DR
MICHIGAN CITY, IN 46360                             P‐0020796 11/9/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
FOLEY, JOEL K.
100 PLANTATION DR
RICHMOND, KY 40475‐7966                             P‐0020797 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, KENNETH L.
101 VADEN DR
NASHVILLE, TN 37211                                 P‐0020798 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUANG, WEI
YANG, LIN
14501 BALLENTINE STREET
OVERLAND PARK, KS 66221                             P‐0020799 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUILLERMO MENDOZ, HARRY C.
3822 ROSE AVENUE
LONG BEACH, CA 90807                                P‐0020800 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNETT, JAYME K.
CAPITAL ONE AUTO FINANCE
405 PINE STREET
HOOD RIVER, OR 97031                                P‐0020801 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
YIP, KAEYLA B.
BARROQUILLO, MICHELLE H.
1080 COLLEGE VIEW DRIVE APT 5
MONTEREY PARK, CA 91754                               P‐0020802 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILKA, PATRICIA
384 QUEENSBURY ST
THOUSAND OAKS, CA 91360                               P‐0020804 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAGATA, STEVEN R.
903 E 9TH ST
APT 6
LONG BEACH, CA 90813                                  P‐0020805 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OGDEN, DOUGLAS G.
26132 PASEO MARBELLA
SAN JUAN CAP, CA 92675                                P‐0020806 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERRILL, JOAN L.
4486 MESA LANE
CARPINTERIA, CA 93013                                 P‐0020807 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIGHAM, WENDIE L.
21471 PINETREE LANE
HUNTINGTON BEACH, CA 92646                            P‐0020808 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSEMUND, VICTOR L.
ROSEMUND, MARTHA A.
1838 AVENIDA SAN SEBASTIAN
PERRIS, CA 92571                                      P‐0020809 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUANG, WEI
YANG, LIN
14501 BALLENTINE STREET
OVERLAND PARK, KS 66221                               P‐0020810 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACPHERSON, LAURA M.
212 NEWBERRY COURT
VIRGINIA BEACH, VA 23462                              P‐0020811 11/9/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
CRUZ, GLORIA L.
7038 N. VIA DE VIDA
SCOTTSDALE, AZ 85258                                  P‐0020812 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAILEY‐PEELE, TRACY L.
759 C MIX AVE
HAMDEN, CT 06514                                      P‐0020813 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, KENNETH E.
2161 CARAWAY CT.
CORONA, CA 92879‐7785                                 P‐0020814 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINCOLN, JOSEPH M.
125 DENNIS DRIVE
UNIT A
ATHENS, GA 30605                                      P‐0020815 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLESSING, DONALD M.
BLESSING, LINDA L.
29077 HIGH SIERRA TR
SANTA CLARITA, CA 91390                               P‐0020816 11/9/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
KNIGHT, JAMES
12131 HERMON DRIVE
TUSTIN, CA 92782                                      P‐0020817 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUZAR, CYRUS K.
NO ADDRESS PROVIDED
                                                      P‐0020818 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MACPHERSON, LAURA M.
212 NEWBERRY COURT
VIRGINIA BEACH, VA 23462                             P‐0020819 11/9/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
SRINIVASAN, RAVI
12 HIGHLAND AVE
MONTCLAIR, NJ 07042                                  P‐0020820 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBIERE, NIKOLINA
16 COMMANDERS CT
TOTOWA, NJ 07512                                     P‐0020821 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INAWAT, RONALD J.
2409 W. CATALPA AVE., #406
CHICAGO, IL 60625                                    P‐0020822 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENNEDY, FLOYD B.
616 MALLARD RUN LANE
POBOX 104
WARFORDSBURG, PA 17267                               P‐0020823 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, LATISHA
962 FARRAGUT DR
TEANECK, NJ 07666                                    P‐0020824 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACPHERSON, LAURA M.
212 NEWBERRY COURT
VIRGINIA BEACH, VA 23462                             P‐0020825 11/9/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HARTEN, MARTHA A.
214 FLYNN RD
FAYETTE, AL 35555                                    P‐0020826 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOPKO, DAVID C.
5865 HAMMERSMITH RD
STONE MOUNTAIN, GA 30087‐2517                        P‐0020827 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWEENEY, MICHAEL T.
1111 MANNING STREET
PHILADELPHIA, PA 19107                               P‐0020828 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORD, JAMES A.
1300 HAWKS NEST WAY #108
VIRGINIA BEACH, VA 23451                             P‐0020829 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE STEFANO, DIANA
NO ADDRESS PROVIDED
                                                     P‐0020830 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, DONNA R.
2120 EAST DANBURY ROAD
PHOENIX, AZ 85022                                    P‐0020831 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEYMANN, W CRAIG
1618 E LYNDALE AVE
HELANA, MT 59601                                     P‐0020832 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWEENEY, MICHAEL T.
1111 MANNING STREET
PHILADELPHIA, PA 19107                               P‐0020833 11/9/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
PAULEY, TERRY L.
PAULEY, MARTHA R.
308 ELM STREET
SOUTH CHARLESTON, WV 25303‐1616                      P‐0020834 10/30/2017     TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
PALOMARES, SALVA F.
23 CHIMNEY LN
LADERA RANCH, CA 92694                               P‐0020835 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISCHER, CHRISTOPHER J.
17106 KESWICK ST
LAKE BALBOA, CA 91406                                P‐0020836 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ARMOUR, NANCY R.
2709 N. RACINE AVE.
UNIT A
CHICAGO, IL 60614                                     P‐0020837 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILMAN, HOPE R.
13503 135TH AVE KP N
GIG HARBOR, WA 98329                                  P‐0020838 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADSHAW, CAROLINE R.
271 CAMP AVENUE
NORTH KINGSTOWN, RI 02852                             P‐0020839 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ, FERDINAND
MADRID, MICHELLE
22438 BAY AVE.
MORENO VALLEY, CA 92553                               P‐0020840 11/9/2017      TK Holdings Inc., et al .                    $9,000.00                                                                                    $9,000.00
VAUGHAN, JENNIFER
41 ESPALIER
FOOTHILL RANCH, CA 92610                              P‐0020841 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLENBACH, JEFFREY D.
HOLLENBACH, SAMANTHA R.
2320 FOREST VIEW LANE
ANACORTES, WA 98221                                   P‐0020842 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKINLEY, CASSANDRA
MCKINLEY, ROBERT
7866 WHIPPET ST
EASTVALE, CA 92880                                    P‐0020843 11/9/2017      TK Holdings Inc., et al .                   $13,762.11                                                                                   $13,762.11
LIZOTTE, BETH A.
2 TIMBER LANE
MANALAPAN, NJ 07726                                   P‐0020844 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIU, JUN
1049 BERNARD GRAY CT
COLTON, CA 92324                                      P‐0020845 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRON BASTAS, ENID G.
8724 BACARDI DR.
DALLAS, TX 75238                                      P‐0020846 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, NATHANIEL
2448 WEST CALLE CELESTE DRIVE
RIALTO, CA 92377                                      P‐0020847 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAROSE, STEPHEN
5100 WOODMAN AVE
#202
LOS ANGELES, CA 91423                                 P‐0020848 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECK, VIRGINIA L.
BECK, GARY
2847 WOOD VALLEY COURT
JACKSONVILLE, FL 32217                                P‐0020849 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNZEL, WESTON
2236 SUFFOLK STREET
CINCINNATI, OH 45230                                  P‐0020850 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENTI, PAULA
80 LINCOLN PLACE
WALDWICK, NJ 07463                                    P‐0020851 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NASH, MAX E.
2913 SHAFFLER LANE
TYLER, TX 75702                                       P‐0020852 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
COHEN, AMY E.
31 AUDREY ROAD
BELMONT, MA 02478                                     P‐0020853 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIGBY,SR., PATRICK F.
7347 KENTWOOD DRIVE
FRISCO, TX 75034‐4120                                 P‐0020854 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FALLUCCA, MICHELLE S.
6905 CLEATON ROAD
UNIT Q191
COLUMBIA, SC 29206                                    P‐0020855 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHOEMANN, RALPH S.
6 VINEYARD PLACE
GUILFORD, CT 06437‐3237                               P‐0020856 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANDEL, ARTHUR F.
153 GOLDEN RD
STOUGHTON, MA 02072‐1959                              P‐0020857 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWAB, TAYLER J.
DEAN, DIANE
4861 WEST VILLAGE DELL DRIVE
WEST JORDAN, UT 84081                                 P‐0020858 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUMMINGS, ROBERT A.
31086 WAKEFIELD DRIVE
SPANISH FORT, AL 36527                                P‐0020859 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SZUCS, PETER N.
7262 ADENA HILLS COURT
WEST CHESTER, OH 45069                                P‐0020860 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, MARSHEELIA A.
1017 LOCHBRAE ROAD
APT 1
SACRAMENTO, CA 95815                                  P‐0020861 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAVRIN, GLORIA H.
VALERIO, CAROL E.
631 KELLY BLVD
SPRINGFIELD, OR 97477                                 P‐0020862 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, JULIE
1355 GOLDEN TRAIL LN
EL PASO, TX 79936                                     P‐0020863 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITLOCK, JEFFREY A.
2711 MAIN ST
LAFAYETTE, IN 47904                                   P‐0020864 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, JOSEPH A.
203 CEDAR WOODS WAY
CANTON, GA 30114                                      P‐0020865 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICHOLS, OSCAR Q.
556 MICHAEL IRVIN DR
NEWPORT NEWS, VA 23608                                P‐0020866 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALOFF, WILLIAM D.
VALOFF, LYNNE
12729 AVENUE 271
VISALIA, CA 93277‐9412                                P‐0020867 11/9/2017      TK Holdings Inc., et al .                    $3,900.00                                                                                    $3,900.00
NICELY, ALIEA A.
43 CAMDEN CSWY
ELIZABETH CITY, NC 27909                              P‐0020868 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRY, STETSON C.
476 QUEEN ANNE DR
CHULA VISTA, CA 91911                                 P‐0020869 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DRUMMOND, VALERIE A.
16 N. CENTRAL HWY
GARNERVILLE, NY 10923                                P‐0020870 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMANNA, PAUL C.
1098 CHARLTON STREET
WEST SAINT PAUL, MN 55118                            P‐0020871 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, JOSEPH P.
1022 DETTLING ROAD
WILMINGTON, DE 19805                                 P‐0020872 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANZONE, ELIZABETH
725 65TH STREET
OAKLAND, CA 94609                                    P‐0020873 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESCOBEDO, GREGORIO Q.
38259 PIONEER DR
PALMDALE, CA 93552                                   P‐0020874 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, ALEX S.
MARTINEZ, EDGAR J.
11972 OAKWOOD DR
FONTANA, CA 92337                                    P‐0020875 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OH, ROBERT
2904 SE 8TH ST
UNIT 2128
RENTON, WA 98058                                     P‐0020876 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWERS, EDWARD P.
219 WILMOT DRIVE
GASTONIA, NC 28054                                   P‐0020877 11/9/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
REAVES, LATONYA D.
1305 LAKESIDE DRIVE NW
WILSON, NC 27896                                     P‐0020878 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, KATHLEEN M.
1022 DETTLING ROAD
WILMINGTON, DE 19805                                 P‐0020879 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOWLER, THOMAS
2107 KATER ST
PHILADELPHIA, PA 19146                               P‐0020880 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOFFMAN, JAMES W.
88 PATTERSON ESTATE ROAD
PISGAH FOREST, NC 28768                              P‐0020881 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMANNA, PAUL C.
1098 CHARLTON STREET
WEST SAINT PAUL, MN 55118                            P‐0020882 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBER, TRACY
160 PICADILLY PL
SOMERSET, NJ 08873                                   P‐0020883 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACKIE, STEVEN C.
3800 7TH AVENUE
APT. 301B
ALTOONA, PA 16602                                    P‐0020884 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAPLAN, LENDA J.
542 MANZANITA STREET
CHULA VISTA, CA 91911                                P‐0020885 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINHART, AARAN B.
212 WASHINGTON STREET
MEDFORD, OR 97501                                    P‐0020886 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GORDON, ROBERT J.
68 SAN PEDRO STREET
SALINAS, CA 93901                                    P‐0020887 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRES, ROBERT C.
VEGA, JOLYNN Y.
850 HILLSIDE ST. #23
LA HABRA, CA 90631                                   P‐0020888 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INMAN, JOHN L.
INMAN, JACKOLINE K.
3207 CEDAR VALLEY LANE
PLACERVILLE, CA 95667                                P‐0020889 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANZONE, NICHOLAS J.
725 65TH STREET
OAKLAND, CA 94609                                    P‐0020890 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROLAND, RENAY K.
3001 SW COLLEGE RD
#120
OCALA, FL 34474                                      P‐0020891 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOLAN, JANET M.
425 S. BERNIER AVENUE
SPRINGFIELD, MO 65802                                P‐0020892 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAKLIS, RUTH E.
7949 W. CAMBRIDGE DRIVE
ORLAND PARK, IL 60462                                P‐0020893 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EADY, MORGAN
EADY, MORGAN A.
107 HAMPSHIRE LANE
WARNER ROBINS, GA 31093                              P‐0020894 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, KATRINA F.
MOORE, RICHARD D.
340 LIVE OAK LOOP
CENTRAL POINT, OR 97502                              P‐0020895 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEYES, ANDREW J.
2602 FREDERICK AVE
APT. 8
ST. JOSEPH, MO 64506                                 P‐0020896 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYNE, AMANDA R.
5313 BINBRANCH LN.
MCKINNEY, TX 75071                                   P‐0020897 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALERIO, CAROL E.
631 KELLY BLVD.
SPRINGFIELD, OR 97477                                P‐0020898 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEARSON, DAVID A.
3 RED MAPLE
LITTLETON, CO 80127                                  P‐0020899 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURTIN, JUDITH S.
2200 VICTORY PARKWAY
NO. 1102
CINCINNATI, OH 45206                                 P‐0020900 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELIGMAN, TERRY A.
1225 WATERVIEW DRIVE
MILL VALLEY, CA 94941                                P‐0020901 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCORMICK II, WILLIS J.
315 BRYANT STREET
MECHANICSBURG, PA 17050‐4114                         P‐0020902 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
PAYNE, AMANDA R.
PAYNE, AMANDA R.
5313 BINBRANCH LN.
MCKINNEY, TX 75071                                  P‐0020903 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELWOOD, MATTHEW J.
220 PORTER PLACE
JEFFERSON, GA 30549                                 P‐0020904 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURTADO, OSCAR A.
REYES HURTADO, MARIA
1540 S. TEMPLE AVE.
APT # D
COMPTON, CA 90221                                   P‐0020905 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALES, MICHAEL W.
GONZALES, AMY E.
10241KAMUELA DRIVE
HUNTINGTON BEACH, CA 93646                          P‐0020906 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SURYAPUTRA, STEPHEN
316 WEDGEMERE STREET
CARY, NC 27519                                      P‐0020907 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRY, EDWARD C.
133 PREATONWOOD DRIVE
APEX, NC 27539                                      P‐0020908 11/9/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MOSQUERA, FERNANDO
117 LAGO VISTA BLVD
CASSELBERRY, FL 32707                               P‐0020909 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAIRD, TROY
LAIRD, DENISE
2401 GLEN HAVEN RD
LAKE OSWEGO, OR 97034                               P‐0020910 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUAY, RICHARD J.
59 CRANDON BLVD.
CHEEKTOWAGA, NY 14225‐3618                          P‐0020911 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOMINGUEZ, NAFISA
P.O. BOX 258
LANCASTER, CA 93584                                 P‐0020912 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAUE, GREGORY A.
LAUE, PATRICIA A.
607 67TH AVE TERR W
BRADENTON, FL 34207                                 P‐0020913 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGLORY, JESSICA A.
2548 FIELD
DETROIT, MI 48214                                   P‐0020914 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, SUSANNAH H.
467 29TH ST
SAN FRANCISCO, CA 94131                             P‐0020915 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUCAS, JEFFREY S.
6917 TRADE WIND STREET
STREETAMARILLO, ST 79118                            P‐0020916 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
URIBE, NINOSKA
765 RIVERSIDE DRIVE
NEW YORK, NY 10032                                  P‐0020917 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NASCO, DENNIS
25 WEST 10 ST # 1
HIALEAH, FL 33010                                   P‐0020918 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HERBSTMAN, LAUREN A.
217 MATTESON CT
DANVILLE, CA 94526                                  P‐0020919 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, MICHAEL S.
28442 BOULDER DRIVE
TRABUCO CANYON, CA 92679                            P‐0020920 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUZAR, CYRUS K.
315 MIRANDA LANE
ALAMO, CA 94507                                     P‐0020921 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, JOSEPH
13432 VERONA
TUSTIN, CA 92782                                    P‐0020922 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAVARRETTE, RAYMUNDO
HILTON, LILYBELLE
3782 1ST AVE #102
SAN DIEGO, CA 92103                                 P‐0020923 11/9/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
STRADLEY, JOHN A.
4490 NORA AVE.
PACE, FL 32571                                      P‐0020924 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYNCH, GERALD P.
LYNCH, GERALD P
68245 MODALO RD
CATHEDRAL CITY, CA 92234                            P‐0020925 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAWERES, MEDHAT R.
24473 MALVISTA WAY
LAGUNA NIGUEL, CA 92677                             P‐0020926 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUBIN, DANIEL
595 W CHURCH ST APT. 725
ORLANDO, FL 32805                                   P‐0020927 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAURICIO, BERNADETTE C.
P.O. BOX 1855
KAILUA, HI 96734                                    P‐0020928 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEERS, LOUIS L.
3713 S SEA CLIFF
SANTA ANA, CA 92704                                 P‐0020929 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURGER, SARAH A.
2241 SPAULDING DRIVE
ELY, MN 55731                                       P‐0020930 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LETTNER, JULIAN
8401 PALO VERDE RD
IRVINE, CA 92617                                    P‐0020931 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHERMAN, KAREN J.
SHERMAN, KATO
TAXMAN TAX SERVICE, LLC
13652 JACOBSON RD
MANOR, TX 78653                                     P‐0020932 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINK, ROBERT J.
ROBERT LINK
56 PRESFORD DRIVE
SHIRLEY, NY 11967                                   P‐0020933 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUBANSKI, WALDEMAR
805 AMBER CT.
ALLEN, TX 75002                                     P‐0020934 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
SATTIZAHN, MICHAEL W.
SATTIZAHN, ANGELA L.
522 BLUE MOUNTAIN RD
FREDERICKSBURG, PA 17026                              P‐0020935 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUDDER, MARISA B.
917 N 3RD ST
MONTEBELLO, CA 90640                                  P‐0020936 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEITMAN, SANDRA L.
133 W HIGHLAND AVE
TRACY, CA 95376                                       P‐0020937 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYKES, PAMELA A.
1245 KINGS ROW
SLIDELL, LA 70461                                     P‐0020938 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, HEATHER L.
15587 PUMP STATION ROAD
SHIRLEYSBURG, PA 17260                                P‐0020939 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANCE, PATRICK D.
437 PANORAMA DRIVE
BENICIA, CA 94510                                     P‐0020940 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUZAR, CYRUS K.
315 MIRANDA LANE
ALAMO, CA 94507                                       P‐0020941 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, SCOTT M.
JOHNSON, MAJOR A.
101 ACOMA LANE
COLLEGEVILLE, PA 19426                                P‐0020942 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOBSON, PORSHA
3401 40TH STREET
SACRAMENTO, CA 95817                                  P‐0020943 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, FORREST L.
WARD, SHARON A.
410 WOOD DUCK LANE
MCKINNEY, TX 75070‐4176                               P‐0020944 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARKAT, AMAL K.
10144 LONG BEACH STREET
PORT CHARLOTTE, FL 33981                              P‐0020945 10/27/2017     TK Holdings Inc., et al .                    $8,500.00                                                                                    $8,500.00
CRUSCO, PHILIP V.
7330 E SUNSET SKY CIRCLE
SCOTTSDALE, AZ 85266‐4221                             P‐0020946 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDEN, MARY ANN M.
HARDEN, GREGORY A.
7835 GALVESTON AVENUE
JACKSONVILLE, FL 32211                                P‐0020947 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, FORREST L.
WARD, SHARON A.
410 WOOD DUCK LANE
MCKINNEY, TX 75070‐4176                               P‐0020948 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEAN, ROBERT K.
4861 WEST VILLAGE DELL DRIVE
WEST JORDAN, UT 84081                                 P‐0020949 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEARSON, DAVID A.
3 RED MAPLE
LITTLETON, CO 80127                                   P‐0020950 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALIKSTEIN, GITTEL
18 LYNCREST DR.
MONSEY, NY 10952                                      P‐0020951 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
STEWART, ANDREA A.
730 MCGRAW CIR
FORT COLLINS, CO 80526                               P‐0020952 11/9/2017      TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
HERNANDEZ, LAURA L.
902 FEATHERSTON STREET
CLEBURNE, TX 76033                                   P‐0020953 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVAREZ, JAZMIN X.
6442 PRESCOTT ST
CHINO, CA 91710                                      P‐0020954 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KYLANDER, KELLY
2B BLUESTEM COURT
GREENSBORO, NC 27405                                 P‐0020955 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, STERLING S.
7015 ROSELAND DR
URBANDALE, IA 50322                                  P‐0020956 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEETCHER, CHERYL L.
2601 SOUTH MIDDLE RIVER ROAD
SOUTH RANGE, WI 54874                                P‐0020957 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOX, TRACIE N.
1003 BAYLOR DRIVE
LONGVIEW, TX 75601                                   P‐0020958 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESCOBEDO, GREGORIO Q.
38259 PIONEER DR
PALMDALE, CA 93552                                   P‐0020959 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFITH, ARISHA A.
11604 WHITTIER ROAD
BOWIE, MD 20721                                      P‐0020960 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCELREA, MICHELLE D.
SASAKI, EDWARD K.
3530 E BARON CT
ORANGE, CA 92869                                     P‐0020961 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMPLITA, CLAIRE L.
COMPLITA, MICHAEL J.
22608 16TH AVE W
BOTHELL, WA 98021                                    P‐0020962 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEXAUER, MARY S.
SEXAUER, KURT T.
926 SHADY PATH DRIVE
SAINT PETERS, MO 63376‐7602                          P‐0020963 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALDRIDGE, NADINE
1463 SE BOBOLINK LN
COLLEGE PLACE, WA 99324                              P‐0020964 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNARD, SUSIE B.
3573 OXBOW AVE E
FIFE, WA 98424                                       P‐0020965 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANSPACH, DOUGLAS C.
40 N. MAIN ST
SUITE 1700
DAYTON, OH 45423                                     P‐0020966 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, NANCY J.
TURNER, JR, JACKSON E.
30425 LEEMOOR ST
BEVERLY HILLS, MI 48025                              P‐0020967 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESCOBEDO, GREGORIO Q.
38259 PIONEER DR
PALMDALE, CA 93552                                   P‐0020968 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
DOURDOUREKAS, DIMITRIOS C.
44 COMMONS DRIVE
PALOS PARK, IL 60464                                P‐0020969 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, DAVID J.
MARTIN, ANGELA H.
12230 NE 137TH PL
KIRKLAND, WA 98034                                  P‐0020970 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPATZ, GREER A.
19 KALAMAT FARMS CIRCLE
SHREWSBURY, MA 01545                                P‐0020971 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ILES, WILLIAM A.
ILES, JANET G.
18760 SW 109 PL
DUNNELLON, FL 34432                                 P‐0020972 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, NED V.
NELSON, MARIE B.
317 PARKERS CHAPEL ROAD
EL DORADO, AR 71730‐7982                            P‐0020973 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLADILINA, JEANNE
503 S WARMINSTER RD APT T7
HATBORO, PA 19040‐4140                              P‐0020974 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOEHRING, FREDERICK C.
DOEHRING, KATHLEEN P.
P.O. BOX 1783
FRIDAY HARBOR, WA 98250                             P‐0020975 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, CHRISTOPHER S.
700 W LA VETA AVE
Q2
ORANGE, CA 92868                                    P‐0020976 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORFORD, CHRISTINE D.
3219 GOLDENSUN AVE.
CALDWELL, ID 83605                                  P‐0020977 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOESCHE, BARRY A.
BOESCHE, SANDRA L.
1307 FIR AVENUE N
GLENCOE, MN 55336                                   P‐0020978 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENSON, DEREK D.
886 VIVA COURT
SOLANA BEACH, CA 92075                              P‐0020979 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORTON, ELYSE L.
1059 OCEAN HEIGHTS AVE
#1022
EGG HARBOR TWP, NJ 08234                            P‐0020980 11/9/2017      TK Holdings Inc., et al .                    $1,750.00                                                                                    $1,750.00
NELSON, NED V.
317 PARKERS CHAPEL ROAD
EL DORADO, AR 71730                                 P‐0020981 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, LANCE M.
P.O. BOX 15742
SACRAMENTO, CA 95852                                P‐0020982 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORLETT, RICHARD D.
CORLETT, PATRICIA A.
12501 LONGHORN PARKWAY, A 359
AUSTIN, TX 78732                                    P‐0020983 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINTER, RICHARD T.
10106 CR 290
TYLER, TX 75707                                     P‐0020984 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HERRERA, ADAM O.
309 E. STERLING
BAYTOWN, TX 77520                                    P‐0020985 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESCOBEDO, GREGORIO Q.
38259 PIONEER DR
PALMDALE, CA 93552                                   P‐0020986 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILLEY, JILL A.
49 RAMON STREET,
SONOMA, CA 95476                                     P‐0020987 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROVES, RION S.
7602 PICKERING LANE NW
OLYMPIA, WA 98502                                    P‐0020988 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BODEN, CHRISTY
3103 DENBEIGH COURT
LOUISVILLE, KY 40242                                 P‐0020989 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, NORENE
MORGAN, TERRY
41234 SEQUOIA AVE.
PALMDALE, CA                                         P‐0020990 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, DOROTHY M.
285 PAYNE AVENUE
PONTIAC, MI 48341                                    P‐0020991 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMGREN, DEBORAH A.
HOLMGREN, HENRY G.
2 GERMAIN STREET
WORCESTER, MA 01602                                  P‐0020992 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALONEY, PAUL L.
4243 BRUSSELS DRIVE
JACKSON, MS 39211‐6106                               P‐0020993 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESCOBEDO, GREGORIO Q.
38259 PIONEER DR
PALMDALE, CA 93552                                   P‐0020994 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUZMAN, RAYMOND P.
715 FREMONT VILLAS
LOS ANGELES
LOS ANGELES, CA 90042                                P‐0020995 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, DOROTHY M.
ROSS, DOROTHY M.
285 PAYNE AVENUE
PONTIAC, MI 48341                                    P‐0020996 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KURTZ, DOROTHY M.
2440 CLACK RD
MADISON, GA 30650                                    P‐0020997 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, GEORGIA M.
4005 PALM TREE BLVD
UNIT 103
CAPE CORAL, FL 33904                                 P‐0020998 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, KESHA D.
1794 OVERLOOK DRIVE
LANCASTER, TX 75146                                  P‐0020999 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRAPEC, LEAH S.
2076 ROCKROSE AVE
BALTIMORE, MD 21211                                  P‐0021000 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTRO, JESSICA
3401 S TOWNER ST
SANTA ANA, CA 92707                                  P‐0021001 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WORDEN, JOSEPH R.
10303 BURNT STORE ROAD
#23
PUNTA GORDA, FL 33950                                 P‐0021002 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINTER, RICHARD T.
10106 CR 290
TYLER, TX 75707                                       P‐0021003 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAPIERRE, SHELDON T.
2320 E EL CHORRO WAY
PALM SPRINGS, CA 92264                                P‐0021004 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOVELADY, CRYSTAL L.
498 S HICKORY ST
KINGSLAND, GA 31548                                   P‐0021005 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYERS‐JONES, JACQUELINE
8625 LEE STREET
CROWN POINT, IN 46307                                 P‐0021006 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TERRY, PATRICIA A.
10347 HAPPY LANE
SANTEE, CA 92071‐4464                                 P‐0021007 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURRELL, WOODY H.
2466 NORTHWOOD CR
SAUKVILLE, WI 53080                                   P‐0021008 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNAP, ALLISON K.
26416 WOODCREST LANE
SAN JUAN CAPISTR, CA 92675                            P‐0021009 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, RICARDO E.
820 SW 24TH RD.
MIAMI, FL 33129                                       P‐0021010 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TERRY, STEVEN M.
10347 HAPPY LANE
SANTEE, CA 92071‐4464                                 P‐0021011 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOLLEFSON, JON
5305 AYRSHIRE BLVD
EDINA, MN 55436                                       P‐0021012 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWERS, EDWARD
219 WILMOT DRIVE
GASTONIA, NC 28054                                    P‐0021013 11/9/2017      TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
JEPPESEN, IDA J.
10308 KARIBA COVE
AUSTIN, TX 78726                                      P‐0021014 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAINZ, SHERIE L.
9286 CEDAR TRAILS LN
VALLEY CENTER, CA 92082                               P‐0021015 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAUD, BERNADETTE P.
26720 ISABELLA PKWY
#205
SANTA CLARITA, CA 91351                               P‐0021016 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNOLL, THOMAS L.
609 WOODLAWN AVE.
SANDUSKY, OH 44870‐5542                               P‐0021017 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FALLUCCA, CHRISTOPHER J.
6905 CLEATON ROAD
UNIT Q191
COLUMBIA, SC 29206                                    P‐0021018 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
INSTITUTE OF FACIAL SURGERY
1093 SOUTH WICKHAM ROAD
WEST MELBOURNE, FL 32904                             P‐0021019 10/26/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFE, THOMAS D.
8 BRADDOCK BLUFF DRIVE
#1802
HILTON HEAD ISLA, SC 29928                           P‐0021020 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPINNEY, MARIE E.
21 GROVE STREET
MARSHFIELD, MA 02050                                 P‐0021021 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DI ORIO, RICHARD J.
2323 NW 190TH AVENUE
PEMBROKE PINES, FL 33029                             P‐0021022 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANTON, FREDERICK J.
58‐32 136 STREET
FLUSHING, NY 11355                                   P‐0021023 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUDELA, CYNTHIA G.
SUDELA, WILLIAM R.
CRADY JEWETT + MCCULLEY
2727 ALLEN PARKWAY #1700
HOUSTON, TX 77019                                    P‐0021024 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRCUS, PENNY L.
415 ROCKY ROAD
SYLACAUGA, AL 35151                                  P‐0021025 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSON, STEVEN M.
8320 LOWER PERSE CIR
ORLANDO, FL 32827                                    P‐0021026 10/27/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
SMITH, JOAN C.
4526 CASEYVILLE AVE.
EAST ST. LOUIS, IL 62204                             P‐0021027 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARKE, MAURICE F.
5422 HARRIET PL
WEST PALM BEACH, FL 33407                            P‐0021028 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAPSALIS, JOHN
2102 LUCAYA BEND M4
COCONUT CREEK, FL 33066‐1141                         P‐0021029 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFMAN, JOEL B.
100 OCEANGATE #1200
LONG BEACH, CA 90802                                 P‐0021030 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGNINI, WILLIAM J.
PAGNINI, MARGO J.
80765 CORTE SANTA CARMELA
INDIO, CA 92203                                      P‐0021031 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGNINI, WILLIAM J.
PAGNINI, MARGO J.
80765 CORTE SANTA CARMELA
INDIO, CA 92203                                      P‐0021032 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEMAN, LUPE M.
550 WEST REGENT STREET
#108
INGLEWOOD, CA 90301                                  P‐0021033 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUTTON, STEVEN L.
P.O. BOX 611
LOS LUNAS, NM 87031                                  P‐0021034 11/9/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00



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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
WILHELM, SHELLEY M.
12 CLOVER PLACE
VERONA, VA 24482                                       P‐0021035 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STUTHARD, CHARLES R.
8036 BRIAR RIDGE LANE
CITRUS HEIGHTS, CA 95610                               P‐0021036 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, ANNE L.
205 MARBLE ST.
APT.204
BROOMFIELD, CO 80020                                   P‐0021037 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINHA, ASEEMA
DUNHAM, BRIAN M.
1882 DERBY WAY
UPLAND, CA 91784                                       P‐0021038 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANG, JENNIFER
10401 MONITOR DRIVE
HUNTINGTON BEACH, CA 92646                             P‐0021039 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLOWS, RICHARD L.
2118 141ST LANE NW
ANDOVER, MN 55304‐3369                                 P‐0021040 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEARST, JUDITH W.
32 VISTA VERDE COURT
SAN FRANCISCO, CA 94131                                P‐0021041 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODWIN, MONIKA
19617 SARDINIA LANE
HUNTINGTON BEACH, CA                                   P‐0021042 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLIGAN, GRACE E.
360 ATHERTON DR
CARMEL, IN                                             P‐0021043 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEMAN, LUPE M.
550 WEST REGENT STREET
#108
INGLEWOOD, CA 90301                                    P‐0021044 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONNAUGHTON, SUSAN J.
8132 COLE ST
DOWNEY, CA 90242                                       P‐0021045 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAW, JOANN E.
1152 23RD AVE
LONGVIEW, WA 98632                                     P‐0021046 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALDROP, CONNIE M.
P.O. BOX 1986
VISTA, CA 92085                                        P‐0021047 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARNER, DAVID C.
SMITH, THOMAS E.
35675 CALLE MONTIGO
CATHEDRAL CITY, CA 92234                               P‐0021048 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAIGNEAULT, ALESSANDRA
9409 OLD COURTHOUSE ROAD
VIENNA, VA 22182                                       P‐0021049 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JIMENEZ, MARILU
JIMENEZ, MAURICIO F.
111 S. COLLEGE AVE. APT. C103
CLAREMONT, CA 91711                                    P‐0021050 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COSTA, PETER P.
1884 MUTTONTOWN RD
MUTTONTOWN, NY 11791                                   P‐0021051 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DAIGNEAULT, ALESSANDRA
9409 OLD COURTHOUSE ROAD
VIENNA, VA 22182                                     P‐0021052 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHMIELEWSKI, URSZULA
5462 N NATOMA AVE
CHICAGO, IL 60656                                    P‐0021053 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOI, ANGELLA
CHOI, ANGELLA
450 W 17TH STREET
APT 1012
NEW YORK, NY 10011                                   P‐0021054 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVA, KATHERINE J.
15311 YORKSHIRE LANE
HUNTINGTON BEACH, CA 92647                           P‐0021055 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERONDA, RICHARD B.
BERONDA, BROOKE A.
6143 LAKEWOOD STREET
SAN DIEGO, CA 92122                                  P‐0021056 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBERT, JOHN E.
FIRST PLACE LLC
36974 S. ROCK CREST DR.
TUCSON, AZ 85739                                     P‐0021057 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, LAWRENCE E.
3007 MADISON AVENUE
NEWPORT NEWS, VA 23607                               P‐0021058 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAPATA‐BELFORD, WENDY
2718 OLD FIELD DR #901
SAN ANTONIO, TX 78247                                P‐0021059 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, RANDY G.
421 WOODHOLLOW DR.
WYLIE                                                P‐0021060 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, GRACIELA
2819 WHEELING
EL PASO, TX 79930                                    P‐0021061 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVA, RICHARD A.
15311 YORKSHIRE LANE
HUNTINGTON BEACH, CA 92647                           P‐0021062 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEARST, GEORGE T.
32 VISTA VERDE COURT
SAN FRANCISCO, CA 94131                              P‐0021063 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMON, RALPH
P. O. BOX 20474
OKLAHOMA CITY, OK 73156‐0474                         P‐0021064 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARNER, DAVID C.
SMITH, THOMAS E.
35765 CALLE MONTIGO
CATHEDRAL CITY, CA 92234                             P‐0021065 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENO, KEVIN D.
23941 VISTA WAY
MENIFEE, CA 92587                                    P‐0021066 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOYLE, CHRISTOPHER
BRACEY, KAREN E.
1807 SOUTHRIDGE DR
DENTON, TX 76205                                     P‐0021067 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MCMASTERS, KEVIN
5417 ELK HOLLOW CT
ELK GROVE, CA 95758                                   P‐0021068 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANDSTAETTER, RALPH W.
1476 SUMMIT VIEW DRIVE
ROCK HILL, SC 29732‐7209                              P‐0021069 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIS, JOSHUA W.
9501 CARMEL CIRCLE
JOHNSTON, IA 50131                                    P‐0021070 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, LATRINA
2022 COMSTOCK DRIVE
STOCKTON, CA 95209                                    P‐0021071 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDRE, GEOLINE
1407 17TH AVE SOUTH APT 201
BIRMINGHAM, AL 35205                                  P‐0021072 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, TRENT
P.O. BOX 80082
CHAMBLEE, GA 30366                                    P‐0021073 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, TRENT
P.O. BOX 80082
CHAMBLEE, GA 30366                                    P‐0021074 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXIT, RAMKUMAR
9052 140TH AVE SE
NEWCASTLE, WA 98059                                   P‐0021075 11/9/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
GILLETTE, SUSAN D.
15233 SW REGENT TERRACE
TIGARD, OR 97224                                      P‐0021076 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUNNINGHAM, ROBERT J.
26 WATERSIDE LANE
CLINTON, CT 06413                                     P‐0021077 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, TRENT
P.O. BOX 80082
CHAMBLEE, GA 30366                                    P‐0021078 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAK, PAUL
7608 LAKE GLEN DR
GLENN DALE, MD 20769                                  P‐0021079 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, JR, JACKSON E.
TURNER, NANCY J.
30425 LEEMOOR ST
BEVERLY HILLS, MI 48025                               P‐0021080 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON JR, JOHN A.
12 DALEHURST CT.
SACRAMENTO, CA 95835                                  P‐0021081 11/9/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
JONES, TRENT O.
NO ADDRESS PROVIDED
                                                      P‐0021082 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZWICK, DAVID
2108 N. MAGNOLIA AVENUE
CHICAGO, IL 60614                                     P‐0021083 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALAZAR, ERNESTO
SALAZAR, LESLEY M.
151 BLOOMFIELD LANE
RANCHO SANTA MAR, CA 92688                            P‐0021084 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROZIER, JANICE
3142 CLERMONT ROAD
COLUMBUS, OH 43227                                    P‐0021085 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GUENTHER, JOHN F.
GUENTHER, REBECCA M.
4012 LAYANG LAYANG CIR. APT J
CARLSBAD, CA 92008                                   P‐0021086 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURAND, ELAINE L.
285 UNION AVENUE
UNIT E1110
CAMPBELL, CA 95008                                   P‐0021087 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, WILLIAM F.
P.O. BOX 276314
SACRAMENTO, CA 95827‐6314                            P‐0021088 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANT, REYNOLDS W.
1324 N. VAN ROAD
HOLLY, MI 48442                                      P‐0021089 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MECONITAS, IVETTE
2118 ADAMS RIDGE RD
APOPKA, FL 32703                                     P‐0021090 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARKE, MAURICE F.
5422 HARRIET PL
WEST PALM BEACH, FL 33407                            P‐0021091 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURTIS, ANDREA L.
5422 HARRIET PL
WEST PALM BEACH, FL 33407                            P‐0021092 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIEGEL, HELENE N.
SIEGEL, LAWRENCE G.
550 OKEECHOBEE BLVD
#1020
WEST PALM BEACH, FL 33401‐6334                       P‐0021093 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEAN, ROBERT K.
4861 WEST VILLAGE DELL DRIVE
WEST JORDAN, UT 84081                                P‐0021094 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSON, STEVEN M.
8320 LOWER PERSE CIR
ORLANDO, FL 32827                                    P‐0021095 10/27/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
GARRARD, JUDITH T.
3944 7TH AVENUE NORTH
LAKE WORTH, FL 33461‐2828                            P‐0021096 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, GREGORY C.
3702 FLORINDA ST.
HOUSTON, TX 77021                                    P‐0021097 10/31/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MATTINGLY, CHARLES D.
3128 HIDDEN LAKE COVE
MIDDLEBURG, FL 32068                                 P‐0021098 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STACEY, SYLVIA S.
3017 WILLOW LANE DR
MONTGOMERY, AL 36109                                 P‐0021099 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUGLIELMO, ANTOINE M.
5003 VIA VERDE STREET
RANCHO CUCAMONGA, CA 91701                           P‐0021100 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOBOZI, IREN
DOBOZI, ISTVAN
2 ARGOSY COURT
GAITHERSBURG, MD 20878                               P‐0021101 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MACLEAN, JAIME N.
JAIME MACLEAN
13534 PALOMINO CREEK DRIVE
CORONA, CA 92883                                      P‐0021102 11/9/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
CHMIELEWSKI, ROBERT
5462 N NATOMA AVE
CHICAGO, IL 60656                                     P‐0021103 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, CHERYL A.
56 E. MAIN ST #3
WAKEMAN
HTTPS://PRIMECLE, OH 44889                            P‐0021104 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHRECENGOST, WILLIAM P.
18226 KING RD
CORRY, PA 16407                                       P‐0021105 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELACAL, GERARD O.
11315 MERIDIAN WAY
RIVERSIDE, CA 92505                                   P‐0021106 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACLEAN, GREGORY T.
13534 PALOMINO CREEK DRIVE
CORONA, CA 92883                                      P‐0021107 11/9/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
COX, DEREK N.
4001 SUL ROSS STREET APT 295
SAN ANGELO, TX 76904                                  P‐0021108 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOBOZI, ISTVAN
2 ARGOSY COURT
GAITHERSBURG, MD 20878                                P‐0021109 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREGOREK, MARK E.
GREGOREK, HEATHER L.
8950 MASSENA ST
RIVERSIDE, CA 92508                                   P‐0021110 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YEUNG, YIPSAM
1001 S CORDOVA ST
ALHAMBRA, CA 91801                                    P‐0021111 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHUGAY, PAUL N.
5 CAMEO CREST
LAGUNA NIGUEL, CA 92677                               P‐0021112 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAZARES, AMY E.
LINK, DANIEL B.
5411 CROSSVIEW LANE
LAKE IN THE HILL, IL 60156                            P‐0021113 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHERLOCK, ELIZABETH A.
8201 AMADOR AVE
YUCCA VALLEY, CA 92284                                P‐0021114 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWEENY, BRIAN B.
85 N CRETIN AVE
ST PAUL, MN 55104                                     P‐0021115 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHLEY, JAMES P.
12771 GERARD DRIVE
EDEN PRAIRIE, MN 55346                                P‐0021116 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUTCHINS, DONALD B.
HUTCHINS, SUSAN
SUNNYVIEW CONSULTING
26772 SUNNYVIEW LN NE
KINGSTON, WA 98346                                    P‐0021117 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
THORNTON, VICTORIA E.
826 S. EVERGREEN DR.
MOSES LK, WA 98837                                    P‐0021118 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEYESA, JOTTE H.
509 E ACORN ST
GARDNER, KS 66030                                     P‐0021119 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERLIN, BETTY RENEE
CO, MICHAEL
755 LAKE SUMMIT DRIVE
ATLANTA, GA 30342                                     P‐0021120 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLAGHER, RICHARD N.
GALLAGHER, SALLY T.
P.O. BOX 73474
PUYALLUP, WA 98373                                    P‐0021121 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCH, SUSAN
MARCH, SUSAN E.
P.O. BOX 624 9 WEST JAMES ST
RICHFIELD SPRING, NY 13439                            P‐0021122 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAZARES, AMY E.
LINK, ERNEST
5411 CROSSVIEW LANE
LAKE IN THE HILL, IL 60156                            P‐0021123 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYKINS, KAMEROON
2015 1ST AVENUE EAST
BRADENTON, FL 34208                                   P‐0021124 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TREUSDELL, LEAH J.
324 E. HERMOSA DR.
TEMPE, AZ 85282                                       P‐0021125 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAMBERS, BARBARA R.
419 E BUTLER RD
UNIT 1
MAULDIN, SC 29662                                     P‐0021126 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BADALIAN, LILI
1982 SW PALM CITY RD. APT. I
STUART, FL 34994                                      P‐0021127 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHAELSON, DAVID
MICHAELSON, SHALIMAR
2166 8TH STREET WEST
DICKINSON, ND 58601                                   P‐0021128 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENICO, MATTHEW P.
2155 TITANIA RD
TOBYHANNA, PA 18466                                   P‐0021129 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VERHAGUE, JOSHUA P.
5085 RESERVOIR RD.
GENESEO, NY 14454                                     P‐0021130 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EMANUEL, RAYMOND G.
2357 NORTHROP AVE
APT G216
SACRAMENTO, CA 95825                                  P‐0021131 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, RYAN
3017 REDEYE CT
SANDY HOOK, VA 23153                                  P‐0021132 11/9/2017      TK Holdings Inc., et al .                    $6,250.00                                                                                    $6,250.00
BAKIR, JULIET
11217 PASEO MONTANOSO #34
SAN DIEGO, CA 92127                                   P‐0021133 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
YOUNG, JENNIFER R.
P O BOX 1483
MENARD, TX 76859                                      P‐0021134 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAN, KIMBER T.
10965 MERRITT DR
STOCKTON, CA 95219                                    P‐0021135 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLISON, ABIGAYLE M.
4209 NOLA LOOP RD
UNIT B
YAKIMA, WA 98901                                      P‐0021136 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERGUSON, DWAYNE E.
FERGUSON, MARYLAND S.
9707 CROFTON DRIVE
LADSON, SC 29456                                      P‐0021137 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITTENTHAL, SUE L.
7337 AUSTIN ST
APT 3H
FOREST HILLS, NY 11375‐6216                           P‐0021138 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COKONOUGHER, TAMRA L.
31 MORIARITY ST NW
FT WALTON BEACH, FL 32548                             P‐0021139 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYANS, RICHARD
3151 BROOKHILL ST
LA CRESCENTA, CA 91214                                P‐0021140 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICCI, CHRISTOPHER P.
20650 4TH STREET, APT 2
SARATOGA, CA 95070                                    P‐0021141 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STIERS, JULIE M.
2079 NW BELLA VISTA DRIVE
GRESHAM, OR 97030                                     P‐0021142 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLUS, MIKE S.
P.O. BOX 6426
SEVIERVILLE, TN 37864                                 P‐0021143 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUMENBERG, DENISE L.
14540 ARCTIC FOX AVE
EASTVALE, CA 92880                                    P‐0021144 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILLIES, HOLLY E.
715 WEST ROGERS
HARRISON, AR 72601                                    P‐0021145 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAPANESTOR, RUTHANN R.
5 MOLLY PITCHER COURT
MONROE TOWNSHIP, NJ 08831                             P‐0021146 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PELLET, GWENDOLYN D.
6215 VICKSBURG DRIVE
PENSACOLA, FL 32503                                   P‐0021147 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTOYA, LUIS F.
14540 ARCTIC FOX AVE
EASTVALE, CA 92880                                    P‐0021148 11/9/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GARVIN, CHAD J.
9201 TROON CT
WOODBURY, MN 55125                                    P‐0021149 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAYNE, THOMAS C.
9934 OVERLOOK DRIVE NW
OLYMPIA, WA 98502                                     P‐0021150 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WERNER, DOUGLAS B.
809 HAAWI ST.
WAILUKU, HI 96793                                   P‐0021151 11/9/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
APARICIO, MOSES A.
7040 ARCHIBALD AVE
APT 21
RANCHO CUCAMONGA, CA 91701                          P‐0021152 11/9/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
MILLER, ORISHA R.
22125 MAIN ST APT 100
CARSON, CA 90745                                    P‐0021153 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURRELL, WOODY H.
1737 WILLOW POINT DR
SHREVEPORT, LA 71119                                P‐0021154 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRZYKWA, CINDY L.
KRZYKWA, KIRK A.
6800 KEGEL AVE
ALTO, MI 49302                                      P‐0021155 11/9/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
VALDEZ, JERI L.
6477 PENTZ ROAD
PARADISE, CA 95969                                  P‐0021156 11/9/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
PEARSON, NICOLE
P.O. BOX 1354
PITTSBURG, CA 94565                                 P‐0021157 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIS, KENNETH A.
2281 N SANDS RANCH ROAD
HUACHUCA CITY, AZ 85616                             P‐0021158 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETRIE, JAMES E.
PETRIE, ROSEMARY A.
2538 KIMBERLY AVE.
CAMARILLO, CA 93010                                 P‐0021159 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUGO, ERIC
7321 FRONTENAC ST
PHILADELPHIA, PA 19111                              P‐0021160 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSEN, MELANIE
16009 HIMALAYA RIDGE
EDMOND, OK 73013                                    P‐0021161 11/9/2017      TK Holdings Inc., et al .                   $27,584.07                                                                                   $27,584.07
APARICIO, MOSES A.
7040 ARCHIBALD AVE
APT 21
RANCHO CUCAMONGA, CA 91701                          P‐0021162 11/9/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
LE, MONG HOA
RIZZO, CARL
24196 KATHY AVENUE
LAKE FOREST, CA 92630                               P‐0021163 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAVANAUGH, MATTHEW W.
KAVANAUGH, MATT
4162 PRADO DE LAS CABRAS
CALABASAS, CA 91302                                 P‐0021164 11/9/2017      TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
LOHSE, KAREN M.
6722 58TH DR NE
MARYSVILLE, WA 98270                                P‐0021165 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEASLEY, FRANKLYN
2725 WEST BOSTON BLVD. #101
DETROIT, MI 48206                                   P‐0021166 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CIKAUSKAS, MELISSA R.
1131 HOLIDAY DRIVE
SOMONAUK, IL 60552                                   P‐0021167 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OGLESBY‐WATTS, KRISTINA R.
18344 TALOGA RD #2
APPLE VALLEY, CA 92307                               P‐0021168 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENS, DEAN W.
19800 3RD PL S
DES MOINES, WA 98148                                 P‐0021169 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSSO, TASCA
1796 LEMON TREE COURT
SAN MARCOS, CA 92078                                 P‐0021170 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOTTS, STEVEN M.
25945 WINDSONG
LAKE FOREST, CA 92630                                P‐0021171 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMS, MAY H.
TOMS, MAY H.
223 E AVONDALE DR
GREENSBORO, NC 27403                                 P‐0021172 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSE, PATRICIA P.
ROSE, I. N.
17031 ENCINO HILLS DRIVE
ENCINO, CA 91436                                     P‐0021173 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEWARD, JR, ROBERT D.
269 WILLIS ROAD
ETTERS, PA 17319                                     P‐0021174 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG III, GODFREY
24196 KATHY AVENUE
LAKE FOREST, CA 92630                                P‐0021175 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCVAY, ROSA M.
2821 MT.MARIAH RD.
LISMAN, AL 36912                                     P‐0021176 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETRIE, JAMES E.
PETRIE, ROSEMARY A.
2538 KIMBERLY AVE.
CAMARILLO CALIFORNIA 93010
                                                     P‐0021177 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURRELL, LORINE H.
1737 WILLOW POINT DR
SHREVEPORT, LA 71119                                 P‐0021178 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANCINI, HALEY C.
4350 FRANKLIN AVE.
APT. 2
LOS ANGELES, CA 90027                                P‐0021179 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUST, DANNY G.
24350 DEL AMO RD
RAMONA, CA 92065                                     P‐0021180 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUGO, ROBERTO
14271 WEBBER PL
WESTMINSTER, CA 92683                                P‐0021181 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEINHAUSER, KENNETH J.
KEGLOVITS, JOANNE M.
2136 W RIVER OF FORTUNE DRIVE
SAINT GEORGE, UT 84790‐4876                          P‐0021182 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BROWN, KATHY
8 PINEY TRACE
FAIRVIEW, NC 28730                                   P‐0021183 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHI‐RO ENTERPRISES, INC.
1727 E. SPRINGFIELD AVE
SPOKANE, WA 99202‐2952                               P‐0021184 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADRIANSEN, JOYCE J.
126 W CALLE CRESPIS
APT 1
SANTA BARBARA, CA 93105‐3463                         P‐0021185 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, LINDSEY H.
P.O. BOX 10451
SAN BERNARDINO, CA 92423‐0451                        P‐0021186 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, CUC V.
NGUYEN, QUAN A.
2019 GRAHAM AVE
REDONDO BEACH, CA 90278                              P‐0021187 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURGUIA, GUILLERMO A.
FERNANDEZ, MAGALY F.
1799 REVERE AVE.
SAN FRANCISCO, CA 94124                              P‐0021188 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, LEILA J.
31819 DAHLIA LN.
TANGENT, OR 97389                                    P‐0021189 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENGEBRETSON, MICHELLE S.
7501 PALM AVE #131
YUCCA VALLEY, CA 92284                               P‐0021190 11/9/2017      TK Holdings Inc., et al .                  $500,000.00                                                                                  $500,000.00
COTTRELL, DARLENE
10425 ORR AND DAY RD.
SANTA FE SPRINGS, CA 90670                           P‐0021191 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLOS, CHRIS
816 E. CULVER AVE.
ORANGE, CA 92866                                     P‐0021192 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENUNG, ALEXIS D.
7330 ASH ROAD
FAIR OAKS, CA 95628                                  P‐0021193 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAWORTH, RUBY V.
656 MINTER AVENUE
SHAFTER, CA 93263                                    P‐0021194 11/9/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
KANZLER, TORI L.
949 SANTA YNEZ WAY
SACRAMENTO, CA 95816                                 P‐0021195 11/9/2017      TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
HARDMAN, JUSTIN C.
800 NE ROBERTS AVENUE APT 249
GRESHAM, OR 97030                                    P‐0021196 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELTON, CHRIS
MELTON, CHRIS A.
2520 MANOR DR
SPRINGFIELD, OREGON                                  P‐0021197 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESENS, STEPHEN M.
DESENS, LINDA B.
7569 E TRUCES PL
TUCSON, AZ 85715‐3665                                P‐0021198 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TARQUINO, BRANDY R.
TARQUINO, TIMOTHY J.
1327 N GLENN AVE
FRESNO, CA 93728                                     P‐0021199 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AHRONOVICH, MARGOT
AHRONOVICH, ELIEZER
12618 MISTY CREEK LANE
FAIRFAX, VA 22033                                    P‐0021200 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERNANDEZ, MAGALY F.
MURGUIA, GUILLERMO A.
1799 REVERE AVE.
SAN FRANCISCO, CA 94124                              P‐0021201 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEMBA SOLOMON, VICTORIA
12778 GROUSE STREET
COON RAPIDS, MN 55448                                P‐0021202 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TARQUINO, BRANDY R.
TARQUINO, TIMOTHY J.
1327 N. GLENN AVE
FRESNO, CA 93728                                     P‐0021203 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NILL, DENNIS R.
NILL, JUDY D.
DENNIS R NILL
25246 106TH AVE SE APT A208
KENT, WA 98030‐6402                                  P‐0021204 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASON, JENI
4001 KEEPSAKE DRIVE
MODESTO, CA 95356                                    P‐0021205 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEISERMAN, CHARLES C.
7092 AVIARA DR
CARLSBAD, CA 92011                                   P‐0021206 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLDT, RICHARD D.
705 N. UNIVERSITY AVE.
BEAVER DAM, WI 53916                                 P‐0021207 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHAN, GREGG R.
45 BIANCO
IRVINE, CA 92618                                     P‐0021208 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, JAMES E.
205 W.
P.O. BOX 547
PEOTONE, IL 60468                                    P‐0021209 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEAN, MARGARET H.
2119 KIMBROUGH RD.
GERMANTOWN , TN                                      P‐0021210 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWFORD, SANG
11947 CANDOR STREET
CERRITOS, CA 90703                                   P‐0021211 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUELL, NUNTAWUN
4072 ICE HOUSE WAY
ROSEVILLE, CA 95747                                  P‐0021212 11/9/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
JOFFE, CHRISTOPHER J.
1015 E QUAIL PARK DR
UNIT# G
MURRAY, UT 84117                                     P‐0021213 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHEMPP, GERI R.
4650 SE PARSONS GREEN COURT
PORT ORCHARD, WA 98367                               P‐0021214 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LIEBHAUSER, JOHN J.
190 HOFFMAN AVE
AUBURN, CA 95603                                     P‐0021215 11/9/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
JORDAN, JANET M.
208 BROYLES AVENUE
BELTON, SC 29627                                     P‐0021216 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANG, MIN YU
22726 ISLAMARE LN
LAKE FOREST, CA 92630                                P‐0021217 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERRE, TROY G.
16 FRIENDSHIP ST
BILLERICA, MA 01821                                  P‐0021218 11/9/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
VISCUSO, STEVEN M.
4120 60TH STREET
SACRAMENTO, CA 95820                                 P‐0021219 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISCHER, MARK K.
928 WRIGHT AVE, APT 1007
MOUNTAIN VIEW, CA 94043                              P‐0021220 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNRUH, SHARLA K.
14525 81ST AVE NE
KENMORE, WA                                          P‐0021221 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BODE, MICHELLE K.
33800 BEVERLY DR
HEMET, CA 92545                                      P‐0021222 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUELL, TINA
4072 ICE HOUSE WAY
ROSEVILLE, CA 95747                                  P‐0021223 11/9/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
GONZALEZ, GLADYS M.
9378 MARCONA AVE
FONTANA, CA 92335                                    P‐0021224 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, TIMOTHY D.
5305 HUNTLEY ST.
UNIT 14
SIMI VALLEY, CA 93063‐6620                           P‐0021225 11/9/2017      TK Holdings Inc., et al .                     $900.00                                                                                       $900.00
TRAN, KIMBER T.
10965 MERRITT DR
STOCKTON, CA 95219                                   P‐0021226 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EARNEST, KERSTIN
139 LA MIRADA DR
HENDERSON, NV 89015                                  P‐0021227 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONDA, NAINE
BONDA, NADINE
EDUCATIONAL CONSULTANT
106 FOSTER STREET
CAMBRIDGE, MA 02138                                  P‐0021228 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORNISH JR, ROBERT V.
1111 19TH ST N
#1603
ARLINGTON, VA 22209                                  P‐0021229 11/9/2017      TK Holdings Inc., et al .                       $50.00                                                                                       $50.00
GERALD, LAWRENCE L.
4886 US 117 SOUTH ALTERNATE
DUDLEY, NC 28333                                     P‐0021230 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECKARD, JOHN R.
1277 MURIEL JOY LANE
CONOVER, NC 28613‐8106                               P‐0021231 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ZEPEDA, BRIANNA M.
1366 CARLSBAD ST
SAN DIEGO, CA 92114                                  P‐0021232 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANLEY, BARBARA
12410 169TH AVE. NE
REDMOND, WA 98052                                    P‐0021233 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ULSUND, GERALD A.
ULSUND, SANDRA N.
37919 VISTA KEY DR NE
HANSVILLE, WA 98340                                  P‐0021234 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAW, VIDA
5117 LLANO DRIVE
WOODLAND HILLS, CA 91364                             P‐0021235 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARMSTRONG, SCOTT M.
4444 RANCHO CENTRO NW
ALBUQUERQUE, NM 87120                                P‐0021236 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARITUNIANS, DIANA G.
HARITUNIANS, AVANES O.
4828 COLLETT AVE
ENCINO, CA 91436                                     P‐0021237 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOFFEL, MINDI
1195 STATE ROUTE 31
BRIDGEPORT, NY 13030                                 P‐0021238 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENSTROM, CARLOS R.
1366 CARLSBAD ST
SAN DIEGO, CA 92114                                  P‐0021239 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STORM, CLIFFORD J.
STORM, JANET Y.
142 CHAMBERS ST.
RIDGECREST, CA 93555                                 P‐0021240 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEEDHAM, LEE J.
6423 ARROWHEAD TRAIL
ELIZABETH, CO 80107                                  P‐0021241 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AHRONOVICH, MARGOT D.
AHRONOVICH, ELIEZER
12618 MISTY CREEK LANE
FAIRFAX, VA 22033                                    P‐0021242 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AHRONOVICH, MAR D.
AHRONOVICH, ELIEZER
12618 MISTY CREEK LANE
FAIRFAX, VA 22033                                    P‐0021243 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAW, VIDA
SHAW, VICTOR
5117 LLANO DRIVE
WOODLAND HILLS, CA 91364                             P‐0021244 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, CLARENCE E.
5947 DESERT VIEW DR.
LA JOLLA, CA 92037                                   P‐0021245 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANNECHARICO, ARTHUR W.
12 JACKSON STREET
MANCHESTER, CT 06040                                 P‐0021246 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERRYMAN, WILLIAM M.
MERRYMAN, TANYA R.
607 LENOX AVE
LAS CRUCES, NM 88005                                 P‐0021247 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
ROESLER, PETER
712 BLUEJAY CIR
ELK GROVE VILLAG, IL 60007                             P‐0021248 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAZQUEZ, RUDY K.
1621 SUGARPINE DRIVE
MIDDLEBURG, FL 32068                                   P‐0021249 11/9/2017      TK Holdings Inc., et al .                     $700.00                                                                                       $700.00
GROVER, DOUGLAS L.
GROVER, LORI A.
14751 BOOM ROAD
SPRING LAKE, MI 49456                                  P‐0021250 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROESLER, PETER R.
ROESLER, ALISA
712 BLUEJAY CIR
ELK GROVE VILLAG, IL 60007                             P‐0021251 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERNER, TANJA
1801 14TH STREET
UNIT 213
OAKLAND, CA 94607                                      P‐0021252 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUSIAK, IWONA
6934 64TH PL,
RIDGEWOOD, NY 11385                                    P‐0021253 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, CONNIE
1809 S SECOND AVENUE
ARCADIA, CA 91006                                      P‐0021254 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE II, JAMES C.
MOORE, KELLY A.
16529 CENTERPOINTE DRIVE
GROVER, MO 63040                                       P‐0021255 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAMORA, JANE
26981 STONEHAVEN
MISSION VIEJO, CA 92691                                P‐0021256 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HADZINSKY, WALTER A.
HADZINSKY, SHELLE A.
2921 ARROYO
SAN CLEMENTE, CA 92673                                 P‐0021257 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERRYMAN, WILLIAM M.
MERRYMAN, TANYA R.
607 LENOX AVE
LAS CRUCES, NM 88005                                   P‐0021258 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRY‐ROMAN, VERA M.
4901 GREEN RIVER RD #285
CORONA, CA 92880                                       P‐0021259 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUBURG, SYLVIA C.
3400 SULLIVAN CT. 176
MODESTO, CA 95356                                      P‐0021260 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMES, TIMOTHY N.
4935 EVERGREEN HAVEN CT.
HOUSTON, TX 77084                                      P‐0021261 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIM, JAE HUN
4301 SUNSET VIEW DR
DUBLIN, CA 94568                                       P‐0021262 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAVOSHI, GALAVEZH
42 CORAL REEF
NEWPORT COAST, CA 92657                                P‐0021263 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
CHI‐RO ENTERPRISES, INC
1727 E. SPRINGFIELD AVE
SPOKANE, WA 99202‐2952                             P‐0021264 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SERGEEFF, WALTER A.
80480 VIA TALAVERA
LA QUINTA, CA 92253                                P‐0021265 11/9/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
TRAN, DAO V.
10965 MERRITT DR
STOCKTON, CA 95219                                 P‐0021266 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASSIRI, KOROUSH
42 CORAL REEF
NEWPORT COAST, CA 92657                            P‐0021267 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROHRBACKER, JASON C.
1001 OLEANDER AVE #20
BAKERSFIELD, CA                                    P‐0021268 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGSTROM, WENDELL R.
HAGSTROM, VICTORIA L.
4028 SHADY RIDGE DRIVE
CORONA, CA 92881                                   P‐0021269 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHI‐RO ENTERPRISES, INC.
1727 E. SPRINGFIELD AVE
SPOKANE, WA 99202‐2952                             P‐0021270 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHANG, ZI MEI
2751 40TH AVE.
SAN FRANCISCO, CA 94116                            P‐0021271 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRINDIBLE, KRISTEN M.
PRINDIBLE, PATRICK J.
24396 VISTA POINT LANE
DANA POINT, CA 92629                               P‐0021272 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEITER, MATTHEW K.
5625 LITCHFIELD ROAD
FORT WAYNE, IN 46835                               P‐0021273 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THORNTON, VICTORIA E.
826 S. EVERGREEN DR.
MOSES LAKE, WA 98837                               P‐0021274 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOINER, LYNNE S.
254 W. MAC ARTHUR ST.
SONOMA, CA 95476                                   P‐0021275 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THADEN, CATHERINE M.
22324 THOMPSON CANYON AVENUE
CALIENTE, CA 93518                                 P‐0021276 11/9/2017      TK Holdings Inc., et al .                   $11,000.00                                                                                   $11,000.00
LE, NIKKI T.
10965 MERRITT DR
STOCKTON, CA 95219                                 P‐0021277 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGRATH, NANCY M.
MCGRATH, MICHAEL A.
1847 CHELLIS STREET
PITTSBURGH, PA 15212                               P‐0021278 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZANDER, RICHARD A.
51211 OAK LINED DR
GRANGER, IN 46530                                  P‐0021279 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEMING, ANTOINETTE
1710 W. 60TH PLACE
MERRILLVILLE, IN 46410                             P‐0021280 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BELLOSPIRITO, FRANK
9090 MOODY ST. 254
CYPRWESS, CA 90630                                   P‐0021281 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EMMERT, KATHLEEN M.
71 WHITE DOE CT.
EUREKA, MO 63025                                     P‐0021282 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREGORY, SUSAN D.
6868 132ND PL SE APT 6‐406
NEWCASTLE, WA 98059                                  P‐0021283 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, JOHN E.
31570 LAKERIDGE CT
TEMECULA, CA 92591                                   P‐0021284 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHOPPMEYER, PATRICIA E.
SCHOPPMEYER, MICHAEL
5319 NORTHRIDGE AVENUE
SAN DIEGO, CA 92117                                  P‐0021285 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCLAUGHLIN, CARP; D.
7823 APPLETREE RD
PASADENA, MD 21122                                   P‐0021286 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUPAN, SUNITA
27425 LYFORD ST
HAYWARD, CA 94544                                    P‐0021287 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAMBLE, COREY C.
6358 3RD AVE.
SACRAMENTO, CA 95817                                 P‐0021288 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALSTEAD, BILLY G.
INGRAM, SHERYLL L.
20 KNOTWEED COURT
BLUFFTON, SC 29909‐7150                              P‐0021289 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AHN, MAX
609 MONTGOMERY SCHOOL LN
WYNNEWOOD, PA 19096                                  P‐0021290 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEHEN, LLOYD R.
36547 NICKEL STREET
PALMDALE, CA 93550                                   P‐0021291 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIOTT, KIM L.
ELLIOTT, MARK F.
4621 STUART PLACE
ROCKLIN, CA 95765                                    P‐0021292 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AHN, MAX
609 MONTGOMERY SCHOOL LN
WYNNEWOOD, PA 19096                                  P‐0021293 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KVALSETH, TARALD O.
4980 SHADY ISLAND CIRCLE
MOUND, MN 55364                                      P‐0021294 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTDORF, CHRIS
3403 30TH AVE SW
SEATTLE, WA 98126                                    P‐0021295 11/9/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
NICHOLS, FELICIA M.
28799 PHOENIX WAY
SUN CITY, CA 92586                                   P‐0021296 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTDORF, CHRISTOPHER R.
3403 30TH AVE SW
SEATTLE, WA 98126                                    P‐0021297 11/9/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00



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                                                                                                                   Current General                                         Current 503(b)(9)
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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
PLUMLEE, KEVIN A.
1302 DAYTONA DR
AUSTIN, TX 78733                                    P‐0021298 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHEN, YONGJIAN
14158 AUTUMN CREEK CT
CORONA, CA 92880                                    P‐0021299 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, JENNIFER
4773 LA CRESTA WAY
SAN JOSE, CA 95129                                  P‐0021300 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSTON, CYNTHIA L.
JOHNSTON, TERRY D.
                                                    P‐0021301 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, MARCHETTA C.
3600 WINDHAVEN PARKWAY
APT 3436
LEWISVILLE, TX 75056                                P‐0021302 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNETT, THERESA L.
66165 N. BAY RD.
NORTH BEND, OR 97459                                P‐0021303 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALANIZ‐MUNOZ, GINA L.
GINA L. ALANIZ‐MUNOZ
4058 E. LOWE AVE.
FRESNO, CA 93702                                    P‐0021304 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAUHANE, WILLIAM
KAUHANE, JENNIFER
12134 NE 141ST STREET
KIRKLAND, WA 98034                                  P‐0021305 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIDD SR, TYRONE
P O BOX 546
CHATOM, AL 36518                                    P‐0021306 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHEN, YONGJIAN
14158 AUTUMN CREEK CT
CORONA, CA 92880                                    P‐0021307 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SORENSON, BEATRICE D.
SORENSON, MICHAEL T.
2154 CAPITOLA WAY
FAIRFIELD, CA 94534                                 P‐0021308 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNN, MICHAEL M.
926 STUBBLEFIELD DR
LUFKIN, TX 75904                                    P‐0021309 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMOS, HECTOR M.
1081 W. KINGBIRD DRIVE
CHANDLER, AZ 85286                                  P‐0021310 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEIDEMAN, ENID N.
32 CRANMORE RD
NORWOOD, MA 02062                                   P‐0021311 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KWONG, JEFFERSON J.
VUE, SANDY
5632 CAZADERO WAY
SACRAMENTO, CA 95822                                P‐0021312 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, CYNTHIA L.
DAVIS, RONALD G.
4217 OSLO COURT
ANTELOPE, CA 95843                                  P‐0021313 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LAURITANO, EUGENE J.
3532 E MODOC CT
PHOENIX, AZ 85044                                    P‐0021314 11/9/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
COUTURE, KRAIG
1211 MAE CARDEN STREET
VISALIA, CA 93291                                    P‐0021315 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EGELAND, JAMES R.
323 NORTH 18TH STREET
SAN JOSE, CA 95112                                   P‐0021316 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, ANN M.
509 JEFFERSON ST
GENEVA, IL 60134                                     P‐0021317 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, SERENA
685 ACKLEY ST
MONTEREY PARK, CA 91755                              P‐0021318 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARRIS, SHEILA K.
2114 PRESIDENTIAL DR
CHARLESTON, WV 25314                                 P‐0021319 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VELASCO, GERLIE
VELASCO, GERLIE
2699 SHELLGATE CIR
HAYWARD                                              P‐0021320 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROZENBERG, KENNETH
3 HUNTERS RUN
SUFFERN, NY 10901                                    P‐0021321 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RITCHIE, BRAD
25 VALLEY VIEW RD
NEWTOWN, CT 06470                                    P‐0021322 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROZENBERG, KENNETH
3 HUNTERS RUN
SUFFERN, NY 10901                                    P‐0021323 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASSARO, RICHARD P.
2 WOODBERRY LANE
NEW HARTFORD, NY 13413                               P‐0021324 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEARCE, ANILE J.
6297 LA MESA ST
CORONA, CA 92880‐4010                                P‐0021325 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EGELAND, JAMES R.
323 NORTH 18TH STREET
SAN JOSE, CA 95112                                   P‐0021326 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASSARO, RICHARD P.
2 WOODBERRY LANE
NEW HARTFORD, NY 13413                               P‐0021327 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROZENBERG, KENNETH
3 HUNTERS RUN
SUFFERN, NY 10901                                    P‐0021328 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, TIMOTHY
3021 S JAY ST
DENVER, CO 80227                                     P‐0021329 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVISON, ZACHARY C.
1074 E. SEMINOLE DR
BYRON, GA 31008                                      P‐0021330 11/9/2017      TK Holdings Inc., et al .                    $2,054.97                                                                                    $2,054.97
ROZENBERG, KENNETH
3 HUNTERS RUN
SUFFERN, NY 10901                                    P‐0021331 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
TORRES, KORRI N.
6415 ELENA ST.
CHINO, CA 91710                                       P‐0021332 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RITCHIE, SHANNON
25 VALLEY VIEW RD
NEWTOWN, CT 06470                                     P‐0021333 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBSON, DESIREE D.
15193 WASHINGTON DR
FONTANA, CA 92335                                     P‐0021334 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROZENBERG, KENNETH
3 HUNTERS RUN
SUFFERN, NY 10901                                     P‐0021335 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, JACQUELYN M.
7403 CORSAIR CT
ARLINGTON, TX 76016                                   P‐0021336 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEYVA, KATHLENE
LEYVA, LUIS
ACURA FINANCIAL SERVICES
4921 QUONSET DRIVE
SACRAMENTO, CA 95820                                  P‐0021337 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ SANTOS, ADRIAN
3444 OAKLAND AVE SOUTH
MINNEAPOLIS, MN 55407                                 P‐0021338 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, CHANTAL
2613 E PALIFOX ST
TAMPA, FL 33610                                       P‐0021339 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUCH, GENEVIEVE M.
969 MARKET STREET #103
SAN DIEGO, CA 92101                                   P‐0021340 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, LOUIS A.
12935 VALLEY SPRINGS DRIVE
MORENO VALLEY, CA 92553                               P‐0021341 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAUSE, ROBERT D.
6901 RUNNING DEER CT.
GRANBURY, TX 76049                                    P‐0021342 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEIRS, HAROLD J.
104 BROAD ST.
MOUNT HOLLY, NJ 08060                                 P‐0021343 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORES JR, ALBERTO A.
16422 GASLAMP
HOUSTON, TX 77095                                     P‐0021344 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERSTNER, MICHAEL D.
10820 N OVERTONE ST
PEORIA, IL 61615                                      P‐0021345 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDELMAN, EDWARD M.
22559 HONNOLD DR
SANTA CLARITA, CA 91350                               P‐0021346 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAITE, KATHRYN E.
3 27TH STREET, UNIT 213
SPIRIT LAKE, IA 51360                                 P‐0021347 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEDINA, LUCIA
MEDINAPUGA, VICTORINO
11702 COUNTRY FLOWER LN
MORENO VALLEY, CA 92557                               P‐0021348 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
SMITH, HEIDI J.
52715
WODA DRIVE P.O. BOX 130
BEALLSVILLE, OHIO 43716                               P‐0021349 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHOPPMEYER, AMANDA E.
5319 NORTHRIDGE AVE
SAN DIEGO, CA 92117                                   P‐0021350 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EYLER, TIM
28433 CHAMPIONSHIP DR
MORENO VALLEY, CA 92555                               P‐0021351 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, JOEL F.
61 OVERLOOK HEIGHTS WAY
STOCKBRIDGE, GA 30281                                 P‐0021352 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARRIS, PAULA K.
2114 PRESIDENTIAL DR
CHARLESTON, WV 25314                                  P‐0021353 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSEN, ISHAI
4646 NW CHENILLE PL
CORVALLIS, OR 97330                                   P‐0021354 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLOSTERMAN, JULIE A.
4230 REDDING RIDGE DRIVE
MINNETONKA, MN 55345                                  P‐0021355 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIM, ALEXANDER J.
2022 E. 7TH ST.
#7
LONG BEACH, CA 90804                                  P‐0021356 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KYLES, ANTHONY
KYLES, JACKIE
631 W 102ND STREET
LOS ANGELES                                           P‐0021357 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYD (LOGAN), JENNIFER B.
124 SYCAMORE AVENUE
WAVERLY, TN 37185                                     P‐0021358 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDMAN, STEVEN M.
7221 S.W. CANYON LANE
PORTLAND, OR 97225                                    P‐0021359 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSEN, ISHAI
4646 NW CHENILLE PL
CORVALLIS, OR 97330                                   P‐0021360 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALDEZ, SHIRLEY
1908 SUMMIT AVE
ROSEDALE, MD 21237                                    P‐0021361 11/9/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
ORLANDO‐MALO, PATRICIA L.
3824 25TH AVENUE SOUTH
MINNEAPOLIS, MN 55406                                 P‐0021362 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALAZAR, EVIS J.
1046 W. MORTON AVE. APT. 9
PORTERVILLE, CA 93257                                 P‐0021363 11/9/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
ESQUIVEL, MIGUEL A.
ESQUIVEL, DEYSI I.
2114 PALIO ST
DELANO, CA 93215                                      P‐0021364 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSEN, ISHAI
4646 NW CHENILLE PL
CORVALLIS, OR 97330                                   P‐0021365 11/9/2017      TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HOUSTON, ASHLEY N.
23745 AL HWY 25 N
THOMASTON, AL 36783                                  P‐0021366 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEDD, TIMOTHY J.
3267 KATE STREET
ACWORTH, GA 30102                                    P‐0021367 11/9/2017      TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
GAO, YANG
180 ELM CT, APT 506
SUNNYVALE, CA 94086                                  P‐0021368 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOON, KAIMING J.
207 LAURELWOOD AVENUE
PLACENTIA, CA 92870                                  P‐0021369 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORES, ANTHONY
801 S. CALMGROVE AVE
GLENDORA, CA 91740                                   P‐0021370 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTIAN, RICARDO
CHRISTIAN, RICARDO
120 8TH CT
RACINE, WI 53403                                     P‐0021371 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, HYUNG J.
8830 EAST GARDEN VIEW DRIVE
ANAHEIM, CA 92808                                    P‐0021372 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, JACQUELINE S.
GUILLERMO
903 HOSTETLER ST
THE DALLES, OR 97058                                 P‐0021373 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RADILLO, ANNETTE
RADILLO, ERIK
3921 JUNE ST.
SAN BERNARDINO                                       P‐0021374 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RESNER, DEBORAH A.
7913 E MAGICAL WAY
TUCSON, AZ 85730                                     P‐0021375 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, ANTOINETTE M.
16333 GOLDENTREE AVE
FONTANA, CA 92337                                    P‐0021376 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARKE, GREGORY N.
1617 NE THOMPSON ST
PORTLAND, OR 97212                                   P‐0021377 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARUMI, MARY A.
5100 40TH AVE NE
APARTMENT 701
SEATTLE, WA 98105                                    P‐0021378 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, JOHN E.
31570 LAKERIDGE CT
TEMECULA, CA 92591                                   P‐0021379 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMINY, MIRVAIS
AMINY, SALIHA
734 N. GRAND AVENUE
SANTA ANA, CA 92701                                  P‐0021380 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, BALDEVBHAI M.
PATEL, MITESH B.
26514 PRAIRIE SCHOOL LANE
KATY, TX 77494                                       P‐0021381 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HUMPHREY, MARK E.
31727 W ENTWISTLE ST #98
CARNATION, WA 98014                                  P‐0021382 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORWICH, PAULA J.
605 E 2ND AVE
TARENTUM, PA 15084‐2001                              P‐0021383 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORSTER, ROBERT B.
4728 181ST LN SW
ROCHESTER, WA 98579                                  P‐0021384 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEW, KRISTI L.
PEW, DORIAN V.
3163 ROADRUNNER ROAD
SAN MARCOS, CA 92078                                 P‐0021385 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENRIQUEZ, BENJAMIN R.
7253 ZEST STREET
SAN DIEGO, CA 92139                                  P‐0021386 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORSTER, TERESA C.
FORSTER, ROBERT B.
4728 181ST LN SW
ROCHESTER, WA 98579                                  P‐0021387 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSONWEBER, GLORYA
1500 EMMONS CANYON DR.
ALAMO, CA 94507                                      P‐0021388 11/9/2017      TK Holdings Inc., et al .                     $515.00                                                                                       $515.00
ENRIQUEZ, CAROLINA R.
7253 ZEST STREET
SAN DIEGO, CA 92139                                  P‐0021389 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMILTON, CLAIRE E.
3910 AUBURN BLVD. #59
SACRAMENTO, CA 95821                                 P‐0021390 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, THOMAS
31721 GRAND CANYON DR.
LAGUNA NIGUEL, CA 92677                              P‐0021391 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, LA TWYONIA Y.
314 N. BROADACRES AVE.
COMPTON, CA 90220                                    P‐0021392 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRICARICO, WILLIAM J.
TRICARICO, BARBARA A.
1075 DEER VISTA LANE
ASHLAND, OR 97520                                    P‐0021393 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRICARICO, WILLIAM J.
TRICARICO, BARBARA A.
1075 DEER VISTA LANE
ASHLAND, OR 97520                                    P‐0021394 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBBINS, JOHNNIE L.
2112 SETTLEMENT ROAD
SYLACAUGA, AL 35150                                  P‐0021395 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, ANDREA M.
3663 BUCHANAN ST SPC 77
RIVERSIDE, CA 92503                                  P‐0021396 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEGORE, BRANDON J.
LEGORE, LISA M.
1121 EAST CARLISLE AVE
SPOKANE, WA 99207                                    P‐0021397 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LE, MIKE H.
1513 32ND AVE
SACRAMENTO, CA                                       P‐0021398 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
KWONG, FUNG H.
15 N. 3RD STREET #303
N/A
ALHAMBRA, CA 91801                                   P‐0021399 11/10/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
CUASON, VINCENT M.
4358 CALYPSO TERRACE
FREMONT, CA 94555                                    P‐0021400 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUER, MARITZA
1740 SW 93 PLACE
MIAMI, FL 33165                                      P‐0021401 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIMSEY, KAREN M.
5380 FISHTAIL PALM AVE
COCOA, FL 32927                                      P‐0021402 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDEN, ISABELLE N.
413 HARALSON AVE
GADSDEN, AL 35901                                    P‐0021403 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTRA HIDALGO, ALFONSO E.
27507 MOUNT RADNOR DRIVE
DAMASCUS, MD 20872‐1043                              P‐0021404 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAISBAUER, MARY C.
196 TREEVIEW DR
DALY CITY, CA 94014                                  P‐0021405 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUASON, VINCENT M.
4358 CALYPSO TERRACE
FREMONT, CA 94555                                    P‐0021406 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARPER, BRANDI
B.
605 FIELDING WILLIAMS RD.
SINGER, LA 70660                                     P‐0021407 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIZON, THOMAS P.
BIZON, DEBORAH J.
16809 DARWIN PL
MIDDLEBURG HTS, OH 44130                             P‐0021408 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, GARY
309 E 4TH STREET
STREATOR, IL 61364                                   P‐0021409 11/10/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
SCHUCHMAN, ANDREW J.
3914 CANYON TERRACE DR
YORBA LINDA, CA 92886                                P‐0021410 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAYTON, BRANDY A.
CLAYTON, KEVIN A.
1175 JUNIPER ST
LANDERS, CA 92286                                    P‐0021411 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REBACK, ANDREW L.
REBACK, FRANCISCO J.
7642 LEXINGTON AVENUE
WEST HOLLYWOOD, CA 90046                             P‐0021412 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACKENROTH, HENRY E.
912 5TH STREET
OREGON CITY, OR 97045                                P‐0021413 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHU, KATHY
LEE, XINQIANG
2152 HOUNSLOW DR.
SAN JOSE, CA 95131                                   P‐0021414 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PANGAN, ALLEN S.
4832 MALLOW CT
PALMDALE, CA 93551                                   P‐0021415 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, XINQIANG
LEE, STEVEN R.
2152 HOUNSLOW DR.
SAN JOSE, CA 95131                                   P‐0021416 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUTKIEWICZCARDWE, LORIE S.
1978 MARCO DRIVE
CAMARILLO, CA 93010                                  P‐0021417 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHU, LIZA J.
1301 1ST AVE
APT 1316
SEATTLE, WA 98101‐2074                               P‐0021418 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOPER, MICHELLE A.
MICHELLE COOPER
25 WOODACRES CT.
ORINDA, CA 94563                                     P‐0021419 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE LEON, LOURDES J.
CRISOSTOMO, ANTHONY J.
8048 LA SOLANA WAY
SACRAMENTO, CA 95823                                 P‐0021420 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VEMURI, SRINIVAS
2066 AVANTI AVE
DUBLIN, CA 94568                                     P‐0021421 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, MELISSA
P.O. BOX 1428
CLATSKANIE, OR 97016                                 P‐0021422 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHENG, YUCHIEN B.
23524 ARLINGTON AVE. #B
TORRANCE, CA 90501                                   P‐0021423 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITT, DANA J.
3015 COTTAGE PLACE UNIT P
GREENSBORO, NC 27455                                 P‐0021424 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, LAWRENCE A.
MIITCHELL, LORI L.
128 ELMWOOD AVE
MODESTO, CA 95354                                    P‐0021425 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIGHT, ALBERT B.
CREDIT ACCEPTANCE
126 ROLLINGWOOD CIRCLE
ROME, GA 30165                                       P‐0021426 11/10/2017     TK Holdings Inc., et al .                   $11,000.00                                                                                   $11,000.00
JEONG, KYU S.
18329 SW TIMBREL LN
SHERWOOD, OR 97140                                   P‐0021427 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEONG, KYU S.
18329 SW TIMBREL LN
SHERWOOD, OR 97140                                   P‐0021428 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEONG, KYU S.
18329 SW TIMBREL LN
SHERWOOD, OR 97140                                   P‐0021429 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISS, JIE
JIE WEISS
609 COLONIAL CIRCLE
FULLERTON, CA 92835                                  P‐0021430 11/10/2017     TK Holdings Inc., et al .                     $250.00                                                                                       $250.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
REBACK, ANDREW L.
20278 LORENZANA DRIVE
WOODLAND HILLS, CA 91364                              P‐0021431 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUTLER, ALEX M.
4733 ARENA CIRCLE
HUNTINGTON BEACH, CA 92649                            P‐0021432 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, RENE G.
1240 OFFSHORE STREET
OXNARD, CA 93035                                      P‐0021433 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, AMOS C.
11800 SE 4TH PL, #200
BELLEVUE, WA 98005                                    P‐0021434 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWAN, TRISTRAM R.
SWAN, CAROLYN D.
2031 LA COLINA DRIVE
NORTH TUSTIN, CA 929705                               P‐0021435 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESCOBEDO, GREGORIO Q.
38259 PIONEER DR
PALMDALE, CA 93552                                    P‐0021436 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INOUYE, SANDRA
921 HOOKIPA WAY
HONOLULU, HI 96816                                    P‐0021437 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWNLEE, TRESSA J.
4715 WOODBINE WAY
ALPHARETTA, GA 30004                                  P‐0021438 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRD, ROBERT A.
484 ESSEN PLACE
KERNERSVILLE, NC 27284                                P‐0021439 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUTIERREZ, MELISSA A.
514 WALNUT AVENUE APT 3
HOLTVILLE, CA 92250                                   P‐0021440 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOSILYK, RANDALL E.
9 BRECKENRIDGE DRIVE
BILLERICA, MA 01821                                   P‐0021441 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUELLER, PHYLLIS L.
P. O. BOX 1848
IDYLLWILD, CA 92549                                   P‐0021442 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRD, ROBERT A.
484 ESSEN PLACE
KERNERSVILLE, NC 27284                                P‐0021443 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELMY, CRAIG D.
8694 BRIDGEPORT KIRKVILLE RD
KIRKVILLE, NY 13082                                   P‐0021444 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARLESI, JASON R.
10833 HILLTOP LANE
COLUMBIA, MD 21044                                    P‐0021445 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMES, NOREEN L.
1213 26TH ST S
LA CROSSE, WI 54601                                   P‐0021446 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITMAN, MARGARET E.
122 WOODLANE COURT
GLASSBORO, NJ 08028                                   P‐0021447 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TASSONE, NICOLE
170 HUDSON ST APT 3
PROVIDENCE, RI 02909                                  P‐0021448 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DUPLECHIN, MARSHALL C.
DUPLECHIN, MARSHALL
19 SPRUCE DRIVE
COVINGTON, LA 70433                                  P‐0021449 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOI, BRIAN
6N792 SOMERSET DR
ST CHARLES, IL 60175                                 P‐0021450 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRANCE, HENRY C.
11301 BROOKDALE LANE
UPPER MARLBORO, MD 20772                             P‐0021451 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELONG, DONNA J.
837 4TH AVENUE E
MILAN, IL 61264                                      P‐0021452 11/10/2017     TK Holdings Inc., et al .                     $718.96                                                                                       $718.96
SPENCE, CHAD
SPENCE, PATRICIA
1460 PINE ISLAND VIEW
MT. PLEASANT, SC 29464                               P‐0021453 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FULMER, DANIELLE M.
1084 WOODWARD AVE.
SOUTH BEND, IN 46616                                 P‐0021454 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHADWICK, EVELYN
6301 ARDSLEY SQUARE
APT 101J
VIRGINIA BEACH, VA 23464                             P‐0021455 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOMER, CAROLYN W.
827 8TH AVENUE
ELIZABETH, PA 15037                                  P‐0021456 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARPENTER, BARBARA L.
CARPENTER, STEVEN R.
2647 WESTWINDE ST NW
GRAND RAPIDS, MI 49504                               P‐0021457 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VONIER, TONY M.
VONIER, NANCY M.
5280 E. 14TH ST
JOPLIN, MO 64801                                     P‐0021458 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILES, JEFFREY W.
MILES, SANDRA M.
13675 BECKWITH DR NE
LOWELL, MI 49331                                     P‐0021459 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATRICK‐MCGUIRE, MELISSA
616 HIGHWAY 305 NORTH
SENATOBIA, MS 38668                                  P‐0021460 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAUTMAN, LESLIE C.
POST OFFICE BOX 5134
LIGHTHOUSE POINT, FL 33074                           P‐0021461 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWRANCE, PATRICK E.
2131 N. STONEGATE CIRCLE
ANDOVER, KS 67002                                    P‐0021462 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILBANK, PATI
17412 N 70 LN
GLENDALE, AZ 85308                                   P‐0021463 11/10/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
VELIE, HORACE F.
909HILLCREST ROAD
NEWTON, NJ 07860                                     P‐0021464 11/10/2017     TK Holdings Inc., et al .                     $750.00                                                                                       $750.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RUSH /DECEASED, JOHN J.
RUSH, MARCIA A.
5468 BOUNTY CIRCLE
TAVARES, FL 32778                                    P‐0021465 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, TONY A.
11304 JEFFERSON DAVIS HWY #9C
RICHMOND, VA 23237                                   P‐0021466 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, KAREN R.
9250 BRUCKHAUS STREET APT 212
RALEIGH, NC 27617                                    P‐0021467 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IVY, RAY A.
IVY, CASSANDRA E.
5190 S. E. DEER RUN
LATHROP, MO 64465                                    P‐0021468 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRD, ROBERT A.
484 ESSEN PLACE
KERNERSVILLE, NC 27284                               P‐0021469 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STALEY, CRAIG J.
801 SPRING CANYON DR
IRVING, TX 75063                                     P‐0021470 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUCKFIEL, EDGAR H.
367 BRIDGEWATER CIRCLE
FREDERICKSBURG, VA 22406                             P‐0021471 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
APONTE, WILFREDO
CALVO, CARMEN I.
S3‐32 CALLE 4
VILLASDEPARANASANJUANPR00926
                                                     P‐0021472 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENFIELD, BENJAMIN L.
185 BRIGGS RANCH DRIVE
FOLSOM, CA 95630‐5264                                P‐0021473 11/10/2017     TK Holdings Inc., et al .                       $50.00                                                                                       $50.00
WANGPUCHAKANE, SONYA
9135 PICO VISTA RD.
DOWNEY, CA 90240                                     P‐0021474 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHISNANT, MARY E.
5409 AMMONS ST
HALTOM CITY, TX 76117                                P‐0021475 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
APONTE, WILFREDO
CARMEN I CA
S3‐32CALLE 4
VILLASDEPARANA
SANJUANPR00926                                       P‐0021476 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTMAN, ROBERT K.
HARTMAN, ROBERT K.
192 ANDY HICKS RD
BANNER ELK, NC 28604                                 P‐0021477 11/10/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
KELLY, FRANCINE
P. O. BOX 713
WINTER PARK, FL 32790                                P‐0021478 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAVELKO, GEORGE L.
PAVELKO, SUZANNE L.
6343 LOCK LANE
SLATINGTON, PA 18080                                 P‐0021479 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HYATT, BRYCE M.
HYATT, JOYCE D.
2122 SANDALWOOD DR.
BURTON, MI                                          P‐0021480 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, JOHN M.
9763 WESTCHESTER DR.
OMAHA, NE 68114                                     P‐0021481 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLS, TYLER I.
36 SAGAMORE DRIVE
SEYMOUR, CT 06483                                   P‐0021482 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDAN, ROBERT M.
266 WEST LARKSPUR STREET
MUNHALL, PA 15120                                   P‐0021483 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALZATE, LUZ S.
5108 STONEHURST ROAD
TAMPA, FL 33647‐1003                                P‐0021484 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EASTER, JASON
715 CHEROKEE TRAIL
WARRIOR                                             P‐0021485 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TARTAGLIA, DOROTHEA
33 LARKIN STREET
HUNTINGTON STA., NY 11746                           P‐0021486 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, CANDACE
56 DARBYS RUN WAY
HIRAM, GA 30141                                     P‐0021487 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOHSING, DONNA A.
2094 WAYFARING DR.
REYNOLDSBURG, OH 43068                              P‐0021488 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHAWAJA, TAQI
ALI, JAUVERIA
6 GREGORY LANE
FRANKLIN PARK, NJ 08823                             P‐0021489 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBSON, JEFFREY J.
548 PUTTING DRIVE
FORT MILL, SC 29715                                 P‐0021490 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ, MARTIN
340 TRAIL CREEK DR.
, CA 92251                                          P‐0021491 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, LUIS F.
5108 STONEHURST ROAD
TAMPA, FL 33647‐1003                                P‐0021492 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HATLEY, SUZANNE
106 GEDNEY ROAD
LAWRENCEVILLE, NJ 08648                             P‐0021493 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, MARIANA
COLLAZO, LUIS G.
163 JARDIN DE MER PL
JACKSONVILLE BEA, FL 32250                          P‐0021494 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUNDAM, ASAAH T.
12280 GREEN MEADOW DR APT. H
COLUMBIA, MD 21044                                  P‐0021495 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODGERS, ALAINA G.
3909 KENTS PL
JONESBORO, AR 72404                                 P‐0021496 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
YACCO, STEVEN D.
8 BEECHWOOD RD
WHITESBORO, NY 13492                                  P‐0021497 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA PANIAGUA, LUIS F.
5108 STONEHURST ROAD
TAMPA, FL 33647‐1003                                  P‐0021498 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, BINH K.
NGUYEN, KIM D.
16431 WHITTER LN
HUNTINGTON BEACH, CA 92647                            P‐0021499 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVENPORT, ALMOND M.
24165 LOTUS DR APT 301
CLINTON TOWNSHIP, M 48036                             P‐0021500 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAUTMAN, NANCY L.
POST OFFICE BOX 5134
LIGHTHOUSE POINT, FL 33074‐5134                       P‐0021501 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDAN, ROBERT M.
266 WEST LARKSPUR STREET
MUNHALL, PA 15120                                     P‐0021502 11/10/2017     TK Holdings Inc., et al .                     $600.00                                                                                       $600.00
WHITLOCK, CARLA
4004 PENROSE STREET
SAINT LOUIS, MO 63107                                 P‐0021503 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRANCE, HENRY C.
11301 BROOKDALE LANE
UPPER MARLBORO, MD 20772                              P‐0021504 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FALES, ANDREW M.
7707 WISCONSIN AVE #1114
BETHESDA, MD 20814                                    P‐0021505 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORREGROSSA, BRENNAN J.
224 VASSAR AVE
SWARTHMORE, PA 19081                                  P‐0021506 11/10/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
TORRANCE, HENRY C.
11301 BROOKDALE LANE
UPPER MARLBORO, MD 20772                              P‐0021507 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULLEN, RAYMOND W.
CULLEN, RAY
3164 YELLOWSTONE DR
COSTA MESA, CA 92626                                  P‐0021508 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, STUART
750 PARK AVENUE NE
29W
ATLANTA, GA 30326‐3265                                P‐0021509 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LORY, DANIEL C.
5404 S KIMBARK AVE
CHICAGO, IL 60615                                     P‐0021510 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DULOG, BRYAN
68 E. HARTSDALE AVE APT 4F
HARTSDALE, NY 10530                                   P‐0021511 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKER, LISA
155‐28 LAHN STREET
HOWARD BEACH, NY 11414                                P‐0021512 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARROS, PAULO J.
BARROS, NILA M.
15847 W LOCUST ST
OLATHE, KS 66062                                      P‐0021513 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GILLETTE, LISA
308 ORCHARD ST.
OLD FORGE, PA 18518                                  P‐0021514 11/10/2017     TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
DAVIDSON, GINGER K.
DAVIDSON, JERRY T.
162‐A BATTLES LOOP
GREENBRIER, AR 72058                                 P‐0021515 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LORY, DANIEL C.
5404 S KIMBARK AVE
CHICAGO, IL 60615                                    P‐0021516 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHULTZ, RODNEY
8197 GUAVA AVE
BUENA PARK, CA 90620                                 P‐0021517 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAFRAN, KIMBERLY
707 HILL STREET
SEWICKLEY, PA 15143                                  P‐0021518 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIMMERLE, BERNARDINA C.
KIMMERLE, GARY W.
16176 REGENCY RANCH RD
RIVERSIDE, CA 92504                                  P‐0021519 11/10/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MOFIDI, DESIREE E.
MOFIDI, DEAN D.
43695 CALLE ESPADA
LA QUINTA, CA 92253                                  P‐0021520 11/10/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
ARTUKOVICH III, JOHN A.
4255 TEMESCAL AVE
NORCO, CA 92860                                      P‐0021521 11/10/2017     TK Holdings Inc., et al .                   $23,851.93                                                                                   $23,851.93
MORI, DENNIS J.
MORI, MARGERY E.
19 BUSCAR STREET
RMV, CA 92694                                        P‐0021522 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEMORE, MICHAEL A.
1850 JAMESON ST
ABILENE, TX 79603                                    P‐0021523 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEGG, EDWIN F.
209 PARRY DR.
MOORESTOWN, NJ 08057                                 P‐0021524 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYLE, JERI L.
REAVES, FREDERICK C.
3909 SW 20TH PLACE
CAPE CORAL, FL 33914                                 P‐0021525 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERSHBERG, BONNIE
SPEARS, JACK JR.
635 FIRST STREET #102
ALEXANDRIA, VA 22314                                 P‐0021526 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOPPKOTTE, CLAYTON K.
P.O. BOX 365
305 A ST
SHELTON, NE 68876                                    P‐0021527 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, ELIZABETH
4660 OCEAN BLVD
APT K‐1
SARASOTA, FL 34242                                   P‐0021528 11/10/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CHONG, ROSA M.
67‐52 183RD STREET
FRESH MEADOWS
QUEENS, NY 11365                                     P‐0021529 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLEDHILL, BRITNY V.
343 CHERRY ST
BREA, CA 92821                                       P‐0021530 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENDOZA, ALMA
900 WARFIELD WAY
RICHARDSON, TX 75080                                 P‐0021531 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, RICHARD K.
4660 OCEAN BLVD
APT K‐1
SARASOTA, FL 34242                                   P‐0021532 11/10/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
SCHOWE, ALICE F.
3439 TARPON WOODS BLVD
PALM HARBOR, FL 34685                                P‐0021533 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWSON, YVETTE
1253 BRENTWOOD DRIVE
EAST STROUDSBURG, PA 18301                           P‐0021534 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONIVEL, LATOYA P.
14041 S OREGON DR
PLAINFIELD, IL 60544                                 P‐0021535 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARDNER, DONALD A.
GARDNER, HEATHER L.
1950 LAKESIDE DRIVE
CHARLOTTESVILLE, VA 22901                            P‐0021536 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUBIQUE, HAIG
4923 SYDNEY LN
MARIETTA, GA 30066                                   P‐0021537 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUBIQUE, ALISHA
4923 SYDNEY LN
MARIETTA, GA 30066                                   P‐0021538 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, TAMARA
7915 GABLE BRIDGE LANE
RICHMOND, TX 77407                                   P‐0021539 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, VICKI B.
518 ORIOLE FARM TRL
CANTON, GA 30114
                                                     P‐0021540 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUSSCHE, LAURA D.
343 CHERRY ST
BREA, CA 92821                                       P‐0021541 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOMKO, STEPHEN A.
12926 BAALBEK DRIVE
ST LOUIS, MO 63127                                   P‐0021542 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOPHER, CHRISTOPHER S.
2842 RIVER BIRCH DRIVE
SUGAR LAND, TX 77479                                 P‐0021543 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REEVES‐SOBERS, TYMEKA M.
11216 MCKINNEY SPRINGS DRIVE
AUSTIN, TX 78717                                     P‐0021544 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
(EAST) CROWDER, SHEILA A.
6320 LAGRANGE RD.
SHELBYVILLE, KY 40065                                P‐0021545 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TENNEY, TOMMY G.
2235 SPRINGDALE DR
SNELLVILLE, GA 30078                                 P‐0021546 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUERTIN, ROGER F.
GUERTIN, TERRIE A.
2510 PADDOCK DRIVE
SAN RAMON, CA 94583‐2429                             P‐0021547 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLDEN, JENNY H.
5967 NW 142ND TERRACE
PORTLAND, OR 97229                                   P‐0021548 11/10/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
CATALFAMO, ANGELA A.
2512 LA CRISTAL CIR
WEST PALM BEACH, FL 33410                            P‐0021549 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINGER, JACOB M.
823 KALPATI CIRCLE #301
CARLSBAD, CA 92008                                   P‐0021550 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REEVES‐SOBERS, TYMEKA M.
11216 MCKINNEY SPRINGS DRIVE
AUSTIN, TX 78717                                     P‐0021551 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, FRANCES
16 FIELDSTONE DRIVE
LIVINGSTON, NJ 07039                                 P‐0021552 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUNDY, WILLIAM P.
1236 N 56TH ST
PHILADELPHIA, PA 19131‐4122                          P‐0021553 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WITTE, DEAN
6512 LANDMARK DR
FORT WAYNE, IN 46815‐6320                            P‐0021554 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROOKE, KYLE R.
27235 NICOLE DRIVE
LAGUNA NIGUEL, CA 92677                              P‐0021555 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARFIN, HELEN B.
17632 BIRCH TREE LANE
IRVINE, CA 92612                                     P‐0021556 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORLEY, ADIA T.
11417 FAYE AVE NE
ALBUQUERQUE, NM 87112                                P‐0021557 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRJE, JULIE E.
160 SUMMERTREE DR
PORTER, IN 46304                                     P‐0021558 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOHLER, JOHN J.
6 WOODBRIDGE RD.
MARLTON, NJ 08053                                    P‐0021559 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADDEN, LARRY G.
4609 AUTUMN WAY
RIDGECREST, CA 93555                                 P‐0021560 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUTTER, BRIAN
16 BYRON DRIVE
MOUNT LAUREL, NJ 08054                               P‐0021561 11/10/2017     TK Holdings Inc., et al .                       $75.00                                                                                       $75.00
LOI‐LUONG, BINH
5339 WELLAND AVENUE, UNIT B
TEMPLE CITY, CA 91780                                P‐0021562 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLEICHAUF, GERALD F.
1444 STATE ROUTE 444
VICTOR, NY 14564                                     P‐0021563 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LANDAY, CECILE
32009 OLDE FRANKLIN DR.
FARMINGTON HILLS, MI 48334‐1733                      P‐0021564 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIEBERMAN, ROCHELLE
802 STILL CREEK LANE
GAITHERSBURG, MD 20878                               P‐0021565 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCREARY, BETH E.
400 SAILVIEW CT.
BEAUFORT, NC 28516                                   P‐0021566 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONKLIN, ERNEST E.
520 E. MURRAY CANYON DRIVE,
#816
PALM SPRINGS, CA 92264                               P‐0021567 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAVA, JOSEFINA M.
NAVA, ALEX CHLOE M.
1114 WOODCREST LN
VISTA, CA 92081                                      P‐0021568 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIEBERMAN, ROCHELLE
802 STILL CREEK LANE
GAITHERSBURG, MD 20878                               P‐0021569 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLETTI, SHARON L.
2732 WOODLAWN AVENUE
NIAGARA FALLS, NY 14301                              P‐0021570 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, TERRY E.
2925 HEATHSTEAD PL
CHARLOTTE, NC 28210                                  P‐0021571 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHONBERGER, ALAN J.
1 CARLEY ROAD
LEXINGTON, MA 02421‐4301                             P‐0021572 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THIRUCHANGU, KARTHIK
1807 CONTINENTAL AVE APT 209
NAPERVILLE, IL 60563                                 P‐0021573 11/10/2017     TK Holdings Inc., et al .                     $100.00                                                                                       $100.00
ELLIS, PAULA J.
10705 LIPAN TRAIL
FORT WORTH, TX 76108                                 P‐0021574 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES, JON R.
BOASE, JEANA M.
204 N MONROE ST
FLANAGAN, IL 61740                                   P‐0021575 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAVA, JURGENZEN
NAVA, JOSEFINA
1114 WOODCREST LN
VISTA, CA 92081                                      P‐0021576 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGNER, STUART J.
WAGNER, STUART J.
8131 ISLANDER COURT
FORT COLLINS, CO 80528                               P‐0021577 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, JOE S.
1021 PROSPECT AVE.
PLAINFIELD, NJ 07060‐2615                            P‐0021578 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMBROSE, MARIA D.
10 ROBINSON ROAD
MEDFIELD, MA 02052                                   P‐0021579 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WAGNER, STUART J.
WAGNER, STUART
8131 ISLANDER COURT
FORT COLLINS, CO 80528                              P‐0021580 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UHAZE, DAVID B.
333 ATLANTIC AVE.
TRENTON, NJ 08629                                   P‐0021581 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCATHRAN, JEREMY T.
4310 PINEY CREEK LN
SPRING, TX 77388                                    P‐0021582 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANER, MICHAEL D.
270 BROADWAY #17B
NEW YORK, NY 10007                                  P‐0021583 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UPDEGRAFF, JEFFREY R.
UPDEGRAFF, JONI L.
2006 COLUMBIA AVENUE
CAMP HILL, PA 17011                                 P‐0021584 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SADOWSKY, RICHARD L.
9314 OAKWOOD DR.
URBANDALE, IA 50322                                 P‐0021585 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, COLEN D.
90 WAVERLY STREET
HARTFORD, CT 06112                                  P‐0021586 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAKE, DAVID A.
13 LATOUR LN
NEWARK, DE 19702                                    P‐0021587 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAULSELL, LINDA D.
58507 VALLEY VIEW DR.
WASHINGTON TWP, MI 48094                            P‐0021588 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OMSTEAD, CARL
914 AVIS DR
EL CERRITO, CA 94530                                P‐0021589 11/10/2017     TK Holdings Inc., et al .                     $800.00                                                                                       $800.00
STEPHENS, PATRICIA
4864 WESTMONT ST
RIVERSIDE, CA 92507                                 P‐0021590 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VEARY, IAN
27803 MERCHANT HILLS LN
KATY, TX 77494                                      P‐0021591 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRADY, RENEE E.
4140 KARI LANE
BONSALL, CA 92003                                   P‐0021592 11/10/2017     TK Holdings Inc., et al .                  $250,000.00                                                                                  $250,000.00
WOOD, OAKLEY
157 BAYVIEW AVE.
BAYPORT, NY 11705                                   P‐0021593 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUENAFE, BRANDY R.
2656 DOBBINS WAY
SACRAMENTO, CA 95815                                P‐0021594 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIZZO, STEVEN
RIZZO, PATRICIA
210 ARROW STREET
OCEANSIDE, NY 11572                                 P‐0021595 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELFIORE, MICHAEL A.
134 CROWN PRINCE DRIVE
MARLTON, NJ 08053                                   P‐0021596 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BRADBURY, STEVE W.
5717 COPPERCAP MOUNTAIN LANE
PASCO, WA 99301                                     P‐0021597 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, JOHN F.
58 COMSTOCK RD
TUNKHANNOCK, PA 18657                               P‐0021598 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAKE, DAVID A.
13 LATOUR LN
NEWARK, DE 19702                                    P‐0021599 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCWILLIAMS, TIMOTHY T.
1217 BLEVINS GAP RD SE
HUNTSVILLE, AL 35802                                P‐0021600 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAWSON, SAYYEDA
161 ANNANDALE DRIVE
FAIRFIELD, OH 45014                                 P‐0021601 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLAGHER, PATRICK
15 VANCE AVE
SICKLERVILLE, NJ 08081                              P‐0021602 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHABARRIA, ALICE M.
5169 W. 88TH PLACE
OAK LAWN, IL 60453                                  P‐0021603 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GELSTON, MAJAEL B.
61 JARVIN ROAD
PORT JEFF STA, NY 11776                             P‐0021604 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIANG, CATHERINE C.
4605 S LOWELL BLVD #E
DENVER, CO 80236                                    P‐0021605 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIRD, RONALD L.
BIRD, MAUREEN M.
5150 MORNINGSIDE BVLD
DAYTON, OH 45432                                    P‐0021606 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODS, MARK L.
WOODS, DORCAS
2802 E CHURCH DR
HOBBS, NM 88240                                     P‐0021607 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLAGHER, PATRICIA
15 VANCE AVE
SICKLERVILLE, NJ 08081                              P‐0021608 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SZETO, DENNIS
33763 SHYLOCK DRIVE
FREMONT, CA 94555‐2117                              P‐0021609 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEDURA, STEFAN M.
7511 COLUMBINE RD.
MACUNGIE, PA 18062                                  P‐0021610 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROUSER, CHRISTOPHER P.
140 CHESHIRE CT
GOODLETTSVILLE, TN 37072                            P‐0021611 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOMASEGARAN, SHAGUN
3564 S. 197TH STREET
OMAHA, NE 68130                                     P‐0021612 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORES, JOSE M.
870 SO GLENHAVEN DR
LA HABRA, CA 90631                                  P‐0021613 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, MICHELLE
415 TOWNSQUARE LANE #203
HUNTINGTON BEACH, CA 92648                          P‐0021614 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
HART, THOMAS
4005 E. LA VETA AVE
ORANGE, CA 92869                                      P‐0021615 11/10/2017     TK Holdings Inc., et al .                   $15,455.00                                                                                   $15,455.00
DENK, NICOLE
DENK, RICHARD
3270 N 88TH ST.
MILWAUKEE, WI 53005                                   P‐0021616 11/10/2017     TK Holdings Inc., et al .                    $2,085.00                                                                                    $2,085.00
RAE, LADONNA
11130 SE 57TH STREET
BELLEVUE, WA 98006                                    P‐0021617 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DESKIN, BRENDA S.
DESKIN, LARRY K.
P.O. BOX 786
STEVENSON, WA 98648                                   P‐0021618 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LLAMAS JR, FERNANDO M.
17708 113TH PL SE
RENTON, WA 98055                                      P‐0021619 11/10/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
HEKALA, WALTER E.
2810 ELDRIDGE AVE
BELLINGHAM, WA 98225                                  P‐0021620 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETRIE, JAMES E.
PETRIE, ROSEMARY A.
2538 KIMBERLY AVE.
CAMARILLO, CA 93010                                   P‐0021621 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, NORMA
TAKATA AIRBAG INFLATORS
35 HILL ST
KEANSBURG, NJ 07734                                   P‐0021622 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYANS, JONATHAN
3151 BROOKHILL ST
LA CRESCENTA, CA 91214                                P‐0021623 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALHOUN, THOMAS J.
2123 S 90TH ST.
OMAHA, NE 68124                                       P‐0021624 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAHEY, MELISSA A.
4203 TAZEWELL TERRACE
BURTONSVILLE, MD 20866                                P‐0021625 11/10/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
GUINN, JENNIFER D.
15 LELAND LANE
BELLA VISTA, AR 72715                                 P‐0021626 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY, FRANCES L.
POST BOX 651
WOODVILLE, MS 39669                                   P‐0021627 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARTEAGA, LORENA P.
P.O. BOX 6925
OXNARD, CA 93031                                      P‐0021628 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALAZAR, JONAS F.
540 HAMPSHIRE LN
CHULA VISTA, CA 9191‐6801                             P‐0021629 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUINN, JENNIFER D.
15 LELAND LANE
BELLA VISTA, AR 72715                                 P‐0021630 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YEE, SHARLENE
14381 TELLURIDE DR.
BALDWIN PARK, CA 91706                                P‐0021631 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DIAZ, ROMAN HARRY G.
5066 N MARTY AVE
APT#103
FRESNO, CA 93711                                     P‐0021632 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANHAM, DONALD W.
461 WILDWOOD LANE
LUGOFF, SC 29078                                     P‐0021633 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBRIGHT, CARLA
2210 FOOTHILL DRIVE
VISTA, CA 92084                                      P‐0021634 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, JOSE E.
4913 AUBURN AVE
MCALLEN TX 78504
                                                     P‐0021635 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAY, CYNTHIA L.
RAY, DAVID W.
FORD MOTOR CREDIT
P.O. BOX 161
623 PINE ST
PHILIPSBURG, MT 59858                                P‐0021636 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, CHARISSE N.
4410 S LIBERTY AVE APT.1
INDEPENDENCE, MO 64055                               P‐0021637 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLESSENT, IRENA
4421 BRINDISI ST.
SAN DIEGO, CA 92107                                  P‐0021638 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOAN, JOSEPH
DOAN, LOGAN
341 LAMP POST LN
HERSHEY, PA 17033                                    P‐0021639 11/10/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
LITOROWICZ, WLADYSLAWA
11278 GLENIS STREET
STERLING HTS., MI 48312                              P‐0021640 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LATINO, TRACEY A.
6141 N FRANCISCO
#2
CHICAGO, IL 60659                                    P‐0021641 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEANGELIS, AIDS
11 FORTE AVENUE
MEDFORD, NY 11763‐4404                               P‐0021642 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RELIABLE RENT‐A‐CAR, LLC
5700 REISTERSTOWN ROAD
BALTIMORE, MD 21215                                  P‐0021643 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELBOURNE, TODD G.
537 CLIFDEN DRIVE
MADISON, WI 53711                                    P‐0021644 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRABE, DEBORAH A.
111 AUDUBON ROAD
SEWICKLEY, PA 15143                                  P‐0021645 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERECZMAN, DALE R.
7480 SW 49TH COURT
PORTLAND, OR 97219                                   P‐0021646 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAZINSKI, TINA L.
895 TURKEY RANCH RD
TEMPLETON, CA 93465                                  P‐0021647 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DESKIN, LARRY K.
DESKIN, BRENDA S.
P.O. BOX 786
STEVENSON, WA 98648                                  P‐0021648 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLIGAN, KERRY
MULLIGAN, JOAN
1807 ROBERT LANE
NAPERVILLE, IL 60564                                 P‐0021649 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEIN, BERND
8380 ARTESIAN RD
SAN DIEGO, CA 92127‐5729                             P‐0021650 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENKINS, EVONNE
P.O. BOX 3038
JENA, LA 71342                                       P‐0021651 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALTSAS, ANTONIO
17572 RAY
RIVERVIEW, MI 48193                                  P‐0021652 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YORK II, DAVID R.
2883 ESCALA CIRCLE
SAN DIEGO, CA 92108                                  P‐0021653 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OREM, PHILIP
4922 BALTIMORE PIKE
LITTLESTOWN, PA 17340                                P‐0021654 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIMMERMAN, DONNA
152 BROADWAY
UNIT 16
DOBBS FERRY, NY 10522                                P‐0021655 11/10/2017     TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
LACY, LILLIE
2629 E. 121ST
CLEVELAND
, OH 44120                                           P‐0021656 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROCK, ALISON J.
694 JEWEL STREET
IMPERIAL, CA 92251                                   P‐0021657 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, ROBERT P.
1093 COYOTE RIDGE CIRCLE
SOUTH LAKE TAHOE, CA 96150                           P‐0021658 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, CRAIG S.
KAY S ALLEN
1480 APPLEWOOD CT W
#413
ROOSEVILLE, MN 55113                                 P‐0021659 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOAN, JOSEPH
DOAN, LOGAN
341 LAMP POST LN
HERSHEY, PA 17033                                    P‐0021660 11/10/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
PHILLIPS, HELEN S.
4950 GOVERNORS DRIVE
#2316
FOREST PARK, GA 30297                                P‐0021661 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, KENYATTIA
JACKSON, TELETHIA
3470 CR 1250
DETROIT, TX 75436                                    P‐0021662 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WHITE, KRISTIAN C.
281 MUSKEGON AVE.
CALUMET CITY, IL 60409                                P‐0021663 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGES, ELLIS C.
1401 CALHOUN BND.
AZLE, TX 76020                                        P‐0021664 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, KATHLEEN
9088 GRAYFIELD
REDFORD, MI 48239                                     P‐0021665 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORNELAS, CARL G.
13120 EQUESTRIAN LN
WHITTIER, CA 90601                                    P‐0021666 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOA, JOSEPH
DOAN, LOGAN
341 LAMP POST LN
HERSHEY, PA 17033                                     P‐0021667 11/10/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MENDOZA, MARLENE M.
21940 SNOWVIEW DRIVE
PALM SPRINGS,, CA 92262‐1069                          P‐0021668 11/10/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
ESPINOZA, JANET
ESPINOZA, ANTHONY
9119 EAMES LANE
ELK GROVE, CA 95758                                   P‐0021669 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EGELSKI, JENNIFER M.
EGELSKI, JOSEPH M.
39945 URBANA DR
STERLING HEIGHTS, MI 48313                            P‐0021670 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCENTIRE, CURTIS L.
19801 HUNTERS RUN
CANYON, TX 79015                                      P‐0021671 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, WILLIAM A.
3 CYPRESS RD
SOMERSET, NJ 08873                                    P‐0021672 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODMAN, JESS L.
105 SHARPE DRIVE
SUFFOLK, VA 23435                                     P‐0021673 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOARDMAN, DIANE M.
BOARDMAN, MICHAEL R.
48 KITE LANE
ELMA, WA 98541                                        P‐0021674 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLDEN, JENNY
5967 NW 142ND TER
PORTLAND, OR 97229                                    P‐0021675 11/10/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
SCANLON, DONALD J.
761 CROSSFIELD CIRCLE
NAPLES, FL 34104                                      P‐0021676 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, T.
3105 NW 52ND ST
OKLAHOMA CITY, OK 73112                               P‐0021677 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLSWORTH, SCOTT R.
7164 PARK HILL DR
OZAWKIE, KS 66070                                     P‐0021678 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLDEN, PAUL
5967 NW 142ND TERRACE
PORTLAND, OR 97229                                    P‐0021679 11/10/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
STOCKS, ELENA
1575 NW 131ST AVENUE
PORTLAND, OR 97229                                   P‐0021680 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, CRAIG S.
ALLEN, KAY S.
1480 APPLEWOOD CT W
#413
ROOSEVILLE, MN                                       P‐0021681 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAPOLINO KING, KAREN A.
1001 LINDGREN BLVD
SANIBEL, FL 33957                                    P‐0021682 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVITT, MICHAEL
2520 RYAN RD #12
CONCORD, CA 94518                                    P‐0021683 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLOMON, GENE
SOLOMON, SHANTIKA
10565 MACEDONIA ROAD
BRIGHTON, TN 38011                                   P‐0021684 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWFORD, FRED D.
162 VIA PASQUAL
REDONDO BEACH, CA 90277                              P‐0021685 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIMINO, ANNETTE
CIMINO, ALFRED
19 RAMONDO LA
SMITHTOWN, NY 11787                                  P‐0021686 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAL, RANAJIT
67 BERKELEY BLVD
ISELIN, NJ 08830                                     P‐0021687 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINIEWICZ, PETER J.
WINIEWICZ, SANDRA S.
8 TUNBRIDGE WALKE
EAST AURORA, NY 14052                                P‐0021688 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HASIER, JESSIKA K.
10430 JOLIET ST
SAINT JOHN, IN 46373                                 P‐0021689 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAVEZ, BORIS JAN M.
1114 WOODCREST LANE
VISTA, CA 92081                                      P‐0021690 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCHANAN, DIANA L.
550 VINE STREET
CHILLICOTHE, OH 45601                                P‐0021691 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMS, SHARON E.
913 HADDINGTON DALE
PELHAM, AL 35124                                     P‐0021692 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWMANS, CHERYL L.
NEWMANS, ROBERT R.
1073 LOVELY LANE
NORTH FORT MYERS, FL 33903                           P‐0021693 10/26/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
AIKMAN, LYNN A.
AIKMAN, SANDRA L.
425 PLANTATION POINTE RD
SCOTTSBORO, AL 35768‐7183                            P‐0021694 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, MARY P.
2045 NORTH LAKE DRIVE
GREENVILLE, TX 75402                                 P‐0021695 10/27/2017     TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00


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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
MODERN ICE EQUIPMENT & SUPPLY
5709 HARRISON AVE.
CINCINNATI, OH 45248                                   P‐0021696 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                       P‐0021697 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECKERT, DOUGLAS M.
253 BENITEZ WAY
CLYDE, NC 28721                                        P‐0021698 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUH, MYEONG
6137 JANES WAY
HILLIARD, OH 43026                                     P‐0021699 11/10/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
EPPS, DIANE L.
P.O. BOX 1973
ATLANTIC CITY, NJ 08404‐1973                           P‐0021700 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSEN, ERIC A.
HANSEN, CAROLYN
27919 MAZAGON
MISSION VIEJO, CA 92692                                P‐0021701 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARKIN, RANDEE
HCR 1 BOX 5445
KEAAU, HI 96749                                        P‐0021702 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPAKES, JOHN W.
P.O. BOX 540
YACHATS, OR 97498                                      P‐0021703 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, MICHAEL B.
560 WALKER ST. NE
CLEVELAND, TN 37311                                    P‐0021704 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORENO, SHIRLEY
368 W SUMMERFIELD CIR
ANAHEIM, CA 92802                                      P‐0021705 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECK, VIRGINIA L.
BECK, GARY
2847 WOOD VALLEY COURT
JACKSONVILLE, FL 32217                                 P‐0021706 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEER, JEFFREY
MEER, RICHELLE
8022 TAKOMA AVE
SILVER SPRING, MD 20910                                P‐0021707 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIN, KUAN F.
15216 HENRY WAY
TUSTIN, CA 92782                                       P‐0021708 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELMER, PATRICIA M.
490 E CRONK RD
OWOSSO, MI 48867                                       P‐0021709 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, JOHN P.
430 S. WESTERN AVE.
#509
DES PLAINES, IL 60016                                  P‐0021710 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DARBY, NANCY A.
830 FOSTER ROAD
WEST UNION, OH 45693                                   P‐0021711 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERSCH, LORI A.
16320 ROSEWOOD STREET
OMAHA, NE 68136                                        P‐0021712 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
CURTIS, CRYSTAL D.
1995 WEST LUCAS
BEAUMONT, TX 77706                                    P‐0021713 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COON, SHAWNA R.
52 CAMELOT COURT
ALAMO, CA 94507                                       P‐0021714 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIEDL, KIMBERLY
RIEDL, JUSTIN
14383 SW CHESTERFIELD LANE
TIGARD, OR 97224                                      P‐0021715 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DARBY, NANCY A.
830 FOSTER ROAD
WEST UNION, OH 45693                                  P‐0021716 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLUDJIAN, MELISSA J.
9404 MOONDANCER CIRCLE
ROSEVILLE, CA 95747                                   P‐0021717 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECKERT, DOUGLAS M.
253 BENITEZ WAY
CLYDE, NC 28721                                       P‐0021718 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROLLINA, NEAL W.
708 AVE H NE APT 18
CHILDRESS, TX 79201                                   P‐0021719 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKNIGHT, TRINA T.
4361 PLAYER ROAD
CORONA, CA 92883                                      P‐0021720 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEMING, ANGELA R.
26981 CIMARRON CYN DR
MORENO VALLEY, CA 92555                               P‐0021721 11/10/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
GESSERT, STEPHEN H.
5809 HARWOOD DR
MIDLAND, MI 48640                                     P‐0021722 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THE STANGE FAMILY REV LIVING
3167 SHERBROOK DR
UNIONTOWN, OH 44685                                   P‐0021723 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRISON, LURLENE M.
60B RIDGEDALE AVE
MORRISTOWN, NJ 07960                                  P‐0021724 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GESSERT, STEPHEN H.
5809 HARWOOD DR
MIDLAND, MI 48640                                     P‐0021725 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODSTEIN, JAY T.
RODSTEIN, SHEILA R.
185 LEXINGTON PKWY S
ST PAUL, MN 55105                                     P‐0021726 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REESE, JOHNNY A.
34 OBAN CT
SAINT JOHNS, FL 32259                                 P‐0021727 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLUDJIAN, MELISSA J.
9404 MOONDANCER CIRCLE
ROSEVILLE, CA 95747                                   P‐0021728 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAVAS, THOMAS
219 CHESTNUT FARM WAY
RAYNHAM, MA 02767                                     P‐0021729 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINMAN, DANIEL L.
20310 PINELLAS PARK CT
SPRING, TX 77379                                      P‐0021730 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
JONES, GARETH A.
22957 BRIARWOOD DRIVE
CORONA, CA 92883                                     P‐0021731 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONJEAU, CAITLIN J.
203 JEFFERSON STREET
ALBANY, NY 12210                                     P‐0021732 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOI, YONG T.
CHOI, SUNG J.
14310 PLATT COURT
CANYON COUNTRY, CA 91387                             P‐0021733 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, CORNELIUS M.
DAVIS, SHEMECKIA C.
1506 VIRGINIA ST
MOBILE, AL 36604                                     P‐0021734 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCINTIRE, REBECCA J.
830 ALASKA WOODS LANE
ORLANDO, FL 32824                                    P‐0021735 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEEDI, RAMONA
P.O. BOX 481
LOMA LINDA, CA 92354                                 P‐0021736 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANKE, GLENN A.
MANKE, EDITH L.
453 MEADOW LANE
EVANSVILLE, WI 53536                                 P‐0021737 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                     P‐0021738 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHAM, ANDREW
317 PARKHURST LANE
ALLEN, TX 75013                                      P‐0021739 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDONALD, ALVIN D.
MCDONALD, MELISSA D.
3900 BRANELL COURT
HOPE MILLS, NC 28348                                 P‐0021740 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COTLAR, SIDNEY A.
SIDNEY A COTLAR
4532 TRANSCONTINENTAL DRIVE
METAIRIE, LA 70006                                   P‐0021741 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOMIN, NADIM N.
9669 AVELLINO AVE
APT # 6204
ORLANDO, FL 32819                                    P‐0021742 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TASSONI, PETER
LAGERQUIST, WENDY
3506 WOODSIDE COURT NE
OLYMPIA, WA 98506                                    P‐0021743 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NG, PATRICK T.
1966 42ND AVENUE
SAN FRANCISCO, CA 94116                              P‐0021744 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRERA, LAURA L.
540 HAMPSHIRE LN
CHULA VISTA, CA 91911‐6801                           P‐0021745 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALEED, JALA A.
WALEED, DEETTE B.
15029 SE EAST AVE.
MILWAUKIE, OR 97267                                  P‐0021746 11/10/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
PEARSON, VELVET D.
SASAKI, HIROSHI M.
2734 OSTROM AVE
LONG BEACH, CA 90815‐1603                             P‐0021747 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LICHTENWALTER, MICHAEL D.
17895 NE RIBBON RIDGE ROAD
NEWBERG, OR 97132                                     P‐0021748 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVAREZ, ELIZABETH
229 E LOCUST AVE
ORANGE, CA 92867                                      P‐0021749 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, ADRIENNE
BROWN, ADRIENNE
8380 ARTESIAN RD
SAN DIEGO, CA 92127‐5729                              P‐0021750 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAPA, JOSEPH A.
697 WELLFLEET DRIVE
VALLEJO, CA 94591                                     P‐0021751 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOMIN, NADIM N.
9669 AVELLINO AVE
APT # 6204
ORLANDO, FL 32819                                     P‐0021752 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FABIAN, ROSA A.
125 N SYRACUSE ST #51
ANAHEIM, CA 92801                                     P‐0021753 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYNX METALS & RESOURCES, INC.
1000 WHIPPLE ROAD
UNION CITY, CA 94587                                  P‐0021754 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEAD, KYLE E.
20430 WOLF CREEK RD
GRASS VALLEY, CA 95949                                P‐0021755 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSE, DONNA M.
31 JESSE DRIVE
PORTSMOUTH, RI 02871                                  P‐0021756 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEIDER, DENNIS R.
1601 ZUNKER COVER
ROUND ROCK, TX 78665                                  P‐0021757 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALMAGUER, BARBARA A.
8517 N. CAPITAL OF TEXAS HWY
APT. 2034
AUSTIN, TX 78759                                      P‐0021758 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIDGE, KATHERINE E.
301 WILDER STREET NORTH
UNIT 1
SAINT PAUL, MN 55104                                  P‐0021759 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FONJAH, JOSHUA A.
2113 S 252NDST
SEE MOINES, WA 98198                                  P‐0021760 11/10/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
PLATAS, ROLAND
PLATAS, CHERYL
7408 SANCTUARY DR.
CORONA, CA 92883                                      P‐0021761 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRISON, JAFFERIE A.
12357 PORTER ROAD
ORANGE, VA 22960‐4018                                 P‐0021762 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                          Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                     P‐0021763 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SIEGEL, HELENE N.
SIEGEL, LAWRENCE G.
550 OKEECHOBEE BLVD
#1020
WEST PALM BEACH, FL 33401‐6334                       P‐0021764 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
NATIONAL SERVICE SYSTEMS, INC
1600 WASHINGTON STREET
STOUGHTON, MA 02072‐3347                             P‐0021765 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
PANICO, ANTOINETTE E.
30 PILOT ST
APT 4E
BRONX, NY 10464                                      P‐0021766 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SAUER, JEFFREY
DIVELBLISS, GAIL L.
9929 ARBUCKLE DR
LAS VEGAS, NV 89134                                  P‐0021767 10/30/2017     TK Holdings Inc., et al .                   $15,000.00                                                                                    $15,000.00
ZUDICK, ALAN H.
70 HILLCREST RD
BOONTON, NJ 07005                                    P‐0021768 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
CUCCHISSI, PAUL G.
COGAN, CHARLENE A.
12 WINTERSET RD
GREENWICH, CT 06830                                  P‐0021769 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
WOLFE, SCOTT A.
24081 IRONHEAD LANE
LAGUNA NIGUEL, CA 92677                              P‐0021770 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
MABE, RONALD L.
1754 NW 143RD AVE
PORTLAND, OR 97229                                   P‐0021771 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
RIALON, JOHN R.
RIALON, ROSE A.
35 WHEATLAND CIRCLE
LEB17042ANON, PA                                     P‐0021772 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
OCARROLL, HAROLD T.
OCARROLL, GISELE M.
PO BOX1188
QUENTIN, PA 17083                                    P‐0021773 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
CUCCHISSI, PAUL G.
COGAN, CHARLENE A.
12 WINTERSET RD
GREENWICH, CT 06830                                  P‐0021774 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SIMONYAN, IZABEL
ALASKAUSA FEDERAL CREDIT UNIO
IZABEL SIMONYAN
308 E VERDUGO AVE UNIT C
BURBANK, CA 91502                                    P‐0021775 11/10/2017     TK Holdings Inc., et al .                   $11,153.00                                                                                    $11,153.00
MARKLEY, SUSAN M.
715 HAMPTON TRACE LANE
MILTON, GA 30004                                     P‐0021776 11/10/2017     TK Holdings Inc., et al .                 $2,000,000.00                                                                                $2,000,000.00
INGRAM, ROBERT S.
202 W. FARIS RD.
GREENVILLE, SC 29605                                 P‐0021777 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00


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                                                                                                                    Current General                                          Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
WHITE, MISCHA A.
BRADLEY, SHARON R.
29935 YORKTON ROAD
MURRIETA, CA 92563                                   P‐0021778 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
NGUYEN, LISA
P.O. BOX 8273
PORTLAND, OR 97207                                   P‐0021779 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SCHMIDT, KEVIN J.
830 WISCONSIN ST
APT 2
OSHKOSH, WI 54901                                    P‐0021780 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
MACCHIA, THERESA M.
MACCHIA, RALPH J.
53 CONCORD STREET
LYNBROOK, NY 11563                                   P‐0021781 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ROGERS, JANE A.
ROGERS, STEVE D.
3544 WEST STATE ROAD 124
WABASH, IN 46992                                     P‐0021782 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
TERAMOTO, NANCY E.
140 LANDMARK DR
CHICO, CA 95973                                      P‐0021783 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
CUCCHISSI, PAUL G.
COGAN, CHARLENE A.
12 WINTERSET RD
GREENWICH, CT 06830                                  P‐0021784 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
WALTERS, KENNETH E.
11148 MALAYSIA CIRCLE
BOYNTON BEACH, FL 33437                              P‐0021785 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
HIGNITE, DOUG E.
2021 BETHEL HYGIENE ROAD
BETHEL, OH 45106                                     P‐0021786 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
MARKLEY, ANDREW S.
715 HAMPTON TRACE LANE
MILTON, GA 30004‐3077                                P‐0021787 11/10/2017     TK Holdings Inc., et al .                 $1,000,000.00                                                                                $1,000,000.00
DE GUZMAN, ADRIAN
1871 N CORNET PL
ANAHEIM HILLS, CA 92807                              P‐0021788 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
TAYLOR, DENISE L.
DENISE TAYLOR AGENCY
101 EVERGREEN DRIVE
GREENWOOD, SC 29649                                  P‐0021789 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LAFFEN, SHANE
514 7TH AVE. NE
SLEEPY EYE                                           P‐0021790 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
PEREZ, JOSE A.
PEREZ, JOSE
3960 COLEMAN AVE
SAN DIEGO, CA 92154                                  P‐0021791 11/10/2017     TK Holdings Inc., et al .                   $28,000.00                                                                                    $28,000.00
O'HEALY, TIMOTHY J.
6446 ALEXANDRI CIR
CARLSBAD, CA 92011                                   P‐0021792 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
BLUMA, JESSE
30‐F CORNICHE DRIVE
MONARCH BEACH, CA 92629                              P‐0021793 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BRADLEY, DANIEL
6913 DEER RUN DRIVE
ALEXANDRIA, VA 22306                                 P‐0021794 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOHERTY, MICHAEL S.
2104 FOX TRAIL CT
REISTERSTOWN, MD 21136                               P‐0021795 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATEO, ANTONIO L.
24 NISA LANE
ROCHESTER, NY 14606                                  P‐0021796 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATEO, ANTONIO L.
NO ADDRESS PROVIDED
                                                     P‐0021797 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARDINER, DENNIS E.
GARDINER, LINDA M.
18240 TOYON ROAD
PINE GROVE, CA 95665                                 P‐0021798 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARCHIE, NATALIE K.
457 W BELMONT AVENUE
APT. B‐64
CHICAGO, IL 60657                                    P‐0021799 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAMIANO, MICHAEL P.
1603 N CHRISTENSEN RD
MEDICAL LAKE, WA 99022                               P‐0021800 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, ARTHUR P.
CARTER, DONNA R.
15 VIA ASALEA
SAN CLEMENTE, CA 92673                               P‐0021801 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REVARD, SCOTT N.
311 SKYLINE DRIVE
SAN RAMON, CA 94583                                  P‐0021802 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAMIANO, MICHAEL P.
1603 N CHRISTENSEN RD
MEDICAL LAKE, WA 99022                               P‐0021803 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOHERTY, MARY H.
2104 FOX TRAIL CT
RESITERSTOWN, MD 21136                               P‐0021804 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DI PAOLO, THOMAS J.
THOMAS J DI PAOLO
7420 SE 118TH DRIVE
PORTLAND, OR 97266‐4928                              P‐0021805 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADLEY, MELISSA
BRADLEY, DANIEL
6913 DEER RUN DRIVE
ALEXANDRIA, VA 22306                                 P‐0021806 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRENNAN, PATRICK
35 LEDYARD PL
STATEN ISLAND, NY 10305                              P‐0021807 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHEDLER, CHRISTOPHER L.
361 MIDFIELD DR.
ELLENSBURG, WA 98926                                 P‐0021808 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEMING, MINER C.
1441 S CORTEZ RD
APACHE JUNCTION, AZ 85119                            P‐0021809 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIPACE, DOROTHY A.
661 LA MELODIA DRIVE
LAS CRUCES, NM 88011                                 P‐0021810 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
KEENAN, PATRICK L.
5255 ST HWY 325
BLAIRSVILLE, GA 30512                               P‐0021811 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINSON, JUDY L.
28866 VERMILLION LANE
BONITA SPRINGS, FL 34135                            P‐0021812 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGSTROM, CONNIE J.
1603 N CHRISTENSEN RD
MEDICAL LAKE, WA 99022                              P‐0021813 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSON, INGE W.
2121 DONALD DRIVE #4
MORAGA, CA 94556                                    P‐0021814 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIGNITE, DOUG E.
2021 BETHEL HYGIENE ROAD
BETHEL, OH 45106                                    P‐0021815 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRENKEL, ELIZABETH H.
413 NE 70TH ST
UNIT 211
SEATTLE, WA 98115                                   P‐0021816 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRASEL, CORY
10204 N FARLEY AVE
KANSAS CITY, MO 64157                               P‐0021817 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAWFORD, JAURRON D.
5851 NINA PL.
ST.LOUIS, MO 63112                                  P‐0021818 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONDAAL, MEGAN T.
8718 SOUTH COLLEGE AVENUE
TULSA, OK 74137                                     P‐0021819 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORMAN, STEPHEN D.
12816 SE 26TH PL
BELLEVUE, WA 98005                                  P‐0021820 11/10/2017     TK Holdings Inc., et al .                     $641.18                                                                                       $641.18
BRASEL, CORY
10204 N FARLEY AVE
KANSAS CITY, MO 64157                               P‐0021821 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICKLE, JOANNA S.
MICKLE, CAROLINE S.
3037 OLD BRIDGEPORT WAY
SAN DIEGO, CA 92111                                 P‐0021822 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALTIMONTE, CAROL A.
40 ARLINGTON ROAD
UTICA, NY 13501                                     P‐0021823 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREMMERT, AARON R.
28509 OLD FORT BOISE RD
PARMA, ID 83660                                     P‐0021824 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIGNITE, MARIAN L.
2021 BETHEL HYGIENE ROAD
BETHEL, OH 45106                                    P‐0021825 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EMBLER, JUDITH D.
2241 NE 158TH AVENUE
PORTLAND, OR 97230                                  P‐0021826 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LABUZ, RONALD M.
40 ARLINGTON ROAD
UTICA, NY 13501                                     P‐0021827 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
NGUYEN, TOAN
1450 SANTA DIANA RD
UNIT 6
CHULA VISTA, CA 91913                                P‐0021828 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAILEY, ALISON M.
227 HADDRELL STREET
MOUNT PLEASANT, SC 29464                             P‐0021829 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PELLEGRINI IMAZ, INGRID S.
CATRAVAS‐GRIMANI, ANTHONY
500 ARTHUR ST.
NOVATO, CA 94947                                     P‐0021830 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRASEL, CORY
10204 N FARLEY AVE
KANSAS CITY, MO 64157                                P‐0021831 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIBARGER, JONATHAN M.
NIBARGER, TRICIA A.
16408 OAKMONT ST.
OVERLAND PARK, KS 66221                              P‐0021832 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDMOND, DARNEL
10413 HAAS AVENUE
, CA 90047                                           P‐0021833 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBSON, BRAD
12572 FIELDSTONE LANE #81
GARDEN GROVE, CA 92845                               P‐0021834 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECKERT, DOUGLAS M.
253 BENITEZ WAY
CLYDE, NC 28721                                      P‐0021835 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLOMBA, SHARON M.
1394 SAINT PAUL CHURCH RD
CLOVER, SC 29710                                     P‐0021836 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TESTER, TERESA C.
2616 CRACKERS NECK RD.
MOUNTAIN CITY, TN 37683                              P‐0021837 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACK, JESSICA A.
2227 S. 10TH
ST. LOUIS, MO 63104                                  P‐0021838 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECKERT, DOUGLAS M.
253 BENITEZ WAY
CLYDE, NC 28721                                      P‐0021839 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARGLIN, STEPHEN A.
102 LEONARD ROAD
SHUTESBURY, MA 01072                                 P‐0021840 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, DIANA L.
4779 OLD POST COURT
BOULDER, CO 80301                                    P‐0021841 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOGLE JR, JAMES G.
BOGLE, CAROLYN L.
6523 OLDE KNIGHT PKWY
COLUMBIA, SC 29209                                   P‐0021842 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOHE, JAMES M.
YOHE, HAZEL L.
241 MONTECITO DR
PAHRUMP, NV 89048                                    P‐0021843 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERKOWITZ, LYNNE A.
238 ROOSEVELT WAY
WESTBURY, NY 11590                                   P‐0021844 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HUNTER, NEIL R.
5933 WHITE HERON RD
WILMINGTON, NC 28412                                 P‐0021845 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, CATHIE
398 GENTRY ST
SPARTANBURG, SC 29303                                P‐0021846 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, DEIDRE
11502 IVORY CREEK DRIVE
PEARLAND, TX 77584                                   P‐0021847 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOGLE JR, JAMES G.
6523 OLDE KNIGHT PKWY
COLUMBIA, SC 29209                                   P‐0021848 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOGLE JR, JAMES G.
BOGLE, CAROLYN L.
6523 OLDE KNIGHT PKWY
COLUMBIA, SC 29209                                   P‐0021849 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAJDA, DONALD S.
1228 BALLYCASTLE LANE
CORINTH, TX 76210                                    P‐0021850 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANCRO, KATHY A.
2345 APPALOOSA CIRCLE
SARASOTA, FL 34240                                   P‐0021851 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEZDEZOWSKI, DOV B.
82 POERLAND PLACE
STATEN ISLAND, NY 10301                              P‐0021852 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVERY, JOHN D.
6394 PAT AVE
PORT ARTHUR, TX 77640‐1255                           P‐0021853 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERCE, STEPHEN A.
BELMONT, JAMES G.
2 ARDEN MILLS WAY #2202
FITCHBURG, MA 01420                                  P‐0021854 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SRIRATTANA‐AREE, PORNKAEW
FRISQUE, ANDREW P.
64562 BRAE BURN AVE
DESERT HOT SPRIN, CA 92240                           P‐0021855 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JABLONOWSKI, GREGORY
481 POPPY ST
FULLERTON, CA 92835                                  P‐0021856 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINSLOW, LISA A.
WINSLOW, WARREN L.
32669 BLUE MIST WAY
WILDOMAR, CA                                         P‐0021857 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, MICHAEL
GRAHAM, AMBER
14865 MULBERRY DRIVE
UNIT 1108
WHITTIER, CA 90604                                   P‐0021858 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, DONALD A.
WILSON, CLAIRE F.
26452 MONTECITO LANE
MISSION VIEJO, CA 92691                              P‐0021859 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILFORD, KEITH A.
14552 CHERRYWOOD LANE
TUSTIN, CA 92780                                     P‐0021860 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SRIRATTANA‐AREE, PORNKAEW
FRISQUE, ANDREW P.
64562 BRAE BURN AVE
DESERT HOT SPRIN, CA 92240                          P‐0021861 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLES, MICHAEL K.
5016 WEST WASHINGTON BLVD APT
LOS ANGELES, CA 90016                               P‐0021862 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEIGER, PATRICIA
GEIGER, PATRICIA
4741 2ND AVE NE
SEATTLE, WA 98105                                   P‐0021863 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEKKA, NORA
10448 EMBER GLEN DR
AUSTIN, TX 78726                                    P‐0021864 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HETTLER, PAULA B.
717 JK ST.
MCALLEN, TX 78501                                   P‐0021865 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROCKER SR, ROBERT A.
9100 E TERN DR
PALMER, AK 99645                                    P‐0021866 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DREWS, JILLIAN R.
912 CHURCHILL ST. W
STILLWATER, MN 55082                                P‐0021867 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROVER, KAREN K.
1806 MARIE PEINE CT.
WENTZVILLE, MO 63385                                P‐0021868 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAUPIN, JUANITA S.
4509 CASTLE COMBE PLACE
N RICHLAND HILLS, TX 76180                          P‐0021869 11/10/2017     TK Holdings Inc., et al .                   $16,000.00                                                                                   $16,000.00
NELSON, PETE
NELSON, PETE
TAKATA
22721 SWEETMEADOW
MISSION VIEJO, CA 92692                             P‐0021870 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHETSTONE, FOREST M.
WHETSTONE, STACY R.
1648 MOUNTAIN VALLEY RD
BUCHANAN, VA 24066                                  P‐0021871 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEKKA, WAHBY
10448 EMBER GLEN DR
AUSTIN, TX 78726                                    P‐0021872 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HETTLER, PAULA B.
717 JK ST.
MCALLEN, TX 78501                                   P‐0021873 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, JEFFREY D.
1766 12TH ST
OAKLAND, CA 94607‐1428                              P‐0021874 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISOM‐RAPP, SUSAN
BISOM‐RAPP, CHARLES
13352 BARBADOS WAY
DEL MAR, CA                                         P‐0021875 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, RONALD P.
LEWIS, BEVRLY A.
P.O.BOX 1367
CASPER, WY 82602‐1367                               P‐0021876 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ALGUIRE, MARY S.
1235 N HILLCREST AVE
FAYETTEVILLE, AR 72703‐1923                         P‐0021877 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWENS, ANDREW G.
1822 CARLSBAD PLACE
DAVIS, CA 95616                                     P‐0021878 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLLAK, NOAH R.
1112 OREGON ST
BERKELEY, CA 94702                                  P‐0021879 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUSTIN, MICHAEL A.
1428 ELECTRIC AVE
BELLINGHAM, WA 98229                                P‐0021880 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENS, KATHY C.
3515 CHESTNUT DRIVE
NORCO, CA 92860                                     P‐0021881 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, JEFFREY D.
1766 12TH ST
OAKLAND, CA 94607‐1428                              P‐0021882 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINSLOW, WARREN L.
WINSLOW, LISA A.
32669 BLUE MIST WAY
WILDOMAR, CA                                        P‐0021883 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURTIS‐CARTER, PAULA V.
3 PINEWOOD AVE
SARATOGA SPRINGS, NY 12866                          P‐0021884 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, CINDI R.
18812 SE 262ND ST
COVINGTON, WA 98042                                 P‐0021885 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEARDEN, DAWN M.
13594 E. RIALTO AVE
SANGER, CA 93657                                    P‐0021886 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAM, NGHIEP S.
1123 BRANDYBUCK WAY
SAN JOSE, CA 95121                                  P‐0021887 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWAB, INGRID U.
TRONOFF, CHARLES H.
146 N SUNSET DR
CAMANO ISLAND, WA 98282                             P‐0021888 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REQUIEZ, ROMMEL L.
REQUIEZ, JILL S.
7185 S. DURANGO DR.
UNIT ‐ 108
LAS VEGAS, NV 89113                                 P‐0021889 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON BOYD, SHAWNTEEHA
259 WINDING HILL DRIVE
HACKETTSTOWN, NJ 07840                              P‐0021890 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENCIA, RAEANNA S.
17400 ARROW BLVD APT#54
FONTANA, CA 92335                                   P‐0021891 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEZAR, DANIEL L.
1857 VISTA POINTE
HENDERSON, NV 89012                                 P‐0021892 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOECKLE, CRYSTAL A.
1144 TICE DRIVE
MILPITAS, CA 95035                                  P‐0021893 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MCWILLIAMS, SCOTT M.
3601 WILDEWOOD DR.
SAN ANGELO, TX 76904                                  P‐0021894 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAM, NGHIEP S.
1123 BRANDYBUCK WAY
SAN JOSE, CA 95121                                    P‐0021895 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLLAK, ERIKA T.
1112 OREGON ST
BERKELEY, CA 947024S4                                 P‐0021896 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERCE, PAUL B.
44799 MALOW AVENUE
STERLING HEIGHTS, MI 48314                            P‐0021897 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAVELING, ANDREW K.
9737 BISCAYNE LANE
LAS VEGAS, NV 89117                                   P‐0021898 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITESIDE, DAVID R.
P.O. BOX 2506
NOVATO, CA 94948                                      P‐0021899 11/10/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
ALLEN, CRAIG S.
ALLEN, KAY S.
1480 APPLEWOOD CT W
#413
ROOSEVILLE, MN 55113                                  P‐0021900 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOWNING, KEVIN J.
3085 32ND STREET
APT 4F
ASTORIA, NY 11102                                     P‐0021901 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERCE, SHARON J.
44799 MALOW AVENUE
STERLING HEIGHTS, MI 48314                            P‐0021902 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUG, SERGIO
4671 HAMILTON ST
UNIT 10
SAN DIEGO, CA 92116                                   P‐0021903 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANSON, SARAH
P.O. BOX 9190
MAMMOTH LAKES, CA 93546                               P‐0021904 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRISWELL, PAUL S.
BOX 496
302 RIDGEWAY DR.
GLENWOOD, IA 51534                                    P‐0021905 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STODDARD, ZANE
13403 HALCOURT AVE
NORWALK, CA 90650                                     P‐0021906 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTER, TRACI
P O BOX 297
SILVERHILL, AL 36576                                  P‐0021907 11/10/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
GARDNER, JAMES E.
NO ADDRESS PROVIDED
                                                      P‐0021908 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARDOSO, JOANN M.
7 SUGAR PINE DR
CUMBERLAND, RI 02864                                  P‐0021909 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WHITESIDE, BAY EQUIPM
WHITESIDE, MICHELLE
BAY EQUIPMENT LLC
P.O. BOX 2506
NOVATO, CA 94948                                    P‐0021910 11/10/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
NGUYEN, HOA
10428 SHELTER GROVE
EDEN PRAIRIE, MN 55347                              P‐0021911 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSON, MARK S.
HANSON, LISA M.
696 MCFADDENS TRAIL
EAGAN, MN 55123                                     P‐0021912 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, DOMINICK
70 BROWN AVENUE, 2ND FLOOR
2ND FLOOR
PROSPECT PARK, NJ 07508                             P‐0021913 11/10/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
HAWLEY, JENNIFER L.
2829 LINDALE AVE
DAYTON, OH 45414                                    P‐0021914 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIAO, DAVID
SIAO, CHENG
7129 GREENFORD WAY
ROSEVILLE, CA 95747                                 P‐0021915 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNDERWOOD, JASMINE M.
167 WEST AVENUE
PLAIN CITY, OH 43064                                P‐0021916 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCANLON, MICHAEL R.
JUDITH F. S
25115 TERRACE LANTERN
DANA POINT, CA 92629                                P‐0021917 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAIDER, RICHARD C.
1 CHELTENHAM PLACE
CLIFTON PARK, NY 12065                              P‐0021918 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAFF, GARY D.
GRAFF, CANDIS L.
707 SOUTH 45TH AVENUE
YAKIMA, WA 98908                                    P‐0021919 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARVA, RODNEY S.
7270 LINGFIELD DR
RENO, NV 89502                                      P‐0021920 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLEASON, YVONNE J.
1747 7TH ST
APT 5
RIVERSIDE, CA 92507                                 P‐0021921 11/10/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
SEALEY, BRENT N.
5222 LYSANDER LANE
BRENTWOOD, TN 37027                                 P‐0021922 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFE, TATUM G.
24081 IRONHEAD LANE
LAGUNA NIGUEL, CA 92677                             P‐0021923 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZINGLER, DONALD
404 PARK AVENUE
ALCESTER, SD 57001                                  P‐0021924 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARKE, MAURICE F.
5422 HARRIET PL
WEST PALM BEACH, FL 33407                           P‐0021925 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LARVA, RODNEY S.
7270 LINGFIELD DR
RENO, NV 89502                                       P‐0021926 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOKLEY, KARA M.
NO ADDRESS PROVIDED
                                                     P‐0021927 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCANLON, MICHAEL R.
JUDITH F. S
25115 TERRACE LANTERN
DANA POINT, CA 92629                                 P‐0021928 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARRO, CATHERINE A.
408 MONTGOMERY STREET
OGDENSBURG, NY 13669                                 P‐0021929 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFE, SCOTT A.
24081 IRONHEAD LANE
LAGUNA NIGUEL, CA 92677                              P‐0021930 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHBY, JANELLE W.
P.O. BOX 414
SHIPSHEWANA, IN 46565                                P‐0021931 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEPINTO, DAVID
1 CAREN CT
SYOSSET, NY 11791                                    P‐0021932 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RALYEA, BONNIE L.
145 WELLES ST
WOONSOCKET, RI 02895                                 P‐0021933 11/10/2017     TK Holdings Inc., et al .                    $3,420.00                                                                                    $3,420.00
TORRES JR, WILLIAM
P.O. BOX 171
BATAVIA, NY 14056                                    P‐0021934 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHICCHELLY, LAWRENCE P.
CHICCHELLY, LORI A.
3318 LEADO AVE
DES MOINES, IA 50310                                 P‐0021935 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERLAND, LINDA
943 EVELYN AVENUE
ALBANY, CA 94706                                     P‐0021936 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORNBERGER, WILLIAM B.
AMERICAN SHOOTING CENTEE
1333 ELDRIDGE PARKWAY #235
HOUSTON, TX 77077                                    P‐0021937 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMONYAN, IZABEL
ALASKAUSA FEDERAL CREDIT UNIO
308 E VERDUGO AVE UNIT C
BURBANK, CA 91502                                    P‐0021938 11/10/2017     TK Holdings Inc., et al .                   $11,153.00                                                                                   $11,153.00
RIOS, MICHAEL D.
1159 W. OLDS RIVER DRIVE
MERIDIAN, ID 83642                                   P‐0021939 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFE, TATUM G.
24081 IRONHEAD LANE
LAGUNA NIGUEL, CA 92677                              P‐0021940 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAU, DENNIS V.
828 N. 21ST ST.
MONTEBELLO, CA 90640                                 P‐0021941 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOOTHE, JUDITH A.
THE J TRUST
4590 CITATION CT
BATAVIA, OH 45103‐9210                               P‐0021942 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
                                                                                           Page 1643 of 3875
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
EDMONDS, WILLIAM L.
65 GRANDE ISLE DRIVE
APT 317
WAKEFIELD, RI 02879                                   P‐0021943 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANTRELL, TAMARA K.
4 GREENVILLE STREET
PIEDMONT, SC 29673                                    P‐0021944 10/31/2017     TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
GOODMANJR, HAROLD R.
59 FENWICK STREET 3RD FLR
SPRINGFIELD, MA 01109                                 P‐0021945 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, KENNETH
1001 LINDGREN BLVD
SANIBEL, FL 33957                                     P‐0021946 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWLIN, RICHARD A.
4409 COYLE ST.
HOUSTON, TX 77023                                     P‐0021947 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, SHEILA D.
8840 SOUTH MOBILE AVE
UNIT 305
OAKLAWN, IL 60453                                     P‐0021948 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANZLICEK, ELSA P.
1500 NW 108 AVE APT 223
PLANTATION, FL 33322                                  P‐0021949 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ST GEORGES, ERLINE
17367 NW 7TH AVE #105
MIAMI, FL 33169                                       P‐0021950 10/31/2017     TK Holdings Inc., et al .                   $17,286.26                                                                                   $17,286.26
CLARK, LISA M.
61 LEXINGTON PLACE SOUTH
DURHAM, CT 06422‐1915                                 P‐0021951 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, PETER J.
CARYL‐WILLIAMS, ARLENE
2243 ROSEMOORE WALK
MARIETTA, GA 30062                                    P‐0021952 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARPENTER, MARCELLA
4301 GARY LANE
BATAVIA, OH 45103‐1607                                P‐0021953 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, MARLON R.
403 EAST OHIO AVE
BESSEMER CITY, NC 28016                               P‐0021954 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUFFORD, WALTER H.
HUFFORD, DOROTHY M.
56 GINGUITE TRAIL
56 GINGUITE TRAIL
KITTY HAWK, NC 27949                                  P‐0021955 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBRIGHT, CATHERINE C.
5859 LAKE LUCINA DRIVE S
JACKSONVILLE, FL 32211                                P‐0021956 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICE, BEVERLY A.
8503 PARKLAND CIRCLE
APT 107
CHARLOTTE, NC 28227                                   P‐0021957 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENS, DEBORAH L.
8332 W 90TH AVE
WESTMINSTER, CO 80045                                 P‐0021958 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
POKORNY, JENNIFER C.
POKORNY, MICHAEL P.
5111 PLATEAU COURT
WATERFORD, WI 53185                                   P‐0021959 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DI ORIO, RICHARD J.
2323 NW 190TH AVENUE
PEMBROKE PINES, FL 33029                              P‐0021960 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINNIKE, RICHARD P.
WINNIKE, ELISABETH
127 MOUNTAIN LAUREL WAY
GEORGETOWN, TX 78633                                  P‐0021961 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DI ORIO, RICHARD J.
2323 NW 190TH AVENUE
PEMBROKE PINES, FL 33029                              P‐0021962 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THE HALLIDAY REVOCABLE LIV TR
15803 E EAGLE ROCK DRIVE
FOUNTAIN HILLS, AZ 85268‐1846                         P‐0021963 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMYTHE, JEFFREY R.
3475 STONEVISTA LANE
COLUMBUS, OH 43221                                    P‐0021964 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, ADAM L.
2801 WELLS BRANCH PARKWAY
APT #213
AUSTIN, TX 78728                                      P‐0021965 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, ROBERT F.
31 AUDREY ROAD
BELMONT, MA 02478                                     P‐0021966 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, DONNA G.
4007 LAMBERT COVE
BIRMINGHAM, AL 35242                                  P‐0021967 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOSICK, RICHARD A.
NOVAK, KATHLEEN A.
302 ANGUS DRIVE
COLUMBIA, SC 29223‐7758                               P‐0021968 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCHANAN JR, ROBERT J.
550 VINE STREET
CHILLICOTHE, OH 45601                                 P‐0021969 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA, HECTOR
8203 CALTERRA DRIVE
PALM BEACH GARDE, FL 33418                            P‐0021970 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN II, ORLANDO M.
ALLEN, GLADYS R.
191 ISWA DR
TAYLORSVILLE, NC 28681                                P‐0021971 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPENCER, JOHN D.
754 AMWELL ROAD
HILLSBOROUGH, NJ 08844                                P‐0021972 10/31/2017     TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
MALLABO, REGINO B.
MALLABO, ROSALINA L.
213 SORRENTO ROAD
KISSIMMEE, FL 34759                                   P‐0021973 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNOWLES, ELAINE A.
KNOWLES, TERRENCE
4010 SW 30 TERRACE
GAINESVILLE, FL 32608                                 P‐0021974 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MCCLUER, MICHELLE
9767 OLEANDER AVENUE
VIENNA, VA 22181                                      P‐0021975 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MBEWE, NELLIE C.
39 LA CASCADA
RANCHO SANTA MAR, CA 92688                            P‐0021976 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIVERTS, ROBIN M.
6109 W. SAGUARO PARK LANE
GLENDALE, AZ 85310                                    P‐0021977 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARREN, KEITH A.
11590 MACON
EADS, TN 38028                                        P‐0021978 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, BRIDGET A.
706 CHURCHILL DRIVE
CHARLESTON, WV 25314                                  P‐0021979 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRATT, TROY L.
5803 TRAIL LAKE DRIVE
ARLINGTON, TX 76016                                   P‐0021980 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLUM, LOREN C.
116 BERT AVE
WESTBURY, NY 11590                                    P‐0021981 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAINFORD KING, EMMA M.
14750 HOPI ROAD
APPLE VALLEY, CA 92307                                P‐0021982 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, SOLEDAD
8224 THOMAS WAY
LAMONT, CA 93241                                      P‐0021983 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                      P‐0021984 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEED, CARL G.
P.O. BOX 930
BULLARD, TX 75757‐0930                                P‐0021985 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUDOWSKI, DENNIS J.
RUDOWSKI, SHARON A.
3300 KEATING RD
PENSACOLA, FL 32504‐7413                              P‐0021986 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIGLIORE, JOHN M.
610 HERTEL AVE
BUFFALO, NY 14207                                     P‐0021987 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LI, YUEMIN
4040 CHAUCER PL
SLINGERLANDS, NY 12159                                P‐0021988 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRATT, TROY L.
5803 TRAIL LAKE DRIVE
ARLINGTON, TX 76016                                   P‐0021989 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLUM, CRAIG R.
116 BERT AVE
WESTBURY, NY 11590                                    P‐0021990 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWERS, MARILYN S.
1013 COULTER RD.
SHERWOOD, AR 72120                                    P‐0021991 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTPHAL, JUDITH E.
2297 TIGER COURT
GREEN BAY, WI 54311                                   P‐0021992 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
COHEN‐RICHARDS, SHERRY E.
10732 ESMERALDAS DRIVE
SAN DIEGO, CA 92124                                 P‐0021993 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CABALLERO, MARIA I.
644 GARDENIA PLACE
SOLEDAD, CA 93960                                   P‐0021994 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGILL, KRIS
10497 SW WINDWOOD WAY
PORTLAND, OR 97225                                  P‐0021995 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, SHAPRI
1531 E. EVELYN AVENUE
HAZEL PARK, MI 48030                                P‐0021996 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAGONE, ANDREW
10025 MESA ROAD
CASCADE, CO 80809                                   P‐0021997 11/10/2017     TK Holdings Inc., et al .                     $450.00                                                                                       $450.00
ANDERSON, CHRISTOPHER J.
417 RAGING RIVER RD
MASON, MI 48854                                     P‐0021998 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALES, KYLIE M.
GONZALES, ROBERTO F.
2511 LYNN CT
APT 6
NORTH PLATTE, NE 69101                              P‐0021999 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, JILL L.
P.O. BOX 212
CARVERSVILLE, PA 18913                              P‐0022000 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIMIN, YELENA
2711 CHOCOLATE STREET
PLEASANTON, CA 94588                                P‐0022001 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONROE, TANYA L.
18 VIA JOLITAS
RANCHO SANTA MAR, CA 92688                          P‐0022002 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIAZ, JACQUELINE S.
1018 S MANN AVE
TUCSON, AZ 85710                                    P‐0022003 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLSKE, WILLIAM J.
424 LINCOLN STREET
KEWAUNEE, WI 54216                                  P‐0022004 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLASIUS, TIFFANI A.
304 BROWN RD
ARCADIA, OH 44804                                   P‐0022005 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODING, GEORGE D.
GOODING, CAROLENE
1061 EAST JEFFERSON
SNOWFLAKE, AZ 85937                                 P‐0022006 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EASLEY, GLORIA L.
111 WHITE SQUIRREL DRIVE
KENTON, TN 38233                                    P‐0022007 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEE, THERESA D.
16219 EUCALYPTUS AVE
#9
BELLFLOWER, CA                                      P‐0022008 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'MALLEY, TIMOTHY S.
7565 PEACHTREE LN.
SYLVANIA, OH 43560                                  P‐0022009 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
DROUIN, KIMBERLY
22927 RIM WAY
GOLDEN HILLS, CA 93561                                P‐0022010 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, MICHAEL D.
LEWIS, ELIZABETH R.
1993 CHANNELFORD ROAD
WESTLAKE VILLAGE, CA 91361                            P‐0022011 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNETT, KIAN
P.O. BOX 331
GALVESTON, IN 46932                                   P‐0022012 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DROUIN, DARREN
22927 RIM WAY
GOLDEN HILLS, CA 93561                                P‐0022013 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWING, CAROL G.
223 DULA SPRINGS ROAD
WEAVERVILLE, NC 28787                                 P‐0022014 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, DAVID C.
3830 LAKE GARDEN DR
FALLBROOK, CA 92028/9597                              P‐0022015 11/10/2017     TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
BAILEY, GISELLE M.
413 HELIOTROPE AVE APT A
CORONA DEL MAR, CA 92625                              P‐0022016 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MODEHN, ALEXANDER E.
1151 S. ALPINE CIRCLE
GREEN VALLEY, AZ 85614                                P‐0022017 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAUGHT, GARY D.
VAUGHT, BARBARA E.
A TOP LINE, INC.
1000 ROOSEVELT DR
NOBLESVILLE
HAMILTON, IN 46060                                    P‐0022018 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONIS, KARINA
12262 FIREBRAND ST
GARDEN GROVE CA                                       P‐0022019 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELAFUENTE, CHARLES R.
12006 CYPRESSWOOD DRIVE
HOUSTON, TX 77070                                     P‐0022020 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOUNT, MATTHEW D.
23 ECHO COURT
MOORESTOWN, NJ 08057                                  P‐0022021 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWRENCE, WENDY M.
P.O. BOX 162563
FORT WORTH, TX 76161                                  P‐0022022 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WU, EFFIE K.
52 FUCHSIA
LAKE FOREST, CA 92630                                 P‐0022023 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, CINDY L.
P.O. BOX 668
ORANGEVALE, CA 95662                                  P‐0022024 11/10/2017     TK Holdings Inc., et al .                   $60,330.00                                                                                   $60,330.00
HARARY, ROBERT M.
412 DELA VINA AVENUE
APT. 1
MONTEREY, CA 93940                                    P‐0022025 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEARSON, DIANNE M.
293 CASINO DRIVE
FARMINGDALE, NJ 07727                                 P‐0022026 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SHECHTER, ALEXANDER
144 SPRING ST
SANTA CRUZ, CA 95060                                 P‐0022027 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIEDMAN, DAVID
24441 CALLE SONORA.#309
LAGUNA WOODS., CA 92637                              P‐0022028 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMPTON, JAMEL
2503 BRIERWOOD DR
ALBANY, GA 31705                                     P‐0022029 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORNER, CHRISTOPHER
HORNER, KIMBERLY S.
P.O. BOX 606
ELLENSBURG, WA 98926                                 P‐0022030 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCHISE MANAGEMENT SERVICES
9760 BIRCH CANYON PL.
SAN DIEGO, CA 92126                                  P‐0022031 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLIANCE, SLANDE C.
4811 SW 57TH DRIVE
GAINESVILLE, FL 32608                                P‐0022032 11/10/2017     TK Holdings Inc., et al .                     $350.00                                                                                       $350.00
WYROBEK, KRISTIAN G.
4728 W LK HARRIET PKWY
MINNEAPOLIS, MN 55410                                P‐0022033 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYON, KAREN
3640 W SANDRA TERRACE
PHOENIX, AZ 85053                                    P‐0022034 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOOMSTINE, CHRIS W.
INSURANCE MANAGEMENT CO.
P.O. BOX 1133
ERIE, PA 16512‐1133                                  P‐0022035 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWENS, GILBERT W.
7077 ALVERN ST APT A212
LOS ANGELES, CA 90045‐1982                           P‐0022036 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFPAUIR, NORMA
14104 SCHAEFFER ROAD
GERMANTOWN, MD 20874                                 P‐0022037 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, REBECCA S.
119 N. WINDWARD DR.
SAINT SIMONS ISL, GA 31522‐1110                      P‐0022038 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARDOZA, RAUL J.
710 LINDARAXA PARK S.
ALHAMBRA, CA 91801                                   P‐0022039 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAINFORD KING, EMMA M.
14750 HOPI ROAD
APPLE VALLEY, CA 92307                               P‐0022040 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYNSBURGER, ALYSHA M.
1579 MONSECCO ST
TULARE, CA 93274                                     P‐0022041 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHECHTER, ALEXANDER
144 SPRING ST
SANTA CRUZ, CA 95060                                 P‐0022042 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROCKER SR, ROBERT A.
9100 E TERN DR
PALMER, AK 99645                                     P‐0022043 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STORY, TRICIA M.
2505 COTTAGE WAY #1
SACRAMENTO, CA 95825                                 P‐0022044 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GRAHAM, MICHAEL
14865 MULBERRY DRIVE
UNIT 1108
WHITTIER, CA 90604                                   P‐0022045 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROYBAL, DARLENE A.
4164 BERNARDO CT
CHINO, CA 91710                                      P‐0022046 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISOM‐RAPP, SUSAN
BISOM‐RAPP, CHARLES
13352 BARBADOS WAY
DEL MAR CA/92014                                     P‐0022047 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, DIONNE
15632 GATEHOUSE DR.
ROANOKE, TX 76262                                    P‐0022048 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, GEORGE F.
11499 OAKLAWN ROAD
JACKSONVILLE, FL 32218                               P‐0022049 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARKE, MAURICE F.
5422 HARRIET PL
WEST PALM BEACH, FL 33407                            P‐0022050 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZELNICK, SCOTT E.
130 E67TH ST #8A
NEW YORK, NY 10065                                   P‐0022051 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENTESANA, ERNEST
14644 ALSTONE DR
FRISCO, TX 75035‐7262                                P‐0022052 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZELNICK, SCOTT E.
130 E67TH ST #8A
NEW YORK, NY 10065                                   P‐0022053 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWLEY, CAROL A.
3100 IMPERIAL WAY
#9
CARSON CITY, NV 89706                                P‐0022054 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIORDANO II, JOSEPH A.
8004 COATER ROW PLACE
BRADENTON, FL 34201                                  P‐0022055 10/27/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMSON, WILLIAM J.
107 AKERMAN PL
MOORESVILLE, NC 28115‐9405                           P‐0022056 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, BRENDA R.
1935 MUSTANG SPRING DR
MISSOURI CITY, TX 77459                              P‐0022057 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, KENISHA
13G COUNTRY CLUB DRIVE
CORAM, NY 11727                                      P‐0022058 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMBEL, CAROLE A.
HAMBEL, HENRY P.
29 MARY GRAY DR
CLYDE, NC 28721                                      P‐0022059 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRATCHFORD, JEFFERY A.
WRATCHFORD, DIANE T.
2255 STAGECOACH ST SW
LOS LUNAS, NM 87031                                  P‐0022060 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RABY, APRIL
10835 N TOREY LN
ORO VALLEY, AZ 85737                                 P‐0022061 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MEYNCKE, CHERYLE K.
127 KENTUCKY AV
TIPTON, IN 46072                                      P‐0022062 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRATCHFORD, JEFFERY A.
WRATCHFORD, DIANE T.
2255 STAGECOACH ST SW
LOS LUNAS, NM 87031                                   P‐0022063 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUMMINGS, JOHN E.
CUMMINGS, MARY L.
53 S MACON STREET
REYNOLDS, GA 31076                                    P‐0022064 10/30/2017     TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
VOLDMAN, NIKOLAY
2047 HOLLAND AVE., APT.3C
BRONX, NY 10462                                       P‐0022065 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEARY, JAMES L.
14008 W 95TH ST
LENEXA, KS 66215                                      P‐0022066 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCORMICK, TIMOTHY J.
4326 AUKAI AVE
HONOLULU, HI 96816                                    P‐0022067 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORTIZ, OLGA
601 GILWOOD AVE
LA PUENTE, CA 91744                                   P‐0022068 11/10/2017     TK Holdings Inc., et al .                     $698.00                                                                                       $698.00
WHITLEY, JOSEPH F.
111 VIRGINIA ST
SPRING HOPE, NC 27882                                 P‐0022069 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOBEL, BARRY
NOBEL, BESS
2570 JACKSON STREET
EUGENE, OR 97405                                      P‐0022070 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALVADALENA, GERRY A.
GERRY SALVADALENA
7304 89TH AVE SE
SNOHOMISH, WA 98290                                   P‐0022071 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTLEY, MARK R.
HUNTLEY, LAURA L.
2735 SKYLINE BLVD
RENO, NV 89509                                        P‐0022072 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOUT, SANDRA M.
210 FIELDCREST LANE
EPHRATA, PA 17522                                     P‐0022073 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, CHARLES R.
1817 150TH ST.
ESSEX, IA 51638                                       P‐0022074 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, ROBERT C.
MARTIN, ANNE H.
1950 HARBOUR INLET DRIVE
FORT LAUDERDALE, FL 33316                             P‐0022075 10/30/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
EARLS, WILLIAM B.
227 JEAN ST
BATESVILLE AR, AR 72501                               P‐0022076 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURAN, REYNAMARIA
486 S. ORANGE STREET
ORANGE, CA 92866                                      P‐0022077 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
GEHRINGER, LINDA M.
1010 SPENCER ST
LONGMONT, CO 80501                                    P‐0022078 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITLEY, JOSEPH F.
111 VIRGINIA ST
SPRING HOPE, NC 27882                                 P‐0022079 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAFKO, MARGARET A.
LAFKO, STEPHEN B.
850 STATE ST #418
SAN DIEGO, CA 92101                                   P‐0022080 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, JORGE T.
2845 SE 5 PLACE
HOMESTEAD, FL 33033                                   P‐0022081 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTLEY, MARK R.
HUNTLEY, LAURA L.
2735 SKYLINE BLVD
RENO, NV 89509                                        P‐0022082 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINSON, JUDY L.
28866 VERMILLION LANE
BONITA SPRINGS, FL 34135                              P‐0022083 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ITHACA CARSHARE INC
ITHACA CARSHARE INC
P.O. BOX 418
ITHACA, NY 14851                                      P‐0022084 11/10/2017     TK Holdings Inc., et al .                    $1,872.33                                                                                    $1,872.33
KEOUGH, COLLEEN M.
633 MILAN AVE
SOUTH PASADENA, CA 91030                              P‐0022085 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIS, ADORA M.
14911 COYOTE CIRCLE
URBANDALE, IA 50323                                   P‐0022086 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOUT, SANDRA M.
210 FIELDCREST LANE
EPHRATA, PA 17522                                     P‐0022087 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITLEY, JOSEPH F.
111 VIRGINIA ST
SPRING HOPE, NC 27882                                 P‐0022088 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEARY, CAROLE L.
19970 WINNERS CIRCLE
YORBA LINDA, CA 92886                                 P‐0022089 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ITHACA CARSHARE INC
ITHACA CARSHARE INC
P.O. BOX 418
ITHACA, NY 14851                                      P‐0022090 11/10/2017     TK Holdings Inc., et al .                    $1,872.33                                                                                    $1,872.33
FRAZIER, AIMEE J.
FRAZIER, CHRISTOPHER J.
259 W LIBERTY RD
SLIPPERY ROCK, PA 16057                               P‐0022091 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'BRIEN, TIM S.
3710 SHILOH RD
DEFOREST, WI 53532                                    P‐0022092 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTLEY, MARK R.
NO ADDRESS PROVIDED
                                                      P‐0022093 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLIPER, MYRON I.
1441 AUDUBON LANE
XENIA, OH 45385                                       P‐0022094 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
                                                                                            Page 1652 of 3875
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
FLOWERS, DEBORAH W.
853 PINE NEEDLE DR
BLACK CREEK, GA 31308                               P‐0022095 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ITHACA CARSHARE INC
ITHACA CARSHARE
P.O. BOX 418
ITHACA, NY 14851                                    P‐0022096 11/10/2017     TK Holdings Inc., et al .                    $1,872.33                                                                                    $1,872.33
NICOARA, RADU
SONOMA HOMES, LLC
2620 WAINWRIGHT PL.
WALLA WALLA, WA 99362                               P‐0022097 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURAN, REYNAMRIA
486 S. ORANGE STREET
ORANGE, CA 92866                                    P‐0022098 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITLEY, JOSEPH F.
111 VIRGINIA ST
SPRING HOPE, NC 27882                               P‐0022099 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ITHACA CARSHARE INC
ITHACA CARSHARE INC
P.O. BOX 418
ITHACA, NY 14851                                    P‐0022100 11/10/2017     TK Holdings Inc., et al .                    $1,872.33                                                                                    $1,872.33
PENALOZA, MARIA G.
6990 BANGOR AVE
HIGHLAND, CA 92346                                  P‐0022101 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLE, JULIANA L.
P.O. BOX 472
SEELEY LAKE, MT 59868                               P‐0022102 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ITHACA CARSHARE INC
ITHACA CARSHARE INC
P.O. BOX 418
ITHACA, NY 14851                                    P‐0022103 11/10/2017     TK Holdings Inc., et al .                    $1,872.33                                                                                    $1,872.33
BARBOSA, DEREK
6034 E CADBURY DR
ORANGE, CA 92869                                    P‐0022104 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSBAN, CHRISTINA A.
790 WEST AVE
GUSTINE, CA 95322                                   P‐0022105 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERALD, VERNON R.
28 ANDRASSY AV.
FAIRFIELD, CT 06824                                 P‐0022106 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRASS, LLOYD A.
610 E. 39TH AVE.
EUGENE, OR 97405                                    P‐0022107 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES, AUSTIN
POST BOX 156
MARIETTA, OK 73448                                  P‐0022108 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHROEDER, PENELOPE
1689 HENNESSEY RD
ONTARIO, NY 14519                                   P‐0022109 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYES, MIGUEL A.
REYES, LOURDES
930 S PINE AVENUE
RIALTO, CA 92376                                    P‐0022110 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EURICH, RENEE L.
363 EAST STREET
SEBEWAING, MI 48759                                 P‐0022111 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PANTO, DANIELLE
2116 E. BERMUDA ST
LONG BEACH, CA 90814                                 P‐0022112 11/10/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
RAPACH, FRED
559 TEXAS HOLLOW ROAD
LUTTRELL, TE 37779                                   P‐0022113 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOSER, ABRAM G.
219 PARK AVENUE
MOUNT JOY, PA 17552                                  P‐0022114 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLYNN, KELLY C.
13919 101ST PL NE
KIRKLND, WA 98034                                    P‐0022115 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIM, TAE
NO ADDRESS PROVIDED
                                                     P‐0022116 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEJESUS, TANIA S.
6952 REGATTA DR
GRAND PRAIRIE, TX 75054                              P‐0022117 11/10/2017     TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
ITHACA CARSHARE INC
ITHACA CARSHARE INC
P.O. BOX 418
ITHACA, NY 14851                                     P‐0022118 11/10/2017     TK Holdings Inc., et al .                    $1,872.33                                                                                    $1,872.33
THORNE, WILLIAM I.
732 YUROK COURT
FREMONT, CA 94539                                    P‐0022119 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GABLE, STEVEN A.
45 CRESCENT BEACH RD
GLEN COVE, NY 11542                                  P‐0022120 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOWLER, ELIZABETH J.
2125 NATURE COVE CT
APT 207
ANN ARBOR, MI 48104                                  P‐0022121 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KISSICK, LEAH L.
P,O, BOX 3861
GETTYSBURB, PA 17325                                 P‐0022122 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TABONY, PAUL
P.O. BOX 11385
WESTMINSTER, CA 92685                                P‐0022123 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEEL, DONNA
67 AUSTRIAN DRIVE
ROMEOVILLE, IL 60446                                 P‐0022124 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLURE, CHRIS C.
3509 MORROW STREET
SACRAMENTO, CA 95821                                 P‐0022125 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EASLEY, GLORIA L.
111 WHITE SQUIRREL DRIVE
KENTON, TN 38233                                     P‐0022126 11/10/2017     TK Holdings Inc., et al .                   $17,500.00                                                                                   $17,500.00
KEIG, ARLENE C.
8997 CROOKED STICK COURT
NAPLES, FL 34113                                     P‐0022127 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAM, JENNIFER W.
LAM, KAI H.
483 ROSLYN ROAD
EAST WILLISTON, NY 11596                             P‐0022128 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
DEJESUS, TANIA S.
6952 REGATTA DR
GRAND PRAIRIE, TX 75054                               P‐0022129 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZINSZER, VIVIAN A.
4115 BUFFALO ROAD
ROCHESTER, NY 14624                                   P‐0022130 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVA, ANNETTE
3677 W BENJAMIN HOLT DR
APT 140
STOCKTON, CA 95219                                    P‐0022131 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, MICHAEL W.
320 HEMPSTEAD 217
HOPE, AR 71801‐8813                                   P‐0022132 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIEFERS, JOHN
6231 WILD PLUM DR
LOVELAND, CO 80537                                    P‐0022133 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZUDICK, KATHLEEN M.
70 HILLCREST RD
BOONTON, NJ 07005                                     P‐0022134 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBERMAN, ROBERT D.
29 VAN RIPPER LN
ORINDA, CA 94563                                      P‐0022135 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COVARRUBIAS, CIERRA E.
25792 IRIS AVE UNIT B MORENO
MORENO VALLEY, CA 92551                               P‐0022136 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAKIN, LINNEA L.
15425 SHERMAN WAY UNIT 209
VAN NUYS, CA 91406                                    P‐0022137 11/10/2017     TK Holdings Inc., et al .                     $582.97                                                                                       $582.97
BRIGHAM, ROBERT M.
840 BOURN DR
SPC 82
WOODLAND, CA 95776                                    P‐0022138 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLAGHER, JOHN
3060 N RIDGECREST, #111
MESA, AZ 85207                                        P‐0022139 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMBARDO, TERRY A.
7315 WEINGARTZ
CENTER LINE, MI 48015                                 P‐0022140 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROLL, JENNIFER L.
34 N SANTA CRUZ AVE
LOS GATOS, CA 95030                                   P‐0022141 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPENCER, WILLIAM E.
625 NORTHSHORE ROAD
LAKE OSWEGO, OR 97034                                 P‐0022142 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELUCCHI, KIM R.
2800 BRADEN AVENUE
#96
MODESTO, CA 95356                                     P‐0022143 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUMMINGS, RODNEY C.
12616 MITCHELL AVENUE #3
LOS ANGELES, CA 90066                                 P‐0022144 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSTER III, PETER R.
119 ALLEN LANE
DRUMS, PA 18222                                       P‐0022145 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SIEFERS, JOHN
6231 WILD PLUM DR
LOVELAND, CO 80537                                   P‐0022146 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONGLEY, DEBRA A.
DELL'OLIVER, ROBERT M.
4712 N. CASCABEL ROAD
BENSON, AZ 85602                                     P‐0022147 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMIREZ, REY C.
1101 WEST WORKMAN AVE.
WEST COVINA, CA 91790                                P‐0022148 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATON, JIM C.
MALONE, DONALD L.
5028 SWEETWOOD DR
EL SOBRANTE, CA 94803                                P‐0022149 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, ALAN L.
EDWARDS, GUISELLE
144 NE 106TH AVE
PORTLAND, OR 97220                                   P‐0022150 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYANT, TYSHAWN
651 W CALIFORNIA AVENUE #5
GLENDALE, CA 91203                                   P‐0022151 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'KEEFFE, ANDREAS
O'KEEFFE, ANDREAS
11 ANDERSON ST
CENTER MORICHES, NY 11934                            P‐0022152 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RULE, JOHN D.
18 GROVE ST
APT 9
GLEN HEAD, NY 11545                                  P‐0022153 11/10/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HART, CHARLES L.
31082 SENECA LANE
NOVI, MI 48377                                       P‐0022154 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHACHIKYAN, SAHAK
2307 PASEO DE CIMA
GLENDALE, CA 91206                                   P‐0022155 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGMANS, JOSEPH H.
27441 COUNTRY LANE RD
LAGUNA NIGUEL, CA 92677                              P‐0022156 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHACHIKYAN, SAHAK
2307 PASEO DE CIMA
GLENDALE, CA 9126                                    P‐0022157 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODARD, JOSEPH P.
9666 WEST 64 HWY BOX 396
SPRING HOPE, NC 27882                                P‐0022158 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUCK, JANET M.
86 3RD STREET
GLOVERSVILLE, NY 12078                               P‐0022159 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, PHILIP S.
16756 LIME STREET
UNIT C
HESPERIA, CA 92345                                   P‐0022160 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDRZEJEK ESCUDE, JOSE F.
ANDRZEJEK ESCUDE, CINDY A.
1550 W 100 S
PBM 790006
VIRGIN, UT 84779                                     P‐0022161 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BRIGHAM, ROBERT M.
840 BOURN DR
APT 82
WOODLAND, CA 95776                                    P‐0022162 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITLEY, FAN F.
111 VIRGINIA ST
SPRING HOPE, NC 27882                                 P‐0022163 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPIERS, VICTORIA J.
NO ADDRESS PROVIDED
                                                      P‐0022164 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEBORD, GARY L.
1409 CHILDRESS RD.
ALUM CREEK, WV 25003                                  P‐0022165 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEITSMA, DAVID B.
7138 KETTLE LAKE DRIVE
ALTO, MI 49302                                        P‐0022166 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COYNE, BRADLEY J.
9214 CALISTA DRIVE
NORTH RIDGEVILLE, OH 44039                            P‐0022167 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISH, ERIC L.
16502 135TH AVENUE CT. E.
SOUTH HILL, WA 98374‐9101                             P‐0022168 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEITSMA, DAVID B.
7138 KETTLE LAKE DRIVE
ALTO, MI 49302                                        P‐0022169 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, CAROLYN
CAROLYN JONES
5357 BENITO ST
MONTCLAIR, CA 91763                                   P‐0022170 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCAO, NOLAN C.
BUCAO, FLORENCE G.
91‐1741 KUAPUU ST
EWA, HI 96706                                         P‐0022171 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, ANDRE F.
7020 SOUTHMOOR STREET
UNIT 2108
HANOVER, MD 21076                                     P‐0022172 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, CEDRIC L.
36 WOODLAWN DR.
PALMYRA, VA 22963                                     P‐0022173 11/10/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
TEITSMA, DAVID B.
7138 KETTLE LAKE DRIVE
ALTO, MI 49302                                        P‐0022174 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AVANT, PAULA M.
5587 ERSHIRE CT
APT 101
VIRGINIA BEACH, VA 23462                              P‐0022175 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RADNOTY, CSABA
8230 CLEMENS AVE
WEST HILLS, CA 91304                                  P‐0022176 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEITSMA, DAVID B.
7138 KETTLE LAKE DRIVE
ALTO, MI 49302                                        P‐0022177 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, SCOTT B.
1921 AZTEC CT.
WEST LINN, OR 97068                                   P‐0022178 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WILLIAMS, CEDRIC L.
36 WOODLAWN DR.
PALMYRA, VA 22963                                     P‐0022179 11/10/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
SIRRINE, DESTA L.
P.O.BOX 2793
SALEM, OR 97308                                       P‐0022180 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEITSMA, DAVID B.
7138 KETTLE LAKE DRIVE
ALTO
ALTO, MI 49302                                        P‐0022181 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIMM, SARAH B.
700 W LA VETA AVE
UNIT G6
ORANGE, CA 92868                                      P‐0022182 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, GREAN R.
GREAN ANDERSON
5357 BENITO ST
MONTCLAIR, CA 91763                                   P‐0022183 11/10/2017     TK Holdings Inc., et al .                   $12,624.04                                                                                   $12,624.04
CASAS, MARK A.
27021 LA PAJA LANE
MISSION VIEJO, CA 92691                               P‐0022184 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, THERESE M.
128 ASHEVILLE DRIVE
HUNTSVILLE, AL 35811                                  P‐0022185 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRINH, ANTHONY
267 LESTER AVE, APT 401
OAKLAND, CA 94606                                     P‐0022186 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURAN, ANTHONY
11202 FREER AVE
ARCADIA, CA 91006                                     P‐0022187 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HICKEY, ROBERT J.
1756 NE 37TH ST
OAKLAND PARK, FL 33334                                P‐0022188 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASAS, MARK A.
27021 LA PAJA LANE
MISSION VIEJO, CA 92691                               P‐0022189 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAYNE, BERNICE E.
625 JAMES ST
ROSSVILLE, GA 30741                                   P‐0022190 11/10/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WEINMANN, ROBERT H.
25092 NATAMA CT
LAGUNA HILLS, CA 92653                                P‐0022191 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLOBODNIK, ELLEN V.
50‐C RIDGE ROAD
GREENBELT, MD 20770                                   P‐0022192 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICHOLS, PETER W.
60 CERRO CREST DRIVE
CAMARILLO, CA 93010                                   P‐0022193 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASAS, MARK A.
27021 LA PAJA LANE
MISSION VIEJO, CA 92691                               P‐0022194 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOVER, JAMES E.
STOVER, KIM H.
29 ROLAND WAY
MILFORD, MA 01757                                     P‐0022195 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TSOTAKOS, NIKOLAOS
215‐1/2 WOODLAND AVENUE
NEW CUMBERLAND, PA 17070                             P‐0022196 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIGGINS, RANELL
WIGGINS, RANDELL R.
2546 GANESHA AVENUE
ALTADENA, CA 91001                                   P‐0022197 11/10/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MUSTAIKES, THEODORE V.
MUSTAIKES, THERESIA M.
2 FERRY STREET BOX 13
EAST VANDERGRIFT, PA 15629                           P‐0022198 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TSOTAKOS, JENNIFER
215‐1/2 WOODLAND AVENUE
NEW CUMBERLAND, PA 17070                             P‐0022199 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRKLAND, TASHONDA
TK HOLDINGS INC/ TAKATA
322 SEMINOLE CT
PAHOKEE, FL 33476                                    P‐0022200 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPENCER, WILLIAM E.
625 NORTHSHORE ROAD
LAKE OSWEGO, OR 97034                                P‐0022201 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AKAO, AMY
6015 S. VIRGINIA ST. #E315
RENO, NV 89502                                       P‐0022202 11/10/2017     TK Holdings Inc., et al .                    $2,452.00                                                                                    $2,452.00
DAVERS, DAMON D.
P.O. BOX 322
VERNON, IN 47282                                     P‐0022203 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONG, GREGORY L.
LONG, PATSY J.
38624 NASTURTIUM WAY
PALM DESERT, CA 92211                                P‐0022204 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HADDAD, SAMUEL F.
21901 GRESHAM ST
WEST HILLS, CA 91304                                 P‐0022205 11/10/2017     TK Holdings Inc., et al .                   $16,000.00                                                                                   $16,000.00
JOHNSON, VERONICA L.
P.O. BOX 5222
EL DORADO HILLS, CA 95762                            P‐0022206 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRITANO, CHRISTINE
GARRITANO, JAMES
8611 W. STAR CIRCLE
LITTLETON, CO 80128                                  P‐0022207 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASIALA, SCOTT A.
8050 BACKUS ROAD
GREENVILLE, MI 48838                                 P‐0022208 11/10/2017     TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
OLSEN, ROBERT K.
52 WILD HORSE
IRVINE, CA 92602                                     P‐0022209 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, GEORGE A.
COX, LOVELY D.
600 TIMBERGATE DR.
GIBSONVILLE, NC 27249                                P‐0022210 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUGHN, KEN E.
105 ROSWELL AVE APT 4
LONG BEACH, CA 90803                                 P‐0022211 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MONTES, MICHELLE
10128 CAPISTRANO AVENUE
SOUTH GATE, CA 90280                                 P‐0022212 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIMMONS, STEENA E.
8238 VISALIA STREET
VENTURA, CA 93004                                    P‐0022213 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, GREAN R.
GREAN ANDERSON
5357BENITO ST
MONTCLAIR, CA 91763                                  P‐0022214 11/10/2017     TK Holdings Inc., et al .                   $19,571.00                                                                                   $19,571.00
BUCAO, NOLAN C.
BUCAO, FLORENCE G.
91‐1741 KUAPUU ST.
EWA, HI 96706                                        P‐0022215 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EKKATI, SEETHARAM R.
12697 WOLF SNARE DR
FRISCO, TX 75035                                     P‐0022216 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHITTAPHOUMIN, LINDA
CHITTAPHOUMIN, RACHA
3612 BALFOUR LANE
MODESTO, CA 95357                                    P‐0022217 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUFFEY GAMBLE, FAITH B.
1420 WALL AVE
SAN BERNARDINO, CA 92404                             P‐0022218 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMILTON, JOSHUA M.
16304 NE 143RD WAY
VANCOUVER, WA 98682                                  P‐0022219 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAWKS, CATHERINE A.
1300 WEST ASTER STREET
UPLAND, CA 91786‐2162                                P‐0022220 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAIN, CHANEL
500 NORTHSIDE CIR NW
APT E3
ATLANTA, GA 30309                                    P‐0022221 11/10/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MALMSTEN, DAVID
20 LAKESIDE PL W
PALM COAST, FL 32137                                 P‐0022222 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENIZ, LAURENTINA
20559 AMERICAN AVE
HILMAR CA
                                                     P‐0022223 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERS, TONI Y.
10307 NE 194TH ST.
BOTHELL, WA 98011                                    P‐0022224 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HSIAO, LUNG CHENG
17595 PAGE COURT
YORBA LINDA, CA 92886                                P‐0022225 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTHY, RAY G.
P O BOX 833
HOWE, TX 75759                                       P‐0022226 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHULTZ, JACOB Z.
707 OVERLOOK CT
MINOOKA, IL 60447                                    P‐0022227 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESCOBEDO, OSCAR
5 MINIKAHDA
DOVE CANYON, CA 92679                                P‐0022228 11/10/2017     TK Holdings Inc., et al .                     $750.00                                                                                       $750.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BROWN, GREGORY T.
1574 SKY ROCK WAY
CASTLE ROCK, CO 80109                                P‐0022229 11/10/2017     TK Holdings Inc., et al .                     $898.00                                                                                       $898.00
ESCOBEDO, OSCAR
5 MINIKAHDA
DOVE CANYON, CA 92679                                P‐0022230 11/10/2017     TK Holdings Inc., et al .                     $350.00                                                                                       $350.00
MCELROY, SCOTT
MCELROY, CYNTHIA
2009 RHODES LN
ROSEVILLE, CA 95747                                  P‐0022231 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCELROY, SCOTT
MCELROY, CYNTHIA
2009 RHODES LN
ROSEVILLE, CA 95747                                  P‐0022232 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATA, EMILIO
MATA, PATRICIA A.
14722 ELAINE AVE
NORWALK, CA 90650                                    P‐0022233 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAIBEL, GUENTER
1615 BEVERLY PLACE
BERKELEY, CA 94707                                   P‐0022234 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEIR, CLAYTON S.
P O BOX 1296
SALTVILLE
, VA 24370                                           P‐0022235 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRITANO, JAMES
GARRITANO, CHRISTINE
8611 W. STAR CIRCLE
LITTLETON, CO 80128                                  P‐0022236 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEIDER, GILBERT
1019 PARKVIEW BLVD
PITTSBURGH, PA 15217                                 P‐0022237 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURRIES, LATRENDA
1818 PEPPER TREE DRIVE
COLTON, CA 92324                                     P‐0022238 11/10/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
SCHNEIDER, ETHAN
1019 PARKVIEW BLVD
PITTSBURGH, PA 15217                                 P‐0022239 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, LISA C.
4117 CASPIAN TRACE
SNELLVILLE, GA 30039                                 P‐0022240 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCUTCHEON, SCOTT G.
MCCUTCHEON, KRISTA L.
19036 IRETON WAY
LAKEVILLE, MN 55044                                  P‐0022241 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROJAS, RYAN C.
2123 NW KINGWOOD AVE.
REDMOND, OR 97756                                    P‐0022242 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LO, GEORGE S.
TUNG, MEE LING A.
80 OAKMONT AVENUE
PIEDMONT, CA 94610                                   P‐0022243 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLEN, DEBBIE
HOLLEN, BRUCE
1799 SE 108TH AVE
HAPPY VALLEY, OR 97086                               P‐0022244 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
GARCIA, ANSELMO
1798 HENSHAW AVE
TULARE, CA 93274                                      P‐0022245 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLETCHER, JANAE L.
1911 EL MONTE AVE APT 6
SACRAMENTO, CA 95815                                  P‐0022246 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANE, GARY L.
2801 ALTON PARKWAY
#109
IRVINE, CA 92606                                      P‐0022247 11/10/2017     TK Holdings Inc., et al .                  $330,000.00                                                                                  $330,000.00
WEIR, CLAYTON S.
P O BOX 1296
SALTVILLE
, VA 24370                                            P‐0022248 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHLEY, ROSS D.
SANDRA
22510 RONNIE COURT
BAKERSFIELD, CA 93314                                 P‐0022249 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBS, RYAN E.
504 DOUGLAS ST APT F
BAKERSFIELD, CA 93308                                 P‐0022250 11/10/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
SIAO, DAVID
7129 GREENFORD WAY
ROSEVILLE, CA 95747                                   P‐0022251 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROJAS, JENNIFER A.
2123 NW KINGWOOD AVE.
REDMOND, OR 97756                                     P‐0022252 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASELLA, CHRISTINA M.
LUNA, DAVID
2346 WEBSTER STREET
NORTH BELLMORE, NY 11710                              P‐0022253 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, ELYSE M.
4055 RIDGE AVENUE, APT 6406
PHILADELPHIA, PA 19129                                P‐0022254 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIESTERFELD, BRYAN D.
5202 GALLATIN PLACE
BOULDER
BOULDER, CO 80303                                     P‐0022255 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASE, ROSWITHA L.
410 MILLS DR.
BENICIA, CA 94510                                     P‐0022256 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAINER, NED F.
RAINER, BERTHA L.
2311 MINERVA PARK PLACE
COLUMBUS, OH 43229                                    P‐0022257 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREER, HARVEY F.
1972 DARTFORD COVE
CORDOVA, TN 38016                                     P‐0022258 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREER, DIANA S.
1972 DARTFORD COVE
CORDOVA, TN 38016                                     P‐0022259 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHBY, BETTY J.
ASHBY, THEODORE H.
186 HUNTLEY CREEK LANE
ROSEBURG, OR 97470                                    P‐0022260 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
VERSCHELL, MARK S.
1312 MANU ALOHA STREET
KAILUA, HI 96734                                    P‐0022261 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOHAMED, SAMER
977 VISTA CERRO DRIVE
PASO ROBLES, CA 93446                               P‐0022262 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALMER, REED N.
408 BROAD STREET
CARRBORO, NC 27510                                  P‐0022263 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOHAMED, SAMER
977 VISTA CERRO DRIVE
PASO ROBLES, CA 93446                               P‐0022264 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEHRINGER, JOHN L.
GEHRINGER, KAREN S.
29325 39TH AVE S.
ROY, WA 98580‐7601                                  P‐0022265 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOHAMED, SAMER
977 VISTA CERRO DRIVE
PASO ROBLES, CA 93446                               P‐0022266 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKARR, VELMA
9930 GAY DRIVE
UPPER MARLBORO, MD 20772                            P‐0022267 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOHAMED, SAMER
977 VISTA CERRO DRIVE
PASO ROBLES, CA 93446                               P‐0022268 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARDNER, BRUCE J.
POB 338
JUNE LAKE CA                                        P‐0022269 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAI, HAOMING
1316 DATE AVE
ALHAMBRA, CA 91803                                  P‐0022270 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, EVELYN
1818 PEPPER TREE DRIVE
COLTON, CA 92324                                    P‐0022271 11/10/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GONZALES, EDWARD
1629 WINDMILL LN UNIT D
CORONA, CA 92879                                    P‐0022272 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIS, VIRGINIA L.
200 LIPSCOMB STREET
GARLAND, TX 75040                                   P‐0022273 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEFFRIES, MATTHEW B.
6438 DUCKETTS LANE
ELKRIDGE, MD 21075                                  P‐0022274 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOHAMED, SAMER M.
977 VISTA CERRO DRIVE
PASO ROBLES, CA 93446                               P‐0022275 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALANJIAN, SHANT
1817 RIVER BEND DR
REDLANDS, CA 92374                                  P‐0022276 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, LUCAS C.
WOOD, BRITNEY F.
LUCAS WOOD
22754 EASTPARK DR #1307
YORBA LINDA, CA 92887                               P‐0022277 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ROMERO, MIGUEL
19010 ROCKMEN ST
LAK ELSINORE, CA 92530                               P‐0022278 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHULTZ, JACOB Z.
707 OVERLOOK CT
MINOOKA, IL 60447                                    P‐0022279 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALINDER, KRISTIN A.
1820 RHODE ISLAND AVE N
GOLDEN VALLEY, MN 55427                              P‐0022280 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOHAMED, SAMER
977 VISTA CERRO DRIVE
PASO ROBLES, CA 93446                                P‐0022281 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRADY, KAREN L.
12908 COLBY DRIVE
WOODBRIDGE, VA 22192                                 P‐0022282 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, MICHAEL R.
15111FREEMAN AVE UNIT 4
LAWNDALE, CA 90260‐2160                              P‐0022283 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALDSMITH, DARWIN E.
P.O. BOX 39309
NINILCHIK, AK 99639                                  P‐0022284 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAVELLE, JOHN K.
596 SPRUCE ST.
BERKELEY, CA 94707                                   P‐0022285 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHEINBLUM, EDWARD
2824 S 80TH AVE
PHOENIX, AZ 85043                                    P‐0022286 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAVELLE, JOHN K.
596 SPRUCE
BERKELEY, CA 94707                                   P‐0022287 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHI, YI
18609 BROKEN OAK RD
BOYDS, MD 20841                                      P‐0022288 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENKINS, DAVID M.
1619 WILLIAM PENN DRIVE
NAPERVILLE, IL 60563                                 P‐0022289 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHHATRIWALA, MURTUZA
9384 BABAUTA RD #122
SAN DIEGO, CA 92129                                  P‐0022290 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHIPPS, NOEL A.
127 N. PINECREST ST
WICHITA, KS 67208                                    P‐0022291 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, TYRIANNE
3510 E 151 ST
APT 5
CLEVELAND, OH 44120                                  P‐0022292 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CADE, LAWRENCE J.
3908 93RD AVENUE SW
OLYMPIA, WA 98512                                    P‐0022293 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHHATRIWALA, ALEFIYA
9384 BABAUTA RD #122
SAN DIEGO, CA 92129                                  P‐0022294 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOGAN, SCOTT B.
2276 MEADOWVALE DR NE
ATLANTA, GA 30345                                    P‐0022295 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GREER, HARVEY F.
1972 DARTFORD COVE
CORDOVA, TN 38016                                   P‐0022296 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WENDLER, SANDRA
30371 VIA ALCAZAR AVE
LAGUNA NIGUEL, CA 92677                             P‐0022297 11/10/2017     TK Holdings Inc., et al .                     $413.81                                                                                       $413.81
FLETCHER, JANAE L.
1911 EL MONTE AVE APT 6
SACRAMENTO, CA 95815                                P‐0022298 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREER, HARVEY F.
1972 DARTFORD COVE
CORDOVA, TN 38016                                   P‐0022299 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKARR, VELMA A.
9930 GAY DRIVE
UPPER MARLBORO, MD 20772                            P‐0022300 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANGUIANO, SALVADOR
1772 CARSWELL CT.
SUISUN CITY, CA 94585                               P‐0022301 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WENDLER, ERICK N.
30371 VIA ALCAZAR AVE
LAGUNA NIGUEL, CA 92677                             P‐0022302 11/10/2017     TK Holdings Inc., et al .                     $423.81                                                                                       $423.81
HUNT, RUTH C.
209‐14 116 AVE
CAMBRIA HEIGHTS
QUEENS, NY 11411                                    P‐0022303 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERDE, AURELIAN C.
PERDE, MARIANA
1329 CAMBON CT.
REDLANDS, CA 92374                                  P‐0022304 11/11/2017     TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
CHOI, JANE J.
38 MORNING GLORY
LAKE FOREST, CA 92630                               P‐0022305 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, QUAN
JIN, MEI
221 TANGLEWOOD DR.
RICHMOND, CA 94806                                  P‐0022306 11/11/2017     TK Holdings Inc., et al .                     $870.00                                                                                       $870.00
SALAZAR, MARISOL
MARTINEZ, DANIEL
9411 52ND ST
RIVERSIDE, CA 92509                                 P‐0022307 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, QUAN
JIN, MEI
221 TANGLEWOOD DR.
RICHMOND, CA 94806                                  P‐0022308 11/11/2017     TK Holdings Inc., et al .                    $1,200.00                                                                                    $1,200.00
IDO, YUICHIRO
38 MORNING GLORY
LAKE FOREST, CA 92630                               P‐0022309 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GABRYS, CHRISTINA B.
GABRYS, RYAN C.
4573 MONROE AVENUE
SANDIEGO, CA 92115                                  P‐0022310 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANAK, SAKSHAM
513 TERRADO DR
MONROVIA, CA 91016                                  P‐0022311 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
NGUYEN, CYNTHIA T.
1045 LEWIS STREET APT 7
SANTA CLARA, CA 95050                                P‐0022312 11/11/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
LI, ZHIGANG
12828 NE 34TH PL
BELLEVUE, WA 98005                                   P‐0022313 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FURIN, HARRIET A.
4733 N. WILLARD AVE.
ROSEMEAD
, CA 91770 1149                                      P‐0022314 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, CYNTHIA T.
1045 LEWIS STREET APT 7
SANTA CLARA, CA 95050                                P‐0022315 11/11/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
RIECK, JAMES M.
4388 LEMON GRASS DRIVE
JOHNSTOWN, CO 80534                                  P‐0022316 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWIFT‐FARROW, SARAH
1076 ERIN DRIVE
EL CAJON, CA 92020                                   P‐0022317 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIBASILIO, ASUNCION
466 REGENT COURT
CARSON CITY, NV 89701                                P‐0022318 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUCAS, SHERIDAN
P.O. BOX 604
MOLALLA, OR 97038                                    P‐0022319 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIBASILIO, JAMES
466 REGENT COURT
CARSON CITY, NV 89701                                P‐0022320 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TREJO PANTOJA, IRVIN R.
3601 N. SUNRISE WAY #1212
PALM SPRINGS, CA 92262                               P‐0022321 11/11/2017     TK Holdings Inc., et al .                     $140.00                                                                                       $140.00
BREDICEAN, ALEXANDRA
6861 W LELAND AVE
HARWOOD HEIGHTS, IL 60706                            P‐0022322 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOLTZ, STEPHEN L.
FOLTZ, MICHELLE D.
3618 NE 27TH ST.
GRESHAM, OR 97080                                    P‐0022323 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUZMAN, ESTHER
61 STRAWBERRY AVENUE
VINELAND, NJ 08360                                   P‐0022324 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAMEY II, SHERRILL D.
PSC 557 BOX 2701
FPO, AP 96379                                        P‐0022325 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATVIAK, IVAN A.
61 PARK AVE
NEWTON, MA 02458                                     P‐0022326 11/11/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
MATVIAK, IVAN A.
61 PARK AVE
NEWTON, MA 02458                                     P‐0022327 11/11/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
ZELIZNAK, THOMAS A.
17946 CAMBRIDGE OVAL
STRONGSVILLE, OH 44136                               P‐0022328 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
DEARMAN, KATHY M.
DEARMAN, RUSSELL
1593 PRICES CHAPEL RD
BOWLING GREEN, KY 42101                               P‐0022329 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN HARTESVELDT, FREDERICK C.
1070 BARBER TERRACE NW
GRAND RAPIDS, MI 49504                                P‐0022330 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
USAA FEDERAL SAVINGS BANK
9800 FREDERICKSBURG
SAN ANTONIO, TX 78288                                 P‐0022331 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACHENBACH, JANIS L.
6094 N LAKESHORE DRIVE
MACY, IN 46951                                        P‐0022332 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZANDERS SR, SAM
7049 MCRAE HWY
MCRAE HELENA, GA 31037                                P‐0022333 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRETT, RUTH E.
P. O. BOX 913
AVA, MO 65608‐0913                                    P‐0022334 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFFMAN, JOHN M.
HOFFMAN, ROBIN M.
5 HEATHMUIR WAY
SAVANNAH, GA 31411                                    P‐0022335 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCOURT, JOAN
10 JOHNS COURT
OCEAN VIEW, DE 19970                                  P‐0022336 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEARMAN, KATHY
DEARMAN, JONATHAN
1593 PRICES CHAPEL RD
BOWLING GREEN, KY 42101                               P‐0022337 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY, MICHELLE E.
2374 TREMONT AVENUE
ATCO, NJ 08004                                        P‐0022338 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEXANDER, KATIE C.
8918 WHITE PINE LN
UNIT F
DALLAS, TX 75238                                      P‐0022339 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIS, VIRGINIA L.
200 LIPSCOMB STREET
GARLAND, TX 75040                                     P‐0022340 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRON, TARA N.
9419 BIG HORN RDG
BRENTWOOD, TN 37027                                   P‐0022341 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIS, VIRGINIA L.
200 LIPSCOMB STREET
GARLAND, TX 75040                                     P‐0022342 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEMPLE, ROBERT L.
1000 BEECHWOOD LN
CORTLAND, NY 13045                                    P‐0022343 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIS, VIRGINIA L.
200 LIPSCOMB STREET
GARLAND, TX 75040                                     P‐0022344 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCABE, AARON C.
119 HAZEL STREET
UXBRIDGE, MA 01569                                    P‐0022345 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DEARMAN, KATHY M.
DEARMAN, HARVEY R.
1593 PRICES CHAPEL RD
BOWLING GREEN, KY 42101                              P‐0022346 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCBRIDE, ADAM B.
MCBRIDE, SARAH J.
5004 BROAD ST
VIRGINIA BEACH, VA 23462                             P‐0022347 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, GREGORY C.
P.O. BOX 1302
EUSTIS, FL 32727‐1302                                P‐0022348 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, CHRISTOPHER K.
22 ALLENS TRAIL
GROTON, MA 01450                                     P‐0022349 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENNY, CYNTHIA
KENNY, TODD
6 MAPLE CT.
RYE BROOK, NY 10573                                  P‐0022350 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYNCH, ROBERT J.
80 RALPH ROAD
MANCHESTER, CT 06040                                 P‐0022351 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEPANFILIS, MICHAEL G.
708 GOOSE NECK DRIVE
LITITZ, PA 17543                                     P‐0022352 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, MARK
104 NORTH SUNNYSIDE DRIVE
CALEDONIA, MN 55921                                  P‐0022353 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, DIANE
2111 BIRDIE CT
PEARLAND, TX 77581                                   P‐0022354 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEAMAN, ROSEMARIE J.
2265LEE RD.
SUITE201
WINTER PARK, FL 32789                                P‐0022355 11/11/2017     TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
LAVELLE, GREGORY F.
LAVELLE, LORRI A.
7954 BLACK CHERRY CT SE
CALEDONIA, MI 49316                                  P‐0022356 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, TIMOTHY J.
4664 WEST MAVERICK COURT
BEVERLY HILLS, FL 34465                              P‐0022357 11/11/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
LORIG, MILTON L.
281 CROSS ROAD
OAKLAND, CA 94618                                    P‐0022358 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TROELLER, JAMES F.
6614 PIRATE PERCH TRAIL
LAKEWOOD RANCH, FL 34202                             P‐0022359 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WADE, SANDRA L.
304 NORTH ST.
P.O. BOX 1
KIRKLAND, IL 60146‐0001                              P‐0022360 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIN, LIANG‐HSI
6138 GOLDEN WEST AVE
TEMPLE CITY, CA 91780                                P‐0022361 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PRICKETT, JOEL A.
PRICKETT, TAILEIGH T.
10115 HWY 101 S
TILLAMOOK, OR 97141                                  P‐0022362 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, MARK
104 NORTH SUNNYSIDE DRIVE
CALEDONIA, MN 55921                                  P‐0022363 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORO, FERDINAND
19900 EAST COUNTRY CLUB DRIVE
APT 218
AVENTURA, FL 33180                                   P‐0022364 11/11/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
NOYES, KAREN S.
NOYES, DEAN E.
259 CESSNA ROAD
CONCORD, NC 28027                                    P‐0022365 11/11/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
NOYES, DEAN E.
259 CESSNA ROAD
CONCORD, NC 28027                                    P‐0022366 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAVELLE, GREGORY F.
LAVELLE, LORRI A.
7954 BLACK CHERRY CT SE
CALEDONIA, MI 49316                                  P‐0022367 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KASSAB, JOHN A.
524 HUSICK LN.
ALTOONA, PA 16601                                    P‐0022368 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORO, FERDINAND
19900 EAST COUNTRY CLUB DRIVE
APT 218
AVENTURA, FL 33180                                   P‐0022369 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICKEY, JOHN R.
P.O. BOX 611
82 NILES ROAD
NEW HARTFORD, CT 06057                               P‐0022370 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOYES, KAREN S.
259 CESSNA ROAD
CONCORD, NC 28027                                    P‐0022371 11/11/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
ZULLO, ALAN E.
197 ALFRED ST
BIDDEFORD, ME 04005                                  P‐0022372 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HECHT, ANITA
503 S DICKINSON STREET APT 2
MADISON, WI 53703                                    P‐0022373 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INMAN, MARK A.
744 ELKMONT DR
ATLANTA, GA 30306                                    P‐0022374 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAYERS, DIANE P.
NO ADDRESS PROVIDED
                                                     P‐0022375 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIOTT, CHARLES R.
8377 75TH PLACE
SEMINOLE, FL 33777                                   P‐0022376 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILES, DAWN M.
5998 OTTERBEIN ITHACA RD
ARCANUM, OH 45304‐9407                               P‐0022377 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ABAZAJIAN, ISABEL C.
1806 PEACH BROOK COURT
HOUSTON, TX 77062                                   P‐0022378 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCALISTER, ALAN M.
862 OLDPLAINVILLE RD.
APT. #32
NEW BEDFORD, MA 02745                               P‐0022379 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACEY, KENNEDY O.
915 TITHELO ROAD
CANTON, MS 39046                                    P‐0022380 11/11/2017     TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00
PARKER, THEAN R.
3352 S 140TH E AVE
TULSA, OK 74134                                     P‐0022381 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WORKMAN, PAUL R.
WORKMAN, MARISEL B.
3011 MELBOURNE CT E
MT JULIET, TN 37122                                 P‐0022382 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOMINGUE, BLAINE J.
110 BELLE CHASE DR.
LAFAYETTE, LA 70506                                 P‐0022383 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIUNDO, JENNIFER L.
145 PEARL STREET
NEW PROVIDENCE, NJ 07974                            P‐0022384 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEDESCO, CARISSA A.
21 SOUTH VENICE BOULEVARD
APARTMENT 5
VENICE, CA 90291                                    P‐0022385 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELDRIDGE, JAMES C.
11215 284TH AVE NE
DUVALL, WA 98019‐9620                               P‐0022386 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBER, RICHARD
4074 PICARDY DRIVE
NORTHBROOK, IL 60062                                P‐0022387 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANCH‐MCDONALD, LIAMA O.
835 RAMBLEWOOD DRIVE
EASTON, PA 18040                                    P‐0022388 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUPREY, PHILIP M.
231 FOREST COURT
GULFPORT, MS 39507                                  P‐0022389 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAHALL, KARAN K.
108 HART STREET
BECKLEY, WV 25801                                   P‐0022390 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROATH, PATRICIA K.
FRANKE, MISHAY B.
11675 LENNOX ST
YUCAIPA, CA 92399                                   P‐0022391 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELDRIDGE, JAMES C.
11215 284TH AVE NE
DUVALL, WA 98019‐9629                               P‐0022392 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOWDY, WENDY L.
408 WOODED VALLEY COURT
LAVERGNE, TN 37086                                  P‐0022393 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COULTER, RAD T.
COULTER, PAULA L.
10540 PERUVIAN WAY
SACRAMENTO, CA 95830                                P‐0022394 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DUCK, ERNEST J.
1605 SE LONG PLACE
LEES SUMMIT, MO 64063                                P‐0022395 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TATAR, LUCIAN
290 VICTORIA ST
APT E1
COSTA MESA, CA 92627                                 P‐0022396 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINKOVICH, GERALD M.
948 SOUTHMOOR CIR NE
CANTON, OH 44721                                     P‐0022397 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BHASIN, DANNY
39 CHETWOOD COURT
HILLSBOROUGH, NJ 08844                               P‐0022398 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SABONIS, JR., ANTHONY P.
MAYKO, KATHLEEN M.
19 CHERYL CIRCLE
BELCHERTOWN, MA 01007                                P‐0022399 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANTON, RACHEL R.
8464 STATE STREET RD.
PORT BYRON, NY 13140                                 P‐0022400 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYERS, DENIS L.
2082 RIVER PARK BLVD
ORLANDO, FL 32817                                    P‐0022401 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULAY, MARILYN D.
1833
201 N. ORANGE GROVE BLVD
PASADENA, CA 91103                                   P‐0022402 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAO, HARRY V.
29 BEARCOURT DRIVE
ATTLEBORO, MA 02703                                  P‐0022403 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REEVES, JIMMY D.
REEVES, DEBBIE L.
JIMMY REEVES
P.O. BOX 717
CHANDLER, TX 75758                                   P‐0022404 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAVAGE, FRANK R.
7221 TEABERRY COURT
OOLTEWAH, TN 37363                                   P‐0022405 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRENTZEN, MATTHEW S.
1410 E VALLE DR
SILVER CITY, NM 88061                                P‐0022406 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAO, HARRY V.
26 BEARCOURT DRIVE
ATTLEBORO, MA 02703                                  P‐0022407 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARAN, SHYAM P.
1260 LARPENTEUR AVE W
APT 409
SAINT PAUL, MN 55113                                 P‐0022408 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIECKO, DAVID A.
5028 HAROLD AVE
SCHILLER PARK, IL 60176                              P‐0022409 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TON‐NU, TRISHA
78 PARKER AVENUE
APT 3
SAN FRANCISCO, CA 94118                              P‐0022410 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TEMPLEMAN, SUSAN M.
N7175 LOON LAKE DRIVE
SHAWANO, WI 54166                                    P‐0022411 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAO, HARRY V.
26 BEARCOURT DRIVE
ATTLEBORO, MA 02703                                  P‐0022412 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENSIERO, ANTHONY M.
PENSIERO, ROSEMARIE
154 PRUDENCE DRIVE
STAMFORD, CT 06907                                   P‐0022413 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERS, JENNIFER L.
P.O. BOX 7094
GULFPORT, MS 39506                                   P‐0022414 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, DIANE
2111 BIRDIE CT
PEARLAND, TX 77581                                   P‐0022415 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAGLIFA, CHRYS W.
6600 PLEASANT AVE APT 108
RICHFIELD, MN                                        P‐0022416 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHIESON, LOREN M.
MATHIESON, CRAIG
109 DENNETT STREET
PORTLAND, ME 04102                                   P‐0022417 11/11/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HARRIS, DOUGLAS N.
47 JENKS ROAD
STERLING, CT 06377                                   P‐0022418 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HICKMAN, JOHN A.
P.O. BOX 484
MOUNT PLEASANT, TX 75456                             P‐0022419 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAGGART, HOWARD M.
TAGGART, HEATHER M.
5055 MAYMONT PARK CIR
BRADENTON, FL 34203                                  P‐0022420 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIELINSKI, JANE L.
ZIELINSKI, ROBERT S.
6660 SPRINGSIDE AVE.
DOWNERS GROVE, IL 60516                              P‐0022421 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMSINGHANI, AJAY P.
352 RICHARD AVE
APT D1
HICKSVILLE, NY 11801                                 P‐0022422 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THUOT, DENISE J.
4121 ROMANY DR
OXNARD, CA 93035                                     P‐0022423 11/11/2017     TK Holdings Inc., et al .                    $3,343.55                                                                                    $3,343.55
MATHEWS, JERRY H.
1054 RAMBLEWOOD PL
CHARLOTTESVILLE, VA 22901                            P‐0022424 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONGEST, CHARLES B.
8250 AZALEA PLACE
MECHANICSVILLE, VA 23111                             P‐0022425 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNOCHE, REBECCA H.
3725 CRANE ROAD
PORT REPUBLIC, MD 20676                              P‐0022426 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDER, JAN I.
1602 CHALMERS ST #E
SAN DIEGO 92103                                      P‐0022427 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
JOO, SUMIN C.
CHEN, TIMOTHY A.
1331 MARLIN AVENUE
FOSTER CITY, CA 94404                                P‐0022428 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIEL, LEONTYNE
461 MADELINE ROSE CT
FAYETTEVILLE, GA 30215                               P‐0022429 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHEWS, JERRY H.
MATHEWS, VICKI S.
1054 RAMBLEWOOD PL
CHARLOTTESVILLE, VA 22901                            P‐0022430 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROHRER, JULIE A.
399 NE 15TH COURT
HILLSBORO, OR 97124                                  P‐0022431 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, NANCI A.
3310 ARLINGTON PLACE
MARIETTA, GA 30062                                   P‐0022432 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILBERT, LEE N.
THUOT, DENISE J.
4121 ROMANY DR
OXNARD, CA 93035                                     P‐0022433 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIATT, DAVID B.
KEIGHLEY, GWEN
1 ANCHORAGE PLACE
SOUTH PORTLAND, ME 04106                             P‐0022434 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARKOS, RONALD P.
1113 SWEET BRIAR CIRCLE
LOWER GWYNEDD, PA 19002                              P‐0022435 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, CODY A.
3310 ARLINGTON PLACE
MARIETTA, GA 30062                                   P‐0022436 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANDALINO, THOMAS J.
356 W HARWOOD ROAD
APT F
HURST, TX 76054                                      P‐0022437 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAMLICH, CHARLES J.
1991 WARSON RD
SPRINGFIELD, IL 62704                                P‐0022438 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENA, JEREMY M.
GENA, JENNIFER L.
2309 15TH AVENUE
ALTOONA, PA 16601                                    P‐0022439 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABRAHAM, MARY
7310 GILLON DRIVE
ROWELTT, TX 75089                                    P‐0022440 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOURNADE, RICHARD G.
TOURNADE, SHARON E.
9309 BLANTON PLACE
THONOTOSASSA, FL 33592                               P‐0022441 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOKSON, DON G.
309 WEATHERING DR
MAHOMET, IL 61853                                    P‐0022442 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WYSINGER, DALONTE
MCKINNEY, SHANTEIL
13817 EASTWOOD BLVD
GARFIELD HTS, OH 44125                               P‐0022443 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GRAMLICH, CHARLES J.
1991 WARSON RD
SPRINGFIELD, IL 62704                                P‐0022444 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOCKHORN, JEFFREY
423 TOWNSHIP LINE RD
BELLE MEAD, NJ 08502                                 P‐0022445 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHEIBE, JENNIFER A.
W2244 GENTRY DRIVE APT 8
KAUKAUNA, WI 54130                                   P‐0022446 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, STEPHEN J.
1744 COVINGTON WOODS LN.
LAKE ORION, MI 48326                                 P‐0022447 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROMAN, VIOLETA L.
6014 STEFANI DRIVE
DALLAS, TX 75225                                     P‐0022448 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUNA, DANNY
LUNA, DANNY
1126 E. BURNETT ST.
SIGNAL HILL, CA 90755                                P‐0022449 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINDGREN, VIRGINIA
12 STAGECOACH ROAD
CUMBERLAND, RI 02864                                 P‐0022450 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALVATI, SUSAN
2003 W SUMMER WIND
SANTA ANA, CA 92704                                  P‐0022451 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELF, MICHAEL L.
102 TESI COURT
GREENSBORO, NC 27455                                 P‐0022452 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCHAND, SANDRA
4710 MASON RD
COLLEGE PARK, GA 30349                               P‐0022453 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, STEPHEN M.
WILSON, CATHRYN J.
7333 288TH ST NW
STANWOOD, WA 98292                                   P‐0022454 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONALDSON, LOIS A.
DONALDSON, GEORGE J.
P.O. BOX 7111
26500 CATALINA WAY
DESERT CENTER, CA 92239                              P‐0022455 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROCKETT, CHRISTINE
1810 N. MONROE AVE.
WEST ISLIP, NY 11795‐1900                            P‐0022456 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEVED, KAREN
4995 RIVERFIELD DRIVE
PEACHTREE CORNER, GA 30092                           P‐0022457 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNLEVY, PATRICK M.
MURPHY, FLORENCE M.
2239 WANDERER DR.
SAN PEDRO, CA 90732                                  P‐0022458 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYER, MARY BETH
3909 E CONSTANCE WAY
PHOENIX, AZ 85042                                    P‐0022459 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MIKKOLA, CHARLES A.
MIKKOLA, LINDA J.
P.O. BOX 1141
OCEAN PARK, WA 98640                                 P‐0022460 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, WILLIAM O.
9524 BARNSTABLE CT
BURKE, VA 22015                                      P‐0022461 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENRY, JOSEPH C.
HENRY, JOSEPH C.
6155 VICKSBURG
NEW ORLEANS
NEW ORLEANS, LA 70124                                P‐0022462 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHEELER, LOWELL K.
WHEELER, ELIZABETH L.
664 MAGNOLIA CIRCLE
GULF SHORES, AL 36542                                P‐0022463 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUDSON, JONATHAN F.
916 NW 83RD ST
SEATTLE, WA 98117                                    P‐0022464 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOYLAN, STEPHEN M.
1472 HELSINKI WAY
LIVERMORE, CA 94550                                  P‐0022465 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TROTTA, LAURA
TROTTA, LAURA
8 BRONXVILLE GLEN DRIVE
APT. 24
BRONXVILLE, NY 10708                                 P‐0022466 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YEUNG, JAMES C.
LING, BELLIE
6300 DUNAWAY CT
MCLEAN, VA 22101                                     P‐0022467 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOYLAN, STEPHEN M.
1472 HELSINKI WAY
LIVERMORE, CA 94550                                  P‐0022468 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EISSLER, MARK C.
916 KINGSWOOD DR
BURLESON, TX 76028                                   P‐0022469 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EISSLER, MARK C.
916 KINGSWOOD DR
BURLESON, TX 76028                                   P‐0022470 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANOVER, WILLIAM H.
511 CAMBRIDGE WAY
BLOOMFIELD HILLS, MI 48304                           P‐0022471 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERCE, ADAM J.
115 WEST WOLFERT STATION RD
MICKLETON, NJ 08056                                  P‐0022472 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, JAMES R.
648 MAPLEFOREST DR.
ORLANDO, FL 32825                                    P‐0022473 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARL, BARBARA J.
GARL, JIM
26035 BOUQUE CYN. RD.
APT 122
SAUGUS, CA 91350                                     P‐0022474 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MOSBERGEN, EMMA
5069 HIDDEN PARK CT #A210
SIMI VALLEY, CA 93063                                P‐0022475 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANGSTON, RON
LANGSTON, PENNY
2509 OLGAS CT.
BAKERSFIELD, CA 93304                                P‐0022476 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARMENDARIZ, NORMAN
3548 VIRGO DR
PLANO 75074                                          P‐0022477 11/11/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
HONJO, SHUKUKO
HONJO, KAZUNARI
5944 KILLARNEY CIR
SAN JOSE, CA 95138                                   P‐0022478 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAMPLES, CHARLENE C.
12753 MOJAVE DR
FISHERS, IN 46037                                    P‐0022479 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARMENDARIZ, NORMAN
3548 VIRGO DR
PLANO, TX 75074                                      P‐0022480 11/11/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
MOEWS, KATHRYN S.
738 COUNTY RD 35 W
BUFFALO, MN 55313                                    P‐0022481 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAUSS, DAVID H.
KRAUSS, DENISE L.
4537 N. GLENVINA AVE
COVINA, CA 91722                                     P‐0022482 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEET, NANCY C.
2620 EAGLE DR
JOLIET, IL 60436                                     P‐0022483 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAUN, NICK D.
P.O. BOX 13393
JACKSON, WY 83002                                    P‐0022484 11/11/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
POPKIN, GARY S.
849 PRESIDENT STREET
BROOKLYN, NY 11215                                   P‐0022485 11/11/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
DAVIS, SUSAN E.
7690 MARIPOSA GLEN WAY
CITRUS HEIGHTS, CA 95610                             P‐0022486 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAUSS, DAVID H.
KRAUSS, DENISE L.
4537 N GLENVINA AVE
COVINA, CA 91722                                     P‐0022487 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUEPPERT, DANIEL S.
1101 CEDAR VIEW DRIVE
MINNEAPOLIS, MN 55405                                P‐0022488 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VERNON, ELLIS
VERNON, ELLIS
4960 DARLINGTON DRIVE
ZANESVILLE, OH 43701                                 P‐0022489 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANONICO, DANIELLE M.
1602 W GRACE STREET
RICHMOND, VA 23220                                   P‐0022490 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHURKO, ERIC J.
29 MOTT STREET
HAMDEN, CT 06514                                     P‐0022491 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
KRAUSS, DAVID H.
KRAUSS, DENISE L.
4537 N GLENVINA AVE
COVINA, CA 91722                                     P‐0022492 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARR, TERANN K.
12770 OAK GLEN DR.
CARMEL VALLEY, CA 93924                              P‐0022493 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALLI, HUSEYIN
3496 W 2570 S
HURRICANE, UT 84737                                  P‐0022494 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TSIRIGOS, JOHN N.
737 40TH STREET
BROOKLYN, NY 11232                                   P‐0022495 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVERETT, CHRISTOPHER E.
19087 SW BARFIELD RD
BLOUNTSTOWN, FL 32424                                P‐0022496 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNOLL, CLIFFORD W.
BOX 1103
HOOD RIVER, OR 97031                                 P‐0022497 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILCULLEN, MICHAEL
KILCULLEN, MICHAEL
471 BARN SWALLOW DRIVE
LINDENHURST, IL 60046                                P‐0022498 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KWAN, BOISSEVAIN
O'ROURKE, MARGARET K.
23122 BERDON STREET
WOODLAND HILLS, CA 91367                             P‐0022499 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WERTHEIM, LESLIE M.
WERTHEIM, CAROL G.
                                                     P‐0022500 11/11/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
CULPEPPER, ALIDA
2730 SAN PAULA AV
DALLAS, TX 75228                                     P‐0022501 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WERTHEIM, LESLIE M.
WERTHEIM, CAROL G.
P.O. BOX 270
MILLWOOD, NY 10546                                   P‐0022502 11/11/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
GOINSKI, DENISE J.
3212 NE 8TH COURT
APT 1
POMPANO BEACH, FL 33062                              P‐0022503 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHIMEK, RICHARD J.
26441 HORSETAIL STREET
MURRIETA, CA 92562                                   P‐0022504 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHEL, CHAD M.
1283 CONWAY AVENUE
COSTA MESA, CA 92626                                 P‐0022505 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOVEJOY, MICHAEL A.
LOVEJOY, PATRICIA M.
P.O. BOX 418
115 MAIN STREET
HELIX, OR 97835                                      P‐0022506 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIMMO, ADAM E.
NIMMO, LISA C.
112 NW 209TH AVE
BEAVERTON, OR 97006                                  P‐0022507 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WERTHEIM, LESLIE M.
WERTHEIM, CAROL G.
P.O. BOX 270
MILLWOOD, NY 10546                                    P‐0022508 11/11/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
JACKSON, CHRISTOPHER L.
4853 FAWN RIDGE
CANANDAIGUA, NY 14424                                 P‐0022509 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECKER, BARBARA
605 HARBORVIEW POINTE
CHAPIN, SC 29036                                      P‐0022510 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, BETTY C.
NO ADDRESS PROVIDED
                                                      P‐0022511 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMELLO, TINA M.
CAMELLO, THOMAS G.
34121 ZINNIA COURT
LAKE ELSINORE, CA 92532                               P‐0022512 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREDRICKS, DEENA J.
FREDRICKS, SCOTT W.
6606 SW VIEW POINT TER
PORTLAND, OR 97239                                    P‐0022513 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHAEL, JODIE R.
22042 NE BRAMBLE WAY
FAIRVIEW, OR 97024                                    P‐0022514 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREDRICKS, DEENA J.
FREDRICKS, SCOTT W.
6606 SW VIEW POINT TER
PORTLAND, OR 97239                                    P‐0022515 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TASKO, JOHN M.
1781 ANNABELLAS DR
PANAMA CITY BEAC, FL 32407                            P‐0022516 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOODELL, MARCY A.
2142 CEDAR GROVE TRAIL
EAGAN, MN 55122                                       P‐0022517 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, ROBERT J.
2433 7TH STREET APT. A
BERKELEY, CA 94710                                    P‐0022518 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANSELL, AMANDA J.
2817 FANTASY LN
DECATUR, GA 30033                                     P‐0022519 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAGIGA, LOUIS A.
1737 HANLON WAY
PITTSBURG, CA 94565                                   P‐0022520 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAX, MARTIN
45625 VIA CORONA
INDIAN WELLS, CA 92210                                P‐0022521 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRITSCHEL, BETSY P.
2008 JOELENE DRIVE
ROCKY MOUNT, NC 27803                                 P‐0022522 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FILBERT, RICHARD D.
1207 NE 77TH ST
GLADSTONE, MO 64118                                   P‐0022523 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCWHITE, MAZALIA A.
2044 OAK GLEN RD
JACKSONVILLE, FL 32218                                P‐0022524 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SOMOTUN, MODUPE K.
815 N. LA BREA AVENUE #456
INGLEWOOD, CA 90302                                 P‐0022525 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEGAMO, NINO
DEGAMO, NINO
410 W IMPERIAL HWY #103
BREA, CA 92821                                      P‐0022526 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACROY, PATRICK M.
60 NOYES ST
PORTLAND, ME 04103                                  P‐0022527 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILLSWORTH, JOSEPH J.
8849 STATE RD
COLDEN, NY 14033                                    P‐0022528 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYANT, CYNTHIA L.
405 DICKEY CT
SUISUN CITY, CA 94585                               P‐0022529 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCANN, AARON H.
301 E PINE AVE
#2
LOMPOC, CA 93436                                    P‐0022530 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, THOMAS C.
4853 FAWN RIDGE
CANANDAIGUA, NY 14424                               P‐0022531 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEBLANC, STEPHANIE E.
23 VICTOR STREET
APT 2
HAVERHILL, MA 01832                                 P‐0022532 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASCOM, DAVID J.
P.O. BOX 68
EMMETT,, KS 66422                                   P‐0022533 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARKE, CINDY
39903 MILLBROOK WAY UNIT C
MURRIETA, CA 92563                                  P‐0022534 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TWEEDT, TAMI J.
517 E. HACKLEY AVE.
DES MOINES, IA 50315                                P‐0022535 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEAL, JEFF
1645 ELLIOTT RANCH RD
BUDA, TX 78610                                      P‐0022536 11/11/2017     TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
PAPPALARDO, KYLE R.
P.O. BOX 3081
IDYLLWILD, CA 92549                                 P‐0022537 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, BRIAN K.
692 SHERI LN
DANVILLE, CA 94526                                  P‐0022538 11/11/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
SPARKS, TERESA A.
191 HULL RD
SELAH, WA 98942                                     P‐0022539 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, WILLIAM F.
1461 COOSA COUNTY ROAD 119
ALEXANDER CITY, AL 35010                            P‐0022540 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
XIE, RUIFENG
1095 WILDE RUN CT
ROSWELL, GA 30075                                   P‐0022541 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
FOLLINGSTAD, ALISON J.
6665 NYMAN DR
DALLAS, TX 75236                                      P‐0022542 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIVINGSTON, LAUREN A.
438 VERMONT AVENUE
BERKELEY, CA 94707                                    P‐0022543 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JOANN
1147 WOODLEAF CT
PALM HARBOR, FL 34684                                 P‐0022544 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YEUNG, JAMES C.
LING, BELLIE
6300 DUNAWAY CT
MCLEAN, VA 22101                                      P‐0022545 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAST, KENNETH N.
19243 MEADOWOOD CIR
HUNTINGTON BEACH, CA 92648                            P‐0022546 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELDEN, ROBERT W.
P O BOX 362
MAZON, IL 60444‐0362                                  P‐0022547 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GODDING, NEIL
GODDING, ROMY J.
2613 W JUNIPER #4
SANTA ANA, CA 92704                                   P‐0022548 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNLEVY, PATRICK M.
MURPHY, FLORENCE M.
2239 WANDERER DR.
SAN PEDRO, CA 90732                                   P‐0022549 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
XIE, RUIFENG
1095 WILDE RUN CT
ROSWELL, GA 30075                                     P‐0022550 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUSLINER, DAVID J.
1155 KINGSVIEW LN N
PLYMOUTH, MN 55447                                    P‐0022551 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TERRELL, HEATHER R.
TERRELL, JEREMY D.
3207 WATERGRASS RD
BAKERSFIELD, CA 93306                                 P‐0022552 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONALDSON, LOIS A.
DONALDSON, GEORGE J.
P.O. BOX 7111
26500 CATALINA WAY
DESERT CENTER, CA 92239                               P‐0022553 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAVCHUK, OLEKSIY O.
25550 W 12 MILE RD, APT. 305
SOUTHFIELD, MI 48034                                  P‐0022554 11/11/2017     TK Holdings Inc., et al .                   $22,910.00                                                                                   $22,910.00
MADIGAN, DOMINIC P.
2301 LOGAN STREET
N. CHESTERFIELD, VA 23235                             P‐0022555 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEPALO, TONI
DEPALO, TONI M.
289 QUAKER LANE
NORTH SCITUATE, RI 02857                              P‐0022556 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHRAGE, LOUISE R.
270 TWIN HILLS DRIVE
PITTSBURGH, PA 15216                                  P‐0022557 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MUSLINER, DAVID J.
1155 KINGSVIEW LN N
PLYMOUTH, MN 55447                                  P‐0022558 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEVED, ROBERT
4995 RIVERFIELD DRIVE
PEACHTREE CORNER, GA 30092                          P‐0022559 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EAVES, GINA K.
EAVES, GINA
68‐700 CROZIER
WAIALUA, HI 96791                                   P‐0022560 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERREIRA, WILLIAM
9036 SW 215TH ST
CUTLER BAY, FL 33189                                P‐0022561 11/11/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
BITTNER, JASON
871 KAREN LN
NEW LENOX, IL 60451                                 P‐0022562 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEBLANC, DYLAN J.
1238 MADISON ST
HOLLYWOOD, FL                                       P‐0022563 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEAR, RICHARD T.
410 WESTOVER ROAD
COLLEGEVILLE, PA 19426                              P‐0022564 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NG, DAVID
18 HAWTHORNE STREET
NORWICH, CT 06360                                   P‐0022565 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOZAK, STEPHEN V.
18272 ALEXANDRA PLACE
SANTA ANA, CA 92705‐3252                            P‐0022566 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINSGASTON, LISA
4224 STOREYS COURT
APT C
HARRISBURG, PA 17109                                P‐0022567 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPMAN, RYAN E.
CHAPMAN, DANIELLE B.
26232 VIA CORRIZO
SAN JUAN CAPISTR, CA 92675                          P‐0022568 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUSTIN, JENNIFER S.
21508 50TH AVE W #D4
MOUNTLAKE TERRAC, WA 98043                          P‐0022569 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAUBOUSSIN, PIERRE B.
5010 S KARLOV AVE
CHICAGO, IL 60632                                   P‐0022570 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPMAN, RYAN E.
CHAPMAN, DANIELLE B.
26232 VIA CORRIZO
SAN JUAN CAPISTR, CA 92675                          P‐0022571 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCIS, TANIA
1990 179TH PL NE
BELLEVUE, WA 98008                                  P‐0022572 11/11/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
NAIK, MANISH
3597 DAYTON COMMON
FREMONT, CA 94538                                   P‐0022573 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANG, DAISY M.
4490 MARKET COMMONS DRIVE
UNIT 413
FAIRFAX, VA 22033                                   P‐0022574 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ANDERSON, DANIELLE K.
17714 83RD STREET COURT KP S
LONGBRANCH, WA 98351                                  P‐0022575 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYERS, ROBERT A.
1115 MULBERRY PL
BRENTWOOD, CA 94513                                   P‐0022576 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, THOMAS M.
6226 S FAIRFAX CT
CENTENNIAL, CO 80121                                  P‐0022577 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEANEALT, KIELY D.
ALT, THOMAS M.
1829 GOLDENROD LANE
VISTA, CA 92081                                       P‐0022578 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KASHIRAMKA, KOMAL
12035
179TH PL NE
REDMOND, WA 98052                                     P‐0022579 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHROUT, GREGORY
27860 CHURCH STREET
CASTAIC, CA 91384                                     P‐0022580 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHULTZ, LEESA A.
407 N BROWN AVE
P.O. BOX 385
GRAETTINGER, IA 51342                                 P‐0022581 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELLGREN, JILLIAN N.
10 E SNOW CAP DR
BELFAIR, WA 98528                                     P‐0022582 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, THOMAS M.
6226 S FAIRFAX CT
CENTENNIAL, CO 80121                                  P‐0022583 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANTOURI, NASSIM M.
1081 E BAYLOR LN
CHANDLER, AZ 85225                                    P‐0022584 11/11/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
HANSON, RONALD C.
HANSON, JENNIFER J.
2104 SW WOODSIDE CT
ANKENY, IA 50023                                      P‐0022585 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FACER, DANIEL W.
FACER, NIKI R.
27617 238TH PL SE
MAPLE VALLEY, WA 98038                                P‐0022586 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSON, RONALD C.
HANSON, JENNIFER J.
2104 SW WOODSIDE CT
ANKENY, IA 50023                                      P‐0022587 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANYIAM, CHRISTIAN
16471 APPLEGATE DRIVE
FONTANA, CA 92337                                     P‐0022588 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGINNIS, RICKY K.
4720 MCCOY CIRCLE
CUMMING, GA 30040                                     P‐0022589 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSON, RONALD C.
HANSON, JENNIFER J.
2104 SW WOODSIDE CT
ANKENY, IA 50023                                      P‐0022590 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BAND, ANTOINETTE G.
3 LAKE DRIVE
PLEASANTVILLE, NY 10570                               P‐0022591 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORR, DANIEL R.
HERNANDEZ, JOSHUA M.
24578 AVENTURA DR
LOXLEY, AL 36551                                      P‐0022592 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELWELL, ELIZABETH B.
P.O. BOX 31
GENOA, NV 89411                                       P‐0022593 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYNES, PAUL J.
P.O. BOX 2385
ISSAQUAH, WA 98027                                    P‐0022594 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEPHERD, RONNIE
154 CRUM BRANCH
BANNER, KY. 41603
                                                      P‐0022595 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEIGLEHNER, ERNEST A.
P.O. BOX 512
ARKVILLE, NY 12406                                    P‐0022596 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSON, RONALD C.
HANSON, JENNIFER J.
2104 SW WOODSIDE CT
ANKENY, IA 50023                                      P‐0022597 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEANEALT, KIELY D.
ALT, THOMAS M.
1829 GOLDENROD LANE
VISTA, CA 92081                                       P‐0022598 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNLAP, DENNIS W.
406 N. LAVINIA
LUDINGTON, MI 49431                                   P‐0022599 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYLE, JOHN P.
2665 LISAYNE DRIVE
HATBORO, PA 19040                                     P‐0022600 11/11/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
HERNANDEZ, JOSHUA M.
ORR, DANIEL R.
24578 AVENTURA DR
LOXLEY, AL 36551                                      P‐0022601 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ, SANDRA
AYALA, ALEJANDRO
1957 COVENTRY ST
SALINAS, CA 93906                                     P‐0022602 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECK, JOHN C.
ECK, LORI S.
7817 THORNAPPLE CLUB DR SE
ADA, MI 49301                                         P‐0022603 11/11/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
RENART, NICHOLAS P.
27 GROZIER RD
CAMBRIDGE, MA 02138                                   P‐0022604 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARRUTHERS, TERRY L.
218 236TH PLACE SW
BOTHELL, WA 98021                                     P‐0022605 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADLEY, KARON S.
2700 WEST MAIN STREET
APARTMENT 68
TUPELO, MS 38801                                      P‐0022606 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
KEANEALT, KIELY D.
ALT, THOMAS M.
1829 GOLDENROD LANE
VISTA, CA 92081                                      P‐0022607 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOVERNALE, LUCIANO G.
GOVERNALE, JORDAN P.
68 LITCHFIELD ROAD
UNIONVILLE, CT 06085                                 P‐0022608 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNES, CHRISTOPHER J.
P.O. BOX 234298
ENCINITAS, CA 92023                                  P‐0022609 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYLE, JOHN P.
2665 LISAYNE DRIVE
HATBORO, PA 19040                                    P‐0022610 11/11/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
NACHTMAN, KENNETH R.
P.O. BOX 12
TONTOGANY, OH 43565                                  P‐0022611 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCPHERSON, JOSEPH K.
186 DUNTEMAN DR
APT #101
GLENDALE HEIGHTS, IL 60139                           P‐0022612 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOVERNALE, LUCIANO G.
GOVERNALE, LISA G.
68 LITCHFIELD ROAD
UNIONVILLE, CT 06085                                 P‐0022613 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHANNON, JOHN P.
450 E BRADLEY AVE
#114
EL CAJON, CA 92021                                   P‐0022614 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROD, MAX H.
19513 ENADIA WAY
RESEDA, CA                                           P‐0022615 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYLE, JOHN P.
2665 LISAYNE DRIVE
HATBORO, PA 19040                                    P‐0022616 11/11/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
SCHIMEK, RICHARD J.
26441 HORSETAIL STREET
MURRIETA, CA 92562                                   P‐0022617 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARD, MARISOL
2710 WATERMARK DR
APT 1000
FORT WORTH, TX 76135                                 P‐0022618 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAVRAS, NESTOR A.
6 ASHWOOD TRAIL
BOONTON, NJ 07005                                    P‐0022619 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERS‐GRENDE, ERICA D.
GRENDE, STACEY L.
704 W. 4TH ST.
WAITSBURG, WA 99361                                  P‐0022620 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NYJAR, AMARJIT S.
764 EAST SAN BERNARDINO ROAD,
UNIT #1,
COVINA, CA 91723                                     P‐0022621 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIGMAN, MATTHEW
1318 2ND ST APT 203
SANTA MONICA, CA 90401                               P‐0022622 11/11/2017     TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
VAN WINKLE, ANTHONY R.
P.O. BOX 6639
BIG BEAR LAKE, CA 92315                              P‐0022623 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, MARK T.
13384 S NOBEL RD
OREGON CITY, OR 97045                                P‐0022624 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELARA, PATRICIA A.
611 TOPAZ STREET
#5
REDWOOD CITY, CA 94061                               P‐0022625 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYLE, JOHN P.
2665 LISAYNE DRIVE
HATBORO, PA 19040                                    P‐0022626 11/11/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
DEMNY, PATRICIA
7151 GLYNDON TRAIL NW
ALBUQUERQUE, NM 87114                                P‐0022627 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENTE, RALPH
P.O. BOX 50053
CICERO, IL 60804                                     P‐0022628 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEMNY, PATRICIA
7151 GLYNDON TRAIL NW
ALBUQUERQUE, NM 87114                                P‐0022629 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STROTHER, ALLISON
16139 120TH AVE NE
BOTHELL, WA 98011                                    P‐0022630 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OBEROI, DAMANJIT
8111 SW CORAL BELL CT
BEAVERTON, OR 97008                                  P‐0022631 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWMAN, KIM E.
14 BICENTENNIAL DRIVE
LEXINGTON, MA 02421                                  P‐0022632 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGO, KHUONG P.
20 MORGAN ST
RANDOLPH, MA 02368                                   P‐0022633 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, DORIS
1174 KENISTON AVENUE
LOS ANGELES, CA 90019                                P‐0022634 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAPLES, TODD A.
284 AYER RD
WILLIAMSVILLE, NY 14221                              P‐0022635 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANLEY, JAMES M.
P.O. BOX 115
LONGWOOD, NC 28452                                   P‐0022636 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DEREK E.
11920 COMANCHE DRIVE
SMITHSBURG, MD 21783                                 P‐0022637 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEUENBERGER, JOSHUA
24761 TABUENCA
MISSION VIEJO, CA 92692                              P‐0022638 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, MARIPAT
22 ALLENS TRAIL
GROTON, MA 01450                                     P‐0022639 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAROCQUE, SHAWN S.
7418 124TH STREET EAST
PUYALLUP, WA 98373                                   P‐0022640 11/11/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SMITH, RHONDA S.
11920 COMANCHE DRIVE
SMITHSBURG, MD 21783                                 P‐0022641 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, RICHARD D.
9 MANITO AVENUE
OAKLAND, NJ 07436                                    P‐0022642 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLIS, DAVID J.
P.O. BOX 5421
KATY, TX 77491                                       P‐0022643 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, DAVID A.
223 BARWICK HILL ROAD
COMER, GA 30629                                      P‐0022644 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALONE, TOMMY J.
507 BIRKDALE BLVD
CARROLLOTN, GA 30166                                 P‐0022645 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SASSAROLI, DAVID F.
41 2ND ST
NEW PROVIDENCE, NJ 07974                             P‐0022646 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOURGEOIS, LAMAR P.
1036 E WILLIAM DAVID PKWY
METAIRIE, LA 70005                                   P‐0022647 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOUSSAVIAN‐ASSAD, MINA
12324 JEREMY PLACE
GRANADA HILLS, CA 91344                              P‐0022648 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALLORY, DWAYNE
1439 TUFFNELL DR
LA VERGNE, TN 37086                                  P‐0022649 11/11/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
STEDMAN, ROBERT W.
3607 SAUSALITO DR.
CORONA DEL MAR, CA 92625                             P‐0022650 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZOOK, TROY J.
ZOOK, LINA C.
25867 SE 42ND WAY
SAMMAMISH, WA 98029                                  P‐0022651 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAW, LAWRENCE
80 ALIZE DRIVE
KINNELON, NJ 07405                                   P‐0022652 11/11/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GARCIA, MIRNA Y.
37730 SWEETBRUSH ST
PALMDALE, CA 93552                                   P‐0022653 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUDISILL, KARA S.
1934 CHRISTIAN STREET
APT A
PHILADELPHIA, PA 19146                               P‐0022654 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALLORY, DWAYNE
1439 TUFFNELL DR
LA VERGNE, TN 37086                                  P‐0022655 11/11/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
SANDERS, HENRY V.
239 BEACH CITY RD
APT 1304
HILTON HEAD, SC 29926                                P‐0022656 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAW, LAWRENCE
80 ALIZE DRIVE
KINNELON, NJ 07405                                   P‐0022657 11/11/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ASSADI, MAHYAR
12324 JEREMY PLACE
GRANADA HILLS, CA 91344                              P‐0022658 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAY, JUSTIN G.
701 POST LAKE PLACE APT 209
APOPKA, FL 32703                                     P‐0022659 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTH, JOHN L.
551 AUTUMN LANE
BANNING, CA 92220                                    P‐0022660 11/11/2017     TK Holdings Inc., et al .                  $300,000.00                                                                                  $300,000.00
KANIEWSKI, NANCY R.
14453 S. KOLIN
MIDLOTHIAN, IL 60445                                 P‐0022661 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LI, ZHUBING
11609 E RIVERCREST DRIVE
SPOKANE, WA 99206                                    P‐0022662 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOBER, BRENDA E.
348 SWEETGRASS CREEK RD
CHARLESTON, SC 29412‐9129                            P‐0022663 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUCCILLI, PAMELA A.
3 CROSSWAY STREET
NORWICH, CT 06360                                    P‐0022664 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSEY, TOVI B.
1327 AVENIDA OFELITA
EL CAJON, CA 92019                                   P‐0022665 11/11/2017     TK Holdings Inc., et al .                     $808.43                                                                                       $808.43
YUAN, JIE Y.
KUANG, WEN F.
1886 N CAPITOL AVE APT325
SAN JOSE, CA 95132                                   P‐0022666 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUUN, ALEXANDRA
2022 HUNTINGTON DR
CHICO, CA 95928                                      P‐0022667 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, MARY E.
406 SUMMER TREE LANE
SPRINGTOWN, TX 76082                                 P‐0022668 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOX, LORI A.
10800 TOWERBRIDGE LANE
HIGHLANDS RANCH, CO 80130                            P‐0022669 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANDREMAN, STEVEN S.
4130 45TH AVENUE
KENOSHA, WI 53144                                    P‐0022670 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOBER, JR, ROBERT W.
STOBER, BRENDA E.
348 SWEETGRASS CREEK RD
CHARLESTON, SC 294129129                             P‐0022671 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPRINGER, JOSEPH D.
1828 SKYLINE DRIVE
FULLERTON, CA 92831                                  P‐0022672 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGES, JEANNIE L.
P.O. BOX 10817
NAPLES, FL 34101                                     P‐0022673 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEREDIA PERALTA, WILLY D.
12101 N DALE MABRY HWY #406
TAMPA, FL 33618                                      P‐0022674 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, RORY T.
308 MELANIE LANE
GRAY, LA 70359                                       P‐0022675 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
VILLARREAL, SHARON
17060 HIGH PINE WAY
CASTRO VALLEY, CA 94546                              P‐0022676 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUTTERFIELD, EDWARD L.
SUTTERFIELD, CAROL A.
9805 RALEIGH STREET
WESTMINSTER, CO 80031                                P‐0022677 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDONALD, DAWN I.
P. O. BOX 610348
BIRMINGHAM, AL 35261‐0348                            P‐0022678 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHANDORF, SUSAN E.
4320 N. VERONA CIRCLE
ROYAL OAK, MI 48073                                  P‐0022679 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, HENRY V.
239 BEACH CITY RD.
APT. 1304
HILTON HEAD, SC 29926                                P‐0022680 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANGEVIN, MARYLOU
428 ANDERGAR LANE
KENTS STORE, VA 23084                                P‐0022681 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGES, BOB P.
P.O. BOX 10817
NAPLES, FL 34101                                     P‐0022682 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REID, LIZABETH A.
14127 MOONRIDGE DRIVE
RIVERSIDE, CA 92503‐9787                             P‐0022683 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAYLOR, DEHAVILAND
BAYLOR, DEHAVILAND A.
14185 BRANDT DRIVE
MORENO VALLEY, CA 92553                              P‐0022684 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARG, ARVIND K.
420 CRESCENT AVE
APT 10
SUNNYVALE, CA 94087                                  P‐0022685 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENTE, RALPH
P.O. BOX 50053
CICERO, IL 60804                                     P‐0022686 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELEHER, CHRISTOPHER P.
6007 FAIRVIEW AVENUE
DOWNERS GROVE, IL 60516                              P‐0022687 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHUBATENKO, YURIY
CHUBATENKO, ANYA
3625 PINEHILL WAY
ANTELOPE, CA 95843                                   P‐0022688 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, NICKY T.
152 DOGWOOD DRIVE
CRAWFORDVILLE, FL 32327                              P‐0022689 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAUDENBACH, KRISTA L.
PAQUETTE, TERRENCE J.
215 SPRING HILL LN
LEBANON, PA 17042                                    P‐0022690 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMMINGA, JAMES E.
KAMMINGA, KATHY J.
6444 NEIBAUER RD
BILLINGS, MT 59106                                   P‐0022691 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CLAY, DESHIBA L.
152 DOGWOOD DRIVE
CRAWFORDVILLE, FL 32327                              P‐0022692 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHARPE, DAVID S.
4219 W. SCHOOL ST.
CHICAGO, IL 60641                                    P‐0022693 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MA, SHUK
18686 MT LASSEN DR
CASTRO VALLEY, CA 94552                              P‐0022694 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEGENFELDER, KAYLA R.
4075 AERIAL WAY
APT 106
EUGENE, OR 97402                                     P‐0022695 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, ROBERT W.
223 BARWICK HILL ROAD
COMER, GA 30629‐2512                                 P‐0022696 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANAVAN, TERESA M.
86 PARKLAWN ROAD
WEST ROXBURY, MA 02132                               P‐0022697 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RACHELSGOMEZ, NICOLE M.
195 SMIT COURT
RIPON, CA 95366                                      P‐0022698 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONSOWICZ, VICTORIA
295 HANEY AVE
ALGOMA, WI 54201                                     P‐0022699 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUGH, BETTY L.
PUGH, ROBERT M.
5924 WHITESTONE ROAD
JACKSON, MS 39206                                    P‐0022700 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENTE, RALPH
P.O. BOX 50053
CICERO, IL 60804                                     P‐0022701 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIERINGER, STEPHANIE L.
3338 ARAPAHO LANE
#102
LAKE HAVASU CITY, AZ 86406                           P‐0022702 11/11/2017     TK Holdings Inc., et al .                    $1,002.44                                                                                    $1,002.44
ROBINSON, JOAN M.
109 CHURCH ST
AMBLER, PA 19002                                     P‐0022703 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALOIS, PAUL J.
366 N. HUNTS MEADOW RD.
WHITEFIELD, ME 04353                                 P‐0022704 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HITT, GWENDOLYN R.
637 S 600 E
APT 1C
SALT LAKE CITY, UT 84102                             P‐0022705 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELIZARDI, MYRA M.
2890 S VINE ST
DENVER, CO 80210                                     P‐0022706 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VEJJUPALLE SUBRA, ANURAG KASY
13118 ANDOVER MANOR DRIVE
CYPRESS, TX                                          P‐0022707 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINGHAM, CORY E.
1089 GREEN ROAD
LAKE CHARLES, LA 70611                               P‐0022708 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BURKITT, BARRY S.
1425 CROCKER DR
EL DORADO HILLS, CA 95762                             P‐0022709 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACTERMAN, STEVE
2139 SOUTH DELLA LANE
ANAHEIM, CA 92802‐4507                                P‐0022710 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROMERO, DIANA C.
204 LEE ST
#502
GAITHERSBURG, MD 20877                                P‐0022711 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURST, ALLEN R.
5283 W OSWEGO AVE
FRESNO, CA 93722‐7747                                 P‐0022712 11/11/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
NAHUM, SARAH L.
980 NE ORENCO STATION LOOP
APT. 507
HILLSBORO, OR 97124                                   P‐0022713 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILNER, CAROL
201 EDMONDSON DRIVE
DAHLONEGA, GA 30533                                   P‐0022714 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPRINGER, JOSEPH D.
1828 SKYLINE DRIVE
FULLERTON, CA 92831                                   P‐0022715 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAULEY, ANNA M.
2843 E WELDON AVE
PHOENIX, AZ 85016                                     P‐0022716 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCALISE, MICHAEL C.
42932 CORTE SIERO
TEMECULA, CA 92592                                    P‐0022717 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZOTOS, STEPHEN C.
ZOTOS, LINDA K.
9493 HEATHER DR
CASTLE PINES, CO 80108                                P‐0022718 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEMMER, JOHN
HEMMER, JOHN
1125 NORTH 30TH
ALLENTOWN, PA 18104                                   P‐0022719 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAZEAUX, AMANDINE M.
2345 BERING DRIVE ‐ APPT 806
HOUSTON, TX 77057                                     P‐0022720 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERN, KATHERINE
10500 SILKWOOD CT
SAINT LOUIS, MO 63114                                 P‐0022721 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COE, JERRY A.
3503 NW 87TH ST.
KANSAS CITY, MO                                       P‐0022722 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RADECKI, ANNIE L.
2930 SE CLAYBOURNE ST
PORTLAND, OR 97202                                    P‐0022723 11/11/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MORRIS, JAMES M.
2516 BARKERS RIDGE DR.
BESSEMER CITY, NC 28016                               P‐0022724 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, CATHERINE S.
202 COUNTRY WOODS DRIVE
FRANKLIN, NC 28734                                    P‐0022725 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
UNDERWOOD, BRYAN J.
404 NW 74TH STREET
LAWTON, OK 73505                                     P‐0022726 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYLATT, NICHOLAS J.
15 WEAVER DR
MARYSVILLE, PA 17053                                 P‐0022727 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASRA, JAGMOHAN S.
5798 PORTO ALEGRE DRIVE
SAN JOSE, CA 95120                                   P‐0022728 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURULA, ROWENA J.
1268 STATE RT 505 APT. #6
TOLEDO, WA 98591                                     P‐0022729 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANG, RAYMOND
3224 SUMMERFIELD DR
RICHARDSON, TX 75082                                 P‐0022730 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REECK, DAVID M.
REECK, RONNA L.
505 BIRCH BAY LYNDEN ROAD
LYNDEN, WA 98264                                     P‐0022731 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANG, RAYMOND
3224 SUMMERFIELD DR
RICHARDSON, TX 75082                                 P‐0022732 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERREIRA, VICTOR
9036 SW 215TH ST
CUTLER BAY, FL 33130                                 P‐0022733 11/11/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
CHANG, RAYMOND
3224 SUMMERFIELD DR
RICHARDSON, TX 75082                                 P‐0022734 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAO, SUDHINDRA
5352 TACOMA COMMON
FREMONT, CA 94555                                    P‐0022735 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARSEN, FRANK I.
9133 FISHERS POND DIVE
UNIT B2
CHARLOTTE, NC 28277                                  P‐0022736 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAILEY, MADONNA
977 VISTA CERRO DRIVE
PASO ROBLES, CA 93446                                P‐0022737 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TABB, ROXANNE E.
1828 SKYLINE DRIVE
FULLERTON, CA 92831                                  P‐0022738 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEASON, SCOTT
DEASON, SCOTT
1312 KINGFISHER ST
SULPHUR, LA 70663                                    P‐0022739 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITTON, KENNETH
WHITTON, SHIRLEY
6485 PIERCE CHAPEL RD
MIDLAND, GA 31820                                    P‐0022740 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGES, JEANNIE
P.O. BOX 10817
NAPLES, FL 34101                                     P‐0022741 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGES, BOB
P.O. BOX 10817
NAPLES, FL 34101                                     P‐0022742 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
DAILEY, MADONNA
977 VISTA CERRO DRIVE
PASO ROBLES, CA 93446                                 P‐0022743 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAVEED, OWAIS
270 SEQUOIA AVE
SIMI VALLEY, CA 93065                                 P‐0022744 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLE, RANDALL D.
6102 RALEIGH DRIVE
GARLAND, TX 75044                                     P‐0022745 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOWLER GRASSO, LIANA
939 N 6TH ST
PHILADELPHIA, PA 19123                                P‐0022746 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGES, JEANNIE
P.O. BOX 10817
NAPLES, FL 34101                                      P‐0022747 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHINHAM, JOHN R.
WHINHAM, DIANE E.
1878 GRAYSLAKE DRIVE
ROCHESTER HILLS, MI 48306                             P‐0022748 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENDA, WALTER
407 BYRON PLACE
COLUMBIA, SC 29212                                    P‐0022749 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONFESSORE, JESSE D.
CONFESSORE, HEATHER A.
509 TIMBER CT
BURLESON, TX 76028                                    P‐0022750 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VARGA, ALLAN M.
VARGA, VICKY J.
2103 W SPRUCE DRIVE
CHANDLER, AZ 85286                                    P‐0022751 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTON, RICHARD A.
306 HEMGINWAY LANE
WELDON SPRING, MO 63304                               P‐0022752 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTHEWS, DIANE
519 W. 125TH STREET
CHICAGO, IL 60628                                     P‐0022753 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLESANO, JOSEPH P.
6232 ORANGE STREET
LOS ANGELES, CA 90048                                 P‐0022754 11/11/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
KETCHAM, KOSIMA X.
701 LAKEWOOD DR
ALVARADO, TX 76009                                    P‐0022755 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIEKAMP, LAURA R.
468 W DEMING PL #1W
CHICAGO, IL 60614                                     P‐0022756 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOX, L GEORGE
715 S WHITE CHAPEL BLVD
SOUTHLAKE, TX 76092                                   P‐0022757 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLESANO, JOSEPH P.
NO ADDRESS PROVIDED
                                                      P‐0022758 11/11/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
IPPOLITO, MELISSA D.
140 STANYAN STREET
SAN FRANCISCO, CA 94118                               P‐0022759 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
JONES, SCOTT A.
498 JAKWAY AVE
BENTON HARBOR, MI 49022                               P‐0022760 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARREL, CHRIS A.
CARREL, ANNA
30234 24TH AVE SW
FEDERAL WAY, WA 98023                                 P‐0022761 11/11/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HOLT, MATTHEW D.
920 FRANKLIN AVE
CONNELLSVILLE, PA 15425                               P‐0022762 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORNELAS, ARTURO
ORNELAS, ARTURO
3999 WILLOW POND CT
CERES, CA 95307                                       P‐0022763 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, MONIQUE L.
1019 HODGES FERRY ROAD
PORTSMOUTH, VA 23701                                  P‐0022764 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILES, TONY E.
P.O. BOX 16745
FERNANDINA BEACH, FL 32035                            P‐0022765 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFMEISTER, SUE
23809 HASTINGS WAY
LAND O LAKES, FL 34639‐4961                           P‐0022766 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIU, KITTY K.
136 S. FIRCROFT ST.
WEST COVINA, CA 91791                                 P‐0022767 11/11/2017     TK Holdings Inc., et al .                     $600.00                                                                                       $600.00
GRAYSON, CHRISTIAN V.
13115 LARKHAVEN DR
MORENO VALLEY, CA 92553                               P‐0022768 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NILL, DENNIS R.
NILL, JUDY D.
25246 106TH AVE SE APTA208
KENT, WA 98030‐6402                                   P‐0022769 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, SABRINA D.
627 MCKEAN DRIVE
SMYRNA, TN 37167                                      P‐0022770 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHEELER, MARLENE L.
P.O. BOX 966
CORTLAND, NY 13045                                    P‐0022771 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGO, KHUONG P.
20 MORGAN ST
RANDOLPH, MA 02368                                    P‐0022772 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARRY, MARILYN
2403 E CURTIS COURT
GLENDORA, CA 91741                                    P‐0022773 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEST, NATHAN R.
560 N 6TH ST
APT 318
SAN JOSE, CA 95112                                    P‐0022774 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEASE, DAVID G.
PEASE, DAVID G.
9201 LEWIS DR NE
LACEY, WA 98516                                       P‐0022775 11/11/2017     TK Holdings Inc., et al .                   $35,371.53                                                                                   $35,371.53




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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WARD, JAMES J.
WARD, PENNY T.
7924 MISSION BONITA DR.
SAN DIEGO, CA 92120                                 P‐0022776 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORFIN, DAVID M.
15703 ALONDRA BLVD.
LA MIRADA, CA 90638                                 P‐0022777 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOSWELL, SARAH E.
1107 WALNUT WOOD RD.
HUNT VALLEY, MD 21030                               P‐0022778 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIGH, VALERIE S.
11 STEVENS CIRCLE
ANDOVER, MA 01810                                   P‐0022779 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SADOWSKI, ANTHONY
6158 HARTH COURT
LISLE, IL 60532                                     P‐0022780 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAUMAN, DENNIS J.
NAUMAN, JOELLEN
21 CREIGMINT LANE
CROSSVILLE, TN 38558                                P‐0022781 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINO, BEATRIZ
2160 SE LAMBERT ST/
PORTLAND, OR 97202                                  P‐0022782 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGREW, HERMAN
15 MADISON STREET
NATCHEZ, MS 39120                                   P‐0022783 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDESTY, SCOTT A.
HARDESTY, CAROL
4936 WHISPERING CREEK CT
MAINEVILLE, OH 45039                                P‐0022784 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEBEL, JOHN W.
2018 S HERVEY ST
BOISE, ID 83705                                     P‐0022785 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, RICHARD T.
106 TRENTO CIRCLE
PALM DESERT, CA 92211                               P‐0022786 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURRIER, PATRICIA F.
4755 STAR ROCK DRIVE
PRESCOTT, AZ 86301                                  P‐0022787 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OGANESYAN, YERVAND
8112 BELLINGHAM AVE
NORTH HOLLYWOOD, CA 91605‐1303                      P‐0022788 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SITARZ, MICHAEL E.
11850 DR M.L.K. JR ST N
APT. 16‐305
SAINT PETERSBURG, FL 33716                          P‐0022789 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUCKER, HAROLD W.
TUCKER, SUSAN O.
135 HIDDEN BAY DR.
SUMTER, SC 29154                                    P‐0022790 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDESTY, CAROL
HARDESTY, SCOTT A.
4936 WHISPERING CREEK CT
MAINEVILLE, OH 45039                                P‐0022791 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                      Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                           Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                           Amount                                                  Amount
DAVIS, DARREL L.
DAVIS, ROSE M.
171 STEELE PLACE
AMITYVILLE, NY 11701‐2424                               P‐0022792 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEYS, BEVERLY J.
505 1ST AVE
APT 402
TWO HARBORS, MN 55616                                   P‐0022793 11/11/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GIEWONT, MARK A.
7644 PATRIOTS LANDING PL
QUINTON, VA 23141                                       P‐0022794 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIEWONT, MARK
GIEWONT, MARK
7644 PATRIOTS LANDING PL
QUINTON, VA 23141                                       P‐0022795 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURRIER, GLENN R.
4755 STAR ROCK DRIVE
PRESCOTT, AZ 86301                                      P‐0022796 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, SAMUEL
P.O. BOX 1293
CARRIZO SPRINGS, TX 78834‐7293                          P‐0022797 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPMAN, MASON E.
1317 SUNSET POINTE
FESTUS, MO 63028‐3599                                   P‐0022798 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANGELO, JAMES M.
35 DARLEY RD
CLAYMONT, DE 19703                                      P‐0022799 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUNDERSON, CHRISTOPHER S.
517 WILTON RD
TOWSON, MD 21286                                        P‐0022800 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTON (BEHR), KIMBERLY
306 HEMINGWAY LANE
WELDON SPRING, MO 63304                                 P‐0022801 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ETHERIDGE, CHASTITY S.
178 COUNTY ROAD 755
ENTERPRISE, AL 36330                                    P‐0022802 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTON (BEHR), KIMBERLY
306 HEMINGWAY LANE
WELDON SPRING, MO 63304                                 P‐0022803 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALAZIEH, SAMER
4203 ROYAL BIRKDALE DRIVE
CARY, NC. 27518                                         P‐0022804 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILKINS, NATALIE M.
WILKINS, LANCE C.
6305 S I ST
TACOMA, WA 98408                                        P‐0022805 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHER, BARRY E.
9312 RESERVE DRIVE
CORONA, CA 92883                                        P‐0022806 11/11/2017     TK Holdings Inc., et al .                     $990.00                                                                                       $990.00
DELGADO, SOCORRO A.
NO ADDRESS PROVIDED
                                                        P‐0022807 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAVENS, MICHAEL D.
CRAVENS, TERESA L.
8873 N 101ST DR
PEORIA, AZ 85345                                        P‐0022808 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
OJEDA, ALEJANDRO
15309 DOMART AVE.
NORWALK, CA 90650                                   P‐0022809 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENNICH, REBECCA J.
1908 BURLINGTON DR
C12
WEST FARGO, ND 58078                                P‐0022810 11/11/2017     TK Holdings Inc., et al .                   $20,136.40                                                                                   $20,136.40
YU, NICKY
4837 GROVEWOOD DR.
GARLAND, TX 75043                                   P‐0022811 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAVENS, MICHAEL D.
8873 N 101ST DR
PEORIA, AZ 85345                                    P‐0022812 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDDECLIFF, JILL
REDDECLIFF, JILL M.
24 WILLARD ST.
HAGERSTOWN, MD 21740                                P‐0022813 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OJEDA, PAMELA J.
1854 179TH ST.
TORRANCE, CA 90504                                  P‐0022814 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEUWIRTH, JUDY
4101 PINE TREE DRIVE
NO. 1019
MIAMI BEACH, FL 33140                               P‐0022815 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYNE, VICTORIA E.
7926 E KNOTS PASS
PRESCOTT VALLEY, AZ 86314                           P‐0022816 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMSAY V, JOHN
2 MCELWAIN DRIVE
LITCHFIELD, NH 03052                                P‐0022817 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINNAMAN, CHRISTY D.
52 E RICH AVE
SPOKANE, WA 99207                                   P‐0022818 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLERBUSCH, DEENA R.
ELLERBUSCH, STEVEN P.
804 CHASEWOOD DRIVE
SOUTH ELGIN, IL 60177                               P‐0022819 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOUTZ, ROBERT H.
FOUTZ, HELENA C.
6212 WINSLOW DRIVE
HUNTINGTON BEACH, CA 92647                          P‐0022820 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYERS, TRACY G.
14544 COUNTY ROAD AC
WAUSEON, OH 43567‐9163                              P‐0022821 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVEY, MARK H.
680 MEADOW CANYON DR.
PITTSBURG, CA 94565                                 P‐0022822 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TYLER, STEVE
2564 FRANKI
ORANGE, CA 92865                                    P‐0022823 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECKLES, THOMAS L.
ECKLES, JACQUELINE C.
3582 SEAVIEW WAY
CARLSBAD, CA 92008                                  P‐0022824 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MILLS, TERESA M.
MILLS, GARY W.
5 LAWRENCE AVE.
LATHAM, NY 12110                                    P‐0022825 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENKINS, AMY L.
6115 BLIND MEADOW
SAN ANTONIO, TX 78222                               P‐0022826 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AN, RICHARD
29 11TH AVE
SAN MATEO, CA 94401                                 P‐0022827 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUNDY, LAMUS
7800 HICKMAN ST
NEW ORLEANS, LA 70127                               P‐0022828 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNIGHT, PAUL
KNIGHT, SUSAN
11 CORTLAND DRIVE
SALEM, NH                                           P‐0022829 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEUS, LINDA F.
27657 AUBERRY ROAD
CLOVIS, CA 93619                                    P‐0022830 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASHALL, JULIA
1534 BENTON ST.
APT D
ALAMEDA, CA 94501                                   P‐0022831 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHAO, YANXIANG
MA, YANPING
4404 EMERLAD ST
TORRANCE, CA 90503                                  P‐0022832 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LILLARD, LYNNE S.
27 AGAVE COURT
LADERA RANCH, CA 92694                              P‐0022833 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YANES, ROBERT E.
1456 MAYLAND AVE.
LA PUENTE, CA 91746                                 P‐0022834 11/11/2017     TK Holdings Inc., et al .                     $330.36                                                                                       $330.36
COLE, KEITH
COLE, KARISSA
5363 WEATHERFORD DRIVE
LOS ANGELES, CA 90008                               P‐0022835 11/11/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
DAVISSON, DIANN M.
ESELUN, TERRY A.
1143 10TH ST.
LOS OSOS, CA 93402                                  P‐0022836 11/11/2017     TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
CANDITO, MARIANNE
47 RIVERVIEW CT
OAKDALE, NY 11769                                   P‐0022837 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMES, DAVID A.
HOLMES, SUSAN G.
4959 BILFORD LANE
LAKE OSWEGO, OR 97035                               P‐0022838 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HESS, STEPHEN W.
HESS, SUSAN M.
121 ROADRUNNER
IRVINE, CA 92603                                    P‐0022839 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LI, HUAN
1284 MONCOEUR DRIVE
SAINT LOUIS, MO 63146                               P‐0022840 11/11/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ANGER, MICHAEL S.
ANGER, RACHEL S.
4963 S ELIZABETH CIRCLE
ENGLEWOOD, CO 80113‐7158                             P‐0022841 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAUMAN, JOELLEN
NAUMAN, DENNIS J.
21 CREIGMONT LANE
CROSSVILLE, TN 38558                                 P‐0022842 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OPPEN, SHELLY J.
5360 CLAYVALE ST.
ACTON, CALIFORNIA 93510                              P‐0022843 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANGER, MICHAE S.
ANGER, RACHEL S.
4963 S ELIZABETH CIRCLE
ENGLEWOOD, CO 80113‐7158                             P‐0022844 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLAIRE, GREGORY J.
89B TELEGRAPH RD. APT.302
MIDDLEPORT, NY 14105                                 P‐0022845 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, JENYFFER
375 BILLY MITCHELL BLVD.
APT.101
BROWNSVILLE, TX 78521                                P‐0022846 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOKE, PHYLLIS K.
4815 NW 35TH PLACE
GAINESVILLE, FL 32606‐5926                           P‐0022847 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAVENS, MICHAEL D.
8873 N 101ST DR
PEORIA, AZ 85345                                     P‐0022848 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANGIS, LESLIE E.
MANGIS, CATHERINE M.
2215 W. KIERNAN AVE.
SPOKANE, WA 99205                                    P‐0022849 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GURAL, NADIA K.
84 DORIS AVENUE
FRANKLIN SQUARE, NY 11010‐1518                       P‐0022850 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYLATT, NICHOLAS J.
RYLATT, MARGY T.
15 WEAVER DR
MARYSVILLE, PA 17053                                 P‐0022851 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEMMEL, JOHN L.
1093 E KELLY RD
BELLINGHAM, WA 98226                                 P‐0022852 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PING, QINGGONG
80 FENWOOD RD
UNIT 704
BOSTON, MA 02115                                     P‐0022853 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLEVINS, RICK P.
1301 EAST AVE I SPC54
SP54
LANCASTER, CA 93535                                  P‐0022854 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, ANDREW C.
2113 DUNCAN DR.
MEDFORD, OR 97504                                    P‐0022855 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUCHARA, MARTIN
32 TOWER HILL DR
RED BANK, NJ 07701                                   P‐0022856 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MORAN, JASON P.
10525 LARAMIE AVENUE
OAK LAWN, IL 60453                                    P‐0022857 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALACIO, STEVEN E.
918 W. SAN MARINO AVE. APT #D
ALHAMBRA, CA 91801                                    P‐0022858 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGH, GAGANDEEP
31910 PASEO NAVARRA
SAN JUAN CAPISTR, CA 92675                            P‐0022859 11/11/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
ZAVERI, DEVAL R.
TABB, JAMES A.
4445 TIVOLI ST
SAN DIEGO, CA 92107                                   P‐0022860 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUCE, LISA B.
3027 CLAREMONT AVENUE
BERKELEY, CA 94705                                    P‐0022861 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALLANTYNE, ANGELA O.
BALLANTYNE, PETER K.
5230 JAMESTOWN ROAD
SAN DIEGO, CA 92117                                   P‐0022862 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, TIFFANY C.
GARDEN, LACEDRIC K.
1404 NIAGARA FALLS CT
ARLINGTON, TX 76002                                   P‐0022863 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEVILACQUA, JEAN A.
53 RISING SUN
IRVINE, CA 92620                                      P‐0022864 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAUNDERS, KENNETH D.
P.O. BOX 5141
DIAMOND BAR, CA                                       P‐0022865 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANALES, VICTORIA M.
GARCIA BARRETO, JUAN M.
72 ALISA CIRCLE
WATSONVILLE, CA 95076                                 P‐0022866 11/11/2017     TK Holdings Inc., et al .                     $615.00                                                                                       $615.00
COMMONS, OLENA
10808 GLENWOOD DR SW
LAKEWOOD, WA 98498                                    P‐0022867 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANALES, VICTORIA M.
GARCIA BARRETO, JUAN M.
72 ALISA CIRCLE
WATSONVILLE, CA 95076                                 P‐0022868 11/11/2017     TK Holdings Inc., et al .                     $615.00                                                                                       $615.00
FOY, VICKI L.
718 SHERMAN ST.
FORT MORGAN, CO 80701                                 P‐0022869 11/11/2017     TK Holdings Inc., et al .                     $170.00                                                                                       $170.00
LEE, HENG
LEE, HENG
945 EMERSON ST
PALO ALTO, CA 94301                                   P‐0022870 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONGORIA, CATARINA
MARTINEZ, PRISCILLA
6697 GEORGIA PINE
BROWNSVILLE, TX 78526                                 P‐0022871 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOUTHARD, DEREK
SOUTHARD, TANA
1502 CANOE BROOK DRIVE
AUSTIN, TX 78746                                      P‐0022872 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MURPHY, M. KELLY
100 VANZANDT AVE.
NEWPORT, RI 02840                                   P‐0022873 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIGGS, KARL A.
8216 CENTER PARKWAY
#23
SACRAMENTO, CA 95823                                P‐0022874 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCELROY, MARIA T.
1001 LAFAYETTE AVE
BROOKLYN, NY 11221                                  P‐0022875 11/11/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRIEBE, JOSEPH M.
2599 WALNUT AVE
UNIT 218
SIGNAL HILL, CA 90755                               P‐0022876 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDAN, KYLE D.
5214 SARAH ST
ALEXANDRIA, LA 71303                                P‐0022877 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAROM, ALON
351 PEMBERWICK ROAD
#816
GREENWICH, CT 06831                                 P‐0022878 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, SARA R.
7139 27TH AVE SW
SEATTLE, WA 98106                                   P‐0022879 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZOU, YUNFAN
8822 KENTVILLE ST
RIVERSIDE, CA 92508                                 P‐0022880 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINS, RENATO P.
46 BASSET ST #2
LYNN, MA 01902                                      P‐0022881 11/12/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
KORNSTEIN, PENNY A.
15 RURAL DRIVE
SCARSDALE, NY 10583                                 P‐0022882 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEXTRAS, RAYMOND G.
36 SALEM WALK
MILFORD, CT 06460                                   P‐0022883 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, MARLAH D.
124 BUENA VISTA CT
NASHVILLE, TN 37218                                 P‐0022884 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBY, DAVID L.
75 SOUTH MAIN STREET
APARTMENT 309
SEATTLE, WA 98104                                   P‐0022885 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELUCIA, DOMINIC A.
18909 CANYON HILL DRIVE
TRABUCO CANYON, CA 92679                            P‐0022886 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORTHINGTON, EDWARD B.
1545 BOBBY RD
CLARKSVILLE, TN 37040                               P‐0022887 11/12/2017     TK Holdings Inc., et al .                    $2,800.00                                                                                    $2,800.00
ROBINSON, ELI H.
5030 157TH ST SW
EDMONDS, WA 98026                                   P‐0022888 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WYATT, KELLEY B.
17 STONE CREEK PLACE
THE WOODLANDS, TX 77382                             P‐0022889 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BAKER, CHERYL D.
23433 VIA RONDA
MISSION VIEJO, CA 92691                            P‐0022890 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGUILAR, JESSICA L.
GULLI, GREGORY M.
JESSICA AGUILAR
P.O. BOX 1608
BIG BEAR CITY, CA 92314                            P‐0022891 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALSITZ, MALLORY G.
78963 SPIRITO CT
PALM DESERT, CA 92211                              P‐0022892 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIRLOHI, HAMED
9925 SW 160TH AVENUE
BEAVERTON, OR 97007                                P‐0022893 11/12/2017     TK Holdings Inc., et al .                    $2,204.00                                                                                    $2,204.00
ADACHI SERRANO, KATYA
1116 TARPON CT.
ORCUTT, CA 93455                                   P‐0022894 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, HSIAOLIN
8565 LA VINE STREET
RANCHO CUCAMONGA, CA 91701                         P‐0022895 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLE, WARREN E.
2118 NE 85TH ST, #3
SEATTLE, WA 98115‐8314                             P‐0022896 11/12/2017     TK Holdings Inc., et al .                    $6,800.00                                                                                    $6,800.00
PURI, SHRUTI
4018, 222ND PL SE
BOTHELL, WA 98021                                  P‐0022897 11/12/2017     TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
ESCOBEDO, GREGORIO Q.
38259 PIONEER DR
PALMDALE, CA 93552                                 P‐0022898 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOLGIY, DENIS
2321 63RD STREET
APT 1F
BROOKLYN, NY 11204                                 P‐0022899 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAO, KATIE
3799 MOUNTAIN GATE DR.
CORONA, CA 92882                                   P‐0022900 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSENFIELD, GERALD K.
46 SOUTH RINGOLD STREET
JANESVILLE, WI 53545                               P‐0022901 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTHY, MATTHEW C.
1734 HAMPTON AVE
REDWOOD CITY, CA 94061                             P‐0022902 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEEP, CANDACE A.
2249 BASELINE RD
ROSEVILLE, CA 95747                                P‐0022903 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
URIZA LUVIANO, PATRICK L.
3634 NE 121ST AVE
PORTLAND, OR 97220                                 P‐0022904 11/12/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
STEPHEN, JAMES R.
2619 36TH AVE N
MINNEAPOLIS, MN 55412                              P‐0022905 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTHEWS, SARAH R.
95 CROSSBROOK AVE.
AMHERST, MA 01002                                  P‐0022906 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MATTHEWS, SARAH R.
95 CROSSBROOK AVE.
AMHERST, MA 01002                                   P‐0022907 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FULTON, DENISE M.
CLEMENTS, MATTHEW T.
4104 AVENUE H
AUSTIN, TX 78751                                    P‐0022908 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWINGTON, MICHELLE C.
1349 CORNISH MOUNTAIN CHUCH
ROAD SE
OXFORD, GA 30054                                    P‐0022909 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIPRIANO, JILLIAN
125 SCOTT AVENUE
WATERTOWN, CT 06795                                 P‐0022910 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEAVER, MATTHEW A.
934 W LAURIDSEN BLVD #101
PORT ANGELES, WA 98363                              P‐0022911 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAREMBA, EDWARD S.
13961 PRINCE CHARLES DR
NORTH ROYALTON, OH 44133                            P‐0022912 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAVELLE, GREGORY F.
LAVELLE, LORRI A.
7954 BLACK CHERRY CT SE
CALEDONIA, MI 49316                                 P‐0022913 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAREMBA, EDWARD S.
13961 PRINCE CHARLES DR.
NORTH ROYALTON, OH 444133                           P‐0022914 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURNKEY, MICHAEL R.
604 AVENUE I
MATAMORAS, PA 18336                                 P‐0022915 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, HENG‐YI
307 LAKE ST
NEW MILFORD, NJ 07646                               P‐0022916 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, HENG‐YI
307 LAKE ST
NEW MILFORD, NJ 07646                               P‐0022917 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, KATHLEEN C.
314 LAUREL STREET
EASTON, MD 21601                                    P‐0022918 11/12/2017     TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
WANG, HENG‐YI
307 LAKE ST
NEW MILFORD, NJ 07646                               P‐0022919 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DORTA, LYNETTE
HC BOX 49001
HATILLO, PR 00659                                   P‐0022920 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HATZIS, ANTHONY S.
HATZIS, KAI A.
23 SAINT ADAMS DR
STAFFORD, VA 22556                                  P‐0022921 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DORTA, LYNETTE
HC BOX 49001
HATILLO, PR 00659                                   P‐0022922 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, BOBBIE M.
BELL, DANIEL L.
1109 NE 69TH STREET
GLADSTONE, MO 64118                                 P‐0022923 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
                                                                                          Page 1702 of 3875
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MARKS, KEITH S.
21 HORSESHOE LANE
LAKEVILLE, CT 06039                                  P‐0022924 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONOFRIO, PAUL M.
24 EAST 21ST STREET
APT 8
NEW YORK, NY 10010                                   P‐0022925 11/12/2017     TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
IOANNOU, MARINO
59 WILD ELM AVENUE
PONTE VEDRA, FL 32081                                P‐0022926 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, DAVID N.
1000 W. DIVERSEY PKWAY
APT. 3E
CHICAGO, IL 60614                                    P‐0022927 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERHARDT, AMY K.
GERHARDT, EARL F.
394 BECK POND ROAD
NEWARK, VT 05871                                     P‐0022928 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANITCH, GARRET
27 TODD CIR
NORTH BRUNSWICK, NJ 08902                            P‐0022929 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTMAN, ROGER
WESTMAN, ELIZABETH
5627 DARTMOUTH ST
CHURCHTON, MD 20733                                  P‐0022930 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTMAN, ROGER
5627 DARTMOUTH ST
CHURCHTON, MD 20733                                  P‐0022931 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIN‐GABISI, ISCANDRI H.
15745 LONDON PL
DUMFRIS, VA 22025                                    P‐0022932 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTONDO, MARCELLO
96 SYLVAN DR
MORRIS PLAINS, NJ 07950                              P‐0022933 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIVINGSTON, RICHARD H.
151 COURTS LANE
HUDSON, NY 12534                                     P‐0022934 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORDON, ROSALIND H.
GORDON, RICHARD M.
2760 NW 26TH STREET
BOCA RATON, FL 33434                                 P‐0022935 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLODGETT, MICHELLE
570 CHURCH ST EAST #501
BRENTWOOD, TN 37027                                  P‐0022936 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORDON, RICHARD M.
2760 NW 26TH STREET
BOCA RATON, FL 33434                                 P‐0022937 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAMBO, ROBERT
345 MOSELLE PL
GROSSE PTE FARMS, MI 48236                           P‐0022938 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, WINDALL C.
WHITE, MARY L.
184 WEST WINDING WAY
WALLACE, NC 28466‐2418                               P‐0022939 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
PADILLA, BOBBIE J.
6605 GROVER ST
OMAHA, NE 68106                                     P‐0022940 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOPCZYK, CINDY A.
8373 KAY ST.
NILES, IL 60714                                     P‐0022941 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, JOHN T.
65 BARBARA DRIVE
RANDOLPH, NJ 07869‐4144                             P‐0022942 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DASENT, TERRY J.
DOTTIN, PETER
912 GRENOBLE DR. UNIT B
LANSING, MI 48917                                   P‐0022943 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASIC, ANNE M.
RASIC, BARTHOLOMEW A.
94 HELENE DRIVE
PAINESVILLE, OH 44077                               P‐0022944 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONNOLLY, JOSEPH B.
5450 KIRKWOOD DR. #F2
CONCORD, CA 94521                                   P‐0022945 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUDER, CRAIG W.
10 TERRACE HILL DRIVE
NEW HARTFORD, NY 13413                              P‐0022946 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAYLOR, ELIZABETH A.
419 GULF VIEW AVENUE
LONG BEACH, MS 39560                                P‐0022947 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONG, ROBIN P.
6210 POLK MTN DR
MARSHVILLE                                          P‐0022948 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELGIN, DALE A.
1750 STATE ROAD 30 WEST
MYRTLE, MS 38650                                    P‐0022949 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KULIGA, MORGAN A.
433 LOFTUS STREET
NEW BEDFORD, MA 02746                               P‐0022950 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PILEGGI, ALBERTO
406 STUART LANE
AMBLER, PA 19003                                    P‐0022951 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALARI, MARK E.
23 WALNUT ST.
DEVENS, MA 01434                                    P‐0022952 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEEK, JOHN M.
11193 GOODE POND LANE
GLEN ALLEN, VA 23059                                P‐0022953 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMBIO, DORELLA M.
CAMBIO, JOSEPH C.
6 ADELAIDE AVE
NORTH PROVIDENCE, RI 02911                          P‐0022954 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, LEANNA
2432 7TH ST N
COLUMBUS, MS 39705                                  P‐0022955 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHER, GREGORY G.
44 GRAND STREET
CROTON ON HUDSON, NY 10520                          P‐0022956 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MARSHALL, RICHARD M.
2550 CIENAGA ST
SP 47
OCEANO, CA 93445                                     P‐0022957 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHOONOVER, DEBRA H.
58 GROVER LANE
WEST CALDWELL, NJ 07006                              P‐0022958 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCABE, SEAN M.
203 EAST FEDERAL STREET
SNOW HILL, MD 21863                                  P‐0022959 11/12/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
ST GEORGE, TIMOTHY J.
601 N. DAVIS AVE.
UNIT 5
RICHMOND, VA 23220                                   P‐0022960 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATHERLY, LEISA D.
1350 EASTGATE AVE. NE
ROANOKE, VA 24012                                    P‐0022961 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CATINO, ELENA
CATINO, TEODORO
TEODORO N. CATINO
16 RANGE ROAD
WILTON, CT 06897                                     P‐0022962 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARAFALO, SARA A.
743 WALNUT STREET
PARAMUS, NJ 07652                                    P‐0022963 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, LEANNA
NO ADDRESS PROVIDED
                                                     P‐0022964 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARAFALO, ANDREW J.
743 WALNUT STREET
PARAMUS, NJ 07652                                    P‐0022965 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DARREL D.
1594 AUGUSTA LANE
UNIT 2D
JOLIET, IL 60433                                     P‐0022966 11/12/2017     TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
CATINO, TEODORO N.
16 RANGE ROAD
WILTON, CT 06897                                     P‐0022967 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTENZA, LISA A.
326 PARK AVE
#2
HOBOKEN, NJ 07030                                    P‐0022968 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, KATHLEEN
1606 CHERYL LANE
KENNETT SQUARE, PA 19348                             P‐0022969 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VARELA, ROSS E.
P.O. BOX 3504
ESPANOLA, NM 87533                                   P‐0022970 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EMENIKE, JOSHUA
6810 DI LUSSO DRIVE
UNIT 206
ELK GROVE, CA 95758                                  P‐0022971 11/12/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
EATON, JEFFREY T.
EATON, CONNIE D.
300 EDWARD AVE
PITTSBURGH, PA 15216                                 P‐0022972 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GLOTFELTY, CURTIS E.
203 4TH ST
TERRA ALTA, WV 26764                                 P‐0022973 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZUPKO, CORINNE
ZUPKO, R.
57 SOUTH MAIN STREET #199
NEPTUNE, NJ 07753                                    P‐0022974 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURTHY, KEDAR D.
164 WEST NEWTON ST
BOSTON, MA 02118                                     P‐0022975 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCZYNSKI, EUGENE
126 W VIOLA STREET
MOUNTAIN HOUSE, CA 95391                             P‐0022976 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGE, MICHAEL R.
1808 25TH ST SW
AUSTIN, MN 55912                                     P‐0022977 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAH, SUJATA U.
8111 45TH AVENUE
APT.#2N
ELMHURST, NY 11373                                   P‐0022978 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PACHECO, HERMAN
4 AUGUSTA COURT
TOMS RIVER, NJ 08757                                 P‐0022979 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANRATTY, EDWARD M.
304 REMINGTON DRIVE
OVIEDO, FL 32765                                     P‐0022980 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZADONY, MARKIAN B.
2300 W SAINT PAUL AVE
APT 602
CHICAGO, IL 60647                                    P‐0022981 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELF, ANDREW B.
216 WEST PONDEROSA DRIVE
TUTTLE, OK 73089                                     P‐0022982 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGE, JUDY A.
PAGE, MICHAEL R.
1808 25TH ST SW
AUSTIN, MN 55912                                     P‐0022983 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMICO, PETER
7312 ELM COURT
MONMOUTH JCT, NJ 08852                               P‐0022984 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PITMAN, CATHERINE L.
POST OFFICE BOX 211
CAMPBELLTON, FL 32426                                P‐0022985 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGE, MICHAEL R.
1808 25TH ST SW
AUSTIN, MN 55912                                     P‐0022986 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MODICA, STEPHEN
63 CHAMBERLAIN RD
UXBRIDGE, MA 01569                                   P‐0022987 11/12/2017     TK Holdings Inc., et al .                     $920.00                                                                                       $920.00
KALISKI, LEONARD J.
KALISKI, LYNN A.
702 LAKESIDE DRIVE
PALATINE, IL 60067                                   P‐0022988 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINNISON, CHRISTINA L.
18606 NE 128TH STREET
KEARNEY, MO 64060                                    P‐0022989 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
FLEMING, JENNIFER M.
FLEMING, JENNIFER M.
1237 WEST 161ST STREET
GARDENA, CA 90247                                   P‐0022990 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MODICA, STEPHEN
63 CHAMBERLAIN RD
UXBRIDGE, MA 01569                                  P‐0022991 11/12/2017     TK Holdings Inc., et al .                     $920.00                                                                                       $920.00
SELF, MATTHEW E.
216 WEST PONDEROSA DRIVE
TUTTLE, OK 73089                                    P‐0022992 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARRERO, LOUIS I.
1001 HUNTERS RIDGE
BROWNSVILLE, PA 15417                               P‐0022993 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAOUETTE, JOSEPH E.
1201 QUARRY HILL RD
ROCHESTER, VT 05767                                 P‐0022994 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOUSE, SHEILA A.
KOUSE, RUSSELL L.
2597 BRUSH HILL CT
DAYTON, OH 45449‐2829                               P‐0022995 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
USAVAGE, MICHAEL
80 W. BALTIMORE AVE
C604
LANSDOWNE, PA 19050                                 P‐0022996 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, TALISA P.
1001 HUNTERS RIDGE
BROWNSVILLE, PA 15417                               P‐0022997 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIQUEZ, JOHN R.
1049 WATERFORD DRIVE
WEST SACRAMENTO, CA 95605                           P‐0022998 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MODICA, STEPHEN
63 CHAMBERLAIN RD
UXBRIDGE, MA 01569                                  P‐0022999 11/12/2017     TK Holdings Inc., et al .                     $920.00                                                                                       $920.00
STO. DOMINGO, MAGTANGGOL C.
6714 BOWIE DRIVE
SPRINGFIELD, VA 22150                               P‐0023000 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASCHKE, HOLLY
12871 STATE HWY 150 WEST
COLDSPRING, TX 77331                                P‐0023001 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESCHEIK ALEQUIN, IVETTE
1072 BRENTON MANOR DR.
WINTER HAVEN, FL 33881                              P‐0023002 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRLIN, SHAUN N.
18490 E. COLGATE CIR.
AURORA, CO 80013                                    P‐0023003 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ISKE, KATHY L.
16505 ISKE DRIVE
BELLEVUE, NE 68123                                  P‐0023004 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, RAJESHKUMAR D.
RAJESHKUMAR D PATEL
5600 JOSHUA TREE CIRCLE
FREDERICKSBURG, VA 22407                            P‐0023005 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARRON, JOSHUA P.
CARRON, LINDA JO
3791 LANGSTON BLVD
WINTERVILLE, NC 28590                               P‐0023006 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BAXTER, STEVEN C.
3615 SAUSALITO FERN
SAN ANTONIO, TX 78261                                 P‐0023007 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALERMO, COREY
109 OLDE STATE HOUSE DR.
MORRISVILLE, NC 27560                                 P‐0023008 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SADOWSKI, PAUL A.
6158 HARTH COURT
LISLE, IL 60532                                       P‐0023009 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NATION, RAYMOND A.
NATION, RAYMOND A.
142 N PRITCHARD AVENUE
FULLERTON, CA 92833                                   P‐0023010 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONNOLLY, JOSEPH B.
CONNOLLY, JENNIFER
5450 KIRKWOOD DR. #F2
CONCORD, CA 94521                                     P‐0023011 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOTTIN, PETER
912 GRENOBLE DR. UNIT B
LANSING, MI 48917                                     P‐0023012 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIMMS, LINDA J.
8 RUTLEDGE AVE
GREENVILLE, SC 29617                                  P‐0023013 11/12/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
SCICCHITANO, FRANK N.
1473 HILLCREST DR
ARROYO GRANDE, CA 93420                               P‐0023014 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCICCHITANO, FRANK N.
1473 HILLCREST DR
ARROYO GRANDE, CA 93420                               P‐0023015 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINTZER, ROB
NO ADDRESS PROVIDED
                                                      P‐0023016 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BICKHAM, GLENN M.
BICKHAM, ANITA M.
3804 CHARLES STEWART DR
FAIRFAX, VA 22033                                     P‐0023017 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINTZER, ROB
116 KINGSTON DR.
SAINT AUGUSTINE, FL 32084                             P‐0023018 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, PHILIP
WANG, VIRGINIA
3201 ONRADO ST
TORRANCE, CA 90503                                    P‐0023019 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOSWORTH, DORIS I.
422A HERITAGE VLG.
SOUTHBURY, CT 06488                                   P‐0023020 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENNESSY, BROOKE
WILSON, MICHAEL
9424 ROSEPORT WAY
SACRAMENTO, CA 95826                                  P‐0023021 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARNOTTI, ELAINE
1983 LEMONTREE LANE
COLLINSVILLE, IL 62234                                P‐0023022 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WANG, PHILIP
3201 ONRADO ST
TORRANCE, CA 90503                                    P‐0023023 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MAYER, KATJA H.
P.O. BOX 825
EAST OTIS, MA 01029                                   P‐0023024 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, SHAUN
4004 CANYON LAKE PT
LAKELAND, FL 33813                                    P‐0023025 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IMBERT, CONSTANCE
IMBERT, KATHLEEN
7606 DANUBE DRIVE
HUDSON, FL 34667                                      P‐0023026 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGH, RAMESH
1805 S REMINGTON CIR.
SIOUX FALLS, SD 57106                                 P‐0023027 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RACE, DALE E.
795 PRAIRIE DUNES DR
LATHROP, CA 95330                                     P‐0023028 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENINO, STEPHANIE
10 MAPLE AVE
FISHKILIL, NY 12524                                   P‐0023029 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETER, JUSTIN C.
180 JACKSON ST NE
APT 1203
ATLANTA, GA 30312                                     P‐0023030 11/12/2017     TK Holdings Inc., et al .                    $1,624.96                                                                                    $1,624.96
BOLLENBACHER, RICK E.
21660 CASA MONTE CT
BOCA RATON, FL 33433‐3031                             P‐0023031 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYER, KENNETH M.
P.O. BOX 825
EAST OTIS, MA 01029                                   P‐0023032 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KONNER, KEVAH R.
7 PETERSVILLE ROAD
MOUNT KISCO, NY 10549                                 P‐0023033 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOLTVET, STEPHEN R.
KOLTVET, SHERYL L.
1200 BLUFFS PLACE
AUBURN, CA 95603‐6016                                 P‐0023034 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYSONET, DANIEL
15 ROMAINE PLACE
NEWARK, NJ 07104                                      P‐0023035 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOHERTY, DANIEL T.
P.O. BOX 988
ST MARYS CITY, MD 20686                               P‐0023036 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIANI, SHARON M.
90 ABORN STREET APT 3
PEABODY, MA 01960                                     P‐0023037 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACHS, SHARON M.
395 S. OLD BRIDGE ROAD
ANAHEIM, CA 92808                                     P‐0023038 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TASHMAN, LINDA B.
BURTON
1723 BRENTWOOD AVENUE
UPLAND, CA 91784                                      P‐0023039 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOU, ZHENTAO
117 UNIVERSITY PARK
ROCHESTER, NY 14620                                   P‐0023040 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DOHERTY, DANIEL T.
P.O. BOX 988
ST. MARYS CITY, MD 20686                             P‐0023041 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREAVES, MELANIE A.
94 STATION RD
LITTLETON, ME 04730                                  P‐0023042 11/12/2017     TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
CARNEIRO DA SILV, JOANA
9206 DALEVIEW CT
SILVER SPRING, MD 20901                              P‐0023043 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEINER, WILLIE G.
STEINER, BARBRA J.
1559 W 113TH ST
LOS ANGELES, CA 90047                                P‐0023044 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMM, DAVID J.
164 CAPTAIN EAMES CIRCLE
ASHLAND, MA 01721                                    P‐0023045 11/12/2017     TK Holdings Inc., et al .                    $1,100.00                                                                                    $1,100.00
PAGE, BERVERLY B.
242 14TH ST NE
OWATONA, MN 55060                                    P‐0023046 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COUSSOULE, JOHN P.
P.O. BOX 1448
WINDERMERE, FL 34786‐1448                            P‐0023047 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HACIAS, SCOTT C.
5612 KIRKRIDGE TRAIL
OAKLAND TOWNSHIP, MI 48306                           P‐0023048 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRETT, MICHAEL J.
1602 BEAUMONT ST
DALLAS, TX 75215                                     P‐0023049 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOKS, CONSTANCE H.
4023 NW 2ND LN
DELRAY BEACH, FL 33445                               P‐0023050 11/12/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
BUCZYNSKI, EUGENE
126 W VIOLA STREET
MOUNTAIN HOUSE, CA 95391                             P‐0023051 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, GORDON R.
NELSON, JOANN
31795 LAKEWAY DRIVE NE
CAMBRIDGE, MN 55008                                  P‐0023052 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALDWELL, ROBERT A.
10618 DREXEL AVE.
CLEVELAND
, OH                                                 P‐0023053 11/12/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
BOWMAN, VONQUET D.
P.O. BOX 2342
BLOOMFIELD, NJ 07003                                 P‐0023054 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEDELL, HEIDI M.
10224 KENSINGTON SHORE DRIVE
ORLANDO, FL 32827                                    P‐0023055 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIU, BROOKE F.
LIU, TENNYSON J.
5013 ELSMERE AVE
BETHESDA, MD 20814                                   P‐0023056 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAI, EONGWEI
1046 DOUGLAS COURT
NORCROSS, GA 30093‐4728                              P‐0023057 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
GALARZA, ESTEVAN
1900 N KEELER AVE
APT 2
CHICAGO, IL 60639                                     P‐0023058 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, TERESA J.
9331 E STEER MESA ROAD
PRESCOTT VALLEY, AZ 86315                             P‐0023059 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOONE, JESSICA A.
3201 S. STATE STREET #2273
CHICAGO, IL 60616                                     P‐0023060 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOCH, ROD D.
4763 DALE RD
OAKDALE, CA 95361                                     P‐0023061 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARNER, MARK P.
HARNER, MARK
45‐364 AVENIDA CODORNIZ
INDIAN WELLS, CALIFORNIA 92210                        P‐0023062 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COSTELLO, SHAWN C.
108 W SAINT ANDREWS DR
SIOUX FALLS, SD 57108                                 P‐0023063 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARGENSEY, KAREN E.
394 GREENBANK ROAD
FREDERICKSBURG, VA 22406‐5402                         P‐0023064 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUPREE, NYCCOL L.
2104 HOMECOMING WAY
BRENTWOOD, CA 94513                                   P‐0023065 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKS, ROBERT W.
PARKS, JOANNE I.
1201 PLEASANT VALLEY ROAD
MANHATTAN, KS 66502                                   P‐0023066 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPICCOLO, JOHN F.
2992 JESMOND DENE HEIGHTS RD
ESCONDIDO, CA 92026                                   P‐0023067 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, MELISSA K.
6034 GREAT COURT CIR NW
MASSILLON, OH 44646                                   P‐0023068 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOGELZANG, CARISSA D.
1479 ST HELENS LANE
FERNDALE, WA 98248                                    P‐0023069 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPYCHALSKY, JAMES A.
57 EAST END AVE
HICKSVILLE                                            P‐0023070 11/12/2017     TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
SAUER, RYAN J.
9100 OAKWOOD DR
URBANDALE, IA 50322                                   P‐0023071 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YIN, BEI
7170 CALABRIA CT UNIT B
SAN DIEGO, CA 92122                                   P‐0023072 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROEDER, RICHARD M.
3351 RIVERBOTTOM ROAD
ELLENSBURG, WA 98926                                  P‐0023073 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPICCOLO, MARY K.
2992 JESMOND DENE HEIGHTS RD
ESCONDIDO, CA 92026                                   P‐0023074 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
JARZABSKI, DEBRA
810 TANGLEWOOD LN
ARLINGTON, TX 76012                                P‐0023075 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARLSON, KENNETH F.
CARLSON, ANNE M.
1033 185TH AVENUE N.E.
BELLEVUE, WA 98008                                 P‐0023076 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARNELL, SANDRA E.
2340 MOUNTAIN VIEW DR
EAST WENATCHEE, WA 98802                           P‐0023077 11/12/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
BIRD, JANE A.
BIRD, ROBERT A.
81 EAST TERRI LYNN LANE
SHELTON, WA 98584                                  P‐0023078 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREAUX, FRANCK J.
12987 W SANCTUARY CT
LAKE BLUFF, IL 60044                               P‐0023079 11/12/2017     TK Holdings Inc., et al .                     $470.00                                                                                       $470.00
MATSUDA, CHRISTOPHER
6 BERNARD CT
BUFFALO GROVE, IL 60089                            P‐0023080 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JARZABSKI, MICHAEL P.
810 TANGLEWOOD LN
ARLINGTON, TX 76012                                P‐0023081 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, KEVIN F.
13978 ROYAL DORNOCH
SAN DIEGO, CA 92128                                P‐0023082 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIRD, ROBERT A.
BIRD, JANE A.
81 EAST TERRI LYNN LANE
SHELTON, WA 98584                                  P‐0023083 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLUSMAN, JANIS F.
540 PUTNAM RD
MERION STATION, PA 19066                           P‐0023084 11/12/2017     TK Holdings Inc., et al .                    $5,273.00                                                                                    $5,273.00
DORAN, NANCY
10409 EL COMAL DRIVE
SAN DIEGO, CA                                      P‐0023085 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, ROWENA E.
1682 NW 56 AVE
LAUDERHILL, FL 33313                               P‐0023086 11/12/2017     TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
MASELLI, JUDITH A.
2 LONGWOOD DRIVE #1
ANDOVER, MA 01810                                  P‐0023087 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, YOLANDA
P.O. BOX 1442
PERALTA, NM 87042                                  P‐0023088 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALLAHAN, COLLEEN D.
1223 N VENTURA ST
ANAHEIM, CA 92801                                  P‐0023089 11/12/2017     TK Holdings Inc., et al .                   $11,313.00                                                                                   $11,313.00
ARELLANO, JESUS M.
9243 AMETHYST AVE
RANCHO CUCAMONGA, CA 91730                         P‐0023090 11/12/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
WALLS, JOVAN
705 LONE OAK LN
VERONA, WI 53593                                   P‐0023091 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
KING, WILLIAM C.
HUDSON, DOROTHY E.
2001 KIMBERLY LANE
GREENWOOD, MO 64034                                  P‐0023092 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, EBONY M.
500 WINCHESTER AVE APT B4
STAUNTON, VA 24401                                   P‐0023093 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYNN, JANET E.
JAX, NAVI S.
14 CHAPEL COVE DR
SAN RAFAEL, CA 94901                                 P‐0023094 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLE, DONALD E.
HOLE, NANCY R.
1204 GILLESPIE DR. N
PALM HARBOR, FL 34684                                P‐0023095 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUDSON, DOROTHY E.
KING, WILLIAM C.
2001 KIMBERLY LANE
GREENWOOD, MO 64034                                  P‐0023096 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENDEZ, VICTOR
2861 LA CRESENTA AVE
MERCED, CA 95348                                     P‐0023097 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCALLISTER, DAVID J.
708 S. OHIO AVE.
DAVENPORT, IA 52802                                  P‐0023098 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RACE, DALE E.
795 PRAIRIE DUNES DR
LATHROP, CA 95330                                    P‐0023099 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGRAW, RYAN P.
3135 TYEE DR W
TACOMA, WA 98466                                     P‐0023100 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, BRENDA J.
355 LINKHAVEN DR
DUNCANVILLE, TX 75137‐4309                           P‐0023101 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEWAJI, OLUWATOSIN A.
1201 HARVEY RD
APT 1
COLLEGE STATION, TX 77840                            P‐0023102 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIEHLE, SHARON
208 SHERRY CT
SAN JOSE, CA 95119                                   P‐0023103 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURST, DAVID W.
H&H AIR VAC &VENDING INC
4811 OLD DOUGLASVILLE RD
LITHIA SPRING, GA 30122                              P‐0023104 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINTERBOTTOM, NANCY J.
4002 NICE COURT
PLEASANTON, CA 94588                                 P‐0023105 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRY, MICHAEL P.
5 W. DAVINCI WAY
FARMINGDALE, NJ 07727                                P‐0023106 11/12/2017     TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
JIMENEZ LUNA, HELAMAN C.
13513 STANSTEAD AVE
NORWALK, CA 90650                                    P‐0023107 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SADLER, STEVEN J.
1621 MELROSE AVE
CHULA VISTA, CA 91911                                P‐0023108 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TERRY, CARROLL D.
7761 DUTRA BEND DR
SACRAMENTO, CA 95831                                 P‐0023109 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNKOVIC, BRANISLAV
1115 S. BARRINGTON AVE. #3
LOS ANGELES, CA 90049                                P‐0023110 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICKLESS, WILLIAM K.
NICKLESS, TRACYANNE
1761 GEORGE WASHINGTON WAY
SUITE 171
RICHLAND, WA 99354                                   P‐0023111 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CREASE, PAUL A.
CREASE, JOYCE A.
5118 N RIDGE RD W
ASHTABULA, OH 44004‐9508                             P‐0023112 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDOVAL JR, REYNALDO
80133 DURWENT DRIVE
INDIO, CA 92203                                      P‐0023113 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUSTIN, CYNTHIA J.
8528 CARDINAL ST
LENEXA, KS 66219                                     P‐0023114 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLAGHER, CHRISTINA M.
3N462 CURLING POND CT
CAMPTON HILLS, IL 60119‐8852                         P‐0023115 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VADEN, CHARITY A.
5491 28TH ST
SACRAMENTO, CA 95820                                 P‐0023116 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOCKS, CLIFFORD K.
34 EAST MAIN STREET #213
SAINT JAMES, NY 11787                                P‐0023117 11/12/2017     TK Holdings Inc., et al .                    $3,750.00                                                                                    $3,750.00
MORGAN, AUBREY L.
LOPEZ III, JOSE
1508 LORSON LOOP
ROUND ROCK, TX 78665                                 P‐0023118 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURST, LISA S.
HURST, DAVID W.
4811 OLD DOUGLASVILLE RD
LITHIA SPRINGS, GA 30122                             P‐0023119 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEL SESTO, MELISSA
2801 SARENTO PLACE
#105
PALM BEACH GARDENS, FL 33410                         P‐0023120 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONNELL, JOHN
326 RUIDOSA DOWNS
HELOTES, TX 78023                                    P‐0023121 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOPEY, MATTHEW R.
1823 MARGARET AVE
MISHAWAKA, IN 46545                                  P‐0023122 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, CARL G.
6336 SE 8TH LANE
OCALA, FL 34472‐7843                                 P‐0023123 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GALLAGHER, CHRISTINA M.
3N462 CURLING POND CT
CAMPTON HILLS, IL 60119‐8852                         P‐0023124 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VIOLETTE, RICHARD G.
11288 RIDERMARK ROW
COLUMBIA, MD 21044                                   P‐0023125 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLINGSWORTH, LAWRENCE E.
1614 VANCOUVER WAY
LIVERMORE, CA 94550                                  P‐0023126 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANG, TONY TUAN H.
11771 MAC NAB STREET
GARDEN GROVE, CA 92841                               P‐0023127 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOCKS, CLIFFORD K.
C & E LOCKS/STL
34 EAST MAIN STREET
SAINT JAMES, NY 11787                                P‐0023128 11/12/2017     TK Holdings Inc., et al .                    $3,750.00                                                                                    $3,750.00
BURKHOLDER, JAMES R.
BURKHOLDER, LYNN E.
11 CALLISTO ROAD
BLUFFTON, SC 29909                                   P‐0023129 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARREN, BRANDI M.
519 CALAMONDIN WAY SW
VERO BEACH, FL 32968                                 P‐0023130 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DAVID P.
MUHAMMAD, FATMAH K.
7922 DAY CREEK BLVD
APT. 8114
RANCHO CUCAMONGA, CA 91739                           P‐0023131 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVINE, SIMONM P.
657 GRANITE RIDGE DR
SANDPOINT, ID 83864                                  P‐0023132 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, CHRISTINA M.
4108 SE 92ND AVE
PORTLAND, OR 97266                                   P‐0023133 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE CLEIR, IRA
29012 EVENINGSIDE DR
CASTAIC, CA 91384                                    P‐0023134 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KREMPASKY, KERRY M.
1848 CHEROKEE DR UNIT 1
SALINAS, CA 93906                                    P‐0023135 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWER, KATHERINE W.
940 25TH ST. NW
APT 205S
WASHINGTON, DC 20037                                 P‐0023136 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VARGAS‐PUERTA, JOSE
102 SUMMER RIDGE LN
LAWRENCEVILLE, GA 30044                              P‐0023137 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSELLI, MARSHA
ROSELLI, SHERI
813 SW CROSS CREEK DRIVE
GRAIN VALLEY, MO 64029                               P‐0023138 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRVEN, WEDNESDAY R.
6232 ORANGE ST.
LOS ANGELES, CA 90048                                P‐0023139 11/12/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PARKER, GREGORY J.
67024 S. RAY ROAD
ST. CLAIRSVILLE, OH 43950                            P‐0023140 11/12/2017     TK Holdings Inc., et al .                    $4,725.00                                                                                    $4,725.00
JACKSON, JAMES C.
19511 MILLS MEADOW LANE
HOUSTON, TX 77094                                    P‐0023141 11/12/2017     TK Holdings Inc., et al .                     $350.00                                                                                       $350.00
MUTINDA, NAOMI
9379 INDIAN CAMP ROAD UNIT A
COLUMBIA, MD 21045                                   P‐0023142 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURRIE, JEFF
8755 E VALLEY VIEW RD
SCOTTSDALE, AZ 85250                                 P‐0023143 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAVIAN, SUSAN
8700 BURTON WAY APT 208
LOS ANGELES, CA 90048                                P‐0023144 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOVOTNY, CHERYL A.
333 MAIN STREET SOUTH
LONSDALE, MN 55046                                   P‐0023145 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWER, LESLIE
6 OCEANSIDE CT.
SPRING LAKE, NJ 07762                                P‐0023146 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VARGAS‐PUERTA, JUAN
3515 PLEASANTDALE RD
#275
ATLANTA, GA 30340                                    P‐0023147 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUHN, MICHAEL B.
165 LOGAN AVENUE
WESTERVILLE, OH 43081                                P‐0023148 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AYERS, KENNETH D.
2037 W ROCKWELL DR
CHANDLER, AZ 85224                                   P‐0023149 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JASON T.
511 TICE ROAD
MAINESBURG, PA 16932                                 P‐0023150 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEACH‐VARGAS, VICTORIA L.
5068 SUMMER DR SE
ACWORTH, GA 30102                                    P‐0023151 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNAMARA, LIAM R.
401 UNION AVE SE
OLYMPIA, WA 98501                                    P‐0023152 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRACYK, ATHENA L.
THEODORE
1210 15TH STREET SOUTH
MOORHEAD, MN 56560                                   P‐0023153 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAN, KIET
1547 PARK LAWN RD
HACIENDA HEIGHTS, CA 91745                           P‐0023154 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JOSIAH
1519 MOUNTAIN RD
LOGAN, UT 84321                                      P‐0023155 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, DEREK
26268 BONNIE AVE.
WARREN, MI 48089‐1260                                P‐0023156 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
KHALLOUF, ABDALHAMID
PREMIER AMERICA
2285 W BROADWAY
L228
ANAHEIM, CA 92804                                     P‐0023157 11/12/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
HULON, TIMOTHY
171 RUNNING CEDAR RD
MADISON, NC 27025                                     P‐0023158 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NUNNA, VIJAYA
11366 VILLAGE RIDGE RD
SAN DIEGO, CA 92131                                   P‐0023159 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSLEY, WENDY
14 LYRICAL LANE
SANDY HOOK, CT 06482                                  P‐0023160 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WON, JAY
1219 ALFRED ST
#43467
LOS ANGELES, CA 90035                                 P‐0023161 11/12/2017     TK Holdings Inc., et al .                    $2,507.00                                                                                    $2,507.00
FINE, HENRY
SUSAN
28771 VIA PASATIEMPO
LAGUNA NIGUEL, CA                                     P‐0023162 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUBE, SEAN D.
262+ DRUMHELLER DR
VIRGINIA BEACH, VA 23464                              P‐0023163 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOAZ, PATRICIA A.
1316 NORTH AVE NE
ROANOKE, VA 24012                                     P‐0023164 11/12/2017     TK Holdings Inc., et al .                     $424.53                                                                                       $424.53
KLEBANER, ARKADIY
3252 BROMLEY LANE
AURORA, IL 60502                                      P‐0023165 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKICKI, STEPHEN M.
1940 2ND STREET NORTH
WISCONSIN RAPIDS, WI 54494                            P‐0023166 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLISON, PATRICK C.
5738 CONNIE COURT
LOOMIS, CA 95650                                      P‐0023167 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AYLESWORTH, ALFRED
2006 GILLENWATER ST
BATAVIA, IL 60510                                     P‐0023168 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACKWELL, JR., MARION F.
BLACKWELL, TERESA M.
516 CAMROSE COURT
INMAN, SC 29349                                       P‐0023169 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EGBERT, DOUGLAS M.
1698 MARING WAY
SACRAMENTO, CA 95835                                  P‐0023170 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUPART, JOHANNA M.
5738 CONNIE COURT
LOOMIS, CA 95650                                      P‐0023171 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWARTZ, RYAN
1655 COUNTRYSIDE DRIVE
SHAKOPEE, MN 55379                                    P‐0023172 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BLACKWELL, JR, MARION F.
BLACKWELL, TERESA M.
516 CAMROSE COURT
INMAN, SC 29349                                       P‐0023173 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EGBERT, DOUGLAS M.
1698 MARING WAY
SACRAMENTO, CA 95835                                  P‐0023174 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLIVAS, DANIEL P.
13045 HORIZON TRL
CASTLE PINES, CO 80108                                P‐0023175 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADSHAW, NITA F.
27224 LAKEHURST AVE
CANYON COUNTRY, CA 91351                              P‐0023176 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JOYCE
26268 BONNIE AVE.
WARREN, MI 48089‐1260                                 P‐0023177 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JANIGA, MICHAEL J.
4 CAMINO SOBRANTE
ORINDA, CA 94563                                      P‐0023178 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTGOMERY, ANNE C.
26760 HAMMOND ROAD
RAINIER, OR 97048                                     P‐0023179 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, JOSEPH C.
809 BRISA DEL MAR DR.
EL PASO, TX 79912                                     P‐0023180 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUMMINGS, RONALD
CUMMINGS, CATHERINE
P. O. BOX 5724
VALLEY SPRING, TX 76885                               P‐0023181 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALINOWSKI, ALLISON M.
6531 BANNER LAKE CIRCLE
APT. 16303
ORLANDO, FL 32821                                     P‐0023182 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAWSON, DENNIS J.
93 LEE ROAD 2046
SMITHS STATION, AL 36877                              P‐0023183 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALCAZAR, LETICIA
P.O. BOX 363
WHITTIER, CA 90608‐0363                               P‐0023184 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOCKAPETRIS, VALERIE L.
9942 TIMBERKNOLL LANE
ELLICOTT CITY, MD 21042                               P‐0023185 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, DANIELLE C.
2662 HOSEA L. WILLIAMS DRIVE
ATLANTA, GA 30317                                     P‐0023186 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHANFEIN, MARK J.
P.O. BOX 1108
EASTSOUND, WA 98245                                   P‐0023187 11/12/2017     TK Holdings Inc., et al .                    $1,700.00                                                                                    $1,700.00
WOLFE, JUSTIN
WOLFE, CHRISTINA
P.O. BOX 502
ORCAS, WA 98280                                       P‐0023188 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN DYKE, RUTH L.
10103 243RD PL. SW
EDMONDS, WA 98020                                     P‐0023189 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
NGUYEN, ANTHONY P.
5865 KILLARNEY CIRCLE
SAN JOSE, CA 95138                                 P‐0023190 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIERICHELLA, MICHELLE
CHIERICHELLA, MICHELLE
P.O. BOX 168
LACKAWAXEN, PA 18435                               P‐0023191 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFE, CHRISTINA
WOLFE, JUSTIN
P.O. BOX 502
ORCAS, WA 98280                                    P‐0023192 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, MICHAEL G.
PETERSON, MELODYE
7591 NW 1ST ST
APT 208
MARGATE, FL 33063‐7544                             P‐0023193 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURCIO, PAUL
909 S 18TH ST
PHILADELPHIA, PA 19146                             P‐0023194 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHOHR, CARL D.
P.O. BOX 391
GRIDLEY, CA 95948                                  P‐0023195 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOCKENFUSS, MICHELE E.
8360 OLD MONTGOMERY ROAD
COLUMBIA, MD 21045                                 P‐0023196 11/12/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
MOCKAPETRIS, VALERIE L.
9942 TIMBERKNOLL LANE
ELLICOTT CITY, MD 21042                            P‐0023197 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRUITT, SEAN R.
PRUITT, KIMBERLY M.
79 CHARLES RIVER DR.
FRANKLIN, MA 02038                                 P‐0023198 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEMED, DITA
2917 ELLIOTT AVE
WILLOW GROVE, PA 19090                             P‐0023199 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARLATO, RALPH
PARLATO, LAUREN
137 REDSTONE DRIVE
NAZARETH, PA 18064                                 P‐0023200 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAIFSTANGER, MARY E.
74 TUSCANY LANE
WEBSTER, NY 14580                                  P‐0023201 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNNE, SHANE
367 CHURCH STREET #5
SAN FRANCISCO, CA 94114                            P‐0023202 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLIVARES, JUAN
OLIVARES, ANGELA
6 DEL LIVORNO
IRVINE, CA 92614                                   P‐0023203 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHELLEW, BRAD
12144 167TH PL NE
REDMOND, WA 98052                                  P‐0023204 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSE, LINDA R.
3725 STONELEIGH DRIVE
LANSING, MI 48910                                  P‐0023205 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
DANIEL, KIMBERLY
5127 N DAMEN AVE APT D
CHICAGO, IL 60625                                    P‐0023206 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ESBENSHADE, JOHN F.
594 NORTH VALLEY FORGE ROAD
DEVON, PA 19333                                      P‐0023207 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
END, CHARLES C.
P.O. BOX 3
THOROFARE, NJ 08086                                  P‐0023208 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
CZERLANIS, JOAN B.
NO ADDRESS PROVIDED
                                                     P‐0023209 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
CARBAJAL, KYLE B.
1271 LAKESIDE DR
APT 1135
SUNNYVALE, CA 94085                                  P‐0023210 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
HAGLER, DAN N.
5160 ALBRIGHT ROAD NW
CONCORD, NC 28027                                    P‐0023211 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ANTHONY, PERRY L.
6988 EAST PARADISE RANCH ROAD
PARADISE VALLEY, AZ 85253                            P‐0023212 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
BERCEL, JOHN M.
16610 N. ASPEN DRIVE
FOUNTAIN HILLS, AZ 85268                             P‐0023213 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
POPE, CHRISTOPHER C.
7734 ABBOTSINCH COURT
CHARLOTTE, NC 28269                                  P‐0023214 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ELISOFON, BEN
ELISOFON, JEFFERSON
17 WEST ELIZABETH STREET
WATERLOO, NY 13165                                   P‐0023215 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
TIBBETTS, ZAKARY I.
2530 SW NEVADA CT
PORTLAND, OR 97219                                   P‐0023216 11/12/2017     TK Holdings Inc., et al .                 $1,000,000.00                                                                                $1,000,000.00
BICKLEY, THOMAS L.
BICKLEY, CATHRYN
1619 MAIN STREET
MOULTON, AL 35650                                    P‐0023217 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
HAGLER, DAN N.
5160 ALBRIGHT RD NW #204
CONCORD, NC 28027                                    P‐0023218 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
POPE, CHRISTOPHER C.
7734 ABBOTSINCH COURT
CHARLOTTE, NC 28269                                  P‐0023219 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
COLEMAN, JILL
14683 STARRATT CREEK DR
JACKSONVILLE, FL 32226                               P‐0023220 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
HINKLE, DEVYN A.
HINKLE, CAROLANN G.
12711 BROOKPARK RD.
OAKLAND, CA 94619                                    P‐0023221 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LEVY, MICHELLE
907 ROLAND ROAD
PITTBURGH, PA 15221                                  P‐0023222 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00


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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
HSU, PEARL Y.
324 S. CURTIS AVE.
ALHAMBRA, CA 91803                                     P‐0023223 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POPE, CHRISTOPHER C.
7734 ABBOTSINCH COURT
CHARLOTTE, NC 28269                                    P‐0023224 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINKLE, CAROLANN G.
12711 BROOKPARK RD.
OAKLAND, CA 94619                                      P‐0023225 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECKER, JAMES R.
2507 S BIG TIMBER PLACE
SIOUX FALLS, SD 57105‐5160                             P‐0023226 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, LISA C.
4117 CASPIAN TRACE
SNELLVILLE, GA 30039                                   P‐0023227 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGLER, SHERYL A.
5160 ALBRIGHT ROAD NW
CONCORD, NC 28027                                      P‐0023228 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEINBERG, STEVEN M.
240 COLLINS DRIVE
PITTSBURGH, PA 15235                                   P‐0023229 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POPE, CHRISTOPHER C.
7734 ABBOTSINCH COURT
CHARLOTTE, NC 28269                                    P‐0023230 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRABO, ROVEN
SUMA, SENADA
6168 78TH STREET
MIDDLE VILLAGE, NY 11379                               P‐0023231 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COTONI, VINCENT
2252 VIA APRILIA
UNIT 3
DEL MAR, CA 92014                                      P‐0023232 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLASER, PETER L.
1670 MANITOBA DRIVE
SUNNYVALE, CA 94087                                    P‐0023233 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ACUNA, JOSE H.
178 W POWELL WAY
CHANDLER, AZ 85248                                     P‐0023234 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOZANO, CATHLEEN
6790 N. RECREATION AVE.
FRESNO, CA 93710                                       P‐0023235 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYERLY, DENNIS G.
47845 VIA NICE
LA QUINTA, CA 92253                                    P‐0023236 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, DEREK
26268 BONNIE AVE.
WARREN, MI 48089‐1260                                  P‐0023237 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BHAT, SUDIN
9716 178TH PL NE UNIT 104
REDMOND, WA 98052                                      P‐0023238 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SONDERGAARD, CRAIG A.
744 12TH ST
WASHOUGAL, WA 98671                                    P‐0023239 11/12/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BHAT, SUDIN
9716 178TH PL NE UNIT 104
REDMOND, WA 98052                                      P‐0023240 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HEELAN, MARSHA J.
12 MAGNOLIA LANE
MOUNT ARLINGTON, NJ 07856‐1347                      P‐0023241 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VEGA, ARNOLD
7451 WARNER AVE
E373
HUNTINGTON BEACH, CA 92647                          P‐0023242 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUBIN, KAREN R.
139 SMITH ROAD
BASTROP, TX 78602                                   P‐0023243 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOODY, TAREN
955 E HYDE PARK BLV #17
INGLEWOOD, CA 90302                                 P‐0023244 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAHIDI, TARA
19 MISTRAL
ALISO VIEJO, CA 92656                               P‐0023245 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SONDERGAARD, ARLENE K.
744 12TH ST
WASHOUGAL, WA 98671                                 P‐0023246 11/12/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HOUSTON, KYLE D.
12004 SE 276TH PL
KENT, WA 98030                                      P‐0023247 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEBERT, TAMARA R.
HEBERT, JOEL W.
19013 SE 270TH CT
COVINGTON, WA 98042                                 P‐0023248 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, SARAH
DAVIS, SARAH J.
42 CALLE DE FELICIDAD
RANCHO SANTA MARGARITA, CA 92688                    P‐0023249 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALOMARES, OLIVIA
4741 BROOKHILL TERRACE
RIVERSIDE, CA 92509                                 P‐0023250 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAMAN, STEVEN
31090 BANCROFT DR.
NOVI, MI 48377                                      P‐0023251 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLOUGH, PATRICIA A.
505 WEST MAIN STREET
APT C
SALEM, VA 24153                                     P‐0023252 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE LA O, CARLOS
635 W VUELTA BURIL
SAHUARITA, AZ 85629                                 P‐0023253 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOUNKARA, KAREN
3201 WINDY CAPE LANE
LEAGUE CITY, TX 77573                               P‐0023254 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHERIDAN, ANNA M.
2 BRYANT CRESCENT
WHITE PLAINS, NY 10605                              P‐0023255 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEY, RYAN Y.
214 NW LANCER LN
PULLMAN, WA 99163                                   P‐0023256 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HATCH, REBECCA B.
7354 HWY 95A N
MOLINO, FL 32577                                    P‐0023257 11/12/2017     TK Holdings Inc., et al .                   $33,276.50                                                                                   $33,276.50


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SHAMAN, RAFIDA
SHAMAN, TONY
31090 BANCROFT DR.
NOVI, MI 48377                                       P‐0023258 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STERN, MICHAEL A.
34817 N. ROBIN ROAD
INGLESIDE, IL 60041                                  P‐0023259 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLOSSNER, DYLAN T.
3 CALLE CALUROSA
SAN CLEMENTE, CA 92673                               P‐0023260 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANG, JUDITH M.
20800 MARINE DRIVE
N/A
STANWOOD, WA 98292‐7822                              P‐0023261 11/12/2017     TK Holdings Inc., et al .                    $1,100.00                                                                                    $1,100.00
FINAN, KEVIN P.
6416 163RD PL SE
BELLEVUE, WA 98006                                   P‐0023262 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAILEY, JULISSA
1202 CALLAWAY DR. N
SHOREWOOD, IL 60410                                  P‐0023263 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, BRIAN W.
SMITH, BRIAN W.
8 WINNERS CIRCLE #1B
OWINGS MILLS, MD 21117                               P‐0023264 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, SHANI L.
7805 TERRITORIAL ST.
LAS VEGAS, NV 89149                                  P‐0023265 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLLY, KEVIN T.
HOLLY, ELIZABETH A.
613 JASMINE PARKE DRIVE
APT 1
BAKERSFIELD, CA 93312                                P‐0023266 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KURASIEWICZ, FREDERICK J.
KURASIEWICZ, BARBARA D.
109 RIDGE CROSSING
WILLIAMSBURG, VA 23188                               P‐0023267 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABSHER, MARK A.
ABSHER, SHARI E.
24 HAWK HILL
MISSION VIEJO, CA 92692                              P‐0023268 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONTE, SUE A.
18A STILL STREET
BROOKLINE, MA 02446                                  P‐0023269 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RHODEN, MELISSA A.
1642 POWERS FERRY ROAD SE
STE 250
MARIETTA, GA 30067                                   P‐0023270 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZORKO, MARK A.
9265 FAWN LAKE DR.
RALEIGH, NC 27617                                    P‐0023271 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRISON, MARCELLA T.
P O BOX 714
AUBURNDALE, FL 33823                                 P‐0023272 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
NG, HONG KONG
TEY, NICOLE S.
1702 HARMONY AVENUE
SUGAR LAND, TX 77479                                 P‐0023273 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNIGHT, JOHNATHAN A.
14378 E 430 RD
CLAREMORE, OK 74017                                  P‐0023274 11/12/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
MCLEAN, THURMAN
937 PARK AVE
WILLIAMSPORT, PA 17701                               P‐0023275 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOEHM, DAVID S.
685 ABERDEEN DRIVE
PLACENTIA, CA 92870                                  P‐0023276 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, KEVIN D.
COLLINS, JOAN K.
32 WELLESLEY ROAD
UPPER MONTCLAIR, NJ 07043                            P‐0023277 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALL, STEVEN H.
5265 RIDGE PARKWAY
ERIE, PA 16510                                       P‐0023278 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMOS, STEPHANIE
AMOS, STEPHANIE A.
60369 GRANADA DR
JOSHUA TREE, CA 92252                                P‐0023279 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DODSON, LEWIS F.
DODSON, DEBRA D.
P.O. BOX 31
CAROLINA BEACH, NC 28428                             P‐0023280 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAFF, DEBRA
12251 MOORPARK ST. #103
STUDIO CITY, CA 91604                                P‐0023281 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAETZ, D.
DAETZ, L.
P.O. BOX 2174
CUPERTINO, CA 95015                                  P‐0023282 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUERRERO, ARTHUR
GUERRERO, MARIA
9603 MULLER STREET
DOWNEY, CA 90241                                     P‐0023283 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENTRY, JOSH P.
10036 BREIDT AVE
TUJUNGA, CA 91042                                    P‐0023284 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PELUSO, MARTA E.
COTKIN, GEORGE B.
557 STONERIDGE DRIVE
SAN LUIS OBISPO, CA 93401                            P‐0023285 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANKL, LINDA C.
FRANKL, MICHAEL J.
4550 MANCHESTER DRIVE
ROCKLEDGE, FL 32955                                  P‐0023286 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DANIEL R.
108 BAUM BAY DR
MILLEDGEVILLE, GA 31061                              P‐0023287 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOHAMOUD, NASRA A.
1625 17TH ST NW APT# 34
FARIBAULT, MN 55021‐2844                             P‐0023288 11/12/2017     TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LINDER, TODD B.
LINDER, JUDY L.
186 LAZY CREEK WAY
KALISPELL, MT 59901                                  P‐0023289 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
END, CHARLES C.
P.O. BOX 3
THOROFARE, NJ 08086                                  P‐0023290 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, KIMBERLY M.
1520 FOREST TRAIL DRIVE
FINDLAY, OH 45840                                    P‐0023291 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOHMESCHER, CAROL A.
838 BAY HARBOR DR
MAINEVILLE, OH 45039                                 P‐0023292 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KADY, EUGENE
KADY, BRENDA
6226 MCALPIN RD
GAGETOWN, MI 48735                                   P‐0023293 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABADILLA, EUGENE
23613 AQUACATE RD
CORONA, CA 92883                                     P‐0023294 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NUNNELLEY, DAVID G.
3164 EDGEWOOD PARK COURT
COMMERCE, MI 48382                                   P‐0023295 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUER, KATHLEEN M.
3168 S. 57TH ST.
MILWAUKEE, WI                                        P‐0023296 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASE, MARYALICE B.
CASE, JERRY W.
211 LILLIE ROBYN LANE
BUDA, TX 78610                                       P‐0023297 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUEN, DEBRA K.
6660 KARA DR
EDEN PRAIRIE, MN 55346                               P‐0023298 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAWORSKI, R.
P.O. BOX 1273
SAN JUAN CAPISTR, CA 92693                           P‐0023299 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DACOSTA, MARGUERITE
68 5TH AVE FL 1
CLIFTON, NJ 07011                                    P‐0023300 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCINTYRE, ERIN E.
MCINTYRE, DANIEL W.
111 BOWERMAN RD.
FARMINGTON, NY 14425                                 P‐0023301 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUKES, ERIC
2001 S. MACARTHUR BLVD #91
OKLAHOMA CITY, OK 73128                              P‐0023302 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DACOSTA, MARGUERITE
68 5TH AVE FL 1
CLIFTON, NJ 07011                                    P‐0023303 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TASHMAN, LAUREN P.
1723 BRENTWOOD AVENUE
UPLAND, CA 91784                                     P‐0023304 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEHNER, ROBERT
5634 SE HARBOR TERRACE
STURT, FL 34997                                      P‐0023305 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
UTT, TAMMY L.
LIDDLE TYKES DAYCARE, LLC
1190 KENMORE RD
HILLSVILLE, VA 24343                                  P‐0023306 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COSTELLO, JAMES P.
P.O. BOX 565
FOREST KNOLLS, CA 94933                               P‐0023307 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, CHRISTINE M.
8081 MARVIN D LOVE FWY
APT 813
DALLAS, TX 75237                                      P‐0023308 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROCKMAN, RACHEL M.
5080 SHEARIN AVE
LOS ANGELES, CA 90041                                 P‐0023309 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCHANAN, ROBERT F.
WOLLERT, STEVEN J.
69744 MATISSE ROAD
CATHEDRAL CITY, CA 92234                              P‐0023310 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROCKWAY, ROBERT C.
BROCKWAY, MEAGAN K.
8903 NE RUSSELL ST.
UNIT A
PORTLAND, OR 97220                                    P‐0023311 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANNA, JOHN S.
374 SORBIE LANE
MINERAL, VA 23117                                     P‐0023312 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANBORN, RICK K.
30704 NE 182ND AVE
YACOLT, WA 98675                                      P‐0023313 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ISCH, RUDOLF
2377 LOVALL VALLEY ROAD
SONOMA, CA 95476                                      P‐0023314 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAGER, PAUL G.
6507 ‐ 121ST AVE SE
BELLEVUE, WA 98006                                    P‐0023315 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANBORN, RICK K.
30704 NE 182ND AVE
YACOLT, WA 98675                                      P‐0023316 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUEBLER, JACOB D.
1617 E. FAIRLAWN DRIVE
URBANA, IL 61802                                      P‐0023317 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOSEPHER, CAROL J.
NO ADDRESS PROVIDED
                                                      P‐0023318 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, VINCENT
JACKSON, ROSA
3602 CROOKED CREEK DRIVE
DIAMOND BAR, CA 91765                                 P‐0023319 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEVON, RONI S.
3573 LOOMIS ORO RD
OROVILLE, WA 98844‐9702                               P‐0023320 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, SADE N.
7131 13TH STREET EAST
SARASOTA, FL 34243                                    P‐0023321 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
LUNDY, ENEL
TAKATA
2980 SARATOGA SKY WAY
BETHLEHEM, GA 30620                                   P‐0023322 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TENNERY‐SPALDING, DANIEL K.
645 65TH STREET
OAKLAND, CA 94609                                     P‐0023323 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, GWENDOLYN L.
2724 W. FAIRMOUNT AVE
BALTIMORE, MD 21223                                   P‐0023324 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAHIDI, TARA
19 MISTRAL
ALISO VIEJO, CA 92656                                 P‐0023325 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEROUIN, EMILY
4203 ALCOTT ST
DENVER, CO 80211                                      P‐0023326 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, MATTHEW S.
4036 RONALDS RD
DORR, MI 49323                                        P‐0023327 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDSTEIN, MICHAEL R.
48 MERCEDES WAY
SAN FRANCISCO, CA 94127                               P‐0023328 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UBINGER, LISA M.
105 NORTH DRIVE
VALENCIA, PA 16059                                    P‐0023329 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PURCELL, HANNAH
21237 5TH AVE. S.
DES MOINES, WA 98198                                  P‐0023330 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, DOUGLAS A.
5569 RUBION CIRCLE
CITRUS HEIGHTS, CA 95610                              P‐0023331 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GATZ, CAROL L.
4682 PASADENA AVENUE
SACRAMENTO, CA 95821                                  P‐0023332 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANILE, RETTON G.
7751 E ALMOND ST
TUCSON, AZ 85730                                      P‐0023333 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, GWENDOLYN L.
2724 W. FAIRMOUNT AVE
BALTIMORE, MD 21223                                   P‐0023334 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, DOUGLAS
5569 RUBION CIRCLE
CITRUS HEIGHTS, CA 95610                              P‐0023335 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KULIBABA, JOHN
6 LEWIS DRIVE
BERKLEY, MA 02779                                     P‐0023336 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANBORN, RICK K.
30704 NE 182ND AVE
YACOLT, WA 98675                                      P‐0023337 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHU, DAVID
4974 PURDUE AVE NE
SEATTLE, WA 98105                                     P‐0023338 11/12/2017     TK Holdings Inc., et al .                    $1,200.00                                                                                    $1,200.00
PRICE, MATTHEW
4036 RONALDS RD
DORR, MI 49323                                        P‐0023339 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
TOWN, JOHN M.
361 SADDLE LN
OJAI, CA 93023                                      P‐0023340 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCEBELO, ROBERT M.
8 COLUMBIA DR.
NEW FAIRFIELD, CT 06812                             P‐0023341 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAY, DARLA D.
P.O. BOX 373
BRUSH PRAIRIE, WA 98606                             P‐0023342 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURSAC, MILORAD
18A STILL STREET
BROOKLINE, MA 02446                                 P‐0023343 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, LAUREEN
BROWN, GARY
3597 N ARATA ROAD
STOCKTON, CA 95215                                  P‐0023344 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TERSON, HARLAN L.
5040 N TRIPP AVE
CHICAGO, IL 60630‐2725                              P‐0023345 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, BOMSHIK
20425 VIA VOLANTE
CUPERTINO, CA 95014                                 P‐0023346 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GODDARD, KAREN E.
51 GARFIELD ST
LANCASTER, NY 14086                                 P‐0023347 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CADEM, FRANCIS M.
CADEM, BRENDA K.
7621 PINE FOREST ROAD
PENSACOLA, FL 32526‐8768                            P‐0023348 11/12/2017     TK Holdings Inc., et al .                    $4,043.54                                                                                    $4,043.54
KURTZ, HEATHER M.
1794 TONINI DR APT # 54
SAN LUIS OBISPO, CA 93405                           P‐0023349 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRETT, ANNE R.
BARRETT, MARK
212 FILMORE AVENUE
NEW ORLEANS, LA 70124                               P‐0023350 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER II, REUBEN
SAGEBIEL, DOROTHY L.
8110 LINCOLN BLVD
#3
LOS ANGELES, CA 90045                               P‐0023351 11/12/2017     TK Holdings Inc., et al .                    $5,500.00                                                                                    $5,500.00
EFIRD, ROBERT B.
200 MOUNTAIN TOP LODGE ROAD
DAHLONEGA, GA 30533                                 P‐0023352 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHULZ, REBECCA A.
2904 SPRINGDALE AVENUE
WAUSAU, WI 54401                                    P‐0023353 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, GABRIEL F.
126 SPRING RIDGE DRIVE
BERKELEY HEIGHTS, NJ 07922                          P‐0023354 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SERRANO, IMELDA V.
325 SERENO DR
EL PASO, TX 79907                                   P‐0023355 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
NELSON, TRAVIS
NM WSSSKD
P.O. BOX 944
CABOOL, MO 65689                                    P‐0023356 11/12/2017     TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
ABAZIA, CAROL
27912 PERGL RD
SOLON, OH 44139                                     P‐0023357 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEEDHAM, DIANNE L.
NEEDHAM, HOWARD M.
17916 N. 93RD WAY
SCOTTSDALE, AZ 85255                                P‐0023358 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINA, MATT M.
PINA, MICHELLE
24040 13TH AVENUE SOUTH
DES MOINES, WA 98198                                P‐0023359 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMS, REBEKAH C.
SIMS II, SUNDAY
2976 FAIR OAKS AVE
ALTADENA, CA 91001                                  P‐0023360 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUFFINGTON, DONALD J.
P.O. BOX 731
LOLO, MT 59847                                      P‐0023361 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORFLEET, JULIE I.
NORFLEET, HERMAN E.
904 RIVERBEND RD
NASHVILLE, TN 37221                                 P‐0023362 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARABETTA, CLINTON J.
NO ADDRESS PROVIDED
                                                    P‐0023363 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNORR, KIM A.
502 MORNINGSIDE AVENUE
MADISON, WI 53716‐1737                              P‐0023364 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANKS, STACEY
26125 S. ROYAL CREST COURT
CRETE, IL 60417                                     P‐0023365 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, EFUNTOLU O.
9107 DOGWOOD ROAD
WINDSOR MILL, MD 21244                              P‐0023366 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAWLEY, STEVEN M.
6337 WELL FLEET DRIVE
COLUMBUS, OH 43231                                  P‐0023367 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KHASIN, IRINA
220 HIGH ST
ACTON, MA 01720                                     P‐0023368 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AGUIRRE, DAVID C.
8205 MONTAL ST.
LAMONT, CA 93241                                    P‐0023369 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AKMYRADOV, CHARY
50 LAKESHORE DR
LITTLE ROCK, AR 72204                               P‐0023370 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAVIVARADARAJULU, BHARATHKUMA
95 N BROADWAY
APT A2‐3
WHITE PLAINS, NY 10603                              P‐0023371 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ELLS, SUSAN E.
5726 STORY BOOK TRL
MISSOURI CITY, TX 77459                             P‐0023372 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COUTO, RICHARD
319 TECUMSEH STREET
APT.2
FALL RIVER, MA 02721                                P‐0023373 11/12/2017     TK Holdings Inc., et al .                   $23,500.00                                                                                   $23,500.00
RODRIGUEZ, MERCEDES M.
1447 S. HIGHLAND
BERWYN, IL 60402                                    P‐0023374 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINA, MATTHEW
PINA, MICHELLE
24040 13TH AVENUE SOUTH
DES MOINES, WA 98198                                P‐0023375 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, BETTY
5726 STORY BOOK TRL
MISSOURI CITY, TX 77459                             P‐0023376 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, SANDRA A.
P.O. BOX 441
PICKFORD, MI 49774                                  P‐0023377 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOURI, RAYMOND J.
KOURI, JULIE
169 CASCADE FALLS DRIVE
FOLSOM, CA 95630‐1557                               P‐0023378 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBS, BRANDON R.
44 OAKRIDGE DR
TAUNTON, MA 02780                                   P‐0023379 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOMINIS, ROBERT
11907 STENDALL DR N
SETTLE, WA 98133                                    P‐0023380 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, ASHLEY B.
4404 SE MITCHELL ST
PORTLAND, OR 97206                                  P‐0023381 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOURI, JULIE
KOURI, JONATHAN J.
169 CASCADE FALLS DRIVE
FOLSOM, CA 95630‐1557                               P‐0023382 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINTANAR, MARIAN D.
1278 PROSPECT DRIVE
POMONA, CA 91766                                    P‐0023383 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUON, TONY
520 2ND AVE W
APT 203
SEATTLE, WA 98119                                   P‐0023384 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, LISA A.
1584 OLD HIGHWAY 25 SOUTH
STARKVILLE, MS 39759                                P‐0023385 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUON, TONY
520 2ND AVE W
APT 203
SEATTLE, WA 98119                                   P‐0023386 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, HEENA P.
160 NORTH MAIN STREET
APT #51B
NEW CITY, NY 10956                                  P‐0023387 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
TAYLOR, RICHARD A.
11212 CYPRESS VIEW DR
CHARLOTTE, NC 28262                                   P‐0023388 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINGERT, CAROL J.
920 FRANKLIN AVE
CONNELLSVILLE, PA 15425                               P‐0023389 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKAY, LYNDA A.
1831 7TH STREET SW
PUYALLUP, WA 98371                                    P‐0023390 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAU, RICHARD
CUGELL, CATHERINE
325 WEST 101 ST
NEW YORK, NY 10025                                    P‐0023391 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALIQUO, KIMBERLY T.
1513 STRATFORD HALL CIRCLE
MURFREESBORO, TN 37130                                P‐0023392 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHOU NODELMAN, QIAN
11555 NORMANTON WAY
SAN DIEGO, CA 92131                                   P‐0023393 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALICEA, MARIBEL
8418 CALUSA ST
SPRING HILL, FL 34608                                 P‐0023394 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, HEENA P.
160 NORTH MAIN STREET
APT #51B
NEW CITY, NY 10956                                    P‐0023395 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTANA, THERESA M.
2632 LUTZ LANE
BETHEL PARK, PA 15102                                 P‐0023396 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, CHRISTOPHER L.
142 MELLERAY CT
VILLA RICA, GA 30180                                  P‐0023397 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, ROSA
1205 E. 9TH STREET L58
UPLAND, CA 91786                                      P‐0023398 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NODELMAN, VLADISLAV
11555 NORMANTON WAY
SAN DIEGO, CA 92131                                   P‐0023399 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, DANA L.
4755 COUNTY ROAD 27
MONTE VISTA, CO 81144                                 P‐0023400 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEDEZMA, JOSHUA
TK HOLDINGS INC.
6932 AGRA STREET
COMMERCE, CA 90040                                    P‐0023401 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUCOING, GRETCHEN S.
11318 BURGOYNE
HOUSTON, TX 77077                                     P‐0023402 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAUMANN, MICHAEL
6434 DEERFIELD CT
WATERLOO, IL 62298                                    P‐0023403 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LESIOTIS, NANCY
1751 E. ERIE
LONG BEACH, CA 90802                                  P‐0023404 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BROWN, CHRISTOPHER L.
142 MELLERAY CT
VILLA RICA, GA 30180                                  P‐0023405 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, DOUGLAS R.
2194 ELMBURG RD
SHELBYVILLE, KY 40065                                 P‐0023406 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, JENNY L.
3638 CHELSEA DRIVE
BRUNSWICK, OH 44212                                   P‐0023407 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LETHCOE, DAVID M.
LETHCOE, KAREN M.
1541 MORNING STAR RD
APPOMATTOX, VA 24522                                  P‐0023408 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, JOHN M.
175 COON DEN ROAD
HIGHLAND LAKES, NJ 07422                              P‐0023409 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HONORIDEZ, JOE NEIL A.
HONORIDEZ, MELODEE P.
18841 TOPHAM ST UNIT 7
TARZANA, CA 91335                                     P‐0023410 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POPE, STACY E.
6222 HWY 100 NORTH
TALLAPOOSA, GA 30176                                  P‐0023411 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESTRADA, MARISELLA
NO ADDRESS PROVIDED
                                                      P‐0023412 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TSANG, MITCHELL
11706 W ALTADENA AVE
EL MIRAGE, AZ 85335                                   P‐0023413 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUISENBERRY, WILLIAM T.
536 WILSON AVE.
FULLERTON, CA 92831                                   P‐0023414 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, KENNETH R.
WALKER, LYNN S.
61 BLUEBERRY HILL LN
SUDBURY, MA 01776                                     P‐0023415 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEPERD, LYNDSAY
SHEPERD, LYNDSAY A.
11055 HANCOCK AVE
FORNEY, TX 75126                                      P‐0023416 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODALL, SARAH C.
129 KENNER AVE
NASHVILLE, TN 37205                                   P‐0023417 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRAH, TIMOTHY M.
P.O. BOX 724
GREENSBURG, PA 15601                                  P‐0023418 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUSHING, ETHAN E.
3200 S BARRINGTON AVE
APT 12
LOS ANGELES, CA 90066                                 P‐0023419 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUISENBERRY, WILLIAM T.
QUISENBERRY, SHARI L.
536 WILSON AVE.
FULLERTON, CA 92831                                   P‐0023420 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
POGREBITSKY, VADIM
828 4TH STREET #304
SANTA MONICA, CA 90403                                P‐0023421 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOREHEAD, ROBERT R.
4610 STONEBRIDGE LANE
VIRGINIA BEACH, VA 23462                              P‐0023422 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAZILAUSKAS, JOHN M.
21 LOTUS ROAD
NEW ROCHELLE, NY 10804                                P‐0023423 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANG, KABIR S.
CASTANO, MARIA J.
24542 CHRISTINA COURT
LAGUNA HILLS, CA 92653                                P‐0023424 11/12/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BITONI, MICHELLE L.
1943 NW 11TH
MERIDIAN, ID 83646                                    P‐0023425 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESTRADA, MARISELLA
NO ADDRESS PROVIDED
                                                      P‐0023426 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, KENNETH R.
WALKER, LYNN S.
61 BLUEBERRY HILL LN
SUDBURY, MA 01776                                     P‐0023427 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
D'ANGELO, MICHAEL
200 BELLINGRATH DRIVE
HOUMA, LA 70360                                       P‐0023428 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YANG, TING‐TING
3835 FAMILY TREE
IRVINE, CA 92618                                      P‐0023429 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOEPPEL, JAMES
6940 SE 33RD ST
MERCER ISLAND, WA 98040                               P‐0023430 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, KENNETH R.
WALKER, LYNN S.
61 BLUEBERRY HILL LN
SUDBURY, MA 01776                                     P‐0023431 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBER, NICOLE M.
247 S. POPLAR ST.
MANTENO, IL 60950                                     P‐0023432 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAFFER, MICHAEL J.
SHAFFER, MONA L.
835 HILLTOP ROAD
MYERSTOWN, PA 17067                                   P‐0023433 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOEPPEL, JAMES
6940 SE 33RD STREET
MERCER ISLAND, WA 98040                               P‐0023434 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOREHEAD, DIANA L.
MOREHEAD, ROBERT R.
4610 STONEBRIDGE LANE
VIRGINIA BEACH, VA 23462                              P‐0023435 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LORENZEN, TERRY L.
4582 SANDOWN CT
OKEMOS, MI 48864                                      P‐0023436 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESTRADA, MARISELLA
NO ADDRESS PROVIDED
                                                      P‐0023437 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MARTIN, GARY E.
MARTIN, LYDIA D.
P.O. BOX 670
CARNATION, WA 98014                                   P‐0023438 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, KENNETH R.
WALKER, LYNN S.
61 BLUEBERRY HILL LN
SUDBURY, MA 01776                                     P‐0023439 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOURI, JULIE
KOURI, RAYMOND J.
169 CASCADE FALLS DRIVE
FOLSOM, CA 95630‐1557                                 P‐0023440 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OCHOA, COREY P.
4238 SUSSEX CIRCLE
CYPRESS, CA 90630                                     P‐0023441 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANDALL, KELLY J.
201 RUDOLPH RD
CAMERON, WI 54822                                     P‐0023442 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDRUS, ARON W.
537 AVE F
MARRERO, LA 70072                                     P‐0023443 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROMERO, MIRNA M.
1119 ROSE CIR
CORONA, CA 92882                                      P‐0023444 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAURITZEN, NELS J.
LAURITZEN, NELS J.
57 CRICKHOLLOW COURT
HILLSBOROUGH, NJ 08844                                P‐0023445 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENRY, KYRIANTE' S.
10000 FANNIN STREET APT 351
HOUSTON, TX 77045                                     P‐0023446 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HISSAM, JOSEPH D.
515 WEST 4TH STREET APT 4
KIMBALL, NE 69145                                     P‐0023447 11/12/2017     TK Holdings Inc., et al .                   $45,000.00                                                                                   $45,000.00
KONDO, EVAN Y.
98‐1803 KUPUKUPU STREET
AIEA, HI 96701                                        P‐0023448 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAKHARWALA, RUPIN H.
3703 SE BELLE OAK CT
HILLSBORO, OR 97123                                   P‐0023449 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, CHINGJUI
419 N ALHAMBRA AVE APT C
MONTEREY PARK, CA 91755                               P‐0023450 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHRAM, LEE J.
818 SUMMIT AVE
ST PAUL, MN 55105                                     P‐0023451 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAKHARWALA, RUPIN H.
3703 SE BELLE OAK CT
HILLSBORO, OR 97123                                   P‐0023452 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TSANG, MITCHELL
11706 W ALTADENA AVE
EL MIRAGE, AZ 85335                                   P‐0023453 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIGNO, KOUADIO R.
8564 CHICAGO AVE.
LEWIS MCCHORD, WA 98433                               P‐0023454 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TSANG, MITCHELL
11706 W ALTADENA AVE
EL MIRAGE, AZ 85335                                  P‐0023455 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAIRD, MARCIA
2650 MAPLE GROVE AVE
MANTECA, CA 96336                                    P‐0023456 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POPE, JIMMY D.
6222 HWY 100 N
TALLAPOOSA, GA 30176                                 P‐0023457 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AWOSIKA, IDOWU
7717 ARCADIA BLVD
ALEXANDRIA, KY 41001                                 P‐0023458 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORTEZAI, CAROLYN
153 POINTE DR
UNIT 406
NORTHBROOK, IL 60602                                 P‐0023459 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TSANG, MITCHELL
11706 W ALTADENA AVE
EL MIRAGE, AZ 85335                                  P‐0023460 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TSANG, MITCHELL
11706 W ALTADENA AVE
EL MIRAGE, AZ 85335                                  P‐0023461 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, AMIE M.
3228 NW MARKET ST
SEATTLE, WA 98107                                    P‐0023462 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATEL, DINESH K.
PATEL, DAXA D.
BSJ ASSOCIATES
114 SOUTH CASCADE CIRCLE
UNION CITY, CA 94587                                 P‐0023463 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KO, MUI SEL
1320 LYNWOOD STREET
LA HABRA, CA 90631                                   P‐0023464 11/12/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
CILIA, JOHN G.
11511 PAMPASS PASS
HOUSTON, TX 77095                                    P‐0023465 11/12/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
JEAN, JEAN‐PHILLI
3405 FLEETWOOD DR.
EL SOBRANTE, CA 94803                                P‐0023466 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOETTEL, ROBERT K.
10541 STONE AVE. N. #202
SEATTLE, WA 98133                                    P‐0023467 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CILIA, MARY H.
11511 PAMPASS PASS
HOUSTON, TX 77095                                    P‐0023468 11/12/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MEYE, TRACIE R.
217 LIME ST
OMAK, WA 98841                                       P‐0023469 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HU, XIAOYI
5078 MANOR RIDGE LN
SAN DIEGO, CA 92130                                  P‐0023470 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LE, THANH M.
LY, DUONG T.
1408 MILAM WAY
N/A
CARROLLTON, TX 75006                                 P‐0023471 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
DINH, VU T.
12321 ZETA ST.
GARDEN GROVE, CA 92840                                P‐0023472 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DINH, VU T.
NO ADDRESS PROVIDED
                                                      P‐0023473 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STIRMAN, AMY M.
555 W MIDDLEFIELD RD
APT G‐204
MOUNTAIN VIEW, CA 94043                               P‐0023474 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LE, THANH M.
1408 MILAM WAY
N/A
CARROLLTON, TX 75006                                  P‐0023475 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEONE, DALE A.
340 CENTRE AVE
APT 50
ROCKLAND, MA 02370                                    P‐0023476 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GANNON, SARAH
20,000 US HIGHWAY 19 N
LOT 225
CLEARWATER, FL 33764                                  P‐0023477 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOURI, JULIE
KOURI, RAYMOND J.
169 CASCADE FALLS DRIVE
FOLSOM, CA 95630‐1557                                 P‐0023478 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRITTO, ADAM C.
2910 71ST AVE NW
GIG HARBOR, WA 98335                                  P‐0023479 11/12/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINN, ERIKA
QUINN, ERIKA L.
9651 W. CANYON TER. UNIT 4
SAN DIEGO, CA 92123‐4669                              P‐0023480 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVY, ANTHONY M.
4511 SE 37TH AVE
PORTLAND, OR 97202                                    P‐0023481 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, JONATHAN W.
190 POPLAR STREET
                                                      P‐0023482 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CABAN, ALISIA
2573 MOON MOUNTAIN DR
EUGENE, OR 97403                                      P‐0023483 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRAWIHARJO, JERRY
WIDJAJA, FRANSISCA D.
1794 GABLE LN
SAN JOSE, CA 95124                                    P‐0023484 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREGG, LOIS L.
65‐1222 LAELAE PLACE
KAMUELA, HI 96743                                     P‐0023485 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREGG, PETER E.
65‐1222 LAELAE PLACE
KAMUELA, HI 96743                                     P‐0023486 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANN, HEIDI O.
MANN, KARAMVIR S.
20031 53RD ST SE
SNOHOMISH, WA 98290                                   P‐0023487 11/13/2017     TK Holdings Inc., et al .                    $1,200.00                                                                                    $1,200.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
HALEEKA ENTERTAINMENT
11271 VENTURRA BLVD
NO 627
STUDIO CITY, CA 91604                                 P‐0023488 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKAN, CHRISTINE
1 FLOOD CIRCLE
ATHERTON, CA 94027                                    P‐0023489 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOCK, CRAIG A.
2 MUSEUM LN.
WATERFORD, NY 12188                                   P‐0023490 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKAN, CHRISTINE
1 FLOOD CIRCLE
ATHERTON, CA 94027                                    P‐0023491 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUMOCK, PHILIP R.
1808 CRYSTAL LANE LOOP SE
PUYALLUP, WA 98372                                    P‐0023492 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DODGE, DAVID
540 SAHALEE DR. SE
SALEM, OR 97306                                       P‐0023493 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINES, JACQUELINE E.
P.O. BOX 701008
HOUSTON, TX 77270                                     P‐0023494 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUMPHREYS, LEAH C.
871 ATHENS AVE
OAKLAND, CA 94607                                     P‐0023495 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSRA, GURPRIT S.
9329 SECRETARIAT LN
ELK GROVE, CA 95624                                   P‐0023496 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINES, JACQUELINE E.
P.O. BOX 701008
HOUSTON, TX 77270                                     P‐0023497 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HU, MAOKUN
4520 MONTECITO DR.
LA PALMA, CA 90623                                    P‐0023498 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOK, HON
1320 PALM AVE, APT B
SAN GABRIEL, CA 91776                                 P‐0023499 11/13/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
HU, JACKY
4520 MONTECITO DR.
LA PALMA, CA 90623                                    P‐0023500 11/13/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
CHOU, JESSICA A.
16353 VERIDIAN CIRCLE
SAN DIEGO, CA 92127                                   P‐0023501 11/13/2017     TK Holdings Inc., et al .                  $150,000.00                                                                                  $150,000.00
ECKENRODE, JENNIFER L.
2150 S STATE COLLEGE BLVD
APT 2036
ANAHEIM, CA 92806                                     P‐0023502 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIORDANO, DOMINIC J.
97 LOCH LOMOND CT
MAYS LANDING, NJ 08330                                P‐0023503 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHU, JIANG
17314 NE 25TH WAY
REDMOND, WA 98052                                     P‐0023504 11/13/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SADLER, JEREMY M.
1808 BELLEVUE AVE
APT 410
SEATTLE, WA 98122                                    P‐0023505 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESCOBEDO, GREGORIO Q.
38259 PIONEER DR
PALMDALE, CA 93552                                   P‐0023506 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUVIER, AMY L.
1640 SW DOWNFIELD WAY
OAK HARBOR, WA 98277                                 P‐0023507 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
USANMAZ, SIBEL
POBOX 1475
CARMICHAEL, CA 95609                                 P‐0023508 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEEHLER, KELSEY M.
2155 HUNTINGTON CIRCLE
ELDORADO HILLS, CA 95762                             P‐0023509 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERALTA, DEPRAGUALIN S.
10976 CANYON HILL LN
SAN DIEGO, CA 92126                                  P‐0023510 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHENG, PHILIP
CHANG, CYNDIE
8736 GREENWOOD AVE.
S
SAN GABRIEL, CA 91775                                P‐0023511 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, KIMBERLY L.
512 SW 303RD PL
FEDERAL WAY, WA 98023                                P‐0023512 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, KIMBERLY L.
512 SW 303RD PL
FEDERAL WAY, WA 98023                                P‐0023513 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOUVIER, AMY L.
1640 SW DOWNFIELD WAY
OAK HARBOR, WA 98277                                 P‐0023514 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOJTARIC, EZIB
1346 JOPLIN DR #2
SAN JOSE, CA 95118                                   P‐0023515 11/13/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
CARBAJAL, SAMUEL J.
9121 KENWOOD DR. UNIT 11
SPRING VALLEY, CA 91977                              P‐0023516 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, KIMBERLY L.
512 SW 303RD PL
FEDERAL WAY, WA 98023                                P‐0023517 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VONGRAF, KRISTINA
225 CEDAR ST
STE 1805
SEATTLE, WA 98121                                    P‐0023518 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASWELL, DIANA P.
CASWELL, BENSON T.
19 CONIFER RDG
CUMB FORESIDE, ME 04110                              P‐0023519 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ISAAC, LEONARD M.
11 OXFORD DRIVE
WEST HARTFORD, CT 06107                              P‐0023520 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SCHAEFFER, ROGER C.
SCHAEFFER, SUE C.
2132 CASTLEGREEN DRIVE
GREENCASTLE, PA 17225                               P‐0023521 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OHMER, MARLENE R.
2547 W 8TH ST UNIT 42
ERIE, PA 16505‐4443                                 P‐0023522 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNEY, SHANNON M.
48496 PIN OAK DR
MACOMB, MI 48044                                    P‐0023523 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WYETH, LEAH A.
1429 BAYWOOD DR.
MODESTO, CA 95350                                   P‐0023524 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIBEIRO, BRUNO F.
606 S. 11TH ST.
LAFAYETTE, IN 47905                                 P‐0023525 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANORSBY, ROBERTA
612 APPIAN WAY
MATTESON, IL                                        P‐0023526 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, KEVIN M.
3232 ENSENADA ST NE
HARTVILLE, OH 44632                                 P‐0023527 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, ELIZABETH S.
237 W MAIN ST
SHE;BY, OH 44875                                    P‐0023528 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, HORACE
10471 WADE DR.
DENHAMSPRINGS, LA 70726                             P‐0023529 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARREN, CHERYL B.
P O BOX 18302
NATCHEZ, MS 39122                                   P‐0023530 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWMAN, EDWARD D.
9 CROSSLAND TRAIL
FAIRFIELD, PA 17320                                 P‐0023531 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUSTER, VONDA
1138 JESSE HARBOR AVE
HENDERSON, NV 89014                                 P‐0023532 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUNNIN, JAMES S.
P.O. BOX 2185
FULTON, TX 78358‐2185                               P‐0023533 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORTIZ‐LEMAUX, SKYLAR
LEMAUX, SARAH
14 WILLOW LN
STAFFORD, VA 22554                                  P‐0023534 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORSUCCI, SANDRA C.
5034 GREENVIEW
COMMERCE TOWNSHI, MI 48382                          P‐0023535 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WARREN, CHERYL B.
P O BOX 18302
NATCHEZ, MS 39122                                   P‐0023536 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUDD, LARRY E.
P.O. BOX 725
5703 MONTFORT LN
CRESTWOOD, KY 40014                                 P‐0023537 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ASELIN, CORINNE
2712 ROBIN DR
VIRGINIA BEACH, VA 23454                              P‐0023538 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUDD, LARRY E.
P.O. BOX 725
5703 MONTFORT LN
CRESTWOOD, KY 40014                                   P‐0023539 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POWELL, GARY S.
10660 MONACO WAY
TRAVERSE CITY, MI 49684                               P‐0023540 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSSANICH, NICHOLAS
11 HARDING COURT
PARK RIDGE, NJ 07656                                  P‐0023541 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAY, CHARLES L.
1125 CLEAR CIR
WENDELL, NC 27591‐6809                                P‐0023542 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SERAFIN, ANDREW J.
SERAFIN, LYNN K.
703 SOLANA SHORES DR
B304
CAPE CANAVERAL, FL 32920                              P‐0023543 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GO, SO KUEN W.
12827 WAYBRIDGE
SUGAR LAND, TX 77478                                  P‐0023544 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMERON, MISTY M.
1800 STEEDS XING
PFLUGERVILLE, TX 78660                                P‐0023545 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELORENZO, MICHAEL S.
2134 FIELDSTONE DRIVE
BETHLEHEM, PA 18015                                   P‐0023546 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODSTEIN, ROBERT
1249 ROUTE 343
DOVER PLAINS, NY 12522‐5020                           P‐0023547 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERNANDEZ RODRIG, JESUS M.
HC 01 BOX 60021
LAS PIESDRAS, PR 00771                                P‐0023548 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEIKH, ASIABIBI
PATEL, DHARA
5500 S MIAMI BLVD
APT 106
DURHAM, NC 27703                                      P‐0023549 11/13/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
GO, YUEYI W.
12827 WAYBRIDGE
SUGAR LAND, TX 77478                                  P‐0023550 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOUSTON, MICHAEL L.
HOUSTON, MELISSA J.
322 HOLLY STREET
DESTIB, FL 32541                                      P‐0023551 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHO, JIN YOUNG
4646 STATE ROAD
MEDINA, OH 44256                                      P‐0023552 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LECKEY, NATHAN R.
24066 NW 2ND LN
NEWBERRY, FL 32669                                    P‐0023553 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
JUST, JUDITH A.
306 N LAKESIDE DRIVE
LAKE WORTH, FL 33460                                  P‐0023554 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTTS, DAVID F.
704 SOUTHWEST 14TH COURT
FORT LAUDERDALE, FL 33315‐1455                        P‐0023555 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GO, SO KUEN W.
12827 WAYBRIDGE
SUGAR LAND, TX 77478                                  P‐0023556 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, KENNETH R.
WALKER, LYNN S.
61 BLUEBERRY HILL LN
SUDBURY, MA 01776                                     P‐0023557 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUCKER, IRMA M.
512 MASON TUCKER DR
SMYRNA, TN 37167                                      P‐0023558 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANKLEY, GARY M.
402 E CHRISTIANA ST
MARTINSBURG, PA 16662                                 P‐0023559 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEWITT, LEE A.
654 GULLEY RD
HOWELL, MI 48843                                      P‐0023560 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, LEVON
5040 BATHGATE TER
RICHMOND, VA 23234                                    P‐0023561 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, JONATHAN H.
5147 JOEL LN
DUNWOODY, GA 30360                                    P‐0023562 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYANT, MATTHEW C.
1103 LASSWADE DRIVE
TALLAHASSEE, FL 32312                                 P‐0023563 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENTZER, WILLIAM F.
1139 CEDAR CREST DR
LEBANON, PA 17046                                     P‐0023564 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKE, JEFFREY
BURKE, SHANIQUA
21 JENNINGS DRIVE
ALBANY, NY 12204                                      P‐0023565 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MESTDAGH, ANDREW L.
7846 W. 99TH AVE.
BROOMFIELD, CO 80021                                  P‐0023566 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUZOWSKI JR, THOMAS
GUZOWSKI, GERRI
11899 ARBUCKLE ROAD
UNION CITY, PA 16438                                  P‐0023567 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMMONT, SHELLEY M.
SIMMONT, MATTHEW W.
2025 WARWICK PL
NEW BRAUNFELS, TX 78130                               P‐0023568 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARK, EUN J.
8604 96 STREET A2
WOODHAVEN, NY 11421                                   P‐0023569 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONICA JR., ROBERT C.
MONICA SR., ROBERT C.
P.O. BOX 732
BELL, FL 32619                                        P‐0023570 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
VAN HARTESVELDT, NOAH F.
1070 BARBER TERRACE NW
GRAND RAPIDS, MI 49504                                P‐0023571 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DARBY, GENE M.
43555 GOLDBERG DRIVE
STERLING HEIGHTS, MI 48313                            P‐0023572 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RADTKE, ROBERT A.
2020 KARREN LN
CARLSBAD, CA 92008                                    P‐0023573 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PROCOPE, PAULINE
176‐06 125 AVENUE
JAMAICA, NY 11434                                     P‐0023574 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEVONS‐MCCUE, GRACIE D.
1059 PRECIOUS LANE SE
BROOKHAVEN, MS 39601                                  P‐0023575 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEI, MICHELE
2172 19TH STREET
ASTORIA, NY 11105                                     P‐0023576 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMICKLEY, FRANK J.
12693 S 183RD AVE
GOODYEAR, NJ 85338                                    P‐0023577 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAY, STEPHANIE A.
1505 EAST 48TH STREET
BROOKLYN, NY 11234                                    P‐0023578 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, AMAND L.
P.O. BOX 159
CLOVIS, NM 88102                                      P‐0023579 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, JACLYN D.
317 PARKHURST LANE
ALLEN, TX 75013                                       P‐0023580 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANKLIN, LINDA V.
47 CAMDEN OAKS LN
MONTGOMERY, TX 77356                                  P‐0023581 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITNEY CASE TRUST
820 S MONACO PKWY
DENVER, CO 80224                                      P‐0023582 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, DONNA G.
FOSTER, ROBERT C.
4007 LAMBERT COVE
BIRMINGHAM, AL 35242                                  P‐0023583 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DYER, ROBERT D.
507 MARCEL PR.
STATHAM, GA 30666                                     P‐0023584 10/31/2017     TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
SCHIFFMILLER, GARY
924 OSAGE AVE
SANTA FE, NM 87505                                    P‐0023585 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCHMAN, STEVEN E.
930 MALLARD DRIVE
COPPELL, TX 75019‐5950                                P‐0023586 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCHMAN, STEVEN E.
930 MALLARD DRIVE
COPPELL, TX 75019‐5950                                P‐0023587 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEDINA, VIVIAN J.
3453 HIGH HAMPTON CIRCLE
TAMPA, FL 33610                                       P‐0023588 11/1/2017      TK Holdings Inc., et al .                    $3,613.80                                                                                    $3,613.80


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HUMMEL, LYNN M.
711 N HALIFAX AVE APT 107
DAYTONA BEACH, FL 32118‐7813                        P‐0023589 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSHALL, BARBARA S.
MARSHALL, MAYA V.
7640 WILKINS DRIVE
FAYETTEVILLE, NC 28311                              P‐0023590 11/1/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
FOLEY, MIKE R.
FOLEY FAMILY TRUST
1287 E. 2500 N.
OGDEN, UT 84414‐2558                                P‐0023591 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COSGROVE, JEANNE
99 OAKVIEW TERRACE
SHORT HILLS, NJ 07078                               P‐0023592 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, TERESA A.
23A MELISSA CIRCLE
GRIFFIN, GA 30224                                   P‐0023593 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOURNIER, LAWRENCE F.
387 RIVER HILL ROAD
STATESVILLE, NC 28625                               P‐0023594 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUERZE, SHAWN S.
QUERZE, ANNE S.
227 22ND AVE
MADAWASKA, ME 04756                                 P‐0023595 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOVELL, MARK B.
107 KEY ISLAND DRIVE
SAVANNAH, GA 31410                                  P‐0023596 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOVELL, ALEXANDRA D.
107 KEY ISLAND DRIVE
SAVANNAH, GA 31410                                  P‐0023597 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DORKO, JAMES J.
101 HILLTOP CIRCLE
BURLESON, TX 76028                                  P‐0023598 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WADDELL, ROBERT
3175 SHAFTESBURY LANE
WINSTON‐SALEM, NC 27105                             P‐0023599 10/30/2017     TK Holdings Inc., et al .                    $6,500.00                                                                                    $6,500.00
PAULEY, TERRY L.
PAULEY, MARTHA R.
308 ELM STREET
SOUTH CHARLESTON, WV 253031616                      P‐0023600 10/30/2017     TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
JONES, WILLIE A.
JONES, YVETTE O.
4865 HORSEMAN DR NE
ROANOKE, VA 24019                                   P‐0023601 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSEN, HOLLY
OLSEN, CRAIG
3001 PARK DR.
BAKERSFIELD, CA 93306                               P‐0023602 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKE, SHANIQUA
21 JENNINGS DRIVE
ALBANY, NY 12204                                    P‐0023603 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KORNHISER, ROBERT
99 GRAVESEND NECK ROAD
BROOKLYN, NY 11223
                                                    P‐0023604 11/13/2017     TK Holdings Inc., et al .                     $475.00                                                                                       $475.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CHIN, SHAN
22040 CALVERT ST
#13
WOODLAND HILLS, CA 91367                            P‐0023605 11/13/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
OVERSTREET, CHRISTOPHER A.
4327 S STAGE RD
MEDFORD, OR 97501                                   P‐0023606 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIN, SHAN
22040 CALVERT ST
#13
WOODLAND HILLS, CA 91367                            P‐0023607 11/13/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
BARBER, ELOISE F.
3571 BARRON AVE
MEMPHIS, TN 38111‐5403                              P‐0023608 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEECHLER, ZACHARY A.
36 EAST STATE STREET
APT 2
MONTPELIER, VT 05602                                P‐0023609 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTRO, EUGENE
5947 WEDGEWOOD VILLAGE CIRCLE
LAKE WORTH, FL 33463                                P‐0023610 10/30/2017     TK Holdings Inc., et al .                     $471.00                                                                                       $471.00
DOYLE, DEBORAH S.
10890 159TH COURT NORTH
JUPITER, FL 33478                                   P‐0023611 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELDRIDGE, MARION M.
23955 NE DR MW ELDRRIDGE ROAD
BLOUNTSTOWN, FL 32424‐4187                          P‐0023612 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIVEBLISS, GAIL L.
SAUER, JEFFREY
9929 ARBUCKLE DR
LAS VEGAS, NV 89134                                 P‐0023613 10/30/2017     TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
HARRIS, S. B.
23343 BLUE WATER CIRCLE
B‐509
BOCA RATON, FL 33433                                P‐0023614 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOZANO, ROBERT M.
133 SW PARMA AVE
PORT ST. LUCIE, FL 34953                            P‐0023615 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASERTA, DEBRA C.
227 SW MANATEE SPRINGS WAY
PORT ST LUCIE, FL 34986                             P‐0023616 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HART, MISSY M.
574 NAILS CREEK ROAD
ROYSTON, GA 30662                                   P‐0023617 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OPAWUMI, EMMANUEL
6233 RISING SUN AVENUE APT 2
PHILADELPHIA, PA 19111                              P‐0023618 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYU, YEOUP
4901 N CENTARUS CT
ANNANDALE, VA 22003                                 P‐0023619 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, DANA J.
120 BEECHWOOD DR
SUFFOLK, VA 23434                                   P‐0023620 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                    P‐0023621 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINNE, LIANA M.
KINNE, WAYNE E.
8795 N VALLEY OAK DR.
PRESCOTT, AZ 86305‐7719                              P‐0023622 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAKIM, L.
154 ADAMS STREET
DEER PARK, NY 11729                                  P‐0023623 11/13/2017     TK Holdings Inc., et al .                     $187.50                                                                                       $187.50
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                    P‐0023624 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROTHMAN JR, RICKIE L.
STORZUM, JOSEPH
10709 KAY DRIIVE
FAIRDALE, KY 40118                                   P‐0023625 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRESINSHE, MAUREEN T.
11672 GLENVIEW DRIVE
ORLAND PARK, IL 60467                                P‐0023626 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEEBE, CLARK A.
2092 LAKESIDE DRIVE WEST
HIGHLAND LAKES, NJ 07422‐1804                        P‐0023627 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHENS, DOUGLAS E.
STEPHENS, DOUGLAS E.
29 /STATION COURT
APT 408
GREENVILLE, SC 29601                                 P‐0023628 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARCHER, JEFFERY M.
3965 GABLES PLACE
BUFORD, GA 30519                                     P‐0023629 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENJAMIN, DAN S.
BENJAMIN, DANIELLE
69 REDWOOD AVENUE
WAYNE, NJ 07470                                      P‐0023630 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YU, TAK FOR
1929 PLYMOUTH ROAD, APT. 4005
ANN ARBOR, MI 48105                                  P‐0023631 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAWULA, JENNIFER J.
TOYOTA
1320 E. MERONA PL
ANAHEIM, CA 92805                                    P‐0023632 11/13/2017     TK Holdings Inc., et al .                    $1,823.43                                                                                    $1,823.43
SESSA, JEFFREY E.
111 KELSEY RD
WILLIAMSBURG, VA 23185                               P‐0023633 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORTER, PHILIP A.
18576 RIDGEDALE DRIVE
MADERA, CA 93638                                     P‐0023634 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAYBELL, KIMBERLIE A.
P.O. BOX 32
CRAWFORD, TN 38554                                   P‐0023635 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUBOTICH, ANNE M.
7344 E PAPAGE DR
SCOTTSDALE, AZ 85257                                 P‐0023636 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BRAND, DANIEL E.
NO ADDRESS PROVIDED
                                                     P‐0023637 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SESSA, TAMRA L.
111 KELSEY RD
WILLIAMSBURG, VA 23185                               P‐0023638 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENNEN, NICHOLAS L.
6511 N. DORCHESTER LANE
DUBUQUE, IA 52003                                    P‐0023639 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYWOOD, ROBIN F.
1255 ALCOVY STATION ROAD
COVINGTON, GA 30014                                  P‐0023640 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, PATRICK S.
SMITH, MARINA P.
P.O. BOX 382
ILWACO, WA 98624                                     P‐0023641 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES, TERRY A.
HUGHES, MEREDITH S.
11873 DAY LAKE DRIVE
BROOKWOOD, AL 35444                                  P‐0023642 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, KENNETH R.
WALKER, LYNN S.
61 BLUEBERRY HILL LN
SUDBURY, MA 01776                                    P‐0023643 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLNER, STEFANIE
113 BRICKELL WAY
LAFAYETTE, LA 70508                                  P‐0023644 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SESSION, ANDREA M.
369 LAS PALMAS DRIVE
IRVINE, CA 92602                                     P‐0023645 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DARLENE
SMITH, FREDDIE L.
1059 PRECIOUS LANE SE
BROOKHAVEN, MS 39601                                 P‐0023646 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASS, CEDRIC
1908 DUKE ADAM STREET
KANNAPOLIS, NC 28083‐7812                            P‐0023647 10/30/2017     TK Holdings Inc., et al .                    $7,500.00                                                                                    $7,500.00
OBRADOVICH, TIMOTHY G.
1660 SOUTHERN BLVD
SUITE M
WEST PALM BEACH, FL 33406                            P‐0023648 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIGG, WALTER W.
7281 KEMPERWOOD COURT
BLACKLICK, OH 43004‐8662                             P‐0023649 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORSKI, RAQUEL R.
450 FLYROD CIRCLE
ORLANDO, FL 32825                                    P‐0023650 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SNYDER, JONATHAN W.
3512 SORRENTO AVE
LOUISVILLE, KY 40241                                 P‐0023651 10/30/2017     TK Holdings Inc., et al .                   $21,000.00                                                                                   $21,000.00
ROGERS, FRANK W.
445 OLIVE ROAD
REIDSVILLE, NC 27320                                 P‐0023652 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOPPER, LARRY E.
1000 MILLBANK DRIVE
MATTHEWS, NC 28104                                   P‐0023653 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                          Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
ESHLEMAN, MARY J.
26245 SEMINOLE LAKES BLVD
PUNTA GORDA, FL 33955‐4723                           P‐0023654 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LINCOLN, JAMES E.
6129 COTTONTAIL COVE STREET
LAS VEGAS, NV 89130                                  P‐0023655 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ECHOLS, LACEY P.
ECHOLS, WILLIAM R.
11169 WESTMINSTER WAY
CARMEL, IN 46033                                     P‐0023656 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
WOOSLEY, MARTIN G.
2250 HIGHLAND AVE S APT 62
BIRMINGHAM, AL 35205                                 P‐0023657 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
FORD, DANIEL J.
11905 168TH ST N
JUPITER, FL 33478‐8271                               P‐0023658 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
DUNASKI, TED
182 EAST 2200 SOUTH
KAYSVILLE, UT 84037                                  P‐0023659 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
PETER, HOLLY A.
3447 WAYNE AVENUE
NORTH BEND, OH 45052                                 P‐0023660 10/30/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                     $2,500.00
LYNCH, JOHN E.
11594 E CHAMA ROAD
SCOTTSDALE, AZ 85255                                 P‐0023661 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
TOBIN, JAMES S.
10586 MONTROSE BAY AVE
BOYNTON BEACH, FL 33473                              P‐0023662 10/30/2017     TK Holdings Inc., et al .                    $9,000.00                                                                                     $9,000.00
MASSMAN, ANDREW E.
MASSMAN, SANDRA C.
2411 SHARON DRIVE
CEDAR PARK, TX 78613‐3550                            P‐0023663 10/30/2017     TK Holdings Inc., et al .                 $1,000,000.00                                                                                $1,000,000.00
BRAGA, JR, RICHARD A.
28 MAPLE STREET
HUDSON, MA 01749                                     P‐0023664 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
FEDELE, WILLIAM J.
1210 MAYMONT DRIVE
BEDFORD, VA 24523                                    P‐0023665 10/30/2017     TK Holdings Inc., et al .                    $5,500.00                                                                                     $5,500.00
SMITH, DANNY A.
768 TWILIGHT DRIVE
CRESCENT SPRINGS, KY 41017                           P‐0023666 10/30/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                     $2,500.00
GRAY, SUSAN L.
965 ROWLAND RD
BOWDON, GA 30108                                     P‐0023667 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
CLELAND, EDWARD G.
CHEN, THELMA A.
65 BEECH TREE LANE
MONROE, CT 06468‐4214                                P‐0023668 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
GOERING, ROBERT A.
220 WEST THIRD STREET
CINCINNATI, OH 45202                                 P‐0023669 10/30/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                     $1,000.00
SAMUELS, SCOTT A.
13248 W BROWARD BLVD
PLANTATION, FL 33325                                 P‐0023670 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00



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                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WAGNER, ANTHONY J.
704 SW SAINT CROIX COVE
PORT ST LUCIE, FL 34986                              P‐0023671 10/30/2017     TK Holdings Inc., et al .                    $3,711.56                                                                                    $3,711.56
SILL, JANET A.
715 20TH STREET #102
VERO BEACH, FL 32960                                 P‐0023672 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILMORE, MICHAEL L.
965 STAHLMAN DR
BULLHEAD CITY, AZ 86442                              P‐0023673 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOEL, EDDIE R.
5871 YOSHINO CHERRY
BRASELTON, GA 30517                                  P‐0023674 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STARLING, MARVIN C.
605 UNDERWOOD ST
CLINTON, NC 28328                                    P‐0023675 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIVINGSTON, JOHN L.
5200 28TH ST N LOT 532
ST. PETERSBURG, FL 33214                             P‐0023676 10/30/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
THE THOMAS P & LAURA K SCHOLT
THOMAS P SHOLTENS
PO 459
FORT MILL, SC 29716                                  P‐0023677 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENNETT, WILLIAM P.
605 GLENVIEW CIRCLE
GARLAND, TX 75040‐3410                               P‐0023678 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROUWER, CRAIG A.
FORD CREDIT
102 WOODSTOCK AVE
PUTNAM, CT 06260                                     P‐0023679 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOSLEY, MARTIN G.
PRICE‐WOOSLEY, FRANCES L.
2250 HIGHLAND AVE S APT 62
BIRMINGHAM, AL 35205                                 P‐0023680 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MODJESKA, ROBERT G.
990 CASUARINA RD APT 6
DELRAY BEACH, FL 33483‐6700                          P‐0023681 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALLENTINE, JADA D.
4808 CANYONBEND CIR
AUSTIN, TX 78735                                     P‐0023682 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MODJESKA, ROBERT G.
990 CASUARINA RD APT 6
DELRAY BEACH, FL 33483‐6700                          P‐0023683 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALLENTINE, BRUCE E.
4808 CANYONBEND CIR.
AUSTIN, TX 78735                                     P‐0023684 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALLENTINE, BRUCE E.
4808 CANYONBEND CIR.
AUSTIN, TX 78735                                     P‐0023685 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALLENTINE, BRUCE E.
4808 CANYONBEND CIR.
AUSTIN, TX 78735                                     P‐0023686 10/30/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAGNAS, HENAKAYLANI
2805 S. MONROE ST
STOCKTON, CA 95206                                   P‐0023687 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
BLEIWEISS, SHELL J.
495 CORONADO TRAIL
SEDONA, AZ 86336                                       P‐0023688 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOPER, TAMIKA D.
598 PULL TIGHT RD
SALTILLO, MS 38866                                     P‐0023689 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                      P‐0023690 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZUBATCH, BRIAN D.
4 HEATHER WAY
NEWTOWN SQUARE, PA 19073                               P‐0023691 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHEN & HONEY LVG TRST
827 GALLOWAY STREET
PACIFIC PALISADE, CA 90272‐3848                        P‐0023692 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADLEY, CHRISTI D.
P O BOX 1203
HUNTSVILLE, AL 35807                                   P‐0023693 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                      P‐0023694 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER & CO CONSTR SVCS INC
931 N PENNSYLVANIA AVE
WINTER PARK, FL 32789                                  P‐0023695 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER & CO CONSTR SVCS INC
931 N PENNSYLVANIA AVE
WINTER PARK, FL 32789                                  P‐0023696 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER & CO CONSTR SVCS INC
931 N PENNSYLVANIA AVE
WINTER PARK, FL 32789                                  P‐0023697 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER & CO CONTR SVCS INC
931 N PENNSYLVANIA AVE
WINTER PARK, FL 32789                                  P‐0023698 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER & CO CONSTR SVCS INC
931 M PENNSYLVANIA AVE
WINTER PARK, FL 32789                                  P‐0023699 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRZYBYLA, DESEREE M.
8750 S COUNTRY DR
APT 104
OAK CREEK, WI 53154                                    P‐0023700 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PULLMANN, ARLEEN M.
SHAW, LELAND R.
727 REICHEL CIR NE
STEWARTVILLE, MN 55976                                 P‐0023701 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROVES, COURTEY R.
7740 TAMWORTH CT
LAS VEGAS, NV 89131                                    P‐0023702 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTENSEN, DAVID A.
2407 TELEGRAPH AVENUE
APT. #301
OAKLAND, CA 94612‐2468                                 P‐0023703 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGANO, MARYADELE
1046 JASSAMINE WAY
FORT LEE, NJ 07024                                     P‐0023704 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
WIEST, DUANE A.
1684 WALKER AVE NW
GRAND RAPIDS, MI 49504                                 P‐0023705 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNUTT, JENNIFER
2416 WHITE HORSE ROAD W
JACKSONVILLE, FL 32246                                 P‐0023706 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PULLARD, KARLI L.
12901 JEFFERSON HWY
APT. 1025
BATON ROUGE, LA 70816                                  P‐0023707 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODWIN, ANDREW S.
1249 ROUTE 343
DOVER PLAINS, NY 12522‐5020                            P‐0023708 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                      P‐0023709 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUKE, LINDA L.
P O BOX 104
MILLWOOD, KY 42762                                     P‐0023710 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCAPPA, STEPHEN M.
827 GALLOWAY STREET
PACIFIC PALISADE, CA 90272‐3848                        P‐0023711 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEE, JESSICA
1686 W GREEN THICKET WAY
TUCSON, AZ 85704                                       P‐0023712 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENRY, PAMELA K.
13329 KINGMAN DR.
AUSTIN, TX 78729                                       P‐0023713 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, AARON
930 VIA MIL CUMBRES
UNIT 199
SOLANA BEACH, CA 92075                                 P‐0023714 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EIDEN, MICHAEL P.
122 BROOKBANK HILL PL
CARY, NC 27519                                         P‐0023715 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEACOCK, RENEE L.
4606 AUTUMN ORCHARD LN
KATY, TX 77494                                         P‐0023716 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGGAR, KAREN
9811 61ST WAY SOUTH UNIT E
BOYNTON BEACH, FL 33437                                P‐0023717 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGANO, MARYADELE
1046 JASSAMINE WAY
FORT LEE, NJ 07024                                     P‐0023718 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROHAN, DONALD J.
38 VILLAGER RD
CHESTER, NH 03036                                      P‐0023719 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUSKOWSKI, DARVI J.
GRUSKOWSKI, JAY S.
13364 VICARAGE DR
PLAINFIELD, IL 60585                                   P‐0023720 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, LARA P.
2936 26TH STREET
SACRAMENTO, CA 95818                                   P‐0023721 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
OLSEN, CRAIG
OLSEN, HOLLY
3001 PARK DR.
BAKERSFIELD, CA 93306                                P‐0023722 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUCAS, KENNETH A.
7257 DAVISON RD
DAVISON, MI 48423                                    P‐0023723 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEHR, RONALD M.
RONALD MICHAEL LEHR
P. O. BOX 975
WATSON, LA 70786‐0975                                P‐0023724 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALN, MICHELLE R.
6875 BUFFALO DRIVE
LAVERGNE, TN 37086                                   P‐0023725 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, CHANTERIA K.
3213 MACKEY LANE
SHREVEPORT, LA 71118                                 P‐0023726 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NUZZI, JUSTIN T.
NUZZI, CYNTHIA E.
108 IRON GATE ROAD
STAMFORD, CT 06903                                   P‐0023727 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOW, KURT P.
3 VANCOUVER PLACE
SHERMAN, TX 75092‐2249                               P‐0023728 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEWJALEARN, CHINNAPONG
CHEWJALEARN, NICOLE
P.O. BOX 33364
RENO, NV 89533                                       P‐0023729 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER & CO CONSTR SVCS INC
931 N PENNSYLVANIA AVE
WINTER PARK, FL 32789                                P‐0023730 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAUSE, CHRISTOPHER L.
301 COLUMBUS AVENUE
HASBROUCKHEIGHTS, NJ 07604                           P‐0023731 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAST, THOMAS A.
MAST, SANDRA G.
10358 E EXCAVATION CT.
GOLD CANYON, AZ 85118                                P‐0023732 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAUSE, CHRISTOPHER L.
301 COLUMBUS AVENUE
HASBROUCKHEIGHTS, NJ 07604                           P‐0023733 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILKES, JOI D.
10715 VILLAGE CROSSING
JONESBORO, GA 30238                                  P‐0023734 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                    P‐0023735 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADDISON, DONTELE L.
7563 165TH STREET WEST
LAKEVILLE, MN 55044                                  P‐0023736 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSEN, HOLLY
OLSEN, CRAIG
3001 PARK DR.
BAKERSFIELD, CA 93306                                P‐0023737 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BOLIN, DEBORAH L.
P.O. BOX 439
MERTZON, TX 76941                                   P‐0023738 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EIDEN, MICHAEL P.
122 BROOKBANK HILL PL
CARY, NC 27519                                      P‐0023739 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSE, BRUCE P.
8816 JAMES AVE NE
ALBUQUERQUE, NM 87111                               P‐0023740 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JARRETT A.
7740 TAMWORTH CT
LAS VEGAS, NV 89131                                 P‐0023741 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONHSON, SANDRA D.
GUIDRY, SARAH R.
915 REDAN ST.
HOUSTON, TX 77009                                   P‐0023742 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANTOJAS RAMOS, JONATHAN
3304 WILDERNESS TRL
KISSIMMEE, FL 34746                                 P‐0023743 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                   P‐0023744 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARDO, REGINA L.
6306 GARVANZA AVE
LOS ANGELES, CA 90042                               P‐0023745 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROVES, COURTNEY R.
7740 TAMWORTH CT.
LAS VEGAS, NV 89131                                 P‐0023746 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLEP, KIRK J.
OLEP, SUSAN E.
7023 GEORGETOWN AVE
HUDSONVILLE, MI 49426                               P‐0023747 11/13/2017     TK Holdings Inc., et al .                     $546.83                                                                                       $546.83
KOLLING, JENNIFER L.
412 N HANNAH AVE
MOUNT MORRIS, IL 61054                              P‐0023748 11/13/2017     TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                   P‐0023749 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHARMA, SHAMILA
P.O. BO 461
WINDERMERE, FL 34786                                P‐0023750 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANSONI, JOHN A.
511 BUCKMAN DR.
HATBORO, PA 19040                                   P‐0023751 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSEN, HOLLY
OLSEN, CRAIG
3001 PARK DR.
BAKERSFIELD, CA 93306                               P‐0023752 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESL ROAD
ASHLAND, VA 23005                                   P‐0023753 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GUERRIERI, CATHERINE M.
560 CHEYNEY ROAD
SPRINGFIELD, PA 19064‐2002                           P‐0023754 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITEHEAD, VELMA D.
806 20TH STREET
PHENIX CITY, AL 36867                                P‐0023755 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGGINS, HOWARD S.
POB 922
COOS BAY, OR 97420                                   P‐0023756 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANSEMER, CYNTHIA A.
14218 W HUNTERS VIEW ST
WICHITA, KS 67235                                    P‐0023757 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ISAAC, RONTGEN T.
P. O. BOX # 888591
DUNWOODY, GA 30356                                   P‐0023758 11/13/2017     TK Holdings Inc., et al .                  $250,000.00                                                                                  $250,000.00
RENN, STEPHEN C.
P.O. BOX 6
CALUMET, MI 49913                                    P‐0023759 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, MAKENZIE E.
FOSTER, BENJAMIN E.
5001 GOLDEN TRIANGLE BLVD #19
FORT WORTH, TX 76244                                 P‐0023760 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMBERT, MELANIE J.
55 DOWNER AVE #1
BOSTON, MA 02125                                     P‐0023761 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUSKOWSKI, JAY S.
GRUSKOWSKI, DARVI J.
13364 VICARAGE DR
PLAINFIELD, IL 60585                                 P‐0023762 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBER, CHARLES A.
4998 HWY 18
PACHUTA, MS 39347                                    P‐0023763 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, ALLEN D.
108 WATER CREST DRIVE
LEXINGTON, SC 29072                                  P‐0023764 11/13/2017     TK Holdings Inc., et al .                       $25.00                                                                                       $25.00
DUBOFF, MICHAEL H.
1775 YORK AVENUE
APARTMENT 30B
NEW YORK, NY 10128                                   P‐0023765 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, CRYSTAL L.
506 END O TRAIL
HARKER HEIGHTS, TX 76548                             P‐0023766 10/31/2017     TK Holdings Inc., et al .                  $600,000.00                                                                                  $600,000.00
HOUK, ERIC W.
3626 N. SADLER DR.
SANFORD, MI 48657                                    P‐0023767 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSEN, CRAIG
OLSEN, HOLLY
3001 PARK DR.
BAKERSFIELD, CA 93306                                P‐0023768 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRISON, CONNIE A.
8554 WESTBERRY LANE
TINLEY PARK, IL 60487                                P‐0023769 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHISM, WENDY L.
9907 KNOLLWIND DR
CINCINNATI, OH 45242                                 P‐0023770 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SMITH, ALLEN D.
108 WATER CREST DRIVE
LEXINGTON, SC 29072                                  P‐0023771 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOURINSON, MICHAEL H.
3338 PIERSON DR
WILMINGTON, DE 19810                                 P‐0023772 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAY, LYNN K.
19 BAYBERRY RD
PARKVILLE, MD 21234                                  P‐0023773 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEISER, JENNIFER P.
4215 HELAMAN CIRCLE
SALT LAKE CITY, UT 84124                             P‐0023774 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN‐TINSON, MONICA M.
6460 GREEN FIELD ROAD
UNIT 210
ELKRIDGE, MD 21075‐5245                              P‐0023775 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEISER, STEVEN J.
4215 HELAMAN CIRCLE
SALT LAKE CITY, UT 84124                             P‐0023776 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORALDO, MARY G.
TORALDO, PAUL F.
7706 HARMANS ROAD
HANOVER, MD 21076                                    P‐0023777 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORANO, MICHAEL J.
205 PHILADELPHIA BLVD
SEA GIRT, NJ 08750                                   P‐0023778 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILEY, STEVEN W.
405 BOYCE AVE
ALAMOGORDO, NM 88310‐4315                            P‐0023779 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SATISH, VENKATESH
16 OLD QUARRY RD
CEDAR GROVE, NJ 07009                                P‐0023780 11/1/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
COWART, JOHN M.
20 BLACKBERRY LANE
DOUGLASVILLE, GA 30134‐6622                          P‐0023781 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VIRDEN, FRANK S.
5879 BROOKSTONE WALK NW
ACWORTH, GA 30101‐8473                               P‐0023782 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULLIVAN, TERRY L.
CULLIVAN, CELESTE E.
365 BLANE COURT
DAWSON, IL 62520‐3379                                P‐0023783 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLETON JR, THOMAS E.
1900 HALF MOON BAY DRIVE
CROTON ON HUDSON, NY 10520                           P‐0023784 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOURINSON, MICHAEL H.
3338 PIERSON DR
WILMINGTON, DE 19810                                 P‐0023785 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEITLER, RODGER W.
6696 PIRETREE AVENUE N.E.
CANTON, OH 44721                                     P‐0023786 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRUGA, EILEEN S.
DRUGA, JOHN E.
1 POND XING
SOUTHAMPTON, NY 11968                                P‐0023787 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LESPERANCE, JILL A.
4005 JUNGLE TREE DRIVE
COLUMBIA, MO 65202‐6226                              P‐0023788 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOURINSON, MICHAEL H.
3338 PIERSON DR
WILMINGTON, DE 19810                                 P‐0023789 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROACH, DEBORAH S.
1722 SALUDA DAM ROAD
EASLEY, SC 29640                                     P‐0023790 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEFFERIS, WILLIAM D.
202 N CHESTER RD
WEST CHESTER, PA 19380                               P‐0023791 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEGLOVITS, JOANNE M.
2136 W RIVER OF FORTUNE DRIVE
SAINT GEORGE, UT 84790‐4876                          P‐0023792 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEISER, STEVEN J.
4215 HELAMAN CIRCLE
SALT LAKE CITY, UT 84124                             P‐0023793 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEISER, STEVEN J.
4215 HELAMAN CIRCLE
SALT LAKE CITY, UT 84124                             P‐0023794 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEISER, STEVEN J.
4215 HELAMAN CIRCLE
SALT LAKE CITY, UT 84124                             P‐0023795 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEISER, STEVEN J.
4215 HELAMAN CIRCLE
SALT LAKE CITY, UT 84124                             P‐0023796 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DHARIA, HEMANK
171 GERARD AVENUE
NEW HYDE PARK, NY 11040                              P‐0023797 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIOMMINO, SALVATORE D.
220 LONG HILL ROAD
LITTLE FALLS, NJ 07424                               P‐0023798 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWLIN, RONALD
1638 IROQUOIS RD
ROCKLIN, CA 95765                                    P‐0023799 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LENOX, THOMAS M.
22617 EAGLES WATCH DR
LAND O LAKES, FL 34639                               P‐0023800 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASCIOLI, EUGENE
30 REGAL PL
HOPEWELL JCT, NY 12533                               P‐0023801 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JAMES M.
P.O. BOX 20039
SEATTLE, WA 98102                                    P‐0023802 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTRO, RICARDO
GUTIERREZ, VERONICA
RICARDO CASTRO
P.O. BOX 6093
WHITTIER, CA 90609                                   P‐0023803 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEISCHMANN, IAN W.
101 AMBROSE DR
BLACK RIVER, NY 13612                                P‐0023804 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ADDY, WILLIAM J.
ADDY, SHELLEY S.
1205 PACIFIC HWY
UNIT 307
SAN DIEGO, CA 92101                                   P‐0023805 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLVEN, SUSAN A.
1948 SUTTON
CINCINNATI, OH 45230                                  P‐0023806 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOSTON, DONALD E.
BOSTON, DORIS C.
380 MARQUESAS CT
MARCO ISLAND, FL 34145                                P‐0023807 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEXANDER, JEANNE
23896 CREEK BRANCH LANE
ESTERO, FL 34135                                      P‐0023808 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARD, TARA L.
1790 BUTTERNUT DRIVE
CLARKSVILLE, TN 37042                                 P‐0023809 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OVERBY, VERN L.
OVERBY, CHERYL R.
424 S. REESE LN.
SPOKANE VALLEY, WA 99216                              P‐0023810 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALLE, ROGER J.
2615 W 179TH ST
TORRANCE, CA 90504                                    P‐0023811 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RALEY, NADINE M.
13000 BAY HILL DRIVE
BELTSVILLE, MD 20705                                  P‐0023812 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULVER, JANICE L.
2486 RANCH CLUB BLVD
MYAKKA CITY, FL 34251                                 P‐0023813 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLOMON, HEIDI
P.O. BOX 941
FOLSOM, CA 95763                                      P‐0023814 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIRSCHBACH & ASSOCIATES, LTD.
ALLAN R BIRSCHBACH
P.O. BOX 1216
APPLETON, WI 54912‐1216                               P‐0023815 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAYS, JOANN M.
8502 W 78TH TERRACE
OVERLAND PARK, KS 66204                               P‐0023816 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTTS, RICHARD N.
812 E HOUSTON ST
LLANO, TX 78643                                       P‐0023817 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHATMAN, VICTORIA M.
CHATMAN, VICTORIA M.
P.O. BOX 1509
LOGANVILLE, GA 30052                                  P‐0023818 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, VINCENT
2000 TROUSDALE DRIVE
UNIT 207
BURLINGAME, CA 94010                                  P‐0023819 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOMINGUE, JOSEPHA
1719 OCOTILLO CT
KATY, TX 77494                                        P‐0023820 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
STRATAKOS, CHARLES J.
14911 GRANITE CT
SARATOGA, CA 95070                                  P‐0023821 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEPULVEDA, JESSICA
2994 SIESTA VIEW DR
KISSIMMEE, FL 34744                                 P‐0023822 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIECZKIEWICZ, JACLYN L.
371 CAMBRIDGE DRIVE
GRAYSLAKE, IL 60030                                 P‐0023823 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTSON, RANDY J.
P.O. BOX 63
CENTER HARBOR, NH 03226                             P‐0023824 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUDSON, CORA R.
8637 KING RD
BAILEY, MS 39320                                    P‐0023825 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOHMANN, SAMUEL R.
3046 FAIRVIEW SCHOOL RD
ELLWOOD CITY, PA 16117                              P‐0023826 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEITZ, BERNARD W.
11024 MONTGOMERY BLVD. NE
SUITE 141
ALBUQUERQUE, NM 87111                               P‐0023827 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERICKSEN, MARY L.
1641 SEVENTH ST. NW
GRAND RAPIDS, MI 49504                              P‐0023828 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAVEZ, ANUSHEH M.
3507 CAMINITO SIERRA
#201
CARLSBAD, CA 92009                                  P‐0023829 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, ROY M.
1510 HUNTERS RD
LOCKHART, TX 78644                                  P‐0023830 11/13/2017     TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
SOLOMON, JOEL
P.O. BOX 941
FOLSOM, CA 95763                                    P‐0023831 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
URBANSKI, DOUGLAS R.
17301 SANTIAGO CANYON ROAD
SILVERADO, CA 92676                                 P‐0023832 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, CHARLOTTE K.
519 W BURRELL ST
DENISON, TX 75020                                   P‐0023833 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUBIN, RICHARD
10686 SW 71 CIRCLE
OCALA, FL 34476                                     P‐0023834 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHONEY, BRIAN T.
550 UNION BRIDGE RD
UNION BRIDGE, MD 21791                              P‐0023835 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMONE, MARC
2724 SHORT STREET
BELLMORE, NY 11710                                  P‐0023836 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DI DARIO, JR, ALBERT
2486 RANCH CLUB BLVD
MYAKKA CITY, FL 34251                               P‐0023837 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAGNAS, HENRY R.
2805 S. MONROE ST
STOCKTON, CA 95206                                  P‐0023838 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BLEIWEISS, SHELL J.
495 CORONADO TRAIL
SEDONA, AZ 86336                                     P‐0023839 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSTON, CONSUELO M.
CONSUELO M JOHNSTON
P.O. BOX 304
NESPELEM, WA 99155                                   P‐0023840 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SZEWCZYK, MARGARET R.
89 GREGORY DRIVE
SEEKONK, MA 02771                                    P‐0023841 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JETER, JEFFERSON F.
P.O. BOX 2333
12920 FORT KING ROAD
DADE CITY, FL 33526                                  P‐0023842 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATKINS, KAY
P.O. BOX 6412
JACKSON, MS 39282                                    P‐0023843 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALMER, WILLIAM J.
NO ADDRESS PROVIDED
                                                     P‐0023844 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, ROBIN L.
4607 RAYBORN ST
LYNWOOD, CA 90262                                    P‐0023845 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAW, ARLEEN M.
SHAW, LELAND R.
727 REICHEL CIR NE
STEWARTVILLE, MN 55976                               P‐0023846 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICHARDSON, DEBORAH J.
9540 AVONNE
#25
SAN SIMEON, CA                                       P‐0023847 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INMAN, RONALD R.
P.O. BOX J.
HATFIELD, IN 47617                                   P‐0023848 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ISLAM, MD T.
5392 JUSTINE WAY
WINTER PARK FL‐32792
WINTER PARK, FL 32792                                P‐0023849 11/3/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
MCMULLEN, REBECCA K.
MCMULLEN, GARY W.
4119 STATE HWY 304
ROSANKY, TX 78953                                    P‐0023850 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAVULA, JAMES
GAVULA, RITA
25 HILLTOP DRIVE
BURLINGTON, MA 01803                                 P‐0023851 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWSON, ANGELO
6160 E 25TH LANE
YUMA, AZ 85365‐1140                                  P‐0023852 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOLES, PATRICE S.
DOLES, PATRICE S.
355 JAMES LN
HAUGHTON, LA 71037                                   P‐0023853 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, ELAINE A.
419 CHARLOTTE DR.
PORTSMOUTH, VA 23701                                 P‐0023854 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BUTLER, JAMES W.
18048 HILLCREST DR.
LAKE MILTON, OH 44429                                P‐0023855 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUCKETT, WILLIAM C.
414 GRANVILLE COURT
ATLANTA, GA 30328                                    P‐0023856 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, AMOS E.
3243 DRAGONWICK DR
HOUSTON
HOUSTON, TX 77045                                    P‐0023857 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOTH, WILLIAM
6 RIVERCREST DR
PISCATAWAY, NJ 08854                                 P‐0023858 11/3/2017      TK Holdings Inc., et al .                    $4,036.82                                                                                    $4,036.82
STEINHAUSER, KENNETH J.
2136 W RIVER OF FORTUNE DRIVE
SAINT GEORGE, UT 84790‐4876                          P‐0023859 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLACK, MARTHA E.
SLACK, ROBERT C.
211 COVERED BRIDGE RD
SAUTEE NACOOCHEE, GA 30571                           P‐0023860 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOPER, SHELDON
2492 SOUTH SEAMANS NECK ROAD
SEAFORD, NY 11783                                    P‐0023861 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LENO, CHRISTINA H.
45 SAWMILL PLAIN ROAD
SOUTH DEERFIELD, MA 01373                            P‐0023862 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, RICHARD C.
2046 TAMARACK RIDGE CT.
BEAVERCREEK, OH 45431‐4321                           P‐0023863 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAFFIN, HAROLD
1010 SHERMAN AVE. #3A
BRONX, NY 10456                                      P‐0023864 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOTSON, ELSA L.
51 MOHAWK PATH TRAIL
THE WOODLANDS, TX 77389                              P‐0023865 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, PATRICK M.
ORTIZ, BELEN
1544 S. COLEMAN COURT
BLOOMINGTON, IN 47401                                P‐0023866 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIBAUD, RICHARD E.
BIBAUD, JOAN G.
49 BARTLETTS REACH
AMESBURY, MA 01913‐4528                              P‐0023867 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKEE, RYAN K.
18 HIGHVIEW STREET
NEEDHAM, MA 02494                                    P‐0023868 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKEE, RYAN K.
18 HIGHVIEW STREET
NEEDHAM, MA 02494                                    P‐0023869 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROW, MARA K.
517 COLLINGS ST SE
PALM BAY, FL 32909                                   P‐0023870 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, BRUCE A.
375 TYNEBRIDGE LANE
HOUSTON, TX 77024                                    P‐0023871 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CARTER, MICKEY A.
200 W. 2ND ST
APT. 1202
RENO, NV 89501                                      P‐0023872 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRODZINSKY, ALEXANDER
9240 GROO POINT RD
#203
SKOKIE, IL 60077                                    P‐0023873 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPILLMAN, DALE G.
502 WEST TENTH STREET
PERU, IN 46970                                      P‐0023874 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREATER HAZLETON JOINT SEWER
P.O. BOX 651
HAZLETON, PA 18201                                  P‐0023875 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COHEN, ROBERT
9 FLYERS LANE
TUSTIN, CA 927826508                                P‐0023876 11/13/2017     TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
HUTCHINSON, PATRICIA I.
2834 NORTH OTTER CREEK ROAD
MONROE, MI 48161                                    P‐0023877 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTTS, GEORGETTA R.
POTTS, DESHON D.
8371 SOUTH BREWINGTON ROAD
MANNING, SC 29102                                   P‐0023878 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERETTI, MARK A.
362 RIVER PARK DR.
REDDING, CA 96003                                   P‐0023879 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORTER, KIMBERLY L.
2816 N.23RD STREET
ST.LOUIS, MO 63107                                  P‐0023880 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HICKEY, MICHAEL B.
2100 PRAIRIE DOG DRIVE
WAKE FOREST, NC 27587                               P‐0023881 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOTON, BILL
HORTON LAW FIRM
111 CHAMPIONS
ROGERS, AR 72758                                    P‐0023882 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLBERG, SCOTT L.
5425 ZUMBRA DR.
EXCELSIOR, MN 55331‐7756                            P‐0023883 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSASCO, CARLA M.
660 AKARD CIR
RENO, NV 89503‐3928                                 P‐0023884 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDINGER, KATHLEEN M.
GOLDINGER, JAMES D.
141 WOLFE ROAD
WORTHINGTON, PA 16262                               P‐0023885 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, BRUCE A.
375 TYNEBRIDGE LANE
HOUSTON, TX 77024                                   P‐0023886 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, SANDRA J.
HENDERSON, REX E.
22 SOUTH BROAD STREET
PAWCATUCK, CT 06379‐1927                            P‐0023887 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DOOLEY, CAROL S.
558 WELLSLEY CT.
LAKE ORION, MI 48362                                 P‐0023888 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLITOR, JENNIFER M.
P.O. BOX 6014
ALBANY, NY 12206                                     P‐0023889 11/13/2017     TK Holdings Inc., et al .                  $500,000.00                                                                                  $500,000.00
KRATSAS, BILL V.
2420 PINE ISLAND COURT
JACKSONVILLE, FL 32224                               P‐0023890 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, KIM M.
2210 S 110TH STREET
OMAHA, NE 68144                                      P‐0023891 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EFROYMSON, HENRY A.
840 WILLIAMS COVE DRIVE
INDIANAPOLIS, IN 46260                               P‐0023892 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, CARL D.
WILLIAMS, WACONDA F.
3238 AUSTIN DR.
MOBILE, AL 36695                                     P‐0023893 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVENPORT, TONYA L.
113 S 10TH STREET
RUPERT, ID 83350                                     P‐0023894 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGO, HIEN V.
HIEN NGO
512 SOUTH CORDOVA STREET
ALHAMBRA, CA 91801                                   P‐0023895 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLENA LANDSCAPE, GRE INC DBA
438 MAIN ST SUITE 210
HUNTINGTON BEACH, CA 92648                           P‐0023896 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRATSAS, ARZU
2420 PINE ISLAND COURT
JACKSONVILLE, FL 32224                               P‐0023897 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TILLMAN, TAWANDA D.
4543 MAPLE CREST STREET
SACRAMENTO, CA 95834                                 P‐0023898 11/13/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
BEYER, KATHERINE M.
8419 CHESSWOOD DRIVE
CINCINNATI, OH 45239                                 P‐0023899 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS ASPENSON, WENDY E.
16845 N. 98TH PL
SCOTTSDALE, AZ 85260                                 P‐0023900 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUTRIGHT, MICHAEL A.
18519 115TH AVE E
PUYALLUP, WA 98374                                   P‐0023901 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORTE, KATHRYN M.
8613 186TH STREET E
PUYALLUP, WA 98375                                   P‐0023902 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, MARCUS
821 JOSLIN ST.SE
GRAND RAPIDS, MI 49507                               P‐0023903 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEMENS, KATHY R.
CLEMENS, ROBERT A.
236 S TOUCHET RD.
DAYTON, WA 99328                                     P‐0023904 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
URIBE, YOLANDA
82275 ORANGEGROVE AVE
INDIO, CA 92201                                      P‐0023905 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRATSAS, BILL
KRATSAS, ARZU
2420 PINE ISLAND COURT
JACKSONVILLE, FL 32224                               P‐0023906 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDIFER, PAUL E.
SANDIFER ENTERPRISESE BLDG &
3520 TIMBERLINE DR
QUINCY, IL 62305                                     P‐0023907 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSE, BRUCE P.
8816 JAMES AVE NE
ALBUQUERQUE, NM 87111                                P‐0023908 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERETTI, MARK A.
362 RIVER PARK DR.
REDDING, CA 96003                                    P‐0023909 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENNEDY, APRIL J.
245 KENNEDY ROAD
GRIFFIN, GA 30223                                    P‐0023910 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUIBERT, MOIRA
1525 YUKON HARBOR RD SE
PORT ORCHARD, WA 98366                               P‐0023911 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTTS, GEORGETTA R.
8371 SOUTH BREWINGTON ROAD
MANNING, SC 29102                                    P‐0023912 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAMBITCH, JOANN M.
2830 HOLMES AVE.
SPRINGFIELD, IL 626704                               P‐0023913 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIS, WILLIAM E.
1032 10TH STREET
IMPERIAL BEACH, CA 91932                             P‐0023914 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYES, JOHN M.
1010 S HAUG STREET
SYRACUSE, IN 46567                                   P‐0023915 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AH MOW, MICHELLE J.
AH MOW, PATRICK K.
95‐1164 MAKAIKAI ST APT 132
MILILANI, HI 96789                                   P‐0023916 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILKINS, ANTHONY E.
5008 S. BLACKSTONE AVE.
CHICAGO, IL 60615                                    P‐0023917 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLT, MELODY
175‐38 137TH AVE
JAMAICA, NY 11434                                    P‐0023918 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, BRUCE A.
375 TYNEBRIDGE LANE
HOUSTON, TX 77024                                    P‐0023919 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAKOWSKI, LEO F.
6 LEO DRIVE
CHICOPEE, MA 01020‐2115                              P‐0023920 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDINGER, JAMES D.
GOLDINGER, KATHLEEN M
141 WOLFE ROAD
WORTHINGTON, PA 16262                                P‐0023921 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
NORRIS, HERMAN C.
504 ASHDALE DRIVE
FORT WORTH, TX 76140                                  P‐0023922 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUM, BILLY R.
GUM, CYNTHIA R.
24505 SHERWOOD DRIVE
PLAQUEMINE, LA 70764                                  P‐0023923 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BHOORI, SHAYAN Y.
BHOORI, SHAYAN
STATE STREET
407 MAPLE ST
CONSHOHOCKEN, PA 19428                                P‐0023924 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREED, MARCIE L.
105 N. MAIN ST.
ABBEVILLE, SC 29620                                   P‐0023925 11/13/2017     TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
DALEIDEN, MICHAEL A.
1295 CUERNAVACA CIRCULO
MOUNTAIN VIEW, CA 94040                               P‐0023926 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEDUNIN‐JARVIS, KONSTANTIN V.
FEDUNIN, LORENA E.
110 RUBINO COURT
PALM DESERT, CA 92211                                 P‐0023927 11/13/2017     TK Holdings Inc., et al .                   $26,500.00                                                                                   $26,500.00
SKINNER, BRITTNEY L.
2114 CHESTER LN.
BAKERSFIELD, CA 93304                                 P‐0023928 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASCIOLI, EUGENE J.
30 REGAL PL
HOPEWELL JCT, NY 12533                                P‐0023929 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELFAVERO, JOSEPH R.
DELFAVERO, KAREN L.
P.O. BOX 174
SALTSBURG, PA 15681                                   P‐0023930 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASSEY, JUSTIN L.
2114 CHESTER LN.
BAKERSFIELD, CA 93304                                 P‐0023931 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STONE II, TONY W.
253 CR 322
ROSEBUD, TX 76570                                     P‐0023932 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENGLISH, THOMAS C.
5133 RAPPOLLA COURT
PLEASANTON, CA 94588                                  P‐0023933 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HWANG, DANIEL
10 MELIA WAY
HUNTINGTON STATI, NY 11746                            P‐0023934 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIVENS, TERRY D.
BIVENS, TERRY D.
668 WHIRLWIND DRIVE NE
ALBANY, OR 97322                                      P‐0023935 11/13/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
BAKER, EDDIE
NAPLETON LINCOLN MERCURY
12350 S. HONORE ST.
CALUMET PARK, IL 60827                                P‐0023936 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
COXE, DANIEL F.
COXE, PAULA A.
HASS HEIGHTS GROWERS
2990 DE LUZ HEIGHTS ROAD
FALLBROOK, CA 92028                                  P‐0023937 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARRIS III, JOSEPH H.
2114 PRESIDENTIAL DR
CHARLESTON, WV 25314                                 P‐0023938 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONOVER, MARSHA J.
25 SPRINGVIEW LN #3
BATH, ME 04530                                       P‐0023939 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROW, JAMES E.
517 COLLINGS ST SE
PALM BAY, FL 32909                                   P‐0023940 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENVER, BARBARA S.
16 WINTERBERRY WAY
NORFOLK, MA 02056                                    P‐0023941 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIRESTEIN, MICHAEL
9241 KOLMAR
SKOKIE, IL 60076‐1621                                P‐0023942 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCENTEE, ROBERT F.
MCENTEE, PATRICIA A.
635 MARION LANE
SWARTHMORE, PA 19081                                 P‐0023943 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARIS, ROBERT F.
40 GREYLOCK ROAD
BRISTOL, RI 02809‐1631                               P‐0023944 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUMIDAO, JUAN O.
8015 ARBOR WAY
OWINGS, MD 20736‐8702                                P‐0023945 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAICHES, LARRY M.
6921 TUMBLING TRAIL
FORT WORTH, TX 76116                                 P‐0023946 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, JANE
8853 S. CHESAPEAKE CT
OAK CREEK, WI 53154‐3759                             P‐0023947 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEINMAN, ROBERT I.
HIMDEN, KATHLEEN F.
10213 N. FOXKIRK DR
MEQUON, WI 53097                                     P‐0023948 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMBRIDGE, RICHARD
11502 IVORY CREEK DR
PEARLAND, TX 77584                                   P‐0023949 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTSON, CAROL C.
3115 TINSLEY TERRACE
PRINCE GEORGE, VA 23875                              P‐0023950 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCLARY, LEONA C.
MCCLARY, KENNETH A.
566 VERMILLION DR
LITTLE RIVER, SC 29566                               P‐0023951 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENLAW, JEAN M.
52 NORTON RD
KITTERY, ME 03904                                    P‐0023952 10/31/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LOACES, ANGELIN
TORRES, LUIS
2075 HOMER AVE
BRONX, NY 10473                                      P‐0023953 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ATKINS, CHARLES R.
336 HARTSFIELD DRIVE
EASLEY, SC 29642                                     P‐0023954 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHAEL, LISA P.
8014 FRESCA STREET
JACKSONVILLE, FL 32217                               P‐0023955 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOYER, JUDITH H.
105‐A OGDEN CIRCLE
OAK RIDGE, TN 37830                                  P‐0023956 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOGUMIL, THOMAS B.
7345 WEST 85TH PLACE UNIT 3B
BRIDGEVIEW, IL 60455‐1754                            P‐0023957 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAUDETTE, REBECCA L.
BEAUDETTE, RICHARD A.
38 STONE PARK TRAIL
PIKE ROAD, AL 36064                                  P‐0023958 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENGLISH, KELLY M.
6282 92ND PLACE
PLEASANT PRAIRIE, WI 53158                           P‐0023959 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYLES, ANN W.
2720 BRNOT AVE
WAUKEGAN, IL 60087                                   P‐0023960 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRACE, RAYMOND E.
5901 E CORRINE DR
SCOTTSDALE, AZ 85254                                 P‐0023961 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRATZ, PAUL J.
KRATZ, RENATE L.
707 BROADLANDS LANE
POWDER SPRINGS, GA 30127‐6404                        P‐0023962 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABDEL‐MALAK, ROBERT S.
28 EMILY ROAD
MANALAPAN, NJ 07726                                  P‐0023963 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, JAMIE M.
16300 W. VIA MONICA
MARANA, AZ 85653                                     P‐0023964 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYE, ROGER C.
450 DAVIS STREET
EVANSTON, IL 60201                                   P‐0023965 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINKUSOV, VITALY
3338 RICHLIEU RD
APT Q231
BENSALEM, PA 19020‐1564                              P‐0023966 11/2/2017      TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
MARSHALL, ALLAN R.
1665 BLAIR CASTLE CIRCLE
RUSKIN, FL 33570                                     P‐0023967 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOCHER, DAVID G.
KOCHER, NANCY B.
4 NICKERSON RD
LEXINGTON, MA 02421                                  P‐0023968 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, ANNA F.
1516 WHITTARD OF CHELSEA LN
PFLUGERVILLE, TX 78660                               P‐0023969 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WOODRING, GREGORY C.
52 WHITES LN
WISCASSET, ME 04578                                  P‐0023970 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCLELLAN, JESSICA D.
MCCLELLAN, JOHNNY A.
9168 MAIN ST.
GREENWOOD, LA 71033                                  P‐0023971 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, WILLIAM
NO ADDRESS PROVIDED
                                                     P‐0023972 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWMAN, LILLIAN
5821 RICH HILL DRIVE
ORANGEVALE, CA 95662                                 P‐0023973 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                    P‐0023974 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, BRIDGETTE L.
39869 FREMONT BLVD, #1302
FREMONT, CA 94538                                    P‐0023975 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                    P‐0023976 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTILLO, ADRIAN L.
4243 W. AVE. J12
LANCASTER, CA 93536                                  P‐0023977 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, SHERI
29434 LAUREL DR.
FARMINGTON HILLS, MI 48331                           P‐0023978 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUSHOCK, RONALD M.
4601 OAK LEAF DRIVE
NAPLES, FL 34119                                     P‐0023979 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYLES, ANN W.
2720 BRNOT AVE
WAUKEGAN, IL 60087                                   P‐0023980 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWMAN, LILLIAN
5821 RICH HILL DRIVE
ORANGEVALE, CA 95662                                 P‐0023981 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMOOT, WILLIAM R.
SMOOT, CHERI M.
24104 EAST KENNEDY RD. NE
BENTON CITY, WA 99320                                P‐0023982 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                    P‐0023983 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEGNON, CATHERINE B.
130 EAST POND RD
DANBY, VT 05739                                      P‐0023984 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILL, CHRISTINA
1806 TRINITY WAY
WEST SACRAMENTO, CA 95691                            P‐0023985 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WELLS‐HAYES, EUPHEMIA D.
3120 N.W. 53 LANE
MIAMI, FL 33142                                      P‐0023986 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
LEVI, TOMIKA R.
3411 W. 82ND STREET
INGLEWOOD, CA 90305‐1232                              P‐0023987 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUTTON, MICHAEL D.
P.O. BOX 1202
NORTH HAMPTON, NH 03862                               P‐0023988 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, RAE H.
3800 CARUTH BLVD
DALLAS, TX 75225                                      P‐0023989 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                     P‐0023990 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIEMAND, HEIKE
2308 RANCHLAND DRIVE
QUINCY, IL 62301                                      P‐0023991 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEGNON, CATHERINE B.
DEGNON, MARTHA C.
130 EAST POND RD
DANBY, VT 05739                                       P‐0023992 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, JAMESON
TAYLOR, JENNIFER
713 ARKANSAS STREET
MORGAN CITY, LA 70380                                 P‐0023993 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KONOVALOV, GE0RGIY T.
KONOVALOVA, OLHA
123 CALLE AMISTAD UNIT 10304
SAN CLEMENTE, CA 92673                                P‐0023994 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                     P‐0023995 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYLE, FARIN
19250 SW 30 STREET
MIRAMAR, FL 33029                                     P‐0023996 11/13/2017     TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00
GARCIA, JOHN M.
GARCIA, EVA
617 E. 3RD. ST.
GRANDVIEW, WA 98930                                   P‐0023997 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEBBE, TAMI C.
197 S SANTA CRUZ ST
VENTURA, CA 93001                                     P‐0023998 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COTA, CATALINA G.
P.O. BOX 722
MONATGUE, CA 96064                                    P‐0023999 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WON, HANNAH
1001 2ND AVE W APT 302
SEATTLE, WA 98119                                     P‐0024000 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                     P‐0024001 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDRING, MICHAEL
27 WYONA AVE
STATEN ISLAND, NY 10314                               P‐0024002 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
STORTI, DEBORAH J.
11 WAMPANOAG AVENUE
WESTERLY, RI 02891                                  P‐0024003 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, RANDI S.
7813 NW 61 TERRACE
PARKLAND, FL 33067                                  P‐0024004 11/13/2017     TK Holdings Inc., et al .                    $7,252.47                                                                                    $7,252.47
WELLS‐HAYES, EUPHEMIA D.
3120 N.W. 53RD LANE
MIAMI, FL 33142                                     P‐0024005 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRIEGBAUM, MARGARET A.
3411 MISTY LANE COURT SE
GRAND RAPIDS, MI 49546                              P‐0024006 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEMKOV, MELVIN B.
102 WESTLAND RD
WESTON, MA 02493                                    P‐0024007 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, CYDNEY
8634 S KNOX AVE
CHICAGO, IL 60652                                   P‐0024008 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BHULLAR, HARKARANBIR S.
2407 BASQUE HILLS DR
BAKERSFIELD, CA 93313                               P‐0024009 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILL, MICHAEL R.
308 MONTEREY AVE
ANNAPOLIS, MD 21401                                 P‐0024010 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELTRAN, TAMMY M.
407 SHADYDELL AVE
MUNDELEIN, IL 60060                                 P‐0024011 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONG, WENDE L.
DONG, KEVIN J.
4771 SNAPDRAGON WAY
SAN LUIS OBISPO, CA 93401                           P‐0024012 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, SPENCER F.
LEE, PATRICIA A.
812 DERSTINE AVE
LANSDALE, PA 19446                                  P‐0024013 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAUF, DEBORAH
10 BARK MILL TERRACE
MONTVILLE, NJ 07045                                 P‐0024014 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREATER HAZLETON JOINT SEWER
CHRISTOPHER CARSIA
P.O. BOX 651
HAZLETON, PA 18201                                  P‐0024015 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AILOR III, EDGAR I.
AILOR, SUSAN K.
3805 HALLBROOK CT
COLUMBIA, MO 65203                                  P‐0024016 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE MYERS, KAREN D.
MYERS, JEFFREY F.
1050 COUNTY ROAD 1350 E
TOLONO, IL 61880‐9514                               P‐0024017 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRINE, RBERT M.
21325 ROSE LANE
FAIRVIEW, OR 97024                                  P‐0024018 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, ANDREW S.
11335 NE KNOTT ST
PORTLAND, OR 97220                                  P‐0024019 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GREATER HAZLETON JOINT SEWER
CHRISTOPHER CARSIA
P.O. BOX 651
HAZLETON, PA 18201                                  P‐0024020 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                   P‐0024021 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCASKEY, COLLEEN C.
12720 CASWELL AVE. #204
LOS ANGELES, CA 90066                               P‐0024022 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREATER HAZLETON JOINT SEWER
CHRISTOPHER CARSIA
P.O. BOX 651
HAZLETON, PA 18201                                  P‐0024023 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLFIN, FRED J.
10 BARK MILL TERRACE
MONTVILLE, NJ 07045                                 P‐0024024 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLATER, RICHARD
1310 FOX AVE
BEAVER FALLS, PA 15010                              P‐0024025 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLARREAL, JR, RAUL
VILLARREAL, LISA M.
15617 W CORTEZ ST
SURPRISE, AZ 85379                                  P‐0024026 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREATER HAZLETON JOINT SEWER
CHRISTOPHER CARSIA
P.O. BOX 651
HAZLETON, PA 18201                                  P‐0024027 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECKER, ANDREW
8994 MAYFLOWER
PLYMOUTH, MI 48170                                  P‐0024028 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALMER, DAVID B.
321 FORREST VALLEY DRIVE
NASHVILLE, TN 37209                                 P‐0024029 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEDELI, KELLY A.
192 EDWARDS ST
BROWNSVILLE, PA 15417                               P‐0024030 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREATER HAZLETON JOINT SEWER
CHRISTOPHER CARSIA
P.O. BOX 651
HAZLETON, PA 18201                                  P‐0024031 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGSTEDT, ERIC A.
13013 MAXWELL DRIVE
TUSTIN, CA 92782‐0919                               P‐0024032 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREATER HAZLETON JOINT SEWER
CHRISTOPHER CARSIA
P.O. BOX 651
HAZLETON, PA 18201                                  P‐0024033 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PANEC, DONALD J.
5 ASH COURT
NOVATO, CA 94949                                    P‐0024034 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURANT, FRANCESCA E.
9 ATHERTON CIRCLE
LYNNFIELD, MA 01940                                 P‐0024035 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
GREATER HAZLETON JOINT SEWER
CHRISTOPHER CARSIA
P.O. BOX 651
HAZLETON, PA 18201                                    P‐0024036 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, DEBBIE A.
P.O. BOX 2048
ELK GROVE, CA 95759                                   P‐0024037 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, KIM Y.
813 ANTIQUE COURT
APARTMENT A
INDIANAPOLIS, IN 46260                                P‐0024038 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLANUEVA, JODY A.
CARCAMO, SERGIO H.
1380DORNER DRIVE
MONTEREY PARK, CA 91754                               P‐0024039 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TELLES, SHARON A.
509 WESTERN AVE
SOCORRO, NM 87801                                     P‐0024040 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUSTON, WILLIAM E.
WILLIAM E HUSTON
747 W 13TH AVE
HOLLYWOOD, FL 33019                                   P‐0024041 11/2/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
BEROZ, MARC B.
FISKE, KAREN A.
14 WAQUOIT FARMS DR
EAST FALMOUTH, MA 02536‐4960                          P‐0024042 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUEST, LINDA D.
313 CRUM CREEK LANE
NEWTON SQUARE, PA 19073                               P‐0024043 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUNFOLA, MICHAEL J.
113 MORRIS DR
LA PLATA, MD 20646‐4254                               P‐0024044 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURLEY, JOHN P.
107 CLAY CIRCLE
BRICK, NJ 087242410                                   P‐0024045 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXSON, LASHANDA K.
5616 PRESTON OAKS ROAD
UNIT 404
DALLAS, TX 75254‐8456                                 P‐0024046 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTER, CHRISTINE L.
3717 W ANDERSON DRIVE
GLENDALE, AZ 85308                                    P‐0024047 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORTIZ, CARMEN D.
1717 SW CADIMA ST
PORT SAINT LUCIE, FL 34987                            P‐0024048 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUMMING, KENNETH S.
402 S. LK. FLORENCE DR
WINTER HAVEN, FL 33884                                P‐0024049 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCPHEE, LAWRENCE J.
1790 STONEY CREEK
CHARLOTTESVILLE, VA 22902 7213                        P‐0024050 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEGAL, ELIZABETH A.
13771 FOUNTAIN HILLS BLVD
#357
FOUNTAIN HILLS, AZ 85268                              P‐0024051 11/1/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00


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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WEIER, BRUCE E.
WEIER, JANET M.
1383 BRIDGE MILL AVE.
CANTON, GA 30114‐6643                               P‐0024052 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMP, DAVID W.
2717 PICKERTON DR.
DEER PARK, TX 77536                                 P‐0024053 11/1/2017      TK Holdings Inc., et al .                  $209,100.00                                                                                  $209,100.00
FARIS, DONNA L.
40 GREYLOCK ROAD
BRISTOL, RI 02809‐1631                              P‐0024054 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMPKINS, IRETHA
3911 WATER ST
ELLENTON, FL 34222                                  P‐0024055 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHEY, M YVONNE
92 ROBERGE AVENUE
WOONSOCKET, RI 02895‐5530                           P‐0024056 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAINER, NED F.
RAINER, BERTHA L.
2311 MINERVA PARK PLACE
COLUMBUS, OH 43229                                  P‐0024057 11/1/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COATES, TEMITOPE S.
122 PORT AVENUE, UNIT 1
ELIZABETH, NJ 07206                                 P‐0024058 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JARVIS, JONATHAN B.
JARVIS, PAULA R.
2575 SAMUEL ST
PINDLE, CA 94564                                    P‐0024059 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCONI, ARTHUR W.
12101 WEBB RD
DISPUTANTA, VA 23842                                P‐0024060 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CIARROCCHI, CARL P.
CIARROCCHI, CATHERINE M.
880 WEXFORD WAY
MADISONVILLE, KY 42431                              P‐0024061 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENDSLEY, PATRICIA M.
1002 WEST SWANN
TAMPA, FL 33606                                     P‐0024062 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCONI, ARTHUR W.
12101 WEBB RD.
DISPUTANTA, VA 23842                                P‐0024063 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALTADONIS, CHARLES F.
484 PLEASANT ST.
NORWOOD, MA 02062‐4531                              P‐0024064 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAICHES, LARRY M.
6921 TUMBLING TRAIL
FORTH WORTH, TX 76116                               P‐0024065 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTLEY, CAROL J.
2338 E MAPLEWOOD ST
ELBERT, AL 85297‐7144                               P‐0024066 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUDSON, ALBERT R.
1317 HAZEL CREEK ROAD
MOUNT AIRY, GA 30563                                P‐0024067 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDING, PHILIP J.
20600 BEAVER RIDGE RD
MONTGOMERY VILL, MD 20886                           P‐0024068 10/31/2017     TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ALCORN, SARAH J.
3107 NATHANIELS GREEN
WILLIAMSBURG, VA 23185                              P‐0024069 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOPPER, JANICE S.
HOPPER, LARRY E.
1000 MILLBANK DRIVE
MATTHEWS, NC 28104                                  P‐0024070 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALCORN, SARAH J.
3107 NATHANIEL'S GREEN
WILLIAMSBURG, VA 23185                              P‐0024071 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIXON, DONNA M.
2701 BLACK DUCK COURT
FUQUAY VARINA, NC 27526                             P‐0024072 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATKINS, BARBARA A.
6520 CHELSEY LANE
OKLAHOMA CITY, OK 73132                             P‐0024073 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, MONIQUE C.
1797 WALKER AVE D
IRVINGTON, NJ 07111‐8026                            P‐0024074 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, LORETTA E.
1000 MILLBANK DRIVE
MATTHEWS, NC 21804                                  P‐0024075 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILLAM, PATRICIA R.
WATERS, SARAH B.
3576 OLD ATMORE
FLOMATON, AL 36441                                  P‐0024076 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIRBAUGH, DENNIS E.
SIRBAUGH, CAROL A.
6835 ST. ANNES DRIVE
FAYETTEVILLE, PA 17222                              P‐0024077 11/3/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
SIRBAUGH, DENNIS E.
SIRBAUGH, CAROL A.
6835 ST. ANNES DRIVE
FAYETTEVILLE, PA 17222                              P‐0024078 11/3/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
LOPEZ, LORETTA E.
1000 MILLBANK DRIVE
MATTHEWS, NC 28104                                  P‐0024079 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCH, JEANETTE K.
BUCH, STANLEY A.
10503 WATFORD LANE
FREDERICKSBURG, VA 22408                            P‐0024080 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LITTEN, JAMES A.
12 SAWBUCK RD
FREEHOLD, NJ 07728                                  P‐0024081 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY, WILLIAM
103 HUMMINGBIRD LANE
KATHLEEN, GA 31047‐2249                             P‐0024082 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITMORE, NIAH
3800 GREENWOOD AVENUE
APT 3
OAKLAND, CA 94602                                   P‐0024083 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, DAVID R.
WHITE, EVELYN E.
14618 ANNARBOR HEIGHTS COURT
CYPRESS, TX 77433                                   P‐0024084 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                          Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
GATES, JOYCE
16054 SW MASON LANE
BEAVERTON, OR 97006                                  P‐0024085 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
HUTCHINGS, KENNETH R.
HUTCHINGS, NINA
92‐1083 PALAHA STREET
APT H
KAPOLEI, HI 96707                                    P‐0024086 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LEDOUX, DENNIS E.
3225 AVILLA VINCINTAGE RD
ALEXANDER, AR 72002                                  P‐0024087 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
CHENG, XU
15600 58TH PLACE N
PLYMOUTH, MN 55446                                   P‐0024088 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
GAULD, AMANDA
4002 BRIONES ST
AUSTIN, TX 78723                                     P‐0024089 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
YANES, CONSUELO
7124 SW 114 PL.
APT. F
MIAMI, FL 33173                                      P‐0024090 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
MEXICOTTE, LINDA M.
MEXICOTTE, DONALD W.
16765 RIVERSIDE STREET
LIVONIA, MI 48154                                    P‐0024091 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
KAGAN, HARVEY M.
316 MEADOW LN APT 8
CARMEL, IN 46032‐4249                                P‐0024092 11/3/2017      TK Holdings Inc., et al .                      $500.00                                                                                       $500.00
HEILIGER, GORDONA
HEILIGER, LAWRENCE J.
5139 E. 106TH STREET
TULSA, OK 74137                                      P‐0024093 11/3/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                    $10,000.00
BENSON, JOHN S.
BENSON, LOUISE S.
1255 HUDGINS HILL CT
WINSTON‐SALEM, NC 27103‐6745                         P‐0024094 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
TEAGUE, STEVE
252 FENROSE DR
HARVEST, AL 35749                                    P‐0024095 11/3/2017      TK Holdings Inc., et al .                 $1,600,000.00                                                                                $1,600,000.00
LILES, THURSTON A.
LILES, JO M.
815 COURT ST.
GATESVILLE, NC 27938‐9503                            P‐0024096 10/31/2017     TK Holdings Inc., et al .                    $4,000.00                                                                                     $4,000.00
MINTZ, EMILY M.
MINTZ, DANIEL L.
6712 SULKY LANE
NORTH BETHESDA, MD 20852                             P‐0024097 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
IRVINE, DOLORES J.
IRVINE, JOHN F.
P.O. BOX 139
BLUNT, SD 57522                                      P‐0024098 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
KENNEDY, VICKY L.
600 SW 19TH ST.
CHEHALIS, WA 98532‐4006                              P‐0024099 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00



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                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
NEWMAN, CASSANDRA M.
2405 W.80TH STREET
INGLEWOOD, CA 90305                                P‐0024100 11/13/2017     TK Holdings Inc., et al .                   $10,500.00                                                                                   $10,500.00
JUSTEMA, BRIAN C.
JUSTEMA, WENDY N.
5952 ALCOVE DR NE
BELMONT, MI 49306                                  P‐0024101 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEVERLY, ARDEN S.
HEVERLY, PAMELA E.
227 SMITH AVE
LANSING, MI 48910                                  P‐0024102 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOSSICK, DEAN A.
969 MERCER‐NEW WILMINGTON ROAD
NEW WILMINGTON, PA 16142                           P‐0024103 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, RICHARD
3266 DATE CT
LAKE ELSINORE, CA 92530                            P‐0024104 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENAHAN, PATRICK
117 JAYCROFT CT
THOUSAND OAKS, CA 91361                            P‐0024105 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAEGER, CHRISTOPHER G.
8110 FOREST PARK DRIVE
PARKVILLE, MO 64152                                P‐0024106 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ODOM, COURTNEY M.
9555 HIGHWAY 11 SOUTH
ENTERPRISE, MS 39330                               P‐0024107 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREER, LINDA A.
GREER, GEORGE F.
34221 SAN SIMEON ST
TEMECULA, CA 92592                                 P‐0024108 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SURBECK, GREGORY D.
SURBECK, CRISTIANE Q.
413 CHEROKEE DRIVE
OXFORD, MS 38655                                   P‐0024109 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                  P‐0024110 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWMAN, CASSANDRA M.
2405 W. 80TH STREET
INGLEWOOD, CA                                      P‐0024111 11/13/2017     TK Holdings Inc., et al .                   $10,500.00                                                                                   $10,500.00
AIKEN II, WILLIAM A.
AIKEN, LINDA S.
8639 CANTUA CREEK
HELOTES, TX 78023                                  P‐0024112 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKHARDT, THEODORE T.
19123 29TH AVE SE
BOTHELL, WA 98012                                  P‐0024113 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                  P‐0024114 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                  P‐0024115 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
LEE, JUN SUNG
2354 YALE AVE E
APT. #203
SEATTLE, WA 98102                                     P‐0024116 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORYELL, TIMOTHY R.
2530 FLORIDA AVE N
GOLDEN VALLEY, MN 55427                               P‐0024117 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEDERSEN, CELIA A.
P.O. BOX 547
BRINNON, WA 98320                                     P‐0024118 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIED, ROBERT
3905 TAMPA RD #541
OLDSMAR, FL 34677                                     P‐0024119 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, DAVID P.
402 MATSON AVE
WILKES‐BARRE, PA 18705                                P‐0024120 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASEY, KENNETH E.
CASEY, KENNETH
P.O. BOX 516
ELM MOTT, TX 76640                                    P‐0024121 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUMBERGER, AMY WHEAT E.
1339 BAY STREET
ALAMEDA, CA 94501‐3915                                P‐0024122 11/13/2017     TK Holdings Inc., et al .                     $700.00                                                                                       $700.00
GARZA, SEFERINO L.
2314 WIMBLEDON DR
WESLACO, TX 78596                                     P‐0024123 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CULLINAN, SUSAN L.
116 WINDCREST DRIVE
HOHENWWALD, TN 38462                                  P‐0024124 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIANG, KENNETH
YEE, VICKIE W.
81 WHEELER ROAD
STOW, MA 01775                                        P‐0024125 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEFFERSON, MATTHEW D.
411 E. INDIAN SCHOOL RD.
APT. 2062
PHOENIX, AZ 85012                                     P‐0024126 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, MARILYN
WILSON, DEMYROIS A.
630 30TH STREET
BAKERSFIELD, CA 93301                                 P‐0024127 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNS, DANIEL L.
550 N SPRING ST
WABASH, IN 46992                                      P‐0024128 11/3/2017      TK Holdings Inc., et al .                     $367.00                                                                                       $367.00
HOEHLE, LOUIS F.
235 KAREN DR
ACAMO, TX 78516                                       P‐0024129 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONG, MARY E.
343 SPENCEOLA PARKWAY
FOREST HILL, MD 21050‐3160                            P‐0024130 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIMES, STEVEN H.
2504 NINTH AVENUE
PARKERSBURG, WV 26101                                 P‐0024131 11/6/2017      TK Holdings Inc., et al .                     $647.57                                                                                       $647.57




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BEAUDRY, JARMILA M.
BEAUDRY, PAUL J.
376 HERITAGE DR
PAWLEYS ISLAND, SC 29585                              P‐0024132 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                     P‐0024133 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOU, KUN HUNG
3326 CLUB PLACE
DULUTH, GA 30096                                      P‐0024134 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DISS, ROXANNE
1008 S. MACHIAS RD.
SNOHOMISH, WA 98290                                   P‐0024135 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                     P‐0024136 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIANG, KENNETH
81 WHEELER ROAD
STOW, MA 01775                                        P‐0024137 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWHORN, ANDREW R.
20350 CROW COURT APT. A
SONORA, CA 95370‐6945                                 P‐0024138 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS,INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                     P‐0024139 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANNELL, LAUREN E.
411 E. INDIAN SCHOOL RD.
APT. 2062
PHOENIX, AZ 85012                                     P‐0024140 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUMBERGER, TIMOTHY P.
1339 BAY STREET
ALAMEDA, C 94501‐3915                                 P‐0024141 11/13/2017     TK Holdings Inc., et al .                     $700.00                                                                                       $700.00
ANDREWS, CAROL F.
228 SILBERHORN DRIVE
FOLSOM, CA 95630                                      P‐0024142 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, KAREY A.
KELLY, KAREY A.
1274 BATHPORT WAY
JTHBK1EG6C2502131
CORONA, CA 92881                                      P‐0024143 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                     P‐0024144 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTILLO, ADRIAN L.
4243 W. AVE. J12
LANCASTER, CA 93536                                   P‐0024145 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LILLIE, JOSEPH V.
525 ROBERT LEE CIRCLE
LAFAYETTE, LA 70506‐3136                              P‐0024146 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                     P‐0024147 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAKE, JASON R.
21776 LAKE VISTA DR
LAKE FOREST, CA 92630                                 P‐0024148 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUPTA, RAJEEV
GUPTA, MONISHA
1081 CORNFLOWER CT
SUNNYVALE, CA 94086                                   P‐0024149 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWHORN, ANDREW R.
20350 CROW COURT APT. A
SONORA, CA 95370‐6945                                 P‐0024150 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIMOGA, KARUNAKAR B.
4238 SIENA CT
SAN JOSE, CA 95135                                    P‐0024151 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTILLO, ADRIAN L.
4243 W. AVE. J12
LANCASTER, CA 93536                                   P‐0024152 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                     P‐0024153 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SYLWESTER, BREANA J.
20265 ELLIE LANE
BEND, OR 97703                                        P‐0024154 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARQUEZ, BREANNA L.
4681 SIERRA VISTA AVENUE
#107
RIVERSIDE, CA 92505                                   P‐0024155 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUPTA, RAJEEV
1081 CORNFLOWER CT
SUNNYVALE, CA 94086                                   P‐0024156 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOK, CHRISTOPHER A.
COOK, DARIA L.
1928 NE 28TH ST.
OKLAHOMA CITY, OK 73111                               P‐0024157 11/13/2017     TK Holdings Inc., et al .                    $5,995.00                                                                                    $5,995.00
BURNS, GARY P.
6634 JOSHUA STREET
OAK PARK, CA 91377                                    P‐0024158 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                     P‐0024159 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANE, TIARA M.
1450 S. PERRIS BLVD
APT M77
PERRIS, CA 92570                                      P‐0024160 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGEE, PATRICK
1636 1/2 PREUSS ROAD
LOS ANGELES, CA 90035                                 P‐0024161 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, REGINA M.
7855 118TH STREET
JACKSONVILLE, FL 32244                                P‐0024162 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
VERDICK, ANDREA L.
6634 JOSHUA STREET
OAK PARK, CA 91377                                     P‐0024163 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AIKEN II, WILLIAM A.
AIKEN, LINDA S.
8639 CANTUA CREEK
HELOTES, TX 78023                                      P‐0024164 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RHODES, JEFFREY S.
2003 PATRICK ROAD
WACO, TX 76708                                         P‐0024165 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALEY, GREG
HALEY BUILDERS, INC.
10102 WHITESEL ROAD
ASHLAND, VA 23005                                      P‐0024166 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LESTER, TYWANA C.
985 HWY 26 W
COCHRAN, GA 31014                                      P‐0024167 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VERDICK, ANDREA L.
6634 JOSHUA STREET
OAK PARK, CA 91377                                     P‐0024168 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEAZIRIAN, JOHN
8916 BRONX AVE APT 2N
SKOKIE, IL 60077                                       P‐0024169 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATKINS, SHARA L.
3121 COTTAGE LANE
MESQUITE, TX 75181                                     P‐0024170 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAVULA, RITA
GAVULA, JAMES
25 HILLTOP DRIVE
BURLINGTON, MA 01803                                   P‐0024171 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, MACGREGOR M.
628 NE KNOTT ST
PORTLAND, OR 97212                                     P‐0024172 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONEDY, BARBARA D.
15683 W TAYLOR ST
GOODYEAR, AZ 85338                                     P‐0024173 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODALL, LYNETTE D.
423 SAN JUAN DR
MODESTO, CA 95354                                      P‐0024174 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LU, FENGMING
600 ALEXAN DR
APT 303
DURHAM, NC 27707                                       P‐0024175 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONDRA, JOHN A.
NO ADDRESS PROVIDED
                                                       P‐0024176 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORNONI, LIZETTE
P.O. BOX 77518
SEATTLE, WA 98177                                      P‐0024177 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSSCHAU, JORDAN
BUSSCHAU, SONIA
524 NE LOMBARD ST
PORTLAND, OR 97211                                     P‐0024178 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOLTZ, DONALD E.
P O BOX 11
REFTON, PA 17568                                       P‐0024179 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RUIZ, LILLIAN M.
2514 E PHINNEY BAY PL
BREMERTON, WA 98312                                  P‐0024180 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REINSBURROW, JOSHUA L.
599 COUNTY LINE RD.
TURBOTVILLE, PA 17702                                P‐0024181 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, JEFFREY A.
5737 KANAN RD #334
AGOURA, CA 91301                                     P‐0024182 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DZERA, BARBARA
34 WESTMOUNT DRIVE
LIVINGSTON, NJ 07039                                 P‐0024183 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIKE, CHRISTOPHER D.
21040 SHEARER AVE
CARSON, CA 90745                                     P‐0024184 11/13/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
BONDRA, JOHN A.
NO ADDRESS PROVIDED
                                                     P‐0024185 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUSZAR, DANIEL W.
P.O. BOX 1146
ALBANY, LA 70711                                     P‐0024186 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, KIM S.
301 SHREWSBURY COURT
JEFFERSON, LA 70121                                  P‐0024187 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASSINGALE, JEFFREY T.
39354 CAPE HORN RD
CONCRETE, WA 98237                                   P‐0024188 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASH, MARGARET M.
RASH JR, THOMAS W.
23 STATE STREET
CHARLESTON, SC 29401                                 P‐0024189 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILKEY, SANDI
32 GREENSPRING
TRABUCO CANYON, CA 92679                             P‐0024190 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESCHE, BRADON
304 S JONES BLVD #3218
LAS VEGAS, NV 89107                                  P‐0024191 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMALLWOOD, DAVID B.
SMALLWOOD, MELISSA A.
9807 46TH COURT EAST
PARRISH, FL 34219                                    P‐0024192 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGNER, WARREN R.
73 AIRPORT ROAD
ELDRED, NY 12732                                     P‐0024193 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IRVINE, DOLORES J.
IRVINE, JOHN F.
P.O. BOX 139
BLUNT, SD 57522                                      P‐0024194 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICKSON, JAMES
5046 CASTO CIRCLE
SALT LAKE CITY, UT 84117                             P‐0024195 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMIRANDE, KELLIN
LAMIRANDE, TAMMY
1361 ROLAND ROAD
CLOQUET, MN 55720                                    P‐0024196 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CHIAVARIO, DANIEL L.
CHIAVARIO, AIMEE L.
1912 DIAMOND ST
UNIT 2
SAN DIEGO, CA 92109                                  P‐0024197 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOK, DENNIS L.
NO ADDRESS PROVIDED
                                                     P‐0024198 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOUBASSY, TONY
TOUBASSY DISTRIBUTION
2911 ANDRADE AVE.
RICHMOND, CA 94804                                   P‐0024199 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUDGENS, ALFRED G.
HUDGENS, JUDITH M.
3470 CAMELLIA DR
SAN BERNARDINO, CA 92404                             P‐0024200 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DALTON, DANIEL R.
DALTON, COLEEN M.
7370 WHITE HAWK DRIVE
ANCHORAGE, AK 99507                                  P‐0024201 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALINT, PATRICK M.
16406 RIGGS RD
STILWELL, KS 66085                                   P‐0024202 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IRVINE, JOHN F.
P.O. BOX 139
BLUNT, SD 57522                                      P‐0024203 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOSSELMANN, EDWARD R.
19744 SW NIGHTINGALE DRIVE
DUNNELLON, FL 34431                                  P‐0024204 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VEERASAWMY, MICHELLE D.
DUNBAR, KRISHNA S.
901 MAIN STREET
STONE MOUNTAIN, GA 30083                             P‐0024205 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDY, DOUGLAS G.
PAULETTE L.
49 GARDEN VIEW LANE
PLEASANT HILL, CA 94523                              P‐0024206 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERADA, WILLIAM R.
19702 DENBY
REDFORD, MI 48240                                    P‐0024207 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMIRANDE, ALEC
LAMIRANDE, TAMMY
1361 ROLAND ROAD
CLOQUET, MN 55720                                    P‐0024208 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, LORRI L.
534 RANCHO DEL NORTE
N. LAS VEGAS, NV 89031                               P‐0024209 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTON, DIETRICH B.
5705 E TEXAS STREET
APT 64
BOSSIER CITY, LA 71111                               P‐0024210 11/13/2017     TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
HARTSHORNE, SHEILA F.
69411 RAMON ROAD
#1177
CATHEDRAL CITY, CA 92234                             P‐0024211 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
RUTH, AUDREY J.
89 MEADOWS RUN LANE
ELKINS, WV 26241                                      P‐0024212 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATT, JEFFREY D.
WATT, KIM M.
1515 BUCK CT
NEENAH, WI 54956                                      P‐0024213 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIELDS, KRISTA A.
215 W CHESTNUT ST
ALBION, MI 49224                                      P‐0024214 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRISON, CHRISTIE L.
1253 AGATE ST.
SAN DIEGO, CA 92109                                   P‐0024215 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATT, JEFFREY D.
WATT, KIM M.
1515 BUCK CT
NEENAH, WI 54956                                      P‐0024216 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDY, DOUGLAS G.
SANDY, PAULETTE L.
49 GARDEN VIEW LANE
PLEASANT HILL, CA 94523                               P‐0024217 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTIER, MICHAEL P.
3553A ATLANTIC AVE
#214
LONG BEACH, CA 90807                                  P‐0024218 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEXICOTTE, LINDA
MEXICOTTE, DONALD W.
16765 RIVERSIDE STREET
LIVONIA, MI 48154                                     P‐0024219 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULLEN, BRANDON T.
8738 W TOWNLEY AVE
PEORIA, AZ 85345                                      P‐0024220 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIDALGO, JOSE C.
HIDALGO, ERMINA L.
P.O. BOX 116
GONZALES, CA 93926                                    P‐0024221 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PROWELL, SONYA S.
12602 S PAGE ST
CALUMET PARK, IL 60827‐5910                           P‐0024222 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN EMBURG, DAVID P.
104 WINTER BROOK LANE
SIMPSONVILLE, SC 29681                                P‐0024223 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERKINS, JOHN E.
33 WEST MISSOURI AVENUE
UNIT 18
PHOENIX, AZ 85013                                     P‐0024224 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNSAKER, BRENT E.
3086 SO GLACIER BAY WAY
MERIDIAN, ID 83642‐7828                               P‐0024225 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN ESSEN, BRIGITTE
VERHOEF, MARTIN
736 MIDLAND WAY
REDWOOD CITY, CA 94062                                P‐0024226 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MEXICOTTE, LINDA MARIE K.
MEXICOTTE, DONALD W.
16765 RIVERSIDE STREET
LIVONIA, MI 48154                                    P‐0024227 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYAN, PATRICK M.
34 NEW HAVEN DRIVE
CARY, IL 60013                                       P‐0024228 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN EMBURG, DAVID P.
104 WINTER BROOK LANE
SIMPSONVILLE, SC 29681                               P‐0024229 11/13/2017     TK Holdings Inc., et al .                   $18,760.74                                                                                   $18,760.74
DALQUIST, SHARON
1603 FORD AVE
REDONDO BEACH, CA 90278                              P‐0024230 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCALLISTER, SAVANNAH L.
208 GROUPER CIRCLE SE
PALM BAY, FL 32909                                   P‐0024231 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BODDEN, WALTER B.
BODDEN, FRANCES C.
17519 HERITAGE CREEK COURT
WEBSTER, TX 77598‐3120                               P‐0024232 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LILES, THURSTON A.
LILES, JO M.
815 COURT ST
GATESVILLE, NC 27938‐9503                            P‐0024233 10/31/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
EDMONDS, EVELYN V.
65 GRANDE ISLE DRIVE
APT. 317
WAKEFIELD, RI 02879                                  P‐0024234 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEAZIRIAN, JOHN
8916 BRONX AVE APT 2N
SKOKIE, IL 60077                                     P‐0024235 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGNER, DEBRA J.
4817 CHERRY HILL CT SOUTH
APT 2
COLUMBUS, OH 43228                                   P‐0024236 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HART, FRANCIS
NO ADDRESS PROVIDED
                                                     P‐0024237 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OBRIEN, LAURA
1507 ELON LN
ENCINITAS, CA 92024                                  P‐0024238 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIS, KATELYN
34 N SANTA CRUZ AVE
LOS GATOS, CA 95030                                  P‐0024239 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEARMAN, THOMAS
708 ALLEN AVENUE
SAINT LOUIS, MO 63104                                P‐0024240 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCMASTER, DAWN
228 61ST STREET
ALTOONA, PA 16601                                    P‐0024241 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANCASTER, TECHIE B.
LANCASTER, MALLORY W.
91‐596 PUHILAKA PL
EWA BEACH, HI 96706                                  P‐0024242 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MUTERT, ELAINE C.
538 NORTH POINT PRAIRIE ROAD
WENTZVILLE, MO 63385
                                                     P‐0024243 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RITENOUR, JEFFREY A.
11239 HIGHLAND SCHOOL ROAD
MYERSVILLE, MD 21773                                 P‐0024244 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURLEY, MARY E.
852 VINO VERDE CIRCLE
BRANDON, FL 33511                                    P‐0024245 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAABS, VIRGINIA
24476 HWY 7 SOUTH
RICHLAND, MO 65556                                   P‐0024246 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAVELL, STEPHANIE L.
264 LEE GARLAND DRIVE
OPELOUSAS, LA 70570                                  P‐0024247 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KYLE, BRIAN D.
4710 DONAHO ROAD
NORTH ZULCH, TX 77872                                P‐0024248 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZISSA, AIMEE M.
4429 KNOLLVIEW DR.
PLANO, TX 75024                                      P‐0024249 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CELESTI, AMY J.
3588 RYDAL LANE
MASON, OH 45040                                      P‐0024250 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSSINI, ANTHONY J.
27 MIDWOOD DRIVE
FLORHAM PARK, NJ 07932                               P‐0024251 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EMEN, NADIA
1914 TANAGER STREET
VENTURA, CA 93003                                    P‐0024252 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROLL, JENNIFER L.
34 N SANTA CRUZ AVE
LOS GATOS, CA 95030                                  P‐0024253 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUIZ, LILLIAN M.
2514 E PHINNEY BAY PL
BREMERTON, WA 98312                                  P‐0024254 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, KATHLEEN A.
300 SILVER HORSE RD
RENO, NV 89510                                       P‐0024255 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, BRIDGETTE L.
39869 FREMONT BLVD APT 1302
FREMONT, CA 94538                                    P‐0024256 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANN, STEPHANIE L.
P.O. BOX 94
VAUGHN, WA 98394                                     P‐0024257 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMON, TIMOTHY S.
SIMON, TIMOTHY
144 RICE CORNER RD
BROOKFIELD, MA 01506                                 P‐0024258 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOREN, NICHOLAS J.
1247 11TH ST. APT. 3
SANTA MONICA, CA 90401                               P‐0024259 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
SEKHON, KULWINDER K.
SEKHON, JASVIR S.
WEBER BMW
6006 N TORREY PINES AVE
FRESNO, CA 93723                                       P‐0024260 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHMIDHAUSER, PAUL A.
P.O. BOX 11526
NEWPORT BEACH, CA 92658                                P‐0024261 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LESAGE, BONNIE R.
RICONTI, DINO R.
14876 BELCOURT DR.
WHITTIER, CA 90604                                     P‐0024262 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, DONNA M.
P.O. BOX 64
SAPPHIRE, NC 28774                                     P‐0024263 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVA, FABIAN O.
1604 S. TAMAR DRIVE
WEST COVINA, CA 91790                                  P‐0024264 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURGESS, MARY J.
BURGESS, JOSEPH K.
3 FLORESTA
GUNNISON, CO 81230                                     P‐0024265 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLONY, SCOTT P.
MOLONY, ADDY A.
410 DOTSIE DRIVE
WESTMINSTER, MD 21158                                  P‐0024266 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES‐FRAZIER, STEPHANIE J.
205 SCAMMELL DR.
BROWNS MILLS, NJ 08015                                 P‐0024267 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERGERT, ADAM
P.O. BOX 363
SAINT JOHN, WA 99171                                   P‐0024268 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KINCAID, ESTHER
7000 PARADISE RD
APT #2025
LAS VEGAS, NV 89119                                    P‐0024269 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITLATCH, SHARON I.
2411 SW 326TH ST
FEDERAL WAY, WW 98023                                  P‐0024270 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIDSON, LISA
2950 PETERSEN WAY
RIVERBANK, CA 95367                                    P‐0024271 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRIGO, HENRY
1010 WASHINGTON ST
TALLAHASSEE, FL 32303                                  P‐0024272 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHROUT, DONALD A.
307 VALLEY CT
SMYRNA, TN 37167                                       P‐0024273 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARKER, ANTHONY E.
423 SAN JUAN DR
MODESTO, CA 95354                                      P‐0024274 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLS, ANTHONY D.
MILLS, KELLY D.
P O BOX 587
BRADENTON, FL 34281‐5878                               P‐0024275 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
KOPEY, LEE A.
1077 GREENLEAF BLVD.
APT 216
ELKHART, IN 46514                                    P‐0024276 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARNOLD, DIANE K.
ARNOLD, PATRICK L.
3854 CORNELL DR.
OCEANSIDE, CA 92056                                  P‐0024277 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMONELLI, JOHN J.
SIMONELLI, JULIE C.
P.O. BOX 115
TAHOMA, CA 96142                                     P‐0024278 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                     P‐0024279 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEAZIRIAN, JOHN
8916 BRONX AVE APT 2N
SKOKIE, IL 60077‐1907                                P‐0024280 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAFT, DALLAS M.
5405 MANITOWAC DRIVE
RANCHOPALOSVERDE, CA 90275                           P‐0024281 11/13/2017     TK Holdings Inc., et al .                  $500,000.00                                                                                  $500,000.00
ROBLES, JOHN A.
2599 SUNNYDALE DR
DUARTE, CA 91010                                     P‐0024282 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRANDLEMIRE, JEFF E.
177 RIGGS STREET
OXFORD, CT 06478                                     P‐0024283 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELANCY, SARAH M.
P.O. BOX 6
CHETOPA, KS 67336                                    P‐0024284 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSEN, CHRISTINE L.
80 SAPPHIRE AVE
CHRISTIANSBURG, VA 24073                             P‐0024285 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBLES, JOHN A.
2599 SUNNYDALE DR
DUARTE, CA 91010                                     P‐0024286 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDOVAL, DOLORES
19654 KINNEY COURT
CASTRO VALLEY, CA 94546                              P‐0024287 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUFALINI, SANDRA
9432 STONEYBROCK PL
RANCHO CUCAMONGA, CA 91730                           P‐0024288 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELANCY, JOHN A.
7400 W GRANT RANCH BLVD APT 9
DENVER, CO 80123                                     P‐0024289 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERRY, BRIAN
6 RIVA DEL LAGO DR.
MISSOURI CITY, TX 77459                              P‐0024290 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIRANDA, CONNIE
6298 N BRIX AVE
FRESNO, CA 93722                                     P‐0024291 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELANCY, CARLA L.
P.O. BOX 620333
LITTLETON, CO 80162                                  P‐0024292 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
ROBLES, JOHN A.
2599 SUNNYDALE DR
DUARTE, CA 91010                                    P‐0024293 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOVOTNAK, CLARA
628CEDAR STREET
FREELAND, PA                                        P‐0024294 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, THOMAS J.
WOOD, DEBORAH A.
3592 REBEL CIRCLE
HUNTINGTON BEACH, CA 92649                          P‐0024295 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUBAKER, MARSHA
3819 HASKIN DRIVE
MIDLAND, MI 48640                                   P‐0024296 11/13/2017     TK Holdings Inc., et al .                     $716.07                                                                                       $716.07
PINYAN, JAMES A.
24836 MULHOLLAND HIGHWAY
CALABASAS, CA 91302                                 P‐0024297 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REITZ, SHELLI D.
15108 300TH ST NE
ARLINGTON, WA 98223                                 P‐0024298 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, DILLIS V.
367 ARBOR GLEN BLVD
SCHAUMBURG, IL 60195                                P‐0024299 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVA, ROBERT E.
SILVA, JOANNE
8109 WINSLOW AVENUE
LAS VEGAS, NV 89129                                 P‐0024300 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHAN, JACQUELINE
P.O. BOX 1166
LOS ALAMITOS, CA 90720                              P‐0024301 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCOY, KENT G.
200 SHERATON DRIVE
BELLEVILLE, IL 62223                                P‐0024302 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSSO, NICHOLAS P.
22726 LADEENE AVENUE
TORRANCE, CA 90505                                  P‐0024303 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROCKWOOD, DAVID F.
37 TWEED BLVD.
NYACK, NY 10960                                     P‐0024304 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIS, COLIN
34 N SANTA CRUZ AVE
LOS GATOS, CA 95030                                 P‐0024305 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JESKA, DANIEL C.
2124 N FAIRVIEW LN
ROCHESTER HILLS, MI 48306                           P‐0024306 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, JESSICA E.
P.O. BOX 362
WHITEVILLE, TN 38075                                P‐0024307 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALLEN, IRENE F.
367 ARBOR GLEN BLVD
SCHAUMBURG, IL 60195                                P‐0024308 11/13/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
GABRIELE, RACHEL L.
30 GLENVILLE ST. #2
GREENWICH, CT 06831                                 P‐0024309 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAZARIS, CHRISTOS G.
1628 W. BERWYN AVE.
CHICAGO, IL 60640                                   P‐0024310 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CHATTERTON, JUDITH H.
1350 DEER MEADOW WAY
ROCKFORD, TN 37853                                   P‐0024311 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAUL, PAUL G.
1209 JEFFERSON ST
BAKERSFIELD, CA 93305                                P‐0024312 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROLL, CHLOE
34 N SANTA CRUZ AVE
LOS GATOS, CA 95030                                  P‐0024313 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTIAGO, MYRA
18 GAIL DRIVE
APARTMENT C
NYACK, NY 10960                                      P‐0024314 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACKWELL, SARA L.
18 WHISPERING HILLS DR.
CLIFTON PARK, NY 12065                               P‐0024315 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEIS, MADELINE
34 N SANTA CRUZ AVE
LOS GATOS, CA 95030                                  P‐0024316 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINYAN, ALISON J.
24836 MULHOLLAND HIGHWAY
CALABASAS, CA 91302                                  P‐0024317 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROLL, JOHN
34 N SANTA CRUZ AVE
LOS GATOS, CA 95030                                  P‐0024318 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAAS, SCOTT M.
ECHOLS HAAS, SHANNON D.
23345 8TH STREET
NEWHALL, CA 91321                                    P‐0024319 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZELLER, GAYLE L.
4311 67TH AVE W
APT A
UNIVERSITY PLACE, WA 98466                           P‐0024320 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMBERT, ANN‐FRANCS
4023 W. 141ST STREET
APT. 10
HAWTHORNE, CA 90250                                  P‐0024321 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
URCIA, ANALISA R.
13101 LAKE GENEVA WAY
GERMANTOWN, MD 20874                                 P‐0024322 11/3/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
HOPPER, LARRY E.
1000 MILLBANK DRIVE
MATTHEWS, NC 28104                                   P‐0024323 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAUL, JAY S.
1134 OLIVE PLACE
NORTH BELLMORE, NY 11710                             P‐0024324 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMPSON, LOREN T.
9326 KNOLL CREST LOOP
AUSTIN, TX 78759                                     P‐0024325 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUTLIFF, ERNEST G.
3501 JUAN TABO BLVD NE
UNIT A6
ALBUQUERQUE, NM 87111                                P‐0024326 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CANNA, THOMAS J.
CANNA, MARY ANN
19231 ASPEN CT.
MOKENA, IL 60448                                     P‐0024327 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARLAND, ROBERT
TOY, TINA
21458 RAMBLA VISTA DRIVE
MALIBU, CA 90265                                     P‐0024328 11/13/2017     TK Holdings Inc., et al .                   $12,500.00                                                                                   $12,500.00
IMBERNINO, VIRGINIA L.
4630 SHERWOOD FOREST DRIVE
DELRAY BEACH, FL 33445                               P‐0024329 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YANKWICH, RICHARD I.
1490 EDGEWOOD DRIVE
PALO ALTO, CA 94301                                  P‐0024330 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOMER, JARROD R.
6603 QUEENS FALLS COURT
LOUISVILLE, KY 40229                                 P‐0024331 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOVINO, SOPHIA A.
460 PRICE AVENUE
CALUMET CITY, IL 60409                               P‐0024332 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANNA, THOMAS
CANNA, MARY ANN
19231 ASPEN CT.
MOKENA, IL 60448                                     P‐0024333 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILES, CINDY A.
99 RANDOLPH ST
CARTERET, NJ 07008                                   P‐0024334 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LECKIE, JOYCE G.
14348 RIVERSIDE DRIVE
UNIT 6
SHERMAN OAKS, CA                                     P‐0024335 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMPSON, LOREN T.
9326 KNOLL CREST LOOP
AUSTIN, TX 78759                                     P‐0024336 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEAL, BILLY W.
15907 VICTORY BLVD APT 106
VAN NUYS, CA                                         P‐0024337 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUTLIFF, TANAYA
3501 JUAN TABO BLVD NE
UNIT A6
ALBUQUERQUE, NM 87111                                P‐0024338 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLE, LISA
84 WASHINGTON AVENUE
HAWTHORNE, NJ 07506                                  P‐0024339 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTER, SARA N.
945 LAWN AVENUE
HAMILTON, OH 45013                                   P‐0024340 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATERSON, SEAN A.
36 TIMBERLAKE RD
LANE, KS 66042                                       P‐0024341 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUEL, KATHRYN C.
P.O. BOX 5164
SHERMAN OAKS, CA 91413                               P‐0024342 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHOU, YUE
2800 AVENT FERRY RD APT 102
RALEIGH, NC 27606                                    P‐0024343 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
STERN, KARL C.
STERN, LINDA M.
626 W. ATLANTIC ST.
APPLETON, WI 54911                                   P‐0024344 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURRIE, CHRISTINE L.
23621 92ND AVE W
EDMONDS, WA 98020                                    P‐0024345 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, LAURIE
444 NOTRE DAME AVENUE
CUYAHOGA FALLS, OH 44221                             P‐0024346 11/13/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
CARSO, MICHAEL J.
CARSO, DEBORAH A.
101 PINE CREEK DRIVE
VENETIA, PA 15367                                    P‐0024347 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASON, CAROLYN A.
YOCOM, ELIZABETH L.
3049 DEERBRUSH WAY
EUGENE, OR 97405                                     P‐0024348 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAUFMANN, SUZANNE L.
23705 SW ROSEDALE RD
BEAVERTON, OR 97078‐8516                             P‐0024349 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SERVIS, KARA L.
1106 E. MOYAMENSING AVE.
3RD FLOOR
PHILADELPHIA, PA 19147                               P‐0024350 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRANDLEMIRE, JEFF E.
177 RIGGS STREET
OXFORD, CT 06478                                     P‐0024351 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONDS, TRAVIS A.
7401 ORCHARDHILL DR
RICHMOND, VA 23234                                   P‐0024352 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUARTE, PEDRO
DUARTE, MAYTE
16377 APPLETREE LN
VICTORVILLE, CA 92395                                P‐0024353 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALEEM, MOHAMMED A.
5502 POUND STONE CT
SUGAR LAND, TX 77479                                 P‐0024354 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OBENBERGER, KEITH G.
OBENBERGER, SHERRI M.
13803 BIOLA AVE
LA MIRADA, CA 90638                                  P‐0024355 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARRETT, NANCY J.
259 BEECHWOOD DRIVE
DILLSBURG, PA 17019                                  P‐0024356 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAEGELE, JANIS J.
HOLLAND, WILLIAM J.
1175 PALO ALTO AVE
CLOVIS, CA 93612                                     P‐0024357 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSEN, CHRISTINE L.
80 SAPPHIRE AVE
CHRISTIANSBURG, VA 24073                             P‐0024358 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELANCY, CARLA L.
P.O. BOX 620333
LITTLETON, CO 80123                                  P‐0024359 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
GRAHAM, LAURIE
444 NOTRE DAME AVENUE
CUYAHOGA FALLS, OH 44221                              P‐0024360 11/13/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
BRANDENBURG, CARL A.
BRANDENBURG, REBA M.
228 JOE LANE
JEFFERSON CITY, MO 65101‐5531                         P‐0024361 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUDDARTH, SUSAN C.
7387 LAWNDALE DRIVE
WEST CHESTER, OH 45069                                P‐0024362 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHERTTZER, ROBBERT J.
290 BEAR CREEK BLVD
APT. 1005
WILKES‐BARRE, PA 18702                                P‐0024363 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHEL, CHARLES M.
FISHEL, LINDA
235 KAREN DR.
ALAMO, TX 78516                                       P‐0024364 11/2/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, JOE A.
1104 DEAL TRAIL
SUFFOLK, VA 23434                                     P‐0024365 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALONSO, LUCY
131 MAPLE AVE
RAHWAY, NJ 07065                                      P‐0024366 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, STEVEN J.
5366 LAKE MURRAY BLVD
LA MESA, CA 91942                                     P‐0024367 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDRICKSEN, MARC R.
118 DENHAM PL
MOORESVILLE, NC 28115                                 P‐0024368 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUNDLACH, MICHAEL T.
122 UPPER LAKEVIEW RD
WHITE SALMON, WA 98672                                P‐0024369 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASCH, MELINDA M.
MELINDA M. RASCH
2116 ALBURY AVE.
LONG BEACH, CA 90815                                  P‐0024370 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIRSHON, SHELDON
BARASCH, CLAUDIA G.
2332 NELLA VISTA AVENUE
LOS ANGELES, CA 90027                                 P‐0024371 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, LAUREN L.
2927 SPRING MOUNTAIN DRIVE
LOVELAND, CO 80537                                    P‐0024372 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOHNKERN, PENNY D.
1109 TRIANGLE CT
PRINCETON, MN 55371                                   P‐0024373 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IVY, SAMUEL E.
1974 LYDGATE COVE
MEMPHIS, TN 38116                                     P‐0024374 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YEI, KAREN T.
32729 ARTISTRY LOOP
UNION CITY, CA 94587                                  P‐0024375 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGBALON, REY F.
516 7TH AVENUE
LINDENWOLD, NJ 08021                                  P‐0024376 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
IVY, SAMUEL E.
1974 LYDGATE COVE
MEMPHIS, TN 38116                                    P‐0024377 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATMON, EDWARD L.
MATMON, GAIL N.
4 PINEWOOD DR
MANALAPAN, NJ 07726                                  P‐0024378 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPMAN, TIFFANY L.
2400 ARDEN DRIVE
SARASOTA, FL 34232                                   P‐0024379 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUONG, DAISY
NO ADDRESS PROVIDED
                                                     P‐0024380 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODS‐LEWIS, LORAINE
8156 S ST. LAWRENCE
CHICAGO, IL 60619                                    P‐0024381 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARASCH, CLAUDIA G.
HIRSHON, SHELDON I.
2332 NELLA VISTA AVENUE
LOS ANGELES, CA 90027                                P‐0024382 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIEL, JAMES P.
DANIEL, KIM D.
2102 N ZIRCON PL
MERIDIAN, ID 83646                                   P‐0024383 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUDSON, KEVIN
8637 KING RD
BAILEY, MS 39320                                     P‐0024384 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHELLE, KRISTINA
9328 ELK GROVE BLVD.
SUITE 105‐126
ELK GROVE, CA 95624                                  P‐0024385 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CABAY, JOHN A.
440 GERARD AVENUE
VILLA PARK, IL 60181                                 P‐0024386 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLATT, PENNY
11030 SWEET PEA
SAN ANTONIO, TX 78245                                P‐0024387 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINDEN, STEVEN
3083 CONSTELLATION DRIVE
MELBOURNE, FL 32940                                  P‐0024388 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANNA, THOMAS J.
CANNA, MARY ANN
19231 ASPEN CT.
MOKENA, IL 60448                                     P‐0024389 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, DAVID C.
3830 LAKE GARDEN DR
FALLBROOK, CA 92028/9597                             P‐0024390 11/13/2017     TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
BECK, MARY H.
234 EAST MAIN STREET
GLOUCESTER, MA 01930                                 P‐0024391 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, DOUGLAS H.
4339 RICHALVA CT.
WATERFORD, MI 48329                                  P‐0024392 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORSTER, KEITH
1417 BONITA AVE
BERKELEY, CA 94709                                   P‐0024393 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HILL, RAYMOND L.
P.O. BOX 205
840 EIGHTH STREET
COLVER, PA 15927                                     P‐0024394 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, DAVID C.
3830 LAKE GARDEN DR
FALLBROOK, CA 92028/9597                             P‐0024395 11/13/2017     TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
PFUNDT, NIEL F.
PFUNDT, DIANNE B.
3915 WILKIN STREET
BELLINGHAM, WA 98229‐3914                            P‐0024396 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROCK, ANTHONY
7425 LA VISTA DR.
#416
DALLAS, TX 75214                                     P‐0024397 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCARPETE, KEVIN N.
P.O. BOX 35
PENNGROVE, CA 94951                                  P‐0024398 11/13/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
FISCHER, KELLY D.
5819 JUSTIN DR
ELKO, NV 89801‐5226                                  P‐0024399 11/13/2017     TK Holdings Inc., et al .                       $40.00                                                                                       $40.00
ROGERS, LAURA L.
4244 CHEROKEE AVENUE
#7
SAN DIEGO, CA 92104                                  P‐0024400 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONOHUE, LEO A.
15213 EDEN ROCK CT
DARNESTOWN, MD 20874                                 P‐0024401 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDAN, MASUMI S.
1721 W CALDWELL ST
COMPTON, CA 90220                                    P‐0024402 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAN, JIN
2411 STONE RD
ANN ARBOR, MI 48105                                  P‐0024403 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTHY, LOAVA D.
P O BOX 833
HOWE, TX 75459                                       P‐0024404 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRION, ELIZABETH
HERRION, ELIZABETH D.
927 W RAYNELL ST
SPRINGFIELD, MO 65807                                P‐0024405 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENSEN, AERIEL A.
6562 NW DOGWOOD ST
HILLSBORO, OR 97124                                  P‐0024406 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MZEE, HUSSEIN A.
MZEE, KULSUM H.
1413 AMAZON DR
PLANO, TX 75075                                      P‐0024407 11/13/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
HOLMES, NORMA W.
NISSAN MOTOR ACCEPTANCE
6920 PINEBROOK DR
NEW ORLEANS, LA 70128‐2621                           P‐0024408 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAN, JIN
2411 STONE RD
ANN ARBOR, MI 48105                                  P‐0024409 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
JENSEN, AERIEL A.
6562 NW DOGWOOD ST
HILLSBORO, OR 97124                                  P‐0024410 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUINTON DESIGN & ELECTRICAL C
P.O. BOX 2802
MOUNT VERNON, WA 98273                               P‐0024411 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, WILLIE R.
513 BROCKINGTON ROAD
DARLINGTON, SC 29532‐4301                            P‐0024412 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATE, ANTWOINE D.
271 E. 149TH ST.
HARVEY, IL 60426                                     P‐0024413 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUSZAR, ROXIE L.
136 CLYDE AVE APT 2S
EVANSTON, IL 60202‐4020                              P‐0024414 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORT, BARRY D.
ESTATE OF BARRY D BORT, DEC
421 SPRINGVIEW LN
PHOENIXVILLE, PA 19460                               P‐0024415 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOENIG, EARL R.
4403 FOREST AVE
WATERFORD, MI 48328                                  P‐0024416 11/13/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
HECKER, JAMES T.
884 8TH ST
GOLDEN, CO 80401                                     P‐0024417 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WYNN, WYATTE
WYNN, KATHLEEN
2824 HOOCK AVE
LOUISVILLE, KY 40205                                 P‐0024418 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROEHM, GARY K.
ROEHM, DELINA J.
705 FOUNTAIN STREE
EAU CLAIRE, WI 54703                                 P‐0024419 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IRLE, JEFFREY H.
P.O. BOX 500176
ATLANTA, GA 31150                                    P‐0024420 11/13/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MARINCEL, THOMAS W.
MARINCEL, KATHY J.
230 E 30TH ST APT 104
KANSAS CITY, MO 64108                                P‐0024421 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELMORE, LYNDA
1102 ECKERSON RD
CENTRALIA, WA 98531                                  P‐0024422 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICHOLS, RICHARD D.
168 S WOODRUFF RD
BRIDGETON, NJ 08302                                  P‐0024423 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICHOLS, RICHARD D.
168 S WOODRUFF RD
BRIDGETON, NJ 08302                                  P‐0024424 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER‐PORTILLO, TANYA N.
2520 OAKWOOD WAY SE
SMYRNA, GA 30080                                     P‐0024425 11/13/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
HEVERLY, ARDEN S.
HEVERLY, PAMELA E.
227 SMITH AVE
LANSING, MI 48910                                    P‐0024426 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BROWN, WILLIE R.
513 BROCKINGTON ROAD
DARLINGTON, SC 29532‐4301                            P‐0024427 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMBS, JOHN B.
128 PAT COMBS DR
HONAKER, VA 24260                                    P‐0024428 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALBERT, STEVE
342 SWEET GRASS WAY
RICHMOND, KY 40475                                   P‐0024429 11/13/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MACKEARNEY, JAMES
MACKEARNEY, TRACI
5510 ANTELOPE DRIVE
BAR NUNN, WY 82601                                   P‐0024430 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMOS, VICTOR H.
14101 EUCLID ST #11
GARDEN GROVE, CA 92843                               P‐0024431 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEMION, JOHN W.
SEMION, ELIZABETH A.
P.O. BOX 569
MENLO PARK, CA 94026‐0569                            P‐0024432 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASSEY, BARBARA W.
P O BOX 331
OAKLAND, FL 34760                                    P‐0024433 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOLLETT, VIRGINIA A.
27 BARBERRY LANE
LEBANON, PA 17042                                    P‐0024434 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DALEWITZ, ALAN
DALEWITZ, ALAN
8 FERNDALE ROAD
NEW CITY, NY 10956                                   P‐0024435 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGILL, MICHELE M.
2033 16TH ST
ROCK VALLEY, IA 51247‐1119                           P‐0024436 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEMMERLING, LISA M.
210 WEST GRANT STREET
#419
MINNEAPOLIS, MN 55403                                P‐0024437 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIEBER, STEVEN J.
11209 NATIONAL BLVD.
#116
LOS ANGELES, CA 90064                                P‐0024438 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGLOFLIN, SAMUEL J.
181 CRYSTAL LAKE RD
AUSTIN, AR 72007                                     P‐0024439 11/13/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
ARROYO, ANNETTE R.
ARROYO, ALEJANDRO RAEANN
3750 TORREY ST
BALDWIN PARK, CA 91706                               P‐0024440 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                     P‐0024441 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MICHELLE L.
SMITH, DENNIS J.
696 WEST SHORE TRAIL
SPARTA, NJ 07871                                     P‐0024442 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
BARRY, JOSEPH M.
416 DRUMMOND DRIVE
RALEIGH, NC 27609                                   P‐0024443 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, BRIDGET C.
P.O. BOX 332
SAINT MICHAEL, PA 15951                             P‐0024444 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CERECERES, JOSE A.
636 HOLLISTER ST
SAN FERNANDO, CA 91340                              P‐0024445 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIXON, REED
16117 W CHALET DR
OLATHE, KS 66062                                    P‐0024446 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANBUREN, HENRY L.
191 HOME AVE
MANSFIELD, OH 44902                                 P‐0024447 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAXTER, DONALD W.
6756 LUNAR DRIVE
ANCHORAGE, AK 99504                                 P‐0024448 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNEIL, JOHN C.
P.O. BOX 55
MT VERNON, IL 62864                                 P‐0024449 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, TARIK
1817 BRAMBLE CREEK
DESOTO, TX 75115                                    P‐0024450 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, LISA J.
3132 TETON DRIVE
GASTONIA, NC 28054                                  P‐0024451 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VU, KEVIN T.
2822 HAYDEN BROOK DR
STOCKTON, CA 95212                                  P‐0024452 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARSHA‐STRONG, MATTHEW
FLOR, NATALIE
2992 STELLA BLUE LN
FAIRFAX, VA 22031                                   P‐0024453 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CERECERES, JOSE A.
636 HOLLISTER ST
SAN FERNANDO, CA 91340                              P‐0024454 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIXON, REED
16117 W CHALET DR
OLATHE, KS 66062                                    P‐0024455 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEISS, JODY L.
15 S QUAKER LN
HYDE PARK, NY 12538                                 P‐0024456 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RENAUDIN, SEBASTIEN
1292 SILVA LN.
ALAMEDA, CA 94502                                   P‐0024457 11/13/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
KIM, BRUCE
426 S. CEDARCREST DR
SCHAUMBURG, IL 60193                                P‐0024458 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVY, LAUREN D.
412 E 88TH ST 1W
NEW YORK, NY 10128‐6682                             P‐0024459 11/13/2017     TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
WEISS, JODY L.
15 S QUAKER LN
HYDE PARK, NY 12538                                 P‐0024460 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
DINOFA, MARION C.
610 HARTS RIDGE RD
CONSHOHOCKEN, PA 19428                              P‐0024461 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YAP YE, CHENG YUAN
735 CONTESSA
IRVINE, CA 92620                                    P‐0024462 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEONG, TAMMY M.
58 FOREST SIDE AVE
SAN FRANCISCO, CA 94127                             P‐0024463 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOSTON, JAMES
400 CAMPCREEK DRIVE
ELGIN, SC 29045                                     P‐0024464 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABATE, LOISMARIE
5762 MIDDLECOFF DRIVE
HUNTINGTON BEACH, CA 92649                          P‐0024465 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, CHRISTINE
2 PURDUE DRIVE
DELRAN
, NJ 08075                                          P‐0024466 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORTON, GERRY L.
110 RIDGE BEND DR.
EAST PEORIA, IL 61611                               P‐0024467 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIM, BRUCE
426 S. CEDARCREST DR
SCHAUMBURG, IL 60193                                P‐0024468 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HISSAM, JOSEPH D.
515 WEST 4TH STREET APT 4
KIMBALL, NE 69145                                   P‐0024469 11/13/2017     TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
YOUNG, CAROL L.
5762 MIDDLECOFF DRIVE
HUNTINGTON BEACH, CA 92649                          P‐0024470 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANCAZIO, MAUREEN J.
P.O. BOX 781142
ORLANDO, FL 32878                                   P‐0024471 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRION, ELIZABETH D.
HERRION, ELIZABETH D.
927 W RAYNELL ST
SPRINGFIELD, MO 63807                               P‐0024472 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, ANA G.
888 MESA VIEW STREET
UPLAND, CA 91784                                    P‐0024473 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGER, EVA
6701 BURNET ROAD
#367
AUSTIN, TX 78757                                    P‐0024474 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAUR, MANDEEP
136 BEACON DRIVE
MILPITAS, CA 95035                                  P‐0024475 11/13/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
SAEPHARN, PAMELA
16682 NE SCHUYLER CT
PORTLAND, OR 97230                                  P‐0024476 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLON, ANTOINETTE
BOSTON, TAIJOUR
400 CAMP CREEK DRIVE
ELGIN, SC 29045                                     P‐0024477 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
RUSSELL, SCOTT A.
112 10TH STREET
ALTOONA, PA 16602                                     P‐0024478 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANCAZIO, MAUREEN J.
P.O. BOX 781142
ORLANDO, FL 32878                                     P‐0024479 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEC, CYNTHIA M.
37050 S. RIDGEVIEW BLVD
TUCSON, AZ 85739                                      P‐0024480 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HADDAD, ROGER
4306 JORDAN RANCH DR
DUBLIN, CA 94568                                      P‐0024481 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANGONE, KEVIN J.
ANGONE, KEVIN J.
9371 MAN O WAR CT
#1203
GLEN ALLEN, VA 23060                                  P‐0024482 11/13/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
COLON, ANTOINETTE
400 CAMPCREEK DRIVE
ELGIN, SC 29045                                       P‐0024483 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRIZAN, CHARITY
KRIZAN, PAUL
5552 N FR 125
SPRINGFIELD, MO 65803                                 P‐0024484 11/13/2017     TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
PUTZIER, CHARLES F.
5700 WEST WALDEN DRIVE
SIOUX FALLS, SD 57106                                 P‐0024485 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRION, ELIZABETH D.
HERRION, ELIZABETH D.
927 W RAYNELL ST
SPRINGFIELD, MO 65807                                 P‐0024486 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAJARDO, MARISOL
3421 PARK SQ W
APT 1
TAMPA, FL 33613                                       P‐0024487 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SISSING, THADDEUS
BRYSON, LAUREL
40480 CRYSTAL AIRE CT
MURRIETA, CA 92562                                    P‐0024488 11/13/2017     TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                      P‐0024489 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRANJC, SUZAN
6620 PARKLAKE DR
MASON, OH 45040                                       P‐0024490 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRITTON, ERICA K.
2013 GROVES EDGE LN
WAXHAW, NC 28173                                      P‐0024491 11/13/2017     TK Holdings Inc., et al .                    $9,883.00                                                                                    $9,883.00
LEE, ANDY Y.
2704 VILLAS WAY
SAN DIEGO, CA 92108                                   P‐0024492 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUNDIN, JODIE M.
18550 HATTERAS ST UNIT 2
UNIT 2
TARZANA, CA 91356                                     P‐0024493 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CARR, ANDI B.
P.O. BOX 299
PEBBLE BEACH, CA 93953                              P‐0024494 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIM, MYUNGHWA
3344 GOLDEN CURRANT BLVD
FORT COLLINS, CO 80521                              P‐0024495 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REARDON, ANN M.
208 OXFORD CIRCLE WEST
RICHMOND, VA 23221                                  P‐0024496 11/13/2017     TK Holdings Inc., et al .                     $350.00                                                                                       $350.00
GOODWIN, LAUREN
1816 COLEMAN PL
ROSAMOND, CA 93560                                  P‐0024497 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, AARON
P.O. BOX 124884
SAN DIEGO, CA 92112                                 P‐0024498 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCRARY, SHANNON G.
3540 VILLA TERRACE
SAN DIEGO, CA 92104                                 P‐0024499 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANNA, THOMAS J.
CANNA, MARY ANN
19231 ASPEN CT.
MOKENA, IL 60448                                    P‐0024500 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REARDON, ANN M.
208 OXFORD CIRCLE WEST
RICHMOND, VA 23221                                  P‐0024501 11/13/2017     TK Holdings Inc., et al .                     $365.00                                                                                       $365.00
ROGERS, ADRIAN
38147 17TH STREET EAST
PALMDALE, CA 93550                                  P‐0024502 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYER, JACOB A.
P.O. BOX 342
MOUNT HERMON, CA 95041                              P‐0024503 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNETTE, ROSALIE
6722 WESTVIEW DR
BRECKSVILLE, OH 44141                               P‐0024504 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIECKE, CINDA S.
319 RIDGEWOOD AVE
DAVENPORT, IA 52803                                 P‐0024505 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, IRENE A.
821 SO. CERRITOS AVE
UNIT 14
AZUSA, CA 91702                                     P‐0024506 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REED, NICKOLAS
REED, NICKOLAS
NICKOLAS REED
1027 HICKORY RIDGE ROAD
SMYRNA, DE NICKOLAS                                 P‐0024507 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANNA, THOMAS J.
CANNA, MARY ANN
19231 ASPEN CT.
MOKENA, IL 60448                                    P‐0024508 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAGALSKY, NELSON R.
7 ANACAPRI
LAGUNA NIGUEL, CA 92677                             P‐0024509 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARLSON, DAVID L.
CARLSON, GRETCHEN A.
                                                    P‐0024510 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BREED, GREGORY A.
9376 PIPILO STREET
SAN DIEGO, CA 92129                                   P‐0024511 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMOS, VERONICA
1750 TIARA TRL #410
LAREDO, TX 78045                                      P‐0024512 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CERECERES, JOSE A.
636 HOLLISTER ST
SAN FERNANDO, CA 91340                                P‐0024513 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAGALSKY, NELSON R.
7 ANACAPRI
LAGUNA NIGUEL, CA 92677                               P‐0024514 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHENG, DAVID W.
QIU, JOANN Q.
16027 NW EMILY LANE
BEAVERTON, OR 97006                                   P‐0024515 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURKHART, MICHAEL W.
BURKHART, KATHRYN T.
19419 PLANTATION ROAD
REHOBOTH BEACH, DE 19971                              P‐0024516 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIDKOWSKI TETZLA, JUDITH A.
1501 HENRY PLACE
WAUKEGAN, IL 60085                                    P‐0024517 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAN, JUN
WANG, JIAN
4514 VILLAGE FOREST DR
SUGAR LAND, TX 77479                                  P‐0024518 11/13/2017     TK Holdings Inc., et al .                    $4,680.00                                                                                    $4,680.00
BARRY, JOSEPH M.
416 DRUMMOND DRIVE
RALEIGH, NC 27609                                     P‐0024519 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIDSON, TIFFANY L.
3122 BRINKLEY RD 104
#104
TEMPLE HILLS, MD 20748                                P‐0024520 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YANG, CHIN‐ANN
2417 COLUMBIA BLVD
RICHMOND, CA 94804                                    P‐0024521 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIM, RYAN KYUNG
3131 S HOOVER ST.
5404D
LOS ANGELES, CA 90089                                 P‐0024522 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAVEZ, DIEGO
711 SUNFLOWER
LAKE FOREST, CA 92630                                 P‐0024523 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, TAMARA J.
26424 MISTY RIDGE PLACE
CANYON COUNTRY, CA 91387                              P‐0024524 11/14/2017     TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
ATKINS, PAUL S.
ATKINS, MIKIYO O.
15017 87TH AVE NE
KENMORE, WA 98028                                     P‐0024525 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASTOS, JEFFREY C.
891 MAMARONECK AVE
MAMARONECK, NY 10543                                  P‐0024526 11/14/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LIOU, T. K.
BOX 4044
WHEATON, IL 60189‐4044                               P‐0024527 11/14/2017     TK Holdings Inc., et al .                   $39,800.00                                                                                   $39,800.00
MCPHERSON, MICHAEL S.
1333 ORCHARD WAY
FREDERICK, MD 21703                                  P‐0024528 11/14/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
DEBREY, MICHELE A.
7112 GLOUCHESTER
EDINA, MN 55435                                      P‐0024529 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIOVESAN, ALEKSANDR J.
4127 REDBUD DRIVE WEST
WHITEHALL, PA 18052                                  P‐0024530 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, ROXANNE
5454 N SALINAS
FRESNO, CA 9377                                      P‐0024531 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCAFEE, DONNA M.
2117 ECHO BAY STREET #202
LAS VEGAS, NV 89128                                  P‐0024532 11/14/2017     TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
LE, PHUONG T.
2308 ROBINSON ST
REDONDO BEACH, CA                                    P‐0024533 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIOU, T. K.
BOX 4044
WHEATON, IL 60189‐4044                               P‐0024534 11/14/2017     TK Holdings Inc., et al .                   $11,900.00                                                                                   $11,900.00
FINNEGAN, MOLLY K.
1811 GENERAL ANDERSON RD
VANCOUVER, WA 98661                                  P‐0024535 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, TANYEKA
103 DORIS FRANCIS BLVD
CANTON, MS 39046                                     P‐0024536 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMS, TERENCE H.
5617 VERMILLION BLVD.
NEW ORLEANS, LA 70122                                P‐0024537 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUAN, LOUIS K.
QUAN, ROSE
1416 VIA ROMA
MONTEBELLO, CA 90640‐1856                            P‐0024538 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALOTHMAN, SAHAR
4094 MAJESTIC LANE 193
FAIRFAX, VA 22033                                    P‐0024539 11/14/2017     TK Holdings Inc., et al .                   $15,565.00                                                                                   $15,565.00
COLAIANNI, MARIO L.
15810 CORRAL LANE
EDEN PRAIRIE, MN 55347                               P‐0024540 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, GILBERT K.
3464 ORIOLE PL
FREMONT, CA 94555                                    P‐0024541 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAMUDIO, MELISSA R.
1955 HOOPER DR.
SAN JACINTO, CA 92583                                P‐0024542 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHONE, RODNEY K.
MAHONE, SATOKO
11112 208TH ST CT E
GRAHAM, WA 98338                                     P‐0024543 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALOTHMAN, SAHAR
4094 MAJESTIC LANE 193
FAIRFAX, VA 22033                                    P‐0024544 11/14/2017     TK Holdings Inc., et al .                   $10,805.59                                                                                   $10,805.59
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
SOLARTE, CORRINA
1495 VALLEJO DR
CORONA, CA 92882                                   P‐0024545 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARPER, DAVID L.
CARPER, BETTY A.
136 GATEWAY ST.
WILLS POINT, TX 75169                              P‐0024546 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLARTE, JOSE M.
1495 VALLEJO DR
CORONA, CA 92882                                   P‐0024547 11/14/2017     TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
FEIGNER, RANDALL J.
4209 BUCK CREEK CT
NORTH CHARLESTON, SC 29420                         P‐0024548 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAVER, KAYLYN M.
1512 N LINDEN ST
BLOOMINGTON, IL 61701                              P‐0024549 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALOTHMAN, SAHAR
4094 MAJESTIC LANE 193
FAIRFAX, VA 22033                                  P‐0024550 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARSEN, WES S.
18202 E MICHIELLI AVE
SPOKANE VALLEY, WA 99016                           P‐0024551 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HILB, JENNIFER L.
2418 RAYWOOD VW #128
COLORADO SPRINGS, CO 80920                         P‐0024552 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUNA, JUAN R.
9497 JACK RABBIT DR
UNIT 108
RANCHO CUCAMONGA, CA 91730                         P‐0024553 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHULTISE, DAVID K.
420 S. CATALINA AVE.
UNIT 102
REDONDO BEACH, CA 90277                            P‐0024554 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUNA, JUAN R.
9497 JACK RABBIT DR
UNIT108
RANCHO CUCAMONGA, CA 91730                         P‐0024555 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALOTHMAN, SAHAR
4094 MAJESTIC LANE 193
FAIRFAX, VA 22033                                  P‐0024556 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEIGNER, RANDALL J.
4209 BUCK CREEK CT
NORTH CHARLESTON, SC 29420                         P‐0024557 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ATKINS, PAUL S.
ATKINS, MIKIYO O.
15017 87TH AVE NE
KENMORE, WA 98028                                  P‐0024558 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENNESSY, THOMAS A.
550 PARK BLVD UNIT 2604
SAN DIEGO, CA 92101                                P‐0024559 11/14/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
VAUDRIN, MAXIME
11 MADRID CT
NOVATO, CA 94949                                   P‐0024560 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KWOK, KIM HUNG A.
16640 NE 119TH WAY
REDMOND, WA 98052                                  P‐0024561 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
EWING, REBECCA J.
509 MALACHITE AVENUE
POB 262
TYRONE, NM 88065                                      P‐0024562 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JIANG, XIMING
1248 W ADAMS BLVD
#103
LOS ANGELES, CA 90007                                 P‐0024563 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE ANDA, LUIS R.
2010 ARLENE AVENUE
OXNARD, CA 93036                                      P‐0024564 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIMAURO, STEPHEN M.
2026A UALAKAA ST APT A
HONOLULU, HI 96822                                    P‐0024565 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLAIANNI, MARIO L.
15810 CORRAL LANE
EDEN PRAIRIE, MN 55347                                P‐0024566 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANDLER, LAURA A.
991 CORTE LACIENEGA
CAMARILLO, CA 93010                                   P‐0024567 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLAIANNI, MARIO L.
15810 CORRAL LANE
EDEN PRAIRIE, MN 55347                                P‐0024568 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CINTRON, ADMA S.
44 BLACK BEAR DRIVE 1226
WALTHAM, MA 02451                                     P‐0024569 11/13/2017     TK Holdings Inc., et al .                   $44,661.00                                                                                   $44,661.00
BANDLER, LAURA A.
991 CORTE LACIENEGA
CAMARILLO, CA 93010                                   P‐0024570 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALLERY, TONI O.
1705 BRI ANNA DRIVE
NEW IBERIA, LA 70560                                  P‐0024571 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRAZIER, VALERIE L.
4063 FARONIA DRIVE
MEMPHIS, TN 38116                                     P‐0024572 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, CLIFFORD M.
515 4TH ST APT 5
P.O BOX 15
CENTURIA, WI 54824                                    P‐0024573 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALLERY, TONI O.
1705 BRI ANNA DRIVE
NEW IBERIA, LA 70560                                  P‐0024574 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMLINSON, DAVID J.
5842 ABRAHAM AVE
WESTMINSTER, CA 92683                                 P‐0024575 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANG, LI‐HSUEH
5 BEARDS HILL RD
BEDFORD, NH 03110                                     P‐0024576 11/14/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MASSEY, LAURA L.
42275 WILD MUSTANG RD
MURRIETA, CA 92562                                    P‐0024577 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NASH, MARY ELLEN
5790 JACKIES DR
LOVES PARK, IL 61111                                  P‐0024578 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WILSON, SUSAN
1801 LORD BYRON DR
BETHLEHEM, PA 18017                                  P‐0024579 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANDERPOOL, REGGIE K.
2103 LOUIS ST
MELROSE PARK, IL 60164                               P‐0024580 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DYKES, DAWN
1767 PATTY LN NW
POULSBO, WA 98370                                    P‐0024581 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAGNON, MARTIN
155 WILDLIFE VW CT S
RICHMOND HILL, GA 31324‐0298                         P‐0024582 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COCKELS III, JAMES H.
1540 JONES DRIVE
ANN ARBOR, MI 48105                                  P‐0024583 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
APLEY, SAMUEL J.
11415 BAYBERRY DR.
ROMEO, MI 48065                                      P‐0024584 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANG, DOUA
4927 CRESTBROOK DR
WATERFORD, MI 48328                                  P‐0024585 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, ROSABEL
URB. EL DORADO
CALLE C D‐16
SAN JUAN, PR 00926‐3481                              P‐0024586 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADSEN, DENNIS R.
3153 BALBOA PLACE
MELBOURNE, FL 32940                                  P‐0024587 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHWORTH, NOEL H.
186 JERRY BROWNE ROAD
APT. 6303
MYSTIC, CT 06355                                     P‐0024588 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBSTER, PATRICIA R.
WEBSTER, ROBERT G.
56 KENSINGTON DRIVE
NEW CUMBERLAND, WV 26047                             P‐0024589 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEBRON, TONYA
1839 BLUE JAY CT
SEVERN, MD 21144                                     P‐0024590 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALONE III, BERNARD L.
717 WESTVIEW AVE
FORT WORTH, TX 76107                                 P‐0024591 11/14/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
RIDINGS, ANN
21 LILAC LANE
PRINCETON, NJ 08540                                  P‐0024592 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAGNER JR, CURTIS A.
P.O. BOX 14038
BRADENTON, FL 34280‐4038                             P‐0024593 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERS, RODERICK L.
167 N PORTAGE PATH
APT. 4
AKRON, OH 44303                                      P‐0024594 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MALONE III, BERNARD L.
717 WESTVIEW AVE
FORT WORTH, TX 76107                                 P‐0024595 11/14/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
RIDINGS, BARRY W.
21 LILAC LANE
PRINCETON, NJ 08540                                   P‐0024596 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALBORN, JAMES D.
JEAN
P.O. BOX 604
WHITTIER, NC 2889                                     P‐0024597 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAMER, JASON D.
2313 COPPERGATE WAY
THOMPSONS STATN, TN 37179                             P‐0024598 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENS, RANDY G.
10 SIENNA COURT
CHAPIN, SC 29036                                      P‐0024599 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECRESCENTIS, JOHN R.
6442 PERRY STREET
ARVADA, CO 80003                                      P‐0024600 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, MARIA L.
3232 ENSENADA ST NE
HARTVILLE, OH 44632                                   P‐0024601 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEAZIRIAN, JOHN
8916 BRONX AVE APT 2N
SKOKIE, IL 60077                                      P‐0024602 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEELEY, DENNIS E.
CHEELEY, JANET B.
14202 SUMMERCREEK CT.
CHESTERFIELD, VA 23832                                P‐0024603 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEAZIRIAN, JOHN
8916 BRONX AVE APT 2N
SKOKIE, IL 60077                                      P‐0024604 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEAZIRIAN, JOHN
8916 BRONX AVE APT 2N
SKOKIE, IL 60077                                      P‐0024605 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEAZIRIAN, JOHN
8916 BRONX AVE APT 2N
SKOKIE, IL 60077                                      P‐0024606 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIECKER, ERIC
ZIECKER, MARA
2802 CABEZON BLVD. SE
RIO RANCHO, NM 87124                                  P‐0024607 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEAZIRIAN, JOHN
8916 BRONX AVE APT 2N
SKOKIE, IL 60077                                      P‐0024608 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEAZIRIAN, JOHN
8616 BRONX AVE APT 2N
SKOKIE, IL 60077                                      P‐0024609 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEAZIRIAN, JOHN
8916 BRONX AVE, APT 2N
SKOKIE, IL 60077                                      P‐0024610 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEAZIRIAN, JOHN
8916 BRONX AVE APT 2N
SKOKIE, IL 60077                                      P‐0024611 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREWER, JAMES P.
713 HICKORY LANE
CAROL STREAM, IL 60188‐9145                           P‐0024612 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
KEAZIRIAN, JOHN
8916 BRONX AVE APT 2N
SKOKIE, IL 60077                                    P‐0024613 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUEHN, SCOTT D.
3329A S 16TH ST
MILWAUKEE, WI 53215‐4901                            P‐0024614 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEAZIRIAN, JOHN
8916 BRONX AVE APT 2N
SKOKIE, IL 60077                                    P‐0024615 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARLSON, VICKI
P.O. BOX 2261
WHITE CITY, OR 97503                                P‐0024616 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MICHNO, MARY
176 FOUR SEASONS
LAKE ORION, MI 48360                                P‐0024617 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDRICKSON, MARTA
146 W COLONIAL DR
HANFORD, CA 93230                                   P‐0024618 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUTEAU, WHITNEY L.
2337 SE SURREY PL.
PORT ST. LUCIE, FL 34952                            P‐0024619 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIEJACK, ALEXANDER R.
2008 BALDWIN MILL ROAD
FALLSTON, MD 21047                                  P‐0024620 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWOPE LAW, P.L.
C/O SCOTT P. SWOPE
P.O. BOX 1021
PALM HARBOR, FL 34682                               P‐0024621 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REINKE, LARRY A.
W7268 BONNIE DR
SHIOCTON, WI 54170                                  P‐0024622 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALCEDO, CHUCK A.
2104 ROYAL DOMINION
ARLINGTON, TX 76006                                 P‐0024623 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LONG, KATIE A.
LONG, AARON R.
21255 H HWY
CLARKSBURG, MO 65025                                P‐0024624 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOWEN, LAURA L.
P.O. BOX 1805
CONWAY, SC 29528                                    P‐0024625 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, JOHN K.
616 OUILMETTE LANE
WILMETTE, IL 60091                                  P‐0024626 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEMP, MATTHEW J.
1255 ALCOVY STATION ROAD
COVINGTON, GA 30014                                 P‐0024627 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, RICK L.
4043 APRIL DR
UNIONTOWN, OH 44685                                 P‐0024628 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWEARINGIN, DAVID W.
26816 HWY 24
CARROLLTON, MO 64633                                P‐0024629 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANKARANARAYANA, DINESH
2478 BLACK HORSE DR NE
GRAND RAPIDS, MI 49505                              P‐0024630 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
REINKE, SUSAN R.
W7268 BONNIE DR
SHIOCTON, WI 54911                                   P‐0024631 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONKLIN, LISA M.
17 ARGONNE RD WEST
HAMPTON BAY'S, NY 11946                              P‐0024632 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHUBERT, SARAH R.
15363 W PORT ROYALE LN
SURPRISE, AZ 85379                                   P‐0024633 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOBIECKI, DANIELLE
103 PLUMTREE WAY
CARY, NC 27518                                       P‐0024634 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANCH, ALICIA R.
1996 PITTSTON FARM RD
LITHONIA, GA 30058                                   P‐0024635 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERT, WILLIAM J.
116 SAKATAH LANE
MANKATO, MN 56001                                    P‐0024636 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVINE, LAURENCE J.
LEVINE, EMILY M.
4536 S CHELSEA LN
BETHESDA, MD 20814                                   P‐0024637 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALES, JULIE
225 HINKEN STREET
CLUTE, TX 77531                                      P‐0024638 11/14/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
PERRY, CHARLOTTE E.
4745 TESSIE LANE
HIXSON, TN 37343                                     P‐0024639 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEAZIRIAN, JOHN
8916 BRONX AVE APT 2N
SKOKIE, IL 60077                                     P‐0024640 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMOROSE, DENNIS G.
AMOROSE, MARY ANN B.
518 CABOT DRIVE
HICKORY HILL
HOCKESSIN, DE 19707‐1137                             P‐0024641 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEAZIRIAN, JOHN
8916 BRONX AVE, APT 2N
SKOKIE, IL 60077                                     P‐0024642 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIXBY, KELLY L.
13350 MCGREGOR BLVD
FT MYERS, FL 33919‐5930                              P‐0024643 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RABSATT, KENNETH
191 TOLEMAN ROAD
WASHINGTONVILLE, NY 10992‐1242                       P‐0024644 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERN, RICHARD F.
21728 ARRIBA REAL
34 G
BOCA RATON, FL 33433                                 P‐0024645 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, PERCY I.
5655 FAIRWAY FOREST DR
WINSTON SALEM, NC 27105                              P‐0024646 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COBB, DAVID A.
2039 RIDGE WOOD LANE
SUGAR LAND, TX 77479                                 P‐0024647 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RECTOR, MARVIN D.
6511 SHORELINE DRIVE
LITTLE ELM, TX 75068                                 P‐0024648 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOURNIER, DIANE V.
FOURNIER, ROBERT L.
1465 HOOKSETT RD UNIT 211
HOOKSETT, NH 03106                                   P‐0024649 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANOS, SARANTOS J.
26 KIMBERLY LN.
RANDOLPH, MA 02368                                   P‐0024650 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALES, ANTONIO
GONZALES, PATRICIA A.
7407 SUNSCAPE WAY
SAN ANTONIO, TX 78250‐3130                           P‐0024651 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NADON, NANCY L.
407 KERWIN ROAD
SILVER SPRING, MD 20901                              P‐0024652 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, HARRY G.
406 GRAISBURY AVENUE
HADDONFIELD, NJ 08033                                P‐0024653 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAPPELLO, ROSEMARY L.
41 A JAYSON AVE
GREAT NECK, NY 11021‐4239                            P‐0024654 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNSTEIN, MITCHELL J.
3190 NORTH 34 STREET
HOLLYWOOD, FL 33021                                  P‐0024655 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, TOMMY R.
HALL, SHERRI D.
1102 DOUBLE L ROAD
WHITE HALL, AR 71602                                 P‐0024656 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KNOPF, JUNE S.
1 HARBOURSIDE DRIVE
APT. 1504
DELRAY BEACH, FL 33483                               P‐0024657 11/6/2017      TK Holdings Inc., et al .                   $26,039.00                                                                                   $26,039.00
MA, BETTY Y.
73‐04 194TH STREET
FRESH MEADOWS, NY 11366                              P‐0024658 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORNELAS, ROBERT R.
ORNELAS, JUANITA
8 VELVET COURT
MANSFIELD, TX 76063                                  P‐0024659 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOWNEY, ANGELA M.
6751 N FEDERAL HWY
#300
BOCA RANTON, FL 33487                                P‐0024660 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARIDGE, THOMAS H.
481 N SANTA CRUZ AVE
STE 302
LOS GATOS, CA 95032‐5300                             P‐0024661 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, ROSETTA M.
1222 MONROE AVENUE
ASBURY PARK, NJ 07712                                P‐0024662 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                     P‐0024663 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HAM, SHARON
MITCHELL A. TOUPS, LTD.
P. O. BOX 350
BEAUMONT, TX 77704‐0350                              P‐0024664 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, BRYIAN K.
2309 LOMAS PL
CLOVIS, NM 88101                                     P‐0024665 11/6/2017      TK Holdings Inc., et al .                  $100,000.00                                                                                  $100,000.00
RILEY, KESHIA T.
1550 WEST 12TH STREET
RIVIERA BEACH, FL 33404                              P‐0024666 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EBLEN, MONICA M.
8054 E SPEED RD
MILLTOWN, IN 47145                                   P‐0024667 11/14/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
PENN, GREGORY L.
8937 MARQUETTE DR
GROSSE ILE, MI 48138                                 P‐0024668 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANE, JILL
LANE, RYAN
1021 FLINTLOCK RD.
DIAMOND BAR, CA 91765                                P‐0024669 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, RACHEL A.
580 NEBRASK AVE #2
LONG BEACH, CA 90802                                 P‐0024670 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORNELAS, JOSEPH D.
ORNELAS, HILARY L.
245 N.MILAN STREET
HENDERSON, NV 89015                                  P‐0024671 11/14/2017     TK Holdings Inc., et al .                   $23,563.63                                                                                   $23,563.63
PETERSON, DEENA L.
4819 TURTLE BAY TER
BRADENTON, FL 34203‐3158                             P‐0024672 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, ROBERT R.
JOHNSON, EILEEN M.
1011 NORFOLK LANE, #478
STEINHATCHEE, FL 32359                               P‐0024673 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHMIDT, MARCEL
2354 JOHN R RD APT 205
TROY, MI 48083                                       P‐0024674 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, GREGORY
8937 MARQUETTE DR
GROSSE ILE MI                                        P‐0024675 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERLIN, NORELL K.
63 CLIFFORD DRIVE
WEST HARTFORD, CT 06107‐1207                         P‐0024676 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCKNER, DUANE
MITCHELL A. TOUPS LTD
P.O BOX 350
BEAUMONT, TX 77704‐0350                              P‐0024677 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAUPT, TIMOTHY C.
3620 CORRIERE RD APT 301
EASTON, PA 18045                                     P‐0024678 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOZDISH, ROBERT
18214 AIRPORT RD
FRASER, MI 48026                                     P‐0024679 11/14/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
COYNE, DAVID M.
COYNE, TANYA K.
10116 GATES AVENUE
SILVER SPRING, MD 20902                              P‐0024680 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEARS, PAUL M.
8896 BOAK ROAD EAST
HOLLAND PATENT, NY 13354                             P‐0024681 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, DEENA L.
4819 TURTLE BAY TER
BRADENTON, FL 34203‐3158                             P‐0024682 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVEIRA, GREGORY
4760 LINWOOD ST
WEST BLOOMFIELD, MI 48324                            P‐0024683 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALDING, WALTER L.
BALDING, AMY L.
61 COWPER AVENUE
KENSINGTON, CA 94707                                 P‐0024684 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEINER, STEVE
29357 DAKOTA DR
VALENCIA, CA 91354                                   P‐0024685 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANKO, GREGORY
2439 S. RIVER RD.
JANESVILLE, WI 53546                                 P‐0024686 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEMAN, RICHARD C.
121 REDGLOBE STREET
NORTH AUGUSTA, SC 29860                              P‐0024687 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALANDRA, JAMES R.
CALANDRA, RUTH‐ANNE
5 ANNABELLE COURT
NASHUA, NH 03062                                     P‐0024688 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALANDRA, JAMES R.
CALANDRA, RUTH‐ANNE
5 ANNABELLE COURT
NASHUA, NH 03062                                     P‐0024689 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIELSON, STEPHANIE J.
P.O. BOX 621
FORSYTH, MT 59327                                    P‐0024690 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, STEPHANIE A.
247 REEDER DR.
COPPELL, TX 75019                                    P‐0024691 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISWAH, STELLA
577 SHERWOOD OAKS ROAD
STONE MOUNTAIN, GA 30087                             P‐0024692 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALANDRA, JAMES R.
CALANDRA, RUTH‐ANNE
5 ANNABELLE COURT
NASHUA, NH 03062                                     P‐0024693 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRELL, EDWIN L.
6315 ROCKPOINT LANE
HOSCHTON, GA 30548                                   P‐0024694 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISWAH, STELLA
577 SHERWOOD OAKS ROAD
STONE MOUNTAIN, GA 30087                             P‐0024695 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEVELAND, LILA V.
P.O. BOX 41082
MOBILE, AL 36640                                     P‐0024696 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
DUCHAMP, PHILIP J.
DUCHAMP, DEBORAH K.
1795 ENGLISH RD
ROCKWALL, TX 75032                                    P‐0024697 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALANDRA, JAMES R.
CALANDRA, RUTH‐ANNE
5 ANNABELLE COURT
NASHUA, NH 03062                                      P‐0024698 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GWANDARU, YVONNE W.
6024 MARSH RAIL DR
DENTON, TX 76208                                      P‐0024699 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMB, MELODIE
P.O. BOX 1967
GILBERT, AZ 85299                                     P‐0024700 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, KIWANNA
212 W 23RD ST
WILMINGTON, DE 19801                                  P‐0024701 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALANDRA, JAMES R.
CALANDRA, RUTH‐ANNE
5 ANNABELLE COURT
NASHUA, NH 03062                                      P‐0024702 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARTHOLF, BARRIE N.
12110 BAYWOODS DRIVE
TEGA CAY, SC 29708                                    P‐0024703 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTOYA ORTIZ, MARIA
P.O. BOX 30821
WILMINGTON, DE 19805                                  P‐0024704 11/14/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
RUGGLES, DAWN L.
210 S MOBILE ST APT 27
FAIRHOPE, AL 36532‐1346                               P‐0024705 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORTIZ, MARIA M.
NO ADDRESS PROVIDED
                                                      P‐0024706 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSON, ROBERT W.
603 SUNSET VALLEY DRIVE
SODDY DAISY, TN 37379                                 P‐0024707 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INGRAM, CATRICE
MITCHELL A. TOUP LTD
P.O. BOX BOX 350
BEAUMONT, TX 77704                                    P‐0024708 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYES, JOEY
MITCHELL A. TOUPS, LTD.
P.O. BOX 350
BEAUMONT, TX 77704‐0350                               P‐0024709 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAIRL, LINDA
320 AUTOBEES ROAD
AVONDALE, CO 81022                                    P‐0024710 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAITTS, MARK E.
4966 BUTTERFIELD RD
#317
HILLSIDE, IL 60162                                    P‐0024711 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUNN, LISA A.
67 PARKVIEW AVENUE
BANGOR, ME 04401                                      P‐0024712 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WEAVER, JAMES R.
WEAVER, DONNA L.
1041 MUSCOGEE WAY
GREENSBORO, GA 30642                                 P‐0024713 11/3/2017      TK Holdings Inc., et al .                     $460.00                                                                                       $460.00
CORTESE, PATRICIA A.
1315 NORTH LAKESIDE DRIVE
LAKE WORTH, FL 33460                                 P‐0024714 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, JOANNA
MITCHELL A. TOUPS, LTD
P.O. BOX 350
BEAUMONT, TX 77704‐0350                              P‐0024715 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSTON, BARB
JOHNSTON, GLENN
808 WEYBRIDGE LANE
KELLER, TX 76248                                     P‐0024716 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALBORNOZ, YOLANDA Z.
11602 SPLIT RAIL CT
ROCKVILLE, MD 20852                                  P‐0024717 11/3/2017      TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
SEITZ, SUSAN A.
SEITZ, TIMOTHY W.
3671 MENOHER BLVD
JOHNSTOWN, PA 15905                                  P‐0024718 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PROVOST, PERRY
MITCHELL A TOUPS, LTD.
P.O BOX 350
BEAUMONT, TX 77704                                   P‐0024719 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDSTROHM, DONALD D.
GOLDSTROHM, SHARON K.
6342 BELGIUM DR
LAS VEGAS, NV 89122                                  P‐0024720 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHEELER, FARRAH
MITCHELL A. TOUPS, LTD.
P.O. BOX 350
BEAUMONT, TX 77704‐0350                              P‐0024721 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAKOLA, RICHARD S.
PAKOLA, CASIMIRA
17 PENNWOOD ROAD
LEBANON, PA 17042                                    P‐0024722 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAW, ANGELA
OBO GH,
MITCHELL A TOUPS, LTD.
P.O BOX 350
BEAUMONT, TX 77704‐0350                              P‐0024723 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAZWETA, ROBERT
1925 DAKOTA LANE
AMMON, ID 83406                                      P‐0024724 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VIVIANS, ALBERTA S.
MITCHELL A. TOUPS, LTD.
P.O. BOX 350
BEAUMONT, TX 77704‐0350                              P‐0024725 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, DARYL
MITCHELL A TOUPS, LTD.
P.O BOX 350
BEAUMONT, TX 77704‐0350                              P‐0024726 10/31/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CHANG, TONY Y.
2891 ROUTE 22
PATTERSON, NY 12563                                 P‐0024727 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBS, PATRICIA A.
6310 CRUMP ROAD
KILN, MS 39556                                      P‐0024728 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDSTEIN, GENE
36 CAPTAIN HONEYWELL ROAD
ARDSLEY, NY 10502                                   P‐0024729 11/6/2017      TK Holdings Inc., et al .                    $2,289.17                                                                                    $2,289.17
GROVES, MARY A.
104 CENTER DRIVE
BEAVER, PA 15009                                    P‐0024730 11/6/2017      TK Holdings Inc., et al .                    $4,612.00                                                                                    $4,612.00
COOKSEY, VALERIE Y.
221 GRANVILLE CT NE
ATLANTA, GA 30328                                   P‐0024731 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERSHENOV, JOSEPH
6 WAMPUS LAKE DRIVE
ARMONK, NY 10504                                    P‐0024732 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIPPENS, WILLIAM A.
LIPPENS, SUSAN M.
142 MEADOWS ARBOR DR
WEATHERFORD, TX 76085                               P‐0024733 11/6/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
PIHL, KENNETH B.
312 GARDEN ROAD
NORMAL, IL 61761                                    P‐0024734 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASSARELLA, EVELYN V.
PASSARELLA, TORI A.
2542 EAGLE CREST COURT
HOLIDAY, FL 34691                                   P‐0024735 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASSARELLA, EVELYN
PASSAR, TORI A.
2542 EAGLE CREST CT
HOLIDAY, FL 34691                                   P‐0024736 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSENWASSER, DEBRA S.
16‐70 BELL BLVD
APT 603
BAYSIDE, NY 11360                                   P‐0024737 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORNIER JR, JAMES J.
CORMIER, E. ANNE
2181 TRUMBULL HILL RD
SHAFTSBURY, VT 05262                                P‐0024738 11/6/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
GIGLIO, JOHN D.
1350 OLDE TOWNE RD
ALEXANDRIA, VA 22307‐1419                           P‐0024739 11/6/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
SOLANO, KEVIN L.
1790 N. PHEASANT ST.
ANAHEIM, CA 92806                                   P‐0024740 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, ALMEADER Y.
1554 STIRLING LAKES DR
PONTIAC, MI 48340                                   P‐0024741 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, SONIA
9021 CARLISLE AVENUE
SACRAMENTO, CA 95829                                P‐0024742 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILESPIE, RHONDA
P.O.BOX 42
BLUE MOUNTAIN, MS 38610                             P‐0024743 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ZIEBELL, MARK R.
ZIEBELL, ELIZABETH A.
3865 WELSH PONY LANE
YORBA LINDA, CA 92886                                P‐0024744 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAPPAS, MEGAN L.
151 BLAKE RD.
P.O. BOX 522
BIG PINE, CA 93513                                   P‐0024745 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLINK, HEATHER
401 AVIGNON CT
RIVERSIDE, CA 92501                                  P‐0024746 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARKSON, TRAVIS D.
335 BRIDGE STREET NW
UNIT #2403
GRAND RAPIDS, MI 49504                               P‐0024747 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRANE, BJORN B.
2928 S. FERDINAND ST.
SEATTLE, WA 98108                                    P‐0024748 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELMREICH, CRYSTAL
HELMREICH, ALAN
81 BRETON AVE
SANFORD, ME 04073                                    P‐0024749 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORMIER JR, JAMES J.
CORMIER, E. ANNE
2181 TRUMBULL HILL RD
SHAFTSBURY, VT 05262                                 P‐0024750 11/6/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
KITTS, MARJORIE G.
3116 CUNNINGHAM ROAD
B8
KNOXVILLE, TN 37918                                  P‐0024751 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIGREGORIO, CHARLOTTE A.
711 OAK STREET UNIT 310
WINNETKA, IL 60093                                   P‐0024752 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWANSON, NORMAN A.
21587 ANCHOR BAY DRIVE
NOBLESVILLE, IN 46062                                P‐0024753 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOLAN, MARGARET A.
11787 S US HIGHWAY 53
SOLON SPRINGS, WI 54873                              P‐0024754 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AKERS BALLOU, JAMI L.
BALLOU, RONALD M.
44400 JEFFREY RD
DELAND, FL 32720                                     P‐0024755 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHENS, LOUIS C.
STEPHENS, LOUIS
1647 HARVARD AVE.
BROWNSVILLE, TX 78520                                P‐0024756 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEAVELL, WILLIAMN R.
LEAVELL, MARY M.
26927 BOYCE MILL ROAD
GREENSBORO, MD 21639                                 P‐0024757 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUBIN, PAULETTE M.
2017 183RD AVE NE
REDMOND, WA 98052                                    P‐0024758 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MIZE, JASON
310 PARRIS RD
COWPENS, SC 29330                                    P‐0024759 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOOMHOWER, JUDSON P.
3116 DWIGHT STREET
SAN DIEGO, CA 92104                                  P‐0024760 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, MICHAEL T.
6726 WATER STONE COURT
SANFORD, FL 32771                                    P‐0024761 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ODINET, CHRISTOPHER L.
ODINET, KATHERINE L.
830 EAST BAYOU PKWY
LAFAYETTE, LA 70508                                  P‐0024762 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCANN, KEVIN A.
MCCANN, ELIZABETH C.
105 HUNTERS RIDGE DRIVE
HARRISBURG, PA 17110                                 P‐0024763 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIANCHI, CAROL L.
BIANCHI, NICHOLAS F.
17199 ELIZABETH DRIVE
HOLLEY, NY 14470                                     P‐0024764 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INGERSOLL, SANDRA E.
914 HOORNE AVE
COLORADO SPRINGS, CO 80907                           P‐0024765 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COUCH, DAVID
8019 BELHAVEN WAY
EL DORADO HILLS, CA 95762                            P‐0024766 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTERS, KENDRA R.
WALTERS, LARRY D.
P.O. BOX 914
BELLE, MO 65013                                      P‐0024767 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KWAN, CLIFFORD C.
2721 AMBER DRIVE SOUTH
FORT WORTH, TX 76133                                 P‐0024768 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUGGAN, ROBERT A.
45 SPICE BUSH TRAIL
NARRAGANSETT, RI 02882                               P‐0024769 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, MARK A.
135 BERKLEY
DEARBORN, MI 48124                                   P‐0024770 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COUCH, TONIA
8019 BELHAVEN WAY
EL DORADO HILLS, CA 95762                            P‐0024771 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBBINS, SARAH
ROBBINS, SARAH A.
103 RIVER STREET
MIDDLEBORO, MA 02346                                 P‐0024772 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, LETERIA
23595 BUCKINGHAM
CLINTON TWP, MI 48036                                P‐0024773 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
METELSKI, JOSEPH H.
POBOX 373
BEDMINSTER, NJ 07921                                 P‐0024774 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
DAGGRES, LOLA V.
GEORGE WESTERVELT JR ESQUIRE
706 MONROE STREET
STROUDSBURG, PA 18360                                P‐0024775 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGES, LYNNE‐COURT
100 RANDALL AVE
APT 2E
FREEPORT, NY 11520                                   P‐0024776 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRIMBLE, MARK
4439 EUCLID AVE APT 8
SAN DIEGO, CA 92115                                  P‐0024777 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLOSE, REBECCA
CLOSE, CHASE
3483 N. OXNARD BLVD
OXNARD, CA 93036                                     P‐0024778 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COUCH, TONIA E.
8019 BELHAVEN WAY
EL DORADO HILLS, CA 95762                            P‐0024779 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLOSE, REBECCA M.
3217 OCEAN DRIVE
OXNARD, CA 93035                                     P‐0024780 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMES, STEVEN
14609 PRENDA ST.
VICTORVILLE, CA 92394                                P‐0024781 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, GENESIS E.
705 CREST VALLEY WAY APT. 210
BIRMINGHAM, AL 35212                                 P‐0024782 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENN, GREGORY L.
8937 MARQUETTE DR
GROSSE ILE MI 48138
                                                     P‐0024783 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUHLMANN, PETER M.
478 TOWER HILL RD
MILLBROOK, NY 12545                                  P‐0024784 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUGGAN, WILLIAM A.
244 BATTERY AVENUE
BROOKLYN, NY 11209                                   P‐0024785 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWE, JAMES M.
1615 STATE ROUTE 156
WATERLOO, IL 62298                                   P‐0024786 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRANJC, SUZAN
6620 PARKLAKE DR
MASON, OH 45040                                      P‐0024787 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERLIN, MICHAEL A.
63 CLIFFORD DRIVE
WEST HARTFORD, CT 06107                              P‐0024788 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOWE, ALBERT S.
2718 ST MARY RD
COTTONWOOD, AL 36320                                 P‐0024789 11/14/2017     TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
KINDER, TRACY M.
39 TORTUGA CAY
ALISO VIEJO, CA 92656                                P‐0024790 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOO PARSELS, HEATHER
322 INSPIRATION LANE
GAITHERSBURG, MD 20878                               P‐0024791 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
EZZARD, EZZARD
NO ADDRESS PROVIDED
                                                     P‐0024792 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
JOINER, MICHAEL D.
100 MUSTANG STAMPEDE DR.
LA MARQUE, TX 77568                                  P‐0024793 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LOWE, ALBERT S.
2718 ST MARY RD
COTTONWOOD, AL 36320                                 P‐0024794 11/14/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                     $2,500.00
HEIN, ERIC K.
W329N4225 STARBOARD DRIVE
NASHOTAH, WI 53058                                   P‐0024795 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
NKERE, EMEFRE O.
425 OLDFIELD DRIVE
FLEMING ISLAND, FL 32003                             P‐0024796 11/14/2017     TK Holdings Inc., et al .                 $1,000,000.00                                                                                $1,000,000.00
LOWE, ALBERT S.
2718 ST MARY RD
COTTONWOOD, AL 36320                                 P‐0024797 11/14/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                     $2,500.00
JONES, KRYSTAL L.
18W098 JAMESTOWN LANE
VILLA PARK, IL 60181                                 P‐0024798 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
COUNTY OF SANTA BARBARA
105 EAST ANAPAMU STREET
SUITE 102
SANTA BARBARA, CA 93101                              P‐0024799 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
MAGIER, CAROLYN
15 LYNN COURT
HILLSBOROUGH, NJ 08844                               P‐0024800 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LOWE, ALBERT S.
2718 ST MARY RD
COTTONWOOD, AL 36320                                 P‐0024801 11/14/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                     $2,500.00
VAUGHN, SHEILA A.
441 N. HARBOR CITY BLVD
UNIT D2
MELBOURNE, FL 32935                                  P‐0024802 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ROGERS, LOUISA
2250 SW 92 TERRACE
APT 2304
DAVIE, FL 33324                                      P‐0024803 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
GIGLIO, JOHN D.
WINCKLER, SUSAN C.
1350 OLDE TOWNE RD.
ALEXANDRIA, VA 22307‐1419                            P‐0024804 11/6/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                     $5,000.00
VASQUEZ, JAVIER
44 FORGE ROAD
MEDFORD, NJ 08055                                    P‐0024805 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LAMBKA, ROBIN G.
5577 CHOWNING WAY
COLUMBUS, OH 43213                                   P‐0024806 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
BERLIN, MICHAEL A.
63 CLIFFORD DRIVE
WEST HARTFORD, CT 06107‐1207                         P‐0024807 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
CARDWELL, MARJORIE M.
3116 CUNNINGHAM RD
B8
KNOXVILLE, TN 37918                                  P‐0024808 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LOACES, ANGELIN
2075 HOMER AVENUE
BRONX, NY 10473                                      P‐0024809 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICKEY, M`ARGARET
51 PLAYERS RIDGE ROAD
HICKORY, NC 28601‐8839                               P‐0024810 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EALEY, JAMES D.
EALEY, NORMA J.
308 EAST WASHINGTON ST
KEARNEY, MO 64060                                    P‐0024811 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSTON, GLENN
JOHNSTON, BARB
808 WEYBRIDGE LANE
KELLER, TX 76248                                     P‐0024812 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEMENT, KATHRYN R.
237 KINGS HWY
CLARKSBORO, NJ 08020                                 P‐0024813 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWE, JAMES M.
1615 STATE ROUTE 156
WATERLOO, IL 62298                                   P‐0024814 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HESSICK, CARL M.
HESSICK, MARY SUSAN
308 FIELDGATE DRIVE
LANCASTER, PA 17603‐7924                             P‐0024815 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENCIA‐TOUCHET, MARYALICE
945 MCKINNEY
#378
HOUSTON, TX 77002                                    P‐0024816 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLIMIE, EDWARD
237 KINGS HWY
CLARKSBORO, NJ 08020                                 P‐0024817 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, LINDA C.
DIXON, ROBERT A.
448 HOLLY ST
HUNTINGTON, TX 75949                                 P‐0024818 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKAY, ALEXENA C.
160 DAMON ROAD
BREWSTER, MA 02631‐1765                              P‐0024819 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROWE, JAMES M.
1615 STATE ROUTE 156
WATERLOO, IL 62298                                   P‐0024820 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNSTEIN, MITCHELL J.
3190 NORTH 34 STREET
HOLLYWOOD, FL 33021                                  P‐0024821 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASSARO‐TORGERSO, SUSAN
19 PARK LANE
WOODBRIDGE, CT 06525                                 P‐0024822 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNSTEIN, MITCHELL J.
3190 NORTH 34 STREET
HOLLYWOOD, FL 33021                                  P‐0024823 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASSAROTORGERSON, SUSAN
19 PARK LANE
WOODBRIDGE, CT 06525                                 P‐0024824 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUHAMMAD, MUSTAFA T.
8 BLACKWELL LANE
WILLINGBORO, NJ 08046                                P‐0024825 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
PFAENDER, APRIL A.
PFAENDER, WAYNE R.
19 LAWRENCE LANE
TORRINGTON, CT 06790                                P‐0024826 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHTON‐SAVAGE, AUDREY
31 NEW ROAD
NEWMARKET, NH 03857                                 P‐0024827 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOOD, JAMES C.
154 SHAW ST.
MANCESTER, NH 03104                                 P‐0024828 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, MONIQUE C.
1797 WALKER AVE
IRVINGTON, NJ 07111‐8026                            P‐0024829 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GULBEKIAN, GAIL L.
MCKISSACK, WILLIAM D.
3771 MCCOY ROAD
BLACKSBURG, VA 24060                                P‐0024830 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, LYNN P.
267 ASHTON LAKE COURT
SUGAR HILL, GA 30518                                P‐0024831 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNSTEIN, MITCHELL J.
3190 NORTH 34 STREET
HOLLYWOOD, FL 33021                                 P‐0024832 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASCARELLI, PETER
675 TYSENS LANE
APT 35
STATEN ISLAND, NY 10306                             P‐0024833 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, KATHLEEN L.
302 PERIMETER RD
MOUNT HOREB, WI 53572‐2317                          P‐0024834 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD SR., WILLIAM L.
3645 LESLIE ANN RD
VESTAVIA HILLS, AL 35243                            P‐0024835 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALSTON, MICHAEL J.
109 HADDINGTON DRIVE
COLUMBIA, SC 29229                                  P‐0024836 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOFIUS, GERRI L.
HOFIUS, PETER C.
8206 W WILLIAMS RD
PEORIA, AZ 85383                                    P‐0024837 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREELAND, JACKSON L.
169 SEVILLE DRIVE
MURRELLS INLET, SC 29576                            P‐0024838 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORING, DAVID E.
BORING, ELNORE J.
523 PARKVIEW LN
HANOVER, PA 17331                                   P‐0024839 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EISFELLER, DEBORAH L.
9577 N BLAINE DR
BYRON, IL 61010                                     P‐0024840 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RABAGO, HENRY
RABAGO, CAROLINA
24 CLARA BARTON LANE
GALVESTON, TX 77551                                 P‐0024841 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HAYES, JAMES G.
1941 SAINT ANDREWS DR
RED OAK, TX 75154‐5837                               P‐0024842 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHERWOOD, ROBERT L.
17845 6780 RD
MONTROSE, CO 81401                                   P‐0024843 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVID, AMY W.
DAVID, SCOTT C.
10750 FEATHERWALK WAY
HIGHLANDS RANCH, CO 80126‐5643                       P‐0024844 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGONIGLE, KEVIN M.
362 MANOR RIDGE DRIVE NW
ATLANTA, GA 30305                                    P‐0024845 11/6/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
MEHTA, SUREN B.
MEHTA, BHARATI S.
749 WOODRIDGE HEIGHTS CT
MANCHESTER, MO 63011                                 P‐0024846 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOJDA, ALFRED
15 WELCH DRIVE
ENFIELD, CT 06082                                    P‐0024847 11/6/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
SANDERS, LAWRENCE J.
SANDERS, DIANA S.
3765 STEPHANIE CT
ARWOLD, MO 63010‐3815                                P‐0024848 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRIED, DENNIS A.
680 TERNBERRY FOREST DRIVE
THE VILLAGES, FL 32162‐6446                          P‐0024849 11/6/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
RENFROW, TIMOTHY C.
MERCEDES BENZ FINANCIAL
7511 MILLER ROAD 2
HOUSTON, TX 77049                                    P‐0024850 11/6/2017      TK Holdings Inc., et al .                   $46,000.00                                                                                   $46,000.00
SAUER, DOROTHY J.
9501 PORT DRIVE
SAINT LOUIS, MO 63123‐6529                           P‐0024851 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIFFLET, MICHAEL D.
SHIFFLET, LORI E.
3033 S. HALIFAX STREET
AURORA, CO 80013                                     P‐0024852 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, TIFFANY M.
1362 HICKORY LANE
OSAGE BEACH
, MO 65065                                           P‐0024853 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOOKS, EDWARD L.
7840 E COLETTE ST
TUCSON, AZ 85710                                     P‐0024854 11/14/2017     TK Holdings Inc., et al .                     $593.00                                                                                       $593.00
MOCK, TERRY L.
BOX 1412
BETHANY, OK 73008‐1412                               P‐0024855 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABDULKARIM, RASHIDAH A.
306 NEPTUNE AVE
UNIT 2
JERSEY CITY, NJ 07305                                P‐0024856 11/14/2017     TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
TRUSCELLI, JOHN F.
2874 COUNTRYSIDE DRIVE
PLACEVILLE, CA 95667                                 P‐0024857 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
DANIELL, MARTIN H.
14681 SORREL RUN
BROOMFIELD, CO 80023                                P‐0024858 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANNAN, ROBERT C.
4224 GALWAY AVENUE
FORT WORTH, TX 76109                                P‐0024859 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUYT, LEENDERT
4822 OLD STUMP DR NW
GIG HARBOR, WA 98332                                P‐0024860 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEE, JOYCE A.
1178 CARTER RD.
MIDLAND, MI 48642                                   P‐0024861 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NETHERTON, LINDA G.
533 NAVAHO DR
APT 7
RADCLIFF, KY 40160                                  P‐0024862 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAPLAN, STEVEN P.
4 GOLDEN RD
SUFFERN, NY 10901‐3219                              P‐0024863 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANNEVILLE, GLORIA
6406 VINEYARD COURT
TAMPA, FL 33634                                     P‐0024864 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, SHAUN W.
2908 SNAPSWELL STREET
RALEIGH, NC 27614                                   P‐0024865 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLASCHKO, WILLIAM J.
BLASCHKO, MELODY M.
2130 12TH AVE
SAN FRANCISCO, CA 94116                             P‐0024866 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ODINET, CHRISTOPHER L.
ODINET, KATHERINE L.
830 E BAYOU PKWY
LAFAYETTE, LA 70508                                 P‐0024867 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRACY, GREGORY
209 BEACH 124 STREET
ROCKAWAY PARK, NY 11694                             P‐0024868 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALTER, ROBERT J.
BANUCHI, MARIA L.
468 WOODLAWN AVE
GLENCOE, IL 60022                                   P‐0024869 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLEMAN, DONNA R.
1032 S.ALFRED ST
LOS ANGELES, CA 90035                               P‐0024870 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, ALMEADER Y.
1554 STIRLING LAKES DR
PONTIAC, MI 48340                                   P‐0024871 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASON, CAROLINE A.
2208 SUMMIT POINTE WAY NE
ATLANTA, GA 30329                                   P‐0024872 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINS, WILLIAM M.
1402 INDIAN WELLS TRAIL
MIDLOTHIAN, TX 76065                                P‐0024873 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHUANG, JERRY
672 NORTH 9TH STREET
SAN JOSE, CA 95112                                  P‐0024874 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LINDBERG, DARELL D.
MORRIS, STACIE L.
367 PENNSYLVANIA
SAN FRANCISCO, CA 94107                              P‐0024875 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LENEAR, RICHARD D.
LENEAR, SUSAN M.
2108 E HALL ST
OLNEY, IL 62450                                      P‐0024876 11/14/2017     TK Holdings Inc., et al .                     $240.50                                                                                       $240.50
RODRIGUEZ, DENNIS L.
615 SPRINGHOUSE LANE
HUMMELSTOWN, PA 17036                                P‐0024877 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTEMAYOR, ERIC R.
MONTEMAYOR, AMY C.
P.O. BOX 723
BOVINA, TX 79009                                     P‐0024878 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLACE, MICHAEL J.
P. O. BOX 144
HOUSE #5
CHARLTON HEIGHTS, WV 25040                           P‐0024879 11/14/2017     TK Holdings Inc., et al .                  $138,777.66                                                                                  $138,777.66
IRWIN, ANDREW E.
116 KENSINGTON RD
GREENBSORO, NC 27403                                 P‐0024880 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVERETT, KEVIN
P.O. BOX 101
127 MCKINNIE LANE
DOUGLASSVILLE, TX 75560                              P‐0024881 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, ALMEADER Y.
1554 STIRLING LAKES DR
PONTIAC, MI 48340                                    P‐0024882 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMIREZ VEGAS, DIEGO E.
150 N BERKELEY AVE
UNIT B
FULLERTON, CA 92831                                  P‐0024883 11/14/2017     TK Holdings Inc., et al .                   $27,000.00                                                                                   $27,000.00
PETERS, KAREN R.
9 EARHART DRIVE
SUCCASUNNA, NJ 07876                                 P‐0024884 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, BEVERLY E.
P>O> BOX 97
BASSFIELD, MS                                        P‐0024885 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCALA, ANTHONY J.
14010 NE 91ST ST
VANCOUVER, WA 98682                                  P‐0024886 11/14/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
DAVID, SCOTT C.
DAVID, AMY W.
10750 FEATHERWALK WAY
HIGHLANDS RANCH, CO 80126‐5643                       P‐0024887 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIDGES, JENISE F.
2007 BEECHWOOD DRIVE
SOUTH CHARLESTON, WV 25303                           P‐0024888 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILVER, KATHLEEN W.
SILVER, JAMES A.
3030 WEISS LAKE BLVD
LEESBURG, AL 35983                                   P‐0024889 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, JEFFREY A.
7015 SOUTHBERRY HILL
CANFIELD, OH 44406                                   P‐0024890 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BURT, MARY M.
10510 ABBERLY VILLAGE LANE
#504
FREDERICKSBURG, VA 22407                              P‐0024891 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCSHERRY, SEAN T.
CLAUDET, COURTNE J.
24 COULTER AVE
PAWLING, NY 12564                                     P‐0024892 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LITTLE, CHERYL A.
2518 SILVER OAKS DR
CARMEL, IN 46032                                      P‐0024893 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORTE, AUDREY A.
2123 REMINGTON POINTE BLVD
KISSIMMEE, FL 34743                                   P‐0024894 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, TWILA M.
5861 VILLAGE FOREST COURT
HOUSTON, TX 77092‐2251                                P‐0024895 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELVIE, KEVIN
ALLY
9736 CONCORD PL
MOBILE, AL 36695                                      P‐0024896 11/6/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
WEYL, MAYA
12100 GLEN MILL ROAD
POTOMAC, MD 20854                                     P‐0024897 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSENBERG, ALAN S.
65 W MILLBROOKE AVE
WOODSTOWN, NJ 08098‐1036                              P‐0024898 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIGGINS, JANICE L.
306 PICKERING ST
MANCHESTER, NH 03104                                  P‐0024899 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASALI, DIANE L.
CASALI, MICHAEL V.
1804 86TH STREET
DARIEN, IL 60561                                      P‐0024900 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELVIE, KEVIN
9736 CONCORD PL
MOBILE, AL 36695                                      P‐0024901 11/6/2017      TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
STEWART, RONDALL K.
105 BROOKWOOD LN
WILMORE, KY 40390                                     P‐0024902 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OELLING, DAVID J.
1424 OLD STATE ROAD
PARK HILLS, KY 41011‐2753                             P‐0024903 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUDDENDORFF, CHRISTOPHER C.
116 FOREST POINT LANE
LONGWOOD, FL 32779                                    P‐0024904 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTUORI, ROBERT
145 VERSAILLES CIRCLE
NAPLES, FL 34112‐7144                                 P‐0024905 11/6/2017      TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
OELLING, DAVID J.
1424 OLD STATE ROAD
PARK HILLS, KY 41011‐2753                             P‐0024906 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLEY, DARLENE R.
12700 STAFFORD ROAD, APT. 117
STAFFORD, TX 77477                                    P‐0024907 11/6/2017      TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00


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                                                                                                                   Current General                                          Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin     Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount    Claim Amount
                                                                                                                       Amount                                                   Amount
MCDEVITT, JOYCE A.
MCDEVITT, JOHN P.
8875 LOCUST GROVE DRIVE
PORT TOBACCO, MD 20677                              P‐0024908 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                          $0.00
SEITZ, TIMOTHY
SEITZ, SUSAN A.
3671 MENOHER BLVD
JOHNSTOWN, PA 15905                                 P‐0024909 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                          $0.00
OELLING, DAVID J.
1424 OLD STATE ROAD
PARK HILLS, KY 41011‐2753                           P‐0024910 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                          $0.00
CASALI, DIANE L.
CASALI, MICHAEL V.
1804 86TH STREET
DARIEN, IL 60561                                    P‐0024911 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                          $0.00
MANNIS‐MUNDORFF, HELEN
40 LINCOLN LANE
RIDGEFIELD, CT 06877‐5920                           P‐0024912 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                          $0.00
KONTNIK, GWENDOLYN J.
P.O. BOX 280649
LAKEWOOD, CO 80228                                  P‐0024913 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                          $0.00
POETT, JOSEPH R.
POETT, CHRISTINE M.
7417 PARKWOOD DRIVE
SAINT LOUIS, MO 63116                               P‐0024914 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                          $0.00
PENNINGTON, LEE R.
PENNINGTON, MARY ANN
2313 HENSLOWE DRIVE
ROCKVILLE, MD 20854                                 P‐0024915 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                          $0.00
DUTTRY, DONALD G.
1210 MITCHELL DRIVE
MECHANICSBURG, PA 17050                             P‐0024916 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                          $0.00
KONTNIK, JOHN T.
KONTNIK & COMPANY
P.O. BOX 280649
LAKEWOOD, CO 80228                                  P‐0024917 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                          $0.00
MIZELLE, MARY F.
189 NAPA DR
MCDONOUGH, GA 30253                                 P‐0024918 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                          $0.00
CARTE, AMANDA K.
919 LAKEVIEW DR
ELKVIEW, WV 25071                                   P‐0024919 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                          $0.00
KNOTTS, JOCELYN N.
3204 MANCHACA RD #701
AUSTIN, TX 78704                                    P‐0024920 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                          $0.00
BOUTEILLER, MAUREEN L.
307 SOUTH BROOKSVALE ROAD
CHESHIRE, CT 06410                                  P‐0024921 11/6/2017      TK Holdings Inc., et al .             $1,000,000,000.00                                                                              $1,000,000,000.00
AMOROSE, DENNIS G.
AMOROSE, MARY ANN B.
518 CABOT DRIVE
HICKORY HILL
HOCKESSIN, DE 19707‐1137                            P‐0024922 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                          $0.00
MANNIS‐MUNDORFF, HELEN
40 LINCOLN LANE
RIDGEFIELD, CT 06877‐5920                           P‐0024923 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                          $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
KOELSCH, DAVID R.
12124 KINGSGATE DR
OKLAHOMA CITY, OK 73170                               P‐0024924 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURST, MARK S.
155 KEETH DRIVE
BANNER ELK, NC 28604                                  P‐0024925 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHEY, BYRON V.
1530 16TH ST NW
APT 104
WASHINGTON, DC 20036                                  P‐0024926 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHALEN, EARL J.
4850 PASATIEMPO DR
MONEE, IL 60449                                       P‐0024927 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOGEL, NATHAN J.
54744 WINDINGBROOK DR
MISHAWAKA, IN 46545                                   P‐0024928 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAYAK, CARL K.
1 HODGE ROAD
ARLINGTON, MA 02474                                   P‐0024929 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRAHAM, CHRISTOPHER A.
GRAHAM, DEBBIE A.
1420 E VINEYARD RD
HAYESVILLE, NC 28904                                  P‐0024930 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRONG, JANINE M.
STRONG, RICKEY P.
1646 RIVERBANK
LINCOLN PARK, MI 48146                                P‐0024931 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, RYAN J.
333 N. UNIVERSITY ST APT 5
REDLANDS, CA 92374                                    P‐0024932 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUTY, JENNIFER A.
210 CROSSING LANE
APT #C21
DOTHAN, AL 36303                                      P‐0024933 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STINE, ERIN
514 ANNESLIE RD
BALTIMORE, MD 21212                                   P‐0024934 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEMSLEY, DEBRA L.
1372 WHISPERING SPRINGS CIRCL
PALATINE, IL 60074                                    P‐0024935 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VARGO, TARYN M.
VARGO, GARY G.
107 WINDSOR DRIVE
IRWIN, PA 15642                                       P‐0024936 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, PAUL E.
BUTLER, CASSANDRA L.
513 ARBOR CREST RD
HOLLY SPRINGS, NC 27540                               P‐0024937 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELSER II, JOHN T.
2882 TOWNSHIP ROAD 198
P. O. BOX 640
BELLEFONTAINE, OH 43311                               P‐0024938 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINTZ, JONATHAN A.
7340 TIMBER TRAIL RD.
EVERGREEN, CO 80439                                   P‐0024939 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HURST, MOVITA S.
155 KEETH DR
BANNER ELK, NC 28604                                 P‐0024940 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEIXEIRA, SANDRA M.
128 PARKSIDE DRIVE
UNION, NJ 07083                                      P‐0024941 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORTILLO, GERALD
PORTILLO, JOSEPHINE
1204 LAWRENCE AVE
LAWRENCE, KS 66049                                   P‐0024942 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PERGOLA, JOSEPH T.
41 WOODCREST DRIVE
NEW PROVIDENCE, NJ 07974                             P‐0024943 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIBAR, GWEN H.
GWEN RIBAR
216 GENEVA AVE
HUNTINGTON BEACH, CA 92648                           P‐0024944 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLNER, FREDRICK L.
8 WOODLAND CT
TRENTON, NJ 08610‐2724                               P‐0024945 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHMIDT, MARKIE
NO ADDRESS PROVIDED
                                                     P‐0024946 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZABALA, VICTOR
5143 NE SCHOELER CIRCLE
HILLSBORO, OR 97124                                  P‐0024947 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOH TRIVEDI, MIRA
TRIVEDI, MARCUS
358 W SCOTT ST
CHICAGO, IL 60610                                    P‐0024948 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAY, LASHUN
3709 7TH STREET
NORTH BEACH, MD 20714                                P‐0024949 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RILEY, JOHN
33644 CARNATION AVENUE
MURRIETA, CA 92563                                   P‐0024950 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JHAVERI, VISHAL
JHAVERI, SHALVI
1508 PECOS DR
SOUTHLAKE, TX 76092                                  P‐0024951 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUCHESNEAU, RITA
C/O SUZANNE FRANCIS
15513 LINDEN ST
OVERLAND PARK, KS 66224                              P‐0024952 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAFAN, JOSEPH A.
141 STONE STREET
FORNEY, TX 75126                                     P‐0024953 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMPSON, MICHAEL A.
80 ATHENS STREET
RANCHO MIRAGE, CA 92270                              P‐0024954 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAY, LASHUN L.
3709 7TH STREET
NORTH BEACH, MD 20714                                P‐0024955 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DILL, OSCAR
3112 EWERT CUT LANE
CHARLOTTE, NC 28269                                  P‐0024956 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BERKOWITZ, JONATHAN A.
130 SONATA DRIVE
JUPITER, FL 33478                                    P‐0024957 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUENTES, REBECCA A.
FUENTES, RAMON
9 RICHMOND HILL
LAGUNA NIGUEL
ORANGE, CA 92677                                     P‐0024958 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROWLAND, MICHAEL S.
NO ADDRESS PROVIDED
                                                     P‐0024959 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OCRACOKE ISLAND TRADING CO
P.O. BOX 6
OCRACOKE, NC 27960                                   P‐0024960 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, BETTY J.
SMITH, BYRON H.
1204 W. TIMBERLINE DRIVE
EAGAR, AZ 85925                                      P‐0024961 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLAMBECK, CHRISTOPHER A.
29803 LEWIS RD
MILLSBORO, DE 19966                                  P‐0024962 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VINCENT, RONALD L.
2445 RUSSELL STREET
BERKELEY, CA 94705                                   P‐0024963 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MYLREA, BRENT M.
5627 OSBORN DRIVE
MCFARLAND, WI 53558                                  P‐0024964 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOWNEY, TODD
2 LYNDALE AVE.
NOTTINGHAM, MD 21236                                 P‐0024965 11/14/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
RUCHALSKI, JOSEPH S.
112 CHIMAERA LANE
SLIDELL, LA 70458                                    P‐0024966 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACASSE, TIFFANY M.
5011 24TH AVE
KENOSHA, WI 53140                                    P‐0024967 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOBS, MARK J.
POB 771
LAKESIDE, AZ 85929                                   P‐0024968 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VELOSO, VIRGINIA C.
1145 E PALMER AVE
GLENDALE, CA 91205                                   P‐0024969 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FALION, DAVID G.
310 FOUNTAINVIEW CIRCLE
OLDSMAR, FL 34677                                    P‐0024970 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TROMAN, LORI S.
1236 KENNETH DRIVE
BLOOMINGTON, IL 61704                                P‐0024971 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASQUEJO, RANDY J.
CASQUEJO, BRADEN M.
204 BENT OAK LANE
WOODSTOCK, GA 30189‐8120                             P‐0024972 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLANGELO, MICHAEL P.
44 ASHTON RD
STAMFORD, CT 06905‐1701                              P‐0024973 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CAPUTO, GIANFRANCO
5109 CAMPO ROAD
WOODLAND HILLA, CA 91364                             P‐0024974 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORTESE, CHRISTINA A.
31626 MEDINAH STREET
HAYWARD, CA 94544                                    P‐0024975 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEACE, MARY BETH
6505 GARDEN RD
MAUMEE, OH 43537                                     P‐0024976 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VELOSO, VIRGINIA C.
1145 E PALMER AVE
GLENDALE, CA 91205                                   P‐0024977 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERRIGAN, KENDALL L.
275 W. GORDON ST.
COAL CITY, IL 60416                                  P‐0024978 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PACE, HARLAN B.
HARLAN PACE
3215 SAN MARINO STREET APT 10
LOS ANGELES, CA 90006                                P‐0024979 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSCHEWSKI, MARTHA E.
6158 WEST 13400 SOUTH
HERRIMAN, UTAH 84096
                                                     P‐0024980 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BJORGE, JOHN F.
BJORGE, LINDA J.
1029 RIDGEWAY DRIVE
OAK HARBOR, WA 98277‐8430                            P‐0024981 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JARVIS, JOSEPH D.
JARVIS, TRACY L.
P.O. BOX 142
DAVENPORT CENTER, NY 13751‐0142                      P‐0024982 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA GARAY, CRUZ R.
5507 ALBIN DRIVE
GREENACRES, FL 33463                                 P‐0024983 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REINEHR, CHARLES
11707 SHOSHONE DR
AUSTIN, TX 78759                                     P‐0024984 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, KATIE R.
P O BOX 305
HAMPTON, VA 23669                                    P‐0024985 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUPONT, JILL E.
131B HILLIARD STREET
MANCHESTER, CT 06042                                 P‐0024986 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORTON, CECILIA E.
2993 HUBBARD RD
YOUNGSTOWN, OH 44505‐2343                            P‐0024987 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BODINE, CHRISTINE M.
1055 ADAMS CIRCLE
APARTMENT 902
BOULDER, CO 80303                                    P‐0024988 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, KIMBERLY
8335 WILDE LAKE ROAD
PENSACOLA, FL 32526                                  P‐0024989 11/6/2017      TK Holdings Inc., et al .                   $50,000.00                                                                                   $50,000.00
BEIER, DOUGLAS J.
7704 SEMINOLE AVE
MELROSE PARK, PA 19027                               P‐0024990 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CARITA, JOSEPH A.
179 WESTOVER DRIVE
DELRAN, NJ 08075                                    P‐0024991 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEATON, CATHERINE M.
26 DOCTORS HILL DRIVE
SCITUATE, MA 02066                                  P‐0024992 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLDEN, THOMAS J.
6932 CLARK RD
BLACKSHEAR, GA 31516                                P‐0024993 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAXE, STEVEN
SAXE, JOANNE
40 WINDWARD DRIVE
CORTE MADERA, CA 94925‐2035                         P‐0024994 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLDEN, THOMAS J.
6932 CLARK RD.
BLACKSHEAR, GA 31516                                P‐0024995 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITE, STEPHANIE V.
5250 E CHERRY CREEK SOUTH DR
APT 2G
DENVER, CO 80246‐2713                               P‐0024996 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KILBURN, JAMES E.
490 CHIEF CREEK ROAD
LAWRENCEBURG, TN 38464                              P‐0024997 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, TRENT
TRENT MORGAN CONSTRUCTION INC
P.O. BOX 300333
ESCONDIDO, CA 92030                                 P‐0024998 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANES, MARGARET V.
3676 RODGERS AVENUE
CHICO, CA 95928                                     P‐0024999 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLAAS, DONALD R.
KLAAS, M ROBIN
15586 CENTURY LAKE DR
CHESTERFIELD, MO 63017                              P‐0025000 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JANDRON, LYNDA J.
279 DE SOTO DR
LOS GATOS, CA 95032‐2401                            P‐0025001 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VELASQUEZ, JOHN
3124 OAKVIEW LN
CHINO HILLS, CA 91709                               P‐0025002 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRINEGAR, WILLIAM J.
BRINEGAR, KIMBERLY P.
1585 WEDGEWOOD WAY
UPLAND, CA 91786                                    P‐0025003 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENNIS, JERRY R.
16027 NORTH CHARPIOT LANE
HUMBLE, TX 77396                                    P‐0025004 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HICKLIN, III, OSMAN A.
HICKLIN, LESLIE W.
306 MOUNTAIN VIEW LANE
CLEMSON, SC 29631                                   P‐0025005 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STUSTER, JACK W.
STUSTER, JOAN M.
1516 MARQUARD TERRACE
SANTA BARBARA, CA 93101                             P‐0025006 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
KLAAS, DONALD R.
KLAAS, M ROBIN
15586 CENTURY LAKE DR
CHESTERFIELD, MO 63017                               P‐0025007 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURAN, DIANE B.
11841 FERINA STREET
NORWALK, CA 90650                                    P‐0025008 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARINGER, SHERYL A.
WILSON, LAUREL L.
SHERYL GARINGER
P.O. BOX 1106
PENNGROVE, CA 94951                                  P‐0025009 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRINEGAR, WILLIAM J.
BRINEGAR, KIMBERLY P.
1585 WEDGEWOOD WAY
UPLAND, CA 91786                                     P‐0025010 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HICKLIN, OSMAN A.
HICKLIN, LESLIE W.
306 MOUNTAIN VIEW LANE
CLEMSON, SC 29631                                    P‐0025011 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONDRA, JOHN A.
434 LONGSPUR RD
CLEVELAND, OH 44143‐3716                             P‐0025012 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OCKMAN, GREG P.
2756 FAIRFIELD DR
GRENTA, LA 70056                                     P‐0025013 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRY, CAITLIN J.
1019 WILLOW GLEN DR.
BETHEL PARK, PA 15102                                P‐0025014 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENNIS, JERRY R.
DENNIS, TONJA L.
16027 NORTH CHARPIOT LANE
HUMBLE,, TX 77396                                    P‐0025015 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, SHANNON D.
1114 BROCKLEY WAY
C8
BOWLING GREEN, KY 42103                              P‐0025016 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEAY, BARBARA J.
9613 ROUTTS HILL ROAD
WARRENTON, VA 20186                                  P‐0025017 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROPPER, JONATHAN
MAPLE ASSETS LLC
P.O. BOX 645
MARLTON, NJ 08053                                    P‐0025018 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DURAN, DIANE B.
11481 FERINA STREET
NORWALK, CA 90650                                    P‐0025019 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STONE, TIFFANY J.
504 RIVER BRICH RUN
SOLON, IA 52333                                      P‐0025020 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIOS, MARSRAT T.
1029 EDITH AVE, 219
ALHAMBRA, CA 91803                                   P‐0025021 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DABNEY, SIMONE
823 E. 53RD STREET
CHICAGO, IL 60615                                    P‐0025022 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
STANDIFUR, RUSSELL R.
125 BAILEY COLLINS DRIVE
SMYRNA, TN 37167                                       P‐0025023 11/14/2017     TK Holdings Inc., et al .                    $1,180.60                                                                                    $1,180.60
CHANDLER, MATTHEW D.
3116 CABO VILLANO DR.
SIERRA VISTA, AZ 85650                                 P‐0025024 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, HEIDI L.
3028 W VILLARD ST.
APT. D
BOZEMAN, MT 59718                                      P‐0025025 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAJARI, DARLA J.
NO ADDRESS PROVIDED
                                                       P‐0025026 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIEL, MARTHA M.
DANIEL, WADE J.
1210 DEER PARK RD
BONNERS FERRY, ID 83805                                P‐0025027 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBBARD, KYLE
7451 CLIFFROSE CV
GERMANTOWN, TN 38138                                   P‐0025028 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, ALYSON M.
190 BARDEN HILL ROAD
HILLSBOROUGH, NH 03244                                 P‐0025029 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMOS, ANNIBELLE F.
12770 ROYAL PALM LN
RIVERSIDE, CA 92503                                    P‐0025030 11/14/2017     TK Holdings Inc., et al .                    $5,246.00                                                                                    $5,246.00
ROWLAND, WILLIAM P.
P.O. BOX 558
SOUTH ROYALTON, VT 05068                               P‐0025031 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUIZAR, MONICA P.
P.O. BOX 212166
CHULA VISTA, CA 91921                                  P‐0025032 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETRELLI, MICHAEL
PETRELLI, KRISTEN
12533 EAST CORNELL CIRCLE
AURORA, CO 80014                                       P‐0025033 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORTADA, CARLOS F.
12110 S.W. 182 TERR
MIAMI, FL 33177                                        P‐0025034 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDRES, ROBERT
2650 WINDMILL LN
CLARKDALE, AZ 86324‐3828                               P‐0025035 11/14/2017     TK Holdings Inc., et al .                   $14,464.20                                                                                   $14,464.20
MANSOURIAN, VICKEN
4330 ELLENITA AVENUE
TARZANA, CA 91356                                      P‐0025036 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELKE, SHARI B.
55 LAKE STREET
BLOOMFIELD, NJ 07003                                   P‐0025037 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAROLAN, WILLIAM G.
4725 ALAMO AVE
CLARKSTON, MI 48348                                    P‐0025038 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEHR‐ANDRES, CHRISTINA
2650 WINDMILL LN
CLARKDALE, AZ 86324‐3828                               P‐0025039 11/14/2017     TK Holdings Inc., et al .                   $21,577.00                                                                                   $21,577.00



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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MONTUORI, ROBERT
145 VERSAILLES CIRCLE
NAPLES, FL 34112‐7144                                P‐0025040 11/6/2017      TK Holdings Inc., et al .                  $187,595.40                                                                                  $187,595.40
HATZENBUHLER, TED
18010 RED ROCK DR
MONUMENT, CO 80132                                   P‐0025041 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAVARRO, JOSE A.
7731 SW 68 TERR
MIAMI, FL 33143                                      P‐0025042 11/6/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
SINICK, KENNETH W.
SINICK, PATRICIA A.
5304 THAXTON PLACE
RALEIGH, NC 27612                                    P‐0025043 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAVARRO, JOSE A.
7731 S.W. 68 TERR
MIAMI, FL 33143‐2709                                 P‐0025044 11/6/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
MIZELLE, MARY F.
189 MAPA DR
MCDONOUGH, GA 30253                                  P‐0025045 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, H. JOHN
317 FOUNDRY ST
NEW MARTINSVILLE, WV 26155                           P‐0025046 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOUGLAS, MONICA D.
2144 CONNIE LN
OAKLEY, CA 94561                                     P‐0025047 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHROERING, RAENELL P.
7309 SHADOWOOD LN
CRESTWOOD, KY 40014‐9079                             P‐0025048 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SYPEK, JOSEPH F.
196 ROOT ROAD
WESTFIELD, MA 01085                                  P‐0025049 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, PHILIP B.
JOHNSON, JOAN T.
1591 W. BROOKE ST.
LEHI, UT 84043                                       P‐0025050 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARIANI, WARNER
522 ROCKLAND DRIVE
PITTSBURGH, PA 15239                                 P‐0025051 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAWAB, PARVIZ F.
100 NW 23 RD. AVE. #2408
OCALA, FL 34475                                      P‐0025052 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JENSEN, DARLENE S.
8822 CLIFTON WAY
MOKENA, IL 60448                                     P‐0025053 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIUNNO, MARY E.
33609 LAKESHORE BLVD
LAKELINE, OH 44095                                   P‐0025054 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWRENCE, BARBARA L.
3015 KREIGBAUM RD NW
UNIONTOWN, OH 44685                                  P‐0025055 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, FRANCES H.
1015 EMBASSY ROW WAY
JOHNS ISLAND, SC 29455                               P‐0025056 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
CUSTIS, KIM
4265 TAYLOR RD
P4
CHESAPEAKE, VA 23321                                  P‐0025057 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORDWALL, THOMAS R.
11750 ELKHART ST
BRIGHTON, CO 80603                                    P‐0025058 11/6/2017      TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
SCHAFFLER, ROBIN P.
85 HICKMAN STREET
SYOSSET, NY 11791‐1604                                P‐0025059 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLICKMAN, MERYL L.
GLICKMAN, MARK S.
1657 S SYRACUSE ST
DENVER, CO 80231                                      P‐0025060 11/6/2017      TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
KAHLER, RICHARD S.
20361 ROOKERY DRIVE
ESTERO, FL 33928‐3039                                 P‐0025061 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, BRETT C.
4140 27TH STREET NORTH
ARLINGTON, VA 22207                                   P‐0025062 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OELLING, JOSEPH
1424 OLD STATE ROAD
PARK HILLS, KY 41011‐2753                             P‐0025063 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AXTON, NEAL R.
DEER, SARAH E.
1625 OXFORD RD
LAWRENCE, KS 66044                                    P‐0025064 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRISCOE, GIAVONNA N.
3225 SCOTCH CREEK RD UNIT 104
COPPELL, TX 75019                                     P‐0025065 11/14/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
KYO, KATHLEEN L.
9 BIENVENU DRIVE
FOOTHILL RANCH, CA 92610                              P‐0025066 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AN, JANET
AN, EUGENE
355 S. MADISON AVENUE
UNIT 203
PASADENA, CA 91101                                    P‐0025067 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYNES, WILLIAM L.
170 HAMPSTEAD MANOR
FAYETTEVILLE, GA 30214                                P‐0025068 11/14/2017     TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
DUNN, WILLIAM B.
1807 CAROB TREE LN
EL CAJON, CA 92021                                    P‐0025069 11/14/2017     TK Holdings Inc., et al .                    $3,500.00                                                                                    $3,500.00
MCCOMBS, KATHLEEN M.
401 SE DELAWARE AVENUE
UNIT 308
ANKENY, IA 50021                                      P‐0025070 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BULMAN, JOHN G.
72 OLD FORGE RD
SCITUATE, MA 02066                                    P‐0025071 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WITTRIG, NICOLE D.
204 20TH AVE N
HOPKINS, MN 55343                                     P‐0025072 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
COOPER, DONNA R.
26 BREWSTER STREET
PROVINCETOWN, MA 02657                               P‐0025073 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUNDORFF, FREDERICK J.
MANNIS‐MUNDORFF, HELEN
40 LINCOLN LANE
RIDGEFIELD, CT 06877‐5920                            P‐0025074 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HESS, WILLIAM R.
1314 HILLCREST WAY
LAWRENCEVILLE, GA 30043                              P‐0025075 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, KENNETH
11035 W 54TH LN
ARVADA, CO 80002                                     P‐0025076 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAVAZOS, OLIVIA S.
2037 HORNE RD
CORPUS CHRISTI, TX 78416                             P‐0025077 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORREIA, JORDANA L.
25524 UNIVERSITY CT
HAYWARD, CA 94542                                    P‐0025078 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORWITZ, DANA E.
1289 CARDINAL DRIVE
PITTSBURGH, PA 15243                                 P‐0025079 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REED, CHARLES
P.O. BOX 466
MONTGOMERY, AL 36101                                 P‐0025080 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, KEVIN L.
1932 GLENWOOD DOWNS DRIVE
DECATUR 30035                                        P‐0025081 11/14/2017     TK Holdings Inc., et al .                   $23,000.00                                                                                   $23,000.00
LEONHARD, GREGORY F.
9416 CAVE SPRING DR
BRENTWOOD, TN 37027                                  P‐0025082 11/14/2017     TK Holdings Inc., et al .                    $6,120.00                                                                                    $6,120.00
HAWES, GREGG W.
1911 RUXTON ROAD
RUXTON, MD 21204                                     P‐0025083 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERRY, RICKY E.
1241 LAKE TATE ROAD
SYLACAUGA, AL 35151                                  P‐0025084 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PADDA, HARJOT S.
6379 WATERMAN AVENUE
ST. LOUIS, MO 63130                                  P‐0025085 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURTIS, GEORGE E.
738 MAQUAM SHORE RD.
SWANTON, VT 05488                                    P‐0025086 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON‐HARKNESS, KATHLEEN T.
JACKSON, KATHLEEN
1973 LOS FELIZ DR. #119
THOUSAND OAKS, CA 91362                              P‐0025087 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAFFERTY, RYAN
5655 CHELMSFORD CT
BURKE, VA 22015                                      P‐0025088 11/14/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
MONNIER, TIFFANY R.
3511 PARKWAY TERRACE DRIVE
APT 3
SUITLAND, MD 20746                                   P‐0025089 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
HELM, CAMERON C.
1808 CALLE DE LOS ALAMOS
SAN CLEMENTE, CA 92672                                P‐0025090 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALWEN, JENNA
12 PASCAL LN
AUSTIN, TX 78746                                      P‐0025091 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TETTING, REINHARDT K.
300 N. WARREN ST
WATERTOWN, WI 53094                                   P‐0025092 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KYO, KATHLEEN L.
9 BIENVENU DRIVE
FOOTHILL RANCH, CA 92610                              P‐0025093 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARRS, BARBARA J.
4029 LANGE RD
HOLIDAY, FL 34691                                     P‐0025094 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTIANSON, KAREN M.
17694 WARWICK CIRCLE
FOUNTAIN VALLEY, CA 92708                             P‐0025095 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAWES, GREGG W.
1911 RUXTON ROAD
RUXTON, MD 21204                                      P‐0025096 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAI, MARTIN A.
145‐11 29TH RD
FLUSHING, NY 11354                                    P‐0025097 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, LYNNE A.
8741 CREEKWOOD LN
SAN DIEGO, CA 92129                                   P‐0025098 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DITMER, JACQUELINE R.
836 KOHLER DR.
WASH C.H., OH 43160                                   P‐0025099 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGRUN, MARGARET A.
6123 S. JAGUAR DRIVE
FORT MOHAVE, AZ 86426                                 P‐0025100 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARKNESS, KATHLEEN T.
1973 LOS FELIZ DR. #119
THOUSAND OAKS, CA 91362                               P‐0025101 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JASON
P.O. BOX 335
HINSDALE, MT 59241                                    P‐0025102 11/14/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
QUAGLETTI, KAREN N.
511 VIA DEL MONTE
PALOS VERDES EST, CA 90274                            P‐0025103 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRANG, MANDEEP S
8374 CAPRICORN WAY APT 21
SAN DIEGO, CA 92126                                   P‐0025104 11/14/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
JONES, BRIAN J.
JONES, CYNTHIA L.
POBOX 406
VALLEY LEE, MD 20692                                  P‐0025105 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JASON
MILLER, PAIGE
P.O. BOX 335
HINSDALE, MT 59241                                    P‐0025106 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUESENBERRY, JANA M.
903 EAST 430 SOUTH
SALEM, UT 84653                                       P‐0025107 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
IRWIN, KEMP
6515 DAYLILLY COURT
NIWOT, CO 80503‐7157                                P‐0025108 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THROW, TIMOTHY S.
17955 65 AVE
TINLEY PARK, IL 60477                               P‐0025109 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, WALDO E.
JOHNSON, LINDA C.
3594 PRESTWICK COURT
ELGIN, IL 60124                                     P‐0025110 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHOI, JULIA
20271 SEALPOINT LN
UNIT 203
HUNTINGTON BEACH, CA 92646                          P‐0025111 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLOSE, GEORGIA D.
3 LA SIERRA LN
LOS LUNAS, NM 87031                                 P‐0025112 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LYNN, KEITH
NO ADDRESS PROVIDED
                                                    P‐0025113 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLAAS, DONALD R.
KLAAS, M R
15586 CENTURY LAKE DR
CHESTERFIELD, MO 63017                              P‐0025114 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIMMELHEBER, CAROL J.
2200 NW 68TH AVE
MARGATE, FL 33063                                   P‐0025115 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTTS, STEVE H.
2475 HWY 9
MORRILTON, AR 72110                                 P‐0025116 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAURSEN, DAVID
102 PARKWOOD DR
GREENVILLE, SC 29609                                P‐0025117 11/14/2017     TK Holdings Inc., et al .                     $787.27                                                                                       $787.27
BRENNER, JAMES V.
984 E WOOD HAVEN DRIVE
ALEXANDRIA, IN 46001                                P‐0025118 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLAAS, DONALD R.
KLAAS, M. R.
15586 CENTURY LAKE DR
CHESTERFIELD, MO 63017                              P‐0025119 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDMOND, PHYLLIS A.
SEIBERS, JAMES S.
1079 OLD SMITHVILLE HWY N
SPARTA, TN 38583                                    P‐0025120 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REAM, JOHN D.
2486 FRANCES DR.
LOVELAND, CO 80537                                  P‐0025121 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRE, AMADINA B.
164‐24 GRAND CENTRAL PKWAY
JAMAICA, NY 11432                                   P‐0025122 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLOYD, LYDIA B.
129 OAKLEY DR
COLUMBIA, SC 29223                                  P‐0025123 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZELLER, HANNAH L.
6222 DELOACHE AVE
DALLAS, TX 75225                                    P‐0025124 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GEHM, JOHN R.
1201 W 38TH ST
SIOUX FALLS, SD 57105                               P‐0025125 11/6/2017      TK Holdings Inc., et al .                    $4,625.00                                                                                    $4,625.00
TANG, YONG
912 OAKVIEW DRIVE
MACOMB, IL 61455                                    P‐0025126 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, FREDERICK B.
94 ST. JOHN'S WOOD AVE
HENDERSON, NV 89002                                 P‐0025127 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLASHER, RAYMOND L.
336 HANSELS LEA
SEVIERILLE, TN 37876                                P‐0025128 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUCHS JR, JOSEPH M.
FUCHS JOSEPH M JR TST
6201 LEONA ST
ST LOUIS, MO 63116‐2820                             P‐0025129 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOLLUZ, KYLE
VOLLUZ, CHITHRA
6514 STEFANI DRIVE
DALLAS, TX 75225                                    P‐0025130 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINKE, PAUL E.
34 INWOOD DRIVE
MILLTOWN, NJ 08850                                  P‐0025131 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LILES, THURSTON A.
815 COURT ST.
GATESVILLE, NC 27938‐9503                           P‐0025132 10/31/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
SMITH, BEVERLY J.
4620 N PARK AVE APT 405W
CHEVY CHASE, MD 20815‐4581                          P‐0025133 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENS, DENNIS M.
1 WILBUR TERRACE
APT. 5
NORTON, MA 02766                                    P‐0025134 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMS, KAREN J.
21620 CLYDE AVE
SAUK VILLAGE, IL 60411                              P‐0025135 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIKKELSEN, SHERALENE E.
MIKKELSEN, BENT O.
27495 2ND PL
JUNCTION CITY, OR 97448                             P‐0025136 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECILIO, PAUL F.
188 HOLLINGSWORTH AVE
BRAINTREE, MA 02184‐6218                            P‐0025137 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OGBURN, LUCY S.
70 WARREN ST
NEWTON, MA 02459                                    P‐0025138 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORTON, JAMES F.
2993 HUBBARD RD
YOUNGSTOWN, OH 44505‐2343                           P‐0025139 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANCIK, ROBERT D.
HANCIK, DEBORAH E.
24189 SAN LUCAS LANE
PUNTA GORDA, FL 33955                               P‐0025140 11/6/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00




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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
AUGUSTINY, PATRICIA D.
7200 N RIDGE BLVD
UNIT 4D
CHICAGO, IL 60645 2073                               P‐0025141 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAPPUCCILLI, MICHAEL J.
175 MILTON STREET
#19
MILTON, MA 02186                                     P‐0025142 11/6/2017      TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
KIRCHHOEFER, JOHN D.
AMERIFLIGHT MGMT SERVICES
11 S BROWN AVE
ORLANDO, FL 32801                                    P‐0025143 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRES, LUIS
LOACES, ANGELIN
2075 HOMER AVE
BRONX, NY 10473                                      P‐0025144 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCKLEY, SHARON L.
2125 LA PAZ CT
NAPLES, FL 34109                                     P‐0025145 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOIDA, KARA S.
WOIDA, TODD R.
KARA WOIDA
4720 S. FOREST AVE
NEW BERLIN, WI 53151                                 P‐0025146 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYDEN, NANCY J.
1 PUTTER PLACE
CAROLINA SHORES, NC 28467‐2572                       P‐0025147 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, TRACIE A.
1324 WOODS EDGE DR
NILES, MI 49120                                      P‐0025148 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARDENAS, RCIHARD R.
11442 CHARLESWORTH RD
SANTA FE SPRINGS, CA 90670                           P‐0025149 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARMISTEAD, RACHEL A.
11301 RENNER ROAD
WOODSBORO, MD 21798                                  P‐0025150 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMES, CHERYL
142 S. JOLIET CIR #301
AURORA, CO 80012                                     P‐0025151 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EGAN, TONI M.
JOSEPH
1026 MAPLE LANE
DAVIS, CA 95616                                      P‐0025152 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFE, STEPHEN D.
WOLFE, PATRICIA G.
3960 S. HIGUERA ST.
SPC 51A
SAN LUIS OBISPO, CA 93401                            P‐0025153 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARDENAS, RICHARD R.
11442 CHARLESWORTH RD
SANTA FE SPRINGS, CA 90670                           P‐0025154 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GHAZAROSIAN, EDWARD
GHAZAROSIAN, EDYTH
37724 CLARK CRT
PALMDALE, CA 93552                                   P‐0025155 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MCCORMICK, SHEILA
5022 QUAIL RIDGE DRIVE
PLAINSBORO, NJ 08536                                P‐0025156 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, MALISSA C.
18102 LIMETREE WAY
SANTA ANA, CA 92705                                 P‐0025157 11/14/2017     TK Holdings Inc., et al .                    $8,227.92                                                                                    $8,227.92
MURPHY, SHERI L.
3048 ROOT AVE
CARMICHAEL, CA 95608                                P‐0025158 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNASKI, TED
182 EAST 2200 SOUTH
KAYSVILLE, UT 84037                                 P‐0025159 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFE, KATHLEEN G.
WOLFE, LARRY L.
1698 FOREST ROAD
YORK, PA 17402                                      P‐0025160 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZELLER, VALERIE R.
ZELLER, RANDALL L.
6222 DELOACHE AVE
DALLAS, TX 75225                                    P‐0025161 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRERA, LISA B.
11442 CHARLESWORTH RD
SANTA FE SPRINGS, CA 90670                          P‐0025162 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRISTOL, SCOTT
27080 W WAHALLA LANE
BUCKEYE, AZ 85396                                   P‐0025163 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIPKIN, SARA N.
4618 MCNUTT COURT
NORFOLK, VA 23513                                   P‐0025164 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUBBON, STUART F.
6 COREY CREEK ROAD
TOLEDO, OH 43623                                    P‐0025165 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENTRIKEN, CHERYL V.
1228 SE GLADIOLA DR.
GRANTS PASS, OR 97526                               P‐0025166 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEKLOW, RONALD W.
JOHANNSEN, KARL R.
1409 LAGUNA STREET
SANTA BARBARA, CA 93101                             P‐0025167 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAYTON, JEFFREY A.
638 PEACH DR
ARNOLD, MO 63010                                    P‐0025168 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALENICH, NICHOLAS P.
13136 ASHNUT LANE
OAK HILL, VA 20171                                  P‐0025169 11/14/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
SARDINAS, DAVID R.
20202 IMPERIAL COVE LANE
HUNTINGTON BEACH, CA 92646                          P‐0025170 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STAEBLER, ALAIN C.
STAEBLER, MARTINE M.
501 HALLORAN SPRINGS ROAD
LAS VEGAS, NV 89148                                 P‐0025171 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KROHN, WILLIAM D.
1168 N. COOPER ROAD
NEW LENOX, IL 60451                                 P‐0025172 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MADDOX, VICKI L.
P.O. BOX 10351
TAMPA, FL 33679                                      P‐0025173 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROESENER, WILLIAM J.
ROESENER, JENNIFER L.
9623 160TH AVE
WEST OLIVE, MI 49460                                 P‐0025174 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHULL VOGEL, HOLLY
P.O. BOX 2316
VASHON, WA 98070                                     P‐0025175 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, KIMBERLY B.
1507 SHELLFORD LANE
ACCOKEEK, MD 20607                                   P‐0025176 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHAM, LINHUYEN
8921 RIVERWELL CIRCLE WEST
HOUSTON, TX                                          P‐0025177 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, BENJAMIN A.
P.O. BOX 2551
ORANGE, CA 92859                                     P‐0025178 11/14/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
ENTRIKEN, CHERYL V.
NO ADDRESS PROVIDED
                                                     P‐0025179 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FONTENOT, CLIFFORD L.
47191 BENDER RD
HAMMOND, LA 70401                                    P‐0025180 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMMASONE, MARILYN J.
1337 PAUL AVENUE
SCHENECTADY, NY 12306                                P‐0025181 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSTERMUELLER, SHANNON N.
CHESTER, JASON R.
515 OLD ORCHARD RD.
BALTIMORE, MD 21220                                  P‐0025182 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAVENDA, GERALD B.
P.O. BOX 994
FRISCO
, CO 80443                                           P‐0025183 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, VALERIE L.
1792 BENT TWIG LANE
SAINT LOUIS, MO 63138                                P‐0025184 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMMELL, LINDA L.
6404 S NEWPORT CT
CENTENNIAL, CO 80111                                 P‐0025185 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, LINH
8921 RIVERWELL CIRCLE WEST
HOUSTON, TX 77083                                    P‐0025186 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TNT CONTRACTING AND ERECTING,
100 WOODLAND COVE
MALVERN, AR 72104                                    P‐0025187 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOMMASONE, STEVEN A.
1337 PAUL AVENUE
SCHENECTADY, NY 12306                                P‐0025188 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOUFALIS, STEPHANIE
KOUFALIS, STEVEN
75 DEEMER RD
EASTON, PA 18042                                     P‐0025189 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
HAMMELL, LINDA L.
6404 S NEWPORT CT
CENTENNIAL, CO 80111                                  P‐0025190 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALINAS, JESSE J.
18326 MARLIN WATERS DRIVE
HUMBLE, TX 77346                                      P‐0025191 11/14/2017     TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
ALBAN, LEROY E.
ALBAN, ELSIE C.
212 DECOY DRIVE
HAVRE DE GRACE, MD 21078                              P‐0025192 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LITTLE, JERRY B.
3625 ROYAL TERN CIR
BOYNTON BEACH, FL                                     P‐0025193 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASILIO, ANTONIO A.
15 CENTER CT
LAGUNA NIGUEL, CA 92677                               P‐0025194 11/14/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
DAVIS, TERRY K.
12711 NEWPORT BLVD., STE. D
TUSTIN, CA 92780                                      P‐0025195 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, JAMES P.
822 PONTIAC ST
DENVER, CO 80220                                      P‐0025196 11/14/2017     TK Holdings Inc., et al .                    $2,850.00                                                                                    $2,850.00
EMMERT, GRACE E.
P.O. BOX 25583
FEDERAL WAY, WA 98093                                 P‐0025197 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHEN, JIWEN
2308 ELDGER DR
PLANO, TX 75025                                       P‐0025198 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABENABE, OMENA
11710 BRIAR FOREST DRIVE
APT 1414
HOUSTON, TX 77077                                     P‐0025199 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TILLISON, BENNIE L.
10302 ELLA LEE LANE
HOUSTON, TX 77042                                     P‐0025200 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICHOLS, SHENEQUA M.
2701 SAGEBRUSH CT
MARION, SC 29571                                      P‐0025201 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACBETH, NANCY I.
2884 ELK MEADOW DRIVE
EVERGREEN, CO 80439                                   P‐0025202 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIM'S ELECTRIC, INC.
13619 N. MAIN ST.
JACKSONVILLE, FL                                      P‐0025203 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WONG, RAYMOND
14049 97TH AVE NE
KIRKLAND, WA 98034                                    P‐0025204 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITCHELL, SANDRA K.
822 PONTIAC ST
DENVER, CO 80220‐4826                                 P‐0025205 11/14/2017     TK Holdings Inc., et al .                    $2,850.00                                                                                    $2,850.00
MORGAN, ANN L.
1901 MENDOCINO LANE
PORT ORANGE, FL 32128                                 P‐0025206 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DION, MELODY S.
4234 FLOYD DRIVE
CORONA, CA 92883                                      P‐0025207 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
RIVERA, DAGMA
HC 04 BOX 23535
LAJAS, PR 00667                                        P‐0025208 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIM'S ELECTRIC, INC.
13619 N. MAIN ST.
JACKSONVILLE, FL 32218                                 P‐0025209 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUEIROLO, MICHAEL L.
QUEIROLO, TERRI L.
                                                       P‐0025210 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, ROBERT G.
FISHER, HELEN M.
1072 N. LOPEZ AVENUE
EAGLE, ID 83616‐6512                                   P‐0025211 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARRYSHOW, TRESSA P.
306 HARVEST RUN
MCDONOUGH, GA 30252                                    P‐0025212 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLYK, JOSEPH J.
HOLYK, LISA M.
663 STONEWALL LANE
CLARKSVILLE, TN 37040                                  P‐0025213 11/7/2017      TK Holdings Inc., et al .                  $122,000.00                                                                                  $122,000.00
MAENZA, PATRICE A.
510 LAKEWOOD BLVD
PARK FOREST, IL 60466                                  P‐0025214 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANTON, MAUREEN P.
1336 FIVE ISLANDS ROAD
GEORGETOWN, ME 04548                                   P‐0025215 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURTON, MICHAEL W.
108 ADMIRAL PORTER DR.
SHREVEPORT, LA 71115                                   P‐0025216 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INGHAM, ALEXANDER V.
LAWSON, NADINE
319 TENNENT ROAD
MORGANVILLE, NJ 07751                                  P‐0025217 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, BOBBY J.
LEWIS, NEVA M.
704 SARAZEN DRIVE
GULFPORT, MS 39507‐2226                                P‐0025218 11/6/2017      TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
KEANE, PATRICK B.
520 POLARIS ST.
RENO, NV 89521                                         P‐0025219 11/6/2017      TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
THARP, CARL W.
204 SE PRINCETON PLACE
BLUE SPRINGS, MO 64014                                 P‐0025220 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUHN, SHIRLEY J.
KUHN, FRANK J.
8810 WALTHER BLVD #3419
PARKVILLE, MD 21234‐5777                               P‐0025221 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROYER, TAMI K.
1824 S QUINTERO WAY
AURORA, CO 80017                                       P‐0025222 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORTIZ, ALINA R.
8603 CHADWICK DR
TAMPA, FL 33635                                        P‐0025223 11/6/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
RAZZANO, ELAINE
P.O. BOX 263
LYNDONVILLE, VT 05851                                  P‐0025224 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FRITZ, JEAN E.
501 WHITE ST
P.O. BOX 64
SHIRLEY, IN 47384                                    P‐0025225 11/6/2017      TK Holdings Inc., et al .                    $1,858.00                                                                                    $1,858.00
HILTBRAND, RICKY A.
1039 SUGARBUSH LN
WACONIA, MN 55387                                    P‐0025226 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, ROBERT L.
WALKER, LIZA B.
2244 MOUNTAIN RIDGE ROAD
CHULA VISTA, CA 91914                                P‐0025227 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINOR, PAULA B.
4047 ATHENIAN WAY
LOS ANGELES, CA 90043                                P‐0025228 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEST, THERESA L.
70 BUENA VISTA AVE
SUISUN CITY, CA 94585                                P‐0025229 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENKE, CORNELIUS J.
102 INDEPENDENCE CT
MONROEVILLE, PA 15146‐4730                           P‐0025230 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALAN, CHARLES
P.O. BOX 165938
MIAMI, FL 33116                                      P‐0025231 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, CHARLES
CHARLIE ROGERS
2645 49TH AVE SW
SEATTLE, WA 98116                                    P‐0025232 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, LIBERTY S.
990 REDWOOD DRIVE
NORCROSS, GA 30093                                   P‐0025233 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLARK, JOANN J.
NO ADDRESS PROVIDED
                                                     P‐0025234 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, REBECCA H.
3877 TIMBER HOLLOW WAY
MARIETTA, GA 30062‐1262                              P‐0025235 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HESTON, JOSHUA P.
9630 10TH PL SE
LAKE STEVENS, WA 98258                               P‐0025236 11/14/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GALLAGHER, JOANNE E.
31 ORCHARD STREET
MILFORD, NH 03055                                    P‐0025237 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTUORI, ROBERT
145 VERSAILLES CIRCLE
NAPLES, FL 34112‐7144                                P‐0025238 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YAMANASHI, EDWIN L.
7555 EL CHACO DR
BUENA PARK, CA 90620‐1805                            P‐0025239 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURANY, JAMES V.
113 DELANIE WAY
NEW BERN, NC 28562                                   P‐0025240 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWTON, KIMBERLY A.
14622 LOS LUNAS RD
HELOTES, TX 78023                                    P‐0025241 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
MIRK, THOMAS D.
110 SOUTH HARRIS AVENUE
#105
WAUPUN, WI 53963                                       P‐0025242 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLACE, MARJORIE M.
3350 CAMILLO COURT
PLEASANTON, CA 94566                                   P‐0025243 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENZER, KEVIN R.
1903 HARRISON AVE.
BELOIT, WI 53511                                       P‐0025244 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERLINO, RYAN
4701 WARNER AVE
APT 211
HUNTINGTON BEACH, CA                                   P‐0025245 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICHOLSON, KALI H.
107 HIGHLAND ROAD
MOCKSVILLE, NC 27028                                   P‐0025246 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUTHCARE
2500 NE 54TH ST
SEATTLE, WA 98105                                      P‐0025247 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, LYNN J.
8585 SILVER MIST RUN
MILTON, DE 19968                                       P‐0025248 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PECK, DAVID A.
326 OAKBRANCH DR.
ENCINITAS, CA 92024                                    P‐0025249 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HASTY, DENNIS W.
620 MALLARD CREEK DR.
PHENIX CITY, AL 36870                                  P‐0025250 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, MELISSA D.
4279 PALM AVE. #50
LA MESA, CA 91941                                      P‐0025251 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURANY, JAMES V.
113 DELANIE WAY
NEW BERN, NC 28562                                     P‐0025252 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMILTON, SCOTT D.
HAMILTON, TINA K.
1507 MARIA ST.
FLINT, MI 48507‐5527                                   P‐0025253 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HASTY, DENNIS W.
620 MALLARD CREEK DR.
PHENIX CITY, AL 36870                                  P‐0025254 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, ROBIN R.
637 COATE COURT
ALTADENA, CA 91001                                     P‐0025255 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUI, ALBERT P.
809 SW KOLER AVENUE
PORT SAINT LUCIE, FL 34953                             P‐0025256 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MINOR, PAULA B.
4047 ATHENIAN WAY
LOS ANGELES, CA 90043                                  P‐0025257 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCIPIO, HUBERT W.
2112 LONDONDERY DRIVE
MANHATTAN, KS 66503                                    P‐0025258 11/14/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
KARP, ROBERT T.
101 CORTE DEL PRADO
WALNUT CREEK, CA 94598                             P‐0025259 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIAO, JENNIFER
1821 S BASCOM AVE #174
CAMPBELL, CA 95008                                 P‐0025260 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORMAN, APRIL L.
GORMAN, TIMOTHY J.
128 WOODWARD COURT
FRONT ROYAL, VA 22630                              P‐0025261 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENHAPL, HAROLD H.
1752 TANAGER WAY
LONG GROVE, IL 60047                               P‐0025262 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFIN, PEGGY
CARMAX
43655 BRANDON THOMAS WAY
LANCASTER, CA 93536                                P‐0025263 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOMMER, STEVEN F.
3 LANDSDOWNE DR
NEWNAN, GA 30265                                   P‐0025264 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, NINA M.
P.O. BOX 91
ZEPHYRHILLS, FL 33539                              P‐0025265 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALES, ANTONIO
GONZALES, PATRICIA A.
7407 SUNSCAPE WAY
SAN ANTONIO, TX 78250                              P‐0025266 11/6/2017      TK Holdings Inc., et al .                   $41,314.00                                                                                   $41,314.00
WOIDA, TODD R.
WOIDA, KARA S.
TODD WOIDA
4720 S. FOREST AVE
NEW BERLIN, WI 53151                               P‐0025267 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOTZER, SANDRA L.
4792 INNSBRUCK DR
ROCKFORD, IL 61114                                 P‐0025268 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRIHFIELD, TERRY W.
CRIHFIELD, RHODA M.
2019 NORTH 14TH ST
POPLAR BLUFF, MO 63901                             P‐0025269 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARRYSHOW, TRESSA P.
306 HARVEST RUN
MCDONOUGH, GA 30252                                P‐0025270 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TUNG, MINGKUEI E.
1520 HIGH SCHOOL DR
SAINT LOUIS, MO 63144                              P‐0025271 11/6/2017      TK Holdings Inc., et al .                    $4,500.00                                                                                    $4,500.00
SPEARS, VICKI M.
505 E. TOWNSEND ST.
DUNN, NC 28334                                     P‐0025272 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STENERSON, CYNTHIA
10680 SW 151ST PLACE
DUNNELLON, FL 34432                                P‐0025273 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIPTON PARKER, LOIS
414 GREERNWOOD DR
WILMINGTON, DE 19808                               P‐0025274 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
WILLIAMS, DAVID H.
WILLIAMS, BETTY D.
254 HARDING PLACE
NASHVILLE, TN 37205                                   P‐0025275 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENNEDY, KATHLEEN M.
10922 W CORONADO CRT
FRANKLIN, W 53132                                     P‐0025276 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEILSON, MARLIN B.
NEILSON, CHRISTINE Y.
4738 WEST 3720 SOUTH
WEST VALLEY CITY, UT 84120‐7801                       P‐0025277 11/6/2017      TK Holdings Inc., et al .                     $150.00                                                                                       $150.00
NOVOSEL, ELAINE K.
1051 EMERALD DUNES DRIVE
SUN CITY CENTER, FL 33573                             P‐0025278 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUCHS JR., JOSEPH M.
FUCHS JR. TST, JOSEPH M.
6201 LEONA ST.
ST. LOUIS, MO 63116‐2820                              P‐0025279 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANE, JIM
311 JEFFERSON AVE
APT 2C
URBANA, OH 43078                                      P‐0025280 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OBRIEN, CHRISTINE A.
97 BEECHWOOD RD
HALIFAX, MA 02338                                     P‐0025281 11/6/2017      TK Holdings Inc., et al .                    $5,689.00                                                                                    $5,689.00
REDDITT, CHRISTIAN G.
1423 MILLBROOK CIRCLE
BRADENTON, FL 34212                                   P‐0025282 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, BRUCE
MOORE, JOLANTA G.
13901 KRISTI MAY WAY
NOKESVILLE, VA 20181‐3055                             P‐0025283 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOWNSEND, CEDRIC D.
7047 WILLOW POINT DRIVE
HORN LAKE, MS 38637                                   P‐0025284 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEMESH, ELY E.
SHEMESH, KARY L.
11360 E TROON MOUNTAIN DR
SCOTTSDALE, AZ 85255‐8217                             P‐0025285 11/14/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
PEARSON, CATHY
PEARSON, CATHY E.
24815 NORMANDIE AVE
#64
HARBOR CITY, CA 90710‐2128                            P‐0025286 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARASH, CAROL E.
BARASH, MARK D.
317 LAMARTINE STREET
JAMAICA PLAIN, MA 02130                               P‐0025287 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, LISA
20050 UPPER VALLEY
EUCLID, OH 44117                                      P‐0025288 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INIGUEZ, ANTHONY
323 S. MERIDIAN AVE.
ALHAMBRA, CA 91801                                    P‐0025289 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
TOWNSEND, CEDRIC D.
7047 WILLOW POINT DRIVE
HORN LAKE, MS 38637                                   P‐0025290 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECKMAN, KEVIN
14170 NORWICH CIRCLE
MAGALIA, CA 95954                                     P‐0025291 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORRIS, ELSIE M.
9646 RAMONA STREET
BELLFLOWER, CA 90706                                  P‐0025292 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JEAN, TAMMY L.
27 TOMLIN RD
NEWINGTON, CT 06111                                   P‐0025293 11/7/2017      TK Holdings Inc., et al .                     $138.39                                                                                       $138.39
HURST, MASON A.
93 OAKVIEW DR
DALLAS, GA 30157                                      P‐0025294 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHILLIPS, JOHNNY
7330 LAUREL CREEK CT
SPRINGFIELD, VA 22150                                 P‐0025295 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIDD STAMPS, JOYIKA D.
1109 MULE DEER DR
ARLINGTON, TX 76002                                   P‐0025296 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKOLFIELD, BRYCE
SZOSTAK, SUZANNE
1237 GUERRERO ST
SAN FRANCISCO, CA 94110                               P‐0025297 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUANG, NING KAI
4705 EVA PLACE
PLANO, TX 75093                                       P‐0025298 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GELTZ, RICHARD
6332 CAMPBELL BLVD.
LOCKPORT, NY 14094                                    P‐0025299 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, JOSEPH F.
2451 W LEVEL AVE
ANAHEIM, CA 92804                                     P‐0025300 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURDETT, WILLIAM R.
BURDETT, MAVIS L.
1924 AUTUMN RIDGE CIRCLE
SILVER SPRING, MD 20906‐5826                          P‐0025301 11/14/2017     TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
SUSSKIND, HARRY B.
BOX 145027
CORAL GABLES, FL 33114                                P‐0025302 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREGORY, LORI L.
4695 MEADOWLAND BLVD
COLORADO SPRINGS, CO 80918                            P‐0025303 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANSEN, MELISSA J.
13294 WEST STANTON RD
TRUFANT, MI 49347                                     P‐0025304 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUTIETTA, SALVATORE
3022 W. TAMAR RD
DESERT HILLS, AZ 85086                                P‐0025305 11/14/2017     TK Holdings Inc., et al .                    $4,960.00                                                                                    $4,960.00
LITVINOVICH, IGOR
6201 EUBANK BLVD NE
UNIT C
ALBUQUERQUE, NM 87111                                 P‐0025306 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MACDONALD, ROBERT L.
5210 WELLINGTON DRIVE
MCHENRY, IL 60050                                     P‐0025307 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADY, YVETTE
2345 HUTCHISON ROAD
FLOSSMOOR, IL 60422                                   P‐0025308 11/14/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HUANG, POUKAI
38 W LE ROY AVE
ARCADIA, CA 91007                                     P‐0025309 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEL VALLE, EFREN F.
26525 CAMBRIDGE DR.
KENT, WA 98032                                        P‐0025310 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENO, KENZIE E.
16190 LOWELL ST
APT 310
SOUTHGATE, MI 48195                                   P‐0025311 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAVANNA, WYNNE S.
5 MOHICAN AVE.
NORTHBOROUGH, MA 01532                                P‐0025312 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITACRE, XENIA D.
310 RHODE HALL RD
JAMESBURG, NJ 08831                                   P‐0025313 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRELL, ROBERT D.
KRELL, CHRISTINA N.
125 GARDENIA LN
MENA, AR 71953                                        P‐0025314 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVERT, JAMIE L.
P.O. BOX 126
LIMEPORT, PA 18060                                    P‐0025315 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENO, KENZIE E.
16190 LOWELL ST
APT 310
SOUTHGATE, MI 48195                                   P‐0025316 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUBENSKY, LINDA M.
1031 LINDEN AVE
FAIRFIELD, CA 94533                                   P‐0025317 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLNER, BERNICE T.
9633 HASTINGS DR
COLUMBIA, MD 21046                                    P‐0025318 11/14/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
WIDZOWSKI, BETH
2385 NW EXECUTIVE CTR. DR.
SUITE 100
BOCA RATON, FL 33431                                  P‐0025319 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, JULIA D.
4277 FOREST DEVILLE DR
CONDOC
ST LOUIS, MO 63129                                    P‐0025320 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACDONALD, ROBERT L.
5210 WELLINGTON DRIVE
MCHENRY, IL 60050                                     P‐0025321 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIVERA, LEILA J.
1000 S SEMORAN BLVD #409
WINTER PARK, FL 32792                                 P‐0025322 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUBENSKY, LINDA M.
1031 LINDEN AVE
FAIRFIELD, CA 94533                                   P‐0025323 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
COX, BEN B.
101 CANVASBACK CT
MONTROSS, VA 22510                                    P‐0025324 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUDSON, CODY L.
HUDSON, KAREN C.
7712 JEFFERSON ROAD
MAGNA, UT 84044                                       P‐0025325 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFE, ROBERT T.
3443 ALYSSUM CIR
EL DORADO HILLS, CA 95762                             P‐0025326 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ODIORNE, ANTHONY C.
308 RIVER DOWN RD
GEORGETOWN, TX 78628                                  P‐0025327 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OLSON, MARIA N.
11041 SANTA MONICA BLVD.
#416
LOS ANGELES, CA 90025                                 P‐0025328 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAN, SARINEY
4707 CROOKED CREEK CT
SAN DIEGO, CA 92113                                   P‐0025329 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAYES, CYNTHIA E.
P.O. BOX 382
SAGLE, ID 83864                                       P‐0025330 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LASKI, JAMES E.
23225 S. HIDDEN LAKE TRAIL
CRETE, FL 60417‐1795                                  P‐0025331 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOLLUZ, KYLE
VOLLUZ, CHITHRA
6514 STEFANI DRIVE
DALLAS, TX 75225                                      P‐0025332 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMBARUCH, BETH E.
19406 STONEGATE DR.
PRIOR LAKE, MN 55372                                  P‐0025333 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORLANDO, THOMAS P.
P.O. BOX 442
PLAINFIELD, IL 60544‐0442                             P‐0025334 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOOTS, PAUL K.
9048 SARGENT RD
FOWLERVILLE, MI 48836                                 P‐0025335 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEMPS, YANG S.
P.O. BOX 322
COLONIAL HEIGHTS, VA 23834‐0322                       P‐0025336 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OEHRING, JUDITH K.
305 SOUTH OLIVE ST
CALHOUN, MO 65323                                     P‐0025337 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, ANN H.
740 PRESERVE TRAIL
CHAPEL HILL, NC 27517                                 P‐0025338 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICHOLSON, STAN
7 PEAK CT
HERCULES, CA 94547                                    P‐0025339 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NELSON, TOM
NELSON, PAMELA D.
6353 W. 85TH STREET
LOS ANGELES
, CA 90045                                            P‐0025340 11/14/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
FRAUSTO, SAUL D.
3812 N BENNINGTON AVE
KANSAS CITY, MO 64117                                  P‐0025341 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOWIE, DAVID A.
BOWIE'S CLIMATE CONTROL
410A HAMILTON AVE.
WAYNESBORO, PA 17268                                   P‐0025342 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PULLEN, KIMBERLY T.
107 BAYBERRY RUN
SUMMERVILLE, SC 29485                                  P‐0025343 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOBSON, JILL C.
1621 DIAMOND LOOP
BELLINGHAM, WA 98226                                   P‐0025344 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILENSKY, IAN M.
71 CHESTNUT TER
BUFFALO GROVE, IL 60089                                P‐0025345 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERNANDEZ, MICHAEL K.
1650 SW NORMAN LN
PORT SAINT LUCIE, FL 34984/3610                        P‐0025346 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TEMPEL, LUANA V.
SANDOVAL, MARTIN L.
26781 SOTELO
26781 SOTELO
MISSION VIEJO, CA 92692                                P‐0025347 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANDRA, AJOY
110 CIRCLE DR
SANTA FE, NM 87501                                     P‐0025348 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPMAN, RANDALL D.
963 E MADERA ESTATES LN
SAHUARITA, AZ 85629‐7915                               P‐0025349 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANE, MICHAEL B.
106 THORNDIKE ST
APT 1
CAMBRIDGE, MA 02141                                    P‐0025350 11/14/2017     TK Holdings Inc., et al .                     $982.00                                                                                       $982.00
NELSON, EDWARD L.
NELSON, ANN R.
299 SCHOOL HOUSE LN
WOODSTOCK, VA 22664                                    P‐0025351 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, ALAN
DUNN‐MORRIS, AUGUSTA
ALAN MORRIS
160 WEST END AVE NEW
NEW YORK, NY 10023                                     P‐0025352 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, HAROLD B.
2470 WINDY HILL ROAD, STE 165
MARIETTA, GA 30067                                     P‐0025353 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERNANDEZ, MICHAEL K.
1650 SW NORMAN LN
PORT SAINT LUCIE, FL 34984/3610                        P‐0025354 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMEZ, DIANA A.
P.O. BOX 4714
PASCO, WA 99301                                        P‐0025355 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, HAROLD B.
2470 WINDY HILL ROAD, STE 165
MARIETTA, GA 30067                                     P‐0025356 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
MILLS, HEATHER
MILLS, NATHAN
2010 NW ASPEN AVE
APT. A
PORTLAND, OR 97210                                  P‐0025357 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, JOSHUA A.
12045 KESWICK ST.
APT. 404
NORTH HOLLYWOOD, CA 91605                           P‐0025358 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTHY, CAITLYN J.
2225 XENE LANE N
PLYMOUTH, MN 55447                                  P‐0025359 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COCHRAN, ALICE
NO ADDRESS PROVIDED
                                                    P‐0025360 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ATHAN, BRENT R.
2249 WESTBOURNE DR
OVIEDO, FL 32765                                    P‐0025361 11/14/2017     TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
MCCARTHY, KEVIN J.
2225 XENE LANE N
PLYMOUTH, MN 55447                                  P‐0025362 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ATHAN, BRENT R.
2249 WESTBOURNE DR
OVIEDO, FL 32765                                    P‐0025363 11/14/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
CATRUCH, RICHARD A.
299 FULLER RD.
HERMON, ME 04401                                    P‐0025364 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANNI, PAUL R.
2397 PUU MALA PLACE
KIHEI, HI 96753                                     P‐0025365 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPMAN, RANDALL D.
963 E MADERA ESTATES LN
SAHUARITA, AZ 85629‐7915                            P‐0025366 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORTON, P. A.
805 PUENTE DR
SANTA BARBARA, CA 93110                             P‐0025367 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTILLO, MIGUEL A.
11624 GLENWORTH ST.
SANTA FE SPRINGS, CA 90670                          P‐0025368 11/14/2017     TK Holdings Inc., et al .                    $4,500.00                                                                                    $4,500.00
ALBERS, MARY G.
1641 ARBOR DR.
REDLANDS, CA 92373                                  P‐0025369 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLYK, JOSEPH J.
HOLYK, LISA M.
663 STONEWALL LANE
CLARKSVILLE, TN 37040                               P‐0025370 11/7/2017      TK Holdings Inc., et al .                  $122,000.00                                                                                  $122,000.00
BARRON, MARTHA A.
19162 ROMAN WAY
MONTGOMERY VILLA, MD 20886                          P‐0025371 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MICHAEL T.
2 WESTMOUNT CT.
GREENSBORO, NC 27410                                P‐0025372 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, MEGAN E.
213 WEST WALNUT STREET
SOUTHGATE, KY 41071                                 P‐0025373 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
JOHNS, RICHARD B.
6915 N. HARDESTY AVE.
KANSAS CITY, MO 64119‐5417                           P‐0025374 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JERALD L.
15131 59TH PL W
EDMONDS, WA 98026                                    P‐0025375 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HODGES, SOPHIA B.
1401 CALHOUN BND.
AZLE, TX 76020                                       P‐0025376 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHANDLER, EDNA J.
3780 ELLISTON RD
MEMPHIS, TN 38111                                    P‐0025377 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STABILE, DENISE
18 WASHINGTON AVE.
ELMWOOD PARK, NJ 07407‐1629                          P‐0025378 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRAUSMAN, PAMELA G.
40576 REHSE DRIVE
CLINTON TOWNSHIP, MI 48038                           P‐0025379 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAUTHIER, RYAN E.
GAUTHIER, SARA E.
2247 S SOUTHEAST BLVD #3
SPOKANE, WA 99203                                    P‐0025380 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LORD, PRESTON A.
2826 NW 94TH ST
SEATTLE, WA 98117                                    P‐0025381 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARISON II, WAYNE A.
LARISON, LORI L.
14862 S. SUMMIT ST.
OLATHE, KS 66062                                     P‐0025382 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HULETT, MARK W.
14720 MCINTOSH LN SE
TENINO, WA 98589                                     P‐0025383 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUSTIN, RENEE
113 WINDHAM RD
DERRY, NH 03038                                      P‐0025384 11/14/2017     TK Holdings Inc., et al .                     $350.00                                                                                       $350.00
HERNANDEZ, ERNESTO B.
10822 VICTORY BLVD
APT 22
NORTH HOLLYWOOD, CA 91606                            P‐0025385 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARMANY, JANICE R.
114 EUCLID AVE
GENEVA, IL 60134                                     P‐0025386 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
URENA, MARTA
MARISCAL, SANTIAGO
647 W 41ST PL
LOS ANGELES, CA 90037                                P‐0025387 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRIFFITH, BENJAMIN E.
P.O BOX 2248
OXFORD, MS 38655                                     P‐0025388 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GATES, TRAVIS S.
2961 EMERALD CHASE DRIVE
OAK HILL, VA 20171                                   P‐0025389 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAUGHN, JENNIFER L.
VAUGHN, III, WADE O.
4189 E SEASONS CIR
GILBERT, AZ 85297                                    P‐0025390 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
RICHARDS, LACHLAN M.
RICHARDS, SUSAN J.
P.O. BOX 1953
NEVADA CITY, CA 95959                                 P‐0025391 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSTON, KURT M.
375 S ETON ST
UNIT 405
BIRMINGHAM, MI 48009                                  P‐0025392 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDING, MARY C.
HARDING, RACHELLE M.
4118 S 300 E
ANDERSON, IN 46017‐9546                               P‐0025393 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUDSON, TRACI R.
P.O. BOX 8477
ALTA LOMA, CA 91701                                   P‐0025394 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, KATHERINE M.
112 W 34TH ST
NORFOLK, VA 23504                                     P‐0025395 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KARP, ROBERT T.
101 CORTE DEL PRADO
WALNUT CREEK, CA 94598                                P‐0025396 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARMANY, JANICE R.
114 EUCLID AVE
GENEVA, IL 60134                                      P‐0025397 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HULETT, MARK W.
14720 MCINTOSH LN SE
TENINO, WA 98589                                      P‐0025398 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZINGG, SUZANNE A.
1301 S 13TH ST.
COSHOCTON, OH 43812                                   P‐0025399 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARMANY, JANICE R.
114 EUCLID AVE
GENEVA, IL 60134                                      P‐0025400 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARLI, JENNIFER A.
6705 ASPEN LN
APT 1
WESTMONT, IL 60559                                    P‐0025401 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GETTYS, ROBERT N.
16262 NW 1ST ST.
PEMBROKE PINES, FL 33028                              P‐0025402 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WURM, HEIDI M.
WURM, MARTIN
91‐2041 KAIOLI ST., #2301
EWA BEACH, HI 96706                                   P‐0025403 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANKLIN, KYMISHA
13003 EVENING CREEK DR S
UNIT 6
SAN DIEGO, CA 92128                                   P‐0025404 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORMES, DOROTHY
1045 TERRA AVE.
ASHLAND, OR 97520                                     P‐0025405 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NICHOLAS, JOHN C.
13434 BROKEN BRANCH CT
CHANTILLY, VA 201515                                  P‐0025406 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BUTLER, JOHN C.
175 WESTON PLACE
SHENANDOAH, PA 17976                                  P‐0025407 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VINCK, LUIS A.
VINCK, ELLEN M.
29240 PASEO CARMONA
SAN JUAN CAPO, CA 92675                               P‐0025408 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORNBY, TIMOTHY P.
113 OLD AVERY DR
CANTON, GA 30115                                      P‐0025409 11/14/2017     TK Holdings Inc., et al .                    $5,011.00                                                                                    $5,011.00
AMONKAR, MAYUR
101 CARSON DRIVE
NORTH WALES, PA 19454                                 P‐0025410 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LORD, PRESTON A.
BERARDI‐LORD, ANN M.
2826 NW 94TH ST
SEATTLE, WA 98117                                     P‐0025411 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HECHT, BETHANY
340 SIERRA VISTA DR.
APTOS, CA 95003                                       P‐0025412 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIMAURO, ANITA W.
2014 UALAKAA ST
HONOLULU, HI 96822                                    P‐0025413 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, RICHARD G.
EVANS, JENNIFER A.
1882 E. 144TH DR.
THORNTON, CO 80602                                    P‐0025414 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAN, LIN
11 SUMMIT GREEN CT.
COCKEYSVILLE, MD 21030                                P‐0025415 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LICHTENFELD, EILEEN M.
125 ASHLEIGH TERRACE
MARIETTA, GA 30062                                    P‐0025416 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LORD, PRESTON A.
BERARDI‐LORD, ANN M.
2826 NW 94TH ST
SEATTLE, WA 98117                                     P‐0025417 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STONE, JASON L.
10713 SHADYFORD LANE
GLEN ALLEN, VA 23060                                  P‐0025418 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUDDS, SHARON M.
7186 SURREYWOOD WAY
SACRAMENTO, CA 95823                                  P‐0025419 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HESTER, JOHN W.
1202 WAUKEGAN ROAD
APARTMENT 401
GLENVIEW, IL 60025                                    P‐0025420 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENKE, DONNA R.
102 INDEPENDENCE CT
MONROEVILLE, PA 15146                                 P‐0025421 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLDS, ADOLPHUS
2612 CARSON WAY
ANTIOCH, CA 94531                                     P‐0025422 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRYAN, WILLIAM
586 MEDALLION WAY
TALLAHASSEE, FL 32317                                 P‐0025423 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LORD, PRESTON A.
BERARDI‐LORD, ANN M.
2826 NW 94TH ST
SEATTLE, WA 98117                                    P‐0025424 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENKE, DONNA R.
102 INDEPENDENCE CT
MONROEVILLE, PA 15146                                P‐0025425 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEISTMAN, GREGG C.
303 DORAL DRIVE
BLACKWOOD, NJ 08012                                  P‐0025426 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAYKIN, PAUL M.
DAYKIN, ROXANA
18302 FAIRWAY OAKS SQ
LEESBURG, VA 20176                                   P‐0025427 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALES RABENA, JESSICA N.
1217 CRYSTAL WAY
MADERA, CA 93637                                     P‐0025428 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTER, LINDSEY N.
HUNTER, WILLIAM J.
1705A WINDING WAY
WHITE HOUSE, TN 37188                                P‐0025429 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JERALD L.
JOHNSON, DEBORAH H.
15131 59TH PL W
EDMONDS, WA 98026                                    P‐0025430 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHALLIS‐WIESEMAN, RUTH ANN
1105 ARBOR CIR
LINDENHURST, IL 60046                                P‐0025431 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDREWS, RIA KRISTIE L.
ANDREWS, BRIAN J.
6482 JIMILYN ST.
SIMI VALLEY, CA 93063                                P‐0025432 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDREWS, BRIAN J.
6482 JIMILYN ST.
SIMI VALLEY, CA 93063                                P‐0025433 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRZOZOWSKI, EILEEN
3 LONESOME PINE TRAIL
WILTON, NY 12831                                     P‐0025434 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MADISON, JAMES M.
26185 NOVAK AVE
LINDSTROM, MN 55045                                  P‐0025435 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMES, ZACHARY M.
5 KILLDEER LANE
CODY, WY 82414                                       P‐0025436 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILBORN, SUSAN K.
14124 EBY STREET
OVERLAND PARK, KS 66221                              P‐0025437 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, DANIEL S.
12121 S SUMMIT STREET
OLATHE, KS 66062                                     P‐0025438 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCORD, HEIDI A.
111 LOWER TURTLE CREEK RD
KERRVILLE, TX 78028                                  P‐0025439 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMES, ZACHARY M.
5 KILLDEER LANE
CODY, WY                                             P‐0025440 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
STEWART, DANIEL S.
12121 S SUMMIT STREET
OLATHE, KS 66062                                       P‐0025441 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAJZATH, ELLEN J.
14476 TRAMORE DR
APT 2
CHESTERFIELD, MO 63017                                 P‐0025442 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEINTRAUB, BARBARA A.
18991 CROYDEN TERRACE
IRVINE, CA 92603                                       P‐0025443 11/14/2017     TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
MAYER, JEFF S.
130 GANN WAY
NOVATO, CA 94949                                       P‐0025444 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAULFIELD, GARY S.
3350 SEA TURTLE DR
DAYTON, OH 45414‐1738                                  P‐0025445 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERNARDINO, LUZ
1741 PORTOLA AVE
STOCKTON, CA 95209                                     P‐0025446 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCORD, HEIDI A.
MCCORD, BILLY J.
111 LOWER TURTLE CREEK RD
KERRVILLE, TX 78028                                    P‐0025447 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VARNELL, CHRISTOPHER W.
625 CEDAR SPRINGS DR.
JACKSON, MS 39212                                      P‐0025448 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONEILL, MICHAEL P.
46‐178 YACHT CLUB ST
KANEOHE, HI 96744                                      P‐0025449 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPASOV, DESSIE J.
8112 224TH ST SW
EDMONDS, WA 98026                                      P‐0025450 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERRIOS, LORI M.
999 E. VALLEY BLVD. UNIT 42
ALHAMBRA, CA 91801                                     P‐0025451 11/14/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
HILLEY, TRAVIS J.
HILLEY, ALISSA J.
608 ROSEWAY DR.
KLAMATH FALLS, OR 97601                                P‐0025452 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAPP, ROBERT E.
SMITH, SHARI G.
FRONIUS
505 N WILLOW STREET
ELLENSBURG, WA 98926                                   P‐0025453 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEST, GUY W.
WEST, TERRY L.
P.O. BOX 101
AVERY, CA 95224                                        P‐0025454 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIONNE, CHRISTOPHER L.
P.O. BOX 2842
APPLE VALLEY, CA 92307                                 P‐0025455 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILHITE, RALPH D.
1505 BROWNING RD.
ORANGE, TX 77630                                       P‐0025456 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SARGENT, ALYSIA
4207 S. CALUMET
CHICAGO, IL 60653                                   P‐0025457 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NG, MARY W.
81‐49 COMMONWEALTH BLVD
BELLEROSE, NY 11426                                 P‐0025458 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECKER, RYAN M.
29 CUVIER ST
SAN FRANCISCO, CA 94112                             P‐0025459 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHELPS, CHRISTOPHER
11005 HARVEST DANCE WAY
SAN DIEGO, CA 92127                                 P‐0025460 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CABRERA, EVANGELINE
CABRERA, EVANGELINE V.
500 EAGLERIDGE COURT
ANTIOCH, CA 94509                                   P‐0025461 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOHTA, SIDDHARTH
15913 JEFFS LN
AUSTIN, TX 78717                                    P‐0025462 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHELPS, SHERI
PHELPS, CHRISTOPHER
11005 HARVEST DANCE WAY
SAN DIEGO, CA 92127                                 P‐0025463 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOHTA, SIDDHARTH
15913 JEFFS LN
AUSTIN, TX 78717                                    P‐0025464 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOHTA, SIDDHARTH
15913 JEFFS LN
AUSTIN, TX 78717                                    P‐0025465 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOPPER, JR., CHARLES R.
HOPPER, CYNTHIA A.
10961 VALLDEMOSA LANE
SAN DIEGO, CA 92124‐3021                            P‐0025466 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTANEDA, ALBERT
1251 RIDGEHAVEN DR.
LA HABRA, CA 90631                                  P‐0025467 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELGADO, FRANCINE J.
DELGADO, ARTHUR J.
13594 OAK MESA DRIVE
YUCAIPA, CA 92399                                   P‐0025468 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOHTA, SIDDHARTH
15913 JEFFS LN
AUSTIN, TX 78717                                    P‐0025469 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANCOCK, DAVID J.
6254 BOSTON STATE ROAD
HAMBURG, NY                                         P‐0025470 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEN, LASHAUNA N.
175 CIMARRON CT
APT.A
OSHKOSH, WI 54902                                   P‐0025471 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TANAKA, JUNKO
5540 SYLMAR AVE., APT. 1
SHERMAN OAKS, CA 91401                              P‐0025472 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERBOLD, JR, GEORGE J.
2837 MABLE COUCH WAY
KNOXVILLE, TN 37931                                 P‐0025473 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BRZOZOWSKI, EILEEN
3 LONESOME PINE TRAIL
WILTON, NY 12831                                     P‐0025474 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, JILL L.
2908 FOXBORO CT.
BAKERSFIELD, CA 93309                                P‐0025475 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEASE, JENNIFER A.
LYN, JULIE A.
P.O. BOX 142
CANDLER, FL 32111‐0142                               P‐0025476 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEWART, SARAH R.
STEWART, JOHN E.
2022 27TH ST SE
APT 307
ST CLOUD, MN 56304                                   P‐0025477 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELDEN, RONALD B.
19038 CLYMER STREET
PORTER RANCH, CA 91326                               P‐0025478 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMMONS, EDRICE
2021 WASHINGTON AVE.
WILMETTE, IL 60091                                   P‐0025479 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMMONS, EDRICE
2021 WASHINGTON AVE.
WILMETTE, IL 60091                                   P‐0025480 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WINTERS, IAN K.
1801 FAIRVIEW ST
BERKELEY, CA 94703                                   P‐0025481 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, GINO S.
2345 JUNGLE ST
LAKELAND, FL 33801                                   P‐0025482 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRUEGER, JEANETTE
249 S HICKORY ST
GLENWOOD, IL 60425                                   P‐0025483 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEJO, CARLOS L.
P.O. BOX 7906
PATERSON, NJ 07509                                   P‐0025484 11/15/2017     TK Holdings Inc., et al .                    $5,500.00                                                                                    $5,500.00
PENG, JIN MEI
625 30TH ST.
RICHMOND, CA 94804                                   P‐0025485 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, TRONG V.
3320 COLUMBIA ST
SAN DIEGO, CA 92103                                  P‐0025486 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAUS, DONALD
CLAUS, JENNY
18761 DELTA CT
LATHROP, CA 95330                                    P‐0025487 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, TRONG V.
3320 COLUMBIA ST
SAN DIEGO, CA 92103                                  P‐0025488 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANG, KAREN C.
7729 COLLEGE TOWN DRIVE
APT. #17
SACRAMENTO, CA 95826‐2306                            P‐0025489 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEIFI, MOHAMMAD
22391 SUNBROOK
MISSION VIEJO, CA 92692                              P‐0025490 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
JONES JR, JEFFREY W.
176 TAHOE ST
PERRIS, CA 92571                                    P‐0025491 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERGANINI, STEVEN J.
BERGANINI, BEVERLY J.
111 COUNTRY CLUB DRIVE
CALIMESA, CA 92320                                  P‐0025492 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAH, DHWANIT J.
11944 BLACK MOUNTAIN ROAD
UNIT#35
SAN DIEGO, CA 92129                                 P‐0025493 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PACE, GARY A.
25180 TECLA AVENUE
WARREN, MI 48089                                    P‐0025494 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PACE, GARY A.
25180 TECLA AVENUE
WARREN, MI 48089                                    P‐0025495 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDRADE, JACOB
ANDRADE, KRISTINE E.
2059 STRATFORD AVE
SOUTH PASADENA, CA 91030                            P‐0025496 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TSUKAMOTO, JEAN H.
1448 YOUNG ST. #507
HONOLULU, HI 96814                                  P‐0025497 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENDI, ISH
19815 VIA MONITA
YORBA LINDA, CA 92887                               P‐0025498 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HYDRICK, CORRIE A.
8721 SANTA MONICA BLVD
STE 328
WEST HOLLYWOOD, CA 90069                            P‐0025499 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENDI, ISH
19815 VIA MONITA
YORBA LINDA, CA 92887                               P‐0025500 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EYLER, GREGORY S.
28433 CHAMPIONSHIP DR.
MORENO VALLEY, CA 92555                             P‐0025501 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUSBY, JULIA A.
107 WOODSMOKE WAY
FOLSOM, CA 95630                                    P‐0025502 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEDEON, ALEXANDER R.
4424 CLINTON ST.
APT 4
LOS ANGELES, CA 90004                               P‐0025503 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALENTIN, ANTHONY M.
1550 RYCROFT ST. #420
HONOLULU, HI 96814                                  P‐0025504 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRUSBY, MARK J.
MCCLERNON GENERAL ENGINEERING
2941 SUNRISE BLVD
SUITE 105
RANCHO CORDOVA, CA 95742                            P‐0025505 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANSFIELD, TERRY E.
125 ESPLANADE PLACE
CHESAPEAKE, VA 23320                                P‐0025506 11/15/2017     TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SPOTTS, KATHLEEN A.
1415 LAFAYETTE PARKWAY
WILLIAMSPORT, PA 17701                               P‐0025507 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLORIAN, MICHAEL C.
FLORIAN, ANNE F.
232 GROVE CIRCLE
SELLERSVILLE, PA 18960                               P‐0025508 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GINES, NEREIDA
PMB 111 1B CALLE ESTACION
VEGA ALTA, PR 00692                                  P‐0025509 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELLO, SARALYNN D.
27 SQUIRE LIBBY ROAD
BUXTON, ME 04093                                     P‐0025510 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KONDAM, SAMPATH
5035 BENDING SKY WAY
ELLICOTT CITY, MD 21043                              P‐0025511 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, GREGORY A.
15811 MISSION TERRACE COURT
HOUSTON, TX 77083‐5267                               P‐0025512 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERSON, KATHY M.
9803 OCHILTREE DRIVE
AUSTIN, TX 78753                                     P‐0025513 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERSON, KATHY M.
9803 OCHILTREE DRIVE
AUSTIN, TX 78753                                     P‐0025514 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRATT, INGA H.
PRATT, ROBERT A.
428 CHILDERS ST PMB 11012
PENSACOLA, FL 32534                                  P‐0025515 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERSON, KATHY M.
9803 OCHILTREE DRIVE
AUSTIN, TX 78753                                     P‐0025516 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS JR., ELMO W.
DAVIS, CYNTHIA K.
3538 KENWOOD AVENUE
MEMPHIS, TN 38122                                    P‐0025517 11/7/2017      TK Holdings Inc., et al .                  $500,000.00                                                                                  $500,000.00
DIBERARDINIS, DOMINIC J.
DIBERARDINIS, DOLORES S.
273 HIGHLAND AVENUE
DOWNINGTOWN, PA 19335                                P‐0025518 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'NEIL, JENNIFER R.
14 BRIDGET CIRCLE
COHOES, NY 12047                                     P‐0025519 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OTTERNESS, WILLIAM
10404 OAKLAND AVENUE
KANSAS CITY, MO 64134                                P‐0025520 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLOOD, ELIZABETH J.
34 LAGOON BLVD
MASSAPEQUA 11758                                     P‐0025521 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CICHY, MOLLY K.
420 ELM ST
MANISTEE, MI 49660                                   P‐0025522 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARTIGAN, DAVID
HARTIGAN, DAVID
1633 DENNISTON ST
PGH, PA 15217                                        P‐0025523 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CLARY‐EICHACKER, GWENDOLYN M.
7304 CAYMAN DR
FAYETTEVILLE, NC 28306                              P‐0025524 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEELITZ, ERIC
6 TURTLE HOLLOW DR
MANALAPAN, NJ 07726                                 P‐0025525 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBLES LINARES, RAUL A.
4202 MARKHMAN STREET
APT 2
ANNANDALE, VA 22003                                 P‐0025526 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECLERCQ, PAUL T.
DECLERCQ, TERRIE L.
405 WOODBERRY DRIVE
CHESAPEAKE, VA 23322‐5741                           P‐0025527 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROYSTER, JOSEPH
704 E. SCRANTON AVE.
LAKE BLUFF, IL 60044                                P‐0025528 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUONI, KYM
42622 NATIONS STREET
SOUTH RIDING, VA 20152                              P‐0025529 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIMBROUGH, CATHY
805 MOUNTAINVIEW DRIVE
GARDENDALE, AL 35071                                P‐0025530 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIX, JOSETTE S.
RIX, LAURENCE S.
3832 WINDTREE DRIVE
SIGNAL MOUNTAIN, TN 37377                           P‐0025531 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWMAN, LORNA A.
46 COREY COLONIAL
AGAWAM, MA 01001                                    P‐0025532 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STCLAIR, MIKE
P.O. BOX 4133
PARKERSBURG, WV 26104                               P‐0025533 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLGATE, SCOTT R.
HUNTLEY, LISA J.
5889 THREE OAKS AVE
MAPLE PLAIN,, MN 55359                              P‐0025534 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRON III, MICHAEL
HARRON, BRIDGET
POBOX 314
19 BLUEBERRY LANE SOUTH
GREEN CREEK, NJ 08219                               P‐0025535 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, MICHAEL T.
2 WESTMOUNT CT
GREENSBORO, NC 27410                                P‐0025536 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANIELS, SUSAN E.
500 W BENDER RD #85
GLENDALE, WI 53217                                  P‐0025537 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIX, LAURENCE S.
RIX, CYNTHIA L.
3832 WINDTREE DRIVE
SIGNAL MOUNTAIN, TN 37377                           P‐0025538 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOFFMAN, IRA S.
3930 WEST ASH LANE
ORANGE VILLAGE, OH 44122                            P‐0025539 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
SLUSS, KIMBERLY L.
50 WILLARD AVE
SEEKONK, MA 02771                                   P‐0025540 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGAN, GEORGE R.
4531 SW LA PALOMA DR.
PALM CITY, FL 34990                                 P‐0025541 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERNIER, MAURICE A.
240 MERRIMAC TRAIL APT C
WILLIAMSBURG, VA 23185‐4612                         P‐0025542 11/6/2017      TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
TUOHY, JOHN P.
808 PARK PLACE DRIVE
MENDOTA HEIGHTS, MN 55118‐2743                      P‐0025543 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KORSAKOV, TIMUR
5572 HOBBLE CREEK
LAS VEGAS, NV 89120                                 P‐0025544 11/7/2017      TK Holdings Inc., et al .                  $180,000.00                                                                                  $180,000.00
OKRANT, ELI
22 CROYDON DR
BLOOMFIELD, CT 06002‐3446                           P‐0025545 11/6/2017      TK Holdings Inc., et al .                     $513.00                                                                                       $513.00
RIX, LAURENCE S.
3832 WINDTREE DRIVE
SIGNAL MOUNTAIN, TN 37377                           P‐0025546 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIX, JOSETTE S.
3832 WINDTREE DRIVE
SIGNAL MOUNTAIN, TN 37377                           P‐0025547 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARBORTH, EMIL B.
6005 FM 78
SAN ANTONIO, TX 78244‐1010                          P‐0025548 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIX, LAURENCE S.
3832 WINDTREE DRIVE
SIGNAL MOUNTAIN, TN 37377                           P‐0025549 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIWINSKI, JANICE G.
1723 SHERMAN DRIVE
UTICA, NY 13501                                     P‐0025550 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, PAUL G.
ADAMS, MYRNA A.
5529 NW EISENHOWER DR
LAWTON, OK 73505                                    P‐0025551 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LISCHICK, MATTHEW P.
LISCHICK, CAITLIN M.
13 CENTER ROAD
OLD GREENWICH, CT 06870                             P‐0025552 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARROW, EUGENIE D.
2234 COHEN STREET
SAVANNAH, GA 31410                                  P‐0025553 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RISMONDO, NICOLE
RISMONDO, TIMOTHY
8 SOUTHSIDE AVE
DALLAS, PA 18612                                    P‐0025554 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHINGTON, ANGELA W.
232 FREEDOM DR.
APT A
BELLEVILLE, IL 62226                                P‐0025555 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARROW, EUGENIE D.
2234 COHEN STREET
SAVANNAH, GA 31410                                  P‐0025556 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RICH, STEVEN D.
272 PORTLAND RD
ATLANTIC HIGHLAN, NJ 07716                           P‐0025557 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEMP, KEVIN
3513 SANDHURST DRIVE
FLOWER MOUND, TX 75022                               P‐0025558 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILANI, RAMIN
12806 ASHFORD CREEK DRIVE
HOUSTON, TX 77082                                    P‐0025559 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZHAO, LONG
133 WELLINGTON CT.
MANALAPAN, NJ 07726                                  P‐0025560 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEMP, KEVIN
3513 SANDHURST DRIVE
FLOWER MOUND, TX 75022                               P‐0025561 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICH, LESLEY H.
272 PORTLAND RD
ATLANTIC HIGHLAN, NJ 07716                           P‐0025562 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, HOWARD W.
4069 BRAESWOOD DRIVE APT 11
HUNTSVILLE, AL 35802                                 P‐0025563 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANACORE, PATRICIA
46491 CAPELWOOD CT
STERLING, VA 20165                                   P‐0025564 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRKPATRICK, LELYN J.
6020 OAK MONT CT
KERNERSVILLE, NC 27284                               P‐0025565 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOSTER, JAMES
9444 BAGLEY DRIVE
ST.LOUIS, MO 63136                                   P‐0025566 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRABTREE, ANTHONY J.
502A LITTLE SOLIDA RD
SOUTH POINT, OH 45680                                P‐0025567 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANKS, STELLA
8201 WEST BELLFORT ST
APT 1248
HOUSTON, TX 77071‐2235                               P‐0025568 11/6/2017      TK Holdings Inc., et al .                   $11,500.00                                                                                   $11,500.00
SPARBERG, EVE G.
950 N. MICHIGAN AVENUE
APT 4903
CHICAGO, IL 60611                                    P‐0025569 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRD, JR., HOUSTON
241 N. 10TH STREET
NEWARK, OH 43055                                     P‐0025570 10/27/2017     TK Holdings Inc., et al .                   $19,671.35                                                                                   $19,671.35
KING III, SAMUEL L.
4533 BOB JONES DR
VA BEACH, VA 23462                                   P‐0025571 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, TOMMY R.
HALL, SHERRI D.
1102 DOUBLE L ROAD
WHITE HALL, AR 71602                                 P‐0025572 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPPEX, JORGE R.
3272 HAWKS NEST DR
KISSMMEE, FL 34741                                   P‐0025573 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
JEFFERY, JEROME M.
10990 E PRADERA VISTA DR
PRESCOTT VALLEY, AZ 86315 4479                       P‐0025574 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIX, LAURENCE S.
3832 WINDTREE DRIVE
SIGNAL MOUNTAIN, TN 37377‐1269                       P‐0025575 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOFFHAN, IRA S.
3930 WEST ASH LANE
ORANGE VILLAGE, OH 44122                             P‐0025576 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, TRACEY L.
1358 BARKER DR E
MOBILE, AL 36608                                     P‐0025577 11/6/2017      TK Holdings Inc., et al .                   $11,000.00                                                                                   $11,000.00
ADOLPHUS, EDWARD S.
1718 N 29TH STREET
PHILADELPHIA, PA 19121                               P‐0025578 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADOLPHUS, EDWARD S.
1718 N. 29TH STREET
PHILADELPHIA, PA 19121                               P‐0025579 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADOLPHUS, EDWARD S.
1718 N 29TH STREET
PHILADELPHIA, PA 19121                               P‐0025580 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADOLPHUS, EDWARD S.
1718 N 29TH STREET
PHILADELPHIA, PA 19121                               P‐0025581 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, YVETTE
8418 SOUTH SANGAMON STREET
N/A
CHICAGO, IL 60620                                    P‐0025582 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMMONS, GLORIA
2112 E. CONVERSE
SPRINGFIELD, IL 62702                                P‐0025583 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, SUSIE A.
20020 NW 32ND AVE
MIAMI GARDENS, FL 33056                              P‐0025584 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MITNICK, JAMES I.
101 RAWLINS RUN RD
PITTSBURGH, PA 15238                                 P‐0025585 11/7/2017      TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
MITNICK, JAMES L.
101 RAWLINS RUN RD
PITTSBURGH, PA 15238                                 P‐0025586 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, CLAUDIA M.
2046 TAMARACK RIDGE CT
BEAVERCREEK, OH 45431                                P‐0025587 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, BRAD
WILSON, NEFFIE
9616 N. LAUREL AVE
KANSAS CITY, MO 64157                                P‐0025588 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NUZZO, VICTORIA
NUZZO, RICHARD
3109 N. 77TH AVENUE
ELMWOOD PARK, IL 60707 1112                          P‐0025589 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOTTINVILLE, PATRICK J.
17 HANSON DR
BOURBONNAIS, IL 60914                                P‐0025590 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
ALLISON, CAROL L.
917 HALLWOOD LN
MONTGOMERY, AL 36117                                 P‐0025591 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHWERDT, LISA M.
5337 CALIFORNIA AVE
BETHEL PARK, PA 15102                                P‐0025592 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBOUR, HARRY W.
P.O BOX 3376
LAKE HAVASU CITY, AZ 86405                           P‐0025593 11/7/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
LOUX, DIANNE M.
1250 S EMELIA ST
WICHITA, KS 67209‐1102                               P‐0025594 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBOUR, HARRY W.
P.O. BOX 3376
LAKE HAVASU CITY, AZ 86405                           P‐0025595 11/7/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
LAWRENCE, CAROLYN L.
520 IVEY DRIVE
SANDERSVILLE, GA 31082                               P‐0025596 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NUZZO, VICTORIA
NUZZO, RICHARD
3109 N 77TH AVENUE
ELMWOOD PARK, IL 60707 1112                          P‐0025597 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ULLMAN, JUDITH C.
10207 PERKINS DRIVE
IRVING, TX 75063                                     P‐0025598 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOVALL, NOLA M.
6350 TIMBERLAND DR
DIMONDALE, MI 48821                                  P‐0025599 11/7/2017      TK Holdings Inc., et al .                  $250,000.00                                                                                  $250,000.00
TAYLOR, LEE R.
324 WENTWOOD DR
CEDAR HILL, TX 75104‐2944                            P‐0025600 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEUTSCH, SOLOMON N.
2324 SAINT DENIS LN FL3
HAVERTOWN, PA 19083                                  P‐0025601 11/7/2017      TK Holdings Inc., et al .                    $4,018.00                                                                                    $4,018.00
MULLEN, DESMOND S.
82 ENDOR DR
CHAPEL HILL, NC 27516                                P‐0025602 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZEPKE, JENNIFER L.
14309 HENDERSON RD
OTISVILLE, MI 48463                                  P‐0025603 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFENBARGER, LARRY N.
WOLFENBARGER, SUSAN J.
2037 E RENO ST
BROKEN ARROW, OK 74012                               P‐0025604 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KITTS, STEPHEN T.
TRAVIS KITTS
5618 N BROADWAY SUITE 103
KNOXVILLE, TN 37918                                  P‐0025605 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORLEY, DANIEL T.
267 PLUM RUN
LE SUEUR, MN 56058                                   P‐0025606 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMBERT, MAURICE G.
1921 BLUEBIRD AVENUE
FORTH WORTH, TX 76111                                P‐0025607 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TOLER, WILLIAM G.
TOLER, CINDY D.
106 BRIGHTON CT
COLUMBIA, TN 38401                                   P‐0025608 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MIESCH, GARY D.
MIESCH, KAREN K.
15397 LINCOLN LAKE AVE. NE
GOWEN, MI 49326                                      P‐0025610 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VISCOMI, ANTHONY J.
2519 RAINER RD
CHESTER SPRINGS, PA 19425                            P‐0025611 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLERO FERRER, JOSE J.
1407 PARKVIEW LN
DAVERPORT, IA 52807                                  P‐0025612 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSHALL, JUNE
MARSHALL, SONJA L.
8046 S ALBANY
CHICAGO, IL 60652                                    P‐0025613 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIULIANO, ROBERT J.
14 FIELDSTONE DRIVE
S. GLASTONBURY, CT 06073                             P‐0025614 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIGGS, DEBORAH S.
3380 SUMMIT HILLS DR
QUINTON, VA 23141                                    P‐0025615 11/7/2017      TK Holdings Inc., et al .                   $15,900.00                                                                                   $15,900.00
FARABAUGH, PATRICK G.
401 HAMILL ROAD
INDIANA, PA 15701‐1465                               P‐0025616 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAGGART, DEBORAH A.
431 JUPITOR LAKES BLVD
#2103D
JUPITER, FL 33458                                    P‐0025617 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VANNIEUWENHUIZE, RICHARD E.
VANNIEUWENHUIZE, CAROL
100 BEVERLY ANN DR
NORTH PROVIDENCE, RI 02911                           P‐0025618 11/7/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
MILLER, BRUCE G.
50 ONEIDA STREET
DENVER, CO 80230‐6714                                P‐0025619 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REED, CHERYL A.
3714 RHODE IS AVE
NIAGARA FALLS, NY 14305                              P‐0025620 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNETT, LOUIS R.
BURNETT, MARY L.
201 CHALAMONT LANE
LITTLE ROCK, AR 72223                                P‐0025621 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, ELVON J.
MILLER, JOSEPHINE
8646 LONDON HEIGHTS
SAN ANTONIO, TX 78254                                P‐0025622 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAUK, MARLENE P.
2226 N SHALLOWFORD ROAD
ATLANTA, GA 30341‐1638                               P‐0025623 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOPER, SHEILA A.
10132 N 97TH DR APT B
PEORIA, AZ                                           P‐0025624 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
STRAUSS, PETER
8310 GANNON AVENUE
SAINT LOUIS, MO 63132                                P‐0025625 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEWMAN, NICHOAS E.
3050 WARD
MILLINGTON, TN 38053                                 P‐0025626 11/15/2017     TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
GONZALEZ, ISABEL L.
14003 BENWOOD STREET
BALDWIN PARK, CA 91706                               P‐0025627 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOVER, THOMAS J.
852 NEW YORK DRIVE
ALTADENA, CA 91001                                   P‐0025628 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERKMAN, LISA M.
2408 ROBIN ST
SLIDELL, LA 70460                                    P‐0025629 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLNHAUSER, ROBERT L.
KELLNHAUSER, HELEN M.
10 LOWER LAKE RD
DANBURY, CT 06811‐4347                               P‐0025630 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, DONALD
P.O. BOX 113
BUFFALO, TX 75831                                    P‐0025631 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILADI, PATRICIA C.
18021 MAYFIELD ST.
LIVONIA, MI 48152                                    P‐0025632 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AXD SERVICE INDUSTRIES CORP.
P.O. BOX 39
TENNENT, NJ 07763                                    P‐0025633 11/15/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
THOMAS, MICHELE A.
228 LUCAS LANE
STANLEY, VA 22851                                    P‐0025634 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, BRENT
231 RESTFUL CREST AVE
NORTH LAS VEGAS, NV 89032‐6112                       P‐0025635 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EBEIER, VINCENT H.
6105 WEST ESPLANADE AVE
METAIRIE, LA 70003                                   P‐0025636 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORLOWSKI, CAROLE F.
ORLOWSKI, JOSEPH R.
39 TUNBRIDGE WALKE
EAST AURORA, NY 14052                                P‐0025637 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALSTON, ANGELA J.
460 MCDANIEL DRIVE
APT 307
JACKSONVILLE, NC 28546                               P‐0025638 11/7/2017      TK Holdings Inc., et al .                   $43,327.84                                                                                   $43,327.84
MITCHELL, KAREN E.
1955 BRADLEY DR
ST CLOUD, FL 34771                                   P‐0025639 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRASER, LINDA K.
1003 SMYRNA STREET
THE VILLAGES, FL 32162                               P‐0025640 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARLOW, DEBBIE Z.
727 MAIN ST
B4
OSTERVILLE, MA 02655                                 P‐0025641 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HARDIN, BEVERLY S.
23 MATHER AVE
BROOMALL, PA 19008                                  P‐0025642 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSS, ROXANNE
212 MOZART DR
HOUMA, LA 70363                                     P‐0025643 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTGOMERY, KENNETH
MONTGOMERY, SUSAN K.
17598 126TH STREET
MCLOUTH, KS 66054                                   P‐0025644 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, LATONIA D.
3004 BIRCH LANDING COURT
PEARLAND, TX 77584                                  P‐0025645 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EARNEST, GARY S.
5607 CHARLESTON WOODS DRIVE
LIBERTY TOWNSHIP, OH 45044                          P‐0025646 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, RICHARD W.
16627 LEAVENWORTH STREET
OMAHA, NE 68118                                     P‐0025647 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITZPATRICK, COLLEEN H.
19769 INKSTER ROAD
LIVONIA, MI 48152                                   P‐0025648 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREWER, SERENA C.
P.O. BOX 970052
YPSILANTI, MI 48197                                 P‐0025649 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNGATE, HEIDI L.
HUNGATE, ROBERT E.
7600 216TH ST N
PORT BYRON, IL 61275                                P‐0025650 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLFF, CHRISTA L.
41 BRIDLE PATH ROAD
BETHLEHEM, PA 18017                                 P‐0025651 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, CHRIS S.
4128 BAYARD ST
EASTON, PA 18045                                    P‐0025652 11/15/2017     TK Holdings Inc., et al .                     $152.65                                                                                       $152.65
BEMBENIC, DENNIS M.
BEMBENIC, CAROL B.
909 NINTH AVE
BROCKWAY, PA 15824                                  P‐0025653 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, LATONIA D.
3004 BIRCH LANDING COURT
PEARLAND, TX 77584                                  P‐0025654 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHIZU, YUKIKO
P.O. BOX 2105
SOUTH LONDONDERR, VT 05155                          P‐0025655 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYNE, WENDY L.
3215 MARVIN AVE
ERIE, PA 16504                                      P‐0025656 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, TERRELL M.
3618 THALIA ST. APT B.
NEW ORLEANS, LA 70125                               P‐0025657 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSCHMANN, BRADLEY D.
1886 GREENWOOD VALLEY DRIVE
RIVER FALLS, WI 54022                               P‐0025658 11/15/2017     TK Holdings Inc., et al .                     $450.00                                                                                       $450.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RHEA, ARTHUR
1809 KEENE
HOUSTON, TX 77009                                    P‐0025659 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONACO, ANTHONY
MONACO, SHIRLEY
2122 CHATEAU DR
LAWRENCEVILLE, GA 30043                              P‐0025660 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, PAUL G.
5529 NW EISENHOWER DR
LAWTON, OK 73505                                     P‐0025661 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOCKADAY, WILLLIAM H.
101 NEW CUT ROAD
WINDER, GA 30680                                     P‐0025662 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCLEAN, MICHAEL
2490 RIDGEBROOK PLACE
THOUSAND OAKS, CA                                    P‐0025663 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARGENT, SHANNON
1015 MARTIN ST
DELAND, FL 32720                                     P‐0025664 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REEDER, KERRY L.
REEDER, PENELOPE C.
538 EMERALD AVENUE
KODAK, TN 37764‐1660                                 P‐0025665 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OZANE, MARTHA A.
MARTHA OZANE
1237 E 14 ST.
PORT AUTHUR, TX 77640                                P‐0025666 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLYNT, ROBERT N.
383 SPRING LAKE ROAD
RED HOOK, NY 12571                                   P‐0025667 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARBOUR, HARRY W.
P.O. BOX 3376
LAKE HAVASU CITY, AZ 86405                           P‐0025668 11/7/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
YUHAS, MARGARET T.
1070 BUCKEYE BRANCH
BLUE RIVER, KY 41607                                 P‐0025669 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOWARD, SHERYL M.
806 AUSTERLITZ STREET
NEW ORLEANS, LA 70115                                P‐0025670 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERMES, GREGORY J.
6385 BLUE ARROW DRIVE
MARIANNA, FL 32446‐6709                              P‐0025671 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERMES, GREGORY J.
6385 BLUE ARROW DRIVE
MARIANNA, FL 32446‐6709                              P‐0025672 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARKS, WOODY G.
MARKS, CHERYL H.
5205 SHOAL CREEK RD
SUFFOLK, VA 23435                                    P‐0025673 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCIS, HEATHER G.
4180 HUTCHINSON RVR PKWY E
4E
BRONX, NY 10475                                      P‐0025674 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUHL, MICHAEL A.
7003 MAGNA LANE
INDIAN TRAIL, NC 28079                               P‐0025675 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
CANTOR, GERALD P.
CANTOR, JAYNE G.
TOYOTA FINANCIAL SERVICES
6610 REYNARD DRIVE
SPRINGFIELD, VA 22152                                 P‐0025676 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JINKS, WALTER
2398 2ND AVE #6
DECATUR, GA 30032                                     P‐0025677 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITESIDE, LEE J.
104 WORTHING RD
ST SIMONS ISLAND, GA 31522                            P‐0025678 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STRONGOSKY, BEVERLY A.
327 T.R. 350
SULLIVAN, OH 44880                                    P‐0025679 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, PATRICK
FARNSWORTH, JEAN O.
115 WILSHIRE ROAD
FAIRFIELD BAY, AR 7208‐2519                           P‐0025680 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SACKS, MARVIN F.
12320 OLD CANAL RD
POTOMAC, MD 20854                                     P‐0025681 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAURMAN, SUSAN C.
1222 DELL RD
EAGLEVILLE, PA 19403                                  P‐0025682 11/7/2017      TK Holdings Inc., et al .                     $735.00                                                                                       $735.00
MOTLEY, VICTOR A.
17 SNUBHAVEN RD
HENRICO, VA 23228‐5417                                P‐0025683 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EISLER, MILLARD M.
834 S. GAMMON RD
UNIT 1
MADISON, WI 53719                                     P‐0025684 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASDEN, VICKIE S.
314 CHURCH OF GOD CIR
CLEVELAND, SC 29635                                   P‐0025685 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAGIER, SHELDON
810 PALM SPRINGS DRIVE
ALTAMONTE SPRING, FL 32701                            P‐0025686 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SZABO, LESLIE A.
590 BROADHEAD AVENUE
PITTSBURGH, PA 15205                                  P‐0025687 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHRISTOPHER, COREY L.
3750 S 88 ST
MILWAUKEE, WI 53228                                   P‐0025688 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSCHOR, MELINDA R.
BUSCHOR, THOMAS K.
6405 VIA GALARDO LANE
RALEISH, NC 27614                                     P‐0025689 11/7/2017      TK Holdings Inc., et al .                   $28,087.60                                                                                   $28,087.60
RANALLO, RICHARD S.
5821 BELLE RD
GENEVA, OH 44041                                      P‐0025690 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ DEJESUS, AMPARO
1407 PARKVIEW LN
DAVENPORT, IA 52807                                   P‐0025691 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ JR, FERMIN B.
2503 COVE CREEK CT
HIGHLANDS RANCH, CO 80129                             P‐0025692 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
                                                                                            Page 1869 of 3875
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MAITLEN, JAMES L.
881 HILLTOP DRIVE
MINERAL WELLS, TX 76067                              P‐0025694 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERMES, GREGORY J.
6385 BLUE ARROW DRIVE
MARIANNA, FL 32446‐6709                              P‐0025695 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CONWAY, KEVIN P.
CONWAY, KATHLYN L.
59‐243 MAKI PL.
KAMUELA, HI 96743                                    P‐0025696 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                     P‐0025697 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, SUSIE A.
20020 NW 32ND AVE
MIAMI GARDENS, FL 33056                              P‐0025698 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERMES, GREGORY J.
BERMES, LINDA M.
6385 BLUE ARROW DRIVE
MARIANNA, FL 32446‐6709                              P‐0025699 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTIN, MARI D.
P.O. BOX 61
12 W SPRUCE
INDIANOLA, IL 61850‐0061                             P‐0025700 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MRKONIC, MICHAEL J.
MRKONIC, JUDITH R.
92478 CAPE ARAGO HWY
P.O. BOX 716
COOS BAY, OR 97420                                   P‐0025701 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RABENSTEIN, ELLEN L.
10036 RAYSTOWN ROAD
SAXTON, PA 16678                                     P‐0025702 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, JAMIE L.
EDWARDS, JOHN C.
360 LINDSEY DRIVE
MARTINEZ, CA 94553                                   P‐0025703 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAMES WHITE CONSTRUCTION CO.
4156 FREEDOM WAY
WEIRTON, WV 26003                                    P‐0025704 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRUMMER, BARBARA A.
114 LONGMEADOW DR
SYRACUSE, NY 13205                                   P‐0025705 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOVAK, BRUCE J.
NOVAK, REVA B.
21432 APPLE HILL DR.
SONORA, CA 95370                                     P‐0025706 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLEACHER, STEPHEN P.
29 KETCH CAY COURT
MIDDLE RIVER, MD 21220                               P‐0025707 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORNING, WILLIAM A.
738 WOODWIND PL
WALNUT CREEK, CA 94598                               P‐0025708 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CREIGHTON, CYNTHIA G.
17 CARPENTERS RIDGE
BLUE ASH, OH 45241                                   P‐0025709 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HENDRICKS, SIEW M.
3521 SADDLEPEAK COURT
ROCKLIN, CA 95765                                    P‐0025710 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, LORI S.
2408 ABIFF ROAD
BURNS, TN 37029                                      P‐0025711 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRACE, DIANA M.
3317 GREENVILLE DRIVE
SIMI VALLEY, CA 93063                                P‐0025712 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOGNAMILLO, JOHN
426 OAK LN.
LULING, LA 70070                                     P‐0025713 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ODEY, KENNETH P.
640 FILLMORE STREET
DENVER, CO 80206                                     P‐0025714 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANGLOIS, JR., LLOYD A.
LANDMARK SURVEYING, INC.
1513 KUEBEL STREET
HARAHAN, LA 70123                                    P‐0025715 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TISLOW, WM M.
5715 HUSTON RD.
WEST LAFAYETTE, IN 47906                             P‐0025716 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANESS, TIMOTHY B.
3317 GREENVILLE DRIVE
SIMI VALLEY, CA 93063                                P‐0025717 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPENCER, LARRY C.
6744 NEW LONDON RD
NEW MARKET, MD 21774                                 P‐0025718 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURN, JACQUELYN L.
HURN, EDWARD A.
124 MILL VALLEY ROAD
MIDDLEBURGH, NY 12122                                P‐0025719 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, ANITA K.
SMITH, SCOTT
2 ALLISON COURT
GRAY, TN 37615                                       P‐0025720 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEANS, JOHN F.
11504 SAINT DAVIDS LN
LUTHERVILLE, MD 21093                                P‐0025721 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AROCHA JR, MANUEL
AROCHA, JENNIFER M.
4777 OSCODA ST
OSCODA, MI 48750                                     P‐0025722 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KATZ, TOM
10 NEWMAN CT
P.O. BOX 287
CROMPOND, NY 10517                                   P‐0025723 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLAZA, FRANK
8011 KNIGHTS CROSSING DRIVE
O FALLON, MO 63368                                   P‐0025724 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FENECH, BARBARA
FENECH, PATRICK
3694 PENDLEBURY DR
PALM HARBOR, FL 34685                                P‐0025725 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CHUANG, JERRY
YIU, SUZANNE
672 NORTH 9TH STREET
SAN JOSE, CA 95112                                   P‐0025726 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAGAN, SAMUEL
4709 LISA LANE
BERRIEN SPRINGS, MI 49103                            P‐0025727 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOONSTRA, ROSS M.
BOONSTRA, ALISA A.
8227 DREXEL CT
EDEN PRAIRIE, MN 55347                               P‐0025728 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRSCHEN, CHARLES B.
12 JO ANN DRIVE
OLD BETHPAGE, NY 11804                               P‐0025729 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PLAZA, FRANK
8011 KNIGHTS CROSSING DRIVE
O FALLON, MO 63368                                   P‐0025730 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GITTLESON, LOIS A.
914 14TH ST.
ROCHELLE, IL 61068                                   P‐0025731 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRUNCELLITO, LAURA
TRUNCELLITO, DAVID
5522 WILLOW VALLEY ROAD
CLIFTON, VA 20124                                    P‐0025732 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBSON, ROBERT O.
GIBSON, GERMAIN C.
1646 GHOST DANCE CIRCLE
CASTLE ROCK, CO 80108                                P‐0025733 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNKER, MATTHEW M.
341 COVENTRY LANE
MASON, MI 48854                                      P‐0025734 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORNATORE, STEVEN J.
385 TAR CREEK RD
ORIENTAL, NC 28571                                   P‐0025735 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEACH, RACHEAL L.
306 STANLEY DR
FREEPORT, FL 32439                                   P‐0025736 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOXZEN, PATRICIA L.
11504 SAINT DAVIDS LN
LUTHERVILLE, MD 21093                                P‐0025737 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEAVEY, ANN L.
ANN L. PEAVEY
105 BOXWOOD DRIVE
DAVENPORT, FL 33837                                  P‐0025738 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MISTER, CINDY
LEXUS FINANCIAL
131 GREGORY ST
GREENVILLE, MS 38701                                 P‐0025739 11/15/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
LAHR, ROBERT R.
5701 N. 450 E
CHURUBUSCO, IN 46723                                 P‐0025740 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, CLARISSA A.
1004 CRESTWYCK CIRCLE
MOUNT JOY, PA 17552                                  P‐0025741 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BIDARIAN, MEHRDAD
220 E REYNOLDS RD, SUITE A1
LEXINGTON, KY 40517                                   P‐0025742 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DISESSA, HILDA M.
16 LAUREN LANE
LYNN, MA 01904                                        P‐0025743 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAHR, KAREN A.
5701 N 450 E
CHURUBUSCO, IN                                        P‐0025744 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOTHEL, TERRY E.
BOTHEL, JOANNA
229 SHADY LANE
MARLTON, NJ 08053                                     P‐0025745 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAWSON, TAMARA R.
4663 YANKEE RD
ST CLAIR, MI 48079                                    P‐0025746 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SARKISSIAN, AMY M.
2570 W CROWN DR
TRAVERSE CITY, MI 49685                               P‐0025747 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLASSMAN, SUSAN K.
8310 GANNON AVENUE
SAINT LOUS, MO 63132                                  P‐0025748 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KUNKEL, KEVIN J.
3075 N LINCOLN LAKE DRIVE
COAL CITY, IL 60416                                   P‐0025749 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NARUMANCHI, RADHA R.
NARUMANCHI, RADHA B.
657 MIDDLETOWN AVENUE
NEW HAVEN, CT 06513                                   P‐0025750 11/7/2017      TK Holdings Inc., et al .                    $4,200.00                                                                                    $4,200.00
HOWLETT, JANIS E.
HOWLETT, WILLIAM W.
13200 WEST PARKER ROAD
CRETE, NE 68333                                       P‐0025751 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAVERS, BRENDA R.
BRENDA RHONE BEAVERS
230 RIDINGS WAYS
AMBLER, PA 19002‐5246                                 P‐0025752 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DYBZINSKI, EVELYN
271 N RIVER RD
CROSSVILLE, TN 38572                                  P‐0025753 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLIDAY, ANGELA C.
8828 S CORNNELL AVE
CHICAGO, IL 60617‐2801                                P‐0025754 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASALI, DIANE L.
CASALI, MICHAEL V.
1804 86TH
DARIEN, IL 60561                                      P‐0025755 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMMETT, JASON R.
521 CHICAGO AVE
UNIT B
EVANSTON, IL 60202                                    P‐0025756 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAINEY‐NETHERCLI, CINDY A.
273 COVINO AVENUE
ST. AUGUSTINE, FL 32084                               P‐0025757 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MARSHALL, SONJA L.
8046 S ALBANY
CHICAGO, IL 60652                                    P‐0025758 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARMODY, PAUL J.
456 MOUNTAIN TOP LODGE RD
DAHLONEGA, GA 30533                                  P‐0025759 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GLOVER, DEBRA J.
300 CANOPY WALK LANE
UNIT 312
PALM COAST, FL 32137                                 P‐0025760 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CANTOR, GERALD P.
CANTOR, JAYNE G.
6610 REYNARD DRIVE
SPRINGFIELD, VA 22152                                P‐0025761 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIELDS, STEPHANIE L.
996 SPRINGFIELD STREET #B
UPLAND, CA 91786                                     P‐0025762 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
APONE, ANTHONY L.
APONE, VIOLET A.
810 REAL QUIET COURT
SALINE, MI 48176                                     P‐0025763 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHALEN, BEVERLY J.
2204 ELMWOOD LN
CROSS PLAINS, WI 53528‐9522                          P‐0025764 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, RENARD L.
409 GARDENIA DRIVE
MULLICA HILL, NJ 08062                               P‐0025765 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SURGENT, LEIGH ANN
1410 DERBY STREET
BERKELEY, CA 94702                                   P‐0025766 11/15/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
STOUT, KENNETH W.
248 PERKASIE AVE
QUAKERTOWN, PA 18951‐2809                            P‐0025767 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INOUE, SATOSHI
17359 LIBERTAD DRIVE
SAN DIEGO, CA 92127                                  P‐0025768 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENNIE, SCOTT
4375 CANTERBURY CT.
ST. CHARLES, IL 60174                                P‐0025769 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIU, PHILIP H.
LEE, JACINTA N.
17803 NORAN CIRCLE
CERRITOS, CA 90703                                   P‐0025770 11/15/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
KACPROWICZ, JANICE
157 ST FELIX AVE,CHEEKTOWAGA
CHEEKTOWAGA, NY 14227                                P‐0025771 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAIL, CANDYCE H.
NAIL, THOMAS H.
9720 SCHREINER LANE
GREAT FALLS, VA 22066                                P‐0025772 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, JEREMY W.
25 CARLYLE CT.
ROBBINSVILLE, NJ 08691                               P‐0025773 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KENTY, RAMONICA
1535 NW 181ST ST
MIAMI, FL 33169                                      P‐0025774 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ORTMAN, DAVID E.
36 QUAIL LANE
ROCHESTER, NY 14624                                   P‐0025775 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAGNE, YVETTE Y.
14129 PULLMAN DRIVE
SPRING HILL, FL 34609                                 P‐0025776 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIRTHLIN, JEAN M.
4724 BROOKFIELD COURT
CINCINNATI, OH 45244‐1710                             P‐0025777 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELANEY, BARBARA A.
DELANEY, JAMES A.
2042 SYKES CREEK DR
MERRITT ISLAND, FL 32953‐3065                         P‐0025778 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DULONG, JANICE
MERCURY
4965 CATTLEBARON DR
FORT WORTH, TX 76108                                  P‐0025779 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOJANOVIC, DRAGANA
7601 EAST TREASURE DRIVE
APT. 1417
N. BAY VILLAGE, FL 33141                              P‐0025780 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRADFORD, JONATHON D.
BRADFORD, SARAH B.
634 PARMA WAY
GARDNER, KS 66030                                     P‐0025781 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SALCEDO, JOSE
971 TANNEHILL DR
MANTECA, CA 95337                                     P‐0025782 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWARTHOUT, JOSEPH R.
SWARTHOUT, ROSE E.
P.O. BOX 934
ROCKWALL, TX 75087                                    P‐0025783 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENNIE, SCOTT
4375 CANTERBURY CT.
ST. CHARLES, IL 60174                                 P‐0025784 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAIL, THOMAS H.
9720 SCHREINER LANE
GREAT FALLS, VA 22066                                 P‐0025785 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOHMANN, JOHN J.
HOHMANN, KIMBERLY A.
3046 FAIRVIEW SCHOOL RD
ELLWOOD CITY, PA 16117                                P‐0025786 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOLEY, KAREN M.
18 SENECA PLACE
ALBANY, NY 12208                                      P‐0025787 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURTISS, VALERIE D.
P.O. BOX 117
PLAINS, MT 59859                                      P‐0025788 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAWKINS, STEPHANIE R.
2660 SHASTA WAY APT 48
KLAMATH FALLS, OR 97603                               P‐0025789 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARTINEZ, CHRISTINA
P.O. BOX 4443
LAKEWOOD, CA 90711                                    P‐0025790 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LANGLOIS, JR., LLOYD A.
LANDMARK SURVEYING, INC.
1513 KUEBEL STREET
HARAHAN, LA 70123                                    P‐0025791 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOODMAN, STEVEN A.
GOODMAN, SUSAN A.
322 ORENDA CIRCLE
WESTFIELD, NJ 07090                                  P‐0025792 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TISLOW, WILLIAM M.
5715 HUSTON RD.
WEST LAFAYETTE, IN 47906                             P‐0025793 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRESHAM, BEVERLY M.
2304 NICOL CIRCLE
BOWIE, MD 20721                                      P‐0025794 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZINGER, OSKAR
ZINGER, KATE
7 HORSESHOE CT
NEW CITY, NY 10956                                   P‐0025795 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAINES, SHANITA D.
P.O. BOX 298
OKLAHOMA CITY, OK 73101‐0298                         P‐0025796 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MODUGNO, FERRUCCIO
66 BRIARWOOD DRIVE
SAN RAFAEL, CA 94901‐1407                            P‐0025797 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREAUD, LYNN G.
151 HIGHWAY 44
JAYESS, MS 39641                                     P‐0025798 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LANGLOIS, JR., LLOYD A.
LANDMARK SURVEYING, INC.
1513 KUEBEL STREET
HARAHAN, LA 70123                                    P‐0025799 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEAM, JAMES W.
ESTATE OF ELEANOR P. BEAM
LARA A. LANE
1509 LAMY LANE
MONROE, LA 71201                                     P‐0025800 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEILER, CHRISTIE M.
153 CRISSY WRIGHT RD.
NEWPORT, NC 28570                                    P‐0025801 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACKETT, DAVID V.
DAVID MACKETT
621 BROOKFIELD DRIVE
CENTREVILLE, MD 4139                                 P‐0025802 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FUOSS, ANITA
P.O. BOX 508
MURDO, SD 57559                                      P‐0025803 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAILEY, ELIZABETH A.
252 OLD COLLIERS WAY
WEIRTON, WV 26062                                    P‐0025804 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, JAMES K.
11072 DOUBLEDAY LANE
MANASSAS, VA 20109                                   P‐0025805 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
METTELUS, JEAN
5024 21ST WAY E
BRADENTON                                            P‐0025806 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
LEINOVA, IRINA
1551 SOUTHGATE AVENUE #319
DALY CITY, CA 94015                                 P‐0025807 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHAM, JULIE
LE, BRANDON
1417 N JACKSON ST
SANTA ANA, CA 92703                                 P‐0025808 11/15/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
LANGLOIS, JR., LLOYD A.
LANDMARK SURVEYING, INC.
1513 KUEBEL STREET
HARAHAN, LA 70123                                   P‐0025809 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
APPELL, ELLEN D.
124 S 16TH ST
ALLENTOWN, PA 18102                                 P‐0025810 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATLOS, SUSAN
319 FAIRWAY DRIVE
OXFORD, CT 06478                                    P‐0025811 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, RODGER G.
WILIAMS, NANCY A.
P.O. BOX 397
ASHTON, ID 83420                                    P‐0025812 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHAM, JULIE
LE, BRANDON
1417 N JACKSON ST
SANTA ANA, CA 92703                                 P‐0025813 11/15/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
KANE, JOHN M.
18 LAKERIDGE DRIVE
GEORGETOWN, MA 01833                                P‐0025814 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALKER, FONTAINE E.
14022 VINTAGE LN
ACCOKEEK, MD 20607                                  P‐0025815 11/15/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
GREENETRACK INC.
ALTHERIA WILDER
P.O. BOX 471
EUTAW, AL 35462                                     P‐0025816 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THE JAMES WHITE CONSTRUCTION
4156 FREEDOM WAY
WEIRTON, WV 26062                                   P‐0025817 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASTLEBERRY, JACK D.
2703 W 2ND AVE
PINE BLUFF, AR 71601                                P‐0025818 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, SHERRY L.
14108 ROSE LANE ROAD
OMAHA, NE 68138                                     P‐0025819 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRERAS, YSIDRO
9124 LAIT DR.
EL PASO, TX 79925                                   P‐0025820 11/7/2017      TK Holdings Inc., et al .                    $2,033.00                                                                                    $2,033.00
GEORGE, VERA W.
7210 NC HWY 751
DURHAM, NC 27707                                    P‐0025821 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERMES, GREGORY J.
BERMES, LINDA M.
6385 BLUE ARROW DRIVE
MARIANNA, FL 32446‐6709                             P‐0025822 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                     P‐0025823 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OKASHAH, ALEXANDER
1023 KIOKEE CREEK CT
ALBANY, GA 31721                                     P‐0025824 11/7/2017      TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
FREE + CLEAR TITLE
NO ADDRESS PROVIDED
                                                     P‐0025825 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRERAS, YSIDRO
9124 LAIT DR
EL PASO, TX 79925                                    P‐0025826 11/7/2017      TK Holdings Inc., et al .                       $10.00                                                                                       $10.00
KAZNICA, JEANNETTE M.
2440 OWEN DRIVE
WILMINGTON, DE 19808                                 P‐0025827 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHARLEMANN, MICHELLE M.
1035 S NORFOLK ST
AURORA, CO 80017                                     P‐0025828 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLES JR., ROBERT E.
6545 MARKET AVENUE NORTH
NORTH CANTON, OH 44721                               P‐0025829 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, WILLIAM R.
MORRIS, ELIZABETH A.
112 PAUL ST
CENTRAL, SC 29630                                    P‐0025830 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUBOIS, RICHARD E.
3240 UNION ST.
APT B
EUREKA, CA 95503‐5116                                P‐0025831 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLAYTON, KAREEMA O.
656 TILGHMAN DR.
CAMDEN, NJ 08104                                     P‐0025832 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PASTORE, ALFRED
154 NOTTINGHAM ROAD
RAMSEY, NJ 07446‐2625                                P‐0025833 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LE, BRANDON
1417 N JACKSON ST
SANTA ANA, CA 92703                                  P‐0025834 11/15/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
JERABEK, MARC S.
JERABEK, HEATHER M.
158 HYBANK DR
WEST SENECA, NY 14224                                P‐0025835 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELFORTE, WILLIAM C.
BELFORTE, BRENDA L.
24688 ADALADE LN
DAPHNE, AL 36526‐4900                                P‐0025836 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, BARBARA L.
1113 DUNFORD AVENUE
HOME
AUBURN, AL 36832                                     P‐0025837 11/15/2017     TK Holdings Inc., et al .                     $529.65                                                                                       $529.65
AUTO PLAZA
STEPHANIE MCCOY
2000 VINCE ROAD
NICHOLASVILLE, KY 40356                              P‐0025838 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
PAHL, MEGAN M.
1358 HANCOCK STREET
UNIT 3R
BROOKLYN, NY 11237                                    P‐0025839 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEAVER, LOUISE M.
1260 LONG LAKE CT
BRIGHTON, MI 48114                                    P‐0025840 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULSHINE, PAMELA A.
MULSHINE, JOHN A.
P.O. BOX 735
MARTINSBURG, WV 25402                                 P‐0025841 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURAWA, EMILY A.
10300 APPALACHIAN CIRCLE 203
OAKTON, VA 22124                                      P‐0025842 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JERABEK, MARC S.
JERABEK, HEATHER M.
158 HYBANK DR
WEST SENECA, NY 14224                                 P‐0025843 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JERABEK, MARC S.
JERABEK, HEATHER M.
158 HYBANK DR
WEST SENECA, NY 14224                                 P‐0025844 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANIAGA, MARIVIC
BANIAGA, MARIVIC C.
16520 LARCH WAY
UNIT A‐002
LYNNWOOD, WA 98037                                    P‐0025845 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PICARD, PHILLIP S.
PICARD, KYONG S.
26675 N 86TH DR
PEORIA, AZ 85383                                      P‐0025846 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALMER, PAUL A.
PALMER, JULIE B.
2521 BALLAST POINT
MT. PLEASANT, SC 29466                                P‐0025847 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHANNON, ROBERT N.
1021 CORK DRIVE
BETHAL PARK, PA 15102                                 P‐0025848 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GERSTLE, PETER K.
11742 PARAMOUNT WAY
PROSPECT, KY 40059                                    P‐0025849 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZIMMER, LORIE A.
305 LANDINGS CT
CHURCHVILLE, MD 21028                                 P‐0025850 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICKERSON, GEORGE E.
DICKERSON, EILEEN M.
9175 CANYON ST.
WEST DES MOINES, IA 50266                             P‐0025851 11/7/2017      TK Holdings Inc., et al .                     $127.00                                                                                       $127.00
MULSHINE, JOHN A.
MULSHINE, PAMELA A.
P.O. BOX 735
MARTINSBURG, WV 25402                                 P‐0025852 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUGLISI, DAVID J.
P.O. BOX 545
65 BARRANCA
LAGUNITAS, CA 94938                                   P‐0025853 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
EKWUTIFE, JOSEPH O.
2504 HIGHCREST CT
MANCHESTER, MD 21102                                  P‐0025854 11/15/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
JERABEK, MARC S.
JERABEK, HEATHER M.
158 HYBANK DR
WEST SENECA, NY 14224                                 P‐0025855 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ, VANESSA F.
392 DAYLILY DR.
PERRIS, CA 92571                                      P‐0025856 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUTO PLAZA
STEPHANIE MCCOY
2000 VINCE ROAD
NICHOLASVILLE, KY 40356                               P‐0025857 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRITTENHAM, BARBARA
721 CROOKED LAKE COURT
ST CHARLES, MO 63304                                  P‐0025858 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PADOVAN, ENA A.
6003 SIEVERS CT
FERNDALE, WA 98248                                    P‐0025859 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CEDILLO, JERARDO
10924 LOS RIOS DRIVE
FORT WORTH, TX 76179                                  P‐0025860 11/15/2017     TK Holdings Inc., et al .                  $250,000.00                                                                                  $250,000.00
MOLTZON, RICHARD F.
MOLTZON, SUSAN A.
2580 WINTER PARK ST
LOVELAND, CO 80538                                    P‐0025861 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WORSTER, APRIL L.
1092 FOX RUN ROAD
MILFORD, OH 45150                                     P‐0025862 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUTO PLAZA
STEPHANIE MCCOY
2000 VINCE ROAD
NICHOLASVILLE, KY 40356                               P‐0025863 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TYRRELL, SCOTT A.
TYRRELL, MARCIE J.
383 HAZELDELL AVE.
SAN JACINTO, CA 92582                                 P‐0025864 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAFF, DONALD
1621 CAMPUS STREET
CEDAR FALLS, IA 50613                                 P‐0025865 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMEZ ALFARO, ALBERTO
2540 W LINCOLN AVE APT 106
ANAHEIM, CA 92801                                     P‐0025866 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILAND, MARY H.
WILAND, WALTER R.
2816 JANE LANE
HILLIARD, FL 32046                                    P‐0025867 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOSLEY, SHANAY D.
1920 FRONTAGE RD
APT 601
CHERRY HILL, NJ 08034                                 P‐0025868 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUTO PLAZA
2000 VINCE ROAD
NICHOLASVILLE, KY 40356                               P‐0025869 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MOLTZON, RICHARD F.
MOLTZON, SUSAN A.
2580 WINTER PARK ST
LOVELAND, CO 80538                                   P‐0025870 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOECKE, ROGER J.
1855 NEWKIRK RD
FERNDALE, WA 98248                                   P‐0025871 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VELASCO, RAPHAEL F.
VELASCO, ESMERALDA
700 DE PALMA WAY
MONTEBELLO, CA 90640                                 P‐0025872 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOOTH, STEPHEN H.
BOOTH, ANN K.
9BROOKSIDE AVE
BERKELEY, CA 94705                                   P‐0025873 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIEMAN, SHAIN L.
RIEMAN, MACKENZIE L.
P.O. BOX 5
BETHUNE, CO 80805                                    P‐0025874 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZULLO, CHRISTIAN
6209 SOUTH 1250 WEST
MURRAY, UT 84123                                     P‐0025875 11/15/2017     TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
BERONA, REYNERIO B.
7757 BACADI DR.
SAN DIEGO, CA 92126‐3563                             P‐0025876 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOORE, JONATHAN M.
17215 BENTLER ST
DETROIT, MI 48219                                    P‐0025877 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON REV TRU, LARRY L.
ANDERSON REV TRU, BONNIE M.
LARRY & BONNIE ANDERSON REV T
6830 ANDERSON AVE
MIDDLETON, WI 53562                                  P‐0025878 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WYROBEK, NICOLA K.
4728 W LK HARRIET PKWY
MINNEAPOLIS, MN 55410                                P‐0025879 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUTO PLAZA
2000 VINCE ROAD
NICHOLASVILLE, KY 40356                              P‐0025880 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUMMISKEY, JR, ROBERT D.
CUMMISKEY, CHERYL A.
4737 AVRON BLVD
METAIRIE, LA 70006                                   P‐0025881 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEMASTER, KEVIN D.
FLANSBURG, JAMES M.
10978 HAWTHORNE DRIVE
CLIVE, IA 50325                                      P‐0025882 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWORTFIGUER, ANDREW C.
BROOKS, KAREN M.
4509 SAN SIMEON DRIVE
AUSTIN, TX 78749‐3870                                P‐0025883 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTBROOK, FREDERICK J.
6475 TODD ACRES DR.
THEODORE, AL 36582‐2609                              P‐0025884 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
COFFMAN, DONALD A.
260 SIERRA RD
JESWP, GA 31545                                     P‐0025885 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, LISA P.
2781 HYDE PARK ROAD
JACKSONVILLE, FL 32210                              P‐0025886 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CURRIE, DONNA M.
CURRIE, KEVIN R.
92‐766 NOHOPAA STREET
KAPOLEI, HI 96707                                   P‐0025887 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHIRA, TIM
3506 DEER CREEK
MAUMEE, OH 43537                                    P‐0025888 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZULLO, ANGELO A.
ZULLO BLDG MAINTENANCE LLC
6209 SOUTH 1250 WEST
MURRAY, UT 84123                                    P‐0025889 11/15/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
SHERWOOD, KEENAN E.
555 KEYSER RUN RD
WASHINGTON, VA 22747                                P‐0025890 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARELSKIN, HOWARD
2428 BUCKINGHAM LN
LOS ANGELES, CA 90077                               P‐0025891 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDMONSON, WILLIAM H.
964 LARRABEE STREET
UNIT 106
WEST HOLLYWOOD, CA 90069                            P‐0025892 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEFANI, NELLO J.
STEFANI, JUNE M.
749 C STREET
LINCOLN, CA 95648                                   P‐0025893 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPENCER, JOSEPH A.
2008 ARGAIL WAY
SACRAMENTO, CA 95822‐1904
                                                    P‐0025894 11/15/2017     TK Holdings Inc., et al .                    $1,975.00                                                                                    $1,975.00
LEVINER, MARIA M.
5 PLEASANTWOOD RD
NEWARK, DE 19702                                    P‐0025895 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VILLA, EDNA
1346 WINONA AVE
AURORA, IL 60506                                    P‐0025896 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBINSON, ROBIN D.
3809 GREENMOUNT AVENUE
BALTIMORE, MD 21218‐184                             P‐0025897 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, ANGIE M.
11330 BRAMSHILL DR.
JOHNS CREEK, GA 30022                               P‐0025898 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DYSINGER, RYAN N.
4331 WEST JUPITER ST
TUCSON, AZ 85741                                    P‐0025899 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIDING, ROY W.
WIDING, LAURIE D.
P.O. BOX 331
AURORA, OR 97002                                    P‐0025900 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
KAGI, ALBERT P.
7452 HIDDEN LAKE CIRCLE
MECHANICSVILLE, VA 23111                             P‐0025901 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOUT, BRENDA H.
248 PERKASIE AVE
QUAKERTOWN, PA 18951‐2809                            P‐0025902 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
O'DONNELL, CHARLES F.
59649 BROADVIEW ROAD
SHADYSIDE OHIO 43947
                                                     P‐0025903 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRNER, LISA A.
403 S. MAIN STREET
H‐200
DOYLESTOWN, PA 18901                                 P‐0025904 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUMMISKEY, JR, ROBERT D.
CUMMISKEY, CHERYL A.
4737 AVRON BLVD
METAIRIE, LA 70006                                   P‐0025905 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SWORTFIGUER, ANDREW C.
BROOKS, KAREN M.
4509 SAN SIMEON DR
AUSTIN, TX 78749‐3870                                P‐0025906 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMMS, CARRINE
229 RUTGERS AVE
PEMBERTON, NJ 08068‐1724                             P‐0025907 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PICOU‐RODY, BRENDA L.
RODY, JR., MARK T.
58 RAVENWOOD DRIVE
PICAYUNE, MS 39466                                   P‐0025908 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHEELER, RICHARD G.
2250 SR 80W #70
LABELLE, FL 33935                                    P‐0025909 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROBERG, MICHAEL C.
18 WETHERSFIELD ROAD
ROCHESTER, NY 14624                                  P‐0025910 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTROSS, JEFFREY H.
2062 EAST COLLEGE AVENUE
APT 2
STATE COLLEGE, PA 16801                              P‐0025911 11/7/2017      TK Holdings Inc., et al .                    $9,500.00                                                                                    $9,500.00
LACROIX, RICHARD D.
3053 NE 49TH STREET
FT LAUDERDALE, FL 33308                              P‐0025912 11/7/2017      TK Holdings Inc., et al .                   $11,073.14                                                                                   $11,073.14
COX, ROSCOE
COX, NELLIE
3700 MCCALL STREET
MOSS POINT, MS 39563                                 P‐0025913 11/7/2017      TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
NIKOLISH, WAYNE C.
NIKOLISH, JUDITH D.
2835 70TH STREET
#41 HOUSE
URBANDALE, IA 50322                                  P‐0025914 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRETT, LORA M.
1001 WILLOUGHBY RD
MONROE, NC 28110‐9659                                P‐0025915 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                      Current General                                         Current 503(b)(9)
                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
LEFFLER, MARK E.
675 E. RIVER RD.
GRAND ISLAND, NY 14012                                 P‐0025916 11/7/2017      TK Holdings Inc., et al .                    $6,000.00                                                                                    $6,000.00
WEBER, WILLIAM A.
484 CRYSTAL LAKE RD
AKRON, OH 44333                                        P‐0025917 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRANCH, CAROL E.
3266 JUDD RD
MILAN, MI 48160                                        P‐0025918 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORWITZ, GARY J.
70 RAINBOW DR
ROCHESTER, NY 14622‐1018                               P‐0025919 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIELSEN, NORA M.
9003 34 AVE SW
SEATTLE, WA 98126‐3803                                 P‐0025920 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLINE, BRIAN A.
HIGHTOWER, ASHLIE A.
400 LAKESIDE LANE
SANFORD, NC 27332                                      P‐0025921 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAHSHIGIAN, MICHAEL
202 S HOLLISTON AVE, UNIT 301
PASADENA, CA 91106                                     P‐0025922 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
[CLAIM DOCKETED IN ERROR]
NO ADDRESS PROVIDED
                                                       P‐0025923 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENA, CARLA A.
832 22ND STREET SOUTH
LA CROSSE, WI 54601                                    P‐0025924 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TORRES JR., OSCAR
TORRES, SANDRA E.
412 MORGAN STREET
ELGIN, IL 60123                                        P‐0025925 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE LA CRUZ, CANDIDO
2041 NORTH SUSQUEHANNA TRAIL
APARTMENT F
YORK PA,17404                                          P‐0025926 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIBENEDETTO, MICHAEL
19337 W. OREGON AVENUE
LITCHFIELD PARK, AZ 85340                              P‐0025927 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDIGER, TERESA K.
27 NEPENTHE DR
SANTA CRUZ, CA 95060                                   P‐0025928 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKINNER, HARLYN G.
127 SONOMA WAY
CHAPEL HILL, NC 27516                                  P‐0025929 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMERFORD, JOSEPH
P.O. BOX 931
THOMPSON FALLS, MT 59873                               P‐0025930 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOXZEN, WILLIAM L.
11504 SAINT DAVIDS LN
LUTHERVILLE, MD 21093                                  P‐0025931 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOLAN, THOMAS P.
NOLAN, KIMBERLY F.
3821 HOUNDSTOOTH CT
HENRICO, VA 23233                                      P‐0025932 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FINK, PATRICIA A.
FINK, ROBERT J.
4 PROMONTORY PL
CLAYTON, CA 94517                                    P‐0025933 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERTZ, WALTER D.
3481 BOLIVER RD
FORT VALLEY, VA 22652                                P‐0025934 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WASHBURN, WENDYE
1401 CACAO LN
PENSACOLA, FL 32507                                  P‐0025935 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEBORD, JASON W.
3365 HOLLYCREST DR
COLORADO SPRINGS, CO 80920                           P‐0025936 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REPLOGLE, CHADWICK T.
105 DANIEL LANE
OAK RIDGE, TN 37830                                  P‐0025937 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOX, MARTHA J.
8 4TH STREET CIRCLE
PITTSBURG, KS 66762                                  P‐0025938 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REPLOGLE, CHADWICK T.
105 DANIEL LANE
OAK RIDGE, TN 37830                                  P‐0025939 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, SAMANTHA J.
3133 FRONTERA WAY #109
BURLINGAME, CA 94010                                 P‐0025940 11/15/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
REPLOGLE, CHADWICK T.
105 DANIEL LANE
OAK RIDGE, TN 37830                                  P‐0025941 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COMERFORD, JOSEPH
P.O. BOX 931
THOMPSON FALLS, MT 59873                             P‐0025942 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEBSTER, WOODROW S.
WEBSTER, EMILY J.
5261 PINEHURST CT.
OLDSMAR, FL 34677                                    P‐0025943 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURST, NOLA
852 CLEARVIEW AVE.
JASPER, IN 47546                                     P‐0025944 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANTEUFEL, THOMAS
MANTEUFEL, MAUREEN
W352N5944 NELSON ROAD
OCONOMOWOC, WI 53066                                 P‐0025945 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOLAN, THOMAS P.
NOLAN, KIMBERLY F.
3821 HOUNDSTOOTH CT.
HENRICO, VA 23233                                    P‐0025946 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
(GIGLIOTTI) DEBO, SARA D.
3365 HOLLYCREST DR
COLORADO SPRINGS, CO 80920                           P‐0025947 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROWNEY, CATHY
GROWNEY, JEFFREY
11710 OLD BAYBERRY LN
RESTON, VA 20194                                     P‐0025948 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REPLOGLE, CHADWICK T.
105 DANIEL LANE
OAK RIDGE, TN 37830                                  P‐0025949 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HUNTER, TONYA
1900 MOUNTAIN CREEK COURT
SAN JOSE, CA 95148                                  P‐0025950 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONDELO, MAX
13424 CLEVELAND DR
ROCKVILLE, MD 20850                                 P‐0025951 11/15/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
POLINSKY, DANIEL A.
1190 WHITMAN AVE
CLAREMONT, CA 91711                                 P‐0025952 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CEDENO, EMANUEL
10225 WORTHAM BLVD
#2211
HOUSTON, TX                                         P‐0025953 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOUD, THOMAS J.
72 BARKER ROAD
PITTSFORD, NY 14534                                 P‐0025954 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAU, GRACE S.
2132 GREENDALE DRIVE
S SAN FRANCISCO, CA 94080                           P‐0025955 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORD, PEGGY L.
BARANDAS, THOMAS A.
3041 FUNSTON DRIVE
SACRAMENTO, CA 95833                                P‐0025956 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VASQUEZ, KIM‐MARIE
15810 BLACKBURN ST
ACCOKEEK, MD 20607                                  P‐0025957 11/15/2017     TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
WINCHELL, ELIOT S.
215 CAPTAIN NURSE CIR
NOVATO, CA 94949                                    P‐0025958 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZABEN, JAY A.
2132 GREENDALE DRIVE
S SAN FRANCISCO, CA 94080                           P‐0025959 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VERNER, TIMOTHY
2504 ASHLAND TRACE
CONYERS, GA 30094                                   P‐0025960 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, DARRYL
2320 N. TEAKWOOD AVE.
RIALTO, CA 92377                                    P‐0025961 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORDON, DAVID
GORDON, REBECCA
19 ARCHBRIDGE LANE
SPRINGFIELD, NJ 07081                               P‐0025962 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAUGH, PAMELA E.
865 BROOKSGLEN DRIVE
BROOKFIELD COUNTRY CLUB
ROSWELL, GA 30075                                   P‐0025963 11/15/2017     TK Holdings Inc., et al .                    $1,850.00                                                                                    $1,850.00
AUTO PLAZA
STEPHANIE MCCOY
2000 VINCE ROAD
NICHOLASVILLE, KY 40356                             P‐0025964 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORONA, TAMARA
714 N ORANGE AVE
WEST COVINA, CA 91790                               P‐0025965 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORDON, DAVID
19 ARCHBRIDGE LANE
SPRINGFIELD, NJ 07081                               P‐0025966 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
TOOGOOD, CRYSTAL
1772 NAND CT
YUBA CITY, CA 95993                                   P‐0025967 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAUGHTEN, PATRICIA M.
11442 HERITAGE COMMONS WAY
RESTON, VA 20194                                      P‐0025968 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUGLISI, DAVID J.
P.O. BOX 545 65 BARRANCA RD
LAGUNITAS, CA                                         P‐0025969 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASUPANG, SUZANNE L.
8201 EAGLEDANCER AVE
LAS VEGAS, NV 89129                                   P‐0025970 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORTON, PATRICIA A.
MORTON, THOMAS L.
11453 HANNIBAL STREET
COMMERCE CITY, CO 80022                               P‐0025971 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SADEGHI, HOSSEIN
404 W STOCKER ST
APT 4
GLENDALE, CA 91202                                    P‐0025972 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, ALLEN L.
60 GROTH CIRCLE
SACRAMENTO, CA 95834                                  P‐0025973 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BASSETTE, JOHN D.
BASSETTE, RUTH C.
P.O. BOX 479
CORNISH FLAT, NEW HAMPSHIRE
                                                      P‐0025974 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONTIJO, PENNY L.
MONTIJO, OSCAR
125 GREENWOOD ROAD
STAUNTON, VA 24401                                    P‐0025975 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BICK, RAYMOND N.
P.O. BOX 50374
BELLEVUE, WA 98015                                    P‐0025976 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLER, GLORIA A.
111 CLEAVELAND RD. APT. 77
PLEASANT HILL, CA 94523                               P‐0025977 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOACES, ANGELIN
TORRES, LUIS
2075 HOMER AVE
BRONX, NY 10473                                       P‐0025978 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSSO, RENEE
5904 TUDOR DRIVE
POMPTON PLAINS, NJ 07444                              P‐0025979 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLYK, JOSEPH J.
HOLYK, LISA M.
663 STONEWALL LANE
CLARKSVILLE, TN 37040                                 P‐0025980 11/7/2017      TK Holdings Inc., et al .                  $122,000.00                                                                                  $122,000.00
HALL, TOMMY R.
HALL, SHERRI D.
1102 DOUBLE L ROAD
WHITE HALL, AR 71602                                  P‐0025981 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCALL, NANCY L.
816 MCPHERSON AVE
FAYETTEVILLE, NC 28303                                P‐0025982 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CLARIDGE, THOMAS H.
481 N SANTA CRUZ AVE
STE 302
LOS GATOS, CA 95032‐5300                            P‐0025983 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, ROBERT
7640 SOUTH MCKINLEY AVE
FRENCH CAMP, CA 95231                               P‐0025984 11/10/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
SMITH, ROGER E.
7629 S MARSHFIELD AVE
CHICAGO, IL 60620‐4258                              P‐0025985 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, FATIMAH F.
F., J. T.
133 55TH STREET
FAIRFIELD, AL 35064                                 P‐0025986 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, RAYMOND W.
109 FAIRVIEW DR
IRWIN, PA 15642                                     P‐0025987 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAJOFSKY, PAULA D.
11 ARLINGTON ROAD
BORDENTOWN, NJ 08505‐2501                           P‐0025988 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, VERNON N.
145 TOWN LOOP APT 102
MOORESVILLE, NC 28117                               P‐0025989 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ERLACH, RAYMOND N.
27 CARNOUSTIE DRIVE
NOVATO, CA 94949                                    P‐0025990 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOONSHAFT, PETER L.
232 STEWART AVE.
GARDEN CITY, NY 11530                               P‐0025991 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACOB, ROY
1803 RIVERBEND XING
SUGAR LAND, TX 77478                                P‐0025992 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOONSHAFT, PETER L.
232 STEWART AVE.
GARDEN CITY, NY 11530                               P‐0025993 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOKOL, CATHY A.
1179 KINGSLEY LANE
AURORA, IL 60505                                    P‐0025994 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIEDLER, TROY D.
FIEDLER, JODI R.
5726 YATES AVE. N.
CRYSTAL, MN 55429                                   P‐0025995 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOONSHAFT, PETER L.
232 STEWART AVE.
GARDEN CITY, NY 11530                               P‐0025996 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CREAGAN, JEANETTE M.
CREAGAN, JEFFREY M.
2416 LEWIS RIVER ROAD
WOODLAND, WA 98674                                  P‐0025997 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLES, SHERYL A.
2509 CR 582
BRAZORIA, TX 77422                                  P‐0025998 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MISSOURI STATE UNIVERSITY
901 S. NATIONAL AVE.
ATTENTION: CENTRAL STORES
SPRINGFIELD, MO 65897                               P‐0025999 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
THOMAS, ALBERT L.
469 OAK BROOK COURT
SANTA ROSA, CA 95409                                  P‐0026000 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YACK, ROD S.
P.O. BOX 551
CARATERVILLE, IL 62918                                P‐0026001 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DANFORD, KEVIN R.
26119 NIMBLETON SQUARE
SOUTH RIDING, VA 20152                                P‐0026002 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMAR, DORIS L.
3867 HALIFAX CIRCLE
MORRISTOWN, TN 37813                                  P‐0026003 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRERA, MARIO E.
52430 AVENIDA DIAZ
LA QUINTA, CA 92253                                   P‐0026004 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULRENAN, TIM
5821 BELLFIELD LANE
HUNTINGTON BEACH, CA 92648                            P‐0026005 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULRENAN, TIM
MULRENAN, MARIETTE
                                                      P‐0026006 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYETTE, ASHLEY M.
1719 WOODSIDE DR W
WILSON, NC 27893                                      P‐0026007 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDDEN, BRANDON W.
186 ROCK RIDGE LANE
CHARMCO, WV 25958                                     P‐0026008 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHNEIDER, JOANNA K.
C/O HONDA LEASING
7746 N SHERIDAN RD.
4L
CHICAGO, IL 60626                                     P‐0026009 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REDDEN, LEXIE H.
186 ROCK RIDGE LANE
CHARMCO, WV 25958                                     P‐0026010 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIEPE, MARVIN
1733 SAINT ANDREWS DRIVE
O FALLON, IL 62269                                    P‐0026011 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, ONIA M.
5762 PINE VALLEY DRIVE
FONTANA, CA 92336‐5194                                P‐0026012 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLOCKE, THOMAS N.
FLOCKE, DIANE G.
3504 AVENUE E
NEDERLAND, TX 77627                                   P‐0026013 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEOGH, ALEXANDRA S.
516 5TH STREET
BOULDER CITY, NV 89005                                P‐0026014 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JANCUK, PAULA C.
2707 PARALLEL PATH
ABINGDON, MD 21009                                    P‐0026015 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAUSER, PHILIP D.
198 GIBSON BLVD.
VALLEY STREAM, NY 11581‐3324                          P‐0026016 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
TRUEBLOOD, DONALD R.
TRUEBLOOD, CANDACE A.
1629 N DRESSAGE ST
ORANGE, CA 92869‐1019                                P‐0026017 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAIL, ALEXANDER H.
7050 SOUTH 116TH PLACE
NO A402
SEATTLE, WA 98178                                    P‐0026018 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ULRICH, JENNIFER
8477 CO. RD. 3
OWATONNA, MN 55060                                   P‐0026019 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WERT, ROBERT J.
178 MAPLE DRIVE
FREDERICKSBURG, PA 17026                             P‐0026020 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REGALADO, THOMAS
4590 DATE AVE
APT. # 3
LA MESA, CA 91941                                    P‐0026021 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TALARICO, AMY J.
TALARICO, ROSS H.
5468 BARRETT AVENUE
EL CERRITO, CA 94530                                 P‐0026022 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANCEBO, BELKIS
4518 KING ST
METAIRIE, LA 70001                                   P‐0026023 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TALARICO, AMY J.
TALARICO, ROSS H.
5468 BARRETT AVENUE
EL CERRITO, CA 94530                                 P‐0026024 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMALLWOOD, BETTY
7951 ASPENDALE DRIVE
LAS VEGAS, NV 89123                                  P‐0026025 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEVEY, BERNARD
P.O. BOX 19423
WEST PALM BEACH, FL 33416                            P‐0026026 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANIAGA, MARIVIC C.
16520 LARCH WAY UNIT A‐002
LYNNWOOD, WA 98037                                   P‐0026027 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEHRMANN, PATRICIA C.
2201 MARIETTA STREET
CHALMETTE, :OUISIANA 70043
CHALMETTE, LA 70043                                  P‐0026028 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RICCIO, SUSAN E.
460 CLARK LANE
ORANGE, CT 06477                                     P‐0026029 11/15/2017     TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
DROZDA, MICHAEL A.
5476 N. MARTHA LOOP
COEUR D'ALENE, ID 83815                              P‐0026030 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORWITZ, JEAN E.
70 RAINBOW DR
ROCHESTER, NY 14622‐1018                             P‐0026031 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOYD, DENNIS P.
LOYD, DARLENE
2109 SOUTH STATELINE
TEXARKANA, AR 71854                                  P‐0026032 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MULDER, SALLY S.
2310 CHARLESTON CT. SE
KENTWOOD, MI 49508                                   P‐0026033 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVE, WILLIAM G.
512 LOYOLA DRIVE
NASHVILLE, TN 37205                                  P‐0026034 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDRICKSON, SHERRILEE J.
332 NORTH DRIVE
SEVERNA PARK, MD 21146‐2120                          P‐0026035 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDREWS, DEBORAH D.
9 OVERHILL DRIVE
PARLIN, NJ 08859                                     P‐0026036 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROSS, KARLEN
6416 DEER HOLLOW LN
AUSTIN, TX 78750                                     P‐0026037 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGENDORF, BERNADETTE T.
WILLIAM
P.O. BOX 875
LAKE CITY, CO 81235                                  P‐0026038 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AHMED, AHMED F.
P.O. BOX 640910
KENNER, LA 70064                                     P‐0026039 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRIOS, CRYSTAL M.
1053 N PULASKI RD 2ND FL
CHICAGO, IL 60651                                    P‐0026040 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZELOV, SVETLANA M.
ZELOV, VITALY A.
431 EWING ST
PRINCETON, NJ 08540                                  P‐0026041 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANDERS, TRESCHEL
4938 S CHAMPLAIN
#1S
CHICAGO, IL 60615                                    P‐0026042 11/15/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
TRYDER, BONNIE L.
52 JANE ROAD
METHUEN, MA 01844                                    P‐0026043 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CUSHENBERY, JESSE T.
623 GILCREST ROAD
COLORADO SPRINGS, CO 80906                           P‐0026044 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PFEIFFER, NADINE A.
1340 GARDEN CREST CIRCLE
RALEIGH, NC 27609                                    P‐0026045 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHENS, JOHN G.
2531 PINE CIRCLE
URBANDALE, IA 50322                                  P‐0026046 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIORGI, KAREN
455 VISTA GRANDE
GREENBRAE, CA 94904                                  P‐0026047 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISHOP DAVIS, MARILYN D.
8685 MISTRAL AVE
LAS VEGAS, NV 89148                                  P‐0026048 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOLERO FERRER, JOSE J.
1407 PARKVIEW LN
DAVENPORT, IA 52807                                  P‐0026049 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
SCHAFF, HOWARD B.
SCHAFF, RHONDA
4418 N TIVERTON PLACE
BOISE, ID 83702                                      P‐0026050 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
HOMMER, LATRICE M.
3551 DAY AVENUE
MIAMI, FL 33133‐4944                                 P‐0026051 11/7/2017      TK Holdings Inc., et al .                 $1,000,000.00                                                                                $1,000,000.00
STANLEY, PAIGE A.
2025 ROBSON PLACE, NE
ATLANTA, GA 30317                                    P‐0026052 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
WALKER, DOROTHY S.
104 ADA STREET
WEST MONROE, LA 71291‐7234                           P‐0026053 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
GOODMAN, STEVEN M.
7689 NORTH LONGVIEW DRIVE
GLENDALE, WI 53209‐1863                              P‐0026054 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
BICKLEMAN, FREDERICK R.
72 BICKLEMAN ROAD
SHINGLEHOUSE, PA 16748                               P‐0026055 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
KING, SHARON R.
KING, WARREN T.
2135 KELLINGTON DRIVE
MCDONOUGH, GA 30253                                  P‐0026057 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
MWANIKA, KOMORA M.
44 RICKARD STREET APT A11
CORTLAND, NY 13045                                   P‐0026058 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
GRIFFIN, JOYCE C.
1608 ANDERSON ST.
WILSON, NC 27893                                     P‐0026059 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
STEELE, DOUGLAS M.
161 EASY ST
CEDAR BLUFF, VA 24609‐8672                           P‐0026060 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
PATTON, CHARLES P.
43 PINE RIDGE ROAD
ASHEVILLE, NC 28804                                  P‐0026061 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
MCELROY, MARY E.
1315 THOMPSON ST.
TAYLOR, TX 76574                                     P‐0026062 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SULLIVAN, DEBORAH S.
121 PLATEAURD
MONTEUALLO, AI 35115                                 P‐0026063 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
FLANIGAN, MICHAEL E.
4500 N WINCHESTER AVENUE
APT 204
CHICAGO, IL 60640                                    P‐0026064 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
WU, JIAWEN
28446 ETTA AVENUE
HAYWARD, CA 94544                                    P‐0026065 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
EHLER, KIRBY L.
5011 HOLLISTER LOOP
EL DORADO HILLS, CA 95762                            P‐0026066 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
MORENO, JOSE A.
741 S. SADLER AVE.
LOS ANGELES, CA 90022                                P‐0026067 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00



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                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
BAZZEL, ALICIA
12727 SW 116TH AVE
TIGARD, OR 97223                                       P‐0026068 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MELLON, JAMES
DARR, MELISSA
20 WESTMINSTER DR
FRONT ROYAL, VA 22630                                  P‐0026069 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORMAN, NICOLAS G.
ORMAN, CHELSIE L.
19082 LAMBERT WAY
LOCKEFORD, CA 95237                                    P‐0026070 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, ANTHONY J.
RODRIGUEZ, MARILYN A.
5348 MONLACO ROAD
LONG BEACH, CA 90808                                   P‐0026071 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NATION, TERRY W.
NATION, KAREN A.
P.O. BOX 603
CHEYENNE, WY 82003                                     P‐0026072 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANTOS, MARIA IRENE O.
20602 E ARROW HWAY # 3
COVINA, CA 91724                                       P‐0026073 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAFFERTY, JOSEPH T.
25 CHESTNUT ST
APT 4‐I
NORWALK, CT 06854                                      P‐0026074 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOBELMAN, DEBORAH L.
HOBELMAN, BRUE S.
6710 LACROIX DR
LINCOLN, NE 68526                                      P‐0026075 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FEINBERG, ABE
HALL‐FEINBERG, JOAN
1121 ASHMONT AVE
OAKLAND, CA 94610                                      P‐0026076 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STURLEY, WILLIAM K.
20705 SMALLWOOD CT
BEVERLY HILLS, MI 48025‐2715                           P‐0026077 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STURLEY, BETTY J.
20705 SMALLWOOD CT
BEVERLY HILLS, MI 48025 2715                           P‐0026078 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAVEZ, GORGE
470 PELHAM RD APT 3A
NEW ROCHELLE, NY 10805                                 P‐0026079 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUI, ANDREW
FUNG, VIVIEN
11341 CIELO PL
NORTH TUSTIN, CA 92705                                 P‐0026080 11/15/2017     TK Holdings Inc., et al .                     $310.32                                                                                       $310.32
SCHLEITER, KATHERINE A.
1111 WHITFIELD ROAD
NORTHBROOK, IL 60062                                   P‐0026081 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORTEZ, BETTY L.
P.O. BOX 4643
CLEARLAKE, CA 95422                                    P‐0026082 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
J & J BORING, INC.
P.O. BOX 357
WINFIELD, MO 63389                                     P‐0026083 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SAWICKI, ROBERT F.
309 PITCHFORD ST.
WALHALLA, SC 29691                                   P‐0026084 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, SHARLA J.
336 PEARL DRIVE
LIVERMORE, CA 94550‐3936                             P‐0026085 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HALL, ANDREA J.
25790 BRANCHASTER
FARMINGTON HILLS, MI 48336‐1643                      P‐0026086 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANSFIELD, TED
1525 143RD AVE SE
BELLEVUE, WA 98007                                   P‐0026087 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRICE, CHRISTINA G.
23130 JACOCK RD
SLAUGHTER, LA 70777                                  P‐0026088 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAWICKI, EARLINE
309 PITCHFORD ST.
WALHALLA, SC 29691                                   P‐0026089 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAZZA, BRYAN E.
MAZZA, DEBORAH A.
8661 SE 60TH ST
MERCER ISLAND, WA 98040                              P‐0026090 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, ERIC E.
45716 IMPERIAL SQUARE
APT 408
STERLING, VA 20166                                   P‐0026091 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARA, LEEANNA
4330 E SALISHAN BLVD.
TACOMA, WA 98404                                     P‐0026092 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSALES, LISANDRO L.
5444 BANDERA ST APT 134
LOS ANGELES, CA 90058                                P‐0026093 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARISH, JULIE L.
PARISH, FRANK
5207 VENETIAN DRIVE
FAIRFIELD, CA 94534                                  P‐0026094 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IACOVELLI, VALERIE M.
309 ACADEMY DR
VESTAL, NY 13850                                     P‐0026095 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONIA, DAVID
2094 XANADU LOOP
THE VILLAGES, FL 32163                               P‐0026096 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOREL, ELIZABEHT A.
2933 E LAKE SAMMAMISH PKWY SE
SAMMAMISH, WA 98075                                  P‐0026097 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINTER, VICTOR
35 JASPER STREET
STATEN ISLAND, NY 10314                              P‐0026098 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIXON, BRYAN S.
DIXON, MARLENE O.
10114 DUNDALK STREET
N/A
FAIRFAX, VA 22032                                    P‐0026099 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HICKS, RALPH E.
HICKS, CHRISTINE F.
21 LYFORD RD.
SPENCER, MA 01562                                    P‐0026100 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDIMAN, JEREMY
12305 RICHMOND AVE
GRANDVIEW, MO 64030                                  P‐0026101 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIRBY, GARY L.
1600 ARCHER CIR
SHERMAN, TX 75092                                    P‐0026102 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUBEL, GINA L.
8105 COUNTY ROAD A
LANCASTER, WI 53813                                  P‐0026103 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUNTER, SUAN
13523 EAGLES REST DR
LEESBURG, VA 20176                                   P‐0026104 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSORIO, GERARDO A.
25 HOOKS LN
EDGEWATER, NJ 07020                                  P‐0026105 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHEELER, MICHAEL L.
604 MOUNTAIN TOP DRIVE
CHATHAM, VA 24531                                    P‐0026106 11/10/2017     TK Holdings Inc., et al .                   $26,000.00                                                                                   $26,000.00
ROBSON, RICKEY A.
ROBSON, DENISE A.
829 SUCCESS AVENUE
LAKELAND, FL 33801                                   P‐0026107 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRESNAHAN, THOMAS M.
BRESNAHAN, BARBARA J.
3705 ST GERMAINE CT
LOUISVILLE, KY 40207                                 P‐0026108 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVERSON, PHILIP D.
EVERSON, JUDY A.
1217 3RD ST N
MONROE, WI 53566                                     P‐0026109 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SACHS, STEVE B.
4026 REXFORD B
BOCA RATON, FL 33434                                 P‐0026110 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KING, STEPHANIE A.
1220 TASMAN DR
SPC 16
SUNNYVALE, CA 94089                                  P‐0026111 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURRAY, CRAIG F.
32 LOWELL DRIVE
MARLTON, NJ 08053                                    P‐0026112 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCLORY ALCOCK, JOANNE
1645 N 75TH CT
ELMWOOD PK, IL 60707‐4130                            P‐0026113 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, CURTIS L.
18701 OAK FIELD
DETROIT, MI 48235                                    P‐0026114 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PORTER, PAUL H.
PORTER, ANITA M.
300 EAST CHURCH STREET
APARTMENT 1105
ORLANDO, FL 32801‐3536                               P‐0026115 11/8/2017      TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MONGE, MARY L.
4578 CARRIAGE HILL LANE
COLUMBUS, OH 43220                                   P‐0026116 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEZIALE, ANGIE L.
2218 MARIGOLD CIRCLE
CHENEY, WA 99004                                     P‐0026117 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAYNE, PHILIP P.
712 RANDOLPH AVE SE
HUNTSVILLE, AL 35801‐3605                            P‐0026118 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POLUS, BRUCE J.
7045 WEST 145TH STREET
ST. PAUL, MN 55124‐8515                              P‐0026119 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOMAY, GERALD G.
112 WASHINGTON LK
BROOKLYN, MI 49230                                   P‐0026120 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURNETT, TARNEISHA L.
4518 HWY 161
NORTH LITTLEROCK, AR 72117                           P‐0026121 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIMAN, CAROLYN A.
343 BILLYVILLE ROAD
MIFFLINTOWN, PA 17059                                P‐0026122 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FIELDS, DOROTHY A.
3222 CLARK LANE
SOUTH PLAINFIELD, NJ 07080                           P‐0026123 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAULK, WILLIAM R.
FAULK, REBECCA A.
6014 SHAKESPEARE DRIVE
BATON ROUGE, LA 70817                                P‐0026124 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MESI, JOSEPH D.
12 AMY DRIVE
SAYVILLE, NY 11782                                   P‐0026125 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SULLIVAN, CAROL A.
162 PARKSIDE DRIVE
ANNVILLE, PA 17003                                   P‐0026126 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DRUILHET, PERLA
1201 10TH STREET
MANHATTAN BEACH, CA 90266                            P‐0026127 11/9/2017      TK Holdings Inc., et al .                   $30,000.00                                                                                   $30,000.00
SHEA, JOHN J.
1325 REIN ROAD
OAKLAND, MI 48363                                    P‐0026128 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RAMSEY, TERRI L.
RAMSEY‐NICKELSON, YVONNE R.
29346 ELDON
FARMINGTON HILLS, MI 48336                           P‐0026129 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TODD, DAVID H.
20 SUNSET DRIVE
SEBASTIAN, FL 32958                                  P‐0026130 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIDGEWAY, LAQUITHA
LAQUITHA R.
P.O. BOX 1145
LIVINGSTON, AL 35470                                 P‐0026131 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILMAN, GREGORY R.
910 MAIN STREET
APT. # 705
MELROSE, MA 02176                                    P‐0026132 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
GAVIN, LLOYD A.
1213 CEDARBROOK WAY
SACRAMENTO, CA 95831                                P‐0026133 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HASTINGS, ZISCA M.
9000 EAST PRAIRIE RD
EVANSTON, IL 60203                                  P‐0026134 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICKENS, DIANE E.
215 BARK LANE
N/A
SAN ANTONIO, TX 78233                               P‐0026135 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FELLENZ, SARAH
1771 BRYAN AVE
WINTER PARK, FL 32789                               P‐0026136 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAN‐NGUYEN, JAMES V.
4704 SHOSHONI AVE
SAN DIEGO, CA 92117                                 P‐0026137 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITENER, KELLY A.
914 WHEELER AVE
HOQUIAM, WA 98550                                   P‐0026138 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FINKEL, JORI
2782 MONTE MAR TERRACE
LOS ANGELES, CA 90064                               P‐0026139 11/15/2017     TK Holdings Inc., et al .                    $9,976.00                                                                                    $9,976.00
STRAUB, JEFFREY D.
37108 MISSISSIPPI DRIVE
PLANTATION PARK
FRANKFORD, DE 19945                                 P‐0026140 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, DIONNE E.
3512 RENWICK AVE
ELK GROVE, CA 95758                                 P‐0026141 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILES, ALEXANDER S.
WILES, JENNIFER N.
802 BELLEVUE BOULEVARD SOUTH
BELLEVUE, NE 68005                                  P‐0026142 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUKHAMSIN, JAFAR A.
783 GATUN ST UNIT 114
SAN PEDRO, CA 90731                                 P‐0026143 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAN DE POEL, JOHN F.
VAN DE POEL, DOROTHY A.
8 AVIS CT
ORINDA, CA 94563                                    P‐0026144 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCBRIDE, MICHAEL J.
1299 PALMER AVENUE
LARCHMONT, NY 10538                                 P‐0026145 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUBENSTEIN, ALLEN M.
RUBENSTEIN, JACQUELINE P.
3761 WRIGHTWOOD DRIVE
STUDIO CITY, CA 91604                               P‐0026146 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEGG, MARLENE L.
2611 W. CLARK AVENUE
APT C
BURBANK, CA 91505                                   P‐0026147 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUSA, YASHIM
5939 W FRIENDLY AVE APT. 62H
GREENSBORO, NC 27410                                P‐0026148 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
DURBALA, RAYMOND E.
11063 HERMITAGE RUN
LITTLETON, CO 80125                                 P‐0026149 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARVER, PHILIP L.
GARVER, KIM L.
15917 E. CRESTRIDGE PL.
CENTENNIAL, CO 80015                                P‐0026150 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BULOTANO, JULIE F.
783 GATUN ST UNIT 114
SAN PEDRO, CA 90731                                 P‐0026151 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PULIZZANO, JOSEPH
406 S RIVER RD
PORT ALLEN, LA 70767                                P‐0026152 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEELE, JOHNATHAN
4820 N. 53 RD ST
MILWAUKEE, WI 53218                                 P‐0026153 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, KARILYN A.
4236 KRIS LINE DR
WATERLOO, IA 50701                                  P‐0026154 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRISWELL, KAY L.
115BROADWAY E
APT 3
MONTESANO, WA 98563                                 P‐0026155 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, JOYCE M.
832 CLIFTON BLVD
TOLEDO, OH 43607                                    P‐0026156 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVENE, BEVERLY S.
2946 RENAULT STREET
SAN DIEGO, CA 92122                                 P‐0026157 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MERRITT, CLINT B.
216 STATION DRIVE
MORRISVILLE, NC 27560                               P‐0026158 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WENTWORTH JR, LEONARD P.
BROWN, DOROTHY P.
8814 HOWLING FOX COVE
HERNANDO, MS 38632                                  P‐0026159 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIPAOLA, PHIL J.
DIPAOLA, MARILYNN
22232 CRAFT COURT
CALABASAS, CA 91302                                 P‐0026160 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YONG, JAY TZE
21626 E SLEEPY HOLLOW CT
WALNUT, CA 91789                                    P‐0026161 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABUKHAMSIN, JAFAR
783 GATUN ST UNIT 114
SAN PEDRO, CA 90731                                 P‐0026162 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOKANSON, FON
2327 BURGENER BLVD.
SAN DIEGO, CA 92110                                 P‐0026163 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, DOROTHY P.
8814 HOWLING FOX COVE
HERNANDO, MS 38632                                  P‐0026164 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WU, WENDY
28446 ETTA AVENUE
HAYWARD, CA 94544                                   P‐0026165 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
KAROTKO, DESIREE N.
25689 LETICIA DR
VALENCIA, CA 91355                                   P‐0026166 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MISSOURI STATE UNIVERSITY
901 S. NATIONAL AVE.
ATTENTION: CENTRAL STORES
SPRINGFIELD, MO 65897                                P‐0026167 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADELMANN, JULIE A.
104 CR‐6
OTEGO, NY 13825                                      P‐0026168 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUTTORMSEN, MELVILLE B.
GUTTORMSEN, FRANCES M.
148 OLD WOLFEBORO RD
ALTON, NH                                            P‐0026169 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREIER, SUSAN M.
2946 RENAULT STREET
SAN DIEGO, CA 92122                                  P‐0026170 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANCIS, CARLY T.
1405 BENFIELD AVE
NEW BERN, NC 28562                                   P‐0026171 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADELMANN, DANIEL P.
104 CR‐6
OTEGO, NY 13825                                      P‐0026172 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHATZ, ARTHUR D.
SALEM‐SCHATZ, SUSANNE R.
475 HURON AVE
#2
CAMBRIDGE, MA 02318                                  P‐0026173 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOORY, WANDA
8014 VALLEY STREET
OMAHA, NE 68124                                      P‐0026174 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ORDONEZ‐GAUGER, LUCIA
1169 WESTVIEW DR.
NAPA, CA 94558                                       P‐0026175 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOCKE, VICTORIA R.
4405 DARTMOOR LANE
ALEXANDRIA, VA 22310                                 P‐0026176 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MISSOURI STATE UNIVERSITY
901 S. NATIONAL AVE.
ATTENTION: CENTRAL STORES
SPRINGFIELD, MO 65897                                P‐0026177 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CERDA, LUIS
23115 CHERRY AVENUE
LAKE FOREST, CA 92630                                P‐0026178 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHIBLA, SANDRA L.
6300 HIGHLANDS CT
PONTEVEDRA BEACH, FL 32082                           P‐0026179 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DALE, JOSHUA R.
3500 ROSEHEDGE DR
FULLERTON, CA 92835                                  P‐0026180 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AMIR DEVELOPMENT CO.
8730 WILSHIRE BLVD.
SUITE 300
BEVERLY HILLS, CA 90211                              P‐0026181 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
SCHATZ, ARTHUR D.
SALEM‐SCHATZ, SUSANNE R.
475 HURON AVE.
#2
CAMBRIDGE, MA 02138                                   P‐0026182 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RESPES, TONYA
17 S. SICKLES ST
PHILADELPHIA, PA 19139                                P‐0026183 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SLACK, SHARON M.
2351 MAPLE AVE
MORROW, GA 30260                                      P‐0026184 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REFAH, IRAJ
26041 VIA CONCHA
MISSION VIEJO, CA 92691                               P‐0026185 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LENZNER‐CERTO, TRACY
1 LYNCHBURG COURT
ORCHARD PARK, NY 14127                                P‐0026186 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOKS, KRISTIN L.
428 VALIANT CIR
GLEN BURNIE, MD 21061                                 P‐0026187 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MESSINGER, IVAN L.
5421 OXFORD CHASE WAY
ATLANTA, GA 30338                                     P‐0026188 11/15/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
TRAUTMANN, DEAN C.
5173 EARL DRIVE
LA CANADA FLINTR, CA 91011‐1622                       P‐0026189 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIGGS, MATTIE
P.O. BOX 452984
LOS ANGELES, CA 90045                                 P‐0026190 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOWELL, SUSAN A.
37 CONNECTICUT DR.
PLAINFIELD, CT 06374                                  P‐0026191 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARBER, MONA M.
P.O. BOX 222586
CARMEL, CA 93922                                      P‐0026192 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHLENKER, VIRGIL L.
LABORDE, BRANDI A.
1134 DONNEL RD.
BROUSSARD, LA 70518                                   P‐0026193 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLAMSER, ANDREW S.
P.O. BOX 4394
HOMER, AK 99603                                       P‐0026194 11/15/2017     TK Holdings Inc., et al .                    $2,140.00                                                                                    $2,140.00
DESHRAGE, MANDY F.
232 STEWART AVE.
GARDEN CITY, NY 11530                                 P‐0026195 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PINYAN, ALISON J.
24836 MULHOLLAND HIGHWAY
CALABASAS, CA 91302                                   P‐0026196 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMELTER, LAURA E.
3455 STATE HIGHWAY 110
GRAND SALINE, TX 75140                                P‐0026197 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEWIS, CHARLES E.
1646 ROCKHILL RD
STARKVILLE, MS 39759                                  P‐0026198 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BRIATO, LINDA E.
P.O. BOX 1625
TWAIN HARTE,, CA 95383                                P‐0026199 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, ERIKA J.
27887 CACTUS AVE #B
MORENO VALLEY                                         P‐0026200 11/15/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
FLETCHER, MARY P.
4906 FARM POND LANE
CHARLOTTE, NC 28212                                   P‐0026201 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STARNES, MICHAEL C.
6785 W 52ND AVE
ARVADA, CO 80002                                      P‐0026202 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, WILEY
135 LEXINGTON LANE
FAYETTEVILLE, GA 30214                                P‐0026203 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPMAN, JANET F.
300 SHILOH ROAD
SULPHUR SPRINGS, TX 75482                             P‐0026204 11/15/2017     TK Holdings Inc., et al .                    $3,400.00                                                                                    $3,400.00
MUEHLBERGER, GERALD L.
956 DIAMOND RIDGE
BOERNE, TX 78006                                      P‐0026205 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALAS, JILLIAN M.
1901 WINDSORDALE DR.
RICHMOND, VA 23229                                    P‐0026206 11/15/2017     TK Holdings Inc., et al .                    $6,625.00                                                                                    $6,625.00
WONG, LING W.
2500 EMMA AVENUE
DES MOINES, IA 50321                                  P‐0026207 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, CAROLYN J.
HENDERSON, NOEL A.
13126 234TH COURT NE
REDMOND, WA 98053                                     P‐0026208 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENSLEY, NATHAN
874 ATLANTIC CITY AVE
GROVER BEACH, CA 93433                                P‐0026209 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAGY, ADRIENNE
72 LILYAN ST
WALDWICK, NJ 07463                                    P‐0026210 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARROW, KARSTEN W.
47 PARK AVENUE
APT 1
DANBURY, CT 06810                                     P‐0026211 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHULACK, PETER G.
175 LEAVITT RD APT#5
PITTSFIELD, NH 03263                                  P‐0026212 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LARAMEY, THOMAS A.
104 S. CUERNAVACA DR.
AUSTIN, TX 78733                                      P‐0026213 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WICKERSHAM, KIMBERLY O.
632 WARD CREEK CT
BRENTWOOD, CA 94513                                   P‐0026214 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MULDER, SAMUEL S.
5360 MONTEREY RD APT 1
SAN JOSE, CA 95111                                    P‐0026215 11/15/2017     TK Holdings Inc., et al .                   $11,000.00                                                                                   $11,000.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
HENDERSON, NOEL A.
HARRIS, CAROLYN J.
13126 234TH COURT NE
REDMOND, WA 98053                                    P‐0026216 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, JOE
361 N. VALENCIA BLVD.
WOODLAKE, CA 93286                                   P‐0026217 11/15/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
GILL, SUSAN W.
146 E. WAYCLIFF RD.
HENDERSON, NC 27537                                  P‐0026218 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WERTZ, RICHARD L.
WERTZ, NANCY L.
735 SECOND STREET
BEAVER, PA 15009                                     P‐0026219 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GILL, SUSAN W.
146 E. WAYCLIFF RD.
HENDERSON, NC 27537                                  P‐0026220 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACY, ROANE M.
BOX 21625
WACO, TX 76702                                       P‐0026221 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUBENSTEIN, ALLEN M.
RUBENSTEIN, JACQUELINE P.
3761 WRIGHTWOOD DRIVE
STUDIO CITY, CA 91604                                P‐0026222 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEIDNER, STEPHEN J.
2540 COUNTRY HILLS RD
APT 126
BREA, CA 92821                                       P‐0026223 11/15/2017     TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
IWANAGA, SHUJI
IWANAGA, MARGARET M.
516 TEPIC PL
SANTA BARBARA, CA 93111‐1607                         P‐0026224 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BITLER, SARA
SHANLEY, PAUL
614 GALLERY COURT
FAIRFIELD, CA 94534                                  P‐0026225 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABRAM, PAUL H.
35946 HIGHLAND DR. E.
WISHON, CA 93669                                     P‐0026226 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHOEMAKER, SCOT D.
P.O. BOX 1769
VALLEJO, CA 94590                                    P‐0026227 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LE, THUYHANG V.
4704 SHOSHONI AVE
SAN DIEGO, CA 92117                                  P‐0026228 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOBO, EMILY M.
BOBO, LOUIS A.
14110 NE 240TH ST
BATTLEGROUND, WA 98604                               P‐0026229 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WU, WENDY
28446 ETTA AVENUE
HAYWARD, CA 94544                                    P‐0026230 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEIDNER, STEPHEN J.
2540 COUNTRY HILLS RD
APT 126
BREA, CA 92821                                       P‐0026231 11/15/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RAFFERTY, KIMBERLEY
1064 WHISPERING WOODS DRIVE
CANTON, GA 30114                                     P‐0026232 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LE, HELENE T.
4704 SHOSHONI AVENUE
SAN DIEGO, CA 92117                                  P‐0026233 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHOEMAKER, SCOT D.
P.O. BOX 1769
VALLEJO, CA 94590                                    P‐0026234 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNLAP, CONLEY D.
6688 CAPON RIVER RD
YELLOW SPRING, WV 26865‐9013                         P‐0026235 11/7/2017      TK Holdings Inc., et al .                   $20,000.00                                                                                   $20,000.00
KEMP, AIMEE R.
273 PERRILLOUX ROAD
MADISONVILLE, LA 70447                               P‐0026236 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEHBOUD, MOURIS
3909 WESTFALL DRIVE
ENCINO, CA 91436                                     P‐0026237 11/15/2017     TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
MA, PENNY
NAVID, AMIR
4504 SHERMAN OAKS AVENUE
SHERMAN OAKS, CA 91403                               P‐0026238 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLETCHER, MARY P.
4906 FARM POND LANE
CHARLOTTE, NC 28212                                  P‐0026239 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TOBON, JASON
1589 PETERS GATE
EAST MEADOW, NY 11554‐1529                           P‐0026240 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ECONOMOU, JASON P.
2121 RAVEN TOWER CT
APT 405
HERNDON, VA 20170‐5868                               P‐0026241 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANTON, JOHN T.
STANTON, ROBIN M.
20849 CROWELY
ST. CLAIR SHORES, MI 48081                           P‐0026242 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORR, ROBERT D.
3961 ALBACORE LANE
LAKE HAVASU CITY, AZ 86405                           P‐0026243 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAUGHNESSY, MICHAEL P.
8822 CLIFTON WAY
MOKENA, IL 60448                                     P‐0026244 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCHAND, BARBARA R.
3 MICHAEL RD
DRACUT, MA 01826‐3106                                P‐0026245 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARINOS, GEORGE E.
MARINOS, EVE M.
440 EAST MONTROSE AVE.
#410
WOOD DALE, IL 60191‐2142                             P‐0026246 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAPE, RANDALL E.
1969 EAGLE GLEN DR
ROSEVILLE, CA 95661                                  P‐0026247 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARRANZA, MIGUEL A.
1347 REDMOND CIR B8
ROME, GA 30165                                       P‐0026248 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                  Current General                                         Current 503(b)(9)
                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
BLACK, JOSHUA S.
180 MACK STREET
GASTON, SC 29053                                   P‐0026249 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAITT, JOEAN H.
75 WHITE OAK STREET
#1E
NEW ROCHELLE, NY 10801                             P‐0026250 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLACK, JOSHUA S.
180 MACK STREET
GASTON, SC 29053                                   P‐0026251 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLY, JASON A.
BLY, JULIE A.
16759 EVENING STAR DRIVE
ROUND HILL, VA 20141                               P‐0026252 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISHOP, JEFFREY M.
18321 ALPS DR
TEHACHAPI, CA 93561                                P‐0026253 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOUSMAN, KIMBERLY C.
83 BROOKSHIRE DRIVE
WARRENTON, VA 20186                                P‐0026254 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LECHMAN, CAROL L.
3809 E. MANDEVILLE PLACE
ORANGE, CA 92867                                   P‐0026255 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUSH, SHANTRICE
20838 MAY SHOWERS CIRCLE
HOUSTON, TX 77095                                  P‐0026256 11/15/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
BARRETT, DAVID K.
1637 SW 340TH ST
FEDERAL WAY, WA 98023                              P‐0026257 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, NORMA J.
P.O. BOX 7164
RAINBOW CITY, AL 35906                             P‐0026258 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPENCER, MARTHA J.
9123 IMPERIAL CASTLE CT
LAS VEGAS, NV 89147                                P‐0026259 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROCK, NICHOLETTE M.
5304 EDMONDSON PIKE
#1
NASHVILLE, TN 37211                                P‐0026260 11/15/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
COWELL, RAQUEL A.
COWELL, JASON M.
2460 BITTERSWEET AVENUE
ALLOUEZ, WI 54301                                  P‐0026261 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIRGIS, SARAH L.
7223 ADAMS STREET, APT 3
FOREST PARK, IL 60130                              P‐0026262 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROYTBERG, EDUARD
6989 GALATINA PL
RANCHO CUCAMONGA, CA 91701                         P‐0026263 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KANDLER, JAMES A.
KANDLER, JAMES A.
617 ORCHID DR
BAKERSFIELD, CALIFORNIA                            P‐0026264 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIM, HONG C.
5639 LICK RIVER LANE
GAINESVILLE, VA 20155                              P‐0026265 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
COCANOUR, SCOT
14702 168TH AVE NE
WOODINVILLE, WA 98072                                 P‐0026266 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAMMON, ROGER S.
MAMMON, CYNTHIA B.
4720 OAK FOREST AVENUE
OAKLEY
OAKLEY, CA 94561                                      P‐0026267 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONNA, KIMBERLY
‐1861 BROWN BLVD. STE. 217‐64
ARLINGTON, TX 76006                                   P‐0026268 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HIPPENSTEEL, LUZ M.
33730 WILLOW HAVEN LANE
UNIT 102
MURRIETA, CA 92563‐3452                               P‐0026269 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTS, REGINA T.
815 2ND ST.
POCOMOKE CITY, MD 21851                               P‐0026270 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOREEN, DOUGLAS O.
12647 S. OX CART TRAIL
VAIL                                                  P‐0026271 11/15/2017     TK Holdings Inc., et al .                   $12,000.00                                                                                   $12,000.00
NATALE, DANIEL
10407 MOUNT VERNON DR.
MANASSAS, VA 20111                                    P‐0026272 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LORD, PRESTON A.
BERARDI‐LORD, ANN M.
2826 NW 94TH ST
SEATTLE, WA 98117                                     P‐0026273 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KEECH, ELIZABETH D.
P.O. BOX 5186
S. SAN FRANCISCO, CA 94083‐5186                       P‐0026274 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUDD, WILLIAM A.
SEYMOUR, GLADYS G.
8403 QUAILFIELD ROAD
MECHANICSVILLE, VA 23116                              P‐0026275 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEPHENS, EVELYN J.
1055 57TH STREET
POLK COUNTY
DES MOINES, IA 50311                                  P‐0026276 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHUBB, LAWRENCE E.
5490 EASTCHESTER WAY
GLADWIN, MI 48624                                     P‐0026277 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EBEY, JOANN H.
12855 CUNNINGHILL COVE RD.
BALTIMORE, MD 21220‐1178                              P‐0026278 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, HOLLY M.
620 NORTH STREET
EAST WEYMOUTH, MA 02189                               P‐0026279 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARCIA, GEOFFREY B.
GARCIA, M. V.
1458 E. MULBERRY WAY
SANDY, UT 84093                                       P‐0026280 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCREERY, FORBES
P O BOX 3128
IDAHO SPRIGS, CO 80452                                P‐0026281 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
JACOBS, JILL A.
784 STONE CHURCH ROAD
BERWICK, PA 18603                                     P‐0026282 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHI, DANNY
12000 MARKET ST. #183
RESTON, VA 20190                                      P‐0026283 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOWLES, CHRISTOPHER A.
1777 NORTH 350 WEST
LAYTON, UT 84041                                      P‐0026284 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PODRAT, JOSHUA A.
219 NORTH AVENUE APT 2
EAST PITTSBURGH, PA 15112                             P‐0026285 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARINO, JUDY K.
7610
LAKERIDGE CIRCLE
ELK GROVE, CA 95624                                   P‐0026286 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAIG, ANDREW D.
CRAIG, DEBBIE A.
1 KNUTSON DRIVE
MADISON, WI 53704                                     P‐0026287 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ‐VALENCIA, JENNIFER K.
415 N. 2ND ST
UNIT 239
SAN JOSE, CA 95112                                    P‐0026288 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, STEPHANIE
1411 SIDNEY DRIVE
BAKERSFIELD, CA 93304                                 P‐0026289 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TREHY, NOLAN K.
NOLAN TREHY
3216 DEERCHASE WYND
DURHAM, NC 27712                                      P‐0026290 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ZAZYNSKI, NICOLE L.
501 SCHUYLER AVE
ELMIRA, NY 14904                                      P‐0026291 11/15/2017     TK Holdings Inc., et al .                    $3,454.00                                                                                    $3,454.00
MCNEAL, JACK F.
MCNEAL, CYNTHIA E.
13482 EDGE ROCK COURT
CHANTILLY, VA 20151                                   P‐0026292 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AUBERT, KIM T.
7811 SANDPIPER DR
NEW ORLEANS, LA 70128                                 P‐0026293 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VAIL, JACQUELYN R.
98136 44TH AVE SW
SEATTLE
, WA 98136                                            P‐0026294 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OAKLEY, DANIEL J.
OAKLEY, HEATHER J.
3124 GOLDEN EAGLE LN
MODESTO, CA 95356                                     P‐0026295 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOONAN, CHRISTOPHER R.
FABELA, STEPHANIE A.
2518 GROVE AVE
CORONA, CA 92882                                      P‐0026296 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEAD, DAVID P.
P O BOX 162
MAHOPAC, NY 10541                                     P‐0026297 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GARCIA GALLARDO, JOSE L.
524 PEACE ST
ARVIN, CA 93203                                      P‐0026298 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMSON, PATRICIA A.
WILLIAMSON, NOLAN D.
P.O. BOX 204
MINEOLA, IA 51554                                    P‐0026299 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENTY, ROBIN
232 S TOWER DR
APT G
BEVERLY HILLS, CA 90211                              P‐0026300 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ESCRIBANO, ARTURO J.
9145 SW 227TH ST
APT 8
CUTLER BAY, FL 33190                                 P‐0026301 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, REGINALD L.
B., J. A.
250 DOCDARBYSHIRE RD STE.1
N/A
MOULTRIE, GA 31788                                   P‐0026302 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, ANDREW S.
YOUNG, STEPHANIE F.
4584 FELTON STREET APT 1
SAN DIEGO, CA 92116                                  P‐0026303 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LUQUE, ANDRE E.
207 WHITE BLOSSOM CIRCLE
BRYANT, AR 72022                                     P‐0026304 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COSTELLO, ALBERTA R.
COSTELLO, ARTHUR B.
244 NORFOLK DRIVE
WARRENTON, VA 20186                                  P‐0026305 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARKER, KEITH L.
5712 RIVER RD
SO. CHESTERFIELD, VA 23803                           P‐0026306 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, GREGORY A.
2177 IVEY CREEK WAY
STONE MOUNTAIN, GA 30087                             P‐0026307 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIPAOLA, PHILIP J.
DIPAOLA, MARK
22232 CRAFT COURT
CALABASAS, CA 91302                                  P‐0026308 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
INCREMONA, JOSEPH H.
13858 22ND STREET CT N
STILLWATER, MN 55082                                 P‐0026309 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOLGIN, AARON
19831 REDWING STREET
WOODLAND HILLS, CA 91364                             P‐0026310 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOLTON, HOUSTON L.
1750 E 74TH ST
CHICAGO, IL 60649‐3134                               P‐0026311 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, CURTIS
3912 W. 76TH PLACE
CHICAGO, IL 60652                                    P‐0026312 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PALUMBI, GIOVANNI S.
1044 REDOAK DR
HARRISON CITY, PA 15636                              P‐0026313 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
FRYBRGER, RICHARD S.
FRYBERGER, ELIZABETH A.
3399 RILEY RD
DULUTH, MN 55803                                     P‐0026314 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KATO, CHARLES S.
3161 NORTH WILSON WAY
APT 15
STOCKTON, CA 95205                                   P‐0026315 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAVARRO, EVERARDO
3811 LIVE OAK ST
CUDAHY, CA 90201                                     P‐0026316 11/15/2017     TK Holdings Inc., et al .                     $816.00                                                                                       $816.00
ROLLER, JEAN E.
901STONY CREEK ROAD
LYNCH STATION, VA 2471                               P‐0026317 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DACHTLER, SHAWN
DACHTLER, DAISY
13875 TRAVELER RD
OREGON CITY, OR 97045                                P‐0026318 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THEODOTOU, ANDREW V.
THEODOTOU, ANN M.
4555 GAYWOOD DR.
MINNETONKA, MN 55345                                 P‐0026319 11/15/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
PATTERSON II, RITCHIE T.
2207 PICKETT STREET
HOPEWELL, VA 23860                                   P‐0026320 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOLK, GARY L.
1595 MERIDIAN RANCH DRIVE
RENO, NV 89523                                       P‐0026321 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATTERSON, RITCHIE T.
2207 PICKETT STREET
HOPEWELL, VA 23860                                   P‐0026322 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DORKEN, DEBORAH
6553 W. 64TH PLACE #1W
CHICAGO, IL 60638                                    P‐0026323 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUGGER, DARA J.
2550 HUNTINGTON AVE #516
ALEXANDRIA, VA 22303                                 P‐0026324 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUMEISTER, ANGELA M.
2705 E 38TH STREET
DES MOINES, IA 50317                                 P‐0026325 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUPRE, ANTHONY P.
DUPRE, THELMA D.
6680 WEST MAIN
HOUMA, LA 70360                                      P‐0026326 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BJORNSON, JASON C.
10511 COUNTY ROAD 23 SE
BECKER, MN 55308                                     P‐0026327 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, PATRICIA P.
29383 BROKEN ARROW WAY
MURRIETA, CA 92563                                   P‐0026328 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBBONS, DAN A.
1811 MUNSTER AVE
SAINT PAUL, MN 55116                                 P‐0026329 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NGUYEN, KRISTYNA D.
1739 SAN ANDRES DRIVE
PITTSBURG, CA 94565                                  P‐0026330 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
AUSTIN, APRIL C.
14520 DELCASTLE DRIVE
BOWIE, MD 20721                                       P‐0026331 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BJORNSON, JASON C.
10511 COUNTY ROAD 23 SE
BECKER, MN 55308                                      P‐0026332 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIBBONS, DAN A.
1811 MUNSTER AVE
SAINT PAUL, MN 55116                                  P‐0026333 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKENZIE, ANNETTE H.
5609 HARDWICK LN 21
FAYETTEVILLE, NC 28306                                P‐0026334 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOGAN, PAUL
1722 ORCHID STREET
PITTSBURGH, PA 15207                                  P‐0026335 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRENES, SANDRA K.
BRENES BENAVIDES, JORGE A.
11265 53RD AVE NO
PLYMOUTH, MN 55442                                    P‐0026336 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BJORNSON, JASON C.
10511 COUNTY ROAD 23 SE
BECKER, MN 55308                                      P‐0026337 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARBAUGH, SCOTT A.
4069 S ROCKY HOLLOW RD
CHANA, IL 61015                                       P‐0026338 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, GALE M.
1180 E. CARNEGIE ST.
WINNSBORO, TX 75494                                   P‐0026339 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURAWSKA, ELZBIETA
5727 W LAWRENCE AVE
APT 205
CHICAGO, IL 60630‐3273                                P‐0026340 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANDERSON, SHARON
306 N LEVEL ST
DODGEVILLE, WI 53533                                  P‐0026341 11/6/2017      TK Holdings Inc., et al .                  $109,999.99                                                                                  $109,999.99
YATES, DEBORAH W.
802 CAMBRIDGE CT
ROANOKE RAPIDS, NC 27870                              P‐0026342 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SEYMOUR, GLADYS G.
MUDD, WILLIAM A.
8403 QUAILFIELD ROAD
MECHANICSVILLE, VA 23116                              P‐0026343 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, RONALD E.
25 JARVIS PL
ALORTON, IL 62207                                     P‐0026344 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDDINS, ARLENE L.
4 DEVON PLACE
FORKED RIVER, NJ 08731                                P‐0026345 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRATOVILLE, DAVID H.
129 N PLUM ST
GRANVILLE, OH 43023                                   P‐0026346 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCMILLAN, SCOTT R.
905 S. MAIN ST. UNIT D
LAYTON, UT 84041                                      P‐0026347 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
HELFMAN, MARK
HELFMAN, ILISE
1892 MILBORO DRIVE
ROCKVILLE, MD 20854                                 P‐0026348 11/15/2017     TK Holdings Inc., et al .                     $428.00                                                                                       $428.00
YANG, GUOJUN
HUANG, LANYING
2 KINGSBRIDGE CT
GETZVILLE, NY 14068                                 P‐0026349 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEYER, BRIAN
2125 RACINE
CHICAGI, IL 60614                                   P‐0026350 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELFMAN, MARK
HELFMAN, ILISE
1892 MILBORO DRIVE
ROCKVILLE, MD 20854                                 P‐0026351 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GACKE, BRAD
817 EUCALYPTUS COURT
LODI, CA 95242                                      P‐0026352 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAH, PRASHANT
40 SPYGLASS COURT
WESTAMPTON, NJ 08060‐4700                           P‐0026353 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UZZELL, ERICA
WHITE, ROSALIND
2764 W. 96TH ST.
EVERGREEN PARK, IL 60805                            P‐0026354 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAMMER, TIMOTHY D.
304 MENDON ROAD
PITTSFORD, NY 14534                                 P‐0026355 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHU, WING Y.
1902 MARYLAND BLVD
BIRMINGHAM, MI 48009                                P‐0026356 11/15/2017     TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
MCDERMOTT, RANDY S.
P.O. BOX 645
ALLEN, TX 75013                                     P‐0026357 11/15/2017     TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
SHAH, PRASHANT
40 SPYGLASS COURT
WESTAMPTON, NJ 08060‐4700                           P‐0026358 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WORDEN, JAKE D.
WORDEN, KATHLEEN A.
2736 300TH ST
NEW LIBERTY, IA 52765                               P‐0026359 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIETHER, ANTON
1108 LAVACA STREET
STE 110‐281
AUSTIN, TX 78701                                    P‐0026360 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVALOS, FRANCISCO J.
DAVALOS, MARTA E.
640 OXFORD STREET
PORTERVILLE, CA 93257                               P‐0026361 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YANG, GUOJUN
HUANG, LANYING
2 KINGSBRIDGE CT
GETZVILLE, NY 14068                                 P‐0026362 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRETT, STEVEN J.
13972 STAR RUBY AVENUE
EASTVALE, CA 92880                                  P‐0026363 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
ROLLER, JEAN E.
901 STONY CREEK ROAD
LYNCH STATION, VA 24571                               P‐0026364 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GARDNER, JOHN S.
GARDNER, TRACI J.
7005 S BIRCH AVENUE
BROKEN ARROW, OK 74011                                P‐0026365 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GRUSS, THOMAS F.
GRUSS, KATHERINE D.
228 THOMAS STREET
HOLLSOPPLE, PA 15935                                  P‐0026366 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TALLEY, SHEILA R.
6071 CARDWELL
GARDEN CITY,                                          P‐0026367 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAISER, HANNAH M.
767 STONE LANE
PALO ALTO, CA 94303                                   P‐0026368 11/15/2017     TK Holdings Inc., et al .                       $50.00                                                                                       $50.00
VANCE, KENNETH L.
5637 EAST COUNTY ROAD J
CLINTON, WI 53525                                     P‐0026369 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, KEN C.
1547 PALOS VERDES MALL # 167
WALNUT CREEK, CA 94597                                P‐0026370 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VODDEN‐THORNTON, EVE E.
11009 PIONEER DR.
ANDERSON ISLAND, WA 98303                             P‐0026371 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALSH, CRAIG M.
HOWARD CDM
310 S. JEFFERSON ST. APT 38B
PLACENTIA, CA 92870                                   P‐0026372 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRYBERGER, RICHARD S.
FRYBERGER, ELIZABETH A.
3399 RILEY RD
DULUTH, MN 55803`                                     P‐0026373 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECLUE, ANDREW S.
KNOX, SHERRY C.
711 LAMPLIGHT LN
HAZELWOOD, MO 63042                                   P‐0026374 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUJICA, JO A.
11087 CAMINATA DOURO
SAN DIEGO, CA 92129                                   P‐0026375 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRISON, MATTHEW R.
1832 W SANTA CLARA DRIVE
MERIDIAN, ID 83642                                    P‐0026376 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GROSS, MARVIN D.
3960 S. HIGUERA #206
SAN LUIS OBISPO, CA 93401‐7457                        P‐0026377 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, KENNETH D.
KDM ELECTRIC
3204 FERN STREET
ALEXANDRIA, LA 71302                                  P‐0026378 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSSELL, DEBORAH L.
25 GIOVANNI AISLE
IRVINE, CA 92614                                      P‐0026379 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PETERS, MAUREEN R.
MAUREEN R PETERS REVOCABLE T
3614 SOUTH 193RD STREET
OMAHA, NE 68130                                      P‐0026380 11/3/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAGOPIAN, VERONICA
13 COTTON GRASS ROAD
BLUFFTON, SC 29910                                   P‐0026381 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RINALDI, MATHEW J.
RINALDI, ANNA L.
855 DAYTON ST.
EDMONDS, WA 98020                                    P‐0026382 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLADY, JILL A.
15 GROUSE TER
LAKE OSWEGO, OR 97035                                P‐0026383 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SULLIVAN, ANDREA‐RAIS M.
13733 TEMPLETON AVE NW
SILVERDALE, WA 98383                                 P‐0026384 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOODY, LESLIE H.
16741 HIGHFALLS STREET
SANTA CLARITA, CA 91387‐3268                         P‐0026385 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERNANDEZ, MARIO C.
100 S MOORPARK AVE
APT 707
MOORPARK, CA 93021                                   P‐0026386 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SILACCI, AMANDA J.
P.O. BOX 6541
NAPA, CA 94581                                       P‐0026387 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCLAUGHLIN, JASON W.
8111 SAGAMORE WAY
PASADENA, MD 21122                                   P‐0026388 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, GEAN N.
71 PARK LANE
HUTCHINS, TX 75141                                   P‐0026389 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAPAS, VILIUS A.
4409 GOODRICH RD
VALPARAISO, IN 46385                                 P‐0026390 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNDERWOOD, NATHAN
901 EAST WASHINGTON STREET
APT# 139
COLTON, CA 92324                                     P‐0026391 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERS, BARRY W.
7 MEADOWVIEW DR
PLAISTOW, NH 03865                                   P‐0026392 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARDIMAN, MAGGIE M.
3630 22ND AVE W
APT 105
SEATTLE, WA 98199                                    P‐0026393 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAH, PRASHANT
40 SPYGLASS COURT
WESTAMPTON, NJ 08060‐4700                            P‐0026394 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNDERWOD, NATHAN
NO ADDRESS PROVIDED
                                                     P‐0026395 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                          Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
BAEFSKY, MICHAEL D.
CUNNINGHAM, VIRGINIA M.
P.O. BOX 21207
EL SOBRANTE, CA 94820                                P‐0026396 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ZHAN, JIONG
513 142ND AVE SE APT 79
BELLEVUE, WA 98007                                   P‐0026397 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
TYDELSKI, GREGORY D.
4622 NORTHFORK DR
PEARLAND, TX 77584                                   P‐0026398 11/15/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
POTTER, MICHAEL J.
325 REFLECTIONS CIRCLE
APT 25
SAN RAMON, CA 94583                                  P‐0026399 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SERGEEV, ALEXEY
SERGEEVA, SVETLANA
2751 ACACIA TERRACE
BUFFALO GROVE, IL 60089                              P‐0026400 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
PARRIS, BRIDGETT
11401 HIBBS GROVE DRIVE
N/A
COOPER CITY, FL 33330                                P‐0026401 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SIMMS, STEFANIE
13770 SAYRE STREET
SYLMAR, CA 91342                                     P‐0026402 11/16/2017     TK Holdings Inc., et al .                      $500.00                                                                                       $500.00
SANDERS, BRANDON W.
1605 S 2600 W
SYRACUSE, UT 84075                                   P‐0026403 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
HARVEY EDWARDS, KATHERINE D.
23201 BROOKE LN
VALENCIA, CA 91355                                   P‐0026404 11/16/2017     TK Holdings Inc., et al .                    $1,500.00                                                                                     $1,500.00
COWEN, BARRY
2517 BAYVIEW AVE.
WANTAGH, NY 11793                                    P‐0026405 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ALFORD, CRAIG S.
ALFORD, MIRIAM A.
1438 LENNOX LN.
LIVERMORE, CA 94550                                  P‐0026406 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LAWTONE‐BOWLES, NICOLE L.
ULTRESS INC.
56 CENTER STREET
HIGHLAND FALLS, NY 10928                             P‐0026407 11/16/2017     TK Holdings Inc., et al .                 $1,000,000.00                                                                                $1,000,000.00
DUVAL, JACINDA
NO ADDRESS PROVIDED
                                                     P‐0026408 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
TANGELLAMUDI, KAMALAKARA S.
1409 MAPLE GROVE DR
FLOWER MOUND                                         P‐0026409 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
DUVAL, JACINDA
CLEVELAND, SAVON
SANTA ROSA, CA 95405                                 P‐0026410 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
NARAHARA, NOBUHIRO
11730 MAYFIELD AVE. #102
LOS ANGELES, CA 90049                                P‐0026411 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00



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                                                                                                                                     Current Priority   Current Secured                        Current Admin    Total Current
                 Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                      Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                      Amount                                                  Amount
DESCHAMP, BARBARA A.
1003 WESTFORD ST. APT. 3
LOWELL, MA 01851                                   P‐0026412 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STELMAN, MICHAEL
DAVID & JOAN STELMAN TRUST
1355 WEYMOUTH LANE
VENTURA, CA 93001                                  P‐0026413 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIEP, HOANG M.
P.O BOX 21788
SAN JOSE, CA 95151                                 P‐0026414 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRIETE, BRYAN D.
143 CARL AVE
SANTA CRUZ, CA 95062                               P‐0026415 11/16/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
KANG, CHLOE
2540 TAMARACK AVE
SANGER, CA 93657                                   P‐0026416 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUMMER, RACHEL A.
P.O. BOX 19
LONG BEACH, WA 98631                               P‐0026417 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEINER, STEVEN D.
54035 CANANERO CIRCLE
LA QUINTA, CA 92253                                P‐0026418 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCULLOUGH, JOSEPH
3386 TULANE CT
SAN DIEGO, CA 92122                                P‐0026419 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSON, JOHNNA K.
1327 ALA HOKU PLACE.
HONOLULU, HI 96819                                 P‐0026420 11/16/2017     TK Holdings Inc., et al .                    $5,000.00                                                                                    $5,000.00
PROFIT, ERNEST E.
4251 W. FILLMORE STREET
BSMT
CHICAGO, IL 60624                                  P‐0026421 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DE ALBA, ADRIAN
DE ALBA, MARTHA
835 N MYRTLE AVE
POMONA, CA 91768                                   P‐0026422 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLLINS, DANIEL R.
DAN COLLINS
P.O. BOX 29
KENWOOD, CA 95452                                  P‐0026423 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIAS, DEBBIE F.
6390 MARGUERITE DR
NEWARK, CA 94560                                   P‐0026424 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KATARE RAMESWARA, THUKARAM RA
13075 SE 26TH STREET APT E202
BELLEVUE, WA 98005                                 P‐0026425 11/16/2017     TK Holdings Inc., et al .                   $15,045.88                                                                                   $15,045.88
TERRY, VIVIAN G.
568 BULL ROAD
ROCK TAVERN, NY 12575                              P‐0026426 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, JEREME S.
1540 N LAUREL AVE
UPLAND, CA 91786                                   P‐0026427 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLEMM, ROBERT E.
1540 N LAUREL AVE
UPLAND, CA 9178Y                                   P‐0026428 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
BARFIELD, GINA M.
2380 E WASHINGTON BLVD
PASADENA, CA 91104                                    P‐0026429 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLINE, GARY M.
103 LAFAYETTE DRIVE
ELKTON, MD 21921                                      P‐0026430 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIBERMAN, SCOTT A.
9720 GLENFIELD CT.
DAYTON, OH 45458                                      P‐0026431 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GORDY, PAMELA D.
118 NEW BROOKLYN RD
SICKLERVILLE, NJ 08081                                P‐0026432 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORLEY‐RUCKER, KATRINA S.
813 CRESTWOOD DRIVE
BEEBE, AR 72012                                       P‐0026433 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GALLION, LEE
419 BROADVIEW DR.
JACKSON, MS 39209                                     P‐0026434 11/7/2017      TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
SPEARMAN, DENNIS
118 PRESCOTT ST
TOLEDO, OH 43620                                      P‐0026435 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARY, THOMAS
4345 87TH AVE SE
MERCER ISLAND, WA 98040                               P‐0026436 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURST, STEVEN V.
105 SLOPES DRIVE
SPRINGVILLE, AL 35146                                 P‐0026437 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRAVO, LAILA
200 LUDLOW ST APT 506
STAMFORD, CT 06902                                    P‐0026438 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAUMHAUER, EMILY M.
2350 VIRGIL HALL RD
LITHIA, FL 33547                                      P‐0026439 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEANE, LESLIE J.
DEANE, PATRICIA G.
P.O. BOX 14311
CLEARWATER, FL 33766                                  P‐0026440 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONTIVEROS, SANTOS
1207 S 1530 W
SPRINGVILLE, UT 84663                                 P‐0026441 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPROLDEN, TRACY L.
6570 BROOKRIDGE DR
HAHIRA, GA 31632                                      P‐0026442 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OSBORNE, APRIL R.
963 W OUTER DR
OAK RIDGE, TN 37830                                   P‐0026443 11/16/2017     TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
WESLEY, MARK J.
2068 MCCREA RD
THOUSAND OAKS, CA 91362                               P‐0026444 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATTS, LINDA R.
13 SAN VICENTE PL.
HOT SPRINGS VILL                                      P‐0026445 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
URCIA, OSCAR
13101 LAKE GENEVA WAY
GERMANTOWN, MD 20874                                  P‐0026446 11/8/2017      TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
THOMAS, HOLLY M.
620 NORTH STREET
EAST WEYMOUTH, MA 02189                              P‐0026447 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REILLY, CHRISTINE E.
1701 NEWPORT ROAD
# 1525
CROYDON, PA 19021                                    P‐0026448 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIEBLER, CALVIN L.
SIEBLER, DARLEEN M.
1856 COUNTY ROAD L
HOOPER, NE 68031‐2024                                P‐0026449 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, MARGARET
3912 MAIN ST
DOWNERS GROVE, IL 60515                              P‐0026450 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKEE, JAMES H.
MCKEE, KATHLEEN A.
11157 LAKELAND CIRCLE
FORT MYERS, FL 33913                                 P‐0026451 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRACY, PATRICIA
235 HEDGES STATION RD
WINCHESTER, KY 40391                                 P‐0026452 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOTARO, ANGELO
9 THEIS LANE
BLAUVELT, NY 10913                                   P‐0026453 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SPEER, AMIE B.
67 CALDWELL RD
NORTH EAST, MD 21901                                 P‐0026454 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THIBEAULT, CATHERINE E.
243 BURNSIDE AVE APT 1
WOONJOCKET, RI 02895                                 P‐0026455 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARCUS, ALLAN
9150 SOUTHMONT COVE APT 203
FORT MYERS, FL 33908                                 P‐0026456 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WESTBROOK, PEGGY A.
5617 GRADE RD
MOBILE, AL 36693                                     P‐0026457 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEAT, HAROLD
216 S. 16TH AVE.
#5
HOLLYWOOD, FL 33020‐5261                             P‐0026458 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURILLO, ROBERT
2598 BELLADONNA ST
REDDING, CA 96002                                    P‐0026459 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ASHCRAFT, DIANE M.
819 COURTINGTON LANE APT A
FT MYERS, FL 33919                                   P‐0026460 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, JIMMY S.
7807 SCENIC VIEW DR.
KNOXVILLE, TN 37938                                  P‐0026461 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, BRETT M.
3068 NORTHEAST REGENTS DRIVE
PORTLAND, OR 97212‐1760                              P‐0026462 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                   Current General                                         Current 503(b)(9)
                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
WALSH, HELENA A.
WALSH, HUBERT M.
422 SANTA FE TRAIL
UNIT 11‐A
IRVING, TX 75063                                    P‐0026463 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNES, GORDON L.
BARNES, JUDITH L.
1042 TERRACEWOOD CIRCLE
MANCHESTER, MO 63011                                P‐0026464 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, SHERRI E.
2 DOWNING CIRCLE
CONWAY, AR 72034                                    P‐0026465 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DICKENS, DIANE E.
215 BARK LANE
N/A
SAN ANTONIO, TX 78233                               P‐0026466 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAURER, ELIZABETH A.
75 CASTLE BLUFF DRIVE
ST. CHARLES, MO 63304                               P‐0026467 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOVER, MARK W.
1955 EAST COUNTY ROAD 36
TIFFAN, OH 44883                                    P‐0026468 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TODD, DEBORAH L.
20 SUNSET DRIVE
SEBASTIAN, FL 32958                                 P‐0026469 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDRICKS, JACQUELINE M.
16364 HALLAUER RD
OBERLIN, OH 44074                                   P‐0026470 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAFFERSON, RIUKA
10324 GREENWOOD PLACE
OAKTON, VA 22124                                    P‐0026471 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEADLE, NANCY A.
1630 N WATERFORD CROSSING
MARBLEHEAD, OH 43440                                P‐0026472 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTFORD, MERIT
P.O. BOX 33
POST MILLS, VT 05058                                P‐0026473 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BREWER, ROSEMARY
BREWER, GREGORY L.
408 FOREST GROVE RD
OXFORD, MS 38655                                    P‐0026474 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARMODY, PAUL J.
456 MOUNTAIN TOP LODGE RD
DAHLONEGA, GA 30533                                 P‐0026475 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNES, SHELIA R.
P.O. BOX 203
PORT GIBSON, MS 39150                               P‐0026476 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RASDOLSKY, DAVID S.
13918 SOUTH SPRINGS DRIVE
CLIFTON, VA 20124                                   P‐0026477 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REYES, ASHLEY L.
105 HEATHER DRIVE
EAST HARTFORD, CT 06118                             P‐0026478 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
CALDWELL, CHANDRA
820 SOUTH MANSFIELD AVENUE
#204
LOS ANGELES, CA 90036                               P‐0026479 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHERKASSKY, ALEXANDER
9 ALPINE RD
WAYLAND, MA 01778                                   P‐0026480 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JACKSON, LUTHER I.
3612 LAPLACE STREET
CHALMETTE, LA 70043‐2241                            P‐0026481 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCLEOD, FRANCES R.
100 TIMBER RIDGE WAY N/W
#3102
ISSAQUAH, WA 98027                                  P‐0026482 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROSSI, JAMES B.
ROSSI, MARGARET K.
167 HERITAGE DRIVE
NAUGATUCK, CT 06770                                 P‐0026483 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SIMPKINS, CASSANDRA
P.O.BOX 2348
NEWARK, NJ 07114                                    P‐0026484 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREEN, TIMOTHY J.
242 HOME AVE
BUTLER
, PA 16001                                          P‐0026485 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NATION, TERRY W.
NATION, KAREN A.
P.O. BOX 603
CHEYENNE, WY 82003                                  P‐0026486 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FAIR, DIANE M.
16720 STATE ROUTE 22
STEPHENTOWN, NY 12168                               P‐0026487 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALEGADO, EMMANUEL D.
13140 LAZY GLEN COURT
HERNDON, VA 20171                                   P‐0026488 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NATION, TERRY W.
NATION, KAREN A.
P.O. BOX 603
CHEYENNE, WY 82003                                  P‐0026489 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHOEMANN, RALPH S.
6 VINEYARD PLACE
GULLFORD, CT 06437‐3237                             P‐0026490 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON, DOUGLAS A.
7573 E. PHANTOM WAY
SCOTTSDALE, AZ 85255                                P‐0026491 11/7/2017      TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
HUMMEL, STEFANIE M.
22062 LONGLEAF DRIVE
COVINGTON, LA 70435                                 P‐0026492 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POULOS, ORESTIS N.
26910 N. 144TH STREET
SCOTTSDALE, AZ 85262                                P‐0026493 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COOK, JOHN C.
330 RIDGE COURT
PRESCOTT, AZ 86303                                  P‐0026494 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MORTON, KATIE M.
211 E. 35TH STREET
WILMINGTON, DE 19802                                  P‐0026495 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAQUIAS, RITA L.
2823 APPLEDOWN DRIVE
CARY, NC 27513                                        P‐0026496 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLINE, GARY M.
103 LAFAYETTE DRIVE
ELKTON, MD 21921                                      P‐0026497 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAPLAN, RHONDA
639 EAST BROADWAY
LONG BEACH, NY 11561                                  P‐0026498 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WIKSTROM, LOUGENA
4981 MERIWOOD DR NE
LACEY, WA 98516                                       P‐0026499 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, SUSAN G.
9610 E. 65TH ST.
RAYTOWN, MO 64133                                     P‐0026500 11/16/2017     TK Holdings Inc., et al .                     $250.00                                                                                       $250.00
BARRERA, YENNY
BARRERA, ALBERTO
45 BAUER STREET
WORCESTER, MA 01603                                   P‐0026501 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURST, PAM K.
HURST, TYLER W.
105 SLOPES DRIVE
SPRINGVILLE, AL 35146                                 P‐0026502 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, REBECCA O.
11252 MEADE CT
BEALETON                                              P‐0026503 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, DAVID A.
YOUNG, NANCY C.
2521 W. FERN ST.
TAMPA, FL 33614‐4217                                  P‐0026504 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWENS, COLLEEN D.
544 BECK MEADOW ROAD
UNION, MO 63084                                       P‐0026505 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTSON, THOMAS L.
ROBERTSON, JUDY J.
4716 1ST AVE E
PALMETTO, FL 34221‐2366                               P‐0026506 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ONEILL, JEAN C.
99 CLIFF ST
BURLINGTON, VT 05401                                  P‐0026507 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALLENTINE, BRUCE E.
4808 CANYONBEND CIR.
AUSTIN, TX 78735                                      P‐0026508 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FARR, THOMAS J.
3295 ALLISON CT
CARMEL, IN 46033                                      P‐0026509 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONISOV, ALINA
7 MEADOWBROOK RD.
NEWTON, MA 02459                                      P‐0026510 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRAIG, CHRISTOPHER
P.O. BOX 1145
LIVINGSTON, AL 35470                                  P‐0026511 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
WERNER, KARL W.
WERNER, TANJA
6208 KEY COURT
BENSALEM, PA 19020                                   P‐0026512 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALISALISA, JOSEFINA
166 BECKYS CORNER
CHALFONT, PA 18914                                   P‐0026513 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JOHN J.
994 RAVINE ROAD
NISKAYUNA, NY 12309‐3533                             P‐0026514 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRETT, ALITHIA P.
1111 OCEAN AVE
APT 207
BROOKLYN, NY 11230                                   P‐0026515 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HEYWORTH, SCOTT M.
HEYWORTH, CHRISTINE J.
10810 SW 142 AVE
MIAMI, FL 33186                                      P‐0026516 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNDERWOOD, DEBORAH P.
UNDERWOOD, DRURY B.
1417 HYALYN COURT
GREENSBORO, NC 27406‐9557                            P‐0026517 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNDERWOOD, DEBORAH P.
UNDERWOOD, DRURY B.
1417 HYALYN COURT
GREENSBORO, NC 27406                                 P‐0026518 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
UNDERWOOD, DEBORAH P.
UNDERWOOD, DRURY B.
1417 HYALYN COURT
GREENSBORO, NC 27406‐9557                            P‐0026519 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KRATOVILLE, KARIN M.
129 N PLUM ST
GRANVILLE, OH 43023                                  P‐0026520 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, MARTI R.
7807 SCENIC VIEW DR
KNOXVILLE, TN 37938                                  P‐0026521 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARTER, MARTI R.
CARTER, JIMMY S.
7807 SCENIC VIEW DR
KNOXVILLE, TN 37938                                  P‐0026522 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JAGGI, MEETA
271‐12 77TH ROAD
NEW HYDE PARK, NY 11040                              P‐0026523 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASON, ZEDETA L.
369 NORTH SUNFLOWER WAY
SPARTANBURG, SC 29369                                P‐0026524 11/9/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KIMWANG, KATHERINE
10609 MELVICH LANE
DUBLIN, CA 94568                                     P‐0026525 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORONADO, YVONNE I.
11023 TANGLEHEAD COURT
HOUSTON, TX 77086‐1440                               P‐0026526 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BISHOP, ANDY L.
5976 BRINKLEY ROAD
POWDER SPRINGS, GA 30127‐4209                        P‐0026527 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
HEYWORTH, SCOTT M.
HEYWORTH, CHRISTINE J.
10810 SW 142 AVE
MIAMI, FL 33186                                       P‐0026528 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARIS, CAROL L.
401 PASADENA DR
MAGNOLIA, NJ 08049                                    P‐0026529 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIN, MATTHEW V.
12241 SW 106 ST
MIAMI, FL 33186                                       P‐0026530 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAMPBELL, THOMAS T.
CAMPBELL, KAREN L.
93 SPYGLASS LANE
KINGSLAND, GA 31548                                   P‐0026531 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FALK, JONATHAN
1081 E MARCELLUS ST.
LONG BEACH, CA 90807                                  P‐0026532 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORONADO, YVONNE I.
BEAL, SANDY W.
11023 TANGLEHEAD COURT
HOUSTON, TX 77086‐1440                                P‐0026533 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ABANTO, RICHARD J.
12 TAJ MAHAL COURT
TOMS RIVER, NJ 08757‐3907                             P‐0026534 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ATKINSON, CHRISTOPHER M.
1726 TOLEDANO ST.
NEW ORLEANS, LA 70115                                 P‐0026535 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHIFF, BRENDA J.
3205 HUNTER ROAD
WESTON, FL 33331‐3033                                 P‐0026536 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHELL, JOHN D.
1248 HOLLAND OAKS DRIVE
CHINA GROVE, NC 28023                                 P‐0026537 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MESHBERG, GARY J.
7305 BELMOUNT RD.
ROWLETT, TX 75089                                     P‐0026538 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YEUNG, HIN
WONG, WAI
1300 ARROYO DR
MONTEREY PARK, CA 91755                               P‐0026539 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JUSTINIANO, MARCO A.
32483 VIA DESTELLO
TEMECULA, CA 92592                                    P‐0026540 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOKUTA, ROBERT
LOKUTA, ARIANNE
16 BROOKVIEW DRIVE
WESTFORD, MA 01886                                    P‐0026541 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALVAREZ, JEANNA
21603 HARPER LAKE AVE
SAINT CLAIR SHOR, MI 48080                            P‐0026542 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEIG, TERRY
3991 CROWN POINT DR.
UNIT P 18
SAN DIEGO, CA 92109                                   P‐0026543 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LOCKMAN, KIMBERLY D.
P.O. BOX 72
BELT, MT 59412                                       P‐0026544 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOMFIELD, JIM
BROOMFIELD, DENISE
71448 RD 392
INDIANOLA, NE 69034                                  P‐0026545 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOMFIELD, JIM
BROOMFIELD, DENISE
71448 RD 392
INDIANOLA, NE 69034                                  P‐0026546 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COX, ANN S.
720 PELICAN HILLS DR.
FAIRVIEW, TX 75069                                   P‐0026547 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOMFIELD, JIM
BROOMFIELD, DENISE
71448 RD 392
INDIANOLA, NE 69034                                  P‐0026548 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KORDUNER, DEBRA L.
106 N CROFT AVENUE
UNIT 302
LOS ANGELES, CA 90048                                P‐0026549 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GUSTAFSON, DANNY C.
GUSTAFSON, MARY A.
2640 W 74TH AVENUE
WEST MINSTER, CO 80030‐5006                          P‐0026550 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MONGE, MARY L.
MIRACLE, STEVEN R.
4578 CARRIAGE HILL LN
COLUMBUS, OH 43220                                   P‐0026551 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAROLLO, LINDA J.
CAROLLO, JAMES A.
3706 ANTELOPE CT NE
CEDAR RAPIDS, IA 52402‐2335                          P‐0026552 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FORD, VICTORIA C.
1712 MORROW
AUSTIN, TX 78757                                     P‐0026553 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VOSBURGH, LARRY B.
133 VETERAN HILL ROAD
HORSEHEADS, NY 14845                                 P‐0026554 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENE, RACHEL J.
116 BENJAMIN DRIVE
PEARL, MS 39208                                      P‐0026555 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARCLAY, CECIL R.
BARCLAY, CONNIE N.
3066 E. FARM RD 34
FAIR GROVE, MO 65648                                 P‐0026556 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROOMFIELD, JIM
BROOMFIELD, DENISE
71448 RD 392
INDIANOLA, NE 69034                                  P‐0026557 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATERS, JILL
P.O. BOX 63512
PHILADELPHIA, PA 19147                               P‐0026558 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
LANAUX, VON J.
SOBER UP
1002 W UNIVERSITY AVE
APT 53
HAMMOND, LA 70401                                    P‐0026559 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PUPKA, ROBERT G.
68 LOCUST ST.
OXFORD, MA 01540                                     P‐0026560 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POMPENEO, BRIAN L.
4018 W CASS ST
TAMPA, FL 33609                                      P‐0026561 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKIE, MARIA O.
225 BLACKWELL ST
LA PORTE, TX 77571                                   P‐0026562 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRUZ, PABLO D.
6945 OAKDALE AVE
WINNETKA, CA 91306                                   P‐0026563 11/10/2017     TK Holdings Inc., et al .                   $25,000.00                                                                                   $25,000.00
PARIS, ERNEST J.
401 PASADENA DR.
MAGNOLIA, NJ 08049                                   P‐0026564 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUYNH, HELEN
1359 PHELPS AVE #8
SAN JOSE, CA 95117                                   P‐0026565 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOLGIN, AARON
19831 REDWING STREET
WOODLAND HILLS, CA 91364                             P‐0026566 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOY, CYNTHIA A.
3813 HARGIS STREET
AUSTIN, TX 78723                                     P‐0026567 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOLGIN, AARON
19831 REDWING STREET
WOODLAND HILLS, CA 91364                             P‐0026568 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DOLGIN, AARON
19831 REDWING STREET
WOODLAND HILLS, CA 91364                             P‐0026569 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARVEY, JAMES M.
HARVEY, CHERYL H.
110 N MOUNTAIN BROOKE DR
BALL GROUND, GA 30107                                P‐0026570 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FITZGERALD, SUSAN H.
FITZGERALD, WILLIAM S.
19934 MADISON ST. NE
EAST BETHEL, MN 55011‐9424                           P‐0026571 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOPKINS, MARK L.
121 PILOT HOUSE DR
WALLACE, NC 28466                                    P‐0026572 11/10/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
BALACHANDRAN, BALAKRISH
27 BARRINGTON DRIVE
WEST WINDSOR, NJ 08550                               P‐0026573 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERMUDEZ, KELLY
24437 MISTWOOD CT
LUTZ, FL 33559                                       P‐0026574 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIKES, BART
LIKES, VICTORIA
3829 42ND AVE NE
SEATTLE, WA 98105                                    P‐0026575 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                         Current Priority   Current Secured                        Current Admin    Total Current
                     Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                          Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                          Amount                                                  Amount
HEIDERSTADT, RICHARD T.
3070 BLANDEMAR DRIVE
CHARLOTTESVILLE, VA 22903                              P‐0026576 11/10/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
SMITH, RAYMOND L.
SMITH, EVA O.
2689 KOEBIG RD
SEGUIN, TX 78155                                       P‐0026577 11/10/2017     TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
RUPLE, LARRY D.
RUPLE, DIANA M.
3681 SOUTH 3650 WEST
WEST HAVEN, UT 84401                                   P‐0026578 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARDWELL, AGNES M.
194 CONNE DRIVE UNIT B
CHARLESTON, WV 25302                                   P‐0026579 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOATWRIGHT, PATRICIA S.
1680 BENNETT DR
MCDONOUGH, GA 30253                                    P‐0026580 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOX, SARA E.
8970 POSEY DRIVE
WHITMORE LAKE, MI 48189                                P‐0026581 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOSFORD, CARL W.
462 CARSON WAY
PADUCAH, KY 42003                                      P‐0026582 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HELPER, MERRILEE
544 BRAESIDE RD
HIGHLAND PARK, FL 60035                                P‐0026583 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOX, BRIAN J.
BARBEE, HARRIET V.
8970 POSEY DRIVE
WHITMORE LAKE, MI 48189                                P‐0026584 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEIN, SCOTT E.
1660 BUFFALO ROAD
ROCHESTER, NY 14624                                    P‐0026585 11/10/2017     TK Holdings Inc., et al .                     $300.00                                                                                       $300.00
GUNDERMAN, JAMES R.
138 ROSEMONT DR
AMHERST, NY 14226                                      P‐0026586 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BRIGHT, JANIE S.
BRIGHT, CHARLES R.
7010 MAPLE CREEK DRIVE
LIBERTY TWP, OH 45044                                  P‐0026587 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROADWAY, TOMEKA R.
30 CHATEAUS LANE
LITTLE ROCK, AR 72210                                  P‐0026588 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BONNETTE, HERMAN
3105 N STEVENDALE RD
BATON ROUGE, LA 70819                                  P‐0026589 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOST, ADRIENNE M.
707 MCDADE ST
CRENSHAW, MS 38621                                     P‐0026590 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DELOISE B.
4405 WOODLAND AVENUE
JACKSON, MS 39206                                      P‐0026591 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SKAGGS, DONALD V.
3354 FIELDSTONE PATH
THE VILLAGES, FL 32163‐2457                            P‐0026592 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                     Current General                                         Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
HEMINGWAY, BENJAMIN L.
3435 OBSERVATORY PLACE
CINCINNATI, OH 45208                                  P‐0026593 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROCHE, KATHRYN A.
112 PATTON DR
SPRINGBORO, OH 45066                                  P‐0026594 11/10/2017     TK Holdings Inc., et al .                    $1,042.28                                                                                    $1,042.28
BEARDEN, LORI P.
13810 SW 132 AVE
MIAMI, FL 33186                                       P‐0026595 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOEL, MARY D.
MARY NOEL
19849 BROWNSVILLE ROAD
KNOXVILLE, MD 21758                                   P‐0026596 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FOURNIER, ELLIE L.
P.O. BOX 2281
MARIPOSA, CA 95338                                    P‐0026597 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PETERSON, JEFFREY N.
110 WINCHESTER CT
FOSTER CITY, CA 94404                                 P‐0026598 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FISHER, HOWARD W.
FISHER, CAROL A.
1258 PLANTATION DRIVE
BETHEL PARK, PA 15102                                 P‐0026599 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BABBITT, LEIGH
4560 NW 113TH AVENUE
SUNRISE, FL 33323                                     P‐0026600 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOSEY, DAVID E.
3205 MONETTE LANE
PLANO, TX 75025                                       P‐0026601 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MURPHY, KENNETH D.
KDM ELECTRIC
3204 FERN STREET
ALEXANDRIA, LA 71302                                  P‐0026602 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MESCH, BARBARA A.
81 HUNT RD
OAKHAM, MA 01068                                      P‐0026603 11/8/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELOCHI, STEVE A.
BELOCHI, INA R.
15818 CURTIS CIR.
SONORA, CA 95370                                      P‐0026604 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANSER, DIANE K.
2801 EP TRUE PARKWAY
UNIT 604
WEST DES MOINES, IA 50265                             P‐0026605 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLOOM, MICHAEL
1419 CARLISLE ST.
BETHLEHEM, PA 18017                                   P‐0026606 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERCE, SHARON J.
44799 MALOW AVENUE
STERLING HEIGHTS, MI 48314                            P‐0026607 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOSKIE, STEVEN J.
STEVEN J KOSKIE CPA LLC
P.O. BOX 268
HOMER, LA 71040                                       P‐0026608 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
MCCLAIN, MICHELLE E.
452 THEGABLES DRIVE
MCDONOUGH, GA 30253                                   P‐0026609 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAMON, JAMES J.
23 REVERE PLACE
RIDGEFIELD, NY 06877                                  P‐0026610 11/16/2017     TK Holdings Inc., et al .                    $2,205.00                                                                                    $2,205.00
HAMPTON, NICOLE
1782 19TH ST S
APT #A
SAINT PETERSBURG, FL 33712                            P‐0026611 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, BRENDA T.
810 DAWNRIDGE DR.
LYNCHBURG, VA 24502                                   P‐0026612 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMES, TAMMIE S.
2203 PARK MAITLAND CT
MAITLAND, FL 32751                                    P‐0026613 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OVERCASH, DARRELL
618 MADISON STREET
COPPELL, TX 75019                                     P‐0026614 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAN, JOHN
350 FORT HILL RD
SCARSDALE, NY 10583                                   P‐0026615 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOCKTON, KEVIN D.
STOCKTON, KEVIN
818 YADKINVILLE RD
MOCKSVILLE, NC 27028                                  P‐0026616 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEVARAJAN, SURESH
1554 CRAIGLEE WAY
SAN RAMON, CA 94582                                   P‐0026617 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARROYO‐ENCIZO, VERONICA
818 YADKINVILLE RD
MOCKSVILLE, NC 27028                                  P‐0026618 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVACK, MONICA A.
22895 BROADLEAF
LAKE FOREST, CA 92630‐5430                            P‐0026619 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEVARAJAN, SURESH
1554 CRAIGLEE WAY
SAN RAMON, CA 94582                                   P‐0026620 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOCKTON, KEVIN
818 YADKINVILLE RD
MOCKSVILLE, NC 27028                                  P‐0026621 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAYNE, STEVEN T.
1365 YORK AVENUE
APT 18B
NEW YORK, NY 10021                                    P‐0026622 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEVARAJAN, SURESH
1554 CRAIGLEE WAY
SAN RAMON, CA 94582                                   P‐0026623 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, JACQUELINE W.
105 TANA DRIVE
FAYETTEVILLE, GS 30214                                P‐0026624 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARROYO‐ENCIZO, VERONICA
818 YADKINVILLE RD
MOCKSVILLE, NC 27028                                  P‐0026625 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
KUMAR, NIRDOSH
170 TILTON AVE
MORGAN HILL, CA 95037                                P‐0026626 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARNES, JANIEA R.
406 SOUTH CURVE ROAD
MCGEHEE, AR 71654                                    P‐0026627 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WAYNE, STEVEN T.
1365 YORK AVENUE
APT 18B
NEW YORK, NY 10021                                   P‐0026628 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRIS, NATALIE M.
HARRIS, VERONICA
767 N WORKMAN ST
SAN FERNANDO, CA 91340                               P‐0026629 11/16/2017     TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
KOCH, RICHARD H.
KOCH, JUDITH A.
2245 WELTON POND COURT
JEFFERSONTON, VA 22724                               P‐0026630 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREENE, ROGER W.
8255 CHERRY BLOSSOM LN
HOLLAND, OH 43528                                    P‐0026631 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, CYNTHIA A.
P O BOX 495
FORT KNOX, KY 40121                                  P‐0026632 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MACIEL, RAFAEL
5741 NACHES HEIGHTS RD
YAKIMA, WA 98908                                     P‐0026633 11/16/2017     TK Holdings Inc., et al .                    $1,473.00                                                                                    $1,473.00
POLANSKY, EVAN J.
6 ANCHOR DRIVE
MASSAPEQUA, NY 11758                                 P‐0026634 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RUSSELL, DAVID R.
6 DEVINE DRIVE
HUDSON FALLS, NY 128391D7HU                          P‐0026635 11/16/2017     TK Holdings Inc., et al .                     $200.00                                                                                       $200.00
PALADINO, LOUISE A.
27 ELIZABETH LANE
QUEENSBURY, NY 12804                                 P‐0026636 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRERA, MELISSA N.
600 PEARSON DR
BRENTWOOD, CA 94513                                  P‐0026637 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERR, EVITA D.
DE LEON, IBARRA
4992 BROOKSIDE AVE
FONTANA, CA 92336                                    P‐0026638 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KERR, EVITA
4992 BROOKSIDE AVE
FONTANA, CA 92336                                    P‐0026639 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHAHAN, ELYSE A.
911 LA MIRADA ST
LAGUNA BEACH, CA 92651                               P‐0026640 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAGADE, JONATHAN A.
5214 ALAMOSA PK DR
OCEANSIDE, CA 92057                                  P‐0026641 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUPERNOR, COREY R.
693 MECHANIC STREET
LEOMINSTER, MA 01453                                 P‐0026642 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
KERR, EVITA D.
4992 BROOKSIDE AVE
FONTANA, CA 92336                                    P‐0026643 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BYRD, RYAN C.
27039 TAYLOR CREEK ROAD
AMITE, LA 70422                                      P‐0026644 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOOD, JAMES B.
102 SALEM COURT SE
LEESBURG, VA 20175                                   P‐0026645 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PILITTERE, MARILYN
1602 IVAR AVE
LOS ANGELES, CA                                      P‐0026646 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEDET, MICHELLE M.
3512 CHARRY DRIVE
BAKER, LA 70714                                      P‐0026647 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YAMEEN, ALAN L.
52 OLD JACOBS ROAD
GEORGETOWN, MA 01833                                 P‐0026648 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HORWITZ, ROBERT M.
10003 HART AVE.
HW, MI 48070                                         P‐0026649 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DENSMORE, ROGER E.
STOVER, MARGO J.
11240 OCALLA DR
WARREN, MI 48089                                     P‐0026650 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANSFIELD, RYAN A.
420 W. PUGH DR.
SPRINGBORO, OH 45066                                 P‐0026651 11/13/2017     TK Holdings Inc., et al .                       $65.00                                                                                       $65.00
GROSS, ROXANNE R.
17112 TOLEDO DRIVE
OKLAHOMA CITY, OK 73170                              P‐0026653 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YARNELL, FRANK L.
704 MAUCH CHUNK ST
EASTON, PA 18042                                     P‐0026654 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NORRIS, PATRICK M.
3817 SHADOWCREEK DRIVE
SHREVEPORT, LA 71119                                 P‐0026655 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BARRY, ALYSSA
808 W MAIN ST
VALLEY VIEW, PA 17983                                P‐0026656 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KELLY, WHITNEY D.
8184 COPPERAS HILL DR
NORTH CHARLESTON, SC 29406                           P‐0026657 11/13/2017     TK Holdings Inc., et al .                    $2,777.00                                                                                    $2,777.00
FONTENOT, HERBERT H.
FONTENOT, THERESA A.
22491 DE BERRY ST Q197
GRAND TERRACE, CA 92313‐2215                         P‐0026658 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, BROOKE L.
STARR, STEVEN D.
1295 E CO RD 600 N
SEYMOUR, IN 47274                                    P‐0026659 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOONSTRA, TJEBBO E.
BOONSTRA, MARTHA K.
2482 SADDLEBACK DRIVE
CASTLE ROCK, CO 80104                                P‐0026660 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PERSON, ANTONIO
152 TREE CREST RD
DOTHAAN, AL 36301                                    P‐0026661 11/6/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECERRA, AGUSTIN
2250 COLLINS ST
BLUE ISLAND, IL 60406                                P‐0026662 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KAINZ, SHERIE L.
9286 CEDAR TRAILS LN
VALLEY CENTER, CA 92082                              P‐0026663 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALVESMAKI, JOEL D.
KALVESMAKI, LOLETTE M.
406 GAITHER ST
GAITHERSBURG, MD 20877‐2063                          P‐0026664 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHIARELLA, BARBARA A.
1304 REVONSHIRE RD
GROSSE POINTE PK, MI 48230                           P‐0026665 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HARRISON, MATTHEW R.
1832 W. SANTA CLARA DRIVE
MERIDIAN, ID 83642                                   P‐0026666 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WRIGHT, GALE L.
3030 NE 10TH ST
APT 206
RENTON, WA 98056                                     P‐0026667 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HURLEY, ELIZABETH R.
HURLEY, MATTHEW N.
316 LAVA BED DR
PFLUGERVILLE, TX 78660                               P‐0026668 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PRAMUK, EDWARD M.
4499 SE ANTELOPE HILLS PL
GRESHAM, OR 97080                                    P‐0026669 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DIVANOVIC, MILICA
4020 LEE ST
SKOKIE, IL 60076                                     P‐0026670 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HECTOR, GREGORY T.
HECTOR, ANITA R.
101 HOLLY COURT
AUSTIN, TX 78737                                     P‐0026671 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARSHALL, VICTORIA L.
25990 E 141ST ST S
COWETA, OK 74429                                     P‐0026672 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, DOROTHY G.
P.O. BOX 94
SOMERS, MT 59932                                     P‐0026673 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CALAWAY, TERRY A.
CALAWAY, MARLENE J.
16260 DIAMOND BAY DR.
WIMAUMA, FL 33598                                    P‐0026674 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORTES, EMILIA
CORTES, VICTOR R.
15811 DEL OBISBO ROAD
FONTANA, CA 92337                                    P‐0026675 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROACH, CYNTHIA M.
5025 ABBOTT AVENUE SOUTH
MINNEAPOLIS, MN 55410                                P‐0026676 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BAKER, MACK A.
1305 GARDEN LANE
CORINTH, MS 38834                                    P‐0026677 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, CEDRIC B.
2712 16TH COURT NORTH
BIRMINGHAM                                           P‐0026678 11/16/2017     TK Holdings Inc., et al .                   $70,000.00                                                                                   $70,000.00
TAKETANI, KENNETH
NO ADDRESS PROVIDED
                                                     P‐0026679 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERT, CURTIS J.
17417 127AVE
JAMAICA, NY 11434                                    P‐0026680 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BAKER, MACK A.
1305 GARDEN LANE
CORINTH, MS 38834                                    P‐0026681 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, RHODA
6208 BDWLING BROOK DRIVE
DALLAS, TX 75241‐2610                                P‐0026682 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TYSKA, HELEN S.
53 PRICE STREET
SAYREVILLE, NJ 08872                                 P‐0026683 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, MARILYN H.
16795 COUNTY ROAD 26
TYLER, TX 75707                                      P‐0026684 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HERRICK, GERALDINE M.
8411 CRYSTAL SPRINGS ROAD
BUILDING B
WOODSTOCK, IL 60098                                  P‐0026685 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, ODELL
DAVIS, PARA C.
311 NORTH STRAWBERRY AVE
DEMOPOLIS, AL 36732                                  P‐0026686 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TIMS, RAQUEL B.
42646 HARRIS STREET
CHANTILLY, VA 20152                                  P‐0026687 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCLAUGHLIN, ADAM
113 BIRCH ST. NE
LEESBURG, VA 20176                                   P‐0026688 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENTON, ELIZABETH A.
1919 SHIRLEY DRIVE
BURLINGTON, NC 27215                                 P‐0026689 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILLER, LATISHA
2381 EMERALD FALLS DR
DECATUR, GA 30035                                    P‐0026690 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLEMENT, BARRY J.
651 E. TWAIN #26
LAS VEGAS, NV 89169                                  P‐0026691 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, MARY H.
TAKATA HOLDING INC
P.O. BOX 3004
MONROE, WI 53566‐3003                                P‐0026692 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERGUSON, YALE H.
FERGUSON, KITTY G.
202 WICKLOW DRIVE
BLUFFTON, SC 29910                                   P‐0026693 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
PECK, CORBIN N.
3549 SUMMERFIELD DR
PLANO, TX 75074                                       P‐0026694 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ANIOLOWSKI, JOHN
76 WOODSEDGE COURT
KENSINGTON, CT 06037                                  P‐0026695 11/16/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
FARMER, JOSEPH A.
FARMER, TERESA L.
P.O. BOX 1034
GEYSERVILLE, CA 95441                                 P‐0026696 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, MARISSA
521 LEWIS ST
TURLOCK, CA 95380                                     P‐0026697 11/16/2017     TK Holdings Inc., et al .                    $7,315.00                                                                                    $7,315.00
YOUNG, LASHON
8010 S. DOBSON
1ST FLOOR
CHICAGO, IL 60619                                     P‐0026698 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILLIAMS, JAMES P.
1840 W HIGHLAND AVE
UNIT 103E
ELGIN, IL 60123                                       P‐0026699 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOUNTZ, THEODORE B.
MOUNTZ, MARGARET M.
416 EAST BECKY LANE
MOUNT PLEASANT, IA 52641                              P‐0026700 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RYAN, KAITIN N.
1190 S. BELLAIRE ST. #305
DENVER, CO 80246                                      P‐0026701 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ, DARLENE
1910 S LEE PARKWAY
CHICAGO, IL 60616                                     P‐0026702 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STIEVE, DEBRA A.
23606 ZION AVE
WINSTED, MN 55395                                     P‐0026703 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NIEMETZ, MARIA E.
1521 W ROSEWOOD CT
ONTARIO, CA 91762                                     P‐0026704 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
REARICK, REBECCA J.
203 E 4TH AVENUE APT B
TARENTUM, PA 15084                                    P‐0026705 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHAPMAN, ROBERT J.
185 EDGEWOOD AVENUE
OAKDALE, NY 11769                                     P‐0026706 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STIEVE, DEBRA A.
23606 ZION AVE
WINSTED, MN 55395                                     P‐0026707 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KATZ, TOM
10 NEWMAN CT
P.O. BOX 287
CROMPOND, NY 10517                                    P‐0026708 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAHILL, GEOFFREY
P.O. BOX 481
BRANFORD, CT 06405                                    P‐0026709 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BELLISSIMO, THOMAS D.
5435 WAMEDA AVE
LOS ANGELES
, CA 90041                                           P‐0026710 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PECK, CORBIN N.
3549 SUMMERFIELD DR
PLANO, TX 75074                                      P‐0026711 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MASIELLO, VINCENT
10148 SE 127TH STREET
BELLEVIEW, FL 34420                                  P‐0026712 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CLINE, THOMAS A.
3420 GLADE CREEK DR
HURST, TX 76054                                      P‐0026713 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CRANE, MARIANNE
CRANE, STEPHEN K.
842 S CRAWFORD
FORT SCOTT, KS 66701                                 P‐0026714 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUGHES, KATHLEEN M.
904 WILLOW DRIVE
9 WILLOW DRIVE APT 4
OCEAN, NJ 07712‐2811                                 P‐0026715 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RILEY, EDWARD K.
P.O. BOX 35621
FAYETTEVILLE, NC 28303                               P‐0026716 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DINICOLA, JESSICA
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026717 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DEIHL, BRIANNA L.
2005 GARFIELD AVE #4
MINNEAPOLIS, MN 55405                                P‐0026718 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, DEBORAH
824 CHATFIELD ROAD
JOPPA, MD 21085                                      P‐0026719 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LIANG, JIAN ANG
2110 46TH AVE
SAN FRANCISCO, CA 94116                              P‐0026720 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RANKIN, JEFFREY A.
7415 HIDDEN VALLEY HOLLOW S
COTTAGE GROVE, MN 55016                              P‐0026721 11/10/2017     TK Holdings Inc., et al .                     $770.00                                                                                       $770.00
MUTH, WILLIAM J.
506 FILBERT STREET
CURWENSVILLE, PA 16833                               P‐0026722 11/10/2017     TK Holdings Inc., et al .                    $7,000.00                                                                                    $7,000.00
RUFFIN, REBECCA V.
1183 POST RD
SCARSDALE, NY 10583                                  P‐0026723 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHU, CATHARINE W.
6 CARTER CREST LN
FLETCHER, NC 28732                                   P‐0026724 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGONIGLE, KEVIN M.
362 MANOR RIDGE DRIVE NW
ATLANTA, GA 30305                                    P‐0026725 11/10/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
FANSLER, ANTHONY D.
947 W MOBLEY
AMARILLO, TX 79108                                   P‐0026726 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PATEL, HARSHAD P.
PATEL, CHANDRIKA H.
126 TUMBLEWEED DRIVE
MADISON, AL 35758                                    P‐0026727 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAIRE, JULIANA
822 BENTLEY GREEN CIRCLE
WINTER SPRINGS, FL 32708                             P‐0026728 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ICHIKAWA, BARBARA B.
2462 WHISPERING OAKS DRIVE
FAIRFIELD, CA 94534                                  P‐0026729 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HENDERSON, DAWN H.
1301 OAKVIEW ROAD APT L‐1
DECATUR, GA 30030                                    P‐0026730 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BIRNS, KARL F.
SHISTAR, TERESA A.
809 E. 661 DIAGONAL RD
LAWRENCE, KS 66047‐9001                              P‐0026731 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, KEVIN P.
1525 HILLS CHAPEL RD APT 19
MANCHESTER, TN 37355‐8476                            P‐0026732 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEARSON, MICHAEL
P.O. BOX 2496
BAY SAINT LOUIS, MS 39521                            P‐0026733 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MAXWELL, JOHN L.
MAXWELL, VICTORIA M.
4 BRISTON COURT
BEDFORD, NH 03110‐6529                               P‐0026734 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PIERCE, DAVIAH M.
P.O. BOX 228
CAIRO, IL 62914                                      P‐0026735 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KART, BARRY H.
300 FOX CHAPEL RD
APT 602
PITTSBURGH, PA 15238‐2327                            P‐0026736 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, KEVIN P.
1525 HILLS CHAPEL RD APT 19
MANCHESTER, TN 37355‐8476                            P‐0026737 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANCUSO, ANTHONY J.
47014 61 ASTONBURY DR
CANTON, MI 48188                                     P‐0026738 11/10/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
BALACHANDRAN, LAKSHMI
BALACHANDRAN, BALAKRISH
27 BARRINGTON DRIVE
WEST WINDSOR, NJ 08550                               P‐0026739 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BALACHANDRAN, BALAKRISH
BALACHANDRAN, LAKSHMI
27 BARRINGTON DRIVE
WEST WINDSOR, NJ 08550                               P‐0026740 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TURNER, MAURICE L.
324 FEATHERSTONE DR
CHARLOTTE, NC 28213                                  P‐0026741 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BERTINI, PAULA
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026742 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PRICE, MICHAEL D.
3280 CHESTNUT AVE
LONG BEACH, CA 90806‐1224                            P‐0026743 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUONASSISI, MARY
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026744 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ELLISON, JUDITH E.
1840 FERNWOOD DR.
KNOX, IN 46534‐7405                                  P‐0026745 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DARBY, SHEA
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026746 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CAILLIER, SUE
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026747 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BECERRA, ADRIANA
109 TWIN LAKES RD
TRUSSVILLE, AL 35173                                 P‐0026748 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEE, DICKEY H.
LEE, MEGAN H.
1420 KEEAUMOKU ST B4
HONOLULU, HI 96822                                   P‐0026749 11/7/2017      TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CORDEIRO, IRNA G.
95‐982 WIKAO STREET L202
MILILANI, HI 96789‐5059                              P‐0026750 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SAUL, AMY B.
SAUL, DAVID E.
4635 GRIFFIN DR
WILMINGTON, DE 19808                                 P‐0026751 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERSTLER, DEBRA S.
3209 WYOMING COURT
TALLAHASSEE, FL 32312                                P‐0026752 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FLEMING, ROBERT F.
ROBERT FLEMING
280 S 18TH STREET
ST HELENS, OR 97051                                  P‐0026753 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHENG, KIMBERLY A.
222 E OLIVE AVE. UNIT 2
MONROVIA, CA 91016                                   P‐0026754 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENA, SHERI
PENA, ARTURO
1 LAUREL LN
EUREKA, MO 63025                                     P‐0026755 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KOU, ANDY
2557 OLMSTEAD COURT
SSF, CA 94080                                        P‐0026756 11/16/2017     TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
CROFOOT, WENDEE
1232 CASTLEMONT AVENUE
SAN JOSE, CA 95128                                   P‐0026757 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENA, SHERI R.
PENA, ARTURO
1 LAUREL LN
EUREKA, MO 63025                                     P‐0026758 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MAMBOURG, CHRISTINA M.
211 N. ORANGE AVENUE
LODI, CA 95240                                       P‐0026759 11/16/2017     TK Holdings Inc., et al .                    $1,497.52                                                                                    $1,497.52
SERINE, JORI N.
2619 DORADO COURT
FORT COLLINS, CO 80525                               P‐0026760 11/16/2017     TK Holdings Inc., et al .                    $5,994.92                                                                                    $5,994.92
CLEVELAND, SUSAN A.
110 N 6TH AVE
WAUSAU, WI 54401                                     P‐0026761 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LITTELL, JACK
LITTELL, MARIANN
9870 N. OAK MEADOW LANE
PRESCOTT, AZ 86305                                   P‐0026762 11/16/2017     TK Holdings Inc., et al .                       $35.00                                                                                       $35.00
HALL, GARY L.
117 CANNON CIRCLE
WINCHESTER, VA 22602                                 P‐0026763 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, DANIEL
4298 HAZELWOOD AVE.
KINGSPORT, TN 37664                                  P‐0026764 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEGACKI, JOANNA
2832 CRESTVIEW AVE
KALAMAZOO, MI 49006                                  P‐0026765 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEGACKI, JOANNA
2832 CRESTVIEW AVE
KALAMAZOO, MI 49006                                  P‐0026766 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SINGH, JESSICA R.
1038 ADANA TERRACE
UNION CITY, CA 94587                                 P‐0026767 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ICANBERRY‐YOUNG, DOREEN P.
2201 BUENA VISTA AVE
ALAMEDA, CA 94501                                    P‐0026768 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ENGEBRESTON, MICHELLE
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026769 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SOUTH, LOLA M.
5 CR 438
IUKA, MS 38852‐7338                                  P‐0026770 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUONASSISI, MARY
BROOKS, DEC'D, JOSEPH
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026771 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DUNCAN, DANIEL
4298 HAZELWOOD AVE.
KINGSPORT, TN 37664                                  P‐0026772 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOOPER, PETER W.
P.O. BOX 358801
GAINESVILLE, FL 32635                                P‐0026773 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MISSOURI STATE UNIVERSITY
901 S. NATIONAL AVE.
ATTENTION: CENTRAL STORES
SPRINGFIELD, MO 65897                                P‐0026774 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00




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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GREEN, JUDITH J.
GODIN, ARTHUR M.
96 WOODARD ROAD
NEWFIELD, NY 14867                                   P‐0026775 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RODRIGUEZ, LYDIA M.
RODRIGUEZ, BASILIO
433 SW 64TH TER.
MARGATE, FL 33068                                    P‐0026776 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, ERIC E.
6641 TWINRIDGE LN
CINCINNATI, OH 45224                                 P‐0026777 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YEP, RICHARD
68 VALLEY CREST ROAD
SIMI VALLEY, CA 93065                                P‐0026778 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SANCHEZ, EUGENIA
FLA
5715 QUAIL TRL
GAINESVILLE, GA 30506                                P‐0026779 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MISSOURI STATE UNIVERSITY
901 S. NATIONAL AVE.
ATTENTION: CENTRAL STORES
SPRINGFIELD, MO 65897                                P‐0026780 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JONES, TIMOTHY L.
984 MAYS LANE
ATLANTA, GA 30336                                    P‐0026781 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BLANCHARD, ROBIN C.
108 SWEET HAVEN DRIVE
DONALDSONVILLE, LA 70346                             P‐0026782 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMAS, JIMMY R.
48104 JIMMY THOMAS ROAD
FRANKLINTON
, LA 70438                                           P‐0026783 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YEP, RICHARD
68 VALLEY CREST ROAD
SIMI VALLEY, CA 93065                                P‐0026784 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BENDA, ALLEN R.
NO ADDRESS PROVIDED
                                                     P‐0026785 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHENG, MAY
165 SHELLEY AVE
CAMPBELL, CA 95008                                   P‐0026786 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BOYD, ANGELA
3001 LAKE EAST DRIVE
APT 2013
LAS VEGAS, NV 89117                                  P‐0026787 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MISSOURI STATE UNIVERSITY
901 S. NATIONAL AVE.
ATTENTION: CENTRAL STORES
SPRINGFIELD, MO 65897                                P‐0026788 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANKLIN, ANDREW W.
101 ECHO RIDGE ROAD
SWANSBORO, NC 28584                                  P‐0026789 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROWN, PAMELA S.
FRAKE, VICTOR S.
263 BELMONT AVE
LONG BEACH, CA 90803‐1523                            P‐0026790 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
YEP, RICHARD
68 VALLEY CREST ROAD
SIMI VALLEY, CA 93065                                 P‐0026791 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRAKE, EMILY A.
263 BELMONT AVE
LONG BEACH, CA 90803‐1523                             P‐0026792 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MISSOURI STATE UNIVERSITY
901 S. NATIONAL AVE.
ATTENTION: CENTRAL STORES
SPRINGFIELD, MO 65897                                 P‐0026793 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KONG, CALVIN
KONG, ANNA
1379 46TH AVE
SAN FRANCISCO, CA 94122                               P‐0026794 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JOHNSON‐COONEY, TERRI S.
327 N 3RD ST
ST PETER, MN 56082                                    P‐0026795 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MENENDEZ GOMEZ, MARINA
RICKMAN, MICHAEL P.
513 VERNON AVE
MADISON, WI 53714                                     P‐0026796 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BURT, TONY L.
27369 E 131ST ST S
COWETA, OK 74429                                      P‐0026797 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIDSON, JAMIE J.
32971 CATHEDRAL CANYON #3
CATHEDRAL CITY, CA 92234                              P‐0026798 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILSON, ROCHELLE
WILSON, DIONNE
1155 D ARGYLL CIRCLE
LAKEWOOD, NJ 08701                                    P‐0026799 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH III, FRANK J.
SMITH, LA VERNE C.
2719 BITTERROOT DR.
GREAT FALLS, MT 59404‐3656                            P‐0026800 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, GERALDINE M.
6391 LAKEVIEW DRIVE
RAVENNA, OH 44266‐1525                                P‐0026801 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NAGLER, OWEN M.
NAGLER, WENDY J.
650 JEWELL AVE #102
PACIFIC GROVE, CA 93950                               P‐0026802 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCOTT, JOHN R.
SCOTT, GWENDOLYN
3219 TWIN WASH SQ
FORT COLLINS, CO 80528‐9452                           P‐0026803 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EDWARDS, DONALD E.
EDWARDS, KATHLEEN L.
DONALD EDWARDS
1130 LARKIN VALLEY ROAD
WATSONVILLE, CA 95076                                 P‐0026804 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STOEPPEL, RICHARD B.
3542 CHESTNUT GROVE LANE
FULSHEAR, TX 77441                                    P‐0026805 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
MORRONE, ROBERTO
1150 NORTH LAKE SHORE DRIVE
UNIT 8E
CHICAGO, IL 60611                                    P‐0026806 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ADAMS, ROBERT E.
ADAMS, JANA S.
9301 S. CR. 600 E.
SELMA, IN 47383                                      P‐0026807 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GIACOBBE, PETER J.
949 PULPIT ROCK CIR NO
COLORADO SPRINGS, CO 80918‐7023                      P‐0026808 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SELDIN, RICHARD
SELDIN, SIAN L.
9104 DRUMALDRY DRIVE
BETHESDA, MD 20817                                   P‐0026809 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ARMSTRONG, CATHRYN R.
6161 SOMERSBY CT NW
ROCHESTER, MN 55901                                  P‐0026810 10/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANKER, PATRICIA C.
5543 SUMMER LANE DR
MARYSVILLE, CA 95901                                 P‐0026811 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KABBARA, SOUHEIL
6336 PASEO CERRO
CARLSBAD, CA 92009                                   P‐0026812 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FERSTLER, HOWARD W.
3209 WYOMING COURT
TALLAHASSEE, FL 32312                                P‐0026813 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, CYNTHIA V.
BUTLER, JAMES D.
4333 CREEK TRACE
BESSEMER, AL 35022                                   P‐0026814 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DELINKO, DAVID
P.O. BOX 80730
SAN MARINO, CA 91118‐8730                            P‐0026815 11/13/2017     TK Holdings Inc., et al .                   $12,600.00                                                                                   $12,600.00
SWAN, TRISTRAM R.
SWAN, CAROLYN D.
2031 LA COLINA DRIVE
NORTH TUSTIN, CA 92705                               P‐0026816 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RITCHEY, JAYNE B.
304 MONROE
IRVINE, CA 92620                                     P‐0026817 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WOODS, GREG W.
4261 W OAK AVE
FULLERTON, CA 92833                                  P‐0026818 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WISS, JUDY C.
522 SHORE ROAD APT 6AA
LONG BEACH, NY 11561                                 P‐0026819 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLST, JENNIFER
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026820 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCDONALD, SHARON G.
4347 MCPHERSON AVE
SAINT LOUIS, MO 63108‐2705                           P‐0026821 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
CORDARO, CHARLES B.
CORDARO, LINDA J.
30 CROSBY LANE
ROCHESTER, NY 14612‐3326                             P‐0026822 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MOLEN, CATHY A.
719 WEST VINE STREET
TAYLORVILLE, IL 62568                                P‐0026823 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BORKUS, VIVIAN M.
855 N 1ST STREET
ROCKFODD, IL 61107                                   P‐0026824 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GONZALEZ, GREGORY
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026825 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANNING, JULIE A.
MANNING, CHRISTOPHER R.
6011 E. FAIRBROOK STREET
LONG BEACH, CA 90815                                 P‐0026826 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LINNENBURGER, BRUCE E.
23751 DEER CHASE LANE
NAPERVILLE, IL 60564                                 P‐0026827 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CASSELBERRY, ROBERTA S.
1254 KENDARI TERRACE
NAPLES, FL 34113‐8411                                P‐0026828 11/10/2017     TK Holdings Inc., et al .                    $4,000.00                                                                                    $4,000.00
COKER, JOHN P.
6522 OLD TUSCALOOSA HWY
MCCALLA, AL 35111‐3610                               P‐0026829 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SERRANO, BLANCA N.
11816 FRANCIS SCOBEE DR.
EL PASO, TX 79936                                    P‐0026830 11/13/2017     TK Holdings Inc., et al .                    $1,500.00                                                                                    $1,500.00
SERRANO, BLANCA N.
11816 FRANCIS SCOBEE DR
EL PASO, TX 79936                                    P‐0026831 11/13/2017     TK Holdings Inc., et al .                     $500.00                                                                                       $500.00
RHETT, FREDA J.
Q15 QUINCY CIRCLE
DAYTON, NJ 08810                                     P‐0026832 11/13/2017     TK Holdings Inc., et al .                    $3,300.33                                                                                    $3,300.33
HOSETH, TAMARA
WELLER GREEN TOUPS & TERRELL
P O BOX 350
BEAUMONT, TX 77704                                   P‐0026833 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HUBERT, STACY
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026834 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JASSO, ANGELITA
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026835 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOPEZ, ANDRES
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026836 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCCARTHY, TAMMY
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026837 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PARKS, SHARON
WELLER GREEN TOUPS & TERRELL
P O BOX 350
BEAUMONT, TX 77704                                   P‐0026838 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARKS, SHARON
M.F.
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026839 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ JR., JORGE
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026840 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PEREZ‐FLORES, MAURILIO
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026841 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTTANAT, MARIE
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026842 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JASPER, THOMASINA J.
5527 SHALLOW RIVER ROAD
CLINTON, MD 20735                                    P‐0026843 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DAVIS, KRISTIN W.
2387 W VIA DI SILVIO
TUCSON, AZ 85741                                     P‐0026844 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TAYLOR, BRIANA L.
5401 W SLAUSON AVE
LOS ANGELES, CA 90056                                P‐0026845 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STODDARD, ERIN C.
202 LORADALE ROAD
OSWEGO, IL 60543                                     P‐0026846 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OMBURA, ELPHAS
43804 CENTRAL STATION DR
APT 430
ASHBURN, VA 20147                                    P‐0026847 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, CHRIS
12 RIDGE RD
RAVENA, NY 12143                                     P‐0026848 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, DREW
4972 HUBER CIRCLE
SARASOTA, FL 34241                                   P‐0026849 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRY, DENNIS W.
FRY, MARGARET B.
6682 VIOLET WAY
ARVADA, CO 80007                                     P‐0026850 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANSAL, SANDEEP
5700 NW 92ND TER
KANSAS CITY, MO 64154                                P‐0026851 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANSAL, SANDEEP
5700 NW 92ND TER
KANSAS CITY, MO 64154                                P‐0026852 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LOW, JAMES
1055 MILLER DR
LAFAYETTE, CA 94549                                  P‐0026853 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
RIVAS, KIMBERLY
2157 CEDRUS DRIVE
TRACY, CA 95376                                      P‐0026854 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
EVANS, STEPHANIE R.
1345 LANEDALE ST NW
MASSILLON, OH 44647                                  P‐0026855 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUCK, SHARON D.
8529 INDIAN SUMMER TRL
HARRISBURG, NC                                       P‐0026856 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
POTTANAT, THOMAS
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026857 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MUCKELROY, WILLIAM L.
413 MANGO DRIVE
EAGLE, ID 83616                                      P‐0026858 11/14/2017     TK Holdings Inc., et al .                    $2,000.00                                                                                    $2,000.00
REEVES, KENNETH
WELLER GREEN TOUPS & TERRELL
P O BOX 350
BEAUMONT, TX 77704                                   P‐0026859 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
RIPLEY, GLENN
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026860 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROSS, JONATHON E.
212 E. FIEDLER ROAD
AMBLER, PA 19002                                     P‐0026861 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAXTON, ROBYN L.
PAXTON, ROBYN L.
75 BENSON STREET
JAMESTOWN, NY 14701                                  P‐0026862 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MANUEL, ROBERT M.
1189 SUN CIRCLE E.
MELBOURNE, FL 32935                                  P‐0026863 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STEVENS, PAUL D.
STEVENS, MARCIA A.
25181 NORTHRUP DR
LAGUNA HILLS, CA 92653                               P‐0026864 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PATT, JENNIFER
1007 S. 3RD STREET
FAIRFIELD, IA 52556                                  P‐0026865 11/16/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
HARRIS, JONAS R.
613 WHITE TAIL TERRACE
MARVIN, NC 28173                                     P‐0026866 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANKLIN, ANTHONY R.
HONDA
3558 VIRGINIA DR
HUEYTOWN ALABAMA 35020
HUEYTOWN, AL                                         P‐0026867 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MEADOWS, ASHLEY D.
7913 DONET TERRACE DR
CHARLOTTE, NC 28215                                  P‐0026868 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CROSS, JONATHON E.
212 E. FIEDLER ROAD
AMBLER, PA 19002                                     P‐0026869 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
GA, LEIF
4110 CROSSLEN LANE
COLORADO SPRINGS, CO 80908                           P‐0026870 11/16/2017     TK Holdings Inc., et al .                    $1,000.00                                                                                    $1,000.00
TRAN, SANDY
250 CLARA ST. #2
SAN FRANCISCO, CA 94107                              P‐0026871 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KALINA, ROGER J.
11484 VISTA DE BONITA CANADA
LA MESA, CA 91941                                    P‐0026872 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENNARO, JOANN
1003 HARVEST DR
ALIQUIPPA, PA 15001                                  P‐0026873 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALSTON‐SPICER, YVETTE
2139 AMESBURY CIRCLE
WELLINGTON, FL 33414                                 P‐0026874 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WENDERLICH, DANIEL K.
17551 LATHERS
LIVONIA, MI 48152                                    P‐0026875 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
TRAYLOR, SAMARA
PO BOX961245
FORT WORTH, TX 76161‐1245                            P‐0026876 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PENA, SHERI R.
PENA, ARTURO
1 LAUREL LN
EUREKA, MO 63025                                     P‐0026877 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WHITESIDES, KENNETH R.
WHITESIDES, DRUCILLA
P.O. BOX 2084
WEAVERVILLE, NC 28787                                P‐0026878 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PESHKOPIA, DEAN M.
P.O. BOX 77
ALLAMUCHY Q, NJ 07820                                P‐0026879 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARK, RONALD E.
P.O. BOX 547
MEADOW VISTA, CA 95722                               P‐0026880 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GENNARO, JOANN
1003 HARVEST DR.
ALIQUIPPA, PA 15001                                  P‐0026881 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
B., DONNA M.
P.O. BOX 736
OSSIPEE, NH 03864                                    P‐0026882 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATERMAN, DEIDRE
P.O. BOX 644
PORT JERVIS, NY 12771                                P‐0026883 11/16/2017     TK Holdings Inc., et al .                   $37,237.00                                                                                   $37,237.00
ZIEGLER, SANDRA
ZIEGLER, DOUGLAS
1900 W 27TH ST
PUEBLO, CO 81003                                     P‐0026884 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
STANTON, JOYCE I.
901 BRENTWOOD DRIVE
TARRYTOWN, NY 10591                                  P‐0026885 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORGAN, ERIC E.
6641 TWINRIDGE LN
CINCINNATI, OH 45224                                 P‐0026886 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                    Current General                                          Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
TUROFF, RICHARD J.
TUROFF, ROMA
1141 TERRACINA DRIVE
EL DORADO HILLS, CA 95762                            P‐0026887 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LADD, JULIE A.
6641 TWINRIDGE LN
CINCINNATI, OH 45224                                 P‐0026888 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LABRADOR, THERESA E.
18645 JHATTERAS ST
UNIT 201
TARZANA, CA 91356                                    P‐0026889 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
RIVERA, MARIA
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026890 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SHAVER‐LUGO, JAHAIRA
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026891 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
THOMPSON, RHONDA
THOMPSON, TRISTAN
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026892 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
STALLINGS, DAVID L.
STALLINGS, MELISSA A.
206 MAPLE DRIVE
BLAINE, TN 37709                                     P‐0026893 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
MEDINA, LETICIA N.
549 E. ORANGE GROVE BLVD
PASADENA, CA 91104                                   P‐0026894 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
YARNELL, FRANK L.
704 MAUCH CHUNK ST
EASTON, PA 18042                                     P‐0026895 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
CREED, MICHAEL F.
7641 W HORTENSE
CHICAGO, IL 60631‐1809                               P‐0026896 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
REYNAR, ANTOINETTE
28025 CASCADE RD
HOT SPRINGS, SD 57747                                P‐0026897 11/13/2017     TK Holdings Inc., et al .                      $280.00                                                                                       $280.00
LEGGETT, JACQUELINE M.
18602 MEADOWS WAY DR
HOUSTON, TX 77084‐3812                               P‐0026898 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
CURTIS, VICKI Y.
2100 W LUNT AVE
CHICAGO, IL 60645‐4816                               P‐0026899 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
BOZEMAN, JAMES M.
226 MENTOR AVE.
PAINESVILLE, OH 44077                                P‐0026900 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LAWRENCE, RITA
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026901 11/10/2017     TK Holdings Inc., et al .                 $1,200,000.00                                                                                $1,200,000.00
BACKUS, KELLY L.
4138 CRYSTAL ST
OCEANSIDE, CA 92056                                  P‐0026902 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
PEREZ, MARIA
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026903 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GEER, JAMES H.
6200 NW 104TH WAY
PARKLAND, FL 33076                                   P‐0026904 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SUTERA, ALEXANDER
6 REDWOOD TERRACE
FLEMINGTON, NJ 08822                                 P‐0026905 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PHEFFER, DIANE M.
4 GAIL DRIVE
NORTH MASSAPEQUA, NY 11758                           P‐0026906 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COAKLEY, JOHN A.
COAKLEY, ROBIN G.
1737 WILLOW POINT CT
LODI, CA 95242                                       P‐0026907 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOLDENRING, JANE
4431 BEN AVE.
VALLEY VILLAGE, CA 91607                             P‐0026908 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
KLINE, SUSAN E.
491 FRENCHVILLE ROAD
FRENCHVILLE, PA 16836                                P‐0026909 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COAKLEY, JOHN A.
COAKLEY, ROBIN G.
1737 WILLOW POINT CT
LODI, CA 95242                                       P‐0026910 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRICKE, ANTHONY J.
38919 JOHNNYCAKE RIDGE RD.
WILLOUGHBY, OH 44094                                 P‐0026911 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALDINGER, WILLIAM T.
ALDINGER, CHARLENE M.
98 HANUPAOA PL
HONOLULU, HI 96822                                   P‐0026912 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LEVIN, BRUCE A.
204 HAZEL DR
CORONA DEL MAR, CA 92625                             P‐0026913 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SCHEETZ, GREGORY D.
SCHEETZ, PAULA F.
1717 SUNSET STREET
BARSTOW, CA 92311                                    P‐0026914 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PILKINGTON, WILL M.
12160 EAST IOWA DRIVE
AURORA, CO 80012                                     P‐0026915 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DECOUDRES, MICHAEL
DECOUDRES, MICHAEL
27968 GLADE CT.
CASTAIC, CA 91384                                    P‐0026916 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGAULEY, RICHARD B.
MCGAULEY, PAMELA S.
120 BARLEY NECK RD
ORLEANS, MA 02653‐4111                               P‐0026917 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FRANKLIN, TYREE E.
JOHNSON'S AUTO
111 4TH AVE SE
BELMOND, IA 50421                                    P‐0026918 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
BAKHTAR, NAVID
3280 GODFREY AVE.
GILROY, CA 95020                                     P‐0026919 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HAWLIK, JEREMY R.
P.O. BOX 3924
COOKEVILLE, TN 38502                                 P‐0026920 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DONAGHY, RICHARD E.
9 YORKTOWN
IRVINE, CA 92620                                     P‐0026921 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
YOUNG, ALICE
P.O. BOX 18371
SAN JOSE, CA 95158                                   P‐0026922 11/13/2017     TK Holdings Inc., et al .                    $9,999.00                                                                                    $9,999.00
CARTER, JOHNNY
4612 COBBLESTONE CIR.
KNOXVILLE, TN 37938                                  P‐0026923 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HOLMES, MANDISA
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026924 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WALLER, CASSANDRA
P.O. BOX 423
MARINA, CA 93933‐0423                                P‐0026925 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOMEZ, EDWIN
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026926 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BROCK, RUTHIE O.
BROCK, LARRY S.
5525 WOOD POND CT
RALEIGH, NC 27610                                    P‐0026927 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DHANAGAR, JAYA
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026928 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JANNACE, CAROL A.
JANNACE, RICHARD
11440 STONE MILL CT
OAKTON, VA 22124‐2031                                P‐0026929 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WENNERSTROM, GORDON P.
7811 WEST 111TH STREET
BLOOMINGTON, MN 55438                                P‐0026930 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
DHANAGAR, ANITA
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026931 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUE, CORMAC
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026932 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATTSON, PAULETTE M.
16021 NE 15TH STREET
VANCOUVER, WA 98684‐8793                             P‐0026933 11/14/2017     TK Holdings Inc., et al .                     $105.00                                                                                       $105.00
COLLINS, CHARLES M.
COLLINS, HERTA
1607 DEL ORO DRIVE
LA CANADA, CA 91011                                  P‐0026934 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                    Current General                                          Current 503(b)(9)
                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                           Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                   Amount
LEICHTFUSS, RICHARD A.
LEICHTFUSS, MARIA E.
7469 CARTER CIRCLE HORTH
FRANKLIN, WI 53132                                   P‐0026935 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
THOMAS, PATRICIA R.
76 FASSELL ROAD
HINSDALE, MA 01235                                   P‐0026936 11/10/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
BURKE, WILLIAM
WELLER GREEN TOUPS & TERRELL
P.O. BOX 350
BEAUMONT, TX 77704                                   P‐0026937 11/10/2017     TK Holdings Inc., et al .                 $1,000,000.00                                                                                $1,000,000.00
MATSUKAWA, SHIZU
4121 43RD AVE
SACRAMENTO, CA 95824                                 P‐0026938 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
GATLEY, ATHENE D.
GATLEY, JONATHAN M.
1548 NEWPORT AVE
C
GROVER BEACH, CA 93433                               P‐0026939 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
RILLORAZA, PATRICIA J.
7947 STANSBURY AVE
PANORAMA CITY, CA 91402                              P‐0026940 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
SHEPHERD, TRISHA N.
P.O. BOX 480
ORINDA, CA 94563                                     P‐0026941 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
KASHYAP, ABHINAV
KASHYAP, ANSHUL S.
5318 159TH PL NE
REDMOND, WA 98052                                    P‐0026942 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
ROBERTSON, DEBORA A.
15815 NE 49TH ST
REDMOND, WA 98052                                    P‐0026943 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
GREEN, CHANEL
605 JEWELL DR
SAN DIEGO, CA 92113                                  P‐0026944 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
MELLO, DIANA E.
2018 SONETT ST
EL CAJON, CA 92019                                   P‐0026945 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
VALLON, JONATHAN M.
VALLON, JENNIFER L.
1006 LOVES POINT DR
LEESBURG, FL 34748                                   P‐0026946 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
MONTANO, KAREN P.
MONTANO, IVAN
P.O. BOX 795
WINCHESTER, CA 92596                                 P‐0026947 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
BACIC, HARIS
4081 PAULE AVE
SAINT LOUIS, MO 63125                                P‐0026948 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
LORING, VICTORIA R.
5 NORTH ROAD
NORTH HAMPTON, NH 03862                              P‐0026949 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00
NAPOLITAN, DEBORA A.
15815 NE 49TH ST
REDMOND, QA 98052                                    P‐0026950 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                         $0.00


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                                                                                                                    Current General                                         Current 503(b)(9)
                                                                                                                                       Current Priority   Current Secured                        Current Admin    Total Current
                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
SOLANKI, MAHMAD S.
25574 MINDFUL CT
ALDIE, VA 20105                                      P‐0026951 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MARQUEZ, CHRISTINA N.
7317 W CAMERON DR
PEORIA, AZ 85345                                     P‐0026952 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MATSUKAWA, SHIZU
4121 43RD AVE
SACRAMENTO, CA 95824                                 P‐0026953 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CHESSEN, TADD H.
1905 SCOTT AVE
WINNETKA, IL 60093                                   P‐0026954 11/14/2017     TK Holdings Inc., et al .                   $10,000.00                                                                                   $10,000.00
CHESSEN, TADD H.
1405 SCOTT AVE
WINNETKA, IL 60093                                   P‐0026955 11/14/2017     TK Holdings Inc., et al .                    $8,000.00                                                                                    $8,000.00
MULLINAX, PHILLIP M.
965 OAK GROVE RD
DAHLONEGA, GA 30533                                  P‐0026956 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BELL, PAMELA W.
BELL, PAMELA W.
1131 VILLAGE CREEK LN
UNIT 4
MOUNT PLEASANT, SC 29464‐6173                        P‐0026957 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BUTLER, INGRID Y.
LARRY
P.O. BOX 20366
ALBUQUERQUE, NM                                      P‐0026958 11/16/2017     TK Holdings Inc., et al .                   $15,000.00                                                                                   $15,000.00
MILLER, ROBERT H.
MILLER, LINDA E.
342 RUMFORD ROAD
LITITZ, PA 17543                                     P‐0026959 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
QUILLIN, MAIRA D.
11259 MATTHEWS COVE LANE
KNOXVILLE, TN 37934                                  P‐0026960 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NEGRETE, QUETA K.
3809 NEWCOMBE AVE
BAKERSFIELD                                          P‐0026961 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PACIFIC CABINETS INC.
P.O. BOX 81
FERDINAND, ID 83526                                  P‐0026962 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LACY, CHERLYN V.
P.O. BOX 2125
COPPELL, TX 75019                                    P‐0026963 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MORRIS, CHERYL
MORRIS, CHERYL
1550 RORY LN #256
SIMI VALLEY, CA 930633                               P‐0026964 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOOD, BUSTER S.
GOOD, TIFFANY N.
31084 GEARY ST
MENIFEE, CA 92584                                    P‐0026965 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOSAL, SUSAN J.
3654 BRYANT AVE S #2
MINNEAPOLIS, MN 55409                                P‐0026966 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                                                                                                                                        Current Priority   Current Secured                        Current Admin    Total Current
                    Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                         Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                         Amount                                                  Amount
JONES, KATHLEEN A.
JONES, STEVEN E.
5635 AUTUMN PARK DRIVE
MEDFORD, OR 97504                                     P‐0026967 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
LAMBERT, BROOKE L.
5350 DUNLAY DR. , UNIT 3014
SACRAMENTO, CA 95835                                  P‐0026968 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREWAL, RAVNEET
LIN, TINGWEI
1927 SE WASHINGTON ST
UNIT B
PORTLAND, OR 97214                                    P‐0026969 11/16/2017     TK Holdings Inc., et al .                    $3,800.00                                                                                    $3,800.00
THOMSON, TRUSTEE, KAREN E.
1547 ELIZABETH LANE
EL CAJON, CA 92019                                    P‐0026970 11/16/2017     TK Holdings Inc., et al .                    $2,500.00                                                                                    $2,500.00
HOPKINS, JANICE L.
HOPKINS, RAYMOND B.
107 MOON DR
LANGHORNE, PA 19047                                   P‐0026971 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GOOD, TIFFANY N.
GOOD, BUSTER GOOD S.
31084 GEARY ST
MENIFEE, CA 92584                                     P‐0026972 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WATSON, LONNIE C.
MASTERSON, DIANA S.
4137 GEORGIA ST>
SPRINGDALE, AR 72762‐7976                             P‐0026973 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WILMER, ROBIN L.
WILMER, MICHAEL J.
389 SILBERHORN DRIVE
FOLSOM, CA 95630‐6848                                 P‐0026974 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THORNTON, KIRA B.
THORNTON, DARCY LYON
2965 MOUNTAIN VIEW
LAGUNA BEACH, CA                                      P‐0026975 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PARTOVI, BIJAN
P.O. BOX 1158
SOUTH PASADENA, CA 91031                              P‐0026976 11/16/2017     TK Holdings Inc., et al .                    $4,750.00                                                                                    $4,750.00
HENSON, KYLE
1206 BURGUNDY ST
#4
NEW ORLEANS, LA 70116                                 P‐0026977 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BANSAL, SANDEEP
5700 NW 92ND TER
KANSAS CITY, MO 64154                                 P‐0026978 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THORNTON, TODD A.
2965 MOUNTAIN VIEW DRIVE
LAGUNA BEACH, CA 92651                                P‐0026979 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HANNAH, RAY E.
95 VALLEYBROOK DR
FAIRBURN, GA 30213                                    P‐0026980 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WERGELAND, KARI A.
P.O. BOX 1013
YACHATS, OR 97498                                     P‐0026981 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00



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                   Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                        Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                        Amount                                                  Amount
THORNTON, TODD A.
2965 MOUNTAIN VIEW DRIVE
LAGUNA BEACH, CA 92651                               P‐0026982 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROBERTSON, SCOTT
ROBERTSON, SUSAN
100 SPRINGDALE CT
THOUSAND OAKS, CA 91360                              P‐0026983 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, GRAHAM
4972 HUBNER CIRCLE
SARASOTA, FL 34241                                   P‐0026984 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
HINKSON, BRADFORD H.
41707 NIBLICK RD
TEMECULA, CA 92591                                   P‐0026985 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
BEASLEY, JOAN E.
113 DUCK COVE
ELMORE, AL 36025                                     P‐0026986 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
JORDAN, WILLIAM M.
205 BRITTANY PARK
ANDERSON, SC 29621                                   P‐0026987 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
NOBLE, DAVID W.
MCMAHON, CRYSTAL A.
13495 BANNER RD SE
OLALLA, WA 98359                                     P‐0026988 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
THOMPSON, GABRIELLE D.
12505 E. 58TH TERR
KANSAS CITY, MO 64133                                P‐0026989 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SMITH, AUSTIN
4972 HUBNER CIRCLE
SARASOTA, FL 34241                                   P‐0026990 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WISE, DONALD M.
6549 OLD MEADOW CT
SAN JOSE, CA 95135                                   P‐0026991 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
OWEN, JOHN L.
56 CALLE DEL SUR
RANCHO SANTA MAR, CA 92688                           P‐0026992 11/13/2017     TK Holdings Inc., et al .                    $3,000.00                                                                                    $3,000.00
HUANG, SUSAN S.
20 CORNELIA DRIVE
GREENWICH, CT 06830                                  P‐0026993 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
SHEPHERD, LUIS R.
1617 JEFFERSON AVE
#302
MIAMI BEACH, FL 33139                                P‐0026994 11/13/2017     TK Holdings Inc., et al .                    $1,289.00                                                                                    $1,289.00
GIERKE, GERALD T.
4225 N. KILDARE AVE.
CHICAGO, IL 60641‐2035                               P‐0026995 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FONTENOT, HERBERT H.
FONTENOT, THERESA A.
22491 DE BERRY ST Q197
GRAND TERRACE, CA 92313‐2215                         P‐0026996 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GREER, DAVID W.
2206 DABBS AVE
OLD HICKORY, TN 37138                                P‐0026997 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCGAULEY, RICHARD B.
MCGAULEY, PAMELA S.
120 BARLEY NECK RD
ORLEANS, MA 02653‐4111                               P‐0026998 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
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                                                                                                                                      Current Priority   Current Secured                        Current Admin    Total Current
                  Creditor Name and Address         Claim No. Claim Date             Debtor                        Unsecured Claim                                          Admin Priority
                                                                                                                                       Claim Amount       Claim Amount                         Priority Amount   Claim Amount
                                                                                                                       Amount                                                  Amount
PALAGGI, MARGARET S.
152 BERTRAM DRIVE
UNIT L
YORKVILLE, IL 60560                                 P‐0026999 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
COLE, BRENDA S.
MCCONN, NANCY E.
5110 E HORTON RD
BLISSFIELD, MI 49228                                P‐0027000 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
PAVLATOS, CATHERINE A.
PAVLATOS, SRANDALL
1218 W SUNSET RD
MT PROSPECT, IL 60056                               P‐0027001 11/14/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCNAMARA, JOHN A.
224 PARK AVE
APT 2
SWARTHMORE, PA 19081                                P‐0027002 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MILES, CHRISTOPHER B.
960 BLUEBELL CIRCLE
JOLIET, IL 60431                                    P‐0027003 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
FREEDMAN, JERRY C.
FREEDMAN, SUSAN B.
10437 FLINT STREET
OVERLAND PARK, KS 66214                             P‐0027004 11/13/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
AXLEY, VINCENT R.
4605 145TH PL SE
SNOHOMISH, WA 98296                                 P‐0027005 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ROGERSHICKMAN, CATHERINE
HICKMAN, TIMOTHY R.
2312 SPRINGLAKE DRIVE
TIMONIUM, MD 21093                                  P‐0027006 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
GAUDETTE, EILEEN A.
3727 NASSAU DRIVE
SAN DIEGO, CA 92115                                 P‐0027007 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
ALPINIERI, STEVEN L.
5823 SOLEDAD ROAD
LA JOLLA, CA 92037                                  P‐0027008 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
WEINER, GERRY A.
19574 RIDGESIDE RD
BLUEMONT, VA 20135                                  P‐0027009 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
CARMEAN, VANESSA
1809 KEENE
HOUSTON, TX 77009                                   P‐0027010 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
IP, KENNY C.
9206 50TH AVE
APT 1A
ELMHURST, NY 11373‐4084                             P‐0027011 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
MCKAY, RICHARD R.
58 BROOKLAWN DRIVE
EAST WINDSOR, NJ 08520                              P‐0027012 11/16/2017     TK Holdings Inc., et al .                    $2,700.00                                                                                    $2,700.00
MCCRAW, ROBERT C.
1360 CAMINO REAL
FAIRVIEW, TX 75069                                  P‐0027013 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00
VALETUTTI, VINCENT J.
P.O. BOX 899
KERHONKSON, NY 12446                                P‐0027014 11/16/2017     TK Holdings Inc., et al .                        $0.00                                                                                        $0.00


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